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                              UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                    CHARLOTTE DIVISION

                                                             :
    In re                                                    :      Chapter 11
                                                             :
    LTL MANAGEMENT LLC,1                                     :      Case No. 21-30589 (JCW)
                                                             :
             Debtor.                                         :
                                                             :
                                                             :
    LTL MANAGEMENT LLC,                                      :
                                                             :
             Plaintiff,                                      :
                                                             :
    v.                                                       :      Adv. Pro. No. 21-______
                                                             :
    THOSE PARTIES LISTED ON                                  :
    APPENDIX A TO COMPLAINT                                  :
    and JOHN AND JANE DOES 1-1000,                           :
                                                             :
             Defendants.                                     :
                                                             :

                        DEBTOR’S COMPLAINT FOR DECLARATORY
               AND INJUNCTIVE RELIEF (I) DECLARING THAT THE AUTOMATIC
              STAY APPLIES TO CERTAIN ACTIONS AGAINST NON-DEBTORS OR,
            (II) PRELIMINARILY ENJOINING SUCH ACTIONS AND (III) GRANTING
              A TEMPORARY RESTRAINING ORDER PENDING A FINAL HEARING

                    Plaintiff LTL Management LLC, a North Carolina limited liability company and

the debtor in the above-captioned chapter 11 case (“LTL” or the “Debtor”), incorporates the

statements contained in (a) the Supplemental Declaration of John K. Kim in Support of Debtor’s

Complaint for Declaratory and Injunctive Relief and Related Motions (the “Supplemental Kim

Declaration”), filed contemporaneously herewith, and (b) the Declaration of John K. Kim in




1
            The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
            501 George Street, New Brunswick, New Jersey 08933.



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Support of First Day Pleadings [Dkt. 5] (the “First Day Declaration”), filed in the main docket

for the Debtor’s chapter 11 case (the “Chapter 11 Case”), and further states as follows:

                                             INTRODUCTION

                 1.       The Debtor commenced this Chapter 11 Case to equitably and

permanently resolve all current and future talc-related claims against it through the

consummation of a plan of reorganization that includes the establishment of a trust. The relief

sought by this adversary proceeding is critical to the Debtor’s ability to achieve that purpose.

Without the requested declaration or injunction, claimants would be permitted to (and in fact,

appear to be eager to) litigate, in other forums, the exact same talc claims that are being asserted

against the Debtor in this Chapter 11 Case.

                 2.       In this regard, the Debtor seeks a declaration that section 362(a) of the

Bankruptcy Code prohibits the commencement or continuation of any action by the defendants

in this adversary proceeding (collectively, the “Defendants”)2 seeking to hold (a) the former

Johnson & Johnson Consumer Inc. (“Old JJCI”); (b) the Debtor’s non-debtor affiliates set forth

on Appendix B hereto (the “Non-Debtor Affiliates”) including, without limitation, Johnson &

Johnson Consumer Inc., a New Jersey company (“New JJCI”) and Johnson & Johnson (“J&J”);

(c) third party retailers who sold Old JJCI’s talc-containing products (the “Retailers”) and other

third parties whom the Debtor has indemnified contractually (the “Indemnified Parties”), set



2
        The Defendants are all plaintiffs or potential plaintiffs in lawsuits that seek to hold, or may seek to hold,
        one or more of the Protected Parties liable for the Debtor Talc Claims, as such terms are defined herein.
        These Defendants, with the exception of the John and Jane Doe Defendants, are listed in Appendix A to
        this Complaint. Appendix A identifies the civil action number (where available) for each lawsuit and the
        law firms representing each of the Defendants on account of their talc claims. The Debtor reserves the
        right to supplement, amend or otherwise modify Appendix A. For the avoidance of doubt, the inclusion of
        a talc-related claim on Appendix A is not an admission that such Defendant holds a currently pending claim
        against either the Debtor or the Protected Parties (as defined herein).




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forth on Appendix B hereto; and (d) the insurance entities set forth on Appendix B hereto, who

have issued insurance policies to which the Debtor has access for coverage for talc-related

liabilities (the “Insurers” and, collectively with Old JJCI, the Non-Debtor Affiliates, the Retailers

and the Indemnified Parties, the “Protected Parties”)3 liable for any Debtor Talc Claims. As

used herein, “Debtor Talc Claims” means, collectively, any talc-related claims against the

Debtor, including all claims relating in any way to talc or talc containing materials that were

formerly asserted (or that could have been asserted) against Old JJCI4 on any theory of liability

(whether direct, derivative, joint and several, successor liability, vicarious liability, fraudulent or

voidable transfer or conveyance, alter ego or otherwise). The Debtor also requests a preliminary

injunction under section 105(a) of Bankruptcy Code. The injunction will enjoin the prosecution

of actions outside of this Chapter 11 Case on account of the same talc claims that exist against

the Debtor in this Chapter 11 Case. The Debtor also seeks a temporary restraining order,

entered on limited notice, to immediately effectuate the requested declaratory and/or injunctive

relief pending a final hearing.

                 3.       The relief requested in this adversary proceeding is necessary and

appropriate because the Debtor is responsible for all liability arising from the Debtor Talc Claims

as a result of an internal corporate restructuring that was completed on October 12, 2021

(the “2021 Corporate Restructuring”). No Protected Party was allocated or assumed liability for

any Debtor Talc Claims as part of the 2021 Corporate Restructuring. Following the 2021



3
        The Protected Parties, with the exception of Old JJCI, are listed on Appendix B to this Complaint. The
        Debtor reserves the right to seek to supplement, amend or otherwise modify the list of Protected Parties,
        including, in particular, to request that additional parties be included as Protected Parties.
4
        For the avoidance of doubt, Debtor Talc Claims include all talc personal injury claims and other talc-related
        claims allocated to the Debtor from Old JJCI in the documents implementing the 2021 Corporate
        Restructuring (as defined below). The Debtor Talc Claims do not include talc-related claims for which the
        exclusive remedy is provided under workers’ compensation statutes and similar laws.



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Corporate Restructuring and the commencement of this Chapter 11 Case, claimants immediately

challenged the application of the automatic stay and threatened to pursue Debtor Talc Claims

against the Protected Parties. Continued prosecution of Debtor Talc Claims against the Protected

Parties outside of this Court would undermine the Debtor’s Chapter 11 Case and the protections

of the automatic stay imposed by section 362(a) of the Bankruptcy Code.

                 4.       Contemporaneous with the filing of this Complaint, the Debtor filed a

motion (the “Motion”) seeking the same relief requested in this Complaint and setting forth

additional grounds why the relief requested herein is warranted.5

                                     JURISDICTION AND VENUE

                 5.       This Court has subject matter jurisdiction over this adversary proceeding

pursuant to 28 U.S.C. §§ 157 and 1334. This adversary proceeding is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2). Pursuant to Rule 7008 of the Federal Rules of Bankruptcy Procedure

(the “Bankruptcy Rules”), the Debtor consents to the entry of final orders or a final judgment by

this Court in this adversary proceeding.

                 6.       Venue is proper in this District pursuant to 28 U.S.C. § 1409.

                                           BASIS FOR RELIEF

                 7.       The statutory bases for the relief requested herein are sections 105(a) and

362(a) of the Bankruptcy Code.

                 8.       The Debtor has commenced this adversary proceeding pursuant to

Bankruptcy Rules 7001(7), 7001(9) and 7065.

                 9.       The Debtor has made no prior request for the relief requested herein to this

or any other court.


5
        The Debtor fully incorporates the arguments and authority contained in the Motion as if fully set forth
        herein.



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                                  GENERAL BACKGROUND

                 10.   On October 14, 2021 (the “Petition Date”), the Debtor commenced the

Chapter 11 Case by filing a voluntary petition for relief under chapter 11 of the Bankruptcy

Code. The Debtor is continuing in possession of its property and is managing its business, as a

debtor in possession, pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                                         THE PARTIES

                 11.   The Debtor is a North Carolina limited liability company.

                 12.   Each named Defendant in Appendix A is a plaintiff in a pending talc

personal injury action against the Debtor and/or one or more of the Protected Parties to recover

on account of Debtor Talc Claims. Absent the relief requested herein and in the Motion,

the Debtor anticipates that the filing of the Chapter 11 Case will lead Defendants to pursue

Debtor Talc Claims against the Protected Parties in an effort to avoid the automatic stay.

                 13.   Each of Defendants John and Jane Does 1-1000 is a prospective plaintiff

who may, at any time while the Chapter 11 Case is pending, seek to commence an action to

pursue a Debtor Talc Claim against one or more of the Protected Parties.

                 14.   The Protected Parties are (a) Old JJCI, (b) the Non-Debtor Affiliates (each

of which is an “affiliate” of the Debtor, as such term is defined in section 101(2) of the

Bankruptcy Code), (c) the Retailers and Indemnified Parties and (d) the Insurers.

                                  FACTUAL BACKGROUND

The 2021 Corporate Restructuring

                 15.   On October 12, 2021, Old JJCI implemented the 2021 Corporate

Restructuring. First Day Decl. ¶ 16. The 2021 Corporate Restructuring was implemented to

enable the Debtor to fully resolve talc-related claims through a chapter 11 reorganization without

subjecting the entire Old JJCI enterprise to a bankruptcy proceeding. Id. ¶ 21.


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                 16.      As a result of the 2021 Corporate Restructuring, which is described in

greater detail in the First Day Declaration:

                          a.       Old JJCI ceased to exist;

                          b.       The Debtor and New JJCI were formed;

                          c.       The Debtor received certain of Old JJCI’s assets, as set forth
                                   below, and became solely responsible for certain of its liabilities,
                                   including the Debtor Talc Claims;

                          d.       New JJCI was allocated all other assets of Old JJCI and became
                                   solely responsible for all other liabilities of Old JJCI;

                          e.       A funding agreement (the “Funding Agreement”) was established
                                   between New JJCI, J&J and the Debtor for the purpose of ensuring
                                   that the Debtor has at least the same, if not greater, ability to pay
                                   the Debtor Talc Claims as Old JJCI had before the 2021 Corporate
                                   Restructuring;6 and

                          f.       The Debtor agreed to indemnify New JJCI and its affiliates for any
                                   losses it might suffer related to the Debtor Talc Claims.

Id. ¶¶ 22-23.

                 17.      At the time of the 2021 Corporate Restructuring, the Debtor received the

following assets:

                          a.       Old JJCI’s rights and interests as payee under the Funding
                                   Agreement (as discussed below, J&J and New JJCI have agreed to
                                   advance $2 billion under the Funding Agreement into a qualified
                                   settlement trust);



6
        Without any corresponding repayment obligation, the Funding Agreement obligates New JJCI and J&J, on
        a joint and several basis, to provide funding, up to the full value of New JJCI, to pay for costs and expenses
        of the Debtor incurred in the normal course of its business (a) at any time when there is no bankruptcy case
        and (b) during the pendency of any chapter 11 case, including the costs of administering the chapter 11
        case, in both situations to the extent that any cash distributions received by the Debtor from Royalty A&M
        are insufficient to pay such costs and expenses. First Day Decl. ¶ 27. In addition, the Funding Agreement
        requires New JJCI and J&J to, up to the full value of New JJCI, fund amounts necessary (a) to satisfy the
        Debtor’s talc-related liabilities at any time when there is no bankruptcy case and (b) in the event of a
        chapter 11 filing, to provide the funding for a trust, in both situations to the extent that any cash
        distributions received by the Debtor from Royalty A&M are insufficient to pay such costs and expenses
        and further, in the case of the funding of a trust, the Debtor’s other assets are insufficient to provide that
        funding. Id.



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                       b.      A bank account and approximately $6 million in cash;

                       c.      All contracts of Old JJCI related to its talc-related litigation,
                               including settlement agreements, interests in qualified settlement
                               trusts, indemnity rights, insurance coverage rights, service
                               contracts and engagement and retention contracts, if any;

                       d.      All equity interests in Royalty A&M LLC (“Royalty A&M”),
                               which owns a portfolio of royalty revenue streams, including
                               royalty revenue streams based on third-party sales of certain
                               products, a business that is projected to generate approximately
                               $50 million in revenue per year over the next five years and has the
                               ability to borrow up to $50 million from J&J on terms consistent to
                               those provided to other J&J affiliates;

                       e.      Causes of action that relate to the assets and liabilities allocated to
                               the Debtor;

                       f.      Privileges that relate to the assets and liabilities allocated to the
                               Debtor; and

                       g.      Records that relate to the assets and liabilities allocated to the
                               Debtor.

Id. ¶¶ 24, 26, 30.

                 18.   In total, the Debtor’s value is approximately $373.1 million, without

taking into account the Funding Agreement with New JJCI and J&J. Id. ¶ 26. In addition, J&J

and New JJCI have committed to fund, as early as January 31, 2022, a North Carolina trust that

will constitute a “qualified settlement fund” with an aggregate amount of $2 billion for the

payment of current and future talc-related claims asserted against or related to the Debtor. Id.

¶ 28.

The Debtor Talc Claims

                 19.   Cosmetic talc litigation against the Debtor has focused primarily on

JOHNSON’S® Baby Powder (hereinafter, “Johnson’s Baby Powder”) as a purported cause of

ovarian cancer and mesothelioma. Id. ¶ 32. For over 125 years Johnson’s Baby Powder has

been used by hundreds of millions of consumers worldwide. Id.



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                 20.   J&J, a New Jersey company incorporated in 1887, first began selling

Johnson’s Baby Powder in 1894, launching its baby-care line of products. Id. ¶ 10. In 1972, J&J

established a formal operating division for its baby products business, which included Johnson’s

Baby Powder. Id. In 1979, J&J transferred all its assets and liabilities associated with the baby

products division to Old JJCI. Id.. Following this transaction, J&J no longer manufactured or

sold baby products, including Johnson’s Baby Powder and, instead, Old JJCI manufactured and

sold Johnson’s Baby Powder. Id. ¶¶ 10, 33. Old JJCI is responsible for all claims alleging that

Johnson’s Baby Powder and other talc-containing products cause cancer or other disease. Id.

¶¶ 9-15.

                 21.   On May 19, 2020, Old JJCI announced it would permanently discontinue

its line of talc-based Johnson’s Baby Powder in the U.S. and Canada. Id. The decision was

based on business considerations, including lack of sales due to misinformation about the safety

of Old JJCI’s talc-based Johnson’s Baby Powder. Id. ¶ 33. As set forth in the Debtor’s

Information Brief filed on the Petition Date [Dkt. 3], the Debtor stands behind the safety of

Johnson’s Baby Powder and asserts, based on decades of internal and third party studies and

testing, that it is not a cause of either ovarian cancer or mesothelioma.

                 22.   As of the Petition Date, there were approximately 38,000 ovarian cancer

cases pending against the Debtor, including approximately 35,000 cases pending in a federal

multi-district litigation in New Jersey, and approximately 3,300 cases in multiple state court

jurisdictions across the country. First Day Decl. ¶ 42. In addition to the ovarian claims, more

than 430 mesothelioma cases were pending against the Debtor on the Petition Date. These

claims, like the ovarian cancer claims, spanned the U.S. with cases pending in New Jersey,

California, Illinois, Missouri, New York, and Ohio. Id. ¶ 44.




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                 23.     Even though J&J has not manufactured or sold talc-containing products

since prior to 1979, in virtually every lawsuit asserting a Debtor Talc Claim, the Debtor Talc

Claim is asserted against both Old JJCI and J&J. In many jurisdictions, the plaintiffs seek to

hold Old JJCI and J&J jointly and severally liable for such talc claims. The plaintiffs rarely, if

ever, attempt to differentiate between talc-containing products sold by J&J and talc-containing

products sold by Old JJCI. Supp. Kim Decl. ¶ 6.

The Debtor’s Insurance Coverage

                 24.     The Debtor believes that it has rights to insurance coverage for its Debtor

Talc Claims. First Day Decl. ¶ 46. In particular, the Debtor has access to primary and excess

liability insurance policies that cover, among other things, defense and/or indemnity costs related

to talc bodily injury claims, subject to the terms of the policies.7 Id.

                 25.     Aetna Casualty and Surety Company (“Travelers”)8 issued primary

general liability policies to J&J (which policies cover the Debtor) for the period 1957 to 1980

(the “Travelers Policies”). Id. ¶ 47. The combined limits of the Travelers Policies (not

accounting for deductibles or erosion/exhaustion of limits) total more than $214 million per

occurrence and $263 million in the aggregate. Id. The deductibles increase over time, starting at

a minimal level and increasing to $5 million per occurrence by 1977. Id. The limits of the

Travelers Policies before 1973 are not eroded by defense costs; under later policies, defense

costs erode limits. Id. From 1957 to 1985, Travelers also provided excess liability coverage to




7       The policies that cover the Debtor were issued to J&J as the named insured. Those policies cover the
        period when Old JJCI was operated as a business unit of J&J, as well as during the period when Old JJCI
        was a subsidiary of J&J.
8
        Aetna Casualty and Surety Company is now part of Travelers Insurance Company.



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J&J that covers the Debtor. The combined aggregate limits of those policies total approximately

$563 million. Id. ¶ 48.

                 26.   From 1973 to 1985, a variety of other insurers issued excess policies that

cover the Debtor. Id. ¶ 49. Those insurers include subsidiaries or affiliates of the following

companies: American International Group, Allstate Insurance Company, The Hartford, Home

Insurance Company, Nationwide Indemnity Company and North River Insurance Company. Id.

The combined limits of those excess policies total more than $1.09 billion in the aggregate. Id.

Certain of the insurers that issued the above-described excess policies are insolvent (including, in

particular, Home Insurance Company). Id.

                 27.   From 1981 to 1985, American Motorists Insurance Company (“AMICO”)

issued primary and excess coverage that covers the Debtor (the “AMICO Policies”). Id. ¶ 50.

AMICO is insolvent, having been placed into liquidation in 2013. Id. The Debtor currently

believes that the applicable limits of the AMICO Polices were exhausted by payments made by

AMICO on claims while it was still solvent. Id.

                 28.   From 1973 through 1985, Middlesex Insurance Company (“Middlesex”), a

captive that is a wholly-owned subsidiary of J&J, issued policies that cover J&J and the Debtor.

Id. ¶ 51. Those policies insured J&J and Old JJCI for large deductibles under the Travelers

Policies and the AMICO Policies. Id. From 1977 to 1985, Middlesex also issued excess

insurance policies that cover J&J and Old JJCI. Id. As described in the First Day Declaration,

there is a dispute between J&J, the Debtor, and Middlesex, on the one hand, and the third-party

insurers (i.e., insurers other than the Middlesex captive), on the other hand, regarding the

applicability, extent of coverage and limits of the Middlesex policies, in particular with respect to

the post-1985 Middlesex policies. Id.




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                 29.   In total, the limits of solvent primary and excess insurance policies issued

to J&J by third-party insurers that potentially cover talc-related liabilities are in excess of

$1.95 billion. Id. ¶ 52.

                 30.   J&J and Old JJCI have tendered talc-related claims to the third-party

insurers. To date, none of those insurers has acknowledged its coverage obligations, defended

Old JJCI or J&J, paid the costs of defense, or indemnified J&J or Old JJCI for settlements or

judgments. Instead, the third-party insurers have asserted various coverage defenses. Id. ¶ 53.

                 31.   In May 2019, certain of the Debtor’s third-party insurers filed a lawsuit

against Old JJCI, J&J and Middlesex in the Superior Court of Middlesex County (Docket No.

MID-L-003563-19) (the “New Jersey Coverage Action”), seeking a declaratory judgment

regarding the parties’ respective obligations under the plaintiff insurers’ policies. The insurer

plaintiffs filed a Second Amended Complaint on June 22, 2020. On July 31, 2020, J&J, Old

JJCI, and Middlesex filed answers to the Second Amended Complaint, and asserted

counterclaims and cross-claims against certain defendants. Travelers and certain other insurers

filed cross-claims against J&J, Old JJCI, and Middlesex to which J&J, Old JJCI, and Middlesex

responded later in 2020. The New Jersey Coverage Action remains pending. Id. at 54.

The Debtor’s Retailers and Other Indemnified Parties

                 32.   Old JJCI had relationships with various Retailers, who sold Old JJCI’s

talc-containing products. Some of the Retailers have contractual indemnities with the Debtor

related to the sale of Old JJCI’s talc-containing products. Supp. Kim Decl. ¶ 8. In addition, to

the extent a Retailer is held liable for a claim arising out of the products manufactured and/or

sold by Old JJCI, and not by independent actions of the Retailers (i.e., such that those claims are

Debtor Talc Claims), the Debtor likely as an obligation to indemnify the Retailers under certain




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state laws. Id. Claims asserted against the Retailers for their sale of Old JJCI products are

virtually identical to the claims asserted against Old JJCI. Id.

                 33.   Old JJCI would periodically accept from the Retailers tenders of talc-

related claims related to the sale of its products. Id. ¶ 9. When a Retailer was sued on a Debtor

Talc Claim, the Retailer would notify Old JJCI by submitting a tender request. Id. Old JJCI

would then determine whether to accept the Retailer’s tender of its defense and indemnify the

Retailer pursuant to a tender agreement (each, a “Tender Agreement”). Since 2018, Old JJCI has

indemnified and agreed to assume the defense of nearly 600 talc-related claims against the

Retailers pursuant to Tender Agreements. Of those tendered claims, about 450 were pending as

of the Petition Date. Id.

                 34.   In addition, Old JJCI agreed to indemnify certain other transaction

counterparties for liability arising from Debtor Talc Claims, including Pharma Tech Industries,

Inc. and Valeant Pharmaceuticals International, Inc. (now known as Bausch Health Companies

Inc.). Id. ¶ 11. Claims against the Indemnified Parties are generally identical to and based on the

claims against Old JJCI.

The Debtor’s Decision to File for Chapter 11 Reorganization

                 35.   As of the Petition Date, tens of thousands of talc-related lawsuits are

pending in jurisdictions throughout the United States. See First Day Decl. ¶ 42. Absent its

bankruptcy filing, the Debtor expects that thousands of additional ovarian cancer and

mesothelioma cases would have been filed against it for decades to come. Id. ¶ 45.

                 36.   As noted, prior to the Petition Date, Old JJCI and J&J asserted that there

was no scientific or other proof that Johnson’s Baby Powder either contained asbestos or was a

cause of ovarian cancer or mesothelioma. As a result, Old JJCI and J&J had various successes in

cosmetic talc litigation, including, among others things, dismissing roughly 1,300 ovarian cancer


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and over 250 mesothelioma cases without payment, and achieving 16 key defense verdicts. Id.

¶ 38. Old JJCI also succeeded in obtaining reversal of many plaintiff verdicts on appeal. Id.

Despite these results, and the lack of proof that its product was unsafe, Old JJCI was also subject

to a number of plaintiff verdicts involving unpredictable and wildly divergent compensatory and

punitive damages awards. Id. In addition, prior to the commencement of this case, Old JJCI had

incurred nearly $1 billion in defending a tidal wave of personal-injury lawsuits relating to alleged

talc exposure, nearly all of which was spent in only the last five years. Id. ¶ 40. In the months

prior to the Petition Date, Old JJCI was paying anywhere from $10 million to $20 million

monthly in defense costs. Id. And, cosmetic talc litigation against the Debtor was anticipated to

grow for decades more, as were the extraordinary costs of resolving tens of thousands of

expected claims. Id. ¶ 41.

                 37.    The status quo was untenable given the cost, burden, uncertainty and

anticipated duration of the cosmetic talc litigation. The only available option to appropriately

assess, resolve, and administer the current and future talc-related claims in an efficient and

equitable manner is the Chapter 11 Case. Id. ¶ 58.

                        THE NEED FOR THE REQUESTED RELIEF

                 38.    The Debtor commenced the Chapter 11 Case to equitably and permanently

resolve all current and future talc-related claims against it through the consummation of a plan of

reorganization that includes the establishment of a trust The declaratory and injunctive relief

sought by this adversary proceeding (and the related Motion) is critical to the Debtor’s ability to

achieve that purpose.

                 39.    Following the Petition Date, the Debtor filed notices of suggestion of

bankruptcy (the “Bankruptcy Notices”) on the dockets of pending talc-related cases against the

Debtor and/or J&J (Old JJCI ceased to exist as result of the 2021 Corporate Restructuring). The


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Bankruptcy Notices informed the applicable courts and the parties about the commencement of

the Chapter 11 Case and the application of the automatic stay to the assertion of the Debtor Talc

Claims against the Protected Parties. In an apparent coordinated effort to resist the automatic

stay, counsel representing thousands of talc-related plaintiffs then informed the relevant courts

and the Debtor in writing that they challenge the application of the automatic stay and intend to

pursue the Debtor Talc Claims against the Protected Parties.

                 40.      As demonstrated by the threatened violations of the automatic stay, and in

the absence of the relief requested by this Complaint and the Motion, the Debtor believes that:

                          a.       Many Defendants who already have asserted Debtor Talc Claims
                                   against the Protected Parties will contend that the automatic stay
                                   applies only to the Debtor and will attempt to continue prosecuting
                                   such claims against Old JJCI, New JJCI, J&J and the other
                                   Protected Parties outside of the Chapter 11 Case;

                          b.       Many Defendants who have sued only the Debtor will seek to
                                   amend their complaints to name one or more of the Protected
                                   Parties and prosecute Debtor Talc Claims against those Protected
                                   Parties outside of the Chapter 11 Case;

                          c.       Any Defendants who have pending motions to amend their
                                   complaints to add certain of the Protected Parties will continue to
                                   pursue those amendments in an effort to proceed with litigation
                                   against the Protected Parties outside of the Chapter 11 Case; and

                          d.       Defendants John and Jane Does 1-1000 will file Debtor Talc
                                   Claims against the Protected Parties, particularly Old JJCI and
                                   New JJCI, but not the Debtor.

See Supp. Kim. Decl. ¶ 15.

                 41.      All Debtor Talc Claims asserted against the Protected Parties allegedly

arose from the manufacture and/or sale of talc products by Old JJCI or J&J.9 First Day Decl.

¶¶ 31-32. As discussed in the First Day Declaration, in 1979 Old JJCI assumed all if J&J's


9
        Certain talc claimants have asserted claims against the Retailers on account of their previous sale of talc-
        containing products manufactured by Old JJCI.



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liabilities associated with baby products, including Johnson's Baby Powder. Id. ¶ 10. Now,

the Debtor is responsible for all of these potential liabilities. Id. ¶ 24. Accordingly, all such

claims are either claims against the Debtor or claims that are tantamount to claims against

the Debtor. Permitting the Defendants to continue or commence the Debtor Talc Claims against

the Protected Parties while the Debtor simultaneously works to reorganize by resolving the same

claims in the Chapter 11 Case pursuant to the Bankruptcy Code would (a) defeat the purpose of

the Chapter 11 Case, (b) result in irreparable harm to the Debtor’s estate, (c) undermine and

circumvent the purposes and spirit of the automatic stay and (d) divert the Debtor from its

reorganization efforts.

                                 NATURE OF RELIEF REQUESTED

                 42.      To guard against the severe and irreparable harm that the Debtor would

suffer in the event that Defendants are permitted to continue or commence Debtor Talc Claims

against the Protected Parties (on any theory of liability) during the Debtor’s Chapter 11 Case, the

Debtor seeks: (a) a declaration that, while the Chapter 11 Case remains pending, the

commencement or continued prosecution of any Debtor Talc Claims against any Protected Party

constitutes a violation of the automatic stay imposed by section 362 of the Bankruptcy Code; or

(b) a preliminary injunction prohibiting the Defendants from commencing or continuing to

prosecute any Debtor Talc Claims against any Protected Party while the Chapter 11 Case

remains pending.10 The Debtor also seeks a temporary restraining order, issued on limited




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        This injunction would include, without limitation: (a) the pursuit of discovery from the Protected Parties or
        their officers, directors, employees or agents; (b) the enforcement of any discovery order against the
        Protected Parties; (c) further motions practice related to the foregoing; and (d) any collection activity on
        account of a Debtor Talc Claim against any Protected Party or its officers, directors, employees or agents or
        its respective assets.



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notice, that prohibits the Defendants from filing or continuing to prosecute any Debtor Talc

Claims against any Protected Party pending a final hearing on the merits.

                                  Count I: Declaratory Relief
                         Pursuant to Section 362 of the Bankruptcy Code

                 43.     The Debtor incorporates by reference paragraphs 1 through 42 as if fully

set forth herein.

                 44.     Section 362(a)(1) of the Bankruptcy Code prohibits the “commencement

or continuation . . . of a judicial . . . proceeding against the debtor that was or could have been

commenced before the commencement of the case under this title, or to recover a claim against

the debtor that arose before the commencement of the case under this title.”

11 U.S.C. § 362(a)(1).

                 45.     The continuation and commencement of Debtor Talc Claims against Old

JJCI, which are unequivocally efforts to recover on claims against the Debtor, are automatically

stayed. As described above, Old JJCI no longer exists, and the Debtor is responsible for the

Debtor Talc Claims. Thus, the commencement or continuation of the Debtor Talc Claims

against Old JJCI can have only one purpose: the ultimate liquidation and recovery of claims

against the Debtor. And, because the Debtor Talc Claims allege liabilities arising out of

Old JJCI’s actions years before the Petition Date, such claims are expressly enjoined by the

automatic stay.

                 46.     Likewise, the continuation and commencement of Debtor Talc Claims

against J&J are automatically stayed. All of J&J’s liabilities associated with Johnson’s Baby

Powder and other talc-containing products were transferred to Old JJCI when it assumed those

liabilities in 1979. Thus, the pursuit of the Debtor Talc Claims against J&J is an effort to

liquidate and recover claims against the Debtor.



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                 47.    Additionally, Fourth Circuit precedent recognizes that the automatic stay

imposed by section 362(a)(1) extends of its own force to enjoin actions against parties who share

such an identity of interests with the debtor in respect to those actions that the debtor is, in effect,

the real-party defendant. Here, the Protected Parties share such an identity of interests with the

Debtor that the Debtor, in effect, would be the real-party defendant in Debtor Talc Claims

brought against Protected Parties. Litigating, settling or attempting to establish the value of the

Debtor Talc Claims against the Protected Parties would liquidate claims against the Debtor,

including by triggering existing indemnification and similar obligations of the Debtor to such

entities. Such litigation also creates risks of binding the Debtor through res judicata and

collateral estoppel, and creating an evidentiary record that prejudices the Debtor. Moreover, all

liability for the Debtor Talc Claims was exclusively allocated to the Debtor through the 2021

Corporate Restructuring. Because the Debtor is the real-party defendant in any suit seeking to

liquidate and recover on account of a Debtor Talc Claim, section 362(a)(1) stays such actions.

                 48.    Section 362(a)(3) of the Bankruptcy Code operates automatically to stay,

among other actions, “the commencement or continuation . . . of a . . . proceeding against

the debtor . . . to obtain possession of . . . or to exercise control over property of the estate.”

11 U.S.C. § 362(a)(3). The section 362(a)(3) stay applies here in two ways.

                 49.    First, section 362(a)(3) bars Defendants from bringing actions against the

Insurers and J&J based on the Debtor Talc Claims because the right to insurance coverage is

property of the estate and such actions could result in depletion of an estate asset. Here,

insurance is potentially available to both the Debtor and J&J under various insurance policies for

talc-related claims. If a Debtor Talc Claim is prosecuted against J&J, J&J may seek coverage

under these shared insurance policies to satisfy any judgment, thereby reducing the coverage




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available to the Debtor’s estate. Such a depletion of an estate asset violates the automatic stay

and, therefore, Debtor Talc Claims against the Insurers and J&J are stayed pursuant to

section 362(a)(3).

                 50.     Second, because attempts by Defendants to pursue Debtor Talc Claims

against Protected Parties—which likely would be based on theories of alter ego, successor

liability and/or fraudulent transfer—would constitute property of the Debtor’s estate,

section 362(a)(3) operates to stay such actions. First Day Decl. ¶ 62.

                 51.     Accordingly, and in line with Fourth Circuit precedent with respect to the

application of the automatic stay, the declaratory relief the Debtor seeks in this Complaint and in

the Motion is necessary and appropriate to protect the integrity of the automatic stay and the

bankruptcy proceeding.

                 WHEREFORE, the Debtor respectfully requests that this Court: (a) after notice

and a hearing, enter an order and judgment declaring that the commencement or continued

prosecution of Debtor Talc Claims against one or more Protected Parties while the Chapter 11

Case remains pending violates the automatic stay imposed by section 362(a) of the Bankruptcy

Code and (b) grant such other and further relief as the Court may deem proper.

                            Count II: Preliminary Injunctive Relief,
                     Pursuant to Sections 105 and 362 of the Bankruptcy Code

                 52.     The Debtor incorporates by reference paragraphs 1 through 51 as if fully

set forth herein.

                 53.     Section 105(a) of the Bankruptcy Code authorizes and empowers this

Court to issue any orders that will further the purposes and goals of the Bankruptcy Code, assist

in the orderly and effective administration of the Chapter 11 Case, aid in the preservation of




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the assets of the Debtor’s estate and aid in the formulation and confirmation of a chapter 11 plan

that maximizes recovery to all of the Debtor’s creditors.11

                 54.      Pursuant to sections 105(a) and 362 of the Bankruptcy Code, this Court

may enjoin creditor actions against third parties where necessary to prevent an adverse impact on

the Debtor’s estate or to assure the orderly administration of the Debtor’s chapter 11 estate and

proceedings, including by fully effectuating the protections of the automatic stay. An injunction

is appropriate in this case to prohibit the Defendants from filing or continuing to prosecute any

Debtor Talc Claims against the Protected Parties while the Chapter 11 Case remains pending.

Further, such an injunction is critical to the Debtor’s ability to achieve the purposes for which

it commenced its reorganization case.

                 55.      In the Fourth Circuit, courts considering the propriety of an injunction

under section 105(a) apply the traditional four-factor test for injunctions, as tailored to the unique

circumstances of bankruptcy. In bankruptcy, these four factors are: (a) the debtor’s reasonable

likelihood of successful reorganization; (b) the imminent risk of irreparable harm to the debtor’s

estate in the absence of an injunction; (c) the balance of harms between the debtor and its

creditors and (d) whether the public interest weighs in favor of an injunction.

                 56.      While courts typically consider all four factors, the Fourth Circuit has

made very clear that the critical, if not decisive, issue in whether a section 105(a) injunction is

warranted is whether and to what extent the non-debtor litigation interferes with the debtor’s

reorganization efforts. Here, the interference with the Debtor’s reorganization is sufficiently




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        Section 105(a) of the Bankruptcy Code provides, in relevant part, that the Court “may issue any order,
        process, or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy Code].”
        11 U.S.C. § 105(a).



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decisive to grant the injunction without applying the four-factor test. In any case, as set forth

below, the injunction is appropriate under the four-factor test as well.

                 57.   The Debtor is likely to prevail on the merits of its Complaint under Fourth

Circuit standards. First, the Debtor’s prospects for a successful reorganization are strong.

The Debtor has entered bankruptcy in good faith and in an effort to permanently, fully and

equitably resolve current and future Debtor Talc Claims through the establishment of a trust.

The Debtor also has sufficient assets to fund the Chapter 11 Case and a trust in the amount

required by a confirmed plan of reorganization.

                 58.   Further, the failure to grant the requested injunction would irreparably

harm the Debtor’s reorganization efforts and defeat the purpose of the Chapter 11 Case. Absent

the requested injunction, the Defendants would seek to liquidate the exact same talc claims that

exist against the Debtor in this Chapter 11 Case through piecemeal litigation against the

Protected Parties outside of the Chapter 11 Case in the tort system. Permitting claimants to seek

to indirectly establish claims against the Debtor through actions against third parties with

indemnity rights would prevent the Debtor from establishing a trust to consolidate and

collectively resolve all talc claims against the Debtor—current and future—through

the Chapter 11 Case. This non-bankruptcy litigation, if not stayed, would undermine (or

eliminate) the parties’ and the Court’s ability to achieve confirmation of a plan that treats all talc

claimants fairly and equitably.

                 59.   An additional risk of continued litigation of Debtor Talc Claims against

the Protected Parties is that the resolution of claims and issues in such litigation could bind the

Debtor under the doctrines of collateral estoppel and res judicata. Litigation of the Debtor Talc

Claims against the Protected Parties also creates a substantial risk that talc claimants will use




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statements, testimony and other evidence generated in those proceedings to try to establish the

Debtor Talc Claims against the Debtor. Supp. Kim Decl. ¶ 17. To avoid these types of risks, the

Debtor would be compelled to actively participate in litigation of the Debtor Talc Claims in the

tort system. This would undermine the automatic stay.

                 60.   The balance of the harms weighs heavily in favor of an injunction because

prosecution of the Debtor Talc Claims against the Protected Parties in the tort system would

cause irreparable harm to the Debtor and its estate. Prosecution of Debtor Talc Claims outside of

this Court may liquidate claims against the Debtor and bind the Debtor with respect to rulings,

judgments and evidentiary records established in those cases. It would also compromise the

protections of the automatic stay. In short, the entire purpose of the Chapter 11 Case would be

thwarted. Failure to issue an injunction also may prejudice certain Defendants by leading to

different recoveries among similarly situated claimants depending on whether they recover

through the tort system or a future, court-approved trust.

                 61.   On the other hand, the harm, if any, that issuing an injunction might cause

the Defendants is minimal, to the extent it would exist at all. The issuance of an injunction will

not permanently deprive the Defendants of an opportunity to pursue the Debtor Talc Claims.

Instead, it will merely halt those alleged claims, giving the Debtor time to reach consensus on a

plan of reorganization. Moreover, mere delay to the Defendants does not outweigh the

irreparable harm to the debtor’s estate.

                 62.   The Defendants also cannot establish harm based on the speculation that

an injunction could affect the ultimate payment for their claims. In total, the Debtor’s value is

approximately $373.1 million, without taking into account insurance rights and the Funding

Agreement with New JJCI and J&J. First Day Decl. ¶ 26. Among other things, the Funding




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Agreement will ensure funding for a trust in the amount required by a confirmed plan of

reorganization, to the extent the Debtor’s other assets (including insurance) are insufficient to

fund the trust. In addition, New JJCI and J&J have agreed to deposit an aggregate amount of

$2 billion into a “qualified settlement fund” for the payment of current and future talc-related

claims asserted against or related to the Debtor.

                 63.    Finally, the public interest weighs in favor of an injunction. There is

a strong public interest in a successful chapter 11 reorganization, and injunctive relief is critical

to the Debtor’s reorganization efforts. It also is in the public interest to promote justice in

the court system by resolving all Debtor Talc Claims in an equitable manner. This result is not

possible if piecemeal litigation of the Debtor Talc Claims in the tort system circumvents the

bankruptcy process. For that reason, a successful reorganization under chapter 11—and an

injunction that makes such reorganization possible—particularly serve the public interest in the

talc context because they allow for the resolution of thousands of claims in a uniform and

equitable manner.

                 64.    Accordingly, an injunction barring the Defendants from commencing or

continuing any Debtor Talc Claims against one or more Protected Parties while the Chapter 11

Case remains pending is appropriate and essential to the orderly and effective administration of

the Debtor’s estate. Good cause exists for the entry of injunctive relief pursuant to

sections 105(a) and 362(a) of the Bankruptcy Code and Bankruptcy Rule 7065.

                 WHEREFORE, the Debtor respectfully requests that this Court: (a) after notice

and a hearing, issue a preliminary injunction pursuant to sections 105 and 362 of the Bankruptcy

Code prohibiting the filing or continued prosecution of Debtor Talc Claims against the Protected




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Parties while the Chapter 11 Case remains pending and (b) grant such other and further relief as

the Court may deem proper.

                    Count III: Application for Temporary Restraining Order

                 65.    The Debtor incorporates by reference paragraphs 1 through 64 as if fully

set forth herein.

                 66.    To preserve the effectiveness of the automatic stay until this Court has

the opportunity to hold a final hearing on the Debtor’s request for declaratory and/or injunctive

relief, and to prevent the foregoing harmful effects upon the Debtor’s estate, the Debtor requests

that, with limited notice, the Court issue a temporary restraining order prohibiting and enjoining

the Defendants from filing or continuing to prosecute Debtor Talc Claims against the Protected

Parties until this Court has issued a final ruling on the merits.

                 67.    The issuance of a temporary restraining order is warranted for the reasons

already set forth herein and as more fully set forth in the Motion. In addition, it is appropriate

for the Court to grant the temporary restraining order with limited notice to the Defendants.

The Debtor cannot realistically provide effective notice to the many named plaintiffs who have

sued or may sue the Protected Parties in the short period of time in which this Court’s action is

needed. Further, Defendants John and Jane Does 1-1000 are putative plaintiffs for future talc

actions against the Protected Parties and are unknown at this time.

                 WHEREFORE, the Debtor respectfully requests that this Court enter a temporary

restraining order: (a) prohibiting the Defendants from filing or continuing to prosecute any

Debtor Talc Claims against the Protected Parties until the Court decides whether to grant

the Debtor’s request in this Complaint and the Motion for declaratory and/or injunctive relief;

and (b) granting such other and further relief as the Court may deem just and proper.




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 Dated: October 21, 2021                   Respectfully submitted,
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                                           John R. Miller, Jr. (NC 28689)
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                                           PROPOSED ATTORNEYS FOR DEBTOR




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                                     APPENDIX A

                           List of Defendants and Their Counsel




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                                                         Appendix A
                                            List of Defendants and Their Counsel

          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
BONDURANT, LYNDA          NJ - USDC for the District of New Jersey   3:19-cv-14366         ALLAN BERGER AND ASSOCIATES
BUBRIG, REBA              NJ - USDC for the District of New Jersey   3:21-cv-11386         ALLAN BERGER AND ASSOCIATES
HOLLAND, LOIS             NJ - USDC for the District of New Jersey   3:19-cv-14372         ALLAN BERGER AND ASSOCIATES
LEONARD, PHYLLIS          NJ - USDC for the District of New Jersey   3:20-cv-06131         ALLAN BERGER AND ASSOCIATES
TRIPP, ARLENE             NJ - USDC for the District of New Jersey   3:19-cv-17898         ALLAN BERGER AND ASSOCIATES
WILLIAMS, SHARON          NJ - USDC for the District of New Jersey   3:19-cv-15810         ALLAN BERGER AND ASSOCIATES
DRENGACS, TERESA          NJ - USDC for the District of New Jersey   3:19-cv-17797         ALLEN & NOLTE PLLC
SIMPSON, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-17425         ALLEN & NOLTE PLLC
MANLA, JOSEPHINE          NJ - Superior Court - Atlantic County      ATL-L-003351-20       ALOIA LAW FIRM LLC
BELLANTIS, CATHERINE      NJ - USDC for the District of New Jersey   3:20-cv-09238         ANAPOL WEISS
BERNOUDY, LAURA           NJ - USDC for the District of New Jersey   3:20-cv-15545         ANAPOL WEISS
CAMPBELL, TASHIA          NJ - USDC for the District of New Jersey   3:20-cv-15544         ANAPOL WEISS
GREENE, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-09260         ANAPOL WEISS
HUSETH, SANDRA            NJ - Superior Court - Atlantic County      ATL-L-1341-17         ANAPOL WEISS
KAMINSKY, DOROTHY         NJ - USDC for the District of New Jersey   3:19-cv-21750         ANAPOL WEISS
MCNEAL, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-15610         ANAPOL WEISS
MENDES, HOLLY             NJ - USDC for the District of New Jersey   3:20-cv-15536         ANAPOL WEISS
MILLIS, JOAN              NJ - USDC for the District of New Jersey   3:18-cv-06079         ANAPOL WEISS
ONOPA, JOAN               NJ - USDC for the District of New Jersey   3:17-cv-04012         ANAPOL WEISS
OYLER, LISA               NJ - USDC for the District of New Jersey   3:20-cv-13681         ANAPOL WEISS
PATTON, MARCELLA          NJ - USDC for the District of New Jersey   3:17-cv-07926         ANAPOL WEISS
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CARPENTER, ROSEMARY       NJ - USDC for the District of New Jersey   3:19-cv-19786
                                                                                           LLP
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                                                                                           LLP
                                                                                           ANDREWS THORNTON HIGGINS RAZMARA,
SILVA, KAMALA             CA - Superior Court - Los Angeles County   BC635962
                                                                                           LLP
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BLASINI, NYDIA            NJ - USDC for the District of New Jersey   3:21-cv-16715         ANDRUS WAGSTAFF, P.C
BOWERS, CATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-14545         ANDRUS WAGSTAFF, P.C
BOYLAN, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-04461         ANDRUS WAGSTAFF, P.C
BURKE, LORA               NJ - USDC for the District of New Jersey   3:21-cv-04591         ANDRUS WAGSTAFF, P.C
CAMPBELL, DORA            NJ - USDC for the District of New Jersey   3:19-cv-00655         ANDRUS WAGSTAFF, P.C
CHARLES, NORALEE          NJ - USDC for the District of New Jersey   3:21-cv-16416         ANDRUS WAGSTAFF, P.C
CHRISTIAN, NANETTE        NJ - USDC for the District of New Jersey   3:20-cv-18847         ANDRUS WAGSTAFF, P.C
DANIEL, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-18876         ANDRUS WAGSTAFF, P.C
DAVIS, RUTHANNE           NJ - USDC for the District of New Jersey   3:18-cv-00498         ANDRUS WAGSTAFF, P.C
EDWARDS, LATASHA          NJ - USDC for the District of New Jersey   3:20-cv-14184         ANDRUS WAGSTAFF, P.C
ELMORE, DESIREE           NJ - USDC for the District of New Jersey   3:21-cv-14467         ANDRUS WAGSTAFF, P.C
HAACK, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-13695         ANDRUS WAGSTAFF, P.C
HERRERA, DELILAH          NJ - USDC for the District of New Jersey   3:21-cv-14291         ANDRUS WAGSTAFF, P.C
HORNE, EMILY              NJ - USDC for the District of New Jersey   3:17-cv-12625         ANDRUS WAGSTAFF, P.C
HUBBARD, GEMMA            NJ - USDC for the District of New Jersey   3:20-cv-18842         ANDRUS WAGSTAFF, P.C
JONES, MARGARET           IL - Circuit Court - Cook County           2021L003098           ANDRUS WAGSTAFF, P.C
LAFOND, VERBENIA          NJ - USDC for the District of New Jersey   3:21-cv-03558         ANDRUS WAGSTAFF, P.C
LAND, JENNA               NJ - USDC for the District of New Jersey   3:18-cv-01902         ANDRUS WAGSTAFF, P.C
LEE, JILL                 NJ - USDC for the District of New Jersey   3:20-cv-14669         ANDRUS WAGSTAFF, P.C
LISTON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-14590         ANDRUS WAGSTAFF, P.C
LYONS, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-04538         ANDRUS WAGSTAFF, P.C
MARTIN, JULIA             NJ - USDC for the District of New Jersey   3:17-cv-12630         ANDRUS WAGSTAFF, P.C
MAY, PENNY                NJ - USDC for the District of New Jersey   3:18-cv-00251         ANDRUS WAGSTAFF, P.C
MCKENZIE, KATHY           NJ - USDC for the District of New Jersey   3:17-cv-12633         ANDRUS WAGSTAFF, P.C
NICHOLSON, SANDRA         NJ - USDC for the District of New Jersey   3:21-cv-15449         ANDRUS WAGSTAFF, P.C
OLSON, VANESSA            NJ - USDC for the District of New Jersey   3:20-cv-14188         ANDRUS WAGSTAFF, P.C
PLAISANCE, MARY           NJ - USDC for the District of New Jersey   3:20-cv-14547         ANDRUS WAGSTAFF, P.C
PLUNKETT, SHARI           NJ - USDC for the District of New Jersey   3:19-cv-07718         ANDRUS WAGSTAFF, P.C
RENTERIA, LETITIA         NJ - USDC for the District of New Jersey   3:21-cv-15482         ANDRUS WAGSTAFF, P.C
RICHARDSON, VICTORIA      NJ - USDC for the District of New Jersey   3:17-cv-12634         ANDRUS WAGSTAFF, P.C
SIMS, EMMA                NJ - USDC for the District of New Jersey   3:21-cv-14204         ANDRUS WAGSTAFF, P.C
VINCENT, LETHA            NJ - USDC for the District of New Jersey   3:20-cv-14567         ANDRUS WAGSTAFF, P.C
WALLACE, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-07777         ANDRUS WAGSTAFF, P.C
WEAVER, EBONI             NJ - USDC for the District of New Jersey   3:17-cv-12635         ANDRUS WAGSTAFF, P.C
WEBER, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-12636         ANDRUS WAGSTAFF, P.C
WELLS, SHANNON            NJ - USDC for the District of New Jersey   3:21-cv-16110         ANDRUS WAGSTAFF, P.C
WHITE, MONICA             NJ - USDC for the District of New Jersey   3:21-cv-14296         ANDRUS WAGSTAFF, P.C
WILLIS, TAMARA            NJ - USDC for the District of New Jersey   3:18-cv-01324         ANDRUS WAGSTAFF, P.C
YATES, JAIME              NJ - USDC for the District of New Jersey   3:19-cv-13974         ANDRUS WAGSTAFF, P.C
ABERCROMBIE, BETTY        NJ - USDC for the District of New Jersey   3:21-cv-10399         ARNOLD & ITKIN LLP
ABNEY, SHAMAE             NJ - USDC for the District of New Jersey   3:20-cv-19449         ARNOLD & ITKIN LLP
ACHENBACH, DORIS          NJ - USDC for the District of New Jersey   3:18-cv-11789         ARNOLD & ITKIN LLP
ACOSTA, WENDY             NJ - USDC for the District of New Jersey   3:21-cv-00812         ARNOLD & ITKIN LLP
ADAMS, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-15656         ARNOLD & ITKIN LLP
ADAMS, PRISCILLA          NJ - USDC for the District of New Jersey   3:20-cv-05974         ARNOLD & ITKIN LLP
AKERS, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-19725         ARNOLD & ITKIN LLP




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          Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
ALBERTS, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-03656         ARNOLD & ITKIN LLP
ALEGRE, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-16783         ARNOLD & ITKIN LLP
ALEGRIA, MONICA           NJ - USDC for the District of New Jersey   3:20-cv-02948         ARNOLD & ITKIN LLP
ALKHAS, ANITA             NJ - USDC for the District of New Jersey   3:20-cv-09373         ARNOLD & ITKIN LLP
ALKHOURI, MADLAIN         NJ - USDC for the District of New Jersey   3:21-cv-10402         ARNOLD & ITKIN LLP
ALLBRIGHT, DIANE          NJ - USDC for the District of New Jersey   3:18-cv-08732         ARNOLD & ITKIN LLP
ALLEN, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-19736         ARNOLD & ITKIN LLP
AMBROS, KATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-16294         ARNOLD & ITKIN LLP
AMERSON, DEANDRA          CA - Superior Court - Los Angeles County   CGC-20-588782         ARNOLD & ITKIN LLP
AMEY, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-10626         ARNOLD & ITKIN LLP
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ANDERSON, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-02528         ARNOLD & ITKIN LLP
ANDERSON, GEORGIA         NJ - USDC for the District of New Jersey   3:21-cv-15243         ARNOLD & ITKIN LLP
APONTE, NOEMI             NJ - USDC for the District of New Jersey   3:20-cv-12208         ARNOLD & ITKIN LLP
ARCHER, KELLY             NJ - USDC for the District of New Jersey   3:21-cv-09035         ARNOLD & ITKIN LLP
ARNOLD, GENIE             NJ - USDC for the District of New Jersey   3:20-cv-11129         ARNOLD & ITKIN LLP
ARNOLD, PHYLLIS           NJ - USDC for the District of New Jersey   3:19-cv-18654         ARNOLD & ITKIN LLP
ARNOLD, TERRI             NJ - USDC for the District of New Jersey   3:21-cv-01736         ARNOLD & ITKIN LLP
ARREOLA, YOLAND           NJ - USDC for the District of New Jersey   3:19-cv-18095         ARNOLD & ITKIN LLP
ARTESSA, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-14370         ARNOLD & ITKIN LLP
ASHLEY-JARMON, DESHAWN    NJ - USDC for the District of New Jersey   3:20-cv-10869         ARNOLD & ITKIN LLP
ASKEW, DANIELLE           NJ - USDC for the District of New Jersey   3:21-cv-02022         ARNOLD & ITKIN LLP
ATWOOD, NORMA             NJ - USDC for the District of New Jersey   3:20-cv-19232         ARNOLD & ITKIN LLP
AUSTIN, JANIS             NJ - USDC for the District of New Jersey   3:20-cv-03323         ARNOLD & ITKIN LLP
AUSTIN, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-15108         ARNOLD & ITKIN LLP
BAGWELL, DORA             NJ - USDC for the District of New Jersey   3:20-cv-19249         ARNOLD & ITKIN LLP
BAILEY, BECKY             NJ - USDC for the District of New Jersey   3:21-cv-15290         ARNOLD & ITKIN LLP
BAILEY, CHRISSA           NJ - USDC for the District of New Jersey   3:20-cv-18223         ARNOLD & ITKIN LLP
BAILEY-WYCHE, SYLVIA      NJ - USDC for the District of New Jersey   3:21-cv-01359         ARNOLD & ITKIN LLP
BAKER, MEGHAN             NJ - USDC for the District of New Jersey   3:20-cv-11127         ARNOLD & ITKIN LLP
BALDUCCI, MARIAN AVANTS   NJ - USDC for the District of New Jersey   3:21-cv-15281         ARNOLD & ITKIN LLP
BANKS, LOREDA             NJ - USDC for the District of New Jersey   3:20-cv-06638         ARNOLD & ITKIN LLP
BARLEY, LESLIE            NJ - USDC for the District of New Jersey   3:20-cv-11873         ARNOLD & ITKIN LLP
BARNFIELD, NICOLE         NJ - USDC for the District of New Jersey   3:20-cv-11123         ARNOLD & ITKIN LLP
BARNHART, MARYANN         NJ - USDC for the District of New Jersey   3:20-cv-19542         ARNOLD & ITKIN LLP
BARRETT, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-20030         ARNOLD & ITKIN LLP
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BATTS, TAMMIE             NJ - USDC for the District of New Jersey   3:21-cv-13261         ARNOLD & ITKIN LLP
BAZILE, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-14259         ARNOLD & ITKIN LLP
BEACH, CLAIRE             NJ - USDC for the District of New Jersey   3:20-cv-11131         ARNOLD & ITKIN LLP
BEAN, SCARLETT            NJ - USDC for the District of New Jersey   3:20-cv-08209         ARNOLD & ITKIN LLP
BEARD, KAY                NJ - USDC for the District of New Jersey   3:20-cv-00180         ARNOLD & ITKIN LLP
BEDENBAUGH, CHERYL        NJ - USDC for the District of New Jersey   3:20-cv-12724         ARNOLD & ITKIN LLP
BELL, ETHEL               NJ - USDC for the District of New Jersey   3:21-cv-10981         ARNOLD & ITKIN LLP
BELL, ETHEL               NJ - USDC for the District of New Jersey   3:20-cv-16980         ARNOLD & ITKIN LLP
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BENDELL, HANSINA          NJ - USDC for the District of New Jersey   3:20-cv-13715         ARNOLD & ITKIN LLP
BENTON, IRENE             NJ - USDC for the District of New Jersey   3:21-cv-10710         ARNOLD & ITKIN LLP
BERRY, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-12616         ARNOLD & ITKIN LLP
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BETTS, RHONDA             CA - Superior Court - Los Angeles County   20STCV48090           ARNOLD & ITKIN LLP
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BLEDSOE, HANNAH           NJ - USDC for the District of New Jersey   3:21-cv-07451         ARNOLD & ITKIN LLP
BLOUGH, BILLIE            NJ - USDC for the District of New Jersey   3:21-cv-03794         ARNOLD & ITKIN LLP
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BODNAR, ROSE              NJ - USDC for the District of New Jersey   3:20-cv-00151         ARNOLD & ITKIN LLP
BOLDS, DOMINIQUE          NJ - USDC for the District of New Jersey   3:21-cv-16656         ARNOLD & ITKIN LLP
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BONDA, JUDI                                                          201200816             ARNOLD & ITKIN LLP
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BORUFF, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-07418         ARNOLD & ITKIN LLP
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BOTTS, DELIA              NJ - USDC for the District of New Jersey   3:21-cv-10463         ARNOLD & ITKIN LLP
BOUDREAUX, CHERYL         NJ - USDC for the District of New Jersey   3:21-cv-12288         ARNOLD & ITKIN LLP
BOWLSON, KENYATTA         NJ - USDC for the District of New Jersey   3:20-cv-19479         ARNOLD & ITKIN LLP
BOYCE, LINDA              NJ - Superior Court - Atlantic County      ATL-L-000449-21       ARNOLD & ITKIN LLP
BOYD, JENNETTE            NJ - USDC for the District of New Jersey   3:20-cv-10881         ARNOLD & ITKIN LLP
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BRAITHWAITE, CATHY        NJ - USDC for the District of New Jersey   3:20-cv-01280         ARNOLD & ITKIN LLP
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BREGEL, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-14801         ARNOLD & ITKIN LLP
BRESCIA, FRANCES          NJ - USDC for the District of New Jersey   3:20-cv-06629         ARNOLD & ITKIN LLP
BRILL, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-02151         ARNOLD & ITKIN LLP




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
BRINKMAN, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-15967         ARNOLD & ITKIN LLP
BRITTON, AMBRA            NJ - USDC for the District of New Jersey   3:20-cv-19493         ARNOLD & ITKIN LLP
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BROOKS, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-02021         ARNOLD & ITKIN LLP
BROWN, DENNELLE           NJ - USDC for the District of New Jersey   3:19-cv-18092         ARNOLD & ITKIN LLP
BROWN, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-19715         ARNOLD & ITKIN LLP
BROWN, LISA               NJ - USDC for the District of New Jersey   3:21-cv-01910         ARNOLD & ITKIN LLP
BROWN, ONA                NJ - USDC for the District of New Jersey   3:21-cv-11262         ARNOLD & ITKIN LLP
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BRUNK, BROOKE             NJ - USDC for the District of New Jersey   3:21-cv-07464         ARNOLD & ITKIN LLP
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BURNS, JOANNE             NJ - USDC for the District of New Jersey   3:17-cv-13559         ARNOLD & ITKIN LLP
BUSSIERE, SUZANNE         NJ - USDC for the District of New Jersey   3:21-cv-12409         ARNOLD & ITKIN LLP
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CARDONA, JEANNIE          NJ - USDC for the District of New Jersey   3:21-cv-03658         ARNOLD & ITKIN LLP
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CARLISLE, ROLELIAN        NJ - USDC for the District of New Jersey   3:21-cv-12037         ARNOLD & ITKIN LLP
CARPENTER, BONNIE         NJ - USDC for the District of New Jersey   3:20-cv-08133         ARNOLD & ITKIN LLP
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CARTER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19734         ARNOLD & ITKIN LLP
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CIAMPA, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-11812         ARNOLD & ITKIN LLP
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COLATA, SERA              NJ - USDC for the District of New Jersey   3:21-cv-07460         ARNOLD & ITKIN LLP
COLE, ROBIN               NJ - USDC for the District of New Jersey   3:20-cv-19439         ARNOLD & ITKIN LLP
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COLLINS, MARYANN          NJ - USDC for the District of New Jersey   3:20-cv-14241         ARNOLD & ITKIN LLP
COLLINS, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-11817         ARNOLD & ITKIN LLP
COLVIN, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-03659         ARNOLD & ITKIN LLP
CONARD, CONNIE            NJ - USDC for the District of New Jersey   3:20-cv-16651         ARNOLD & ITKIN LLP
CONNOR, PATRICIA          NJ - Superior Court - Somerset County      3:21-cv-01287         ARNOLD & ITKIN LLP
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CORLEW, ASHLEY            NJ - USDC for the District of New Jersey   3:20-cv-08119         ARNOLD & ITKIN LLP
CORNELIUS, DIANE          NJ - USDC for the District of New Jersey   3:20-cv-20012         ARNOLD & ITKIN LLP
CORTES, DIANA             NJ - USDC for the District of New Jersey   3:20-cv-20090         ARNOLD & ITKIN LLP
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COWARD, WANDA             NJ - USDC for the District of New Jersey   3:20-cv-16652         ARNOLD & ITKIN LLP
COX, CINDY                NJ - USDC for the District of New Jersey   3:20-cv-13701         ARNOLD & ITKIN LLP
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CRAVANAS, ELAINE          NJ - USDC for the District of New Jersey   3:21-cv-01904         ARNOLD & ITKIN LLP
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CREWS, LYDA               NJ - USDC for the District of New Jersey   3:20-cv-19238         ARNOLD & ITKIN LLP
CROUSE, JEANNETTE         NJ - USDC for the District of New Jersey   3:20-cv-06641         ARNOLD & ITKIN LLP
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CRUMM, SHANNON            NJ - USDC for the District of New Jersey   3:20-cv-05529         ARNOLD & ITKIN LLP
CURRY, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-00154         ARNOLD & ITKIN LLP
CUSHMAN, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-07162         ARNOLD & ITKIN LLP
DALLEY, TASMIN            NJ - USDC for the District of New Jersey   3:21-cv-01911         ARNOLD & ITKIN LLP




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          Claimant Name                      State Filed                      Docket Number                Plaintiff Counsel
DALTON, TETIANA              NJ - USDC for the District of New Jersey   3:21-cv-10627         ARNOLD & ITKIN LLP
DANIELS, CHACORI             NJ - USDC for the District of New Jersey   3:21-cv-14372         ARNOLD & ITKIN LLP
DANIELSON, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-16983         ARNOLD & ITKIN LLP
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DAVIS, CATHERINE             NJ - USDC for the District of New Jersey   3:20-cv-05458         ARNOLD & ITKIN LLP
DAVIS, ERICA                 NJ - USDC for the District of New Jersey   3:21-cv-07461         ARNOLD & ITKIN LLP
DAVIS, JANE                  NJ - USDC for the District of New Jersey   3:21-cv-11751         ARNOLD & ITKIN LLP
DAVIS, MELISSA               NJ - USDC for the District of New Jersey   3:21-cv-01426         ARNOLD & ITKIN LLP
DAVIS-ALVAREZ, ANGELA        NJ - USDC for the District of New Jersey   3:20-cv-05465         ARNOLD & ITKIN LLP
DAWSON, YOLANDA              NJ - Superior Court - Atlantic County      ATL-L-002127-21       ARNOLD & ITKIN LLP
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DEFOREST, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-01419         ARNOLD & ITKIN LLP
DEGANO, DELORES              NJ - USDC for the District of New Jersey   3:21-cv-01055         ARNOLD & ITKIN LLP
DEMELO, ELBA                 NJ - USDC for the District of New Jersey   3:20-cv-18288         ARNOLD & ITKIN LLP
DEVORE, ANN                  NJ - USDC for the District of New Jersey   3:18-cv-01713         ARNOLD & ITKIN LLP
DEWATER, DANIELLE            NJ - USDC for the District of New Jersey   3:21-cv-03657         ARNOLD & ITKIN LLP
                             PA - Allegheny County Court of Common
DEXTER, DONNA                                                           GD21000312            ARNOLD & ITKIN LLP
                             Pleas
DICARLO, JUDY                NJ - Superior Court - Atlantic County      ATL-L-1951-20         ARNOLD & ITKIN LLP
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DOWDELL, SARAH               NJ - USDC for the District of New Jersey   3:21-cv-12043         ARNOLD & ITKIN LLP
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DURAN, MARIA                 NJ - USDC for the District of New Jersey   3:20-cv-13541         ARNOLD & ITKIN LLP
DUTCH, SHARON                NJ - USDC for the District of New Jersey   3:21-cv-11158         ARNOLD & ITKIN LLP
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EASTER, LOUISE               NJ - USDC for the District of New Jersey   3:20-cv-18298         ARNOLD & ITKIN LLP
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EWING, MARGARET              NJ - USDC for the District of New Jersey   3:20-cv-09711         ARNOLD & ITKIN LLP
FAIR, LORETTA                NJ - USDC for the District of New Jersey   3:20-cv-08183         ARNOLD & ITKIN LLP
FARON, ELIZABETH             NJ - USDC for the District of New Jersey   3:21-cv-03787         ARNOLD & ITKIN LLP
FAULK, KELLY                 NJ - USDC for the District of New Jersey   3:20-cv-13704         ARNOLD & ITKIN LLP
FEASTER, GWENDOLYN           NJ - USDC for the District of New Jersey   3:20-cv-11856         ARNOLD & ITKIN LLP
FELDERMAN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-15008         ARNOLD & ITKIN LLP
FELTY, TAMIE                 NJ - USDC for the District of New Jersey   3:20-cv-11863         ARNOLD & ITKIN LLP
FERRELL, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-10478         ARNOLD & ITKIN LLP
FETTERS, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-03663         ARNOLD & ITKIN LLP
FIGURES, JANICE              NJ - USDC for the District of New Jersey   3:20-cv-06639         ARNOLD & ITKIN LLP
FINCH, PAULA                 NJ - USDC for the District of New Jersey   3:21-cv-08904         ARNOLD & ITKIN LLP
FISHER, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-07831         ARNOLD & ITKIN LLP
FISHER, ROSALINDA            NJ - USDC for the District of New Jersey   3:21-cv-12758         ARNOLD & ITKIN LLP
FITZWATER, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-01454         ARNOLD & ITKIN LLP
FLANNAGAN, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-03311         ARNOLD & ITKIN LLP
FLETCHER, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-00923         ARNOLD & ITKIN LLP
FLORES, ANNFRANCES           NJ - USDC for the District of New Jersey   3:21-cv-13518         ARNOLD & ITKIN LLP
FLORES, HAYDEE               NJ - USDC for the District of New Jersey   3:21-cv-00807         ARNOLD & ITKIN LLP
FLOREZ, ANITA                NJ - USDC for the District of New Jersey   3:21-cv-14493         ARNOLD & ITKIN LLP
FOGLE, SHERYL                NJ - USDC for the District of New Jersey   3:17-cv-13556         ARNOLD & ITKIN LLP
FOSTER, LISA                 NJ - USDC for the District of New Jersey   3:20-cv-19206         ARNOLD & ITKIN LLP
FOX, PAM                     NJ - USDC for the District of New Jersey   3:20-cv-20064         ARNOLD & ITKIN LLP
FRAZEE, ELIZABETH            NJ - USDC for the District of New Jersey   3:21-cv-10454         ARNOLD & ITKIN LLP
FRAZER, THERESA              NJ - USDC for the District of New Jersey   3:21-cv-05298         ARNOLD & ITKIN LLP
FRENCH, GLENDA               NJ - USDC for the District of New Jersey   3:20-cv-06636         ARNOLD & ITKIN LLP
FULKERSON, CHRISTINA         NJ - USDC for the District of New Jersey   3:20-cv-11865         ARNOLD & ITKIN LLP
FULLER, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-11643         ARNOLD & ITKIN LLP
FYLER, BEVERLY               NJ - USDC for the District of New Jersey   3:21-cv-14710         ARNOLD & ITKIN LLP
GADDY, DENICKA               NJ - USDC for the District of New Jersey   3:20-cv-12615         ARNOLD & ITKIN LLP
GAINES, LYNN                 NJ - USDC for the District of New Jersey   3:21-cv-12520         ARNOLD & ITKIN LLP




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          Claimant Name                     State Filed                       Docket Number                Plaintiff Counsel
GALLANT, ANNA               NJ - USDC for the District of New Jersey   3:21-cv-10209          ARNOLD & ITKIN LLP
GARCIA, ADELA               NJ - USDC for the District of New Jersey   3:20-cv-18286          ARNOLD & ITKIN LLP
GARCIA, TERESA              NJ - USDC for the District of New Jersey   3:20-cv-13544          ARNOLD & ITKIN LLP
GARDNER, SHEENA             NJ - USDC for the District of New Jersey   3:21-cv-01738          ARNOLD & ITKIN LLP
GARRETT, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-15047          ARNOLD & ITKIN LLP
GARRISON, CATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-12760          ARNOLD & ITKIN LLP
GERRARD, JEAN               NJ - USDC for the District of New Jersey   3:20-cv-19730          ARNOLD & ITKIN LLP
GHANOUM, FERYAL             NJ - USDC for the District of New Jersey   3:21-cv-03661          ARNOLD & ITKIN LLP
GIBSON, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-05972          ARNOLD & ITKIN LLP
GLADDEN, RHUDIEN            NJ - USDC for the District of New Jersey   3:20-cv-10070          ARNOLD & ITKIN LLP
GODFREY, CONSTANCE          NJ - USDC for the District of New Jersey   3:20-cv-20228          ARNOLD & ITKIN LLP
GOLDENBROOK, VALORIE        NJ - USDC for the District of New Jersey   3:21-cv-07429          ARNOLD & ITKIN LLP
GOLDMAN, SHANECA            NJ - USDC for the District of New Jersey   3:21-cv-16435          ARNOLD & ITKIN LLP
GOLIGHTLY, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-20231          ARNOLD & ITKIN LLP
GONZALEZ, ISABEL            NJ - USDC for the District of New Jersey   3:20-cv-06630          ARNOLD & ITKIN LLP
GOODEN, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-10878          ARNOLD & ITKIN LLP
GOODEN, VIVIAN              NJ - USDC for the District of New Jersey   3:20-cv-18306          ARNOLD & ITKIN LLP
GORDON, CANDACE             NJ - USDC for the District of New Jersey   3:20-cv-19227          ARNOLD & ITKIN LLP
GOWING, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-10881          ARNOLD & ITKIN LLP
GRAHAM, LATOYA              NJ - USDC for the District of New Jersey   3:20-cv-15101          ARNOLD & ITKIN LLP
GRAHAM, ROSA                NJ - USDC for the District of New Jersey   3:21-cv-12685          ARNOLD & ITKIN LLP
GRAHAM, SEPTEMBER           NJ - USDC for the District of New Jersey   3:20-cv-19525          ARNOLD & ITKIN LLP
GRAHAM-MATTHEWS, MARGARET   NJ - Superior Court - Atlantic County      ATL-L-004207-20        ARNOLD & ITKIN LLP
GRAVLEY, MARTHA             NJ - USDC for the District of New Jersey   3:19-cv-00729          ARNOLD & ITKIN LLP
GRAY, DINA                  NJ - USDC for the District of New Jersey   3:20-cv-20137          ARNOLD & ITKIN LLP
GRAY, PHYLISS               NJ - USDC for the District of New Jersey   3:21-cv-07449          ARNOLD & ITKIN LLP
GREEN, DIANE                NJ - USDC for the District of New Jersey   3:20-cv-09153          ARNOLD & ITKIN LLP
GREENE, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-09701          ARNOLD & ITKIN LLP
GRIFFIS, CATHY              NJ - USDC for the District of New Jersey   3:18-cv-14916          ARNOLD & ITKIN LLP
GRIMM, THERESA              NJ - USDC for the District of New Jersey   3:20-cv-16653          ARNOLD & ITKIN LLP
GROSCH, NAOMI               NJ - USDC for the District of New Jersey   3:21-cv-13258          ARNOLD & ITKIN LLP
GROSE, KAYLA                NJ - USDC for the District of New Jersey   3:21-cv-01915          ARNOLD & ITKIN LLP
GUERRA, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-19539          ARNOLD & ITKIN LLP
GUERRERO, HAZEL             NJ - USDC for the District of New Jersey   3:21-cv-11753          ARNOLD & ITKIN LLP
HADSELL, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-14570          ARNOLD & ITKIN LLP
HAEFELE, CINDY              NJ - USDC for the District of New Jersey   3:20-cv-11124          ARNOLD & ITKIN LLP
HAGGERTY, KIM               NJ - USDC for the District of New Jersey   3:21-cv-01144          ARNOLD & ITKIN LLP
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HALL, SADIE                 NJ - USDC for the District of New Jersey   3:18-cv-17222          ARNOLD & ITKIN LLP
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HANNAN, GRETCHEN            NJ - USDC for the District of New Jersey   3:20-cv-14799          ARNOLD & ITKIN LLP
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HARLOW, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-12181          ARNOLD & ITKIN LLP
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HARRINGTON-GREENE, SANDRA   NJ - USDC for the District of New Jersey   3:21-cv-02023          ARNOLD & ITKIN LLP
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HARRIS, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-06761          ARNOLD & ITKIN LLP
HARRIS, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-14339          ARNOLD & ITKIN LLP
HARRIS, VENESSIA            NJ - USDC for the District of New Jersey   3:21-cv-14005          ARNOLD & ITKIN LLP
HARRISON, VIVIAN            NJ - USDC for the District of New Jersey   3:20-cv-09699          ARNOLD & ITKIN LLP
HART, TAMMY                 NJ - USDC for the District of New Jersey   3:21-cv-13319          ARNOLD & ITKIN LLP
HARTIE, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-14469          ARNOLD & ITKIN LLP
HASTINGS, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-05725          ARNOLD & ITKIN LLP
HAWKINS, NATISHA            NJ - USDC for the District of New Jersey   3:20-cv-13125          ARNOLD & ITKIN LLP
HEMMER, ROSE                NJ - USDC for the District of New Jersey   3:21-cv-01360          ARNOLD & ITKIN LLP
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HENDRIX, KAY                NJ - USDC for the District of New Jersey   3:20-cv-00871          ARNOLD & ITKIN LLP
HENSLEY, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-03052          ARNOLD & ITKIN LLP
HEREDIA, DELIA              NJ - USDC for the District of New Jersey   3:21-cv-13324          ARNOLD & ITKIN LLP
HERNANDEZ, EUGENIA          NJ - USDC for the District of New Jersey   3:21-cv-00896          ARNOLD & ITKIN LLP
HESTER, DELORES             NJ - USDC for the District of New Jersey   3:21-cv-02660          ARNOLD & ITKIN LLP
HIATT, LILLIENNE            NJ - USDC for the District of New Jersey   3:20-cv-01283          ARNOLD & ITKIN LLP
HICKS, MAGDALENE            NJ - Superior Court - Atlantic County      ATL-L-002123-21        ARNOLD & ITKIN LLP
HILL, CASANDRA              NJ - USDC for the District of New Jersey   3:20-cv-11133          ARNOLD & ITKIN LLP
HILLS, TAQUITA              NJ - USDC for the District of New Jersey   3:20-cv-11130          ARNOLD & ITKIN LLP
HINDS, JASMINE              NJ - USDC for the District of New Jersey   3:20-cv-13712          ARNOLD & ITKIN LLP
HINES, AMANDA               NJ - USDC for the District of New Jersey   3:21-cv-13255          ARNOLD & ITKIN LLP
HINES, SHERRY               NJ - USDC for the District of New Jersey   3:20-cv-12545          ARNOLD & ITKIN LLP
HITCH, JACQUELINE           NJ - USDC for the District of New Jersey   3:20-cv-15558          ARNOLD & ITKIN LLP
HODGSON, MARIAN             NJ - USDC for the District of New Jersey   3:20-cv-08107          ARNOLD & ITKIN LLP
HOLLAND, KATHLEEN           NJ - USDC for the District of New Jersey   3:19-cv-21897          ARNOLD & ITKIN LLP
HOLLAND, TIFFANY            NJ - USDC for the District of New Jersey   3:20-cv-20076          ARNOLD & ITKIN LLP
HOLLISTER, JEAN             NJ - USDC for the District of New Jersey   3:21-cv-09934          ARNOLD & ITKIN LLP
HOLLOWAY, ROWENA            NJ - USDC for the District of New Jersey   3:20-cv-07163          ARNOLD & ITKIN LLP
HOLMES, DEEANNA             NJ - USDC for the District of New Jersey   3:21-cv-11754          ARNOLD & ITKIN LLP
HOLSHUE, CORNELIA           NJ - Superior Court - Atlantic County      ATL-L-003154-21        ARNOLD & ITKIN LLP




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          Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
HOLSINGER, HELEN          NJ - USDC for the District of New Jersey   3:21-cv-10406         ARNOLD & ITKIN LLP
HOLZBORN, MINNIE          NJ - USDC for the District of New Jersey   3:21-cv-16780         ARNOLD & ITKIN LLP
HOPPER, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-17131         ARNOLD & ITKIN LLP
HOPPER, SONYA             NJ - USDC for the District of New Jersey   3:20-cv-11125         ARNOLD & ITKIN LLP
HORTON, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-09374         ARNOLD & ITKIN LLP
HOWSE, NICOLE             NJ - USDC for the District of New Jersey   3:20-cv-19419         ARNOLD & ITKIN LLP
HUCKER, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-14249         ARNOLD & ITKIN LLP
HUETT, LESLIE JEAN        NJ - USDC for the District of New Jersey   3:21-cv-11209         ARNOLD & ITKIN LLP
HUFF, PAULA               NJ - USDC for the District of New Jersey   3:21-cv-13640         ARNOLD & ITKIN LLP
HUFFMAN, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-14247         ARNOLD & ITKIN LLP
HUGHES, ROSE              NJ - USDC for the District of New Jersey   3:21-cv-13256         ARNOLD & ITKIN LLP
HUNT, KATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-17127         ARNOLD & ITKIN LLP
HURSEY, ORALIA            NJ - USDC for the District of New Jersey   3:21-cv-03788         ARNOLD & ITKIN LLP
HUSAIN, UNZIALINA         NJ - USDC for the District of New Jersey   3:17-cv-02832         ARNOLD & ITKIN LLP
HUTCHINGS, KRISTI         NJ - USDC for the District of New Jersey   3:20-cv-14244         ARNOLD & ITKIN LLP
ICKES, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-14671         ARNOLD & ITKIN LLP
ISLER, ANNETTE            NJ - USDC for the District of New Jersey   3:20-cv-20067         ARNOLD & ITKIN LLP
JACKSON, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-03797         ARNOLD & ITKIN LLP
JACKSON, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-14800         ARNOLD & ITKIN LLP
JACKSON, SHALISSA         NJ - USDC for the District of New Jersey   3:20-cv-14608         ARNOLD & ITKIN LLP
JACKSON, THELMA           NJ - USDC for the District of New Jersey   3:20-cv-18544         ARNOLD & ITKIN LLP
JANECEK, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-06967         ARNOLD & ITKIN LLP
JANICKI, CAROLE           NJ - USDC for the District of New Jersey   3:21-cv-11815         ARNOLD & ITKIN LLP
JENKINS, RAMONA           NJ - USDC for the District of New Jersey   3:20-cv-14798         ARNOLD & ITKIN LLP
JOFFE, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-16665         ARNOLD & ITKIN LLP
JOHANSON, JENNIFER        NJ - USDC for the District of New Jersey   3:20-cv-19516         ARNOLD & ITKIN LLP
JOHNSON, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-10474         ARNOLD & ITKIN LLP
JOHNSON, HAZEL            NJ - USDC for the District of New Jersey   3:20-cv-15120         ARNOLD & ITKIN LLP
JOHNSON, NORMA            NJ - USDC for the District of New Jersey   3:21-cv-13323         ARNOLD & ITKIN LLP
JOHNSON, PHASARYA         NJ - USDC for the District of New Jersey   3:20-cv-19918         ARNOLD & ITKIN LLP
JOHNSON, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-06642         ARNOLD & ITKIN LLP
JOHNSON, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-12670         ARNOLD & ITKIN LLP
JOHNSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-08571         ARNOLD & ITKIN LLP
JOHNSON, SULANDRA         NJ - USDC for the District of New Jersey   3:20-cv-19924         ARNOLD & ITKIN LLP
JOHNSON, VALERIE          NJ - USDC for the District of New Jersey   3:21-cv-04753         ARNOLD & ITKIN LLP
JOHNSON, VERNITA          NJ - USDC for the District of New Jersey   3:20-cv-16650         ARNOLD & ITKIN LLP
JONAS, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-14247         ARNOLD & ITKIN LLP
JONES, ANGEL              NJ - USDC for the District of New Jersey   3:20-cv-20071         ARNOLD & ITKIN LLP
JONES, ASHLEY             NJ - USDC for the District of New Jersey   3:21-cv-12175         ARNOLD & ITKIN LLP
JONES, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-14369         ARNOLD & ITKIN LLP
JONES, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-08672         ARNOLD & ITKIN LLP
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JONES, REGINA             NJ - USDC for the District of New Jersey   3:20-cv-03325         ARNOLD & ITKIN LLP
JONES, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-20025         ARNOLD & ITKIN LLP
JONES, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-17132         ARNOLD & ITKIN LLP
JONES, VICKIE             NJ - USDC for the District of New Jersey   3:21-cv-01438         ARNOLD & ITKIN LLP
JORDAN, RACHEL            NJ - USDC for the District of New Jersey   3:21-cv-13514         ARNOLD & ITKIN LLP
JORDAN, SAMANTHA          NJ - USDC for the District of New Jersey   3:21-cv-12519         ARNOLD & ITKIN LLP
JOSE, ELIZABETH SAN       NJ - USDC for the District of New Jersey   3:20-cv-07161         ARNOLD & ITKIN LLP
JOSEPH, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-01916         ARNOLD & ITKIN LLP
KALLMAN, LISA             NJ - USDC for the District of New Jersey   3:20-cv-08666         ARNOLD & ITKIN LLP
KANE, SALLY               NJ - USDC for the District of New Jersey   3:20-cv-19731         ARNOLD & ITKIN LLP
KANWISCHER, DELORES       NJ - USDC for the District of New Jersey   3:20-cv-19739         ARNOLD & ITKIN LLP
KAPELA, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-13265         ARNOLD & ITKIN LLP
KARABATSOS, MARIANNA      NJ - USDC for the District of New Jersey   3:20-cv-09375         ARNOLD & ITKIN LLP
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KELLER, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-16986         ARNOLD & ITKIN LLP
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KELSO, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-15118         ARNOLD & ITKIN LLP
KEMP, MAXINE              NJ - USDC for the District of New Jersey   3:21-cv-16434         ARNOLD & ITKIN LLP
KEMP, ROSALYNDA           NJ - USDC for the District of New Jersey   3:21-cv-10214         ARNOLD & ITKIN LLP
KENNEDY, LOIS             NJ - USDC for the District of New Jersey   3:19-cv-16201         ARNOLD & ITKIN LLP
KEY, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-08905         ARNOLD & ITKIN LLP
KHAN, FAHIMA              NJ - USDC for the District of New Jersey   3:20-cv-10078         ARNOLD & ITKIN LLP
KIGHT, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-12179         ARNOLD & ITKIN LLP
KIMBALL, DEBBIE           NJ - USDC for the District of New Jersey   3:20-cv-16001         ARNOLD & ITKIN LLP
KING, LATONIA             IL - Circuit Court - Cook County           2021L000545           ARNOLD & ITKIN LLP
KING, SHELLY              NJ - USDC for the District of New Jersey   3:21-cv-12357         ARNOLD & ITKIN LLP
KNIGHT, ESTELLA           NJ - USDC for the District of New Jersey   3:21-cv-13115         ARNOLD & ITKIN LLP
KOHN, NADINE              NJ - Superior Court - Atlantic County      ATL-L-003870-20       ARNOLD & ITKIN LLP
KOPPELMANN, DONNA         NJ - USDC for the District of New Jersey   3:18-cv-16077         ARNOLD & ITKIN LLP
KRAFT, MARCY              NJ - USDC for the District of New Jersey   3:19-cv-18658         ARNOLD & ITKIN LLP
KRANITZ-FISH, ILENE       NJ - USDC for the District of New Jersey   3:21-cv-15042         ARNOLD & ITKIN LLP
KREEGER, MELISSA          NJ - USDC for the District of New Jersey   3:21-cv-14003         ARNOLD & ITKIN LLP
KREMAR, DOROTHY           NJ - USDC for the District of New Jersey   3:21-cv-13253         ARNOLD & ITKIN LLP
KROLL, CORRINE            NJ - USDC for the District of New Jersey   3:20-cv-20036         ARNOLD & ITKIN LLP
KUBBE, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-19909         ARNOLD & ITKIN LLP
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          Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
LARUSSO, MADONNA          NJ - USDC for the District of New Jersey   3:20-cv-11121         ARNOLD & ITKIN LLP
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LAWDIS, FRANCES           NJ - USDC for the District of New Jersey   3:21-cv-14313         ARNOLD & ITKIN LLP
LAWRENCE, SAMANTHA        NJ - USDC for the District of New Jersey   3:20-cv-00153         ARNOLD & ITKIN LLP
LAZAR, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-16781         ARNOLD & ITKIN LLP
LECATES, VICKI            NJ - USDC for the District of New Jersey   3:20-cv-11859         ARNOLD & ITKIN LLP
LEDAY, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-14654         ARNOLD & ITKIN LLP
LEE, TAMERA               NJ - USDC for the District of New Jersey   3:18-cv-11263         ARNOLD & ITKIN LLP
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LEWIS, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-16427         ARNOLD & ITKIN LLP
LEWIS, ROBERTA            NJ - USDC for the District of New Jersey   3:20-cv-11858         ARNOLD & ITKIN LLP
LEWIS, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-06637         ARNOLD & ITKIN LLP
LIGGETT, EVELYN           NJ - USDC for the District of New Jersey   3:21-cv-11347         ARNOLD & ITKIN LLP
LIGGINS, TIANA            NJ - USDC for the District of New Jersey   3:21-cv-09784         ARNOLD & ITKIN LLP
LIMING, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-15514         ARNOLD & ITKIN LLP
LINK, BEVERLEY            NJ - USDC for the District of New Jersey   3:20-cv-18803         ARNOLD & ITKIN LLP
LOLLAR, LAURAMAE          NJ - USDC for the District of New Jersey   3:19-cv-18088         ARNOLD & ITKIN LLP
LOMO, NAKESHIA            NJ - USDC for the District of New Jersey   3:20-cv-20092         ARNOLD & ITKIN LLP
LONGLEY, LYNDA            NJ - USDC for the District of New Jersey   3:21-cv-10401         ARNOLD & ITKIN LLP
LOPEZ, JOSEFINA           NJ - USDC for the District of New Jersey   3:20-cv-19543         ARNOLD & ITKIN LLP
LOWDER, BEVERLEY          NJ - USDC for the District of New Jersey   3:20-cv-20139         ARNOLD & ITKIN LLP
LOWE, ADRIENNE            NJ - USDC for the District of New Jersey   3:21-cv-12469         ARNOLD & ITKIN LLP
LOWERY, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-10074         ARNOLD & ITKIN LLP
LOZADO, PAULA             NJ - USDC for the District of New Jersey   3:20-cv-20740         ARNOLD & ITKIN LLP
LUAVASA, DIANNE           NJ - USDC for the District of New Jersey   3:21-cv-13266         ARNOLD & ITKIN LLP
LUCERO, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-19211         ARNOLD & ITKIN LLP
LUDEMAN, MARCIA           NJ - USDC for the District of New Jersey   3:20-cv-09157         ARNOLD & ITKIN LLP
LUKER, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-12412         ARNOLD & ITKIN LLP
LUTHER, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-16984         ARNOLD & ITKIN LLP
LYDAY, ERIKA              NJ - USDC for the District of New Jersey   3:20-cv-11128         ARNOLD & ITKIN LLP
LYNCH, WHITNEY            NJ - USDC for the District of New Jersey   3:21-cv-12044         ARNOLD & ITKIN LLP
LYONS, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-01284         ARNOLD & ITKIN LLP
LYTCH, TANISHA            NJ - USDC for the District of New Jersey   3:20-cv-19716         ARNOLD & ITKIN LLP
MABRY, NAKEYAH            NJ - USDC for the District of New Jersey   3:21-cv-11801         ARNOLD & ITKIN LLP
MACIAS, FRANKIE           NJ - USDC for the District of New Jersey   3:20-cv-13723         ARNOLD & ITKIN LLP
MACK, ARMENTHA            NJ - USDC for the District of New Jersey   3:21-cv-04754         ARNOLD & ITKIN LLP
MACK, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-03795         ARNOLD & ITKIN LLP
MADSEN, SHARRON           NJ - USDC for the District of New Jersey   3:21-cv-12521         ARNOLD & ITKIN LLP
MAHARAJ, GENA             NJ - USDC for the District of New Jersey   3:21-cv-14723         ARNOLD & ITKIN LLP
MANCINI, ANNA             NJ - USDC for the District of New Jersey   3:21-cv-09782         ARNOLD & ITKIN LLP
MANDEL, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14254         ARNOLD & ITKIN LLP
MARIN, GRACIELA           IL - Circuit Court - Cook County           2021L000544           ARNOLD & ITKIN LLP
MARKUS, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-13268         ARNOLD & ITKIN LLP
MARLOW, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-10709         ARNOLD & ITKIN LLP
MARTIN, YVONNE            NJ - USDC for the District of New Jersey   3:20-cv-16538         ARNOLD & ITKIN LLP
MARTINEZ, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-13708         ARNOLD & ITKIN LLP
MARTINEZ, KRISTI          NJ - USDC for the District of New Jersey   3:20-cv-17529         ARNOLD & ITKIN LLP
MARTINTONI, MARIAN        NJ - USDC for the District of New Jersey   3:21-cv-12178         ARNOLD & ITKIN LLP
MASSEY, MARCY             NJ - USDC for the District of New Jersey   3:21-cv-16475         ARNOLD & ITKIN LLP
MATHEWS, DAWNA            NJ - USDC for the District of New Jersey   3:21-cv-16438         ARNOLD & ITKIN LLP
MAUER, CHRISTY            NJ - USDC for the District of New Jersey   3:20-cv-10076         ARNOLD & ITKIN LLP
MAYBERRY, SHERRY          NJ - USDC for the District of New Jersey   3:21-cv-12356         ARNOLD & ITKIN LLP
MAYO, CALAMITY            NJ - USDC for the District of New Jersey   3:21-cv-13264         ARNOLD & ITKIN LLP
MCCARLEY, KELLY           NJ - USDC for the District of New Jersey   3:20-cv-05528         ARNOLD & ITKIN LLP
MCCARTER, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-19520         ARNOLD & ITKIN LLP
MCCARTHY, WENDY           NJ - USDC for the District of New Jersey   3:20-cv-11853         ARNOLD & ITKIN LLP
MCCLUSKY, DOROTHY         NJ - USDC for the District of New Jersey   3:21-cv-03186         ARNOLD & ITKIN LLP
MCCUIN, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-05553         ARNOLD & ITKIN LLP
MCCULTY, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-14349         ARNOLD & ITKIN LLP
MCDANIELS, AMIKA          NJ - USDC for the District of New Jersey   3:21-cv-14272         ARNOLD & ITKIN LLP
MCDOUGALL, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-02527         ARNOLD & ITKIN LLP
MCDOWELL, NASHIRA         NJ - USDC for the District of New Jersey   3:20-cv-20048         ARNOLD & ITKIN LLP
MCGASKEY, KYNA            NJ - USDC for the District of New Jersey   3:21-cv-14275         ARNOLD & ITKIN LLP
MCGUIRE, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-11755         ARNOLD & ITKIN LLP
MCKELPHIN, JUDITH         NJ - USDC for the District of New Jersey   3:20-cv-14797         ARNOLD & ITKIN LLP
MCKELPHIN, PAULETTE       NJ - USDC for the District of New Jersey   3:20-cv-15100         ARNOLD & ITKIN LLP
MCKEW, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-10477         ARNOLD & ITKIN LLP
MCKNIGHT, VERNELIA        NJ - USDC for the District of New Jersey   3:20-cv-20014         ARNOLD & ITKIN LLP
MCLEAN, RUTH              NJ - USDC for the District of New Jersey   3:20-cv-19272         ARNOLD & ITKIN LLP
MCMONTGOMERY, LOIS        NJ - USDC for the District of New Jersey   3:20-cv-16293         ARNOLD & ITKIN LLP
MCQUEEN, DAPHNE           NJ - USDC for the District of New Jersey   3:21-cv-02511         ARNOLD & ITKIN LLP
MCSWAIN, LORI             NJ - USDC for the District of New Jersey   3:20-cv-19714         ARNOLD & ITKIN LLP
MEADE, ARLENE             NJ - USDC for the District of New Jersey   3:21-cv-15735         ARNOLD & ITKIN LLP
MEIKLE, AMBER             NJ - USDC for the District of New Jersey   3:21-cv-07422         ARNOLD & ITKIN LLP
MEIXNER, ELLEN            NJ - Superior Court - Atlantic County      ATL-L-000303-21       ARNOLD & ITKIN LLP
MENDEZ, MORENA            NJ - USDC for the District of New Jersey   3:21-cv-09167         ARNOLD & ITKIN LLP




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           Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
MENDOZA, AMIE               NJ - USDC for the District of New Jersey   3:21-cv-03655         ARNOLD & ITKIN LLP
MEZA, MARIA                 NJ - USDC for the District of New Jersey   3:21-cv-07457         ARNOLD & ITKIN LLP
MILES, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-03044         ARNOLD & ITKIN LLP
MILLER, CLARA               NJ - USDC for the District of New Jersey   3:20-cv-11126         ARNOLD & ITKIN LLP
MILLER, RACHEAL             NJ - USDC for the District of New Jersey   3:20-cv-19281         ARNOLD & ITKIN LLP
MILLER, SALLY               NJ - USDC for the District of New Jersey   3:21-cv-07462         ARNOLD & ITKIN LLP
MILLER, TRACY               NJ - USDC for the District of New Jersey   3:20-cv-15105         ARNOLD & ITKIN LLP
MILLS, EFFIE                NJ - USDC for the District of New Jersey   3:21-cv-14164         ARNOLD & ITKIN LLP
MIRANDA, VERONICA           NJ - USDC for the District of New Jersey   3:21-cv-10466         ARNOLD & ITKIN LLP
MIRELES, JOSEFINA           NJ - USDC for the District of New Jersey   3:21-cv-12091         ARNOLD & ITKIN LLP
MISHOE, LAFAYE              NJ - USDC for the District of New Jersey   3:20-cv-00851         ARNOLD & ITKIN LLP
MISIR, JULIE                NJ - USDC for the District of New Jersey   3:21-cv-12411         ARNOLD & ITKIN LLP
MODENESSI, DORA             NJ - USDC for the District of New Jersey   3:21-cv-11819         ARNOLD & ITKIN LLP
MONJE, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-01049         ARNOLD & ITKIN LLP
MONTGOMERY, MELANIE         NJ - USDC for the District of New Jersey   3:20-cv-13128         ARNOLD & ITKIN LLP
MOODY, CARLENE              NJ - USDC for the District of New Jersey   3:21-cv-10476         ARNOLD & ITKIN LLP
MOORE, SUE                  NJ - USDC for the District of New Jersey   3:20-cv-19490         ARNOLD & ITKIN LLP
MORGAN, JO                  NJ - USDC for the District of New Jersey   3:20-cv-19717         ARNOLD & ITKIN LLP
MORGAN, MARILYN             NJ - USDC for the District of New Jersey   3:21-cv-10407         ARNOLD & ITKIN LLP
MORICI, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-12518         ARNOLD & ITKIN LLP
MORRIS, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-15825         ARNOLD & ITKIN LLP
MORRIS, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-11746         ARNOLD & ITKIN LLP
MORRISON, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-01408         ARNOLD & ITKIN LLP
MORSE, JAVONNA              NJ - USDC for the District of New Jersey   3:21-cv-16428         ARNOLD & ITKIN LLP
MOSES, TIELA                NJ - USDC for the District of New Jersey   3:21-cv-06396         ARNOLD & ITKIN LLP
MOSLEY, KATIE               NJ - USDC for the District of New Jersey   3:20-cv-10877         ARNOLD & ITKIN LLP
MOSS, DELPHINE              NJ - USDC for the District of New Jersey   3:21-cv-10809         ARNOLD & ITKIN LLP
MUCHA, ERICA                NJ - USDC for the District of New Jersey   3:20-cv-19305         ARNOLD & ITKIN LLP
MULLEN, JOY                 NJ - USDC for the District of New Jersey   3:21-cv-06968         ARNOLD & ITKIN LLP
MURRAY, MARY                NJ - USDC for the District of New Jersey   3:21-cv-07445         ARNOLD & ITKIN LLP
MUTSCHLER, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-19213         ARNOLD & ITKIN LLP
MYERS, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-17841         ARNOLD & ITKIN LLP
MYERS, JARMA                NJ - USDC for the District of New Jersey   3:21-cv-15305         ARNOLD & ITKIN LLP
NAGY, KIMBERLY              NJ - USDC for the District of New Jersey   3:20-cv-19729         ARNOLD & ITKIN LLP
NALLEY, LAURIE              NJ - USDC for the District of New Jersey   3:20-cv-19919         ARNOLD & ITKIN LLP
NEGRETE, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-20060         ARNOLD & ITKIN LLP
NELSON, DIANE               NJ - USDC for the District of New Jersey   3:20-cv-06300         ARNOLD & ITKIN LLP
NELSON, MELINDA             NJ - USDC for the District of New Jersey   3:21-cv-12041         ARNOLD & ITKIN LLP
NESSETH, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-02915         ARNOLD & ITKIN LLP
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NICHOLAS, DELOIS            NJ - USDC for the District of New Jersey   3:20-cv-20141         ARNOLD & ITKIN LLP
NIEBERGER, RAE              NJ - USDC for the District of New Jersey   3:20-cv-19435         ARNOLD & ITKIN LLP
NIEDERBERGER, CRYSTAL       NJ - USDC for the District of New Jersey   3:21-cv-06966         ARNOLD & ITKIN LLP
NIXON, GWEN                 NJ - USDC for the District of New Jersey   3:21-cv-11821         ARNOLD & ITKIN LLP
NOAH, BETTY                 NJ - USDC for the District of New Jersey   3:20-cv-20029         ARNOLD & ITKIN LLP
NORWOOD, DELORIS            NJ - USDC for the District of New Jersey   3:21-cv-01143         ARNOLD & ITKIN LLP
OAKES, MARGARET             NJ - USDC for the District of New Jersey   3:20-cv-10069         ARNOLD & ITKIN LLP
OCADIZ, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-13703         ARNOLD & ITKIN LLP
ODOM, FRANCES               NJ - USDC for the District of New Jersey   3:21-cv-01061         ARNOLD & ITKIN LLP
OGLE, TYWANA                NJ - USDC for the District of New Jersey   3:20-cv-19911         ARNOLD & ITKIN LLP
OJO, REBECCA                NJ - USDC for the District of New Jersey   3:20-cv-19726         ARNOLD & ITKIN LLP
OLIVER, KELLY               NJ - USDC for the District of New Jersey   3:20-cv-06635         ARNOLD & ITKIN LLP
OLIVER, LAROYAL             NJ - USDC for the District of New Jersey   3:21-cv-11752         ARNOLD & ITKIN LLP
ONDA, WENDY                 NJ - USDC for the District of New Jersey   3:21-cv-16432         ARNOLD & ITKIN LLP
ONIFADE, DEATRUS            NJ - USDC for the District of New Jersey   3:20-cv-08109         ARNOLD & ITKIN LLP
OOTEN, JERI                 NJ - USDC for the District of New Jersey   3:20-cv-00579         ARNOLD & ITKIN LLP
ORTON, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-15631         ARNOLD & ITKIN LLP
OSBORNE, IDA                NJ - USDC for the District of New Jersey   3:20-cv-06030         ARNOLD & ITKIN LLP
OSHEA, JUDY                 NJ - USDC for the District of New Jersey   3:20-cv-19720         ARNOLD & ITKIN LLP
OWENS, CARRIE               NJ - USDC for the District of New Jersey   3:20-cv-12614         ARNOLD & ITKIN LLP
PACE, HOLLIS                NJ - USDC for the District of New Jersey   3:20-cv-05920         ARNOLD & ITKIN LLP
PAGE, CHERISH               NJ - USDC for the District of New Jersey   3:20-cv-08112         ARNOLD & ITKIN LLP
PAIGE, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-01902         ARNOLD & ITKIN LLP
PAIT, LISA                  NJ - USDC for the District of New Jersey   3:20-cv-15127         ARNOLD & ITKIN LLP
PALADINO, JO ANN            NJ - USDC for the District of New Jersey   3:21-cv-16437         ARNOLD & ITKIN LLP
PALEPALE, LEUTU             NJ - USDC for the District of New Jersey   3:20-cv-20087         ARNOLD & ITKIN LLP
PAONE, KATHLEEN             NJ - USDC for the District of New Jersey   3:21-cv-10212         ARNOLD & ITKIN LLP
PARKER, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-19464         ARNOLD & ITKIN LLP
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PAULSON-APICELLA, BARBARA   NJ - USDC for the District of New Jersey   3:20-cv-18303         ARNOLD & ITKIN LLP
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PEARL, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-11132         ARNOLD & ITKIN LLP
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PEREZ, MELINDA              NJ - USDC for the District of New Jersey   3:20-cv-09712         ARNOLD & ITKIN LLP
PERKINS, PATRICE            NJ - USDC for the District of New Jersey   3:19-cv-18085         ARNOLD & ITKIN LLP
PERKINS, PEARLIE            NJ - USDC for the District of New Jersey   3:20-cv-18287         ARNOLD & ITKIN LLP




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          Claimant Name                       State Filed                     Docket Number                Plaintiff Counsel
PERRERO, CHERYL              NJ - USDC for the District of New Jersey   3:20-cv-18225         ARNOLD & ITKIN LLP
PERRY, LUCRETIA              NJ - USDC for the District of New Jersey   3:21-cv-16433         ARNOLD & ITKIN LLP
PETTY, CAROL                 NJ - USDC for the District of New Jersey   3:21-cv-11745         ARNOLD & ITKIN LLP
PHELPS, RONDA                NJ - USDC for the District of New Jersey   3:20-cv-15110         ARNOLD & ITKIN LLP
PICKLE, KELLY                NJ - USDC for the District of New Jersey   3;21-cv-12872         ARNOLD & ITKIN LLP
PINTO, LORI                  NJ - Superior Court - Atlantic County      ATL-L-003643-20       ARNOLD & ITKIN LLP
PISANO, CARISSA              NJ - USDC for the District of New Jersey   3:21-cv-07456         ARNOLD & ITKIN LLP
PITTS, JOYCE                 NJ - USDC for the District of New Jersey   3:20-cv-15106         ARNOLD & ITKIN LLP
PITTS, MARY                  NJ - USDC for the District of New Jersey   3:21-cv-12042         ARNOLD & ITKIN LLP
PITTS, TALICIA               NJ - USDC for the District of New Jersey   3:20-cv-19719         ARNOLD & ITKIN LLP
PLATT, AMBER                 NJ - USDC for the District of New Jersey   3:21-cv-16654         ARNOLD & ITKIN LLP
POCKLINGTON, SALLY           NJ - USDC for the District of New Jersey   3:20-cv-15314         ARNOLD & ITKIN LLP
POLANCO, ROSIE               NJ - USDC for the District of New Jersey   3:21-cv-02670         ARNOLD & ITKIN LLP
PORRES, NIVIA                FL - Circuit Court - Miami Dade County     2021-001592-CA-01     ARNOLD & ITKIN LLP
POULAIN, BRENDA              NJ - USDC for the District of New Jersey   3:20-cv-20069         ARNOLD & ITKIN LLP
POWELL, BRENDA               NJ - USDC for the District of New Jersey   3:20-cv-10073         ARNOLD & ITKIN LLP
PRIBYL, HEIDI                NJ - USDC for the District of New Jersey   3:21-cv-12471         ARNOLD & ITKIN LLP
PRINCE, CRYSTAL              NJ - USDC for the District of New Jersey   3:21-cv-03664         ARNOLD & ITKIN LLP
PRINCE, NOEL                 NJ - USDC for the District of New Jersey   3:21-cv-12604         ARNOLD & ITKIN LLP
PRUETT, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-03789         ARNOLD & ITKIN LLP
PRUITT, ANGELA               NJ - USDC for the District of New Jersey   3:20-cv-05527         ARNOLD & ITKIN LLP
PULIDO, MARIA                NJ - USDC for the District of New Jersey   3:20-cv-05548         ARNOLD & ITKIN LLP
PULLUAIM, ROSIE              NJ - USDC for the District of New Jersey   3:20-cv-05530         ARNOLD & ITKIN LLP
PURDY, SANDI                 NJ - USDC for the District of New Jersey   3:21-cv-13111         ARNOLD & ITKIN LLP
QUAILES, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-20058         ARNOLD & ITKIN LLP
QUINTANA, ESTELLA            NJ - USDC for the District of New Jersey   3:20-cv-13126         ARNOLD & ITKIN LLP
QUINTANA, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-18284         ARNOLD & ITKIN LLP
QUINTANILLA, ANGELICA        NJ - USDC for the District of New Jersey   3:20-cv-19908         ARNOLD & ITKIN LLP
RANGEL, LETICIA              NJ - USDC for the District of New Jersey   3:20-cv-02172         ARNOLD & ITKIN LLP
REDDING, LUANA               NJ - USDC for the District of New Jersey   3:21-cv-10138         ARNOLD & ITKIN LLP
REED, JOANNE                 NJ - USDC for the District of New Jersey   3:20-cv-17128         ARNOLD & ITKIN LLP
REED-HINES, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-17842         ARNOLD & ITKIN LLP
REEVES, CHERYL               NJ - USDC for the District of New Jersey   3:21-cv-10208         ARNOLD & ITKIN LLP
REGUERO, YVONNE              NJ - Superior Court - Atlantic County      ATL-L-002939-20       ARNOLD & ITKIN LLP
REICHENBACH-NICHOLS, NORMA   NJ - USDC for the District of New Jersey   3:20-cv-01420         ARNOLD & ITKIN LLP
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RIEBSCHLAGER, JOYCE          NJ - USDC for the District of New Jersey   3:20-cv-20079         ARNOLD & ITKIN LLP
RIESER, PATTY                NJ - USDC for the District of New Jersey   3:21-cv-15993         ARNOLD & ITKIN LLP
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RIOS, CECILIA                NJ - USDC for the District of New Jersey   3:21-cv-11826         ARNOLD & ITKIN LLP
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ROBERTS, TRACY               NJ - USDC for the District of New Jersey   3:21-cv-10457         ARNOLD & ITKIN LLP
ROBISON, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-15657         ARNOLD & ITKIN LLP
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RODRIGUEZ, DORA              NJ - USDC for the District of New Jersey   3:20-cv-19915         ARNOLD & ITKIN LLP
RODRIGUEZ, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-11868         ARNOLD & ITKIN LLP
ROEBUCK, YVONNE              NJ - USDC for the District of New Jersey   3:20-cv-19921         ARNOLD & ITKIN LLP
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ROGERS, MARGIE               NJ - USDC for the District of New Jersey   3:20-cv-08281         ARNOLD & ITKIN LLP
ROGERS, NICOLE               NJ - USDC for the District of New Jersey   3:20-cv-19910         ARNOLD & ITKIN LLP
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ROONEY, DARLENE              NJ - USDC for the District of New Jersey   3:20-cv-15743         ARNOLD & ITKIN LLP
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RUSSELL, ARIEL               NJ - USDC for the District of New Jersey   3:21-cv-10404         ARNOLD & ITKIN LLP
RUSSELL, MARY                NJ - USDC for the District of New Jersey   3:21-cv-01358         ARNOLD & ITKIN LLP
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SALCIDO, HELEN               NJ - USDC for the District of New Jersey   3:19-cv-18099         ARNOLD & ITKIN LLP
SALINAS, JUANA               NJ - USDC for the District of New Jersey   3:21-cv-01430         ARNOLD & ITKIN LLP
SALLFELDER, WYNELLE          NJ - Superior Court - Atlantic County      ATL-L-003912-20       ARNOLD & ITKIN LLP
SAMPLE, GENA                 NJ - USDC for the District of New Jersey   3:19-cv-00723         ARNOLD & ITKIN LLP
SAMPSON, JO ANN              NJ - USDC for the District of New Jersey   3:21-cv-13648         ARNOLD & ITKIN LLP
SANCHEZ, ANGELA              NJ - USDC for the District of New Jersey   3:20-cv-19722         ARNOLD & ITKIN LLP
SANCHEZ, CINDY               NJ - USDC for the District of New Jersey   3:21-cv-10880         ARNOLD & ITKIN LLP
SANCHEZ, NATALIE             NJ - USDC for the District of New Jersey   3:20-cv-12613         ARNOLD & ITKIN LLP
SANCHEZ, NORA                NJ - USDC for the District of New Jersey   3:21-cv-15654         ARNOLD & ITKIN LLP
SANCHEZ, ROSELINDA           NJ - USDC for the District of New Jersey   3:21-cv-14342         ARNOLD & ITKIN LLP
SANCHEZ, VERONICA            NJ - USDC for the District of New Jersey   3:20-cv-10079         ARNOLD & ITKIN LLP
SANDAGE, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-03793         ARNOLD & ITKIN LLP
SANSHUCK, SHIREEN            NJ - USDC for the District of New Jersey   3:21-cv-10400         ARNOLD & ITKIN LLP
SANVILLE, NANCEE             NJ - USDC for the District of New Jersey   3:21-cv-10206         ARNOLD & ITKIN LLP
SARIAN, FLORA                NJ - USDC for the District of New Jersey   3:21-cv-10459         ARNOLD & ITKIN LLP
SASSER, TERRIE               NJ - USDC for the District of New Jersey   3:20-cv-18224         ARNOLD & ITKIN LLP
SAUER, SHEILA                NJ - USDC for the District of New Jersey   3:20-cv-11871         ARNOLD & ITKIN LLP
SAVOY, MARGARET              NJ - USDC for the District of New Jersey   3:20-cv-09709         ARNOLD & ITKIN LLP




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
SCARPINO, LORI            NJ - USDC for the District of New Jersey   3:21-cv-14713         ARNOLD & ITKIN LLP
SCHERER, TAMARA           NJ - USDC for the District of New Jersey   3:21-cv-15245         ARNOLD & ITKIN LLP
SCHIRLLS, DENISE          NJ - USDC for the District of New Jersey   3:20-cv-20034         ARNOLD & ITKIN LLP
SCOTT, HURNEITHA          NJ - USDC for the District of New Jersey   3:21-cv-10141         ARNOLD & ITKIN LLP
SCOTT, PAULINE            NJ - USDC for the District of New Jersey   3:20-cv-08129         ARNOLD & ITKIN LLP
SEALS, INEZ               NJ - USDC for the District of New Jersey   3:20-cv-01421         ARNOLD & ITKIN LLP
SECK, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-13254         ARNOLD & ITKIN LLP
SEIDEL, SARI              NJ - USDC for the District of New Jersey   3:20-cv-09372         ARNOLD & ITKIN LLP
SELIG, FAYE               NJ - USDC for the District of New Jersey   3:21-cv-14716         ARNOLD & ITKIN LLP
SELLERS, ANN              NJ - USDC for the District of New Jersey   3:20-cv-00155         ARNOLD & ITKIN LLP
SERDA, SANDAY             NJ - USDC for the District of New Jersey   3;21-CV-15896         ARNOLD & ITKIN LLP
SHANK, ERIN               NJ - USDC for the District of New Jersey   3:21-cv-10139         ARNOLD & ITKIN LLP
SHAVERS, TRESARAIE        NJ - USDC for the District of New Jersey   3:21-cv-11807         ARNOLD & ITKIN LLP
SHAW, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-10143         ARNOLD & ITKIN LLP
SHELTON, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-16645         ARNOLD & ITKIN LLP
SHELTON, SHIRLEY          NJ - Superior Court - Atlantic County      ATL-L-003165-21       ARNOLD & ITKIN LLP
SHEMONIS, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-20082         ARNOLD & ITKIN LLP
SHIBLES, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-14251         ARNOLD & ITKIN LLP
SHIFFLETT, DARLENE        NJ - USDC for the District of New Jersey   3:20-cv-17123         ARNOLD & ITKIN LLP
SHOGREN, BETH             CA - Superior Court - Fresno County        20CECG03647           ARNOLD & ITKIN LLP
SHURY, YVONNE             NJ - USDC for the District of New Jersey   3:21-cv-00903         ARNOLD & ITKIN LLP
SIDHU, DANA               NJ - USDC for the District of New Jersey   3:20-cv-03577         ARNOLD & ITKIN LLP
SIEGMUND, BRANDY          NJ - USDC for the District of New Jersey   3:20-cv-15119         ARNOLD & ITKIN LLP
SILVERS, LONNA            NJ - USDC for the District of New Jersey   3:18-cv-12140         ARNOLD & ITKIN LLP
SKUPIEN, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-14918         ARNOLD & ITKIN LLP
SLEDGE, LILLIE            NJ - USDC for the District of New Jersey   3:20-cv-19732         ARNOLD & ITKIN LLP
SMALL, ARLENE             NJ - USDC for the District of New Jersey   3:21-cv-10470         ARNOLD & ITKIN LLP
SMALLWOOD, IMA            NJ - USDC for the District of New Jersey   3:20-cv-12683         ARNOLD & ITKIN LLP
SMITH, ALISA              NJ - USDC for the District of New Jersey   3:21-cv-16663         ARNOLD & ITKIN LLP
SMITH, BRENDA             NJ - USDC for the District of New Jersey   3:17-cv-13562         ARNOLD & ITKIN LLP
SMITH, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-15413         ARNOLD & ITKIN LLP
SOMMER, JASMINE           NJ - USDC for the District of New Jersey   3:20-cv-15122         ARNOLD & ITKIN LLP
SONNIER, MAVIS            NJ - USDC for the District of New Jersey   3:20-cv-15117         ARNOLD & ITKIN LLP
SORICH-BENDER, NANETTE    NJ - USDC for the District of New Jersey   3:20-cv-06643         ARNOLD & ITKIN LLP
SPAULDING, SANDRA         NJ - USDC for the District of New Jersey   3:20-cv-14470         ARNOLD & ITKIN LLP
SPELL, JOHNIE             NJ - USDC for the District of New Jersey   3:21-cv-13465         ARNOLD & ITKIN LLP
SPENCER, ANNETTE          NJ - USDC for the District of New Jersey   3:20-cv-02150         ARNOLD & ITKIN LLP
STANDIFER, DOROTHY        NJ - USDC for the District of New Jersey   3:20-cv-12495         ARNOLD & ITKIN LLP
STARK, ELISHA             NJ - USDC for the District of New Jersey   3:20-cv-20144         ARNOLD & ITKIN LLP
STEARNS, VICTORIA         NJ - USDC for the District of New Jersey   3:21-cv-01742         ARNOLD & ITKIN LLP
STEENBLOCK, BESSIE        NJ - USDC for the District of New Jersey   3:21-cv-10711         ARNOLD & ITKIN LLP
STEHL, TONI               NJ - USDC for the District of New Jersey   3:20-cv-19224         ARNOLD & ITKIN LLP
STEPANETS, OLGA           NJ - USDC for the District of New Jersey   3:20-cv-12496         ARNOLD & ITKIN LLP
STETTNER, SUZI            NJ - USDC for the District of New Jersey   3:20-cv-06631         ARNOLD & ITKIN LLP
STEWART, ALYCEFAYE        NJ - USDC for the District of New Jersey   3:21-cv-01737         ARNOLD & ITKIN LLP
STEWART, VALERIE          NJ - USDC for the District of New Jersey   3:20-cv-17126         ARNOLD & ITKIN LLP
STODDARD, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-06043         ARNOLD & ITKIN LLP
STOFER, DARLENE           NJ - USDC for the District of New Jersey   3:20-cv-00875         ARNOLD & ITKIN LLP
STOLTZFUS, TERRI          NJ - USDC for the District of New Jersey   3:20-cv-13738         ARNOLD & ITKIN LLP
STORLIE, POLLY            NJ - USDC for the District of New Jersey   3:21-cv-10469         ARNOLD & ITKIN LLP
STORY, DAWN               NJ - USDC for the District of New Jersey   3:21-cv-11824         ARNOLD & ITKIN LLP
STREETER, CLAUDETTE       NJ - USDC for the District of New Jersey   3:19-cv-18101         ARNOLD & ITKIN LLP
STRUNC, KITTRELL          NJ - USDC for the District of New Jersey   3:20-cv-18295         ARNOLD & ITKIN LLP
STURN, VIDA               NJ - USDC for the District of New Jersey   3:21-cv-16421         ARNOLD & ITKIN LLP
SUBER, EVELYN             NJ - USDC for the District of New Jersey   3:21-cv-01436         ARNOLD & ITKIN LLP
SUMMERS, JACQUELYNE       NJ - USDC for the District of New Jersey   3:21-cv-16436         ARNOLD & ITKIN LLP
SUMNER, VICKY             NJ - USDC for the District of New Jersey   3:20-cv-02617         ARNOLD & ITKIN LLP
SWEET, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-18311         ARNOLD & ITKIN LLP
SWENSON, CLAUDIA          NJ - USDC for the District of New Jersey   3:20-cv-06624         ARNOLD & ITKIN LLP
TABB, CHAMIKA             NJ - USDC for the District of New Jersey   3:20-cv-19733         ARNOLD & ITKIN LLP
TAMASKA, ZITA             NJ - USDC for the District of New Jersey   3:20-cv-19283         ARNOLD & ITKIN LLP
TANIS, BERNICE            NJ - USDC for the District of New Jersey   3:20-cv-20017         ARNOLD & ITKIN LLP
TANKE, ELEANOR            NJ - USDC for the District of New Jersey   3:21-cv-01435         ARNOLD & ITKIN LLP
TATE, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-14255         ARNOLD & ITKIN LLP
TATE, SHIRLEY             NJ - USDC for the District of New Jersey   3:21-cv-13267         ARNOLD & ITKIN LLP
TATUM, JEANETTE           NJ - USDC for the District of New Jersey   3:21-cv-11157         ARNOLD & ITKIN LLP
TAYLOR, AMBER             NJ - USDC for the District of New Jersey   3:21-cv-06228         ARNOLD & ITKIN LLP
TAYLOR, ANDREA            NJ - USDC for the District of New Jersey   3:21-cv-13973         ARNOLD & ITKIN LLP
TAYLOR, CANDY             NJ - USDC for the District of New Jersey   3:21-cv-16664         ARNOLD & ITKIN LLP
TAYLOR, LAUREN            NJ - USDC for the District of New Jersey   3:20-cv-20219         ARNOLD & ITKIN LLP
TAYLOR, NICCOLE           NJ - USDC for the District of New Jersey   3:20-cv-12666         ARNOLD & ITKIN LLP
TEMPLETON, NANCY          NJ - USDC for the District of New Jersey   3:21-cv-16431         ARNOLD & ITKIN LLP
THACKER, CASEY            NJ - USDC for the District of New Jersey   3:20-cv-18313         ARNOLD & ITKIN LLP
THOMAS, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-06628         ARNOLD & ITKIN LLP
THOMAS, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-13706         ARNOLD & ITKIN LLP
THOMAS, RUTHIE            NJ - USDC for the District of New Jersey   3:21-cv-00947         ARNOLD & ITKIN LLP
THOMAS, SHELLY            NJ - USDC for the District of New Jersey   3:21-cv-11332         ARNOLD & ITKIN LLP
THOMPSO, NATASHA          NJ - USDC for the District of New Jersey   3:21-cv-14350         ARNOLD & ITKIN LLP
THOMPSON, RUTH            NJ - USDC for the District of New Jersey   3:18-cv-03236         ARNOLD & ITKIN LLP
TILLMAN, PETRA            NJ - USDC for the District of New Jersey   3:21-cv-03045         ARNOLD & ITKIN LLP




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
TILLMAN, REGINA           NJ - USDC for the District of New Jersey   3:21-cv-16649         ARNOLD & ITKIN LLP
TIMMERMAN, JULIA          NJ - USDC for the District of New Jersey   3:21-cv-05624         ARNOLD & ITKIN LLP
TISINO, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-04618         ARNOLD & ITKIN LLP
TOLBERT, CAROLINE         NJ - USDC for the District of New Jersey   3:20-cv-19452         ARNOLD & ITKIN LLP
TOLLIVER, ELLA            NJ - USDC for the District of New Jersey   3:21-cv-05297         ARNOLD & ITKIN LLP
TOURE, KATHERINE          NJ - USDC for the District of New Jersey   3:21-cv-13975         ARNOLD & ITKIN LLP
TOWNSEND, DEBORA          NJ - USDC for the District of New Jersey   3:20-cv-07958         ARNOLD & ITKIN LLP
TREADWAY, FLORIA          NJ - USDC for the District of New Jersey   3:18-cv-00531         ARNOLD & ITKIN LLP
TRENT, WENDY              NJ - USDC for the District of New Jersey   3:20-cv-14466         ARNOLD & ITKIN LLP
TUCKER, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-13646         ARNOLD & ITKIN LLP
TUPPER, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-05838         ARNOLD & ITKIN LLP
ULIBARRI, VIOLA           NJ - USDC for the District of New Jersey   3:20-cv-19219         ARNOLD & ITKIN LLP
UNDERWOOD, LINDA          NJ - USDC for the District of New Jersey   3:20-cv-19205         ARNOLD & ITKIN LLP
VALDEZ, EMILY             NJ - USDC for the District of New Jersey   3:20-cv-20044         ARNOLD & ITKIN LLP
VAZQUEZ, JENIFFER         NJ - USDC for the District of New Jersey   3:21-cv-10405         ARNOLD & ITKIN LLP
VEAZY, RACHEL             NJ - USDC for the District of New Jersey   3:21-cv-09666         ARNOLD & ITKIN LLP
VILLARREAL, ZOWIE         NJ - USDC for the District of New Jersey   3:20-cv-06625         ARNOLD & ITKIN LLP
VINCIGUERRA, KATHLEEN     NJ - USDC for the District of New Jersey   3:20-cv-09713         ARNOLD & ITKIN LLP
WAGNER, SAVANNAH          NJ - USDC for the District of New Jersey   3:21-cv-16212         ARNOLD & ITKIN LLP
WALKER, VIVIAN            NJ - USDC for the District of New Jersey   3:20-cv-03379         ARNOLD & ITKIN LLP
WALL, LORRIE              NJ - USDC for the District of New Jersey   3:21-cv-04037         ARNOLD & ITKIN LLP
WALLACE, PANILLA          NJ - USDC for the District of New Jersey   3:20-cv-03894         ARNOLD & ITKIN LLP
WALLENBERG, ELEANOR       NJ - USDC for the District of New Jersey   3:18-cv-16172         ARNOLD & ITKIN LLP
WALTER, MYRA              NJ - USDC for the District of New Jersey   3:20-cv-08501         ARNOLD & ITKIN LLP
WALTON, ROSE              NJ - USDC for the District of New Jersey   3:21-cv-03047         ARNOLD & ITKIN LLP
WARD, TAHSA               NJ - USDC for the District of New Jersey   3:20-cv-20023         ARNOLD & ITKIN LLP
WARNER, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-10455         ARNOLD & ITKIN LLP
WARREN, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-07164         ARNOLD & ITKIN LLP
WASTON, OLIVIA            NJ - USDC for the District of New Jersey   3:20-cv-08554         ARNOLD & ITKIN LLP
WATTS, ANITA              NJ - USDC for the District of New Jersey   3:20-cv-19917         ARNOLD & ITKIN LLP
WEAVER, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-07437         ARNOLD & ITKIN LLP
WEAVER, MAUREEN           NJ - USDC for the District of New Jersey   3:20-cv-10340         ARNOLD & ITKIN LLP
WEGHORST, CRYSTAL         NJ - USDC for the District of New Jersey   3:21-cv-16209         ARNOLD & ITKIN LLP
WEIMER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-16429         ARNOLD & ITKIN LLP
WEINREICH, ROBERTA        NJ - USDC for the District of New Jersey   3:21-cv-05837         ARNOLD & ITKIN LLP
WEINSTEIN, EVE            NJ - USDC for the District of New Jersey   3:20-cv-12289         ARNOLD & ITKIN LLP
WELCHER, REGINA           NJ - USDC for the District of New Jersey   3:21-cv-13252         ARNOLD & ITKIN LLP
WESLEY-SWEENEY, SPRING    NJ - Superior Court - Atlantic County      ATL-L-000018-21       ARNOLD & ITKIN LLP
WESTMORELAND, SHARON      NJ - USDC for the District of New Jersey   3:20-cv-09086         ARNOLD & ITKIN LLP
WHITACRE, JANE            NJ - USDC for the District of New Jersey   3:20-cv-17844         ARNOLD & ITKIN LLP
WHITE, DORIS              NJ - USDC for the District of New Jersey   3:21-cv-02517         ARNOLD & ITKIN LLP
WHITE, JANET              NJ - USDC for the District of New Jersey   3:20-cv-09376         ARNOLD & ITKIN LLP
WHITE, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-15994         ARNOLD & ITKIN LLP
WHITE, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-14260         ARNOLD & ITKIN LLP
WHITLEY, CONSTANCE        NJ - USDC for the District of New Jersey   3:20-cv-13343         ARNOLD & ITKIN LLP
WILLIAMS, AUDRIANNA       NJ - USDC for the District of New Jersey   3:21-cv-09328         ARNOLD & ITKIN LLP
WILLIAMS, AUGUSTA         NJ - USDC for the District of New Jersey   3:20-cv-12207         ARNOLD & ITKIN LLP
WILLIAMS, BERTINA         NJ - USDC for the District of New Jersey   3:21-cv-12759         ARNOLD & ITKIN LLP
WILLIAMS, CAROL           NJ - USDC for the District of New Jersey   3:20-cv-16981         ARNOLD & ITKIN LLP
WILLIAMS, LATOYA          NJ - USDC for the District of New Jersey   3:20-cv-19727         ARNOLD & ITKIN LLP
WILLIAMS, MARGARET        NJ - USDC for the District of New Jersey   3:21-cv-01740         ARNOLD & ITKIN LLP
WILLIAMS, MARY            NJ - USDC for the District of New Jersey   3:20-cv-07166         ARNOLD & ITKIN LLP
WILLIAMS, MAUDE           NJ - USDC for the District of New Jersey   3:21-cv-13251         ARNOLD & ITKIN LLP
WILLIAMS, NACOLE          NJ - USDC for the District of New Jersey   3:21-cv-11823         ARNOLD & ITKIN LLP
WILLIAMS, TINA            NJ - USDC for the District of New Jersey   3:20-cv-19268         ARNOLD & ITKIN LLP
WILLIAMS, UCINDY          NJ - USDC for the District of New Jersey   3:21-cv-14276         ARNOLD & ITKIN LLP
WILLIAMSON, YVETTE        NJ - USDC for the District of New Jersey   3:21-cv-01741         ARNOLD & ITKIN LLP
WILSON, DEVRAN            NJ - USDC for the District of New Jersey   3:20-cv-09378         ARNOLD & ITKIN LLP
WILSON, JANET             NJ - USDC for the District of New Jersey   3:21-cv-12470         ARNOLD & ITKIN LLP
WILSON, JULIANNA          NJ - USDC for the District of New Jersey   3:21-cv-14438         ARNOLD & ITKIN LLP
WILSON, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-05973         ARNOLD & ITKIN LLP
WILSON, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-05035         ARNOLD & ITKIN LLP
WISE, CLARISSA            NJ - USDC for the District of New Jersey   3:20-cv-20065         ARNOLD & ITKIN LLP
                          PA - Philadelphia County Court of Common
WISE, LARENDA                                                        2012-000817           ARNOLD & ITKIN LLP
                          Pleas
WISE, MARILYN             NJ - USDC for the District of New Jersey   3:21-cv-10625         ARNOLD & ITKIN LLP
WITT, JANE                NJ - USDC for the District of New Jersey   3:21-cv-09999         ARNOLD & ITKIN LLP
WOFSE, JOY                NJ - USDC for the District of New Jersey   3:20-cv-12756         ARNOLD & ITKIN LLP
WOLD, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-10880         ARNOLD & ITKIN LLP
WOODS, CHEYAN             NJ - USDC for the District of New Jersey   3:20-cv-05461         ARNOLD & ITKIN LLP
WOODS, KARIMA             NJ - USDC for the District of New Jersey   3:20-cv-15134         ARNOLD & ITKIN LLP
WOODS, KRISHUNA           NJ - USDC for the District of New Jersey   3:20-cv-00150         ARNOLD & ITKIN LLP
WRIGHT, BROOKE            NJ - USDC for the District of New Jersey   3:20-cv-17530         ARNOLD & ITKIN LLP
WRIGHT, CHRISTIAN         NJ - USDC for the District of New Jersey   3:20-cv-19923         ARNOLD & ITKIN LLP
WRIGHT, ELESA             NJ - USDC for the District of New Jersey   3:20-cv-17124         ARNOLD & ITKIN LLP
WYCUFF, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-14706         ARNOLD & ITKIN LLP
YARBROUGH, GERALDINE      NJ - USDC for the District of New Jersey   3:20-cv-18221         ARNOLD & ITKIN LLP
ZADEH, ASIEH              NJ - USDC for the District of New Jersey   3:21-cv-11744         ARNOLD & ITKIN LLP
ZAMZAM, KEFAH             NJ - USDC for the District of New Jersey   3:20-cv-10077         ARNOLD & ITKIN LLP
ZOU, CHUNYE               NJ - USDC for the District of New Jersey   3:21-cv-09786         ARNOLD & ITKIN LLP




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
BELL-SPENCER, PAMELA      NJ - USDC for the District of New Jersey   3:21-cv-12761             ARNOLD LAW OFFICE
ABELSON, LYNN             NJ - USDC for the District of New Jersey   3:17-cv-10984             ASHCRAFT & GEREL
ABERNATHY, SARA           NJ - USDC for the District of New Jersey   3:19-cv-12266             ASHCRAFT & GEREL
ACKERMAN, CAROL           NJ - USDC for the District of New Jersey   3:19-cv-10210             ASHCRAFT & GEREL
ADAIR, RACHEL             NJ - USDC for the District of New Jersey   3:19-cv-12369             ASHCRAFT & GEREL
ADAMI, KATHLEEN           NJ - USDC for the District of New Jersey   3:18-cv-14451             ASHCRAFT & GEREL
ALBERT, KATHLEEN          NJ - USDC for the District of New Jersey   3:19-cv-01497             ASHCRAFT & GEREL
ALEXANDER, LINDA          NJ - Superior Court - Atlantic County      ATL-L-1932-16             ASHCRAFT & GEREL
ALLEN, BETTY              NJ - USDC for the District of New Jersey   3:17-cv-11281             ASHCRAFT & GEREL
ALLEN, GLENDA             NJ - USDC for the District of New Jersey   3:19-cv-12267             ASHCRAFT & GEREL
ALLEN, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-01512             ASHCRAFT & GEREL
ALSUP, MELISSA            NJ - USDC for the District of New Jersey   3:18-cv-09630             ASHCRAFT & GEREL
ALVARADO, NILDA           NJ - USDC for the District of New Jersey   3:21-cv-00349             ASHCRAFT & GEREL
AMIRO, HEIDI              MO - Circuit Court - City of St. Louis     1822-CC06811              ASHCRAFT & GEREL
AMODEI, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-07518             ASHCRAFT & GEREL
ANDERSON, BERNICE         NJ - USDC for the District of New Jersey   3:19-cv-01790             ASHCRAFT & GEREL
ANDERSON, DYNNIA          NJ - USDC for the District of New Jersey   3:17-cv-08045             ASHCRAFT & GEREL
ANDERSON, KARENE          NJ - USDC for the District of New Jersey   3:21-cv-00400             ASHCRAFT & GEREL
ANDERSON, KATHY           NJ - USDC for the District of New Jersey   3:18-cv-17536             ASHCRAFT & GEREL
ANDERSON, ROSETTA         NJ - USDC for the District of New Jersey   3:19-cv-12349             ASHCRAFT & GEREL
ANDERSON, TYLENA          NJ - USDC for the District of New Jersey   3:19-cv-01792             ASHCRAFT & GEREL
ANDERSON, VICKI           NJ - USDC for the District of New Jersey   3:19-cv-19494             ASHCRAFT & GEREL
ANDERSON-MUNROE, JOY      NJ - USDC for the District of New Jersey   3:20-cv-06898             ASHCRAFT & GEREL
ANDREW, WALTRAUD          NJ - USDC for the District of New Jersey   3:19-cv-05654             ASHCRAFT & GEREL
ANDREWS, BRENDA           NJ - USDC for the District of New Jersey   3:17-cv-02939             ASHCRAFT & GEREL
ANDREWS, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-00046             ASHCRAFT & GEREL
ANGELL, JULIE             NJ - USDC for the District of New Jersey   3:21-cv-00417             ASHCRAFT & GEREL
ANTHONY, CONNIE           NJ - USDC for the District of New Jersey   3:19-cv-01458             ASHCRAFT & GEREL
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ARLEDGE, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-13523             ASHCRAFT & GEREL
ARMISTEAD, LYNNETTE       NJ - USDC for the District of New Jersey   3:18-cv-01830             ASHCRAFT & GEREL
ARMSTRONG, NANCY          NJ - USDC for the District of New Jersey   3:18-cv-16634             ASHCRAFT & GEREL
ARMSTRONG, NANNIE         NJ - USDC for the District of New Jersey   3:19-cv-01794             ASHCRAFT & GEREL
ARNDT, MOLLIE             NJ - USDC for the District of New Jersey   3:17-cv-10944             ASHCRAFT & GEREL
ARNOULT, SALLIE           NJ - USDC for the District of New Jersey   3:19-cv-01220             ASHCRAFT & GEREL
ARNSTEIN, LOIS            MO - Circuit Court - City of St. Louis     1822-CC06811              ASHCRAFT & GEREL
ARONEAU, KATHARYN         NJ - USDC for the District of New Jersey   3:18-cv-16635             ASHCRAFT & GEREL
ARRINGTON, DEBBIE         NJ - USDC for the District of New Jersey   3:19-cv-16920             ASHCRAFT & GEREL
ARROYO, ANNA              MO - Circuit Court - City of St. Louis     1822-CC06811              ASHCRAFT & GEREL
ARTERBRIDGE, BRENDA       NJ - USDC for the District of New Jersey   3:18-cv-00039             ASHCRAFT & GEREL
ARWINR, RANDY             NJ - USDC for the District of New Jersey   3:18-cv-13507             ASHCRAFT & GEREL
ATTENDORN, KAREN          NJ - USDC for the District of New Jersey   3:21-cv-00128             ASHCRAFT & GEREL
AULTMAN, KATHERINE        NJ - USDC for the District of New Jersey   3:18-cv-03316             ASHCRAFT & GEREL
AUTRY, EVELYN             NJ - USDC for the District of New Jersey   3:17-cv-07986             ASHCRAFT & GEREL
AVANT, VERNICE            NJ - USDC for the District of New Jersey   3:18-cv-09659             ASHCRAFT & GEREL
AVELLINO, NANCY           NJ - USDC for the District of New Jersey   3:18-cv-14450             ASHCRAFT & GEREL
AYER, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-13949             ASHCRAFT & GEREL
AZEVEDO, SHARON           NJ - USDC for the District of New Jersey   3:19-cv-01797             ASHCRAFT & GEREL
AZIZ, EDNA                NJ - USDC for the District of New Jersey   3:19-cv-12370             ASHCRAFT & GEREL
BABCOCK, MONA             NJ - USDC for the District of New Jersey   3:19-cv-19493             ASHCRAFT & GEREL
BABER, ROSETTE            NJ - USDC for the District of New Jersey   3:17-cv-10838             ASHCRAFT & GEREL
BAILEY, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-13951             ASHCRAFT & GEREL
BAILEY, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-16632             ASHCRAFT & GEREL
BAIN, DEBRA               NJ - USDC for the District of New Jersey   3:17-cv-08061             ASHCRAFT & GEREL
BAKER, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-09711             ASHCRAFT & GEREL
BAKER, CLARA              NJ - USDC for the District of New Jersey   3:19-cv-12382             ASHCRAFT & GEREL
BAKER, KELLY              NJ - USDC for the District of New Jersey   3:18-cv-11198             ASHCRAFT & GEREL
BAKKEN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-10291             ASHCRAFT & GEREL
BALLON, MARY              NJ - USDC for the District of New Jersey   3:18-cv-17468             ASHCRAFT & GEREL
BANKS, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-07836             ASHCRAFT & GEREL
BARNETT, RUBY             NJ - USDC for the District of New Jersey   3:19-cv-01469             ASHCRAFT & GEREL
BARNETT, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-00350             ASHCRAFT & GEREL
BARSHAY, LEENA            NJ - USDC for the District of New Jersey   3:17-cv-10334             ASHCRAFT & GEREL
BARTON, DIANE             NJ - USDC for the District of New Jersey   3:17-cv-11365             ASHCRAFT & GEREL
BASSLER, TAMELA           NJ - USDC for the District of New Jersey   3:20-cv-13953             ASHCRAFT & GEREL
BATCHELOR, CRISTY         NJ - USDC for the District of New Jersey   3:20-cv-13954             ASHCRAFT & GEREL
BATTLE, PRISCILLA         NJ - USDC for the District of New Jersey   3:17-cv-10946             ASHCRAFT & GEREL
BATTS, LISA               NJ - USDC for the District of New Jersey   3:19-cv-05656             ASHCRAFT & GEREL
BAUHS, TANJA              NJ - USDC for the District of New Jersey   3:19-cv-07703             ASHCRAFT & GEREL
BAUTISTA, ARLENE          CA - Superior Court - San Diego County     37-2018-17600-CU-PL-CTL   ASHCRAFT & GEREL
BEACH, KATHY              NJ - USDC for the District of New Jersey   3:19-cv-01218             ASHCRAFT & GEREL
BEALS, TASHA              NJ - USDC for the District of New Jersey   3:19-cv-05657             ASHCRAFT & GEREL
BEAMAN, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-13938             ASHCRAFT & GEREL
BEAN, JUDY                NJ - USDC for the District of New Jersey   3:20-cv-00476             ASHCRAFT & GEREL
BEASLEY, NORMA            NJ - USDC for the District of New Jersey   3:19-cv-12372             ASHCRAFT & GEREL
BEAUCHAMP, LISA           NJ - Superior Court - Atlantic County      ATL-L-11-16               ASHCRAFT & GEREL
BECK, ELIZABETH           NJ - USDC for the District of New Jersey   3:17-cv-10948             ASHCRAFT & GEREL
BECK, KATHY               NJ - USDC for the District of New Jersey   3:18-cv-12776             ASHCRAFT & GEREL
BECKLEY, ANNIE            NJ - USDC for the District of New Jersey   3:17-cv-10987             ASHCRAFT & GEREL
BEECH, VICKY              NJ - USDC for the District of New Jersey   3:20-cv-13955             ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BEIRNE, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-01296         ASHCRAFT & GEREL
BEJARANO, IRMA            NJ - USDC for the District of New Jersey   3:19-cv-05658         ASHCRAFT & GEREL
BELL, NANCY               NJ - USDC for the District of New Jersey   3:19-cv-05612         ASHCRAFT & GEREL
BELL, TRACY               NJ - USDC for the District of New Jersey   3:20-cv-01300         ASHCRAFT & GEREL
BELLINA, LESLIE           NJ - USDC for the District of New Jersey   3:19-cv-07704         ASHCRAFT & GEREL
BELLOMONTE, CAROL         NJ - USDC for the District of New Jersey   3:20-cv-14014         ASHCRAFT & GEREL
BELONEY, GAIL             NJ - USDC for the District of New Jersey   3:19-cv-05826         ASHCRAFT & GEREL
BELTON, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-13957         ASHCRAFT & GEREL
BENIQUEZ, FRANCESCA       MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
BENJAMIN, PATRICIA        NJ - USDC for the District of New Jersey   3:18-cv-03274         ASHCRAFT & GEREL
BENNETT, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-17282         ASHCRAFT & GEREL
BENNETT, TONI             NJ - USDC for the District of New Jersey   3:19-cv-16755         ASHCRAFT & GEREL
BENOIT, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-10950         ASHCRAFT & GEREL
BENSON, LATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-12780         ASHCRAFT & GEREL
BENSON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-12268         ASHCRAFT & GEREL
BENSON-MILLER, MARLENE    NJ - USDC for the District of New Jersey   3:17-cv-06007         ASHCRAFT & GEREL
BENTON, ROBERTA           NJ - USDC for the District of New Jersey   3:20-cv-13960         ASHCRAFT & GEREL
BERGLUND, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-00214         ASHCRAFT & GEREL
BERNAL, ESTHER            CA - Superior Court - Santa Clara County   18CV332276            ASHCRAFT & GEREL
BERRY, RUTH               NJ - USDC for the District of New Jersey   3:19-cv-12373         ASHCRAFT & GEREL
BESSELMAN, PATRICIA       NJ - USDC for the District of New Jersey   3:17-cv-04923         ASHCRAFT & GEREL
BETHEA, TIAJUANA          NJ - USDC for the District of New Jersey   3:21-cv-10905         ASHCRAFT & GEREL
BETTS, MARA               NJ - USDC for the District of New Jersey   3:18-cv-00040         ASHCRAFT & GEREL
BETTWY, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-10551         ASHCRAFT & GEREL
BIELBY, ELAINE            NJ - USDC for the District of New Jersey   3:17-cv-11221         ASHCRAFT & GEREL
BILBREY, TANNA            NJ - USDC for the District of New Jersey   3:17-cv-08013         ASHCRAFT & GEREL
BLACKSHERER, ELIZABETH    NJ - USDC for the District of New Jersey   3:19-cv-01505         ASHCRAFT & GEREL
BLANCHETTE, RUTH          NJ - USDC for the District of New Jersey   3:18-cv-14413         ASHCRAFT & GEREL
BLANKENCHIP, DAWN         MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
BLANKS, ELLA              NJ - USDC for the District of New Jersey   3:17-cv-09587         ASHCRAFT & GEREL
BOATWRIGHT, JACQUELINE    NJ - USDC for the District of New Jersey   3:20-cv-17971         ASHCRAFT & GEREL
BODIFORD, JEWEL           NJ - USDC for the District of New Jersey   3:20-cv-13959         ASHCRAFT & GEREL
BOHL, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-13941         ASHCRAFT & GEREL
BOLES, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-00131         ASHCRAFT & GEREL
BONDS, PAULETTE           NJ - USDC for the District of New Jersey   3:19-cv-05643         ASHCRAFT & GEREL
BORDOFF, NITA             NJ - USDC for the District of New Jersey   3:19-cv-16754         ASHCRAFT & GEREL
BOST, DARLENE             NJ - Superior Court - Atlantic County      ATL-002718-19         ASHCRAFT & GEREL
BOUDREAUX, DIANA          NJ - USDC for the District of New Jersey   3:18-cv-12735         ASHCRAFT & GEREL
BOURQUE, JENNIFER         NJ - USDC for the District of New Jersey   3:18-cv-00022         ASHCRAFT & GEREL
BOWDEN, MARY              NJ - USDC for the District of New Jersey   3:19-cv-07713         ASHCRAFT & GEREL
BOWSER, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-01209         ASHCRAFT & GEREL
BOYCE, RUTH               NJ - USDC for the District of New Jersey   3:18-cv-00047         ASHCRAFT & GEREL
BRACKINRIDGE, MARIE       NJ - USDC for the District of New Jersey   3:17-cv-11227         ASHCRAFT & GEREL
BRACKINS, PAULA           NJ - USDC for the District of New Jersey   3:21-cv-00215         ASHCRAFT & GEREL
BRADSTROM, MARY           NJ - USDC for the District of New Jersey   3:21-cv-00197         ASHCRAFT & GEREL
BRADY, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-10292         ASHCRAFT & GEREL
BRANSON, OSCEOLA          NJ - USDC for the District of New Jersey   3:20-cv-13935         ASHCRAFT & GEREL
BREEDEN, CORRIE           NJ - USDC for the District of New Jersey   3:18-cv-12779         ASHCRAFT & GEREL
BREEDING, JOYCE           NJ - USDC for the District of New Jersey   3:19-cv-12343         ASHCRAFT & GEREL
BREEN, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-00401         ASHCRAFT & GEREL
BREWER, HAZEL             NJ - USDC for the District of New Jersey   3:18-cv-14861         ASHCRAFT & GEREL
BREWER, YVONNE            NJ - USDC for the District of New Jersey   3:19-cv-07380         ASHCRAFT & GEREL
BRIDGERS, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-12269         ASHCRAFT & GEREL
BRIERY, GEORGIA           NJ - USDC for the District of New Jersey   3:19-cv-12333         ASHCRAFT & GEREL
BRITTINGHAM, JUDY         NJ - USDC for the District of New Jersey   3:20-cv-13943         ASHCRAFT & GEREL
BRITTON, MARY             NJ - USDC for the District of New Jersey   3:20-cv-15146         ASHCRAFT & GEREL
BROMELL, VANESSA          NJ - USDC for the District of New Jersey   3:18-cv-09663         ASHCRAFT & GEREL
BROOKMAN, MARY            NJ - USDC for the District of New Jersey   3:19-cv-00058         ASHCRAFT & GEREL
BROOKS, KELLY             NJ - USDC for the District of New Jersey   3:17-cv-10952         ASHCRAFT & GEREL
BROOKS, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-17942         ASHCRAFT & GEREL
BROOKS, SYLVIA            NJ - USDC for the District of New Jersey   3:19-cv-01222         ASHCRAFT & GEREL
BROUGHTON, SHATEMA        NJ - USDC for the District of New Jersey   3:17-cv-10956         ASHCRAFT & GEREL
BROWN, ALISON             NJ - USDC for the District of New Jersey   3:20-cv-15145         ASHCRAFT & GEREL
BROWN, CAROL              NJ - USDC for the District of New Jersey   3:19-cv-12270         ASHCRAFT & GEREL
BROWN, CHRISTINE          NJ - USDC for the District of New Jersey   3:17-cv-08042         ASHCRAFT & GEREL
BROWN, DEBRA              NJ - USDC for the District of New Jersey   3:18-cv-12631         ASHCRAFT & GEREL
BROWN, ELIZABETH          NJ - USDC for the District of New Jersey   3:17-cv-09591         ASHCRAFT & GEREL
BROWN, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-01802         ASHCRAFT & GEREL
BROWN, TONETTE            NJ - USDC for the District of New Jersey   3:17-cv-11257         ASHCRAFT & GEREL
BRUMFIELD, DOROTHY        NJ - USDC for the District of New Jersey   3:21-cv-00353         ASHCRAFT & GEREL
BRYAN, TRACI              NJ - USDC for the District of New Jersey   3:21-cv-04274         ASHCRAFT & GEREL
BRYANT, PAULA             NJ - USDC for the District of New Jersey   3:18-cv-12734         ASHCRAFT & GEREL
BRYANT, SOLLIAH           NJ - USDC for the District of New Jersey   3:17-cv-11366         ASHCRAFT & GEREL
BUCKHANON, ETHEL          NJ - USDC for the District of New Jersey   3:20-cv-18032         ASHCRAFT & GEREL
BUCKNER, STEPHANI         NJ - USDC for the District of New Jersey   3:19-cv-12272         ASHCRAFT & GEREL
BUMPHUS, TAMARSHA         NJ - USDC for the District of New Jersey   3:19-cv-07705         ASHCRAFT & GEREL
BURKETT, CAREN            NJ - USDC for the District of New Jersey   3:17-cv-10840         ASHCRAFT & GEREL
BURKHOLDER, CAROLYN       NJ - USDC for the District of New Jersey   3:18-cv-13307         ASHCRAFT & GEREL
BURLEIGH, MARY            NJ - USDC for the District of New Jersey   3:17-cv-07440         ASHCRAFT & GEREL
BURNETT, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-05651         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BURNS, MARGARET           NJ - USDC for the District of New Jersey   3:17-cv-11259         ASHCRAFT & GEREL
BURNS, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-15148         ASHCRAFT & GEREL
BUSH, ESTHER              NJ - USDC for the District of New Jersey   3:20-cv-17959         ASHCRAFT & GEREL
BUTLER, NADJA             NJ - USDC for the District of New Jersey   3:20-cv-10293         ASHCRAFT & GEREL
BYINGTON, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-10990         ASHCRAFT & GEREL
CADDICK, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-05659         ASHCRAFT & GEREL
CAFARO, LORETTA           NJ - USDC for the District of New Jersey   3:17-cv-11269         ASHCRAFT & GEREL
CAFFERTY, BARBARA         NJ - USDC for the District of New Jersey   3:19-cv-12274         ASHCRAFT & GEREL
CAHILL, CATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-16638         ASHCRAFT & GEREL
CAIN, JACQUELINE          NJ - USDC for the District of New Jersey   3:19-cv-16888         ASHCRAFT & GEREL
CAIN, MARY PRINCE         NJ - USDC for the District of New Jersey   3:19-cv-21070         ASHCRAFT & GEREL
CALLAWAY, MONICA          NJ - USDC for the District of New Jersey   3:20-cv-15150         ASHCRAFT & GEREL
CAMPBELL, BRENNA          NJ - USDC for the District of New Jersey   3:20-cv-08196         ASHCRAFT & GEREL
CAMPBELL, MARCELL         NJ - USDC for the District of New Jersey   3:18-cv-04749         ASHCRAFT & GEREL
CANTRELL, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-05647         ASHCRAFT & GEREL
CARD, JANET               NJ - USDC for the District of New Jersey   3:19-cv-16747         ASHCRAFT & GEREL
CARPENTER, CARRIE         NJ - USDC for the District of New Jersey   3:20-cv-15151         ASHCRAFT & GEREL
CARPENTER, KAREN          NJ - Superior Court - Atlantic County      ATL-L-1931-16         ASHCRAFT & GEREL
CARR, CARRIE              NJ - USDC for the District of New Jersey   3:20-cv-18034         ASHCRAFT & GEREL
CARREAU, MARCELLE         NJ - USDC for the District of New Jersey   3:18-cv-01831         ASHCRAFT & GEREL
CARROLL, ALVETTA          NJ - USDC for the District of New Jersey   3:17-cv-07821         ASHCRAFT & GEREL
CARTER, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-12791         ASHCRAFT & GEREL
CARTER, MONA              NJ - USDC for the District of New Jersey   3:17-cv-11298         ASHCRAFT & GEREL
CASE, ROSE                NJ - USDC for the District of New Jersey   3:18-cv-14449         ASHCRAFT & GEREL
CASELLA, THERESA          NJ - USDC for the District of New Jersey   3:18-cv-09665         ASHCRAFT & GEREL
CASEY, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-16627         ASHCRAFT & GEREL
CASTLE, BRIDGET           NJ - USDC for the District of New Jersey   3:18-cv-00041         ASHCRAFT & GEREL
CATRETT, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-17990         ASHCRAFT & GEREL
CAVANAGH, CATHERINE       NJ - USDC for the District of New Jersey   3:19-cv-01217         ASHCRAFT & GEREL
CAVAZOS, ROSALINDA        NJ - USDC for the District of New Jersey   3:17-cv-09595         ASHCRAFT & GEREL
CAYLOR, SARA              NJ - USDC for the District of New Jersey   3:18-cv-03334         ASHCRAFT & GEREL
CECIL, ROSE               NJ - USDC for the District of New Jersey   3:18-cv-14409         ASHCRAFT & GEREL
CHAMBERS, DIANNE          NJ - USDC for the District of New Jersey   3:21-cv-00196         ASHCRAFT & GEREL
CHAMBERS, VIRGINIA        NJ - USDC for the District of New Jersey   3:19-cv-07702         ASHCRAFT & GEREL
CHAMPION, JACKIE          NJ - USDC for the District of New Jersey   3:20-cv-01277         ASHCRAFT & GEREL
CHAPMAN, MARGUERITE       NJ - USDC for the District of New Jersey   3:19-cv-01805         ASHCRAFT & GEREL
CHAPMAN, MARY             NJ - USDC for the District of New Jersey   3:21-cv-00192         ASHCRAFT & GEREL
CHARLES, GRACE            NJ - USDC for the District of New Jersey   3:18-cv-16697         ASHCRAFT & GEREL
CHASSE, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-00347         ASHCRAFT & GEREL
CHERRY, DOROTHY           NJ - USDC for the District of New Jersey   3:19-cv-01317         ASHCRAFT & GEREL
CHILES-PATT, CAROLYN      NJ - USDC for the District of New Jersey   3:18-cv-03256         ASHCRAFT & GEREL
CHISOLM, GEORGIA          NJ - USDC for the District of New Jersey   3:18-cv-14403         ASHCRAFT & GEREL
CHIZMAIDA, CHERYL         NJ - USDC for the District of New Jersey   3:17-cv-12153         ASHCRAFT & GEREL
CHLUS, HEATHER            NJ - USDC for the District of New Jersey   3:18-cv-16609         ASHCRAFT & GEREL
CHRISTIAN, FAYEJEAN       NJ - USDC for the District of New Jersey   3:18-cv-12211         ASHCRAFT & GEREL
CLARK, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-16744         ASHCRAFT & GEREL
CLARK, EUTAWNA            NJ - USDC for the District of New Jersey   3:17-cv-12150         ASHCRAFT & GEREL
CLARK, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-18019         ASHCRAFT & GEREL
CLARKSON, WILMA           NJ - USDC for the District of New Jersey   3:19-cv-16745         ASHCRAFT & GEREL
CLAYTON, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-01215         ASHCRAFT & GEREL
CLAYTON, LAURETTA         NJ - USDC for the District of New Jersey   3:18-cv-16611         ASHCRAFT & GEREL
CLEMANS, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-05761         ASHCRAFT & GEREL
CLEMENS, CHERYL           NJ - USDC for the District of New Jersey   3:21-cv-04296         ASHCRAFT & GEREL
CLINKENBEARD, ABIGALE     MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
CLOUTIER, ELAINE          NJ - USDC for the District of New Jersey   3:19-cv-16753         ASHCRAFT & GEREL
COFFEY, LAUREN            NJ - USDC for the District of New Jersey   3:19-cv-07837         ASHCRAFT & GEREL
COFFINGER, CHRISTINE      NJ - USDC for the District of New Jersey   3:19-cv-16892         ASHCRAFT & GEREL
COGLIANDRO, KELLY         NJ - USDC for the District of New Jersey   3:17-cv-04348         ASHCRAFT & GEREL
COLE, MARILYN             NJ - USDC for the District of New Jersey   3:21-cv-00416         ASHCRAFT & GEREL
COLEMAN, CHERRIE          NJ - Superior Court - Atlantic County      ATL-L-1313-16         ASHCRAFT & GEREL
COLEMAN, CHERRIE          NJ - USDC for the District of New Jersey   3:19-cv-13251         ASHCRAFT & GEREL
COLEMAN, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-00190         ASHCRAFT & GEREL
COLEMAN, MRYTLE           NJ - USDC for the District of New Jersey   3:19-cv-16752         ASHCRAFT & GEREL
COLEY, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-00171         ASHCRAFT & GEREL
COLLINS, CLAUDIA          NJ - USDC for the District of New Jersey   3:18-cv-09627         ASHCRAFT & GEREL
COLLINS, PEARLIE          NJ - USDC for the District of New Jersey   3:19-cv-01806         ASHCRAFT & GEREL
COLLINS, ROSE             NJ - USDC for the District of New Jersey   3:19-cv-05660         ASHCRAFT & GEREL
COLQUHOUN, KATHY          NJ - USDC for the District of New Jersey   3:21-cv-00167         ASHCRAFT & GEREL
COLTRANE, DORIS           NJ - USDC for the District of New Jersey   3:19-cv-05662         ASHCRAFT & GEREL
CONLEY, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-16749         ASHCRAFT & GEREL
CONLEY, SHIRLEY           NJ - USDC for the District of New Jersey   3:19-cv-01808         ASHCRAFT & GEREL
COOK, JACKIE              NJ - USDC for the District of New Jersey   3:20-cv-18035         ASHCRAFT & GEREL
COOK, TANYA               NJ - USDC for the District of New Jersey   3:20-cv-15093         ASHCRAFT & GEREL
COOPER, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-10272         ASHCRAFT & GEREL
CORBEIL, KATHLENE         NJ - USDC for the District of New Jersey   3:19-cv-12347         ASHCRAFT & GEREL
CORDOVA, JENNIFER         NJ - USDC for the District of New Jersey   3:19-cv-12334         ASHCRAFT & GEREL
COREY, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-01472         ASHCRAFT & GEREL
CORONEOS, MARGARET        NJ - USDC for the District of New Jersey   3:19-cv-05747         ASHCRAFT & GEREL
CORRIVEAU, CINDY          NJ - USDC for the District of New Jersey   3:19-cv-01465         ASHCRAFT & GEREL
CORTEZ, MARY              NJ - Superior Court - Atlantic County      ATL-L-1933-16         ASHCRAFT & GEREL




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
COULTER, SHERRY                    NJ - Superior Court - Atlantic County      ATL-L-003898-20       ASHCRAFT & GEREL
CRABTREE, REATA                    NJ - USDC for the District of New Jersey   3:17-cv-08200         ASHCRAFT & GEREL
CRAIN, JOYCE                       NJ - USDC for the District of New Jersey   3:21-cv-00166         ASHCRAFT & GEREL
CRAWLEY, MAMIE                     NJ - USDC for the District of New Jersey   3:18-cv-14434         ASHCRAFT & GEREL
CRESON, DORA                       NJ - USDC for the District of New Jersey   3:21-cv-00164         ASHCRAFT & GEREL
CROCKER, AUDREY                    NJ - USDC for the District of New Jersey   3:21-cv-00188         ASHCRAFT & GEREL
CROOKS, VALERIE                    NJ - USDC for the District of New Jersey   3:17-cv-11270         ASHCRAFT & GEREL
CROTSER, DONNA                     NJ - USDC for the District of New Jersey   3:19-cv-01318         ASHCRAFT & GEREL
CROWL, SANDRA                      NJ - USDC for the District of New Jersey   3:17-cv-02936         ASHCRAFT & GEREL
CRUMP, MARIANNE                    NJ - USDC for the District of New Jersey   3:18-cv-11400         ASHCRAFT & GEREL
CUCCHIELLA, LOUISE                 NJ - USDC for the District of New Jersey   3:21-cv-00351         ASHCRAFT & GEREL
CUEVAS, KATHLEEN                   NJ - USDC for the District of New Jersey   3:19-cv-16750         ASHCRAFT & GEREL
CULLINS, GAIL                      NJ - USDC for the District of New Jersey   3:18-cv-14433         ASHCRAFT & GEREL
CULVER, NELDA                      NJ - USDC for the District of New Jersey   3:18-cv-12737         ASHCRAFT & GEREL
CUNNINGHAM, CATHLEEN               NJ - USDC for the District of New Jersey   3:18-cv-12773         ASHCRAFT & GEREL
CUPP, ALICE                        NJ - USDC for the District of New Jersey   3:19-cv-01810         ASHCRAFT & GEREL
DAIGLE, DEBRA                      NJ - USDC for the District of New Jersey   3:19-cv-16742         ASHCRAFT & GEREL
DAKE, VICKY                        NJ - USDC for the District of New Jersey   3:18-cv-17480         ASHCRAFT & GEREL
DAMHOF, JEANNE                     NJ - USDC for the District of New Jersey   3:21-cv-00163         ASHCRAFT & GEREL
DANA, PEGGY                        NJ - USDC for the District of New Jersey   3:21-cv-00162         ASHCRAFT & GEREL
DANGELO, PAMELA                    NJ - USDC for the District of New Jersey   3:18-cv-13427         ASHCRAFT & GEREL
DANIEL, BARBARA                    NJ - USDC for the District of New Jersey   3:19-cv-05653         ASHCRAFT & GEREL
DANIEL, DORIAN                     NJ - USDC for the District of New Jersey   3:17-cv-02498         ASHCRAFT & GEREL
DAVENPORT, KELLY                   CA - Superior Court - Santa Clara County   CIVDS1725511          ASHCRAFT & GEREL
DAVIS, ANGELA                      NJ - USDC for the District of New Jersey   3:20-cv-08197         ASHCRAFT & GEREL
DAVIS, CHERYL                      NJ - USDC for the District of New Jersey   3:17-cv-11465         ASHCRAFT & GEREL
DAVIS, MARY                        NJ - USDC for the District of New Jersey   3:19-cv-05663         ASHCRAFT & GEREL
DAY, PATRICIA                      NJ - USDC for the District of New Jersey   3:19-cv-01168         ASHCRAFT & GEREL
DE CRUZ, JESSE                     CA - Superior Court - Los Angeles County   BC715170              ASHCRAFT & GEREL
DEAL, DIANE                        NJ - USDC for the District of New Jersey   3:20-cv-17960         ASHCRAFT & GEREL
DEAN, MELISSA                      NJ - USDC for the District of New Jersey   3:17-cv-01858         ASHCRAFT & GEREL
DEATON, LEA                        MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
DEATON, PENELOPE                   NJ - USDC for the District of New Jersey   3:20-cv-13937         ASHCRAFT & GEREL
DEDOSANTOS-VALDIVA, CAROLINA NJ - USDC for the District of New Jersey         3:18-cv-12738         ASHCRAFT & GEREL
DEISHER, REBECCA                   NJ - USDC for the District of New Jersey   3:19-cv-01969         ASHCRAFT & GEREL
DENLEY, GLORIA                     NJ - USDC for the District of New Jersey   3:19-cv-01179         ASHCRAFT & GEREL
DENNING, OLIVIA                    NJ - USDC for the District of New Jersey   3:17-cv-10958         ASHCRAFT & GEREL
DENNIS, DOROTHY                    NJ - USDC for the District of New Jersey   3:18-cv-16624         ASHCRAFT & GEREL
DERAKHSHANI, DOROTHY               NJ - USDC for the District of New Jersey   3:18-cv-03258         ASHCRAFT & GEREL
DEZERN, TAMARA                     NJ - USDC for the District of New Jersey   3:19-cv-12275         ASHCRAFT & GEREL
DIAMICO, PEGGIE                    NJ - USDC for the District of New Jersey   3:20-cv-02444         ASHCRAFT & GEREL
DIAMOND, GLADYS                    NJ - USDC for the District of New Jersey   3:19-cv-16748         ASHCRAFT & GEREL
DIAZ, BETH                         NJ - USDC for the District of New Jersey   3:20-cv-14154         ASHCRAFT & GEREL
DIAZ, GEORGINA                     NJ - USDC for the District of New Jersey   3:17-cv-11260         ASHCRAFT & GEREL
DIBATTISTA, LESLIE                 MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
DICKEY, ARMITA                     NJ - USDC for the District of New Jersey   3:17-cv-05670         ASHCRAFT & GEREL
DICKEY, FRANKIE                    NJ - USDC for the District of New Jersey   3:20-cv-17991         ASHCRAFT & GEREL
DIFRANCO, CHRISTINE                NJ - USDC for the District of New Jersey   3:18-cv-00042         ASHCRAFT & GEREL
DIGIACOMO, CHRISTINA               NJ - USDC for the District of New Jersey   3:20-cv-10289         ASHCRAFT & GEREL
DIMONTE, TINA                      NJ - USDC for the District of New Jersey   3:19-cv-12276         ASHCRAFT & GEREL
DINKINS, LAJUAN                    NJ - USDC for the District of New Jersey   3:17-cv-11272         ASHCRAFT & GEREL
DIRKSON, PATRICIA                  NJ - Superior Court - Atlantic County      ATL-L-1912-16         ASHCRAFT & GEREL
DIUTE, KATHLEEN                    NJ - USDC for the District of New Jersey   3:19-cv-16741         ASHCRAFT & GEREL
DIX, IDA                           NJ - USDC for the District of New Jersey   3:18-cv-04725         ASHCRAFT & GEREL
DIXON, JEANETTE                    NJ - USDC for the District of New Jersey   3:19-cv-05664         ASHCRAFT & GEREL
DOCKHAM, NELLIE                    NJ - USDC for the District of New Jersey   3:19-cv-07839         ASHCRAFT & GEREL
DOHERTY, LAURA                     NJ - USDC for the District of New Jersey   3:18-cv-11876         ASHCRAFT & GEREL
DOLAN, ANGELA                      NJ - USDC for the District of New Jersey   3:19-cv-16737         ASHCRAFT & GEREL
DOLLAR, ROBBIE                     NJ - USDC for the District of New Jersey   3:17-cv-04349         ASHCRAFT & GEREL
DOMATO, CHERYL                     NJ - USDC for the District of New Jersey   3:19-cv-11532         ASHCRAFT & GEREL
DONALD, KAREN                      NJ - USDC for the District of New Jersey   3:18-cv-17537         ASHCRAFT & GEREL
DONOSO, DARIAN                     NJ - USDC for the District of New Jersey   3:19-cv-12277         ASHCRAFT & GEREL
DOPLER, DIANA                      NJ - USDC for the District of New Jersey   3:19-cv-01809         ASHCRAFT & GEREL
DOSS, MARLYN                       NJ - USDC for the District of New Jersey   3:21-cv-00161         ASHCRAFT & GEREL
DOUGLAS, BETTY                     NJ - USDC for the District of New Jersey   3:18-cv-04748         ASHCRAFT & GEREL
DOUGLAS, SUSAN                     NJ - USDC for the District of New Jersey   3:18-cv-14265         ASHCRAFT & GEREL
DOWNS, JOYCE                       NJ - USDC for the District of New Jersey   3:18-cv-14436         ASHCRAFT & GEREL
DOYLE, MARGERY                     NJ - Superior Court - Atlantic County      ATL-L-1298-18         ASHCRAFT & GEREL
DUCHESNE, CLAUDETTE                NJ - USDC for the District of New Jersey   3:20-cv-10294         ASHCRAFT & GEREL
DUDIS, PATRICIA                    NJ - USDC for the District of New Jersey   3:19-cv-16166         ASHCRAFT & GEREL
DUKES, KATHLEEN                    MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
DULA, ROBIN                        NJ - USDC for the District of New Jersey   3:17-cv-10992         ASHCRAFT & GEREL
DUNHAM, LUCIA                      NJ - USDC for the District of New Jersey   3:19-cv-05665         ASHCRAFT & GEREL
DUNN-BORGRA, LAURA                 NJ - USDC for the District of New Jersey   3:19-cv-07919         ASHCRAFT & GEREL
DUNNING, ANGELA                    NJ - USDC for the District of New Jersey   3:19-cv-07794         ASHCRAFT & GEREL
DURHAM, PATRICIA                   NJ - USDC for the District of New Jersey   3:20-cv-08383         ASHCRAFT & GEREL
DUVAL, PATRICIA                    NJ - USDC for the District of New Jersey   3:18-cv-16656         ASHCRAFT & GEREL
EATON, JANET                       NJ - USDC for the District of New Jersey   3:17-cv-10960         ASHCRAFT & GEREL
EDGIN, ROBERTA                     NJ - USDC for the District of New Jersey   3:19-cv-16739         ASHCRAFT & GEREL




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
EDWARDS, KATHY             NJ - USDC for the District of New Jersey   3:18-cv-09715         ASHCRAFT & GEREL
EDWARDS, MISCHELLE         NJ - USDC for the District of New Jersey   3:18-cv-09722         ASHCRAFT & GEREL
EDWARDS, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-14294         ASHCRAFT & GEREL
EDWARDS, STACEY            NJ - Superior Court - Atlantic County      ATL-L-1183-16         ASHCRAFT & GEREL
EHLING, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-16736         ASHCRAFT & GEREL
EISCHEN, CHERILYN          NJ - USDC for the District of New Jersey   3:20-cv-07299         ASHCRAFT & GEREL
ELLARD, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-10296         ASHCRAFT & GEREL
ELLIOTT, CYNTHIA           NJ - USDC for the District of New Jersey   3:19-cv-16726         ASHCRAFT & GEREL
ENDSLEY, DELLA             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
ESCALANTE, GINA            NJ - USDC for the District of New Jersey   3:20-cv-14155         ASHCRAFT & GEREL
ETHRIDGE, ELNORE           NJ - USDC for the District of New Jersey   3:19-cv-12363         ASHCRAFT & GEREL
EVANS, CAROLINE            NJ - USDC for the District of New Jersey   3:17-cv-07802         ASHCRAFT & GEREL
EVERETT, VERONICA          NJ - USDC for the District of New Jersey   3:18-cv-09622         ASHCRAFT & GEREL
EVERSON, DORI              NJ - USDC for the District of New Jersey   3:19-cv-19485         ASHCRAFT & GEREL
FAHNSTROM, STEPHANIE       NJ - USDC for the District of New Jersey   3:18-cv-00043         ASHCRAFT & GEREL
FAIN, JANET                NJ - USDC for the District of New Jersey   3:20-cv-10297         ASHCRAFT & GEREL
FARVE, MERIAL              NJ - USDC for the District of New Jersey   3:17-cv-10997         ASHCRAFT & GEREL
FATUNDIMU, GERALDINE       NJ - USDC for the District of New Jersey   3:19-cv-12293         ASHCRAFT & GEREL
FAVORITE, CINDY            NJ - USDC for the District of New Jersey   3:18-cv-03260         ASHCRAFT & GEREL
FENCIL, NOREEN             NJ - Superior Court - Atlantic County      ATL-L-676-16          ASHCRAFT & GEREL
FERRELL, GLENDA            NJ - USDC for the District of New Jersey   3:17-cv-09599         ASHCRAFT & GEREL
FERRELL, VERONICA          NJ - USDC for the District of New Jersey   3:21-cv-00177         ASHCRAFT & GEREL
FESTER, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-16626         ASHCRAFT & GEREL
FIGURSKI, SUZANNE          NJ - USDC for the District of New Jersey   3:19-cv-16731         ASHCRAFT & GEREL
FISCHBACH, CHARLA          NJ - USDC for the District of New Jersey   3:18-cv-16625         ASHCRAFT & GEREL
FISCHER, MARCY             NJ - USDC for the District of New Jersey   3:18-cv-11516         ASHCRAFT & GEREL
FITZGERALD, JENNIFER       CA - Superior Court - Santa Clara County   18CV324262            ASHCRAFT & GEREL
FLORES, ANITA              NJ - USDC for the District of New Jersey   3:17-cv-10962         ASHCRAFT & GEREL
FLOWE, SHERRY              NJ - USDC for the District of New Jersey   3:17-cv-10963         ASHCRAFT & GEREL
FLOWERS, MARY              NJ - USDC for the District of New Jersey   3:20-cv-18036         ASHCRAFT & GEREL
FLUHARTY, BRENDA           NJ - USDC for the District of New Jersey   3:19-cv-12294         ASHCRAFT & GEREL
FODA, RANDA                MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
FOGEL, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-12366         ASHCRAFT & GEREL
FOLEY-LANDRY, MARTHA       NJ - USDC for the District of New Jersey   3:18-cv-00044         ASHCRAFT & GEREL
FOLSOM, NORMA              NJ - USDC for the District of New Jersey   3:20-cv-08390         ASHCRAFT & GEREL
FORBES, OPIE               NJ - USDC for the District of New Jersey   3:18-cv-14435         ASHCRAFT & GEREL
FORDYCE, JOHNNIE           NJ - USDC for the District of New Jersey   3:20-cv-07511         ASHCRAFT & GEREL
FORSYTH, EMILY             NJ - USDC for the District of New Jersey   3:20-cv-17952         ASHCRAFT & GEREL
FOSTER, GEORGIA            NJ - USDC for the District of New Jersey   3:18-cv-00072         ASHCRAFT & GEREL
FOURNIER, M                NJ - USDC for the District of New Jersey   3:20-cv-15094         ASHCRAFT & GEREL
FOX, HELEN                 NJ - USDC for the District of New Jersey   3:19-cv-05648         ASHCRAFT & GEREL
FRANKLIN, LINDA            NJ - Superior Court - Atlantic County      ATL-L-1934-16         ASHCRAFT & GEREL
FRATANTARO, LUCIA          NJ - USDC for the District of New Jersey   3:20-cv-10299         ASHCRAFT & GEREL
FRAZIER, TONYA             NJ - USDC for the District of New Jersey   3:21-cv-00211         ASHCRAFT & GEREL
FREDERICK, AMY             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
FREDERICKS, ROBERTA        NJ - USDC for the District of New Jersey   3:17-cv-08019         ASHCRAFT & GEREL
FREEMAN, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-21069         ASHCRAFT & GEREL
FRIGON, MICKEY             NJ - USDC for the District of New Jersey   3:17-cv-11000         ASHCRAFT & GEREL
FRISBIE-JONES, ANITA       NJ - USDC for the District of New Jersey   3:18-cv-00380         ASHCRAFT & GEREL
FRYE, KATHY                NJ - USDC for the District of New Jersey   3:19-cv-01320         ASHCRAFT & GEREL
FULLER, LYNN               NJ - USDC for the District of New Jersey   3:20-cv-08386         ASHCRAFT & GEREL
FULLER, TAMBRIA            NJ - USDC for the District of New Jersey   3:17-cv-11263         ASHCRAFT & GEREL
FUNDERBURK, ANNIE          NJ - USDC for the District of New Jersey   3:18-cv-03269         ASHCRAFT & GEREL
FUOSS, BRENDA              NJ - USDC for the District of New Jersey   3:17-cv-11268         ASHCRAFT & GEREL
FURNISH, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-10965         ASHCRAFT & GEREL
FUSELIER, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-07522         ASHCRAFT & GEREL
GALLAGHER, RACHEL          NJ - USDC for the District of New Jersey   3:19-cv-01971         ASHCRAFT & GEREL
GAMBEL, LYNNE              NJ - USDC for the District of New Jersey   3:19-cv-01811         ASHCRAFT & GEREL
GARDNER, PEGGY             NJ - USDC for the District of New Jersey   3:18-cv-11837         ASHCRAFT & GEREL
GARNER, ELAINE             NJ - USDC for the District of New Jersey   3:18-cv-00067         ASHCRAFT & GEREL
GARY, PATRICIA             NJ - USDC for the District of New Jersey   3:18-cv-00023         ASHCRAFT & GEREL
GASE, CHARLENE             NJ - USDC for the District of New Jersey   3:19-cv-16885         ASHCRAFT & GEREL
GASPARD, ETHEL             NJ - USDC for the District of New Jersey   3:17-cv-11274         ASHCRAFT & GEREL
GASPERETTI, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-10966         ASHCRAFT & GEREL
GERREN, TIFFANY            NJ - USDC for the District of New Jersey   3:19-cv-12295         ASHCRAFT & GEREL
GIANCURSIO, JULIANNE       NJ - USDC for the District of New Jersey   3:17-cv-07442         ASHCRAFT & GEREL
GIANNONE, MARIA            NJ - Superior Court - Atlantic County      ATL-L-001882-18       ASHCRAFT & GEREL
GIANNOTTI, ANNA            NJ - USDC for the District of New Jersey   3:18-cv-09632         ASHCRAFT & GEREL
GIBSON, DEVIN              MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
GIBSON, KIMBERLY           NJ - USDC for the District of New Jersey   3:17-cv-08023         ASHCRAFT & GEREL
GILBERT, DIANE             NJ - USDC for the District of New Jersey   3:19-cv-12368         ASHCRAFT & GEREL
GILBERT, ROBERTA           NJ - USDC for the District of New Jersey   3:20-cv-14156         ASHCRAFT & GEREL
GILLIES, GAIL              NJ - USDC for the District of New Jersey   3:17-cv-09579         ASHCRAFT & GEREL
GILLISS, PAULA             NJ - Superior Court - Atlantic County      ATL-L-002719-19       ASHCRAFT & GEREL
GIORDANO, ROSEMARIE        NJ - Superior Court - Atlantic County      ATL-L-2661-17         ASHCRAFT & GEREL
GLASSON, EVELYN            NJ - USDC for the District of New Jersey   3:18-cv-03261         ASHCRAFT & GEREL
GLUCK, ERICA               NJ - USDC for the District of New Jersey   3:20-cv-08384         ASHCRAFT & GEREL
GNIEWEK, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-07792         ASHCRAFT & GEREL
GODSO, BETTY               NJ - USDC for the District of New Jersey   3:18-cv-14371         ASHCRAFT & GEREL
GOLDABER, SHARON           NJ - USDC for the District of New Jersey   3:19-cv-01953         ASHCRAFT & GEREL




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
GOLDSMITH, MARY             NJ - USDC for the District of New Jersey   3:18-cv-03305         ASHCRAFT & GEREL
GOMEZ, SOCORRO              NJ - USDC for the District of New Jersey   3:19-cv-16926         ASHCRAFT & GEREL
GONZALES, JAMIE             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
GOODIN, DIANE               MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
GOODY, MISTI                NJ - USDC for the District of New Jersey   3:19-cv-01956         ASHCRAFT & GEREL
GORDEN, JODY                NJ - USDC for the District of New Jersey   3:20-cv-10300         ASHCRAFT & GEREL
GORDON, FLORIDA             NJ - USDC for the District of New Jersey   3:17-cv-02940         ASHCRAFT & GEREL
GOWDY, JEANNINE             NJ - USDC for the District of New Jersey   3:19-cv-05613         ASHCRAFT & GEREL
GRAF-SPIEGEL, SUSAN         NJ - USDC for the District of New Jersey   3:17-cv-02942         ASHCRAFT & GEREL
GRAMLICH, LANA              NJ - USDC for the District of New Jersey   3:19-cv-01182         ASHCRAFT & GEREL
GRANT, JEANNE               NJ - USDC for the District of New Jersey   3:17-cv-10970         ASHCRAFT & GEREL
GRANUM, ANNE                NJ - USDC for the District of New Jersey   3:17-cv-10972         ASHCRAFT & GEREL
GRASCH, NANCY               NJ - USDC for the District of New Jersey   3:19-cv-12296         ASHCRAFT & GEREL
GRAVES, BRIDGET             NJ - USDC for the District of New Jersey   3:16-cv-08672         ASHCRAFT & GEREL
GRAWBADGER, JEAN            NJ - USDC for the District of New Jersey   3:17-cv-10973         ASHCRAFT & GEREL
GRAZULIS, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-01791         ASHCRAFT & GEREL
GREENBAUM, MYRA             NJ - USDC for the District of New Jersey   3:19-cv-01960         ASHCRAFT & GEREL
GREENE, MARGERY             NJ - USDC for the District of New Jersey   3:18-cv-17538         ASHCRAFT & GEREL
GREGORY, LOU                NJ - USDC for the District of New Jersey   3:17-cv-07826         ASHCRAFT & GEREL
GREGORY-BILOTTA, MARGARET   NJ - USDC for the District of New Jersey   3:18-cv-17653         ASHCRAFT & GEREL
GRIEBEL, LYNNE              NJ - USDC for the District of New Jersey   3:19-cv-12299         ASHCRAFT & GEREL
GRIFFIN, GERALDINE          NJ - Superior Court - Atlantic County      ATL-L-97-16           ASHCRAFT & GEREL
GRIFFIN, MARTHA             NJ - USDC for the District of New Jersey   3:17-cv-11278         ASHCRAFT & GEREL
GRIFFITH, JULIA             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
GRIMALDI, VIRGINIA          NJ - USDC for the District of New Jersey   3:20-cv-08385         ASHCRAFT & GEREL
GRIMSLEY, ANGELIA           NJ - USDC for the District of New Jersey   3:20-cv-15158         ASHCRAFT & GEREL
GRINTER, LEAH               NJ - USDC for the District of New Jersey   3:18-cv-17539         ASHCRAFT & GEREL
GUBITZ, LADONNA             NJ - USDC for the District of New Jersey   3:19-cv-12346         ASHCRAFT & GEREL
GUNTER, SHIRLEY             NJ - USDC for the District of New Jersey   3:18-cv-01827         ASHCRAFT & GEREL
GUTMAN, ANN                 NJ - USDC for the District of New Jersey   3:20-cv-17943         ASHCRAFT & GEREL
HAFER, LISA                 NJ - USDC for the District of New Jersey   3:18-cv-10905         ASHCRAFT & GEREL
HAGOOD, CORA                NJ - USDC for the District of New Jersey   3:18-cv-16615         ASHCRAFT & GEREL
HAILS, ANNE                 MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
HALBERSTAM-HIRSCH, HELEN    NJ - USDC for the District of New Jersey   3:19-cv-16960         ASHCRAFT & GEREL
HALL, BARBARA               NJ - USDC for the District of New Jersey   3:17-cv-07445         ASHCRAFT & GEREL
HALL, LEZAH                 NJ - USDC for the District of New Jersey   3:17-cv-10338         ASHCRAFT & GEREL
HALL, LORRAINE              NJ - USDC for the District of New Jersey   3:20-cv-07515         ASHCRAFT & GEREL
HALL, SUSAN                 NJ - USDC for the District of New Jersey   3:18-cv-12727         ASHCRAFT & GEREL
HAMMER, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-00182         ASHCRAFT & GEREL
HAMRICK, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-10301         ASHCRAFT & GEREL
HANNAH, CATHERINE           NJ - USDC for the District of New Jersey   3:19-cv-12300         ASHCRAFT & GEREL
HANNAN, CHARLOTTE           NJ - USDC for the District of New Jersey   3:19-cv-06988         ASHCRAFT & GEREL
HARJO, CYNTHIA              NJ - USDC for the District of New Jersey   3:19-cv-16735         ASHCRAFT & GEREL
HARRELL, ANGELA             NJ - USDC for the District of New Jersey   3:17-cv-04351         ASHCRAFT & GEREL
HARRIS, GWENDOLYN           NJ - USDC for the District of New Jersey   3:19-cv-05666         ASHCRAFT & GEREL
HARRIS, KATHY               NJ - USDC for the District of New Jersey   3:17-cv-11232         ASHCRAFT & GEREL
HARRIS, KATHY               NJ - USDC for the District of New Jersey   3:19-cv-05749         ASHCRAFT & GEREL
HARRIS, MABEL               NJ - USDC for the District of New Jersey   3:19-cv-16734         ASHCRAFT & GEREL
HARRIS, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-10290         ASHCRAFT & GEREL
HARROW, SHARON              NJ - USDC for the District of New Jersey   3:19-cv-01322         ASHCRAFT & GEREL
HART, SANDRA                NJ - USDC for the District of New Jersey   3:18-cv-00122         ASHCRAFT & GEREL
HARTWEG, ANN                NJ - USDC for the District of New Jersey   3:17-cv-13696         ASHCRAFT & GEREL
HATCHER, EMMA               NJ - USDC for the District of New Jersey   3:19-cv-05751         ASHCRAFT & GEREL
HATCHER, PAULA              NJ - USDC for the District of New Jersey   3:20-cv-00477         ASHCRAFT & GEREL
HAUSER, DIANE               NJ - USDC for the District of New Jersey   3:21-cv-00352         ASHCRAFT & GEREL
HAX, BARBARA                NJ - USDC for the District of New Jersey   3:17-cv-11238         ASHCRAFT & GEREL
HAYES, SHARON               NJ - Superior Court - Atlantic County      ATL-L-12-16           ASHCRAFT & GEREL
HAYWARD, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-17938         ASHCRAFT & GEREL
HEFLIN, JUDY                NJ - USDC for the District of New Jersey   3:18-cv-00045         ASHCRAFT & GEREL
HEINOLD, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-10302         ASHCRAFT & GEREL
HELMAN, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-10303         ASHCRAFT & GEREL
HELMS, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-17941         ASHCRAFT & GEREL
HEMINGWAY, JUDITH           NJ - USDC for the District of New Jersey   3:18-cv-10141         ASHCRAFT & GEREL
HENDERSON, GLORIA           NJ - USDC for the District of New Jersey   3:17-cv-10975         ASHCRAFT & GEREL
HENDERSON, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-16606         ASHCRAFT & GEREL
HEREDIA, ANDREA             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
HERNANDEZ, ELEANOR          NJ - USDC for the District of New Jersey   3:17-cv-11242         ASHCRAFT & GEREL
HERNANDEZ, ESMERELDA        NJ - USDC for the District of New Jersey   3:19-cv-01325         ASHCRAFT & GEREL
HERNANDEZ, SILVER           NJ - USDC for the District of New Jersey   3:19-cv-16727         ASHCRAFT & GEREL
HERRERA, SYLVIA             NJ - Superior Court - Atlantic County      ATL-L-1159-16         ASHCRAFT & GEREL
HERRON, LATANYA             NJ - USDC for the District of New Jersey   3:20-cv-08391         ASHCRAFT & GEREL
HESLIN, OLIVIA              NJ - USDC for the District of New Jersey   3:19-cv-05766         ASHCRAFT & GEREL
HESS, STEPHANIE             NJ - USDC for the District of New Jersey   3:17-cv-07809         ASHCRAFT & GEREL
HEWITT, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-10305         ASHCRAFT & GEREL
HIBBS, KAREN                NJ - USDC for the District of New Jersey   3:19-cv-01327         ASHCRAFT & GEREL
HICKMAN, DONNIE             NJ - USDC for the District of New Jersey   3:18-cv-16662         ASHCRAFT & GEREL
HIGH, ELIZABETH             NJ - USDC for the District of New Jersey   3:20-cv-10307         ASHCRAFT & GEREL
HIGHTOWER, DONNA            NJ - Superior Court - Atlantic County      ATL-L-1960-16         ASHCRAFT & GEREL
HIGLEY, TERI                NJ - USDC for the District of New Jersey   3:18-cv-02888         ASHCRAFT & GEREL
HILL, ALICE                 NJ - USDC for the District of New Jersey   3:20-cv-08387         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HILL, JUANITA             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
HILTON, LINDA             NJ - Superior Court - Atlantic County      ATL-L-885-16          ASHCRAFT & GEREL
HJELM, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-07840         ASHCRAFT & GEREL
HOBBS, ALICE              NJ - USDC for the District of New Jersey   3:21-cv-00144         ASHCRAFT & GEREL
HODGES, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-16724         ASHCRAFT & GEREL
HOFFMAN, EILEEN           NJ - USDC for the District of New Jersey   3:19-cv-05772         ASHCRAFT & GEREL
HOFMANN, BRITTNEY         NJ - USDC for the District of New Jersey   3:20-cv-10308         ASHCRAFT & GEREL
HOMACK, MEAGHAN           NJ - USDC for the District of New Jersey   3:19-cv-04396         ASHCRAFT & GEREL
HONEA, MARY               NJ - USDC for the District of New Jersey   3:17-cv-08046         ASHCRAFT & GEREL
HONOLD, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-11001         ASHCRAFT & GEREL
HOPKINS, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-10311         ASHCRAFT & GEREL
HORNER, KIMBERLY          NJ - Superior Court - Atlantic County      ATL-L-2306-17         ASHCRAFT & GEREL
HORTON, JEAN              NJ - USDC for the District of New Jersey   3:21-cv-00174         ASHCRAFT & GEREL
HORTON, TERYKA            NJ - USDC for the District of New Jersey   3:20-cv-00475         ASHCRAFT & GEREL
HOUSTON, EULAH            NJ - USDC for the District of New Jersey   3:19-cv-12301         ASHCRAFT & GEREL
HOVERTER, HOLLY           NJ - USDC for the District of New Jersey   3:21-cv-00209         ASHCRAFT & GEREL
HOVEY, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-05776         ASHCRAFT & GEREL
HOWARD, EDNA              NJ - USDC for the District of New Jersey   3:17-cv-04350         ASHCRAFT & GEREL
HUBBARD, LISA             NJ - USDC for the District of New Jersey   3:20-cv-07525         ASHCRAFT & GEREL
HUDSON, MARY WHITE        NJ - USDC for the District of New Jersey   3:18-cv-16622         ASHCRAFT & GEREL
HUDSON, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-14968         ASHCRAFT & GEREL
HUFF, COLLEEN             NJ - USDC for the District of New Jersey   3:18-cv-12781         ASHCRAFT & GEREL
HUGHES, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-08982         ASHCRAFT & GEREL
HUGHES, TERRY             NJ - USDC for the District of New Jersey   3:19-cv-12303         ASHCRAFT & GEREL
HUGHES, VICKIE            NJ - Superior Court - Atlantic County      ATL-L-99-16           ASHCRAFT & GEREL
HULL, CAROLYN             NJ - USDC for the District of New Jersey   3:18-cv-14448         ASHCRAFT & GEREL
HUNTLEY, ALMEDA           NJ - USDC for the District of New Jersey   3:19-cv-16910         ASHCRAFT & GEREL
HURLBUT, STEPHANIE        NJ - USDC for the District of New Jersey   3:17-cv-11367         ASHCRAFT & GEREL
HURLOCKER, CAROL          NJ - USDC for the District of New Jersey   3:19-cv-05781         ASHCRAFT & GEREL
HUTCHINS, ELAINE          NJ - USDC for the District of New Jersey   3:21-cv-00180         ASHCRAFT & GEREL
HUTTON, ADRIENNE          NJ - USDC for the District of New Jersey   3:19-cv-01183         ASHCRAFT & GEREL
IACONO, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-10313         ASHCRAFT & GEREL
IBARRA, NORMA             NJ - USDC for the District of New Jersey   3:17-cv-12147         ASHCRAFT & GEREL
IRVIN, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-05780         ASHCRAFT & GEREL
IRVING, HOLLY             NJ - USDC for the District of New Jersey   3:18-cv-03262         ASHCRAFT & GEREL
IRWIN, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-05784         ASHCRAFT & GEREL
IVERSON, JOYCE            NJ - USDC for the District of New Jersey   3:18-cv-09157         ASHCRAFT & GEREL
JACKSON, FRANKIE          NJ - USDC for the District of New Jersey   3:19-cv-12304         ASHCRAFT & GEREL
JAMES, MARLENE            NJ - USDC for the District of New Jersey   3:19-cv-16722         ASHCRAFT & GEREL
JAMESON, ALBERTA          NJ - USDC for the District of New Jersey   3:18-cv-14452         ASHCRAFT & GEREL
JANAS, GRACE              NJ - USDC for the District of New Jersey   3:18-cv-16660         ASHCRAFT & GEREL
JANE, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-10977         ASHCRAFT & GEREL
JANES, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-18037         ASHCRAFT & GEREL
JANET, JONETTE            NJ - USDC for the District of New Jersey   3:18-cv-00069         ASHCRAFT & GEREL
JANN, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-11289         ASHCRAFT & GEREL
JEFFERSON, JACQUELINE     NJ - USDC for the District of New Jersey   3:19-cv-05788         ASHCRAFT & GEREL
JEFFORDS, JULIE           NJ - USDC for the District of New Jersey   3:18-cv-16603         ASHCRAFT & GEREL
JENKINS, CATHY            NJ - USDC for the District of New Jersey   3:18-cv-14401         ASHCRAFT & GEREL
JENKINS, JOSEPHINE        NJ - USDC for the District of New Jersey   3:20-cv-10314         ASHCRAFT & GEREL
JOHNSON, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-16720         ASHCRAFT & GEREL
JOHNSON, GLENNA           NJ - USDC for the District of New Jersey   3:19-cv-05884         ASHCRAFT & GEREL
JOHNSON, GLORIA           NJ - USDC for the District of New Jersey   3:19-cv-01467         ASHCRAFT & GEREL
JOHNSON, HELEN            MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
JOHNSON, JACKLYN          NJ - USDC for the District of New Jersey   3:18-cv-16641         ASHCRAFT & GEREL
JOHNSON, JOYCE            NJ - USDC for the District of New Jersey   3:18-cv-03306         ASHCRAFT & GEREL
JOHNSON, JUDITH           NJ - USDC for the District of New Jersey   3:17-cv-10979         ASHCRAFT & GEREL
JOHNSON, KATHERINE        NJ - USDC for the District of New Jersey   3:17-cv-10673         ASHCRAFT & GEREL
JOHNSON, MARY             NJ - USDC for the District of New Jersey   3:19-cv-12305         ASHCRAFT & GEREL
JOHNSON, MARY             NJ - USDC for the District of New Jersey   3:19-cv-16721         ASHCRAFT & GEREL
JOHNSON, RHONDA           NJ - USDC for the District of New Jersey   3:19-cv-07775         ASHCRAFT & GEREL
JOHNSON, STEPHANIE        NJ - USDC for the District of New Jersey   3:18-cv-05266         ASHCRAFT & GEREL
JOHNSTON, CARRIE          NJ - USDC for the District of New Jersey   3:21-cv-10944         ASHCRAFT & GEREL
JONES, ALEXIS             NJ - USDC for the District of New Jersey   3:19-cv-05829         ASHCRAFT & GEREL
JONES, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-07828         ASHCRAFT & GEREL
JONES, DEWANA             NJ - USDC for the District of New Jersey   3:18-cv-14402         ASHCRAFT & GEREL
JONES, JOAN               NJ - USDC for the District of New Jersey   3:18-cv-09620         ASHCRAFT & GEREL
JONES, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-09716         ASHCRAFT & GEREL
JONES, MARY               NJ - USDC for the District of New Jersey   3:17-cv-07443         ASHCRAFT & GEREL
JONES, MARY               NJ - USDC for the District of New Jersey   3:18-cv-00013         ASHCRAFT & GEREL
JONES, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-10316         ASHCRAFT & GEREL
JOWERS, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-00016         ASHCRAFT & GEREL
JUELFS, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-10317         ASHCRAFT & GEREL
JULIOUS, NANCY            NJ - USDC for the District of New Jersey   3:20-cv-10319         ASHCRAFT & GEREL
KABACK, FRAN              NJ - USDC for the District of New Jersey   3:19-cv-05790         ASHCRAFT & GEREL
KALL, DEBORAH             NJ - USDC for the District of New Jersey   3:17-cv-10827         ASHCRAFT & GEREL
KANUPP, MARGARUETTE       NJ - USDC for the District of New Jersey   3:19-cv-12306         ASHCRAFT & GEREL
KAWELASKE, SUZANNA        MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
KEINON, MICHELLE          NJ - USDC for the District of New Jersey   3:19-cv-16713         ASHCRAFT & GEREL
KELLER, KAREN             NJ - USDC for the District of New Jersey   3:19-cv-12367         ASHCRAFT & GEREL
KELLEY, BERNADETTE        NJ - USDC for the District of New Jersey   3:18-cv-12772         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
KELLY, MARIANNE           NJ - USDC for the District of New Jersey   3:19-cv-12378             ASHCRAFT & GEREL
KELSEY, JERI              NJ - USDC for the District of New Jersey   3:19-cv-05792             ASHCRAFT & GEREL
KENDALL, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-09721             ASHCRAFT & GEREL
KENDRICK, RHONDA          NJ - USDC for the District of New Jersey   3:18-cv-14446             ASHCRAFT & GEREL
KENEFICK, JEAN            NJ - USDC for the District of New Jersey   3:19-cv-16955             ASHCRAFT & GEREL
KERN, SHIRLEY             NJ - USDC for the District of New Jersey   3:21-cv-00175             ASHCRAFT & GEREL
KEY, JANET                NJ - USDC for the District of New Jersey   3:18-cv-09671             ASHCRAFT & GEREL
KILEY, JOAN               NJ - USDC for the District of New Jersey   3:19-cv-12364             ASHCRAFT & GEREL
KILLENBEC, ANGEL          NJ - USDC for the District of New Jersey   3:20-cv-10707             ASHCRAFT & GEREL
KING, CASSANDRA           NJ - USDC for the District of New Jersey   3:19-cv-16919             ASHCRAFT & GEREL
KING, JANICE              NJ - USDC for the District of New Jersey   3:20-cv-10709             ASHCRAFT & GEREL
KING, VIRGINIA            NJ - USDC for the District of New Jersey   3:17-cv-05227             ASHCRAFT & GEREL
KING, YOLANDA             NJ - USDC for the District of New Jersey   3:18-cv-14299             ASHCRAFT & GEREL
KINLER, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-03264             ASHCRAFT & GEREL
KINNAW, FERNI             NJ - USDC for the District of New Jersey   3:19-cv-12381             ASHCRAFT & GEREL
KIRBY, MARGET             NJ - USDC for the District of New Jersey   3:18-cv-12730             ASHCRAFT & GEREL
KIRK, MARTHA              NJ - USDC for the District of New Jersey   3:18-cv-02456             ASHCRAFT & GEREL
KIRKSEY, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-11280             ASHCRAFT & GEREL
KISER, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-10710             ASHCRAFT & GEREL
KLAR, SANDRA              NJ - USDC for the District of New Jersey   3:19-cv-16707             ASHCRAFT & GEREL
KLATT, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-20413             ASHCRAFT & GEREL
KNAPP, ESTHER             NJ - USDC for the District of New Jersey   3:19-cv-16706             ASHCRAFT & GEREL
KNEBEL, MARIA             NJ - USDC for the District of New Jersey   3:18-cv-03266             ASHCRAFT & GEREL
KNISKERN, JULIA           NJ - USDC for the District of New Jersey   3:17-cv-00904             ASHCRAFT & GEREL
KOSHGARIAN, DIANNE        NJ - USDC for the District of New Jersey   3:20-cv-08910             ASHCRAFT & GEREL
KROPOG, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-10842             ASHCRAFT & GEREL
KRUCIK, KATHLEEN          NJ - USDC for the District of New Jersey   3:17-cv-08028             ASHCRAFT & GEREL
KRUG, CAROLE              NJ - USDC for the District of New Jersey   3:18-cv-12729             ASHCRAFT & GEREL
KURZER, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-10711             ASHCRAFT & GEREL
KUSCHE, CATHY             NJ - USDC for the District of New Jersey   3:18-cv-09669             ASHCRAFT & GEREL
KYSAR, MATTIE             NJ - USDC for the District of New Jersey   3:19-cv-05793             ASHCRAFT & GEREL
LACKEY, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-11211             ASHCRAFT & GEREL
LAMAQUE, SHANTAL          CA - Superior Court - Los Angeles County   CIVDS1825399              ASHCRAFT & GEREL
LAMBERT, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-18020             ASHCRAFT & GEREL
LANDRY, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-16889             ASHCRAFT & GEREL
LANDUYT, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-15095             ASHCRAFT & GEREL
LANE, JACQUELINE          NJ - Superior Court - Atlantic County      ATL-L-001391-18           ASHCRAFT & GEREL
LANEY, NELDA              NJ - USDC for the District of New Jersey   3:19-cv-01185             ASHCRAFT & GEREL
LANGLEY, SHERRY           NJ - USDC for the District of New Jersey   3:18-cv-14406             ASHCRAFT & GEREL
LANGSTON, MARION          NJ - USDC for the District of New Jersey   3:18-cv-14430             ASHCRAFT & GEREL
LARES, FELICITAS          NJ - USDC for the District of New Jersey   3:20-cv-17993             ASHCRAFT & GEREL
LAURENDINCE, ALICE        NJ - USDC for the District of New Jersey   3:19-cv-12307             ASHCRAFT & GEREL
LAWRENCE, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-15152             ASHCRAFT & GEREL
LAWSON, LOIS              NJ - USDC for the District of New Jersey   3:20-cv-15096             ASHCRAFT & GEREL
LAWSON, PAMELA            NJ - USDC for the District of New Jersey   3:18-cv-00020             ASHCRAFT & GEREL
LAYTON, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-10676             ASHCRAFT & GEREL
LEARCH, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-15097             ASHCRAFT & GEREL
LEATHERWOOD, FONTAINE     NJ - USDC for the District of New Jersey   3:18-cv-00070             ASHCRAFT & GEREL
LECHNER, ELEANOR          NJ - USDC for the District of New Jersey   3:18-cv-16617             ASHCRAFT & GEREL
LEDFORD, FRANCES          NJ - USDC for the District of New Jersey   3:19-cv-01187             ASHCRAFT & GEREL
LEE, DESIDELLA            NJ - USDC for the District of New Jersey   3:21-cv-00204             ASHCRAFT & GEREL
LEE, SARAH                NJ - USDC for the District of New Jersey   3:18-cv-16947             ASHCRAFT & GEREL
LEE-DARKO, CHRISTINA      NJ - USDC for the District of New Jersey   3:19-cv-16705             ASHCRAFT & GEREL
LEES, SHARON              NJ - USDC for the District of New Jersey   3:19-cv-01044             ASHCRAFT & GEREL
LEGAY, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-01836             ASHCRAFT & GEREL
LEGENDRE, SUSAN           NJ - USDC for the District of New Jersey   3:19-cv-05794             ASHCRAFT & GEREL
LETHCOE, AUDRA            NJ - USDC for the District of New Jersey   3:19-cv-07841             ASHCRAFT & GEREL
LEVY, SHEILA              NJ - USDC for the District of New Jersey   3:20-cv-15129             ASHCRAFT & GEREL
LEWIS, ANNIE              NJ - USDC for the District of New Jersey   3:20-cv-15154             ASHCRAFT & GEREL
LEWIS, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-03307             ASHCRAFT & GEREL
LEWIS, MARGARET           NJ - USDC for the District of New Jersey   3:18-cv-00071             ASHCRAFT & GEREL
LEWIS, YVETTE             NJ - USDC for the District of New Jersey   3:21-cv-00200             ASHCRAFT & GEREL
LICHTENFELS, REBECCA      NJ - USDC for the District of New Jersey   3:19-cv-12365             ASHCRAFT & GEREL
LILLIE, LAMEQUE           NJ - USDC for the District of New Jersey   3:19-cv-01189             ASHCRAFT & GEREL
LINDSEY, MARTHA           NJ - USDC for the District of New Jersey   3:19-cv-16976             ASHCRAFT & GEREL
                                                                     56-2018-00513949-CU-PL-
LISLE, LORRAINE           CA - Superior Court - Ventura County                                 ASHCRAFT & GEREL
                                                                     VTA
LIVINGSTON, JANE          NJ - USDC for the District of New Jersey   3:18-cv-03308             ASHCRAFT & GEREL
LOFTON, DENISE            NJ - USDC for the District of New Jersey   3:17-cv-07460             ASHCRAFT & GEREL
LOHR, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-16974             ASHCRAFT & GEREL
LOMBARDO, LOUISE          NJ - USDC for the District of New Jersey   3:17-cv-10684             ASHCRAFT & GEREL
LONG, LISA                NJ - USDC for the District of New Jersey   3:19-cv-12308             ASHCRAFT & GEREL
LONG, PAULA               NJ - USDC for the District of New Jersey   3:19-cv-05795             ASHCRAFT & GEREL
LONIGRO, LYNNE            NJ - USDC for the District of New Jersey   3:18-cv-09946             ASHCRAFT & GEREL
LOPEZ, ARCANGELA          NJ - USDC for the District of New Jersey   3:20-cv-10712             ASHCRAFT & GEREL
LOPEZ, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-01292             ASHCRAFT & GEREL
LOPEZ-MONGUIA, SONIA      CA - Superior Court - Los Angeles County   BC720951                  ASHCRAFT & GEREL
LOVELL, MARY              NJ - USDC for the District of New Jersey   3:17-cv-05222             ASHCRAFT & GEREL
LOVETT, EVELYN            NJ - USDC for the District of New Jersey   3:19-cv-05801             ASHCRAFT & GEREL
LOW, KATHERINE            NJ - USDC for the District of New Jersey   3:20-cv-15155             ASHCRAFT & GEREL




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
LOWE, CATHERINE                    NJ - USDC for the District of New Jersey   3:17-cv-10845         ASHCRAFT & GEREL
LUDWICK, KAREN                     NJ - USDC for the District of New Jersey   3:18-cv-03317         ASHCRAFT & GEREL
LUKEN, CATHERINE                   NJ - USDC for the District of New Jersey   3:21-cv-00212         ASHCRAFT & GEREL
LUNN, ELLEN                        NJ - USDC for the District of New Jersey   3:20-cv-08909         ASHCRAFT & GEREL
LYON, VICKIE                       NJ - USDC for the District of New Jersey   3:19-cv-11536         ASHCRAFT & GEREL
MACCIOLI, MARY                     NJ - Superior Court - Atlantic County      ATL-L-1957-16         ASHCRAFT & GEREL
MACIAS, MARIA                      CA - Superior Court - San Diego County     19CV342150            ASHCRAFT & GEREL
MACK, LINDA                        NJ - USDC for the District of New Jersey   3:18-cv-03318         ASHCRAFT & GEREL
MACKINAW, SANDRA                   NJ - USDC for the District of New Jersey   3:19-cv-01191         ASHCRAFT & GEREL
MADDOX, JENNY                      NJ - USDC for the District of New Jersey   3:19-cv-05803         ASHCRAFT & GEREL
MAGBAG, PRISCILLA                  NJ - USDC for the District of New Jersey   3:19-cv-05822         ASHCRAFT & GEREL
MAIER, AMANDA                      NJ - USDC for the District of New Jersey   3:20-cv-15156         ASHCRAFT & GEREL
MAINES, JOAN                       NJ - USDC for the District of New Jersey   3:20-cv-17996         ASHCRAFT & GEREL
MAINVILLE, BOBBY                   NJ - USDC for the District of New Jersey   3:20-cv-18039         ASHCRAFT & GEREL
MARCEL, JOYCE                      NJ - Superior Court - Atlantic County      ATL-L-1955-16         ASHCRAFT & GEREL
MARCELLO, DENISE                   NJ - USDC for the District of New Jersey   3:17-cv-08902         ASHCRAFT & GEREL
MARCHETTI, MARIE                   NJ - USDC for the District of New Jersey   3:18-cv-14145         ASHCRAFT & GEREL
MARCOLINE, ANITA                   NJ - USDC for the District of New Jersey   3:18-cv-02797         ASHCRAFT & GEREL
MARKHAM, JENNIFER                  NJ - USDC for the District of New Jersey   3:19-cv-07842         ASHCRAFT & GEREL
MARROQUIN, MARIA                   NJ - USDC for the District of New Jersey   3:17-cv-08033         ASHCRAFT & GEREL
MARTEL, MINA                       CA - Superior Court - Sacramento County    T182069               ASHCRAFT & GEREL
MARTEN, EILEEN                     NJ - USDC for the District of New Jersey   3:17-cv-11245         ASHCRAFT & GEREL
MARTIN, ELEANOR                    NJ - USDC for the District of New Jersey   3:20-cv-15159         ASHCRAFT & GEREL
MARTIN, JACQUELINE                 NJ - USDC for the District of New Jersey   3:21-cv-00145         ASHCRAFT & GEREL
MARTIN, LORETTA                    NJ - USDC for the District of New Jersey   3:21-cv-15872         ASHCRAFT & GEREL
MARTIN, LYNDA                      NJ - USDC for the District of New Jersey   3:19-cv-16973         ASHCRAFT & GEREL
MARTIN, PRISCILLA                  NJ - USDC for the District of New Jersey   3:20-cv-18040         ASHCRAFT & GEREL
MARTIN, SHIRLEY                    NJ - USDC for the District of New Jersey   3:21-cv-00142         ASHCRAFT & GEREL
MARTZ, LYNNE                       NJ - Superior Court - Atlantic County      ATL-L-001491-18       ASHCRAFT & GEREL
MASSEY, LINDA                      NJ - USDC for the District of New Jersey   3:20-cv-18042         ASHCRAFT & GEREL
MASSEY-GOLEMATIS, JOYCE            NJ - USDC for the District of New Jersey   3:18-cv-09223         ASHCRAFT & GEREL
MATELJAN, CAROLE                   NJ - USDC for the District of New Jersey   3:19-cv-05823         ASHCRAFT & GEREL
MATIAS, PAMELA                     NJ - USDC for the District of New Jersey   3:17-cv-10689         ASHCRAFT & GEREL
MATLOCK, WANDA                     NJ - USDC for the District of New Jersey   3:17-cv-10847         ASHCRAFT & GEREL
MATNEY, ANITA                      NJ - USDC for the District of New Jersey   3:17-cv-10850         ASHCRAFT & GEREL
MATTHEWS, ELISE                    NJ - USDC for the District of New Jersey   3:20-cv-14157         ASHCRAFT & GEREL
MAUPIN, LAURA                      NJ - USDC for the District of New Jersey   3:18-cv-14582         ASHCRAFT & GEREL
MAY, MYRTIS                        NJ - USDC for the District of New Jersey   3:17-cv-11271         ASHCRAFT & GEREL
MAYER, DENISE                      NJ - USDC for the District of New Jersey   3:20-cv-01293         ASHCRAFT & GEREL
MAYER, JOAN                        NJ - USDC for the District of New Jersey   3:20-cv-15160         ASHCRAFT & GEREL
MCAFEE, PAULA                      NJ - USDC for the District of New Jersey   3:18-cv-14429         ASHCRAFT & GEREL
MCAFEE, WANDA                      NJ - USDC for the District of New Jersey   3:19-cv-05824         ASHCRAFT & GEREL
MCCANDLESS, SANDRA                 CA - Superior Court - Los Angeles County   BC688562              ASHCRAFT & GEREL
MCCARTHY, MICHELLE                 NJ - USDC for the District of New Jersey   3:20-cv-17998         ASHCRAFT & GEREL
MCCARTY, JANICE                    NJ - USDC for the District of New Jersey   3:19-cv-01329         ASHCRAFT & GEREL
MCCLENTON, DARLENE                 NJ - USDC for the District of New Jersey   3:19-cv-05828         ASHCRAFT & GEREL
MCCONNELL, RUTH                    NJ - USDC for the District of New Jersey   3:19-cv-05825         ASHCRAFT & GEREL
MCCREIGHT, SANDRA                  NJ - USDC for the District of New Jersey   3:18-cv-03270         ASHCRAFT & GEREL
MCCROSKEY, TONYA                   NJ - USDC for the District of New Jersey   3:17-cv-07832         ASHCRAFT & GEREL
MCCULLERS, BEVERLY                 NJ - USDC for the District of New Jersey   3:20-cv-15161         ASHCRAFT & GEREL
MCGOWIN, ALEXANDRA                 NJ - USDC for the District of New Jersey   3:20-cv-15162         ASHCRAFT & GEREL
MCGREGOR, TERRY                    NJ - USDC for the District of New Jersey   3:17-cv-07459         ASHCRAFT & GEREL
MCGREW, VONNIE                     NJ - USDC for the District of New Jersey   3:20-cv-18001         ASHCRAFT & GEREL
MCKEE, SUSAN                       NJ - USDC for the District of New Jersey   3:17-cv-11306         ASHCRAFT & GEREL
MCKILLOP, DIANE                    NJ - USDC for the District of New Jersey   3:19-cv-12350         ASHCRAFT & GEREL
MCKINLEY, DEBRA                    NJ - USDC for the District of New Jersey   3:17-cv-10696         ASHCRAFT & GEREL
MCLEAREN, ANDREA                   NJ - USDC for the District of New Jersey   3:17-cv-08067         ASHCRAFT & GEREL
MCLEOD, OLIVIA                     NJ - USDC for the District of New Jersey   3:19-cv-07791         ASHCRAFT & GEREL
MCMAHON, LESLIE                    NJ - USDC for the District of New Jersey   3:19-cv-01331         ASHCRAFT & GEREL
MCNEILL, DEBRA                     NJ - Superior Court - Atlantic County      ATL-L-000219-19       ASHCRAFT & GEREL
MCPHILLIP, JEAN                    NJ - USDC for the District of New Jersey   3:20-cv-18044         ASHCRAFT & GEREL
MCWILLIE, DIANE                    NJ - USDC for the District of New Jersey   3:19-cv-07787         ASHCRAFT & GEREL
MEARS, MARCIA                      MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
MELBERGER, B., RHODE, J.; ROCKS,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07910         ASHCRAFT & GEREL
P.; WORLEY, K.
MENHAL, PATTY                      NJ - USDC for the District of New Jersey   3:17-cv-06370         ASHCRAFT & GEREL
MENOKEN, JUANITA                   NJ - USDC for the District of New Jersey   3:19-cv-16972         ASHCRAFT & GEREL
MENTO, CATHERINE                   MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
MERRITT, CAROLYN                   NJ - USDC for the District of New Jersey   3:20-cv-18045         ASHCRAFT & GEREL
MERRYMAN, ELIZABETH                NJ - USDC for the District of New Jersey   3:20-cv-18046         ASHCRAFT & GEREL
MESEROLE, CHERYL                   NJ - USDC for the District of New Jersey   3:18-cv-04752         ASHCRAFT & GEREL
MESLER, SUSAN                      NJ - USDC for the District of New Jersey   3:19-cv-05830         ASHCRAFT & GEREL
METZ, JANET                        NJ - USDC for the District of New Jersey   3:21-cv-00173         ASHCRAFT & GEREL
MICHALES, WANDA                    NJ - USDC for the District of New Jersey   3:18-cv-03321         ASHCRAFT & GEREL
MILFORD, ROBIN                     NJ - USDC for the District of New Jersey   3:19-cv-05831         ASHCRAFT & GEREL
MILITRANO, ELIZANDRA               NJ - USDC for the District of New Jersey   3:20-cv-02443         ASHCRAFT & GEREL
MILLER, BETSY                      NJ - USDC for the District of New Jersey   3:21-cv-00137         ASHCRAFT & GEREL
MILLER, DIANE                      NJ - USDC for the District of New Jersey   3:19-cv-01195         ASHCRAFT & GEREL
MILLER, ELEANOR                    NJ - USDC for the District of New Jersey   3:17-cv-05226         ASHCRAFT & GEREL
MILLER, IDA                        NJ - USDC for the District of New Jersey   3:19-cv-05833         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MILLER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-13939         ASHCRAFT & GEREL
MILLER, PAULINE           NJ - USDC for the District of New Jersey   3:17-cv-02066         ASHCRAFT & GEREL
MILLIGAN, BETTY           NJ - USDC for the District of New Jersey   3:19-cv-05834         ASHCRAFT & GEREL
MINK, KAREN               NJ - USDC for the District of New Jersey   3:19-cv-16970         ASHCRAFT & GEREL
MIRABELLI, CECILIA        NJ - USDC for the District of New Jersey   3:20-cv-15165         ASHCRAFT & GEREL
MIRANDA, ANNE             NJ - USDC for the District of New Jersey   3:21-cv-00140         ASHCRAFT & GEREL
MIRE, MICHELE             NJ - USDC for the District of New Jersey   3:18-cv-11200         ASHCRAFT & GEREL
MITCHELL, HEATHER         NJ - USDC for the District of New Jersey   3:17-cv-08073         ASHCRAFT & GEREL
MITCHELL, JEANINE         NJ - USDC for the District of New Jersey   3:18-cv-12728         ASHCRAFT & GEREL
MITCHELL, JOY             NJ - USDC for the District of New Jersey   3:19-cv-16968         ASHCRAFT & GEREL
MITCHELL, SHIRLEY         NJ - USDC for the District of New Jersey   3:18-cv-00021         ASHCRAFT & GEREL
MOFFETT, DENISE           NJ - USDC for the District of New Jersey   3:18-cv-03324         ASHCRAFT & GEREL
MOLLEUR, JOLIE            NJ - USDC for the District of New Jersey   3:20-cv-08448         ASHCRAFT & GEREL
MONAHAN, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-07881         ASHCRAFT & GEREL
MONTGOMERY, TERESA        NJ - USDC for the District of New Jersey   3:21-cv-00134         ASHCRAFT & GEREL
MOODY, JAYMIE             NJ - USDC for the District of New Jersey   3:21-cv-00132         ASHCRAFT & GEREL
MOORE, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-00348         ASHCRAFT & GEREL
MOORE, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-05835         ASHCRAFT & GEREL
MOORE, ORA                NJ - USDC for the District of New Jersey   3:18-cv-16605         ASHCRAFT & GEREL
MOORE, STACEY             NJ - USDC for the District of New Jersey   3:18-cv-14426         ASHCRAFT & GEREL
MOORHEAD, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-16029         ASHCRAFT & GEREL
MORGAN, ROSE              NJ - USDC for the District of New Jersey   3:19-cv-11977         ASHCRAFT & GEREL
MORRELL, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-06368         ASHCRAFT & GEREL
MORRIS, CRYSTAL           NJ - USDC for the District of New Jersey   3:17-cv-11262         ASHCRAFT & GEREL
MORRIS, FREDDIE           NJ - USDC for the District of New Jersey   3:20-cv-15130         ASHCRAFT & GEREL
MORRIS, MARY              NJ - USDC for the District of New Jersey   3:17-cv-07883         ASHCRAFT & GEREL
MORRIS, SARAH             NJ - USDC for the District of New Jersey   3:18-cv-11676         ASHCRAFT & GEREL
MORRIS, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-15131         ASHCRAFT & GEREL
MORRISON, JEANETTIA       NJ - USDC for the District of New Jersey   3:19-cv-01334         ASHCRAFT & GEREL
MORSE, CORA               NJ - USDC for the District of New Jersey   3:19-cv-05836         ASHCRAFT & GEREL
MOSER, BONNIE             NJ - USDC for the District of New Jersey   3:19-cv-16923         ASHCRAFT & GEREL
MOSER, JANALEE            NJ - USDC for the District of New Jersey   3:19-cv-05837         ASHCRAFT & GEREL
MOSHIER, KATHY            NJ - USDC for the District of New Jersey   3:20-cv-01278         ASHCRAFT & GEREL
MOSLEY, EDNA              NJ - USDC for the District of New Jersey   3:19-cv-05787         ASHCRAFT & GEREL
MOSS, JANICE              NJ - USDC for the District of New Jersey   3:18-cv-03139         ASHCRAFT & GEREL
MOSS, MARLAINA            NJ - USDC for the District of New Jersey   3:17-cv-10832         ASHCRAFT & GEREL
MOYE, ROSEMARY            NJ - USDC for the District of New Jersey   3:18-cv-12740         ASHCRAFT & GEREL
MRAZ, JOSEPHINE           NJ - USDC for the District of New Jersey   3:19-cv-05886         ASHCRAFT & GEREL
MUNRO, CLARINDA           NJ - USDC for the District of New Jersey   3:18-cv-09713         ASHCRAFT & GEREL
MURPHY, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-00139         ASHCRAFT & GEREL
MURPHY, KELLY             NJ - USDC for the District of New Jersey   3:20-cv-18021         ASHCRAFT & GEREL
MURRAY, CORINNE           NJ - USDC for the District of New Jersey   3:19-cv-12309         ASHCRAFT & GEREL
MURRAY, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-07405         ASHCRAFT & GEREL
MUSICK, MELINDA           NJ - USDC for the District of New Jersey   3:19-cv-07844         ASHCRAFT & GEREL
MYER, PHYLLIS             NJ - USDC for the District of New Jersey   3:17-cv-10722         ASHCRAFT & GEREL
MYERS, TINA               NJ - USDC for the District of New Jersey   3:21-cv-00863         ASHCRAFT & GEREL
MYERS, VIVIAN             NJ - USDC for the District of New Jersey   3:21-cv-00355         ASHCRAFT & GEREL
MYLES, NORMA              NJ - USDC for the District of New Jersey   3:21-cv-00357         ASHCRAFT & GEREL
NACE, CHERYL              NJ - USDC for the District of New Jersey   3:18-cv-17656         ASHCRAFT & GEREL
NACKERUD, DEBORAH         NJ - USDC for the District of New Jersey   3:19-cv-12374         ASHCRAFT & GEREL
NAZARKO, XHENSILA         NJ - USDC for the District of New Jersey   3:19-cv-07845         ASHCRAFT & GEREL
NAZIM, CELESTE            NJ - USDC for the District of New Jersey   3:18-cv-01792         ASHCRAFT & GEREL
NEILL, LORETTA            NJ - USDC for the District of New Jersey   3:18-cv-03325         ASHCRAFT & GEREL
NELSON, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-15166         ASHCRAFT & GEREL
NELSON, DONNA             MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
NETTERVILLE, DEBBIE       NJ - USDC for the District of New Jersey   3:17-cv-08022         ASHCRAFT & GEREL
NEWTON, ANNA              NJ - USDC for the District of New Jersey   3:19-cv-12375         ASHCRAFT & GEREL
NEWTON, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-04935         ASHCRAFT & GEREL
NIESEN, MARGIE            NJ - USDC for the District of New Jersey   3:18-cv-03271         ASHCRAFT & GEREL
NIVENS, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-00382         ASHCRAFT & GEREL
NIVNSKI, RHONDA           NJ - USDC for the District of New Jersey   3:20-cv-15133         ASHCRAFT & GEREL
NOBLE, TANA               NJ - USDC for the District of New Jersey   3:20-cv-15167         ASHCRAFT & GEREL
NOBLES, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-00861         ASHCRAFT & GEREL
NOON, AMY                 NJ - USDC for the District of New Jersey   3:21-cv-01725         ASHCRAFT & GEREL
NOONAN, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-15168         ASHCRAFT & GEREL
NORWOOD, MEMORY           NJ - USDC for the District of New Jersey   3:19-cv-05849         ASHCRAFT & GEREL
NOVACK, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-16618         ASHCRAFT & GEREL
OBRIAN, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-00420         ASHCRAFT & GEREL
OGBONNAH, OBIAGELI        NJ - USDC for the District of New Jersey   3:19-cv-01201         ASHCRAFT & GEREL
OGORMAN, TRACEY           NJ - USDC for the District of New Jersey   3:21-cv-00421         ASHCRAFT & GEREL
OLDHAM, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-01723         ASHCRAFT & GEREL
OLDS, DORIS               NJ - USDC for the District of New Jersey   3:20-cv-15170         ASHCRAFT & GEREL
OLIVER, GLENDA            NJ - USDC for the District of New Jersey   3:18-cv-17660         ASHCRAFT & GEREL
OLLER, NITA               NJ - USDC for the District of New Jersey   3:18-cv-03272         ASHCRAFT & GEREL
OLSEN, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-10749         ASHCRAFT & GEREL
OLTEN, THERESE            NJ - USDC for the District of New Jersey   3:20-cv-15171         ASHCRAFT & GEREL
ORE, MARTHA               NJ - USDC for the District of New Jersey   3:18-cv-04185         ASHCRAFT & GEREL
ORECCHIA, LAVINIA         NJ - USDC for the District of New Jersey   3:17-cv-07811         ASHCRAFT & GEREL
ORMAN, MICHELLE           NJ - Superior Court - Atlantic County      ATL-L-247-16          ASHCRAFT & GEREL
ORTIZ, BETH               NJ - USDC for the District of New Jersey   3:19-cv-05854         ASHCRAFT & GEREL




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ORTIZ, EVELYN              NJ - USDC for the District of New Jersey   3:18-cv-04741         ASHCRAFT & GEREL
ORVILLE, ELDER             NJ - USDC for the District of New Jersey   3:19-cv-04569         ASHCRAFT & GEREL
OSBORNE, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-01719         ASHCRAFT & GEREL
OULES, LORI                NJ - USDC for the District of New Jersey   3:17-cv-13569         ASHCRAFT & GEREL
OWENS, BONNIE              NJ - USDC for the District of New Jersey   3:17-cv-08052         ASHCRAFT & GEREL
PALMER, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-01722         ASHCRAFT & GEREL
PANNELL, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-00389         ASHCRAFT & GEREL
PANNULLO, MAUREEN          NJ - USDC for the District of New Jersey   3:19-cv-16917         ASHCRAFT & GEREL
PAPICH, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-16953         ASHCRAFT & GEREL
PARKER, ANNA               NJ - USDC for the District of New Jersey   3:19-cv-16925         ASHCRAFT & GEREL
PARTRIDGE, MARY            NJ - USDC for the District of New Jersey   3:21-cv-00391         ASHCRAFT & GEREL
PASCUZZO, ANN              NJ - USDC for the District of New Jersey   3:18-cv-12785         ASHCRAFT & GEREL
PASKOSKI, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-05858         ASHCRAFT & GEREL
PATE, ETTA                 NJ - USDC for the District of New Jersey   3:18-cv-12732         ASHCRAFT & GEREL
PATINO, BLANCA             NJ - USDC for the District of New Jersey   3:18-cv-12742         ASHCRAFT & GEREL
PATTERSON, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-00392         ASHCRAFT & GEREL
PATTERSON, EVA             NJ - USDC for the District of New Jersey   3:21-cv-00207         ASHCRAFT & GEREL
PAUL, BRENDA               NJ - USDC for the District of New Jersey   3:19-cv-16949         ASHCRAFT & GEREL
PAULING, GERALDINE         NJ - USDC for the District of New Jersey   3:19-cv-16946         ASHCRAFT & GEREL
PAWLOW, JEANETTE           NJ - USDC for the District of New Jersey   3:17-cv-08071         ASHCRAFT & GEREL
PEARSON, JOHNNIE           NJ - USDC for the District of New Jersey   3:19-cv-05866         ASHCRAFT & GEREL
PEARSON, JUANITA           NJ - USDC for the District of New Jersey   3:17-cv-11273         ASHCRAFT & GEREL
PEARTREE, EVA              NJ - USDC for the District of New Jersey   3:19-cv-10961         ASHCRAFT & GEREL
PELLECHIA, DENISE          NJ - USDC for the District of New Jersey   3:18-cv-05268         ASHCRAFT & GEREL
PERIDORE, MICKAEL          NJ - Superior Court - Atlantic County      ATL-L-1959-16         ASHCRAFT & GEREL
PERKINS, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-14899         ASHCRAFT & GEREL
PERRY, DORIS               NJ - USDC for the District of New Jersey   3:20-cv-01294         ASHCRAFT & GEREL
PERSON, DEEBORAH           NJ - USDC for the District of New Jersey   3:19-cv-16916         ASHCRAFT & GEREL
PETERS, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-00075         ASHCRAFT & GEREL
PETERSON, VICKI            NJ - USDC for the District of New Jersey   3:17-cv-04720         ASHCRAFT & GEREL
PETTAWAY, SONYA            NJ - USDC for the District of New Jersey   3:19-cv-01502         ASHCRAFT & GEREL
PETTWAY, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-00397         ASHCRAFT & GEREL
PFIFER, ALLYSON            NJ - USDC for the District of New Jersey   3:19-cv-05869         ASHCRAFT & GEREL
PHILLIPS, DANA             NJ - USDC for the District of New Jersey   3:18-cv-14445         ASHCRAFT & GEREL
PHILLIPS, JANET            NJ - USDC for the District of New Jersey   3:18-cv-16644         ASHCRAFT & GEREL
PHILLIPS, JODI             NJ - USDC for the District of New Jersey   3:19-cv-05871         ASHCRAFT & GEREL
PHILLIPS, WILLORA          NJ - USDC for the District of New Jersey   3:18-cv-04750         ASHCRAFT & GEREL
PHIPPEN, PATSY             NJ - USDC for the District of New Jersey   3:21-cv-00399         ASHCRAFT & GEREL
PIGNATELLI, DELANN         NJ - USDC for the District of New Jersey   3:21-cv-00862         ASHCRAFT & GEREL
PINEIRO-ZUCKER, DIANE      NJ - USDC for the District of New Jersey   3:18-cv-00079         ASHCRAFT & GEREL
PINNIX, SUE                NJ - USDC for the District of New Jersey   3:20-cv-15135         ASHCRAFT & GEREL
PINTARCH, SARAH            NJ - USDC for the District of New Jersey   3:18-cv-17540         ASHCRAFT & GEREL
PISAPIA, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-00179         ASHCRAFT & GEREL
PITTMAN, TEENA             NJ - USDC for the District of New Jersey   3:18-cv-12352         ASHCRAFT & GEREL
PIVAC, JANESS              NJ - USDC for the District of New Jersey   3:18-cv-01823         ASHCRAFT & GEREL
PODWILS, EILENE            NJ - USDC for the District of New Jersey   3:19-cv-05640         ASHCRAFT & GEREL
POLK, DORIS                NJ - USDC for the District of New Jersey   3:21-cv-00404         ASHCRAFT & GEREL
POLSON, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-12354         ASHCRAFT & GEREL
POSLUSZNY, TIFFANY         NJ - USDC for the District of New Jersey   3:17-cv-10763         ASHCRAFT & GEREL
POULILLO, REGINA           NJ - Superior Court - Atlantic County      ATL-L-002204-19       ASHCRAFT & GEREL
POWELL, BETTYE             NJ - USDC for the District of New Jersey   3:18-cv-14440         ASHCRAFT & GEREL
POWELL, SHERRY             NJ - USDC for the District of New Jersey   3:19-cv-07706         ASHCRAFT & GEREL
PRESLEY, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-11266         ASHCRAFT & GEREL
PRESTON, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-00407         ASHCRAFT & GEREL
PREVOST, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-09208         ASHCRAFT & GEREL
PROCTOR, LAYNA             NJ - USDC for the District of New Jersey   3:21-cv-00408         ASHCRAFT & GEREL
PUGH, JANESE               NJ - USDC for the District of New Jersey   3:18-cv-14421         ASHCRAFT & GEREL
PUNZO, ANGELINA            NJ - USDC for the District of New Jersey   3:18-cv-14418         ASHCRAFT & GEREL
PUSZKARCZUK, ROSEMARY      NJ - USDC for the District of New Jersey   3:18-cv-16645         ASHCRAFT & GEREL
QUAIDER, ROSA              NJ - USDC for the District of New Jersey   3:17-cv-04721         ASHCRAFT & GEREL
QUATTROCIOCCHI, VIRGINIA   NJ - USDC for the District of New Jersey   3:16-cv-09485         ASHCRAFT & GEREL
QUICK, MICHELENE           NJ - USDC for the District of New Jersey   3:20-cv-13945         ASHCRAFT & GEREL
QUIGLEY, BETH              NJ - USDC for the District of New Jersey   3:19-cv-12355         ASHCRAFT & GEREL
QUIGLEY, MARIAN            NJ - USDC for the District of New Jersey   3:17-cv-10834         ASHCRAFT & GEREL
RADEMAKER, PEARL           NJ - USDC for the District of New Jersey   3:18-cv-12744         ASHCRAFT & GEREL
RAE, PEGGY                 NJ - USDC for the District of New Jersey   3:19-cv-07708         ASHCRAFT & GEREL
RAINES, JUDY               NJ - USDC for the District of New Jersey   3:18-cv-12771         ASHCRAFT & GEREL
RAMER, GERALDINE           NJ - USDC for the District of New Jersey   3:19-cv-05876         ASHCRAFT & GEREL
RANDLE, CHIQUITA           NJ - USDC for the District of New Jersey   3:18-cv-03326         ASHCRAFT & GEREL
RANKIN, LAURIE             NJ - USDC for the District of New Jersey   3:18-cv-09625         ASHCRAFT & GEREL
RAPTIS, MARIE              NJ - USDC for the District of New Jersey   3:19-cv-11530         ASHCRAFT & GEREL
RASHIED, BRENDA            NJ - Superior Court - Atlantic County      ATL-L-1040-16         ASHCRAFT & GEREL
RASSEGA, ALLA              NJ - USDC for the District of New Jersey   3:19-cv-01337         ASHCRAFT & GEREL
RAY, JENNA                 NJ - USDC for the District of New Jersey   3:17-cv-07446         ASHCRAFT & GEREL
RAY, LISA                  NJ - USDC for the District of New Jersey   3:19-cv-07784         ASHCRAFT & GEREL
REALE, BONNIE              NJ - USDC for the District of New Jersey   3:19-cv-05867         ASHCRAFT & GEREL
RECKER, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-13946         ASHCRAFT & GEREL
REDMOND, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-10778         ASHCRAFT & GEREL
REED, CATHERINE            NJ - USDC for the District of New Jersey   3:18-cv-17542         ASHCRAFT & GEREL
REED, ELIZABETH            NJ - USDC for the District of New Jersey   3:19-cv-07838         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
REIFSTECK, SALLY          NJ - USDC for the District of New Jersey   3:17-cv-10787         ASHCRAFT & GEREL
RELFORD, LORI             NJ - USDC for the District of New Jersey   3:19-cv-05891         ASHCRAFT & GEREL
RENCHEN, JOANN            NJ - USDC for the District of New Jersey   3:18-cv-00080         ASHCRAFT & GEREL
RENDE, CARMELA            NJ - USDC for the District of New Jersey   3:18-cv-12687         ASHCRAFT & GEREL
RETTER, MARTHA            NJ - USDC for the District of New Jersey   3:19-cv-12310         ASHCRAFT & GEREL
REYES, TINA               NJ - USDC for the District of New Jersey   3:18-cv-16646         ASHCRAFT & GEREL
REYNOLDS, HELEN           NJ - USDC for the District of New Jersey   3:21-cv-00409         ASHCRAFT & GEREL
RHOADES, TAMARA           MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
RHODES, MARGARET          NJ - USDC for the District of New Jersey   3:19-cv-05893         ASHCRAFT & GEREL
RHYMER, GWEN              NJ - USDC for the District of New Jersey   3:18-cv-12731         ASHCRAFT & GEREL
RIBBENS, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-00410         ASHCRAFT & GEREL
RICE, CORILEE             NJ - USDC for the District of New Jersey   3:18-cv-14354         ASHCRAFT & GEREL
RICE, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-04719         ASHCRAFT & GEREL
RICE, TERESA              NJ - USDC for the District of New Jersey   3:18-cv-16663         ASHCRAFT & GEREL
RICE, VELMA               NJ - USDC for the District of New Jersey   3:21-cv-00411         ASHCRAFT & GEREL
RICHARD, DONNA            NJ - USDC for the District of New Jersey   3:19-cv-07709         ASHCRAFT & GEREL
RICHARD, EARLINE          NJ - USDC for the District of New Jersey   3:18-cv-03328         ASHCRAFT & GEREL
RICHTER, CASSANDRA        NJ - USDC for the District of New Jersey   3:18-cv-12733         ASHCRAFT & GEREL
RICO, CARLA               NJ - USDC for the District of New Jersey   3:18-cv-14417         ASHCRAFT & GEREL
RIGBY, CAROL              NJ - USDC for the District of New Jersey   3:19-cv-12335         ASHCRAFT & GEREL
RIGGINS, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-00025         ASHCRAFT & GEREL
RITCHIE, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-00415         ASHCRAFT & GEREL
RITENOUR, VIOLA           NJ - USDC for the District of New Jersey   3:18-cv-03330         ASHCRAFT & GEREL
                                                                     3:18-cv-00091
RIVERA, YAMILETTE         NJ - USDC for the District of New Jersey                         ASHCRAFT & GEREL
                                                                     1:17-cv-02298
ROALEF, CAROLE            NJ - USDC for the District of New Jersey   3:20-cv-18048         ASHCRAFT & GEREL
ROAN, BONNIE              NJ - Superior Court - Atlantic County      ATL-L-13-16           ASHCRAFT & GEREL
ROBBINS, GWENDOLYN        NJ - USDC for the District of New Jersey   3:20-cv-13948         ASHCRAFT & GEREL
ROBERSON, ANITA           NJ - USDC for the District of New Jersey   3:19-cv-05899         ASHCRAFT & GEREL
ROBERTS, TERRI            NJ - USDC for the District of New Jersey   3:19-cv-05897         ASHCRAFT & GEREL
RODDY, DIANE              NJ - USDC for the District of New Jersey   3:18-cv-03336         ASHCRAFT & GEREL
RODELIUS, DORIS           NJ - USDC for the District of New Jersey   3:19-cv-16947         ASHCRAFT & GEREL
ROE, DELORES              NJ - Superior Court - Atlantic County      ATL-L-7-16            ASHCRAFT & GEREL
ROGERS, CYNTHIA           NJ - USDC for the District of New Jersey   3:18-cv-12745         ASHCRAFT & GEREL
ROHLMAN, ELAINE           NJ - USDC for the District of New Jersey   3:19-cv-12311         ASHCRAFT & GEREL
ROMAN, CARMEN             NJ - USDC for the District of New Jersey   3:20-cv-17283         ASHCRAFT & GEREL
ROSE, JANET               NJ - USDC for the District of New Jersey   3:18-cv-00092         ASHCRAFT & GEREL
ROSS, BETTY               NJ - USDC for the District of New Jersey   3:19-cv-16945         ASHCRAFT & GEREL
ROSS, GAIL                NJ - USDC for the District of New Jersey   3:18-cv-14416         ASHCRAFT & GEREL
ROSS, GRACE               NJ - USDC for the District of New Jersey   3:19-cv-12380         ASHCRAFT & GEREL
ROSS, LUZVIMINDA          NJ - USDC for the District of New Jersey   3:17-cv-11433         ASHCRAFT & GEREL
ROTHWELL, EMMA            NJ - USDC for the District of New Jersey   3:18-cv-00093         ASHCRAFT & GEREL
ROUX, MARY                NJ - USDC for the District of New Jersey   3:18-cv-13382         ASHCRAFT & GEREL
RUIZ, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-00205         ASHCRAFT & GEREL
RUSH, FRANCES             NJ - USDC for the District of New Jersey   3:19-cv-05894         ASHCRAFT & GEREL
RUSSELL, MARTHA           NJ - USDC for the District of New Jersey   3:19-cv-01446         ASHCRAFT & GEREL
RUTHERFORD, MARY          MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
RUTLEDGE, ELAINE          NJ - USDC for the District of New Jersey   3:18-cv-04727         ASHCRAFT & GEREL
RYAN, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-00423         ASHCRAFT & GEREL
RYAN, LILLIAN             NJ - USDC for the District of New Jersey   3:19-cv-16943         ASHCRAFT & GEREL
SACHER, HELENE            NJ - USDC for the District of New Jersey   3:19-cv-12420         ASHCRAFT & GEREL
SALDANA-KINTNER, LAURA    NJ - USDC for the District of New Jersey   3:17-cv-04353         ASHCRAFT & GEREL
SANCHEZ, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-12336         ASHCRAFT & GEREL
SANTO, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-12334         ASHCRAFT & GEREL
SAPP, TRACI               NJ - USDC for the District of New Jersey   3:18-cv-12755         ASHCRAFT & GEREL
SARANTOU, AMY             NJ - USDC for the District of New Jersey   3:18-cv-04746         ASHCRAFT & GEREL
SARCONE, NANCY            NJ - Superior Court - Atlantic County      ATL-L-003072-18       ASHCRAFT & GEREL
SAVONA, MAUREEN           NJ - USDC for the District of New Jersey   3:18-cv-08594         ASHCRAFT & GEREL
SAWYER, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-15136         ASHCRAFT & GEREL
SAWYER, THERESA           NJ - USDC for the District of New Jersey   3:17-cv-11279         ASHCRAFT & GEREL
SCARLATO, THERESA         NJ - USDC for the District of New Jersey   3:19-cv-07835         ASHCRAFT & GEREL
SCHEFTNER, TRACIE         MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
SCHILD, CHRISTINE         NJ - USDC for the District of New Jersey   3:18-cv-14442         ASHCRAFT & GEREL
SCHIMPF, EVELYN           NJ - USDC for the District of New Jersey   3:18-cv-17650         ASHCRAFT & GEREL
SCHMALZ, AMY              NJ - USDC for the District of New Jersey   3:17-cv-07462         ASHCRAFT & GEREL
SCHOEPP, EVA              NJ - USDC for the District of New Jersey   3:18-cv-16623         ASHCRAFT & GEREL
SCHOOLEY, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-00360         ASHCRAFT & GEREL
SCOTT, BEVERLY            NJ - USDC for the District of New Jersey   3:18-cv-05747         ASHCRAFT & GEREL
SCOTT, MICHELLE           NJ - USDC for the District of New Jersey   3:19-cv-16911         ASHCRAFT & GEREL
SCOTT, SHILINDA           NJ - USDC for the District of New Jersey   3:17-cv-11283         ASHCRAFT & GEREL
SCRUGGS, CAROLYN          NJ - USDC for the District of New Jersey   3:19-cv-07710         ASHCRAFT & GEREL
SCRUGGS, DEBBIE           NJ - USDC for the District of New Jersey   3:17-cv-10793         ASHCRAFT & GEREL
SCULLIN, HELENA           NJ - USDC for the District of New Jersey   3:17-cv-10809         ASHCRAFT & GEREL
SEAY, DARLENE             NJ - USDC for the District of New Jersey   3:19-cv-16944         ASHCRAFT & GEREL
SERIGNEY, CARRIE          NJ - USDC for the District of New Jersey   3:19-cv-03065         ASHCRAFT & GEREL
SETTIPANI, MICHELE        NJ - USDC for the District of New Jersey   3:17-cv-05224         ASHCRAFT & GEREL
SHADY, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-16619         ASHCRAFT & GEREL
SHAHHOSSEINI, MASOUMEH    NJ - USDC for the District of New Jersey   3:18-cv-14768         ASHCRAFT & GEREL
SHALLY, MARTHA            NJ - USDC for the District of New Jersey   3:18-cv-04736         ASHCRAFT & GEREL
SHARP, DORIL              NJ - USDC for the District of New Jersey   3:18-cv-00011         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SHAW, SUSITHEA            NJ - USDC for the District of New Jersey   3:20-cv-10714         ASHCRAFT & GEREL
SHEARS, EVELYN            NJ - USDC for the District of New Jersey   3:19-cv-01490         ASHCRAFT & GEREL
SHELLNUT, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-16942         ASHCRAFT & GEREL
SHELTON, DARLENE          NJ - USDC for the District of New Jersey   3:19-cv-07711         ASHCRAFT & GEREL
SHEPHERD, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-10835         ASHCRAFT & GEREL
SHEPPARD, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-07712         ASHCRAFT & GEREL
SHILLING, KATHLEEN        NJ - USDC for the District of New Jersey   3:18-cv-03273         ASHCRAFT & GEREL
SIBLEY, PHYLLIS           NJ - USDC for the District of New Jersey   3:19-cv-01964         ASHCRAFT & GEREL
SIEBER, ANNA              NJ - USDC for the District of New Jersey   3:18-cv-08859         ASHCRAFT & GEREL
SILVER, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-08903         ASHCRAFT & GEREL
SILVEY, DOROTHY           NJ - Superior Court - Atlantic County      ATL-L-003071-18       ASHCRAFT & GEREL
SIMMONS, AUDREY           NJ - USDC for the District of New Jersey   3:19-cv-05892         ASHCRAFT & GEREL
SIMMS, MADELYN            CA - Superior Court - Madera County        MCV076620             ASHCRAFT & GEREL
SIMON, JOLENE             NJ - USDC for the District of New Jersey   3:18-cv-01790         ASHCRAFT & GEREL
SIMPSON, DENISE           NJ - USDC for the District of New Jersey   3:17-cv-01546         ASHCRAFT & GEREL
SINKOVEC, NANCY           NJ - USDC for the District of New Jersey   3:17-cv-11309         ASHCRAFT & GEREL
SIRRIDGE, JOANN           NJ - USDC for the District of New Jersey   3:20-cv-15138         ASHCRAFT & GEREL
SIZEMORE, CARMEN          NJ - USDC for the District of New Jersey   3:19-cv-05889         ASHCRAFT & GEREL
SKULNIK, SYDELL           NJ - USDC for the District of New Jersey   3:18-cv-09631         ASHCRAFT & GEREL
SLANE, MADGE              NJ - USDC for the District of New Jersey   3:18-cv-16620         ASHCRAFT & GEREL
SLAWSON, ROSEMARIE        NJ - USDC for the District of New Jersey   3:19-cv-07715         ASHCRAFT & GEREL
SMART, FRANCES            NJ - USDC for the District of New Jersey   3:19-cv-12312         ASHCRAFT & GEREL
SMITH, AMYJON             NJ - USDC for the District of New Jersey   3:18-cv-00026         ASHCRAFT & GEREL
SMITH, BETTY              NJ - USDC for the District of New Jersey   3:18-cv-00073         ASHCRAFT & GEREL
SMITH, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-00094         ASHCRAFT & GEREL
SMITH, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-00027         ASHCRAFT & GEREL
SMITH, GWENDOLYN          NJ - USDC for the District of New Jersey   3:18-cv-09666         ASHCRAFT & GEREL
SMITH, KATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-07815         ASHCRAFT & GEREL
SMITH, LYNN               NJ - USDC for the District of New Jersey   3:17-cv-11431         ASHCRAFT & GEREL
SMITH, RENEE              NJ - USDC for the District of New Jersey   3:19-cv-07796         ASHCRAFT & GEREL
SMITH, SHELBY             NJ - USDC for the District of New Jersey   3:19-cv-01204         ASHCRAFT & GEREL
SMITH, SONJA              NJ - USDC for the District of New Jersey   3:19-cv-07797         ASHCRAFT & GEREL
SMITH, STEPHANIE          NJ - USDC for the District of New Jersey   3:17-cv-00881         ASHCRAFT & GEREL
SMITH, SUSAN              NJ - Superior Court - Atlantic County      ATL-L-1956-16         ASHCRAFT & GEREL
SMITH, WANDA              NJ - USDC for the District of New Jersey   3:19-cv-07798         ASHCRAFT & GEREL
SNELL, WENDY              NJ - USDC for the District of New Jersey   3:18-cv-03309         ASHCRAFT & GEREL
SNELLING, DAWN            NJ - USDC for the District of New Jersey   3:18-cv-16628         ASHCRAFT & GEREL
SNOES, JOANN              NJ - USDC for the District of New Jersey   3:21-cv-10317         ASHCRAFT & GEREL
SNOW-TRUGLIO, WENDY       NJ - USDC for the District of New Jersey   3:18-cv-04740         ASHCRAFT & GEREL
SOBOTKER, GWENDOLYN       NJ - USDC for the District of New Jersey   3:18-cv-09582         ASHCRAFT & GEREL
SOER, VICKI               NJ - USDC for the District of New Jersey   3:17-cv-11284         ASHCRAFT & GEREL
SOLIDUM, JUDITH           MO - Circuit Court - City of St. Louis     1822-CC06811          ASHCRAFT & GEREL
SOLOMON, MARTHA           NJ - USDC for the District of New Jersey   3:19-cv-16941         ASHCRAFT & GEREL
SORENSEN, STEPHANIE       NJ - USDC for the District of New Jersey   3:17-cv-07818         ASHCRAFT & GEREL
SORENSON, L               NJ - USDC for the District of New Jersey   3:19-cv-07803         ASHCRAFT & GEREL
SOUDYN, JILL              NJ - USDC for the District of New Jersey   3:19-cv-07801         ASHCRAFT & GEREL
SPANGENBERG, SUSAN        NJ - USDC for the District of New Jersey   3:19-cv-01474         ASHCRAFT & GEREL
SPIELMAN, LISA            NJ - USDC for the District of New Jersey   3:19-cv-07806         ASHCRAFT & GEREL
SPIKES, CASSANDRA         NJ - USDC for the District of New Jersey   3:21-cv-00126         ASHCRAFT & GEREL
SPIVEY, KATHY             NJ - USDC for the District of New Jersey   3:18-cv-12679         ASHCRAFT & GEREL
STALLINGS, LINDA          NJ - USDC for the District of New Jersey   3:19-cv-12376         ASHCRAFT & GEREL
STALLWORTH, MARY          NJ - USDC for the District of New Jersey   3:17-cv-06369         ASHCRAFT & GEREL
STANGELAND, LINDA         NJ - USDC for the District of New Jersey   3:18-cv-09628         ASHCRAFT & GEREL
STANLEY, BONNIE           NJ - USDC for the District of New Jersey   3:19-cv-12313         ASHCRAFT & GEREL
STANLEY, NINA             NJ - USDC for the District of New Jersey   3:21-cv-00198         ASHCRAFT & GEREL
STARK, MARY               NJ - USDC for the District of New Jersey   3:20-cv-18014         ASHCRAFT & GEREL
STARR, LISA               NJ - USDC for the District of New Jersey   3:18-cv-03310         ASHCRAFT & GEREL
STAVESKI, PATRICIA        NJ - USDC for the District of New Jersey   3:18-cv-00095         ASHCRAFT & GEREL
STEARNS, NORMA            NJ - USDC for the District of New Jersey   3:19-cv-07809         ASHCRAFT & GEREL
STEVENSON, CLAUDIA        NJ - USDC for the District of New Jersey   3:19-cv-07811         ASHCRAFT & GEREL
STOKES, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-07814         ASHCRAFT & GEREL
STRUTHERS, NANCY          NJ - USDC for the District of New Jersey   3:18-cv-04722         ASHCRAFT & GEREL
SUBER, JEAN               NJ - USDC for the District of New Jersey   3:18-cv-16647         ASHCRAFT & GEREL
SULTZE, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-07824         ASHCRAFT & GEREL
SUMMERS, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-10817         ASHCRAFT & GEREL
SUTCLIFFE, S.             NJ - Superior Court - Atlantic County      ATL-L-001344-18       ASHCRAFT & GEREL
SWANSON, HEIDI            NJ - USDC for the District of New Jersey   3:19-cv-16938         ASHCRAFT & GEREL
SWENSON, MARLYN           NJ - USDC for the District of New Jersey   3:18-cv-16657         ASHCRAFT & GEREL
SWINDLE, SUE              NJ - USDC for the District of New Jersey   3:19-cv-07815         ASHCRAFT & GEREL
SYX, SHELIA               NJ - USDC for the District of New Jersey   3:19-cv-16896         ASHCRAFT & GEREL
TALLMAN, MELISSA          NJ - USDC for the District of New Jersey   3:17-cv-08063         ASHCRAFT & GEREL
TATE, VERONICA            NJ - USDC for the District of New Jersey   3:17-cv-10825         ASHCRAFT & GEREL
TAYLOR, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-1913-16         ASHCRAFT & GEREL
TAYLOR, LAVERNE           NJ - USDC for the District of New Jersey   3:18-cv-14437         ASHCRAFT & GEREL
TAYLOR, LISETTE           NJ - Superior Court - Atlantic County      ATL-L-1675-16         ASHCRAFT & GEREL
TAYLOR, MARY              NJ - USDC for the District of New Jersey   3:19-cv-12314         ASHCRAFT & GEREL
TENHOUTEN, SHERRI         NJ - USDC for the District of New Jersey   3:17-cv-10831         ASHCRAFT & GEREL
TERANDO, LORRAINE         NJ - USDC for the District of New Jersey   3:17-cv-05225         ASHCRAFT & GEREL
TERRELL, LOIS             NJ - USDC for the District of New Jersey   3:18-cv-09667         ASHCRAFT & GEREL
TESTA, LILLIAN            NJ - Superior Court - Atlantic County      ATL-L-1315-16         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
TESTERMAN, MARY           NJ - USDC for the District of New Jersey   3:19-cv-16937         ASHCRAFT & GEREL
THOMAS, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-18023         ASHCRAFT & GEREL
THOMPSON, ANDREA          NJ - USDC for the District of New Jersey   3:18-cv-01829         ASHCRAFT & GEREL
THOMPSON, GERALDINE       NJ - USDC for the District of New Jersey   3:17-cv-11285         ASHCRAFT & GEREL
THOMPSON, LISA            NJ - USDC for the District of New Jersey   3:17-cv-02495         ASHCRAFT & GEREL
THORP, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-08711         ASHCRAFT & GEREL
THRASH, MARY              NJ - USDC for the District of New Jersey   3:19-cv-12317         ASHCRAFT & GEREL
THURMAN, MARGARET         NJ - Superior Court - Atlantic County      ATL-L-100-16          ASHCRAFT & GEREL
TILL, CONNIE              NJ - USDC for the District of New Jersey   3:19-cv-07832         ASHCRAFT & GEREL
TIMAR, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-16621         ASHCRAFT & GEREL
TOMPKINS, MARSHA          NJ - USDC for the District of New Jersey   3:19-cv-16933         ASHCRAFT & GEREL
TOTTERDALE, DARYL         NJ - USDC for the District of New Jersey   3:18-cv-12786         ASHCRAFT & GEREL
TRAHAN, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-01834         ASHCRAFT & GEREL
TRANBARGER, GLENDA        NJ - USDC for the District of New Jersey   3:19-cv-07816         ASHCRAFT & GEREL
TRAVIS, SARAH             NJ - USDC for the District of New Jersey   3:20-cv-17999         ASHCRAFT & GEREL
TRAWICK-SPEAKS, NANCY     NJ - USDC for the District of New Jersey   3:19-cv-12345         ASHCRAFT & GEREL
TUMAMBING, MERCEDES       NJ - USDC for the District of New Jersey   3:18-cv-16658         ASHCRAFT & GEREL
TVEDE, CONNIE             NJ - USDC for the District of New Jersey   3:18-cv-16607         ASHCRAFT & GEREL
VACCARO, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-08048         ASHCRAFT & GEREL
VANDENHEUBEL, ROSE        NJ - USDC for the District of New Jersey   3:21-cv-00424         ASHCRAFT & GEREL
VARVARESOS, CARLA         NJ - USDC for the District of New Jersey   3:19-cv-16929         ASHCRAFT & GEREL
VAUGHN, ALESIA            NJ - USDC for the District of New Jersey   3:18-cv-14408         ASHCRAFT & GEREL
VAWTER, DEBRA             NJ - USDC for the District of New Jersey   3:19-cv-07819         ASHCRAFT & GEREL
VERDIN, DONNIA            NJ - USDC for the District of New Jersey   3:17-cv-07980         ASHCRAFT & GEREL
VICTORY, TABITHA          NJ - USDC for the District of New Jersey   3:17-cv-10909         ASHCRAFT & GEREL
VIDAL, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-04739         ASHCRAFT & GEREL
VILLYARD, KARA            NJ - USDC for the District of New Jersey   3:18-cv-02887         ASHCRAFT & GEREL
VINSON, CHARLOTTE         NJ - USDC for the District of New Jersey   3:18-cv-12788         ASHCRAFT & GEREL
VON BROCKDORFF, LOUISE    NJ - USDC for the District of New Jersey   3:18-cv-03312         ASHCRAFT & GEREL
VONDRA, MIKA              NJ - USDC for the District of New Jersey   3:18-cv-12757         ASHCRAFT & GEREL
WAGES, MARY               NJ - USDC for the District of New Jersey   3:19-cv-07822         ASHCRAFT & GEREL
WAGNER, BRIANNA           NJ - Superior Court - Atlantic County      ATL-L-002202-19       ASHCRAFT & GEREL
WAKSMUNSKI, CONSTANCE     NJ - USDC for the District of New Jersey   3:19-cv-07818         ASHCRAFT & GEREL
WALDO, ROSA               NJ - USDC for the District of New Jersey   3:19-cv-07820         ASHCRAFT & GEREL
WALDROP, HELEN            NJ - USDC for the District of New Jersey   3:18-cv-09718         ASHCRAFT & GEREL
WALKER, HELEN             NJ - USDC for the District of New Jersey   3:19-cv-00484         ASHCRAFT & GEREL
WALKER, SHIRLEY ANN       NJ - USDC for the District of New Jersey   3:20-cv-10715         ASHCRAFT & GEREL
WALKER, WILLIE            NJ - USDC for the District of New Jersey   3:19-cv-12340         ASHCRAFT & GEREL
WALLACE, MARGIE           NJ - USDC for the District of New Jersey   3:19-cv-07781         ASHCRAFT & GEREL
WALLACE, SHADRA           NJ - Superior Court - Atlantic County      ATL-L-1509-16         ASHCRAFT & GEREL
WALTERS, AYANNA           NJ - USDC for the District of New Jersey   3:18-cv-11752         ASHCRAFT & GEREL
WALTON, AMBER             NJ - USDC for the District of New Jersey   3:20-cv-18024         ASHCRAFT & GEREL
WALTON, BERTHA            NJ - USDC for the District of New Jersey   3:18-cv-12766         ASHCRAFT & GEREL
WARD, MARGARET            NJ - USDC for the District of New Jersey   3:19-cv-07829         ASHCRAFT & GEREL
WARD, SHERRON             NJ - USDC for the District of New Jersey   3:19-cv-21072         ASHCRAFT & GEREL
WARREN, MYRIA             NJ - USDC for the District of New Jersey   3:19-cv-12326         ASHCRAFT & GEREL
WASHINGTON, LULA          NJ - USDC for the District of New Jersey   3:20-cv-18022         ASHCRAFT & GEREL
WASHINGTON, SUNDAE        NJ - USDC for the District of New Jersey   3:18-cv-01354         ASHCRAFT & GEREL
WATERS, SALLY             NJ - USDC for the District of New Jersey   3:20-cv-17961         ASHCRAFT & GEREL
WATKINS, ADELHEID         NJ - USDC for the District of New Jersey   3:18-cv-03313         ASHCRAFT & GEREL
WATKINS, GRACE            NJ - USDC for the District of New Jersey   3:17-cv-01155         ASHCRAFT & GEREL
WAUGH, CLARICE            NJ - Superior Court - Atlantic County      ATL-L-8-16            ASHCRAFT & GEREL
WEBB, PHYLLIS             NJ - USDC for the District of New Jersey   3:19-cv-12341         ASHCRAFT & GEREL
WEEKS, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-14441         ASHCRAFT & GEREL
WEEMS, MARTHA             NJ - USDC for the District of New Jersey   3:19-cv-12327         ASHCRAFT & GEREL
WEISS, SUE                NJ - USDC for the District of New Jersey   3:18-cv-09714         ASHCRAFT & GEREL
WELLINGTON, UNIQUE        NJ - USDC for the District of New Jersey   3:20-cv-01297         ASHCRAFT & GEREL
WELLS, SONYA              NJ - USDC for the District of New Jersey   3:21-cv-11141         ASHCRAFT & GEREL
WEST, AMY                 NJ - USDC for the District of New Jersey   3:18-cv-12768         ASHCRAFT & GEREL
WESTBERRY, NANCY          NJ - USDC for the District of New Jersey   3:18-cv-00096         ASHCRAFT & GEREL
WETTERSTEN, NANCY         NJ - USDC for the District of New Jersey   3:21-cv-00432         ASHCRAFT & GEREL
WHEATON, TAMRA            NJ - USDC for the District of New Jersey   3:19-cv-07830         ASHCRAFT & GEREL
WHITAKER, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-10836         ASHCRAFT & GEREL
WHITAKER, JANICE          NJ - USDC for the District of New Jersey   3:18-cv-14415         ASHCRAFT & GEREL
WHITE, AUDREY             NJ - USDC for the District of New Jersey   3:19-cv-12328         ASHCRAFT & GEREL
WHITE, CAROLYN            NJ - USDC for the District of New Jersey   3:19-cv-07831         ASHCRAFT & GEREL
WHITE, JOYCE              NJ - USDC for the District of New Jersey   3:17-cv-11303         ASHCRAFT & GEREL
WHITE, LAURIE             NJ - USDC for the District of New Jersey   3:20-cv-18017         ASHCRAFT & GEREL
WHITE, LEIGH              NJ - USDC for the District of New Jersey   3:19-cv-01455         ASHCRAFT & GEREL
WHITMON, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-12329         ASHCRAFT & GEREL
WIENER, RACHELLE          NJ - USDC for the District of New Jersey   3:17-cv-11251         ASHCRAFT & GEREL
WILBORN, EMMA             NJ - USDC for the District of New Jersey   3:17-cv-11308         ASHCRAFT & GEREL
WILDER, DEBBIE            NJ - USDC for the District of New Jersey   3:17-cv-09603         ASHCRAFT & GEREL
WILLIAMS, GAIL            NJ - USDC for the District of New Jersey   3:18-cv-12774         ASHCRAFT & GEREL
WILLIAMS, JANET           NJ - USDC for the District of New Jersey   3:18-cv-17541         ASHCRAFT & GEREL
WILLIAMS, JUDY            NJ - USDC for the District of New Jersey   3:18-cv-11606         ASHCRAFT & GEREL
WILLIAMS, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-18030         ASHCRAFT & GEREL
WILLIAMS, TRENA           NJ - USDC for the District of New Jersey   3:18-cv-12787         ASHCRAFT & GEREL
WILLIAMS, YOLANDA         NJ - USDC for the District of New Jersey   3:18-cv-03332         ASHCRAFT & GEREL
WILLIAMSON, MARY          NJ - USDC for the District of New Jersey   3:19-cv-16931         ASHCRAFT & GEREL




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WILLIS, ROSIE             NJ - USDC for the District of New Jersey   3:18-cv-12790         ASHCRAFT & GEREL
WILSON, ANITA             NJ - Superior Court - Atlantic County      ATL-L-785-16          ASHCRAFT & GEREL
WILSON, KATRINA           NJ - USDC for the District of New Jersey   3:19-cv-17902         ASHCRAFT & GEREL
WILSON, KIMBERLY          NJ - USDC for the District of New Jersey   3:19-cv-12353         ASHCRAFT & GEREL
WILSON, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-16922         ASHCRAFT & GEREL
WILSON, SHERRY            NJ - Superior Court - Atlantic County      ATL-L-1182-16         ASHCRAFT & GEREL
WILSON, TERESA            NJ - USDC for the District of New Jersey   3:17-cv-09605         ASHCRAFT & GEREL
WINTERS, MARY             NJ - USDC for the District of New Jersey   3:17-cv-10915         ASHCRAFT & GEREL
WINTERS, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-08077         ASHCRAFT & GEREL
WITTHOHN, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-06897         ASHCRAFT & GEREL
WOLFF, MARLENE            NJ - USDC for the District of New Jersey   3:17-cv-02496         ASHCRAFT & GEREL
WOOD, CATHY               NJ - USDC for the District of New Jersey   3:18-cv-14438         ASHCRAFT & GEREL
WOOD, GLORY               NJ - USDC for the District of New Jersey   3:20-cv-08392         ASHCRAFT & GEREL
WOOD, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-18027         ASHCRAFT & GEREL
WOODLE, LOUISE            NJ - USDC for the District of New Jersey   3:18-cv-04744         ASHCRAFT & GEREL
WOODS, JANET              NJ - USDC for the District of New Jersey   3:19-cv-12330         ASHCRAFT & GEREL
WOOTEN, JUNE              NJ - USDC for the District of New Jersey   3:19-cv-12331         ASHCRAFT & GEREL
WORTHINGTON, BARBARA      NJ - USDC for the District of New Jersey   3:18-cv-14055         ASHCRAFT & GEREL
WRAY, YVONNE              NJ - USDC for the District of New Jersey   3:17-cv-06371         ASHCRAFT & GEREL
WREN, BARBARA             NJ - USDC for the District of New Jersey   3:18-cv-14405         ASHCRAFT & GEREL
WRIGHT, BETTY             NJ - USDC for the District of New Jersey   3:18-cv-04751         ASHCRAFT & GEREL
WRIGHT, DIANNE            NJ - USDC for the District of New Jersey   3:17-cv-11255         ASHCRAFT & GEREL
WRIGHT-NG, SHIRLEY        NJ - USDC for the District of New Jersey   3:19-cv-07833         ASHCRAFT & GEREL
WYCKOFF, RONDA            NJ - USDC for the District of New Jersey   3:20-cv-17995         ASHCRAFT & GEREL
WYNN, DAISY               NJ - USDC for the District of New Jersey   3:19-cv-12332         ASHCRAFT & GEREL
WYNN, ROBIN               NJ - USDC for the District of New Jersey   3:18-cv-02282         ASHCRAFT & GEREL
WYROSDICK, RUBY           NJ - USDC for the District of New Jersey   3:17-cv-11310         ASHCRAFT & GEREL
YAW, TINA                 NJ - USDC for the District of New Jersey   3:18-cv-12770         ASHCRAFT & GEREL
YORK-BEY, ELEANOR         NJ - USDC for the District of New Jersey   3:17-cv-09609         ASHCRAFT & GEREL
YOST, JODIE               NJ - USDC for the District of New Jersey   3:21-cv-15887         ASHCRAFT & GEREL
YOST, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-10918         ASHCRAFT & GEREL
YOUNG, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-03314         ASHCRAFT & GEREL
YOUNG, RUTH               NJ - USDC for the District of New Jersey   3:19-cv-16897         ASHCRAFT & GEREL
ZADROZNY, JOYCE           NJ - USDC for the District of New Jersey   3:18-cv-13021         ASHCRAFT & GEREL
ZAJAC, MAUREEN            NJ - USDC for the District of New Jersey   3:18-cv-12209         ASHCRAFT & GEREL
ZENZEL, CINDY             NJ - USDC for the District of New Jersey   3:17-cv-10926         ASHCRAFT & GEREL
ZORN, ANGELA              NJ - USDC for the District of New Jersey   3:18-cv-09720         ASHCRAFT & GEREL
ABOOD, MADONNA            NJ - USDC for the District of New Jersey   3:20-cv-07517         ASHCRAFT & GEREL, LLP
AERY, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-17860         ASHCRAFT & GEREL, LLP
AFRICANO, KELLY           NJ - USDC for the District of New Jersey   3:19-cv-14599         ASHCRAFT & GEREL, LLP
ALFORD, RUBY              NJ - USDC for the District of New Jersey   3:19-cv-17778         ASHCRAFT & GEREL, LLP
ALGER, JUANITA            NJ - USDC for the District of New Jersey   3:19-cv-14174         ASHCRAFT & GEREL, LLP
ALLEN, ROSEMARY           NJ - USDC for the District of New Jersey   3:21-cv-10824         ASHCRAFT & GEREL, LLP
ALSTROM, NORMA            NJ - USDC for the District of New Jersey   3:20-cv-07506         ASHCRAFT & GEREL, LLP
ALVAREZ, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-10834         ASHCRAFT & GEREL, LLP
AMBROSE, JOANNE           NJ - USDC for the District of New Jersey   3:21-cv-14306         ASHCRAFT & GEREL, LLP
ANDERSON, ROCHARLENIA     NJ - USDC for the District of New Jersey   3:20-cv-03273         ASHCRAFT & GEREL, LLP
ANDRES, DIANA             NJ - USDC for the District of New Jersey   3:20-cv-12577         ASHCRAFT & GEREL, LLP
ANGUS, MEAGAN             NJ - USDC for the District of New Jersey   3:19-cv-06866         ASHCRAFT & GEREL, LLP
ASARO, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-03579         ASHCRAFT & GEREL, LLP
AUGUSTE, GUIRTELLE        NJ - USDC for the District of New Jersey   3:21-cv-10837         ASHCRAFT & GEREL, LLP
AULTMAN, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-17901         ASHCRAFT & GEREL, LLP
AZIMI, AZAR               NJ - USDC for the District of New Jersey   3:20-cv-07519         ASHCRAFT & GEREL, LLP
BACON, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-03766         ASHCRAFT & GEREL, LLP
BAHRE, AMY                NJ - USDC for the District of New Jersey   3:19-cv-16153         ASHCRAFT & GEREL, LLP
BAILEY, MARIE             NJ - USDC for the District of New Jersey   3:21-cv-04262         ASHCRAFT & GEREL, LLP
BAILEY, SALLY             NJ - USDC for the District of New Jersey   3:21-cv-06067         ASHCRAFT & GEREL, LLP
BAKER, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-03612         ASHCRAFT & GEREL, LLP
BAKER, MARY               NJ - USDC for the District of New Jersey   3:19-cv-19752         ASHCRAFT & GEREL, LLP
BAL, RAYNA                NJ - USDC for the District of New Jersey   3:19-cv-14173         ASHCRAFT & GEREL, LLP
BALDRIDGE, PAULINE        NJ - USDC for the District of New Jersey   3:19-cv-14175         ASHCRAFT & GEREL, LLP
BARKER, IVA               NJ - USDC for the District of New Jersey   3:20-cv-07508         ASHCRAFT & GEREL, LLP
BARNES, LIDDIE            NJ - USDC for the District of New Jersey   3:20-cv-07509         ASHCRAFT & GEREL, LLP
BARNETT, STEPHANIE        NJ - USDC for the District of New Jersey   3:21-cv-10822         ASHCRAFT & GEREL, LLP
BARR, GAIL                NJ - USDC for the District of New Jersey   3:21-cv-11902         ASHCRAFT & GEREL, LLP
BARRELL, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-16842         ASHCRAFT & GEREL, LLP
BASS, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-16038         ASHCRAFT & GEREL, LLP
BATCHELOR, EUGENIA        NJ - USDC for the District of New Jersey   3:19-cv-16757         ASHCRAFT & GEREL, LLP
BATISTE, BERNADETTE       NJ - USDC for the District of New Jersey   3:19-cv-17359         ASHCRAFT & GEREL, LLP
BATTEN, GAIL              NJ - USDC for the District of New Jersey   3:19-cv-17779         ASHCRAFT & GEREL, LLP
BEAN, KAREN               NJ - USDC for the District of New Jersey   3:19-cv-14256         ASHCRAFT & GEREL, LLP
BEATY, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-13675         ASHCRAFT & GEREL, LLP
BEBINGER, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-04266         ASHCRAFT & GEREL, LLP
BECKA, GAIL               NJ - USDC for the District of New Jersey   3:21-cv-10840         ASHCRAFT & GEREL, LLP
BELL, NELLIE              NJ - USDC for the District of New Jersey   3:19-cv-14186         ASHCRAFT & GEREL, LLP
BELLINGER, MARTHA         NJ - USDC for the District of New Jersey   3:19-cv-16756         ASHCRAFT & GEREL, LLP
BELTRAN, DEANNA           NJ - USDC for the District of New Jersey   3:21-cv-10892         ASHCRAFT & GEREL, LLP
BELUSH, CYNTHIA           NJ - USDC for the District of New Jersey   3:19-cv-19492         ASHCRAFT & GEREL, LLP
BENAVIDEZ, STACY          NJ - USDC for the District of New Jersey   3:21-cv-10904         ASHCRAFT & GEREL, LLP
BENEFIELD, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-04267         ASHCRAFT & GEREL, LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BENEFIELD, DEBRA          NJ - USDC for the District of New Jersey   3:21-cv-06102         ASHCRAFT & GEREL, LLP
BERENS, KATIE             NJ - USDC for the District of New Jersey   3:19-cv-17776         ASHCRAFT & GEREL, LLP
BEVERLY, DONNA            NJ - USDC for the District of New Jersey   3:19-cv-19491         ASHCRAFT & GEREL, LLP
BEY, ANTOINETTE           NJ - USDC for the District of New Jersey   3:20-cv-12576         ASHCRAFT & GEREL, LLP
BIENVENU, YVONNE          NJ - USDC for the District of New Jersey   3:21-cv-06110         ASHCRAFT & GEREL, LLP
BLAIR, BEATE              NJ - USDC for the District of New Jersey   3:19-cv-19541         ASHCRAFT & GEREL, LLP
BLAIR, FRANCES            NJ - USDC for the District of New Jersey   3:19-cv-16151         ASHCRAFT & GEREL, LLP
BLANTON, BETTY            NJ - USDC for the District of New Jersey   3:19-cv-19443         ASHCRAFT & GEREL, LLP
BLEVINS, CRYSTAL          NJ - USDC for the District of New Jersey   3:21-cv-06876         ASHCRAFT & GEREL, LLP
BOCOOK, CHERYL            NJ - USDC for the District of New Jersey   3:19-cv-14176         ASHCRAFT & GEREL, LLP
BOHACS, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-20720         ASHCRAFT & GEREL, LLP
BOHANNON, ELEANOR         NJ - USDC for the District of New Jersey   3:19-cv-19569         ASHCRAFT & GEREL, LLP
BOLDEN, BERNICE           NJ - USDC for the District of New Jersey   3:19-cv-16265         ASHCRAFT & GEREL, LLP
BOLEN, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-07592         ASHCRAFT & GEREL, LLP
BOLES, JANICE             NJ - USDC for the District of New Jersey   3:17-cv-13671         ASHCRAFT & GEREL, LLP
BOLLARD, CANDACE          NJ - USDC for the District of New Jersey   3:19-cv-19556         ASHCRAFT & GEREL, LLP
BOLTON, SUZY              NJ - USDC for the District of New Jersey   3:19-cv-16152         ASHCRAFT & GEREL, LLP
BOOKER, TENESIA           NJ - USDC for the District of New Jersey   3:20-cv-07593         ASHCRAFT & GEREL, LLP
BOULAS, ERICA             NJ - USDC for the District of New Jersey   3:19-cv-16150         ASHCRAFT & GEREL, LLP
BOWER, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-01068         ASHCRAFT & GEREL, LLP
BOWLES, ALICIA            NJ - USDC for the District of New Jersey   3:21-cv-10842         ASHCRAFT & GEREL, LLP
BOYD, ALISA               NJ - USDC for the District of New Jersey   3:21-cv-10882         ASHCRAFT & GEREL, LLP
BOYER, MELODYE            NJ - USDC for the District of New Jersey   3:19-cv-19537         ASHCRAFT & GEREL, LLP
BRANION, STEPHANIE        NJ - USDC for the District of New Jersey   3:19-cv-14255         ASHCRAFT & GEREL, LLP
BRANNAN, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-16149         ASHCRAFT & GEREL, LLP
BRISBANE, ROBYN           NJ - USDC for the District of New Jersey   3:20-cv-03745         ASHCRAFT & GEREL, LLP
BROOKS, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-14962         ASHCRAFT & GEREL, LLP
BROWN, CINDY              NJ - USDC for the District of New Jersey   3:19-cv-17250         ASHCRAFT & GEREL, LLP
BROWN, DAWN               NJ - USDC for the District of New Jersey   3:19-cv-19414         ASHCRAFT & GEREL, LLP
BROWN, MARY               NJ - USDC for the District of New Jersey   3:21-cv-11910         ASHCRAFT & GEREL, LLP
BROWNE, ALICE             NJ - USDC for the District of New Jersey   3:19-cv-19554         ASHCRAFT & GEREL, LLP
BRYANT, SHIRLEY           NJ - USDC for the District of New Jersey   3:19-cv-17305         ASHCRAFT & GEREL, LLP
BUCHANAN, JEAN            NJ - USDC for the District of New Jersey   3:21-cv-11133         ASHCRAFT & GEREL, LLP
BUEHLMAIER, KIMBERLY      NJ - USDC for the District of New Jersey   3:21-cv-04279         ASHCRAFT & GEREL, LLP
BULL, KIMBERLY            NJ - USDC for the District of New Jersey   3:19-cv-16082         ASHCRAFT & GEREL, LLP
BURCHETTE, DOLORES        NJ - USDC for the District of New Jersey   3:19-cv-17863         ASHCRAFT & GEREL, LLP
BURGE, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-20411         ASHCRAFT & GEREL, LLP
BURGESS, DIONA            NJ - USDC for the District of New Jersey   3:21-cv-10845         ASHCRAFT & GEREL, LLP
BURKE, ROSEMARY           NJ - USDC for the District of New Jersey   3:17-cv-13674         ASHCRAFT & GEREL, LLP
BURNAM, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-14298         ASHCRAFT & GEREL, LLP
BURTON, CHERYL            NJ - USDC for the District of New Jersey   3:19-cv-19490         ASHCRAFT & GEREL, LLP
BUSBIN, LYDIA             NJ - USDC for the District of New Jersey   3:19-cv-18149         ASHCRAFT & GEREL, LLP
BUTLER, GLENDA            NJ - USDC for the District of New Jersey   3:21-cv-11134         ASHCRAFT & GEREL, LLP
BUURSMA, JOYCE            NJ - USDC for the District of New Jersey   3:19-cv-19489         ASHCRAFT & GEREL, LLP
CAFFERY, STAYSHA          NJ - USDC for the District of New Jersey   3:21-cv-10883         ASHCRAFT & GEREL, LLP
CALLAHAN, PHYLIS          NJ - USDC for the District of New Jersey   3:21-cv-11955         ASHCRAFT & GEREL, LLP
CAMPBELL, ASHLEY          NJ - USDC for the District of New Jersey   3:21-cv-10884         ASHCRAFT & GEREL, LLP
CAMPBELL, BRENDA          NJ - USDC for the District of New Jersey   3:19-cv-16036         ASHCRAFT & GEREL, LLP
CAMPEN, KAREN             NJ - USDC for the District of New Jersey   3:19-cv-13371         ASHCRAFT & GEREL, LLP
CANCIENNE, HAZEL          NJ - USDC for the District of New Jersey   3:19-cv-16148         ASHCRAFT & GEREL, LLP
CANTALUPO, LOIS           NJ - USDC for the District of New Jersey   3:19-cv-17887         ASHCRAFT & GEREL, LLP
CARACCIOLO, ELSIE         NJ - USDC for the District of New Jersey   3:19-cv-19487         ASHCRAFT & GEREL, LLP
CARDAMONE, WENDY          NJ - USDC for the District of New Jersey   3:20-cv-00605         ASHCRAFT & GEREL, LLP
CAREAGA, LYDIA            NJ - USDC for the District of New Jersey   3:19-cv-17775         ASHCRAFT & GEREL, LLP
CARPENTIERI, MARY         NJ - USDC for the District of New Jersey   3:19-cv-17882         ASHCRAFT & GEREL, LLP
CARROLL, LANELLE          NJ - USDC for the District of New Jersey   3:19-cv-17900         ASHCRAFT & GEREL, LLP
CARRUBBA, MARSHA          NJ - USDC for the District of New Jersey   3:19-cv-17773         ASHCRAFT & GEREL, LLP
CARVER, MARGARITA         NJ - USDC for the District of New Jersey   3:20-cv-05817         ASHCRAFT & GEREL, LLP
CASTRO, ALICIA            NJ - USDC for the District of New Jersey   3:19-cv-17350         ASHCRAFT & GEREL, LLP
CECIL, CATHERINE          NJ - USDC for the District of New Jersey   3:21-cv-07719         ASHCRAFT & GEREL, LLP
CHAMBERS, JUDY            NJ - USDC for the District of New Jersey   3:21-cv-11905         ASHCRAFT & GEREL, LLP
CHEN, ALICE               NJ - USDC for the District of New Jersey   3:19-cv-14243         ASHCRAFT & GEREL, LLP
CHESMORE, PATSY           NJ - USDC for the District of New Jersey   3:19-cv-14244         ASHCRAFT & GEREL, LLP
CHITWOOD, MARIETTA        NJ - USDC for the District of New Jersey   3:21-cv-10899         ASHCRAFT & GEREL, LLP
CHMURA, RITA              NJ - USDC for the District of New Jersey   3:20-cv-07594         ASHCRAFT & GEREL, LLP
CHUMBURIDZE, TEO          NJ - USDC for the District of New Jersey   3:21-cv-14295         ASHCRAFT & GEREL, LLP
CLANCY, TASHINA           NJ - USDC for the District of New Jersey   3:20-cv-12574         ASHCRAFT & GEREL, LLP
CLIFFORD, EMMA            NJ - USDC for the District of New Jersey   3:19-cv-21873         ASHCRAFT & GEREL, LLP
CLUFF, GAYLE              NJ - USDC for the District of New Jersey   3:19-cv-17295         ASHCRAFT & GEREL, LLP
CLYBURN, BRIDGETTE        NJ - USDC for the District of New Jersey   3:19-cv-15912         ASHCRAFT & GEREL, LLP
COCO, RUTH                NJ - USDC for the District of New Jersey   3:19-cv-21075         ASHCRAFT & GEREL, LLP
COLEMAN, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-00607         ASHCRAFT & GEREL, LLP
COLGROVE, CATHRYN         NJ - USDC for the District of New Jersey   3:20-cv-03761         ASHCRAFT & GEREL, LLP
COLLINS, JOHNA            NJ - USDC for the District of New Jersey   3:21-cv-04811         ASHCRAFT & GEREL, LLP
COLOMBO, PAULETTE         NJ - USDC for the District of New Jersey   3:19-cv-18294         ASHCRAFT & GEREL, LLP
COMPTON, JO               NJ - USDC for the District of New Jersey   3:21-cv-10885         ASHCRAFT & GEREL, LLP
CONWAY, PAULINE           NJ - USDC for the District of New Jersey   3:19-cv-19542         ASHCRAFT & GEREL, LLP
COOK, CLAUDIA             NJ - USDC for the District of New Jersey   3:19-cv-19500         ASHCRAFT & GEREL, LLP
COOK, DEBRA               NJ - USDC for the District of New Jersey   3:19-cv-14178         ASHCRAFT & GEREL, LLP
COOPER, PAULA             NJ - USDC for the District of New Jersey   3:19-cv-19548         ASHCRAFT & GEREL, LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
COQUERAN, ALICE           NJ - USDC for the District of New Jersey   3:19-cv-19858         ASHCRAFT & GEREL, LLP
CORBITT, LULA             NJ - USDC for the District of New Jersey   3:19-cv-14179         ASHCRAFT & GEREL, LLP
CORNELIUS, BARBARA        NJ - USDC for the District of New Jersey   3:21-cv-14961         ASHCRAFT & GEREL, LLP
COX, CYNTHIA              NJ - USDC for the District of New Jersey   3:19-cv-15919         ASHCRAFT & GEREL, LLP
CRAWLEY, JOAN             NJ - USDC for the District of New Jersey   3:19-cv-14180         ASHCRAFT & GEREL, LLP
CROWE, ARITHA             NJ - USDC for the District of New Jersey   3:19-cv-15910         ASHCRAFT & GEREL, LLP
CRUZ, JOSEFINA            NJ - USDC for the District of New Jersey   3:19-cv-19454         ASHCRAFT & GEREL, LLP
CUCURELLA, LAURA          NJ - USDC for the District of New Jersey   3:19-cv-17771         ASHCRAFT & GEREL, LLP
CULLETTO, MARGARET        NJ - USDC for the District of New Jersey   3:19-cv-20463         ASHCRAFT & GEREL, LLP
CULPEPPER, ALLEGRA        NJ - USDC for the District of New Jersey   3:19-cv-16147         ASHCRAFT & GEREL, LLP
CUPSTID, LISA             NJ - USDC for the District of New Jersey   3:21-cv-04818         ASHCRAFT & GEREL, LLP
CYNTHIA, GREENE           NJ - USDC for the District of New Jersey   3:19-cv-14285         ASHCRAFT & GEREL, LLP
DALBY, PEGGY              NJ - USDC for the District of New Jersey   3:19-cv-17881         ASHCRAFT & GEREL, LLP
DALE, LANA                NJ - USDC for the District of New Jersey   3:19-cv-21699         ASHCRAFT & GEREL, LLP
DANCE, LAKEN              NJ - USDC for the District of New Jersey   3:21-cv-07716         ASHCRAFT & GEREL, LLP
DANIEL, LISA              NJ - USDC for the District of New Jersey   3:21-cv-11851         ASHCRAFT & GEREL, LLP
DASTOLI, ARLENE           NJ - USDC for the District of New Jersey   3:21-cv-04807         ASHCRAFT & GEREL, LLP
DAY, LOIS                 NJ - USDC for the District of New Jersey   3:19-cv-15613         ASHCRAFT & GEREL, LLP
DEAL, KELLY               NJ - USDC for the District of New Jersey   3:19-cv-16145         ASHCRAFT & GEREL, LLP
DEAN, LOIS                NJ - USDC for the District of New Jersey   3:21-cv-14958         ASHCRAFT & GEREL, LLP
DEAN, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-07597         ASHCRAFT & GEREL, LLP
DEAN, TAVA                NJ - USDC for the District of New Jersey   3:21-cv-10888         ASHCRAFT & GEREL, LLP
DELABARRE, GEORGIA        NJ - USDC for the District of New Jersey   3:19-cv-16144         ASHCRAFT & GEREL, LLP
DELANEY, JUDITH           NJ - USDC for the District of New Jersey   3:19-cv-14182         ASHCRAFT & GEREL, LLP
DEMETRO, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-19536         ASHCRAFT & GEREL, LLP
DENYER, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-12598         ASHCRAFT & GEREL, LLP
DIANE, DELVECCHIO         NJ - USDC for the District of New Jersey   3:19-cv-17253         ASHCRAFT & GEREL, LLP
DIAZ, MANUELA             NJ - USDC for the District of New Jersey   3:21-cv-06897         ASHCRAFT & GEREL, LLP
DICARLO, TAMMY            NJ - USDC for the District of New Jersey   3:19-cv-19553         ASHCRAFT & GEREL, LLP
DITTEMORE, DESIREE        NJ - USDC for the District of New Jersey   3:21-cv-11909         ASHCRAFT & GEREL, LLP
DODD, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-10890         ASHCRAFT & GEREL, LLP
DONALDSON, DONNA          NJ - USDC for the District of New Jersey   3:19-cv-14274         ASHCRAFT & GEREL, LLP
DOUGHERTY, EILEEN         NJ - USDC for the District of New Jersey   3:20-cv-03764         ASHCRAFT & GEREL, LLP
DREYER, PATTI             NJ - USDC for the District of New Jersey   3:19-cv-17240         ASHCRAFT & GEREL, LLP
DUKES, MAMIE              NJ - USDC for the District of New Jersey   3:19-cv-17307         ASHCRAFT & GEREL, LLP
DUNCAN, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-19738         ASHCRAFT & GEREL, LLP
DUNN, BRENDA              NJ - USDC for the District of New Jersey   3:19-cv-17879         ASHCRAFT & GEREL, LLP
DUPONT, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-17769         ASHCRAFT & GEREL, LLP
DURING, MARGALINE         NJ - USDC for the District of New Jersey   3:20-cv-07520         ASHCRAFT & GEREL, LLP
EAKER, BERTIE             NJ - USDC for the District of New Jersey   3:20-cv-12570         ASHCRAFT & GEREL, LLP
EASTERLING, GENEVA        NJ - USDC for the District of New Jersey   3:19-cv-19495         ASHCRAFT & GEREL, LLP
EBER, ELLEN               NJ - USDC for the District of New Jersey   3:20-cv-03152         ASHCRAFT & GEREL, LLP
ELDER, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-11906         ASHCRAFT & GEREL, LLP
ELDER, ROSEMARIE          NJ - USDC for the District of New Jersey   3:19-cv-19486         ASHCRAFT & GEREL, LLP
ELDRIDGE, REGINA          NJ - USDC for the District of New Jersey   3:19-cv-20449         ASHCRAFT & GEREL, LLP
ELLER, RITA               NJ - USDC for the District of New Jersey   3:19-cv-15908         ASHCRAFT & GEREL, LLP
ELLIS, CANDY              NJ - USDC for the District of New Jersey   3:19-cv-14276         ASHCRAFT & GEREL, LLP
ENGLAND, CONNIE           NJ - USDC for the District of New Jersey   3:21-cv-10962         ASHCRAFT & GEREL, LLP
ESPINOZA, RAYNA           NJ - USDC for the District of New Jersey   3:19-cv-16143         ASHCRAFT & GEREL, LLP
EVANS, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-07498         ASHCRAFT & GEREL, LLP
FAHEY, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-14292         ASHCRAFT & GEREL, LLP
FAIRLEY, AUGUSTINE        NJ - USDC for the District of New Jersey   3:19-cv-16031         ASHCRAFT & GEREL, LLP
FANSLER, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-22239         ASHCRAFT & GEREL, LLP
FARACI, JOYCE             NJ - USDC for the District of New Jersey   3:19-cv-14300         ASHCRAFT & GEREL, LLP
FARISHIAN, ESTRELLA       NJ - USDC for the District of New Jersey   3:19-cv-19484         ASHCRAFT & GEREL, LLP
FARRELL, DONNA            NJ - USDC for the District of New Jersey   3:19-cv-14602         ASHCRAFT & GEREL, LLP
FARRIS-FOSTER, VALERIE    NJ - USDC for the District of New Jersey   3:19-cv-17035         ASHCRAFT & GEREL, LLP
FAULKNER, SHERRY          NJ - USDC for the District of New Jersey   3:19-cv-15651         ASHCRAFT & GEREL, LLP
FAYARD, KIMBERLY          NJ - USDC for the District of New Jersey   3:19-cv-19860         ASHCRAFT & GEREL, LLP
FELICELLO, JANET          NJ - USDC for the District of New Jersey   3:19-cv-17339         ASHCRAFT & GEREL, LLP
FENERAN, DEBORAH          NJ - USDC for the District of New Jersey   3:19-cv-17241         ASHCRAFT & GEREL, LLP
FERARI, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-07510         ASHCRAFT & GEREL, LLP
FERREL, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-10952         ASHCRAFT & GEREL, LLP
FISHER, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-16140         ASHCRAFT & GEREL, LLP
FLESCH, VERONICA          NJ - USDC for the District of New Jersey   3:19-cv-20441         ASHCRAFT & GEREL, LLP
FLESHMAN, VICKIE          NJ - USDC for the District of New Jersey   3:21-cv-14290         ASHCRAFT & GEREL, LLP
FLETCHER, CAROLYN         NJ - USDC for the District of New Jersey   3:19-cv-17243         ASHCRAFT & GEREL, LLP
FLEURY, ROSE              NJ - USDC for the District of New Jersey   3:19-cv-16192         ASHCRAFT & GEREL, LLP
FLOWERS, SHIRLEY          NJ - USDC for the District of New Jersey   3:19-cv-16141         ASHCRAFT & GEREL, LLP
FLYNN, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-14289         ASHCRAFT & GEREL, LLP
FLYNN, REGINA             NJ - USDC for the District of New Jersey   3:19-cv-19483         ASHCRAFT & GEREL, LLP
FOGARTY, DOLORES          NJ - USDC for the District of New Jersey   3:19-cv-14303         ASHCRAFT & GEREL, LLP
FONCERRADA, PENNY         NJ - USDC for the District of New Jersey   3:19-cv-13372         ASHCRAFT & GEREL, LLP
FORGET, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-17766         ASHCRAFT & GEREL, LLP
FOSTER, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-14287         ASHCRAFT & GEREL, LLP
FRANK, MARY               NJ - USDC for the District of New Jersey   3:19-cv-20476         ASHCRAFT & GEREL, LLP
FRANKLIN, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-20956         ASHCRAFT & GEREL, LLP
FRANKOSKI, LISA           NJ - USDC for the District of New Jersey   3:21-cv-00866         ASHCRAFT & GEREL, LLP
FRANZEN, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-15924         ASHCRAFT & GEREL, LLP
FREDRICKSON, MELISSA      NJ - USDC for the District of New Jersey   3:21-cv-16904         ASHCRAFT & GEREL, LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
FREEMAN, MARY             NJ - USDC for the District of New Jersey   3:19-cv-19577         ASHCRAFT & GEREL, LLP
FULKERSON, ELRINA         NJ - USDC for the District of New Jersey   3:19-cv-17765         ASHCRAFT & GEREL, LLP
FUQUAY, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-14286         ASHCRAFT & GEREL, LLP
GALLATY, DEBRA            NJ - USDC for the District of New Jersey   3:19-cv-17242         ASHCRAFT & GEREL, LLP
GALLNITZ, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-06899         ASHCRAFT & GEREL, LLP
GALLUP, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-16142         ASHCRAFT & GEREL, LLP
GALVEZ, APRIL             NJ - USDC for the District of New Jersey   3:21-cv-10901         ASHCRAFT & GEREL, LLP
GAMACHE, REID             NJ - USDC for the District of New Jersey   3:19-cv-18961         ASHCRAFT & GEREL, LLP
GARDNER, TRACY            NJ - USDC for the District of New Jersey   3:19-cv-14280         ASHCRAFT & GEREL, LLP
GARRETSON, JANE           NJ - USDC for the District of New Jersey   3:19-cv-19857         ASHCRAFT & GEREL, LLP
GASBARRO, JOANN           NJ - USDC for the District of New Jersey   3:21-cv-11901         ASHCRAFT & GEREL, LLP
GAST, GLENDA              NJ - USDC for the District of New Jersey   3:19-cv-15921         ASHCRAFT & GEREL, LLP
GAUDET, PAULA             NJ - USDC for the District of New Jersey   3:20-cv-03771         ASHCRAFT & GEREL, LLP
GAY, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-14302         ASHCRAFT & GEREL, LLP
GEHRINGER, DARLENE        NJ - USDC for the District of New Jersey   3:21-cv-14284         ASHCRAFT & GEREL, LLP
GEORGE, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-19482         ASHCRAFT & GEREL, LLP
GEPHART, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-17341         ASHCRAFT & GEREL, LLP
GERSHENFELD, JANET        NJ - USDC for the District of New Jersey   3:20-cv-01069         ASHCRAFT & GEREL, LLP
GESUALDO, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-14282         ASHCRAFT & GEREL, LLP
GETZ, MARYANNA            NJ - Superior Court - Atlantic County      ATL-L-002628-21       ASHCRAFT & GEREL, LLP
GIAMPIETRO, JO            NJ - USDC for the District of New Jersey   3:19-cv-16139         ASHCRAFT & GEREL, LLP
GIANNA, JOANNE            NJ - USDC for the District of New Jersey   3:19-cv-17890         ASHCRAFT & GEREL, LLP
GILBERT, MARY             NJ - USDC for the District of New Jersey   3:19-cv-19552         ASHCRAFT & GEREL, LLP
GLASGOW, KATHLEEN         NJ - USDC for the District of New Jersey   3:21-cv-10915         ASHCRAFT & GEREL, LLP
GLENN, SUE                NJ - USDC for the District of New Jersey   3:19-cv-16032         ASHCRAFT & GEREL, LLP
GODSY, VICKY              NJ - USDC for the District of New Jersey   3:19-cv-19881         ASHCRAFT & GEREL, LLP
GOMEZ, ELAINE             NJ - USDC for the District of New Jersey   3:21-cv-10861         ASHCRAFT & GEREL, LLP
GOMEZ, EMILY              NJ - USDC for the District of New Jersey   3:19-cv-14283         ASHCRAFT & GEREL, LLP
GONZALEZ, IRMA            NJ - USDC for the District of New Jersey   3:19-cv-12889         ASHCRAFT & GEREL, LLP
GOODMAN, MOLLY            NJ - USDC for the District of New Jersey   3:19-cv-17247         ASHCRAFT & GEREL, LLP
GOOGE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-10893         ASHCRAFT & GEREL, LLP
GORDON, VELDA             NJ - USDC for the District of New Jersey   3:21-cv-01416         ASHCRAFT & GEREL, LLP
GRAYSON, BEVERLY          NJ - USDC for the District of New Jersey   3:21-cv-10895         ASHCRAFT & GEREL, LLP
GREEN, CHRIS              NJ - USDC for the District of New Jersey   3:20-cv-12583         ASHCRAFT & GEREL, LLP
GREEN, EDNA               NJ - USDC for the District of New Jersey   3:19-cv-19874         ASHCRAFT & GEREL, LLP
GREGA, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-16138         ASHCRAFT & GEREL, LLP
GREVE, SHEILA             NJ - USDC for the District of New Jersey   3:19-cv-17364         ASHCRAFT & GEREL, LLP
GRIFFIN, GLADYS           NJ - USDC for the District of New Jersey   3:21-cv-10963         ASHCRAFT & GEREL, LLP
GRIFFITH, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-19751         ASHCRAFT & GEREL, LLP
GRIGGS, KRISTEN           NJ - USDC for the District of New Jersey   3:19-cv-17346         ASHCRAFT & GEREL, LLP
GROMADZKI, LEE            NJ - USDC for the District of New Jersey   3:21-cv-14975         ASHCRAFT & GEREL, LLP
GROSS, SHIRLEY            NJ - USDC for the District of New Jersey   3:19-cv-17244         ASHCRAFT & GEREL, LLP
GUERNSEY, BEVERLY         NJ - USDC for the District of New Jersey   3:21-cv-14974         ASHCRAFT & GEREL, LLP
HAFFNER, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-17351         ASHCRAFT & GEREL, LLP
HAHN, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-09493         ASHCRAFT & GEREL, LLP
HALE, KATHY               NJ - USDC for the District of New Jersey   3:21-cv-10964         ASHCRAFT & GEREL, LLP
HALL, MARY                NJ - USDC for the District of New Jersey   3:19-cv-19505         ASHCRAFT & GEREL, LLP
HALL, VANESSA             NJ - USDC for the District of New Jersey   3:19-cv-17763         ASHCRAFT & GEREL, LLP
HAMMOCK, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-07524         ASHCRAFT & GEREL, LLP
HANLEY, LAURA             NJ - USDC for the District of New Jersey   3:19-cv-17762         ASHCRAFT & GEREL, LLP
HANN, SUE                 NJ - USDC for the District of New Jersey   3:20-cv-12580         ASHCRAFT & GEREL, LLP
HARBISON, BETTY           NJ - USDC for the District of New Jersey   3:19-cv-17343         ASHCRAFT & GEREL, LLP
HARPP, BETH               NJ - USDC for the District of New Jersey   3:19-cv-14284         ASHCRAFT & GEREL, LLP
HARRELL, JOANNE           NJ - USDC for the District of New Jersey   3:19-cv-14286         ASHCRAFT & GEREL, LLP
HARRINGTON, SARAH         NJ - USDC for the District of New Jersey   3:19-cv-20464         ASHCRAFT & GEREL, LLP
HARRIS, KENDRA            NJ - USDC for the District of New Jersey   3:19-cv-14245         ASHCRAFT & GEREL, LLP
HARRIS, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-16725         ASHCRAFT & GEREL, LLP
HARTMAN, DEBRA            NJ - USDC for the District of New Jersey   3:19-cv-17761         ASHCRAFT & GEREL, LLP
HAVENS, LISA              NJ - USDC for the District of New Jersey   3:21-cv-11000         ASHCRAFT & GEREL, LLP
HAWKES, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-06881         ASHCRAFT & GEREL, LLP
HAYNES, RENEE             NJ - USDC for the District of New Jersey   3:20-cv-12568         ASHCRAFT & GEREL, LLP
HAYNES, TANYA             NJ - USDC for the District of New Jersey   3:19-cv-17249         ASHCRAFT & GEREL, LLP
HAYS, HELEN               NJ - USDC for the District of New Jersey   3:19-cv-19759         ASHCRAFT & GEREL, LLP
HAYWOOD, MARIE            NJ - USDC for the District of New Jersey   3:21-cv-06070         ASHCRAFT & GEREL, LLP
HEMMIG, LORI              NJ - USDC for the District of New Jersey   3:19-cv-19572         ASHCRAFT & GEREL, LLP
HENDERSON, MICHELLE       NJ - USDC for the District of New Jersey   3:19-cv-16080         ASHCRAFT & GEREL, LLP
HENDERSON, SARA           NJ - USDC for the District of New Jersey   3:19-cv-17760         ASHCRAFT & GEREL, LLP
HERRERA, RICHANN          NJ - USDC for the District of New Jersey   3:21-cv-10896         ASHCRAFT & GEREL, LLP
HERRING, SHAUNA           NJ - USDC for the District of New Jersey   3:21-cv-10965         ASHCRAFT & GEREL, LLP
HILL, EUNICE              NJ - USDC for the District of New Jersey   3:21-cv-14969         ASHCRAFT & GEREL, LLP
HINMAN, MERRY             NJ - USDC for the District of New Jersey   3:19-cv-17839         ASHCRAFT & GEREL, LLP
HINSON, LYNDA             NJ - USDC for the District of New Jersey   3:19-cv-14289         ASHCRAFT & GEREL, LLP
HITE, KIMBERLY            NJ - USDC for the District of New Jersey   3:19-cv-17685         ASHCRAFT & GEREL, LLP
HOAGE, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-17840         ASHCRAFT & GEREL, LLP
HOERNING-THOMAS, AUDREY   NJ - USDC for the District of New Jersey   3:21-cv-11912         ASHCRAFT & GEREL, LLP
HOFFART, CONSTANCE        NJ - USDC for the District of New Jersey   3:19-cv-14292         ASHCRAFT & GEREL, LLP
HOLLAND, LYNDA            NJ - USDC for the District of New Jersey   3:19-cv-15918         ASHCRAFT & GEREL, LLP
HOOT, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-10897         ASHCRAFT & GEREL, LLP
HOOVER, CARLA             NJ - USDC for the District of New Jersey   3:21-cv-13288         ASHCRAFT & GEREL, LLP
HOOVER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-03155         ASHCRAFT & GEREL, LLP




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
HOPKINS, BRENDA                   NJ - USDC for the District of New Jersey   3:19-cv-15911         ASHCRAFT & GEREL, LLP
HORNBUCKLE, JEANETTE              NJ - USDC for the District of New Jersey   3:19-cv-19574         ASHCRAFT & GEREL, LLP
HOWARD, SHERRIE                   NJ - USDC for the District of New Jersey   3:19-cv-16030         ASHCRAFT & GEREL, LLP
HUBBARD, LORA                     NJ - USDC for the District of New Jersey   3:19-cv-16167         ASHCRAFT & GEREL, LLP
HUBBARD, PATRICIA                 NJ - USDC for the District of New Jersey   3:21-cv-10912         ASHCRAFT & GEREL, LLP
HUDSON, BRENDA                    NJ - USDC for the District of New Jersey   3:19-cv-14293         ASHCRAFT & GEREL, LLP
HUDSON, JANIS                     NJ - USDC for the District of New Jersey   3:21-cv-15468         ASHCRAFT & GEREL, LLP
HUFF, LISA                        NJ - USDC for the District of New Jersey   3:20-cv-12567         ASHCRAFT & GEREL, LLP
HUMPHREY, PATRICIA                NJ - USDC for the District of New Jersey   3:21-cv-14967         ASHCRAFT & GEREL, LLP
HUNT, DEBORAH                     NJ - USDC for the District of New Jersey   3:19-cv-16158         ASHCRAFT & GEREL, LLP
HUNT, LAUNA                       NJ - USDC for the District of New Jersey   3:21-cv-13040         ASHCRAFT & GEREL, LLP
HURLEY, BETSY                     NJ - USDC for the District of New Jersey   3:19-cv-17319         ASHCRAFT & GEREL, LLP
HUSEBO, JANICE                    NJ - USDC for the District of New Jersey   3:19-cv-19480         ASHCRAFT & GEREL, LLP
HUTCHINSON, LORI                  NJ - USDC for the District of New Jersey   3:21-cv-03607         ASHCRAFT & GEREL, LLP
HYSMITH, RHONDA                   NJ - USDC for the District of New Jersey   3:19-cv-17344         ASHCRAFT & GEREL, LLP
IRONSIDE, PATRICIA                NJ - USDC for the District of New Jersey   3:19-cv-17248         ASHCRAFT & GEREL, LLP
JACKSON, CHRISTINA                NJ - USDC for the District of New Jersey   3:19-cv-17841         ASHCRAFT & GEREL, LLP
JADALLAH, AMAL                    NJ - USDC for the District of New Jersey   3:19-cv-17547         ASHCRAFT & GEREL, LLP
JEFFERY, MARY                     NJ - USDC for the District of New Jersey   3:19-cv-19739         ASHCRAFT & GEREL, LLP
JOHNSEN, DOROTHY                  NJ - USDC for the District of New Jersey   3:19-cv-19441         ASHCRAFT & GEREL, LLP
JOHNSON, ANTIONETTE               NJ - USDC for the District of New Jersey   3:21-cv-10898         ASHCRAFT & GEREL, LLP
JOHNSON, CLARA                    NJ - USDC for the District of New Jersey   3:19-cv-19477         ASHCRAFT & GEREL, LLP
JOHNSON, KANDY                    NJ - USDC for the District of New Jersey   3:20-cv-07604         ASHCRAFT & GEREL, LLP
JOHNSON, MATILDA                  NJ - USDC for the District of New Jersey   3:21-cv-01164         ASHCRAFT & GEREL, LLP
JOHNSON, PATSY                    NJ - USDC for the District of New Jersey   3:21-cv-04817         ASHCRAFT & GEREL, LLP
JOHNSON, SHELIA                   NJ - USDC for the District of New Jersey   3:20-cv-12566         ASHCRAFT & GEREL, LLP
JONES, DIANNE                     NJ - USDC for the District of New Jersey   3:19-cv-17889         ASHCRAFT & GEREL, LLP
JONES, EMILY                      NJ - USDC for the District of New Jersey   3:20-cv-07527         ASHCRAFT & GEREL, LLP
JORDAN, CATHERINE                 NJ - USDC for the District of New Jersey   3:19-cv-16156         ASHCRAFT & GEREL, LLP
JORDAN, MILDRED                   NJ - USDC for the District of New Jersey   3:19-cv-17358         ASHCRAFT & GEREL, LLP
JUSTICE, ANGELA                   NJ - USDC for the District of New Jersey   3:19-cv-14247         ASHCRAFT & GEREL, LLP
KAHN, LIBBY                       NJ - USDC for the District of New Jersey   3:21-cv-14960         ASHCRAFT & GEREL, LLP
KALMBACH, JONQUELYNE              NJ - USDC for the District of New Jersey   3:19-cv-19476         ASHCRAFT & GEREL, LLP
KANE-HARRISON, MAUREEN            NJ - USDC for the District of New Jersey   3:21-cv-14959         ASHCRAFT & GEREL, LLP
KANTIS, SHERRI                    NJ - USDC for the District of New Jersey   3:19-cv-17842         ASHCRAFT & GEREL, LLP
KASINSKAS, ROSEMARY               NJ - USDC for the District of New Jersey   3:20-cv-07528         ASHCRAFT & GEREL, LLP
KASKEL, MARIAN                    NJ - USDC for the District of New Jersey   3:21-cv-14957         ASHCRAFT & GEREL, LLP
KATZ, PATRICE                     NJ - USDC for the District of New Jersey   3:20-cv-01071         ASHCRAFT & GEREL, LLP
KEITH, RANDY                      NJ - USDC for the District of New Jersey   3:19-cv-21074         ASHCRAFT & GEREL, LLP
KEMP, PATRICIA                    NJ - USDC for the District of New Jersey   3:17-cv-13717         ASHCRAFT & GEREL, LLP
KENDRICK, WILLIE                  NJ - USDC for the District of New Jersey   3:19-cv-17251         ASHCRAFT & GEREL, LLP
KENNON, DORSHA                    NJ - USDC for the District of New Jersey   3:19-cv-17317         ASHCRAFT & GEREL, LLP
KIMBLE, DONNA                     NJ - USDC for the District of New Jersey   3:19-cv-15920         ASHCRAFT & GEREL, LLP
KIRALY, JUDY                      NJ - USDC for the District of New Jersey   3:17-cv-13821         ASHCRAFT & GEREL, LLP
KOON, SUE                         NJ - USDC for the District of New Jersey   3:21-cv-10967         ASHCRAFT & GEREL, LLP
KORTYNA, KATHY                    NJ - USDC for the District of New Jersey   3:19-cv-14187         ASHCRAFT & GEREL, LLP
KOZECKE, LINDSEY                  NJ - USDC for the District of New Jersey   3:19-cv-15774         ASHCRAFT & GEREL, LLP
KREITZER, JULIE                   NJ - USDC for the District of New Jersey   3:19-cv-19446         ASHCRAFT & GEREL, LLP
KRESS, BOBI                       NJ - USDC for the District of New Jersey   3:19-cv-19873         ASHCRAFT & GEREL, LLP
KRONICK, LEEZA                    NJ - USDC for the District of New Jersey   3:17-cv-13722         ASHCRAFT & GEREL, LLP
KUBANEK-SVETKODICH, BARBARA NJ - USDC for the District of New Jersey         3:19-cv-19880         ASHCRAFT & GEREL, LLP
KUBISKI, TERRY                    NJ - USDC for the District of New Jersey   3:20-cv-07529         ASHCRAFT & GEREL, LLP
KUBLIC, ROSE                      NJ - USDC for the District of New Jersey   3:19-cv-19474         ASHCRAFT & GEREL, LLP
KUYKENDALL, CATHERINE             NJ - USDC for the District of New Jersey   3:19-cv-17450         ASHCRAFT & GEREL, LLP
KUYPERS, JACQUELYN                NJ - USDC for the District of New Jersey   3:19-cv-17888         ASHCRAFT & GEREL, LLP
LABORDE, ROSEMARY                 NJ - USDC for the District of New Jersey   3:20-cv-12565         ASHCRAFT & GEREL, LLP
LABRECQUE, WINIFRED               NJ - USDC for the District of New Jersey   3:19-cv-16136         ASHCRAFT & GEREL, LLP
LAICHE, SHARON                    NJ - USDC for the District of New Jersey   3:19-cv-17843         ASHCRAFT & GEREL, LLP
LAMBERT, RITA                     NJ - USDC for the District of New Jersey   3:19-cv-20721         ASHCRAFT & GEREL, LLP
LAMBERT-BUNDICK, MARY             NJ - USDC for the District of New Jersey   3:21-cv-10819         ASHCRAFT & GEREL, LLP
LAMBIE, SHERYL                    NJ - USDC for the District of New Jersey   3:19-cv-15909         ASHCRAFT & GEREL, LLP
LANCLOS, BERNICE                  NJ - USDC for the District of New Jersey   3:19-cv-19533         ASHCRAFT & GEREL, LLP
LANE, ANGELA                      NJ - USDC for the District of New Jersey   3:19-cv-20446         ASHCRAFT & GEREL, LLP
LANGIS, ELENH                     NJ - USDC for the District of New Jersey   3:19-cv-17844         ASHCRAFT & GEREL, LLP
LARA, SANDRA                      NJ - USDC for the District of New Jersey   3:19-cv-19740         ASHCRAFT & GEREL, LLP
LATTERY, DIANE                    NJ - USDC for the District of New Jersey   3:19-cv-17325         ASHCRAFT & GEREL, LLP
LAW, NANCY                        NJ - USDC for the District of New Jersey   3:19-cv-18669         ASHCRAFT & GEREL, LLP
LAWLER, BELINDA                   NJ - USDC for the District of New Jersey   3:21-cv-15471         ASHCRAFT & GEREL, LLP
LAWRENCE, ALICIA                  NJ - USDC for the District of New Jersey   3:21-cv-01163         ASHCRAFT & GEREL, LLP
LAWRENCE, PATRICIA                NJ - USDC for the District of New Jersey   3:21-cv-11913         ASHCRAFT & GEREL, LLP
LAWSON, DONNA                     NJ - USDC for the District of New Jersey   3:21-cv-10968         ASHCRAFT & GEREL, LLP
LEARY, JANINE                     NJ - USDC for the District of New Jersey   3:19-cv-17862         ASHCRAFT & GEREL, LLP
LEE, MARY                         NJ - USDC for the District of New Jersey   3:20-cv-12564         ASHCRAFT & GEREL, LLP
LEIGHTON, TAMMY                   NJ - USDC for the District of New Jersey   3:20-cv-20454         ASHCRAFT & GEREL, LLP
LEMONS, CYNTHIA                   NJ - USDC for the District of New Jersey   3:21-cv-06901         ASHCRAFT & GEREL, LLP
LESNIAK, JANE                     NJ - USDC for the District of New Jersey   3:20-cv-12563         ASHCRAFT & GEREL, LLP
LETTIRE, MICHELE                  NJ - USDC for the District of New Jersey   3:21-cv-15474         ASHCRAFT & GEREL, LLP
LEVERING, LAURA                   NJ - USDC for the District of New Jersey   3:19-cv-19573         ASHCRAFT & GEREL, LLP
LILL, EVANNE                      NJ - USDC for the District of New Jersey   3:19-cv-17845         ASHCRAFT & GEREL, LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
LINDAHL, CORAL            NJ - USDC for the District of New Jersey   3:19-cv-17846         ASHCRAFT & GEREL, LLP
LINGEN, MARY              NJ - USDC for the District of New Jersey   3:21-cv-15476         ASHCRAFT & GEREL, LLP
LINK, GLENDA              NJ - USDC for the District of New Jersey   3:21-cv-10969         ASHCRAFT & GEREL, LLP
LISKEY, SHERRI            NJ - USDC for the District of New Jersey   3:19-cv-16135         ASHCRAFT & GEREL, LLP
LITTLE, VALISIA           NJ - USDC for the District of New Jersey   3:20-cv-07530         ASHCRAFT & GEREL, LLP
LLOYD, KELLEY             NJ - USDC for the District of New Jersey   3:21-cv-07630         ASHCRAFT & GEREL, LLP
LODOVICO, JUDITH          NJ - USDC for the District of New Jersey   3:19-cv-17847         ASHCRAFT & GEREL, LLP
LOMBARDI, JOAN            NJ - USDC for the District of New Jersey   3:20-cv-07598         ASHCRAFT & GEREL, LLP
LOPEZ, MILAGROS           NJ - USDC for the District of New Jersey   3:21-cv-06890         ASHCRAFT & GEREL, LLP
LOSEY, HEATHER            NJ - USDC for the District of New Jersey   3:19-cv-20458         ASHCRAFT & GEREL, LLP
LOVE, REBECCA             NJ - USDC for the District of New Jersey   3:20-cv-03156         ASHCRAFT & GEREL, LLP
LOVELESS, TINA            NJ - USDC for the District of New Jersey   3:20-cv-07532         ASHCRAFT & GEREL, LLP
LOWENBERG, SUSAN          NJ - USDC for the District of New Jersey   3:19-cv-19444         ASHCRAFT & GEREL, LLP
LUCAS, NORMA              NJ - USDC for the District of New Jersey   3:20-cv-12562         ASHCRAFT & GEREL, LLP
LUKE, OSA                 NJ - USDC for the District of New Jersey   3:21-cv-03582         ASHCRAFT & GEREL, LLP
LUNA, PATRICIA            NJ - USDC for the District of New Jersey   3:19-cv-17848         ASHCRAFT & GEREL, LLP
LUSBY, PAULA              NJ - USDC for the District of New Jersey   3:19-cv-16154         ASHCRAFT & GEREL, LLP
MACDONALD, PAMELA         NJ - USDC for the District of New Jersey   3:19-cv-14242         ASHCRAFT & GEREL, LLP
MACON, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-06074         ASHCRAFT & GEREL, LLP
MAHER, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-11956         ASHCRAFT & GEREL, LLP
MAHONEY, MAUREEN          NJ - USDC for the District of New Jersey   3:20-cv-20415         ASHCRAFT & GEREL, LLP
MALLOY, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-15477         ASHCRAFT & GEREL, LLP
MANEVICH, PATRICIA        NJ - USDC for the District of New Jersey   3:19-cv-19341         ASHCRAFT & GEREL, LLP
MANFREDE, BETTY           NJ - USDC for the District of New Jersey   3:21-cv-14963         ASHCRAFT & GEREL, LLP
MANN, MICHELLE            NJ - USDC for the District of New Jersey   3:19-cv-14296         ASHCRAFT & GEREL, LLP
MANTHEIY, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-13817         ASHCRAFT & GEREL, LLP
MANZANARES-VELASQUEZ,
                          NJ - USDC for the District of New Jersey   3:21-cv-10902         ASHCRAFT & GEREL, LLP
JEANNETTE
MARNEY, VIVIAN            NJ - USDC for the District of New Jersey   3:19-cv-17256         ASHCRAFT & GEREL, LLP
MARRERO, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-11959         ASHCRAFT & GEREL, LLP
MARSHAK, JODY             NJ - USDC for the District of New Jersey   3:21-cv-04820         ASHCRAFT & GEREL, LLP
MARTIN, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-11914         ASHCRAFT & GEREL, LLP
MARTIN, BONNIE            NJ - USDC for the District of New Jersey   3:19-cv-19741         ASHCRAFT & GEREL, LLP
MARTIN, CINDY             NJ - USDC for the District of New Jersey   3:21-cv-11916         ASHCRAFT & GEREL, LLP
MARTIN, CINDY             NJ - USDC for the District of New Jersey   3:21-cv-10970         ASHCRAFT & GEREL, LLP
MARTIN, LOUISE            NJ - USDC for the District of New Jersey   3:19-cv-17280         ASHCRAFT & GEREL, LLP
MARTIN, VIRGINIA          NJ - USDC for the District of New Jersey   3:19-cv-14246         ASHCRAFT & GEREL, LLP
MARTINEZ, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-15480         ASHCRAFT & GEREL, LLP
MASON, CLARA              NJ - USDC for the District of New Jersey   3:19-cv-16133         ASHCRAFT & GEREL, LLP
MASON, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-03570         ASHCRAFT & GEREL, LLP
MATTHEWS, EVELYNE         NJ - USDC for the District of New Jersey   3:19-cv-18671         ASHCRAFT & GEREL, LLP
MAY, NANCY                NJ - USDC for the District of New Jersey   3:19-cv-17290         ASHCRAFT & GEREL, LLP
MAYER, GINA               NJ - USDC for the District of New Jersey   3:21-cv-10918         ASHCRAFT & GEREL, LLP
MAYETTE, MARY             NJ - USDC for the District of New Jersey   3:19-cv-16504         ASHCRAFT & GEREL, LLP
MAYON, ELAINE             NJ - USDC for the District of New Jersey   3:18-cv-10774         ASHCRAFT & GEREL, LLP
MCADAMS, LOU              NJ - USDC for the District of New Jersey   3:21-cv-04240         ASHCRAFT & GEREL, LLP
MCCABE, STACY             NJ - USDC for the District of New Jersey   3:19-cv-17849         ASHCRAFT & GEREL, LLP
MCCAIN, HILDA             NJ - USDC for the District of New Jersey   3:19-cv-09150         ASHCRAFT & GEREL, LLP
MCCALLUM, JUDITH          NJ - USDC for the District of New Jersey   3:19-cv-16134         ASHCRAFT & GEREL, LLP
MCCOY, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-04252         ASHCRAFT & GEREL, LLP
MCCOY, SATARIA            NJ - USDC for the District of New Jersey   3:19-cv-07776         ASHCRAFT & GEREL, LLP
MCCULLOUGH, IRAZELLA      NJ - USDC for the District of New Jersey   3:19-cv-14185         ASHCRAFT & GEREL, LLP
MCCULLOUGH, LISA          NJ - USDC for the District of New Jersey   3:19-cv-17852         ASHCRAFT & GEREL, LLP
MCDERMOTT, JANET          NJ - USDC for the District of New Jersey   3:19-cv-15652         ASHCRAFT & GEREL, LLP
MCDOUGLE, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-11963         ASHCRAFT & GEREL, LLP
MCDUFFIE, VESTA           NJ - USDC for the District of New Jersey   3:21-cv-12082         ASHCRAFT & GEREL, LLP
MCHUGH, MARY              NJ - USDC for the District of New Jersey   3:19-cv-15923         ASHCRAFT & GEREL, LLP
MCKAY, MARGARET           NJ - USDC for the District of New Jersey   3:19-cv-17362         ASHCRAFT & GEREL, LLP
MCKINNEY, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-11965         ASHCRAFT & GEREL, LLP
MCLAUGHLIN, KIMBERLY      NJ - USDC for the District of New Jersey   3:19-cv-17365         ASHCRAFT & GEREL, LLP
MCMASTER, CATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-15483         ASHCRAFT & GEREL, LLP
MCMICHAEL, LORETTA        NJ - USDC for the District of New Jersey   3:19-cv-19475         ASHCRAFT & GEREL, LLP
MCMILLAN, GWENDOLYN       NJ - USDC for the District of New Jersey   3:21-cv-07609         ASHCRAFT & GEREL, LLP
MCMORRIS, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-13289         ASHCRAFT & GEREL, LLP
MCWOODS, SUNDRA           NJ - USDC for the District of New Jersey   3:21-cv-00867         ASHCRAFT & GEREL, LLP
MEDCALF, MARJORIE         NJ - USDC for the District of New Jersey   3:21-cv-11966         ASHCRAFT & GEREL, LLP
MELNYK, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-13163         ASHCRAFT & GEREL, LLP
MERIDA, KARYN             NJ - USDC for the District of New Jersey   3:19-cv-18670         ASHCRAFT & GEREL, LLP
METCALFE, CORDELIA        NJ - USDC for the District of New Jersey   3:20-cv-07547         ASHCRAFT & GEREL, LLP
METHENEY, SHIRLEY         NJ - USDC for the District of New Jersey   3:19-cv-14301         ASHCRAFT & GEREL, LLP
MICHAEL, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-11967         ASHCRAFT & GEREL, LLP
MILES, AMANDA             NJ - USDC for the District of New Jersey   3:21-cv-15877         ASHCRAFT & GEREL, LLP
MILLER, JULIE             NJ - USDC for the District of New Jersey   3:19-cv-17850         ASHCRAFT & GEREL, LLP
MILLER, SHARRON           NJ - USDC for the District of New Jersey   3:19-cv-16292         ASHCRAFT & GEREL, LLP
MILLS, DELORES            NJ - USDC for the District of New Jersey   3:19-cv-17780         ASHCRAFT & GEREL, LLP
MINER, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-11968         ASHCRAFT & GEREL, LLP
MING, AMANDA              NJ - USDC for the District of New Jersey   3:19-cv-19854         ASHCRAFT & GEREL, LLP
MITCHELL, DARLENE         NJ - USDC for the District of New Jersey   3:21-cv-10920         ASHCRAFT & GEREL, LLP
MONREAL, KRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-06038         ASHCRAFT & GEREL, LLP
MONROE, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-11969         ASHCRAFT & GEREL, LLP




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MONSON, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-13721         ASHCRAFT & GEREL, LLP
MOODY, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-07599         ASHCRAFT & GEREL, LLP
MOODY, LYNDA               NJ - USDC for the District of New Jersey   3:19-cv-17291         ASHCRAFT & GEREL, LLP
MOORE, ANGELA              NJ - USDC for the District of New Jersey   3:21-cv-10971         ASHCRAFT & GEREL, LLP
MOORE, DOROTHY             NJ - USDC for the District of New Jersey   3:21-cv-11970         ASHCRAFT & GEREL, LLP
MOORE, LAURA               NJ - USDC for the District of New Jersey   3:19-cv-14271         ASHCRAFT & GEREL, LLP
MOORE, MARY                NJ - USDC for the District of New Jersey   3:19-cv-20816         ASHCRAFT & GEREL, LLP
MOORE, TONYA               NJ - USDC for the District of New Jersey   3:21-cv-11908         ASHCRAFT & GEREL, LLP
MOOREHEAD, KATHY           NJ - USDC for the District of New Jersey   3:19-cv-19471         ASHCRAFT & GEREL, LLP
MORGAN, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-17854         ASHCRAFT & GEREL, LLP
MORGAN, JOY                NJ - USDC for the District of New Jersey   3:21-cv-15883         ASHCRAFT & GEREL, LLP
MORIN, JEAN                NJ - USDC for the District of New Jersey   3:20-cv-13165         ASHCRAFT & GEREL, LLP
MORRIS, JUDY               NJ - USDC for the District of New Jersey   3:21-cv-00869         ASHCRAFT & GEREL, LLP
MORRISON, DIANE            NJ - USDC for the District of New Jersey   3:19-cv-20702         ASHCRAFT & GEREL, LLP
MOSLEY, DIANNA             NJ - USDC for the District of New Jersey   3:20-cv-07548         ASHCRAFT & GEREL, LLP
MOSLEY, ROBERTA            NJ - USDC for the District of New Jersey   3:18-cv-11279         ASHCRAFT & GEREL, LLP
MOSQUEDA, ELIDA            NJ - USDC for the District of New Jersey   3:19-cv-14249         ASHCRAFT & GEREL, LLP
MOTTOLA, ANN               NJ - USDC for the District of New Jersey   3:20-cv-00478         ASHCRAFT & GEREL, LLP
MOZINGO, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-15917         ASHCRAFT & GEREL, LLP
MULE, ANGELA               NJ - USDC for the District of New Jersey   3:21-cv-11971         ASHCRAFT & GEREL, LLP
MULLEN, JOANNE             NJ - USDC for the District of New Jersey   3:19-cv-20461         ASHCRAFT & GEREL, LLP
MUMMERT, NOLA              NJ - USDC for the District of New Jersey   3:19-cv-17853         ASHCRAFT & GEREL, LLP
MUND, EILEEN               NJ - USDC for the District of New Jersey   3:21-cv-13291         ASHCRAFT & GEREL, LLP
MURPHY, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-10972         ASHCRAFT & GEREL, LLP
MYERS, BETH                NJ - USDC for the District of New Jersey   3:19-cv-22082         ASHCRAFT & GEREL, LLP
MYERS, PATRICIA            NJ - USDC for the District of New Jersey   3:19-cv-19472         ASHCRAFT & GEREL, LLP
MYLES, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-11972         ASHCRAFT & GEREL, LLP
NAPOLI, JOAN               NJ - USDC for the District of New Jersey   3:19-cv-16064         ASHCRAFT & GEREL, LLP
NATTER, ANNIE              NJ - USDC for the District of New Jersey   3:21-cv-11508         ASHCRAFT & GEREL, LLP
NAVARRO, CRYSTAL           NJ - USDC for the District of New Jersey   3:19-cv-20722         ASHCRAFT & GEREL, LLP
NEBEKER, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-15486         ASHCRAFT & GEREL, LLP
NEELAND, KIM               NJ - USDC for the District of New Jersey   3:21-cv-10922         ASHCRAFT & GEREL, LLP
NELLEN, ENOLA              NJ - USDC for the District of New Jersey   3:21-cv-10923         ASHCRAFT & GEREL, LLP
NELSON, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-07619         ASHCRAFT & GEREL, LLP
NELSON, SELENA             NJ - USDC for the District of New Jersey   3:19-cv-19551         ASHCRAFT & GEREL, LLP
NICHOLS, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-11974         ASHCRAFT & GEREL, LLP
NIMITZ, PEGGY              NJ - USDC for the District of New Jersey   3:19-cv-17876         ASHCRAFT & GEREL, LLP
NOLEN, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-11975         ASHCRAFT & GEREL, LLP
NOLTING, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-13697         ASHCRAFT & GEREL, LLP
NOTTERMANN, CAROL          NJ - USDC for the District of New Jersey   3:19-cv-17883         ASHCRAFT & GEREL, LLP
NOWICKI, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-06072         ASHCRAFT & GEREL, LLP
OATMAN, JUDY               NJ - USDC for the District of New Jersey   3:20-cv-07549         ASHCRAFT & GEREL, LLP
OBRIEN, CATHY              NJ - USDC for the District of New Jersey   3:21-cv-10973         ASHCRAFT & GEREL, LLP
OCONNELL, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-12947         ASHCRAFT & GEREL, LLP
OEI LIPP, LIAN SIANG       NJ - USDC for the District of New Jersey   3:21-cv-15479         ASHCRAFT & GEREL, LLP
ORSINI, ROSE               NJ - USDC for the District of New Jersey   3:21-cv-11723         ASHCRAFT & GEREL, LLP
OSTEN, CAROL               NJ - USDC for the District of New Jersey   3:19-cv-20443         ASHCRAFT & GEREL, LLP
OSTERLAND, RENEE           NJ - USDC for the District of New Jersey   3:19-cv-19746         ASHCRAFT & GEREL, LLP
OWENS, SARAH               NJ - USDC for the District of New Jersey   3:19-cv-16028         ASHCRAFT & GEREL, LLP
PARKER, ROBIN              NJ - USDC for the District of New Jersey   3:17-cv-13694         ASHCRAFT & GEREL, LLP
PASSIK, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-11976         ASHCRAFT & GEREL, LLP
PATAKY, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-17292         ASHCRAFT & GEREL, LLP
PATE, CHRISTY              NJ - USDC for the District of New Jersey   3:19-cv-17361         ASHCRAFT & GEREL, LLP
PATRICK, DARLENE           NJ - USDC for the District of New Jersey   03:21-cv-04922        ASHCRAFT & GEREL, LLP
PATRICK, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-04922         ASHCRAFT & GEREL, LLP
PATTERSON, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-17355         ASHCRAFT & GEREL, LLP
PATTISON, MARY             NJ - USDC for the District of New Jersey   3:21-cv-15489         ASHCRAFT & GEREL, LLP
PATTON, ROSEMARY           NJ - USDC for the District of New Jersey   3:20-cv-07550         ASHCRAFT & GEREL, LLP
PEABODY, VITA              NJ - USDC for the District of New Jersey   3:19-cv-17293         ASHCRAFT & GEREL, LLP
PEACH, VICTORIA            NJ - USDC for the District of New Jersey   3:19-cv-20437         ASHCRAFT & GEREL, LLP
PEARCE, MARY               NJ - USDC for the District of New Jersey   3:21-cv-15494         ASHCRAFT & GEREL, LLP
PEARSON, KATHRYN           NJ - USDC for the District of New Jersey   3:21-cv-11977         ASHCRAFT & GEREL, LLP
PENTELLA, VICKI            NJ - USDC for the District of New Jersey   3:21-cv-00871         ASHCRAFT & GEREL, LLP
PEPIN, JEAN                NJ - USDC for the District of New Jersey   3:19-cv-16840         ASHCRAFT & GEREL, LLP
PEREZ, KATIE               NJ - USDC for the District of New Jersey   3:19-cv-19566         ASHCRAFT & GEREL, LLP
PERRY, ELLA                NJ - USDC for the District of New Jersey   3:21-cv-11978         ASHCRAFT & GEREL, LLP
PERRY, FRANCES             NJ - USDC for the District of New Jersey   3:21-cv-10823         ASHCRAFT & GEREL, LLP
PERRY, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-07551         ASHCRAFT & GEREL, LLP
PERRY, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-15496         ASHCRAFT & GEREL, LLP
PETERSON, LORIAN           NJ - USDC for the District of New Jersey   3:19-cv-14269         ASHCRAFT & GEREL, LLP
PETROFF, GERALDINE         NJ - USDC for the District of New Jersey   3:21-cv-15498         ASHCRAFT & GEREL, LLP
PHILLIPS, DESTINI          NJ - USDC for the District of New Jersey   3:21-cv-10925         ASHCRAFT & GEREL, LLP
PICKARD, MILAGROS          NJ - USDC for the District of New Jersey   3:19-cv-20447         ASHCRAFT & GEREL, LLP
PIERCE, JOYCE              NJ - USDC for the District of New Jersey   3:19-cv-17324         ASHCRAFT & GEREL, LLP
PIKUL, PAULA               NJ - USDC for the District of New Jersey   3:21-cv-15499         ASHCRAFT & GEREL, LLP
PIRRELLO, LYNNE            NJ - USDC for the District of New Jersey   3:21-cv-15501         ASHCRAFT & GEREL, LLP
PISCIONE, EVE              NJ - USDC for the District of New Jersey   3:20-cv-04289         ASHCRAFT & GEREL, LLP
PLATZ, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-19744         ASHCRAFT & GEREL, LLP
PLAVAN, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-19469         ASHCRAFT & GEREL, LLP
POWELL, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-13690         ASHCRAFT & GEREL, LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
RAMOS, SHERRYANNE         NJ - USDC for the District of New Jersey   3:21-cv-04928         ASHCRAFT & GEREL, LLP
RAYNOR, ANN               NJ - USDC for the District of New Jersey   3:19-cv-19856         ASHCRAFT & GEREL, LLP
RECTOR, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-07552         ASHCRAFT & GEREL, LLP
REESE, APRIL              NJ - USDC for the District of New Jersey   3:20-cv-04290         ASHCRAFT & GEREL, LLP
REESE, TERI               NJ - USDC for the District of New Jersey   3:20-cv-04939         ASHCRAFT & GEREL, LLP
REID, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-17870         ASHCRAFT & GEREL, LLP
REID, MICHELE             NJ - USDC for the District of New Jersey   3:19-cv-18962         ASHCRAFT & GEREL, LLP
REILLY, ALICE-MARIE       NJ - USDC for the District of New Jersey   3:20-cv-07557         ASHCRAFT & GEREL, LLP
REWINSKI, GILLA           NJ - USDC for the District of New Jersey   3:19-cv-16132         ASHCRAFT & GEREL, LLP
REYNOLDS, BETTY           NJ - USDC for the District of New Jersey   3:21-cv-15502         ASHCRAFT & GEREL, LLP
REYNOLDS, ELLEN           NJ - USDC for the District of New Jersey   3:20-cv-20414         ASHCRAFT & GEREL, LLP
REYNOLDS, SHARON          NJ - USDC for the District of New Jersey   3:21-cv-15503         ASHCRAFT & GEREL, LLP
RICE, SHERRY              NJ - USDC for the District of New Jersey   3:19-cv-17543         ASHCRAFT & GEREL, LLP
RICH, LORRAINE            NJ - USDC for the District of New Jersey   3:19-cv-09137         ASHCRAFT & GEREL, LLP
RICHARD, FRANCES          NJ - USDC for the District of New Jersey   3:21-cv-10974         ASHCRAFT & GEREL, LLP
RICHARDSON, ANA           NJ - USDC for the District of New Jersey   3:19-cv-21876         ASHCRAFT & GEREL, LLP
RICHARDSON, CYNTHIA       NJ - USDC for the District of New Jersey   3:19-cv-17360         ASHCRAFT & GEREL, LLP
RICHARDSON, LINDA         NJ - USDC for the District of New Jersey   3:19-cv-17326         ASHCRAFT & GEREL, LLP
RICHARDSON, RETHA         NJ - USDC for the District of New Jersey   3:19-cv-18295         ASHCRAFT & GEREL, LLP
RIEDERS, SUMMER           NJ - USDC for the District of New Jersey   3:21-cv-10975         ASHCRAFT & GEREL, LLP
RIGGIO, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-16022         ASHCRAFT & GEREL, LLP
RISBERG, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-17363         ASHCRAFT & GEREL, LLP
RISEMAS, DARLENE          NJ - USDC for the District of New Jersey   3:21-cv-10976         ASHCRAFT & GEREL, LLP
RIVERS, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-06883         ASHCRAFT & GEREL, LLP
ROBINSON, CLAIRE          NJ - USDC for the District of New Jersey   3:21-cv-11950         ASHCRAFT & GEREL, LLP
ROBINSON, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-09972         ASHCRAFT & GEREL, LLP
ROBINSON, LUCILLE         NJ - USDC for the District of New Jersey   3:19-cv-16130         ASHCRAFT & GEREL, LLP
RODRICKS, ANDREA          NJ - USDC for the District of New Jersey   3:19-cv-18297         ASHCRAFT & GEREL, LLP
RODRIGUEZ, EVELYN         NJ - USDC for the District of New Jersey   3:21-cv-15506         ASHCRAFT & GEREL, LLP
RODRIGUEZ, JASMINE        NJ - Superior Court - Atlantic County      ATL-L-001182-21       ASHCRAFT & GEREL, LLP
ROGERS, ELAINE            NJ - USDC for the District of New Jersey   3:21-cv-09973         ASHCRAFT & GEREL, LLP
ROGERS, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-09975         ASHCRAFT & GEREL, LLP
ROGERS, SHEILA            NJ - USDC for the District of New Jersey   3:19-cv-16131         ASHCRAFT & GEREL, LLP
ROLFER, LAURIE            NJ - USDC for the District of New Jersey   3:21-cv-10926         ASHCRAFT & GEREL, LLP
ROOD, CLARA               NJ - USDC for the District of New Jersey   3:21-cv-09976         ASHCRAFT & GEREL, LLP
ROOTE, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-10296         ASHCRAFT & GEREL, LLP
ROSE, FERRANTI            NJ - USDC for the District of New Jersey   3:19-cv-14281         ASHCRAFT & GEREL, LLP
ROSE, SYLVIA              NJ - USDC for the District of New Jersey   3:19-cv-17347         ASHCRAFT & GEREL, LLP
ROSEN, JULLIAN            NJ - USDC for the District of New Jersey   3:19-cv-15914         ASHCRAFT & GEREL, LLP
ROSENBERG, AUDREY         NJ - USDC for the District of New Jersey   3:19-cv-17294         ASHCRAFT & GEREL, LLP
ROSS, LYNN                NJ - USDC for the District of New Jersey   3:17-cv-05625         ASHCRAFT & GEREL, LLP
ROSS, MATTIE              NJ - USDC for the District of New Jersey   3:19-cv-17337         ASHCRAFT & GEREL, LLP
ROTT, DOREEN              NJ - USDC for the District of New Jersey   3:19-cv-14268         ASHCRAFT & GEREL, LLP
ROUSE, PEGGY              NJ - USDC for the District of New Jersey   3:19-cv-08586         ASHCRAFT & GEREL, LLP
RUANE, THERESE            NJ - USDC for the District of New Jersey   3:19-cv-16083         ASHCRAFT & GEREL, LLP
RUBEN, ROXANNE            NJ - USDC for the District of New Jersey   3:21-cv-03599         ASHCRAFT & GEREL, LLP
RUCKER, ALYSSA            NJ - USDC for the District of New Jersey   3:21-cv-10977         ASHCRAFT & GEREL, LLP
RUDZINSKI, CHRISTINE      NJ - USDC for the District of New Jersey   3:21-cv-10929         ASHCRAFT & GEREL, LLP
RUIZ, MARY                NJ - USDC for the District of New Jersey   3:21-cv-15507         ASHCRAFT & GEREL, LLP
RUMBAUGH, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-00609         ASHCRAFT & GEREL, LLP
RUSHIA, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-10299         ASHCRAFT & GEREL, LLP
RUSHING, KRISTIE          NJ - USDC for the District of New Jersey   3:21-cv-10300         ASHCRAFT & GEREL, LLP
RUSSO, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-11136         ASHCRAFT & GEREL, LLP
RZANCA, MARILYN           NJ - USDC for the District of New Jersey   3:19-cv-17353         ASHCRAFT & GEREL, LLP
RZEPECKI, RITA            NJ - USDC for the District of New Jersey   3:19-cv-14172         ASHCRAFT & GEREL, LLP
SABB, TRANACE             NJ - USDC for the District of New Jersey   3:19-cv-18963         ASHCRAFT & GEREL, LLP
SALYERS, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-14267         ASHCRAFT & GEREL, LLP
SAMETINI, GLORIA          NJ - USDC for the District of New Jersey   3:20-cv-07553         ASHCRAFT & GEREL, LLP
SANCHEZ, JESUSA           NJ - USDC for the District of New Jersey   3:19-cv-19579         ASHCRAFT & GEREL, LLP
SANCHEZ, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-10931         ASHCRAFT & GEREL, LLP
SAPP, EULA                NJ - USDC for the District of New Jersey   3:19-cv-19747         ASHCRAFT & GEREL, LLP
SCAFF, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-06068         ASHCRAFT & GEREL, LLP
SCARBOROUGH, PAULA        NJ - USDC for the District of New Jersey   3:21-cv-10934         ASHCRAFT & GEREL, LLP
SCHAEFERLE, JOYCE         NJ - USDC for the District of New Jersey   3:19-cv-19550         ASHCRAFT & GEREL, LLP
SCHENK, LORRAINE          NJ - USDC for the District of New Jersey   3:19-cv-17873         ASHCRAFT & GEREL, LLP
SCHILLING, EVY            NJ - USDC for the District of New Jersey   3:21-cv-07600         ASHCRAFT & GEREL, LLP
SCHMITT, SHARON           NJ - USDC for the District of New Jersey   3:19-cv-12887         ASHCRAFT & GEREL, LLP
SCHNUR, TERRY             NJ - USDC for the District of New Jersey   3:19-cv-16718         ASHCRAFT & GEREL, LLP
SCHROEDER, CHARLOTTE      NJ - USDC for the District of New Jersey   3:19-cv-16085         ASHCRAFT & GEREL, LLP
SCHULTZ, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-11139         ASHCRAFT & GEREL, LLP
SCHUT, SHERRI             NJ - USDC for the District of New Jersey   3:19-cv-17856         ASHCRAFT & GEREL, LLP
SCHWAB, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-10301         ASHCRAFT & GEREL, LLP
SCOTT, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-10303         ASHCRAFT & GEREL, LLP
SEARER, MARY              NJ - USDC for the District of New Jersey   3:19-cv-17855         ASHCRAFT & GEREL, LLP
SEGEDY, AVIS              NJ - USDC for the District of New Jersey   3:19-cv-16063         ASHCRAFT & GEREL, LLP
SETTERS, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-20723         ASHCRAFT & GEREL, LLP
SHABAZZ, SHELLEY          NJ - USDC for the District of New Jersey   3:19-cv-17330         ASHCRAFT & GEREL, LLP
SHAKESPEARE, GERALDINE    NJ - USDC for the District of New Jersey   3:20-cv-07558         ASHCRAFT & GEREL, LLP
SHARPE, DENISE            NJ - USDC for the District of New Jersey   3:19-cv-17357         ASHCRAFT & GEREL, LLP
SHAVER, JAN               NJ - USDC for the District of New Jersey   3:19-cv-17296         ASHCRAFT & GEREL, LLP




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SHEFFIELD, MARGARET        NJ - USDC for the District of New Jersey   3:21-cv-10304         ASHCRAFT & GEREL, LLP
SHELKER, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-20705         ASHCRAFT & GEREL, LLP
SHEPHERD, MICHELE          NJ - USDC for the District of New Jersey   3:19-cv-17297         ASHCRAFT & GEREL, LLP
SHERWOOD, SUZANNE          NJ - USDC for the District of New Jersey   3:19-cv-18672         ASHCRAFT & GEREL, LLP
SHIMKO, CATHERINE          NJ - USDC for the District of New Jersey   3:21-cv-10978         ASHCRAFT & GEREL, LLP
SHIRLEY, CHERYL            NJ - USDC for the District of New Jersey   3:19-cv-19749         ASHCRAFT & GEREL, LLP
SHRABLE, RAMONA            NJ - USDC for the District of New Jersey   3:20-cv-07559         ASHCRAFT & GEREL, LLP
SIDDEN, ANNA               NJ - USDC for the District of New Jersey   3:19-cv-15915         ASHCRAFT & GEREL, LLP
SIMCOCK, JACQUELINE        NJ - USDC for the District of New Jersey   03:21-cv-04935        ASHCRAFT & GEREL, LLP
SIMCOCK, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-04935         ASHCRAFT & GEREL, LLP
SIMS, DIANE                NJ - USDC for the District of New Jersey   3:19-cv-17857         ASHCRAFT & GEREL, LLP
SIMS, MYRA                 NJ - USDC for the District of New Jersey   3:21-cv-10936         ASHCRAFT & GEREL, LLP
SINCLAIR, LISA             NJ - USDC for the District of New Jersey   3:19-cv-16062         ASHCRAFT & GEREL, LLP
SINGH, RAJ                 NJ - USDC for the District of New Jersey   3:19-cv-19470         ASHCRAFT & GEREL, LLP
SISTRUNK, IRIS             NJ - USDC for the District of New Jersey   3:21-cv-06893         ASHCRAFT & GEREL, LLP
SLAUGHTER, PAMELA          NJ - USDC for the District of New Jersey   3:20-cv-03769         ASHCRAFT & GEREL, LLP
SLAVIN, JOANNE             NJ - USDC for the District of New Jersey   3:19-cv-14298         ASHCRAFT & GEREL, LLP
SLOAN, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-01072         ASHCRAFT & GEREL, LLP
SMART, LORI                NJ - USDC for the District of New Jersey   3:21-cv-07633         ASHCRAFT & GEREL, LLP
SMITH, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-10313         ASHCRAFT & GEREL, LLP
SMITH, CRYSTAL             NJ - USDC for the District of New Jersey   3:21-cv-10314         ASHCRAFT & GEREL, LLP
SMITH, DAWN                NJ - USDC for the District of New Jersey   3:20-cv-07562         ASHCRAFT & GEREL, LLP
SMITH, DEBORAH             NJ - USDC for the District of New Jersey   3:19-cv-16060         ASHCRAFT & GEREL, LLP
SMITH, EARNESTINE          NJ - USDC for the District of New Jersey   3:19-cv-19534         ASHCRAFT & GEREL, LLP
SMITH, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-10938         ASHCRAFT & GEREL, LLP
SMITH, LEILA               NJ - USDC for the District of New Jersey   3:19-cv-14252         ASHCRAFT & GEREL, LLP
SMITH, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-07563         ASHCRAFT & GEREL, LLP
SMITH, MISA                NJ - USDC for the District of New Jersey   3:21-cv-10315         ASHCRAFT & GEREL, LLP
SMITH, ROBIN               NJ - USDC for the District of New Jersey   3:19-cv-20456         ASHCRAFT & GEREL, LLP
SMITH, VALERIE             DC - USDC for the District of Columbia     1:21-cv-00890         ASHCRAFT & GEREL, LLP
SMITH, VALERIE             NJ - USDC for the District of New Jersey   3:21-cv-10316         ASHCRAFT & GEREL, LLP
SMITH-FERRELL, JANET       NJ - USDC for the District of New Jersey   3:19-cv-16023         ASHCRAFT & GEREL, LLP
SMOOT, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-03159         ASHCRAFT & GEREL, LLP
SMOTER, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-19467         ASHCRAFT & GEREL, LLP
SOUTHARD, JULIANNE         NJ - USDC for the District of New Jersey   3:19-cv-19468         ASHCRAFT & GEREL, LLP
SOUTHWICK, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-11540         ASHCRAFT & GEREL, LLP
SOWARDS, MARY              NJ - USDC for the District of New Jersey   3:19-cv-16044         ASHCRAFT & GEREL, LLP
SPAIN, LINDA LOU           NJ - USDC for the District of New Jersey   3:19-cv-17789         ASHCRAFT & GEREL, LLP
SPANGLER, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-19455         ASHCRAFT & GEREL, LLP
SPEED, KIMBERLY            NJ - USDC for the District of New Jersey   3:19-cv-09308         ASHCRAFT & GEREL, LLP
SPEER, IRENE               NJ - USDC for the District of New Jersey   3:19-cv-17366         ASHCRAFT & GEREL, LLP
SPEIGHT, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-07564         ASHCRAFT & GEREL, LLP
SPELLS, VOLETA             NJ - USDC for the District of New Jersey   3:19-cv-16027         ASHCRAFT & GEREL, LLP
SPRINGFIELD, APRIL         NJ - USDC for the District of New Jersey   3:21-cv-10319         ASHCRAFT & GEREL, LLP
SPRY, DENISE               NJ - USDC for the District of New Jersey   3:19-cv-17298         ASHCRAFT & GEREL, LLP
STAHL, LORA                NJ - USDC for the District of New Jersey   3:21-cv-11919         ASHCRAFT & GEREL, LLP
STAIGER, CATHERINE         NJ - USDC for the District of New Jersey   3:19-cv-19465         ASHCRAFT & GEREL, LLP
STALLIONS, BETTIE          NJ - USDC for the District of New Jersey   3:21-cv-10320         ASHCRAFT & GEREL, LLP
STAMPER, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-10979         ASHCRAFT & GEREL, LLP
STANDEFER, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-06867         ASHCRAFT & GEREL, LLP
STAPELTON, ANGELA          NJ - USDC for the District of New Jersey   3:19-cv-19560         ASHCRAFT & GEREL, LLP
STARMAN, KIM               NJ - USDC for the District of New Jersey   3:21-cv-10323         ASHCRAFT & GEREL, LLP
STERN, JUDY                NJ - USDC for the District of New Jersey   3:21-cv-10324         ASHCRAFT & GEREL, LLP
STIGGERS, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-17874         ASHCRAFT & GEREL, LLP
STINSON, JANET             NJ - USDC for the District of New Jersey   3:21-cv-15509         ASHCRAFT & GEREL, LLP
STOCK, VALERIE             NJ - USDC for the District of New Jersey   3:21-cv-10325         ASHCRAFT & GEREL, LLP
STOCKTON, JUNE             NJ - USDC for the District of New Jersey   3:20-cv-03274         ASHCRAFT & GEREL, LLP
STONICHER, SARAH           NJ - USDC for the District of New Jersey   3:19-cv-14265         ASHCRAFT & GEREL, LLP
STOUGH, RENITA             NJ - USDC for the District of New Jersey   3:21-cv-15511         ASHCRAFT & GEREL, LLP
STRAIGHT, LAURA            NJ - USDC for the District of New Jersey   3:21-cv-04939         ASHCRAFT & GEREL, LLP
STREET, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-12579         ASHCRAFT & GEREL, LLP
STROUD, GLORIA             NJ - USDC for the District of New Jersey   3:20-cv-07502         ASHCRAFT & GEREL, LLP
STRUVE, DARLENE            NJ - USDC for the District of New Jersey   3:20-cv-04291         ASHCRAFT & GEREL, LLP
SURGENER, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-17332         ASHCRAFT & GEREL, LLP
SWEENEY, JUDY              NJ - USDC for the District of New Jersey   3:19-cv-16043         ASHCRAFT & GEREL, LLP
SWENSON, JANICE            NJ - USDC for the District of New Jersey   3:19-cv-14188         ASHCRAFT & GEREL, LLP
SWINDLEHURST, CYNTHIA      NJ - USDC for the District of New Jersey   3:20-cv-07565         ASHCRAFT & GEREL, LLP
SWINNEY, MELINDA           NJ - USDC for the District of New Jersey   3:21-cv-04911         ASHCRAFT & GEREL, LLP
TAIBI, LILLIAN             NJ - USDC for the District of New Jersey   3:20-cv-13168         ASHCRAFT & GEREL, LLP
TARANGO, DEANNA            NJ - USDC for the District of New Jersey   3:19-cv-20817         ASHCRAFT & GEREL, LLP
TARCZY, ANTOINETTE         NJ - USDC for the District of New Jersey   3:20-cv-07512         ASHCRAFT & GEREL, LLP
TAWNEY, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-07566         ASHCRAFT & GEREL, LLP
TAYLOR, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-17299         ASHCRAFT & GEREL, LLP
TAYLOR, IOLA               NJ - USDC for the District of New Jersey   3:21-cv-10327         ASHCRAFT & GEREL, LLP
TEAGUE, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-10328         ASHCRAFT & GEREL, LLP
TERHURNE, LOIS             NJ - USDC for the District of New Jersey   3:19-cv-14266         ASHCRAFT & GEREL, LLP
TERRELL, GENEIVE           NJ - USDC for the District of New Jersey   3:19-cv-17333         ASHCRAFT & GEREL, LLP
TERRY, CATHERINE           NJ - USDC for the District of New Jersey   3:21-cv-15512         ASHCRAFT & GEREL, LLP
TERRY, SHARON              NJ - USDC for the District of New Jersey   3:19-cv-14438         ASHCRAFT & GEREL, LLP
THEROUX, CLAIRE            NJ - USDC for the District of New Jersey   3:21-cv-11952         ASHCRAFT & GEREL, LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
THOMAS, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-07504         ASHCRAFT & GEREL, LLP
THOMAS, DEBBIE            NJ - USDC for the District of New Jersey   3:21-cv-15513         ASHCRAFT & GEREL, LLP
THOMAS, ESTHER            NJ - USDC for the District of New Jersey   3:19-cv-17875         ASHCRAFT & GEREL, LLP
THOMAS, LAKISHA           NJ - USDC for the District of New Jersey   3:21-cv-10329         ASHCRAFT & GEREL, LLP
THOMASON, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-15514         ASHCRAFT & GEREL, LLP
THOMPSON, BARBARA         NJ - USDC for the District of New Jersey   3:19-cv-14248         ASHCRAFT & GEREL, LLP
THOMPSON, RENA            NJ - USDC for the District of New Jersey   3:19-cv-14260         ASHCRAFT & GEREL, LLP
THOMPSON, SHELIA          NJ - USDC for the District of New Jersey   3:20-cv-00611         ASHCRAFT & GEREL, LLP
TIMM, LISA                NJ - USDC for the District of New Jersey   3:21-cv-15515         ASHCRAFT & GEREL, LLP
TOBLIN, EILEEN            NJ - USDC for the District of New Jersey   3:19-cv-16042         ASHCRAFT & GEREL, LLP
TOLEDO, SATURNIA          NJ - USDC for the District of New Jersey   3:21-cv-06887         ASHCRAFT & GEREL, LLP
TOPLENSZKI, EVA           NJ - USDC for the District of New Jersey   3:19-cv-12948         ASHCRAFT & GEREL, LLP
TOPP, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-10330         ASHCRAFT & GEREL, LLP
TRAESTER, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-16040         ASHCRAFT & GEREL, LLP
TRAIL, RITA               NJ - USDC for the District of New Jersey   3:21-cv-06100         ASHCRAFT & GEREL, LLP
TRAPPLER, WILMA           NJ - USDC for the District of New Jersey   3:19-cv-19571         ASHCRAFT & GEREL, LLP
TREMAINE, TAWNIA          NJ - USDC for the District of New Jersey   3:21-cv-10982         ASHCRAFT & GEREL, LLP
TREPANIER, HEIDE          NJ - USDC for the District of New Jersey   3:19-cv-20460         ASHCRAFT & GEREL, LLP
TRUELAND, RUTH            NJ - USDC for the District of New Jersey   3:20-cv-07568         ASHCRAFT & GEREL, LLP
TRUJILLO, DARLENE         NJ - USDC for the District of New Jersey   3:19-cv-19459         ASHCRAFT & GEREL, LLP
TUCKER, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-16041         ASHCRAFT & GEREL, LLP
TURK, BEVERLY             NJ - USDC for the District of New Jersey   3:19-cv-19463         ASHCRAFT & GEREL, LLP
TURNER, MARY              NJ - USDC for the District of New Jersey   3:19-cv-14263         ASHCRAFT & GEREL, LLP
TURNER, NAKISHA           NJ - USDC for the District of New Jersey   3:21-cv-10983         ASHCRAFT & GEREL, LLP
TWOMBLY, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-03594         ASHCRAFT & GEREL, LLP
UDITSKY, DAVEEDA          NJ - USDC for the District of New Jersey   3:19-cv-15927         ASHCRAFT & GEREL, LLP
VAIL, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-10332         ASHCRAFT & GEREL, LLP
VANCE, MILLIE             NJ - USDC for the District of New Jersey   3:21-cv-10331         ASHCRAFT & GEREL, LLP
VANDENBERG, MARILYN       NJ - USDC for the District of New Jersey   3:19-cv-15913         ASHCRAFT & GEREL, LLP
VASSEF, ESMAT             NJ - USDC for the District of New Jersey   3:21-cv-03618         ASHCRAFT & GEREL, LLP
VAVRINEC, KIMBERLY        NJ - USDC for the District of New Jersey   3:19-cv-13574         ASHCRAFT & GEREL, LLP
VEASY-HOGG, THERESA       NJ - USDC for the District of New Jersey   3:19-cv-19549         ASHCRAFT & GEREL, LLP
VELLONE, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-20462         ASHCRAFT & GEREL, LLP
VENABLE, EDNA             NJ - USDC for the District of New Jersey   3:21-cv-07627         ASHCRAFT & GEREL, LLP
VERWEY, CANDICE           NJ - USDC for the District of New Jersey   3:19-cv-17303         ASHCRAFT & GEREL, LLP
VILEN, TRISHA             NJ - USDC for the District of New Jersey   3:19-cv-20438         ASHCRAFT & GEREL, LLP
VILLAGOMEZ, KATHLEEN      NJ - USDC for the District of New Jersey   3:20-cv-07570         ASHCRAFT & GEREL, LLP
VILLANUEVA, TINA          NJ - USDC for the District of New Jersey   3:19-cv-15926         ASHCRAFT & GEREL, LLP
VONESH, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-10334         ASHCRAFT & GEREL, LLP
VOSEFSKI, HOLLY           NJ - USDC for the District of New Jersey   3:21-cv-10984         ASHCRAFT & GEREL, LLP
VRENON, DEBORAH           NJ - USDC for the District of New Jersey   3:19-cv-20439         ASHCRAFT & GEREL, LLP
WALCH, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-10336         ASHCRAFT & GEREL, LLP
WALLACE, BETTY            NJ - USDC for the District of New Jersey   3:19-cv-20467         ASHCRAFT & GEREL, LLP
WALSH, FELICIA            NJ - USDC for the District of New Jersey   3:19-cv-19457         ASHCRAFT & GEREL, LLP
WALTERS-HAUSER, JANET     NJ - USDC for the District of New Jersey   3:19-cv-15925         ASHCRAFT & GEREL, LLP
WALTHALL, TERRI           NJ - USDC for the District of New Jersey   3:19-cv-17334         ASHCRAFT & GEREL, LLP
WARD, RACHELLE            NJ - USDC for the District of New Jersey   3:19-cv-17693         ASHCRAFT & GEREL, LLP
WARREN, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-14264         ASHCRAFT & GEREL, LLP
WASHINGTON, SHARON        NJ - USDC for the District of New Jersey   3:21-cv-10337         ASHCRAFT & GEREL, LLP
WATCHORN, BRENDA          NJ - USDC for the District of New Jersey   3:19-cv-20481         ASHCRAFT & GEREL, LLP
WATERMAN, ROSE            NJ - USDC for the District of New Jersey   3:19-cv-17301         ASHCRAFT & GEREL, LLP
WATERS, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-03275         ASHCRAFT & GEREL, LLP
WATKINS, BESSIE           NJ - USDC for the District of New Jersey   3:19-cv-14261         ASHCRAFT & GEREL, LLP
WEAVER, JOYCE             NJ - USDC for the District of New Jersey   3:19-cv-17858         ASHCRAFT & GEREL, LLP
WEBER-MULLICAN, KAREN     NJ - USDC for the District of New Jersey   3:19-cv-21882         ASHCRAFT & GEREL, LLP
WEDDINGTON, LAURA         NJ - USDC for the District of New Jersey   3:20-cv-07588         ASHCRAFT & GEREL, LLP
WEEMS, JANET              NJ - USDC for the District of New Jersey   3:21-cv-10338         ASHCRAFT & GEREL, LLP
WEINTRAUB, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-10339         ASHCRAFT & GEREL, LLP
WEISS, TERI               NJ - USDC for the District of New Jersey   3:19-cv-20466         ASHCRAFT & GEREL, LLP
WELCH, KAREN              NJ - USDC for the District of New Jersey   3:19-cv-17034         ASHCRAFT & GEREL, LLP
WELLS, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-19458         ASHCRAFT & GEREL, LLP
WELTON, RENEE             NJ - USDC for the District of New Jersey   3:21-cv-15516         ASHCRAFT & GEREL, LLP
WESAW, BEVERLY            NJ - USDC for the District of New Jersey   3:19-cv-16034         ASHCRAFT & GEREL, LLP
WHEATON, HELEN            NJ - USDC for the District of New Jersey   3:19-cv-14250         ASHCRAFT & GEREL, LLP
WHEELER, BRENDA           NJ - USDC for the District of New Jersey   3:19-cv-19565         ASHCRAFT & GEREL, LLP
WHEELER, SARAH            NJ - USDC for the District of New Jersey   3:20-cv-07514         ASHCRAFT & GEREL, LLP
WHITAKER, WANDA           NJ - USDC for the District of New Jersey   3:19-cv-19558         ASHCRAFT & GEREL, LLP
WHITE, ALICIA             NJ - USDC for the District of New Jersey   3:21-cv-10986         ASHCRAFT & GEREL, LLP
WHITE, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-14257         ASHCRAFT & GEREL, LLP
WHITE, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-13370         ASHCRAFT & GEREL, LLP
WHITE, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-17335         ASHCRAFT & GEREL, LLP
WHITE, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-11584         ASHCRAFT & GEREL, LLP
WHITE, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-09491         ASHCRAFT & GEREL, LLP
WIENCZAK, CRYSTAL         NJ - USDC for the District of New Jersey   3:19-cv-17861         ASHCRAFT & GEREL, LLP
WILBUR, GRETCHEN          NJ - USDC for the District of New Jersey   3:19-cv-11995         ASHCRAFT & GEREL, LLP
WILEY, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-10773         ASHCRAFT & GEREL, LLP
WILEY, MYRNA              NJ - USDC for the District of New Jersey   3:20-cv-07590         ASHCRAFT & GEREL, LLP
WILLETT, THERESE          NJ - USDC for the District of New Jersey   3:19-cv-14184         ASHCRAFT & GEREL, LLP
WILLIAMS, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-03577         ASHCRAFT & GEREL, LLP
WILLIAMS, DANA            NJ - USDC for the District of New Jersey   3:20-cv-07600         ASHCRAFT & GEREL, LLP




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WILLIAMS, JEANA           NJ - USDC for the District of New Jersey   3:21-cv-10988             ASHCRAFT & GEREL, LLP
WILLIAMS, MELANIE         NJ - USDC for the District of New Jersey   3:20-cv-03768             ASHCRAFT & GEREL, LLP
WILLIAMS, MELVINITA       NJ - USDC for the District of New Jersey   3:21-cv-10989             ASHCRAFT & GEREL, LLP
WILLIAMS, PAULA           NJ - USDC for the District of New Jersey   3:20-cv-13174             ASHCRAFT & GEREL, LLP
WILLIAMSON, ROSE          NJ - USDC for the District of New Jersey   3:19-cv-20465             ASHCRAFT & GEREL, LLP
WILLOW, KYE               NJ - USDC for the District of New Jersey   3:19-cv-19758             ASHCRAFT & GEREL, LLP
WINGATE, SHARYN           NJ - USDC for the District of New Jersey   3:19-cv-19875             ASHCRAFT & GEREL, LLP
WINNETT, DENYSE           NJ - USDC for the District of New Jersey   3:20-cv-02446             ASHCRAFT & GEREL, LLP
WINSTEAD, MARY            NJ - USDC for the District of New Jersey   3:21-cv-03587             ASHCRAFT & GEREL, LLP
WOJCESHONEK, LINDA        NJ - USDC for the District of New Jersey   3:20-cv-03716             ASHCRAFT & GEREL, LLP
WOLFORD, INEZ             NJ - USDC for the District of New Jersey   3:19-cv-15916             ASHCRAFT & GEREL, LLP
WOODGEARD, KATHERINE      NJ - USDC for the District of New Jersey   3:19-cv-17336             ASHCRAFT & GEREL, LLP
WOODHAM, SHERRIE          NJ - USDC for the District of New Jersey   3:21-cv-11143             ASHCRAFT & GEREL, LLP
WOODS, KIMBERLIN          NJ - USDC for the District of New Jersey   3:21-cv-10990             ASHCRAFT & GEREL, LLP
WRIGHT, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-19535             ASHCRAFT & GEREL, LLP
WRIGHT, DOROTHY           NJ - USDC for the District of New Jersey   3:19-cv-17356             ASHCRAFT & GEREL, LLP
WRIGHT, RHONDA            NJ - USDC for the District of New Jersey   3:20-cv-07601             ASHCRAFT & GEREL, LLP
YADON, LORIE              NJ - USDC for the District of New Jersey   3:20-cv-13175             ASHCRAFT & GEREL, LLP
YELVERTON, BETSY          NJ - USDC for the District of New Jersey   3:20-cv-07602             ASHCRAFT & GEREL, LLP
YLINIEMI, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-03770             ASHCRAFT & GEREL, LLP
YOUNG, BRENDA             NJ - USDC for the District of New Jersey   3:19-cv-16033             ASHCRAFT & GEREL, LLP
YOUNG, LISA               NJ - USDC for the District of New Jersey   3:21-cv-07614             ASHCRAFT & GEREL, LLP
YOUNG, PEGGY              NJ - USDC for the District of New Jersey   3:21-cv-11144             ASHCRAFT & GEREL, LLP
YOUNG, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-11145             ASHCRAFT & GEREL, LLP
YURECKO, TAWANYA          NJ - USDC for the District of New Jersey   3:19-cv-20444             ASHCRAFT & GEREL, LLP
ZACCHINO, GAETANA         NJ - USDC for the District of New Jersey   3:20-cv-07591             ASHCRAFT & GEREL, LLP
ZAMBATARO, JANET          NJ - USDC for the District of New Jersey   3:19-cv-15922             ASHCRAFT & GEREL, LLP
ZANTOW, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-17878             ASHCRAFT & GEREL, LLP
AGONOY, JANET             CA - Superior Court - Santa Clara County   18CV328222                ASPEY, WATKINS & DIESEL, PLLC
ALMANZA, SYLVIA           CA - Superior Court - San Bernardino County CIVDS1811929             ASPEY, WATKINS & DIESEL, PLLC

CAMPBELL, EMILY           CA - Superior Court - San Diego County     37-2018-22863-CU-MT-CTL ASPEY, WATKINS & DIESEL, PLLC
CHAVEZ, MICHELLE          CA - Superior Court - Santa Clara County   18CV328220                ASPEY, WATKINS & DIESEL, PLLC
CLAYTON, SILVIA           CA - Superior Court - Los Angeles County   BC705654                  ASPEY, WATKINS & DIESEL, PLLC
CUMBY, LAVERNE            CA - Superior Court - San Diego County     37-2018-23869-CU-MT-CTL ASPEY, WATKINS & DIESEL, PLLC
                                                                     30-2018-00992957-CU-MT-
GAVIN, CAMILLE            CA - Superior Court - Orange County                                  ASPEY, WATKINS & DIESEL, PLLC
                                                                     CXC
GJELOSHAJ, DRITA          CA - Superior Court - Riverside County     RIC1809105                ASPEY, WATKINS & DIESEL, PLLC
LEE, NATALIE              CA - Superior Court - Stanislaus County    CV-18-000341              ASPEY, WATKINS & DIESEL, PLLC
MARSHALL, KATHLEEN        NJ - Superior Court - Atlantic County      ATL-L-000744-18           ASPEY, WATKINS & DIESEL, PLLC
ODOM, TREINA              CA - Superior Court - Fresno County        18CECG01649               ASPEY, WATKINS & DIESEL, PLLC
ONEILL, RITA              CA - Superior Court - Los Angeles County   BC705653                  ASPEY, WATKINS & DIESEL, PLLC
PACE, WILLA               CA - Superior Court - Los Angeles County   BC705960                  ASPEY, WATKINS & DIESEL, PLLC
PENA, SILVIA              CA - Superior Court - Plumas County        CVIS-00099                ASPEY, WATKINS & DIESEL, PLLC
RENNER, DOLLY             CA - Superior Court - Humboldt County      DR180322                  ASPEY, WATKINS & DIESEL, PLLC
ROOT, LINDA               CA - Superior Court - San Bernardino County CIVDS1811937             ASPEY, WATKINS & DIESEL, PLLC

ROSEFELD, JOSEPHINE       CA - Superior Court - San Diego County     37-2018-22837-CU-MT-CTL ASPEY, WATKINS & DIESEL, PLLC
SAMPSON, BETTY            CA - Superior Court - San Joaquin County   STK-CV-UMT-2018-5647      ASPEY, WATKINS & DIESEL, PLLC
                                                                     56-2018-511678-CU-MT-
SASAKI, ELENA             CA - Superior Court - Ventura County                                 ASPEY, WATKINS & DIESEL, PLLC
                                                                     VTA
ZAMBRANO, BRIANA          CA - Superior Court - San Diego County     37-2018-22860-CU-MT-CTL ASPEY, WATKINS & DIESEL, PLLC
ABRAHAM, ASHLEY           NJ - USDC for the District of New Jersey   3:21-cv-14323             AVA LAW GROUP, INC.
PALMER, BOBBIE            NJ - USDC for the District of New Jersey   3:21-cv-16033             AVA LAW GROUP, INC.
ROSENTHAL, DEBRA          NJ - USDC for the District of New Jersey   3:21-cv-14324             AVA LAW GROUP, INC.
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
AZOVSKAYA, YEVDOKIYA      NJ - USDC for the District of New Jersey   3:21-cv-16952
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
BAXTER, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-16947
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
BOTTS, LOIS               NJ - USDC for the District of New Jersey   3:21-cv-16939
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
CHILDERS, JOYCE           NJ - USDC for the District of New Jersey   3:21-cv-16955
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
CLINEFF, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-17126
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
COWEN, JULIE              NJ - USDC for the District of New Jersey   3:21-cv-17372
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
DAWSON, KATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-16424
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
DENISE JEFFERSON          NJ - USDC for the District of New Jersey   3:21-cv-17912
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
DOLLARD, SHERWYNIA        NJ - USDC for the District of New Jersey   3:21-cv-17229
                                                                                               PLLC
                                                                                               AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
DOWNIN, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-16785
                                                                                               PLLC




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         Claimant Name                      State Filed                     Docket Number                Plaintiff Counsel
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
FORMAN, CHARLENE            NJ - USDC for the District of New Jersey   3:21-cv-17295
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
GRANT, SHEILA               NJ - USDC for the District of New Jersey   3:21-cv-17015
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
GRIFFIN, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-17131
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
GRIFFIN, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-17299
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
HANENKRATT, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-17470
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
HART, ADDIE                 NJ - USDC for the District of New Jersey   3:21-cv-17378
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
HOPKINS, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-17133
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
HUDSON, CASANDRA            NJ - USDC for the District of New Jersey   3:21-cv-16422
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
JONES, REBA                 NJ - USDC for the District of New Jersey   3:21-cv-16786
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
KEIFFER, LORI               NJ - USDC for the District of New Jersey   3:21-cv-16483
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
LOWE, JENNIFER              NJ - USDC for the District of New Jersey   3:21-cv-17087
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
MAHON, ELIZABETH            NJ - USDC for the District of New Jersey   3:21-cv-17458
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
MORRISON, CONNIE            NJ - USDC for the District of New Jersey   3:21-cv-17473
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
PRICHER, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-16418
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
RIGSBY, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-16776
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
ROWLEY, DARLENE             NJ - USDC for the District of New Jersey   3:21-cv-16787
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
SHAMSELDIN, BAHIA           NJ - USDC for the District of New Jersey   3:21-cv-17462
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
SKORACZEWSKI, PATRICIA      NJ - USDC for the District of New Jersey   3:21-cv-17233
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
SPENCE, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-17014
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ
WALTER, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-16482
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ABNER, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-11237
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ADAMS, DARLENE              NJ - USDC for the District of New Jersey   3:18-cv-09111
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ADAMS, LESLIE               NJ - USDC for the District of New Jersey   3:21-cv-11273
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ADAMS, VIRGINIA             NJ - USDC for the District of New Jersey   3:21-cv-00113
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ALBRIGHT-WILSON, JENNIFER   NJ - USDC for the District of New Jersey   3:20-cv-17742
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ALEXANDER, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-17746
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ALFORD, ALFREDIA            NJ - USDC for the District of New Jersey   3:20-cv-15927
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ALLEN, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-15918
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ALLEN-WILBORN, JANET        NJ - USDC for the District of New Jersey   3:21-cv-16200
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ALONZO, BLANCA              NJ - USDC for the District of New Jersey   3:20-cv-17794
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ANDERSON, AUTUMN            NJ - USDC for the District of New Jersey   3:20-cv-15826
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ANDERSON, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-20706
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ANDERSON, SHANNON           NJ - USDC for the District of New Jersey   3:21-cv-11374
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ANDRASI, ARLENE             NJ - USDC for the District of New Jersey   3:20-cv-17605
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ANDREWS, TESSICA            NJ - USDC for the District of New Jersey   3:21-cv-11428
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ANDRIS, LORRAINE            NJ - USDC for the District of New Jersey   3:21-cv-14497
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ARENSBERG, JEANNETTE        NJ - USDC for the District of New Jersey   3:21-cv-14158
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ARMSTRONG, CHRISTY          NJ - USDC for the District of New Jersey   3:20-cv-15998
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ARREDONDO, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-17805
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ARTON, MARGARET             NJ - USDC for the District of New Jersey   3:21-cv-15761
                                                                                            PLLC




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         Claimant Name                     State Filed                     Docket Number                Plaintiff Counsel
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ASHCRAFT, ROSEMARIE        NJ - USDC for the District of New Jersey   3:20-cv-17809
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ASHWORTH, GLORIA           NJ - USDC for the District of New Jersey   3:20-cv-14309
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ATTERBERRY, KEELER         NJ - USDC for the District of New Jersey   3:21-cv-07316
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
AUCOIN, KIM                NJ - USDC for the District of New Jersey   3:21-cv-11243
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
AVILA, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-17815
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BAILEY, ANGEL              NJ - USDC for the District of New Jersey   3:20-cv-17818
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BAILEY, ELFRIEDA           NJ - USDC for the District of New Jersey   3:21-cv-11416
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BAILEY, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-11073
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BAKER, DARLENE WILKERSON   NJ - USDC for the District of New Jersey   3:20-cv-02843
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BALFOUR, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-00894
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARBER, ANNE               NJ - USDC for the District of New Jersey   3:21-cv-11351
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARNHART, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-17823
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARNS, TAMMIE              NJ - USDC for the District of New Jersey   3:21-cv-16199
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARO, COURTNEY             NJ - USDC for the District of New Jersey   3:20-cv-17832
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARRON, EVANGELINA         NJ - USDC for the District of New Jersey   3:20-cv-17835
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARTOCCI, ANNA             NJ - USDC for the District of New Jersey   3:20-cv-17838
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARTZ, KELLI               NJ - USDC for the District of New Jersey   3:20-cv-17840
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BARWICK, ALESIA            NJ - USDC for the District of New Jersey   3:20-cv-17845
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BASINGER, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-14239
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BAUCOM, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-03108
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BEACH, JANET               NJ - USDC for the District of New Jersey   3:21-cv-15161
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BEARD, DIANNE              NJ - USDC for the District of New Jersey   3:20-cv-14458
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BECKER, MELBA              NJ - USDC for the District of New Jersey   3:21-cv-16055
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BEHRING, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-17621
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BELL, GAIL                 NJ - USDC for the District of New Jersey   3:18-cv-14482
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BELL, JENNY                NJ - USDC for the District of New Jersey   3:20-cv-17923
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BENDIGO, TONYA             NJ - USDC for the District of New Jersey   3:20-cv-17931
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BENNER, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-17601
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BENNETT, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-15173
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BETHEA, HAZEL              NJ - USDC for the District of New Jersey   3:18-cv-03541
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BHIMANI, MUNIRA            NJ - USDC for the District of New Jersey   3:20-cv-17655
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BILLUPS, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-17936
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BIVINS, ASHLEY             NJ - USDC for the District of New Jersey   3:21-cv-11429
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BLACKWELL, ELAINE          NJ - USDC for the District of New Jersey   3:21-cv-11431
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BLAKE, JUANITA             NJ - USDC for the District of New Jersey   3:20-cv-17944
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BLAND, EVELYN              NJ - USDC for the District of New Jersey   3:21-cv-14457
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BLOCKER, LATONIA           NJ - USDC for the District of New Jersey   3:21-cv-11433
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BODELL, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-16071
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BORDELON, APRIL            NJ - USDC for the District of New Jersey   3:21-cv-11435
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BORJA, FRANCES             NJ - USDC for the District of New Jersey   3:20-cv-17948
                                                                                           PLLC




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                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BORUNDA, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-03189
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BOSTON, VICKIE              NJ - USDC for the District of New Jersey   3:21-cv-15816
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BOUCH, STEPHANIE            NJ - USDC for the District of New Jersey   3:20-cv-15997
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BOUCHER, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-17964
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BOURGEOIS, LORRAINE         NJ - USDC for the District of New Jersey   3:21-cv-11205
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BOWLING, LISA               NJ - USDC for the District of New Jersey   3:21-cv-11540
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRADLEY, DONA               NJ - USDC for the District of New Jersey   3:20-cv-08957
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRANHAM, ANDREA             NJ - USDC for the District of New Jersey   3:20-cv-20091
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRANT, SOMMER               NJ - USDC for the District of New Jersey   3:20-cv-17970
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRASKETT, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-17772
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BREEDEN, LAURA              NJ - USDC for the District of New Jersey   3:21-cv-11375
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRENNAN, SUE                NJ - USDC for the District of New Jersey   3:21-cv-00621
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRESLIN, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-11345
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRETCH, TRACY               NJ - USDC for the District of New Jersey   3:20-cv-17979
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BREWER, CHERYL              NJ - USDC for the District of New Jersey   3:20-cv-17992
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRIDGE, JANET               NJ - USDC for the District of New Jersey   3:20-cv-20068
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRITTON, FELISHA            NJ - USDC for the District of New Jersey   3:20-cv-16119
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRITTON, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-15158
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROCK, PENNY                NJ - USDC for the District of New Jersey   3:21-cv-11334
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROCK, TRICIA               NJ - USDC for the District of New Jersey   3:20-cv-15307
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROOKS, HARRIET             NJ - USDC for the District of New Jersey   3:18-cv-16812
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROOKS, HURRACANE           NJ - USDC for the District of New Jersey   3:20-cv-15317
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROOKS, LORI                NJ - USDC for the District of New Jersey   3:20-cv-09792
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROWN, CYNTHIA              NJ - USDC for the District of New Jersey   3:20-cv-10830
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROWN, KAREN                NJ - USDC for the District of New Jersey   3:20-cv-15814
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROWN, LILLIAN              NJ - USDC for the District of New Jersey   3:20-cv-18002
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROWN, ROSE                 NJ - USDC for the District of New Jersey   3:20-cv-16155
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BROWN, SARA                 NJ - USDC for the District of New Jersey   3:21-cv-11436
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BRYAN, SERITA               NJ - USDC for the District of New Jersey   3:20-cv-16091
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BUDZIUS, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-14594
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BULLARD, BRITTANY           NJ - USDC for the District of New Jersey   3:21-cv-09119
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BURCIAGA, VIRGINIA          NJ - USDC for the District of New Jersey   3:20-cv-18013
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BURKHARDT, LISA             NJ - USDC for the District of New Jersey   3:20-cv-15828
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BUSBY, GINA                 NJ - USDC for the District of New Jersey   3:21-cv-00245
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BUSH, SUE                   NJ - USDC for the District of New Jersey   3:20-cv-06077
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BUTLER, SIAN                NJ - USDC for the District of New Jersey   3:21-cv-15766
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
BUTTE, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-14153
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CAFFEE, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-13506
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CALDERON, GENEVIEVE         NJ - USDC for the District of New Jersey   3:20-cv-18047
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CALDWELL, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-16156
                                                                                            PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CAMPBELL, PEARLIE        NJ - USDC for the District of New Jersey   3:21-cv-12029
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CAPECI, ANN              NJ - USDC for the District of New Jersey   3:20-cv-15821
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CAPRIOTTI, JOANNE        NJ - USDC for the District of New Jersey   3:20-cv-02350
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARELLAS, KRISTIN        NJ - USDC for the District of New Jersey   3:20-cv-06769
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARMELO, BONITA          NJ - USDC for the District of New Jersey   3:20-cv-14384
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARMOUCHE, JUNE          NJ - USDC for the District of New Jersey   3:21-cv-11377
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARPENTER, BILLIE        NJ - USDC for the District of New Jersey   3:21-cv-11333
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARPENTER, DAWN          NJ - USDC for the District of New Jersey   3:21-cv-11524
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARTER, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-11272
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARTER, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-07205
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARTER, LAVINA           NJ - USDC for the District of New Jersey   3:20-cv-16157
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CARTIER, ROBIN           NJ - USDC for the District of New Jersey   3:20-cv-18091
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CASE, DANIELLE           NJ - USDC for the District of New Jersey   3:20-cv-16159
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CASTILLO, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-16048
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CASTILLO, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-16048
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CATES, FLORENCE          NJ - USDC for the District of New Jersey   3:21-cv-11527
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CAUDILL, MELISSA         NJ - USDC for the District of New Jersey   3:20-cv-14566
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CAYANAN, LAINNIE         NJ - USDC for the District of New Jersey   3:20-cv-09690
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CHALKER, JEANETTE        NJ - USDC for the District of New Jersey   3:20-cv-18051
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CHAMPAGNE, MANNON        NJ - USDC for the District of New Jersey   3:21-cv-11379
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CHAPALA, MARGARET        NJ - USDC for the District of New Jersey   3:20-cv-18054
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CHARBONNEAU, COLETTE     NJ - USDC for the District of New Jersey   3:20-cv-15289
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CHERRY, FRANCES          NJ - USDC for the District of New Jersey   3:21-cv-00785
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CHURCHILL, SHERRY        NJ - USDC for the District of New Jersey   3:21-cv-11336
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CLARK, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-11274
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CLARK, SHAWN             NJ - USDC for the District of New Jersey   3:21-cv-09027
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CLIFFORD, GAIL           NJ - USDC for the District of New Jersey   3:21-cv-15769
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CLOSSER, BELINDA         NJ - USDC for the District of New Jersey   3:21-cv-00240
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CLOUSER, DIANE           NJ - USDC for the District of New Jersey   3:20-cv-08749
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COBB, GLADYS             NJ - USDC for the District of New Jersey   3:20-cv-16160
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COGDELL, CATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-11064
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COLLINS, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-18129
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COLLURA, STEPHANIE       NJ - USDC for the District of New Jersey   3:21-cv-11437
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CONLEY, ARDITH           NJ - USDC for the District of New Jersey   3:21-cv-15089
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CONTE, JANICE            NJ - USDC for the District of New Jersey   3:20-cv-15517
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CONWAY, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-14210
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COOK, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-18145
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COOK, JANNETTA           NJ - USDC for the District of New Jersey   3:18-cv-00961
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COOK, KERRIE             NJ - USDC for the District of New Jersey   3:20-cv-10266
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COOPER, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-16161
                                                                                         PLLC




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                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CORBIN, GAYLE                NJ - USDC for the District of New Jersey   3:20-cv-09695
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CORDOVA, EVANGELINA          NJ - USDC for the District of New Jersey   3:20-cv-18154
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COREY, EARLENE               NJ - USDC for the District of New Jersey   3:21-cv-15285
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COSTANZA, SANDY              NJ - USDC for the District of New Jersey   3:20-cv-18159
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COSTELLO, JOANNE             NJ - USDC for the District of New Jersey   3:20-cv-14234
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
COWAN, ROXANNE               NJ - USDC for the District of New Jersey   3:21-cv-16218
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CREECH, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-00879
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CREWS, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-11603
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CRONIN, JEAN                 NJ - USDC for the District of New Jersey   3:21-cv-11349
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CROSBY, PEARL                NJ - USDC for the District of New Jersey   3:21-cv-13503
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CRUZ, ZENAIDA                NJ - USDC for the District of New Jersey   3:19-cv-16204
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CUELLAR, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-15297
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CUFF, SANDRA                 NJ - USDC for the District of New Jersey   3:20-cv-05346
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CUMMINS, BONNIE              NJ - USDC for the District of New Jersey   3:20-cv-18165
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CUMMINS, PHYLLIS             NJ - USDC for the District of New Jersey   3:21-cv-11438
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CURRY, LISA                  NJ - USDC for the District of New Jersey   3:21-cv-11426
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
CURTIS, TAMARA               NJ - USDC for the District of New Jersey   3:20-cv-15510
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAILEY, ESTHER               NJ - USDC for the District of New Jersey   3:21-cv-00876
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DALEY, JONEY                 NJ - USDC for the District of New Jersey   3:21-cv-00801
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DANIELS, SONYA               NJ - USDC for the District of New Jersey   3:20-cv-14553
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DANIELS, TIFFANY             NJ - USDC for the District of New Jersey   3:21-cv-11539
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DARDEN, KIMBERLY             NJ - USDC for the District of New Jersey   3:20-cv-03917
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DASILVA, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-15966
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAVIS, DEBRA                 NJ - USDC for the District of New Jersey   3:20-cv-05497
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAVIS, LAURA                 NJ - USDC for the District of New Jersey   3:20-cv-18297
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAVIS, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-18307
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAVIS, SHERRY                NJ - USDC for the District of New Jersey   3:20-cv-18316
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAVISON, SARAH               NJ - USDC for the District of New Jersey   3:21-cv-00919
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DAWSON, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-15526
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DE LOPEZ, JUANA              NJ - USDC for the District of New Jersey   3:20-cv-16447
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DEBERRY, SARA                NJ - USDC for the District of New Jersey   3:21-cv-14501
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DEFORERO, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-16444
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DEGUZMAN, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-16163
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DENNIS, DANIELLE             NJ - USDC for the District of New Jersey   3:21-cv-16222
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DIAZ, JULIE                  NJ - USDC for the District of New Jersey   3:21-cv-15016
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DIAZ-FERNANDEZ, JACQUELINE   NJ - USDC for the District of New Jersey   3:20-cv-16164
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DICKEY, MARYAM               NJ - USDC for the District of New Jersey   3:21-cv-12031
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DIEHL, SALLY                 NJ - USDC for the District of New Jersey   3:20-cv-16165
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DILL, KATHLEEN               NJ - USDC for the District of New Jersey   3:21-cv-15974
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DORSEY, LYNN                 NJ - USDC for the District of New Jersey   3:17-cv-10969
                                                                                             PLLC




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                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DOWDY, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-09802
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DOWNEY, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-00147
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DRAKE, LATONNA             NJ - USDC for the District of New Jersey   3:20-cv-18323
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DREIER, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-00394
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DREXEL, KELLY              NJ - USDC for the District of New Jersey   3:20-cv-18340
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DUET, LORRAINE             NJ - USDC for the District of New Jersey   3:21-cv-11380
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DUFOUR, STEPHANIE          NJ - USDC for the District of New Jersey   3:20-cv-14383
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DUNN, TRISHA               NJ - USDC for the District of New Jersey   3:21-cv-15428
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
DYKER, NOEL                NJ - USDC for the District of New Jersey   3:20-cv-16167
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
EISMAN-DORR, ROBERTA       NJ - USDC for the District of New Jersey   3:20-cv-18358
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ELDER, ILA                 NJ - USDC for the District of New Jersey   3:21-cv-11439
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ELKIN, KATHLEEN            NJ - USDC for the District of New Jersey   3:21-cv-15528
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ELLIS, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-11472
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ELLIS, JENESICA            NJ - USDC for the District of New Jersey   3:21-cv-11384
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ELLIS, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-18366
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ENGELMAN, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-16169
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ENGELSMAN, SHAWNA          NJ - USDC for the District of New Jersey   3:20-cv-06026
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ENGLISH, SARAH             NJ - USDC for the District of New Jersey   3:20-cv-20499
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ERICKSON, LUANN            NJ - USDC for the District of New Jersey   3:20-cv-15928
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ESCOBAR, ROCIO             NJ - USDC for the District of New Jersey   3:20-cv-14315
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ESPINOZA, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-09015
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
EVANS, TERESA              NJ - USDC for the District of New Jersey   3:20-cv-16174
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
EYZAGUIRRE, MARTHA         NJ - USDC for the District of New Jersey   3:21-cv-00805
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FAGAN, KELLIE              NJ - USDC for the District of New Jersey   3:20-cv-18373
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FARNSWORTH, JEANETTE       NJ - USDC for the District of New Jersey   3:20-cv-16065
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FEHR, ANNA                 NJ - USDC for the District of New Jersey   3:20-cv-18392
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FELDMAN, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-18489
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FERDINAND, PHYLLIS         NJ - USDC for the District of New Jersey   3:21-cv-11440
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FIGUEROA, ADELAIDA         NJ - USDC for the District of New Jersey   3:20-cv-18497
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FISCHESSER, ANGELA         NJ - USDC for the District of New Jersey   3:20-cv-18501
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FLORES, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-20490
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FONDULIS, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-00688
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FORD, IRENE                NJ - USDC for the District of New Jersey   3:20-cv-18513
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FOWLER, PENNY              NJ - USDC for the District of New Jersey   3:21-cv-14156
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FOX, MARIE                 NJ - USDC for the District of New Jersey   3:20-cv-14468
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FRANULOVICH-MARTIN, TINA   NJ - USDC for the District of New Jersey   3:21-cv-00736
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FREW, ELIZABETH            NJ - USDC for the District of New Jersey   3:21-cv-14494
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FRIAS, GIANNA              NJ - USDC for the District of New Jersey   3:20-cv-17640
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FROELICH, LEONA            NJ - USDC for the District of New Jersey   3:21-cv-11382
                                                                                           PLLC
                                                                                           AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
FROST, CHRISTINE           NJ - USDC for the District of New Jersey   3:21-cv-11385
                                                                                           PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GABLE, ERNESTINE         NJ - USDC for the District of New Jersey   3:21-cv-11259
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GAMMELL, LORI            NJ - USDC for the District of New Jersey   3:20-cv-15910
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GARCIA, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-11535
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GARISON, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-17729
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GARRICK, CHANTEL         NJ - USDC for the District of New Jersey   3:21-cv-11536
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GAUDIO, THELMA           NJ - USDC for the District of New Jersey   3:20-cv-03182
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GERAUER, BRENDA          NJ - USDC for the District of New Jersey   3:20-cv-16179
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GIBSON, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-14274
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GILBERT, GLADYS          NJ - USDC for the District of New Jersey   3:18-cv-10741
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GLASSER, JUDY            NJ - USDC for the District of New Jersey   3:19-cv-12094
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GOALEY, DAWN             NJ - USDC for the District of New Jersey   3:21-cv-00419
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GODWIN, LOIS             NJ - USDC for the District of New Jersey   3:21-cv-00731
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GOLD, ELISSA             NJ - USDC for the District of New Jersey   3:20-cv-16192
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GOMEZ, LOUISA            NJ - USDC for the District of New Jersey   3:20-cv-18555
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GONZALEZ, TABITHA        NJ - USDC for the District of New Jersey   3:21-cv-11473
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GOODMAN, SHEILA          NJ - USDC for the District of New Jersey   3:21-cv-11346
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GOODYEAR, CAMMIE         NJ - USDC for the District of New Jersey   3:20-cv-18556
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GORDON, CATHERINE        NJ - USDC for the District of New Jersey   3:20-cv-15924
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GORDON, LUINDIA          NJ - USDC for the District of New Jersey   3:21-cv-11442
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GRABOWSKI, MICHELE       NJ - USDC for the District of New Jersey   3:20-cv-11080
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GREENBERG, DORIS         NJ - USDC for the District of New Jersey   3:20-cv-14257
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GREENSTEIN, NANCY        NJ - USDC for the District of New Jersey   3:21-cv-00294
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GREER, TRACEY            NJ - USDC for the District of New Jersey   3:21-cv-11370
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GRESHAM, LAUNA           NJ - USDC for the District of New Jersey   3:20-cv-15231
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GRIMM, TERRIE            NJ - USDC for the District of New Jersey   3:21-cv-00447
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GROETSCH, HEATHER        NJ - USDC for the District of New Jersey   3:20-cv-18560
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GROOMS, EMMIE            NJ - USDC for the District of New Jersey   3:20-cv-16198
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GROVES, CONNIE           NJ - USDC for the District of New Jersey   3:21-cv-15018
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GUILLORY, CHERYL         NJ - USDC for the District of New Jersey   3:21-cv-11387
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GUILLORY, JUANITA        NJ - USDC for the District of New Jersey   3:21-cv-11341
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GUMM, LANA               NJ - USDC for the District of New Jersey   3:21-cv-11530
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GUNN, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-01195
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GUY, JANET               NJ - USDC for the District of New Jersey   3:20-cv-08482
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
GUZMAN, CHRISTINA        NJ - USDC for the District of New Jersey   3:21-cv-00077
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAGAN, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-12745
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALE, JOANN              NJ - USDC for the District of New Jersey   3:21-cv-01177
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALL, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-18561
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALL, FALLON             NJ - USDC for the District of New Jersey   3:21-cv-11388
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALL, MILILANI           NJ - USDC for the District of New Jersey   3:20-cv-18565
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALL, SHABRADIA          NJ - USDC for the District of New Jersey   3:21-cv-11390
                                                                                         PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALLER, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-18568
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HALWERIZ, CHRISTINE      NJ - USDC for the District of New Jersey   3:20-cv-15055
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAMBAUGH, JULIANNA       NJ - Superior Court - Middlesex County     MID-L-003067-21
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAMMOND, JORDAN          NJ - USDC for the District of New Jersey   3:21-cv-11342
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HARRISON, REBECCA        NJ - USDC for the District of New Jersey   3:20-cv-02970
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HARTZELL, SHARITY        NJ - USDC for the District of New Jersey   3:20-cv-16201
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAVICK, DARLENE          NJ - USDC for the District of New Jersey   3:21-cv-14366
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAWK, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-16204
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAWKINS, LORI            NJ - USDC for the District of New Jersey   3:20-cv-18569
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HAYNES, KIMBERLY         NJ - USDC for the District of New Jersey   3:18-cv-16909
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HEFFERNAN, JAN           NJ - USDC for the District of New Jersey   3:20-cv-16208
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HENDERSON, TARA          NJ - USDC for the District of New Jersey   3:21-cv-11393
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HENRY, THERESA           NJ - USDC for the District of New Jersey   3:21-cv-11230
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HERNANDEZ, STACY         NJ - USDC for the District of New Jersey   3:20-cv-14516
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HERRERA, MARGARET        NJ - USDC for the District of New Jersey   3:20-cv-16214
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HERRON, ROBBIE           NJ - USDC for the District of New Jersey   3:20-cv-16220
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HEWLETT, ISABELLA        NJ - USDC for the District of New Jersey   3:21-cv-11204
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HIBBLER, ELLA            NJ - USDC for the District of New Jersey   3:21-cv-11365
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HIGGINS, ROSEANN         NJ - USDC for the District of New Jersey   3:21-cv-00084
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HILDERBRAND, DEBORAH     NJ - USDC for the District of New Jersey   3:20-cv-15875
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HILL-KINNEY, CAROLYN     NJ - USDC for the District of New Jersey   3:20-cv-15509
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HINDRICHS, DAWN          NJ - USDC for the District of New Jersey   3:21-cv-00684
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HINEY, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-16070
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOBBS, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-18580
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOFFER, ROBIN            NJ - USDC for the District of New Jersey   3:21-cv-00306
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOFFMAN, JILL            NJ - USDC for the District of New Jersey   3:20-cv-16228
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOLLAND, KIMBERLY        NJ - USDC for the District of New Jersey   3:20-cv-14474
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOLLEY, ASHLEY           NJ - USDC for the District of New Jersey   3:21-cv-11395
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HONEA, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-03491
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOOD, ICIE               NJ - USDC for the District of New Jersey   3:17-cv-10874
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HORGE-SMITH, JUDY        NJ - USDC for the District of New Jersey   3:20-cv-16225
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HORTON, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-02381
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOWARD, LOIS             NJ - USDC for the District of New Jersey   3:20-cv-16232
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOWE, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-16237
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HOYT, LISA               NJ - USDC for the District of New Jersey   3:20-cv-18608
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HUDSON-NEVEU, SHARON     NJ - USDC for the District of New Jersey   3:21-cv-15900
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
HYLANDER, MICHELLE       NJ - USDC for the District of New Jersey   3:21-cv-11478
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
INNOCENTI, ANNE-MARIE    NJ - USDC for the District of New Jersey   3:20-cv-18582
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
IRONS, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-16245
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JACKSON, KIM             NJ - USDC for the District of New Jersey   3:20-cv-10861
                                                                                         PLLC




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                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JACKSON, PLESHETTE          NJ - USDC for the District of New Jersey   3:20-cv-16251
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JAUREGUI, CLAUDIA           NJ - USDC for the District of New Jersey   3:21-cv-00241
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JILES, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-11448
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHN, SANDRA                NJ - USDC for the District of New Jersey   3:20-cv-18586
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-14526
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-00149
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, GAYLE              NJ - USDC for the District of New Jersey   3:21-cv-11534
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, GLORIA             NJ - USDC for the District of New Jersey   3:20-cv-14552
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, LORI               NJ - USDC for the District of New Jersey   3:20-cv-16258
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, MONICA             NJ - USDC for the District of New Jersey   3:21-cv-11432
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, SHEILA             NJ - USDC for the District of New Jersey   3:21-cv-11443
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-11450
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JOHNSON, VERNESSA           NJ - USDC for the District of New Jersey   3:21-cv-13500
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, AQUILA               NJ - USDC for the District of New Jersey   3:20-cv-14147
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, CAROLYN              NJ - USDC for the District of New Jersey   3:20-cv-18598
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, DAWN                 NJ - USDC for the District of New Jersey   3:20-cv-08378
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, FAY                  NJ - USDC for the District of New Jersey   3:21-cv-08638
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, GLADYS               NJ - USDC for the District of New Jersey   3:17-cv-10876
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-11451
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JONES, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-15301
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
JUAREZ, TERESA              NJ - USDC for the District of New Jersey   3:21-cv-15091
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KALLEN, JENNIFER            NJ - USDC for the District of New Jersey   3:20-cv-18603
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KANE, AMY                   NJ - USDC for the District of New Jersey   3:20-cv-02358
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KAVIANI, MITRA              NJ - USDC for the District of New Jersey   3:20-cv-18611
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KEMIREMBE, TEDDY            NJ - USDC for the District of New Jersey   3:21-cv-08692
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KEY, JESSICA                NJ - USDC for the District of New Jersey   3:21-cv-15308
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KIDD, ASHLEY                NJ - USDC for the District of New Jersey   3:20-cv-16271
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KIESLING, CONNIE            NJ - USDC for the District of New Jersey   3:20-cv-11690
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KILGORE, SANDY              NJ - USDC for the District of New Jersey   3:20-cv-14314
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KINDLE, MECHELE             NJ - USDC for the District of New Jersey   3:21-cv-15979
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KING, AUDREY                NJ - USDC for the District of New Jersey   3:21-cv-11339
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KING, ELIZABETH             NJ - USDC for the District of New Jersey   3:20-cv-16038
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KING, LOUISE                NJ - USDC for the District of New Jersey   3:21-cv-11434
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KINSEY-MCDIARMID, DEBORAH   NJ - USDC for the District of New Jersey   3:20-cv-10531
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KIRKENDALL, ELEANOR         NJ - USDC for the District of New Jersey   3:20-cv-16278
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KIRKPATRICK, CYNTHIA        NJ - USDC for the District of New Jersey   3:20-cv-18616
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KIRKPATRICK, TERESA         NJ - USDC for the District of New Jersey   3:20-cv-11060
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KNIGHT, POLLY               NJ - USDC for the District of New Jersey   3:20-cv-16351
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KOORS, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-18621
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KREIDER, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-00669
                                                                                            PLLC




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                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KRUEGER, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-00725
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
KUEFNER, PAMALA              NJ - USDC for the District of New Jersey   3:20-cv-14311
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LABARBERA, CAROLINE          NJ - USDC for the District of New Jersey   3:20-cv-16356
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LACLAIR, CHARLENE            NJ - USDC for the District of New Jersey   3:20-cv-16363
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LAGUER, CARMEN               NJ - USDC for the District of New Jersey   3:20-cv-16364
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LAHMAN, FRIEDA               NJ - USDC for the District of New Jersey   3:20-cv-05943
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LAMAR, SUSAN                 NJ - USDC for the District of New Jersey   3:21-cv-11236
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LANGLEY, KRYSTAL             NJ - USDC for the District of New Jersey   3:21-cv-11452
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LANIER, SHEILA               NJ - USDC for the District of New Jersey   3:21-cv-16221
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LARISON, LISA                NJ - USDC for the District of New Jersey   3:20-cv-18624
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LARKINS, DENISE              NJ - USDC for the District of New Jersey   3:21-cv-15012
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LAUDENORIO, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-00235
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LAVERGNE, LOUISE             NJ - USDC for the District of New Jersey   3:20-cv-06840
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LAVERTY, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-00072
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEARED, TAMMRA               NJ - USDC for the District of New Jersey   3:20-cv-16368
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEBLANC, ANGIE               NJ - USDC for the District of New Jersey   3:21-cv-11269
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEBOEUF, PENNY               NJ - USDC for the District of New Jersey   3:20-cv-14578
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEISCHNER, SHERRI            NJ - USDC for the District of New Jersey   3:21-cv-00659
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LENT, JILL                   NJ - USDC for the District of New Jersey   3:20-cv-16373
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEONARD, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-18625
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEVERETT, ANN                NJ - USDC for the District of New Jersey   3:21-cv-11542
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEWIS, BRENDA                NJ - USDC for the District of New Jersey   3:20-cv-18626
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEWIS, CARRIE                NJ - USDC for the District of New Jersey   3:20-cv-16385
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEWIS, LAURA                 NJ - USDC for the District of New Jersey   3:20-cv-18698
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LEYVAS, LORETTA              NJ - USDC for the District of New Jersey   3:20-cv-10819
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LIANZO, VICTORIA             NJ - USDC for the District of New Jersey   3:20-cv-18705
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LIDDLE, MARYANN              NJ - USDC for the District of New Jersey   3:20-cv-16388
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LIGHT, JUDITH                NJ - USDC for the District of New Jersey   3:21-cv-14456
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LIPKE, GEORGIA               NJ - USDC for the District of New Jersey   3:21-cv-11398
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LIPPINCOTT, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-15956
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LISTON, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-14532
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LITTLETON, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-03345
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOFLAND, NICOLE              NJ - USDC for the District of New Jersey   3:21-cv-00890
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOFTUS, ANGELA               NJ - USDC for the District of New Jersey   3:17-cv-10880
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LONG, MARLYN                 NJ - USDC for the District of New Jersey   3:21-cv-11330
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOOPER, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-00933
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOPEZ, LAURA                 NJ - USDC for the District of New Jersey   3:21-cv-15903
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOUIS, JENELL                NJ - USDC for the District of New Jersey   3:21-cv-11364
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOVELACE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-00899
                                                                                             PLLC
                                                                                             AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOWELL, JACKIE               NJ - USDC for the District of New Jersey   3:20-cv-18710
                                                                                             PLLC




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                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LOWRY, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-18713
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LUCKEY, CARABETH          NJ - USDC for the District of New Jersey   3:21-cv-00326
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LUTZ, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-16431
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
LYNCH, SAUNDRA            NJ - USDC for the District of New Jersey   3:21-cv-08675
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MAGEE, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-15992
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MAKSYN, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-00428
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MALLON, KARA              NJ - USDC for the District of New Jersey   3:21-cv-15823
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MANESS-MCMINN, CHRISTIE   NJ - USDC for the District of New Jersey   3:21-cv-11454
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MANN, VENUS               NJ - USDC for the District of New Jersey   3:21-cv-15162
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MANSFIELD, WILMA          NJ - USDC for the District of New Jersey   3:20-cv-18723
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MARABLE, GWENDOLYN        NJ - USDC for the District of New Jersey   3:21-cv-11421
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MARSH, ABBY               NJ - USDC for the District of New Jersey   3:20-cv-18729
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MARSHALL, JILL            NJ - USDC for the District of New Jersey   3:20-cv-15469
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MAST, MARY                NJ - USDC for the District of New Jersey   3:20-cv-19278
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MATTEONI, DIANA           NJ - USDC for the District of New Jersey   3:21-cv-14454
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MATTHEWS, STEPHANIE       NJ - USDC for the District of New Jersey   3:21-cv-11263
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCAFEE, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-18734
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCARTHUR, AMY             NJ - USDC for the District of New Jersey   3:21-cv-00046
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCCRAY, IRENE             NJ - USDC for the District of New Jersey   3:20-cv-16033
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCDONALD, LILLIE          NJ - USDC for the District of New Jersey   3:18-cv-02679
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCDONNELL, JUDITH         NJ - USDC for the District of New Jersey   3:21-cv-16064
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCFADDEN, DARLENE         NJ - USDC for the District of New Jersey   3:20-cv-16435
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCKINLEY, DEBERIA         NJ - USDC for the District of New Jersey   3:21-cv-11455
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MCLUCAS, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-10457
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MEANS, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-18737
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MEEKS, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-11532
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MELVIN, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-16441
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MERKLE, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-12967
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MERRELL, GINA             NJ - USDC for the District of New Jersey   3:21-cv-11348
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MERRILL, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-15073
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MEYER, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-18741
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MEYER, RUDEAN             NJ - USDC for the District of New Jersey   3:21-cv-15756
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MIKKELSEN, KATHLEEN       NJ - USDC for the District of New Jersey   3:21-cv-14163
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLER, CHRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-20519
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLER, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-03306
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLER, GEORGIANA         NJ - USDC for the District of New Jersey   3:20-cv-16449
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLER, JANET             NJ - USDC for the District of New Jersey   3:20-cv-16460
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLER, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-17674
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLS, BESSIE             NJ - USDC for the District of New Jersey   3:21-cv-08650
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLS, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-18743
                                                                                          PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MILLS, LISA              NJ - USDC for the District of New Jersey   3:21-cv-11344
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MITCHELL, IMOGENE        NJ - USDC for the District of New Jersey   3:18-cv-15201
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MITCHELL, PAMELA         NJ - USDC for the District of New Jersey   3:20-cv-16469
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MONROE, FRANCES          NJ - USDC for the District of New Jersey   3:20-cv-14792
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MOORE, CRYSTAL           NJ - USDC for the District of New Jersey   3:21-cv-11537
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MOORE, JONELLA           NJ - USDC for the District of New Jersey   3:20-cv-18745
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MOORE, LISA              NJ - USDC for the District of New Jersey   3:21-cv-11533
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MOORE, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-16472
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MORALES, DEBRA           NJ - USDC for the District of New Jersey   3:18-cv-00962
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MORGAN, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-07199
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MORRIS, CINDY            NJ - USDC for the District of New Jersey   3:20-cv-14256
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MOTA-DUBON, JULIA        NJ - USDC for the District of New Jersey   3:20-cv-15917
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MUCHE, ROSEANNA          NJ - USDC for the District of New Jersey   3:20-cv-14463
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MURCHISON, CLAUDINE      NJ - USDC for the District of New Jersey   3:21-cv-00882
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MURRAY, PAULA            NJ - USDC for the District of New Jersey   3:21-cv-15656
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
MYERS, TAMI              NJ - USDC for the District of New Jersey   3:21-cv-13110
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NAGEL, MAE               NJ - USDC for the District of New Jersey   3:21-cv-15144
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NAUGLE, CHRISTINA        NJ - USDC for the District of New Jersey   3:21-cv-15287
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NAZAROVA, NATALIA        NJ - USDC for the District of New Jersey   3:20-cv-20146
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NG, BRENDA               NJ - USDC for the District of New Jersey   3:20-cv-18348
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NGUYEN, VAN              NJ - USDC for the District of New Jersey   3:20-cv-16492
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NICHOLS, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-11260
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NIKOLAUS, DEANNA         NJ - USDC for the District of New Jersey   3:20-cv-09628
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NOGUEIRA, MARIA          NJ - USDC for the District of New Jersey   3:20-cv-05181
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NORRIS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-01171
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NUNEZ, GAITRI            NJ - USDC for the District of New Jersey   3:20-cv-19688
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
NUTTER, TRISTAN          NJ - USDC for the District of New Jersey   3:20-cv-18747
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
OCONNOR, BEVERLY         NJ - USDC for the District of New Jersey   3:21-cv-08273
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
OFSTAD, BRANDI           NJ - USDC for the District of New Jersey   3:20-cv-18748
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
OGRADY, MARNA            NJ - USDC for the District of New Jersey   3:20-cv-16497
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
OHLENBUSCH, GRACE        NJ - USDC for the District of New Jersey   3:20-cv-18749
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
OQUENDO, SYLVIA          NJ - USDC for the District of New Jersey   3:21-cv-11401
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ORDOYNE, ROXANNE         NJ - USDC for the District of New Jersey   3:21-cv-11367
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ORLOSKI, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-08003
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ORTHMANN, YVONNE         NJ - USDC for the District of New Jersey   3:20-cv-03369
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
OTT, DARLENE             NJ - USDC for the District of New Jersey   3:20-cv-18752
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PALACIO, ANGELA          NJ - USDC for the District of New Jersey   3:21-cv-11417
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PALLAS, SAUNDRA          NJ - USDC for the District of New Jersey   3:21-cv-08554
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PALMER, BOBBIE           NJ - USDC for the District of New Jersey   3:20-cv-16501
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PALMER, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-16504
                                                                                         PLLC




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                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PALMER, JAMIE               NJ - USDC for the District of New Jersey   3:21-cv-00232
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PARKER, GLORIA              NJ - USDC for the District of New Jersey   3:21-cv-11096
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PARKER, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-11531
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PARTISH, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-00438
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PASKOVICH, LAURETTA         NJ - USDC for the District of New Jersey   3:20-cv-18783
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PATE, LEIGH                 NJ - USDC for the District of New Jersey   3:21-cv-11456
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PATRICK, KATHLEEN           NJ - USDC for the District of New Jersey   3:21-cv-16220
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PATTERSON, LAURA            NJ - USDC for the District of New Jersey   3:21-cv-00313
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PAVY, SARA                  NJ - USDC for the District of New Jersey   3:21-cv-11335
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PENA, VANESSA               NJ - USDC for the District of New Jersey   3:20-cv-20089
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PENTECOST, ASHLEY           NJ - USDC for the District of New Jersey   3:21-cv-11268
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PERKINS, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-11304
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PETERS, ANTONIA             NJ - USDC for the District of New Jersey   3:20-cv-15063
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PETERS, BEVERLY             NJ - USDC for the District of New Jersey   3:21-cv-11257
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PEVETO, PATSY               NJ - USDC for the District of New Jersey   3:21-cv-00060
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PFEFFER, LISA               NJ - USDC for the District of New Jersey   3:21-cv-00751
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PHELPS, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-00067
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PHILLIPS, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-18786
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PICKETT, PEGGY              NJ - USDC for the District of New Jersey   3:21-cv-11099
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PIERCE, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-16505
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PIERCE, JULIE               NJ - USDC for the District of New Jersey   3:20-cv-16506
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PIERCE, REBECCA             NJ - USDC for the District of New Jersey   3:21-cv-00927
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PIESCHEK, DAWN              NJ - USDC for the District of New Jersey   3:20-cv-14124
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PINCHEON, ANGIE             NJ - USDC for the District of New Jersey   3:21-cv-11529
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PITTMAN, CAROLINE           NJ - USDC for the District of New Jersey   3:21-cv-11403
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PITTMAN, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-15876
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PIZZONIA, MARY              NJ - USDC for the District of New Jersey   3:21-cv-00087
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PLAVSIC, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-07778
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PLESHE, LU-ANN              NJ - USDC for the District of New Jersey   3:20-cv-18788
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PONTICELLO, CONSTANCE       NJ - USDC for the District of New Jersey   3:21-cv-15905
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PRASHER, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-00675
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PRICE, JANIE                NJ - USDC for the District of New Jersey   3:20-cv-16507
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PUCKETT, TERRY              NJ - USDC for the District of New Jersey   3:20-cv-16530
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
PUGH, HEATHER               NJ - USDC for the District of New Jersey   3:21-cv-11404
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
QUINN-BRIGGS, KATHERINE     NJ - USDC for the District of New Jersey   3:20-cv-18793
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
QUIROGA, JUANITA            NJ - USDC for the District of New Jersey   3:21-cv-14500
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RACE, SUE                   NJ - USDC for the District of New Jersey   3:20-cv-14522
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RADCLIFFE, BETTYE           NJ - USDC for the District of New Jersey   3:21-cv-00041
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RAGNO, JODI                 NJ - USDC for the District of New Jersey   3:21-cv-15248
                                                                                            PLLC
                                                                                            AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RAMIREZ, DARYL              NJ - USDC for the District of New Jersey   3:21-cv-15142
                                                                                            PLLC




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                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RAMOS, VALERIE            NJ - USDC for the District of New Jersey   3:21-cv-16217
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
REED, ROSE                NJ - USDC for the District of New Jersey   3:21-cv-11541
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
REIDER, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-11337
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
REIFENSTAHL, PATRICIA     NJ - USDC for the District of New Jersey   3:21-cv-00793
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
REINHARD, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-15828
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
REYNOLDS, DAWN            NJ - USDC for the District of New Jersey   3:20-cv-06144
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RICHMOND, POLLY           NJ - USDC for the District of New Jersey   3:20-cv-20701
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RIDLEY, ANTOINETTE        NJ - USDC for the District of New Jersey   3:21-cv-11361
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RIDNER, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-14140
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RIVERA, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-11270
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RIVERS, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-18799
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RIZZO, SUZETTE            NJ - USDC for the District of New Jersey   3:20-cv-16533
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ROBERTS, CAROLINE         NJ - USDC for the District of New Jersey   3:21-cv-11446
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ROBERTS, TIMMI            NJ - USDC for the District of New Jersey   3:20-cv-16148
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ROBINSON, ANNETTE         NJ - USDC for the District of New Jersey   3:20-cv-15880
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RODGERS, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-02873
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RODRIGUE, DANIELLE        NJ - USDC for the District of New Jersey   3:21-cv-11538
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ROLEY, KYMBAL             NJ - USDC for the District of New Jersey   3:20-cv-16146
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ROSQUETTE, KATHRYN        NJ - USDC for the District of New Jersey   3:21-cv-00042
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ROTHSCHILD, LESLIE        NJ - USDC for the District of New Jersey   3:21-cv-14455
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RUBIO, ROMELIA            NJ - USDC for the District of New Jersey   3:20-cv-16044
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RUPERT-SJOLANDER, DEBRA   NJ - USDC for the District of New Jersey   3:20-cv-18811
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RUSSELL, ANNA             NJ - USDC for the District of New Jersey   3:21-cv-15009
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RUSSELL, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-00138
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RUSSELL, MANDI            NJ - USDC for the District of New Jersey   3:21-cv-11405
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
RYBICKI, LEONA            NJ - USDC for the District of New Jersey   3:20-cv-18818
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SALCEDO, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-15830
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SAMUELU, LIPENS           NJ - USDC for the District of New Jersey   3:20-cv-15512
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SANDOVAL, TANYA           NJ - USDC for the District of New Jersey   3:21-cv-15307
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SANTANGELO, PATRICIA      NJ - USDC for the District of New Jersey   3:20-cv-16536
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SANTIBANEZ, ALEJANDRA     NJ - USDC for the District of New Jersey   3:20-cv-18820
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SAPAUGH, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-09604
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SAUCIER, KAYLE            NJ - USDC for the District of New Jersey   3:21-cv-11459
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCAFFIDI, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-00742
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCALF, YANET              NJ - USDC for the District of New Jersey   3:20-cv-18822
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCHENK, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-11461
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCHICK, RENEE             NJ - USDC for the District of New Jersey   3:20-cv-18823
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCHILL, DELORES           NJ - USDC for the District of New Jersey   3:20-cv-16541
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCHOENIKE, DARLENE        NJ - USDC for the District of New Jersey   3:20-cv-13459
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCHULMAN, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-15898
                                                                                          PLLC




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                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCHWARTZ, CONNIE          NJ - USDC for the District of New Jersey   3:20-cv-16548
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SCOTT, JUDY               NJ - USDC for the District of New Jersey   3:20-cv-06572
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SEISS, PATSY              NJ - USDC for the District of New Jersey   3:20-cv-18830
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SEMONES, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-05606
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SENSIBAUGH, MICHELE       NJ - USDC for the District of New Jersey   3:21-cv-15084
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHADWICK, MABLE           NJ - USDC for the District of New Jersey   3:21-cv-15094
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHAHZAD, SHERRI           NJ - USDC for the District of New Jersey   3:20-cv-15448
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHANDLE, RANDALL          NJ - USDC for the District of New Jersey   3:20-cv-16556
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHERARD, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-18831
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHERMAN, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-16563
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHIPLEY, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09134
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHOUP, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-03354
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SHRADER, ARLENE           NJ - USDC for the District of New Jersey   3:20-cv-16569
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SIDROW-WOLFSON, BARBARA   NJ - USDC for the District of New Jersey   3:20-cv-19822
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SIELOFF, VERA             NJ - USDC for the District of New Jersey   3:21-cv-12337
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SILVIA, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-18832
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SIMPSON, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-16572
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SINGLETON, TAUNI          NJ - USDC for the District of New Jersey   3:21-cv-15832
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SIRISOPHON, DEBORAH       NJ - USDC for the District of New Jersey   3:20-cv-20241
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SLAVIN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-16625
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SLUIS, SONYA VER          NJ - USDC for the District of New Jersey   3:21-cv-11525
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMARR, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-15877
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMILEY, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-15502
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMITH, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-15291
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMITH, LUCY               NJ - USDC for the District of New Jersey   3:21-cv-11406
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMITH, PAULA              NJ - USDC for the District of New Jersey   3:20-cv-16632
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMITH, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-11331
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SMITH, YVETTE             NJ - USDC for the District of New Jersey   3:20-cv-16639
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SOIREZ, CHASITY           NJ - USDC for the District of New Jersey   3:21-cv-11340
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SOUZE, SAMANTHA           NJ - USDC for the District of New Jersey   3:20-cv-02305
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SOVINSKI, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-20054
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SPRAGUE, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-14550
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SRIDEVI, KORIPELLA        NJ - USDC for the District of New Jersey   3:20-cv-18622
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SRIVANI, JADE             NJ - USDC for the District of New Jersey   3:20-cv-18839
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STAPLES, KAYLIE           NJ - USDC for the District of New Jersey   3:20-cv-14512
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STARLING, MARY            NJ - USDC for the District of New Jersey   3:20-cv-18890
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STATHOULIS, JOANNE        NJ - USDC for the District of New Jersey   3:20-cv-14134
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STATLER, PAMELA           NJ - USDC for the District of New Jersey   3:20-cv-14589
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEELE, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-08310
                                                                                          PLLC
                                                                                          AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEFFEY, JO               NJ - USDC for the District of New Jersey   3:21-cv-00119
                                                                                          PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEPHENS, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-16216
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEPHENS, REBECCA        NJ - USDC for the District of New Jersey   3:20-cv-03338
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEVENS, LARA            NJ - USDC for the District of New Jersey   3:21-cv-11424
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEVENS, NILA            NJ - USDC for the District of New Jersey   3:20-cv-18907
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STEWART, LISA            NJ - USDC for the District of New Jersey   3:21-cv-00809
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STINER, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-11415
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
STONE, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-15005
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SUAREZ, CHARMIAN         NJ - USDC for the District of New Jersey   3:21-cv-11407
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SULLIVAN, MICHELLE       NJ - USDC for the District of New Jersey   3:21-15662
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SWAIN, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-10722
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
SWANER, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-00153
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TACKETT, LATASHA         NJ - USDC for the District of New Jersey   3:21-cv-11372
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TALIAFERRO, LINDA        NJ - USDC for the District of New Jersey   3:21-cv-00143
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TANNER, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-11338
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TATUM, FELESIA           NJ - USDC for the District of New Jersey   3:20-cv-18935
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TAYARA, RANIA            NJ - USDC for the District of New Jersey   3:20-cv-18947
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TAYLOR, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-11369
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TAYLOR, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-00944
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TAYLOR, MARCELLA         NJ - USDC for the District of New Jersey   3:20-cv-05619
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TEJANI, GULZAR           NJ - USDC for the District of New Jersey   3:20-cv-16761
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TEMPCHIN, SHEILA         NJ - USDC for the District of New Jersey   3:21-cv-00941
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
THAIN, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-00921
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
THIBODEAUX, BETTIE       NJ - USDC for the District of New Jersey   3:21-cv-11408
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
THOMAS, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-02259
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
THOMPSON, LYNDA          NJ - USDC for the District of New Jersey   3:20-cv-02366
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
THORNTON, JEAN           NJ - USDC for the District of New Jersey   3:20-cv-18962
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
THORNTON, PAMELA         NJ - USDC for the District of New Jersey   3:20-cv-02370
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TILLER, SUZANNE          NJ - USDC for the District of New Jersey   3:20-cv-19137
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TODD, MAMMIE             NJ - USDC for the District of New Jersey   3:20-cv-14498
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TOLBERT, ANTIONETTE      NJ - USDC for the District of New Jersey   3:21-cv-11462
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TRIMMER, SHARRON         NJ - USDC for the District of New Jersey   3:21-cv-15160
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TUCKER, MARY             NJ - USDC for the District of New Jersey   3:20-cv-16062
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TURNER, REGINA           NJ - USDC for the District of New Jersey   3:20-cv-16770
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TUYMER, CHERYL           NJ - USDC for the District of New Jersey   3:20-cv-16779
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
TUZZI, NORA              NJ - USDC for the District of New Jersey   3:20-cv-19176
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
UTLEY, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-11445
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VAILE, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-15176
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VALDEZ, LARENA           NJ - USDC for the District of New Jersey   3:20-cv-16051
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VANDAVEER, SHARON        NJ - USDC for the District of New Jersey   3:21-cv-00323
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VARAGNOLO, MARIA         NJ - USDC for the District of New Jersey   3:21-cv-14504
                                                                                         PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VARSANIK, DAILLE         NJ - USDC for the District of New Jersey   3:20-cv-19667
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VASCONI, REBECCA         NJ - USDC for the District of New Jersey   3:20-cv-18880
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VAUGHAN, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-16785
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VAZQUEZ, JAMIE           NJ - USDC for the District of New Jersey   3:20-cv-02378
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VINCENT, ETHEL           NJ - USDC for the District of New Jersey   3:21-cv-16205
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VINCENT, SHARI           NJ - USDC for the District of New Jersey   3:20-cv-16790
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VIRGADAMO, FRANCES       NJ - USDC for the District of New Jersey   3:21-cv-11466
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VIRGILIO, DORISE         NJ - USDC for the District of New Jersey   3:21-cv-01189
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VOGEL, MICHELE           NJ - USDC for the District of New Jersey   3:21-cv-00229
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
VOLKOVA, TATIANA         NJ - USDC for the District of New Jersey   3:21-cv-11444
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WALKER, LULA             NJ - USDC for the District of New Jersey   3:20-cv-17468
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WALL, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-17487
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WALLER, RUTH             NJ - USDC for the District of New Jersey   3:20-cv-17497
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WALTON, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-17511
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WANIEWSKI, IRENE         NJ - USDC for the District of New Jersey   3:20-cv-17523
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WARD, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-11914
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WARD, KINDYERRA          NJ - USDC for the District of New Jersey   3:20-cv-09048
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WASHINGTON, DORIS        NJ - USDC for the District of New Jersey   3:20-cv-19202
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WATERS, JANICE           NJ - USDC for the District of New Jersey   3:21-cv-13108
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WATKINS, TAMMY           NJ - USDC for the District of New Jersey   3:20-cv-05361
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WATSON, MARCIA           NJ - USDC for the District of New Jersey   3:21-cv-11358
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WATSON, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-00292
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WEATHERLY, PHILA         NJ - USDC for the District of New Jersey   3:20-cv-16153
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WEBSTER, JUDITH          NJ - USDC for the District of New Jersey   3:21-cv-00129
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WELKER, PAMELLA          NJ - USDC for the District of New Jersey   3:21-cv-00897
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WELSH, MARISELA          NJ - USDC for the District of New Jersey   3:21-cv-00630
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WEST, JULIA              NJ - USDC for the District of New Jersey   3:20-cv-17577
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WEYER, ANGIE             NJ - USDC for the District of New Jersey   3:21-cv-15750
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WHALEY, VICKIE           NJ - USDC for the District of New Jersey   3:21-cv-11355
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WHITE, AMIE              NJ - USDC for the District of New Jersey   3:21-cv-11208
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WHITE, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-15983
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WICKS, KIM               NJ - USDC for the District of New Jersey   3:20-cv-19215
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WIERSIG, LAVON           NJ - USDC for the District of New Jersey   3:20-cv-14238
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, ALFREDIA       NJ - USDC for the District of New Jersey   3:20-cv-06370
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, BETTY          NJ - USDC for the District of New Jersey   3:17-cv-10871
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, DORIS          NJ - USDC for the District of New Jersey   3:20-cv-20133
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, EVELYN         NJ - USDC for the District of New Jersey   3:21-cv-11528
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, JENNIFER       NJ - USDC for the District of New Jersey   3:21-cv-11271
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, LARHONDA       NJ - USDC for the District of New Jersey   3:21-cv-11098
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, NICOLE         NJ - USDC for the District of New Jersey   3:20-cv-19246
                                                                                         PLLC




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                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLIAMS, SMITHIE        NJ - USDC for the District of New Jersey   3:20-cv-18870
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLOUGHBY, CAROLINA     NJ - USDC for the District of New Jersey   3:20-cv-14528
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILLOVER, KATHERINE      NJ - USDC for the District of New Jersey   3:21-cv-16202
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILSON, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-16151
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WILSON, ZELMETRA         NJ - USDC for the District of New Jersey   3:20-cv-17532
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WINNINGHAM, JACQUALINE   NJ - USDC for the District of New Jersey   3:21-cv-15518
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WOLLWAGE, SUSAN          NJ - USDC for the District of New Jersey   3:20-cv-15178
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WOMACK, BERNICE          NJ - USDC for the District of New Jersey   3:18-cv-09550
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WOOD, MARY               NJ - USDC for the District of New Jersey   3:21-cv-11207
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WOODE, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-11526
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WOODMANSEE, NANCY        NJ - USDC for the District of New Jersey   3:20-cv-15945
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WORKS, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-16219
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WRIGHT, BAZALENE         NJ - USDC for the District of New Jersey   3:20-cv-09773
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WRIGHT, BEAUTY           NJ - USDC for the District of New Jersey   3:20-cv-16105
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WRIGHT, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-11441
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
WYNOS, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-19262
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
YOST, VICTORIA           NJ - USDC for the District of New Jersey   3:21-cv-11206
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
YOUNG, SHARRIE           NJ - USDC for the District of New Jersey   3:21-cv-15249
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
YOUNG, SHARRIE           NJ - USDC for the District of New Jersey   3:21-cv-15249
                                                                                         PLLC
                                                                                         AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
ZEGLIN, LISA             NJ - USDC for the District of New Jersey   3:20-cv-15922
                                                                                         PLLC
                                                                                         BABBITT, JOHNSON, OSBORNE & LECLAINCHE,
CASTRO, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-06414
                                                                                         P.A.
                                                                                         BABBITT, JOHNSON, OSBORNE & LECLAINCHE,
COLELLO, MELISSA         NJ - USDC for the District of New Jersey   3:20-cv-13961
                                                                                         P.A.
                                                                                         BABBITT, JOHNSON, OSBORNE & LECLAINCHE,
FIELDS, IRENE            FL - Circuit Court - Broward County        CACE20000933
                                                                                         P.A.
                                                                                         BABBITT, JOHNSON, OSBORNE & LECLAINCHE,
SAMPLE, MARY             FL - Circuit Court - Broward County        CACE20000928
                                                                                         P.A.
ANDERSON, MACY           NJ - USDC for the District of New Jersey   3:18-cv-14777        BACHUS & SCHANKER LLC
BAKER, TAMARA            NJ - USDC for the District of New Jersey   3:17-cv-02760        BACHUS & SCHANKER LLC
BRIDGES, LAURA           NJ - USDC for the District of New Jersey   3:18-cv-10745        BACHUS & SCHANKER LLC
GRAHAM, ADA              NJ - USDC for the District of New Jersey   3:19-cv-00278        BACHUS & SCHANKER LLC
MEDINA, MICHELLE         NJ - USDC for the District of New Jersey   3:19-cv-00275        BACHUS & SCHANKER LLC
RODMAN, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-00274        BACHUS & SCHANKER LLC
SMITH, CAROLE            NJ - USDC for the District of New Jersey   3:18-cv-10687        BACHUS & SCHANKER LLC
WATSON, AMANDA           NJ - USDC for the District of New Jersey   3:18-cv-14779        BACHUS & SCHANKER LLC
DEOLIVEIRA, JEAN         NJ - USDC for the District of New Jersey   3:20-cv-06710        BAILLY AND MCMILLAN, LLP
SMARRA, ROSEMARY         NJ - USDC for the District of New Jersey   3:20-cv-14485        BALZARINI & WATSON
HAIR, LARAINE            CA - Superior Court - Alameda County       AG16820181           BARNES & THORNBURG LLP
MEGHANA, JOSHI           CA - Superior Court - Los Angeles County   JCCP4872             BARNES & THORNBURG LLP
THREADGILL, EVA          CA - Superior Court - Los Angeles County   BC-617311            BARNES & THORNBURG LLP
ABDUR-RASHEED, DAIMA     GA - State Court of Fayette County         CACE20002075         BARNES LAW GROUP, LLC
ADAMS, ELIZABETH         GA - State Court of Gwinnett County        20-C-01546-S5        BARNES LAW GROUP, LLC
AMIN, SUSIE              GA - State Court of Spalding County        19V-1210             BARNES LAW GROUP, LLC
ARCHER, CHERYL           GA - State Court of Clayton County         2019CV00656          BARNES LAW GROUP, LLC
BARNES, MARTHA           GA - State Court of Fulton County          20EV003751           BARNES LAW GROUP, LLC
BROOKINS, DEBBIE         GA - Superior Court of Seminole County     cv20-0080            BARNES LAW GROUP, LLC
BRUCE, MINNIE            GA - State Court of Fulton County          20EV003767           BARNES LAW GROUP, LLC
BUCKLEY, ANNETTE         GA - State Court of Worth County           ST19CV0056           BARNES LAW GROUP, LLC
CALDWELL, BARBARA        GA - State Court of Telfair County         19-cv-143            BARNES LAW GROUP, LLC
COX, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-06779        BARNES LAW GROUP, LLC
DELAMAR, BERNADETTE      NJ - USDC for the District of New Jersey   3:20-cv-10385        BARNES LAW GROUP, LLC
DENNEY, CONNIE           NJ - USDC for the District of New Jersey   3:20-cv-06781        BARNES LAW GROUP, LLC
EUBANKS, SHIRLEY         GA - State Court of DeKalb County          19A78294             BARNES LAW GROUP, LLC
EVANS, MARGIE            GA - State Court of Richmond County        2018RCS01222         BARNES LAW GROUP, LLC
FORT, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-10386        BARNES LAW GROUP, LLC
FUST, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-12394        BARNES LAW GROUP, LLC
GOLDBERG, SANDRA         GA - State Court of Forsyth County         20SC-0670-A          BARNES LAW GROUP, LLC
GREGORY, SONNA           NJ - USDC for the District of New Jersey   3:20-cv-10112        BARNES LAW GROUP, LLC
HALL, CHARLIE            GA - State Court of Mitchell County        21SC047              BARNES LAW GROUP, LLC




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HICKS, NANCY              NJ - USDC for the District of New Jersey   3:16-cv-07428         BARNES LAW GROUP, LLC
JACKSON, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-10387         BARNES LAW GROUP, LLC
JOHNSON, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-10388         BARNES LAW GROUP, LLC
JOHNSON-WHATLEY, JEANNE   GA - State Court of Fulton County          20EV003754            BARNES LAW GROUP, LLC
KENDRICK, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-10391         BARNES LAW GROUP, LLC
KESSLER, LYNNE            NJ - USDC for the District of New Jersey   3:20-cv-10392         BARNES LAW GROUP, LLC
KOWAL, BARBARA            GA - State Court of Fulton County          20EV001600            BARNES LAW GROUP, LLC
LEWIS, DIANA              GA - State Court of Coweta County          19SV0641E             BARNES LAW GROUP, LLC
LOVETT-DURHAM, PATRICIA   NJ - USDC for the District of New Jersey   3:20-cv-10446         BARNES LAW GROUP, LLC
LOWERY, ELEANOR           GA - State Court of Sumter County          20CV00103             BARNES LAW GROUP, LLC
MARTIN, LIZABETH          GA - State Court of Forsyth County         19SC-1733-B           BARNES LAW GROUP, LLC
MORAITAKIS, LISA          GA - State Court of Cobb County            21-A-1334             BARNES LAW GROUP, LLC
READDY, SHELIA            GA - State Court of Clayton County         2020CV00252           BARNES LAW GROUP, LLC
SEE, BETTY                GA - State Court of DeKalb County          20-A-78762            BARNES LAW GROUP, LLC
SHIVER, IRENE             GA - State Court of Dougherty County       STSV2019000443        BARNES LAW GROUP, LLC
SHRODES, CATHERINE        GA - State Court of Cobb County            19-A-4350             BARNES LAW GROUP, LLC
SNIPES, ELNORA            GA - State Court of DeKalb County          19A78293              BARNES LAW GROUP, LLC
STRICKLAND, NELL          NJ - USDC for the District of New Jersey   3:16-cv-07337         BARNES LAW GROUP, LLC
STUSAK, MARILYN           GA - State Court of DeKalb County          20-A-79558            BARNES LAW GROUP, LLC
SUMNER, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-06825         BARNES LAW GROUP, LLC
TARDIF, FRANCES           NJ - USDC for the District of New Jersey   3:21-cv-11197         BARNES LAW GROUP, LLC
THORNBURG, PEGGYE         GA - State Court of Clarke County          ST19CV0649            BARNES LAW GROUP, LLC
TRIEGLAFF, VICKI          GA - State Court of Fulton County          19EV003302            BARNES LAW GROUP, LLC
WALKER, ALLISON           NJ - USDC for the District of New Jersey   3:16-cv-07503         BARNES LAW GROUP, LLC
WEAVER, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-03744         BARNES LAW GROUP, LLC
WESTBROOK, ELIZABETH      GA - State Court of Muscogee County        SC2021CV000562        BARNES LAW GROUP, LLC
WESTBROOK, ELIZABETH      GA - State Court of Muscogee County        SC2021CV000562        BARNES LAW GROUP, LLC
ABERCROMBIE, CHRISTINE    NJ - USDC for the District of New Jersey   3:19-cv-12977         BARON & BUDD, P.C.
ANDERSON, ELISA           NJ - USDC for the District of New Jersey   3:18-cv-05396         BARON & BUDD, P.C.
AUSTIN, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-08524         BARON & BUDD, P.C.
BARRETT, CLOTTE           NJ - USDC for the District of New Jersey   3:18-cv-14255         BARON & BUDD, P.C.
BENOIT, DEBARCUS          NJ - USDC for the District of New Jersey   3:21-cv-13795         BARON & BUDD, P.C.
BINGHAM, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-08931         BARON & BUDD, P.C.
BIRDSONG, CHRISTINA       NJ - USDC for the District of New Jersey   3:16-cv-08810         BARON & BUDD, P.C.
BLISS, THERESA            NJ - USDC for the District of New Jersey   3:21-cv-09060         BARON & BUDD, P.C.
BROOKS, CARRIE            NJ - USDC for the District of New Jersey   3:20-cv-10525         BARON & BUDD, P.C.
BROWN, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-08790         BARON & BUDD, P.C.
BURTON, ROBBIE            NJ - USDC for the District of New Jersey   3:17-cv-11311         BARON & BUDD, P.C.
BUTCHER, DARLENE          NJ - USDC for the District of New Jersey   3:18-cv-01026         BARON & BUDD, P.C.
CARPENTER, CHARLYN        NJ - USDC for the District of New Jersey   3:17-cv-04642         BARON & BUDD, P.C.
CARVER, LISA              NJ - USDC for the District of New Jersey   3:18-cv-01039         BARON & BUDD, P.C.
CASIANO, JOSEPHINE        NJ - USDC for the District of New Jersey   3:17-cv-12708         BARON & BUDD, P.C.
CHAMBERLIN, MARY          NJ - USDC for the District of New Jersey   3:19-cv-09064         BARON & BUDD, P.C.
COCHRAN, DANA             NJ - USDC for the District of New Jersey   3:20-cv-14224         BARON & BUDD, P.C.
COLE, MARY                NJ - USDC for the District of New Jersey   3:20-cv-09155         BARON & BUDD, P.C.
COLE, VELDA               NJ - USDC for the District of New Jersey   3:20-cv-06814         BARON & BUDD, P.C.
COLLIER, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-00535         BARON & BUDD, P.C.
COUNCIL-COUCH, ETTA       NJ - USDC for the District of New Jersey   3:21-cv-09062         BARON & BUDD, P.C.
COURVILLE, LELA           NJ - USDC for the District of New Jersey   3:18-cv-09751         BARON & BUDD, P.C.
CUNNINGHAM, KAY           NJ - USDC for the District of New Jersey   3:19-cv-13276         BARON & BUDD, P.C.
DAKA, BETTIE              NJ - USDC for the District of New Jersey   3:20-cv-09791         BARON & BUDD, P.C.
DAVIS, DOROTHY            NJ - USDC for the District of New Jersey   3:21-cv-03636         BARON & BUDD, P.C.
DEANES, WILLIE            NJ - USDC for the District of New Jersey   3:17-cv-04645         BARON & BUDD, P.C.
DOUGLAS, MARY             NJ - USDC for the District of New Jersey   3:19-cv-19416         BARON & BUDD, P.C.
ELLISON, ANNETTE          NJ - USDC for the District of New Jersey   3:17-cv-11312         BARON & BUDD, P.C.
ERIKSEN, STEPHAINE        NJ - USDC for the District of New Jersey   3:17-cv-07680         BARON & BUDD, P.C.
FAGAN, SARA               NJ - USDC for the District of New Jersey   3:16-cv-08942         BARON & BUDD, P.C.
FELTNER, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-03411         BARON & BUDD, P.C.
FERRELL, MARGARET         NJ - USDC for the District of New Jersey   3:16-cv-08812         BARON & BUDD, P.C.
FONTAINE, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-03639         BARON & BUDD, P.C.
FORD, THELMA              NJ - USDC for the District of New Jersey   3:17-cv-13068         BARON & BUDD, P.C.
FORET, ELOISE             NJ - USDC for the District of New Jersey   3:17-cv-08939         BARON & BUDD, P.C.
FOX, KATHLEEN             NJ - USDC for the District of New Jersey   3:20-cv-10054         BARON & BUDD, P.C.
GARTH, MAGGIE             NJ - USDC for the District of New Jersey   3:20-cv-09780         BARON & BUDD, P.C.
GOINS, MAGGIE             NJ - USDC for the District of New Jersey   3:20-cv-09785         BARON & BUDD, P.C.
GOODMAN, RHODA            NJ - USDC for the District of New Jersey   3:17-cv-13305         BARON & BUDD, P.C.
GRANT, MARY               NJ - USDC for the District of New Jersey   3:16-cv-08831         BARON & BUDD, P.C.
GRESHAM, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-13304         BARON & BUDD, P.C.
GUY, JONIQUE              NJ - USDC for the District of New Jersey   3:19-cv-21500         BARON & BUDD, P.C.
HANSL, ANNE               NJ - USDC for the District of New Jersey   3:18-cv-12897         BARON & BUDD, P.C.
HART, REBEKAH             NJ - USDC for the District of New Jersey   3:20-cv-00022         BARON & BUDD, P.C.
HARVESTON, LELIA          NJ - USDC for the District of New Jersey   3:20-cv-00494         BARON & BUDD, P.C.
HERSHEY, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-05399         BARON & BUDD, P.C.
HUBBARD, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-08792         BARON & BUDD, P.C.
HUBER, MARY               NJ - USDC for the District of New Jersey   3:17-cv-13302         BARON & BUDD, P.C.
IVY, ELLA                 NJ - USDC for the District of New Jersey   3:16-cv-08827         BARON & BUDD, P.C.
JACKSON, RENIA            NJ - USDC for the District of New Jersey   3:17-cv-12108         BARON & BUDD, P.C.
JOHNSON, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-04851         BARON & BUDD, P.C.
JOHNSON, SIMON            NJ - USDC for the District of New Jersey   3:20-cv-09546         BARON & BUDD, P.C.
JOHNSON, STEPHANIE        NJ - USDC for the District of New Jersey   3:17-cv-11314         BARON & BUDD, P.C.




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JOHNSTON, ANN             NJ - USDC for the District of New Jersey   3:18-cv-00983         BARON & BUDD, P.C.
JONES, MARY               NJ - USDC for the District of New Jersey   3:20-cv-06218         BARON & BUDD, P.C.
JONES, MILDRED            NJ - USDC for the District of New Jersey   3:20-cv-09965         BARON & BUDD, P.C.
JONES, RUBY               NJ - USDC for the District of New Jersey   3:21-cv-09065         BARON & BUDD, P.C.
JORDAN, KAY               NJ - USDC for the District of New Jersey   3:20-cv-09545         BARON & BUDD, P.C.
KRODEL, NORMA             NJ - USDC for the District of New Jersey   3:18-cv-09753         BARON & BUDD, P.C.
LILLIS, CONSTANCE         NJ - USDC for the District of New Jersey   3:20-cv-20610         BARON & BUDD, P.C.
LIM, ARWANI               NJ - USDC for the District of New Jersey   3:17-cv-12711         BARON & BUDD, P.C.
LOPEZ, BERNADETTE         NJ - USDC for the District of New Jersey   3:21-cv-03642         BARON & BUDD, P.C.
MARBLE, ANNA              NJ - USDC for the District of New Jersey   3:20-cv-09778         BARON & BUDD, P.C.
MCKEE, SUZANNE            NJ - USDC for the District of New Jersey   3:20-cv-09795         BARON & BUDD, P.C.
MEEKINS, DELZORA          NJ - USDC for the District of New Jersey   3:20-cv-10522         BARON & BUDD, P.C.
MILLER, CIMME             NJ - USDC for the District of New Jersey   3:21-cv-03447         BARON & BUDD, P.C.
MILLER, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-03646         BARON & BUDD, P.C.
MONTGOMERY, JESSICA       NJ - USDC for the District of New Jersey   3:21-cv-03647         BARON & BUDD, P.C.
MOORE, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-09586         BARON & BUDD, P.C.
MORGAN, REGINA            NJ - USDC for the District of New Jersey   3:17-cv-08941         BARON & BUDD, P.C.
MORRIS, CATHY             NJ - USDC for the District of New Jersey   3:17-cv-00549         BARON & BUDD, P.C.
MOSS, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-12665         BARON & BUDD, P.C.
NEVERETTE, DOROTHY        NJ - USDC for the District of New Jersey   3:20-cv-09797         BARON & BUDD, P.C.
OLIVER, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-06815         BARON & BUDD, P.C.
OMALLEY, MARCELLA         NJ - USDC for the District of New Jersey   3:21-cv-10639         BARON & BUDD, P.C.
PATEL, VAISHALI           NJ - USDC for the District of New Jersey   3:21-cv-00482         BARON & BUDD, P.C.
PENLEY, SARAH             NJ - USDC for the District of New Jersey   3:20-cv-06216         BARON & BUDD, P.C.
PERSONS, DIANE            NJ - USDC for the District of New Jersey   3:17-cv-08942         BARON & BUDD, P.C.
PIRIE, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-10336         BARON & BUDD, P.C.
PLUMMER, HAZEL            NJ - USDC for the District of New Jersey   3:16-cv-08815         BARON & BUDD, P.C.
PRZYBYLOWICZ, NORMA       NJ - USDC for the District of New Jersey   3:17-cv-13306         BARON & BUDD, P.C.
PUGH, MARY                NJ - USDC for the District of New Jersey   3:21-cv-11108         BARON & BUDD, P.C.
REID, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-09541         BARON & BUDD, P.C.
ROGERS, MARJORIE          NJ - USDC for the District of New Jersey   3:18-cv-08789         BARON & BUDD, P.C.
ROSSI, LISA               NJ - USDC for the District of New Jersey   3:19-cv-13646         BARON & BUDD, P.C.
ROSSMAN, HARRIET          NJ - USDC for the District of New Jersey   3:20-cv-09548         BARON & BUDD, P.C.
SALGUERO, ELSA            NJ - USDC for the District of New Jersey   3:21-cv-03648         BARON & BUDD, P.C.
SCOTT, EARLENE            NJ - USDC for the District of New Jersey   3:20-cv-10334         BARON & BUDD, P.C.
SEMAN, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-11316         BARON & BUDD, P.C.
SMART, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-21059         BARON & BUDD, P.C.
SMITH, LORRAINE           NJ - USDC for the District of New Jersey   3:21-cv-16144         BARON & BUDD, P.C.
SNYDER, CONNIE            NJ - USDC for the District of New Jersey   3:16-cv-08816         BARON & BUDD, P.C.
SPENCE, ENECITA           NJ - USDC for the District of New Jersey   3:20-cv-02033         BARON & BUDD, P.C.
STEINBERG, ASHLEY         NJ - Superior Court - Atlantic County      ATL-L-2179-16         BARON & BUDD, P.C.
STUMPF, DOROTHY           NJ - USDC for the District of New Jersey   3:17-cv-04644         BARON & BUDD, P.C.
TATE, CARRIE              NJ - USDC for the District of New Jersey   3:21-cv-00485         BARON & BUDD, P.C.
TODD, TIFFANY             NJ - USDC for the District of New Jersey   3:20-cv-09783         BARON & BUDD, P.C.
TOURO, ELVERA             NJ - USDC for the District of New Jersey   3:17-cv-11318         BARON & BUDD, P.C.
VASBINDER, ROSIE          NJ - USDC for the District of New Jersey   3:20-cv-09786         BARON & BUDD, P.C.
WAGENKNECHT, VANESSA      NJ - USDC for the District of New Jersey   3:16-cv-08828         BARON & BUDD, P.C.
WALLACE, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-03650         BARON & BUDD, P.C.
WAMPLER, CAROL            NJ - USDC for the District of New Jersey   3:18-cv-08793         BARON & BUDD, P.C.
WARREN, SUELLYN           NJ - USDC for the District of New Jersey   3:18-cv-05125         BARON & BUDD, P.C.
WILLIAMS, ANNIE           NJ - USDC for the District of New Jersey   3:16-cv-08829         BARON & BUDD, P.C.
WILLIAMS, MARY            NJ - USDC for the District of New Jersey   3:17-cv-08974         BARON & BUDD, P.C.
WOODARD, YOLANDA          NJ - USDC for the District of New Jersey   3:21-cv-03652         BARON & BUDD, P.C.
WOODBURY, PAULINE         NJ - USDC for the District of New Jersey   3:20-cv-10527         BARON & BUDD, P.C.
ANDERSON, CYNTHIA         NJ - USDC for the District of New Jersey   3:17-cv-12087         BARRETT LAW GROUP
BANEY, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-00442         BARRETT LAW GROUP
BERNSTEIN, OLGUITA        NJ - USDC for the District of New Jersey   3:17-cv-07043         BARRETT LAW GROUP
BERTHELSEN, JEROLYNN      NJ - USDC for the District of New Jersey   3:17-cv-13180         BARRETT LAW GROUP
BIRD, GAIL                NJ - USDC for the District of New Jersey   3:17-cv-12148         BARRETT LAW GROUP
BOONE, SHEILA             NJ - USDC for the District of New Jersey   3:17-cv-13155         BARRETT LAW GROUP
BORN, SHIRLEY             NJ - USDC for the District of New Jersey   3:17-cv-13140         BARRETT LAW GROUP
BOTTO, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-12895         BARRETT LAW GROUP
BROWN, JEANIE             NJ - USDC for the District of New Jersey   3:17-cv-13183         BARRETT LAW GROUP
BUSHAW, LINEECE           NJ - USDC for the District of New Jersey   3:17-cv-11802         BARRETT LAW GROUP
BUTZOW, SHELIA            NJ - USDC for the District of New Jersey   3:17-cv-12913         BARRETT LAW GROUP
CHANDLER, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-07622         BARRETT LAW GROUP
CLARKE, WALDA             NJ - USDC for the District of New Jersey   3:17-cv-13143         BARRETT LAW GROUP
COCHRAN, GWENDOLYN        NJ - USDC for the District of New Jersey   3:17-cv-12156         BARRETT LAW GROUP
COLLINS, ESTHER           NJ - USDC for the District of New Jersey   3:17-cv-03849         BARRETT LAW GROUP
CONTE, SHIRLEY            CA - Superior Court - Monterrey County     18cv000583            BARRETT LAW GROUP
CRISTOBAL, NANETTE        NJ - USDC for the District of New Jersey   3:17-cv-09159         BARRETT LAW GROUP
CRUZ, RIONA               NJ - USDC for the District of New Jersey   3:17-cv-12391         BARRETT LAW GROUP
DAVIS, KELLY              NJ - USDC for the District of New Jersey   3:17-cv-07285         BARRETT LAW GROUP
DE MARRON, ALTAGRACIA     CA - Superior Court - San Bernardino County CIVDS1803670         BARRETT LAW GROUP
DERRICK, SHIRLEY          NJ - USDC for the District of New Jersey   3:17-cv-07014         BARRETT LAW GROUP
DIAL, BETTY               NJ - USDC for the District of New Jersey   3:17-cv-07054         BARRETT LAW GROUP
DONALD, LETTIE            NJ - USDC for the District of New Jersey   3:17-cv-12336         BARRETT LAW GROUP
FISHER, ROSANNE           NJ - USDC for the District of New Jersey   3:17-cv-12345         BARRETT LAW GROUP
FRANKLIN, BRITTIE         NJ - USDC for the District of New Jersey   3:17-cv-11491         BARRETT LAW GROUP




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
GABBARD, PENELOPE                  NJ - USDC for the District of New Jersey   3:17-cv-12906         BARRETT LAW GROUP
GAINES, CATHERINE                  NJ - USDC for the District of New Jersey   3:19-cv-21336         BARRETT LAW GROUP
GAINES, SHARI                      NJ - USDC for the District of New Jersey   3:17-cv-12596         BARRETT LAW GROUP
GARLOCK, YVONNE                    CA - Superior Court - Fresno County        18CECG00563           BARRETT LAW GROUP
GIBER, SHARON                      NJ - USDC for the District of New Jersey   3:17-cv-12681         BARRETT LAW GROUP
GRAHAM, GLORIA                     NJ - USDC for the District of New Jersey   3:17-cv-07186         BARRETT LAW GROUP
GROMASKI, CAROL                    NJ - USDC for the District of New Jersey   3:17-cv-12318         BARRETT LAW GROUP
GRYWALSKY, ANITA                   NJ - USDC for the District of New Jersey   3:17-cv-09153         BARRETT LAW GROUP
HALL, MARJORIE                     NJ - USDC for the District of New Jersey   3:17-cv-12388         BARRETT LAW GROUP
HANCOCK, MARY                      NJ - USDC for the District of New Jersey   3:17-cv-12329         BARRETT LAW GROUP
HARBIN, DORTHY                     NJ - USDC for the District of New Jersey   3:17-cv-08382         BARRETT LAW GROUP
HARRELSON, SARAH                   NJ - USDC for the District of New Jersey   3:17-cv-12039         BARRETT LAW GROUP
HAYDEN, THERESA                    NJ - USDC for the District of New Jersey   3:17-cv-07000         BARRETT LAW GROUP
HEYING, MARIE                      NJ - USDC for the District of New Jersey   3:17-cv-11443         BARRETT LAW GROUP
INIGUEZ, MARSHA                    NJ - USDC for the District of New Jersey   3:17-cv-07199         BARRETT LAW GROUP
JOHNSON, CAROLINA                  CA - Superior Court - Los Angeles County   BC694135              BARRETT LAW GROUP
JOHNSON, SANDRA                    NJ - USDC for the District of New Jersey   3:17-cv-11449         BARRETT LAW GROUP
JOINTER, LINDA                     NJ - USDC for the District of New Jersey   3:20-cv-08566         BARRETT LAW GROUP
JONES, TRINA                       NJ - USDC for the District of New Jersey   3:17-cv-12045         BARRETT LAW GROUP
KAISER, CHRISTINE                  NJ - USDC for the District of New Jersey   3:18-cv-11515         BARRETT LAW GROUP
KEENE, ROBERTA                     NJ - USDC for the District of New Jersey   3:17-cv-07254         BARRETT LAW GROUP
KELLEHER, LAURA                    NJ - USDC for the District of New Jersey   3:17-cv-12335         BARRETT LAW GROUP
KELLEHER, SARA                     NJ - USDC for the District of New Jersey   3:17-cv-13153         BARRETT LAW GROUP
KEYS-CHAVIS, EDNA                  NJ - USDC for the District of New Jersey   3:17-cv-07370         BARRETT LAW GROUP
KINSEL, PATSY                      NJ - USDC for the District of New Jersey   3:17-cv-09059         BARRETT LAW GROUP
LASTER, WANDA                      NJ - USDC for the District of New Jersey   3:17-cv-12693         BARRETT LAW GROUP
LAWRENCE, MARTHA                   NJ - USDC for the District of New Jersey   3:17-cv-06982         BARRETT LAW GROUP
LEAMAN, THURMA                     NJ - USDC for the District of New Jersey   3:17-cv-06944         BARRETT LAW GROUP
LITTLE, DEBRA                      NJ - USDC for the District of New Jersey   3:17-cv-08380         BARRETT LAW GROUP
LUMAS, TANASHISKA                  NJ - USDC for the District of New Jersey   3:16-cv-06694         BARRETT LAW GROUP
LUND, LAUREL                       NJ - USDC for the District of New Jersey   3:17-cv-12055         BARRETT LAW GROUP
MARTIN, GLORIA                     NJ - USDC for the District of New Jersey   3:17-cv-07274         BARRETT LAW GROUP
MCCARTHY, KERRIE                   NJ - USDC for the District of New Jersey   3:17-cv-11498         BARRETT LAW GROUP
MCEUEN, JOAN                       NJ - USDC for the District of New Jersey   3:17-cv-06995         BARRETT LAW GROUP
MCKENNIE, BERNICE                  NJ - USDC for the District of New Jersey   3:17-cv-09172         BARRETT LAW GROUP
MCNICHOLAS, SIOBHAN                NJ - USDC for the District of New Jersey   3:18-cv-00033         BARRETT LAW GROUP
MEADE, HEIDI                       NJ - USDC for the District of New Jersey   3:17-cv-07631         BARRETT LAW GROUP
MONTEJO, MARIA                     CA - Superior Court - Los Angeles County   BC694136              BARRETT LAW GROUP
MOORE, RAMA                        NJ - USDC for the District of New Jersey   3:17-cv-07023         BARRETT LAW GROUP
MORIGI, KATHLEEN                   NJ - USDC for the District of New Jersey   3:17-cv-08297         BARRETT LAW GROUP
MOTEN, DIETRA                      NJ - USDC for the District of New Jersey   3:17-cv-11490         BARRETT LAW GROUP
OCALLAGHAN, MARGARET               NJ - USDC for the District of New Jersey   3:17-cv-12349         BARRETT LAW GROUP
ODOM, TRUDY                        NJ - USDC for the District of New Jersey   3:17-cv-12628         BARRETT LAW GROUP
OWUSU, DINAH                       NJ - USDC for the District of New Jersey   3:17-cv-12800         BARRETT LAW GROUP
PALMER, BARBARA                    NJ - USDC for the District of New Jersey   3:17-cv-07051         BARRETT LAW GROUP
PETERSON, PAULETTE                 NJ - USDC for the District of New Jersey   3:17-cv-11497         BARRETT LAW GROUP
PLOTNER, DEANNA                    NJ - USDC for the District of New Jersey   3:17-cv-11299         BARRETT LAW GROUP
PLUMMER, ETHEL                     NJ - USDC for the District of New Jersey   3:17-cv-11805         BARRETT LAW GROUP
QUININ, FRANCES                    NJ - USDC for the District of New Jersey   3:17-cv-12309         BARRETT LAW GROUP
RANDALL, MARY                      NJ - USDC for the District of New Jersey   3:17-cv-12891         BARRETT LAW GROUP
REDMAN, KATHLEEN                   NJ - USDC for the District of New Jersey   3:17-cv-12340         BARRETT LAW GROUP
ROMERO, YVETTE                     NJ - USDC for the District of New Jersey   3:17-cv-12314         BARRETT LAW GROUP
ROSZAK, ROSE                       NJ - USDC for the District of New Jersey   3:17-cv-12181         BARRETT LAW GROUP
ROWLAND, KARA                      NJ - USDC for the District of New Jersey   3:17-cv-12159         BARRETT LAW GROUP
SAWYER-DEAQUINO, RHONDA            NJ - USDC for the District of New Jersey   3:17-cv-07047         BARRETT LAW GROUP
SCHOEN, PATTY                      NJ - USDC for the District of New Jersey   3:17-cv-12467         BARRETT LAW GROUP
SEMAAN, VIRGINIA                   NJ - USDC for the District of New Jersey   3:17-cv-12623         BARRETT LAW GROUP
SILVER, CAROL                      NJ - USDC for the District of New Jersey   3:17-cv-07020         BARRETT LAW GROUP
SMITH, SARAH                       NJ - USDC for the District of New Jersey   3:17-cv-06984         BARRETT LAW GROUP
SMITH, VIOLA                       NJ - USDC for the District of New Jersey   3:17-cv-07021         BARRETT LAW GROUP
STANSBURY, KAREN                   NJ - USDC for the District of New Jersey   3:17-cv-11495         BARRETT LAW GROUP
STEWART, DARLENE                   NJ - USDC for the District of New Jersey   3:17-cv-12762         BARRETT LAW GROUP
SWANEY, PEGGY                      NJ - USDC for the District of New Jersey   3:17-cv-12286         BARRETT LAW GROUP
SWIFT, STAR                        NJ - USDC for the District of New Jersey   3:17-cv-07667         BARRETT LAW GROUP
TARR, LOLA                         NJ - USDC for the District of New Jersey   3:17-cv-07626         BARRETT LAW GROUP
TAVERA, YORMARY                    NJ - USDC for the District of New Jersey   3:17-cv-12272         BARRETT LAW GROUP
TAYLOR-ROBINSON, JOAN              CA - Superior Court - Riverside County     RIC1803271            BARRETT LAW GROUP
TURNER, BELINDA                    NJ - USDC for the District of New Jersey   3:17-cv-06992         BARRETT LAW GROUP
TUTTLE, BARBARA                    NJ - USDC for the District of New Jersey   3:17-cv-12321         BARRETT LAW GROUP
URIBE, DANITA                      NJ - USDC for the District of New Jersey   3:17-cv-13630         BARRETT LAW GROUP
ANDERSON, BRENDA                   NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
BORGER, SUSAN                      NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
CONTE, SHIRLEY                     NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
CORTES DE MARRON, ALTAGRACIA NJ - USDC for the District of New Jersey         3:17-cv-02943         BARRETT LAW GROUP, P.A.
GARLOCK, YVONNE                    NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
HATMAKER, VICKIE                   NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
JOHNSON, CAROLINA                  NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
JONES, DONNA                       NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
KRZYZOSIAK, NORMA                  NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
PENA, SYLIVA              NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
RENNER, DOLLY             NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
SPIER, KATJE              NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
TISCHNER, JOYCE           NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
VANDERSCHAAF, EVELYN      NJ - USDC for the District of New Jersey   3:17-cv-12553         BARRETT LAW GROUP, P.A.
WASHINGTON, SHANEDRA      NJ - USDC for the District of New Jersey   3:17-cv-12710         BARRETT LAW GROUP, P.A.
WHEET, GLADIES            NJ - USDC for the District of New Jersey   3:17-cv-02943         BARRETT LAW GROUP, P.A.
WHITE, GASECENER          NJ - USDC for the District of New Jersey   3:17-cv-12598         BARRETT LAW GROUP, P.A.
WIINIKAINEN, DEBRA        NJ - USDC for the District of New Jersey   3:17-cv-12497         BARRETT LAW GROUP, P.A.
YOST, BETTY               NJ - USDC for the District of New Jersey   3:17-cv-12512         BARRETT LAW GROUP, P.A.
GIBBS, ANNA               NJ - USDC for the District of New Jersey   3:17-cv-07852         BARRY, MCTIERNAN & WEDINGER
BOHANNON, MARY            NJ - USDC for the District of New Jersey   3:20-cv-15780         BART DURHAM INJURY LAW
BOWENS, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-02733         BART DURHAM INJURY LAW
BRADEN, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-02893         BART DURHAM INJURY LAW
BYINGTON, ALMA            NJ - USDC for the District of New Jersey   3:20-cv-15774         BART DURHAM INJURY LAW
CARR, ILENE               NJ - USDC for the District of New Jersey   3:20-cv-15498         BART DURHAM INJURY LAW
CASSIDY, ANNA             NJ - USDC for the District of New Jersey   3:20-cv-15865         BART DURHAM INJURY LAW
GARDNER, DORIS            NJ - USDC for the District of New Jersey   3:21-cv-00681         BART DURHAM INJURY LAW
GREENE, ANN               NJ - USDC for the District of New Jersey   3:21-cv-00685         BART DURHAM INJURY LAW
JOHNSON, ERNESTINE        NJ - USDC for the District of New Jersey   3:21-cv-08393         BART DURHAM INJURY LAW
JONES, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-02769         BART DURHAM INJURY LAW
LANE, CRYSTAL             NJ - USDC for the District of New Jersey   3:20-cv-14854         BART DURHAM INJURY LAW
LARSON, DOLORES           NJ - USDC for the District of New Jersey   03:21-cv-04515        BART DURHAM INJURY LAW
LARSON, DOLORES           NJ - USDC for the District of New Jersey   3:21-cv-04515         BART DURHAM INJURY LAW
MARLOW, AUDREY            NJ - USDC for the District of New Jersey   3:20-cv-15763         BART DURHAM INJURY LAW
MCELVEEN, PAULINE         NJ - USDC for the District of New Jersey   3:21-cv-00577         BART DURHAM INJURY LAW
MCNEW, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-15487         BART DURHAM INJURY LAW
MOSLEY, JEFFELYN          NJ - USDC for the District of New Jersey   3:21-cv-00587         BART DURHAM INJURY LAW
NUNLEY-CALLENDER, ZONIA   NJ - USDC for the District of New Jersey   3:21-cv-01088         BART DURHAM INJURY LAW
POLAN, WILMA              NJ - USDC for the District of New Jersey   3:20-cv-15557         BART DURHAM INJURY LAW
TABOR, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-15227         BART DURHAM INJURY LAW
WEAVER, MISTY             NJ - USDC for the District of New Jersey   3:20-cv-15334         BART DURHAM INJURY LAW
ZARRILLI, CHRISTINE       NJ - Superior Court - Atlantic County      ATL-L-1480-16         BATHGATE, WEGENER & WOLF
ALCALA, SUSANA            NJ - USDC for the District of New Jersey   3:17-cv-11166         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
ALEXANDER, SHERRY         NJ - USDC for the District of New Jersey   3:19-cv-00477         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
AMARAL, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-11363         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
AMBRIZ, ALIZA             CA - Superior Court - San Bernardino County 081611616            BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C.
APPLEBEE, CHERYL          NJ - USDC for the District of New Jersey   3:19-cv-14241         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
AYCOCK, DOROTHY           NJ - USDC for the District of New Jersey   3:19-cv-11555         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BAIZE, SHEILA             NJ - USDC for the District of New Jersey   3:17-cv-10647         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BAKKER, MARGARET          NJ - USDC for the District of New Jersey   3:17-cv-06450         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BANDILLI, MARIKA          NJ - USDC for the District of New Jersey   3:18-cv-00037         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BARBORKA, BERNITA         NJ - USDC for the District of New Jersey   3:17-cv-11168         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BOLTON, ANA               NJ - USDC for the District of New Jersey   3:18-cv-13354         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BOTTS, THEONA             NJ - USDC for the District of New Jersey   3:19-cv-17267         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BOYCE, JANET              NJ - USDC for the District of New Jersey   3:18-cv-08613         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BOYNER, LORAINE           NJ - USDC for the District of New Jersey   3:18-cv-12023         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BRADLEY, JANE (JILL)      NJ - USDC for the District of New Jersey   3:19-cv-21770         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BROOKS, HOLLY             NJ - USDC for the District of New Jersey   3:20-cv-02201         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BROWN, STACY              NJ - USDC for the District of New Jersey   3:18-cv-10902         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
BURKEEN, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-05642         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CABRAL, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-07619         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CALHOUN, PATTI            NJ - USDC for the District of New Jersey   3:19-cv-16280         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CARPER, WENDY             NJ - USDC for the District of New Jersey   3:17-cv-12998         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CARROLL, INA              NJ - USDC for the District of New Jersey   3:20-cv-06190         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CARROLL, STACEY           NJ - USDC for the District of New Jersey   3:19-cv-18193         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CAUDLE, MARION            NJ - USDC for the District of New Jersey   3:19-cv-10525         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CHAUDHRI, SHIREEN         NJ - USDC for the District of New Jersey   3:21-cv-12676         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CHEATHAM, JOYCE MURRAY    NJ - USDC for the District of New Jersey   3:18-cv-13303         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CHESNA, YVONNE            NJ - USDC for the District of New Jersey   3:19-cv-11436         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CHRISTENSEN, LEANNE       NJ - USDC for the District of New Jersey   3:20-cv-19659         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CHRISTIAN, LORIE          NJ - USDC for the District of New Jersey   3:19-cv-19396         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CLARK, JACQUELINE         NJ - USDC for the District of New Jersey   3:18-cv-08870         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CLOVER, RANAE             NJ - USDC for the District of New Jersey   3:20-cv-06165         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CORMIER, WANDA            NJ - USDC for the District of New Jersey   3:19-cv-13111         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CORNETT, SHANNON          NJ - USDC for the District of New Jersey   3:20-cv-02112         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
COULTER, CHARLOTTE        NJ - USDC for the District of New Jersey   3:20-cv-05799         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
CRESPO, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-11174         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
DAUGHDRILL, CYNTHIA       NJ - USDC for the District of New Jersey   3:19-cv-21224         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
DE ESCAMILLA, CARMEN      CA - Superior Court - Santa Clara County   20CV366707            BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
DEARY, PENNY              NJ - USDC for the District of New Jersey   3:18-cv-02814         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
DEMAND, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-11215         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
DENOON, SONJA             NJ - USDC for the District of New Jersey   3:20-cv-03613         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
DOAK, JANICE              NJ - USDC for the District of New Jersey   3:18-cv-09814         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
ENGSTROM, RENE            NJ - USDC for the District of New Jersey   3:20-cv-00254         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
FELDAN, KAREEN            CA - Superior Court - Los Angeles County   BC720945              BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
FERREIRA, RAMONA          NJ - USDC for the District of New Jersey   3:19-cv-16073         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
FOOTMAN-DACIL, LEAHRE     NJ - USDC for the District of New Jersey   3:18-cv-06292         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
FRYER, KIMBERLY           NJ - USDC for the District of New Jersey   3:19-cv-17732         BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
GALLO, MARIA              NJ - USDC for the District of New Jersey   3:19-cv-15929             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GENTHERT, LINDA           NJ - USDC for the District of New Jersey   3:18-cv-07976             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GENTNER, LYDIA            NJ - USDC for the District of New Jersey   3:18-cv-07975             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GETCHELL, SUSAN           NJ - USDC for the District of New Jersey   3:20-cv-07805             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GHAFFAR-TEHRANI, SARA     NJ - USDC for the District of New Jersey   3:20-cv-19694             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GOMEZ, ANGELITA           NJ - USDC for the District of New Jersey   3:17-cv-07175             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GOYER, LISA               NJ - USDC for the District of New Jersey   3:18-cv-03937             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GRAY, MARSHA              NJ - USDC for the District of New Jersey   3:19-cv-19608             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GREEN, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-11990             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
GRIFFIN, KELLY            NJ - USDC for the District of New Jersey   3:19-cv-11347             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HALLORAN, CYNTHIA         NJ - USDC for the District of New Jersey   3:20-cv-05435             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HARRISON, KATHALEEN       CA - Superior Court - Los Angeles County   BC696316                  BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HATTON, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-02812             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
                          CA - Superior Court - San Luis Obispo
HAWORTH, MELISSA                                                     18CV0334                  BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C.
                          County
HAYNES, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-11158             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HENRY, MIGDALIA           NJ - USDC for the District of New Jersey   3:18-cv-11594             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HERRERA-CHAVEZ, KAREN     NJ - USDC for the District of New Jersey   3:19-cv-18313             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HILL, LANETTA             NJ - USDC for the District of New Jersey   3:19-cv-13139             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HITCHCOCK, PATRICIA       NJ - USDC for the District of New Jersey   3:20-cv-09139             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HODGES, FRANCES           NJ - USDC for the District of New Jersey   3:17-cv-07032             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HOLDER, JACINTA           NJ - USDC for the District of New Jersey   3:18-cv-17657             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HOLMES, MELINDA           NJ - USDC for the District of New Jersey   3:19-cv-13134             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HOOVER, JOELLEN           NJ - USDC for the District of New Jersey   3:17-cv-11165             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HORSLEY, ALLISON          NJ - USDC for the District of New Jersey   3:19-cv-12828             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HOWARD, ROSALYN           NJ - USDC for the District of New Jersey   3:19-cv-12769             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HUDSON, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-01409             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
HUDSON, LESLI             NJ - USDC for the District of New Jersey   3:18-cv-16298             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
JEFFERY, ALANNA           NJ - USDC for the District of New Jersey   3:20-cv-00314             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
JOHNSON, JENNIFER         NJ - USDC for the District of New Jersey   3:18-cv-10776             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
JOHNSON, ROSELYN          NJ - USDC for the District of New Jersey   3:20-cv-07298             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
JOHNSON, WANDA            NJ - USDC for the District of New Jersey   3:19-cv-08841             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KASKUS, MARYANN           NJ - USDC for the District of New Jersey   3:20-cv-19675             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KEENAN, CARA              NJ - USDC for the District of New Jersey   3:18-cv-02811             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KELLY, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-15973             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KENDRICK, LJILJANA        NJ - USDC for the District of New Jersey   3:20-cv-03495             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KENNEDY, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-00649             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KHODOS, MIRA              NJ - USDC for the District of New Jersey   3:19-cv-00418             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KNAPEREK, LAURA           NJ - USDC for the District of New Jersey   3:18-cv-02817             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
KOCAY, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-14226             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
LANG, KELLY               NJ - USDC for the District of New Jersey   3:19-cv-02269             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
LANGER, ANDREA            NJ - USDC for the District of New Jersey   3:19-cv-13970             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
LATARTE, MIMI             NJ - USDC for the District of New Jersey   3:20-cv-05432             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
LAWRENCE, DEBBIE          NJ - USDC for the District of New Jersey   3:20-cv-02198             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
LESTER, ELLEN             NJ - USDC for the District of New Jersey   3:18-cv-09874             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
LOOMIS, DIANNE            NJ - USDC for the District of New Jersey   3:17-cv-04636             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MACKIN, VIVIAN            NJ - USDC for the District of New Jersey   3:20-cv-06163             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MANNI, DIANE              NJ - USDC for the District of New Jersey   3:19-cv-11388             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MANSFIELD, KATHLEEN       NJ - USDC for the District of New Jersey   3:19-cv-11331             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MARTINEZ, CHARLOTTE       NJ - USDC for the District of New Jersey   3:18-cv-09984             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MAURER, TARA              NJ - USDC for the District of New Jersey   3:18-cv-16038             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MILLER, JUDITH            NJ - USDC for the District of New Jersey   3:18-cv-17602             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MILLS, DIANNA             NJ - USDC for the District of New Jersey   3:19-cv-16621             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MOLLOY, NICKI-ANN         NJ - USDC for the District of New Jersey   3:20-cv-09093             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MORGAN, VIRGINIA          NJ - USDC for the District of New Jersey   3:19-cv-20709             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MURRAY, LESLIE            CA - Superior Court - Monterrey County     19CV004711                BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
MYERS, ADESIMBO           NJ - USDC for the District of New Jersey   3:21-cv-03790             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
NAGEL, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-09396             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
NASSON, BESSIE            NJ - USDC for the District of New Jersey   3:19-cv-12766             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
NEBORSKY, SANDRA          CA - Superior Court - San Diego County     37-2018-38194-CU-PL-CTL   BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
NEEL, SAMINATHA           NJ - USDC for the District of New Jersey   3:18-cv-01410             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
NEWBERRY, BARBARA         CA - Superior Court - San Bernardino County CIVDS1725849             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C.
NORRED, SHERRI            NJ - USDC for the District of New Jersey   3:19-cv-15928             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
OGLESBY, PATTY            NJ - USDC for the District of New Jersey   3:20-cv-01105             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
ORTIZ, ALICE              NJ - USDC for the District of New Jersey   3:18-cv-16397             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
PETERS, ROBIN             NJ - USDC for the District of New Jersey   3:18-cv-02804             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
PHILEMON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-11644             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
PIPPITT, ALEXANDRA        NJ - USDC for the District of New Jersey   3:20-cv-01747             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
POLLOCK, NANETTE          NJ - USDC for the District of New Jersey   3:21-cv-03340             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
PRICE, GINGER             NJ - USDC for the District of New Jersey   3:19-cv-15981             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
PRUIETT, JUANITA          NJ - USDC for the District of New Jersey   3:17-cv-11167             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
RANALDI, DEBORAH          NJ - USDC for the District of New Jersey   3:19-cv-20657             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
RAO, SUSAN                NJ - USDC for the District of New Jersey   3:20-cv-10936             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
REDONDO, JULIA            NJ - USDC for the District of New Jersey   3:17-cv-06536             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
RENDA, SHANNON            NJ - USDC for the District of New Jersey   3:18-cv-13376             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
REYES, STELLA             NJ - USDC for the District of New Jersey   3:18-cv-11473             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
REYNOLDS, CONSTANCE       NJ - USDC for the District of New Jersey   3:18-cv-05098             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
RICO, AMY                 NJ - USDC for the District of New Jersey   3:17-cv-11342             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
RITCHIE, JUDY             NJ - USDC for the District of New Jersey   3:17-cv-05771             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C




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          Claimant Name                        State Filed                      Docket Number                   Plaintiff Counsel
ROBBINS, JANICE                NJ - USDC for the District of New Jersey   3:19-cv-11387             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
ROTH, MARILYNN                 CA - Superior Court - Los Angeles County   20STCV25150               BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
ROYBAL, VICTORIA               NJ - USDC for the District of New Jersey   3:18-cv-14320             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SCHARP, LEAH                   NJ - USDC for the District of New Jersey   3:18-cv-02806             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SCHNAPP, ARLENE                NJ - USDC for the District of New Jersey   3:18-cv-10083             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SHAW, REBECCA                  NJ - USDC for the District of New Jersey   3:19-cv-08995             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SING, LANA                     NJ - USDC for the District of New Jersey   3:17-cv-04878             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SINGER, BARBARA                NJ - USDC for the District of New Jersey   3:17-cv-06483             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SMITH, LOIS                    NJ - USDC for the District of New Jersey   3:18-cv-16908             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
STACY, THORA                   NJ - USDC for the District of New Jersey   3:19-cv-21527             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
STAMEY, JULIA                  NJ - USDC for the District of New Jersey   3:18-cv-13020             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
STEINBACH, LEANNE              NJ - USDC for the District of New Jersey   3:20-cv-02210             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
STEPHENS, SHIRLEY              NJ - USDC for the District of New Jersey   3:19-cv-11377             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
STERN, JANA                    NJ - USDC for the District of New Jersey   3:20-cv-14557             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
STONE, TAMARA                  NJ - USDC for the District of New Jersey   3:18-cv-15516             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SUMPTER, LINDA                 NJ - USDC for the District of New Jersey   3:20-cv-07691             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SURMAN, ELIZABETH              NJ - USDC for the District of New Jersey   3:18-cv-09227             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SWEDBERG, KRISTY               NJ - USDC for the District of New Jersey   3:20-cv-15000             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
SWEETMAN, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-15003             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
TENDICK, CONNIE                NJ - USDC for the District of New Jersey   3:17-cv-09411             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
TENNYSON, JODEE                NJ - USDC for the District of New Jersey   3:20-cv-02478             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
THOMPSON, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-16470             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
TIENKEN, BONNIE                CA - Superior Court - Fresno County        18CECG01553               BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
TUINSTRA, JUDI                 NJ - USDC for the District of New Jersey   3:20-cv-05892             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
VALLIDO, ALIW                  CA - Superior Court - Los Angeles County   37-2018-49018-CU-PL-CTL   BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
VANKIRK, CAROLYN               NJ - USDC for the District of New Jersey   3:19-cv-17197             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
VINCENT, TRACY                 NJ - USDC for the District of New Jersey   3:21-cv-06694             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WALKER, BARBARA                NJ - USDC for the District of New Jersey   3:19-cv-20113             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WALLACE, J.A.W.                NJ - USDC for the District of New Jersey   3:18-cv-09861             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WANN, MARGARET                 NJ - USDC for the District of New Jersey   3:19-cv-12021             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WHITTLE, YOULANDA              NJ - USDC for the District of New Jersey   3:19-cv-13142             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WILEY, SUSAN                   NJ - USDC for the District of New Jersey   3:17-cv-04879             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WILLIAMS, BOBBIE               NJ - USDC for the District of New Jersey   3:19-cv-01639             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WINFIELD, JULIA                NJ - USDC for the District of New Jersey   3:20-cv-10752             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WITHROW, ELIZABETH             NJ - USDC for the District of New Jersey   3:20-cv-01113             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WOJTA, PAMELA                  NJ - USDC for the District of New Jersey   3:18-cv-08610             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WONG, SHIRLEY; YOUNG, LINDA    CA - Superior Court - Los Angeles County   BG647543                  BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
WRIGHT, BRENDA                 NJ - USDC for the District of New Jersey   3:17-cv-06534             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
YOUNG, TINA                    NJ - USDC for the District of New Jersey   3:20-cv-07716             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
YOUNG-ARREDONDO, RUTH          NJ - USDC for the District of New Jersey   3:21-cv-06860             BAUM, HEDLUND, ARISTEI & GOLDMAN, P.C
ODOM, SHERRI ESTATE OF JAMES
                               AZ - Superior Court - Maricopa County      CV2021-000747             BEASLEY ALLEN
MCCORMICK
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
CICALA, SARAH                  NJ - USDC for the District of New Jersey   3:21-cv-15319
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
DEMERS, EVELYN                 NJ - USDC for the District of New Jersey   3:21-cv-15355
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
HARGROVE, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-15320
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
HEDGES, BARBARA                NJ - USDC for the District of New Jersey   3:21-cv-15321
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
HENDERSON, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-15322
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
JAMES, MARCIA                  NJ - USDC for the District of New Jersey   3:21-cv-15324
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
KASEY, NORMA                   NJ - USDC for the District of New Jersey   3:21-cv-15199
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
LEAKE, SHARON                  NJ - USDC for the District of New Jersey   3:21-cv-15325
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
LOCKARD, JOHNNA                NJ - USDC for the District of New Jersey   3:21-cv-15326
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
OKE, MARGARET                  NJ - USDC for the District of New Jersey   3:21-cv-15329
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
OPPEL, TAMMY                   NJ - USDC for the District of New Jersey   3:21-cv-15330
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
REDDEN, SANDRA                 NJ - USDC for the District of New Jersey   3:21-cv-15235
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
SHATARA, NANCY                 NJ - USDC for the District of New Jersey   3:21-cv-15204
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
SMITH, VALERIE                 NJ - USDC for the District of New Jersey   3:21-cv-10316
                                                                                                    &MILES
                                                                                                    BEASLEY ALLEN CROW METHVIN PORTIS
WITT, KAY                      NJ - USDC for the District of New Jersey   3:21-cv-15405
                                                                                                    &MILES
                                                                                                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ABBATE, DIANE                  MO - Circuit Court - City of St. Louis     1622-CC00134
                                                                                                    MILES, P.C.
                                                                                                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ABELES, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-01600
                                                                                                    MILES, P.C.
                                                                                                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ABERNATHY, SARA                NJ - USDC for the District of New Jersey   3:19-cv-12266
                                                                                                    MILES, P.C.
                                                                                                    BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ABOLOS, CHRISTINA              CA - Superior Court - Kern County          BCV-17-100318
                                                                                                    MILES, P.C.




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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ABOOD, MADONNA              NJ - USDC for the District of New Jersey   3:20-cv-07517
                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ABRAM, EDWINA               NJ - USDC for the District of New Jersey   3:20-cv-01276
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ACEVEDO, ANA                NJ - USDC for the District of New Jersey   3:19-cv-00932
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ACHESON, MARY               NJ - USDC for the District of New Jersey   3:20-cv-01610
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ACOSTA, GLORIA              NJ - USDC for the District of New Jersey   3:18-cv-11915
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ADAIR, RACHEL               NJ - USDC for the District of New Jersey   3:19-cv-12369
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ADAM, LAURA                 NJ - USDC for the District of New Jersey   3:20-cv-04304
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ADAM, MARION                NJ - USDC for the District of New Jersey   3:19-cv-21496
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ADAMS, CAROLYN              NJ - USDC for the District of New Jersey   3:20-cv-04422
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ADAMS, DOROTHY              NJ - USDC for the District of New Jersey   3:17-cv-13390
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ADAMS, JANIS                NJ - USDC for the District of New Jersey   3:18-cv-03941
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ADAMS, NIKITA               MO - Circuit Court - Jefferson County      18JE-CC00448
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ADAMS, TERESA               MO - Circuit Court - City of St. Louis     1522-CC10545
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ADDELSTON, JUDY             NJ - USDC for the District of New Jersey   3:17-cv-09219
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AERY, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-17860
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AGNEW, ANN                  MO - Circuit Court - City of St. Louis     1622-CC00443
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AGRESS, LLEWELLYN           NJ - USDC for the District of New Jersey   3:19-cv-08197
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AKINS, DIANNE               NJ - USDC for the District of New Jersey   3:19-cv-16059
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ALFORD, RUBY             NJ - USDC for the District of New Jersey   3:19-cv-17778
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ALFRED, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-18677
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ALGER, JUANITA           NJ - USDC for the District of New Jersey   3:19-cv-14174
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ALLISON, HELEN           NJ - USDC for the District of New Jersey   3:17-cv-08153
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ANGELES, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-13822
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ANGELL, JULIE            NJ - USDC for the District of New Jersey   3:21-cv-00417
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ANGELO, GAYLE-JEAN       MO - Circuit Court - City of St. Louis     1622-CC00134
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ANGELO, WENDY            NJ - USDC for the District of New Jersey   3:20-cv-10507
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ANGLIN, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-07351
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ANGLIN, JOANN            MO - Circuit Court - City of St. Louis     1522-CC-09792
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ANSTINE, BRIANNE         NJ - USDC for the District of New Jersey   3:20-cv-05498
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ANTHONY, APRIL           NJ - USDC for the District of New Jersey   3:20-cv-14542
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ANTHONY, CONNIE          NJ - USDC for the District of New Jersey   3:19-cv-01458
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ANTHONY, PATRICIA        NJ - USDC for the District of New Jersey   3:18-cv-02425
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ANTONIO, MARIA           NJ - USDC for the District of New Jersey   3:18-cv-08328
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ARANGO, ADRIANA          MO - Circuit Court - City of St. Louis     1722-CC11872
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ARCHER, DENNA            NJ - USDC for the District of New Jersey   3:17-cv-08543
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ARCHIE, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-20178
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ARMENI, MICHELLE         NJ - USDC for the District of New Jersey   3:18-cv-02052
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ARMONTROUT, MARY         NJ - USDC for the District of New Jersey   3:18-cv-01557
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ARMSTRONG, CINDY         NJ - USDC for the District of New Jersey   3:17-cv-09442
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ARMSTRONG, NANNIE        NJ - USDC for the District of New Jersey   3:19-cv-01794
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ARNEBERG, KATHY          NJ - USDC for the District of New Jersey   3:17-cv-08650
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ARNETT, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-01276
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ARNOLD, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-02394
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ARNOLD, KIMBERLY         NJ - USDC for the District of New Jersey   3:17-cv-09446
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ARON, MADELINE           NJ - USDC for the District of New Jersey   3:20-cv-03910
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ARROYO, PEGGY            NJ - USDC for the District of New Jersey   3:20-cv-01276
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ARTIAGA, JOANN           NJ - USDC for the District of New Jersey   3:20-cv-05157
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ASCENCIO, ROSA           MO - Circuit Court - Jefferson County      18JE-CC00893
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AVANT, VERNICE           NJ - USDC for the District of New Jersey   3:18-cv-09659
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AVENT, APRIL             NJ - USDC for the District of New Jersey   3:17-cv-08852
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BAILIFF, COLLEEN            FL - Circuit Court - Broward County        CACE19004206
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BALOUGH, NANCYANN           NJ - USDC for the District of New Jersey   3:17-cv-09617
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BANKS, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-05167
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BANKS, ROBIN              NJ - USDC for the District of New Jersey   3:19-cv-05789
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BANKSTON, LISA            NJ - USDC for the District of New Jersey   3:17-cv-09430
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BANOVIC, GLORIA           NJ - USDC for the District of New Jersey   3:19-cv-16059
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BARAN, NORA               NJ - USDC for the District of New Jersey   3:17-cv-07929
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BARANICH, TERRI           NJ - USDC for the District of New Jersey   3:17-cv-08656
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BARBOSA, TINA             NJ - USDC for the District of New Jersey   3:19-cv-15820
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BARKER, DEBORA            NJ - USDC for the District of New Jersey   3:20-cv-04312
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BARKER, IVA               NJ - USDC for the District of New Jersey   3:20-cv-07508
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BARNES, DANA              NJ - USDC for the District of New Jersey   3:20-cv-11194
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BORGH, PATRICIA                     NJ - USDC for the District of New Jersey   3:20-cv-12826
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BORGS, HAMILTN, HORNR, JOHNSN,                                                                      BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
                               NJ - USDC for the District of New Jersey        3:17-cv-00794
SCHULMN, VARR                                                                                       MILES, P.C.
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BORN, JENNIFER                      NJ - USDC for the District of New Jersey   3:17-cv-10225
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BORTLE, SHARYN                      NJ - USDC for the District of New Jersey   3:17-cv-09529
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BORZELLO, ELYSE                     NJ - USDC for the District of New Jersey   3:19-cv-20183
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BOSSERMAN, JANET                    NJ - USDC for the District of New Jersey   3:18-cv-08941
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BOSTIAN, MARILYN                    NJ - USDC for the District of New Jersey   3:17-cv-09225
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BOUDREAU, PATRICIA       NJ - USDC for the District of New Jersey   3:20-cv-06201
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BOUDREAUX, JEAN          NJ - USDC for the District of New Jersey   3:17-cv-08538
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BOULAS, ERICA            NJ - USDC for the District of New Jersey   3:19-cv-16150
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BOULER, SHERRY           NJ - USDC for the District of New Jersey   3:17-cv-13041
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BOULEY, LISA             NJ - USDC for the District of New Jersey   3:18-cv-14005
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BOUNDS, JOAN             NJ - USDC for the District of New Jersey   3:19-cv-20185
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BOURQUE, JENNIFER        NJ - USDC for the District of New Jersey   3:18-cv-00022
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BOWSER, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-01209
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BOYER, MELODYE           NJ - USDC for the District of New Jersey   3:19-cv-19537
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BOYNTON, LISA            NJ - USDC for the District of New Jersey   3:20-cv-01632
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BRACKINS, PAULA          NJ - USDC for the District of New Jersey   3:21-cv-00215
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BRADEN-GRADY, LISA       NJ - USDC for the District of New Jersey   3:19-cv-18264
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BRADLEY, CAROL           NJ - USDC for the District of New Jersey   3:20-cv-14341
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BRADY, MARTHA            NJ - USDC for the District of New Jersey   3:20-cv-10292
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BRANCH, GLENDA           NJ - USDC for the District of New Jersey   3:17-cv-08133
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BRANDI, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-05928
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BRASE, JOHANNA           NJ - USDC for the District of New Jersey   3:18-cv-10778
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BROWN, LINDA             CA - Superior Court - Kern County          BCV-18-100706
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-01802
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-16844
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-09032
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, MARGARET          NJ - USDC for the District of New Jersey   3:19-cv-17039
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, MARY              NJ - USDC for the District of New Jersey   3:21-cv-11910
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, PATRICIA          MO - Circuit Court - Jefferson County      18JE-CC00448
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, REAGANNE          NJ - USDC for the District of New Jersey   3:20-cv-12779
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, RENESSA           NJ - USDC for the District of New Jersey   3:17-cv-10268
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, ROSE              NJ - USDC for the District of New Jersey   3:20-cv-09992
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, SHARON            NJ - USDC for the District of New Jersey   3:19-cv-14788
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWN, SHELIA            NJ - USDC for the District of New Jersey   3:17-cv-06139
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BROWN, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-05894
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BROWN, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-13829
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BROWN, TERESA            MO - Circuit Court - City of St. Louis     1522-CC10545
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BROWN, WILMA             NJ - USDC for the District of New Jersey   3:20-cv-06852
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWNE, ALICE            NJ - USDC for the District of New Jersey   3:19-cv-19554
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BROWNING, GLORIA         NJ - USDC for the District of New Jersey   3:18-cv-09365
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BROWNING, TRACEY         NJ - USDC for the District of New Jersey   3:20-cv-06568
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BROXTON, BILLIE          MO - Circuit Court - Jefferson County      18JE-CC00893
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BRUCKNER, MELODY         NJ - USDC for the District of New Jersey   3:20-cv-12781
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BRUEMMER, CATHERINE      MO - Circuit Court - City of St. Louis     1722-CC11872
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BRUEMMER, SHARRON        NJ - USDC for the District of New Jersey   3:18-cv-15719
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BRUENS, GAIL             NJ - USDC for the District of New Jersey   3:18-cv-08944
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BRUMFIELD, DOROTHY       NJ - USDC for the District of New Jersey   3:21-cv-00353
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BRUNK, VICTORIA          NJ - USDC for the District of New Jersey   3:20-cv-03681
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BRUNO, JOSEFINA          NJ - USDC for the District of New Jersey   3:19-cv-16505
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BRUNSON, CLAUDINE        NJ - USDC for the District of New Jersey   3:17-cv-09227
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BRUNSON, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-21887
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BRUNSON, SHARON          NJ - USDC for the District of New Jersey   3:19-cv-11065
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BRYAN, JOYCE             NJ - USDC for the District of New Jersey   3:18-cv-05863
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BRYANT, DIANA            NJ - USDC for the District of New Jersey   3:17-cv-00796
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BRYANT, SHIRLEY          NJ - USDC for the District of New Jersey   3:19-cv-17305
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BUCCIERI, DOROTHY        NJ - USDC for the District of New Jersey   3:17-cv-10282
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BUCK, MARCIA             NJ - Superior Court - Atlantic County      ATL-L-2900-15
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BUCKHANON, ETHEL         NJ - USDC for the District of New Jersey   3:20-cv-18032
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BUCKLEY, JANICE          NJ - USDC for the District of New Jersey   3:17-cv-10295
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BUCKNER, STEPHANI        NJ - USDC for the District of New Jersey   3:19-cv-12272
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BUCZEK, ROYCE            NJ - USDC for the District of New Jersey   3:17-cv-03944
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BUDA, KATHY              NJ - USDC for the District of New Jersey   3:17-cv-10306
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BUFORD, LOIS             NJ - USDC for the District of New Jersey   3:19-cv-20192
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BULL, KIMBERLY           NJ - USDC for the District of New Jersey   3:19-cv-16082
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BULLARD, KIM             NJ - USDC for the District of New Jersey   3:19-cv-09001
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BUMGARNER, RITA          NJ - USDC for the District of New Jersey   3:17-cv-10395
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BUMPHUS, TAMARSHA        NJ - USDC for the District of New Jersey   3:19-cv-07705
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BUMPUS, SHARON           NJ - USDC for the District of New Jersey   3:18-cv-03949
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BUNGE, BETTY             NJ - USDC for the District of New Jersey   3:18-cv-16269
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BUNOL, ROSE              NJ - USDC for the District of New Jersey   3:19-cv-17050
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BURCHETTE, DOLORES       NJ - USDC for the District of New Jersey   3:19-cv-17863
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BURDYCK, CHERYL          NJ - USDC for the District of New Jersey   3:17-cv-09234
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BURGAN, YOLANDA          MO - Circuit Court - City of St. Louis     1522-CC10545
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BURGER, DARCY            MO - Circuit Court - Jefferson County      18JE-CC00893
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BURGER, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-05185
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BURKE, CATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-14725
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURKHOLTZ, VIVIAN        NJ - USDC for the District of New Jersey   3:18-cv-14311
                                                                                         MILES, P.C.
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BURLEIGH, MARY           NJ - USDC for the District of New Jersey   3:17-cv-07440
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BURNAM, KATHLEEN         NJ - USDC for the District of New Jersey   3:21-cv-14298
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURNELL, DAWNCINA        NJ - USDC for the District of New Jersey   3:17-cv-08546
                                                                                         MILES, P.C.
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BURNETT, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-01276
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BURNETT, KATHLEEN        NJ - USDC for the District of New Jersey   3:19-cv-05651
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BURNEY, KATHY            NJ - USDC for the District of New Jersey   3:19-cv-20193
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BURNEY, MARY             NJ - USDC for the District of New Jersey   3:20-cv-15025
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BURNS, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-12823
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURNS, ELIZABETH         NJ - USDC for the District of New Jersey   3:17-cv-05738
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURNS, JOANEVA           NJ - USDC for the District of New Jersey   3:17-cv-09243
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURNS, KELLI             NJ - USDC for the District of New Jersey   3:19-cv-18520
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURNS, MELINDA           NJ - USDC for the District of New Jersey   3:19-cv-20194
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURNS, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-15148
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURR, MONICA             NJ - USDC for the District of New Jersey   3:19-cv-17052
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
BURRELL, BEVERLY         MO - Circuit Court - City of St. Louis     1622-CC00443
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BURRESS, ANNETTE         MO - Circuit Court - City of St. Louis     1522-CC-09792
                                                                                         MILES, P.C.
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BURSINGER, JULIANNE      NJ - USDC for the District of New Jersey   3:20-cv-12837
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BURT, MARLENE            NJ - USDC for the District of New Jersey   3:18-cv-02059
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BURTON, CHERYL           NJ - USDC for the District of New Jersey   3:19-cv-19490
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BURTON, MARECYA          NJ - USDC for the District of New Jersey   3:17-cv-09244
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BURTON, ROSA             NJ - USDC for the District of New Jersey   3:20-cv-14375
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BURZENSKI, CHERYL        NJ - USDC for the District of New Jersey   3:20-cv-05504
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BUSBY, MARY              NJ - USDC for the District of New Jersey   3:17-cv-09623
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BUSBY, REBECCA           NJ - USDC for the District of New Jersey   3:19-cv-20286
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BUSCH, GEORGANN          NJ - USDC for the District of New Jersey   3:19-cv-17055
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BUSH, ESTHER             NJ - USDC for the District of New Jersey   3:20-cv-17959
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BUSHIKA, EVA             NJ - USDC for the District of New Jersey   3:21-cv-06234
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BUSTAMANTE, MARIA        NJ - USDC for the District of New Jersey   3:20-cv-02051
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BUTLER, AMELIA           MO - Circuit Court - Jefferson County      18JE-CC00893
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BUTLER, CONSTANCE        NJ - USDC for the District of New Jersey   3:18-cv-12144
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BUTLER, JUDY             NJ - USDC for the District of New Jersey   3:17-cv-08531
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BUTLER, LISA             NJ - USDC for the District of New Jersey   3:17-cv-10319
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BUTLER, NADJA            NJ - USDC for the District of New Jersey   3:20-cv-10293
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BUTLER, REGINA           NJ - USDC for the District of New Jersey   3:17-cv-08547
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BUTLER, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-12858
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BUTLER, SHALAYA          NJ - USDC for the District of New Jersey   3:18-cv-15715
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BUTTS, JUDITH            NJ - USDC for the District of New Jersey   3:17-cv-10324
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BUTTS, PAMELA            NJ - Superior Court - Atlantic County      ATL-L-2889-15
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BUTURLA, ROSE            NJ - USDC for the District of New Jersey   3:20-cv-01774
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BUURSMA, JOYCE           NJ - USDC for the District of New Jersey   3:19-cv-19489
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BYNES, TERA              NJ - USDC for the District of New Jersey   3:17-cv-10328
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BYRD, DIANNE             NJ - USDC for the District of New Jersey   3:20-cv-12844
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CABALLERO, TAMI          NJ - USDC for the District of New Jersey   3:20-cv-01276
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CABANA, ARLENE           NJ - USDC for the District of New Jersey   3:21-cv-13226
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CADDICK, PATRICIA        NJ - USDC for the District of New Jersey   3:19-cv-05659
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CADENA, JANIE            NJ - USDC for the District of New Jersey   3:19-cv-18969
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CAFFERTY, BARBARA        NJ - USDC for the District of New Jersey   3:19-cv-12274
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CAHILL, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-12030
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CAIN, CHRISTY            NJ - USDC for the District of New Jersey   3:17-cv-09283
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CAIN, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-05513
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CAIN, JACQUELINE         NJ - USDC for the District of New Jersey   3:19-cv-16888
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CAIN, MARTHA             NJ - USDC for the District of New Jersey   3:17-cv-08237
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CAIN, MARY PRINCE        NJ - USDC for the District of New Jersey   3:19-cv-21070
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CAIN, MELBA              MO - Circuit Court - City of St. Louis     1622-CC00134
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CALDWELL, VICKY          NJ - USDC for the District of New Jersey   3:19-cv-17285
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CALHOON, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-10171
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CALHOUN, BECKY           NJ - USDC for the District of New Jersey   3:19-cv-16059
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CALHOUN, CAROLYN         NJ - USDC for the District of New Jersey   3:17-cv-13455
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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                         PA - Philadelphia County Court of Common                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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CALLAHAN, TINA           NJ - Superior Court - Atlantic County      ATL-L-2899-15
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CALVERT, JUDITH          NJ - USDC for the District of New Jersey   3:20-cv-16109
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CALVI, AMY               NJ - USDC for the District of New Jersey   3:20-cv-05518
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CAMILLI, JOAN            NJ - USDC for the District of New Jersey   3:20-cv-13005
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CAMP, CARLA              MO - Circuit Court - City of St. Louis     1522-CC00613
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CAMP, JERRYE             NJ - USDC for the District of New Jersey   3:19-cv-14295
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CAMPBELL, BERTHA         NJ - USDC for the District of New Jersey   3:20-cv-05630
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CAMPBELL, BRENDA         NJ - USDC for the District of New Jersey   3:19-cv-16036
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CAMPBELL, BRENNA         NJ - USDC for the District of New Jersey   3:20-cv-08196
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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                                                                                         MILES, P.C.
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CAMPBELL, PAMELA         NJ - USDC for the District of New Jersey   3:18-cv-12031
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CAMPBELL, SURFLORUNIA    NJ - USDC for the District of New Jersey   3:17-cv-10196
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CANCIENNE, HAZEL         NJ - USDC for the District of New Jersey   3:19-cv-16148
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CANFORA, JUDITH          NJ - USDC for the District of New Jersey   3:21-cv-08928
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CANIPE, NATALIE          NJ - USDC for the District of New Jersey   3:17-cv-10190
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CANNON, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-14494
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CANNON, MELODY           NJ - USDC for the District of New Jersey   3:21-cv-09113
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CANTRELL, LINDA          NJ - USDC for the District of New Jersey   3:19-cv-05647
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CAPO, REGINA             NJ - USDC for the District of New Jersey   3:18-cv-10779
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CAPPELLO, TERRI          NJ - USDC for the District of New Jersey   3:17-cv-08554
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CARD, JANET              NJ - USDC for the District of New Jersey   3:19-cv-16747
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CARICCHIO, NANCY         NJ - USDC for the District of New Jersey   3:20-cv-03527
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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CARPENTER, STARLA         NJ - USDC for the District of New Jersey   3:20-cv-15037
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CARR, DIANNE              NJ - USDC for the District of New Jersey   3:19-cv-20202
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CARR, MELISSA             NJ - USDC for the District of New Jersey   3:17-cv-08661
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CARREAU, MARCELLE         NJ - USDC for the District of New Jersey   3:18-cv-01831
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CARROLL, LANELLE          NJ - USDC for the District of New Jersey   3:19-cv-17900
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CARROLL, MARIE            NJ - USDC for the District of New Jersey   3:18-cv-02435
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CARRUBBA, MARSHA          NJ - USDC for the District of New Jersey   3:19-cv-17773
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CARSON, CHRISTA           NJ - USDC for the District of New Jersey   3:17-cv-10449
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CARSON, MARGIE            NJ - USDC for the District of New Jersey   3:17-cv-09287
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CARTER, ARLITA            NJ - USDC for the District of New Jersey   3:17-cv-10205
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CASTRO, ALICIA           NJ - USDC for the District of New Jersey   3:19-cv-17350
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CASTRO, LEILA            NJ - USDC for the District of New Jersey   3:21-cv-12164
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CASTRO, MARJORIE         NJ - USDC for the District of New Jersey   3:21-cv-09117
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CHAMBERS, DIANNE         NJ - USDC for the District of New Jersey   3:21-cv-00196
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHAMBERS, JUDY           NJ - USDC for the District of New Jersey   3:21-cv-11905
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHAMBERS, VIRGINIA       NJ - USDC for the District of New Jersey   3:19-cv-07702
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHAMPION, JACKIE         NJ - USDC for the District of New Jersey   3:20-cv-01277
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHANEY, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-07513
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHAN-JONES, JAYDENE      NJ - USDC for the District of New Jersey   3:19-cv-09003
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHAPMAN, MARGUERITE      NJ - USDC for the District of New Jersey   3:19-cv-01805
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHAPMAN, MARY            NJ - USDC for the District of New Jersey   3:21-cv-00192
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CHAPMAN, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-09295
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CHAPPELL, KELLY          MO - Circuit Court - City of St. Louis     1622-CC-00837
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHARLES, GRACE           NJ - USDC for the District of New Jersey   3:18-cv-16697
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHARLES-ADAMS, CELIA     MO - Circuit Court - City of St. Louis     1622-CC00443
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHASE, ELIZABETH         NJ - USDC for the District of New Jersey   3:19-cv-16059
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CHASON, MEGAN            NJ - USDC for the District of New Jersey   3:19-cv-17064
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHASON, SHEILA           NJ - USDC for the District of New Jersey   3:19-cv-01371
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHASSE, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-00347
                                                                                         MILES, P.C.
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CHAVEZ, LAUREL           NJ - USDC for the District of New Jersey   3:17-cv-08560
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CHELF, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-05877
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CHEN, ALICE              NJ - USDC for the District of New Jersey   3:19-cv-14243
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CHERNEY, ARLENE          NJ - USDC for the District of New Jersey   3:21-cv-01326
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CHERRA, NARINDER         MO - Circuit Court - City of St. Louis     1722-CC11872
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CHESMORE, PATSY           NJ - USDC for the District of New Jersey   3:19-cv-14244
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CHESNUTT, MACKIE          NJ - USDC for the District of New Jersey   3:20-cv-01276
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CHEVALIER, SHARON         NJ - USDC for the District of New Jersey   3:18-cv-11892
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CHEZEN, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-06211
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CHILES-PATT, CAROLYN      NJ - USDC for the District of New Jersey   3:18-cv-03256
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CHIMENTO, GAIL            NJ - USDC for the District of New Jersey   3:17-cv-02396
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                                                                     30-2018-00988028-CU-MT- BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHIMITS, JUDI             CA - Superior Court - Orange County
                                                                     CXC                     MILES, P.C.
                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CHIODO, JESSICA           NJ - USDC for the District of New Jersey   3:19-cv-17072
                                                                                             MILES, P.C.
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CHISLER, BETTY            NJ - USDC for the District of New Jersey   3:17-cv-10244
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CHLUS, HEATHER            NJ - USDC for the District of New Jersey   3:18-cv-16609
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CHMELYNSKI, CAROL         NJ - USDC for the District of New Jersey   3:20-cv-14750
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CHOLEWA, JANET            MO - Circuit Court - City of St. Louis     1622-CC-00837
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CHOPYAK, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-14504
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CHRISTIAN, TRACY          NJ - USDC for the District of New Jersey   3:17-cv-08563
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CHRYSLER, SHERYL          NJ - USDC for the District of New Jersey   3:18-cv-11891
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CHUMBURIDZE, TEO          NJ - USDC for the District of New Jersey   3:21-cv-14295
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CHURCH, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-08188
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CHURCH, JILL              NJ - USDC for the District of New Jersey   3:20-cv-13842
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CIANI, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-05188
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CLARK, DEBORA             NJ - USDC for the District of New Jersey   3:18-cv-12993
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CLARK, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-10252
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CLARK, TERICA            NJ - USDC for the District of New Jersey   3:19-cv-16848
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CLARK, TRISTAN           NJ - USDC for the District of New Jersey   3:20-cv-13279
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CLARKSON, WILMA          NJ - USDC for the District of New Jersey   3:19-cv-16745
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CLAUSS, JANET            NJ - USDC for the District of New Jersey   3:20-cv-09617
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CLAVARIO, MARIA          MO - Circuit Court - Jefferson County      18JE-CC00448
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CLAYTON, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-01335
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CLEMENTS, NITA           NJ - USDC for the District of New Jersey   3:17-cv-08532
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COCO, RUTH               NJ - USDC for the District of New Jersey   3:19-cv-21075
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COLE, MARILYN             NJ - USDC for the District of New Jersey   3:21-cv-00416
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COLE, VONSEAL             MO - Circuit Court - City of St. Louis     1522-CC-09792
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COLEMAN, BRENDA           NJ - USDC for the District of New Jersey   3:17-cv-08667
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COLEMAN, LEE              NJ - USDC for the District of New Jersey   3:17-cv-08859
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COLEMAN, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-00190
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COLLETT, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-09433
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
COLLINS, PEARLIE          NJ - USDC for the District of New Jersey   3:19-cv-01806
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COLLINS, ROSE             NJ - USDC for the District of New Jersey   3:19-cv-05660
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COLLINS, VALERIE          NJ - USDC for the District of New Jersey   3:18-cv-03680
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COLQUHOUN, KATHY          NJ - USDC for the District of New Jersey   3:21-cv-00167
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COLSON, JOLAN             NJ - USDC for the District of New Jersey   3:20-cv-10295
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COLTRANE, DORIS           NJ - USDC for the District of New Jersey   3:19-cv-05662
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COLVIN, MARCIA            NJ - USDC for the District of New Jersey   3:19-cv-20136
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COLVIN, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-01328
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COLVIN, ROSEMARY          NJ - USDC for the District of New Jersey   3:19-cv-12864
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COLVIN, VALERIA           NJ - USDC for the District of New Jersey   3:18-cv-05883
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COMBS, DELLAJEAN          NJ - USDC for the District of New Jersey   3:17-cv-00800
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COMMESSO, JO ANN          NJ - USDC for the District of New Jersey   3:20-cv-13075
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CONDON, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-16506
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CONGROVE, LAURA           NJ - USDC for the District of New Jersey   3:21-cv-10638
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CONKLIN, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-06279
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CONLEY, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-16749
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CONLEY, ELIZABETH         NJ - USDC for the District of New Jersey   3:19-cv-20140
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CONLEY, ROBERTA           NJ - USDC for the District of New Jersey   3:20-cv-01276
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CONLEY, SHIRLEY           NJ - USDC for the District of New Jersey   3:19-cv-01808
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CONLON, SHARON            NJ - USDC for the District of New Jersey   3:17-cv-10884
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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CONWAY, PAULINE          NJ - USDC for the District of New Jersey   3:19-cv-19542
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COOK, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-14178
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COOK, DELLIN             NJ - USDC for the District of New Jersey   3:20-cv-14757
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COOK, JACKIE             NJ - USDC for the District of New Jersey   3:20-cv-18035
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COOK, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-06285
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COOK, KYNDA              NJ - USDC for the District of New Jersey   3:17-cv-03945
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COOPER, CLARICE          MO - Circuit Court - City of St. Louis     1622-CC00134
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CORDOVA, JENNIFER        NJ - USDC for the District of New Jersey   3:19-cv-12334
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CORDOVA, VALERIE         NJ - USDC for the District of New Jersey   3:17-cv-10261
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COREY, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-01472
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CORLESS, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-13287
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CORLEY, DANA             NJ - USDC for the District of New Jersey   3:20-cv-14507
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CORNELIUS, BARBARA       NJ - USDC for the District of New Jersey   3:21-cv-14961
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CORRAO, MARILYN          NJ - USDC for the District of New Jersey   3:19-cv-05922
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CREZO, VELINDA           NJ - USDC for the District of New Jersey   3:20-cv-06074
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CRIDER, TERESA           NJ - USDC for the District of New Jersey   3:17-cv-08671
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CRISMON, CYNTHIA         CA - Superior Court - Riverside County     RIC1819719
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CRISOSTOMO, YOLANDA      NJ - USDC for the District of New Jersey   3:19-cv-16059
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CRIST, PAULA             NJ - USDC for the District of New Jersey   3:20-cv-14836
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CROBARGER, KALA          CA - Superior Court - San Diego County     37-2018-33875-CU-PL-NC
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CROCKER, AUDREY          NJ - USDC for the District of New Jersey   3:21-cv-00188
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CROCKER, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-09252
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CROLLARD, SHELLY         NJ - USDC for the District of New Jersey   3:17-cv-08868
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CROMER, SOMBEN           NJ - USDC for the District of New Jersey   3:17-cv-00790
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CRONE, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-08573
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CRONKRITE, LINDA         NJ - USDC for the District of New Jersey   3:18-cv-11355
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CROPP, ROSEMARIE         NJ - USDC for the District of New Jersey   3:18-cv-12848
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CROSBY, BERTHA           NJ - USDC for the District of New Jersey   3:19-cv-20111
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CROSBY, MARGARET         NJ - USDC for the District of New Jersey   3:18-cv-03071
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CROSS, MARY              NJ - USDC for the District of New Jersey   3:19-cv-16059
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CROSS, VEDA              NJ - USDC for the District of New Jersey   3:17-cv-10278
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CROTSER, DONNA           NJ - USDC for the District of New Jersey   3:19-cv-01318
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CROUCH, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-12864
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CROWE, ARITHA            NJ - USDC for the District of New Jersey   3:19-cv-15910
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CRUCHELOW, MARLYS        NJ - USDC for the District of New Jersey   3:18-cv-09829
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CRUM, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-08579
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CRUMLISH, KATHLEEN       MO - Circuit Court - Jefferson County      18JE-CC00448
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CRUMP, CAROLE            NJ - USDC for the District of New Jersey   3:18-cv-09449
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CRUTCHFIELD, KIM         NJ - USDC for the District of New Jersey   3:19-cv-20207
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CRUZ, EMILY DELA         NJ - USDC for the District of New Jersey   3:19-cv-05009
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
CUCCHIELLA, LOUISE        NJ - USDC for the District of New Jersey   3:21-cv-00351
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CUCURELLA, LAURA          NJ - USDC for the District of New Jersey   3:19-cv-17771
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CUEVAS, KATHLEEN          NJ - USDC for the District of New Jersey   3:19-cv-16750
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CULCLASURE, AUGUSTE       NJ - USDC for the District of New Jersey   3:20-cv-13814
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CULLEN, DONNA             NJ - USDC for the District of New Jersey   3:18-cv-02440
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CULLEN, ROSELYN           NJ - USDC for the District of New Jersey   3:18-cv-16997
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CULOTTA, JENNIFER         NJ - USDC for the District of New Jersey   3:19-cv-20210
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CULPEPPER, ALLEGRA        NJ - USDC for the District of New Jersey   3:19-cv-16147
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CULPEPPER, AMELIA         NJ - USDC for the District of New Jersey   3:18-cv-03952
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CUNNINGHAM, BONNIE        NJ - USDC for the District of New Jersey   3:17-cv-12209
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CUNNINGHAM, MILDRED       NJ - USDC for the District of New Jersey   3:17-cv-09437
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CUNNINGHAM, PATRICIA      MO - Circuit Court - City of St. Louis     1522-CC00613
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CUNNINGHAM, VIRGINIA      NJ - USDC for the District of New Jersey   3:18-cv-01185
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CUPP, ALICE               NJ - USDC for the District of New Jersey   3:19-cv-01810
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CURETON, RENEE            NJ - USDC for the District of New Jersey   3:20-cv-14165
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CURRAN, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-17329
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CURRIE, JOYCE             NJ - USDC for the District of New Jersey   3:17-cv-09806
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CURRY, JUANITA            NJ - USDC for the District of New Jersey   3:18-cv-09985
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CUSHING, THERESA          NJ - USDC for the District of New Jersey   3:17-cv-08584
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CUTLIP, CASSANDRA         NJ - USDC for the District of New Jersey   3:18-cv-09705
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DACOVICH, REBECCA         NJ - USDC for the District of New Jersey   3:18-cv-06596
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DAHL, BETTY               NJ - USDC for the District of New Jersey   3:17-cv-08243
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DAHL, KARI                NJ - USDC for the District of New Jersey   3:19-cv-17092
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DAHL, MICHELE             NJ - USDC for the District of New Jersey   3:20-cv-01276
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DALEN, JONI               NJ - USDC for the District of New Jersey   3:19-cv-17099
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DALLAIRE, DOROTHY         NJ - USDC for the District of New Jersey   3:21-cv-08951
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DAMHOF, JEANNE            NJ - USDC for the District of New Jersey   3:21-cv-00163
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DANA, PEGGY               NJ - USDC for the District of New Jersey   3:21-cv-00162
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DANEK, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-01276
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DANIEL, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-05653
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DANIELS, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-02923
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DANIELS, KATHRYN          NJ - USDC for the District of New Jersey   3:17-cv-08689
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DANKO, MAERUSHKA                   MO - Circuit Court - City of St. Louis     1522-CC00613
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DANTZLER, SABRINA                  NJ - USDC for the District of New Jersey   3:17-cv-08247
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DAOUST, NIKKI                      NJ - USDC for the District of New Jersey   3:21-cv-05533
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DARDEN, RITA                       NJ - USDC for the District of New Jersey   3:20-cv-13832
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DARLING, KIMBERLY                  NJ - USDC for the District of New Jersey   3:17-cv-05480
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DARLING, SUSAN                     NJ - USDC for the District of New Jersey   3:18-cv-02449
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DASKALAKIS, CHRYSANTHE             NJ - USDC for the District of New Jersey   3:20-cv-14178
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DAUGHERTY, DEBORAH                 NJ - USDC for the District of New Jersey   3:17-cv-08914
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DAVIDSON, JACQUELINE               NJ - USDC for the District of New Jersey   3:18-cv-09706
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DAVILA, DIANA                      MO - Circuit Court - City of St. Louis     1722-CC11872
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DAVIS, ALMEDA                      NJ - USDC for the District of New Jersey   3:20-cv-01906
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DAVIS, ALONDA                      NJ - USDC for the District of New Jersey   3:17-cv-09267
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DAVIS, ANGELA                      NJ - USDC for the District of New Jersey   3:20-cv-08197
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DAVIS, BLANCA                      NJ - USDC for the District of New Jersey   3:17-cv-08595
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DAVIS, BRENDA                      NJ - USDC for the District of New Jersey   3:17-cv-10103
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DAVIS, CHRISTINE                   NJ - USDC for the District of New Jersey   3:17-cv-08512
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DAVIS, CINDY                       NJ - USDC for the District of New Jersey   3:17-cv-10342
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DAVIS, KATHY                       NJ - USDC for the District of New Jersey   3:20-cv-06883
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DAVIS, LEAH                        NJ - USDC for the District of New Jersey   3:20-cv-14524
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DAVIS, LEATHA                      NJ - USDC for the District of New Jersey   3:20-cv-10008
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DAVIS, MARY                        NJ - USDC for the District of New Jersey   3:18-cv-11967
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DAVIS, NANCY                       NJ - USDC for the District of New Jersey   3:18-cv-04784
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DAVIS, THERESA                     NJ - USDC for the District of New Jersey   3:18-cv-12146
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DAVIS, VERA                        NJ - USDC for the District of New Jersey   3:17-cv-10108
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DAY, MELISSA                       CA - Superior Court - Santa Clara County   18CV323999
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DEAN, JUDITH                 NJ - USDC for the District of New Jersey   3:19-cv-13652
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DEAN, JULIE                  NJ - USDC for the District of New Jersey   3:20-cv-13429
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DEAN, LOIS                   NJ - USDC for the District of New Jersey   3:21-cv-14958
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DEAN, MELISSA                NJ - USDC for the District of New Jersey   3:17-cv-01858
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DEAN, PATRICIA               NJ - USDC for the District of New Jersey   3:20-cv-07597
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                                                                                                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
DEAN, RHONDA                 NJ - USDC for the District of New Jersey   3:17-cv-06586
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DEARMAN, SARAH               NJ - USDC for the District of New Jersey   3:17-cv-13028
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DEARTH, DONNA                NJ - USDC for the District of New Jersey   3:18-cv-14535
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DEATON, LEA                  MO - Circuit Court - City of St. Louis     1822-CC06811
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DECOTTLE, THERESA            NJ - USDC for the District of New Jersey   3:20-cv-13295
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DEFAZIO, ANITA               NJ - USDC for the District of New Jersey   3:20-cv-15645
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DEFRANCE, LILLIAN            NJ - USDC for the District of New Jersey   3:17-cv-10496
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DEGAND, VIRGINIA             NJ - USDC for the District of New Jersey   3:17-cv-10470
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DEISHER, REBECCA             NJ - USDC for the District of New Jersey   3:19-cv-01969
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DEJESUS, EVELYN              NJ - USDC for the District of New Jersey   3:17-cv-02394
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DEL GUIDICE, LORI            NJ - USDC for the District of New Jersey   3:20-cv-00238
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DELANEY, JUDITH              NJ - USDC for the District of New Jersey   3:19-cv-14182
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DELANEY, JULIA               NJ - USDC for the District of New Jersey   3:20-cv-01944
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DEMELLO, KAREN               NJ - USDC for the District of New Jersey   3:17-cv-00726
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DEMETRO, JANICE              NJ - USDC for the District of New Jersey   3:19-cv-19536
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DEMITA, ARLENE               NJ - USDC for the District of New Jersey   3:21-cv-11023
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DEMPSEY, KORI                NJ - USDC for the District of New Jersey   3:17-cv-10333
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DENLEY, GLORIA              NJ - USDC for the District of New Jersey   3:19-cv-01179
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DENNIS, DOROTHY             NJ - USDC for the District of New Jersey   3:18-cv-16624
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DENTON, KATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-16206
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DERITA, DOLORES             MO - Circuit Court - City of St. Louis     1522-CC-09792
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DEROSA, KERRI               NJ - USDC for the District of New Jersey   3:18-cv-13235
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DESIMONE, JANICE            NJ - USDC for the District of New Jersey   3:18-cv-12859
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DEVLIN, MERRY               NJ - USDC for the District of New Jersey   3:18-cv-02822
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DICKEY, GLENDA              MO - Circuit Court - City of St. Louis     1522-CC-09792
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DIGGS, CHEQUAN              NJ - USDC for the District of New Jersey   3:20-cv-00613
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                                                                                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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FESTER, NANCY            NJ - USDC for the District of New Jersey   3:18-cv-16626
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FRAUSTO, BEATRIZ            NJ - USDC for the District of New Jersey   3:17-cv-00793
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FRAZIER, GEORGIA            NJ - USDC for the District of New Jersey   3:18-cv-08365
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FRAZIER, LUANN              NJ - USDC for the District of New Jersey   3:18-cv-02451
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
FREEMAN, KIM             NJ - USDC for the District of New Jersey   3:20-cv-01276
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FREEMAN, MARY            NJ - USDC for the District of New Jersey   3:19-cv-19577
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FRIEND, MARLENE          NJ - USDC for the District of New Jersey   3:17-cv-10367
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FRITZ, ELIZABETH         NJ - USDC for the District of New Jersey   3:17-cv-09819
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FRONK, SUZANNE           NJ - USDC for the District of New Jersey   3:18-cv-10597
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FROST, ELLEN             NJ - USDC for the District of New Jersey   3:17-cv-10878
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FROST, SHERRI            NJ - USDC for the District of New Jersey   3:19-cv-17130
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GAAL, TAMARA             NJ - USDC for the District of New Jersey   3:20-cv-04048
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GALLAGHER, ANTONIA       NJ - USDC for the District of New Jersey   3:21-cv-04824
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GALLATY, DEBRA           NJ - USDC for the District of New Jersey   3:19-cv-17242
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GARZA, DIANA             MO - Circuit Court - City of St. Louis     1622-CC00443
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GASKIN, IRMA             NJ - USDC for the District of New Jersey   3:17-cv-08940
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
GEORGE, SHIRLEY          NJ - USDC for the District of New Jersey   3:18-cv-02833
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GERARD, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-14721
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GERMANY, GAYLA           NJ - USDC for the District of New Jersey   3:20-cv-01276
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GIAMPAPA, KATHY           NJ - USDC for the District of New Jersey   3:17-cv-10605
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GIBBS, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-12883
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GIBBS, SHEREE             NJ - USDC for the District of New Jersey   3:20-cv-03691
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GOMEZ, APRIL             NJ - USDC for the District of New Jersey   3:17-cv-11444
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GORTAREZ, RACHEL         MO - Circuit Court - City of St. Louis     1522-CC10545
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GOTHARD, TAMMIE          NJ - USDC for the District of New Jersey   3:17-cv-08961
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GRAMLICH, LANA           NJ - USDC for the District of New Jersey   3:19-cv-01182
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                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HAGAN, KATHRYN              NJ - USDC for the District of New Jersey   3:17-cv-08273
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HAGANS, LILLIE              NJ - USDC for the District of New Jersey   3:19-cv-17380
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HAGENDORF, ALICE            NJ - USDC for the District of New Jersey   3:20-cv-06894
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HAGLER, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-13064
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HAGOOD, CORA                NJ - USDC for the District of New Jersey   3:18-cv-16615
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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HAIR, JACQUELINE            NJ - USDC for the District of New Jersey   3:18-cv-14987
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HALE, INEZ                  NJ - USDC for the District of New Jersey   3:20-cv-07666
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HALL, JACKLYN               NJ - USDC for the District of New Jersey   3:17-cv-10001
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HALL, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-13598
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HALL, SHELIA                NJ - USDC for the District of New Jersey   3:18-cv-12761
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HALL, VANESSA               NJ - USDC for the District of New Jersey   3:19-cv-17763
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HALLIGAN, MAUREEN           NJ - USDC for the District of New Jersey   3:18-cv-14724
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HAMBY, ROBYN                NJ - USDC for the District of New Jersey   3:17-cv-10091
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HAMILTON, CINDY             NJ - USDC for the District of New Jersey   3:20-cv-09046
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HAMILTON, DIANNE            NJ - USDC for the District of New Jersey   3:20-cv-14172
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HAMILTON, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-07797
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HAMMER, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-00182
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HARBISON, BETTY          NJ - USDC for the District of New Jersey   3:19-cv-17343
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HARDESTY, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-01276
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HARRIS, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-10290
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HARRIS, ZANIESHA         NJ - USDC for the District of New Jersey   3:18-cv-15508
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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HARVEY, NORENE           NJ - USDC for the District of New Jersey   3:20-cv-03597
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HARVEY, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-15494
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HASKIN, RUBY             NJ - USDC for the District of New Jersey   3:21-cv-10523
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HASSELL, GALE            NJ - USDC for the District of New Jersey   3:20-cv-07673
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HATCH, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-08686
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HATCHER, EMMA            NJ - USDC for the District of New Jersey   3:19-cv-05751
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HAUGER, BRENDA           NJ - USDC for the District of New Jersey   3:20-cv-02125
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HAUSER, DIANE            NJ - USDC for the District of New Jersey   3:21-cv-00352
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HAWKINS, MONIQUE         NJ - USDC for the District of New Jersey   3:19-cv-20254
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HAYDEN, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-20257
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HAYLETT, FRANCES         NJ - USDC for the District of New Jersey   3:18-cv-11883
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HAYNES, RENEE            NJ - USDC for the District of New Jersey   3:20-cv-12568
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HAYNES, RHONDA           NJ - USDC for the District of New Jersey   3:17-cv-09329
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HAYS, HELEN              NJ - USDC for the District of New Jersey   3:19-cv-19759
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HAYS, SHELLY             NJ - USDC for the District of New Jersey   3:18-cv-14269
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HAYWARD, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-17938
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HEAPE, CHERRY            NJ - USDC for the District of New Jersey   3:20-cv-09049
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HESTER, BOBBIE           NJ - USDC for the District of New Jersey   3:20-cv-07365
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HESTER, TAMMY            NJ - USDC for the District of New Jersey   3:17-cv-10610
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HETHERINGTON, DIANA      NJ - USDC for the District of New Jersey   3:17-cv-10968
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HEWITT, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-10305
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HEYWARD, RUTH            NJ - USDC for the District of New Jersey   3:20-cv-01767
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HIBBS, KAREN             NJ - USDC for the District of New Jersey   3:19-cv-01327
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HICKMAN, DONNIE          NJ - USDC for the District of New Jersey   3:18-cv-16662
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HICKS, GLORIA            NJ - USDC for the District of New Jersey   3:18-cv-11880
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HICKS, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-14739
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HIGGINS, CHRISTINE       NJ - Superior Court - Atlantic County      ATL-L-2905-15
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HIGH, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-10307
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HILF, KELLY              MO - Circuit Court - City of St. Louis     1522-CC10545
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HILL, ALICE              NJ - USDC for the District of New Jersey   3:20-cv-08387
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HILL, CAROL              MO - Circuit Court - City of St. Louis     1522-CC10545
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HILL, DORIS              NJ - USDC for the District of New Jersey   3:18-cv-01187
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HILL, EUNICE             NJ - USDC for the District of New Jersey   3:21-cv-14969
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HILL, JUANITA            MO - Circuit Court - City of St. Louis     1822-CC06811
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HILL, JUNE               NJ - USDC for the District of New Jersey   3:20-cv-02683
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HILL, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-01256
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HILL, WILHEMIA           NJ - USDC for the District of New Jersey   3:17-cv-09736
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HILLAND, BARBARA         NJ - USDC for the District of New Jersey   3:18-cv-08346
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HILL-HALL, SHIRLEY       NJ - USDC for the District of New Jersey   3:18-cv-10665
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HILLIARD, PEARL          NJ - USDC for the District of New Jersey   3:18-cv-02066
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HILSCHER, CAROL          NJ - USDC for the District of New Jersey   3:20-cv-02937
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HILTON, SARAH            NJ - USDC for the District of New Jersey   3:17-cv-00790
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HILTON, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-04059
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HIMDEN, JULIE            NJ - USDC for the District of New Jersey   3:20-cv-14614
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HIMDEN, KAY              NJ - USDC for the District of New Jersey   3:21-cv-10827
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HINKLE, CLAUDIA           NJ - USDC for the District of New Jersey   3:19-cv-12230
                                                                                          MILES, P.C.
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HINKLE, JOANNA            MO - Circuit Court - Jefferson County      18JE-CC00893
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HINMAN, MERRY             NJ - USDC for the District of New Jersey   3:19-cv-17839
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HINSON, LYNDA             NJ - USDC for the District of New Jersey   3:19-cv-14289
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HINTON, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-12533
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HINTON, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-07802
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HITZ, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-09070
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HJELM, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-07840
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HOAGE, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-17840
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HOBBS, ALICE              NJ - USDC for the District of New Jersey   3:21-cv-00144
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HODGES, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-16724
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HODGES, HESTER            NJ - USDC for the District of New Jersey   3:20-cv-07678
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HODGINS, MABLE            NJ - USDC for the District of New Jersey   3:20-cv-01276
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HOEHL, IRENE              NJ - USDC for the District of New Jersey   3:20-cv-09981
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HOFER, PHYLLIS            NJ - USDC for the District of New Jersey   3:18-cv-14669
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HOFFART, CONSTANCE        NJ - USDC for the District of New Jersey   3:19-cv-14292
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HOFFMAN, EILEEN           NJ - USDC for the District of New Jersey   3:19-cv-05772
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HOGAN, DOROTHY            NJ - USDC for the District of New Jersey   3:17-cv-09072
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HOGAN, MARCHETTE          MO - Circuit Court - City of St. Louis     1822-CC00237
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HOLLAND, MONA             NJ - USDC for the District of New Jersey   3:17-cv-10349
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HOLLOWAY, ADRIANNE        NJ - Superior Court - Atlantic County      ATL-L-2846-15
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HOLMAN, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-09808
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HOLMAN, REGINA            NJ - USDC for the District of New Jersey   3:21-cv-02469
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HOLMES, JOY               NJ - USDC for the District of New Jersey   3:19-cv-16065
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HOLMES, MERIDITH         NJ - USDC for the District of New Jersey   3:17-cv-03944
                                                                                         MILES, P.C.
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HOLT, TAMMY              NJ - USDC for the District of New Jersey   3:17-cv-09739
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HOLUBIK, BONNIE          NJ - USDC for the District of New Jersey   3:20-cv-01276
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HOOD, MARY               NJ - USDC for the District of New Jersey   3:18-cv-02067
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HOOPER, BETTIE           NJ - USDC for the District of New Jersey   3:19-cv-20325
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HOOPER, LINDA            MO - Circuit Court - City of St. Louis     1622-CC00443
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HOOPER, RENEE            MO - Circuit Court - City of St. Louis     1622-CC00134
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HOOVER, DEANNA           NJ - USDC for the District of New Jersey   3:17-cv-10398
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HOPKINS, BRENDA          NJ - USDC for the District of New Jersey   3:19-cv-15911
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HOPKINS, JOY             NJ - USDC for the District of New Jersey   3:19-cv-18383
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HORKEY, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-11912
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HORN, DENISE             NJ - USDC for the District of New Jersey   3:19-cv-16059
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HORN, KRISTII            NJ - USDC for the District of New Jersey   3:19-cv-14213
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HORNBUCKLE, JEANETTE     NJ - USDC for the District of New Jersey   3:19-cv-19574
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HORTON, CRYSTAL          NJ - USDC for the District of New Jersey   3:17-cv-10376
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HORTON, JEAN             NJ - USDC for the District of New Jersey   3:21-cv-00174
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HOVEY, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-05776
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HOWARD, MARTHA           NJ - USDC for the District of New Jersey   3:19-cv-08592
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HOWARD, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-10342
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HOY, BEVERLY             MO - Circuit Court - City of St. Louis     1522-CC00613
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HUBBARD, LISA            NJ - USDC for the District of New Jersey   3:20-cv-07525
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HUBBARD, LORA            NJ - USDC for the District of New Jersey   3:19-cv-16167
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HUDSON, BRENDA           NJ - USDC for the District of New Jersey   3:19-cv-14293
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HUDSON, CHER             NJ - USDC for the District of New Jersey   3:17-cv-09077
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HUDSON, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-10379
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HUDSON, MARY WHITE       NJ - USDC for the District of New Jersey   3:18-cv-16622
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HUDSON, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-14968
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HUFF, KIMBERLY           NJ - USDC for the District of New Jersey   3:19-cv-20334
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HUFF, LISA               NJ - USDC for the District of New Jersey   3:20-cv-12567
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HUFF, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-01449
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUGHES, CLAIRE           NJ - USDC for the District of New Jersey   3:19-cv-01346
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUGHES, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-10401
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUGHES, GAIL             NJ - USDC for the District of New Jersey   3:19-cv-11251
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUGHES, GAY              NJ - USDC for the District of New Jersey   3:18-cv-09413
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUGHES, LORETTA          NJ - USDC for the District of New Jersey   3:20-cv-16235
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUGHES, TERRY            NJ - USDC for the District of New Jersey   3:19-cv-12303
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HULL, MARY               NJ - USDC for the District of New Jersey   3:20-cv-04688
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HUMPHREY, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-14967
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HUNLEY, MARY             NJ - USDC for the District of New Jersey   3:20-cv-03791
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HUNNELL, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-08388
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUNT, ANN                NJ - USDC for the District of New Jersey   3:18-cv-14723
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HUNT, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-16158
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HUNT, ESTELLA            NJ - USDC for the District of New Jersey   3:20-cv-09056
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HUNT, JULIA              NJ - USDC for the District of New Jersey   3:18-cv-02468
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HUNT, KATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-20338
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HUNT, LAUNA              NJ - USDC for the District of New Jersey   3:21-cv-13040
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HUNTER, ANNIE            NJ - USDC for the District of New Jersey   3:18-cv-09904
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HUNTER, DEBBIE           NJ - USDC for the District of New Jersey   3:19-cv-16068
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HUNTER, JACQUELINE       MO - Circuit Court - City of St. Louis     1622-CC00443
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HUNTER, JUDITH           NJ - USDC for the District of New Jersey   3:19-cv-21538
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HUNTLEY, ALMEDA          NJ - USDC for the District of New Jersey   3:19-cv-16910
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HUNTLEY, LASHUNDA        MO - Circuit Court - City of St. Louis     1622-CC00443
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HURLEY, BETSY            NJ - USDC for the District of New Jersey   3:19-cv-17319
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HURLOCKER, CAROL         NJ - USDC for the District of New Jersey   3:19-cv-05781
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HURSIN, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-08294
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HURST, PEGGY             NJ - USDC for the District of New Jersey   3:19-cv-11235
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HUSAK, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-05906
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HUSEBO, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-19480
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HUSMAN, HEIDI            NJ - USDC for the District of New Jersey   3:17-cv-00726
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HUSTLER, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-08486
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
HUTCHINS, ELAINE         NJ - USDC for the District of New Jersey   3:21-cv-00180
                                                                                         MILES, P.C.
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HUTCHISON, DIANE         NJ - USDC for the District of New Jersey   3:19-cv-09040
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HUTHNANCE, CHARLOTTE     NJ - USDC for the District of New Jersey   3:21-cv-01329
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HUTTON, ADRIENNE         NJ - USDC for the District of New Jersey   3:19-cv-01183
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HUYCK, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-13971
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HYATT, CARLA             MO - Circuit Court - City of St. Louis     1622-CC00134
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HYSMITH, RHONDA          NJ - USDC for the District of New Jersey   3:19-cv-17344
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HYVARINEN, ANNE          CA - Superior Court - Los Angeles County   BC667084
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IACONO, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-10313
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ILES, DORETHA            NJ - USDC for the District of New Jersey   3:19-cv-21539
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IMBODEN, TINA            NJ - USDC for the District of New Jersey   3:21-cv-04830
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IMLER, ANGELA            NJ - USDC for the District of New Jersey   3:19-cv-17926
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IMPELL, NANCY            NJ - USDC for the District of New Jersey   3:20-cv-08491
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INOCENCIO, ESTELLE       NJ - USDC for the District of New Jersey   3:17-cv-09083
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IRBY, JUDY               NJ - USDC for the District of New Jersey   3:20-cv-06916
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IRONSIDE, PATRICIA       NJ - USDC for the District of New Jersey   3:19-cv-17248
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IRVIN, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-05780
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IRVING, HOLLY            NJ - USDC for the District of New Jersey   3:18-cv-03262
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IRWIN, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-05784
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ISAACSON, LISA           NJ - USDC for the District of New Jersey   3:20-cv-08493
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ISCHAY, ANA              NJ - USDC for the District of New Jersey   3:18-cv-11195
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ISENBERG, ROBIN          NJ - USDC for the District of New Jersey   3:17-cv-05674
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ISGRIG, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-06920
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ISHAM, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-20204
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ISTRE, BRETT             NJ - USDC for the District of New Jersey   3:19-cv-20206
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ITURRERIA, SUSAN         NJ - USDC for the District of New Jersey   3:17-cv-05719
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IVORY, SHERRY            NJ - USDC for the District of New Jersey   3:17-cv-10396
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JACK, AUDREY             NJ - USDC for the District of New Jersey   3:20-cv-06921
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JACKSON, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-09029
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JACKSON, CECELIA         NJ - USDC for the District of New Jersey   3:20-cv-07214
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JACKSON, JANICE          NJ - USDC for the District of New Jersey   3:17-cv-09036
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JACKSON, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-06925
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JACKSON, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-10030
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JACKSON, TOMMIE          NJ - USDC for the District of New Jersey   3:18-cv-05006
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JACOBS, BONNIE           NJ - USDC for the District of New Jersey   3:20-cv-10033
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JACOBS, LOIS             NJ - USDC for the District of New Jersey   3:17-cv-08278
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JACOBSEN, CATHERINE      NJ - USDC for the District of New Jersey   3:21-cv-10110
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JACQUES, GOLDA           NJ - USDC for the District of New Jersey   3:20-cv-09060
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JACQUEZ, NANCY           NJ - USDC for the District of New Jersey   3:17-cv-03946
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JAGNEAUX, CAROLYN        NJ - USDC for the District of New Jersey   3:20-cv-07107
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JAMES, CHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-15648
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JAMES, CLIFFIE           NJ - USDC for the District of New Jersey   3:20-cv-02257
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JAMES, EUNICE            NJ - USDC for the District of New Jersey   3:19-cv-11718
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JAMES, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-09040
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JAMES, MARLENE           NJ - USDC for the District of New Jersey   3:19-cv-16722
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JAMES, RUTH              NJ - USDC for the District of New Jersey   3:21-cv-06674
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JAMES, TRENESSA          NJ - USDC for the District of New Jersey   3:17-cv-09045
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JANAS, GRACE             NJ - USDC for the District of New Jersey   3:18-cv-16660
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JANES, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-18037
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JAY, DEBORAH             NJ - USDC for the District of New Jersey   3:17-cv-09046
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JAYNES, ANN              NJ - USDC for the District of New Jersey   3:19-cv-20212
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JEFFERS, DEBBIE          NJ - USDC for the District of New Jersey   3:17-cv-10404
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JEFFORDS, JULIE          NJ - USDC for the District of New Jersey   3:18-cv-16603
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JENKINS, EULA            NJ - USDC for the District of New Jersey   3:18-cv-10668
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JENKINS, MARY            NJ - USDC for the District of New Jersey   3:18-cv-02861
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JENKINS, MICHELLE        NJ - USDC for the District of New Jersey   3:17-cv-10405
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JENNINGS, JEANNE         NJ - USDC for the District of New Jersey   3:20-cv-07231
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JENNINGS, LENA           NJ - USDC for the District of New Jersey   3:18-cv-08949
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JENNISON, BRENDA         NJ - USDC for the District of New Jersey   3:19-cv-08608
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JENSEN, DAGMAR           NJ - USDC for the District of New Jersey   3:17-cv-09050
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JENSEN, HOLLY            NJ - USDC for the District of New Jersey   3:20-cv-07243
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JEROME, DELORES          NJ - USDC for the District of New Jersey   3:20-cv-06928
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JESSEE, ANGELITA         NJ - USDC for the District of New Jersey   3:18-cv-17021
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JEWELL, DIANE            NJ - USDC for the District of New Jersey   3:19-cv-17233
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JIMENEZ, LOURDES         FL - Circuit Court - Broward County        CACE-19-009230
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JIMENEZ, MILDRED         NJ - USDC for the District of New Jersey   3:18-cv-12996
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JINRIGHT, REBECCA        NJ - USDC for the District of New Jersey   3:17-cv-09064
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JODON, JANET             NJ - USDC for the District of New Jersey   3:20-cv-15046
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOHNS, TAMIKA            NJ - USDC for the District of New Jersey   3:19-cv-16059
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOHNSON, ALICE           NJ - USDC for the District of New Jersey   3:20-cv-10039
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JOHNSON, ANGELA          NJ - USDC for the District of New Jersey   3:20-cv-05759
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOHNSON, ANNIE           NJ - USDC for the District of New Jersey   3:18-cv-03722
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOHNSON, BARBARA         NJ - USDC for the District of New Jersey   3:18-cv-01451
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JOHNSON, BETTY           NJ - USDC for the District of New Jersey   3:19-cv-20220
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JOHNSON, BEVERLY         NJ - USDC for the District of New Jersey   3:18-cv-13811
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JOHNSON, BONNIE          NJ - USDC for the District of New Jersey   3:20-cv-08876
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JOHNSON, CACHET          NJ - USDC for the District of New Jersey   3:18-cv-02850
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JOHNSON, CLARA           NJ - USDC for the District of New Jersey   3:19-cv-19477
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JOHNSON, CONSTANCE       NJ - USDC for the District of New Jersey   3:17-cv-07929
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JOHNSON, CYNTHIA         NJ - USDC for the District of New Jersey   3:19-cv-16720
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JOHNSON, CYNTHIA         NJ - USDC for the District of New Jersey   3:20-cv-07240
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JOHNSON, DAWN            NJ - USDC for the District of New Jersey   3:18-cv-01269
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JOHNSON, DIANE           NJ - USDC for the District of New Jersey   3:20-cv-01276
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JOHNSON, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-12227
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JOHNSON, DOROTHY         NJ - USDC for the District of New Jersey   3:17-cv-10718
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JOHNSON, EDNA            NJ - USDC for the District of New Jersey   3:19-cv-20223
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JOHNSON, GLENNA          NJ - USDC for the District of New Jersey   3:19-cv-05884
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JOHNSON, GLORIA          NJ - USDC for the District of New Jersey   3:19-cv-01467
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JOHNSON, HELEN           MO - Circuit Court - City of St. Louis     1822-CC06811
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JOHNSON, JACKLYN         NJ - USDC for the District of New Jersey   3:18-cv-16641
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JOHNSON, JACQUELINE      NJ - USDC for the District of New Jersey   3:18-cv-08348
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JOHNSON, JERENA          NJ - USDC for the District of New Jersey   3:18-cv-02855
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JOHNSON, JOYCE           NJ - USDC for the District of New Jersey   3:18-cv-03306
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JOHNSON, KANDY           NJ - USDC for the District of New Jersey   3:20-cv-07604
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JOHNSON, KARA            NJ - USDC for the District of New Jersey   3:17-cv-10530
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JOHNSON, KATHLEEN        MO - Circuit Court - City of St. Louis     1522-CC-09792
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JOHNSON, KATHRYN         NJ - USDC for the District of New Jersey   3:20-cv-07244
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOHNSON, LILLIAN         NJ - USDC for the District of New Jersey   3:18-cv-13316
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JOHNSON, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-06583
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JOHNSON, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-06105
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JOHNSON, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-09093
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JOHNSON, LISA            NJ - USDC for the District of New Jersey   3:20-cv-01276
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JOHNSON, MARY            NJ - USDC for the District of New Jersey   3:19-cv-12305
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JOHNSON, MARY            NJ - USDC for the District of New Jersey   3:19-cv-16721
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JOHNSON, MARY            NJ - USDC for the District of New Jersey   3:20-cv-01276
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JOHNSON, MATILDA         NJ - USDC for the District of New Jersey   3:21-cv-01164
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JOHNSON, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-05995
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JOHNSON, QULANDA         NJ - USDC for the District of New Jersey   3:20-cv-09264
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JOHNSON, REATHA          NJ - USDC for the District of New Jersey   3:17-cv-09336
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JOHNSON, RENEE           NJ - USDC for the District of New Jersey   3:18-cv-02857
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JOHNSON, RHONDA          NJ - USDC for the District of New Jersey   3:17-cv-09374
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JOHNSON, RITA            NJ - USDC for the District of New Jersey   3:19-cv-17387
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JOHNSON, ROBIN           NJ - USDC for the District of New Jersey   3:17-cv-10408
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JOHNSON, SARAH           NJ - USDC for the District of New Jersey   3:17-cv-08822
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JOHNSON, SHELIA          NJ - USDC for the District of New Jersey   3:20-cv-12566
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JOHNSON, SHERRY          MO - Circuit Court - City of St. Louis     1622-CC00443
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JOHNSON, TINA            NJ - USDC for the District of New Jersey   3:21-cv-04834
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JOHNSON, TONYA           NJ - USDC for the District of New Jersey   3:19-cv-17398
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JOHNSTON, ANTOINETTE     NJ - USDC for the District of New Jersey   3:20-cv-06802
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JONES, ALEXIS            NJ - USDC for the District of New Jersey   3:19-cv-05829
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JONES, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-07963
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JONES, BELINDA           NJ - USDC for the District of New Jersey   3:19-cv-20298
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JONES, BLUETTE           NJ - USDC for the District of New Jersey   3:19-cv-05700
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JONES, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-18709
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JONES, CANDICE           NJ - USDC for the District of New Jersey   3:18-cv-03723
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JONES, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-14616
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JONES, CYNTHIA           MO - Circuit Court - City of St. Louis     1622-CC-00837
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JONES, DECARLA           NJ - USDC for the District of New Jersey   3:20-cv-01276
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JONES, DIANNE            NJ - USDC for the District of New Jersey   3:19-cv-17889
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JONES, EMILY             NJ - USDC for the District of New Jersey   3:20-cv-07527
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JONES, FANNIE            NJ - USDC for the District of New Jersey   3:19-cv-16059
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JONES, FRANCINE          NJ - Superior Court - Atlantic County      ATL-L-2848-15
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JONES, JENNIE            NJ - USDC for the District of New Jersey   3:19-cv-21541
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JONES, LAURA             NJ - USDC for the District of New Jersey   3:17-cv-12214
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JONES, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-03254
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JONES, MAGGIE            NJ - USDC for the District of New Jersey   3:17-cv-09109
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JONES, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-16059
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JONES, ROSELLE           NJ - USDC for the District of New Jersey   3:17-cv-08926
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JONES, VANESSA           MO - Circuit Court - City of St. Louis     1622-CC00134
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JORDAN, LOIS             NJ - USDC for the District of New Jersey   3:17-cv-13438
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JORDAN, MURTICE          NJ - USDC for the District of New Jersey   3:19-cv-20340
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         Claimant Name                    State Filed                    Docket Number                Plaintiff Counsel
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JORDAN, SAMANTHA         NJ - USDC for the District of New Jersey   3:21-cv-04821
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JORDAN, SANYA            NJ - USDC for the District of New Jersey   3:18-cv-14485
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JORDAN, VENESSA          NJ - USDC for the District of New Jersey   3:20-cv-01276
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JORDON, SHERON           NJ - USDC for the District of New Jersey   3:18-cv-11095
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOSEPH, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-13536
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOSEY, JEROLENE          NJ - USDC for the District of New Jersey   3:18-cv-08950
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOTBLAD, CHARLENE        NJ - USDC for the District of New Jersey   3:18-cv-12841
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JOWERS, KATHLEEN         NJ - USDC for the District of New Jersey   3:18-cv-00016
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUANITEZ, TERESITA       MO - Circuit Court - City of St. Louis     1722-CC11872
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUDD, JOANN              NJ - USDC for the District of New Jersey   3:17-cv-09113
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUELFS, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-10317
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JULIOUS, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-10319
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUMP, JOHNNA             MO - Circuit Court - Jefferson County      18JE-CC00893
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUMPER, GARY             NJ - USDC for the District of New Jersey   3:20-cv-14686
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUSTICE, ANGELA          NJ - USDC for the District of New Jersey   3:19-cv-14247
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
JUSTICE, LINDA           MO - Circuit Court - City of St. Louis     1622-CC00134
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KABACK, FRAN             NJ - USDC for the District of New Jersey   3:19-cv-05790
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KACZALA, PAMELA          NJ - USDC for the District of New Jersey   3:20-cv-08449
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAHLER, TINA             NJ - USDC for the District of New Jersey   3:20-cv-07380
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAHN, DIANE              NJ - USDC for the District of New Jersey   3:18-cv-01882
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAHN, LIBBY              NJ - USDC for the District of New Jersey   3:21-cv-14960
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAISER, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-12539
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KALMBACH, JONQUELYNE     NJ - USDC for the District of New Jersey   3:19-cv-19476
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAMINSKY, IVA            NJ - USDC for the District of New Jersey   3:17-cv-09118
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAMLITZ, RHONDA          NJ - USDC for the District of New Jersey   3:17-cv-09120
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAMP, MARIE              NJ - USDC for the District of New Jersey   3:18-cv-09415
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAMSCH, CLAUDETTE        NJ - USDC for the District of New Jersey   3:19-cv-08595
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KANEFSKY, CAROLE         NJ - USDC for the District of New Jersey   3:21-cv-07500
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KANE-HARRISON, MAUREEN   NJ - USDC for the District of New Jersey   3:21-cv-14959
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KANER, LINDA             FL - Circuit Court - Broward County        CACE200143461
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KANN, JONELLE            NJ - USDC for the District of New Jersey   3:20-cv-01276
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KANTIS, SHERRI           NJ - USDC for the District of New Jersey   3:19-cv-17842
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KANUPP, MARGARUETTE      NJ - USDC for the District of New Jersey   3:19-cv-12306
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAOUGH, VERONICA         NJ - USDC for the District of New Jersey   3:17-cv-08927
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KARHOFF, JEANNE          NJ - USDC for the District of New Jersey   3:19-cv-00936
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KARLINSKY, ELSIE         NJ - USDC for the District of New Jersey   3:19-cv-18889
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KARO, JOAN               MO - Circuit Court - City of St. Louis     1822-CC00237
                                                                                         MILES, P.C.
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KASINSKAS, ROSEMARY      NJ - USDC for the District of New Jersey   3:20-cv-07528
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KASKEL, MARIAN           NJ - USDC for the District of New Jersey   3:21-cv-14957
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KASTANAS, WANDA          NJ - USDC for the District of New Jersey   3:17-cv-06937
                                                                                         MILES, P.C.




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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAWELASKE, SUZANNA       MO - Circuit Court - City of St. Louis     1822-CC06811
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KAY, EVELYN              NJ - USDC for the District of New Jersey   3:20-cv-08497
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEANE, DEBRA             NJ - USDC for the District of New Jersey   3:19-cv-18388
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEATING, RENEE           MO - Circuit Court - City of St. Louis     1622-CC00134
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEATON, MARY             NJ - USDC for the District of New Jersey   3:20-cv-07250
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEEGAN, MARY             NJ - USDC for the District of New Jersey   3:18-cv-12759
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEENE, ROSEMARIE         NJ - USDC for the District of New Jersey   3:18-cv-13612
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEENOY, RENA             NJ - USDC for the District of New Jersey   3:18-cv-05907
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEESEE, MELISSA          NJ - USDC for the District of New Jersey   3:17-cv-09126
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEETON, PATRICIA         MO - Circuit Court - City of St. Louis     1622-CC00134
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEIHN, SHERYLL           NJ - USDC for the District of New Jersey   3:20-cv-01673
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEINON, MICHELLE         NJ - USDC for the District of New Jersey   3:19-cv-16713
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEITH, RANDY             NJ - USDC for the District of New Jersey   3:19-cv-21074
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLER, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-13086
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLER, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-12367
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLER, SARAH            NJ - USDC for the District of New Jersey   3:20-cv-02979
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLEY, BRENDA           MO - Circuit Court - City of St. Louis     1522-CC-09792
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLEY, KAREN            IL - Circuit Court - Cook County           2019L065076
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, EVELYN            NJ - USDC for the District of New Jersey   3:17-cv-09134
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-10686
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, KATHLEEN          NJ - USDC for the District of New Jersey   3:17-cv-00800
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-11436
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, MARGARET          MO - Circuit Court - City of St. Louis     1522-CC10545
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, MARIANNE          NJ - USDC for the District of New Jersey   3:19-cv-12378
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, PAMELLA           NJ - USDC for the District of New Jersey   3:17-cv-10565
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-13297
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-01190
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELLY, TERESA            NJ - USDC for the District of New Jersey   3:18-cv-09708
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KELSEY, JERI             NJ - USDC for the District of New Jersey   3:19-cv-05792
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENDRICK, WILLIE         NJ - USDC for the District of New Jersey   3:19-cv-17251
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENEFICK, JEAN           NJ - USDC for the District of New Jersey   3:19-cv-16955
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENNEDY, ANDREA          NJ - USDC for the District of New Jersey   3:20-cv-00239
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENNEDY, JOANNE          NJ - USDC for the District of New Jersey   3:20-cv-13851
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENNEDY, PAULINE         NJ - USDC for the District of New Jersey   3:18-cv-13812
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENNON, DORSHA           NJ - USDC for the District of New Jersey   3:19-cv-17317
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENSEY, SONJA            NJ - USDC for the District of New Jersey   3:21-cv-07753
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENT, MONICA             NJ - USDC for the District of New Jersey   3:17-cv-00800
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KENYON, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-10855
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KERCHINER, CATHY         MO - Circuit Court - City of St. Louis     1522-CC-09792
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KERN, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-16059
                                                                                         MILES, P.C.




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                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KERN, SHIRLEY               NJ - USDC for the District of New Jersey   3:21-cv-00175
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KERNS, MADGE                NJ - USDC for the District of New Jersey   3:20-cv-07254
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KERP, SUSAN                 NJ - USDC for the District of New Jersey   3:17-cv-05719
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KESHIAN, CHRISTINE          NJ - USDC for the District of New Jersey   3:18-cv-02863
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEY, ELSA                   NJ - USDC for the District of New Jersey   3:17-cv-09140
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEY, JANET                  NJ - USDC for the District of New Jersey   3:18-cv-09671
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEY, SHERRY                 NJ - USDC for the District of New Jersey   3:20-cv-03878
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KEYS, DEBRA                 CA - Superior Court - Placer County        T18-146
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KHALIQ, DEBBIE              NJ - USDC for the District of New Jersey   3:18-cv-08952
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KHAZZAKA, ALISE             NJ - USDC for the District of New Jersey   3:17-cv-00798
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KHOMA, OKSANA               NJ - USDC for the District of New Jersey   3:21-cv-04496
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KHONG, MARGARET             NJ - USDC for the District of New Jersey   3:18-cv-05909
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KIELISZEK, CLARA            MO - Circuit Court - City of St. Louis     1622-CC00443
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KIERNAN, ANNE               NJ - USDC for the District of New Jersey   3:18-cv-01276
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KIERNAN, JULIE              NJ - USDC for the District of New Jersey   3:18-cv-03967
                                                                                                 MILES, P.C.
                                                                       30-2018-00995844-CU-PL-   BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KIJAK, LISA                 CA - Superior Court - Orange County
                                                                       CXC                       MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KILEY, JOAN                 NJ - USDC for the District of New Jersey   3:19-cv-12364
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KILGORE, JANET              NJ - USDC for the District of New Jersey   3:18-cv-02866
                                                                                                 MILES, P.C.
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KILLENBEC, ANGEL            NJ - USDC for the District of New Jersey   3:20-cv-10707
                                                                                                 MILES, P.C.
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KIMBERLEY, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-06932
                                                                                                 MILES, P.C.
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KIMBLE, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-15920
                                                                                                 MILES, P.C.
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KIMBROUGH, KIMBERLY         NJ - USDC for the District of New Jersey   3:18-cv-09986
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KIMMEL, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-10575
                                                                                                 MILES, P.C.
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KIMMONS, KARIN              NJ - USDC for the District of New Jersey   3:19-cv-11240
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KINBERGER, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-09146
                                                                                                 MILES, P.C.
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KING, CASSANDRA             NJ - USDC for the District of New Jersey   3:19-cv-16919
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KING, CINDY                 NJ - USDC for the District of New Jersey   3:17-cv-09149
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KING, JANICE                NJ - USDC for the District of New Jersey   3:20-cv-10709
                                                                                                 MILES, P.C.
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KING, MARY JANE             NJ - USDC for the District of New Jersey   3:20-cv-13852
                                                                                                 MILES, P.C.
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KING, PATRICIA              NJ - USDC for the District of New Jersey   3:17-cv-09155
                                                                                                 MILES, P.C.
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KING, PATRICIA              NJ - USDC for the District of New Jersey   3:19-cv-17414
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KING, SHIRLEY               NJ - USDC for the District of New Jersey   3:18-cv-13234
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KING, VIRGINIA              NJ - USDC for the District of New Jersey   3:17-cv-05227
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KINGERY, ELOISE             NJ - USDC for the District of New Jersey   3:18-cv-10685
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KINGS, CASEY                NJ - USDC for the District of New Jersey   3:18-cv-10782
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KINGSBURY, KIM              NJ - USDC for the District of New Jersey   3:20-cv-07257
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KINLER, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-03264
                                                                                                 MILES, P.C.
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KINNAW, FERNI               NJ - USDC for the District of New Jersey   3:19-cv-12381
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KINNETT, KELLIE             NJ - USDC for the District of New Jersey   3:18-cv-11878
                                                                                                 MILES, P.C.
                                                                                                 BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KINSEY, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-06024
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KINTZ, NICOLE               NJ - USDC for the District of New Jersey   3:17-cv-09378
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KIRCHHOFF, LYNN             MO - Circuit Court - City of St. Louis     1522-CC00613
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KIRK, EVA                   NJ - USDC for the District of New Jersey   3:17-cv-10581
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KIRK, JANICE                NJ - USDC for the District of New Jersey   3:17-cv-09161
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KIRK, KAREN                 MO - Circuit Court - City of St. Louis     1822-CC00237
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KIRK, VICKI                 NJ - USDC for the District of New Jersey   3:19-cv-20241
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KIRKLAND, LAURAETTE         NJ - USDC for the District of New Jersey   3:20-cv-08499
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KIRKPATRICK, DIANE          NJ - USDC for the District of New Jersey   3:20-cv-07259
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KIRSCHT, MICHELLE           NJ - USDC for the District of New Jersey   3:18-cv-02470
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KISER, ANGELA               NJ - USDC for the District of New Jersey   3:17-cv-10624
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KISER, SHIRLEY              NJ - USDC for the District of New Jersey   3:20-cv-10710
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KISSELL, MARIA              MO - Circuit Court - City of St. Louis     1622-CC00443
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KISSING, SANDRA             NJ - USDC for the District of New Jersey   3:17-cv-13000
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KITCHEN, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-12231
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KITT, MICHELLE              MO - Circuit Court - City of St. Louis     1622-CC-00837
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KLAR, SANDRA                NJ - USDC for the District of New Jersey   3:19-cv-16707
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KLEIN, KELLY                NJ - USDC for the District of New Jersey   3:19-cv-10037
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KLEIN, SHARON               NJ - USDC for the District of New Jersey   3:18-cv-09742
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KLEKAS, NANCY               NJ - USDC for the District of New Jersey   3:18-cv-08349
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KLINE, CYNTHIA              NJ - USDC for the District of New Jersey   3:17-cv-10345
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KLINE, WENDY                NJ - USDC for the District of New Jersey   3:17-cv-09379
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KLINGER, SHAWNA             NJ - USDC for the District of New Jersey   3:18-cv-08946
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KLOPP, DEBORA               NJ - USDC for the District of New Jersey   3:20-cv-13473
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KNABB, RUTH KNIGHT          NJ - USDC for the District of New Jersey   3:18-cv-06620
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KNAPP, BEVERLY              NJ - USDC for the District of New Jersey   3:19-cv-14710
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KNAPP, ESTHER               NJ - USDC for the District of New Jersey   3:19-cv-16706
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KNEBEL, MARIA               NJ - USDC for the District of New Jersey   3:18-cv-03266
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KNESPEL, CINDY              NJ - USDC for the District of New Jersey   3:20-cv-13314
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KNIPPLE, VICKY              NJ - USDC for the District of New Jersey   3:20-cv-03799
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KNIPSCHILD, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-14617
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KNISELY, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-08399
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KNOLL, BRENDA               NJ - USDC for the District of New Jersey   3:19-cv-18711
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KNOLL, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-13315
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KNOTEK, JANET               NJ - USDC for the District of New Jersey   3:19-cv-21019
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KNOTTS, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-10628
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KNUDSEN, EDNA               MO - Circuit Court - Jefferson County      18JE-CC00448
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KNUTSON, KRISTINA           NJ - USDC for the District of New Jersey   3:18-cv-03140
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
KOENIG, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-10065
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KOERNER, TONI            NJ - USDC for the District of New Jersey   3:17-cv-08928
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KOFFLIN, PATRICIA        NJ - USDC for the District of New Jersey   3:18-cv-03368
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KOHLIEM, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-00700
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KOJETIN, CHRISTINA       NJ - USDC for the District of New Jersey   3:17-cv-10632
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KONING, CHARLOTTE        NJ - USDC for the District of New Jersey   3:21-cv-12736
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KONOPA, PONPET           NJ - USDC for the District of New Jersey   3:19-cv-21506
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KORBER, JERRI            NJ - USDC for the District of New Jersey   3:20-cv-07385
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KORMANIK, CAROL          NJ - USDC for the District of New Jersey   3:20-cv-15768
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KORNEGAY, PATSY          NJ - USDC for the District of New Jersey   3:18-cv-10783
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KORSKY, POLLY            NJ - USDC for the District of New Jersey   3:20-cv-02261
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KOSTERMAN, GAYLE         NJ - USDC for the District of New Jersey   3:18-cv-15714
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KOTERASS, MONA           NJ - USDC for the District of New Jersey   3:17-cv-09385
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KOTERBA, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-09312
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KOTLEWSKY, SHAUN         NJ - USDC for the District of New Jersey   3:17-cv-10638
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KOUGH, DONNA             NJ - USDC for the District of New Jersey   3:18-cv-13602
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KOVACH, TRACY            NJ - USDC for the District of New Jersey   3:18-cv-10436
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KOWAL, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-18389
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KOWALEWSKI, GERALDINE    MO - Circuit Court - City of St. Louis     1722-CC11872
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KRAKAUER, LINDSAY        NJ - USDC for the District of New Jersey   3:18-cv-16900
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KRAMER, CHERYL           NJ - USDC for the District of New Jersey   3:20-cv-03604
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KRANICH, EVA             NJ - USDC for the District of New Jersey   3:18-cv-01197
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KRASS, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-10018
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KRAUCHUK, PAULA          NJ - USDC for the District of New Jersey   3:20-cv-10046
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KRAUSE, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-07680
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KRESS, BOBI              NJ - USDC for the District of New Jersey   3:19-cv-19873
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KRIEGER, BEATRICE        NJ - USDC for the District of New Jersey   3:21-cv-07772
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KRISZTINICZ, TREACY      NJ - USDC for the District of New Jersey   3:18-cv-10785
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KROKO, SARAH             NJ - USDC for the District of New Jersey   3:19-cv-17424
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KROPP, DEBRA             NJ - USDC for the District of New Jersey   3:19-cv-16059
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KROPP, TERRY             NJ - USDC for the District of New Jersey   3:18-cv-12853
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KRUEGER, MARIE           NJ - USDC for the District of New Jersey   3:21-cv-09915
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KRUEGER, TIFFANY         NJ - USDC for the District of New Jersey   3:19-cv-08527
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KRUSEMARK, CHRISTINA     NJ - USDC for the District of New Jersey   3:17-cv-09386
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KUBANEK, DEBRA           NJ - USDC for the District of New Jersey   3:20-cv-01276
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KUBISKI, TERRY                    NJ - USDC for the District of New Jersey   3:20-cv-07529
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KUBLIC, ROSE                      NJ - USDC for the District of New Jersey   3:19-cv-19474
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KUCEJ, BARBARA                    NJ - USDC for the District of New Jersey   3:18-cv-12210
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KUHN, GERRI                       NJ - USDC for the District of New Jersey   3:19-cv-19105
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KUHN, JOYLENE                     NJ - USDC for the District of New Jersey   3:17-cv-08119
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KUNC, PAMELA                      NJ - USDC for the District of New Jersey   3:20-cv-07682
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KUNTZ, KELLIE                     NJ - USDC for the District of New Jersey   3:21-cv-11572
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KUPREL, LISA                      NJ - USDC for the District of New Jersey   3:20-cv-10051
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KURDES, FRANCES                   NJ - USDC for the District of New Jersey   3:20-cv-01276
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KURDI, HALA                       NJ - USDC for the District of New Jersey   3:21-cv-13008
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KUSCHE, CATHY                     NJ - USDC for the District of New Jersey   3:18-cv-09669
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KUYPERS, JACQUELYN                NJ - USDC for the District of New Jersey   3:19-cv-17888
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KWIATT, CANDISE                   NJ - USDC for the District of New Jersey   3:19-cv-05882
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KYSAR, MATTIE                     NJ - USDC for the District of New Jersey   3:19-cv-05793
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LABOK, MARY                       NJ - USDC for the District of New Jersey   3:17-cv-08132
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LABORDE, ROSEMARY                 NJ - USDC for the District of New Jersey   3:20-cv-12565
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LABRECQUE, WINIFRED               NJ - USDC for the District of New Jersey   3:19-cv-16136
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LABRIOLA, KARAN                   NJ - USDC for the District of New Jersey   3:17-cv-09066
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LACASCIA, BEVERLY                 NJ - USDC for the District of New Jersey   3:20-cv-05246
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LADDUSAW, WANDA                   NJ - USDC for the District of New Jersey   3:18-cv-09416
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LAKE, APRIL                       NJ - USDC for the District of New Jersey   3:20-cv-09069
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                                                                                                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LAKE, SYNTHIA                     NJ - USDC for the District of New Jersey   3:17-cv-13441
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                                                                                                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LALLY, COLLEEN                    NJ - USDC for the District of New Jersey   3:17-cv-10402
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LAMB, GENA                        MO - Circuit Court - City of St. Louis     1522-CC00613
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                                                                                                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LAMB, MADGE                       MO - Circuit Court - City of St. Louis     1822-CC11533
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                                                                                                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LAMBERT, CYNTHIA                  NJ - USDC for the District of New Jersey   3:20-cv-18020
                                                                                                  MILES, P.C.
                                                                                                  BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LAMBIE, SHERYL                    NJ - USDC for the District of New Jersey   3:19-cv-15909
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANAHAN, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-08930
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANCLOS, BERNICE         NJ - USDC for the District of New Jersey   3:19-cv-19533
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDEROS, MELBA          NJ - USDC for the District of New Jersey   3:17-cv-07325
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDERS, SASHA           NJ - USDC for the District of New Jersey   3:17-cv-08280
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDERVILLE, JUANITA     NJ - USDC for the District of New Jersey   3:21-cv-14400
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDINGHAM, MARY         NJ - USDC for the District of New Jersey   3:18-cv-04800
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDIS, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-00398
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDIS, LYDIA            NJ - USDC for the District of New Jersey   3:19-cv-12519
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDRUM, ANNETTE         NJ - USDC for the District of New Jersey   3:17-cv-08816
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDRUM, CAROL           NJ - USDC for the District of New Jersey   3:20-cv-05643
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDRY, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-09067
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDRY, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-16889
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANDRY, SHARON           NJ - USDC for the District of New Jersey   3:19-cv-20247
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LANDUYT, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-15095
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANE, ANGELA             NJ - USDC for the District of New Jersey   3:19-cv-20446
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANE, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-10639
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LANE, MAGGIE             NJ - USDC for the District of New Jersey   3:20-cv-08453
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANE, VERA               NJ - USDC for the District of New Jersey   3:17-cv-10406
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LANEY, NELDA             NJ - USDC for the District of New Jersey   3:19-cv-01185
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANG, MICHELLE           NJ - USDC for the District of New Jersey   3:17-cv-03946
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LANGAN, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-02068
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LANGEN, DIANA            NJ - USDC for the District of New Jersey   3:19-cv-16059
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LANGFORD-KEEHN, LESLEY   NJ - USDC for the District of New Jersey   3:18-cv-03073
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LANGHAM, RODNESHIA       NJ - USDC for the District of New Jersey   3:20-cv-10056
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LANGIS, ELENH            NJ - USDC for the District of New Jersey   3:19-cv-17844
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LANHAM, VANESSA          NJ - USDC for the District of New Jersey   3:21-cv-12537
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LANNING-BOYD, DONNA      NJ - USDC for the District of New Jersey   3:19-cv-04525
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LANSBERRY, LINDA         NJ - USDC for the District of New Jersey   3:18-cv-02069
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LANZ, CYNTHIA            MO - Circuit Court - City of St. Louis     1722-CC11872
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LAPORTA, JANICE          NJ - USDC for the District of New Jersey   3:20-cv-09076
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LARA, CHRISTINE          CA - Superior Court - Los Angeles County   BC715169
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LARA, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-19740
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LARES, FELICITAS         NJ - USDC for the District of New Jersey   3:20-cv-17993
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LARKIN, MICHELLE         NJ - USDC for the District of New Jersey   3:19-cv-09431
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LARRAMENDY, RAMONA       MO - Circuit Court - City of St. Louis     1722-CC11872
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LARSEN, LUCRETIA         NJ - USDC for the District of New Jersey   3:17-cv-08620
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LARSON, CAROLYN          NJ - USDC for the District of New Jersey   3:18-cv-02070
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LARSON, CONSTANCE        NJ - USDC for the District of New Jersey   3:20-cv-02062
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LARSON, ERIKA            NJ - USDC for the District of New Jersey   3:18-cv-11885
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LARSON, JEANIE           NJ - USDC for the District of New Jersey   3:20-cv-06240
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LARSON, MARTHA           NJ - USDC for the District of New Jersey   3:18-cv-03968
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LATA, SNJEZANA           NJ - USDC for the District of New Jersey   3:17-cv-09417
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LATIMER, PEARLEAN        NJ - USDC for the District of New Jersey   3:20-cv-13853
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LATTERY, DIANE           NJ - USDC for the District of New Jersey   3:19-cv-17325
                                                                                         MILES, P.C.
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LAUFENBERG, KATHLEEN     NJ - USDC for the District of New Jersey   3:20-cv-00324
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LAUGHLIN, KATHLEEN       NJ - USDC for the District of New Jersey   3:20-cv-05948
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LAUGHLIN, MICHELLE       NJ - USDC for the District of New Jersey   3:20-cv-12911
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LAURENDINCE, ALICE       NJ - USDC for the District of New Jersey   3:19-cv-12307
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LAUZIERE, DIANE          NJ - USDC for the District of New Jersey   3:17-cv-09741
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LAVEDER, LORRAINE        NJ - USDC for the District of New Jersey   3:20-cv-06482
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LAVENDER, AUDREY         NJ - USDC for the District of New Jersey   3:18-cv-14778
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LAVENDER, KAREN          NJ - USDC for the District of New Jersey   3:17-cv-07929
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LAVIGNA, MARY            NJ - USDC for the District of New Jersey   3:17-cv-03944
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LAVOIE, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-13600
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LAWLER, BELINDA          NJ - USDC for the District of New Jersey   3:21-cv-15471
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LAWRENCE, ALICIA         NJ - USDC for the District of New Jersey   3:21-cv-01163
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LAWRENCE, BETTY          NJ - USDC for the District of New Jersey   3:20-cv-15152
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LAWRENCE, DEBORAH        NJ - USDC for the District of New Jersey   3:17-cv-09448
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LAWRENCE, JOSHALYN       NJ - USDC for the District of New Jersey   3:18-cv-03998
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LAWRENCE, KATHLEEN       NJ - USDC for the District of New Jersey   3:17-cv-10411
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LAWRENCE, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-11913
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LAWSON, LOIS             NJ - USDC for the District of New Jersey   3:20-cv-15096
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LAWSON, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-00020
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LAYLAND, VANESSA         NJ - USDC for the District of New Jersey   3:20-cv-12914
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LAYTON, BRENDA           NJ - USDC for the District of New Jersey   3:18-cv-10786
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LAZARE, DEBRA            NJ - USDC for the District of New Jersey   3:17-cv-08814
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LAZARUS, ROBIN           NJ - USDC for the District of New Jersey   3:17-cv-10804
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LAZZARA, FRANCES         NJ - USDC for the District of New Jersey   3:20-cv-07282
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LE DOYEN, CECILIA        MO - Circuit Court - City of St. Louis     1522-CC00613
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LEACH, ALICIA            NJ - USDC for the District of New Jersey   3:18-cv-17306
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LEACH, GLORIA            NJ - USDC for the District of New Jersey   3:18-cv-02871
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LEACH, TERESA            NJ - USDC for the District of New Jersey   3:19-cv-18892
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LEACH-JAYROE, ANGELA     NJ - USDC for the District of New Jersey   3:17-cv-10420
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LEADLEY, MARY            NJ - USDC for the District of New Jersey   3:17-cv-03944
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LEARCH, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-15097
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LEARY, JANINE            NJ - USDC for the District of New Jersey   3:19-cv-17862
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LEATH, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-08071
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LEATHERS, ELAINE         NJ - USDC for the District of New Jersey   3:18-cv-11436
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LEAVER, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-10276
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LEBEAU-KEEN, ROSE        NJ - USDC for the District of New Jersey   3:20-cv-12916
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LEBER, JUNE                  NJ - USDC for the District of New Jersey   3:17-cv-08934
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LEBLANC, STEPHANIE           NJ - USDC for the District of New Jersey   3:20-cv-10835
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LECHNER, ELEANOR             NJ - USDC for the District of New Jersey   3:18-cv-16617
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LEDFORD, FRANCES             NJ - USDC for the District of New Jersey   3:19-cv-01187
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LEE, BETSY                   NJ - USDC for the District of New Jersey   3:19-cv-18894
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LEE, DESIDELLA               NJ - USDC for the District of New Jersey   3:21-cv-00204
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LEE, DONA                    NJ - USDC for the District of New Jersey   3:20-cv-14688
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LEE, ELISE                   NJ - USDC for the District of New Jersey   3:20-cv-06244
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LEE, HELLENA                 NJ - USDC for the District of New Jersey   3:20-cv-01276
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LEE, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-12564
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LEE, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-00482
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LEE, MATILDA                 NJ - USDC for the District of New Jersey   3:17-cv-09071
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LEE-DARKO, CHRISTINA         NJ - USDC for the District of New Jersey   3:19-cv-16705
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LEGAY, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-01836
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LEGENDRE, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-05794
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LEGGETT, JO ANN              NJ - USDC for the District of New Jersey   3:19-cv-20346
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LEGOFF, MAUREEN              NJ - USDC for the District of New Jersey   3:18-cv-13332
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LEGRAND, MARGARET            NJ - USDC for the District of New Jersey   3:18-cv-08351
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LEHMAN, HELEN                NJ - USDC for the District of New Jersey   3:18-cv-00917
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LEIGH, JANIS                 NJ - USDC for the District of New Jersey   3:19-cv-12907
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LEMIRE, NANCY                NJ - USDC for the District of New Jersey   3:18-cv-08577
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LENS, AURELIA                NJ - USDC for the District of New Jersey   3:17-cv-10590
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LEONARD, BARBARA             FL - Circuit Court - Broward County        CACE-20-021156
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LEONARD, JACKIE              NJ - USDC for the District of New Jersey   3:18-cv-09731
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LEONE, ROSEMARY              NJ - USDC for the District of New Jersey   3:17-cv-09451
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LESNIAK, JANE                NJ - USDC for the District of New Jersey   3:20-cv-12563
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LESTER, PATRYCE              NJ - USDC for the District of New Jersey   3:18-cv-02875
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LETHCOE, AUDRA               NJ - USDC for the District of New Jersey   3:19-cv-07841
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LETT, KATHERINE              NJ - USDC for the District of New Jersey   3:17-cv-09693
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LETTIRE, MICHELE             NJ - USDC for the District of New Jersey   3:21-cv-15474
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LEVINE, SALLY                NJ - USDC for the District of New Jersey   3:20-cv-06250
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LEVULIS, LORREE              NJ - USDC for the District of New Jersey   3:20-cv-10061
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LHOTA, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-09317
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
LUCAS, MARGARET              NJ - USDC for the District of New Jersey   3:20-cv-11213
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LUCAS, NORMA                 NJ - USDC for the District of New Jersey   3:20-cv-12562
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LUCERO, ANANI                NJ - USDC for the District of New Jersey   3:20-cv-05202
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LUCKNER-BABASH, ANN          NJ - USDC for the District of New Jersey   3:19-cv-08524
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LUDWICK, KAREN               NJ - USDC for the District of New Jersey   3:18-cv-03317
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LUDWIG, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-00227
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LUNA, PATRICIA               NJ - USDC for the District of New Jersey   3:19-cv-17848
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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LYNCH, JUDITH             NJ - USDC for the District of New Jersey   3:19-cv-19350
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LYNCH, VANESSA            NJ - USDC for the District of New Jersey   3:20-cv-12971
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LYND, DIANE               NJ - USDC for the District of New Jersey   3:21-cv-06125
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LYNN, KAREN               NJ - USDC for the District of New Jersey   3:19-cv-12228
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MACDONALD, PAMELA         NJ - USDC for the District of New Jersey   3:19-cv-14242
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MACKEY, CORA              NJ - USDC for the District of New Jersey   3:17-cv-09144
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MARTIN, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-11916
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MARTIN, CONNIE           NJ - USDC for the District of New Jersey   3:18-cv-10608
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MARTIN, ELEANOR          NJ - USDC for the District of New Jersey   3:20-cv-15159
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MARTIN, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-00145
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MARTIN, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-11574
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MARTIN, KATHRYN          NJ - USDC for the District of New Jersey   3:20-cv-07268
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MARTIN, LOUISE           NJ - USDC for the District of New Jersey   3:19-cv-17280
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MARTIN, LYNDA            NJ - USDC for the District of New Jersey   3:19-cv-16973
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MARTIN, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-07275
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MARTIN, MURIEL           NJ - USDC for the District of New Jersey   3:20-cv-01785
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MARTIN, SHELLA           NJ - USDC for the District of New Jersey   3:20-cv-14620
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MARTIN, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-00142
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MARTIN, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-14246
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MARTZ, PATRICIA             MO - Circuit Court - City of St. Louis     1622-CC-00837
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MARVEL, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-00246
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MASON, CLARA                NJ - USDC for the District of New Jersey   3:19-cv-16133
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MASSEY, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-18042
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MASSINGILL, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-14845
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MASTERS, LOIS               NJ - USDC for the District of New Jersey   3:20-cv-10346
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MATATT, CAROLINE            NJ - USDC for the District of New Jersey   3:17-cv-09494
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MATELJAN, CAROLE            NJ - USDC for the District of New Jersey   3:19-cv-05823
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MATHEOS, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-20301
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MATONIK, KIM                NJ - USDC for the District of New Jersey   3:17-cv-10573
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MATTHEWS, CLAIRE            NJ - USDC for the District of New Jersey   3:20-cv-07317
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MCANALLY, MARCI          NJ - USDC for the District of New Jersey   3:18-cv-03969
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MCCABE, PAULA            NJ - USDC for the District of New Jersey   3:18-cv-17276
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MCCOY, TIFFANY           NJ - USDC for the District of New Jersey   3:20-cv-13481
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MCCUMBEE, PENNY          NJ - USDC for the District of New Jersey   3:18-cv-02473
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MCFALL, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-13563
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCGARTH, SHERYL          NJ - USDC for the District of New Jersey   3:18-cv-16493
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCGAUGHY, JASSMEKA       NJ - USDC for the District of New Jersey   3:17-cv-08843
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCGILL, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-10777
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCGLOTHIN, RIKAYAH       NJ - USDC for the District of New Jersey   3:17-cv-07924
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MCGONIGLE, JOYCE         NJ - USDC for the District of New Jersey   3:17-cv-02396
                                                                                         MILES, P.C.
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MCGOUGH, CATHY           NJ - USDC for the District of New Jersey   3:17-cv-09375
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCGOWIN, ALEXANDRA       NJ - USDC for the District of New Jersey   3:20-cv-15162
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MCGRAW, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-10563
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MCGREW, VONNIE           NJ - USDC for the District of New Jersey   3:20-cv-18001
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MCGUIRE, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-00252
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MCHUGH, MARY             NJ - USDC for the District of New Jersey   3:19-cv-15923
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MCHUGH, TRACY            NJ - USDC for the District of New Jersey   3:18-cv-15540
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCINTIRE, REITA          NJ - USDC for the District of New Jersey   3:20-cv-15290
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MCKAY, HELENE            NJ - USDC for the District of New Jersey   3:17-cv-09380
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MCKAY, MARGARET          NJ - USDC for the District of New Jersey   3:19-cv-17362
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MCKEAN, DONNA            NJ - USDC for the District of New Jersey   3:18-cv-03257
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MCKEE, SHELLY            NJ - USDC for the District of New Jersey   3:18-cv-02878
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MCKINLEY, LADY           NJ - USDC for the District of New Jersey   3:18-cv-09935
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MCKINLEY, TERRI          NJ - USDC for the District of New Jersey   3:19-cv-13655
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MCKINNEY, MARY           NJ - USDC for the District of New Jersey   3:19-cv-18952
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MCKINNON, LISA           NJ - USDC for the District of New Jersey   3:21-cv-10526
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MCKINZIE, SHIRLEY        NJ - USDC for the District of New Jersey   3:17-cv-02396
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MCLANE, BRENDA           MO - Circuit Court - City of St. Louis     1622-CC-00837
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MCLAUGHLIN, CAMILLE      NJ - USDC for the District of New Jersey   3:20-cv-16215
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MCLAUGHLIN, DONNA        NJ - USDC for the District of New Jersey   3:18-cv-12423
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MCLAUGHLIN, KIMBERLY     NJ - USDC for the District of New Jersey   3:19-cv-17365
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MCLEAN, ANNIE            NJ - USDC for the District of New Jersey   3:18-cv-11973
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MCLEAN, JILL             NJ - USDC for the District of New Jersey   3:17-cv-03946
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MCLEOD, OLIVIA           NJ - USDC for the District of New Jersey   3:19-cv-07791
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MCLEOD, SHEILA           NJ - USDC for the District of New Jersey   3:20-cv-12256
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MCLUCAS, CHERYL          NJ - USDC for the District of New Jersey   3:17-cv-11709
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MCMANUS, TINA            NJ - USDC for the District of New Jersey   3:20-cv-14173
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MCMATH, PATSY            NJ - USDC for the District of New Jersey   3:18-cv-16496
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MCMICHAEL, LORETTA       NJ - USDC for the District of New Jersey   3:19-cv-19475
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MCMILLEN, NANCY          NJ - USDC for the District of New Jersey   3:18-cv-01205
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MCNAIR, ANNETTE          NJ - USDC for the District of New Jersey   3:17-cv-09971
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MCNEILL, DIANE           NJ - USDC for the District of New Jersey   3:17-cv-12812
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MCNULTY, SHIRLEY         NJ - USDC for the District of New Jersey   3:19-cv-10068
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MCTAMNEY, LAURALEE                   NJ - USDC for the District of New Jersey   3:17-cv-00726
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MCWATERS, LOU                        NJ - USDC for the District of New Jersey   3:19-cv-18375
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MCWILLIE, DIANE                      NJ - USDC for the District of New Jersey   3:19-cv-07787
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MEACHAM, DEBRA                       NJ - USDC for the District of New Jersey   3:20-cv-04503
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MEACHEM, ROBERTA                     NJ - USDC for the District of New Jersey   3:17-cv-09391
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MEAD, NAN                            NJ - USDC for the District of New Jersey   3:21-cv-06156
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MEADOR, CHRISTINA                    MO - Circuit Court - City of St. Louis     1622-CC-00837
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MEANS, BARBARA                       NJ - USDC for the District of New Jersey   3:19-cv-00955
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MEDCALF, MARJORIE                    NJ - USDC for the District of New Jersey   3:21-cv-11966
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MEDD, COURTNEY                       NJ - USDC for the District of New Jersey   3:20-cv-13484
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MEDEIROS, KATHLEEN                   NJ - USDC for the District of New Jersey   3:19-cv-08227
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MEEKINS, NICOLE                      NJ - USDC for the District of New Jersey   3:20-cv-00404
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MEEKS, JANET                         NJ - USDC for the District of New Jersey   3:18-cv-10819
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MENOKEN, JUANITA                     NJ - USDC for the District of New Jersey   3:19-cv-16972
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MERKLE, LYNN             NJ - USDC for the District of New Jersey   3:20-cv-13489
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MERRILL, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-08656
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MERRITT, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-18045
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MERZ, BEVERLY            NJ - USDC for the District of New Jersey   3:19-cv-20745
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MESSINA, KATHRYN         NJ - USDC for the District of New Jersey   3:21-cv-11467
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MESTRE, LORI             NJ - USDC for the District of New Jersey   3:19-cv-18775
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
METCALFE, CORDELIA       NJ - USDC for the District of New Jersey   3:20-cv-07547
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METHENEY, SHIRLEY        NJ - USDC for the District of New Jersey   3:19-cv-14301
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METZ, JANET              NJ - USDC for the District of New Jersey   3:21-cv-00173
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
METZLER, ANNA            NJ - USDC for the District of New Jersey   3:21-cv-00860
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
METZLER, DIANNA          NJ - USDC for the District of New Jersey   3:17-cv-03945
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METZNER, ROSEMARY        NJ - USDC for the District of New Jersey   3:20-cv-13856
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MEYER, CONSTANCE         NJ - USDC for the District of New Jersey   3:21-cv-08660
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MEYER, LUCINDA           NJ - USDC for the District of New Jersey   3:18-cv-10820
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MEZA, GUADALUPE          NJ - USDC for the District of New Jersey   3:17-cv-05172
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MICHAEL, HELEN           NJ - USDC for the District of New Jersey   3:21-cv-11967
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MICHAELS, DIANA          NJ - USDC for the District of New Jersey   3:17-cv-13564
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MICHAELS, FRANCES        NJ - USDC for the District of New Jersey   3:18-cv-08353
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MICHALES, WANDA          NJ - USDC for the District of New Jersey   3:18-cv-03321
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MIERA, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-14297
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MIKOLAJCZAK, TERRY       NJ - USDC for the District of New Jersey   3:19-cv-11982
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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MILLER, BETSY            NJ - USDC for the District of New Jersey   3:21-cv-00137
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MILLER, CARLENE          NJ - USDC for the District of New Jersey   3:18-cv-13817
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MILLER, CATHIE           NJ - USDC for the District of New Jersey   3:18-cv-03970
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MILLER, ELEANOR          NJ - USDC for the District of New Jersey   3:17-cv-05226
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MILLER, IDA              NJ - USDC for the District of New Jersey   3:19-cv-05833
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MILLER, IMA              NJ - USDC for the District of New Jersey   3:20-cv-12292
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MILLER, JEANETTE         NJ - USDC for the District of New Jersey   3:18-cv-11199
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MILLER, JOANNE           NJ - USDC for the District of New Jersey   3:18-cv-02071
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MILLER, KATHERINE        NJ - USDC for the District of New Jersey   3:20-cv-10452
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MILLER, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-12293
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MILLER, TRACI            NJ - USDC for the District of New Jersey   3:18-cv-09938
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MINCH, SONJA             NJ - USDC for the District of New Jersey   3:17-cv-05197
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MINER, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-18408
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MINER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-12788
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MINER, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-11968
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MING, AMANDA             NJ - USDC for the District of New Jersey   3:19-cv-19854
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MOODY, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-12550
                                                                                        MILES, P.C.
                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOODY, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-07599
                                                                                        MILES, P.C.
                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOODY, LYNDA            NJ - USDC for the District of New Jersey   3:19-cv-17291
                                                                                        MILES, P.C.
                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOON, NANCY             NJ - USDC for the District of New Jersey   3:17-cv-08951
                                                                                        MILES, P.C.
                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, BLONDY           NJ - USDC for the District of New Jersey   3:19-cv-12995
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, BRENDA           NJ - USDC for the District of New Jersey   3:19-cv-20283
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, BRIDGET          NJ - USDC for the District of New Jersey   3:17-cv-10599
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-00348
                                                                                        MILES, P.C.
                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, CHARLOTTE        NJ - USDC for the District of New Jersey   3:18-cv-11353
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, DEANNA           MO - Circuit Court - City of St. Louis     1522-CC-09792
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, DEANNA           NJ - USDC for the District of New Jersey   3:17-cv-09398
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-11970
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, EVELYN           NJ - USDC for the District of New Jersey   3:19-cv-20307
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, KIMBERLY         NJ - USDC for the District of New Jersey   3:19-cv-20205
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MOORE, KRISTA           NJ - USDC for the District of New Jersey   3:21-cv-13133
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, LAURA            NJ - USDC for the District of New Jersey   3:19-cv-14271
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MOORE, LEONA            NJ - USDC for the District of New Jersey   3:17-cv-12217
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-05835
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, LOUISE           NJ - USDC for the District of New Jersey   3:17-cv-00798
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, MARY             NJ - USDC for the District of New Jersey   3:20-cv-03820
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, MARY             NJ - USDC for the District of New Jersey   3:20-cv-12298
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                                                                                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MOORE, ORA              NJ - USDC for the District of New Jersey   3:18-cv-16605
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MOORE, REBECCA          NJ - USDC for the District of New Jersey   3:17-cv-09640
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MOORE, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-20310
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MOORE, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-11908
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MOORE, YAZMEIN          NJ - USDC for the District of New Jersey   3:17-cv-08950
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MOOREHEAD, KATHY        NJ - USDC for the District of New Jersey   3:19-cv-19471
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MOORHEAD, NANCY         NJ - USDC for the District of New Jersey   3:19-cv-16029
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MORAGA, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-12302
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MORALES, CARMEN         MO - Circuit Court - Jefferson County      18JE-CC00893
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MORALES, LEILANI        NJ - USDC for the District of New Jersey   3:17-cv-09650
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MORALES, NAOMI              NJ - USDC for the District of New Jersey   3:17-cv-00800
                                                                                            MILES, P.C.
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MORALES, SARA               NJ - USDC for the District of New Jersey   3:18-cv-16289
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MORDESSA, JEAN              NJ - USDC for the District of New Jersey   3:19-cv-20109
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MORENO, VICTORIA            NJ - USDC for the District of New Jersey   3:19-cv-16059
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MOREY, CLARA                NJ - USDC for the District of New Jersey   3:18-cv-16903
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MORGAN, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-17854
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MORGAN, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-03945
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MORGAN, IRMA                NJ - USDC for the District of New Jersey   3:19-cv-13052
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MORGAN, JOYCE               NJ - USDC for the District of New Jersey   3:18-cv-12997
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MORGAN, SUSAN               NJ - USDC for the District of New Jersey   3:18-cv-04823
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MORGAN, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-12603
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MORGAN-ROEHRICH, KRISTINE   NJ - USDC for the District of New Jersey   3:20-cv-13539
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MORIN, JEAN                 NJ - USDC for the District of New Jersey   3:20-cv-13165
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MORRELL, ELIZABETH          NJ - USDC for the District of New Jersey   3:17-cv-06368
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MORRELL, GRACE              MO - Circuit Court - City of St. Louis     1622-CC-00837
                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MORRIS, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-20061
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MORRIS, FREDDIE             NJ - USDC for the District of New Jersey   3:20-cv-15130
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MORRIS, SHANE               NJ - USDC for the District of New Jersey   3:20-cv-13542
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MORRIS, SHIRLEY             NJ - USDC for the District of New Jersey   3:20-cv-15131
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MORRISON, JEANETTIA         NJ - USDC for the District of New Jersey   3:19-cv-01334
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MORSE, CORA                 NJ - USDC for the District of New Jersey   3:19-cv-05836
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MORTELLARO, MADELINE        NJ - USDC for the District of New Jersey   3:21-cv-06187
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MORTON, ANGELA              NJ - USDC for the District of New Jersey   3:17-cv-09657
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MOSER, BONNIE               NJ - USDC for the District of New Jersey   3:19-cv-16923
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MOSER, JANALEE              NJ - USDC for the District of New Jersey   3:19-cv-05837
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MOSHIER, KATHY              NJ - USDC for the District of New Jersey   3:20-cv-01278
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MOSKAL, LOUISE              NJ - USDC for the District of New Jersey   3:19-cv-21507
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MOSLEY, DIANNA              NJ - USDC for the District of New Jersey   3:20-cv-07548
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MOSLEY, EDNA                NJ - USDC for the District of New Jersey   3:19-cv-05787
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MOSQUEDA, ELIDA             NJ - USDC for the District of New Jersey   3:19-cv-14249
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MOUNT, RITA                 NJ - USDC for the District of New Jersey   3:20-cv-13556
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MOYER, DIANNA               NJ - USDC for the District of New Jersey   3:17-cv-10352
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MOYER, JUNE                 NJ - USDC for the District of New Jersey   3:21-cv-13136
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MOZINGO, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-15917
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MRAVEC, REGENIA             NJ - USDC for the District of New Jersey   3:18-cv-12214
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MRAZ, JOSEPHINE             NJ - USDC for the District of New Jersey   3:19-cv-05886
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MULBERRY, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-16059
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MULDREW, DEBRA              MO - Circuit Court - City of St. Louis     1522-CC10545
                                                                                            MILES, P.C.
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MULE, ANGELA                NJ - USDC for the District of New Jersey   3:21-cv-11971
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MULHOLLAND, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-13557
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MULLEN, JOANNE           NJ - USDC for the District of New Jersey   3:19-cv-20461
                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MULLEN, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-10856
                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MULLENDORE, JAMIE        NJ - USDC for the District of New Jersey   3:18-cv-15497
                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MULLENNAX, JUDY          NJ - USDC for the District of New Jersey   3:20-cv-11667
                                                                                            MILES, P.C.
                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
MULLINS, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-09106
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MULLINS, GINA            NJ - USDC for the District of New Jersey   3:19-cv-20313
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MULLINS, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-06200
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MUMALLAH, LESLIE         NJ - USDC for the District of New Jersey   3:20-cv-01787
                                                                                            MILES, P.C.
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MUMMERT, NOLA            NJ - USDC for the District of New Jersey   3:19-cv-17853
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MUNCH, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-05916
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MUNN, BRENDA             NJ - USDC for the District of New Jersey   3:17-cv-10437
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MUNOZ, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-19993
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MUNRO, CLARINDA          NJ - USDC for the District of New Jersey   3:18-cv-09713
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MUNSON, DEBRA            NJ - USDC for the District of New Jersey   3:19-cv-14217
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MUNSTERMAN, DENISE       NJ - USDC for the District of New Jersey   3:19-cv-21021
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MUNTER, SUSAN            MO - Circuit Court - City of St. Louis     1722-CC11872
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MURILLO, REBECCA         CA - Superior Court - San Diego County     37-2018-38085-CU-PL-CTL
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MURPHY, JUDI             NJ - USDC for the District of New Jersey   3:20-cv-12341
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MURPHY, KELLY            NJ - USDC for the District of New Jersey   3:20-cv-18021
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MURPHY, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-13857
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MURPHY, TERRY            NJ - USDC for the District of New Jersey   3:18-cv-10825
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MURRAY, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-01276
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MURRAY, MARY             NJ - USDC for the District of New Jersey   3:17-cv-10434
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MURRAY, MARYLYN          NJ - USDC for the District of New Jersey   3:18-cv-10826
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MURRELL, GERIANN         NJ - USDC for the District of New Jersey   3:17-cv-09677
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MURRIEL, MATTIE          NJ - USDC for the District of New Jersey   3:18-cv-12867
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MURRY, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-08581
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MUSGRAVE, CHERYL         NJ - USDC for the District of New Jersey   3:17-cv-10427
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MUSICK, MELINDA          NJ - USDC for the District of New Jersey   3:19-cv-07844
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MUSIN, SHARRON           NJ - USDC for the District of New Jersey   3:21-cv-08673
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MYEROW, MARY             NJ - USDC for the District of New Jersey   3:20-cv-12509
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MYERS, CLAUDIA           NJ - USDC for the District of New Jersey   3:20-cv-00486
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MYERS, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-00489
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MYERS, MANDY             NJ - USDC for the District of New Jersey   3:17-cv-09979
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MYERS, PAMELA            NJ - USDC for the District of New Jersey   3:18-cv-03972
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MYERS, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-19472
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MYERS, REVA              NJ - USDC for the District of New Jersey   3:19-cv-19447
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MYERS, SUE               NJ - USDC for the District of New Jersey   3:21-cv-06842
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MYERS, TINA              NJ - USDC for the District of New Jersey   3:21-cv-00863
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MYERS, VIVIAN            NJ - USDC for the District of New Jersey   3:21-cv-00355
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MYLES, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-00357
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NADEL, ESTHER            NJ - USDC for the District of New Jersey   3:20-cv-09112
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NAGEL, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-03278
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NAPIER, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-08126
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NAQUIN, SHERRY           NJ - USDC for the District of New Jersey   3:19-cv-20319
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NARON, CARON             NJ - USDC for the District of New Jersey   3:20-cv-14197
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NASHWINTER, PATRICIA     NJ - USDC for the District of New Jersey   3:18-cv-17408
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NEEDHAM, DANETTE         NJ - USDC for the District of New Jersey   3:20-cv-10512
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OBRIEN, NICOLE            NJ - USDC for the District of New Jersey   3:19-cv-08724
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ODONNELL, CALLY           NJ - USDC for the District of New Jersey   3:21-cv-13229
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OGLESBY, RITA             NJ - USDC for the District of New Jersey   3:20-cv-11670
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ORTEGA, CARMEN           NJ - USDC for the District of New Jersey   3:20-cv-09141
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATAKY, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-17292
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATE, CHRISTY            NJ - USDC for the District of New Jersey   3:19-cv-17361
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATINO, KATHERINE        NJ - USDC for the District of New Jersey   3:17-cv-10354
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATRANELLA, LENORA       NJ - USDC for the District of New Jersey   3:18-cv-12847
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATTERSON, ANNIE         NJ - USDC for the District of New Jersey   3:17-cv-09792
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATTERSON, CAROL         NJ - USDC for the District of New Jersey   3:21-cv-00392
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PATTERSON, CECILIA       NJ - USDC for the District of New Jersey   3:17-cv-10824
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PATTERSON, EVA           NJ - USDC for the District of New Jersey   3:21-cv-00207
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PATTERSON, MARGARET      NJ - USDC for the District of New Jersey   3:20-cv-10606
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PATTERSON, SANDRA        NJ - USDC for the District of New Jersey   3:19-cv-17355
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PATTERSON, SUZANNE       NJ - USDC for the District of New Jersey   3:17-cv-10487
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PATTI, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-13600
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PATTISON, MARY           NJ - USDC for the District of New Jersey   3:21-cv-15489
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PATTON, BECKY            NJ - USDC for the District of New Jersey   3:20-cv-19456
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PATTON, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-20316
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PATTON, MILDRED          NJ - USDC for the District of New Jersey   3:18-cv-16291
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PATTON, ROSEMARY         NJ - USDC for the District of New Jersey   3:20-cv-07550
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PATTON, TRACI            NJ - USDC for the District of New Jersey   3:20-cv-14621
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PAUL, BRENDA             NJ - USDC for the District of New Jersey   3:19-cv-16949
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PAULEY, MARIANNE         NJ - USDC for the District of New Jersey   3:20-cv-12586
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PAULING, GERALDINE       NJ - USDC for the District of New Jersey   3:19-cv-16946
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PAULSON, JULIE           NJ - USDC for the District of New Jersey   3:20-cv-12590
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PAULSON, ROBERTA         NJ - USDC for the District of New Jersey   3:19-cv-19357
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PAYNE, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-10484
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PAYNE, PATSY             NJ - USDC for the District of New Jersey   3:20-cv-10614
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PAYSON, JANICE           NJ - USDC for the District of New Jersey   3:17-cv-13019
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PAYTON, LEVONE           NJ - USDC for the District of New Jersey   3:20-cv-01506
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PEABODY, VITA            NJ - USDC for the District of New Jersey   3:19-cv-17293
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PEACH, VICTORIA          NJ - USDC for the District of New Jersey   3:19-cv-20437
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PEACOCK, VICTORIA        NJ - USDC for the District of New Jersey   3:20-cv-10618
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PEARCE, MARY             NJ - USDC for the District of New Jersey   3:21-cv-15494
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PEARSON, EUGENIA         MO - Circuit Court - City of St. Louis     1722-CC11872
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PEARSON, JOANNE          NJ - USDC for the District of New Jersey   3:20-cv-02944
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PEARSON, KATHRYN         NJ - USDC for the District of New Jersey   3:21-cv-11977
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PECK, COURTNEY           NJ - USDC for the District of New Jersey   3:18-cv-16321
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PECK, SYLVIA             NJ - USDC for the District of New Jersey   3:18-cv-14015
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PEEPLES, ZINA            NJ - USDC for the District of New Jersey   3:17-cv-10620
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PEIRCE, KARINA           NJ - USDC for the District of New Jersey   3:17-cv-10033
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PELAEZ, ALFREDY          NJ - USDC for the District of New Jersey   3:19-cv-17929
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                                                                                           BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PELTIER, JERRI             NJ - USDC for the District of New Jersey   3:17-cv-10105
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PENCIAK, MOIRA             NJ - USDC for the District of New Jersey   3:20-cv-12591
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PENDEA, ADRIANA            NJ - USDC for the District of New Jersey   3:21-cv-07879
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PENDLETON, BARBARA         MO - Circuit Court - City of St. Louis     1522-CC00613
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PENIKIS, KRISTEN           NJ - USDC for the District of New Jersey   3:18-cv-13202
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PEPPIN, CATHY              NJ - USDC for the District of New Jersey   3:18-cv-14722
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PERA, CHRISTA              MO - Circuit Court - City of St. Louis     1822-CC00237
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PEREGRINA, FELICIA         NJ - USDC for the District of New Jersey   3:17-cv-07924
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PEREIRA, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-10624
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PEREZ, KATIE               NJ - USDC for the District of New Jersey   3:19-cv-19566
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PEREZ, LINDA               CA - Superior Court - Santa Clara County   18CV324505
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PERKINS, ALYCE             NJ - USDC for the District of New Jersey   3:19-cv-18725
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PERKINS, CARRIE            NJ - USDC for the District of New Jersey   3:17-cv-09124
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PERKINS, DONNA             NJ - Superior Court - Atlantic County      ATL-L-2849-15
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PERKINS-TAYLOR, TRENETTE   NJ - USDC for the District of New Jersey   3:18-cv-17413
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PERLOFF, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-17466
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PERMENTER, DARLA           NJ - USDC for the District of New Jersey   3:19-cv-18440
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PERRY, ANGELA              NJ - USDC for the District of New Jersey   3:20-cv-12559
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PERRY, CARRIE              NJ - USDC for the District of New Jersey   3:19-cv-08738
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PERRY, DEBORAH             MO - Circuit Court - City of St. Louis     1822-CC00237
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PERRY, DORIS               NJ - USDC for the District of New Jersey   3:20-cv-01294
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PERRY, DOROTHY             MO - Circuit Court - City of St. Louis     1522-CC-09792
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PERRY, ELLA                NJ - USDC for the District of New Jersey   3:21-cv-11978
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PERRY, LOUISE              NJ - USDC for the District of New Jersey   3:18-cv-03975
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PERRY, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-07551
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PERRY, PAULA               NJ - USDC for the District of New Jersey   3:20-cv-12560
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PERRY, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-15496
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PERSON, DEEBORAH           NJ - USDC for the District of New Jersey   3:19-cv-16916
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PERTEETE, ANNIE            NJ - USDC for the District of New Jersey   3:20-cv-12569
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PERU, DELORES              MO - Circuit Court - City of St. Louis     1522-CC-09792
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PERULLO, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-14481
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PERVENANZE, MARY           NJ - USDC for the District of New Jersey   3:20-cv-15771
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PETALOUS, SHARON           CA - Superior Court - Kern County          BCV-17-102563
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PETERS, BELINDA            NJ - USDC for the District of New Jersey   3:17-cv-00790
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PETERS, MARY               NJ - USDC for the District of New Jersey   3:18-cv-09939
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PETERS, SHERRY             NJ - USDC for the District of New Jersey   3:17-cv-10030
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PETERSEN, INHTA            MO - Circuit Court - Jefferson County      18JE-CC00893
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PETERSEN, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-12573
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PETERSON, ANNIE            NJ - USDC for the District of New Jersey   3:20-cv-00260
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PETERSON, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-11292
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
PETERSON, JANET           CA - Superior Court - Butte County         17CV02548
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PETERSON, KAREN           NJ - USDC for the District of New Jersey   3:17-cv-09018
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PETERSON, LORIAN          NJ - USDC for the District of New Jersey   3:19-cv-14269
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PETERSON, LYNETTE         NJ - USDC for the District of New Jersey   3:20-cv-09142
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PETERSON, MARJORIE        NJ - USDC for the District of New Jersey   3:19-cv-21523
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PETERSON, NANCY           NJ - USDC for the District of New Jersey   3:17-cv-09472
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PETERSON, OLGA            NJ - USDC for the District of New Jersey   3:20-cv-10697
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PETERSON, VICKI           NJ - USDC for the District of New Jersey   3:17-cv-04720
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PETREDIS, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-12575
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PETROVANI, NICOLA         NJ - USDC for the District of New Jersey   3:20-cv-13572
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PETTAWAY, SONYA           NJ - USDC for the District of New Jersey   3:19-cv-01502
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PETTI, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-13755
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PETTIT, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-01276
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PETTWAY, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-00397
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PETTY, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-12495
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PEUGH, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-12001
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PFEIFFER, ELLEN           NJ - USDC for the District of New Jersey   3:17-cv-09435
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PFIFER, ALLYSON           NJ - USDC for the District of New Jersey   3:19-cv-05869
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PHILLIPS, JANET           NJ - USDC for the District of New Jersey   3:18-cv-16644
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PHILLIPS, JOANN           MO - Circuit Court - City of St. Louis     1822-CC00237
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PHILLIPS, JODI            NJ - USDC for the District of New Jersey   3:19-cv-05871
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PHILLIPS, KATHRYN         NJ - USDC for the District of New Jersey   3:18-cv-13112
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PHILLIPS, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-17934
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PHILLIPS, NANCY           NJ - USDC for the District of New Jersey   3:18-cv-10831
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PHILLIPS, PEGGY           NJ - USDC for the District of New Jersey   3:19-cv-20297
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PHILLIPS, SARAH           NJ - USDC for the District of New Jersey   3:18-cv-03976
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PHILLIPS, WILLORA         NJ - USDC for the District of New Jersey   3:18-cv-04750
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PHILPOT, MICHELLE         NJ - USDC for the District of New Jersey   3:18-cv-14095
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PHIPPEN, PATSY            NJ - USDC for the District of New Jersey   3:21-cv-00399
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PICKARD, MILAGROS         NJ - USDC for the District of New Jersey   3:19-cv-20447
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PICKLE, MARY              MO - Circuit Court - City of St. Louis     1622-CC-00837
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PIELACH, CONCETTA         NJ - USDC for the District of New Jersey   3:21-cv-10528
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PIERCE, ESSIE             NJ - USDC for the District of New Jersey   3:18-cv-09941
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PIERCE, JOYCE             NJ - USDC for the District of New Jersey   3:19-cv-17324
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PIERSON, PORTIA           NJ - USDC for the District of New Jersey   3:20-cv-13024
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PIGG, KATHY               NJ - USDC for the District of New Jersey   3:20-cv-09143
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PIGNATELLI, DELANN        NJ - USDC for the District of New Jersey   3:21-cv-00862
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PINEIRO-ZUCKER, DIANE     NJ - USDC for the District of New Jersey   3:18-cv-00079
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PINNIX, SUE               NJ - USDC for the District of New Jersey   3:20-cv-15135
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PITTMAN, FREDA            NJ - USDC for the District of New Jersey   3:19-cv-20293
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RANCOUR, RHONDA          NJ - USDC for the District of New Jersey   3:21-cv-11481
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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RAU, DONNA                  NJ - USDC for the District of New Jersey   3:20-cv-12300
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REAMES, KAY                 NJ - USDC for the District of New Jersey   3:18-cv-02737
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RILEY, GENA                 NJ - USDC for the District of New Jersey   3:18-cv-15836
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
RIMP, PAULINE               NJ - USDC for the District of New Jersey   3:17-cv-02394
                                                                                            MILES, P.C.
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RINGBAUER, THEA             NJ - USDC for the District of New Jersey   3:19-cv-16059
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
RINGENER, JANIE             NJ - USDC for the District of New Jersey   3:20-cv-13586
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
RIPKA, BETTY                NJ - USDC for the District of New Jersey   3:20-cv-08888
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RISBERG, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-17363
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RITCHEY, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-11232
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RITCHIE, BOBBIE-JO          NJ - USDC for the District of New Jersey   3:20-cv-13875
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RITCHIE, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-00415
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RITENOUR, VIOLA             NJ - USDC for the District of New Jersey   3:18-cv-03330
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
RITSON, ROSE             NJ - USDC for the District of New Jersey   3:18-cv-03979
                                                                                         MILES, P.C.
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RITTER, MARJORIE         CA - Superior Court - Los Angeles County   BC711985
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RIVAS, IRENE             NJ - USDC for the District of New Jersey   3:17-cv-11445
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                                                                    3:18-cv-00091        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
RIVERA, YAMILETTE        NJ - USDC for the District of New Jersey
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RIVERO, MAGALY           NJ - USDC for the District of New Jersey   3:20-cv-05703
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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RIZZO, MARY              NJ - USDC for the District of New Jersey   3:21-cv-11580
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ROACH, JOANN             NJ - USDC for the District of New Jersey   3:17-cv-09776
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ROALEF, CAROLE           NJ - USDC for the District of New Jersey   3:20-cv-18048
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ROBBINS, GWENDOLYN       NJ - USDC for the District of New Jersey   3:20-cv-13948
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ROBEN, DEBROAH           NJ - USDC for the District of New Jersey   3:19-cv-16059
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ROBERSON, ANITA          NJ - USDC for the District of New Jersey   3:19-cv-05899
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ROBERTS, CATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-12435
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ROBERTS, LISA            NJ - USDC for the District of New Jersey   3:17-cv-09328
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ROBERTS, MARY            NJ - USDC for the District of New Jersey   3:21-cv-06223
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ROBERTS, TERRI           NJ - USDC for the District of New Jersey   3:19-cv-05897
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ROBERTSON, DOLORES                                                  003493
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ROBERTSON, GEORGETTE     NJ - USDC for the District of New Jersey   3:19-cv-07237
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ROBINSON, ADELINE        NJ - USDC for the District of New Jersey   3:20-cv-10716
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ROBINSON, BENNIE         NJ - USDC for the District of New Jersey   3:20-cv-07800
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ROBINSON, DONNA          NJ - USDC for the District of New Jersey   3:21-cv-09972
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ROBINSON, ERNA           NJ - Superior Court - Atlantic County      ATL-L-2896-15
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ROBINSON, LEAH           MO - Circuit Court - City of St. Louis     1822-CC00237
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ROBINSON, MARY           NJ - USDC for the District of New Jersey   3:21-cv-01664
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ROBINSON, SHERRY         NJ - USDC for the District of New Jersey   3:20-cv-12450
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ROBISHAW, NINA           NJ - USDC for the District of New Jersey   3:21-cv-11050
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ROCK, BONNY              NJ - USDC for the District of New Jersey   3:18-cv-03147
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RODDY, BETH              NJ - USDC for the District of New Jersey   3:20-cv-12451
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RODDY, DIANE             NJ - USDC for the District of New Jersey   3:18-cv-03336
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RODELIUS, DORIS          NJ - USDC for the District of New Jersey   3:19-cv-16947
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RODERICK, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-14767
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RODGERS, SHIRLEY         NJ - USDC for the District of New Jersey   3:18-cv-02740
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RODRIGUE, CLAUDIA        NJ - USDC for the District of New Jersey   3:17-cv-10014
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RODRIGUEZ, GRACE         NJ - USDC for the District of New Jersey   3:20-cv-10721
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RODRIGUEZ, KATHLEEN      NJ - USDC for the District of New Jersey   3:17-cv-09143
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RODRIGUEZ, RUTH          NJ - USDC for the District of New Jersey   3:19-cv-21799
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ROGERS, ELAINE           NJ - USDC for the District of New Jersey   3:21-cv-09973
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ROGERS, JANA             NJ - USDC for the District of New Jersey   3:18-cv-02741
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ROGERS, JESSIE           NJ - USDC for the District of New Jersey   3:18-cv-02744
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ROGERS, JULIE            NJ - USDC for the District of New Jersey   3:18-cv-02747
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ROGERS, LUANNA           NJ - USDC for the District of New Jersey   3:20-cv-12321
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ROGERS, MARILYN          NJ - USDC for the District of New Jersey   3:19-cv-17320
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ROGERS, ROBIN            NJ - USDC for the District of New Jersey   3:21-cv-09975
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ROGERS, SHEILA           NJ - USDC for the District of New Jersey   3:19-cv-16131
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ROGIER, GAIL             NJ - USDC for the District of New Jersey   3:20-cv-13877
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ROLLE, VERA              NJ - USDC for the District of New Jersey   3:20-cv-14773
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ROLLER, VERONICA         NJ - USDC for the District of New Jersey   3:19-cv-15501
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ROLLING, LAURELL         NJ - USDC for the District of New Jersey   3:19-cv-13658
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ROLLINS, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-14781
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ROMAN, GLADYS            NJ - USDC for the District of New Jersey   3:17-cv-08376
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ROMANO, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-16226
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RONEY, KECIA             NJ - USDC for the District of New Jersey   3:20-cv-10809
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ROOD, CLARA              NJ - USDC for the District of New Jersey   3:21-cv-09976
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ROOP, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-12318
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ROOT, MARY               NJ - USDC for the District of New Jersey   3:19-cv-08232
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ROOTE, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-10296
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ROPER, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-01276
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ROPER, VERONICA          NJ - USDC for the District of New Jersey   3:17-cv-09137
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ROSAS, GLORIA            NJ - USDC for the District of New Jersey   3:18-cv-05926
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ROSE, FERRANTI           NJ - USDC for the District of New Jersey   3:19-cv-14281
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ROSE, SUSAN              CA - Superior Court - Santa Cruz County    18CV00909
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ROSE, SYLVIA             NJ - USDC for the District of New Jersey   3:19-cv-17347
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ROSEN, JULLIAN           NJ - USDC for the District of New Jersey   3:19-cv-15914
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ROSEN, LYNN              NJ - USDC for the District of New Jersey   3:19-cv-17327
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ROSS, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-16945
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ROSS, MATTIE             NJ - USDC for the District of New Jersey   3:19-cv-17337
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ROSS, SHERRY             NJ - USDC for the District of New Jersey   3:17-cv-09969
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ROSS, VERONIKA           NJ - USDC for the District of New Jersey   3:17-cv-08937
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ROSSER, VICKI            NJ - USDC for the District of New Jersey   3:17-cv-10822
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SCHANTZ, THERESE         NJ - USDC for the District of New Jersey   3:20-cv-20365
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SCHENK, LORRAINE         NJ - USDC for the District of New Jersey   3:19-cv-17873
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SCHERER, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-09997
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SCHEUMAN, NORMA          NJ - USDC for the District of New Jersey   3:19-cv-17477
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SCHMIDT, KATHY           NJ - USDC for the District of New Jersey   3:17-cv-09978
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SCHROEDER, CHRISTINA     NJ - USDC for the District of New Jersey   3:18-cv-06056
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SHAPIRO-FUCHS, NANCY     NJ - USDC for the District of New Jersey   3:20-cv-11331
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHARPE, DENISE           NJ - USDC for the District of New Jersey   3:19-cv-17357
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHASKY, LEE              MO - Circuit Court - Jefferson County      18JE-CC00448
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHAUT, MARIE             NJ - USDC for the District of New Jersey   3:17-cv-08835
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHAVER, JAN              NJ - USDC for the District of New Jersey   3:19-cv-17296
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHAW, JEANIE             MO - Circuit Court - City of St. Louis     1622-CC-00837
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHAW, KATHLEEN           NJ - USDC for the District of New Jersey   3:20-cv-14975
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SHAW, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-03616
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SHAW, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-02882
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SHAW, ROSA               NJ - USDC for the District of New Jersey   3:19-cv-20182
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SHAW, SUSITHEA           NJ - USDC for the District of New Jersey   3:20-cv-10714
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SHEA, GWEN               NJ - USDC for the District of New Jersey   3:19-cv-18692
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SHEARS, EVELYN           NJ - USDC for the District of New Jersey   3:19-cv-01490
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHEARS, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-11332
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SHEEHAN, CONSTANCE       CA - Superior Court - Napa County          18CV000849
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SHELBURNE, DIANA         NJ - USDC for the District of New Jersey   3:19-cv-20317
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SHELL, KRISTIE           NJ - USDC for the District of New Jersey   3:17-cv-10093
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SHELL, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-10860
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SHELLEY, SUNNY           NJ - USDC for the District of New Jersey   3:20-cv-02930
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHELLNUT, SANDRA         NJ - USDC for the District of New Jersey   3:19-cv-16942
                                                                                         MILES, P.C.
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SHELTON, APRIL           NJ - USDC for the District of New Jersey   3:20-cv-03818
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SHELTON, DARLENE         NJ - USDC for the District of New Jersey   3:19-cv-07711
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SHELTON, LAURA JO        NJ - USDC for the District of New Jersey   3:17-cv-06890
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SHELTON, REGINA          NJ - USDC for the District of New Jersey   3:18-cv-01213
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SHEPARD, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-12366
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SHEPARD, MAXINE          NJ - USDC for the District of New Jersey   3:19-cv-11275
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SHEPHERD, CAROL          MO - Circuit Court - Jefferson County      18JE-CC00448
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SHEPHERD, JANET          NJ - USDC for the District of New Jersey   3:17-cv-08704
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SHEPHERD, MARSHA         NJ - USDC for the District of New Jersey   3:18-cv-02761
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SHEPHERD, MICHELE        NJ - USDC for the District of New Jersey   3:19-cv-17297
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SHEPPARD, JUDY           NJ - USDC for the District of New Jersey   3:20-cv-04766
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SHEPPARD, PAMELA         NJ - USDC for the District of New Jersey   3:20-cv-13917
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SHEPPARD, SANDRA         NJ - USDC for the District of New Jersey   3:19-cv-07712
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SHERFEY, GAIL            NJ - USDC for the District of New Jersey   3:19-cv-20349
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SHERMAN, HEIDI           NJ - USDC for the District of New Jersey   3:18-cv-01562
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SHERMAN, ROSE            NJ - USDC for the District of New Jersey   3:19-cv-08752
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SHERRY, CHARINE          MO - Circuit Court - Jefferson County      18JE-CC00448
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SHERWOOD, JEAN           NJ - USDC for the District of New Jersey   3:19-cv-21806
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SHIELDS, BETTIE          NJ - USDC for the District of New Jersey   3:19-cv-21511
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SHILLING, KATHLEEN       NJ - USDC for the District of New Jersey   3:18-cv-03273
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SHIPLEY, SHERRY          NJ - USDC for the District of New Jersey   3:17-cv-10374
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SHIPP, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-13918
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SHIRK, JANET             NJ - USDC for the District of New Jersey   3:17-cv-09058
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SHOOP, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-17821
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SHORT, MARY              NJ - USDC for the District of New Jersey   3:17-cv-08706
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SHORTER, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-20248
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SHULL, LEE               NJ - USDC for the District of New Jersey   3:19-cv-16867
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SHUSTER, DOREEN          NJ - USDC for the District of New Jersey   3:20-cv-07423
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                                                                                             BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SIDDEN, ANNA                 NJ - USDC for the District of New Jersey   3:19-cv-15915
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SIDERS, PAMELA               NJ - USDC for the District of New Jersey   3:17-cv-10357
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SIDORICK, KELLY              NJ - USDC for the District of New Jersey   3:21-cv-10113
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SIDRANSKY, LISA              MO - Circuit Court - City of St. Louis     1622-CC00443
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SILER, PAULINE               NJ - USDC for the District of New Jersey   3:19-cv-21831
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SILVA, LARI                  NJ - USDC for the District of New Jersey   3:18-cv-02764
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SILVA, RENEE                 NJ - USDC for the District of New Jersey   3:17-cv-03945
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SILVER, JANICE               NJ - USDC for the District of New Jersey   3:17-cv-08578
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SILVER, PATRICIA             NJ - USDC for the District of New Jersey   3:17-cv-08903
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SILVERTHORN, MARYA           NJ - USDC for the District of New Jersey   3:19-cv-14224
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SIMENTAL, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-15714
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SIMMONS, AUDREY              NJ - USDC for the District of New Jersey   3:19-cv-05892
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SIMMONS, JACQUELINE          NJ - USDC for the District of New Jersey   3:17-cv-09490
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SIMMONS, TRACY               NJ - USDC for the District of New Jersey   3:19-cv-20159
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SIMS, DIANE                  NJ - USDC for the District of New Jersey   3:19-cv-17857
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SINGH, RAJ                   NJ - USDC for the District of New Jersey   3:19-cv-19470
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SKINNER, DEBRA               NJ - USDC for the District of New Jersey   3:17-cv-07924
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SLAGLE, TINA              NJ - USDC for the District of New Jersey   3:20-cv-09312
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SLAMES, JUDITH            NJ - USDC for the District of New Jersey   3:17-cv-07579
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SLAUGHTER, PAMELA         NJ - USDC for the District of New Jersey   3:20-cv-03769
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SMALLEY, REBECCA          NJ - USDC for the District of New Jersey   3:17-cv-08717
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SMART, FRANCES            NJ - USDC for the District of New Jersey   3:19-cv-12312
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SMIDDY, LESLIE            NJ - USDC for the District of New Jersey   3:20-cv-13925
                                                                                          MILES, P.C.
                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SMILEY, ANN               NJ - USDC for the District of New Jersey   3:17-cv-13635
                                                                                          MILES, P.C.
                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SMILEY, TERESA            NJ - USDC for the District of New Jersey   3:18-cv-16305
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SMITH, ALEISA             MO - Circuit Court - City of St. Louis     1622-CC-00837
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SMITH, AMYJON             NJ - USDC for the District of New Jersey   3:18-cv-00026
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SMITH, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-05334
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SMITH, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-10313
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SMITH, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-03985
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SMITH, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-20377
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SMITH, CRYSTAL            NJ - USDC for the District of New Jersey   3:21-cv-10314
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SMITH, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-07562
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SMITH, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-16060
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SMITH, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-00027
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SMITH, DEBRA              NJ - USDC for the District of New Jersey   3:18-cv-13781
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SMITH, DEBRA              NJ - USDC for the District of New Jersey   3:17-cv-08722
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SMITH, DELORES            NJ - USDC for the District of New Jersey   3:21-cv-11860
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SMITH, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-08205
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SMITH, EARNESTINE         NJ - USDC for the District of New Jersey   3:19-cv-19534
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SMITH, JULIA              NJ - USDC for the District of New Jersey   3:18-cv-13607
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SMITH, KATHY              NJ - USDC for the District of New Jersey   3:20-cv-05250
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SMITH, KRISTI             NJ - USDC for the District of New Jersey   3:18-cv-10862
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SMITH, LARITA             MO - Circuit Court - City of St. Louis     1622-CC00134
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SMITH, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-02071
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SMITH, LEILA              NJ - USDC for the District of New Jersey   3:19-cv-14252
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SMITH, LORI               NJ - USDC for the District of New Jersey   3:19-cv-17488
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SMITH, MARIANNE           NJ - USDC for the District of New Jersey   3:17-cv-07924
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SMITH, MARTHA             NJ - USDC for the District of New Jersey   3:17-cv-09057
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SMITH, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-07563
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SMITH, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-12474
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SMITH, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-08726
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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SMITH, VALENE               NJ - USDC for the District of New Jersey   3:20-cv-13933
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SMITH, VALERIE              DC - USDC for the District of Columbia     1:21-cv-00890
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SMITH, YVETTE               NJ - USDC for the District of New Jersey   3:19-cv-20211
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SMOCK, CONNIE               NJ - USDC for the District of New Jersey   3:17-cv-08724
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SPELMAN, KATHY            NJ - USDC for the District of New Jersey   3:17-cv-09750
                                                                                          MILES, P.C.
                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPENCE, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-09049
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPENCER, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-14009
                                                                                          MILES, P.C.
                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPENCER, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-07058
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPENCER, VICTORIA         NJ - USDC for the District of New Jersey   3:17-cv-08313
                                                                                          MILES, P.C.
                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPERBER, MARIAN           NJ - USDC for the District of New Jersey   3:18-cv-09922
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPIELMAN, LISA            NJ - USDC for the District of New Jersey   3:19-cv-07806
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPIKES, CASSANDRA         NJ - USDC for the District of New Jersey   3:21-cv-00126
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SPINELLI, JOANNE          NJ - USDC for the District of New Jersey   3:17-cv-09286
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SPOON, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-09269
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SPOONER, CHRISI           NJ - USDC for the District of New Jersey   3:20-cv-14984
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                          PA - Philadelphia County Court of Common                        BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPOTTS, JEAN                                                         210101314
                          Pleas                                                           MILES, P.C.
                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPOTTS, NORMA             NJ - USDC for the District of New Jersey   3:20-cv-03851
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SPRADLIN, LISA            NJ - USDC for the District of New Jersey   3:20-cv-00500
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SPRAGUE, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-09318
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SPRINGFIELD, APRIL        NJ - USDC for the District of New Jersey   3:21-cv-10319
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SPROUSE, MARLENA          NJ - USDC for the District of New Jersey   3:17-cv-08826
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SPRY, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-17298
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ST. GEORGE, TRUDY         NJ - USDC for the District of New Jersey   3:20-cv-00299
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
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STACY, JOYCE              MO - Circuit Court - City of St. Louis     1822-CC00237
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STAHL, LORA               NJ - USDC for the District of New Jersey   3:21-cv-11919
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STAIGER, CATHERINE        NJ - USDC for the District of New Jersey   3:19-cv-19465
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STALEY, GRACE             NJ - USDC for the District of New Jersey   3:20-cv-14722
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STALLINGS, LINDA          NJ - USDC for the District of New Jersey   3:19-cv-12376
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STALNAKER, BONNIE        NJ - USDC for the District of New Jersey   3:19-cv-05753
                                                                                         MILES, P.C.
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STALNAKER, VELMA         NJ - USDC for the District of New Jersey   3:20-CV-06780
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STAMPS, ROSIE            NJ - USDC for the District of New Jersey   3:17-cv-10478
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STANBURY, DAISY          NJ - USDC for the District of New Jersey   3:20-cv-13303
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STANDIFER, MELLIE        NJ - USDC for the District of New Jersey   3:19-cv-20175
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STANEK, PAMELA           NJ - USDC for the District of New Jersey   3:17-cv-07576
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STANGELAND, LINDA        NJ - USDC for the District of New Jersey   3:18-cv-09628
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STANGL, DORIS            NJ - USDC for the District of New Jersey   3:20-cv-01276
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STANLEY, BONNIE          NJ - USDC for the District of New Jersey   3:19-cv-12313
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STANLEY, NINA            NJ - USDC for the District of New Jersey   3:21-cv-00198
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STAPELTON, ANGELA        NJ - USDC for the District of New Jersey   3:19-cv-19560
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STARK, MARY              NJ - USDC for the District of New Jersey   3:20-cv-18014
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STARK, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-12255
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STARKS, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-06592
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STARMAN, KIM             NJ - USDC for the District of New Jersey   3:21-cv-10323
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STAROSKY, MICHELLE       NJ - USDC for the District of New Jersey   3:19-cv-19401
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STARR, LOIS              NJ - USDC for the District of New Jersey   3:17-cv-13448
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STARR, RENEE             NJ - USDC for the District of New Jersey   3:20-cv-14012
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STATEN, SUE              NJ - USDC for the District of New Jersey   3:20-cv-14981
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STAVESKI, PATRICIA       NJ - USDC for the District of New Jersey   3:18-cv-00095
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STEARN, MELISSA          NJ - USDC for the District of New Jersey   3:20-cv-11342
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STEARNS, NORMA           NJ - USDC for the District of New Jersey   3:19-cv-07809
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STEELE, GAIL             NJ - USDC for the District of New Jersey   3:17-cv-03946
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STEEN, ELISHA            NJ - USDC for the District of New Jersey   3:17-cv-09660
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STEHLER, CAROLYN         NJ - USDC for the District of New Jersey   3:18-cv-02765
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STEINER, MARY            NJ - USDC for the District of New Jersey   3:19-cv-12911
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STEMM, CYNTHIA           NJ - USDC for the District of New Jersey   3:17-cv-10243
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STEPHEN, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-05205
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STEPHENS, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-16242
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STEPHENS, BOBBIE         NJ - USDC for the District of New Jersey   3:17-cv-08108
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STEPHENS, TREVIA         NJ - USDC for the District of New Jersey   3:17-cv-10236
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STEPP, SYLVANIA          NJ - USDC for the District of New Jersey   3:20-cv-06936
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STERN, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-10324
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STETTNER, JEAN           NJ - USDC for the District of New Jersey   3:17-cv-10220
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STEVENS, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-06754
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STEWART, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-02379
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STEWART, DELLA           NJ - USDC for the District of New Jersey   3:20-cv-07812
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STEWART, MARILYN         NJ - USDC for the District of New Jersey   3:18-cv-06058
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STEWART, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-10086
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STEWART, TERESA          NJ - USDC for the District of New Jersey   3:18-cv-03990
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STIGGERS, DOROTHY        NJ - USDC for the District of New Jersey   3:19-cv-17874
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STILES, MAUREEN          NJ - USDC for the District of New Jersey   3:20-cv-02992
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STILES, ROBIN            NJ - USDC for the District of New Jersey   3:21-cv-08711
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STILLWELL, ANDREA        NJ - USDC for the District of New Jersey   3:18-cv-12852
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STILTNER, PRISCILLA      MO - Circuit Court - City of St. Louis     1622-CC-00837
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STINSON, DEBBIE          NJ - USDC for the District of New Jersey   3:20-cv-11362
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STINSON, JANET           NJ - USDC for the District of New Jersey   3:21-cv-15509
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STIRCKLAND, TAMMY        NJ - USDC for the District of New Jersey   3:20-cv-01276
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STOCK, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-21851
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STOCK, VALERIE           NJ - USDC for the District of New Jersey   3:21-cv-10325
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STOCKS, MARGARET         NJ - USDC for the District of New Jersey   3:18-cv-11975
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STOCKS, VICTORIA         NJ - USDC for the District of New Jersey   3:21-cv-12257
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STOCKTON, SHANNON        NJ - USDC for the District of New Jersey   3:17-cv-10183
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STOCKTON, TAMALYN        NJ - USDC for the District of New Jersey   3:17-cv-07929
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STOGNER, TERRY           NJ - USDC for the District of New Jersey   3:20-cv-14982
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STONER, JENNY            NJ - USDC for the District of New Jersey   3:17-cv-06069
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STORY, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-03945
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STOUT, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-10444
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STOUT, SHERRI            NJ - USDC for the District of New Jersey   3:19-cv-20328
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STRACHN, MILDRED         NJ - USDC for the District of New Jersey   3:19-cv-21853
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STRAHAN, RYNDA           NJ - USDC for the District of New Jersey   3:17-cv-09746
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STRAIN, GLADYS           NJ - USDC for the District of New Jersey   3:17-cv-06663
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STRAWTHER, MARY          NJ - USDC for the District of New Jersey   3:19-cv-14327
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STRINGER, LOLA           NJ - USDC for the District of New Jersey   3:21-cv-06245
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STRONG, SHEREE           NJ - USDC for the District of New Jersey   3:17-cv-09281
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STROUD, GLORIA           NJ - USDC for the District of New Jersey   3:20-cv-07502
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STROUD, KECIA            NJ - USDC for the District of New Jersey   3:17-cv-10216
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STRUCK, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-05934
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STUART, ANNA             NJ - USDC for the District of New Jersey   3:17-cv-13452
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STUART, IRMA             NJ - USDC for the District of New Jersey   3:20-cv-14017
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STUMPF, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-09276
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STURGILL, BESSIE         NJ - USDC for the District of New Jersey   3:19-cv-20259
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STURMAN, JOYCE           NJ - USDC for the District of New Jersey   3:20-cv-01276
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
STYLES, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-08410
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SUBER, JEAN              NJ - USDC for the District of New Jersey   3:18-cv-16647
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SUGERMAN, ARLENE         NJ - USDC for the District of New Jersey   3:18-cv-02985
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SUJETA, NORMA            NJ - USDC for the District of New Jersey   3:19-cv-21856
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SULLIVAN, BETTY          NJ - USDC for the District of New Jersey   3:20-cv-13032
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SULLIVAN, BRENDA         NJ - USDC for the District of New Jersey   3:20-cv-14693
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SUMPLE, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-05364
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SUMPTER, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-09322
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SUNDE, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-07821
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SUPPLE, CHRYSTAL         NJ - USDC for the District of New Jersey   3:17-cv-10555
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SUTTER, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-11248
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SUTTON, ESSIE            NJ - USDC for the District of New Jersey   3:18-cv-11889
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SUTTON, SHEILA           NJ - USDC for the District of New Jersey   3:17-cv-10211
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SVATEK, KATHRYN          NJ - USDC for the District of New Jersey   3:20-cv-06485
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SVELMOE, DEBRA           NJ - USDC for the District of New Jersey   3:18-cv-16313
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SWAN, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-07432
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SWANGER, DIANE           NJ - USDC for the District of New Jersey   3:18-cv-16051
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SWANSON, HEIDI           NJ - USDC for the District of New Jersey   3:19-cv-16938
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
SWEENEY, JUDY             NJ - USDC for the District of New Jersey   3:19-cv-16043
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SWEETSER, ANN             NJ - USDC for the District of New Jersey   3:20-cv-14019
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SWINDLE, SUE              NJ - USDC for the District of New Jersey   3:19-cv-07815
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SWING, LOUISE             FL - Circuit Court - Broward County        CACE-21-004162
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SWINT, DOROTHY            NJ - USDC for the District of New Jersey   3:18-cv-17489
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SYBERT, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-00264
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TAYLOR, MARION            NJ - USDC for the District of New Jersey   3:21-cv-06250
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                                                                                          BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
TAYLOR, MELISSA           NJ - USDC for the District of New Jersey   3:17-cv-06558
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TAYLOR, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-14791
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TAYLOR, REVA              NJ - USDC for the District of New Jersey   3:18-cv-05010
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THOMAS, ESTHER          NJ - USDC for the District of New Jersey   3:19-cv-17875
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THOMAS, GLORIA          NJ - USDC for the District of New Jersey   3:18-cv-02885
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THOMAS, LAKISHA         NJ - USDC for the District of New Jersey   3:21-cv-10329
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THOMAS, LENORA          NJ - USDC for the District of New Jersey   3:19-cv-17511
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THOMAS, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-02396
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THOMAS, MATELINE        NJ - USDC for the District of New Jersey   3:17-cv-08691
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THOMAS, PATRICE         NJ - USDC for the District of New Jersey   3:20-cv-01276
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THOMAS, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-14058
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THOMAS, SUSAN           NJ - USDC for the District of New Jersey   3:20-cv-14060
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THOMAS, VICKY           NJ - USDC for the District of New Jersey   3:20-cv-01686
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THORDARSON, MARILYN      NJ - USDC for the District of New Jersey   3:19-cv-16079
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THORSON, RANDI           NJ - USDC for the District of New Jersey   3:20-cv-01820
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THRASH, MARY             NJ - USDC for the District of New Jersey   3:19-cv-12317
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THULL, LUANN VAN         NJ - USDC for the District of New Jersey   3:19-cv-09052
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TIEMAN, MARY             NJ - USDC for the District of New Jersey   3:20-cv-18664
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TORO, DOREEN             NJ - USDC for the District of New Jersey   3:20-cv-15791
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WAGES, MARY              NJ - USDC for the District of New Jersey   3:19-cv-07822
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WAGGONER, MARILYN        NJ - USDC for the District of New Jersey   3:20-cv-14098
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WAGNER, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-14100
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WAGNER, EMILY            NJ - USDC for the District of New Jersey   3:17-cv-10090
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WAIT, ANGIE              NJ - USDC for the District of New Jersey   3:17-cv-09706
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WAITE, JOANNE            NJ - USDC for the District of New Jersey   3:18-cv-06060
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WAITE, NANCY             NJ - USDC for the District of New Jersey   3:17-cv-09700
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WAKSMUNSKI, CONSTANCE    NJ - USDC for the District of New Jersey   3:19-cv-07818
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WALBORN, CAROL-ANN       NJ - USDC for the District of New Jersey   3:20-cv-03852
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WALCH, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-10336
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WALDO, ROSA              NJ - USDC for the District of New Jersey   3:19-cv-07820
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WALDON, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-09764
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WALDOW, AMY              NJ - USDC for the District of New Jersey   3:18-cv-01563
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WALDROP, HELEN           NJ - USDC for the District of New Jersey   3:18-cv-09718
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WALES, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-02778
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WALK, SHIRLEY            NJ - USDC for the District of New Jersey   3:18-cv-12020
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WALKER, ALICIA           MO - Circuit Court - City of St. Louis     1522-CC00613
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WALKER, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-06259
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WALKER, CHARLENE         NJ - USDC for the District of New Jersey   3:20-cv-00288
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WALKER, CHERYL           NJ - USDC for the District of New Jersey   3:18-cv-15891
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WALKER, JOYCE            NJ - USDC for the District of New Jersey   3:18-cv-12840
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WALKER, LETHA            NJ - USDC for the District of New Jersey   3:17-cv-09694
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WALKER, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-20335
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WALKER, MARY             NJ - USDC for the District of New Jersey   3:20-cv-14101
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WALKER, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-07933
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WALKER, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-14305
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WALKER, SABRINA          NJ - USDC for the District of New Jersey   3:18-cv-17316
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WALKER, SHIRLEY ANN      NJ - USDC for the District of New Jersey   3:20-cv-10715
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WALKER, SHIRRINA         NJ - USDC for the District of New Jersey   3:20-cv-11675
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WALKER, TONYA            NJ - USDC for the District of New Jersey   3:20-cv-14102
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WALKER, WILLIE           NJ - USDC for the District of New Jersey   3:19-cv-12340
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WALKER-DETLOFF, BETTY    MO - Circuit Court - City of St. Louis     1522-CC00613
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WALKEY, LEONISE          MO - Circuit Court - City of St. Louis     1622-CC00134
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WALL, MARY               NJ - USDC for the District of New Jersey   3:18-cv-03996
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WALLACE, AMANDA          NJ - USDC for the District of New Jersey   3:20-cv-01822
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WALLACE, BETTY           NJ - USDC for the District of New Jersey   3:19-cv-20467
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WALLACE, MARGIE          NJ - USDC for the District of New Jersey   3:19-cv-07781
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WALLEN, JULIE            NJ - USDC for the District of New Jersey   3:17-cv-08668
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WALSH, FELICIA           NJ - USDC for the District of New Jersey   3:19-cv-19457
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WALSH, PATTIE            NJ - USDC for the District of New Jersey   3:17-cv-08665
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WALTERS, JUDY            NJ - USDC for the District of New Jersey   3:20-cv-11374
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WALTERS, THOMASCENE      NJ - USDC for the District of New Jersey   3:20-cv-01276
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WALTERS, TINA            NJ - USDC for the District of New Jersey   3:17-cv-09475
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WALTERS-HAUSER, JANET    NJ - USDC for the District of New Jersey   3:19-cv-15925
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WALTHALL, TERRI          NJ - USDC for the District of New Jersey   3:19-cv-17334
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WALTON, AMBER            NJ - USDC for the District of New Jersey   3:20-cv-18024
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WALTON, BERTHA           NJ - USDC for the District of New Jersey   3:18-cv-12766
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WALTON, CHRISTY          NJ - USDC for the District of New Jersey   3:20-cv-14105
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WALTON, SHERRION         NJ - USDC for the District of New Jersey   3:19-cv-20160
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WARADZIN, JOYCE          NJ - USDC for the District of New Jersey   3:21-cv-11590
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WARD, LORI               NJ - USDC for the District of New Jersey   3:17-cv-10461
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WARE, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-09438
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WARING, CINNAMON         NJ - USDC for the District of New Jersey   3:21-cv-09471
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WARNER, DENIESE          NJ - USDC for the District of New Jersey   3:17-cv-08559
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WARNER, KATHY            NJ - USDC for the District of New Jersey   3:20-cv-09340
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WARREN, ELIZABETH        NJ - USDC for the District of New Jersey   3:19-cv-20161
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WARREN, LINDA            MO - Circuit Court - City of St. Louis     1522-CC00613
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WARREN, MYRIA            NJ - USDC for the District of New Jersey   3:19-cv-12326
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WARREN, PAMELA           NJ - USDC for the District of New Jersey   3:19-cv-14264
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WARREN, SANDRA           NJ - USDC for the District of New Jersey   3:17-cv-08605
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WARREN, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-09343
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WASHINGTON, LULA         NJ - USDC for the District of New Jersey   3:20-cv-18022
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WASHINGTON, MARTHA       NJ - USDC for the District of New Jersey   3:19-cv-20342
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WASHINGTON, SHARON       NJ - USDC for the District of New Jersey   3:21-cv-10337
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WATERMAN, ROSE           NJ - USDC for the District of New Jersey   3:19-cv-17301
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WATERS, CHRIS            NJ - USDC for the District of New Jersey   3:20-cv-09348
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WATERS, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-08597
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WATKINS, ADELHEID        NJ - USDC for the District of New Jersey   3:18-cv-03313
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WATTS, CARLENE           MO - Circuit Court - City of St. Louis     1522-CC-09792
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WEAVER, MARNA            NJ - USDC for the District of New Jersey   3:20-cv-09271
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WEBB, PHYLLIS            NJ - USDC for the District of New Jersey   3:19-cv-12341
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WEBB, RACHELLE           NJ - USDC for the District of New Jersey   3:19-cv-20164
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WEBSTER, CINDY           NJ - USDC for the District of New Jersey   3:20-cv-01826
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WEBSTER, DIANE           NJ - USDC for the District of New Jersey   3:19-cv-14207
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WEDLICK-ORTIZ, ELLEN     NJ - USDC for the District of New Jersey   3:17-cv-05720
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WEEDEN, TERRI            NJ - USDC for the District of New Jersey   3:20-cv-14627
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WEEMS, JANET             NJ - USDC for the District of New Jersey   3:21-cv-10338
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WEEMS, MARTHA            NJ - USDC for the District of New Jersey   3:19-cv-12327
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WEIDENHAMER, NANCY       NJ - USDC for the District of New Jersey   3:20-cv-12607
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WEINER, MARILYN          NJ - USDC for the District of New Jersey   3:19-cv-13660
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WEIS, ARLENE             NJ - USDC for the District of New Jersey   3:18-cv-16055
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WEISENBERG, CARYN        NJ - USDC for the District of New Jersey   3:19-cv-16088
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WEISGARBER, JEANNE       NJ - USDC for the District of New Jersey   3:17-cv-05490
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WEISLO, MARY             NJ - USDC for the District of New Jersey   3:17-cv-08662
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WELCH, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-09229
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WELLINGTON, UNIQUE       NJ - USDC for the District of New Jersey   3:20-cv-01297
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WELLS, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-19458
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WELLS, SONYA             NJ - USDC for the District of New Jersey   3:21-cv-11141
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WELTON, RENEE            NJ - USDC for the District of New Jersey   3:21-cv-15516
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WENDELL, KANDY           NJ - USDC for the District of New Jersey   3:20-cv-06689
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WENDT, JOY               NJ - USDC for the District of New Jersey   3:19-cv-20169
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WENTURINE, JANET         NJ - USDC for the District of New Jersey   3:18-cv-02783
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WESAW, BEVERLY           NJ - USDC for the District of New Jersey   3:19-cv-16034
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WESLEY, JANIE            NJ - USDC for the District of New Jersey   3:17-cv-09022
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WEST, CAROL              NJ - USDC for the District of New Jersey   3:19-cv-21877
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WEST, JANE               NJ - USDC for the District of New Jersey   3:17-cv-08659
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WEST, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-00301
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WEST, TRESA              NJ - USDC for the District of New Jersey   3:19-cv-09018
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WESTBERRY, NANCY         NJ - USDC for the District of New Jersey   3:18-cv-00096
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WHATLEY, NORMA           NJ - USDC for the District of New Jersey   3:17-cv-07326
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WHEATON, HELEN           NJ - USDC for the District of New Jersey   3:19-cv-14250
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WHEATON, TYRONE          NJ - USDC for the District of New Jersey   3:20-cv-15534
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WHEELER, KENAH           NJ - USDC for the District of New Jersey   3:17-cv-00790
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WHEELER, NANCY           NJ - USDC for the District of New Jersey   3:18-cv-13336
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WHEELER, SARAH           NJ - USDC for the District of New Jersey   3:20-cv-07514
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WHEELER, SHELLI          NJ - USDC for the District of New Jersey   3:17-cv-09675
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WHELAND, CLAUDIA         MO - Circuit Court - City of St. Louis     1522-CC10545
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WHILLANS, MICKEY         NJ - USDC for the District of New Jersey   3:17-cv-09661
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WHITAKER, DIANA          NJ - USDC for the District of New Jersey   3:17-cv-09638
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WHITE, BONITA            NJ - USDC for the District of New Jersey   3:20-cv-12553
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WHITE, DAISY             MO - Circuit Court - City of St. Louis     1522-CC10545
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WHITE, DEBORAH           NJ - USDC for the District of New Jersey   3:19-cv-17335
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WHITE, KERRI             NJ - USDC for the District of New Jersey   3:19-cv-05723
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WHITE, LEIGH             NJ - USDC for the District of New Jersey   3:19-cv-01455
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WHITLATCH, KAREN         NJ - USDC for the District of New Jersey   3:19-cv-17942
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WHITLEY, MARGARET        NJ - USDC for the District of New Jersey   3:17-cv-07154
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WHITMAN, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-09223
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WHITMIRE, JERRY          NJ - USDC for the District of New Jersey   3:21-cv-01330
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WHITMON, TERESA          NJ - USDC for the District of New Jersey   3:19-cv-12329
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WHRITENOUR, KRISTINE     NJ - USDC for the District of New Jersey   3:20-cv-12556
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WILES, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-09626
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WILEY, CARYL             NJ - USDC for the District of New Jersey   3:17-cv-09672
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WILEY, MARGARET          NJ - USDC for the District of New Jersey   3:17-cv-13640
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WILEY, MYRNA             NJ - USDC for the District of New Jersey   3:20-cv-07590
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WILLIAMS, DAWN           NJ - USDC for the District of New Jersey   3:21-cv-09849
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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WILLIAMS, DEANNA         NJ - USDC for the District of New Jersey   3:17-cv-08655
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WILLIAMS, DEBBIE         NJ - USDC for the District of New Jersey   3:17-cv-08653
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WILLIAMS, DEBRA          NJ - USDC for the District of New Jersey   3:19-cv-15965
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WILLIAMS, DENISE         NJ - USDC for the District of New Jersey   3:20-cv-14122
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WILLIAMS, DONNA          NJ - USDC for the District of New Jersey   3:17-cv-08599
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WILLIAMS, DOROTHY        NJ - USDC for the District of New Jersey   3:20-cv-01276
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                                                                                            BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WILLIAMS, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-06693
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WILLIAMS, GAIL              NJ - USDC for the District of New Jersey   3:19-cv-16059
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WILLIAMS, GENEVA            CA - Superior Court - San Bernardino County CIVDS1807370
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WILLIAMS, IDA               NJ - USDC for the District of New Jersey   3:20-cv-00409
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WILLIAMS, LORI              NJ - USDC for the District of New Jersey   3:18-cv-16302
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WILLIAMS, MARILYN           NJ - USDC for the District of New Jersey   3:18-cv-11872
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WILLIAMS, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-15801
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WILLIAMS, RUTH              NJ - USDC for the District of New Jersey   3:17-cv-08651
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WILLIAMS, SANDRA            NJ - USDC for the District of New Jersey   3:20-cv-12533
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WILLIAMS, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-02366
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WILLOW, KYE              NJ - USDC for the District of New Jersey   3:19-cv-19758
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WILLS, KATHRYN           NJ - USDC for the District of New Jersey   3:17-cv-03944
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WILSON, BERNICE          NJ - USDC for the District of New Jersey   3:20-cv-01504
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                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOLEN, LANETTE          NJ - USDC for the District of New Jersey   3:20-cv-01276
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOLISON, DONNA          NJ - USDC for the District of New Jersey   3:20-cv-07332
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOLIVER, CONNIE         NJ - USDC for the District of New Jersey   3:17-cv-10765
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOLLEY, SUSAN           MO - Circuit Court - City of St. Louis     1622-CC00443
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOTEN, BELINDA          NJ - USDC for the District of New Jersey   3:19-cv-05779
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOTEN, JUDITH           MO - Circuit Court - Jefferson County      18JE-CC00893
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WOOTEN, JUNE             NJ - USDC for the District of New Jersey   3:19-cv-12331
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WORTHINGTON, DEBORAH     NJ - USDC for the District of New Jersey   3:19-cv-20275
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, BETTY            NJ - USDC for the District of New Jersey   3:18-cv-04751
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, BETTY            NJ - USDC for the District of New Jersey   3:19-cv-19535
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, DODI             NJ - USDC for the District of New Jersey   3:17-cv-09220
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-15047
                                                                                         MILES, P.C.




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                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-17356
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, HERBERT          NJ - USDC for the District of New Jersey   3:18-cv-03017
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-20162
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, JEANA            NJ - USDC for the District of New Jersey   3:17-cv-09218
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, LATOSHIA         NJ - USDC for the District of New Jersey   3:18-cv-11100
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-08372
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, LISA             NJ - USDC for the District of New Jersey   3:17-cv-09215
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, MAE              NJ - USDC for the District of New Jersey   3:20-cv-13067
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, MILTONA          NJ - USDC for the District of New Jersey   3:18-cv-13999
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, PAMELA           NJ - USDC for the District of New Jersey   3:20-cv-07446
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT, RHONDA           NJ - USDC for the District of New Jersey   3:20-cv-07601
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT-NG, SHIRLEY       NJ - USDC for the District of New Jersey   3:19-cv-07833
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WRIGHT-POLZIN, PAULINE   NJ - USDC for the District of New Jersey   3:19-cv-14225
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WYATT, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-09438
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WYATT, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-18374
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WYCKOFF, RONDA           NJ - USDC for the District of New Jersey   3:20-cv-17995
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WYLLIE, JOAN             CA - Superior Court - Riverside County     RIC1716489
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WYMAN, CINDY             FL - Circuit Court - Broward County        CACE18029730
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
WYNN, DAISY              NJ - USDC for the District of New Jersey   3:19-cv-12332
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YADON, LORIE             NJ - USDC for the District of New Jersey   3:20-cv-13175
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YAKHIN, SARA             NJ - USDC for the District of New Jersey   3:20-cv-07334
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YANKOSKY, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-14148
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YANNONE, CATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-12547
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YELVERTON, BETSY         NJ - USDC for the District of New Jersey   3:20-cv-07602
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YISRAEL, QETSIYAH        NJ - USDC for the District of New Jersey   3:20-cv-14149
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YLINIEMI, PATRICIA       NJ - USDC for the District of New Jersey   3:20-cv-03770
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YODER, ROBERTA           NJ - USDC for the District of New Jersey   3:20-cv-15538
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YODER, SHEILA            NJ - USDC for the District of New Jersey   3:18-cv-11875
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOKLEY, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-11512
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOKLEY, WENDY            NJ - USDC for the District of New Jersey   3:21-cv-04971
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YORBA, LISA              NJ - USDC for the District of New Jersey   3:20-cv-15060
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YORK, BEATRICE           NJ - USDC for the District of New Jersey   3:17-cv-10734
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YORK, DELORES            CA - Superior Court - Tulare County        VCU274863
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOSHIDA, ANDRIYANI       CA - Superior Court - Los Angeles County   BC705664
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-16033
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, GINGER            NJ - USDC for the District of New Jersey   3:17-cv-08539
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, JENNIFER          NJ - USDC for the District of New Jersey   3:17-cv-09514
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, KRISTA            NJ - USDC for the District of New Jersey   3:20-cv-05645
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-03314
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-03314
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         Claimant Name                    State Filed                    Docket Number                Plaintiff Counsel
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, MARILYN           NJ - USDC for the District of New Jersey   3:19-cv-13661
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-09212
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-11144
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-05207
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, RUTH              NJ - USDC for the District of New Jersey   3:19-cv-16897
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, SHERRY            NJ - USDC for the District of New Jersey   3:19-cv-16195
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNG, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-11145
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YOUNGBLOOD, APRIL        NJ - USDC for the District of New Jersey   3:17-cv-10195
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
YURECKO, TAWANYA         NJ - USDC for the District of New Jersey   3:19-cv-20444
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZACCHINO, GAETANA        NJ - USDC for the District of New Jersey   3:20-cv-07591
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZADE, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-00308
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZAMBATARO, JANET         NJ - USDC for the District of New Jersey   3:19-cv-15922
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZAMBRANO, MARILUZ        NJ - USDC for the District of New Jersey   3:17-cv-10167
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZANE, DELLA              NJ - USDC for the District of New Jersey   3:17-cv-02394
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZANTOW, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-17878
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZAPALAC, COEY            NJ - USDC for the District of New Jersey   3:18-cv-12156
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZASKE, DIONNE            NJ - USDC for the District of New Jersey   3:17-cv-09509
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZEALOR, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-03089
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZEIGLER, JESSICA         NJ - USDC for the District of New Jersey   3:17-cv-08536
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZICARI, LYNNE            NJ - USDC for the District of New Jersey   3:18-cv-12533
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZIMMERMAN, RITA          NJ - USDC for the District of New Jersey   3:21-cv-06264
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZIMO, HEATHER            NJ - USDC for the District of New Jersey   3:18-cv-01430
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZINKHAN, SUSANNA         NJ - USDC for the District of New Jersey   3:20-cv-07450
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZIRPOLO, PATRICIA        NJ - USDC for the District of New Jersey   3:19-cv-01454
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZITMAN, GLORIA           NJ - USDC for the District of New Jersey   3:19-cv-21883
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZITOLI, MARIA            NJ - USDC for the District of New Jersey   3:19-cv-21144
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZORN, ANGELA             NJ - USDC for the District of New Jersey   3:18-cv-09720
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZUCHOWSKI, KAREN         MO - Circuit Court - City of St. Louis     1822-CC11533
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZUCKER, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-03946
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZUMBRINK, UZMA           NJ - USDC for the District of New Jersey   3:19-cv-17707
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZURCHER, SUSAN           NJ - USDC for the District of New Jersey   3:18-cv-15238
                                                                                         MILES, P.C.
                                                                                         BEASLEY, ALLEN, CROW, METHVIN, PORTIS &
ZWERNER, CYNTHIA         NJ - USDC for the District of New Jersey   3:18-cv-10870
                                                                                         MILES, P.C.
BOYD, JENNIFER           CA - Superior Court - Los Angeles County   BC663681             BECKER LAW GROUP
RAPPOLD, MADELEINE       NJ - USDC for the District of New Jersey   3:17-cv-04596        BECNEL LAW FIRM, LLC
BURNS, ANGIE             NJ - USDC for the District of New Jersey   3:18-cv-01619        BEKMAN, MARDER, & ADKINS, LLC
DORZEY, MARY             NJ - USDC for the District of New Jersey   3:21-cv-03518        BEKMAN, MARDER, & ADKINS, LLC
GROTH, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-06833        BEKMAN, MARDER, & ADKINS, LLC
JONES, VIRGINIA          NJ - USDC for the District of New Jersey   3:17-cv-11157        BEKMAN, MARDER, & ADKINS, LLC
PROTOKOWICZ, KATHLEEN    NJ - USDC for the District of New Jersey   3:20-cv-08999        BEKMAN, MARDER, & ADKINS, LLC
STUBBS, PAMELA           NJ - USDC for the District of New Jersey   3:17-cv-11152        BEKMAN, MARDER, & ADKINS, LLC
SWERDLOFF, LANCIA        NJ - USDC for the District of New Jersey   3:19-cv-18470        BEKMAN, MARDER, & ADKINS, LLC
WARD, MARY               NJ - USDC for the District of New Jersey   3:21-cv-15443        BEKMAN, MARDER, & ADKINS, LLC
GULLOTTI, SANDRA         NJ - USDC for the District of New Jersey   3:20-cv-02517        BELLUCK & FOX, LLP
MILLS, ROSEMARIE         NJ - USDC for the District of New Jersey   3:20-cv-00016        BELLUCK & FOX, LLP
AMO, DONNA               NJ - Superior Court - Atlantic County      ATL-L-000590-19      BEREZOFSKY LAW GROUP, LLC
RICHARDS, VERNA          WA - Superior Court - King County          21-2-10988-4         BERGMAN DRAPER OSLUND
MCKNIGHT, ANN            NJ - USDC for the District of New Jersey   3:17-cv-02399        BERGSTRESSER & POLLOCK PC
JENKINS, MICHELE         NJ - USDC for the District of New Jersey   3:17-cv-07215        BERKE LAW FIRM, PA




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SAVAGE, MARILYN                    NJ - USDC for the District of New Jersey   3:17-cv-00395         BERKE LAW FIRM, PA
ALLEN, DEANNA                      NJ - USDC for the District of New Jersey   3:18-cv-00257         BERMAN & SIMMONS, P. A.
BOULIER, TAMARA                    NJ - USDC for the District of New Jersey   3:18-cv-05009         BERMAN & SIMMONS, P. A.
DUNHAM, WANDA                      NJ - USDC for the District of New Jersey   3:19-cv-19211         BERMAN & SIMMONS, P. A.
GRAY, SANDRA                       NJ - USDC for the District of New Jersey   3:20-cv-06734         BERMAN & SIMMONS, P. A.
LEIGHTON, DIANA                    NJ - USDC for the District of New Jersey   3:20-cv-15009         BERMAN & SIMMONS, P. A.
MITCHELL, BRENDA                   NJ - USDC for the District of New Jersey   3:21-cv-13187         BERMAN & SIMMONS, P. A.
MORIN-OUELLETTE, DEBRA             NJ - USDC for the District of New Jersey   3:19-cv-19207         BERMAN & SIMMONS, P. A.
ROGERS, JACQUELINE                 NJ - USDC for the District of New Jersey   3:21-cv-05642         BERMAN & SIMMONS, P. A.
BLANCHARD, ERIN                    NJ - USDC for the District of New Jersey   3:21-cv-03263         BERNHEIM KELLY BATTISTA & BLISS
ANDERSON, MYRTLE                   NJ - USDC for the District of New Jersey   3:18-cv-11591         BERNSTEIN & STERN, LLC
ANFORTH, DONNA                     NJ - USDC for the District of New Jersey   3:18-cv-16086         BERNSTEIN & STERN, LLC
BOWLAND, AMBER                     NJ - USDC for the District of New Jersey   3:18-cv-12009         BERNSTEIN & STERN, LLC
CALVIN, JOANNE                     NJ - USDC for the District of New Jersey   3:18-cv-01347         BERNSTEIN & STERN, LLC
ELGART, CAROLE                     NJ - USDC for the District of New Jersey   3:18-cv-03079         BERNSTEIN & STERN, LLC
ENGLAND, BARBARA                   NJ - USDC for the District of New Jersey   3:18-cv-12079         BERNSTEIN & STERN, LLC
MORALES, LYDIA                     NJ - USDC for the District of New Jersey   3:19-cv-19064         BERNSTEIN & STERN, LLC
SIFUENTES, NORMA                   NJ - USDC for the District of New Jersey   3:19-cv-12652         BERNSTEIN & STERN, LLC
ANDERSON, KIMBERLY                 NJ - USDC for the District of New Jersey   3:19-cv-08790         BERSTEIN LIEBHARD LLP
BAKER, JENNIFER                    NJ - USDC for the District of New Jersey   3:21-cv-13422         BERSTEIN LIEBHARD LLP
BOSWELL, ARLENE                    NJ - USDC for the District of New Jersey   3:21-cv-09398         BERSTEIN LIEBHARD LLP
BROWN, TESHA                       NJ - USDC for the District of New Jersey   3:19-cv-13405         BERSTEIN LIEBHARD LLP
COHN, AMY                          NJ - USDC for the District of New Jersey   3:20-cv-15234         BERSTEIN LIEBHARD LLP
DELAC, SUSAN                       NJ - USDC for the District of New Jersey   3:20-cv-01667         BERSTEIN LIEBHARD LLP
ERRIGO, JUDITH                     NJ - USDC for the District of New Jersey   3:21-cv-15487         BERSTEIN LIEBHARD LLP
FAJARDO, REFUGIO                   NJ - USDC for the District of New Jersey   3:17-cv-05371         BERSTEIN LIEBHARD LLP
GRECO, JOSEPHINE                   NJ - USDC for the District of New Jersey   3:18-cv-10545         BERSTEIN LIEBHARD LLP
HOLDREN, VIRGINIA                  NJ - USDC for the District of New Jersey   3:17-cv-03671         BERSTEIN LIEBHARD LLP
JARRETT, TANYA                     NJ - USDC for the District of New Jersey   3:17-cv-01575         BERSTEIN LIEBHARD LLP
KIRKPATRICK, LORRAINE              NJ - USDC for the District of New Jersey   3:19-cv-12252         BERSTEIN LIEBHARD LLP
LANDRY, ELIZABETH                  NJ - USDC for the District of New Jersey   3:20-cv-15233         BERSTEIN LIEBHARD LLP
LEISTLER, MARGARET                 NJ - USDC for the District of New Jersey   3:17-cv-03672         BERSTEIN LIEBHARD LLP
PERKINS, JEANIE                    NJ - USDC for the District of New Jersey   3:20-cv-03005         BERSTEIN LIEBHARD LLP
QUARLES, TERESA                    NJ - USDC for the District of New Jersey   3:18-cv-10682         BERSTEIN LIEBHARD LLP
RICHMAN, DEBORAH                   NJ - USDC for the District of New Jersey   3:18-cv-13395         BERSTEIN LIEBHARD LLP
RUSSO, KATHRYN                     NJ - USDC for the District of New Jersey   3:19-cv-21846         BERSTEIN LIEBHARD LLP
SCHOFIELD, MARY                    NJ - USDC for the District of New Jersey   3:18-cv-08596         BERSTEIN LIEBHARD LLP
SILVA, SANDRA                      NJ - USDC for the District of New Jersey   3:18-cv-08600         BERSTEIN LIEBHARD LLP
SOUTHARD, GERALDINE                NJ - USDC for the District of New Jersey   3:18-cv-08592         BERSTEIN LIEBHARD LLP
STEVENS, CANDACE                   NJ - USDC for the District of New Jersey   3:19-cv-12603         BERSTEIN LIEBHARD LLP
TERRELL, CAROLYN                   NJ - USDC for the District of New Jersey   3:18-cv-08597         BERSTEIN LIEBHARD LLP
TINGHINO, ISABEL                   NJ - USDC for the District of New Jersey   3:19-cv-17004         BERSTEIN LIEBHARD LLP
ZADEKAS, SHEILA                    NJ - USDC for the District of New Jersey   3:18-cv-09134         BERSTEIN LIEBHARD LLP
ZIMMER, SHARON                     NJ - USDC for the District of New Jersey   3:17-cv-03300         BERSTEIN LIEBHARD LLP
FLERCHINGER, LIZ EST OF D          OH - Court of Common Please - Cuyahoga
                                                                              CV-21-942692          BEVAN & ASSOCIATES LPA, INC.
MCKILLIPS                          County
HLAD, RUTH ESTATE OF MICHELLE      OH - Court of Common Please - Cuyahoga
                                                                              CV19909292            BEVAN & ASSOCIATES LPA, INC.
RUSSELL                            County
TOMLINSON, NORMA THE EST OF J      OH - Court of Common Please - Cuyahoga
                                                                              CV-21-943742          BEVAN & ASSOCIATES LPA, INC.
TOMLINSON                          County
WILLIAMS, SARAH EST OF MATTIE      OH - Court of Common Please - Cuyahoga
                                                                              CV 21 944535          BEVAN & ASSOCIATES LPA, INC.
WILLIAMS                           County
AITCHISON, JACQUELINE              CA - Superior Court - San Bernardino County CIVDS1904272         BISNAR AND CHASE
ALBANESE, CYNTHIA                  NJ - USDC for the District of New Jersey   3:17-cv-07801         BISNAR AND CHASE
BIRD, SALLY                        NJ - USDC for the District of New Jersey   3:20-cv-12662         BISNAR AND CHASE
BLACK, DONNA                       NJ - USDC for the District of New Jersey   3:17-cv-05037         BISNAR AND CHASE
BLAS, SYLVIA                       CA - Superior Court - Los Angeles County   21STCV29880           BISNAR AND CHASE
BROWN, MARGARET                    CA - Superior Court - San Bernardino County CIVDS1820014         BISNAR AND CHASE

BURROWS, BRANDY; JOFFROY, LISA CA - Superior Court - Los Angeles County       BC637233              BISNAR AND CHASE
CABRERA, CYNTHIA                   NJ - USDC for the District of New Jersey   3:17-cv-07804         BISNAR AND CHASE
CAPEHART, KAREN                    NJ - USDC for the District of New Jersey   3:20-cv-12669         BISNAR AND CHASE
CARMACK, SABRINA                   NJ - USDC for the District of New Jersey   3:17-cv-07805         BISNAR AND CHASE
CASTELLANO, MARINA                 NJ - USDC for the District of New Jersey   3:19-cv-12043         BISNAR AND CHASE
CASTELLANO, MARINA                 NJ - USDC for the District of New Jersey   3:19-cv-12043         BISNAR AND CHASE
CONROY, ANNA                       NJ - USDC for the District of New Jersey   3:17-cv-10626         BISNAR AND CHASE
DEVINE, PAMELA                     NJ - USDC for the District of New Jersey   3:18-cv-03067         BISNAR AND CHASE
DIAZ, CARMEN                       NJ - USDC for the District of New Jersey   3:17-cv-07806         BISNAR AND CHASE
EILLERS, BRIDGETTE; PADILLA,
                                   CA - Superior Court - Los Angeles County   BC657839              BISNAR AND CHASE
ANAKELLA
FALONE, MICHELE                    CA - Superior Court - Los Angeles County   18STCV07430           BISNAR AND CHASE
FARIAS, KATHERINE                  CA - Superior Court - San Bernardino County CIVDS1813699         BISNAR AND CHASE
FELDMAN, DIANA                     NJ - USDC for the District of New Jersey   3:20-cv-12673         BISNAR AND CHASE
FERKETICH, FELICIA                 NJ - USDC for the District of New Jersey   3:18-cv-05102         BISNAR AND CHASE
FRANCE, KATHLEEN                   NJ - USDC for the District of New Jersey   3:17-cv-07808         BISNAR AND CHASE
FRANCO, JULIE                      CA - Superior Court - San Bernardino County CIVDS1823459         BISNAR AND CHASE




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          Claimant Name                           State Filed                       Docket Number                    Plaintiff Counsel
FRY, ROXY                         NJ - USDC for the District of New Jersey    3:17-cv-07810             BISNAR AND CHASE
GAMBOA, ADRIANA                   NJ - USDC for the District of New Jersey    3:19-cv-09479             BISNAR AND CHASE
GARNES, LISA                      NJ - USDC for the District of New Jersey    3:17-cv-07824             BISNAR AND CHASE
GARZA, ANA                        NJ - USDC for the District of New Jersey    3:17-cv-10942             BISNAR AND CHASE
GEHLKE, REBECCA                   CA - Superior Court - Riverside County      RIC1901340                BISNAR AND CHASE
GIBBONS, HOLLY                    NJ - USDC for the District of New Jersey    3:19-cv-12042             BISNAR AND CHASE
GIBBONS, HOLLY                    NJ - USDC for the District of New Jersey    3:19-cv-12042             BISNAR AND CHASE
GILBERT, DEBRA                    NJ - USDC for the District of New Jersey    3:17-cv-10614             BISNAR AND CHASE
GODINEZ, MARISSA                  NJ - USDC for the District of New Jersey    3:19-cv-07849             BISNAR AND CHASE
GRIEGO, DOLORES                   NJ - USDC for the District of New Jersey    3:17-cv-11618             BISNAR AND CHASE
GROFF, SANYETTA                   CA - Superior Court - Kern County           T180517                   BISNAR AND CHASE
                                                                              30-2018-01040095-CU-PL-
HAASE, JUSTINE                    CA - Superior Court - Orange County                                   BISNAR AND CHASE
                                                                              CXC
HELLNER, NOGA                     NJ - USDC for the District of New Jersey    3:21-cv-14549             BISNAR AND CHASE
HINDMAN, CYNTHIA                  CA - Superior Court - Los Angeles County    21STCV29497               BISNAR AND CHASE
HOPE, MELISSA                     NJ - USDC for the District of New Jersey    3:20-cv-12675             BISNAR AND CHASE
HOPKINS, TINA                     NJ - USDC for the District of New Jersey    3:20-cv-12677             BISNAR AND CHASE
HUBLER, SANDRA                    CA - Superior Court - Fresno County         17CECG03715               BISNAR AND CHASE
JOHNSON, MAMIE                    NJ - USDC for the District of New Jersey    3:19-cv-20811             BISNAR AND CHASE
KISER, LAWONA                     NJ - USDC for the District of New Jersey    3:17-cv-10621             BISNAR AND CHASE
                                                                              30-2017-00952464-CU-PL-
KRUEGER, JEANETTE                 CA - Superior Court - Orange County                                   BISNAR AND CHASE
                                                                              CXC
LABOVITCH, CAREN                  CA - Superior Court - Los Angeles County    BC681608                  BISNAR AND CHASE
LARINO, ROSALINA                  NJ - USDC for the District of New Jersey    3:19-cv-20814             BISNAR AND CHASE
LARMOND, VALROSE                  CA - Superior Court - San Diego County      37-2017-40422-CU-PL-CTL   BISNAR AND CHASE
LEWIS, FIFI                       CA - Superior Court - Los Angeles County    21STCV30485               BISNAR AND CHASE
LUTON, REBECCA                    NJ - USDC for the District of New Jersey    3:17-cv-11619             BISNAR AND CHASE
MARKUS, KELLY                     NJ - USDC for the District of New Jersey    3:17-cv-11620             BISNAR AND CHASE
MCNABB, MARY                      NJ - USDC for the District of New Jersey    3:18-cv-10130             BISNAR AND CHASE
MENDES, DEBRA                     NJ - USDC for the District of New Jersey    3:19-cv-07743             BISNAR AND CHASE
MICHAELSON, KIM                   NJ - USDC for the District of New Jersey    3:18-cv-11903             BISNAR AND CHASE
MINNA, TONYA                      NJ - USDC for the District of New Jersey    3:17-cv-07827             BISNAR AND CHASE
MORRISON, SHELIA                  NJ - USDC for the District of New Jersey    3:19-cv-15771             BISNAR AND CHASE
MOYER, BONNIE                     NJ - USDC for the District of New Jersey    3:19-cv-09484             BISNAR AND CHASE
MULANAX-CRAWFORD, MONICA          NJ - USDC for the District of New Jersey    3:19-cv-07724             BISNAR AND CHASE
MULLINS, JUDY                     NJ - USDC for the District of New Jersey    3:19-cv-07734             BISNAR AND CHASE
NIBLOCK, STELLA                   NJ - USDC for the District of New Jersey    3:19-cv-14391             BISNAR AND CHASE
OWEN, ALICIA                      NJ - USDC for the District of New Jersey    3:19-cv-07741             BISNAR AND CHASE
PACHECO, TRUDY                    CA - Superior Court - Tulare County         VCU271547                 BISNAR AND CHASE
PARKER, DEANA                     NJ - USDC for the District of New Jersey    3:20-cv-06483             BISNAR AND CHASE
QUESADA, LAURA                    NJ - USDC for the District of New Jersey    3:19-cv-09485             BISNAR AND CHASE
QUIRCH, JOYCELYNN                 NJ - USDC for the District of New Jersey    3:20-cv-13482             BISNAR AND CHASE
RANDOLPH, DEBRA                   CA - Superior Court - Fresno County         18CECG00758               BISNAR AND CHASE
REYNOLDS, PATRICIA                NJ - USDC for the District of New Jersey    3:17-cv-11621             BISNAR AND CHASE
RHODES, PATRICIA                  NJ - USDC for the District of New Jersey    3:19-cv-09480             BISNAR AND CHASE
ROE, SHERI                        NJ - USDC for the District of New Jersey    3:18-cv-08857             BISNAR AND CHASE
ROSENDIN, KATHLEEN                NJ - USDC for the District of New Jersey    3:19-cv-16284             BISNAR AND CHASE
ROSINSKI, BARBARA                 NJ - USDC for the District of New Jersey    3:18-cv-08838             BISNAR AND CHASE
SABALA, RITA                      NJ - USDC for the District of New Jersey    3:20-cv-12738             BISNAR AND CHASE
SARIANO, MARIA                    NJ - USDC for the District of New Jersey    3:19-cv-09477             BISNAR AND CHASE
SCOTT, ANGELA                     NJ - USDC for the District of New Jersey    3:18-cv-10132             BISNAR AND CHASE
SEWARD, DENISE                    CA - Superior Court - Contra Costa County   MSC17-02045               BISNAR AND CHASE
SHARESHIAN, JENNIFER              NJ - Superior Court - Atlantic County       ATL-L-002496-18           BISNAR AND CHASE
SNOW, JULIE                       NJ - USDC for the District of New Jersey    3:17-cv-07829             BISNAR AND CHASE
SORIANO, MEGIN                    NJ - USDC for the District of New Jersey    3:19-cv-07719             BISNAR AND CHASE
TALBERT, LUWANA                   NJ - USDC for the District of New Jersey    3:19-cv-13189             BISNAR AND CHASE
UMINSKI, KELLY                    CA - Superior Court - Los Angeles County    21STCV30486               BISNAR AND CHASE
VAZQUEZ, MELISSA                  NJ - USDC for the District of New Jersey    3:19-cv-16299             BISNAR AND CHASE
VILLANUEVA, HEATHER               NJ - USDC for the District of New Jersey    3:19-cv-07730             BISNAR AND CHASE
WALTERS, MICHELLE                 CA - Superior Court - Los Angeles County    37-2018-65430-CU-PL-CTL   BISNAR AND CHASE
WHITT, ANNETTE                    NJ - USDC for the District of New Jersey    3:19-cv-14396             BISNAR AND CHASE
WILLIAMS, TRACY                   NJ - USDC for the District of New Jersey    3:17-cv-07831             BISNAR AND CHASE
WILLIAMS-THOMPSON, STEPHANEY CA - Superior Court - Los Angeles County         VCU276762                 BISNAR AND CHASE
WILSON, CHRISTINE                 NJ - USDC for the District of New Jersey    3:20-cv-17699             BISNAR AND CHASE
                                  PA - Court of Common Pleas - Fayette
RAFAIL, BETTY                                                                 1684-2019                 BLAINE JONES LAW, LLC
                                  County
                                                                                                        BLASINGAME, BURCH, GARRARD & ASHLEY,
ALBRITTON, CAROL                  NJ - USDC for the District of New Jersey    3:20-cv-10426
                                                                                                        P.C.
                                                                                                        BLASINGAME, BURCH, GARRARD & ASHLEY,
ALLEN, KIMBERLY                   NJ - USDC for the District of New Jersey    3:21-cv-08500
                                                                                                        P.C.
                                                                                                        BLASINGAME, BURCH, GARRARD & ASHLEY,
ANDERS, TAMMY                     NJ - USDC for the District of New Jersey    3:20-cv-03279
                                                                                                        P.C.
                                                                                                        BLASINGAME, BURCH, GARRARD & ASHLEY,
ASBURY, MARY                      NJ - USDC for the District of New Jersey    3:18-cv-17070
                                                                                                        P.C.
                                                                                                        BLASINGAME, BURCH, GARRARD & ASHLEY,
BENAVIDES, NORA                   NJ - USDC for the District of New Jersey    3:17-cv-01533
                                                                                                        P.C.
                                                                                                        BLASINGAME, BURCH, GARRARD & ASHLEY,
CURTIS, THEA                      NJ - USDC for the District of New Jersey    3:20-cv-12822
                                                                                                        P.C.




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         Claimant Name                      State Filed                     Docket Number                Plaintiff Counsel
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
DAVIS-BLAIR, DIANA          NJ - USDC for the District of New Jersey   3:17-cv-01872
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
DIPALERMO, SANDRA           NJ - USDC for the District of New Jersey   3:17-cv-07261
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
DITZELL, KAREN              NJ - USDC for the District of New Jersey   3:18-cv-17073
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
ELLIS, KAREN                NJ - USDC for the District of New Jersey   3:19-cv-14460
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
ELY, DEBRA                  NJ - USDC for the District of New Jersey   3:17-cv-09420
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
FLONNORY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-08087
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
GOODWIN, RUTH               NJ - USDC for the District of New Jersey   3:17-cv-10882
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
GREENE, HELEN               NJ - USDC for the District of New Jersey   3:18-cv-14868
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
HANGES, JANICE              NJ - USDC for the District of New Jersey   3:18-cv-17075
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
HATFIELD, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-04389
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
HELMS, LYNDA                NJ - USDC for the District of New Jersey   3:17-cv-07900
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
IRWIN, THERESA              NJ - USDC for the District of New Jersey   3:17-cv-05140
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
JACQUES, FAITH              NJ - USDC for the District of New Jersey   3:19-cv-17053
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
JAMES, CORNELIA             NJ - USDC for the District of New Jersey   3:19-cv-14444
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
JOHNSON, JANIE              NJ - USDC for the District of New Jersey   3:17-cv-09421
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
JUDKINS, CARTER             NJ - USDC for the District of New Jersey   3:19-cv-12430
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
KLEMETSON, MARTHA (COMBS)   NJ - USDC for the District of New Jersey   3:17-cv-07240
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
LOSE, STACY                 NJ - USDC for the District of New Jersey   3:17-cv-02023
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
MAXWELL, KAREN              NJ - USDC for the District of New Jersey   3:19-cv-21342
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
MCGRADY, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-02133
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
MCMACKIN, VIOLET            NJ - USDC for the District of New Jersey   3:17-cv-12533
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
MITCHUSSON, RHONDA          NJ - USDC for the District of New Jersey   3:19-cv-12421
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
MOON, JILL                  NJ - USDC for the District of New Jersey   3:17-cv-04580
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
NEWSOME, TAMARA             NJ - USDC for the District of New Jersey   3:18-cv-17146
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
OBRIEN, MARGARET            NJ - USDC for the District of New Jersey   3:17-cv-08094
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
OLIVER-WRIGHT, ANGELA       NJ - USDC for the District of New Jersey   3:18-cv-00505
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
ORLANDO, DEANNA             NJ - USDC for the District of New Jersey   3:17-cv-07937
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
PACE, TAMARA                NJ - USDC for the District of New Jersey   3:17-cv-02103
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
PERSICO, ASHLEY             NJ - USDC for the District of New Jersey   3:17-cv-06408
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
PILIPOVICH, JOANNA          NJ - USDC for the District of New Jersey   3:17-cv-12521
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
POTTS, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-14977
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
RICHARDSON, DENISE          NJ - USDC for the District of New Jersey   3:17-cv-08024
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
RIDGES, PATSY               NJ - USDC for the District of New Jersey   3:18-cv-02619
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
ROSS-DUSKIN, PATRICIA       NJ - USDC for the District of New Jersey   3:17-cv-06650
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
SHARKEY, MARIE              NJ - USDC for the District of New Jersey   3:17-cv-06407
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
SMITH, NORA                 NJ - USDC for the District of New Jersey   3:17-cv-01769
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
SPEARS-HAMILTON, HELENA     NJ - USDC for the District of New Jersey   3:17-cv-08124
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
STAFFORD, FAY               NJ - USDC for the District of New Jersey   3:17-cv-02941
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
STAFFORD, FAY               NJ - USDC for the District of New Jersey   3:17-cv-02941
                                                                                            P.C.
                                                                                            BLASINGAME, BURCH, GARRARD & ASHLEY,
STEWART, LILA               NJ - USDC for the District of New Jersey   3:17-cv-04973
                                                                                            P.C.




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                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
SUMMERLIN, DONNA          NJ - USDC for the District of New Jersey   3:17-cv-08171
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
THOMAS, SHARON            NJ - USDC for the District of New Jersey   3:17-cv-04342
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
TRAYLOR, BRENDA           NJ - USDC for the District of New Jersey   3:16-cv-07425
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
TURNER, MONICA            NJ - USDC for the District of New Jersey   3:17-cv-06410
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
WEBER, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-01178
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
WHEELER, SAMEKA           NJ - USDC for the District of New Jersey   3:17-cv-08172
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
WILLIAMS, CLAUDIA         NJ - USDC for the District of New Jersey   3:17-cv-08169
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
WILLIAMS, DONETTA         NJ - USDC for the District of New Jersey   3:20-cv-15572
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
WILLIAMS, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-08174
                                                                                          P.C.
                                                                                          BLASINGAME, BURCH, GARRARD & ASHLEY,
BOND, KRISTIE             NJ - USDC for the District of New Jersey   3:21-cv-18277
                                                                                          PC
ADAMS, MELISSA            NJ - USDC for the District of New Jersey   3:17-cv-05571        BLIZZARD & NABERS, LLP
ANDERSON, SONIA           NJ - USDC for the District of New Jersey   3:17-cv-04612        BLIZZARD & NABERS, LLP
ARDIZZONE, JUNE           NJ - USDC for the District of New Jersey   3:19-cv-07110        BLIZZARD & NABERS, LLP
BENNING, MARY             NJ - USDC for the District of New Jersey   3:18-cv-03664        BLIZZARD & NABERS, LLP
BODNAR, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-07949        BLIZZARD & NABERS, LLP
BROWN, BETH               NJ - USDC for the District of New Jersey   3:17-cv-08664        BLIZZARD & NABERS, LLP
BROWN, MARY               NJ - USDC for the District of New Jersey   3:17-cv-12893        BLIZZARD & NABERS, LLP
BROWN, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-03671        BLIZZARD & NABERS, LLP
COLETTE, WENDEE           NJ - USDC for the District of New Jersey   3:18-cv-10646        BLIZZARD & NABERS, LLP
DEMIRJIAN, LINDA          NJ - USDC for the District of New Jersey   3:18-cv-14876        BLIZZARD & NABERS, LLP
DI PIETO, JOAN            NJ - USDC for the District of New Jersey   3:18-cv-11651        BLIZZARD & NABERS, LLP
DUNN, KATHERINE           NJ - USDC for the District of New Jersey   3:17-cv-01168        BLIZZARD & NABERS, LLP
EDWARDS, ANNABELLE        NJ - USDC for the District of New Jersey   3:17-cv-12638        BLIZZARD & NABERS, LLP
ELLIS, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-10219        BLIZZARD & NABERS, LLP
FERGUSON, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-12523        BLIZZARD & NABERS, LLP
FLETCHER, KIMBERLY        NJ - USDC for the District of New Jersey   3:17-cv-10700        BLIZZARD & NABERS, LLP
FULLEM, GEORGIA           NJ - USDC for the District of New Jersey   3:17-cv-03536        BLIZZARD & NABERS, LLP
FUNG, MARY                NJ - USDC for the District of New Jersey   3:17-cv-07190        BLIZZARD & NABERS, LLP
GARZA, MARIA              NJ - USDC for the District of New Jersey   3:17-cv-07165        BLIZZARD & NABERS, LLP
GERSIN, SHERRI            NJ - USDC for the District of New Jersey   3:17-cv-04126        BLIZZARD & NABERS, LLP
GOLDBERG, TAFFINEY        NJ - USDC for the District of New Jersey   3:17-cv-12034        BLIZZARD & NABERS, LLP
GORDON, CECILE            NJ - USDC for the District of New Jersey   3:18-cv-00530        BLIZZARD & NABERS, LLP
GRAHAM, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-04836        BLIZZARD & NABERS, LLP
HAHN, KATHLEEN            NJ - USDC for the District of New Jersey   3:17-cv-02621        BLIZZARD & NABERS, LLP
HALFON, VICTORIA          NJ - USDC for the District of New Jersey   3:17-cv-11920        BLIZZARD & NABERS, LLP
HANSON, LUPE              NJ - USDC for the District of New Jersey   3:17-cv-12542        BLIZZARD & NABERS, LLP
HARRISON, RAYNA           NJ - USDC for the District of New Jersey   3:17-cv-03665        BLIZZARD & NABERS, LLP
HENAO, CRISTINA           NJ - USDC for the District of New Jersey   3:18-cv-14874        BLIZZARD & NABERS, LLP
JOHNSON, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-10705        BLIZZARD & NABERS, LLP
KELLY, ROBIN              NJ - USDC for the District of New Jersey   3:18-cv-11611        BLIZZARD & NABERS, LLP
LLANES, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-11806        BLIZZARD & NABERS, LLP
MCCALL, LOIS              NJ - USDC for the District of New Jersey   3:17-cv-10683        BLIZZARD & NABERS, LLP
MCCLURE, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-03713        BLIZZARD & NABERS, LLP
MENKING, DORIS            NJ - USDC for the District of New Jersey   3:18-cv-00792        BLIZZARD & NABERS, LLP
MILO, GLORIA              NJ - USDC for the District of New Jersey   3:18-cv-14026        BLIZZARD & NABERS, LLP
MOHAMMAD, CYNTHIA         NJ - Superior Court - Atlantic County      ATL-L-401-16         BLIZZARD & NABERS, LLP
NAIRN, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-11723        BLIZZARD & NABERS, LLP
OVERTON, GAYLE            NJ - USDC for the District of New Jersey   3:18-cv-00786        BLIZZARD & NABERS, LLP
PALUMBO, BETSY            NJ - USDC for the District of New Jersey   3:17-cv-10727        BLIZZARD & NABERS, LLP
PIKE, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-10669        BLIZZARD & NABERS, LLP
QUIROS, GAIL              NJ - USDC for the District of New Jersey   3:17-cv-04614        BLIZZARD & NABERS, LLP
REDDY, SANDRA             NJ - USDC for the District of New Jersey   3:17-cv-00877        BLIZZARD & NABERS, LLP
RICO-SCHLEGEL, CARMEN     NJ - USDC for the District of New Jersey   3:17-cv-12546        BLIZZARD & NABERS, LLP
ROBINSON, ALISIA          NJ - USDC for the District of New Jersey   3:18-cv-12721        BLIZZARD & NABERS, LLP
ROSS, WANDA               NJ - USDC for the District of New Jersey   3:17-cv-09427        BLIZZARD & NABERS, LLP
SEVERINO, MONICA          NJ - USDC for the District of New Jersey   3:17-cv-03765        BLIZZARD & NABERS, LLP
SIERRA, DENISE            NJ - USDC for the District of New Jersey   3:17-cv-05168        BLIZZARD & NABERS, LLP
SNYDER, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-00794        BLIZZARD & NABERS, LLP
STEDMAN, KATHRYN          NJ - USDC for the District of New Jersey   3:18-cv-12638        BLIZZARD & NABERS, LLP
THOLE, RANAE              NJ - USDC for the District of New Jersey   3:17-cv-10737        BLIZZARD & NABERS, LLP
TREVINO, MAGDALENA        NJ - USDC for the District of New Jersey   3:20-cv-08072        BLIZZARD & NABERS, LLP
TUTTLE-KOLL, DONNA        NJ - USDC for the District of New Jersey   3:18-cv-01069        BLIZZARD & NABERS, LLP
VALENTUKONIS, ELIZABETH   NJ - USDC for the District of New Jersey   3:18-cv-14870        BLIZZARD & NABERS, LLP
VERIKOKKOS, BARBARA       NJ - Superior Court - Atlantic County      ATL-L-2971-15        BLIZZARD & NABERS, LLP
WALTON, BOBBIE            NJ - USDC for the District of New Jersey   3:17-cv-03532        BLIZZARD & NABERS, LLP
LOUPE, MARGIE             NJ - USDC for the District of New Jersey   3:21-cv-11130        BLOCK LAW FIRM, APLC
DUCOTE, ANITA             NJ - USDC for the District of New Jersey   3:19-cv-12286        BLOOD HURST & OREARDON LLP
BIRMINGHAM, CONNIE        NJ - USDC for the District of New Jersey   3:17-cv-06257        BOHRER LAW FIRM, LLC
BUCKHOLZ, PAMELA          NJ - USDC for the District of New Jersey   3:17-cv-05537        BOHRER LAW FIRM, LLC
CARR, ROSE                NJ - USDC for the District of New Jersey   3:17-cv-11782        BOHRER LAW FIRM, LLC




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          Claimant Name                             State Filed                       Docket Number                 Plaintiff Counsel
CLOUSER, BLANCHE                    NJ - USDC for the District of New Jersey    3:17-cv-06258         BOHRER LAW FIRM, LLC
DIXON, AMBER                        NJ - USDC for the District of New Jersey    3:17-cv-05530         BOHRER LAW FIRM, LLC
MARTIN, MARGARET                    NJ - USDC for the District of New Jersey    3:17-cv-11264         BOHRER LAW FIRM, LLC
MORTON, MARY                        NJ - USDC for the District of New Jersey    3:17-cv-05534         BOHRER LAW FIRM, LLC
THOMPSON, LILLIAN                   NJ - USDC for the District of New Jersey    3:17-cv-11780         BOHRER LAW FIRM, LLC
WILLIS, JOYCE                       NJ - USDC for the District of New Jersey    3:18-cv-00810         BOHRER LAW FIRM, LLC
MUSGROVE, PAMELA                    NJ - USDC for the District of New Jersey    3:16-cv-06568         BOODELL & DOMANSKIS, LLC
ESWAY, PEGGY                        CA - Superior Court - Santa Clara County    18CV322148            BOUCHER LLP
KELLY, SUSAN                        CA - Superior Court - Fresno County         16CECG03244           BOUCHER LLP
LEE, ANNIE                          CA - Superior Court - Los Angeles County    BC623923              BOUCHER LLP
MUSGRAVE, GAYLE                     CA - Superior Court - Santa Clara County    18CV321873            BOUCHER LLP
NICKALOFF, LANA                     CA - Superior Court - Alameda County        HG17878348            BOUCHER LLP
PERAULT, JOANNE                     NJ - USDC for the District of New Jersey    3:21-cv-01146         BOUCHER LLP
LOGAN, MARIE                        NJ - USDC for the District of New Jersey    3:21-cv-15441         BOURDETTE & PARTNERS
                                                                                                      BRADSHAW, FOWLER, PROCTOR &
LUBAHN, DONNA                       NJ - USDC for the District of New Jersey    3:18-cv-02265
                                                                                                      FAIRGRAVE, P.C.
JOHANSON, ROBERTA; SMOLLER;
                                    NJ - USDC for the District of New Jersey    3:16-cv-07427         BRANCH LAW FIRM
LORRAINE
STROBEL, DOUGLAS AND STROBEL,
                                    CA - Superior Court - Solano County         FCS052548             BRAYTON PURCELL LLP
JOANN
KOLODZIEJ, ELAINE                   NJ - USDC for the District of New Jersey    3:21-cv-00223         BREIT LAW PC
KOLODZIEJ, ELAINE                   NJ - USDC for the District of New Jersey    3:21-cv-00497         BREIT LAW PC
POCHE, MAUREEN                      NJ - USDC for the District of New Jersey    3:16-cv-07501         BRIAN E. ADORNO ATTORNEY AT LAW, LLC
BLAJSZCZAK, CARMELLA                NJ - USDC for the District of New Jersey    3:21-cv-18439         BROWN CHIARI LLP
                                    NY - USDC for the Western District of New
BLAJSZCZAK, CARMELLA                                                            1:21-cv-01050         BROWN CHIARI LLP
                                    York
CHIARI, LINDA                       NJ - USDC for the District of New Jersey    3:18-cv-01841         BROWN CHIARI LLP
CICERO, CHERYL                      NJ - USDC for the District of New Jersey    3:18-cv-00852         BROWN CHIARI LLP
DIPPOLD, ELIZABETH                  NJ - USDC for the District of New Jersey    3:17-cv-12824         BROWN CHIARI LLP
FROST, LINDA                        NJ - USDC for the District of New Jersey    3:18-cv-00853         BROWN CHIARI LLP
WOELFEL, ROSEMARIE                  NJ - USDC for the District of New Jersey    3:18-cv-00854         BROWN CHIARI LLP
                                                                                                      BROWN, READDICK, BUMGARTNER, CARTER,
ADKINS, KATHY                       NJ - USDC for the District of New Jersey    3:19-cv-20605
                                                                                                      STRICKLAND & WATKINS LLP
                                                                                                      BROWN, READDICK, BUMGARTNER, CARTER,
BERNHARDT, ROBIN                    NJ - USDC for the District of New Jersey    3:19-cv-20177
                                                                                                      STRICKLAND & WATKINS LLP
                                                                                                      BROWN, READDICK, BUMGARTNER, CARTER,
LUMSDEN, MICHELLE                   NJ - USDC for the District of New Jersey    3:19-cv-16057
                                                                                                      STRICKLAND & WATKINS LLP
CROCOLL, CROCOLL                    NJ - USDC for the District of New Jersey    3:18-cv-11624         BRUERA LAW FIRM PLLC
HIRD, ELIZABETH                     NJ - USDC for the District of New Jersey    3:21-cv-17336         BRUERA LAW FIRM PLLC
TURNER, TONYA                       NJ - USDC for the District of New Jersey    3:19-cv-11286         BRUERA LAW FIRM PLLC
GERBITZ, MARIA                      NM - District Court - Santa Fe              D-101-CV-2021-00892   BRUSTER PLLC
GINDI, MERVAT                       LA - District Court - Jefferson Parish      811-065 C             BRUSTER PLLC
KHAN, NAOMI ; SANTILLAN; LYNDA NJ - USDC for the District of New Jersey         3:21-cv-18537         BRUSTER PLLC

KHAN, NAOMI ; SANTILLAN; LYNDA OR - USDC for the District of Oregon             2:21-cv-01054         BRUSTER PLLC
SULLIVAN, CARRIE                    IL - Circuit Court - Cook County            2021L004831           BRUSTER PLLC
WOODS, DANIEL L AND WOODS,
                                    GA - Circuit Court - Chatham County         STCV18-01899          BUCK LAW FIRM
ALLIE
SWAN, JUDITH                        NJ - USDC for the District of New Jersey    3:17-cv-02008         BUCKINGHAM BARRERA LAW FIRM
AGUILAR, MELISSA; ROBB,MARY         NJ - USDC for the District of New Jersey    3:16-cv-06608         BURCH & GEORGE
                                                                                                      BURG SIMPSON ELDREDGE HERSH & JARDINE,
MASON, ELLEN                        NJ - USDC for the District of New Jersey    3:17-cv-05107
                                                                                                      P.C.
GUTHRIE, BRANDI                     NJ - USDC for the District of New Jersey    3:20-cv-18427         BURNETT LAW FIRM
MORGAN-SIMPSON, DIANNE              NJ - USDC for the District of New Jersey    3:18-cv-17800         BURNETT LAW FIRM
ADAMS, ROMA                         NJ - USDC for the District of New Jersey    3:18-cv-14279         BURNS CHAREST LLP
AGONOY, JANET                       CA - Superior Court - Santa Clara County    18CV328222            BURNS CHAREST LLP
AKERS, VERONICA                     NJ - USDC for the District of New Jersey    3:17-cv-12936         BURNS CHAREST LLP
AKERS, VERONICA                     NJ - USDC for the District of New Jersey    3:17-cv-12936         BURNS CHAREST LLP
ALESSI, VICKY                       NJ - USDC for the District of New Jersey    3:18-cv-13349         BURNS CHAREST LLP
ALEXANDER, JANNIE                   NJ - USDC for the District of New Jersey    3:19-cv-12919         BURNS CHAREST LLP
ALEXANDER, JANNIE                   NJ - USDC for the District of New Jersey    3:19-cv-12919         BURNS CHAREST LLP
ALEXANDER, LEOLA                    NJ - USDC for the District of New Jersey    3:17-cv-01576         BURNS CHAREST LLP
ALLEN, ALLISON                      NJ - USDC for the District of New Jersey    3:17-cv-06082         BURNS CHAREST LLP
ALMANZA, SYLVIA                     CA - Superior Court - San Bernardino County CIVDS1811929          BURNS CHAREST LLP
AMI, HELEN                          NJ - USDC for the District of New Jersey    3:20-cv-17294         BURNS CHAREST LLP
ANDERSON, BRENDA                    NJ - USDC for the District of New Jersey    3:17-cv-02943         BURNS CHAREST LLP
ANDERSON, BRENDA                    NJ - USDC for the District of New Jersey    3:17-cv-02943         BURNS CHAREST LLP
ANDERSON, ELOUISE                   NJ - USDC for the District of New Jersey    3:16-cv-07087         BURNS CHAREST LLP
ANDERSON, ELOUISE                   NJ - USDC for the District of New Jersey    3:16-cv-07087         BURNS CHAREST LLP
ANDERSON, FLORENTYNE                NJ - USDC for the District of New Jersey    3:17-cv-10715         BURNS CHAREST LLP
ANDERSON, HOLLY                     NJ - USDC for the District of New Jersey    3:16-cv-08749         BURNS CHAREST LLP
ANDERSON, HOLLY                     NJ - USDC for the District of New Jersey    3:16-cv-08749         BURNS CHAREST LLP
ANDERSON, SHARON                    NJ - USDC for the District of New Jersey    3:18-cv-09296         BURNS CHAREST LLP
ANDERT, LUZ                         NJ - USDC for the District of New Jersey    3:18-cv-00724         BURNS CHAREST LLP
ANDERT, LUZ                         NJ - USDC for the District of New Jersey    3:18-cv-00724         BURNS CHAREST LLP
AQUILINA, LILY                      NJ - USDC for the District of New Jersey    3:17-cv-03960         BURNS CHAREST LLP
ARREDONDO, REBECCA                  NJ - USDC for the District of New Jersey    3:17-cv-07249         BURNS CHAREST LLP
ARREDONDO, REBECCA                  NJ - USDC for the District of New Jersey    3:17-cv-07249         BURNS CHAREST LLP




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
BAGLEY, DORIS                      NJ - USDC for the District of New Jersey   3:17-cv-07228         BURNS CHAREST LLP
BAGLEY, DORIS                      NJ - USDC for the District of New Jersey   3:17-cv-07228         BURNS CHAREST LLP
BAILEY, SHERRY                     NJ - USDC for the District of New Jersey   3:17-cv-00862         BURNS CHAREST LLP
BAILEY, SHERRY                     NJ - USDC for the District of New Jersey   3:17-cv-00862         BURNS CHAREST LLP
BALSAM, ELIZABETH                  NJ - USDC for the District of New Jersey   3:18-cv-10985         BURNS CHAREST LLP
BANKS, CAROLYN                     NJ - USDC for the District of New Jersey   3:17-cv-07076         BURNS CHAREST LLP
BANKS, CAROLYN                     NJ - USDC for the District of New Jersey   3:17-cv-07076         BURNS CHAREST LLP
BARTON, WANDA                      NJ - USDC for the District of New Jersey   3:17-cv-07281         BURNS CHAREST LLP
BARTON, WANDA                      NJ - USDC for the District of New Jersey   3:17-cv-07281         BURNS CHAREST LLP
BATISTE, DEIADRIA                  NJ - USDC for the District of New Jersey   3:16-cv-07499         BURNS CHAREST LLP
BATISTE, DEIADRIA                  NJ - USDC for the District of New Jersey   3:16-cv-07499         BURNS CHAREST LLP
BEACH, SANDRA                      NJ - USDC for the District of New Jersey   3:18-cv-00670         BURNS CHAREST LLP
BEACH, SANDRA                      NJ - USDC for the District of New Jersey   3:18-cv-00670         BURNS CHAREST LLP
BEALL, FELICIA                     NJ - USDC for the District of New Jersey   3:19-cv-00653         BURNS CHAREST LLP
BEAVER, PATRICIA                   NJ - USDC for the District of New Jersey   3:19-cv-06068         BURNS CHAREST LLP
BENDER, KARLEY                     NJ - USDC for the District of New Jersey   3:18-cv-16074         BURNS CHAREST LLP
BERNARD, KAYMONA                   NJ - USDC for the District of New Jersey   3:18-cv-09554         BURNS CHAREST LLP
BLEDSOE, BRENDA                    NJ - USDC for the District of New Jersey   3:18-cv-00311         BURNS CHAREST LLP
BLEVINS, ARLENE                    NJ - USDC for the District of New Jersey   3:18-cv-17759         BURNS CHAREST LLP
BLOCHLINGER, LELA                  NJ - USDC for the District of New Jersey   3:18-cv-11131         BURNS CHAREST LLP
BLOUNT, CLASSIE                    NJ - USDC for the District of New Jersey   3:20-cv-01665         BURNS CHAREST LLP
BOLLINGER, CHARLOTTE               NJ - USDC for the District of New Jersey   3:18-cv-14224         BURNS CHAREST LLP
BOLLINGER, CHARLOTTE               NJ - USDC for the District of New Jersey   3:18-cv-14224         BURNS CHAREST LLP
BORGER, SUSAN                      NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
BORGER, SUSAN                      NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
BOUTWELL JR., LONNIE               NJ - USDC for the District of New Jersey   3:18-cv-11484         BURNS CHAREST LLP
BOZIC, LINDA                       NJ - USDC for the District of New Jersey   3:17-cv-07760         BURNS CHAREST LLP
BRADLEY, JOAN                      NJ - USDC for the District of New Jersey   3:18-cv-09549         BURNS CHAREST LLP
BRINDAR, LUDMILA                   NJ - USDC for the District of New Jersey   3:17-cv-11520         BURNS CHAREST LLP
BROUGHTON, JESSIE                  NJ - USDC for the District of New Jersey   3:19-cv-00865         BURNS CHAREST LLP
BROWN, BETTY                       NJ - USDC for the District of New Jersey   3:19-cv-05120         BURNS CHAREST LLP
BROWN, BETTY                       NJ - USDC for the District of New Jersey   3:19-cv-05120         BURNS CHAREST LLP
BROWN, JOSEPHINE                   NJ - USDC for the District of New Jersey   3:18-cv-17150         BURNS CHAREST LLP
BROWN, KAREN                       NJ - USDC for the District of New Jersey   3:18-cv-09297         BURNS CHAREST LLP
BRUCE, KAY                         NJ - USDC for the District of New Jersey   3:17-cv-01367         BURNS CHAREST LLP
BRYANT, AMY                        NJ - USDC for the District of New Jersey   3:20-cv-14222         BURNS CHAREST LLP
BURKE, OLGA                        NJ - USDC for the District of New Jersey   3:18-cv-00054         BURNS CHAREST LLP
BURKHALTER, MARGARET               NJ - USDC for the District of New Jersey   3:20-cv-01181         BURNS CHAREST LLP
BURKHALTER, MARGARET               NJ - USDC for the District of New Jersey   3:20-cv-01181         BURNS CHAREST LLP
BUTLER, JESSICA                    NJ - USDC for the District of New Jersey   3:17-cv-07767         BURNS CHAREST LLP
BUTLER, MATTIE                     NJ - USDC for the District of New Jersey   3:18-cv-03553         BURNS CHAREST LLP
BUTLER-WEST, VATTISEE              NJ - USDC for the District of New Jersey   3:17-cv-06470         BURNS CHAREST LLP
BYRDSONG, DOROTHY                  NJ - USDC for the District of New Jersey   3:18-cv-00614         BURNS CHAREST LLP
BYRDSONG, DOROTHY                  NJ - USDC for the District of New Jersey   3:18-cv-00614         BURNS CHAREST LLP
CAMPBELL, EMILY                    CA - Superior Court - San Diego County     37-2018-22863-CU-MT-CTL BURNS CHAREST LLP
CAMPBELL, JOANN                    NJ - USDC for the District of New Jersey   3:17-cv-07665         BURNS CHAREST LLP
CANNICE, KAREN                     NJ - USDC for the District of New Jersey   3:17-cv-00516         BURNS CHAREST LLP
CANNON, LINDA                      NJ - USDC for the District of New Jersey   3:19-cv-01016         BURNS CHAREST LLP
CARLSON, JOANN                     NJ - USDC for the District of New Jersey   3:17-cv-02211         BURNS CHAREST LLP
CARLSON, JOANN                     NJ - USDC for the District of New Jersey   3:17-cv-02211         BURNS CHAREST LLP
CARSON, CAROLYN                    NJ - USDC for the District of New Jersey   3:19-cv-09271         BURNS CHAREST LLP
CARSON, CAROLYN                    NJ - USDC for the District of New Jersey   3:19-cv-09271         BURNS CHAREST LLP
CARTER, BRENDA                     NJ - USDC for the District of New Jersey   3:18-cv-02360         BURNS CHAREST LLP
CARTER, BRENDA                     NJ - USDC for the District of New Jersey   3:18-cv-02360         BURNS CHAREST LLP
CASSADA, JUNE                      NJ - USDC for the District of New Jersey   3:18-cv-00748         BURNS CHAREST LLP
CASSADA, JUNE                      NJ - USDC for the District of New Jersey   3:18-cv-00748         BURNS CHAREST LLP
CHAVEZ, MICHELLE                   CA - Superior Court - Santa Clara County   18CV328220            BURNS CHAREST LLP
CIUCHTA, RHONDA                    NJ - USDC for the District of New Jersey   3:17-cv-08275         BURNS CHAREST LLP
CLARK, PATRICIA                    NJ - USDC for the District of New Jersey   3:17-cv-05696         BURNS CHAREST LLP
CLARK, PATRICIA                    NJ - USDC for the District of New Jersey   3:17-cv-05696         BURNS CHAREST LLP
COCA, TANYA                        NJ - USDC for the District of New Jersey   3:18-cv-01567         BURNS CHAREST LLP
COCA, TANYA                        NJ - USDC for the District of New Jersey   3:18-cv-01567         BURNS CHAREST LLP
COLE, PAULA                        NJ - USDC for the District of New Jersey   3:17-cv-06525         BURNS CHAREST LLP
COLLINS, CYNTHIA                   NJ - USDC for the District of New Jersey   3:19-cv-07989         BURNS CHAREST LLP
COLLINS, CYNTHIA                   NJ - USDC for the District of New Jersey   3:19-cv-07989         BURNS CHAREST LLP
CONTE, SHIRLEY                     NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
CONTE, SHIRLEY                     NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
COOK, SUSAN                        NJ - USDC for the District of New Jersey   3:18-cv-01550         BURNS CHAREST LLP
COOK, SUSAN                        NJ - USDC for the District of New Jersey   3:18-cv-01550         BURNS CHAREST LLP
CORTES DE MARRON, ALTAGRACIA NJ - USDC for the District of New Jersey         3:17-cv-02943         BURNS CHAREST LLP

CORTES DE MARRON, ALTAGRACIA NJ - USDC for the District of New Jersey         3:17-cv-02943         BURNS CHAREST LLP
COSBY, JEANNIE                     NJ - USDC for the District of New Jersey   3:18-cv-15386         BURNS CHAREST LLP
COUGHLIN, MARY                     NJ - USDC for the District of New Jersey   3:18-cv-09298         BURNS CHAREST LLP
CUDDON, LEONORA                    NJ - USDC for the District of New Jersey   3:17-cv-04958         BURNS CHAREST LLP
CUMBY, LAVERNE                     CA - Superior Court - San Diego County     37-2018-23869-CU-MT-CTL BURNS CHAREST LLP
CUNNINGHAM, AMY                    NJ - USDC for the District of New Jersey   3:18-cv-01419         BURNS CHAREST LLP




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
CUNNINGHAM, AMY           NJ - USDC for the District of New Jersey   3:18-cv-01419             BURNS CHAREST LLP
CURTIS, RAMONA            NJ - USDC for the District of New Jersey   3:18-cv-16338             BURNS CHAREST LLP
CURTIS, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-01274             BURNS CHAREST LLP
CURTIS, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-01274             BURNS CHAREST LLP
DASALLA, RAMONA           NJ - USDC for the District of New Jersey   3:18-cv-10678             BURNS CHAREST LLP
DAVIS, BRITTANY           NJ - USDC for the District of New Jersey   3:18-cv-09592             BURNS CHAREST LLP
DAVIS, SHERICA            NJ - USDC for the District of New Jersey   3:17-cv-07093             BURNS CHAREST LLP
DAVIS, SHERICA            NJ - USDC for the District of New Jersey   3:17-cv-07093             BURNS CHAREST LLP
DEAN, BEVERLY             NJ - USDC for the District of New Jersey   3:19-cv-00998             BURNS CHAREST LLP
DELTOUR, HELEN            NJ - USDC for the District of New Jersey   3:17-cv-12960             BURNS CHAREST LLP
DELTOUR, HELEN            NJ - USDC for the District of New Jersey   3:17-cv-12960             BURNS CHAREST LLP
DEMYAN, DENIS             NJ - USDC for the District of New Jersey   3:18-cv-05641             BURNS CHAREST LLP
DEVELLIS, DALE            NJ - USDC for the District of New Jersey   3:17-cv-12285             BURNS CHAREST LLP
DEVER, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-10693             BURNS CHAREST LLP
DEWALT, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-04539             BURNS CHAREST LLP
DEZELLEM, MYRNA           NJ - USDC for the District of New Jersey   3:18-cv-11053             BURNS CHAREST LLP
DINKEL, JULIE             NJ - USDC for the District of New Jersey   3:18-cv-00276             BURNS CHAREST LLP
DISSMORE, DEBORAH         NJ - USDC for the District of New Jersey   3:18-cv-14244             BURNS CHAREST LLP
DIXON, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-02069             BURNS CHAREST LLP
DOSEY-DAVIS, BESSIE       NJ - USDC for the District of New Jersey   3:17-cv-12287             BURNS CHAREST LLP
DUCROT, REJANE            NJ - USDC for the District of New Jersey   3:17-cv-10785             BURNS CHAREST LLP
DUNCAN, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-00516             BURNS CHAREST LLP
DUNCAN, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-00516             BURNS CHAREST LLP
DUNCAN, VIRGINIA          NJ - USDC for the District of New Jersey   3:18-cv-11124             BURNS CHAREST LLP
DYSON, BOBBY              NJ - USDC for the District of New Jersey   3:18-cv-09547             BURNS CHAREST LLP
EDWARDS, AUDREY           NJ - USDC for the District of New Jersey   3:17-cv-00627             BURNS CHAREST LLP
EDWARDS, ELLA             NJ - USDC for the District of New Jersey   3:17-cv-07288             BURNS CHAREST LLP
EDWARDS, ELLA             NJ - USDC for the District of New Jersey   3:17-cv-07288             BURNS CHAREST LLP
ELIAS, JULIE              NJ - USDC for the District of New Jersey   3:18-cv-10680             BURNS CHAREST LLP
ELLIS, JERRY              NJ - USDC for the District of New Jersey   3:17-cv-02469             BURNS CHAREST LLP
EMMONS, DAWN              NJ - USDC for the District of New Jersey   3:17-cv-06556             BURNS CHAREST LLP
ERWIN, DEANNA             NJ - USDC for the District of New Jersey   3:18-cv-02502             BURNS CHAREST LLP
ERWIN, DEANNA             NJ - USDC for the District of New Jersey   3:18-cv-02502             BURNS CHAREST LLP
FALCHECK, ANN             NJ - USDC for the District of New Jersey   3:18-cv-05234             BURNS CHAREST LLP
FARMER, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-10676             BURNS CHAREST LLP
FAZIO, JUDITH             NJ - USDC for the District of New Jersey   3:19-cv-06478             BURNS CHAREST LLP
FELDMAN, AMY              NJ - USDC for the District of New Jersey   3:18-cv-01417             BURNS CHAREST LLP
FELDMAN, AMY              NJ - USDC for the District of New Jersey   3:18-cv-01417             BURNS CHAREST LLP
FERGUSON, VICKIE          NJ - USDC for the District of New Jersey   3:18-cv-02175             BURNS CHAREST LLP
FERGUSON, VICKIE          NJ - USDC for the District of New Jersey   3:18-cv-02175             BURNS CHAREST LLP
FERLAND, ERIN             NJ - USDC for the District of New Jersey   3:18-cv-11130             BURNS CHAREST LLP
FERRIER, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-06246             BURNS CHAREST LLP
FERRIER, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-06246             BURNS CHAREST LLP
FEY, TRACIE               NJ - USDC for the District of New Jersey   3:17-cv-06182             BURNS CHAREST LLP
FINNEY, ANGELA            NJ - USDC for the District of New Jersey   3:18-cv-00168             BURNS CHAREST LLP
FIOLA, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-07866             BURNS CHAREST LLP
FLEMISTER, RHONDA         NJ - USDC for the District of New Jersey   3:18-cv-02510             BURNS CHAREST LLP
FLEMISTER, RHONDA         NJ - USDC for the District of New Jersey   3:18-cv-02510             BURNS CHAREST LLP
FONDREN, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-07083             BURNS CHAREST LLP
FONDREN, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-07083             BURNS CHAREST LLP
FOOTS, SONJA              NJ - USDC for the District of New Jersey   3:18-cv-15295             BURNS CHAREST LLP
FORSBERG, JESSICA         NJ - USDC for the District of New Jersey   3:17-cv-02780             BURNS CHAREST LLP
FORSBERG, JESSICA         NJ - USDC for the District of New Jersey   3:17-cv-02780             BURNS CHAREST LLP
FOSTER, KRISTEN           NJ - USDC for the District of New Jersey   3:19-cv-06547             BURNS CHAREST LLP
FOX, SARAH                NJ - USDC for the District of New Jersey   3:18-cv-02134             BURNS CHAREST LLP
FOX, SARAH                NJ - USDC for the District of New Jersey   3:18-cv-02134             BURNS CHAREST LLP
FREEMAN, KIMBERLY         NJ - USDC for the District of New Jersey   3:18-cv-01486             BURNS CHAREST LLP
FREEMAN, KIMBERLY         NJ - USDC for the District of New Jersey   3:18-cv-01486             BURNS CHAREST LLP
FRYMIRE, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-08693             BURNS CHAREST LLP
FULTON, ANNIE             NJ - USDC for the District of New Jersey   3:17-cv-02910             BURNS CHAREST LLP
FULTON, ANNIE             NJ - USDC for the District of New Jersey   3:17-cv-02910             BURNS CHAREST LLP
GARLOCK, YVONNE           NJ - USDC for the District of New Jersey   3:17-cv-02943             BURNS CHAREST LLP
GARLOCK, YVONNE           NJ - USDC for the District of New Jersey   3:17-cv-02943             BURNS CHAREST LLP
                                                                     30-2018-00992957-CU-MT-
GAVIN, CAMILLE            CA - Superior Court - Orange County                                  BURNS CHAREST LLP
                                                                     CXC
GAVIN, CAMILLE            NJ - USDC for the District of New Jersey   3:17-cv-06484             BURNS CHAREST LLP
GERG, LOIS                NJ - USDC for the District of New Jersey   3:17-cv-02255             BURNS CHAREST LLP
GERG, LOIS                NJ - USDC for the District of New Jersey   3:17-cv-02255             BURNS CHAREST LLP
GEURIN, FAY               NJ - USDC for the District of New Jersey   3:17-cv-02979             BURNS CHAREST LLP
GEURIN, FAY               NJ - USDC for the District of New Jersey   3:17-cv-02979             BURNS CHAREST LLP
GILL, ELAINE              NJ - USDC for the District of New Jersey   3:18-cv-01460             BURNS CHAREST LLP
GILL, ELAINE              NJ - USDC for the District of New Jersey   3:18-cv-01460             BURNS CHAREST LLP
GILMAN, RITA              NJ - USDC for the District of New Jersey   3:19-cv-08862             BURNS CHAREST LLP
GILMAN, RITA              NJ - USDC for the District of New Jersey   3:19-cv-08862             BURNS CHAREST LLP
GJELOSHAJ, DRITA          CA - Superior Court - Riverside County     RIC1809105                BURNS CHAREST LLP
GODBEE, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-00247             BURNS CHAREST LLP
GODBEE, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-00247             BURNS CHAREST LLP
GOODWIN, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-15342             BURNS CHAREST LLP
GRANIERI, JANET           NJ - USDC for the District of New Jersey   3:19-cv-16924             BURNS CHAREST LLP
GRANIERI, JANET           NJ - USDC for the District of New Jersey   3:19-cv-16924             BURNS CHAREST LLP




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
GRAY, MARTHA                NJ - USDC for the District of New Jersey   3:18-cv-00519         BURNS CHAREST LLP
GRAY, MARTHA                NJ - USDC for the District of New Jersey   3:18-cv-00519         BURNS CHAREST LLP
GRAYS, NORMA                NJ - USDC for the District of New Jersey   3:18-cv-02509         BURNS CHAREST LLP
GRAYS, NORMA                NJ - USDC for the District of New Jersey   3:18-cv-02509         BURNS CHAREST LLP
GRIFFITH, MARY              NJ - USDC for the District of New Jersey   3:18-cv-00659         BURNS CHAREST LLP
GRIFFITH, MARY              NJ - USDC for the District of New Jersey   3:18-cv-00659         BURNS CHAREST LLP
GROSS, VICTORIA             NJ - USDC for the District of New Jersey   3:18-cv-00351         BURNS CHAREST LLP
GUIDRY, RITA                NJ - USDC for the District of New Jersey   3:18-cv-01541         BURNS CHAREST LLP
GUIDRY, RITA                NJ - USDC for the District of New Jersey   3:18-cv-01541         BURNS CHAREST LLP
GUMINSKI, ALICE             NJ - USDC for the District of New Jersey   3:18-cv-00268         BURNS CHAREST LLP
HAIRSTON, DWANA             NJ - USDC for the District of New Jersey   3:18-cv-00726         BURNS CHAREST LLP
HAIRSTON, DWANA             NJ - USDC for the District of New Jersey   3:18-cv-00726         BURNS CHAREST LLP
HAIRSTON, ORA               NJ - USDC for the District of New Jersey   3:19-cv-00098         BURNS CHAREST LLP
HALBOTH, LORETTA            NJ - USDC for the District of New Jersey   3:18-cv-15283         BURNS CHAREST LLP
HAMMOND, ABIGAIL            NJ - USDC for the District of New Jersey   3:18-cv-00639         BURNS CHAREST LLP
HAMMOND, ABIGAIL            NJ - USDC for the District of New Jersey   3:18-cv-00639         BURNS CHAREST LLP
HAMPTON, CATHERINE          NJ - USDC for the District of New Jersey   3:17-cv-06190         BURNS CHAREST LLP
HAMPTON, CATHERINE          NJ - USDC for the District of New Jersey   3:17-cv-06190         BURNS CHAREST LLP
HANNA, SUSAN                NJ - USDC for the District of New Jersey   3:19-cv-17212         BURNS CHAREST LLP
HANNA, SUSAN                NJ - USDC for the District of New Jersey   3:19-cv-17212         BURNS CHAREST LLP
HANSELMAN-WONG, ELIZABETH   NJ - USDC for the District of New Jersey   3:18-cv-00613         BURNS CHAREST LLP
HARPER, SHERRI              NJ - USDC for the District of New Jersey   3:18-cv-03789         BURNS CHAREST LLP
HATMAKER, VICKIE            NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
HATMAKER, VICKIE            NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
HAWK, JOANNE CHARGING       NJ - USDC for the District of New Jersey   3:18-cv-02505         BURNS CHAREST LLP
HAWK, JOANNE CHARGING       NJ - USDC for the District of New Jersey   3:18-cv-02505         BURNS CHAREST LLP
HEATH, CLAIRE               NJ - USDC for the District of New Jersey   3:17-cv-01571         BURNS CHAREST LLP
HEATH, CLAIRE               NJ - USDC for the District of New Jersey   3:17-cv-01571         BURNS CHAREST LLP
HEFFERNAN, SUZANNE          NJ - USDC for the District of New Jersey   3:17-cv-07702         BURNS CHAREST LLP
HEFFERNAN, SUZANNE          NJ - USDC for the District of New Jersey   3:17-cv-07702         BURNS CHAREST LLP
HEFLIN, VIVIAN              NJ - USDC for the District of New Jersey   3:18-cv-00700         BURNS CHAREST LLP
HEFLIN, VIVIAN              NJ - USDC for the District of New Jersey   3:18-cv-00700         BURNS CHAREST LLP
HEIN, MARJORIE              NJ - USDC for the District of New Jersey   3:18-cv-01495         BURNS CHAREST LLP
HEIN, MARJORIE              NJ - USDC for the District of New Jersey   3:18-cv-01495         BURNS CHAREST LLP
HELVESTON, NATASHA          NJ - USDC for the District of New Jersey   3:17-cv-07067         BURNS CHAREST LLP
HELVESTON, NATASHA          NJ - USDC for the District of New Jersey   3:17-cv-07067         BURNS CHAREST LLP
HENRY, PATRICIA             NJ - USDC for the District of New Jersey   3:19-cv-01018         BURNS CHAREST LLP
HERNANDEZ, MARCELLA         NJ - USDC for the District of New Jersey   3:19-cv-12092         BURNS CHAREST LLP
HERNANDEZ, MARCELLA         NJ - USDC for the District of New Jersey   3:19-cv-12092         BURNS CHAREST LLP
HERNANDEZ, REGINA           NJ - USDC for the District of New Jersey   3:18-cv-00534         BURNS CHAREST LLP
HICKMAN-CALDWELL, JUDY      NJ - USDC for the District of New Jersey   3:19-cv-06546         BURNS CHAREST LLP
HIGGINS, DEBRA              NJ - USDC for the District of New Jersey   3:17-cv-07251         BURNS CHAREST LLP
HIGGINS, DEBRA              NJ - USDC for the District of New Jersey   3:17-cv-07251         BURNS CHAREST LLP
HOLICKA, DEBRA              NJ - USDC for the District of New Jersey   3:18-cv-05239         BURNS CHAREST LLP
HOLLINGSWORTH, DIANIA       NJ - USDC for the District of New Jersey   3:18-cv-11486         BURNS CHAREST LLP
HOLUBICZKE, ORIANA          NJ - USDC for the District of New Jersey   3:19-cv-15377         BURNS CHAREST LLP
HOLUBICZKE, ORIANA          NJ - USDC for the District of New Jersey   3:19-cv-15377         BURNS CHAREST LLP
HONEY, LAURA                NJ - USDC for the District of New Jersey   3:17-cv-12858         BURNS CHAREST LLP
HORTON, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-02503         BURNS CHAREST LLP
HORTON, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-02503         BURNS CHAREST LLP
HOWDER, BETTY               NJ - USDC for the District of New Jersey   3:17-cv-03954         BURNS CHAREST LLP
HUTCHINS, AUDREY            NJ - USDC for the District of New Jersey   3:19-cv-06488         BURNS CHAREST LLP
HUTSON, DIANE               NJ - USDC for the District of New Jersey   3:17-cv-12971         BURNS CHAREST LLP
HVIZDOS, RUTHANN            NJ - USDC for the District of New Jersey   3:17-cv-00047         BURNS CHAREST LLP
HVIZDOS, RUTHANN            NJ - USDC for the District of New Jersey   3:17-cv-00047         BURNS CHAREST LLP
HVIZDOS, RUTHANN            NJ - USDC for the District of New Jersey   3:17-cv-00047         BURNS CHAREST LLP
JACKSON, ELOIS              NJ - USDC for the District of New Jersey   3:19-cv-09384         BURNS CHAREST LLP
JACKSON, ELOIS              NJ - USDC for the District of New Jersey   3:19-cv-09384         BURNS CHAREST LLP
JACKSON, VANESSA            NJ - USDC for the District of New Jersey   3:19-cv-01021         BURNS CHAREST LLP
JENKINS, WILLIE             NJ - USDC for the District of New Jersey   3:18-cv-12667         BURNS CHAREST LLP
JOHNSON, CAROLINA           NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
JOHNSON, CAROLINA           NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
JOHNSON, SHELIA             NJ - USDC for the District of New Jersey   3:18-cv-02537         BURNS CHAREST LLP
JOHNSON, SHELIA             NJ - USDC for the District of New Jersey   3:18-cv-02537         BURNS CHAREST LLP
JOHNSON-WAITES, DAVETTA     NJ - USDC for the District of New Jersey   3:18-cv-05238         BURNS CHAREST LLP
JONES, DONNA                NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
JONES, DONNA                NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
JONES, PATRICIA             NJ - USDC for the District of New Jersey   3:19-cv-05808         BURNS CHAREST LLP
JONES, PATRICIA             NJ - USDC for the District of New Jersey   3:19-cv-05808         BURNS CHAREST LLP
JONES, SYLVIA               NJ - USDC for the District of New Jersey   3:18-cv-02370         BURNS CHAREST LLP
JONES, SYLVIA               NJ - USDC for the District of New Jersey   3:18-cv-02370         BURNS CHAREST LLP
JOSEPH, SABRINA             NJ - USDC for the District of New Jersey   3:18-cv-10612         BURNS CHAREST LLP
KELLEY, JENNY               NJ - USDC for the District of New Jersey   3:19-cv-01013         BURNS CHAREST LLP
KENNEDY, BETHANY            NJ - USDC for the District of New Jersey   3:18-cv-02480         BURNS CHAREST LLP
KENNEDY, BETHANY            NJ - USDC for the District of New Jersey   3:18-cv-02480         BURNS CHAREST LLP
KERBY, HOPE                 NJ - USDC for the District of New Jersey   3:17-cv-12289         BURNS CHAREST LLP
KEZER, BARBARA              NJ - USDC for the District of New Jersey   3:17-cv-10993         BURNS CHAREST LLP
KEZER, BARBARA              NJ - USDC for the District of New Jersey   3:17-cv-10993         BURNS CHAREST LLP
KIMBARL, JUANITA            NJ - USDC for the District of New Jersey   3:18-cv-09552         BURNS CHAREST LLP
KING, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-14292         BURNS CHAREST LLP




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         Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
KNAPP, DOROTHY           NJ - USDC for the District of New Jersey    3:18-cv-05648         BURNS CHAREST LLP
KNOTT, ALICE             NJ - USDC for the District of New Jersey    3:19-cv-07453         BURNS CHAREST LLP
KNOTT, ALICE             NJ - USDC for the District of New Jersey    3:19-cv-07453         BURNS CHAREST LLP
KOLZET, MONICA           NJ - USDC for the District of New Jersey    3:18-cv-14509         BURNS CHAREST LLP
KOROTKA, BARBARA         NJ - USDC for the District of New Jersey    3:17-cv-07876         BURNS CHAREST LLP
KOROTKA, BARBARA         NJ - USDC for the District of New Jersey    3:17-cv-07876         BURNS CHAREST LLP
KRYS, ABBEY              NJ - USDC for the District of New Jersey    3:18-cv-05231         BURNS CHAREST LLP
KRZYZOSIAK, NORMA        NJ - USDC for the District of New Jersey    3:17-cv-02943         BURNS CHAREST LLP
KRZYZOSIAK, NORMA        NJ - USDC for the District of New Jersey    3:17-cv-02943         BURNS CHAREST LLP
LACEY, DOREEN            NJ - USDC for the District of New Jersey    3:18-cv-05645         BURNS CHAREST LLP
LACKEY, KARALYN          NJ - USDC for the District of New Jersey    3:18-cv-01463         BURNS CHAREST LLP
LACKEY, KARALYN          NJ - USDC for the District of New Jersey    3:18-cv-01463         BURNS CHAREST LLP
LACOUR, SONIA            LA - District Court - East Baton Rouge Parish C-687381            BURNS CHAREST LLP
LAMA, LANIE              NJ - USDC for the District of New Jersey    3:17-cv-07078         BURNS CHAREST LLP
LAMA, LANIE              NJ - USDC for the District of New Jersey    3:17-cv-07078         BURNS CHAREST LLP
LANGLEY, MARGARET        NJ - USDC for the District of New Jersey    3:17-cv-07253         BURNS CHAREST LLP
LANGLEY, MARGARET        NJ - USDC for the District of New Jersey    3:17-cv-07253         BURNS CHAREST LLP
LANGONE, NANCY           NJ - USDC for the District of New Jersey    3:18-cv-16087         BURNS CHAREST LLP
LATHROP, JULIA           NJ - USDC for the District of New Jersey    3:17-cv-03386         BURNS CHAREST LLP
LATHROP, JULIA           NJ - USDC for the District of New Jersey    3:17-cv-03386         BURNS CHAREST LLP
LEE, NATALIE             CA - Superior Court - Stanislaus County     CV-18-000341          BURNS CHAREST LLP
LEWIS, ANN               NJ - USDC for the District of New Jersey    3:19-cv-09270         BURNS CHAREST LLP
LEWIS, ANN               NJ - USDC for the District of New Jersey    3:19-cv-09270         BURNS CHAREST LLP
LEWIS, DOROTHY           NJ - USDC for the District of New Jersey    3:18-cv-11941         BURNS CHAREST LLP
LIGGETT, MARY            NJ - USDC for the District of New Jersey    3:17-cv-11240         BURNS CHAREST LLP
LIGGETT, MARY            NJ - USDC for the District of New Jersey    3:17-cv-11240         BURNS CHAREST LLP
LOGAN, BRENDA            NJ - USDC for the District of New Jersey    3:17-cv-07100         BURNS CHAREST LLP
LOGAN, BRENDA            NJ - USDC for the District of New Jersey    3:17-cv-07100         BURNS CHAREST LLP
LOGAN, PAULETTE          NJ - USDC for the District of New Jersey    3:18-cv-11482         BURNS CHAREST LLP
LOPEZ, MILAGROS          NJ - USDC for the District of New Jersey    3:18-cv-13345         BURNS CHAREST LLP
LOUDON, PATRICIA         NJ - USDC for the District of New Jersey    3:18-cv-02128         BURNS CHAREST LLP
LOUDON, PATRICIA         NJ - USDC for the District of New Jersey    3:18-cv-02128         BURNS CHAREST LLP
LYNCH, TINA              NJ - USDC for the District of New Jersey    3:18-cv-14286         BURNS CHAREST LLP
MAHER, MARY              NJ - USDC for the District of New Jersey    3:18-cv-00240         BURNS CHAREST LLP
MAKOR, ANNAMAE           NJ - USDC for the District of New Jersey    3:17-cv-03413         BURNS CHAREST LLP
MAKOR, ANNAMAE           NJ - USDC for the District of New Jersey    3:17-cv-03413         BURNS CHAREST LLP
MALDONADO, VELSA         NJ - USDC for the District of New Jersey    3:17-cv-08279         BURNS CHAREST LLP
MALDONADO, VELSA         NJ - USDC for the District of New Jersey    3:17-cv-08279         BURNS CHAREST LLP
MARTIN, KIMBERLY         NJ - USDC for the District of New Jersey    3:18-cv-02173         BURNS CHAREST LLP
MARTIN, KIMBERLY         NJ - USDC for the District of New Jersey    3:18-cv-02173         BURNS CHAREST LLP
MARTIN, ROBIN            NJ - USDC for the District of New Jersey    3:18-cv-01543         BURNS CHAREST LLP
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MATTESON, VICKY          NJ - USDC for the District of New Jersey    3:19-cv-05809         BURNS CHAREST LLP
MATTESON, VICKY          NJ - USDC for the District of New Jersey    3:19-cv-05809         BURNS CHAREST LLP
MATTHEW, CAROLINE        NJ - USDC for the District of New Jersey    3:18-cv-02243         BURNS CHAREST LLP
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MAXWELL, BARBARA         NJ - USDC for the District of New Jersey    3:18-cv-05236         BURNS CHAREST LLP
MCCLAIN, LOIS            NJ - USDC for the District of New Jersey    3:18-cv-14507         BURNS CHAREST LLP
MCCLENDON, JUDY          NJ - USDC for the District of New Jersey    3:18-cv-00230         BURNS CHAREST LLP
MCCURDY, CINDY           NJ - USDC for the District of New Jersey    3:18-cv-14717         BURNS CHAREST LLP
MCDEAVITT, CYNTHIA       NJ - USDC for the District of New Jersey    3:17-cv-07283         BURNS CHAREST LLP
MCDEAVITT, CYNTHIA       NJ - USDC for the District of New Jersey    3:17-cv-07283         BURNS CHAREST LLP
MCDONALD, HELEN          NJ - USDC for the District of New Jersey    3:19-cv-00999         BURNS CHAREST LLP
MCFETRIDGE, EILEEN       NJ - USDC for the District of New Jersey    3:18-cv-05822         BURNS CHAREST LLP
MCGREGOR, KARIN          NJ - USDC for the District of New Jersey    3:18-cv-00720         BURNS CHAREST LLP
MCGREGOR, KARIN          NJ - USDC for the District of New Jersey    3:18-cv-00720         BURNS CHAREST LLP
MCKOY, MOYA              NJ - USDC for the District of New Jersey    3:17-cv-11837         BURNS CHAREST LLP
MEDINA, MIGDALIA         NJ - USDC for the District of New Jersey    3:18-cv-00740         BURNS CHAREST LLP
MEDINA, MIGDALIA         NJ - USDC for the District of New Jersey    3:18-cv-00740         BURNS CHAREST LLP
MENUCK, JACQUELINE       NJ - USDC for the District of New Jersey    3:20-cv-17292         BURNS CHAREST LLP
MERCER, JEAN             NJ - USDC for the District of New Jersey    3:17-cv-08702         BURNS CHAREST LLP
MERCER, JEAN             NJ - USDC for the District of New Jersey    3:17-cv-08702         BURNS CHAREST LLP
MERCHANT, PATRICIA       NJ - USDC for the District of New Jersey    3:18-cv-00300         BURNS CHAREST LLP
MERCHANT, PATRICIA       NJ - USDC for the District of New Jersey    3:18-cv-00300         BURNS CHAREST LLP
MONTAGUE, SHANNON        NJ - USDC for the District of New Jersey    3:18-cv-00321         BURNS CHAREST LLP
MOORE, DONNA             NJ - USDC for the District of New Jersey    3:18-cv-00174         BURNS CHAREST LLP
MORALES, ARCELIA         NJ - USDC for the District of New Jersey    3:19-cv-00534         BURNS CHAREST LLP
MORELLI, MARLENE         NJ - USDC for the District of New Jersey    3:18-cv-00283         BURNS CHAREST LLP
MORRISON, MARION         NJ - USDC for the District of New Jersey    3:18-cv-02507         BURNS CHAREST LLP
MORRISON, MARION         NJ - USDC for the District of New Jersey    3:18-cv-02507         BURNS CHAREST LLP
MURPHY, SHARON           NJ - USDC for the District of New Jersey    3:18-cv-01498         BURNS CHAREST LLP
MURPHY, SHARON           NJ - USDC for the District of New Jersey    3:18-cv-01498         BURNS CHAREST LLP
MUSGROVE, PAMELA         NJ - USDC for the District of New Jersey    3:16-cv-06568         BURNS CHAREST LLP
NATHAN, ROSHONE          NJ - USDC for the District of New Jersey    3:18-cv-00634         BURNS CHAREST LLP
NATHAN, ROSHONE          NJ - USDC for the District of New Jersey    3:18-cv-00634         BURNS CHAREST LLP
NELSON, VICKIE           NJ - USDC for the District of New Jersey    3:17-cv-07703         BURNS CHAREST LLP
NELSON, VICKIE           NJ - USDC for the District of New Jersey    3:17-cv-07703         BURNS CHAREST LLP
NIELSEN, PHYLLIS         NJ - USDC for the District of New Jersey    3:18-cv-09433         BURNS CHAREST LLP




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
NORDLUND, DOVIE            NJ - USDC for the District of New Jersey   3:19-cv-04754         BURNS CHAREST LLP
NORDLUND, DOVIE            NJ - USDC for the District of New Jersey   3:19-cv-04754         BURNS CHAREST LLP
NORRIS, SHELIA             NJ - USDC for the District of New Jersey   3:17-cv-06475         BURNS CHAREST LLP
NUNNERY, BRENDA            NJ - USDC for the District of New Jersey   3:17-cv-00713         BURNS CHAREST LLP
OCONNOR, ANNE              NJ - USDC for the District of New Jersey   3:18-cv-01534         BURNS CHAREST LLP
OCONNOR, ANNE              NJ - USDC for the District of New Jersey   3:18-cv-01534         BURNS CHAREST LLP
ODOM, TREINA               CA - Superior Court - Fresno County        18CECG01649           BURNS CHAREST LLP
ODOM, ZEBBIE               NJ - USDC for the District of New Jersey   3:17-cv-05421         BURNS CHAREST LLP
ODOM, ZEBBIE               NJ - USDC for the District of New Jersey   3:17-cv-05421         BURNS CHAREST LLP
OLSON, SHELLI              NJ - USDC for the District of New Jersey   3:18-cv-00537         BURNS CHAREST LLP
ONEILL, RITA               CA - Superior Court - Los Angeles County   BC705653              BURNS CHAREST LLP
ORTEGA, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-02485         BURNS CHAREST LLP
ORTEGA, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-02485         BURNS CHAREST LLP
OVERTON, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-14284         BURNS CHAREST LLP
PACE, WILLA                CA - Superior Court - Los Angeles County   BC705960              BURNS CHAREST LLP
PACHECO, MARGIE            NJ - USDC for the District of New Jersey   3:17-cv-05447         BURNS CHAREST LLP
PACILLI, ROSEMARIE         NJ - USDC for the District of New Jersey   3:17-cv-07231         BURNS CHAREST LLP
PACILLI, ROSEMARIE         NJ - USDC for the District of New Jersey   3:17-cv-07231         BURNS CHAREST LLP
PALAZZO, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-06501         BURNS CHAREST LLP
PARKER, WANDA              NJ - USDC for the District of New Jersey   3:17-cv-07666         BURNS CHAREST LLP
PARKER, WANDA              NJ - USDC for the District of New Jersey   3:17-cv-07666         BURNS CHAREST LLP
PARRISH, DELCINE           NJ - USDC for the District of New Jersey   3:17-cv-03117         BURNS CHAREST LLP
PARRISH, DELCINE           NJ - USDC for the District of New Jersey   3:17-cv-03117         BURNS CHAREST LLP
PAYNE, KAY                 NJ - USDC for the District of New Jersey   3:17-cv-06502         BURNS CHAREST LLP
PENA, SILVIA               CA - Superior Court - Plumas County        CVIS-00099            BURNS CHAREST LLP
PENA, SYLIVA               NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
PENA, SYLIVA               NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
PEREZ, MARY                NJ - USDC for the District of New Jersey   3:18-cv-00653         BURNS CHAREST LLP
PEREZ, MARY                NJ - USDC for the District of New Jersey   3:18-cv-00653         BURNS CHAREST LLP
PEREZ-MATOS, CECILIA       NJ - USDC for the District of New Jersey   3:18-cv-02536         BURNS CHAREST LLP
PEREZ-MATOS, CECILIA       NJ - USDC for the District of New Jersey   3:18-cv-02536         BURNS CHAREST LLP
PERKINS, DARYL             NJ - USDC for the District of New Jersey   3:17-cv-06594         BURNS CHAREST LLP
PETERSON, DELLA            NJ - USDC for the District of New Jersey   3:18-cv-02743         BURNS CHAREST LLP
PETERSON, DELLA            NJ - USDC for the District of New Jersey   3:18-cv-02743         BURNS CHAREST LLP
PETRUCCI, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-17298         BURNS CHAREST LLP
PHILLIPS, VALERIE          NJ - USDC for the District of New Jersey   3:18-cv-00699         BURNS CHAREST LLP
PHILLIPS, VALERIE          NJ - USDC for the District of New Jersey   3:18-cv-00699         BURNS CHAREST LLP
PICARDI, MARIE             NJ - USDC for the District of New Jersey   3:18-cv-09425         BURNS CHAREST LLP
PICKNEY, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-05653         BURNS CHAREST LLP
PIERCE, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-00688         BURNS CHAREST LLP
PIERCE, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-00688         BURNS CHAREST LLP
PONTIOUS, DIANE            NJ - USDC for the District of New Jersey   3:18-cv-00155         BURNS CHAREST LLP
POOLE, TOMMIE              NJ - USDC for the District of New Jersey   3:18-cv-00690         BURNS CHAREST LLP
POOLE, TOMMIE              NJ - USDC for the District of New Jersey   3:18-cv-00690         BURNS CHAREST LLP
PRESLEY, STEPHANIE         NJ - USDC for the District of New Jersey   3:18-cv-01564         BURNS CHAREST LLP
PRESLEY, STEPHANIE         NJ - USDC for the District of New Jersey   3:18-cv-01564         BURNS CHAREST LLP
PRUITT, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-05644         BURNS CHAREST LLP
RANKIN, MILDRED            NJ - USDC for the District of New Jersey   3:18-cv-02125         BURNS CHAREST LLP
RANKIN, MILDRED            NJ - USDC for the District of New Jersey   3:18-cv-02125         BURNS CHAREST LLP
RAPOSA, JOYCE              NJ - USDC for the District of New Jersey   3:18-cv-13337         BURNS CHAREST LLP
RATLIFF, MARILYN           NJ - USDC for the District of New Jersey   3:18-cv-12078         BURNS CHAREST LLP
REED, MARGARET             NJ - USDC for the District of New Jersey   3:18-cv-13719         BURNS CHAREST LLP
REID, YASMEEN              NJ - USDC for the District of New Jersey   3:18-cv-00303         BURNS CHAREST LLP
RENNER, DOLLY              CA - Superior Court - Humboldt County      DR180322              BURNS CHAREST LLP
RENNER, DOLLY              NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
RENNER, DOLLY              NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
REYNOLDS, DEBBIE           NJ - USDC for the District of New Jersey   3:19-cv-06512         BURNS CHAREST LLP
RICE, RENNA                NJ - USDC for the District of New Jersey   3:17-cv-12283         BURNS CHAREST LLP
RICKETTS, KATHLEEN         NJ - USDC for the District of New Jersey   3:18-cv-00232         BURNS CHAREST LLP
RILEY, TAYLOR              NJ - USDC for the District of New Jersey   3:19-cv-06554         BURNS CHAREST LLP
ROBINSON, CAROL            NJ - USDC for the District of New Jersey   3:16-cv-07502         BURNS CHAREST LLP
ROBINSON, CAROL            NJ - USDC for the District of New Jersey   3:16-cv-07502         BURNS CHAREST LLP
ROBINSON, FLEESA           NJ - USDC for the District of New Jersey   3:18-cv-05828         BURNS CHAREST LLP
ROBINSON, LANNIE           NJ - USDC for the District of New Jersey   3:17-cv-09524         BURNS CHAREST LLP
ROBINSON, LANNIE           NJ - USDC for the District of New Jersey   3:17-cv-09524         BURNS CHAREST LLP
ROBINSON, LENORA           NJ - USDC for the District of New Jersey   3:18-cv-02745         BURNS CHAREST LLP
ROBINSON, LENORA           NJ - USDC for the District of New Jersey   3:18-cv-02745         BURNS CHAREST LLP
ROBINSON, LILA             NJ - USDC for the District of New Jersey   3:19-cv-13101         BURNS CHAREST LLP
ROBINSON, LILA             NJ - USDC for the District of New Jersey   3:19-cv-13101         BURNS CHAREST LLP
ROBLES, ELAINE             NJ - USDC for the District of New Jersey   3:18-cv-01552         BURNS CHAREST LLP
ROBLES, ELAINE             NJ - USDC for the District of New Jersey   3:18-cv-01552         BURNS CHAREST LLP
ROCKWOOD, GENEVA           NJ - USDC for the District of New Jersey   3:19-cv-17640         BURNS CHAREST LLP
ROCKWOOD, GENEVA           NJ - USDC for the District of New Jersey   3:19-cv-17640         BURNS CHAREST LLP
ROOHAN, JANICE             NJ - USDC for the District of New Jersey   3:17-cv-09784         BURNS CHAREST LLP
ROOHAN, JANICE             NJ - USDC for the District of New Jersey   3:17-cv-09784         BURNS CHAREST LLP
ROOT, LINDA                CA - Superior Court - San Bernardino County CIVDS1811937         BURNS CHAREST LLP
ROSATO, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-02120         BURNS CHAREST LLP
ROSATO, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-02120         BURNS CHAREST LLP




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         Claimant Name                   State Filed                     Docket Number                  Plaintiff Counsel
ROSEFELD, JOSEPHINE      CA - Superior Court - San Diego County     37-2018-22837-CU-MT-CTL BURNS CHAREST LLP
ROSS, LYNN               NJ - USDC for the District of New Jersey   3:18-cv-01803           BURNS CHAREST LLP
ROSS, LYNN               NJ - USDC for the District of New Jersey   3:18-cv-01803           BURNS CHAREST LLP
ROSSEY, MARYANN          NJ - USDC for the District of New Jersey   3:18-cv-00243           BURNS CHAREST LLP
RUBAGO, ROSANNA          NJ - USDC for the District of New Jersey   3:19-cv-06551           BURNS CHAREST LLP
RUGGIERO, MARIE          NJ - USDC for the District of New Jersey   3:17-cv-05699           BURNS CHAREST LLP
RUGGIERO, MARIE          NJ - USDC for the District of New Jersey   3:17-cv-05699           BURNS CHAREST LLP
RUNION, DORETTA          NJ - USDC for the District of New Jersey   3:18-cv-16801           BURNS CHAREST LLP
SALMON, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-01551           BURNS CHAREST LLP
SALMON, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-01551           BURNS CHAREST LLP
SALMON, JONNIE           NJ - USDC for the District of New Jersey   3:17-cv-10976           BURNS CHAREST LLP
SALMON, JONNIE           NJ - USDC for the District of New Jersey   3:17-cv-10976           BURNS CHAREST LLP
SANCHEZ, ADELITA         NJ - USDC for the District of New Jersey   3:18-cv-00265           BURNS CHAREST LLP
SANCHEZ, ADELITA         NJ - USDC for the District of New Jersey   3:18-cv-00265           BURNS CHAREST LLP
SANDERS, PAULA           NJ - USDC for the District of New Jersey   3:18-cv-01497           BURNS CHAREST LLP
SANDERS, PAULA           NJ - USDC for the District of New Jersey   3:18-cv-01497           BURNS CHAREST LLP
SANDERS, SHANNON         NJ - USDC for the District of New Jersey   3:18-cv-11123           BURNS CHAREST LLP
SANTOS, JUDYTH           NJ - USDC for the District of New Jersey   3:19-cv-01014           BURNS CHAREST LLP
SANTOS, JUDYTH           NJ - USDC for the District of New Jersey   3:19-cv-01014           BURNS CHAREST LLP
                                                                    56-2018-511678-CU-MT-
SASAKI, ELENA            CA - Superior Court - Ventura County                               BURNS CHAREST LLP
                                                                    VTA
SAVAGE, IDONIA           NJ - USDC for the District of New Jersey   3:18-cv-17156           BURNS CHAREST LLP
SCHATTILLY, TERRY        NJ - USDC for the District of New Jersey   3:18-cv-00636           BURNS CHAREST LLP
SCHATTILLY, TERRY        NJ - USDC for the District of New Jersey   3:18-cv-00636           BURNS CHAREST LLP
SCHWEINSBERG, LYNNE      NJ - USDC for the District of New Jersey   3:18-cv-13699           BURNS CHAREST LLP
SCHWERZEL, SUSAN         NJ - USDC for the District of New Jersey   3:18-cv-10610           BURNS CHAREST LLP
SCOTT, EMMA              NJ - USDC for the District of New Jersey   3:20-cv-17296           BURNS CHAREST LLP
SCOTT, FRANCINE          NJ - USDC for the District of New Jersey   3:19-cv-06507           BURNS CHAREST LLP
SCOTT, ROCHELLE          NJ - USDC for the District of New Jersey   3:17-cv-06478           BURNS CHAREST LLP
SHEPPARD, TERESSA        NJ - USDC for the District of New Jersey   3:19-cv-17880           BURNS CHAREST LLP
SHEPPARD, TERESSA        NJ - USDC for the District of New Jersey   3:19-cv-17880           BURNS CHAREST LLP
SHIPLEY, VIRGINIA        NJ - USDC for the District of New Jersey   3:18-cv-00165           BURNS CHAREST LLP
SHUMPERT, MARY           NJ - USDC for the District of New Jersey   3:17-cv-10790           BURNS CHAREST LLP
SHUMPERT, MARY           NJ - USDC for the District of New Jersey   3:17-cv-10790           BURNS CHAREST LLP
SHUPP, VELMA             NJ - USDC for the District of New Jersey   3:18-cv-02242           BURNS CHAREST LLP
SHUPP, VELMA             NJ - USDC for the District of New Jersey   3:18-cv-02242           BURNS CHAREST LLP
SIMMONS, BRENDA          NJ - USDC for the District of New Jersey   3:18-cv-00684           BURNS CHAREST LLP
SIMMONS, BRENDA          NJ - USDC for the District of New Jersey   3:18-cv-00684           BURNS CHAREST LLP
SLOAN, EDNA              NJ - USDC for the District of New Jersey   3:18-cv-15068           BURNS CHAREST LLP
SMITH, EVELYN            NJ - USDC for the District of New Jersey   3:17-cv-12863           BURNS CHAREST LLP
SMITH, EVELYN            NJ - USDC for the District of New Jersey   3:17-cv-12863           BURNS CHAREST LLP
SMITH, GWENDOLYN         NJ - USDC for the District of New Jersey   3:17-cv-12861           BURNS CHAREST LLP
SMITH, IRMA              NJ - USDC for the District of New Jersey   3:18-cv-00250           BURNS CHAREST LLP
SMITH, IRMA              NJ - USDC for the District of New Jersey   3:18-cv-00250           BURNS CHAREST LLP
SMITH, PAULINE           NJ - USDC for the District of New Jersey   3:18-cv-14853           BURNS CHAREST LLP
SMITH, SHERRY            NJ - USDC for the District of New Jersey   3:17-cv-03292           BURNS CHAREST LLP
SMITH, SHERRY            NJ - USDC for the District of New Jersey   3:17-cv-03292           BURNS CHAREST LLP
SOJKA, DEMARIAS          NJ - USDC for the District of New Jersey   3:17-cv-07080           BURNS CHAREST LLP
SOJKA, DEMARIAS          NJ - USDC for the District of New Jersey   3:17-cv-07080           BURNS CHAREST LLP
SOMERS, GERALDINE        NJ - USDC for the District of New Jersey   3:19-cv-01023           BURNS CHAREST LLP
SPENNY, GLADYS           NJ - USDC for the District of New Jersey   3:16-cv-07884           BURNS CHAREST LLP
SPENNY, GLADYS           NJ - USDC for the District of New Jersey   3:16-cv-07884           BURNS CHAREST LLP
SPETRINI, PATRICIA       NJ - USDC for the District of New Jersey   3:19-cv-16997           BURNS CHAREST LLP
SPETRINI, PATRICIA       NJ - USDC for the District of New Jersey   3:19-cv-16997           BURNS CHAREST LLP
SPIEGEL-WIRHOL, PAMELA   NJ - USDC for the District of New Jersey   3:17-cv-10304           BURNS CHAREST LLP
SPIEGEL-WIRHOL, PAMELA   NJ - USDC for the District of New Jersey   3:17-cv-10304           BURNS CHAREST LLP
SPIER, KATJE             NJ - USDC for the District of New Jersey   3:17-cv-02943           BURNS CHAREST LLP
SPIER, KATJE             NJ - USDC for the District of New Jersey   3:17-cv-02943           BURNS CHAREST LLP
STEPHENS, DEBORAH        NJ - USDC for the District of New Jersey   3:18-cv-00651           BURNS CHAREST LLP
STEPHENS, DEBORAH        NJ - USDC for the District of New Jersey   3:18-cv-00651           BURNS CHAREST LLP
STEPHENS, GERALDINE      NJ - USDC for the District of New Jersey   3:17-cv-07164           BURNS CHAREST LLP
STEPHENS, GERALDINE      NJ - USDC for the District of New Jersey   3:17-cv-07164           BURNS CHAREST LLP
STEWART, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-07116           BURNS CHAREST LLP
STEWART, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-07116           BURNS CHAREST LLP
STEWART, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-07287           BURNS CHAREST LLP
STEWART, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-07287           BURNS CHAREST LLP
STEWART, RACHEL          NJ - USDC for the District of New Jersey   3:18-cv-11121           BURNS CHAREST LLP
STEWART, SERAH           NJ - USDC for the District of New Jersey   3:17-cv-10983           BURNS CHAREST LLP
STEWART, SERAH           NJ - USDC for the District of New Jersey   3:17-cv-10983           BURNS CHAREST LLP
STEWART, TAMMY           NJ - USDC for the District of New Jersey   3:17-cv-12962           BURNS CHAREST LLP
STEWART, TAMMY           NJ - USDC for the District of New Jersey   3:17-cv-12962           BURNS CHAREST LLP
STEWART, TONI            NJ - USDC for the District of New Jersey   3:18-cv-01547           BURNS CHAREST LLP
STEWART, TONI            NJ - USDC for the District of New Jersey   3:18-cv-01547           BURNS CHAREST LLP
STOCKTON, PATRICIA       NJ - USDC for the District of New Jersey   3:18-cv-01556           BURNS CHAREST LLP
STOCKTON, PATRICIA       NJ - USDC for the District of New Jersey   3:18-cv-01556           BURNS CHAREST LLP
STOWELL, NANCY           NJ - USDC for the District of New Jersey   3:18-cv-16085           BURNS CHAREST LLP
STRONG, DENISE           NJ - USDC for the District of New Jersey   3:17-cv-06632           BURNS CHAREST LLP
STROTH, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-01285           BURNS CHAREST LLP
STROTH, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-01285           BURNS CHAREST LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
STUART, JILL              NJ - USDC for the District of New Jersey   3:17-cv-03381         BURNS CHAREST LLP
STUART, JILL              NJ - USDC for the District of New Jersey   3:17-cv-03381         BURNS CHAREST LLP
SYKES, LOUISE             NJ - USDC for the District of New Jersey   3:20-cv-17288         BURNS CHAREST LLP
TALBOTT, SHERI            NJ - USDC for the District of New Jersey   3:17-cv-06078         BURNS CHAREST LLP
TANT, ROB                 NJ - USDC for the District of New Jersey   3:18-cv-11487         BURNS CHAREST LLP
TAYLOR, KIMBERLY          NJ - USDC for the District of New Jersey   3:17-cv-12502         BURNS CHAREST LLP
TAYLOR, MARION            NJ - USDC for the District of New Jersey   3:18-cv-01555         BURNS CHAREST LLP
TAYLOR, MARION            NJ - USDC for the District of New Jersey   3:18-cv-01555         BURNS CHAREST LLP
THOMAS, KATHRYN           NJ - USDC for the District of New Jersey   3:18-cv-00237         BURNS CHAREST LLP
THOMAS, MARY              NJ - USDC for the District of New Jersey   3:19-cv-00280         BURNS CHAREST LLP
THOMPSON, CRYSTAL         NJ - USDC for the District of New Jersey   3:16-cv-08722         BURNS CHAREST LLP
THOMPSON, SUE             NJ - USDC for the District of New Jersey   3:17-cv-12859         BURNS CHAREST LLP
THOMPSON, SUE             NJ - USDC for the District of New Jersey   3:17-cv-12859         BURNS CHAREST LLP
TISCHNER, JOYCE           NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
TISCHNER, JOYCE           NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
TODD, EMMA                NJ - USDC for the District of New Jersey   3:17-cv-07094         BURNS CHAREST LLP
TODD, EMMA                NJ - USDC for the District of New Jersey   3:17-cv-07094         BURNS CHAREST LLP
TODD, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-17158         BURNS CHAREST LLP
TRAHERN, DEBRA            NJ - USDC for the District of New Jersey   3:18-cv-01529         BURNS CHAREST LLP
TRAHERN, DEBRA            NJ - USDC for the District of New Jersey   3:18-cv-01529         BURNS CHAREST LLP
TRIBE, RITA               NJ - USDC for the District of New Jersey   3:18-cv-13446         BURNS CHAREST LLP
VASTERELLA, ROSE          NJ - USDC for the District of New Jersey   3:18-cv-02362         BURNS CHAREST LLP
VASTERELLA, ROSE          NJ - USDC for the District of New Jersey   3:18-cv-02362         BURNS CHAREST LLP
VILLELLA, ROBERTA         NJ - USDC for the District of New Jersey   3:17-cv-00512         BURNS CHAREST LLP
VINES, KELLIE             NJ - USDC for the District of New Jersey   3:19-cv-16994         BURNS CHAREST LLP
VINES, KELLIE             NJ - USDC for the District of New Jersey   3:19-cv-16994         BURNS CHAREST LLP
VINSON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-12506         BURNS CHAREST LLP
VOLK, ELAINE              NJ - USDC for the District of New Jersey   3:18-cv-14295         BURNS CHAREST LLP
WADE, YVONNE              NJ - USDC for the District of New Jersey   3:17-cv-02775         BURNS CHAREST LLP
WASHINGTON, ROSALYN       NJ - USDC for the District of New Jersey   3:19-cv-13522         BURNS CHAREST LLP
WASHINGTON, ROSALYN       NJ - USDC for the District of New Jersey   3:19-cv-13522         BURNS CHAREST LLP
WATERHOUSE, KAY           NJ - USDC for the District of New Jersey   3:16-cv-07336         BURNS CHAREST LLP
WATSON, ESTHER            NJ - USDC for the District of New Jersey   3:18-cv-05827         BURNS CHAREST LLP
WEATHERFORD, IOTRA        NJ - USDC for the District of New Jersey   3:19-cv-01011         BURNS CHAREST LLP
WEBBER, KIM               NJ - USDC for the District of New Jersey   3:19-cv-01015         BURNS CHAREST LLP
WEBER, LYNDA              NJ - USDC for the District of New Jersey   3:17-cv-07758         BURNS CHAREST LLP
WELLS, MARCIA             NJ - USDC for the District of New Jersey   3:18-cv-01538         BURNS CHAREST LLP
WELLS, MARCIA             NJ - USDC for the District of New Jersey   3:18-cv-01538         BURNS CHAREST LLP
WELLS, MARGIE             NJ - USDC for the District of New Jersey   3:17-cv-07993         BURNS CHAREST LLP
WHEET, GLADIES            NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
WHEET, GLADIES            NJ - USDC for the District of New Jersey   3:17-cv-02943         BURNS CHAREST LLP
WHICKER, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-08740         BURNS CHAREST LLP
WHICKER, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-08740         BURNS CHAREST LLP
WHITAKER, JOYCE           NJ - USDC for the District of New Jersey   3:17-cv-11430         BURNS CHAREST LLP
WHITE, TABRIL             NJ - USDC for the District of New Jersey   3:18-cv-01501         BURNS CHAREST LLP
WHITE, TABRIL             NJ - USDC for the District of New Jersey   3:18-cv-01501         BURNS CHAREST LLP
WICKS, ANTRENA            NJ - USDC for the District of New Jersey   3:18-cv-00648         BURNS CHAREST LLP
WICKS, ANTRENA            NJ - USDC for the District of New Jersey   3:18-cv-00648         BURNS CHAREST LLP
WIGGINS, JUDY             NJ - USDC for the District of New Jersey   3:19-cv-12101         BURNS CHAREST LLP
WIGGINS, JUDY             NJ - USDC for the District of New Jersey   3:19-cv-12101         BURNS CHAREST LLP
WILKINS, JUANITA          NJ - USDC for the District of New Jersey   3:17-cv-07992         BURNS CHAREST LLP
WILKINS, JUANITA          NJ - USDC for the District of New Jersey   3:17-cv-07992         BURNS CHAREST LLP
WILKS, HARRIET            NJ - USDC for the District of New Jersey   3:20-cv-17278         BURNS CHAREST LLP
WILLIAMS, JANNETTE        NJ - USDC for the District of New Jersey   3:18-cv-09548         BURNS CHAREST LLP
WILLIAMS, KRYSTAL         NJ - USDC for the District of New Jersey   3:17-cv-08729         BURNS CHAREST LLP
WILLIAMS, KRYSTAL         NJ - USDC for the District of New Jersey   3:17-cv-08729         BURNS CHAREST LLP
WILLIAMS, LATEASHA        NJ - USDC for the District of New Jersey   3:18-cv-02245         BURNS CHAREST LLP
WILLIAMS, LATEASHA        NJ - USDC for the District of New Jersey   3:18-cv-02245         BURNS CHAREST LLP
WILLIAMS, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-07994         BURNS CHAREST LLP
WILLIAMS, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-07994         BURNS CHAREST LLP
WILLIS, PATSY             NJ - USDC for the District of New Jersey   3:19-cv-01020         BURNS CHAREST LLP
WILSON, MARGARET          NJ - USDC for the District of New Jersey   3:17-cv-07763         BURNS CHAREST LLP
WILSON, MARGARET          NJ - USDC for the District of New Jersey   3:17-cv-07763         BURNS CHAREST LLP
WILSON, TINA              NJ - USDC for the District of New Jersey   3:18-cv-14499         BURNS CHAREST LLP
WIMBERLY, AMBROSINA       NJ - USDC for the District of New Jersey   3:18-cv-00643         BURNS CHAREST LLP
WIMBERLY, AMBROSINA       NJ - USDC for the District of New Jersey   3:18-cv-00643         BURNS CHAREST LLP
WINSTON, BARBARA FISHER   NJ - USDC for the District of New Jersey   3:17-cv-11830         BURNS CHAREST LLP
WINTERS, CATHERINE        NJ - USDC for the District of New Jersey   3:18-cv-00693         BURNS CHAREST LLP
WINTERS, CATHERINE        NJ - USDC for the District of New Jersey   3:18-cv-00693         BURNS CHAREST LLP
WITHERSPOON, MARY         NJ - USDC for the District of New Jersey   3:16-cv-09615         BURNS CHAREST LLP
WOODS, PAMELA             NJ - USDC for the District of New Jersey   3:16-cv-07664         BURNS CHAREST LLP
WOODS, PAMELA             NJ - USDC for the District of New Jersey   3:16-cv-07664         BURNS CHAREST LLP
WORSECK, AMY              NJ - USDC for the District of New Jersey   3:18-cv-01448         BURNS CHAREST LLP
WORSECK, AMY              NJ - USDC for the District of New Jersey   3:18-cv-01448         BURNS CHAREST LLP
YGLESIA, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-03206         BURNS CHAREST LLP
YGLESIA, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-03206         BURNS CHAREST LLP
ZAMBRANO, BRIANA          CA - Superior Court - San Diego County     37-2018-22860-CU-MT-CTL BURNS CHAREST LLP
ZANDARSKI, CATHY          NJ - USDC for the District of New Jersey   3:18-cv-00711         BURNS CHAREST LLP
ZANDARSKI, CATHY          NJ - USDC for the District of New Jersey   3:18-cv-00711         BURNS CHAREST LLP




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          Claimant Name                     State Filed                      Docket Number                 Plaintiff Counsel
ZANK, JENIE                 NJ - USDC for the District of New Jersey   3:18-cv-14288         BURNS CHAREST LLP
ZUCATI, MICHELLE            NJ - USDC for the District of New Jersey   3:18-cv-00527         BURNS CHAREST LLP
FINLEY, MELANIE             NJ - USDC for the District of New Jersey   3:17-cv-02391         BUZIN LAW, P.C.
ALLEN, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-01874         CAMPBELL & ASSOCIATES
BROWN, ELAINE               NJ - USDC for the District of New Jersey   3:20-cv-15222         CAMPBELL & ASSOCIATES
BRYANT, CASSANDRA           NJ - USDC for the District of New Jersey   3:20-cv-14713         CAMPBELL & ASSOCIATES
CALDWELL, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-15926         CAMPBELL & ASSOCIATES
EASTER, TRAMAINE            NJ - USDC for the District of New Jersey   3:20-cv-15224         CAMPBELL & ASSOCIATES
HADLEY, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-01597         CAMPBELL & ASSOCIATES
KAMBERG, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-02180         CAMPBELL & ASSOCIATES
KIKER, GLORIA CRISCO        NJ - USDC for the District of New Jersey   3:21-cv-06453         CAMPBELL & ASSOCIATES
PAYNE, JANET                NJ - USDC for the District of New Jersey   3:20-cv-15520         CAMPBELL & ASSOCIATES
ROBINSON, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-15226         CAMPBELL & ASSOCIATES
SHELTON, BRENDA             NJ - USDC for the District of New Jersey   3:16-cv-07415         CAMPBELL & ASSOCIATES
SINCLAIR, DELOISE           NJ - USDC for the District of New Jersey   3:18-cv-08157         CAMPBELL & ASSOCIATES
SMITH, GLORIA               NJ - USDC for the District of New Jersey   3:20-cv-15328         CAMPBELL & ASSOCIATES
WOLFE, PATRICIA             NJ - USDC for the District of New Jersey   3:19-cv-12767         CAMPBELL LAW FIRM
SYKES, STEPHANIE            NJ - USDC for the District of New Jersey   3:17-cv-06569         CAPRETZ & ASSOCIATES
ACEVEDO, HAIDEE             NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
CANCEL AYALA, NORMA         NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
CINTRON, MARTA              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
COLON, MIRNEVA              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
CRUZ-GUZMAN, CARMEN         NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
DIVIDUO, ZULMA              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
FLORES, HELEN               NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
FLORES-RODRIGUEZ, SAMARY    NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
GONZALEZ, ROSE              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
HERNANDEZ, DORIS            NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
HERNANDEZ, JUANITA          NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
HERNANDEZ, NEREIDA          NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
LEON, MIGDALIA              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
MALDONADO, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
OJEDA BAELLO, SANDRA        NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
PEDROZA, NIDIA              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RAMIREZ, ANA                NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RAMOS, ARISEL               NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RAMOS-MORENO, PURA          NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RIVERA, IVETTE              NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RODRIGUEZ, HAYDEE           NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RODRIGUEZ-OQUENDO, CARMEN   NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
RUIZ, MARITZAENID           NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
TABOA, MIGDALIA             NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
VAZQUEZ-GARCIA, LUZ         NJ - USDC for the District of New Jersey   3:18-cv-00808         CARAZO QUETGLAS LAW OFFICES
STURM, PATRICIA             NJ - USDC for the District of New Jersey   3:19-cv-17239         CARDARO & PEEK, L.L.C.
REYNOLDS, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-11396         CARLSON LAW FIRM
THOMPSON, LISA              NJ - USDC for the District of New Jersey   3:21-cv-11378         CARLSON LAW FIRM
JOHNSON, IRENE              NJ - USDC for the District of New Jersey   3:19-cv-06754         CARPENTER & SCHUMACHER, PC
ASCHINGER, MARY             NJ - USDC for the District of New Jersey   3:17-cv-10941         CATES MAHONEY, LLC
DIXON, BRENDA               NJ - USDC for the District of New Jersey   3:18-cv-02373         CATES MAHONEY, LLC
GEATHERS, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-02426         CATES MAHONEY, LLC
GILL, VIRGINIA              NJ - USDC for the District of New Jersey   3:18-cv-02428         CATES MAHONEY, LLC
GOLDSCHMIDT, CASSABDRA      NJ - USDC for the District of New Jersey   3:18-cv-02383         CATES MAHONEY, LLC
GRESKE, JANET               NJ - USDC for the District of New Jersey   3:17-cv-10764         CATES MAHONEY, LLC
MARGULIES, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-02431         CATES MAHONEY, LLC
MILLER, TERESSA             NJ - USDC for the District of New Jersey   3:18-cv-02384         CATES MAHONEY, LLC
PROKOP, CYNTHIA             NJ - USDC for the District of New Jersey   3:18-cv-02385         CATES MAHONEY, LLC
RAY, MARY                   NJ - USDC for the District of New Jersey   3:17-cv-10755         CATES MAHONEY, LLC
ROBBINS, CINDY              NJ - USDC for the District of New Jersey   3:18-cv-02386         CATES MAHONEY, LLC
SMITH, DEANNA               NJ - USDC for the District of New Jersey   3:17-cv-10747         CATES MAHONEY, LLC
STEWART, KAREN              NJ - USDC for the District of New Jersey   3:18-cv-02433         CATES MAHONEY, LLC
SZAFRANSKI, ANNETTE         NJ - USDC for the District of New Jersey   3:18-cv-02387         CATES MAHONEY, LLC
TAUBIG, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-10945         CATES MAHONEY, LLC
ABEL, HAYDEE                NJ - USDC for the District of New Jersey   3:20-cv-00114         CELLINO & BARNES, P.C.
ACREE, DOROTHY              NJ - USDC for the District of New Jersey   3:19-cv-14025         CELLINO & BARNES, P.C.
ACTON, ELIZABETH            NJ - USDC for the District of New Jersey   3:19-cv-19188         CELLINO & BARNES, P.C.
ADORNO, CARMEN              NJ - USDC for the District of New Jersey   3:19-cv-18220         CELLINO & BARNES, P.C.
ADRAGNA, DOREEN             NJ - USDC for the District of New Jersey   3:19-cv-15082         CELLINO & BARNES, P.C.
AGUILAR, MAGGIE             NJ - USDC for the District of New Jersey   3:19-cv-18289         CELLINO & BARNES, P.C.
AGUIRRE, MARITZA            NJ - USDC for the District of New Jersey   3:19-cv-09093         CELLINO & BARNES, P.C.
ALBORANO, JEANNE            NJ - USDC for the District of New Jersey   3:19-cv-19320         CELLINO & BARNES, P.C.
ALLBACK, CLAIRE             NJ - USDC for the District of New Jersey   3:20-cv-00024         CELLINO & BARNES, P.C.
ALLEN, RUTH                 NJ - USDC for the District of New Jersey   3:20-cv-00020         CELLINO & BARNES, P.C.
ALVAREZ, BERTHA             NJ - USDC for the District of New Jersey   3:20-cv-00025         CELLINO & BARNES, P.C.
AMENDOLA, RACHELLE          NJ - USDC for the District of New Jersey   3:20-cv-05717         CELLINO & BARNES, P.C.
ANDERSON, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-15299         CELLINO & BARNES, P.C.
ANDERSON, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-18224         CELLINO & BARNES, P.C.
ANDERSON, DELANDRA          NJ - USDC for the District of New Jersey   3:18-cv-09895         CELLINO & BARNES, P.C.
ANDREOTTI, SHARON           NJ - USDC for the District of New Jersey   3:19-cv-19912         CELLINO & BARNES, P.C.
ANGELL, IRENE               NJ - USDC for the District of New Jersey   3:19-cv-18684         CELLINO & BARNES, P.C.
ANTOCICCO, YOLANDA          NJ - USDC for the District of New Jersey   3:20-cv-00919         CELLINO & BARNES, P.C.




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          Claimant Name                           State Filed                       Docket Number                Plaintiff Counsel
ANTONUCCI, MARGARET               NJ - USDC for the District of New Jersey    3:19-cv-20585         CELLINO & BARNES, P.C.
ARAUJO, GLORIA                    NJ - USDC for the District of New Jersey    3:19-cv-18796         CELLINO & BARNES, P.C.
ARIBON, JUDITH                    NJ - USDC for the District of New Jersey    3:18-cv-09990         CELLINO & BARNES, P.C.
ARROYO, MERIDA                    NJ - USDC for the District of New Jersey    3:19-cv-09244         CELLINO & BARNES, P.C.
ARROYO, WHILHELMINA               NJ - USDC for the District of New Jersey    3:18-cv-08491         CELLINO & BARNES, P.C.
AZDAR, GAIL                       NJ - USDC for the District of New Jersey    3:18-cv-02279         CELLINO & BARNES, P.C.
BAILEY, CHRISTINE                 NJ - USDC for the District of New Jersey    3:20-cv-00856         CELLINO & BARNES, P.C.
BAILEY, TAMMY                     NJ - USDC for the District of New Jersey    3:19-cv-15531         CELLINO & BARNES, P.C.
BAIR, FRANCES                     NJ - USDC for the District of New Jersey    3:18-cv-14980         CELLINO & BARNES, P.C.
BALSAMO, VICTORIA                 NJ - USDC for the District of New Jersey    3:19-cv-15081         CELLINO & BARNES, P.C.
BAPTIST, JACQUELINE               NJ - USDC for the District of New Jersey    3:17-cv-07715         CELLINO & BARNES, P.C.
BARAN, IRENA                      NJ - USDC for the District of New Jersey    3:20-cv-00072         CELLINO & BARNES, P.C.
BARATZ, RITA                      NJ - USDC for the District of New Jersey    3:20-cv-05719         CELLINO & BARNES, P.C.
BARBER-BOTZKO, GLORIA             NJ - USDC for the District of New Jersey    3:20-cv-02281         CELLINO & BARNES, P.C.
BARIATTI, HARRIET                 NJ - USDC for the District of New Jersey    3:18-cv-05400         CELLINO & BARNES, P.C.
BARNSTORF, ROBERTA                NJ - USDC for the District of New Jersey    3:20-cv-01702         CELLINO & BARNES, P.C.
BARTASI, MARY                     NJ - USDC for the District of New Jersey    3:20-cv-00095         CELLINO & BARNES, P.C.
BARTUS, BARBARA                   NJ - USDC for the District of New Jersey    3:19-cv-20873         CELLINO & BARNES, P.C.
BEACH, THERESA                    NJ - USDC for the District of New Jersey    3:19-cv-20574         CELLINO & BARNES, P.C.
BEALS, BRENDA                     NJ - USDC for the District of New Jersey    3:19-cv-19727         CELLINO & BARNES, P.C.
BEASLEY, DONNA                    NJ - USDC for the District of New Jersey    3:19-cv-16672         CELLINO & BARNES, P.C.
BEDWELL-JACKSON, JESSICA          NJ - USDC for the District of New Jersey    3:18-cv-15137         CELLINO & BARNES, P.C.
BEEHLER, BONNIE                   NJ - USDC for the District of New Jersey    3:19-cv-18209         CELLINO & BARNES, P.C.
BENNETT, DOROTHY                  NJ - USDC for the District of New Jersey    3:18-cv-14581         CELLINO & BARNES, P.C.
BENTFORD, SHARON                  NJ - USDC for the District of New Jersey    3:20-cv-02129         CELLINO & BARNES, P.C.
BERDZIK, DEBORAH                  NJ - USDC for the District of New Jersey    3:19-cv-15699         CELLINO & BARNES, P.C.
BERGHEGER, SUSAN                  NJ - USDC for the District of New Jersey    3:18-cv-12682         CELLINO & BARNES, P.C.
BERLOWITZ, MYRA                   NJ - USDC for the District of New Jersey    3:19-cv-18076         CELLINO & BARNES, P.C.
BIBER, ANGELA                     NJ - USDC for the District of New Jersey    3:20-cv-05951         CELLINO & BARNES, P.C.
BLAKE, TERESA                     NJ - USDC for the District of New Jersey    3:19-cv-18780         CELLINO & BARNES, P.C.
BLANKENSHIP, CATHERINE            NJ - USDC for the District of New Jersey    3:18-cv-09053         CELLINO & BARNES, P.C.
BLUM, BEVERLY                     NJ - USDC for the District of New Jersey    3:18-cv-13250         CELLINO & BARNES, P.C.
BOLDEN, MARY                      NJ - USDC for the District of New Jersey    3:20-cv-00165         CELLINO & BARNES, P.C.
BOONSES, SOMJIT                   NJ - USDC for the District of New Jersey    3:18-cv-15313         CELLINO & BARNES, P.C.
BOSI, PATRICIA                    NJ - USDC for the District of New Jersey    3:18-cv-10960         CELLINO & BARNES, P.C.
BOURAY-SPECHTENHAUSER, MARY NJ - USDC for the District of New Jersey          3:20-cv-00017         CELLINO & BARNES, P.C.
                                  NY - USDC for the Eastern District of New
BOVE, MARYANN                                                                 0:21-cv-02296         CELLINO & BARNES, P.C.
                                  York
                                  NY - USDC for the Eastern District of New
BOVE, MARYANN                                                                 2:21-cv-02296         CELLINO & BARNES, P.C.
                                  York
BOWIE, GWENDOLYN                  NJ - USDC for the District of New Jersey    3:19-cv-21188         CELLINO & BARNES, P.C.
BRANDNER, CAROL                   NJ - USDC for the District of New Jersey    3:20-cv-00809         CELLINO & BARNES, P.C.
BREWER, LINDA                     NJ - USDC for the District of New Jersey    3:17-cv-12468         CELLINO & BARNES, P.C.
BREWSTER, DEBORAH                 NJ - USDC for the District of New Jersey    3:19-cv-19718         CELLINO & BARNES, P.C.
BRIDGEWATER, MARILYN              NJ - USDC for the District of New Jersey    3:20-cv-00245         CELLINO & BARNES, P.C.
BRISTOW, FELECIA                  NJ - USDC for the District of New Jersey    3:19-cv-19079         CELLINO & BARNES, P.C.
BROOKINS, MATTIE                  NJ - USDC for the District of New Jersey    3:20-cv-00708         CELLINO & BARNES, P.C.
BROOKS, MARCIA                    NJ - USDC for the District of New Jersey    3:19-cv-20999         CELLINO & BARNES, P.C.
BROWN, ARLENE                     NJ - USDC for the District of New Jersey    3:19-cv-16645         CELLINO & BARNES, P.C.
BROWN, JOAN                       NJ - USDC for the District of New Jersey    3:19-cv-18077         CELLINO & BARNES, P.C.
BROWN, KATHY                      NJ - USDC for the District of New Jersey    3:19-cv-19872         CELLINO & BARNES, P.C.
BRUNDIDGE, MARY                   NJ - USDC for the District of New Jersey    3:20-cv-07607         CELLINO & BARNES, P.C.
BRUNIER, CAROL                    NJ - USDC for the District of New Jersey    3:19-cv-19404         CELLINO & BARNES, P.C.
BRYANT, DIXIE                     NJ - USDC for the District of New Jersey    3:18-cv-14593         CELLINO & BARNES, P.C.
BUFFAMONTI, MARY                  NJ - USDC for the District of New Jersey    3:20-cv-08394         CELLINO & BARNES, P.C.
BUKATY, JULIANNE                  NJ - USDC for the District of New Jersey    3:19-cv-17745         CELLINO & BARNES, P.C.
BURGIO, SHARON                    NJ - USDC for the District of New Jersey    3:19-cv-15044         CELLINO & BARNES, P.C.
BURLEY, ERIN                      NJ - USDC for the District of New Jersey    3:18-cv-13952         CELLINO & BARNES, P.C.
BURNS, PATRICIA                   NJ - USDC for the District of New Jersey    3:20-cv-04571         CELLINO & BARNES, P.C.
BURTON, VERDA                     NJ - USDC for the District of New Jersey    3:20-cv-05231         CELLINO & BARNES, P.C.
BUZZELLI, ANN                     NJ - USDC for the District of New Jersey    3:19-cv-18777         CELLINO & BARNES, P.C.
BYERS, BONNIE                     NJ - USDC for the District of New Jersey    3:19-cv-21976         CELLINO & BARNES, P.C.
BZDAFKA, JENNIFER                 NJ - USDC for the District of New Jersey    3:19-cv-14027         CELLINO & BARNES, P.C.
CABA, JUANA                       NJ - USDC for the District of New Jersey    3:19-cv-20730         CELLINO & BARNES, P.C.
CALVIELLO, GERALDINE              NJ - USDC for the District of New Jersey    3:19-cv-21044         CELLINO & BARNES, P.C.
CAMPBELL, ARLENE                  NJ - USDC for the District of New Jersey    3:19-cv-15502         CELLINO & BARNES, P.C.
CARMICHAEL, TERRIE                NJ - USDC for the District of New Jersey    3:19-cv-01983         CELLINO & BARNES, P.C.
CARPEN, NANDIKUMARIE              NJ - USDC for the District of New Jersey    3:19-cv-12976         CELLINO & BARNES, P.C.
CARPENTER, CAROLYN                NJ - USDC for the District of New Jersey    3:18-cv-14985         CELLINO & BARNES, P.C.
CARTOLANO, FRANCINE               NJ - USDC for the District of New Jersey    3:18-cv-14994         CELLINO & BARNES, P.C.
CASSELLA, SILVERIA                NJ - USDC for the District of New Jersey    3:19-cv-21064         CELLINO & BARNES, P.C.
CASTIGLONE, JEANROSE              NJ - USDC for the District of New Jersey    3:18-cv-00471         CELLINO & BARNES, P.C.
CATO, LINDA                       NJ - USDC for the District of New Jersey    3:19-cv-19885         CELLINO & BARNES, P.C.
CEBALLOS, SONIA                   NJ - USDC for the District of New Jersey    3:19-cv-19910         CELLINO & BARNES, P.C.
CHAMBERLIN, CHRISTINE             NJ - USDC for the District of New Jersey    3:18-cv-00469         CELLINO & BARNES, P.C.
CHRISTOPHER, NANCY                NJ - USDC for the District of New Jersey    3:19-cv-21155         CELLINO & BARNES, P.C.
CHUDYK, KRISTINE                  NJ - USDC for the District of New Jersey    3:19-cv-20771         CELLINO & BARNES, P.C.
CIMINO, CAROL                     NJ - USDC for the District of New Jersey    3:19-cv-21191         CELLINO & BARNES, P.C.
CIMINO, LAURA                     NJ - USDC for the District of New Jersey    3:19-cv-05592         CELLINO & BARNES, P.C.




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           Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
CIVIDANES, MAGDA           NJ - USDC for the District of New Jersey   3:18-cv-12943         CELLINO & BARNES, P.C.
COLBERT, BRANDIE           NJ - USDC for the District of New Jersey   3:19-cv-17742         CELLINO & BARNES, P.C.
COLLETTE, PAMELA           NJ - USDC for the District of New Jersey   3:19-cv-19075         CELLINO & BARNES, P.C.
COLON, ELAINE              NJ - USDC for the District of New Jersey   3:19-cv-19911         CELLINO & BARNES, P.C.
CONDELLO, DONNA            NJ - USDC for the District of New Jersey   3:19-cv-19988         CELLINO & BARNES, P.C.
CONEY, JIMMIE              NJ - USDC for the District of New Jersey   3:19-cv-19163         CELLINO & BARNES, P.C.
CONOLLY, LUCIE-PEARL       NJ - USDC for the District of New Jersey   3:19-cv-19829         CELLINO & BARNES, P.C.
CONRAD, MARY               NJ - USDC for the District of New Jersey   3:19-cv-21975         CELLINO & BARNES, P.C.
COOKS, SHANAY              NJ - USDC for the District of New Jersey   3:19-cv-18789         CELLINO & BARNES, P.C.
COOPER, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-06375         CELLINO & BARNES, P.C.
CORGLIANO, KATHLEEN        NJ - USDC for the District of New Jersey   3:17-cv-02383         CELLINO & BARNES, P.C.
COROMANDEL, KENDRA         NJ - USDC for the District of New Jersey   3:19-cv-19900         CELLINO & BARNES, P.C.
CORRSETTI, SALMA           NJ - USDC for the District of New Jersey   3:19-cv-20947         CELLINO & BARNES, P.C.
COSTA, ALTA                NJ - USDC for the District of New Jersey   3:20-cv-00128         CELLINO & BARNES, P.C.
COYE, JANICE               NJ - USDC for the District of New Jersey   3:18-cv-03162         CELLINO & BARNES, P.C.
CRANE, JACQUELINE          NJ - USDC for the District of New Jersey   3:19-cv-16460         CELLINO & BARNES, P.C.
CROAL, COLLETTE            NJ - USDC for the District of New Jersey   3:19-cv-16463         CELLINO & BARNES, P.C.
CROWE, REBEKAH             NJ - USDC for the District of New Jersey   3:20-cv-01432         CELLINO & BARNES, P.C.
CRUZ, VIVIAN               NJ - USDC for the District of New Jersey   3:18-cv-16260         CELLINO & BARNES, P.C.
CUEVAS, BRAUDELINA         NJ - USDC for the District of New Jersey   3:18-cv-12724         CELLINO & BARNES, P.C.
DAMBROSIA, ASCENZIA        NJ - USDC for the District of New Jersey   3:18-cv-14866         CELLINO & BARNES, P.C.
DARR, RUBY                 NJ - USDC for the District of New Jersey   3:20-cv-00294         CELLINO & BARNES, P.C.
DAVIS, JUDY                NJ - USDC for the District of New Jersey   3:20-cv-00326         CELLINO & BARNES, P.C.
DAVISON, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-13816         CELLINO & BARNES, P.C.
DAY-ROSS, CARMELIZA        NJ - USDC for the District of New Jersey   3:19-cv-19724         CELLINO & BARNES, P.C.
DEATON, LEA                NJ - USDC for the District of New Jersey   3:19-cv-13022         CELLINO & BARNES, P.C.
DECARLO, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-20866         CELLINO & BARNES, P.C.
DECLERCK, DIANE            NJ - USDC for the District of New Jersey   3:19-cv-20946         CELLINO & BARNES, P.C.
DELPRIORE, MARY            NJ - USDC for the District of New Jersey   3:19-cv-17045         CELLINO & BARNES, P.C.
DEMAS, CLAIRE              NJ - USDC for the District of New Jersey   3:19-cv-19710         CELLINO & BARNES, P.C.
DEPACE, FRANCES            NJ - USDC for the District of New Jersey   3:18-cv-16167         CELLINO & BARNES, P.C.
DETONNO, THERESA           NJ - USDC for the District of New Jersey   3:19-cv-18797         CELLINO & BARNES, P.C.
DETORRE, JOANNE            NJ - USDC for the District of New Jersey   3:20-cv-00740         CELLINO & BARNES, P.C.
DEVITA, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-20994         CELLINO & BARNES, P.C.
DEWALL, CONNIE             NJ - USDC for the District of New Jersey   3:19-cv-08557         CELLINO & BARNES, P.C.
DICKEL, DIANNE             NJ - USDC for the District of New Jersey   3:17-cv-02381         CELLINO & BARNES, P.C.
DICKERSON, CAROLYN         NJ - USDC for the District of New Jersey   3:19-cv-19078         CELLINO & BARNES, P.C.
DIIORIO, CELESTA           NJ - USDC for the District of New Jersey   3:20-cv-00099         CELLINO & BARNES, P.C.
DOHERTY, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-21979         CELLINO & BARNES, P.C.
DONNELLY, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-02267         CELLINO & BARNES, P.C.
DORN, SHIRLEY              NJ - USDC for the District of New Jersey   3:19-cv-21026         CELLINO & BARNES, P.C.
DOYLE, KAREN               NJ - USDC for the District of New Jersey   3:18-cv-15272         CELLINO & BARNES, P.C.
DRZYMALA, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-07606         CELLINO & BARNES, P.C.
DU PURTON, PANAGIOTA       NJ - USDC for the District of New Jersey   3:18-cv-12942         CELLINO & BARNES, P.C.
DUDKOWSKI, JANICE          NJ - USDC for the District of New Jersey   3:18-cv-15301         CELLINO & BARNES, P.C.
DUENAS, MARIBEL            NJ - USDC for the District of New Jersey   3:19-cv-09180         CELLINO & BARNES, P.C.
EDWARDS, NANCY             NJ - USDC for the District of New Jersey   3:17-cv-09413         CELLINO & BARNES, P.C.
EISHEN, DIANE              NJ - USDC for the District of New Jersey   3:19-cv-19196         CELLINO & BARNES, P.C.
ELLIOTT, MARSHIYYAT        NJ - USDC for the District of New Jersey   3:19-cv-18298         CELLINO & BARNES, P.C.
ESCOBEDO, FRANCES          NJ - USDC for the District of New Jersey   3:17-cv-01857         CELLINO & BARNES, P.C.
ESKANDANI, KATHY           NJ - USDC for the District of New Jersey   3:19-cv-18918         CELLINO & BARNES, P.C.
EUGENI, LORETTA            NJ - USDC for the District of New Jersey   3:19-cv-19960         CELLINO & BARNES, P.C.
FABER, KATHLEEN            NJ - USDC for the District of New Jersey   3:19-cv-15348         CELLINO & BARNES, P.C.
FAHRER, MARTHA             NJ - USDC for the District of New Jersey   3:19-cv-18681         CELLINO & BARNES, P.C.
FAJARDIN, LYNDA            NJ - USDC for the District of New Jersey   3:19-cv-19427         CELLINO & BARNES, P.C.
FALBO, CAROL               NJ - USDC for the District of New Jersey   3:19-cv-20874         CELLINO & BARNES, P.C.
FANELLI, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-17131         CELLINO & BARNES, P.C.
FARKAS, CAROLE             NJ - USDC for the District of New Jersey   3:19-cv-20990         CELLINO & BARNES, P.C.
FARMER-JORDAN, SHIRLEY     NJ - USDC for the District of New Jersey   3:20-cv-00172         CELLINO & BARNES, P.C.
FEKIN, ELEANORE            NJ - USDC for the District of New Jersey   3:18-cv-02202         CELLINO & BARNES, P.C.
FELENSTEIN, DIANE          NJ - USDC for the District of New Jersey   3:18-cv-14661         CELLINO & BARNES, P.C.
FENER, SANDRA              NJ - USDC for the District of New Jersey   3:18-cv-16261         CELLINO & BARNES, P.C.
FERNANDEZ, ELSE            NJ - USDC for the District of New Jersey   3:20-cv-08237         CELLINO & BARNES, P.C.
FERRARI, STEPHANIE         NJ - USDC for the District of New Jersey   3:19-cv-18785         CELLINO & BARNES, P.C.
FILICETTI, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-09525         CELLINO & BARNES, P.C.
FISHER, THERESA            NJ - USDC for the District of New Jersey   3:19-cv-20602         CELLINO & BARNES, P.C.
FIVGAS, AGNES              NJ - USDC for the District of New Jersey   3:19-cv-19884         CELLINO & BARNES, P.C.
FLEMING, HELEN             NJ - USDC for the District of New Jersey   3:20-cv-00190         CELLINO & BARNES, P.C.
FLORES, CARMEN             NJ - USDC for the District of New Jersey   3:18-cv-15288         CELLINO & BARNES, P.C.
FLORES, LIZETH             NJ - USDC for the District of New Jersey   3:19-cv-19902         CELLINO & BARNES, P.C.
FLORES, NORMA              NJ - USDC for the District of New Jersey   3:19-cv-19830         CELLINO & BARNES, P.C.
FLOYD, GLORIA              NJ - USDC for the District of New Jersey   3:19-cv-20732         CELLINO & BARNES, P.C.
FLUNDER, JOANNE            NJ - USDC for the District of New Jersey   3:19-cv-18226         CELLINO & BARNES, P.C.
FOSTER, SYLVIA             NJ - USDC for the District of New Jersey   3:20-cv-02762         CELLINO & BARNES, P.C.
FOX, ELDA                  NJ - USDC for the District of New Jersey   3:19-cv-19402         CELLINO & BARNES, P.C.
FRANCIS, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-02312         CELLINO & BARNES, P.C.
FREIER, CATHERINE          NJ - USDC for the District of New Jersey   3:19-cv-20287         CELLINO & BARNES, P.C.
FRIEDMAN, MADELINE         NJ - USDC for the District of New Jersey   3:18-cv-03780         CELLINO & BARNES, P.C.
FRY, LAURA                 NJ - USDC for the District of New Jersey   3:18-cv-15299         CELLINO & BARNES, P.C.
FUSARO, CARMELA            NJ - USDC for the District of New Jersey   3:19-cv-19318         CELLINO & BARNES, P.C.




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          Claimant Name                     State Filed                       Docket Number                Plaintiff Counsel
FUSELLO, KRISTIN            NJ - USDC for the District of New Jersey    3:18-cv-12246         CELLINO & BARNES, P.C.
GADSDEN, MINNIE             NJ - USDC for the District of New Jersey    3:18-cv-11239         CELLINO & BARNES, P.C.
GAFFEY, KATHLEEN            NJ - USDC for the District of New Jersey    3:20-cv-00184         CELLINO & BARNES, P.C.
GAINES, PEARL               NJ - USDC for the District of New Jersey    3:21-cv-11409         CELLINO & BARNES, P.C.
GALBIS, ELY                 NJ - USDC for the District of New Jersey    3:19-cv-19899         CELLINO & BARNES, P.C.
GALLAGHER, MELISSA          NJ - USDC for the District of New Jersey    3:20-cv-00725         CELLINO & BARNES, P.C.
GARABEDIAN, ANNE            NJ - USDC for the District of New Jersey    3:21-cv-11497         CELLINO & BARNES, P.C.
GARBER, ELLEN               NJ - USDC for the District of New Jersey    3:19-cv-17135         CELLINO & BARNES, P.C.
GAROZZO, NANCY              NJ - USDC for the District of New Jersey    3:18-cv-14158         CELLINO & BARNES, P.C.
GASKINS, EMILY              NJ - USDC for the District of New Jersey    3:20-cv-00785         CELLINO & BARNES, P.C.
GELO, BARBARA               NJ - USDC for the District of New Jersey    3:21-cv-12823         CELLINO & BARNES, P.C.
GENTRY, PHYLLIS             NJ - USDC for the District of New Jersey    3:19-cv-20704         CELLINO & BARNES, P.C.
GEORGE, LISA                NJ - USDC for the District of New Jersey    3:17-cv-03949         CELLINO & BARNES, P.C.
GEORGE, ROSEANN             NJ - USDC for the District of New Jersey    3:19-cv-19714         CELLINO & BARNES, P.C.
GEORGE, SUZANNE             NJ - USDC for the District of New Jersey    3:19-cv-14034         CELLINO & BARNES, P.C.
GERVAIS, SALLY              NJ - USDC for the District of New Jersey    3:19-cv-20222         CELLINO & BARNES, P.C.
GIAQUINTO, JULIANNE         NJ - USDC for the District of New Jersey    3:19-cv-20294         CELLINO & BARNES, P.C.
GIESEKE, BARBARA            NJ - USDC for the District of New Jersey    3:19-cv-19719         CELLINO & BARNES, P.C.
GILBERT, KIMBERLY           NJ - USDC for the District of New Jersey    3:19-cv-19086         CELLINO & BARNES, P.C.
GIORLANDO, MARIA            NJ - USDC for the District of New Jersey    3:18-cv-16189         CELLINO & BARNES, P.C.
GLASER, GLORIA              NJ - USDC for the District of New Jersey    3:17-cv-11363         CELLINO & BARNES, P.C.
GLEASON, MELYNDA            NJ - USDC for the District of New Jersey    3:18-cv-15311         CELLINO & BARNES, P.C.
GOLYSKI, KAREN              NJ - USDC for the District of New Jersey    3:19-cv-21968         CELLINO & BARNES, P.C.
GONZALEZ, ANNE              NJ - USDC for the District of New Jersey    3:20-cv-00094         CELLINO & BARNES, P.C.
GORDON, MILDRED             NJ - USDC for the District of New Jersey    3:17-cv-07713         CELLINO & BARNES, P.C.
GORKIN, MARJORIE            NJ - USDC for the District of New Jersey    3:19-cv-18210         CELLINO & BARNES, P.C.
GRACE, KAY                  NJ - USDC for the District of New Jersey    3:19-cv-18078         CELLINO & BARNES, P.C.
GRAHAM, MARIE               NJ - USDC for the District of New Jersey    3:19-cv-18782         CELLINO & BARNES, P.C.
GRAME, MICHELINA            NJ - USDC for the District of New Jersey    3:19-cv-12975         CELLINO & BARNES, P.C.
GRAVELLE, LORI              NJ - USDC for the District of New Jersey    3:19-cv-18228         CELLINO & BARNES, P.C.
GRAVELY, DONNA              NJ - USDC for the District of New Jersey    3:19-cv-17433         CELLINO & BARNES, P.C.
GREENLICK, LUELLEN          NJ - USDC for the District of New Jersey    3:21-cv-11991         CELLINO & BARNES, P.C.
GRIFFIN, SHARON             NJ - USDC for the District of New Jersey    3:19-cv-19708         CELLINO & BARNES, P.C.
GROTH, DAWN                 NJ - USDC for the District of New Jersey    3:18-cv-10949         CELLINO & BARNES, P.C.
GUISTI, ROSE                NJ - USDC for the District of New Jersey    3:19-cv-15743         CELLINO & BARNES, P.C.
HAMILTON, ETHEL             NJ - USDC for the District of New Jersey    3:20-cv-00804         CELLINO & BARNES, P.C.
HAMPTON, EVELYN             NJ - USDC for the District of New Jersey    3:18-cv-15334         CELLINO & BARNES, P.C.
HANSEN-BAWS, CAROLE         NJ - USDC for the District of New Jersey    3:19-cv-20703         CELLINO & BARNES, P.C.
HARRIS, CAROLYN             NJ - USDC for the District of New Jersey    3:17-cv-00031         CELLINO & BARNES, P.C.
HARRISON, CAROL             NJ - USDC for the District of New Jersey    3:20-cv-03772         CELLINO & BARNES, P.C.
HAWES, DOREEN               NJ - USDC for the District of New Jersey    3:18-cv-14662         CELLINO & BARNES, P.C.
HAYES, KATHLEEN             NJ - USDC for the District of New Jersey    3:18-cv-14865         CELLINO & BARNES, P.C.
HAYES, MARIA                NJ - USDC for the District of New Jersey    3:20-cv-00127         CELLINO & BARNES, P.C.
HAYES, PAULA                NJ - USDC for the District of New Jersey    3:19-cv-21098         CELLINO & BARNES, P.C.
HAYES-STASIO, MICHAELEENE   NJ - USDC for the District of New Jersey    3:19-cv-20405         CELLINO & BARNES, P.C.
HEALY, KATHLEEN             NJ - USDC for the District of New Jersey    3:19-cv-19725         CELLINO & BARNES, P.C.
HEIN, ARLENE                NJ - USDC for the District of New Jersey    3:19-cv-19439         CELLINO & BARNES, P.C.
HEINEMANN, SHARON           NJ - USDC for the District of New Jersey    3:19-cv-21100         CELLINO & BARNES, P.C.
HEINZ, ASHLEY               NJ - USDC for the District of New Jersey    3:19-cv-19085         CELLINO & BARNES, P.C.
HENNEBERGER, JANICE         NJ - USDC for the District of New Jersey    3:19-cv-19961         CELLINO & BARNES, P.C.
HICKS, LYNN                 NJ - USDC for the District of New Jersey    3:19-cv-18522         CELLINO & BARNES, P.C.
HODGE, NELLIE               NJ - USDC for the District of New Jersey    3:19-cv-19313         CELLINO & BARNES, P.C.
HOLLANDER, JOAN             NJ - USDC for the District of New Jersey    3:19-cv-20728         CELLINO & BARNES, P.C.
HOLMES, CARRIE              NJ - USDC for the District of New Jersey    3:19-cv-19826         CELLINO & BARNES, P.C.
HOLMES, VIVIAN              NJ - USDC for the District of New Jersey    3:20-cv-05712         CELLINO & BARNES, P.C.
HOMIRE, DARLENE             NJ - USDC for the District of New Jersey    3:18-cv-14348         CELLINO & BARNES, P.C.
HOPPOCK, CAROL              NJ - USDC for the District of New Jersey    3:19-cv-20622         CELLINO & BARNES, P.C.
HOUSTON, KASHIA             NJ - USDC for the District of New Jersey    3:19-cv-20781         CELLINO & BARNES, P.C.
HOWARD, DANIELLE            NJ - USDC for the District of New Jersey    3:19-cv-20436         CELLINO & BARNES, P.C.
HOWELL, KELLY               NJ - USDC for the District of New Jersey    3:19-cv-18934         CELLINO & BARNES, P.C.
HUEY, ROBIN                 NJ - USDC for the District of New Jersey    3:18-cv-15159         CELLINO & BARNES, P.C.
HUFF, COLLEEN               NJ - USDC for the District of New Jersey    3:18-cv-05397         CELLINO & BARNES, P.C.
HUGHES, CAROL               NJ - USDC for the District of New Jersey    3:19-cv-13102         CELLINO & BARNES, P.C.
HULSENBERG, TARA            NJ - USDC for the District of New Jersey    3:20-cv-00096         CELLINO & BARNES, P.C.
HUNT, SARAH                 NJ - USDC for the District of New Jersey    3:21-cv-14235         CELLINO & BARNES, P.C.
HUNTER, DIANE               NJ - USDC for the District of New Jersey    3:18-cv-14818         CELLINO & BARNES, P.C.
IMPELLIZZERI, AUDREY        NJ - USDC for the District of New Jersey    3:18-cv-14156         CELLINO & BARNES, P.C.
INCLEMA, PAULETTE           NJ - USDC for the District of New Jersey    3:19-cv-21157         CELLINO & BARNES, P.C.
INGRAHM, SHIRLEY            NJ - USDC for the District of New Jersey    3:19-cv-18933         CELLINO & BARNES, P.C.
                            NY - USDC for the Eastern District of New
IRVINE, MARIE                                                           2:21-cv-02295         CELLINO & BARNES, P.C.
                            York
JACKSON, PATRICIA           NJ - USDC for the District of New Jersey    3:19-cv-19904         CELLINO & BARNES, P.C.
JACKSON, SHENIEKA           NJ - USDC for the District of New Jersey    3:18-cv-12254         CELLINO & BARNES, P.C.
JAMES, ROSE                 NJ - USDC for the District of New Jersey    3:19-cv-18843         CELLINO & BARNES, P.C.
JANIGA, LINDA               NJ - USDC for the District of New Jersey    3:19-cv-21477         CELLINO & BARNES, P.C.
JANKOWIAK, ERIN             NJ - USDC for the District of New Jersey    3:19-cv-18801         CELLINO & BARNES, P.C.
JARVIS, ROSE                NJ - USDC for the District of New Jersey    3:19-cv-16646         CELLINO & BARNES, P.C.
JASPER, ANGELA              NJ - USDC for the District of New Jersey    3:20-cv-02316         CELLINO & BARNES, P.C.
JEFFERSON, THELMA           NJ - USDC for the District of New Jersey    3:20-cv-03794         CELLINO & BARNES, P.C.
JIMENEZ, LILIBET            NJ - USDC for the District of New Jersey    3:17-cv-12383         CELLINO & BARNES, P.C.




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           Claimant Name                    State Filed                       Docket Number                Plaintiff Counsel
JO, NIKI                    NJ - USDC for the District of New Jersey    3:17-cv-02390         CELLINO & BARNES, P.C.
JOHANN, SYLVIA              NJ - USDC for the District of New Jersey    3:19-cv-14686         CELLINO & BARNES, P.C.
JOHNSON, ARTIS              NJ - USDC for the District of New Jersey    3:19-cv-19473         CELLINO & BARNES, P.C.
JOHNSON, MARY               NJ - USDC for the District of New Jersey    3:20-cv-00296         CELLINO & BARNES, P.C.
JOHNSON, MILLICENT          NJ - USDC for the District of New Jersey    3:19-cv-19715         CELLINO & BARNES, P.C.
JONES, BARBARA              NJ - USDC for the District of New Jersey    3:19-cv-19583         CELLINO & BARNES, P.C.
JONES, DOROTHY              NJ - USDC for the District of New Jersey    3:20-cv-00118         CELLINO & BARNES, P.C.
JONES, ELSIE                NJ - USDC for the District of New Jersey    3:17-cv-07352         CELLINO & BARNES, P.C.
JONES, ROSEMARY             NJ - USDC for the District of New Jersey    3:19-cv-19453         CELLINO & BARNES, P.C.
JONES, TERESA               NJ - USDC for the District of New Jersey    3:19-cv-21065         CELLINO & BARNES, P.C.
KAAIKALA, SHIRLEY           NJ - USDC for the District of New Jersey    3:18-cv-11098         CELLINO & BARNES, P.C.
KACZMAREK, JOSEPHINE        NJ - USDC for the District of New Jersey    3:19-cv-20995         CELLINO & BARNES, P.C.
KADER, JOAN                 NJ - USDC for the District of New Jersey    3:19-cv-21278         CELLINO & BARNES, P.C.
KAHRAMAN, KATHLEEN          NJ - USDC for the District of New Jersey    3:19-cv-21275         CELLINO & BARNES, P.C.
KAMENS, PATRICIA            NJ - USDC for the District of New Jersey    3:18-cv-13331         CELLINO & BARNES, P.C.
KARLIN, RONNIE              NJ - USDC for the District of New Jersey    3:19-cv-19193         CELLINO & BARNES, P.C.
KATZ, CAROLYN               NJ - USDC for the District of New Jersey    3:19-cv-20435         CELLINO & BARNES, P.C.
KATZ, ROBERTA               NJ - USDC for the District of New Jersey    3:19-cv-11418         CELLINO & BARNES, P.C.
KAY, SUSAN                  NJ - USDC for the District of New Jersey    3:19-cv-18221         CELLINO & BARNES, P.C.
KEEN, MARI                  NJ - USDC for the District of New Jersey    3:19-cv-19891         CELLINO & BARNES, P.C.
KELLY, ELISSA               NJ - USDC for the District of New Jersey    3:19-cv-18788         CELLINO & BARNES, P.C.
KELLY, GLADYS               NJ - USDC for the District of New Jersey    3:19-cv-12983         CELLINO & BARNES, P.C.
KELLY, SARA                 NJ - USDC for the District of New Jersey    3:19-cv-16673         CELLINO & BARNES, P.C.
KENT, LORI                  NJ - USDC for the District of New Jersey    3:19-cv-20727         CELLINO & BARNES, P.C.
KHALID, SHAISTA             NJ - USDC for the District of New Jersey    3:20-cv-00085         CELLINO & BARNES, P.C.
KHAN, AMY                   NJ - USDC for the District of New Jersey    3:19-cv-00928         CELLINO & BARNES, P.C.
KHAN, SHAIRA                NJ - USDC for the District of New Jersey    3:19-cv-21048         CELLINO & BARNES, P.C.
KING, FAYOLA                NJ - USDC for the District of New Jersey    3:19-cv-19909         CELLINO & BARNES, P.C.
KISSOON, UMAWATTIE          NJ - USDC for the District of New Jersey    3:20-cv-12393         CELLINO & BARNES, P.C.
KLEE, JOANNE                NJ - USDC for the District of New Jersey    3:19-cv-05860         CELLINO & BARNES, P.C.
KLYCZEK, ANTOINETTE         NJ - USDC for the District of New Jersey    3:18-cv-17163         CELLINO & BARNES, P.C.
KOBEL, SHERRY               NJ - USDC for the District of New Jersey    3:18-cv-14344         CELLINO & BARNES, P.C.
KOLESAR, GAIL               NJ - USDC for the District of New Jersey    3:20-cv-01704         CELLINO & BARNES, P.C.
KORKOWSKI, ELAINE           NJ - USDC for the District of New Jersey    3:18-cv-15088         CELLINO & BARNES, P.C.
KOSTKA, JESSIE              NJ - USDC for the District of New Jersey    3:19-cv-17201         CELLINO & BARNES, P.C.
KRATTENMAKER, DOROTHY       NJ - USDC for the District of New Jersey    3:18-cv-06062         CELLINO & BARNES, P.C.
KRAWCZYK, RITA              NJ - USDC for the District of New Jersey    3:18-cv-15499         CELLINO & BARNES, P.C.
KURAS, DAWN                 NJ - USDC for the District of New Jersey    3:19-cv-20227         CELLINO & BARNES, P.C.
KYE, ALLISON                NJ - USDC for the District of New Jersey    3:20-cv-00073         CELLINO & BARNES, P.C.
LABARBERA, ARLENE           NJ - USDC for the District of New Jersey    3:20-cv-12390         CELLINO & BARNES, P.C.
LABEAUX, GLADYS             NJ - USDC for the District of New Jersey    3:19-cv-19914         CELLINO & BARNES, P.C.
LATHAM, WILMA               NJ - USDC for the District of New Jersey    3:17-cv-13046         CELLINO & BARNES, P.C.
LAWRENCE, KAREN             NJ - USDC for the District of New Jersey    3:19-cv-20914         CELLINO & BARNES, P.C.
LAYMAN, JUDITH              NJ - USDC for the District of New Jersey    3:19-cv-21094         CELLINO & BARNES, P.C.
LEACH, SANDRA               NJ - USDC for the District of New Jersey    3:16-cv-09556         CELLINO & BARNES, P.C.
LEE, DOREEN                 NJ - USDC for the District of New Jersey    3:17-cv-13069         CELLINO & BARNES, P.C.
LEE, SUE                    NJ - USDC for the District of New Jersey    3:18-cv-12941         CELLINO & BARNES, P.C.
LEPORE, GALE                NJ - USDC for the District of New Jersey    3:19-cv-20575         CELLINO & BARNES, P.C.
LESURE, GLORIA              NJ - USDC for the District of New Jersey    3:18-cv-11240         CELLINO & BARNES, P.C.
LETKE, PAULA                NJ - USDC for the District of New Jersey    3:20-cv-00244         CELLINO & BARNES, P.C.
LINGARD, MARIA              NJ - USDC for the District of New Jersey    3:19-cv-21189         CELLINO & BARNES, P.C.
LIPPS, PEGGY                NJ - USDC for the District of New Jersey    3:19-cv-18917         CELLINO & BARNES, P.C.
LISTENGART, JANIE           NJ - USDC for the District of New Jersey    3:19-cv-20729         CELLINO & BARNES, P.C.
LITVIN, EILEEN              NJ - USDC for the District of New Jersey    3:17-cv-03000         CELLINO & BARNES, P.C.
LOMBARDO, JEAN              NJ - USDC for the District of New Jersey    3:18-cv-14400         CELLINO & BARNES, P.C.
LONG, CARLA                 NJ - USDC for the District of New Jersey    3:17-cv-03573         CELLINO & BARNES, P.C.
LOVEJOY, VIRGINIA           NJ - USDC for the District of New Jersey    3:17-cv-01822         CELLINO & BARNES, P.C.
LOVELAND, NANCY             NJ - USDC for the District of New Jersey    3:20-cv-09527         CELLINO & BARNES, P.C.
LUBAS-SIRIANNI, ELIZABETH   NJ - USDC for the District of New Jersey    3:19-cv-18225         CELLINO & BARNES, P.C.
LUBKOWSKI, HENRIETTA        NJ - USDC for the District of New Jersey    3:18-cv-14664         CELLINO & BARNES, P.C.
LUCANTONI, YVETTE           NJ - USDC for the District of New Jersey    3:17-cv-07765         CELLINO & BARNES, P.C.
LUCAS, PATRICIA             NJ - USDC for the District of New Jersey    3:20-cv-00123         CELLINO & BARNES, P.C.
LUMPKIN, MARY               NJ - USDC for the District of New Jersey    3:17-cv-06492         CELLINO & BARNES, P.C.
LUTRINGER, LANA             NJ - USDC for the District of New Jersey    3:19-cv-21978         CELLINO & BARNES, P.C.
LYLES, DORIS                NJ - USDC for the District of New Jersey    3:18-cv-12291         CELLINO & BARNES, P.C.
MAASS, KATHLEEN             NJ - USDC for the District of New Jersey    3:19-cv-20219         CELLINO & BARNES, P.C.
MADDALENA, DIANA            NJ - USDC for the District of New Jersey    3:20-cv-00116         CELLINO & BARNES, P.C.
MADHO, RITA                 NJ - USDC for the District of New Jersey    3:19-cv-21062         CELLINO & BARNES, P.C.
MADRID, GLORIA              NJ - USDC for the District of New Jersey    3:18-cv-15066         CELLINO & BARNES, P.C.
MAGERA, BARBARA             NJ - USDC for the District of New Jersey    3:18-cv-14663         CELLINO & BARNES, P.C.
MAGNANTI, PATRICIA          NJ - USDC for the District of New Jersey    3:20-cv-08711         CELLINO & BARNES, P.C.
MAHABIR, LILLIAN            NJ - USDC for the District of New Jersey    3:20-cv-00086         CELLINO & BARNES, P.C.
MAHOLICK, ELAINE            NJ - USDC for the District of New Jersey    3:19-cv-20943         CELLINO & BARNES, P.C.
MAIDEN, RANDI               NJ - USDC for the District of New Jersey    3:19-cv-20998         CELLINO & BARNES, P.C.
MAJCHER, BONNIE             NJ - USDC for the District of New Jersey    3:20-cv-07609         CELLINO & BARNES, P.C.
                            NY - USDC for the Eastern District of New
MAJEED, NESHA                                                           1:21-cv-04956         CELLINO & BARNES, P.C.
                            York
                            NY - USDC for the Eastern District of New
MAJEED, NESHA                                                           1:21-cv-04956         CELLINO & BARNES, P.C.
                            York
MAJOR, KATHRYN              NJ - USDC for the District of New Jersey    3:20-cv-06856         CELLINO & BARNES, P.C.




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          Claimant Name                    State Filed                        Docket Number                Plaintiff Counsel
MALLORY, NANNIE            NJ - USDC for the District of New Jersey     3:19-cv-22066         CELLINO & BARNES, P.C.
MANISCALCO, CHRISTINE      NJ - USDC for the District of New Jersey     3:19-cv-18223         CELLINO & BARNES, P.C.
MARINARO, DEBBIE           NJ - USDC for the District of New Jersey     3:19-cv-19080         CELLINO & BARNES, P.C.
MARTIN, MARY               NJ - USDC for the District of New Jersey     3:17-cv-12952         CELLINO & BARNES, P.C.
MARTONE, DOROTHY           NJ - USDC for the District of New Jersey     3:19-cv-19162         CELLINO & BARNES, P.C.
MASON, LINDA               NJ - USDC for the District of New Jersey     3:18-cv-12290         CELLINO & BARNES, P.C.
MATTESON, KATHLEEN         NJ - USDC for the District of New Jersey     3:18-cv-17664         CELLINO & BARNES, P.C.
MAXAM, SUSAN               NJ - USDC for the District of New Jersey     3:19-cv-22073         CELLINO & BARNES, P.C.
MCCARTY, ROBIN             NJ - USDC for the District of New Jersey     3:19-cv-18931         CELLINO & BARNES, P.C.
MCCRAY, ODESSA             NJ - USDC for the District of New Jersey     3:19-cv-13115         CELLINO & BARNES, P.C.
MCDONALD-ADDISON, TERESA   NJ - USDC for the District of New Jersey     3:19-cv-20285         CELLINO & BARNES, P.C.
MCELROY, SHERRI            NJ - USDC for the District of New Jersey     3:20-cv-00112         CELLINO & BARNES, P.C.
MCGARRITY, CAROL           NJ - USDC for the District of New Jersey     3:20-cv-11173         CELLINO & BARNES, P.C.
MCNAMEE, JENNIFER          NJ - USDC for the District of New Jersey     3:18-cv-11354         CELLINO & BARNES, P.C.
MCSHEA, ELIZABETH          NJ - USDC for the District of New Jersey     3:19-cv-19319         CELLINO & BARNES, P.C.
MEIROWITZ, HARRIETT        NJ - USDC for the District of New Jersey     3:20-cv-02293         CELLINO & BARNES, P.C.
MELVILLE, JOANNE           NJ - USDC for the District of New Jersey     3:19-cv-20971         CELLINO & BARNES, P.C.
MERRIT, NADIA              NJ - USDC for the District of New Jersey     3:19-cv-09095         CELLINO & BARNES, P.C.
MEYER, ALISON              NJ - USDC for the District of New Jersey     3:18-cv-12945         CELLINO & BARNES, P.C.
MICHALSKI, DARLENE         NJ - USDC for the District of New Jersey     3:18-cv-13333         CELLINO & BARNES, P.C.
MIKULKA, LOIS              NJ - USDC for the District of New Jersey     3:19-cv-20224         CELLINO & BARNES, P.C.
MILLER, DORIS              NJ - USDC for the District of New Jersey     3:19-cv-08479         CELLINO & BARNES, P.C.
MILLER, GAIL               NJ - USDC for the District of New Jersey     3:19-cv-21099         CELLINO & BARNES, P.C.
MINIELLY, KIMBERLY         NJ - USDC for the District of New Jersey     3:19-cv-18938         CELLINO & BARNES, P.C.
MKRTCHYAN, ELEN            NJ - USDC for the District of New Jersey     3:20-cv-05768         CELLINO & BARNES, P.C.
MONAHAN, SHANNON           NJ - USDC for the District of New Jersey     3:17-cv-00136         CELLINO & BARNES, P.C.
MONGONE, ANGELINA          NJ - USDC for the District of New Jersey     3:19-cv-15083         CELLINO & BARNES, P.C.
MOONEY, ELIZABETH          NJ - USDC for the District of New Jersey     3:19-cv-19828         CELLINO & BARNES, P.C.
MOORE, ANGELA              NJ - USDC for the District of New Jersey     3:20-cv-00179         CELLINO & BARNES, P.C.
MOORE, DEBORA              NJ - USDC for the District of New Jersey     3:18-cv-12933         CELLINO & BARNES, P.C.
MOORE, JUDITH              NJ - USDC for the District of New Jersey     3:19-cv-17743         CELLINO & BARNES, P.C.
MOORE, MARTHA              NJ - USDC for the District of New Jersey     3:20-cv-00241         CELLINO & BARNES, P.C.
MORENO, DENISE             NJ - USDC for the District of New Jersey     3:19-cv-17149         CELLINO & BARNES, P.C.
MORO, SHERRY               NJ - USDC for the District of New Jersey     3:19-cv-19893         CELLINO & BARNES, P.C.
MORRA, DENISE              NJ - USDC for the District of New Jersey     3:19-cv-20997         CELLINO & BARNES, P.C.
MORRISON, RAYNA            NJ - USDC for the District of New Jersey     3:19-cv-13023         CELLINO & BARNES, P.C.
MORZAN, SANDRA             NJ - USDC for the District of New Jersey     3:19-cv-18217         CELLINO & BARNES, P.C.
MUNOZ, SHARON              NJ - USDC for the District of New Jersey     3:18-cv-08263         CELLINO & BARNES, P.C.
MUREUX, MARY               NJ - USDC for the District of New Jersey     3:19-cv-20626         CELLINO & BARNES, P.C.
MURPHY-CLEARY, PAMELA      NJ - USDC for the District of New Jersey     3:19-cv-18804         CELLINO & BARNES, P.C.
MUSARRA, MICHELE           NJ - USDC for the District of New Jersey     3:18-cv-16187         CELLINO & BARNES, P.C.
NAYSHLOS, ZHANNA           NJ - USDC for the District of New Jersey     3:20-cv-12391         CELLINO & BARNES, P.C.
NEARS, CATHERINE           NJ - USDC for the District of New Jersey     3:19-cv-19721         CELLINO & BARNES, P.C.
NELSON, PATRICIA           NJ - USDC for the District of New Jersey     3:19-cv-21012         CELLINO & BARNES, P.C.
NEUMANN, SANDRA            NJ - USDC for the District of New Jersey     3:19-cv-18075         CELLINO & BARNES, P.C.
NEVINS, MARY               NJ - USDC for the District of New Jersey     3:19-cv-16643         CELLINO & BARNES, P.C.
NOLE, JUDY                 NJ - USDC for the District of New Jersey     3:19-cv-05851         CELLINO & BARNES, P.C.
NORTON, CHRISTINE          NJ - USDC for the District of New Jersey     3:20-cv-02310         CELLINO & BARNES, P.C.
NOWICKI, JENNIFER          NJ - USDC for the District of New Jersey     3:18-cv-17162         CELLINO & BARNES, P.C.
NUGENT, YONG               NJ - USDC for the District of New Jersey     3:19-cv-09128         CELLINO & BARNES, P.C.
O, MARGARET                NJ - USDC for the District of New Jersey     3:19-cv-18936         CELLINO & BARNES, P.C.
OBRIEN, MICHELE            NJ - USDC for the District of New Jersey     3:19-cv-20281         CELLINO & BARNES, P.C.
                           NY - USDC for the Northern District of New
OCONNOR, HARRIET                                                        3:21-cv-00857         CELLINO & BARNES, P.C.
                           York
OCONNOR, LINDA             NJ - USDC for the District of New Jersey     3:19-cv-20871         CELLINO & BARNES, P.C.
OLIX, TERA                 NJ - USDC for the District of New Jersey     3:18-cv-12666         CELLINO & BARNES, P.C.
ONEILL-PIRRUNG, CAROLE     NJ - USDC for the District of New Jersey     3:20-cv-00021         CELLINO & BARNES, P.C.
ORCUTT, DORIS              NJ - USDC for the District of New Jersey     3:20-cv-02077         CELLINO & BARNES, P.C.
ORLANDO, KRISTINA          NJ - USDC for the District of New Jersey     3:19-cv-18793         CELLINO & BARNES, P.C.
ORNDOFF, BETTY             NJ - USDC for the District of New Jersey     3:19-cv-19898         CELLINO & BARNES, P.C.
OSSEN, BEVERLY             NJ - USDC for the District of New Jersey     3:19-cv-19440         CELLINO & BARNES, P.C.
OSTROVSKIS, LILIJA         NJ - USDC for the District of New Jersey     3:19-cv-20604         CELLINO & BARNES, P.C.
OTERO, IMARA               NJ - USDC for the District of New Jersey     3:19-cv-20738         CELLINO & BARNES, P.C.
PACE, TERRIE               NJ - USDC for the District of New Jersey     3:19-cv-20870         CELLINO & BARNES, P.C.
PACE, WILLA                NJ - USDC for the District of New Jersey     3:18-cv-03451         CELLINO & BARNES, P.C.
PANTERA, ANNA              NJ - USDC for the District of New Jersey     3:20-cv-02935         CELLINO & BARNES, P.C.
PARMAR, KOKILA             NJ - USDC for the District of New Jersey     3:19-cv-19963         CELLINO & BARNES, P.C.
PARSONS, TERRY             NJ - USDC for the District of New Jersey     3:19-cv-19892         CELLINO & BARNES, P.C.
PASOS, MARCELLA            NJ - USDC for the District of New Jersey     3:19-cv-19894         CELLINO & BARNES, P.C.
PATRONSKI, NELLIE          NJ - USDC for the District of New Jersey     3:19-cv-18980         CELLINO & BARNES, P.C.
PATTERSON, CYNTHIA         NJ - USDC for the District of New Jersey     3:19-cv-18218         CELLINO & BARNES, P.C.
PATTIT, DONNA              NJ - USDC for the District of New Jersey     3:20-cv-00667         CELLINO & BARNES, P.C.
PAUL, EVELYN               NJ - USDC for the District of New Jersey     3:19-cv-16642         CELLINO & BARNES, P.C.
PECORA, ANGELA             NJ - USDC for the District of New Jersey     3:19-cv-17736         CELLINO & BARNES, P.C.
PELTER, ISABELLA           NJ - USDC for the District of New Jersey     3:19-cv-20996         CELLINO & BARNES, P.C.
PENA, LINDA                NJ - USDC for the District of New Jersey     3:19-cv-20646         CELLINO & BARNES, P.C.
PETERSON, ANN              NJ - USDC for the District of New Jersey     3:18-cv-14411         CELLINO & BARNES, P.C.
PETERSON, ANNE             NJ - USDC for the District of New Jersey     3:18-cv-02041         CELLINO & BARNES, P.C.
PETROSINO, MARIE           NJ - USDC for the District of New Jersey     3:19-cv-21977         CELLINO & BARNES, P.C.
PETT, ANN                  NJ - USDC for the District of New Jersey     3:19-cv-15298         CELLINO & BARNES, P.C.




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
PETTY, GABRIELE           NJ - USDC for the District of New Jersey   3:18-cv-16224         CELLINO & BARNES, P.C.
PILCHER, BRENDA           NJ - USDC for the District of New Jersey   3:18-cv-12255         CELLINO & BARNES, P.C.
PINES, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-09133         CELLINO & BARNES, P.C.
PINKER, MARY              NJ - USDC for the District of New Jersey   3:18-cv-15296         CELLINO & BARNES, P.C.
PIPOLO, GRACE             NJ - USDC for the District of New Jersey   3:19-cv-18795         CELLINO & BARNES, P.C.
PODMORE, MARGARET         NJ - USDC for the District of New Jersey   3:19-cv-20991         CELLINO & BARNES, P.C.
POLITE, CASSANDRA         NJ - USDC for the District of New Jersey   3:19-cv-18835         CELLINO & BARNES, P.C.
PORCHER, CLAUDIA          NJ - USDC for the District of New Jersey   3:19-cv-19882         CELLINO & BARNES, P.C.
PRUSAK, KATHRYN           NJ - USDC for the District of New Jersey   3:18-cv-13290         CELLINO & BARNES, P.C.
PUCCIA, JOAN              NJ - USDC for the District of New Jersey   3:18-cv-12944         CELLINO & BARNES, P.C.
PUGH, WANDA               NJ - USDC for the District of New Jersey   3:17-cv-05664         CELLINO & BARNES, P.C.
RACIOPPO, MARIE           NJ - USDC for the District of New Jersey   3:20-cv-00173         CELLINO & BARNES, P.C.
RAMBO, CARMEL             NJ - USDC for the District of New Jersey   3:19-cv-19901         CELLINO & BARNES, P.C.
RAMCHARAN, CHARINA        NJ - USDC for the District of New Jersey   3:19-cv-21050         CELLINO & BARNES, P.C.
RAMOS, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-18833         CELLINO & BARNES, P.C.
RAS, JUDITH               NJ - USDC for the District of New Jersey   3:19-cv-18842         CELLINO & BARNES, P.C.
RASINSKI, JENNIFER        NJ - USDC for the District of New Jersey   3:19-cv-18799         CELLINO & BARNES, P.C.
RATAJCZAK, LELANIE        NJ - USDC for the District of New Jersey   3:21-cv-14234         CELLINO & BARNES, P.C.
RAY, KIMBERLY             NJ - USDC for the District of New Jersey   3:18-cv-00473         CELLINO & BARNES, P.C.
RAYMOND, PEGGY            NJ - USDC for the District of New Jersey   3:19-cv-19291         CELLINO & BARNES, P.C.
RECZKA, JOANNE            NJ - USDC for the District of New Jersey   3:19-cv-20292         CELLINO & BARNES, P.C.
REDA, EMILIA              NJ - USDC for the District of New Jersey   3:20-cv-05761         CELLINO & BARNES, P.C.
REPSCHLAGER, DOLORES      NJ - USDC for the District of New Jersey   3:18-cv-00470         CELLINO & BARNES, P.C.
REULE, WINNIFRED          NJ - USDC for the District of New Jersey   3:17-cv-03572         CELLINO & BARNES, P.C.
REUTER, ERNESTINE         NJ - USDC for the District of New Jersey   3:18-cv-17140         CELLINO & BARNES, P.C.
RICE, DOLORES             NJ - USDC for the District of New Jersey   3:19-cv-19832         CELLINO & BARNES, P.C.
RICE, MARY                NJ - USDC for the District of New Jersey   3:18-cv-13656         CELLINO & BARNES, P.C.
RIGGIO, LENA              NJ - USDC for the District of New Jersey   3:20-cv-00023         CELLINO & BARNES, P.C.
RIGOR-FERNANDES, MARIE    NJ - USDC for the District of New Jersey   3:18-cv-14161         CELLINO & BARNES, P.C.
RIOPEDRE, ROSA            NJ - USDC for the District of New Jersey   3:18-cv-13683         CELLINO & BARNES, P.C.
RIVERA, SAMANTHA          NJ - USDC for the District of New Jersey   3:19-cv-18830         CELLINO & BARNES, P.C.
ROBERTSON, NUVIA          NJ - USDC for the District of New Jersey   3:19-cv-15153         CELLINO & BARNES, P.C.
ROBINSON, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-19726         CELLINO & BARNES, P.C.
ROBINSON-HORTON, GAIL     NJ - USDC for the District of New Jersey   3:18-cv-14346         CELLINO & BARNES, P.C.
ROCKWELL, ROSE            NJ - USDC for the District of New Jersey   3:20-cv-01753         CELLINO & BARNES, P.C.
RODRIGUEZ, KATHLEEN       NJ - USDC for the District of New Jersey   3:20-cv-03150         CELLINO & BARNES, P.C.
RODRIGUEZ-CATO, CARMEN    NJ - USDC for the District of New Jersey   3:20-cv-00290         CELLINO & BARNES, P.C.
ROGERS, AMY               NJ - USDC for the District of New Jersey   3:19-cv-18828         CELLINO & BARNES, P.C.
RORRISON, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-00097         CELLINO & BARNES, P.C.
ROSE, MARIANNE            NJ - USDC for the District of New Jersey   3:18-cv-17102         CELLINO & BARNES, P.C.
ROSS, CRISTYNE            NJ - USDC for the District of New Jersey   3:19-cv-21014         CELLINO & BARNES, P.C.
ROSS, VIRGINIA            NJ - USDC for the District of New Jersey   3:20-cv-00185         CELLINO & BARNES, P.C.
ROWE, CHERYL              NJ - USDC for the District of New Jersey   3:19-cv-18802         CELLINO & BARNES, P.C.
ROWLAND, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-10641         CELLINO & BARNES, P.C.
RUEDA, JULITA             NJ - USDC for the District of New Jersey   3:18-cv-01901         CELLINO & BARNES, P.C.
RUNDLE, JEANNE            NJ - USDC for the District of New Jersey   3:19-cv-21274         CELLINO & BARNES, P.C.
RUPERT, ROSA              NJ - USDC for the District of New Jersey   3:17-cv-01362         CELLINO & BARNES, P.C.
RUSSO, CHRISTINE          NJ - USDC for the District of New Jersey   3:18-cv-13330         CELLINO & BARNES, P.C.
RUSSO, PHYLLIS            NJ - USDC for the District of New Jersey   3:19-cv-01000         CELLINO & BARNES, P.C.
SAAVEDRA, SONIA           NJ - USDC for the District of New Jersey   3:20-cv-00100         CELLINO & BARNES, P.C.
SAFIER-KAPLAN, CAROL      NJ - USDC for the District of New Jersey   3:19-cv-19102         CELLINO & BARNES, P.C.
SALADYGA, JACQUELYNN      NJ - USDC for the District of New Jersey   3:19-cv-17741         CELLINO & BARNES, P.C.
SALAZAR, PEARL            NJ - USDC for the District of New Jersey   3:20-cv-00120         CELLINO & BARNES, P.C.
SALERNO, WANDA            NJ - USDC for the District of New Jersey   3:21-cv-11704         CELLINO & BARNES, P.C.
SALLEY, MONTIA            NJ - USDC for the District of New Jersey   3:18-cv-13249         CELLINO & BARNES, P.C.
SALZMANN, JEAN            NJ - USDC for the District of New Jersey   3:19-cv-12974         CELLINO & BARNES, P.C.
SAMPSON, HANNAH           NJ - USDC for the District of New Jersey   3:18-cv-15458         CELLINO & BARNES, P.C.
SANDERS, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-19883         CELLINO & BARNES, P.C.
SATISON, AUDREY           NJ - USDC for the District of New Jersey   3:21-cv-15034         CELLINO & BARNES, P.C.
SCHILLING, BARBARA        NJ - USDC for the District of New Jersey   3:19-cv-16649         CELLINO & BARNES, P.C.
SCHULTZ, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-16647         CELLINO & BARNES, P.C.
SCHUTT, DOROTHY           NJ - USDC for the District of New Jersey   3:17-cv-03574         CELLINO & BARNES, P.C.
SCOTT, RUTH               NJ - USDC for the District of New Jersey   3:17-cv-09616         CELLINO & BARNES, P.C.
SCOUTEN, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-09242         CELLINO & BARNES, P.C.
SCUDDER, HELEN            NJ - USDC for the District of New Jersey   3:20-cv-03773         CELLINO & BARNES, P.C.
SEDITA, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-16044         CELLINO & BARNES, P.C.
SEEFELDT, HEIDI           NJ - USDC for the District of New Jersey   3:19-cv-16222         CELLINO & BARNES, P.C.
SENGER, THERESA           NJ - USDC for the District of New Jersey   3:19-cv-17042         CELLINO & BARNES, P.C.
SEVERINO, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-05723         CELLINO & BARNES, P.C.
SHAMMAS, GRACE            NJ - USDC for the District of New Jersey   3:19-cv-19438         CELLINO & BARNES, P.C.
SHARIFIRAD, AFSHAN        NJ - USDC for the District of New Jersey   3:18-cv-15136         CELLINO & BARNES, P.C.
SHAW, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-20737         CELLINO & BARNES, P.C.
SHAY, JANET               NJ - USDC for the District of New Jersey   3:21-cv-11498         CELLINO & BARNES, P.C.
SHIHADEH, SAMIA           NJ - USDC for the District of New Jersey   3:19-cv-19292         CELLINO & BARNES, P.C.
SHINN, JUNE               NJ - USDC for the District of New Jersey   3:19-cv-20625         CELLINO & BARNES, P.C.
SHLYONSKY, MILENA         NJ - USDC for the District of New Jersey   3:18-cv-12250         CELLINO & BARNES, P.C.
SIHOTA, HARINDER          NJ - USDC for the District of New Jersey   3:19-cv-19192         CELLINO & BARNES, P.C.
SILVERSHER, BETTY         NJ - USDC for the District of New Jersey   3:19-cv-15150         CELLINO & BARNES, P.C.
SIMPSON, CHRISTINE        NJ - USDC for the District of New Jersey   3:19-cv-18781         CELLINO & BARNES, P.C.
SINIBALDI, BERNADETTE     NJ - USDC for the District of New Jersey   3:21-cv-11495         CELLINO & BARNES, P.C.




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
SIRIANNI, DEBORAH          NJ - USDC for the District of New Jersey   3:19-cv-18916         CELLINO & BARNES, P.C.
SIRIANNO, JULIE            NJ - USDC for the District of New Jersey   3:19-cv-09243         CELLINO & BARNES, P.C.
SKINNER, LUCILLE           NJ - USDC for the District of New Jersey   3:18-cv-10758         CELLINO & BARNES, P.C.
SKINNER, WINONA            NJ - USDC for the District of New Jersey   3:19-cv-22064         CELLINO & BARNES, P.C.
SKOUTELAS, VASILIKI        NJ - USDC for the District of New Jersey   3:20-cv-00087         CELLINO & BARNES, P.C.
SLATER, MARY               NJ - USDC for the District of New Jersey   3:21-cv-00312         CELLINO & BARNES, P.C.
SLOBE, BEVERLY             NJ - USDC for the District of New Jersey   3:21-cv-15032         CELLINO & BARNES, P.C.
SMITH, CHLOE               NJ - USDC for the District of New Jersey   3:19-cv-19348         CELLINO & BARNES, P.C.
SMITH, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-21060         CELLINO & BARNES, P.C.
SMITH, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-17043         CELLINO & BARNES, P.C.
SMITH, PAULINE             NJ - USDC for the District of New Jersey   3:18-cv-09047         CELLINO & BARNES, P.C.
SMITH, RAE                 NJ - USDC for the District of New Jersey   3:20-cv-00250         CELLINO & BARNES, P.C.
SMITH, RENEE               NJ - USDC for the District of New Jersey   3:19-cv-16279         CELLINO & BARNES, P.C.
SMOUDIANIS, CHRISTINE      NJ - USDC for the District of New Jersey   3:20-cv-00092         CELLINO & BARNES, P.C.
SOBOTKA, HELEN             NJ - USDC for the District of New Jersey   3:20-cv-11171         CELLINO & BARNES, P.C.
SOLOWSKI, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-00806         CELLINO & BARNES, P.C.
SOUTHWORTH, SHARON         NJ - USDC for the District of New Jersey   3:19-cv-20229         CELLINO & BARNES, P.C.
SPYCHALSKI, NANCY          NJ - USDC for the District of New Jersey   3:19-cv-16225         CELLINO & BARNES, P.C.
STAHLMAN, DARLENE          NJ - USDC for the District of New Jersey   3:19-cv-19989         CELLINO & BARNES, P.C.
STEELE, BOBBIE             NJ - USDC for the District of New Jersey   3:20-cv-00743         CELLINO & BARNES, P.C.
STEELE-SCHAEFFER, JUDY     NJ - USDC for the District of New Jersey   3:20-cv-02711         CELLINO & BARNES, P.C.
STEIN, MARCIA              NJ - USDC for the District of New Jersey   3:19-cv-19717         CELLINO & BARNES, P.C.
STEIN, PAMELA              NJ - USDC for the District of New Jersey   3:18-cv-15135         CELLINO & BARNES, P.C.
STROUD, JODENE             NJ - USDC for the District of New Jersey   3:20-cv-00124         CELLINO & BARNES, P.C.
STRYJEWSKI, LORETTA        NJ - USDC for the District of New Jersey   3:20-cv-00026         CELLINO & BARNES, P.C.
SUAREZ, LUCY               NJ - USDC for the District of New Jersey   3:20-cv-13112         CELLINO & BARNES, P.C.
SUESS, LIZBETH             NJ - USDC for the District of New Jersey   3:19-cv-20944         CELLINO & BARNES, P.C.
SULLIVAN, HELEN            NJ - USDC for the District of New Jersey   3:17-cv-11874         CELLINO & BARNES, P.C.
SULLIVAN, MAUREEN          NJ - USDC for the District of New Jersey   3:19-cv-19415         CELLINO & BARNES, P.C.
SWEAT, ROBERTA             NJ - USDC for the District of New Jersey   3:20-cv-02269         CELLINO & BARNES, P.C.
SWEENEY, CLAUDIA           NJ - USDC for the District of New Jersey   3:19-cv-18787         CELLINO & BARNES, P.C.
TAKUSHI, YOSHIKO           NJ - USDC for the District of New Jersey   3:19-cv-19194         CELLINO & BARNES, P.C.
TATE-LEWIS, DENISE         NJ - USDC for the District of New Jersey   3:18-cv-10947         CELLINO & BARNES, P.C.
TAYLOR, PAMELA             NJ - USDC for the District of New Jersey   3:19-cv-17141         CELLINO & BARNES, P.C.
TELLESON, JULIE            NJ - USDC for the District of New Jersey   3:17-cv-05663         CELLINO & BARNES, P.C.
THOMAS, MAXINE             NJ - USDC for the District of New Jersey   3:21-cv-00315         CELLINO & BARNES, P.C.
THOMPKINS, DIANNA          NJ - USDC for the District of New Jersey   3:19-cv-19897         CELLINO & BARNES, P.C.
TIETGE, HANSI              NJ - USDC for the District of New Jersey   3:20-cv-00780         CELLINO & BARNES, P.C.
TIMPANO, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-00091         CELLINO & BARNES, P.C.
TOLENTINO, IMELDA          NJ - USDC for the District of New Jersey   3:18-cv-13004         CELLINO & BARNES, P.C.
TRINGALI, LORRAINE         NJ - USDC for the District of New Jersey   3:18-cv-14349         CELLINO & BARNES, P.C.
TRUESDALE, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-13069         CELLINO & BARNES, P.C.
TUMEO, ANN                 NJ - USDC for the District of New Jersey   3:21-cv-10044         CELLINO & BARNES, P.C.
VAN ORD, SYLVIA            NJ - USDC for the District of New Jersey   3:20-cv-04241         CELLINO & BARNES, P.C.
VANCUYCK, SHIRLEY          NJ - USDC for the District of New Jersey   3:19-cv-18937         CELLINO & BARNES, P.C.
VEGA, DARLENE              NJ - USDC for the District of New Jersey   3:19-cv-20733         CELLINO & BARNES, P.C.
VEZINAW, GENIDA            NJ - USDC for the District of New Jersey   3:19-cv-19889         CELLINO & BARNES, P.C.
VICKERY, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-19290         CELLINO & BARNES, P.C.
VICTORINO, VICTORIA        NJ - USDC for the District of New Jersey   3:19-cv-19722         CELLINO & BARNES, P.C.
VIELE, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-20576         CELLINO & BARNES, P.C.
VILARDI, GINA              NJ - USDC for the District of New Jersey   3:18-cv-17107         CELLINO & BARNES, P.C.
VITTO, GLORIA              NJ - USDC for the District of New Jersey   3:19-cv-19833         CELLINO & BARNES, P.C.
VOTSIS, ELENI              NJ - USDC for the District of New Jersey   3:21-cv-12545         CELLINO & BARNES, P.C.
WAGNER, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-00084         CELLINO & BARNES, P.C.
WAGNER, ELIZA              NJ - USDC for the District of New Jersey   3:19-cv-20726         CELLINO & BARNES, P.C.
WAHL, VICKI                NJ - USDC for the District of New Jersey   3:19-cv-19962         CELLINO & BARNES, P.C.
WALDRON, KAREN             NJ - USDC for the District of New Jersey   3:19-cv-20434         CELLINO & BARNES, P.C.
WALLACE, FRANCES           NJ - USDC for the District of New Jersey   3:19-cv-21047         CELLINO & BARNES, P.C.
WALLACE, NADINE            NJ - USDC for the District of New Jersey   3:19-cv-16224         CELLINO & BARNES, P.C.
WALTER, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-01789         CELLINO & BARNES, P.C.
WARREN-HENDERSON, SANDRA   NJ - USDC for the District of New Jersey   3:19-cv-21283         CELLINO & BARNES, P.C.
WASHINGTON, RITA           NJ - USDC for the District of New Jersey   3:19-cv-18683         CELLINO & BARNES, P.C.
WASHINGTON, SALOME         NJ - USDC for the District of New Jersey   3:19-cv-18935         CELLINO & BARNES, P.C.
WATSON, LILLIAN            NJ - USDC for the District of New Jersey   3:19-cv-22069         CELLINO & BARNES, P.C.
WEBER, MARY                NJ - USDC for the District of New Jersey   3:19-cv-05595         CELLINO & BARNES, P.C.
WEEKS, TANNAZE             NJ - USDC for the District of New Jersey   3:19-cv-19160         CELLINO & BARNES, P.C.
WHEELER, CHRISTINA         NJ - USDC for the District of New Jersey   3:19-cv-17166         CELLINO & BARNES, P.C.
WHITAKER, RUTH             NJ - USDC for the District of New Jersey   3:18-cv-10716         CELLINO & BARNES, P.C.
WHITE, DORRIS              NJ - USDC for the District of New Jersey   3:20-cv-02330         CELLINO & BARNES, P.C.
WHITEHEAD, DIANA           NJ - USDC for the District of New Jersey   3:19-cv-22071         CELLINO & BARNES, P.C.
WIGGLE, ROSALIE            NJ - USDC for the District of New Jersey   3:19-cv-16461         CELLINO & BARNES, P.C.
WILKERSON, ANNETTE         NJ - USDC for the District of New Jersey   3:19-cv-19643         CELLINO & BARNES, P.C.
WILLIAMS, CAROL            NJ - USDC for the District of New Jersey   3:19-cv-18778         CELLINO & BARNES, P.C.
WILLIAMS, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-19827         CELLINO & BARNES, P.C.
WILLIAMS, GLENDA           NJ - USDC for the District of New Jersey   3:17-cv-13747         CELLINO & BARNES, P.C.
WILLIAMS, JANE             NJ - USDC for the District of New Jersey   3:18-cv-04762         CELLINO & BARNES, P.C.
WILLIAMS, KRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-00089         CELLINO & BARNES, P.C.
WILLIAMS, WANDA            NJ - USDC for the District of New Jersey   3:19-cv-18834         CELLINO & BARNES, P.C.
WILSON, BARBARA            NJ - USDC for the District of New Jersey   3:16-cv-08769         CELLINO & BARNES, P.C.
WINIARCZYK, KAROL          NJ - USDC for the District of New Jersey   3:19-cv-08480         CELLINO & BARNES, P.C.




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
WITKOWSKI, DONNA          NJ - USDC for the District of New Jersey   3:19-cv-18679         CELLINO & BARNES, P.C.
WLODARCZYK, KIM           NJ - USDC for the District of New Jersey   3:19-cv-18981         CELLINO & BARNES, P.C.
WOODWARD, KATHLEEN        NJ - USDC for the District of New Jersey   3:19-cv-18844         CELLINO & BARNES, P.C.
WOODYARD, MADLYN          NJ - USDC for the District of New Jersey   3:19-cv-20739         CELLINO & BARNES, P.C.
WORSLEY, CHARLOTTE        NJ - USDC for the District of New Jersey   3:20-cv-08190         CELLINO & BARNES, P.C.
WRIGHT, CHERYL            NJ - USDC for the District of New Jersey   3:18-cv-12723         CELLINO & BARNES, P.C.
WYNN, MARJORIE            NJ - USDC for the District of New Jersey   3:19-cv-22084         CELLINO & BARNES, P.C.
YARDEN, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-07645         CELLINO & BARNES, P.C.
YASENCHOK, LORI           NJ - USDC for the District of New Jersey   3:18-cv-13654         CELLINO & BARNES, P.C.
YENALAVITCH, MARION       NJ - USDC for the District of New Jersey   3:19-cv-19895         CELLINO & BARNES, P.C.
YOUNG, KIM                NJ - USDC for the District of New Jersey   3:18-cv-09896         CELLINO & BARNES, P.C.
YOUNG, MARTA              NJ - USDC for the District of New Jersey   3:21-cv-13560         CELLINO & BARNES, P.C.
ZAKY, ANNE                NJ - USDC for the District of New Jersey   3:19-cv-21101         CELLINO & BARNES, P.C.
ZALESKI, GENEVIEVE        NJ - USDC for the District of New Jersey   3:20-cv-00724         CELLINO & BARNES, P.C.
ZANGHI, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-00090         CELLINO & BARNES, P.C.
ZIELINSKI, BARBARA        NJ - USDC for the District of New Jersey   3:19-cv-16648         CELLINO & BARNES, P.C.
ZOLONOWSKI, GERALDINE     NJ - USDC for the District of New Jersey   3:19-cv-17744         CELLINO & BARNES, P.C.
CIRRINCIONE, GIOSEPPINA   NJ - USDC for the District of New Jersey   3:21-cv-13122         CHAFFIN LUHANA LLP
GAMBLE, LORI              NJ - USDC for the District of New Jersey   3:21-cv-00937         CHAFFIN LUHANA LLP
KNAUSS, DIANN             NJ - USDC for the District of New Jersey   3:20-cv-16773         CHAFFIN LUHANA LLP
MEYER, SABRENEA           NJ - USDC for the District of New Jersey   3:21-cv-14240         CHAFFIN LUHANA LLP
PALTER, ANN               NJ - USDC for the District of New Jersey   3:21-cv-16726         CHAFFIN LUHANA LLP
POLK, KARLA               NJ - USDC for the District of New Jersey   3:20-cv-16442         CHAFFIN LUHANA LLP
SIMMONS, MILDRED          NJ - USDC for the District of New Jersey   3:20-cv-15861         CHAFFIN LUHANA LLP
SMITH, COLLEEN            NJ - USDC for the District of New Jersey   3:20-cv-03277         CHAFFIN LUHANA LLP
SOTOODEH, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-14616         CHAFFIN LUHANA LLP
STEARNS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-11194         CHAFFIN LUHANA LLP
TUCKER, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-13977         CHAFFIN LUHANA LLP
WARREN, ANNIE             NJ - USDC for the District of New Jersey   3:20-cv-20280         CHAFFIN LUHANA LLP
STANLEY, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-01708         CHAMP LYONS III, PC
DAWOOD, KAWAB GEORGE      NJ - Superior Court - Middlesex County     MID-L-003693-20       CHANDLER KLICS, LLP
ARCHIBALD, MARGARET       NJ - USDC for the District of New Jersey   3:17-cv-02219         CHAPPELL, SMITH & ARDEN, P.A.
BARRINEAU, LAURA          NJ - USDC for the District of New Jersey   3:19-cv-20425         CHAPPELL, SMITH & ARDEN, P.A.
BERSON, SHAUNA            NJ - USDC for the District of New Jersey   3:18-cv-01001         CHAPPELL, SMITH & ARDEN, P.A.
BIGELOW, LOUISE           NJ - USDC for the District of New Jersey   3:18-cv-00140         CHAPPELL, SMITH & ARDEN, P.A.
COOLIDGE, JANE            NJ - USDC for the District of New Jersey   3:19-cv-20412         CHAPPELL, SMITH & ARDEN, P.A.
COX, CARRIE               NJ - USDC for the District of New Jersey   3:18-cv-00068         CHAPPELL, SMITH & ARDEN, P.A.
DURBIN, RACHAEL           NJ - USDC for the District of New Jersey   3:18-cv-00142         CHAPPELL, SMITH & ARDEN, P.A.
FERGUSON, PHOEBIE         NJ - USDC for the District of New Jersey   3:16-cv-08962         CHAPPELL, SMITH & ARDEN, P.A.
GROOMS, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-10701         CHAPPELL, SMITH & ARDEN, P.A.
HARPER, WILMA             NJ - USDC for the District of New Jersey   3:16-cv-08565         CHAPPELL, SMITH & ARDEN, P.A.
JAMES, BONNIE             NJ - USDC for the District of New Jersey   3:17-cv-03602         CHAPPELL, SMITH & ARDEN, P.A.
LEWIS, BETTY              NJ - USDC for the District of New Jersey   3:18-cv-00098         CHAPPELL, SMITH & ARDEN, P.A.
LEWIS, STACY              NJ - USDC for the District of New Jersey   3:18-cv-00107         CHAPPELL, SMITH & ARDEN, P.A.
MURPHY-AMOS, TIFFANY      NJ - USDC for the District of New Jersey   3:21-cv-08260         CHAPPELL, SMITH & ARDEN, P.A.
NETTLES, CYNTHIA          NJ - USDC for the District of New Jersey   3:18-cv-00103         CHAPPELL, SMITH & ARDEN, P.A.
NIXON, ROBIN              NJ - USDC for the District of New Jersey   3:18-cv-00100         CHAPPELL, SMITH & ARDEN, P.A.
PURDUE, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-20416         CHAPPELL, SMITH & ARDEN, P.A.
RAMSEY, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-00105         CHAPPELL, SMITH & ARDEN, P.A.
STONE, BETTY              NJ - USDC for the District of New Jersey   3:18-cv-00112         CHAPPELL, SMITH & ARDEN, P.A.
WILSON, MARGARET          NJ - USDC for the District of New Jersey   3:18-cv-00119         CHAPPELL, SMITH & ARDEN, P.A.
ABDUR-RASHEED, DAIMA      GA - State Court of Fayette County         CACE20002075          CHEELEY LAW GROUP
ADAMS, ELIZABETH          GA - State Court of Gwinnett County        20-C-01546-S5         CHEELEY LAW GROUP
AMIN, SUSIE               GA - State Court of Spalding County        19V-1210              CHEELEY LAW GROUP
ARCHER, CHERYL            GA - State Court of Clayton County         2019CV00656           CHEELEY LAW GROUP
BARNES, MARTHA            GA - State Court of Fulton County          20EV003751            CHEELEY LAW GROUP
BROOKINS, DEBBIE          GA - Superior Court of Seminole County     cv20-0080             CHEELEY LAW GROUP
BRUCE, MINNIE             GA - State Court of Fulton County          20EV003767            CHEELEY LAW GROUP
BUCKLEY, ANNETTE          GA - State Court of Worth County           ST19CV0056            CHEELEY LAW GROUP
CALDWELL, BARBARA         GA - State Court of Telfair County         19-cv-143             CHEELEY LAW GROUP
COX, MARTHA               NJ - USDC for the District of New Jersey   3:20-cv-06779         CHEELEY LAW GROUP
DELAMAR, BERNADETTE       NJ - USDC for the District of New Jersey   3:20-cv-10385         CHEELEY LAW GROUP
DENNEY, CONNIE            NJ - USDC for the District of New Jersey   3:20-cv-06781         CHEELEY LAW GROUP
EUBANKS, SHIRLEY          GA - State Court of DeKalb County          19A78294              CHEELEY LAW GROUP
EVANS, MARGIE             GA - State Court of Richmond County        2018RCS01222          CHEELEY LAW GROUP
FORT, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-10386         CHEELEY LAW GROUP
FUST, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-12394         CHEELEY LAW GROUP
GOLDBERG, SANDRA          GA - State Court of Forsyth County         20SC-0670-A           CHEELEY LAW GROUP
GREGORY, SONNA            NJ - USDC for the District of New Jersey   3:20-cv-10112         CHEELEY LAW GROUP
HALL, CHARLIE             GA - State Court of Mitchell County        21SC047               CHEELEY LAW GROUP
HICKS, NANCY              NJ - USDC for the District of New Jersey   3:16-cv-07428         CHEELEY LAW GROUP
JACKSON, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-10387         CHEELEY LAW GROUP
JOHNSON, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-10388         CHEELEY LAW GROUP
JOHNSON-WHATLEY, JEANNE   GA - State Court of Fulton County          20EV003754            CHEELEY LAW GROUP
KENDRICK, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-10391         CHEELEY LAW GROUP
KESSLER, LYNNE            NJ - USDC for the District of New Jersey   3:20-cv-10392         CHEELEY LAW GROUP
KOWAL, BARBARA            GA - State Court of Fulton County          20EV001600            CHEELEY LAW GROUP
LEWIS, DIANA              GA - State Court of Coweta County          19SV0641E             CHEELEY LAW GROUP
LOVETT-DURHAM, PATRICIA   NJ - USDC for the District of New Jersey   3:20-cv-10446         CHEELEY LAW GROUP
LOWERY, ELEANOR           GA - State Court of Sumter County          20CV00103             CHEELEY LAW GROUP




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
MARCHETTI, CAMMY          NJ - USDC for the District of New Jersey    3:16-cv-08082         CHEELEY LAW GROUP
MARTIN, LIZABETH          GA - State Court of Forsyth County          19SC-1733-B           CHEELEY LAW GROUP
MORAITAKIS, LISA          GA - State Court of Cobb County             21-A-1334             CHEELEY LAW GROUP
READDY, SHELIA            GA - State Court of Clayton County          2020CV00252           CHEELEY LAW GROUP
SEE, BETTY                GA - State Court of DeKalb County           20-A-78762            CHEELEY LAW GROUP
SHIVER, IRENE             GA - State Court of Dougherty County        STSV2019000443        CHEELEY LAW GROUP
SHRODES, CATHERINE        GA - State Court of Cobb County             19-A-4350             CHEELEY LAW GROUP
SNIPES, ELNORA            GA - State Court of DeKalb County           19A78293              CHEELEY LAW GROUP
STRICKLAND, NELL          NJ - USDC for the District of New Jersey    3:16-cv-07337         CHEELEY LAW GROUP
STUSAK, MARILYN           GA - State Court of DeKalb County           20-A-79558            CHEELEY LAW GROUP
SUMNER, CHERYL            NJ - USDC for the District of New Jersey    3:20-cv-06825         CHEELEY LAW GROUP
TARDIF, FRANCES           NJ - USDC for the District of New Jersey    3:21-cv-11197         CHEELEY LAW GROUP
THORNBURG, PEGGYE         GA - State Court of Clarke County           ST19CV0649            CHEELEY LAW GROUP
TRIEGLAFF, VICKI          GA - State Court of Fulton County           19EV003302            CHEELEY LAW GROUP
WALKER, ALLISON           NJ - USDC for the District of New Jersey    3:16-cv-07503         CHEELEY LAW GROUP
WEAVER, TAMMY             NJ - USDC for the District of New Jersey    3:20-cv-03744         CHEELEY LAW GROUP
WESTBROOK, ELIZABETH      GA - State Court of Muscogee County         SC2021CV000562        CHEELEY LAW GROUP
WILLIAMS, JANET           NJ - USDC for the District of New Jersey    3:17-cv-01507         CHEELEY LAW GROUP
                                                                                            CHEHARDY, SHERMAN, WILLIAMS, RECILE,
CORTEZ, SANDRA            LA - District Court - East Baton Rouge Parish C-676334 25
                                                                                            STAKELUM & HAYES, LLP
LABOVITCH, CAREN          CA - Superior Court - Los Angeles County    BC681608              CHEONG, DENOVE, ROWELL & BENNETT
ADAMS, JANE               NJ - USDC for the District of New Jersey    3:18-cv-01060         CHILDERS, SCHLUETER & SMITH, LLC
ALEMANY, GRETZA           NJ - USDC for the District of New Jersey    3:21-cv-09326         CHILDERS, SCHLUETER & SMITH, LLC
ALGER, DOROTHY            NJ - USDC for the District of New Jersey    3:18-cv-01117         CHILDERS, SCHLUETER & SMITH, LLC
ALLEN, SABYNE             NJ - USDC for the District of New Jersey    3:18-cv-08598         CHILDERS, SCHLUETER & SMITH, LLC
BECKMAN, BILLIE           NJ - USDC for the District of New Jersey    3:20-cv-15230         CHILDERS, SCHLUETER & SMITH, LLC
BILZZARD, ZORA            NJ - USDC for the District of New Jersey    3:21-cv-08569         CHILDERS, SCHLUETER & SMITH, LLC
CHOWDHURY, SHAHEDA        GA - State Court of Gwinnett County         20-C-00166-S2         CHILDERS, SCHLUETER & SMITH, LLC
CLICK, DIANA              NJ - USDC for the District of New Jersey    3:19-cv-08377         CHILDERS, SCHLUETER & SMITH, LLC
CUMMINGS, SHAMIA          NJ - USDC for the District of New Jersey    3:21-cv-08562         CHILDERS, SCHLUETER & SMITH, LLC
CUNNINGHAM, YAVONNE       NJ - USDC for the District of New Jersey    3:17-cv-06662         CHILDERS, SCHLUETER & SMITH, LLC
DIXON, MARY               NJ - USDC for the District of New Jersey    3:17-cv-06640         CHILDERS, SCHLUETER & SMITH, LLC
DOUGHERTY, DEBRA          CA - Superior Court - Santa Clara County    18CV339072            CHILDERS, SCHLUETER & SMITH, LLC
EDWARDS, ARISHA           NJ - USDC for the District of New Jersey    3:18-cv-02868         CHILDERS, SCHLUETER & SMITH, LLC
GARCIA, PERCY             NJ - USDC for the District of New Jersey    3:21-cv-06944         CHILDERS, SCHLUETER & SMITH, LLC
GARNER, KAREENA           NJ - USDC for the District of New Jersey    3:20-cv-07066         CHILDERS, SCHLUETER & SMITH, LLC
GINSBURG, TINA            GA - State Court of Gwinnett County         18C039922             CHILDERS, SCHLUETER & SMITH, LLC
GREENBERG, JUDITH         NJ - USDC for the District of New Jersey    3:17-cv-06605         CHILDERS, SCHLUETER & SMITH, LLC
GUNTHER, MAIDA            NJ - USDC for the District of New Jersey    3:20-cv-06045         CHILDERS, SCHLUETER & SMITH, LLC
HALE, SUN                 NJ - USDC for the District of New Jersey    3:21-cv-16611         CHILDERS, SCHLUETER & SMITH, LLC
HOLMAN, JOYCE             NJ - USDC for the District of New Jersey    3:17-cv-11438         CHILDERS, SCHLUETER & SMITH, LLC
JONES, ANGELICA           NJ - USDC for the District of New Jersey    3:18-cv-02913         CHILDERS, SCHLUETER & SMITH, LLC
LAMB, DEBORAH             NJ - USDC for the District of New Jersey    3:18-cv-02926         CHILDERS, SCHLUETER & SMITH, LLC
LONG, JAMIE               GA - State Court of Gwinnett County         18C039942             CHILDERS, SCHLUETER & SMITH, LLC
MATTOX, SHARA             NJ - USDC for the District of New Jersey    3:19-cv-21955         CHILDERS, SCHLUETER & SMITH, LLC
MAYS, MARGARET            NJ - USDC for the District of New Jersey    3:17-cv-06657         CHILDERS, SCHLUETER & SMITH, LLC
MCSHERRY, REBECCA         NJ - USDC for the District of New Jersey    3:21-cv-16613         CHILDERS, SCHLUETER & SMITH, LLC
MILLER, JANET             GA - State Court of Gwinnett County         18C039912             CHILDERS, SCHLUETER & SMITH, LLC
MOORE, WILLA              NJ - USDC for the District of New Jersey    3:21-cv-09837         CHILDERS, SCHLUETER & SMITH, LLC
NEWTON, TAMMY             NJ - USDC for the District of New Jersey    3:18-cv-08422         CHILDERS, SCHLUETER & SMITH, LLC
OREAR, PRUDENCE           NJ - USDC for the District of New Jersey    3:19-cv-22148         CHILDERS, SCHLUETER & SMITH, LLC
PACE, MICHELLE            GA - State Court of Gwinnett County         18C05635-2            CHILDERS, SCHLUETER & SMITH, LLC
PARKER, BETTYE            NJ - USDC for the District of New Jersey    3:18-cv-09177         CHILDERS, SCHLUETER & SMITH, LLC
PARKER, DONNA             NJ - USDC for the District of New Jersey    3:21-cv-08447         CHILDERS, SCHLUETER & SMITH, LLC
PAYNE, BETTY              NJ - USDC for the District of New Jersey    3:19-cv-21914         CHILDERS, SCHLUETER & SMITH, LLC
PETTIS, MARJORIE          NJ - USDC for the District of New Jersey    3:18-cv-02968         CHILDERS, SCHLUETER & SMITH, LLC
PIZZONI, VENUS            CA - Superior Court - Los Angeles County    18CV339081            CHILDERS, SCHLUETER & SMITH, LLC
RIZZI, PAMELA             NJ - USDC for the District of New Jersey    3:17-cv-06649         CHILDERS, SCHLUETER & SMITH, LLC
SALTERS, SYDNEY           NJ - USDC for the District of New Jersey    3:18-cv-08617         CHILDERS, SCHLUETER & SMITH, LLC
SANDMAN, JANET            GA - State Court of Gwinnett County         18C039932             CHILDERS, SCHLUETER & SMITH, LLC
SCOTT, DEE                NJ - USDC for the District of New Jersey    3:21-cv-16754         CHILDERS, SCHLUETER & SMITH, LLC
SWAN, KAREN               GA - State Court of Gwinnett County         19-C-09063            CHILDERS, SCHLUETER & SMITH, LLC
THORPE, CHRISTEEN         NJ - USDC for the District of New Jersey    3:21-cv-12237         CHILDERS, SCHLUETER & SMITH, LLC
TOLBERT, BRENDA           NJ - USDC for the District of New Jersey    3:21-cv-16616         CHILDERS, SCHLUETER & SMITH, LLC
TORRES, WANDA             NJ - USDC for the District of New Jersey    3:21-cv-16620         CHILDERS, SCHLUETER & SMITH, LLC
TUBBS, MONICA             NJ - USDC for the District of New Jersey    3:21-cv-16624         CHILDERS, SCHLUETER & SMITH, LLC
VAUGHN, CRISTY            NJ - USDC for the District of New Jersey    3:21-cv-16626         CHILDERS, SCHLUETER & SMITH, LLC
WALLIS, OCEAIN            NJ - USDC for the District of New Jersey    3:17-cv-12176         CHILDERS, SCHLUETER & SMITH, LLC
WALTERMIRE, SHARLA        NJ - USDC for the District of New Jersey    3:21-cv-16629         CHILDERS, SCHLUETER & SMITH, LLC
WEBSTER, MARGARET         NJ - USDC for the District of New Jersey    3:17-cv-06654         CHILDERS, SCHLUETER & SMITH, LLC
WEEKS, SHARON             NJ - USDC for the District of New Jersey    3:18-cv-02980         CHILDERS, SCHLUETER & SMITH, LLC
WELLS, VICTORIA           NJ - USDC for the District of New Jersey    3:18-cv-08500         CHILDERS, SCHLUETER & SMITH, LLC
WHITE, AMY                NJ - USDC for the District of New Jersey    3:18-cv-02991         CHILDERS, SCHLUETER & SMITH, LLC
MORRIS, SUSAN             NJ - USDC for the District of New Jersey    3:19-cv-15084         CHISHOLM & CHISHOLM, P.C.
GUBIN, STEPHANIE          NJ - USDC for the District of New Jersey    3:20-cv-11321         CHRISTOPHER D. SMITH P.A.
                                                                                            CLARK, ROBB, MASON, COULMBE BUSCHMAN
BOWEN, ELAINE             NJ - USDC for the District of New Jersey    3:19-cv-05232
                                                                                            &
                                                                                            CLARK, ROBB, MASON, COULMBE BUSCHMAN
EHRLICH, MELINDA          NJ - USDC for the District of New Jersey    3:18-cv-17123
                                                                                            &




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        Claimant Name                   State Filed                     Docket Number                Plaintiff Counsel
                                                                                        CLARK, ROBB, MASON, COULMBE BUSCHMAN
MAROHNIC, OLGA          NJ - USDC for the District of New Jersey   3:19-cv-18196
                                                                                        &
                                                                                        CLARK, ROBB, MASON, COULMBE BUSCHMAN
WOOD, AMY               NJ - USDC for the District of New Jersey   3:16-cv-07986
                                                                                        &
GUZMAN, SOPHIA          NJ - USDC for the District of New Jersey   3:19-cv-17675        CLAYEO C. ARNOLD, APC
SEYBOLT, PATRICIA       CA - Superior Court - Santa Clara County   17CV317372           CLAYEO C. ARNOLD, APC
VARELA, MELISA          CA - Superior Court - Santa Clara County   17CV317371           CLAYEO C. ARNOLD, APC
ALLEN, WANDA            IL - Circuit Court - Cook County           2018-L-1786          CLIFFORD LAW OFFICES, P.C
BROWN, EDNA             IL - Circuit Court - Cook County           2018-L-10476         CLIFFORD LAW OFFICES, P.C
BUSCH, BARBARA          IL - Circuit Court - Cook County           2018-L-1306          CLIFFORD LAW OFFICES, P.C
CABEZA, BEATRIZ         IL - Circuit Court - Cook County           2018-L-1311          CLIFFORD LAW OFFICES, P.C
CAMBRON, MONICA         NJ - USDC for the District of New Jersey   3:18-cv-03446        CLIFFORD LAW OFFICES, P.C
CARTER, TARSHWA         IL - Circuit Court - Cook County           2018-L-1310          CLIFFORD LAW OFFICES, P.C
COATES, BRIDGET         IL - Circuit Court - Cook County           2018-L-1625          CLIFFORD LAW OFFICES, P.C
COHN-SHARON, LILLIAN    IL - Circuit Court - Cook County           2018-L-1629          CLIFFORD LAW OFFICES, P.C
COOK, ELAINE            IL - Circuit Court - Cook County           2018-L-1811          CLIFFORD LAW OFFICES, P.C
DAVIS, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-03450        CLIFFORD LAW OFFICES, P.C
DISPENSA, DAWN          NJ - USDC for the District of New Jersey   3:18-cv-03439        CLIFFORD LAW OFFICES, P.C
DUNBAR, PATRICIA        IL - Circuit Court - Cook County           2018-L-1789          CLIFFORD LAW OFFICES, P.C
FRYE-MORAGNE, ANN       IL - Circuit Court - Cook County           2017-L-13316         CLIFFORD LAW OFFICES, P.C
FUGIEL, DEBRA           IL - Circuit Court - Cook County           2018-L-1806          CLIFFORD LAW OFFICES, P.C
GOMES, VICTORIA         IL - Circuit Court - Cook County           2018-L-1302          CLIFFORD LAW OFFICES, P.C
HARRIS, ANDREA          IL - Circuit Court - Cook County           2017-L-2169          CLIFFORD LAW OFFICES, P.C
HEIN, CHARLETTE         NJ - USDC for the District of New Jersey   3:18-cv-03479        CLIFFORD LAW OFFICES, P.C
HENRY, TABITHA          NJ - USDC for the District of New Jersey   3:17-cv-12672        CLIFFORD LAW OFFICES, P.C
HODGE, CHRISTINE        IL - Circuit Court - Cook County           2018-L-1807          CLIFFORD LAW OFFICES, P.C
HOLLAND, DARLENE        NJ - USDC for the District of New Jersey   3:18-cv-03444        CLIFFORD LAW OFFICES, P.C
JONES, VONCILE          IL - Circuit Court - Cook County           2018-L-1790          CLIFFORD LAW OFFICES, P.C
JOYCE, AMANDA           NJ - USDC for the District of New Jersey   3:18-cv-03448        CLIFFORD LAW OFFICES, P.C
KING, SHELLEY           NJ - USDC for the District of New Jersey   3:18-cv-03342        CLIFFORD LAW OFFICES, P.C
KIRK-BROWN, MILDRED     IL - Circuit Court - Cook County           2018-L-1866          CLIFFORD LAW OFFICES, P.C
LAMORE, JULIE           NJ - USDC for the District of New Jersey   3:18-cv-03409        CLIFFORD LAW OFFICES, P.C
LEACH, SUSAN            IL - Circuit Court - Cook County           2018-L-1301          CLIFFORD LAW OFFICES, P.C
LEINEN, MARY            NJ - USDC for the District of New Jersey   3:18-cv-03433        CLIFFORD LAW OFFICES, P.C
LUSTER, JO ELLEN        IL - Circuit Court - Cook County           2019-L-9219          CLIFFORD LAW OFFICES, P.C
LYMAN, NANCY            IL - Circuit Court - Cook County           2018-L-1787          CLIFFORD LAW OFFICES, P.C
MCGINNIS, BERNADETTE    IL - Circuit Court - Cook County           2018-L-1628          CLIFFORD LAW OFFICES, P.C
MORRILL, PAMELA         IL - Circuit Court - Cook County           2017-L-8094          CLIFFORD LAW OFFICES, P.C
OHALLORAN, KATHLEEN     NJ - USDC for the District of New Jersey   3:18-cv-12422        CLIFFORD LAW OFFICES, P.C
ONEAL, LISA             NJ - USDC for the District of New Jersey   3:18-cv-03445        CLIFFORD LAW OFFICES, P.C
RISLEY, HOPE            IL - Circuit Court - Cook County           2020L006924          CLIFFORD LAW OFFICES, P.C
ROBINSON, CORA          NJ - USDC for the District of New Jersey   3:18-cv-03408        CLIFFORD LAW OFFICES, P.C
SABATINE, LISA          IL - Circuit Court - Cook County           2020-L-1795          CLIFFORD LAW OFFICES, P.C
SCHMIDT, MARALDINE      IL - Circuit Court - Cook County           2018-L-1809          CLIFFORD LAW OFFICES, P.C
SCHULTZ, VALERIE        IL - Circuit Court - Cook County           2018-L-1867          CLIFFORD LAW OFFICES, P.C
SPANO, ISABEL           NJ - USDC for the District of New Jersey   3:18-cv-03396        CLIFFORD LAW OFFICES, P.C
SUMMERS, CAROL          IL - Circuit Court - Cook County           2020-L-1314          CLIFFORD LAW OFFICES, P.C
TORRES, CHRISTINE       NJ - USDC for the District of New Jersey   3:18-cv-12368        CLIFFORD LAW OFFICES, P.C
VIRATA, MAY             NJ - USDC for the District of New Jersey   3:18-cv-03447        CLIFFORD LAW OFFICES, P.C
WILDMAN, SHARON         IL - Circuit Court - Cook County           2018-L-1309          CLIFFORD LAW OFFICES, P.C
WILLIAMS, OSHUNNA       IL - Circuit Court - Cook County           2018-L-1308          CLIFFORD LAW OFFICES, P.C
WILLIAMS, GLORIA        NJ - USDC for the District of New Jersey   3:18-cv-12241        CLORE LAW GROUP LLC
ABERNATHY, JENNIFER     NJ - USDC for the District of New Jersey   3:17-cv-05113        COHEN & MALAD, LLP
AMBROSE, LINDA          NJ - USDC for the District of New Jersey   3:17-cv-11726        COHEN & MALAD, LLP
ARNOLD, RAMONA          NJ - USDC for the District of New Jersey   3:17-cv-11649        COHEN & MALAD, LLP
BARDWELL, DAWN          NJ - USDC for the District of New Jersey   3:17-cv-08829        COHEN & MALAD, LLP
BECK, EVA               NJ - USDC for the District of New Jersey   3:17-cv-10679        COHEN & MALAD, LLP
BEHUNIN, CARRIE         NJ - USDC for the District of New Jersey   3:17-cv-08666        COHEN & MALAD, LLP
BERKE, SHERRY           NJ - USDC for the District of New Jersey   3:20-cv-10561        COHEN & MALAD, LLP
BEYNON, DORI            NJ - USDC for the District of New Jersey   3:17-cv-05023        COHEN & MALAD, LLP
BLACKWOOD, DIANA        NJ - USDC for the District of New Jersey   3:18-cv-01142        COHEN & MALAD, LLP
BLOW, PRISCILLA         NJ - USDC for the District of New Jersey   3:18-cv-00974        COHEN & MALAD, LLP
BROWN, DIANE            NJ - USDC for the District of New Jersey   3:18-cv-01189        COHEN & MALAD, LLP
BURNETT, LISA           NJ - USDC for the District of New Jersey   3:18-cv-01083        COHEN & MALAD, LLP
CANNON, CHERYL          NJ - USDC for the District of New Jersey   3:18-cv-16529        COHEN & MALAD, LLP
CARTER, LORNA           NJ - USDC for the District of New Jersey   3:17-cv-05117        COHEN & MALAD, LLP
CARUSO, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-09036        COHEN & MALAD, LLP
CHAMBERS, SYLVIA        NJ - USDC for the District of New Jersey   3:18-cv-15805        COHEN & MALAD, LLP
CHENIER, ROSEMARY       NJ - USDC for the District of New Jersey   3:18-cv-01192        COHEN & MALAD, LLP
CINTRON, BLANCA         NJ - USDC for the District of New Jersey   3:18-cv-08342        COHEN & MALAD, LLP
COLEMAN, MARY           NJ - USDC for the District of New Jersey   3:17-cv-01156        COHEN & MALAD, LLP
COURTNEY, ELIZABETH     NJ - USDC for the District of New Jersey   3:21-cv-04718        COHEN & MALAD, LLP
CUAMBA, VERONICA        NJ - USDC for the District of New Jersey   3:18-cv-00289        COHEN & MALAD, LLP
CUPULONG, MARITESS      NJ - USDC for the District of New Jersey   3:17-cv-01480        COHEN & MALAD, LLP
DANIEL, SHARON          NJ - USDC for the District of New Jersey   3:17-cv-11730        COHEN & MALAD, LLP
DANNER, LINDA           NJ - Superior Court - Atlantic County      ATL-L964-17          COHEN & MALAD, LLP
DAVIS, MARILYN          NJ - USDC for the District of New Jersey   3:17-cv-08670        COHEN & MALAD, LLP
DELANUEZ, DIANNA        NJ - USDC for the District of New Jersey   3:17-cv-05627        COHEN & MALAD, LLP
EDWARDS, ARLENE         NJ - USDC for the District of New Jersey   3:17-cv-01129        COHEN & MALAD, LLP
EMERY, BONNIE           NJ - USDC for the District of New Jersey   3:18-cv-01364        COHEN & MALAD, LLP




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
EPLIN, SHERRI             NJ - USDC for the District of New Jersey   3:17-cv-05541         COHEN & MALAD, LLP
FERMAN, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-00841         COHEN & MALAD, LLP
FOSTER, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-11757         COHEN & MALAD, LLP
GONZALEZ, MARIA           NJ - Superior Court - Atlantic County      ATL-L-99-18           COHEN & MALAD, LLP
GOODEN, ANNIE             NJ - USDC for the District of New Jersey   3:18-cv-08589         COHEN & MALAD, LLP
GOUCHER, NANCY            NJ - USDC for the District of New Jersey   3:17-cv-11761         COHEN & MALAD, LLP
GRUBER, MARJORIE          NJ - USDC for the District of New Jersey   3:18-cv-00884         COHEN & MALAD, LLP
HARKER, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-01371         COHEN & MALAD, LLP
HENSON, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-05415         COHEN & MALAD, LLP
HERNANDEZ, ROSA           NJ - USDC for the District of New Jersey   3:20-cv-12505         COHEN & MALAD, LLP
HERRING, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-01009         COHEN & MALAD, LLP
HILE, LAURA               NJ - USDC for the District of New Jersey   3:18-cv-16101         COHEN & MALAD, LLP
HYDE, FAYE                NJ - USDC for the District of New Jersey   3:17-cv-01157         COHEN & MALAD, LLP
JACKSON, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-12887         COHEN & MALAD, LLP
JEWELL, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-01961         COHEN & MALAD, LLP
JOHNSON, BETTY            NJ - USDC for the District of New Jersey   3:17-cv-10888         COHEN & MALAD, LLP
JOHNSON, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-08733         COHEN & MALAD, LLP
JOWERS, DOROTHY GRANT     NJ - USDC for the District of New Jersey   3:18-cv-01199         COHEN & MALAD, LLP
KEARNS, DEBRA             NJ - USDC for the District of New Jersey   3:18-cv-14404         COHEN & MALAD, LLP
KESLER, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-14393         COHEN & MALAD, LLP
KLINGAMAN, PRISCILLA      NJ - USDC for the District of New Jersey   3:18-cv-01227         COHEN & MALAD, LLP
KNOTTS, JUDITH            NJ - USDC for the District of New Jersey   3:17-cv-08708         COHEN & MALAD, LLP
KOEHLER, TERRI            NJ - USDC for the District of New Jersey   3:17-cv-08721         COHEN & MALAD, LLP
LANKTON, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-04582         COHEN & MALAD, LLP
LEE, MARTHA               NJ - USDC for the District of New Jersey   3:21-cv-01700         COHEN & MALAD, LLP
LEWIS, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-00269         COHEN & MALAD, LLP
LOGRASSO, CARMELA         NJ - USDC for the District of New Jersey   3:18-cv-01207         COHEN & MALAD, LLP
LOW, RHONDA               NJ - USDC for the District of New Jersey   3:17-cv-08727         COHEN & MALAD, LLP
LUNDBERG, REBECCA         NJ - USDC for the District of New Jersey   3:18-cv-01225         COHEN & MALAD, LLP
MCCORD, CAMELLA           NJ - USDC for the District of New Jersey   3:17-cv-13754         COHEN & MALAD, LLP
MENDOZA, FLORENCE         NJ - USDC for the District of New Jersey   3:21-cv-01964         COHEN & MALAD, LLP
MEYER, JOLENE             NJ - USDC for the District of New Jersey   3:18-cv-08578         COHEN & MALAD, LLP
MILES, BEVERLY            NJ - USDC for the District of New Jersey   3:18-cv-00743         COHEN & MALAD, LLP
MITCHELL, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-02005         COHEN & MALAD, LLP
MONTIHO, MARLENE          NJ - USDC for the District of New Jersey   3:17-cv-11770         COHEN & MALAD, LLP
MOSS, PENNY               NJ - USDC for the District of New Jersey   3:17-cv-00033         COHEN & MALAD, LLP
MURPHY, ANDREA            NJ - USDC for the District of New Jersey   3:18-cv-12503         COHEN & MALAD, LLP
NIELSON, KATHRYN          NJ - USDC for the District of New Jersey   3:18-cv-00282         COHEN & MALAD, LLP
OGLESBY, CECILIA          NJ - USDC for the District of New Jersey   3:17-cv-08813         COHEN & MALAD, LLP
PATTERSON, CAROL          NJ - USDC for the District of New Jersey   3:17-cv-08818         COHEN & MALAD, LLP
PATTERSON, WANDA          NJ - USDC for the District of New Jersey   3:18-cv-00773         COHEN & MALAD, LLP
PENTINIO, TIESHIA PEREA   NJ - USDC for the District of New Jersey   3:21-cv-02463         COHEN & MALAD, LLP
PETERSON, THERESA         NJ - USDC for the District of New Jersey   3:18-cv-00746         COHEN & MALAD, LLP
PICOU, CINDY              NJ - USDC for the District of New Jersey   3:17-cv-00838         COHEN & MALAD, LLP
PIKE, TAMMARA             NJ - USDC for the District of New Jersey   3:18-cv-00749         COHEN & MALAD, LLP
PREJEAN, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-00873         COHEN & MALAD, LLP
PRICE, ANNE               NJ - USDC for the District of New Jersey   3:20-cv-09037         COHEN & MALAD, LLP
RADER, PATRICE            NJ - USDC for the District of New Jersey   3:17-cv-10688         COHEN & MALAD, LLP
RAMOS, SYLVIA             NJ - USDC for the District of New Jersey   3:18-cv-16441         COHEN & MALAD, LLP
REASOR, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-01231         COHEN & MALAD, LLP
RICHARD, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-00874         COHEN & MALAD, LLP
ROBERTSON, JANICE         NJ - USDC for the District of New Jersey   3:18-cv-00795         COHEN & MALAD, LLP
SALAZAR, VERONICA         NJ - USDC for the District of New Jersey   3:18-cv-00797         COHEN & MALAD, LLP
SCHLOSSER, LORNA          NJ - USDC for the District of New Jersey   3:21-cv-01968         COHEN & MALAD, LLP
SEITZ, PEGGY              NJ - USDC for the District of New Jersey   3:18-cv-01375         COHEN & MALAD, LLP
SELLS, JUDITH             NJ - USDC for the District of New Jersey   3:17-cv-00910         COHEN & MALAD, LLP
SHEPPARD, BILLIE          NJ - USDC for the District of New Jersey   3:18-cv-04154         COHEN & MALAD, LLP
SINGLETON, MARY           NJ - USDC for the District of New Jersey   3:20-cv-09040         COHEN & MALAD, LLP
SMITH, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-01711         COHEN & MALAD, LLP
SOLDAN, DENICE            NJ - USDC for the District of New Jersey   3:21-cv-17011         COHEN & MALAD, LLP
STOTLER, MELVA            NJ - USDC for the District of New Jersey   3:18-cv-01211         COHEN & MALAD, LLP
TAYLOR, MARY              NJ - USDC for the District of New Jersey   3:18-cv-03700         COHEN & MALAD, LLP
TINGSTROM, PAMELA         NJ - USDC for the District of New Jersey   3:17-cv-00839         COHEN & MALAD, LLP
TUTTLE, GINA              NJ - USDC for the District of New Jersey   3:21-cv-00868         COHEN & MALAD, LLP
WILDER, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-00938         COHEN & MALAD, LLP
WILDEROTTER, JANE         NJ - USDC for the District of New Jersey   3:17-cv-00983         COHEN & MALAD, LLP
WILSON, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-00939         COHEN & MALAD, LLP
WOLLE, LISA               NJ - USDC for the District of New Jersey   3:20-cv-15765         COHEN & MALAD, LLP
WRIGHT, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-00940         COHEN & MALAD, LLP
ZERINGUE, DARLENE         NJ - USDC for the District of New Jersey   3:17-cv-08824         COHEN & MALAD, LLP
ACEVEDO, LOLA             NJ - Superior Court - Atlantic County      ATL-L-2256-17         COHEN, PLACITELLA & ROTH
ARNOLD, MARY              NJ - Superior Court - Atlantic County      ATL-L-000436-20       COHEN, PLACITELLA & ROTH
AROMANDO, LAURIE          NJ - Superior Court - Atlantic County      ATL-L-2417-17         COHEN, PLACITELLA & ROTH
AULD, CARLA               NJ - Superior Court - Atlantic County      ATL-L-001804-18       COHEN, PLACITELLA & ROTH
BACCARI, LILIANA          NJ - Superior Court - Atlantic County      ATL-L-002454-21       COHEN, PLACITELLA & ROTH
BISHOP, IMELDA            NJ - Superior Court - Atlantic County      ATL-L-001738-20       COHEN, PLACITELLA & ROTH
BORGER, SUSAN             NJ - Superior Court - Atlantic County      ATL-L-337-18          COHEN, PLACITELLA & ROTH
BOSSERT, NANCY            NJ - Superior Court - Atlantic County      ATL-L-002584-20       COHEN, PLACITELLA & ROTH
BOTHE, BEVERLY            NJ - Superior Court - Atlantic County      ATL-L-2602-17         COHEN, PLACITELLA & ROTH
BOWMAN, PENNY             NJ - Superior Court - Atlantic County      ATL-L-003302-20       COHEN, PLACITELLA & ROTH




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          Claimant Name                       State Filed                         Docket Number                Plaintiff Counsel
BOYCE, LINDA                  NJ - Superior Court - Atlantic County         ATL-L-000449-21       COHEN, PLACITELLA & ROTH
BROWN, TERESA                 NJ - Superior Court - Atlantic County         ATL-L-2260-17         COHEN, PLACITELLA & ROTH
BURNS, PATRICIA               NJ - Superior Court - Atlantic County         ATL-L-001377-20       COHEN, PLACITELLA & ROTH
BUTTERFIELD, PAULA            NJ - Superior Court - Atlantic County         ATL-L-003248-20       COHEN, PLACITELLA & ROTH
CARLIN, HEATHER               NJ - USDC for the District of New Jersey      3:16-cv-08699         COHEN, PLACITELLA & ROTH
CASTANES, HARRIET             NJ - Superior Court - Atlantic County         ATL-L-003291-20       COHEN, PLACITELLA & ROTH
CATARIOUS, LORI               NJ - Superior Court - Atlantic County         ATL-L-1618-19         COHEN, PLACITELLA & ROTH
CONDO, JULIA                  NJ - Superior Court - Atlantic County         ATL-L-002933-20       COHEN, PLACITELLA & ROTH
CRISO, IRENE                  NJ - Superior Court - Atlantic County         ATL-L-003183-20       COHEN, PLACITELLA & ROTH
CROSS, LILLIAN                NJ - USDC for the District of New Jersey      3:18-cv-02612         COHEN, PLACITELLA & ROTH
CUMMINGS, KAREN               NJ - Superior Court - Atlantic County         ATL-L-002160-18       COHEN, PLACITELLA & ROTH
DANCE, PATRICIA               NJ - USDC for the District of New Jersey      3:16-cv-07844         COHEN, PLACITELLA & ROTH
DAWSON, YOLANDA               NJ - Superior Court - Atlantic County         ATL-L-002127-21       COHEN, PLACITELLA & ROTH
DICARLO, JUDY                 NJ - Superior Court - Atlantic County         ATL-L-1951-20         COHEN, PLACITELLA & ROTH
ELDER, KAREN                  NJ - USDC for the District of New Jersey      3:19-cv-20559         COHEN, PLACITELLA & ROTH
ENDRES, CHRISTINA             NJ - Superior Court - Atlantic County         ATL-L-000611-21       COHEN, PLACITELLA & ROTH
ENGLAND, MARIE                NJ - Superior Court - Atlantic County         ATL-L-2603-17         COHEN, PLACITELLA & ROTH
ESCH, JENNIFER                NJ - Superior Court - Atlantic County         ATL-L-002672-20       COHEN, PLACITELLA & ROTH
ESSER, MAUREEN                NJ - Superior Court - Atlantic County         ATL-L-2058-17         COHEN, PLACITELLA & ROTH
FERRERI, TONI                 NJ - Superior Court - Atlantic County         ATL-001379-20         COHEN, PLACITELLA & ROTH
FLAGG, JOCELYN                NJ - Superior Court - Atlantic County         ATL-L-00068720        COHEN, PLACITELLA & ROTH
FOLIGNO, PHYLLIS              NJ - Superior Court - Atlantic County         ATL-L-001905-16       COHEN, PLACITELLA & ROTH
FOWLER, GAIL                  NJ - Superior Court - Atlantic County         ATL-L-55-18           COHEN, PLACITELLA & ROTH
FULTON, WINIFRED              NJ - Superior Court - Atlantic County         ATL-L-001808-18       COHEN, PLACITELLA & ROTH
GALLO, ELIZABETH              NJ - Superior Court - Atlantic County         ATL-L-2711-17         COHEN, PLACITELLA & ROTH
GODIN, VANESSA                NJ - Superior Court - Atlantic County         ATL-L-001640-18       COHEN, PLACITELLA & ROTH
GRAHAM-MATTHEWS, MARGARET NJ - Superior Court - Atlantic County             ATL-L-004207-20       COHEN, PLACITELLA & ROTH
HARRELL, MICHELE              NJ - Superior Court - Atlantic County         ATL-L-2251-17         COHEN, PLACITELLA & ROTH
HARRIS, CAROL                 NJ - Superior Court - Atlantic County         ATL-L-340-18          COHEN, PLACITELLA & ROTH
HERNANDEZ, FLORA              NJ - Superior Court - Atlantic County         ATL-L-002800-21       COHEN, PLACITELLA & ROTH
HICKS, MAGDALENE              NJ - Superior Court - Atlantic County         ATL-L-002123-21       COHEN, PLACITELLA & ROTH
HISCHE, CYNTHIA               NJ - Superior Court - Atlantic County         ATL-L-000346-21       COHEN, PLACITELLA & ROTH
HOLSHUE, CORNELIA             NJ - Superior Court - Atlantic County         ATL-L-003154-21       COHEN, PLACITELLA & ROTH
HORIHAN, NANCY                NJ - Superior Court - Atlantic County                               COHEN, PLACITELLA & ROTH
HORIHAN, NANCY                NJ - Superior Court - Atlantic County                               COHEN, PLACITELLA & ROTH
JAROSZCZYK, MALGORZATA        NJ - Superior Court - Atlantic County         ATL-L-002667-20       COHEN, PLACITELLA & ROTH
JENNINGS, ANTOINETTE          NJ - Superior Court - Atlantic County         ATL-L-000389-21       COHEN, PLACITELLA & ROTH
JOHNSON, BARBARA AND JOHNSON,
                              NJ - Superior Court - Middlesex County        MID-L-00672-18AS      COHEN, PLACITELLA & ROTH
JOHN
JOSEPHS, CONSTANCE            NJ - Superior Court - Atlantic County         ATL-L-002294-21       COHEN, PLACITELLA & ROTH
JUDSON, JOANNE                NJ - Superior Court - Atlantic County         ATL-L-2604-17         COHEN, PLACITELLA & ROTH
KAVOOKJIAN, LEAH              NJ - Superior Court - Atlantic County         ATL-L-27-18           COHEN, PLACITELLA & ROTH
KENNEY, MARLENE               NJ - Superior Court - Atlantic County         ATL-L-0682-18         COHEN, PLACITELLA & ROTH
KOBO, RONNY                   NJ - USDC for the District of New Jersey      3:20-cv-08464         COHEN, PLACITELLA & ROTH
KOHN, NADINE                  NJ - Superior Court - Atlantic County         ATL-L-003870-20       COHEN, PLACITELLA & ROTH
LAGARRA, ANGELA               NJ - Superior Court - Atlantic County         ATL-L-261-18          COHEN, PLACITELLA & ROTH
LAURIELLO, LOIS               NJ - Superior Court - Atlantic County         ATL-L-003250-20       COHEN, PLACITELLA & ROTH
LEWIS, CRYSTAL                NJ - Superior Court - Atlantic County         ATL-L-003286-20       COHEN, PLACITELLA & ROTH
MANLEY, KAREN                 NJ - Superior Court - Atlantic County         ATL-L-000197-18       COHEN, PLACITELLA & ROTH
MARCHESANO, ROSEMARY          NJ - USDC for the District of New Jersey      3:18-cv-10006         COHEN, PLACITELLA & ROTH
MARTIN, RENELLE               NJ - Superior Court - Atlantic County         ATL-L-3320-19         COHEN, PLACITELLA & ROTH
MATTEO, NICOLE                NJ - Superior Court - Atlantic County         ATL-L-1375-18         COHEN, PLACITELLA & ROTH
MCCALLION, KELLY              NJ - Superior Court - Atlantic County         ATL-L-003019-21       COHEN, PLACITELLA & ROTH
MCGOVERN, FERN                NJ - USDC for the District of New Jersey      3:18-cv-00347         COHEN, PLACITELLA & ROTH
MCNEILL-GEORGE, DANGELA M     NJ - Superior Court - Middlesex County        MID-L-07049-16AS      COHEN, PLACITELLA & ROTH
MEIXNER, ELLEN                NJ - Superior Court - Atlantic County         ATL-L-000303-21       COHEN, PLACITELLA & ROTH
MENDES, NICOLE                NJ - Superior Court - Atlantic County         ATL-L-209-18          COHEN, PLACITELLA & ROTH
MENNELLA, THEODORA            NJ - USDC for the District of New Jersey      3:19-cv-19971         COHEN, PLACITELLA & ROTH
MICHAELSON, BARBARA           NJ - Superior Court - Atlantic County         ATL-L-330-18          COHEN, PLACITELLA & ROTH
MONKS, VALARIE                NJ - Superior Court - Atlantic County         ATL-L-2053-17         COHEN, PLACITELLA & ROTH
MORAN, MARGARITA              NJ - Superior Court - Atlantic County         ATL-L-262-18          COHEN, PLACITELLA & ROTH
MORRIS, TRAYCEE               NJ - Superior Court - Atlantic County         ATL-L-2605-17         COHEN, PLACITELLA & ROTH



NALLE, ELEANOR                     NJ - Superior Court - Atlantic County    ATL-L-001303-21       COHEN, PLACITELLA & ROTH




NARANJO, KIMBERLY                  NJ - Superior Court - Middlesex County   MID-006108-21         COHEN, PLACITELLA & ROTH
NEAL-SMITH, SHONA                  NJ - Superior Court - Atlantic County    ATL-L-002585-20       COHEN, PLACITELLA & ROTH
NEENHOLD, BARBARA                  NJ - Superior Court - Atlantic County    ATL-L-000196-18       COHEN, PLACITELLA & ROTH
NOVICKY, DOLORES                   NJ - Superior Court - Atlantic County    ATL-L-56-18           COHEN, PLACITELLA & ROTH
NUCHERENO, LYNNE                   NJ - Superior Court - Atlantic County    ATL-L-002524          COHEN, PLACITELLA & ROTH
OAKLEY, KATHLEEN                   NJ - Superior Court - Atlantic County    ATL-L-3343-19         COHEN, PLACITELLA & ROTH
OHANLON, DONNA                     NJ - Superior Court - Atlantic County    ATL-L-001356-20       COHEN, PLACITELLA & ROTH
ORLANDO, AURORA                    NJ - Superior Court - Atlantic County    ATL-L-2702-17         COHEN, PLACITELLA & ROTH
OVERTON, ANNA                      NJ - Superior Court - Atlantic County    ATL-L-002824-20       COHEN, PLACITELLA & ROTH
PACE, DIANE                        NJ - Superior Court - Atlantic County    ATL-L-00095920        COHEN, PLACITELLA & ROTH
PARISI, CHRISTINA                  NJ - Superior Court - Atlantic County    ATL-L-266-18          COHEN, PLACITELLA & ROTH




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           Claimant Name                        State Filed                     Docket Number                Plaintiff Counsel
PETRONE, KATHLEEN              NJ - Superior Court - Atlantic County      ATL-L-162416          COHEN, PLACITELLA & ROTH
PIETZKE-WITMER, SILVIA         NJ - USDC for the District of New Jersey   3:20-cv-04244         COHEN, PLACITELLA & ROTH
PINTO, LORI                    NJ - Superior Court - Atlantic County      ATL-L-003643-20       COHEN, PLACITELLA & ROTH
POLLASTRO, ALISON              NJ - USDC for the District of New Jersey   3:20-cv-03080         COHEN, PLACITELLA & ROTH
RADIG, DOROTHY                 NJ - Superior Court - Atlantic County      ATL-L-002445-21       COHEN, PLACITELLA & ROTH
REGUERO, YVONNE                NJ - Superior Court - Atlantic County      ATL-L-002939-20       COHEN, PLACITELLA & ROTH
RILEY, CHRISTINA               NJ - Superior Court - Atlantic County      ATL-L-001354-20       COHEN, PLACITELLA & ROTH
RITCHIE, TINA                  NJ - Superior Court - Atlantic County      ATL-L-002047-20       COHEN, PLACITELLA & ROTH
RUSKUSKI, DIANE                NJ - Superior Court - Atlantic County      ATL-L-003349-20       COHEN, PLACITELLA & ROTH
SALLFELDER, WYNELLE            NJ - Superior Court - Atlantic County      ATL-L-003912-20       COHEN, PLACITELLA & ROTH
SEMLER, CAROL                  NJ - Superior Court - Atlantic County      ATL-L-28-18           COHEN, PLACITELLA & ROTH
SHELTON, SHIRLEY               NJ - Superior Court - Atlantic County      ATL-L-003165-21       COHEN, PLACITELLA & ROTH
SHENESKY, DONNA                NJ - Superior Court - Atlantic County      ATL-L-000347-21       COHEN, PLACITELLA & ROTH
SILVA, SHELLIE                 NJ - USDC for the District of New Jersey   3:19-cv-20557         COHEN, PLACITELLA & ROTH
SILVER, GAIL                   NJ - USDC for the District of New Jersey   3:18-cv-01379         COHEN, PLACITELLA & ROTH
SMITH, ELSIE                   NJ - USDC for the District of New Jersey   3:17-cv-07335         COHEN, PLACITELLA & ROTH
SMYTH, PATRICIA                NJ - Superior Court - Atlantic County      ATL-L-001327-21       COHEN, PLACITELLA & ROTH
SPINELLI, JILL                 NJ - Superior Court - Atlantic County      ATL-L-2566-19         COHEN, PLACITELLA & ROTH
ST. MARTIN, CAROL              NJ - Superior Court - Atlantic County      ATL-L-002298-21       COHEN, PLACITELLA & ROTH
TISCHNER, JOYCE                NJ - Superior Court - Atlantic County      ATL-L-348-18          COHEN, PLACITELLA & ROTH
TUCK, LUCILLE                  NJ - Superior Court - Atlantic County      ATL-L-003726-20       COHEN, PLACITELLA & ROTH
VALENTIN, FRANCES              NJ - Superior Court - Atlantic County      ATL-L-00096020        COHEN, PLACITELLA & ROTH
VERLING, PATRICIA              NJ - Superior Court - Atlantic County      ATL-L-2707-19         COHEN, PLACITELLA & ROTH
VIRGILITO, JENNIFER            NJ - Superior Court - Atlantic County      ATL-L331-18           COHEN, PLACITELLA & ROTH
WALPOLE, ROSEMARIE             NJ - USDC for the District of New Jersey   3:20-cv-08995         COHEN, PLACITELLA & ROTH
WALTERS, CHRISTINE             NJ - Superior Court - Atlantic County      ATL-210-18            COHEN, PLACITELLA & ROTH
WESLEY-SWEENEY, SPRING         NJ - Superior Court - Atlantic County      ATL-L-000018-21       COHEN, PLACITELLA & ROTH
WHEET, GLADIES                 NJ - Superior Court - Atlantic County      ATL-L-000211-18       COHEN, PLACITELLA & ROTH
WINN, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-07499         COHEN, PLACITELLA & ROTH
CHURCH, JANE                   NJ - Superior Court - Atlantic County      ATL-L-003871-20       COHEN, PLACITELLA & ROTH, P.C.
                               PA - Philadelphia County Court of Common
SANTANA, ANN                                                              200800008             COHEN, PLACITELLA & ROTH, P.C.
                               Pleas
GIBBS, ALOMA                   NJ - USDC for the District of New Jersey   3:18-cv-00159         COLLEY SHROYER & ABRAHAM CO. LLC
ODLE, MARTHA                   NJ - USDC for the District of New Jersey   3:17-cv-06855         COLLEY SHROYER & ABRAHAM CO. LLC
BYERS, AMANDA                  NJ - USDC for the District of New Jersey   3:21-cv-09129         CONSTANT LEGAL GROUP LLP
WAREHAM, RHONDA                NJ - USDC for the District of New Jersey   3:21-cv-09135         CONSTANT LEGAL GROUP LLP
                                                                                                COOK, BARTHOLOMEW, SHEVLIN, COOK &
FOOTE, LILLIE                  IL - Circuit Court - St. Clair County      19L0875
                                                                                                JONES LLP
                                                                                                COOK, BARTHOLOMEW, SHEVLIN, COOK &
SHEEHY, KELLY                  IL - Circuit Court - St. Clair County      20L0350
                                                                                                JONES LLP
BONNEM, SUSAN L.               IL - Circuit Court - Cook County           20-L-12414            COONEY AND CONWAY
DOSIER, EMILY                  IL - Circuit Court - Cook County           20-L-013449           COONEY AND CONWAY
FINNERTY, EDWARD               IL - Circuit Court - Cook County           21-L-4679             COONEY AND CONWAY
MAHONEY, CATHERINE             IL - Circuit Court - Cook County           20-L-8209             COONEY AND CONWAY
MINOR,ESTATE, MARGARETTE OF
                               IL - Circuit Court - Cook County           21-L-6683             COONEY AND CONWAY
MINOR, CAROL
RODRIGUEZ, TRACY ESTATE OF R
                               IL - Circuit Court - Cook County           21-L-3823             COONEY AND CONWAY
RODRIGUEZ
DOOHER, CAROL                  NJ - USDC for the District of New Jersey   3:18-cv-06321         COPPICE ASSET MANAGEMENT
MORRISSEY, CAROLE              IL - Circuit Court - Cook County           2021L003700           CORBOY & DEMETRIO, P.C.
NICOLAY, MARY                  IL - Circuit Court - Cook County           2021L007382           CORBOY & DEMETRIO, P.C.
OLIVER, GERLENE ; PALMER;
                               IL - Circuit Court - Cook County           2019-L-3345           CORBOY & DEMETRIO, P.C.
DORINNE
CLOBES-WYNN, KATRINA           NJ - USDC for the District of New Jersey   3:21-cv-09785         CORRIE YACKULIC LAW FIRM, PLLC
FAN, SHARON                    NJ - USDC for the District of New Jersey   3:17-cv-05659         CORRIE YACKULIC LAW FIRM, PLLC
HELBOCK, CHRISTINE             NJ - USDC for the District of New Jersey   3:21-cv-09783         CORRIE YACKULIC LAW FIRM, PLLC
LIND, ROBERTA                  NJ - USDC for the District of New Jersey   3:18-cv-01839         CORRIE YACKULIC LAW FIRM, PLLC
MILES, JENNIFER                NJ - USDC for the District of New Jersey   3:18-cv-00474         CORRIE YACKULIC LAW FIRM, PLLC
MILES, LINDA                   NJ - USDC for the District of New Jersey   3:19-cv-12539         CORRIE YACKULIC LAW FIRM, PLLC
OSHEA, CLAIRE                  NJ - USDC for the District of New Jersey   3:20-cv-19831         CORRIE YACKULIC LAW FIRM, PLLC
RETANA, GUADALUPE DE           NJ - USDC for the District of New Jersey   3:19-cv-08397         CORRIE YACKULIC LAW FIRM, PLLC
SADLER, SHARON                 NJ - USDC for the District of New Jersey   3:17-cv-13744         CORRIE YACKULIC LAW FIRM, PLLC
TAYLOR, PAULA                  NJ - USDC for the District of New Jersey   3:17-cv-13801         CORRIE YACKULIC LAW FIRM, PLLC
WHISPEL, JANE                  NJ - USDC for the District of New Jersey   3:17-cv-13743         CORRIE YACKULIC LAW FIRM, PLLC
WILLIAMS, CONNIE               NJ - USDC for the District of New Jersey   3:20-cv-00671         CORRIE YACKULIC LAW FIRM, PLLC
ALLEN, KELLY                   NJ - USDC for the District of New Jersey   3:19-cv-16218         CORY, WATSON, CROWDER & DEGARIS, P.C
BARSNESS, LORI                 NJ - USDC for the District of New Jersey   3:20-cv-03700         CORY, WATSON, CROWDER & DEGARIS, P.C
BECKER, MARY                   NJ - USDC for the District of New Jersey   3:19-cv-14197         CORY, WATSON, CROWDER & DEGARIS, P.C
BURYAN, YELENA                 NJ - USDC for the District of New Jersey   3:20-cv-13640         CORY, WATSON, CROWDER & DEGARIS, P.C
GOTHARD, DENISE                NJ - USDC for the District of New Jersey   3:21-cv-15000         CORY, WATSON, CROWDER & DEGARIS, P.C
GOZA, PATTI                    NJ - USDC for the District of New Jersey   3:19-cv-09046         CORY, WATSON, CROWDER & DEGARIS, P.C
HERBST, JUDY                   NJ - USDC for the District of New Jersey   3:21-cv-13204         CORY, WATSON, CROWDER & DEGARIS, P.C
KEMP, ANGELA                   NJ - USDC for the District of New Jersey   3:20-cv-03626         CORY, WATSON, CROWDER & DEGARIS, P.C
KRUSEMARK, LYNN                NJ - USDC for the District of New Jersey   3:21-cv-13223         CORY, WATSON, CROWDER & DEGARIS, P.C
LAMPLEY, TONYA                 NJ - USDC for the District of New Jersey   3:19-cv-17392         CORY, WATSON, CROWDER & DEGARIS, P.C
MEHRINGER, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-13808         CORY, WATSON, CROWDER & DEGARIS, P.C
ORLIN, DENISE                  NJ - USDC for the District of New Jersey   3:21-cv-11578         CORY, WATSON, CROWDER & DEGARIS, P.C
PERROTTO, BRENDA               NJ - USDC for the District of New Jersey   3:20-cv-13626         CORY, WATSON, CROWDER & DEGARIS, P.C
ROMANUS, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-13103         CORY, WATSON, CROWDER & DEGARIS, P.C
SCHMAUS, CAROL                 NJ - USDC for the District of New Jersey   3:20-cv-03623         CORY, WATSON, CROWDER & DEGARIS, P.C




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
TITUS, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-03617         CORY, WATSON, CROWDER & DEGARIS, P.C
TOLIN, SHELIA             NJ - USDC for the District of New Jersey   3:19-cv-13411         CORY, WATSON, CROWDER & DEGARIS, P.C
TUCKER, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-10450         CORY, WATSON, CROWDER & DEGARIS, P.C
ZAITSEV, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-03628         CORY, WATSON, CROWDER & DEGARIS, P.C
ARABIA, CARMELA           NJ - USDC for the District of New Jersey   3:19-cv-08870         CPC
BASORE, DEBORA            NJ - USDC for the District of New Jersey   3:17-cv-12733         CPC
BATES, HOPE               NJ - USDC for the District of New Jersey   3:17-cv-12745         CPC
BISCHOFF, ERIKA           NJ - USDC for the District of New Jersey   3:17-cv-12742         CPC
CASTILLO, BECKY           NJ - USDC for the District of New Jersey   3:18-cv-02591         CPC
GRAHAM, JAN               CA - Superior Court - Los Angeles County   20STCV03578           CPC
GRAY, MARY                NJ - USDC for the District of New Jersey   3:17-cv-12631         CPC
HESS, SUE                 NJ - USDC for the District of New Jersey   3:17-cv-12632         CPC
JUGO, MARGARITA           NJ - USDC for the District of New Jersey   3:17-cv-12750         CPC
KUREH, MAHA               NJ - USDC for the District of New Jersey   3:17-cv-12728         CPC
MCGARVEY-TANEBAUM,
                          NJ - USDC for the District of New Jersey   3:17-cv-12753         CPC
GENEVIEVE
NEILSON, VICTORIA         CA - Superior Court - Los Angeles County   BC666982              CPC
NOVIKOFF, ELENA           NJ - USDC for the District of New Jersey   3:17-cv-12736         CPC
PETERSON, LYDIA           NJ - USDC for the District of New Jersey   3:17-cv-12626         CPC
COOPER, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-06618         CRAIG SWAPP & ASSOCIATES
DEAK, JAYNE               NJ - USDC for the District of New Jersey   3:17-cv-13375         CRAIG SWAPP & ASSOCIATES
FARUQI, NAILA             NJ - USDC for the District of New Jersey   3:17-cv-04033         CRAIG SWAPP & ASSOCIATES
HERBICK, LISA             NJ - USDC for the District of New Jersey   3:17-cv-07146         CRAIG SWAPP & ASSOCIATES
HUSETH, SANDRA            NJ - Superior Court - Atlantic County      ATL-L-1341-17         CRAIG SWAPP & ASSOCIATES
MCCORMICK, SAMANTHA       NJ - USDC for the District of New Jersey   3:19-cv-06121         CRAIG SWAPP & ASSOCIATES
MILLIS, JOAN              NJ - USDC for the District of New Jersey   3:18-cv-06079         CRAIG SWAPP & ASSOCIATES
NOGA, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-10257         CRAIG SWAPP & ASSOCIATES
PATTON, MARCELLA          NJ - USDC for the District of New Jersey   3:17-cv-07926         CRAIG SWAPP & ASSOCIATES
PETROSKY, DONNA           NJ - USDC for the District of New Jersey   3:17-cv-08234         CRAIG SWAPP & ASSOCIATES
THOMPSON, CRYSTAL         NJ - USDC for the District of New Jersey   3:16-cv-08722         CUNEO GILBERT & LADUCA, LLP
ABRACINSKAS, JEAN         NJ - USDC for the District of New Jersey   3:20-cv-02743         DALIMONTE RUEB, LLP
ACOSTA, BARBIE            NJ - USDC for the District of New Jersey   3:20-cv-14672         DALIMONTE RUEB, LLP
ALEXANDER, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-15890         DALIMONTE RUEB, LLP
ALLEN, DARLENE            NJ - USDC for the District of New Jersey   3:20-cv-07131         DALIMONTE RUEB, LLP
ALLEN, IVETTE             NJ - USDC for the District of New Jersey   3:20-cv-07744         DALIMONTE RUEB, LLP
ALVARADO, VINNIE          NJ - USDC for the District of New Jersey   3:20-cv-07442         DALIMONTE RUEB, LLP
ALVAREZ, MILAGROS         NJ - USDC for the District of New Jersey   3:20-cv-02806         DALIMONTE RUEB, LLP
AMEZCUA, OFELIA           NJ - USDC for the District of New Jersey   3:19-cv-01604         DALIMONTE RUEB, LLP
ANCIRA, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13221         DALIMONTE RUEB, LLP
ANDERSON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-16902         DALIMONTE RUEB, LLP
ANDRADE, ORVELLA          NJ - USDC for the District of New Jersey   3:21-cv-14301         DALIMONTE RUEB, LLP
ATWOOD, JAYNE             NJ - USDC for the District of New Jersey   3:20-cv-02811         DALIMONTE RUEB, LLP
AVALOS, EMMA              NJ - USDC for the District of New Jersey   3:19-cv-00496         DALIMONTE RUEB, LLP
BADGER, LOU               NJ - USDC for the District of New Jersey   3:19-cv-22104         DALIMONTE RUEB, LLP
BAILEY, ZORA              NJ - USDC for the District of New Jersey   3:20-cv-10972         DALIMONTE RUEB, LLP
BAKER, NELDA              NJ - USDC for the District of New Jersey   3:20-cv-07951         DALIMONTE RUEB, LLP
BAKER-KARR, REBECCA       NJ - USDC for the District of New Jersey   3:20-cv-13642         DALIMONTE RUEB, LLP
BALDWIN, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-13644         DALIMONTE RUEB, LLP
BALDWIN, CHRISTINA        NJ - USDC for the District of New Jersey   3:19-cv-00526         DALIMONTE RUEB, LLP
BANUELOS, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-01648         DALIMONTE RUEB, LLP
BARELA, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-05410         DALIMONTE RUEB, LLP
BARGAS, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-13645         DALIMONTE RUEB, LLP
BASS, CORTNEY             NJ - USDC for the District of New Jersey   3:20-cv-09349         DALIMONTE RUEB, LLP
BAXTON, NIAROBIA          NJ - USDC for the District of New Jersey   3:21-cv-11775         DALIMONTE RUEB, LLP
BEAN, FRANCES             NJ - USDC for the District of New Jersey   3:20-cv-15892         DALIMONTE RUEB, LLP
BECKLIN, TAMIE            NJ - USDC for the District of New Jersey   3:20-cv-13882         DALIMONTE RUEB, LLP
BECTON, EDNA              NJ - USDC for the District of New Jersey   3:21-cv-14333         DALIMONTE RUEB, LLP
BENSON, JEAN              NJ - USDC for the District of New Jersey   3:21-cv-08395         DALIMONTE RUEB, LLP
BERGEVIN, SUSAN           NJ - USDC for the District of New Jersey   3:19-cv-09970         DALIMONTE RUEB, LLP
BHATURIA, ALKA            NJ - USDC for the District of New Jersey   3:21-cv-13908         DALIMONTE RUEB, LLP
BILEK, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-06755         DALIMONTE RUEB, LLP
BINION, JUANITA           NJ - USDC for the District of New Jersey   3:20-cv-14497         DALIMONTE RUEB, LLP
BLEVINS, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-12635         DALIMONTE RUEB, LLP
BLUETT, SUZANNE           NJ - USDC for the District of New Jersey   3:20-cv-07447         DALIMONTE RUEB, LLP
BOHN, MARILYNN            NJ - USDC for the District of New Jersey   3:18-cv-16390         DALIMONTE RUEB, LLP
BOILEAU, EDNA             NJ - USDC for the District of New Jersey   3:20-cv-02813         DALIMONTE RUEB, LLP
BOSWELL, MARLYN           NJ - USDC for the District of New Jersey   3:20-cv-09582         DALIMONTE RUEB, LLP
BOYD, MARIE               NJ - USDC for the District of New Jersey   3:21-cv-15141         DALIMONTE RUEB, LLP
BOYLES, MARLANA           NJ - USDC for the District of New Jersey   3:20-cv-12154         DALIMONTE RUEB, LLP
BROWN, ALVESTA            NJ - USDC for the District of New Jersey   3:20-cv-13884         DALIMONTE RUEB, LLP
BROWN, DAPHINE            NJ - USDC for the District of New Jersey   3:20-cv-12632         DALIMONTE RUEB, LLP
BROWN, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-12100         DALIMONTE RUEB, LLP
BROWNING, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-16574         DALIMONTE RUEB, LLP
BULLINGTON, EDITH         NJ - USDC for the District of New Jersey   3:18-cv-13282         DALIMONTE RUEB, LLP
BUNGE, JOAN               NJ - USDC for the District of New Jersey   3:19-cv-20623         DALIMONTE RUEB, LLP
BURKHART, SYLVIA          NJ - USDC for the District of New Jersey   3:20-cv-18038         DALIMONTE RUEB, LLP
BURROUGHS, DARLA          NJ - USDC for the District of New Jersey   3:21-cv-11059         DALIMONTE RUEB, LLP
BUSBEE, CLAUDIA           NJ - USDC for the District of New Jersey   3:20-cv-15272         DALIMONTE RUEB, LLP
CAIRNS, ROSEMARIE         NJ - USDC for the District of New Jersey   3:20-cv-07531         DALIMONTE RUEB, LLP
CALVA, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-12166         DALIMONTE RUEB, LLP




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
CAMPBELL, BRENDA           NJ - USDC for the District of New Jersey   3:20-cv-07449         DALIMONTE RUEB, LLP
CANNON, PHYLLIS            NJ - USDC for the District of New Jersey   3:20-cv-07751         DALIMONTE RUEB, LLP
CARDENAS, OLGA             NJ - USDC for the District of New Jersey   3:19-cv-01576         DALIMONTE RUEB, LLP
CARMACK-SWIFT, DEBORAH     NJ - USDC for the District of New Jersey   3:20-cv-09788         DALIMONTE RUEB, LLP
CARRASCO, GUADALUPE        NJ - USDC for the District of New Jersey   3:19-cv-09959         DALIMONTE RUEB, LLP
CASTILLO, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-10980         DALIMONTE RUEB, LLP
CASTILLO, MARICHIA         NJ - USDC for the District of New Jersey   3:21-cv-13905         DALIMONTE RUEB, LLP
CHAFFINS, BARBARA WEAVER   NJ - USDC for the District of New Jersey   3:20-cv-06032         DALIMONTE RUEB, LLP
CHAMPION-COLEMAN, DORA     NJ - USDC for the District of New Jersey   3:20-cv-08920         DALIMONTE RUEB, LLP
CHEATHAM, MARJORIE         NJ - USDC for the District of New Jersey   3:20-cv-18049         DALIMONTE RUEB, LLP
CLARK, MOZELLE             NJ - USDC for the District of New Jersey   3:21-cv-01652         DALIMONTE RUEB, LLP
COLEMAN, CHERRIE           NJ - USDC for the District of New Jersey   3:20-cv-08430         DALIMONTE RUEB, LLP
COLEMAN, OLIVIA            NJ - USDC for the District of New Jersey   3:20-cv-09565         DALIMONTE RUEB, LLP
COLLIER, PATIE             NJ - USDC for the District of New Jersey   3:19-cv-12083         DALIMONTE RUEB, LLP
COLLINS, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-05999         DALIMONTE RUEB, LLP
COLOMBRINO, CHERYL         NJ - USDC for the District of New Jersey   3:20-cv-09801         DALIMONTE RUEB, LLP
COLON, ROSA                NJ - USDC for the District of New Jersey   3:20-cv-03292         DALIMONTE RUEB, LLP
CONLEY, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-07692         DALIMONTE RUEB, LLP
COOK, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-06758         DALIMONTE RUEB, LLP
COOK, KARON                NJ - USDC for the District of New Jersey   3:20-cv-15079         DALIMONTE RUEB, LLP
CORBIN, CINDY              NJ - USDC for the District of New Jersey   3:20-cv-03561         DALIMONTE RUEB, LLP
CORNELL, JEWEL             NJ - USDC for the District of New Jersey   3:21-cv-11761         DALIMONTE RUEB, LLP
COWANS, VIRGINIA           NJ - USDC for the District of New Jersey   3:20-cv-02745         DALIMONTE RUEB, LLP
COX, DOROTHY               NJ - USDC for the District of New Jersey   3:20-cv-15893         DALIMONTE RUEB, LLP
COX, KAREN                 NJ - USDC for the District of New Jersey   3:20-cv-12634         DALIMONTE RUEB, LLP
COX, WANDA                 NJ - USDC for the District of New Jersey   3:20-cv-12167         DALIMONTE RUEB, LLP
CRANFORD, MACHELLE         NJ - USDC for the District of New Jersey   3:21-cv-10927         DALIMONTE RUEB, LLP
CRAWFORD, ELOISE           NJ - USDC for the District of New Jersey   3:20-cv-13647         DALIMONTE RUEB, LLP
CRUZ, JOHNANNA             NJ - USDC for the District of New Jersey   3:20-cv-13210         DALIMONTE RUEB, LLP
CURRY, SHARON              NJ - USDC for the District of New Jersey   3:20-cv-01989         DALIMONTE RUEB, LLP
DADDARIO, JOHANNA          NJ - USDC for the District of New Jersey   3:20-cv-11230         DALIMONTE RUEB, LLP
DANA, KATHY                NJ - Superior Court - Atlantic County      ATL-L-000085-19       DALIMONTE RUEB, LLP
DANIELS, JEANIE            NJ - USDC for the District of New Jersey   3:20-cv-18496         DALIMONTE RUEB, LLP
DANKO, CYNTHIA             NJ - USDC for the District of New Jersey   3:18-cv-14597         DALIMONTE RUEB, LLP
DANNER, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-00604         DALIMONTE RUEB, LLP
DARAG, MILA                NJ - USDC for the District of New Jersey   3:20-cv-12638         DALIMONTE RUEB, LLP
DAUGHERTY, KAY             NJ - USDC for the District of New Jersey   3:20-cv-09367         DALIMONTE RUEB, LLP
DAVIDSON, ANITA            NJ - USDC for the District of New Jersey   3:21-cv-00608         DALIMONTE RUEB, LLP
DAVIS, MARY                NJ - USDC for the District of New Jersey   3:20-cv-07694         DALIMONTE RUEB, LLP
DAVIS, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-12163         DALIMONTE RUEB, LLP
DAVNER, MARY LOU           NJ - USDC for the District of New Jersey   3:21-cv-13195         DALIMONTE RUEB, LLP
DAY, CAROLYN               NJ - USDC for the District of New Jersey   3:21-cv-14325         DALIMONTE RUEB, LLP
DEFRAGA, ROBERTA           NJ - USDC for the District of New Jersey   3:21-cv-00926         DALIMONTE RUEB, LLP
DEGRYSE, BONNIE            NJ - USDC for the District of New Jersey   3:21-cv-16572         DALIMONTE RUEB, LLP
DEJESUS, MARILYN           NJ - USDC for the District of New Jersey   3:21-cv-12103         DALIMONTE RUEB, LLP
DEL REAL, ROSA             NJ - USDC for the District of New Jersey   3:20-cv-07754         DALIMONTE RUEB, LLP
DELUNA, STACEY             NJ - USDC for the District of New Jersey   3:20-cv-07755         DALIMONTE RUEB, LLP
DERRICK, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-05825         DALIMONTE RUEB, LLP
DESIMONE, LIA              NJ - USDC for the District of New Jersey   3:20-cv-13216         DALIMONTE RUEB, LLP
DIEHL, CATHY               NJ - USDC for the District of New Jersey   3:20-cv-06006         DALIMONTE RUEB, LLP
DIXON, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-12099         DALIMONTE RUEB, LLP
DOMESTICO, NATALIA         NJ - USDC for the District of New Jersey   3:18-cv-14423         DALIMONTE RUEB, LLP
DORN, JANET                NJ - USDC for the District of New Jersey   3:20-cv-07526         DALIMONTE RUEB, LLP
DOUVIER, RENEE             NJ - USDC for the District of New Jersey   3:20-cv-10986         DALIMONTE RUEB, LLP
DOWLING, JOY               NJ - USDC for the District of New Jersey   3:21-cv-13059         DALIMONTE RUEB, LLP
DRALLE, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-03567         DALIMONTE RUEB, LLP
DUFNER, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-15891         DALIMONTE RUEB, LLP
DUHAMEL, MICHELLE          NJ - USDC for the District of New Jersey   3:19-cv-18073         DALIMONTE RUEB, LLP
DUMAS, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-01654         DALIMONTE RUEB, LLP
DUNMORE, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-13190         DALIMONTE RUEB, LLP
DURKEE, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-07950         DALIMONTE RUEB, LLP
EASTIN, JUDITH             NJ - USDC for the District of New Jersey   3:19-cv-20538         DALIMONTE RUEB, LLP
ELLERSON, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-07816         DALIMONTE RUEB, LLP
ELLIOT, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-13649         DALIMONTE RUEB, LLP
ELLIS, JANICE              NJ - USDC for the District of New Jersey   3:20-cv-08919         DALIMONTE RUEB, LLP
ELLISON, MICHELE           NJ - USDC for the District of New Jersey   3:21-cv-05961         DALIMONTE RUEB, LLP
ELSIE, ALICE               NJ - USDC for the District of New Jersey   3:19-cv-19502         DALIMONTE RUEB, LLP
ELSTON, MARY               NJ - USDC for the District of New Jersey   3:20-cv-07144         DALIMONTE RUEB, LLP
ENGLISH, DELIA             NJ - USDC for the District of New Jersey   3:20-cv-03568         DALIMONTE RUEB, LLP
ESHLEMAN, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-12033         DALIMONTE RUEB, LLP
EXLINE, DINA               NJ - USDC for the District of New Jersey   3:21-cv-13220         DALIMONTE RUEB, LLP
FANDREY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11999         DALIMONTE RUEB, LLP
FARR, SHARON               NJ - USDC for the District of New Jersey   3:20-cv-03571         DALIMONTE RUEB, LLP
FELIX, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-13056         DALIMONTE RUEB, LLP
FENCH, MARY                NJ - USDC for the District of New Jersey   3:20-cv-18480         DALIMONTE RUEB, LLP
FERGUSON, MICHELL          NJ - USDC for the District of New Jersey   3:18-cv-08124         DALIMONTE RUEB, LLP
FERRELL, SANDY             NJ - USDC for the District of New Jersey   3:20-cv-12114         DALIMONTE RUEB, LLP
FERRELL, TRENA             NJ - USDC for the District of New Jersey   3:21-cv-01659         DALIMONTE RUEB, LLP
FILMORE, CONNIE            NJ - USDC for the District of New Jersey   3:21-cv-14336         DALIMONTE RUEB, LLP
FLETCHER, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-12645         DALIMONTE RUEB, LLP




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
FLETCHER, ELESA            NJ - USDC for the District of New Jersey   3:20-cv-10994         DALIMONTE RUEB, LLP
FLORES, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-16391         DALIMONTE RUEB, LLP
FLORES, YOLANDA            NJ - USDC for the District of New Jersey   3:20-cv-07695         DALIMONTE RUEB, LLP
FLOWERS, MARVIS            NJ - USDC for the District of New Jersey   3:20-cv-06011         DALIMONTE RUEB, LLP
FORSEY, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-03579         DALIMONTE RUEB, LLP
FOSTER, DIANNE             NJ - USDC for the District of New Jersey   3:20-cv-12993         DALIMONTE RUEB, LLP
GALOVSKI, MIRJANA          NJ - USDC for the District of New Jersey   3:20-cv-07711         DALIMONTE RUEB, LLP
GARCIA, NORMA              NJ - USDC for the District of New Jersey   3:18-cv-16139         DALIMONTE RUEB, LLP
GARCIA, ZAIDA              NJ - USDC for the District of New Jersey   3:18-cv-16143         DALIMONTE RUEB, LLP
GARDNER, GERTHA            NJ - USDC for the District of New Jersey   3:20-cv-09357         DALIMONTE RUEB, LLP
GARDNER, MELODY            NJ - USDC for the District of New Jersey   3:20-cv-03765         DALIMONTE RUEB, LLP
GARVEY, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-08066         DALIMONTE RUEB, LLP
GAYLE, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-02441         DALIMONTE RUEB, LLP
GELBKE, SHERRY             NJ - USDC for the District of New Jersey   3:20-cv-02469         DALIMONTE RUEB, LLP
GERHART, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-11029         DALIMONTE RUEB, LLP
GIBBS, GOLDIE              NJ - USDC for the District of New Jersey   3:21-cv-00439         DALIMONTE RUEB, LLP
GIBSON, ALICIA             NJ - USDC for the District of New Jersey   3:20-cv-02472         DALIMONTE RUEB, LLP
GIFFERSON, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-09361         DALIMONTE RUEB, LLP
GOLDSMITH, ELAINE          NJ - USDC for the District of New Jersey   3:21-cv-03163         DALIMONTE RUEB, LLP
GONSALVES, CHARLENE        NJ - USDC for the District of New Jersey   3:21-cv-05967         DALIMONTE RUEB, LLP
GONZALEZ, CHRISTINA        NJ - USDC for the District of New Jersey   3:18-cv-16385         DALIMONTE RUEB, LLP
GORDAN, ELAINE             NJ - USDC for the District of New Jersey   3:20-cv-09356         DALIMONTE RUEB, LLP
GORDON, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-12979         DALIMONTE RUEB, LLP
GRAVES, LESLEE             NJ - USDC for the District of New Jersey   3:20-cv-07521         DALIMONTE RUEB, LLP
GRAY, SUSAN                NJ - USDC for the District of New Jersey   3:20-cv-13236         DALIMONTE RUEB, LLP
GRESHAM, NICOLE            NJ - USDC for the District of New Jersey   3:21-cv-13225         DALIMONTE RUEB, LLP
GREY, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-07714         DALIMONTE RUEB, LLP
GRIFFIN, MANDY             NJ - USDC for the District of New Jersey   3:21-cv-00601         DALIMONTE RUEB, LLP
GRODEM, ROBIN              NJ - USDC for the District of New Jersey   3:20-cv-07349         DALIMONTE RUEB, LLP
GROFF, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-07717         DALIMONTE RUEB, LLP
GRUBE, MARY                NJ - USDC for the District of New Jersey   3:20-cv-08434         DALIMONTE RUEB, LLP
GUERRERO, TERRI            NJ - USDC for the District of New Jersey   3:20-cv-12644         DALIMONTE RUEB, LLP
GUESS, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-12158         DALIMONTE RUEB, LLP
GURULE, ILEEA              NJ - USDC for the District of New Jersey   3:20-cv-03767         DALIMONTE RUEB, LLP
HADDEN, JANE               NJ - USDC for the District of New Jersey   3:20-cv-05862         DALIMONTE RUEB, LLP
HAGER, JACKIE              NJ - USDC for the District of New Jersey   3:20-cv-07815         DALIMONTE RUEB, LLP
HAKE, ANGELEA              NJ - USDC for the District of New Jersey   3:20-cv-13879         DALIMONTE RUEB, LLP
HALL, ANDREA               NJ - USDC for the District of New Jersey   3:20-cv-03290         DALIMONTE RUEB, LLP
HALL, DIANNE               NJ - USDC for the District of New Jersey   3:19-cv-09964         DALIMONTE RUEB, LLP
HALL, MARTHA               NJ - USDC for the District of New Jersey   3:20-cv-07760         DALIMONTE RUEB, LLP
HALL, MICHELLE             NJ - USDC for the District of New Jersey   3:20-cv-12004         DALIMONTE RUEB, LLP
HAMES, LISA                NJ - USDC for the District of New Jersey   3:20-cv-08917         DALIMONTE RUEB, LLP
HAMILTON, MARSHIA          NJ - USDC for the District of New Jersey   3:20-cv-02017         DALIMONTE RUEB, LLP
HARRINGTON, JONNET         NJ - USDC for the District of New Jersey   3:18-cv-16377         DALIMONTE RUEB, LLP
HARRINGTON, MARY           NJ - USDC for the District of New Jersey   3:19-cv-01531         DALIMONTE RUEB, LLP
HARRIS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-17199         DALIMONTE RUEB, LLP
HARSHEY, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-13906         DALIMONTE RUEB, LLP
HASHMAN, MICHON            NJ - USDC for the District of New Jersey   3:19-cv-19506         DALIMONTE RUEB, LLP
HATCH, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-00436         DALIMONTE RUEB, LLP
HAWKINS, ENDELER           NJ - USDC for the District of New Jersey   3:20-cv-07817         DALIMONTE RUEB, LLP
HAYES, GERALDINE           NJ - USDC for the District of New Jersey   3:20-cv-12631         DALIMONTE RUEB, LLP
HEFFINGTON, FRANCES        NJ - USDC for the District of New Jersey   3:18-cv-14454         DALIMONTE RUEB, LLP
HELLWIG, RACHAEL           NJ - USDC for the District of New Jersey   3:21-cv-10083         DALIMONTE RUEB, LLP
HELMERS, LOLA              NJ - USDC for the District of New Jersey   3:21-cv-08836         DALIMONTE RUEB, LLP
HELMES, LOLA               NJ - USDC for the District of New Jersey   3:20-cv-01592         DALIMONTE RUEB, LLP
HENDRIX, PEGGY             NJ - USDC for the District of New Jersey   3:19-cv-22112         DALIMONTE RUEB, LLP
HENRY, ANNA                NJ - USDC for the District of New Jersey   3:20-cv-09365         DALIMONTE RUEB, LLP
HEREDIA, NORMA             NJ - USDC for the District of New Jersey   3:18-cv-13275         DALIMONTE RUEB, LLP
HERING, HELENA             NJ - USDC for the District of New Jersey   3:20-cv-08068         DALIMONTE RUEB, LLP
HERRERA, ANA               NJ - USDC for the District of New Jersey   3:21-cv-03556         DALIMONTE RUEB, LLP
HIGGINS, MARIANN           NJ - USDC for the District of New Jersey   3:20-cv-12013         DALIMONTE RUEB, LLP
HIGMAN, LESLIE             NJ - USDC for the District of New Jersey   3:20-cv-15294         DALIMONTE RUEB, LLP
HINES, BRENDA              NJ - USDC for the District of New Jersey   3:20-cv-12920         DALIMONTE RUEB, LLP
HOFFER, MICHELE            NJ - USDC for the District of New Jersey   3:20-cv-15896         DALIMONTE RUEB, LLP
HOFMANN, LARAINE           NJ - USDC for the District of New Jersey   3:20-cv-01694         DALIMONTE RUEB, LLP
HOLLAND-CROSS, JANICE      NJ - USDC for the District of New Jersey   3:20-cv-08918         DALIMONTE RUEB, LLP
HOLLARS, ANNETTE           NJ - USDC for the District of New Jersey   3:20-cv-08078         DALIMONTE RUEB, LLP
HOLLEY, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-05860         DALIMONTE RUEB, LLP
HOLLIS, DELLA              NJ - USDC for the District of New Jersey   3:21-cv-03182         DALIMONTE RUEB, LLP
HOLMES, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-01666         DALIMONTE RUEB, LLP
HOOVER, VERONICA           NJ - USDC for the District of New Jersey   3:21-cv-01662         DALIMONTE RUEB, LLP
HOUSTON, HILDA             NJ - USDC for the District of New Jersey   3:18-cv-08128         DALIMONTE RUEB, LLP
HUNT, ERINN                NJ - USDC for the District of New Jersey   3;21-cv-16920         DALIMONTE RUEB, LLP
HUNTER, JOANN              NJ - USDC for the District of New Jersey   3:20-cv-01958         DALIMONTE RUEB, LLP
HUSTON, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-12946         DALIMONTE RUEB, LLP
HUTSON-MAYER, EDNA         NJ - USDC for the District of New Jersey   3:19-cv-16782         DALIMONTE RUEB, LLP
HUTZAYLUK, STEPHANIE       NJ - USDC for the District of New Jersey   3:20-cv-10132         DALIMONTE RUEB, LLP
IRBY, SHARON               NJ - USDC for the District of New Jersey   3:20-cv-12021         DALIMONTE RUEB, LLP
IRVIN, RACHEL              NJ - USDC for the District of New Jersey   3:21-cv-11070         DALIMONTE RUEB, LLP
JAAP, JERI                 NJ - USDC for the District of New Jersey   3:20-cv-08082         DALIMONTE RUEB, LLP




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
JACKSON, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-07683         DALIMONTE RUEB, LLP
JACKSON, LATISHA            NJ - USDC for the District of New Jersey   3:20-cv-13197         DALIMONTE RUEB, LLP
JACOBS, RUTH                NJ - USDC for the District of New Jersey   3:20-cv-12171         DALIMONTE RUEB, LLP
JESTER-CORAZZINI, SHIRLEY   NJ - USDC for the District of New Jersey   3:21-cv-10953         DALIMONTE RUEB, LLP
JOHNSON, DARINELL           NJ - USDC for the District of New Jersey   3:18-cv-12919         DALIMONTE RUEB, LLP
JOHNSON, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-08505         DALIMONTE RUEB, LLP
JOHNSON, DORA               NJ - USDC for the District of New Jersey   3:20-cv-08268         DALIMONTE RUEB, LLP
JOHNSON, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-01715         DALIMONTE RUEB, LLP
JOHNSON, REGINA             NJ - USDC for the District of New Jersey   3:20-cv-00795         DALIMONTE RUEB, LLP
JOHNSON, WILLIE             NJ - USDC for the District of New Jersey   3:20-cv-14370         DALIMONTE RUEB, LLP
JOHNSTON, JANE              NJ - USDC for the District of New Jersey   3:21-cv-00932         DALIMONTE RUEB, LLP
JONES, DONA BROWNE          NJ - USDC for the District of New Jersey   3:20-cv-08313         DALIMONTE RUEB, LLP
JONES, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-08271         DALIMONTE RUEB, LLP
JONES, SHERYL               NJ - USDC for the District of New Jersey   3:20-cv-03753         DALIMONTE RUEB, LLP
KANER, SUSAN                NJ - USDC for the District of New Jersey   3:21-cv-05828         DALIMONTE RUEB, LLP
KEELER, BONNIE              NJ - USDC for the District of New Jersey   3:20-cv-12974         DALIMONTE RUEB, LLP
KEENER, EULA                NJ - USDC for the District of New Jersey   3:20-cv-03755         DALIMONTE RUEB, LLP
KELLEY, ADRIANE             NJ - USDC for the District of New Jersey   3:20-cv-09368         DALIMONTE RUEB, LLP
KELLEY, ANNIE               NJ - USDC for the District of New Jersey   3:20-cv-08274         DALIMONTE RUEB, LLP
KELLICUT, SALLY             NJ - USDC for the District of New Jersey   3:20-cv-00796         DALIMONTE RUEB, LLP
KELLY, MARLO                NJ - USDC for the District of New Jersey   3:21-cv-07154         DALIMONTE RUEB, LLP
KENDRICK, LISA              NJ - USDC for the District of New Jersey   3:20-cv-07339         DALIMONTE RUEB, LLP
KIBORT, JENNIFER            NJ - USDC for the District of New Jersey   3:20-cv-01964         DALIMONTE RUEB, LLP
KIRSHOFF, ANDREA            NJ - USDC for the District of New Jersey   3:21-cv-03142         DALIMONTE RUEB, LLP
KNIGHT, TRACY               NJ - USDC for the District of New Jersey   3:20-cv-08277         DALIMONTE RUEB, LLP
KORKOWSKI, KARIN            NJ - USDC for the District of New Jersey   3:20-cv-14488         DALIMONTE RUEB, LLP
KORTZ, TERESA               NJ - USDC for the District of New Jersey   3:19-cv-05409         DALIMONTE RUEB, LLP
KRASZCZAK, MARY             NJ - USDC for the District of New Jersey   3:19-cv-21363         DALIMONTE RUEB, LLP
KRAUSE, SHIRLEY             NJ - USDC for the District of New Jersey   3:20-cv-18484         DALIMONTE RUEB, LLP
KREIS, GEORGETTA            NJ - USDC for the District of New Jersey   3:20-cv-08921         DALIMONTE RUEB, LLP
KROMREY, ANNETTE            NJ - USDC for the District of New Jersey   3:21-cv-15221         DALIMONTE RUEB, LLP
KUTSCHER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-12426         DALIMONTE RUEB, LLP
KUZMINSKI, JOY WISNESKI     NJ - USDC for the District of New Jersey   3:21-cv-03554         DALIMONTE RUEB, LLP
KWOK, MAWARTY               NJ - USDC for the District of New Jersey   3:20-cv-06003         DALIMONTE RUEB, LLP
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LAMONDE, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-02471         DALIMONTE RUEB, LLP
LANDIS, KATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-07814         DALIMONTE RUEB, LLP
LANUM, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-08260         DALIMONTE RUEB, LLP
LASH, SHARON                NJ - USDC for the District of New Jersey   3:21-cv-11010         DALIMONTE RUEB, LLP
LATHAM, ROSE                NJ - USDC for the District of New Jersey   3:20-cv-16218         DALIMONTE RUEB, LLP
LAZARO, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-16264         DALIMONTE RUEB, LLP
LEDESMA, JEANNETT           NJ - USDC for the District of New Jersey   3:21-cv-01733         DALIMONTE RUEB, LLP
LEE, BETTY                  NJ - USDC for the District of New Jersey   3:20-cv-11533         DALIMONTE RUEB, LLP
LEONARD, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-07417         DALIMONTE RUEB, LLP
LERMA, REBECCA              NJ - USDC for the District of New Jersey   3:19-cv-09968         DALIMONTE RUEB, LLP
LESLIE, DENISE              NJ - USDC for the District of New Jersey   3:20-cv-06265         DALIMONTE RUEB, LLP
LEVINE, ANNE                NJ - USDC for the District of New Jersey   3:20-cv-12884         DALIMONTE RUEB, LLP
LEVY, MIRIAM                NJ - USDC for the District of New Jersey   3:21-cv-14029         DALIMONTE RUEB, LLP
LLINAS, ROSEMARY            NJ - USDC for the District of New Jersey   3:21-cv-01731         DALIMONTE RUEB, LLP
LONG, DARLENE               NJ - USDC for the District of New Jersey   3:20-cv-07413         DALIMONTE RUEB, LLP
LOPEZ, ELISA                NJ - USDC for the District of New Jersey   3:18-cv-16389         DALIMONTE RUEB, LLP
LUJAN, NORMA                NJ - USDC for the District of New Jersey   3:20-cv-14509         DALIMONTE RUEB, LLP
LUNN, SUSAN                 NJ - USDC for the District of New Jersey   3:20-cv-11037         DALIMONTE RUEB, LLP
MACDOUGAL, SHERYL           NJ - USDC for the District of New Jersey   3:21-cv-09202         DALIMONTE RUEB, LLP
MACINTYRE, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-06747         DALIMONTE RUEB, LLP
MADDEN, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-02736         DALIMONTE RUEB, LLP
MADDEN, SUE                 NJ - USDC for the District of New Jersey   3:20-cv-08417         DALIMONTE RUEB, LLP
MAGAO, PAULA                NJ - USDC for the District of New Jersey   3:20-cv-14467         DALIMONTE RUEB, LLP
MANES, LORI                 NJ - USDC for the District of New Jersey   3:20-cv-03299         DALIMONTE RUEB, LLP
MANN, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-05858         DALIMONTE RUEB, LLP
MARLOW, CONNIE              NJ - USDC for the District of New Jersey   3:20-cv-14754         DALIMONTE RUEB, LLP
MARTINEZ-HERRON, SANDRA     NJ - USDC for the District of New Jersey   3:20-cv-06112         DALIMONTE RUEB, LLP
MASON, CLAUDETTE            NJ - USDC for the District of New Jersey   3:20-cv-11235         DALIMONTE RUEB, LLP
MATAYA, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-13217         DALIMONTE RUEB, LLP
MATHEWS, JUNE               NJ - USDC for the District of New Jersey   3:19-cv-21213         DALIMONTE RUEB, LLP
MAUPIN, LYNDA               NJ - USDC for the District of New Jersey   3:20-cv-09302         DALIMONTE RUEB, LLP
MAXWELL, JACQUELYN          NJ - USDC for the District of New Jersey   3:21-cv-08509         DALIMONTE RUEB, LLP
MCCOLLUM, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-13138         DALIMONTE RUEB, LLP
MCCRAY, ESTELL              NJ - USDC for the District of New Jersey   3:20-cv-13906         DALIMONTE RUEB, LLP
MCDONALD, JERRY             NJ - USDC for the District of New Jersey   3:20-cv-07671         DALIMONTE RUEB, LLP
MCDOUGALL, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-01726         DALIMONTE RUEB, LLP
MCFARLAND, ANNETTE          NJ - USDC for the District of New Jersey   3:20-cv-15971         DALIMONTE RUEB, LLP
MCGEE, ALICE                NJ - USDC for the District of New Jersey   3:20-cv-11243         DALIMONTE RUEB, LLP
MCPHERSON, DAWN             NJ - USDC for the District of New Jersey   3:21-cv-10584         DALIMONTE RUEB, LLP
MCSWAIN, PHYLLIS            NJ - USDC for the District of New Jersey   3:20-cv-13878         DALIMONTE RUEB, LLP
MEDINA, PHYLLIS             NJ - USDC for the District of New Jersey   3:21-cv-10095         DALIMONTE RUEB, LLP
MERCER, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-12991         DALIMONTE RUEB, LLP
MERCHANT, VIVIAN            NJ - USDC for the District of New Jersey   3:21-cv-01728         DALIMONTE RUEB, LLP
MEREDITH, CHRISTINA         NJ - USDC for the District of New Jersey   3:20-cv-13233         DALIMONTE RUEB, LLP
MIKELS, JUNE                NJ - USDC for the District of New Jersey   3:20-cv-00035         DALIMONTE RUEB, LLP




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
MILLER, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-09235         DALIMONTE RUEB, LLP
MILLER, MARILYN            NJ - USDC for the District of New Jersey   3:20-cv-08941         DALIMONTE RUEB, LLP
MINYARD, TRACY             NJ - USDC for the District of New Jersey   3:21-cv-12438         DALIMONTE RUEB, LLP
MITCHELL, DARLENE          NJ - USDC for the District of New Jersey   3:18-cv-14464         DALIMONTE RUEB, LLP
MOLNAR, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-15954         DALIMONTE RUEB, LLP
MONDY, OLEVIA              NJ - USDC for the District of New Jersey   3:20-cv-14756         DALIMONTE RUEB, LLP
MONROE, TAMMY              NJ - USDC for the District of New Jersey   3:20-cv-15078         DALIMONTE RUEB, LLP
MONTANA, AMY               NJ - USDC for the District of New Jersey   3:20-cv-13241         DALIMONTE RUEB, LLP
MONTE, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-08942         DALIMONTE RUEB, LLP
MORRIS, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-10588         DALIMONTE RUEB, LLP
MORRIS, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-08321         DALIMONTE RUEB, LLP
MORROW, MARGARET WHEELER   NJ - USDC for the District of New Jersey   3:20-cv-04385         DALIMONTE RUEB, LLP
MOTSINGER, LOIS            NJ - USDC for the District of New Jersey   3:21-cv-05892         DALIMONTE RUEB, LLP
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NEAL, RHONDA               NJ - USDC for the District of New Jersey   3:20-cv-02797         DALIMONTE RUEB, LLP
NEWKIRK, JANET             NJ - USDC for the District of New Jersey   3:20-cv-11248         DALIMONTE RUEB, LLP
NEWMAN, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-21370         DALIMONTE RUEB, LLP
NICHOLS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-08375         DALIMONTE RUEB, LLP
NIESEN, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-09424         DALIMONTE RUEB, LLP
NIKEL, VIVIAN              NJ - USDC for the District of New Jersey   3:20-cv-08944         DALIMONTE RUEB, LLP
NUSBAUM, SHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-15276         DALIMONTE RUEB, LLP
ODONNELL, SHERREL          NJ - USDC for the District of New Jersey   3:20-cv-00041         DALIMONTE RUEB, LLP
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OGBOMON, MONEERA           NJ - USDC for the District of New Jersey   3:20-cv-08949         DALIMONTE RUEB, LLP
OHLINGER, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-08056         DALIMONTE RUEB, LLP
OMALLEY, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-12737         DALIMONTE RUEB, LLP
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ORTEGA, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-06752         DALIMONTE RUEB, LLP
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PACE, BETTYE               NJ - USDC for the District of New Jersey   3:21-cv-10297         DALIMONTE RUEB, LLP
PACHLA, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-00930         DALIMONTE RUEB, LLP
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PANERIS, ALEXANDRA         NJ - USDC for the District of New Jersey   3:21-cv-00396         DALIMONTE RUEB, LLP
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PARKER, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-05906         DALIMONTE RUEB, LLP
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PERMAUL, CHUNAWATTIE       NJ - USDC for the District of New Jersey   3:20-cv-09581         DALIMONTE RUEB, LLP
PERROTTO, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-10579         DALIMONTE RUEB, LLP
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PETERSON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-14423         DALIMONTE RUEB, LLP
PHELPS, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-12740         DALIMONTE RUEB, LLP
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                           NJ - USDC for the District of New Jersey   3:20-cv-18472         DALIMONTE RUEB, LLP
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PISANESCHI, NICOLE         NJ - USDC for the District of New Jersey   3:18-cv-17707         DALIMONTE RUEB, LLP
PLATOS, LORETTA            NJ - USDC for the District of New Jersey   3:20-cv-13164         DALIMONTE RUEB, LLP
POLANCO, ROSIE             NJ - USDC for the District of New Jersey   3:21-cv-08371         DALIMONTE RUEB, LLP
PONTE, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-10700         DALIMONTE RUEB, LLP
PROPES, JUDY               NJ - USDC for the District of New Jersey   3:20-cv-02466         DALIMONTE RUEB, LLP
PRYOR, GWENDOLYN           NJ - USDC for the District of New Jersey   3:20-cv-08263         DALIMONTE RUEB, LLP
PUCKETT, JUDITH            NJ - USDC for the District of New Jersey   3:19-cv-20591         DALIMONTE RUEB, LLP
PUGLIESE, PRISCILLA        NJ - USDC for the District of New Jersey   3:20-cv-07342         DALIMONTE RUEB, LLP
RAMIREZ, ANA               NJ - USDC for the District of New Jersey   3:19-cv-00489         DALIMONTE RUEB, LLP
RAMIREZ, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-09056         DALIMONTE RUEB, LLP
RAMOUTAR, CAMLA            NJ - USDC for the District of New Jersey   3:20-cv-09291         DALIMONTE RUEB, LLP
RAY, DEBRA                 NJ - USDC for the District of New Jersey   3:20-cv-01959         DALIMONTE RUEB, LLP
RAZEK, STEPHANIE           NJ - USDC for the District of New Jersey   3:20-cv-07953         DALIMONTE RUEB, LLP
RETRUM, JEAN               NJ - USDC for the District of New Jersey   3:20-cv-00799         DALIMONTE RUEB, LLP
RICE, LINDA                NJ - USDC for the District of New Jersey   3:18-cv-08055         DALIMONTE RUEB, LLP
RICE, RENEE                NJ - USDC for the District of New Jersey   3:20-cv-12928         DALIMONTE RUEB, LLP
RICHARDS, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-06740         DALIMONTE RUEB, LLP
RIPPIE, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-05862         DALIMONTE RUEB, LLP
RIYADH, SULMA              NJ - USDC for the District of New Jersey   3:18-cv-02989         DALIMONTE RUEB, LLP
RIZZO, THERESA             NJ - USDC for the District of New Jersey   3:19-cv-09973         DALIMONTE RUEB, LLP
ROARK, LAURA               NJ - USDC for the District of New Jersey   3:20-cv-12743         DALIMONTE RUEB, LLP
ROBERTS, MARCIA            NJ - USDC for the District of New Jersey   3:21-cv-00612         DALIMONTE RUEB, LLP
ROCKWELL, MARY             NJ - USDC for the District of New Jersey   3:20-cv-07757         DALIMONTE RUEB, LLP
RODRIGUEZ, OLGA            NJ - USDC for the District of New Jersey   3:19-cv-05412         DALIMONTE RUEB, LLP
ROMAN-VILLADA, MAYLEE      NJ - USDC for the District of New Jersey   3:21-cv-00924         DALIMONTE RUEB, LLP
ROSS, CINDY                NJ - USDC for the District of New Jersey   3:20-cv-09300         DALIMONTE RUEB, LLP
RUCKER, TIFFANY            NJ - USDC for the District of New Jersey   3:20-cv-06199         DALIMONTE RUEB, LLP
RUSSELL, TRUDY             NJ - USDC for the District of New Jersey   3:20-cv-14487         DALIMONTE RUEB, LLP
SANDBORN, MARY             NJ - USDC for the District of New Jersey   3:20-cv-08922         DALIMONTE RUEB, LLP




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
SANTANA, MARTHA            NJ - USDC for the District of New Jersey   3:20-cv-03759         DALIMONTE RUEB, LLP
SCHAFER, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-14523         DALIMONTE RUEB, LLP
SCHINDLER, DIANE           NJ - USDC for the District of New Jersey   3:20-cv-12980         DALIMONTE RUEB, LLP
SCHMITZ, SCHELLY           NJ - USDC for the District of New Jersey   3:19-cv-21366         DALIMONTE RUEB, LLP
SCHOFIELD, MARY            NJ - USDC for the District of New Jersey   3:20-cv-07346         DALIMONTE RUEB, LLP
SCHWALM, TRACY             NJ - USDC for the District of New Jersey   3:20-cv-13172         DALIMONTE RUEB, LLP
SCOTT, VELMA               NJ - USDC for the District of New Jersey   3:20-cv-11481         DALIMONTE RUEB, LLP
SEBETH, MARIETTA           NJ - USDC for the District of New Jersey   3:20-cv-03309         DALIMONTE RUEB, LLP
SEGAL, TERRY               NJ - USDC for the District of New Jersey   3:20-cv-09569         DALIMONTE RUEB, LLP
SENSOR, ALICE              NJ - USDC for the District of New Jersey   3:20-cv-07948         DALIMONTE RUEB, LLP
SENTER, CLAUDIA            NJ - USDC for the District of New Jersey   3:20-cv-13177         DALIMONTE RUEB, LLP
SHACKELFORD, CELIA         NJ - USDC for the District of New Jersey   3:21-cv-07146         DALIMONTE RUEB, LLP
SHANER, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-06230         DALIMONTE RUEB, LLP
SHANNON, RUTH              NJ - USDC for the District of New Jersey   3:21-cv-15211         DALIMONTE RUEB, LLP
SHEFF, HEIDI               NJ - USDC for the District of New Jersey   3:20-cv-07388         DALIMONTE RUEB, LLP
SHELBY, MELINDA            NJ - USDC for the District of New Jersey   3:20-cv-11498         DALIMONTE RUEB, LLP
SHERMAN, MARGEREITTE       NJ - USDC for the District of New Jersey   3:20-cv-07372         DALIMONTE RUEB, LLP
SHERRILL, BLANCHE          NJ - Superior Court - Atlantic County      ATL-L-001702-20       DALIMONTE RUEB, LLP
SHERRON, ALEATHIA          NJ - USDC for the District of New Jersey   3:21-cv-16908         DALIMONTE RUEB, LLP
SHIRLEY, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-10288         DALIMONTE RUEB, LLP
SINGH, AMANDA              NJ - USDC for the District of New Jersey   3:21-cv-08368         DALIMONTE RUEB, LLP
SINGH, JUDY                NJ - USDC for the District of New Jersey   3:21-cv-11319         DALIMONTE RUEB, LLP
SLOAN, KRISTINE            NJ - USDC for the District of New Jersey   3:19-cv-18068         DALIMONTE RUEB, LLP
SMALL, TERRICETA           NJ - USDC for the District of New Jersey   3:20-cv-01700         DALIMONTE RUEB, LLP
SMALLWOOD, BEVERLY         NJ - USDC for the District of New Jersey   3:20-cv-02740         DALIMONTE RUEB, LLP
SMITH, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-10130         DALIMONTE RUEB, LLP
SMITH, IRMA                NJ - USDC for the District of New Jersey   3:20-cv-18011         DALIMONTE RUEB, LLP
SMOLANICK, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-10688         DALIMONTE RUEB, LLP
SOUTHERLAND, MARIA         NJ - USDC for the District of New Jersey   3:20-cv-06117         DALIMONTE RUEB, LLP
SPAAY, KELLY               NJ - USDC for the District of New Jersey   3:21-cv-13206         DALIMONTE RUEB, LLP
SPEER, RAMONA              NJ - USDC for the District of New Jersey   3:20-cv-12910         DALIMONTE RUEB, LLP
STACY, MAREE               NJ - USDC for the District of New Jersey   3:21-cv-10682         DALIMONTE RUEB, LLP
STACY, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-13200         DALIMONTE RUEB, LLP
STAFFORD, MARY             NJ - USDC for the District of New Jersey   3:21-cv-03176         DALIMONTE RUEB, LLP
STANFILL, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-08822         DALIMONTE RUEB, LLP
STEELE, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-15981         DALIMONTE RUEB, LLP
STEELE, JEANETTE           NJ - USDC for the District of New Jersey   3:20-cv-14455         DALIMONTE RUEB, LLP
STEINKIRCHNER, CHRISTINE   NJ - USDC for the District of New Jersey   3:20-cv-05295         DALIMONTE RUEB, LLP
STEINKRAUS, LUCIA          NJ - USDC for the District of New Jersey   3:20-cv-06033         DALIMONTE RUEB, LLP
STEPHENSON, ALICIA         NJ - USDC for the District of New Jersey   3:21-cv-06757         DALIMONTE RUEB, LLP
STEWARD, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-10267         DALIMONTE RUEB, LLP
STEWART, STACY             NJ - USDC for the District of New Jersey   3:20-cv-09578         DALIMONTE RUEB, LLP
STOKES, ADRIENNE           NJ - USDC for the District of New Jersey   3:20-cv-05870         DALIMONTE RUEB, LLP
SURBER, SIOBHAN            NJ - USDC for the District of New Jersey   3:21-cv-10087         DALIMONTE RUEB, LLP
SWANSON, SALLY             NJ - USDC for the District of New Jersey   3:21-cv-15569         DALIMONTE RUEB, LLP
TACKER, LISA               NJ - USDC for the District of New Jersey   3:21-cv-15206         DALIMONTE RUEB, LLP
TADROS, ELLEN              NJ - USDC for the District of New Jersey   3:21-cv-12107         DALIMONTE RUEB, LLP
TALARICO, LYNDA            NJ - USDC for the District of New Jersey   3:20-cv-07158         DALIMONTE RUEB, LLP
TALAVERA, VERONICA         NJ - USDC for the District of New Jersey   3:21-cv-00431         DALIMONTE RUEB, LLP
THEIS, LAURIE              NJ - USDC for the District of New Jersey   3:21-cv-11471         DALIMONTE RUEB, LLP
THOMAS, KOWANYA            NJ - USDC for the District of New Jersey   3:20-cv-13947         DALIMONTE RUEB, LLP
THOMAS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-13936         DALIMONTE RUEB, LLP
THOMPSON, ANNETTE          NJ - USDC for the District of New Jersey   3:20-cv-18028         DALIMONTE RUEB, LLP
THOMPSON, RACHEL           NJ - USDC for the District of New Jersey   3:21-cv-05867         DALIMONTE RUEB, LLP
THOMSON, LAURIE            NJ - USDC for the District of New Jersey   3:19-cv-20594         DALIMONTE RUEB, LLP
TIMIAN, KELLY              NJ - USDC for the District of New Jersey   3:18-cv-16383         DALIMONTE RUEB, LLP
TIPTON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-00620         DALIMONTE RUEB, LLP
TOBIN, THERESA             NJ - USDC for the District of New Jersey   3:21-cv-11488         DALIMONTE RUEB, LLP
TODD, CHRISTINA            NJ - USDC for the District of New Jersey   3:20-cv-18004         DALIMONTE RUEB, LLP
TOLBERT, GLENDA            NJ - USDC for the District of New Jersey   3:20-cv-03322         DALIMONTE RUEB, LLP
TOM, MAGGIE                NJ - USDC for the District of New Jersey   3:21-cv-15233         DALIMONTE RUEB, LLP
TRAVIS, HERVETTE           NJ - USDC for the District of New Jersey   3:20-cv-13910         DALIMONTE RUEB, LLP
TRETO, MARGARITA           NJ - USDC for the District of New Jersey   3:19-cv-00524         DALIMONTE RUEB, LLP
TROTOCHAU, LISA            NJ - USDC for the District of New Jersey   3:21-cv-05821         DALIMONTE RUEB, LLP
TRUAX, NORA                NJ - USDC for the District of New Jersey   3:20-cv-14382         DALIMONTE RUEB, LLP
TRUJILLO, EMILY            NJ - USDC for the District of New Jersey   3:21-cv-09212         DALIMONTE RUEB, LLP
TUCKER, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-06229         DALIMONTE RUEB, LLP
TULL, TAMMY                NJ - USDC for the District of New Jersey   3:21-cv-00414         DALIMONTE RUEB, LLP
TURK, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-06120         DALIMONTE RUEB, LLP
TYREE, ALEXANDRA           NJ - USDC for the District of New Jersey   3:21-cv-00390         DALIMONTE RUEB, LLP
UCCI, DOREEN               NJ - USDC for the District of New Jersey   3:21-cv-06724         DALIMONTE RUEB, LLP
VALENTINE, TANESHA         NJ - USDC for the District of New Jersey   3:20-cv-06124         DALIMONTE RUEB, LLP
VANDERAA, JUNE             NJ - USDC for the District of New Jersey   3:20-cv-01961         DALIMONTE RUEB, LLP
VANN, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-14322         DALIMONTE RUEB, LLP
VARLEY, MELINDA            NJ - USDC for the District of New Jersey   3:20-cv-14429         DALIMONTE RUEB, LLP
VELAZQUEZ, ESTELA          NJ - USDC for the District of New Jersey   3:21-cv-03626         DALIMONTE RUEB, LLP
VIGIL, BEVERLEY            NJ - USDC for the District of New Jersey   3:21-cv-00405         DALIMONTE RUEB, LLP
VONSEGGERN, KATHLEEN       NJ - USDC for the District of New Jersey   3:20-cv-15288         DALIMONTE RUEB, LLP
WAITERS, NICOLE            NJ - USDC for the District of New Jersey   3:21-cv-00386         DALIMONTE RUEB, LLP
WALDER, CECELIA            NJ - USDC for the District of New Jersey   3:20-cv-11506         DALIMONTE RUEB, LLP




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           Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
WALKER, JANE               NJ - USDC for the District of New Jersey   3:20-cv-13569         DALIMONTE RUEB, LLP
WALKER, SHERIDY            NJ - USDC for the District of New Jersey   3:20-cv-13593         DALIMONTE RUEB, LLP
WALTERS, BUNNY             NJ - USDC for the District of New Jersey   3:20-cv-13157         DALIMONTE RUEB, LLP
WASHINGTON, MECHELL        NJ - USDC for the District of New Jersey   3:18-cv-08120         DALIMONTE RUEB, LLP
WEEKS, TAWANNA             NJ - USDC for the District of New Jersey   3:20-cv-00798         DALIMONTE RUEB, LLP
WERMONT, MARCIA            NJ - USDC for the District of New Jersey   3:19-cv-16783         DALIMONTE RUEB, LLP
WHITE, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-12925         DALIMONTE RUEB, LLP
WILKINSON, SILVIA          NJ - USDC for the District of New Jersey   3:21-cv-13051         DALIMONTE RUEB, LLP
WILLIAMS, CHARMINE         NJ - USDC for the District of New Jersey   3:18-cv-14399         DALIMONTE RUEB, LLP
WILLIAMS, ELOUISE          NJ - USDC for the District of New Jersey   3:20-cv-13574         DALIMONTE RUEB, LLP
WILLIAMS, JANET            NJ - USDC for the District of New Jersey   3:20-cv-17194         DALIMONTE RUEB, LLP
WILLIAMS, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-00383         DALIMONTE RUEB, LLP
WILLIAMS, RONDA            NJ - USDC for the District of New Jersey   3:20-cv-13578         DALIMONTE RUEB, LLP
WILLIS, GAY                NJ - USDC for the District of New Jersey   3:20-cv-15274         DALIMONTE RUEB, LLP
WILLS, TENNEH              NJ - USDC for the District of New Jersey   3:20-cv-02790         DALIMONTE RUEB, LLP
WILSON, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-09574         DALIMONTE RUEB, LLP
WILSON, LILLY              NJ - USDC for the District of New Jersey   3:21-cv-10079         DALIMONTE RUEB, LLP
WILSON, TURKESSA           NJ - USDC for the District of New Jersey   3:20-cv-01963         DALIMONTE RUEB, LLP
WINTERS, MARY              NJ - USDC for the District of New Jersey   3:20-cv-15065         DALIMONTE RUEB, LLP
WISSMILLER, BOBBIE         NJ - USDC for the District of New Jersey   3:20-cv-06185         DALIMONTE RUEB, LLP
WOOD, KATHY                NJ - USDC for the District of New Jersey   3:20-cv-07818         DALIMONTE RUEB, LLP
WOOD, MADELINE             NJ - USDC for the District of New Jersey   3:20-cv-15070         DALIMONTE RUEB, LLP
WRUCK, MARY                NJ - USDC for the District of New Jersey   3:21-cv-14316         DALIMONTE RUEB, LLP
YAEGEL, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-08790         DALIMONTE RUEB, LLP
YERIKIAN, SALPY            NJ - USDC for the District of New Jersey   3:18-cv-16142         DALIMONTE RUEB, LLP
YOUNG, RUTH                NJ - USDC for the District of New Jersey   3:20-cv-01707         DALIMONTE RUEB, LLP
ZACHARIA, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-12315         DALIMONTE RUEB, LLP
ZARAZUA-GUZMAN, MARIA      NJ - USDC for the District of New Jersey   3:20-cv-09293         DALIMONTE RUEB, LLP
ZAVALA, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-14600         DALIMONTE RUEB, LLP
ZEPEDA, JOSEPHINE          NJ - USDC for the District of New Jersey   3:20-cv-12986         DALIMONTE RUEB, LLP
HALL, BERTHA               NJ - USDC for the District of New Jersey   3:21-cv-03851         DALTON AND ASSOCIATES, PA
KRAKOFSKY, FLORENCE        NJ - USDC for the District of New Jersey   3:21-cv-00298         DALTON AND ASSOCIATES, PA
BARTLETT, CAROL            NJ - Superior Court - Atlantic County      ATL-L-001984-16       DAMATO LAW FIRM, P.C.
BEAN, MARY                 NJ - Superior Court - Atlantic County      ATL-L-1234-16         DAMATO LAW FIRM, P.C.
CAFFEE, MARY               NJ - Superior Court - Atlantic County      ATL-L-1870-16         DAMATO LAW FIRM, P.C.
DOWNS, SUE                 NJ - Superior Court - Atlantic County      ATL-L-1771-16         DAMATO LAW FIRM, P.C.
DZIESZKOWSKI, KIMBERLY     NJ - Superior Court - Atlantic County      ATL-L-1157-16         DAMATO LAW FIRM, P.C.
FOLOS, CASMIERA            NJ - Superior Court - Atlantic County      ATL-L-1939-16         DAMATO LAW FIRM, P.C.
FORANCE, JOANN             NJ - Superior Court - Atlantic County      ATL-L-1239-16         DAMATO LAW FIRM, P.C.
FRANKLIN, LINDA            NJ - Superior Court - Atlantic County      ATL-L-1934-16         DAMATO LAW FIRM, P.C.
HENRY, PHAEDRA             NJ - Superior Court - Atlantic County      ATL-L-1936-16         DAMATO LAW FIRM, P.C.
HERRERA, SYLVIA            NJ - Superior Court - Atlantic County      ATL-L-1159-16         DAMATO LAW FIRM, P.C.
KINEY, NELDA               NJ - Superior Court - Atlantic County      ATL-L-1940-16         DAMATO LAW FIRM, P.C.
RANDOLPH, SANDRA           NJ - Superior Court - Atlantic County      ATL-L-1243-16         DAMATO LAW FIRM, P.C.
WATERS, THERESA            NJ - Superior Court - Atlantic County      ATL-L-1242-16         DAMATO LAW FIRM, P.C.
XOCHIHUA, MARIA            NJ - Superior Court - Atlantic County      ATL-L-1237-16         DAMATO LAW FIRM, P.C.
ALLEN, VIVIAN              NJ - USDC for the District of New Jersey   3:18-cv-09782         DANIEL & ASSOCIATES, LLC
ANDERSON, JANET            CA - Superior Court - Santa Clara County   18CV327583            DANIEL & ASSOCIATES, LLC
BATTLE-MINCEY, YVETTE      NJ - USDC for the District of New Jersey   3:18-cv-09772         DANIEL & ASSOCIATES, LLC
BEAL, SHEILA               NJ - USDC for the District of New Jersey   3:18-cv-13975         DANIEL & ASSOCIATES, LLC
BERRY, VICKY               NJ - USDC for the District of New Jersey   3:18-cv-14094         DANIEL & ASSOCIATES, LLC
BRINKMAN, TRACY            NJ - USDC for the District of New Jersey   3:18-cv-15626         DANIEL & ASSOCIATES, LLC
BRITTMAN, JUDY             NJ - USDC for the District of New Jersey   3:18-cv-11689         DANIEL & ASSOCIATES, LLC
CALDERON, ELEANOR          CA - Superior Court - Santa Clara County   18CV327516            DANIEL & ASSOCIATES, LLC
CLARK, JOANNE              NJ - USDC for the District of New Jersey   3:18-cv-08368         DANIEL & ASSOCIATES, LLC
CODY, MARTHA               NJ - USDC for the District of New Jersey   3:18-cv-08382         DANIEL & ASSOCIATES, LLC
CUNNINGHAM, NORMA          CA - Superior Court - Santa Clara County   18CV327526            DANIEL & ASSOCIATES, LLC
DAVIS-THOMAS, KAREN        NJ - USDC for the District of New Jersey   3:18-cv-08399         DANIEL & ASSOCIATES, LLC
DIVINCENZO, JUDITH         NJ - USDC for the District of New Jersey   3:18-cv-08401         DANIEL & ASSOCIATES, LLC
DIVITA, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-13518         DANIEL & ASSOCIATES, LLC
DONAHUE, MARION            NJ - USDC for the District of New Jersey   3:18-cv-11702         DANIEL & ASSOCIATES, LLC
DOOLEY, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-09768         DANIEL & ASSOCIATES, LLC
DOUGHTERY, WINDY           NJ - USDC for the District of New Jersey   3:18-cv-11935         DANIEL & ASSOCIATES, LLC
EHART, VICTORIA            NJ - USDC for the District of New Jersey   3:18-cv-03938         DANIEL & ASSOCIATES, LLC
ELLIOTT, DAWN              NJ - USDC for the District of New Jersey   3:18-cv-12683         DANIEL & ASSOCIATES, LLC
ENGLE, SUSAN               NJ - USDC for the District of New Jersey   3:18-cv-13760         DANIEL & ASSOCIATES, LLC
ESCOBEDO, ROSA             NJ - USDC for the District of New Jersey   3:18-cv-03694         DANIEL & ASSOCIATES, LLC
FITCH, DOROTHY             NJ - USDC for the District of New Jersey   3:18-cv-13977         DANIEL & ASSOCIATES, LLC
FLORES, TINA               NJ - USDC for the District of New Jersey   3:18-cv-12688         DANIEL & ASSOCIATES, LLC
FLOYD, ALMA                NJ - USDC for the District of New Jersey   3:18-cv-10385         DANIEL & ASSOCIATES, LLC
FOX, TERESA                NJ - USDC for the District of New Jersey   3:18-cv-13979         DANIEL & ASSOCIATES, LLC
FRAZIER, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-00969         DANIEL & ASSOCIATES, LLC
GALLAGHER, CECELIA         NJ - USDC for the District of New Jersey   3:18-cv-14290         DANIEL & ASSOCIATES, LLC
GATES, CRYSTAL             NJ - USDC for the District of New Jersey   3:18-cv-11318         DANIEL & ASSOCIATES, LLC
HARBIN, AVERL              NJ - USDC for the District of New Jersey   3:18-cv-05530         DANIEL & ASSOCIATES, LLC
HARRELL, BELINDA           NJ - USDC for the District of New Jersey   3:18-cv-14167         DANIEL & ASSOCIATES, LLC
HESSELTON, JOAN            NJ - USDC for the District of New Jersey   3:18-cv-15630         DANIEL & ASSOCIATES, LLC
HIGH, MARLENE              CA - Superior Court - Santa Clara County   18CV327536            DANIEL & ASSOCIATES, LLC
HILL, CHERYL               NJ - USDC for the District of New Jersey   3:18-cv-14181         DANIEL & ASSOCIATES, LLC
HILL, JULIE                NJ - USDC for the District of New Jersey   3:18-cv-13850         DANIEL & ASSOCIATES, LLC




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
HILL-ESCOBEDO, NITA       CA - Superior Court - Santa Clara County   18CV333671            DANIEL & ASSOCIATES, LLC
HOLMES, MARSHA            NJ - USDC for the District of New Jersey   3:17-cv-11964         DANIEL & ASSOCIATES, LLC
HUNTER, KELLY             NJ - USDC for the District of New Jersey   3:18-cv-03939         DANIEL & ASSOCIATES, LLC
JACKSON, LOUISE           NJ - USDC for the District of New Jersey   3:18-cv-11692         DANIEL & ASSOCIATES, LLC
JOHNSON, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-11291         DANIEL & ASSOCIATES, LLC
JONES, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-08448         DANIEL & ASSOCIATES, LLC
KEEL, NITA                NJ - USDC for the District of New Jersey   3:18-cv-02963         DANIEL & ASSOCIATES, LLC
LEBBERT-HERLEN, STACEY    NJ - USDC for the District of New Jersey   3:18-cv-12052         DANIEL & ASSOCIATES, LLC
MALKIEWICZ, GINA          CA - Superior Court - Santa Clara County   18CV331107            DANIEL & ASSOCIATES, LLC
MANESS, AUDREY            NJ - USDC for the District of New Jersey   3:18-cv-11136         DANIEL & ASSOCIATES, LLC
MARQUARDT, COLLEEN        NJ - USDC for the District of New Jersey   3:18-cv-13042         DANIEL & ASSOCIATES, LLC
MARTINS, LORI             NJ - USDC for the District of New Jersey   3:18-cv-14164         DANIEL & ASSOCIATES, LLC
MCCOY, WANDA              NJ - USDC for the District of New Jersey   3:18-cv-11296         DANIEL & ASSOCIATES, LLC
MCMICKLE, LUANNE          NJ - USDC for the District of New Jersey   3:18-cv-05415         DANIEL & ASSOCIATES, LLC
MCPHILLIPS, LAURIE        NJ - USDC for the District of New Jersey   3:18-cv-13859         DANIEL & ASSOCIATES, LLC
MILORO, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-11314         DANIEL & ASSOCIATES, LLC
MORGAN, MARY              CA - Superior Court - Santa Clara County   18CV330990            DANIEL & ASSOCIATES, LLC
MORTON, BAHIYA            NJ - USDC for the District of New Jersey   3:18-cv-11840         DANIEL & ASSOCIATES, LLC
MYERS, ANDREA             NJ - USDC for the District of New Jersey   3:18-cv-13392         DANIEL & ASSOCIATES, LLC
OCONNOR, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-13856         DANIEL & ASSOCIATES, LLC
OVIEDO, MARIA             NJ - USDC for the District of New Jersey   3:18-cv-13848         DANIEL & ASSOCIATES, LLC
POWELL, DOROTHY           CA - Superior Court - Santa Clara County   18CV327496            DANIEL & ASSOCIATES, LLC
QUIGLEY, ROBIN            CA - Superior Court - Santa Clara County   18CV333574            DANIEL & ASSOCIATES, LLC
ROTH, SUSAN               NJ - USDC for the District of New Jersey   3:18-cv-11315         DANIEL & ASSOCIATES, LLC
RUCKH, DELORIS            NJ - USDC for the District of New Jersey   3:18-cv-11712         DANIEL & ASSOCIATES, LLC
SCHAUR, MARGARET          NJ - USDC for the District of New Jersey   3:18-cv-11732         DANIEL & ASSOCIATES, LLC
SERRANO, LINDA            CA - Superior Court - Santa Clara County   18CV333343            DANIEL & ASSOCIATES, LLC
SNYDER, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-13270         DANIEL & ASSOCIATES, LLC
STEPPE, WENDY             NJ - USDC for the District of New Jersey   3:18-cv-13863         DANIEL & ASSOCIATES, LLC
STODGHILL, JANICE         NJ - USDC for the District of New Jersey   3:18-cv-02844         DANIEL & ASSOCIATES, LLC
STORTI, JANET             NJ - USDC for the District of New Jersey   3:18-cv-11838         DANIEL & ASSOCIATES, LLC
THILMANY, STEPHANIE       NJ - USDC for the District of New Jersey   3:18-cv-14160         DANIEL & ASSOCIATES, LLC
THOMAS, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-13981         DANIEL & ASSOCIATES, LLC
UNDERCUFFLER, LURETTA     NJ - USDC for the District of New Jersey   3:18-cv-11317         DANIEL & ASSOCIATES, LLC
VANNESS, NATASHA          NJ - USDC for the District of New Jersey   3:18-cv-05413         DANIEL & ASSOCIATES, LLC
WALLER, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-12003         DANIEL & ASSOCIATES, LLC
WERREN, MARY              NJ - USDC for the District of New Jersey   3:18-cv-13726         DANIEL & ASSOCIATES, LLC
WILKINS, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-13845         DANIEL & ASSOCIATES, LLC
WILLIAMS, ROBIN           CA - Superior Court - Santa Clara County   18CV333605            DANIEL & ASSOCIATES, LLC
SHINSKE, DIANA            NJ - USDC for the District of New Jersey   3:16-cv-07894         DANZIGER & DE LLANO, LLP
GARCIA, DALILA            NJ - Superior Court - Atlantic County      ATL-L-334-18          DARCY JOHNSON DAY, P.C.
GLEASON, PATRICIA         NJ - Superior Court - Atlantic County      ATL-L-329-18          DARCY JOHNSON DAY, P.C.
GRAMUGLIA, CARMELA        NJ - Superior Court - Atlantic County      ATL-L-2308-17         DARCY JOHNSON DAY, P.C.
HEBRON, WILHELMIN         NJ - Superior Court - Atlantic County      ATL-L-336-18          DARCY JOHNSON DAY, P.C.
JOHNSON-MYERS, KATHLEEN   NJ - Superior Court - Atlantic County      ATL-L-405-18          DARCY JOHNSON DAY, P.C.
MCCULLOUGH, LEONA         NJ - Superior Court - Atlantic County      ATL-L-284-20          DARCY JOHNSON DAY, P.C.
MCGANN, ELLEN             NJ - Superior Court - Atlantic County      ATL-L-332-18          DARCY JOHNSON DAY, P.C.
SMITH, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-2309-L          DARCY JOHNSON DAY, P.C.
WATSON, LINDA             NJ - Superior Court - Atlantic County      ATL-L-328-18          DARCY JOHNSON DAY, P.C.
WHITLEY, CATHERINE        NJ - Superior Court - Atlantic County      ATL-L-335-18          DARCY JOHNSON DAY, P.C.
GORDON, CHERYL            NJ - USDC for the District of New Jersey   3:17-cv-12052         DAVIS & CRUMP P.C.
ARNOLD, MARY              NJ - Superior Court - Atlantic County      ATL-L-000436-20       DAVIS, BETHUNE & JONES, L.L.C.
AVDEYEVA, YELENA          NJ - USDC for the District of New Jersey   3:20-cv-10280         DAVIS, BETHUNE & JONES, L.L.C.
AYERS, KATHRYN            NJ - USDC for the District of New Jersey   3:20-cv-14025         DAVIS, BETHUNE & JONES, L.L.C.
BABB, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-02328         DAVIS, BETHUNE & JONES, L.L.C.
BAKER, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-02332         DAVIS, BETHUNE & JONES, L.L.C.
BARKYOUMB, SANDRA         NJ - USDC for the District of New Jersey   3:20-cv-12168         DAVIS, BETHUNE & JONES, L.L.C.
BARNES, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-02330         DAVIS, BETHUNE & JONES, L.L.C.
BARSH, ELEANOR            NJ - USDC for the District of New Jersey   3:20-cv-12169         DAVIS, BETHUNE & JONES, L.L.C.
BATISTA, MONICA           NJ - USDC for the District of New Jersey   3:20-cv-11416         DAVIS, BETHUNE & JONES, L.L.C.
BATTLE, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-09186         DAVIS, BETHUNE & JONES, L.L.C.
BENSCH, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-13634         DAVIS, BETHUNE & JONES, L.L.C.
BERGMAN, SELMA            NJ - USDC for the District of New Jersey   3:20-cv-15362         DAVIS, BETHUNE & JONES, L.L.C.
BITZEL, MARY              NJ - USDC for the District of New Jersey   3:21-cv-02333         DAVIS, BETHUNE & JONES, L.L.C.
BLACK, BERNICE            NJ - USDC for the District of New Jersey   3:21-cv-02340         DAVIS, BETHUNE & JONES, L.L.C.
BLANKENSHIP, LISA         NJ - USDC for the District of New Jersey   3:21-cv-13201         DAVIS, BETHUNE & JONES, L.L.C.
BOATNER, ELIZABETH        NJ - USDC for the District of New Jersey   3:20-cv-11899         DAVIS, BETHUNE & JONES, L.L.C.
BONILLA, GRECIA           NJ - USDC for the District of New Jersey   3:21-cv-09191         DAVIS, BETHUNE & JONES, L.L.C.
BONNER, KARLA             NJ - USDC for the District of New Jersey   3:21-cv-09200         DAVIS, BETHUNE & JONES, L.L.C.
BORUCKI, CHARMANE         NJ - USDC for the District of New Jersey   3:20-cv-09265         DAVIS, BETHUNE & JONES, L.L.C.
BRIGGS-HARLOW, DARLENE    NJ - USDC for the District of New Jersey   3:20-cv-11404         DAVIS, BETHUNE & JONES, L.L.C.
BROMLEY, JAMIE            NJ - USDC for the District of New Jersey   3:21-cv-09193         DAVIS, BETHUNE & JONES, L.L.C.
BROWN, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-09198         DAVIS, BETHUNE & JONES, L.L.C.
BULLOCK, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-02335         DAVIS, BETHUNE & JONES, L.L.C.
BURD, RHONDA              NJ - USDC for the District of New Jersey   3:20-cv-14021         DAVIS, BETHUNE & JONES, L.L.C.
BURRILL, FOOSSIE          NJ - USDC for the District of New Jersey   3:20-cv-10145         DAVIS, BETHUNE & JONES, L.L.C.
BUTT, DOLORES             NJ - USDC for the District of New Jersey   3:20-cv-11648         DAVIS, BETHUNE & JONES, L.L.C.
CARBONNEAU, CAROL         NJ - USDC for the District of New Jersey   3:20-cv-12174         DAVIS, BETHUNE & JONES, L.L.C.
CARRILLO, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-10277         DAVIS, BETHUNE & JONES, L.L.C.
CARTER, JANINE            NJ - USDC for the District of New Jersey   3:20-cv-14575         DAVIS, BETHUNE & JONES, L.L.C.




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
CASTANEDA, RAYDEL         NJ - USDC for the District of New Jersey   3:20-cv-10155         DAVIS, BETHUNE & JONES, L.L.C.
CHASE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-09195         DAVIS, BETHUNE & JONES, L.L.C.
CHAVEZ, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-14569         DAVIS, BETHUNE & JONES, L.L.C.
CHOATE, GRETCHEN          NJ - USDC for the District of New Jersey   3:21-cv-02341         DAVIS, BETHUNE & JONES, L.L.C.
CLARK, ALLYSON            NJ - USDC for the District of New Jersey   3:21-cv-09183         DAVIS, BETHUNE & JONES, L.L.C.
CLARK, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-14577         DAVIS, BETHUNE & JONES, L.L.C.
COLEMAN, PRISCILLA        NJ - USDC for the District of New Jersey   3:20-cv-11895         DAVIS, BETHUNE & JONES, L.L.C.
CONOVER, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-08510         DAVIS, BETHUNE & JONES, L.L.C.
COTE, LAURA               NJ - USDC for the District of New Jersey   3:20-cv-15368         DAVIS, BETHUNE & JONES, L.L.C.
COULTER, JACKIE           NJ - USDC for the District of New Jersey   3:20-cv-09244         DAVIS, BETHUNE & JONES, L.L.C.
COX, LYNETTE              NJ - USDC for the District of New Jersey   3:20-cv-13639         DAVIS, BETHUNE & JONES, L.L.C.
CREASY, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-13326         DAVIS, BETHUNE & JONES, L.L.C.
CREECH, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-08647         DAVIS, BETHUNE & JONES, L.L.C.
DAGH-GOODMAN, DEBRA       NJ - USDC for the District of New Jersey   3:20-cv-11415         DAVIS, BETHUNE & JONES, L.L.C.
DAVAZIER, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-12175         DAVIS, BETHUNE & JONES, L.L.C.
DAVIS, JOANNA             NJ - USDC for the District of New Jersey   3:20-cv-08511         DAVIS, BETHUNE & JONES, L.L.C.
DAVIS, LOIS               NJ - USDC for the District of New Jersey   3:20-cv-11655         DAVIS, BETHUNE & JONES, L.L.C.
DENTITH, JANE             NJ - USDC for the District of New Jersey   3:21-cv-02343         DAVIS, BETHUNE & JONES, L.L.C.
DOHERTY, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-08512         DAVIS, BETHUNE & JONES, L.L.C.
DONNA, BEATRICE           NJ - USDC for the District of New Jersey   3:21-cv-09189         DAVIS, BETHUNE & JONES, L.L.C.
DORSTEN, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-08080         DAVIS, BETHUNE & JONES, L.L.C.
DUFFIN, DAWNE             NJ - USDC for the District of New Jersey   3:20-cv-14564         DAVIS, BETHUNE & JONES, L.L.C.
DYAR, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-02348         DAVIS, BETHUNE & JONES, L.L.C.
EASLEY, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-02349         DAVIS, BETHUNE & JONES, L.L.C.
ELY, CHRISTINE            NJ - USDC for the District of New Jersey   3:20-cv-10141         DAVIS, BETHUNE & JONES, L.L.C.
FAGOT, DESRIE             NJ - USDC for the District of New Jersey   3:20-cv-09249         DAVIS, BETHUNE & JONES, L.L.C.
FAVRE, PAULA              NJ - USDC for the District of New Jersey   3:20-cv-13630         DAVIS, BETHUNE & JONES, L.L.C.
FERRELL, TEANIKA          NJ - USDC for the District of New Jersey   3:20-cv-15361         DAVIS, BETHUNE & JONES, L.L.C.
FLYNN, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-11411         DAVIS, BETHUNE & JONES, L.L.C.
FREMOUNT, MICHELLE        NJ - USDC for the District of New Jersey   3:21-cv-09176         DAVIS, BETHUNE & JONES, L.L.C.
GAFFNEY, ALEEN            NJ - USDC for the District of New Jersey   3:20-cv-12178         DAVIS, BETHUNE & JONES, L.L.C.
GALLUP, REGINA            NJ - USDC for the District of New Jersey   3:20-cv-15370         DAVIS, BETHUNE & JONES, L.L.C.
GARCIA, MIDIAM            NJ - USDC for the District of New Jersey   3:21-cv-09175         DAVIS, BETHUNE & JONES, L.L.C.
GARCIA, ROSA              NJ - USDC for the District of New Jersey   3:20-cv-12375         DAVIS, BETHUNE & JONES, L.L.C.
GIANNINI, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-09181         DAVIS, BETHUNE & JONES, L.L.C.
GODICH, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-13613         DAVIS, BETHUNE & JONES, L.L.C.
GOODRICH, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-02352         DAVIS, BETHUNE & JONES, L.L.C.
GOTTLIEB, GAIL            NJ - USDC for the District of New Jersey   3:20-cv-08506         DAVIS, BETHUNE & JONES, L.L.C.
GRENZOW, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-09251         DAVIS, BETHUNE & JONES, L.L.C.
GRIMES, SHARI             NJ - USDC for the District of New Jersey   3:21-cv-09178         DAVIS, BETHUNE & JONES, L.L.C.
GROOMS, SHERIAN           NJ - USDC for the District of New Jersey   3:20-cv-12371         DAVIS, BETHUNE & JONES, L.L.C.
GRZYBEK, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-13333         DAVIS, BETHUNE & JONES, L.L.C.
GUZMAN, LILLIAN           NJ - USDC for the District of New Jersey   3:21-cv-09184         DAVIS, BETHUNE & JONES, L.L.C.
HALEY, JENIFFER           NJ - USDC for the District of New Jersey   3:21-cv-02345         DAVIS, BETHUNE & JONES, L.L.C.
HANSON, SHERRY            NJ - USDC for the District of New Jersey   3:20-cv-12372         DAVIS, BETHUNE & JONES, L.L.C.
HARE, KRISTINE            NJ - USDC for the District of New Jersey   3:20-cv-12374         DAVIS, BETHUNE & JONES, L.L.C.
HAWKINS, JEAN             NJ - USDC for the District of New Jersey   3:21-cv-09182         DAVIS, BETHUNE & JONES, L.L.C.
HEINKEL, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-14572         DAVIS, BETHUNE & JONES, L.L.C.
HELTON, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-08507         DAVIS, BETHUNE & JONES, L.L.C.
HERNANDEZ, DIANA          NJ - USDC for the District of New Jersey   3:20-cv-18312         DAVIS, BETHUNE & JONES, L.L.C.
HERNANDEZ, DIANA          NJ - USDC for the District of New Jersey   3:20-cv-18300         DAVIS, BETHUNE & JONES, L.L.C.
HERRON, ALISON            NJ - USDC for the District of New Jersey   3:21-cv-09174         DAVIS, BETHUNE & JONES, L.L.C.
HUGHES, CHASTITY          NJ - USDC for the District of New Jersey   3:20-cv-14022         DAVIS, BETHUNE & JONES, L.L.C.
HUGHES, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-09254         DAVIS, BETHUNE & JONES, L.L.C.
JOHNSON, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-18310         DAVIS, BETHUNE & JONES, L.L.C.
JOHNSON, SOPHONA          NJ - USDC for the District of New Jersey   3:21-cv-02344         DAVIS, BETHUNE & JONES, L.L.C.
KAMPA, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-08553         DAVIS, BETHUNE & JONES, L.L.C.
KEANE, KATHLEEN           NJ - USDC for the District of New Jersey   3:20-cv-09262         DAVIS, BETHUNE & JONES, L.L.C.
KEARNS, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-13331         DAVIS, BETHUNE & JONES, L.L.C.
KIRIAKOU, ANNIE           NJ - USDC for the District of New Jersey   3:20-cv-12376         DAVIS, BETHUNE & JONES, L.L.C.
KNIGHTEN, ARLENE          NJ - USDC for the District of New Jersey   3:20-cv-08639         DAVIS, BETHUNE & JONES, L.L.C.
KNOX, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-10575         DAVIS, BETHUNE & JONES, L.L.C.
KONSTANTINI, LILI         NJ - USDC for the District of New Jersey   3:21-cv-13332         DAVIS, BETHUNE & JONES, L.L.C.
KRUMPACH, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-09171         DAVIS, BETHUNE & JONES, L.L.C.
LANDIS, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-08812         DAVIS, BETHUNE & JONES, L.L.C.
LATHAM, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-13617         DAVIS, BETHUNE & JONES, L.L.C.
LEON, GUADALUPE           NJ - USDC for the District of New Jersey   3:21-cv-02353         DAVIS, BETHUNE & JONES, L.L.C.
LEON-TABOADA, MIGDALIA    NJ - USDC for the District of New Jersey   3:21-cv-08809         DAVIS, BETHUNE & JONES, L.L.C.
LEWIS, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-09173         DAVIS, BETHUNE & JONES, L.L.C.
LONG, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-13208         DAVIS, BETHUNE & JONES, L.L.C.
LOVE, SHAWNEL             NJ - USDC for the District of New Jersey   3:20-cv-12377         DAVIS, BETHUNE & JONES, L.L.C.
MACK, LINSHASA            NJ - USDC for the District of New Jersey   3:20-cv-11897         DAVIS, BETHUNE & JONES, L.L.C.
MANNING, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-08649         DAVIS, BETHUNE & JONES, L.L.C.
MARONEY, LINDSAY          NJ - USDC for the District of New Jersey   3:21-cv-02356         DAVIS, BETHUNE & JONES, L.L.C.
MARTIN, JOANN             NJ - USDC for the District of New Jersey   3:20-cv-09255         DAVIS, BETHUNE & JONES, L.L.C.
MARTIN, LAURENA           NJ - USDC for the District of New Jersey   3:21-cv-02370         DAVIS, BETHUNE & JONES, L.L.C.
MATA, JOLYNN              NJ - USDC for the District of New Jersey   3:21-cv-02372         DAVIS, BETHUNE & JONES, L.L.C.
MATARAZZO, JENNIFER       NJ - USDC for the District of New Jersey   3:21-cv-08814         DAVIS, BETHUNE & JONES, L.L.C.
MAYORGA, HILDA            NJ - USDC for the District of New Jersey   3:21-cv-09172         DAVIS, BETHUNE & JONES, L.L.C.
MCBEE, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-08652         DAVIS, BETHUNE & JONES, L.L.C.




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           Claimant Name                     State Filed                      Docket Number                Plaintiff Counsel
MEDRANO, NICOLE              NJ - USDC for the District of New Jersey   3:20-cv-09263         DAVIS, BETHUNE & JONES, L.L.C.
MEHR, HASINA                 NJ - USDC for the District of New Jersey   3:21-cv-13329         DAVIS, BETHUNE & JONES, L.L.C.
MELBY, MELISSA               NJ - USDC for the District of New Jersey   3:20-cv-12378         DAVIS, BETHUNE & JONES, L.L.C.
MENDOZA, BRIDGET             NJ - USDC for the District of New Jersey   3:20-cv-12379         DAVIS, BETHUNE & JONES, L.L.C.
MENEFEE, NASHERNEDRA         NJ - USDC for the District of New Jersey   3:20-cv-14029         DAVIS, BETHUNE & JONES, L.L.C.
MILO, ERLINDO                NJ - USDC for the District of New Jersey   3:21-cv-08539         DAVIS, BETHUNE & JONES, L.L.C.
MONTGOMERY, BROKIKIA         NJ - USDC for the District of New Jersey   3:20-cv-14581         DAVIS, BETHUNE & JONES, L.L.C.
MONTIJO, TRACY               NJ - USDC for the District of New Jersey   3:21-cv-08518         DAVIS, BETHUNE & JONES, L.L.C.
MOORE, MARILYN               NJ - USDC for the District of New Jersey   3:20-cv-07595         DAVIS, BETHUNE & JONES, L.L.C.
MORAHAN, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-10576         DAVIS, BETHUNE & JONES, L.L.C.
MORENO, SILVIA               NJ - USDC for the District of New Jersey   3:20-cv-10149         DAVIS, BETHUNE & JONES, L.L.C.
MUDGE, NATALIE               NJ - USDC for the District of New Jersey   3:20-cv-14583         DAVIS, BETHUNE & JONES, L.L.C.
MURPHY, NELLIE               NJ - USDC for the District of New Jersey   3:20-cv-12380         DAVIS, BETHUNE & JONES, L.L.C.
NARAD, GYONGYIKE             NJ - USDC for the District of New Jersey   3:20-cv-08513         DAVIS, BETHUNE & JONES, L.L.C.
NELIGH, SHYLA                NJ - USDC for the District of New Jersey   3:21-08521            DAVIS, BETHUNE & JONES, L.L.C.
NELIGH, SHYLA                NJ - USDC for the District of New Jersey   3:21-cv-08521         DAVIS, BETHUNE & JONES, L.L.C.
PAGE, CRYSTAL                NJ - USDC for the District of New Jersey   3:20-cv-14579         DAVIS, BETHUNE & JONES, L.L.C.
PANALIGAN, ELAIZA            NJ - USDC for the District of New Jersey   3:21-cv-13330         DAVIS, BETHUNE & JONES, L.L.C.
PARNELL, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-02374         DAVIS, BETHUNE & JONES, L.L.C.
PATOCK, CARRIE               NJ - USDC for the District of New Jersey   3:20-cv-13637         DAVIS, BETHUNE & JONES, L.L.C.
PEACE, MAGGIE                NJ - USDC for the District of New Jersey   3:20-cv-08653         DAVIS, BETHUNE & JONES, L.L.C.
PERKINS, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-08083         DAVIS, BETHUNE & JONES, L.L.C.
PERRY, LISA                  NJ - USDC for the District of New Jersey   3:20-cv-12381         DAVIS, BETHUNE & JONES, L.L.C.
PERRY, SANDRA                NJ - USDC for the District of New Jersey   3:20-cv-11658         DAVIS, BETHUNE & JONES, L.L.C.
PETROSYAN, YERANUHI          NJ - USDC for the District of New Jersey   3:21-cv-08550         DAVIS, BETHUNE & JONES, L.L.C.
POLLWORTH, PATSY             NJ - USDC for the District of New Jersey   3:20-cv-08504         DAVIS, BETHUNE & JONES, L.L.C.
PURNELL, LAKEYAH             NJ - USDC for the District of New Jersey   3:20-cv-09261         DAVIS, BETHUNE & JONES, L.L.C.
QUINTANILLA, DEBBIE          NJ - USDC for the District of New Jersey   3:20-cv-08657         DAVIS, BETHUNE & JONES, L.L.C.
RADFORD, CONNIE              NJ - USDC for the District of New Jersey   3:20-cv-13625         DAVIS, BETHUNE & JONES, L.L.C.
RAINES-DREW, JUSTINE         NJ - USDC for the District of New Jersey   3:20-cv-08508         DAVIS, BETHUNE & JONES, L.L.C.
RATAJCZYK, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-08086         DAVIS, BETHUNE & JONES, L.L.C.
RAY, SABRINA                 NJ - USDC for the District of New Jersey   3:20-cv-10153         DAVIS, BETHUNE & JONES, L.L.C.
RECIO, JOAN                  NJ - USDC for the District of New Jersey   3:20-cv-11407         DAVIS, BETHUNE & JONES, L.L.C.
REEVES, KAYLEEN              NJ - USDC for the District of New Jersey   3:21-cv-02363         DAVIS, BETHUNE & JONES, L.L.C.
RENSHAW, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-15365         DAVIS, BETHUNE & JONES, L.L.C.
REYES, ZULEYKA               NJ - USDC for the District of New Jersey   3:20-cv-14568         DAVIS, BETHUNE & JONES, L.L.C.
REYNARD, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-02379         DAVIS, BETHUNE & JONES, L.L.C.
REYNOLDS, SABRINA            NJ - USDC for the District of New Jersey   3:20-cv-13641         DAVIS, BETHUNE & JONES, L.L.C.
RIVERA, JUANITA              NJ - USDC for the District of New Jersey   3:20-cv-09257         DAVIS, BETHUNE & JONES, L.L.C.
RIVERS, MARGIE               NJ - USDC for the District of New Jersey   3:21-cv-02359         DAVIS, BETHUNE & JONES, L.L.C.
ROBINSON-MIODOVSKI, MOLLIE   NJ - USDC for the District of New Jersey   3:20-cv-10022         DAVIS, BETHUNE & JONES, L.L.C.
RODER, ANNE                  NJ - USDC for the District of New Jersey   3:20-cv-11000         DAVIS, BETHUNE & JONES, L.L.C.
RODRIGUEZ, CELINDA           NJ - USDC for the District of New Jersey   3:L21-cv-13328        DAVIS, BETHUNE & JONES, L.L.C.
ROLES-MEIER, TERESA          NJ - USDC for the District of New Jersey   3:20-cv-11409         DAVIS, BETHUNE & JONES, L.L.C.
ROMA, ELEANOR                NJ - USDC for the District of New Jersey   3:20-cv-10148         DAVIS, BETHUNE & JONES, L.L.C.
RONEY, MADELINE              NJ - USDC for the District of New Jersey   3:20-cv-15369         DAVIS, BETHUNE & JONES, L.L.C.
RUCKER, TIFFANY              NJ - USDC for the District of New Jersey   3:20-cv-13614         DAVIS, BETHUNE & JONES, L.L.C.
RUMPLE, REGINA               NJ - USDC for the District of New Jersey   3:20-cv-10993         DAVIS, BETHUNE & JONES, L.L.C.
SANCHEZ, ALICIA              NJ - USDC for the District of New Jersey   3:20-cv-08261         DAVIS, BETHUNE & JONES, L.L.C.
SANTOS, MARISOL              NJ - USDC for the District of New Jersey   3:20-cv-11413         DAVIS, BETHUNE & JONES, L.L.C.
SCHWARTZENBERGER, KIM        NJ - USDC for the District of New Jersey   3:21-cv-08544         DAVIS, BETHUNE & JONES, L.L.C.
SHANNON, SUMMER              NJ - USDC for the District of New Jersey   3:20-cv-15367         DAVIS, BETHUNE & JONES, L.L.C.
SHARMA, BETTY                NJ - USDC for the District of New Jersey   3:21-cv-02376         DAVIS, BETHUNE & JONES, L.L.C.
SHELLEY, ALTAVIA             NJ - USDC for the District of New Jersey   3:20-cv-14585         DAVIS, BETHUNE & JONES, L.L.C.
SHORT, CAROLE                NJ - USDC for the District of New Jersey   3:21-cv-08537         DAVIS, BETHUNE & JONES, L.L.C.
SIERSDORFEW, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-08548         DAVIS, BETHUNE & JONES, L.L.C.
SILCOX, DOLORES              NJ - USDC for the District of New Jersey   3:20-cv-10998         DAVIS, BETHUNE & JONES, L.L.C.
SIMMONS, LATISHA             NJ - USDC for the District of New Jersey   3:20-cv-08643         DAVIS, BETHUNE & JONES, L.L.C.
SIMMONS, MARY                NJ - USDC for the District of New Jersey   3:20-cv-20248         DAVIS, BETHUNE & JONES, L.L.C.
SIMONE, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-18308         DAVIS, BETHUNE & JONES, L.L.C.
SIMS, LISA                   NJ - USDC for the District of New Jersey   3:20-cv-13627         DAVIS, BETHUNE & JONES, L.L.C.
SKELTON, JENNIFER            NJ - USDC for the District of New Jersey   3:20-cv-14024         DAVIS, BETHUNE & JONES, L.L.C.
SMITH, JOANNE                NJ - USDC for the District of New Jersey   3:21-cv-02364         DAVIS, BETHUNE & JONES, L.L.C.
SMITH, LEANNA                NJ - USDC for the District of New Jersey   3:21-cv-08535         DAVIS, BETHUNE & JONES, L.L.C.
SMITH, LYNNAM                NJ - USDC for the District of New Jersey   3:21-cv-08516         DAVIS, BETHUNE & JONES, L.L.C.
SOTO, IVETTE                 NJ - USDC for the District of New Jersey   3:21-cv-13209         DAVIS, BETHUNE & JONES, L.L.C.
SPIVEY, BERTHA               NJ - USDC for the District of New Jersey   3:21-cv-02377         DAVIS, BETHUNE & JONES, L.L.C.
SPRADLIN, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-13620         DAVIS, BETHUNE & JONES, L.L.C.
STEINLINE, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-08552         DAVIS, BETHUNE & JONES, L.L.C.
STEWART, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-14562         DAVIS, BETHUNE & JONES, L.L.C.
STEWART, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-10147         DAVIS, BETHUNE & JONES, L.L.C.
STILES, PEGGY                NJ - USDC for the District of New Jersey   3:20-cv-14026         DAVIS, BETHUNE & JONES, L.L.C.
SWEETEN, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-11901         DAVIS, BETHUNE & JONES, L.L.C.
SWEITZER-SIMENTAL, TAMMY     NJ - USDC for the District of New Jersey   3:20-cv-15364         DAVIS, BETHUNE & JONES, L.L.C.
THURSTON, SHERILYN           NJ - USDC for the District of New Jersey   3:20-cv-19409         DAVIS, BETHUNE & JONES, L.L.C.
TRAN, TUYET-NHUNG            NJ - USDC for the District of New Jersey   3:20-cv-08646         DAVIS, BETHUNE & JONES, L.L.C.
UITENHAM, TINA               NJ - USDC for the District of New Jersey   3:20-cv-09259         DAVIS, BETHUNE & JONES, L.L.C.
VAN RYDER, CARMEN            NJ - USDC for the District of New Jersey   3:20-cv-13622         DAVIS, BETHUNE & JONES, L.L.C.
VANSLYCK, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-13214         DAVIS, BETHUNE & JONES, L.L.C.
VELLA, CAMILLE               NJ - USDC for the District of New Jersey   3:20-cv-12382         DAVIS, BETHUNE & JONES, L.L.C.




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          Claimant Name                             State Filed                    Docket Number                 Plaintiff Counsel
VOLLAIRE, VANESSA                 NJ - USDC for the District of New Jersey   3:20-cv-10139          DAVIS, BETHUNE & JONES, L.L.C.
WARRING, MARY                     NJ - USDC for the District of New Jersey   3:20-cv-11402          DAVIS, BETHUNE & JONES, L.L.C.
WEATHERS, ROSALIND                NJ - USDC for the District of New Jersey   3:20-cv-12383          DAVIS, BETHUNE & JONES, L.L.C.
WHITE, DANA                       NJ - USDC for the District of New Jersey   3:20-cv-10578          DAVIS, BETHUNE & JONES, L.L.C.
WHITLEY, RHONDA                   NJ - USDC for the District of New Jersey   3:21-cv-02367          DAVIS, BETHUNE & JONES, L.L.C.
WHOLL, MARLENE                    NJ - USDC for the District of New Jersey   3:21-cv-13327          DAVIS, BETHUNE & JONES, L.L.C.
WIGGINS, PATSY                    NJ - USDC for the District of New Jersey   3:20-cv-14561          DAVIS, BETHUNE & JONES, L.L.C.
WILLIAMS, DONNA                   NJ - USDC for the District of New Jersey   3:20-cv-11662          DAVIS, BETHUNE & JONES, L.L.C.
WILLIAMS, JULIA                   NJ - USDC for the District of New Jersey   3:21-cv-08542          DAVIS, BETHUNE & JONES, L.L.C.
WILLIAMS, ROSALIE                 NJ - USDC for the District of New Jersey   3:20-cv-11893          DAVIS, BETHUNE & JONES, L.L.C.
YARNALL, CAROLINE                 NJ - USDC for the District of New Jersey   3:20-cv-14563          DAVIS, BETHUNE & JONES, L.L.C.
YIN, JUN                          NJ - USDC for the District of New Jersey   3:20-cv-10577          DAVIS, BETHUNE & JONES, L.L.C.
ZAMARIPA, PATRICIA                NJ - USDC for the District of New Jersey   3:21-cv-08536          DAVIS, BETHUNE & JONES, L.L.C.
ZIRKLE, KAREN                     NJ - USDC for the District of New Jersey   3:21-cv-08514          DAVIS, BETHUNE & JONES, L.L.C.
BOWLIN, NORMAN D ESTATE OF        SC - Court of Common Pleas - Richland
                                                                             2020-CP-4002692        DEAN OMAR BRANHAM, LLP
GARY JAY MOSS                     County
BRYANT, SHERRI AND BRYANT,
                                  MI - Circuit Court - Wayne County          21-001960-NP           DEAN OMAR BRANHAM, LLP
MARK
CLARK, KAYME A. AND CLARK,
                                  NJ - Superior Court - Middlesex County     MID-L-03809-18AS       DEAN OMAR BRANHAM, LLP
DUSTON W.
EGGERS, VERNON EST OF BARBARA
                                  OK - District Court - Oklahoma County      CJ-2018-4739           DEAN OMAR BRANHAM, LLP
EGGERS
GARCIA, THERESA M.                IL - Circuit Court - Cook County           20-L-4505              DEAN OMAR BRANHAM, LLP
HOOD, ANGELA M ESTATE OF          SC - Court of Common Pleas - Charleston
                                                                             2020CP1003946          DEAN OMAR BRANHAM, LLP
MARY B MCBRAYER                   County
MOORE, MAE K.                     CA - Superior Court - Los Angeles          21STCV05513            DEAN OMAR BRANHAM, LLP
NEWTON, JERRY B. AND NEWTON,
                                  TX - District Court - Dallas County        DC-19-09317            DEAN OMAR BRANHAM, LLP
PATSY
PELTZ, JUDITH AND PELTZ,
                                  MA - Superior Court - Middlesex County     21-1612                DEAN OMAR BRANHAM, LLP
BENJAMIN
PETERSON, STANLEY AND
                                  NJ - Superior Court - Middlesex County     MID-L-03435-18AS       DEAN OMAR BRANHAM, LLP
PETERSON, DEBBY
PFISTER, PEGGY ESTATE OF NANCY
                                  IN - Superior Court - Marion County        49D13-2108-MI-029127   DEAN OMAR BRANHAM, LLP
ANN HEMBD
PICKLESIMER, ROBERT &             SC - Court of Common Pleas - Richland
                                                                             2020CP4002868          DEAN OMAR BRANHAM, LLP
PICKLESIMER, NANCY                County
RICHARDS, BETHANY ESTATE OF V
                                  WA - Superior Court - King County          21-2-10988-4           DEAN OMAR BRANHAM, LLP
RICHARDS
ROY, LYNNE                        LA - District Court - Orleans Parish       2020-02718             DEAN OMAR BRANHAM, LLP
TIPPIN, COREY G.                  NY - Supreme Court - NYCAL                 190062/2021            DEAN OMAR BRANHAM, LLP
BIAGETTI, MARILYN L. AND
                                  RI - Superior Court - Bristol County       PC-2017-2761           DEATON LAW FIRM
BIAGETTI, ROGER
CASTILLE, BERNADETTE              NJ - USDC for the District of New Jersey   3:19-cv-13298          DEATON LAW FIRM
GARY, MILO, AND MILO, PHYLLIS RI - Superior Court - Bristol County           PC-2016-0865           DEATON LAW FIRM
GONZALES, CARMEN                  NJ - USDC for the District of New Jersey   3:19-cv-12736          DEATON LAW FIRM
SAMIA, DORI ESTATE OF JOHN
                                  RI - Superior Court - Providence County    PC-2018-3695           DEATON LAW FIRM
DEGRAZIA
SILVA, R EST OF M SILVA B SILVA &
                                  RI - Superior Court - Providence County    PC-2018-9367           DEATON LAW FIRM
K SILVA
HARRISON, DOREEN                  NJ - USDC for the District of New Jersey   3:19-cv-14838          DECOF, BARRY, MEGA & QUINN, P.C.
ICHIBA, LISA                      NJ - USDC for the District of New Jersey   3:20-cv-06017          DECOF, BARRY, MEGA & QUINN, P.C.
PARKER, BETHANY                   NJ - USDC for the District of New Jersey   3:18-cv-06621          DECOF, BARRY, MEGA & QUINN, P.C.
RODERICK, CAROL                   NJ - USDC for the District of New Jersey   3:21-cv-08275          DECOF, BARRY, MEGA & QUINN, P.C.
ROY, MARY                         NJ - USDC for the District of New Jersey   3:19-cv-09200          DECOF, BARRY, MEGA & QUINN, P.C.
ADAMS, KAREN                      NJ - USDC for the District of New Jersey   3:20-cv-02870          DEGARIS WRIGHT MCCALL
BARCHETTI, JOANN                  NJ - USDC for the District of New Jersey   3:21-cv-13696          DEGARIS WRIGHT MCCALL
BARNES, VIVIAN                    NJ - USDC for the District of New Jersey   3:20-cv-01582          DEGARIS WRIGHT MCCALL
BUCKLEY, ROSEMARY                 NJ - USDC for the District of New Jersey   3:20-cv-02876          DEGARIS WRIGHT MCCALL
CHARLEBOIS, PAMELA                NJ - USDC for the District of New Jersey   3:20-cv-01578          DEGARIS WRIGHT MCCALL
DREMANN, KATHRYN                  NJ - USDC for the District of New Jersey   3:21-cv-13508          DEGARIS WRIGHT MCCALL
JONES, NANCY                      NJ - USDC for the District of New Jersey   3:21-cv-13647          DEGARIS WRIGHT MCCALL
LOPEZ, PATRICIA                   NJ - USDC for the District of New Jersey   3:21-cv-13686          DEGARIS WRIGHT MCCALL
POLLARD, REGINA                   NJ - USDC for the District of New Jersey   3:20-cv-02874          DEGARIS WRIGHT MCCALL
PREUSS, CAROL                     NJ - USDC for the District of New Jersey   3:21-cv-15167          DEGARIS WRIGHT MCCALL
PROCTOR, DEBORAH                  NJ - USDC for the District of New Jersey   3:20-cv-01497          DEGARIS WRIGHT MCCALL
WALES, DEBRA                      NJ - USDC for the District of New Jersey   3:20-cv-02868          DEGARIS WRIGHT MCCALL
WOOD, MEGAN                       NJ - USDC for the District of New Jersey   3:21-cv-05036          DEGARIS WRIGHT MCCALL
COLEMAN, MARY                     NJ - USDC for the District of New Jersey   3:17-cv-01156          DELISE & HALL
FERMAN, CAROL                     NJ - USDC for the District of New Jersey   3:17-cv-00841          DELISE & HALL
HYDE, FAYE                        NJ - USDC for the District of New Jersey   3:17-cv-01157          DELISE & HALL
PATTERSON, CAROL                  NJ - USDC for the District of New Jersey   3:17-cv-08818          DELISE & HALL
PATTERSON, CAROL                  NJ - USDC for the District of New Jersey   3:17-cv-08818          DELISE & HALL
PICOU, CINDY                      NJ - USDC for the District of New Jersey   3:17-cv-00838          DELISE & HALL
PREJEAN, SHARON                   NJ - USDC for the District of New Jersey   3:17-cv-00873          DELISE & HALL
RICHARD, LINDA                    NJ - USDC for the District of New Jersey   3:17-cv-00874          DELISE & HALL
SMITH, BARBARA                    NJ - USDC for the District of New Jersey   3:17-cv-01711          DELISE & HALL
TINGSTROM, PAMELA                 NJ - USDC for the District of New Jersey   3:17-cv-00839          DELISE & HALL
WILDEROTTER, JANE                 NJ - USDC for the District of New Jersey   3:17-cv-00983          DELISE & HALL
SACHS, EILEEN                     NJ - USDC for the District of New Jersey   3:19-cv-20226          DELL & DEAN PLLC
LEE, PATRICIA                     NJ - USDC for the District of New Jersey   3:19-cv-08374          DENNIS F. OBRIEN, P.A.




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          Claimant Name                     State Filed                    Docket Number                 Plaintiff Counsel
LAM, LAN                  NJ - USDC for the District of New Jersey   3:21-cv-16685          DENNIS LAW FIRM
BARTON, ELLA              NJ - USDC for the District of New Jersey   3:19-cv-06341          DIAMOND LAW
BERLONI, ANA              NJ - USDC for the District of New Jersey   3:19-cv-12242          DIAMOND LAW
BLAIR, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-00475          DIAMOND LAW
BLEASE, TIERNEY           NJ - USDC for the District of New Jersey   3:17-cv-09200          DIAMOND LAW
BORSELLA, BERNADETTE      NJ - USDC for the District of New Jersey   3:17-cv-13138          DIAMOND LAW
BROOKS, ADONICA           NJ - USDC for the District of New Jersey   3:17-cv-12919          DIAMOND LAW
BURKE, ARLIS              NJ - USDC for the District of New Jersey   3:17-cv-09199          DIAMOND LAW
CARLSTEAD, MARILYN        NJ - USDC for the District of New Jersey   3:17-cv-13158          DIAMOND LAW
CHAVEZ, GLORIA            NJ - USDC for the District of New Jersey   3:17-cv-12907          DIAMOND LAW
CHERMAK, JONI             NJ - USDC for the District of New Jersey   3:20-cv-06223          DIAMOND LAW
COALSON, MICHAEL          NJ - USDC for the District of New Jersey   3:18-cv-00499          DIAMOND LAW
COLBERT, EMILY            NJ - USDC for the District of New Jersey   3:17-cv-04376          DIAMOND LAW
CORRIE, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-00482          DIAMOND LAW
CROWLEY, JANICE           NJ - USDC for the District of New Jersey   3:17-cv-09201          DIAMOND LAW
CUMBERLAND, MARCELEINE    NJ - USDC for the District of New Jersey   3:18-cv-00487          DIAMOND LAW
DINEYAZHE, ROSANNA        NJ - USDC for the District of New Jersey   3:17-cv-13164          DIAMOND LAW
GALLAGHER, CELIA          NJ - USDC for the District of New Jersey   3:18-cv-10013          DIAMOND LAW
GARCIA, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-00575          DIAMOND LAW
GERDUNG, GEORGETTA        NJ - USDC for the District of New Jersey   3:18-cv-00577          DIAMOND LAW
HAINES, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-01958          DIAMOND LAW
HANDYSIDE, GLORIA         NJ - USDC for the District of New Jersey   3:18-cv-01960          DIAMOND LAW
HIDALGO, YVONNE           NJ - USDC for the District of New Jersey   3:20-cv-06245          DIAMOND LAW
JAMISON, DEBORA           NJ - USDC for the District of New Jersey   3:19-cv-16383          DIAMOND LAW
JOHNSON, GAIL             NJ - USDC for the District of New Jersey   3:20-cv-04652          DIAMOND LAW
JONES, JOANN              NJ - USDC for the District of New Jersey   3:17-cv-13192          DIAMOND LAW
KEKAHUMA, WILLEMMA        NJ - USDC for the District of New Jersey   3:18-cv-00580          DIAMOND LAW
KELLAM, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-13025          DIAMOND LAW
LARA, SARAH               NJ - USDC for the District of New Jersey   3:20-cv-06835          DIAMOND LAW
LINDSTROM, BARBARA        NJ - USDC for the District of New Jersey   3:18-cv-12584          DIAMOND LAW
LOPEZ, KRIS               NJ - USDC for the District of New Jersey   3:18-cv-01956          DIAMOND LAW
LUPE, LAVINIA             NJ - USDC for the District of New Jersey   3:17-cv-03965          DIAMOND LAW
MANZI, TANIA              NJ - USDC for the District of New Jersey   3:19-cv-00966          DIAMOND LAW
MARTINEZ, ALMA            NJ - USDC for the District of New Jersey   3:17-cv-06545          DIAMOND LAW
MCCABE, BELINDA           NJ - USDC for the District of New Jersey   3:20-cv-06220          DIAMOND LAW
MONTES, SYLVIA            NJ - USDC for the District of New Jersey   3:18-cv-00583          DIAMOND LAW
MONTOYA, MARY             NJ - USDC for the District of New Jersey   3:19-cv-17973          DIAMOND LAW
ODONNELL, ANNMARIE        NJ - USDC for the District of New Jersey   3:18-cv-01959          DIAMOND LAW
OPPENBERG, JOSEPHINE      NJ - USDC for the District of New Jersey   3:18-cv-00585          DIAMOND LAW
ORTIGOZA, MARIA           NJ - USDC for the District of New Jersey   3:18-cv-00588          DIAMOND LAW
PECK, EDWARD              NJ - USDC for the District of New Jersey   3:18-cv-00590          DIAMOND LAW
PENDERGAST, SANDRA        NJ - USDC for the District of New Jersey   3:17-cv-13195          DIAMOND LAW
RAMIREZ, STEPHANIE        NJ - USDC for the District of New Jersey   3:18-cv-00592          DIAMOND LAW
REESE, RUTH               NJ - USDC for the District of New Jersey   3:17-cv-04608          DIAMOND LAW
RIORDAN, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-13201          DIAMOND LAW
RUDOFSKY, JOYCE           NJ - USDC for the District of New Jersey   3:18-cv-01957          DIAMOND LAW
SCHLAHT, CONSTANCE        NJ - USDC for the District of New Jersey   3:18-cv-00630          DIAMOND LAW
SCHWARTZ, ANN             NJ - USDC for the District of New Jersey   3:18-cv-00635          DIAMOND LAW
SELLS, MARGARET           NJ - USDC for the District of New Jersey   3:17-cv-04607          DIAMOND LAW
SKOMP, ANNA               NJ - USDC for the District of New Jersey   3:17-cv-13188          DIAMOND LAW
SUNSHINE, CINDY           NJ - USDC for the District of New Jersey   3:18-cv-00655          DIAMOND LAW
TURNER, BETTE             NJ - USDC for the District of New Jersey   3:17-cv-12262          DIAMOND LAW
VAN BREE, LING            NJ - USDC for the District of New Jersey   3:18-cv-00662          DIAMOND LAW
WENKER, KATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-00704          DIAMOND LAW
WOODS, LIZABETH           NJ - USDC for the District of New Jersey   3:17-cv-12264          DIAMOND LAW
CARR, JANET               NJ - USDC for the District of New Jersey   3:20-cv-17107          DIAZ LAW FIRM, PLLC
DURKIN, ESTHER            NJ - USDC for the District of New Jersey   3:20-cv-17101          DIAZ LAW FIRM, PLLC
GOEDEL, SHERRY            NJ - USDC for the District of New Jersey   3:20-cv-17095          DIAZ LAW FIRM, PLLC
KIRVEN, RITA              NJ - USDC for the District of New Jersey   3:20-cv-17103          DIAZ LAW FIRM, PLLC
KRUG, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17109          DIAZ LAW FIRM, PLLC
LINCOLN, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-20417          DIAZ LAW FIRM, PLLC
MARSTON, DALE             NJ - USDC for the District of New Jersey   3:19-cv-07282          DIAZ LAW FIRM, PLLC
NIXON, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-17104          DIAZ LAW FIRM, PLLC
SANDERS, GEORGIA          NJ - USDC for the District of New Jersey   3:21-cv-12477          DICELLO LEVITT GUTZLER LLC
GABALDON, EPITACIO        IL - Circuit Court - Madison County        2020-L-000922          DICKEY LAW FIRM, LLP
HIGDON, CORINNE           NJ - USDC for the District of New Jersey   3:17-cv-09929          DICKS & COGLIANSE LLP
JOHNSON, DOROTHY          NJ - USDC for the District of New Jersey   3:17-cv-10718          DICKS & COGLIANSE LLP
LARSON, KRISTIN           NJ - USDC for the District of New Jersey   3:17-cv-11571          DICKS & COGLIANSE LLP
VAN THULL, LUANN          NJ - USDC for the District of New Jersey   3:19-cv-09052          DICKS & COGLIANSE LLP
WILKES, KATIE             NJ - USDC for the District of New Jersey   3:17-cv-09944          DICKS & COGLIANSE LLP
ZASKE, DIONNE             NJ - USDC for the District of New Jersey   3:17-cv-09509          DICKS & COGLIANSE LLP
GARCIA, NATALIE           CA - Superior Court - Imperial County      ECU09404               DICKSON KOHAN & BABLOVE LLP
HEMBD, NANCY ANN          IN - Superior Court - Marion County        49D13-2108-MI-029127   DOBS & FARINAS, LLP
KINNEY, HELEN             IN - Superior Court - Marion County        49D12-2012-MI-042553   DOBS & FARINAS, LLP
KOWINSKI, NANCY           IN - Superior Court - Marion County        49D12-2009-MI-032403   DOBS & FARINAS, LLP
GIGLIOTTI, CANDACE        NJ - USDC for the District of New Jersey   3:19-cv-05857          DOLCE PANEPINTO, P.C.
CAVETT, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-04401          DOMENGEAUX WRIGHT ROY & EDWARDS, LLC

HALEY, BETHANY            NJ - USDC for the District of New Jersey   3:21-cv-11196          DOMENGEAUX WRIGHT ROY & EDWARDS, LLC




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        Claimant Name                        State Filed                     Docket Number                Plaintiff Counsel
THIBEAUX-DOUCET, CHRISTINA   NJ - USDC for the District of New Jersey   3:17-cv-08900        DOMENGEAUX WRIGHT ROY & EDWARDS, LLC
ACOSTA, ELEANOR              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
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ALBACH, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
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ALEXANDER, DORINE            NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
ALEXANDER, VALERIE           NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
ANDERSON, KATHRYN            NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
ANDERSON, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
ANDREWS, VANNA               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
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ARSENAULT, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
ARWICK, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
AYALA, LANI                  NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BAROCAS, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BARRETT, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BARTEL, MEDA                 NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BAUMANN, DARLENE             NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BENITEZ, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BENNETT, CHRISTINA           NJ - USDC for the District of New Jersey   3:21-cv-13454        DONALD L. SCHLAPPRIZZI P.C.
BERGER, MARILYN              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BERRETH, GAYLE               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BERRY, LUCILE                NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BLACKBURN, TRACY             NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BOGACZYK, NELLA              NJ - USDC for the District of New Jersey   3:19-cv-18592        DONALD L. SCHLAPPRIZZI P.C.
BOLAND, NICHOLET             NJ - USDC for the District of New Jersey   3:21-cv-13450        DONALD L. SCHLAPPRIZZI P.C.
BONHEYO, LORI                NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BOONE, MARSHA                NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BOOTH, SHIRLEY               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BOWLING, LISA                NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BRACEY, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BRANCH, JOAN                 NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BRAZEALE, JACKIE             NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BRITTEN, YVONNE              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BROWNING, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BRUHN, BROWNING              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BRYANT, ARETHA               NJ - USDC for the District of New Jersey   3:21-cv-13450        DONALD L. SCHLAPPRIZZI P.C.
BRYANT, SHIRLEY              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
BUELOW, SHIRELY              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
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CHURCH, VIKKI                NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
COLE, LONI                   NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
COLLINS, DOLORES             NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
COOK, REGINAE                NJ - USDC for the District of New Jersey   3:19-cv-18592        DONALD L. SCHLAPPRIZZI P.C.
COWARD, TERESA               NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CRAMER, SHARON               NJ - USDC for the District of New Jersey   3:19-cv-18592        DONALD L. SCHLAPPRIZZI P.C.
CRAWHORN, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CREAL, JULIE                 NJ - USDC for the District of New Jersey   3:21-cv-13439        DONALD L. SCHLAPPRIZZI P.C.
CROPPER, LIBERTY             NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CROWE, NANCY                 NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CRUSHA, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CRUZ, SUSAN                  NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CRUZE, SUSAN                 NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CULPEPPER, TINA              NJ - USDC for the District of New Jersey   3:21-cv-13451        DONALD L. SCHLAPPRIZZI P.C.
CUNNINGHAM, JOANNE           NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
CURRIER-RUSACK, JANALYN      NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DAMEWORTH, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DAVIS, KELLY                 NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DAVIS, OLA                   NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DAVIS, SHIRLENE              NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DAVISSON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DAY, SARA                    NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DEBAILEY, SHAWANNA           NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DEGNAN, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DEKEN, JANINE                NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.
DEL VALLE, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-13441        DONALD L. SCHLAPPRIZZI P.C.




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          Claimant Name                      State Filed                      Docket Number                Plaintiff Counsel
DENNIS, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DENTON, ELAINE               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DESERSA, DOVALIEN            NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DIAS, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DODD, MARY                   NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DODSON, LORETTA              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DOLLAR, JOSEPHINE            NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DOMAN (OVERACRE), DANIELLE   NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DOUTHITT, JACINDA            NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
DUGGER, KATHERINE            NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
EDMONDS, DELORES             NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
ELKINS, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
ELLIS, JENNIFER              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
ENGLISH, TERRY               NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
ESTEP, JANET                 NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
EVERTT, SHERRI               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
EVERY, RUBY                  NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FAAPOULI, NAOMI              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FAGAN, KATHRYN               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FALCON, REGINA               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FALCON, ROSALVA              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FANCHER, DORIS               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FATTAL, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FEHER, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-13451         DONALD L. SCHLAPPRIZZI P.C.
FELKINS, TANYA               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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FIKE, REBECCA                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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FLORES, MAXINE               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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FRIE, ROSALIE                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FUGATE, VONDA                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
FUTCH, LESLIE                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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GARRETT, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GEARY, JEAN                  NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GEER, NOLA                   NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GEORGE, WENDY                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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GIBBONS, IRMA                NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
GILBERT, TOMIEKA             NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GILROY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GIRTON, MELISSA              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GIST, MARY                   NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
GOMEZ, JACQUELINE            NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GONZALEA, KRISTI             NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GONZALEZ, VIVIENEE           NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
GOODEMOTE-MOGOR, ELIZABETH   NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GORDON, ROSA                 NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GORDON-OZGUL, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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GRANT, JEANETTE              NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GRANT, ROBIN                 NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
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GREENE, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GREENE, TAMARA               NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GREENWALD, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-13441         DONALD L. SCHLAPPRIZZI P.C.
GUDAS, JEAN                  NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
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HALL-NASH, MAMIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HALL-RAMSEY, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAMMER, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAMMITT, MARION              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAMMOND, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
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HARPER, JEWELL               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HARRIS, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HARRIS, PAULETTE             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HARTLEIN, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAYES, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAYES, MARTHA                NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAYS, KATHLEEN               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HAYS, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
HELTON, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HEMMERLING, JOANN         NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
HERRING, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HESTER, KATHERYN          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HEYWARD, THELMA           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HICKS, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HIGGS, JUNE               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HILLIN, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HOBBS, LESA               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HOLMES, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HOLT, FRANKIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HOOD, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HORD, PENNY               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HORTON, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HORTON, PENNY             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HOWE, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HOWELL, SHELIA            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HUGHES, SHEFFEY           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HUNT, LACOLE              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HUNTER, LAKESHA           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
HUTZLER, IVY              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
IMTIAZ, SYEDA             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
INGRAM, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
ISLES, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JACKSON, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JACKSON, VONDA            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JAMES, JANNIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JAMES, LYNETTE            NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
JAMISON, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JENKINS, LATANYA          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JITE-OGBUEHI, LUCY        NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOHN, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOHNSON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOHNSON, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOHNSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOHNSON, STACI            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOHNSON, VICKI            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JONES, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JONES, LESLIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JONES, NORMA              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JONES, TRACY              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JOSHUA, PAULETTE          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
JUSTICE, LESLIE           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KASH, NAJWA               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KELLY, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KIELCZWESKI, KIM          NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KING, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KIRKLAND, ERNESTINE       NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KLEIN-DAVIS, STEPHANIE    NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KLOCKE, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KORNMAN, TERRY            NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KRAJEWSKA, KRYSTYNA       NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
KUBIAK, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
LAMAN, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-13454         DONALD L. SCHLAPPRIZZI P.C.
LANSDALE, MARY            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LANSDELL, AMANDA          NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LARRISON, SANDIE          NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LAURENT, MAUREEN          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
LAWHON, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEARY, SHANNA             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEASE, JANET              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEBOUEF, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEDRIDGE, ROBIN           NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEE, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEHNHOFF-MCCRAY, ROBIN    NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LESTER, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LEWIS, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LIGNEY, JANET             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LLORIN, LENA              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LOLLIS, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LOPEZ-REY, SELENA         NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LOVE, RITA                NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LOVE, TORY                NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
LOWMAN, JOANNE            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MACK, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MADISON, WILLIET          NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MAGER, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MALCOLM, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MALLORY, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MANZI, MARY               NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
MARBLE, ROCHELLE          NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MARCUM, SARA              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MARTIN, SHERRY            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MARTIN, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MARTINEZ, JAMIE           NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MARTIN-HATFIELD, LINDA    NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MASTERS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MASTERSON, NINA           NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MATA, LUPE                NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MAY, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCALILEY, SUANNE          NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCCOY, JANETTE            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCCOY, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCCULTY, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCDADE, MAUREEN           NJ - USDC for the District of New Jersey   3:21-cv-13451         DONALD L. SCHLAPPRIZZI P.C.
MCMANUS, LORRAINE         NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCMILLAN, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCNEECE, MARGERETTE       NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MCPHILLIPS, LAURIE        NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
METZ, TIFFANY             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
METZLER, JUDITH           NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
MILAM, TONI               NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MILLS, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MITCHELL, ROSE            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MONTALVO, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MOORE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-13451         DONALD L. SCHLAPPRIZZI P.C.
MOORE, JILL               NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MOORE, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MOORE, PAMULA             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MOORE, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MORGAN, ANN               NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MORGAN, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MORRIS, VICKIE            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MORRIS, WENDY             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MUNOZ, DELFINA            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MURPHY, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MURPHY, SONORA            NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
MYERS, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
NANCE, MINNIE             NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
NASH, KIMBERLY            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
NAVARRO, MARINA           NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
NELSON, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-13450         DONALD L. SCHLAPPRIZZI P.C.
NELSON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
NETHERLAND, LINDA         NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
NEUMAN, SHARRI            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
NIELSEN, JESSICA          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
NORDICK, TRUDY            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
NUFFER, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
OCONNELL, GERALDINE       NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
OLIVER, FAITH             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
OLIVER, LISA              NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ORLICH, ANNE              NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
OROPEZA, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
OWEN, JOAN                NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
OXENDINE, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PALAZZO, JEANNE           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PASCUAL, SACHA            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PATTERSON, SHELLEY        NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PEACE, LEANN              NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PEDERSEN, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PELLEGRINI, NANCY         NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
PENNINGTON, MARGUERITE    NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PEPIN, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PERKINSON, TAMAR          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PFEIFER, PATRINA          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PIEPER, VICKI             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PIERCEY, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PILAKINGTON, TAMA         NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PILEGARD, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
PIPKINS, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
POLCEN, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
POLLARD-OJO, LINDA        NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
POOL, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
POPVICH, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
POWELL, WILMA             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
POWERS, VICTORIA          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
QUICK, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
RADTKE, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
RAMIREZ, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
RAY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
RAYNE STEENS, LA          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
REDNER, ROLENA            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
REGENSBURG, MADY          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
REINER, SHERRI            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
REUTER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
REYNOLDS, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
RICHARDSON, LISA          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
RIVERA, OLGA              NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBERTS, CARRIE           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBERTS, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBERTS, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBESON, BECKY            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBINSON, NAN             NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBINSON, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROBINSON, SHERRI          NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
RODRIGUEZ, ISABEL         NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
ROGERS, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-13451         DONALD L. SCHLAPPRIZZI P.C.
ROSE, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
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SALAZAR, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
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SANCHEZ, JULIE            NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
SANCHEZ, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
SANCHEZ, PURIFICACION     NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
SANDUSKY, LORETTA         NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
SCARLETT, LILLIE          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SCHENK, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SCHNAPP, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SCHUETZ, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SCHWARTS, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SEYLLER, SUZA             NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
SHANKWEILER, KATHRYN      NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SILLIVEN, LETICIA         NJ - USDC for the District of New Jersey   3:19-cv-18592         DONALD L. SCHLAPPRIZZI P.C.
SIMPSON, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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SKIPPER, REBA             NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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SLYCORD, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SMITH, ANNE               NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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SMITH, SUSETTE            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
SMITH-FUTRELL, VIVIAN     NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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SPEIGHT, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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STEPHENSON, JENNIFER      NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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SUTTLE, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
TALAMANTES, PATRICIA      NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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TAUTEROUFF, MARY          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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TAYLOR, LORENNA           NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
TAYLOR, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
TEEPLES, RHONDA           NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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THOMAS-LEWIS, SHELIA      NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
THOMASTON, SHARON         NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
THOMPSON, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
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TROTTER, SHERRY           NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
UNDERWOOD, MARSHA          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
UTTERBACK, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
VANDERPOOL, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
VANDYKE, GLADYS            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
VARGAS, JODY               NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
VIEHMEYER, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
VILLE, JODY                NJ - USDC for the District of New Jersey   3:21-cv-13443         DONALD L. SCHLAPPRIZZI P.C.
VUKELICK, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WADDELL, AUDREY            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WADE, MARILYN              NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WAGNER, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WALKER-MCGEE, STACY        NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WALTERS, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WANG, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WARFORD, SHELLA            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WARNKE, LUCINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WARREN, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WARREN, TREVA              NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WASHINGTON, ORA            NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WASHINGTON, VANESSA        NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WATKINS, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WEBSTER, ANN               NJ - USDC for the District of New Jersey   3:21-cv-13447         DONALD L. SCHLAPPRIZZI P.C.
WESTBERG, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WHEELER, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WHITE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WHITE, VADA                NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WHITE-HENDERSON, TRENICA   NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WICKSTROM, SHERRY          NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WIKSE, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILLIAMS, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILLIAMS, KENDRA           NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILLIAMS, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILLIAMS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILLIAMS, MELANESA         NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILLIAMS, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
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WILSON, KWEILIN            NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILSON, MARIAN             NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WILSON, SARA               NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
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WINTER, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WOELFEL, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WOODRUFF, GRACE            NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WRAY, ANITA                NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WRIGHT, JANET              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WRIGHT, KATIE              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WYATT, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
WYLIE, JUDITH              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YARBROUGH, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YARBROUGH, RUBY            NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YINGLING, MELODY           NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YOCOM, LISA                NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YORK, NICHOLE              NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YOUNG, PORSCHIA            NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
YOUNG, SUZANNE             NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
ZAREMBA, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-13445         DONALD L. SCHLAPPRIZZI P.C.
ATEEK, SHIRLEY             NJ - USDC for the District of New Jersey   3:18-cv-11241         DOROTHY V. MAIER, PA
ADAMS, ALICE               NJ - USDC for the District of New Jersey   3:20-cv-15248         DRISCOLL FIRM, P.C.
AHSOAK, NAOMI              NJ - USDC for the District of New Jersey   3:20-cv-14229         DRISCOLL FIRM, P.C.
ANDRADE, VIVIAN            NJ - USDC for the District of New Jersey   3:21-cv-12433         DRISCOLL FIRM, P.C.
AQUINO, MILDRED            NJ - USDC for the District of New Jersey   3:20-cv-14270         DRISCOLL FIRM, P.C.
ARAMBULA, KELSEY           NJ - USDC for the District of New Jersey   3:20-cv-14261         DRISCOLL FIRM, P.C.
ARCENEAUX, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-13606         DRISCOLL FIRM, P.C.
ASSENTI, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-13666         DRISCOLL FIRM, P.C.
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BARNES, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-16673         DRISCOLL FIRM, P.C.
BARTHELME, GWEN            NJ - USDC for the District of New Jersey   3:21-cv-08899         DRISCOLL FIRM, P.C.
BATES, JACQUELYN           NJ - USDC for the District of New Jersey   3:20-cv-00522         DRISCOLL FIRM, P.C.
BEASLEY, SHEILA            NJ - USDC for the District of New Jersey   3:20-cv-12924         DRISCOLL FIRM, P.C.
BENBOW, SANTANA            NJ - USDC for the District of New Jersey   3:21-cv-10251         DRISCOLL FIRM, P.C.
BERRY, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-20548         DRISCOLL FIRM, P.C.
BERTANZA, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-20448         DRISCOLL FIRM, P.C.
BESSETTE, IRENE            NJ - USDC for the District of New Jersey   3:19-cv-18211         DRISCOLL FIRM, P.C.
BEY, IRENE                 NJ - USDC for the District of New Jersey   3:19-cv-18628         DRISCOLL FIRM, P.C.
BIRDSELL, MARILEE          NJ - USDC for the District of New Jersey   3:20-cv-12972         DRISCOLL FIRM, P.C.
BLAIR, CHELSEA             NJ - USDC for the District of New Jersey   3:21-cv-01093         DRISCOLL FIRM, P.C.
BLAIR, OTINA               NJ - USDC for the District of New Jersey   3:19-cv-22079         DRISCOLL FIRM, P.C.




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          Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
BLANCHE, KATONA           NJ - USDC for the District of New Jersey   3:20-cv-01337         DRISCOLL FIRM, P.C.
BLEVINS, LAVONDA          NJ - USDC for the District of New Jersey   3:21-cv-02754         DRISCOLL FIRM, P.C.
BLEVINS, LORA             NJ - USDC for the District of New Jersey   3:20-cv-20422         DRISCOLL FIRM, P.C.
BLOCK, RHONDA             NJ - USDC for the District of New Jersey   3:19-cv-22171         DRISCOLL FIRM, P.C.
BOLDEN, PARRIS            NJ - USDC for the District of New Jersey   3:20-cv-13449         DRISCOLL FIRM, P.C.
BOLENDER, MARY            NJ - USDC for the District of New Jersey   3:19-cv-22072         DRISCOLL FIRM, P.C.
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BORCHARDT, JENNIFER       NJ - USDC for the District of New Jersey   3:20-cv-20550         DRISCOLL FIRM, P.C.
BOUCHER, DORIS            NJ - USDC for the District of New Jersey   3:20-cv-17197         DRISCOLL FIRM, P.C.
BOULAI, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-14271         DRISCOLL FIRM, P.C.
BOWKER, TANYA             NJ - USDC for the District of New Jersey   3:21-cv-04742         DRISCOLL FIRM, P.C.
BOYD, SHERRIE             NJ - USDC for the District of New Jersey   3:20-cv-12897         DRISCOLL FIRM, P.C.
BOYLE, MISTI              NJ - USDC for the District of New Jersey   3:20-cv-12663         DRISCOLL FIRM, P.C.
BRADLEY, VICKY            NJ - USDC for the District of New Jersey   3:19-cv-18633         DRISCOLL FIRM, P.C.
BRADY, JOANN              NJ - USDC for the District of New Jersey   3:20-cv-20551         DRISCOLL FIRM, P.C.
BRADY, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-04570         DRISCOLL FIRM, P.C.
BRANCH, KELSEY            NJ - USDC for the District of New Jersey   3:21-cv-05428         DRISCOLL FIRM, P.C.
BRIDGES, DEBBIE           NJ - USDC for the District of New Jersey   3:20-cv-02615         DRISCOLL FIRM, P.C.
BRIENO, MERLINDA          NJ - USDC for the District of New Jersey   3:19-cv-22051         DRISCOLL FIRM, P.C.
BRISSELL, DIXIE           NJ - USDC for the District of New Jersey   3:19-cv-18229         DRISCOLL FIRM, P.C.
BRITTON, JESSICA          NJ - USDC for the District of New Jersey   3:20-cv-13540         DRISCOLL FIRM, P.C.
BROCK, CLARISSA           NJ - USDC for the District of New Jersey   3:20-cv-07620         DRISCOLL FIRM, P.C.
BROWN, SARAH              NJ - USDC for the District of New Jersey   3:20-cv-13531         DRISCOLL FIRM, P.C.
BRUNO, TIARA              NJ - USDC for the District of New Jersey   3:21-cv-01098         DRISCOLL FIRM, P.C.
BUCKNER, STELLA JONES     NJ - USDC for the District of New Jersey   3:19-cv-20048         DRISCOLL FIRM, P.C.
BURGER, DOROTHY           NJ - USDC for the District of New Jersey   3:19-cv-22185         DRISCOLL FIRM, P.C.
BURKE, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-12161         DRISCOLL FIRM, P.C.
BUSH, TRESHA              NJ - USDC for the District of New Jersey   3:20-cv-20427         DRISCOLL FIRM, P.C.
BUSH, WILMA               NJ - USDC for the District of New Jersey   3:20-cv-14266         DRISCOLL FIRM, P.C.
BYRD, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-06420         DRISCOLL FIRM, P.C.
CAESAR, EURA              NJ - USDC for the District of New Jersey   3:19-cv-19215         DRISCOLL FIRM, P.C.
CALDWELL, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-18237         DRISCOLL FIRM, P.C.
CAMERON, TRACY            NJ - USDC for the District of New Jersey   3:19-cv-18267         DRISCOLL FIRM, P.C.
CAMPBELL, COLLEEN         NJ - USDC for the District of New Jersey   3:21-cv-01103         DRISCOLL FIRM, P.C.
CARRINGTON, CELESTE       NJ - USDC for the District of New Jersey   3:19-cv-22164         DRISCOLL FIRM, P.C.
CASTORE, TAMMY            NJ - USDC for the District of New Jersey   3:20-cv-13602         DRISCOLL FIRM, P.C.
CAVE, JALISA              NJ - USDC for the District of New Jersey   3:20-cv-20428         DRISCOLL FIRM, P.C.
CENA, ROXANNE             NJ - USDC for the District of New Jersey   3:20-cv-11372         DRISCOLL FIRM, P.C.
CHRISTIAN, CARLA          NJ - USDC for the District of New Jersey   3:20-cv-20555         DRISCOLL FIRM, P.C.
CIACCIO-BROWN, JANETTE    NJ - USDC for the District of New Jersey   3:19-cv-22184         DRISCOLL FIRM, P.C.
CLARK, DEBBIE             NJ - USDC for the District of New Jersey   3:19-cv-18268         DRISCOLL FIRM, P.C.
CLEAR, ARICA              NJ - USDC for the District of New Jersey   3:20-cv-13610         DRISCOLL FIRM, P.C.
COBB, MARY                NJ - USDC for the District of New Jersey   3:20-cv-14258         DRISCOLL FIRM, P.C.
COHEN, AMY                NJ - USDC for the District of New Jersey   3:20-cv-12882         DRISCOLL FIRM, P.C.
COHEN, SHEILA             NJ - USDC for the District of New Jersey   3:19-cv-19306         DRISCOLL FIRM, P.C.
COLEMAN, ERIKA            NJ - USDC for the District of New Jersey   3:20-cv-12156         DRISCOLL FIRM, P.C.
COOPER, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-02571         DRISCOLL FIRM, P.C.
CORTES, LILLY             NJ - USDC for the District of New Jersey   3:19-cv-18561         DRISCOLL FIRM, P.C.
COSTOSO, JEANETTE         NJ - USDC for the District of New Jersey   3:21-cv-10252         DRISCOLL FIRM, P.C.
COTE, BRENDA              NJ - USDC for the District of New Jersey   3:20-cv-01338         DRISCOLL FIRM, P.C.
COTMAN-RIDGE, MARILYN     NJ - USDC for the District of New Jersey   3:19-cv-18269         DRISCOLL FIRM, P.C.
CRAIG-HOGLAN, CONSTANCE   NJ - USDC for the District of New Jersey   3:20-cv-12886         DRISCOLL FIRM, P.C.
CRIVELLO, CHRISTINA       NJ - USDC for the District of New Jersey   3:19-cv-18270         DRISCOLL FIRM, P.C.
CROCKETT, KANISHA         NJ - USDC for the District of New Jersey   3:20-cv-02477         DRISCOLL FIRM, P.C.
CUNNINGHAM, JACQUELINE    NJ - USDC for the District of New Jersey   3:20-cv-15255         DRISCOLL FIRM, P.C.
CURIEL, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-15301         DRISCOLL FIRM, P.C.
CURTIS, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-13582         DRISCOLL FIRM, P.C.
CUSHENBERRY, KAY          NJ - USDC for the District of New Jersey   3:19-cv-12673         DRISCOLL FIRM, P.C.
DAILEY, MARY              NJ - USDC for the District of New Jersey   3:20-cv-13592         DRISCOLL FIRM, P.C.
DALTON, GLENDA            NJ - USDC for the District of New Jersey   3:19-cv-12028         DRISCOLL FIRM, P.C.
DANNUNZIO, CHRISTINE      NJ - USDC for the District of New Jersey   3:19-cv-22165         DRISCOLL FIRM, P.C.
DAVIS, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-10253         DRISCOLL FIRM, P.C.
DAVIS, LUCCEAL            NJ - USDC for the District of New Jersey   3:19-cv-18271         DRISCOLL FIRM, P.C.
DAVIS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-15257         DRISCOLL FIRM, P.C.
DAVIS, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-17200         DRISCOLL FIRM, P.C.
DELPH, KALLIOPI           NJ - USDC for the District of New Jersey   3:21-cv-10255         DRISCOLL FIRM, P.C.
DELUCIA, KELI             NJ - USDC for the District of New Jersey   3:19-cv-12667         DRISCOLL FIRM, P.C.
DEMOSS, SHAWN             NJ - USDC for the District of New Jersey   3:20-cv-07573         DRISCOLL FIRM, P.C.
DENUNZIO, MAUREEN         NJ - USDC for the District of New Jersey   3:20-cv-13587         DRISCOLL FIRM, P.C.
DINGESS, ROBIN            NJ - USDC for the District of New Jersey   3:21-cv-10254         DRISCOLL FIRM, P.C.
DIXON, MARSHA             NJ - USDC for the District of New Jersey   3:19-cv-22173         DRISCOLL FIRM, P.C.
DODGE, MARY               NJ - USDC for the District of New Jersey   3:20-cv-09726         DRISCOLL FIRM, P.C.
DODSON, EUGENIA           NJ - USDC for the District of New Jersey   3:20-cv-14219         DRISCOLL FIRM, P.C.
DONLEY, IRIS              NJ - USDC for the District of New Jersey   3:20-cv-12094         DRISCOLL FIRM, P.C.
DOTY, AMY                 NJ - USDC for the District of New Jersey   3:19-cv-19219         DRISCOLL FIRM, P.C.
DOUGHERTY, TAMMY          NJ - USDC for the District of New Jersey   3:20-cv-15208         DRISCOLL FIRM, P.C.
DRISCOLL, ELIZABETH       IL - Circuit Court - St. Clair County      18-L-0572             DRISCOLL FIRM, P.C.
DUFFY, LANA               NJ - USDC for the District of New Jersey   3:20-cv-14272         DRISCOLL FIRM, P.C.
DURSO, ANITA              NJ - USDC for the District of New Jersey   3:19-cv-18272         DRISCOLL FIRM, P.C.
DYER, NELLIE              NJ - USDC for the District of New Jersey   3:20-cv-20556         DRISCOLL FIRM, P.C.




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          Claimant Name                        State Filed                    Docket Number                Plaintiff Counsel
EAST, SANDRA                 NJ - USDC for the District of New Jersey   3:21-cv-15781         DRISCOLL FIRM, P.C.
EMBRY, CHRISTINA             NJ - USDC for the District of New Jersey   3:20-cv-06428         DRISCOLL FIRM, P.C.
EPPRIGHT, SAMMIE             NJ - USDC for the District of New Jersey   3:19-cv-22177         DRISCOLL FIRM, P.C.
ESPARZA, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-13607         DRISCOLL FIRM, P.C.
ESTRADA, CYNTHIA             NJ - USDC for the District of New Jersey   3:20-cv-13594         DRISCOLL FIRM, P.C.
ESTRADA-CASTREJON, SOLEDAD   NJ - USDC for the District of New Jersey   3:21-cv-01798         DRISCOLL FIRM, P.C.
EVANS, LAURA                 NJ - USDC for the District of New Jersey   3:21-cv-01105         DRISCOLL FIRM, P.C.
FALZONE, SHARON              NJ - USDC for the District of New Jersey   3:20-cv-13696         DRISCOLL FIRM, P.C.
FERNANDEZ, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-01172         DRISCOLL FIRM, P.C.
FERNANDEZ, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-13600         DRISCOLL FIRM, P.C.
FERRER, GIAVONNA             NJ - USDC for the District of New Jersey   3:20-cv-17082         DRISCOLL FIRM, P.C.
FIELD, ELLEN                 NJ - USDC for the District of New Jersey   3:19-cv-12672         DRISCOLL FIRM, P.C.
FINE, BRENDA                 NJ - USDC for the District of New Jersey   3:19-cv-22167         DRISCOLL FIRM, P.C.
FINKELSTEIN, LYNN            NJ - USDC for the District of New Jersey   3:20-cv-14205         DRISCOLL FIRM, P.C.
FISHER, KRISTINA             NJ - USDC for the District of New Jersey   3:20-cv-13597         DRISCOLL FIRM, P.C.
FITZPATRICK, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-07578         DRISCOLL FIRM, P.C.
FLORES, PAULA                NJ - USDC for the District of New Jersey   3:19-cv-18273         DRISCOLL FIRM, P.C.
FLORES, VERONICA             NJ - USDC for the District of New Jersey   3:20-cv-07537         DRISCOLL FIRM, P.C.
FLOYD, PARIS                 NJ - USDC for the District of New Jersey   3:20-cv-12087         DRISCOLL FIRM, P.C.
FRANCO, CLAUDIA              NJ - USDC for the District of New Jersey   3:20-cv-14235         DRISCOLL FIRM, P.C.
FRANKLIN, MARLENE            NJ - USDC for the District of New Jersey   3:21-cv-01800         DRISCOLL FIRM, P.C.
FRANTZ, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-15908         DRISCOLL FIRM, P.C.
FREDERICK, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-14226         DRISCOLL FIRM, P.C.
FRITCH, CAROL                NJ - USDC for the District of New Jersey   3:19-cv-12668         DRISCOLL FIRM, P.C.
FROST, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-15925         DRISCOLL FIRM, P.C.
FRYREAR, TAMMY               NJ - USDC for the District of New Jersey   3:20-cv-12536         DRISCOLL FIRM, P.C.
FUHRMAN, MARGARETE           NJ - USDC for the District of New Jersey   3:19-cv-12664         DRISCOLL FIRM, P.C.
GARCIA, GUADALUPE            NJ - USDC for the District of New Jersey   3:20-cv-12667         DRISCOLL FIRM, P.C.
GARCIA, LAURIE               NJ - USDC for the District of New Jersey   3:19-cv-18629         DRISCOLL FIRM, P.C.
GARDNER, ANNIE               NJ - USDC for the District of New Jersey   3:20-cv-14223         DRISCOLL FIRM, P.C.
GARDNER, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-17203         DRISCOLL FIRM, P.C.
GARMOND, LATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-14280         DRISCOLL FIRM, P.C.
GIANGRECO, TERI              NJ - USDC for the District of New Jersey   3:19-cv-18274         DRISCOLL FIRM, P.C.
GIBBS, SOUJERNE              NJ - USDC for the District of New Jersey   3:20-cv-11040         DRISCOLL FIRM, P.C.
GIBSON, GINGER               NJ - USDC for the District of New Jersey   3:21-cv-05406         DRISCOLL FIRM, P.C.
GINET, CIERA                 NJ - USDC for the District of New Jersey   3:19-cv-13256         DRISCOLL FIRM, P.C.
GOLDSTEIN, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-06230         DRISCOLL FIRM, P.C.
GOLDSTEIN, BELINDA           NJ - USDC for the District of New Jersey   3:20-cv-13669         DRISCOLL FIRM, P.C.
GOMES, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-14268         DRISCOLL FIRM, P.C.
GOODE, ROXANNE               NJ - USDC for the District of New Jersey   3:21-cv-18239         DRISCOLL FIRM, P.C.
GORDON-OZGUL, PATRICIA       NJ - USDC for the District of New Jersey   3:19-cv-18276         DRISCOLL FIRM, P.C.
GORDY, ILDA                  NJ - USDC for the District of New Jersey   3:20-cv-12086         DRISCOLL FIRM, P.C.
GOTCH, ELEANOR               NJ - USDC for the District of New Jersey   3:19-cv-22055         DRISCOLL FIRM, P.C.
GRANGER-WRIGHT, DEBRA        NJ - USDC for the District of New Jersey   3:19-cv-22058         DRISCOLL FIRM, P.C.
GRAVES, ELISA                NJ - USDC for the District of New Jersey   3:19-cv-17526         DRISCOLL FIRM, P.C.
GRAY, BRIDGET                NJ - USDC for the District of New Jersey   3:19-cv-22048         DRISCOLL FIRM, P.C.
GRAY, SHERRY                 NJ - USDC for the District of New Jersey   3:21-cv-01831         DRISCOLL FIRM, P.C.
GREEN, JENNIFER              NJ - USDC for the District of New Jersey   3:20-cv-06426         DRISCOLL FIRM, P.C.
GREENLAW, TECUMSEH           IL - Circuit Court - Cook County           2019L005794           DRISCOLL FIRM, P.C.
GREENWOOD, GOFFAN            NJ - USDC for the District of New Jersey   3:21-cv-01801         DRISCOLL FIRM, P.C.
GRIFFIN, TRACEY              NJ - USDC for the District of New Jersey   3:19-cv-22046         DRISCOLL FIRM, P.C.
GRIMM, PATSY                 NJ - USDC for the District of New Jersey   3:20-cv-17033         DRISCOLL FIRM, P.C.
GUNTER, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-18240         DRISCOLL FIRM, P.C.
HABEKOTT, KATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-07628         DRISCOLL FIRM, P.C.
HALL, JOSEPHINE              NJ - USDC for the District of New Jersey   3:20-cv-07617         DRISCOLL FIRM, P.C.
HALLOWELL, LEIGH             NJ - USDC for the District of New Jersey   3:19-cv-14222         DRISCOLL FIRM, P.C.
HALVORSON, JUNE              NJ - USDC for the District of New Jersey   3:20-cv-20521         DRISCOLL FIRM, P.C.
HAMILTON, MAUREEN            NJ - USDC for the District of New Jersey   3:21-cv-07549         DRISCOLL FIRM, P.C.
HARRIS, CHANDRA              NJ - USDC for the District of New Jersey   3:20-cv-20429         DRISCOLL FIRM, P.C.
HARRIS, SANDRA               NJ - USDC for the District of New Jersey   3:20-cv-06535         DRISCOLL FIRM, P.C.
HARRIS, TAYLOR               NJ - USDC for the District of New Jersey   3:20-cv-20520         DRISCOLL FIRM, P.C.
HART, SHERRY                 NJ - USDC for the District of New Jersey   3:20-cv-15952         DRISCOLL FIRM, P.C.
HAUSE, NANCY                 NJ - USDC for the District of New Jersey   3:20-cv-14194         DRISCOLL FIRM, P.C.
HAWKINS, ALMA                NJ - USDC for the District of New Jersey   3:20-cv-13204         DRISCOLL FIRM, P.C.
HENDERSON, NORMA             NJ - USDC for the District of New Jersey   3:19-cv-13264         DRISCOLL FIRM, P.C.
HENRY, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-22056         DRISCOLL FIRM, P.C.
HENRY, SARUXJIT              NJ - USDC for the District of New Jersey   3:19-cv-22057         DRISCOLL FIRM, P.C.
HENSON, DENISE               NJ - USDC for the District of New Jersey   3:21-cv-01173         DRISCOLL FIRM, P.C.
HETZER, ANNE                 NJ - USDC for the District of New Jersey   3:20-cv-13523         DRISCOLL FIRM, P.C.
HICKS, KAREN                 NJ - USDC for the District of New Jersey   3:20-cv-13636         DRISCOLL FIRM, P.C.
HIGGINS, GLINNA              NJ - USDC for the District of New Jersey   3:19-cv-19220         DRISCOLL FIRM, P.C.
HILBURN, JUDY                NJ - USDC for the District of New Jersey   3:19-cv-19221         DRISCOLL FIRM, P.C.
HINES, EARLITHA              NJ - USDC for the District of New Jersey   3:20-cv-06740         DRISCOLL FIRM, P.C.
HINRICHS, GAYLE              NJ - USDC for the District of New Jersey   3:20-cv-07611         DRISCOLL FIRM, P.C.
HOFFMAN, JANELL              NJ - USDC for the District of New Jersey   3:20-cv-20518         DRISCOLL FIRM, P.C.
HOGAN, FRANCES               NJ - USDC for the District of New Jersey   3:20-cv-14193         DRISCOLL FIRM, P.C.
HOLMES, BRANDY               NJ - USDC for the District of New Jersey   3:20-cv-14230         DRISCOLL FIRM, P.C.
HOOD, DONNA                  NJ - USDC for the District of New Jersey   3:19-cv-22158         DRISCOLL FIRM, P.C.
HOOD, SIDNEY                 NJ - USDC for the District of New Jersey   3:20-cv-08862         DRISCOLL FIRM, P.C.
HOTCHKISS, RITA              NJ - USDC for the District of New Jersey   3:20-cv-12930         DRISCOLL FIRM, P.C.




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          Claimant Name                        State Filed                    Docket Number                Plaintiff Counsel
HUNT, LYNETTE                NJ - USDC for the District of New Jersey   3:20-cv-20431         DRISCOLL FIRM, P.C.
HUNTER-DISPENNETT, REBECCA   NJ - USDC for the District of New Jersey   3:20-cv-12912         DRISCOLL FIRM, P.C.
HUNTLEY, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-05804         DRISCOLL FIRM, P.C.
HURLEY, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-09728         DRISCOLL FIRM, P.C.
IRWIN, TRUDY                 NJ - USDC for the District of New Jersey   3:20-cv-13690         DRISCOLL FIRM, P.C.
JACKSON, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-13538         DRISCOLL FIRM, P.C.
JENNIE MORRIS                NJ - USDC for the District of New Jersey   3:21-cv-18241         DRISCOLL FIRM, P.C.
JENSEN, CHERYL               NJ - USDC for the District of New Jersey   3:20-cv-06231         DRISCOLL FIRM, P.C.
JOHNSON, CARLA               NJ - USDC for the District of New Jersey   3:20-cv-13595         DRISCOLL FIRM, P.C.
JOHNSON, DIANA               NJ - USDC for the District of New Jersey   3:19-cv-22159         DRISCOLL FIRM, P.C.
JOHNSON, KELLIAN             NJ - USDC for the District of New Jersey   3:20-cv-16780         DRISCOLL FIRM, P.C.
JOHNSON, LILLIE              NJ - USDC for the District of New Jersey   3:20-cv-07615         DRISCOLL FIRM, P.C.
JOHNSON, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-07614         DRISCOLL FIRM, P.C.
JOHNSON, SUSAN               NJ - USDC for the District of New Jersey   3:19-cv-22077         DRISCOLL FIRM, P.C.
JONES, DENISE                NJ - USDC for the District of New Jersey   3:20-cv-06232         DRISCOLL FIRM, P.C.
JORGENSON, BONNIE            NJ - USDC for the District of New Jersey   3:20-cv-14231         DRISCOLL FIRM, P.C.
JOSEPH, DALE                 NJ - USDC for the District of New Jersey   3:21-cv-04574         DRISCOLL FIRM, P.C.
JOSHUA, SHANQUITA            NJ - USDC for the District of New Jersey   3:21-cv-01833         DRISCOLL FIRM, P.C.
JUAREZ, APRIL                NJ - USDC for the District of New Jersey   3:20-cv-06229         DRISCOLL FIRM, P.C.
KAEHLER, CYNTHIA             NJ - USDC for the District of New Jersey   3:19-cv-18622         DRISCOLL FIRM, P.C.
KEALAKAI, KAHEALANI          NJ - USDC for the District of New Jersey   3:20-cv-08132         DRISCOLL FIRM, P.C.
KELLAR, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-15287         DRISCOLL FIRM, P.C.
KELLEY, SANDRA               NJ - USDC for the District of New Jersey   3:19-cv-19265         DRISCOLL FIRM, P.C.
KLEIN, KATHLEEN              NJ - USDC for the District of New Jersey   3:20-cv-13686         DRISCOLL FIRM, P.C.
KLEIN, MICHELLE              NJ - USDC for the District of New Jersey   3:20-cv-01340         DRISCOLL FIRM, P.C.
KNIGHT, LAWANDA              NJ - USDC for the District of New Jersey   3:19-cv-22156         DRISCOLL FIRM, P.C.
KNIGHT, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-16005         DRISCOLL FIRM, P.C.
KNOWLES, MONIQUE             NJ - USDC for the District of New Jersey   3:20-cv-13632         DRISCOLL FIRM, P.C.
KOERBER, AMBER               NJ - USDC for the District of New Jersey   3:20-cv-15262         DRISCOLL FIRM, P.C.
KOON, PEGGY                  NJ - USDC for the District of New Jersey   3:19-cv-18625         DRISCOLL FIRM, P.C.
KROLIKOWSKI, CLAUDIA         NJ - USDC for the District of New Jersey   3:19-cv-18278         DRISCOLL FIRM, P.C.
KUMP, SHELLY                 NJ - USDC for the District of New Jersey   3:21-cv-12139         DRISCOLL FIRM, P.C.
KUPPINGER, MISTY             NJ - USDC for the District of New Jersey   3:19-cv-20753         DRISCOLL FIRM, P.C.
LABENS, MYRA                 NJ - USDC for the District of New Jersey   3:20-cv-12092         DRISCOLL FIRM, P.C.
LACEY, ELIZABETH             NJ - USDC for the District of New Jersey   3:20-cv-14221         DRISCOLL FIRM, P.C.
LANDIS, CORDIE               IL - Circuit Court - Cook County           2019L005810           DRISCOLL FIRM, P.C.
LANDMAN, CHERYL              NJ - USDC for the District of New Jersey   3:21-cv-12140         DRISCOLL FIRM, P.C.
LAX, CECELIA                 NJ - USDC for the District of New Jersey   3:19-cv-18557         DRISCOLL FIRM, P.C.
LEACH, JO ELLEN              NJ - USDC for the District of New Jersey   3:20-cv-12157         DRISCOLL FIRM, P.C.
LEDFORD, DOROTHY             NJ - USDC for the District of New Jersey   3:19-cv-19266         DRISCOLL FIRM, P.C.
LENNON, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-01803         DRISCOLL FIRM, P.C.
LEONARDI, RANDI              NJ - USDC for the District of New Jersey   3:19-cv-13133         DRISCOLL FIRM, P.C.
LESEBERG, LUCINDA            NJ - USDC for the District of New Jersey   3:20-cv-13675         DRISCOLL FIRM, P.C.
LEWIS, BRITTANY              NJ - USDC for the District of New Jersey   3:20-cv-20432         DRISCOLL FIRM, P.C.
LEWIS, JANETTE               NJ - USDC for the District of New Jersey   3:19-cv-18309         DRISCOLL FIRM, P.C.
LICH, MICHELLE               NJ - USDC for the District of New Jersey   3:21-cv-01198         DRISCOLL FIRM, P.C.
LILLY, ANITA                 NJ - USDC for the District of New Jersey   3:19-cv-22160         DRISCOLL FIRM, P.C.
LINDSAY, KATIE               NJ - USDC for the District of New Jersey   3:21-cv-10258         DRISCOLL FIRM, P.C.
LIPFORD, BEATRICE            NJ - USDC for the District of New Jersey   3:19-cv-22049         DRISCOLL FIRM, P.C.
LITTLE, GLORIA               NJ - USDC for the District of New Jersey   3:19-cv-22183         DRISCOLL FIRM, P.C.
LON, BARBARA                 NJ - USDC for the District of New Jersey   3:19-cv-18623         DRISCOLL FIRM, P.C.
LONIE, ALICIA                IL - Circuit Court - Cook County           2019L005819           DRISCOLL FIRM, P.C.
LOWRY, JESSIE                NJ - USDC for the District of New Jersey   3:19-cv-18634         DRISCOLL FIRM, P.C.
LUEDEKE, NADIA               NJ - USDC for the District of New Jersey   3:20-cv-15212         DRISCOLL FIRM, P.C.
LYLES, BRENDA                NJ - USDC for the District of New Jersey   3:20-cv-07608         DRISCOLL FIRM, P.C.
MABSON, LATAISHA             NJ - USDC for the District of New Jersey   3:21-cv-01835         DRISCOLL FIRM, P.C.
MACKERT, CYNTHIA             NJ - USDC for the District of New Jersey   3:19-cv-22067         DRISCOLL FIRM, P.C.
MAJKO, KALEY                 NJ - USDC for the District of New Jersey   3:20-cv-01341         DRISCOLL FIRM, P.C.
MARCHESE, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-20440         DRISCOLL FIRM, P.C.
MARLOW, AUDREY               NJ - USDC for the District of New Jersey   3:20-cv-06234         DRISCOLL FIRM, P.C.
MARTIN, DENISE               NJ - USDC for the District of New Jersey   3:20-cv-14265         DRISCOLL FIRM, P.C.
MARTIN, LESLIE               NJ - USDC for the District of New Jersey   3:19-cv-17521         DRISCOLL FIRM, P.C.
MARTIN, MARY                 NJ - USDC for the District of New Jersey   3:19-cv-22166         DRISCOLL FIRM, P.C.
MATTHEWS, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-13611         DRISCOLL FIRM, P.C.
MATTHEWS, OPHELIA            NJ - USDC for the District of New Jersey   3:19-cv-13140         DRISCOLL FIRM, P.C.
MCARTHUR, SYMPHONI           NJ - USDC for the District of New Jersey   3:20-cv-13514         DRISCOLL FIRM, P.C.
MCCARIUS, DANA               NJ - USDC for the District of New Jersey   3:20-cv-14210         DRISCOLL FIRM, P.C.
MCCOY, ANNE-MARIE            NJ - USDC for the District of New Jersey   3:21-cv-08900         DRISCOLL FIRM, P.C.
MCCUNE, ANITA                NJ - USDC for the District of New Jersey   3:20-cv-09730         DRISCOLL FIRM, P.C.
MCDONALD, ROBIN              NJ - USDC for the District of New Jersey   3:20-cv-12164         DRISCOLL FIRM, P.C.
MCFARLAND, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-15931         DRISCOLL FIRM, P.C.
MCGUIRE, CHARLOTTE           NJ - USDC for the District of New Jersey   3:20-cv-12935         DRISCOLL FIRM, P.C.
MCKENZIE, QMETEE             NJ - USDC for the District of New Jersey   3:19-cv-22074         DRISCOLL FIRM, P.C.
MCNEEL, BARBARA              NJ - USDC for the District of New Jersey   3:19-cv-22053         DRISCOLL FIRM, P.C.
MCPHERSON, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-22155         DRISCOLL FIRM, P.C.
MEADOWS, JUDY                NJ - USDC for the District of New Jersey   3:20-cv-06233         DRISCOLL FIRM, P.C.
MELTON, SLOANE               NJ - USDC for the District of New Jersey   3:21-cv-01213         DRISCOLL FIRM, P.C.
MILLING, SHANNON             NJ - USDC for the District of New Jersey   3:20-cv-12155         DRISCOLL FIRM, P.C.
MONTEZ, EVA                  NJ - USDC for the District of New Jersey   3:20-cv-13689         DRISCOLL FIRM, P.C.
MONTOYA, MARIA               NJ - USDC for the District of New Jersey   3:19-cv-19267         DRISCOLL FIRM, P.C.




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           Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
MOORE, KATY                NJ - USDC for the District of New Jersey   3:20-cv-12165         DRISCOLL FIRM, P.C.
MORALES, ALMA              NJ - USDC for the District of New Jersey   3:20-cv-12909         DRISCOLL FIRM, P.C.
MORRIS, ROXANE             NJ - USDC for the District of New Jersey   3:20-cv-13598         DRISCOLL FIRM, P.C.
MURRAY-BAUGH, LISA         NJ - USDC for the District of New Jersey   3:20-cv-13671         DRISCOLL FIRM, P.C.
MYRICK, RHONDA             NJ - USDC for the District of New Jersey   3:20-cv-06541         DRISCOLL FIRM, P.C.
NANCE, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-13419         DRISCOLL FIRM, P.C.
NARANJO, EVANGELY          NJ - USDC for the District of New Jersey   3:20-cv-01342         DRISCOLL FIRM, P.C.
NICHOLS, LASONIA           NJ - USDC for the District of New Jersey   3:20-cv-20447         DRISCOLL FIRM, P.C.
NOEL, ELIZABETH            NJ - USDC for the District of New Jersey   3:19-cv-18562         DRISCOLL FIRM, P.C.
NWABA, UCHECHI             NJ - USDC for the District of New Jersey   3:21-cv-01214         DRISCOLL FIRM, P.C.
OCANAS, MARIBEL            NJ - USDC for the District of New Jersey   3:21-cv-10259         DRISCOLL FIRM, P.C.
OLDHAM, KIM                NJ - USDC for the District of New Jersey   3:20-cv-13535         DRISCOLL FIRM, P.C.
ONEILL, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-22070         DRISCOLL FIRM, P.C.
OWENS, CHAVALLA            NJ - USDC for the District of New Jersey   3:21-cv-04724         DRISCOLL FIRM, P.C.
OXENDINE, ELAINE           NJ - USDC for the District of New Jersey   3:20-cv-06543         DRISCOLL FIRM, P.C.
PACE, INEZ                 NJ - USDC for the District of New Jersey   3:19-cv-18310         DRISCOLL FIRM, P.C.
PAGAN, HOPE                NJ - USDC for the District of New Jersey   3:21-cv-05446         DRISCOLL FIRM, P.C.
PARNELL, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-10260         DRISCOLL FIRM, P.C.
PATTERSON, SONYA           NJ - USDC for the District of New Jersey   3:20-cv-14207         DRISCOLL FIRM, P.C.
PEACE, MAGGIE              NJ - USDC for the District of New Jersey   3:20-cv-06412         DRISCOLL FIRM, P.C.
PEACE, TAMMY               NJ - USDC for the District of New Jersey   3:20-cv-06542         DRISCOLL FIRM, P.C.
PELTON, MYRNA              NJ - USDC for the District of New Jersey   3:19-cv-18620         DRISCOLL FIRM, P.C.
PEREYRA, PAULINE           NJ - USDC for the District of New Jersey   3:20-cv-13687         DRISCOLL FIRM, P.C.
PETERSON, DARLENE          NJ - USDC for the District of New Jersey   3:19-cv-18560         DRISCOLL FIRM, P.C.
PHILLIPS, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-12674         DRISCOLL FIRM, P.C.
PHILLIPS, LORINE           NJ - USDC for the District of New Jersey   3:21-cv-04740         DRISCOLL FIRM, P.C.
PIKULA, TERI               NJ - USDC for the District of New Jersey   3:20-cv-13522         DRISCOLL FIRM, P.C.
PITTMAN, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-02104         DRISCOLL FIRM, P.C.
PITTS, KYNESHA             NJ - USDC for the District of New Jersey   3:20-cv-13591         DRISCOLL FIRM, P.C.
PLAKAS, GINA               NJ - USDC for the District of New Jersey   3:21-cv-01836         DRISCOLL FIRM, P.C.
PONCHART, JODY             NJ - USDC for the District of New Jersey   3:20-cv-14269         DRISCOLL FIRM, P.C.
PORTER, LILLIE             NJ - USDC for the District of New Jersey   3:19-cv-22059         DRISCOLL FIRM, P.C.
POTTS, SARAH               NJ - USDC for the District of New Jersey   3:19-cv-12670         DRISCOLL FIRM, P.C.
POWELL, JOANNE             NJ - USDC for the District of New Jersey   3:20-cv-06424         DRISCOLL FIRM, P.C.
PREVITI, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-15976         DRISCOLL FIRM, P.C.
RAMIREZ, MAGALY            NJ - USDC for the District of New Jersey   3:20-cv-12938         DRISCOLL FIRM, P.C.
RAY, CRYSTAL               NJ - USDC for the District of New Jersey   3:20-cv-13672         DRISCOLL FIRM, P.C.
REED, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-18624         DRISCOLL FIRM, P.C.
RHOADS, TAMARA             NJ - USDC for the District of New Jersey   3:19-cv-22061         DRISCOLL FIRM, P.C.
RICHARDSON, KAYLE          NJ - USDC for the District of New Jersey   3:20-cv-14237         DRISCOLL FIRM, P.C.
RIDEOUT, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-09732         DRISCOLL FIRM, P.C.
RIGGIN, VERONICA           NJ - USDC for the District of New Jersey   3:20-cv-08972         DRISCOLL FIRM, P.C.
RILEY, DENISE              NJ - USDC for the District of New Jersey   3:20-cv-13517         DRISCOLL FIRM, P.C.
RIPLEY, JULIA              NJ - USDC for the District of New Jersey   3:20-cv-13638         DRISCOLL FIRM, P.C.
RODRIGUEZ, BRANDY          NJ - USDC for the District of New Jersey   3:20-cv-14281         DRISCOLL FIRM, P.C.
RONDON, RHONDA             NJ - USDC for the District of New Jersey   3:20-cv-20516         DRISCOLL FIRM, P.C.
ROSELLO, DARBY             NJ - USDC for the District of New Jersey   3:20-cv-13532         DRISCOLL FIRM, P.C.
ROY, DEBRA                 NJ - USDC for the District of New Jersey   3:19-cv-22161         DRISCOLL FIRM, P.C.
RUSSO, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-22065         DRISCOLL FIRM, P.C.
SALIMA, FAAIUGA            NJ - USDC for the District of New Jersey   3:20-cv-06415         DRISCOLL FIRM, P.C.
SANDOVAL, KATHIE           NJ - USDC for the District of New Jersey   3:20-cv-15215         DRISCOLL FIRM, P.C.
SANTEE, VALDA              NJ - USDC for the District of New Jersey   3:20-cv-14267         DRISCOLL FIRM, P.C.
SCHAEFER, KRISTIN          NJ - USDC for the District of New Jersey   3:19-cv-18311         DRISCOLL FIRM, P.C.
SCHOONMAKER, DORIS         NJ - USDC for the District of New Jersey   3:20-cv-15938         DRISCOLL FIRM, P.C.
SCRIBNER, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-05439         DRISCOLL FIRM, P.C.
SCURRY, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-17048         DRISCOLL FIRM, P.C.
SEARS, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-14216         DRISCOLL FIRM, P.C.
SEIBLES, BRITTAINY         NJ - USDC for the District of New Jersey   3:20-cv-06247         DRISCOLL FIRM, P.C.
SHELL, OLA                 NJ - USDC for the District of New Jersey   3:21-cv-01838         DRISCOLL FIRM, P.C.
SHELTON, LYNETTE           NJ - USDC for the District of New Jersey   3:20-cv-09729         DRISCOLL FIRM, P.C.
SHERMAN, AMY               NJ - USDC for the District of New Jersey   3:20-cv-12900         DRISCOLL FIRM, P.C.
SHUFORD, MASHELL           NJ - USDC for the District of New Jersey   3:20-cv-07616         DRISCOLL FIRM, P.C.
SIMMONS, TERICA            NJ - USDC for the District of New Jersey   3:20-cv-15220         DRISCOLL FIRM, P.C.
SIMON, DANIELLE            NJ - USDC for the District of New Jersey   3:19-cv-22047         DRISCOLL FIRM, P.C.
SINISCAL, MADELENE         NJ - USDC for the District of New Jersey   3:19-cv-12669         DRISCOLL FIRM, P.C.
SMITH, AMY                 NJ - USDC for the District of New Jersey   3:20-cv-12915         DRISCOLL FIRM, P.C.
SMITH, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-07622         DRISCOLL FIRM, P.C.
SMITH-COOPER, JOANN        NJ - USDC for the District of New Jersey   3:19-cv-18215         DRISCOLL FIRM, P.C.
SOLANO, ADELA              NJ - USDC for the District of New Jersey   3:19-cv-18219         DRISCOLL FIRM, P.C.
STARR, JILL                NJ - USDC for the District of New Jersey   3:20-cv-12096         DRISCOLL FIRM, P.C.
STEPHENSON, KAREN          NJ - USDC for the District of New Jersey   3:21-cv-01215         DRISCOLL FIRM, P.C.
STEWART, YOLANDA           NJ - USDC for the District of New Jersey   3:20-cv-06167         DRISCOLL FIRM, P.C.
STOVALL, KYRA              NJ - USDC for the District of New Jersey   3:20-cv-14273         DRISCOLL FIRM, P.C.
STOVER-POLK, KAROL         NJ - USDC for the District of New Jersey   3:20-cv-20514         DRISCOLL FIRM, P.C.
STRATTON, STEPHANIE        NJ - USDC for the District of New Jersey   3:21-cv-15784         DRISCOLL FIRM, P.C.
STRELEC, CRYSTAL           NJ - USDC for the District of New Jersey   3:21-cv-05480         DRISCOLL FIRM, P.C.
STRICKLAND, PAMELA         NJ - USDC for the District of New Jersey   3:19-cv-12671         DRISCOLL FIRM, P.C.
STUCKEY, NIHIVAH           NJ - USDC for the District of New Jersey   3:19-cv-17523         DRISCOLL FIRM, P.C.
SULLIVAN, TEANICKE         NJ - USDC for the District of New Jersey   3:20-cv-13528         DRISCOLL FIRM, P.C.
SWANSON, ELIZABETH         IL - Circuit Court - Cook County           2019-L-5824           DRISCOLL FIRM, P.C.




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          Claimant Name                     State Filed                       Docket Number                Plaintiff Counsel
TAYLOR, OLLIE               NJ - USDC for the District of New Jersey    3:19-cv-18614         DRISCOLL FIRM, P.C.
TERRA, LEIGH                NJ - USDC for the District of New Jersey    3:20-cv-13692         DRISCOLL FIRM, P.C.
THOMPSON, JACQUELINE        NJ - USDC for the District of New Jersey    3:20-cv-14260         DRISCOLL FIRM, P.C.
TIMMONS, ELIZABETH          NJ - USDC for the District of New Jersey    3:20-cv-06540         DRISCOLL FIRM, P.C.
TOBIN, GERALDINE            NJ - USDC for the District of New Jersey    3:21-cv-12712         DRISCOLL FIRM, P.C.
TONEY, HEATHER              NJ - USDC for the District of New Jersey    3:20-cv-01343         DRISCOLL FIRM, P.C.
TURNER, ETHEL               NJ - USDC for the District of New Jersey    3:21-cv-04714         DRISCOLL FIRM, P.C.
TYLER, KOURY                NJ - USDC for the District of New Jersey    3:21-cv-10261         DRISCOLL FIRM, P.C.
VACA, DEBRA                 NJ - USDC for the District of New Jersey    3:20-cv-13585         DRISCOLL FIRM, P.C.
VANWAARDHUIZEN, CHRISTINA   NJ - USDC for the District of New Jersey    3:20-cv-13605         DRISCOLL FIRM, P.C.
VASQUEZ, NORMA              NJ - USDC for the District of New Jersey    3:20-cv-12457         DRISCOLL FIRM, P.C.
VOGELSONG, DEANNA           NJ - USDC for the District of New Jersey    3:19-cv-22050         DRISCOLL FIRM, P.C.
WALLER, PAULETTE            NJ - USDC for the District of New Jersey    3:19-cv-18212         DRISCOLL FIRM, P.C.
WARREN, EDNA                NJ - USDC for the District of New Jersey    3:20-cv-13519         DRISCOLL FIRM, P.C.
WATSON, MELISA              NJ - USDC for the District of New Jersey    3:20-cv-14259         DRISCOLL FIRM, P.C.
WEAVER, ESSIE               NJ - USDC for the District of New Jersey    3:19-cv-18618         DRISCOLL FIRM, P.C.
WEYH, LISA                  NJ - USDC for the District of New Jersey    3:19-cv-18630         DRISCOLL FIRM, P.C.
WHITAKER, CAROLYN           NJ - USDC for the District of New Jersey    3:20-cv-14212         DRISCOLL FIRM, P.C.
WILHOITE, LEIGH             NJ - USDC for the District of New Jersey    3:20-cv-01344         DRISCOLL FIRM, P.C.
WILLIAMS, GENIVA            NJ - USDC for the District of New Jersey    3:20-cv-13529         DRISCOLL FIRM, P.C.
WILLIAMS, MARY              NJ - USDC for the District of New Jersey    3:20-cv-14199         DRISCOLL FIRM, P.C.
WILLIAMS, PAMELA            NJ - USDC for the District of New Jersey    3:19-cv-22054         DRISCOLL FIRM, P.C.
WILLIAMS, SHERITA           NJ - USDC for the District of New Jersey    3:19-cv-22179         DRISCOLL FIRM, P.C.
WILLIAMS, VALERIE           NJ - USDC for the District of New Jersey    3:21-cv-04738         DRISCOLL FIRM, P.C.
WILLIAMS, WILMA             NJ - USDC for the District of New Jersey    3:20-cv-13694         DRISCOLL FIRM, P.C.
WILLINSKY, RHIANNA          NJ - USDC for the District of New Jersey    3:20-cv-13536         DRISCOLL FIRM, P.C.
WINDSOR, CAROL              NJ - USDC for the District of New Jersey    3:20-cv-15244         DRISCOLL FIRM, P.C.
WOOD, KATHRYN               NJ - USDC for the District of New Jersey    3:20-cv-07626         DRISCOLL FIRM, P.C.
WOODRAD, ROSALYN            NJ - USDC for the District of New Jersey    3:21-cv-02576         DRISCOLL FIRM, P.C.
WOSENU, ASTER               NJ - USDC for the District of New Jersey    3:19-cv-17527         DRISCOLL FIRM, P.C.
WRIGHT, CYNTHIA             NJ - USDC for the District of New Jersey    3:21-cv-05811         DRISCOLL FIRM, P.C.
WYATT, ROBIN                NJ - USDC for the District of New Jersey    3:19-cv-22175         DRISCOLL FIRM, P.C.
YAKUBOVA, SVETLANA          NJ - USDC for the District of New Jersey    3:20-cv-20511         DRISCOLL FIRM, P.C.
YEAGER, KELLI               NJ - USDC for the District of New Jersey    3:20-cv-09731         DRISCOLL FIRM, P.C.
YUHAS, ANNA                 NJ - USDC for the District of New Jersey    3:20-cv-01345         DRISCOLL FIRM, P.C.
MALOTT, LAUREN              NJ - USDC for the District of New Jersey    3:19-cv-11756         DUERRING LAW OFFICES
BANKER, DEREK               MA - Superior Court - Middlesex County      21-0589               DUFFY LAW LLC
BROUGHTON, DEBORAH          NJ - USDC for the District of New Jersey    3:17-cv-01121         DUGAN LAW FIRM, PLC
BUBACZ, CARLA               NJ - USDC for the District of New Jersey    3:19-cv-14320         DUGAN LAW FIRM, PLC
BURGESS, NANCY              NJ - USDC for the District of New Jersey    3:17-cv-01125         DUGAN LAW FIRM, PLC
BURKEY, DARLINE             NJ - USDC for the District of New Jersey    3:17-cv-08086         DUGAN LAW FIRM, PLC
DAVIS, PATRICIA             NJ - USDC for the District of New Jersey    3:17-cv-08095         DUGAN LAW FIRM, PLC
DAVISTON, VICKI             NJ - USDC for the District of New Jersey    3:17-cv-01131         DUGAN LAW FIRM, PLC
DELAROSA, TERESA            NJ - USDC for the District of New Jersey    3:17-cv-08097         DUGAN LAW FIRM, PLC
FRANKLIN, TERESA            NJ - USDC for the District of New Jersey    3:17-cv-01135         DUGAN LAW FIRM, PLC
HAYNES, CHERYL              NJ - USDC for the District of New Jersey    3:17-cv-08085         DUGAN LAW FIRM, PLC
HUNTER, JOANN               LA - District Court - East Baton Rouge Parish C-68532024          DUGAN LAW FIRM, PLC
LEONARD, LOUVINIA           NJ - USDC for the District of New Jersey    3:20-cv-02832         DUGAN LAW FIRM, PLC
LIVELY, ANNA                NJ - USDC for the District of New Jersey    3:17-cv-08093         DUGAN LAW FIRM, PLC
MARSHALL, LINDA             NJ - USDC for the District of New Jersey    3:17-cv-07271         DUGAN LAW FIRM, PLC
MCBRAYER, DEBRA             NJ - USDC for the District of New Jersey    3:17-cv-08087         DUGAN LAW FIRM, PLC
MERKURIS, SANDY             NJ - USDC for the District of New Jersey    3:17-cv-08088         DUGAN LAW FIRM, PLC
MILANO, SAFFRA              NJ - USDC for the District of New Jersey    3:17-cv-08089         DUGAN LAW FIRM, PLC
NEWTON, BARBARA             NJ - USDC for the District of New Jersey    3:17-cv-07409         DUGAN LAW FIRM, PLC
RAINDORF, MARCY             NJ - USDC for the District of New Jersey    3:17-cv-07416         DUGAN LAW FIRM, PLC
SNEAD, VANESSA              NJ - USDC for the District of New Jersey    3:17-cv-07461         DUGAN LAW FIRM, PLC
STRUKEL, CHRISTY            NJ - USDC for the District of New Jersey    3:17-cv-07463         DUGAN LAW FIRM, PLC
SULLIVAN, TEANICKE          NJ - USDC for the District of New Jersey    3:17-cv-08092         DUGAN LAW FIRM, PLC
HERRINGTON, CARRIE          NJ - USDC for the District of New Jersey    3:17-cv-02386         DWYER WILLIAMS POTTER
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
BAGWELL, JANET              NJ - USDC for the District of New Jersey    3:18-cv-14988
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
BARTOLETTI, CAROL           NJ - USDC for the District of New Jersey    3:18-cv-15427
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
BLAKE, KRYSTA               NJ - USDC for the District of New Jersey    3:18-cv-13185
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
BLANTON, SHARON             NJ - USDC for the District of New Jersey    3:18-cv-13690
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
BUTLER, TONYA               NJ - USDC for the District of New Jersey    3:18-cv-13205
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
COLLINS, VALERIE            NJ - USDC for the District of New Jersey    3:18-cv-13688
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
COX, LYNETTE                NJ - USDC for the District of New Jersey    3:18-cv-13694
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
DASHER, CARRIE              NJ - USDC for the District of New Jersey    3:18-cv-13216
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
HAMMOND, SHELLY             NJ - USDC for the District of New Jersey    3:18-cv-13210
                                                                                              WOLF & WOOTEN, PLLC
                                                                                              EDLUND, GALLAGHER, HASLAM, MCCALL,
HARE, KRISTIE               NJ - USDC for the District of New Jersey    3:18-cv-13196
                                                                                              WOLF & WOOTEN, PLLC




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           Claimant Name                      State Filed                    Docket Number                Plaintiff Counsel
                                                                                             EDLUND, GALLAGHER, HASLAM, MCCALL,
HROUDA, LESLI                NJ - USDC for the District of New Jersey   3:18-cv-13692
                                                                                             WOLF & WOOTEN, PLLC
                                                                                             EDLUND, GALLAGHER, HASLAM, MCCALL,
NATIONS, CARRIE              NJ - USDC for the District of New Jersey   3:18-cv-15409
                                                                                             WOLF & WOOTEN, PLLC
                                                                                             EDLUND, GALLAGHER, HASLAM, MCCALL,
NELSON, NANCY                NJ - USDC for the District of New Jersey   3:18-cv-13193
                                                                                             WOLF & WOOTEN, PLLC
                                                                                             EDLUND, GALLAGHER, HASLAM, MCCALL,
RASH, MARJORIE               NJ - USDC for the District of New Jersey   3:18-cv-13679
                                                                                             WOLF & WOOTEN, PLLC
                                                                                             EDLUND, GALLAGHER, HASLAM, MCCALL,
STARNES-MAXWELL, KATHLEEN    NJ - USDC for the District of New Jersey   3:17-cv-08321
                                                                                             WOLF & WOOTEN, PLLC
                                                                                             EDLUND, GALLAGHER, HASLAM, MCCALL,
TURNER, MARIAN               NJ - USDC for the District of New Jersey   3:18-cv-13191
                                                                                             WOLF & WOOTEN, PLLC
LAM, LAN                     NJ - USDC for the District of New Jersey   3:21-cv-16685        EDWARD F. LUBY, LLC
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
ALLEN, JAMIE                 NJ - USDC for the District of New Jersey   3:21-cv-03555
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
ALVAREZ-CEPEDA, MARIA        NJ - Superior Court - Atlantic County      ATL-L-001993-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
BESKE, JESSICA               NJ - Superior Court - Atlantic County      ATL-L-001029-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
BURDA, CYNTHIA               NJ - Superior Court - Atlantic County      ATL-L-002444-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
CLINE, LAURIE                NJ - Superior Court - Atlantic County      ATL-L-002968-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
CONNIE METROVKA              NJ - Superior Court - Atlantic County      ATL-L-003239-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
COTTEN, MONIQUE              NJ - Superior Court - Atlantic County      ATL-L-002447-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
CRISO, IRENE                 NJ - USDC for the District of New Jersey   3:18-cv-00533
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
DALVERY, ESTHER              NJ - Superior Court - Atlantic County      ATL-L-002443-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
DICKERSON, LISA              NJ - Superior Court - Atlantic County      ATL-L-003144-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
ELLIS, ARBUTUS               NJ - USDC for the District of New Jersey   3:18-cv-14534
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
FRAZIER, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-01448
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
GONZALEZ, CARMEN             NJ - Superior Court - Atlantic County      ATL-L-002442-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
GREEN, ASHLEY                NJ - Superior Court - Atlantic County      ATL-L-001395-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
GUTIERREZ, ANGELA            NJ - Superior Court - Atlantic County      ATL-L-003172-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
HAGER, MARY                  NJ - Superior Court - Atlantic County      ATL-L-001994-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
HILL, DEBORAH                NJ - Superior Court - Atlantic County      ATL-L-003171-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
IRIZARRY, SONIA              NJ - Superior Court - Atlantic County      ATL-L-002964-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
JOHNSON, ASHLEY              NJ - Superior Court - Atlantic County      ATL-L-002960-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
KITCHEN, JOANNE              NJ - USDC for the District of New Jersey   3:21-cv-01425
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
LADD, SHELLY                 NJ - Superior Court - Atlantic County      ATL-L-002325-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
MANTOLINO, CORAZON           NJ - Superior Court - Atlantic County      ATL-L-001394-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
MASSICOT, KRISTIN            NJ - Superior Court - Atlantic County      ATL-L-003158-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
MELINDA BOHLMAN              NJ - Superior Court - Atlantic County      ATL-L-003237-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
MIZELL, CARLENE              NJ - USDC for the District of New Jersey   3:17-cv-13552
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
MOORE, AMIE                  NJ - USDC for the District of New Jersey   3:18-cv-17066
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
MULLINS, MONICA              NJ - USDC for the District of New Jersey   3:21-cv-04477
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
NATERA, ERICA                NJ - USDC for the District of New Jersey   3:17-cv-13546
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
NOBLE, JEAN                  NJ - USDC for the District of New Jersey   3:18-cv-17223
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
OLEARY, NANCY                NJ - Superior Court - Atlantic County      ATL-L-003189-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
PIERCE-FITZGERALD, RENETTA   NJ - Superior Court - Atlantic County      ATL-L-003204-21
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
ROWLAND, JOYCE               NJ - USDC for the District of New Jersey   3:17-cv-03276
                                                                                             LLP
                                                                                             EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
SCHNEIDER, MICHELLE          NJ - Superior Court - Atlantic County      ATL-L-003190-21
                                                                                             LLP




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          Claimant Name                    State Filed                    Docket Number                Plaintiff Counsel
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
SHANAHAN, NICOLE          NJ - Superior Court - Atlantic County      ATL-L-002961-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
SPAHN, CYNTHIA            NJ - Superior Court - Atlantic County      ATL-L-002965-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
STEWART, PEARL            NJ - Superior Court - Atlantic County      ATL-L-003202-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
STUESSEL, SAMANTHA        NJ - Superior Court - Atlantic County      ATL-L-002441-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
STUTSON, REBECCA          NJ - USDC for the District of New Jersey   3:19-cv-17546
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
SUSANNA MAGNUSON          NJ - Superior Court - Atlantic County      ATL-L-003238-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
SWIACKE, MARIA            NJ - Superior Court - Atlantic County      ATL-L-003203-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
TOFTNESS, ELLA            NJ - Superior Court - Atlantic County      ATL-L-003159-21
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
TUCK, LUCILLE             NJ - USDC for the District of New Jersey   3:17-cv-09339
                                                                                          LLP
                                                                                          EICHEN, CRUTCHLOW, ZASLOW & MCELROY,
ZEMPEL, BETTY             NJ - Superior Court - Atlantic County      ATL-L-003145-21
                                                                                          LLP
                          PA - Philadelphia County Court of Common
CALLAHAN, THERESA                                                    180801273            EISENBERG GILCHRIST & CUTT
                          Pleas
                          PA - Philadelphia County Court of Common
CHRISTOPHER, KAREN                                                   180404579            EISENBERG GILCHRIST & CUTT
                          Pleas
HALY, PATRICIA            NJ - USDC for the District of New Jersey   3:19-cv-08856        EISENBERG GILCHRIST & CUTT
MERVINE, BONNIE           NJ - USDC for the District of New Jersey   3:19-cv-08844        EISENBERG GILCHRIST & CUTT
NORRIS, LISA              NJ - USDC for the District of New Jersey   3:19-cv-08854        EISENBERG GILCHRIST & CUTT
OHARA, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-08849        EISENBERG GILCHRIST & CUTT
WADE, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-08859        EISENBERG GILCHRIST & CUTT
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
CASAR, SARAH                                                         200600044
                          Pleas                                                           EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
CIPRIANI, GAIL                                                       190903904
                          Pleas                                                           EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
EMERSON, GAYLE                                                       009334
                          Pleas                                                           EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
FERRANTE, JOANNA                                                     200102188
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
FOX, LESLIE               NJ - USDC for the District of New Jersey   3:20-cv-14109
                                                                                          EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
GRAN, SUSAN               NJ - USDC for the District of New Jersey   3:19-cv-16998
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
GUTHRIE, BETTY                                                       181100269
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
HARRON, TAMARA            NJ - USDC for the District of New Jersey   3:19-cv-12458
                                                                                          EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
HARTUNG, BOBBI            NJ - USDC for the District of New Jersey   3:20-cv-19280
                                                                                          EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
HITTINGER, LEE            NJ - USDC for the District of New Jersey   3:20-cv-03243
                                                                                          EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
JONES, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-13031
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
KITTRELL, BETTY                                                      200602117
                          Pleas                                                           EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
KLEINER, ELLEN                                                       170102505
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
LANOY, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-03242
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
LAURENT, STEFANIE                                                    200500389
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
LONG, LISA                NJ - USDC for the District of New Jersey   3:19-cv-21374
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
MCGOVERN, SHEILA                                                     210701318
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
RAWNSLEY, ANNE            NJ - USDC for the District of New Jersey   3:18-cv-10997
                                                                                          EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
REALE, BONNIE             NJ - USDC for the District of New Jersey   3:19-cv-05867
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
ROBERTSON, DOLORES                                                   003493
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
SHORE, BERNICE            NJ - USDC for the District of New Jersey   3:18-cv-12875
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
SPOTTS, JEAN                                                         210101314
                          Pleas                                                           EISENBERG & JECK, P.C.
                                                                                          EISENBERG, ROTHWEILER, WINKLER
WERTHEIMER, BARBARA       NJ - USDC for the District of New Jersey   3:20-cv-13028
                                                                                          EISENBERG & JECK, P.C.
                          PA - Philadelphia County Court of Common                        EISENBERG, ROTHWEILER, WINKLER
WILSON, TANYEONH                                                     190404489
                          Pleas                                                           EISENBERG & JECK, P.C.
VIERRA, MARY              NJ - USDC for the District of New Jersey   3:17-cv-05762        ELY LAW, LLC
MCCORMICK, JAMES          AZ - Superior Court - Maricopa County      CV2021-000747        ELY, BETTINI, ULMAN, ROSENBLATT & OZER




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
AYERS, DOLLIE              NJ - USDC for the District of New Jersey   3:17-cv-00154         ENVIRONMENTAL LITIGATION GROUP, PC
BUNT, IMO LOIS             NJ - USDC for the District of New Jersey   3:17-cv-06329         ENVIRONMENTAL LITIGATION GROUP, PC
BURNS, TRACI               NJ - USDC for the District of New Jersey   3:17-cv-06344         ENVIRONMENTAL LITIGATION GROUP, PC
CHANDLER, ANNE             NJ - USDC for the District of New Jersey   3:17-cv-06280         ENVIRONMENTAL LITIGATION GROUP, PC
CROOK, JEWEL               NJ - USDC for the District of New Jersey   3:18-cv-00876         ENVIRONMENTAL LITIGATION GROUP, PC
GARNER, DARLENE            NJ - USDC for the District of New Jersey   3:17-cv-06289         ENVIRONMENTAL LITIGATION GROUP, PC
GOLLIDAY, MARCHELLE        NJ - USDC for the District of New Jersey   3:17-cv-06312         ENVIRONMENTAL LITIGATION GROUP, PC
HOLLEY, EULA               NJ - USDC for the District of New Jersey   3:17-cv-06297         ENVIRONMENTAL LITIGATION GROUP, PC
JENKINS, DELLA             NJ - USDC for the District of New Jersey   3:17-cv-08801         ENVIRONMENTAL LITIGATION GROUP, PC
KINNAIRD, LYNDA            NJ - USDC for the District of New Jersey   3:17-cv-06307         ENVIRONMENTAL LITIGATION GROUP, PC
KITTLE, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-06324         ENVIRONMENTAL LITIGATION GROUP, PC
NALLS, CLARISSA            NJ - USDC for the District of New Jersey   3:18-cv-10471         ENVIRONMENTAL LITIGATION GROUP, PC
PARKER, MADELINE           NJ - USDC for the District of New Jersey   3:17-cv-06308         ENVIRONMENTAL LITIGATION GROUP, PC
POWELL, WILMA              NJ - USDC for the District of New Jersey   3:17-cv-06345         ENVIRONMENTAL LITIGATION GROUP, PC
REVIS, ANITA               NJ - USDC for the District of New Jersey   3:17-cv-08454         ENVIRONMENTAL LITIGATION GROUP, PC
MUNNS, MARIZELA            NJ - USDC for the District of New Jersey   3:17-cv-11116         FAY LAW GROUP PLLC
ABDIANNIA, NOZHEH          NJ - USDC for the District of New Jersey   3:20-cv-18889         FEARS NACHAWATI LAW FIRM
ABEL, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-10893         FEARS NACHAWATI LAW FIRM
ABRAMSON, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-10663         FEARS NACHAWATI LAW FIRM
ACEVEDO, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-19363         FEARS NACHAWATI LAW FIRM
ACKERMAN, GWYNN            NJ - USDC for the District of New Jersey   3:20-cv-11469         FEARS NACHAWATI LAW FIRM
ACOSTA, OLIVIA             NJ - USDC for the District of New Jersey   3:20-cv-18897         FEARS NACHAWATI LAW FIRM
ACQUAAHHARRISON, TAWANNA   NJ - USDC for the District of New Jersey   3:20-cv-16287         FEARS NACHAWATI LAW FIRM
ADAME, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-16306         FEARS NACHAWATI LAW FIRM
ADAMOYURKA, DENISE         NJ - USDC for the District of New Jersey   3:20-cv-15661         FEARS NACHAWATI LAW FIRM
ADAMS, ALICE               NJ - USDC for the District of New Jersey   3:20-cv-10659         FEARS NACHAWATI LAW FIRM
ADAMS, BRIDGET             NJ - USDC for the District of New Jersey   3:20-cv-16321         FEARS NACHAWATI LAW FIRM
ADAMS, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-16315         FEARS NACHAWATI LAW FIRM
ADAMS, HELEN               NJ - USDC for the District of New Jersey   3:20-cv-11602         FEARS NACHAWATI LAW FIRM
ADAMS, IRENE               NJ - USDC for the District of New Jersey   3:20-cv-16309         FEARS NACHAWATI LAW FIRM
ADAMS, JOSEPHINE CLAY      NJ - USDC for the District of New Jersey   3:20-cv-11956         FEARS NACHAWATI LAW FIRM
ADKINS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-19939         FEARS NACHAWATI LAW FIRM
ADKINS, MILDRED            NJ - USDC for the District of New Jersey   3:20-cv-11318         FEARS NACHAWATI LAW FIRM
ADKINS, YOLANDA            NJ - USDC for the District of New Jersey   3:20-cv-16323         FEARS NACHAWATI LAW FIRM
AGETSTEIN, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-11357         FEARS NACHAWATI LAW FIRM
AGIN, LINDA PEACOCK        NJ - USDC for the District of New Jersey   3:20-cv-17731         FEARS NACHAWATI LAW FIRM
AGUAYO, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-16326         FEARS NACHAWATI LAW FIRM
AGUILAR, JANE              NJ - USDC for the District of New Jersey   3:20-cv-15958         FEARS NACHAWATI LAW FIRM
AHREND, MARIANNE           NJ - USDC for the District of New Jersey   3:20-cv-11204         FEARS NACHAWATI LAW FIRM
AKINS, LOUELLA             NJ - USDC for the District of New Jersey   3:20-cv-10974         FEARS NACHAWATI LAW FIRM
AKTARY, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-16329         FEARS NACHAWATI LAW FIRM
ALBA, JOSELINE             NJ - USDC for the District of New Jersey   3:20-cv-11661         FEARS NACHAWATI LAW FIRM
ALBERT, ESTELLE            NJ - USDC for the District of New Jersey   3:20-cv-19769         FEARS NACHAWATI LAW FIRM
ALDERSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-11849         FEARS NACHAWATI LAW FIRM
ALDRIDGE, PHYLLIS          NJ - USDC for the District of New Jersey   3:20-cv-19085         FEARS NACHAWATI LAW FIRM
ALEGRIA, PAULA             NJ - USDC for the District of New Jersey   3:20-cv-19090         FEARS NACHAWATI LAW FIRM
ALEXANDER, ALESHIA         NJ - USDC for the District of New Jersey   3:20-cv-16395         FEARS NACHAWATI LAW FIRM
ALEXANDER, CAROLE          NJ - USDC for the District of New Jersey   3:20-cv-06792         FEARS NACHAWATI LAW FIRM
ALEXANDER, TILSA           NJ - USDC for the District of New Jersey   3:20-cv-16331         FEARS NACHAWATI LAW FIRM
ALFORD, ANDREA             NJ - USDC for the District of New Jersey   3:20-cv-10616         FEARS NACHAWATI LAW FIRM
ALFORD, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-11826         FEARS NACHAWATI LAW FIRM
ALFORD, ETHEL              NJ - USDC for the District of New Jersey   3:20-cv-20050         FEARS NACHAWATI LAW FIRM
ALFORD, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-19095         FEARS NACHAWATI LAW FIRM
ALFORQUE, CECELIA          NJ - USDC for the District of New Jersey   3:20-cv-16335         FEARS NACHAWATI LAW FIRM
ALI, ZANIFFA               NJ - USDC for the District of New Jersey   3:20-cv-19105         FEARS NACHAWATI LAW FIRM
ALLEN, KELLY               NJ - USDC for the District of New Jersey   3:19-cv-00765         FEARS NACHAWATI LAW FIRM
ALLEN, LETHA               NJ - USDC for the District of New Jersey   3:20-cv-10876         FEARS NACHAWATI LAW FIRM
ALLEN, SHANEKA             NJ - USDC for the District of New Jersey   3:21-cv-00484         FEARS NACHAWATI LAW FIRM
ALLEN, TAMMY               NJ - USDC for the District of New Jersey   3:20-cv-16354         FEARS NACHAWATI LAW FIRM
ALLEN, WANDA               NJ - USDC for the District of New Jersey   3:20-cv-16349         FEARS NACHAWATI LAW FIRM
ALLSBROOK, FRIDA           NJ - USDC for the District of New Jersey   3:20-cv-16104         FEARS NACHAWATI LAW FIRM
ALLUMS, ROSA               NJ - USDC for the District of New Jersey   3:20-cv-11847         FEARS NACHAWATI LAW FIRM
ALLWOOD, NELLIE            NJ - USDC for the District of New Jersey   3:20-cv-11067         FEARS NACHAWATI LAW FIRM
ALVARADO, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-16376         FEARS NACHAWATI LAW FIRM
ALVAREZ, ROBIN             NJ - USDC for the District of New Jersey   3:20-cv-16490         FEARS NACHAWATI LAW FIRM
AMENDOLA, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-19368         FEARS NACHAWATI LAW FIRM
AMES, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-11973         FEARS NACHAWATI LAW FIRM
ANDERSON, AMANDA           NJ - USDC for the District of New Jersey   3:20-cv-16609         FEARS NACHAWATI LAW FIRM
ANDERSON, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-19903         FEARS NACHAWATI LAW FIRM
ANDERSON, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-16128         FEARS NACHAWATI LAW FIRM
ANDERSON, CARLA            NJ - USDC for the District of New Jersey   3:20-cv-13399         FEARS NACHAWATI LAW FIRM
ANDERSON, CASEY            NJ - USDC for the District of New Jersey   3:20-cv-11305         FEARS NACHAWATI LAW FIRM
ANDERSON, JUANITA          NJ - USDC for the District of New Jersey   3:20-cv-16378         FEARS NACHAWATI LAW FIRM
ANDERSON, KRISTINA         NJ - USDC for the District of New Jersey   3:20-cv-16387         FEARS NACHAWATI LAW FIRM
ANDERSON, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-13330         FEARS NACHAWATI LAW FIRM
ANDRADE, ANNAMARIE         NJ - USDC for the District of New Jersey   3:20-cv-20150         FEARS NACHAWATI LAW FIRM
ANDRADE, MAUREEN           NJ - USDC for the District of New Jersey   3:20-cv-16392         FEARS NACHAWATI LAW FIRM
ANDREWS, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-11355         FEARS NACHAWATI LAW FIRM
ANDREWS, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-16415         FEARS NACHAWATI LAW FIRM
ANDREWS, GERALDINE         NJ - USDC for the District of New Jersey   3:20-cv-15792         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ANDREWS, RACHEL           NJ - USDC for the District of New Jersey   3:20-cv-11405         FEARS NACHAWATI LAW FIRM
ANDREWS, RENEE            NJ - USDC for the District of New Jersey   3:20-cv-16411         FEARS NACHAWATI LAW FIRM
ANDREWS, SHAKEDRA         NJ - USDC for the District of New Jersey   3:20-cv-16406         FEARS NACHAWATI LAW FIRM
ANGSTADT, RUTH            NJ - USDC for the District of New Jersey   3:20-cv-11997         FEARS NACHAWATI LAW FIRM
ANSALDI, GINA             NJ - USDC for the District of New Jersey   3:20-cv-16417         FEARS NACHAWATI LAW FIRM
ANTHONY, DELIE            NJ - USDC for the District of New Jersey   3:20-cv-16422         FEARS NACHAWATI LAW FIRM
ANTHONY, JOANN            NJ - USDC for the District of New Jersey   3:18-cv-13585         FEARS NACHAWATI LAW FIRM
ARAGON, KARIN             NJ - USDC for the District of New Jersey   3:20-cv-16427         FEARS NACHAWATI LAW FIRM
ARBUCKLE, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-11251         FEARS NACHAWATI LAW FIRM
ARCHER, CHRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-13337         FEARS NACHAWATI LAW FIRM
ARCHIELD, DANA            NJ - USDC for the District of New Jersey   3:20-cv-16432         FEARS NACHAWATI LAW FIRM
ARMSTRONG, LAURA          NJ - USDC for the District of New Jersey   3:20-cv-16436         FEARS NACHAWATI LAW FIRM
ARMSTRONG, TONYA          NJ - USDC for the District of New Jersey   3:20-cv-11678         FEARS NACHAWATI LAW FIRM
ARNOLD, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-16189         FEARS NACHAWATI LAW FIRM
ARREDONDO, ROSALBA        NJ - USDC for the District of New Jersey   3:20-cv-19111         FEARS NACHAWATI LAW FIRM
ARRIAGA, SYLVIA           NJ - USDC for the District of New Jersey   3:20-cv-16439         FEARS NACHAWATI LAW FIRM
ARRIGO, GINA              NJ - USDC for the District of New Jersey   3:20-cv-16502         FEARS NACHAWATI LAW FIRM
ARRINGTON, NAKIA          NJ - USDC for the District of New Jersey   3:20-cv-11617         FEARS NACHAWATI LAW FIRM
ARRIOLA, JANET            NJ - USDC for the District of New Jersey   3:20-cv-19460         FEARS NACHAWATI LAW FIRM
ARTHUR, DAWN              NJ - USDC for the District of New Jersey   3:20-cv-16452         FEARS NACHAWATI LAW FIRM
ARTHUR, LAMONICA          NJ - USDC for the District of New Jersey   3:20-cv-11285         FEARS NACHAWATI LAW FIRM
ARTIS, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-16463         FEARS NACHAWATI LAW FIRM
ARVIZU, ROXANNE           NJ - USDC for the District of New Jersey   3:20-cv-19115         FEARS NACHAWATI LAW FIRM
ARZOLA, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-21180         FEARS NACHAWATI LAW FIRM
ASHBROOK, BRANDY          NJ - USDC for the District of New Jersey   3:20-cv-13388         FEARS NACHAWATI LAW FIRM
ASHLEY, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-16467         FEARS NACHAWATI LAW FIRM
ATCHINSON, DORIS          NJ - USDC for the District of New Jersey   3:20-cv-16500         FEARS NACHAWATI LAW FIRM
ATKINSON, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-19371         FEARS NACHAWATI LAW FIRM
ATTEBERRY, ROBIN          NJ - USDC for the District of New Jersey   3:20-cv-16481         FEARS NACHAWATI LAW FIRM
ATWOOD, IRENE             NJ - USDC for the District of New Jersey   3:20-cv-19123         FEARS NACHAWATI LAW FIRM
ATWOOD, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-19974         FEARS NACHAWATI LAW FIRM
AUSBORNE, LUCY            NJ - USDC for the District of New Jersey   3:20-cv-16482         FEARS NACHAWATI LAW FIRM
AUSBY, ASHLEY             NJ - USDC for the District of New Jersey   3:20-cv-16402         FEARS NACHAWATI LAW FIRM
AUSTIN, MINNIE            NJ - USDC for the District of New Jersey   3:20-cv-16437         FEARS NACHAWATI LAW FIRM
AUSTIN, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-16410         FEARS NACHAWATI LAW FIRM
AUTEN, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-18931         FEARS NACHAWATI LAW FIRM
AVANTS-BALDUCCI, MARIAN   NJ - USDC for the District of New Jersey   3:20-cv-19128         FEARS NACHAWATI LAW FIRM
AVED, VALENTINA           NJ - USDC for the District of New Jersey   3:20-cv-16421         FEARS NACHAWATI LAW FIRM
AWBREY, DELIA             NJ - USDC for the District of New Jersey   3:20-cv-11367         FEARS NACHAWATI LAW FIRM
AXTELL, WAUNITA           NJ - USDC for the District of New Jersey   3:20-cv-11740         FEARS NACHAWATI LAW FIRM
AYERS, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-19002         FEARS NACHAWATI LAW FIRM
AYERS, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-16418         FEARS NACHAWATI LAW FIRM
BAACK, LETHA              NJ - USDC for the District of New Jersey   3:20-cv-19711         FEARS NACHAWATI LAW FIRM
BABBS, COLETTE            NJ - USDC for the District of New Jersey   3:20-cv-16313         FEARS NACHAWATI LAW FIRM
BAEZ, IDA                 NJ - USDC for the District of New Jersey   3:20-cv-11614         FEARS NACHAWATI LAW FIRM
BAGGETT, ROSETTA          NJ - USDC for the District of New Jersey   3:20-cv-19148         FEARS NACHAWATI LAW FIRM
BAGLEY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11549         FEARS NACHAWATI LAW FIRM
BAIER, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-11361         FEARS NACHAWATI LAW FIRM
BAILEY, CARLENE           NJ - USDC for the District of New Jersey   3:20-cv-19378         FEARS NACHAWATI LAW FIRM
BAILEY, DIANA             NJ - USDC for the District of New Jersey   3:20-cv-18971         FEARS NACHAWATI LAW FIRM
BAILEY, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-19098         FEARS NACHAWATI LAW FIRM
BAILEY, LUKESHIA          NJ - USDC for the District of New Jersey   3:20-cv-16358         FEARS NACHAWATI LAW FIRM
BAILEY, RELDA             NJ - USDC for the District of New Jersey   3:20-cv-12009         FEARS NACHAWATI LAW FIRM
BAIN, YOLANDA             NJ - USDC for the District of New Jersey   3:20-cv-19157         FEARS NACHAWATI LAW FIRM
BAK, DIANA                NJ - USDC for the District of New Jersey   3:20-cv-16328         FEARS NACHAWATI LAW FIRM
BAKER, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-10275         FEARS NACHAWATI LAW FIRM
BAKER, COLLEEN            NJ - USDC for the District of New Jersey   3:20-cv-16316         FEARS NACHAWATI LAW FIRM
BAKER, CRYSTAL            NJ - USDC for the District of New Jersey   3:20-cv-16320         FEARS NACHAWATI LAW FIRM
BAKER, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-11197         FEARS NACHAWATI LAW FIRM
BAKER, GLORIA             NJ - USDC for the District of New Jersey   3:20-cv-16332         FEARS NACHAWATI LAW FIRM
BAKER, JANET              NJ - USDC for the District of New Jersey   3:20-cv-16344         FEARS NACHAWATI LAW FIRM
BAKER, ROSEMARIE          NJ - USDC for the District of New Jersey   3:20-cv-19712         FEARS NACHAWATI LAW FIRM
BAKER, SHERRIE            NJ - USDC for the District of New Jersey   3:20-cv-16414         FEARS NACHAWATI LAW FIRM
BAKER-FOSTER, JEANITTA    NJ - USDC for the District of New Jersey   3:20-cv-16347         FEARS NACHAWATI LAW FIRM
BALDWIN, GWENDOLYN        NJ - USDC for the District of New Jersey   3:20-cv-16341         FEARS NACHAWATI LAW FIRM
BALGAME, JOLYNE           NJ - USDC for the District of New Jersey   3:20-cv-16348         FEARS NACHAWATI LAW FIRM
BALLARD, EUNICE           NJ - USDC for the District of New Jersey   3:20-cv-19174         FEARS NACHAWATI LAW FIRM
BALLREE, BENITA           NJ - USDC for the District of New Jersey   3:20-cv-13273         FEARS NACHAWATI LAW FIRM
BALSON, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-16350         FEARS NACHAWATI LAW FIRM
BALTON, RHONDA            NJ - USDC for the District of New Jersey   3:20-cv-16393         FEARS NACHAWATI LAW FIRM
BANDA, ROSE               NJ - USDC for the District of New Jersey   3:20-cv-11557         FEARS NACHAWATI LAW FIRM
BANKS, JANET              NJ - USDC for the District of New Jersey   3:20-cv-10776         FEARS NACHAWATI LAW FIRM
BANKS, MAGGIE             NJ - USDC for the District of New Jersey   3:20-cv-16365         FEARS NACHAWATI LAW FIRM
BANKS, ROSE               NJ - USDC for the District of New Jersey   3:20-cv-19181         FEARS NACHAWATI LAW FIRM
BANKS, YVONNE             NJ - USDC for the District of New Jersey   3:20-cv-16322         FEARS NACHAWATI LAW FIRM
BAPTIST, GEORGIA          NJ - USDC for the District of New Jersey   3:20-cv-16430         FEARS NACHAWATI LAW FIRM
BARBAER, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-11962         FEARS NACHAWATI LAW FIRM
BARBAN, ROSALINA          NJ - USDC for the District of New Jersey   3:20-cv-11359         FEARS NACHAWATI LAW FIRM
BAREFIELD, LENORA         NJ - USDC for the District of New Jersey   3:20-cv-16353         FEARS NACHAWATI LAW FIRM
BARIL, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-18827         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BARKER, CHAKARA           NJ - USDC for the District of New Jersey   3:20-cv-16311         FEARS NACHAWATI LAW FIRM
BARNES, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-19187         FEARS NACHAWATI LAW FIRM
BARNES, CONNIE            NJ - USDC for the District of New Jersey   3:20-cv-11587         FEARS NACHAWATI LAW FIRM
BARNES, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-11748         FEARS NACHAWATI LAW FIRM
BARNES, NAIKETA           NJ - USDC for the District of New Jersey   3:20-cv-16389         FEARS NACHAWATI LAW FIRM
BARNES-PIERCE, JOYCE      NJ - USDC for the District of New Jersey   3:20-cv-01217         FEARS NACHAWATI LAW FIRM
BARNETT, DELORIS          NJ - USDC for the District of New Jersey   3:20-cv-16461         FEARS NACHAWATI LAW FIRM
BARNETT, PEARL            NJ - USDC for the District of New Jersey   3:20-cv-11392         FEARS NACHAWATI LAW FIRM
BARNETT, PHYLLIS          NJ - USDC for the District of New Jersey   3:20-cv-11649         FEARS NACHAWATI LAW FIRM
BARNETTE, OLA JONES       NJ - USDC for the District of New Jersey   3:20-cv-16450         FEARS NACHAWATI LAW FIRM
BARNUM, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-19382         FEARS NACHAWATI LAW FIRM
BARON, MICHELE            NJ - USDC for the District of New Jersey   3:20-cv-17962         FEARS NACHAWATI LAW FIRM
BARONE, FLORENCE          NJ - USDC for the District of New Jersey   3:20-cv-16330         FEARS NACHAWATI LAW FIRM
BARRAGAN, ELIZABETH       NJ - USDC for the District of New Jersey   3:18-cv-15156         FEARS NACHAWATI LAW FIRM
BARRERA, MIRELLA          NJ - USDC for the District of New Jersey   3:20-cv-16380         FEARS NACHAWATI LAW FIRM
BARRERAS, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-11946         FEARS NACHAWATI LAW FIRM
BARRETT, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-10834         FEARS NACHAWATI LAW FIRM
BARROW, JILLSYN           NJ - USDC for the District of New Jersey   3:20-cv-18327         FEARS NACHAWATI LAW FIRM
BARRY, MARY               NJ - USDC for the District of New Jersey   3:20-cv-16367         FEARS NACHAWATI LAW FIRM
BARTEL, MEDA              NJ - USDC for the District of New Jersey   3:20-cv-16372         FEARS NACHAWATI LAW FIRM
BARTELS, JERI             NJ - USDC for the District of New Jersey   3:20-cv-20235         FEARS NACHAWATI LAW FIRM
BARTH, MARY               NJ - USDC for the District of New Jersey   3:20-cv-11730         FEARS NACHAWATI LAW FIRM
BARTLETT, LYNDA           NJ - USDC for the District of New Jersey   3:20-cv-16359         FEARS NACHAWATI LAW FIRM
BARTLETT, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-19193         FEARS NACHAWATI LAW FIRM
BARTON, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-16409         FEARS NACHAWATI LAW FIRM
BASILE, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-19380         FEARS NACHAWATI LAW FIRM
BASKERVILLE, YVETTE       NJ - USDC for the District of New Jersey   3:20-cv-19198         FEARS NACHAWATI LAW FIRM
BASKETT, URSULA           NJ - USDC for the District of New Jersey   3:20-cv-16375         FEARS NACHAWATI LAW FIRM
BASS, PAMELA              NJ - USDC for the District of New Jersey   3:20-cv-16386         FEARS NACHAWATI LAW FIRM
BASS, WANDA               NJ - USDC for the District of New Jersey   3:20-cv-16324         FEARS NACHAWATI LAW FIRM
BASTAIN, CELESTINE        NJ - USDC for the District of New Jersey   3:20-cv-16307         FEARS NACHAWATI LAW FIRM
BATES, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-16424         FEARS NACHAWATI LAW FIRM
BATES, SEALETA            NJ - USDC for the District of New Jersey   3:20-cv-19203         FEARS NACHAWATI LAW FIRM
BATHKE, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-15871         FEARS NACHAWATI LAW FIRM
BAUER, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-16043         FEARS NACHAWATI LAW FIRM
BAUERLA, CAROLE           NJ - USDC for the District of New Jersey   3:20-cv-19389         FEARS NACHAWATI LAW FIRM
BAUGH, CAREY              NJ - USDC for the District of New Jersey   3:20-cv-18538         FEARS NACHAWATI LAW FIRM
BAUMANN, DARLENE          NJ - USDC for the District of New Jersey   3:20-cv-13173         FEARS NACHAWATI LAW FIRM
BAUSCH, TONIA             NJ - USDC for the District of New Jersey   3:20-cv-17967         FEARS NACHAWATI LAW FIRM
BAUTISTA, MELY            NJ - USDC for the District of New Jersey   3:20-cv-10944         FEARS NACHAWATI LAW FIRM
BAXTER, SUZANNE           NJ - USDC for the District of New Jersey   3:20-cv-19392         FEARS NACHAWATI LAW FIRM
BAZEMORE, LYNDA           NJ - USDC for the District of New Jersey   3:20-cv-11942         FEARS NACHAWATI LAW FIRM
BEALMEAR, MARY            NJ - USDC for the District of New Jersey   3:20-cv-10911         FEARS NACHAWATI LAW FIRM
BEAN, JANET               NJ - USDC for the District of New Jersey   3:20-cv-13390         FEARS NACHAWATI LAW FIRM
BEASLEY, SHELIA           NJ - USDC for the District of New Jersey   3:20-cv-11861         FEARS NACHAWATI LAW FIRM
BEASLEY-LEBOEUF, LISA     NJ - USDC for the District of New Jersey   3:20-cv-19210         FEARS NACHAWATI LAW FIRM
BECHARD, MARIE            NJ - USDC for the District of New Jersey   3:20-cv-11211         FEARS NACHAWATI LAW FIRM
BECHTEL, BENNIE           NJ - USDC for the District of New Jersey   3:20-cv-16171         FEARS NACHAWATI LAW FIRM
BECK, MARCIA              NJ - USDC for the District of New Jersey   3:20-cv-18539         FEARS NACHAWATI LAW FIRM
BECK, WENDI               NJ - USDC for the District of New Jersey   3:20-cv-11969         FEARS NACHAWATI LAW FIRM
BECKER, RISA              NJ - USDC for the District of New Jersey   3:20-cv-12069         FEARS NACHAWATI LAW FIRM
BECKWITH, AUDREY          NJ - USDC for the District of New Jersey   3:20-cv-15843         FEARS NACHAWATI LAW FIRM
BECTON, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-16046         FEARS NACHAWATI LAW FIRM
BEELER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19228         FEARS NACHAWATI LAW FIRM
BEEMAN, DIANA             NJ - USDC for the District of New Jersey   3:20-cv-15670         FEARS NACHAWATI LAW FIRM
BEENE, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-11629         FEARS NACHAWATI LAW FIRM
BEGAY, BERTHA             NJ - USDC for the District of New Jersey   3:20-cv-16173         FEARS NACHAWATI LAW FIRM
BEGAY, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-16172         FEARS NACHAWATI LAW FIRM
BEGLEY, SYLVIA            NJ - USDC for the District of New Jersey   3:20-cv-16758         FEARS NACHAWATI LAW FIRM
BELCHER, GLORIA           NJ - USDC for the District of New Jersey   3:20-cv-18540         FEARS NACHAWATI LAW FIRM
BELCHER, HELEN            NJ - USDC for the District of New Jersey   3:20-cv-19400         FEARS NACHAWATI LAW FIRM
BELCZYNSKI-ALEF, LEONA    NJ - USDC for the District of New Jersey   3:20-cv-20201         FEARS NACHAWATI LAW FIRM
BELGARDE, DEE             NJ - USDC for the District of New Jersey   3:20-cv-18928         FEARS NACHAWATI LAW FIRM
BELKE-BECKER, PATRICIA    NJ - USDC for the District of New Jersey   3:20-cv-18541         FEARS NACHAWATI LAW FIRM
BELL, ANNIE               NJ - USDC for the District of New Jersey   3:20-cv-13144         FEARS NACHAWATI LAW FIRM
BELL, CARLA               NJ - USDC for the District of New Jersey   3:20-cv-12405         FEARS NACHAWATI LAW FIRM
BELL, MAMIE               NJ - USDC for the District of New Jersey   3:20-cv-18619         FEARS NACHAWATI LAW FIRM
BELL, STARTRECE           NJ - USDC for the District of New Jersey   3:20-cv-16775         FEARS NACHAWATI LAW FIRM
BELLAMY, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-18386         FEARS NACHAWATI LAW FIRM
BELLANTI, CATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-18927         FEARS NACHAWATI LAW FIRM
BELLINGER, SARH           NJ - USDC for the District of New Jersey   3:20-cv-19235         FEARS NACHAWATI LAW FIRM
BELLO, MELISSA            NJ - USDC for the District of New Jersey   3:20-cv-10937         FEARS NACHAWATI LAW FIRM
BENASUTTI, RITA           NJ - USDC for the District of New Jersey   3:20-cv-12012         FEARS NACHAWATI LAW FIRM
BENDER, LISA              NJ - USDC for the District of New Jersey   3:20-cv-19243         FEARS NACHAWATI LAW FIRM
BENISON, ANDREA           NJ - USDC for the District of New Jersey   3:20-cv-15867         FEARS NACHAWATI LAW FIRM
BENITO, REYNA             NJ - USDC for the District of New Jersey   3:20-cv-10916         FEARS NACHAWATI LAW FIRM
BENJAMIN, HANNAH          NJ - USDC for the District of New Jersey   3:20-cv-18393         FEARS NACHAWATI LAW FIRM
BENNETT, BEVERLY          NJ - USDC for the District of New Jersey   3:20-cv-15937         FEARS NACHAWATI LAW FIRM
BENNETT, HELEN GLOVER     NJ - USDC for the District of New Jersey   3:20-cv-20149         FEARS NACHAWATI LAW FIRM
BENNETT, LINAYA           NJ - USDC for the District of New Jersey   3:20-cv-18229         FEARS NACHAWATI LAW FIRM




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BENNETT, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-15780         FEARS NACHAWATI LAW FIRM
BENNETT, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-19953         FEARS NACHAWATI LAW FIRM
BENNETT, TRACEY            NJ - USDC for the District of New Jersey   3:20-cv-09618         FEARS NACHAWATI LAW FIRM
BENSON, YVETTE             NJ - USDC for the District of New Jersey   3:20-cv-11686         FEARS NACHAWATI LAW FIRM
BENTLEY, NELL              NJ - USDC for the District of New Jersey   3:20-cv-18918         FEARS NACHAWATI LAW FIRM
BENTON, JOANNE             NJ - USDC for the District of New Jersey   3:20-cv-18230         FEARS NACHAWATI LAW FIRM
BERG, CAROL                NJ - USDC for the District of New Jersey   3:20-cv-19008         FEARS NACHAWATI LAW FIRM
BERGE, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-01258         FEARS NACHAWATI LAW FIRM
BERGER, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-19405         FEARS NACHAWATI LAW FIRM
BERKLEY, AUSTINE           NJ - USDC for the District of New Jersey   3:20-cv-15965         FEARS NACHAWATI LAW FIRM
BERNAL, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-19252         FEARS NACHAWATI LAW FIRM
BERRY, AAISHA              NJ - USDC for the District of New Jersey   3:20-cv-10604         FEARS NACHAWATI LAW FIRM
BERRY, STEPHANIE           NJ - USDC for the District of New Jersey   3:20-cv-19255         FEARS NACHAWATI LAW FIRM
BERTELLI, PATTI            NJ - USDC for the District of New Jersey   3:20-cv-19357         FEARS NACHAWATI LAW FIRM
BETTS, WANDA               NJ - USDC for the District of New Jersey   3:20-cv-18376         FEARS NACHAWATI LAW FIRM
BICE, CICILIA              NJ - USDC for the District of New Jersey   3:20-cv-19412         FEARS NACHAWATI LAW FIRM
BIENVENUE-ALSALEH, LAURA   NJ - USDC for the District of New Jersey   3:20-cv-18232         FEARS NACHAWATI LAW FIRM
BIGLER, DIXIE              NJ - USDC for the District of New Jersey   3:20-cv-16748         FEARS NACHAWATI LAW FIRM
BINGE, DEBRA               NJ - USDC for the District of New Jersey   3:18-cv-15766         FEARS NACHAWATI LAW FIRM
BINION, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-18233         FEARS NACHAWATI LAW FIRM
BIRCHNAUGH, DEBRA          NJ - USDC for the District of New Jersey   3:20-cv-18357         FEARS NACHAWATI LAW FIRM
BIRKBECK, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-19414         FEARS NACHAWATI LAW FIRM
BISAILLON, ELLEN           NJ - USDC for the District of New Jersey   3:20-cv-19264         FEARS NACHAWATI LAW FIRM
BISHOP, MARY               NJ - USDC for the District of New Jersey   3:21-cv-15778         FEARS NACHAWATI LAW FIRM
BISHOP, NICOLE             NJ - USDC for the District of New Jersey   3:20-cv-18235         FEARS NACHAWATI LAW FIRM
BISHOP, SARAH              NJ - USDC for the District of New Jersey   3:20-cv-18236         FEARS NACHAWATI LAW FIRM
BLACK, KATHLEEN            NJ - USDC for the District of New Jersey   3:18-cv-14367         FEARS NACHAWATI LAW FIRM
BLACK, ROSIE               NJ - USDC for the District of New Jersey   3:20-cv-11952         FEARS NACHAWATI LAW FIRM
BLACKMON, BERNADETTE       NJ - USDC for the District of New Jersey   3:20-cv-13154         FEARS NACHAWATI LAW FIRM
BLACKMON, NOLA             NJ - USDC for the District of New Jersey   3:20-cv-18922         FEARS NACHAWATI LAW FIRM
BLACKWELL, PAMELA          NJ - USDC for the District of New Jersey   3:20-cv-18237         FEARS NACHAWATI LAW FIRM
BLAISURE, ERIN             NJ - USDC for the District of New Jersey   3:20-cv-18248         FEARS NACHAWATI LAW FIRM
BLAKE, LINDSAY             NJ - USDC for the District of New Jersey   3:20-cv-15863         FEARS NACHAWATI LAW FIRM
BLALOCK, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-11274         FEARS NACHAWATI LAW FIRM
BLANKS, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-11290         FEARS NACHAWATI LAW FIRM
BLANTON, ASHLEY            NJ - USDC for the District of New Jersey   3:20-cv-16405         FEARS NACHAWATI LAW FIRM
BLASSER, DOMINIQUE         NJ - USDC for the District of New Jersey   3:20-cv-19000         FEARS NACHAWATI LAW FIRM
BLEVINS, PRISCILLA         NJ - USDC for the District of New Jersey   3:20-cv-18263         FEARS NACHAWATI LAW FIRM
BLEVINS, TRACY             NJ - USDC for the District of New Jersey   3:20-cv-18255         FEARS NACHAWATI LAW FIRM
BLOCKER, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-18272         FEARS NACHAWATI LAW FIRM
BLOCK-MERKEL, MARY         NJ - USDC for the District of New Jersey   3:20-cv-18283         FEARS NACHAWATI LAW FIRM
BLODGETT, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-12052         FEARS NACHAWATI LAW FIRM
BLOODSAW, COLLEEN          NJ - USDC for the District of New Jersey   3:20-cv-18289         FEARS NACHAWATI LAW FIRM
BLOOM, JEANETTE            NJ - USDC for the District of New Jersey   3:20-cv-19713         FEARS NACHAWATI LAW FIRM
BLOUCHER-HARRIS, ASHLEY    NJ - USDC for the District of New Jersey   3:20-cv-16407         FEARS NACHAWATI LAW FIRM
BOBADILLA, MARISA          NJ - USDC for the District of New Jersey   3:20-cv-18301         FEARS NACHAWATI LAW FIRM
BODDIE, EUNICE             NJ - USDC for the District of New Jersey   3:20-cv-18318         FEARS NACHAWATI LAW FIRM
BOESE, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-11957         FEARS NACHAWATI LAW FIRM
BOGAN, ORA                 NJ - USDC for the District of New Jersey   3:20-cv-11810         FEARS NACHAWATI LAW FIRM
BOIVIN, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-18332         FEARS NACHAWATI LAW FIRM
BOKUN, JUDITH              NJ - USDC for the District of New Jersey   3:20-cv-19721         FEARS NACHAWATI LAW FIRM
BOLDS, MICHELE             NJ - USDC for the District of New Jersey   3:20-cv-18344         FEARS NACHAWATI LAW FIRM
BOLIEU, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-18361         FEARS NACHAWATI LAW FIRM
BOMMON, ROSA               NJ - USDC for the District of New Jersey   3:20-cv-18382         FEARS NACHAWATI LAW FIRM
BONBURANT, MELINDA         NJ - USDC for the District of New Jersey   3:20-cv-12008         FEARS NACHAWATI LAW FIRM
BOND, ANNA                 NJ - USDC for the District of New Jersey   3:20-cv-20261         FEARS NACHAWATI LAW FIRM
BOND, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-18426         FEARS NACHAWATI LAW FIRM
BONEE, BRENDA              NJ - USDC for the District of New Jersey   3:20-cv-18342         FEARS NACHAWATI LAW FIRM
BONGIORNI, FREDA           NJ - USDC for the District of New Jersey   3:20-cv-19304         FEARS NACHAWATI LAW FIRM
BONHAM, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-16073         FEARS NACHAWATI LAW FIRM
BONILLA, SULEMA            NJ - USDC for the District of New Jersey   3:20-cv-19418         FEARS NACHAWATI LAW FIRM
BOOTH, CLAUDETTE           NJ - USDC for the District of New Jersey   3:20-cv-19423         FEARS NACHAWATI LAW FIRM
BOOTH, ROBERTA             NJ - USDC for the District of New Jersey   3:20-cv-11992         FEARS NACHAWATI LAW FIRM
BOOTH, SUE                 NJ - USDC for the District of New Jersey   3:20-cv-16413         FEARS NACHAWATI LAW FIRM
BOSTON, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-18987         FEARS NACHAWATI LAW FIRM
BOSWELL, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-18930         FEARS NACHAWATI LAW FIRM
BOTKIN, RITA               NJ - USDC for the District of New Jersey   3:20-cv-19103         FEARS NACHAWATI LAW FIRM
BOTT, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-16420         FEARS NACHAWATI LAW FIRM
BOTTIGLIERI, KELLY         NJ - USDC for the District of New Jersey   3:20-cv-11753         FEARS NACHAWATI LAW FIRM
BOUFORD, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-16429         FEARS NACHAWATI LAW FIRM
BOUYER, BERNICE            NJ - USDC for the District of New Jersey   3:20-cv-13301         FEARS NACHAWATI LAW FIRM
BOWDEN, VICKY              NJ - USDC for the District of New Jersey   3:20-cv-16440         FEARS NACHAWATI LAW FIRM
BOWDRE-NOEL, TINA          NJ - USDC for the District of New Jersey   3:20-cv-09719         FEARS NACHAWATI LAW FIRM
BOWEN, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-16465         FEARS NACHAWATI LAW FIRM
BOWENS, TAMARA             NJ - USDC for the District of New Jersey   3:20-cv-16473         FEARS NACHAWATI LAW FIRM
BOWERS, KATHY              NJ - USDC for the District of New Jersey   3:18-cv-16149         FEARS NACHAWATI LAW FIRM
BOWERS, MEREDITH           NJ - USDC for the District of New Jersey   3:20-cv-13359         FEARS NACHAWATI LAW FIRM
BOWLING, LISA              NJ - USDC for the District of New Jersey   3:20-cv-16483         FEARS NACHAWATI LAW FIRM
BOWMAN, IN-YOUNG           NJ - USDC for the District of New Jersey   3:19-cv-21765         FEARS NACHAWATI LAW FIRM
BOYD, KRISTIE              NJ - USDC for the District of New Jersey   3:20-cv-16493         FEARS NACHAWATI LAW FIRM




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          Claimant Name                       State Filed                      Docket Number               Plaintiff Counsel
BOYKIN, MARTHA                NJ - USDC for the District of New Jersey   3:20-cv-19270         FEARS NACHAWATI LAW FIRM
BOYKINS, EULANDA              NJ - USDC for the District of New Jersey   3:20-cv-19034         FEARS NACHAWATI LAW FIRM
BOYKOV, YANA                  NJ - USDC for the District of New Jersey   3:20-cv-12054         FEARS NACHAWATI LAW FIRM
BOYUM, VAN-TURA               NJ - USDC for the District of New Jersey   3:20-cv-16521         FEARS NACHAWATI LAW FIRM
BRADLEY, LOLA                 NJ - USDC for the District of New Jersey   3:20-cv-10632         FEARS NACHAWATI LAW FIRM
BRADSHAW, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-13249         FEARS NACHAWATI LAW FIRM
BRADY, SHAWN                  NJ - USDC for the District of New Jersey   3:20-cv-16525         FEARS NACHAWATI LAW FIRM
BRAEDEN, KATHERINE            NJ - USDC for the District of New Jersey   3:20-cv-10859         FEARS NACHAWATI LAW FIRM
BRAGER, CHERYL                NJ - USDC for the District of New Jersey   3:20-cv-16528         FEARS NACHAWATI LAW FIRM
BRAGG, KAY                    NJ - USDC for the District of New Jersey   3:20-cv-11947         FEARS NACHAWATI LAW FIRM
BRASSFIELD, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-11414         FEARS NACHAWATI LAW FIRM
BRAUTIGAM, ZOFIA              NJ - USDC for the District of New Jersey   3:20-cv-11003         FEARS NACHAWATI LAW FIRM
BRAXTON, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-10790         FEARS NACHAWATI LAW FIRM
BRAY, DYNISE                  NJ - USDC for the District of New Jersey   3:20-cv-16542         FEARS NACHAWATI LAW FIRM
BRAZELL, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-11741         FEARS NACHAWATI LAW FIRM
BRAZIL, KATHRYN               NJ - USDC for the District of New Jersey   3:20-cv-10473         FEARS NACHAWATI LAW FIRM
BRECHT, CINDY                 NJ - USDC for the District of New Jersey   3:20-cv-16549         FEARS NACHAWATI LAW FIRM
BREDFORD-JARAMILLO, DEBORAH   NJ - USDC for the District of New Jersey   3:20-cv-18817         FEARS NACHAWATI LAW FIRM
BRENEMAN, ANGELIQUE           NJ - USDC for the District of New Jersey   3:20-cv-10649         FEARS NACHAWATI LAW FIRM
BRENHOLTZ, ROBIN              NJ - USDC for the District of New Jersey   3:20-cv-16575         FEARS NACHAWATI LAW FIRM
BREUNNER, ANN                 NJ - USDC for the District of New Jersey   3:20-cv-10370         FEARS NACHAWATI LAW FIRM
BREWER, BARBARA               NJ - USDC for the District of New Jersey   3:20-cv-16080         FEARS NACHAWATI LAW FIRM
BREWER, DONNA                 NJ - USDC for the District of New Jersey   3:20-cv-10743         FEARS NACHAWATI LAW FIRM
BREWER, ELAINE                NJ - USDC for the District of New Jersey   3:20-cv-16596         FEARS NACHAWATI LAW FIRM
BREWER, KELLIE                NJ - USDC for the District of New Jersey   3:20-cv-16580         FEARS NACHAWATI LAW FIRM
BREWINGTON, MARILYN           NJ - USDC for the District of New Jersey   3:20-cv-16602         FEARS NACHAWATI LAW FIRM
BREWSTER, JENNIFER            NJ - USDC for the District of New Jersey   3:20-cv-16614         FEARS NACHAWATI LAW FIRM
BRICKER, SUSAN                NJ - USDC for the District of New Jersey   3:20-cv-19424         FEARS NACHAWATI LAW FIRM
BRIDGES, FLETA                NJ - USDC for the District of New Jersey   3:20-cv-16669         FEARS NACHAWATI LAW FIRM
BRIGGS, IRA                   NJ - USDC for the District of New Jersey   3:19-cv-20884         FEARS NACHAWATI LAW FIRM
BRIGGS, TINA                  NJ - USDC for the District of New Jersey   3:20-cv-19433         FEARS NACHAWATI LAW FIRM
BRIGHAM, JANET                NJ - USDC for the District of New Jersey   3:20-cv-16671         FEARS NACHAWATI LAW FIRM
BRINKLEY, FLORENCE            NJ - USDC for the District of New Jersey   3:20-cv-18888         FEARS NACHAWATI LAW FIRM
BRIONES, TERESITA             NJ - USDC for the District of New Jersey   3:20-cv-19728         FEARS NACHAWATI LAW FIRM
BRISCOE, AUDREY               NJ - USDC for the District of New Jersey   3:20-cv-10643         FEARS NACHAWATI LAW FIRM
BRISCOE, ETHELYN              NJ - USDC for the District of New Jersey   3:20-cv-16683         FEARS NACHAWATI LAW FIRM
BRISTO, CATHIE                NJ - USDC for the District of New Jersey   3:20-cv-18868         FEARS NACHAWATI LAW FIRM
BROCK, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-15856         FEARS NACHAWATI LAW FIRM
BROCKMAN, MARY                NJ - USDC for the District of New Jersey   3:20-cv-11577         FEARS NACHAWATI LAW FIRM
BROLL, DAWN                   NJ - USDC for the District of New Jersey   3:20-cv-16692         FEARS NACHAWATI LAW FIRM
BROOKIN, ERICA                NJ - USDC for the District of New Jersey   3:20-cv-16698         FEARS NACHAWATI LAW FIRM
BROOKS, ANNE                  NJ - USDC for the District of New Jersey   3:18-cv-17429         FEARS NACHAWATI LAW FIRM
BROOKS, BEULAH                NJ - USDC for the District of New Jersey   3:20-cv-19445         FEARS NACHAWATI LAW FIRM
BROOKS, DOROTHEA              NJ - USDC for the District of New Jersey   3:20-cv-16706         FEARS NACHAWATI LAW FIRM
BROOKS, MELBA                 NJ - USDC for the District of New Jersey   3:20-cv-16712         FEARS NACHAWATI LAW FIRM
BROOKS, TERESA                NJ - USDC for the District of New Jersey   3:20-cv-19443         FEARS NACHAWATI LAW FIRM
BROUGHTON, VANESSA            NJ - USDC for the District of New Jersey   3:20-cv-11788         FEARS NACHAWATI LAW FIRM
BROWN, ALICE                  NJ - USDC for the District of New Jersey   3:20-cv-16434         FEARS NACHAWATI LAW FIRM
BROWN, AMANDA                 NJ - USDC for the District of New Jersey   3:20-cv-15696         FEARS NACHAWATI LAW FIRM
BROWN, AMECIA                 NJ - USDC for the District of New Jersey   3:20-cv-16678         FEARS NACHAWATI LAW FIRM
BROWN, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-11259         FEARS NACHAWATI LAW FIRM
BROWN, BEATRICE               NJ - USDC for the District of New Jersey   3:20-cv-13148         FEARS NACHAWATI LAW FIRM
BROWN, BETTY                  NJ - USDC for the District of New Jersey   3:20-cv-13374         FEARS NACHAWATI LAW FIRM
BROWN, BETTY                  NJ - USDC for the District of New Jersey   3:20-cv-08766         FEARS NACHAWATI LAW FIRM
BROWN, BOBBIE                 NJ - USDC for the District of New Jersey   3:20-cv-16175         FEARS NACHAWATI LAW FIRM
BROWN, CATHERINE              NJ - USDC for the District of New Jersey   3:20-cv-18921         FEARS NACHAWATI LAW FIRM
BROWN, CELESTE                NJ - USDC for the District of New Jersey   3:20-cv-16719         FEARS NACHAWATI LAW FIRM
BROWN, DIANA                  NJ - USDC for the District of New Jersey   3:20-cv-18965         FEARS NACHAWATI LAW FIRM
BROWN, DIANNA                 NJ - USDC for the District of New Jersey   3:20-cv-16766         FEARS NACHAWATI LAW FIRM
BROWN, EVA                    NJ - USDC for the District of New Jersey   3:21-cv-17827         FEARS NACHAWATI LAW FIRM
BROWN, HELEN                  NJ - USDC for the District of New Jersey   3:20-cv-16864         FEARS NACHAWATI LAW FIRM
BROWN, JACQUELYN              NJ - USDC for the District of New Jersey   3:20-cv-16774         FEARS NACHAWATI LAW FIRM
BROWN, JANICE                 NJ - USDC for the District of New Jersey   3:20-cv-11611         FEARS NACHAWATI LAW FIRM
BROWN, JO                     NJ - USDC for the District of New Jersey   3:20-cv-19970         FEARS NACHAWATI LAW FIRM
BROWN, JULIA                  NJ - USDC for the District of New Jersey   3:20-cv-10845         FEARS NACHAWATI LAW FIRM
BROWN, KARON                  NJ - USDC for the District of New Jersey   3:20-cv-16739         FEARS NACHAWATI LAW FIRM
BROWN, KRYSTAL                NJ - USDC for the District of New Jersey   3:20-cv-16873         FEARS NACHAWATI LAW FIRM
BROWN, LEA                    NJ - USDC for the District of New Jersey   3:20-cv-16754         FEARS NACHAWATI LAW FIRM
BROWN, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-16789         FEARS NACHAWATI LAW FIRM
BROWN, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-10950         FEARS NACHAWATI LAW FIRM
BROWN, LUCINDA                NJ - USDC for the District of New Jersey   3:20-cv-11935         FEARS NACHAWATI LAW FIRM
BROWN, MICHELE                NJ - USDC for the District of New Jersey   3:20-cv-20043         FEARS NACHAWATI LAW FIRM
BROWN, RUTHA                  NJ - USDC for the District of New Jersey   3:20-cv-11954         FEARS NACHAWATI LAW FIRM
BROWN, YVONNE                 NJ - USDC for the District of New Jersey   3:20-cv-19279         FEARS NACHAWATI LAW FIRM
BROWN-DEVORCE, GLORIA         NJ - USDC for the District of New Jersey   3:20-cv-11597         FEARS NACHAWATI LAW FIRM
BRUBAKER, WENDY               NJ - USDC for the District of New Jersey   3:20-cv-10978         FEARS NACHAWATI LAW FIRM
BRUCH, CONNIE                 NJ - USDC for the District of New Jersey   3:20-cv-16887         FEARS NACHAWATI LAW FIRM
BRUGH, JEANNI                 NJ - USDC for the District of New Jersey   3:18-cv-14369         FEARS NACHAWATI LAW FIRM
BRUNTON, MELVINA              NJ - USDC for the District of New Jersey   3:20-cv-11571         FEARS NACHAWATI LAW FIRM
BRYANT, BETTY                 NJ - USDC for the District of New Jersey   3:20-cv-19448         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BRYANT, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-11223         FEARS NACHAWATI LAW FIRM
BRYANT, COLLEEN           NJ - USDC for the District of New Jersey   3:18-cv-15780         FEARS NACHAWATI LAW FIRM
BRYANT, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-10694         FEARS NACHAWATI LAW FIRM
BRYANT, DAPHNE            NJ - USDC for the District of New Jersey   3:20-cv-16902         FEARS NACHAWATI LAW FIRM
BRYANT, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-08565         FEARS NACHAWATI LAW FIRM
BRYANT, KAY               NJ - USDC for the District of New Jersey   3:20-cv-19290         FEARS NACHAWATI LAW FIRM
BUBAK, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-18824         FEARS NACHAWATI LAW FIRM
BUCKINGHAM, ALICIA        NJ - USDC for the District of New Jersey   3:20-cv-19035         FEARS NACHAWATI LAW FIRM
BUCKLER, CECILIA          NJ - USDC for the District of New Jersey   3:20-cv-16943         FEARS NACHAWATI LAW FIRM
BUCKLEY, TARA             NJ - USDC for the District of New Jersey   3:20-cv-19762         FEARS NACHAWATI LAW FIRM
BUFFINGTON, BETTY         NJ - USDC for the District of New Jersey   3:20-cv-19457         FEARS NACHAWATI LAW FIRM
BUFFORD, JOY              NJ - USDC for the District of New Jersey   3:20-cv-16953         FEARS NACHAWATI LAW FIRM
BUHL, PEGGY               NJ - USDC for the District of New Jersey   3:20-cv-16990         FEARS NACHAWATI LAW FIRM
BULLOCK, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-16995         FEARS NACHAWATI LAW FIRM
BUNDY, VONDA              NJ - USDC for the District of New Jersey   3:20-cv-11397         FEARS NACHAWATI LAW FIRM
BUONO, CATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-17003         FEARS NACHAWATI LAW FIRM
BURCH, ELAINE             NJ - USDC for the District of New Jersey   3:20-cv-16474         FEARS NACHAWATI LAW FIRM
BURCHAM, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-10067         FEARS NACHAWATI LAW FIRM
BURELL, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-19307         FEARS NACHAWATI LAW FIRM
BURGESS, BEULAH           NJ - USDC for the District of New Jersey   3:20-cv-16176         FEARS NACHAWATI LAW FIRM
BURGESS, VICKI            NJ - USDC for the District of New Jersey   3:20-cv-01985         FEARS NACHAWATI LAW FIRM
BURHAM, SHAUNA            NJ - USDC for the District of New Jersey   3:20-cv-16616         FEARS NACHAWATI LAW FIRM
BURKE, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-11573         FEARS NACHAWATI LAW FIRM
BURKETT, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-16495         FEARS NACHAWATI LAW FIRM
BURL, DEONA               NJ - USDC for the District of New Jersey   3:20-cv-18961         FEARS NACHAWATI LAW FIRM
BURLEIGH, MARTHA          NJ - USDC for the District of New Jersey   3:20-cv-13335         FEARS NACHAWATI LAW FIRM
BURNETTE, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-18413         FEARS NACHAWATI LAW FIRM
BURRIS, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-13423         FEARS NACHAWATI LAW FIRM
BURTON, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-12260         FEARS NACHAWATI LAW FIRM
BURTON, PETRINA           NJ - USDC for the District of New Jersey   3:20-cv-10901         FEARS NACHAWATI LAW FIRM
BURTON, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-13574         FEARS NACHAWATI LAW FIRM
BURTRAM, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-16534         FEARS NACHAWATI LAW FIRM
BURUKHINA, NATALIA        NJ - USDC for the District of New Jersey   3:20-cv-16601         FEARS NACHAWATI LAW FIRM
BURZYCH, JILL             NJ - USDC for the District of New Jersey   3:17-cv-03278         FEARS NACHAWATI LAW FIRM
BUSBY, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-11815         FEARS NACHAWATI LAW FIRM
BUSH, LOLITA              NJ - USDC for the District of New Jersey   3:20-cv-16545         FEARS NACHAWATI LAW FIRM
BUSTER, EDWINA            NJ - USDC for the District of New Jersey   3:20-cv-11180         FEARS NACHAWATI LAW FIRM
BUSTOS, AMY               NJ - USDC for the District of New Jersey   3:20-cv-16704         FEARS NACHAWATI LAW FIRM
BUTLER, LUVENIA           NJ - USDC for the District of New Jersey   3:20-cv-16535         FEARS NACHAWATI LAW FIRM
BUTLER, MARLENE           NJ - USDC for the District of New Jersey   3:20-cv-16641         FEARS NACHAWATI LAW FIRM
BUTLER, SHAQUELLA         NJ - USDC for the District of New Jersey   3:20-cv-16628         FEARS NACHAWATI LAW FIRM
BUTLER, TEGRA             NJ - USDC for the District of New Jersey   3:20-cv-11669         FEARS NACHAWATI LAW FIRM
BUTUCARU-COPACEL, MARIA   NJ - USDC for the District of New Jersey   3:20-cv-19767         FEARS NACHAWATI LAW FIRM
BYNUM, TIFFANY            NJ - USDC for the District of New Jersey   3:20-cv-19386         FEARS NACHAWATI LAW FIRM
BYRD, JOANNE              NJ - USDC for the District of New Jersey   3:20-cv-16532         FEARS NACHAWATI LAW FIRM
BYRD, KATIE               NJ - USDC for the District of New Jersey   3:20-cv-16644         FEARS NACHAWATI LAW FIRM
BYRD, KENYA               NJ - USDC for the District of New Jersey   3:20-cv-19045         FEARS NACHAWATI LAW FIRM
BYRD, LORRANIA            NJ - USDC for the District of New Jersey   3:20-cv-16553         FEARS NACHAWATI LAW FIRM
BYRD, ROSEMARY            NJ - USDC for the District of New Jersey   3:20-cv-16633         FEARS NACHAWATI LAW FIRM
BYRD, TERRY               NJ - USDC for the District of New Jersey   3:20-cv-16604         FEARS NACHAWATI LAW FIRM
CABRAL, RITA              NJ - USDC for the District of New Jersey   3:20-cv-19120         FEARS NACHAWATI LAW FIRM
CADIEUX, JOANNE           NJ - USDC for the District of New Jersey   3:20-cv-16526         FEARS NACHAWATI LAW FIRM
CADIS, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-10411         FEARS NACHAWATI LAW FIRM
CAGLE, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-01136         FEARS NACHAWATI LAW FIRM
CAHALL, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-19942         FEARS NACHAWATI LAW FIRM
CAHILL, CATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-18678         FEARS NACHAWATI LAW FIRM
CAIN, HELEN               NJ - USDC for the District of New Jersey   3:20-cv-18936         FEARS NACHAWATI LAW FIRM
CAIN, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-20550         FEARS NACHAWATI LAW FIRM
CAIRA, CONCETTA           NJ - USDC for the District of New Jersey   3:20-cv-19466         FEARS NACHAWATI LAW FIRM
CALDERWOOD, CYNTHIA       NJ - USDC for the District of New Jersey   3:20-cv-18954         FEARS NACHAWATI LAW FIRM
CALDWELL, CARRIE          NJ - USDC for the District of New Jersey   3:20-cv-13418         FEARS NACHAWATI LAW FIRM
CALLAHAN, ELLEN           NJ - USDC for the District of New Jersey   3:20-cv-16499         FEARS NACHAWATI LAW FIRM
CALLAHAN, KADEE           NJ - USDC for the District of New Jersey   3:20-cv-16540         FEARS NACHAWATI LAW FIRM
CALLAHAN, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-16637         FEARS NACHAWATI LAW FIRM
CALLEGRI, CYNTHIA         NJ - USDC for the District of New Jersey   3:20-cv-16498         FEARS NACHAWATI LAW FIRM
CALLOWAY, WANDA           NJ - USDC for the District of New Jersey   3:18-cv-14656         FEARS NACHAWATI LAW FIRM
CALVERT, BENNIE           NJ - USDC for the District of New Jersey   3:20-cv-16177         FEARS NACHAWATI LAW FIRM
CAMERA, ROSE              NJ - USDC for the District of New Jersey   3:20-cv-11696         FEARS NACHAWATI LAW FIRM
CAMERON, LENA             NJ - USDC for the District of New Jersey   3:20-cv-19094         FEARS NACHAWATI LAW FIRM
CAMERON, LYNDA            NJ - USDC for the District of New Jersey   3:21-cv-15785         FEARS NACHAWATI LAW FIRM
CAMERON, TAMMY            NJ - USDC for the District of New Jersey   3:20-cv-16200         FEARS NACHAWATI LAW FIRM
CAMERON, VERA             NJ - USDC for the District of New Jersey   3:20-cv-19563         FEARS NACHAWATI LAW FIRM
CAMP, ANDREA              NJ - USDC for the District of New Jersey   3:20-cv-00212         FEARS NACHAWATI LAW FIRM
CAMPANA, GERMANIA         NJ - USDC for the District of New Jersey   3:20-cv-19118         FEARS NACHAWATI LAW FIRM
CAMPBELL, LUCY            NJ - USDC for the District of New Jersey   3:20-cv-19775         FEARS NACHAWATI LAW FIRM
CAMPBELL, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-16579         FEARS NACHAWATI LAW FIRM
CAMPBELL, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-16619         FEARS NACHAWATI LAW FIRM
CAMPBELL, TAMMY           NJ - USDC for the District of New Jersey   3:20-cv-10637         FEARS NACHAWATI LAW FIRM
CANADAY, AMANDA           NJ - USDC for the District of New Jersey   3:20-cv-16620         FEARS NACHAWATI LAW FIRM
CANADY, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-11447         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CANADY, ENITA             NJ - USDC for the District of New Jersey   3:20-cv-14010         FEARS NACHAWATI LAW FIRM
CANAN, CHARMINE           NJ - USDC for the District of New Jersey   3:20-cv-16491         FEARS NACHAWATI LAW FIRM
CANNON, BOBBIE            NJ - USDC for the District of New Jersey   3:20-cv-10374         FEARS NACHAWATI LAW FIRM
CANNON, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-16537         FEARS NACHAWATI LAW FIRM
CANNON, MARIAN            NJ - USDC for the District of New Jersey   3:20-cv-16568         FEARS NACHAWATI LAW FIRM
CANNON, SHARITA           NJ - USDC for the District of New Jersey   3:20-cv-16624         FEARS NACHAWATI LAW FIRM
CANTLEY, KIMBERLY         NJ - USDC for the District of New Jersey   3:19-cv-00930         FEARS NACHAWATI LAW FIRM
CANTRELL, VERSIA          NJ - USDC for the District of New Jersey   3:20-cv-11464         FEARS NACHAWATI LAW FIRM
CAPPIELLO, CHRISTINA      NJ - USDC for the District of New Jersey   3:20-cv-11586         FEARS NACHAWATI LAW FIRM
CARDENAS, CECILIA         NJ - USDC for the District of New Jersey   3:20-cv-16486         FEARS NACHAWATI LAW FIRM
CARDENAS, KATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-18957         FEARS NACHAWATI LAW FIRM
CARDOSO, MAUREEN          NJ - USDC for the District of New Jersey   3:20-cv-18744         FEARS NACHAWATI LAW FIRM
CAREW, MARYELLEN          NJ - USDC for the District of New Jersey   3:20-cv-19470         FEARS NACHAWATI LAW FIRM
CAREY-WESTOVER, TARA      NJ - USDC for the District of New Jersey   3:20-cv-16610         FEARS NACHAWATI LAW FIRM
CARINI, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-13207         FEARS NACHAWATI LAW FIRM
CARINI, LOURDES           NJ - USDC for the District of New Jersey   3:20-cv-16558         FEARS NACHAWATI LAW FIRM
CARLTON, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-18943         FEARS NACHAWATI LAW FIRM
CARMACK, SHIRLEY          NJ - USDC for the District of New Jersey   3:19-cv-14447         FEARS NACHAWATI LAW FIRM
CARMICHAEL, TIWANA        NJ - USDC for the District of New Jersey   3:19-cv-00226         FEARS NACHAWATI LAW FIRM
CARO, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-13420         FEARS NACHAWATI LAW FIRM
CARON, MARIANNE           NJ - USDC for the District of New Jersey   3:20-cv-16573         FEARS NACHAWATI LAW FIRM
CAROTHERS, BETTY          NJ - USDC for the District of New Jersey   3:20-cv-10677         FEARS NACHAWATI LAW FIRM
CAROTHERS, PAMELA         NJ - USDC for the District of New Jersey   3:20-cv-16544         FEARS NACHAWATI LAW FIRM
CARPENTER, DEVANNI        NJ - USDC for the District of New Jersey   3:20-cv-16546         FEARS NACHAWATI LAW FIRM
CARPENTER, JESSICA        NJ - USDC for the District of New Jersey   3:20-cv-18371         FEARS NACHAWATI LAW FIRM
CARR, CAROLYN             NJ - USDC for the District of New Jersey   3:20-cv-11556         FEARS NACHAWATI LAW FIRM
CARR, RUTHIE              NJ - USDC for the District of New Jersey   3:20-cv-11364         FEARS NACHAWATI LAW FIRM
CARRASCO, MARISOL         NJ - USDC for the District of New Jersey   3:20-cv-16550         FEARS NACHAWATI LAW FIRM
CARRIER, TAVITA           NJ - USDC for the District of New Jersey   3:20-cv-09757         FEARS NACHAWATI LAW FIRM
CARRIUOLO, JOANNE         NJ - USDC for the District of New Jersey   3:20-cv-16557         FEARS NACHAWATI LAW FIRM
CARROLL, MARRIE           NJ - USDC for the District of New Jersey   3:20-cv-11282         FEARS NACHAWATI LAW FIRM
CARSON, JESSIE            NJ - USDC for the District of New Jersey   3:20-cv-16566         FEARS NACHAWATI LAW FIRM
CARTER, CRYSTAL           NJ - USDC for the District of New Jersey   3:20-cv-19475         FEARS NACHAWATI LAW FIRM
CARTER, JANE              NJ - USDC for the District of New Jersey   3:20-cv-16578         FEARS NACHAWATI LAW FIRM
CARTER, MARILYN           NJ - USDC for the District of New Jersey   3:20-cv-19125         FEARS NACHAWATI LAW FIRM
CARTER, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-16571         FEARS NACHAWATI LAW FIRM
CARTER, STELLA            NJ - USDC for the District of New Jersey   3:20-cv-10605         FEARS NACHAWATI LAW FIRM
CARTER-PALMER, PENELOPE   NJ - USDC for the District of New Jersey   3:20-cv-10900         FEARS NACHAWATI LAW FIRM
CARVER, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-16581         FEARS NACHAWATI LAW FIRM
CARVER, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-18955         FEARS NACHAWATI LAW FIRM
CARWILE, ALICE            NJ - USDC for the District of New Jersey   3:20-cv-16453         FEARS NACHAWATI LAW FIRM
CASE, PEGGY               NJ - USDC for the District of New Jersey   3:20-cv-19129         FEARS NACHAWATI LAW FIRM
CASEY, SHELBA             NJ - USDC for the District of New Jersey   3:20-cv-11443         FEARS NACHAWATI LAW FIRM
CASHION, RITA             NJ - USDC for the District of New Jersey   3:20-cv-16592         FEARS NACHAWATI LAW FIRM
CASTELLANOS, MARIA        NJ - USDC for the District of New Jersey   3:20-cv-19781         FEARS NACHAWATI LAW FIRM
CASTELLO, PEARL           NJ - USDC for the District of New Jersey   3:20-cv-19133         FEARS NACHAWATI LAW FIRM
CASTILLO, JUN             NJ - USDC for the District of New Jersey   3:20-cv-10863         FEARS NACHAWATI LAW FIRM
CASTILLO, PETRA           NJ - USDC for the District of New Jersey   3:20-cv-19153         FEARS NACHAWATI LAW FIRM
CATANZARO, DORIS          NJ - USDC for the District of New Jersey   3:20-cv-13215         FEARS NACHAWATI LAW FIRM
CATER, VALERIE            NJ - USDC for the District of New Jersey   3:20-cv-16630         FEARS NACHAWATI LAW FIRM
CATES, VICKIE             NJ - USDC for the District of New Jersey   3:19-cv-14999         FEARS NACHAWATI LAW FIRM
CAULK, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-13293         FEARS NACHAWATI LAW FIRM
CAVETT, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-16634         FEARS NACHAWATI LAW FIRM
CAZARES, CARLA            NJ - USDC for the District of New Jersey   3:20-cv-16636         FEARS NACHAWATI LAW FIRM
CELESTINE, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-13428         FEARS NACHAWATI LAW FIRM
CERIGNY, MANDY            NJ - USDC for the District of New Jersey   3:20-cv-11717         FEARS NACHAWATI LAW FIRM
CERRITTO, KATHLEEN        NJ - USDC for the District of New Jersey   3:20-cv-19162         FEARS NACHAWATI LAW FIRM
CERVANTES, ALICIA         NJ - USDC for the District of New Jersey   3:20-cv-16489         FEARS NACHAWATI LAW FIRM
CHADDOCK, GRACIE          NJ - USDC for the District of New Jersey   3:20-cv-18997         FEARS NACHAWATI LAW FIRM
CHAFFIN, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-18988         FEARS NACHAWATI LAW FIRM
CHAMBERS, BERNICE         NJ - USDC for the District of New Jersey   3:20-cv-16178         FEARS NACHAWATI LAW FIRM
CHAMBERS, LISA            NJ - USDC for the District of New Jersey   3:20-cv-13313         FEARS NACHAWATI LAW FIRM
CHANCE, HELEN             NJ - USDC for the District of New Jersey   3:20-cv-18836         FEARS NACHAWATI LAW FIRM
CHANDLER, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-18871         FEARS NACHAWATI LAW FIRM
CHANDLER, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-10509         FEARS NACHAWATI LAW FIRM
CHANDLER, LYNANNE         NJ - USDC for the District of New Jersey   3:20-cv-16640         FEARS NACHAWATI LAW FIRM
CHANG, HAE                NJ - USDC for the District of New Jersey   3:20-cv-13354         FEARS NACHAWATI LAW FIRM
CHAPMAN, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-13238         FEARS NACHAWATI LAW FIRM
CHAPMAN, BERNADETTE       NJ - USDC for the District of New Jersey   3:20-cv-18395         FEARS NACHAWATI LAW FIRM
CHAPMAN, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-10705         FEARS NACHAWATI LAW FIRM
CHAPMAN, LETHA            NJ - USDC for the District of New Jersey   3:20-cv-16643         FEARS NACHAWATI LAW FIRM
CHAPMAN, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-19401         FEARS NACHAWATI LAW FIRM
CHARELLE, COURTNEY        NJ - USDC for the District of New Jersey   3:20-cv-07156         FEARS NACHAWATI LAW FIRM
CHARLES, LORRAINE         NJ - USDC for the District of New Jersey   3:20-cv-16647         FEARS NACHAWATI LAW FIRM
CHARLES, SILVA            NJ - USDC for the District of New Jersey   3:20-cv-16645         FEARS NACHAWATI LAW FIRM
CHAVANA, ORALIA           NJ - USDC for the District of New Jersey   3:20-cv-12018         FEARS NACHAWATI LAW FIRM
CHAVEZ, DIANA             NJ - USDC for the District of New Jersey   3:20-cv-16648         FEARS NACHAWATI LAW FIRM
CHAVEZ, SHELSEA           NJ - USDC for the District of New Jersey   3:20-cv-09782         FEARS NACHAWATI LAW FIRM
CHENEY, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-19065         FEARS NACHAWATI LAW FIRM
CHERRY, LUCILLE           NJ - USDC for the District of New Jersey   3:20-cv-10977         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CHESLEY, KENITA           NJ - USDC for the District of New Jersey   3:20-cv-16656         FEARS NACHAWATI LAW FIRM
CHILDERS, ISLA            NJ - USDC for the District of New Jersey   3:20-cv-19480         FEARS NACHAWATI LAW FIRM
CHILDERS, KIMAIKI         NJ - USDC for the District of New Jersey   3:20-cv-11848         FEARS NACHAWATI LAW FIRM
CHILDERSS, KATRINA        NJ - USDC for the District of New Jersey   3:20-cv-12151         FEARS NACHAWATI LAW FIRM
CHILDRED, DARLENE         NJ - USDC for the District of New Jersey   3:20-cv-18351         FEARS NACHAWATI LAW FIRM
CHILDRESS, TOWONNER       NJ - USDC for the District of New Jersey   3:20-cv-16661         FEARS NACHAWATI LAW FIRM
CHILES, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-19951         FEARS NACHAWATI LAW FIRM
CHISHOLM, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-19489         FEARS NACHAWATI LAW FIRM
CHISM, FELICIA            NJ - USDC for the District of New Jersey   3:20-cv-16663         FEARS NACHAWATI LAW FIRM
CHISM, ZABRINA            NJ - USDC for the District of New Jersey   3:20-cv-16673         FEARS NACHAWATI LAW FIRM
CHOTOOSINGH, ASHLEY       NJ - USDC for the District of New Jersey   3:20-cv-10683         FEARS NACHAWATI LAW FIRM
CHOUINARD, DOLORES        NJ - USDC for the District of New Jersey   3:20-cv-16675         FEARS NACHAWATI LAW FIRM
CHRIST, CLAIRE            NJ - USDC for the District of New Jersey   3:20-cv-19495         FEARS NACHAWATI LAW FIRM
CHRISTIE, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-13195         FEARS NACHAWATI LAW FIRM
CHRISTMAN, MARTHA         NJ - USDC for the District of New Jersey   3:20-cv-19183         FEARS NACHAWATI LAW FIRM
CHRISTMAN, MARY           NJ - USDC for the District of New Jersey   3:20-cv-19499         FEARS NACHAWATI LAW FIRM
CHRISTOPHER, KAREN        NJ - USDC for the District of New Jersey   3:20-cv-16120         FEARS NACHAWATI LAW FIRM
CILELI, TULAN             NJ - USDC for the District of New Jersey   3:20-cv-10967         FEARS NACHAWATI LAW FIRM
CINTRA, YORLENE           NJ - USDC for the District of New Jersey   3:20-cv-16679         FEARS NACHAWATI LAW FIRM
CIPPONERI, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-11437         FEARS NACHAWATI LAW FIRM
CLARK, BRANDY             NJ - USDC for the District of New Jersey   3:20-cv-10667         FEARS NACHAWATI LAW FIRM
CLARK, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-02013         FEARS NACHAWATI LAW FIRM
CLARK, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-11854         FEARS NACHAWATI LAW FIRM
CLARK, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-01140         FEARS NACHAWATI LAW FIRM
CLARK, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-16687         FEARS NACHAWATI LAW FIRM
CLARK, LADELL             NJ - USDC for the District of New Jersey   3:20-cv-16693         FEARS NACHAWATI LAW FIRM
CLARK, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-11941         FEARS NACHAWATI LAW FIRM
CLARK, ROSA               NJ - USDC for the District of New Jersey   3:20-cv-19194         FEARS NACHAWATI LAW FIRM
CLARK, ROSE               NJ - USDC for the District of New Jersey   3:20-cv-16700         FEARS NACHAWATI LAW FIRM
CLARK, SHERRY             NJ - USDC for the District of New Jersey   3:20-cv-16697         FEARS NACHAWATI LAW FIRM
CLARK-PARKER, GERTRUDE    NJ - USDC for the District of New Jersey   3:20-cv-11422         FEARS NACHAWATI LAW FIRM
CLAWSON, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-16703         FEARS NACHAWATI LAW FIRM
CLAXTON, FELICIA          NJ - USDC for the District of New Jersey   3:20-cv-13350         FEARS NACHAWATI LAW FIRM
CLAY, SONJA               NJ - USDC for the District of New Jersey   3:20-cv-16707         FEARS NACHAWATI LAW FIRM
CLAYCOMB, ANNIE           NJ - USDC for the District of New Jersey   3:20-cv-19811         FEARS NACHAWATI LAW FIRM
CLAYTOR, PAMELA           NJ - USDC for the District of New Jersey   3:20-cv-16709         FEARS NACHAWATI LAW FIRM
CLEGHORN, VIRGINIA        NJ - USDC for the District of New Jersey   3:20-cv-16626         FEARS NACHAWATI LAW FIRM
CLELLAND, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-19505         FEARS NACHAWATI LAW FIRM
CLEMENCE, PAMELA          NJ - USDC for the District of New Jersey   3:18-cv-13573         FEARS NACHAWATI LAW FIRM
CLEMENTS, PENELOPE        NJ - USDC for the District of New Jersey   3:20-cv-16662         FEARS NACHAWATI LAW FIRM
CLEVELAND, DOLORES        NJ - USDC for the District of New Jersey   3:20-cv-10741         FEARS NACHAWATI LAW FIRM
CLIFFORD, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-16658         FEARS NACHAWATI LAW FIRM
CLINTON, MARION           NJ - USDC for the District of New Jersey   3:20-cv-16664         FEARS NACHAWATI LAW FIRM
CLINTON, MARY             NJ - USDC for the District of New Jersey   3:20-cv-16665         FEARS NACHAWATI LAW FIRM
CLIVIO, SANDRA            NJ - USDC for the District of New Jersey   3:20-cv-10749         FEARS NACHAWATI LAW FIRM
CLOUD, KIKUE              NJ - USDC for the District of New Jersey   3:20-cv-16666         FEARS NACHAWATI LAW FIRM
CLOUSER, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-16087         FEARS NACHAWATI LAW FIRM
CLUNIS, EMITY             NJ - USDC for the District of New Jersey   3:20-cv-11183         FEARS NACHAWATI LAW FIRM
COATS, OLEVIA             NJ - USDC for the District of New Jersey   3:20-cv-16672         FEARS NACHAWATI LAW FIRM
COBB, LESLIE              NJ - USDC for the District of New Jersey   3:20-cv-11668         FEARS NACHAWATI LAW FIRM
COCKRAN, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-18417         FEARS NACHAWATI LAW FIRM
CODY, HANNAH              NJ - USDC for the District of New Jersey   3:20-cv-19240         FEARS NACHAWATI LAW FIRM
CODY, MARILYN             NJ - USDC for the District of New Jersey   3:20-cv-19222         FEARS NACHAWATI LAW FIRM
COFFIN, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-20094         FEARS NACHAWATI LAW FIRM
COGDILL, APRIL            NJ - USDC for the District of New Jersey   3:20-cv-19338         FEARS NACHAWATI LAW FIRM
COGSWORTH, NORMA          NJ - USDC for the District of New Jersey   3:20-cv-18966         FEARS NACHAWATI LAW FIRM
COHEN, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-16209         FEARS NACHAWATI LAW FIRM
COHN, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-16702         FEARS NACHAWATI LAW FIRM
COKER, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-08591         FEARS NACHAWATI LAW FIRM
COLBURN, NICHOLE          NJ - USDC for the District of New Jersey   3:20-cv-09674         FEARS NACHAWATI LAW FIRM
COLE, VELMA               NJ - USDC for the District of New Jersey   3:20-cv-16714         FEARS NACHAWATI LAW FIRM
COLEMAN, ANNETTE          NJ - USDC for the District of New Jersey   3:20-cv-13367         FEARS NACHAWATI LAW FIRM
COLEMAN, ROHNDA           NJ - USDC for the District of New Jersey   3:18-cv-13571         FEARS NACHAWATI LAW FIRM
COLES, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-10693         FEARS NACHAWATI LAW FIRM
COLEY, NANETTE            NJ - USDC for the District of New Jersey   3:20-cv-16721         FEARS NACHAWATI LAW FIRM
COLEY, TAMMY              NJ - USDC for the District of New Jersey   3:20-cv-16729         FEARS NACHAWATI LAW FIRM
COLLAZO, BRUNILDA         NJ - USDC for the District of New Jersey   3:20-cv-18920         FEARS NACHAWATI LAW FIRM
COLLAZO, HARRIET          NJ - USDC for the District of New Jersey   3:20-cv-16768         FEARS NACHAWATI LAW FIRM
COLLIER, NANCY            NJ - USDC for the District of New Jersey   3:20-cv-16759         FEARS NACHAWATI LAW FIRM
COLLINS, BERNICE          NJ - USDC for the District of New Jersey   3:20-cv-18424         FEARS NACHAWATI LAW FIRM
COLLINS, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-10666         FEARS NACHAWATI LAW FIRM
COLLINS, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-11599         FEARS NACHAWATI LAW FIRM
COLLINS, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-16749         FEARS NACHAWATI LAW FIRM
COLLINS, TERESA           NJ - USDC for the District of New Jersey   3:17-cv-08157         FEARS NACHAWATI LAW FIRM
COLLINS-HINES, MARGARET   NJ - USDC for the District of New Jersey   3:20-cv-10726         FEARS NACHAWATI LAW FIRM
COLON, IRIS               NJ - USDC for the District of New Jersey   3:20-cv-19260         FEARS NACHAWATI LAW FIRM
COLSON, ROSE              NJ - USDC for the District of New Jersey   3:20-cv-16781         FEARS NACHAWATI LAW FIRM
COLWELL, DANA             NJ - USDC for the District of New Jersey   3:20-cv-16787         FEARS NACHAWATI LAW FIRM
COMBS, MISTY              NJ - USDC for the District of New Jersey   3:20-cv-16793         FEARS NACHAWATI LAW FIRM
COMPTON, LISA             NJ - USDC for the District of New Jersey   3:20-cv-10953         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CONE, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-16842         FEARS NACHAWATI LAW FIRM
CONKLIN, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-18977         FEARS NACHAWATI LAW FIRM
CONKLIN, JO               NJ - USDC for the District of New Jersey   3:20-cv-17926         FEARS NACHAWATI LAW FIRM
CONLEY, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-18991         FEARS NACHAWATI LAW FIRM
CONLEY, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-19510         FEARS NACHAWATI LAW FIRM
CONLEY, LILLIE            NJ - USDC for the District of New Jersey   3:20-cv-16844         FEARS NACHAWATI LAW FIRM
CONNALLY, CHAMANE         NJ - USDC for the District of New Jersey   3:20-cv-18857         FEARS NACHAWATI LAW FIRM
CONNER-MCGUIRE, DORA      NJ - USDC for the District of New Jersey   3:20-cv-16845         FEARS NACHAWATI LAW FIRM
CONNOLLY, SUNSHINE        NJ - USDC for the District of New Jersey   3:20-cv-09201         FEARS NACHAWATI LAW FIRM
CONROW, ELLEN             NJ - USDC for the District of New Jersey   3:19-cv-21181         FEARS NACHAWATI LAW FIRM
CONTRERAS, TRICIA         NJ - USDC for the District of New Jersey   3:20-cv-09448         FEARS NACHAWATI LAW FIRM
COOK, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-18434         FEARS NACHAWATI LAW FIRM
COOK, CAROLYN             NJ - USDC for the District of New Jersey   3:20-cv-16846         FEARS NACHAWATI LAW FIRM
COOK, ESTER               NJ - USDC for the District of New Jersey   3:20-cv-16852         FEARS NACHAWATI LAW FIRM
COOK, KIM                 NJ - USDC for the District of New Jersey   3:20-cv-19049         FEARS NACHAWATI LAW FIRM
COOK, LOLA                NJ - USDC for the District of New Jersey   3:20-cv-18627         FEARS NACHAWATI LAW FIRM
COOK, NICOLE              NJ - USDC for the District of New Jersey   3:20-cv-16850         FEARS NACHAWATI LAW FIRM
COOK, SARA                NJ - USDC for the District of New Jersey   3:20-cv-11665         FEARS NACHAWATI LAW FIRM
COOKE, FRANCES            NJ - USDC for the District of New Jersey   3:20-cv-19292         FEARS NACHAWATI LAW FIRM
COOL, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-15845         FEARS NACHAWATI LAW FIRM
COOPER, HELEN             NJ - USDC for the District of New Jersey   3:20-cv-19514         FEARS NACHAWATI LAW FIRM
COOPER, LAURETTE          NJ - USDC for the District of New Jersey   3:20-cv-16718         FEARS NACHAWATI LAW FIRM
COOPER, MARJORIE          NJ - USDC for the District of New Jersey   3:20-cv-16727         FEARS NACHAWATI LAW FIRM
COOPER, MATTIE            NJ - USDC for the District of New Jersey   3:20-cv-19519         FEARS NACHAWATI LAW FIRM
COOPER, MILDRED           NJ - USDC for the District of New Jersey   3:20-cv-11020         FEARS NACHAWATI LAW FIRM
COOPER, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-16760         FEARS NACHAWATI LAW FIRM
COOPER, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-07574         FEARS NACHAWATI LAW FIRM
COOTS, TINA               NJ - USDC for the District of New Jersey   3:20-cv-15848         FEARS NACHAWATI LAW FIRM
COPELAND, SYLVIA          NJ - USDC for the District of New Jersey   3:20-cv-18628         FEARS NACHAWATI LAW FIRM
CORBETT, ERNESTINE        NJ - USDC for the District of New Jersey   3:20-cv-16699         FEARS NACHAWATI LAW FIRM
CORDIER, LISA             NJ - USDC for the District of New Jersey   3:20-cv-11804         FEARS NACHAWATI LAW FIRM
CORDIER-HYMAN, LISA       NJ - USDC for the District of New Jersey   3:21-cv-04782         FEARS NACHAWATI LAW FIRM
CORELL, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-19337         FEARS NACHAWATI LAW FIRM
CORLEY, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-19340         FEARS NACHAWATI LAW FIRM
CORMIER, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-16715         FEARS NACHAWATI LAW FIRM
CORNETT, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-19523         FEARS NACHAWATI LAW FIRM
CORONA, ANNETTE           NJ - USDC for the District of New Jersey   3:20-cv-16196         FEARS NACHAWATI LAW FIRM
CORONEL, GENOVEVA         NJ - USDC for the District of New Jersey   3:20-cv-19348         FEARS NACHAWATI LAW FIRM
CORREDOR, SUSAN           NJ - USDC for the District of New Jersey   3:19-cv-00583         FEARS NACHAWATI LAW FIRM
CORREIA, JOAN             NJ - USDC for the District of New Jersey   3:20-cv-10800         FEARS NACHAWATI LAW FIRM
CORTEZ, LORNA             NJ - USDC for the District of New Jersey   3:20-cv-16720         FEARS NACHAWATI LAW FIRM
CORTI, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-19531         FEARS NACHAWATI LAW FIRM
COTTON, TYAISHA           NJ - USDC for the District of New Jersey   3:20-cv-10619         FEARS NACHAWATI LAW FIRM
COUNTS, CATHY             NJ - USDC for the District of New Jersey   3:20-cv-18932         FEARS NACHAWATI LAW FIRM
COURTNEY, BRANDY          NJ - USDC for the District of New Jersey   3:20-cv-16670         FEARS NACHAWATI LAW FIRM
COVIL, DIONNE             NJ - USDC for the District of New Jersey   3:20-cv-16696         FEARS NACHAWATI LAW FIRM
COVINGTON, SHIRLEY        NJ - USDC for the District of New Jersey   3:20-cv-11846         FEARS NACHAWATI LAW FIRM
COVINGTON, STEPHANIE      NJ - USDC for the District of New Jersey   3:20-cv-16744         FEARS NACHAWATI LAW FIRM
COWART, MELISSA           NJ - USDC for the District of New Jersey   3:20-cv-16733         FEARS NACHAWATI LAW FIRM
COWEN, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-16688         FEARS NACHAWATI LAW FIRM
COX, BEATRICE             NJ - USDC for the District of New Jersey   3:20-cv-11263         FEARS NACHAWATI LAW FIRM
COY, VIRGINIA             NJ - USDC for the District of New Jersey   3:20-cv-16742         FEARS NACHAWATI LAW FIRM
CRABBE, MARY              NJ - USDC for the District of New Jersey   3:20-cv-16776         FEARS NACHAWATI LAW FIRM
CRADDOCK, CLARA           NJ - USDC for the District of New Jersey   3:20-cv-18867         FEARS NACHAWATI LAW FIRM
CRAGO, MARION             NJ - USDC for the District of New Jersey   3:20-cv-19376         FEARS NACHAWATI LAW FIRM
CRAIG, MARY               NJ - USDC for the District of New Jersey   3:20-cv-11682         FEARS NACHAWATI LAW FIRM
CRAIG, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-16757         FEARS NACHAWATI LAW FIRM
CRAIGHEAD, JANICE         NJ - USDC for the District of New Jersey   3:20-cv-11253         FEARS NACHAWATI LAW FIRM
CRAMER, ROSIE             NJ - USDC for the District of New Jersey   3:20-cv-19383         FEARS NACHAWATI LAW FIRM
CRANDALL, PEGGY           NJ - USDC for the District of New Jersey   3:20-cv-01226         FEARS NACHAWATI LAW FIRM
CRANE, SHARA              NJ - USDC for the District of New Jersey   3:20-cv-16765         FEARS NACHAWATI LAW FIRM
CRAVEN, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-18956         FEARS NACHAWATI LAW FIRM
CRAVEN, JONI              NJ - USDC for the District of New Jersey   3:20-cv-16710         FEARS NACHAWATI LAW FIRM
CRAWFORD, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-16115         FEARS NACHAWATI LAW FIRM
CRAWFORD, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-11209         FEARS NACHAWATI LAW FIRM
CRAWFORD, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-11990         FEARS NACHAWATI LAW FIRM
CRAWFORD, PAULINE         NJ - USDC for the District of New Jersey   3:20-cv-11643         FEARS NACHAWATI LAW FIRM
CREAMER, DOROEHEA         NJ - USDC for the District of New Jersey   3:20-cv-11578         FEARS NACHAWATI LAW FIRM
CREAMER, HEIDIE           NJ - USDC for the District of New Jersey   3:20-cv-16705         FEARS NACHAWATI LAW FIRM
CREEACH, DANA             NJ - USDC for the District of New Jersey   3:20-cv-11572         FEARS NACHAWATI LAW FIRM
CREECH, ERNESTINE         NJ - USDC for the District of New Jersey   3:20-cv-19763         FEARS NACHAWATI LAW FIRM
CRESWELL, ARTRIE          NJ - USDC for the District of New Jersey   3:20-cv-16381         FEARS NACHAWATI LAW FIRM
CREWS, CHARLENE           NJ - USDC for the District of New Jersey   3:20-cv-16677         FEARS NACHAWATI LAW FIRM
CROCKETT, DARLENE         NJ - USDC for the District of New Jersey   3:20-cv-16684         FEARS NACHAWATI LAW FIRM
CROOK, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-10723         FEARS NACHAWATI LAW FIRM
CROOKS, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-10596         FEARS NACHAWATI LAW FIRM
CROSS, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-16674         FEARS NACHAWATI LAW FIRM
CROSS, HERLUNDA           NJ - USDC for the District of New Jersey   3:18-cv-17709         FEARS NACHAWATI LAW FIRM
CROWELL, LORETTA          NJ - USDC for the District of New Jersey   3:19-cv-00337         FEARS NACHAWATI LAW FIRM
CROWL, JEANNETTE          NJ - USDC for the District of New Jersey   3:20-cv-11874         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CRUMBLE, ELFREDIA         NJ - USDC for the District of New Jersey   3:20-cv-19532         FEARS NACHAWATI LAW FIRM
CRUMP, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-11761         FEARS NACHAWATI LAW FIRM
CRUSE, SONJI              NJ - USDC for the District of New Jersey   3:20-cv-16752         FEARS NACHAWATI LAW FIRM
CRUZ, AIDA                NJ - USDC for the District of New Jersey   3:20-cv-11142         FEARS NACHAWATI LAW FIRM
CRUZ, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-16737         FEARS NACHAWATI LAW FIRM
CRUZ, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-15723         FEARS NACHAWATI LAW FIRM
CUCCHIARA, PAMELA         NJ - USDC for the District of New Jersey   3:21-cv-17826         FEARS NACHAWATI LAW FIRM
CUEVAS, NORMA             NJ - USDC for the District of New Jersey   3:20-cv-18969         FEARS NACHAWATI LAW FIRM
CUGINI, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-11256         FEARS NACHAWATI LAW FIRM
CULHANE, ANN              NJ - USDC for the District of New Jersey   3:20-cv-13124         FEARS NACHAWATI LAW FIRM
CULLEN, ANNE              NJ - USDC for the District of New Jersey   3:20-cv-19932         FEARS NACHAWATI LAW FIRM
CUMMINGS, DIANA           NJ - USDC for the District of New Jersey   3:20-cv-16782         FEARS NACHAWATI LAW FIRM
CUNCIC, SUZANNE           NJ - USDC for the District of New Jersey   3:20-cv-12027         FEARS NACHAWATI LAW FIRM
CUNNINGHAM, PATRICIA      NJ - USDC for the District of New Jersey   3:20-cv-18976         FEARS NACHAWATI LAW FIRM
CUNNINGHAM, SARAH         NJ - USDC for the District of New Jersey   3:20-cv-11435         FEARS NACHAWATI LAW FIRM
CUPIL, ORA                NJ - USDC for the District of New Jersey   3:20-cv-18982         FEARS NACHAWATI LAW FIRM
CURRIER, SAVANNAH         NJ - USDC for the District of New Jersey   3:20-cv-19398         FEARS NACHAWATI LAW FIRM
CURRY, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-11780         FEARS NACHAWATI LAW FIRM
CURTHS, DORCAS            NJ - USDC for the District of New Jersey   3:20-cv-11632         FEARS NACHAWATI LAW FIRM
CURTIS, FLORENCE          NJ - USDC for the District of New Jersey   3:20-cv-19032         FEARS NACHAWATI LAW FIRM
CURTIS, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-20216         FEARS NACHAWATI LAW FIRM
CURTIS, JODY              NJ - USDC for the District of New Jersey   3:19-cv-14946         FEARS NACHAWATI LAW FIRM
CURTIS, NICHOLE           NJ - USDC for the District of New Jersey   3:20-cv-11007         FEARS NACHAWATI LAW FIRM
CUSTIS, GERALDINE         NJ - USDC for the District of New Jersey   3:20-cv-13351         FEARS NACHAWATI LAW FIRM
CUTRONE, LAURA            NJ - USDC for the District of New Jersey   3:20-cv-16723         FEARS NACHAWATI LAW FIRM
DABNEY, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-13411         FEARS NACHAWATI LAW FIRM
DACRUZ, ANNA              NJ - USDC for the District of New Jersey   3:20-cv-16017         FEARS NACHAWATI LAW FIRM
DAFFINRUD, APEARLELLA     NJ - USDC for the District of New Jersey   3:20-cv-19818         FEARS NACHAWATI LAW FIRM
DAHLBERG, MADDALENA       NJ - USDC for the District of New Jersey   3:20-cv-16741         FEARS NACHAWATI LAW FIRM
DAHME, BARB               NJ - USDC for the District of New Jersey   3:20-cv-15844         FEARS NACHAWATI LAW FIRM
DAILEY, SHELIA            NJ - USDC for the District of New Jersey   3:20-cv-19471         FEARS NACHAWATI LAW FIRM
DALEY, DEIDRE             NJ - USDC for the District of New Jersey   3:20-cv-16755         FEARS NACHAWATI LAW FIRM
DALMORAL, MARY            NJ - USDC for the District of New Jersey   3:20-cv-19556         FEARS NACHAWATI LAW FIRM
DALTON, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-11170         FEARS NACHAWATI LAW FIRM
DALYRMPLE, MELANIE        NJ - USDC for the District of New Jersey   3:20-cv-10935         FEARS NACHAWATI LAW FIRM
DALZELL, GERRI            NJ - USDC for the District of New Jersey   3:20-cv-18368         FEARS NACHAWATI LAW FIRM
DANCY, CATESIA            NJ - USDC for the District of New Jersey   3:20-cv-19073         FEARS NACHAWATI LAW FIRM
DANIELS, JERALDINE        NJ - USDC for the District of New Jersey   3:20-cv-16783         FEARS NACHAWATI LAW FIRM
DANKERT, JAN              NJ - USDC for the District of New Jersey   3:20-cv-10774         FEARS NACHAWATI LAW FIRM
DANKO, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-11370         FEARS NACHAWATI LAW FIRM
DANNS, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-16794         FEARS NACHAWATI LAW FIRM
DANSBY, JESSICA           NJ - USDC for the District of New Jersey   3:20-cv-16813         FEARS NACHAWATI LAW FIRM
DARLING, MARY             NJ - USDC for the District of New Jersey   3:20-cv-19498         FEARS NACHAWATI LAW FIRM
DARNEL, CATHLEEN          NJ - USDC for the District of New Jersey   3:19-cv-15037         FEARS NACHAWATI LAW FIRM
DARNELL, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-19535         FEARS NACHAWATI LAW FIRM
DAUBNMIRE, MARTHA         NJ - USDC for the District of New Jersey   3:20-cv-19444         FEARS NACHAWATI LAW FIRM
DAUGHTRY, JUANITA         NJ - USDC for the District of New Jersey   3:20-cv-20047         FEARS NACHAWATI LAW FIRM
DAVENPORT, NAOMI          NJ - USDC for the District of New Jersey   3:20-cv-16827         FEARS NACHAWATI LAW FIRM
DAVIDSON, CHARLENE        NJ - USDC for the District of New Jersey   3:20-cv-16828         FEARS NACHAWATI LAW FIRM
DAVIDSON, LOUISE          NJ - USDC for the District of New Jersey   3:20-cv-16829         FEARS NACHAWATI LAW FIRM
DAVILLA, MYLYNDA          NJ - USDC for the District of New Jersey   3:20-cv-16830         FEARS NACHAWATI LAW FIRM
DAVIS, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-18440         FEARS NACHAWATI LAW FIRM
DAVIS, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-11452         FEARS NACHAWATI LAW FIRM
DAVIS, DEBBIE             NJ - USDC for the District of New Jersey   3:20-cv-11902         FEARS NACHAWATI LAW FIRM
DAVIS, GERTRUDE           NJ - USDC for the District of New Jersey   3:20-cv-13242         FEARS NACHAWATI LAW FIRM
DAVIS, HARRIET            NJ - USDC for the District of New Jersey   3:20-cv-16837         FEARS NACHAWATI LAW FIRM
DAVIS, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-18833         FEARS NACHAWATI LAW FIRM
DAVIS, KATINA             NJ - USDC for the District of New Jersey   3:20-cv-16839         FEARS NACHAWATI LAW FIRM
DAVIS, LA CARLA           NJ - USDC for the District of New Jersey   3:20-cv-10866         FEARS NACHAWATI LAW FIRM
DAVIS, LOIS               NJ - USDC for the District of New Jersey   3:20-cv-19573         FEARS NACHAWATI LAW FIRM
DAVIS, MARIZONA           NJ - USDC for the District of New Jersey   3:20-cv-16832         FEARS NACHAWATI LAW FIRM
DAVIS, MICHEALE           NJ - USDC for the District of New Jersey   3:18-cv-17506         FEARS NACHAWATI LAW FIRM
DAVIS, MICHELE            NJ - USDC for the District of New Jersey   3:20-cv-16863         FEARS NACHAWATI LAW FIRM
DAVIS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-13424         FEARS NACHAWATI LAW FIRM
DAVIS, RHONDA             NJ - USDC for the District of New Jersey   3:19-cv-08779         FEARS NACHAWATI LAW FIRM
DAVIS, RONCINDRA          NJ - USDC for the District of New Jersey   3:20-cv-19450         FEARS NACHAWATI LAW FIRM
DAVIS, ROSETTA            NJ - USDC for the District of New Jersey   3:20-cv-11428         FEARS NACHAWATI LAW FIRM
DAVIS, SINA               NJ - USDC for the District of New Jersey   3:20-cv-16834         FEARS NACHAWATI LAW FIRM
DAVIS, TAYJHA             NJ - USDC for the District of New Jersey   3:20-cv-19552         FEARS NACHAWATI LAW FIRM
DAVIS, VICTORIA           NJ - USDC for the District of New Jersey   3:20-cv-16838         FEARS NACHAWATI LAW FIRM
DAVIS, WILLIE             NJ - USDC for the District of New Jersey   3:20-cv-16836         FEARS NACHAWATI LAW FIRM
DAVISON, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-11167         FEARS NACHAWATI LAW FIRM
DAWSON, ALBERTA           NJ - USDC for the District of New Jersey   3:20-cv-16390         FEARS NACHAWATI LAW FIRM
DAY, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-16726         FEARS NACHAWATI LAW FIRM
DAYRIES, LOUBERTHA        NJ - USDC for the District of New Jersey   3:20-cv-16736         FEARS NACHAWATI LAW FIRM
DE LA ROSA, EVA           NJ - USDC for the District of New Jersey   3:20-cv-19037         FEARS NACHAWATI LAW FIRM
DE TOTH, NINA             NJ - USDC for the District of New Jersey   3:20-cv-16738         FEARS NACHAWATI LAW FIRM
DEBENHAM, GIANA           NJ - USDC for the District of New Jersey   3:20-cv-19465         FEARS NACHAWATI LAW FIRM
DEBOISE, RUTHIE           NJ - USDC for the District of New Jersey   3:20-cv-16740         FEARS NACHAWATI LAW FIRM
DECEMBRE, AMERICUS        NJ - USDC for the District of New Jersey   3:20-cv-16694         FEARS NACHAWATI LAW FIRM




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
DECKELMANN, VIRGINIA       NJ - USDC for the District of New Jersey   3:20-cv-19553         FEARS NACHAWATI LAW FIRM
DECOSTA, LORI              NJ - USDC for the District of New Jersey   3:20-cv-16745         FEARS NACHAWATI LAW FIRM
DEFRANCO, COLLEEN          NJ - USDC for the District of New Jersey   3:18-cv-16833         FEARS NACHAWATI LAW FIRM
DEJESUS, IRIS              NJ - USDC for the District of New Jersey   3:20-cv-10932         FEARS NACHAWATI LAW FIRM
DEJESUS, JOANN             NJ - USDC for the District of New Jersey   3:20-cv-16753         FEARS NACHAWATI LAW FIRM
DEL VECCHIO, PALMIRA       NJ - USDC for the District of New Jersey   3:20-cv-16756         FEARS NACHAWATI LAW FIRM
DELAROSA, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-16763         FEARS NACHAWATI LAW FIRM
DELEON, ANNIE              NJ - USDC for the District of New Jersey   3:20-cv-18337         FEARS NACHAWATI LAW FIRM
DELEON, BELINDA            NJ - USDC for the District of New Jersey   3:20-cv-16269         FEARS NACHAWATI LAW FIRM
DELEON, OMARINA            NJ - USDC for the District of New Jersey   3:20-cv-16772         FEARS NACHAWATI LAW FIRM
DELEON, PETRA              NJ - USDC for the District of New Jersey   3:20-cv-20154         FEARS NACHAWATI LAW FIRM
DELMORE, JEVETTA           NJ - USDC for the District of New Jersey   3:20-cv-16777         FEARS NACHAWATI LAW FIRM
DELONG, ANGIE              NJ - USDC for the District of New Jersey   3:20-cv-11394         FEARS NACHAWATI LAW FIRM
DELUCA, JANET              NJ - USDC for the District of New Jersey   3:17-cv-08880         FEARS NACHAWATI LAW FIRM
DELUCA, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-11986         FEARS NACHAWATI LAW FIRM
DEMERITT, BONNIE           NJ - USDC for the District of New Jersey   3:20-cv-18453         FEARS NACHAWATI LAW FIRM
DENISON, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-16784         FEARS NACHAWATI LAW FIRM
DENKERS, VERDEEN           NJ - USDC for the District of New Jersey   3:20-cv-19587         FEARS NACHAWATI LAW FIRM
DENNIS, MABLE              NJ - USDC for the District of New Jersey   3:20-cv-10984         FEARS NACHAWATI LAW FIRM
DENNIS, TAMEKA             NJ - USDC for the District of New Jersey   3:20-cv-09800         FEARS NACHAWATI LAW FIRM
DENT, OLIVIA               NJ - USDC for the District of New Jersey   3:20-cv-18989         FEARS NACHAWATI LAW FIRM
DENT, TABATHA              NJ - USDC for the District of New Jersey   3:20-cv-10611         FEARS NACHAWATI LAW FIRM
DERAMUS, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-19504         FEARS NACHAWATI LAW FIRM
DERINGER, LISA             NJ - USDC for the District of New Jersey   3:20-cv-11565         FEARS NACHAWATI LAW FIRM
DEROSA, NORMA              NJ - USDC for the District of New Jersey   3:20-cv-16786         FEARS NACHAWATI LAW FIRM
DESJARDINS, THERESA        NJ - USDC for the District of New Jersey   3:20-cv-16788         FEARS NACHAWATI LAW FIRM
DESMOND, JESSICA           NJ - USDC for the District of New Jersey   3:20-cv-16797         FEARS NACHAWATI LAW FIRM
DESOMER, TORY              NJ - USDC for the District of New Jersey   3:20-cv-16814         FEARS NACHAWATI LAW FIRM
DETHERAGE, DOLLY           NJ - USDC for the District of New Jersey   3:20-cv-11791         FEARS NACHAWATI LAW FIRM
DEUSON, DIANE VAN          NJ - USDC for the District of New Jersey   3:20-cv-18983         FEARS NACHAWATI LAW FIRM
DEVINE, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-16868         FEARS NACHAWATI LAW FIRM
DEVIZIO, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-16947         FEARS NACHAWATI LAW FIRM
DEXEL, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-16877         FEARS NACHAWATI LAW FIRM
DIAZ, ELSA                 NJ - USDC for the District of New Jersey   3:20-cv-16885         FEARS NACHAWATI LAW FIRM
DIAZ, TAWNYA               NJ - USDC for the District of New Jersey   3:20-cv-16880         FEARS NACHAWATI LAW FIRM
DIAZ, YESENIA              NJ - USDC for the District of New Jersey   3:20-cv-16883         FEARS NACHAWATI LAW FIRM
DICKENS, PASTY             NJ - USDC for the District of New Jersey   3:20-cv-16891         FEARS NACHAWATI LAW FIRM
DICKERSON, MARTHA          NJ - USDC for the District of New Jersey   3:20-cv-11287         FEARS NACHAWATI LAW FIRM
DICORATO, JOAN             NJ - USDC for the District of New Jersey   3:20-cv-11150         FEARS NACHAWATI LAW FIRM
DIESING, GINGER            NJ - USDC for the District of New Jersey   3:20-cv-16896         FEARS NACHAWATI LAW FIRM
DIETRICK, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-09916         FEARS NACHAWATI LAW FIRM
DIFELICE, JANET            NJ - USDC for the District of New Jersey   3:20-cv-11608         FEARS NACHAWATI LAW FIRM
DILGER, JEANNE             NJ - USDC for the District of New Jersey   3:20-cv-18367         FEARS NACHAWATI LAW FIRM
DILLAHUNT, JANIE           NJ - USDC for the District of New Jersey   3:20-cv-11149         FEARS NACHAWATI LAW FIRM
DILLON, ANNIE              NJ - USDC for the District of New Jersey   3:20-cv-16219         FEARS NACHAWATI LAW FIRM
DILULLO, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-11772         FEARS NACHAWATI LAW FIRM
DINKAR, PREMDEVIE          NJ - USDC for the District of New Jersey   3:20-cv-16913         FEARS NACHAWATI LAW FIRM
DIPLACIDO, PAMELA          NJ - USDC for the District of New Jersey   3:20-cv-18996         FEARS NACHAWATI LAW FIRM
DIXON, CHRISTY             NJ - USDC for the District of New Jersey   3:20-cv-16921         FEARS NACHAWATI LAW FIRM
DIXON, EDNA                NJ - USDC for the District of New Jersey   3:20-cv-15747         FEARS NACHAWATI LAW FIRM
DIXON, JUNE                NJ - USDC for the District of New Jersey   3:20-cv-16918         FEARS NACHAWATI LAW FIRM
DOAK, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-10795         FEARS NACHAWATI LAW FIRM
DODSON, LORETTA            NJ - USDC for the District of New Jersey   3:20-cv-11928         FEARS NACHAWATI LAW FIRM
DOLL, RENEE                NJ - USDC for the District of New Jersey   3:20-cv-16935         FEARS NACHAWATI LAW FIRM
DOMINGUEZ, DAILINA         NJ - USDC for the District of New Jersey   3:20-cv-16940         FEARS NACHAWATI LAW FIRM
DOMINGUEZ, DEBBIE          NJ - USDC for the District of New Jersey   3:20-cv-15684         FEARS NACHAWATI LAW FIRM
DONALD, GEORGIA            NJ - USDC for the District of New Jersey   3:20-cv-18881         FEARS NACHAWATI LAW FIRM
DONALDSON, TAMMY           NJ - USDC for the District of New Jersey   3:20-cv-10613         FEARS NACHAWATI LAW FIRM
DONNELLY, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-16823         FEARS NACHAWATI LAW FIRM
DONOVAN, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-11559         FEARS NACHAWATI LAW FIRM
DOOLEY, DELANA             NJ - USDC for the District of New Jersey   3:20-cv-16825         FEARS NACHAWATI LAW FIRM
DOOLEY, JUANITA            NJ - USDC for the District of New Jersey   3:20-cv-20037         FEARS NACHAWATI LAW FIRM
DORAN, PAULA               NJ - USDC for the District of New Jersey   3:20-cv-16826         FEARS NACHAWATI LAW FIRM
DORSEY, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-18879         FEARS NACHAWATI LAW FIRM
DORSEY, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-16831         FEARS NACHAWATI LAW FIRM
DORSEY, SUMMER             NJ - USDC for the District of New Jersey   3:20-cv-07024         FEARS NACHAWATI LAW FIRM
DOTSON, PHYLLIS            NJ - USDC for the District of New Jersey   3:20-cv-16833         FEARS NACHAWATI LAW FIRM
DOTSON, SONYA              NJ - USDC for the District of New Jersey   3:20-cv-16866         FEARS NACHAWATI LAW FIRM
DOUGLAS, CASSANDRA         NJ - USDC for the District of New Jersey   3:20-cv-19109         FEARS NACHAWATI LAW FIRM
DOUGLAS, DARLENE           NJ - USDC for the District of New Jersey   3:20-cv-16905         FEARS NACHAWATI LAW FIRM
DOUGLAS, GERALDINE         NJ - USDC for the District of New Jersey   3:20-cv-16899         FEARS NACHAWATI LAW FIRM
DOUGLAS, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-10914         FEARS NACHAWATI LAW FIRM
DOVE, FRANCES              NJ - USDC for the District of New Jersey   3:20-cv-16936         FEARS NACHAWATI LAW FIRM
DOVERSPIKE, JUDY           NJ - USDC for the District of New Jersey   3:20-cv-19796         FEARS NACHAWATI LAW FIRM
DOWELLS-COBLE, RETHA       NJ - USDC for the District of New Jersey   3:20-cv-16951         FEARS NACHAWATI LAW FIRM
DOWNING, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-11715         FEARS NACHAWATI LAW FIRM
DOWNING, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11933         FEARS NACHAWATI LAW FIRM
DOWNS, MARSHA              NJ - USDC for the District of New Jersey   3:20-cv-16968         FEARS NACHAWATI LAW FIRM
DRABIK, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-19124         FEARS NACHAWATI LAW FIRM
DRADT, CATHY               NJ - USDC for the District of New Jersey   3:20-cv-14893         FEARS NACHAWATI LAW FIRM




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          Claimant Name                        State Filed                      Docket Number               Plaintiff Counsel
DRAPER, RHONDA                 NJ - USDC for the District of New Jersey   3:20-cv-19089         FEARS NACHAWATI LAW FIRM
DRAYTON, SYLVIA                NJ - USDC for the District of New Jersey   3:20-cv-16970         FEARS NACHAWATI LAW FIRM
DRENNON, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-12080         FEARS NACHAWATI LAW FIRM
DREWRY, MARCIA                 NJ - USDC for the District of New Jersey   3:20-cv-16972         FEARS NACHAWATI LAW FIRM
DREYFOUS, BEVERLY              NJ - USDC for the District of New Jersey   3:20-cv-13380         FEARS NACHAWATI LAW FIRM
DRINKWATER, MAUDIE             NJ - USDC for the District of New Jersey   3:20-cv-19512         FEARS NACHAWATI LAW FIRM
DRISCOLL, COLEEN               NJ - USDC for the District of New Jersey   3:20-cv-19313         FEARS NACHAWATI LAW FIRM
DRISCOLL-FITZPATRICK, TRACEY   NJ - USDC for the District of New Jersey   3:20-cv-09409         FEARS NACHAWATI LAW FIRM
DRIVER, MARGARET               NJ - USDC for the District of New Jersey   3:20-cv-19501         FEARS NACHAWATI LAW FIRM
DRUMMOND, DIANE                NJ - USDC for the District of New Jersey   3:20-cv-17118         FEARS NACHAWATI LAW FIRM
DRYER, BETTY                   NJ - USDC for the District of New Jersey   3:20-cv-18878         FEARS NACHAWATI LAW FIRM
DUBLIN, JACQUELINE             NJ - USDC for the District of New Jersey   3:20-cv-11657         FEARS NACHAWATI LAW FIRM
DUBOIS, SANDRA                 NJ - USDC for the District of New Jersey   3:20-cv-19296         FEARS NACHAWATI LAW FIRM
DUDA, TRACY                    NJ - USDC for the District of New Jersey   3:20-cv-10963         FEARS NACHAWATI LAW FIRM
DUFFY, FLORIS                  NJ - USDC for the District of New Jersey   3:20-cv-19513         FEARS NACHAWATI LAW FIRM
DUGAN, TERESA                  NJ - USDC for the District of New Jersey   3:20-cv-18379         FEARS NACHAWATI LAW FIRM
DUNCAN, CHERYL                 NJ - USDC for the District of New Jersey   3:20-cv-18631         FEARS NACHAWATI LAW FIRM
DUNKIN, PAMELA                 NJ - USDC for the District of New Jersey   3:20-cv-18998         FEARS NACHAWATI LAW FIRM
DUNLAP, KIMBERLY               NJ - USDC for the District of New Jersey   3:20-cv-19559         FEARS NACHAWATI LAW FIRM
DUNN, DEBORAH                  NJ - USDC for the District of New Jersey   3:20-cv-17122         FEARS NACHAWATI LAW FIRM
DUPELL, CHRISTINE              NJ - USDC for the District of New Jersey   3:20-cv-18862         FEARS NACHAWATI LAW FIRM
DUPREE, DOROTHY                NJ - USDC for the District of New Jersey   3:20-cv-10761         FEARS NACHAWATI LAW FIRM
DUQUETTE, ISABELLE             NJ - USDC for the District of New Jersey   3:20-cv-19565         FEARS NACHAWATI LAW FIRM
DUVALL, CHERYL                 NJ - USDC for the District of New Jersey   3:19-cv-15563         FEARS NACHAWATI LAW FIRM
DYSON, SHARON                  NJ - USDC for the District of New Jersey   3:20-cv-10601         FEARS NACHAWATI LAW FIRM
EANES, JENNY                   NJ - USDC for the District of New Jersey   3:20-cv-17148         FEARS NACHAWATI LAW FIRM
EARLE, SYLVIA                  NJ - USDC for the District of New Jersey   3:20-cv-19521         FEARS NACHAWATI LAW FIRM
EARNEST, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-17151         FEARS NACHAWATI LAW FIRM
EASTMAN, SHARON                NJ - USDC for the District of New Jersey   3:20-cv-20022         FEARS NACHAWATI LAW FIRM
EATON, PAMELIA                 NJ - USDC for the District of New Jersey   3:20-cv-17157         FEARS NACHAWATI LAW FIRM
ECK, SHIRLEY                   NJ - USDC for the District of New Jersey   3:20-cv-17165         FEARS NACHAWATI LAW FIRM
ECKLOR, CHRISTINE              NJ - USDC for the District of New Jersey   3:20-cv-17220         FEARS NACHAWATI LAW FIRM
EDDINS, MARY                   NJ - USDC for the District of New Jersey   3:20-cv-17223         FEARS NACHAWATI LAW FIRM
EDMONDS, ALICE                 NJ - USDC for the District of New Jersey   3:20-cv-10623         FEARS NACHAWATI LAW FIRM
EDMONDS, DELORES               NJ - USDC for the District of New Jersey   3:20-cv-13183         FEARS NACHAWATI LAW FIRM
EDMONDS, LESLIE                NJ - USDC for the District of New Jersey   3:20-cv-19801         FEARS NACHAWATI LAW FIRM
EDWARDS, BOBBIE                NJ - USDC for the District of New Jersey   3:20-cv-18963         FEARS NACHAWATI LAW FIRM
EDWARDS, DOROTHY               NJ - USDC for the District of New Jersey   3:20-cv-11175         FEARS NACHAWATI LAW FIRM
EDWARDS, JEANETTE              NJ - USDC for the District of New Jersey   3:20-cv-19809         FEARS NACHAWATI LAW FIRM
EDWARDS, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-19527         FEARS NACHAWATI LAW FIRM
EDWARDS, NANCY                 NJ - USDC for the District of New Jersey   3:20-cv-10532         FEARS NACHAWATI LAW FIRM
EDWARDS, PRECIOUS              NJ - USDC for the District of New Jersey   3:20-cv-17242         FEARS NACHAWATI LAW FIRM
EDWARDS, TASHONDA              NJ - USDC for the District of New Jersey   3:20-cv-10922         FEARS NACHAWATI LAW FIRM
EIFER, SHARON                  NJ - USDC for the District of New Jersey   3:20-cv-11769         FEARS NACHAWATI LAW FIRM
EISENLAUER, KIM                NJ - USDC for the District of New Jersey   3:20-cv-17261         FEARS NACHAWATI LAW FIRM
ELDER, GLORIA                  NJ - USDC for the District of New Jersey   3:20-cv-11401         FEARS NACHAWATI LAW FIRM
ELDRIDGE, RUTH                 NJ - USDC for the District of New Jersey   3:20-cv-12035         FEARS NACHAWATI LAW FIRM
ELFSTROM, ELLEN                NJ - USDC for the District of New Jersey   3:20-cv-18770         FEARS NACHAWATI LAW FIRM
ELIGAH, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-15849         FEARS NACHAWATI LAW FIRM
ELLERT, MARY                   NJ - USDC for the District of New Jersey   3:20-cv-19536         FEARS NACHAWATI LAW FIRM
ELLIOTT, CATHERINE             NJ - USDC for the District of New Jersey   3:20-cv-18347         FEARS NACHAWATI LAW FIRM
ELLIS, BELINDA                 NJ - USDC for the District of New Jersey   3:20-cv-13152         FEARS NACHAWATI LAW FIRM
ELLIS, CELIA                   NJ - USDC for the District of New Jersey   3:20-cv-17287         FEARS NACHAWATI LAW FIRM
ELLIS, DEBORAH                 NJ - USDC for the District of New Jersey   3:17-cv-08394         FEARS NACHAWATI LAW FIRM
ELLIS, DORIS                   NJ - USDC for the District of New Jersey   3:20-cv-11651         FEARS NACHAWATI LAW FIRM
ELLIS, EUNICE                  NJ - USDC for the District of New Jersey   3:20-cv-17286         FEARS NACHAWATI LAW FIRM
ELLIS, KATHY                   NJ - USDC for the District of New Jersey   3:20-cv-19579         FEARS NACHAWATI LAW FIRM
ELSTON, JANICE                 NJ - USDC for the District of New Jersey   3:20-cv-10451         FEARS NACHAWATI LAW FIRM
EMBERTON, KIM                  NJ - USDC for the District of New Jersey   3:20-cv-17289         FEARS NACHAWATI LAW FIRM
ENGER, CHERYL                  NJ - USDC for the District of New Jersey   3:20-cv-17293         FEARS NACHAWATI LAW FIRM
ENGLAND, BENNA                 NJ - USDC for the District of New Jersey   3:20-cv-18874         FEARS NACHAWATI LAW FIRM
ENGLAND, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-19540         FEARS NACHAWATI LAW FIRM
ENGLAND, RITA                  NJ - USDC for the District of New Jersey   3:18-cv-16195         FEARS NACHAWATI LAW FIRM
ENRIGHT, LINDA                 NJ - USDC for the District of New Jersey   3:20-cv-18418         FEARS NACHAWATI LAW FIRM
EPPS, EARTHA                   NJ - USDC for the District of New Jersey   3:20-cv-10783         FEARS NACHAWATI LAW FIRM
ERFURTH, LILY                  NJ - USDC for the District of New Jersey   3:20-cv-11937         FEARS NACHAWATI LAW FIRM
ERVIN, GLORIA                  NJ - USDC for the District of New Jersey   3:20-cv-18995         FEARS NACHAWATI LAW FIRM
ESCARENO, SANDRA               NJ - USDC for the District of New Jersey   3:20-cv-17295         FEARS NACHAWATI LAW FIRM
ESPOSITO, ROSE                 NJ - USDC for the District of New Jersey   3:20-cv-10990         FEARS NACHAWATI LAW FIRM
ESTELL, DEBRA                  NJ - USDC for the District of New Jersey   3:20-cv-01231         FEARS NACHAWATI LAW FIRM
ESTES, MARTHA                  NJ - USDC for the District of New Jersey   3:20-cv-17297         FEARS NACHAWATI LAW FIRM
ESTRADA, MIRIAM                NJ - USDC for the District of New Jersey   3:20-cv-16912         FEARS NACHAWATI LAW FIRM
ESTRELLA-MAGALLANES,
                               NJ - USDC for the District of New Jersey   3:20-cv-16879         FEARS NACHAWATI LAW FIRM
YOLANDA
EUBANK, MARTHA                 NJ - USDC for the District of New Jersey   3:20-cv-19593         FEARS NACHAWATI LAW FIRM
EUREKA, SHARON                 NJ - USDC for the District of New Jersey   3:20-cv-19546         FEARS NACHAWATI LAW FIRM
EVANS, CYNTHIA                 NJ - USDC for the District of New Jersey   3:20-cv-16938         FEARS NACHAWATI LAW FIRM
EVANS, KELSEY                  NJ - USDC for the District of New Jersey   3:20-cv-08860         FEARS NACHAWATI LAW FIRM
EVANS, LILLIAN                 NJ - USDC for the District of New Jersey   3:20-cv-11293         FEARS NACHAWATI LAW FIRM
EVANS, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-11841         FEARS NACHAWATI LAW FIRM




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
EVANS, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-16933         FEARS NACHAWATI LAW FIRM
EZELL, ADRIENNE            NJ - USDC for the District of New Jersey   3:20-cv-16166         FEARS NACHAWATI LAW FIRM
FAISON, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-16890         FEARS NACHAWATI LAW FIRM
FALKNER, ROBERTA           NJ - USDC for the District of New Jersey   3:20-cv-16249         FEARS NACHAWATI LAW FIRM
FALLS, GLADYS              NJ - USDC for the District of New Jersey   3:20-cv-19091         FEARS NACHAWATI LAW FIRM
FALOTICO, LYNDA            NJ - USDC for the District of New Jersey   3:20-cv-19814         FEARS NACHAWATI LAW FIRM
FAMBRO, MARY               NJ - USDC for the District of New Jersey   3:20-cv-19548         FEARS NACHAWATI LAW FIRM
FARINA, THERESA            NJ - USDC for the District of New Jersey   3:20-cv-11731         FEARS NACHAWATI LAW FIRM
FARLEY, GEORGIA            NJ - USDC for the District of New Jersey   3:20-cv-16798         FEARS NACHAWATI LAW FIRM
FARLEY, JUSTINE            NJ - USDC for the District of New Jersey   3:20-cv-16802         FEARS NACHAWATI LAW FIRM
FARMER, HESTER             NJ - USDC for the District of New Jersey   3:20-cv-20156         FEARS NACHAWATI LAW FIRM
FARR, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-19001         FEARS NACHAWATI LAW FIRM
FARRELL, JANE              NJ - USDC for the District of New Jersey   3:20-cv-11869         FEARS NACHAWATI LAW FIRM
FAUST, SHERRY              NJ - USDC for the District of New Jersey   3:20-cv-11048         FEARS NACHAWATI LAW FIRM
FEDD, CRYSTAL              NJ - USDC for the District of New Jersey   3:20-cv-18946         FEARS NACHAWATI LAW FIRM
FEICHKO, MOLLEY            NJ - USDC for the District of New Jersey   3:20-cv-13398         FEARS NACHAWATI LAW FIRM
FELICIANO, CARMEN          NJ - USDC for the District of New Jersey   3:20-cv-10735         FEARS NACHAWATI LAW FIRM
FELIX, YOLANDA             NJ - USDC for the District of New Jersey   3:20-cv-16875         FEARS NACHAWATI LAW FIRM
FEOLA, MARILYN             NJ - USDC for the District of New Jersey   3:20-cv-19108         FEARS NACHAWATI LAW FIRM
FERGERSON, RAMONA          NJ - USDC for the District of New Jersey   3:20-cv-16922         FEARS NACHAWATI LAW FIRM
FERGUSON, ALTHEA           NJ - USDC for the District of New Jersey   3:20-cv-16599         FEARS NACHAWATI LAW FIRM
FERNANDEZ, DENISE          NJ - USDC for the District of New Jersey   3:20-cv-18949         FEARS NACHAWATI LAW FIRM
FERNANDEZ, LORRAINE        NJ - USDC for the District of New Jersey   3:20-cv-20202         FEARS NACHAWATI LAW FIRM
FERRELL, CLISTIE           NJ - USDC for the District of New Jersey   3:20-cv-11092         FEARS NACHAWATI LAW FIRM
FERRELL, KAYLA             NJ - USDC for the District of New Jersey   3:20-cv-11244         FEARS NACHAWATI LAW FIRM
FERRELL, TEANIKA           NJ - USDC for the District of New Jersey   3:20-cv-16893         FEARS NACHAWATI LAW FIRM
FERRER, MARISOL            NJ - USDC for the District of New Jersey   3:20-cv-15963         FEARS NACHAWATI LAW FIRM
FEUERSTEIN, KAREN          NJ - USDC for the District of New Jersey   3:20-cv-11497         FEARS NACHAWATI LAW FIRM
FICK, LAURA                NJ - USDC for the District of New Jersey   3:20-cv-11940         FEARS NACHAWATI LAW FIRM
FIELDINGS, JEANETTE        NJ - USDC for the District of New Jersey   3:20-cv-19816         FEARS NACHAWATI LAW FIRM
FIELDS, ROSALIE            NJ - USDC for the District of New Jersey   3:20-cv-16927         FEARS NACHAWATI LAW FIRM
FIELDS, THEOLA             NJ - USDC for the District of New Jersey   3:20-cv-16957         FEARS NACHAWATI LAW FIRM
FIELDS, URMA               NJ - USDC for the District of New Jersey   3:20-cv-19705         FEARS NACHAWATI LAW FIRM
FIERRO-QUINTANA, VESENTA   NJ - USDC for the District of New Jersey   3:20-cv-11019         FEARS NACHAWATI LAW FIRM
FIGUEROA, KEISHLA          NJ - USDC for the District of New Jersey   3:20-cv-10891         FEARS NACHAWATI LAW FIRM
FIGUEROA, LETICIA          NJ - USDC for the District of New Jersey   3:20-cv-16870         FEARS NACHAWATI LAW FIRM
FINCH, PAULA               NJ - USDC for the District of New Jersey   3:20-cv-19408         FEARS NACHAWATI LAW FIRM
FINCHAM, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-19940         FEARS NACHAWATI LAW FIRM
FINKBINER, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-11923         FEARS NACHAWATI LAW FIRM
FINLEY, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-19949         FEARS NACHAWATI LAW FIRM
FINNIGAN, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-16888         FEARS NACHAWATI LAW FIRM
FISCHER, WANDA             NJ - USDC for the District of New Jersey   3:20-cv-10628         FEARS NACHAWATI LAW FIRM
FISHER, ALISON             NJ - USDC for the District of New Jersey   3:20-cv-10366         FEARS NACHAWATI LAW FIRM
FISHER, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-16895         FEARS NACHAWATI LAW FIRM
FISHER, MARY               NJ - USDC for the District of New Jersey   3:20-cv-19689         FEARS NACHAWATI LAW FIRM
FISHER, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-19555         FEARS NACHAWATI LAW FIRM
FITCH, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-13570         FEARS NACHAWATI LAW FIRM
FITE, SHELBY               NJ - USDC for the District of New Jersey   3:20-cv-19306         FEARS NACHAWATI LAW FIRM
FITZ, RACHEL               NJ - USDC for the District of New Jersey   3:20-cv-16950         FEARS NACHAWATI LAW FIRM
FITZMAURICE, BRIGETTE      NJ - USDC for the District of New Jersey   3:20-cv-16791         FEARS NACHAWATI LAW FIRM
FITZPATRICK, PHYLLIS       NJ - USDC for the District of New Jersey   3:20-cv-11765         FEARS NACHAWATI LAW FIRM
FLANERY, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-11750         FEARS NACHAWATI LAW FIRM
FLANIGAN, VANESSA          NJ - USDC for the District of New Jersey   3:20-cv-16881         FEARS NACHAWATI LAW FIRM
FLEMING, CHRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-16795         FEARS NACHAWATI LAW FIRM
FLEMING, GAIL              NJ - USDC for the District of New Jersey   3:18-cv-14368         FEARS NACHAWATI LAW FIRM
FLEMINGS, LORENE           NJ - USDC for the District of New Jersey   3:20-cv-19562         FEARS NACHAWATI LAW FIRM
FLETCHER, HOLLIS           NJ - USDC for the District of New Jersey   3:20-cv-16942         FEARS NACHAWATI LAW FIRM
FLETCHER, MILENA           NJ - USDC for the District of New Jersey   3:20-cv-16897         FEARS NACHAWATI LAW FIRM
FLIN, LEUREN               NJ - USDC for the District of New Jersey   3:20-cv-16946         FEARS NACHAWATI LAW FIRM
FLINT, LISA                NJ - USDC for the District of New Jersey   3:20-cv-11705         FEARS NACHAWATI LAW FIRM
FLORES, ALICIA             NJ - USDC for the District of New Jersey   3:20-cv-11191         FEARS NACHAWATI LAW FIRM
FLORES, DELFINA            NJ - USDC for the District of New Jersey   3:20-cv-16892         FEARS NACHAWATI LAW FIRM
FLORES, OFELIA             NJ - USDC for the District of New Jersey   3:20-cv-10890         FEARS NACHAWATI LAW FIRM
FLORES, RACHEL             NJ - USDC for the District of New Jersey   3:20-cv-16915         FEARS NACHAWATI LAW FIRM
FLORES, SYLVIA             NJ - USDC for the District of New Jersey   3:20-cv-16954         FEARS NACHAWATI LAW FIRM
FLORES, TINA               NJ - USDC for the District of New Jersey   3:20-cv-15840         FEARS NACHAWATI LAW FIRM
FLORES, VERONICA           NJ - USDC for the District of New Jersey   3:20-cv-16900         FEARS NACHAWATI LAW FIRM
FLOYD, AVA                 NJ - USDC for the District of New Jersey   3:20-cv-15970         FEARS NACHAWATI LAW FIRM
FLOYD, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-19937         FEARS NACHAWATI LAW FIRM
FLOYD, BETTINA             NJ - USDC for the District of New Jersey   3:20-cv-19566         FEARS NACHAWATI LAW FIRM
FLOYD, VIVIAN              NJ - USDC for the District of New Jersey   3:20-cv-16917         FEARS NACHAWATI LAW FIRM
FLOYD-TOBLER, ROSALYN      NJ - USDC for the District of New Jersey   3:20-cv-10595         FEARS NACHAWATI LAW FIRM
FLYNN, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-11949         FEARS NACHAWATI LAW FIRM
FODELL, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-11323         FEARS NACHAWATI LAW FIRM
FOLEY, BRANDI              NJ - USDC for the District of New Jersey   3:20-cv-10668         FEARS NACHAWATI LAW FIRM
FOLIO, LORENTINA           NJ - USDC for the District of New Jersey   3:20-cv-19580         FEARS NACHAWATI LAW FIRM
FONT, ANN                  NJ - USDC for the District of New Jersey   3:20-cv-13140         FEARS NACHAWATI LAW FIRM
FORCE, JODI                NJ - USDC for the District of New Jersey   3:20-cv-16934         FEARS NACHAWATI LAW FIRM
FORD, BELINDA              NJ - USDC for the District of New Jersey   3:20-cv-10662         FEARS NACHAWATI LAW FIRM
FORD, DORIS                NJ - USDC for the District of New Jersey   3:20-cv-19590         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
FORD, HILDA               NJ - USDC for the District of New Jersey   3:20-cv-11099         FEARS NACHAWATI LAW FIRM
FORD, JESSIE              NJ - USDC for the District of New Jersey   3:20-cv-16944         FEARS NACHAWATI LAW FIRM
FORD, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-19113         FEARS NACHAWATI LAW FIRM
FORD, MARRISSIA           NJ - USDC for the District of New Jersey   3:20-cv-16949         FEARS NACHAWATI LAW FIRM
FORD, RUBASHUANA          NJ - USDC for the District of New Jersey   3:20-cv-16955         FEARS NACHAWATI LAW FIRM
FOREST, HILDA             NJ - USDC for the District of New Jersey   3:20-cv-11825         FEARS NACHAWATI LAW FIRM
FORNEY, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-16959         FEARS NACHAWATI LAW FIRM
FORRESTER, LAVERNE        NJ - USDC for the District of New Jersey   3:20-cv-11685         FEARS NACHAWATI LAW FIRM
FORSYTHE, ANTOINETTE      NJ - USDC for the District of New Jersey   3:20-cv-09966         FEARS NACHAWATI LAW FIRM
FORTON, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-11561         FEARS NACHAWATI LAW FIRM
FORTT, LOUISE             NJ - USDC for the District of New Jersey   3:20-cv-16966         FEARS NACHAWATI LAW FIRM
FOSS, KAREN               NJ - USDC for the District of New Jersey   3:19-cv-00357         FEARS NACHAWATI LAW FIRM
FOSTER, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-18905         FEARS NACHAWATI LAW FIRM
FOSTER, JANNIE            NJ - USDC for the District of New Jersey   3:20-cv-17007         FEARS NACHAWATI LAW FIRM
FOSTER, MAGGIE            NJ - USDC for the District of New Jersey   3:20-cv-10698         FEARS NACHAWATI LAW FIRM
FOSTER, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-15819         FEARS NACHAWATI LAW FIRM
FOSTER, TRACY             NJ - USDC for the District of New Jersey   3:20-cv-19596         FEARS NACHAWATI LAW FIRM
FOUNTAIN, CASSANDRA       NJ - USDC for the District of New Jersey   3:18-cv-13711         FEARS NACHAWATI LAW FIRM
FOURNIER, MONIQUE         NJ - USDC for the District of New Jersey   3:20-cv-18080         FEARS NACHAWATI LAW FIRM
FOUST, DIANNA             NJ - USDC for the District of New Jersey   3:20-cv-19607         FEARS NACHAWATI LAW FIRM
FOUST, LETITIA            NJ - USDC for the District of New Jersey   3:20-cv-16973         FEARS NACHAWATI LAW FIRM
FOWLER, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-07621         FEARS NACHAWATI LAW FIRM
FOWLER, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-11679         FEARS NACHAWATI LAW FIRM
FOWLER, SHERI             NJ - USDC for the District of New Jersey   3:20-cv-16993         FEARS NACHAWATI LAW FIRM
FOX, ANN                  NJ - USDC for the District of New Jersey   3:20-cv-15974         FEARS NACHAWATI LAW FIRM
FOX, SUSAN                NJ - USDC for the District of New Jersey   3:20-cv-19122         FEARS NACHAWATI LAW FIRM
FRANCIS, ANNIE            NJ - USDC for the District of New Jersey   3:20-cv-19802         FEARS NACHAWATI LAW FIRM
FRANCIS, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-19613         FEARS NACHAWATI LAW FIRM
FRANCIS, WANDA            NJ - USDC for the District of New Jersey   3:20-cv-17000         FEARS NACHAWATI LAW FIRM
FRANCUCK, JANET           NJ - USDC for the District of New Jersey   3:20-cv-19309         FEARS NACHAWATI LAW FIRM
FRANKE, JANET             NJ - USDC for the District of New Jersey   3:20-cv-10782         FEARS NACHAWATI LAW FIRM
FRANKLIN, AMANDA          NJ - USDC for the District of New Jersey   3:20-cv-10372         FEARS NACHAWATI LAW FIRM
FRANKLIN, FELICIA         NJ - USDC for the District of New Jersey   3:20-cv-15756         FEARS NACHAWATI LAW FIRM
FRANKLIN-KNIGHT, PENNY    NJ - USDC for the District of New Jersey   3:20-cv-09940         FEARS NACHAWATI LAW FIRM
FRANTZ, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-15851         FEARS NACHAWATI LAW FIRM
FRAZIER, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-10728         FEARS NACHAWATI LAW FIRM
FRAZIER, HEATHER          NJ - USDC for the District of New Jersey   3:20-cv-18829         FEARS NACHAWATI LAW FIRM
FREDERICK, SHERRI         NJ - USDC for the District of New Jersey   3:20-cv-17026         FEARS NACHAWATI LAW FIRM
FREEMAN, BELINDA          NJ - USDC for the District of New Jersey   3:20-cv-19627         FEARS NACHAWATI LAW FIRM
FREEMAN, DARLENE          NJ - USDC for the District of New Jersey   3:20-cv-17062         FEARS NACHAWATI LAW FIRM
FREEMAN, JESSICA          NJ - USDC for the District of New Jersey   3:20-cv-17110         FEARS NACHAWATI LAW FIRM
FREEMAN, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-17093         FEARS NACHAWATI LAW FIRM
FREEMAN, JULIA            NJ - USDC for the District of New Jersey   3:20-cv-17069         FEARS NACHAWATI LAW FIRM
FREEMAN, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-17036         FEARS NACHAWATI LAW FIRM
FREEMAN, ROBERTA          NJ - USDC for the District of New Jersey   3:20-cv-17079         FEARS NACHAWATI LAW FIRM
FREIBURGER, BARBARA       NJ - USDC for the District of New Jersey   3:19-cv-01140         FEARS NACHAWATI LAW FIRM
FRENCH, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-13410         FEARS NACHAWATI LAW FIRM
FRENCH, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-11968         FEARS NACHAWATI LAW FIRM
FRERICHS, MARLENE         NJ - USDC for the District of New Jersey   3:20-cv-11840         FEARS NACHAWATI LAW FIRM
FRISCO, CARIN             NJ - USDC for the District of New Jersey   3:20-cv-13394         FEARS NACHAWATI LAW FIRM
FROGGE, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17114         FEARS NACHAWATI LAW FIRM
FROST, FU-CHYUNG          NJ - USDC for the District of New Jersey   3:20-cv-11601         FEARS NACHAWATI LAW FIRM
FRUCIANO, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-11396         FEARS NACHAWATI LAW FIRM
FULLARD, FELISHA          NJ - USDC for the District of New Jersey   3:20-cv-18363         FEARS NACHAWATI LAW FIRM
FULLER, SHERRY            NJ - USDC for the District of New Jersey   3:20-cv-17115         FEARS NACHAWATI LAW FIRM
FULLERTON, ESTELITA       NJ - USDC for the District of New Jersey   3:20-cv-19134         FEARS NACHAWATI LAW FIRM
FULTON, TARITA            NJ - USDC for the District of New Jersey   3:20-cv-17116         FEARS NACHAWATI LAW FIRM
FUNDERBURKE, DEBORAH      NJ - USDC for the District of New Jersey   3:20-cv-18894         FEARS NACHAWATI LAW FIRM
FURLONG, CRYSTAL          NJ - USDC for the District of New Jersey   3:17-cv-08505         FEARS NACHAWATI LAW FIRM
GABREE, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-17117         FEARS NACHAWATI LAW FIRM
GABRIEL, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-17119         FEARS NACHAWATI LAW FIRM
GABRION, LUCINDA          NJ - USDC for the District of New Jersey   3:20-cv-11827         FEARS NACHAWATI LAW FIRM
GADD, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-14875         FEARS NACHAWATI LAW FIRM
GAGE, HAZEL               NJ - USDC for the District of New Jersey   3:20-cv-17137         FEARS NACHAWATI LAW FIRM
GALDAMEZ, YESENIA         NJ - USDC for the District of New Jersey   3:20-cv-19166         FEARS NACHAWATI LAW FIRM
GALINDO, NOREEN           NJ - USDC for the District of New Jersey   3:20-cv-17142         FEARS NACHAWATI LAW FIRM
GALLIMORE, AIMEE          NJ - USDC for the District of New Jersey   3:20-cv-16295         FEARS NACHAWATI LAW FIRM
GAMBOE, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-19819         FEARS NACHAWATI LAW FIRM
GAMEZ, DANIELLE           NJ - USDC for the District of New Jersey   3:20-cv-17149         FEARS NACHAWATI LAW FIRM
GAMIERE, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-19180         FEARS NACHAWATI LAW FIRM
GAPAC, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-17161         FEARS NACHAWATI LAW FIRM
GARAVAGLIA, AMANDA        NJ - USDC for the District of New Jersey   3:20-cv-16623         FEARS NACHAWATI LAW FIRM
GARCIA, BERTHA            NJ - USDC for the District of New Jersey   3:20-cv-11799         FEARS NACHAWATI LAW FIRM
GARCIA, CARMEN            NJ - USDC for the District of New Jersey   3:20-cv-17168         FEARS NACHAWATI LAW FIRM
GARCIA, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-19637         FEARS NACHAWATI LAW FIRM
GARCIA, JOLYNN            NJ - USDC for the District of New Jersey   3:20-cv-13268         FEARS NACHAWATI LAW FIRM
GARCIA, JUANA             NJ - USDC for the District of New Jersey   3:20-cv-10837         FEARS NACHAWATI LAW FIRM
GARCIA, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11701         FEARS NACHAWATI LAW FIRM
GARDNER, DIXIE            NJ - USDC for the District of New Jersey   3:20-cv-11796         FEARS NACHAWATI LAW FIRM
GARDNER, PENNY            NJ - USDC for the District of New Jersey   3:20-cv-17178         FEARS NACHAWATI LAW FIRM




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          Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
GARFIELD, EMILEE          NJ - USDC for the District of New Jersey   3:19-cv-13455         FEARS NACHAWATI LAW FIRM
GARLAND, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-17183         FEARS NACHAWATI LAW FIRM
GARNER, JANETTE           NJ - USDC for the District of New Jersey   3:20-cv-11426         FEARS NACHAWATI LAW FIRM
GARNETT, DORTHEY          NJ - USDC for the District of New Jersey   3:20-cv-19502         FEARS NACHAWATI LAW FIRM
GARRETT, CHARLESETTA      NJ - USDC for the District of New Jersey   3:20-cv-11503         FEARS NACHAWATI LAW FIRM
GARRISON, EILEEN          NJ - USDC for the District of New Jersey   3:20-cv-11709         FEARS NACHAWATI LAW FIRM
GARZA, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-17205         FEARS NACHAWATI LAW FIRM
GASSETT, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-13403         FEARS NACHAWATI LAW FIRM
GASTON, LODEAL            NJ - USDC for the District of New Jersey   3:20-cv-11838         FEARS NACHAWATI LAW FIRM
GATTSHALL, KELSEY         NJ - USDC for the District of New Jersey   3:20-cv-11524         FEARS NACHAWATI LAW FIRM
GEHRES, GRETCHEN          NJ - USDC for the District of New Jersey   3:20-cv-17221         FEARS NACHAWATI LAW FIRM
GEIGER-WALDRON, BARBARA   NJ - USDC for the District of New Jersey   3:20-cv-13167         FEARS NACHAWATI LAW FIRM
GELTZ, PENNY              NJ - USDC for the District of New Jersey   3:20-cv-19189         FEARS NACHAWATI LAW FIRM
GENTILE, MARLENE          NJ - USDC for the District of New Jersey   3:18-cv-13678         FEARS NACHAWATI LAW FIRM
GENTRY, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-16854         FEARS NACHAWATI LAW FIRM
GENTRY, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-17229         FEARS NACHAWATI LAW FIRM
GEORGE, ELSIE             NJ - USDC for the District of New Jersey   3:20-cv-10775         FEARS NACHAWATI LAW FIRM
GERALD, FRONNIE           NJ - USDC for the District of New Jersey   3:20-cv-18858         FEARS NACHAWATI LAW FIRM
GERARD, ZELDA             NJ - USDC for the District of New Jersey   3:20-cv-19197         FEARS NACHAWATI LAW FIRM
GERBITZ, MARIA            NM - District Court - Santa Fe             D-101-CV-2021-00892   FEARS NACHAWATI LAW FIRM
GIANFRANCESCO, PIPER      NJ - USDC for the District of New Jersey   3:20-cv-16898         FEARS NACHAWATI LAW FIRM
GIBBS, AGNES              NJ - USDC for the District of New Jersey   3:20-cv-16168         FEARS NACHAWATI LAW FIRM
GIBSON, ACCRISISUS        NJ - USDC for the District of New Jersey   3:20-cv-19014         FEARS NACHAWATI LAW FIRM
GIBSON, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-10947         FEARS NACHAWATI LAW FIRM
GIBSON-STARKS, LAWANNA    NJ - USDC for the District of New Jersey   3:20-cv-16901         FEARS NACHAWATI LAW FIRM
GILBERT, ALICE            NJ - USDC for the District of New Jersey   3:20-cv-19033         FEARS NACHAWATI LAW FIRM
GILBERT, CARMEN           NJ - USDC for the District of New Jersey   3:20-cv-16907         FEARS NACHAWATI LAW FIRM
GILCHRIST, PENNY          NJ - USDC for the District of New Jersey   3:20-cv-10542         FEARS NACHAWATI LAW FIRM
GILCHRIST, REGINA         NJ - USDC for the District of New Jersey   3:20-cv-11410         FEARS NACHAWATI LAW FIRM
GILES, IMONIA             NJ - USDC for the District of New Jersey   3:20-cv-11245         FEARS NACHAWATI LAW FIRM
GILLESPIE, JOYCE          NJ - USDC for the District of New Jersey   3:20-cv-16910         FEARS NACHAWATI LAW FIRM
GILLESPIE, LAURA          NJ - USDC for the District of New Jersey   3:20-cv-16919         FEARS NACHAWATI LAW FIRM
GILLETT, LAFETTA          NJ - USDC for the District of New Jersey   3:20-cv-16923         FEARS NACHAWATI LAW FIRM
GILLIAM, DOTTIE           NJ - USDC for the District of New Jersey   3:20-cv-10742         FEARS NACHAWATI LAW FIRM
GILYARD, THELMA           NJ - USDC for the District of New Jersey   3:20-cv-19821         FEARS NACHAWATI LAW FIRM
GINDI, MERVAT             LA - District Court - Jefferson Parish     811-065 C             FEARS NACHAWATI LAW FIRM
GIRADO, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-16939         FEARS NACHAWATI LAW FIRM
GLASS, DIANA              NJ - USDC for the District of New Jersey   3:20-cv-11626         FEARS NACHAWATI LAW FIRM
GLASS, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-11470         FEARS NACHAWATI LAW FIRM
GLASS, WILLIE             NJ - USDC for the District of New Jersey   3:20-cv-16945         FEARS NACHAWATI LAW FIRM
GLEASON, MARILYN          NJ - USDC for the District of New Jersey   3:20-cv-11237         FEARS NACHAWATI LAW FIRM
GLENN, ALFREDIA           NJ - USDC for the District of New Jersey   3:20-cv-19030         FEARS NACHAWATI LAW FIRM
GLISSON, LILLIE           NJ - USDC for the District of New Jersey   3:20-cv-10621         FEARS NACHAWATI LAW FIRM
GOBERT, ISSABELLA         NJ - USDC for the District of New Jersey   3:20-cv-16948         FEARS NACHAWATI LAW FIRM
GODLEWSKI, PHYLISS        NJ - USDC for the District of New Jersey   3:20-cv-16952         FEARS NACHAWATI LAW FIRM
GOETZE, WENDY             NJ - USDC for the District of New Jersey   3:18-cv-13618         FEARS NACHAWATI LAW FIRM
GOLA, LORRAINE            NJ - USDC for the District of New Jersey   3:20-cv-11927         FEARS NACHAWATI LAW FIRM
GOLDEN, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-16956         FEARS NACHAWATI LAW FIRM
GOLDEN, JUNE              NJ - USDC for the District of New Jersey   3:20-cv-18919         FEARS NACHAWATI LAW FIRM
GOLDEN, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-11882         FEARS NACHAWATI LAW FIRM
GOLDER, KARLETTA          NJ - USDC for the District of New Jersey   3:20-cv-16958         FEARS NACHAWATI LAW FIRM
GOMES, ALTINA             NJ - USDC for the District of New Jersey   3:20-cv-11336         FEARS NACHAWATI LAW FIRM
GOMEZ, PORSHA             NJ - USDC for the District of New Jersey   3:20-cv-16960         FEARS NACHAWATI LAW FIRM
GOMEZ, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-16962         FEARS NACHAWATI LAW FIRM
GONZALEZ, HASSEL          NJ - USDC for the District of New Jersey   3:20-cv-16964         FEARS NACHAWATI LAW FIRM
GONZALEZ, LAURA           NJ - USDC for the District of New Jersey   3:18-cv-14676         FEARS NACHAWATI LAW FIRM
GONZALEZ, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-16963         FEARS NACHAWATI LAW FIRM
GONZALEZ, VIVIAN          NJ - USDC for the District of New Jersey   3:20-cv-10608         FEARS NACHAWATI LAW FIRM
GONZALO, IRIS             NJ - USDC for the District of New Jersey   3:20-cv-11148         FEARS NACHAWATI LAW FIRM
GOODEN, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-10765         FEARS NACHAWATI LAW FIRM
GOODFACE, ANNETTE         NJ - USDC for the District of New Jersey   3:20-cv-10696         FEARS NACHAWATI LAW FIRM
GOODING, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-16971         FEARS NACHAWATI LAW FIRM
GOODMAN, AUDREY           NJ - USDC for the District of New Jersey   3:20-cv-15694         FEARS NACHAWATI LAW FIRM
GOODMAN, MARY             NJ - USDC for the District of New Jersey   3:20-cv-03521         FEARS NACHAWATI LAW FIRM
GOODS, EMILY              NJ - USDC for the District of New Jersey   3:20-cv-16974         FEARS NACHAWATI LAW FIRM
GOOLSBY, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-16975         FEARS NACHAWATI LAW FIRM
GORDON, ANGELIE           NJ - USDC for the District of New Jersey   3:20-cv-19067         FEARS NACHAWATI LAW FIRM
GORDON, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-19644         FEARS NACHAWATI LAW FIRM
GORDON, LIZZA             NJ - USDC for the District of New Jersey   3:20-cv-16976         FEARS NACHAWATI LAW FIRM
GOUCH, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-16977         FEARS NACHAWATI LAW FIRM
GRAF, ALICE               NJ - USDC for the District of New Jersey   3:20-cv-16462         FEARS NACHAWATI LAW FIRM
GRAFTON, MANDY            NJ - USDC for the District of New Jersey   3:20-cv-09809         FEARS NACHAWATI LAW FIRM
GRAHAM, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-19652         FEARS NACHAWATI LAW FIRM
GRAHAM, JUANITA           NJ - USDC for the District of New Jersey   3:20-cv-16979         FEARS NACHAWATI LAW FIRM
GRAHAM, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-16996         FEARS NACHAWATI LAW FIRM
GRANT, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-00206         FEARS NACHAWATI LAW FIRM
GRANT, CHERALYN           NJ - USDC for the District of New Jersey   3:20-cv-11511         FEARS NACHAWATI LAW FIRM
GRANT, DARLEAN            NJ - USDC for the District of New Jersey   3:20-cv-10369         FEARS NACHAWATI LAW FIRM
GRANT, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-16998         FEARS NACHAWATI LAW FIRM
GRAVES, KRISTIE           NJ - USDC for the District of New Jersey   3:20-cv-17017         FEARS NACHAWATI LAW FIRM




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          Claimant Name                       State Filed                      Docket Number               Plaintiff Counsel
GRAVES, LORNA                 NJ - USDC for the District of New Jersey   3:20-cv-17006         FEARS NACHAWATI LAW FIRM
GRAVES, ROSE                  NJ - USDC for the District of New Jersey   3:20-cv-17025         FEARS NACHAWATI LAW FIRM
GRAY, GLADYS                  NJ - USDC for the District of New Jersey   3:20-cv-17046         FEARS NACHAWATI LAW FIRM
GRAY, GWENDOLYN               NJ - USDC for the District of New Jersey   3:20-cv-17043         FEARS NACHAWATI LAW FIRM
GRAY, SANDRA                  NJ - USDC for the District of New Jersey   3:20-cv-17034         FEARS NACHAWATI LAW FIRM
GRAY, SHERRI                  NJ - USDC for the District of New Jersey   3:18-cv-13614         FEARS NACHAWATI LAW FIRM
GRAYS, ARZETTA                NJ - USDC for the District of New Jersey   3:20-cv-16391         FEARS NACHAWATI LAW FIRM
GRAYSON, PAMELA               NJ - USDC for the District of New Jersey   3:20-cv-19003         FEARS NACHAWATI LAW FIRM
GREEN, JACQUELINE             NJ - USDC for the District of New Jersey   3:20-cv-17066         FEARS NACHAWATI LAW FIRM
GREEN, LAURIE                 NJ - USDC for the District of New Jersey   3:20-cv-11762         FEARS NACHAWATI LAW FIRM
GREEN, LORETTA                NJ - USDC for the District of New Jersey   3:20-cv-11711         FEARS NACHAWATI LAW FIRM
GREEN, MIA                    NJ - USDC for the District of New Jersey   3:20-cv-11314         FEARS NACHAWATI LAW FIRM
GREENE, ANITA                 NJ - USDC for the District of New Jersey   3:20-cv-13162         FEARS NACHAWATI LAW FIRM
GREENFIELD, LILLIE            NJ - USDC for the District of New Jersey   3:20-cv-17064         FEARS NACHAWATI LAW FIRM
GREENFIELD, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-17061         FEARS NACHAWATI LAW FIRM
GREENHALGH, LOIS              NJ - USDC for the District of New Jersey   3:20-cv-10959         FEARS NACHAWATI LAW FIRM
GREENLEAF, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-11834         FEARS NACHAWATI LAW FIRM
GREENWOOD, DONA               NJ - USDC for the District of New Jersey   3:20-cv-16835         FEARS NACHAWATI LAW FIRM
GREGORY, TERRIE               NJ - USDC for the District of New Jersey   3:20-cv-11451         FEARS NACHAWATI LAW FIRM
GRIFFIN, ALICIA               NJ - USDC for the District of New Jersey   3:20-cv-11496         FEARS NACHAWATI LAW FIRM
GRIFFIN, BARBARA REITZELL     NJ - USDC for the District of New Jersey   3:20-cv-16122         FEARS NACHAWATI LAW FIRM
GRIFFIN, NADINE               NJ - USDC for the District of New Jersey   3:20-cv-18314         FEARS NACHAWATI LAW FIRM
GRIFFIN, PEARLIE              NJ - USDC for the District of New Jersey   3:20-cv-11672         FEARS NACHAWATI LAW FIRM
GRIFFIN, TONDRAH              NJ - USDC for the District of New Jersey   3:20-cv-10615         FEARS NACHAWATI LAW FIRM
GRIFFON, MARGARET             NJ - USDC for the District of New Jersey   3:20-cv-18338         FEARS NACHAWATI LAW FIRM
GRIMBERG, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-18345         FEARS NACHAWATI LAW FIRM
GRIMES, YVETTE                NJ - USDC for the District of New Jersey   3:20-cv-16194         FEARS NACHAWATI LAW FIRM
GRIPPANDO, VIRGINIA           NJ - USDC for the District of New Jersey   3:20-cv-11703         FEARS NACHAWATI LAW FIRM
GRISMORE, LUELLA              NJ - USDC for the District of New Jersey   3:20-cv-19826         FEARS NACHAWATI LAW FIRM
GRISSOM, WILLIE               NJ - USDC for the District of New Jersey   3:20-cv-11802         FEARS NACHAWATI LAW FIRM
GRITTON, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-18352         FEARS NACHAWATI LAW FIRM
GROLER, DAWN                  NJ - USDC for the District of New Jersey   3:20-cv-10704         FEARS NACHAWATI LAW FIRM
GROOMS, SHURIE                NJ - USDC for the District of New Jersey   3:20-cv-07017         FEARS NACHAWATI LAW FIRM
GROOMS, VIVIAN                NJ - USDC for the District of New Jersey   3:20-cv-11681         FEARS NACHAWATI LAW FIRM
GROSS, JACQUELINE             NJ - USDC for the District of New Jersey   3:20-cv-10958         FEARS NACHAWATI LAW FIRM
GROSS, JEAN                   NJ - USDC for the District of New Jersey   3:20-cv-10788         FEARS NACHAWATI LAW FIRM
GROTE, LINDA                  NJ - USDC for the District of New Jersey   3:21-cv-16724         FEARS NACHAWATI LAW FIRM
GUADALUPE, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-19828         FEARS NACHAWATI LAW FIRM
GUERRERO, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-11301         FEARS NACHAWATI LAW FIRM
GUERRERO, RAMONA              NJ - USDC for the District of New Jersey   3:20-cv-10907         FEARS NACHAWATI LAW FIRM
GUGLIOTTI, LOUISE             NJ - USDC for the District of New Jersey   3:20-cv-11813         FEARS NACHAWATI LAW FIRM
GUIDEN, JACQUELINE            NJ - USDC for the District of New Jersey   3:20-cv-13358         FEARS NACHAWATI LAW FIRM
GUILLIAME, VIANELLA           NJ - USDC for the District of New Jersey   3:20-cv-18412         FEARS NACHAWATI LAW FIRM
GUILLORY, RITA                NJ - USDC for the District of New Jersey   3:20-cv-19112         FEARS NACHAWATI LAW FIRM
GUINN, CHERYL                 NJ - USDC for the District of New Jersey   3:20-cv-18416         FEARS NACHAWATI LAW FIRM
GUINN, CLARE                  NJ - USDC for the District of New Jersey   3:20-cv-10684         FEARS NACHAWATI LAW FIRM
GUKASYAN, ANNA                NJ - USDC for the District of New Jersey   3:20-cv-16029         FEARS NACHAWATI LAW FIRM
GULLEY, ALICE                 NJ - USDC for the District of New Jersey   3:20-cv-16470         FEARS NACHAWATI LAW FIRM
GULLEY, PEGGY                 NJ - USDC for the District of New Jersey   3:20-cv-18422         FEARS NACHAWATI LAW FIRM
GURROLA, MARGARITA            NJ - USDC for the District of New Jersey   3:20-cv-19830         FEARS NACHAWATI LAW FIRM
GUSTAFSON, CASSANDRA          NJ - USDC for the District of New Jersey   3:20-cv-19131         FEARS NACHAWATI LAW FIRM
GUSTAFSON, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-11260         FEARS NACHAWATI LAW FIRM
GUSTAFSON, PAULETTE           NJ - USDC for the District of New Jersey   3:20-cv-11354         FEARS NACHAWATI LAW FIRM
GUTIERREZ, MARGARITA          NJ - USDC for the District of New Jersey   3:19-cv-20938         FEARS NACHAWATI LAW FIRM
GUTIERREZ-CARRABALLO, GLORA   NJ - USDC for the District of New Jersey   3:20-cv-18428         FEARS NACHAWATI LAW FIRM
GUTTILLA, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-18438         FEARS NACHAWATI LAW FIRM
GYLLING, LENORA               NJ - USDC for the District of New Jersey   3:20-cv-10921         FEARS NACHAWATI LAW FIRM
HAAG, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-18441         FEARS NACHAWATI LAW FIRM
HAAS, JUDITH                  NJ - USDC for the District of New Jersey   3:20-cv-18452         FEARS NACHAWATI LAW FIRM
HADAD, ANITA                  NJ - USDC for the District of New Jersey   3:20-cv-13121         FEARS NACHAWATI LAW FIRM
HAEBLER, TRIXIE               NJ - USDC for the District of New Jersey   3:20-cv-18455         FEARS NACHAWATI LAW FIRM
HAGGERTY, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-18458         FEARS NACHAWATI LAW FIRM
HAGLER, KRISTEN               NJ - USDC for the District of New Jersey   3:20-cv-11477         FEARS NACHAWATI LAW FIRM
HAGLER, TRACY                 NJ - USDC for the District of New Jersey   3:20-cv-19642         FEARS NACHAWATI LAW FIRM
HAGUE, ROBERTA                NJ - USDC for the District of New Jersey   3:20-cv-18459         FEARS NACHAWATI LAW FIRM
HAHN, SHELBA                  NJ - USDC for the District of New Jersey   3:20-cv-11774         FEARS NACHAWATI LAW FIRM
HAILEY, MARTHA                NJ - USDC for the District of New Jersey   3:20-cv-19214         FEARS NACHAWATI LAW FIRM
HALAGARDA, BEV                NJ - USDC for the District of New Jersey   3:20-cv-18482         FEARS NACHAWATI LAW FIRM
HALE, FANNIE                  NJ - USDC for the District of New Jersey   3:20-cv-18485         FEARS NACHAWATI LAW FIRM
HALE, ROXANNE                 NJ - USDC for the District of New Jersey   3:20-cv-19236         FEARS NACHAWATI LAW FIRM
HALEY, BESSIE                 NJ - USDC for the District of New Jersey   3:20-cv-11468         FEARS NACHAWATI LAW FIRM
HALL, ANNA                    NJ - USDC for the District of New Jersey   3:20-cv-16036         FEARS NACHAWATI LAW FIRM
HALL, CASSANDRA               NJ - USDC for the District of New Jersey   3:20-cv-19119         FEARS NACHAWATI LAW FIRM
HALL, PATRICIA                NJ - USDC for the District of New Jersey   3:20-cv-11633         FEARS NACHAWATI LAW FIRM
HALL, RACHEL                  NJ - USDC for the District of New Jersey   3:20-cv-18498         FEARS NACHAWATI LAW FIRM
HALL, STEPHANIE               NJ - USDC for the District of New Jersey   3:20-cv-19258         FEARS NACHAWATI LAW FIRM
HALL, TARA                    NJ - USDC for the District of New Jersey   3:20-cv-18512         FEARS NACHAWATI LAW FIRM
HALMAS, KELLY                 NJ - USDC for the District of New Jersey   3:20-cv-19273         FEARS NACHAWATI LAW FIRM
HAM, KELLEY                   NJ - USDC for the District of New Jersey   3:18-cv-13638         FEARS NACHAWATI LAW FIRM
HAMBERSONIAN, ALIS            NJ - USDC for the District of New Jersey   3:20-cv-19042         FEARS NACHAWATI LAW FIRM




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
HAMBLIN, FOREST              NJ - USDC for the District of New Jersey   3:20-cv-19293         FEARS NACHAWATI LAW FIRM
HAMBY, KATHY                 NJ - USDC for the District of New Jersey   3:20-cv-12044         FEARS NACHAWATI LAW FIRM
HAMBY, MARANDA               NJ - USDC for the District of New Jersey   3:20-cv-10988         FEARS NACHAWATI LAW FIRM
HAMILTON, DAYANA             NJ - USDC for the District of New Jersey   3:20-cv-10579         FEARS NACHAWATI LAW FIRM
HAMILTON, FRANKIE            NJ - USDC for the District of New Jersey   3:20-cv-18425         FEARS NACHAWATI LAW FIRM
HAMILTON, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-11646         FEARS NACHAWATI LAW FIRM
HAMMER, JONI                 NJ - USDC for the District of New Jersey   3:20-cv-13270         FEARS NACHAWATI LAW FIRM
HAMMERS, LORRAINE            NJ - USDC for the District of New Jersey   3:20-cv-19835         FEARS NACHAWATI LAW FIRM
HAMMOND-WILLIAMS, JEANETTE   NJ - USDC for the District of New Jersey   3:20-cv-11255         FEARS NACHAWATI LAW FIRM
HAMPTON, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-19661         FEARS NACHAWATI LAW FIRM
HAMPTON, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-20027         FEARS NACHAWATI LAW FIRM
HANCOCK, LOIS                NJ - USDC for the District of New Jersey   3:20-cv-11286         FEARS NACHAWATI LAW FIRM
HANCOCK, SHARON              NJ - USDC for the District of New Jersey   3:20-cv-18430         FEARS NACHAWATI LAW FIRM
HANDY, BESSIE                NJ - USDC for the District of New Jersey   3:20-cv-18469         FEARS NACHAWATI LAW FIRM
HANKINS, JUANITA             NJ - USDC for the District of New Jersey   3:20-cv-18436         FEARS NACHAWATI LAW FIRM
HANNA, YAMILET               NJ - USDC for the District of New Jersey   3:20-cv-18657         FEARS NACHAWATI LAW FIRM
HANSEN, BRENDA               NJ - USDC for the District of New Jersey   3:20-cv-13326         FEARS NACHAWATI LAW FIRM
HANSON, ANTOINETTE           NJ - USDC for the District of New Jersey   3:20-cv-11077         FEARS NACHAWATI LAW FIRM
HARDEN, SHARON               NJ - USDC for the District of New Jersey   3:20-cv-11378         FEARS NACHAWATI LAW FIRM
HARDESTY, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-18442         FEARS NACHAWATI LAW FIRM
HARDING, BOBBIE              NJ - USDC for the District of New Jersey   3:20-cv-11442         FEARS NACHAWATI LAW FIRM
HARDISON, SHARIF             NJ - USDC for the District of New Jersey   3:20-cv-18450         FEARS NACHAWATI LAW FIRM
HARDWICK, GERI               NJ - USDC for the District of New Jersey   3:20-cv-19298         FEARS NACHAWATI LAW FIRM
HARDY, CAROL                 NJ - USDC for the District of New Jersey   3:20-cv-11832         FEARS NACHAWATI LAW FIRM
HARE, VICKI                  NJ - USDC for the District of New Jersey   3:20-cv-18457         FEARS NACHAWATI LAW FIRM
HAREMZA, GRACE               NJ - USDC for the District of New Jersey   3:20-cv-12049         FEARS NACHAWATI LAW FIRM
HARGIS, JUDY                 NJ - USDC for the District of New Jersey   3:20-cv-18462         FEARS NACHAWATI LAW FIRM
HARGRAVE, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-15678         FEARS NACHAWATI LAW FIRM
HARGROVE, LUCILLE            NJ - USDC for the District of New Jersey   3:19-cv-20886         FEARS NACHAWATI LAW FIRM
HARLAN, CHERYL               NJ - USDC for the District of New Jersey   3:20-cv-17375         FEARS NACHAWATI LAW FIRM
HARLOW, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-17445         FEARS NACHAWATI LAW FIRM
HARMAN, SHIRLEY              NJ - USDC for the District of New Jersey   3:20-cv-11728         FEARS NACHAWATI LAW FIRM
HARMON, TANGERLEY            NJ - USDC for the District of New Jersey   3:20-cv-17508         FEARS NACHAWATI LAW FIRM
HARMS, MILDRED               NJ - USDC for the District of New Jersey   3:20-cv-11023         FEARS NACHAWATI LAW FIRM
HARPER, BELINDA              NJ - USDC for the District of New Jersey   3:20-cv-10675         FEARS NACHAWATI LAW FIRM
HARRINGTON, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-17379         FEARS NACHAWATI LAW FIRM
HARRIS, ALISON               NJ - USDC for the District of New Jersey   3:20-cv-13122         FEARS NACHAWATI LAW FIRM
HARRIS, ASHLEY               NJ - USDC for the District of New Jersey   3:20-cv-09588         FEARS NACHAWATI LAW FIRM
HARRIS, BENITA               NJ - USDC for the District of New Jersey   3:20-cv-18478         FEARS NACHAWATI LAW FIRM
HARRIS, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-17121         FEARS NACHAWATI LAW FIRM
HARRIS, EVELYN               NJ - USDC for the District of New Jersey   3:20-cv-17394         FEARS NACHAWATI LAW FIRM
HARRIS, JACQUELINE           NJ - USDC for the District of New Jersey   3:20-cv-17401         FEARS NACHAWATI LAW FIRM
HARRIS, KENYETTA             NJ - USDC for the District of New Jersey   3:20-cv-17120         FEARS NACHAWATI LAW FIRM
HARRIS, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-19341         FEARS NACHAWATI LAW FIRM
HARRIS, MARIAN               NJ - USDC for the District of New Jersey   3:20-cv-11198         FEARS NACHAWATI LAW FIRM
HARRIS, ODIE                 NJ - USDC for the District of New Jersey   3:20-cv-18651         FEARS NACHAWATI LAW FIRM
HARRIS, SHAUNTOY             NJ - USDC for the District of New Jersey   3:20-cv-17256         FEARS NACHAWATI LAW FIRM
HARRIS-HACKWORTH-
                             NJ - USDC for the District of New Jersey   3:20-cv-17106         FEARS NACHAWATI LAW FIRM
MALDONADO, TONYA
HARRISON, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-02044         FEARS NACHAWATI LAW FIRM
HARRISON, MYRTLE             NJ - USDC for the District of New Jersey   3:20-cv-17125         FEARS NACHAWATI LAW FIRM
HARROLD, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17129         FEARS NACHAWATI LAW FIRM
HARSHAW, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17133         FEARS NACHAWATI LAW FIRM
HARSHBARGER, ANGELA          NJ - USDC for the District of New Jersey   3:19-cv-16350         FEARS NACHAWATI LAW FIRM
HART, SONJA                  NJ - USDC for the District of New Jersey   3:20-cv-17140         FEARS NACHAWATI LAW FIRM
HART, TICOPIA                NJ - USDC for the District of New Jersey   3:20-cv-18785         FEARS NACHAWATI LAW FIRM
HARTLEY, PAMELA              NJ - USDC for the District of New Jersey   3:20-cv-17185         FEARS NACHAWATI LAW FIRM
HARTMAN, DEIDRA              NJ - USDC for the District of New Jersey   3:20-cv-12047         FEARS NACHAWATI LAW FIRM
HARTMAN, MARSHA              NJ - USDC for the District of New Jersey   3:20-cv-19355         FEARS NACHAWATI LAW FIRM
HARTMAN, TONIA               NJ - USDC for the District of New Jersey   3:20-cv-19838         FEARS NACHAWATI LAW FIRM
HARTNETT, DARLA              NJ - USDC for the District of New Jersey   3:20-cv-11479         FEARS NACHAWATI LAW FIRM
HARTSFIELD, LADEVIA          NJ - USDC for the District of New Jersey   3:20-cv-10096         FEARS NACHAWATI LAW FIRM
HARVEY, ANGELA               NJ - USDC for the District of New Jersey   3:20-cv-15897         FEARS NACHAWATI LAW FIRM
HARVEY, KAREN                NJ - USDC for the District of New Jersey   3:20-cv-01239         FEARS NACHAWATI LAW FIRM
HARVEY, SHERRELLE            NJ - USDC for the District of New Jersey   3:20-cv-09450         FEARS NACHAWATI LAW FIRM
HASHIM, SADIYA               NJ - USDC for the District of New Jersey   3:20-cv-17181         FEARS NACHAWATI LAW FIRM
HASPER, STEPHANIE            NJ - USDC for the District of New Jersey   3:20-cv-17174         FEARS NACHAWATI LAW FIRM
HATTEN, JASMINE              NJ - USDC for the District of New Jersey   3:20-cv-17312         FEARS NACHAWATI LAW FIRM
HAUPT, CARLA                 NJ - USDC for the District of New Jersey   3:20-cv-11544         FEARS NACHAWATI LAW FIRM
HAVENS-CURTIS, DONNA         NJ - USDC for the District of New Jersey   3:20-cv-17264         FEARS NACHAWATI LAW FIRM
HAVERSTICK, ELIZABETH        NJ - USDC for the District of New Jersey   3:20-cv-17267         FEARS NACHAWATI LAW FIRM
HAWKINS, RENADA              NJ - USDC for the District of New Jersey   3:20-cv-07747         FEARS NACHAWATI LAW FIRM
HAWKINS, SUZANNE             NJ - USDC for the District of New Jersey   3:20-cv-17273         FEARS NACHAWATI LAW FIRM
HAWKINS, TWAKAWANA           NJ - USDC for the District of New Jersey   3:20-cv-17272         FEARS NACHAWATI LAW FIRM
HAWKINS-NEWTON, RHONDA       NJ - USDC for the District of New Jersey   3:19-cv-00193         FEARS NACHAWATI LAW FIRM
HAWTHORNE, TIFFENY           NJ - USDC for the District of New Jersey   3:18-cv-13563         FEARS NACHAWATI LAW FIRM
HAY, CAROL                   NJ - USDC for the District of New Jersey   3:20-cv-13180         FEARS NACHAWATI LAW FIRM
HAYDEN, TAMMY                NJ - USDC for the District of New Jersey   3:20-cv-19549         FEARS NACHAWATI LAW FIRM
HAYES, ANNIE                 NJ - USDC for the District of New Jersey   3:20-cv-16248         FEARS NACHAWATI LAW FIRM
HAYES, DEBRA                 NJ - USDC for the District of New Jersey   3:20-cv-18411         FEARS NACHAWATI LAW FIRM




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HAYES, JEANNETTE           NJ - USDC for the District of New Jersey   3:20-cv-10791         FEARS NACHAWATI LAW FIRM
HAYES, MERLE               NJ - USDC for the District of New Jersey   3:20-cv-20035         FEARS NACHAWATI LAW FIRM
HAYES, RITA                NJ - USDC for the District of New Jersey   3:20-cv-17275         FEARS NACHAWATI LAW FIRM
HAYES, STACY               NJ - USDC for the District of New Jersey   3:20-cv-17274         FEARS NACHAWATI LAW FIRM
HAYNES, GLENDA             NJ - USDC for the District of New Jersey   3:20-cv-17276         FEARS NACHAWATI LAW FIRM
HAYS, MADONNA              NJ - USDC for the District of New Jersey   3:20-cv-17277         FEARS NACHAWATI LAW FIRM
HAZEL, TERESA              NJ - USDC for the District of New Jersey   3:20-cv-11562         FEARS NACHAWATI LAW FIRM
HAZELGROVE, ARLINE         NJ - USDC for the District of New Jersey   3:20-cv-11348         FEARS NACHAWATI LAW FIRM
HAZELTON, VALERIE          NJ - USDC for the District of New Jersey   3:20-cv-17315         FEARS NACHAWATI LAW FIRM
HEAD, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-17317         FEARS NACHAWATI LAW FIRM
HEALD, ISABELLE            NJ - USDC for the District of New Jersey   3:20-cv-19369         FEARS NACHAWATI LAW FIRM
HEARD, HAZEL               NJ - USDC for the District of New Jersey   3:20-cv-19004         FEARS NACHAWATI LAW FIRM
HEARVEY, ETHIA             NJ - USDC for the District of New Jersey   3:20-cv-20165         FEARS NACHAWATI LAW FIRM
HEATH, GWENDOLYN           NJ - USDC for the District of New Jersey   3:20-cv-17319         FEARS NACHAWATI LAW FIRM
HECK, DIANE                NJ - USDC for the District of New Jersey   3:20-cv-18980         FEARS NACHAWATI LAW FIRM
HEEDLES-NIEVES, TIFFANY    NJ - USDC for the District of New Jersey   3:20-cv-17323         FEARS NACHAWATI LAW FIRM
HEGVOLD, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-17092         FEARS NACHAWATI LAW FIRM
HEISZ, KATHI               NJ - USDC for the District of New Jersey   3:20-cv-13302         FEARS NACHAWATI LAW FIRM
HELM, CHRISTINA            NJ - USDC for the District of New Jersey   3:20-cv-11200         FEARS NACHAWATI LAW FIRM
HENDERSON, AMANDA          NJ - USDC for the District of New Jersey   3:20-cv-10283         FEARS NACHAWATI LAW FIRM
HENDERSON, MARGIE          NJ - USDC for the District of New Jersey   3:20-cv-19841         FEARS NACHAWATI LAW FIRM
HENDLEY, TANICA            NJ - USDC for the District of New Jersey   3:20-cv-19396         FEARS NACHAWATI LAW FIRM
HENDRYX, DELLA             NJ - USDC for the District of New Jersey   3:20-cv-10580         FEARS NACHAWATI LAW FIRM
HENRY, CHRISTY             NJ - USDC for the District of New Jersey   3:20-cv-10997         FEARS NACHAWATI LAW FIRM
HENRY, JEAN                NJ - USDC for the District of New Jersey   3:18-cv-15485         FEARS NACHAWATI LAW FIRM
HENRY, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-13331         FEARS NACHAWATI LAW FIRM
HENRY, SHERREE             NJ - USDC for the District of New Jersey   3:20-cv-16992         FEARS NACHAWATI LAW FIRM
HENRYHAND, SELINE          NJ - USDC for the District of New Jersey   3:20-cv-19426         FEARS NACHAWATI LAW FIRM
HENRY-LORELLI, JENNIFER    NJ - USDC for the District of New Jersey   3:20-cv-17073         FEARS NACHAWATI LAW FIRM
HENSELL, SHEILA            NJ - USDC for the District of New Jersey   3:20-cv-09850         FEARS NACHAWATI LAW FIRM
HENTZ, EVELYN              NJ - USDC for the District of New Jersey   3:20-cv-19437         FEARS NACHAWATI LAW FIRM
HERBERT, VALARY            NJ - USDC for the District of New Jersey   3:20-cv-16999         FEARS NACHAWATI LAW FIRM
HERMAN-JOHNSON, ELOISE     NJ - USDC for the District of New Jersey   3:20-cv-17054         FEARS NACHAWATI LAW FIRM
HERMESMAN, MARY            NJ - USDC for the District of New Jersey   3:20-cv-17042         FEARS NACHAWATI LAW FIRM
HERNANDEZ, GRISELDA        NJ - USDC for the District of New Jersey   3:20-cv-19485         FEARS NACHAWATI LAW FIRM
HERNANDEZ, VERA            NJ - USDC for the District of New Jersey   3:20-cv-19961         FEARS NACHAWATI LAW FIRM
HERRINGTON, ANNA           NJ - USDC for the District of New Jersey   3:20-cv-16077         FEARS NACHAWATI LAW FIRM
HERSMAN, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-17077         FEARS NACHAWATI LAW FIRM
HERZING, DEBBIE            NJ - USDC for the District of New Jersey   3:20-cv-17045         FEARS NACHAWATI LAW FIRM
HESS, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-16132         FEARS NACHAWATI LAW FIRM
HEUVEL, VIVIANE            NJ - USDC for the District of New Jersey   3:20-cv-16994         FEARS NACHAWATI LAW FIRM
HEWITT, SHARYL             NJ - USDC for the District of New Jersey   3:20-cv-17015         FEARS NACHAWATI LAW FIRM
HICKEY, ROSEANN            NJ - USDC for the District of New Jersey   3:20-cv-19500         FEARS NACHAWATI LAW FIRM
HICKS, HATTIE              NJ - USDC for the District of New Jersey   3:20-cv-10858         FEARS NACHAWATI LAW FIRM
HICKS, NICHOLE             NJ - USDC for the District of New Jersey   3:20-cv-17038         FEARS NACHAWATI LAW FIRM
HICKS, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-17029         FEARS NACHAWATI LAW FIRM
HIETPAS, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-17102         FEARS NACHAWATI LAW FIRM
HIGGINS, JOANN             NJ - USDC for the District of New Jersey   3:20-cv-17089         FEARS NACHAWATI LAW FIRM
HIGGINS, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-11892         FEARS NACHAWATI LAW FIRM
HIGGINS, KIM               NJ - USDC for the District of New Jersey   3:20-cv-19053         FEARS NACHAWATI LAW FIRM
HIGGINS-MULDER, CHARLINE   NJ - USDC for the District of New Jersey   3:20-cv-12015         FEARS NACHAWATI LAW FIRM
HIGHTOWER, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-16035         FEARS NACHAWATI LAW FIRM
HILBURN-HENDERSON, QV      NJ - USDC for the District of New Jersey   3:20-cv-17105         FEARS NACHAWATI LAW FIRM
HILL, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-11592         FEARS NACHAWATI LAW FIRM
HILL, JULIA                NJ - USDC for the District of New Jersey   3:20-cv-10842         FEARS NACHAWATI LAW FIRM
HILL, JULIE                NJ - USDC for the District of New Jersey   3:20-cv-17446         FEARS NACHAWATI LAW FIRM
HILL, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-16134         FEARS NACHAWATI LAW FIRM
HILL, LORI                 NJ - USDC for the District of New Jersey   3:20-cv-17057         FEARS NACHAWATI LAW FIRM
HILL, TERRI                NJ - USDC for the District of New Jersey   3:20-cv-17005         FEARS NACHAWATI LAW FIRM
HILL, TIMIRRA              NJ - USDC for the District of New Jersey   3:20-cv-11389         FEARS NACHAWATI LAW FIRM
HILL, TINA                 NJ - USDC for the District of New Jersey   3:20-cv-11814         FEARS NACHAWATI LAW FIRM
HILL, VENISE               NJ - USDC for the District of New Jersey   3:20-cv-19959         FEARS NACHAWATI LAW FIRM
HILL, YOKEASHA             NJ - USDC for the District of New Jersey   3:20-cv-10991         FEARS NACHAWATI LAW FIRM
HILL-BROWN, JOSEPHINE      NJ - USDC for the District of New Jersey   3:19-cv-20068         FEARS NACHAWATI LAW FIRM
HILLIARD, EUNICE           NJ - USDC for the District of New Jersey   3:20-cv-19530         FEARS NACHAWATI LAW FIRM
HILLYER, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-00558         FEARS NACHAWATI LAW FIRM
HINDMAN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-17097         FEARS NACHAWATI LAW FIRM
HINES, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-13208         FEARS NACHAWATI LAW FIRM
HINMON, HEATHER            NJ - USDC for the District of New Jersey   3:20-cv-17071         FEARS NACHAWATI LAW FIRM
HINOJOSA, ROSA             NJ - USDC for the District of New Jersey   3:20-cv-17086         FEARS NACHAWATI LAW FIRM
HINOTE, SYLVIA             NJ - USDC for the District of New Jersey   3:20-cv-17010         FEARS NACHAWATI LAW FIRM
HINTZ, VICELDA             NJ - USDC for the District of New Jersey   3:20-cv-16997         FEARS NACHAWATI LAW FIRM
HIRST, JANIE               NJ - USDC for the District of New Jersey   3:20-cv-19935         FEARS NACHAWATI LAW FIRM
HISH, DORIS                NJ - USDC for the District of New Jersey   3:20-cv-10748         FEARS NACHAWATI LAW FIRM
HIXON, VALARIE             NJ - USDC for the District of New Jersey   3:20-cv-17084         FEARS NACHAWATI LAW FIRM
HOBBS, AYESIA              NJ - USDC for the District of New Jersey   3:20-cv-15986         FEARS NACHAWATI LAW FIRM
HOBBS, DOLLISHA            NJ - USDC for the District of New Jersey   3:20-cv-10738         FEARS NACHAWATI LAW FIRM
HODGES, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-18606         FEARS NACHAWATI LAW FIRM
HOFF, CHRISTINA            NJ - USDC for the District of New Jersey   3:17-cv-08401         FEARS NACHAWATI LAW FIRM
HOFFMAN, KATHYA            NJ - USDC for the District of New Jersey   3:20-cv-11272         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HOFFNER, MELISSA          NJ - USDC for the District of New Jersey   3:20-cv-10942         FEARS NACHAWATI LAW FIRM
HOHNEKER, MAXINE          NJ - USDC for the District of New Jersey   3:20-cv-11883         FEARS NACHAWATI LAW FIRM
HOLDEN, ANTOINETTE        NJ - USDC for the District of New Jersey   3:20-cv-11692         FEARS NACHAWATI LAW FIRM
HOLDEN, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-11044         FEARS NACHAWATI LAW FIRM
HOLDEN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11790         FEARS NACHAWATI LAW FIRM
HOLDER, SOPHIA            NJ - USDC for the District of New Jersey   3:20-cv-18465         FEARS NACHAWATI LAW FIRM
HOLLAND, KIM              NJ - USDC for the District of New Jersey   3:18-cv-02808         FEARS NACHAWATI LAW FIRM
HOLLAND, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-17023         FEARS NACHAWATI LAW FIRM
HOLLOWAY, LAKEZIA         NJ - USDC for the District of New Jersey   3:20-cv-17080         FEARS NACHAWATI LAW FIRM
HOLLOWAY, SONYA           NJ - USDC for the District of New Jersey   3:20-cv-19550         FEARS NACHAWATI LAW FIRM
HOLMES, LATOSHA           NJ - USDC for the District of New Jersey   3:20-cv-10870         FEARS NACHAWATI LAW FIRM
HOLMES, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-11303         FEARS NACHAWATI LAW FIRM
HOLMES, MARLENE           NJ - USDC for the District of New Jersey   3:20-cv-11281         FEARS NACHAWATI LAW FIRM
HOLMES, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17016         FEARS NACHAWATI LAW FIRM
HOLMQUIST, ELAINE         NJ - USDC for the District of New Jersey   3:18-cv-03935         FEARS NACHAWATI LAW FIRM
HOLTON, EUNITA            NJ - USDC for the District of New Jersey   3:20-cv-17021         FEARS NACHAWATI LAW FIRM
HOLZ, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-10864         FEARS NACHAWATI LAW FIRM
HONEYCUTT, RACHEAL        NJ - USDC for the District of New Jersey   3:20-cv-17027         FEARS NACHAWATI LAW FIRM
HOOKS, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-17035         FEARS NACHAWATI LAW FIRM
HOOVER, CHERI             NJ - USDC for the District of New Jersey   3:20-cv-17059         FEARS NACHAWATI LAW FIRM
HOOVER, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-17068         FEARS NACHAWATI LAW FIRM
HOPKINS, SHANNON          NJ - USDC for the District of New Jersey   3:20-cv-15745         FEARS NACHAWATI LAW FIRM
HORSE, CARLA HIGH         NJ - USDC for the District of New Jersey   3:20-cv-17031         FEARS NACHAWATI LAW FIRM
HORTON, WYVONNA           NJ - USDC for the District of New Jersey   3:20-cv-11972         FEARS NACHAWATI LAW FIRM
HOSEIN, CHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-17076         FEARS NACHAWATI LAW FIRM
HOSKINS, BEVERLY          NJ - USDC for the District of New Jersey   3:20-cv-11499         FEARS NACHAWATI LAW FIRM
HOUSE, DIONDRA            NJ - USDC for the District of New Jersey   3:20-cv-17090         FEARS NACHAWATI LAW FIRM
HOUSE, TANIKA             NJ - USDC for the District of New Jersey   3:20-cv-10920         FEARS NACHAWATI LAW FIRM
HOWARD, EMMA              NJ - USDC for the District of New Jersey   3:20-cv-11555         FEARS NACHAWATI LAW FIRM
HUBBARD, CHRISTINE        NJ - USDC for the District of New Jersey   3:20-cv-00197         FEARS NACHAWATI LAW FIRM
HUBBARD, VIIA             NJ - USDC for the District of New Jersey   3:20-cv-12059         FEARS NACHAWATI LAW FIRM
HUBBARD, VIRGINIA         NJ - USDC for the District of New Jersey   3:20-cv-17112         FEARS NACHAWATI LAW FIRM
HUBER, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-19669         FEARS NACHAWATI LAW FIRM
HUBER, GLADYS             NJ - USDC for the District of New Jersey   3:20-cv-19254         FEARS NACHAWATI LAW FIRM
HUCH, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-13425         FEARS NACHAWATI LAW FIRM
HUCKABEE, ASHLEY          NJ - USDC for the District of New Jersey   3:20-cv-15953         FEARS NACHAWATI LAW FIRM
HUDAK, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-17143         FEARS NACHAWATI LAW FIRM
HUDDLESTON, SARAH         NJ - USDC for the District of New Jersey   3:20-cv-01221         FEARS NACHAWATI LAW FIRM
HUDSON, BELINDA           NJ - USDC for the District of New Jersey   3:21-cv-14127         FEARS NACHAWATI LAW FIRM
HUDSON, JANET             NJ - USDC for the District of New Jersey   3:20-cv-20061         FEARS NACHAWATI LAW FIRM
HUEY, MAMIE               NJ - USDC for the District of New Jersey   3:20-cv-17147         FEARS NACHAWATI LAW FIRM
HUFF, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-10437         FEARS NACHAWATI LAW FIRM
HUFF, SALLY               NJ - USDC for the District of New Jersey   3:20-cv-15823         FEARS NACHAWATI LAW FIRM
HUFFINE, SHANNON          NJ - USDC for the District of New Jersey   3:20-cv-10591         FEARS NACHAWATI LAW FIRM
HUFKINS, CATHY            NJ - USDC for the District of New Jersey   3:18-cv-13653         FEARS NACHAWATI LAW FIRM
HUGHES, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-17150         FEARS NACHAWATI LAW FIRM
HUGHES, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-18473         FEARS NACHAWATI LAW FIRM
HUGHES, ELLA              NJ - USDC for the District of New Jersey   3:20-cv-17158         FEARS NACHAWATI LAW FIRM
HUMBLE, ROBERTA           NJ - USDC for the District of New Jersey   3:20-cv-19393         FEARS NACHAWATI LAW FIRM
HUMPHREY, DELLA           NJ - USDC for the District of New Jersey   3:20-cv-13397         FEARS NACHAWATI LAW FIRM
HUMPHREY, JULIE           NJ - USDC for the District of New Jersey   3:20-cv-10855         FEARS NACHAWATI LAW FIRM
HUNLEY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11698         FEARS NACHAWATI LAW FIRM
HUNT, BONNIE              NJ - USDC for the District of New Jersey   3:20-cv-10661         FEARS NACHAWATI LAW FIRM
HUNT, LISA                NJ - USDC for the District of New Jersey   3:20-cv-19344         FEARS NACHAWATI LAW FIRM
HUNT, MELANIE             NJ - USDC for the District of New Jersey   3:20-cv-11310         FEARS NACHAWATI LAW FIRM
HUNT, MILLIE              NJ - USDC for the District of New Jersey   3:20-cv-17166         FEARS NACHAWATI LAW FIRM
HUNTER, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-16138         FEARS NACHAWATI LAW FIRM
HUNTER, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-16009         FEARS NACHAWATI LAW FIRM
HURST, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-19311         FEARS NACHAWATI LAW FIRM
HURST, MARY               NJ - USDC for the District of New Jersey   3:20-cv-11304         FEARS NACHAWATI LAW FIRM
HURT, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17171         FEARS NACHAWATI LAW FIRM
HURT, RONICA              NJ - USDC for the District of New Jersey   3:20-cv-10983         FEARS NACHAWATI LAW FIRM
HUSTED, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-13156         FEARS NACHAWATI LAW FIRM
HUTCHESON, JILL           NJ - USDC for the District of New Jersey   3:20-cv-17173         FEARS NACHAWATI LAW FIRM
HUTCHINSON, THURSDAY      NJ - USDC for the District of New Jersey   3:20-cv-11817         FEARS NACHAWATI LAW FIRM
HYDE, EMMA                NJ - USDC for the District of New Jersey   3:20-cv-17179         FEARS NACHAWATI LAW FIRM
IIDA, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-17184         FEARS NACHAWATI LAW FIRM
ILOILO, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-17188         FEARS NACHAWATI LAW FIRM
INGENTHRON, ROSA          NJ - USDC for the District of New Jersey   3:20-cv-19402         FEARS NACHAWATI LAW FIRM
INGRAHAM, SHOYNDELLE      NJ - USDC for the District of New Jersey   3:20-cv-17198         FEARS NACHAWATI LAW FIRM
INGRAM, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-11781         FEARS NACHAWATI LAW FIRM
INGRAM, VIRGIE            NJ - USDC for the District of New Jersey   3:19-cv-15161         FEARS NACHAWATI LAW FIRM
INMAN, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-15857         FEARS NACHAWATI LAW FIRM
IROZ, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-17201         FEARS NACHAWATI LAW FIRM
IRVIN, VERNA              NJ - USDC for the District of New Jersey   3:20-cv-11808         FEARS NACHAWATI LAW FIRM
ISGRO, JOANNE             NJ - USDC for the District of New Jersey   3:20-cv-17217         FEARS NACHAWATI LAW FIRM
ISTVANOVICH, PATRICIA     NJ - USDC for the District of New Jersey   3:20-cv-17225         FEARS NACHAWATI LAW FIRM
IVEY, TERRY               NJ - USDC for the District of New Jersey   3:20-cv-18615         FEARS NACHAWATI LAW FIRM
IVLER, LAURIE             NJ - USDC for the District of New Jersey   3:20-cv-17013         FEARS NACHAWATI LAW FIRM
JACK, ADRIAN              NJ - USDC for the District of New Jersey   3:18-cv-16152         FEARS NACHAWATI LAW FIRM




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
JACKSON, ADA               NJ - USDC for the District of New Jersey   3:20-cv-19025         FEARS NACHAWATI LAW FIRM
JACKSON, ALVINA            NJ - USDC for the District of New Jersey   3:17-cv-02009         FEARS NACHAWATI LAW FIRM
JACKSON, AUDREY            NJ - USDC for the District of New Jersey   3:20-cv-19476         FEARS NACHAWATI LAW FIRM
JACKSON, BOBBIE            NJ - USDC for the District of New Jersey   3:20-cv-18523         FEARS NACHAWATI LAW FIRM
JACKSON, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-11473         FEARS NACHAWATI LAW FIRM
JACKSON, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-13201         FEARS NACHAWATI LAW FIRM
JACKSON, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-15898         FEARS NACHAWATI LAW FIRM
JACKSON, FANNIE            NJ - USDC for the District of New Jersey   3:20-cv-19022         FEARS NACHAWATI LAW FIRM
JACKSON, HILDA             NJ - USDC for the District of New Jersey   3:20-cv-19165         FEARS NACHAWATI LAW FIRM
JACKSON, JAMIE             NJ - USDC for the District of New Jersey   3:20-cv-18508         FEARS NACHAWATI LAW FIRM
JACKSON, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-13396         FEARS NACHAWATI LAW FIRM
JACKSON, LAVERDA           NJ - USDC for the District of New Jersey   3:20-cv-17028         FEARS NACHAWATI LAW FIRM
JACKSON, LELA              NJ - USDC for the District of New Jersey   3:20-cv-19334         FEARS NACHAWATI LAW FIRM
JACKSON, LILLIE            NJ - USDC for the District of New Jersey   3:20-cv-17037         FEARS NACHAWATI LAW FIRM
JACKSON, MAKESHA           NJ - USDC for the District of New Jersey   3:20-cv-19850         FEARS NACHAWATI LAW FIRM
JACKSON, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-17058         FEARS NACHAWATI LAW FIRM
JACKSON, MYRA              NJ - USDC for the District of New Jersey   3:20-cv-11027         FEARS NACHAWATI LAW FIRM
JACKSON, PAULINE           NJ - USDC for the District of New Jersey   3:20-cv-19373         FEARS NACHAWATI LAW FIRM
JACKSON, RUBY              NJ - USDC for the District of New Jersey   3:20-cv-17047         FEARS NACHAWATI LAW FIRM
JACKSON, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-19947         FEARS NACHAWATI LAW FIRM
JACKSON, VIVIAN            NJ - USDC for the District of New Jersey   3:20-cv-12058         FEARS NACHAWATI LAW FIRM
JACKSON, YVONNE            NJ - USDC for the District of New Jersey   3:20-cv-19467         FEARS NACHAWATI LAW FIRM
JACOBS, STEPHANIE          NJ - USDC for the District of New Jersey   3:20-cv-17088         FEARS NACHAWATI LAW FIRM
JACOBSON, VERNA            NJ - USDC for the District of New Jersey   3:20-cv-19508         FEARS NACHAWATI LAW FIRM
JACQUES, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11704         FEARS NACHAWATI LAW FIRM
JAEHNIG, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-18959         FEARS NACHAWATI LAW FIRM
JAKOBETZ, ROBERTA          NJ - USDC for the District of New Jersey   3:20-cv-19138         FEARS NACHAWATI LAW FIRM
JAMES, ANNIE               NJ - USDC for the District of New Jersey   3:20-cv-19815         FEARS NACHAWATI LAW FIRM
JAMES, DESIREE             NJ - USDC for the District of New Jersey   3:20-cv-17139         FEARS NACHAWATI LAW FIRM
JAMES, DOMICA              NJ - USDC for the District of New Jersey   3:20-cv-15675         FEARS NACHAWATI LAW FIRM
JAMES, LIDIA               NJ - USDC for the District of New Jersey   3:20-cv-19339         FEARS NACHAWATI LAW FIRM
JAMES, VICTORIA            NJ - USDC for the District of New Jersey   3:20-cv-17096         FEARS NACHAWATI LAW FIRM
JAMESON, PAM               NJ - USDC for the District of New Jersey   3:20-cv-17146         FEARS NACHAWATI LAW FIRM
JAMISON, DESEREE           NJ - USDC for the District of New Jersey   3:20-cv-17152         FEARS NACHAWATI LAW FIRM
JAMISON, JIMMIE            NJ - USDC for the District of New Jersey   3:20-cv-19967         FEARS NACHAWATI LAW FIRM
JANKE, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-17164         FEARS NACHAWATI LAW FIRM
JANUZZI, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-17170         FEARS NACHAWATI LAW FIRM
JARAMILLO, TINA            NJ - USDC for the District of New Jersey   3:20-cv-18636         FEARS NACHAWATI LAW FIRM
JARVIS, WILMA              NJ - USDC for the District of New Jersey   3:20-cv-11430         FEARS NACHAWATI LAW FIRM
JEAN-BAPTISTE, MARIE       NJ - USDC for the District of New Jersey   3:20-cv-11889         FEARS NACHAWATI LAW FIRM
JEFFERSON, LUCINDA         NJ - USDC for the District of New Jersey   3:20-cv-16024         FEARS NACHAWATI LAW FIRM
JEFFERSON, NETTIE          NJ - USDC for the District of New Jersey   3:20-cv-17192         FEARS NACHAWATI LAW FIRM
JEFFREYS, LISA             NJ - USDC for the District of New Jersey   3:18-cv-14657         FEARS NACHAWATI LAW FIRM
JEFFRIES, LAURIE           NJ - USDC for the District of New Jersey   3:20-cv-19360         FEARS NACHAWATI LAW FIRM
JENKINS, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-15901         FEARS NACHAWATI LAW FIRM
JENKINS, ERNESTINE         NJ - USDC for the District of New Jersey   3:20-cv-17251         FEARS NACHAWATI LAW FIRM
JENKINS, MARY              NJ - USDC for the District of New Jersey   3:20-cv-17234         FEARS NACHAWATI LAW FIRM
JENKINSON, KRISTEN         NJ - USDC for the District of New Jersey   3:20-cv-10833         FEARS NACHAWATI LAW FIRM
JETER, DELORES             NJ - USDC for the District of New Jersey   3:20-cv-10408         FEARS NACHAWATI LAW FIRM
JETT, CARLA                NJ - USDC for the District of New Jersey   3:20-cv-18869         FEARS NACHAWATI LAW FIRM
JIMENEZ, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-17668         FEARS NACHAWATI LAW FIRM
JIMENEZ, PAULITA           NJ - USDC for the District of New Jersey   3:20-cv-11387         FEARS NACHAWATI LAW FIRM
JIMISON, LADONNA           NJ - USDC for the District of New Jersey   3:20-cv-17658         FEARS NACHAWATI LAW FIRM
JOANIS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-19938         FEARS NACHAWATI LAW FIRM
JOHANSEN, DIAN             NJ - USDC for the District of New Jersey   3:20-cv-17649         FEARS NACHAWATI LAW FIRM
JOHNSEY, CASSANDRA         NJ - USDC for the District of New Jersey   3:20-cv-17638         FEARS NACHAWATI LAW FIRM
JOHNSON, ALEJANDRINA       NJ - USDC for the District of New Jersey   3:20-cv-16394         FEARS NACHAWATI LAW FIRM
JOHNSON, ATTIE             NJ - USDC for the District of New Jersey   3:20-cv-15959         FEARS NACHAWATI LAW FIRM
JOHNSON, BERDETTA          NJ - USDC for the District of New Jersey   3:20-cv-18506         FEARS NACHAWATI LAW FIRM
JOHNSON, BEVERLEY          NJ - USDC for the District of New Jersey   3:20-cv-18494         FEARS NACHAWATI LAW FIRM
JOHNSON, CARLENE           NJ - USDC for the District of New Jersey   3:20-cv-09596         FEARS NACHAWATI LAW FIRM
JOHNSON, CECELIA           NJ - USDC for the District of New Jersey   3:20-cv-19155         FEARS NACHAWATI LAW FIRM
JOHNSON, CHARLOTTE         NJ - USDC for the District of New Jersey   3:19-cv-16709         FEARS NACHAWATI LAW FIRM
JOHNSON, DEENA             NJ - USDC for the District of New Jersey   3:20-cv-17231         FEARS NACHAWATI LAW FIRM
JOHNSON, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-19885         FEARS NACHAWATI LAW FIRM
JOHNSON, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-10754         FEARS NACHAWATI LAW FIRM
JOHNSON, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-17081         FEARS NACHAWATI LAW FIRM
JOHNSON, EARLINE           NJ - USDC for the District of New Jersey   3:20-cv-17594         FEARS NACHAWATI LAW FIRM
JOHNSON, ETHEL             NJ - USDC for the District of New Jersey   3:20-cv-15749         FEARS NACHAWATI LAW FIRM
JOHNSON, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-17391         FEARS NACHAWATI LAW FIRM
JOHNSON, HEATHER           NJ - USDC for the District of New Jersey   3:20-cv-17572         FEARS NACHAWATI LAW FIRM
JOHNSON, JOANN             NJ - USDC for the District of New Jersey   3:20-cv-17564         FEARS NACHAWATI LAW FIRM
JOHNSON, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-19806         FEARS NACHAWATI LAW FIRM
JOHNSON, LATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-11660         FEARS NACHAWATI LAW FIRM
JOHNSON, LENNIE            NJ - USDC for the District of New Jersey   3:20-cv-17557         FEARS NACHAWATI LAW FIRM
JOHNSON, MARILYN           NJ - USDC for the District of New Jersey   3:20-cv-18587         FEARS NACHAWATI LAW FIRM
JOHNSON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19526         FEARS NACHAWATI LAW FIRM
JOHNSON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-17457         FEARS NACHAWATI LAW FIRM
JOHNSON, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-11320         FEARS NACHAWATI LAW FIRM
JOHNSON, MILLIE            NJ - USDC for the District of New Jersey   3:20-cv-17586         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
JOHNSON, PEACHES          NJ - USDC for the District of New Jersey   3:20-cv-20153         FEARS NACHAWATI LAW FIRM
JOHNSON, ROSALIE          NJ - USDC for the District of New Jersey   3:21-cv-09681         FEARS NACHAWATI LAW FIRM
JOHNSON, ROSIE            NJ - USDC for the District of New Jersey   3:20-cv-18600         FEARS NACHAWATI LAW FIRM
JOHNSON, ROSIE            NJ - USDC for the District of New Jersey   3:20-cv-11654         FEARS NACHAWATI LAW FIRM
JOHNSON, STACEE           NJ - USDC for the District of New Jersey   3:20-cv-17551         FEARS NACHAWATI LAW FIRM
JOHNSON, SUE              NJ - USDC for the District of New Jersey   3:20-cv-19487         FEARS NACHAWATI LAW FIRM
JOHNSON, SUZANNE          NJ - USDC for the District of New Jersey   3:20-cv-18610         FEARS NACHAWATI LAW FIRM
JOHNSON, TAMARA           NJ - USDC for the District of New Jersey   3:20-cv-11103         FEARS NACHAWATI LAW FIRM
JOHNSON, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-14683         FEARS NACHAWATI LAW FIRM
JOHNSON, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-17579         FEARS NACHAWATI LAW FIRM
JOHNSON, TRINERE          NJ - USDC for the District of New Jersey   3:20-cv-19533         FEARS NACHAWATI LAW FIRM
JOHNSON, VICTORIA         NJ - USDC for the District of New Jersey   3:20-cv-11737         FEARS NACHAWATI LAW FIRM
JOHNSON, WILLIE           NJ - USDC for the District of New Jersey   3:20-cv-10982         FEARS NACHAWATI LAW FIRM
JOINER, LILLIAN           NJ - USDC for the District of New Jersey   3:20-cv-17235         FEARS NACHAWATI LAW FIRM
JONES, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-20253         FEARS NACHAWATI LAW FIRM
JONES, APRIL              NJ - USDC for the District of New Jersey   3:20-cv-10656         FEARS NACHAWATI LAW FIRM
JONES, CHRISTINE          NJ - USDC for the District of New Jersey   3:19-cv-15818         FEARS NACHAWATI LAW FIRM
JONES, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-17328         FEARS NACHAWATI LAW FIRM
JONES, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-18924         FEARS NACHAWATI LAW FIRM
JONES, DORA               NJ - USDC for the District of New Jersey   3:20-cv-17329         FEARS NACHAWATI LAW FIRM
JONES, HATTIE             NJ - USDC for the District of New Jersey   3:20-cv-11767         FEARS NACHAWATI LAW FIRM
JONES, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-19625         FEARS NACHAWATI LAW FIRM
JONES, JACQUELYN          NJ - USDC for the District of New Jersey   3:20-cv-17250         FEARS NACHAWATI LAW FIRM
JONES, JEAN               NJ - USDC for the District of New Jersey   3:20-cv-19934         FEARS NACHAWATI LAW FIRM
JONES, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-17301         FEARS NACHAWATI LAW FIRM
JONES, KENIADA            NJ - USDC for the District of New Jersey   3:20-cv-17308         FEARS NACHAWATI LAW FIRM
JONES, KWANA              NJ - USDC for the District of New Jersey   3:20-cv-09697         FEARS NACHAWATI LAW FIRM
JONES, LISA               NJ - USDC for the District of New Jersey   3:19-cv-14949         FEARS NACHAWATI LAW FIRM
JONES, MARIAN             NJ - USDC for the District of New Jersey   3:20-cv-11190         FEARS NACHAWATI LAW FIRM
JONES, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-19027         FEARS NACHAWATI LAW FIRM
JONES, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-00898         FEARS NACHAWATI LAW FIRM
JONES, PAULINE            NJ - USDC for the District of New Jersey   3:20-cv-19381         FEARS NACHAWATI LAW FIRM
JONES, RABINA             NJ - USDC for the District of New Jersey   3:20-cv-16268         FEARS NACHAWATI LAW FIRM
JONES, RHONDA             NJ - USDC for the District of New Jersey   3:20-cv-11749         FEARS NACHAWATI LAW FIRM
JONES, RHONDA             NJ - USDC for the District of New Jersey   3:20-cv-19099         FEARS NACHAWATI LAW FIRM
JONES, RHONDALYN          NJ - USDC for the District of New Jersey   3:20-cv-17299         FEARS NACHAWATI LAW FIRM
JONES, ROBIN              NJ - USDC for the District of New Jersey   3:20-cv-10589         FEARS NACHAWATI LAW FIRM
JONES, ROBIN              NJ - USDC for the District of New Jersey   3:18-cv-13637         FEARS NACHAWATI LAW FIRM
JONES, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-17306         FEARS NACHAWATI LAW FIRM
JONES, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-19945         FEARS NACHAWATI LAW FIRM
JONES, TAMMY              NJ - USDC for the District of New Jersey   3:20-cv-08939         FEARS NACHAWATI LAW FIRM
JONES, TONISHA            NJ - USDC for the District of New Jersey   3:20-cv-15815         FEARS NACHAWATI LAW FIRM
JONES, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-17300         FEARS NACHAWATI LAW FIRM
JORDAN, BERENICE          NJ - USDC for the District of New Jersey   3:20-cv-19971         FEARS NACHAWATI LAW FIRM
JORDAN, CHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-19160         FEARS NACHAWATI LAW FIRM
JORDON, VERNESTA          NJ - USDC for the District of New Jersey   3:20-cv-17330         FEARS NACHAWATI LAW FIRM
JOSEPH, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-17366         FEARS NACHAWATI LAW FIRM
JOSEPH, REGINA            NJ - USDC for the District of New Jersey   3:20-cv-17332         FEARS NACHAWATI LAW FIRM
JOSHUA, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-15733         FEARS NACHAWATI LAW FIRM
JOVANOVSKI, CVETKA        NJ - USDC for the District of New Jersey   3:20-cv-11467         FEARS NACHAWATI LAW FIRM
JUAREZ, HEIDY             NJ - USDC for the District of New Jersey   3:20-cv-17372         FEARS NACHAWATI LAW FIRM
JUDE, REBECCA             NJ - USDC for the District of New Jersey   3:20-cv-19534         FEARS NACHAWATI LAW FIRM
JUDGE, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-10768         FEARS NACHAWATI LAW FIRM
JUDGE, SHARELL            NJ - USDC for the District of New Jersey   3:20-cv-09890         FEARS NACHAWATI LAW FIRM
JUGE, STEPHANIE           NJ - USDC for the District of New Jersey   3:20-cv-19492         FEARS NACHAWATI LAW FIRM
JULIAN, KRISTY            NJ - USDC for the District of New Jersey   3:20-cv-19288         FEARS NACHAWATI LAW FIRM
JULIAN, MARIFIE           NJ - USDC for the District of New Jersey   3:20-cv-06725         FEARS NACHAWATI LAW FIRM
JULIUS, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-11558         FEARS NACHAWATI LAW FIRM
JUNCEWICZ, THERESA        NJ - USDC for the District of New Jersey   3:20-cv-17374         FEARS NACHAWATI LAW FIRM
JURADO, EVANGELINA        NJ - USDC for the District of New Jersey   3:20-cv-11026         FEARS NACHAWATI LAW FIRM
KAHLER, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-18637         FEARS NACHAWATI LAW FIRM
KAISER, ALLISON           NJ - USDC for the District of New Jersey   3:20-cv-16570         FEARS NACHAWATI LAW FIRM
KAISER, SHIRLY            NJ - USDC for the District of New Jersey   3:20-cv-19955         FEARS NACHAWATI LAW FIRM
KALANTARI, NOSSRAT        NJ - USDC for the District of New Jersey   3:20-cv-11343         FEARS NACHAWATI LAW FIRM
KALMBACH, NENA            NJ - USDC for the District of New Jersey   3:20-cv-11335         FEARS NACHAWATI LAW FIRM
KAMANY, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-19614         FEARS NACHAWATI LAW FIRM
KANGANIS, KIMBERLY        NJ - USDC for the District of New Jersey   3:20-cv-17427         FEARS NACHAWATI LAW FIRM
KANKIEWICZ, GERALDINE     NJ - USDC for the District of New Jersey   3:20-cv-19241         FEARS NACHAWATI LAW FIRM
KAPCSOS, MARY             NJ - USDC for the District of New Jersey   3:20-cv-11998         FEARS NACHAWATI LAW FIRM
KAPELI, SALUA             NJ - USDC for the District of New Jersey   3:20-cv-18639         FEARS NACHAWATI LAW FIRM
KARLEN, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-19031         FEARS NACHAWATI LAW FIRM
KARSCH, STELLA            NJ - USDC for the District of New Jersey   3:20-cv-17384         FEARS NACHAWATI LAW FIRM
KARSIKAS, CASSANDRA       NJ - USDC for the District of New Jersey   3:20-cv-10678         FEARS NACHAWATI LAW FIRM
KASBERG, NANCY            NJ - USDC for the District of New Jersey   3:20-cv-19052         FEARS NACHAWATI LAW FIRM
KATS, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-19039         FEARS NACHAWATI LAW FIRM
KATZ, ELLEN               NJ - USDC for the District of New Jersey   3:20-cv-17389         FEARS NACHAWATI LAW FIRM
KAY, SHARON               NJ - USDC for the District of New Jersey   3:20-cv-11009         FEARS NACHAWATI LAW FIRM
KEEFER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-19364         FEARS NACHAWATI LAW FIRM
KELLEY, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-13355         FEARS NACHAWATI LAW FIRM
KELLEY, LASHAWN           NJ - USDC for the District of New Jersey   3:20-cv-19079         FEARS NACHAWATI LAW FIRM




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          Claimant Name                             State Filed                      Docket Number               Plaintiff Counsel
KELLOGG, PATRICIA                   NJ - USDC for the District of New Jersey   3:20-cv-01236         FEARS NACHAWATI LAW FIRM
KELLY, DEBRA                        NJ - USDC for the District of New Jersey   3:18-cv-13623         FEARS NACHAWATI LAW FIRM
KELLY, GENEVIEVE                    NJ - USDC for the District of New Jersey   3:20-cv-17400         FEARS NACHAWATI LAW FIRM
KELLY, MATTIE                       NJ - USDC for the District of New Jersey   3:20-cv-17403         FEARS NACHAWATI LAW FIRM
KENNEDY, BRENDA                     NJ - USDC for the District of New Jersey   3:20-cv-10672         FEARS NACHAWATI LAW FIRM
KENNEDY, CHRISTINA                  NJ - USDC for the District of New Jersey   3:20-cv-17405         FEARS NACHAWATI LAW FIRM
KENNEDY, CRYSTAL                    NJ - USDC for the District of New Jersey   3:20-cv-19976         FEARS NACHAWATI LAW FIRM
KENNEDY, MARY                       NJ - USDC for the District of New Jersey   3:20-cv-17408         FEARS NACHAWATI LAW FIRM
KENNISON, KATHERINE                 NJ - USDC for the District of New Jersey   3:20-cv-17414         FEARS NACHAWATI LAW FIRM
KENNY, JUDITH                       NJ - USDC for the District of New Jersey   3:20-cv-15978         FEARS NACHAWATI LAW FIRM
KEPOO-COLE, HELENI                  NJ - USDC for the District of New Jersey   3:20-cv-19136         FEARS NACHAWATI LAW FIRM
KERNELL, REBECCA                    NJ - USDC for the District of New Jersey   3:20-cv-19537         FEARS NACHAWATI LAW FIRM
KERR, BEVERLY                       NJ - USDC for the District of New Jersey   3:20-cv-18524         FEARS NACHAWATI LAW FIRM
KERTH, MARGARET                     NJ - USDC for the District of New Jersey   3:20-cv-11720         FEARS NACHAWATI LAW FIRM
KESSLER, JUDITH                     NJ - USDC for the District of New Jersey   3:20-cv-20195         FEARS NACHAWATI LAW FIRM
KEY, JEAN                           NJ - USDC for the District of New Jersey   3:20-cv-20125         FEARS NACHAWATI LAW FIRM
KEY, SHACOYA                        NJ - USDC for the District of New Jersey   3:20-cv-11958         FEARS NACHAWATI LAW FIRM
KHAN, NAOMI ; SANTILLAN; LYNDA NJ - USDC for the District of New Jersey        3:21-cv-18537         FEARS NACHAWATI LAW FIRM

KHAN, NAOMI ; SANTILLAN; LYNDA OR - USDC for the District of Oregon            2:21-cv-01054         FEARS NACHAWATI LAW FIRM
KIDD, CLARINE                       NJ - USDC for the District of New Jersey   3:20-cv-11567         FEARS NACHAWATI LAW FIRM
KIEHN, LAURIE                       NJ - USDC for the District of New Jersey   3:20-cv-17433         FEARS NACHAWATI LAW FIRM
KILPATRICK, CHASITY                 NJ - USDC for the District of New Jersey   3:20-cv-11193         FEARS NACHAWATI LAW FIRM
KILPATRICK, SUSAN                   NJ - USDC for the District of New Jersey   3:20-cv-17502         FEARS NACHAWATI LAW FIRM
KILTY, JENNIFER                     NJ - USDC for the District of New Jersey   3:20-cv-20221         FEARS NACHAWATI LAW FIRM
KIM, MICHELLE                       NJ - USDC for the District of New Jersey   3:20-cv-17467         FEARS NACHAWATI LAW FIRM
KIMBLE, KAREN                       NJ - USDC for the District of New Jersey   3:20-cv-14308         FEARS NACHAWATI LAW FIRM
KIME, KATHLYN                       NJ - USDC for the District of New Jersey   3:20-cv-10460         FEARS NACHAWATI LAW FIRM
KING, DONNA                         NJ - USDC for the District of New Jersey   3:20-cv-11268         FEARS NACHAWATI LAW FIRM
KING, GERALDINE                     NJ - USDC for the District of New Jersey   3:20-cv-11603         FEARS NACHAWATI LAW FIRM
KING, HELEN                         NJ - USDC for the District of New Jersey   3:20-cv-18835         FEARS NACHAWATI LAW FIRM
KING, IRIS                          NJ - USDC for the District of New Jersey   3:20-cv-19271         FEARS NACHAWATI LAW FIRM
KING, JEANNIE                       NJ - USDC for the District of New Jersey   3:20-cv-12487         FEARS NACHAWATI LAW FIRM
KING, MELISSA                       NJ - USDC for the District of New Jersey   3:20-cv-17463         FEARS NACHAWATI LAW FIRM
KING, MYRTLE                        NJ - USDC for the District of New Jersey   3:20-cv-11640         FEARS NACHAWATI LAW FIRM
KING, NELL                          NJ - USDC for the District of New Jersey   3:20-cv-19062         FEARS NACHAWATI LAW FIRM
KING, THERESA                       NJ - USDC for the District of New Jersey   3:20-cv-13171         FEARS NACHAWATI LAW FIRM
KINGSBURY, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-17430         FEARS NACHAWATI LAW FIRM
KINNARD, KIMBRA                     NJ - USDC for the District of New Jersey   3:20-cv-10820         FEARS NACHAWATI LAW FIRM
KIRK, JANE                          NJ - USDC for the District of New Jersey   3:20-cv-17421         FEARS NACHAWATI LAW FIRM
KISS, THERESA                       NJ - USDC for the District of New Jersey   3:19-cv-15035         FEARS NACHAWATI LAW FIRM
KITCHEN, LINDA                      NJ - USDC for the District of New Jersey   3:20-cv-17440         FEARS NACHAWATI LAW FIRM
KITCHEN, TERRI                      NJ - USDC for the District of New Jersey   3:20-cv-17516         FEARS NACHAWATI LAW FIRM
KITT, KATRINA                       NJ - USDC for the District of New Jersey   3:20-cv-17422         FEARS NACHAWATI LAW FIRM
KIZZIAR, ORA                        NJ - USDC for the District of New Jersey   3:20-cv-10892         FEARS NACHAWATI LAW FIRM
KIZZIE, BETTY                       NJ - USDC for the District of New Jersey   3:20-cv-19538         FEARS NACHAWATI LAW FIRM
KLEIPE, DONNA                       NJ - USDC for the District of New Jersey   3:20-cv-17387         FEARS NACHAWATI LAW FIRM
KLIEVER, SUSAN                      NJ - USDC for the District of New Jersey   3:20-cv-19541         FEARS NACHAWATI LAW FIRM
KLINE, SHELLY                       NJ - USDC for the District of New Jersey   3:20-cv-17491         FEARS NACHAWATI LAW FIRM
KNECHT, DEBORA                      NJ - USDC for the District of New Jersey   3:20-cv-17382         FEARS NACHAWATI LAW FIRM
KNIGHT, CORINNE                     NJ - USDC for the District of New Jersey   3:20-cv-10685         FEARS NACHAWATI LAW FIRM
KNIGHT, DARLENE                     NJ - USDC for the District of New Jersey   3:20-cv-15866         FEARS NACHAWATI LAW FIRM
KNIGHT, MARCELLA                    NJ - USDC for the District of New Jersey   3:20-cv-16275         FEARS NACHAWATI LAW FIRM
KNIGHT, PHYLLIS                     NJ - USDC for the District of New Jersey   3:20-cv-17480         FEARS NACHAWATI LAW FIRM
KNIGHT, RAYFENNETTE                 NJ - USDC for the District of New Jersey   3:20-cv-12043         FEARS NACHAWATI LAW FIRM
KNIGHT, SHENDRELL                   NJ - USDC for the District of New Jersey   3:20-cv-11010         FEARS NACHAWATI LAW FIRM
KNIGHT-HORSLEY, TAMMIE              NJ - USDC for the District of New Jersey   3:20-cv-19812         FEARS NACHAWATI LAW FIRM
KNOB, JENNIE                        NJ - USDC for the District of New Jersey   3:20-cv-19860         FEARS NACHAWATI LAW FIRM
KNOX, ANITA                         NJ - USDC for the District of New Jersey   3:20-cv-15728         FEARS NACHAWATI LAW FIRM
KNOX, PAMELA                        NJ - USDC for the District of New Jersey   3:19-cv-15145         FEARS NACHAWATI LAW FIRM
KNUPP, ANN                          NJ - USDC for the District of New Jersey   3:20-cv-19766         FEARS NACHAWATI LAW FIRM
KOLLMANN, LAURIE                    NJ - USDC for the District of New Jersey   3:20-cv-11922         FEARS NACHAWATI LAW FIRM
KOLONICH, PATSY                     NJ - USDC for the District of New Jersey   3:20-cv-11743         FEARS NACHAWATI LAW FIRM
KOMORA, VELDA                       NJ - USDC for the District of New Jersey   3:20-cv-19957         FEARS NACHAWATI LAW FIRM
KONKEL, MARGUERITE                  NJ - USDC for the District of New Jersey   3:18-cv-14319         FEARS NACHAWATI LAW FIRM
KOPSIAN, NORA                       NJ - USDC for the District of New Jersey   3:20-cv-12078         FEARS NACHAWATI LAW FIRM
KORNEGAY, VANESSA                   NJ - USDC for the District of New Jersey   3:20-cv-11032         FEARS NACHAWATI LAW FIRM
KOTLIK, DONNA                       NJ - USDC for the District of New Jersey   3:20-cv-19040         FEARS NACHAWATI LAW FIRM
KOVALICK, COLLEEN                   NJ - USDC for the District of New Jersey   3:20-cv-10688         FEARS NACHAWATI LAW FIRM
KRAEMER, WILMA                      NJ - USDC for the District of New Jersey   3:20-cv-19545         FEARS NACHAWATI LAW FIRM
KRAFT, ANITA                        NJ - USDC for the District of New Jersey   3:20-cv-15718         FEARS NACHAWATI LAW FIRM
KRAKOWSKI, AUDREY                   NJ - USDC for the District of New Jersey   3:20-cv-10648         FEARS NACHAWATI LAW FIRM
KRAMER, INEZ                        NJ - USDC for the District of New Jersey   3:20-cv-19263         FEARS NACHAWATI LAW FIRM
KRANTZ, VALERIE                     NJ - USDC for the District of New Jersey   3:20-cv-19833         FEARS NACHAWATI LAW FIRM
KUEHN, EVA                          NJ - USDC for the District of New Jersey   3:20-cv-11729         FEARS NACHAWATI LAW FIRM
KURTZ, KAREN                        NJ - USDC for the District of New Jersey   3:20-cv-11666         FEARS NACHAWATI LAW FIRM
KUTI, BARBARA                       NJ - USDC for the District of New Jersey   3:20-cv-10658         FEARS NACHAWATI LAW FIRM
KUZMA, MARY                         NJ - USDC for the District of New Jersey   3:20-cv-19855         FEARS NACHAWATI LAW FIRM
KWIATKOWSKI, DEBBIE                 NJ - USDC for the District of New Jersey   3:20-cv-15659         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
KYE, JACQUIS              NJ - USDC for the District of New Jersey   3:20-cv-10480         FEARS NACHAWATI LAW FIRM
LACEY, TRINA              NJ - USDC for the District of New Jersey   3:20-cv-19660         FEARS NACHAWATI LAW FIRM
LAFONTAINE, KAREN         NJ - USDC for the District of New Jersey   3:20-cv-18515         FEARS NACHAWATI LAW FIRM
LAFRAMBOISE, LISA         NJ - USDC for the District of New Jersey   3:20-cv-17302         FEARS NACHAWATI LAW FIRM
LAIN, CYNTHIA             NJ - USDC for the District of New Jersey   3:20-cv-13392         FEARS NACHAWATI LAW FIRM
LAM, LESLIE               NJ - USDC for the District of New Jersey   3:20-cv-17304         FEARS NACHAWATI LAW FIRM
LAMAS, DEYANIRA           NJ - USDC for the District of New Jersey   3:20-cv-17305         FEARS NACHAWATI LAW FIRM
LAMB, ELLEN               NJ - USDC for the District of New Jersey   3:20-cv-17650         FEARS NACHAWATI LAW FIRM
LAMB, JANICE              NJ - USDC for the District of New Jersey   3:20-cv-10785         FEARS NACHAWATI LAW FIRM
LAMBERT, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-13158         FEARS NACHAWATI LAW FIRM
LAMBERT, SABRINA          NJ - USDC for the District of New Jersey   3:20-cv-17307         FEARS NACHAWATI LAW FIRM
LAMPKIN, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-19367         FEARS NACHAWATI LAW FIRM
LANCIS, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-17310         FEARS NACHAWATI LAW FIRM
LANE, GAYLA               NJ - USDC for the District of New Jersey   3:20-cv-19216         FEARS NACHAWATI LAW FIRM
LANG, JOINNINE            NJ - USDC for the District of New Jersey   3:20-cv-10432         FEARS NACHAWATI LAW FIRM
LANGLEY, FRANCES          NJ - USDC for the District of New Jersey   3:20-cv-19204         FEARS NACHAWATI LAW FIRM
LANGSTAFF, DEBRA          NJ - USDC for the District of New Jersey   3:20-cv-18911         FEARS NACHAWATI LAW FIRM
LAPONSEY, CHERYL          NJ - USDC for the District of New Jersey   3:20-cv-10836         FEARS NACHAWATI LAW FIRM
LARA, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-17313         FEARS NACHAWATI LAW FIRM
LARKIN, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-17431         FEARS NACHAWATI LAW FIRM
LARNEY, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-11775         FEARS NACHAWATI LAW FIRM
LAROCCA, EULA             NJ - USDC for the District of New Jersey   3:20-cv-19188         FEARS NACHAWATI LAW FIRM
LAROCQUE, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-17316         FEARS NACHAWATI LAW FIRM
LASALLE, SHIRIKA          NJ - USDC for the District of New Jersey   3:20-cv-17318         FEARS NACHAWATI LAW FIRM
LATIMER, JOSEPHINE        NJ - USDC for the District of New Jersey   3:20-cv-13281         FEARS NACHAWATI LAW FIRM
LATU, MELESULIFA          NJ - USDC for the District of New Jersey   3:20-cv-17320         FEARS NACHAWATI LAW FIRM
LAVALAIS, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-10766         FEARS NACHAWATI LAW FIRM
LAVANDERA, RAMONA         NJ - USDC for the District of New Jersey   3:20-cv-19547         FEARS NACHAWATI LAW FIRM
LAW, KAREN                NJ - USDC for the District of New Jersey   3:20-cv-16022         FEARS NACHAWATI LAW FIRM
LAWRENCE, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-19266         FEARS NACHAWATI LAW FIRM
LAWSON, CRYSTAL           NJ - USDC for the District of New Jersey   3:20-cv-17469         FEARS NACHAWATI LAW FIRM
LAWSON, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-11623         FEARS NACHAWATI LAW FIRM
LAZZARINO, GINA           NJ - USDC for the District of New Jersey   3:20-cv-17495         FEARS NACHAWATI LAW FIRM
LE AITKEN, FRANKIE        NJ - USDC for the District of New Jersey   3:20-cv-15904         FEARS NACHAWATI LAW FIRM
LEAR, ANGIE               NJ - USDC for the District of New Jersey   3:20-cv-11192         FEARS NACHAWATI LAW FIRM
LEAS, CATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-17518         FEARS NACHAWATI LAW FIRM
LEBLANC, GERTRUDE         NJ - USDC for the District of New Jersey   3:20-cv-17537         FEARS NACHAWATI LAW FIRM
LECLERC, TAMMY            NJ - USDC for the District of New Jersey   3:20-cv-11966         FEARS NACHAWATI LAW FIRM
LECONCE, LISA             NJ - USDC for the District of New Jersey   3:20-cv-15776         FEARS NACHAWATI LAW FIRM
LEDER, CATHLEEN           NJ - USDC for the District of New Jersey   3:19-cv-00230         FEARS NACHAWATI LAW FIRM
LEDESMA, DIANA            NJ - USDC for the District of New Jersey   3:20-cv-18151         FEARS NACHAWATI LAW FIRM
LEDFORD, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-15033         FEARS NACHAWATI LAW FIRM
LEE, AMY                  NJ - USDC for the District of New Jersey   3:21-cv-15830         FEARS NACHAWATI LAW FIRM
LEE, CAROLINE             NJ - USDC for the District of New Jersey   3:18-cv-13572         FEARS NACHAWATI LAW FIRM
LEE, DANIELLE             NJ - USDC for the District of New Jersey   3:20-cv-18169         FEARS NACHAWATI LAW FIRM
LEE, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-10725         FEARS NACHAWATI LAW FIRM
LEE, GWENDOLLYN           NJ - USDC for the District of New Jersey   3:20-cv-19072         FEARS NACHAWATI LAW FIRM
LEE, YOLANDA              NJ - USDC for the District of New Jersey   3:20-cv-18158         FEARS NACHAWATI LAW FIRM
LEEN, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-19080         FEARS NACHAWATI LAW FIRM
LEEN, LEAH                NJ - USDC for the District of New Jersey   3:20-cv-19333         FEARS NACHAWATI LAW FIRM
LEGGETT, VICKI            NJ - USDC for the District of New Jersey   3:20-cv-10969         FEARS NACHAWATI LAW FIRM
LEHMAN, LUZ               NJ - USDC for the District of New Jersey   3:20-cv-10981         FEARS NACHAWATI LAW FIRM
LEHMANN, LOIS             NJ - USDC for the District of New Jersey   3:20-cv-10962         FEARS NACHAWATI LAW FIRM
LEIGH, RACHEL             NJ - USDC for the District of New Jersey   3:20-cv-12001         FEARS NACHAWATI LAW FIRM
LEMKE, JANE               NJ - USDC for the District of New Jersey   3:20-cv-18182         FEARS NACHAWATI LAW FIRM
LEMUS, LETICIA            NJ - USDC for the District of New Jersey   3:20-cv-19294         FEARS NACHAWATI LAW FIRM
LEON, KELLY               NJ - USDC for the District of New Jersey   3:20-cv-18264         FEARS NACHAWATI LAW FIRM
LEOPARD, RITA             NJ - USDC for the District of New Jersey   3:20-cv-10938         FEARS NACHAWATI LAW FIRM
LESTER, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-11085         FEARS NACHAWATI LAW FIRM
LESTER, LORRAINE          NJ - USDC for the District of New Jersey   3:20-cv-18271         FEARS NACHAWATI LAW FIRM
LESTER, SHERRY            NJ - USDC for the District of New Jersey   3:18-cv-03419         FEARS NACHAWATI LAW FIRM
LETTMAN, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-16142         FEARS NACHAWATI LAW FIRM
LEVAN, MYRNA              NJ - USDC for the District of New Jersey   3:20-cv-11627         FEARS NACHAWATI LAW FIRM
LEVARI, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-19282         FEARS NACHAWATI LAW FIRM
LEVARIO, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-11528         FEARS NACHAWATI LAW FIRM
LEVAY, TERI               NJ - USDC for the District of New Jersey   3:20-cv-18276         FEARS NACHAWATI LAW FIRM
LEWANDOWSKI, DEBORAH      NJ - USDC for the District of New Jersey   3:17-cv-06091         FEARS NACHAWATI LAW FIRM
LEWIS, CANDACE            NJ - USDC for the District of New Jersey   3:20-cv-19005         FEARS NACHAWATI LAW FIRM
LEWIS, CHANTEL            NJ - USDC for the District of New Jersey   3:20-cv-18350         FEARS NACHAWATI LAW FIRM
LEWIS, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-10699         FEARS NACHAWATI LAW FIRM
LEWIS, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-10736         FEARS NACHAWATI LAW FIRM
LEWIS, FRANKIE            NJ - USDC for the District of New Jersey   3:20-cv-18855         FEARS NACHAWATI LAW FIRM
LEWIS, HANNA              NJ - USDC for the District of New Jersey   3:20-cv-18324         FEARS NACHAWATI LAW FIRM
LEWIS, KAISE              NJ - USDC for the District of New Jersey   3:20-cv-18339         FEARS NACHAWATI LAW FIRM
LEWIS, LAKESIKA           NJ - USDC for the District of New Jersey   3:20-cv-18281         FEARS NACHAWATI LAW FIRM
LEWIS, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-01267         FEARS NACHAWATI LAW FIRM
LEWIS, MARIE              NJ - USDC for the District of New Jersey   3:20-cv-11722         FEARS NACHAWATI LAW FIRM
LEWIS, MARY               NJ - USDC for the District of New Jersey   3:19-cv-15029         FEARS NACHAWATI LAW FIRM
LEWIS, MERICA             NJ - USDC for the District of New Jersey   3:20-cv-20031         FEARS NACHAWATI LAW FIRM
LEWIS, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-20032         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
LEWIS, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-18317         FEARS NACHAWATI LAW FIRM
LEWIS, RENEE              NJ - USDC for the District of New Jersey   3:20-cv-16252         FEARS NACHAWATI LAW FIRM
LEWIS, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-11008         FEARS NACHAWATI LAW FIRM
LEWIS-GOMEZ, NANNELL      NJ - USDC for the District of New Jersey   3:20-cv-18365         FEARS NACHAWATI LAW FIRM
LEZAMA, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-19574         FEARS NACHAWATI LAW FIRM
LICHTENWALNER, LORI       NJ - USDC for the District of New Jersey   3:20-cv-11522         FEARS NACHAWATI LAW FIRM
LIENHART, STEPHANIE       NJ - USDC for the District of New Jersey   3:20-cv-11063         FEARS NACHAWATI LAW FIRM
LIGGETT, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-16095         FEARS NACHAWATI LAW FIRM
LIGHT, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-19603         FEARS NACHAWATI LAW FIRM
LIGON, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-15690         FEARS NACHAWATI LAW FIRM
LIMA, THERESA             NJ - USDC for the District of New Jersey   3:20-cv-18374         FEARS NACHAWATI LAW FIRM
LINCOLN, LANA             NJ - USDC for the District of New Jersey   3:20-cv-10868         FEARS NACHAWATI LAW FIRM
LINDEMAN, JOANN           NJ - USDC for the District of New Jersey   3:20-cv-18399         FEARS NACHAWATI LAW FIRM
LINDER, JEANETTE          NJ - USDC for the District of New Jersey   3:20-cv-18401         FEARS NACHAWATI LAW FIRM
LINDSEY, KATHY            NJ - USDC for the District of New Jersey   3:20-cv-10424         FEARS NACHAWATI LAW FIRM
LINDSEY, KIARA            NJ - USDC for the District of New Jersey   3:20-cv-18406         FEARS NACHAWATI LAW FIRM
LINDSEY, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-18403         FEARS NACHAWATI LAW FIRM
LINSEY, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-10382         FEARS NACHAWATI LAW FIRM
LINTZ, WENDY              NJ - USDC for the District of New Jersey   3:20-cv-18410         FEARS NACHAWATI LAW FIRM
LIPDSKI, MAGDALENE        NJ - USDC for the District of New Jersey   3:20-cv-18414         FEARS NACHAWATI LAW FIRM
LISAK, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-13632         FEARS NACHAWATI LAW FIRM
LISS, VICKIE              NJ - USDC for the District of New Jersey   3:20-cv-18423         FEARS NACHAWATI LAW FIRM
LITTLE, AMY               NJ - USDC for the District of New Jersey   3:20-cv-11501         FEARS NACHAWATI LAW FIRM
LITTLE, DERVIE            NJ - USDC for the District of New Jersey   3:20-cv-11264         FEARS NACHAWATI LAW FIRM
LITTLJOHN, BETTY          NJ - USDC for the District of New Jersey   3:20-cv-18536         FEARS NACHAWATI LAW FIRM
LLOYD, JEANNETTE          NJ - USDC for the District of New Jersey   3:20-cv-18429         FEARS NACHAWATI LAW FIRM
LLOYD, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-15692         FEARS NACHAWATI LAW FIRM
LLOYD, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-19946         FEARS NACHAWATI LAW FIRM
LOCKE, DANIELLE           NJ - USDC for the District of New Jersey   3:20-cv-11399         FEARS NACHAWATI LAW FIRM
LOCKLEAR, ROSA            NJ - USDC for the District of New Jersey   3:20-cv-18445         FEARS NACHAWATI LAW FIRM
LOGAN, JESSIE             NJ - USDC for the District of New Jersey   3:20-cv-16020         FEARS NACHAWATI LAW FIRM
LOMBARDI, KELLY           NJ - USDC for the District of New Jersey   3:20-cv-18454         FEARS NACHAWATI LAW FIRM
LOMBARI, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-00766         FEARS NACHAWATI LAW FIRM
LONG, ANTONIQUE           NJ - USDC for the District of New Jersey   3:20-cv-19817         FEARS NACHAWATI LAW FIRM
LONG, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-10655         FEARS NACHAWATI LAW FIRM
LONG, JOANN               NJ - USDC for the District of New Jersey   3:20-cv-11819         FEARS NACHAWATI LAW FIRM
LONGFELLOW, ANNA          NJ - USDC for the District of New Jersey   3:20-cv-09502         FEARS NACHAWATI LAW FIRM
LOPER, TAMARA             NJ - USDC for the District of New Jersey   3:20-cv-18490         FEARS NACHAWATI LAW FIRM
LOPEZ, ALMA               NJ - USDC for the District of New Jersey   3:20-cv-16591         FEARS NACHAWATI LAW FIRM
LOPEZ, ALMA               NJ - USDC for the District of New Jersey   3:20-cv-16577         FEARS NACHAWATI LAW FIRM
LOPEZ, EVA                NJ - USDC for the District of New Jersey   3:20-cv-11022         FEARS NACHAWATI LAW FIRM
LOPEZ, IRENE              NJ - USDC for the District of New Jersey   3:20-cv-18898         FEARS NACHAWATI LAW FIRM
LOPEZ, JANE               NJ - USDC for the District of New Jersey   3:20-cv-18504         FEARS NACHAWATI LAW FIRM
LOPEZ, JANET              NJ - USDC for the District of New Jersey   3:20-cv-18550         FEARS NACHAWATI LAW FIRM
LOPEZ, RITA               NJ - USDC for the District of New Jersey   3:20-cv-10917         FEARS NACHAWATI LAW FIRM
LORENTZ, CHERYLL          NJ - USDC for the District of New Jersey   3:20-cv-11518         FEARS NACHAWATI LAW FIRM
LOS, ROBIN                NJ - USDC for the District of New Jersey   3:20-cv-16246         FEARS NACHAWATI LAW FIRM
LOSER, TONI               NJ - USDC for the District of New Jersey   3:20-cv-17325         FEARS NACHAWATI LAW FIRM
LOTT, MARCY               NJ - USDC for the District of New Jersey   3:20-cv-17326         FEARS NACHAWATI LAW FIRM
LOVE, RITA                NJ - USDC for the District of New Jersey   3:20-cv-17327         FEARS NACHAWATI LAW FIRM
LOVELL, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-15818         FEARS NACHAWATI LAW FIRM
LOWE, KRISTINA            NJ - USDC for the District of New Jersey   3:20-cv-01245         FEARS NACHAWATI LAW FIRM
LOWERY, CASSANDRA         NJ - USDC for the District of New Jersey   3:20-cv-11309         FEARS NACHAWATI LAW FIRM
LOWMAN, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-17336         FEARS NACHAWATI LAW FIRM
LOWREY, KRISTY            NJ - USDC for the District of New Jersey   3:20-cv-19071         FEARS NACHAWATI LAW FIRM
LOWRY, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-17337         FEARS NACHAWATI LAW FIRM
LOYD, JENNIFER            NJ - USDC for the District of New Jersey   3:20-cv-11429         FEARS NACHAWATI LAW FIRM
LUCAS, JESSICA            NJ - USDC for the District of New Jersey   3:20-cv-11959         FEARS NACHAWATI LAW FIRM
LUCAS, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-08893         FEARS NACHAWATI LAW FIRM
LUDEKE, NAIDA             NJ - USDC for the District of New Jersey   3:21-cv-15616         FEARS NACHAWATI LAW FIRM
LUDWIG, AMBER             NJ - USDC for the District of New Jersey   3:20-cv-19054         FEARS NACHAWATI LAW FIRM
LUDWIG, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-11296         FEARS NACHAWATI LAW FIRM
LUE, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-19936         FEARS NACHAWATI LAW FIRM
LUKASIK, DOLORES          NJ - USDC for the District of New Jersey   3:20-cv-00210         FEARS NACHAWATI LAW FIRM
LUMPP, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-18994         FEARS NACHAWATI LAW FIRM
LUNA, ABBIE               NJ - USDC for the District of New Jersey   3:20-cv-12149         FEARS NACHAWATI LAW FIRM
LUNA, JUANA               NJ - USDC for the District of New Jersey   3:20-cv-11465         FEARS NACHAWATI LAW FIRM
LUND, KARLA               NJ - USDC for the District of New Jersey   3:20-cv-10843         FEARS NACHAWATI LAW FIRM
LUTTRELL, SENA            NJ - USDC for the District of New Jersey   3:20-cv-17338         FEARS NACHAWATI LAW FIRM
LYMAN, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-11926         FEARS NACHAWATI LAW FIRM
LYN, HEATHER              NJ - USDC for the District of New Jersey   3:20-cv-17692         FEARS NACHAWATI LAW FIRM
LYNCH, MAMIE              NJ - USDC for the District of New Jersey   3:20-cv-19770         FEARS NACHAWATI LAW FIRM
LYNN, BETTYE              NJ - USDC for the District of New Jersey   3:20-cv-11201         FEARS NACHAWATI LAW FIRM
LYNN, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-01997         FEARS NACHAWATI LAW FIRM
LYONS, BEVERLY            NJ - USDC for the District of New Jersey   3:20-cv-13142         FEARS NACHAWATI LAW FIRM
LYONS, BLANCHIE           NJ - USDC for the District of New Jersey   3:19-cv-15034         FEARS NACHAWATI LAW FIRM
LYONS, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-17339         FEARS NACHAWATI LAW FIRM
LYONS, OLIVIA             NJ - USDC for the District of New Jersey   3:20-cv-17340         FEARS NACHAWATI LAW FIRM
MABILE, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-11995         FEARS NACHAWATI LAW FIRM
MACDONALD, MARY           NJ - USDC for the District of New Jersey   3:20-cv-19558         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MACDONALD, NANCY          NJ - USDC for the District of New Jersey   3:20-cv-11041         FEARS NACHAWATI LAW FIRM
MACE, JANE                NJ - USDC for the District of New Jersey   3:20-cv-19658         FEARS NACHAWATI LAW FIRM
MACHADO, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-18886         FEARS NACHAWATI LAW FIRM
MACHADO, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-18643         FEARS NACHAWATI LAW FIRM
MACK, QUEENA              NJ - USDC for the District of New Jersey   3:20-cv-11400         FEARS NACHAWATI LAW FIRM
MACKAY, VELICIA           NJ - USDC for the District of New Jersey   3:20-cv-11042         FEARS NACHAWATI LAW FIRM
MADDEN, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-10674         FEARS NACHAWATI LAW FIRM
MADRID, GEORGIA           NJ - USDC for the District of New Jersey   3:20-cv-11195         FEARS NACHAWATI LAW FIRM
MADRIGAL, BRIGIDA         NJ - USDC for the District of New Jersey   3:20-cv-12005         FEARS NACHAWATI LAW FIRM
MADRIGAL, SYLVIA          NJ - USDC for the District of New Jersey   3:20-cv-11100         FEARS NACHAWATI LAW FIRM
MADSEN, JACQULYN          NJ - USDC for the District of New Jersey   3:20-cv-10952         FEARS NACHAWATI LAW FIRM
MAGEE, ANN                NJ - USDC for the District of New Jersey   3:20-cv-16004         FEARS NACHAWATI LAW FIRM
MAIN, HOLLY               NJ - USDC for the District of New Jersey   3:20-cv-17343         FEARS NACHAWATI LAW FIRM
MAINER, VERA              NJ - USDC for the District of New Jersey   3:20-cv-11777         FEARS NACHAWATI LAW FIRM
MAINORD, GLORIA           NJ - USDC for the District of New Jersey   3:20-cv-17351         FEARS NACHAWATI LAW FIRM
MAJCHER, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-10564         FEARS NACHAWATI LAW FIRM
MALDONADO, CLARA          NJ - USDC for the District of New Jersey   3:20-cv-18774         FEARS NACHAWATI LAW FIRM
MALDONADO, JEANETTE       NJ - USDC for the District of New Jersey   3:20-cv-17341         FEARS NACHAWATI LAW FIRM
MALDONADO, LISA           NJ - USDC for the District of New Jersey   3:20-cv-19351         FEARS NACHAWATI LAW FIRM
MALLARD, LILLIE           NJ - USDC for the District of New Jersey   3:21-cv-13837         FEARS NACHAWATI LAW FIRM
MALLMANN, JAMIE           NJ - USDC for the District of New Jersey   3:20-cv-00193         FEARS NACHAWATI LAW FIRM
MALLOY, SARAH             NJ - USDC for the District of New Jersey   3:20-cv-11752         FEARS NACHAWATI LAW FIRM
MALLUM, CYNDY             NJ - USDC for the District of New Jersey   3:20-cv-18884         FEARS NACHAWATI LAW FIRM
MALMBERG, STEPHANIE       NJ - USDC for the District of New Jersey   3:20-cv-19454         FEARS NACHAWATI LAW FIRM
MALONE, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-18934         FEARS NACHAWATI LAW FIRM
MAMON, EDITH              NJ - USDC for the District of New Jersey   3:20-cv-19394         FEARS NACHAWATI LAW FIRM
MANLEY, LETHA             NJ - USDC for the District of New Jersey   3:20-cv-20199         FEARS NACHAWATI LAW FIRM
MANNA, SANNA-MARIE        NJ - USDC for the District of New Jersey   3:20-cv-11867         FEARS NACHAWATI LAW FIRM
MANNING, MONIQUE          NJ - USDC for the District of New Jersey   3:21-cv-00107         FEARS NACHAWATI LAW FIRM
MANNING, RUBY             NJ - USDC for the District of New Jersey   3:20-cv-17344         FEARS NACHAWATI LAW FIRM
MANNINGS, ALTHEA          NJ - USDC for the District of New Jersey   3:20-cv-10633         FEARS NACHAWATI LAW FIRM
MANNS, MARLITA            NJ - USDC for the District of New Jersey   3:20-cv-11317         FEARS NACHAWATI LAW FIRM
MANSUR, NAJULLAH          NJ - USDC for the District of New Jersey   3:20-cv-17348         FEARS NACHAWATI LAW FIRM
MANUEL, KIMMARIE          NJ - USDC for the District of New Jersey   3:20-cv-17349         FEARS NACHAWATI LAW FIRM
MANUEL, LONNETTA          NJ - USDC for the District of New Jersey   3:20-cv-17350         FEARS NACHAWATI LAW FIRM
MARBLE, TINA              NJ - USDC for the District of New Jersey   3:20-cv-19813         FEARS NACHAWATI LAW FIRM
MARESH-DRISCOLL, BONNIE   NJ - USDC for the District of New Jersey   3:20-cv-18500         FEARS NACHAWATI LAW FIRM
MARFISI, MINDY            NJ - USDC for the District of New Jersey   3:20-cv-17500         FEARS NACHAWATI LAW FIRM
MARIN, BECKY              NJ - USDC for the District of New Jersey   3:20-cv-16262         FEARS NACHAWATI LAW FIRM
MARKHAM, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-13356         FEARS NACHAWATI LAW FIRM
MARKS, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-11386         FEARS NACHAWATI LAW FIRM
MARKS, LISA               NJ - USDC for the District of New Jersey   3:19-cv-15041         FEARS NACHAWATI LAW FIRM
MARKS, ZONIWEESE          NJ - USDC for the District of New Jersey   3:20-cv-17489         FEARS NACHAWATI LAW FIRM
MARQUEZ, AMANDA           NJ - USDC for the District of New Jersey   3:20-cv-16631         FEARS NACHAWATI LAW FIRM
MARRERO, LIBRADA          NJ - USDC for the District of New Jersey   3:20-cv-17482         FEARS NACHAWATI LAW FIRM
MARRIOTT, GENA            NJ - USDC for the District of New Jersey   3:20-cv-19233         FEARS NACHAWATI LAW FIRM
MARSH, ALESHIA            NJ - USDC for the District of New Jersey   3:20-cv-15642         FEARS NACHAWATI LAW FIRM
MARSHALL, CATHERINE       NJ - USDC for the District of New Jersey   3:18-cv-13589         FEARS NACHAWATI LAW FIRM
MARSHALL, GWENDOLYN       NJ - USDC for the District of New Jersey   3:20-cv-11241         FEARS NACHAWATI LAW FIRM
MARSHALL, LYTASHE         NJ - USDC for the District of New Jersey   3:20-cv-17507         FEARS NACHAWATI LAW FIRM
MARSHALL, MARILYN         NJ - USDC for the District of New Jersey   3:20-cv-18649         FEARS NACHAWATI LAW FIRM
MARSHALL, TENEKA          NJ - USDC for the District of New Jersey   3:20-cv-19799         FEARS NACHAWATI LAW FIRM
MARSHALL, VIRGINIA        NJ - USDC for the District of New Jersey   3:20-cv-19839         FEARS NACHAWATI LAW FIRM
MARSHALL-GRAHAM, MYRTLE   NJ - USDC for the District of New Jersey   3:20-cv-11575         FEARS NACHAWATI LAW FIRM
MARTIN, ANNEMARIE         NJ - USDC for the District of New Jersey   3:20-cv-16189         FEARS NACHAWATI LAW FIRM
MARTIN, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-18964         FEARS NACHAWATI LAW FIRM
MARTIN, SONDRA            NJ - USDC for the District of New Jersey   3:20-cv-11424         FEARS NACHAWATI LAW FIRM
MARTIN, SONJA             NJ - USDC for the District of New Jersey   3:20-cv-19446         FEARS NACHAWATI LAW FIRM
MARTINDALE, GWINDA        NJ - USDC for the District of New Jersey   3:20-cv-11985         FEARS NACHAWATI LAW FIRM
MARTINEZ, ANGELINA        NJ - USDC for the District of New Jersey   3:20-cv-11341         FEARS NACHAWATI LAW FIRM
MARTINEZ, CATHY           NJ - USDC for the District of New Jersey   3:20-cv-19146         FEARS NACHAWATI LAW FIRM
MARTINEZ, ELOISE          NJ - USDC for the District of New Jersey   3:20-cv-19179         FEARS NACHAWATI LAW FIRM
MARTINEZ, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-17515         FEARS NACHAWATI LAW FIRM
MARTINEZ, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-17519         FEARS NACHAWATI LAW FIRM
MARTINOWICZ, MARY         NJ - USDC for the District of New Jersey   3:20-cv-18558         FEARS NACHAWATI LAW FIRM
MASI, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-11484         FEARS NACHAWATI LAW FIRM
MASON, MIRIAM             NJ - USDC for the District of New Jersey   3:20-cv-20024         FEARS NACHAWATI LAW FIRM
MAST, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-18899         FEARS NACHAWATI LAW FIRM
MASTRANDREA, CLARA        NJ - USDC for the District of New Jersey   3:20-cv-19557         FEARS NACHAWATI LAW FIRM
MASUD, FAIROZ             NJ - USDC for the District of New Jersey   3:20-cv-17522         FEARS NACHAWATI LAW FIRM
MATHIS, MARCELLA          NJ - USDC for the District of New Jersey   3:20-cv-10992         FEARS NACHAWATI LAW FIRM
MATHIS, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-19387         FEARS NACHAWATI LAW FIRM
MATIAS, ADILENE           NJ - USDC for the District of New Jersey   3:20-cv-16000         FEARS NACHAWATI LAW FIRM
MATSUOKA, LORI            NJ - USDC for the District of New Jersey   3:20-cv-19641         FEARS NACHAWATI LAW FIRM
MATTHEW, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-13315         FEARS NACHAWATI LAW FIRM
MATTHEWS, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-17527         FEARS NACHAWATI LAW FIRM
MATTHEWS-HARDEN, ADRIAN   NJ - USDC for the District of New Jersey   3:20-cv-19070         FEARS NACHAWATI LAW FIRM
MATTHIS, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-15807         FEARS NACHAWATI LAW FIRM
MATTY, LYNN               NJ - USDC for the District of New Jersey   3:20-cv-00203         FEARS NACHAWATI LAW FIRM
MATUS, BOBBY              NJ - USDC for the District of New Jersey   3:20-cv-18914         FEARS NACHAWATI LAW FIRM




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         Claimant Name                       State Filed                      Docket Number               Plaintiff Counsel
MAUCH, FLORINE               NJ - USDC for the District of New Jersey   3:20-cv-19196         FEARS NACHAWATI LAW FIRM
MAULL, GLORIA                NJ - USDC for the District of New Jersey   3:20-cv-17573         FEARS NACHAWATI LAW FIRM
MAURONI, CYNDI               NJ - USDC for the District of New Jersey   3:20-cv-10690         FEARS NACHAWATI LAW FIRM
MAXAM-FRANK, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-12050         FEARS NACHAWATI LAW FIRM
MAXWELL, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-11541         FEARS NACHAWATI LAW FIRM
MAXWELL, DAWNA               NJ - USDC for the District of New Jersey   3:20-cv-13179         FEARS NACHAWATI LAW FIRM
MAXWELL, PHEBE               NJ - USDC for the District of New Jersey   3:20-cv-17571         FEARS NACHAWATI LAW FIRM
MAY, CAROL                   NJ - USDC for the District of New Jersey   3:20-cv-17569         FEARS NACHAWATI LAW FIRM
MAY, SUSIE                   NJ - USDC for the District of New Jersey   3:20-cv-17565         FEARS NACHAWATI LAW FIRM
MAYES, LINNETTE              NJ - USDC for the District of New Jersey   3:20-cv-19478         FEARS NACHAWATI LAW FIRM
MAYNARD, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-17582         FEARS NACHAWATI LAW FIRM
MAYO, HATTIE                 NJ - USDC for the District of New Jersey   3:20-cv-11425         FEARS NACHAWATI LAW FIRM
MAYO, RUTH                   NJ - USDC for the District of New Jersey   3:20-cv-17584         FEARS NACHAWATI LAW FIRM
MAY-ROSARIO, VENITA          NJ - USDC for the District of New Jersey   3:20-cv-15784         FEARS NACHAWATI LAW FIRM
MAYS, ADRIENE                NJ - USDC for the District of New Jersey   3:20-cv-10620         FEARS NACHAWATI LAW FIRM
MAYS, BOBBIE                 NJ - USDC for the District of New Jersey   3:20-cv-18495         FEARS NACHAWATI LAW FIRM
MAYS-DICKENS, SHUANA         NJ - USDC for the District of New Jersey   3:20-cv-20152         FEARS NACHAWATI LAW FIRM
MAZUROWSKI, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-09344         FEARS NACHAWATI LAW FIRM
MCALISTER, DELORIES          NJ - USDC for the District of New Jersey   3:20-cv-17591         FEARS NACHAWATI LAW FIRM
MCANALLY, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-11619         FEARS NACHAWATI LAW FIRM
MCANALLY, TANNA              NJ - USDC for the District of New Jersey   3:20-cv-17597         FEARS NACHAWATI LAW FIRM
MCANINCH, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-11239         FEARS NACHAWATI LAW FIRM
MCBRIDE, MARLO               NJ - USDC for the District of New Jersey   3:20-cv-17599         FEARS NACHAWATI LAW FIRM
MCBRIDE, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-10895         FEARS NACHAWATI LAW FIRM
MCBRIDE, RAE                 NJ - USDC for the District of New Jersey   3:20-cv-19702         FEARS NACHAWATI LAW FIRM
MCBRIDE, VERONICA            NJ - USDC for the District of New Jersey   3:20-cv-19827         FEARS NACHAWATI LAW FIRM
MCBROOM, KATHY               NJ - USDC for the District of New Jersey   3:20-cv-17628         FEARS NACHAWATI LAW FIRM
MCCAIN, BERNICE              NJ - USDC for the District of New Jersey   3:20-cv-19515         FEARS NACHAWATI LAW FIRM
MCCALL, SHUBIA               NJ - USDC for the District of New Jersey   3:20-cv-19441         FEARS NACHAWATI LAW FIRM
MCCANN, TEQUITA              NJ - USDC for the District of New Jersey   3:20-cv-10934         FEARS NACHAWATI LAW FIRM
MCCARGISH, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-19171         FEARS NACHAWATI LAW FIRM
MCCARTY, JERI                NJ - USDC for the District of New Jersey   3:20-cv-18579         FEARS NACHAWATI LAW FIRM
MCCLARNON, LORI              NJ - USDC for the District of New Jersey   3:20-cv-17636         FEARS NACHAWATI LAW FIRM
MCCLELAND, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17644         FEARS NACHAWATI LAW FIRM
MCCLELLON, REGINA            NJ - USDC for the District of New Jersey   3:20-cv-17652         FEARS NACHAWATI LAW FIRM
MCCLENDON, BRIANNA           NJ - USDC for the District of New Jersey   3:20-cv-17657         FEARS NACHAWATI LAW FIRM
MCCLUNEY, ANGELEAN           NJ - USDC for the District of New Jersey   3:20-cv-15711         FEARS NACHAWATI LAW FIRM
MCCLURE, MARGHANNA           NJ - USDC for the District of New Jersey   3:20-cv-11312         FEARS NACHAWATI LAW FIRM
MCCOLLEY, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-11418         FEARS NACHAWATI LAW FIRM
MCCOOL, JACQULYNNE           NJ - USDC for the District of New Jersey   3:20-cv-18521         FEARS NACHAWATI LAW FIRM
MCCORMACK, JOANN             NJ - USDC for the District of New Jersey   3:20-cv-19753         FEARS NACHAWATI LAW FIRM
MCCORMICK, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-11266         FEARS NACHAWATI LAW FIRM
MCCOY, KRYSTLE               NJ - USDC for the District of New Jersey   3:20-cv-08544         FEARS NACHAWATI LAW FIRM
MCCOY, ROBERTA               NJ - USDC for the District of New Jersey   3:20-cv-19135         FEARS NACHAWATI LAW FIRM
MCCURDY, CAROLINE            NJ - USDC for the District of New Jersey   3:20-cv-11300         FEARS NACHAWATI LAW FIRM
MCDANIEL, LYNDA              NJ - USDC for the District of New Jersey   3:20-cv-17113         FEARS NACHAWATI LAW FIRM
MCDOE, ELLA                  NJ - USDC for the District of New Jersey   3:20-cv-17364         FEARS NACHAWATI LAW FIRM
MCDONALD, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-11358         FEARS NACHAWATI LAW FIRM
MCDONALD, FAYE               NJ - USDC for the District of New Jersey   3:20-cv-11732         FEARS NACHAWATI LAW FIRM
MCDONALD, LAURA              NJ - USDC for the District of New Jersey   3:17-cv-08154         FEARS NACHAWATI LAW FIRM
MCDONALD, MARY               NJ - USDC for the District of New Jersey   3:20-cv-10515         FEARS NACHAWATI LAW FIRM
MCDONALD, NICOLE             NJ - USDC for the District of New Jersey   3:20-cv-17187         FEARS NACHAWATI LAW FIRM
MCDONALD, RITA               NJ - USDC for the District of New Jersey   3:20-cv-17172         FEARS NACHAWATI LAW FIRM
MCDONALD, SHELIA             NJ - USDC for the District of New Jersey   3:20-cv-17156         FEARS NACHAWATI LAW FIRM
MCDOWELL, DENISA             NJ - USDC for the District of New Jersey   3:20-cv-11254         FEARS NACHAWATI LAW FIRM
MCDOWELL, RUBY               NJ - USDC for the District of New Jersey   3:20-cv-19428         FEARS NACHAWATI LAW FIRM
MCELMEEL, AMANDA             NJ - USDC for the District of New Jersey   3:20-cv-18437         FEARS NACHAWATI LAW FIRM
MCELROY, CHRISTA             NJ - USDC for the District of New Jersey   3:18-cv-13569         FEARS NACHAWATI LAW FIRM
MCELROY-ELLISON, ROSA        NJ - USDC for the District of New Jersey   3:20-cv-17169         FEARS NACHAWATI LAW FIRM
MCFADDEN, MATTIE             NJ - USDC for the District of New Jersey   3:20-cv-19672         FEARS NACHAWATI LAW FIRM
MCFADDEN, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-10996         FEARS NACHAWATI LAW FIRM
MCFARLAND-BOGAN, CASSANDRA   NJ - USDC for the District of New Jersey   3:20-cv-01222         FEARS NACHAWATI LAW FIRM
MCGARRY, ALYCE               NJ - USDC for the District of New Jersey   3:20-cv-19051         FEARS NACHAWATI LAW FIRM
MCGEE, DAWN                  NJ - USDC for the District of New Jersey   3:20-cv-18812         FEARS NACHAWATI LAW FIRM
MCGOWAN, LENA                NJ - USDC for the District of New Jersey   3:20-cv-17236         FEARS NACHAWATI LAW FIRM
MCKEE, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-11570         FEARS NACHAWATI LAW FIRM
MCKEE, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-17182         FEARS NACHAWATI LAW FIRM
MCKEE, YVONNE                NJ - USDC for the District of New Jersey   3:20-cv-11476         FEARS NACHAWATI LAW FIRM
MCKENNEY, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-19583         FEARS NACHAWATI LAW FIRM
MCKENZIE, ANDREA             NJ - USDC for the District of New Jersey   3:20-cv-19050         FEARS NACHAWATI LAW FIRM
MCKINNEY, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-19354         FEARS NACHAWATI LAW FIRM
MCKINNEY, ETHEL              NJ - USDC for the District of New Jersey   3:20-cv-11723         FEARS NACHAWATI LAW FIRM
MCKINNEY, GERTIE             NJ - USDC for the District of New Jersey   3:20-cv-13352         FEARS NACHAWATI LAW FIRM
MCKINNEY, JANET              NJ - USDC for the District of New Jersey   3:20-cv-11607         FEARS NACHAWATI LAW FIRM
MCKINNEY, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-11638         FEARS NACHAWATI LAW FIRM
MCKINNEY, SHERRILL           NJ - USDC for the District of New Jersey   3:20-cv-19359         FEARS NACHAWATI LAW FIRM
MCKNIGHT, KATHRYN            NJ - USDC for the District of New Jersey   3:20-cv-11887         FEARS NACHAWATI LAW FIRM
MCKOY, PAMELA                NJ - USDC for the District of New Jersey   3:20-cv-19078         FEARS NACHAWATI LAW FIRM
MCLELLAN, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-17353         FEARS NACHAWATI LAW FIRM
MCMILLAN, MAKEISHA           NJ - USDC for the District of New Jersey   3:20-cv-17226         FEARS NACHAWATI LAW FIRM




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          Claimant Name                       State Filed                      Docket Number               Plaintiff Counsel
MCMILLER-IFEADIKE, ROSALIND   NJ - USDC for the District of New Jersey   3:18-cv-03934         FEARS NACHAWATI LAW FIRM
MCMILLIAN, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-19943         FEARS NACHAWATI LAW FIRM
MCMILLIAN, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-17153         FEARS NACHAWATI LAW FIRM
MCMULLEN, CONCETTA            NJ - USDC for the District of New Jersey   3:20-cv-19648         FEARS NACHAWATI LAW FIRM
MCNEIL, ROSA                  NJ - USDC for the District of New Jersey   3:20-cv-19151         FEARS NACHAWATI LAW FIRM
MCQUEEN, SANDRA               NJ - USDC for the District of New Jersey   3:20-cv-09396         FEARS NACHAWATI LAW FIRM
MCRAE, GWENDLYN               NJ - USDC for the District of New Jersey   3:20-cv-10778         FEARS NACHAWATI LAW FIRM
MCVEY, BEVERLY                NJ - USDC for the District of New Jersey   3:20-cv-10664         FEARS NACHAWATI LAW FIRM
MEAD, PATRICIA                NJ - USDC for the District of New Jersey   3:21-cv-01118         FEARS NACHAWATI LAW FIRM
MEADOWS, STEPHANIE            NJ - USDC for the District of New Jersey   3:20-cv-17144         FEARS NACHAWATI LAW FIRM
MEADWOS, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-19751         FEARS NACHAWATI LAW FIRM
MEARS, ORAH                   NJ - USDC for the District of New Jersey   3:20-cv-19096         FEARS NACHAWATI LAW FIRM
MEDFORD, CHRISTY              NJ - USDC for the District of New Jersey   3:20-cv-15744         FEARS NACHAWATI LAW FIRM
MEDINA, ANTOINETTE            NJ - USDC for the District of New Jersey   3:20-cv-16312         FEARS NACHAWATI LAW FIRM
MEDLEY, HELEN                 NJ - USDC for the District of New Jersey   3:20-cv-11231         FEARS NACHAWATI LAW FIRM
MEDLOCK, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-17219         FEARS NACHAWATI LAW FIRM
MEDSKER, MAGGIE               NJ - USDC for the District of New Jersey   3:20-cv-17230         FEARS NACHAWATI LAW FIRM
MEDVED, ANDREA                NJ - USDC for the District of New Jersey   3:20-cv-15886         FEARS NACHAWATI LAW FIRM
MEEKS, SHIRLEY                NJ - USDC for the District of New Jersey   3:20-cv-11445         FEARS NACHAWATI LAW FIRM
MEJIA, MIRYAM                 NJ - USDC for the District of New Jersey   3:20-cv-11736         FEARS NACHAWATI LAW FIRM
MELCHER, PHYLLIS              NJ - USDC for the District of New Jersey   3:20-cv-19159         FEARS NACHAWATI LAW FIRM
MELENCIANO, ISABEL            NJ - USDC for the District of New Jersey   3:20-cv-17257         FEARS NACHAWATI LAW FIRM
MELTON, GLORIA                NJ - USDC for the District of New Jersey   3:20-cv-11423         FEARS NACHAWATI LAW FIRM
MELTON, KELLY                 NJ - USDC for the District of New Jersey   3:20-cv-17249         FEARS NACHAWATI LAW FIRM
MELTON, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-18754         FEARS NACHAWATI LAW FIRM
MENDEL, LINDA                 NJ - USDC for the District of New Jersey   3:20-cv-19163         FEARS NACHAWATI LAW FIRM
MENDENHALL, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-00358         FEARS NACHAWATI LAW FIRM
MENDEZ, DELIA                 NJ - USDC for the District of New Jersey   3:20-cv-18937         FEARS NACHAWATI LAW FIRM
MENDEZ, ESTER                 NJ - USDC for the District of New Jersey   3:20-cv-06863         FEARS NACHAWATI LAW FIRM
MENDOZA, CONSTANCE            NJ - USDC for the District of New Jersey   3:20-cv-11569         FEARS NACHAWATI LAW FIRM
MENDOZA, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-09725         FEARS NACHAWATI LAW FIRM
MENDOZA, MARIA                NJ - USDC for the District of New Jersey   3:20-cv-11564         FEARS NACHAWATI LAW FIRM
MENEFEE, GALE                 NJ - USDC for the District of New Jersey   3:20-cv-11276         FEARS NACHAWATI LAW FIRM
MENENDEZ, IRENE               NJ - USDC for the District of New Jersey   3:20-cv-10860         FEARS NACHAWATI LAW FIRM
MENESES, DORIS                NJ - USDC for the District of New Jersey   3:20-cv-11273         FEARS NACHAWATI LAW FIRM
MEO, CONSTANCE                NJ - USDC for the District of New Jersey   3:20-cv-20155         FEARS NACHAWATI LAW FIRM
MERCADO, ESTHER               NJ - USDC for the District of New Jersey   3:20-cv-19168         FEARS NACHAWATI LAW FIRM
MERCADO, MARIA                NJ - USDC for the District of New Jersey   3:20-cv-01243         FEARS NACHAWATI LAW FIRM
MERECKA, SAN JUANITA          NJ - USDC for the District of New Jersey   3:20-cv-10590         FEARS NACHAWATI LAW FIRM
MERRIWETHER, CHARLOTTE        NJ - USDC for the District of New Jersey   3:20-cv-19177         FEARS NACHAWATI LAW FIRM
MERROW, BEVERLY               NJ - USDC for the District of New Jersey   3:20-cv-10362         FEARS NACHAWATI LAW FIRM
MERRYMAN, NORMA               NJ - USDC for the District of New Jersey   3:20-cv-11739         FEARS NACHAWATI LAW FIRM
METCALF, LORETTA              NJ - USDC for the District of New Jersey   3:20-cv-12745         FEARS NACHAWATI LAW FIRM
METCALF, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-11031         FEARS NACHAWATI LAW FIRM
METZGER, FRANCES              NJ - USDC for the District of New Jersey   3:20-cv-11738         FEARS NACHAWATI LAW FIRM
METZGER, PAULINE              NJ - USDC for the District of New Jersey   3:20-cv-17180         FEARS NACHAWATI LAW FIRM
METZLER, CAROL                NJ - USDC for the District of New Jersey   3:18-cv-14658         FEARS NACHAWATI LAW FIRM
MEYER, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-11504         FEARS NACHAWATI LAW FIRM
MEYERS, LISA                  NJ - USDC for the District of New Jersey   3:20-cv-09698         FEARS NACHAWATI LAW FIRM
MICHALSKI, WENDI              NJ - USDC for the District of New Jersey   3:20-cv-18530         FEARS NACHAWATI LAW FIRM
MICHNOWSKI, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-08580         FEARS NACHAWATI LAW FIRM
MIDDLEBROOKS, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-11881         FEARS NACHAWATI LAW FIRM
MIDDLETON, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-18510         FEARS NACHAWATI LAW FIRM
MIKUS, MARIE                  NJ - USDC for the District of New Jersey   3:20-cv-11226         FEARS NACHAWATI LAW FIRM
MILEM, ANN                    NJ - USDC for the District of New Jersey   3:20-cv-19795         FEARS NACHAWATI LAW FIRM
MILES, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-17232         FEARS NACHAWATI LAW FIRM
MILES, RACHEL                 NJ - USDC for the District of New Jersey   3:20-cv-17175         FEARS NACHAWATI LAW FIRM
MILICI, THERESA               NJ - USDC for the District of New Jersey   3:18-cv-13663         FEARS NACHAWATI LAW FIRM
MILLER, BERNADINE             NJ - USDC for the District of New Jersey   3:20-cv-19503         FEARS NACHAWATI LAW FIRM
MILLER, BRENDA                NJ - USDC for the District of New Jersey   3:20-cv-18910         FEARS NACHAWATI LAW FIRM
MILLER, CHARLOTTE             NJ - USDC for the District of New Jersey   3:20-cv-11388         FEARS NACHAWATI LAW FIRM
MILLER, DEBORAH               NJ - USDC for the District of New Jersey   3:20-cv-19182         FEARS NACHAWATI LAW FIRM
MILLER, DOROTHY               NJ - USDC for the District of New Jersey   3:20-cv-10769         FEARS NACHAWATI LAW FIRM
MILLER, ELAINE                NJ - USDC for the District of New Jersey   3:20-cv-11390         FEARS NACHAWATI LAW FIRM
MILLER, GLADYS                NJ - USDC for the District of New Jersey   3:20-cv-11744         FEARS NACHAWATI LAW FIRM
MILLER, INA                   NJ - USDC for the District of New Jersey   3:20-cv-09905         FEARS NACHAWATI LAW FIRM
MILLER, LESLEY                NJ - USDC for the District of New Jersey   3:20-cv-10612         FEARS NACHAWATI LAW FIRM
MILLER, LULA                  NJ - USDC for the District of New Jersey   3:20-cv-11536         FEARS NACHAWATI LAW FIRM
MILLER, MARILU                NJ - USDC for the District of New Jersey   3:20-cv-17224         FEARS NACHAWATI LAW FIRM
MILLER, MELISSA               NJ - USDC for the District of New Jersey   3:20-cv-07181         FEARS NACHAWATI LAW FIRM
MILLETT, SANDRA               NJ - USDC for the District of New Jersey   3:20-cv-19277         FEARS NACHAWATI LAW FIRM
MILLS, ERMA                   NJ - USDC for the District of New Jersey   3:20-cv-10780         FEARS NACHAWATI LAW FIRM
MING, GAYNA                   NJ - USDC for the District of New Jersey   3:20-cv-11225         FEARS NACHAWATI LAW FIRM
MINOR, SHEILA                 NJ - USDC for the District of New Jersey   3:20-cv-12146         FEARS NACHAWATI LAW FIRM
MIOLEN, LAURA                 NJ - USDC for the District of New Jersey   3:20-cv-17238         FEARS NACHAWATI LAW FIRM
MIRACLE, JUDY                 NJ - USDC for the District of New Jersey   3:20-cv-13289         FEARS NACHAWATI LAW FIRM
MISBACH, JUDY                 NJ - USDC for the District of New Jersey   3:20-cv-19757         FEARS NACHAWATI LAW FIRM
MITCHELL, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-18819         FEARS NACHAWATI LAW FIRM
MITCHELL, DIANE               NJ - USDC for the District of New Jersey   3:20-cv-17367         FEARS NACHAWATI LAW FIRM
MITCHELL, IRENE               NJ - USDC for the District of New Jersey   3:20-cv-19190         FEARS NACHAWATI LAW FIRM




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         Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
MITCHELL, JANE             NJ - USDC for the District of New Jersey   3:20-cv-17254         FEARS NACHAWATI LAW FIRM
MITCHELL, MARZETTA         NJ - USDC for the District of New Jersey   3:20-cv-17214         FEARS NACHAWATI LAW FIRM
MITCHELL, ROZENIA          NJ - USDC for the District of New Jersey   3:20-cv-17167         FEARS NACHAWATI LAW FIRM
MITCHELL, TISHA            NJ - USDC for the District of New Jersey   3:20-cv-17356         FEARS NACHAWATI LAW FIRM
MITCHELL, VONCIELE         NJ - USDC for the District of New Jersey   3:20-cv-17360         FEARS NACHAWATI LAW FIRM
MITCHELL-TILLEY, MARILYN   NJ - USDC for the District of New Jersey   3:20-cv-18595         FEARS NACHAWATI LAW FIRM
MITCHMORE, KRYSTAL         NJ - USDC for the District of New Jersey   3:20-cv-17243         FEARS NACHAWATI LAW FIRM
MITTS, HEATHER             NJ - USDC for the District of New Jersey   3:20-cv-18573         FEARS NACHAWATI LAW FIRM
MOBLEY, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-11350         FEARS NACHAWATI LAW FIRM
MOCERI, PEARL              NJ - USDC for the District of New Jersey   3:20-cv-11857         FEARS NACHAWATI LAW FIRM
MOFFATT, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-17260         FEARS NACHAWATI LAW FIRM
MOFIELD, LEONA             NJ - USDC for the District of New Jersey   3:20-cv-11770         FEARS NACHAWATI LAW FIRM
MOHAMMADI, DANA            NJ - USDC for the District of New Jersey   3:20-cv-17138         FEARS NACHAWATI LAW FIRM
MOHAMMAD-ZADEH, DIANNA     NJ - USDC for the District of New Jersey   3:20-cv-18840         FEARS NACHAWATI LAW FIRM
MOHLER, AMANDA             NJ - USDC for the District of New Jersey   3:20-cv-16642         FEARS NACHAWATI LAW FIRM
MOHLER, SHANNON            NJ - USDC for the District of New Jersey   3:20-cv-11724         FEARS NACHAWATI LAW FIRM
MOHRE, LILY                NJ - USDC for the District of New Jersey   3:20-cv-11773         FEARS NACHAWATI LAW FIRM
MOISE, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-19077         FEARS NACHAWATI LAW FIRM
MOLDENHAUER, ANGELA        NJ - USDC for the District of New Jersey   3:20-cv-15912         FEARS NACHAWATI LAW FIRM
MOMAN, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-17352         FEARS NACHAWATI LAW FIRM
MONACO, JANET              NJ - USDC for the District of New Jersey   3:21-cv-15607         FEARS NACHAWATI LAW FIRM
MONCADA, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-18488         FEARS NACHAWATI LAW FIRM
MONDOK, GRACE              NJ - USDC for the District of New Jersey   3:20-cv-10490         FEARS NACHAWATI LAW FIRM
MONGO, MAUREEN             NJ - USDC for the District of New Jersey   3:20-cv-17212         FEARS NACHAWATI LAW FIRM
MONROE, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-11689         FEARS NACHAWATI LAW FIRM
MONTALVAN, BERTA           NJ - USDC for the District of New Jersey   3:20-cv-18474         FEARS NACHAWATI LAW FIRM
MONTGOMERY, MARCIA         NJ - USDC for the District of New Jersey   3:20-cv-19774         FEARS NACHAWATI LAW FIRM
MONTGOMERY, ROCHELLE       NJ - USDC for the District of New Jersey   3:20-cv-17738         FEARS NACHAWATI LAW FIRM
MONTOOTH, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-09803         FEARS NACHAWATI LAW FIRM
MONTOYA, ERNISTINA         NJ - USDC for the District of New Jersey   3:20-cv-17752         FEARS NACHAWATI LAW FIRM
MONTSINGER, JENIFER        NJ - USDC for the District of New Jersey   3:20-cv-11450         FEARS NACHAWATI LAW FIRM
MOOLAH, PATRICE            NJ - USDC for the District of New Jersey   3:20-cv-09794         FEARS NACHAWATI LAW FIRM
MOON, SARA                 NJ - USDC for the District of New Jersey   3:20-cv-17770         FEARS NACHAWATI LAW FIRM
MOORE, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-13160         FEARS NACHAWATI LAW FIRM
MOORE, DARLENE             NJ - USDC for the District of New Jersey   3:20-cv-17828         FEARS NACHAWATI LAW FIRM
MOORE, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-17786         FEARS NACHAWATI LAW FIRM
MOORE, EVELYN              NJ - USDC for the District of New Jersey   3:20-cv-11062         FEARS NACHAWATI LAW FIRM
MOORE, JACQUELIN           NJ - USDC for the District of New Jersey   3:18-cv-13639         FEARS NACHAWATI LAW FIRM
MOORE, JAMIE               NJ - USDC for the District of New Jersey   3:20-cv-19610         FEARS NACHAWATI LAW FIRM
MOORE, JOHNNIE             NJ - USDC for the District of New Jersey   3:20-cv-19761         FEARS NACHAWATI LAW FIRM
MOORE, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-20162         FEARS NACHAWATI LAW FIRM
MOORE, LOIS                NJ - USDC for the District of New Jersey   3:20-cv-19636         FEARS NACHAWATI LAW FIRM
MOORE, MAMIE               NJ - USDC for the District of New Jersey   3:18-cv-13595         FEARS NACHAWATI LAW FIRM
MOORE, MARGARET            NJ - USDC for the District of New Jersey   3:19-cv-21383         FEARS NACHAWATI LAW FIRM
MOORE, MARYLL              NJ - USDC for the District of New Jersey   3:20-cv-17777         FEARS NACHAWATI LAW FIRM
MOORE, RACHEL              NJ - USDC for the District of New Jersey   3:20-cv-19690         FEARS NACHAWATI LAW FIRM
MOORE, SARAH               NJ - USDC for the District of New Jersey   3:20-cv-12070         FEARS NACHAWATI LAW FIRM
MOORE, SHARON              NJ - USDC for the District of New Jersey   3:20-cv-17810         FEARS NACHAWATI LAW FIRM
MOORE, SHELLEY             NJ - USDC for the District of New Jersey   3:20-cv-11726         FEARS NACHAWATI LAW FIRM
MOORE, SUSAN               NJ - USDC for the District of New Jersey   3:19-cv-21381         FEARS NACHAWATI LAW FIRM
MOORERE, CHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-17855         FEARS NACHAWATI LAW FIRM
MORALES, JACKELINE         NJ - USDC for the District of New Jersey   3:20-cv-19592         FEARS NACHAWATI LAW FIRM
MORAN, PENELOPE            NJ - USDC for the District of New Jersey   3:20-cv-17873         FEARS NACHAWATI LAW FIRM
MORE, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-11520         FEARS NACHAWATI LAW FIRM
MOREELS, EMMA              NJ - USDC for the District of New Jersey   3:20-cv-17878         FEARS NACHAWATI LAW FIRM
MORENO, ADRIANA            NJ - USDC for the District of New Jersey   3:20-cv-10609         FEARS NACHAWATI LAW FIRM
MORENO, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-15709         FEARS NACHAWATI LAW FIRM
MORENO, ESPERANZA          NJ - USDC for the District of New Jersey   3:20-cv-17906         FEARS NACHAWATI LAW FIRM
MORENO, ESTELLA            NJ - USDC for the District of New Jersey   3:20-cv-17900         FEARS NACHAWATI LAW FIRM
MORENO, TAMERA             NJ - USDC for the District of New Jersey   3:20-cv-17890         FEARS NACHAWATI LAW FIRM
MORGAN, AIMEE              NJ - USDC for the District of New Jersey   3:20-cv-16296         FEARS NACHAWATI LAW FIRM
MORGAN, AMBER              NJ - USDC for the District of New Jersey   3:20-cv-19060         FEARS NACHAWATI LAW FIRM
MORGAN, HESTER             NJ - USDC for the District of New Jersey   3:20-cv-18688         FEARS NACHAWATI LAW FIRM
MORGAN, JEN                NJ - USDC for the District of New Jersey   3:20-cv-17399         FEARS NACHAWATI LAW FIRM
MORGAN, JULIA              NJ - USDC for the District of New Jersey   3:20-cv-17724         FEARS NACHAWATI LAW FIRM
MORGANFIELD, LINDA         NJ - USDC for the District of New Jersey   3:20-cv-11535         FEARS NACHAWATI LAW FIRM
MORQUECHO, ROSA            NJ - USDC for the District of New Jersey   3:18-cv-13629         FEARS NACHAWATI LAW FIRM
MORRIS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-13370         FEARS NACHAWATI LAW FIRM
MORRIS, CAROLE             NJ - USDC for the District of New Jersey   3:20-cv-17459         FEARS NACHAWATI LAW FIRM
MORRIS, DAWANAH            NJ - USDC for the District of New Jersey   3:20-cv-18809         FEARS NACHAWATI LAW FIRM
MORRIS, SELESTER           NJ - USDC for the District of New Jersey   3:20-cv-17528         FEARS NACHAWATI LAW FIRM
MORRIS, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-17481         FEARS NACHAWATI LAW FIRM
MORRIS, UNA                NJ - USDC for the District of New Jersey   3:20-cv-17589         FEARS NACHAWATI LAW FIRM
MORRIS, VICKIE             NJ - USDC for the District of New Jersey   3:20-cv-17520         FEARS NACHAWATI LAW FIRM
MORRISON, DIANNE           NJ - USDC for the District of New Jersey   3:20-cv-17603         FEARS NACHAWATI LAW FIRM
MORRISON, GYPSY            NJ - USDC for the District of New Jersey   3:20-cv-13353         FEARS NACHAWATI LAW FIRM
MORRISON, PAULA            NJ - USDC for the District of New Jersey   3:20-cv-18343         FEARS NACHAWATI LAW FIRM
MORROW, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-11886         FEARS NACHAWATI LAW FIRM
MORSE, ROSEMARY            NJ - USDC for the District of New Jersey   3:20-cv-19207         FEARS NACHAWATI LAW FIRM
MOSBY, LASHAUN             NJ - USDC for the District of New Jersey   3:20-cv-17637         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MOSELEY, AGNES            NJ - USDC for the District of New Jersey   3:20-cv-19028         FEARS NACHAWATI LAW FIRM
MOSS, DELPHINE            NJ - USDC for the District of New Jersey   3:20-cv-19201         FEARS NACHAWATI LAW FIRM
MOTLEY, OCTAVIA           NJ - USDC for the District of New Jersey   3:20-cv-17646         FEARS NACHAWATI LAW FIRM
MOTRONI, LOIS             NJ - USDC for the District of New Jersey   3:20-cv-13325         FEARS NACHAWATI LAW FIRM
MOULD, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-18916         FEARS NACHAWATI LAW FIRM
MOULTRIE, MARY            NJ - USDC for the District of New Jersey   3:20-cv-19645         FEARS NACHAWATI LAW FIRM
MOUTREY, MICHELLE         NJ - USDC for the District of New Jersey   3:20-cv-10546         FEARS NACHAWATI LAW FIRM
MUDD, PAMELA              NJ - USDC for the District of New Jersey   3:20-cv-17661         FEARS NACHAWATI LAW FIRM
MUELLER, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-11298         FEARS NACHAWATI LAW FIRM
MULDOWNEY, CHARLOTTE      NJ - USDC for the District of New Jersey   3:20-cv-15738         FEARS NACHAWATI LAW FIRM
MULLER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17671         FEARS NACHAWATI LAW FIRM
MULVHILL, SHANNON         NJ - USDC for the District of New Jersey   3:20-cv-15801         FEARS NACHAWATI LAW FIRM
MUNDO, ANA                NJ - USDC for the District of New Jersey   3:20-cv-16711         FEARS NACHAWATI LAW FIRM
MUNRO, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-09947         FEARS NACHAWATI LAW FIRM
MURDOCK, ADELL            NJ - USDC for the District of New Jersey   3:20-cv-11182         FEARS NACHAWATI LAW FIRM
MURDOCK, RHONDA           NJ - USDC for the District of New Jersey   3:21-cv-09662         FEARS NACHAWATI LAW FIRM
MURPHY, JACQUELYN         NJ - USDC for the District of New Jersey   3:20-cv-17680         FEARS NACHAWATI LAW FIRM
MURPHY, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-11439         FEARS NACHAWATI LAW FIRM
MURPHY-COONEY, COLLEEN    NJ - USDC for the District of New Jersey   3:20-cv-19391         FEARS NACHAWATI LAW FIRM
MURRAY, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-17691         FEARS NACHAWATI LAW FIRM
MYERS, JALANDA            NJ - USDC for the District of New Jersey   3:20-cv-17697         FEARS NACHAWATI LAW FIRM
MYLES, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-19218         FEARS NACHAWATI LAW FIRM
NABORS, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-17816         FEARS NACHAWATI LAW FIRM
NAILLING, BEVERLY         NJ - USDC for the District of New Jersey   3:20-cv-15929         FEARS NACHAWATI LAW FIRM
NAJAR, CAROLINE           NJ - USDC for the District of New Jersey   3:20-cv-11547         FEARS NACHAWATI LAW FIRM
NAJERA-DUNBAR, PAMELA     NJ - USDC for the District of New Jersey   3:20-cv-18683         FEARS NACHAWATI LAW FIRM
NANCARROW, MARY           NJ - USDC for the District of New Jersey   3:19-cv-00355         FEARS NACHAWATI LAW FIRM
NANCE, TIFFENY            NJ - USDC for the District of New Jersey   3:20-cv-15838         FEARS NACHAWATI LAW FIRM
NAPIER, REVA              NJ - USDC for the District of New Jersey   3:20-cv-17263         FEARS NACHAWATI LAW FIRM
NAPOLEAN, TEBERIA         NJ - USDC for the District of New Jersey   3:20-cv-17269         FEARS NACHAWATI LAW FIRM
NASH, LANACE              NJ - USDC for the District of New Jersey   3:20-cv-17270         FEARS NACHAWATI LAW FIRM
NATHAN, ARLETHEA          NJ - USDC for the District of New Jersey   3:20-cv-16339         FEARS NACHAWATI LAW FIRM
NEAL, ASHLEY              NJ - USDC for the District of New Jersey   3:20-cv-11168         FEARS NACHAWATI LAW FIRM
NEAL, CINDY               NJ - USDC for the District of New Jersey   3:20-cv-18644         FEARS NACHAWATI LAW FIRM
NEAL, LORNA               NJ - USDC for the District of New Jersey   3:20-cv-17369         FEARS NACHAWATI LAW FIRM
NEAL, SHONIE              NJ - USDC for the District of New Jersey   3:20-cv-17358         FEARS NACHAWATI LAW FIRM
NED, DELONDA              NJ - USDC for the District of New Jersey   3:20-cv-13405         FEARS NACHAWATI LAW FIRM
NEFF, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-17388         FEARS NACHAWATI LAW FIRM
NEGRON, GENEVIEVE         NJ - USDC for the District of New Jersey   3:20-cv-17393         FEARS NACHAWATI LAW FIRM
NEIBERT, VALERIE          NJ - USDC for the District of New Jersey   3:20-cv-17402         FEARS NACHAWATI LAW FIRM
NELSON, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-17512         FEARS NACHAWATI LAW FIRM
NELSON, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-10745         FEARS NACHAWATI LAW FIRM
NELSON, ERIN              NJ - USDC for the District of New Jersey   3:20-cv-17416         FEARS NACHAWATI LAW FIRM
NELSON, EVA               NJ - USDC for the District of New Jersey   3:17-cv-08416         FEARS NACHAWATI LAW FIRM
NELSON, JOSETTE           NJ - USDC for the District of New Jersey   3:20-cv-10831         FEARS NACHAWATI LAW FIRM
NELSON, LUCY              NJ - USDC for the District of New Jersey   3:20-cv-19765         FEARS NACHAWATI LAW FIRM
NELSON, MARTHA            NJ - USDC for the District of New Jersey   3:20-cv-17533         FEARS NACHAWATI LAW FIRM
NELSON, VANESSA           NJ - USDC for the District of New Jersey   3:20-cv-11025         FEARS NACHAWATI LAW FIRM
NETTLETON, JENNY          NJ - USDC for the District of New Jersey   3:20-cv-17534         FEARS NACHAWATI LAW FIRM
NEWCOMB, LISA             NJ - USDC for the District of New Jersey   3:20-cv-11930         FEARS NACHAWATI LAW FIRM
NEWKIRK, SONIA            NJ - USDC for the District of New Jersey   3:20-cv-09722         FEARS NACHAWATI LAW FIRM
NEWMAN, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-15716         FEARS NACHAWATI LAW FIRM
NEWMAN, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-11381         FEARS NACHAWATI LAW FIRM
NEWSOM, HATTIE            NJ - USDC for the District of New Jersey   3:20-cv-17535         FEARS NACHAWATI LAW FIRM
NEWSOME, JACQUELINE       NJ - USDC for the District of New Jersey   3:20-cv-09908         FEARS NACHAWATI LAW FIRM
NEWTON, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-17536         FEARS NACHAWATI LAW FIRM
NEWTON, SANDRA            NJ - USDC for the District of New Jersey   3:20-cv-11004         FEARS NACHAWATI LAW FIRM
NGUYEN, LYNDA             NJ - USDC for the District of New Jersey   3:20-cv-15969         FEARS NACHAWATI LAW FIRM
NICE, CLAUDIA             NJ - USDC for the District of New Jersey   3:20-cv-17558         FEARS NACHAWATI LAW FIRM
NICHOL, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-11551         FEARS NACHAWATI LAW FIRM
NICHOLS, LOUELLA          NJ - USDC for the District of New Jersey   3:20-cv-17581         FEARS NACHAWATI LAW FIRM
NICHOLS, SHONDA           NJ - USDC for the District of New Jersey   3:20-cv-17567         FEARS NACHAWATI LAW FIRM
NICHOLS, VIRGIE           NJ - USDC for the District of New Jersey   3:20-cv-17574         FEARS NACHAWATI LAW FIRM
NIEHAUS, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-17587         FEARS NACHAWATI LAW FIRM
NIKOUI, NEDA              NJ - USDC for the District of New Jersey   3:20-cv-11046         FEARS NACHAWATI LAW FIRM
NIX, KIMBERLY             NJ - USDC for the District of New Jersey   3:20-cv-11642         FEARS NACHAWATI LAW FIRM
NIXON, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-13245         FEARS NACHAWATI LAW FIRM
NOAKER, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-15919         FEARS NACHAWATI LAW FIRM
NOBLES, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-17396         FEARS NACHAWATI LAW FIRM
NOLAN, CINDY              NJ - USDC for the District of New Jersey   3:19-cv-08296         FEARS NACHAWATI LAW FIRM
NOLL, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-09779         FEARS NACHAWATI LAW FIRM
NORMAN, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-10888         FEARS NACHAWATI LAW FIRM
NORMAN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19655         FEARS NACHAWATI LAW FIRM
NORMAN, TAMORA            NJ - USDC for the District of New Jersey   3:20-cv-17513         FEARS NACHAWATI LAW FIRM
NORTH, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-11267         FEARS NACHAWATI LAW FIRM
NORTHCOTT-PARKS, TERESA   NJ - USDC for the District of New Jersey   3:20-cv-19808         FEARS NACHAWATI LAW FIRM
NORTON, CATHY             NJ - USDC for the District of New Jersey   3:19-cv-20066         FEARS NACHAWATI LAW FIRM
NOTTINGHAM, JUNE          NJ - USDC for the District of New Jersey   3:20-cv-11265         FEARS NACHAWATI LAW FIRM
NUTGRASS, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-17503         FEARS NACHAWATI LAW FIRM
NYMAN, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-19567         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
OAKLEY, SALLY             NJ - USDC for the District of New Jersey   3:20-cv-19158         FEARS NACHAWATI LAW FIRM
OBANNON, AMANDA           NJ - USDC for the District of New Jersey   3:20-cv-13118         FEARS NACHAWATI LAW FIRM
OBRIEN, JOANN             NJ - USDC for the District of New Jersey   3:20-cv-17493         FEARS NACHAWATI LAW FIRM
OCAMPO, VERDELL           NJ - USDC for the District of New Jersey   3:20-cv-15693         FEARS NACHAWATI LAW FIRM
OCONNOR, MARY             NJ - USDC for the District of New Jersey   3:20-cv-19594         FEARS NACHAWATI LAW FIRM
ODOM, DOLORES             NJ - USDC for the District of New Jersey   3:20-cv-17485         FEARS NACHAWATI LAW FIRM
OEHLERT, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-13393         FEARS NACHAWATI LAW FIRM
OFERT, CATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-17474         FEARS NACHAWATI LAW FIRM
OHARE, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-10925         FEARS NACHAWATI LAW FIRM
OKORO, ALETHA             NJ - USDC for the District of New Jersey   3:20-cv-11147         FEARS NACHAWATI LAW FIRM
OLBRYS, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-17521         FEARS NACHAWATI LAW FIRM
OLDES, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-17539         FEARS NACHAWATI LAW FIRM
OLECH, PAMELA             NJ - USDC for the District of New Jersey   3:19-cv-00232         FEARS NACHAWATI LAW FIRM
OLGE, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-16205         FEARS NACHAWATI LAW FIRM
OLIVER, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-19589         FEARS NACHAWATI LAW FIRM
OLLIS, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-18872         FEARS NACHAWATI LAW FIRM
OLSHEFSKI, MARIANNE       NJ - USDC for the District of New Jersey   3:18-cv-15786         FEARS NACHAWATI LAW FIRM
OLSON, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-16018         FEARS NACHAWATI LAW FIRM
OQUINN, TIFFANY           NJ - USDC for the District of New Jersey   3:20-cv-19375         FEARS NACHAWATI LAW FIRM
ORONA-SHELL, JOSEFINA     NJ - USDC for the District of New Jersey   3:20-cv-19786         FEARS NACHAWATI LAW FIRM
OROZCO, YOLANDA           NJ - USDC for the District of New Jersey   3:20-cv-10999         FEARS NACHAWATI LAW FIRM
ORR, CYNTHIA              NJ - USDC for the District of New Jersey   3:20-cv-17540         FEARS NACHAWATI LAW FIRM
ORR, JACQUELINE           NJ - USDC for the District of New Jersey   3:20-cv-19597         FEARS NACHAWATI LAW FIRM
ORTISI, MARY              NJ - USDC for the District of New Jersey   3:19-cv-00224         FEARS NACHAWATI LAW FIRM
ORTIZ, ISABEL             NJ - USDC for the District of New Jersey   3:20-cv-11967         FEARS NACHAWATI LAW FIRM
OSUCH, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-19554         FEARS NACHAWATI LAW FIRM
OTTEMAN, MADELINE         NJ - USDC for the District of New Jersey   3:20-cv-17542         FEARS NACHAWATI LAW FIRM
OWENS, CALLIE             NJ - USDC for the District of New Jersey   3:20-cv-18986         FEARS NACHAWATI LAW FIRM
OWENS, DARLENE            NJ - USDC for the District of New Jersey   3:20-cv-15658         FEARS NACHAWATI LAW FIRM
OWENS, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-17544         FEARS NACHAWATI LAW FIRM
OWENS, MICA               NJ - USDC for the District of New Jersey   3:20-cv-17543         FEARS NACHAWATI LAW FIRM
OWENS, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-19788         FEARS NACHAWATI LAW FIRM
OWINGS, ANA               NJ - USDC for the District of New Jersey   3:20-cv-11152         FEARS NACHAWATI LAW FIRM
PAAHANA, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-19779         FEARS NACHAWATI LAW FIRM
PACE, CINDY               NJ - USDC for the District of New Jersey   3:20-cv-18940         FEARS NACHAWATI LAW FIRM
PACHECO, GILBERTA         NJ - USDC for the District of New Jersey   3:20-cv-19225         FEARS NACHAWATI LAW FIRM
PACHECO, IRENE            NJ - USDC for the District of New Jersey   3:20-cv-11247         FEARS NACHAWATI LAW FIRM
PACHULSKI, NITA           NJ - USDC for the District of New Jersey   3:20-cv-17660         FEARS NACHAWATI LAW FIRM
PACKETT, NORA             NJ - USDC for the District of New Jersey   3:21-cv-13948         FEARS NACHAWATI LAW FIRM
PADGETT, JULAINE          NJ - USDC for the District of New Jersey   3:20-cv-11165         FEARS NACHAWATI LAW FIRM
PADILLA, ANA              NJ - USDC for the District of New Jersey   3:20-cv-15852         FEARS NACHAWATI LAW FIRM
PAGE, BONNIE              NJ - USDC for the District of New Jersey   3:20-cv-17654         FEARS NACHAWATI LAW FIRM
PAGE, FLORA               NJ - USDC for the District of New Jersey   3:20-cv-19029         FEARS NACHAWATI LAW FIRM
PAGLIA, CARLA             NJ - USDC for the District of New Jersey   3:20-cv-18893         FEARS NACHAWATI LAW FIRM
PAINTER-IRISH, DEBORAH    NJ - USDC for the District of New Jersey   3:20-cv-09769         FEARS NACHAWATI LAW FIRM
PALACIOS, ERMELA          NJ - USDC for the District of New Jersey   3:20-cv-19237         FEARS NACHAWATI LAW FIRM
PALACIOS, LIZZETH         NJ - USDC for the District of New Jersey   3:20-cv-18778         FEARS NACHAWATI LAW FIRM
PALADINO, PAULINE         NJ - USDC for the District of New Jersey   3:20-cv-11384         FEARS NACHAWATI LAW FIRM
PALMER, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-17651         FEARS NACHAWATI LAW FIRM
PALMER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19647         FEARS NACHAWATI LAW FIRM
PAMPLIN, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-11240         FEARS NACHAWATI LAW FIRM
PARENTI, DAWN             NJ - USDC for the District of New Jersey   3:20-cv-13426         FEARS NACHAWATI LAW FIRM
PARKE, JOANN              NJ - USDC for the District of New Jersey   3:20-cv-10803         FEARS NACHAWATI LAW FIRM
PARKER, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-05699         FEARS NACHAWATI LAW FIRM
PARKER, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-18901         FEARS NACHAWATI LAW FIRM
PARKER, CHRISTINA         NJ - USDC for the District of New Jersey   3:20-cv-19244         FEARS NACHAWATI LAW FIRM
PARKER, EDNA              NJ - USDC for the District of New Jersey   3:20-cv-11695         FEARS NACHAWATI LAW FIRM
PARKER, VARNICE           NJ - USDC for the District of New Jersey   3:20-cv-11391         FEARS NACHAWATI LAW FIRM
PARKERSON, ODESSA         NJ - USDC for the District of New Jersey   3:20-cv-17645         FEARS NACHAWATI LAW FIRM
PARKERSON-STROMAN, LUCY   NJ - USDC for the District of New Jersey   3:20-cv-19759         FEARS NACHAWATI LAW FIRM
PARKIN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-16282         FEARS NACHAWATI LAW FIRM
PARKS, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-17585         FEARS NACHAWATI LAW FIRM
PARKS, KATERIA            NJ - USDC for the District of New Jersey   3:20-cv-18755         FEARS NACHAWATI LAW FIRM
PARKS, MELISSA            NJ - USDC for the District of New Jersey   3:20-cv-17635         FEARS NACHAWATI LAW FIRM
PARKS, SHERLIE            NJ - USDC for the District of New Jersey   3:20-cv-19302         FEARS NACHAWATI LAW FIRM
PARRISH, GLALINDA         NJ - USDC for the District of New Jersey   3:20-cv-17627         FEARS NACHAWATI LAW FIRM
PARRISH, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-20267         FEARS NACHAWATI LAW FIRM
PARSONS, JANNA            NJ - USDC for the District of New Jersey   3:20-cv-11427         FEARS NACHAWATI LAW FIRM
PARSONS, LISA             NJ - USDC for the District of New Jersey   3:20-cv-17678         FEARS NACHAWATI LAW FIRM
PARTEE, YVONNE            NJ - USDC for the District of New Jersey   3:20-cv-17687         FEARS NACHAWATI LAW FIRM
PASACA, MELISSA           NJ - USDC for the District of New Jersey   3:20-cv-17694         FEARS NACHAWATI LAW FIRM
PASCARELLI, GWENDOLYN     NJ - USDC for the District of New Jersey   3:20-cv-11903         FEARS NACHAWATI LAW FIRM
PASTOR, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-13407         FEARS NACHAWATI LAW FIRM
PASTOVIC, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-16289         FEARS NACHAWATI LAW FIRM
PATE, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-17798         FEARS NACHAWATI LAW FIRM
PATE, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-16143         FEARS NACHAWATI LAW FIRM
PATRICK, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-17703         FEARS NACHAWATI LAW FIRM
PATTERSON, RAHESHA        NJ - USDC for the District of New Jersey   3:20-cv-17706         FEARS NACHAWATI LAW FIRM
PATTERSON, VANITA         NJ - USDC for the District of New Jersey   3:20-cv-17705         FEARS NACHAWATI LAW FIRM
PATTON, DOREEN            NJ - USDC for the District of New Jersey   3:20-cv-19571         FEARS NACHAWATI LAW FIRM




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           Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
PATTON, JOYCE                NJ - USDC for the District of New Jersey   3:20-cv-17707         FEARS NACHAWATI LAW FIRM
PAUL, BRENDA                 NJ - USDC for the District of New Jersey   3:20-cv-17708         FEARS NACHAWATI LAW FIRM
PAULY, SUSAN                 NJ - USDC for the District of New Jersey   3:20-cv-00216         FEARS NACHAWATI LAW FIRM
PAVLAK, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-11589         FEARS NACHAWATI LAW FIRM
PAXTON, TELLAR               NJ - USDC for the District of New Jersey   3:20-cv-12065         FEARS NACHAWATI LAW FIRM
PAYNE, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-19251         FEARS NACHAWATI LAW FIRM
PAYNE, SHELBY                NJ - USDC for the District of New Jersey   3:20-cv-11768         FEARS NACHAWATI LAW FIRM
PAYNE-THOMAS, SENNIE         NJ - USDC for the District of New Jersey   3:20-cv-19257         FEARS NACHAWATI LAW FIRM
PAYTON, ANITA                NJ - USDC for the District of New Jersey   3:20-cv-19509         FEARS NACHAWATI LAW FIRM
PAYTON, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-17713         FEARS NACHAWATI LAW FIRM
PAYTON, RHONDA               NJ - USDC for the District of New Jersey   3:20-cv-17721         FEARS NACHAWATI LAW FIRM
PEACE, KAREN                 NJ - USDC for the District of New Jersey   3:20-cv-17386         FEARS NACHAWATI LAW FIRM
PEARSON, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-11319         FEARS NACHAWATI LAW FIRM
PEARSON, DEIRDRE             NJ - USDC for the District of New Jersey   3:20-cv-09416         FEARS NACHAWATI LAW FIRM
PEARSON, LELON               NJ - USDC for the District of New Jersey   3:20-cv-17736         FEARS NACHAWATI LAW FIRM
PEARSON, VERNA               NJ - USDC for the District of New Jersey   3:20-cv-19336         FEARS NACHAWATI LAW FIRM
PEAVY, KIMBERLY              NJ - USDC for the District of New Jersey   3:19-cv-14885         FEARS NACHAWATI LAW FIRM
PEDERSON, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-11879         FEARS NACHAWATI LAW FIRM
PEGUES, CHRISTY              NJ - USDC for the District of New Jersey   3:20-cv-09762         FEARS NACHAWATI LAW FIRM
PENA, HELENA                 NJ - USDC for the District of New Jersey   3:18-cv-17474         FEARS NACHAWATI LAW FIRM
PENA, KAREN                  NJ - USDC for the District of New Jersey   3:20-cv-10865         FEARS NACHAWATI LAW FIRM
PENDERGRASS, CONNIE          NJ - USDC for the District of New Jersey   3:20-cv-17917         FEARS NACHAWATI LAW FIRM
PENDLETON, GWENDOLYN         NJ - USDC for the District of New Jersey   3:20-cv-19161         FEARS NACHAWATI LAW FIRM
PENNINGTON, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-10757         FEARS NACHAWATI LAW FIRM
PEPLINSKI, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-17951         FEARS NACHAWATI LAW FIRM
PEPPER, ROBIN                NJ - USDC for the District of New Jersey   3:20-cv-17965         FEARS NACHAWATI LAW FIRM
PERALES, MARGARITA           NJ - USDC for the District of New Jersey   3:20-cv-11291         FEARS NACHAWATI LAW FIRM
PERALTA, GISELLE             NJ - USDC for the District of New Jersey   3:20-cv-17973         FEARS NACHAWATI LAW FIRM
PEREZ, FRANCISCA             NJ - USDC for the District of New Jersey   3:20-cv-17989         FEARS NACHAWATI LAW FIRM
PERKINS, ANNETTE             NJ - USDC for the District of New Jersey   3:20-cv-16202         FEARS NACHAWATI LAW FIRM
PERKINS, FAYE                NJ - USDC for the District of New Jersey   3:20-cv-18052         FEARS NACHAWATI LAW FIRM
PERKINS, JAMESETTA           NJ - USDC for the District of New Jersey   3:20-cv-19601         FEARS NACHAWATI LAW FIRM
PERLMAN, SARA                NJ - USDC for the District of New Jersey   3:20-cv-18056         FEARS NACHAWATI LAW FIRM
PERNYESZI, JOLANDA           NJ - USDC for the District of New Jersey   3:20-cv-18070         FEARS NACHAWATI LAW FIRM
PERRAULT, SHELIA             NJ - USDC for the District of New Jersey   3:20-cv-10657         FEARS NACHAWATI LAW FIRM
PERRONE-SIMON, PEGGY         NJ - USDC for the District of New Jersey   3:20-cv-19265         FEARS NACHAWATI LAW FIRM
PERRY, CATHERINE             NJ - USDC for the District of New Jersey   3:20-cv-11188         FEARS NACHAWATI LAW FIRM
PERRY, MARIA                 NJ - USDC for the District of New Jersey   3:20-cv-18075         FEARS NACHAWATI LAW FIRM
PERRY, ROBERTA               NJ - USDC for the District of New Jersey   3:20-cv-17526         FEARS NACHAWATI LAW FIRM
PERSICHILLI, DENISE          NJ - USDC for the District of New Jersey   3:20-cv-17590         FEARS NACHAWATI LAW FIRM
PESCITELLI, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-11365         FEARS NACHAWATI LAW FIRM
PETERS, CORINNE              NJ - USDC for the District of New Jersey   3:19-cv-00225         FEARS NACHAWATI LAW FIRM
PETERS, GEORGIA              NJ - USDC for the District of New Jersey   3:20-cv-11818         FEARS NACHAWATI LAW FIRM
PETERS, JUNE                 NJ - USDC for the District of New Jersey   3:20-cv-18908         FEARS NACHAWATI LAW FIRM
PETERS, TERESA               NJ - USDC for the District of New Jersey   3:20-cv-19882         FEARS NACHAWATI LAW FIRM
PETERSON, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-17642         FEARS NACHAWATI LAW FIRM
PETERSON, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-19274         FEARS NACHAWATI LAW FIRM
PETERSON, LISA               NJ - USDC for the District of New Jersey   3:20-cv-17656         FEARS NACHAWATI LAW FIRM
PETERSON, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-11360         FEARS NACHAWATI LAW FIRM
PETRUCELLI-SWITZER, TRACEY   NJ - USDC for the District of New Jersey   3:20-cv-08364         FEARS NACHAWATI LAW FIRM
PETRUS, PAMELA               NJ - Superior Court - Atlantic County      ATL-L-001400-21       FEARS NACHAWATI LAW FIRM
PETTITT, VIRGINIA            NJ - USDC for the District of New Jersey   3:20-cv-17744         FEARS NACHAWATI LAW FIRM
PETTS, PATSY                 NJ - USDC for the District of New Jersey   3:20-cv-11757         FEARS NACHAWATI LAW FIRM
PETTUS, DANA                 NJ - USDC for the District of New Jersey   3:20-cv-17570         FEARS NACHAWATI LAW FIRM
PETTWAY, NORMA               NJ - USDC for the District of New Jersey   3:20-cv-17698         FEARS NACHAWATI LAW FIRM
PHANNENSTIEL, DIANE          NJ - USDC for the District of New Jersey   3:20-cv-17593         FEARS NACHAWATI LAW FIRM
PHELPS, CARLEEN              NJ - USDC for the District of New Jersey   3:20-cv-11205         FEARS NACHAWATI LAW FIRM
PHILLIP, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-13132         FEARS NACHAWATI LAW FIRM
PHILLIPS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-16144         FEARS NACHAWATI LAW FIRM
PHILLIPS, CHERIE             NJ - USDC for the District of New Jersey   3:20-cv-18933         FEARS NACHAWATI LAW FIRM
PHILLIPS, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-10746         FEARS NACHAWATI LAW FIRM
PHILLIPS, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-19017         FEARS NACHAWATI LAW FIRM
PHILLIPS, TARA               NJ - USDC for the District of New Jersey   3:19-cv-00192         FEARS NACHAWATI LAW FIRM
PHILLIPS, TINA               NJ - USDC for the District of New Jersey   3:20-cv-17741         FEARS NACHAWATI LAW FIRM
PHILLIPS-COX, SUSAN          NJ - USDC for the District of New Jersey   3:20-cv-19793         FEARS NACHAWATI LAW FIRM
PHIPPS, LORRAINE             NJ - USDC for the District of New Jersey   3:20-cv-10964         FEARS NACHAWATI LAW FIRM
PHIPPS, MARIA                NJ - USDC for the District of New Jersey   3:20-cv-17663         FEARS NACHAWATI LAW FIRM
PICCIRILLO, DOLORES          NJ - USDC for the District of New Jersey   3:20-cv-15674         FEARS NACHAWATI LAW FIRM
PIERCE, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-07719         FEARS NACHAWATI LAW FIRM
PIERCE, SHANIKA              NJ - USDC for the District of New Jersey   3:20-cv-18763         FEARS NACHAWATI LAW FIRM
PIERCE, VICKIE               NJ - USDC for the District of New Jersey   3:20-cv-19834         FEARS NACHAWATI LAW FIRM
PILLEN, AMIE                 NJ - USDC for the District of New Jersey   3:20-cv-11219         FEARS NACHAWATI LAW FIRM
PILLERS, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-13389         FEARS NACHAWATI LAW FIRM
PINKERTON, JACQUELYN         NJ - USDC for the District of New Jersey   3:20-cv-17626         FEARS NACHAWATI LAW FIRM
PINO, GLORIA                 NJ - USDC for the District of New Jersey   3:20-cv-18993         FEARS NACHAWATI LAW FIRM
PIPKIN, ANNIE                NJ - USDC for the District of New Jersey   3:20-cv-16253         FEARS NACHAWATI LAW FIRM
PIPKINS, DELNA               NJ - USDC for the District of New Jersey   3:20-cv-11373         FEARS NACHAWATI LAW FIRM
PISSAS, MIRIAM               NJ - USDC for the District of New Jersey   3:20-cv-19889         FEARS NACHAWATI LAW FIRM
PITCHFORD, ROSE              NJ - USDC for the District of New Jersey   3:20-cv-19284         FEARS NACHAWATI LAW FIRM
PITEA, CHERYL                NJ - USDC for the District of New Jersey   3:20-cv-18503         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PITSTICK, SANDRA          NJ - USDC for the District of New Jersey   3:18-cv-17713         FEARS NACHAWATI LAW FIRM
PITT, BEVERLY             NJ - USDC for the District of New Jersey   3:20-cv-11508         FEARS NACHAWATI LAW FIRM
PITTOF, JOHANNA           NJ - USDC for the District of New Jersey   3:20-cv-11880         FEARS NACHAWATI LAW FIRM
PITTS, MELISSA            NJ - USDC for the District of New Jersey   3:20-cv-02173         FEARS NACHAWATI LAW FIRM
PITTS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-17716         FEARS NACHAWATI LAW FIRM
POARCH, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-19059         FEARS NACHAWATI LAW FIRM
POCK, RHONDA              NJ - USDC for the District of New Jersey   3:20-cv-11684         FEARS NACHAWATI LAW FIRM
PODGORSKI, TRACY          NJ - USDC for the District of New Jersey   3:20-cv-10965         FEARS NACHAWATI LAW FIRM
POINDEXTER, BERNITA       NJ - USDC for the District of New Jersey   3:20-cv-18470         FEARS NACHAWATI LAW FIRM
POINTER, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-17665         FEARS NACHAWATI LAW FIRM
POLCEN, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-09755         FEARS NACHAWATI LAW FIRM
POLIN, MIYA               NJ - USDC for the District of New Jersey   3:20-cv-17679         FEARS NACHAWATI LAW FIRM
POLLORENA, SANDRA         NJ - USDC for the District of New Jersey   3:19-cv-20121         FEARS NACHAWATI LAW FIRM
POOLE, CHARLOTTE          NJ - USDC for the District of New Jersey   3:20-cv-17559         FEARS NACHAWATI LAW FIRM
POOLE, DEIDRE             NJ - USDC for the District of New Jersey   3:20-cv-17583         FEARS NACHAWATI LAW FIRM
POOLE, ROZELLA            NJ - USDC for the District of New Jersey   3:20-cv-19291         FEARS NACHAWATI LAW FIRM
POPE, LENORA              NJ - USDC for the District of New Jersey   3:20-cv-09743         FEARS NACHAWATI LAW FIRM
POPE, WILLETTE            NJ - USDC for the District of New Jersey   3:20-cv-11970         FEARS NACHAWATI LAW FIRM
POPLEON, KENDRA           NJ - USDC for the District of New Jersey   3:20-cv-11904         FEARS NACHAWATI LAW FIRM
PORTER, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-17704         FEARS NACHAWATI LAW FIRM
PORTER, ROSIE             NJ - USDC for the District of New Jersey   3:20-cv-10585         FEARS NACHAWATI LAW FIRM
PORTER, SHERRY            NJ - USDC for the District of New Jersey   3:20-cv-17726         FEARS NACHAWATI LAW FIRM
POSANTE, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-11764         FEARS NACHAWATI LAW FIRM
POSERINA, ANNE            NJ - USDC for the District of New Jersey   3:18-cv-17356         FEARS NACHAWATI LAW FIRM
POSTON, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-17580         FEARS NACHAWATI LAW FIRM
POTERE, VIRGINIA          NJ - USDC for the District of New Jersey   3:20-cv-15853         FEARS NACHAWATI LAW FIRM
POTTS, CONTANCE           NJ - USDC for the District of New Jersey   3:20-cv-18882         FEARS NACHAWATI LAW FIRM
POTTS, JANIE              NJ - USDC for the District of New Jersey   3:16-cv-08725         FEARS NACHAWATI LAW FIRM
POWELL, ALICIA            NJ - USDC for the District of New Jersey   3:20-cv-09476         FEARS NACHAWATI LAW FIRM
POWELL, DAWN              NJ - USDC for the District of New Jersey   3:20-cv-17576         FEARS NACHAWATI LAW FIRM
POWELL, LATINA            NJ - USDC for the District of New Jersey   3:18-cv-00255         FEARS NACHAWATI LAW FIRM
POWELL, STACY             NJ - USDC for the District of New Jersey   3:20-cv-17737         FEARS NACHAWATI LAW FIRM
POWELL-COLE, ROSALIND     NJ - USDC for the District of New Jersey   3:20-cv-12073         FEARS NACHAWATI LAW FIRM
PRATHER, GLENDA           NJ - USDC for the District of New Jersey   3:20-cv-18990         FEARS NACHAWATI LAW FIRM
PREER, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-19846         FEARS NACHAWATI LAW FIRM
PRESTON, ALINE            NJ - USDC for the District of New Jersey   3:20-cv-10629         FEARS NACHAWATI LAW FIRM
PRESTON, MARCELLA         NJ - USDC for the District of New Jersey   3:20-cv-11948         FEARS NACHAWATI LAW FIRM
PRICE, COLLEEN            NJ - USDC for the District of New Jersey   3:20-cv-11220         FEARS NACHAWATI LAW FIRM
PRICE, JACKIE             NJ - USDC for the District of New Jersey   3:20-cv-17600         FEARS NACHAWATI LAW FIRM
PRIEST, CATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-17554         FEARS NACHAWATI LAW FIRM
PRIM, DOROTHY             NJ - USDC for the District of New Jersey   3:20-cv-17595         FEARS NACHAWATI LAW FIRM
PRINCE, CLARA             NJ - USDC for the District of New Jersey   3:20-cv-17568         FEARS NACHAWATI LAW FIRM
PRINCE, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-19234         FEARS NACHAWATI LAW FIRM
PROCOPIO, JANET           NJ - USDC for the District of New Jersey   3:20-cv-11898         FEARS NACHAWATI LAW FIRM
PROCTOR, LILLIAN          NJ - USDC for the District of New Jersey   3:20-cv-11694         FEARS NACHAWATI LAW FIRM
PRUITT, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-19577         FEARS NACHAWATI LAW FIRM
PRUITT, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-17647         FEARS NACHAWATI LAW FIRM
PUDER, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-17749         FEARS NACHAWATI LAW FIRM
PUDLOSKI, KATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-18968         FEARS NACHAWATI LAW FIRM
PUGLIESE, MARY            NJ - USDC for the District of New Jersey   3:20-cv-13357         FEARS NACHAWATI LAW FIRM
PYLE, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17676         FEARS NACHAWATI LAW FIRM
QUARESIMA, KATHLEEN       NJ - USDC for the District of New Jersey   3:20-cv-17653         FEARS NACHAWATI LAW FIRM
QUAST, ESTHER             NJ - USDC for the District of New Jersey   3:20-cv-19773         FEARS NACHAWATI LAW FIRM
QUEBEC, FE                NJ - USDC for the District of New Jersey   3:20-cv-19026         FEARS NACHAWATI LAW FIRM
QUINTANA, DELORIS         NJ - USDC for the District of New Jersey   3:20-cv-18942         FEARS NACHAWATI LAW FIRM
QUIROZ, PATTY             NJ - USDC for the District of New Jersey   3:20-cv-11339         FEARS NACHAWATI LAW FIRM
RACHAL, PATSY             NJ - USDC for the District of New Jersey   3:20-cv-17720         FEARS NACHAWATI LAW FIRM
RADKE, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-17688         FEARS NACHAWATI LAW FIRM
RAGLIN, ANNA              NJ - USDC for the District of New Jersey   3:20-cv-20250         FEARS NACHAWATI LAW FIRM
RAGUDO, EVANGELINE        NJ - USDC for the District of New Jersey   3:20-cv-18941         FEARS NACHAWATI LAW FIRM
RAINEY, ETHEL             NJ - USDC for the District of New Jersey   3:20-cv-20041         FEARS NACHAWATI LAW FIRM
RAINONE, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-18985         FEARS NACHAWATI LAW FIRM
RAJCAN, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-19791         FEARS NACHAWATI LAW FIRM
RALL, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-03424         FEARS NACHAWATI LAW FIRM
RAMA, VIOLETA             NJ - USDC for the District of New Jersey   3:19-cv-00578         FEARS NACHAWATI LAW FIRM
RAMO, MARILYN             NJ - USDC for the District of New Jersey   3:20-cv-11676         FEARS NACHAWATI LAW FIRM
RAMON, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-11460         FEARS NACHAWATI LAW FIRM
RAMOS, ALICE              NJ - USDC for the District of New Jersey   3:20-cv-11489         FEARS NACHAWATI LAW FIRM
RAMOS, JEMIMA             NJ - USDC for the District of New Jersey   3:20-cv-10794         FEARS NACHAWATI LAW FIRM
RAMOS, MARIE              NJ - USDC for the District of New Jersey   3:20-cv-19328         FEARS NACHAWATI LAW FIRM
RAMOS, ROBINA             NJ - USDC for the District of New Jersey   3:20-cv-18700         FEARS NACHAWATI LAW FIRM
RAMSEY, APRIL             NJ - USDC for the District of New Jersey   3:20-cv-10680         FEARS NACHAWATI LAW FIRM
RANDALL, NINETTE          NJ - USDC for the District of New Jersey   3:20-cv-17739         FEARS NACHAWATI LAW FIRM
RANDALL, PORCHIA          NJ - USDC for the District of New Jersey   3:20-cv-01240         FEARS NACHAWATI LAW FIRM
RANDALL, VIVIAN           NJ - USDC for the District of New Jersey   3:20-cv-19842         FEARS NACHAWATI LAW FIRM
RANDOLPH, ALICIA          NJ - USDC for the District of New Jersey   3:20-cv-16527         FEARS NACHAWATI LAW FIRM
RAPIN, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-00207         FEARS NACHAWATI LAW FIRM
RASPOTNIK, DEBORAH        NJ - USDC for the District of New Jersey   3:18-cv-17511         FEARS NACHAWATI LAW FIRM
RAVIN, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-12057         FEARS NACHAWATI LAW FIRM
RAY, GLENDA               NJ - USDC for the District of New Jersey   3:20-cv-17761         FEARS NACHAWATI LAW FIRM




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
RAY, MINNIE                       NJ - USDC for the District of New Jersey   3:20-cv-17750         FEARS NACHAWATI LAW FIRM
RAY, SHARON                       NJ - USDC for the District of New Jersey   3:20-cv-16221         FEARS NACHAWATI LAW FIRM
RAY, SHIRLEY                      NJ - USDC for the District of New Jersey   3:20-cv-19948         FEARS NACHAWATI LAW FIRM
RAYFORD, OZZIE                    NJ - USDC for the District of New Jersey   3:20-cv-19275         FEARS NACHAWATI LAW FIRM
RAYFORD, PATRICIA                 NJ - USDC for the District of New Jersey   3:20-cv-17763         FEARS NACHAWATI LAW FIRM
RAYMOND, ALISHA                   NJ - USDC for the District of New Jersey   3:20-cv-16559         FEARS NACHAWATI LAW FIRM
RAYMOND, ANGELA                   NJ - USDC for the District of New Jersey   3:21-cv-13109         FEARS NACHAWATI LAW FIRM
RAYMOND, BECKY                    NJ - USDC for the District of New Jersey   3:20-cv-16265         FEARS NACHAWATI LAW FIRM
RAYMOND, JUDITH                   NJ - USDC for the District of New Jersey   3:20-cv-11644         FEARS NACHAWATI LAW FIRM
REACARD, LINDA                    NJ - USDC for the District of New Jersey   3:20-cv-17767         FEARS NACHAWATI LAW FIRM
REAMS, GWENDOLYN                  NJ - USDC for the District of New Jersey   3:20-cv-19329         FEARS NACHAWATI LAW FIRM
REAY, LINDA                       NJ - USDC for the District of New Jersey   3:20-cv-17775         FEARS NACHAWATI LAW FIRM
REDDING, CLARA                    NJ - USDC for the District of New Jersey   3:20-cv-11845         FEARS NACHAWATI LAW FIRM
REDMOND, HELEN                    NJ - USDC for the District of New Jersey   3:20-cv-18834         FEARS NACHAWATI LAW FIRM
REDMOND, WINIFRED                 NJ - USDC for the District of New Jersey   3:20-cv-17788         FEARS NACHAWATI LAW FIRM
REECE, TRACY                      NJ - USDC for the District of New Jersey   3:20-cv-17802         FEARS NACHAWATI LAW FIRM
REED, CHYNA                       NJ - USDC for the District of New Jersey   3:20-cv-17811         FEARS NACHAWATI LAW FIRM
REED, IMOGENE                     NJ - USDC for the District of New Jersey   3:20-cv-17824         FEARS NACHAWATI LAW FIRM
REED, OLIVIA                      NJ - USDC for the District of New Jersey   3:20-cv-19297         FEARS NACHAWATI LAW FIRM
REED, THERESA                     NJ - USDC for the District of New Jersey   3:21-cv-17852         FEARS NACHAWATI LAW FIRM
REED, VICKIE                      NJ - USDC for the District of New Jersey   3:20-cv-19585         FEARS NACHAWATI LAW FIRM
REED-CHAVEZ, LYNN                 NJ - USDC for the District of New Jersey   3:20-cv-19898         FEARS NACHAWATI LAW FIRM
REEL, STARLENE                    NJ - USDC for the District of New Jersey   3:20-cv-18689         FEARS NACHAWATI LAW FIRM
REES, CAROL                       NJ - USDC for the District of New Jersey   3:20-cv-17843         FEARS NACHAWATI LAW FIRM
REESE, ANA                        NJ - USDC for the District of New Jersey   3:20-cv-11229         FEARS NACHAWATI LAW FIRM
REESE, DELORIS                    NJ - USDC for the District of New Jersey   3:20-cv-11785         FEARS NACHAWATI LAW FIRM
REESE, REBECCA                    NJ - USDC for the District of New Jersey   3:20-cv-17847         FEARS NACHAWATI LAW FIRM
REETZ, SALLY                      NJ - USDC for the District of New Jersey   3:20-cv-19330         FEARS NACHAWATI LAW FIRM
REEVES, BARBARA                   NJ - USDC for the District of New Jersey   3:20-cv-11754         FEARS NACHAWATI LAW FIRM
REEVES, ROBERTA                   NJ - USDC for the District of New Jersey   3:20-cv-19143         FEARS NACHAWATI LAW FIRM
REHMANN, MAUREEN                  NJ - USDC for the District of New Jersey   3:20-cv-17851         FEARS NACHAWATI LAW FIRM
REIGLE, JENNIFER                  NJ - USDC for the District of New Jersey   3:20-cv-17864         FEARS NACHAWATI LAW FIRM
REINHARDT, DEBRA                  NJ - USDC for the District of New Jersey   3:20-cv-10717         FEARS NACHAWATI LAW FIRM
REINHARDT, SARAH                  NJ - USDC for the District of New Jersey   3:20-cv-19331         FEARS NACHAWATI LAW FIRM
REIS, MARIA                       NJ - USDC for the District of New Jersey   3:20-cv-11894         FEARS NACHAWATI LAW FIRM
REISDORF, STEPHANIE               NJ - USDC for the District of New Jersey   3:20-cv-17870         FEARS NACHAWATI LAW FIRM
REISMER, NORMA                    NJ - USDC for the District of New Jersey   3:20-cv-17884         FEARS NACHAWATI LAW FIRM
RENT, MICHELE                     NJ - USDC for the District of New Jersey   3:20-cv-17905         FEARS NACHAWATI LAW FIRM
REPLOGLE, MARILYN                 NJ - USDC for the District of New Jersey   3:20-cv-17898         FEARS NACHAWATI LAW FIRM
REPOLA, KIM                       NJ - USDC for the District of New Jersey   3:20-cv-17919         FEARS NACHAWATI LAW FIRM
REPPER, LOIS                      NJ - USDC for the District of New Jersey   3:20-cv-19332         FEARS NACHAWATI LAW FIRM
REYES, CYNTHIA                    NJ - USDC for the District of New Jersey   3:20-cv-18807         FEARS NACHAWATI LAW FIRM
REYES, LISA                       NJ - USDC for the District of New Jersey   3:20-cv-18740         FEARS NACHAWATI LAW FIRM
REYES, MARIA                      NJ - USDC for the District of New Jersey   3:19-cv-21907         FEARS NACHAWATI LAW FIRM
REYNOLDS, LYNNE                   NJ - USDC for the District of New Jersey   3:20-cv-18766         FEARS NACHAWATI LAW FIRM
REYNOLDS, NITA                    NJ - USDC for the District of New Jersey   3:20-cv-19301         FEARS NACHAWATI LAW FIRM
REYNOLDS, PEGGY                   NJ - USDC for the District of New Jersey   3:20-cv-17950         FEARS NACHAWATI LAW FIRM
REYNOLDS-ENSMINGER, BARBARA NJ - USDC for the District of New Jersey         3:20-cv-20107         FEARS NACHAWATI LAW FIRM
RICE, SARA                        NJ - USDC for the District of New Jersey   3:20-cv-12074         FEARS NACHAWATI LAW FIRM
RICE, SONYA                       NJ - USDC for the District of New Jersey   3:20-cv-11448         FEARS NACHAWATI LAW FIRM
RICE, TERRI                       NJ - USDC for the District of New Jersey   3:20-cv-10622         FEARS NACHAWATI LAW FIRM
RICH, GLENDA                      NJ - USDC for the District of New Jersey   3:19-cv-15001         FEARS NACHAWATI LAW FIRM
RICH, SONIA                       NJ - USDC for the District of New Jersey   3:20-cv-16213         FEARS NACHAWATI LAW FIRM
RICHARDSON, KIMBERLY              NJ - USDC for the District of New Jersey   3:20-cv-10927         FEARS NACHAWATI LAW FIRM
RICHARDSON, MARION                NJ - USDC for the District of New Jersey   3:20-cv-09737         FEARS NACHAWATI LAW FIRM
RICHBURG, FAYE                    NJ - USDC for the District of New Jersey   3:20-cv-15751         FEARS NACHAWATI LAW FIRM
RICHEY-HARRIS, PATSEY             NJ - USDC for the District of New Jersey   3:20-cv-17686         FEARS NACHAWATI LAW FIRM
RICHTER, LYNN                     NJ - USDC for the District of New Jersey   3:20-cv-17690         FEARS NACHAWATI LAW FIRM
RICKS, KINYUADA                   NJ - USDC for the District of New Jersey   3:20-cv-10823         FEARS NACHAWATI LAW FIRM
RIDER, KELLY                      NJ - USDC for the District of New Jersey   3:20-cv-17695         FEARS NACHAWATI LAW FIRM
RIEGER, BARBARA                   NJ - USDC for the District of New Jersey   3:20-cv-16186         FEARS NACHAWATI LAW FIRM
RIEKS, MADGE                      NJ - USDC for the District of New Jersey   3:20-cv-11905         FEARS NACHAWATI LAW FIRM
RIGGS, TORESA                     NJ - USDC for the District of New Jersey   3:20-cv-17715         FEARS NACHAWATI LAW FIRM
RIKSVOLD, STEPHANIE               NJ - USDC for the District of New Jersey   3:20-cv-17717         FEARS NACHAWATI LAW FIRM
RILEY, DEBORAH                    NJ - USDC for the District of New Jersey   3:20-cv-18909         FEARS NACHAWATI LAW FIRM
RILEY, MARY                       NJ - USDC for the District of New Jersey   3:20-cv-17728         FEARS NACHAWATI LAW FIRM
RILEY, ROSETTA                    NJ - USDC for the District of New Jersey   3:20-cv-11417         FEARS NACHAWATI LAW FIRM
RILEY, TERESA                     NJ - USDC for the District of New Jersey   3:20-cv-17732         FEARS NACHAWATI LAW FIRM
RING, DIANNA                      NJ - USDC for the District of New Jersey   3:20-cv-18999         FEARS NACHAWATI LAW FIRM
RINNIX, JAMISHA                   NJ - USDC for the District of New Jersey   3:20-cv-17735         FEARS NACHAWATI LAW FIRM
RIOS-ALVARADO, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-10665         FEARS NACHAWATI LAW FIRM
RITCHEY, TONYA                    NJ - USDC for the District of New Jersey   3:20-cv-10961         FEARS NACHAWATI LAW FIRM
RITCHIE, MAE                      NJ - USDC for the District of New Jersey   3:20-cv-17740         FEARS NACHAWATI LAW FIRM
RITZ, BETTY                       NJ - USDC for the District of New Jersey   3:20-cv-19522         FEARS NACHAWATI LAW FIRM
RIVERA, ANNETTE                   NJ - USDC for the District of New Jersey   3:20-cv-11071         FEARS NACHAWATI LAW FIRM
RIVERA, FRANCES                   NJ - USDC for the District of New Jersey   3:20-cv-11907         FEARS NACHAWATI LAW FIRM
RIVERA, LUZ                       NJ - USDC for the District of New Jersey   3:20-cv-11822         FEARS NACHAWATI LAW FIRM
RIVERA, SHEILA                    NJ - USDC for the District of New Jersey   3:20-cv-18724         FEARS NACHAWATI LAW FIRM
RIVERA, VIRGINIA                  NJ - USDC for the District of New Jersey   3:20-cv-18746         FEARS NACHAWATI LAW FIRM




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
RIVERA, WANDA               NJ - USDC for the District of New Jersey   3:20-cv-10976         FEARS NACHAWATI LAW FIRM
RIVERA-FRENCH, LISA         NJ - USDC for the District of New Jersey   3:20-cv-17743         FEARS NACHAWATI LAW FIRM
RIZZO, EVA                  NJ - USDC for the District of New Jersey   3:20-cv-19186         FEARS NACHAWATI LAW FIRM
ROANE, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-00187         FEARS NACHAWATI LAW FIRM
ROBBINS, BEVA               NJ - USDC for the District of New Jersey   3:20-cv-10733         FEARS NACHAWATI LAW FIRM
ROBBINS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-17747         FEARS NACHAWATI LAW FIRM
ROBERGE, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-18883         FEARS NACHAWATI LAW FIRM
ROBERSON, CATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-17748         FEARS NACHAWATI LAW FIRM
ROBERSON, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-17751         FEARS NACHAWATI LAW FIRM
ROBERTS, BRANDY             NJ - USDC for the District of New Jersey   3:20-cv-10669         FEARS NACHAWATI LAW FIRM
ROBERTS, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-17789         FEARS NACHAWATI LAW FIRM
ROBERTS, CHERIE             NJ - USDC for the District of New Jersey   3:20-cv-17780         FEARS NACHAWATI LAW FIRM
ROBERTS, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-20020         FEARS NACHAWATI LAW FIRM
ROBERTS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-09939         FEARS NACHAWATI LAW FIRM
ROBERTS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-17760         FEARS NACHAWATI LAW FIRM
ROBERTS, TIFFANY            NJ - USDC for the District of New Jersey   3:20-cv-17758         FEARS NACHAWATI LAW FIRM
ROBERTSON, BELINDA          NJ - USDC for the District of New Jersey   3:20-cv-18444         FEARS NACHAWATI LAW FIRM
ROBERTSON, KIM              NJ - USDC for the District of New Jersey   3:20-cv-17796         FEARS NACHAWATI LAW FIRM
ROBERTSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-05252         FEARS NACHAWATI LAW FIRM
ROBERTSON-WOODCOOK, SALLY   NJ - USDC for the District of New Jersey   3:19-cv-14892         FEARS NACHAWATI LAW FIRM
ROBINSON, CORINE            NJ - USDC for the District of New Jersey   3:20-cv-19560         FEARS NACHAWATI LAW FIRM
ROBINSON, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-16067         FEARS NACHAWATI LAW FIRM
ROBINSON, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-16075         FEARS NACHAWATI LAW FIRM
ROBINSON, RACHEL            NJ - USDC for the District of New Jersey   3:19-cv-14870         FEARS NACHAWATI LAW FIRM
ROBINSON, REYNA             NJ - USDC for the District of New Jersey   3:20-cv-17819         FEARS NACHAWATI LAW FIRM
ROBINSON, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-07267         FEARS NACHAWATI LAW FIRM
ROBINSON, TAHIRAH           NJ - USDC for the District of New Jersey   3:21-cv-15598         FEARS NACHAWATI LAW FIRM
ROBINSON, YVONNE            NJ - USDC for the District of New Jersey   3:20-cv-11001         FEARS NACHAWATI LAW FIRM
ROBLES, VIRGINIA            NJ - USDC for the District of New Jersey   3:20-cv-19840         FEARS NACHAWATI LAW FIRM
ROBY, ALICE                 NJ - USDC for the District of New Jersey   3:20-cv-16485         FEARS NACHAWATI LAW FIRM
ROCCO, ALICIA               NJ - USDC for the District of New Jersey   3:20-cv-16496         FEARS NACHAWATI LAW FIRM
ROCHFORD, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17800         FEARS NACHAWATI LAW FIRM
RODDY, ROUQUKRIA            NJ - USDC for the District of New Jersey   3:20-cv-19200         FEARS NACHAWATI LAW FIRM
RODGERS, MICHELLE           NJ - USDC for the District of New Jersey   3:19-cv-15158         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, ALISA            NJ - USDC for the District of New Jersey   3:20-cv-19048         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, BONNIE SAVOIE    NJ - USDC for the District of New Jersey   3:20-cv-17765         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, DEBBIE           NJ - USDC for the District of New Jersey   3:19-cv-00353         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, IRMA             NJ - USDC for the District of New Jersey   3:20-cv-17808         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, JANET            NJ - USDC for the District of New Jersey   3:20-cv-11234         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, LETICIA          NJ - USDC for the District of New Jersey   3:20-cv-11688         FEARS NACHAWATI LAW FIRM
RODRIGUEZ, MARISELA         NJ - USDC for the District of New Jersey   3:20-cv-11888         FEARS NACHAWATI LAW FIRM
ROE, BETTY                  NJ - USDC for the District of New Jersey   3:20-cv-19528         FEARS NACHAWATI LAW FIRM
ROEDER, CLANCY              NJ - USDC for the District of New Jersey   3:20-cv-18948         FEARS NACHAWATI LAW FIRM
ROGERS, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17848         FEARS NACHAWATI LAW FIRM
ROMAN, ANNA                 NJ - USDC for the District of New Jersey   3:20-cv-13129         FEARS NACHAWATI LAW FIRM
ROMANS, CAROLYN             NJ - USDC for the District of New Jersey   3:20-cv-17850         FEARS NACHAWATI LAW FIRM
ROMERO, MATILDA             NJ - USDC for the District of New Jersey   3:20-cv-18738         FEARS NACHAWATI LAW FIRM
ROMERO, ROSALINDA           NJ - USDC for the District of New Jersey   3:20-cv-09445         FEARS NACHAWATI LAW FIRM
ROOKER, LESLIE              NJ - USDC for the District of New Jersey   3:20-cv-15699         FEARS NACHAWATI LAW FIRM
ROSADO, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-17852         FEARS NACHAWATI LAW FIRM
ROSADO, SANTOS              NJ - USDC for the District of New Jersey   3:20-cv-11371         FEARS NACHAWATI LAW FIRM
ROSARIO, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-17853         FEARS NACHAWATI LAW FIRM
ROSBERG, KENNALY            NJ - USDC for the District of New Jersey   3:20-cv-17854         FEARS NACHAWATI LAW FIRM
ROSCOE, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-17867         FEARS NACHAWATI LAW FIRM
ROSE, AMBER                 NJ - USDC for the District of New Jersey   3:20-cv-16646         FEARS NACHAWATI LAW FIRM
ROSE, CHERYL                NJ - USDC for the District of New Jersey   3:20-cv-17885         FEARS NACHAWATI LAW FIRM
ROSE, KRISTY                NJ - USDC for the District of New Jersey   3:20-cv-11650         FEARS NACHAWATI LAW FIRM
ROSE, MARCIA                NJ - USDC for the District of New Jersey   3:20-cv-17876         FEARS NACHAWATI LAW FIRM
ROSE-BUCHANAN, ENID         NJ - USDC for the District of New Jersey   3:20-cv-11910         FEARS NACHAWATI LAW FIRM
ROSELLE, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-15846         FEARS NACHAWATI LAW FIRM
ROSEN, HILDEGARD            NJ - USDC for the District of New Jersey   3:20-cv-20158         FEARS NACHAWATI LAW FIRM
ROSENBERG, MARSHA           NJ - USDC for the District of New Jersey   3:20-cv-17895         FEARS NACHAWATI LAW FIRM
ROSENCRANCE, MARIAN         NJ - USDC for the District of New Jersey   3:20-cv-17911         FEARS NACHAWATI LAW FIRM
ROSICK, ELAINE              NJ - USDC for the District of New Jersey   3:20-cv-16084         FEARS NACHAWATI LAW FIRM
ROSINSKI, CHRISTINE         NJ - USDC for the District of New Jersey   3:18-cv-00843         FEARS NACHAWATI LAW FIRM
ROSS, CHRISTINE             NJ - USDC for the District of New Jersey   3:20-cv-11563         FEARS NACHAWATI LAW FIRM
ROSS, JEWEL                 NJ - USDC for the District of New Jersey   3:20-cv-17937         FEARS NACHAWATI LAW FIRM
ROSS, MATTIE                NJ - USDC for the District of New Jersey   3:20-cv-19676         FEARS NACHAWATI LAW FIRM
ROSS, PATRICIA              NJ - USDC for the District of New Jersey   3:18-cv-15792         FEARS NACHAWATI LAW FIRM
ROSS, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-09957         FEARS NACHAWATI LAW FIRM
ROSS, ROSA                  NJ - USDC for the District of New Jersey   3:20-cv-17920         FEARS NACHAWATI LAW FIRM
ROUNDTREE, JUANTA           NJ - USDC for the District of New Jersey   3:20-cv-17945         FEARS NACHAWATI LAW FIRM
ROYBAL-SALAZAR, GLORIA      NJ - USDC for the District of New Jersey   3:20-cv-17958         FEARS NACHAWATI LAW FIRM
RUEFF, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-16750         FEARS NACHAWATI LAW FIRM
RUFFIN, THERESA             NJ - USDC for the District of New Jersey   3:20-cv-17978         FEARS NACHAWATI LAW FIRM
RUIZ, PRISCILLA             NJ - USDC for the District of New Jersey   3:20-cv-19682         FEARS NACHAWATI LAW FIRM
RUIZ, ROBIN                 NJ - USDC for the District of New Jersey   3:20-cv-17701         FEARS NACHAWATI LAW FIRM
RUPERT, CHARLOTTE           NJ - USDC for the District of New Jersey   3:20-cv-18006         FEARS NACHAWATI LAW FIRM
RUSH, ELIZABETH             NJ - USDC for the District of New Jersey   3:20-cv-18517         FEARS NACHAWATI LAW FIRM
RUSK, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-03433         FEARS NACHAWATI LAW FIRM




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
RUSSELL, LAURIE             NJ - USDC for the District of New Jersey   3:20-cv-18026         FEARS NACHAWATI LAW FIRM
RUTH, CASSANDRA             NJ - USDC for the District of New Jersey   3:20-cv-19617         FEARS NACHAWATI LAW FIRM
RUTKOWSKI, LORETTA          NJ - USDC for the District of New Jersey   3:20-cv-19630         FEARS NACHAWATI LAW FIRM
RYAN, JEANNIE               NJ - USDC for the District of New Jersey   3:20-cv-15988         FEARS NACHAWATI LAW FIRM
RYAN, SUSAN                 NJ - USDC for the District of New Jersey   3:18-cv-13671         FEARS NACHAWATI LAW FIRM
RYDZINSKI, ADELE            NJ - USDC for the District of New Jersey   3:20-cv-11177         FEARS NACHAWATI LAW FIRM
SABB, DEBORAH               NJ - USDC for the District of New Jersey   3:20-cv-11590         FEARS NACHAWATI LAW FIRM
SALAMO, HILDA               NJ - USDC for the District of New Jersey   3:20-cv-18060         FEARS NACHAWATI LAW FIRM
SALAZAR, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-11184         FEARS NACHAWATI LAW FIRM
SALAZAR, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-18059         FEARS NACHAWATI LAW FIRM
SALDANA, ANTHONY            NJ - USDC for the District of New Jersey   3:20-cv-16279         FEARS NACHAWATI LAW FIRM
SALDANA, GRACIELA           NJ - USDC for the District of New Jersey   3:21-cv-15853         FEARS NACHAWATI LAW FIRM
SALDANA, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-19248         FEARS NACHAWATI LAW FIRM
SALEEN, JESSIE              NJ - USDC for the District of New Jersey   3:20-cv-19904         FEARS NACHAWATI LAW FIRM
SALEM, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-11620         FEARS NACHAWATI LAW FIRM
SALIBA, ROSE                NJ - USDC for the District of New Jersey   3:20-cv-19242         FEARS NACHAWATI LAW FIRM
SAM, JENNY                  NJ - USDC for the District of New Jersey   3:20-cv-20227         FEARS NACHAWATI LAW FIRM
SAMARA, IBTESAM             NJ - USDC for the District of New Jersey   3:20-cv-20161         FEARS NACHAWATI LAW FIRM
SAMAYOA, CAROLINA           NJ - USDC for the District of New Jersey   3:20-cv-18058         FEARS NACHAWATI LAW FIRM
SAMPSON, LISA               NJ - USDC for the District of New Jersey   3:18-cv-13670         FEARS NACHAWATI LAW FIRM
SAMUEL, CRYSTAL             NJ - USDC for the District of New Jersey   3:20-cv-17727         FEARS NACHAWATI LAW FIRM
SAMUEL, VAN                 NJ - USDC for the District of New Jersey   3:20-cv-18057         FEARS NACHAWATI LAW FIRM
SAMUELSON, ROSE             NJ - USDC for the District of New Jersey   3:19-cv-00577         FEARS NACHAWATI LAW FIRM
SANCHEZ, ANABEL             NJ - USDC for the District of New Jersey   3:20-cv-10350         FEARS NACHAWATI LAW FIRM
SANCHEZ, DORA               NJ - USDC for the District of New Jersey   3:20-cv-10751         FEARS NACHAWATI LAW FIRM
SANCHEZ, ISABEL             NJ - USDC for the District of New Jersey   3:20-cv-10941         FEARS NACHAWATI LAW FIRM
SANCHEZ, IVETTE             NJ - USDC for the District of New Jersey   3:20-cv-10945         FEARS NACHAWATI LAW FIRM
SANCHEZ, JULIE              NJ - USDC for the District of New Jersey   3:20-cv-11475         FEARS NACHAWATI LAW FIRM
SANCHEZ, LESLIE             NJ - USDC for the District of New Jersey   3:20-cv-17733         FEARS NACHAWATI LAW FIRM
SANDERS, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-10528         FEARS NACHAWATI LAW FIRM
SANDERS, EVELINA            NJ - USDC for the District of New Jersey   3:20-cv-11034         FEARS NACHAWATI LAW FIRM
SANDOVAL, GRACIELA          NJ - USDC for the District of New Jersey   3:20-cv-10427         FEARS NACHAWATI LAW FIRM
SANDOVAL, MILDRED           NJ - USDC for the District of New Jersey   3:20-cv-20063         FEARS NACHAWATI LAW FIRM
SANGER, SARAH               NJ - USDC for the District of New Jersey   3:20-cv-17749         FEARS NACHAWATI LAW FIRM
SANTIAGO, IDELLA            NJ - USDC for the District of New Jersey   3:20-cv-11438         FEARS NACHAWATI LAW FIRM
SANTOS, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-13225         FEARS NACHAWATI LAW FIRM
SARGENT, OCTAVIA            NJ - USDC for the District of New Jersey   3:20-cv-12007         FEARS NACHAWATI LAW FIRM
SARKADI, SILVIA             NJ - USDC for the District of New Jersey   3:20-cv-15739         FEARS NACHAWATI LAW FIRM
SAUCIER, LEONIE             NJ - USDC for the District of New Jersey   3:20-cv-18526         FEARS NACHAWATI LAW FIRM
SAULSBERRY, GENEVA          NJ - USDC for the District of New Jersey   3:20-cv-11604         FEARS NACHAWATI LAW FIRM
SAUNDERS, RUBY              NJ - USDC for the District of New Jersey   3:20-cv-17756         FEARS NACHAWATI LAW FIRM
SAUVE, EVE                  NJ - USDC for the District of New Jersey   3:20-cv-18952         FEARS NACHAWATI LAW FIRM
SAVITZ, NORMA               NJ - USDC for the District of New Jersey   3:20-cv-17759         FEARS NACHAWATI LAW FIRM
SAX, CYNTHIA                NJ - USDC for the District of New Jersey   3:20-cv-18806         FEARS NACHAWATI LAW FIRM
SAYERS, DEBRAH              NJ - USDC for the District of New Jersey   3:20-cv-10730         FEARS NACHAWATI LAW FIRM
SAYLES, BERTHA              NJ - USDC for the District of New Jersey   3:20-cv-11346         FEARS NACHAWATI LAW FIRM
SAYLES, OLLIE               NJ - USDC for the District of New Jersey   3:20-cv-17771         FEARS NACHAWATI LAW FIRM
SAYSACKDY, BROOKE           NJ - USDC for the District of New Jersey   3:20-cv-17801         FEARS NACHAWATI LAW FIRM
SCHATTEN-FORREST, KAAYDAH   NJ - USDC for the District of New Jersey   3:18-cv-15995         FEARS NACHAWATI LAW FIRM
SCHAUWECKER, JEAN           NJ - USDC for the District of New Jersey   3:20-cv-20134         FEARS NACHAWATI LAW FIRM
SCHELER, MARCIA             NJ - USDC for the District of New Jersey   3:20-cv-19907         FEARS NACHAWATI LAW FIRM
SCHENK-GRASSMYER, MARIE     NJ - USDC for the District of New Jersey   3:20-cv-11566         FEARS NACHAWATI LAW FIRM
SCHEXNIDER, DESERIE         NJ - USDC for the District of New Jersey   3:20-cv-09913         FEARS NACHAWATI LAW FIRM
SCHIED, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-18960         FEARS NACHAWATI LAW FIRM
SCHLEE, BEVERLEY            NJ - USDC for the District of New Jersey   3:20-cv-13139         FEARS NACHAWATI LAW FIRM
SCHMIDTKE, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-17821         FEARS NACHAWATI LAW FIRM
SCHORMANN, SALLY            NJ - USDC for the District of New Jersey   3:20-cv-19184         FEARS NACHAWATI LAW FIRM
SCHROETER, DIANA            NJ - USDC for the District of New Jersey   3:20-cv-17830         FEARS NACHAWATI LAW FIRM
SCHULTZ, JUANITA            NJ - USDC for the District of New Jersey   3:20-cv-11634         FEARS NACHAWATI LAW FIRM
SCHULTZ, TAMI               NJ - USDC for the District of New Jersey   3:20-cv-17861         FEARS NACHAWATI LAW FIRM
SCHULZE, THERESA            NJ - USDC for the District of New Jersey   3:20-cv-19308         FEARS NACHAWATI LAW FIRM
SCHUSTER, CAMILLE           NJ - USDC for the District of New Jersey   3:21-cv-15601         FEARS NACHAWATI LAW FIRM
SCHWAB, CATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-17866         FEARS NACHAWATI LAW FIRM
SCHWARTZ, RHONDA            NJ - USDC for the District of New Jersey   3:20-cv-11412         FEARS NACHAWATI LAW FIRM
SCHWARZ, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-17872         FEARS NACHAWATI LAW FIRM
SCIVOLETTI, CONNEE          NJ - USDC for the District of New Jersey   3:20-cv-12038         FEARS NACHAWATI LAW FIRM
SCOTT, ANNA                 NJ - USDC for the District of New Jersey   3:20-cv-16103         FEARS NACHAWATI LAW FIRM
SCOTT, CAROL                NJ - USDC for the District of New Jersey   3:20-cv-13406         FEARS NACHAWATI LAW FIRM
SCOTT, CHARLENE             NJ - USDC for the District of New Jersey   3:20-cv-17909         FEARS NACHAWATI LAW FIRM
SCOTT, DELORES              NJ - USDC for the District of New Jersey   3:21-cv-14608         FEARS NACHAWATI LAW FIRM
SCOTT, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-19654         FEARS NACHAWATI LAW FIRM
SCOTT, JAKEETA              NJ - USDC for the District of New Jersey   3:20-cv-17907         FEARS NACHAWATI LAW FIRM
SCOTT, JUDY                 NJ - USDC for the District of New Jersey   3:19-cv-15177         FEARS NACHAWATI LAW FIRM
SCOTT, KAREN                NJ - USDC for the District of New Jersey   3:20-cv-17903         FEARS NACHAWATI LAW FIRM
SCOTT, KRISTIN              NJ - USDC for the District of New Jersey   3:20-cv-17886         FEARS NACHAWATI LAW FIRM
SCRUGGS, LUVINA             NJ - USDC for the District of New Jersey   3:20-cv-19920         FEARS NACHAWATI LAW FIRM
SEERUP, ROSEMARIE           NJ - USDC for the District of New Jersey   3:20-cv-17915         FEARS NACHAWATI LAW FIRM
SELBY, CRYSTAL              NJ - USDC for the District of New Jersey   3:20-cv-19662         FEARS NACHAWATI LAW FIRM
SELF, KRISTY                NJ - USDC for the District of New Jersey   3:20-cv-17977         FEARS NACHAWATI LAW FIRM
SELF, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-17921         FEARS NACHAWATI LAW FIRM




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
SEPER, VIOLET              NJ - USDC for the District of New Jersey   3:20-cv-17986         FEARS NACHAWATI LAW FIRM
SERJERN, LETTY             NJ - USDC for the District of New Jersey   3:20-cv-10889         FEARS NACHAWATI LAW FIRM
SERRANO, ELEANOR           NJ - USDC for the District of New Jersey   3:20-cv-10413         FEARS NACHAWATI LAW FIRM
SEXTON, VANESSA            NJ - USDC for the District of New Jersey   3:20-cv-18252         FEARS NACHAWATI LAW FIRM
SEYMOUR, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-15736         FEARS NACHAWATI LAW FIRM
SHADE, EVA                 NJ - USDC for the District of New Jersey   3:20-cv-18012         FEARS NACHAWATI LAW FIRM
SHAGER, ALANA              NJ - USDC for the District of New Jersey   3:20-cv-16297         FEARS NACHAWATI LAW FIRM
SHALHOOB, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-18066         FEARS NACHAWATI LAW FIRM
SHAMY, TONYA               NJ - USDC for the District of New Jersey   3:18-cv-13559         FEARS NACHAWATI LAW FIRM
SHANE, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-11885         FEARS NACHAWATI LAW FIRM
SHANK, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-11693         FEARS NACHAWATI LAW FIRM
SHANK, MINNIE              NJ - USDC for the District of New Jersey   3:20-cv-18069         FEARS NACHAWATI LAW FIRM
SHANSTROM, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-11486         FEARS NACHAWATI LAW FIRM
SHARPE, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-16193         FEARS NACHAWATI LAW FIRM
SHATTO, VICTORIA           NJ - USDC for the District of New Jersey   3:20-cv-19665         FEARS NACHAWATI LAW FIRM
SHAVER, KATTIE             NJ - USDC for the District of New Jersey   3:20-cv-18073         FEARS NACHAWATI LAW FIRM
SHAVER-ROELOFS, MARIANNE   NJ - USDC for the District of New Jersey   3:20-cv-16028         FEARS NACHAWATI LAW FIRM
SHAW, BELVIA               NJ - USDC for the District of New Jersey   3:20-cv-13170         FEARS NACHAWATI LAW FIRM
SHAW, ESTHER               NJ - USDC for the District of New Jersey   3:20-cv-11011         FEARS NACHAWATI LAW FIRM
SHEA, BEVERLY              NJ - USDC for the District of New Jersey   3:20-cv-18861         FEARS NACHAWATI LAW FIRM
SHEA, GLENDA               NJ - USDC for the District of New Jersey   3:20-cv-10813         FEARS NACHAWATI LAW FIRM
SHEARER, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-16216         FEARS NACHAWATI LAW FIRM
SHEER, DOROTHY             NJ - USDC for the District of New Jersey   3:20-cv-10740         FEARS NACHAWATI LAW FIRM
SHELBY, DENICE             NJ - USDC for the District of New Jersey   3:20-cv-18078         FEARS NACHAWATI LAW FIRM
SHELBY, ELEANOR            NJ - USDC for the District of New Jersey   3:20-cv-19671         FEARS NACHAWATI LAW FIRM
SHELTON, DEMETRIUS         NJ - USDC for the District of New Jersey   3:20-cv-18079         FEARS NACHAWATI LAW FIRM
SHELTON, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-13379         FEARS NACHAWATI LAW FIRM
SHELTON, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-10956         FEARS NACHAWATI LAW FIRM
SHENTON, LORRAINE          NJ - USDC for the District of New Jersey   3:20-cv-19312         FEARS NACHAWATI LAW FIRM
SHEPPARD, MARY             NJ - USDC for the District of New Jersey   3:20-cv-19674         FEARS NACHAWATI LAW FIRM
SHERIFF, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-18089         FEARS NACHAWATI LAW FIRM
SHERLOCK, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-02007         FEARS NACHAWATI LAW FIRM
SHERMAN, CLAIR             NJ - USDC for the District of New Jersey   3:20-cv-13169         FEARS NACHAWATI LAW FIRM
SHETTERLY, GEORGIA         NJ - USDC for the District of New Jersey   3:20-cv-11084         FEARS NACHAWATI LAW FIRM
SHEVIS, YOSHIKO            NJ - USDC for the District of New Jersey   3:20-cv-11284         FEARS NACHAWATI LAW FIRM
SHILTS, JEANNE             NJ - USDC for the District of New Jersey   3:20-cv-11228         FEARS NACHAWATI LAW FIRM
SHINN, JULIE               NJ - USDC for the District of New Jersey   3:20-cv-11262         FEARS NACHAWATI LAW FIRM
SHIVELY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11931         FEARS NACHAWATI LAW FIRM
SHIWMANGAL, DHANMATTEE     NJ - USDC for the District of New Jersey   3:20-cv-11574         FEARS NACHAWATI LAW FIRM
SHOCKLEY, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-18939         FEARS NACHAWATI LAW FIRM
SHOEMAKE, SARA             NJ - USDC for the District of New Jersey   3:20-cv-19261         FEARS NACHAWATI LAW FIRM
SHOLARS, DIANNA            NJ - USDC for the District of New Jersey   3:20-cv-18101         FEARS NACHAWATI LAW FIRM
SHORES, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-11890         FEARS NACHAWATI LAW FIRM
SHORT, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-11045         FEARS NACHAWATI LAW FIRM
SHORTER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-18118         FEARS NACHAWATI LAW FIRM
SHORTER, VALARIE           NJ - USDC for the District of New Jersey   3:20-cv-11018         FEARS NACHAWATI LAW FIRM
SHUKRI, CLARA              NJ - USDC for the District of New Jersey   3:20-cv-10681         FEARS NACHAWATI LAW FIRM
SHUMAN, MARION             NJ - USDC for the District of New Jersey   3:20-cv-11851         FEARS NACHAWATI LAW FIRM
SHY-COLLINS, JOELLA        NJ - USDC for the District of New Jersey   3:20-cv-10806         FEARS NACHAWATI LAW FIRM
SIDDIQ, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-19356         FEARS NACHAWATI LAW FIRM
SIDES, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-18483         FEARS NACHAWATI LAW FIRM
SIEG, CINDY                NJ - USDC for the District of New Jersey   3:20-cv-11005         FEARS NACHAWATI LAW FIRM
SIERRA, NATALIE            NJ - USDC for the District of New Jersey   3:20-cv-18094         FEARS NACHAWATI LAW FIRM
SIFFORD, JANET             NJ - USDC for the District of New Jersey   3:19-cv-06422         FEARS NACHAWATI LAW FIRM
SIFFORD, PANSY             NJ - USDC for the District of New Jersey   3:20-cv-19385         FEARS NACHAWATI LAW FIRM
SILCOTT, EDNA              NJ - USDC for the District of New Jersey   3:20-cv-18099         FEARS NACHAWATI LAW FIRM
SILVERMAN, NENA            NJ - USDC for the District of New Jersey   3:20-cv-19453         FEARS NACHAWATI LAW FIRM
SILZA, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-18115         FEARS NACHAWATI LAW FIRM
SIMMONS, AUDREY            NJ - USDC for the District of New Jersey   3:20-cv-15704         FEARS NACHAWATI LAW FIRM
SIMMONS, FELECIA           NJ - USDC for the District of New Jersey   3:20-cv-11076         FEARS NACHAWATI LAW FIRM
SIMON, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-09796         FEARS NACHAWATI LAW FIRM
SIMPSON, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-11382         FEARS NACHAWATI LAW FIRM
SIMPSON, STACY             NJ - USDC for the District of New Jersey   3:20-cv-09591         FEARS NACHAWATI LAW FIRM
SIMS, KIM                  NJ - USDC for the District of New Jersey   3:20-cv-10919         FEARS NACHAWATI LAW FIRM
SIMS, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-18148         FEARS NACHAWATI LAW FIRM
SIMS, MICHELLE             NJ - USDC for the District of New Jersey   3:20-cv-20053         FEARS NACHAWATI LAW FIRM
SIMS, VICKIE               NJ - USDC for the District of New Jersey   3:20-cv-10971         FEARS NACHAWATI LAW FIRM
SIMS-HARDEN, JESSICA       NJ - USDC for the District of New Jersey   3:20-cv-10797         FEARS NACHAWATI LAW FIRM
SIMSON, LODONNA            NJ - USDC for the District of New Jersey   3:20-cv-18156         FEARS NACHAWATI LAW FIRM
SINGER, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-19056         FEARS NACHAWATI LAW FIRM
SINGLETON, ALBERTHA        NJ - USDC for the District of New Jersey   3:20-cv-16539         FEARS NACHAWATI LAW FIRM
SINGLETON, CHUNESE IVORY   NJ - USDC for the District of New Jersey   3:20-cv-19750         FEARS NACHAWATI LAW FIRM
SINGLETON, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-19695         FEARS NACHAWATI LAW FIRM
SINGLEY, TOMACHIA          NJ - USDC for the District of New Jersey   3:20-cv-12061         FEARS NACHAWATI LAW FIRM
SINNETT, LADONNA           NJ - USDC for the District of New Jersey   3:20-cv-10885         FEARS NACHAWATI LAW FIRM
SISK, SHANNON              NJ - USDC for the District of New Jersey   3:20-cv-18163         FEARS NACHAWATI LAW FIRM
SKEIE, DARLENE             NJ - USDC for the District of New Jersey   3:20-cv-11406         FEARS NACHAWATI LAW FIRM
SKIPPER, REBA              NJ - USDC for the District of New Jersey   3:20-cv-10511         FEARS NACHAWATI LAW FIRM
SKIPPER, VERONICA          NJ - USDC for the District of New Jersey   3:20-cv-11794         FEARS NACHAWATI LAW FIRM
SKIPWITH, ALANA            NJ - USDC for the District of New Jersey   3:20-cv-13110         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SKOWRON, CHRISTINA        NJ - USDC for the District of New Jersey   3:20-cv-11839         FEARS NACHAWATI LAW FIRM
SLANEY, STEPHANI          NJ - USDC for the District of New Jersey   3:20-cv-18173         FEARS NACHAWATI LAW FIRM
SLAPIN, JANA              NJ - USDC for the District of New Jersey   3:20-cv-13386         FEARS NACHAWATI LAW FIRM
SLOAN, BURNADELL          NJ - USDC for the District of New Jersey   3:20-cv-18381         FEARS NACHAWATI LAW FIRM
SLOAN, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-18377         FEARS NACHAWATI LAW FIRM
SMALL, GLADIS             NJ - USDC for the District of New Jersey   3:20-cv-11090         FEARS NACHAWATI LAW FIRM
SMALL, VERNETTA           NJ - USDC for the District of New Jersey   3:20-cv-09524         FEARS NACHAWATI LAW FIRM
SMALLEY, JOANNE           NJ - USDC for the District of New Jersey   3:20-cv-11151         FEARS NACHAWATI LAW FIRM
SMATHERS, TERRIE          NJ - USDC for the District of New Jersey   3:20-cv-18388         FEARS NACHAWATI LAW FIRM
SMELLEY, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-19926         FEARS NACHAWATI LAW FIRM
SMETACEK, RANJANA         NJ - USDC for the District of New Jersey   3:20-cv-19754         FEARS NACHAWATI LAW FIRM
SMIGIELSKI, BRENDA        NJ - USDC for the District of New Jersey   3:20-cv-10676         FEARS NACHAWATI LAW FIRM
SMITH, ADRIENNE           NJ - USDC for the District of New Jersey   3:20-cv-13107         FEARS NACHAWATI LAW FIRM
SMITH, ALFREDA            NJ - USDC for the District of New Jersey   3:20-cv-11068         FEARS NACHAWATI LAW FIRM
SMITH, ALICE              NJ - USDC for the District of New Jersey   3:20-cv-16488         FEARS NACHAWATI LAW FIRM
SMITH, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-19404         FEARS NACHAWATI LAW FIRM
SMITH, BUFFY              NJ - USDC for the District of New Jersey   3:20-cv-09790         FEARS NACHAWATI LAW FIRM
SMITH, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-19768         FEARS NACHAWATI LAW FIRM
SMITH, CINDY              NJ - USDC for the District of New Jersey   3:20-cv-11153         FEARS NACHAWATI LAW FIRM
SMITH, DANA               NJ - USDC for the District of New Jersey   3:20-cv-09534         FEARS NACHAWATI LAW FIRM
SMITH, DENISE             NJ - USDC for the District of New Jersey   3:20-cv-18397         FEARS NACHAWATI LAW FIRM
SMITH, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-10762         FEARS NACHAWATI LAW FIRM
SMITH, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-19403         FEARS NACHAWATI LAW FIRM
SMITH, ESTA               NJ - USDC for the District of New Jersey   3:20-cv-10802         FEARS NACHAWATI LAW FIRM
SMITH, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-18499         FEARS NACHAWATI LAW FIRM
SMITH, GLORIA             NJ - USDC for the District of New Jersey   3:20-cv-18400         FEARS NACHAWATI LAW FIRM
SMITH, GRACE              NJ - USDC for the District of New Jersey   3:20-cv-10770         FEARS NACHAWATI LAW FIRM
SMITH, HERMENIE           NJ - USDC for the District of New Jersey   3:20-cv-19139         FEARS NACHAWATI LAW FIRM
SMITH, JULIA              NJ - USDC for the District of New Jersey   3:20-cv-10851         FEARS NACHAWATI LAW FIRM
SMITH, LELA               NJ - USDC for the District of New Jersey   3:20-cv-19114         FEARS NACHAWATI LAW FIRM
SMITH, MARY               NJ - USDC for the District of New Jersey   3:20-cv-18546         FEARS NACHAWATI LAW FIRM
SMITH, MARY               NJ - USDC for the District of New Jersey   3:20-cv-11980         FEARS NACHAWATI LAW FIRM
SMITH, MI                 NJ - USDC for the District of New Jersey   3:20-cv-18547         FEARS NACHAWATI LAW FIRM
SMITH, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-18398         FEARS NACHAWATI LAW FIRM
SMITH, MONIQUE            NJ - USDC for the District of New Jersey   3:20-cv-19927         FEARS NACHAWATI LAW FIRM
SMITH, NICHOLE            NJ - USDC for the District of New Jersey   3:20-cv-10886         FEARS NACHAWATI LAW FIRM
SMITH, PHYLLIS            NJ - USDC for the District of New Jersey   3:20-cv-18511         FEARS NACHAWATI LAW FIRM
SMITH, RACHEL             NJ - USDC for the District of New Jersey   3:20-cv-19764         FEARS NACHAWATI LAW FIRM
SMITH, RANDA              NJ - USDC for the District of New Jersey   3:20-cv-16267         FEARS NACHAWATI LAW FIRM
SMITH, RITA               NJ - USDC for the District of New Jersey   3:20-cv-19130         FEARS NACHAWATI LAW FIRM
SMITH, ROMANA             NJ - USDC for the District of New Jersey   3:20-cv-18535         FEARS NACHAWATI LAW FIRM
SMITH, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-11434         FEARS NACHAWATI LAW FIRM
SMITH, SONIA              NJ - USDC for the District of New Jersey   3:20-cv-18554         FEARS NACHAWATI LAW FIRM
SMITH, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-17469         FEARS NACHAWATI LAW FIRM
SMITH, TAMEKA             NJ - USDC for the District of New Jersey   3:20-cv-10631         FEARS NACHAWATI LAW FIRM
SMITH, TAMMY              NJ - USDC for the District of New Jersey   3:20-cv-18542         FEARS NACHAWATI LAW FIRM
SMITH, THOMASINE          NJ - USDC for the District of New Jersey   3:20-cv-18528         FEARS NACHAWATI LAW FIRM
SMITH, TUNYA              NJ - USDC for the District of New Jersey   3:20-cv-11735         FEARS NACHAWATI LAW FIRM
SMITH, VERONICA           NJ - USDC for the District of New Jersey   3:20-cv-11707         FEARS NACHAWATI LAW FIRM
SMITH, VICKIE             NJ - USDC for the District of New Jersey   3:20-cv-18492         FEARS NACHAWATI LAW FIRM
SMITH, WYNENNA            NJ - USDC for the District of New Jersey   3:20-cv-11797         FEARS NACHAWATI LAW FIRM
SMITH-JOHNSON, ALICIA     NJ - USDC for the District of New Jersey   3:20-cv-16552         FEARS NACHAWATI LAW FIRM
SNEADE, LATOYA            NJ - USDC for the District of New Jersey   3:20-cv-10607         FEARS NACHAWATI LAW FIRM
SNELL, CORA               NJ - USDC for the District of New Jersey   3:20-cv-19611         FEARS NACHAWATI LAW FIRM
SNELL, KRISTIN            NJ - USDC for the District of New Jersey   3:20-cv-10829         FEARS NACHAWATI LAW FIRM
SNELLGROVE, CHASITY       NJ - USDC for the District of New Jersey   3:20-cv-18557         FEARS NACHAWATI LAW FIRM
SNELSON, GAYLE            NJ - USDC for the District of New Jersey   3:20-cv-11591         FEARS NACHAWATI LAW FIRM
SNODGRASS, DONNA          NJ - USDC for the District of New Jersey   3:20-cv-10747         FEARS NACHAWATI LAW FIRM
SNOOK, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-10915         FEARS NACHAWATI LAW FIRM
SNUIN, SHEILA             NJ - USDC for the District of New Jersey   3:20-cv-20026         FEARS NACHAWATI LAW FIRM
SNYDER, BILLIE            NJ - USDC for the District of New Jersey   3:20-cv-18953         FEARS NACHAWATI LAW FIRM
SNYDER, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-11653         FEARS NACHAWATI LAW FIRM
SOLITRO, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-19064         FEARS NACHAWATI LAW FIRM
SOLMAN, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-10720         FEARS NACHAWATI LAW FIRM
SONZINI, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-13883         FEARS NACHAWATI LAW FIRM
SOTO, ORALIA              NJ - USDC for the District of New Jersey   3:20-cv-11356         FEARS NACHAWATI LAW FIRM
SOUDER, MARLENE           NJ - USDC for the District of New Jersey   3:20-cv-18563         FEARS NACHAWATI LAW FIRM
SOUDERS, MARY             NJ - USDC for the District of New Jersey   3:20-cv-19771         FEARS NACHAWATI LAW FIRM
SOUTHARD, TERESA          NJ - USDC for the District of New Jersey   3:20-cv-19928         FEARS NACHAWATI LAW FIRM
SOUZA, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-18567         FEARS NACHAWATI LAW FIRM
SOWDEN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-10625         FEARS NACHAWATI LAW FIRM
SOYKA-WELLES, SHARI       NJ - USDC for the District of New Jersey   3:20-cv-12046         FEARS NACHAWATI LAW FIRM
SPARKMAN, CHASITY         NJ - USDC for the District of New Jersey   3:20-cv-17754         FEARS NACHAWATI LAW FIRM
SPARKS, LENORA            NJ - USDC for the District of New Jersey   3:20-cv-20198         FEARS NACHAWATI LAW FIRM
SPARKS, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-08283         FEARS NACHAWATI LAW FIRM
SPEAKMAN, TERESA          NJ - USDC for the District of New Jersey   3:20-cv-19848         FEARS NACHAWATI LAW FIRM
SPECHT, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-17798         FEARS NACHAWATI LAW FIRM
SPENCER, DARLENE          NJ - USDC for the District of New Jersey   3:20-cv-10702         FEARS NACHAWATI LAW FIRM
SPENCER, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-11457         FEARS NACHAWATI LAW FIRM
SPENCER, MARVA            NJ - USDC for the District of New Jersey   3:20-cv-11297         FEARS NACHAWATI LAW FIRM




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           Claimant Name                     State Filed                    Docket Number               Plaintiff Counsel
SPENCER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-12022         FEARS NACHAWATI LAW FIRM
SPENCER, SHERRY            NJ - USDC for the District of New Jersey   3:20-cv-20140         FEARS NACHAWATI LAW FIRM
SPENCER, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-19517         FEARS NACHAWATI LAW FIRM
SPICER, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-11455         FEARS NACHAWATI LAW FIRM
SPIEZY, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-19107         FEARS NACHAWATI LAW FIRM
SPIKES, SOLAMIE            NJ - USDC for the District of New Jersey   3:20-cv-17879         FEARS NACHAWATI LAW FIRM
SPIVEY, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-20148         FEARS NACHAWATI LAW FIRM
SPOONER, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-17836         FEARS NACHAWATI LAW FIRM
SPRADLIN, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-17887         FEARS NACHAWATI LAW FIRM
ST. CHARLES, ANNA          NJ - USDC for the District of New Jersey   3:20-cv-13127         FEARS NACHAWATI LAW FIRM
ST. CLAIR, MELISSA         NJ - USDC for the District of New Jersey   3:18-cv-13583         FEARS NACHAWATI LAW FIRM
ST. LAURENT, SANDRA        NJ - USDC for the District of New Jersey   3:20-cv-19299         FEARS NACHAWATI LAW FIRM
STAAB, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-17783         FEARS NACHAWATI LAW FIRM
STACHELEK, JACQUELINE      NJ - USDC for the District of New Jersey   3:19-cv-00249         FEARS NACHAWATI LAW FIRM
STAFFORD, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-17874         FEARS NACHAWATI LAW FIRM
STALLINGS, CYNTHIA         NJ - USDC for the District of New Jersey   3:20-cv-11334         FEARS NACHAWATI LAW FIRM
STANCATO, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-11961         FEARS NACHAWATI LAW FIRM
STANLEY, BETTIE            NJ - USDC for the District of New Jersey   3:20-cv-19778         FEARS NACHAWATI LAW FIRM
STANLEY, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-17831         FEARS NACHAWATI LAW FIRM
STANLEY, REGINA            NJ - USDC for the District of New Jersey   3:20-cv-12056         FEARS NACHAWATI LAW FIRM
STANTON, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-11398         FEARS NACHAWATI LAW FIRM
STAPLES, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-17814         FEARS NACHAWATI LAW FIRM
STATON, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-11375         FEARS NACHAWATI LAW FIRM
STEFFEN, DARLENE           NJ - USDC for the District of New Jersey   3:20-cv-11338         FEARS NACHAWATI LAW FIRM
STEGALL, ELANE             NJ - USDC for the District of New Jersey   3:20-cv-11588         FEARS NACHAWATI LAW FIRM
STEINKE, MARY              NJ - USDC for the District of New Jersey   3:20-cv-11733         FEARS NACHAWATI LAW FIRM
STENNETT, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-11677         FEARS NACHAWATI LAW FIRM
STEPHENS, VERA             NJ - USDC for the District of New Jersey   3:20-cv-16199         FEARS NACHAWATI LAW FIRM
STEPHENS, VICKY            NJ - USDC for the District of New Jersey   3:20-cv-11471         FEARS NACHAWATI LAW FIRM
STEPNITZ, CONNIE           NJ - USDC for the District of New Jersey   3:20-cv-10563         FEARS NACHAWATI LAW FIRM
STERGION, MARCIA           NJ - USDC for the District of New Jersey   3:20-cv-19853         FEARS NACHAWATI LAW FIRM
STERLING, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-19358         FEARS NACHAWATI LAW FIRM
STERMER, ASHLEY            NJ - USDC for the District of New Jersey   3:19-cv-14930         FEARS NACHAWATI LAW FIRM
STEVEN, JENIFER            NJ - USDC for the District of New Jersey   3:20-cv-17807         FEARS NACHAWATI LAW FIRM
STEVENS, BETTE             NJ - USDC for the District of New Jersey   3:20-cv-18481         FEARS NACHAWATI LAW FIRM
STEVENS, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-17787         FEARS NACHAWATI LAW FIRM
STEVENS, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-09623         FEARS NACHAWATI LAW FIRM
STEWART, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-17757         FEARS NACHAWATI LAW FIRM
STEWART, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-17776         FEARS NACHAWATI LAW FIRM
STEWART, ESTHER            NJ - USDC for the District of New Jersey   3:20-cv-19782         FEARS NACHAWATI LAW FIRM
STEWART, JEANETTE          NJ - USDC for the District of New Jersey   3:20-cv-11444         FEARS NACHAWATI LAW FIRM
STEWART, KELLY             NJ - USDC for the District of New Jersey   3:20-cv-19041         FEARS NACHAWATI LAW FIRM
STEWART, TINA              NJ - USDC for the District of New Jersey   3:20-cv-12063         FEARS NACHAWATI LAW FIRM
STEWART, TRACY             NJ - USDC for the District of New Jersey   3:20-cv-17933         FEARS NACHAWATI LAW FIRM
STICKLER, KASEY            NJ - USDC for the District of New Jersey   3:20-cv-17817         FEARS NACHAWATI LAW FIRM
STITT, TERI                NJ - USDC for the District of New Jersey   3:20-cv-17891         FEARS NACHAWATI LAW FIRM
STOCKUM, ANDREA            NJ - USDC for the District of New Jersey   3:20-cv-19055         FEARS NACHAWATI LAW FIRM
STOKES, IDA                NJ - USDC for the District of New Jersey   3:20-cv-19783         FEARS NACHAWATI LAW FIRM
STOKES-SOTHERN, EMMA       NJ - USDC for the District of New Jersey   3:20-cv-13221         FEARS NACHAWATI LAW FIRM
STONITSCH, RENEE           NJ - USDC for the District of New Jersey   3:20-cv-17865         FEARS NACHAWATI LAW FIRM
STOWE, RITA                NJ - USDC for the District of New Jersey   3:20-cv-19126         FEARS NACHAWATI LAW FIRM
STRATHY, LORRAINE          NJ - USDC for the District of New Jersey   3:20-cv-17825         FEARS NACHAWATI LAW FIRM
STRAUSE, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-17769         FEARS NACHAWATI LAW FIRM
STRICKLAND, CAROLYN        NJ - USDC for the District of New Jersey   3:20-cv-11560         FEARS NACHAWATI LAW FIRM
STRICKLAND, STACEY         NJ - USDC for the District of New Jersey   3:20-cv-19787         FEARS NACHAWATI LAW FIRM
STRONG, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-11537         FEARS NACHAWATI LAW FIRM
STRONG, TERRINA            NJ - USDC for the District of New Jersey   3:20-cv-17899         FEARS NACHAWATI LAW FIRM
STROZIER, DENISKA          NJ - USDC for the District of New Jersey   3:18-cv-03418         FEARS NACHAWATI LAW FIRM
STRUBLE, SANDRA            NJ - USDC for the District of New Jersey   3:20-cv-17868         FEARS NACHAWATI LAW FIRM
STUBBS, BEATRICE           NJ - USDC for the District of New Jersey   3:20-cv-13371         FEARS NACHAWATI LAW FIRM
STUCKER, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-08879         FEARS NACHAWATI LAW FIRM
STUCKERT, STACY            NJ - USDC for the District of New Jersey   3:20-cv-17664         FEARS NACHAWATI LAW FIRM
STUCKEY, OLLIE             NJ - USDC for the District of New Jersey   3:20-cv-11351         FEARS NACHAWATI LAW FIRM
STUMPF, NICHOLE            NJ - USDC for the District of New Jersey   3:20-cv-17833         FEARS NACHAWATI LAW FIRM
STYRON, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-17862         FEARS NACHAWATI LAW FIRM
SUAREZ, BELKIS             NJ - USDC for the District of New Jersey   3:20-cv-18467         FEARS NACHAWATI LAW FIRM
SUKSDORF, CHRISTINA        NJ - USDC for the District of New Jersey   3:20-cv-11089         FEARS NACHAWATI LAW FIRM
SULE, VERNETTA             NJ - USDC for the District of New Jersey   3:20-cv-17940         FEARS NACHAWATI LAW FIRM
SULLIVAN, CARRIE           IL - Circuit Court - Cook County           2021L004831           FEARS NACHAWATI LAW FIRM
SULLIVAN, CHARLOTTE        NJ - USDC for the District of New Jersey   3:20-cv-10825         FEARS NACHAWATI LAW FIRM
SULLIVAN, RUBY             NJ - USDC for the District of New Jersey   3:19-cv-14866         FEARS NACHAWATI LAW FIRM
SULLIVAN, TINA             NJ - USDC for the District of New Jersey   3:20-cv-17929         FEARS NACHAWATI LAW FIRM
SULLO, JULIA               NJ - USDC for the District of New Jersey   3:20-cv-11482         FEARS NACHAWATI LAW FIRM
SUNDAY, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-19431         FEARS NACHAWATI LAW FIRM
SURETTE, GLADYS            NJ - USDC for the District of New Jersey   3:20-cv-11606         FEARS NACHAWATI LAW FIRM
SUTTON, ELSIE              NJ - USDC for the District of New Jersey   3:20-cv-19792         FEARS NACHAWATI LAW FIRM
SWEARINGIN, BRENDA         NJ - USDC for the District of New Jersey   3:20-cv-17766         FEARS NACHAWATI LAW FIRM
SWEAT, LORA                NJ - USDC for the District of New Jersey   3:20-cv-17820         FEARS NACHAWATI LAW FIRM
SWEGLE, KAE                NJ - USDC for the District of New Jersey   3:20-cv-18970         FEARS NACHAWATI LAW FIRM
SWINDALL, MARY             NJ - USDC for the District of New Jersey   3:20-cv-19803         FEARS NACHAWATI LAW FIRM




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
SWISHER, JEANETTE          NJ - USDC for the District of New Jersey   3:20-cv-17804         FEARS NACHAWATI LAW FIRM
SYLVESTER, TIKIRA          NJ - USDC for the District of New Jersey   3:20-cv-17925         FEARS NACHAWATI LAW FIRM
SYSOUVANH, LUANN           NJ - USDC for the District of New Jersey   3:20-cv-17827         FEARS NACHAWATI LAW FIRM
SZABO, JANICE              NJ - USDC for the District of New Jersey   3:20-cv-20051         FEARS NACHAWATI LAW FIRM
SZYMANSKI, MARGARET        NJ - USDC for the District of New Jersey   3:20-cv-04330         FEARS NACHAWATI LAW FIRM
SZYMIK, MARY               NJ - USDC for the District of New Jersey   3:20-cv-19810         FEARS NACHAWATI LAW FIRM
TADLOCK, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-18981         FEARS NACHAWATI LAW FIRM
TAKACH, TITANIA            NJ - USDC for the District of New Jersey   3:20-cv-19820         FEARS NACHAWATI LAW FIRM
TALLEY, FLORENCE           NJ - USDC for the District of New Jersey   3:20-cv-03124         FEARS NACHAWATI LAW FIRM
TALLEY, WAYDEN             NJ - USDC for the District of New Jersey   3:20-cv-17829         FEARS NACHAWATI LAW FIRM
TALLY, MARY                NJ - USDC for the District of New Jersey   3:20-cv-11308         FEARS NACHAWATI LAW FIRM
TANACREDI, GLADYS          NJ - USDC for the District of New Jersey   3:20-cv-11911         FEARS NACHAWATI LAW FIRM
TANK, LEE                  NJ - USDC for the District of New Jersey   3:20-cv-17834         FEARS NACHAWATI LAW FIRM
TANNER, QUINELL            NJ - USDC for the District of New Jersey   3:20-cv-19824         FEARS NACHAWATI LAW FIRM
TANYER, VERONICA           NJ - USDC for the District of New Jersey   3:20-cv-10237         FEARS NACHAWATI LAW FIRM
TARR, ASHLEY               NJ - USDC for the District of New Jersey   3:20-cv-10686         FEARS NACHAWATI LAW FIRM
TATE, CYNTHIA              NJ - USDC for the District of New Jersey   3:20-cv-19345         FEARS NACHAWATI LAW FIRM
TATE, TINA                 NJ - USDC for the District of New Jersey   3:20-cv-11784         FEARS NACHAWATI LAW FIRM
TATRO, JAIME               NJ - USDC for the District of New Jersey   3:20-cv-11864         FEARS NACHAWATI LAW FIRM
TAVARES, APRYL             NJ - USDC for the District of New Jersey   3:20-cv-16333         FEARS NACHAWATI LAW FIRM
TAYLOR, ANNIE              NJ - USDC for the District of New Jersey   3:20-cv-11238         FEARS NACHAWATI LAW FIRM
TAYLOR, CARON              NJ - USDC for the District of New Jersey   3:20-cv-19084         FEARS NACHAWATI LAW FIRM
TAYLOR, EMILEE             NJ - USDC for the District of New Jersey   3:20-cv-17888         FEARS NACHAWATI LAW FIRM
TAYLOR, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-17882         FEARS NACHAWATI LAW FIRM
TAYLOR, MAGGIE             NJ - USDC for the District of New Jersey   3:20-cv-19865         FEARS NACHAWATI LAW FIRM
TAYLOR, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-17875         FEARS NACHAWATI LAW FIRM
TEMPLE, ADDIE              NJ - USDC for the District of New Jersey   3:20-cv-09194         FEARS NACHAWATI LAW FIRM
TENNEY, MARTIN             NJ - USDC for the District of New Jersey   3:20-cv-10541         FEARS NACHAWATI LAW FIRM
TERRY, JEANETTE            NJ - USDC for the District of New Jersey   3:20-cv-15174         FEARS NACHAWATI LAW FIRM
TERRY, TINISHA             NJ - USDC for the District of New Jersey   3:20-cv-17894         FEARS NACHAWATI LAW FIRM
TESTA, PHYLLIS             NJ - USDC for the District of New Jersey   3:20-cv-19829         FEARS NACHAWATI LAW FIRM
TEUBERT, LORETTA           NJ - USDC for the District of New Jersey   3:20-cv-11860         FEARS NACHAWATI LAW FIRM
TEUTLE, GRACIE             NJ - USDC for the District of New Jersey   3:20-cv-17901         FEARS NACHAWATI LAW FIRM
TEW, ELAINE                NJ - USDC for the District of New Jersey   3:19-cv-15250         FEARS NACHAWATI LAW FIRM
THAYER, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-19836         FEARS NACHAWATI LAW FIRM
THAYER, JULIE              NJ - USDC for the District of New Jersey   3:20-cv-11636         FEARS NACHAWATI LAW FIRM
THERIOT, CHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-13333         FEARS NACHAWATI LAW FIRM
THIAC, RITA                NJ - USDC for the District of New Jersey   3:20-cv-11751         FEARS NACHAWATI LAW FIRM
THOMAS, ADWOA              NJ - USDC for the District of New Jersey   3:18-cv-17563         FEARS NACHAWATI LAW FIRM
THOMAS, ANNETTE            NJ - USDC for the District of New Jersey   3:20-cv-16205         FEARS NACHAWATI LAW FIRM
THOMAS, CRYSTAL            NJ - USDC for the District of New Jersey   3:20-cv-10383         FEARS NACHAWATI LAW FIRM
THOMAS, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-06841         FEARS NACHAWATI LAW FIRM
THOMAS, DORA               NJ - USDC for the District of New Jersey   3:20-cv-11908         FEARS NACHAWATI LAW FIRM
THOMAS, GWENDOLYN          NJ - USDC for the District of New Jersey   3:20-cv-10786         FEARS NACHAWATI LAW FIRM
THOMAS, HAZEL              NJ - USDC for the District of New Jersey   3:20-cv-10884         FEARS NACHAWATI LAW FIRM
THOMAS, JUANITA            NJ - USDC for the District of New Jersey   3:20-cv-17918         FEARS NACHAWATI LAW FIRM
THOMAS, KRISTIN            NJ - USDC for the District of New Jersey   3:19-cv-07427         FEARS NACHAWATI LAW FIRM
THOMAS, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-18653         FEARS NACHAWATI LAW FIRM
THOMAS, LORI               NJ - USDC for the District of New Jersey   3:20-cv-18648         FEARS NACHAWATI LAW FIRM
THOMAS, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-17908         FEARS NACHAWATI LAW FIRM
THOMAS, SHELLEY            NJ - USDC for the District of New Jersey   3:20-cv-11855         FEARS NACHAWATI LAW FIRM
THOMAS, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-17914         FEARS NACHAWATI LAW FIRM
THOMASON, SUZANNE          NJ - USDC for the District of New Jersey   3:20-cv-17957         FEARS NACHAWATI LAW FIRM
THOMPSON, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-16224         FEARS NACHAWATI LAW FIRM
THOMPSON, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-20247         FEARS NACHAWATI LAW FIRM
THOMPSON, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-20168         FEARS NACHAWATI LAW FIRM
THOMPSON, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-17969         FEARS NACHAWATI LAW FIRM
THOMPSON, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-17966         FEARS NACHAWATI LAW FIRM
THOMPSON, LISA             NJ - USDC for the District of New Jersey   3:20-cv-13322         FEARS NACHAWATI LAW FIRM
THOMPSON, MADGE            NJ - USDC for the District of New Jersey   3:20-cv-11936         FEARS NACHAWATI LAW FIRM
THOMPSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:20-cv-19952         FEARS NACHAWATI LAW FIRM
THOMPSON, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-17289         FEARS NACHAWATI LAW FIRM
THOMPSON-KENNEDY, ANGELA   NJ - USDC for the District of New Jersey   3:19-cv-00591         FEARS NACHAWATI LAW FIRM
THORNHILL, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-18776         FEARS NACHAWATI LAW FIRM
THORNTON, CHARLENE         NJ - USDC for the District of New Jersey   3:20-cv-11313         FEARS NACHAWATI LAW FIRM
THORNTON, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-11421         FEARS NACHAWATI LAW FIRM
THORNTON, RACHELL          NJ - USDC for the District of New Jersey   3:20-cv-17981         FEARS NACHAWATI LAW FIRM
THORP, MARCIA              NJ - USDC for the District of New Jersey   3:20-cv-19868         FEARS NACHAWATI LAW FIRM
THRASHER, RHONDA           NJ - USDC for the District of New Jersey   3:20-cv-17985         FEARS NACHAWATI LAW FIRM
THREATT, TONYA             NJ - USDC for the District of New Jersey   3:20-cv-18009         FEARS NACHAWATI LAW FIRM
TIEDEMAN, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-13196         FEARS NACHAWATI LAW FIRM
TIERNEY, KATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-16125         FEARS NACHAWATI LAW FIRM
TILDEN, JANE               NJ - USDC for the District of New Jersey   3:20-cv-19851         FEARS NACHAWATI LAW FIRM
TILNEY, CLARA              NJ - USDC for the District of New Jersey   3:19-cv-21104         FEARS NACHAWATI LAW FIRM
TIMES, HILLARY             NJ - USDC for the District of New Jersey   3:20-cv-18018         FEARS NACHAWATI LAW FIRM
TIMPONE, BETTYANN          NJ - USDC for the District of New Jersey   3:20-cv-15934         FEARS NACHAWATI LAW FIRM
TINGLER, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-18029         FEARS NACHAWATI LAW FIRM
TINSLEY, LACRESSA          NJ - USDC for the District of New Jersey   3:20-cv-18033         FEARS NACHAWATI LAW FIRM
TISINO, DEBBIE             NJ - USDC for the District of New Jersey   3:20-cv-18815         FEARS NACHAWATI LAW FIRM
TISNADO, PEARL             NJ - USDC for the District of New Jersey   3:20-cv-19859         FEARS NACHAWATI LAW FIRM




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
TITTLE, RENA               NJ - USDC for the District of New Jersey   3:20-cv-18043         FEARS NACHAWATI LAW FIRM
TITUS, LOTTIE              NJ - USDC for the District of New Jersey   3:20-cv-20206         FEARS NACHAWATI LAW FIRM
TOBAGI, MILEN              NJ - USDC for the District of New Jersey   3:20-cv-18083         FEARS NACHAWATI LAW FIRM
TOCHE, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-18086         FEARS NACHAWATI LAW FIRM
TODD, CHRISTINA            NJ - USDC for the District of New Jersey   3:20-cv-16061         FEARS NACHAWATI LAW FIRM
TODDY, OLGA                NJ - USDC for the District of New Jersey   3:20-cv-16145         FEARS NACHAWATI LAW FIRM
TOLLOTY, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-16227         FEARS NACHAWATI LAW FIRM
TOME, LORRAINE             NJ - USDC for the District of New Jersey   3:20-cv-19874         FEARS NACHAWATI LAW FIRM
TOMS, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-18090         FEARS NACHAWATI LAW FIRM
TONDREAU, MARY             NJ - USDC for the District of New Jersey   3:20-cv-19975         FEARS NACHAWATI LAW FIRM
TONGE, CHRISSIE            NJ - USDC for the District of New Jersey   3:20-cv-11530         FEARS NACHAWATI LAW FIRM
TORHURST, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-16140         FEARS NACHAWATI LAW FIRM
TORREGANO, TERRY           NJ - USDC for the District of New Jersey   3:20-cv-11456         FEARS NACHAWATI LAW FIRM
TORRES, ANN                NJ - USDC for the District of New Jersey   3:19-cv-01138         FEARS NACHAWATI LAW FIRM
TOWNSEND, MARJORIE         NJ - USDC for the District of New Jersey   3:20-cv-19978         FEARS NACHAWATI LAW FIRM
TOWNSEND-FLEET, PATRICIA   NJ - USDC for the District of New Jersey   3:20-cv-16273         FEARS NACHAWATI LAW FIRM
TRANT, JANE                NJ - USDC for the District of New Jersey   3:20-cv-19370         FEARS NACHAWATI LAW FIRM
TRASKELL, MICHELLE         NJ - USDC for the District of New Jersey   3:20-cv-18117         FEARS NACHAWATI LAW FIRM
TRAXLER, DOREEN            NJ - USDC for the District of New Jersey   3:20-cv-11270         FEARS NACHAWATI LAW FIRM
TRECHTER, MARGO            NJ - USDC for the District of New Jersey   3:20-cv-19878         FEARS NACHAWATI LAW FIRM
TREVINO, SELMA             NJ - USDC for the District of New Jersey   3:20-cv-18138         FEARS NACHAWATI LAW FIRM
TREZEK, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-09134         FEARS NACHAWATI LAW FIRM
TRIGGS, GAILA              NJ - USDC for the District of New Jersey   3:20-cv-18025         FEARS NACHAWATI LAW FIRM
TRILONE, ROSA              NJ - USDC for the District of New Jersey   3:20-cv-20001         FEARS NACHAWATI LAW FIRM
TRIMBLE, ANNIE             NJ - USDC for the District of New Jersey   3:20-cv-16276         FEARS NACHAWATI LAW FIRM
TRIPLETT, CANDIUS          NJ - USDC for the District of New Jersey   3:20-cv-17955         FEARS NACHAWATI LAW FIRM
TRIVITT, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-20006         FEARS NACHAWATI LAW FIRM
TROTTER, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-05569         FEARS NACHAWATI LAW FIRM
TRUESDALE, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-13193         FEARS NACHAWATI LAW FIRM
TRUJILLO, ANNAMARIE        NJ - USDC for the District of New Jersey   3:20-cv-19933         FEARS NACHAWATI LAW FIRM
TRUJILLO, JAIRLENE         NJ - USDC for the District of New Jersey   3:20-cv-20011         FEARS NACHAWATI LAW FIRM
TRUSCOTT, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-17984         FEARS NACHAWATI LAW FIRM
TSCHABRUNN, ROSE           NJ - USDC for the District of New Jersey   3:20-cv-12075         FEARS NACHAWATI LAW FIRM
TUCKER, INA                NJ - USDC for the District of New Jersey   3:20-cv-18050         FEARS NACHAWATI LAW FIRM
TUCKER, LOYCE              NJ - USDC for the District of New Jersey   3:20-cv-18093         FEARS NACHAWATI LAW FIRM
TUCKER, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-10599         FEARS NACHAWATI LAW FIRM
TUGGLE, EMMIE              NJ - USDC for the District of New Jersey   3:20-cv-13235         FEARS NACHAWATI LAW FIRM
TUILETUFUGA, IO            NJ - USDC for the District of New Jersey   3:20-cv-18071         FEARS NACHAWATI LAW FIRM
TURMEL, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-16256         FEARS NACHAWATI LAW FIRM
TURNBULL, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-19880         FEARS NACHAWATI LAW FIRM
TURNER, CORLETTE           NJ - USDC for the District of New Jersey   3:20-cv-17982         FEARS NACHAWATI LAW FIRM
TURNER, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-15741         FEARS NACHAWATI LAW FIRM
TURNER, JOSEPHINE          NJ - USDC for the District of New Jersey   3:20-cv-19804         FEARS NACHAWATI LAW FIRM
TURNER, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-12262         FEARS NACHAWATI LAW FIRM
TURNQUIST, CLAUDIA         NJ - USDC for the District of New Jersey   3:20-cv-17972         FEARS NACHAWATI LAW FIRM
TURPIN, FRANKIE            NJ - USDC for the District of New Jersey   3:20-cv-15783         FEARS NACHAWATI LAW FIRM
TUSA, CINDY                NJ - USDC for the District of New Jersey   3:20-cv-10351         FEARS NACHAWATI LAW FIRM
TUSHAJ, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-10799         FEARS NACHAWATI LAW FIRM
TUSHER, THEIDA             NJ - USDC for the District of New Jersey   3:20-cv-11778         FEARS NACHAWATI LAW FIRM
TWITTY, LATWANYEPT         NJ - USDC for the District of New Jersey   3:20-cv-19088         FEARS NACHAWATI LAW FIRM
TYISKA, HAZEL              NJ - USDC for the District of New Jersey   3:20-cv-18828         FEARS NACHAWATI LAW FIRM
TYLER, HEIDI               NJ - USDC for the District of New Jersey   3:20-cv-09412         FEARS NACHAWATI LAW FIRM
TYLER, KELLY               NJ - USDC for the District of New Jersey   3:19-cv-14933         FEARS NACHAWATI LAW FIRM
TYRAN, TIFFANY             NJ - USDC for the District of New Jersey   3:20-cv-15842         FEARS NACHAWATI LAW FIRM
TYSON, LAUREN              NJ - USDC for the District of New Jersey   3:20-cv-10874         FEARS NACHAWATI LAW FIRM
TZOUGROS, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-18100         FEARS NACHAWATI LAW FIRM
UMBANHOWAR, MARY           NJ - USDC for the District of New Jersey   3:20-cv-19599         FEARS NACHAWATI LAW FIRM
UMBREIT, MARY              NJ - USDC for the District of New Jersey   3:20-cv-18113         FEARS NACHAWATI LAW FIRM
UNTERNAHRER, PATRICIA      NJ - USDC for the District of New Jersey   3:20-cv-19043         FEARS NACHAWATI LAW FIRM
URBAN, ANDREA              NJ - USDC for the District of New Jersey   3:20-cv-15888         FEARS NACHAWATI LAW FIRM
URBAN, DOLORES             NJ - USDC for the District of New Jersey   3:20-cv-11576         FEARS NACHAWATI LAW FIRM
URELLA, DIANA              NJ - USDC for the District of New Jersey   3:20-cv-19604         FEARS NACHAWATI LAW FIRM
URIBE, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-19888         FEARS NACHAWATI LAW FIRM
UZAIKO, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-17968         FEARS NACHAWATI LAW FIRM
VALDEZ, FLORCITA           NJ - USDC for the District of New Jersey   3:20-cv-11083         FEARS NACHAWATI LAW FIRM
VALDEZ, KASANDRA           NJ - USDC for the District of New Jersey   3:20-cv-18077         FEARS NACHAWATI LAW FIRM
VALENTINE, EVA             NJ - USDC for the District of New Jersey   3:19-cv-15163         FEARS NACHAWATI LAW FIRM
VALENTINE, GERTRUDE        NJ - USDC for the District of New Jersey   3:20-cv-12051         FEARS NACHAWATI LAW FIRM
VALENTINE, JOYCE           NJ - USDC for the District of New Jersey   3:20-cv-11610         FEARS NACHAWATI LAW FIRM
VALK, BEVERLY              NJ - USDC for the District of New Jersey   3:20-cv-11271         FEARS NACHAWATI LAW FIRM
VALLANDIGHAM, JEANNE       NJ - USDC for the District of New Jersey   3:20-cv-18074         FEARS NACHAWATI LAW FIRM
VAN KEUREN, FRANCES        NJ - USDC for the District of New Jersey   3:20-cv-18902         FEARS NACHAWATI LAW FIRM
VAN LENT, TAMI             NJ - USDC for the District of New Jersey   3:20-cv-11431         FEARS NACHAWATI LAW FIRM
VAN PELT, TAMMY            NJ - USDC for the District of New Jersey   3:20-cv-19892         FEARS NACHAWATI LAW FIRM
VAN TASSEL, TAMERA         NJ - USDC for the District of New Jersey   3:20-cv-19458         FEARS NACHAWATI LAW FIRM
VAN WINKLE, KAREN          NJ - USDC for the District of New Jersey   3:20-cv-19006         FEARS NACHAWATI LAW FIRM
VANDERGRIFFT, DAWN         NJ - USDC for the District of New Jersey   3:21-cv-08182         FEARS NACHAWATI LAW FIRM
VANDERKOUS, DEANNA         NJ - USDC for the District of New Jersey   3:20-cv-17987         FEARS NACHAWATI LAW FIRM
VANOVER, LESLIE            NJ - USDC for the District of New Jersey   3:20-cv-18087         FEARS NACHAWATI LAW FIRM
VANRIPER, JEANETTE         NJ - USDC for the District of New Jersey   3:20-cv-13247         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
VARGA, YOLANDA            NJ - USDC for the District of New Jersey   3:19-cv-00229         FEARS NACHAWATI LAW FIRM
VARGAS, GLORIA            NJ - USDC for the District of New Jersey   3:18-cv-13616         FEARS NACHAWATI LAW FIRM
VARGAS, YESENIA           NJ - USDC for the District of New Jersey   3:20-cv-10987         FEARS NACHAWATI LAW FIRM
VARNER, BRANDY            NJ - USDC for the District of New Jersey   3:20-cv-17946         FEARS NACHAWATI LAW FIRM
VARNUM, MALINDA           NJ - USDC for the District of New Jersey   3:20-cv-18097         FEARS NACHAWATI LAW FIRM
VAUGHN, DELORES           NJ - USDC for the District of New Jersey   3:20-cv-18005         FEARS NACHAWATI LAW FIRM
VEFFER, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-19608         FEARS NACHAWATI LAW FIRM
VEGA, CARMEN              NJ - USDC for the District of New Jersey   3:20-cv-17963         FEARS NACHAWATI LAW FIRM
VEGA, CARRIE              NJ - USDC for the District of New Jersey   3:20-cv-18875         FEARS NACHAWATI LAW FIRM
VEGA, DOLORES             NJ - USDC for the District of New Jersey   3:20-cv-18016         FEARS NACHAWATI LAW FIRM
VEGA, NATALIA             NJ - USDC for the District of New Jersey   3:20-cv-17976         FEARS NACHAWATI LAW FIRM
VEIT, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-17997         FEARS NACHAWATI LAW FIRM
VEKSLER, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-15764         FEARS NACHAWATI LAW FIRM
VELA, CHRISTINA           NJ - USDC for the District of New Jersey   3:20-cv-11162         FEARS NACHAWATI LAW FIRM
VELASQUEZ, CORINE         NJ - USDC for the District of New Jersey   3:20-cv-18873         FEARS NACHAWATI LAW FIRM
VERDUGO, VICTORIA         NJ - USDC for the District of New Jersey   3:20-cv-10973         FEARS NACHAWATI LAW FIRM
VICENTINI, LARA           NJ - USDC for the District of New Jersey   3:20-cv-09772         FEARS NACHAWATI LAW FIRM
VICK, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-15038         FEARS NACHAWATI LAW FIRM
VICK, SONYA               NJ - USDC for the District of New Jersey   3:20-cv-11383         FEARS NACHAWATI LAW FIRM
VICKERY, OFELIA           NJ - USDC for the District of New Jersey   3:20-cv-18779         FEARS NACHAWATI LAW FIRM
VILLACIS, SUZETTE         NJ - USDC for the District of New Jersey   3:20-cv-18064         FEARS NACHAWATI LAW FIRM
VILLADAMIGO, PATRICIA     NJ - USDC for the District of New Jersey   3:20-cv-11377         FEARS NACHAWATI LAW FIRM
VILLAFANA, ELIZABETH      NJ - USDC for the District of New Jersey   3:20-cv-12036         FEARS NACHAWATI LAW FIRM
VILLANUEVA, LILY          NJ - USDC for the District of New Jersey   3:20-cv-18067         FEARS NACHAWATI LAW FIRM
VILLARREAL, CLAUDIA       NJ - USDC for the District of New Jersey   3:18-cv-15808         FEARS NACHAWATI LAW FIRM
VILLARREAL, DENISE        NJ - USDC for the District of New Jersey   3:20-cv-13415         FEARS NACHAWATI LAW FIRM
VILLARREAL, ELOISA        NJ - USDC for the District of New Jersey   3:20-cv-18838         FEARS NACHAWATI LAW FIRM
VINCENT, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-11478         FEARS NACHAWATI LAW FIRM
VINCENT, TAFFII           NJ - USDC for the District of New Jersey   3:20-cv-19612         FEARS NACHAWATI LAW FIRM
VINEGAR, FAIGIE           NJ - USDC for the District of New Jersey   3:18-cv-16762         FEARS NACHAWATI LAW FIRM
VINSON, BRAYLINNA         NJ - USDC for the District of New Jersey   3:20-cv-18978         FEARS NACHAWATI LAW FIRM
VIRGIL, ADRIANA           NJ - USDC for the District of New Jersey   3:20-cv-11333         FEARS NACHAWATI LAW FIRM
VISO, NATALIE             NJ - USDC for the District of New Jersey   3:20-cv-19529         FEARS NACHAWATI LAW FIRM
VITAL, TAUNINGA           NJ - USDC for the District of New Jersey   3:20-cv-18072         FEARS NACHAWATI LAW FIRM
VOGELSANG, STEFANIE       NJ - USDC for the District of New Jersey   3:20-cv-18076         FEARS NACHAWATI LAW FIRM
VOLPP, BETH               NJ - USDC for the District of New Jersey   3:20-cv-18477         FEARS NACHAWATI LAW FIRM
VORTES, CHANTEL           NJ - USDC for the District of New Jersey   3:20-cv-13328         FEARS NACHAWATI LAW FIRM
VULHOP, CAROLE            NJ - USDC for the District of New Jersey   3:20-cv-19011         FEARS NACHAWATI LAW FIRM
WABY, CHRISTINE           NJ - USDC for the District of New Jersey   3:19-cv-00359         FEARS NACHAWATI LAW FIRM
WADE, EDNA                NJ - USDC for the District of New Jersey   3:20-cv-19365         FEARS NACHAWATI LAW FIRM
WADE, OCTAVIUS            NJ - USDC for the District of New Jersey   3:20-cv-18082         FEARS NACHAWATI LAW FIRM
WADE, SHERYL              NJ - USDC for the District of New Jersey   3:21-cv-16503         FEARS NACHAWATI LAW FIRM
WAGNER, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-10905         FEARS NACHAWATI LAW FIRM
WAITE, JEANINE            NJ - USDC for the District of New Jersey   3:20-cv-11960         FEARS NACHAWATI LAW FIRM
WAITES, MARY              NJ - USDC for the District of New Jersey   3:20-cv-11580         FEARS NACHAWATI LAW FIRM
WALDROP, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-18106         FEARS NACHAWATI LAW FIRM
WALKER, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-15026         FEARS NACHAWATI LAW FIRM
WALKER, DEVANIA           NJ - USDC for the District of New Jersey   3:20-cv-13202         FEARS NACHAWATI LAW FIRM
WALKER, FAYE              NJ - USDC for the District of New Jersey   3:20-cv-18133         FEARS NACHAWATI LAW FIRM
WALKER, LOUISE            NJ - USDC for the District of New Jersey   3:20-cv-18139         FEARS NACHAWATI LAW FIRM
WALKER, SOPHRONIA         NJ - USDC for the District of New Jersey   3:20-cv-18119         FEARS NACHAWATI LAW FIRM
WALL, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-18709         FEARS NACHAWATI LAW FIRM
WALL, KIMBERLY            NJ - USDC for the District of New Jersey   3:20-cv-18149         FEARS NACHAWATI LAW FIRM
WALL, MONICA              NJ - USDC for the District of New Jersey   3:20-cv-19891         FEARS NACHAWATI LAW FIRM
WALLACE, GRETCHEN         NJ - USDC for the District of New Jersey   3:20-cv-19619         FEARS NACHAWATI LAW FIRM
WALLACE, MARIE            NJ - USDC for the District of New Jersey   3:20-cv-11971         FEARS NACHAWATI LAW FIRM
WALLACE, SADIE            NJ - USDC for the District of New Jersey   3:20-cv-18162         FEARS NACHAWATI LAW FIRM
WALLAND, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-19867         FEARS NACHAWATI LAW FIRM
WALRUFF, ROSEMARY         NJ - USDC for the District of New Jersey   3:20-cv-19488         FEARS NACHAWATI LAW FIRM
WALSH, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-10673         FEARS NACHAWATI LAW FIRM
WALSHAK, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-11082         FEARS NACHAWATI LAW FIRM
WALTERS, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-16777         FEARS NACHAWATI LAW FIRM
WALTERS, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-10639         FEARS NACHAWATI LAW FIRM
WALTHER, ALMA             NJ - USDC for the District of New Jersey   3:20-cv-10692         FEARS NACHAWATI LAW FIRM
WALTON, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-19076         FEARS NACHAWATI LAW FIRM
WARD, ALICE               NJ - USDC for the District of New Jersey   3:20-cv-11187         FEARS NACHAWATI LAW FIRM
WARD, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-10787         FEARS NACHAWATI LAW FIRM
WARD, JUNE                NJ - USDC for the District of New Jersey   3:20-cv-18913         FEARS NACHAWATI LAW FIRM
WARD, KATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-19825         FEARS NACHAWATI LAW FIRM
WARD, LENA                NJ - USDC for the District of New Jersey   3:20-cv-10875         FEARS NACHAWATI LAW FIRM
WARD, ONTAYAI             NJ - USDC for the District of New Jersey   3:20-cv-18172         FEARS NACHAWATI LAW FIRM
WARD, TARA                NJ - USDC for the District of New Jersey   3:20-cv-18179         FEARS NACHAWATI LAW FIRM
WARE, RENEE               NJ - USDC for the District of New Jersey   3:20-cv-09768         FEARS NACHAWATI LAW FIRM
WARE, ROSEATTA            NJ - USDC for the District of New Jersey   3:20-cv-19624         FEARS NACHAWATI LAW FIRM
WARNER, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-11510         FEARS NACHAWATI LAW FIRM
WARNER, BROOKLYN          NJ - USDC for the District of New Jersey   3:20-cv-18193         FEARS NACHAWATI LAW FIRM
WARRE, LORE               NJ - USDC for the District of New Jersey   3:20-cv-19677         FEARS NACHAWATI LAW FIRM
WARREN, BRITTANY          NJ - USDC for the District of New Jersey   3:20-cv-10357         FEARS NACHAWATI LAW FIRM
WARREN, ELIZABETH         NJ - USDC for the District of New Jersey   3:19-cv-19790         FEARS NACHAWATI LAW FIRM
WARREN, ELVIRA            NJ - USDC for the District of New Jersey   3:20-cv-11844         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WARREN, SHELLEY           NJ - USDC for the District of New Jersey   3:20-cv-16217         FEARS NACHAWATI LAW FIRM
WARREN, SHELLEY           NJ - USDC for the District of New Jersey   3:20-cv-17700         FEARS NACHAWATI LAW FIRM
WASHINGTON, ARLINDA       NJ - USDC for the District of New Jersey   3:20-cv-16362         FEARS NACHAWATI LAW FIRM
WASHINGTON, CASSANDRA     NJ - USDC for the District of New Jersey   3:20-cv-18219         FEARS NACHAWATI LAW FIRM
WASHINGTON, EVELYN        NJ - USDC for the District of New Jersey   3:20-cv-11066         FEARS NACHAWATI LAW FIRM
WASHINGTON, MARY          NJ - USDC for the District of New Jersey   3:20-cv-11991         FEARS NACHAWATI LAW FIRM
WASHINGTON, SANDRA        NJ - USDC for the District of New Jersey   3:20-cv-18211         FEARS NACHAWATI LAW FIRM
WASHINGTON, WENDY         NJ - USDC for the District of New Jersey   3:20-cv-18217         FEARS NACHAWATI LAW FIRM
WASSON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19631         FEARS NACHAWATI LAW FIRM
WATERS, CELESTINE         NJ - USDC for the District of New Jersey   3:20-cv-18135         FEARS NACHAWATI LAW FIRM
WATKINS-BRADLEY, MARY     NJ - USDC for the District of New Jersey   3:20-cv-19635         FEARS NACHAWATI LAW FIRM
WATLINGTON, TAWANA        NJ - USDC for the District of New Jersey   3:20-cv-10929         FEARS NACHAWATI LAW FIRM
WATSON, MARLA             NJ - USDC for the District of New Jersey   3:20-cv-18164         FEARS NACHAWATI LAW FIRM
WATSON, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-18143         FEARS NACHAWATI LAW FIRM
WATSON, SIMONNE           NJ - USDC for the District of New Jersey   3:20-cv-19832         FEARS NACHAWATI LAW FIRM
WATSON, TAMICA            NJ - USDC for the District of New Jersey   3:20-cv-18150         FEARS NACHAWATI LAW FIRM
WATSON-COTTON, DOROTHY    NJ - USDC for the District of New Jersey   3:20-cv-19484         FEARS NACHAWATI LAW FIRM
WATTERS, JACKIE           NJ - USDC for the District of New Jersey   3:20-cv-18168         FEARS NACHAWATI LAW FIRM
WATTS, ANGIELEE           NJ - USDC for the District of New Jersey   3:20-cv-15956         FEARS NACHAWATI LAW FIRM
WATTS, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-18174         FEARS NACHAWATI LAW FIRM
WEARS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-20085         FEARS NACHAWATI LAW FIRM
WEATHERMAN, PRISCILLA     NJ - USDC for the District of New Jersey   3:20-cv-18181         FEARS NACHAWATI LAW FIRM
WEATHERWAX, PATRICIA      NJ - USDC for the District of New Jersey   3:17-cv-08410         FEARS NACHAWATI LAW FIRM
WEAVER, DEBORA            NJ - USDC for the District of New Jersey   3:20-cv-18197         FEARS NACHAWATI LAW FIRM
WEAVER, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-09767         FEARS NACHAWATI LAW FIRM
WEBB, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-18205         FEARS NACHAWATI LAW FIRM
WEBB, JERALDEAN           NJ - USDC for the District of New Jersey   3:20-cv-19871         FEARS NACHAWATI LAW FIRM
WEBB, LATOSHA             NJ - USDC for the District of New Jersey   3:20-cv-10594         FEARS NACHAWATI LAW FIRM
WEBB, THELMA              NJ - USDC for the District of New Jersey   3:20-cv-11463         FEARS NACHAWATI LAW FIRM
WEBBER, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-15812         FEARS NACHAWATI LAW FIRM
WEBER, CARMELA            NJ - USDC for the District of New Jersey   3:20-cv-10409         FEARS NACHAWATI LAW FIRM
WEBER, RHONDA             NJ - USDC for the District of New Jersey   3:20-cv-11950         FEARS NACHAWATI LAW FIRM
WEBER-BOSWORTH, LYNN      NJ - USDC for the District of New Jersey   3:20-cv-13327         FEARS NACHAWATI LAW FIRM
WEEKLY, LUELLA            NJ - USDC for the District of New Jersey   3:20-cv-19873         FEARS NACHAWATI LAW FIRM
WEEKS, TAMMY              NJ - USDC for the District of New Jersey   3:20-cv-09766         FEARS NACHAWATI LAW FIRM
WEEKS-HARDWICK, HELEN     NJ - USDC for the District of New Jersey   3:20-cv-18215         FEARS NACHAWATI LAW FIRM
WEIDE, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-19442         FEARS NACHAWATI LAW FIRM
WEILER, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-10445         FEARS NACHAWATI LAW FIRM
WEINER, JENNIE            NJ - USDC for the District of New Jersey   3:20-cv-15994         FEARS NACHAWATI LAW FIRM
WEINHOLD, MARGARET        NJ - USDC for the District of New Jersey   3:20-cv-11179         FEARS NACHAWATI LAW FIRM
WEISZ, MARGIT             NJ - USDC for the District of New Jersey   3:20-cv-19881         FEARS NACHAWATI LAW FIRM
WELKER, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-01971         FEARS NACHAWATI LAW FIRM
WELLS, BERTHA             NJ - USDC for the District of New Jersey   3:20-cv-19643         FEARS NACHAWATI LAW FIRM
WELLS, CATHY              NJ - USDC for the District of New Jersey   3:20-cv-19646         FEARS NACHAWATI LAW FIRM
WELLS, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-18679         FEARS NACHAWATI LAW FIRM
WELLS, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-11051         FEARS NACHAWATI LAW FIRM
WELLS, TERRI              NJ - USDC for the District of New Jersey   3:20-cv-19893         FEARS NACHAWATI LAW FIRM
WENDOVER, KERRIANNE       NJ - USDC for the District of New Jersey   3:20-cv-10582         FEARS NACHAWATI LAW FIRM
WENSKOVITCH, KATHLEEN     NJ - USDC for the District of New Jersey   3:20-cv-18974         FEARS NACHAWATI LAW FIRM
WERHAN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-18266         FEARS NACHAWATI LAW FIRM
WESLEY, BLOSSOM           NJ - USDC for the District of New Jersey   3:20-cv-11157         FEARS NACHAWATI LAW FIRM
WESLEY, DEMETRIA          NJ - USDC for the District of New Jersey   3:20-cv-18945         FEARS NACHAWATI LAW FIRM
WESSELS, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-19074         FEARS NACHAWATI LAW FIRM
WEST, GINGIA              NJ - USDC for the District of New Jersey   3:18-cv-13659         FEARS NACHAWATI LAW FIRM
WEST, MAGDALENE           NJ - USDC for the District of New Jersey   3:20-cv-11900         FEARS NACHAWATI LAW FIRM
WEST, WILLENE             NJ - USDC for the District of New Jersey   3:20-cv-11461         FEARS NACHAWATI LAW FIRM
WEZENSKY, CINDY           NJ - USDC for the District of New Jersey   3:20-cv-10441         FEARS NACHAWATI LAW FIRM
WHALEN, DENA              NJ - USDC for the District of New Jersey   3:20-cv-10732         FEARS NACHAWATI LAW FIRM
WHALEN, MARY              NJ - USDC for the District of New Jersey   3:19-cv-19148         FEARS NACHAWATI LAW FIRM
WHEELER, TWILA            NJ - USDC for the District of New Jersey   3:20-cv-19686         FEARS NACHAWATI LAW FIRM
WHELESS, ROSE             NJ - USDC for the District of New Jersey   3:20-cv-11877         FEARS NACHAWATI LAW FIRM
WHERLEY, VICTORIA         NJ - USDC for the District of New Jersey   3:20-cv-18279         FEARS NACHAWATI LAW FIRM
WHIPPLE, CATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-19083         FEARS NACHAWATI LAW FIRM
WHITAKER, CONSTANCE       NJ - USDC for the District of New Jersey   3:20-cv-19650         FEARS NACHAWATI LAW FIRM
WHITE, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-18285         FEARS NACHAWATI LAW FIRM
WHITE, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-18290         FEARS NACHAWATI LAW FIRM
WHITE, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-18292         FEARS NACHAWATI LAW FIRM
WHITE, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-14979         FEARS NACHAWATI LAW FIRM
WHITE, PAULA              NJ - USDC for the District of New Jersey   3:20-cv-10898         FEARS NACHAWATI LAW FIRM
WHITE, ROSE               NJ - USDC for the District of New Jersey   3:20-cv-18305         FEARS NACHAWATI LAW FIRM
WHITE, RUBY               NJ - USDC for the District of New Jersey   3:20-cv-11872         FEARS NACHAWATI LAW FIRM
WHITE, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-18296         FEARS NACHAWATI LAW FIRM
WHITEFACE, DEANNA         NJ - USDC for the District of New Jersey   3:20-cv-18315         FEARS NACHAWATI LAW FIRM
WHITEHEAD, AMELIA         NJ - USDC for the District of New Jersey   3:20-cv-19061         FEARS NACHAWATI LAW FIRM
WHITEHEAD, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-11513         FEARS NACHAWATI LAW FIRM
WHITEMAN, MARY            NJ - USDC for the District of New Jersey   3:20-cv-18321         FEARS NACHAWATI LAW FIRM
WHITLOCK, KATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-11269         FEARS NACHAWATI LAW FIRM
WHITT, MOCHEET            NJ - USDC for the District of New Jersey   3:20-cv-18336         FEARS NACHAWATI LAW FIRM
WHITTED, LATOYA           NJ - USDC for the District of New Jersey   3:20-cv-10873         FEARS NACHAWATI LAW FIRM
WHITTINGTON, NAOMI        NJ - USDC for the District of New Jersey   3:20-cv-18341         FEARS NACHAWATI LAW FIRM




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
WHITTINGTON, RAQUELA               NJ - USDC for the District of New Jersey   3:20-cv-10912         FEARS NACHAWATI LAW FIRM
WIGGINS, BELINDA                   NJ - USDC for the District of New Jersey   3:20-cv-19670         FEARS NACHAWATI LAW FIRM
WIGGINS, BESSIE                    NJ - USDC for the District of New Jersey   3:20-cv-11483         FEARS NACHAWATI LAW FIRM
WIGGINS-BATES, JAYMIE              NJ - USDC for the District of New Jersey   3:20-cv-18346         FEARS NACHAWATI LAW FIRM
WILBOURN, FELICIA                  NJ - USDC for the District of New Jersey   3:20-cv-18355         FEARS NACHAWATI LAW FIRM
WILBURN, VALERIE                   NJ - USDC for the District of New Jersey   3:20-cv-18092         FEARS NACHAWATI LAW FIRM
WILDER, JACQUELINE                 NJ - USDC for the District of New Jersey   3:20-cv-11782         FEARS NACHAWATI LAW FIRM
WILEY, MAYBELLE                    NJ - USDC for the District of New Jersey   3:20-cv-18098         FEARS NACHAWATI LAW FIRM
WILEY, WANDA                       NJ - USDC for the District of New Jersey   3:20-cv-18095         FEARS NACHAWATI LAW FIRM
WILIIAMS, ANITA                    NJ - USDC for the District of New Jersey   3:20-cv-13123         FEARS NACHAWATI LAW FIRM
WILKES, ELIZABETH                  NJ - USDC for the District of New Jersey   3:20-cv-11718         FEARS NACHAWATI LAW FIRM
WILKINS, NORDINA                   NJ - USDC for the District of New Jersey   3:20-cv-18105         FEARS NACHAWATI LAW FIRM
WILLIAMS, ANGELIA                  NJ - USDC for the District of New Jersey   3:20-cv-15942         FEARS NACHAWATI LAW FIRM
WILLIAMS, ANITA                    NJ - USDC for the District of New Jersey   3:20-cv-18717         FEARS NACHAWATI LAW FIRM
WILLIAMS, BARBARA                  NJ - USDC for the District of New Jersey   3:20-cv-16229         FEARS NACHAWATI LAW FIRM
WILLIAMS, BARBARA                  NJ - USDC for the District of New Jersey   3:20-cv-16280         FEARS NACHAWATI LAW FIRM
WILLIAMS, BERNICE                  NJ - USDC for the District of New Jersey   3:21-cv-08954         FEARS NACHAWATI LAW FIRM
WILLIAMS, BRYANT                   NJ - USDC for the District of New Jersey   3:20-cv-16914         FEARS NACHAWATI LAW FIRM
WILLIAMS, CHERYL                   NJ - USDC for the District of New Jersey   3:20-cv-10846         FEARS NACHAWATI LAW FIRM
WILLIAMS, DEBORAH                  NJ - USDC for the District of New Jersey   3:20-cv-09587         FEARS NACHAWATI LAW FIRM
WILLIAMS, DEON                     NJ - USDC for the District of New Jersey   3:20-cv-11203         FEARS NACHAWATI LAW FIRM
WILLIAMS, DONNA                    NJ - USDC for the District of New Jersey   3:21-cv-17778         FEARS NACHAWATI LAW FIRM
WILLIAMS, ELLEN                    NJ - USDC for the District of New Jersey   3:20-cv-19679         FEARS NACHAWATI LAW FIRM
WILLIAMS, EMMA                     NJ - USDC for the District of New Jersey   3:17-cv-08413         FEARS NACHAWATI LAW FIRM
WILLIAMS, GAIL                     NJ - USDC for the District of New Jersey   3:20-cv-18243         FEARS NACHAWATI LAW FIRM
WILLIAMS, GOLDIE                   NJ - USDC for the District of New Jersey   3:20-cv-10826         FEARS NACHAWATI LAW FIRM
WILLIAMS, HELEN                    NJ - USDC for the District of New Jersey   3:20-cv-16284         FEARS NACHAWATI LAW FIRM
WILLIAMS, ISHAVEKA                 NJ - USDC for the District of New Jersey   3:20-cv-18242         FEARS NACHAWATI LAW FIRM
WILLIAMS, JANICE                   NJ - USDC for the District of New Jersey   3:20-cv-18378         FEARS NACHAWATI LAW FIRM
WILLIAMS, JEANETTE                 NJ - USDC for the District of New Jersey   3:20-cv-06893         FEARS NACHAWATI LAW FIRM
WILLIAMS, JESSIE                   NJ - USDC for the District of New Jersey   3:20-cv-18241         FEARS NACHAWATI LAW FIRM
WILLIAMS, KRISTINA                 NJ - USDC for the District of New Jersey   3:20-cv-18114         FEARS NACHAWATI LAW FIRM
WILLIAMS, LASHELLE                 NJ - USDC for the District of New Jersey   3:20-cv-19684         FEARS NACHAWATI LAW FIRM
WILLIAMS, LAVEDA                   NJ - USDC for the District of New Jersey   3:20-cv-18699         FEARS NACHAWATI LAW FIRM
WILLIAMS, LINDA                    NJ - USDC for the District of New Jersey   3:20-cv-10910         FEARS NACHAWATI LAW FIRM
WILLIAMS, MARGARET                 NJ - USDC for the District of New Jersey   3:20-cv-18369         FEARS NACHAWATI LAW FIRM
WILLIAMS, MARIA                    NJ - USDC for the District of New Jersey   3:20-cv-18239         FEARS NACHAWATI LAW FIRM
WILLIAMS, MARTHA                   NJ - USDC for the District of New Jersey   3:20-cv-18372         FEARS NACHAWATI LAW FIRM
WILLIAMS, MELISSA                  NJ - USDC for the District of New Jersey   3:20-cv-18238         FEARS NACHAWATI LAW FIRM
WILLIAMS, MILDRED                  NJ - USDC for the District of New Jersey   3:20-cv-18240         FEARS NACHAWATI LAW FIRM
WILLIAMS, NOVLETTE                 NJ - USDC for the District of New Jersey   3:20-cv-06804         FEARS NACHAWATI LAW FIRM
WILLIAMS, SHIRLEY                  NJ - USDC for the District of New Jersey   3:20-cv-18244         FEARS NACHAWATI LAW FIRM
WILLIAMS, SONIA                    NJ - USDC for the District of New Jersey   3:20-cv-11963         FEARS NACHAWATI LAW FIRM
WILLIAMS, SOPHIA                   NJ - USDC for the District of New Jersey   3:21-cv-07093         FEARS NACHAWATI LAW FIRM
WILLIAMS, STAR                     NJ - USDC for the District of New Jersey   3:20-cv-18245         FEARS NACHAWATI LAW FIRM
WILLIAMS, TAMARA                   NJ - USDC for the District of New Jersey   3:20-cv-11843         FEARS NACHAWATI LAW FIRM
WILLIAMS, TANISHA                  NJ - USDC for the District of New Jersey   3:20-cv-11776         FEARS NACHAWATI LAW FIRM
WILLIAMS, TRELANA                  NJ - USDC for the District of New Jersey   3:20-cv-19680         FEARS NACHAWATI LAW FIRM
WILLIAMSON, JACQUELINE             NJ - USDC for the District of New Jersey   3:20-cv-11795         FEARS NACHAWATI LAW FIRM
WILLIAMSON, KEISHA                 NJ - USDC for the District of New Jersey   3:20-cv-11275         FEARS NACHAWATI LAW FIRM
WILLIAMSON, RACHEL                 NJ - USDC for the District of New Jersey   3:20-cv-19692         FEARS NACHAWATI LAW FIRM
WILLIAMSON-JOHNSON, BEATRICE NJ - USDC for the District of New Jersey         3:20-cv-13137         FEARS NACHAWATI LAW FIRM
WILLINGHAM, MILDRED                NJ - USDC for the District of New Jersey   3:20-cv-18254         FEARS NACHAWATI LAW FIRM
WILLIS, JOSEPHINE                  NJ - USDC for the District of New Jersey   3:20-cv-20157         FEARS NACHAWATI LAW FIRM
WILLIS, MARTHA                     NJ - USDC for the District of New Jersey   3:20-cv-11727         FEARS NACHAWATI LAW FIRM
WILLIS, SONYA                      NJ - USDC for the District of New Jersey   3:20-cv-15813         FEARS NACHAWATI LAW FIRM
WILLKOM, CAROL                     NJ - USDC for the District of New Jersey   3:20-cv-18256         FEARS NACHAWATI LAW FIRM
WILLS, VIRGINIA                    NJ - USDC for the District of New Jersey   3:20-cv-18383         FEARS NACHAWATI LAW FIRM
WILSON, BARBARA                    NJ - USDC for the District of New Jersey   3:20-cv-11337         FEARS NACHAWATI LAW FIRM
WILSON, DEMETRIA TOWNS             NJ - USDC for the District of New Jersey   3:20-cv-18010         FEARS NACHAWATI LAW FIRM
WILSON, ELSIE                      NJ - USDC for the District of New Jersey   3:20-cv-19698         FEARS NACHAWATI LAW FIRM
WILSON, KAREN                      NJ - USDC for the District of New Jersey   3:20-cv-18250         FEARS NACHAWATI LAW FIRM
WILSON, MAUREEN                    NJ - USDC for the District of New Jersey   3:20-cv-19887         FEARS NACHAWATI LAW FIRM
WILSON, MELBA                      NJ - USDC for the District of New Jersey   3:20-cv-11579         FEARS NACHAWATI LAW FIRM
WILSON, MONYIA                     NJ - USDC for the District of New Jersey   3:20-cv-18259         FEARS NACHAWATI LAW FIRM
WILSON, RETHA                      NJ - USDC for the District of New Jersey   3:20-cv-02031         FEARS NACHAWATI LAW FIRM
WILT, EDRIA                        NJ - USDC for the District of New Jersey   3:20-cv-18261         FEARS NACHAWATI LAW FIRM
WIMBLEY, SHARON                    NJ - USDC for the District of New Jersey   3:19-cv-16092         FEARS NACHAWATI LAW FIRM
WINGATE, MARJORIE                  NJ - USDC for the District of New Jersey   3:20-cv-18262         FEARS NACHAWATI LAW FIRM
WINN, KATRINA                      NJ - USDC for the District of New Jersey   3:20-cv-18267         FEARS NACHAWATI LAW FIRM
WINN, LYNN                         NJ - USDC for the District of New Jersey   3:20-cv-11548         FEARS NACHAWATI LAW FIRM
WINSLOW, BETTY                     NJ - USDC for the District of New Jersey   3:20-cv-19743         FEARS NACHAWATI LAW FIRM
WINSLOW, PHYLLIS                   NJ - USDC for the District of New Jersey   3:20-cv-18152         FEARS NACHAWATI LAW FIRM
WINSOR, SHIRLEY                    NJ - USDC for the District of New Jersey   3:20-cv-18270         FEARS NACHAWATI LAW FIRM
WINSTON, VICKI                     NJ - USDC for the District of New Jersey   3:20-cv-18299         FEARS NACHAWATI LAW FIRM
WINTER, JENELLE                    NJ - USDC for the District of New Jersey   3:20-cv-13248         FEARS NACHAWATI LAW FIRM
WINTERS, KIMBERLY                  NJ - USDC for the District of New Jersey   3:19-cv-00029         FEARS NACHAWATI LAW FIRM
WIPPLER, AMANDA                    NJ - USDC for the District of New Jersey   3:18-cv-16834         FEARS NACHAWATI LAW FIRM
WISE, BRENDA                       NJ - USDC for the District of New Jersey   3:20-cv-18157         FEARS NACHAWATI LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WISSINGER, STEPHANIE      NJ - USDC for the District of New Jersey   3:20-cv-11299         FEARS NACHAWATI LAW FIRM
WITLIN, HELEN             NJ - USDC for the District of New Jersey   3:20-cv-08880         FEARS NACHAWATI LAW FIRM
WITTE, DARLENE            NJ - USDC for the District of New Jersey   3:20-cv-18166         FEARS NACHAWATI LAW FIRM
WOLFE, LOVIE              NJ - USDC for the District of New Jersey   3:20-cv-11714         FEARS NACHAWATI LAW FIRM
WOLFE, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-18260         FEARS NACHAWATI LAW FIRM
WOLFORD, MARY             NJ - USDC for the District of New Jersey   3:20-cv-18257         FEARS NACHAWATI LAW FIRM
WOO, BENGTA               NJ - USDC for the District of New Jersey   3:20-cv-19744         FEARS NACHAWATI LAW FIRM
WOOD, CYNTHIA             NJ - USDC for the District of New Jersey   3:20-cv-11395         FEARS NACHAWATI LAW FIRM
WOOD, HEIDI               NJ - USDC for the District of New Jersey   3:20-cv-10798         FEARS NACHAWATI LAW FIRM
WOOD, KITTY               NJ - USDC for the District of New Jersey   3:20-cv-18208         FEARS NACHAWATI LAW FIRM
WOOD, TRINA               NJ - USDC for the District of New Jersey   3:20-cv-18294         FEARS NACHAWATI LAW FIRM
WOOD, VALERIE             NJ - USDC for the District of New Jersey   3:17-cv-08419         FEARS NACHAWATI LAW FIRM
WOODARD, TERRY            NJ - USDC for the District of New Jersey   3:20-cv-18280         FEARS NACHAWATI LAW FIRM
WOODEN, BRIDGET           NJ - USDC for the District of New Jersey   3:20-cv-18865         FEARS NACHAWATI LAW FIRM
WOODMANCY, SUSAN          NJ - USDC for the District of New Jersey   3:20-cv-19620         FEARS NACHAWATI LAW FIRM
WOODS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-16250         FEARS NACHAWATI LAW FIRM
WOODS, VICTORIA           NJ - USDC for the District of New Jersey   3:20-cv-18304         FEARS NACHAWATI LAW FIRM
WOODSON, SALLIE           NJ - USDC for the District of New Jersey   3:20-cv-11721         FEARS NACHAWATI LAW FIRM
WOODY, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-08722         FEARS NACHAWATI LAW FIRM
WOOLEY, DEBBIE            NJ - USDC for the District of New Jersey   3:20-cv-11250         FEARS NACHAWATI LAW FIRM
WOOLSTRUM, INA            NJ - USDC for the District of New Jersey   3:20-cv-19745         FEARS NACHAWATI LAW FIRM
WOOTEN, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-13211         FEARS NACHAWATI LAW FIRM
WOOTEN, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-13222         FEARS NACHAWATI LAW FIRM
WORKMAN, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-18265         FEARS NACHAWATI LAW FIRM
WORLEY, JILLIAN           NJ - USDC for the District of New Jersey   3:20-cv-19962         FEARS NACHAWATI LAW FIRM
WORTHINGTON, CAROLE       NJ - USDC for the District of New Jersey   3:20-cv-10670         FEARS NACHAWATI LAW FIRM
WORTMAN, SANDY            NJ - USDC for the District of New Jersey   3:20-cv-11663         FEARS NACHAWATI LAW FIRM
WRIGHT, CHARLES           NJ - USDC for the District of New Jersey   3:20-cv-19746         FEARS NACHAWATI LAW FIRM
WRIGHT, CLAUDETTE         NJ - USDC for the District of New Jersey   3:20-cv-10687         FEARS NACHAWATI LAW FIRM
WRIGHT, ESSIE             NJ - USDC for the District of New Jersey   3:20-cv-10796         FEARS NACHAWATI LAW FIRM
WRIGHT, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-11593         FEARS NACHAWATI LAW FIRM
WRIGHT, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-13413         FEARS NACHAWATI LAW FIRM
WRIGHT, SANDRA            NJ - USDC for the District of New Jersey   3:20-cv-19286         FEARS NACHAWATI LAW FIRM
WRIGHT, SERENA            NJ - USDC for the District of New Jersey   3:18-cv-15813         FEARS NACHAWATI LAW FIRM
WRIGHT-ARNOLD, LINDA      NJ - USDC for the District of New Jersey   3:20-cv-19747         FEARS NACHAWATI LAW FIRM
WRIGHT-TICE, KAREN        NJ - USDC for the District of New Jersey   3:20-cv-18189         FEARS NACHAWATI LAW FIRM
WYATT, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-18180         FEARS NACHAWATI LAW FIRM
WYATT, MARY               NJ - USDC for the District of New Jersey   3:20-cv-18731         FEARS NACHAWATI LAW FIRM
WYNN, MARY JANE           NJ - USDC for the District of New Jersey   3:20-cv-18733         FEARS NACHAWATI LAW FIRM
XIONG, LE                 NJ - USDC for the District of New Jersey   3:20-cv-18249         FEARS NACHAWATI LAW FIRM
YAGER, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-13131         FEARS NACHAWATI LAW FIRM
YAGUDAYEV, NADIA          NJ - USDC for the District of New Jersey   3:20-cv-19748         FEARS NACHAWATI LAW FIRM
YAKUBISIN, SANDRA         NJ - USDC for the District of New Jersey   3:20-cv-19230         FEARS NACHAWATI LAW FIRM
YAMZON, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-18195         FEARS NACHAWATI LAW FIRM
YARBROUGH, CAROL          NJ - USDC for the District of New Jersey   3:20-cv-18161         FEARS NACHAWATI LAW FIRM
YATES, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-19749         FEARS NACHAWATI LAW FIRM
YATES, ILA                NJ - USDC for the District of New Jersey   3:20-cv-11345         FEARS NACHAWATI LAW FIRM
YATES, JOANNE             NJ - USDC for the District of New Jersey   3:20-cv-11622         FEARS NACHAWATI LAW FIRM
YELDELL, ELLA             NJ - USDC for the District of New Jersey   3:20-cv-18167         FEARS NACHAWATI LAW FIRM
YELINEK, CAROL            NJ - USDC for the District of New Jersey   3:18-cv-16989         FEARS NACHAWATI LAW FIRM
YMILIANO, ZENAIDA         NJ - USDC for the District of New Jersey   3:20-cv-19752         FEARS NACHAWATI LAW FIRM
YOUNG, ALMA               NJ - USDC for the District of New Jersey   3:20-cv-11683         FEARS NACHAWATI LAW FIRM
YOUNG, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-13120         FEARS NACHAWATI LAW FIRM
YOUNG, BRIDGETTE          NJ - USDC for the District of New Jersey   3:20-cv-11542         FEARS NACHAWATI LAW FIRM
YOUNG, JOANN              NJ - USDC for the District of New Jersey   3:20-cv-18178         FEARS NACHAWATI LAW FIRM
YOUNG, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-18926         FEARS NACHAWATI LAW FIRM
YOUNG, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-18253         FEARS NACHAWATI LAW FIRM
YOUNG, TAMMY              NJ - USDC for the District of New Jersey   3:20-cv-18277         FEARS NACHAWATI LAW FIRM
YU, HUI                   NJ - USDC for the District of New Jersey   3:20-cv-16111         FEARS NACHAWATI LAW FIRM
YUELLING, JEANNE          NJ - USDC for the District of New Jersey   3:20-cv-18175         FEARS NACHAWATI LAW FIRM
ZACHARY, MATTIE           NJ - USDC for the District of New Jersey   3:20-cv-19780         FEARS NACHAWATI LAW FIRM
ZAFIRAKIS, KELY           NJ - USDC for the District of New Jersey   3:20-cv-18201         FEARS NACHAWATI LAW FIRM
ZAK, KATHLEEN             NJ - USDC for the District of New Jersey   3:20-cv-11671         FEARS NACHAWATI LAW FIRM
ZALE, MOREGAN             NJ - USDC for the District of New Jersey   3:20-cv-11835         FEARS NACHAWATI LAW FIRM
ZALKIND, SHELLEY          NJ - USDC for the District of New Jersey   3:20-cv-18268         FEARS NACHAWATI LAW FIRM
ZAMORA, CLAUDIA           NJ - USDC for the District of New Jersey   3:20-cv-18780         FEARS NACHAWATI LAW FIRM
ZAMUDIO, GUILLERIMINA     NJ - USDC for the District of New Jersey   3:20-cv-10841         FEARS NACHAWATI LAW FIRM
ZANKICH, THELMA           NJ - USDC for the District of New Jersey   3:20-cv-11288         FEARS NACHAWATI LAW FIRM
ZANOTELLI, HERMINE        NJ - USDC for the District of New Jersey   3:20-cv-19154         FEARS NACHAWATI LAW FIRM
ZAPALAC, BENITA           NJ - USDC for the District of New Jersey   3:20-cv-19790         FEARS NACHAWATI LAW FIRM
ZESCHKE, GEORGENE         NJ - USDC for the District of New Jersey   3:20-cv-17702         FEARS NACHAWATI LAW FIRM
ZIMMER, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-11302         FEARS NACHAWATI LAW FIRM
ZIMMERMAN, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-19944         FEARS NACHAWATI LAW FIRM
ZIMMERMAN, EVELYN         NJ - USDC for the District of New Jersey   3:20-cv-18171         FEARS NACHAWATI LAW FIRM
ZIMMERMAN, MARILYNNE      NJ - USDC for the District of New Jersey   3:20-cv-12017         FEARS NACHAWATI LAW FIRM
ZIMMERMAN, SHIRLEY        NJ - USDC for the District of New Jersey   3:20-cv-18273         FEARS NACHAWATI LAW FIRM
ZINN, DIANE               NJ - USDC for the District of New Jersey   3:20-cv-18973         FEARS NACHAWATI LAW FIRM
ZUMTOBEL, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-18227         FEARS NACHAWATI LAW FIRM
ZUNIGA, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-18228         FEARS NACHAWATI LAW FIRM
BROWN, DIANNE             NJ - USDC for the District of New Jersey   3:21-cv-16779         FEARS NACHAWATI, PLLC




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         Claimant Name                         State Filed                       Docket Number               Plaintiff Counsel
BUHR, TERESA                   NJ - USDC for the District of New Jersey    3:19-cv-21896         FEARS NACHAWATI, PLLC
CALI, JULIE                    LA - District Court - East Baton Rouge Parish C-705579 25         FEARS NACHAWATI, PLLC
CORPUS, EDNA                   NJ - USDC for the District of New Jersey    3:19-cv-22209         FEARS NACHAWATI, PLLC
DUVALL, SETH                   AR - Circuit Court - Pulaski County         60CV-21-3496          FEARS NACHAWATI, PLLC
EDWARDS, MAMIE                 NJ - USDC for the District of New Jersey    3:19-cv-22224         FEARS NACHAWATI, PLLC
GRAFMYER, NIMNON               NJ - USDC for the District of New Jersey    3:19-cv-22226         FEARS NACHAWATI, PLLC
LAMBROPOULOS, CHERYL           NJ - USDC for the District of New Jersey    3:19-cv-22229         FEARS NACHAWATI, PLLC
LITTLE, BRENDA                 NJ - USDC for the District of New Jersey    3:19-cv-21140         FEARS NACHAWATI, PLLC
NAVELLI, ROSEMARY              NJ - USDC for the District of New Jersey    3:19-cv-22219         FEARS NACHAWATI, PLLC
PEREZ, CELIA EST OF ELUTERIA
                               TX - County Court - Hidalgo County          CL-20-4341-B          FEARS NACHAWATI, PLLC
RODRIGUEZ
STAHL, BONNIE                  NJ - USDC for the District of New Jersey    3:18-cv-17357         FEARS NACHAWATI, PLLC
VAUTERS, MAGGIE                NJ - USDC for the District of New Jersey    3:19-cv-22201         FEARS NACHAWATI, PLLC
WHELAN, JOHNNA ESTATE OF J M
                               IL - Circuit Court - Madison County         21-L-0714             FEARS NACHAWATI, PLLC
VANHOOSE
BUANNIC, LYNN                  NJ - Superior Court - Atlantic County       ATL-L-002447-18       FELDMAN & PINTO
DEVONE, JOANN                  NJ - Superior Court - Atlantic County       ATL-L-2354-17         FELDMAN & PINTO
                               PA - Philadelphia County Court of Common
FEIN, DEBORAH                                                              191101112             FELDMAN & PINTO
                               Pleas
FISHMAN, KAREN                 NJ - Superior Court - Atlantic County       ATL-L-000950-18       FELDMAN & PINTO
NGUYEN, ANNIE                  NJ - Superior Court - Atlantic County       L00324119             FELDMAN & PINTO
RAK, JOANNA                    NJ - Superior Court - Atlantic County       ATL-L-2355-17         FELDMAN & PINTO
SELLARI, LYNN                  NJ - Superior Court - Atlantic County       ATL-L-001574-18       FELDMAN & PINTO
                               PA - Philadelphia County Court of Common
VANCAMP, PENNY                                                             191101113             FELDMAN & PINTO
                               Pleas
KRULL, ROSE                    NJ - USDC for the District of New Jersey    3:17-cv-05657         FITZGERALD KNAIER, LLP
BALL, SHARON                   NJ - USDC for the District of New Jersey    3:17-cv-01783         FITZGERALD LAW GROUP, LLC
DOUB, ANNE                     NJ - USDC for the District of New Jersey    3:20-cv-08990         FITZGERALD LAW GROUP, LLC
SMITH, GLORIA                  NJ - USDC for the District of New Jersey    3:18-cv-13989         FITZGERALD LAW GROUP, LLC
STAPLES, MICHELE               NJ - USDC for the District of New Jersey    3:18-cv-01630         FITZGERALD LAW GROUP, LLC
TRAYNOR, MARLENE               NJ - USDC for the District of New Jersey    3:18-cv-14492         FITZGERALD LAW GROUP, LLC
ANDERSON, JANET                NJ - USDC for the District of New Jersey    3:20-cv-01247         FLEMING, NOLEN & JEZ, LLP
ARMSTRONG, DIANA               NJ - USDC for the District of New Jersey    3:18-cv-08262         FLEMING, NOLEN & JEZ, LLP
BARBEE-COUGLER, LINDA          NJ - USDC for the District of New Jersey    3:17-cv-11392         FLEMING, NOLEN & JEZ, LLP
BARROW, PATRICIA               NJ - USDC for the District of New Jersey    3:18-cv-11657         FLEMING, NOLEN & JEZ, LLP
BECK, CAROL                    NJ - USDC for the District of New Jersey    3:18-cv-13552         FLEMING, NOLEN & JEZ, LLP
BREAUX, DORIS                  NJ - USDC for the District of New Jersey    3:18-cv-08656         FLEMING, NOLEN & JEZ, LLP
BRIDGES, MARJORIE              NJ - USDC for the District of New Jersey    3:18-cv-12541         FLEMING, NOLEN & JEZ, LLP
BRYANT, FORMEIKA               NJ - USDC for the District of New Jersey    3:17-cv-04726         FLEMING, NOLEN & JEZ, LLP
CASPER, DOROTHY                NJ - USDC for the District of New Jersey    3:20-cv-04832         FLEMING, NOLEN & JEZ, LLP
CHEATHAM, ELIZABETH            NJ - USDC for the District of New Jersey    3:19-cv-08112         FLEMING, NOLEN & JEZ, LLP
COSBY, CASSANDRA               NJ - USDC for the District of New Jersey    3:19-cv-08129         FLEMING, NOLEN & JEZ, LLP
CULP, MELVA                    NJ - USDC for the District of New Jersey    3:17-cv-04447         FLEMING, NOLEN & JEZ, LLP
DUFRESNE, ROSELLA              NJ - USDC for the District of New Jersey    3:18-cv-13901         FLEMING, NOLEN & JEZ, LLP
GAGE, WANDA                    NJ - USDC for the District of New Jersey    3:17-cv-04451         FLEMING, NOLEN & JEZ, LLP
GOODWILL, MARY                 NJ - USDC for the District of New Jersey    3:18-cv-01490         FLEMING, NOLEN & JEZ, LLP
GURDA, JEANNE                  NJ - USDC for the District of New Jersey    3:19-cv-12251         FLEMING, NOLEN & JEZ, LLP
HANCOCK, PEGGY                 NJ - USDC for the District of New Jersey    3:18-cv-08652         FLEMING, NOLEN & JEZ, LLP
HERON, MARGARET                NJ - USDC for the District of New Jersey    3:20-cv-06150         FLEMING, NOLEN & JEZ, LLP
HOWARD, RENEE                  NJ - USDC for the District of New Jersey    3:17-cv-12219         FLEMING, NOLEN & JEZ, LLP
HURLEY, DONNA                  NJ - USDC for the District of New Jersey    3:19-cv-12243         FLEMING, NOLEN & JEZ, LLP
LEE, JACQUELINE                NJ - USDC for the District of New Jersey    3:19-cv-12931         FLEMING, NOLEN & JEZ, LLP
MARTIN, DELIA                  NJ - USDC for the District of New Jersey    3:18-cv-08649         FLEMING, NOLEN & JEZ, LLP
MUNOZ-ANELLO, CRISTINA         NJ - USDC for the District of New Jersey    3:17-cv-12221         FLEMING, NOLEN & JEZ, LLP
OCHOA, ROBERTA                 NJ - USDC for the District of New Jersey    3:19-cv-12495         FLEMING, NOLEN & JEZ, LLP
PALMER, DAISY                  NJ - USDC for the District of New Jersey    3:18-cv-08257         FLEMING, NOLEN & JEZ, LLP
PASQUALE, SUSAN                NJ - USDC for the District of New Jersey    3:19-cv-12522         FLEMING, NOLEN & JEZ, LLP
PATTERSON, TIFFANY             NJ - USDC for the District of New Jersey    3:20-cv-06446         FLEMING, NOLEN & JEZ, LLP
POSNER, ESTHER                 NJ - USDC for the District of New Jersey    3:18-cv-13897         FLEMING, NOLEN & JEZ, LLP
RAMEY, DANEEN                  NJ - USDC for the District of New Jersey    3:17-cv-04843         FLEMING, NOLEN & JEZ, LLP
REINHOLD, MARILYN              NJ - USDC for the District of New Jersey    3:17-cv-04725         FLEMING, NOLEN & JEZ, LLP
SATTERWHITE-MUHAMMAD,
                               NJ - USDC for the District of New Jersey    3:19-cv-21609         FLEMING, NOLEN & JEZ, LLP
BARBARA
STACEY, CATHERINE              NJ - USDC for the District of New Jersey    3:18-cv-14714         FLEMING, NOLEN & JEZ, LLP
WILSON, PHYLLIS                NJ - USDC for the District of New Jersey    3:18-cv-15470         FLEMING, NOLEN & JEZ, LLP
WILSON, SHANTERIA              NJ - USDC for the District of New Jersey    3:20-cv-06455         FLEMING, NOLEN & JEZ, LLP
ZEGLEY, DIANE                  NJ - USDC for the District of New Jersey    3:17-cv-12206         FLEMING, NOLEN & JEZ, LLP
ACOSTA, MARIA                  NJ - USDC for the District of New Jersey    3:21-cv-03121         FLETCHER V. TRAMMELL
ACREMAN, LEAHA                 NJ - USDC for the District of New Jersey    3:20-cv-09877         FLETCHER V. TRAMMELL
ADAME, MICHELLE                NJ - USDC for the District of New Jersey    3:20-cv-13015         FLETCHER V. TRAMMELL
ADAMS, BETTY                   NJ - USDC for the District of New Jersey    3:20-cv-13093         FLETCHER V. TRAMMELL
ADAMS, BRENDA                  NJ - USDC for the District of New Jersey    3:20-cv-11115         FLETCHER V. TRAMMELL
ADAMS, CONNIE                  NJ - USDC for the District of New Jersey    3:20-cv-06646         FLETCHER V. TRAMMELL
ADAMS, DEBRA                   NJ - USDC for the District of New Jersey    3:20-cv-00805         FLETCHER V. TRAMMELL
ADAMS, WENDY                   NJ - USDC for the District of New Jersey    3:20-cv-06360         FLETCHER V. TRAMMELL
ADAMS, WILMA                   NJ - USDC for the District of New Jersey    3:20-cv-13518         FLETCHER V. TRAMMELL
AGUIRRE, LORIANN               NJ - USDC for the District of New Jersey    3:20-cv-03122         FLETCHER V. TRAMMELL
AHART, JENNIFER                NJ - USDC for the District of New Jersey    3:20-cv-09866         FLETCHER V. TRAMMELL
ALBERGO, LILLIAN               NJ - USDC for the District of New Jersey    3:20-cv-11974         FLETCHER V. TRAMMELL




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
ALEXANDER, DORINE         NJ - USDC for the District of New Jersey   3:20-cv-18364         FLETCHER V. TRAMMELL
ALLEN, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-02999         FLETCHER V. TRAMMELL
ALLEN, IRENE              NJ - USDC for the District of New Jersey   3:20-cv-09838         FLETCHER V. TRAMMELL
ALLEN, SHANEITA           NJ - USDC for the District of New Jersey   3:20-cv-11809         FLETCHER V. TRAMMELL
ALLGAYER, JESSICA         NJ - USDC for the District of New Jersey   3:20-cv-08294         FLETCHER V. TRAMMELL
ALLSOP, DIANNE            NJ - USDC for the District of New Jersey   3:20-cv-13505         FLETCHER V. TRAMMELL
AMBURGY, CHARLOTTE        NJ - USDC for the District of New Jersey   3:20-cv-06292         FLETCHER V. TRAMMELL
ANDERSON, CHRISTINA       NJ - USDC for the District of New Jersey   3:21-cv-06045         FLETCHER V. TRAMMELL
ANDERSON, DANA            NJ - USDC for the District of New Jersey   3:19-cv-14360         FLETCHER V. TRAMMELL
ANDERSON, JANINE          NJ - USDC for the District of New Jersey   3:20-cv-09562         FLETCHER V. TRAMMELL
ANDERSON, RITA            NJ - USDC for the District of New Jersey   3:20-cv-04086         FLETCHER V. TRAMMELL
ANDREWS, JOAN             NJ - USDC for the District of New Jersey   3:20-cv-13700         FLETCHER V. TRAMMELL
ANDREWS-NOEL, NATASHA     NJ - USDC for the District of New Jersey   3:21-cv-03873         FLETCHER V. TRAMMELL
ARAUJO, ROXANNE           NJ - USDC for the District of New Jersey   3:21-cv-00662         FLETCHER V. TRAMMELL
ARMSTRONG, MARY           NJ - USDC for the District of New Jersey   3:19-cv-14361         FLETCHER V. TRAMMELL
ASHLEY, DANNA             NJ - USDC for the District of New Jersey   3:20-cv-09571         FLETCHER V. TRAMMELL
ATKINSON, ANNETTE         NJ - USDC for the District of New Jersey   3:20-cv-10771         FLETCHER V. TRAMMELL
AUSTIN, ALESIA            NJ - USDC for the District of New Jersey   3:20-cv-09526         FLETCHER V. TRAMMELL
AYRES, ROBIN              NJ - USDC for the District of New Jersey   3:19-cv-21459         FLETCHER V. TRAMMELL
BACA, MARY                NJ - USDC for the District of New Jersey   3:20-cv-08759         FLETCHER V. TRAMMELL
BADER, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13044         FLETCHER V. TRAMMELL
BADGETT, KATIE            NJ - USDC for the District of New Jersey   3:21-cv-11297         FLETCHER V. TRAMMELL
BAILEY, ANGELA            NJ - USDC for the District of New Jersey   3:19-cv-14462         FLETCHER V. TRAMMELL
BAILEY, LUCY              NJ - USDC for the District of New Jersey   3:20-cv-02012         FLETCHER V. TRAMMELL
BAILEY, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-09364         FLETCHER V. TRAMMELL
BAKER, MELISSA            NJ - USDC for the District of New Jersey   3:20-cv-09485         FLETCHER V. TRAMMELL
BAKER, SHINIKA            NJ - USDC for the District of New Jersey   3:19-cv-14611         FLETCHER V. TRAMMELL
BAKKE, CATHY              NJ - USDC for the District of New Jersey   3:20-cv-08414         FLETCHER V. TRAMMELL
BANKS, NETTIE             NJ - USDC for the District of New Jersey   3:19-cv-14362         FLETCHER V. TRAMMELL
BARNES, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-09849         FLETCHER V. TRAMMELL
BARRIGA, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-01867         FLETCHER V. TRAMMELL
BARTCHER, EUNICE          NJ - USDC for the District of New Jersey   3:20-cv-09851         FLETCHER V. TRAMMELL
BARTH, JULIA              NJ - USDC for the District of New Jersey   3:20-cv-08258         FLETCHER V. TRAMMELL
BASDEN, CONNIE            NJ - USDC for the District of New Jersey   3:20-cv-12903         FLETCHER V. TRAMMELL
BAUER, JANET              NJ - USDC for the District of New Jersey   3:20-cv-19700         FLETCHER V. TRAMMELL
BAUSWELL, KARON           NJ - USDC for the District of New Jersey   3:20-cv-18787         FLETCHER V. TRAMMELL
BEASLEY, CHARLOTTE        NJ - USDC for the District of New Jersey   3:20-cv-09573         FLETCHER V. TRAMMELL
BEDEKER, ALLA             NJ - USDC for the District of New Jersey   3:21-cv-07402         FLETCHER V. TRAMMELL
BEDFORD, DARLENE          NJ - USDC for the District of New Jersey   3:19-cv-14368         FLETCHER V. TRAMMELL
BELL, ANGELA              NJ - USDC for the District of New Jersey   3:20-cv-02896         FLETCHER V. TRAMMELL
BELL, CHASIDI             NJ - USDC for the District of New Jersey   3:20-cv-08295         FLETCHER V. TRAMMELL
BELL, GWENDOLYN           NJ - USDC for the District of New Jersey   3:21-cv-02890         FLETCHER V. TRAMMELL
BELL, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-13744         FLETCHER V. TRAMMELL
BELL, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-06324         FLETCHER V. TRAMMELL
BELLAMY, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-08310         FLETCHER V. TRAMMELL
BELTRAN, BESSIE           NJ - USDC for the District of New Jersey   3:20-cv-06377         FLETCHER V. TRAMMELL
BENNETT, DONNA            NJ - USDC for the District of New Jersey   3:19-cv-14370         FLETCHER V. TRAMMELL
BENT, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-02912         FLETCHER V. TRAMMELL
BERNHARD, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-17309         FLETCHER V. TRAMMELL
BERNIER, LOUISE           NJ - USDC for the District of New Jersey   3:20-cv-09516         FLETCHER V. TRAMMELL
BESBES, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-00270         FLETCHER V. TRAMMELL
BIRD, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-01485         FLETCHER V. TRAMMELL
BISARYA, VANDANA          NJ - USDC for the District of New Jersey   3:20-cv-11706         FLETCHER V. TRAMMELL
BISCHOFF, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-08407         FLETCHER V. TRAMMELL
BISHOP, MELANIE           NJ - USDC for the District of New Jersey   3:20-cv-09597         FLETCHER V. TRAMMELL
BLACK, DIANNA             NJ - USDC for the District of New Jersey   3:21-cv-07413         FLETCHER V. TRAMMELL
BLACKSTONE, ELSA          NJ - USDC for the District of New Jersey   3:20-cv-13058         FLETCHER V. TRAMMELL
BLAKE, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-09830         FLETCHER V. TRAMMELL
BLAKELY, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-04657         FLETCHER V. TRAMMELL
BLANTON, VICTORIA         NJ - USDC for the District of New Jersey   3:20-cv-06372         FLETCHER V. TRAMMELL
BLUITT-HECHAVARRIA,
                          NJ - USDC for the District of New Jersey   3:20-cv-11141         FLETCHER V. TRAMMELL
SCHEVONNE
BOGGS, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-02079         FLETCHER V. TRAMMELL
BOLD, JANET               NJ - USDC for the District of New Jersey   3:21-cv-13983         FLETCHER V. TRAMMELL
BOLDS, SHANTAIN           NJ - USDC for the District of New Jersey   3:20-cv-11710         FLETCHER V. TRAMMELL
BONNER, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-08398         FLETCHER V. TRAMMELL
BOONE, VESTA              NJ - USDC for the District of New Jersey   3:20-cv-12973         FLETCHER V. TRAMMELL
BORNSCHEUER, PAMELA       NJ - USDC for the District of New Jersey   3:20-cv-01681         FLETCHER V. TRAMMELL
BORUM, BRIDGET            NJ - USDC for the District of New Jersey   3:20-cv-08055         FLETCHER V. TRAMMELL
BOUGHTER, SHERYL          NJ - USDC for the District of New Jersey   3:20-cv-13663         FLETCHER V. TRAMMELL
BOVINO, CHRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-13053         FLETCHER V. TRAMMELL
BOWMAN, CANDY             NJ - USDC for the District of New Jersey   3:20-cv-11140         FLETCHER V. TRAMMELL
BRANCH, CASSONDRA         NJ - USDC for the District of New Jersey   3:19-cv-14371         FLETCHER V. TRAMMELL
BRATTON, AYESHA           NJ - USDC for the District of New Jersey   3:20-cv-18797         FLETCHER V. TRAMMELL
BRAUN, BERNICE            NJ - USDC for the District of New Jersey   3:20-cv-10235         FLETCHER V. TRAMMELL
BRECKENRIDGE, PHYLLIS     NJ - USDC for the District of New Jersey   3:20-cv-06652         FLETCHER V. TRAMMELL
BRIGGS, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-13810         FLETCHER V. TRAMMELL
BRINKLEY, JANE            NJ - USDC for the District of New Jersey   3:20-cv-01463         FLETCHER V. TRAMMELL
BRINKLEY, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-08350         FLETCHER V. TRAMMELL
BRITT, MARY               NJ - USDC for the District of New Jersey   3:20-cv-05116         FLETCHER V. TRAMMELL




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
BRITTON, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-08312         FLETCHER V. TRAMMELL
BROOKS, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-08182         FLETCHER V. TRAMMELL
BROOKS, KERRY             NJ - USDC for the District of New Jersey   3:20-cv-13008         FLETCHER V. TRAMMELL
BROWN, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-03135         FLETCHER V. TRAMMELL
BROWN, GLENDA             NJ - USDC for the District of New Jersey   3:20-cv-09703         FLETCHER V. TRAMMELL
BROWN, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-08372         FLETCHER V. TRAMMELL
BROWN, LIONDA             NJ - USDC for the District of New Jersey   3:20-cv-11934         FLETCHER V. TRAMMELL
BROXSON, TERRI            NJ - USDC for the District of New Jersey   3:20-cv-04245         FLETCHER V. TRAMMELL
BRUNO, SHEILA             NJ - USDC for the District of New Jersey   3:21-cv-07061         FLETCHER V. TRAMMELL
BRUNSED, BIRGIT           NJ - USDC for the District of New Jersey   3:19-cv-13544         FLETCHER V. TRAMMELL
BRUNSON, TERRALYNN        NJ - USDC for the District of New Jersey   3:20-cv-11929         FLETCHER V. TRAMMELL
BRYSON, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-12546         FLETCHER V. TRAMMELL
BUENO, JAYLEE             NJ - USDC for the District of New Jersey   3:20-cv-03030         FLETCHER V. TRAMMELL
BUKOSKI, MUZEYYEN         NJ - USDC for the District of New Jersey   3:20-cv-09705         FLETCHER V. TRAMMELL
BURCH, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-13360         FLETCHER V. TRAMMELL
BURETT, VALERIE           NJ - USDC for the District of New Jersey   3:20-cv-13796         FLETCHER V. TRAMMELL
BURKS, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-14385         FLETCHER V. TRAMMELL
BURLEW, RUTH              NJ - USDC for the District of New Jersey   3:20-cv-04780         FLETCHER V. TRAMMELL
BURNETTE, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-18784         FLETCHER V. TRAMMELL
BURNS, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-06046         FLETCHER V. TRAMMELL
BURNS, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-001377-20       FLETCHER V. TRAMMELL
BURTON, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-02420         FLETCHER V. TRAMMELL
BUSBY, LATONIA            NJ - USDC for the District of New Jersey   3:20-cv-11713         FLETCHER V. TRAMMELL
BUSCH, NASTASSJA          NJ - USDC for the District of New Jersey   3:20-cv-13147         FLETCHER V. TRAMMELL
BUSSEY, CINDY             NJ - USDC for the District of New Jersey   3:19-cv-22150         FLETCHER V. TRAMMELL
BUTTERFIELD, PAULA        NJ - Superior Court - Atlantic County      ATL-L-003248-20       FLETCHER V. TRAMMELL
BYRD, JANEY               NJ - USDC for the District of New Jersey   3:20-cv-04606         FLETCHER V. TRAMMELL
CABRAL, MACHALIA          NJ - USDC for the District of New Jersey   3:20-cv-05117         FLETCHER V. TRAMMELL
CALHOUN, MANDY            NJ - USDC for the District of New Jersey   3:20-cv-08045         FLETCHER V. TRAMMELL
CALICOTT, JULIANNE        NJ - USDC for the District of New Jersey   3:20-cv-08439         FLETCHER V. TRAMMELL
CAMACHO, KELLY            NJ - USDC for the District of New Jersey   3:20-cv-00661         FLETCHER V. TRAMMELL
CAMERON, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-16660         FLETCHER V. TRAMMELL
CAMP, SHERRY              NJ - USDC for the District of New Jersey   3:20-cv-02889         FLETCHER V. TRAMMELL
CAMPBELL, JOY             NJ - USDC for the District of New Jersey   3:20-cv-01980         FLETCHER V. TRAMMELL
CAPERTON, REGINA          NJ - USDC for the District of New Jersey   3:19-cv-21347         FLETCHER V. TRAMMELL
CAPO, MELISSA             NJ - USDC for the District of New Jersey   3:19-cv-21587         FLETCHER V. TRAMMELL
CAPPA, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-08353         FLETCHER V. TRAMMELL
CARDELLA, ANTOINETTE      NJ - USDC for the District of New Jersey   3:20-cv-02028         FLETCHER V. TRAMMELL
CAREW, VENUS              NJ - USDC for the District of New Jersey   3:20-cv-06653         FLETCHER V. TRAMMELL
CAREY, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-08167         FLETCHER V. TRAMMELL
CARNES, CHRISTINA         NJ - USDC for the District of New Jersey   3:19-cv-14386         FLETCHER V. TRAMMELL
CARPENTER, DASENA         NJ - USDC for the District of New Jersey   3:20-cv-08379         FLETCHER V. TRAMMELL
CARPENTER, MARVA          NJ - USDC for the District of New Jersey   3:20-cv-08073         FLETCHER V. TRAMMELL
CARRUYO, MARIOL           NJ - USDC for the District of New Jersey   3:20-cv-09828         FLETCHER V. TRAMMELL
CARSON, LATANGELA         NJ - USDC for the District of New Jersey   3:20-cv-11716         FLETCHER V. TRAMMELL
CARTER, KATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-09869         FLETCHER V. TRAMMELL
CAUSWAY, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-09848         FLETCHER V. TRAMMELL
CHAMBERS, BRENDA          NJ - USDC for the District of New Jersey   3:20-cv-00098         FLETCHER V. TRAMMELL
CHAPIN, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-01466         FLETCHER V. TRAMMELL
CHAPMAN, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-08746         FLETCHER V. TRAMMELL
CHESTER, VEDA             NJ - USDC for the District of New Jersey   3:20-cv-13369         FLETCHER V. TRAMMELL
CHIARELLO, GERALDINE      NJ - USDC for the District of New Jersey   3:21-cv-08254         FLETCHER V. TRAMMELL
CHIDERS, JONI             NJ - USDC for the District of New Jersey   3:19-cv-14463         FLETCHER V. TRAMMELL
CHISM, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-09488         FLETCHER V. TRAMMELL
CHREST, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-07897         FLETCHER V. TRAMMELL
CLAIBON, CHRISANDRA       NJ - USDC for the District of New Jersey   3:21-cv-03670         FLETCHER V. TRAMMELL
CLARK, BRIDGETT           NJ - USDC for the District of New Jersey   3:20-cv-09865         FLETCHER V. TRAMMELL
CLARK, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-07874         FLETCHER V. TRAMMELL
CLARKE, TRISHA            NJ - USDC for the District of New Jersey   3:20-cv-04147         FLETCHER V. TRAMMELL
CLAUSER, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-06165         FLETCHER V. TRAMMELL
CLEARY, JULIA             NJ - USDC for the District of New Jersey   3:20-cv-00080         FLETCHER V. TRAMMELL
CLICK, HEATHER            NJ - USDC for the District of New Jersey   3:20-cv-06209         FLETCHER V. TRAMMELL
CLINE, REBEKAH            NJ - USDC for the District of New Jersey   3:20-cv-03121         FLETCHER V. TRAMMELL
COBB, RONNIE              NJ - USDC for the District of New Jersey   3:20-cv-02124         FLETCHER V. TRAMMELL
COFFEL, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-08176         FLETCHER V. TRAMMELL
COLE, ANGILA              NJ - USDC for the District of New Jersey   3:20-cv-08286         FLETCHER V. TRAMMELL
COLEMAN, CORONIA          NJ - USDC for the District of New Jersey   3:20-cv-10001         FLETCHER V. TRAMMELL
COLEMAN, JAMELA           NJ - USDC for the District of New Jersey   3:20-cv-03017         FLETCHER V. TRAMMELL
COLEMAN, MARTHA           NJ - USDC for the District of New Jersey   3:19-cv-14545         FLETCHER V. TRAMMELL
COLLINS, NETTIE           NJ - USDC for the District of New Jersey   3:20-cv-02087         FLETCHER V. TRAMMELL
COLLINS, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-12003         FLETCHER V. TRAMMELL
COLLINS, RACHEL           NJ - USDC for the District of New Jersey   3:20-cv-08926         FLETCHER V. TRAMMELL
COLTELLI, DIANA           NJ - USDC for the District of New Jersey   3:21-cv-02570         FLETCHER V. TRAMMELL
COLVIN, LISA              NJ - USDC for the District of New Jersey   3:20-cv-17983         FLETCHER V. TRAMMELL
COMER, AMY                NJ - USDC for the District of New Jersey   3:20-cv-08244         FLETCHER V. TRAMMELL
COMMODORE, ARLISS         NJ - USDC for the District of New Jersey   3:21-cv-00974         FLETCHER V. TRAMMELL
CONNER, LILLIAN           NJ - USDC for the District of New Jersey   3:20-cv-13533         FLETCHER V. TRAMMELL
CONNERY, RITA             NJ - USDC for the District of New Jersey   3:21-cv-09382         FLETCHER V. TRAMMELL
CONTI, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-08323         FLETCHER V. TRAMMELL
COOK, HELEN               NJ - USDC for the District of New Jersey   3:20-cv-06622         FLETCHER V. TRAMMELL




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
COOK, LEAH                NJ - USDC for the District of New Jersey   3:20-cv-08400         FLETCHER V. TRAMMELL
COOPER, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-21778         FLETCHER V. TRAMMELL
COOPER, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-17383         FLETCHER V. TRAMMELL
COOPER, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-02154         FLETCHER V. TRAMMELL
COOPER, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-06650         FLETCHER V. TRAMMELL
CORMIER, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-08208         FLETCHER V. TRAMMELL
CORRAGGIO, JERRELYN       NJ - USDC for the District of New Jersey   3:20-cv-01633         FLETCHER V. TRAMMELL
CORRALES, LAURA           NJ - USDC for the District of New Jersey   3:20-cv-02854         FLETCHER V. TRAMMELL
CORRELL, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-06189         FLETCHER V. TRAMMELL
COSTLEY, CHERYL           NJ - USDC for the District of New Jersey   3:20-cv-09457         FLETCHER V. TRAMMELL
COURTNEY, GLENDA          NJ - USDC for the District of New Jersey   3:20-cv-13026         FLETCHER V. TRAMMELL
COWLEY, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-09554         FLETCHER V. TRAMMELL
COX, CELESTINE            NJ - USDC for the District of New Jersey   3:20-cv-11943         FLETCHER V. TRAMMELL
CRADDOCK, SHARMAN         NJ - USDC for the District of New Jersey   3:20-cv-08342         FLETCHER V. TRAMMELL
CRAMMER, JORDAN           NJ - USDC for the District of New Jersey   3:20-cv-13674         FLETCHER V. TRAMMELL
CRANE, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-09521         FLETCHER V. TRAMMELL
CREAMER, MISTY            NJ - USDC for the District of New Jersey   3:19-cv-14472         FLETCHER V. TRAMMELL
CRESSWELL, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-09626         FLETCHER V. TRAMMELL
CRISWELL, CRISANDRA       NJ - USDC for the District of New Jersey   3:20-cv-00093         FLETCHER V. TRAMMELL
CROCKETT, ANNIE           NJ - USDC for the District of New Jersey   3:20-cv-12023         FLETCHER V. TRAMMELL
CROSBY, LUELLA            NJ - USDC for the District of New Jersey   3:21-cv-03669         FLETCHER V. TRAMMELL
CRUSE, LINDSI             NJ - USDC for the District of New Jersey   3:19-cv-14476         FLETCHER V. TRAMMELL
CRUZ, CHRISTINE           NJ - USDC for the District of New Jersey   3:21-cv-01138         FLETCHER V. TRAMMELL
CRUZ, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-13217         FLETCHER V. TRAMMELL
CUDDY, ANN                NJ - USDC for the District of New Jersey   3:20-cv-01904         FLETCHER V. TRAMMELL
CUMMINGS, CHARLIE         NJ - USDC for the District of New Jersey   3:20-cv-12127         FLETCHER V. TRAMMELL
CUNNINGHAM, SANDRA        NJ - USDC for the District of New Jersey   3:20-cv-12140         FLETCHER V. TRAMMELL
CURRY, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-03137         FLETCHER V. TRAMMELL
DAGA, FLORENCIA           NJ - USDC for the District of New Jersey   3:20-cv-03033         FLETCHER V. TRAMMELL
DAMICO, ANNE              NJ - USDC for the District of New Jersey   3:21-cv-03667         FLETCHER V. TRAMMELL
DARE, VIRGINIA            NJ - USDC for the District of New Jersey   3:20-cv-14044         FLETCHER V. TRAMMELL
DAVIS, CHRISTINE          NJ - USDC for the District of New Jersey   3:19-cv-14484         FLETCHER V. TRAMMELL
DAVIS, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-08282         FLETCHER V. TRAMMELL
DAVIS, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-02962         FLETCHER V. TRAMMELL
DAY, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-04894         FLETCHER V. TRAMMELL
DAY, LILLIAN              NJ - USDC for the District of New Jersey   3:20-cv-13363         FLETCHER V. TRAMMELL
DAY, SUE                  NJ - USDC for the District of New Jersey   3:20-cv-08168         FLETCHER V. TRAMMELL
DAY, WINNIFRED            NJ - USDC for the District of New Jersey   3:20-cv-16476         FLETCHER V. TRAMMELL
DE FORERO, KAREN          CA - Superior Court - Alameda County       RG21085730            FLETCHER V. TRAMMELL
DEAL, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-08252         FLETCHER V. TRAMMELL
DEAN, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-16260         FLETCHER V. TRAMMELL
DEGEYTER, DEBRA           NJ - USDC for the District of New Jersey   3:20-cv-06871         FLETCHER V. TRAMMELL
DELACRUZ, LAURA           NJ - USDC for the District of New Jersey   3:20-cv-10918         FLETCHER V. TRAMMELL
DEMPSEY, JAMIE            NJ - USDC for the District of New Jersey   3:20-cv-09807         FLETCHER V. TRAMMELL
DEPEW, LISA               NJ - USDC for the District of New Jersey   3:20-cv-09484         FLETCHER V. TRAMMELL
DEREG, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-02103         FLETCHER V. TRAMMELL
DESSELLE, PIA             NJ - USDC for the District of New Jersey   3:19-cv-13027         FLETCHER V. TRAMMELL
DEVERA, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-03666         FLETCHER V. TRAMMELL
DEVINS, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-04597         FLETCHER V. TRAMMELL
DEWBERRY, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-03011         FLETCHER V. TRAMMELL
DEYO, CHERYL              NJ - USDC for the District of New Jersey   3:20-cv-01969         FLETCHER V. TRAMMELL
DIAZ, NICOLE              NJ - USDC for the District of New Jersey   3:20-cv-17450         FLETCHER V. TRAMMELL
DIBELLO, MARY             NJ - USDC for the District of New Jersey   3:20-cv-08325         FLETCHER V. TRAMMELL
DICKERSON, MISTY          NJ - USDC for the District of New Jersey   3:19-cv-14488         FLETCHER V. TRAMMELL
DICKERSON, TERI           NJ - USDC for the District of New Jersey   3:20-cv-01490         FLETCHER V. TRAMMELL
DICKERSON, VICTORIA       NJ - USDC for the District of New Jersey   3:20-cv-08441         FLETCHER V. TRAMMELL
DICKSON, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-13372         FLETCHER V. TRAMMELL
DICTOR, EILEEN            NJ - USDC for the District of New Jersey   3:20-cv-17322         FLETCHER V. TRAMMELL
DILLON, IRENE             NJ - USDC for the District of New Jersey   3:20-cv-19693         FLETCHER V. TRAMMELL
DINGWELL, ANGELINA        NJ - USDC for the District of New Jersey   3:20-cv-09477         FLETCHER V. TRAMMELL
DIPAOLO-COPP, JODI        NJ - USDC for the District of New Jersey   3:20-cv-03004         FLETCHER V. TRAMMELL
DIXON, COURTNEY           NJ - USDC for the District of New Jersey   3:19-cv-14546         FLETCHER V. TRAMMELL
DIXON, JULIA              NJ - USDC for the District of New Jersey   3:20-cv-03022         FLETCHER V. TRAMMELL
DOOLEY, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-08236         FLETCHER V. TRAMMELL
DORMAN, TRACY             NJ - USDC for the District of New Jersey   3:20-cv-12170         FLETCHER V. TRAMMELL
DOWNS, CRYSTAL            NJ - USDC for the District of New Jersey   3:20-cv-12120         FLETCHER V. TRAMMELL
DOYLE, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-14556         FLETCHER V. TRAMMELL
DRAKE, FRONA              NJ - USDC for the District of New Jersey   3:21-cv-06048         FLETCHER V. TRAMMELL
DREW, KRISTIN             NJ - USDC for the District of New Jersey   3:20-cv-16818         FLETCHER V. TRAMMELL
DRISCOLL, LOUISE          NJ - USDC for the District of New Jersey   3:21-cv-07542         FLETCHER V. TRAMMELL
DRIVER, ALEXIS            NJ - USDC for the District of New Jersey   3:20-cv-13455         FLETCHER V. TRAMMELL
DRIVER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-02126         FLETCHER V. TRAMMELL
DROOK, JOYCE              NJ - USDC for the District of New Jersey   3:20-cv-04254         FLETCHER V. TRAMMELL
DUNN, NAKEISHA            NJ - USDC for the District of New Jersey   3:20-cv-13111         FLETCHER V. TRAMMELL
DUPUY, CHINHUI            NJ - USDC for the District of New Jersey   3:21-cv-02894         FLETCHER V. TRAMMELL
DURAN, SHABA              NJ - USDC for the District of New Jersey   3:20-cv-13498         FLETCHER V. TRAMMELL
DURRETT, IMA              NJ - USDC for the District of New Jersey   3:20-cv-09804         FLETCHER V. TRAMMELL
EARLS, AUDREY             NJ - USDC for the District of New Jersey   3:21-cv-09496         FLETCHER V. TRAMMELL
EASTWOOD, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-02126         FLETCHER V. TRAMMELL
ECHEVARRIA, CECILIA       NJ - USDC for the District of New Jersey   3:20-cv-13097         FLETCHER V. TRAMMELL




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
EICHNER, MARJORIE         NJ - USDC for the District of New Jersey   3:21-cv-05331         FLETCHER V. TRAMMELL
ELLIOTT, CATHY            NJ - USDC for the District of New Jersey   3:21-cv-03453         FLETCHER V. TRAMMELL
ELLIOTT, RENEE            NJ - USDC for the District of New Jersey   3:20-cv-18231         FLETCHER V. TRAMMELL
ENG, CASSANDRA            NJ - USDC for the District of New Jersey   3:20-cv-01976         FLETCHER V. TRAMMELL
ENGLISH, JANELL           NJ - USDC for the District of New Jersey   3:20-cv-04947         FLETCHER V. TRAMMELL
ENSELL, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-13475         FLETCHER V. TRAMMELL
ESTELL, KELLI             NJ - USDC for the District of New Jersey   3:20-cv-02097         FLETCHER V. TRAMMELL
ESTES, RAMONA             NJ - USDC for the District of New Jersey   3:20-cv-16657         FLETCHER V. TRAMMELL
EUBANK, CHRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-08315         FLETCHER V. TRAMMELL
EVANS, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-16820         FLETCHER V. TRAMMELL
EVANS, JARONDA            NJ - USDC for the District of New Jersey   3:20-cv-08402         FLETCHER V. TRAMMELL
EVANS, JILL               NJ - USDC for the District of New Jersey   3:21-cv-05772         FLETCHER V. TRAMMELL
EVANS, MAUREEN            NJ - USDC for the District of New Jersey   3:20-cv-06439         FLETCHER V. TRAMMELL
FAIRWEATHER, ROBIN        NJ - USDC for the District of New Jersey   3:20-cv-03091         FLETCHER V. TRAMMELL
FALCONE, CHRISTINA        NJ - USDC for the District of New Jersey   3:20-cv-09832         FLETCHER V. TRAMMELL
FARLEY, RONA              NJ - USDC for the District of New Jersey   3:19-cv-16475         FLETCHER V. TRAMMELL
FARMER, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-02844         FLETCHER V. TRAMMELL
FARRICK, CHRISTINE        NJ - USDC for the District of New Jersey   3:20-cv-08389         FLETCHER V. TRAMMELL
FARRIS, ANNIE             NJ - USDC for the District of New Jersey   3:20-cv-06193         FLETCHER V. TRAMMELL
FATIGATO, JULIA           NJ - USDC for the District of New Jersey   3:21-cv-03158         FLETCHER V. TRAMMELL
FAVORS, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-13006         FLETCHER V. TRAMMELL
FENTON, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-09812         FLETCHER V. TRAMMELL
FIELD, AMY                NJ - USDC for the District of New Jersey   3:20-cv-02025         FLETCHER V. TRAMMELL
FINKEN, EARLENA           NJ - USDC for the District of New Jersey   3:21-cv-08157         FLETCHER V. TRAMMELL
FINKLEA, NORMA            NJ - USDC for the District of New Jersey   3:20-cv-10016         FLETCHER V. TRAMMELL
FINLAYSON, LINDA          NJ - USDC for the District of New Jersey   3:20-cv-13682         FLETCHER V. TRAMMELL
FISHMAN, ALLISON          NJ - USDC for the District of New Jersey   3:19-cv-21705         FLETCHER V. TRAMMELL
FISKE, MARTHA             NJ - USDC for the District of New Jersey   3:19-cv-14615         FLETCHER V. TRAMMELL
FITCH, LISA               NJ - USDC for the District of New Jersey   3:21-cv-03117         FLETCHER V. TRAMMELL
FITZGERALD, AIMEE         NJ - USDC for the District of New Jersey   3:20-cv-16816         FLETCHER V. TRAMMELL
FLAGG, JOCELYN            NJ - Superior Court - Atlantic County      ATL-L-00068720        FLETCHER V. TRAMMELL
FLEISHMAN, LADAWN         NJ - USDC for the District of New Jersey   3:20-cv-00199         FLETCHER V. TRAMMELL
FLETCHER, WANDA           NJ - USDC for the District of New Jersey   3:19-cv-13533         FLETCHER V. TRAMMELL
FLEURETTE, GLENDA         NJ - USDC for the District of New Jersey   3:20-cv-09579         FLETCHER V. TRAMMELL
FLORES, ALMA              NJ - USDC for the District of New Jersey   3:20-cv-08351         FLETCHER V. TRAMMELL
FLORES, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-08102         FLETCHER V. TRAMMELL
FLORES, MARYANN           NJ - USDC for the District of New Jersey   3:20-cv-09818         FLETCHER V. TRAMMELL
FLORES, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-08409         FLETCHER V. TRAMMELL
FLUKER, ROSIE             NJ - USDC for the District of New Jersey   3:20-cv-09605         FLETCHER V. TRAMMELL
FLYNN, CATINA             NJ - USDC for the District of New Jersey   3:20-cv-13802         FLETCHER V. TRAMMELL
FLYNN, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-14498         FLETCHER V. TRAMMELL
FOISY, BERNADETTE         NJ - USDC for the District of New Jersey   3:20-cv-09592         FLETCHER V. TRAMMELL
FORBES, REBECCA           NJ - USDC for the District of New Jersey   3:19-cv-17720         FLETCHER V. TRAMMELL
FORD, GLENDA              NJ - USDC for the District of New Jersey   3:19-cv-16443         FLETCHER V. TRAMMELL
FORTNER, GINA             NJ - USDC for the District of New Jersey   3:20-cv-02000         FLETCHER V. TRAMMELL
FORTUNE, ERIN             NJ - USDC for the District of New Jersey   3:20-cv-13365         FLETCHER V. TRAMMELL
FOSTER, BETTYE            NJ - USDC for the District of New Jersey   3:20-cv-13141         FLETCHER V. TRAMMELL
FOSTER, STACEY            NJ - USDC for the District of New Jersey   3:20-cv-17365         FLETCHER V. TRAMMELL
FOULKES, SUZANNE          NJ - USDC for the District of New Jersey   3:21-cv-09567         FLETCHER V. TRAMMELL
FOWLER, NINA              NJ - USDC for the District of New Jersey   3:20-cv-01885         FLETCHER V. TRAMMELL
FOX, MEGAN                NJ - USDC for the District of New Jersey   3:20-cv-11953         FLETCHER V. TRAMMELL
FRANCIS, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-08358         FLETCHER V. TRAMMELL
FRANKHAUSER, PAULA        NJ - USDC for the District of New Jersey   3:20-cv-13191         FLETCHER V. TRAMMELL
FRASER, NICHOLE           NJ - USDC for the District of New Jersey   3:20-cv-01469         FLETCHER V. TRAMMELL
FREDRICK, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-08287         FLETCHER V. TRAMMELL
FREDRICKS, LISA           NJ - USDC for the District of New Jersey   3:20-cv-00277         FLETCHER V. TRAMMELL
FULLER, GLORIA            NJ - USDC for the District of New Jersey   3:19-cv-21313         FLETCHER V. TRAMMELL
FULLER, LILLIE            NJ - USDC for the District of New Jersey   3:21-cv-09388         FLETCHER V. TRAMMELL
GABBITAS, ERMA            NJ - USDC for the District of New Jersey   3:20-cv-08176         FLETCHER V. TRAMMELL
GADBERRY, MARY            NJ - USDC for the District of New Jersey   3:21-cv-03423         FLETCHER V. TRAMMELL
GAFFEY, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-12891         FLETCHER V. TRAMMELL
GALAVIZ, MARIA            NJ - USDC for the District of New Jersey   3:19-cv-21150         FLETCHER V. TRAMMELL
GALLEGOS, KIM             NJ - USDC for the District of New Jersey   3:20-cv-13521         FLETCHER V. TRAMMELL
GALLOWAY, LUELLA          NJ - USDC for the District of New Jersey   3:20-cv-09824         FLETCHER V. TRAMMELL
GARBER, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-17423         FLETCHER V. TRAMMELL
GARCIA, ELISA             NJ - USDC for the District of New Jersey   3:19-cv-19122         FLETCHER V. TRAMMELL
GARCIA, MARY              NJ - USDC for the District of New Jersey   3:20-cv-09639         FLETCHER V. TRAMMELL
GARCIA, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-00598         FLETCHER V. TRAMMELL
GARDNER, ELIZABETH        NJ - USDC for the District of New Jersey   3:20-cv-10029         FLETCHER V. TRAMMELL
GARONZIK, LILLIAN         NJ - USDC for the District of New Jersey   3:20-cv-13038         FLETCHER V. TRAMMELL
GARRETT, LYNN             NJ - USDC for the District of New Jersey   3:20-cv-09608         FLETCHER V. TRAMMELL
GARRITSON, LORENA         NJ - USDC for the District of New Jersey   3:20-cv-06320         FLETCHER V. TRAMMELL
GATTUSO, JOAN             NJ - USDC for the District of New Jersey   3:20-cv-06623         FLETCHER V. TRAMMELL
GEARHART, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-02925         FLETCHER V. TRAMMELL
GEORGIANA, JOAN           NJ - USDC for the District of New Jersey   3:20-cv-09599         FLETCHER V. TRAMMELL
GIBSON, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-09857         FLETCHER V. TRAMMELL
GIFFORD, ALISHA           NJ - USDC for the District of New Jersey   3:20-cv-13667         FLETCHER V. TRAMMELL
GILLIAND, SONIA           NJ - USDC for the District of New Jersey   3:20-cv-08241         FLETCHER V. TRAMMELL
GINOBILE, THERESA         NJ - USDC for the District of New Jersey   3:20-cv-06618         FLETCHER V. TRAMMELL
GLASNAPP, LORI            NJ - USDC for the District of New Jersey   3:20-cv-06615         FLETCHER V. TRAMMELL




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          Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
GODWIN, FRANKIETTIA       NJ - USDC for the District of New Jersey   3:19-cv-10207         FLETCHER V. TRAMMELL
GONZALEZ, PATRICIA        NJ - USDC for the District of New Jersey   3:19-cv-13531         FLETCHER V. TRAMMELL
GONZALEZ, RACHAEL         NJ - USDC for the District of New Jersey   3:20-cv-09487         FLETCHER V. TRAMMELL
GONZALEZ, SAN             NJ - USDC for the District of New Jersey   3:20-cv-08349         FLETCHER V. TRAMMELL
GOODMAN, BRENDA           NJ - USDC for the District of New Jersey   3:20-cv-10779         FLETCHER V. TRAMMELL
GOODMAN, JOAN             NJ - USDC for the District of New Jersey   3:20-cv-13457         FLETCHER V. TRAMMELL
GOODMAN, LILLIE           NJ - USDC for the District of New Jersey   3:20-cv-09816         FLETCHER V. TRAMMELL
GOOSIC, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-15777         FLETCHER V. TRAMMELL
GORE, BRENDA              NJ - USDC for the District of New Jersey   3:20-cv-11939         FLETCHER V. TRAMMELL
GRAHAM, LINDSEY           NJ - USDC for the District of New Jersey   3:20-cv-06181         FLETCHER V. TRAMMELL
GRANGER, SUZY             NJ - USDC for the District of New Jersey   3:20-cv-14287         FLETCHER V. TRAMMELL
GRAVITT-EVANS, BRENDA     NJ - USDC for the District of New Jersey   3:20-cv-12970         FLETCHER V. TRAMMELL
GRAY, ELMA                NJ - USDC for the District of New Jersey   3:19-cv-16498         FLETCHER V. TRAMMELL
GREEN, TYRONZA            NJ - USDC for the District of New Jersey   3:19-cv-14567         FLETCHER V. TRAMMELL
GREENWELL, KATHY          NJ - USDC for the District of New Jersey   3:19-cv-16441         FLETCHER V. TRAMMELL
GRENDELL, VICTORIA        NJ - USDC for the District of New Jersey   3:20-cv-01872         FLETCHER V. TRAMMELL
GRIFFIN, DEMETRICE        NJ - USDC for the District of New Jersey   3:20-cv-08275         FLETCHER V. TRAMMELL
GRIFFIN, MELODY           NJ - USDC for the District of New Jersey   3:20-cv-11977         FLETCHER V. TRAMMELL
GRIFFITH, MARGARET        NJ - USDC for the District of New Jersey   3:20-cv-06259         FLETCHER V. TRAMMELL
GRISIUS, RAE              NJ - USDC for the District of New Jersey   3:20-cv-06365         FLETCHER V. TRAMMELL
GROEGER, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-03858         FLETCHER V. TRAMMELL
GROSS, LYNN               NJ - USDC for the District of New Jersey   3:21-cv-04955         FLETCHER V. TRAMMELL
GRUBER, GRACIELA          NJ - USDC for the District of New Jersey   3:20-cv-12996         FLETCHER V. TRAMMELL
GRUVER, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-09535         FLETCHER V. TRAMMELL
GUILLOT, BETTIE           NJ - USDC for the District of New Jersey   3:20-cv-11002         FLETCHER V. TRAMMELL
GUTHRIE, LORI             NJ - USDC for the District of New Jersey   3:20-cv-03001         FLETCHER V. TRAMMELL
HACKETT, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-11302         FLETCHER V. TRAMMELL
HAKEEM, TRINESHA          NJ - USDC for the District of New Jersey   3:19-cv-20731         FLETCHER V. TRAMMELL
HALE, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-06825         FLETCHER V. TRAMMELL
HALL, AMANDA              NJ - USDC for the District of New Jersey   3:20-cv-08054         FLETCHER V. TRAMMELL
HALL, ERIN                NJ - USDC for the District of New Jersey   3:21-cv-05710         FLETCHER V. TRAMMELL
HALL, PAULA               IL - Circuit Court - Cook County           2020-L003319          FLETCHER V. TRAMMELL
HALL, ROBIN               NJ - USDC for the District of New Jersey   3:20-cv-17935         FLETCHER V. TRAMMELL
HALL, TAMELA              NJ - USDC for the District of New Jersey   3:20-cv-00286         FLETCHER V. TRAMMELL
HALYE, NAYON              NJ - USDC for the District of New Jersey   3:20-cv-12190         FLETCHER V. TRAMMELL
HAMILTON, DEBBIE          NJ - USDC for the District of New Jersey   3:20-cv-01473         FLETCHER V. TRAMMELL
HAMM, DOROTHY             NJ - USDC for the District of New Jersey   3:20-cv-13366         FLETCHER V. TRAMMELL
HAMOLTON, MELODIE         NJ - USDC for the District of New Jersey   3:20-cv-02021         FLETCHER V. TRAMMELL
HANKS, BEVERLY            NJ - USDC for the District of New Jersey   3:20-cv-08185         FLETCHER V. TRAMMELL
HANSEN, JO-ANN            NJ - USDC for the District of New Jersey   3:20-cv-02875         FLETCHER V. TRAMMELL
HANSON, JANE              NJ - USDC for the District of New Jersey   3:21-cv-07826         FLETCHER V. TRAMMELL
HARDY, JENAVISA           NJ - USDC for the District of New Jersey   3:19-cv-14562         FLETCHER V. TRAMMELL
HARE, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-08435         FLETCHER V. TRAMMELL
HARMON, ELISA             NJ - USDC for the District of New Jersey   3:20-cv-16819         FLETCHER V. TRAMMELL
HARMON, HELDA             NJ - USDC for the District of New Jersey   3:19-cv-21593         FLETCHER V. TRAMMELL
HARMON, ILA               NJ - USDC for the District of New Jersey   3:20-cv-06343         FLETCHER V. TRAMMELL
HARPER-KRISSMAN, JILL     NJ - USDC for the District of New Jersey   3:20-cv-08095         FLETCHER V. TRAMMELL
HARRIS, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-12526         FLETCHER V. TRAMMELL
HARRIS, CAROLYN           NJ - USDC for the District of New Jersey   3:19-cv-20749         FLETCHER V. TRAMMELL
HARRIS, CYNTHIA           NJ - USDC for the District of New Jersey   3:19-cv-14109         FLETCHER V. TRAMMELL
HARRIS, TERRY             NJ - USDC for the District of New Jersey   3:20-cv-08375         FLETCHER V. TRAMMELL
HARRISON, DAISY           NJ - USDC for the District of New Jersey   3:20-cv-04771         FLETCHER V. TRAMMELL
HATFIELD, JANICE          NJ - USDC for the District of New Jersey   3:20-cv-10006         FLETCHER V. TRAMMELL
HAUK, KATHLEEN            NJ - USDC for the District of New Jersey   3:20-cv-13661         FLETCHER V. TRAMMELL
HAZ, HILDA                NJ - USDC for the District of New Jersey   3:20-cv-11138         FLETCHER V. TRAMMELL
HEATH, RACHAEL            NJ - USDC for the District of New Jersey   3:20-cv-09836         FLETCHER V. TRAMMELL
HEAVIN, AMY               NJ - USDC for the District of New Jersey   3:20-cv-18715         FLETCHER V. TRAMMELL
HELLARD, BETTY            NJ - USDC for the District of New Jersey   3:19-cv-14584         FLETCHER V. TRAMMELL
HELMS, MARILYN            NJ - USDC for the District of New Jersey   3:20-cv-04601         FLETCHER V. TRAMMELL
HEMPHILL, MANNIE          NJ - USDC for the District of New Jersey   3:19-cv-14581         FLETCHER V. TRAMMELL
HENSLEY, HEIDI            NJ - USDC for the District of New Jersey   3:20-cv-09825         FLETCHER V. TRAMMELL
HERMON, SHELIA            NJ - USDC for the District of New Jersey   3:20-cv-04616         FLETCHER V. TRAMMELL
HERNANDEZ, CATHERINE      NJ - USDC for the District of New Jersey   3:20-cv-14041         FLETCHER V. TRAMMELL
HERNANDEZ, CHRISTI        NJ - USDC for the District of New Jersey   3:20-cv-03280         FLETCHER V. TRAMMELL
HERNANDEZ, DONNA          NJ - USDC for the District of New Jersey   3:20-cv-09847         FLETCHER V. TRAMMELL
HEWETT, EMMA              NJ - USDC for the District of New Jersey   3:21-cv-08212         FLETCHER V. TRAMMELL
HIATT, CANDACE            NJ - USDC for the District of New Jersey   3:20-cv-10995         FLETCHER V. TRAMMELL
HICKS, CRYSTAL            NJ - USDC for the District of New Jersey   3:19-cv-14571         FLETCHER V. TRAMMELL
HICKS, PAULA              NJ - USDC for the District of New Jersey   3:20-cv-00803         FLETCHER V. TRAMMELL
HIEBER, JANICE            NJ - USDC for the District of New Jersey   3:21-cv-07424         FLETCHER V. TRAMMELL
HINES, WENDY              NJ - USDC for the District of New Jersey   3:20-cv-13478         FLETCHER V. TRAMMELL
HINTON, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-13151         FLETCHER V. TRAMMELL
HIRSCH, TEBRA             NJ - USDC for the District of New Jersey   3:19-cv-20735         FLETCHER V. TRAMMELL
HISCHE, CYNTHIA           NJ - Superior Court - Atlantic County      ATL-L-000346-21       FLETCHER V. TRAMMELL
HOCKENBERRY, BELINDA      NJ - USDC for the District of New Jersey   3:20-cv-06620         FLETCHER V. TRAMMELL
HOLDER, DELMA             NJ - USDC for the District of New Jersey   3:21-cv-02908         FLETCHER V. TRAMMELL
HOLGIN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-13135         FLETCHER V. TRAMMELL
HOLLEN, LESA              NJ - USDC for the District of New Jersey   3:20-cv-16180         FLETCHER V. TRAMMELL
HOLMAN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-08194         FLETCHER V. TRAMMELL
HOMAN, PATTI              NJ - USDC for the District of New Jersey   3:20-cv-10989         FLETCHER V. TRAMMELL




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HOMAN, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-08412         FLETCHER V. TRAMMELL
HORNE, SACOTTA            NJ - USDC for the District of New Jersey   3:20-cv-12913         FLETCHER V. TRAMMELL
HOUSEHOLDER, MARYELLEN    NJ - USDC for the District of New Jersey   3:20-cv-09575         FLETCHER V. TRAMMELL
HOWARD, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-10943         FLETCHER V. TRAMMELL
HOWELL, RACHEL            NJ - USDC for the District of New Jersey   3:21-cv-13961         FLETCHER V. TRAMMELL
HUDSON, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-08771         FLETCHER V. TRAMMELL
HUGHES, EMILY             NJ - USDC for the District of New Jersey   3:19-cv-16445         FLETCHER V. TRAMMELL
HULLEY, TONJA             NJ - USDC for the District of New Jersey   3:20-cv-11932         FLETCHER V. TRAMMELL
HUMBERT, YUKANA           NJ - USDC for the District of New Jersey   3:20-cv-08042         FLETCHER V. TRAMMELL
HUNTER, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-04619         FLETCHER V. TRAMMELL
HUNTER, NATASHA           NJ - USDC for the District of New Jersey   3:19-cv-14525         FLETCHER V. TRAMMELL
HUTCHINSON, MARTHA        NJ - USDC for the District of New Jersey   3:20-cv-13373         FLETCHER V. TRAMMELL
INGRAM, KIMBERLY          NJ - USDC for the District of New Jersey   3:19-cv-14587         FLETCHER V. TRAMMELL
ISAACSON, ROEANN          NJ - USDC for the District of New Jersey   3:20-cv-12201         FLETCHER V. TRAMMELL
JACKS, DEBORA             NJ - USDC for the District of New Jersey   3:20-cv-06657         FLETCHER V. TRAMMELL
JACKSON, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-08777         FLETCHER V. TRAMMELL
JACKSON, ELFRIEDE         NJ - USDC for the District of New Jersey   3:21-cv-09556         FLETCHER V. TRAMMELL
JACKSON, JANET            NJ - USDC for the District of New Jersey   3:20-cv-09637         FLETCHER V. TRAMMELL
JACKSON, MAUREEN          NJ - USDC for the District of New Jersey   3:20-cv-00102         FLETCHER V. TRAMMELL
JACKSON, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-14624         FLETCHER V. TRAMMELL
JACOBS, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-06619         FLETCHER V. TRAMMELL
JAMES, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-09468         FLETCHER V. TRAMMELL
JAMISON, EMMA             NJ - USDC for the District of New Jersey   3:21-cv-00991         FLETCHER V. TRAMMELL
JAROSZCZYK, MALGORZATA    NJ - Superior Court - Atlantic County      ATL-L-002667-20       FLETCHER V. TRAMMELL
JEANTET, REBBIE           NJ - USDC for the District of New Jersey   3:20-cv-01974         FLETCHER V. TRAMMELL
JENSEN, SARAH             NJ - USDC for the District of New Jersey   3:20-cv-09886         FLETCHER V. TRAMMELL
JERRY, HELEN              NJ - USDC for the District of New Jersey   3:21-cv-09373         FLETCHER V. TRAMMELL
JOHNSON, AQUIRA           NJ - USDC for the District of New Jersey   3:20-cv-11135         FLETCHER V. TRAMMELL
JOHNSON, DORIS            NJ - USDC for the District of New Jersey   3:20-cv-09881         FLETCHER V. TRAMMELL
JOHNSON, HILMA            NJ - USDC for the District of New Jersey   3:20-cv-13436         FLETCHER V. TRAMMELL
JOHNSON, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-09821         FLETCHER V. TRAMMELL
JOHNSON, MARITA           NJ - USDC for the District of New Jersey   3:20-cv-14048         FLETCHER V. TRAMMELL
JOHNSON, MARY             NJ - USDC for the District of New Jersey   3:20-cv-12202         FLETCHER V. TRAMMELL
JOHNSON, SHARON           NJ - USDC for the District of New Jersey   3:20-cv-09813         FLETCHER V. TRAMMELL
JOHNSON, TANISHIA         NJ - USDC for the District of New Jersey   3:20-cv-08171         FLETCHER V. TRAMMELL
JOHNSTON, MIRIAM          NJ - USDC for the District of New Jersey   3:20-cv-09531         FLETCHER V. TRAMMELL
JONES, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-02362         FLETCHER V. TRAMMELL
JONES, CHRISTA            NJ - USDC for the District of New Jersey   3:20-cv-09642         FLETCHER V. TRAMMELL
JONES, ELLA               NJ - USDC for the District of New Jersey   3:20-cv-04731         FLETCHER V. TRAMMELL
JONES, MARY               NJ - USDC for the District of New Jersey   3:20-cv-09462         FLETCHER V. TRAMMELL
JONES, RAVEVONDERLYNN     NJ - USDC for the District of New Jersey   3:20-cv-09644         FLETCHER V. TRAMMELL
JONES, WILMA              NJ - USDC for the District of New Jersey   3:20-cv-11945         FLETCHER V. TRAMMELL
JONES, YVETTE             NJ - USDC for the District of New Jersey   3:20-cv-09798         FLETCHER V. TRAMMELL
JOY, CAROL                NJ - USDC for the District of New Jersey   3:20-cv-13205         FLETCHER V. TRAMMELL
KAINER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-00972         FLETCHER V. TRAMMELL
KALFRAT, CHERI            NJ - USDC for the District of New Jersey   3:20-cv-09568         FLETCHER V. TRAMMELL
KEALA, HASEL              NJ - USDC for the District of New Jersey   3:20-cv-08081         FLETCHER V. TRAMMELL
KEEN, DEBBIE              NJ - USDC for the District of New Jersey   3:20-cv-02002         FLETCHER V. TRAMMELL
KELLEMS, MARIA            NJ - USDC for the District of New Jersey   3:19-cv-14540         FLETCHER V. TRAMMELL
KELLER, SHELBY            NJ - USDC for the District of New Jersey   3:19-cv-21777         FLETCHER V. TRAMMELL
KELLEY, PATSY             NJ - USDC for the District of New Jersey   3:20-cv-05121         FLETCHER V. TRAMMELL
KEMP, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-14523         FLETCHER V. TRAMMELL
KENEIPP, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-04753         FLETCHER V. TRAMMELL
KENNON, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-13362         FLETCHER V. TRAMMELL
KERZEL, ARDUE             NJ - USDC for the District of New Jersey   3:20-cv-09645         FLETCHER V. TRAMMELL
KHOSRAVI, SHANNON         NJ - USDC for the District of New Jersey   3:20-cv-12128         FLETCHER V. TRAMMELL
KING, ANNA                NJ - USDC for the District of New Jersey   3:20-cv-10975         FLETCHER V. TRAMMELL
KING, DIANNA              NJ - USDC for the District of New Jersey   3:19-cv-14530         FLETCHER V. TRAMMELL
KING, VICTORIA            NJ - USDC for the District of New Jersey   3:20-cv-12898         FLETCHER V. TRAMMELL
KIRKPATRICK, MILDRED      NJ - USDC for the District of New Jersey   3:19-cv-17824         FLETCHER V. TRAMMELL
KITCHEN, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-03002         FLETCHER V. TRAMMELL
KLINGFORTH, SALLY         NJ - USDC for the District of New Jersey   3:19-cv-22187         FLETCHER V. TRAMMELL
KNIGHT, EDNA              NJ - USDC for the District of New Jersey   3:20-cv-09888         FLETCHER V. TRAMMELL
KOCH, CATHERINE           NJ - USDC for the District of New Jersey   3:19-cv-13539         FLETCHER V. TRAMMELL
KOVALCIK, PAMELA          NJ - USDC for the District of New Jersey   3:20-cv-12197         FLETCHER V. TRAMMELL
KRESSLER, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-07834         FLETCHER V. TRAMMELL
KRUPP, SHERLEY            NJ - USDC for the District of New Jersey   3:19-cv-14585         FLETCHER V. TRAMMELL
KUEHLER, CHARLENE         NJ - USDC for the District of New Jersey   3:20-cv-06654         FLETCHER V. TRAMMELL
KULDEEP, SURUJDAI         NJ - USDC for the District of New Jersey   3:20-cv-06621         FLETCHER V. TRAMMELL
LA MERE, CARESSA          NJ - USDC for the District of New Jersey   3:20-cv-00291         FLETCHER V. TRAMMELL
LACY, MARCIA              NJ - USDC for the District of New Jersey   3:20-cv-13375         FLETCHER V. TRAMMELL
LAMONT, PATRICIA          CA - Superior Court - Alameda County       RG21085741            FLETCHER V. TRAMMELL
LAMONTE, MARIBEL          NJ - USDC for the District of New Jersey   3:20-cv-01675         FLETCHER V. TRAMMELL
LANGE, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-19952         FLETCHER V. TRAMMELL
LAPKA, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-09471         FLETCHER V. TRAMMELL
LARKIN, MARGIE            NJ - USDC for the District of New Jersey   3:20-cv-04762         FLETCHER V. TRAMMELL
LASWELL, DIANNA           NJ - USDC for the District of New Jersey   3:20-cv-01913         FLETCHER V. TRAMMELL
LATRICE, CANDICE          NJ - USDC for the District of New Jersey   3:20-cv-12901         FLETCHER V. TRAMMELL
LAUDERBAUGH, BRENDA       NJ - USDC for the District of New Jersey   3:20-cv-04168         FLETCHER V. TRAMMELL
LAURIELLO, LOIS           NJ - Superior Court - Atlantic County      ATL-L-003250-20       FLETCHER V. TRAMMELL




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LAVENHAR, CHELSEA         NJ - USDC for the District of New Jersey   3:20-cv-12126         FLETCHER V. TRAMMELL
LAWTON-MINETTI, SHARON    NJ - USDC for the District of New Jersey   3:20-cv-13804         FLETCHER V. TRAMMELL
LEAVELLE, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-08177         FLETCHER V. TRAMMELL
LEBLANC, DIANA            NJ - USDC for the District of New Jersey   3:20-cv-10926         FLETCHER V. TRAMMELL
LECLERCQ, SHIRLEY         NJ - USDC for the District of New Jersey   3:20-cv-08067         FLETCHER V. TRAMMELL
LEE, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-11993         FLETCHER V. TRAMMELL
LEONARD, LATANYA          NJ - USDC for the District of New Jersey   3:20-cv-01983         FLETCHER V. TRAMMELL
LESMEISTER, JEAN          NJ - USDC for the District of New Jersey   3:20-cv-04961         FLETCHER V. TRAMMELL
LESTER, ADIA              NJ - USDC for the District of New Jersey   3:20-cv-12879         FLETCHER V. TRAMMELL
LEVENTIS, CATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-12494         FLETCHER V. TRAMMELL
LEVY, BEAULAH             NJ - USDC for the District of New Jersey   3:19-cv-20558         FLETCHER V. TRAMMELL
LEWIN, COLLEEN            NJ - USDC for the District of New Jersey   3:20-cv-18694         FLETCHER V. TRAMMELL
LEWIS, CRYSTAL            NJ - Superior Court - Atlantic County      ATL-L-003286-20       FLETCHER V. TRAMMELL
LEWIS, JOSEPHINE          NJ - USDC for the District of New Jersey   3:19-cv-15005         FLETCHER V. TRAMMELL
LEWIS, KARYEN             NJ - USDC for the District of New Jersey   3:20-cv-08051         FLETCHER V. TRAMMELL
LEWIS, TAMMIE             NJ - USDC for the District of New Jersey   3:19-cv-19950         FLETCHER V. TRAMMELL
LINDSAY, FLOSSIE          NJ - USDC for the District of New Jersey   3:21-cv-08185         FLETCHER V. TRAMMELL
LINDSEY, LILLIE           NJ - USDC for the District of New Jersey   3:21-cv-04947         FLETCHER V. TRAMMELL
LINDSEY, MELINDA          NJ - USDC for the District of New Jersey   3:19-cv-14623         FLETCHER V. TRAMMELL
LINSCOMB, COURTNEY        NJ - USDC for the District of New Jersey   3:20-cv-08096         FLETCHER V. TRAMMELL
LIRANZO, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-18390         FLETCHER V. TRAMMELL
LITTLE, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-17311         FLETCHER V. TRAMMELL
LIVELY, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-09556         FLETCHER V. TRAMMELL
LOCKWOOD, CHRISTIE        NJ - USDC for the District of New Jersey   3:20-cv-00109         FLETCHER V. TRAMMELL
LOMBARDI, BERNADETTE      NJ - USDC for the District of New Jersey   3:19-cv-21584         FLETCHER V. TRAMMELL
LOPEZ, KATHRYN            NJ - USDC for the District of New Jersey   3:20-cv-09442         FLETCHER V. TRAMMELL
LOPEZ-LUCERO, MARTHA      NJ - USDC for the District of New Jersey   3:21-cv-07384         FLETCHER V. TRAMMELL
LORD, CYNTHIA             NJ - USDC for the District of New Jersey   3:20-cv-04986         FLETCHER V. TRAMMELL
LOUT, CYNTHIA             NJ - USDC for the District of New Jersey   3:19-cv-20560         FLETCHER V. TRAMMELL
LOVATO, MARY              NJ - USDC for the District of New Jersey   3:20-cv-12923         FLETCHER V. TRAMMELL
LOVELL, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-12159         FLETCHER V. TRAMMELL
LOWE, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-08101         FLETCHER V. TRAMMELL
LOWE, MARY                NJ - USDC for the District of New Jersey   3:20-cv-06222         FLETCHER V. TRAMMELL
LYLES, APRIL              NJ - USDC for the District of New Jersey   3:20-cv-00113         FLETCHER V. TRAMMELL
LYNN, SANDY               NJ - USDC for the District of New Jersey   3:19-cv-16479         FLETCHER V. TRAMMELL
MACK, FELECIA             NJ - USDC for the District of New Jersey   3:20-cv-06316         FLETCHER V. TRAMMELL
MACON, LUCRITIA           NJ - USDC for the District of New Jersey   3:20-cv-09619         FLETCHER V. TRAMMELL
MADDOX, DOVIE             NJ - USDC for the District of New Jersey   3:20-cv-08314         FLETCHER V. TRAMMELL
MAHAN, LANA               NJ - USDC for the District of New Jersey   3:21-cv-13987         FLETCHER V. TRAMMELL
MAHUKA, TAMMYLEIGH        NJ - USDC for the District of New Jersey   3:20-cv-12876         FLETCHER V. TRAMMELL
MAJORS, MAMIE             NJ - USDC for the District of New Jersey   3:20-cv-09559         FLETCHER V. TRAMMELL
MALDONADO, NOHELIA        NJ - USDC for the District of New Jersey   3:20-cv-00295         FLETCHER V. TRAMMELL
MANHART, KATHLEEN         NJ - USDC for the District of New Jersey   3:21-cv-12423         FLETCHER V. TRAMMELL
MANUEL, KELLIE            NJ - USDC for the District of New Jersey   3:21-cv-02897         FLETCHER V. TRAMMELL
MANUEL, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-12150         FLETCHER V. TRAMMELL
MARASCO, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-07850         FLETCHER V. TRAMMELL
MARCHESKIE, RACHAEL       NJ - USDC for the District of New Jersey   3:20-cv-06266         FLETCHER V. TRAMMELL
MARCLEY, DARSHA           NJ - USDC for the District of New Jersey   3:20-cv-11139         FLETCHER V. TRAMMELL
MARCUM, ANNITA            NJ - USDC for the District of New Jersey   3:20-cv-13452         FLETCHER V. TRAMMELL
MAREK, STARLETTE          NJ - USDC for the District of New Jersey   3:21-cv-02887         FLETCHER V. TRAMMELL
MARSHALL, JENNONE         NJ - USDC for the District of New Jersey   3:20-cv-02866         FLETCHER V. TRAMMELL
MARTINEZ, MARRY           NJ - USDC for the District of New Jersey   3:19-cv-14614         FLETCHER V. TRAMMELL
MASCHMAN, DANA            NJ - USDC for the District of New Jersey   3:20-cv-09846         FLETCHER V. TRAMMELL
MASON, PANDORA            NJ - USDC for the District of New Jersey   3:20-cv-06440         FLETCHER V. TRAMMELL
MATIAS, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-04258         FLETCHER V. TRAMMELL
MATTHEWS, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-05119         FLETCHER V. TRAMMELL
MATTHEWS, PEARL           NJ - USDC for the District of New Jersey   3:20-cv-09580         FLETCHER V. TRAMMELL
MCCLUSKEY, MARYELLEN      NJ - USDC for the District of New Jersey   3:20-cv-08085         FLETCHER V. TRAMMELL
MCCONNELL, HEATHER        NJ - USDC for the District of New Jersey   3:20-cv-08184         FLETCHER V. TRAMMELL
MCCOY, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-09600         FLETCHER V. TRAMMELL
MCCRACKEN, SUE-ELLEN      NJ - USDC for the District of New Jersey   3:20-cv-14037         FLETCHER V. TRAMMELL
MCCREARY, WILLIE          NJ - USDC for the District of New Jersey   3:20-cv-13106         FLETCHER V. TRAMMELL
MCCULLY, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-01615         FLETCHER V. TRAMMELL
MCDANIEL, LATASHA         NJ - USDC for the District of New Jersey   3:20-cv-02910         FLETCHER V. TRAMMELL
MCDANIEL, SYLENIA         NJ - USDC for the District of New Jersey   3:20-cv-12137         FLETCHER V. TRAMMELL
MCDONALD, IRENE           NJ - USDC for the District of New Jersey   3:20-cv-00610         FLETCHER V. TRAMMELL
MCFADDEN, SARAH           NJ - USDC for the District of New Jersey   3:20-cv-13074         FLETCHER V. TRAMMELL
MCGHEE, BAMBI             NJ - USDC for the District of New Jersey   3:19-cv-14563         FLETCHER V. TRAMMELL
MCGILL, MELINDA           NJ - USDC for the District of New Jersey   3:20-cv-10767         FLETCHER V. TRAMMELL
MCGOWAN, SHANNON          NJ - USDC for the District of New Jersey   3:21-cv-00977         FLETCHER V. TRAMMELL
MCGREGOR, RUTHIE          NJ - USDC for the District of New Jersey   3:20-cv-09817         FLETCHER V. TRAMMELL
MEADOWS, LUANA            NJ - USDC for the District of New Jersey   3:20-cv-09887         FLETCHER V. TRAMMELL
MEDINA, ANGELINA          NJ - USDC for the District of New Jersey   3:20-cv-13009         FLETCHER V. TRAMMELL
MEDINA, DESTINY           NJ - USDC for the District of New Jersey   3:20-cv-13368         FLETCHER V. TRAMMELL
MEEHAN, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-03123         FLETCHER V. TRAMMELL
MEINHOLD, CORINE          NJ - USDC for the District of New Jersey   3:21-cv-07120         FLETCHER V. TRAMMELL
MEJIA, AHUILITZLI         NJ - USDC for the District of New Jersey   3:20-cv-09467         FLETCHER V. TRAMMELL
MELSON, CANDY             NJ - USDC for the District of New Jersey   3:20-cv-02004         FLETCHER V. TRAMMELL
MENDOZA, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-16815         FLETCHER V. TRAMMELL
MENNOR, TERRI             NJ - USDC for the District of New Jersey   3:19-cv-21311         FLETCHER V. TRAMMELL




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MERRELL, JANET            NJ - USDC for the District of New Jersey   3:20-cv-08355         FLETCHER V. TRAMMELL
MILLER, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-10018         FLETCHER V. TRAMMELL
MILLER, JEAN              NJ - USDC for the District of New Jersey   3:20-cv-12125         FLETCHER V. TRAMMELL
MILLER, JUSTINE           NJ - USDC for the District of New Jersey   3:20-cv-04429         FLETCHER V. TRAMMELL
MILLER, KIMBERLEE         NJ - USDC for the District of New Jersey   3:21-cv-08242         FLETCHER V. TRAMMELL
MILLER, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-02860         FLETCHER V. TRAMMELL
MILLINER, JOYCE           NJ - USDC for the District of New Jersey   3:19-cv-16440         FLETCHER V. TRAMMELL
MILLS, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-01867         FLETCHER V. TRAMMELL
MIMS, ANGELICA            NJ - USDC for the District of New Jersey   3:19-cv-14564         FLETCHER V. TRAMMELL
MITCHELL, CLARISSA        NJ - USDC for the District of New Jersey   3:20-cv-09707         FLETCHER V. TRAMMELL
MITCHELL, KATHRYN         NJ - USDC for the District of New Jersey   3:20-cv-06319         FLETCHER V. TRAMMELL
MIXON-GIBSON, NAOMI       NJ - USDC for the District of New Jersey   3:20-cv-03056         FLETCHER V. TRAMMELL
MOELLER, COSETTE          NJ - USDC for the District of New Jersey   3:20-cv-02871         FLETCHER V. TRAMMELL
MONLUX, ROXANNE           NJ - USDC for the District of New Jersey   3:20-cv-00401         FLETCHER V. TRAMMELL
MONROE, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-06655         FLETCHER V. TRAMMELL
MORGAN, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-12123         FLETCHER V. TRAMMELL
MORGAN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-09860         FLETCHER V. TRAMMELL
MORIS, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-12488         FLETCHER V. TRAMMELL
MORLAN, LISA              NJ - USDC for the District of New Jersey   3:20-cv-01677         FLETCHER V. TRAMMELL
MORRIS, TEAZU-TATIANA     NJ - USDC for the District of New Jersey   3:20-cv-08418         FLETCHER V. TRAMMELL
MORSTADT, ANNE            NJ - USDC for the District of New Jersey   3:20-cv-13807         FLETCHER V. TRAMMELL
MOSBACHER, MARSHA         NJ - USDC for the District of New Jersey   3:20-cv-13707         FLETCHER V. TRAMMELL
MOYE, LYNDA               NJ - USDC for the District of New Jersey   3:20-cv-00083         FLETCHER V. TRAMMELL
MULLEN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-06263         FLETCHER V. TRAMMELL
MULLINS, BEVERLY          NJ - USDC for the District of New Jersey   3:21-cv-05389         FLETCHER V. TRAMMELL
MULLINS, LORA             NJ - USDC for the District of New Jersey   3:19-cv-21515         FLETCHER V. TRAMMELL
MURDOCK, ALISA            NJ - USDC for the District of New Jersey   3:20-cv-13474         FLETCHER V. TRAMMELL
MURRAY, HEATHER           NJ - USDC for the District of New Jersey   3:20-cv-13226         FLETCHER V. TRAMMELL
MURRAY, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-00996         FLETCHER V. TRAMMELL
MURRAY, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-06318         FLETCHER V. TRAMMELL
MYERS, STELLA             NJ - USDC for the District of New Jersey   3:20-cv-09509         FLETCHER V. TRAMMELL
NAVARRETE, CECILIA        NJ - USDC for the District of New Jersey   3:20-cv-08246         FLETCHER V. TRAMMELL
NEAL, KIMBERLY            NJ - USDC for the District of New Jersey   3:20-cv-06206         FLETCHER V. TRAMMELL
NELSON, JO                NJ - USDC for the District of New Jersey   3:20-cv-13091         FLETCHER V. TRAMMELL
NEWBURN, PEARL            NJ - USDC for the District of New Jersey   3:21-cv-04924         FLETCHER V. TRAMMELL
NEWMAN, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-06614         FLETCHER V. TRAMMELL
NEWMAN, LISA              NJ - USDC for the District of New Jersey   3:20-cv-06406         FLETCHER V. TRAMMELL
NEWTON, STACEY            NJ - USDC for the District of New Jersey   3:19-cv-17718         FLETCHER V. TRAMMELL
NICHOLSON, CYRIL          NJ - USDC for the District of New Jersey   3:19-cv-20747         FLETCHER V. TRAMMELL
NIEDERBERGER, CRYSTAL     NJ - USDC for the District of New Jersey   3:20-cv-02215         FLETCHER V. TRAMMELL
NOE, BILLIE               NJ - USDC for the District of New Jersey   3:19-cv-14538         FLETCHER V. TRAMMELL
NORDLUND, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-14524         FLETCHER V. TRAMMELL
NULTY, PHYLLIS            NJ - USDC for the District of New Jersey   3:20-cv-00297         FLETCHER V. TRAMMELL
NUNEZ, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-06254         FLETCHER V. TRAMMELL
NUNEZ, REGINA             NJ - USDC for the District of New Jersey   3:20-cv-13460         FLETCHER V. TRAMMELL
NWOKOGBA, MELODY          NJ - USDC for the District of New Jersey   3:20-cv-12152         FLETCHER V. TRAMMELL
OAKMAN, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-08368         FLETCHER V. TRAMMELL
ODDSON, TRACY             NJ - USDC for the District of New Jersey   3:20-cv-13364         FLETCHER V. TRAMMELL
OHANLON, DONNA            NJ - Superior Court - Atlantic County      ATL-L-001356-20       FLETCHER V. TRAMMELL
OKANE, MILDRED            NJ - USDC for the District of New Jersey   3:20-cv-05118         FLETCHER V. TRAMMELL
OLVERA, LENCY             NJ - USDC for the District of New Jersey   3:21-cv-11284         FLETCHER V. TRAMMELL
OLVERA, LIDIA             NJ - USDC for the District of New Jersey   3:20-cv-02200         FLETCHER V. TRAMMELL
ORTIZ, EILEEN             NJ - USDC for the District of New Jersey   3:20-cv-04745         FLETCHER V. TRAMMELL
ORZECK, MARILYN           NJ - USDC for the District of New Jersey   3:20-cv-09459         FLETCHER V. TRAMMELL
OSHAUGHNESSY, SHELLIE     NJ - USDC for the District of New Jersey   3:20-cv-02106         FLETCHER V. TRAMMELL
OSTERHOUDT, LORETTA       NJ - USDC for the District of New Jersey   3:21-cv-12640         FLETCHER V. TRAMMELL
OTTER, LEWANA             NJ - USDC for the District of New Jersey   3:20-cv-06617         FLETCHER V. TRAMMELL
OVERTON, ANNA             NJ - Superior Court - Atlantic County      ATL-L-002824-20       FLETCHER V. TRAMMELL
OVERTON, GLENNA           NJ - USDC for the District of New Jersey   3:20-cv-08097         FLETCHER V. TRAMMELL
OWENS, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-13361         FLETCHER V. TRAMMELL
PAFUNDI, SILVIA           NJ - USDC for the District of New Jersey   3:19-cv-14576         FLETCHER V. TRAMMELL
PAGE, ROBIN               NJ - USDC for the District of New Jersey   3:20-cv-16244         FLETCHER V. TRAMMELL
PAKAN, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-12200         FLETCHER V. TRAMMELL
PALASCHAK, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-08354         FLETCHER V. TRAMMELL
PALMERTON, ELIZABETH      NJ - USDC for the District of New Jersey   3:19-cv-17717         FLETCHER V. TRAMMELL
PANFIL, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-00303         FLETCHER V. TRAMMELL
PAPPAS, MARYANN           NJ - USDC for the District of New Jersey   3:21-cv-07395         FLETCHER V. TRAMMELL
PARIS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-14033         FLETCHER V. TRAMMELL
PARKER, AMANDA            NJ - USDC for the District of New Jersey   3:20-cv-13718         FLETCHER V. TRAMMELL
PARKER, JUANITA           NJ - USDC for the District of New Jersey   3:20-cv-08249         FLETCHER V. TRAMMELL
PARSONS, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-03862         FLETCHER V. TRAMMELL
PARTEN, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-03867         FLETCHER V. TRAMMELL
PARTON, RENEE             NJ - USDC for the District of New Jersey   3:20-cv-08173         FLETCHER V. TRAMMELL
PASTORE, JACLYN           NJ - USDC for the District of New Jersey   3:20-cv-12889         FLETCHER V. TRAMMELL
PATTERSON, KARAN          NJ - USDC for the District of New Jersey   3:19-cv-21730         FLETCHER V. TRAMMELL
PECKINPAUGH, LINDA        NJ - USDC for the District of New Jersey   3:20-cv-09706         FLETCHER V. TRAMMELL
PECKINS, STEFANI          NJ - USDC for the District of New Jersey   3:20-cv-08438         FLETCHER V. TRAMMELL
PENA, CHER                NJ - USDC for the District of New Jersey   3:20-cv-03020         FLETCHER V. TRAMMELL
PEREZ, ANGELITA           NJ - USDC for the District of New Jersey   3:20-cv-09513         FLETCHER V. TRAMMELL
PEREZ, EVELYN             NJ - USDC for the District of New Jersey   3:20-cv-05115         FLETCHER V. TRAMMELL




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           Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
PERKINS, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-03015         FLETCHER V. TRAMMELL
PERKINS, SHARON            NJ - USDC for the District of New Jersey   3:19-cv-13960         FLETCHER V. TRAMMELL
PERKS, LILLIAN             NJ - USDC for the District of New Jersey   3:19-cv-21702         FLETCHER V. TRAMMELL
PERRINO, LAMAYI            NJ - USDC for the District of New Jersey   3:20-cv-09819         FLETCHER V. TRAMMELL
PERRY, TONYA               NJ - USDC for the District of New Jersey   3:20-cv-02194         FLETCHER V. TRAMMELL
PETERS, JOELENE            NJ - USDC for the District of New Jersey   3:20-cv-12124         FLETCHER V. TRAMMELL
PETERSEN, PAMELA           NJ - USDC for the District of New Jersey   3:20-cv-06389         FLETCHER V. TRAMMELL
PETERSON, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-08490         FLETCHER V. TRAMMELL
PHILLIPS, DIANNE           NJ - USDC for the District of New Jersey   3:20-cv-00381         FLETCHER V. TRAMMELL
PIERRE-LOUISE, GLYNIS      NJ - USDC for the District of New Jersey   3:20-cv-05122         FLETCHER V. TRAMMELL
PINCKNEY-DUGAN, KRISTEN    NJ - USDC for the District of New Jersey   3:20-cv-11955         FLETCHER V. TRAMMELL
PINNACLE, ANNIE            NJ - USDC for the District of New Jersey   3:20-cv-09889         FLETCHER V. TRAMMELL
POFF, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-01532         FLETCHER V. TRAMMELL
PONCE, GRACIELA            NJ - USDC for the District of New Jersey   3:20-cv-12987         FLETCHER V. TRAMMELL
PONDER, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-08486         FLETCHER V. TRAMMELL
POPE, STARYA               NJ - USDC for the District of New Jersey   3:20-cv-09543         FLETCHER V. TRAMMELL
POUST, LYN                 NJ - USDC for the District of New Jersey   3:20-cv-06658         FLETCHER V. TRAMMELL
PREACELY, LULA             NJ - USDC for the District of New Jersey   3:20-cv-01877         FLETCHER V. TRAMMELL
PRIDGEN, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-07371         FLETCHER V. TRAMMELL
PROFFITT, LUCILLE          NJ - USDC for the District of New Jersey   3:20-cv-06649         FLETCHER V. TRAMMELL
PROPST, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-12505         FLETCHER V. TRAMMELL
PROUT, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-01482         FLETCHER V. TRAMMELL
PRUSKIN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-08288         FLETCHER V. TRAMMELL
PUMO, DARLENE              NJ - USDC for the District of New Jersey   3:20-cv-13401         FLETCHER V. TRAMMELL
PYERITZ-WHITMOYER, DAWN    NJ - USDC for the District of New Jersey   3:20-cv-14056         FLETCHER V. TRAMMELL
QUALIATO, DARLENE          NJ - USDC for the District of New Jersey   3:21-cv-08224         FLETCHER V. TRAMMELL
QUIGLEY, LAKYIA            NJ - USDC for the District of New Jersey   3:21-cv-12430         FLETCHER V. TRAMMELL
QUINTON, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-01623         FLETCHER V. TRAMMELL
RABALAIS, TAHNEE           NJ - USDC for the District of New Jersey   3:19-cv-17822         FLETCHER V. TRAMMELL
RAGSDALE, ANNA             NJ - USDC for the District of New Jersey   3:20-cv-08376         FLETCHER V. TRAMMELL
RAGSEALE, DARLA            NJ - USDC for the District of New Jersey   3:20-cv-12144         FLETCHER V. TRAMMELL
RANTZ, RETA                NJ - USDC for the District of New Jersey   3:20-cv-06651         FLETCHER V. TRAMMELL
RASNICK, GERALDINE         NJ - USDC for the District of New Jersey   3:20-cv-02946         FLETCHER V. TRAMMELL
RAY, DALE                  NJ - USDC for the District of New Jersey   3:20-cv-08440         FLETCHER V. TRAMMELL
REAVES, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-09622         FLETCHER V. TRAMMELL
REDDICK, TERRI             NJ - USDC for the District of New Jersey   3:20-cv-11975         FLETCHER V. TRAMMELL
REINHARD, JANICE           NJ - USDC for the District of New Jersey   3:20-cv-09454         FLETCHER V. TRAMMELL
RIBKEN, TINA               NJ - USDC for the District of New Jersey   3:19-cv-14583         FLETCHER V. TRAMMELL
RICE, MADELINE             NJ - USDC for the District of New Jersey   3:20-cv-13526         FLETCHER V. TRAMMELL
RICHBURG, BOBBIE           NJ - USDC for the District of New Jersey   3:20-cv-09482         FLETCHER V. TRAMMELL
RIDDLE, LUCILLE            NJ - USDC for the District of New Jersey   3:21-cv-05058         FLETCHER V. TRAMMELL
RIDEOUT, RITA              NJ - USDC for the District of New Jersey   3:20-cv-02856         FLETCHER V. TRAMMELL
RILEY, CHRISTINA           NJ - Superior Court - Atlantic County      ATL-L-001354-20       FLETCHER V. TRAMMELL
RITCHIE, TINA              NJ - Superior Court - Atlantic County      ATL-L-002047-20       FLETCHER V. TRAMMELL
RIVERA, LUZ                NJ - USDC for the District of New Jersey   3:20-cv-02835         FLETCHER V. TRAMMELL
ROBB, ANITA                NJ - USDC for the District of New Jersey   3:20-cv-13726         FLETCHER V. TRAMMELL
ROBERTS, KATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-06613         FLETCHER V. TRAMMELL
ROBINSON, ROBERTA          NJ - USDC for the District of New Jersey   3:20-cv-13136         FLETCHER V. TRAMMELL
ROBINSON, TRACY            NJ - USDC for the District of New Jersey   3:20-cv-09551         FLETCHER V. TRAMMELL
ROBINSON, TWANNA           NJ - USDC for the District of New Jersey   3:20-cv-02905         FLETCHER V. TRAMMELL
RODRIGUEZ, CYNTHIA         NJ - USDC for the District of New Jersey   3:21-cv-03124         FLETCHER V. TRAMMELL
RODRIGUEZ, JENNIFER        NJ - USDC for the District of New Jersey   3:20-cv-08324         FLETCHER V. TRAMMELL
RODRIGUEZ, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-11006         FLETCHER V. TRAMMELL
ROGERS, CARRIE             NJ - USDC for the District of New Jersey   3:19-cv-14531         FLETCHER V. TRAMMELL
ROGERS, GWENDOLYN          NJ - USDC for the District of New Jersey   3:20-cv-08320         FLETCHER V. TRAMMELL
ROHRER, LAVERNE            NJ - USDC for the District of New Jersey   3:20-cv-12885         FLETCHER V. TRAMMELL
ROJAS, ANNA                NJ - USDC for the District of New Jersey   3:20-cv-10899         FLETCHER V. TRAMMELL
ROMERO, LUCY               NJ - USDC for the District of New Jersey   3:20-cv-08071         FLETCHER V. TRAMMELL
ROSE, CHRYSTAL             NJ - USDC for the District of New Jersey   3:20-cv-12947         FLETCHER V. TRAMMELL
ROSE, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-12122         FLETCHER V. TRAMMELL
ROSENBERGER, SUE           NJ - USDC for the District of New Jersey   3:21-cv-14587         FLETCHER V. TRAMMELL
ROY, MARIE                 NJ - USDC for the District of New Jersey   3:20-cv-09874         FLETCHER V. TRAMMELL
ROYAL, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-02939         FLETCHER V. TRAMMELL
RUHLOW, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-02883         FLETCHER V. TRAMMELL
RUSHNOCK, MARY             NJ - USDC for the District of New Jersey   3:20-cv-10933         FLETCHER V. TRAMMELL
RUSKUSKI, DIANE            NJ - Superior Court - Atlantic County      ATL-L-003349-20       FLETCHER V. TRAMMELL
RUTHERFORD, DIANE          NJ - USDC for the District of New Jersey   3:20-cv-07677         FLETCHER V. TRAMMELL
RUTLEDGE, BILLIE           NJ - USDC for the District of New Jersey   3:19-cv-14527         FLETCHER V. TRAMMELL
RYERSON, DAMARIS           NJ - USDC for the District of New Jersey   3:20-cv-13391         FLETCHER V. TRAMMELL
RYSDYK, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-17314         FLETCHER V. TRAMMELL
SALINAS, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-04239         FLETCHER V. TRAMMELL
SALMINEN, GEORGIA          NJ - USDC for the District of New Jersey   3:21-cv-14100         FLETCHER V. TRAMMELL
SANCHEZ, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-11134         FLETCHER V. TRAMMELL
SANDERS, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-08255         FLETCHER V. TRAMMELL
SANDERS, JANICE            NJ - USDC for the District of New Jersey   3:20-cv-13654         FLETCHER V. TRAMMELL
SANDOVAL, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-08322         FLETCHER V. TRAMMELL
SANDWELL, REISHA           NJ - USDC for the District of New Jersey   3:20-cv-07433         FLETCHER V. TRAMMELL
                           PA - Philadelphia County Court of Common
SANTANA, ANN                                                          200800008             FLETCHER V. TRAMMELL
                           Pleas
SANTEL, SHARYN             NJ - USDC for the District of New Jersey   3:20-cv-09814         FLETCHER V. TRAMMELL




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           Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
SANTIAGO, SARA             NJ - USDC for the District of New Jersey   3:20-cv-09810         FLETCHER V. TRAMMELL
SANTORA, JANET             NJ - USDC for the District of New Jersey   3:20-cv-12994         FLETCHER V. TRAMMELL
SAPP, MIRANDA              NJ - USDC for the District of New Jersey   3:19-cv-10197         FLETCHER V. TRAMMELL
SARAH, KATHY               NJ - USDC for the District of New Jersey   3:19-cv-14586         FLETCHER V. TRAMMELL
SAUCEDO, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-08293         FLETCHER V. TRAMMELL
SCHAEFER-ROGERS, KRISTIN   NJ - USDC for the District of New Jersey   3:20-cv-13023         FLETCHER V. TRAMMELL
SCHIPULA, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-12981         FLETCHER V. TRAMMELL
SCHNEBLE, FRANCES          NJ - USDC for the District of New Jersey   3:20-cv-08750         FLETCHER V. TRAMMELL
SCHNEIDER, ARLENE          NJ - USDC for the District of New Jersey   3:21-cv-13993         FLETCHER V. TRAMMELL
SCHUMANN, MELISSA          NJ - USDC for the District of New Jersey   3:20-cv-08346         FLETCHER V. TRAMMELL
SEEGARS, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-09634         FLETCHER V. TRAMMELL
SESSION, JANICE            NJ - USDC for the District of New Jersey   3:20-cv-10939         FLETCHER V. TRAMMELL
SEXTON, HOLLY              NJ - USDC for the District of New Jersey   3:20-cv-12337         FLETCHER V. TRAMMELL
SHAVERS, TIFFANY           NJ - USDC for the District of New Jersey   3:20-cv-02941         FLETCHER V. TRAMMELL
SHAW, CONNIE               NJ - USDC for the District of New Jersey   3:20-cv-00711         FLETCHER V. TRAMMELL
SHENESKY, DONNA            NJ - Superior Court - Atlantic County      ATL-L-000347-21       FLETCHER V. TRAMMELL
SHEPARD, SHERI             NJ - USDC for the District of New Jersey   3:20-cv-06411         FLETCHER V. TRAMMELL
SHEPPARD, GWENDOLYN        NJ - USDC for the District of New Jersey   3:20-cv-09820         FLETCHER V. TRAMMELL
SHEVRIN, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-04084         FLETCHER V. TRAMMELL
SHOOP, BETTY               NJ - USDC for the District of New Jersey   3:19-cv-17821         FLETCHER V. TRAMMELL
SHOPTAUGH, MELISSA         NJ - USDC for the District of New Jersey   3:20-cv-10954         FLETCHER V. TRAMMELL
SHORT, LOIS                NJ - USDC for the District of New Jersey   3:19-cv-21703         FLETCHER V. TRAMMELL
SHUMAN, CATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-02081         FLETCHER V. TRAMMELL
SHUMSKY, NIKKI             NJ - USDC for the District of New Jersey   3:20-cv-04931         FLETCHER V. TRAMMELL
SIERRA, DENNITA            NJ - USDC for the District of New Jersey   3:20-cv-08352         FLETCHER V. TRAMMELL
SILER, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-12192         FLETCHER V. TRAMMELL
SILLIVEN, LETICIA          NJ - USDC for the District of New Jersey   3:20-cv-09879         FLETCHER V. TRAMMELL
SILVA, ANDROMEDA           NJ - USDC for the District of New Jersey   3:20-cv-13071         FLETCHER V. TRAMMELL
SIMONS, JEAN               NJ - USDC for the District of New Jersey   3:20-cv-04431         FLETCHER V. TRAMMELL
SIMONSON, JOANN            NJ - USDC for the District of New Jersey   3:20-cv-08767         FLETCHER V. TRAMMELL
SIMONTON, NIKKI            NJ - USDC for the District of New Jersey   3:20-cv-08064         FLETCHER V. TRAMMELL
SKELTON, ELEANOR           NJ - USDC for the District of New Jersey   3:21-cv-09399         FLETCHER V. TRAMMELL
SLADE, LISA                NJ - USDC for the District of New Jersey   3:20-cv-11984         FLETCHER V. TRAMMELL
SLOCUM, GAIL               NJ - USDC for the District of New Jersey   3:19-cv-14105         FLETCHER V. TRAMMELL
SMITH, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-17461         FLETCHER V. TRAMMELL
SMITH, DIANE               NJ - USDC for the District of New Jersey   3:21-cv-02976         FLETCHER V. TRAMMELL
SMITH, JANET               NJ - USDC for the District of New Jersey   3:21-cv-03668         FLETCHER V. TRAMMELL
SMITH, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-18632         FLETCHER V. TRAMMELL
SMITH, TERISHA             NJ - USDC for the District of New Jersey   3:20-cv-13653         FLETCHER V. TRAMMELL
SMITH, TINA                NJ - USDC for the District of New Jersey   3:20-cv-09518         FLETCHER V. TRAMMELL
SMYTHE, PATSY              NJ - USDC for the District of New Jersey   3:20-cv-08405         FLETCHER V. TRAMMELL
SNELLEN, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-02075         FLETCHER V. TRAMMELL
SOBLES, CHARLOTTE          NJ - USDC for the District of New Jersey   3:20-cv-08052         FLETCHER V. TRAMMELL
SOTO, DIANE                NJ - USDC for the District of New Jersey   3:20-cv-13040         FLETCHER V. TRAMMELL
SOTO, TERESA               NJ - USDC for the District of New Jersey   3:20-cv-16343         FLETCHER V. TRAMMELL
SPARKS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-05114         FLETCHER V. TRAMMELL
SPENCER, MARYANN           NJ - USDC for the District of New Jersey   3:20-cv-02209         FLETCHER V. TRAMMELL
SPIKES, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-05355         FLETCHER V. TRAMMELL
ST. LOUIS, TANIA           NJ - USDC for the District of New Jersey   3:20-cv-11136         FLETCHER V. TRAMMELL
STAFFORD, CASSANDRA        NJ - USDC for the District of New Jersey   3:20-cv-13055         FLETCHER V. TRAMMELL
STAGER, CHRISTY            NJ - USDC for the District of New Jersey   3:21-cv-12461         FLETCHER V. TRAMMELL
STALEY, STACY              NJ - USDC for the District of New Jersey   3:20-cv-04262         FLETCHER V. TRAMMELL
STANFORD, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-06367         FLETCHER V. TRAMMELL
STANLEY, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-08308         FLETCHER V. TRAMMELL
STANLEY, SHERRY            NJ - USDC for the District of New Jersey   3:18-cv-13605         FLETCHER V. TRAMMELL
STARKE, LUWANDA            NJ - USDC for the District of New Jersey   3:20-cv-11982         FLETCHER V. TRAMMELL
STARKS, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-05120         FLETCHER V. TRAMMELL
STEPHENS, TOINETTE         NJ - USDC for the District of New Jersey   3:20-cv-13444         FLETCHER V. TRAMMELL
STEPHENSON, KATHERINE      NJ - USDC for the District of New Jersey   3:20-cv-02207         FLETCHER V. TRAMMELL
STEWART, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-12048         FLETCHER V. TRAMMELL
STOB, DEBORAH              NJ - USDC for the District of New Jersey   3:21-cv-05755         FLETCHER V. TRAMMELL
STREET, MELBA              NJ - USDC for the District of New Jersey   3:20-cv-08436         FLETCHER V. TRAMMELL
STUART, SHANA              NJ - USDC for the District of New Jersey   3:20-cv-03094         FLETCHER V. TRAMMELL
STUMP, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-01522         FLETCHER V. TRAMMELL
STURGEON, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-00807         FLETCHER V. TRAMMELL
SUCHANEK, WILVA            NJ - USDC for the District of New Jersey   3:20-cv-08344         FLETCHER V. TRAMMELL
SUTTON, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-09614         FLETCHER V. TRAMMELL
SWAN, MARION               NJ - USDC for the District of New Jersey   3:21-cv-14007         FLETCHER V. TRAMMELL
SWECKER, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-09520         FLETCHER V. TRAMMELL
SWETT, MARY                NJ - USDC for the District of New Jersey   3:21-cv-11607         FLETCHER V. TRAMMELL
TABB, JACULINE             NJ - USDC for the District of New Jersey   3:20-cv-06219         FLETCHER V. TRAMMELL
TALAMANTES, TOMA           NJ - USDC for the District of New Jersey   3:21-cv-01188         FLETCHER V. TRAMMELL
TAPP, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-09474         FLETCHER V. TRAMMELL
TARVER, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-09564         FLETCHER V. TRAMMELL
TAYLOR, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-09845         FLETCHER V. TRAMMELL
TEMPLE, ALEXIA             NJ - USDC for the District of New Jersey   3:19-cv-17722         FLETCHER V. TRAMMELL
TEMPLE, JESSICA            NJ - USDC for the District of New Jersey   3:20-cv-13013         FLETCHER V. TRAMMELL
TERRELL, JANE              NJ - USDC for the District of New Jersey   3:20-cv-08363         FLETCHER V. TRAMMELL
TERRY, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-16181         FLETCHER V. TRAMMELL
TEUTA, VERONICA            NJ - USDC for the District of New Jersey   3:20-cv-06616         FLETCHER V. TRAMMELL




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
THOMAS, DILSIE            NJ - USDC for the District of New Jersey   3:20-cv-11137         FLETCHER V. TRAMMELL
THOMAS, EMIKO             NJ - USDC for the District of New Jersey   3:20-cv-06645         FLETCHER V. TRAMMELL
THOMPKINS, DORRINE        NJ - USDC for the District of New Jersey   3:21-cv-02070         FLETCHER V. TRAMMELL
THORNTON, KARLA           NJ - USDC for the District of New Jersey   3:20-cv-15874         FLETCHER V. TRAMMELL
TIERNEY, COLLEEN          NJ - USDC for the District of New Jersey   3:20-cv-09480         FLETCHER V. TRAMMELL
TIPTON, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-02967         FLETCHER V. TRAMMELL
TITTLE, DEBORRA           NJ - USDC for the District of New Jersey   3:20-cv-13134         FLETCHER V. TRAMMELL
TODD, BECKY               NJ - USDC for the District of New Jersey   3:19-cv-14107         FLETCHER V. TRAMMELL
TOKARSKI, MARLENE         NJ - USDC for the District of New Jersey   3:20-cv-08273         FLETCHER V. TRAMMELL
TONER, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-00168         FLETCHER V. TRAMMELL
TORNES, LEYLA             NJ - USDC for the District of New Jersey   3:20-cv-06323         FLETCHER V. TRAMMELL
TORRES, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-12135         FLETCHER V. TRAMMELL
TORRES, LUISA             NJ - USDC for the District of New Jersey   3:19-cv-14570         FLETCHER V. TRAMMELL
TOWNSEND, JAMIE           NJ - USDC for the District of New Jersey   3:20-cv-03025         FLETCHER V. TRAMMELL
TRAMMELL, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-07219         FLETCHER V. TRAMMELL
TRICE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-05056         FLETCHER V. TRAMMELL
TRINGALI, LOUISE          NJ - USDC for the District of New Jersey   3:21-cv-13998         FLETCHER V. TRAMMELL
TROVATO, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-09538         FLETCHER V. TRAMMELL
TUBERGAN, LISA            NJ - USDC for the District of New Jersey   3:20-cv-01509         FLETCHER V. TRAMMELL
TUCKER, ANITA             NJ - USDC for the District of New Jersey   3:20-cv-03120         FLETCHER V. TRAMMELL
TUCKER, ROSLYN            NJ - USDC for the District of New Jersey   3:20-cv-10908         FLETCHER V. TRAMMELL
TWAIT, MARY               NJ - USDC for the District of New Jersey   3:20-cv-06647         FLETCHER V. TRAMMELL
ULANOWICZ, NANCY          NJ - USDC for the District of New Jersey   3:20-cv-06280         FLETCHER V. TRAMMELL
ULANSKI, CHRISTINA        NJ - USDC for the District of New Jersey   3:20-cv-09884         FLETCHER V. TRAMMELL
ULRICH, VALERIE           NJ - USDC for the District of New Jersey   3:19-cv-16682         FLETCHER V. TRAMMELL
UNLAUB, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-09567         FLETCHER V. TRAMMELL
VALENTINE, CATHERINE      NJ - USDC for the District of New Jersey   3:20-cv-06611         FLETCHER V. TRAMMELL
VANCE, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-16817         FLETCHER V. TRAMMELL
VASQUEZ, RAMONA           NJ - USDC for the District of New Jersey   3:21-cv-07519         FLETCHER V. TRAMMELL
VELEZ, THERESA            NJ - USDC for the District of New Jersey   3:19-cv-13013         FLETCHER V. TRAMMELL
VERNON, BONNIE            NJ - USDC for the District of New Jersey   3:21-cv-13358         FLETCHER V. TRAMMELL
VESTAL, JANET             NJ - USDC for the District of New Jersey   3:20-cv-08326         FLETCHER V. TRAMMELL
VICTORINO, GLORIA         NJ - USDC for the District of New Jersey   3:20-cv-09811         FLETCHER V. TRAMMELL
VIE, DENISE               NJ - USDC for the District of New Jersey   3:20-cv-12253         FLETCHER V. TRAMMELL
VOSSLER, MELERAY          NJ - USDC for the District of New Jersey   3:20-cv-06656         FLETCHER V. TRAMMELL
WAGENMANN, SUZANNE        NJ - USDC for the District of New Jersey   3:20-cv-04599         FLETCHER V. TRAMMELL
WAGNER, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-02931         FLETCHER V. TRAMMELL
WAGNON, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-09519         FLETCHER V. TRAMMELL
WALKER, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-09540         FLETCHER V. TRAMMELL
WALL, LORRIE              NJ - USDC for the District of New Jersey   3:20-cv-19685         FLETCHER V. TRAMMELL
WALLACE, JANNA            NJ - USDC for the District of New Jersey   3:19-cv-14102         FLETCHER V. TRAMMELL
WALLER, KELLI             NJ - USDC for the District of New Jersey   3:20-cv-09861         FLETCHER V. TRAMMELL
WALTERS-SANCHEZ, SUSAN    NJ - USDC for the District of New Jersey   3:20-cv-08437         FLETCHER V. TRAMMELL
WANKET, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-09704         FLETCHER V. TRAMMELL
WARD, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-09443         FLETCHER V. TRAMMELL
WARD, PENNY               NJ - USDC for the District of New Jersey   3:20-cv-13138         FLETCHER V. TRAMMELL
WARD, SHARRON             NJ - USDC for the District of New Jersey   3:20-cv-12119         FLETCHER V. TRAMMELL
WARE, GERALDINE           NJ - USDC for the District of New Jersey   3:19-cv-13527         FLETCHER V. TRAMMELL
WASHINGTON, VERA          NJ - USDC for the District of New Jersey   3:20-cv-08365         FLETCHER V. TRAMMELL
WATERS, DORA              NJ - USDC for the District of New Jersey   3:20-cv-09870         FLETCHER V. TRAMMELL
WATERS, JESSICA           NJ - USDC for the District of New Jersey   3:20-cv-12908         FLETCHER V. TRAMMELL
WATSON, KARIE             NJ - USDC for the District of New Jersey   3:20-cv-13043         FLETCHER V. TRAMMELL
WEAVER, LORI              NJ - USDC for the District of New Jersey   3:20-cv-00604         FLETCHER V. TRAMMELL
WEBER, KRISTY             NJ - USDC for the District of New Jersey   3:20-cv-01908         FLETCHER V. TRAMMELL
WEEKS, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-09840         FLETCHER V. TRAMMELL
WEISS, SARAH              NJ - USDC for the District of New Jersey   3:20-cv-01491         FLETCHER V. TRAMMELL
WESSEL, SARA              NJ - USDC for the District of New Jersey   3:20-cv-12976         FLETCHER V. TRAMMELL
WEST, DONNEL              NJ - USDC for the District of New Jersey   3:20-cv-09815         FLETCHER V. TRAMMELL
WEST, SCELITA             NJ - USDC for the District of New Jersey   3:20-cv-13797         FLETCHER V. TRAMMELL
WEST, THERESA             NJ - USDC for the District of New Jersey   3:20-cv-04596         FLETCHER V. TRAMMELL
WHIGHAM, NELL             NJ - USDC for the District of New Jersey   3:20-cv-13480         FLETCHER V. TRAMMELL
WHITE, ANNETTE            NJ - USDC for the District of New Jersey   3:20-cv-12121         FLETCHER V. TRAMMELL
WHITE, CHARLOTTE          NJ - USDC for the District of New Jersey   3:20-cv-13492         FLETCHER V. TRAMMELL
WHITE, MONICA             NJ - USDC for the District of New Jersey   3:19-cv-10201         FLETCHER V. TRAMMELL
WHITE, TARA               NJ - USDC for the District of New Jersey   3:20-cv-01986         FLETCHER V. TRAMMELL
WHITE, VANESSA BARNETT    NJ - USDC for the District of New Jersey   3:20-cv-10979         FLETCHER V. TRAMMELL
WHITESIDE, ROLANDA        NJ - USDC for the District of New Jersey   3:19-cv-10204         FLETCHER V. TRAMMELL
WHITSON, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-09823         FLETCHER V. TRAMMELL
WICHTL, CORRINE           NJ - USDC for the District of New Jersey   3:20-cv-02199         FLETCHER V. TRAMMELL
WILES, VANESSA            NJ - USDC for the District of New Jersey   3:20-cv-19245         FLETCHER V. TRAMMELL
WILKINS, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-08343         FLETCHER V. TRAMMELL
WILKS, KELLY              NJ - USDC for the District of New Jersey   3:20-cv-13421         FLETCHER V. TRAMMELL
WILLARD, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-04625         FLETCHER V. TRAMMELL
WILLIAMS, BILLYE          NJ - USDC for the District of New Jersey   3:21-cv-07843         FLETCHER V. TRAMMELL
WILLIAMS, DELYNDRIA       NJ - USDC for the District of New Jersey   3:20-cv-13652         FLETCHER V. TRAMMELL
WILLIAMS, DIANE           NJ - USDC for the District of New Jersey   3:20-cv-12978         FLETCHER V. TRAMMELL
WILLIAMS, JILLIAN         NJ - USDC for the District of New Jersey   3:20-cv-00088         FLETCHER V. TRAMMELL
WILLIAMS, JOYCE           NJ - USDC for the District of New Jersey   3:20-cv-08278         FLETCHER V. TRAMMELL
WILLIAMS, KAWANA          NJ - USDC for the District of New Jersey   3:20-cv-13381         FLETCHER V. TRAMMELL
WILLIAMS, LA VA           NJ - USDC for the District of New Jersey   3:20-cv-08166         FLETCHER V. TRAMMELL




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          Claimant Name                             State Filed                      Docket Number                Plaintiff Counsel
WILLIAMS, LAVERNE                   NJ - USDC for the District of New Jersey   3:19-cv-16442         FLETCHER V. TRAMMELL
WILLIAMS, LINDA                     NJ - USDC for the District of New Jersey   3:20-cv-12131         FLETCHER V. TRAMMELL
WILLIAMS, MABLE                     NJ - USDC for the District of New Jersey   3:20-cv-09563         FLETCHER V. TRAMMELL
WILLS-GOTTLIEB, MARIE               NJ - USDC for the District of New Jersey   3:20-cv-04598         FLETCHER V. TRAMMELL
WILNER, LUZ                         NJ - USDC for the District of New Jersey   3:20-cv-13376         FLETCHER V. TRAMMELL
WILSON, CAROL                       NJ - USDC for the District of New Jersey   3:20-cv-13795         FLETCHER V. TRAMMELL
WILSON, JOANNE                      NJ - USDC for the District of New Jersey   3:20-cv-01870         FLETCHER V. TRAMMELL
WILSON, LELIA                       NJ - USDC for the District of New Jersey   3:20-cv-06357         FLETCHER V. TRAMMELL
WILSON, MICHELE                     NJ - USDC for the District of New Jersey   3:21-cv-03671         FLETCHER V. TRAMMELL
WILSON, ROSARIO                     NJ - USDC for the District of New Jersey   3:20-cv-13487         FLETCHER V. TRAMMELL
WINK, NICOLE                        NJ - USDC for the District of New Jersey   3:20-cv-04741         FLETCHER V. TRAMMELL
WINPHRIE, LATRISHA                  NJ - USDC for the District of New Jersey   3:20-cv-08348         FLETCHER V. TRAMMELL
WINTERS, PATSY                      NJ - USDC for the District of New Jersey   3:20-cv-09867         FLETCHER V. TRAMMELL
WION, AMANDA                        NJ - USDC for the District of New Jersey   3:20-cv-01465         FLETCHER V. TRAMMELL
WITTENBERG, PATRICIA                NJ - USDC for the District of New Jersey   3:20-cv-09455         FLETCHER V. TRAMMELL
WOODMAN, JHOMEYR                    NJ - USDC for the District of New Jersey   3:20-cv-19256         FLETCHER V. TRAMMELL
WOODS, SUSAN                        NJ - USDC for the District of New Jersey   3:20-cv-08299         FLETCHER V. TRAMMELL
WORKMAN, LOVADA                     NJ - USDC for the District of New Jersey   3:20-cv-08251         FLETCHER V. TRAMMELL
WOZNUK, LINDA                       NJ - USDC for the District of New Jersey   3:20-cv-09643         FLETCHER V. TRAMMELL
WRIGHT, CHARLOTTE                   NJ - USDC for the District of New Jersey   3:20-cv-12014         FLETCHER V. TRAMMELL
WROBLEWSKI, SADIE                   NJ - USDC for the District of New Jersey   3:20-cv-11989         FLETCHER V. TRAMMELL
WYNN-YELDELL, ADRIANA               NJ - USDC for the District of New Jersey   3:20-cv-09872         FLETCHER V. TRAMMELL
YANDELL, KAYLYNN                    NJ - USDC for the District of New Jersey   3:20-cv-04788         FLETCHER V. TRAMMELL
YATES, JEAN                         NJ - USDC for the District of New Jersey   3:20-cv-02850         FLETCHER V. TRAMMELL
YODER, SHERRIL                      NJ - USDC for the District of New Jersey   3:20-cv-01888         FLETCHER V. TRAMMELL
YOUNG, ALBERTA                      NJ - USDC for the District of New Jersey   3:20-cv-11976         FLETCHER V. TRAMMELL
YOUNG-HORNER, STACEY                NJ - USDC for the District of New Jersey   3:19-cv-14547         FLETCHER V. TRAMMELL
ZIRKLE, BRENDA                      NJ - USDC for the District of New Jersey   3:20-cv-01516         FLETCHER V. TRAMMELL
ZORNES, KAREN                       NJ - USDC for the District of New Jersey   3:20-cv-09486         FLETCHER V. TRAMMELL
ZUNT, REBECCA                       NJ - USDC for the District of New Jersey   3:20-cv-02933         FLETCHER V. TRAMMELL
BELINO, BRENDA AND BELENO,
                                    NJ - Superior Court - Middlesex County     MID-L-004687-21       FLINT LAW FIRM LLC
JOSE
BOCANEGRA, ELIZABETH EST OF E.
                                    IL - Circuit Court - Madison County        2020-L-000922         FLINT LAW FIRM LLC
GABALDON
DAY, WILLIAM                        MO - Circuit Court - City of St. Louis     2122-CC00581          FLINT LAW FIRM LLC
DOZIER, DONNA                       NJ - Superior Court - Middlesex County     MID-L-005948-21       FLINT LAW FIRM LLC
GANTMAN, STANLEY                    MO - Circuit Court - City of St. Louis     1922-CC11781          FLINT LAW FIRM LLC
GARRIS, ZACHARY                     NJ - Superior Court - Middlesex County     MID-L-01514-18AS      FLINT LAW FIRM LLC
GOOS, LAVONNE                       IL - Circuit Court - Madison County        21-L-0369             FLINT LAW FIRM LLC
GRILLO, SALVATORE AND GRILLO,
                                    MO - Circuit Court - City of St. Louis     2022-CC09478          FLINT LAW FIRM LLC
CARMELLA
GUNN, TINA ESTATE OF
                                    IL - Circuit Court - Madison County        20-L-1493             FLINT LAW FIRM LLC
MARGARET BOTTOMS
KENDRICK, WENDY AND
                                    FL - Circuit Court - Broward County        130967228             FLINT LAW FIRM LLC
KENDRICK, CHARKELLA
LEMEAR, GORDON ESTATE OF
                                    IL - Circuit Court - Madison County        20-L-0024             FLINT LAW FIRM LLC
PHILLIP LAMEAR
LINDSEY, KRIS                       NJ - USDC - Eastern District of Missouri   4:21-cv00374          FLINT LAW FIRM LLC
                                    NJ - USDC - Eastern District of North
MCELROY, PATRICIA                                                              5:21-cv-00179         FLINT LAW FIRM LLC
                                    Carolina
MCKAY, MARY                         IL - Circuit Court - Madison County        2021-L-00025          FLINT LAW FIRM LLC
MITCHELL, REBECCA                   NJ - Superior Court - Middlesex County     MID-L-007360-20       FLINT LAW FIRM LLC
MOBERS, ANDY ESTATE OF ELZA
                                    NJ - Superior Court - Middlesex County     MID-L-005066-21       FLINT LAW FIRM LLC
MOBERS
OUELLETTE, MICHELLE                 IL - Circuit Court - Cook County           20-L-13651            FLINT LAW FIRM LLC
PETERSON, MATTHEW RE: DR.
                                    MO - Circuit Court - City of St. Louis     1922-CC11161          FLINT LAW FIRM LLC
GREGG PETERSON
                                    NJ - USDC - Middle District of North
VAUGHAN, EDDIE                                                                 1:21-cv-340           FLINT LAW FIRM LLC
                                    Carolina
WASHINGTON, CHARLES                 MO - Circuit Court - City of St. Louis     2122-CC09203          FLINT LAW FIRM LLC
WHETSEL, BRANDON                    MO - Circuit Court - Jackson County        1816-CV14915          FLINT LAW FIRM LLC
WHETSEL, TONYA THE ESTATE OF B
                               MO - Circuit Court - Jackson County             1816-CV14915          FLINT LAW FIRM LLC
WHETSEL
FOWLER, KAROL                  NJ - USDC for the District of New Jersey        3:17-cv-08148         FOX AND FARLEY
MACE, AMANDA                   NJ - USDC for the District of New Jersey        3:19-cv-21235         FRANCOLAW PLLC
MACE, AMANDA                   NJ - USDC for the District of New Jersey        3:19-cv-21235         FRANCOLAW PLLC
MASSIE, DIANE                  NJ - USDC for the District of New Jersey        3:19-cv-21237         FRANCOLAW PLLC
HALEY, BETHANY                 NJ - USDC for the District of New Jersey        3:21-cv-11196         FRANKLIN, MOSELE & WALKER, PC
BRANDON, RACHEL STEEN          NJ - USDC for the District of New Jersey        3:18-cv-12157         FRAZER LAW LLC
BYNUM, LANA                    NJ - USDC for the District of New Jersey        3:18-cv-08143         FRAZER LAW LLC
CHRUCH, SHERON                 NJ - USDC for the District of New Jersey        3:18-cv-08146         FRAZER LAW LLC
COOK, BEVERLY TALBERT          NJ - USDC for the District of New Jersey        3:18-cv-12483         FRAZER LAW LLC
DEDEAAUX, GLORIA               NJ - USDC for the District of New Jersey        3:18-cv-12342         FRAZER LAW LLC
FAUCETTE, TERESA               NJ - USDC for the District of New Jersey        3:18-cv-13418         FRAZER LAW LLC
GADSON, GLORIA                 NJ - USDC for the District of New Jersey        3:18-cv-12482         FRAZER LAW LLC
GRIFFIN, KAREN                 NJ - USDC for the District of New Jersey        3:18-cv-12484         FRAZER LAW LLC
GULLEDGE, CONNIE               NJ - USDC for the District of New Jersey        3:18-cv-10252         FRAZER LAW LLC
HEAVNER, EMMA LOU              NJ - USDC for the District of New Jersey        3:18-cv-12485         FRAZER LAW LLC
JOHNSON-SUMMERS, JULIE         NJ - USDC for the District of New Jersey        3:18-cv-08149         FRAZER LAW LLC
JOYNER, BLANCA                 NJ - USDC for the District of New Jersey        3:18-cv-12105         FRAZER LAW LLC




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          Claimant Name                     State Filed                      Docket Number                Plaintiff Counsel
MCCOTTER, SHANNON           NJ - USDC for the District of New Jersey   3:18-cv-11078         FRAZER LAW LLC
OATIS, GINA                 NJ - USDC for the District of New Jersey   3:18-cv-13066         FRAZER LAW LLC
PARK, BONNIE                NJ - USDC for the District of New Jersey   3:18-cv-10253         FRAZER LAW LLC
RUSSELL, DELORES            NJ - USDC for the District of New Jersey   3:18-cv-13412         FRAZER LAW LLC
SHELTON, BRENDA             NJ - USDC for the District of New Jersey   3:16-cv-07415         FRAZER LAW LLC
SHELTON, BRENDA             NJ - USDC for the District of New Jersey   3:16-cv-07415         FRAZER LAW LLC
SHULL, JANE MATHIS          NJ - USDC for the District of New Jersey   3:18-cv-12330         FRAZER LAW LLC
SINCLAIR, DELOISE           NJ - USDC for the District of New Jersey   3:18-cv-08157         FRAZER LAW LLC
STEVENS, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-02947         FRAZER LAW LLC
SUMMERS, JACQUELINE ADAMS   NJ - USDC for the District of New Jersey   3:18-cv-12334         FRAZER LAW LLC
WALKER, WENDY               NJ - USDC for the District of New Jersey   3:21-cv-14318         FRAZER LAW LLC
WHITE, BETTY SIGMON         NJ - USDC for the District of New Jersey   3:18-cv-12339         FRAZER LAW LLC
ACKERAMAN, TRACY            NJ - USDC for the District of New Jersey   3:20-cv-14705         FRAZER PLC
ALLEN, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-01874         FRAZER PLC
ANDERSON, JEAN              NJ - USDC for the District of New Jersey   3:21-cv-12060         FRAZER PLC
ANDERSON, RACHEL            NJ - USDC for the District of New Jersey   3:20-cv-18476         FRAZER PLC
BAKER, HATTIE               NJ - USDC for the District of New Jersey   3:20-cv-17863         FRAZER PLC
BALLEW, NICOLE              NJ - USDC for the District of New Jersey   3:21-cv-16793         FRAZER PLC
BOHANNON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-15780         FRAZER PLC
BOWENS, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-02733         FRAZER PLC
BRADEN, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-02893         FRAZER PLC
BROWN, ELAINE               NJ - USDC for the District of New Jersey   3:20-cv-15222         FRAZER PLC
BRYANT, CASSANDRA           NJ - USDC for the District of New Jersey   3:20-cv-14713         FRAZER PLC
BYINGTON, ALMA              NJ - USDC for the District of New Jersey   3:20-cv-15774         FRAZER PLC
CACCIA, BERTHA              NJ - USDC for the District of New Jersey   3:21-cv-14373         FRAZER PLC
CALDWELL, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-15926         FRAZER PLC
CARR, ILENE                 NJ - USDC for the District of New Jersey   3:20-cv-15498         FRAZER PLC
CASSIDY, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-15865         FRAZER PLC
CHILDERS, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-12689         FRAZER PLC
CLAIBORNE, MARY             NJ - USDC for the District of New Jersey   3:21-cv-14337         FRAZER PLC
COMBS, JODIE                NJ - USDC for the District of New Jersey   3:20-cv-14690         FRAZER PLC
DAY, DONNA                  NJ - USDC for the District of New Jersey   3:21-cv-02878         FRAZER PLC
EASTER, TRAMAINE            NJ - USDC for the District of New Jersey   3:20-cv-15224         FRAZER PLC
ELKINS, MARY                NJ - USDC for the District of New Jersey   3:21-cv-02150         FRAZER PLC
FLYNT, FRANCES              NJ - USDC for the District of New Jersey   3:20-cv-18456         FRAZER PLC
GARDNER, DORIS              NJ - USDC for the District of New Jersey   3:21-cv-00681         FRAZER PLC
GREENE, ANN                 NJ - USDC for the District of New Jersey   3:21-cv-00685         FRAZER PLC
HADLEY, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-01597         FRAZER PLC
HAGE, TERESA                NJ - USDC for the District of New Jersey   3:20-cv-16325         FRAZER PLC
HENDRIX, PEGGY              NJ - USDC for the District of New Jersey   3:21-cv-14314         FRAZER PLC
JOHNSON, ERNESTINE          NJ - USDC for the District of New Jersey   3:21-cv-08393         FRAZER PLC
JONES, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-02769         FRAZER PLC
KALBFELL, BETH              NJ - USDC for the District of New Jersey   3:21-cv-07208         FRAZER PLC
KAMBERG, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-02180         FRAZER PLC
KELLY, DIANNE               NJ - USDC for the District of New Jersey   3:21-cv-05994         FRAZER PLC
KIKER, GLORIA CRISCO        NJ - USDC for the District of New Jersey   3:21-cv-06453         FRAZER PLC
LANE, CRYSTAL               NJ - USDC for the District of New Jersey   3:20-cv-14854         FRAZER PLC
LARSON, DOLORES             NJ - USDC for the District of New Jersey   03:21-cv-04515        FRAZER PLC
LARSON, DOLORES             NJ - USDC for the District of New Jersey   3:21-cv-04515         FRAZER PLC
LITTLEJOHN, TRACY           NJ - USDC for the District of New Jersey   3:21-cv-14356         FRAZER PLC
MARLOW, AUDREY              NJ - USDC for the District of New Jersey   3:20-cv-15763         FRAZER PLC
MATTHEWS, CHAPLE MOORE      NJ - USDC for the District of New Jersey   3:21-cv-14344         FRAZER PLC
MCELVEEN, PAULINE           NJ - USDC for the District of New Jersey   3:21-cv-00577         FRAZER PLC
MCNEW, DORIS                NJ - USDC for the District of New Jersey   3:20-cv-15487         FRAZER PLC
MOORE, JANICE               NJ - USDC for the District of New Jersey   3:21-cv-12836         FRAZER PLC
MOSLEY, JEFFELYN            NJ - USDC for the District of New Jersey   3:21-cv-00587         FRAZER PLC
NUNLEY-CALLENDER, ZONIA     NJ - USDC for the District of New Jersey   3:21-cv-01088         FRAZER PLC
OGRAM, MARIE                NJ - USDC for the District of New Jersey   3:21-cv-12699         FRAZER PLC
PAYNE, JANET                NJ - USDC for the District of New Jersey   3:20-cv-15520         FRAZER PLC
POLAN, WILMA                NJ - USDC for the District of New Jersey   3:20-cv-15557         FRAZER PLC
ROBINSON, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-15226         FRAZER PLC
SABB, LUBERDA               NJ - USDC for the District of New Jersey   3:21-cv-12695         FRAZER PLC
SHAW, DOROTHY               NJ - USDC for the District of New Jersey   3:20-cv-18302         FRAZER PLC
SMITH, GLORIA               NJ - USDC for the District of New Jersey   3:20-cv-15328         FRAZER PLC
SMITH, WANDA                NJ - USDC for the District of New Jersey   3:21-cv-03725         FRAZER PLC
STARNES, LILLIAN            NJ - USDC for the District of New Jersey   3:21-cv-12050         FRAZER PLC
TABOR, PEGGY                NJ - USDC for the District of New Jersey   3:20-cv-15227         FRAZER PLC
THOMAS, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-00898         FRAZER PLC
UMBAUGH, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-15050         FRAZER PLC
WALKER, MYRON               NJ - USDC for the District of New Jersey   3:21-cv-14358         FRAZER PLC
WALLACE, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-14365         FRAZER PLC
WATTS, BRENDA               NJ - USDC for the District of New Jersey   3:20-cv-17988         FRAZER PLC
WEAVER, MISTY               NJ - USDC for the District of New Jersey   3:20-cv-15334         FRAZER PLC
WILLIAMS, JEAN              NJ - USDC for the District of New Jersey   3:21-cv-14326         FRAZER PLC
WILSON, LORETTA             NJ - USDC for the District of New Jersey   3:20-cv-18464         FRAZER PLC
WOODY, JANICE               NJ - USDC for the District of New Jersey   3:21-cv-14368         FRAZER PLC
SHIPLEY, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-14343         FREDEKING & BISER LAW OFFICES
PARSONS, MELISSA            NJ - USDC for the District of New Jersey   3:19-cv-21967         FRIEDMAN RUBIN, PLLP
FOWLER, DIANE AND FOWLER,
                            CA - Superior Court - Los Angeles          21STCV23555           FROST LAW FIRM, PC
CLINTON




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         Claimant Name                             State Filed                      Docket Number                 Plaintiff Counsel
MAROTTA, JACQUELINE AND
                                  CA - Superior Court - Los Angeles           19STCV46925            FROST LAW FIRM, PC
MAROTTA, JOHN
VELASCO, SANDRA                   NJ - USDC for the District of New Jersey    3:19-cv-19647          GACOVINO, LAKE & ASSOCIATES
WEST, TERESA                      NJ - USDC for the District of New Jersey    3:20-cv-10727          GACOVINO, LAKE & ASSOCIATES
                                                                                                     GAINSBURGH, BENJAMIN, DAVID, MEUNIER &
KARRICK, KIMBERLY                 NJ - USDC for the District of New Jersey    3:17-cv-02653
                                                                                                     WARSHAUER, LLC
AIKENS, CHELSEA                   LA - District Court - Ascension Parish      119332D                GALANTE & BIVALACQUA LLC
AUTIN, CHRISTINE                  LA - District Court - East Baton Rouge Parish C-671445 24          GALANTE & BIVALACQUA LLC
BACCHUS, ERNESTINE                LA - District Court - Orleans Parish        17-10829               GALANTE & BIVALACQUA LLC
CHARLES, ROSE                     NJ - USDC for the District of New Jersey    3:17-cv-01681          GALANTE & BIVALACQUA LLC
COOK, ELIZABETH                   LA - District Court - Jefferson Parish      810351 D               GALANTE & BIVALACQUA LLC
DEVILLE, PAMELA                   NJ - USDC for the District of New Jersey    3:17-cv-05636          GALANTE & BIVALACQUA LLC
DUFRENE, JOAN                     LA - District Court - Jefferson Parish      810092-O               GALANTE & BIVALACQUA LLC
EISENHARDT, MARGARET              LA - District Court - Orleans Parish        2017-10826             GALANTE & BIVALACQUA LLC
HUDSON, VALOREY                   LA - District Court - Orleans Parish        17-10834               GALANTE & BIVALACQUA LLC
HUFFMAN, CHERYL                   LA - District Court - East Baton Rouge Parish C665105D             GALANTE & BIVALACQUA LLC
HURLEY, KATHY                     LA - District Court - Orleans Parish        2017-10832             GALANTE & BIVALACQUA LLC
INNIS, VONDA                      NJ - USDC for the District of New Jersey    3:18-cv-03173          GALANTE & BIVALACQUA LLC
JONES, BRENDA                     LA - District Court - East Baton Rouge Parish C-678343D            GALANTE & BIVALACQUA LLC
MCBRIDE, BRIDGET                  LA - District Court - Orleans Parish        2016-09413             GALANTE & BIVALACQUA LLC
SONDGEROTH, LILLIAN               NJ - USDC for the District of New Jersey    3:17-cv-05638          GALANTE & BIVALACQUA LLC
STARK, KIMMY                      LA - District Court - Orleans Parish        2017-10831             GALANTE & BIVALACQUA LLC
JONES, KAREN                      NJ - USDC for the District of New Jersey    3:21-cv-01768          GALIHER DEROBERTIS & WAXMAN LLP
BERTRAN, MAGALI                   NJ - USDC for the District of New Jersey    3:20-cv-14196          GANCEDO LAW FIRM, INC
PARSONS, MELISSA                  NJ - USDC for the District of New Jersey    3:19-cv-21967          GARY C. JOHNSON P.S.C.
FLEMING, MELISSA                  NJ - USDC for the District of New Jersey    3:19-cv-00404          GEOFFREY B. GOMPERS & ASSOCIATES, P.C
GENDELMAN, SHERRI                 NJ - USDC for the District of New Jersey    3:17-cv-00461          GEOFFREY B. GOMPERS & ASSOCIATES, P.C
KOWINSKI, KATHRYN J. EST OF N
                                  IN - Superior Court - Marion County         49D12-2009-MI-032403   GEORGE & FARINAS, LLP
KOWINSKI
OWENS, KAREN J. ESTATE OF
                                  IN - Superior Court - Marion County         49D12-2012-MI-042553   GEORGE & FARINAS, LLP
HELEN KINNEY
DEVOE, JENNIFER                   NJ - USDC for the District of New Jersey    3:20-cv-19496          GEORGE & FARINAS, LP
MCGILL, PHYLLIS                   NJ - USDC for the District of New Jersey    3:21-cv-14476          GHIORSO LAW OFFICE
DURAN, LILIA (JASSO)              CA - Superior Court - Santa Clara County    16-cv-299610           GIBBS LAW GROUP LLP
                                  CA - Superior Court - City and County of
KHORRAMI, MAHNAZ                                                              RIC1706664             GIBBS LAW GROUP LLP
                                  Riverside, Palm Springs
ADKINS, KATHY                     NJ - USDC for the District of New Jersey    3:19-cv-20605          GIBSON & ASSOCIATES INC.
ALLEN, KAY                        NJ - USDC for the District of New Jersey    3:18-cv-15539          GIRARDI & KEESE
ALLISON, OMA                      NJ - USDC for the District of New Jersey    3:17-cv-12731          GIRARDI & KEESE
AVERY, LINDA                      NJ - USDC for the District of New Jersey    3:18-cv-15679          GIRARDI & KEESE
BARNES, BILLIE                    NJ - USDC for the District of New Jersey    3:18-cv-15556          GIRARDI & KEESE
BLANKS, ANGEL                     NJ - USDC for the District of New Jersey    3:18-cv-15561          GIRARDI & KEESE
BLASE, STELLA                     NJ - USDC for the District of New Jersey    3:18-cv-15566          GIRARDI & KEESE
BRENNAN-JONES, CHERYL             NJ - USDC for the District of New Jersey    3:18-cv-15567          GIRARDI & KEESE
BRUNTY, SARAH                     NJ - USDC for the District of New Jersey    3:18-cv-15569          GIRARDI & KEESE
CABRERA, JOSEFA                   NJ - USDC for the District of New Jersey    3:18-cv-15576          GIRARDI & KEESE
CANTER, BETTY                     NJ - USDC for the District of New Jersey    3:18-cv-15560          GIRARDI & KEESE
CHAMBLISS, LINDA                  NJ - USDC for the District of New Jersey    3:18-cv-15578          GIRARDI & KEESE
CHAVEZ, MIRNA                     NJ - USDC for the District of New Jersey    3:18-cv-15581          GIRARDI & KEESE
COLE, MILDRED                     NJ - USDC for the District of New Jersey    3:18-cv-15585          GIRARDI & KEESE
COOPER, AMY                       NJ - USDC for the District of New Jersey    3:18-cv-15565          GIRARDI & KEESE
CURRY, LISA                       NJ - USDC for the District of New Jersey    3:18-cv-15591          GIRARDI & KEESE
DANIEL, CAROLYN                   NJ - USDC for the District of New Jersey    3:19-cv-01421          GIRARDI & KEESE
FERNANDEZ, TERESA                 NJ - USDC for the District of New Jersey    3:18-cv-15605          GIRARDI & KEESE
FINCH, MARY                       NJ - USDC for the District of New Jersey    3:18-cv-15571          GIRARDI & KEESE
FOLIO, LORENTINA                  NJ - USDC for the District of New Jersey    3:18-cv-15593          GIRARDI & KEESE
FREDERICKS, LINDA                 NJ - USDC for the District of New Jersey    3:18-cv-15757          GIRARDI & KEESE
GILL, SHARON                      NJ - USDC for the District of New Jersey    3:18-cv-15594          GIRARDI & KEESE
GREEN, CATHERINE                  NJ - USDC for the District of New Jersey    3:18-cv-15782          GIRARDI & KEESE
GREEN, GWENDOLYN                  NJ - USDC for the District of New Jersey    3:18-cv-15783          GIRARDI & KEESE
GREEN, SANDRA                     NJ - USDC for the District of New Jersey    3:18-cv-15789          GIRARDI & KEESE
GREENE, PATRICIA                  NJ - USDC for the District of New Jersey    3:18-cv-15785          GIRARDI & KEESE
GREGORY, MARY                     NJ - USDC for the District of New Jersey    3:18-cv-15597          GIRARDI & KEESE
HELD, PATRICIA                    NJ - USDC for the District of New Jersey    3:18-cv-15817          GIRARDI & KEESE
HELLNER, NOGA                     NJ - USDC for the District of New Jersey    3:21-cv-14549          GIRARDI & KEESE
HENRY, MAUREEN                    NJ - USDC for the District of New Jersey    3:18-cv-15820          GIRARDI & KEESE
HILL, RHONDA                      NJ - USDC for the District of New Jersey    3:18-cv-15823          GIRARDI & KEESE
HOWARD, JANET                     NJ - USDC for the District of New Jersey    3:18-cv-15743          GIRARDI & KEESE
KELLY, GRACE                      NJ - USDC for the District of New Jersey    3:18-cv-15827          GIRARDI & KEESE
LEHMANN, BETTY                    NJ - USDC for the District of New Jersey    3:18-cv-15857          GIRARDI & KEESE
MARKARIAN, HILDA                  CA - Superior Court - Los Angeles County    BC716008               GIRARDI & KEESE
MARTIN, RHONDA                    NJ - USDC for the District of New Jersey    3:18-cv-15869          GIRARDI & KEESE
MATEO, GLADYS                     NJ - USDC for the District of New Jersey    3:18-cv-15877          GIRARDI & KEESE
MAYNARD-SCHOOBAAR, GERVAISE NJ - USDC for the District of New Jersey          3:18-cv-15881          GIRARDI & KEESE
MCLAT, JEAN                       NJ - USDC for the District of New Jersey    3:18-cv-15784          GIRARDI & KEESE
MILLER, MICHELLE                  NJ - USDC for the District of New Jersey    3:18-cv-15746          GIRARDI & KEESE




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          Claimant Name                            State Filed                      Docket Number                 Plaintiff Counsel
MONTGOMERY, JOYCE                  NJ - USDC for the District of New Jersey   3:18-cv-15814         GIRARDI & KEESE
MUNIZ, ELICIA                      NJ - USDC for the District of New Jersey   3:18-cv-15815         GIRARDI & KEESE
NIKOGHOSYAN, ZARUHI                CA - Superior Court - Los Angeles County   BC723622              GIRARDI & KEESE
PALANO, MARION                     NJ - USDC for the District of New Jersey   3:18-cv-15748         GIRARDI & KEESE
PITCHER, DEBORAH                   NJ - USDC for the District of New Jersey   3:18-cv-15821         GIRARDI & KEESE
POWELL, ANNABELLE                  NJ - USDC for the District of New Jersey   3:18-cv-15749         GIRARDI & KEESE
RAMIREZ, MYRNA                     NJ - USDC for the District of New Jersey   3:18-cv-15750         GIRARDI & KEESE
RAVERT, COLLEEN                    NJ - USDC for the District of New Jersey   3:18-cv-15751         GIRARDI & KEESE
REILY, KAREN                       NJ - USDC for the District of New Jersey   3:18-cv-15752         GIRARDI & KEESE
ROSS, AMBER                        NJ - USDC for the District of New Jersey   3:18-cv-15863         GIRARDI & KEESE
RUGE, JEAN                         NJ - USDC for the District of New Jersey   3:18-cv-15753         GIRARDI & KEESE
SEATS, BRUNICE                     NJ - USDC for the District of New Jersey   3:19-cv-00037         GIRARDI & KEESE
SELF, PHYLLIS                      NJ - USDC for the District of New Jersey   3:18-cv-15997         GIRARDI & KEESE
SHENTON, MARY                      NJ - USDC for the District of New Jersey   3:18-cv-15754         GIRARDI & KEESE
SIMS, BARBARA                      NJ - USDC for the District of New Jersey   3:18-cv-15755         GIRARDI & KEESE
TERWILLIGER, JUDY                  NJ - USDC for the District of New Jersey   3:18-cv-16000         GIRARDI & KEESE
THREADGILL, EVA                    CA - Superior Court - Los Angeles County   BC-617311             GIRARDI & KEESE
TOVAR, MARIE                       NJ - USDC for the District of New Jersey   3:18-cv-16001         GIRARDI & KEESE
TURCHIARO, LORI                    NJ - USDC for the District of New Jersey   3:18-cv-15771         GIRARDI & KEESE
VASSER, SHARON                     NJ - USDC for the District of New Jersey   3:18-cv-16002         GIRARDI & KEESE
VAUGHN, MARY                       NJ - USDC for the District of New Jersey   3:18-cv-15774         GIRARDI & KEESE
WATTS, KAREN                       NJ - USDC for the District of New Jersey   3:18-cv-16007         GIRARDI & KEESE
ANKENBRAND, VIRGINIA               NJ - USDC for the District of New Jersey   3:21-cv-03394         GITLIN, HORN AND VAN DE KIEFT, LLP
PEARLMAN, GOLDA                    NJ - USDC for the District of New Jersey   3:21-cv-03401         GITLIN, HORN AND VAN DE KIEFT, LLP
KENNEDY, NAOMI                     NJ - USDC for the District of New Jersey   3:17-cv-00030         GLENN LOEWENTHAL, PC
WILLIAMS, CONNIE                   NJ - USDC for the District of New Jersey   3:20-cv-00671         GLP ATTORNEYS, P.S., INC.
JENSEN, KAYMARIE                   NJ - USDC for the District of New Jersey   3:17-cv-07915         GOETZ, BALDWIN & GEDDES, P.C.
JOHNSON, STEPHEN W. AND            PA - Court of Common Pleas - Allegheny
                                                                              GD-20-006199          GOLDBERG, PERSKY & WHITE, PC
JOHNSON, TRACY                     County
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
ANDERSON, BRENDA                   NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
BORGER, SUSAN                      NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
CONTE, SHIRLEY                     NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
CORTES DE MARRON, ALTAGRACIA NJ - USDC for the District of New Jersey         3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
FOX, LORRIE                        NJ - USDC for the District of New Jersey   3:20-cv-02578
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
GARLOCK, YVONNE                    NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
GILL, LISA                         NJ - USDC for the District of New Jersey   3:19-cv-00272
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
HATMAKER, VICKIE                   NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
HAYES, BESSIE                      NJ - USDC for the District of New Jersey   3:20-cv-09077
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
HOUSTON, HILDA                     NJ - USDC for the District of New Jersey   3:18-cv-08128
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
JOHNSON, CAROLINA                  NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
JOHNSON, CATHERINE                 NJ - USDC for the District of New Jersey   3:18-cv-16248
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
JONES, DONNA                       NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
KOPPIE, LINDA                      NJ - USDC for the District of New Jersey   3:18-cv-11252
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
KRZYZOSIAK, NORMA                  NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
LAM, LAN                           NJ - USDC for the District of New Jersey   3:21-cv-11673
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
PENA, SYLIVA                       NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
RENNER, DOLLY                      NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
RIVERO, MARITZA                    NJ - USDC for the District of New Jersey   3:17-cv-07909
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
SPIER, KATJE                       NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
TISCHNER, JOYCE                    NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
WATKINS, LINDA                     NJ - USDC for the District of New Jersey   3:20-cv-02183
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
WEISBROT, ELAINE                   NJ - Superior Court - Atlantic County      ATL-L-1721-17
                                                                                                    ROWLAND, P.C.
                                                                                                    GOLDENBERG HELLER ANTOGNOLI &
WHEET, GLADIES                     NJ - USDC for the District of New Jersey   3:17-cv-02943
                                                                                                    ROWLAND, P.C.
ABBATE, DIANE                      MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
ABERCROMBIE, REGINA                MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
ADAMS, TERESA                      MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC




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          Claimant Name                          State Filed                      Docket Number              Plaintiff Counsel
AGNEW, ANN                       MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
AHLBIN, DIANA                    NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
ALLCHIN, LUCILLE                 NJ - USDC for the District of New Jersey   3:17-cv-10237         GOLDENBERGLAW, PLLC
ALLEN, JANE                      NJ - USDC for the District of New Jersey   3:19-cv-13021         GOLDENBERGLAW, PLLC
ALLEN, JEANINE                   NJ - USDC for the District of New Jersey   3:21-cv-12691         GOLDENBERGLAW, PLLC
ALLISON, SHARON                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
ANDERSON, MICHELLE               MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
ANDERSON, SHARLENE               MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
ANDREWS (MO), BRENDA             MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
ANDREWS, DIANE                   MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
ANGELO, GAYLE-JEAN               MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
ASKEW, NANCY                     MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
ASKINS, PAMELA                   MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
AYALA, JUANITA                   MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
BAILEY-PARKER, SARAH             MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
BARLOW, PATRICIA                 MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
BARMES, BERTHA                   NJ - USDC for the District of New Jersey   3:17-cv-10151         GOLDENBERGLAW, PLLC
BARNES, MARY                     MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
BARNETT, NANCY                   MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
BAXTER, ELIZABETH                MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
BENNETT, SANDRA                  MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
BENTLEY, CATHLEEN                NJ - USDC for the District of New Jersey   3:17-cv-11156         GOLDENBERGLAW, PLLC
BENZ, KIMBERLY                   MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
BERTRAND, MARY                   MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
BERZLEY, JANELLE                 MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
BIANCO, DONNA                    MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
BOIS, PATRICIA                   MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
BOLINGER, JEANNE                 MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
BOOKER, TAMMY                    MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
BOOS, MARGARET                   NJ - USDC for the District of New Jersey   3:17-cv-11143         GOLDENBERGLAW, PLLC
BORGS, HAMILTN, HORNR, JOHNSN,
                                 NJ - USDC for the District of New Jersey   3:17-cv-00794         GOLDENBERGLAW, PLLC
SCHULMN, VARR
BOYD, PAULA                      MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
BRADFORD, JANA                   MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
BRANNON, ALICE                   MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
BRAY, CAROLYN                    NJ - USDC for the District of New Jersey   3:20-cv-04839         GOLDENBERGLAW, PLLC
BRISSON, LINDA                   NJ - USDC for the District of New Jersey   3:21-cv-03030         GOLDENBERGLAW, PLLC
BROOKS, JOETTA                   MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
BROWN, CARRIE                    NJ - USDC for the District of New Jersey   3:17-cv-10736         GOLDENBERGLAW, PLLC
BROWN, TERESA                    MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
BUCHECK, CURTIS                  MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
BURGAN, YOLANDA                  MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
BURRELL, BEVERLY                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
CAIN, MELBA                      MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
CALLISON, MARIA                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
CALTON, LAKIESHIA                NJ - USDC for the District of New Jersey   3:17-cv-10745         GOLDENBERGLAW, PLLC
CAMPOS, TERESA                   MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
CARAWAY, PAULETTE                MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
CARDER, CRYSTAL                  MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
CARTER, RHONDA                   MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
CARY, LYNN                       MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
CASEY, DONNA                     MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
CASTILLO, PAULA                  MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
CATAPANO, ROSEANNE               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
CHAMBERS, BONNIE                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
CHANDLER, EMILY                  NJ - USDC for the District of New Jersey   3:20-cv-02347         GOLDENBERGLAW, PLLC
CHAPPELL, KELLY                  MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
CHARLES-ADAMS, CELIA             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
CHOATE, MARY                     MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
CHOLEWA, JANET                   MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
CHRISTENSON, JEAN                NJ - USDC for the District of New Jersey   3:18-cv-12357         GOLDENBERGLAW, PLLC
CHRISTIAN, JOAN                  NJ - USDC for the District of New Jersey   3:21-cv-11594         GOLDENBERGLAW, PLLC
CISCO, CAROLYN                   MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
CLARK-HANSEN, LAURA              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
COBB, VANDRA                     MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
COLEMAN, CYNTHIA                 NJ - USDC for the District of New Jersey   3:17-cv-10433         GOLDENBERGLAW, PLLC
COLEMAN, EVA                     NJ - USDC for the District of New Jersey   3:18-cv-02142         GOLDENBERGLAW, PLLC
COLWELL, CHERYL                  MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
COMPSTON, TAMARA                 NJ - USDC for the District of New Jersey   3:17-cv-11132         GOLDENBERGLAW, PLLC
COOK, SARINA                     NJ - USDC for the District of New Jersey   3:17-cv-10172         GOLDENBERGLAW, PLLC
COOPER, CLARICE                  MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
CORNELIOUS, ALESIA               NJ - USDC for the District of New Jersey   3:17-cv-11133         GOLDENBERGLAW, PLLC
COSTA, KATHLEEN                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
CRAVEN, ZINA                     NJ - USDC for the District of New Jersey   3:17-cv-11162         GOLDENBERGLAW, PLLC
CROMER, SOMBEN                   NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
CUPO, MARION                     MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
DAVID, LAURIE                    NJ - USDC for the District of New Jersey   3:19-cv-22127         GOLDENBERGLAW, PLLC
DAVIS, MARABETH                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
DAVIS, SHAWN                     NJ - USDC for the District of New Jersey   3:17-cv-10175         GOLDENBERGLAW, PLLC
DEBLOCK, DARLINE                 MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC




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          Claimant Name                      State Filed                      Docket Number              Plaintiff Counsel
DELGADO, HERLINDA            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
DELISA, CAROL                MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
DENNIS, HELENA               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
DESTEFANO, LAURA             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
DESTEFANO, LAURIE            NJ - USDC for the District of New Jersey   3:17-cv-10523         GOLDENBERGLAW, PLLC
DIRKS, SHARONDA              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
DITTRICH, JOAN               NJ - USDC for the District of New Jersey   3:17-cv-10298         GOLDENBERGLAW, PLLC
DOLL, LINDA                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
DOYLE, JESSICA               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
DRAKE, RANN                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
DRAYTON, REBECCA             MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
DUBOSE, DORA                 MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
DUNLAP, NUANA                MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
DYE, SANDRA                  MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
EASTERLING-TORGIANI, JULIA   MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
EASTMAN, ALMA                NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
EDBERG, EYDIE                NJ - USDC for the District of New Jersey   3:18-cv-13599         GOLDENBERGLAW, PLLC
EDDLEMAN, TERI               MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
EDWARDS, PAMELA              NJ - USDC for the District of New Jersey   3:17-cv-07933         GOLDENBERGLAW, PLLC
EITEL, DOROTHY               MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
ELLIOT, SHERYL               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
ELLIS, BRENDA                MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
EMERY, ALICE                 NJ - USDC for the District of New Jersey   3:17-cv-11120         GOLDENBERGLAW, PLLC
ENGLAND, CHRIS               MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
ENSOR, BARBARA               MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
ERICKSON, TERESA             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
EVANS, CARLA                 NJ - USDC for the District of New Jersey   3:17-cv-10177         GOLDENBERGLAW, PLLC
EVANS, CHRISTINA             NJ - USDC for the District of New Jersey   3:17-cv-11160         GOLDENBERGLAW, PLLC
EVANS-MORRISON, FELICIA      MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
FARMER, DANA                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
FARRO, RISA                  MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
FEARS, MILDRED               MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
FENNELL, LAVERNE             MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
FERGUSON, MICHELL            NJ - USDC for the District of New Jersey   3:18-cv-08124         GOLDENBERGLAW, PLLC
FERLITA, STEPHANIE           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
FEWRY, NOREEN                NJ - USDC for the District of New Jersey   3:17-cv-10748         GOLDENBERGLAW, PLLC
FINDLEY, SAMANTHA            NJ - USDC for the District of New Jersey   3:20-cv-13096         GOLDENBERGLAW, PLLC
FLETCHER, CASAUNDRA          NJ - USDC for the District of New Jersey   3:17-cv-10310         GOLDENBERGLAW, PLLC
FLORES, CORAZON              MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
FLOWERS, SAMANTHA            MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
FLOYD, JENNIFER              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
FOREMAN, CHANTHONY           NJ - USDC for the District of New Jersey   3:17-cv-10312         GOLDENBERGLAW, PLLC
FORMALEJO, TONI              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
FOSTER, BONNIE               NJ - USDC for the District of New Jersey   3:21-cv-02780         GOLDENBERGLAW, PLLC
FOWLER, FAITH                NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
FOWLER, MARY                 MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
FOX, VANESSA                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
FUOCO, CHARLENE              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
GAMAUNT, JOANNE              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
GANN, SHERRY                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
GARCIA, KIM                  MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
GARCIA, TAMMY                MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
GARZA, DIANA                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
GEORGATOS, JEAN              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
GIBAS, MARJORIE              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
GIBSON-PACK, ALECIA          MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
GILL, HEIDI                  NJ - USDC for the District of New Jersey   3:17-cv-11164         GOLDENBERGLAW, PLLC
GLANZ, KAREN                 MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
GOENS, AMY                   MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
GOODEN, CATHERINE            MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
GORDON, FREYA                NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
GORTAREZ, RACHEL             MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
GRAHAM, GAYLE                NJ - USDC for the District of New Jersey   3:17-cv-07933         GOLDENBERGLAW, PLLC
GRANT, RENEE                 MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
GREEN, ALETA                 MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
GROOME, SHARON               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
GUILLAUME, CHRISTINE         MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
HACHEM, FATME                MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
HAIGH, MICHELE               NJ - USDC for the District of New Jersey   3:20-cv-04860         GOLDENBERGLAW, PLLC
HAILE, SHEILA                MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
HALL, DIANA                  MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
HALL, HEATHER                MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
HALL, IRA                    MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
HALL, MABLE                  MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
HALL, NORMA                  MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
HALL, PAMELA                 NJ - USDC for the District of New Jersey   3:18-cv-09193         GOLDENBERGLAW, PLLC
HALSEY, PEGGY                MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
HAMILL, LYNNE                MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
HANNIGAN, DEYANIRA           MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
HARABUC, VIRGINIA            MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC




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           Claimant Name                    State Filed                       Docket Number              Plaintiff Counsel
HARGROVE, TONI              NJ - USDC for the District of New Jersey   3:17-cv-07933          GOLDENBERGLAW, PLLC
HARI, RENE                  NJ - USDC for the District of New Jersey   3:18-cv-14523          GOLDENBERGLAW, PLLC
HARRIS, JEAN                NJ - USDC for the District of New Jersey   3:17-cv-11151          GOLDENBERGLAW, PLLC
HARRIS, KIMBERLY            MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
HARRIS, RITA                MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
HARRISON, MARILYN           MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
HAYES, BERNICE              NJ - USDC for the District of New Jersey   3:20-cv-01127          GOLDENBERGLAW, PLLC
HAYNES, DOLORES             NJ - USDC for the District of New Jersey   3:17-cv-10315          GOLDENBERGLAW, PLLC
HAZEN, ROSANNE              MO - Circuit Court - City of St. Louis     1522-CC10545           GOLDENBERGLAW, PLLC
HELLIWELL, LINDA            MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
HEMMINGER, SALLY            MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
HERNANDEZ, EVA              MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
HERNANDEZ, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-10438          GOLDENBERGLAW, PLLC
HEROUX, JEANNE              NJ - USDC for the District of New Jersey   3:17-cv-10716          GOLDENBERGLAW, PLLC
HERTZ, PAMELA               MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
HILF, KELLY                 MO - Circuit Court - City of St. Louis     1522-CC10545           GOLDENBERGLAW, PLLC
HILL, CAROL                 MO - Circuit Court - City of St. Louis     1522-CC10545           GOLDENBERGLAW, PLLC
HILLIGOSS, JANET            MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
HILTON, SARAH               NJ - USDC for the District of New Jersey   3:17-cv-00790          GOLDENBERGLAW, PLLC
HONG, SEUNGYEON             MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
HOOPER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
HOOPER, RENEE               MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
HOWARD, LAKISHIA            NJ - USDC for the District of New Jersey   3:17-cv-00790          GOLDENBERGLAW, PLLC
HUNTER, JACQUELINE          MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
HUNTLEY, LASHUNDA           MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
HUTCHINSON, ANDREA          NJ - USDC for the District of New Jersey   3:17-cv-10318          GOLDENBERGLAW, PLLC
HYATT, CARLA                MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
JACKSON, ALICESTINE         MO - Circuit Court - City of St. Louis     1522-CC10545           GOLDENBERGLAW, PLLC
JACKSON, JOAN               MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
JACKSON, MARGARET           MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
JACKSON, SABRINA            NJ - USDC for the District of New Jersey   3:17-cv-10178          GOLDENBERGLAW, PLLC
JANUARY, DOLLIE             MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
JENKINS, DEBRA              MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
JENSEN, MAIREAD             MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
JEWELL, CONNIE              NJ - USDC for the District of New Jersey   3:20-cv-04426          GOLDENBERGLAW, PLLC
JOHNS, NANCY                MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
JOHNSON, ARLENE             MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
JOHNSON, MAUREEN            NJ - USDC for the District of New Jersey   3:19-cv-09055          GOLDENBERGLAW, PLLC
JOHNSON, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-02630          GOLDENBERGLAW, PLLC
JOHNSON, SHERRY             MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
JONES, CYNTHIA              MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
JONES, SHARION              MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
JONES, VANESSA              MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
JUSTICE, LINDA              MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
KEATING, RENEE              MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
KEETON, PATRICIA            MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
KELLY, MARGARET             MO - Circuit Court - City of St. Louis     1522-CC10545           GOLDENBERGLAW, PLLC
KIELISZEK, CLARA            MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
KINCHION, DADIE             NJ - USDC for the District of New Jersey   3:17-cv-11134          GOLDENBERGLAW, PLLC
KISSELL, MARIA              MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
KITT, MICHELLE              MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
KLOSTERMAN-ROCK, VERONICA   MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
KOHLER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
KOUTOUJIAN, MARLENE         NJ - USDC for the District of New Jersey   3:17-cv-10719          GOLDENBERGLAW, PLLC
KUCHARSKI, BETH             NJ - USDC for the District of New Jersey   3:17-cv-10184          GOLDENBERGLAW, PLLC
LAMAR-DAVIS, JAUICE         NJ - USDC for the District of New Jersey   3:17-cv-10417          GOLDENBERGLAW, PLLC
LASECKI, RUTH               MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
LATTA, JOYCE                NJ - USDC for the District of New Jersey   3:17-cv-10758          GOLDENBERGLAW, PLLC
LAWRENCE, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-10726          GOLDENBERGLAW, PLLC
LEE, BEVERLY                NJ - USDC for the District of New Jersey   3:21- cv-15352         GOLDENBERGLAW, PLLC
LEHN, ELLISSA               MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
LIDDIL, RITA                MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
LINDAHL, VICKI              MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
LINDQUIST, SUZANNE          MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
LIPCOMB, MADDONNA           MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
LITSON, SARAH               MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
LOE, TERRY                  MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
LONG, RACHELLE              NJ - USDC for the District of New Jersey   3:21-cv-08502          GOLDENBERGLAW, PLLC
LOPEZ, BARBARA              MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
LOVELADY, CYNDY             MO - Circuit Court - City of St. Louis     1622-CC-00837          GOLDENBERGLAW, PLLC
LOWE, CHERYL                MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
LUCIANI, CARRIE             MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
MADRAZO, TINA               NJ - USDC for the District of New Jersey   3:20-cv-18791          GOLDENBERGLAW, PLLC
MADRID, CLARA               MO - Circuit Court - City of St. Louis     1622-CC00134           GOLDENBERGLAW, PLLC
MAGUIRE, ANA                NJ - USDC for the District of New Jersey   3:17-cv-10423          GOLDENBERGLAW, PLLC
MAIBACH, DAWN               MO - Circuit Court - City of St. Louis     1622-CC00443           GOLDENBERGLAW, PLLC
MALOTT, DEBRA               NJ - USDC for the District of New Jersey   3:19-cv-07160          GOLDENBERGLAW, PLLC
MANN, ERIN                  MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC
MANSUN, JUDITH              NJ - USDC for the District of New Jersey   3:17-cv-10768          GOLDENBERGLAW, PLLC
MARKIN, TANYA               MO - Circuit Court - City of St. Louis     1522-CC-10203          GOLDENBERGLAW, PLLC




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          Claimant Name                   State Filed                      Docket Number              Plaintiff Counsel
MARTIN, RHONDA            MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
MARTINEZ, MARIA           NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
MARTZ, PATRICIA           MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
MASON, CHERYL             MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MAXWELL, SHARON           MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
MAY, IDA                  MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MCCASTER, SABRINA         NJ - USDC for the District of New Jersey   3:17-cv-10262         GOLDENBERGLAW, PLLC
MCCLAIN, MELISSA          MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MCCLANAHAN, KAREN         MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
MCKEE, CYNTHIA            MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
MCKINIGHT, LISA           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MCKINNEY, LINDA           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
MCLANE, BRENDA            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
MCQUILLEN, KAREN          NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
MCVEAN, CYNTHIA           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
MEADOR, CHRISTINA         MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
MENSTER, KRISTINE         MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
METTLER, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-10444         GOLDENBERGLAW, PLLC
MICHAELIS, LINDA          NJ - USDC for the District of New Jersey   3:17-cv-07692         GOLDENBERGLAW, PLLC
MICK, LU                  MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MILICH, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-20800         GOLDENBERGLAW, PLLC
MILLER, LIZABETH          NJ - USDC for the District of New Jersey   3:17-cv-07694         GOLDENBERGLAW, PLLC
MILLER, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-07933         GOLDENBERGLAW, PLLC
MITCHELL, LAURIE          MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
MITCHEM, CARLETTA         MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
MODISETTE, MARTHA         MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MONTANO, PENNY            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
MONTERROSO, JOANN         MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
MONTGOMERY, CHARLENE      NJ - USDC for the District of New Jersey   3:17-cv-10187         GOLDENBERGLAW, PLLC
MORRELL, GRACE            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
MULDREW, DEBRA            MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
MUNNS, MARIZELA           NJ - USDC for the District of New Jersey   3:17-cv-11116         GOLDENBERGLAW, PLLC
MURPHY, DAWN              MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
NASH, SUZANNE             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
NELSON, DELIA             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
NIELSEN, CYNTHIA          MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
NORHEIM, JULIE            MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
NORRIS, REDITH            MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
NUNN, LASHAWN             NJ - USDC for the District of New Jersey   3:17-cv-11145         GOLDENBERGLAW, PLLC
OAKS, LORI                MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
OCHOA, DELIA              NJ - USDC for the District of New Jersey   3:17-cv-10270         GOLDENBERGLAW, PLLC
OWENS, HOLLY              MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
PACK, CARMALEE            MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
PADILLA, ROSE             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
PANNELL, NANCY            MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
PARISIEN, CRYSTAL         MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
PASHA, MARSHA             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
PAYNE, TUCHLIN            MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
PERRY, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-11163         GOLDENBERGLAW, PLLC
PETERS, BELINDA           NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
PHILLIPS, MARCIA          NJ - USDC for the District of New Jersey   3:17-cv-10463         GOLDENBERGLAW, PLLC
PICKLE, MARY              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
PLUBELL, DENISE           MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
POFERL, LORI              NJ - USDC for the District of New Jersey   3:21-cv-10381         GOLDENBERGLAW, PLLC
POTTS, ANNETTE            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
PRYOR, HEIDI              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
QUARLES, MARY             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
QUIRK, RAMONA             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
RANDALL, NICOLE           NJ - USDC for the District of New Jersey   3:17-cv-10887         GOLDENBERGLAW, PLLC
RANGEL, YOLANDA           MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
RAY, LAURA                MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
REDDING, DEBORAH          MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
REPPELL, BRENDA           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
RICE, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-08055         GOLDENBERGLAW, PLLC
RICO, DIANE               MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
RINGLE, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-11135         GOLDENBERGLAW, PLLC
RIOS, DEBRA               NJ - USDC for the District of New Jersey   3:17-cv-10193         GOLDENBERGLAW, PLLC
RIVET, DEBORAH            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
RIYADH, SULMA             NJ - USDC for the District of New Jersey   3:18-cv-02989         GOLDENBERGLAW, PLLC
ROBINSON, JOAN            NJ - USDC for the District of New Jersey   3:17-cv-11136         GOLDENBERGLAW, PLLC
ROBINSON, TASHA           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
ROGERS, KEMBERLY          MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
RUE, ROXANNE              NJ - USDC for the District of New Jersey   3:17-cv-11128         GOLDENBERGLAW, PLLC
RUSSELL, SUSANN           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SADLER, SANDRA            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
SALAZAR, LORI             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
SALVEMINI, LISA           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
SALVO, LAURA              MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
SAWYER, BONNIE            MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SCHACKEL, JANEEN          MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC




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SCHEIDT, CYNTHIA          MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SCHMITZ, ANN              MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SCHOONOVER, GAIL          MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SCHUKERT, SHEILA          MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SCHURMAN, REBECCA         MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SEDICINO, JANICE          MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
SEMMENS, SUSAN            MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
SEXTON, PATRICIA          MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SHAW, JEANIE              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
SHEPHERD, NANCY           MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SIDRANSKY, LISA           MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
SINGH, EVA                NJ - USDC for the District of New Jersey   3:19-cv-11806         GOLDENBERGLAW, PLLC
SLAZYK, CATHY             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
SLOPER, LISA              MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SMITH (MO), ANN           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
SMITH, ALEISA             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
SMITH, BRENDA             MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SMITH, CHARLEEN           NJ - USDC for the District of New Jersey   3:17-cv-10999         GOLDENBERGLAW, PLLC
SMITH, CHRISTINE          MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SMITH, JANET              MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
SMITH, JUDITH             NJ - USDC for the District of New Jersey   3:17-cv-11122         GOLDENBERGLAW, PLLC
SMITH, LARITA             MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SMITH, TERESA             MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
SMYRNIOTES, JO            NJ - USDC for the District of New Jersey   3:19-cv-11983         GOLDENBERGLAW, PLLC
SNYDER, SHIRLEY           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SOILEAU, PATRICIA         MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
SOLOMON, RUTH             NJ - USDC for the District of New Jersey   3:17-cv-11005         GOLDENBERGLAW, PLLC
SPARKMAN, MARGARET        MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
STAHL, DONNA              MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
STILTNER, PRISCILLA       MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
STODDARD, KATHLEEN        MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
STOPCYNSKI, HELENE        NJ - USDC for the District of New Jersey   3:17-cv-11012         GOLDENBERGLAW, PLLC
STORANDT, KAREN           MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
STOWERS, ANITA            NJ - USDC for the District of New Jersey   3:17-cv-10733         GOLDENBERGLAW, PLLC
STRICKLEN, MONICA         MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
STROM, BERNADETTE         NJ - USDC for the District of New Jersey   3:17-cv-11138         GOLDENBERGLAW, PLLC
STUMPF, LAVERNE           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
SURMAN, DEBRA             MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
SUSKA, CAROLYN            NJ - USDC for the District of New Jersey   3:17-cv-10469         GOLDENBERGLAW, PLLC
SWANCUTT, LAUREEN         NJ - USDC for the District of New Jersey   3:17-cv-11161         GOLDENBERGLAW, PLLC
SWENSON, BEVERLY          NJ - USDC for the District of New Jersey   3:19-cv-13275         GOLDENBERGLAW, PLLC
TAUBER, CHRISTINA         MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
TAYLOR, AMBER             NJ - USDC for the District of New Jersey   3:17-cv-08695         GOLDENBERGLAW, PLLC
TAYLOR, CALLIE            MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
TAYLOR, ROBBIN            MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
THAYER, LYNETTE           NJ - USDC for the District of New Jersey   3:21-cv-01991         GOLDENBERGLAW, PLLC
THOMAS, ARLA              NJ - USDC for the District of New Jersey   3:17-cv-11124         GOLDENBERGLAW, PLLC
THOMASON, VICKY           MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
THOMPSON, LAURA           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
THORNBURG, ALINA          MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
TIBBETTS, SARA            NJ - USDC for the District of New Jersey   3:17-cv-10429         GOLDENBERGLAW, PLLC
TILLEY, AUDREY            MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
TILTON, MARY              NJ - USDC for the District of New Jersey   3:17-cv-11153         GOLDENBERGLAW, PLLC
TIMMS, JANENE             MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
TINOCO, RAMONA            NJ - USDC for the District of New Jersey   3:17-cv-11149         GOLDENBERGLAW, PLLC
TIPPS, MARY               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
TOBOLA, WANDA             MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
TORRES, JOYCE             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
TORRES, MIOSOTY           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
TRIPP, KARLA              MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
TYLER, LINDA              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
VANDEWARKER, SHARON       MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
VICIAN, JULIA             NJ - USDC for the District of New Jersey   3:17-cv-11139         GOLDENBERGLAW, PLLC
VITRANO, ANNA             MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
VON ASHEN, KRISTINE       MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
WALKER, LINDA             MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
WALKER, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-07933         GOLDENBERGLAW, PLLC
WALKEY, LEONISE           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
WALLICK, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-11022         GOLDENBERGLAW, PLLC
WALTON, EDNA              MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
WASHINGTON, MECHELL       NJ - USDC for the District of New Jersey   3:18-cv-08120         GOLDENBERGLAW, PLLC
WAXMAN, LORRAINE          MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
WEBB, KARYL               NJ - USDC for the District of New Jersey   3:17-cv-07681         GOLDENBERGLAW, PLLC
WEBSTER, CARMA            NJ - USDC for the District of New Jersey   3:18-cv-13441         GOLDENBERGLAW, PLLC
WEDDINGTON, VIVIAN        NJ - USDC for the District of New Jersey   3:17-cv-10281         GOLDENBERGLAW, PLLC
WELTON, ROBIN             NJ - USDC for the District of New Jersey   3:20-cv-04306         GOLDENBERGLAW, PLLC
WERTH, WANDA              NJ - USDC for the District of New Jersey   3:19-cv-09112         GOLDENBERGLAW, PLLC
WHEELER, KENAH            NJ - USDC for the District of New Jersey   3:17-cv-00790         GOLDENBERGLAW, PLLC
WHEELER, LEAANN           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
WHEELER, TRACEY           MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC




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WHELAND, CLAUDIA           MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
WHITE, DAISY               MO - Circuit Court - City of St. Louis     1522-CC10545          GOLDENBERGLAW, PLLC
WHITE, PHYLLIS             MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
WILDS, SARA                NJ - USDC for the District of New Jersey   3:19-cv-19563         GOLDENBERGLAW, PLLC
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
WILLIAMSON, DOROTHY        MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
WILLSEY, DONNA             MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
WILSON, FLORA              MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
WINGO-RUST, ANGELA         MO - Circuit Court - City of St. Louis     1622-CC-00837         GOLDENBERGLAW, PLLC
WINKELMAN, SARAH           MO - Circuit Court - City of St. Louis     1622-CC00134          GOLDENBERGLAW, PLLC
WOJNAR, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11141         GOLDENBERGLAW, PLLC
WOOLLEY, SUSAN             MO - Circuit Court - City of St. Louis     1622-CC00443          GOLDENBERGLAW, PLLC
WRIGHT, CANDI              NJ - USDC for the District of New Jersey   3:21-cv-01413         GOLDENBERGLAW, PLLC
WRIGHT, DESIREE            NJ - USDC for the District of New Jersey   3:17-cv-11129         GOLDENBERGLAW, PLLC
YOUNG, LINDA               MO - Circuit Court - City of St. Louis     1522-CC-10203         GOLDENBERGLAW, PLLC
ABNEY, KIMBERLY            NJ - Superior Court - Atlantic County      ATL-L-002154-20       GOLOMB & HONIK, P.C.
ACQUAVIVA, AUDRA           NJ - Superior Court - Atlantic County      ATL-L-003213-20       GOLOMB & HONIK, P.C.
ADOLPH, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-002240-20       GOLOMB & HONIK, P.C.
AFANADOR-MEJIA, ELIZA      NJ - Superior Court - Atlantic County      ATL-L-004171-20       GOLOMB & HONIK, P.C.
AGOSTA, LINA               NJ - USDC for the District of New Jersey   3:20-cv-13970         GOLOMB & HONIK, P.C.
ALLEN, LEAHA               NJ - USDC for the District of New Jersey   3:21-cv-00597         GOLOMB & HONIK, P.C.
ALLEN, THERESA             NJ - Superior Court - Atlantic County      ATL-L-002341-20       GOLOMB & HONIK, P.C.
ALVARADO, MARIA            NJ - Superior Court - Atlantic County      ATL-L-001490-20       GOLOMB & HONIK, P.C.
ALVAREZ, LUZ               NJ - Superior Court - Atlantic County      ATL-L002487-20        GOLOMB & HONIK, P.C.
ANASTASIA, ELAINE          NJ - Superior Court - Atlantic County      ATL-L-000483-21       GOLOMB & HONIK, P.C.
ANDERSEN, DAWN             NJ - Superior Court - Atlantic County      ATL-L-002835-21       GOLOMB & HONIK, P.C.
ANDERSON, MONICA           NJ - Superior Court - Atlantic County      ATL-L-003314-20       GOLOMB & HONIK, P.C.
ARGUELLO-ALLEN, DEBRA      NJ - Superior Court - Atlantic County      ATL-L-002303-20       GOLOMB & HONIK, P.C.
ARMES, AMY                 NJ - Superior Court - Atlantic County      ATL-L-002591-20       GOLOMB & HONIK, P.C.
ARMES, LAURA               NJ - Superior Court - Atlantic County      ATL-L-002081-20       GOLOMB & HONIK, P.C.
ASHED, RUTH                NJ - Superior Court - Atlantic County      ATL-L-001310-21       GOLOMB & HONIK, P.C.
AUSTIN, ANA                NJ - Superior Court - Atlantic County      ATL-L-002409-20       GOLOMB & HONIK, P.C.
AVERY, LAURA               NJ - Superior Court - Atlantic County      ATL-L-002411-20       GOLOMB & HONIK, P.C.
AYERS, KATHRYN             NJ - Superior Court - Atlantic County      ATL-L-000152-21       GOLOMB & HONIK, P.C.
AZPIRI, GINA               NJ - Superior Court - Atlantic County      ATL-L-002064-21       GOLOMB & HONIK, P.C.
BAARS, PEARL               NJ - Superior Court - Atlantic County      ATL-L-002082-20       GOLOMB & HONIK, P.C.
BABER, CASSANDRA           NJ - Superior Court - Atlantic County      ATL-L-002207-20       GOLOMB & HONIK, P.C.
BABUCA, IVETTE             NJ - Superior Court - Atlantic County      ATL-L-002489-20       GOLOMB & HONIK, P.C.
BACKOFF, NETTIE            NJ - Superior Court - Atlantic County      ATL-L-002599-20       GOLOMB & HONIK, P.C.
BAILEY, BRENDA             NJ - Superior Court - Atlantic County      ATL-L-002156-20       GOLOMB & HONIK, P.C.
BALES, SANDRA              NJ - Superior Court - Atlantic County      ATL-L-002083-20       GOLOMB & HONIK, P.C.
BALSBAUGH, MARCIA          NJ - Superior Court - Atlantic County      ATL-L-002491-20       GOLOMB & HONIK, P.C.
BARCELLONA, KATHRYN        NJ - Superior Court - Atlantic County      ATL-L-002986-18       GOLOMB & HONIK, P.C.
BARKHAMER, JOSEPHINE       NJ - Superior Court - Atlantic County      ATL-L-001572-21       GOLOMB & HONIK, P.C.
BARNETT, DAWN              NJ - Superior Court - Atlantic County      ATL-L-002084-20       GOLOMB & HONIK, P.C.
BAROTTA, GLORIA            NJ - Superior Court - Atlantic County      ATL-L-002412-20       GOLOMB & HONIK, P.C.
BART, CYNTHIA              NJ - Superior Court - Atlantic County      ATL-L-002241-20       GOLOMB & HONIK, P.C.
BASS, CHRISTINE            NJ - Superior Court - Atlantic County      ATL-L-002492-20       GOLOMB & HONIK, P.C.
BASWELL, DARLA             NJ - Superior Court - Atlantic County      ATL-L-002242-20       GOLOMB & HONIK, P.C.
BEAN, FAY                  NJ - Superior Court - Atlantic County      ATL-L-002169-20       GOLOMB & HONIK, P.C.
BEASLEY, MARTHA            NJ - Superior Court - Atlantic County      ATL-L-002413-20       GOLOMB & HONIK, P.C.
BEENKEN, SUSAN             NJ - Superior Court - Atlantic County      ATL-L-002300-20       GOLOMB & HONIK, P.C.
BELGARD, CAMILLA           NJ - Superior Court - Atlantic County      ATL-L-002170-20       GOLOMB & HONIK, P.C.
BELL, AUDRIA               NJ - Superior Court - Atlantic County      ATL-L-002414-20       GOLOMB & HONIK, P.C.
BELL, MAMIE                NJ - Superior Court - Atlantic County      ATL-L-002173-20       GOLOMB & HONIK, P.C.
BELL, MARILOU              NJ - Superior Court - Atlantic County      ATL-L-002172-20       GOLOMB & HONIK, P.C.
BELL, ROSIE                NJ - Superior Court - Atlantic County      ATL-L-002209-20       GOLOMB & HONIK, P.C.
BENFORD, TASHAY            NJ - Superior Court - Atlantic County      ATL-L-002243-20       GOLOMB & HONIK, P.C.
BENNANE, DIANE             NJ - Superior Court - Atlantic County      ATL-L-002175-20       GOLOMB & HONIK, P.C.
BENTLEY, VICTORIA          NJ - Superior Court - Atlantic County      ATL-L-002157-20       GOLOMB & HONIK, P.C.
BERENBLIT, DIANE           NJ - Superior Court - Atlantic County      ATL-L-004170-20       GOLOMB & HONIK, P.C.
BERGEN, KATHLEEN           NJ - Superior Court - Atlantic County      ATL-L-002085-20       GOLOMB & HONIK, P.C.
BERNAL, JULIA              NJ - Superior Court - Atlantic County      ATL-L-002158-20       GOLOMB & HONIK, P.C.
BERRY, ANGELA              NJ - Superior Court - Atlantic County      ATL-L-002159-20       GOLOMB & HONIK, P.C.
BIAN, GINGER               NJ - Superior Court - Atlantic County      ATL-L-002302-20       GOLOMB & HONIK, P.C.
BILLINGS, GAIL             NJ - Superior Court - Atlantic County      ATL-L-001868-20       GOLOMB & HONIK, P.C.
BILLINGSLEY, PHYLLIS       NJ - Superior Court - Atlantic County      ATL-L-002416-20       GOLOMB & HONIK, P.C.
BISHOP, SHARON             NJ - Superior Court - Atlantic County      ATL-L-004010-20       GOLOMB & HONIK, P.C.
BLAIR, VANESSA             NJ - Superior Court - Atlantic County      ATL-L-002206-20       GOLOMB & HONIK, P.C.
BLANTON, JOEN              NJ - Superior Court - Atlantic County      ATL-L-002604-20       GOLOMB & HONIK, P.C.
BLUM, VICTORIA             NJ - Superior Court - Atlantic County      ATL-L-002417-20       GOLOMB & HONIK, P.C.
BLYTHE, LAURA              NJ - Superior Court - Atlantic County      ATL-L-002605-20       GOLOMB & HONIK, P.C.
BODIRIAU, CATALINA         NJ - Superior Court - Atlantic County      ATL-L-002160-20       GOLOMB & HONIK, P.C.
BODONY, PRISCILLA          NJ - Superior Court - Atlantic County      ATL-L-002094-20       GOLOMB & HONIK, P.C.
BOGGS, CONNIE              NJ - Superior Court - Atlantic County      ATL-L-002178-20       GOLOMB & HONIK, P.C.
BOLUS, FRANKIE             NJ - Superior Court - Atlantic County      ATL-L-002251-20       GOLOMB & HONIK, P.C.
BONGIOVANNI, SUSAN         NJ - Superior Court - Atlantic County      ATL-L-001105-21       GOLOMB & HONIK, P.C.
BOONE, MARSHA              NJ - Superior Court - Atlantic County      ATL-L-002625-21       GOLOMB & HONIK, P.C.
BOST, DARLENE              NJ - Superior Court - Atlantic County      ATL-002718-19         GOLOMB & HONIK, P.C.
BOULDEN, TERESA            NJ - Superior Court - Atlantic County      ATL-L-002161-20       GOLOMB & HONIK, P.C.




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
BOWERS, ELIZABETH           NJ - Superior Court - Atlantic County      ATL-L-001913-21       GOLOMB & HONIK, P.C.
BOZETT, SUZANNE             NJ - USDC for the District of New Jersey   3:21-cv-09669         GOLOMB & HONIK, P.C.
BRADLEY, CHARLENE           NJ - Superior Court - Atlantic County      ATL-L-002086-20       GOLOMB & HONIK, P.C.
BRADLEY, EARNESTINE         NJ - Superior Court - Atlantic County      ATL-L-002249-20       GOLOMB & HONIK, P.C.
BRAND, ELDA                 NJ - Superior Court - Atlantic County      ATL-L-002162-20       GOLOMB & HONIK, P.C.
BRANOWICKI, PATRICIA        NJ - Superior Court - Atlantic County      ATL-L002494-20        GOLOMB & HONIK, P.C.
BRANTLEY, MARY              NJ - Superior Court - Atlantic County      ATL-L-001315-21       GOLOMB & HONIK, P.C.
BREAUX, VALARIE             NJ - Superior Court - Atlantic County      ATL-L-002419-20       GOLOMB & HONIK, P.C.
BRESHEARS, JOANNE           NJ - Superior Court - Atlantic County      ATL-L-002163-20       GOLOMB & HONIK, P.C.
BRIGGS, AMBER               NJ - Superior Court - Atlantic County      ATL-L-002520-20       GOLOMB & HONIK, P.C.
BRISKIN, SUSAN              NJ - Superior Court - Atlantic County      ATL-L-000430-21       GOLOMB & HONIK, P.C.
BROWN, CAROLYN              NJ - Superior Court - Atlantic County      ATL-L-003410-20       GOLOMB & HONIK, P.C.
BROWN, SUSAN                NJ - Superior Court - Atlantic County      ATL-L-002244-20       GOLOMB & HONIK, P.C.
BROWN, YOLANDA              NJ - Superior Court - Atlantic County      ATL-L-002164-20       GOLOMB & HONIK, P.C.
BROWNING, JOAN              NJ - Superior Court - Atlantic County      ATL-L-002420-20       GOLOMB & HONIK, P.C.
BRUGGER, ANNETTE            NJ - Superior Court - Atlantic County      ATL-L-002087-20       GOLOMB & HONIK, P.C.
BRYSON, LATONYA             NJ - Superior Court - Atlantic County      ATL-L-002521-20       GOLOMB & HONIK, P.C.
BUJ, SILVIA                 NJ - Superior Court - Atlantic County      ATL-L-001062-21       GOLOMB & HONIK, P.C.
BUMPHREY, CAROLYN           NJ - Superior Court - Atlantic County      ATL-L-002088-20       GOLOMB & HONIK, P.C.
BURGESS, JOYCE              NJ - Superior Court - Atlantic County      ATL-L-002165-20       GOLOMB & HONIK, P.C.
BURKE, SHEILA               NJ - Superior Court - Atlantic County      ATL-L-001108-21       GOLOMB & HONIK, P.C.
BURKEY, SANDRA              NJ - Superior Court - Atlantic County      ATL-L-002089-20       GOLOMB & HONIK, P.C.
BURNETT, RAMONA             NJ - Superior Court - Atlantic County      ATL-L-002421-20       GOLOMB & HONIK, P.C.
BURNS, PAMELA               NJ - Superior Court - Atlantic County      ATL-L-003315-20       GOLOMB & HONIK, P.C.
BUSCH, JOAN                 NJ - Superior Court - Atlantic County      ATL-L-002090-20       GOLOMB & HONIK, P.C.
BUTLER, JOE                 NJ - Superior Court - Atlantic County      ATL-L-001106-21       GOLOMB & HONIK, P.C.
BUTTOR, SHEILA              NJ - Superior Court - Atlantic County      ATL-L-003382-20       GOLOMB & HONIK, P.C.
BYROM, ANGELA               NJ - Superior Court - Atlantic County      ATL-L-002422-20       GOLOMB & HONIK, P.C.
CABELL, CAROLYN             NJ - Superior Court - Atlantic County      ATL-L-002423-20       GOLOMB & HONIK, P.C.
CACIOPPE, SUSAN             NJ - Superior Court - Atlantic County      ATL-L-002072-20       GOLOMB & HONIK, P.C.
CAGGIANO, VIRGINIA          NJ - Superior Court - Atlantic County      ATL-L-002166-20       GOLOMB & HONIK, P.C.
CALHOUN, CAROL              NJ - Superior Court - Atlantic County      ATL-L-002091-20       GOLOMB & HONIK, P.C.
CAMAIONI, ROSEANNA          NJ - Superior Court - Atlantic County      ATL-L-002319-20       GOLOMB & HONIK, P.C.
CARABETTA, PATRICIA         NJ - Superior Court - Atlantic County      ATL-L-002510-21       GOLOMB & HONIK, P.C.
CARLSON, CHRISTY            NJ - Superior Court - Atlantic County      ATL-L-002320-20       GOLOMB & HONIK, P.C.
CARMICHAEL, BERNICE         NJ - Superior Court - Atlantic County      ATL-L-002092-20       GOLOMB & HONIK, P.C.
CASAMENTO, LORRAINE         NJ - Superior Court - Atlantic County      ATL-L-001913-20       GOLOMB & HONIK, P.C.
CASCARDI, LITA              NJ - Superior Court - Atlantic County      ATL-L-003316-20       GOLOMB & HONIK, P.C.
CASLIN, LINDA               NJ - Superior Court - Atlantic County      ATL-L-002522-20       GOLOMB & HONIK, P.C.
CESARIO, CHRISTINE          NJ - Superior Court - Atlantic County      ATL-L-000776-21       GOLOMB & HONIK, P.C.
CHAPMAN, SHERRY             NJ - Superior Court - Atlantic County      ATL-L-002390-20       GOLOMB & HONIK, P.C.
CHARLES, DEBRA              NJ - Superior Court - Atlantic County      ATL-L-002093-20       GOLOMB & HONIK, P.C.
CHAVEZ, LINDA               NJ - Superior Court - Atlantic County      ATL-L-002424-20       GOLOMB & HONIK, P.C.
CHERRY, LISA                NJ - Superior Court - Atlantic County      ATL-L-002321-20       GOLOMB & HONIK, P.C.
CHIAROLANZA, HAYDEE         NJ - Superior Court - Atlantic County      ATL-L-002323-20       GOLOMB & HONIK, P.C.
CHITWOOD, MARGARET          NJ - Superior Court - Atlantic County      ATL-L-002246-20       GOLOMB & HONIK, P.C.
CHRISTENSEN, KARELEEN       NJ - Superior Court - Atlantic County      ATL-L-002325-20       GOLOMB & HONIK, P.C.
CHTAY, SAMIRAH              NJ - Superior Court - Atlantic County      ATL-L-002326-20       GOLOMB & HONIK, P.C.
CICHOSZ, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-002183-20       GOLOMB & HONIK, P.C.
CISNEROS, BRANDY            NJ - Superior Court - Atlantic County      ATL-L-002441-20       GOLOMB & HONIK, P.C.
CIULLA, RENEE               NJ - Superior Court - Atlantic County      ATL-L-002327-20       GOLOMB & HONIK, P.C.
CLARK, NANCY                NJ - Superior Court - Atlantic County      ATL-L-002329-20       GOLOMB & HONIK, P.C.
CLAYBAUGH, DEBORAH          NJ - Superior Court - Atlantic County      ATL-L-002184-20       GOLOMB & HONIK, P.C.
CLEMENTE, ROSA              NJ - Superior Court - Atlantic County      ATL-L-001107-21       GOLOMB & HONIK, P.C.
CLIVER, SUSAN               NJ - Superior Court - Atlantic County      ATL-L-001044-21       GOLOMB & HONIK, P.C.
COBB, ALICE                 NJ - Superior Court - Atlantic County      ATL-L-002095-20       GOLOMB & HONIK, P.C.
COCOZZA, JAMIE              NJ - Superior Court - Atlantic County      ATL-L-004169-20       GOLOMB & HONIK, P.C.
COFFIN, LYNN                NJ - Superior Court - Atlantic County      ATL-L-001466-20       GOLOMB & HONIK, P.C.
COLLINS, LINDA              NJ - Superior Court - Atlantic County      ATL-L-002330-20       GOLOMB & HONIK, P.C.
COLON, EMMA                 NJ - Superior Court - Atlantic County      ATL-L-003471-20       GOLOMB & HONIK, P.C.
CONDON, CAROL               NJ - Superior Court - Atlantic County      ATL-L-002185-20       GOLOMB & HONIK, P.C.
CONOVER, TALEKAH            NJ - Superior Court - Atlantic County      ATL-L-002629-21       GOLOMB & HONIK, P.C.
CONTE, JOANNE               NJ - USDC for the District of New Jersey   3:21-cv-12197         GOLOMB & HONIK, P.C.
COOTS, CATHERINE            NJ - Superior Court - Atlantic County      ATL-L-002332-20       GOLOMB & HONIK, P.C.
CORBIN, JILL                NJ - Superior Court - Atlantic County      ATL-L-002523-20       GOLOMB & HONIK, P.C.
CORCORAN, BETSY             NJ - Superior Court - Atlantic County      ATL-L-002524-20       GOLOMB & HONIK, P.C.
CORDES, JO-ANN              NJ - Superior Court - Atlantic County      ATL-L-003317-20       GOLOMB & HONIK, P.C.
CORTES, RAMONITA            NJ - Superior Court - Atlantic County      ATL-L-003318-20       GOLOMB & HONIK, P.C.
COULTER, SHERRY             NJ - Superior Court - Atlantic County      ATL-L-003898-20       GOLOMB & HONIK, P.C.
COX, JAZZMIN                NJ - Superior Court - Atlantic County      ATL-L-001846-21       GOLOMB & HONIK, P.C.
CRINER, SALLY               NJ - Superior Court - Atlantic County      ATL-L-002215-20       GOLOMB & HONIK, P.C.
CRIOLLO, GUADALUPE          NJ - USDC for the District of New Jersey   3:21-cv-10591         GOLOMB & HONIK, P.C.
CROSS, ELIZABETH            NJ - Superior Court - Atlantic County      ATL_L-002525-20       GOLOMB & HONIK, P.C.
CROSSLAND-MALLOY, BEVERLY   NJ - Superior Court - Atlantic County      ATL-L-004201-20       GOLOMB & HONIK, P.C.
CROXTON, JOANN              NJ - Superior Court - Atlantic County      ATL-L-002334-20       GOLOMB & HONIK, P.C.
CROXTON, LEAH               NJ - Superior Court - Atlantic County      ATL-L-002442-20       GOLOMB & HONIK, P.C.
CRUSE, DEBORAH              NJ - Superior Court - Atlantic County      ATL-L-002600-20       GOLOMB & HONIK, P.C.
CULLEN, FRANCES             NJ - Superior Court - Atlantic County      ATL-L-002335-20       GOLOMB & HONIK, P.C.
CULP, JERRLYN               NJ - Superior Court - Atlantic County      ATL-L-002338-20       GOLOMB & HONIK, P.C.
CUMBY, SANDRA               NJ - Superior Court - Atlantic County      ATL-L-002443-20       GOLOMB & HONIK, P.C.




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CUNNINGHAM, PAMELA            NJ - Superior Court - Atlantic County      ATL-L-002526-20       GOLOMB & HONIK, P.C.
CURTIN, KATHLEEN              NJ - Superior Court - Atlantic County      ATL-L-002339-20       GOLOMB & HONIK, P.C.
CYNEWSKI, ALTHEA              NJ - Superior Court - Atlantic County      ATL-L-002527-20       GOLOMB & HONIK, P.C.
DALTON, BEVERLY               NJ - Superior Court - Atlantic County      ATL-L-002589-20       GOLOMB & HONIK, P.C.
DANNA, ROSA                   NJ - Superior Court - Atlantic County      ATL-L-003383-20       GOLOMB & HONIK, P.C.
DAVID, MARY                   NJ - Superior Court - Atlantic County      ATL-L-002444-20       GOLOMB & HONIK, P.C.
DAVIS, KATHLEEN               NJ - Superior Court - Atlantic County      ATL-L-000408-21       GOLOMB & HONIK, P.C.
DAVLIN, MIKELLE               NJ - Superior Court - Atlantic County      ATL-L-003384-20       GOLOMB & HONIK, P.C.
DAWKINS, CONSTANCE            NJ - Superior Court - Atlantic County      ATL-L-002169-18       GOLOMB & HONIK, P.C.
DE LUCA, JOYCE                NJ - Superior Court - Atlantic County      ATL-L-00079-21        GOLOMB & HONIK, P.C.
DECAUSEY, YVONNE              NJ - Superior Court - Atlantic County      ATL-L-003753-20       GOLOMB & HONIK, P.C.
DEGROOT, JANICE               NJ - Superior Court - Atlantic County      ATL-L-002217-20       GOLOMB & HONIK, P.C.
DEKLEIN, YVONNE               NJ - Superior Court - Atlantic County      ATL-L-002218-20       GOLOMB & HONIK, P.C.
DELANOY, DENISE               NJ - Superior Court - Atlantic County      ATL-L-001869-20       GOLOMB & HONIK, P.C.
DELCOURT, AMY                 NJ - Superior Court - Atlantic County      ATL-L-002219-20       GOLOMB & HONIK, P.C.
DELEON, NAYADE                NJ - Superior Court - Atlantic County      ATL-L-001467-20       GOLOMB & HONIK, P.C.
DELIBERTO, ELEANORA           NJ - Superior Court - Atlantic County      ATL-L-001573-21       GOLOMB & HONIK, P.C.
DEMARCO, GRACE                NJ - Superior Court - Atlantic County      ATL-L-000858-18       GOLOMB & HONIK, P.C.
DIBBERN, STEPHANIE            NJ - Superior Court - Atlantic County      ATL-L-002247-20       GOLOMB & HONIK, P.C.
DIDONATO, LORETTA             NJ - Superior Court - Atlantic County      ATL-L-004007-20       GOLOMB & HONIK, P.C.
DIFRANCESCO, MAUREEN          NJ - Superior Court - Atlantic County      ATL-L-002347-20       GOLOMB & HONIK, P.C.
DIMARINO, ROSE                NJ - Superior Court - Atlantic County      ATL-L-002340-20       GOLOMB & HONIK, P.C.
DOIEL, DEBORAH                NJ - Superior Court - Atlantic County      ATL-L-002096-20       GOLOMB & HONIK, P.C.
DORAME, CARMEN                NJ - Superior Court - Atlantic County      ATL-L-002574-20       GOLOMB & HONIK, P.C.
DORN, THERESA                 NJ - Superior Court - Atlantic County      ATL-L-002366-20       GOLOMB & HONIK, P.C.
DOSTAL, KAREN                 NJ - Superior Court - Atlantic County      ATL-L-002367-20       GOLOMB & HONIK, P.C.
DREER, TERESA                 NJ - Superior Court - Atlantic County      ATL-L-002103-20       GOLOMB & HONIK, P.C.
DUELL, LONNETTE               NJ - Superior Court - Atlantic County      ATL-L-002208-20       GOLOMB & HONIK, P.C.
DUJULIO, FAITH                NJ - USDC for the District of New Jersey   3:20-cv-12334         GOLOMB & HONIK, P.C.
DUMORMAY, MARIE               NJ - Superior Court - Atlantic County      ATL-L-002070-21       GOLOMB & HONIK, P.C.
DUNCAN, MARILYN               NJ - Superior Court - Atlantic County      ATL-L-002355-20       GOLOMB & HONIK, P.C.
DUNN, DRAMONDA                NJ - Superior Court - Atlantic County      ATL-L-002445-20       GOLOMB & HONIK, P.C.
DYER, BARBARA                 NJ - Superior Court - Atlantic County      ATL-L-003385-20       GOLOMB & HONIK, P.C.
DYSART, GERALDINE             NJ - Superior Court - Atlantic County      ATL-L-002446-20       GOLOMB & HONIK, P.C.
EASTER, GLENDA                NJ - Superior Court - Atlantic County      ATL-L-002368-20       GOLOMB & HONIK, P.C.
ECK, KELLY                    NJ - Superior Court - Atlantic County      ATL-L-002369-20       GOLOMB & HONIK, P.C.
EDWARDS, DAWN                 NJ - Superior Court - Atlantic County      ATL-L-004168-20       GOLOMB & HONIK, P.C.
EEL, PENELOPE                 NJ - Superior Court - Atlantic County      ATL-L-004064-20       GOLOMB & HONIK, P.C.
EFFLANDT, ANN                 NJ - Superior Court - Atlantic County      ATL-L-002575-20       GOLOMB & HONIK, P.C.
EICH, KATHERINE               NJ - Superior Court - Atlantic County      ATL-L-000484-21       GOLOMB & HONIK, P.C.
ELEDGE, DOROTHY               NJ - Superior Court - Atlantic County      ATL-L-002447-20       GOLOMB & HONIK, P.C.
EMANUEL, CHARLENE             NJ - Superior Court - Atlantic County      ATL-L-002448-20       GOLOMB & HONIK, P.C.
EMMA, GAIL                    NJ - Superior Court - Atlantic County      ATL-L-002835-20       GOLOMB & HONIK, P.C.
EMMANUEL, SVETLANA            NJ - Superior Court - Atlantic County      ATL-L-000171-21       GOLOMB & HONIK, P.C.
EMPERIO, DELIACORAZON         NJ - Superior Court - Atlantic County      ATL-001601-20         GOLOMB & HONIK, P.C.
ERNST, KAREN                  NJ - Superior Court - Atlantic County      ATL-L-002220-20       GOLOMB & HONIK, P.C.
ESPINOSA, PAMELA              NJ - Superior Court - Atlantic County      ATL-L-002370-20       GOLOMB & HONIK, P.C.
ESPINOZA, YOLANDA             NJ - Superior Court - Atlantic County      ATL-L-002221-20       GOLOMB & HONIK, P.C.
EVANS, EMMA                   NJ - Superior Court - Atlantic County      ATL-L-002222-20       GOLOMB & HONIK, P.C.
EVERETT, SHERRI               NJ - Superior Court - Atlantic County      ATL-L-002728-21       GOLOMB & HONIK, P.C.
EWELL, HELEN                  NJ - Superior Court - Atlantic County      ATL-L-001046-21       GOLOMB & HONIK, P.C.
FALCO, SUE                    NJ - Superior Court - Atlantic County      ATL-L-001314-21       GOLOMB & HONIK, P.C.
FARTHING, MARCIA              NJ - Superior Court - Atlantic County      ATL-L-002223-20       GOLOMB & HONIK, P.C.
FELIZ, MARLENE                NJ - Superior Court - Atlantic County      ATL-L-003319-20       GOLOMB & HONIK, P.C.
FELL, ALISA                   NJ - USDC for the District of New Jersey   3:21-cv-14278         GOLOMB & HONIK, P.C.
FERNANDEZ, H. PATRICIA        NJ - Superior Court - Atlantic County      ATL-L-002688-20       GOLOMB & HONIK, P.C.
FIELDS, KORRI                 NJ - Superior Court - Atlantic County      ATL-L-002449-20       GOLOMB & HONIK, P.C.
FIENAGHA, VIOLA               NJ - Superior Court - Atlantic County      ATL-L-001468-20       GOLOMB & HONIK, P.C.
FILLEY, BETH                  NJ - Superior Court - Atlantic County      ATL-L-002104-20       GOLOMB & HONIK, P.C.
FLEITES, ROSA                 NJ - Superior Court - Atlantic County      ATL-L-000428-21       GOLOMB & HONIK, P.C.
FLETCHER, LEZLIE              NJ - Superior Court - Atlantic County      ATL-L-002224-20       GOLOMB & HONIK, P.C.
FLORES, CLAUDIA               NJ - Superior Court - Atlantic County      ATL-L-002371-20       GOLOMB & HONIK, P.C.
FLORES, DIXIE                 NJ - Superior Court - Atlantic County      ATL-L-002225-20       GOLOMB & HONIK, P.C.
FLORES, YRANIA                NJ - Superior Court - Atlantic County      ATL-L-000584-21       GOLOMB & HONIK, P.C.
FOLKS, LENDA                  NJ - Superior Court - Atlantic County      ATL-L-002212-20       GOLOMB & HONIK, P.C.
FORD, LYNDA                   NJ - Superior Court - Atlantic County      ATL-L-000300-21       GOLOMB & HONIK, P.C.
FOSTER, EVA                   NJ - Superior Court - Atlantic County      ATL-L-002450-20       GOLOMB & HONIK, P.C.
FOURNIER, REBECCA             NJ - Superior Court - Atlantic County      ATL-L-002105-20       GOLOMB & HONIK, P.C.
FOX, DEBORAH                  NJ - Superior Court - Atlantic County      ATL-L-002372-20       GOLOMB & HONIK, P.C.
FRANKLIN, CYNTHIA             NJ - Superior Court - Atlantic County      ATL-L-002528-20       GOLOMB & HONIK, P.C.
FRANKLIN, ELOISE              NJ - Superior Court - Atlantic County      ATL-L-002451-20       GOLOMB & HONIK, P.C.
FRANKLIN-JACKSON, SHARINESE   NJ - Superior Court - Atlantic County      ATL-L-002106-20       GOLOMB & HONIK, P.C.
FREDENBURGH, LEONORA          NJ - Superior Court - Atlantic County      ATL-L-001491-20       GOLOMB & HONIK, P.C.
FREEMAN, ALETHA               NJ - Superior Court - Atlantic County      ATL-L002453-20        GOLOMB & HONIK, P.C.
FREEMAN, JACQUELYN            NJ - Superior Court - Atlantic County      ATL-L-001469-20       GOLOMB & HONIK, P.C.
FRELIX, SANDRA                NJ - USDC for the District of New Jersey   3:21-cv-13391         GOLOMB & HONIK, P.C.
FRITZ, TANYA                  NJ - Superior Court - Atlantic County      ATL-L-002529-20       GOLOMB & HONIK, P.C.
FROCK, MEGHAN                 NJ - Superior Court - Atlantic County      ATL-L-001492-20       GOLOMB & HONIK, P.C.
FULFER, WANDA                 NJ - Superior Court - Atlantic County      ATL-L-002606-20       GOLOMB & HONIK, P.C.
FUSCO, REGINA                 NJ - Superior Court - Atlantic County      ATL-L-002373-20       GOLOMB & HONIK, P.C.




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GAINES, GWENDOLYN         NJ - Superior Court - Atlantic County      ATL-L-001617-21       GOLOMB & HONIK, P.C.
GAINEY, MARY              NJ - Superior Court - Atlantic County      ATL-L-002710-20       GOLOMB & HONIK, P.C.
GARAFALO, DALE            NJ - Superior Court - Atlantic County      ATL-L-002163-18       GOLOMB & HONIK, P.C.
GARDNER, ANNA             NJ - Superior Court - Atlantic County      ATL-L-002530-20       GOLOMB & HONIK, P.C.
GARZA, MARJORIE           NJ - Superior Court - Atlantic County      ATL-L-002456-20       GOLOMB & HONIK, P.C.
GATANIS, BARBARA          NJ - Superior Court - Atlantic County      ATL-L-004259-20       GOLOMB & HONIK, P.C.
GAYNES, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-14352         GOLOMB & HONIK, P.C.
GEBARA, GAIL              NJ - Superior Court - Atlantic County      ATL-L-002127-20       GOLOMB & HONIK, P.C.
GELZINIS, ELEANOR         NJ - Superior Court - Atlantic County      ATL-L-000900-21       GOLOMB & HONIK, P.C.
GELZINIS, ELEANOR         NJ - Superior Court - Atlantic County      ATL-L-000900-21       GOLOMB & HONIK, P.C.
GETZ, MARYANNA            NJ - Superior Court - Atlantic County      ATL-L-002628-21       GOLOMB & HONIK, P.C.
GILCHRIST, BETHANESE      NJ - Superior Court - Atlantic County      ATL-L-001870-20       GOLOMB & HONIK, P.C.
GILDHARRY, LILOUTIE       NJ - USDC for the District of New Jersey   3:21-cv-13662         GOLOMB & HONIK, P.C.
GILES, GAIL               NJ - Superior Court - Atlantic County      ATL-L-002226-20       GOLOMB & HONIK, P.C.
GILPIN, LAVITA            NJ - Superior Court - Atlantic County      ATL-L-002457-20       GOLOMB & HONIK, P.C.
GIUSTI, ELEANOR           NJ - Superior Court - Atlantic County      ATL-L-002598-20       GOLOMB & HONIK, P.C.
GOETTSCH, DARLENE         NJ - Superior Court - Atlantic County      ATL-L-002227-20       GOLOMB & HONIK, P.C.
GOLDEN, ROSEMARY          NJ - Superior Court - Atlantic County      ATL-L003133-21-       GOLOMB & HONIK, P.C.
GOLOMBEK, PATRICIA        NJ - Superior Court - Atlantic County      ATL-L-002228-20       GOLOMB & HONIK, P.C.
GOMAN, SUSAN              NJ - Superior Court - Atlantic County      ATL-L002109-20        GOLOMB & HONIK, P.C.
GONZALES, ERIKA           NJ - Superior Court - Atlantic County      ATL-L-002273-20       GOLOMB & HONIK, P.C.
GONZALES, JAMIE           NJ - Superior Court - Atlantic County      ATL-L-002518-20       GOLOMB & HONIK, P.C.
GONZALEZ, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-11125         GOLOMB & HONIK, P.C.
GOODRICH, ALICE           NJ - Superior Court - Atlantic County      ATL-L-002274-20       GOLOMB & HONIK, P.C.
GOREE, LESHIA             NJ - Superior Court - Atlantic County      ATL-L-002709-20       GOLOMB & HONIK, P.C.
GOTZLER, KAREN            NJ - Superior Court - Atlantic County      ATL-L-002110-20       GOLOMB & HONIK, P.C.
GRANDE, REBECCA           NJ - Superior Court - Atlantic County      ATL-L-002275-20       GOLOMB & HONIK, P.C.
GRAY, KATHY               NJ - Superior Court - Atlantic County      ATL-L-002276-20       GOLOMB & HONIK, P.C.
GREER, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-002229-20       GOLOMB & HONIK, P.C.
GRELL, MIRIAM             NJ - Superior Court - Atlantic County      ATL-L-002065-21       GOLOMB & HONIK, P.C.
GROCE, JULIE              NJ - Superior Court - Atlantic County      ATL-L-002531-20       GOLOMB & HONIK, P.C.
GUBECKA, ALAINA           NJ - Superior Court - Atlantic County      ATL-L-002230-20       GOLOMB & HONIK, P.C.
GUERRERO, JUANA           NJ - Superior Court - Atlantic County      ATL-L-002458-20       GOLOMB & HONIK, P.C.
GUMM, BRENDA              NJ - Superior Court - Atlantic County      ATL-L-002155-20       GOLOMB & HONIK, P.C.
GUTHEIL, DENISE           NJ - Superior Court - Atlantic County      ATL-L-003386-20       GOLOMB & HONIK, P.C.
GUTIERREZ, JESSICA        NJ - Superior Court - Atlantic County      ATL-L-002277-20       GOLOMB & HONIK, P.C.
GUTIERREZ, LINDA          NJ - Superior Court - Atlantic County      ATL-L-002459-20       GOLOMB & HONIK, P.C.
GUTIERREZ, NELDA          NJ - Superior Court - Atlantic County      ATL-L-002278-20       GOLOMB & HONIK, P.C.
HALTERMAN, BETHANY        NJ - Superior Court - Atlantic County      ATL-L-002140-20       GOLOMB & HONIK, P.C.
HAMILL, CATHERINE         NJ - Superior Court - Atlantic County      ATL-L-002279-20       GOLOMB & HONIK, P.C.
HARBAUGH, BEVERLY         NJ - Superior Court - Atlantic County      ATL-L-002280-20       GOLOMB & HONIK, P.C.
HARPER, MARY              NJ - Superior Court - Atlantic County      ATL-L-002532-20       GOLOMB & HONIK, P.C.
HARRAKA, JANICE           NJ - Superior Court - Atlantic County      ATL-L-001114-21       GOLOMB & HONIK, P.C.
HARRELL, CATHERINE        NJ - Superior Court - Atlantic County      ATL-L-002536-20       GOLOMB & HONIK, P.C.
HART, SAHAJA              NJ - Superior Court - Atlantic County      ATL-L-002062-21       GOLOMB & HONIK, P.C.
HATTAN, EILEEN            NJ - Superior Court - Atlantic County      ATL-L-002460-20       GOLOMB & HONIK, P.C.
HAYES, SHIRLEY            NJ - Superior Court - Atlantic County      ATL-L-002111-20       GOLOMB & HONIK, P.C.
HECKER, GERALDINE         NJ - Superior Court - Atlantic County      ATL-L-002282-20       GOLOMB & HONIK, P.C.
HEMMIN, MICHELLE          NJ - Superior Court - Atlantic County      ATL-L-002112-20       GOLOMB & HONIK, P.C.
HENNON, PENELOPE          NJ - Superior Court - Atlantic County      ATL-L-002283-20       GOLOMB & HONIK, P.C.
HERNANDEZ, LYSETTE        NJ - Superior Court - Atlantic County      ATL-L-000173-21       GOLOMB & HONIK, P.C.
HERTEL, KRISTEN           NJ - Superior Court - Atlantic County      ATL-L-002537-20       GOLOMB & HONIK, P.C.
HESS, MARCIA              NJ - Superior Court - Atlantic County      ATL-L-002284-20       GOLOMB & HONIK, P.C.
HEUERTZ, SHELLY           NJ - Superior Court - Atlantic County      ATL-L-002231-20       GOLOMB & HONIK, P.C.
HINKLE, PAMELA            NJ - Superior Court - Atlantic County      ATL-L-002538-20       GOLOMB & HONIK, P.C.
HINOJOSA, DOLORES         NJ - Superior Court - Atlantic County      ATL-L-002285-20       GOLOMB & HONIK, P.C.
HINTZ-RUSH, CINDY         NJ - Superior Court - Atlantic County      ATL-L-002264-20       GOLOMB & HONIK, P.C.
HITTLER, LISA             NJ - Superior Court - Atlantic County      ATL-L-002253-20       GOLOMB & HONIK, P.C.
HOBSCHAIDT, LYNN          NJ - Superior Court - Atlantic County      ATL-L-001871-20       GOLOMB & HONIK, P.C.
HODGES, KATHY             NJ - Superior Court - Atlantic County      ATL-L-002286-20       GOLOMB & HONIK, P.C.
HOFF, LILLIAN             NJ - Superior Court - Atlantic County      ATL-L-001872-20       GOLOMB & HONIK, P.C.
HOFFMAN, SHEILA           NJ - Superior Court - Atlantic County      ATL-L-002254-20       GOLOMB & HONIK, P.C.
HOLLAND, RASHEEDA         NJ - Superior Court - Atlantic County      ATL-L-000486-21       GOLOMB & HONIK, P.C.
HOLLERBACH, KAREN         NJ - Superior Court - Atlantic County      ATL-L-002484-20       GOLOMB & HONIK, P.C.
HOLLEY, CLARA             NJ - Superior Court - Atlantic County      ATL-L-001873-20       GOLOMB & HONIK, P.C.
HOLTMAN, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-002113-20       GOLOMB & HONIK, P.C.
HOLTS, MARSHA             NJ - Superior Court - Atlantic County      ATL-L-001872-21       GOLOMB & HONIK, P.C.
HOOD, MARTHA              NJ - Superior Court - Atlantic County      ATL-L-002114-20       GOLOMB & HONIK, P.C.
HOOK, ROSE                NJ - Superior Court - Atlantic County      ATL-L-002708-20       GOLOMB & HONIK, P.C.
HOUSER, DONNA             NJ - Superior Court - Atlantic County      ATL-L-002232-20       GOLOMB & HONIK, P.C.
HOUSTON, HALEY            NJ - Superior Court - Atlantic County      ATL-L-002287-20       GOLOMB & HONIK, P.C.
HOVORKA, JUDITH           NJ - Superior Court - Atlantic County      ATL-L-002255-20       GOLOMB & HONIK, P.C.
HOYLE, TANYA              NJ - Superior Court - Atlantic County      ATL-L-002539-20       GOLOMB & HONIK, P.C.
HUNT, ABIGAIL             NJ - Superior Court - Atlantic County      ATL-L-002462-20       GOLOMB & HONIK, P.C.
HUSSUNG, HOPE             NJ - Superior Court - Atlantic County      ATL-L002115-20        GOLOMB & HONIK, P.C.
HUTCHINSON, BERNA         NJ - Superior Court - Atlantic County      ATL-L-002233-20       GOLOMB & HONIK, P.C.
IANNARONE, DIANE          NJ - Superior Court - Atlantic County      ATL-L-003492-20       GOLOMB & HONIK, P.C.
INCALCATERA, EILEEN       NJ - Superior Court - Atlantic County      ATL-L-002831-21       GOLOMB & HONIK, P.C.
ISAGUIRRE, CYNTHIA        NJ - Superior Court - Atlantic County      ATL-L-002288-20       GOLOMB & HONIK, P.C.
JACKSON, HILDA            NJ - Superior Court - Atlantic County      ATL-L-002540-20       GOLOMB & HONIK, P.C.




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JOHNSON, ALICE            NJ - Superior Court - Atlantic County      ATL-L-002116-20       GOLOMB & HONIK, P.C.
JOHNSON, DENISE           NJ - Superior Court - Atlantic County      ATL-L-002291-20       GOLOMB & HONIK, P.C.
JOHNSON, JULIE            NJ - Superior Court - Atlantic County      ATL-L-002256-20       GOLOMB & HONIK, P.C.
JONAS, WILHEMINA          NJ - Superior Court - Atlantic County      ATL-L-002072-21       GOLOMB & HONIK, P.C.
JONES, CONNIE             NJ - Superior Court - Atlantic County      ATL-L-002292-20       GOLOMB & HONIK, P.C.
JONES, CYNTHIA            NJ - Superior Court - Atlantic County      ATL-L-002463-20       GOLOMB & HONIK, P.C.
JONES, DIANE              NJ - Superior Court - Atlantic County      ATL-L-002541-20       GOLOMB & HONIK, P.C.
JONES, MARY               NJ - Superior Court - Atlantic County      ATL-L-002257-20       GOLOMB & HONIK, P.C.
JONES, SYLVIA             NJ - Superior Court - Atlantic County      ATL-L-002293-20       GOLOMB & HONIK, P.C.
JOOS, GLORIA              NJ - Superior Court - Atlantic County      ATL-L-002542-20       GOLOMB & HONIK, P.C.
JORDAN, VALERIE           NJ - Superior Court - Atlantic County      ATL-L-000714-21       GOLOMB & HONIK, P.C.
JUDY, WILMA               NJ - Superior Court - Atlantic County      ATL-L-002234-20       GOLOMB & HONIK, P.C.
KALAMDANI, NUTAN          NJ - Superior Court - Atlantic County      ATL-L-002509-21       GOLOMB & HONIK, P.C.
KANNADY, CYNTHIA          NJ - Superior Court - Atlantic County      ATL-L-002213-20       GOLOMB & HONIK, P.C.
KASPAR, LORI              NJ - Superior Court - Atlantic County      ATL-L-001495-21       GOLOMB & HONIK, P.C.
KASSIMALI, MAUREEN        NJ - Superior Court - Atlantic County      ATL-L-002117-20       GOLOMB & HONIK, P.C.
KASTNER, PATRICIA         NJ - Superior Court - Atlantic County      ATL-L-002836-21       GOLOMB & HONIK, P.C.
KAUFFMAN, JANET           NJ - USDC for the District of New Jersey   3:20-cv-15258         GOLOMB & HONIK, P.C.
KEENAN, BONNIE            NJ - Superior Court - Atlantic County      ATL-L-000487-21       GOLOMB & HONIK, P.C.
KELLEY, LINDA             NJ - Superior Court - Atlantic County      ATL-L-003320-20       GOLOMB & HONIK, P.C.
KELLOGG, NATALIE          NJ - Superior Court - Atlantic County      ATL-L-002295-20       GOLOMB & HONIK, P.C.
KELLY, KAREN              NJ - Superior Court - Atlantic County      ATL-L-002235-20       GOLOMB & HONIK, P.C.
KELLY, MARGARET           NJ - Superior Court - Atlantic County      ATL-L-002543-20       GOLOMB & HONIK, P.C.
KELLY, MAY                NJ - Superior Court - Atlantic County      ATL-L-001058-21       GOLOMB & HONIK, P.C.
KELLY, TRINITY            NJ - Superior Court - Atlantic County      ATL-L-002214-20       GOLOMB & HONIK, P.C.
KERRIGAN, KAREN           NJ - Superior Court - Atlantic County      ATL-L-000151-21       GOLOMB & HONIK, P.C.
KIM, JUNGHYUN             NJ - Superior Court - Atlantic County      ATL-L-002073-20       GOLOMB & HONIK, P.C.
KIMPLE, CINDY             NJ - Superior Court - Atlantic County      ATL-L-002577-20       GOLOMB & HONIK, P.C.
KING, CHRISTIANA          NJ - Superior Court - Atlantic County      ATL-L-001312-21       GOLOMB & HONIK, P.C.
KIRBY, DANA               NJ - Superior Court - Atlantic County      ATL-L-002296-20       GOLOMB & HONIK, P.C.
KIRBY, SHEILA             NJ - Superior Court - Atlantic County      ATL-L-001874-20       GOLOMB & HONIK, P.C.
KITTS, LINDA              NJ - Superior Court - Atlantic County      ATL-L-001875-20       GOLOMB & HONIK, P.C.
KLAW, TERESA              NJ - Superior Court - Atlantic County      ATL-L-002705-20       GOLOMB & HONIK, P.C.
KNOX, JOYCE               NJ - Superior Court - Atlantic County      ATL-L-002544-20       GOLOMB & HONIK, P.C.
KNUTSON, JOYCE            NJ - Superior Court - Atlantic County      ATL-L-002143-20       GOLOMB & HONIK, P.C.
KOENTOPP, MINDY           NJ - Superior Court - Atlantic County      ATL-L-002237-20       GOLOMB & HONIK, P.C.
KORKMAZ, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-000273-21       GOLOMB & HONIK, P.C.
KOROLEWICZ, JUDY          NJ - Superior Court - Atlantic County      ATL-L-003387-20       GOLOMB & HONIK, P.C.
KORTH, LINDA              NJ - Superior Court - Atlantic County      ATL-L-002211-20       GOLOMB & HONIK, P.C.
KRAINSKI, CATHY           NJ - Superior Court - Atlantic County      ATL-L-001489-20       GOLOMB & HONIK, P.C.
KRANTMAN, VICKIE          NJ - Superior Court - Atlantic County      ATL-L-002297-20       GOLOMB & HONIK, P.C.
KRASON, AUDREY            NJ - Superior Court - Atlantic County      ATL-L-001876-20       GOLOMB & HONIK, P.C.
KRASOVEC, JUDY            NJ - Superior Court - Atlantic County      ATL-L-002465-20       GOLOMB & HONIK, P.C.
KRENIS, DENISE            NJ - Superior Court - Atlantic County      ATL-L-002464-18       GOLOMB & HONIK, P.C.
KROCIAN, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-002071-20       GOLOMB & HONIK, P.C.
KROCKER, PATRICIA         NJ - Superior Court - Atlantic County      ATL-L-002118-20       GOLOMB & HONIK, P.C.
KYNCL, CONNIE             NJ - Superior Court - Atlantic County      ATL-L-002119-20       GOLOMB & HONIK, P.C.
LACOUR, PEGGY             NJ - Superior Court - Atlantic County      ATL-L-002120-20       GOLOMB & HONIK, P.C.
LAFLAMME, BEVERLY         NJ - Superior Court - Atlantic County      ATL-L-002181-20       GOLOMB & HONIK, P.C.
LANDELLS, CAROL           NJ - Superior Court - Atlantic County      ATL-L-002463-18       GOLOMB & HONIK, P.C.
LANGSTON, WILETTA         NJ - Superior Court - Atlantic County      ATL-L-002298-20       GOLOMB & HONIK, P.C.
LAPLANTE, ANN             NJ - Superior Court - Atlantic County      ATL-L-002299-20       GOLOMB & HONIK, P.C.
LARSON, DIANE             NJ - Superior Court - Atlantic County      ATL-L-002545-20       GOLOMB & HONIK, P.C.
LATHAM, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-001871-21       GOLOMB & HONIK, P.C.
LEATH, GAYNELL            NJ - Superior Court - Atlantic County      ATL-L-002362-20       GOLOMB & HONIK, P.C.
LEE, CATHY                NJ - Superior Court - Atlantic County      ATL-L-002467-20       GOLOMB & HONIK, P.C.
LEWANDOWSKI, DEBORAH      NJ - Superior Court - Atlantic County      ATL-L-002238-20       GOLOMB & HONIK, P.C.
LIECHTY, JOAN             NJ - Superior Court - Atlantic County      ATL-L-002301-20       GOLOMB & HONIK, P.C.
LIGHTWINE, COLLEEN        NJ - Superior Court - Atlantic County      ATL-L-002122-20       GOLOMB & HONIK, P.C.
LILEY, JACQUELINE         NJ - Superior Court - Atlantic County      ATL-L-002239-20       GOLOMB & HONIK, P.C.
LINTON, JONI              NJ - Superior Court - Atlantic County      ATL-L-002468-20       GOLOMB & HONIK, P.C.
LOCICERO, ANNE            NJ - Superior Court - Atlantic County      ATL-L-002704-20       GOLOMB & HONIK, P.C.
LOMELO, DEBORAH           NJ - Superior Court - Atlantic County      ATL-L-002535-21       GOLOMB & HONIK, P.C.
LONGO, VICTORIA           NJ - Superior Court - Atlantic County      ATL-L-002592-20       GOLOMB & HONIK, P.C.
LOPEZ, MARTA              NJ - Superior Court - Atlantic County      ATL-L-000778-21       GOLOMB & HONIK, P.C.
LOSTOCCO, GERALDINE       NJ - Superior Court - Atlantic County      ATL-L-001311-21       GOLOMB & HONIK, P.C.
LUNA, BISSOONDAI          NJ - Superior Court - Atlantic County      ATL-L-003472-20       GOLOMB & HONIK, P.C.
LUNA, MAGGIE              NJ - Superior Court - Atlantic County      ATL-L-002123-20       GOLOMB & HONIK, P.C.
LYDEN, SHARYN             NJ - Superior Court - Atlantic County      ATL-L-002703-20       GOLOMB & HONIK, P.C.
LYSZCZAK, MARLENE         NJ - Superior Court - Atlantic County      ATL-L-001059-21       GOLOMB & HONIK, P.C.
MACDONALD, LAURA          NJ - Superior Court - Atlantic County      ATL-L-002138-20       GOLOMB & HONIK, P.C.
MADDERN, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-002383-20       GOLOMB & HONIK, P.C.
MAGLIOCHETTI, MICHELLE    NJ - Superior Court - Atlantic County      ATL-L-002171-20       GOLOMB & HONIK, P.C.
MALLIA-STACHE, JO-ANN     NJ - Superior Court - Atlantic County      ATL-L-002304-20       GOLOMB & HONIK, P.C.
MANTEGNA, DEBBI           NJ - Superior Court - Atlantic County      ATL-L-001868-21       GOLOMB & HONIK, P.C.
MANTEL, MARY              NJ - Superior Court - Atlantic County      ATL-L-002290-20       GOLOMB & HONIK, P.C.
MARCHESE, DEBORAH         NJ - Superior Court - Atlantic County      ATL-L-000899-21       GOLOMB & HONIK, P.C.
MARINELLI, VERONICA       NJ - Superior Court - Atlantic County      ATL-L-000641-21       GOLOMB & HONIK, P.C.
MARTIN, ANNA              NJ - Superior Court - Atlantic County      ATL-L-002546-20       GOLOMB & HONIK, P.C.
MARTIN, KARLA             NJ - Superior Court - Atlantic County      ATL-L-002305-20       GOLOMB & HONIK, P.C.




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
MARTIN, LINDA               NJ - Superior Court - Atlantic County      ATL-L-002469-20       GOLOMB & HONIK, P.C.
MARTINEZ, MARRY             NJ - Superior Court - Atlantic County      ATL-L-002470-20       GOLOMB & HONIK, P.C.
MARTINEZ-BAEZA, ELIZABETH   NJ - Superior Court - Atlantic County      ATL-L-002471-20       GOLOMB & HONIK, P.C.
MARTINSON, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-002125-20       GOLOMB & HONIK, P.C.
MASLOWSKI, JANET            NJ - Superior Court - Atlantic County      ATL-L-002547-20       GOLOMB & HONIK, P.C.
MASSETTI, KIMBERLY          NJ - Superior Court - Atlantic County      ATL-L-002578-20       GOLOMB & HONIK, P.C.
MASSINGILL, PAMELA          NJ - Superior Court - Atlantic County      ATL-L-002174-20       GOLOMB & HONIK, P.C.
MATSON, LISA                NJ - Superior Court - Atlantic County      ATL-L-002126-20       GOLOMB & HONIK, P.C.
MATTHEWS, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-002176-20       GOLOMB & HONIK, P.C.
MATTINGLY, JO               NJ - Superior Court - Atlantic County      ATL-L-002548-20       GOLOMB & HONIK, P.C.
MAYFIELD, THEODORA          NJ - Superior Court - Atlantic County      ATL-L-002549-20       GOLOMB & HONIK, P.C.
MCCARTY, ELIZABETH          NJ - Superior Court - Atlantic County      ATL-L-000407-21       GOLOMB & HONIK, P.C.
MCCOLLINS, SYLVIA           NJ - Superior Court - Atlantic County      ATL-L-002236-20       GOLOMB & HONIK, P.C.
MCCONNELL, LAURA            NJ - Superior Court - Atlantic County      ATL-L-002259-20       GOLOMB & HONIK, P.C.
MCCORMICK, DEBORAH          NJ - Superior Court - Atlantic County      ATL-L-002260-20       GOLOMB & HONIK, P.C.
MCCULLOUGH, PEGGY           NJ - Superior Court - Atlantic County      ATL-L-002307-20       GOLOMB & HONIK, P.C.
MCDONALD, BRITTANY          NJ - Superior Court - Atlantic County      ATL-L-002550-20       GOLOMB & HONIK, P.C.
MCFARLAND, JANIE            NJ - Superior Court - Atlantic County      ATL-L-002551-20       GOLOMB & HONIK, P.C.
MCISAAC, VERONICA           NJ - Superior Court - Atlantic County      ATL-L-002308-20       GOLOMB & HONIK, P.C.
MCKAY, EMER                 NJ - Superior Court - Atlantic County      ATL-L-002461-20       GOLOMB & HONIK, P.C.
MCKENZIE, JENNIFER          NJ - Superior Court - Atlantic County      ATL-L-000180-21       GOLOMB & HONIK, P.C.
MCLOUGHLIN, SHARI           NJ - USDC for the District of New Jersey   3:21-cv-03208         GOLOMB & HONIK, P.C.
MCNAMARA, DEIDRE            NJ - Superior Court - Atlantic County      ATL-L-002250-20       GOLOMB & HONIK, P.C.
MCNATT, VICKIE              NJ - Superior Court - Atlantic County      ATL-L-002309-20       GOLOMB & HONIK, P.C.
MCNELIS, ELISSA             NJ - Superior Court - Atlantic County      ATL-L-002066-21       GOLOMB & HONIK, P.C.
MEARA, DEBORAH              NJ - Superior Court - Atlantic County      ATL-L-002306-20       GOLOMB & HONIK, P.C.
MEDINA, VIENGXAY            NJ - Superior Court - Atlantic County      ATL-L-002552-20       GOLOMB & HONIK, P.C.
MEHREN, MARGARET            NJ - Superior Court - Atlantic County      ATL-L-002311-20       GOLOMB & HONIK, P.C.
MENEFEE, LINDA              NJ - Superior Court - Atlantic County      ATL-L-002473-20       GOLOMB & HONIK, P.C.
MENGEL, DIANE               NJ - Superior Court - Atlantic County      ATL-L-004011-20       GOLOMB & HONIK, P.C.
METOYER, CHARLOTTE          NJ - Superior Court - Atlantic County      ATL-L-002312-20       GOLOMB & HONIK, P.C.
METTETAL, KIMBERLY          NJ - Superior Court - Atlantic County      ATL-L-002553-20       GOLOMB & HONIK, P.C.
METZLER, LINDA              NJ - Superior Court - Atlantic County      ATL-L-001115-21       GOLOMB & HONIK, P.C.
MEYER, GAIL                 NJ - Superior Court - Atlantic County      ATL-L-002261-20       GOLOMB & HONIK, P.C.
MICKENS, GLADYS             NJ - Superior Court - Atlantic County      ATL-L-000299-1        GOLOMB & HONIK, P.C.
MILLER, ELAINE              NJ - Superior Court - Atlantic County      ATL-L-002177-20       GOLOMB & HONIK, P.C.
MILLER, LINDA               NJ - Superior Court - Atlantic County      ATL-L-002343-20       GOLOMB & HONIK, P.C.
MILLER, LINDA               NJ - Superior Court - Atlantic County      ATL-L-002579-20       GOLOMB & HONIK, P.C.
MILLER, SHERRY              NJ - Superior Court - Atlantic County      ATL-L-002554-20       GOLOMB & HONIK, P.C.
MILLS, MARIA                NJ - Superior Court - Atlantic County      ATL-L-001840-21       GOLOMB & HONIK, P.C.
MITCHELL, CLAUDINE          NJ - Superior Court - Atlantic County      ATL-L-002474-20       GOLOMB & HONIK, P.C.
MOLLEUR, JOLIE              NJ - Superior Court - Atlantic County      ATL-L-002555-20       GOLOMB & HONIK, P.C.
MONE, NEETA                 NJ - Superior Court - Atlantic County      ATL-L-003029-20       GOLOMB & HONIK, P.C.
MOON, KOURTNEY              NJ - Superior Court - Atlantic County      ATL-L002475-20        GOLOMB & HONIK, P.C.
MOORE, NANCY                NJ - Superior Court - Atlantic County      ATL-L-001045-21       GOLOMB & HONIK, P.C.
MORGAN, CRYSTAL             NJ - Superior Court - Atlantic County      ATL-L-002478-20       GOLOMB & HONIK, P.C.
MORGAN, JENNIFER            NJ - Superior Court - Atlantic County      ATL-L002476-20        GOLOMB & HONIK, P.C.
MORGAN, MARIE               NJ - Superior Court - Atlantic County      ATL-L-002477-20       GOLOMB & HONIK, P.C.
MORRELL, ARLENE             NJ - Superior Court - Atlantic County      ATL-L-003030-20       GOLOMB & HONIK, P.C.
MORRIS, JESSICA             NJ - Superior Court - Atlantic County      ATL-L-002597-20       GOLOMB & HONIK, P.C.
MORRISON, ANNA              NJ - Superior Court - Atlantic County      ATL-L-001850-20       GOLOMB & HONIK, P.C.
MORTON, CARSON              NJ - Superior Court - Atlantic County      ATL-L-002479-20       GOLOMB & HONIK, P.C.
MOSLEY, LATASHA             NJ - Superior Court - Atlantic County      ATL-L-002480-20       GOLOMB & HONIK, P.C.
MOUNT, JUANITA              NJ - Superior Court - Atlantic County      ATL-L-002179-20       GOLOMB & HONIK, P.C.
MURRAY, LORRAINE            NJ - Superior Court - Atlantic County      ATL-L-000172-21       GOLOMB & HONIK, P.C.
MURRAY, SHARON              NJ - Superior Court - Atlantic County      ATL-L-002601-20       GOLOMB & HONIK, P.C.
MUSCI, LISA                 NJ - Superior Court - Atlantic County      ATL-L-001847-21       GOLOMB & HONIK, P.C.
MYTON, DEBRA                NJ - Superior Court - Atlantic County      ATL-L-002345-20       GOLOMB & HONIK, P.C.
NAVARRETE, MARIA            NJ - Superior Court - Atlantic County      ATL-L-004015-20       GOLOMB & HONIK, P.C.
NELSON, CHARLOTTE           NJ - Superior Court - Atlantic County      ATL-L-002346-20       GOLOMB & HONIK, P.C.
NEUENSWANDER, KELLY         NJ - Superior Court - Atlantic County      ATL-L-002593-20       GOLOMB & HONIK, P.C.
NEWBRAUGH, MURINE           NJ - Superior Court - Atlantic County      ATL-L-002180-20       GOLOMB & HONIK, P.C.
NG, SHERRY                  NJ - Superior Court - Atlantic County      ATL-L-001060-21       GOLOMB & HONIK, P.C.
NICHOLSON, HELEN            NJ - Superior Court - Atlantic County      ATL-L-002129-20       GOLOMB & HONIK, P.C.
NICOSIA, JUDITH             NJ - Superior Court - Atlantic County      ATL-L-002161-18       GOLOMB & HONIK, P.C.
NISSEN, BELMAR              NJ - Superior Court - Atlantic County      ATL-L-001843-21       GOLOMB & HONIK, P.C.
NORCROSS, MELISSA           NJ - Superior Court - Atlantic County      ATL-L-000861-18       GOLOMB & HONIK, P.C.
NORINSKY, RHONA             NJ - Superior Court - Atlantic County      ATL-L-003031-20       GOLOMB & HONIK, P.C.
NOWAKOWSKI, JEANETTE        NJ - Superior Court - Atlantic County      ATL-L-002130-20       GOLOMB & HONIK, P.C.
OCHOA, LORRAINE             NJ - Superior Court - Atlantic County      ATL-L-002348-20       GOLOMB & HONIK, P.C.
OCLANDER, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-002556-20       GOLOMB & HONIK, P.C.
OCONNOR, SHARON             NJ - Superior Court - Atlantic County      ATL-L-002131-20       GOLOMB & HONIK, P.C.
OLIVACZ, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-001061-21       GOLOMB & HONIK, P.C.
OLMELIO, VILMA              NJ - USDC for the District of New Jersey   3:21-cv-15776         GOLOMB & HONIK, P.C.
ORTIZ, NATALIE              NJ - Superior Court - Atlantic County      ATL-L-004014-20       GOLOMB & HONIK, P.C.
OSTERDOCK, APRIL            NJ - Superior Court - Atlantic County      ATL-L-002133-20       GOLOMB & HONIK, P.C.
OWENS, SUSAN                NJ - Superior Court - Atlantic County      ATL-L-002481-20       GOLOMB & HONIK, P.C.
PACKWOOD, CHARLENE          NJ - Superior Court - Atlantic County      ATL-L-003131-21       GOLOMB & HONIK, P.C.
PAPIOMITIS, CYNTHIA         NJ - Superior Court - Atlantic County      ATL-L-003132-21       GOLOMB & HONIK, P.C.
PARISI, LYNDA               NJ - Superior Court - Atlantic County      ATL-L-000583-21       GOLOMB & HONIK, P.C.




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PARISON, JENNIFER           NJ - Superior Court - Atlantic County      ATL-L002482-20        GOLOMB & HONIK, P.C.
PARRISH, VERONICA           NJ - Superior Court - Atlantic County      ATL-L-002068-21       GOLOMB & HONIK, P.C.
PAVEY, ANA                  NJ - Superior Court - Atlantic County      ATL-L-002136-20       GOLOMB & HONIK, P.C.
PEAK, ROBBIN                NJ - Superior Court - Atlantic County      ATL-L-001313-21       GOLOMB & HONIK, P.C.
PENA, LILLIAM               NJ - Superior Court - Atlantic County      ATL-L-004013-20       GOLOMB & HONIK, P.C.
PEREZ, BELEN                NJ - Superior Court - Atlantic County      ATL-L-002349-20       GOLOMB & HONIK, P.C.
PEREZ, MINERBA              NJ - Superior Court - Atlantic County      ATL-L-002837-21       GOLOMB & HONIK, P.C.
PERKOLA, CAROLYN            NJ - Superior Court - Atlantic County      ATL-L-002182-20       GOLOMB & HONIK, P.C.
PERLMAN, ALYSE              NJ - Superior Court - Atlantic County      ATL-L-001117-21       GOLOMB & HONIK, P.C.
PETERSON, DONNA             NJ - Superior Court - Atlantic County      ATL-L-002350-20       GOLOMB & HONIK, P.C.
PFEIFFER, TAMMY             NJ - Superior Court - Atlantic County      ATL-L002485-20        GOLOMB & HONIK, P.C.
PHANOR, LOU                 NJ - Superior Court - Atlantic County      ATL-L-002497-20       GOLOMB & HONIK, P.C.
PHILLIPS, CONNIE            NJ - Superior Court - Atlantic County      ATL-L-002351-20       GOLOMB & HONIK, P.C.
PIACENZA, LORIN             NJ - Superior Court - Atlantic County      ATL-L-002557-20       GOLOMB & HONIK, P.C.
PIERI, PAULINE              NJ - Superior Court - Atlantic County      ATL-L-002352-20       GOLOMB & HONIK, P.C.
PIONTKOWSKI, JOANNE         NJ - Superior Court - Atlantic County      ATL-L-002836-20       GOLOMB & HONIK, P.C.
PIXLER, TRACI               NJ - Superior Court - Atlantic County      ATL-L-002186-20       GOLOMB & HONIK, P.C.
POGORELC, CHERYL            NJ - Superior Court - Atlantic County      ATL-L-002558-20       GOLOMB & HONIK, P.C.
POMEROY, ANN                NJ - Superior Court - Atlantic County      ATL-L-002187-20       GOLOMB & HONIK, P.C.
PORRAZZO, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-002353-20       GOLOMB & HONIK, P.C.
PORTERFIELD, NANCY          NJ - Superior Court - Atlantic County      ATL-L-002354-20       GOLOMB & HONIK, P.C.
POULIN, CAROL               NJ - Superior Court - Atlantic County      ATL-L-002188-20       GOLOMB & HONIK, P.C.
PRESCOTT, SUSAN             NJ - Superior Court - Atlantic County      ATL-L-002559-20       GOLOMB & HONIK, P.C.
PRETTYPAINT, LORI           NJ - Superior Court - Atlantic County      ATL-L-002189-20       GOLOMB & HONIK, P.C.
PRICE, ERIKA                NJ - Superior Court - Atlantic County      ATL-L-002190-20       GOLOMB & HONIK, P.C.
PRIDGEN, HELEN              NJ - Superior Court - Atlantic County      ATL-L-000639-21       GOLOMB & HONIK, P.C.
PRINSTER, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-002262-20       GOLOMB & HONIK, P.C.
RACASI, LYNNE               NJ - Superior Court - Atlantic County      ATL-L-003888-20       GOLOMB & HONIK, P.C.
RALEY, SHARON               NJ - Superior Court - Atlantic County      ATL-L-002137-20       GOLOMB & HONIK, P.C.
RAVENEL, TINA               NJ - Superior Court - Atlantic County      ATL-L-002356-20       GOLOMB & HONIK, P.C.
REDDING, ELLEN              NJ - Superior Court - Atlantic County      ATL-L-002498-20       GOLOMB & HONIK, P.C.
REDMOND, ANGELA             NJ - Superior Court - Atlantic County      ATL-L-002357-20       GOLOMB & HONIK, P.C.
REIDY, LORETTA              NJ - Superior Court - Atlantic County      ATL-L-002837-20       GOLOMB & HONIK, P.C.
RENZI, CLAIRE               NJ - Superior Court - Atlantic County      ATL-L-003032-20       GOLOMB & HONIK, P.C.
REYNOLDS, HARLOW            NJ - Superior Court - Atlantic County      ATL-L-000482-21       GOLOMB & HONIK, P.C.
RICE, SANDRA                NJ - Superior Court - Atlantic County      ATL-L-002358-20       GOLOMB & HONIK, P.C.
RICHEY, JOY                 NJ - Superior Court - Atlantic County      ATL-L-002560-20       GOLOMB & HONIK, P.C.
RIEGLER, BONNIE             NJ - Superior Court - Atlantic County      ATL-L-002461-18       GOLOMB & HONIK, P.C.
RIGAS, FAIDRA               NJ - Superior Court - Atlantic County      ATL-L-002828-20       GOLOMB & HONIK, P.C.
RIGGINS, DEBRA              NJ - Superior Court - Atlantic County      ATL-L-002359-20       GOLOMB & HONIK, P.C.
RING, DEBRA                 NJ - Superior Court - Atlantic County      ATL-L-002159-18       GOLOMB & HONIK, P.C.
RIPPEE, DIANE               NJ - Superior Court - Atlantic County      ATL-L-002365-20       GOLOMB & HONIK, P.C.
RIVAS, AIDA                 NJ - Superior Court - Atlantic County      ATL-L-001763-21       GOLOMB & HONIK, P.C.
RIVERA, AMELIA              NJ - Superior Court - Atlantic County      ATL-L-002825-20       GOLOMB & HONIK, P.C.
RIVERA, AUREA               NJ - Superior Court - Atlantic County      ATL-L-004132-20       GOLOMB & HONIK, P.C.
RIVERA, MAGDALIA            NJ - Superior Court - Atlantic County      ATL-L-002478-21       GOLOMB & HONIK, P.C.
ROACH, MARY                 NJ - Superior Court - Atlantic County      ATL-L-002360-20       GOLOMB & HONIK, P.C.
ROBERTS, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-002263-20       GOLOMB & HONIK, P.C.
ROBERTSON, JUDY             NJ - Superior Court - Atlantic County      ATL-L-002580-20       GOLOMB & HONIK, P.C.
ROBINSON, CAROL             NJ - Superior Court - Atlantic County      ATL-L-002139-20       GOLOMB & HONIK, P.C.
ROBINSON, DIANN             NJ - Superior Court - Atlantic County      ATL-L-003145-20       GOLOMB & HONIK, P.C.
ROBINSON, LINDA             NJ - Superior Court - Atlantic County      ATL-L-000296-21       GOLOMB & HONIK, P.C.
ROBINSON, SANDRA            NJ - Superior Court - Atlantic County      ATL-L-002361-20       GOLOMB & HONIK, P.C.
RODDY, SHONDA               NJ - Superior Court - Atlantic County      ATL-L-002561-20       GOLOMB & HONIK, P.C.
RODRIGUEZ, JASMINE          NJ - Superior Court - Atlantic County      ATL-L-001182-21       GOLOMB & HONIK, P.C.
RODRIGUEZ, MARY             NJ - Superior Court - Atlantic County      ATL-L-002500-20       GOLOMB & HONIK, P.C.
ROLLAND, CHERYL             NJ - Superior Court - Atlantic County      ATL-L-002581-20       GOLOMB & HONIK, P.C.
ROMANO, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-13594         GOLOMB & HONIK, P.C.
ROSE, VICKY                 NJ - Superior Court - Atlantic County      ATL-L-002191-20       GOLOMB & HONIK, P.C.
ROSS, TAMMY                 NJ - Superior Court - Atlantic County      ATL-L-002363-20       GOLOMB & HONIK, P.C.
RUFF, REGINA                NJ - Superior Court - Atlantic County      ATL-L-002596-20       GOLOMB & HONIK, P.C.
RUFF, WILLISHA              NJ - Superior Court - Atlantic County      ATL-L-002364-20       GOLOMB & HONIK, P.C.
RUIZ-SUTHERLAND, BRUNILDA   NJ - Superior Court - Atlantic County      ATL-L-004006-20       GOLOMB & HONIK, P.C.
SADOWSKI, SUSAN             NJ - Superior Court - Atlantic County      ATL-L-002141-20       GOLOMB & HONIK, P.C.
SAKCRISKA, ANTOINETTA       NJ - Superior Court - Atlantic County      ATL-L-002265-20       GOLOMB & HONIK, P.C.
SALAMI, DESHONDRA           NJ - Superior Court - Atlantic County      ATL-L-002374-20       GOLOMB & HONIK, P.C.
SALAS, ALICE                NJ - Superior Court - Atlantic County      ATL-L-002375-20       GOLOMB & HONIK, P.C.
SAMPSON, IRIS               NJ - Superior Court - Atlantic County      ATL-L-003033-20       GOLOMB & HONIK, P.C.
SANCHEZ, IRENE              NJ - Superior Court - Atlantic County      ATL-L-002562-20       GOLOMB & HONIK, P.C.
SANDOVAL, ANGIE             NJ - Superior Court - Atlantic County      ATL-L-002377-20       GOLOMB & HONIK, P.C.
SARCONE, NANCY              NJ - Superior Court - Atlantic County      ATL-L-003072-18       GOLOMB & HONIK, P.C.
SAWICKI, STELLA             NJ - Superior Court - Atlantic County      ATL-L-001611-21       GOLOMB & HONIK, P.C.
SAYLOR, ESTHER              NJ - Superior Court - Atlantic County      ATL-L-002379-20       GOLOMB & HONIK, P.C.
SCARLET, DESSEREE           NJ - Superior Court - Atlantic County      ATL-L-002582-20       GOLOMB & HONIK, P.C.
SCHMIDT, RUBY               NJ - Superior Court - Atlantic County      ATL-L-002142-20       GOLOMB & HONIK, P.C.
SCHNEIDER, RHONDA           NJ - Superior Court - Atlantic County      ATL-L-002192-20       GOLOMB & HONIK, P.C.
SCHOCK, ELSA                NJ - Superior Court - Atlantic County      ATL-L-002071-21       GOLOMB & HONIK, P.C.
SCHUETZ, PAULA              NJ - Superior Court - Atlantic County      ATL-L-002501-20       GOLOMB & HONIK, P.C.
SCHWEERS, ELIZABETH         NJ - Superior Court - Atlantic County      ATL-L-002268-20       GOLOMB & HONIK, P.C.
SCIMECA, MARY               NJ - Superior Court - Atlantic County      ATL-L-002563-20       GOLOMB & HONIK, P.C.




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SEALE, TANYA               NJ - USDC for the District of New Jersey   3:21-cv-12210         GOLOMB & HONIK, P.C.
SEIFER, CARYN              NJ - Superior Court - Atlantic County      ATL-L-002829-20       GOLOMB & HONIK, P.C.
SELERT, STACIE             NJ - Superior Court - Atlantic County      ATL-L-002830-20       GOLOMB & HONIK, P.C.
SEWELL, SHANIQUA           NJ - Superior Court - Atlantic County      ATL-L-001470-20       GOLOMB & HONIK, P.C.
SEXTON, HOLLY              NJ - Superior Court - Atlantic County      ATL-L-002378-20       GOLOMB & HONIK, P.C.
SHARESHIAN, JENNIFER       NJ - Superior Court - Atlantic County      ATL-L-002496-18       GOLOMB & HONIK, P.C.
SHAW, REBECCA              NJ - Superior Court - Atlantic County      ATL-L-002565-20       GOLOMB & HONIK, P.C.
SHERRILL, BLANCHE          NJ - Superior Court - Atlantic County      ATL-L-001702-20       GOLOMB & HONIK, P.C.
SHINHOLSTER, MARGIE        NJ - Superior Court - Atlantic County      ATL-L-000297-21       GOLOMB & HONIK, P.C.
SHOFFETT, RENE             NJ - Superior Court - Atlantic County      ATL-L-002455-20       GOLOMB & HONIK, P.C.
SILBER, JOYCE              NJ - Superior Court - Atlantic County      ATL-L-002380-20       GOLOMB & HONIK, P.C.
SILLITO, PHYLLIS           NJ - Superior Court - Atlantic County      ATL-L-001610-21       GOLOMB & HONIK, P.C.
SILVERS, LUCRETIA          NJ - Superior Court - Atlantic County      ATL-L-002381-20       GOLOMB & HONIK, P.C.
SIMMONS, EVONYA            NJ - Superior Court - Atlantic County      ATL-L-003034-20       GOLOMB & HONIK, P.C.
SIRONEN, MARY              NJ - Superior Court - Atlantic County      ATL-L-002144-20       GOLOMB & HONIK, P.C.
SIZEMORE, DONNA            NJ - Superior Court - Atlantic County      ATL-L-002602-20       GOLOMB & HONIK, P.C.
SKIDMORE, SALLY            NJ - Superior Court - Atlantic County      ATL-L-002145-20       GOLOMB & HONIK, P.C.
SKOLASKI, DEBORAH          NJ - Superior Court - Atlantic County      ATL-L-002193-20       GOLOMB & HONIK, P.C.
SKORUPSKI, DEBRA           NJ - Superior Court - Atlantic County      ATL-L-002626-21       GOLOMB & HONIK, P.C.
SLATE, DEBRA               NJ - Superior Court - Atlantic County      ATL-L-002382-20       GOLOMB & HONIK, P.C.
SLUCHER, BETTY             NJ - Superior Court - Atlantic County      ATL-L-002566-20       GOLOMB & HONIK, P.C.
SMITH, JANET               NJ - Superior Court - Atlantic County      ATL-L-002502-20       GOLOMB & HONIK, P.C.
SMITH, TAWNYA              NJ - Superior Court - Atlantic County      ATL-L-001845-21       GOLOMB & HONIK, P.C.
SOTOLONGO, GERALDA         NJ - Superior Court - Atlantic County      ATL-L-003493-20       GOLOMB & HONIK, P.C.
SOUZA, LORRAINE            NJ - Superior Court - Atlantic County      ATL-L-002384-20       GOLOMB & HONIK, P.C.
SPANO, GRACE               NJ - Superior Court - Atlantic County      ATL-L-002194-20       GOLOMB & HONIK, P.C.
SPARROW, LAUREN            NJ - Superior Court - Atlantic County      ATL-L-002503-20       GOLOMB & HONIK, P.C.
SPEICHER, MARYANNE         NJ - Superior Court - Atlantic County      ATL-L-002590-20       GOLOMB & HONIK, P.C.
SPEIRS, LINDA              NJ - Superior Court - Atlantic County      ATL-L-002195-20       GOLOMB & HONIK, P.C.
SPENCER, MIRIAM            NJ - Superior Court - Atlantic County      ATL-L-003321-20       GOLOMB & HONIK, P.C.
SPERRY, BETTY              NJ - Superior Court - Atlantic County      ATL-L-002196-20       GOLOMB & HONIK, P.C.
SPINA, ELIZABETH           NJ - Superior Court - Atlantic County      ATL-L-000298-21       GOLOMB & HONIK, P.C.
SPINOSI-TKACIK, MARILYNN   NJ - Superior Court - Atlantic County      ATL-L-002198-20       GOLOMB & HONIK, P.C.
STAFFORD, WILMA            NJ - Superior Court - Atlantic County      ATL-L-002385-20       GOLOMB & HONIK, P.C.
STALKER, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-002147-20       GOLOMB & HONIK, P.C.
STAZO, LISA                NJ - Superior Court - Atlantic County      ATL-L-002831-20       GOLOMB & HONIK, P.C.
STEELE, JUSTINE            NJ - Superior Court - Atlantic County      ATL-L-002386-20       GOLOMB & HONIK, P.C.
STEGER, GLENDA             NJ - Superior Court - Atlantic County      ATL-L-002266-20       GOLOMB & HONIK, P.C.
STELK, THERESA             NJ - Superior Court - Atlantic County      ATL-L-002210-20       GOLOMB & HONIK, P.C.
STEPHENS, CRYSTAL          NJ - Superior Court - Atlantic County      ATL-L-002504-20       GOLOMB & HONIK, P.C.
STEPPER, SUZANNE           NJ - Superior Court - Atlantic County      ATL-L-002387-20       GOLOMB & HONIK, P.C.
STEWART, ROSALIND          NJ - Superior Court - Atlantic County      ATL-L-000715-21       GOLOMB & HONIK, P.C.
STOTTS, SANDRA             NJ - Superior Court - Atlantic County      ATL-L-002388-20       GOLOMB & HONIK, P.C.
SUDDS, AMIE                NJ - Superior Court - Atlantic County      ATL-L002505-20        GOLOMB & HONIK, P.C.
SUDLER, OMYRA              NJ - USDC for the District of New Jersey   3:20-cv-06739         GOLOMB & HONIK, P.C.
SULLIVAN, JACQUELYN        NJ - Superior Court - Atlantic County      ATL-L-002258-20       GOLOMB & HONIK, P.C.
SWECKER, CAROLYN           NJ - Superior Court - Atlantic County      ATL-L-002197-20       GOLOMB & HONIK, P.C.
SWEENEY, KIMBERLY          NJ - Superior Court - Atlantic County      ATL-L-002567-20       GOLOMB & HONIK, P.C.
SYSLO, BEVERLY             NJ - Superior Court - Atlantic County      ATL-L-1418-19         GOLOMB & HONIK, P.C.
TADROUS, MAHA              NJ - Superior Court - Atlantic County      ATL-L-002832-20       GOLOMB & HONIK, P.C.
TAKOTEY, PENNY             NJ - Superior Court - Atlantic County      ATL-L-001471-20       GOLOMB & HONIK, P.C.
TART, WANDA                NJ - Superior Court - Atlantic County      ATL-L-001877-20       GOLOMB & HONIK, P.C.
TASCHLER, KAREN            NJ - Superior Court - Atlantic County      ATL-L-002150-20       GOLOMB & HONIK, P.C.
TASSONI, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-003389-20       GOLOMB & HONIK, P.C.
TAYLOR, CYNTHIA            NJ - Superior Court - Atlantic County      ATL-L-002583-20       GOLOMB & HONIK, P.C.
TAYLOR, DEBRA              NJ - Superior Court - Atlantic County      ATL-L-002245-20       GOLOMB & HONIK, P.C.
TELFAIR, TONI              NJ - Superior Court - Atlantic County      ATL-L-000642-21       GOLOMB & HONIK, P.C.
TERRY, JUDY                NJ - Superior Court - Atlantic County      ATL-L-002506-20       GOLOMB & HONIK, P.C.
THOMAS, BRIGITTE           NJ - Superior Court - Atlantic County      ATL-L-002464-20       GOLOMB & HONIK, P.C.
THOMAS, MARGARET           NJ - Superior Court - Atlantic County      ATL-L-002507-20       GOLOMB & HONIK, P.C.
THOMPSON, LAURA            NJ - Superior Court - Atlantic County      ATL-L-002389-20       GOLOMB & HONIK, P.C.
TILL, GLADYS               NJ - Superior Court - Atlantic County      ATL-L-000274-21       GOLOMB & HONIK, P.C.
TINCOMBE, CAROLINE         NJ - Superior Court - Atlantic County      ATL-L-002833-20       GOLOMB & HONIK, P.C.
TODISH, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-002074-20       GOLOMB & HONIK, P.C.
TOTH, JANE                 NJ - Superior Court - Atlantic County      ATL-L-003390-20       GOLOMB & HONIK, P.C.
TRADER, EDYTHE             NJ - Superior Court - Atlantic County      ATL-L-002067-21       GOLOMB & HONIK, P.C.
TRAN, CHANH                NJ - Superior Court - Atlantic County      ATL-L-002199-20       GOLOMB & HONIK, P.C.
TRINIDAD, MARIA            NJ - Superior Court - Atlantic County      ATL-L-000230-21       GOLOMB & HONIK, P.C.
TROCOLOR, MARISA           NJ - Superior Court - Atlantic County      ATL-L-002790-20       GOLOMB & HONIK, P.C.
TURLEY, SHARON             NJ - Superior Court - Atlantic County      ATL-L-002391-20       GOLOMB & HONIK, P.C.
TURNER, KRISTI             NJ - Superior Court - Atlantic County      ATL-L-002568-20       GOLOMB & HONIK, P.C.
TURNER, SANDRA             NJ - Superior Court - Atlantic County      ATL-L-002392-20       GOLOMB & HONIK, P.C.
UNDERELL, MICHELLE         NJ - Superior Court - Atlantic County      ATL-L-002151-20       GOLOMB & HONIK, P.C.
VALENCIA, ANA              NJ - Superior Court - Atlantic County      ATL-L-002569-20       GOLOMB & HONIK, P.C.
VALENCIA, GLORIA CARDONA   NJ - Superior Court - Atlantic County      ATL-L-001914-20       GOLOMB & HONIK, P.C.
VANDENBERG, SUSAN          NJ - Superior Court - Atlantic County      ATL-L-002508-20       GOLOMB & HONIK, P.C.
VANHOY, DOLLIE             NJ - Superior Court - Atlantic County      ATL-L-002393-20       GOLOMB & HONIK, P.C.
VAUGHN, DIANNE             NJ - Superior Court - Atlantic County      ATL-L-004012-20       GOLOMB & HONIK, P.C.
VAUGHN, MARTHA             NJ - Superior Court - Atlantic County      ATL-L-001472-20       GOLOMB & HONIK, P.C.
VEGA, OLGA                 NJ - Superior Court - Atlantic County      ATL-L-002462-18       GOLOMB & HONIK, P.C.




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VIGORITO, MARGARITE       NJ - Superior Court - Atlantic County      ATL-L-002200-20       GOLOMB & HONIK, P.C.
VILLARREAL, YOLANDA       NJ - Superior Court - Atlantic County      ATL-L-002509-20       GOLOMB & HONIK, P.C.
VOUDREN, REGINA           NJ - Superior Court - Atlantic County      ATL-L-002510-20       GOLOMB & HONIK, P.C.
VOYCE, VICKI              NJ - Superior Court - Atlantic County      ATL-L-002570-20       GOLOMB & HONIK, P.C.
VOYLES, SHIRLEY           NJ - Superior Court - Atlantic County      ATL-L-002394-20       GOLOMB & HONIK, P.C.
WADDELL, EVELYN           NJ - Superior Court - Atlantic County      ATL-L002395-20        GOLOMB & HONIK, P.C.
WADE, TONI                NJ - Superior Court - Atlantic County      ATL-L-000039-21       GOLOMB & HONIK, P.C.
WAGNER, BRIANNA           NJ - Superior Court - Atlantic County      ATL-L-002202-19       GOLOMB & HONIK, P.C.
WAGNER, LAUREL            NJ - Superior Court - Atlantic County      ATL-L-002267-20       GOLOMB & HONIK, P.C.
WALTERS, CYNTHIA          NJ - Superior Court - Atlantic County      ATL-L-001493-20       GOLOMB & HONIK, P.C.
WASHINGTON, VANESSA       NJ - Superior Court - Atlantic County      ATL-L-002749-21       GOLOMB & HONIK, P.C.
WATERMAN, MISTY           NJ - Superior Court - Atlantic County      ATL-L-002571-20       GOLOMB & HONIK, P.C.
WATSON, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-003035-20       GOLOMB & HONIK, P.C.
WATSON, TRAUTE            NJ - Superior Court - Atlantic County      ATL-L-002396-20       GOLOMB & HONIK, P.C.
WEBB, KELLY               NJ - Superior Court - Atlantic County      ATL-L-002397-20       GOLOMB & HONIK, P.C.
WEBBER, EDNA              NJ - Superior Court - Atlantic County      ATL-L-002572-20       GOLOMB & HONIK, P.C.
WEBSTER, KAREN            NJ - Superior Court - Atlantic County      ATL-L-001473-20       GOLOMB & HONIK, P.C.
WELLS, RHONDA             NJ - Superior Court - Atlantic County      ATL-L-002603-20       GOLOMB & HONIK, P.C.
WESLEY, HALEY             NJ - Superior Court - Atlantic County      ATL-L-001116-21       GOLOMB & HONIK, P.C.
WESTBROOK, CYNTHIA        NJ - Superior Court - Atlantic County      ATL-L-002512-20       GOLOMB & HONIK, P.C.
WHEELER, DOLORES          NJ - Superior Court - Atlantic County      ATL-L-003036-20       GOLOMB & HONIK, P.C.
WHITE, AMIE               NJ - Superior Court - Atlantic County      ATL-L-002399-20       GOLOMB & HONIK, P.C.
WHITE, BRENDA             NJ - Superior Court - Atlantic County      ATL-L002398-20        GOLOMB & HONIK, P.C.
WHITE, KATHLEEN           NJ - Superior Court - Atlantic County      ATL-L-002834-20       GOLOMB & HONIK, P.C.
WHITE, MERRIE             NJ - Superior Court - Atlantic County      ATL_L-002514-20       GOLOMB & HONIK, P.C.
WHITE, MICHELLE           NJ - Superior Court - Atlantic County      ATL-L-002069-21       GOLOMB & HONIK, P.C.
WHITE, NANCY              NJ - Superior Court - Atlantic County      ATL-L-002201-20       GOLOMB & HONIK, P.C.
WHITE, YVETTE             NJ - Superior Court - Atlantic County      ATL-L-003659-20       GOLOMB & HONIK, P.C.
WIEST, DEBBIE             NJ - Superior Court - Atlantic County      ATL-L-002401-20       GOLOMB & HONIK, P.C.
WIGGINS, ADELE            NJ - Superior Court - Atlantic County      ATL-L-004066-20       GOLOMB & HONIK, P.C.
WILDER, JO                NJ - Superior Court - Atlantic County      ATL-L-003146-20       GOLOMB & HONIK, P.C.
WILLIAMS, ABBIE           NJ - Superior Court - Atlantic County      ATL-L-000272-21       GOLOMB & HONIK, P.C.
WILLIAMS, ANNIE           NJ - Superior Court - Atlantic County      ATL-L-002573-20       GOLOMB & HONIK, P.C.
WILLIAMS, DIANA           NJ - Superior Court - Atlantic County      ATL-L-002402-20       GOLOMB & HONIK, P.C.
WILLIAMS, MARTHA          NJ - Superior Court - Atlantic County      ATL-L-002403-20       GOLOMB & HONIK, P.C.
WILLIAMS, PAMELA          NJ - Superior Court - Atlantic County      ATL-L-002344-20       GOLOMB & HONIK, P.C.
WILSON, LADONNA           NJ - Superior Court - Atlantic County      ATL-L-002516-20       GOLOMB & HONIK, P.C.
WILSON, SUZANNE           NJ - Superior Court - Atlantic County      ATL-L-002202-20       GOLOMB & HONIK, P.C.
WOOD, TRACY               NJ - Superior Court - Atlantic County      ATL-L-002404-20       GOLOMB & HONIK, P.C.
WOODS, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-001915-20       GOLOMB & HONIK, P.C.
WOODS, JESSICA            NJ - Superior Court - Atlantic County      ATL-L-002203-20       GOLOMB & HONIK, P.C.
WORSTELL, DELORIS         NJ - Superior Court - Atlantic County      ATL-L-002405-20       GOLOMB & HONIK, P.C.
WORTH, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-002152-20       GOLOMB & HONIK, P.C.
WUNDER, RETTA             NJ - Superior Court - Atlantic County      ATL-L-000643-21       GOLOMB & HONIK, P.C.
YANCY, KATHLEEN           NJ - Superior Court - Atlantic County      ATL-L-002517-20       GOLOMB & HONIK, P.C.
YEZEK, CHARLOTTE          NJ - Superior Court - Atlantic County      ATL-L-002407-20       GOLOMB & HONIK, P.C.
ZBICHORSKI, PATRICIA      NJ - Superior Court - Atlantic County      ATL-L-002204-20       GOLOMB & HONIK, P.C.
ZEIDMAN, DEBORAH          NJ - Superior Court - Atlantic County      ATL-L-000862-18       GOLOMB & HONIK, P.C.
ZEOLI, LORIANN            NJ - Superior Court - Atlantic County      ATL-L-001474-20       GOLOMB & HONIK, P.C.
ZUROWSKI, MICHELLE        NJ - Superior Court - Atlantic County      ATL-L-002205-20       GOLOMB & HONIK, P.C.
ZURSTADT, BARBARA         NJ - Superior Court - Atlantic County      ATL-L-002153-20       GOLOMB & HONIK, P.C.
ALEXANDER, LISA           NJ - Superior Court - Atlantic County      ATL-L-87-18           GOLOMB & HONIK, PC
ALSTON, RUTH              NJ - Superior Court - Atlantic County      ATL-L-2071-15         GOLOMB & HONIK, PC
ALVEREZ-PEREZ, YVETTE     NJ - Superior Court - Atlantic County      ATL-L-2237-17         GOLOMB & HONIK, PC
AMOGRETTI, GLORIA         NJ - Superior Court - Atlantic County      ATL-L-2281-17         GOLOMB & HONIK, PC
AMRICH, SHEILA            NJ - Superior Court - Atlantic County      ATL-L-000642-18       GOLOMB & HONIK, PC
ANDERSON, FRANCES         NJ - Superior Court - Atlantic County      ATL-L-726-16          GOLOMB & HONIK, PC
APARICIO, CONSTANCE       NJ - Superior Court - Atlantic County      ATL-L-1951-17         GOLOMB & HONIK, PC
ARCACHE, AIDA             NJ - Superior Court - Atlantic County      ATL-L-001465-20       GOLOMB & HONIK, PC
ARENA, KATHY              NJ - USDC for the District of New Jersey   3:17-cv-10147         GOLOMB & HONIK, PC
ATIRAM, LESLEE            NJ - Superior Court - Atlantic County      L00294319             GOLOMB & HONIK, PC
AXTEN, MARITA             NJ - Superior Court - Atlantic County      ATL-L-2404-17         GOLOMB & HONIK, PC
BACON-BARNETTE, KAREN     NJ - Superior Court - Atlantic County      ATL-L-368-15          GOLOMB & HONIK, PC
BAILEY, ALMETER           NJ - Superior Court - Atlantic County      ATL-002054-18         GOLOMB & HONIK, PC
BANNAR, DOROTHY           NJ - Superior Court - Atlantic County      ATL-L-002442-18       GOLOMB & HONIK, PC
BARAN, NORA               NJ - Superior Court - Atlantic County      ATL-L-2304-17         GOLOMB & HONIK, PC
BARNHOLT, DIANE           NJ - Superior Court - Atlantic County      ATL-L-1419-17         GOLOMB & HONIK, PC
BARRINGER, DENISE         NJ - Superior Court - Atlantic County      ATL-1127-16           GOLOMB & HONIK, PC
BARYCKI, JUDITH           NJ - USDC for the District of New Jersey   3:17-cv-10148         GOLOMB & HONIK, PC
BAUTISTA, ANA             NJ - Superior Court - Atlantic County      ATL-L-001201-20       GOLOMB & HONIK, PC
BAZEMORE, GLADYS          NJ - USDC for the District of New Jersey   3:17-cv-10180         GOLOMB & HONIK, PC
BEAUCHAMP, LISA           NJ - Superior Court - Atlantic County      ATL-L-11-16           GOLOMB & HONIK, PC
BIAN, MARY                NJ - Superior Court - Atlantic County      ATL-L-2238-17         GOLOMB & HONIK, PC
BLOCK, RHONDA             NJ - Superior Court - Atlantic County      ATL-L-001205-20       GOLOMB & HONIK, PC
BOCHANSKI, VIRGINIA       NJ - Superior Court - Atlantic County      ATL-L-000228-19       GOLOMB & HONIK, PC
BRAITHWAITE, ELIZABETH    NJ - Superior Court - Atlantic County      ATL-L-2282-17         GOLOMB & HONIK, PC
BRIEN, CLAIRE             NJ - Superior Court - Atlantic County      Atl-L-1180-16         GOLOMB & HONIK, PC
BUCZEK, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-2239-17         GOLOMB & HONIK, PC
BURCH, SHIRLEY            NJ - Superior Court - Atlantic County      ATL-L-001812-18       GOLOMB & HONIK, PC
BURNETTE, CHERYL          NJ - USDC for the District of New Jersey   3:17-cv-09521         GOLOMB & HONIK, PC




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           Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
BURNS, TAMARA               NJ - Superior Court - Atlantic County      ATL-L-2996-15         GOLOMB & HONIK, PC
BURO, LAURA                 NJ - Superior Court - Atlantic County      ATL-L-003209-19       GOLOMB & HONIK, PC
BUSCH, MARTHA               NJ - Superior Court - Atlantic County      ATL-L-588-16          GOLOMB & HONIK, PC
BUTTERWORTH, JACQUELIN      NJ - Superior Court - Atlantic County      ATL-L-159-18          GOLOMB & HONIK, PC
BUTTITTA, PAULA             NJ - Superior Court - Atlantic County      ATL-L-2716-17         GOLOMB & HONIK, PC
BUTTOR, SHELIA              NJ - Superior Court - Atlantic County      L00049920             GOLOMB & HONIK, PC
CACCIATORE, SUSAN           NJ - Superior Court - Atlantic County      ATL-L-000840-20       GOLOMB & HONIK, PC
CARASSALE, DONNA            NJ - Superior Court - Atlantic County      ATL-L-2242-17         GOLOMB & HONIK, PC
CARL, BRANDI                NJ - Superior Court - Atlantic County      ATL-L-6546-14         GOLOMB & HONIK, PC
CASTNER, KIMBERLY           NJ - USDC for the District of New Jersey   3:19-cv-14323         GOLOMB & HONIK, PC
CHIMENTO, CAROL             NJ - Superior Court - Atlantic County      ATL-L-2234-17         GOLOMB & HONIK, PC
CIANFRINI, CHRISTINE        NJ - Superior Court - Atlantic County      ATL-L-2719-15         GOLOMB & HONIK, PC
CINTRON, ELMA               NJ - USDC for the District of New Jersey   3:18-cv-00607         GOLOMB & HONIK, PC
CLOUD, RUTH                 NJ - USDC for the District of New Jersey   3:17-cv-10150         GOLOMB & HONIK, PC
CLUGSTON, NICOLE            NJ - Superior Court - Atlantic County      ATL-L-0813-15         GOLOMB & HONIK, PC
COLANDRA, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-303-18          GOLOMB & HONIK, PC
COLBY, MARGARET             NJ - USDC for the District of New Jersey   3:19-cv-00826         GOLOMB & HONIK, PC
COLEMAN, CHERRIE            NJ - Superior Court - Atlantic County      ATL-L-1313-16         GOLOMB & HONIK, PC
COLLIER, TERRI              NJ - USDC for the District of New Jersey   3:18-cv-13348         GOLOMB & HONIK, PC
COLLINS, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-2243-17         GOLOMB & HONIK, PC
CORMIER, DENISE             NJ - Superior Court - Atlantic County      ATL-L-000643-18       GOLOMB & HONIK, PC
CROSS, RENEA                NJ - Superior Court - Atlantic County      ATL-L-003171-19       GOLOMB & HONIK, PC
CUSUMANO, JOSEPHINE         NJ - Superior Court - Atlantic County      L00166719             GOLOMB & HONIK, PC
DANA, KATHY                 NJ - Superior Court - Atlantic County      ATL-L-000085-19       GOLOMB & HONIK, PC
DANNER, LINDA               NJ - Superior Court - Atlantic County      ATL-L964-17           GOLOMB & HONIK, PC
DEFABBI, THERESA            NJ - Superior Court - Atlantic County      L00050120             GOLOMB & HONIK, PC
DEGIDIO, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-11707         GOLOMB & HONIK, PC
DETRES, ISADORA             NJ - USDC for the District of New Jersey   3:18-cv-05401         GOLOMB & HONIK, PC
DICANIO, LINDA              NJ - Superior Court - Atlantic County      ATL-L-300-18          GOLOMB & HONIK, PC
DIRKSON, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-1912-16         GOLOMB & HONIK, PC
DISTEFANO, DONNA            NJ - Superior Court - Atlantic County      ATL-L-598-15          GOLOMB & HONIK, PC
DIVENANZO, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-00611         GOLOMB & HONIK, PC
DORSEY, CONCETTA            NJ - USDC for the District of New Jersey   3:17-cv-10165         GOLOMB & HONIK, PC
DOWD, DEBORAH               NJ - Superior Court - Atlantic County      ATL-L-2244-17         GOLOMB & HONIK, PC
DOYLE, MARGERY              NJ - Superior Court - Atlantic County      ATL-L-1298-18         GOLOMB & HONIK, PC
DYMBURT, MAXENE             NJ - Superior Court - Atlantic County      ATL-L-002136-17       GOLOMB & HONIK, PC
EASTERWOOD, LORRAINE        NJ - Superior Court - Atlantic County      ATL-L-1136-15         GOLOMB & HONIK, PC
EDWARDS, STACEY             NJ - Superior Court - Atlantic County      ATL-L-1183-16         GOLOMB & HONIK, PC
ELZAYATY, FATHIA            NJ - USDC for the District of New Jersey   3:20-cv-01091         GOLOMB & HONIK, PC
ENDICOTT, SHARON            NJ - Superior Court - Atlantic County      ATL-L-1711-16         GOLOMB & HONIK, PC
ESTELLE, PAMELA             NJ - Superior Court - Atlantic County      ATL-L-2283-17         GOLOMB & HONIK, PC
FABIAN, PENNY               NJ - Superior Court - Atlantic County      ATL-L-711-15          GOLOMB & HONIK, PC
FAISON, GRACE               NJ - Superior Court - Atlantic County      ATL-L-955-15          GOLOMB & HONIK, PC
FANSLER, MARY               NJ - Superior Court - Atlantic County      ATL-L-2285-17         GOLOMB & HONIK, PC
FARLEY, PATRICIA            NJ - Superior Court - Atlantic County      ATL-L-2094-17         GOLOMB & HONIK, PC
FARLEY, RONA                NJ - Superior Court - Atlantic County      ATL-L-2503-15         GOLOMB & HONIK, PC
FENCIL, NOREEN              NJ - Superior Court - Atlantic County      ATL-L-676-16          GOLOMB & HONIK, PC
FISH, EVELYN                NJ - Superior Court - Atlantic County      ATL-L-2504-15         GOLOMB & HONIK, PC
FLANAGAN, JILL              NJ - Superior Court - Atlantic County      ATL-L-1228-16         GOLOMB & HONIK, PC
FOX, JACQUELINE             NJ - USDC for the District of New Jersey   3:18-cv-15007         GOLOMB & HONIK, PC
FRANK, ERIN                 NJ - Superior Court - Atlantic County      ATL-L-304-18          GOLOMB & HONIK, PC
FREEMAN, LANEICE            NJ - Superior Court - Atlantic County      ATL-L-002931-18       GOLOMB & HONIK, PC
GARWOOD, DIANE              NJ - Superior Court - Atlantic County      ATL-L-410-18          GOLOMB & HONIK, PC
GARZA, LILLIAN              NJ - Superior Court - Atlantic County      ATL-L-1230-16         GOLOMB & HONIK, PC
GASSAWAY, EUMEKE            NJ - USDC for the District of New Jersey   3:17-cv-09719         GOLOMB & HONIK, PC
GIANNONE, MARIA             NJ - Superior Court - Atlantic County      ATL-L-001882-18       GOLOMB & HONIK, PC
GIBSON, HELEENA             NJ - Superior Court - Atlantic County      ATL-L-2278-17         GOLOMB & HONIK, PC
GILLISS, PAULA              NJ - Superior Court - Atlantic County      ATL-L-002719-19       GOLOMB & HONIK, PC
GIORDANO, ROSEMARIE         NJ - Superior Court - Atlantic County      ATL-L-2661-17         GOLOMB & HONIK, PC
GLASS, ANGELA               NJ - USDC for the District of New Jersey   3:17-cv-09646         GOLOMB & HONIK, PC
GOLDEN, ARLENE              NJ - Superior Court - Atlantic County      ATL-L-000345-20       GOLOMB & HONIK, PC
GOLDESKI, CARLEEN           NJ - Superior Court - Atlantic County      ATL-L-2305-17         GOLOMB & HONIK, PC
GONZALEZ, MARIA             NJ - Superior Court - Atlantic County      ATL-L-99-18           GOLOMB & HONIK, PC
GORDON, BARBARA             NJ - Superior Court - Atlantic County      ATL-L-2246-17         GOLOMB & HONIK, PC
GORGES, CHERYL              NJ - Superior Court - Atlantic County      ATL-L-613-16          GOLOMB & HONIK, PC
GRAHAM-CONOVER, CARLYN      NJ - Superior Court - Atlantic County      ATL-L-2366-17         GOLOMB & HONIK, PC
GREENE, AMANDA              NJ - Superior Court - Atlantic County      ATL-L-000624-19       GOLOMB & HONIK, PC
GREENWOOD, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-000841-20       GOLOMB & HONIK, PC
GRIFFIN, GERALDINE          NJ - Superior Court - Atlantic County      ATL-L-97-16           GOLOMB & HONIK, PC
GRIFFITH, ANGELA            NJ - USDC for the District of New Jersey   3:17-cv-09772         GOLOMB & HONIK, PC
GRIMM, ELAINE               NJ - Superior Court - Atlantic County      ATL-L-001809-18       GOLOMB & HONIK, PC
GROSSMAN, HELENE            NJ - USDC for the District of New Jersey   3:17-cv-10440         GOLOMB & HONIK, PC
GUINN, RUBY                 NJ - Superior Court - Atlantic County      ATL-L-614-16          GOLOMB & HONIK, PC
GULLMAN, ELIZABETH          NJ - Superior Court - Atlantic County      ATL-L-310-16          GOLOMB & HONIK, PC
GUTIERREZ, YOLANDA          NJ - Superior Court - Atlantic County      ATL-L-23-16           GOLOMB & HONIK, PC
GUTOWIECZ, NATALIE          NJ - Superior Court - Atlantic County      L00197519             GOLOMB & HONIK, PC
HAGADORN, JESSICA           NJ - USDC for the District of New Jersey   3:17-cv-10539         GOLOMB & HONIK, PC
HALL, LEKEITHSHA            NJ - Superior Court - Atlantic County      ATL-L-1000-16         GOLOMB & HONIK, PC
HALLIDAY-CORNELL, FRANCES   NJ - Superior Court - Atlantic County      ATL-L-2286-17         GOLOMB & HONIK, PC
HANCOCK, ELIZABETH          NJ - USDC for the District of New Jersey   3:17-cv-10472         GOLOMB & HONIK, PC




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           Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
HANDY, DOLORAE             NJ - USDC for the District of New Jersey   3:16-cv-07570          GOLOMB & HONIK, PC
HANDY, EARLENE             NJ - Superior Court - Atlantic County      ATL-L-2120-15          GOLOMB & HONIK, PC
HAWKINS, RHONDA            NJ - Superior Court - Atlantic County      ATL-L-1229-16          GOLOMB & HONIK, PC
HAYES, SHARON              NJ - Superior Court - Atlantic County      ATL-L-12-16            GOLOMB & HONIK, PC
HAYES, TAMMY               NJ - USDC for the District of New Jersey   3:17-cv-09727          GOLOMB & HONIK, PC
HEDRICK, NITRA             NJ - USDC for the District of New Jersey   3:17-cv-09495          GOLOMB & HONIK, PC
HERNANDEZ, JUANITA         NJ - USDC for the District of New Jersey   3:17-cv-10235          GOLOMB & HONIK, PC
HERRING, EVONNE            NJ - Superior Court - Atlantic County      ATL-L-2247-17          GOLOMB & HONIK, PC
HIGHTOWER, DONNA           NJ - Superior Court - Atlantic County      ATL-L-1960-16          GOLOMB & HONIK, PC
HILTON, LINDA              NJ - Superior Court - Atlantic County      ATL-L-885-16           GOLOMB & HONIK, PC
HINES, CARMEL              NJ - USDC for the District of New Jersey   3:17-cv-07481          GOLOMB & HONIK, PC
HOLLIS, ISIS               NJ - USDC for the District of New Jersey   3:17-cv-11714          GOLOMB & HONIK, PC
HORNER, KIMBERLY           NJ - Superior Court - Atlantic County      ATL-L-2306-17          GOLOMB & HONIK, PC
HUGHES, VICKIE             NJ - Superior Court - Atlantic County      ATL-L-99-16            GOLOMB & HONIK, PC
HUNTER, KRISTEN            NJ - Superior Court - Atlantic County      Atl-l-1179-16          GOLOMB & HONIK, PC
JACOBSON, ANN              NJ - Superior Court - Atlantic County      ATL-L-000625-19        GOLOMB & HONIK, PC
JEFFREY, EMILY             NJ - USDC for the District of New Jersey   3:18-cv-00605          GOLOMB & HONIK, PC
JENNINGS, TREASTIE         NJ - USDC for the District of New Jersey   3:17-cv-10191          GOLOMB & HONIK, PC
JOHNSON, BRANDI            NJ - Superior Court - Atlantic County      ATL-L-2434-17          GOLOMB & HONIK, PC
JOHNSON, ELAINE            NJ - Superior Court - Atlantic County      ATL-L-2248-17          GOLOMB & HONIK, PC
JOHNSON, KIM               NJ - Superior Court - Atlantic County      ATL-L-36-15            GOLOMB & HONIK, PC
JOHNSON, MARY              NJ - Superior Court - Atlantic County      ATL-L-000644-18        GOLOMB & HONIK, PC
JORDAN-ROBINSON, LAURIE    NJ - Superior Court - Atlantic County      ATL-L-2443-18          GOLOMB & HONIK, PC
KAVANAUGH, SANDRA          NJ - Superior Court - Atlantic County      ATL-L-1134-15          GOLOMB & HONIK, PC
KIKER, FLORA               NJ - USDC for the District of New Jersey   3:17-cv-10665          GOLOMB & HONIK, PC
KING, SYBIL                NJ - USDC for the District of New Jersey   3:17-cv-11710          GOLOMB & HONIK, PC
KIRCHNER, MARY             NJ - Superior Court - Atlantic County      ATL-L-2528-17          GOLOMB & HONIK, PC
KLEINER, MARILYN           NJ - USDC for the District of New Jersey   3:17-cv-10287          GOLOMB & HONIK, PC
KONKIN, CHRISTINA          NJ - Superior Court - Atlantic County      ATL-L-998-16           GOLOMB & HONIK, PC
KOSTUK, KATHY              NJ - Superior Court - Atlantic County      ATL-L-000650-18        GOLOMB & HONIK, PC
KOSTY, CHERYL              NJ - Superior Court - Atlantic County      ATL-L-002162-18        GOLOMB & HONIK, PC
KRANER, MARY               NJ - Superior Court - Atlantic County      L00197219              GOLOMB & HONIK, PC
KURCZESKI, FRANCES         NJ - Superior Court - Atlantic County      ATL-L-2249-17          GOLOMB & HONIK, PC
LAMB, ELIZA                NJ - USDC for the District of New Jersey   3:17-cv-10302          GOLOMB & HONIK, PC
LANE, JACQUELINE           NJ - Superior Court - Atlantic County      ATL-L-001391-18        GOLOMB & HONIK, PC
LANG, MICHELLE             NJ - Superior Court - Atlantic County      ATL-L-2288-17          GOLOMB & HONIK, PC
LAVIGNA, MARY              NJ - Superior Court - Atlantic County      ATL-L-2250-17          GOLOMB & HONIK, PC
LEACH, EVELYN              NJ - Superior Court - Atlantic County      ATL-L-001471-18        GOLOMB & HONIK, PC
LEE, CHASITY               NJ - Superior Court - Atlantic County      ATL-L-2717-17          GOLOMB & HONIK, PC
LEE, REBECCA               NJ - Superior Court - Atlantic County      ATL-L-000229-19        GOLOMB & HONIK, PC
LEROY, MARLENE             NJ - Superior Court - Atlantic County      ATL-L-000842-20        GOLOMB & HONIK, PC
LEWIS, VIVIAN              NJ - Superior Court - Atlantic County      ATL-L-2232-17          GOLOMB & HONIK, PC
LIBERSTON, CAREN           NJ - Superior Court - Atlantic County      ATL-L-2718-17          GOLOMB & HONIK, PC
LINDELL, SUELLA            NJ - Superior Court - Atlantic County      ATL-L-996-16           GOLOMB & HONIK, PC
LOCKE, ASHLEY              NJ - Superior Court - Atlantic County      ATL-L-2253-17          GOLOMB & HONIK, PC
LOCKLEAR, BERNICE          NJ - USDC for the District of New Jersey   3:17-cv-10660          GOLOMB & HONIK, PC
LOCKLEAR, VIRGINIA         NJ - USDC for the District of New Jersey   3:18-cv-00602          GOLOMB & HONIK, PC
LONG, CRYSTAL              NJ - USDC for the District of New Jersey   3:17-cv-09764          GOLOMB & HONIK, PC
LOUGHREY, BARBARA          NJ - Superior Court - Atlantic County      L00050020              GOLOMB & HONIK, PC
LUERSSEN, EDWINA           NJ - Superior Court - Atlantic County      ATL-L-299-18           GOLOMB & HONIK, PC
LUGLI, CHRISTINE           NJ - Superior Court - Atlantic County      ATL-L-999-16           GOLOMB & HONIK, PC
LYNN, JANNIE               NJ - Superior Court - Atlantic County      ATL-L-2725-15          GOLOMB & HONIK, PC
MACCIOLI, MARY             NJ - Superior Court - Atlantic County      ATL-L-1957-16          GOLOMB & HONIK, PC
MALENICK, MARY             NJ - USDC for the District of New Jersey   3:17-cv-09687          GOLOMB & HONIK, PC
MARCEL, JOYCE              NJ - Superior Court - Atlantic County      ATL-L-1955-16          GOLOMB & HONIK, PC
MARCINEK, LORAINE          NJ - Superior Court - Atlantic County      ATL-L-956-15           GOLOMB & HONIK, PC
MAROFSKY, ADRIENNE         NJ - USDC for the District of New Jersey   3:18-cv-05405          GOLOMB & HONIK, PC
MARTZ, LYNNE               NJ - Superior Court - Atlantic County      ATL-L-001491-18        GOLOMB & HONIK, PC
MASCITELLI, LISA           NJ - Superior Court - Atlantic County      ATL-L-000653-18        GOLOMB & HONIK, PC
MASORTI, BECKI             NJ - Superior Court - Atlantic County      ATL-L-2724-15          GOLOMB & HONIK, PC
MATTEI, MARIE              NJ - USDC for the District of New Jersey   3:17-cv-09618          GOLOMB & HONIK, PC
MAURIELLO, DIANE           NJ - Superior Court - Atlantic County      ATL-L-001578-18        GOLOMB & HONIK, PC
MAZZUCA, KATHLEEN          NJ - Superior Court - Atlantic County      ATL-L-2254-17          GOLOMB & HONIK, PC
MCALISTER, VALERIE         NJ - USDC for the District of New Jersey   3:17-cv-10418          GOLOMB & HONIK, PC
MCCALL, MARLENE            NJ - Superior Court - Atlantic County      ATL-L-1416-19          GOLOMB & HONIK, PC
MCCARTNEY, CATHY           NJ - Superior Court - Atlantic County      ATL-L-000860-18        GOLOMB & HONIK, PC
MCKENNA, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-1953-17          GOLOMB & HONIK, PC
MCNEILL, DEBRA             NJ - Superior Court - Atlantic County      ATL-L-000219-19        GOLOMB & HONIK, PC
MCQUILLEN, KAREN           NJ - Superior Court - Atlantic County      ATL-L-2255-17          GOLOMB & HONIK, PC
MCTAMNEY, LAURELEE         NJ - Superior Court - Atlantic County      ATL-L-2258-17          GOLOMB & HONIK, PC
MELBERGER, BERNADETTE      NJ - Superior Court - Atlantic County      ATL-L-2307-17          GOLOMB & HONIK, PC
MEMEH, IJEOMA              NJ - USDC for the District of New Jersey   3:17-cv-09757          GOLOMB & HONIK, PC
METZLER, DIANNA            NJ - Superior Court - Atlantic County      ATL-L-2263-17          GOLOMB & HONIK, PC
MILANO, LUCI               NJ - Superior Court - Atlantic County      ATL-L-001807-18        GOLOMB & HONIK, PC
MILLER, CHERIE             NJ - Superior Court - Atlantic County      ATL-L-610-16           GOLOMB & HONIK, PC
MITCHELL, SABRINA          NJ - USDC for the District of New Jersey   3:18-cv-09694          GOLOMB & HONIK, PC
MOE, CORRINE               NJ - USDC for the District of New Jersey   3:17-cv-09787          GOLOMB & HONIK, PC
MOLINA, DAWN               NJ - USDC for the District of New Jersey   3:17-cv-10658          GOLOMB & HONIK, PC
MONDRO, ARLENE             NJ - USDC for the District of New Jersey   3:17-cv-09795          GOLOMB & HONIK, PC
MONROE, EXIA               NJ - Superior Court - Atlantic County      ATL-L-2310-17          GOLOMB & HONIK, PC




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MOREIRA, MARIA             NJ - Superior Court - Atlantic County      ATL-L-000127-19        GOLOMB & HONIK, PC
MORGAN, CYNTHIA            NJ - Superior Court - Atlantic County      ATL-L-2265-17          GOLOMB & HONIK, PC
MORTIMER, LAURA            NJ - Superior Court - Atlantic County      ATL-L-1232-16          GOLOMB & HONIK, PC
MURPHY, MARY               NJ - USDC for the District of New Jersey   3:17-cv-10663          GOLOMB & HONIK, PC
NAPOLITANO, LORI           NJ - Superior Court - Atlantic County      ATL-L-2289-17          GOLOMB & HONIK, PC
NESBETH, JORDANNE          NJ - USDC for the District of New Jersey   3:17-cv-10424          GOLOMB & HONIK, PC
NORRIS, DIANE              NJ - Superior Court - Atlantic County      ATL-L-729-16           GOLOMB & HONIK, PC
NOWE, MARGARET             NJ - Superior Court - Atlantic County      ATL-L-297-18           GOLOMB & HONIK, PC
NUSS, KATHRYN              NJ - Superior Court - Atlantic County      ATL-L-1295-18          GOLOMB & HONIK, PC
OCONNELL, ANNEMARIE        NJ - USDC for the District of New Jersey   3:18-cv-00632          GOLOMB & HONIK, PC
OFFERMAN, ADELAIDE         NJ - Superior Court - Atlantic County      ATL-L-2236-17          GOLOMB & HONIK, PC
ORELLANA, KATHLEEN         NJ - USDC for the District of New Jersey   3:17-cv-09658          GOLOMB & HONIK, PC
OREM, LAURA                NJ - USDC for the District of New Jersey   3:17-cv-05589          GOLOMB & HONIK, PC
ORMAN, MICHELLE            NJ - Superior Court - Atlantic County      ATL-L-247-16           GOLOMB & HONIK, PC
ORMOND, AMBER              NJ - USDC for the District of New Jersey   3:17-cv-09620          GOLOMB & HONIK, PC
OSTROSKI, DEBORAH          NJ - Superior Court - Atlantic County      ATL-L-1140-15          GOLOMB & HONIK, PC
OWENS, DENISE              NJ - Superior Court - Atlantic County      ATL-L-000645-18        GOLOMB & HONIK, PC
OWENS, JANET               NJ - USDC for the District of New Jersey   3:17-cv-10656          GOLOMB & HONIK, PC
PALETTA, LISA              NJ - USDC for the District of New Jersey   3:17-cv-10161          GOLOMB & HONIK, PC
PARKER, VENESSA            NJ - Superior Court - Atlantic County      ATL-L-288-15           GOLOMB & HONIK, PC
PASCAVAGE, FRANCES         NJ - Superior Court - Atlantic County      ATL-L-001073-18        GOLOMB & HONIK, PC
PERIDORE, MICKAEL          NJ - Superior Court - Atlantic County      ATL-L-1959-16          GOLOMB & HONIK, PC
PETKA, ANNE                NJ - Superior Court - Atlantic County      ATL-L-000654-18        GOLOMB & HONIK, PC
PETRACO, CAROL             NJ - Superior Court - Atlantic County      ATL-L-2405-17          GOLOMB & HONIK, PC
PETTWAY, TASHA             NJ - Superior Court - Atlantic County      ATL-L-255-15           GOLOMB & HONIK, PC
PIETRUSZKA, MARTA          NJ - Superior Court - Atlantic County      ATL-L-001470-18        GOLOMB & HONIK, PC
PLANT, MARY                NJ - Superior Court - Atlantic County      ATL-L-001806-18        GOLOMB & HONIK, PC
POPOV, SHARON              NJ - Superior Court - Atlantic County      ATL-L-2290-17          GOLOMB & HONIK, PC
POULILLO, REGINA           NJ - Superior Court - Atlantic County      ATL-L-002204-19        GOLOMB & HONIK, PC
PRATT, MAGGIE              NJ - Superior Court - Atlantic County      ATL-L-2506-15          GOLOMB & HONIK, PC
PRESNAL, ROSE              NJ - Superior Court - Atlantic County      ATL-L409-18            GOLOMB & HONIK, PC
PRICE, ANDREA              NJ - Superior Court - Atlantic County      ATL-L-1958-16          GOLOMB & HONIK, PC
PRICE, TAMRUS              NJ - USDC for the District of New Jersey   3:19-cv-20035          GOLOMB & HONIK, PC
PRYOR, CHRISTINE           NJ - Superior Court - Atlantic County      ATL-L-001223-20        GOLOMB & HONIK, PC
RAAD-BIER, LISA            NJ - Superior Court - Atlantic County      ATL-L-730-16           GOLOMB & HONIK, PC
RABASCA, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-09673          GOLOMB & HONIK, PC
RAMUNDO, CAROL             NJ - Superior Court - Atlantic County      L00294219              GOLOMB & HONIK, PC
RANKIN, MARY               NJ - Superior Court - Atlantic County      Atl-l-1181-16          GOLOMB & HONIK, PC
RASHIED, BRENDA            NJ - Superior Court - Atlantic County      ATL-L-1040-16          GOLOMB & HONIK, PC
RAVENCRAFT, ELAINE         NJ - Superior Court - Atlantic County      ATL-L-295-18           GOLOMB & HONIK, PC
REAVY, PATRICIA            NJ - USDC for the District of New Jersey   3:19-cv-14348          GOLOMB & HONIK, PC
REED, KAREN                NJ - USDC for the District of New Jersey   3:17-cv-09752          GOLOMB & HONIK, PC
REINHART, CONNIE           NJ - USDC for the District of New Jersey   3:17-cv-09625          GOLOMB & HONIK, PC
RENNA, GENEIEVE            NJ - Superior Court - Atlantic County      ATL-L-2268-17          GOLOMB & HONIK, PC
RESSLER, LILLIE            NJ - Superior Court - Atlantic County      ATL-L-611-16           GOLOMB & HONIK, PC
RICHARDSON, CORTISHA       NJ - USDC for the District of New Jersey   3:17-cv-11368          GOLOMB & HONIK, PC
ROAN, BONNIE               NJ - Superior Court - Atlantic County      ATL-L-13-16            GOLOMB & HONIK, PC
ROBERTIELLO, DOROTHY       NJ - Superior Court - Atlantic County      ATL-L-001870-18        GOLOMB & HONIK, PC
ROBINSON, ALICE            NJ - USDC for the District of New Jersey   3:17-cv-10447          GOLOMB & HONIK, PC
RODRIGUEZ-BENGE, LINDA     NJ - USDC for the District of New Jersey   3:17-cv-10249          GOLOMB & HONIK, PC
ROE, DELORES               NJ - Superior Court - Atlantic County      ATL-L-7-16             GOLOMB & HONIK, PC
RYLEY, TINA                NJ - Superior Court - Atlantic County      ATL-L-2293-17          GOLOMB & HONIK, PC
SALLY, ASHOK               NJ - USDC for the District of New Jersey   3:17-cv-10274          GOLOMB & HONIK, PC
SALMON-MUSSO, LILLIAN      NJ - Superior Court - Atlantic County      ATL-L-000649-18        GOLOMB & HONIK, PC
SANDERS, MONTERESA         NJ - Superior Court - Atlantic County      ATL-L-675-16           GOLOMB & HONIK, PC
SCHULMAN, KATHLEEN         NJ - Superior Court - Atlantic County      ATL-L-2269-17          GOLOMB & HONIK, PC
SCHWARTZ, ROSALLIND        NJ - Superior Court - Atlantic County      ATL-L-2270-17          GOLOMB & HONIK, PC
SCOTT, BEVERLY             NJ - Superior Court - Atlantic County      ATL-L-2233-17          GOLOMB & HONIK, PC
SEMENAS, ROSEMARY          NJ - Superior Court - Atlantic County      ATL-L-2271-17          GOLOMB & HONIK, PC
SHADE, GLORIA              NJ - Superior Court - Atlantic County      ATL-L-2119-15          GOLOMB & HONIK, PC
SHAFER, LINDA              NJ - Superior Court - Atlantic County      ATL-L-0852-15          GOLOMB & HONIK, PC
SHEAFFER, CYNTHIA          NJ - USDC for the District of New Jersey   3:18-cv-00603          GOLOMB & HONIK, PC
SHOEMAKER, JULIANNE        NJ - Superior Court - Atlantic County      ATL-L-1227-16          GOLOMB & HONIK, PC
SHORTER, LINDA             NJ - Superior Court - Atlantic County      ATL-L-1418-17          GOLOMB & HONIK, PC
SHULAR, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-10655          GOLOMB & HONIK, PC
SILVEY, DOROTHY            NJ - Superior Court - Atlantic County      ATL-L-003071-18        GOLOMB & HONIK, PC
SIMANSKIS, CLYDEAN         NJ - USDC for the District of New Jersey   3:17-cv-10162          GOLOMB & HONIK, PC
SINGER, MARCI              NJ - Superior Court - Atlantic County      ATL-L-2719-17          GOLOMB & HONIK, PC
SINGLE, SUSAN              NJ - Superior Court - Atlantic County      ATL-L-1876-16          GOLOMB & HONIK, PC
SINISCALCHI, MARYANN       NJ - Superior Court - Atlantic County      ATL-L-2720-17          GOLOMB & HONIK, PC
SMITH, JEANNE              NJ - Superior Court - Atlantic County      ATL-L-311-16           GOLOMB & HONIK, PC
SMITH, SUSAN               NJ - Superior Court - Atlantic County      ATL-L-1956-16          GOLOMB & HONIK, PC
SMITH-MORRIS, RITA         NJ - Superior Court - Atlantic County      ATL-L-000651-18        GOLOMB & HONIK, PC
SOUZA, SARA                NJ - USDC for the District of New Jersey   3:17-cv-10229          GOLOMB & HONIK, PC
SPARKS, JULIA              NJ - Superior Court - Atlantic County      ATL-L003172-19         GOLOMB & HONIK, PC
SPENCER, CAROLYN           NJ - Superior Court - Atlantic County      ATL-L-1660-15          GOLOMB & HONIK, PC
SPILLER, JESSICA           NJ - Superior Court - Atlantic County      ATL-L-193-16           GOLOMB & HONIK, PC
ST. CLAIR, VIRGINIA        NJ - USDC for the District of New Jersey   3:17-cv-12759          GOLOMB & HONIK, PC
STEIN, JILLYAN             NJ - Superior Court - Atlantic County      ATL-L-2121-15          GOLOMB & HONIK, PC
STELIGA, GAIL              NJ - Superior Court - Atlantic County      L00197319              GOLOMB & HONIK, PC




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STREET, PATRICIA           NJ - Superior Court - Atlantic County      ATL-L-616-16          GOLOMB & HONIK, PC
STRONEY, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-00410         GOLOMB & HONIK, PC
STRUNK, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-16507         GOLOMB & HONIK, PC
SULLIVAN, EMILY P.         NJ - Superior Court - Atlantic County      ATL-L-5142-14         GOLOMB & HONIK, PC
SULLIVAN, LACINDA          NJ - USDC for the District of New Jersey   3:17-cv-09713         GOLOMB & HONIK, PC
SUTCLIFFE, S.              NJ - Superior Court - Atlantic County      ATL-L-001344-18       GOLOMB & HONIK, PC
SZWAJKOWSKI, BRITTANY      NJ - Superior Court - Atlantic County      ATL-L-728-16          GOLOMB & HONIK, PC
TALUCCI, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-2272-17         GOLOMB & HONIK, PC
TAN, REGINA                NJ - USDC for the District of New Jersey   3:18-cv-00609         GOLOMB & HONIK, PC
TART, BARBARA              NJ - Superior Court - Atlantic County      ATL-001805-18         GOLOMB & HONIK, PC
TAYLOR, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-1913-16         GOLOMB & HONIK, PC
TAYLOR, LISETTE            NJ - Superior Court - Atlantic County      ATL-L-1675-16         GOLOMB & HONIK, PC
TENENBAUM, PEARL           NJ - Superior Court - Atlantic County      ATL-L-2294-17         GOLOMB & HONIK, PC
TESTA, LILLIAN             NJ - Superior Court - Atlantic County      ATL-L-1315-16         GOLOMB & HONIK, PC
THACKER, DOTTIE            NJ - Superior Court - Atlantic County      ATL-L-847-16          GOLOMB & HONIK, PC
THOMPSON, LAURA            NJ - Superior Court - Atlantic County      ATL-L-2295-17         GOLOMB & HONIK, PC
THOMPSON, VERNA            NJ - USDC for the District of New Jersey   3:17-cv-09629         GOLOMB & HONIK, PC
THURMAN, MARGARET          NJ - Superior Court - Atlantic County      ATL-L-100-16          GOLOMB & HONIK, PC
TLOCZKOWSKI, PATRICA       NJ - Superior Court - Atlantic County      ATL-L-1658-15         GOLOMB & HONIK, PC
TOOMER, PEARL              NJ - Superior Court - Atlantic County      ATL-L-001119-20       GOLOMB & HONIK, PC
TORRE, NANCY               NJ - Superior Court - Atlantic County      ATL-L-000853-18       GOLOMB & HONIK, PC
TROOP, KRISTEN             NJ - USDC for the District of New Jersey   3:17-cv-10657         GOLOMB & HONIK, PC
UNRUH, SANDRA              NJ - Superior Court - Atlantic County      ATL-L-2279-17         GOLOMB & HONIK, PC
URICK, DONNA               NJ - Superior Court - Atlantic County      ATL-L-000659-18       GOLOMB & HONIK, PC
VALENTINE, JEANETTE        NJ - Superior Court - Atlantic County      ATL-L-001579-18       GOLOMB & HONIK, PC
VEAL, ROBIN                NJ - Superior Court - Atlantic County      ATL-L-2277-17         GOLOMB & HONIK, PC
VERDUSCO, MATINA           NJ - Superior Court - Atlantic County      ATL-L-589-16          GOLOMB & HONIK, PC
VERLIE, VICTORIA           NJ - USDC for the District of New Jersey   3:18-cv-01421         GOLOMB & HONIK, PC
VIRUET, JESSICA            NJ - Superior Court - Atlantic County      ATL-L-296-18          GOLOMB & HONIK, PC
VISCUSI, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-2435-17         GOLOMB & HONIK, PC
VOLKER-LOGUIDICE, AMANDA   NJ - Superior Court - Atlantic County      ATL-L-2273-17         GOLOMB & HONIK, PC
WALKER, ALLINE             NJ - Superior Court - Atlantic County      ATL-L-00292-19        GOLOMB & HONIK, PC
WALLACE, SHADRA            NJ - Superior Court - Atlantic County      ATL-L-1509-16         GOLOMB & HONIK, PC
WARD, VALERIE              NJ - USDC for the District of New Jersey   3:17-cv-10514         GOLOMB & HONIK, PC
WATFORD, PAULETTE          NJ - USDC for the District of New Jersey   3:18-cv-00604         GOLOMB & HONIK, PC
WAUGH, CLARICE             NJ - Superior Court - Atlantic County      ATL-L-8-16            GOLOMB & HONIK, PC
WEBB, WANDA                NJ - Superior Court - Atlantic County      ATL-L-1184-16         GOLOMB & HONIK, PC
WHITEHURST, MARY           NJ - USDC for the District of New Jersey   3:17-cv-09778         GOLOMB & HONIK, PC
WHITFIELD-GILMORE, NAKIA   NJ - USDC for the District of New Jersey   3:17-cv-10149         GOLOMB & HONIK, PC
WILKERSON, GLORIA          NJ - Superior Court - Atlantic County      ATL-L-2274-17         GOLOMB & HONIK, PC
WILKES, EVA                NJ - Superior Court - Atlantic County      ATL-L-312-16          GOLOMB & HONIK, PC
WILLIAMS, GAIL             NJ - Superior Court - Atlantic County      ATL-L-957-15          GOLOMB & HONIK, PC
WILSON, ANITA              NJ - Superior Court - Atlantic County      ATL-L-785-16          GOLOMB & HONIK, PC
WILSON, SHERRY             NJ - Superior Court - Atlantic County      ATL-L-1182-16         GOLOMB & HONIK, PC
WILWERT, HELEN             NJ - Superior Court - Atlantic County      ATL-L-1297-18         GOLOMB & HONIK, PC
ZAGARSKI, PAULA            NJ - Superior Court - Atlantic County      ATL-L-000755-20       GOLOMB & HONIK, PC
ZANE, DELLA                NJ - Superior Court - Atlantic County      ATL-L-2275-17         GOLOMB & HONIK, PC
ZAVISTOSKI, BRENDA         NJ - USDC for the District of New Jersey   3:17-cv-10158         GOLOMB & HONIK, PC
ZUCKER, DONNA              NJ - Superior Court - Atlantic County      ATL-L-2276-17         GOLOMB & HONIK, PC
ACEVEDO, LOLA              NJ - USDC for the District of New Jersey   3:17-cv-00792         GORI JULIAN & ASSOCIATES, P.C.
ADAMS, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-10455         GORI JULIAN & ASSOCIATES, P.C.
ALANDT, VICKIE             NJ - USDC for the District of New Jersey   3:19-cv-15522         GORI JULIAN & ASSOCIATES, P.C.
ALLEN, KRISTY              NJ - USDC for the District of New Jersey   3:17-cv-10064         GORI JULIAN & ASSOCIATES, P.C.
ALLEN, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-01162         GORI JULIAN & ASSOCIATES, P.C.
ALLINGHAM, LOIS            NJ - USDC for the District of New Jersey   3:18-cv-11286         GORI JULIAN & ASSOCIATES, P.C.
ALSTON, GAIL               NJ - USDC for the District of New Jersey   3:18-cv-11133         GORI JULIAN & ASSOCIATES, P.C.
ANDERSON, SARAH            NJ - USDC for the District of New Jersey   3:18-cv-02165         GORI JULIAN & ASSOCIATES, P.C.
ANGUSTAIN, LAURIE          NJ - USDC for the District of New Jersey   3:18-cv-02163         GORI JULIAN & ASSOCIATES, P.C.
ARENDS, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-10568         GORI JULIAN & ASSOCIATES, P.C.
ARISPE, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-14313         GORI JULIAN & ASSOCIATES, P.C.
ARNOLD, INAZE              NJ - USDC for the District of New Jersey   3:19-cv-21624         GORI JULIAN & ASSOCIATES, P.C.
ARROYO, ANA                NJ - USDC for the District of New Jersey   3:18-cv-01239         GORI JULIAN & ASSOCIATES, P.C.
ASHLEY, THERESA            NJ - USDC for the District of New Jersey   3:19-cv-15532         GORI JULIAN & ASSOCIATES, P.C.
ATTERHOLT, CYNTHIA         NJ - USDC for the District of New Jersey   3:18-cv-16785         GORI JULIAN & ASSOCIATES, P.C.
BAILEY, MICAH              NJ - USDC for the District of New Jersey   3:18-cv-05536         GORI JULIAN & ASSOCIATES, P.C.
BAILEY, REGINA             NJ - USDC for the District of New Jersey   3:19-cv-10974         GORI JULIAN & ASSOCIATES, P.C.
BAKER, ILENE               NJ - USDC for the District of New Jersey   3:18-cv-02164         GORI JULIAN & ASSOCIATES, P.C.
BAKER, PAMELA              NJ - USDC for the District of New Jersey   3:17-cv-13228         GORI JULIAN & ASSOCIATES, P.C.
BANTA, NANCY               NJ - USDC for the District of New Jersey   3:19-cv-06806         GORI JULIAN & ASSOCIATES, P.C.
BARLOW, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-09353         GORI JULIAN & ASSOCIATES, P.C.
BARTNICK, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-01173         GORI JULIAN & ASSOCIATES, P.C.
BASICH, ADELAIDA           NJ - USDC for the District of New Jersey   3:18-cv-01171         GORI JULIAN & ASSOCIATES, P.C.
BEARD, DANIKA              NJ - USDC for the District of New Jersey   3:19-cv-08537         GORI JULIAN & ASSOCIATES, P.C.
BENSON, RACHEL             NJ - USDC for the District of New Jersey   3:19-cv-11987         GORI JULIAN & ASSOCIATES, P.C.
BERGERON, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-13321         GORI JULIAN & ASSOCIATES, P.C.
BERGQUIST, CYNTHIA         NJ - USDC for the District of New Jersey   3:18-cv-07586         GORI JULIAN & ASSOCIATES, P.C.
BILTZ, JUDY                NJ - USDC for the District of New Jersey   3:19-cv-08539         GORI JULIAN & ASSOCIATES, P.C.
BLACCONIERE, ANN           NJ - USDC for the District of New Jersey   3:19-cv-06773         GORI JULIAN & ASSOCIATES, P.C.
BLAISDELL, NATASHA         NJ - USDC for the District of New Jersey   3:17-cv-12261         GORI JULIAN & ASSOCIATES, P.C.
BOBO, SHELIA               NJ - USDC for the District of New Jersey   3:17-cv-01161         GORI JULIAN & ASSOCIATES, P.C.




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BONEY, SHERRY              NJ - USDC for the District of New Jersey   3:17-cv-10005         GORI JULIAN & ASSOCIATES, P.C.
BOSAN, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-00683         GORI JULIAN & ASSOCIATES, P.C.
BRATTON, LANA              NJ - USDC for the District of New Jersey   3:18-cv-05374         GORI JULIAN & ASSOCIATES, P.C.
BRAVO, CHRISTIE            NJ - USDC for the District of New Jersey   3:20-cv-00932         GORI JULIAN & ASSOCIATES, P.C.
BRAY, CAROL                NJ - USDC for the District of New Jersey   3:18-cv-12332         GORI JULIAN & ASSOCIATES, P.C.
BREESE, JENNIFER           NJ - USDC for the District of New Jersey   3:19-cv-20678         GORI JULIAN & ASSOCIATES, P.C.
BREIER, LYNNETTE           NJ - USDC for the District of New Jersey   3:18-cv-01232         GORI JULIAN & ASSOCIATES, P.C.
BREITHAUPT, ERMA           NJ - USDC for the District of New Jersey   3:18-cv-01181         GORI JULIAN & ASSOCIATES, P.C.
BREWER, CANDACE            NJ - USDC for the District of New Jersey   3:18-cv-10160         GORI JULIAN & ASSOCIATES, P.C.
BREWSTER, TENITA           NJ - USDC for the District of New Jersey   3:20-cv-01812         GORI JULIAN & ASSOCIATES, P.C.
BRIEN, PAULINE             NJ - USDC for the District of New Jersey   3:18-cv-07579         GORI JULIAN & ASSOCIATES, P.C.
BROWN, ANNETTE             NJ - USDC for the District of New Jersey   3:19-cv-18175         GORI JULIAN & ASSOCIATES, P.C.
BROWN, NEACOLE             NJ - USDC for the District of New Jersey   3:17-cv-09968         GORI JULIAN & ASSOCIATES, P.C.
BROWN, TERESA; SANTOS,
                           NJ - USDC for the District of New Jersey   3:17-cv-02404         GORI JULIAN & ASSOCIATES, P.C.
CAROLANNE
BROWN, TRACY               NJ - USDC for the District of New Jersey   3:19-cv-00890         GORI JULIAN & ASSOCIATES, P.C.
BRYANT, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-10204         GORI JULIAN & ASSOCIATES, P.C.
BUCHTA, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-00915         GORI JULIAN & ASSOCIATES, P.C.
BUENO, KAREN               NJ - USDC for the District of New Jersey   3:19-cv-00688         GORI JULIAN & ASSOCIATES, P.C.
BUSACK, ALISON             NJ - USDC for the District of New Jersey   3:18-cv-17067         GORI JULIAN & ASSOCIATES, P.C.
BUSCIACCO, MARIA           NJ - USDC for the District of New Jersey   3:18-cv-01177         GORI JULIAN & ASSOCIATES, P.C.
BUSTOS, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-15524         GORI JULIAN & ASSOCIATES, P.C.
CAIN, CHARLES              NJ - USDC for the District of New Jersey   3:18-cv-08540         GORI JULIAN & ASSOCIATES, P.C.
CALAHAN, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-17115         GORI JULIAN & ASSOCIATES, P.C.
CAMPBELL, PAULETTE         NJ - USDC for the District of New Jersey   3:19-cv-08532         GORI JULIAN & ASSOCIATES, P.C.
CANNADY, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-09346         GORI JULIAN & ASSOCIATES, P.C.
CARPENTER, BARBARA         NJ - USDC for the District of New Jersey   3:18-cv-05368         GORI JULIAN & ASSOCIATES, P.C.
CARPENTER, CAROL           NJ - USDC for the District of New Jersey   3:17-cv-11845         GORI JULIAN & ASSOCIATES, P.C.
CARPENTER, DAWN            NJ - USDC for the District of New Jersey   3:18-cv-17069         GORI JULIAN & ASSOCIATES, P.C.
CARR, ALEXIS               NJ - USDC for the District of New Jersey   3:19-cv-15533         GORI JULIAN & ASSOCIATES, P.C.
CARRERO, AMPARO            NJ - USDC for the District of New Jersey   3:18-cv-01198         GORI JULIAN & ASSOCIATES, P.C.
CARTER, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-10011         GORI JULIAN & ASSOCIATES, P.C.
CHANDLER, MARY             NJ - USDC for the District of New Jersey   3:19-cv-12897         GORI JULIAN & ASSOCIATES, P.C.
CHANEY, VALETTA            NJ - USDC for the District of New Jersey   3:17-cv-13242         GORI JULIAN & ASSOCIATES, P.C.
CHAVIS, SHERITA            NJ - USDC for the District of New Jersey   3:17-cv-09669         GORI JULIAN & ASSOCIATES, P.C.
CHOINIERE, CAROLYN         NJ - USDC for the District of New Jersey   3:19-cv-17110         GORI JULIAN & ASSOCIATES, P.C.
CHRISTIAN, RUGINER         NJ - USDC for the District of New Jersey   3:17-cv-08122         GORI JULIAN & ASSOCIATES, P.C.
CLARK, KATHERINE           NJ - USDC for the District of New Jersey   3:17-cv-09963         GORI JULIAN & ASSOCIATES, P.C.
CLARKE, LAURA              NJ - USDC for the District of New Jersey   3:18-cv-01174         GORI JULIAN & ASSOCIATES, P.C.
COCHRANE, MARY             NJ - USDC for the District of New Jersey   3:18-cv-16497         GORI JULIAN & ASSOCIATES, P.C.
COGAR, MARILYN             NJ - USDC for the District of New Jersey   3:18-cv-03189         GORI JULIAN & ASSOCIATES, P.C.
COLBERT, MARY              NJ - USDC for the District of New Jersey   3:17-cv-09990         GORI JULIAN & ASSOCIATES, P.C.
COLELLA, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-05214         GORI JULIAN & ASSOCIATES, P.C.
COLLETT, MARY              NJ - USDC for the District of New Jersey   3:17-cv-10399         GORI JULIAN & ASSOCIATES, P.C.
COLLINS, KARMEN            NJ - USDC for the District of New Jersey   3:19-cv-18178         GORI JULIAN & ASSOCIATES, P.C.
COLLINS, PAULA             NJ - USDC for the District of New Jersey   3:18-cv-01233         GORI JULIAN & ASSOCIATES, P.C.
COLOMBI, KIM               NJ - USDC for the District of New Jersey   3:21-cv-01114         GORI JULIAN & ASSOCIATES, P.C.
CORBETT, CHRISTINE         NJ - USDC for the District of New Jersey   3:17-cv-09992         GORI JULIAN & ASSOCIATES, P.C.
COX, TERESA                NJ - USDC for the District of New Jersey   3:19-cv-00689         GORI JULIAN & ASSOCIATES, P.C.
CRAMER, TONYA              NJ - USDC for the District of New Jersey   3:18-cv-01167         GORI JULIAN & ASSOCIATES, P.C.
CROSS, LANELLE             NJ - USDC for the District of New Jersey   3:17-cv-10439         GORI JULIAN & ASSOCIATES, P.C.
CUFF, SHAWNA               NJ - USDC for the District of New Jersey   3:17-cv-10056         GORI JULIAN & ASSOCIATES, P.C.
CURRY, ALICE               NJ - USDC for the District of New Jersey   3:18-cv-16790         GORI JULIAN & ASSOCIATES, P.C.
CURYK, ALEXA               NJ - USDC for the District of New Jersey   3:18-cv-09950         GORI JULIAN & ASSOCIATES, P.C.
DANIELS, TERRI             NJ - USDC for the District of New Jersey   3:17-cv-13234         GORI JULIAN & ASSOCIATES, P.C.
DAVIS, VALORIE             NJ - USDC for the District of New Jersey   3:19-cv-18163         GORI JULIAN & ASSOCIATES, P.C.
DEVARGAS, CASANDRA         NJ - USDC for the District of New Jersey   3:20-cv-00911         GORI JULIAN & ASSOCIATES, P.C.
DEWITT, JOANNE             NJ - USDC for the District of New Jersey   3:17-cv-09685         GORI JULIAN & ASSOCIATES, P.C.
DILLON, VERLENA            NJ - USDC for the District of New Jersey   3:19-cv-15543         GORI JULIAN & ASSOCIATES, P.C.
DIXON, BRANDI              NJ - USDC for the District of New Jersey   3:17-cv-09986         GORI JULIAN & ASSOCIATES, P.C.
DORSEY, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-10219         GORI JULIAN & ASSOCIATES, P.C.
DORTCH, MABLE              NJ - USDC for the District of New Jersey   3:18-cv-01137         GORI JULIAN & ASSOCIATES, P.C.
DOZIER, ZHENYA             NJ - USDC for the District of New Jersey   3:17-cv-13231         GORI JULIAN & ASSOCIATES, P.C.
DRESSLER, JERI             NJ - USDC for the District of New Jersey   3:18-cv-08661         GORI JULIAN & ASSOCIATES, P.C.
DUNAWAY, PAULA             NJ - USDC for the District of New Jersey   3:18-cv-03193         GORI JULIAN & ASSOCIATES, P.C.
DURDEN, LESA               NJ - USDC for the District of New Jersey   3:21-cv-01117         GORI JULIAN & ASSOCIATES, P.C.
DURFEE, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-11335         GORI JULIAN & ASSOCIATES, P.C.
DUVALL, EDITH              NJ - USDC for the District of New Jersey   3:19-cv-06768         GORI JULIAN & ASSOCIATES, P.C.
EARP, JILL                 NJ - USDC for the District of New Jersey   3:17-cv-10037         GORI JULIAN & ASSOCIATES, P.C.
EDMOND, URSULA             NJ - USDC for the District of New Jersey   3:18-cv-15430         GORI JULIAN & ASSOCIATES, P.C.
EDWARDS, JANET             NJ - USDC for the District of New Jersey   3:17-cv-06611         GORI JULIAN & ASSOCIATES, P.C.
EHRIG, NANCY               NJ - USDC for the District of New Jersey   3:17-cv-10087         GORI JULIAN & ASSOCIATES, P.C.
EL-KHAYYAT, DAVENE         NJ - USDC for the District of New Jersey   3:20-cv-00948         GORI JULIAN & ASSOCIATES, P.C.
ELOVICH, DYAN              NJ - USDC for the District of New Jersey   3:18-cv-11144         GORI JULIAN & ASSOCIATES, P.C.
FARLEY, CAROLANN           NJ - USDC for the District of New Jersey   3:19-cv-21604         GORI JULIAN & ASSOCIATES, P.C.
FEATHERS, JEAN             NJ - USDC for the District of New Jersey   3:17-cv-09370         GORI JULIAN & ASSOCIATES, P.C.
FELTON, MELINDA            NJ - USDC for the District of New Jersey   3:18-cv-01228         GORI JULIAN & ASSOCIATES, P.C.
FERGUSON, MARIE            NJ - USDC for the District of New Jersey   3:19-cv-10968         GORI JULIAN & ASSOCIATES, P.C.
FERGUSON, TAISKA           NJ - USDC for the District of New Jersey   3:17-cv-10403         GORI JULIAN & ASSOCIATES, P.C.
FERREIRA, WENDY            NJ - USDC for the District of New Jersey   3:17-cv-09707         GORI JULIAN & ASSOCIATES, P.C.




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           Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
FERRETTI, FRANCESCA        NJ - USDC for the District of New Jersey   3:20-cv-01160         GORI JULIAN & ASSOCIATES, P.C.
FESSLER, HOLLI             NJ - USDC for the District of New Jersey   3:18-cv-05391         GORI JULIAN & ASSOCIATES, P.C.
FIERRO, MARTHA             NJ - USDC for the District of New Jersey   3:18-cv-11284         GORI JULIAN & ASSOCIATES, P.C.
FISCHER, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-17106         GORI JULIAN & ASSOCIATES, P.C.
FODROCY, JEANNE            NJ - USDC for the District of New Jersey   3:19-cv-21621         GORI JULIAN & ASSOCIATES, P.C.
FORD, GLORIA               NJ - USDC for the District of New Jersey   3:17-cv-10421         GORI JULIAN & ASSOCIATES, P.C.
FOSTER, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-01141         GORI JULIAN & ASSOCIATES, P.C.
FOX, STEPHANIE             NJ - USDC for the District of New Jersey   3:17-cv-09977         GORI JULIAN & ASSOCIATES, P.C.
FULLER, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-10052         GORI JULIAN & ASSOCIATES, P.C.
GALBREATH, BETTY           NJ - USDC for the District of New Jersey   3:17-cv-10258         GORI JULIAN & ASSOCIATES, P.C.
GALLEGOS, JACQUELINE       NJ - USDC for the District of New Jersey   3:18-cv-07552         GORI JULIAN & ASSOCIATES, P.C.
GALLIA, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-10256         GORI JULIAN & ASSOCIATES, P.C.
GARCIA, ANA                NJ - USDC for the District of New Jersey   3:19-cv-18177         GORI JULIAN & ASSOCIATES, P.C.
GARLAND, LADONNA           NJ - USDC for the District of New Jersey   3:17-cv-10089         GORI JULIAN & ASSOCIATES, P.C.
GARZA, JANIS               NJ - USDC for the District of New Jersey   3:18-cv-01200         GORI JULIAN & ASSOCIATES, P.C.
GASPARD, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-14431         GORI JULIAN & ASSOCIATES, P.C.
GATLIFF, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-15526         GORI JULIAN & ASSOCIATES, P.C.
GEBARD, KATHY              NJ - USDC for the District of New Jersey   3:17-cv-09959         GORI JULIAN & ASSOCIATES, P.C.
GENTRY, LEASA              NJ - USDC for the District of New Jersey   3:17-cv-13330         GORI JULIAN & ASSOCIATES, P.C.
GENTRY, PENNY              NJ - USDC for the District of New Jersey   3:17-cv-10246         GORI JULIAN & ASSOCIATES, P.C.
GEORGE, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-21613         GORI JULIAN & ASSOCIATES, P.C.
GIFFORD, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-01161         GORI JULIAN & ASSOCIATES, P.C.
GILBERT, GERALDINE         NJ - USDC for the District of New Jersey   3:17-cv-13259         GORI JULIAN & ASSOCIATES, P.C.
GLOVER, BRENDA             NJ - USDC for the District of New Jersey   3:18-cv-00480         GORI JULIAN & ASSOCIATES, P.C.
GOBLE, ROCHELLE            NJ - USDC for the District of New Jersey   3:18-cv-02693         GORI JULIAN & ASSOCIATES, P.C.
GOINS, MARICA              NJ - USDC for the District of New Jersey   3:17-cv-10207         GORI JULIAN & ASSOCIATES, P.C.
GOLDEN, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-05366         GORI JULIAN & ASSOCIATES, P.C.
GONZALES, OLIVIA           NJ - USDC for the District of New Jersey   3:20-cv-11069         GORI JULIAN & ASSOCIATES, P.C.
GOODEN, KIM                NJ - USDC for the District of New Jersey   3:21-cv-07677         GORI JULIAN & ASSOCIATES, P.C.
GRAFT, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-21596         GORI JULIAN & ASSOCIATES, P.C.
GRANT, JOAN                NJ - USDC for the District of New Jersey   3:18-cv-09337         GORI JULIAN & ASSOCIATES, P.C.
GRAVES, TURESSER           NJ - USDC for the District of New Jersey   3:17-cv-09973         GORI JULIAN & ASSOCIATES, P.C.
GUISE, KAREN               NJ - USDC for the District of New Jersey   3:18-cv-05381         GORI JULIAN & ASSOCIATES, P.C.
GUNBY, TERESA              NJ - USDC for the District of New Jersey   3:17-cv-09666         GORI JULIAN & ASSOCIATES, P.C.
HACKETT, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-11294         GORI JULIAN & ASSOCIATES, P.C.
HADLEY, TRINA              NJ - USDC for the District of New Jersey   3:17-cv-10152         GORI JULIAN & ASSOCIATES, P.C.
HAINES, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-02162         GORI JULIAN & ASSOCIATES, P.C.
HARRELL, MICHELE           NJ - USDC for the District of New Jersey   3:17-cv-00797         GORI JULIAN & ASSOCIATES, P.C.
HAUCK, RACHEL              NJ - USDC for the District of New Jersey   3:17-cv-10061         GORI JULIAN & ASSOCIATES, P.C.
HAZEN, YVONNE              NJ - USDC for the District of New Jersey   3:19-cv-14306         GORI JULIAN & ASSOCIATES, P.C.
HEALD, ANNETTE             NJ - USDC for the District of New Jersey   3:18-cv-09490         GORI JULIAN & ASSOCIATES, P.C.
HEFNER, ROBIN              NJ - USDC for the District of New Jersey   3:17-cv-09698         GORI JULIAN & ASSOCIATES, P.C.
HEINKING, BONNIE           NJ - USDC for the District of New Jersey   3:18-cv-07568         GORI JULIAN & ASSOCIATES, P.C.
HENLEY, ALESHA             NJ - USDC for the District of New Jersey   3:20-cv-01157         GORI JULIAN & ASSOCIATES, P.C.
HERNANDEZ, ELIZABETH       NJ - USDC for the District of New Jersey   3:17-cv-10436         GORI JULIAN & ASSOCIATES, P.C.
HICKMAN, MARY              NJ - USDC for the District of New Jersey   3:18-cv-01242         GORI JULIAN & ASSOCIATES, P.C.
HICKS, CHRISTINE           NJ - USDC for the District of New Jersey   3:17-cv-09980         GORI JULIAN & ASSOCIATES, P.C.
HICKS, REGINA              NJ - USDC for the District of New Jersey   3:19-cv-15530         GORI JULIAN & ASSOCIATES, P.C.
HICKS, SHARON              NJ - USDC for the District of New Jersey   3:19-cv-12898         GORI JULIAN & ASSOCIATES, P.C.
HIGHTOWER, BETTY           NJ - USDC for the District of New Jersey   3:18-cv-02695         GORI JULIAN & ASSOCIATES, P.C.
HILL, LORI                 NJ - USDC for the District of New Jersey   3:19-cv-00695         GORI JULIAN & ASSOCIATES, P.C.
HILL, TONYA                NJ - USDC for the District of New Jersey   3:17-cv-11847         GORI JULIAN & ASSOCIATES, P.C.
HILL, VURLENDA             NJ - USDC for the District of New Jersey   3:18-cv-09492         GORI JULIAN & ASSOCIATES, P.C.
HOOKS, DOROTHY             NJ - USDC for the District of New Jersey   3:18-cv-09484         GORI JULIAN & ASSOCIATES, P.C.
HORNING, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-15424         GORI JULIAN & ASSOCIATES, P.C.
HOUGH, SUSANNE             NJ - USDC for the District of New Jersey   3:19-cv-10970         GORI JULIAN & ASSOCIATES, P.C.
HOUTS, DAWN                NJ - USDC for the District of New Jersey   3:19-cv-06803         GORI JULIAN & ASSOCIATES, P.C.
HUBBARD, WILMA             NJ - USDC for the District of New Jersey   3:17-cv-02507         GORI JULIAN & ASSOCIATES, P.C.
HUMBER, MARVA              NJ - USDC for the District of New Jersey   3:20-cv-20200         GORI JULIAN & ASSOCIATES, P.C.
ILGES, DEBRA               NJ - USDC for the District of New Jersey   3:18-cv-05538         GORI JULIAN & ASSOCIATES, P.C.
IMRAN, SONIA               NJ - USDC for the District of New Jersey   3:18-cv-08538         GORI JULIAN & ASSOCIATES, P.C.
INGHRAM, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-01178         GORI JULIAN & ASSOCIATES, P.C.
INGRAM, MARGIE             NJ - USDC for the District of New Jersey   3:18-cv-01888         GORI JULIAN & ASSOCIATES, P.C.
INNOCENTI, ANNE            NJ - USDC for the District of New Jersey   3:17-cv-13318         GORI JULIAN & ASSOCIATES, P.C.
IRONS, ELISHER             NJ - USDC for the District of New Jersey   3:17-cv-10251         GORI JULIAN & ASSOCIATES, P.C.
ISHAM, LISA                NJ - USDC for the District of New Jersey   3:17-cv-09690         GORI JULIAN & ASSOCIATES, P.C.
JACKSON-GOUDINE, CAROLYN   NJ - USDC for the District of New Jersey   3:17-cv-09714         GORI JULIAN & ASSOCIATES, P.C.
JAKAN, JANET               NJ - USDC for the District of New Jersey   3:19-cv-14309         GORI JULIAN & ASSOCIATES, P.C.
JARAM, MARY                NJ - USDC for the District of New Jersey   3:18-cv-03190         GORI JULIAN & ASSOCIATES, P.C.
JENKINS, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-10410         GORI JULIAN & ASSOCIATES, P.C.
JOHNSON, LOUISE            NJ - USDC for the District of New Jersey   3:19-cv-10760         GORI JULIAN & ASSOCIATES, P.C.
JOHNSON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-01815         GORI JULIAN & ASSOCIATES, P.C.
JONES, ELBA                NJ - USDC for the District of New Jersey   3:18-cv-05367         GORI JULIAN & ASSOCIATES, P.C.
JONES, MARTHA              NJ - USDC for the District of New Jersey   3:18-cv-08542         GORI JULIAN & ASSOCIATES, P.C.
JOPEK, JENNIFER            NJ - USDC for the District of New Jersey   3:17-cv-10266         GORI JULIAN & ASSOCIATES, P.C.
JOYCE, MARILYN             NJ - USDC for the District of New Jersey   3:17-cv-06495         GORI JULIAN & ASSOCIATES, P.C.
KAKOURIS, SHERRIE          NJ - USDC for the District of New Jersey   3:17-cv-10419         GORI JULIAN & ASSOCIATES, P.C.
KANDRACH, JULIET           NJ - USDC for the District of New Jersey   3:19-cv-00643         GORI JULIAN & ASSOCIATES, P.C.
KARLSON, VANESSA           NJ - USDC for the District of New Jersey   3:19-cv-15529         GORI JULIAN & ASSOCIATES, P.C.
KEARNS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-06490         GORI JULIAN & ASSOCIATES, P.C.




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          Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
KENDRIX, YOLANDA          NJ - USDC for the District of New Jersey   3:17-cv-10521         GORI JULIAN & ASSOCIATES, P.C.
KIBBLE, VALERIE           NJ - USDC for the District of New Jersey   3:17-cv-11854         GORI JULIAN & ASSOCIATES, P.C.
KILPATRICK, AMY           NJ - USDC for the District of New Jersey   3:18-cv-01134         GORI JULIAN & ASSOCIATES, P.C.
KIM, YUN                  NJ - USDC for the District of New Jersey   3:17-cv-10443         GORI JULIAN & ASSOCIATES, P.C.
KINNISON, JANICE          NJ - USDC for the District of New Jersey   3:18-cv-09918         GORI JULIAN & ASSOCIATES, P.C.
KIRKLAND, LYNNE           NJ - USDC for the District of New Jersey   3:19-cv-20675         GORI JULIAN & ASSOCIATES, P.C.
KISSINGER, BARBARA        NJ - USDC for the District of New Jersey   3:19-cv-10973         GORI JULIAN & ASSOCIATES, P.C.
KITTENPLAN, JAMIE         NJ - USDC for the District of New Jersey   3:18-cv-03222         GORI JULIAN & ASSOCIATES, P.C.
KLIMKE, ANDREA            NJ - USDC for the District of New Jersey   3:18-cv-03218         GORI JULIAN & ASSOCIATES, P.C.
KNUTSON, CHANTEL          NJ - USDC for the District of New Jersey   3:17-cv-12244         GORI JULIAN & ASSOCIATES, P.C.
LABORDE, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-15523         GORI JULIAN & ASSOCIATES, P.C.
LACEY, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-05215         GORI JULIAN & ASSOCIATES, P.C.
LAKES, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-01175         GORI JULIAN & ASSOCIATES, P.C.
LAMBERTI, KATHLEEN        NJ - USDC for the District of New Jersey   3:18-cv-02664         GORI JULIAN & ASSOCIATES, P.C.
LAPOINTE, PATTI           NJ - USDC for the District of New Jersey   3:19-cv-00648         GORI JULIAN & ASSOCIATES, P.C.
LAROUSSE, CHRISTY         NJ - USDC for the District of New Jersey   3:20-cv-01838         GORI JULIAN & ASSOCIATES, P.C.
LAWLER, CHEVELLE          NJ - USDC for the District of New Jersey   3:18-cv-02728         GORI JULIAN & ASSOCIATES, P.C.
LAWLOR, ELIZABETH         NJ - USDC for the District of New Jersey   3:17-cv-10412         GORI JULIAN & ASSOCIATES, P.C.
LECKEY, PATSY             NJ - USDC for the District of New Jersey   3:18-cv-01245         GORI JULIAN & ASSOCIATES, P.C.
LEDBETTER, KATHLEEN       NJ - USDC for the District of New Jersey   3:17-cv-09972         GORI JULIAN & ASSOCIATES, P.C.
LEFEVERE, CARRIE          NJ - USDC for the District of New Jersey   3:20-cv-09655         GORI JULIAN & ASSOCIATES, P.C.
LEMELLE, CONNIE           NJ - USDC for the District of New Jersey   3:17-cv-10203         GORI JULIAN & ASSOCIATES, P.C.
LIDDELL, SYLVIA           NJ - USDC for the District of New Jersey   3:17-cv-09695         GORI JULIAN & ASSOCIATES, P.C.
LINCOLN, KIMBERLY         NJ - USDC for the District of New Jersey   3:19-cv-08533         GORI JULIAN & ASSOCIATES, P.C.
LITTLE, BONNIE            NJ - USDC for the District of New Jersey   3:18-cv-01145         GORI JULIAN & ASSOCIATES, P.C.
LOGAN, WYNESTER           NJ - USDC for the District of New Jersey   3:17-cv-09357         GORI JULIAN & ASSOCIATES, P.C.
LONGOBARDI, ROSA          NJ - USDC for the District of New Jersey   3:18-cv-11810         GORI JULIAN & ASSOCIATES, P.C.
LORD, JAYNE               NJ - USDC for the District of New Jersey   3:18-cv-01196         GORI JULIAN & ASSOCIATES, P.C.
LUKASEWICZ, MARY          NJ - USDC for the District of New Jersey   3:18-cv-09943         GORI JULIAN & ASSOCIATES, P.C.
LUTZ, KELLY               NJ - USDC for the District of New Jersey   3:20-cv-01175         GORI JULIAN & ASSOCIATES, P.C.
LYNCH-BRADSHER, KAYE      NJ - USDC for the District of New Jersey   3:17-cv-13334         GORI JULIAN & ASSOCIATES, P.C.
MACARTHUR, LYNN           NJ - USDC for the District of New Jersey   3:17-cv-13245         GORI JULIAN & ASSOCIATES, P.C.
MADDEN, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-09983         GORI JULIAN & ASSOCIATES, P.C.
MADDOX, DEANA             NJ - USDC for the District of New Jersey   3:19-cv-20681         GORI JULIAN & ASSOCIATES, P.C.
MAGUIRE, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-10284         GORI JULIAN & ASSOCIATES, P.C.
MANN, MARY                NJ - USDC for the District of New Jersey   3:18-cv-09910         GORI JULIAN & ASSOCIATES, P.C.
MARSEY, VIRGINIA          NJ - USDC for the District of New Jersey   3:18-cv-16788         GORI JULIAN & ASSOCIATES, P.C.
MATERASSCO, VITA          NJ - USDC for the District of New Jersey   3:18-cv-01259         GORI JULIAN & ASSOCIATES, P.C.
MCCALL, AMY               NJ - USDC for the District of New Jersey   3:17-cv-09363         GORI JULIAN & ASSOCIATES, P.C.
MCDANIEL, WANDA           NJ - USDC for the District of New Jersey   3:18-cv-09354         GORI JULIAN & ASSOCIATES, P.C.
MCFADDEN, DEBBY           NJ - USDC for the District of New Jersey   3:17-cv-11844         GORI JULIAN & ASSOCIATES, P.C.
MCFALL, TASHA             NJ - USDC for the District of New Jersey   3:19-cv-18173         GORI JULIAN & ASSOCIATES, P.C.
MCINTOSH, MICHELLE        NJ - USDC for the District of New Jersey   3:18-cv-08247         GORI JULIAN & ASSOCIATES, P.C.
MCKENNA, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-15429         GORI JULIAN & ASSOCIATES, P.C.
MCKENNEY, SANDY           NJ - USDC for the District of New Jersey   3:17-cv-11841         GORI JULIAN & ASSOCIATES, P.C.
MEISTER, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-17114         GORI JULIAN & ASSOCIATES, P.C.
MEJIA, ZENAIDA            NJ - USDC for the District of New Jersey   3:18-cv-05378         GORI JULIAN & ASSOCIATES, P.C.
MERCER, PIER              NJ - USDC for the District of New Jersey   3:19-cv-17120         GORI JULIAN & ASSOCIATES, P.C.
MICHAUD, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-14434         GORI JULIAN & ASSOCIATES, P.C.
MILES, APRIL              NJ - USDC for the District of New Jersey   3:17-cv-09699         GORI JULIAN & ASSOCIATES, P.C.
MILLER, CERMORIA          NJ - USDC for the District of New Jersey   3:17-cv-10015         GORI JULIAN & ASSOCIATES, P.C.
MILLER, CONNIE            NJ - USDC for the District of New Jersey   3:18-cv-08244         GORI JULIAN & ASSOCIATES, P.C.
MILLER, LISA              NJ - USDC for the District of New Jersey   3:19-cv-21626         GORI JULIAN & ASSOCIATES, P.C.
MILLER, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-01229         GORI JULIAN & ASSOCIATES, P.C.
MILLER, SONYA             NJ - USDC for the District of New Jersey   3:18-cv-02094         GORI JULIAN & ASSOCIATES, P.C.
MITCHELL, PATRICIA        NJ - USDC for the District of New Jersey   3:19-cv-08538         GORI JULIAN & ASSOCIATES, P.C.
MOORE, APRIL              NJ - USDC for the District of New Jersey   3:19-cv-20671         GORI JULIAN & ASSOCIATES, P.C.
MOORE, CASSANDRA          NJ - USDC for the District of New Jersey   3:17-cv-10254         GORI JULIAN & ASSOCIATES, P.C.
MOORE, ERICA              NJ - USDC for the District of New Jersey   3:18-cv-01266         GORI JULIAN & ASSOCIATES, P.C.
MOORE, KARMA              NJ - USDC for the District of New Jersey   3:17-cv-10002         GORI JULIAN & ASSOCIATES, P.C.
MOORE, MABEL              NJ - USDC for the District of New Jersey   3:17-cv-10426         GORI JULIAN & ASSOCIATES, P.C.
MOORE, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-09942         GORI JULIAN & ASSOCIATES, P.C.
MOORE-GAINES, PAMELA      NJ - USDC for the District of New Jersey   3:20-cv-01821         GORI JULIAN & ASSOCIATES, P.C.
MORRIS, BETTY             NJ - USDC for the District of New Jersey   3:18-cv-04411         GORI JULIAN & ASSOCIATES, P.C.
MORTON, DONNA             NJ - USDC for the District of New Jersey   3:17-cv-10084         GORI JULIAN & ASSOCIATES, P.C.
MULLINS, TERESA           NJ - USDC for the District of New Jersey   3:17-cv-13252         GORI JULIAN & ASSOCIATES, P.C.
MUNCEY, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-08283         GORI JULIAN & ASSOCIATES, P.C.
NALEPINSKI, MARY          NJ - USDC for the District of New Jersey   3:19-cv-21592         GORI JULIAN & ASSOCIATES, P.C.
NARCOMEY, CARLA           NJ - USDC for the District of New Jersey   3:18-cv-01139         GORI JULIAN & ASSOCIATES, P.C.
NAUGHTON, RANEY           NJ - USDC for the District of New Jersey   3:18-cv-01913         GORI JULIAN & ASSOCIATES, P.C.
NAVARRO, MARIAM           NJ - USDC for the District of New Jersey   3:19-cv-12899         GORI JULIAN & ASSOCIATES, P.C.
NEJMAN, JULIE             NJ - USDC for the District of New Jersey   3:17-cv-09366         GORI JULIAN & ASSOCIATES, P.C.
NEWCOME, DONNA            NJ - USDC for the District of New Jersey   3:18-cv-09953         GORI JULIAN & ASSOCIATES, P.C.
NICASTRO, DOREEN          NJ - USDC for the District of New Jersey   3:17-cv-10074         GORI JULIAN & ASSOCIATES, P.C.
NICELY, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-13010         GORI JULIAN & ASSOCIATES, P.C.
NICHOLSON, VANESSA        NJ - USDC for the District of New Jersey   3:19-cv-18170         GORI JULIAN & ASSOCIATES, P.C.
NORMANDEAU, OPAL          NJ - USDC for the District of New Jersey   3:19-cv-10971         GORI JULIAN & ASSOCIATES, P.C.
NUNNERY, VIOLET           NJ - USDC for the District of New Jersey   3:19-cv-10773         GORI JULIAN & ASSOCIATES, P.C.
O, BETTY                  NJ - USDC for the District of New Jersey   3:19-cv-00682         GORI JULIAN & ASSOCIATES, P.C.
OLDHAM, DORIS             NJ - USDC for the District of New Jersey   3:17-cv-09988         GORI JULIAN & ASSOCIATES, P.C.




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           Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
OLSEN, SHARON              NJ - USDC for the District of New Jersey   3:19-cv-00698         GORI JULIAN & ASSOCIATES, P.C.
ONEILL, BONNITA            NJ - USDC for the District of New Jersey   3:18-cv-07610         GORI JULIAN & ASSOCIATES, P.C.
ORLANDO, MAUREEN           NJ - USDC for the District of New Jersey   3:19-cv-17123         GORI JULIAN & ASSOCIATES, P.C.
OSHEI, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-10867         GORI JULIAN & ASSOCIATES, P.C.
OWENS, BRENDA              NJ - USDC for the District of New Jersey   3:18-cv-02665         GORI JULIAN & ASSOCIATES, P.C.
OWENS, JOHN                NJ - USDC for the District of New Jersey   3:18-cv-09944         GORI JULIAN & ASSOCIATES, P.C.
PARKER, CHARLOTTE          NJ - USDC for the District of New Jersey   3:17-cv-10465         GORI JULIAN & ASSOCIATES, P.C.
PARKER, PENNY              NJ - USDC for the District of New Jersey   3:17-cv-12302         GORI JULIAN & ASSOCIATES, P.C.
PARRISH, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-10017         GORI JULIAN & ASSOCIATES, P.C.
PASCHANG, MARTHA           NJ - USDC for the District of New Jersey   3:18-cv-02091         GORI JULIAN & ASSOCIATES, P.C.
PEPIN, ELAINE              NJ - USDC for the District of New Jersey   3:17-cv-10407         GORI JULIAN & ASSOCIATES, P.C.
PERCHINSKY, TERRIE         NJ - USDC for the District of New Jersey   3:18-cv-08545         GORI JULIAN & ASSOCIATES, P.C.
PERKINS, JENNIFER          NJ - USDC for the District of New Jersey   3:17-cv-09691         GORI JULIAN & ASSOCIATES, P.C.
PERKINS, LILLIE            NJ - USDC for the District of New Jersey   3:18-cv-01236         GORI JULIAN & ASSOCIATES, P.C.
PERROTT, DAWN              NJ - USDC for the District of New Jersey   3:18-cv-08184         GORI JULIAN & ASSOCIATES, P.C.
PETRIE, CATHY              NJ - USDC for the District of New Jersey   3:20-cv-01159         GORI JULIAN & ASSOCIATES, P.C.
PHILLIPS, KIM              NJ - USDC for the District of New Jersey   3:18-cv-03185         GORI JULIAN & ASSOCIATES, P.C.
PIECH, SANDRA              NJ - USDC for the District of New Jersey   3:19-cv-00634         GORI JULIAN & ASSOCIATES, P.C.
PLASS, DIANE               NJ - USDC for the District of New Jersey   3:18-cv-01164         GORI JULIAN & ASSOCIATES, P.C.
POLVINEN, ARLENE           NJ - USDC for the District of New Jersey   3:18-cv-11333         GORI JULIAN & ASSOCIATES, P.C.
PRATL, SUSAN               NJ - USDC for the District of New Jersey   3:18-cv-11285         GORI JULIAN & ASSOCIATES, P.C.
PREVOST, GEORGIANA         NJ - USDC for the District of New Jersey   3:18-cv-16794         GORI JULIAN & ASSOCIATES, P.C.
RAHMING-WADE, LEARLEAN     NJ - USDC for the District of New Jersey   3:19-cv-00647         GORI JULIAN & ASSOCIATES, P.C.
RAK, VICTORIA              NJ - USDC for the District of New Jersey   3:18-cv-11288         GORI JULIAN & ASSOCIATES, P.C.
RAMCHARAN, ROMEY           NJ - USDC for the District of New Jersey   3:20-cv-00918         GORI JULIAN & ASSOCIATES, P.C.
RANDALL, CHARLOTTE         NJ - USDC for the District of New Jersey   3:17-cv-13324         GORI JULIAN & ASSOCIATES, P.C.
RATLIFF, CHERI             NJ - USDC for the District of New Jersey   3:17-cv-09703         GORI JULIAN & ASSOCIATES, P.C.
RAY, MARGARET              NJ - USDC for the District of New Jersey   3:17-cv-10459         GORI JULIAN & ASSOCIATES, P.C.
RICE, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-15535         GORI JULIAN & ASSOCIATES, P.C.
RICHARD, CRYSTAL           NJ - USDC for the District of New Jersey   3:17-cv-11850         GORI JULIAN & ASSOCIATES, P.C.
RICHMOND, MARY             NJ - USDC for the District of New Jersey   3:18-cv-07598         GORI JULIAN & ASSOCIATES, P.C.
RITCHIE, CARIE             NJ - USDC for the District of New Jersey   3:20-cv-01174         GORI JULIAN & ASSOCIATES, P.C.
ROBERTS, KIMBERLY          NJ - USDC for the District of New Jersey   3:18-cv-02166         GORI JULIAN & ASSOCIATES, P.C.
ROBERTS, SYLVIA            NJ - USDC for the District of New Jersey   3:17-cv-12263         GORI JULIAN & ASSOCIATES, P.C.
ROBERTSON, ANNIE           NJ - USDC for the District of New Jersey   3:18-cv-01209         GORI JULIAN & ASSOCIATES, P.C.
ROBERTSON, CAROLYN         NJ - USDC for the District of New Jersey   3:17-cv-10265         GORI JULIAN & ASSOCIATES, P.C.
ROBINSON-GRIM, ADDIE       NJ - USDC for the District of New Jersey   3:20-cv-01810         GORI JULIAN & ASSOCIATES, P.C.
ROCKETT, EULA              NJ - USDC for the District of New Jersey   3:17-cv-12301         GORI JULIAN & ASSOCIATES, P.C.
ROGERS, KATHY              NJ - USDC for the District of New Jersey   3:20-cv-01827         GORI JULIAN & ASSOCIATES, P.C.
ROSS, PAMELA               NJ - USDC for the District of New Jersey   3:18-cv-01204         GORI JULIAN & ASSOCIATES, P.C.
RUBY, MADELINE             NJ - USDC for the District of New Jersey   3:18-cv-01131         GORI JULIAN & ASSOCIATES, P.C.
RUMSEY, GEORGANN           NJ - USDC for the District of New Jersey   3:20-cv-00909         GORI JULIAN & ASSOCIATES, P.C.
RUSH, DONNA                NJ - USDC for the District of New Jersey   3:17-cv-10077         GORI JULIAN & ASSOCIATES, P.C.
RYAN, DEBRA                NJ - USDC for the District of New Jersey   3:18-cv-11283         GORI JULIAN & ASSOCIATES, P.C.
SACKETT, DAPHNE            NJ - USDC for the District of New Jersey   3:18-cv-09646         GORI JULIAN & ASSOCIATES, P.C.
SALAMONE, SANDRA           NJ - USDC for the District of New Jersey   3:17-cv-11842         GORI JULIAN & ASSOCIATES, P.C.
SAMMONS, SARA              NJ - USDC for the District of New Jersey   3:17-cv-10277         GORI JULIAN & ASSOCIATES, P.C.
SANCHEZ, YOLANDA           NJ - USDC for the District of New Jersey   3:17-cv-11971         GORI JULIAN & ASSOCIATES, P.C.
SCHUSTER, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-10210         GORI JULIAN & ASSOCIATES, P.C.
SCOTT, MARINA              NJ - USDC for the District of New Jersey   3:19-cv-18152         GORI JULIAN & ASSOCIATES, P.C.
SCRUGGS, SYLVIA            NJ - USDC for the District of New Jersey   3:17-cv-10292         GORI JULIAN & ASSOCIATES, P.C.
SELLERS, VICTORIA          NJ - USDC for the District of New Jersey   3:18-cv-01178         GORI JULIAN & ASSOCIATES, P.C.
SETSER, STARLA             NJ - USDC for the District of New Jersey   3:18-cv-15426         GORI JULIAN & ASSOCIATES, P.C.
SHANDOR, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-05539         GORI JULIAN & ASSOCIATES, P.C.
SHAW, AVA                  NJ - USDC for the District of New Jersey   3:19-cv-10991         GORI JULIAN & ASSOCIATES, P.C.
SHEETS, BLANCH             NJ - USDC for the District of New Jersey   3:18-cv-05387         GORI JULIAN & ASSOCIATES, P.C.
SHIRLEY, IRENE             NJ - USDC for the District of New Jersey   3:18-cv-01234         GORI JULIAN & ASSOCIATES, P.C.
SHREVE, KIM                NJ - USDC for the District of New Jersey   3:20-cv-20207         GORI JULIAN & ASSOCIATES, P.C.
SHROPSHIRE, PEGGY          NJ - USDC for the District of New Jersey   3:18-cv-09948         GORI JULIAN & ASSOCIATES, P.C.
SHUGERT, DAWN              NJ - USDC for the District of New Jersey   3:19-cv-20672         GORI JULIAN & ASSOCIATES, P.C.
SIMS, TAMMY                NJ - USDC for the District of New Jersey   3:19-cv-20690         GORI JULIAN & ASSOCIATES, P.C.
SINISH, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-09488         GORI JULIAN & ASSOCIATES, P.C.
SIRMAN, SHEILA             NJ - USDC for the District of New Jersey   3:20-cv-04779         GORI JULIAN & ASSOCIATES, P.C.
SLATER, PAULA              NJ - USDC for the District of New Jersey   3:18-cv-09486         GORI JULIAN & ASSOCIATES, P.C.
SLAYDEN, RENE              NJ - USDC for the District of New Jersey   3:16-cv-07315         GORI JULIAN & ASSOCIATES, P.C.
SMITH, ANN                 NJ - USDC for the District of New Jersey   3:17-cv-10068         GORI JULIAN & ASSOCIATES, P.C.
SMITH, BRITTANY            NJ - USDC for the District of New Jersey   3:18-cv-16499         GORI JULIAN & ASSOCIATES, P.C.
SMITH, LEE                 NJ - USDC for the District of New Jersey   3:19-cv-18154         GORI JULIAN & ASSOCIATES, P.C.
SMITH, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-13236         GORI JULIAN & ASSOCIATES, P.C.
SMOTHERS, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-20203         GORI JULIAN & ASSOCIATES, P.C.
SOMERS, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-20683         GORI JULIAN & ASSOCIATES, P.C.
SONDKER, MICHELE           NJ - USDC for the District of New Jersey   3:19-cv-20686         GORI JULIAN & ASSOCIATES, P.C.
SOWLES, JOYCE              NJ - USDC for the District of New Jersey   3:17-cv-09676         GORI JULIAN & ASSOCIATES, P.C.
STAFFORD, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-13315         GORI JULIAN & ASSOCIATES, P.C.
STALKER, CATHERINE         NJ - USDC for the District of New Jersey   3:19-cv-17109         GORI JULIAN & ASSOCIATES, P.C.
STARKS, ROBIN              NJ - USDC for the District of New Jersey   3:17-cv-09711         GORI JULIAN & ASSOCIATES, P.C.
STEMPLE, CATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-01819         GORI JULIAN & ASSOCIATES, P.C.
STEWART, LAURIELEE         NJ - USDC for the District of New Jersey   3:17-cv-10518         GORI JULIAN & ASSOCIATES, P.C.
STOGNER, DORIS             NJ - USDC for the District of New Jersey   3:17-cv-09998         GORI JULIAN & ASSOCIATES, P.C.
STOPCHINSKI, SUSAN         NJ - USDC for the District of New Jersey   3:17-cv-10035         GORI JULIAN & ASSOCIATES, P.C.




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           Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
STRAUGHN, DENA             NJ - USDC for the District of New Jersey   3:18-cv-01143         GORI JULIAN & ASSOCIATES, P.C.
STULL, BONNIE              NJ - USDC for the District of New Jersey   3:18-cv-09906         GORI JULIAN & ASSOCIATES, P.C.
SUBER, MISTY               NJ - USDC for the District of New Jersey   3:17-cv-10264         GORI JULIAN & ASSOCIATES, P.C.
SURRENCY, LISA             NJ - USDC for the District of New Jersey   3:17-cv-10053         GORI JULIAN & ASSOCIATES, P.C.
SWANAGER, VICKI            NJ - USDC for the District of New Jersey   3:19-cv-08531         GORI JULIAN & ASSOCIATES, P.C.
SWANSON, JOYCE             NJ - USDC for the District of New Jersey   3:19-cv-21608         GORI JULIAN & ASSOCIATES, P.C.
TAVAKE, MARY               NJ - USDC for the District of New Jersey   3:17-cv-10289         GORI JULIAN & ASSOCIATES, P.C.
TAYLOR, LEAH               NJ - USDC for the District of New Jersey   3:17-cv-09361         GORI JULIAN & ASSOCIATES, P.C.
TEBBUTT, MICHELLE          NJ - USDC for the District of New Jersey   3:18-cv-05377         GORI JULIAN & ASSOCIATES, P.C.
TERRELL, MARIA             NJ - USDC for the District of New Jersey   3:18-cv-01147         GORI JULIAN & ASSOCIATES, P.C.
TESTA, SARAH               NJ - USDC for the District of New Jersey   3:19-cv-20688         GORI JULIAN & ASSOCIATES, P.C.
THOMPSON, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-10520         GORI JULIAN & ASSOCIATES, P.C.
THOMSON, LYNNE             NJ - USDC for the District of New Jersey   3:17-cv-11840         GORI JULIAN & ASSOCIATES, P.C.
THORNE, CINDY              NJ - USDC for the District of New Jersey   3:18-cv-02663         GORI JULIAN & ASSOCIATES, P.C.
TINNEY, SHIRLEY            NJ - USDC for the District of New Jersey   3:19-cv-06778         GORI JULIAN & ASSOCIATES, P.C.
TOMLIN, DWENAH             NJ - USDC for the District of New Jersey   3:19-cv-18172         GORI JULIAN & ASSOCIATES, P.C.
TOUTANT, LISA              NJ - USDC for the District of New Jersey   3:18-cv-16784         GORI JULIAN & ASSOCIATES, P.C.
TRAVER, LORETTA            NJ - USDC for the District of New Jersey   3:18-cv-01892         GORI JULIAN & ASSOCIATES, P.C.
TWOREK, KATHY              NJ - USDC for the District of New Jersey   3:18-cv-09350         GORI JULIAN & ASSOCIATES, P.C.
TYES, CINDA                NJ - USDC for the District of New Jersey   3:17-cv-10280         GORI JULIAN & ASSOCIATES, P.C.
VALUEFF, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-03191         GORI JULIAN & ASSOCIATES, P.C.
VICK, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-11145         GORI JULIAN & ASSOCIATES, P.C.
VOGT, LINDA                NJ - USDC for the District of New Jersey   3:18-cv-16796         GORI JULIAN & ASSOCIATES, P.C.
WALKER, OFELIA             NJ - USDC for the District of New Jersey   3:18-cv-01169         GORI JULIAN & ASSOCIATES, P.C.
WALLACE, MARIA             NJ - USDC for the District of New Jersey   3:17-cv-10057         GORI JULIAN & ASSOCIATES, P.C.
WALTON, DARLEEN            NJ - USDC for the District of New Jersey   3:17-cv-13328         GORI JULIAN & ASSOCIATES, P.C.
WATKINS, CASSANDRA         NJ - USDC for the District of New Jersey   3:19-cv-18171         GORI JULIAN & ASSOCIATES, P.C.
WEBB, KELLI                NJ - USDC for the District of New Jersey   3:18-cv-01237         GORI JULIAN & ASSOCIATES, P.C.
WEHLING, LAUREL            NJ - USDC for the District of New Jersey   3:20-cv-01817         GORI JULIAN & ASSOCIATES, P.C.
WELLS, PAMELA              NJ - USDC for the District of New Jersey   3:18-cv-03215         GORI JULIAN & ASSOCIATES, P.C.
WEST, LINDA                NJ - USDC for the District of New Jersey   3:18-cv-01148         GORI JULIAN & ASSOCIATES, P.C.
WHEELER, VICKIE            NJ - USDC for the District of New Jersey   3:19-cv-17117         GORI JULIAN & ASSOCIATES, P.C.
WILLIAMS, JANIE            NJ - USDC for the District of New Jersey   3:19-cv-21610         GORI JULIAN & ASSOCIATES, P.C.
WILLIAMS, JOAN             NJ - USDC for the District of New Jersey   3:19-cv-17121         GORI JULIAN & ASSOCIATES, P.C.
WILLIAMSON, LORI           NJ - USDC for the District of New Jersey   3:19-cv-21619         GORI JULIAN & ASSOCIATES, P.C.
WILSON, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-11969         GORI JULIAN & ASSOCIATES, P.C.
WILSON, ERIKA              NJ - USDC for the District of New Jersey   3:17-cv-09993         GORI JULIAN & ASSOCIATES, P.C.
WINSTON, KERRI             NJ - USDC for the District of New Jersey   3:20-cv-00907         GORI JULIAN & ASSOCIATES, P.C.
WISE, BRENDA               NJ - USDC for the District of New Jersey   3:18-cv-01201         GORI JULIAN & ASSOCIATES, P.C.
WISNIEWSKI, CYNTHIA        NJ - USDC for the District of New Jersey   3:20-cv-00947         GORI JULIAN & ASSOCIATES, P.C.
WOOD, TRACY                NJ - USDC for the District of New Jersey   3:18-cv-03213         GORI JULIAN & ASSOCIATES, P.C.
WRIGHT, BRENDA             NJ - USDC for the District of New Jersey   3:17-cv-10450         GORI JULIAN & ASSOCIATES, P.C.
WRIGHT, LAURIE             NJ - USDC for the District of New Jersey   3:19-cv-17112         GORI JULIAN & ASSOCIATES, P.C.
YANG, CECILIA              NJ - USDC for the District of New Jersey   3:17-cv-10022         GORI JULIAN & ASSOCIATES, P.C.
YETTNER, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-01212         GORI JULIAN & ASSOCIATES, P.C.
YTELL, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-13250         GORI JULIAN & ASSOCIATES, P.C.
YUNG, SCHERN               NJ - USDC for the District of New Jersey   3:20-cv-01825         GORI JULIAN & ASSOCIATES, P.C.
ZINNECKER, LINDA           NJ - USDC for the District of New Jersey   3:18-cv-09927         GORI JULIAN & ASSOCIATES, P.C.
ABERNETHY, NANCY           NJ - USDC for the District of New Jersey   3:17-cv-10577         GOZA & HONNOLD, LLC
BABAUTA, SHELLEY           NJ - USDC for the District of New Jersey   3:18-cv-11691         GOZA & HONNOLD, LLC
BROMLEY, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-05809         GOZA & HONNOLD, LLC
BROUGHTON, ERICA           NJ - USDC for the District of New Jersey   3:18-cv-08117         GOZA & HONNOLD, LLC
CRAMER, DULSA              NJ - USDC for the District of New Jersey   3:19-cv-11819         GOZA & HONNOLD, LLC
CUNDIFF, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-17297         GOZA & HONNOLD, LLC
DAGLIERI, ANNE             NJ - USDC for the District of New Jersey   3:19-cv-08905         GOZA & HONNOLD, LLC
DENNIS, ANGELA             NJ - USDC for the District of New Jersey   3:18-cv-08061         GOZA & HONNOLD, LLC
ELLSWORTH, ELAINE          NJ - USDC for the District of New Jersey   3:18-cv-11694         GOZA & HONNOLD, LLC
GARNER, CONNIE             NJ - USDC for the District of New Jersey   3:18-cv-01611         GOZA & HONNOLD, LLC
GARRISON, ROSE             NJ - USDC for the District of New Jersey   3:19-cv-12149         GOZA & HONNOLD, LLC
GERARD, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-00076         GOZA & HONNOLD, LLC
GILMORE, PHYLLIS           NJ - USDC for the District of New Jersey   3:19-cv-11825         GOZA & HONNOLD, LLC
GREEN, RHONDA              NJ - USDC for the District of New Jersey   3:19-cv-09264         GOZA & HONNOLD, LLC
GRIFFIN, JANE              NJ - USDC for the District of New Jersey   3:19-cv-12170         GOZA & HONNOLD, LLC
HAHN, MARY                 NJ - USDC for the District of New Jersey   3:19-cv-05001         GOZA & HONNOLD, LLC
HANNAH, SHIRLEY            NJ - USDC for the District of New Jersey   3:19-cv-12158         GOZA & HONNOLD, LLC
HENRY, MILDRED             NJ - USDC for the District of New Jersey   3:19-cv-12142         GOZA & HONNOLD, LLC
HICKAM, EVERETT            NJ - USDC for the District of New Jersey   3:18-cv-11523         GOZA & HONNOLD, LLC
HOLSTROM, NORMA            NJ - USDC for the District of New Jersey   3:17-cv-07296         GOZA & HONNOLD, LLC
KRAUSE, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-11687         GOZA & HONNOLD, LLC
LATHROP, GERALDINE         NJ - USDC for the District of New Jersey   3:19-cv-12156         GOZA & HONNOLD, LLC
LEE, DEBORAH               NJ - USDC for the District of New Jersey   3:18-cv-11700         GOZA & HONNOLD, LLC
LITTLE, GAYLEEN            NJ - USDC for the District of New Jersey   3:18-cv-01614         GOZA & HONNOLD, LLC
MOODT, PAMELA              NJ - USDC for the District of New Jersey   3:19-cv-12145         GOZA & HONNOLD, LLC
NICKELL, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-00052         GOZA & HONNOLD, LLC
ROYSTON, JANET             NJ - USDC for the District of New Jersey   3:19-cv-12146         GOZA & HONNOLD, LLC
SAMUELS, SABRINA           NJ - USDC for the District of New Jersey   3:17-cv-12884         GOZA & HONNOLD, LLC
SMITH, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-12182         GOZA & HONNOLD, LLC
SPRAUVE, CHERYL            NJ - USDC for the District of New Jersey   3:18-cv-11108         GOZA & HONNOLD, LLC
WORD, EARNESTIN            NJ - USDC for the District of New Jersey   3:18-cv-14353         GRAHAM P. CARNER, PLLC
DICKENS, ROSE              NJ - USDC for the District of New Jersey   3:19-cv-12529         GRANT & EISENHOFER P. A.




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         Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
FORREST, SANDY           NJ - USDC for the District of New Jersey   3:20-cv-04967         GRANT & EISENHOFER P. A.
FORD, THELMA             NJ - USDC for the District of New Jersey   3:17-cv-13068         GREER, RUSSELL, DENT & LEATHERS, P.A
                         CANADA - Court of the Queen's Bench of
DI SANTO, DIANE                                                     1901-11748            GUARDIAN LAW GROUP, LLP
                         Alberta Judicial District of Calgary
BLALOCK, CHRISTINE       NJ - USDC for the District of New Jersey   3:19-cv-08704         GUILLORY & MCCALL, L.L.C
SPENNY, GLADYS           NJ - USDC for the District of New Jersey   3:16-cv-07884         GUSTAFON GLUEK
WOODS, PAMELA            NJ - USDC for the District of New Jersey   3:16-cv-07664         GUSTAFON GLUEK
DRAWENEK, LYNNE          NJ - USDC for the District of New Jersey   3:18-cv-13075         HABUSH HABUSH & ROTTIER SC
GULCZYNSKI, LYNESE       NJ - USDC for the District of New Jersey   3:18-cv-13076         HABUSH HABUSH & ROTTIER SC
HABECK, MARILYN          NJ - USDC for the District of New Jersey   3:18-cv-12038         HABUSH HABUSH & ROTTIER SC
HARVILL, TAMMY           NJ - USDC for the District of New Jersey   3:18-cv-12039         HABUSH HABUSH & ROTTIER SC
HUGUS, CHARLENE          NJ - USDC for the District of New Jersey   3:18-cv-12041         HABUSH HABUSH & ROTTIER SC
JOHNSON, MAUREEN         NJ - USDC for the District of New Jersey   3:18-cv-13078         HABUSH HABUSH & ROTTIER SC
KLUG, NOEL               NJ - USDC for the District of New Jersey   3:18-cv-13079         HABUSH HABUSH & ROTTIER SC
PAPA, VICTORIA           NJ - USDC for the District of New Jersey   3:17-cv-02666         HABUSH HABUSH & ROTTIER SC
PHALEN, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-13104         HABUSH HABUSH & ROTTIER SC
SCHUBERT, KAREN          NJ - USDC for the District of New Jersey   3:18-cv-12047         HABUSH HABUSH & ROTTIER SC
SKONORD, CYNTHIA         NJ - USDC for the District of New Jersey   3:17-cv-07571         HABUSH HABUSH & ROTTIER SC
SLEIK-LINDAHL, SALLY     NJ - USDC for the District of New Jersey   3:18-cv-12049         HABUSH HABUSH & ROTTIER SC
WALLACE, RENEE           NJ - USDC for the District of New Jersey   3:17-cv-01509         HABUSH HABUSH & ROTTIER SC
RIVERA, JASMINE          NJ - USDC for the District of New Jersey   3:19-cv-16317         HACH ROSE SCHIRRIPA & CHEVERIE LLP
LEAF, MAUREEN            NJ - USDC for the District of New Jersey   3:19-cv-02179         HAFELI STARAN & CHRIST , P.C.
RUDNICK, RHONDA          NJ - USDC for the District of New Jersey   3:17-cv-01853         HAFELI STARAN & CHRIST , P.C.
CRENSHAW, SHIRLEY        NJ - USDC for the District of New Jersey   3:20-cv-11070         HAFELI STARAN & CHRIST, P. C.
MURRAY, BESSIE BLAND     NJ - USDC for the District of New Jersey   3:20-cv-13465         HAFELI STARAN & CHRIST, P. C.
ASSATOURIANS, CRISTINA   CA - Superior Court - Los Angeles County   BC641346              HAFFNER LAW PC
PORTER, ECHANNA          NJ - USDC for the District of New Jersey   3:20-cv-13176         HAFFNER LAW PC
BURR, JACQUELYNN         NJ - USDC for the District of New Jersey   3:21-cv-09989         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
DAVIS, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-10298         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
DREILING, RAMONA         NJ - USDC for the District of New Jersey   3:21-cv-10958         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
GODWIN, TINA             NJ - USDC for the District of New Jersey   3:21-cv-10619         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
GOTEL, TORY              NJ - USDC for the District of New Jersey   3:21-cv-09993         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
GREENE, LEITHA           NJ - USDC for the District of New Jersey   3:21-cv-10377         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
HAWKINS, ARBUNEY         NJ - USDC for the District of New Jersey   3:21-cv-10096         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
HAYNES, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-10387         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
JACKS, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-10552         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
KITTRELL, TERRI          NJ - USDC for the District of New Jersey   3:21-cv-10193         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
LONG, DEBRAQIRS          NJ - USDC for the District of New Jersey   3:21-cv-10071         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
MARTUSCELLI, MARILYN     NJ - USDC for the District of New Jersey   3:21-cv-10165         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
MILES, PINNIE            NJ - USDC for the District of New Jersey   3:21-cv-10078         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
RICHARDSON, SYLVIA       NJ - USDC for the District of New Jersey   3:21-cv-10090         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
SANTOS, GENOVEVA         NJ - USDC for the District of New Jersey   3:21-cv-10285         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
SAUNDERS, PAULA          NJ - USDC for the District of New Jersey   3:21-cv-10157         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
SOWL, MARY               NJ - USDC for the District of New Jersey   3:21-cv-10281         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
STEELE, DIONNE           NJ - USDC for the District of New Jersey   3:21-cv-10161         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
TART, TANSHA             NJ - USDC for the District of New Jersey   3:21-cv-10289         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
TREETER, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-10353         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
WODARSKI, ROSALIND       NJ - USDC for the District of New Jersey   3:21-cv-10357         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
WOODFORD, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-09995         HAIR SHUNNARAH TRIAL ATTORNEYS LLC
CLAVETTE, GUILDA         NJ - USDC for the District of New Jersey   3:18-cv-01462         HANNON LAW FIRM, LLC
HAILEY, DEBORAH          NJ - USDC for the District of New Jersey   3:19-cv-14744         HANNON LAW FIRM, LLC
LEE, AMANDA              CANADA - B.C. Supreme Court - Vancouver VLC-S-S-2011369          HARPER GREY LLP
MARCENGILL, JAMIE        GA - State Court of Gwinnett County        19-C-05049-S2         HARRIS LOWRY MANTON LLP
ROBERTS, BETTY           GA - State Court of Gwinnett County        19-C-09697-S5         HARRIS LOWRY MANTON LLP
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
ADAMS, DARLENE           NJ - USDC for the District of New Jersey   3:17-cv-08500
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
BALDWIN, JAMIE           NJ - USDC for the District of New Jersey   3:17-cv-08504
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
BENNETT, JAMIE           NJ - USDC for the District of New Jersey   3:17-cv-08474
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
BRAMMER, JOYCE           NJ - USDC for the District of New Jersey   3:18-cv-00017
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
BROOKS, EVELYN           NJ - USDC for the District of New Jersey   3:17-cv-08498
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
CLARK, IDA               NJ - USDC for the District of New Jersey   3:17-cv-11652
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
HILL, DORIS              NJ - USDC for the District of New Jersey   3:17-cv-11658
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
MALLARD, LOLA            NJ - USDC for the District of New Jersey   3:18-cv-12359
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
MASSAGEE, BONNIE         NJ - USDC for the District of New Jersey   3:17-cv-08479
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
MOORE, NORMA             NJ - USDC for the District of New Jersey   3:17-cv-11656
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
SCHELLINGER, GAIL        NJ - USDC for the District of New Jersey   3:17-cv-08502
                                                                                          JONES, PC
                                                                                          HARRISON DAVIS STEAKLEY MORRISON
WINTERS, RITA            NJ - USDC for the District of New Jersey   3:18-cv-01271
                                                                                          JONES, PC
EISMAN, GESELE           NJ - USDC for the District of New Jersey   3:20-cv-05834         HARRY I. KATZ, PC




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          Claimant Name                      State Filed                    Docket Number                Plaintiff Counsel
ADCOCK, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-11313         HART MCLAUGHLIN & ELDRIDGE
BENFORD, ASHLEY            NJ - USDC for the District of New Jersey   3:17-cv-11339         HART MCLAUGHLIN & ELDRIDGE
CULLEY, LISA               NJ - USDC for the District of New Jersey   3:17-cv-11337         HART MCLAUGHLIN & ELDRIDGE
GILLIGAN, TINA             NJ - USDC for the District of New Jersey   3:17-cv-12448         HART MCLAUGHLIN & ELDRIDGE
GOMEZ, GLORIA              IL - Circuit Court - Cook County           2021L005938           HART MCLAUGHLIN & ELDRIDGE
HOLLIFIELD, SOPHIE         NJ - USDC for the District of New Jersey   3:17-cv-11333         HART MCLAUGHLIN & ELDRIDGE
JONES, MARGARET            IL - Circuit Court - Cook County           2021L003098           HART MCLAUGHLIN & ELDRIDGE
LENGELE, CINDY             NJ - USDC for the District of New Jersey   3:17-cv-11319         HART MCLAUGHLIN & ELDRIDGE
LETOURNEAUT, MAGDALENA     NJ - USDC for the District of New Jersey   3:17-cv-11330         HART MCLAUGHLIN & ELDRIDGE
SAYEGH, CHERYL             NJ - USDC for the District of New Jersey   3:17-cv-11331         HART MCLAUGHLIN & ELDRIDGE
SEYMOUR, YOKITA            NJ - USDC for the District of New Jersey   3:17-cv-11329         HART MCLAUGHLIN & ELDRIDGE
SIZEMORE, ROBIN            NJ - USDC for the District of New Jersey   3:17-cv-11326         HART MCLAUGHLIN & ELDRIDGE
STOROZYSZYN, JANE          NJ - USDC for the District of New Jersey   3:17-cv-11324         HART MCLAUGHLIN & ELDRIDGE
TABOR, SHERRY              NJ - USDC for the District of New Jersey   3:17-cv-11344         HART MCLAUGHLIN & ELDRIDGE
TREADWELL, LINDA           NJ - USDC for the District of New Jersey   3:16-cv-09495         HART MCLAUGHLIN & ELDRIDGE
WHITE, SHEENA              NJ - USDC for the District of New Jersey   3:17-cv-11322         HART MCLAUGHLIN & ELDRIDGE
BOYKINS, KIMBERLY          NJ - USDC for the District of New Jersey   3:17-cv-08286         HAUSFELD
HORN, NANCY                NJ - USDC for the District of New Jersey   3:19-cv-18866         HAUSFELD
MAHONEY-SEXTON, JEANNINE   NJ - USDC for the District of New Jersey   3:18-cv-00278         HAUSFELD
MERRITT, DESIREE           NJ - USDC for the District of New Jersey   3:17-cv-08256         HAUSFELD
OBERLIN, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-08258         HAUSFELD
PAZDUR, MARY               NJ - USDC for the District of New Jersey   3:19-cv-20133         HAUSFELD
PULASKI, MICHELE           NJ - USDC for the District of New Jersey   3:17-cv-08289         HAUSFELD
PYRAM, MICHELE             NJ - USDC for the District of New Jersey   3:17-cv-11214         HAUSFELD
RYAN, MARGARET             NJ - USDC for the District of New Jersey   3:18-cv-17029         HAUSFELD
SALAVICS, PAMELA           NJ - USDC for the District of New Jersey   3:17-cv-08267         HAUSFELD
STONE, DENISE              NJ - USDC for the District of New Jersey   3:17-cv-08260         HAUSFELD
STREETER, CAROLYN          NJ - USDC for the District of New Jersey   3:17-cv-08262         HAUSFELD
VERMILLION, MOIRA          NJ - USDC for the District of New Jersey   3:18-cv-00284         HAUSFELD
WINSTEAD, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-08264         HAUSFELD
JOHNSON, RENAY             NJ - USDC for the District of New Jersey   3:19-cv-17700         HEARD LAW FIRM, PLLC
RANNEY, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-17724         HEARD LAW FIRM, PLLC
WRIGHT, SERENA             NJ - USDC for the District of New Jersey   3:18-cv-13415         HEARD LAW FIRM, PLLC
KENT, DIANNA               NJ - USDC for the District of New Jersey   3:17-cv-01547         HEDRICK LAW FIRM
AUSTIN, VICKIE             NJ - USDC for the District of New Jersey   3:17-cv-05116         HELMSDALE LAW, LLP
BELL, GLORIA               NJ - USDC for the District of New Jersey   3:17-cv-05125         HELMSDALE LAW, LLP
DYCKMAN, DIANE             NJ - USDC for the District of New Jersey   3:17-cv-05130         HELMSDALE LAW, LLP
HAWKINS, CONNIE            NJ - USDC for the District of New Jersey   3:18-cv-13241         HELMSDALE LAW, LLP
HAYMAKER, BRYNNE           NJ - USDC for the District of New Jersey   3:17-cv-05133         HELMSDALE LAW, LLP
HENDRICKS, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-05436         HELMSDALE LAW, LLP
JOHNSTON, RUTH             NJ - USDC for the District of New Jersey   3:17-cv-05097         HELMSDALE LAW, LLP
KAAUWAI, SHANTELL          NJ - USDC for the District of New Jersey   3:18-cv-09156         HELMSDALE LAW, LLP
MILLIREN, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-12164         HELMSDALE LAW, LLP
BERKLAND, SHELLEY          NJ - USDC for the District of New Jersey   3:19-cv-21203         HELVEY LAW
ANDERSON, KATHRYN          NJ - USDC for the District of New Jersey   3:19-cv-15372         HENINGER GARRISON DAVIS, LLC
ARGO, BETTY                NJ - USDC for the District of New Jersey   3:20-cv-10847         HENINGER GARRISON DAVIS, LLC
ATIVIE, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-09325         HENINGER GARRISON DAVIS, LLC
BANKS, JOAN                NJ - USDC for the District of New Jersey   3:21-cv-12820         HENINGER GARRISON DAVIS, LLC
BODISON, MARY              NJ - USDC for the District of New Jersey   3:18-cv-13353         HENINGER GARRISON DAVIS, LLC
BOSTON, WILLETTA           NJ - USDC for the District of New Jersey   3:19-cv-19795         HENINGER GARRISON DAVIS, LLC
BRASFIELD, LELA            NJ - USDC for the District of New Jersey   3:20-cv-14449         HENINGER GARRISON DAVIS, LLC
BRITTNEY KAISER            NJ - USDC for the District of New Jersey   3:21-cv-17817         HENINGER GARRISON DAVIS, LLC
CAWTHRA, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-16176         HENINGER GARRISON DAVIS, LLC
CHANEY, BOBBIE             NJ - USDC for the District of New Jersey   3:18-cv-16516         HENINGER GARRISON DAVIS, LLC
COLLEY, SHAUNA             NJ - USDC for the District of New Jersey   3:21-cv-08232         HENINGER GARRISON DAVIS, LLC
COLLINS, JUDITH            NJ - USDC for the District of New Jersey   3:18-cv-15439         HENINGER GARRISON DAVIS, LLC
COLLINS, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-07560         HENINGER GARRISON DAVIS, LLC
CORNELIUSEN, MARILYN       NJ - USDC for the District of New Jersey   3:21-cv-02279         HENINGER GARRISON DAVIS, LLC
CRISP, MARY                NJ - USDC for the District of New Jersey   3:19-cv-19799         HENINGER GARRISON DAVIS, LLC
DAVIS, IRENE               NJ - USDC for the District of New Jersey   3:19-cv-15374         HENINGER GARRISON DAVIS, LLC
DAVIS, PAULA               NJ - USDC for the District of New Jersey   3:21-cv-12793         HENINGER GARRISON DAVIS, LLC
DODD, CASA                 NJ - USDC for the District of New Jersey   3:21-cv-02658         HENINGER GARRISON DAVIS, LLC
EPSMAN, LYNN               NJ - USDC for the District of New Jersey   3:18-cv-13355         HENINGER GARRISON DAVIS, LLC
FISHER, MARY               NJ - USDC for the District of New Jersey   3:21-cv-15126         HENINGER GARRISON DAVIS, LLC
FLOWERS, ANN               NJ - USDC for the District of New Jersey   3:21-cv-06864         HENINGER GARRISON DAVIS, LLC
FRANKLIN, SONIA            NJ - USDC for the District of New Jersey   3:21-cv-11735         HENINGER GARRISON DAVIS, LLC
FRAZIER, SADIE             NJ - USDC for the District of New Jersey   3:20-cv-06515         HENINGER GARRISON DAVIS, LLC
FULGIONE, ELEANOR          NJ - USDC for the District of New Jersey   3:20-cv-06514         HENINGER GARRISON DAVIS, LLC
GABEL, MARY                NJ - USDC for the District of New Jersey   3:20-cv-06513         HENINGER GARRISON DAVIS, LLC
GERBER, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-13357         HENINGER GARRISON DAVIS, LLC
GOBLE, MAGGIE              NJ - USDC for the District of New Jersey   3:18-cv-16177         HENINGER GARRISON DAVIS, LLC
GORDON, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-02656         HENINGER GARRISON DAVIS, LLC
GRAMLING, JOANNA           NJ - USDC for the District of New Jersey   3:20-cv-06510         HENINGER GARRISON DAVIS, LLC
GURGA, CAROL               NJ - USDC for the District of New Jersey   3:18-cv-15441         HENINGER GARRISON DAVIS, LLC
HARRIS, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-12982         HENINGER GARRISON DAVIS, LLC
HASKEW, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-12511         HENINGER GARRISON DAVIS, LLC
HAYES, MARTHA              NJ - USDC for the District of New Jersey   3:18-cv-16518         HENINGER GARRISON DAVIS, LLC
HESTER, FREIDA             NJ - USDC for the District of New Jersey   3:18-cv-16179         HENINGER GARRISON DAVIS, LLC
HICKS, VERGA               NJ - USDC for the District of New Jersey   3:21-cv-10502         HENINGER GARRISON DAVIS, LLC
HOLLEY, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-06508         HENINGER GARRISON DAVIS, LLC




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
JAMES, TYANN               NJ - USDC for the District of New Jersey   3:21-cv-03629         HENINGER GARRISON DAVIS, LLC
JONES, AGNES               NJ - USDC for the District of New Jersey   3:18-cv-09691         HENINGER GARRISON DAVIS, LLC
JONES, AUDREY              NJ - USDC for the District of New Jersey   3:20-cv-06555         HENINGER GARRISON DAVIS, LLC
JOSEPHINE MAGDZIAK         NJ - USDC for the District of New Jersey   3:21-cv-17816         HENINGER GARRISON DAVIS, LLC
JOYNER-WIGGINS, NIKEISHA   NJ - USDC for the District of New Jersey   3:20-cv-06507         HENINGER GARRISON DAVIS, LLC
KINDRED, MARY              NJ - USDC for the District of New Jersey   3:21-cv-11737         HENINGER GARRISON DAVIS, LLC
LAGLE, SYLVIA              NJ - USDC for the District of New Jersey   3:19-cv-08359         HENINGER GARRISON DAVIS, LLC
LARSON, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-14451         HENINGER GARRISON DAVIS, LLC
LAURA LODER                NJ - USDC for the District of New Jersey   3:21-cv-17818         HENINGER GARRISON DAVIS, LLC
LEBLANC, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-15123         HENINGER GARRISON DAVIS, LLC
MALONE, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-06509         HENINGER GARRISON DAVIS, LLC
MANRING, DIXIE             NJ - USDC for the District of New Jersey   3:19-cv-15373         HENINGER GARRISON DAVIS, LLC
MASTRIPPOLITO, KIM         NJ - USDC for the District of New Jersey   3:20-cv-06511         HENINGER GARRISON DAVIS, LLC
MCKINNEY, VIRGIE           NJ - USDC for the District of New Jersey   3:21-cv-02284         HENINGER GARRISON DAVIS, LLC
MCLOUGHLIN, SHARI          NJ - USDC for the District of New Jersey   3:21-cv-08532         HENINGER GARRISON DAVIS, LLC
MEDSKER, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-08541         HENINGER GARRISON DAVIS, LLC
MEYER, SONIA               NJ - USDC for the District of New Jersey   3:18-cv-16095         HENINGER GARRISON DAVIS, LLC
MILLS, LIDIA               NJ - USDC for the District of New Jersey   3:21-cv-15121         HENINGER GARRISON DAVIS, LLC
MORGENROTH, PAULA          NJ - USDC for the District of New Jersey   3:19-cv-12518         HENINGER GARRISON DAVIS, LLC
MURPHY-MCCOY, CHARLENE     NJ - USDC for the District of New Jersey   3:21-cv-15128         HENINGER GARRISON DAVIS, LLC
PATEL, USHA                NJ - USDC for the District of New Jersey   3:18-cv-16186         HENINGER GARRISON DAVIS, LLC
RANDAZZO, JOANNE           NJ - USDC for the District of New Jersey   3:18-cv-16180         HENINGER GARRISON DAVIS, LLC
RAVAS, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-15127         HENINGER GARRISON DAVIS, LLC
REAGIN, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-10510         HENINGER GARRISON DAVIS, LLC
REMBERT, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-18848         HENINGER GARRISON DAVIS, LLC
RUBINO, HEATHER            NJ - USDC for the District of New Jersey   3:20-cv-06556         HENINGER GARRISON DAVIS, LLC
SACKRIDER, MARGARET        NJ - USDC for the District of New Jersey   3:21-cv-11314         HENINGER GARRISON DAVIS, LLC
SCOTT, ROSALYN             NJ - USDC for the District of New Jersey   3:19-cv-08361         HENINGER GARRISON DAVIS, LLC
SHELTON, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-06554         HENINGER GARRISON DAVIS, LLC
SILVERMAN, SALLY           NJ - USDC for the District of New Jersey   3:21-cv-08422         HENINGER GARRISON DAVIS, LLC
SMITH, GRATHA              NJ - USDC for the District of New Jersey   3:18-cv-16519         HENINGER GARRISON DAVIS, LLC
SMITH, WILLODEAN           NJ - USDC for the District of New Jersey   3:18-cv-16181         HENINGER GARRISON DAVIS, LLC
STEIGER, MARY              NJ - USDC for the District of New Jersey   3:18-cv-11855         HENINGER GARRISON DAVIS, LLC
THOMPSON, MAGDALINE        NJ - USDC for the District of New Jersey   3:18-cv-16182         HENINGER GARRISON DAVIS, LLC
THOMPSON, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-05909         HENINGER GARRISON DAVIS, LLC
VISE, LINDA                NJ - USDC for the District of New Jersey   3:18-cv-16097         HENINGER GARRISON DAVIS, LLC
WHITED, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-11854         HENINGER GARRISON DAVIS, LLC
WING, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-02286         HENINGER GARRISON DAVIS, LLC
WRIGHT, LENORE             NJ - USDC for the District of New Jersey   3:21-cv-10516         HENINGER GARRISON DAVIS, LLC
CLARK, BERNADETTE          NJ - USDC for the District of New Jersey   3:18-cv-01728         HENINGER, GARRISON, DAVIS, LLC
HORTON, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-01813         HENINGER, GARRISON, DAVIS, LLC
BEAN, MARY                 NJ - Superior Court - Atlantic County      ATL-L-1234-16         HERMAN GEREL, LLP
DZIESZKOWSKI, KIMBERLY     NJ - Superior Court - Atlantic County      ATL-L-1157-16         HERMAN GEREL, LLP
FLANAGAN, JILL             NJ - Superior Court - Atlantic County      ATL-L-1228-16         HERMAN GEREL, LLP
FORANCE, JOANN             NJ - Superior Court - Atlantic County      ATL-L-1239-16         HERMAN GEREL, LLP
GARZA, LILLIAN             NJ - Superior Court - Atlantic County      ATL-L-1230-16         HERMAN GEREL, LLP
GULLMAN, ELIZABETH         NJ - Superior Court - Atlantic County      ATL-L-310-16          HERMAN GEREL, LLP
HAWKINS, RHONDA            NJ - Superior Court - Atlantic County      ATL-L-1229-16         HERMAN GEREL, LLP
MORTIMER, LAURA            NJ - Superior Court - Atlantic County      ATL-L-1232-16         HERMAN GEREL, LLP
RANDOLPH, SANDRA           NJ - Superior Court - Atlantic County      ATL-L-1243-16         HERMAN GEREL, LLP
SHOEMAKER, JULIANNE        NJ - Superior Court - Atlantic County      ATL-L-1227-16         HERMAN GEREL, LLP
SMITH, JEANNE              NJ - Superior Court - Atlantic County      ATL-L-311-16          HERMAN GEREL, LLP
WATERS, THERESA            NJ - Superior Court - Atlantic County      ATL-L-1242-16         HERMAN GEREL, LLP
XOCHIHUA, MARIA            NJ - Superior Court - Atlantic County      ATL-L-1237-16         HERMAN GEREL, LLP
ADAMS, EVELYN              NJ - USDC for the District of New Jersey   3:17-cv-10041         HEYGOOD, ORR & PEARSON
ADAMS, SHIRLEY             NJ - USDC for the District of New Jersey   3:17-cv-13439         HEYGOOD, ORR & PEARSON
ALVY, CRISTINA             NJ - USDC for the District of New Jersey   3:17-cv-11406         HEYGOOD, ORR & PEARSON
AMICA, JACQUELINE          NJ - USDC for the District of New Jersey   3:17-cv-07061         HEYGOOD, ORR & PEARSON
APONTE, ANALYDE            NJ - USDC for the District of New Jersey   3:18-cv-02107         HEYGOOD, ORR & PEARSON
BELL, MARILYN              NJ - USDC for the District of New Jersey   3:17-cv-03040         HEYGOOD, ORR & PEARSON
BLACKMON, JUDY             NJ - USDC for the District of New Jersey   3:17-cv-07410         HEYGOOD, ORR & PEARSON
BLAIR, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-00100         HEYGOOD, ORR & PEARSON
BODIE, MARY                NJ - USDC for the District of New Jersey   3:17-cv-03771         HEYGOOD, ORR & PEARSON
BOND, DONNA                NJ - USDC for the District of New Jersey   3:18-cv-03549         HEYGOOD, ORR & PEARSON
BROOKS, WINIFRED           NJ - USDC for the District of New Jersey   3:19-cv-00612         HEYGOOD, ORR & PEARSON
BROWN, TERESA              NJ - USDC for the District of New Jersey   3:19-cv-00532         HEYGOOD, ORR & PEARSON
BUSTOS, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-12429         HEYGOOD, ORR & PEARSON
CALLAHAN, JUDITH           NJ - USDC for the District of New Jersey   3:18-cv-09855         HEYGOOD, ORR & PEARSON
CARSON, RAMONA             NJ - USDC for the District of New Jersey   3:17-cv-07444         HEYGOOD, ORR & PEARSON
CHAMBERS, LULLA            NJ - USDC for the District of New Jersey   3:18-cv-00958         HEYGOOD, ORR & PEARSON
CICCONE, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-04578         HEYGOOD, ORR & PEARSON
COLLUM, CATHERINE          NJ - USDC for the District of New Jersey   3:18-cv-06319         HEYGOOD, ORR & PEARSON
COOK, DYANN                NJ - USDC for the District of New Jersey   3:17-cv-07412         HEYGOOD, ORR & PEARSON
CORBY, TONI                NJ - USDC for the District of New Jersey   3:18-cv-01753         HEYGOOD, ORR & PEARSON
CRUZ, SAMANTHA             NJ - USDC for the District of New Jersey   3:17-cv-07415         HEYGOOD, ORR & PEARSON
DAVIS, CAROL               CA - Superior Court - Santa Barbara        17-cv-01045           HEYGOOD, ORR & PEARSON
DEFOSSE, ANN               NJ - USDC for the District of New Jersey   3:18-cv-15320         HEYGOOD, ORR & PEARSON
DELLEVAS, ALEXANDRA        NJ - USDC for the District of New Jersey   3:17-cv-07429         HEYGOOD, ORR & PEARSON
DEMERS, AGNES              NJ - USDC for the District of New Jersey   3:18-cv-00610         HEYGOOD, ORR & PEARSON
DIAZ, MARTA                NJ - USDC for the District of New Jersey   3:18-cv-12454         HEYGOOD, ORR & PEARSON




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
DWELLE, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-01451         HEYGOOD, ORR & PEARSON
EDWARDS, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-12506         HEYGOOD, ORR & PEARSON
ERCOLINA, JENNY           NJ - USDC for the District of New Jersey   3:19-cv-06521         HEYGOOD, ORR & PEARSON
FAHERTY, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-00606         HEYGOOD, ORR & PEARSON
FELLS, ANDREA             NJ - USDC for the District of New Jersey   3:17-cv-12576         HEYGOOD, ORR & PEARSON
FRANCIS, KATHLEEN         NJ - USDC for the District of New Jersey   3:17-cv-13165         HEYGOOD, ORR & PEARSON
GARRARD, KATHY            NJ - USDC for the District of New Jersey   3:17-cv-13446         HEYGOOD, ORR & PEARSON
GILBERT, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-07918         HEYGOOD, ORR & PEARSON
GONZALEZ, RHONDA          NJ - USDC for the District of New Jersey   3:17-cv-05628         HEYGOOD, ORR & PEARSON
GRACE, MADELINE           NJ - USDC for the District of New Jersey   3:17-cv-07913         HEYGOOD, ORR & PEARSON
GRESKI, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-00985         HEYGOOD, ORR & PEARSON
HAHN, VERA                NJ - USDC for the District of New Jersey   3:17-cv-01893         HEYGOOD, ORR & PEARSON
HALLORAN, MARILYN         NJ - USDC for the District of New Jersey   3:18-cv-01987         HEYGOOD, ORR & PEARSON
HAMBY, CONSTANCE          NJ - USDC for the District of New Jersey   3:19-cv-05443         HEYGOOD, ORR & PEARSON
HANNING, LILLIAN          NJ - USDC for the District of New Jersey   3:19-cv-05729         HEYGOOD, ORR & PEARSON
HAYS, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-07065         HEYGOOD, ORR & PEARSON
HERNANDEZ, GAIL           NJ - USDC for the District of New Jersey   3:17-cv-11663         HEYGOOD, ORR & PEARSON
HINDS, DEBRA              NJ - USDC for the District of New Jersey   3:17-cv-07430         HEYGOOD, ORR & PEARSON
HOBBS, CHRISTINE          NJ - USDC for the District of New Jersey   3:18-cv-12835         HEYGOOD, ORR & PEARSON
HOOD, GENEVA              NJ - USDC for the District of New Jersey   3:18-cv-00762         HEYGOOD, ORR & PEARSON
HOPSON, ANITA             NJ - USDC for the District of New Jersey   3:19-cv-01042         HEYGOOD, ORR & PEARSON
HOUSTON, MARY             NJ - USDC for the District of New Jersey   3:17-cv-04090         HEYGOOD, ORR & PEARSON
HUCKS-FERRELL, CYNTHIA    NJ - USDC for the District of New Jersey   3:18-cv-09598         HEYGOOD, ORR & PEARSON
INGRAM, GARDENIA          NJ - USDC for the District of New Jersey   3:18-cv-08099         HEYGOOD, ORR & PEARSON
IWANOW, CHRISTINE         NJ - USDC for the District of New Jersey   3:18-cv-05562         HEYGOOD, ORR & PEARSON
JENKINS, MONNIE           NJ - USDC for the District of New Jersey   3:18-cv-04613         HEYGOOD, ORR & PEARSON
JOHNSON, WANDA            NJ - USDC for the District of New Jersey   3:17-cv-04268         HEYGOOD, ORR & PEARSON
JOYNER, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-07431         HEYGOOD, ORR & PEARSON
KENNEDY, NAOMI            NJ - USDC for the District of New Jersey   3:17-cv-00030         HEYGOOD, ORR & PEARSON
KENT, KARA                NJ - USDC for the District of New Jersey   3:17-cv-02376         HEYGOOD, ORR & PEARSON
KIRKLAND, WENDY           NJ - USDC for the District of New Jersey   3:17-cv-04953         HEYGOOD, ORR & PEARSON
KNIERIM, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-01526         HEYGOOD, ORR & PEARSON
KOENIG, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-15314         HEYGOOD, ORR & PEARSON
KORODY, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-02267         HEYGOOD, ORR & PEARSON
KREISBERG, MARCIA         NJ - USDC for the District of New Jersey   3:18-cv-01891         HEYGOOD, ORR & PEARSON
LA VARTA, CATHERINE       CA - Superior Court - Sonoma County        SCV260077             HEYGOOD, ORR & PEARSON
LAKE, SYLVIA              NJ - USDC for the District of New Jersey   3:18-cv-15330         HEYGOOD, ORR & PEARSON
MALLETT, JOAN             NJ - USDC for the District of New Jersey   3:17-cv-05593         HEYGOOD, ORR & PEARSON
MARINO, MARIE             NJ - USDC for the District of New Jersey   3:17-cv-07427         HEYGOOD, ORR & PEARSON
MARTINEZ, DINICE          NJ - USDC for the District of New Jersey   3:19-cv-01109         HEYGOOD, ORR & PEARSON
MAY, ROSEMARY             NJ - USDC for the District of New Jersey   3:18-cv-09642         HEYGOOD, ORR & PEARSON
MAZUREK, ELLEN            NJ - USDC for the District of New Jersey   3:17-cv-07423         HEYGOOD, ORR & PEARSON
MCCUMBER, EVELYN          NJ - USDC for the District of New Jersey   3:17-cv-13171         HEYGOOD, ORR & PEARSON
MOORE, BETTY              NJ - USDC for the District of New Jersey   3:17-cv-01609         HEYGOOD, ORR & PEARSON
MOORE, LILLIE             NJ - USDC for the District of New Jersey   3:18-cv-15436         HEYGOOD, ORR & PEARSON
MOSCOVICI, HEDY           NJ - USDC for the District of New Jersey   3:18-cv-00264         HEYGOOD, ORR & PEARSON
MUTTA, DEBRA              NJ - USDC for the District of New Jersey   3:17-cv-07419         HEYGOOD, ORR & PEARSON
MYERS, JOLA               NJ - USDC for the District of New Jersey   3:18-cv-12869         HEYGOOD, ORR & PEARSON
NELSON, AFTON             NJ - USDC for the District of New Jersey   3:18-cv-10535         HEYGOOD, ORR & PEARSON
NICHOLS, ADELE            NJ - USDC for the District of New Jersey   3:18-cv-02375         HEYGOOD, ORR & PEARSON
OBERMILLER, DEBRA         NJ - USDC for the District of New Jersey   3:18-cv-15460         HEYGOOD, ORR & PEARSON
PARKER, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-15529         HEYGOOD, ORR & PEARSON
PERKOLA, CAROLYN          NJ - USDC for the District of New Jersey   3:17-cv-06835         HEYGOOD, ORR & PEARSON
PETERSEN, SUSAN           NJ - USDC for the District of New Jersey   3:19-cv-01135         HEYGOOD, ORR & PEARSON
PIRRAGLIA, HOLLY          NJ - USDC for the District of New Jersey   3:17-cv-00081         HEYGOOD, ORR & PEARSON
POWELL, ELLIS             NJ - USDC for the District of New Jersey   3:19-cv-00758         HEYGOOD, ORR & PEARSON
PROST, BRENDA             NJ - USDC for the District of New Jersey   3:17-cv-12793         HEYGOOD, ORR & PEARSON
RAJAMOHAN, SUGIRTHA       NJ - USDC for the District of New Jersey   3:17-cv-06012         HEYGOOD, ORR & PEARSON
RAY, KATHERINE            NJ - USDC for the District of New Jersey   3:18-cv-00960         HEYGOOD, ORR & PEARSON
REMPAS, LUCY              NJ - USDC for the District of New Jersey   3:16-cv-07571         HEYGOOD, ORR & PEARSON
ROBINSON, SHIRLEY         NJ - USDC for the District of New Jersey   3:17-cv-07075         HEYGOOD, ORR & PEARSON
ROGERS, REBECCA           NJ - USDC for the District of New Jersey   3:16-cv-09482         HEYGOOD, ORR & PEARSON
ROLFE, LYNN               NJ - USDC for the District of New Jersey   3:17-cv-07072         HEYGOOD, ORR & PEARSON
RUBENACKER, RENE          NJ - USDC for the District of New Jersey   3:18-cv-15864         HEYGOOD, ORR & PEARSON
SALAS, SUSANA             NJ - USDC for the District of New Jersey   3:17-cv-07381         HEYGOOD, ORR & PEARSON
SANDERS, MANOLITA         NJ - USDC for the District of New Jersey   3:19-cv-00712         HEYGOOD, ORR & PEARSON
SANTOS, MONINA            NJ - USDC for the District of New Jersey   3:17-cv-13481         HEYGOOD, ORR & PEARSON
SCALF, TONYA              NJ - USDC for the District of New Jersey   3:18-cv-14977         HEYGOOD, ORR & PEARSON
SCHINDLER, SAMMIE         NJ - USDC for the District of New Jersey   3:18-cv-01474         HEYGOOD, ORR & PEARSON
SCHUERER, FAY             NJ - USDC for the District of New Jersey   3:17-cv-13244         HEYGOOD, ORR & PEARSON
SEPTER, TRENA             NJ - USDC for the District of New Jersey   3:17-cv-12079         HEYGOOD, ORR & PEARSON
SERIKAKU, GEORGINA        NJ - USDC for the District of New Jersey   3:18-cv-09611         HEYGOOD, ORR & PEARSON
SIMMONS, NANCY            NJ - USDC for the District of New Jersey   3:17-cv-07424         HEYGOOD, ORR & PEARSON
SIMMONS, SYMONE           NJ - USDC for the District of New Jersey   3:18-cv-01179         HEYGOOD, ORR & PEARSON
SMITH, RUTHIE             NJ - USDC for the District of New Jersey   3:17-cv-00082         HEYGOOD, ORR & PEARSON
SNOW, CRYSTAL             NJ - USDC for the District of New Jersey   3:18-cv-12810         HEYGOOD, ORR & PEARSON
SPANN, SHERRIE            NJ - USDC for the District of New Jersey   3:17-cv-07436         HEYGOOD, ORR & PEARSON
STEVENSON, MARGARET       NJ - USDC for the District of New Jersey   3:17-cv-07439         HEYGOOD, ORR & PEARSON
SYAS, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-00152         HEYGOOD, ORR & PEARSON
VANDENBERG, LORI          NJ - USDC for the District of New Jersey   3:19-cv-05786         HEYGOOD, ORR & PEARSON




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
VINSON, EMILY                NJ - USDC for the District of New Jersey   3:17-cv-07066         HEYGOOD, ORR & PEARSON
VITIELLO, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-03619         HEYGOOD, ORR & PEARSON
VITOLS, BRITT                NJ - USDC for the District of New Jersey   3:18-cv-16225         HEYGOOD, ORR & PEARSON
WALKER, KAREN                NJ - USDC for the District of New Jersey   3:18-cv-16175         HEYGOOD, ORR & PEARSON
WELLS-ONYIOHA, DEBRA         NJ - USDC for the District of New Jersey   3:17-cv-07137         HEYGOOD, ORR & PEARSON
WILKERSON, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-05637         HEYGOOD, ORR & PEARSON
WILSON, PATSY                NJ - USDC for the District of New Jersey   3:17-cv-13264         HEYGOOD, ORR & PEARSON
WINKELSPECHT, THERESA        NJ - USDC for the District of New Jersey   3:18-cv-04822         HEYGOOD, ORR & PEARSON
WINTERS, IRINE               NJ - USDC for the District of New Jersey   3:18-cv-09866         HEYGOOD, ORR & PEARSON
JONES, TERRI                 NJ - USDC for the District of New Jersey   3:19-cv-00994         HILLARD MUNOZ GONZALES, LLP
MEDINA, JUDY                 NJ - USDC for the District of New Jersey   3:17-cv-04365         HILLARD MUNOZ GONZALES, LLP
RAMOS, IRMA                  NJ - USDC for the District of New Jersey   3:17-cv-04367         HILLARD MUNOZ GONZALES, LLP
UTLEY, YOLUNDA               NJ - USDC for the District of New Jersey   3:18-cv-14046         HILLARD MUNOZ GONZALES, LLP
ACOSTA, FAYETTA              NJ - USDC for the District of New Jersey   3:20-cv-14539         HILLIARD MARTINEZ GONZALES, LLP
ACOSTA, MIGDALIA             NJ - USDC for the District of New Jersey   3:20-cv-14521         HILLIARD MARTINEZ GONZALES, LLP
ADAMS, BEVERLY               NJ - USDC for the District of New Jersey   3:20-cv-14966         HILLIARD MARTINEZ GONZALES, LLP
BAKER-LADD, SHELLY           NJ - USDC for the District of New Jersey   3:20-cv-15256         HILLIARD MARTINEZ GONZALES, LLP
BARBIC, SAMANTHA             NJ - USDC for the District of New Jersey   3:20-cv-14067         HILLIARD MARTINEZ GONZALES, LLP
BENJAMIN, SINQUISA           NJ - USDC for the District of New Jersey   3:20-cv-14985         HILLIARD MARTINEZ GONZALES, LLP
BERKEY, STEPHANIE            NJ - USDC for the District of New Jersey   3:20-cv-13296         HILLIARD MARTINEZ GONZALES, LLP
BERNAL, MILADIS              NJ - USDC for the District of New Jersey   3:20-cv-13347         HILLIARD MARTINEZ GONZALES, LLP
BOWMAN, RHONDA               NJ - USDC for the District of New Jersey   3:20-cv-14068         HILLIARD MARTINEZ GONZALES, LLP
BRANCH, DEBORAH              NJ - USDC for the District of New Jersey   3:19-cv-01489         HILLIARD MARTINEZ GONZALES, LLP
BROCKELMEYER, CHRISTIANE     NJ - USDC for the District of New Jersey   3:20-cv-09347         HILLIARD MARTINEZ GONZALES, LLP
BROOKS, GAYLA                NJ - USDC for the District of New Jersey   3:20-cv-14964         HILLIARD MARTINEZ GONZALES, LLP
CAMPBELL, CHERI              NJ - USDC for the District of New Jersey   3:20-cv-15408         HILLIARD MARTINEZ GONZALES, LLP
CHROSTOWSKI, HEATHER         NJ - USDC for the District of New Jersey   3:20-cv-14969         HILLIARD MARTINEZ GONZALES, LLP
CLARK, DORSHELL              NJ - USDC for the District of New Jersey   3:20-cv-12990         HILLIARD MARTINEZ GONZALES, LLP
CLINTON, JAQUEL              NJ - USDC for the District of New Jersey   3:20-cv-13553         HILLIARD MARTINEZ GONZALES, LLP
COATNEY, STEPHANIE           NJ - USDC for the District of New Jersey   3:20-cv-14515         HILLIARD MARTINEZ GONZALES, LLP
CUPELLI, WENDY               NJ - USDC for the District of New Jersey   3:20-cv-09431         HILLIARD MARTINEZ GONZALES, LLP
DANNER, JANINE               NJ - USDC for the District of New Jersey   3:20-cv-14072         HILLIARD MARTINEZ GONZALES, LLP
DAVIS, MARSHA                NJ - USDC for the District of New Jersey   3:20-cv-14438         HILLIARD MARTINEZ GONZALES, LLP
DEMOUCHET, JEANETTE          NJ - USDC for the District of New Jersey   3:20-cv-08686         HILLIARD MARTINEZ GONZALES, LLP
DOBBINS, LEAH                NJ - USDC for the District of New Jersey   3:20-cv-14071         HILLIARD MARTINEZ GONZALES, LLP
DUNCAN, LATOYA               NJ - USDC for the District of New Jersey   3:20-cv-14069         HILLIARD MARTINEZ GONZALES, LLP
DURANT, JANICE               NJ - USDC for the District of New Jersey   3:19-cv-13514         HILLIARD MARTINEZ GONZALES, LLP
FANG, SARAH                  NJ - USDC for the District of New Jersey   3:20-cv-08894         HILLIARD MARTINEZ GONZALES, LLP
GALLAGHER, RUTHANNE RHODES   NJ - USDC for the District of New Jersey   3:18-cv-14044         HILLIARD MARTINEZ GONZALES, LLP
GARCIA, CAROLA               NJ - USDC for the District of New Jersey   3:20-cv-14959         HILLIARD MARTINEZ GONZALES, LLP
GARNER, CHRISTINA            NJ - USDC for the District of New Jersey   3:20-cv-15641         HILLIARD MARTINEZ GONZALES, LLP
GIBLIN, ANNE                 NJ - USDC for the District of New Jersey   3:20-cv-12984         HILLIARD MARTINEZ GONZALES, LLP
GILMORE, ANIKA               NJ - USDC for the District of New Jersey   3:19-cv-00995         HILLIARD MARTINEZ GONZALES, LLP
GONZALEZ, JUANITA            NJ - USDC for the District of New Jersey   3:20-cv-15238         HILLIARD MARTINEZ GONZALES, LLP
GONZALEZ, JUANITA            NJ - USDC for the District of New Jersey   3:20-cv-14955         HILLIARD MARTINEZ GONZALES, LLP
GRAHAM, ELIZABETH            NJ - USDC for the District of New Jersey   3:20-cv-09432         HILLIARD MARTINEZ GONZALES, LLP
GRUBER, KRISTY               NJ - USDC for the District of New Jersey   3:20-cv-09410         HILLIARD MARTINEZ GONZALES, LLP
HERNANDEZ, SUSANA            NJ - USDC for the District of New Jersey   3:20-cv-13346         HILLIARD MARTINEZ GONZALES, LLP
HODGE, MANDY                 NJ - USDC for the District of New Jersey   3:20-cv-15803         HILLIARD MARTINEZ GONZALES, LLP
HOWARD, WANDA                NJ - USDC for the District of New Jersey   3:20-cv-16019         HILLIARD MARTINEZ GONZALES, LLP
HUFFMAN, COLLEEN             NJ - USDC for the District of New Jersey   3:20-cv-14680         HILLIARD MARTINEZ GONZALES, LLP
JOHNSON, SHELIA              NJ - USDC for the District of New Jersey   3:20-cv-13278         HILLIARD MARTINEZ GONZALES, LLP
JONES, TERRI                 NJ - USDC for the District of New Jersey   3:19-cv-13518         HILLIARD MARTINEZ GONZALES, LLP
LALONDE, KAREN               NJ - USDC for the District of New Jersey   3:18-cv-10771         HILLIARD MARTINEZ GONZALES, LLP
LYNN, ELOISE                 NJ - USDC for the District of New Jersey   3:20-cv-13345         HILLIARD MARTINEZ GONZALES, LLP
MAINE, JENNIFER              NJ - USDC for the District of New Jersey   3:20-cv-13224         HILLIARD MARTINEZ GONZALES, LLP
MALONE, KANDICE              NJ - USDC for the District of New Jersey   3:20-cv-13500         HILLIARD MARTINEZ GONZALES, LLP
MANNING, SHEILA              NJ - USDC for the District of New Jersey   3:20-cv-14057         HILLIARD MARTINEZ GONZALES, LLP
MANUEL, JOSEFEA              NJ - USDC for the District of New Jersey   3:20-cv-13234         HILLIARD MARTINEZ GONZALES, LLP
MARSHALL, TONYA              NJ - USDC for the District of New Jersey   3:20-cv-13348         HILLIARD MARTINEZ GONZALES, LLP
MARTINEZ, ROSALINDA          NJ - USDC for the District of New Jersey   3:20-cv-08415         HILLIARD MARTINEZ GONZALES, LLP
MITCHELL, ANSELMA            NJ - USDC for the District of New Jersey   3:20-cv-15245         HILLIARD MARTINEZ GONZALES, LLP
MOORE, LINDSAY               NJ - USDC for the District of New Jersey   3:20-cv-15650         HILLIARD MARTINEZ GONZALES, LLP
NISAR, DARLINE               NJ - USDC for the District of New Jersey   3:20-cv-15407         HILLIARD MARTINEZ GONZALES, LLP
OWENS, BOBBIE                NJ - USDC for the District of New Jersey   3:18-cv-17252         HILLIARD MARTINEZ GONZALES, LLP
PARKS, LILLIAN               NJ - USDC for the District of New Jersey   3:20-cv-09215         HILLIARD MARTINEZ GONZALES, LLP
PATTON, TONYA                NJ - USDC for the District of New Jersey   3:20-cv-14476         HILLIARD MARTINEZ GONZALES, LLP
PORTER, BEVERLY              NJ - USDC for the District of New Jersey   3:18-cv-09269         HILLIARD MARTINEZ GONZALES, LLP
PORTUGAL, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-15775         HILLIARD MARTINEZ GONZALES, LLP
RAOUF, FARIBA                NJ - USDC for the District of New Jersey   3:20-cv-15637         HILLIARD MARTINEZ GONZALES, LLP
RAPE, CHRIS                  NJ - USDC for the District of New Jersey   3:20-cv-14725         HILLIARD MARTINEZ GONZALES, LLP
RHEA-GUY, CHRISTINA          NJ - USDC for the District of New Jersey   3:20-cv-11546         HILLIARD MARTINEZ GONZALES, LLP
RICHARDSON, NATASHA          NJ - USDC for the District of New Jersey   3:20-cv-14475         HILLIARD MARTINEZ GONZALES, LLP
ROBINSON, KELSEY             NJ - USDC for the District of New Jersey   3:20-cv-15417         HILLIARD MARTINEZ GONZALES, LLP
RODRIGUEZ, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-15413         HILLIARD MARTINEZ GONZALES, LLP
RUBATT, DAWN                 NJ - USDC for the District of New Jersey   3:20-cv-08433         HILLIARD MARTINEZ GONZALES, LLP
THOMAS, OLIVIA               NJ - USDC for the District of New Jersey   3:20-cv-14775         HILLIARD MARTINEZ GONZALES, LLP
THOMAS, SANDRA               NJ - USDC for the District of New Jersey   3:20-cv-14480         HILLIARD MARTINEZ GONZALES, LLP
TURNER, PEARLEAN             NJ - USDC for the District of New Jersey   3:19-cv-01118         HILLIARD MARTINEZ GONZALES, LLP
VIDAURI, JACQUELINE          NJ - USDC for the District of New Jersey   3:20-cv-15508         HILLIARD MARTINEZ GONZALES, LLP




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
WELLINGTON, SONIQUA               NJ - USDC for the District of New Jersey   3:20-cv-14761         HILLIARD MARTINEZ GONZALES, LLP
WILKERSON, ANGELA                 NJ - USDC for the District of New Jersey   3:20-cv-15496         HILLIARD MARTINEZ GONZALES, LLP
WOODS, INGRIA                     NJ - USDC for the District of New Jersey   3:20-cv-13228         HILLIARD MARTINEZ GONZALES, LLP
ADAIR, PATRICIA                   NJ - USDC for the District of New Jersey   3:20-cv-08169         HOLLAND LAW FIRM
AKERS, DIANE                      NJ - USDC for the District of New Jersey   3:19-cv-20478         HOLLAND LAW FIRM
ALANIS, GRACIELA                  NJ - USDC for the District of New Jersey   3:20-cv-05128         HOLLAND LAW FIRM
ALLEN, MARY                       NJ - USDC for the District of New Jersey   3:20-cv-00908         HOLLAND LAW FIRM
ALLEY, JOYCE                      NJ - USDC for the District of New Jersey   3:20-cv-08382         HOLLAND LAW FIRM
ANTHONY, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-08628         HOLLAND LAW FIRM
AUSTEN-SCHLIER, LOIS              NJ - USDC for the District of New Jersey   3:20-cv-08885         HOLLAND LAW FIRM
BAYBO, MARY                       NJ - USDC for the District of New Jersey   3:19-cv-17176         HOLLAND LAW FIRM
BAYS, JOYCE                       NJ - USDC for the District of New Jersey   3:20-cv-07888         HOLLAND LAW FIRM
BETTENDORF, JEAN                  NJ - USDC for the District of New Jersey   3:19-cv-18372         HOLLAND LAW FIRM
BETZ, VICKI                       NJ - USDC for the District of New Jersey   3:20-cv-07403         HOLLAND LAW FIRM
BEZIK, SANDRA                     NJ - USDC for the District of New Jersey   3:20-cv-06662         HOLLAND LAW FIRM
BIDDIE, DONNA                     NJ - USDC for the District of New Jersey   3:20-cv-08360         HOLLAND LAW FIRM
BLACK, INNA                       NJ - USDC for the District of New Jersey   3:17-cv-10591         HOLLAND LAW FIRM
BOETTCHER, ALICE                  NJ - USDC for the District of New Jersey   3:20-cv-01653         HOLLAND LAW FIRM
BOYD, JENNIFER                    NJ - USDC for the District of New Jersey   3:19-cv-12944         HOLLAND LAW FIRM
BOYHAN, LINDA                     NJ - USDC for the District of New Jersey   3:19-cv-21300         HOLLAND LAW FIRM
BOYLE, YOLANDA                    NJ - USDC for the District of New Jersey   3:20-cv-07323         HOLLAND LAW FIRM
BRADLEY, VICTORIA                 NJ - USDC for the District of New Jersey   3:19-cv-20377         HOLLAND LAW FIRM
BRANCH, ANGELA                    NJ - USDC for the District of New Jersey   3:19-cv-20554         HOLLAND LAW FIRM
BRIGHAM, ROSALEE                  NJ - USDC for the District of New Jersey   3:20-cv-09721         HOLLAND LAW FIRM
BRUNO, VALERIE                    NJ - USDC for the District of New Jersey   3:19-cv-11478         HOLLAND LAW FIRM
BUCKNER, KIM                      NJ - USDC for the District of New Jersey   3:20-cv-08155         HOLLAND LAW FIRM
CABRERA, RAMONA                   NJ - USDC for the District of New Jersey   3:20-cv-07882         HOLLAND LAW FIRM
CALDERON, ADELAIDA                NJ - USDC for the District of New Jersey   3:20-cv-07834         HOLLAND LAW FIRM
CAMMARN, CARLA                    NJ - USDC for the District of New Jersey   3:19-cv-20955         HOLLAND LAW FIRM
CAMPBELL, JANETTE                 NJ - USDC for the District of New Jersey   3:20-cv-08374         HOLLAND LAW FIRM
CARDENAS, MARIA                   NJ - USDC for the District of New Jersey   3:19-cv-21245         HOLLAND LAW FIRM
CASHER, YVONNE                    NJ - USDC for the District of New Jersey   3:19-cv-15933         HOLLAND LAW FIRM
CERNIGLIA, JANET                  NJ - USDC for the District of New Jersey   3:17-cv-10662         HOLLAND LAW FIRM
CHAPMAN, EVELYN                   NJ - USDC for the District of New Jersey   3:20-cv-07894         HOLLAND LAW FIRM
CHRYSTLER, BEVERLY                NJ - USDC for the District of New Jersey   3:20-cv-09175         HOLLAND LAW FIRM
CLARK, RANDALYN                   NJ - USDC for the District of New Jersey   3:20-cv-06172         HOLLAND LAW FIRM
COBB, TAMI                        NJ - USDC for the District of New Jersey   3:20-cv-08038         HOLLAND LAW FIRM
CORSINI, PATSY                    NJ - USDC for the District of New Jersey   3:20-cv-02828         HOLLAND LAW FIRM
COSTON, CATHERINE                 NJ - USDC for the District of New Jersey   3:18-cv-17079         HOLLAND LAW FIRM
CRAIG, MARTHA                     NJ - USDC for the District of New Jersey   3:20-cv-08395         HOLLAND LAW FIRM
CRAWFORD, PHYLLIS                 NJ - USDC for the District of New Jersey   3:20-cv-01619         HOLLAND LAW FIRM
CREWS, BELINDA                    NJ - USDC for the District of New Jersey   3:20-cv-07006         HOLLAND LAW FIRM
CROFT, GRETI                      NJ - USDC for the District of New Jersey   3:19-cv-18784         HOLLAND LAW FIRM
CURRY, ANGELA                     NJ - USDC for the District of New Jersey   3:20-cv-03748         HOLLAND LAW FIRM
DALE, DIANA                       NJ - USDC for the District of New Jersey   3:20-cv-02434         HOLLAND LAW FIRM
DAVIS, SHIRLEY                    NJ - USDC for the District of New Jersey   3:19-cv-21030         HOLLAND LAW FIRM
DEAL, DEBORAH                     NJ - USDC for the District of New Jersey   3:20-cv-09109         HOLLAND LAW FIRM
DEES, MELISSA                     NJ - USDC for the District of New Jersey   3:17-cv-06940         HOLLAND LAW FIRM
DELGADO, SANDRA                   NJ - USDC for the District of New Jersey   3:19-cv-19056         HOLLAND LAW FIRM
DETMAN, NICOLE                    NJ - USDC for the District of New Jersey   3:19-cv-00603         HOLLAND LAW FIRM
DIBBS, KATHLEEN                   NJ - USDC for the District of New Jersey   3:20-cv-07881         HOLLAND LAW FIRM
DICKE, MARYANN                    NJ - USDC for the District of New Jersey   3:20-cv-08987         HOLLAND LAW FIRM
DICKERSON, MARILYN                NJ - USDC for the District of New Jersey   3:19-cv-11491         HOLLAND LAW FIRM
DOUGLAS, DEBRA                    NJ - USDC for the District of New Jersey   3:19-cv-21429         HOLLAND LAW FIRM
EARLS, BETTY                      NJ - USDC for the District of New Jersey   3:19-cv-14552         HOLLAND LAW FIRM
EDWARDS-ROWE, JACQUELYN           NJ - USDC for the District of New Jersey   3:19-cv-18810         HOLLAND LAW FIRM
ELSASSER, DORTHY                  NJ - USDC for the District of New Jersey   3:20-cv-08035         HOLLAND LAW FIRM
ENDY, JUDITH                      NJ - USDC for the District of New Jersey   3:20-cv-01861         HOLLAND LAW FIRM
EZERINS, MARA                     NJ - USDC for the District of New Jersey   3:20-cv-00541         HOLLAND LAW FIRM
FARNAM, CHRISTINE                 NJ - USDC for the District of New Jersey   3:20-cv-07184         HOLLAND LAW FIRM
FAULK, CAROLYN                    NJ - USDC for the District of New Jersey   3:19-cv-14551         HOLLAND LAW FIRM
FELDKAMP, KAREN                   NJ - USDC for the District of New Jersey   3:19-cv-21114         HOLLAND LAW FIRM
FELLOWS, CHRISTY                  NJ - USDC for the District of New Jersey   3:20-cv-07044         HOLLAND LAW FIRM
FIELD, DIERDRA                    NJ - USDC for the District of New Jersey   3:19-cv-14218         HOLLAND LAW FIRM
FOGLE, ERNESTINE                  NJ - USDC for the District of New Jersey   3:19-cv-16873         HOLLAND LAW FIRM
FOWLER, MOLLY                     NJ - USDC for the District of New Jersey   3:19-cv-21768         HOLLAND LAW FIRM
GABBERT-ROBERTSON, MARVALEE NJ - USDC for the District of New Jersey         3:19-cv-20200         HOLLAND LAW FIRM
GERARD, ANNA                      NJ - USDC for the District of New Jersey   3:20-cv-07887         HOLLAND LAW FIRM
GLOVER, NICCI                     NJ - USDC for the District of New Jersey   3:20-cv-05840         HOLLAND LAW FIRM
GONZALEZ, MARCY                   NJ - USDC for the District of New Jersey   3:17-cv-12914         HOLLAND LAW FIRM
GONZALEZ, MARIA                   NJ - USDC for the District of New Jersey   3:18-cv-16765         HOLLAND LAW FIRM
GRANADO, ELIDA                    NJ - USDC for the District of New Jersey   3:20-cv-10271         HOLLAND LAW FIRM
GRANT, SHIRLEY                    NJ - USDC for the District of New Jersey   3:20-cv-06173         HOLLAND LAW FIRM
GRAY, PATRICIA                    NJ - USDC for the District of New Jersey   3:20-cv-08447         HOLLAND LAW FIRM
GREEN, BETSY                      NJ - USDC for the District of New Jersey   3:21-cv-06540         HOLLAND LAW FIRM
GREEN, BETTY                      NJ - USDC for the District of New Jersey   3:20-cv-08159         HOLLAND LAW FIRM
GREGORY, CLAUDIA                  NJ - USDC for the District of New Jersey   3:17-cv-10814         HOLLAND LAW FIRM
GREGORY, TAMMY                    NJ - USDC for the District of New Jersey   3:19-cv-21427         HOLLAND LAW FIRM
GRIER, REGINA                     NJ - USDC for the District of New Jersey   3:20-cv-03801         HOLLAND LAW FIRM




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          Claimant Name                   State Filed                      Docket Number              Plaintiff Counsel
GROVES, LORI              NJ - USDC for the District of New Jersey   3:19-cv-19058         HOLLAND LAW FIRM
GUERRA, SHERRI            NJ - USDC for the District of New Jersey   3:20-cv-06171         HOLLAND LAW FIRM
HALEY, GRACE              NJ - USDC for the District of New Jersey   3:20-cv-05880         HOLLAND LAW FIRM
HALKIAS, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-05588         HOLLAND LAW FIRM
HAMIEL, STEPHANIE         NJ - USDC for the District of New Jersey   3:19-cv-05437         HOLLAND LAW FIRM
HARP, SHIRLEY             NJ - USDC for the District of New Jersey   3:20-cv-09113         HOLLAND LAW FIRM
HARRIS, SHELIA            NJ - USDC for the District of New Jersey   3:20-cv-05844         HOLLAND LAW FIRM
HARVEY, VERA              NJ - USDC for the District of New Jersey   3:20-cv-09225         HOLLAND LAW FIRM
HASTINGS, YVONNE          NJ - USDC for the District of New Jersey   3:20-cv-03427         HOLLAND LAW FIRM
HELLER, CARYLON           NJ - USDC for the District of New Jersey   3:20-cv-01098         HOLLAND LAW FIRM
HILL, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-05130         HOLLAND LAW FIRM
HOAGLAND, KATHY           NJ - USDC for the District of New Jersey   3:19-cv-21387         HOLLAND LAW FIRM
HOSWOOT, TENSIA           NJ - USDC for the District of New Jersey   3:19-cv-19055         HOLLAND LAW FIRM
HUNTER, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-09229         HOLLAND LAW FIRM
HUTCHISON, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-08370         HOLLAND LAW FIRM
JACKSON, JUNIE            NJ - USDC for the District of New Jersey   3:19-cv-19060         HOLLAND LAW FIRM
JACKSON, LORRAINE         NJ - USDC for the District of New Jersey   3:20-cv-01654         HOLLAND LAW FIRM
JACQUET, GAIL             NJ - USDC for the District of New Jersey   3:20-cv-09991         HOLLAND LAW FIRM
JOHNSON, CATHERINE        NJ - USDC for the District of New Jersey   3:20-cv-08753         HOLLAND LAW FIRM
JONES, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-00596         HOLLAND LAW FIRM
JONES, SUZANNE            NJ - USDC for the District of New Jersey   3:20-cv-05577         HOLLAND LAW FIRM
KEYS, BOBBIE              NJ - USDC for the District of New Jersey   3:20-cv-02827         HOLLAND LAW FIRM
KILMARTIN, KATHLEEN       NJ - USDC for the District of New Jersey   3:19-cv-21767         HOLLAND LAW FIRM
KNOWLES, STELLA           NJ - USDC for the District of New Jersey   3:20-cv-07890         HOLLAND LAW FIRM
KOLOZIE, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-00608         HOLLAND LAW FIRM
KOSNAC, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-09162         HOLLAND LAW FIRM
KOSS, ANNETTE             NJ - USDC for the District of New Jersey   3:20-cv-05878         HOLLAND LAW FIRM
LAGRONE, MARTHA           NJ - USDC for the District of New Jersey   3:17-cv-10828         HOLLAND LAW FIRM
LANDIS, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-10270         HOLLAND LAW FIRM
LANDIS, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-08519         HOLLAND LAW FIRM
LANE, WANDA               NJ - USDC for the District of New Jersey   3:19-cv-15934         HOLLAND LAW FIRM
LANGFORD, DEBORAH         NJ - USDC for the District of New Jersey   3:19-cv-11486         HOLLAND LAW FIRM
LAYTON, MONICA            NJ - USDC for the District of New Jersey   3:19-cv-06058         HOLLAND LAW FIRM
LEONARD, MARIE            NJ - USDC for the District of New Jersey   3:20-cv-09970         HOLLAND LAW FIRM
LEPE, MARGARITA           NJ - USDC for the District of New Jersey   3:20-cv-09160         HOLLAND LAW FIRM
LUNA, MARY                NJ - USDC for the District of New Jersey   3:20-cv-03701         HOLLAND LAW FIRM
MACDONALD, CHRISTINA      NJ - USDC for the District of New Jersey   3:19-cv-15931         HOLLAND LAW FIRM
MAGNUSON, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-08366         HOLLAND LAW FIRM
MAHALEY, RACHEL           NJ - USDC for the District of New Jersey   3:20-cv-03730         HOLLAND LAW FIRM
MAKAROPLOS, DAWN          NJ - USDC for the District of New Jersey   3:20-cv-05590         HOLLAND LAW FIRM
MAKER, MILDRED            NJ - USDC for the District of New Jersey   3:20-cv-00544         HOLLAND LAW FIRM
MANDRELL, DARLA           NJ - USDC for the District of New Jersey   3:19-cv-12943         HOLLAND LAW FIRM
MARCUM, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-18449         HOLLAND LAW FIRM
MARSTON, TERRY            NJ - USDC for the District of New Jersey   3:19-cv-21301         HOLLAND LAW FIRM
MARTINEZ, MARGARET        NJ - USDC for the District of New Jersey   3:19-cv-21769         HOLLAND LAW FIRM
MAYO-FAULKS, CAROLYN      NJ - USDC for the District of New Jersey   3:20-cv-10255         HOLLAND LAW FIRM
MAZARESE, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-08855         HOLLAND LAW FIRM
MCCABE, JOLENE            NJ - USDC for the District of New Jersey   3:20-cv-01862         HOLLAND LAW FIRM
MCFADDEN, MARILYN         NJ - USDC for the District of New Jersey   3:20-cv-08075         HOLLAND LAW FIRM
MCGEE, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-14259         HOLLAND LAW FIRM
MENDOZA, VANESSA          NJ - USDC for the District of New Jersey   3:20-cv-02228         HOLLAND LAW FIRM
MILLS, JOSIE              NJ - USDC for the District of New Jersey   3:20-cv-05127         HOLLAND LAW FIRM
MOORE, VALERIE            NJ - USDC for the District of New Jersey   3:20-cv-08357         HOLLAND LAW FIRM
MORGAN, SHAYLYNN          NJ - USDC for the District of New Jersey   3:19-cv-21029         HOLLAND LAW FIRM
MORRIS, CRYSTAL           NJ - USDC for the District of New Jersey   3:20-cv-01657         HOLLAND LAW FIRM
MOSS, FLORENCE            NJ - USDC for the District of New Jersey   3:19-cv-12945         HOLLAND LAW FIRM
MOUNT, WENDY              NJ - USDC for the District of New Jersey   3:20-cv-08041         HOLLAND LAW FIRM
ONKURU, VARSHA            NJ - USDC for the District of New Jersey   3:19-cv-22045         HOLLAND LAW FIRM
OREILLY, AMY              NJ - USDC for the District of New Jersey   3:20-cv-00921         HOLLAND LAW FIRM
OTT, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-05879         HOLLAND LAW FIRM
PATRICK, LORRAINE         NJ - USDC for the District of New Jersey   3:19-cv-14555         HOLLAND LAW FIRM
PAYNE, TREASA             NJ - USDC for the District of New Jersey   3:20-cv-08709         HOLLAND LAW FIRM
PEREZ, AWILDA             NJ - USDC for the District of New Jersey   3:19-cv-20982         HOLLAND LAW FIRM
PEREZ, VALERIE            NJ - USDC for the District of New Jersey   3:20-cv-07003         HOLLAND LAW FIRM
PHILLIPS, MARJORIE        NJ - USDC for the District of New Jersey   3:19-cv-14254         HOLLAND LAW FIRM
PIMENTEL, MONICA          NJ - USDC for the District of New Jersey   3:20-cv-08857         HOLLAND LAW FIRM
ROGERS, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-03607         HOLLAND LAW FIRM
ROLLSTIN, CHRISTAL        NJ - USDC for the District of New Jersey   3:19-cv-06059         HOLLAND LAW FIRM
SAFLOR, ELEUTERIA         NJ - USDC for the District of New Jersey   3:18-cv-17381         HOLLAND LAW FIRM
SALLIS, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-07005         HOLLAND LAW FIRM
SAULSBERRY, CHRISTINE     NJ - USDC for the District of New Jersey   3:20-cv-08157         HOLLAND LAW FIRM
SAUNDERS, FRANCES         NJ - USDC for the District of New Jersey   3:20-cv-09327         HOLLAND LAW FIRM
SCHOFIELD, CHRISTI        NJ - USDC for the District of New Jersey   3:20-cv-06174         HOLLAND LAW FIRM
SERRANO, LUZ              NJ - USDC for the District of New Jersey   3:20-cv-07007         HOLLAND LAW FIRM
SHANNON, TOMIKA           NJ - USDC for the District of New Jersey   3:18-cv-16863         HOLLAND LAW FIRM
SHEPHERD, PHYLLIS         NJ - USDC for the District of New Jersey   3:18-cv-16409         HOLLAND LAW FIRM
SHORT, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-08989         HOLLAND LAW FIRM
SLAGLE, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-21766         HOLLAND LAW FIRM
SMITH, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-08221         HOLLAND LAW FIRM
SOLOMON, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-12586         HOLLAND LAW FIRM




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
SOUTER, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-08518         HOLLAND LAW FIRM
STEADMAN, RHODA            NJ - USDC for the District of New Jersey   3:20-cv-07830         HOLLAND LAW FIRM
STRATTON, NINA             NJ - USDC for the District of New Jersey   3:20-cv-09451         HOLLAND LAW FIRM
TALLMAN, LORETTA           NJ - USDC for the District of New Jersey   3:19-cv-14094         HOLLAND LAW FIRM
TARCZAN, DOLORES           NJ - USDC for the District of New Jersey   3:19-cv-21428         HOLLAND LAW FIRM
TAYLOR, ALFREDA            NJ - USDC for the District of New Jersey   3:20-cv-01658         HOLLAND LAW FIRM
THOMAS, PEARLENA           NJ - USDC for the District of New Jersey   3:20-cv-01401         HOLLAND LAW FIRM
THOMPSON, NINA             NJ - USDC for the District of New Jersey   3:19-cv-14558         HOLLAND LAW FIRM
TILLMAN, LOTTIE            NJ - USDC for the District of New Jersey   3:19-cv-14262         HOLLAND LAW FIRM
TURNER, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-09686         HOLLAND LAW FIRM
VAN DYKE, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-07966         HOLLAND LAW FIRM
VEASQUEZ, BASSEMATH        NJ - USDC for the District of New Jersey   3:20-cv-06659         HOLLAND LAW FIRM
WAITS, JULIA               NJ - USDC for the District of New Jersey   3:20-cv-05589         HOLLAND LAW FIRM
WALLACE, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-08216         HOLLAND LAW FIRM
WARNER, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-08170         HOLLAND LAW FIRM
WASHINGTON, DELORISTINE    NJ - USDC for the District of New Jersey   3:19-cv-21241         HOLLAND LAW FIRM
WATKINS, VALARIE           NJ - USDC for the District of New Jersey   3:20-cv-10251         HOLLAND LAW FIRM
WHITMAN, RUTH              NJ - USDC for the District of New Jersey   3:20-cv-09381         HOLLAND LAW FIRM
WIBBENMEYER, PATRICIA      NJ - USDC for the District of New Jersey   3:19-cv-17451         HOLLAND LAW FIRM
WILLIAMS, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-07896         HOLLAND LAW FIRM
WILLIAMS, LALICA           NJ - USDC for the District of New Jersey   3:19-cv-11488         HOLLAND LAW FIRM
WILLIAMSON, DANA           NJ - USDC for the District of New Jersey   3:19-cv-07211         HOLLAND LAW FIRM
WOLD, DOLORES              NJ - USDC for the District of New Jersey   3:20-cv-09985         HOLLAND LAW FIRM
WRINKLE, LISA              NJ - USDC for the District of New Jersey   3:20-cv-05836         HOLLAND LAW FIRM
ZINGONE, JOANN             NJ - USDC for the District of New Jersey   3:17-cv-05668         HOLLAND LAW FIRM
                                                                                            HOLLAND, GROVES, SCHNELLER & STOLZE,
ROSS, LISA                 NJ - USDC for the District of New Jersey   3:17-cv-04791
                                                                                            LLC
BAGGETT, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-11048         HOLLIS, WRIGHT, CLAY & VAIL, P.C
BOLTON, GLORIA             NJ - USDC for the District of New Jersey   3:17-cv-11076         HOLLIS, WRIGHT, CLAY & VAIL, P.C
HYATT, SUN YE              OK - District Court - Oklahoma County      CJ-2021-27            HORTON LAW FIRM
FREEMAN-CALLAHAN, LEATHA   NJ - USDC for the District of New Jersey   3:19-cv-12601         HOSSLEY EMBRY LLP
BASBAGILL, KATIE           NJ - USDC for the District of New Jersey   3:18-cv-16076         HOVDE, DASSOW, & DEETS, LLC
BLACKBURN, CYNTHIA         NJ - USDC for the District of New Jersey   3:18-cv-02424         HOVDE, DASSOW, & DEETS, LLC
BOOTH, CAROL               NJ - USDC for the District of New Jersey   3:18-cv-02422         HOVDE, DASSOW, & DEETS, LLC
BROOKS, DENISE             NJ - USDC for the District of New Jersey   3:18-cv-02420         HOVDE, DASSOW, & DEETS, LLC
COOPER, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-13549         HOVDE, DASSOW, & DEETS, LLC
DAFOE, JOY                 NJ - USDC for the District of New Jersey   3:17-cv-06763         HOVDE, DASSOW, & DEETS, LLC
DURBIN, DAWN               NJ - USDC for the District of New Jersey   3:18-cv-16073         HOVDE, DASSOW, & DEETS, LLC
FICACCI, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-16070         HOVDE, DASSOW, & DEETS, LLC
FLORES, ANN                NJ - USDC for the District of New Jersey   3:17-cv-04796         HOVDE, DASSOW, & DEETS, LLC
FLORES, LEAH               NJ - USDC for the District of New Jersey   3:18-cv-01542         HOVDE, DASSOW, & DEETS, LLC
GRAY, LYNSHINA             NJ - USDC for the District of New Jersey   3:17-cv-05531         HOVDE, DASSOW, & DEETS, LLC
GREEN, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-08590         HOVDE, DASSOW, & DEETS, LLC
GRIMSLEY, SHERRY           NJ - USDC for the District of New Jersey   3:17-cv-08588         HOVDE, DASSOW, & DEETS, LLC
GROSS, TONI                NJ - USDC for the District of New Jersey   3:18-cv-16069         HOVDE, DASSOW, & DEETS, LLC
HETHERINGTON, DONNA        NJ - USDC for the District of New Jersey   3:17-cv-08076         HOVDE, DASSOW, & DEETS, LLC
HUMPHRIES, JUDITH          NJ - USDC for the District of New Jersey   3:18-cv-02415         HOVDE, DASSOW, & DEETS, LLC
JARAMILLO, CHRISTINA       NJ - USDC for the District of New Jersey   3:18-cv-02412         HOVDE, DASSOW, & DEETS, LLC
JAUBERT, MARY              NJ - USDC for the District of New Jersey   3:18-cv-16068         HOVDE, DASSOW, & DEETS, LLC
KILGORE, LETITIA           NJ - USDC for the District of New Jersey   3:18-cv-02410         HOVDE, DASSOW, & DEETS, LLC
LAYMAN, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-02409         HOVDE, DASSOW, & DEETS, LLC
MANNING, HAZEL             NJ - USDC for the District of New Jersey   3:18-cv-01249         HOVDE, DASSOW, & DEETS, LLC
MARTINEZ, DONILA           NJ - USDC for the District of New Jersey   3:18-cv-16066         HOVDE, DASSOW, & DEETS, LLC
MARTINEZ, MARY             NJ - USDC for the District of New Jersey   3:18-cv-16063         HOVDE, DASSOW, & DEETS, LLC
MITCHELL, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-05677         HOVDE, DASSOW, & DEETS, LLC
NEVAREZ, STACY             NJ - USDC for the District of New Jersey   3:17-cv-06431         HOVDE, DASSOW, & DEETS, LLC
NIEVES, BRENDA             NJ - USDC for the District of New Jersey   3:18-cv-02408         HOVDE, DASSOW, & DEETS, LLC
NOVAK, ANNETTE             NJ - USDC for the District of New Jersey   3:18-cv-02406         HOVDE, DASSOW, & DEETS, LLC
PHIPPS, ALICE              NJ - USDC for the District of New Jersey   3:18-cv-02405         HOVDE, DASSOW, & DEETS, LLC
PRUITT, INGRID             NJ - USDC for the District of New Jersey   3:18-cv-01254         HOVDE, DASSOW, & DEETS, LLC
RISLEY, HOPE               IL - Circuit Court - Cook County           2020L006924           HOVDE, DASSOW, & DEETS, LLC
SALVATORE, MARY            NJ - USDC for the District of New Jersey   3:17-cv-13714         HOVDE, DASSOW, & DEETS, LLC
SEIPLE, KRISTA             NJ - USDC for the District of New Jersey   3:18-cv-01263         HOVDE, DASSOW, & DEETS, LLC
SIERRA, GLORIA             NJ - USDC for the District of New Jersey   3:17-cv-12898         HOVDE, DASSOW, & DEETS, LLC
STACY, SHERRIE             NJ - USDC for the District of New Jersey   3:18-cv-02402         HOVDE, DASSOW, & DEETS, LLC
SUMMERS, CAROL             IL - Circuit Court - Cook County           2020-L-1314           HOVDE, DASSOW, & DEETS, LLC
SZITAS, VIRGINIA           NJ - USDC for the District of New Jersey   3:17-cv-13561         HOVDE, DASSOW, & DEETS, LLC
THOMPSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:18-cv-02400         HOVDE, DASSOW, & DEETS, LLC
TOMS, MADELINE             NJ - USDC for the District of New Jersey   3:17-cv-11391         HOVDE, DASSOW, & DEETS, LLC
TURNQUIST, DIXIE           NJ - USDC for the District of New Jersey   3:17-cv-11390         HOVDE, DASSOW, & DEETS, LLC
WEED, CLORINDA             NJ - USDC for the District of New Jersey   3:18-cv-17121         HOVDE, DASSOW, & DEETS, LLC
YARBER, ANNE               NJ - USDC for the District of New Jersey   3:18-cv-02398         HOVDE, DASSOW, & DEETS, LLC
ZACCARIA, MARY             NJ - USDC for the District of New Jersey   3:18-cv-02397         HOVDE, DASSOW, & DEETS, LLC
HOUSTON, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-02379         HUBER, SLACK, THOMAS & MARCELLE, LLP
ABELL, LINDA               NJ - USDC for the District of New Jersey   3:16-cv-08901         HUGHES LAW FIRM, PLLC
BELL, KELLIE               IL - Circuit Court - Cook County           2021L007402           HURLEY MCKENNA & MERTZ
BLACKSTON, FARRIE          NJ - USDC for the District of New Jersey   3:19-cv-12051         HURLEY MCKENNA & MERTZ
GESLICKI, JACQUELINE       NJ - USDC for the District of New Jersey   3:17-cv-01433         HURLEY MCKENNA & MERTZ
MARCINIAK, CELINA          NJ - USDC for the District of New Jersey   3:18-cv-16964         HURLEY MCKENNA & MERTZ
SIMPSON, BRENDA            NJ - USDC for the District of New Jersey   3:16-cv-07473         HURLEY MCKENNA & MERTZ




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          Claimant Name                         State Filed                      Docket Number                Plaintiff Counsel
ACHILLES, PATRICIA              NJ - USDC for the District of New Jersey   3:17-cv-04700         HUTTON & HUTTON
BLAKE, SUSAN                    NJ - USDC for the District of New Jersey   3:17-cv-05343         HUTTON & HUTTON
BUSSEY, MARY                    NJ - USDC for the District of New Jersey   3:17-cv-05347         HUTTON & HUTTON
COX, BARBARA                    NJ - USDC for the District of New Jersey   3:17-cv-04701         HUTTON & HUTTON
DAVIS, JUDY                     NJ - USDC for the District of New Jersey   3:16-cv-08366         HUTTON & HUTTON
HANCHETT, KAY                   NJ - USDC for the District of New Jersey   3:17-cv-04702         HUTTON & HUTTON
HARRIS, CLARA                   NJ - USDC for the District of New Jersey   3:17-cv-05349         HUTTON & HUTTON
HARRIS, WILLIE                  NJ - USDC for the District of New Jersey   3:21-cv-11107         HUTTON & HUTTON
MARCZYNSKI, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-09590         HUTTON & HUTTON
MARTIN, RUTH                    NJ - USDC for the District of New Jersey   3:16-cv-08367         HUTTON & HUTTON
MILLER, ESTHER                  NJ - USDC for the District of New Jersey   3:16-cv-08728         HUTTON & HUTTON
MILLER, JENNIFER                NJ - USDC for the District of New Jersey   3:19-cv-21611         HUTTON & HUTTON
MILLER, KAREN                   NJ - USDC for the District of New Jersey   3:17-cv-05727         HUTTON & HUTTON
LUMSDEN, MICHELLE               NJ - USDC for the District of New Jersey   3:19-cv-16057         J. ALAN WELCH P. C.
PRITCHARD, C. AMELIA EST OF D
                                DE - Superior Court - New Castle County    N20C-12-060           JACOBS & CRUMPLAR
GRAHAM
KURTEN, TRUDY                   DE - Superior Court - New Castle County    N17C-05-314           JACOBS & CRUMPLER, P.A.
POOLE, PATRICIA                 DE - Superior Court - New Castle County    N17C-05-357           JACOBS & CRUMPLER, P.A.
POWELL, DORIS                   DE - Superior Court - New Castle County    N17C-05-390           JACOBS & CRUMPLER, P.A.
STARR, IZETTA                   DE - Superior Court - New Castle County    N17C-05-295           JACOBS & CRUMPLER, P.A.
WRIGHT, SHERRI                  DE - Superior Court - New Castle County    N17C-05-337           JACOBS & CRUMPLER, P.A.
BEDFORD, WANDA                  NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
CASTRO, KERIJANE                NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
COLLINS, PATRICIA               NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
DELGADO, REBECCA                NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
FAHIMI, SOLMAZ                  NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
HARGROVE, JENNIFER              NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
KOCH, GLENDA                    NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
MCQUILLAN, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
OBRIEN, WILMA                   NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
PAN, LILING                     NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
PAULSON, TERESA                 NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
PIPER, ANN                      NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
RENNA, GENEVIEVE                NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
SIMMONS, CARRIE                 NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
TORIBIO, LEILANI                NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
URICK, DONNA                    NJ - USDC for the District of New Jersey   3:17-cv-00791         JACOBS OHARA MCMULLEN , P.C
LEE, CHARLENE                   NJ - USDC for the District of New Jersey   3:20-cv-05304         JAMES, VERNON & WEEKS, PA
RENEW, MARY                     NJ - USDC for the District of New Jersey   3:20-cv-05910         JAMES, VERNON & WEEKS, PA
JOHNSTON, JAMIE                 NJ - USDC for the District of New Jersey   3:16-cv-07581         JAMIE A. JOHNSTON, P.C.
ALEXANDER, REATHA               NJ - USDC for the District of New Jersey   3:20-cv-02862         JASON J. JOY & ASSCIATES P.L.L.C
ASP, BRENDA                     NJ - USDC for the District of New Jersey   3:21-cv-00406         JASON J. JOY & ASSCIATES P.L.L.C
BARNETT, JADIE                  NJ - USDC for the District of New Jersey   3:20-cv-01238         JASON J. JOY & ASSCIATES P.L.L.C
BENTLEY, JANET                  NJ - USDC for the District of New Jersey   3:20-cv-15478         JASON J. JOY & ASSCIATES P.L.L.C
BOWEN, CAROL                    NJ - USDC for the District of New Jersey   3:20-cv-08128         JASON J. JOY & ASSCIATES P.L.L.C
CAMACHO, MARIA                  NJ - USDC for the District of New Jersey   3:20-cv-07210         JASON J. JOY & ASSCIATES P.L.L.C
CARLEY, PATRICIA                NJ - USDC for the District of New Jersey   3:21-cv-07769         JASON J. JOY & ASSCIATES P.L.L.C
CARPENTER, PAMELA               NJ - USDC for the District of New Jersey   3:20-cv-14312         JASON J. JOY & ASSCIATES P.L.L.C
CHAVEZ, MARIA                   NJ - USDC for the District of New Jersey   3:20-cv-08120         JASON J. JOY & ASSCIATES P.L.L.C
CHINEN, ADA                     NJ - USDC for the District of New Jersey   3:20-cv-05821         JASON J. JOY & ASSCIATES P.L.L.C
CLARK, MINNIE                   NJ - USDC for the District of New Jersey   3:20-cv-12415         JASON J. JOY & ASSCIATES P.L.L.C
DELGADO, JENNA                  NJ - USDC for the District of New Jersey   3:20-cv-10031         JASON J. JOY & ASSCIATES P.L.L.C
DEVORE, JENNIFER                NJ - USDC for the District of New Jersey   3:20-cv-08971         JASON J. JOY & ASSCIATES P.L.L.C
DIBATTISTA, DELIA               NJ - USDC for the District of New Jersey   3:20-cv-09958         JASON J. JOY & ASSCIATES P.L.L.C
ELLISON, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-05828         JASON J. JOY & ASSCIATES P.L.L.C
FADDEN, LINDA                   NJ - USDC for the District of New Jersey   3:20-cv-14802         JASON J. JOY & ASSCIATES P.L.L.C
FIORE-ITHIER, COLLETTE          NJ - USDC for the District of New Jersey   3:21-cv-08205         JASON J. JOY & ASSCIATES P.L.L.C
GARFOOT, ELIZABETH              NJ - USDC for the District of New Jersey   3:21-cv-00057         JASON J. JOY & ASSCIATES P.L.L.C
GUILIANO, NOREEN                NJ - USDC for the District of New Jersey   3:20-cv-08980         JASON J. JOY & ASSCIATES P.L.L.C
HENRY, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-08337         JASON J. JOY & ASSCIATES P.L.L.C
HERNANDEZ, MARIA                NJ - USDC for the District of New Jersey   3:20-cv-14307         JASON J. JOY & ASSCIATES P.L.L.C
HILL, BETTY                     NJ - USDC for the District of New Jersey   3:20-cv-09948         JASON J. JOY & ASSCIATES P.L.L.C
KERR, CATHERINE                 NJ - USDC for the District of New Jersey   3:20-cv-16085         JASON J. JOY & ASSCIATES P.L.L.C
KONECNE, LISA                   NJ - USDC for the District of New Jersey   3:20-cv-10002         JASON J. JOY & ASSCIATES P.L.L.C
KUSLER, PAULA                   NJ - USDC for the District of New Jersey   3:21-cv-00477         JASON J. JOY & ASSCIATES P.L.L.C
LANGE, EDNA                     NJ - USDC for the District of New Jersey   3:20-cv-07301         JASON J. JOY & ASSCIATES P.L.L.C
LEONBERGER, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-08105         JASON J. JOY & ASSCIATES P.L.L.C
LEWIS, BRIDGET                  NJ - USDC for the District of New Jersey   3:20-cv-15001         JASON J. JOY & ASSCIATES P.L.L.C
LEWIS, MONIQUE                  NJ - USDC for the District of New Jersey   3:20-cv-00588         JASON J. JOY & ASSCIATES P.L.L.C
MARSON, JUDY                    NJ - USDC for the District of New Jersey   3:21-cv-01327         JASON J. JOY & ASSCIATES P.L.L.C
MCCLURE, KATHY                  NJ - USDC for the District of New Jersey   3:20-cv-10015         JASON J. JOY & ASSCIATES P.L.L.C
MCGILL, SARA                    NJ - USDC for the District of New Jersey   3:20-cv-08339         JASON J. JOY & ASSCIATES P.L.L.C
MCINTYRE, PEGGY                 NJ - USDC for the District of New Jersey   3:20-cv-16147         JASON J. JOY & ASSCIATES P.L.L.C
MCLENNAN, MARIANNE              NJ - USDC for the District of New Jersey   3:20-cv-15111         JASON J. JOY & ASSCIATES P.L.L.C
MILLER, LORETTA                 NJ - USDC for the District of New Jersey   3:21-cv-00066         JASON J. JOY & ASSCIATES P.L.L.C
MORRILL, PEGGY                  NJ - USDC for the District of New Jersey   3:20-cv-07304         JASON J. JOY & ASSCIATES P.L.L.C
NEAL, CAROL                     NJ - USDC for the District of New Jersey   3:20-cv-14288         JASON J. JOY & ASSCIATES P.L.L.C
NEWTON, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-02878         JASON J. JOY & ASSCIATES P.L.L.C
NOSIK, LARISA                   NJ - USDC for the District of New Jersey   3:20-cv-08108         JASON J. JOY & ASSCIATES P.L.L.C
PERKINS, JACQUELINE             NJ - USDC for the District of New Jersey   3:20-cv-02884         JASON J. JOY & ASSCIATES P.L.L.C




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          Claimant Name                   State Filed                      Docket Number                  Plaintiff Counsel
RICH, BERNICE             NJ - USDC for the District of New Jersey   3:20-cv-14254         JASON J. JOY & ASSCIATES P.L.L.C
RICHARDSON, CHRISTINA     NJ - USDC for the District of New Jersey   03:21-cv-04957        JASON J. JOY & ASSCIATES P.L.L.C
RICHARDSON, CHRISTINA     NJ - USDC for the District of New Jersey   3:21-cv-04957         JASON J. JOY & ASSCIATES P.L.L.C
RICO, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-16152         JASON J. JOY & ASSCIATES P.L.L.C
ROBINSON, PAULA           NJ - USDC for the District of New Jersey   3:20-cv-07308         JASON J. JOY & ASSCIATES P.L.L.C
ROCRAY, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-16965         JASON J. JOY & ASSCIATES P.L.L.C
RUMSEY, JANET             NJ - USDC for the District of New Jersey   3:20-cv-02894         JASON J. JOY & ASSCIATES P.L.L.C
SANTELLANA, ELIDA         NJ - USDC for the District of New Jersey   3:20-cv-08099         JASON J. JOY & ASSCIATES P.L.L.C
STEPHENS, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-03714         JASON J. JOY & ASSCIATES P.L.L.C
STUCKENSCHEIDER, CHANEL   NJ - USDC for the District of New Jersey   3:20-cv-16371         JASON J. JOY & ASSCIATES P.L.L.C
TRADER, BRITTANY          NJ - USDC for the District of New Jersey   3:21-cv-01250         JASON J. JOY & ASSCIATES P.L.L.C
VELLA, MARY               NJ - USDC for the District of New Jersey   3:20-cv-08340         JASON J. JOY & ASSCIATES P.L.L.C
VIELE, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-14252         JASON J. JOY & ASSCIATES P.L.L.C
WAITES, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-08982         JASON J. JOY & ASSCIATES P.L.L.C
WALKER, TAWANNA           NJ - USDC for the District of New Jersey   3:20-cv-14525         JASON J. JOY & ASSCIATES P.L.L.C
WILEY, CORA               NJ - USDC for the District of New Jersey   3:21-cv-03046         JASON J. JOY & ASSCIATES P.L.L.C
ZINDA, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-03043         JASON J. JOY & ASSCIATES P.L.L.C
                                                                                           JAVERBAUM WURGAFT HICKS KAHN
MOHAMMAD, CYNTHIA         NJ - Superior Court - Atlantic County      ATL-L-401-16
                                                                                           WIKSTROM & SININS, P.C.
                                                                                           JAVERBAUM WURGAFT HICKS KAHN
SCUTARI, TARA             NJ - Superior Court - Atlantic County      ATL-L-2559-17
                                                                                           WIKSTROM & SININS, P.C.
ZAPPONE, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-17251         JAZLOWIECKI & JAZLOWIECKI, LLC
NORMAN, STANTRA           NJ - USDC for the District of New Jersey   3:17-cv-02593         JEANSONNE & REMONDET
GENDELMAN, SHERRI         NJ - USDC for the District of New Jersey   3:17-cv-00461         JEFFREY R. LESSIN & ASSOCIATES, P.C
ABERCROMBIE, CHRISTINE    NJ - USDC for the District of New Jersey   3:19-cv-12977         JENNER LAW, P.C.
CHAMBERLIN, MARY          NJ - USDC for the District of New Jersey   3:19-cv-09064         JENNER LAW, P.C.
MAY, JEANNE               NJ - USDC for the District of New Jersey   3:18-cv-11756         JIM S. HALL & ASSOCIATES, LLC
BOUNDY, LYNNETTE          NJ - USDC for the District of New Jersey   3:20-cv-07013         JOEL E. BROWN & ASSOCIATES, P.C.
COLEY, ELICIA             NJ - USDC for the District of New Jersey   3:20-cv-06431         JOEL E. BROWN & ASSOCIATES, P.C.
FERNANDES, CHERYLANN      NJ - USDC for the District of New Jersey   3:17-cv-13067         JOEL E. BROWN & ASSOCIATES, P.C.
FARRINGTON, STEPHANIE     FL - Circuit Court - Miami Dade County     2016-16715-CA-01      JOHN B. OSTROW, P.A.
ABBOTT-EDWARDS, LORI      NJ - USDC for the District of New Jersey   3:18-cv-03385         JOHNSON BECKER, PLLC
ADAMS, AMBER              NJ - USDC for the District of New Jersey   3:18-cv-00483         JOHNSON BECKER, PLLC
ADAMS, KARLA              NJ - USDC for the District of New Jersey   3:21-cv-12953         JOHNSON BECKER, PLLC
ADAMS, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-16443         JOHNSON BECKER, PLLC
ALLIZZO, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-00488         JOHNSON BECKER, PLLC
ALVARADO, YAHAIRA         NJ - USDC for the District of New Jersey   3:17-cv-05171         JOHNSON BECKER, PLLC
ANDRIOLA, MICHELE         NJ - USDC for the District of New Jersey   3:18-cv-00489         JOHNSON BECKER, PLLC
AUFDENCAMP, DONIELLE      NJ - USDC for the District of New Jersey   3:18-cv-00490         JOHNSON BECKER, PLLC
AYRES, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-05798         JOHNSON BECKER, PLLC
BABE, JAN                 NJ - USDC for the District of New Jersey   3:19-cv-21438         JOHNSON BECKER, PLLC
BAILEY, JULIA             NJ - USDC for the District of New Jersey   3:17-cv-02258         JOHNSON BECKER, PLLC
BAKER, ESSIE              NJ - USDC for the District of New Jersey   3:18-cv-01840         JOHNSON BECKER, PLLC
BALL, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-06918         JOHNSON BECKER, PLLC
BARCLIFF, MARY            NJ - USDC for the District of New Jersey   3:17-cv-11781         JOHNSON BECKER, PLLC
BARNER, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-03037         JOHNSON BECKER, PLLC
BARON, MARY               NJ - USDC for the District of New Jersey   3:19-cv-12493         JOHNSON BECKER, PLLC
BARRINGER, DENISE         NJ - Superior Court - Atlantic County      ATL-1127-16           JOHNSON BECKER, PLLC
BARTHOLOMEW, CHRISTINE    NJ - USDC for the District of New Jersey   3:18-cv-00491         JOHNSON BECKER, PLLC
BATES, BRENDA             NJ - USDC for the District of New Jersey   3:18-cv-02255         JOHNSON BECKER, PLLC
BATMAN, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-01784         JOHNSON BECKER, PLLC
BEAVER, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-11018         JOHNSON BECKER, PLLC
BELARDEES, TERESA         NJ - USDC for the District of New Jersey   3:18-cv-00492         JOHNSON BECKER, PLLC
BELCHER, DENA             NJ - USDC for the District of New Jersey   3:17-cv-06602         JOHNSON BECKER, PLLC
BENNING, CARRIE           NJ - USDC for the District of New Jersey   3:17-cv-11025         JOHNSON BECKER, PLLC
BENSON, JOANNE            NJ - USDC for the District of New Jersey   3:17-cv-12443         JOHNSON BECKER, PLLC
BENTON, LESA              NJ - USDC for the District of New Jersey   3:17-cv-11030         JOHNSON BECKER, PLLC
BERGHAUS, ANGELA          NJ - USDC for the District of New Jersey   3:17-cv-02262         JOHNSON BECKER, PLLC
BERTORELLI, JANETTE       NJ - USDC for the District of New Jersey   3:17-cv-12478         JOHNSON BECKER, PLLC
BLAKE, TRACY              NJ - USDC for the District of New Jersey   3:18-cv-00494         JOHNSON BECKER, PLLC
BLANCHETTE, KARYN         NJ - USDC for the District of New Jersey   3:18-cv-00495         JOHNSON BECKER, PLLC
BOSWELL, TERRI            NJ - USDC for the District of New Jersey   3:18-cv-15331         JOHNSON BECKER, PLLC
BOUCHARD, ANITTA          NJ - USDC for the District of New Jersey   3:18-cv-04753         JOHNSON BECKER, PLLC
BOUDROT, MARY             NJ - USDC for the District of New Jersey   3:20-cv-04366         JOHNSON BECKER, PLLC
BRADLEY-TURNER, TERESA    NJ - USDC for the District of New Jersey   3:19-cv-19944         JOHNSON BECKER, PLLC
BRAZZEL, CHARITA          NJ - USDC for the District of New Jersey   3:17-cv-02192         JOHNSON BECKER, PLLC
BUNCY, KAREN              NJ - USDC for the District of New Jersey   3:18-cv-00496         JOHNSON BECKER, PLLC
BUNK, TISHYLINDA          NJ - USDC for the District of New Jersey   3:18-cv-00500         JOHNSON BECKER, PLLC
BURGESS, AMANDALEE        NJ - USDC for the District of New Jersey   3:18-cv-00501         JOHNSON BECKER, PLLC
CABALEIRO, MARIA          NJ - USDC for the District of New Jersey   3:19-cv-16408         JOHNSON BECKER, PLLC
CALLAHAN, ELLEN           NJ - USDC for the District of New Jersey   3:18-cv-10155         JOHNSON BECKER, PLLC
CARNEAL, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-00201         JOHNSON BECKER, PLLC
CASTONGUAY, CHRISTINE     NJ - USDC for the District of New Jersey   3:18-cv-00502         JOHNSON BECKER, PLLC
CAULTON, MARCIA           NJ - USDC for the District of New Jersey   3:21-cv-00225         JOHNSON BECKER, PLLC
CELESTINO, CHERRY         NJ - USDC for the District of New Jersey   3:20-cv-04360         JOHNSON BECKER, PLLC
CHARNOFF, PHYLLIS         NJ - USDC for the District of New Jersey   3:18-cv-00506         JOHNSON BECKER, PLLC
CHO, STEPHANIE            NJ - USDC for the District of New Jersey   3:18-cv-00517         JOHNSON BECKER, PLLC
CLAIR, KRISTI             NJ - USDC for the District of New Jersey   3:17-cv-03078         JOHNSON BECKER, PLLC
CLANCY, DONNA             NJ - USDC for the District of New Jersey   3:19-cv-18664         JOHNSON BECKER, PLLC
CLARK, SUNANTHA           NJ - USDC for the District of New Jersey   3:18-cv-00520         JOHNSON BECKER, PLLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
COE, KAREN                NJ - USDC for the District of New Jersey   3:18-cv-00522         JOHNSON BECKER, PLLC
COLEMAN, YVONNE           NJ - USDC for the District of New Jersey   3:19-cv-07612         JOHNSON BECKER, PLLC
COLLINS, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-05914         JOHNSON BECKER, PLLC
CONNER, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-10663         JOHNSON BECKER, PLLC
COOPER, SHARON            NJ - USDC for the District of New Jersey   3:17-cv-11078         JOHNSON BECKER, PLLC
CORDELL, LORETTA          NJ - USDC for the District of New Jersey   3:17-cv-11033         JOHNSON BECKER, PLLC
CORNFIELD, LYNN           NJ - USDC for the District of New Jersey   3:18-cv-00525         JOHNSON BECKER, PLLC
COURSE-CISLO, TRICIA      NJ - USDC for the District of New Jersey   3:17-cv-11236         JOHNSON BECKER, PLLC
COVINGTON, SUZANNE        NJ - USDC for the District of New Jersey   3:17-cv-12453         JOHNSON BECKER, PLLC
CROWE, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-02157         JOHNSON BECKER, PLLC
CRUZ, CLARA               NJ - USDC for the District of New Jersey   3:21-cv-10714         JOHNSON BECKER, PLLC
CUCINOTTA, JO LYNN        NJ - USDC for the District of New Jersey   3:18-cv-00526         JOHNSON BECKER, PLLC
CUTLER, SUZANNE           NJ - USDC for the District of New Jersey   3:18-cv-00538         JOHNSON BECKER, PLLC
DANAHEY, AMY              NJ - USDC for the District of New Jersey   3:17-cv-11034         JOHNSON BECKER, PLLC
DANIEL, SIOBAINNE         NJ - USDC for the District of New Jersey   3:17-cv-02260         JOHNSON BECKER, PLLC
DAVIDSON, ANITA           NJ - USDC for the District of New Jersey   3:17-cv-06604         JOHNSON BECKER, PLLC
DAVIS, BONNIE             NJ - USDC for the District of New Jersey   3:18-cv-02256         JOHNSON BECKER, PLLC
DELGADO, CHRISTINA        NJ - USDC for the District of New Jersey   3:18-cv-04588         JOHNSON BECKER, PLLC
DEMARCO, NADINE           NJ - USDC for the District of New Jersey   3:18-cv-15332         JOHNSON BECKER, PLLC
DENYS, CORNELIA           NJ - USDC for the District of New Jersey   3:21-cv-03211         JOHNSON BECKER, PLLC
DESLAURIERS, NORMANDE     NJ - USDC for the District of New Jersey   3:20-cv-15015         JOHNSON BECKER, PLLC
DICKEN, JODY              NJ - USDC for the District of New Jersey   3:17-cv-03079         JOHNSON BECKER, PLLC
DISALLE, BECKY            NJ - USDC for the District of New Jersey   3:20-cv-12535         JOHNSON BECKER, PLLC
DONIA, MILDRED            NJ - USDC for the District of New Jersey   3:18-cv-01890         JOHNSON BECKER, PLLC
DUFFEY, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-16387         JOHNSON BECKER, PLLC
DUGAN, ARLENE             NJ - USDC for the District of New Jersey   3:17-cv-11036         JOHNSON BECKER, PLLC
DUGAN, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-12539         JOHNSON BECKER, PLLC
DUNPHY, VICTORIA          NJ - USDC for the District of New Jersey   3:18-cv-00539         JOHNSON BECKER, PLLC
DUROVEY, TAMARA           NJ - USDC for the District of New Jersey   3:17-cv-06606         JOHNSON BECKER, PLLC
EGLEN, LAURA              NJ - USDC for the District of New Jersey   3:17-cv-11072         JOHNSON BECKER, PLLC
ELLIOTT, RUBY             NJ - USDC for the District of New Jersey   3:17-cv-11038         JOHNSON BECKER, PLLC
ELSON, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-12496         JOHNSON BECKER, PLLC
FACEMIRE, LISA            NJ - USDC for the District of New Jersey   3:21-cv-05809         JOHNSON BECKER, PLLC
FELDMAN, TRACY            NJ - USDC for the District of New Jersey   3:21-cv-00236         JOHNSON BECKER, PLLC
FERNANDEZ, SOL            NJ - USDC for the District of New Jersey   3:20-cv-09390         JOHNSON BECKER, PLLC
FLEMING, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-07255         JOHNSON BECKER, PLLC
FONTAINE, BRIDGET         NJ - USDC for the District of New Jersey   3:19-cv-06528         JOHNSON BECKER, PLLC
FOSTER, NICOLE            NJ - USDC for the District of New Jersey   3:17-cv-02259         JOHNSON BECKER, PLLC
FOXWELL, ROSE             NJ - USDC for the District of New Jersey   3:17-cv-12509         JOHNSON BECKER, PLLC
FREELAND, CHARLOTTE       NJ - USDC for the District of New Jersey   3:17-cv-12496         JOHNSON BECKER, PLLC
FRENCH, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-00242         JOHNSON BECKER, PLLC
FRYE, KATHLEEN            NJ - USDC for the District of New Jersey   3:17-cv-11074         JOHNSON BECKER, PLLC
GASKIN, SHERYL            NJ - USDC for the District of New Jersey   3:19-cv-16072         JOHNSON BECKER, PLLC
GATCHELL, GINA            NJ - USDC for the District of New Jersey   3:17-cv-03081         JOHNSON BECKER, PLLC
GLAZIER, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-11040         JOHNSON BECKER, PLLC
GOODIN-VASQUEZ, DENISE    NJ - USDC for the District of New Jersey   3:21-cv-05649         JOHNSON BECKER, PLLC
GORDON, CHERYL            NJ - USDC for the District of New Jersey   3:17-cv-12052         JOHNSON BECKER, PLLC
GORSKY, DEBRA             NJ - USDC for the District of New Jersey   3:18-cv-00541         JOHNSON BECKER, PLLC
GRAHAM, GRACE             NJ - USDC for the District of New Jersey   3:17-cv-12437         JOHNSON BECKER, PLLC
GRGUROVICH, KOSA          NJ - USDC for the District of New Jersey   3:19-cv-21556         JOHNSON BECKER, PLLC
GRIFFEE, CHRISTY          NJ - USDC for the District of New Jersey   3:17-cv-06615         JOHNSON BECKER, PLLC
GUNDO, KARRIE             NJ - USDC for the District of New Jersey   3:19-cv-19913         JOHNSON BECKER, PLLC
GUTIERREZ, RINA           NJ - USDC for the District of New Jersey   3:18-cv-00542         JOHNSON BECKER, PLLC
HALL, SARA                NJ - USDC for the District of New Jersey   3:18-cv-08091         JOHNSON BECKER, PLLC
HALLAM, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-05782         JOHNSON BECKER, PLLC
HAMMACK, TRINA            NJ - USDC for the District of New Jersey   3:18-cv-00543         JOHNSON BECKER, PLLC
HARMER, CATHERINE         NJ - USDC for the District of New Jersey   3:17-cv-11042         JOHNSON BECKER, PLLC
HARRIS, BEVERLY           NJ - USDC for the District of New Jersey   3:19-cv-21785         JOHNSON BECKER, PLLC
HARRIS, LISA              NJ - USDC for the District of New Jersey   3:17-cv-11044         JOHNSON BECKER, PLLC
HAYES, KAYLA              NJ - USDC for the District of New Jersey   3:18-cv-00544         JOHNSON BECKER, PLLC
HAYES, MANDY              NJ - USDC for the District of New Jersey   3:20-cv-17486         JOHNSON BECKER, PLLC
HAYNES, CLARA             NJ - USDC for the District of New Jersey   3:21-cv-01019         JOHNSON BECKER, PLLC
HEATH, EVELYN             NJ - USDC for the District of New Jersey   3:21-cv-06952         JOHNSON BECKER, PLLC
HIPPLEY, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-11869         JOHNSON BECKER, PLLC
HIXSON, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-09414         JOHNSON BECKER, PLLC
HOELLER, JEANNE           NJ - USDC for the District of New Jersey   3:18-cv-01374         JOHNSON BECKER, PLLC
HOLSCHBACH, JUDITH        NJ - USDC for the District of New Jersey   3:17-cv-12202         JOHNSON BECKER, PLLC
HYSLOP, MARY              NJ - USDC for the District of New Jersey   3:18-cv-00545         JOHNSON BECKER, PLLC
INTREPIDO, LISA           NJ - USDC for the District of New Jersey   3:18-cv-00546         JOHNSON BECKER, PLLC
IVORY, EARLINE            NJ - USDC for the District of New Jersey   3:19-cv-16821         JOHNSON BECKER, PLLC
JACKSON, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-02603         JOHNSON BECKER, PLLC
JAMES, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-00547         JOHNSON BECKER, PLLC
JENSEN, LORI              NJ - USDC for the District of New Jersey   3:18-cv-00548         JOHNSON BECKER, PLLC
JOHNSON, LISA MARIE       NJ - USDC for the District of New Jersey   3:17-cv-02605         JOHNSON BECKER, PLLC
JONES, CLAUDETTE          NJ - USDC for the District of New Jersey   3:19-cv-16878         JOHNSON BECKER, PLLC
JORDAN, BADYRE            NJ - USDC for the District of New Jersey   3:18-cv-00549         JOHNSON BECKER, PLLC
JORDAN, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-00551         JOHNSON BECKER, PLLC
KARAWETIAN, SANDRA        NJ - USDC for the District of New Jersey   3:18-cv-00552         JOHNSON BECKER, PLLC
KEEVEN, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-00553         JOHNSON BECKER, PLLC
KENNEDY, JANET            NJ - USDC for the District of New Jersey   3:17-cv-11045         JOHNSON BECKER, PLLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
KERKESLAGER, CATHERINE     NJ - USDC for the District of New Jersey   3:18-cv-00557         JOHNSON BECKER, PLLC
KESSEL, CHARLOTTE          NJ - USDC for the District of New Jersey   3:20-cv-16695         JOHNSON BECKER, PLLC
KIDD, KELLY                NJ - USDC for the District of New Jersey   3:17-cv-02263         JOHNSON BECKER, PLLC
KIHN, DIANNA               NJ - USDC for the District of New Jersey   3:17-cv-02188         JOHNSON BECKER, PLLC
KLOCK, THERESA             NJ - USDC for the District of New Jersey   3:20-cv-04353         JOHNSON BECKER, PLLC
KOMP, REBECCA              NJ - USDC for the District of New Jersey   3:20-cv-16724         JOHNSON BECKER, PLLC
LAMB, LORETTA              NJ - USDC for the District of New Jersey   3:20-cv-04373         JOHNSON BECKER, PLLC
LAMZON, AMELITA            NJ - USDC for the District of New Jersey   3:17-cv-12458         JOHNSON BECKER, PLLC
LANCASTER, ALEXIS          NJ - USDC for the District of New Jersey   3:21-cv-10781         JOHNSON BECKER, PLLC
LANCASTER, HOLLI           NJ - USDC for the District of New Jersey   3:17-cv-11075         JOHNSON BECKER, PLLC
LAWTON, RONNI              NJ - USDC for the District of New Jersey   3:18-cv-11647         JOHNSON BECKER, PLLC
LINCECUM, HELEN            NJ - USDC for the District of New Jersey   3:17-cv-11046         JOHNSON BECKER, PLLC
LOZANO, JANIE              NJ - USDC for the District of New Jersey   3:17-cv-02191         JOHNSON BECKER, PLLC
MAHAN, JERRI               NJ - USDC for the District of New Jersey   3:19-cv-16818         JOHNSON BECKER, PLLC
MANNING, KAREN             NJ - USDC for the District of New Jersey   3:19-cv-16402         JOHNSON BECKER, PLLC
MARTIN, ELISABETH          NJ - USDC for the District of New Jersey   3:17-cv-12465         JOHNSON BECKER, PLLC
MAXWELL, KIMBERLY          NJ - USDC for the District of New Jersey   3:17-cv-02184         JOHNSON BECKER, PLLC
MAXWELL, VICKIE            NJ - USDC for the District of New Jersey   3:18-cv-00558         JOHNSON BECKER, PLLC
MAYKOWSKI, DAWN            NJ - USDC for the District of New Jersey   3:17-cv-11050         JOHNSON BECKER, PLLC
MAZANETZ, BRENDA           NJ - USDC for the District of New Jersey   3:17-cv-12499         JOHNSON BECKER, PLLC
MCCANN, KRIS-ANN           NJ - USDC for the District of New Jersey   3:18-cv-00559         JOHNSON BECKER, PLLC
MCKEE, DEBRA               NJ - USDC for the District of New Jersey   3:19-cv-16881         JOHNSON BECKER, PLLC
MCKIE, DENISE              NJ - USDC for the District of New Jersey   3:18-cv-00554         JOHNSON BECKER, PLLC
MCQUAIN, LIBBY             NJ - USDC for the District of New Jersey   3:17-cv-06616         JOHNSON BECKER, PLLC
MEDLEY, JENNIFER           NJ - USDC for the District of New Jersey   3:18-cv-02543         JOHNSON BECKER, PLLC
MILLER, VERONICA           NJ - USDC for the District of New Jersey   3:21-cv-16449         JOHNSON BECKER, PLLC
MOLER, LANA                NJ - USDC for the District of New Jersey   3:21-cv-05819         JOHNSON BECKER, PLLC
MOMOU, HORTENSE            NJ - USDC for the District of New Jersey   3:18-cv-09899         JOHNSON BECKER, PLLC
MONGE, LORI                NJ - USDC for the District of New Jersey   3:19-cv-21568         JOHNSON BECKER, PLLC
MOORE, NORMA               NJ - USDC for the District of New Jersey   3:18-cv-03432         JOHNSON BECKER, PLLC
MORGAN, INELL              NJ - USDC for the District of New Jersey   3:18-cv-16751         JOHNSON BECKER, PLLC
MUNSON, CHRISTINE          NJ - USDC for the District of New Jersey   3:17-cv-04061         JOHNSON BECKER, PLLC
NELSON, LESLIE             NJ - USDC for the District of New Jersey   3:17-cv-02264         JOHNSON BECKER, PLLC
NOBLE, TRACEY              NJ - USDC for the District of New Jersey   3:17-cv-05331         JOHNSON BECKER, PLLC
NORTON, CATHLEEN           NJ - USDC for the District of New Jersey   3:18-cv-05395         JOHNSON BECKER, PLLC
NOWELL, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-00560         JOHNSON BECKER, PLLC
OCAIN, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-02607         JOHNSON BECKER, PLLC
OCONNOR, KATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-00561         JOHNSON BECKER, PLLC
OCONNOR, MELANIE           NJ - USDC for the District of New Jersey   3:17-cv-06917         JOHNSON BECKER, PLLC
ONUKIAVAGE, MARYANN        NJ - USDC for the District of New Jersey   3:18-cv-16376         JOHNSON BECKER, PLLC
ORR, ANNIE                 NJ - USDC for the District of New Jersey   3:18-cv-16943         JOHNSON BECKER, PLLC
ORTIZ, MELISSA             NJ - USDC for the District of New Jersey   3:17-cv-02606         JOHNSON BECKER, PLLC
PALAFOX, DIANA             NJ - USDC for the District of New Jersey   3:17-cv-03693         JOHNSON BECKER, PLLC
PARRIOTT, JAIME            NJ - USDC for the District of New Jersey   3:21-cv-10779         JOHNSON BECKER, PLLC
PERKINS, LADAWN            NJ - USDC for the District of New Jersey   3:17-cv-11065         JOHNSON BECKER, PLLC
PERRY, SUZANNE             NJ - USDC for the District of New Jersey   3:17-cv-12513         JOHNSON BECKER, PLLC
PETERS, KIM                NJ - USDC for the District of New Jersey   3:17-cv-12480         JOHNSON BECKER, PLLC
PIERCE, SONDRA             NJ - USDC for the District of New Jersey   3:18-cv-02259         JOHNSON BECKER, PLLC
POWERS, IRENE              NJ - USDC for the District of New Jersey   3:19-cv-12498         JOHNSON BECKER, PLLC
PRASIL, THERESA            NJ - USDC for the District of New Jersey   3:18-cv-00562         JOHNSON BECKER, PLLC
PRAWOTO, JUNI              NJ - USDC for the District of New Jersey   3:18-cv-08094         JOHNSON BECKER, PLLC
PRINCE, ANTIONETTE         NJ - USDC for the District of New Jersey   3:18-cv-00563         JOHNSON BECKER, PLLC
RAINEY, ADRIANA            NJ - USDC for the District of New Jersey   3:17-cv-03084         JOHNSON BECKER, PLLC
RAMBO, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-00564         JOHNSON BECKER, PLLC
RANSOM, SHEILA             NJ - USDC for the District of New Jersey   3:17-cv-12450         JOHNSON BECKER, PLLC
READE, VICTORIA            NJ - USDC for the District of New Jersey   3:17-cv-02265         JOHNSON BECKER, PLLC
REED, DENA                 NJ - USDC for the District of New Jersey   3:20-cv-17473         JOHNSON BECKER, PLLC
REED, TERRI                NJ - USDC for the District of New Jersey   3:18-cv-16285         JOHNSON BECKER, PLLC
RISNER, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-13478         JOHNSON BECKER, PLLC
ROBALLO, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-16764         JOHNSON BECKER, PLLC
ROMERO, EVELYN             NJ - USDC for the District of New Jersey   3:18-cv-00565         JOHNSON BECKER, PLLC
SAMBO, CAROL               NJ - USDC for the District of New Jersey   3:18-cv-15323         JOHNSON BECKER, PLLC
SANCHEZ, AMANDA            NJ - USDC for the District of New Jersey   3:17-cv-05329         JOHNSON BECKER, PLLC
SAUVE, APRIL               NJ - USDC for the District of New Jersey   3:17-cv-12515         JOHNSON BECKER, PLLC
SAVAGE, LAUREN             NJ - USDC for the District of New Jersey   3:18-cv-00566         JOHNSON BECKER, PLLC
SCALES, CRYSTAL            NJ - USDC for the District of New Jersey   3:20-cv-09411         JOHNSON BECKER, PLLC
SCHLEEF, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-03423         JOHNSON BECKER, PLLC
SCOTT, KISHA               NJ - USDC for the District of New Jersey   3:17-cv-06916         JOHNSON BECKER, PLLC
SILVA, KAMALA              CA - Superior Court - Los Angeles County   BC635962              JOHNSON BECKER, PLLC
SILVA, KAMALA              NJ - USDC for the District of New Jersey   3:17-cv-12449         JOHNSON BECKER, PLLC
SIMON, PEGGY               NJ - USDC for the District of New Jersey   3:18-cv-00555         JOHNSON BECKER, PLLC
SLOCUM, JOYCE              NJ - USDC for the District of New Jersey   3:18-cv-08096         JOHNSON BECKER, PLLC
STEVENS, JEAN              NJ - USDC for the District of New Jersey   3:17-cv-11077         JOHNSON BECKER, PLLC
STICK, KATHLEEN            NJ - USDC for the District of New Jersey   3:18-cv-02251         JOHNSON BECKER, PLLC
STIPE, EARLENE             NJ - USDC for the District of New Jersey   3:18-cv-16447         JOHNSON BECKER, PLLC
STUCHENKO-SPARKS, JO-ANN   NJ - USDC for the District of New Jersey   3:17-cv-06919         JOHNSON BECKER, PLLC
SULLIVAN, LORETTA          NJ - USDC for the District of New Jersey   3:18-cv-00568         JOHNSON BECKER, PLLC
SWEET, PENNY               NJ - USDC for the District of New Jersey   3:17-cv-11052         JOHNSON BECKER, PLLC
TAYLOR, DENISE             NJ - USDC for the District of New Jersey   3:18-cv-02314         JOHNSON BECKER, PLLC
TAYLOR, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-05759         JOHNSON BECKER, PLLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
THOMAS, JEANNE            NJ - USDC for the District of New Jersey   3:19-cv-20095         JOHNSON BECKER, PLLC
THOMAS, KATELAN           NJ - USDC for the District of New Jersey   3:21-cv-00304         JOHNSON BECKER, PLLC
THOMPSON, TAMMY           NJ - USDC for the District of New Jersey   3:18-cv-02542         JOHNSON BECKER, PLLC
THORESON, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-12451         JOHNSON BECKER, PLLC
TIPPETT, CHRISTY          NJ - USDC for the District of New Jersey   3:19-cv-20417         JOHNSON BECKER, PLLC
TOMASI, AMY               NJ - USDC for the District of New Jersey   3:18-cv-00569         JOHNSON BECKER, PLLC
TREMBLAY, JANE            NJ - USDC for the District of New Jersey   3:18-cv-00570         JOHNSON BECKER, PLLC
TYREE, CHERYL             NJ - USDC for the District of New Jersey   3:17-cv-02608         JOHNSON BECKER, PLLC
ULLOA, MADRIGAL           NJ - USDC for the District of New Jersey   3:18-cv-00571         JOHNSON BECKER, PLLC
VALLEJO, CANDACE          NJ - USDC for the District of New Jersey   3:19-cv-07609         JOHNSON BECKER, PLLC
VAN DERVORT, SHARYN       NJ - USDC for the District of New Jersey   3:17-cv-03085         JOHNSON BECKER, PLLC
VANDENBROEKE, ASHLEY      NJ - USDC for the District of New Jersey   3:18-cv-00572         JOHNSON BECKER, PLLC
VICARI, CARRIE            NJ - USDC for the District of New Jersey   3:18-cv-02247         JOHNSON BECKER, PLLC
VILLA, ANA                NJ - USDC for the District of New Jersey   3:20-cv-00505         JOHNSON BECKER, PLLC
VOLK, MARY                NJ - USDC for the District of New Jersey   3:17-cv-11056         JOHNSON BECKER, PLLC
WAGONER, CONSTANCE        NJ - USDC for the District of New Jersey   3:19-cv-00929         JOHNSON BECKER, PLLC
WALKER, BELINDA           NJ - USDC for the District of New Jersey   3:18-cv-02254         JOHNSON BECKER, PLLC
WALKER, LESLEY            NJ - USDC for the District of New Jersey   3:19-cv-21436         JOHNSON BECKER, PLLC
WALLACE, SHELDA           NJ - USDC for the District of New Jersey   3:17-cv-03086         JOHNSON BECKER, PLLC
WARREN, OCTAVIA           NJ - USDC for the District of New Jersey   3:20-cv-17563         JOHNSON BECKER, PLLC
WARREN, TARA              NJ - USDC for the District of New Jersey   3:18-cv-02541         JOHNSON BECKER, PLLC
WASHINGTON, GAIL          NJ - USDC for the District of New Jersey   3:18-cv-02253         JOHNSON BECKER, PLLC
WEEKS, MALUDI             NJ - USDC for the District of New Jersey   3:17-cv-11058         JOHNSON BECKER, PLLC
WEST, MYRA                NJ - USDC for the District of New Jersey   3:17-cv-02604         JOHNSON BECKER, PLLC
WEYANT, DOROTHY           NJ - USDC for the District of New Jersey   3:21-cv-17084         JOHNSON BECKER, PLLC
WEYER, SARAH              NJ - USDC for the District of New Jersey   3:19-cv-16876         JOHNSON BECKER, PLLC
WHITE, CONNIE             NJ - USDC for the District of New Jersey   3:18-cv-00573         JOHNSON BECKER, PLLC
WHITE, THERESA            NJ - USDC for the District of New Jersey   3:18-cv-14823         JOHNSON BECKER, PLLC
WHITFILED, ELLEN          NJ - USDC for the District of New Jersey   3:18-cv-02252         JOHNSON BECKER, PLLC
WILLIAMS, TAMEITHA        NJ - USDC for the District of New Jersey   3:21-cv-01864         JOHNSON BECKER, PLLC
YARBOROUGH, JO            NJ - USDC for the District of New Jersey   3:21-cv-12939         JOHNSON BECKER, PLLC
YOUNG, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-00556         JOHNSON BECKER, PLLC
ABEDI-SAGHERIAN, RIMA     NJ - USDC for the District of New Jersey   3:21-cv-18152         JOHNSON LAW GROUP
ABEYTA, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-09042         JOHNSON LAW GROUP
ADAIR, KATHLEEN           NJ - USDC for the District of New Jersey   3:20-cv-14565         JOHNSON LAW GROUP
ADKINS, BERNADINE         NJ - USDC for the District of New Jersey   3:18-cv-02366         JOHNSON LAW GROUP
ADORNO, JASMINE           NJ - USDC for the District of New Jersey   3:21-cv-12958         JOHNSON LAW GROUP
AGUIRRE, STARLENE         NJ - USDC for the District of New Jersey   3:18-cv-01886         JOHNSON LAW GROUP
AHRENS-TRAMS, DAWN        NJ - USDC for the District of New Jersey   3:19-cv-05645         JOHNSON LAW GROUP
AKEMANN, KARLA            NJ - USDC for the District of New Jersey   3:18-cv-02169         JOHNSON LAW GROUP
ALABA, JANE               NJ - USDC for the District of New Jersey   3:21-cv-16690         JOHNSON LAW GROUP
ALEX, VERA                NJ - USDC for the District of New Jersey   3:18-cv-01479         JOHNSON LAW GROUP
ALLEN, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-06861         JOHNSON LAW GROUP
ALLEN, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-16995         JOHNSON LAW GROUP
ALLISON, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-09034         JOHNSON LAW GROUP
AL-NURRIDIN, FATIMAH      NJ - USDC for the District of New Jersey   3:18-cv-01353         JOHNSON LAW GROUP
AMATO, FELICIA            NJ - USDC for the District of New Jersey   3:20-cv-03343         JOHNSON LAW GROUP
AMENGUAL, CARMEN          NJ - USDC for the District of New Jersey   3:21-cv-06852         JOHNSON LAW GROUP
AMOS, JACQUELINE          NJ - USDC for the District of New Jersey   3:21-cv-16514         JOHNSON LAW GROUP
ANDERSON, DEBRA           NJ - USDC for the District of New Jersey   3:20-cv-02733         JOHNSON LAW GROUP
ANDERSON, JANE            NJ - USDC for the District of New Jersey   3:21-cv-16910         JOHNSON LAW GROUP
ANGELO, GINA              NJ - USDC for the District of New Jersey   3:21-cv-02434         JOHNSON LAW GROUP
ANGUIANO, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-18218         JOHNSON LAW GROUP
ANNIE WILSON              NJ - USDC for the District of New Jersey   3:21-cv-18402         JOHNSON LAW GROUP
ANTOLOWITZ, ANNETTE       NJ - USDC for the District of New Jersey   3:19-cv-02373         JOHNSON LAW GROUP
APPEL, ELLEN              NJ - USDC for the District of New Jersey   3:21-cv-18215         JOHNSON LAW GROUP
AQUIO, MICHEL             NJ - USDC for the District of New Jersey   3:19-cv-11725         JOHNSON LAW GROUP
ARAMBULA, BRENDA          NJ - USDC for the District of New Jersey   3:20-cv-10405         JOHNSON LAW GROUP
ARBUTHNOT, DONNA          NJ - USDC for the District of New Jersey   3:19-cv-02201         JOHNSON LAW GROUP
ARENDT, SHERRIE           NJ - USDC for the District of New Jersey   3:21-cv-17850         JOHNSON LAW GROUP
ARGENT, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-00951         JOHNSON LAW GROUP
ARINOLDO, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-15702         JOHNSON LAW GROUP
ARNOLD, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-03128         JOHNSON LAW GROUP
ARRINGTON, MISTY          NJ - USDC for the District of New Jersey   3:20-cv-15626         JOHNSON LAW GROUP
ARROWOOD, JOHNNA          NJ - USDC for the District of New Jersey   3:20-cv-17406         JOHNSON LAW GROUP
ASHBROOK, JLENDA          NJ - USDC for the District of New Jersey   3:21-cv-13592         JOHNSON LAW GROUP
ASTUDILLO, JOAN           NJ - USDC for the District of New Jersey   3:17-cv-10920         JOHNSON LAW GROUP
ATEN, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-17436         JOHNSON LAW GROUP
ATKINSON, MINNIE          NJ - USDC for the District of New Jersey   3:21-cv-01854         JOHNSON LAW GROUP
ATLEY, MELANIE            NJ - USDC for the District of New Jersey   3:18-cv-02421         JOHNSON LAW GROUP
AURICK, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-17176         JOHNSON LAW GROUP
AUSTIN, WILMA             NJ - USDC for the District of New Jersey   3:21-cv-00693         JOHNSON LAW GROUP
AVERY, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-05397         JOHNSON LAW GROUP
AVILA, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-09039         JOHNSON LAW GROUP
AYALA, VANNESA            NJ - USDC for the District of New Jersey   3:21-cv-07300         JOHNSON LAW GROUP
AYON, YVONNE              NJ - USDC for the District of New Jersey   3:20-cv-00585         JOHNSON LAW GROUP
BABB, KELLY               NJ - USDC for the District of New Jersey   3:20-cv-03633         JOHNSON LAW GROUP
BACA, MARGARET            NJ - USDC for the District of New Jersey   3:21-cv-17513         JOHNSON LAW GROUP
BAILEY, MICHELLE          NJ - USDC for the District of New Jersey   3:18-cv-02417         JOHNSON LAW GROUP
BAKER, DARLENE            NJ - USDC for the District of New Jersey   3:21-cv-13793         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BAKKEN, JANIECE           NJ - USDC for the District of New Jersey   3:21-cv-14673         JOHNSON LAW GROUP
BALENTINA, RHONDA         NJ - USDC for the District of New Jersey   3:20-cv-05572         JOHNSON LAW GROUP
BALKUM, IRENE             NJ - USDC for the District of New Jersey   3:21-cv-18206         JOHNSON LAW GROUP
BALMFORTH, KATHLEEN       NJ - USDC for the District of New Jersey   3:20-cv-06908         JOHNSON LAW GROUP
BANKS, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-15787         JOHNSON LAW GROUP
BANKS-HARRIS, BEULAH      NJ - USDC for the District of New Jersey   3:17-cv-04838         JOHNSON LAW GROUP
BAPTISTE, MARGARET        NJ - USDC for the District of New Jersey   3:18-cv-02048         JOHNSON LAW GROUP
BARAN, VICKI              NJ - USDC for the District of New Jersey   3:18-cv-01517         JOHNSON LAW GROUP
BARATH, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-12616         JOHNSON LAW GROUP
BARCLAY, VIRGINIA         NJ - USDC for the District of New Jersey   3:21-cv-02084         JOHNSON LAW GROUP
BARGE, KATHLEEN           NJ - USDC for the District of New Jersey   3:20-cv-09967         JOHNSON LAW GROUP
BARKLEY, CHARLOTTE        NJ - USDC for the District of New Jersey   3:21-cv-17704         JOHNSON LAW GROUP
BARRESI, CHERYL           NJ - USDC for the District of New Jersey   3:19-cv-19383         JOHNSON LAW GROUP
BARTH, SUZANNE            NJ - USDC for the District of New Jersey   3:21-cv-16014         JOHNSON LAW GROUP
BARTON, AMY               NJ - USDC for the District of New Jersey   3:20-cv-15624         JOHNSON LAW GROUP
BARTOWICK, KRISTINA       NJ - USDC for the District of New Jersey   3:21-cv-01761         JOHNSON LAW GROUP
BATES, DUANN              NJ - USDC for the District of New Jersey   3:21-cv-01132         JOHNSON LAW GROUP
BATES, PAULINE            NJ - USDC for the District of New Jersey   3:20-cv-18116         JOHNSON LAW GROUP
BEAN, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-02250         JOHNSON LAW GROUP
BEAVER, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-16983         JOHNSON LAW GROUP
BECICKA, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-16389         JOHNSON LAW GROUP
BECK, SHANNON             NJ - USDC for the District of New Jersey   3:18-cv-02394         JOHNSON LAW GROUP
BEDFORD, SAUNDRA          NJ - USDC for the District of New Jersey   3:18-cv-01737         JOHNSON LAW GROUP
BEEGLE, CATHY             NJ - USDC for the District of New Jersey   3:18-cv-01329         JOHNSON LAW GROUP
BELLO, LOUISE             NJ - USDC for the District of New Jersey   3:21-cv-13988         JOHNSON LAW GROUP
BENAC, DOINA              NJ - USDC for the District of New Jersey   3:20-cv-01478         JOHNSON LAW GROUP
BENITEZ, MARIA LIRA       NJ - USDC for the District of New Jersey   3:21-cv-12904         JOHNSON LAW GROUP
BENJAMIN, DANA            NJ - USDC for the District of New Jersey   3:18-cv-02231         JOHNSON LAW GROUP
BENNETT, YVONNE           NJ - USDC for the District of New Jersey   3:21-cv-17122         JOHNSON LAW GROUP
BENTLEY, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-07331         JOHNSON LAW GROUP
BENUSA, ANN               NJ - USDC for the District of New Jersey   3:20-cv-05441         JOHNSON LAW GROUP
BERGER, KERRI             NJ - USDC for the District of New Jersey   3:18-cv-01946         JOHNSON LAW GROUP
BERNARD, JILL             NJ - USDC for the District of New Jersey   3:20-cv-01982         JOHNSON LAW GROUP
BERRY, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-14632         JOHNSON LAW GROUP
BERRY, MICHELE            NJ - USDC for the District of New Jersey   3:20-cv-14351         JOHNSON LAW GROUP
BETANCOURT, ANA           NJ - USDC for the District of New Jersey   3:19-cv-18506         JOHNSON LAW GROUP
BEVER, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-09863         JOHNSON LAW GROUP
BIANCHI, JOY              NJ - USDC for the District of New Jersey   3:21-cv-10699         JOHNSON LAW GROUP
BILLIOT, MICHELLE         NJ - USDC for the District of New Jersey   3:21-cv-06522         JOHNSON LAW GROUP
BISHOP, JANE              NJ - USDC for the District of New Jersey   3:21-cv-01753         JOHNSON LAW GROUP
BJELAN, DESA              NJ - USDC for the District of New Jersey   3:19-cv-05946         JOHNSON LAW GROUP
BLAKE, CAREY              NJ - USDC for the District of New Jersey   3:21-cv-05590         JOHNSON LAW GROUP
BLAKE, ELDA               NJ - USDC for the District of New Jersey   3:21-cv-16878         JOHNSON LAW GROUP
BLANCHETTE, BRENDA        NJ - USDC for the District of New Jersey   3:21-cv-01860         JOHNSON LAW GROUP
BLANCO, CRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-15851         JOHNSON LAW GROUP
BLAPPERT, CARON           NJ - USDC for the District of New Jersey   3:21-cv-05560         JOHNSON LAW GROUP
BLASKA, ASHLEY            NJ - USDC for the District of New Jersey   3:19-cv-02391         JOHNSON LAW GROUP
BLEUER, BETSY             NJ - USDC for the District of New Jersey   3:21-cv-13791         JOHNSON LAW GROUP
BLOCK, SYLVIA             NJ - USDC for the District of New Jersey   3:21-cv-17065         JOHNSON LAW GROUP
BLOCTON, JOMATIA          NJ - USDC for the District of New Jersey   3:21-cv-07612         JOHNSON LAW GROUP
BOBB, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-01901         JOHNSON LAW GROUP
BOESE, SANDY              NJ - USDC for the District of New Jersey   3:21-cv-01306         JOHNSON LAW GROUP
BOIE, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-02381         JOHNSON LAW GROUP
BOLIN, BILLIE             NJ - USDC for the District of New Jersey   3:21-cv-00893         JOHNSON LAW GROUP
BOOTH, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-14129         JOHNSON LAW GROUP
BOOTH, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-01192         JOHNSON LAW GROUP
BOOTH, LYNNE              NJ - USDC for the District of New Jersey   3:21-cv-06756         JOHNSON LAW GROUP
BORCHERT, JOANNE          NJ - USDC for the District of New Jersey   3:20-cv-05563         JOHNSON LAW GROUP
BOSTWICK, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-13713         JOHNSON LAW GROUP
BOTHWELL, CRYSTAL         NJ - USDC for the District of New Jersey   3:18-cv-02158         JOHNSON LAW GROUP
BOUND, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-13719         JOHNSON LAW GROUP
BOUTCHER, ELIZABETH       NJ - USDC for the District of New Jersey   3:18-cv-01473         JOHNSON LAW GROUP
BOUVIA, STEPHANIE         NJ - USDC for the District of New Jersey   3:18-cv-17687         JOHNSON LAW GROUP
BOVA, JOYCE               NJ - USDC for the District of New Jersey   3:19-cv-05621         JOHNSON LAW GROUP
BOWDEN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-01625         JOHNSON LAW GROUP
BOWMAN, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-13345         JOHNSON LAW GROUP
BOWNE, ROBERTA            NJ - USDC for the District of New Jersey   3:20-cv-01790         JOHNSON LAW GROUP
BOWYER, LOUISE            NJ - USDC for the District of New Jersey   3:21-cv-16119         JOHNSON LAW GROUP
BOYD, SYRIL               NJ - USDC for the District of New Jersey   3:21-cv-07307         JOHNSON LAW GROUP
BOYER, LISA               NJ - USDC for the District of New Jersey   3:21-cv-04087         JOHNSON LAW GROUP
BOYETTE, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-21612         JOHNSON LAW GROUP
BOZICH, JOSEPHINE         NJ - USDC for the District of New Jersey   3:21-cv-18163         JOHNSON LAW GROUP
BRAAK, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-01483         JOHNSON LAW GROUP
BRADBURY, EVELYNE         NJ - USDC for the District of New Jersey   3:19-cv-18469         JOHNSON LAW GROUP
BRADDOCK, ETHEL           NJ - USDC for the District of New Jersey   3:21-cv-07139         JOHNSON LAW GROUP
BRADEN, SUZANNE           NJ - USDC for the District of New Jersey   3:21-cv-09904         JOHNSON LAW GROUP
BRADLEY, CATHERINE        NJ - USDC for the District of New Jersey   3:20-cv-10395         JOHNSON LAW GROUP
BRADY, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-02977         JOHNSON LAW GROUP
BRANDT-NAAB, DORREEN      NJ - USDC for the District of New Jersey   3:21-cv-16456         JOHNSON LAW GROUP
BRANNON, VERONICA         NJ - USDC for the District of New Jersey   3:21-cv-17188         JOHNSON LAW GROUP




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
BRAZIL, LOUISEANN          NJ - USDC for the District of New Jersey   3:21-cv-16459         JOHNSON LAW GROUP
BREDEWEG-DEJAGER, SIMIE    NJ - USDC for the District of New Jersey   3:21-cv-07620         JOHNSON LAW GROUP
BREMSETH, CORA             NJ - USDC for the District of New Jersey   3:21-cv-16840         JOHNSON LAW GROUP
BRIDGET BEAUDET            NJ - USDC for the District of New Jersey   3:21-cv-18397         JOHNSON LAW GROUP
BRILEY, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-06181         JOHNSON LAW GROUP
BRIZZOLARA, SONYA          NJ - USDC for the District of New Jersey   3:21-cv-08776         JOHNSON LAW GROUP
BROADWAY, TARA             NJ - USDC for the District of New Jersey   3:19-cv-13966         JOHNSON LAW GROUP
BROCATO, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-13276         JOHNSON LAW GROUP
BRONIEC, DIANA             NJ - USDC for the District of New Jersey   3:19-cv-19016         JOHNSON LAW GROUP
BROOKS, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-06572         JOHNSON LAW GROUP
BROOKS, JANET              NJ - USDC for the District of New Jersey   3:21-cv-16745         JOHNSON LAW GROUP
BROOKS, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-14393         JOHNSON LAW GROUP
BROOKS, VIRGINIA           NJ - USDC for the District of New Jersey   3:18-cv-10880         JOHNSON LAW GROUP
BROOKS-HILLIARD, KANDY     NJ - USDC for the District of New Jersey   3:17-cv-11737         JOHNSON LAW GROUP
BROWN, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-01277         JOHNSON LAW GROUP
BROWN, SALLY               NJ - USDC for the District of New Jersey   3:21-cv-17089         JOHNSON LAW GROUP
BROWN, SALLY               NJ - USDC for the District of New Jersey   3:20-cv-05573         JOHNSON LAW GROUP
BRUNETTE, JANIE            NJ - USDC for the District of New Jersey   3:21-cv-01280         JOHNSON LAW GROUP
BRUSETH, MADGE             NJ - USDC for the District of New Jersey   3:20-cv-01854         JOHNSON LAW GROUP
BRYANT, JULIE              NJ - USDC for the District of New Jersey   3:18-cv-02352         JOHNSON LAW GROUP
BRYSON, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-02468         JOHNSON LAW GROUP
BUCHANAN, EVON             NJ - USDC for the District of New Jersey   3:21-cv-07546         JOHNSON LAW GROUP
BUCHANAN, KELLY            NJ - USDC for the District of New Jersey   3:21-cv-18087         JOHNSON LAW GROUP
BUCK, TRACEY               NJ - USDC for the District of New Jersey   3:21-cv-18198         JOHNSON LAW GROUP
BUGLIONE, CHRISTINE        NJ - USDC for the District of New Jersey   3:20-cv-15524         JOHNSON LAW GROUP
BUJEIRO, ELISABEL          NJ - USDC for the District of New Jersey   3:20-cv-01878         JOHNSON LAW GROUP
BUNTEN, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-13924         JOHNSON LAW GROUP
BURGESS, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-04722         JOHNSON LAW GROUP
BURGESS, KAY               NJ - USDC for the District of New Jersey   3:21-cv-13917         JOHNSON LAW GROUP
BURGOS, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-05703         JOHNSON LAW GROUP
BURK, GERALDINE            NJ - USDC for the District of New Jersey   3:21-cv-16166         JOHNSON LAW GROUP
BURKE, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-17836         JOHNSON LAW GROUP
BURKE, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-13186         JOHNSON LAW GROUP
BURNETT, LISA              NJ - USDC for the District of New Jersey   3:21-cv-16833         JOHNSON LAW GROUP
BURNS, REBECCA             NJ - USDC for the District of New Jersey   3:21-cv-17929         JOHNSON LAW GROUP
BUSH, JULIE                NJ - USDC for the District of New Jersey   3:19-cv-18413         JOHNSON LAW GROUP
BUTLER, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-14625         JOHNSON LAW GROUP
BUTLER-SISNROY, MARY       NJ - USDC for the District of New Jersey   3:18-cv-02325         JOHNSON LAW GROUP
BUZZELLI, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-15864         JOHNSON LAW GROUP
BYERLEY, TINA              NJ - USDC for the District of New Jersey   3:21-cv-03866         JOHNSON LAW GROUP
BYRNE, KIMBERLEE           NJ - USDC for the District of New Jersey   3:18-cv-01710         JOHNSON LAW GROUP
CADE, DEBBIE               NJ - USDC for the District of New Jersey   3:21-cv-17094         JOHNSON LAW GROUP
CAFFEE, JUDY               NJ - USDC for the District of New Jersey   3:19-cv-00182         JOHNSON LAW GROUP
CAGG, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-01208         JOHNSON LAW GROUP
CALABRESE, KATHLEEN        NJ - USDC for the District of New Jersey   3:20-cv-18605         JOHNSON LAW GROUP
CALDERON, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-00745         JOHNSON LAW GROUP
CALLOWAY, ALIEEN           NJ - USDC for the District of New Jersey   3:20-cv-02781         JOHNSON LAW GROUP
CAMPBELL, ELLEN            NJ - USDC for the District of New Jersey   3:19-cv-02416         JOHNSON LAW GROUP
CAMPI, ERIN                NJ - USDC for the District of New Jersey   3:18-cv-01487         JOHNSON LAW GROUP
CAMPISI, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-15578         JOHNSON LAW GROUP
CANDIELLO, ROSE            NJ - USDC for the District of New Jersey   3:21-cv-13429         JOHNSON LAW GROUP
CANTERINO, DOMENICA        NJ - USDC for the District of New Jersey   3:21-cv-13032         JOHNSON LAW GROUP
CANTU, FRANCIS             NJ - USDC for the District of New Jersey   3:21-cv-00723         JOHNSON LAW GROUP
CAPEK, CLAUDIA             NJ - USDC for the District of New Jersey   3:21-cv-12957         JOHNSON LAW GROUP
CARLSON, CHRISTY           NJ - USDC for the District of New Jersey   3:18-cv-02176         JOHNSON LAW GROUP
CARMONA, RACHEL            NJ - USDC for the District of New Jersey   3:19-cv-05962         JOHNSON LAW GROUP
CARNELL, MARYANNE          NJ - USDC for the District of New Jersey   3:17-cv-12823         JOHNSON LAW GROUP
CARO, LISA                 NJ - USDC for the District of New Jersey   3:19-cv-19367         JOHNSON LAW GROUP
CARPENTER, VICKY           NJ - USDC for the District of New Jersey   3:18-cv-01516         JOHNSON LAW GROUP
CARPINTERO, RUBY           NJ - USDC for the District of New Jersey   3:20-cv-01795         JOHNSON LAW GROUP
CARRILLO, STACY            NJ - USDC for the District of New Jersey   3:21-cv-16392         JOHNSON LAW GROUP
CARROLL, MYRTLE            NJ - USDC for the District of New Jersey   3:21-cv-08769         JOHNSON LAW GROUP
CARSON, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-15460         JOHNSON LAW GROUP
CARTER, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-05187         JOHNSON LAW GROUP
CARTER, LISA               NJ - USDC for the District of New Jersey   3:19-cv-02087         JOHNSON LAW GROUP
CARUSO, ANN                NJ - Superior Court - Atlantic County      ATL-L-000944-21       JOHNSON LAW GROUP
CARVER, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-16116         JOHNSON LAW GROUP
CARYL, KIMBERLY            NJ - USDC for the District of New Jersey   3:20-cv-01875         JOHNSON LAW GROUP
CASKEY-SCHREIBER, LAURA    NJ - USDC for the District of New Jersey   3:19-cv-02316         JOHNSON LAW GROUP
CASSELMAN-KENDALL, NANCY   NJ - USDC for the District of New Jersey   3:18-cv-01730         JOHNSON LAW GROUP
CATOE, MARGARET            NJ - USDC for the District of New Jersey   3:21-cv-18100         JOHNSON LAW GROUP
CAUSEY, JOANN              NJ - USDC for the District of New Jersey   3:20-cv-15485         JOHNSON LAW GROUP
CAVANAUGH, TERESA          NJ - USDC for the District of New Jersey   3:21-cv-02196         JOHNSON LAW GROUP
CELI, FRANCES              NJ - USDC for the District of New Jersey   3:19-cv-19516         JOHNSON LAW GROUP
CHACON, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-02035         JOHNSON LAW GROUP
CHAIREZ, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-17412         JOHNSON LAW GROUP
CHALIFOUR, BRENDA          NJ - USDC for the District of New Jersey   3:20-cv-01798         JOHNSON LAW GROUP
CHAPA, JOANNA              NJ - USDC for the District of New Jersey   3:20-cv-06866         JOHNSON LAW GROUP
CHAPMAN, JUNE              NJ - USDC for the District of New Jersey   3:17-cv-03362         JOHNSON LAW GROUP
CHASTEEN, SARAH            NJ - USDC for the District of New Jersey   3:19-cv-12558         JOHNSON LAW GROUP




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
CHATMAN, DAVIDA             NJ - USDC for the District of New Jersey   3:20-cv-14368         JOHNSON LAW GROUP
CHECKAN, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-15528         JOHNSON LAW GROUP
CHILDRESS, GINNIE           NJ - USDC for the District of New Jersey   3:17-cv-11323         JOHNSON LAW GROUP
CHILDRESS, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-13279         JOHNSON LAW GROUP
CHIUMIENTO, MARIA           NJ - USDC for the District of New Jersey   3:20-cv-15628         JOHNSON LAW GROUP
CHRISTI, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-18992         JOHNSON LAW GROUP
CHRISTIANSEN, CHRISTI       NJ - USDC for the District of New Jersey   3:20-cv-18761         JOHNSON LAW GROUP
CHRISTY, KIMBERLEY          NJ - USDC for the District of New Jersey   3:21-cv-13188         JOHNSON LAW GROUP
CHURCH, SHIRLEY             NJ - USDC for the District of New Jersey   3:20-cv-14371         JOHNSON LAW GROUP
CIAMPOLI, MARY              NJ - USDC for the District of New Jersey   3:19-cv-02067         JOHNSON LAW GROUP
CLARK, DENISE               NJ - USDC for the District of New Jersey   3:21-cv-16845         JOHNSON LAW GROUP
CLARK, JUNE                 NJ - USDC for the District of New Jersey   3:21-cv-13838         JOHNSON LAW GROUP
CLARK, MARIE                NJ - USDC for the District of New Jersey   3:17-cv-11320         JOHNSON LAW GROUP
CLARK, MARTHA               NJ - USDC for the District of New Jersey   3:20-cv-18127         JOHNSON LAW GROUP
CLARK, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-02177         JOHNSON LAW GROUP
CLARK, WENDY                NJ - USDC for the District of New Jersey   3:21-cv-01717         JOHNSON LAW GROUP
CLARSON, GENA               NJ - USDC for the District of New Jersey   3:19-cv-01248         JOHNSON LAW GROUP
CLEMENS, LORETTA            NJ - USDC for the District of New Jersey   3:18-cv-02324         JOHNSON LAW GROUP
CLEMONS, KERRI              NJ - USDC for the District of New Jersey   3:21-cv-13532         JOHNSON LAW GROUP
CLINE, PENELOPE             NJ - USDC for the District of New Jersey   3:21-cv-14056         JOHNSON LAW GROUP
COBB, CINDY                 NJ - USDC for the District of New Jersey   3:17-cv-02349         JOHNSON LAW GROUP
COGORNO, PIA                NJ - USDC for the District of New Jersey   3:21-cv-02162         JOHNSON LAW GROUP
COLBERT, MARY               NJ - USDC for the District of New Jersey   3:21-cv-15054         JOHNSON LAW GROUP
COLE, FREEDA                NJ - USDC for the District of New Jersey   3:21-cv-03009         JOHNSON LAW GROUP
COLE, LOLITA                NJ - USDC for the District of New Jersey   3:21-cv-13127         JOHNSON LAW GROUP
COLE, TONIA                 NJ - USDC for the District of New Jersey   3:18-cv-02350         JOHNSON LAW GROUP
COLEMAN, RHONDA             NJ - USDC for the District of New Jersey   3:18-cv-16292         JOHNSON LAW GROUP
COLLINS, CLARA              NJ - USDC for the District of New Jersey   3:21-cv-00943         JOHNSON LAW GROUP
COLLINS, EULA               NJ - USDC for the District of New Jersey   3:21-cv-15208         JOHNSON LAW GROUP
COLLINS, LORI               NJ - USDC for the District of New Jersey   3:18-cv-01342         JOHNSON LAW GROUP
COLLINS, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-18678         JOHNSON LAW GROUP
COLLINS, SHEILA             NJ - USDC for the District of New Jersey   3:18-cv-10594         JOHNSON LAW GROUP
COLSON, LESA                NJ - USDC for the District of New Jersey   3:21-cv-06304         JOHNSON LAW GROUP
COMPTON, VERNESSA           NJ - USDC for the District of New Jersey   3:20-cv-01804         JOHNSON LAW GROUP
CONLEY, DEBBIE              NJ - USDC for the District of New Jersey   3:20-cv-10430         JOHNSON LAW GROUP
CONLEY, MANDY               NJ - USDC for the District of New Jersey   3:17-cv-11736         JOHNSON LAW GROUP
CONROW, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-12999         JOHNSON LAW GROUP
CONYERS, ANGELA             NJ - USDC for the District of New Jersey   3:18-cv-09522         JOHNSON LAW GROUP
COOK, HALEY                 NJ - USDC for the District of New Jersey   3:21-cv-01206         JOHNSON LAW GROUP
COOK, MARIA                 NJ - USDC for the District of New Jersey   3:17-cv-06202         JOHNSON LAW GROUP
COOPER-MCNULTY, CYNTHIA     NJ - USDC for the District of New Jersey   3:17-cv-03751         JOHNSON LAW GROUP
COPELAND, DOROTHY           NJ - USDC for the District of New Jersey   3:21-cv-05235         JOHNSON LAW GROUP
COPPENGER, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-02294         JOHNSON LAW GROUP
CORLESS, LEIGH              NJ - USDC for the District of New Jersey   3:19-cv-19282         JOHNSON LAW GROUP
CORNELIUS, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-13591         JOHNSON LAW GROUP
CORNINE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-02281         JOHNSON LAW GROUP
CORRAL, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-02019         JOHNSON LAW GROUP
CORRIGAN, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-17698         JOHNSON LAW GROUP
CORTEZ, LILLIANA            NJ - USDC for the District of New Jersey   3:21-cv-16306         JOHNSON LAW GROUP
COSGROVE, LISA              NJ - USDC for the District of New Jersey   3:21-cv-18148         JOHNSON LAW GROUP
COSTELLO, TRINA             NJ - USDC for the District of New Jersey   3:21-cv-14593         JOHNSON LAW GROUP
COUGHLIN, SHERRI            NJ - USDC for the District of New Jersey   3:18-cv-01331         JOHNSON LAW GROUP
COUSETTE, MARY              NJ - USDC for the District of New Jersey   3:21-cv-01758         JOHNSON LAW GROUP
CRANE, JOYCELYN             NJ - USDC for the District of New Jersey   3:21-cv-12824         JOHNSON LAW GROUP
CRAVEN, MARGARET            NJ - USDC for the District of New Jersey   3:18-cv-01481         JOHNSON LAW GROUP
CREDLE, CARMELA             NJ - USDC for the District of New Jersey   3:21-cv-06354         JOHNSON LAW GROUP
CREED, LORI                 NJ - USDC for the District of New Jersey   3:18-cv-02075         JOHNSON LAW GROUP
CRIBB, CYNTHIA              NJ - USDC for the District of New Jersey   3:21-cv-14170         JOHNSON LAW GROUP
CRIBB, LISA                 NJ - USDC for the District of New Jersey   3:19-cv-05963         JOHNSON LAW GROUP
CRUSON, HEIDI               NJ - USDC for the District of New Jersey   3:21-cv-03732         JOHNSON LAW GROUP
CRUZ, REBECCA               NJ - USDC for the District of New Jersey   3:21-cv-15931         JOHNSON LAW GROUP
CULLIVAN, LUCIA             NJ - USDC for the District of New Jersey   3:19-cv-06566         JOHNSON LAW GROUP
CURTIS, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-01135         JOHNSON LAW GROUP
DAHER, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-16112         JOHNSON LAW GROUP
DAHILIG, KATHLEEN SHELTON   NJ - USDC for the District of New Jersey   3:18-cv-01333         JOHNSON LAW GROUP
DANEL, ANITA                NJ - USDC for the District of New Jersey   3:21-cv-13615         JOHNSON LAW GROUP
DANIEL, VICTORIA            NJ - USDC for the District of New Jersey   3:21-cv-13614         JOHNSON LAW GROUP
DANNER, DOREEN              NJ - USDC for the District of New Jersey   3:21-cv-17629         JOHNSON LAW GROUP
DARE, SUZANNE               NJ - USDC for the District of New Jersey   3:20-cv-03316         JOHNSON LAW GROUP
DARMAND, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-08546         JOHNSON LAW GROUP
DAVENPORT, SHAREN           NJ - USDC for the District of New Jersey   3:21-cv-04264         JOHNSON LAW GROUP
DAVIS, DAJIAH               NJ - USDC for the District of New Jersey   3:20-cv-01684         JOHNSON LAW GROUP
DAVIS, JUDY                 NJ - USDC for the District of New Jersey   3:21-cv-18095         JOHNSON LAW GROUP
DAVIS, KATHLEEN             NJ - USDC for the District of New Jersey   3:21-cv-17771         JOHNSON LAW GROUP
DAVIS, LAURA                NJ - USDC for the District of New Jersey   3:19-cv-21562         JOHNSON LAW GROUP
DAVIS, SHIRLEY              NJ - USDC for the District of New Jersey   3:21-cv-00895         JOHNSON LAW GROUP
DAVIS, TRACI                NJ - USDC for the District of New Jersey   3:21-cv-03879         JOHNSON LAW GROUP
DAY, LUCILLE                NJ - USDC for the District of New Jersey   3:19-cv-13962         JOHNSON LAW GROUP
DAYEKH, RANIA               NJ - USDC for the District of New Jersey   3:21-cv-14472         JOHNSON LAW GROUP
DE LEON, OLENA              NJ - USDC for the District of New Jersey   3:21-cv-08399         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
DE LOS REYES, KATRINA     NJ - USDC for the District of New Jersey   3:18-cv-02186         JOHNSON LAW GROUP
DEKEYZER, EULA            NJ - USDC for the District of New Jersey   3:18-cv-01906         JOHNSON LAW GROUP
DEL TORO, ENEDINA         NJ - USDC for the District of New Jersey   3:21-cv-14241         JOHNSON LAW GROUP
DELA TORRE, DELIA         NJ - USDC for the District of New Jersey   3:21-cv-17775         JOHNSON LAW GROUP
DEMPSEY, FRANCES          NJ - USDC for the District of New Jersey   3:21-cv-15210         JOHNSON LAW GROUP
DENK, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-00955         JOHNSON LAW GROUP
DENKE, GAIL               NJ - USDC for the District of New Jersey   3:21-cv-13080         JOHNSON LAW GROUP
DENNY, MICHELLE           NJ - USDC for the District of New Jersey   3:19-cv-00178         JOHNSON LAW GROUP
DENTON, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-01045         JOHNSON LAW GROUP
DEPAULT, TINA             NJ - USDC for the District of New Jersey   3:20-cv-03625         JOHNSON LAW GROUP
DERDEN, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-17497         JOHNSON LAW GROUP
DESAI, MEENA              NJ - USDC for the District of New Jersey   3:21-cv-16450         JOHNSON LAW GROUP
DEVILLIER, MARY           NJ - USDC for the District of New Jersey   3:18-cv-13854         JOHNSON LAW GROUP
DHAN, RIMAL               NJ - USDC for the District of New Jersey   3:19-cv-12837         JOHNSON LAW GROUP
DIAZ, EVANGELINA          NJ - USDC for the District of New Jersey   3:20-cv-03160         JOHNSON LAW GROUP
DIAZ, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-08390         JOHNSON LAW GROUP
DICKERSON, TAMMY          NJ - USDC for the District of New Jersey   3:21-cv-04291         JOHNSON LAW GROUP
DICKES, JULEE             NJ - USDC for the District of New Jersey   3:19-cv-13967         JOHNSON LAW GROUP
DICOSIMO, ROXANNE         NJ - USDC for the District of New Jersey   3:20-cv-10394         JOHNSON LAW GROUP
DIEU-STEELE, SHERRI       NJ - USDC for the District of New Jersey   3:18-cv-01338         JOHNSON LAW GROUP
DIGGS, PEARL              NJ - USDC for the District of New Jersey   3:21-cv-09537         JOHNSON LAW GROUP
DILKS, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-17418         JOHNSON LAW GROUP
DILLOW, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-00950         JOHNSON LAW GROUP
DIORIO, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-02089         JOHNSON LAW GROUP
DIPIETRO, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-14059         JOHNSON LAW GROUP
DISHNO, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-14384         JOHNSON LAW GROUP
DIZON, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-03864         JOHNSON LAW GROUP
DODD, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-10429         JOHNSON LAW GROUP
DOHERTY, TINA             NJ - USDC for the District of New Jersey   3:21-cv-09244         JOHNSON LAW GROUP
DOOLEY, ALICE             NJ - USDC for the District of New Jersey   3:21-cv-18144         JOHNSON LAW GROUP
DORSEY, JANET             NJ - USDC for the District of New Jersey   3:19-cv-05959         JOHNSON LAW GROUP
DOYLE, CATHY              NJ - USDC for the District of New Jersey   3:21-cv-13377         JOHNSON LAW GROUP
DRAPER, CHARLENE          NJ - USDC for the District of New Jersey   3:21-cv-18021         JOHNSON LAW GROUP
DREYER, YVONNE            NJ - USDC for the District of New Jersey   3:19-cv-05634         JOHNSON LAW GROUP
DU FRIEND, CRYSTAL        NJ - USDC for the District of New Jersey   3:21-cv-02057         JOHNSON LAW GROUP
DUBER, STACEY             NJ - USDC for the District of New Jersey   3:21-cv-18023         JOHNSON LAW GROUP
DUE, JILL                 NJ - USDC for the District of New Jersey   3:19-cv-05574         JOHNSON LAW GROUP
DUICH, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-01296         JOHNSON LAW GROUP
DUNN, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-15286         JOHNSON LAW GROUP
DUNNE, JEANNE             NJ - USDC for the District of New Jersey   3:19-cv-05969         JOHNSON LAW GROUP
DUPAS, FAITH              NJ - USDC for the District of New Jersey   3:20-cv-19192         JOHNSON LAW GROUP
DURYEE, PHYLLIS           NJ - USDC for the District of New Jersey   3:21-cv-17626         JOHNSON LAW GROUP
DYAR, PEGGY               NJ - USDC for the District of New Jersey   3:21-cv-13274         JOHNSON LAW GROUP
DYER, MIRIAM              NJ - USDC for the District of New Jersey   3:21-cv-15139         JOHNSON LAW GROUP
DYER, ROBINA              NJ - USDC for the District of New Jersey   3:19-cv-06570         JOHNSON LAW GROUP
DYER, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-18762         JOHNSON LAW GROUP
EBERHARDT, VALI           NJ - USDC for the District of New Jersey   3:21-cv-09729         JOHNSON LAW GROUP
EBERSOLD, CHERYL          NJ - USDC for the District of New Jersey   3:20-cv-18596         JOHNSON LAW GROUP
EDWARDS, CORA             NJ - USDC for the District of New Jersey   3:21-cv-16446         JOHNSON LAW GROUP
EDWARDS, MARSHA           NJ - USDC for the District of New Jersey   3:21-cv-04805         JOHNSON LAW GROUP
EDWARDS, TAI              NJ - USDC for the District of New Jersey   3:19-cv-05941         JOHNSON LAW GROUP
EICHORST, ROSEMARY        NJ - USDC for the District of New Jersey   3:21-cv-06934         JOHNSON LAW GROUP
EICK, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-03017         JOHNSON LAW GROUP
EKKER, GINA               NJ - USDC for the District of New Jersey   3:20-cv-00977         JOHNSON LAW GROUP
ELLERD, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-15203         JOHNSON LAW GROUP
ELLINGSON, DOTTIE         NJ - USDC for the District of New Jersey   3:21-cv-15147         JOHNSON LAW GROUP
ELLSWORTH, DIANE          NJ - USDC for the District of New Jersey   3:21-cv-01993         JOHNSON LAW GROUP
ELMSHAEUSER, NINA         NJ - USDC for the District of New Jersey   3:19-cv-05767         JOHNSON LAW GROUP
ELSEL, INGRID             NJ - USDC for the District of New Jersey   3:21-cv-17881         JOHNSON LAW GROUP
EMERSON, JULIE            NJ - USDC for the District of New Jersey   3:20-cv-15549         JOHNSON LAW GROUP
ENCINAS, ANDREA           NJ - USDC for the District of New Jersey   3:18-cv-02315         JOHNSON LAW GROUP
ENGLISH, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-03480         JOHNSON LAW GROUP
EPPS, ANTONIETA           NJ - USDC for the District of New Jersey   3:21-cv-15153         JOHNSON LAW GROUP
ESCOBAR, LOURDES          NJ - USDC for the District of New Jersey   3:21-cv-14176         JOHNSON LAW GROUP
ESHELMAN, MARY            NJ - USDC for the District of New Jersey   3:21-cv-18382         JOHNSON LAW GROUP
ESTES, MARCIE             NJ - USDC for the District of New Jersey   3:21-cv-07338         JOHNSON LAW GROUP
EVANS, DELORES            NJ - USDC for the District of New Jersey   3:21-cv-13797         JOHNSON LAW GROUP
EVANS, JEANNE             NJ - USDC for the District of New Jersey   3:20-cv-03698         JOHNSON LAW GROUP
EVANS, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-01925         JOHNSON LAW GROUP
EVERSOLE, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-05152         JOHNSON LAW GROUP
FABREGAS, LUISE           NJ - USDC for the District of New Jersey   3:19-cv-06563         JOHNSON LAW GROUP
FAIELLA, PAULA            NJ - USDC for the District of New Jersey   3:21-cv-05404         JOHNSON LAW GROUP
FALKINGHAM, BARBARA       NJ - USDC for the District of New Jersey   3:20-cv-01859         JOHNSON LAW GROUP
FALZARANO, TERESA         NJ - USDC for the District of New Jersey   3:21-cv-12954         JOHNSON LAW GROUP
FARIAS, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-18038         JOHNSON LAW GROUP
FARR, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13068         JOHNSON LAW GROUP
FEARON, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-06711         JOHNSON LAW GROUP
FEBUS, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-17260         JOHNSON LAW GROUP
FELLOWS, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-07790         JOHNSON LAW GROUP
FERRELL, CHARLENE         NJ - USDC for the District of New Jersey   3:21-cv-16108         JOHNSON LAW GROUP




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
FERRELL, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-01948         JOHNSON LAW GROUP
FERRELL, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-14999         JOHNSON LAW GROUP
FERRELL-LYNN, DEBORAH      NJ - USDC for the District of New Jersey   3:20-cv-10909         JOHNSON LAW GROUP
FERRIS, TERESA             NJ - USDC for the District of New Jersey   3:18-cv-01939         JOHNSON LAW GROUP
FIDLER, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-04523         JOHNSON LAW GROUP
FIEGEL, MARY               NJ - USDC for the District of New Jersey   3:19-cv-02081         JOHNSON LAW GROUP
FIELDS, LILLIE             NJ - USDC for the District of New Jersey   3:21-cv-05201         JOHNSON LAW GROUP
FILLINGER, YVONNE          NJ - USDC for the District of New Jersey   3:21-cv-13042         JOHNSON LAW GROUP
FINE, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-09627         JOHNSON LAW GROUP
FINLASON, MARIE            NJ - USDC for the District of New Jersey   3:20-cv-01873         JOHNSON LAW GROUP
FIORE, ROSEMARIE           NJ - USDC for the District of New Jersey   3:21-cv-05999         JOHNSON LAW GROUP
FISHER, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-18278         JOHNSON LAW GROUP
FLANAGAN, SHERYL           NJ - USDC for the District of New Jersey   3:20-cv-01481         JOHNSON LAW GROUP
FLANDERS, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-18088         JOHNSON LAW GROUP
FOCHTMAN, LISA             NJ - USDC for the District of New Jersey   3:21-cv-14171         JOHNSON LAW GROUP
FOLTZ, JEAN                NJ - USDC for the District of New Jersey   3:21-cv-13428         JOHNSON LAW GROUP
FORD, PAULETTE             NJ - USDC for the District of New Jersey   3:20-cv-01911         JOHNSON LAW GROUP
FOREMAN, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-01659         JOHNSON LAW GROUP
FORT, KATHRYN              NJ - USDC for the District of New Jersey   3:21-cv-15200         JOHNSON LAW GROUP
FOX, CYNTHIA               NJ - USDC for the District of New Jersey   3:21-cv-12964         JOHNSON LAW GROUP
FOX, SUSAN                 NJ - USDC for the District of New Jersey   3:21-cv-13666         JOHNSON LAW GROUP
FRANCIS, AISHA             NJ - USDC for the District of New Jersey   3:19-cv-05616         JOHNSON LAW GROUP
FRANCIS, NELDA             NJ - USDC for the District of New Jersey   3:20-cv-12529         JOHNSON LAW GROUP
FRAZIER, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-03313         JOHNSON LAW GROUP
FREDSALL, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-11719         JOHNSON LAW GROUP
FREEMAN, KIMBERLEY         NJ - USDC for the District of New Jersey   3:18-cv-15050         JOHNSON LAW GROUP
FREUDENTHAL, JENNIFER      NJ - USDC for the District of New Jersey   3:21-cv-04837         JOHNSON LAW GROUP
FRISCHOLZ, RUTH            NJ - USDC for the District of New Jersey   3:21-cv-17062         JOHNSON LAW GROUP
FUECHSEL, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-14227         JOHNSON LAW GROUP
FUJII, KRYSTAL             NJ - USDC for the District of New Jersey   3:20-cv-09572         JOHNSON LAW GROUP
FURIA, MARINA              NJ - USDC for the District of New Jersey   3:21-cv-05392         JOHNSON LAW GROUP
FYOCK, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-07563         JOHNSON LAW GROUP
GABRIELE, ALICE            NJ - USDC for the District of New Jersey   3:21-cv-14995         JOHNSON LAW GROUP
GACCETTA, WANDA            NJ - USDC for the District of New Jersey   3:18-cv-02346         JOHNSON LAW GROUP
GAETAN, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-08561         JOHNSON LAW GROUP
GAINES, HEATHER            NJ - USDC for the District of New Jersey   3:20-cv-01483         JOHNSON LAW GROUP
GALE, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-13191         JOHNSON LAW GROUP
GALLAGHER, JANETTA         NJ - USDC for the District of New Jersey   3:19-cv-14822         JOHNSON LAW GROUP
GALVAN, IRMA               NJ - USDC for the District of New Jersey   3:21-cv-14676         JOHNSON LAW GROUP
GAMBLIN, MARY              NJ - USDC for the District of New Jersey   3:21-cv-01293         JOHNSON LAW GROUP
GAMBLIN, VERONA            NJ - USDC for the District of New Jersey   3:21-cv-01133         JOHNSON LAW GROUP
GANN, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-01715         JOHNSON LAW GROUP
GARCIA, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-01990         JOHNSON LAW GROUP
GARCIA, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-14557         JOHNSON LAW GROUP
GARCIA, DEBBIE             NJ - USDC for the District of New Jersey   3:18-cv-14392         JOHNSON LAW GROUP
GARCIA, STEPHANIE          NJ - USDC for the District of New Jersey   3:21-cv-16893         JOHNSON LAW GROUP
GARRETT, RACHEL            NJ - USDC for the District of New Jersey   3:21-cv-14687         JOHNSON LAW GROUP
GARRITY, KATHRYN           NJ - USDC for the District of New Jersey   3:21-cv-14054         JOHNSON LAW GROUP
GEAR, LORI                 NJ - USDC for the District of New Jersey   3:20-cv-14374         JOHNSON LAW GROUP
GENOVESE, GABRIELE         NJ - USDC for the District of New Jersey   3:21-cv-17943         JOHNSON LAW GROUP
GENTRY, JEANETTE           NJ - USDC for the District of New Jersey   3:20-cv-10402         JOHNSON LAW GROUP
GEORGE, KIM                NJ - USDC for the District of New Jersey   3:21-cv-12901         JOHNSON LAW GROUP
GIBLIN, EMMYLN             NJ - USDC for the District of New Jersey   3:21-cv-13375         JOHNSON LAW GROUP
GIBSON, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-00695         JOHNSON LAW GROUP
GIGUERE, VALERIE           NJ - USDC for the District of New Jersey   3:19-cv-02553         JOHNSON LAW GROUP
GILDNER, BODIL             NJ - USDC for the District of New Jersey   3:21-cv-17510         JOHNSON LAW GROUP
GIROUX, PEGGY              NJ - USDC for the District of New Jersey   3:17-cv-11695         JOHNSON LAW GROUP
GLOVER, DIXIE              NJ - USDC for the District of New Jersey   3:21-cv-12907         JOHNSON LAW GROUP
GLYNN, JOYCE               NJ - USDC for the District of New Jersey   3:19-cv-01239         JOHNSON LAW GROUP
GNIAS, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-14979         JOHNSON LAW GROUP
GOATEE, ZARAH              NJ - USDC for the District of New Jersey   3:18-cv-02017         JOHNSON LAW GROUP
GODFREY, JOELLYN           NJ - USDC for the District of New Jersey   3:21-cv-14548         JOHNSON LAW GROUP
GONZALEZ, CATHY            NJ - USDC for the District of New Jersey   3:19-cv-14232         JOHNSON LAW GROUP
GONZALEZ, FLORENTINA       NJ - USDC for the District of New Jersey   3:21-cv-16933         JOHNSON LAW GROUP
GOODRICH, MEREDITH         NJ - USDC for the District of New Jersey   3:21-cv-15450         JOHNSON LAW GROUP
GOODRUM, EVELYN            NJ - USDC for the District of New Jersey   3:21-cv-01750         JOHNSON LAW GROUP
GOODSELL, ANGELA           NJ - USDC for the District of New Jersey   3:20-cv-01726         JOHNSON LAW GROUP
GOODWIN, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-16649         JOHNSON LAW GROUP
GORDON, JUDY               NJ - USDC for the District of New Jersey   3:21-cv-01199         JOHNSON LAW GROUP
GORE, WILLA                NJ - USDC for the District of New Jersey   3:21-cv-01957         JOHNSON LAW GROUP
GORING, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-16896         JOHNSON LAW GROUP
GOUR, TIFFINY              NJ - USDC for the District of New Jersey   3:20-cv-07318         JOHNSON LAW GROUP
GOWER, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-10364         JOHNSON LAW GROUP
GRACE, MERI                NJ - USDC for the District of New Jersey   3:21-cv-14285         JOHNSON LAW GROUP
GRAESER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-18273         JOHNSON LAW GROUP
GRAF, CHRISTINE            NJ - USDC for the District of New Jersey   3:21-cv-13139         JOHNSON LAW GROUP
GRAHAM, LISA               NJ - USDC for the District of New Jersey   3:20-cv-03614         JOHNSON LAW GROUP
GRAHAM, MEAGAN             NJ - USDC for the District of New Jersey   3:20-cv-10540         JOHNSON LAW GROUP
GRAHAM, SHANDELLE          NJ - USDC for the District of New Jersey   3:19-cv-05918         JOHNSON LAW GROUP
GRAY, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-20523         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GREAVES, JACQUELINE       NJ - USDC for the District of New Jersey   3:20-cv-15486         JOHNSON LAW GROUP
GREEN, BETSY              NJ - USDC for the District of New Jersey   3:21-cv-06540         JOHNSON LAW GROUP
GREEN, DORIS              NJ - USDC for the District of New Jersey   3:21-cv-14312         JOHNSON LAW GROUP
GREEN, MARY LOU           NJ - USDC for the District of New Jersey   3:21-cv-13077         JOHNSON LAW GROUP
GREENE, APRIL             NJ - USDC for the District of New Jersey   3:20-cv-10913         JOHNSON LAW GROUP
GREGORY, SUNDI            NJ - USDC for the District of New Jersey   3:20-cv-19247         JOHNSON LAW GROUP
GRIFFIN, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-14022         JOHNSON LAW GROUP
GRIZZLE, TERESA           NJ - USDC for the District of New Jersey   3:18-cv-02395         JOHNSON LAW GROUP
GROSE, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-04379         JOHNSON LAW GROUP
GRUBS, CLEONE             NJ - USDC for the District of New Jersey   3:21-cv-04415         JOHNSON LAW GROUP
GUIDRY, KEISHAWN          NJ - USDC for the District of New Jersey   3:21-cv-04444         JOHNSON LAW GROUP
GUINN, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-17937         JOHNSON LAW GROUP
GULLIFORD, RUTH           NJ - USDC for the District of New Jersey   3:21-cv-02254         JOHNSON LAW GROUP
GUTHRIE, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-06530         JOHNSON LAW GROUP
GUTIERREZ, ANA            NJ - USDC for the District of New Jersey   3:18-cv-02172         JOHNSON LAW GROUP
HAAS, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-09842         JOHNSON LAW GROUP
HACHEY, SAYLA             NJ - USDC for the District of New Jersey   3:21-cv-00690         JOHNSON LAW GROUP
HALIFAX, SHELLEY          NJ - USDC for the District of New Jersey   3:19-cv-21927         JOHNSON LAW GROUP
HALL, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-04250         JOHNSON LAW GROUP
HALL, SHANNON             NJ - USDC for the District of New Jersey   3:21-cv-05959         JOHNSON LAW GROUP
HALL, TAWNYA              NJ - USDC for the District of New Jersey   3:18-cv-00867         JOHNSON LAW GROUP
HALPERIN, JULIE           NJ - USDC for the District of New Jersey   3:21-cv-13658         JOHNSON LAW GROUP
HALSEY, LOVELLE           NJ - USDC for the District of New Jersey   3:21-cv-15270         JOHNSON LAW GROUP
HAMILTON, CYNTHIA         NJ - USDC for the District of New Jersey   3:20-cv-04730         JOHNSON LAW GROUP
HAMM, GEORGIA             NJ - USDC for the District of New Jersey   3:21-cv-12895         JOHNSON LAW GROUP
HAND, HAZEL               NJ - USDC for the District of New Jersey   3:21-cv-00968         JOHNSON LAW GROUP
HANDLEY, ALICIA           NJ - USDC for the District of New Jersey   3:21-cv-04536         JOHNSON LAW GROUP
HANDLEY, MARJORIE         NJ - USDC for the District of New Jersey   3:21-cv-00747         JOHNSON LAW GROUP
HANNA, TINA               NJ - USDC for the District of New Jersey   3:20-cv-15483         JOHNSON LAW GROUP
HARNESS, LORRAINE         NJ - USDC for the District of New Jersey   3:21-cv-02066         JOHNSON LAW GROUP
HARP, CEANNA              NJ - USDC for the District of New Jersey   3:18-cv-02038         JOHNSON LAW GROUP
HARRINGTON, BARBARA       NJ - USDC for the District of New Jersey   3:21-cv-06687         JOHNSON LAW GROUP
HARRINGTON, DEBRA         NJ - USDC for the District of New Jersey   3:21-cv-09551         JOHNSON LAW GROUP
HARRIS, CARLA             NJ - USDC for the District of New Jersey   3:21-cv-16735         JOHNSON LAW GROUP
HARRIS, CODY              NJ - USDC for the District of New Jersey   3:18-cv-02418         JOHNSON LAW GROUP
HARRIS, JANELL            NJ - USDC for the District of New Jersey   3:21-cv-13922         JOHNSON LAW GROUP
HARRIS, JANELLE           NJ - USDC for the District of New Jersey   3:20-cv-01876         JOHNSON LAW GROUP
HARRIS, KIMBERLY          NJ - USDC for the District of New Jersey   3:19-cv-19385         JOHNSON LAW GROUP
HARRIS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13424         JOHNSON LAW GROUP
HARRIS, MELVINA           NJ - USDC for the District of New Jersey   3:19-cv-10975         JOHNSON LAW GROUP
HARRIS, NETTY             NJ - USDC for the District of New Jersey   3:19-cv-01244         JOHNSON LAW GROUP
HARSHBERGER, LINDA        NJ - USDC for the District of New Jersey   3:21-cv-09701         JOHNSON LAW GROUP
HARTWIG, AMY              NJ - USDC for the District of New Jersey   3:20-cv-15554         JOHNSON LAW GROUP
HARVEY, BLANCHE           NJ - USDC for the District of New Jersey   3:21-cv-06311         JOHNSON LAW GROUP
HARVEY, JENNY             NJ - USDC for the District of New Jersey   3:21-cv-16508         JOHNSON LAW GROUP
HASBARGEN, DEBRA          NJ - USDC for the District of New Jersey   3:20-cv-01891         JOHNSON LAW GROUP
HASENAUER, MICHELLE       NJ - USDC for the District of New Jersey   3:19-cv-02494         JOHNSON LAW GROUP
HAYNES, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-02367         JOHNSON LAW GROUP
HAZLETT, MARY             NJ - USDC for the District of New Jersey   3:18-cv-13853         JOHNSON LAW GROUP
HAZSLIP, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-00940         JOHNSON LAW GROUP
HEARD, VALERIE            NJ - USDC for the District of New Jersey   3:21-cv-13655         JOHNSON LAW GROUP
HEATH, FRANKIE            NJ - USDC for the District of New Jersey   3:20-cv-03602         JOHNSON LAW GROUP
HEDGER, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-06905         JOHNSON LAW GROUP
HEISER, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-17934         JOHNSON LAW GROUP
HELMES, LOLA              NJ - USDC for the District of New Jersey   3:20-cv-01592         JOHNSON LAW GROUP
HELTON, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-18015         JOHNSON LAW GROUP
HENDERSON, JOYCE          NJ - USDC for the District of New Jersey   3:20-cv-10508         JOHNSON LAW GROUP
HENEGAR, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-21036         JOHNSON LAW GROUP
HENSON, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-18033         JOHNSON LAW GROUP
HENTON, THERESE           NJ - USDC for the District of New Jersey   3:21-cv-13589         JOHNSON LAW GROUP
HERNANDEZ, EDNA           NJ - USDC for the District of New Jersey   3:21-cv-14599         JOHNSON LAW GROUP
HERNANDEZ, MARIA          NJ - USDC for the District of New Jersey   3:18-cv-02220         JOHNSON LAW GROUP
HERRERA, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-16327         JOHNSON LAW GROUP
HERRYGERS, ANN            NJ - USDC for the District of New Jersey   3:17-cv-04634         JOHNSON LAW GROUP
HESS, CHERYL              NJ - USDC for the District of New Jersey   3:21-cv-16004         JOHNSON LAW GROUP
HEWITT, JESSICA           NJ - USDC for the District of New Jersey   3:20-cv-01631         JOHNSON LAW GROUP
HICKMAN, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-15925         JOHNSON LAW GROUP
HIGGINBOTHAM, LINDA       NJ - USDC for the District of New Jersey   3:21-cv-17364         JOHNSON LAW GROUP
HILDRETH, LYNN            NJ - USDC for the District of New Jersey   3:20-cv-14378         JOHNSON LAW GROUP
HILL, CHERYL              NJ - USDC for the District of New Jersey   3:21-cv-15792         JOHNSON LAW GROUP
HILL, PAMELA              NJ - USDC for the District of New Jersey   3:18-cv-01518         JOHNSON LAW GROUP
HILLIARD, KAREN           NJ - USDC for the District of New Jersey   3:18-cv-01352         JOHNSON LAW GROUP
HINKLE, TERRI             NJ - USDC for the District of New Jersey   3:21-cv-04000         JOHNSON LAW GROUP
HINSON, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-07159         JOHNSON LAW GROUP
HISE, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-08794         JOHNSON LAW GROUP
HIX, JOELLYN              NJ - USDC for the District of New Jersey   3:21-cv-17092         JOHNSON LAW GROUP
HODGE, MARY               NJ - USDC for the District of New Jersey   3:18-cv-13413         JOHNSON LAW GROUP
HOERNER, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-05554         JOHNSON LAW GROUP
HOFEIN, MERICI MARCANO    NJ - USDC for the District of New Jersey   3:21-cv-04549         JOHNSON LAW GROUP
HOFFMAN, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-13045         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HOFFNAGLE, FRANCES        NJ - USDC for the District of New Jersey   3:20-cv-15300         JOHNSON LAW GROUP
HOFMANN, MARCIA           NJ - USDC for the District of New Jersey   3:21-cv-11381         JOHNSON LAW GROUP
HOGLEN, CARRIE            NJ - USDC for the District of New Jersey   3:21-cv-01692         JOHNSON LAW GROUP
HOLDEN, LAURA             NJ - USDC for the District of New Jersey   3:18-cv-14218         JOHNSON LAW GROUP
HOLLAND, JOELLEN          NJ - USDC for the District of New Jersey   3:21-cv-14389         JOHNSON LAW GROUP
HOLLENBECK, DANA          NJ - USDC for the District of New Jersey   3:18-cv-02311         JOHNSON LAW GROUP
HOLLIER, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-06513         JOHNSON LAW GROUP
HOLMES, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-04907         JOHNSON LAW GROUP
HOLT, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-01594         JOHNSON LAW GROUP
HORDOROVIC, PAMELA        NJ - USDC for the District of New Jersey   3:18-cv-01910         JOHNSON LAW GROUP
HORELICA, MELANIE         NJ - USDC for the District of New Jersey   3:20-cv-15490         JOHNSON LAW GROUP
HORN, ROSE                NJ - USDC for the District of New Jersey   3:21-cv-01299         JOHNSON LAW GROUP
HOSKIE, DELORES           NJ - USDC for the District of New Jersey   3:20-cv-02656         JOHNSON LAW GROUP
HOSLER, LORI              NJ - USDC for the District of New Jersey   3:21-cv-03512         JOHNSON LAW GROUP
HOUSLEY, YVONNE           NJ - USDC for the District of New Jersey   3:19-cv-00987         JOHNSON LAW GROUP
HOUSTON, CATHERINE        NJ - USDC for the District of New Jersey   3:21-cv-04080         JOHNSON LAW GROUP
HOVIS, ASHLEY             NJ - USDC for the District of New Jersey   3:19-cv-01250         JOHNSON LAW GROUP
HUANG, MELANIE            NJ - USDC for the District of New Jersey   3:18-cv-02036         JOHNSON LAW GROUP
HUCHTON, JONETTE          NJ - USDC for the District of New Jersey   3:21-cv-15862         JOHNSON LAW GROUP
HUDGINS, EVELYN           NJ - USDC for the District of New Jersey   3:17-cv-11345         JOHNSON LAW GROUP
HUERTA, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-03996         JOHNSON LAW GROUP
HUFF, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-01292         JOHNSON LAW GROUP
HUGHES, KATIE             NJ - USDC for the District of New Jersey   3:18-cv-02030         JOHNSON LAW GROUP
HUGHES, MARY              NJ - USDC for the District of New Jersey   3:20-cv-16281         JOHNSON LAW GROUP
HUMPAL, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-17632         JOHNSON LAW GROUP
HUNTER, JANICE            NJ - USDC for the District of New Jersey   3:21-cv-13197         JOHNSON LAW GROUP
HUNTSMAN, DENISE          NJ - USDC for the District of New Jersey   3:20-cv-06854         JOHNSON LAW GROUP
HURST, SHERRY             NJ - USDC for the District of New Jersey   3:18-cv-08177         JOHNSON LAW GROUP
HUSSEY, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-05737         JOHNSON LAW GROUP
HUTSLER, SHERRI           NJ - USDC for the District of New Jersey   3:19-cv-21926         JOHNSON LAW GROUP
IBARRA, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-12831         JOHNSON LAW GROUP
ILLARRAMENDI, LIZETTE     NJ - USDC for the District of New Jersey   3:20-cv-02770         JOHNSON LAW GROUP
ILLIAN, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-01895         JOHNSON LAW GROUP
IRVIN, ANNA               NJ - USDC for the District of New Jersey   3:21-cv-04999         JOHNSON LAW GROUP
IUPPA, MARY               NJ - USDC for the District of New Jersey   3:21-cv-06702         JOHNSON LAW GROUP
IVANOV, LYUDMILA          NJ - Superior Court - Atlantic County      ATL-L-001249-21       JOHNSON LAW GROUP
JAAFAR, VIRGINIA          NJ - USDC for the District of New Jersey   3:18-cv-02154         JOHNSON LAW GROUP
JABLONOWSKI, ROBIN        NJ - USDC for the District of New Jersey   3:18-cv-01477         JOHNSON LAW GROUP
JABOUIN, MARIE            NJ - USDC for the District of New Jersey   3:21-cv-12960         JOHNSON LAW GROUP
JACHYM, LORRAINE          NJ - USDC for the District of New Jersey   3:19-cv-12186         JOHNSON LAW GROUP
JACHYM, LORRAINE          NJ - USDC for the District of New Jersey   3:19-cv-12186         JOHNSON LAW GROUP
JACKSON, CEDIA            NJ - USDC for the District of New Jersey   3:21-cv-12882         JOHNSON LAW GROUP
JAMBAZIAN, ANUSH          NJ - USDC for the District of New Jersey   3:19-cv-17509         JOHNSON LAW GROUP
JANICE DELEEUW            NJ - USDC for the District of New Jersey   3:21-cv-18404         JOHNSON LAW GROUP
JARACZ, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-17441         JOHNSON LAW GROUP
JARRELL, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-00980         JOHNSON LAW GROUP
JEAN, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-10448         JOHNSON LAW GROUP
JEFFERSON, BETTY          NJ - USDC for the District of New Jersey   3:21-cv-17618         JOHNSON LAW GROUP
JEMMOTT, DENISE           NJ - USDC for the District of New Jersey   3:21-cv-09036         JOHNSON LAW GROUP
JENSEN, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-05733         JOHNSON LAW GROUP
JEWELL, MARY              NJ - USDC for the District of New Jersey   3:21-cv-01720         JOHNSON LAW GROUP
JIROUSEK, MICHELLE        NJ - USDC for the District of New Jersey   3:21-cv-17051         JOHNSON LAW GROUP
JOHNSON, CARRIE           NJ - USDC for the District of New Jersey   3:21-cv-04969         JOHNSON LAW GROUP
JOHNSON, DELORIES         NJ - USDC for the District of New Jersey   3:18-cv-01337         JOHNSON LAW GROUP
JOHNSON, ELIZABETH        NJ - USDC for the District of New Jersey   3:20-cv-18120         JOHNSON LAW GROUP
JOHNSON, FRANCES          NJ - USDC for the District of New Jersey   3:21-cv-17270         JOHNSON LAW GROUP
JOHNSON, GAIL             NJ - USDC for the District of New Jersey   3:20-cv-01860         JOHNSON LAW GROUP
JOHNSON, JUDITH           NJ - USDC for the District of New Jersey   3;21-CV-17599         JOHNSON LAW GROUP
JOHNSON, KRISTI           NJ - USDC for the District of New Jersey   3:21-cv-03002         JOHNSON LAW GROUP
JOHNSON, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-04245         JOHNSON LAW GROUP
JOHNSON, TONYA            NJ - USDC for the District of New Jersey   3:18-cv-01505         JOHNSON LAW GROUP
JOHNSON, YVONNE           NJ - USDC for the District of New Jersey   3:20-cv-07321         JOHNSON LAW GROUP
JOHNSTON, KARYL           NJ - USDC for the District of New Jersey   3:20-cv-01475         JOHNSON LAW GROUP
JOLLY, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-14804         JOHNSON LAW GROUP
JONES, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-14377         JOHNSON LAW GROUP
JONES, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-13840         JOHNSON LAW GROUP
JONES, TINA               NJ - USDC for the District of New Jersey   3:17-cv-05438         JOHNSON LAW GROUP
JORDAN, MARY VISHER       NJ - USDC for the District of New Jersey   3:21-cv-09909         JOHNSON LAW GROUP
JORDON, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-21552         JOHNSON LAW GROUP
JORGENSEN, SUE            NJ - USDC for the District of New Jersey   3:21-cv-08661         JOHNSON LAW GROUP
JOSEPH, DORIS             NJ - USDC for the District of New Jersey   3:21-cv-12844         JOHNSON LAW GROUP
JOYCE, DELORIS            NJ - USDC for the District of New Jersey   3:20-cv-15304         JOHNSON LAW GROUP
JUAREZ-DELGADILLO, IVAN   NJ - USDC for the District of New Jersey   3:18-cv-11586         JOHNSON LAW GROUP
JUDD, CATHY               NJ - USDC for the District of New Jersey   3:18-cv-14396         JOHNSON LAW GROUP
JUSTICE, TANYA            NJ - USDC for the District of New Jersey   3:20-cv-15518         JOHNSON LAW GROUP
KANGAS, CARREN            NJ - USDC for the District of New Jersey   3:21-cv-16642         JOHNSON LAW GROUP
KARAS, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-13844         JOHNSON LAW GROUP
KASZA, CARMEN             NJ - USDC for the District of New Jersey   3:20-cv-01639         JOHNSON LAW GROUP
KATHLEEN COHRS            NJ - USDC for the District of New Jersey   3:21-cv-18425         JOHNSON LAW GROUP
KATIC, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-06319         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
KATZ, JANET               NJ - USDC for the District of New Jersey   3:21-cv-17368         JOHNSON LAW GROUP
KAUHANE, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-09046         JOHNSON LAW GROUP
KAURANEN, KATHLEEN        NJ - USDC for the District of New Jersey   3:21-cv-08783         JOHNSON LAW GROUP
KAZAR, TIA                NJ - USDC for the District of New Jersey   3:21-cv-16252         JOHNSON LAW GROUP
KEAST, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-02390         JOHNSON LAW GROUP
KEATING, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-14347         JOHNSON LAW GROUP
KEENAN, CHANNE            NJ - USDC for the District of New Jersey   3:20-cv-09288         JOHNSON LAW GROUP
KEETON, BRANDI            NJ - USDC for the District of New Jersey   3:20-cv-00002         JOHNSON LAW GROUP
KEMPF, KATHY              NJ - USDC for the District of New Jersey   3:21-cv-05408         JOHNSON LAW GROUP
KENNEDY, NATASHA          NJ - USDC for the District of New Jersey   3:20-cv-15250         JOHNSON LAW GROUP
KEOWN, ANNE               NJ - USDC for the District of New Jersey   3:19-cv-05626         JOHNSON LAW GROUP
KERNS, LAURA              NJ - USDC for the District of New Jersey   3:18-cv-10881         JOHNSON LAW GROUP
KERSHNER, TAMMY           NJ - USDC for the District of New Jersey   3:18-cv-01884         JOHNSON LAW GROUP
KESTERSON, JAMIE          NJ - USDC for the District of New Jersey   3:18-cv-01933         JOHNSON LAW GROUP
KIDWELL, VICTORIA         NJ - USDC for the District of New Jersey   3:21-cv-15214         JOHNSON LAW GROUP
KING, WILMA               NJ - USDC for the District of New Jersey   3:21-cv-08376         JOHNSON LAW GROUP
KIRBY, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-13836         JOHNSON LAW GROUP
KIRSCH, JOANNA            NJ - USDC for the District of New Jersey   3:20-cv-16594         JOHNSON LAW GROUP
KISSINGER, JUDY           NJ - USDC for the District of New Jersey   3:19-cv-14231         JOHNSON LAW GROUP
KIYABU, JOY               NJ - USDC for the District of New Jersey   3:21-cv-02480         JOHNSON LAW GROUP
KLENDER, CRYSTAL          NJ - USDC for the District of New Jersey   3:19-cv-06574         JOHNSON LAW GROUP
KLEPPIN, DENISE           NJ - USDC for the District of New Jersey   3:18-cv-09815         JOHNSON LAW GROUP
KLINGLER, MELINDA         NJ - USDC for the District of New Jersey   3:20-cv-15480         JOHNSON LAW GROUP
KNABLE, JENNIE            NJ - USDC for the District of New Jersey   3:20-cv-09570         JOHNSON LAW GROUP
KNAPIK, LAURA             NJ - USDC for the District of New Jersey   3:18-cv-01509         JOHNSON LAW GROUP
KNIPE, MARY               NJ - USDC for the District of New Jersey   3:17-cv-04635         JOHNSON LAW GROUP
KNOEBEL, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-06718         JOHNSON LAW GROUP
KNOX, JULIA               NJ - USDC for the District of New Jersey   3:21-cv-14063         JOHNSON LAW GROUP
KO, KAREN                 NJ - USDC for the District of New Jersey   3:20-cv-09280         JOHNSON LAW GROUP
KOCH, CATHY               NJ - USDC for the District of New Jersey   3:21-cv-12838         JOHNSON LAW GROUP
KOCIAK, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-17277         JOHNSON LAW GROUP
KOENIG, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-06565         JOHNSON LAW GROUP
KOHN, ANNJANETTE          NJ - USDC for the District of New Jersey   3:20-cv-03134         JOHNSON LAW GROUP
KOINIS, PAULINE           NJ - USDC for the District of New Jersey   3:20-cv-18142         JOHNSON LAW GROUP
KOMNATH, ARLENE           NJ - USDC for the District of New Jersey   3:21-cv-03503         JOHNSON LAW GROUP
KORNBLUM, MARY            NJ - USDC for the District of New Jersey   3:19-cv-13965         JOHNSON LAW GROUP
KORNEGAY, JEANNE          NJ - USDC for the District of New Jersey   3:21-cv-16248         JOHNSON LAW GROUP
KOSKOWITZ, ALICIA         NJ - USDC for the District of New Jersey   3:20-cv-18170         JOHNSON LAW GROUP
KOVACEVICH, ROXANNE       NJ - USDC for the District of New Jersey   3:21-cv-01766         JOHNSON LAW GROUP
KOWALSKI, MARY            NJ - USDC for the District of New Jersey   3:21-cv-13618         JOHNSON LAW GROUP
KRAY, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-03977         JOHNSON LAW GROUP
KRIVITZKY, ANITA          NJ - USDC for the District of New Jersey   3:21-cv-13421         JOHNSON LAW GROUP
KROON, TERRI              NJ - USDC for the District of New Jersey   3:19-cv-05570         JOHNSON LAW GROUP
KRUSE, BETH               NJ - USDC for the District of New Jersey   3:18-cv-02049         JOHNSON LAW GROUP
KYLE, BRIDGET             NJ - USDC for the District of New Jersey   3:21-cv-13530         JOHNSON LAW GROUP
LALONE, LILLIAN           NJ - USDC for the District of New Jersey   3:20-cv-01459         JOHNSON LAW GROUP
LAMBERT, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-15038         JOHNSON LAW GROUP
LAMBIE, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-14380         JOHNSON LAW GROUP
LAMSON, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-02767         JOHNSON LAW GROUP
LANCASTER, SANDRA         NJ - USDC for the District of New Jersey   3:21-cv-05003         JOHNSON LAW GROUP
LANDO, FRANCES            NJ - USDC for the District of New Jersey   3:20-cv-09366         JOHNSON LAW GROUP
LANDRUM, BOBBIE           NJ - USDC for the District of New Jersey   3:21-cv-12975         JOHNSON LAW GROUP
LANEGRAN, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-14820         JOHNSON LAW GROUP
LANTHIER, GEMMA           NJ - USDC for the District of New Jersey   3:20-cv-09917         JOHNSON LAW GROUP
LARKIN, AUDREY            NJ - USDC for the District of New Jersey   3:19-cv-21547         JOHNSON LAW GROUP
LAROSE, LEE               NJ - USDC for the District of New Jersey   3:21-cv-12890         JOHNSON LAW GROUP
LARSEN, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-08672         JOHNSON LAW GROUP
LATHAM, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-01207         JOHNSON LAW GROUP
LATIMER, CAROLE           NJ - USDC for the District of New Jersey   3:18-cv-01714         JOHNSON LAW GROUP
LAUGHRUN, SHERYL          NJ - USDC for the District of New Jersey   3:20-cv-02647         JOHNSON LAW GROUP
LAURENCE, TERESA          NJ - USDC for the District of New Jersey   3:21-cv-05991         JOHNSON LAW GROUP
LAURSEN, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-18613         JOHNSON LAW GROUP
LAUVER, NIKOLAJA          NJ - USDC for the District of New Jersey   3:21-cv-14989         JOHNSON LAW GROUP
LAWHON, TEENA             NJ - USDC for the District of New Jersey   3:21-cv-16730         JOHNSON LAW GROUP
LAWRENCE, CHRISTINE       NJ - USDC for the District of New Jersey   3:19-cv-05970         JOHNSON LAW GROUP
LAWSON, KANDACE           NJ - USDC for the District of New Jersey   3:21-cv-04412         JOHNSON LAW GROUP
LAYMAN, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-01275         JOHNSON LAW GROUP
LEE, GLORIA               NJ - USDC for the District of New Jersey   3:20-cv-03294         JOHNSON LAW GROUP
LEFLORE, DIANNE           NJ - USDC for the District of New Jersey   3:21-cv-07127         JOHNSON LAW GROUP
LENON, DARLA              NJ - USDC for the District of New Jersey   3:21-cv-03762         JOHNSON LAW GROUP
LEROY, MARLENE            NJ - Superior Court - Atlantic County      ATL-L-001134-21       JOHNSON LAW GROUP
LESLIE, AMANDA            NJ - USDC for the District of New Jersey   3:20-cv-00790         JOHNSON LAW GROUP
LEVY, JEARLEAN            NJ - USDC for the District of New Jersey   3:21-cv-13839         JOHNSON LAW GROUP
LEWIS, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-18296         JOHNSON LAW GROUP
LEWIS, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-01719         JOHNSON LAW GROUP
LIGHT, AMY                NJ - USDC for the District of New Jersey   3:20-cv-15271         JOHNSON LAW GROUP
LINDSEY, CHARLENE         NJ - USDC for the District of New Jersey   3:21-cv-08658         JOHNSON LAW GROUP
LITTLE, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-03004         JOHNSON LAW GROUP
LLOYD, JEAN               NJ - USDC for the District of New Jersey   3:21-cv-02243         JOHNSON LAW GROUP
LOBATO, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-16501         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
LOCKWOOD, SAMANTHA        NJ - USDC for the District of New Jersey   3:21-cv-16377          JOHNSON LAW GROUP
LOMELI, FRANCISCA         NJ - USDC for the District of New Jersey   3:21-cv-18254          JOHNSON LAW GROUP
LONG, MARION              NJ - USDC for the District of New Jersey   3:21-cv-16242          JOHNSON LAW GROUP
LONGMIRE, STEPHANIE       NJ - USDC for the District of New Jersey   3:21-cv-17438          JOHNSON LAW GROUP
LOPEZ, SYLVIA             NJ - USDC for the District of New Jersey   3:21-cv-05934          JOHNSON LAW GROUP
LUERA, JOSIE              NJ - USDC for the District of New Jersey   3:21-cv-15944          JOHNSON LAW GROUP
LUFFMAN, MARY             NJ - USDC for the District of New Jersey   3:21-cv-01274          JOHNSON LAW GROUP
LUNA, PAMELA              NJ - USDC for the District of New Jersey   3:18-cv-01696          JOHNSON LAW GROUP
LUND, ELEANOR             NJ - USDC for the District of New Jersey   3:21-cv-15860          JOHNSON LAW GROUP
LUNDE, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-10543          JOHNSON LAW GROUP
MACDONALD, CAROLYN        NJ - USDC for the District of New Jersey   3:21-cv-09259          JOHNSON LAW GROUP
MACKIEWICZ, NANCY         NJ - USDC for the District of New Jersey   3:18-cv-02345          JOHNSON LAW GROUP
MACON, TCIAYA             NJ - USDC for the District of New Jersey   3:19-cv-13972          JOHNSON LAW GROUP
MADDEN, MARY              NJ - USDC for the District of New Jersey   3:19-cv-06567          JOHNSON LAW GROUP
MADONNA MCALEER           NJ - USDC for the District of New Jersey   3:21-cv-18264          JOHNSON LAW GROUP
MAGEE, QUANDARIA          NJ - USDC for the District of New Jersey   3:21-cv-09378          JOHNSON LAW GROUP
MAHAFFEY, LISHA           NJ - USDC for the District of New Jersey   3:21-cv-04674          JOHNSON LAW GROUP
MAINES, MELODY            NJ - USDC for the District of New Jersey   3:19-cv-06048          JOHNSON LAW GROUP
MALATINO, ANGELICA        NJ - USDC for the District of New Jersey   3:20-cv-06999          JOHNSON LAW GROUP
MALAZARTE, MYRNA          NJ - USDC for the District of New Jersey   3:21-cv-08372          JOHNSON LAW GROUP
MALLARI, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-15936          JOHNSON LAW GROUP
MALM, MISTY               NJ - USDC for the District of New Jersey   3:21-cv-16517          JOHNSON LAW GROUP
MALTOS, MARY              NJ - USDC for the District of New Jersey   3:17-cv-04633          JOHNSON LAW GROUP
MANAHAN, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-15051          JOHNSON LAW GROUP
MANGERI, SANDY            NJ - USDC for the District of New Jersey   3:20-cv-00793          JOHNSON LAW GROUP
MANSFIELD, CINDY          NJ - USDC for the District of New Jersey   3:20-cv-01857          JOHNSON LAW GROUP
MARROTT, LISA             NJ - USDC for the District of New Jersey   3:18-cv-02411          JOHNSON LAW GROUP
MARSTELLER, SUZANNE       NJ - USDC for the District of New Jersey   3:21-cv-08565          JOHNSON LAW GROUP
MARTIN, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-03630          JOHNSON LAW GROUP
MARTIN, ARLENE            NJ - USDC for the District of New Jersey   3:21-cv-09834          JOHNSON LAW GROUP
MARTIN, JAMESENA          NJ - USDC for the District of New Jersey   3:20-cv-17451          JOHNSON LAW GROUP
MARTIN, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-07448          JOHNSON LAW GROUP
MARTINEZ, AILIL           NJ - USDC for the District of New Jersey   3:20-cv-04866          JOHNSON LAW GROUP
MARTINEZ, CAMELLIA        NJ - USDC for the District of New Jersey   3:18-cv-01914          JOHNSON LAW GROUP
MARTINEZ, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-09047          JOHNSON LAW GROUP
MARTINEZ, SULEMA          NJ - USDC for the District of New Jersey   3:21-cv-16161          JOHNSON LAW GROUP
MASSIE, SANDY             NJ - USDC for the District of New Jersey   3:18-cv-01708          JOHNSON LAW GROUP
MASTERS, SUSANNA          NJ - USDC for the District of New Jersey   3:19-cv-17480          JOHNSON LAW GROUP
MATHIES, ZOE              NJ - USDC for the District of New Jersey   3:21-cv-17194          JOHNSON LAW GROUP
MATHIS, STACEY            NJ - USDC for the District of New Jersey   3:19-cv-14223          JOHNSON LAW GROUP
MATNEY, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-05724          JOHNSON LAW GROUP
MATOUS, FAITH             NJ - USDC for the District of New Jersey   3:21-cv-14483          JOHNSON LAW GROUP
MATTHEWS, PAMELA          NJ - USDC for the District of New Jersey   3:19-cv-05965          JOHNSON LAW GROUP
MATTHEWS, WENDY           NJ - USDC for the District of New Jersey   3:21-cv-03989          JOHNSON LAW GROUP
MATTICK, DIANE            NJ - USDC for the District of New Jersey   3:21-cv-16644          JOHNSON LAW GROUP
MATTOS, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-20376          JOHNSON LAW GROUP
MATTOS, KELLY             NJ - USDC for the District of New Jersey   3:21-cv-14305          JOHNSON LAW GROUP
MAULDEN, KATHERYN         NJ - USDC for the District of New Jersey   3:17-cv-12291          JOHNSON LAW GROUP
MAYER, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-16499          JOHNSON LAW GROUP
MAZZARELLA, MARCIA        NJ - USDC for the District of New Jersey   3:18-cv-01683          JOHNSON LAW GROUP
MCBRIDE, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-15266          JOHNSON LAW GROUP
MCBROOM, DEBRA ANN        NJ - USDC for the District of New Jersey   3:21- cv- 16815        JOHNSON LAW GROUP
MCCAIN, MILDRED           NJ - USDC for the District of New Jersey   3:21-cv-09694          JOHNSON LAW GROUP
MCCARTHY, ANNETTE         NJ - USDC for the District of New Jersey   3:18-cv-02050          JOHNSON LAW GROUP
MCCARTHY, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-13379          JOHNSON LAW GROUP
MCCARVER, JANA            NJ - USDC for the District of New Jersey   3:20-cv-03131          JOHNSON LAW GROUP
MCCLAFLIN, TERI           NJ - USDC for the District of New Jersey   3:21-cv-16631          JOHNSON LAW GROUP
MCCLANAHAN, REGINA        NJ - USDC for the District of New Jersey   3:19-cv-17494          JOHNSON LAW GROUP
MCCLURE, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-17517          JOHNSON LAW GROUP
MCCORVEY, CHIQUETTA       NJ - USDC for the District of New Jersey   3:18-cv-16287          JOHNSON LAW GROUP
MCCULLEY, LYNETTE         NJ - USDC for the District of New Jersey   3:19-cv-14823          JOHNSON LAW GROUP
MCDONALD, NELL            NJ - USDC for the District of New Jersey   3:21-cv-08549          JOHNSON LAW GROUP
MCGRADY, KARIN            NJ - USDC for the District of New Jersey   3:21-cv-04743          JOHNSON LAW GROUP
MCGRAW, LISA              NJ - USDC for the District of New Jersey   3:18-cv-15042          JOHNSON LAW GROUP
MCGRIFF, MARQUETTE        NJ - USDC for the District of New Jersey   3:18-cv-01691          JOHNSON LAW GROUP
MCINERNEY, MARJORIE       NJ - USDC for the District of New Jersey   3:21-cv-14174          JOHNSON LAW GROUP
MCINTOSH, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-03463          JOHNSON LAW GROUP
MCKNAB, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-17502          JOHNSON LAW GROUP
MCLAUGHLIN, MARY          NJ - USDC for the District of New Jersey   3:20-cv-00586          JOHNSON LAW GROUP
MCMAHAN, PATTI            NJ - USDC for the District of New Jersey   3:20-cv-17444          JOHNSON LAW GROUP
MCMANUS, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-04798          JOHNSON LAW GROUP
MCMILLIAN, CRISTIE        NJ - USDC for the District of New Jersey   3:20-cv-01797          JOHNSON LAW GROUP
MEADOWS, JENNIFER         NJ - USDC for the District of New Jersey   3:20-cv-16266          JOHNSON LAW GROUP
MEALY, BECKY              NJ - USDC for the District of New Jersey   3:21-cv-00748          JOHNSON LAW GROUP
MECOM, SONJA              NJ - USDC for the District of New Jersey   3:20-cv-17531          JOHNSON LAW GROUP
MEDINA, DENELDA           NJ - USDC for the District of New Jersey   3:21-cv-09857          JOHNSON LAW GROUP
MEDINA, IVELISSE          NJ - USDC for the District of New Jersey   3:21-cv-04993          JOHNSON LAW GROUP
MEDLENNOFF, PAM           NJ - USDC for the District of New Jersey   3:20-cv-04693          JOHNSON LAW GROUP
MEDRANO, KIMBERLYN        NJ - USDC for the District of New Jersey   3:21-cv-06869          JOHNSON LAW GROUP
MEEK, VIVIAN              NJ - USDC for the District of New Jersey   3:21-cv-09547          JOHNSON LAW GROUP




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
MELENDEZ, LYNN             NJ - USDC for the District of New Jersey   3:20-cv-01791         JOHNSON LAW GROUP
MENDONSA, MELISSA          NJ - USDC for the District of New Jersey   3:21-cv-16678         JOHNSON LAW GROUP
MERCER, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-11347         JOHNSON LAW GROUP
MESSING, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-13724         JOHNSON LAW GROUP
MICHEL, DOLORES            NJ - USDC for the District of New Jersey   3:20-cv-09278         JOHNSON LAW GROUP
MICHELS, ANN               NJ - USDC for the District of New Jersey   3:19-cv-02342         JOHNSON LAW GROUP
MILINA, CYNTHIA            NJ - USDC for the District of New Jersey   3:20-cv-10055         JOHNSON LAW GROUP
MILLER, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-03490         JOHNSON LAW GROUP
MILLER, KAYDEE             NJ - USDC for the District of New Jersey   3:18-cv-01335         JOHNSON LAW GROUP
MILLER, LEIGH              NJ - USDC for the District of New Jersey   3:21-cv-09559         JOHNSON LAW GROUP
MILLER, LORI               NJ - USDC for the District of New Jersey   3:20-cv-01794         JOHNSON LAW GROUP
MILLIER, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-15267         JOHNSON LAW GROUP
MILLS, ARLENE              NJ - USDC for the District of New Jersey   3:18-cv-17691         JOHNSON LAW GROUP
MILLS, BESSIE              NJ - USDC for the District of New Jersey   3:20-cv-03297         JOHNSON LAW GROUP
MINIX, VERONICA            NJ - USDC for the District of New Jersey   3:17-cv-11325         JOHNSON LAW GROUP
MINNICK, MICHAELA          NJ - USDC for the District of New Jersey   3:20-cv-15872         JOHNSON LAW GROUP
MINOR, BRIDGETTE           NJ - USDC for the District of New Jersey   3:21-cv-15454         JOHNSON LAW GROUP
MINSQUERO, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-06344         JOHNSON LAW GROUP
MINYARD, FLORENCE JONES    NJ - USDC for the District of New Jersey   3:18-cv-17530         JOHNSON LAW GROUP
MITCHELL, JENNIFER         NJ - USDC for the District of New Jersey   3:17-cv-11327         JOHNSON LAW GROUP
MITCHELL, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-05225         JOHNSON LAW GROUP
MITCHELL, ROSE             NJ - USDC for the District of New Jersey   3:18-cv-08447         JOHNSON LAW GROUP
MIZELL-WILLIAMS, REBECCA   NJ - USDC for the District of New Jersey   3:19-cv-17653         JOHNSON LAW GROUP
MOLINELLI, LOURDES         NJ - USDC for the District of New Jersey   3:20-cv-01598         JOHNSON LAW GROUP
MONKEN, MONA               NJ - USDC for the District of New Jersey   3:18-cv-17673         JOHNSON LAW GROUP
MONKIEWICZ, CAROL          NJ - USDC for the District of New Jersey   3:21-cv-17699         JOHNSON LAW GROUP
MONNIER, LISA              NJ - USDC for the District of New Jersey   3:20-cv-10396         JOHNSON LAW GROUP
MONTALVO, RAMONA           NJ - USDC for the District of New Jersey   3:21-cv-17314         JOHNSON LAW GROUP
MONTANEZ, SELINA           NJ - USDC for the District of New Jersey   3:20-cv-01799         JOHNSON LAW GROUP
MONZON, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-18390         JOHNSON LAW GROUP
MOON, COYOTE               NJ - USDC for the District of New Jersey   3:21-cv-16682         JOHNSON LAW GROUP
MOORE, SHANNA              NJ - USDC for the District of New Jersey   3:20-cv-19208         JOHNSON LAW GROUP
MOORE, TANYA               NJ - USDC for the District of New Jersey   3:20-cv-17499         JOHNSON LAW GROUP
MORA, AMPARO               NJ - USDC for the District of New Jersey   3:21-cv-15556         JOHNSON LAW GROUP
MORALES, LETICIA           NJ - USDC for the District of New Jersey   3:18-cv-17685         JOHNSON LAW GROUP
MORELOCK, GAIL             NJ - USDC for the District of New Jersey   3:20-cv-05613         JOHNSON LAW GROUP
MORGAN, PENELOPE           NJ - USDC for the District of New Jersey   3:19-cv-14800         JOHNSON LAW GROUP
MORRISON, JAYNE            NJ - USDC for the District of New Jersey   3:20-cv-06859         JOHNSON LAW GROUP
MORYKAN, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-02316         JOHNSON LAW GROUP
MOTT, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-01720         JOHNSON LAW GROUP
MOTTER, STEPHENIE          NJ - USDC for the District of New Jersey   3:18-cv-01931         JOHNSON LAW GROUP
MOY, PATRICIA              NJ - USDC for the District of New Jersey   3:21-cv-14594         JOHNSON LAW GROUP
MOYERS, MELANIE            NJ - USDC for the District of New Jersey   3:20-cv-09561         JOHNSON LAW GROUP
MULDOON, TINA              NJ - USDC for the District of New Jersey   3:21-cv-13341         JOHNSON LAW GROUP
MURPHY, ANNMARIE           NJ - USDC for the District of New Jersey   3:21-cv-13285         JOHNSON LAW GROUP
MURPHY, FRANCES            NJ - USDC for the District of New Jersey   3:20-cv-18108         JOHNSON LAW GROUP
MURPHY, MEREDITH           NJ - USDC for the District of New Jersey   3:18-cv-15041         JOHNSON LAW GROUP
MURPHY, ZOELLEN            NJ - USDC for the District of New Jersey   3:21-cv-12693         JOHNSON LAW GROUP
MURRAY, BILLIE             NJ - USDC for the District of New Jersey   3:21-cv-08407         JOHNSON LAW GROUP
MUSE, MEGAN                NJ - USDC for the District of New Jersey   3:19-cv-21545         JOHNSON LAW GROUP
MYERS, BUFFIE              NJ - USDC for the District of New Jersey   3:21-cv-09043         JOHNSON LAW GROUP
MYERS, KELLY               NJ - USDC for the District of New Jersey   3:21-cv-17446         JOHNSON LAW GROUP
MYERS-ANTROBUS, TERESA     NJ - USDC for the District of New Jersey   3:18-cv-11233         JOHNSON LAW GROUP
NABZDYK, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-01688         JOHNSON LAW GROUP
NAPITUPULU, TAMBARIA       NJ - USDC for the District of New Jersey   3:20-cv-14354         JOHNSON LAW GROUP
NARASIMHAN, SHEELA         NJ - USDC for the District of New Jersey   3:21-cv-12621         JOHNSON LAW GROUP
NASH, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-06192         JOHNSON LAW GROUP
NAVARRO, DAWN              NJ - USDC for the District of New Jersey   3:18-cv-02079         JOHNSON LAW GROUP
NEAL, VICKIE               NJ - USDC for the District of New Jersey   3:21-cv-06926         JOHNSON LAW GROUP
NELSON, MARTINA            NJ - USDC for the District of New Jersey   3:21-cv-01275         JOHNSON LAW GROUP
NELSON, NICOLE             NJ - USDC for the District of New Jersey   3:20-cv-14379         JOHNSON LAW GROUP
NEUMANN, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-02396         JOHNSON LAW GROUP
NEWKIRK, JANET             NJ - USDC for the District of New Jersey   3:18-cv-02177         JOHNSON LAW GROUP
NEWLIN, ANN                NJ - USDC for the District of New Jersey   3:21-cv-13347         JOHNSON LAW GROUP
NEWMAN, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-12934         JOHNSON LAW GROUP
NEWTON, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-10375         JOHNSON LAW GROUP
NICHOLAS, BERYL            NJ - USDC for the District of New Jersey   3:21-cv-09851         JOHNSON LAW GROUP
NICOL, BONNIE              NJ - USDC for the District of New Jersey   3:21-cv-13124         JOHNSON LAW GROUP
NICOLARD, DEANNA           NJ - USDC for the District of New Jersey   3:21-cv-15120         JOHNSON LAW GROUP
NIEDBALSKI, MARGUERITE     NJ - USDC for the District of New Jersey   3:19-cv-18510         JOHNSON LAW GROUP
NIETO, CLAUDIA             NJ - USDC for the District of New Jersey   3:21-cv-14169         JOHNSON LAW GROUP
NIETO, ROSEMARIE           NJ - USDC for the District of New Jersey   3:21-cv-16028         JOHNSON LAW GROUP
NISWONGER, KAREN           NJ - USDC for the District of New Jersey   3:21-cv-04801         JOHNSON LAW GROUP
NOBLE, MARY                NJ - USDC for the District of New Jersey   3:20-cv-03692         JOHNSON LAW GROUP
NUTALL, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-12955         JOHNSON LAW GROUP
OBRIEN, CORINNE            NJ - USDC for the District of New Jersey   3:21-cv-13542         JOHNSON LAW GROUP
OCONNELL, GERALDINE        NJ - USDC for the District of New Jersey   3:18-cv-04562         JOHNSON LAW GROUP
ODONNELL, MICHELLE         NJ - USDC for the District of New Jersey   3:21-cv-12978         JOHNSON LAW GROUP
OHMAN, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-16915         JOHNSON LAW GROUP
OLANYK, LADONNA            NJ - USDC for the District of New Jersey   3:19-cv-06558         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
OLEARY, MAURA             NJ - USDC for the District of New Jersey    3:20-cv-15621         JOHNSON LAW GROUP
OLIVIER, CLAIRE           NJ - USDC for the District of New Jersey    3:21-cv-05273         JOHNSON LAW GROUP
ONEILL, DAWN              NJ - USDC for the District of New Jersey    3:21-cv-02475         JOHNSON LAW GROUP
ORBEN, ELLEN              NJ - USDC for the District of New Jersey    3:21-cv-15810         JOHNSON LAW GROUP
ORCUTT, DEBORAH           NJ - USDC for the District of New Jersey    3:20-cv-06997         JOHNSON LAW GROUP
ORDONEZ, SHERRY           NJ - USDC for the District of New Jersey    3:20-cv-13994         JOHNSON LAW GROUP
OROZCO, SANDRA            NJ - USDC for the District of New Jersey    3:21-cv-17694         JOHNSON LAW GROUP
ORTEGA, JESSICA           NJ - USDC for the District of New Jersey    3:20-cv-10949         JOHNSON LAW GROUP
ORTIZ, ADRIANA            NJ - USDC for the District of New Jersey    3:21-cv-17785         JOHNSON LAW GROUP
OSWALD, MARIA             NJ - USDC for the District of New Jersey    3:20-cv-09277         JOHNSON LAW GROUP
OTILLIO, CORRIN           LA - District Court - East Baton Rouge Parish C-702021-22         JOHNSON LAW GROUP
OUIMETTE, DONNICE         NJ - USDC for the District of New Jersey    3:18-cv-17718         JOHNSON LAW GROUP
OVIEDO, MARIA             NJ - USDC for the District of New Jersey    3:21-cv-14233         JOHNSON LAW GROUP
OWEN, CATHERINE           NJ - USDC for the District of New Jersey    3:20-cv-01729         JOHNSON LAW GROUP
OWEN, JERRI               NJ - USDC for the District of New Jersey    3:21-cv-14309         JOHNSON LAW GROUP
OWENS, JANET              NJ - USDC for the District of New Jersey    3:21-cv-17686         JOHNSON LAW GROUP
PABROS, GIZELDA           NJ - USDC for the District of New Jersey    3:21-cv-13980         JOHNSON LAW GROUP
PACE, SHARON              NJ - USDC for the District of New Jersey    3:21-cv-01695         JOHNSON LAW GROUP
PACK, MARSHA              NJ - USDC for the District of New Jersey    3:21-cv-09712         JOHNSON LAW GROUP
PADELSKY, STEPHANIE       NJ - USDC for the District of New Jersey    3:20-cv-01897         JOHNSON LAW GROUP
PADILLA, NORMA            NJ - USDC for the District of New Jersey    3:19-cv-17486         JOHNSON LAW GROUP
PAGEL, ANNABELLE          NJ - USDC for the District of New Jersey    3:21-cv-16739         JOHNSON LAW GROUP
PAGUE, MARY               NJ - USDC for the District of New Jersey    3:19-cv-21944         JOHNSON LAW GROUP
PALAZZO, COLLEEN          NJ - USDC for the District of New Jersey    3:19-cv-02149         JOHNSON LAW GROUP
PALMER, TONI              NJ - USDC for the District of New Jersey    3:19-cv-04602         JOHNSON LAW GROUP
PANAGOS, HELEN            NJ - USDC for the District of New Jersey    3:21-cv-02192         JOHNSON LAW GROUP
PAOLONE, TERESA           NJ - USDC for the District of New Jersey    3:20-cv-20483         JOHNSON LAW GROUP
PAPPAS, SHERRY            NJ - USDC for the District of New Jersey    3:21-cv-09539         JOHNSON LAW GROUP
PARISHER, PAMELA          NJ - USDC for the District of New Jersey    3:18-cv-01506         JOHNSON LAW GROUP
PARKER, SANDRA            NJ - USDC for the District of New Jersey    3:19-cv-05629         JOHNSON LAW GROUP
PARSLEY, LEANNA           NJ - USDC for the District of New Jersey    3:18-cv-02238         JOHNSON LAW GROUP
PARSON, BETH              NJ - USDC for the District of New Jersey    3:20-cv-07337         JOHNSON LAW GROUP
PARSONS, LENA             NJ - USDC for the District of New Jersey    3:20-cv-17417         JOHNSON LAW GROUP
PARYS, MARY               NJ - USDC for the District of New Jersey    3:21-cv-09037         JOHNSON LAW GROUP
PASSON, JULIE             NJ - USDC for the District of New Jersey    3:21-cv-05715         JOHNSON LAW GROUP
PASTOR, ELAINE            NJ - USDC for the District of New Jersey    3:21-cv-17605         JOHNSON LAW GROUP
PATOCK, CARRIE            NJ - USDC for the District of New Jersey    3:20-cv-01636         JOHNSON LAW GROUP
PATTERSON, BARBARA        NJ - USDC for the District of New Jersey    3:20-cv-03307         JOHNSON LAW GROUP
PATTERSON, BONNEY         NJ - USDC for the District of New Jersey    3:21-cv-01129         JOHNSON LAW GROUP
PATTON, JESSIE            NJ - USDC for the District of New Jersey    3:20-cv-04681         JOHNSON LAW GROUP
PAUL, SUSAN               NJ - USDC for the District of New Jersey    3:18-cv-02218         JOHNSON LAW GROUP
PAULETTI, CELINA          NJ - USDC for the District of New Jersey    3:21-cv-13585         JOHNSON LAW GROUP
PAULUS, LAURA             NJ - USDC for the District of New Jersey    3:21-cv-07804         JOHNSON LAW GROUP
PAYTON, BEATRICE          NJ - USDC for the District of New Jersey    3:20-cv-02346         JOHNSON LAW GROUP
PEARLSTEIN, DEBORAH       NJ - USDC for the District of New Jersey    3:21-cv-05580         JOHNSON LAW GROUP
PEINE, BARBARA            NJ - USDC for the District of New Jersey    3:21-cv-17265         JOHNSON LAW GROUP
PELLETIER, KELLY          NJ - USDC for the District of New Jersey    3:17-cv-09758         JOHNSON LAW GROUP
PEMBERTON, KRISTINE       NJ - USDC for the District of New Jersey    3:21-cv-18141         JOHNSON LAW GROUP
PENA, BEVERLY             NJ - USDC for the District of New Jersey    3:21-cv-16742         JOHNSON LAW GROUP
PENA, ROSA                NJ - USDC for the District of New Jersey    3:21-cv-13073         JOHNSON LAW GROUP
PENADO, MARIA             NJ - USDC for the District of New Jersey    3:21-cv-15455         JOHNSON LAW GROUP
PENSON, THELMA            NJ - USDC for the District of New Jersey    3:21-cv-02987         JOHNSON LAW GROUP
PEQUENO, BERTHA           NJ - USDC for the District of New Jersey    3:20-cv-06342         JOHNSON LAW GROUP
PERAZA, LYNETTE           NJ - USDC for the District of New Jersey    3:20-cv-00883         JOHNSON LAW GROUP
PEREA, NORA               NJ - USDC for the District of New Jersey    3:19-cv-05954         JOHNSON LAW GROUP
PEREZ, CARMEN             NJ - USDC for the District of New Jersey    3:21-cv-13027         JOHNSON LAW GROUP
PEREZ, LAURIE             NJ - USDC for the District of New Jersey    3:20-cv-02775         JOHNSON LAW GROUP
PEREZ, MONICA             NJ - USDC for the District of New Jersey    3:19-cv-18493         JOHNSON LAW GROUP
PERIMAN, LYNN             NJ - USDC for the District of New Jersey    3:20-cv-03165         JOHNSON LAW GROUP
PERKINS, NANCY            NJ - USDC for the District of New Jersey    3:19-cv-05967         JOHNSON LAW GROUP
PERRIN, JUDY              NJ - USDC for the District of New Jersey    3:20-cv-04868         JOHNSON LAW GROUP
PERSAUD, DEOMATTIE        NJ - USDC for the District of New Jersey    3:21-cv-08366         JOHNSON LAW GROUP
PETERS, JULIE             NJ - USDC for the District of New Jersey    3:21-cv-13131         JOHNSON LAW GROUP
PETTIGREW, ANN            NJ - USDC for the District of New Jersey    3:20-cv-16438         JOHNSON LAW GROUP
PETTIGREW, CHRISTINE      NJ - USDC for the District of New Jersey    3:21-cv-04122         JOHNSON LAW GROUP
PETTY-OLSON, DARLA        NJ - USDC for the District of New Jersey    3:19-cv-00184         JOHNSON LAW GROUP
PHILLIPS, DEBRA           NJ - USDC for the District of New Jersey    3:21-cv-05011         JOHNSON LAW GROUP
PHILLIPS, ROXANN          NJ - USDC for the District of New Jersey    3:18-cv-02313         JOHNSON LAW GROUP
PHIPPS, LIZA              NJ - USDC for the District of New Jersey    3:17-cv-05174         JOHNSON LAW GROUP
PINKOSKI, SHARON          NJ - USDC for the District of New Jersey    3:21-cv-17691         JOHNSON LAW GROUP
PISTOLE, MARY             NJ - USDC for the District of New Jersey    3:21-cv-17846         JOHNSON LAW GROUP
PITTEL, CHRISTA           NJ - USDC for the District of New Jersey    3:21-cv-01687         JOHNSON LAW GROUP
PLATER, TAMMY             NJ - USDC for the District of New Jersey    3:21-cv-04220         JOHNSON LAW GROUP
POLLACK, RUTH             NJ - USDC for the District of New Jersey    3:21-cv-04683         JOHNSON LAW GROUP
POLUS, LISA               NJ - USDC for the District of New Jersey    3:21-cv-13137         JOHNSON LAW GROUP
POMERLEAU, JOANNE         NJ - USDC for the District of New Jersey    3:20-cv-01593         JOHNSON LAW GROUP
POPLICK, HEIDII           NJ - USDC for the District of New Jersey    3:21-cv-11112         JOHNSON LAW GROUP
PORCHER, PATRICIA S       NJ - USDC for the District of New Jersey    3:21-cv-03710         JOHNSON LAW GROUP
PORTER, MARSHA            NJ - USDC for the District of New Jersey    3:21-cv-17273         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PORTER-PANT, DOROTHY      NJ - USDC for the District of New Jersey   3:19-cv-05641         JOHNSON LAW GROUP
POUNDS, BETTE             NJ - USDC for the District of New Jersey   3:21-cv-04074         JOHNSON LAW GROUP
POWERS, EUNICE            NJ - USDC for the District of New Jersey   3:21-cv-15560         JOHNSON LAW GROUP
PRATER, PRISCILLA         NJ - USDC for the District of New Jersey   3:21-cv-04813         JOHNSON LAW GROUP
PRATLEY, WENDY            NJ - USDC for the District of New Jersey   3:21-cv-09392         JOHNSON LAW GROUP
PRATT, LOUISIA            NJ - USDC for the District of New Jersey   3:21-cv-07207         JOHNSON LAW GROUP
PRICE, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-06860         JOHNSON LAW GROUP
PRITCHARD, JANIE          NJ - USDC for the District of New Jersey   3:21-cv-04396         JOHNSON LAW GROUP
PROBY, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-09566         JOHNSON LAW GROUP
PROFFITT, TANYA           NJ - USDC for the District of New Jersey   3:20-cv-20476         JOHNSON LAW GROUP
PRUETT, STACI             NJ - USDC for the District of New Jersey   3:20-cv-15278         JOHNSON LAW GROUP
PUDELEK, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-09405         JOHNSON LAW GROUP
PUGH, ALICE               NJ - USDC for the District of New Jersey   3:20-cv-15546         JOHNSON LAW GROUP
PULLEN, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-04610         JOHNSON LAW GROUP
PULLEY, KIMBERLY          NJ - USDC for the District of New Jersey   3:17-cv-13749         JOHNSON LAW GROUP
PUMALA, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-17070         JOHNSON LAW GROUP
QUEZADA, YOLANDA          NJ - USDC for the District of New Jersey   3:21-cv-12635         JOHNSON LAW GROUP
QUILLIN, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-17053         JOHNSON LAW GROUP
QUINTANA, MICHELLE        NJ - USDC for the District of New Jersey   3:21-cv-06199         JOHNSON LAW GROUP
RACHELS, MELISSA          NJ - USDC for the District of New Jersey   3:20-cv-04735         JOHNSON LAW GROUP
RAHIMINMANESH, PARVIN     NJ - USDC for the District of New Jersey   3:21-cv-16686         JOHNSON LAW GROUP
RAMIREZ, ALEJANDRA        NJ - USDC for the District of New Jersey   3:21-cv-15572         JOHNSON LAW GROUP
RAMIREZ, WILMA            NJ - USDC for the District of New Jersey   3:21-cv-05568         JOHNSON LAW GROUP
RAMOS, CONSUELO           NJ - USDC for the District of New Jersey   3:19-cv-02114         JOHNSON LAW GROUP
RAMSEY, JANICE            NJ - USDC for the District of New Jersey   3:20-cv-18269         JOHNSON LAW GROUP
RAMXEY, ROBERTA           NJ - USDC for the District of New Jersey   3:21-cv-17866         JOHNSON LAW GROUP
RANSON, VICTORIA          NJ - USDC for the District of New Jersey   3:19-cv-19371         JOHNSON LAW GROUP
RASBAND, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-16635         JOHNSON LAW GROUP
REESE, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-04097         JOHNSON LAW GROUP
REEVES, CONNIE            NJ - USDC for the District of New Jersey   3:19-cv-06569         JOHNSON LAW GROUP
REYES, TRACY              NJ - USDC for the District of New Jersey   3:18-cv-10872         JOHNSON LAW GROUP
REYES, VIOLA              NJ - USDC for the District of New Jersey   3:20-cv-04584         JOHNSON LAW GROUP
REYNOLDS, DANA            NJ - USDC for the District of New Jersey   3:18-cv-17677         JOHNSON LAW GROUP
REYNOLDS, DELTA           NJ - USDC for the District of New Jersey   3:18-cv-00756         JOHNSON LAW GROUP
REYNOLDS, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-14496         JOHNSON LAW GROUP
REYNOSO, AMIE             NJ - USDC for the District of New Jersey   3:20-cv-09744         JOHNSON LAW GROUP
RHINEHART, MACKENZIE      NJ - USDC for the District of New Jersey   3:19-cv-06174         JOHNSON LAW GROUP
RHODES, CATHY             NJ - USDC for the District of New Jersey   3:20-cv-10555         JOHNSON LAW GROUP
RHODES, CHARLOTTE         NJ - USDC for the District of New Jersey   3:20-cv-14381         JOHNSON LAW GROUP
RICHARDS, HELEN           NJ - USDC for the District of New Jersey   3:20-cv-07315         JOHNSON LAW GROUP
RIDENOUR, CORINA          NJ - USDC for the District of New Jersey   3:21-cv-01859         JOHNSON LAW GROUP
RIEBESELL, ANN            NJ - Superior Court - Atlantic County      ATL-L-002152-21       JOHNSON LAW GROUP
RIENZO, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-02312         JOHNSON LAW GROUP
RIGGS, ROSANNE            NJ - USDC for the District of New Jersey   3:21-cv-13383         JOHNSON LAW GROUP
RISER, DOROTHY            NJ - USDC for the District of New Jersey   3:21-cv-15928         JOHNSON LAW GROUP
RITCHIE, CHERYL           NJ - USDC for the District of New Jersey   3:21-cv-14985         JOHNSON LAW GROUP
RIVERA, KATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-15045         JOHNSON LAW GROUP
ROBBINS, CARMELITA        NJ - USDC for the District of New Jersey   3:18-cv-02310         JOHNSON LAW GROUP
ROBERTS, EVA              NJ - USDC for the District of New Jersey   3:21-cv-01982         JOHNSON LAW GROUP
ROBERTS, MARY             NJ - USDC for the District of New Jersey   3:19-cv-09131         JOHNSON LAW GROUP
ROBERTSON, LORIE          NJ - USDC for the District of New Jersey   3:21-cv-17219         JOHNSON LAW GROUP
ROBERTSON, PATRICIA       NJ - USDC for the District of New Jersey   3:19-cv-12838         JOHNSON LAW GROUP
ROBINSON, CHASITY         NJ - USDC for the District of New Jersey   3:20-cv-01695         JOHNSON LAW GROUP
ROBINSON, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-14635         JOHNSON LAW GROUP
ROBINSON, RUTH            NJ - USDC for the District of New Jersey   3:21-cv-13981         JOHNSON LAW GROUP
ROBLES, MARYANN           NJ - USDC for the District of New Jersey   3:20-cv-07159         JOHNSON LAW GROUP
ROCKWELL-JOYCE, JOY       NJ - USDC for the District of New Jersey   3:21-cv-05752         JOHNSON LAW GROUP
ROCKWOOD, ROSEMARY        NJ - USDC for the District of New Jersey   3:18-cv-02323         JOHNSON LAW GROUP
RODRIGUEZ, EVELYN         NJ - USDC for the District of New Jersey   3:20-cv-15247         JOHNSON LAW GROUP
RODRIGUEZ, G-ANN          NJ - USDC for the District of New Jersey   3:20-cv-17419         JOHNSON LAW GROUP
ROJAS, CLAUDIA            NJ - USDC for the District of New Jersey   3:21-cv-14237         JOHNSON LAW GROUP
ROLOFF, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-18903         JOHNSON LAW GROUP
ROME, JUDITH              NJ - USDC for the District of New Jersey   3:21-cv-18210         JOHNSON LAW GROUP
ROSA, NORA                NJ - USDC for the District of New Jersey   3:21-cv-13668         JOHNSON LAW GROUP
ROSBROOK, LISA            NJ - USDC for the District of New Jersey   3:18-cv-17680         JOHNSON LAW GROUP
ROSETH, KANDY             NJ - USDC for the District of New Jersey   3:19-cv-01255         JOHNSON LAW GROUP
ROSKOP, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-16972         JOHNSON LAW GROUP
ROSS, ANN                 NJ - USDC for the District of New Jersey   3:19-cv-05949         JOHNSON LAW GROUP
ROSS, LAURA               NJ - USDC for the District of New Jersey   3:20-cv-01699         JOHNSON LAW GROUP
ROUSE, SALLY              NJ - USDC for the District of New Jersey   3:19-cv-05957         JOHNSON LAW GROUP
ROWE, LISA                NJ - USDC for the District of New Jersey   3:20-cv-10548         JOHNSON LAW GROUP
ROY, IDA                  NJ - USDC for the District of New Jersey   3:21-cv-05914         JOHNSON LAW GROUP
ROYSE, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-15804         JOHNSON LAW GROUP
RUCKER, GAIL              NJ - USDC for the District of New Jersey   3:21-cv-09038         JOHNSON LAW GROUP
RUDOLPH, EILEEN           NJ - USDC for the District of New Jersey   3:19-cv-21252         JOHNSON LAW GROUP
RUIZ, MAKI                NJ - USDC for the District of New Jersey   3:20-cv-18160         JOHNSON LAW GROUP
RUIZ, VICTORIA            NJ - USDC for the District of New Jersey   3:21-cv-18201         JOHNSON LAW GROUP
RUIZ-LAW, MARIA           NJ - USDC for the District of New Jersey   3:18-cv-02077         JOHNSON LAW GROUP
RUMMEL, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-07813         JOHNSON LAW GROUP
RUMSEY, KELLI             NJ - USDC for the District of New Jersey   3:18-cv-02217         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
RUSSELL, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-18617         JOHNSON LAW GROUP
RUSSELL, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-04030         JOHNSON LAW GROUP
RUSSO, PAULA              NJ - USDC for the District of New Jersey   3:18-cv-01512         JOHNSON LAW GROUP
RUTH, CHRISTIANNE         NJ - USDC for the District of New Jersey   3:20-cv-16635         JOHNSON LAW GROUP
RUTUSHIN, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-18290         JOHNSON LAW GROUP
RUVALCABA, EMERITA        NJ - USDC for the District of New Jersey   3:21-cv-13192         JOHNSON LAW GROUP
RYLANT, TANYA             NJ - USDC for the District of New Jersey   3:20-cv-04585         JOHNSON LAW GROUP
SACKETT, MARY             NJ - USDC for the District of New Jersey   3:20-cv-01711         JOHNSON LAW GROUP
SAGE, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-14236         JOHNSON LAW GROUP
SAI, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-14628         JOHNSON LAW GROUP
SALDIVAR, JULIA           NJ - USDC for the District of New Jersey   3:21-cv-17410         JOHNSON LAW GROUP
SALYER, LYNN              NJ - USDC for the District of New Jersey   3:18-cv-02023         JOHNSON LAW GROUP
SALYERS, JONELLA          NJ - USDC for the District of New Jersey   3:21-cv-13620         JOHNSON LAW GROUP
SAMPLE, DORIS             NJ - USDC for the District of New Jersey   3:21-cv-01304         JOHNSON LAW GROUP
SANCHEZ, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-16368         JOHNSON LAW GROUP
SANDERS, RONDELL          NJ - USDC for the District of New Jersey   3:21-cv-13536         JOHNSON LAW GROUP
SANGUINETTI, MARIA        NJ - USDC for the District of New Jersey   3:21-cv-15467         JOHNSON LAW GROUP
SANNINO, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-15552         JOHNSON LAW GROUP
SANTIAGO, CARMEN          NJ - USDC for the District of New Jersey   3:21-cv-04405         JOHNSON LAW GROUP
SATCHMEI, BATOUL          NJ - USDC for the District of New Jersey   3:21-cv-16381         JOHNSON LAW GROUP
SAUNDERS, LISSA           NJ - USDC for the District of New Jersey   3:20-cv-09234         JOHNSON LAW GROUP
SAUVAGE, JULIETTE         NJ - USDC for the District of New Jersey   3:21-cv-13064         JOHNSON LAW GROUP
SAWYER, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-08666         JOHNSON LAW GROUP
SCHAFFER, MARY            NJ - USDC for the District of New Jersey   3:21-cv-14671         JOHNSON LAW GROUP
SCHAFLE, JOAN             NJ - USDC for the District of New Jersey   3:18-cv-01489         JOHNSON LAW GROUP
SCHINDLER, EUGENIA        NJ - USDC for the District of New Jersey   3:21-cv-16172         JOHNSON LAW GROUP
SCHLARB, TINA             NJ - USDC for the District of New Jersey   3:20-cv-01788         JOHNSON LAW GROUP
SCHOW, KERI               NJ - USDC for the District of New Jersey   3:21-cv-00753         JOHNSON LAW GROUP
SCHROEDER, REBECCA        NJ - USDC for the District of New Jersey   3:18-cv-17430         JOHNSON LAW GROUP
SCHWABAUER, MARY          NJ - USDC for the District of New Jersey   3:21-cv-13586         JOHNSON LAW GROUP
SCHWARTZ, PEGGY           NJ - USDC for the District of New Jersey   3:18-cv-01346         JOHNSON LAW GROUP
SCHWERY, JOLENE           NJ - USDC for the District of New Jersey   3:21-cv-15040         JOHNSON LAW GROUP
SCHWINN, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-19223         JOHNSON LAW GROUP
SCOTT, FARINA             NJ - USDC for the District of New Jersey   3:17-cv-06709         JOHNSON LAW GROUP
SCOTT, KERRIE             NJ - USDC for the District of New Jersey   3:18-cv-01494         JOHNSON LAW GROUP
SCOTT, SONDRA             NJ - USDC for the District of New Jersey   3:19-cv-01259         JOHNSON LAW GROUP
SEELIG, AMY               NJ - USDC for the District of New Jersey   3:21-cv-13721         JOHNSON LAW GROUP
SEGVICH, CATHY            NJ - USDC for the District of New Jersey   3:20-cv-18320         JOHNSON LAW GROUP
SELLMAN, LAURA            NJ - USDC for the District of New Jersey   3:19-cv-14806         JOHNSON LAW GROUP
SERTIC, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-16177         JOHNSON LAW GROUP
SHEARER, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-03154         JOHNSON LAW GROUP
SHEARS, ELOISA            NJ - USDC for the District of New Jersey   3:21-cv-16453         JOHNSON LAW GROUP
SHELEY, MANUELA           NJ - USDC for the District of New Jersey   3:21-cv-13986         JOHNSON LAW GROUP
SHENBERGER, DEBORAH       NJ - USDC for the District of New Jersey   3:21-cv-13043         JOHNSON LAW GROUP
SHIELDS, VICKI            NJ - USDC for the District of New Jersey   3:21-cv-17890         JOHNSON LAW GROUP
SHIPOS, JEAN              NJ - USDC for the District of New Jersey   3:18-cv-02232         JOHNSON LAW GROUP
SHIRLEY, MARTI            NJ - USDC for the District of New Jersey   3:20-cv-15291         JOHNSON LAW GROUP
SHIVERS, NOLA             NJ - USDC for the District of New Jersey   3:21-cv-14009         JOHNSON LAW GROUP
SHRELL, JULIE             NJ - USDC for the District of New Jersey   3:21-cv-15358         JOHNSON LAW GROUP
SHRINER, DAROTHEY         NJ - USDC for the District of New Jersey   3:21-cv-14629         JOHNSON LAW GROUP
SHUPE, MARJORIE           NJ - USDC for the District of New Jersey   3:21-cv-16114         JOHNSON LAW GROUP
SIEKIERZYNSKI, MARILYN    NJ - USDC for the District of New Jersey   3:21-cv-14683         JOHNSON LAW GROUP
SILVA, TANYA              NJ - USDC for the District of New Jersey   3:18-cv-17423         JOHNSON LAW GROUP
SIMMONS, MARGIE           NJ - USDC for the District of New Jersey   3:21-cv-17435         JOHNSON LAW GROUP
SIMPSON, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-09249         JOHNSON LAW GROUP
SINGLETARY, ROSA          NJ - USDC for the District of New Jersey   3:20-cv-18333         JOHNSON LAW GROUP
SINOPOLI, SHERI           NJ - USDC for the District of New Jersey   3:19-cv-21945         JOHNSON LAW GROUP
SIRA, EMILY               NJ - USDC for the District of New Jersey   3:21-cv-14588         JOHNSON LAW GROUP
SKAFF, KIRSTA             NJ - USDC for the District of New Jersey   3:21-cv-08380         JOHNSON LAW GROUP
SKAGGS, NICKIE            NJ - USDC for the District of New Jersey   3:20-cv-04687         JOHNSON LAW GROUP
SKIPPER, BETTY            NJ - USDC for the District of New Jersey   3:17-cv-04743         JOHNSON LAW GROUP
SLUSSER, GRACE            NJ - USDC for the District of New Jersey   3:21-cv-09387         JOHNSON LAW GROUP
SLUSSER, MARJORIE         NJ - USDC for the District of New Jersey   3:21-cv-14244         JOHNSON LAW GROUP
SMITH, AMY                NJ - USDC for the District of New Jersey   3:21-cv-17780         JOHNSON LAW GROUP
SMITH, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-13433         JOHNSON LAW GROUP
SMITH, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-07779         JOHNSON LAW GROUP
SMITH, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-18512         JOHNSON LAW GROUP
SMITH, FRANCES            NJ - USDC for the District of New Jersey   3:21-cv-14139         JOHNSON LAW GROUP
SMITH, GLORIA             NJ - USDC for the District of New Jersey   3:19-cv-01264         JOHNSON LAW GROUP
SMITH, JOHANNA            NJ - USDC for the District of New Jersey   3:20-cv-14400         JOHNSON LAW GROUP
SMITH, JULIE              NJ - USDC for the District of New Jersey   3:21-cv-13141         JOHNSON LAW GROUP
SMITH, MICHAELA           NJ - USDC for the District of New Jersey   3:20-cv-17504         JOHNSON LAW GROUP
SMITH, SHANNA             NJ - USDC for the District of New Jersey   3:21-cv-17946         JOHNSON LAW GROUP
SNOW, DEANNA              NJ - USDC for the District of New Jersey   3:21-cv-13927         JOHNSON LAW GROUP
SNOW, ROBBIN              NJ - USDC for the District of New Jersey   3:21-cv-03525         JOHNSON LAW GROUP
SNOWDEN, DELORES          NJ - USDC for the District of New Jersey   3:21-cv-09254         JOHNSON LAW GROUP
SNYDER, COLENE            NJ - USDC for the District of New Jersey   3:21-cv-13203         JOHNSON LAW GROUP
SOBOCINSKI, PATRICIA      NJ - USDC for the District of New Jersey   3:18-cv-01332         JOHNSON LAW GROUP
SOMMERS, THERESA          NJ - USDC for the District of New Jersey   3:21-cv-18158         JOHNSON LAW GROUP
SOTO, VICTORIA            NJ - USDC for the District of New Jersey   3:21-cv-15689         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SPEARMAN, MARY            NJ - USDC for the District of New Jersey   3:19-cv-02515         JOHNSON LAW GROUP
SPECA, ABBEY              NJ - USDC for the District of New Jersey   3:20-cv-03358         JOHNSON LAW GROUP
SPEIGHT, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-17381         JOHNSON LAW GROUP
SPRINKLE, MARY            NJ - USDC for the District of New Jersey   3:18-cv-02227         JOHNSON LAW GROUP
ST. ARNOLD, AMY           NJ - USDC for the District of New Jersey   3:21-cv-14478         JOHNSON LAW GROUP
STANLEY, MAXINE           NJ - USDC for the District of New Jersey   3:20-cv-01461         JOHNSON LAW GROUP
STAPLETON, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-00694         JOHNSON LAW GROUP
STARK, LOUISE             NJ - USDC for the District of New Jersey   3:20-cv-06847         JOHNSON LAW GROUP
STEELE, JEANNE            NJ - USDC for the District of New Jersey   3:21-cv-16156         JOHNSON LAW GROUP
STEELE, MACKENZIE         NJ - USDC for the District of New Jersey   3:19-cv-13629         JOHNSON LAW GROUP
STEINLINE, STEPHANIE      NJ - USDC for the District of New Jersey   3:20-cv-06911         JOHNSON LAW GROUP
STEVENSON, COLLEEN        NJ - USDC for the District of New Jersey   3:21-cv-03516         JOHNSON LAW GROUP
STEWART, AMBER            NJ - USDC for the District of New Jersey   3:21-CV-17200         JOHNSON LAW GROUP
STEWART, LINDSEY          NJ - USDC for the District of New Jersey   3:21-cv-04668         JOHNSON LAW GROUP
STEWART, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-07800         JOHNSON LAW GROUP
STICKLE, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-02646         JOHNSON LAW GROUP
STILES, GINGER            NJ - USDC for the District of New Jersey   3:20-cv-19150         JOHNSON LAW GROUP
STOJANOVIC, JANET         NJ - USDC for the District of New Jersey   3:21-cv-16322         JOHNSON LAW GROUP
STOUT, MONICA             NJ - USDC for the District of New Jersey   3:20-cv-15243         JOHNSON LAW GROUP
STOUT, NICOLE             NJ - USDC for the District of New Jersey   3:20-cv-09751         JOHNSON LAW GROUP
STOVER, REBECCA           NJ - USDC for the District of New Jersey   3:19-cv-05596         JOHNSON LAW GROUP
STRAATMAN, SUSAN          NJ - USDC for the District of New Jersey   3:18-cv-11234         JOHNSON LAW GROUP
STRAHAN, RAMONA           NJ - USDC for the District of New Jersey   3:21-cv-03753         JOHNSON LAW GROUP
STRATTON, JUDITH          NJ - USDC for the District of New Jersey   3:21-cv-02373         JOHNSON LAW GROUP
STRICKLAND, OLIVIA        NJ - USDC for the District of New Jersey   3:19-cv-21953         JOHNSON LAW GROUP
STRINGHAM, HEIDI          NJ - USDC for the District of New Jersey   3:21-cv-14555         JOHNSON LAW GROUP
STRNAD, LAURIE            NJ - USDC for the District of New Jersey   3:21-cv-03023         JOHNSON LAW GROUP
STROBL, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-01881         JOHNSON LAW GROUP
STRYKOWSKI, IDA           NJ - USDC for the District of New Jersey   3:19-cv-05964         JOHNSON LAW GROUP
STUART, CONNIE            NJ - USDC for the District of New Jersey   3:17-cv-10603         JOHNSON LAW GROUP
STUREY, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-03877         JOHNSON LAW GROUP
SUERKEN, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-08842         JOHNSON LAW GROUP
SUHR, AURA                NJ - USDC for the District of New Jersey   3:20-cv-10058         JOHNSON LAW GROUP
SULLIVAN, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-15854         JOHNSON LAW GROUP
SUNDGREN, KELLY           NJ - USDC for the District of New Jersey   3:18-cv-01705         JOHNSON LAW GROUP
SURAEZ, MIRIAM            NJ - USDC for the District of New Jersey   3:19-cv-06580         JOHNSON LAW GROUP
SURRENCY, EDITH           NJ - USDC for the District of New Jersey   3:21-cv-13621         JOHNSON LAW GROUP
SVANDA, DEBBIE            NJ - USDC for the District of New Jersey   3:18-cv-01885         JOHNSON LAW GROUP
SWANSON, MARTHA           NJ - USDC for the District of New Jersey   3:19-cv-02230         JOHNSON LAW GROUP
SWINDLE, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-14126         JOHNSON LAW GROUP
SYMMONDS, TINA            NJ - USDC for the District of New Jersey   3:21-cv-13283         JOHNSON LAW GROUP
TAGGART, CAROL            NJ - USDC for the District of New Jersey   3:19-cv-21940         JOHNSON LAW GROUP
TALAVERA, ADELAIDA        NJ - USDC for the District of New Jersey   3:21-cv-02171         JOHNSON LAW GROUP
TANNER, CATHERINE         NJ - USDC for the District of New Jersey   3:19-cv-19087         JOHNSON LAW GROUP
TAT, MARILYN              NJ - USDC for the District of New Jersey   3:20-cv-01643         JOHNSON LAW GROUP
TATOR, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-10516         JOHNSON LAW GROUP
TAYLOR, BELINDA           NJ - USDC for the District of New Jersey   3:21-cv-17213         JOHNSON LAW GROUP
TAYLOR, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-15354         JOHNSON LAW GROUP
TAYLOR, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-15036         JOHNSON LAW GROUP
TAYLOR, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-18096         JOHNSON LAW GROUP
TAYLOR, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-19380         JOHNSON LAW GROUP
TEMKIN, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-07553         JOHNSON LAW GROUP
TERMINELLO, CASEY         NJ - USDC for the District of New Jersey   3:21-cv-13796         JOHNSON LAW GROUP
THAYER, NELITA            NJ - USDC for the District of New Jersey   3:21-cv-15282         JOHNSON LAW GROUP
THIEL, CRYSTAL            NJ - USDC for the District of New Jersey   3:19-cv-01270         JOHNSON LAW GROUP
THIGPEN, REGENA           NJ - USDC for the District of New Jersey   3:18-cv-08530         JOHNSON LAW GROUP
THOMAS, ANDREA            NJ - USDC for the District of New Jersey   3:19-cv-21932         JOHNSON LAW GROUP
THOMAS, LORI              NJ - USDC for the District of New Jersey   3:18-cv-10361         JOHNSON LAW GROUP
THOMAS, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-05562         JOHNSON LAW GROUP
THOMAS, MARLENE           NJ - USDC for the District of New Jersey   3:21-cv-08540         JOHNSON LAW GROUP
THOMAS, TRACY             NJ - USDC for the District of New Jersey   3:18-cv-00764         JOHNSON LAW GROUP
THOMASON, VIRGINIA        NJ - USDC for the District of New Jersey   3:17-cv-06020         JOHNSON LAW GROUP
THOMPSON, ANGELA          NJ - USDC for the District of New Jersey   3:20-cv-04867         JOHNSON LAW GROUP
THOMPSON, CLAUDIA         NJ - USDC for the District of New Jersey   3:21-cv-16009         JOHNSON LAW GROUP
THOMPSON, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-17764         JOHNSON LAW GROUP
THOMSEN, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-18025         JOHNSON LAW GROUP
THORPE, ELAINE            NJ - USDC for the District of New Jersey   3:19-cv-02134         JOHNSON LAW GROUP
TODD, JOANNE              NJ - USDC for the District of New Jersey   3:20-cv-10398         JOHNSON LAW GROUP
TORRES, ADDY              NJ - USDC for the District of New Jersey   3:20-cv-01628         JOHNSON LAW GROUP
TORRES, ANGELICA          NJ - USDC for the District of New Jersey   3:21-cv-12857         JOHNSON LAW GROUP
TORRES, JOSEPHINE         NJ - USDC for the District of New Jersey   3:19-cv-18500         JOHNSON LAW GROUP
TOWNSEND, LAURIE          NJ - USDC for the District of New Jersey   3:18-cv-02170         JOHNSON LAW GROUP
TRAAEN, JAN               NJ - USDC for the District of New Jersey   3:21-cv-14057         JOHNSON LAW GROUP
TRACHT, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-14137         JOHNSON LAW GROUP
TRAYLOR, GLORIA           NJ - USDC for the District of New Jersey   3:20-cv-07325         JOHNSON LAW GROUP
TREADWELL, JULIE          NJ - USDC for the District of New Jersey   3:18-cv-01944         JOHNSON LAW GROUP
TREFTZ, EMILY             NJ - USDC for the District of New Jersey   3:21-cv-17795         JOHNSON LAW GROUP
TRENBATH, LORI            NJ - USDC for the District of New Jersey   3:21-cv-03528         JOHNSON LAW GROUP
TROIA, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-07318         JOHNSON LAW GROUP
TSADILAS, VICTORIA        NJ - USDC for the District of New Jersey   3:21-cv-02050         JOHNSON LAW GROUP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
TUBER, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-11725         JOHNSON LAW GROUP
TUCK, LENITA              NJ - USDC for the District of New Jersey   3:21-cv-03509         JOHNSON LAW GROUP
TUCKER, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-15261         JOHNSON LAW GROUP
TUCKER, IRIS              NJ - USDC for the District of New Jersey   3:20-cv-10545         JOHNSON LAW GROUP
TUCKER, JOANN             NJ - USDC for the District of New Jersey   3:21-cv-01973         JOHNSON LAW GROUP
TURISH, MELODIE           NJ - USDC for the District of New Jersey   3:20-cv-00975         JOHNSON LAW GROUP
TURNER, DANIELLE          NJ - USDC for the District of New Jersey   3:21-cv-14535         JOHNSON LAW GROUP
TURNER, LAUREN            NJ - USDC for the District of New Jersey   3:21-cv-14125         JOHNSON LAW GROUP
TURNER, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-09237         JOHNSON LAW GROUP
TURNER, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-07202         JOHNSON LAW GROUP
TURNER, YVETTE            NJ - USDC for the District of New Jersey   3:21-cv-13790         JOHNSON LAW GROUP
TWOMEY, ANITA             NJ - USDC for the District of New Jersey   3:21-cv-14398         JOHNSON LAW GROUP
TYNER, ANA                NJ - USDC for the District of New Jersey   3:19-cv-17491         JOHNSON LAW GROUP
UPAH, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-06172         JOHNSON LAW GROUP
URBAS, BEVERLY            NJ - USDC for the District of New Jersey   3:18-cv-02229         JOHNSON LAW GROUP
VACI, FRANCES             NJ - USDC for the District of New Jersey   3:21-cv-17485         JOHNSON LAW GROUP
VALENTINER, CHERYL        NJ - USDC for the District of New Jersey   3:21-cv-18092         JOHNSON LAW GROUP
VALLARTA, GUADALUPE       NJ - USDC for the District of New Jersey   3:21-cv-18030         JOHNSON LAW GROUP
VAN OORT, SUZANNE         NJ - USDC for the District of New Jersey   3:21-cv-03874         JOHNSON LAW GROUP
VANDERHAM, DANIELLE       NJ - Superior Court - Atlantic County      ATL-L-000275-21       JOHNSON LAW GROUP
VANDERHAM, DANIELLE       NJ - USDC for the District of New Jersey   3:21-cv-00739         JOHNSON LAW GROUP
VANDERMEER-JACKSON,
                          NJ - USDC for the District of New Jersey   3:21-cv-01301         JOHNSON LAW GROUP
KATHERINE
VARELA, SUSANA            NJ - USDC for the District of New Jersey   3:21-cv-08635         JOHNSON LAW GROUP
VAUGHN, LISA              NJ - USDC for the District of New Jersey   3:21-cv-13527         JOHNSON LAW GROUP
VEGA, ALICIA              NJ - USDC for the District of New Jersey   3:20-cv-10399         JOHNSON LAW GROUP
VELASQUEZ, LORRINA        NJ - USDC for the District of New Jersey   3:21-cv-16258         JOHNSON LAW GROUP
VERNAY, MARJORIE          NJ - USDC for the District of New Jersey   3:21-cv-16232         JOHNSON LAW GROUP
VIDAL, IVANNA             NJ - USDC for the District of New Jersey   3:18-cv-10363         JOHNSON LAW GROUP
VILLA, CAROLINA           NJ - USDC for the District of New Jersey   3;21-cv-17106         JOHNSON LAW GROUP
VILLALOBOS, MARTHA        NJ - USDC for the District of New Jersey   3:18-cv-02234         JOHNSON LAW GROUP
VINCENT, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-02493         JOHNSON LAW GROUP
VINEYARD, KATHRYN         NJ - USDC for the District of New Jersey   3:21-cv-00960         JOHNSON LAW GROUP
VISCLOSKY, RUTH           NJ - USDC for the District of New Jersey   3:21-cv-16991         JOHNSON LAW GROUP
VISO, VINCEE              NJ - USDC for the District of New Jersey   3:21-cv-15043         JOHNSON LAW GROUP
VOGT, MARION              NJ - USDC for the District of New Jersey   3:21-cv-01297         JOHNSON LAW GROUP
VOSS, DENISE              NJ - USDC for the District of New Jersey   3:20-cv-14404         JOHNSON LAW GROUP
WAGER, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-01732         JOHNSON LAW GROUP
WAGNER, APRIL             NJ - USDC for the District of New Jersey   3:21-cv-06725         JOHNSON LAW GROUP
WAHNEE, TONI              NJ - USDC for the District of New Jersey   3:19-cv-13379         JOHNSON LAW GROUP
WAKEFIELD, KIMBERLY       NJ - USDC for the District of New Jersey   3:21-cv-00889         JOHNSON LAW GROUP
WALKER, CHERIE            NJ - USDC for the District of New Jersey   3:21-cv-18098         JOHNSON LAW GROUP
WALKER, YANA              NJ - USDC for the District of New Jersey   3:21-cv-18394         JOHNSON LAW GROUP
WALLACE, AMMIE            NJ - USDC for the District of New Jersey   3:19-cv-21936         JOHNSON LAW GROUP
WALSH, DORA               NJ - USDC for the District of New Jersey   3:18-cv-02371         JOHNSON LAW GROUP
WALSH, MELISSA            NJ - USDC for the District of New Jersey   3:20-cv-01723         JOHNSON LAW GROUP
WALSH-LENNON, EILISH      NJ - USDC for the District of New Jersey   3:21-cv-06161         JOHNSON LAW GROUP
WARD, GLENNIS             NJ - USDC for the District of New Jersey   3:21-cv-01125         JOHNSON LAW GROUP
WARD, TAMARA              NJ - USDC for the District of New Jersey   3:21-cv-15801         JOHNSON LAW GROUP
WASHINGTON, ARETHA        NJ - USDC for the District of New Jersey   3:20-cv-03687         JOHNSON LAW GROUP
WASHINGTON, SHEILAH       NJ - USDC for the District of New Jersey   3:21-cv-17266         JOHNSON LAW GROUP
WASSON, MARY              NJ - USDC for the District of New Jersey   3:21-cv-08839         JOHNSON LAW GROUP
WATERS, BURNELL           NJ - USDC for the District of New Jersey   3:20-cv-18686         JOHNSON LAW GROUP
WATERSON, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-17928         JOHNSON LAW GROUP
WATTS, EUGENIA            NJ - USDC for the District of New Jersey   3:17-cv-07282         JOHNSON LAW GROUP
WATTS, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-12168         JOHNSON LAW GROUP
WEAVER, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-09045         JOHNSON LAW GROUP
WEBB, CORA                NJ - USDC for the District of New Jersey   3:19-cv-13169         JOHNSON LAW GROUP
WEIGEL, GINGER            NJ - USDC for the District of New Jersey   3:19-cv-09157         JOHNSON LAW GROUP
WEISBROD, JUDITH          NJ - USDC for the District of New Jersey   3:20-cv-17880         JOHNSON LAW GROUP
WEISSER, JANEL            NJ - USDC for the District of New Jersey   3:19-cv-05644         JOHNSON LAW GROUP
WELDING, KELLY            NJ - USDC for the District of New Jersey   3:21-cv-15700         JOHNSON LAW GROUP
WELDON, SHELBY            NJ - USDC for the District of New Jersey   3:20-cv-05550         JOHNSON LAW GROUP
WELLMAN, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-06561         JOHNSON LAW GROUP
WELLS, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-04116         JOHNSON LAW GROUP
WEST, ELIZABETH           NJ - USDC for the District of New Jersey   3:19-cv-19375         JOHNSON LAW GROUP
WEST, LISA                NJ - USDC for the District of New Jersey   3:21-cv-00691         JOHNSON LAW GROUP
WESTERFIELD, ELVA         NJ - USDC for the District of New Jersey   3:21-cv-05395         JOHNSON LAW GROUP
WESTHOFF, REBECCA         NJ - USDC for the District of New Jersey   3:21-cv-09396         JOHNSON LAW GROUP
WESTMAN, FREDA            NJ - USDC for the District of New Jersey   3:21-cv-01282         JOHNSON LAW GROUP
WESTON, MELISSA           NJ - USDC for the District of New Jersey   3:18-cv-11050         JOHNSON LAW GROUP
WHALEN, CATHY             NJ - USDC for the District of New Jersey   3:18-cv-01356         JOHNSON LAW GROUP
WHALEY, GRACE             NJ - USDC for the District of New Jersey   3:21-cv-13716         JOHNSON LAW GROUP
WHEELER, FAYE             NJ - USDC for the District of New Jersey   3:21-cv-03702         JOHNSON LAW GROUP
WHEELER, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-04678         JOHNSON LAW GROUP
WHILE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-00744         JOHNSON LAW GROUP
WHITE, ANDREA             NJ - USDC for the District of New Jersey   3:18-cv-01883         JOHNSON LAW GROUP
WHITE, NATALIE            NJ - USDC for the District of New Jersey   3:20-cv-05571         JOHNSON LAW GROUP
WHITE, PAMELA             NJ - USDC for the District of New Jersey   3:19-cv-02177         JOHNSON LAW GROUP
WHITE, REGINA             NJ - USDC for the District of New Jersey   3:17-cv-13161         JOHNSON LAW GROUP




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          Claimant Name                     State Filed                      Docket Number                 Plaintiff Counsel
WHITE, ROSLYN               NJ - USDC for the District of New Jersey   3:21-cv-15349         JOHNSON LAW GROUP
WHITECOTTON, BRANDY         NJ - USDC for the District of New Jersey   3:17-cv-11028         JOHNSON LAW GROUP
WHITELEY, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-16830         JOHNSON LAW GROUP
WHITTED, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-17046         JOHNSON LAW GROUP
WIGGINS, MIAVA              NJ - USDC for the District of New Jersey   3:20-cv-03622         JOHNSON LAW GROUP
WIGGINS, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-20494         JOHNSON LAW GROUP
WIGGS, ANGILA               NJ - USDC for the District of New Jersey   3:21-cv-16313         JOHNSON LAW GROUP
WILD, RANDY                 NJ - USDC for the District of New Jersey   3:18-cv-02221         JOHNSON LAW GROUP
WILEY, LINAE                NJ - USDC for the District of New Jersey   3:20-cv-00935         JOHNSON LAW GROUP
WILK, IRENA                 NJ - USDC for the District of New Jersey   3:21-cv-17090         JOHNSON LAW GROUP
WILKINSON, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-02994         JOHNSON LAW GROUP
WILLIAMS, ANTRANETTE        NJ - USDC for the District of New Jersey   3:21-cv-16023         JOHNSON LAW GROUP
WILLIAMS, GAYLE             NJ - USDC for the District of New Jersey   3:19-cv-10644         JOHNSON LAW GROUP
WILLIAMS, JEANNETTE         NJ - USDC for the District of New Jersey   3:18-cv-01491         JOHNSON LAW GROUP
WILLIAMS, LORRIE            NJ - USDC for the District of New Jersey   3:20-cv-07309         JOHNSON LAW GROUP
WILLIAMS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-16862         JOHNSON LAW GROUP
WILLIAMS, PENNY             NJ - USDC for the District of New Jersey   3:21-cv-05416         JOHNSON LAW GROUP
WILLIAMS, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-16319         JOHNSON LAW GROUP
WILLIS, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-03520         JOHNSON LAW GROUP
WILLMORE, VALERIE           NJ - USDC for the District of New Jersey   3:17-cv-03277         JOHNSON LAW GROUP
WILSON, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17927         JOHNSON LAW GROUP
WILSON, NICOLETTE           NJ - USDC for the District of New Jersey   3:21-cv-13376         JOHNSON LAW GROUP
WILSON, RUTH                NJ - USDC for the District of New Jersey   3:20-cv-14365         JOHNSON LAW GROUP
WINSTEL, LORI               NJ - USDC for the District of New Jersey   3:18-cv-01330         JOHNSON LAW GROUP
WINSTON, MARY               NJ - USDC for the District of New Jersey   3:21-cv-13920         JOHNSON LAW GROUP
WITHERINGTON, SHELBA        NJ - USDC for the District of New Jersey   3:21-cv-14596         JOHNSON LAW GROUP
WITSOE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-08568         JOHNSON LAW GROUP
WITTWER, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-01485         JOHNSON LAW GROUP
WOLF, BEVERLY               NJ - USDC for the District of New Jersey   3:21-cv-15693         JOHNSON LAW GROUP
WOODRUFF, CINDY             NJ - USDC for the District of New Jersey   3:18-cv-01514         JOHNSON LAW GROUP
WOOTEN, CATHERINE           NJ - USDC for the District of New Jersey   3:18-cv-02032         JOHNSON LAW GROUP
WORKMAN, LESLIE             NJ - USDC for the District of New Jersey   3:20-cv-10550         JOHNSON LAW GROUP
WRIGHT, ANNA                NJ - USDC for the District of New Jersey   3:21-cv-16640         JOHNSON LAW GROUP
WRIGHT, BELINDA             NJ - USDC for the District of New Jersey   3:21-cv-04545         JOHNSON LAW GROUP
WRIGHT, BILLIE              NJ - USDC for the District of New Jersey   3:21-cv-14394         JOHNSON LAW GROUP
WRIGHT, HELEN               NJ - USDC for the District of New Jersey   3:20-cv-03130         JOHNSON LAW GROUP
WRIGHT, JE NAE              NJ - USDC for the District of New Jersey   3:21-cv-13663         JOHNSON LAW GROUP
WRIGHT, LISA                NJ - USDC for the District of New Jersey   3:17-cv-12855         JOHNSON LAW GROUP
WU, GUI                     NJ - USDC for the District of New Jersey   3:20-cv-18794         JOHNSON LAW GROUP
YARBROUGH, ASIA             NJ - USDC for the District of New Jersey   3:20-cv-20470         JOHNSON LAW GROUP
YESTER, JENNIFER            NJ - USDC for the District of New Jersey   3:18-cv-01336         JOHNSON LAW GROUP
YOCUM, PENNY                NJ - USDC for the District of New Jersey   3:20-cv-03696         JOHNSON LAW GROUP
YORK, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-21542         JOHNSON LAW GROUP
YORK, SUSAN                 NJ - USDC for the District of New Jersey   3:18-cv-17249         JOHNSON LAW GROUP
YOUNG, BRENDA               NJ - USDC for the District of New Jersey   3:19-cv-14566         JOHNSON LAW GROUP
YOUNG, DONCELLA             NJ - USDC for the District of New Jersey   3:18-cv-01507         JOHNSON LAW GROUP
YOUNG, ILENE                NJ - USDC for the District of New Jersey   3:17-cv-06708         JOHNSON LAW GROUP
YOUNG, TERESITA             NJ - USDC for the District of New Jersey   3:21-cv-01856         JOHNSON LAW GROUP
YOUNG-RUSS, LANITA          NJ - USDC for the District of New Jersey   3:21-cv-14288         JOHNSON LAW GROUP
YUPANQUI, DINORA            NJ - USDC for the District of New Jersey   3:20-cv-01792         JOHNSON LAW GROUP
ZABLAN, LUCIENNE            NJ - USDC for the District of New Jersey   3:21-cv-02522         JOHNSON LAW GROUP
ZAMBERLAN, LYNN             NJ - USDC for the District of New Jersey   3:18-cv-02526         JOHNSON LAW GROUP
ZAMNUIK, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-02358         JOHNSON LAW GROUP
ZAMORA, VICTORIA            NJ - USDC for the District of New Jersey   3:20-cv-10535         JOHNSON LAW GROUP
ZAWISTOWSKI, PAMELA         NJ - USDC for the District of New Jersey   3:18-cv-02530         JOHNSON LAW GROUP
ZIMMERMAN, HONG             NJ - USDC for the District of New Jersey   3:18-cv-03076         JOHNSON LAW GROUP
ZINGARELLI, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-14625         JOHNSON LAW GROUP
ZUCCONI, LAUREN             NJ - Superior Court - Atlantic County      ATL-L-000775-21       JOHNSON LAW GROUP
ZULAICA, ANDREA             NJ - USDC for the District of New Jersey   3:18-cv-02153         JOHNSON LAW GROUP
ZWALD, KATHY                NJ - USDC for the District of New Jersey   3:18-cv-01345         JOHNSON LAW GROUP
GAUTIER, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-12848         JONES WARD PLC
HUGHES-WALKER, MARY         NJ - USDC for the District of New Jersey   3:17-cv-12844         JONES WARD PLC
SORRELS, CYNTHIA            NJ - USDC for the District of New Jersey   3:17-cv-12847         JONES WARD PLC
DIAMOND, LINDA              NJ - USDC for the District of New Jersey   3:21-md-00004         JUSTICE LAW
ESCLOVON, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-12560         JUSTINIAN & ASSOCIATES PLLC
MCCROSKIE, DANA             NJ - USDC for the District of New Jersey   3:19-cv-12607         JUSTINIAN & ASSOCIATES PLLC
SMITH, SHERRY               NJ - USDC for the District of New Jersey   3:19-cv-12608         JUSTINIAN & ASSOCIATES PLLC
THACKER, JOYCE              NJ - USDC for the District of New Jersey   3:19-cv-12591         JUSTINIAN & ASSOCIATES PLLC
WILLIAMS, URSULA            NJ - USDC for the District of New Jersey   3:19-cv-12605         JUSTINIAN & ASSOCIATES PLLC
PARMER, BARBARA             NJ - USDC for the District of New Jersey   3:18-cv-00608         KAHN WIKSTROM & SININS, P.C.
SMITH, SHIRLEY              NJ - USDC for the District of New Jersey   3:19-cv-00104         KAPUSTA DEIHL & SCHWEERS, LLC
HVIZDOS, RUTHANN            NJ - USDC for the District of New Jersey   3:17-cv-00047         KARON LLC
BURY, ANN                   NJ - USDC for the District of New Jersey   3:19-cv-17751         KARR TUTTLE CAMPBELL
YOUNG, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-02403         KARSMAN, MCKENZIE & HART
ANDERSON, LISA              NJ - Superior Court - Middlesex County     MID-L-00769-20AS      KARST & VON OISTE, LLP
BALT, PATRICIA AND BAPP,
                            NY - Supreme Court - NYCAL                 190126/2021           KARST & VON OISTE, LLP
RONALD
COVEN, BETTY E.             NY - Supreme Court - NYCAL                 190101/2019           KARST & VON OISTE, LLP
DAPICE, FRANCIS & DAPICE,
                            NY - Supreme Court - Westchester County    62317/2021            KARST & VON OISTE, LLP
MAUREEN H




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          Claimant Name                            State Filed                      Docket Number                Plaintiff Counsel
DAWOOD, KAWAB GEORGE AND
                                 NJ - Superior Court - Middlesex County        MID-L-003693-20      KARST & VON OISTE, LLP
DAWOOD, NABIL
DAY, WILLIAM E. III AND DAY,
                                 MO - Circuit Court - City of St. Louis        2122-CC00581         KARST & VON OISTE, LLP
LAURA
FOUCH, T & FOUCH, K EST OF KATIE
                                 MI - Circuit Court - Wayne County             21-007997-NP         KARST & VON OISTE, LLP
FOUCH
GANTMAN, MURIEL C & GANTMAN,
                                 MO - Circuit Court - City of St. Louis        1922-CC11781         KARST & VON OISTE, LLP
STANLEY H
GRAHAM, SCOTT ESTATE OF
                                 NY - Supreme Court - NYCAL                    190072/2021          KARST & VON OISTE, LLP
PATRICIA GRAHAM
HARRAH, TINA RE: HARRAH,
                                 MO - Circuit Court - City of St. Louis        2022-CC00696         KARST & VON OISTE, LLP
STEVEN
HYATT, SUN YE AND HYATT,
                                 OK - District Court - Oklahoma County         CJ-2021-27           KARST & VON OISTE, LLP
CHARLES
JENNINGS, AMY AND JENNINGS,
                                 NY - Supreme Court - Rensselear County        2020-267643          KARST & VON OISTE, LLP
SCOTT
JOACHIM, DONNA ET. AL            MI - Circuit Court - Wayne County             18-014392-NP         KARST & VON OISTE, LLP
LARRY, PEROUTKA, DIANE LARRY,
                                 IL - Circuit Court - Madison County           17-L-1589            KARST & VON OISTE, LLP
AND
MISKOFF, LAURIE ESTATE OF
                                 NY - Supreme Court - NYCAL                    190074/2020          KARST & VON OISTE, LLP
MURARY BECK
OCONNELL, LORETTA AND
                                 NY - Supreme Court - NYCAL                    190237/2020          KARST & VON OISTE, LLP
OCONNELL, JOHN
SALCIDO, MARY AND SALCIDO,
                                 AZ - Superior Court - Pima County             C20210431            KARST & VON OISTE, LLP
FRANK
SCHULTZE, HEIDELINDE &
                                 NY - Supreme Court - NYCAL                    190187/2019          KARST & VON OISTE, LLP
SCHULTZE, RICHARD
SPINKS, SHARON                   MN - District Court - Ramsey County           62-CV-17526          KARST & VON OISTE, LLP
WASHINGTON, CHARLES              MO - Circuit Court - City of St. Louis        2122-CC09203         KARST & VON OISTE, LLP
BOWLIN, NORMA EST OF GARY        SC - Court of Common Pleas - Richland
                                                                               2020-CP-4002692      KASSEL MCVEY
MOSS                             County
HOOD, ANGELA EST OF MARY         SC - Court of Common Pleas - Charleston
                                                                               2020CP1003946        KASSEL MCVEY
MCBRAYER                         County
                                 SC - Court of Common Pleas - Richland
PICKLESIMER, ROBERT                                                            2020CP4002868        KASSEL MCVEY
                                 County
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
BARKLEY, SUSAN S.                   CA - Superior Court - Alameda County       RG20066950
                                                                                                    GREENWOOD
DAUGHERTY, JAMES AND                                                                                KAZAN, MCCLAIN, SATTERLEY &
                                    CA - Superior Court - Alameda County       RG19013937
DAUGHERTY ALISON                                                                                    GREENWOOD
DOYLE, DANIEL C AND DOYLE,                                                                          KAZAN, MCCLAIN, SATTERLEY &
                                    CA - Superior Court - Santa Clara          18CV333609
KRISTIE LYNN                                                                                        GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
EGLI, MEREDITH                      CA - Superior Court - Alameda County       RG20075272
                                                                                                    GREENWOOD
ELIZABETH, LEAVITT TERESA &                                                                         KAZAN, MCCLAIN, SATTERLEY &
                                    CA - Superior Court - Alameda County       RG17882401
MCELROY, DEAN                                                                                       GREENWOOD
HAYES, CYNTHIA ESTATE OF                                                                            KAZAN, MCCLAIN, SATTERLEY &
                                    KY - Circuit Court - Jefferson County      16-CI-03503
DONNA A HAYES                                                                                       GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
HELO, NAWAL B.                      CA - Superior Court - Alameda County       RG20064440
                                                                                                    GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
HILL, VINCENT                       CA - Superior Court - Alameda County       RG21099490
                                                                                                    GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
PRUDENCIO, CHRISTINA G.             CA - Superior Court - Alameda County       RG20061303
                                                                                                    GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
REID-CARREIRO, KATHRYN              CA - Superior Court - Alameda County       RG21105189
                                                                                                    GREENWOOD
REYES, ROSALINO III AND REYES,                                                                      KAZAN, MCCLAIN, SATTERLEY &
                                    CA - Superior Court - Alameda County       RG20052391
GEMMA                                                                                               GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
SCHMITZ, ASHLEY LEIGH               CA - Superior Court - Alameda County       RG20048957
                                                                                                    GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
SCHMITZ, PATRICIA                   CA - Superior Court - Alameda County       RG18923615
                                                                                                    GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
VANKLIVE, NEDELKA                   CA - Superior Court - Alameda County       RG20062734
                                                                                                    GREENWOOD
                                                                                                    KAZAN, MCCLAIN, SATTERLEY &
VANKLIVE, NEDELKA                   CA - Superior Court - Alameda County       RG20062734
                                                                                                    GREENWOOD
ROSSIGNOL, SONYA                    NJ - USDC for the District of New Jersey   3:18-cv-10617        KAZAROSIAN COSTELLO LLP
JOY-NOWICKI, SUSAN                  NJ - USDC for the District of New Jersey   3:18-cv-10606        KECHES LAW GROUP, P.C.
AGER, STELLA                        NJ - Superior Court - Atlantic County      ATL-L-151-18         KEEFE BARTELS
ANDERSON, SANDRA                    NJ - Superior Court - Atlantic County      ATL-L-2427-17        KEEFE BARTELS
BRYANT, WENDY                       NJ - Superior Court - Atlantic County      ATL-L-134-18         KEEFE BARTELS
BURDEN-DAVIS, JOANNE                NJ - Superior Court - Atlantic County      ATL-L-26-18          KEEFE BARTELS
CRAIN, STACEY                       NJ - Superior Court - Atlantic County      ATL-L-357-18         KEEFE BARTELS
CRUZ, NIRMA                         NJ - Superior Court - Atlantic County      ATL-L-133-18         KEEFE BARTELS
DAWSON, PASSION                     NJ - Superior Court - Atlantic County      ATL-L-2433-17        KEEFE BARTELS
DUGAS, JUANITA                      NJ - Superior Court - Atlantic County      ATL-L-2462-17        KEEFE BARTELS
EBERHARDT, JANICE                   NJ - Superior Court - Atlantic County      ATL-L-2700-17        KEEFE BARTELS
ELLIS, ANNIE                        NJ - Superior Court - Atlantic County      ATL-L-150-18         KEEFE BARTELS
FABRIZIO, PATRICIA                  NJ - Superior Court - Atlantic County      ATL-L-108-18         KEEFE BARTELS
FITZSIMMONS, CAROL                  NJ - Superior Court - Atlantic County      ATL-L-430-18         KEEFE BARTELS
FREEMAN, BENNETTA                   NJ - Superior Court - Atlantic County      ATL-L-434-18         KEEFE BARTELS




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           Claimant Name                         State Filed                     Docket Number                    Plaintiff Counsel
GONXHE, KIMBERLY                NJ - Superior Court - Atlantic County      ATL-L-429-18              KEEFE BARTELS
GREER, LATISIA                  NJ - Superior Court - Atlantic County      ATL-L-2471-17             KEEFE BARTELS
HAMMONDS, LIZZIE                NJ - Superior Court - Atlantic County      ATL-L-149-18              KEEFE BARTELS
HARRISON, MARY                  NJ - Superior Court - Atlantic County      ATL-L-381-18              KEEFE BARTELS
HESS, GLORIA                    NJ - Superior Court - Atlantic County      ATL-L-2662-17             KEEFE BARTELS
HILTON, THERESA                 NJ - Superior Court - Atlantic County      ATL-L-2429-17             KEEFE BARTELS
HOWARD, JOEDAJA                 NJ - Superior Court - Atlantic County      ATL-L-2192-17             KEEFE BARTELS
HUMPHREY, CAROLINE              NJ - Superior Court - Atlantic County      ATL-L-2503-17             KEEFE BARTELS
JACKSON, LISA                   NJ - Superior Court - Atlantic County      ATL-L-2701-17             KEEFE BARTELS
JOHNSON, GUADALUPE              NJ - Superior Court - Atlantic County      ATL-L-431-18              KEEFE BARTELS
JONES, KAREN                    NJ - Superior Court - Atlantic County      ATL-L-2454-17             KEEFE BARTELS
KLIMES, JACQUELIN               NJ - Superior Court - Atlantic County      ATL-L-2626-17             KEEFE BARTELS
KOONTZ, FREDA                   NJ - Superior Court - Atlantic County      ATL-L-2714-17             KEEFE BARTELS
LOMAS, MARYHELEN                NJ - Superior Court - Atlantic County      ATL-L-2705-17             KEEFE BARTELS
LOPEZ, DARLENE                  NJ - Superior Court - Atlantic County      ATL-L-2629-17             KEEFE BARTELS
MAGANA, GUADALUPE               NJ - Superior Court - Atlantic County      ATL-L-2193-17             KEEFE BARTELS
MILLER, EDEN                    NJ - Superior Court - Atlantic County      ATL-L-2699-17             KEEFE BARTELS
MOBLEY, DOROTHY                 NJ - Superior Court - Atlantic County      ATL-L-130-18              KEEFE BARTELS
MOORE, GRACE                    NJ - Superior Court - Atlantic County      ATL-L-148-18              KEEFE BARTELS
MUNGLE, CONNIE                  NJ - Superior Court - Atlantic County      ATL-L-2474-17             KEEFE BARTELS
OBRIEN, HELENE                  NJ - Superior Court - Atlantic County      ATL-L-2439-17             KEEFE BARTELS
PHILLIPS, BEVERLY               NJ - Superior Court - Atlantic County      ATL-L-2663-17             KEEFE BARTELS
PHILLIPS, MARY                  NJ - Superior Court - Atlantic County      ATL-L-428-18              KEEFE BARTELS
RINGER, EDITH                   NJ - Superior Court - Atlantic County      ATL-L-432-18              KEEFE BARTELS
ROSE, ARLENE                    NJ - Superior Court - Atlantic County      ATL-L-2703-17             KEEFE BARTELS
RUSSELL, LATRESA                NJ - Superior Court - Atlantic County      ATL-L-2443-17             KEEFE BARTELS
SEGREAVES, JULIE                NJ - USDC for the District of New Jersey   3:16-cv-09119             KEEFE BARTELS
THOMAS, STEPHANIE               NJ - Superior Court - Atlantic County      ATL-L-2722-17             KEEFE BARTELS
THORLTON, VERNICE               NJ - Superior Court - Atlantic County      ATL-L-2715-17             KEEFE BARTELS
THORNSBERRY, OKLA               NJ - Superior Court - Atlantic County      ATL-L-433-18              KEEFE BARTELS
VEGGE, ROSEMARY                 NJ - Superior Court - Atlantic County      ATL-L-2704-17             KEEFE BARTELS
WELCH, COREYONNA                NJ - Superior Court - Atlantic County      ATL-L-2460-17             KEEFE BARTELS
YATES, EUNICE                   NJ - Superior Court - Atlantic County      ATL-L-358-18              KEEFE BARTELS
GARRETT, BUHL,                  NJ - Superior Court - Middlesex County     MID-L-01792-16AS          KEEFE LAW FIRM
ADAMS, DELORES                  NJ - USDC for the District of New Jersey   3:21-cv-00803             KELLEY & FERRARO, LLP
BENIAMEN, YOUANNA               NJ - USDC for the District of New Jersey   3:20-cv-19497             KELLEY & FERRARO, LLP
FORMAN, JEFFREY A ESTATE OF D   OH - Court of Common Please - Cuyahoga
                                                                           CV21942837                KELLEY & FERRARO, LLP
FAHRENBACH                      County
MURPHY, KERRY AND MURPHY,       OH - Court of Common Please - Cuyahoga
                                                                           CV-21-953284              KELLEY & FERRARO, LLP
MICHAEL                         County
BAILIFF, COLLEEN                FL - Circuit Court - Broward County        CACE19004206              KELLEY UUSTAL, PLC
BOWERS, ELISA                   FL - Circuit Court - Broward County        CACE19026216              KELLEY UUSTAL, PLC
FITZHUGH, BETTY                 FL - Circuit Court - Broward County        CACE19001150              KELLEY UUSTAL, PLC
GELLEPIS, KEITH                 FL - Circuit Court - Broward County        CACE20018796              KELLEY UUSTAL, PLC
HENRIE, LINDA                   FL - Circuit Court - Broward County        CACE19003579              KELLEY UUSTAL, PLC
JIMENEZ, LOURDES                FL - Circuit Court - Broward County        CACE-19-009230            KELLEY UUSTAL, PLC
KANER, LINDA                    FL - Circuit Court - Broward County        CACE200143461             KELLEY UUSTAL, PLC
LEONARD, BARBARA                FL - Circuit Court - Broward County        CACE-20-021156            KELLEY UUSTAL, PLC
ORTIZ, SONIA                    FL - Circuit Court - Broward County        CACE17015669              KELLEY UUSTAL, PLC
RANSFORD, JENNIFER              FL - Circuit Court - Broward County        CACE19000142              KELLEY UUSTAL, PLC
SMITH, JANET                    FL - Circuit Court - Broward County        CACE-19-009180            KELLEY UUSTAL, PLC
SMITH, SHARON                   FL - Circuit Court - Broward County        CACE19011771              KELLEY UUSTAL, PLC
SWING, LOUISE                   FL - Circuit Court - Broward County        CACE-21-004162            KELLEY UUSTAL, PLC
WEATHERS, MARY                  FL - Circuit Court - Broward County        CACE19024382              KELLEY UUSTAL, PLC
WHITAKER, HELEN                 FL - Circuit Court - Broward County        CACE17016664              KELLEY UUSTAL, PLC
WILLINK, SHERYL                 FL - Circuit Court - Broward County        CACE-20-016317            KELLEY UUSTAL, PLC
CASARETTO, ALBERTO              FL - Circuit Court - Broward County        CACE-18-028502            KELLEY/UUSTAL, PLC
CAVANAUGH, JUDITH               NJ - USDC for the District of New Jersey   3:18-cv-08492             KENNY & KENNY, PLLC
MENDOZA, ANNETTE                NJ - USDC for the District of New Jersey   3:18-cv-09376             KENT M. LUCACCIONI, LTD.
HLAVSA, MICHELLE                NJ - USDC for the District of New Jersey   3:17-cv-03505             KIBBEY AND WAGNER
ADAMS, PATRICIA                 NJ - USDC for the District of New Jersey   3:17-cv-11455             KIESEL LAW, LLP
ANDERSON, JANET                 CA - Superior Court - Santa Clara County   18CV327583                KIESEL LAW, LLP
BARKER, ANDREA                  CA - Superior Court - Santa Clara County   18CV331103                KIESEL LAW, LLP
BROCK, LATISHA                  NJ - USDC for the District of New Jersey   3:19-cv-17168             KIESEL LAW, LLP
CALDERON, ELEANOR               CA - Superior Court - Santa Clara County   18CV327516                KIESEL LAW, LLP
CORDER, JAMIE                   NJ - USDC for the District of New Jersey   3:19-cv-16476             KIESEL LAW, LLP
CUNNINGHAM, NORMA               CA - Superior Court - Santa Clara County   18CV327526                KIESEL LAW, LLP
DANTINNE, TERESITA              CA - Superior Court - Santa Clara County   18CV327533                KIESEL LAW, LLP
DAVIS, DEBBIE                   CA - Superior Court - Santa Clara County   17CV318660                KIESEL LAW, LLP
DAY, MELISSA                    CA - Superior Court - Santa Clara County   18CV323999                KIESEL LAW, LLP
DAZEN, JEANETTE                 NJ - USDC for the District of New Jersey   3:19-cv-17587             KIESEL LAW, LLP
DETAR, EVELYN                   NJ - USDC for the District of New Jersey   3:19-cv-18074             KIESEL LAW, LLP
DOUGHERTY, DEBRA                CA - Superior Court - Santa Clara County   18CV339072                KIESEL LAW, LLP
ENG-MAXWELL, JEAN               CA - Superior Court - San Diego County     37-2017-43908-CU-PL-NC    KIESEL LAW, LLP
ESWAY, PEGGY                    CA - Superior Court - Santa Clara County   18CV322148                KIESEL LAW, LLP
FELDMANN, TERRI                 CA - Superior Court - Santa Clara County   18CV331116                KIESEL LAW, LLP
                                                                           37-2017-00032641-CU-PL-
FOSTER, LOTTIE                  CA - Superior Court - San Diego County                               KIESEL LAW, LLP
                                                                           NC
FRASER, NICOLE                  NJ - USDC for the District of New Jersey   3:20-cv-13545             KIESEL LAW, LLP
FULTON, HOLLI                   NJ - USDC for the District of New Jersey   3:19-cv-13915             KIESEL LAW, LLP




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          Claimant Name                     State Filed                      Docket Number                     Plaintiff Counsel
GALLOWAY, YVONNE            CA - Superior Court - Santa Clara County   18CV323998                KIESEL LAW, LLP
GAMBINO, CHRISTINA          CA - Superior Court - Santa Clara County   18CV324488                KIESEL LAW, LLP
GOINGS, MARILOU             CA - Superior Court - Santa Clara County   18CV323995                KIESEL LAW, LLP
GOULD, DALPHINA             NJ - USDC for the District of New Jersey   3:19-cv-06856             KIESEL LAW, LLP
GRAYSON, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-06854             KIESEL LAW, LLP
GUERRERO, PETRA             CA - Superior Court - Los Angeles County   BC690778                  KIESEL LAW, LLP
GUINN, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-17588             KIESEL LAW, LLP
HAMEL, LINDA                CA - Superior Court - Santa Clara County   17CV318674                KIESEL LAW, LLP
HATANAKA, SARA              CA - Superior Court - Los Angeles County   BC624643                  KIESEL LAW, LLP
HAYES, SHARON               NJ - USDC for the District of New Jersey   3:19-cv-13899             KIESEL LAW, LLP
HIGH, MARLENE               CA - Superior Court - Santa Clara County   18CV327536                KIESEL LAW, LLP
HILL-ESCOBEDO, NITA         CA - Superior Court - Santa Clara County   18CV333671                KIESEL LAW, LLP
HOLLIS, LINDA               CA - Superior Court - Santa Clara County   18CV324329                KIESEL LAW, LLP
HOWARD, LAKISHIA            CA - Superior Court - Santa Clara County   17CV318663                KIESEL LAW, LLP
HUSMAN, HEIDI               CA - Superior Court - Santa Clara County   17CV318667                KIESEL LAW, LLP
HYLAND, CHERYL              NJ - USDC for the District of New Jersey   3:19-cv-18885             KIESEL LAW, LLP
JAMES, RHONDA               NJ - USDC for the District of New Jersey   3:19-cv-14421             KIESEL LAW, LLP
JOHNSON, CAROLINA           CA - Superior Court - Los Angeles County   BC694135                  KIESEL LAW, LLP
JOHNSON, SHARON             CA - Superior Court - Alameda County       RG21087966                KIESEL LAW, LLP
JONES, KATHRYN              CA - Superior Court - Santa Clara County   17CV318668                KIESEL LAW, LLP
KELLY, SUSAN                CA - Superior Court - Fresno County        16CECG03244               KIESEL LAW, LLP
KENT, MONICA                CA - Superior Court - Santa Clara County   17CV318672                KIESEL LAW, LLP
KHAZZAKA, ALICE             CA - Superior Court - Santa Clara County   17CV318673                KIESEL LAW, LLP
KRAJCIK, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-00982             KIESEL LAW, LLP
LADNER, TONIA               NJ - USDC for the District of New Jersey   3:19-cv-13439             KIESEL LAW, LLP
LAFRANCE, EULA              NJ - USDC for the District of New Jersey   3:19-cv-06853             KIESEL LAW, LLP
LANDES, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-11456             KIESEL LAW, LLP
LAPERE, BERNARDINA          NJ - USDC for the District of New Jersey   3:17-cv-11457             KIESEL LAW, LLP
LEE, ANNIE                  CA - Superior Court - Los Angeles County   BC623923                  KIESEL LAW, LLP
LIVINGSTON, KATHRYN         CA - Superior Court - Santa Clara County   18CV332884                KIESEL LAW, LLP
LONG, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-17530             KIESEL LAW, LLP
LOO-LEW, CAROLINE           NJ - USDC for the District of New Jersey   3:20-cv-00584             KIESEL LAW, LLP
LOPEZ, ROSA                 CA - Superior Court - Santa Clara County   18CV322211                KIESEL LAW, LLP
LYNCH, LADONNA              CA - Superior Court - Santa Clara County   17CV318678                KIESEL LAW, LLP
MALKIEWICZ, GINA            CA - Superior Court - Santa Clara County   18CV331107                KIESEL LAW, LLP
MARRACHE, YVIE              NJ - USDC for the District of New Jersey   3:19-cv-14337             KIESEL LAW, LLP
MARTINEZ, MARIA             CA - Superior Court - Santa Clara County   17CV318716                KIESEL LAW, LLP
MCCLINTOCK, VIRGINIA        NJ - USDC for the District of New Jersey   3:19-cv-15392             KIESEL LAW, LLP
MEDINA, ROSA                NJ - USDC for the District of New Jersey   3:19-cv-21076             KIESEL LAW, LLP
MEGHANA, JOSHI              CA - Superior Court - Los Angeles County   JCCP4872                  KIESEL LAW, LLP
MENDOZA, MARIA              NJ - USDC for the District of New Jersey   3:19-cv-17533             KIESEL LAW, LLP
MITCHELL, JANE              NJ - USDC for the District of New Jersey   3:19-cv-15425             KIESEL LAW, LLP
MITCHELL, LINDA             CA - Superior Court - Santa Clara County   17CV318679                KIESEL LAW, LLP
MONIA, JANER                NJ - USDC for the District of New Jersey   3:19-cv-17586             KIESEL LAW, LLP
MONZON, MARIA               CA - Superior Court - Santa Clara County   17CV318680                KIESEL LAW, LLP
MOON-GAINES, HELEN          NJ - USDC for the District of New Jersey   3:19-cv-16382             KIESEL LAW, LLP
MOORE, LOUISE               CA - Superior Court - Santa Clara County   17CV318684                KIESEL LAW, LLP
MORALES, NAOMI              CA - Superior Court - Santa Clara County   17CV318688                KIESEL LAW, LLP
MORGAN, MARY                CA - Superior Court - Santa Clara County   18CV330990                KIESEL LAW, LLP
MUSGRAVE, GAYLE             CA - Superior Court - Santa Clara County   18CV321873                KIESEL LAW, LLP
NICKALOFF, LANA             CA - Superior Court - Alameda County       HG17878348                KIESEL LAW, LLP
NICKERSON, BEA              CA - Superior Court - Orange County        00879323CXC               KIESEL LAW, LLP
OHARA, LORI                 CA - Superior Court - Santa Clara County   17CV318695                KIESEL LAW, LLP
OTIS, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-13913             KIESEL LAW, LLP
OVERSTREET, VIVIAN          NJ - USDC for the District of New Jersey   3:19-cv-15007             KIESEL LAW, LLP
PALACIOS, VICTORIA          CA - Superior Court - Santa Clara County   17CV318697                KIESEL LAW, LLP
PERAULT, JOANNE             NJ - USDC for the District of New Jersey   3:21-cv-01146             KIESEL LAW, LLP
PEREGRINA, FELICIA          CA - Superior Court - Santa Clara County   17CV318704                KIESEL LAW, LLP
PEREZ, LINDA                CA - Superior Court - Santa Clara County   18CV324505                KIESEL LAW, LLP
PEREZ, SYLVIA               NJ - USDC for the District of New Jersey   3:19-cv-21337             KIESEL LAW, LLP
PETERS, BELINDA             CA - Superior Court - Santa Clara County   17CV318705                KIESEL LAW, LLP
PETERSON, JANET             CA - Superior Court - Butte County         17CV02548                 KIESEL LAW, LLP
PIZZONI, VENUS              CA - Superior Court - Los Angeles County   18CV339081                KIESEL LAW, LLP
POSEY, JANNAE               CA - Superior Court - Santa Clara County   17CV318707                KIESEL LAW, LLP
POWELL, DOROTHY             CA - Superior Court - Santa Clara County   18CV327496                KIESEL LAW, LLP
QUIGLEY, ROBIN              CA - Superior Court - Santa Clara County   18CV333574                KIESEL LAW, LLP
RADBILL, NATALIE            NJ - USDC for the District of New Jersey   3:19-cv-16389             KIESEL LAW, LLP
RIMP, PAULINE               CA - Superior Court - Santa Clara County   17CV318710                KIESEL LAW, LLP
                                                                       56-2016-00486115-CU-PL-
ROBERSON, CHARLOTTE         CA - Superior Court - Ventura County                                 KIESEL LAW, LLP
                                                                       VTA
SABELLA, OLINDA             CA - Superior Court - Santa Clara County   18CV331379                KIESEL LAW, LLP
SALAMANCA, SILVIA           CA - Superior Court - Santa Clara County   18CV327582                KIESEL LAW, LLP
SANCHEZ, YVONNE             NJ - USDC for the District of New Jersey   3:19-cv-14419             KIESEL LAW, LLP
SCHROERS, SANDRA            CA - Superior Court - Santa Clara County   18CV323997                KIESEL LAW, LLP
SENA-HERNANDEZ, CHRISTINA   NJ - USDC for the District of New Jersey   3:19-cv-16241             KIESEL LAW, LLP
SERRANO, LINDA              CA - Superior Court - Santa Clara County   18CV333343                KIESEL LAW, LLP
SETZER, CANDY               CA - Superior Court - Santa Clara County   17CV318712                KIESEL LAW, LLP
SIMMONS, TAMMY              NJ - USDC for the District of New Jersey   3:19-cv-17939             KIESEL LAW, LLP
SKINNER, DEBRA              CA - Superior Court - Santa Clara County   17CV318720                KIESEL LAW, LLP
SMITH, MARIANNE             CA - Superior Court - Santa Clara County   17CV318723                KIESEL LAW, LLP




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          Claimant Name                    State Filed                      Docket Number                 Plaintiff Counsel
SMITH, PATRICIA            CA - Superior Court - Santa Clara County   17CV318724            KIESEL LAW, LLP
STEELE, GAIL               CA - Superior Court - Santa Clara County   17CV318726            KIESEL LAW, LLP
STEVENS, GWENDOLYN         NJ - USDC for the District of New Jersey   3:18-cv-02080         KIESEL LAW, LLP
STORY, BARBARA             CA - Superior Court - Santa Clara County   17CV318722            KIESEL LAW, LLP
TEMPLE, BONNIE             CA - Superior Court - Santa Clara County   17CV318719            KIESEL LAW, LLP
TRAYLOR, KELLY             CA - Superior Court - Santa Clara County   17CV318708            KIESEL LAW, LLP
VAY, BARBARA               CA - Superior Court - Los Angeles County   BC638651              KIESEL LAW, LLP
VERA, VICTORIA             CA - Superior Court - Santa Clara County   17CV318706            KIESEL LAW, LLP
VINES, TERESA              NJ - USDC for the District of New Jersey   3:19-cv-17534         KIESEL LAW, LLP
WALKER, MICHELLE           CA - Superior Court - Santa Clara County   17CV318685            KIESEL LAW, LLP
WALLACE, PANILLA           NJ - USDC for the District of New Jersey   3:19-cv-17589         KIESEL LAW, LLP
WATERS, JOANNA             CA - Superior Court - Santa Clara County   18CV324514            KIESEL LAW, LLP
WHITEHEAD, AMELIA          NJ - USDC for the District of New Jersey   3:19-cv-21318         KIESEL LAW, LLP
WILBURN, MELA              NJ - USDC for the District of New Jersey   3:19-cv-06857         KIESEL LAW, LLP
WILKINSON, JOSEPHINE       NJ - USDC for the District of New Jersey   3:19-cv-19264         KIESEL LAW, LLP
WILLIAMS, ROBIN            CA - Superior Court - Santa Clara County   18CV333605            KIESEL LAW, LLP
WILLIAMS, SUZANNA          NJ - USDC for the District of New Jersey   3:19-cv-13438         KIESEL LAW, LLP
WILLIAMS-PERKINS, PAMELA   CA - Superior Court - Santa Clara County   17CV318682            KIESEL LAW, LLP
WILLS, KATHRYN             CA - Superior Court - Santa Clara County   17CV318656            KIESEL LAW, LLP
WORLEY, DOROTHY            NJ - USDC for the District of New Jersey   3:19-cv-17932         KIESEL LAW, LLP
WYLLIE, JOAN               CA - Superior Court - Riverside County     RIC1716489            KIESEL LAW, LLP
ZOELLER, CYNTHIA           NJ - USDC for the District of New Jersey   3:17-cv-11459         KIESEL LAW, LLP
BUVINGER, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-15825         KILLIAN, DAVIS, RICHTER & MAYLE, PC
CARNES, JULIE              NJ - USDC for the District of New Jersey   3:17-cv-07055         KILLIAN, DAVIS, RICHTER & MAYLE, PC
HACKNEY, JUDY              NJ - USDC for the District of New Jersey   3:17-cv-05220         KILLIAN, DAVIS, RICHTER & MAYLE, PC
WARREN, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-17814         KILLIAN, DAVIS, RICHTER & MAYLE, PC
AHMED, KATHRYNE            NJ - USDC for the District of New Jersey   3:20-cv-05988         KIRKENDALL DWYER LLP
AVARY, MARY                NJ - USDC for the District of New Jersey   3:20-cv-05996         KIRKENDALL DWYER LLP
BARONE, LISA               NJ - USDC for the District of New Jersey   3:20-cv-06008         KIRKENDALL DWYER LLP
BETHEA, NICIALE            NJ - USDC for the District of New Jersey   3:20-cv-06014         KIRKENDALL DWYER LLP
HAMBELTON, PATSY           NJ - USDC for the District of New Jersey   3:20-cv-06020         KIRKENDALL DWYER LLP
HICKS, ROBIN               NJ - USDC for the District of New Jersey   3:20-cv-06024         KIRKENDALL DWYER LLP
MORTON, VICTORIA           NJ - USDC for the District of New Jersey   3:20-cv-06035         KIRKENDALL DWYER LLP
NUCKLES, SALLY             NJ - USDC for the District of New Jersey   3:20-cv-06037         KIRKENDALL DWYER LLP
PULLAN, MARIE              NJ - USDC for the District of New Jersey   3:20-cv-06039         KIRKENDALL DWYER LLP
STHAY, DRUCILLA            NJ - USDC for the District of New Jersey   3:20-cv-06041         KIRKENDALL DWYER LLP
STRATTON, VIRGINIA         NJ - USDC for the District of New Jersey   3:20-cv-06047         KIRKENDALL DWYER LLP
THOMPKINS, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-06053         KIRKENDALL DWYER LLP
CRAMER, AMANDA             NJ - USDC for the District of New Jersey   3:21-cv-17608         KIRTLAND & PACKARD, LLP
LIDDLE, LEEANN             NJ - USDC for the District of New Jersey   3:21-cv-17451         KIRTLAND & PACKARD, LLP
MOORE, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-17527         KIRTLAND & PACKARD, LLP
XHAXHO-SKEZAS, AIDA        NJ - USDC for the District of New Jersey   3:21-cv-17619         KIRTLAND & PACKARD, LLP
BURGESS, MELVA             NJ - USDC for the District of New Jersey   3:17-cv-11614         KLEIN FRANK, P.C.
PATTEN, VICTORIA           NJ - USDC for the District of New Jersey   3:17-cv-11610         KLEIN FRANK, P.C.
ACKERMAN, MILDRED          NJ - USDC for the District of New Jersey   3:17-cv-09367         KLINE & SPECTER, P.C.
AHNER, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-15115         KLINE & SPECTER, P.C.
ANANOPULOS, NANCY          NJ - Superior Court - Atlantic County      ATL-001429-20         KLINE & SPECTER, P.C.
ANTONETTI, JANELL          NJ - Superior Court - Atlantic County      ATL-L-003303-20       KLINE & SPECTER, P.C.
BARNER, JESSICA            NJ - USDC for the District of New Jersey   3:20-cv-06022         KLINE & SPECTER, P.C.
BIANCO, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11515         KLINE & SPECTER, P.C.
BISHOP, WINONA             NJ - USDC for the District of New Jersey   3:17-cv-10682         KLINE & SPECTER, P.C.
BOLLINGER, REBECCA         NJ - USDC for the District of New Jersey   3:20-cv-07572         KLINE & SPECTER, P.C.
BOSQUET, NIRKA             NJ - USDC for the District of New Jersey   3:17-cv-05390         KLINE & SPECTER, P.C.
BOYLE, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-14704         KLINE & SPECTER, P.C.
BOZZO, MARY                NJ - Superior Court - Atlantic County      ATL-L-000974-21       KLINE & SPECTER, P.C.
BRAMANTI, CHELSEA          NJ - USDC for the District of New Jersey   3:19-cv-09160         KLINE & SPECTER, P.C.
BRINKLEY, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-02047         KLINE & SPECTER, P.C.
BROOKS, MYRA               NJ - USDC for the District of New Jersey   3:17-cv-12860         KLINE & SPECTER, P.C.
BROWN, ESTHER              NJ - USDC for the District of New Jersey   3:17-cv-12545         KLINE & SPECTER, P.C.
CAIN, DEBORAH              NJ - USDC for the District of New Jersey   3:17-cv-06006         KLINE & SPECTER, P.C.
CAMBRIA, BEVERLY           NJ - USDC for the District of New Jersey   3:17-cv-11513         KLINE & SPECTER, P.C.
CASAZZA, ROSEMARIE         NJ - Superior Court - Atlantic County      ATL-L-000973-21       KLINE & SPECTER, P.C.
CASSEL, ARLENE             NJ - USDC for the District of New Jersey   3:20-cv-10442         KLINE & SPECTER, P.C.
CHAMBERLAIN, GERTRUDE      NJ - USDC for the District of New Jersey   3:21-cv-05870         KLINE & SPECTER, P.C.
CHEN, CUI                  NJ - USDC for the District of New Jersey   3:20-cv-14652         KLINE & SPECTER, P.C.
CHISHOLM, JOYCE            NJ - USDC for the District of New Jersey   3:17-cv-10686         KLINE & SPECTER, P.C.
COREA, PEGGY               NJ - USDC for the District of New Jersey   3:17-cv-10766         KLINE & SPECTER, P.C.
CULVER, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-00384         KLINE & SPECTER, P.C.
CURTIS, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-11511         KLINE & SPECTER, P.C.
DANIEL, THERESA            NJ - USDC for the District of New Jersey   3:18-cv-11798         KLINE & SPECTER, P.C.
DELMAN, JANE               NJ - USDC for the District of New Jersey   3:18-cv-11797         KLINE & SPECTER, P.C.
EDGERTON, NATALIE          NJ - USDC for the District of New Jersey   3:17-cv-10680         KLINE & SPECTER, P.C.
FIORE, HELEN               NJ - USDC for the District of New Jersey   3:17-cv-01094         KLINE & SPECTER, P.C.
GIAMBRONE, LISA            NJ - USDC for the District of New Jersey   3:17-cv-11429         KLINE & SPECTER, P.C.
GLADMAN, DIANE             NJ - USDC for the District of New Jersey   3:17-cv-09450         KLINE & SPECTER, P.C.
GONZALEZ-SED, OLGA         NJ - USDC for the District of New Jersey   3:20-cv-10063         KLINE & SPECTER, P.C.
GRIMSTAD, TAMARA           NJ - USDC for the District of New Jersey   3:20-cv-14684         KLINE & SPECTER, P.C.
HAMILTON, BEULAH           NJ - USDC for the District of New Jersey   3:21-cv-00193         KLINE & SPECTER, P.C.
HARNER, MONA               NJ - USDC for the District of New Jersey   3:21-cv-06028         KLINE & SPECTER, P.C.
HARPER, LARINE             NJ - USDC for the District of New Jersey   3:20-cv-14968         KLINE & SPECTER, P.C.




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          Claimant Name                   State Filed                       Docket Number                Plaintiff Counsel
HEDGCOCK, MARILYN         NJ - USDC for the District of New Jersey    3:21-cv-00356         KLINE & SPECTER, P.C.
KALDROVICS, ELIZABETH     NJ - USDC for the District of New Jersey    3:17-cv-05388         KLINE & SPECTER, P.C.
KEEFFE, DESIREE           NJ - USDC for the District of New Jersey    3:19-cv-11730         KLINE & SPECTER, P.C.
KELLER, CARIE             NJ - USDC for the District of New Jersey    3:21-cv-05954         KLINE & SPECTER, P.C.
KELLY, LAURIE             NJ - USDC for the District of New Jersey    3:20-cv-15192         KLINE & SPECTER, P.C.
KERINS, BERNADETTE        NJ - USDC for the District of New Jersey    3:20-cv-06154         KLINE & SPECTER, P.C.
KINGREE, SARAH            NJ - USDC for the District of New Jersey    3:20-cv-18176         KLINE & SPECTER, P.C.
KINSEY, SUE               NJ - USDC for the District of New Jersey    3:20-cv-12500         KLINE & SPECTER, P.C.
KIRKWOOD, CHRISTY         NJ - USDC for the District of New Jersey    3:21-cv-05973         KLINE & SPECTER, P.C.
KRAWCZYK, SHERYL          NJ - USDC for the District of New Jersey    3:20-cv-07488         KLINE & SPECTER, P.C.
KREBS, KATHLEEN           NJ - USDC for the District of New Jersey    3:21-cv-06427         KLINE & SPECTER, P.C.
LACY, KELLY               NJ - USDC for the District of New Jersey    3:19-cv-19130         KLINE & SPECTER, P.C.
LAWSON, SUSAN             NJ - USDC for the District of New Jersey    3:17-cv-09501         KLINE & SPECTER, P.C.
LEVIN, LOIS               NJ - USDC for the District of New Jersey    3:17-cv-05386         KLINE & SPECTER, P.C.
LICHTIG, RITA             NJ - USDC for the District of New Jersey    3:21-cv-03384         KLINE & SPECTER, P.C.
LLOYD, MARY               NJ - USDC for the District of New Jersey    3:17-cv-09453         KLINE & SPECTER, P.C.
LOVE, TARA                NJ - USDC for the District of New Jersey    3:17-cv-09456         KLINE & SPECTER, P.C.
MARTIN, LINDA             NJ - USDC for the District of New Jersey    3:21-cv-06440         KLINE & SPECTER, P.C.
MCCLURE, HEIDI            NJ - USDC for the District of New Jersey    3:17-cv-05392         KLINE & SPECTER, P.C.
MOLKO, SHIRLEY            NJ - USDC for the District of New Jersey    3:21-cv-05605         KLINE & SPECTER, P.C.
MORGAN, MICHELLE          NJ - USDC for the District of New Jersey    3:21-cv-06516         KLINE & SPECTER, P.C.
MORRIS, JUDITH            NJ - USDC for the District of New Jersey    3:21-cv-06691         KLINE & SPECTER, P.C.
MUSTARO, MARYANNE         NJ - USDC for the District of New Jersey    3:17-cv-05387         KLINE & SPECTER, P.C.
NORENBERG, COLETTE        NJ - USDC for the District of New Jersey    3:17-cv-10674         KLINE & SPECTER, P.C.
OLAUGLIN, LINDA           NJ - USDC for the District of New Jersey    3:20-cv-12498         KLINE & SPECTER, P.C.
OWENS, LENA               NJ - USDC for the District of New Jersey    3:18-cv-08314         KLINE & SPECTER, P.C.
QUITTER, PATRICIA         NJ - USDC for the District of New Jersey    3:20-cv-10361         KLINE & SPECTER, P.C.
RANOIA, ANTOINETTE        NJ - USDC for the District of New Jersey    3:21-cv-06056         KLINE & SPECTER, P.C.
REYNOLDS, DONNA           NJ - USDC for the District of New Jersey    3:17-cv-10678         KLINE & SPECTER, P.C.
ROBINSON, FELICIA         NJ - USDC for the District of New Jersey    3:20-cv-08523         KLINE & SPECTER, P.C.
ROOKS-BURKIT, CYNTHIA     NJ - USDC for the District of New Jersey    3:21-cv-06055         KLINE & SPECTER, P.C.
ROSS, VICKI               NJ - USDC for the District of New Jersey    3:21-cv-06426         KLINE & SPECTER, P.C.
SANDERS, KATHLEEN         NJ - USDC for the District of New Jersey    3:21-cv-05599         KLINE & SPECTER, P.C.
SAUTER, NANCY             NJ - USDC for the District of New Jersey    3:21-cv-06443         KLINE & SPECTER, P.C.
SCHEUER, TERRY            NJ - USDC for the District of New Jersey    3:21-cv-00629         KLINE & SPECTER, P.C.
SHANNON, JO ANN           NJ - USDC for the District of New Jersey    3:17-cv-05389         KLINE & SPECTER, P.C.
SOS, SUSAN                NJ - USDC for the District of New Jersey    3:21-cv-03919         KLINE & SPECTER, P.C.
SPENCER, MARY             NJ - USDC for the District of New Jersey    3:21-cv-05697         KLINE & SPECTER, P.C.
STALNAKER, REBECCA        NJ - USDC for the District of New Jersey    3:17-cv-06010         KLINE & SPECTER, P.C.
STIDHAM, REBECCA          NJ - USDC for the District of New Jersey    3:17-cv-09473         KLINE & SPECTER, P.C.
STOKES, TAWANAHA          NJ - USDC for the District of New Jersey    3:21-cv-06436         KLINE & SPECTER, P.C.
STOTT, DONNA              NJ - USDC for the District of New Jersey    3:17-cv-09483         KLINE & SPECTER, P.C.
TRAINOR, TAYLOR           NJ - USDC for the District of New Jersey    3:20-cv-10417         KLINE & SPECTER, P.C.
VAN EXEL, GLORIA          NJ - USDC for the District of New Jersey    3:21-cv-04530         KLINE & SPECTER, P.C.
VERMA, ANUPAMA            NJ - Superior Court - Atlantic County       ATL-L-000975-21       KLINE & SPECTER, P.C.
VINCIGUERRA, SUSANNA      NJ - USDC for the District of New Jersey    3:18-cv-13648         KLINE & SPECTER, P.C.
WALDMAN, SUSAN            NJ - USDC for the District of New Jersey    3:17-cv-05391         KLINE & SPECTER, P.C.
WEBB, SHERRIE             NJ - USDC for the District of New Jersey    3:21-cv-01754         KLINE & SPECTER, P.C.
WHITE, JENNIFER           NJ - USDC for the District of New Jersey    3:17-cv-11423         KLINE & SPECTER, P.C.
WILSON, DEBORAH           NJ - USDC for the District of New Jersey    3:17-cv-05385         KLINE & SPECTER, P.C.
WOOL, JOYCE               NJ - USDC for the District of New Jersey    3:21-cv-05541         KLINE & SPECTER, P.C.
WYLONG, MARY              NJ - USDC for the District of New Jersey    3:21-cv-04546         KLINE & SPECTER, P.C.
ADELSTONE, ETHEL          NJ - USDC for the District of New Jersey    3:18-cv-12249         KNAPP & ROBERTS, P.C.
ENCINAS, MARY             NJ - USDC for the District of New Jersey    3:18-cv-00446         KNAPP & ROBERTS, P.C.
GOMEZ, SUSAN              NJ - USDC for the District of New Jersey    3:18-cv-10725         KNAPP & ROBERTS, P.C.
GREEN, TRASI              NJ - USDC for the District of New Jersey    3:20-cv-14316         KNAPP & ROBERTS, P.C.
HATAM, MARIE              NJ - USDC for the District of New Jersey    3:18-cv-11397         KNAPP & ROBERTS, P.C.
HOUGH, ELIZABETH          NJ - USDC for the District of New Jersey    3:18-cv-15140         KNAPP & ROBERTS, P.C.
NAPOLI, MARIA             NJ - USDC for the District of New Jersey    3:20-cv-18220         KNAPP & ROBERTS, P.C.
POLAK, TERESE             NJ - USDC for the District of New Jersey    3:18-cv-12871         KNAPP & ROBERTS, P.C.
GUERRERO, PETRA           CA - Superior Court - Los Angeles County    BC690778              KNIGHT LAW GROUP, LLP
LOPEZ, ROSA               CA - Superior Court - Santa Clara County    18CV322211            KNIGHT LAW GROUP, LLP
CHAKALOS, JANICE          NJ - USDC for the District of New Jersey    3:14-cv-07079         KUHARSKI LEVITZ & GIOVINAZZO
CALI, JULIE               LA - District Court - East Baton Rouge Parish C-705579 25         LANDRY & SWARR, L.L.C.
ROY, LYNNE                LA - District Court - Orleans Parish        2020-02718            LANDRY & SWARR, L.L.C
BILYEU, DARLA             NJ - USDC for the District of New Jersey    3:19-cv-10780         LANGDON & EMISON
DOWNS, JUDITH             NJ - USDC for the District of New Jersey    3:18-cv-13839         LANGDON & EMISON
GRELLING, PATRICIA        NJ - USDC for the District of New Jersey    3:17-cv-03294         LANGDON & EMISON
HAFLEY, TERRY             NJ - USDC for the District of New Jersey    3:17-cv-11169         LANGDON & EMISON
MARONEY, SHELLY           NJ - USDC for the District of New Jersey    3:17-cv-04620         LANGDON & EMISON
MCALPIN, JO               NJ - USDC for the District of New Jersey    3:17-cv-04621         LANGDON & EMISON
MCDOWELL, JUDY            NJ - USDC for the District of New Jersey    3:17-cv-02697         LANGDON & EMISON
REED, ELFA                NJ - USDC for the District of New Jersey    3:17-cv-04624         LANGDON & EMISON
SAWYER, NINA              NJ - USDC for the District of New Jersey    3:17-cv-03274         LANGDON & EMISON
SCOVENS, DIANE            NJ - USDC for the District of New Jersey    3:17-cv-07179         LANGDON & EMISON
THOMPSON, DANIA           NJ - USDC for the District of New Jersey    3:20-cv-15295         LANGDON & EMISON
TRAPP, JEAN               NJ - USDC for the District of New Jersey    3:17-cv-02730         LANGDON & EMISON
VAN HOOSEN, PATSY         NJ - USDC for the District of New Jersey    3:18-cv-17013         LANGDON & EMISON
WOOD, BARBARA             NJ - USDC for the District of New Jersey    3:18-cv-16592         LANGDON & EMISON




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          Claimant Name                      State Filed                     Docket Number                Plaintiff Counsel
MCCOY, CHRISTI (SMITH)      NJ - USDC for the District of New Jersey   3:19-cv-22085         LANGSTON & LOTT, PLLC
MCCOY, SANDRA               NJ - USDC for the District of New Jersey   3:18-cv-00235         LANGSTON & LOTT, PLLC
SORENSEN-BAUMAN, ALICE      NJ - USDC for the District of New Jersey   3:20-cv-15265         LARSEN ADVOCATES, PC
BEXLEY, CHARLA              FL - Circuit Court - Broward County        CACE18029732          LAW FIRM OF KELLEY UUSTAL, PLC
WYMAN, CINDY                FL - Circuit Court - Broward County        CACE18029730          LAW FIRM OF KELLEY UUSTAL, PLC
GOFORTH, TINA               NJ - USDC for the District of New Jersey   3:21-cv-06541         LAW OFFICE OF CHARLES H JOHNSON, PA
HAMANN, MABEL               NJ - USDC for the District of New Jersey   3:21-cv-06706         LAW OFFICE OF CHARLES H JOHNSON, PA
HENDRICKS, RHONDA           NJ - USDC for the District of New Jersey   3:19-cv-13674         LAW OFFICE OF CHARLES H JOHNSON, PA
KLINE, JUDITH               NJ - USDC for the District of New Jersey   3:21-cv-06710         LAW OFFICE OF CHARLES H JOHNSON, PA
MOODY, SHANNON              NJ - USDC for the District of New Jersey   3:21-cv-13390         LAW OFFICE OF CHARLES H JOHNSON, PA
ONORATO, MARY               NJ - USDC for the District of New Jersey   3:19-cv-13624         LAW OFFICE OF CHARLES H JOHNSON, PA
TESSMER, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-13630         LAW OFFICE OF CHARLES H JOHNSON, PA
TRUJILLO, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-06721         LAW OFFICE OF CHARLES H JOHNSON, PA
WHITEFIELD, VELMA           NJ - USDC for the District of New Jersey   3:19-cv-13632         LAW OFFICE OF CHARLES H JOHNSON, PA
YOUNG, MARGARET             NJ - USDC for the District of New Jersey   3:19-cv-13633         LAW OFFICE OF CHARLES H JOHNSON, PA
JACKSON, PAULA              NJ - USDC for the District of New Jersey   3:16-cv-07488         LAW OFFICE OF EUSI H. PHILLIPS
AGER, STELLA                NJ - Superior Court - Atlantic County      ATL-L-151-18          LAW OFFICE OF GRANT D. AMEY, LLC
ANDERSON, SANDRA            NJ - Superior Court - Atlantic County      ATL-L-2427-17         LAW OFFICE OF GRANT D. AMEY, LLC
BRYANT, WENDY               NJ - Superior Court - Atlantic County      ATL-L-134-18          LAW OFFICE OF GRANT D. AMEY, LLC
BURDEN-DAVIS, JOANNE        NJ - Superior Court - Atlantic County      ATL-L-26-18           LAW OFFICE OF GRANT D. AMEY, LLC
CRAIN, STACEY               NJ - Superior Court - Atlantic County      ATL-L-357-18          LAW OFFICE OF GRANT D. AMEY, LLC
CRUZ, NIRMA                 NJ - Superior Court - Atlantic County      ATL-L-133-18          LAW OFFICE OF GRANT D. AMEY, LLC
DAWSON, PASSION             NJ - Superior Court - Atlantic County      ATL-L-2433-17         LAW OFFICE OF GRANT D. AMEY, LLC
EBERHARDT, JANICE           NJ - Superior Court - Atlantic County      ATL-L-2700-17         LAW OFFICE OF GRANT D. AMEY, LLC
ELLIS, ANNIE                NJ - Superior Court - Atlantic County      ATL-L-150-18          LAW OFFICE OF GRANT D. AMEY, LLC
FABRIZIO, PATRICIA          NJ - Superior Court - Atlantic County      ATL-L-108-18          LAW OFFICE OF GRANT D. AMEY, LLC
FITZSIMMONS, CAROL          NJ - Superior Court - Atlantic County      ATL-L-430-18          LAW OFFICE OF GRANT D. AMEY, LLC
FORD, ELIZABETH             NJ - USDC for the District of New Jersey   3:17-cv-06140         LAW OFFICE OF GRANT D. AMEY, LLC
FREEMAN, BENNETTA           NJ - Superior Court - Atlantic County      ATL-L-434-18          LAW OFFICE OF GRANT D. AMEY, LLC
GONXHE, KIMBERLY            NJ - Superior Court - Atlantic County      ATL-L-429-18          LAW OFFICE OF GRANT D. AMEY, LLC
GREER, LATISIA              NJ - Superior Court - Atlantic County      ATL-L-2471-17         LAW OFFICE OF GRANT D. AMEY, LLC
HAMMONDS, LIZZIE            NJ - Superior Court - Atlantic County      ATL-L-149-18          LAW OFFICE OF GRANT D. AMEY, LLC
HARRISON, MARY              NJ - Superior Court - Atlantic County      ATL-L-381-18          LAW OFFICE OF GRANT D. AMEY, LLC
HILTON, THERESA             NJ - Superior Court - Atlantic County      ATL-L-2429-17         LAW OFFICE OF GRANT D. AMEY, LLC
HOWARD, JOEDAJA             NJ - Superior Court - Atlantic County      ATL-L-2192-17         LAW OFFICE OF GRANT D. AMEY, LLC
HUMPHREY, CAROLINE          NJ - Superior Court - Atlantic County      ATL-L-2503-17         LAW OFFICE OF GRANT D. AMEY, LLC
JACKSON, LISA               NJ - Superior Court - Atlantic County      ATL-L-2701-17         LAW OFFICE OF GRANT D. AMEY, LLC
JOHNSON, GUADALUPE          NJ - Superior Court - Atlantic County      ATL-L-431-18          LAW OFFICE OF GRANT D. AMEY, LLC
JONES, KAREN                NJ - Superior Court - Atlantic County      ATL-L-2454-17         LAW OFFICE OF GRANT D. AMEY, LLC
KOONTZ, FREDA               NJ - Superior Court - Atlantic County      ATL-L-2714-17         LAW OFFICE OF GRANT D. AMEY, LLC
LOMAS, MARYHELEN            NJ - Superior Court - Atlantic County      ATL-L-2705-17         LAW OFFICE OF GRANT D. AMEY, LLC
LOPEZ, DARLENE              NJ - Superior Court - Atlantic County      ATL-L-2629-17         LAW OFFICE OF GRANT D. AMEY, LLC
MAGANA, GUADALUPE           NJ - Superior Court - Atlantic County      ATL-L-2193-17         LAW OFFICE OF GRANT D. AMEY, LLC
MILLER, EDEN                NJ - Superior Court - Atlantic County      ATL-L-2699-17         LAW OFFICE OF GRANT D. AMEY, LLC
MOBLEY, DOROTHY             NJ - Superior Court - Atlantic County      ATL-L-130-18          LAW OFFICE OF GRANT D. AMEY, LLC
MOORE, GRACE                NJ - Superior Court - Atlantic County      ATL-L-148-18          LAW OFFICE OF GRANT D. AMEY, LLC
OBRIEN, HELENE              NJ - Superior Court - Atlantic County      ATL-L-2439-17         LAW OFFICE OF GRANT D. AMEY, LLC
OUELLETTE, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-12263         LAW OFFICE OF GRANT D. AMEY, LLC
PHILLIPS, MARY              NJ - Superior Court - Atlantic County      ATL-L-428-18          LAW OFFICE OF GRANT D. AMEY, LLC
RINGER, EDITH               NJ - Superior Court - Atlantic County      ATL-L-432-18          LAW OFFICE OF GRANT D. AMEY, LLC
ROSE, ARLENE                NJ - Superior Court - Atlantic County      ATL-L-2703-17         LAW OFFICE OF GRANT D. AMEY, LLC
RUSSELL, LATRESA            NJ - Superior Court - Atlantic County      ATL-L-2443-17         LAW OFFICE OF GRANT D. AMEY, LLC
THOMAS, STEPHANIE           NJ - Superior Court - Atlantic County      ATL-L-2722-17         LAW OFFICE OF GRANT D. AMEY, LLC
THORLTON, VERNICE           NJ - Superior Court - Atlantic County      ATL-L-2715-17         LAW OFFICE OF GRANT D. AMEY, LLC
THORNSBERRY, OKLA           NJ - Superior Court - Atlantic County      ATL-L-433-18          LAW OFFICE OF GRANT D. AMEY, LLC
VEGGE, ROSEMARY             NJ - Superior Court - Atlantic County      ATL-L-2704-17         LAW OFFICE OF GRANT D. AMEY, LLC
WELCH, COREYONNA            NJ - Superior Court - Atlantic County      ATL-L-2460-17         LAW OFFICE OF GRANT D. AMEY, LLC
YATES, EUNICE               NJ - Superior Court - Atlantic County      ATL-L-358-18          LAW OFFICE OF GRANT D. AMEY, LLC
BROCK, LATISHA              NJ - USDC for the District of New Jersey   3:19-cv-17168         LAW OFFICE OF HAYTHAM FARAJ
CORDER, JAMIE               NJ - USDC for the District of New Jersey   3:19-cv-16476         LAW OFFICE OF HAYTHAM FARAJ
DAZEN, JEANETTE             NJ - USDC for the District of New Jersey   3:19-cv-17587         LAW OFFICE OF HAYTHAM FARAJ
FRASER, NICOLE              NJ - USDC for the District of New Jersey   3:20-cv-13545         LAW OFFICE OF HAYTHAM FARAJ
FULTON, HOLLI               NJ - USDC for the District of New Jersey   3:19-cv-13915         LAW OFFICE OF HAYTHAM FARAJ
GUINN, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-17588         LAW OFFICE OF HAYTHAM FARAJ
HAYES, SHARON               NJ - USDC for the District of New Jersey   3:19-cv-13899         LAW OFFICE OF HAYTHAM FARAJ
HYLAND, CHERYL              NJ - USDC for the District of New Jersey   3:19-cv-18885         LAW OFFICE OF HAYTHAM FARAJ
JAMES, RHONDA               NJ - USDC for the District of New Jersey   3:19-cv-14421         LAW OFFICE OF HAYTHAM FARAJ
LADNER, TONIA               NJ - USDC for the District of New Jersey   3:19-cv-13439         LAW OFFICE OF HAYTHAM FARAJ
LOO-LEW, CAROLINE           NJ - USDC for the District of New Jersey   3:20-cv-00584         LAW OFFICE OF HAYTHAM FARAJ
MCCLINTOCK, VIRGINIA        NJ - USDC for the District of New Jersey   3:19-cv-15392         LAW OFFICE OF HAYTHAM FARAJ
MITCHELL, JANE              NJ - USDC for the District of New Jersey   3:19-cv-15425         LAW OFFICE OF HAYTHAM FARAJ
MONIA, JANER                NJ - USDC for the District of New Jersey   3:19-cv-17586         LAW OFFICE OF HAYTHAM FARAJ
MOON-GAINES, HELEN          NJ - USDC for the District of New Jersey   3:19-cv-16382         LAW OFFICE OF HAYTHAM FARAJ
OTIS, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-13913         LAW OFFICE OF HAYTHAM FARAJ
OVERSTREET, VIVIAN          NJ - USDC for the District of New Jersey   3:19-cv-15007         LAW OFFICE OF HAYTHAM FARAJ
PEREZ, SYLVIA               NJ - USDC for the District of New Jersey   3:19-cv-21337         LAW OFFICE OF HAYTHAM FARAJ
RADBILL, NATALIE            NJ - USDC for the District of New Jersey   3:19-cv-16389         LAW OFFICE OF HAYTHAM FARAJ
SANCHEZ, YVONNE             NJ - USDC for the District of New Jersey   3:19-cv-14419         LAW OFFICE OF HAYTHAM FARAJ
SENA-HERNANDEZ, CHRISTINA   NJ - USDC for the District of New Jersey   3:19-cv-16241         LAW OFFICE OF HAYTHAM FARAJ
SIMMONS, TAMMY              NJ - USDC for the District of New Jersey   3:19-cv-17939         LAW OFFICE OF HAYTHAM FARAJ




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         Claimant Name                      State Filed                      Docket Number                    Plaintiff Counsel
WALLACE, PANILLA            NJ - USDC for the District of New Jersey   3:19-cv-17589             LAW OFFICE OF HAYTHAM FARAJ
WHITEHEAD, AMELIA           NJ - USDC for the District of New Jersey   3:19-cv-21318             LAW OFFICE OF HAYTHAM FARAJ
WILKINSON, JOSEPHINE        NJ - USDC for the District of New Jersey   3:19-cv-19264             LAW OFFICE OF HAYTHAM FARAJ
WILLIAMS, SUZANNA           NJ - USDC for the District of New Jersey   3:19-cv-13438             LAW OFFICE OF HAYTHAM FARAJ
WORLEY, DOROTHY             NJ - USDC for the District of New Jersey   3:19-cv-17932             LAW OFFICE OF HAYTHAM FARAJ
ASSEF, MEHRNAZ              CA - Superior Court - Los Angeles County   19STCV40186               LAW OFFICE OF ISAAC TOVEG PROFESSIONAL

GALANG, AUDRA               NJ - USDC for the District of New Jersey   3:20-cv-00166             LAW OFFICE OF ISAAC TOVEG PROFESSIONAL

OGG, KAREN                  NJ - USDC for the District of New Jersey   3:20-cv-00126             LAW OFFICE OF ISAAC TOVEG PROFESSIONAL
BLAZIO, LINDA               NJ - USDC for the District of New Jersey   3:16-cv-07489             LAW OFFICE OF JOHN D. SILEO, LLC
MATTHEWS, LAUREN            NJ - USDC for the District of New Jersey   3:16-cv-07490             LAW OFFICE OF JOHN D. SILEO, LLC
PLAISANCE, MARCY            NJ - USDC for the District of New Jersey   3:20-cv-10115             LAW OFFICE OF JOHN D. SILEO, LLC
PROUT, OLIVIA               NJ - USDC for the District of New Jersey   3:16-cv-07474             LAW OFFICE OF JOHN D. SILEO, LLC
RESOR, FAYE                 NJ - USDC for the District of New Jersey   3:16-cv-07989             LAW OFFICE OF JOHN D. SILEO, LLC
VALLOT, PEGGY               NJ - USDC for the District of New Jersey   3:16-cv-08086             LAW OFFICE OF JOHN D. SILEO, LLC
JACKSON, PAULA              NJ - USDC for the District of New Jersey   3:16-cv-07488             LAW OFFICE OF MARION D. FLOYD
SANTISTEBAN, THAMAR         CA - Superior Court - San Diego County     37-2018-55710-CU-PL-CTL   LAW OFFICE OF NICHOLAS A. BOYLAN, APC
GUSTAFSON, MARILYN          NJ - USDC for the District of New Jersey   3:17-cv-07112             LAW OFFICE OF RICHARD R. BARRETT, PLLC
RICH-WILLIAMS, ADA          NJ - USDC for the District of New Jersey   3:16-cv-06489             LAW OFFICE OF RICHARD R. BARRETT, PLLC
WILLIAMS, CLARA             NJ - USDC for the District of New Jersey   3:17-cv-07056             LAW OFFICE OF RICHARD R. BARRETT, PLLC
WINHELD, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-07060             LAW OFFICE OF RICHARD R. BARRETT, PLLC
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
ALLEN, JOYCE                NJ - USDC for the District of New Jersey   3:17-cv-07339
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
GORDON, SHAMIKA             NJ - USDC for the District of New Jersey   3:17-cv-08946
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
LOGAN, SHIRLEY              NJ - USDC for the District of New Jersey   3:17-cv-08938
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
MASON, VICKIE               NJ - USDC for the District of New Jersey   3:17-cv-12600
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
MIRROW, HEIDI               NJ - USDC for the District of New Jersey   3:17-cv-06388
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
MORAN, LORETTA              NJ - USDC for the District of New Jersey   3:17-cv-13214
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
PERKINS, KIMBERLY           NJ - USDC for the District of New Jersey   3:17-cv-11863
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
RAMRIEZ, MARIA              NJ - USDC for the District of New Jersey   3:17-cv-04589
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
ROGERS, MARY                NJ - USDC for the District of New Jersey   3:17-cv-07004
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
SENEROTE, CHRISTINE         NJ - USDC for the District of New Jersey   3:17-cv-06847
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
SONIER, MILDRED             NJ - USDC for the District of New Jersey   3:17-cv-05433
                                                                                                 P.C.
                                                                                                 LAW OFFICE OF ROGER "ROCKY" WALTON,
WELLS, PEGGY                NJ - USDC for the District of New Jersey   3:17-cv-06479
                                                                                                 P.C.
JIMINEZ, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-01582             LAW OFFICE OF TERENCE J. SWEENEY
ADAMS, DOROTHY              LA - District Court - Jefferson Parish     806168-G                  LAW OFFICE OF TIMOTHY B. MOORE, L.C
BRANCH, SANDRA              NJ - USDC for the District of New Jersey   3:18-cv-13247             LAW OFFICES DENNIS F. OBRIEN, P.A
KING, YVONNE                NJ - USDC for the District of New Jersey   3:18-cv-13257             LAW OFFICES DENNIS F. OBRIEN, P.A
BATES, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-02416             LAW OFFICES OF CHARLES H. JOHNSON, PA
BENNETT, KEA                NJ - USDC for the District of New Jersey   3:21-cv-06535             LAW OFFICES OF CHARLES H. JOHNSON, PA
CARROLL, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-06551             LAW OFFICES OF CHARLES H. JOHNSON, PA
GILBERT, THERESA            NJ - USDC for the District of New Jersey   3:21-cv-13387             LAW OFFICES OF CHARLES H. JOHNSON, PA
MILLER, MYRA                NJ - USDC for the District of New Jersey   3:21-cv-12738             LAW OFFICES OF CHARLES H. JOHNSON, PA
SCOBEE, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-15543             LAW OFFICES OF CHARLES H. JOHNSON, PA
SEAL, RHEA                  NJ - USDC for the District of New Jersey   3:19-cv-15160             LAW OFFICES OF CHARLES H. JOHNSON, PA
STALLWORTH, CAROLINE        NJ - USDC for the District of New Jersey   3:21-cv-12324             LAW OFFICES OF CHARLES H. JOHNSON, PA
STAUB, DARLENE              NJ - USDC for the District of New Jersey   3:21-cv-13754             LAW OFFICES OF CHARLES H. JOHNSON, PA
ACKER, ESTER                NJ - USDC for the District of New Jersey   3:20-cv-06836             LAW OFFICES OF DONALD G. NORRIS
BUNCH, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-10005             LAW OFFICES OF DONALD G. NORRIS
DAVIS, JOY                  NJ - USDC for the District of New Jersey   3:20-cv-10168             LAW OFFICES OF DONALD G. NORRIS
DECKER-GIBBS, PATSY         NJ - USDC for the District of New Jersey   3:20-cv-09997             LAW OFFICES OF DONALD G. NORRIS
EVANS, SUE                  NJ - USDC for the District of New Jersey   3:20-cv-09995             LAW OFFICES OF DONALD G. NORRIS
HIMLER, BRENDA              NJ - USDC for the District of New Jersey   3:19-cv-16146             LAW OFFICES OF DONALD G. NORRIS
PACHECO, NINFA              NJ - USDC for the District of New Jersey   3:19-cv-05798             LAW OFFICES OF DONALD G. NORRIS
WILLIAMS, VERONICA          NJ - USDC for the District of New Jersey   3:20-cv-09993             LAW OFFICES OF DONALD G. NORRIS
WINGFIELD, MARY             NJ - USDC for the District of New Jersey   3:20-cv-10003             LAW OFFICES OF DONALD G. NORRIS
SCHOFIELD, MARY             NJ - USDC for the District of New Jersey   3:16-cv-08331             LAW OFFICES OF ERIC H. WEINBERG
GRUNDY, PEGGY               NJ - USDC for the District of New Jersey   3:17-cv-12338             LAW OFFICES OF JAMES S. ROGERS
MCBRIDE, MARCY              NJ - USDC for the District of New Jersey   3:17-cv-12342             LAW OFFICES OF JAMES S. ROGERS
MULLER, MEREDITH            NJ - USDC for the District of New Jersey   3:17-cv-12344             LAW OFFICES OF JAMES S. ROGERS
SCHWAMPE, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-03434             LAW OFFICES OF JAMES S. ROGERS
WOLTERSDORF, ANNALISA       NJ - USDC for the District of New Jersey   3:17-cv-12346             LAW OFFICES OF JAMES S. ROGERS
BOWMAN, PHYLLIS-JEANNE      NJ - USDC for the District of New Jersey   3:20-cv-11964             LAW OFFICES OF JAMES SCOTT FARRIN
BUFFALOE, ROCKY HENDRICKS   NJ - USDC for the District of New Jersey   3:18-cv-05705             LAW OFFICES OF JAMES SCOTT FARRIN
HARRINGTON, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-12319             LAW OFFICES OF JAMES SCOTT FARRIN
HARVEY, CYNTHIA             NJ - USDC for the District of New Jersey   3:21-cv-09933             LAW OFFICES OF JAMES SCOTT FARRIN
JONES, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-11708             LAW OFFICES OF JAMES SCOTT FARRIN




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         Claimant Name                            State Filed                      Docket Number                    Plaintiff Counsel
LEWIS, DARLENE                    NJ - USDC for the District of New Jersey   3:20-cv-12064             LAW OFFICES OF JAMES SCOTT FARRIN
MCFARLAND, MARY                   NJ - USDC for the District of New Jersey   3:20-cv-12427             LAW OFFICES OF JAMES SCOTT FARRIN
SAMONTE, TAMMY                    NJ - USDC for the District of New Jersey   3:21-cv-13420             LAW OFFICES OF JAMES SCOTT FARRIN
BEAULIEU, SANDRA                  NJ - USDC for the District of New Jersey   3:20-cv-06929             LAW OFFICES OF JEFFREY S. GLASSMAN, LLC

BYRNES-LAVOIE, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-05147             LAW OFFICES OF JEFFREY S. GLASSMAN, LLC
KRUSKALL, MARGOT                  NJ - USDC for the District of New Jersey   3:17-cv-05143             LAW OFFICES OF KRUSKELL
ALLEN, DEANNA                     NJ - USDC for the District of New Jersey   3:18-cv-00257             LAW OFFICES OF MICHAEL L. RAIR, P.A
DICKEY, SUSIE                     NJ - USDC for the District of New Jersey   3:17-cv-01375             LAW OFFICES OF PETER G. ANGELOS, P.C
DICKEY, SUSIE                     NJ - USDC for the District of New Jersey   3:17-cv-01375             LAW OFFICES OF PETER G. ANGELOS, P.C
GERLACH, DEBRA                    NJ - USDC for the District of New Jersey   3:17-cv-02087             LAW OFFICES OF PETER G. ANGELOS, P.C
GILL, ELIZABETH                   NJ - USDC for the District of New Jersey   3:17-cv-01382             LAW OFFICES OF PETER G. ANGELOS, P.C
HEID, ELLA                        NJ - USDC for the District of New Jersey   3:17-cv-01599             LAW OFFICES OF PETER G. ANGELOS, P.C
KICKLIGHTER, HEATHER              NJ - USDC for the District of New Jersey   3:20-cv-10517             LAW OFFICES OF PETER G. ANGELOS, P.C
KROMM, DEBORAH                    NJ - USDC for the District of New Jersey   3:17-cv-02648             LAW OFFICES OF PETER G. ANGELOS, P.C
LUTES, JOYCE                      NJ - USDC for the District of New Jersey   3:17-cv-02088             LAW OFFICES OF PETER G. ANGELOS, P.C
MILLER, DEBORAH                   NJ - USDC for the District of New Jersey   3:17-cv-01602             LAW OFFICES OF PETER G. ANGELOS, P.C
NAPIER, LINDA                     NJ - USDC for the District of New Jersey   3:17-cv-01604             LAW OFFICES OF PETER G. ANGELOS, P.C
PETRO, BONNIE                     NJ - USDC for the District of New Jersey   3:17-cv-02649             LAW OFFICES OF PETER G. ANGELOS, P.C
POPP, KAREN                       NJ - USDC for the District of New Jersey   3:17-cv-01384             LAW OFFICES OF PETER G. ANGELOS, P.C
RUSSUM, KAREN                     NJ - USDC for the District of New Jersey   3:17-cv-02650             LAW OFFICES OF PETER G. ANGELOS, P.C
SANDERS, GAIL                     NJ - USDC for the District of New Jersey   3:17-cv-02651             LAW OFFICES OF PETER G. ANGELOS, P.C
SCHWARTZBERG, FERN                NJ - USDC for the District of New Jersey   3:20-cv-19239             LAW OFFICES OF PETER G. ANGELOS, P.C
WIMERT, MARY                      NJ - USDC for the District of New Jersey   3:17-cv-02089             LAW OFFICES OF PETER G. ANGELOS, P.C
WOLF-GORDON, BARBARA              NJ - USDC for the District of New Jersey   3:17-cv-01403             LAW OFFICES OF PETER G. ANGELOS, P.C
SOULIOS, DEBORAH                  NJ - USDC for the District of New Jersey   3:17-cv-07635             LAW OFFICES OF RICHARD R. BARRETT, PLLC
BAUMGARTEN, CAREY                 NJ - USDC for the District of New Jersey   3:17-cv-06504             LAW OFFICES OF SEAN M. CLEARY
HARTLEY, CATHERINE                NJ - USDC for the District of New Jersey   3:17-cv-06566             LAW OFFICES OF SEAN M. CLEARY
HASKETT, NANCY                    NJ - USDC for the District of New Jersey   3:17-cv-10275             LAW OFFICES OF SEAN M. CLEARY
HASKETT, NANCY                    NJ - USDC for the District of New Jersey   3:17-cv-10275             LAW OFFICES OF SEAN M. CLEARY
KOSTON, DANA                      NJ - USDC for the District of New Jersey   3:17-cv-10527             LAW OFFICES OF SEAN M. CLEARY
KOSTON, DANA                      NJ - USDC for the District of New Jersey   3:17-cv-10527             LAW OFFICES OF SEAN M. CLEARY
LANCIERI, MELISSA                 NJ - USDC for the District of New Jersey   3:17-cv-06564             LAW OFFICES OF SEAN M. CLEARY
LOCKE, PAULETTE                   NJ - USDC for the District of New Jersey   3:17-cv-06568             LAW OFFICES OF SEAN M. CLEARY
PERSON, JANESE                    NJ - USDC for the District of New Jersey   3:17-cv-06644             LAW OFFICES OF SEAN M. CLEARY
ROBY, DWANA                       NJ - USDC for the District of New Jersey   3:17-cv-10513             LAW OFFICES OF SEAN M. CLEARY
ROBY, DWANA                       NJ - USDC for the District of New Jersey   3:17-cv-10513             LAW OFFICES OF SEAN M. CLEARY
WILLIAMS, TERI                    NJ - USDC for the District of New Jersey   3:17-cv-06520             LAW OFFICES OF SEAN M. CLEARY
BROOKS, RAMONA                    NJ - USDC for the District of New Jersey   3:20-cv-10348             LAW OFFICES OF THEIDA SALAZAR
KELLER, BENNIE                    NJ - USDC for the District of New Jersey   3:16-cv-09260             LAW OFFICES OF WAYNE E. FERRELL, JR., PLLC
CHAMBERS-WHITE, LATICE            NJ - USDC for the District of New Jersey   3:20-cv-19616             LEE COSSELL & CROWLEY, LLP
BABERS, ALMA                      NJ - USDC for the District of New Jersey   3:18-cv-16520             LENZE KAMERRER MOSS, PLC
BALDYGA, DOLORES                  NJ - USDC for the District of New Jersey   3:18-cv-10941             LENZE KAMERRER MOSS, PLC
BANEY, JEANNA                     NJ - USDC for the District of New Jersey   3:18-cv-09912             LENZE KAMERRER MOSS, PLC
BARR, PAULA                       NJ - USDC for the District of New Jersey   3:19-cv-21647             LENZE KAMERRER MOSS, PLC
BECZEK, BARBARA                   NJ - USDC for the District of New Jersey   3:19-cv-14103             LENZE KAMERRER MOSS, PLC
BROOKS, SONYA                     NJ - USDC for the District of New Jersey   3:17-cv-02081             LENZE KAMERRER MOSS, PLC
BROWN, BERTHA                     NJ - USDC for the District of New Jersey   3:17-cv-04340             LENZE KAMERRER MOSS, PLC
                                                                             56-2018-00521684-CU-PL-
BURROUGHS, MARY                   CA - Superior Court - Ventura County                                 LENZE KAMERRER MOSS, PLC
                                                                             VTA
CARTER, CYNTHIA                   NJ - USDC for the District of New Jersey   3:17-cv-07548             LENZE KAMERRER MOSS, PLC
COFFEY, DEBORAH                   NJ - USDC for the District of New Jersey   3:19-cv-09248             LENZE KAMERRER MOSS, PLC
CRIMMINS, KATHLEEN                NJ - USDC for the District of New Jersey   3:18-cv-15697             LENZE KAMERRER MOSS, PLC
DALLER, MARIE                     NJ - USDC for the District of New Jersey   3:18-cv-14045             LENZE KAMERRER MOSS, PLC
GADD, DONNA                       NJ - USDC for the District of New Jersey   3:19-cv-04165             LENZE KAMERRER MOSS, PLC
GRAHAM, GLORIA                    NJ - USDC for the District of New Jersey   3:18-cv-12024             LENZE KAMERRER MOSS, PLC
HUBBARD, ERNESTINE                NJ - USDC for the District of New Jersey   3:21-cv-14865             LENZE KAMERRER MOSS, PLC
MONROE, PAMELA                    NJ - USDC for the District of New Jersey   3:18-cv-13674             LENZE KAMERRER MOSS, PLC
MOORE, ANNIE                      NJ - USDC for the District of New Jersey   3:18-cv-09924             LENZE KAMERRER MOSS, PLC
NELSON, JUDY                      NJ - USDC for the District of New Jersey   3:21-cv-14950             LENZE KAMERRER MOSS, PLC
QUIAMBAO, ELONA                   CA - Superior Court - Los Angeles County   BC650610                  LENZE KAMERRER MOSS, PLC
ROSARIOEREYES, PAMELA             NJ - USDC for the District of New Jersey   3:19-cv-14099             LENZE KAMERRER MOSS, PLC
SABOE, CINDY                      NJ - USDC for the District of New Jersey   3:18-cv-15531             LENZE KAMERRER MOSS, PLC
SCHNAPP, IRENE                    NJ - USDC for the District of New Jersey   3:21-cv-14905             LENZE KAMERRER MOSS, PLC
SMITH, BETTY                      NJ - USDC for the District of New Jersey   3:19-cv-17136             LENZE KAMERRER MOSS, PLC
SMITH, CONNIE                     NJ - USDC for the District of New Jersey   3:21-cv-14787             LENZE KAMERRER MOSS, PLC
SMITH, WILLIE                     NJ - USDC for the District of New Jersey   3:18-cv-09949             LENZE KAMERRER MOSS, PLC
SPENCER, VENUE                    NJ - USDC for the District of New Jersey   3:17-cv-01390             LENZE KAMERRER MOSS, PLC
SYKES, STEPHANIE                  NJ - USDC for the District of New Jersey   3:17-cv-06569             LENZE KAMERRER MOSS, PLC
TALLY, MARY                       NJ - USDC for the District of New Jersey   3:19-cv-09247             LENZE KAMERRER MOSS, PLC
TAYLOR, TRUDY                     NJ - USDC for the District of New Jersey   3:18-cv-10773             LENZE KAMERRER MOSS, PLC
THOMAS, COCANDRA                  NJ - USDC for the District of New Jersey   3:17-cv-11566             LENZE KAMERRER MOSS, PLC
                                                                             30-2016-00857356-CU-PL-
VALDEZ, PEGGY; WOLF, MARGARET CA - Superior Court - Orange County                                      LENZE KAMERRER MOSS, PLC
                                                                             CXC
WHITE, MARJORIE                   NJ - USDC for the District of New Jersey   3:19-cv-10423             LENZE KAMERRER MOSS, PLC
WHITELY, JUDY                     NJ - USDC for the District of New Jersey   3:19-cv-18939             LENZE KAMERRER MOSS, PLC
WILKIE, SUSAN                     NJ - USDC for the District of New Jersey   3:19-cv-21211             LENZE KAMERRER MOSS, PLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WILLARD, LILY             NJ - USDC for the District of New Jersey   3:17-cv-11992         LENZE KAMERRER MOSS, PLC
YANNONE, MARY             NJ - USDC for the District of New Jersey   3:18-cv-04859         LENZE KAMERRER MOSS, PLC
YOUNG, LOUANNE            NJ - USDC for the District of New Jersey   3:18-cv-15486         LENZE KAMERRER MOSS, PLC
ABAD, LORNA               NJ - USDC for the District of New Jersey   3:21-cv-11734         LENZE LAWYERS, PLC
ACOSTA, ELEANOR           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ACOSTA, TRINIDAD          NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
AERTS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-09638         LENZE LAWYERS, PLC
ALBACH, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
AL-BADEE, TASKIN          NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ALEXANDER, DORINE         NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ALEXANDER, VALERIE        NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ALLEN, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-01898         LENZE LAWYERS, PLC
ANDERSON, KATHRYN         NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ANDERSON, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ANDREWS, VANNA            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ANGEL, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-14951         LENZE LAWYERS, PLC
ANGEL, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
APARICIO, DIANA           NJ - USDC for the District of New Jersey   3:21-cv-14833         LENZE LAWYERS, PLC
ARP, JULIANNE             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ARSENAULT, ELIZABETH      NJ - USDC for the District of New Jersey   3:21-cv-15013         LENZE LAWYERS, PLC
ARSENAULT, ELIZABETH      NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ARWICK, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
AYALA, LANI               NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BAGASBAS, MARILYN         NJ - USDC for the District of New Jersey   3:20-cv-05724         LENZE LAWYERS, PLC
BAILEY, KELLI             NJ - USDC for the District of New Jersey   3:19-cv-22139         LENZE LAWYERS, PLC
BAKER, HELEN              NJ - USDC for the District of New Jersey   3:21-cv-14896         LENZE LAWYERS, PLC
BAROCAS, JANICE           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BARRETT, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BARTEL, MEDA              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BARTLETT, DENETT          NJ - USDC for the District of New Jersey   3:20-cv-14839         LENZE LAWYERS, PLC
BARTLEY, SHERYL           NJ - USDC for the District of New Jersey   3:20-cv-15859         LENZE LAWYERS, PLC
BARTON, ALANA             NJ - USDC for the District of New Jersey   3:21-cv-14696         LENZE LAWYERS, PLC
BATES, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-09688         LENZE LAWYERS, PLC
BAUMANN, DARLENE          NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BAXTER, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-02916         LENZE LAWYERS, PLC
BEAULIEU, CLAUDETTE       NJ - USDC for the District of New Jersey   3:21-cv-14784         LENZE LAWYERS, PLC
BENITEZ, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BENNETT, CHRISTINA        NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
BENNETT, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-14859         LENZE LAWYERS, PLC
BENTLE, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-14844         LENZE LAWYERS, PLC
BERGER, MARILYN           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BERNAND, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-07458         LENZE LAWYERS, PLC
BERRETH, GAYLE            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BERRY, LUCILE             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BETANCOURT, BLANCA        NJ - USDC for the District of New Jersey   3:21-cv-14753         LENZE LAWYERS, PLC
BLACK, DIANNA             NJ - USDC for the District of New Jersey   3:21-cv-14838         LENZE LAWYERS, PLC
BLACKBURN, TRACY          NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BLACKMON, CAROLYN         NJ - USDC for the District of New Jersey   3:20-cv-00473         LENZE LAWYERS, PLC
BLEUEL, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-07459         LENZE LAWYERS, PLC
BOLAND, NICHOLET          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
BOMBA, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-14709         LENZE LAWYERS, PLC
BONHEYO, LORI             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BOONE, MARSHA             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BOOTH, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BOSQUE, JUANA             NJ - USDC for the District of New Jersey   3:21-cv-01878         LENZE LAWYERS, PLC
BOWERS, DAPHNE            NJ - USDC for the District of New Jersey   3:21-cv-14797         LENZE LAWYERS, PLC
BOWLING, LISA             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BRACEY, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BRANCH, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-14934         LENZE LAWYERS, PLC
BRANCH, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BRANNON, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-14845         LENZE LAWYERS, PLC
BRAXTON, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-14837         LENZE LAWYERS, PLC
BRAYTON, HEATHER          NJ - USDC for the District of New Jersey   3:21-cv-14887         LENZE LAWYERS, PLC
BRAZEALE, JACKIE          NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BREDEMEIER, CATHERINE     NJ - USDC for the District of New Jersey   3:21-cv-14768         LENZE LAWYERS, PLC
BRITTEN, YVONNE           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BRITTON, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-14881         LENZE LAWYERS, PLC
BROADWELL, BONNIE         NJ - USDC for the District of New Jersey   3:19-cv-18156         LENZE LAWYERS, PLC
BROOKS, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-14792         LENZE LAWYERS, PLC
BROWN, BECKY              NJ - USDC for the District of New Jersey   3:21-cv-14744         LENZE LAWYERS, PLC
BROWNING, JOAN            NJ - USDC for the District of New Jersey   3:21-cv-14938         LENZE LAWYERS, PLC
BROWNING, JOAN            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BRUHN, BROWNING           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BRUHN, JEAN               NJ - USDC for the District of New Jersey   3:21-cv-14922         LENZE LAWYERS, PLC
BRYANT, ARETHA            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
BRYANT, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BUELOW, SHIRELY           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BUIE, KATIE               NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BURGHER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-15024         LENZE LAWYERS, PLC
BURGHER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
BURKE, EILEEN                NJ - USDC for the District of New Jersey   3:20-cv-13549         LENZE LAWYERS, PLC
BURNS, BRENDA                NJ - USDC for the District of New Jersey   3:21-cv-14754         LENZE LAWYERS, PLC
BURNS, DOROTHY               NJ - USDC for the District of New Jersey   3:21-cv-14855         LENZE LAWYERS, PLC
BURNS, SANDRA                NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BURNS, SHELLY                NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
BYRD, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CAIN, DAWN                   NJ - USDC for the District of New Jersey   3:21-cv-14801         LENZE LAWYERS, PLC
CALHOUN, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-14749         LENZE LAWYERS, PLC
CALLAHAN, SHELIA             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CAMARILLO, DELPHINE          NJ - USDC for the District of New Jersey   3:21-cv-14826         LENZE LAWYERS, PLC
CAMPA, ROSAMIA               CA - Superior Court - San Bernardino County CIV SB 2101419       LENZE LAWYERS, PLC
CAMPBELL, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CARDENAS, AIMEE              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CARLTON, AMANDA              NJ - USDC for the District of New Jersey   3:21-cv-14703         LENZE LAWYERS, PLC
CARMEN, SHERRY               NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CARRIUOLO, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14815         LENZE LAWYERS, PLC
CASTILLO, SINDA              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CHAMBERLIN, LEIGH            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CHENAULT, DELORES            NJ - USDC for the District of New Jersey   3:21-cv-14825         LENZE LAWYERS, PLC
CHERYL THOMPSON              NJ - USDC for the District of New Jersey   3:21-cv-15169         LENZE LAWYERS, PLC
CHRISTENSON, MICHELLE        NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CHRISTOPHERSEN, MARY         NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CHURCH, VIKKI                NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CISNEROS, ANABEL             NJ - USDC for the District of New Jersey   3:21-cv-14711         LENZE LAWYERS, PLC
CLATTERBUCK, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-14807         LENZE LAWYERS, PLC
COLE, LONI                   NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
COLEMAN, BILLIE              NJ - USDC for the District of New Jersey   3:21-cv-14752         LENZE LAWYERS, PLC
COLLING, HOPE                NJ - USDC for the District of New Jersey   3:21-cv-14898         LENZE LAWYERS, PLC
COLLINS, DOLORES             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
COLLINS, FREIDA              NJ - USDC for the District of New Jersey   3:21-cv-14874         LENZE LAWYERS, PLC
COLLYMORE, DENIQUE           NJ - USDC for the District of New Jersey   3:19-cv-19787         LENZE LAWYERS, PLC
COOMBES, CLARA               NJ - USDC for the District of New Jersey   3:21-cv-14782         LENZE LAWYERS, PLC
CORKINS, DEENA               NJ - USDC for the District of New Jersey   3:21-cv-14824         LENZE LAWYERS, PLC
COUCHMAN, DREAMA             NJ - USDC for the District of New Jersey   3:21-cv-14856         LENZE LAWYERS, PLC
COWARD, TERESA               NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CRANFILL, TERRI              NJ - USDC for the District of New Jersey   3:20-cv-10520         LENZE LAWYERS, PLC
CRAWHORN, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CROPPER, LIBERTY             NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CROWE, NANCY                 NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CRUSHA, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CRUZ, SUSAN                  NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CRUZE, SUSAN                 NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CULPEPPER, TINA              NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
CUNNINGHAM, JOANNE           NJ - USDC for the District of New Jersey   3:21-cv-14939         LENZE LAWYERS, PLC
CUNNINGHAM, JOANNE           NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
CURRIER-RUSACK, JANALYN      NJ - USDC for the District of New Jersey   3:21-cv-14913         LENZE LAWYERS, PLC
CURRIER-RUSACK, JANALYN      NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DAMEWORTH, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-14945         LENZE LAWYERS, PLC
DAMEWORTH, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DANIELS, DANA                NJ - USDC for the District of New Jersey   3:21-cv-14794         LENZE LAWYERS, PLC
DARBY, BEVERLY               NJ - USDC for the District of New Jersey   3:21-cv-14750         LENZE LAWYERS, PLC
DAVIS, DINA                  NJ - USDC for the District of New Jersey   3:21-cv-14839         LENZE LAWYERS, PLC
DAVIS, EVERLYN               NJ - USDC for the District of New Jersey   3:21-cv-14870         LENZE LAWYERS, PLC
DAVIS, KELLY                 NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DAVIS, OLA                   NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DAVIS, SHIRLENE              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DAVISSON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DAY, SARA                    NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DEBAILEY, SHAWANNA           NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DEBRA CRUSHA                 NJ - USDC for the District of New Jersey   3:21-cv-15176         LENZE LAWYERS, PLC
DEGNAN, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DEKEN, JANINE                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DEL VALLE, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DENNIS, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DENTICE, ANGELA              NJ - USDC for the District of New Jersey   3:21-cv-14714         LENZE LAWYERS, PLC
DENTON, ELAINE               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DESERSA, DOVALIEN            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DIAS, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DICKINSON, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14816         LENZE LAWYERS, PLC
DODD, MARY                   NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DODSON, LORETTA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DOLLAR, JOSEPHINE            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DOMAN (OVERACRE), DANIELLE   NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DOMINGUEZ, DORA              NJ - USDC for the District of New Jersey   3:21-cv-14852         LENZE LAWYERS, PLC
DORCIL, FAITH                NJ - USDC for the District of New Jersey   3:21-cv-14872         LENZE LAWYERS, PLC
DOS SANTOS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-01880         LENZE LAWYERS, PLC
DOSEY, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-14730         LENZE LAWYERS, PLC
DOTY, SUSAN                  NJ - USDC for the District of New Jersey   3:20-cv-10523         LENZE LAWYERS, PLC
DOUTHITT, JACINDA            NJ - USDC for the District of New Jersey   3:21-cv-14907         LENZE LAWYERS, PLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
DOUTHITT, JACINDA            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DOWNER, CHERYL               NJ - USDC for the District of New Jersey   3:21-cv-14775         LENZE LAWYERS, PLC
DOWNER, CHERYL               NJ - USDC for the District of New Jersey   3:21-cv-14776         LENZE LAWYERS, PLC
DOYLE, ANTONETTE             NJ - USDC for the District of New Jersey   3:21-cv-14721         LENZE LAWYERS, PLC
DUGGER, KATHERINE            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
DUNN, DEBORAH                NJ - USDC for the District of New Jersey   3:21-cv-14814         LENZE LAWYERS, PLC
EARLS, DEBRA                 NJ - USDC for the District of New Jersey   3:21-cv-14817         LENZE LAWYERS, PLC
EAST, ARLEEN                 NJ - USDC for the District of New Jersey   3:21-cv-14728         LENZE LAWYERS, PLC
EDMONDS, DELORES             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
EDWARDS, DARLA               NJ - USDC for the District of New Jersey   3:21-cv-14798         LENZE LAWYERS, PLC
ELIZABETH GOODEMOTE-MOGOR    NJ - USDC for the District of New Jersey   3:21-cv-15226         LENZE LAWYERS, PLC
ELKINS, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-14931         LENZE LAWYERS, PLC
ELKINS, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
ELLIS, JENNIFER              NJ - USDC for the District of New Jersey   3:21-cv-14926         LENZE LAWYERS, PLC
ELLIS, JENNIFER              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
ENGELMANN, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-19496         LENZE LAWYERS, PLC
ERSKINE, DAWN                NJ - USDC for the District of New Jersey   3:21-cv-14802         LENZE LAWYERS, PLC
ESTEP, JANET                 NJ - USDC for the District of New Jersey   3:21-cv-14915         LENZE LAWYERS, PLC
ESTEP, JANET                 NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
EVERTT, SHERRI               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
EVERY, RUBY                  NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FAAPOULI, NAOMI              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FAGAN, KATHRYN               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FAIR, APRIL                  NJ - USDC for the District of New Jersey   3:21-cv-14722         LENZE LAWYERS, PLC
FAITH OLIVER                 NJ - USDC for the District of New Jersey   3:21-cv-15231         LENZE LAWYERS, PLC
FALCON, REGINA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FALCON, ROSALVA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FANCHER, DORIS               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FARJO, DIALA                 NJ - USDC for the District of New Jersey   3:21-cv-14831         LENZE LAWYERS, PLC
FATSCHEL, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-14834         LENZE LAWYERS, PLC
FATTAL, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FATTEL, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-14952         LENZE LAWYERS, PLC
FEHER, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
FELDMAN, MARJORIE            NJ - USDC for the District of New Jersey   3:17-cv-03163         LENZE LAWYERS, PLC
FELKINS, TANYA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FERRIBY, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-14890         LENZE LAWYERS, PLC
FIGURES, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FIKE, REBECCA                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FLORES, MAXINE               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FLORES, THERESA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FORD, DEANNA                 NJ - USDC for the District of New Jersey   3:20-cv-02296         LENZE LAWYERS, PLC
FORD, DENISE                 NJ - USDC for the District of New Jersey   3:21-cv-14827         LENZE LAWYERS, PLC
FOSTER, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FOSTER, VICKI                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FRANKLIN, VERONICA           NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FRAZIER, TONIA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FREGER, VICTORIA             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FRICK, KAREN                 NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FRIE, ROSALIE                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FUGATE, VONDA                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
FULLER-CROUCH, LEAH          NJ - USDC for the District of New Jersey   3:19-cv-22140         LENZE LAWYERS, PLC
FUTCH, LESLIE                NJ - USDC for the District of New Jersey   3:21-cv-15113         LENZE LAWYERS, PLC
FUTCH, LESLIE                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GALAT, PAMELA                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GARCIA, ERLINDA              NJ - USDC for the District of New Jersey   3:21-cv-14864         LENZE LAWYERS, PLC
GARCIA, REBECCA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GARRETT, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GEARY, JEAN                  NJ - USDC for the District of New Jersey   3:21-cv-14923         LENZE LAWYERS, PLC
GEARY, JEAN                  NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GEER, NOLA                   NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GEORGE, WENDY                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GERENA, VERONICA             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GIBBONS, IRMA                NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
GILBERT, TOMIEKA             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GILROY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GIRTON, MELISSA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GLADYS VAN DYKE              NJ - USDC for the District of New Jersey   3;21-CV-15250         LENZE LAWYERS, PLC
GLORIA LOLLIS                NJ - USDC for the District of New Jersey   3:21-cv-15252         LENZE LAWYERS, PLC
GOMEZ, JACQUELINE            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GONZALEA, KRISTI             NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GOODEMOTE-MOGOR, ELIZABETH   NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GORDON, ROSA                 NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GORDON-OZGUL, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GOSSARD, TERESA              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GRANT, JEANETTE              NJ - USDC for the District of New Jersey   3:21-cv-14924         LENZE LAWYERS, PLC
GRANT, JEANETTE              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GRANT, ROBIN                 NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GREEN, DEBORAH               NJ - USDC for the District of New Jersey   3:21-cv-14808         LENZE LAWYERS, PLC
GREENBERGER, HELEN           NJ - USDC for the District of New Jersey   3:21-cv-14892         LENZE LAWYERS, PLC
GREENE, JANE                 NJ - USDC for the District of New Jersey   3:21-cv-14914         LENZE LAWYERS, PLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GREENE, JANE              NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GREENE, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GREENE, TAMARA            NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GREENWALD, MARGARET       NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
GREGG, EDITH              NJ - USDC for the District of New Jersey   3:21-cv-14857         LENZE LAWYERS, PLC
GROSS, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-14731         LENZE LAWYERS, PLC
GUNNELS, STEFANIE         NJ - USDC for the District of New Jersey   3:20-cv-00122         LENZE LAWYERS, PLC
GURAL, MAUREEN            NJ - USDC for the District of New Jersey   3:20-cv-10524         LENZE LAWYERS, PLC
HAAG, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-14758         LENZE LAWYERS, PLC
HALL, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-13441         LENZE LAWYERS, PLC
HALL-NASH, MAMIE          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HALL-RAMSEY, SHIRLEY      NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HAMILTON, BEVERLY         NJ - USDC for the District of New Jersey   3:21-cv-14751         LENZE LAWYERS, PLC
HAMMER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HAMMITT, MARION           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HAMMOND, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HANDORGAN, CECELIA        NJ - USDC for the District of New Jersey   3:21-cv-14769         LENZE LAWYERS, PLC
HARGET, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-14908         LENZE LAWYERS, PLC
HARGET, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HARGETT, DEBORAH          NJ - USDC for the District of New Jersey   3;21-cv-14809         LENZE LAWYERS, PLC
HARJO, APRIL              NJ - USDC for the District of New Jersey   3:21-cv-14724         LENZE LAWYERS, PLC
HARPER, JEWELL            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HARRIS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HARRIS, PAULETTE          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HARTLEIN, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HARTMAN, HEIDI            NJ - USDC for the District of New Jersey   3:21-cv-14888         LENZE LAWYERS, PLC
HAYES, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HAYES, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HAYS, KATHLEEN            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HAYS, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HEAVENER, GERALDINE       NJ - USDC for the District of New Jersey   3:21-cv-14876         LENZE LAWYERS, PLC
HEDELL, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-14893         LENZE LAWYERS, PLC
HELTON, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HENSLEE, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-14712         LENZE LAWYERS, PLC
HENTON, DEANNA            NJ - USDC for the District of New Jersey   3:21-cv-14806         LENZE LAWYERS, PLC
HERRERA, ESTELA           NJ - USDC for the District of New Jersey   3:21-cv-14866         LENZE LAWYERS, PLC
HERRING, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HESTER, KATHERYN          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HEYWARD, THELMA           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HICKS, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HIGGS, JUNE               NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HILLIN, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HOBBS, LESA               NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HODGES, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14732         LENZE LAWYERS, PLC
HOE, NANCY                NJ - USDC for the District of New Jersey   3:19-cv-16227         LENZE LAWYERS, PLC
HOLMES, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HOLT, FRANKIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HOOD, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HORD, PENNY               NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HORTON, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HORTON, PENNY             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HOUGE, DORLENE            NJ - USDC for the District of New Jersey   3:21-cv-14854         LENZE LAWYERS, PLC
HOWE, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HOWELL, SHELIA            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HUGHES, SHEFFEY           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HULEN, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-10232         LENZE LAWYERS, PLC
HUNOLD, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-14828         LENZE LAWYERS, PLC
HUNT, LACOLE              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HUNTER, LAKESHA           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
HUTZLER, IVY              NJ - USDC for the District of New Jersey   3:21-cv-14906         LENZE LAWYERS, PLC
HUTZLER, IVY              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
IMTIAZ, SYEDA             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
INGRAM, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
ISABEL RODRIGUEZ          NJ - USDC for the District of New Jersey   3:21-cv-15253         LENZE LAWYERS, PLC
ISLES, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JACKSON, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JACKSON, VONDA            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JACQUELINE GOMEZ          NJ - USDC for the District of New Jersey   3:21-cv-15367         LENZE LAWYERS, PLC
JAMES, DORIS              NJ - USDC for the District of New Jersey   3:21-cv-14853         LENZE LAWYERS, PLC
JAMES, JANNIE             NJ - USDC for the District of New Jersey   3:21-cv-14921         LENZE LAWYERS, PLC
JAMES, JANNIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JAMISON, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JENKINS, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-14894         LENZE LAWYERS, PLC
JENKINS, LATANYA          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JENNINGS, DARLA           NJ - USDC for the District of New Jersey   3:21-cv-14799         LENZE LAWYERS, PLC
JITE-OGBUEHI, LUCY        NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JOHN, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JOHNSON, ANTIONETTE       NJ - USDC for the District of New Jersey   3:21-cv-14720         LENZE LAWYERS, PLC
JOHNSON, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-14882         LENZE LAWYERS, PLC
JOHNSON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
JOHNSON, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JOHNSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JOHNSON, STACI            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JOHNSON, VICKI            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JONES, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-14755         LENZE LAWYERS, PLC
JONES, GWENDOLYN          NJ - USDC for the District of New Jersey   3:21-cv-14885         LENZE LAWYERS, PLC
JONES, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-14943         LENZE LAWYERS, PLC
JONES, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JONES, LESLIE             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JONES, NORMA              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JONES, TRACY              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JOSEPH, AUDREY            NJ - USDC for the District of New Jersey   3:19-cv-17164         LENZE LAWYERS, PLC
JOSHUA, PAULETTE          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
JUSTICE, LESLIE           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KANE, PAMELA              CA - Superior Court - Los Angeles County   21STCV01985           LENZE LAWYERS, PLC
KASH, NAJWA               NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KEENAN, CELESTE           NJ - USDC for the District of New Jersey   3:21-cv-14771         LENZE LAWYERS, PLC
KELLY, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-14763         LENZE LAWYERS, PLC
KELLY, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KERSHAW, DEDE             NJ - USDC for the District of New Jersey   3:21-cv-14823         LENZE LAWYERS, PLC
KEY, ESTHER               NJ - USDC for the District of New Jersey   3:21-cv-14867         LENZE LAWYERS, PLC
KIELCZWESKI, KIM          NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KIMBLE, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-14884         LENZE LAWYERS, PLC
KING, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KING, EVA                 NJ - USDC for the District of New Jersey   3:19-cv-19788         LENZE LAWYERS, PLC
KIRBY, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-14733         LENZE LAWYERS, PLC
KIRKLAND, ERNESTINE       NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KIRSCHBAUM, LISA          NJ - USDC for the District of New Jersey   3:19-cv-22141         LENZE LAWYERS, PLC
KLEIN-DAVIS, STEPHANIE    NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KLOCKE, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KORNMAN, TERRY            NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KOVACH, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14818         LENZE LAWYERS, PLC
KRAJEWSKA, KRYSTYNA       NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
KRAUS, FAYE               NJ - USDC for the District of New Jersey   3:21-cv-14873         LENZE LAWYERS, PLC
KRAUS, FAYE               NJ - USDC for the District of New Jersey   3:21-cv-14873         LENZE LAWYERS, PLC
KRISE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-14759         LENZE LAWYERS, PLC
KUBIAK, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
LAMAN, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-13454         LENZE LAWYERS, PLC
LANDIS, DANIELLE          NJ - USDC for the District of New Jersey   3:21-cv-14796         LENZE LAWYERS, PLC
LANSDALE, MARY            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LANSDELL, AMANDA          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LARRISON, SANDIE          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LAURENT, MAUREEN          NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
LAWHON, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LAWRENCE, ELLEN           NJ - USDC for the District of New Jersey   3:21-cv-14861         LENZE LAWYERS, PLC
LAWSON, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-14846         LENZE LAWYERS, PLC
LEARY, SHANNA             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEASE, JANET              NJ - USDC for the District of New Jersey   3:21-cv-14916         LENZE LAWYERS, PLC
LEASE, JANET              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEBOUEF, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEDRIDGE, ROBIN           NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEE, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-14927         LENZE LAWYERS, PLC
LEE, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEHNHOFF-MCCRAY, ROBIN    NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEIKNESS, AMY             NJ - USDC for the District of New Jersey   3:21-cv-14705         LENZE LAWYERS, PLC
LEISURE, EVA              NJ - USDC for the District of New Jersey   3:21-cv-14868         LENZE LAWYERS, PLC
LESTER, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LEWIS, DARNICE            NJ - USDC for the District of New Jersey   3:21-cv-14800         LENZE LAWYERS, PLC
LEWIS, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LIGNEY, JANET             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LLORIN, LENA              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LOLLIS, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LOPEZ-REY, SELENA         NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LOUVIERE, MARIE           NJ - USDC for the District of New Jersey   3:20-cv-06107         LENZE LAWYERS, PLC
LOVE, RITA                NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LOVE, TORY                NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LOVELACE, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-14734         LENZE LAWYERS, PLC
LOWMAN, JOANNE            NJ - USDC for the District of New Jersey   3:21-cv-14940         LENZE LAWYERS, PLC
LOWMAN, JOANNE            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
LUEDTKE, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-14735         LENZE LAWYERS, PLC
LUNA, BELINDA             NJ - USDC for the District of New Jersey   3:21-cv-14746         LENZE LAWYERS, PLC
LYNCH, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-15165         LENZE LAWYERS, PLC
MACK, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MADISON, WILLIET          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MAGER, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-14935         LENZE LAWYERS, PLC
MAGER, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MALCOLM, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-14928         LENZE LAWYERS, PLC
MALCOLM, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MALLORY, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MANGIONE, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-14760         LENZE LAWYERS, PLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MANZI, MARY               NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MARBLE, ROCHELLE          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MARCUM, SARA              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MARTIN, CLAUDIA           NJ - USDC for the District of New Jersey   3:21-cv-14785         LENZE LAWYERS, PLC
MARTIN, SHERRY            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MARTIN, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MARTINEZ, IRENE           NJ - USDC for the District of New Jersey   3:21-cv-14902         LENZE LAWYERS, PLC
MARTINEZ, JAMIE           NJ - USDC for the District of New Jersey   3:21-cv-14912         LENZE LAWYERS, PLC
MARTINEZ, JAMIE           NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MARTIN-HATFIELD, LINDA    NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MASON, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-14810         LENZE LAWYERS, PLC
MASTERS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MASTERSON, NINA           NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MATA, LUPE                NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MATTOX, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-14847         LENZE LAWYERS, PLC
MAY, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCALILEY, SUANNE          NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCBRIDE, CARMEN           NJ - USDC for the District of New Jersey   3:21-cv-14757         LENZE LAWYERS, PLC
MCCOY, JANETTE            NJ - USDC for the District of New Jersey   3:21-cv-14917         LENZE LAWYERS, PLC
MCCOY, JANETTE            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCCOY, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCCULTY, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCDADE, MAUREEN           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
MCKNIGHT, JANET           NJ - USDC for the District of New Jersey   3:20-cv-07399         LENZE LAWYERS, PLC
MCMANUS, LORRAINE         NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCMILLAN, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-14909         LENZE LAWYERS, PLC
MCMILLAN, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCMULLEN, DIXIE           NJ - USDC for the District of New Jersey   3:21-cv-14841         LENZE LAWYERS, PLC
MCNEECE, MARGERETTE       NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MCPHILLIPS, LAURIE        NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MENA, IRENE               NJ - USDC for the District of New Jersey   3:21-cv-14903         LENZE LAWYERS, PLC
MERRICK, ALTHEA           NJ - USDC for the District of New Jersey   3:21-cv-14701         LENZE LAWYERS, PLC
MESCIA, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-14777         LENZE LAWYERS, PLC
METZ, TIFFANY             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MILAM, TONI               NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MILLER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14736         LENZE LAWYERS, PLC
MILLER, CAROL             NJ - USDC for the District of New Jersey   3:21-cc-14764         LENZE LAWYERS, PLC
MILLER, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-14764         LENZE LAWYERS, PLC
MILLS, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MITCHELL, ROSE            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MOHROR, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14737         LENZE LAWYERS, PLC
MOLNAR, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14738         LENZE LAWYERS, PLC
MONTALVO, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MOORE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
MOORE, JILL               NJ - USDC for the District of New Jersey   3:21-cv-14933         LENZE LAWYERS, PLC
MOORE, JILL               NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MOORE, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MOORE, PAMULA             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MOORE, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MOREIRA, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-14819         LENZE LAWYERS, PLC
MORGAN, ANN               NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MORGAN, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-14719         LENZE LAWYERS, PLC
MORGAN, CHARLOTTE         NJ - USDC for the District of New Jersey   3:21-cv-14773         LENZE LAWYERS, PLC
MORGAN, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MORIMITSU, MARIA          NJ - USDC for the District of New Jersey   3:20-cv-00835         LENZE LAWYERS, PLC
MORRIS, VICKIE            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MORRIS, WENDY             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MUNOZ, DELFINA            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MURPHY, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MURPHY, SONORA            NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
MYERS, COLLINS            NJ - USDC for the District of New Jersey   3:21-cv-14761         LENZE LAWYERS, PLC
MYERS, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
NANCE, MINNIE             NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
NASH, KIMBERLY            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
NAVARRO, MARINA           NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
NEAL, APRIL               NJ - USDC for the District of New Jersey   3:21-cv-14726         LENZE LAWYERS, PLC
NEAL, MARY                NJ - USDC for the District of New Jersey   3:20-cv-19167         LENZE LAWYERS, PLC
NEELD, ELLEN              NJ - USDC for the District of New Jersey   3:21-cv-14862         LENZE LAWYERS, PLC
NELSON, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14822         LENZE LAWYERS, PLC
NELSON, HANNAH            NJ - USDC for the District of New Jersey   3:21-cv-14886         LENZE LAWYERS, PLC
NELSON, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-13450         LENZE LAWYERS, PLC
NETHERLAND, LINDA         NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
NETTLES, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-14739         LENZE LAWYERS, PLC
NEUMAN, SHARRI            NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
NEWLIN, ANN               NJ - USDC for the District of New Jersey   3:21-cv-14717         LENZE LAWYERS, PLC
NGUYEN, HIEN              NJ - USDC for the District of New Jersey   3:21-cv-14897         LENZE LAWYERS, PLC
NIELSEN, JESSICA          NJ - USDC for the District of New Jersey   3:21-cv-14932         LENZE LAWYERS, PLC
NIELSEN, JESSICA          NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
NIX, ELLEN                NJ - USDC for the District of New Jersey   3:21-cv-14863         LENZE LAWYERS, PLC
NORDICK, TRUDY            NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
NORTHUP-DALTON, SHARON    NJ - USDC for the District of New Jersey   3:20-cv-13551             LENZE LAWYERS, PLC
NORTON, GLENDA            NJ - USDC for the District of New Jersey   3:21-cv-14879             LENZE LAWYERS, PLC
NUFFER, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
OCAMPO, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-14835             LENZE LAWYERS, PLC
OCONNELL, GERALDINE       NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
OCONNOR, ILENE            NJ - USDC for the District of New Jersey   3:21-cv-14900             LENZE LAWYERS, PLC
OHLER, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-20502             LENZE LAWYERS, PLC
OLIVER, FAITH             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
OLIVER, LISA              NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ORLICH, ANNE              NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
OROPEZA, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
OTTENS, CHANTELLE         NJ - USDC for the District of New Jersey   3:21-cv-14772             LENZE LAWYERS, PLC
OUSLEY, BERNADINE         NJ - USDC for the District of New Jersey   3:21-cv-14747             LENZE LAWYERS, PLC
OWEN, JOAN                NJ - USDC for the District of New Jersey   3:21-cv-14936             LENZE LAWYERS, PLC
OWEN, JOAN                NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
OWINGS, DAWNETTE          NJ - USDC for the District of New Jersey   3:21-cv-14804             LENZE LAWYERS, PLC
OXENDINE, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PALAZZO, JEANNE           NJ - USDC for the District of New Jersey   3:21-cv-14925             LENZE LAWYERS, PLC
PALAZZO, JEANNE           NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PARIS, DANI               NJ - USDC for the District of New Jersey   3:21-cv-14795             LENZE LAWYERS, PLC
                                                                     37-2020-00045616-CU-MT-
PARRAS, ANN               CA - Superior Court - San Diego County                               LENZE LAWYERS, PLC
                                                                     CTL
PASCUAL, SACHA            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PATTERSON, SHELLEY        NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PEACE, LEANN              NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PEDERSEN, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PENAFLOR, CECILIA         NJ - USDC for the District of New Jersey   3:21-cv-14770             LENZE LAWYERS, PLC
PENNINGTON, MARGUERITE    NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PEPIN, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PERKINSON, TAMAR          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PERLMAN, ALYSE            NJ - USDC for the District of New Jersey   3:21-cv-14702             LENZE LAWYERS, PLC
PERRY, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-14820             LENZE LAWYERS, PLC
PETERSON, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-14778             LENZE LAWYERS, PLC
PFEIFER, PATRINA          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PHILLIPS, CHERIE          NJ - USDC for the District of New Jersey   3:21-cv-14774             LENZE LAWYERS, PLC
PIEFER, SUE               NJ - USDC for the District of New Jersey   3:20-cv-13548             LENZE LAWYERS, PLC
PIEPER, VICKI             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PIERCEY, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-14937             LENZE LAWYERS, PLC
PIERCEY, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PILAKINGTON, TAMA         NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PILEGARD, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
PIPKINS, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
POLCEN, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-14953             LENZE LAWYERS, PLC
POLCEN, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
POLLARD-OJO, LINDA        NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
POOL, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
POPVICH, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
POWELL, WILMA             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
POWERS, CINDY             NJ - USDC for the District of New Jersey   3:21-cv-14781             LENZE LAWYERS, PLC
POWERS, EVELYN            NJ - USDC for the District of New Jersey   3:21-cv-14869             LENZE LAWYERS, PLC
POWERS, VICTORIA          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
QUICK, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
RADEL, JAIME              NJ - USDC for the District of New Jersey   3:19-cv-17620             LENZE LAWYERS, PLC
RADTKE, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
RAMIREZ, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-14904             LENZE LAWYERS, PLC
RAMIREZ, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
RAMON, ELIPIHNA           NJ - USDC for the District of New Jersey   3:21-cv-14858             LENZE LAWYERS, PLC
RAWLS, APRIL              NJ - USDC for the District of New Jersey   3:21-cv-14727             LENZE LAWYERS, PLC
RAY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
RAYNE STEENS, LA          NJ - USDC for the District of New Jersey   3:21-cv-13447             LENZE LAWYERS, PLC
REASON, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-14848             LENZE LAWYERS, PLC
REDNER, ROLENA            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
REED-JOSEPH, ILIZA        NJ - USDC for the District of New Jersey   3:21-cv-14901             LENZE LAWYERS, PLC
REESE, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-14849             LENZE LAWYERS, PLC
REGENSBURG, MADY          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
REIMERS, DEANA            NJ - USDC for the District of New Jersey   3:21-cv-14805             LENZE LAWYERS, PLC
REINER, SHERRI            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
REUTER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
REYNOLDS, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-14811             LENZE LAWYERS, PLC
REYNOLDS, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
REYNOLDS, JACQUELYN       NJ - USDC for the District of New Jersey   3:21-cv-14910             LENZE LAWYERS, PLC
RICHARDSON, LISA          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
RIEGEL, AMY               NJ - USDC for the District of New Jersey   3:21-cv-14707             LENZE LAWYERS, PLC
RIVERA, OLGA              NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ROBERTS, CARRIE           NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ROBERTS, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ROBERTS, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ROBESON, BECKY            NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ROBINSON, NAN             NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC
ROBINSON, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-13443             LENZE LAWYERS, PLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ROBINSON, SHERRI          NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
RODRIGUEZ, GISELA         NJ - USDC for the District of New Jersey   3:21-cv-14878         LENZE LAWYERS, PLC
RODRIGUEZ, HOPE           NJ - USDC for the District of New Jersey   3:21-cv-14899         LENZE LAWYERS, PLC
RODRIGUEZ, ISABEL         NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
ROGER, DIONICIA           NJ - USDC for the District of New Jersey   3:21-cv-14840         LENZE LAWYERS, PLC
ROGERS, ALICE             NJ - USDC for the District of New Jersey   3:21-cv-14700         LENZE LAWYERS, PLC
ROGERS, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-14851         LENZE LAWYERS, PLC
ROGERS, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-13451         LENZE LAWYERS, PLC
ROMAN, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-00817         LENZE LAWYERS, PLC
ROSE, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-14954         LENZE LAWYERS, PLC
ROSE, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
ROUNSAVILLE, JODY         NJ - USDC for the District of New Jersey   3:21-cv-14941         LENZE LAWYERS, PLC
ROWE, DENISE              NJ - USDC for the District of New Jersey   3:21-cv-14829         LENZE LAWYERS, PLC
RUFFIN, RUTHANN           NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
RUIZ, LUCIA               NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
RUSSELL, THERESA          NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
RUTKOWSKI, JEANNE         NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SALAZAR, CELIA            NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SALAZAR, DOLORES          NJ - USDC for the District of New Jersey   3:21-cv-14843         LENZE LAWYERS, PLC
SALAZAR, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SALEEM, FRIEDA            NJ - USDC for the District of New Jersey   3:21-cv-14875         LENZE LAWYERS, PLC
SALOMAO, POLYANA          NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SAMBI, GEMMA              NJ - USDC for the District of New Jersey   3:19-cv-18805         LENZE LAWYERS, PLC
SAMUELSEN, BARBARA        NJ - USDC for the District of New Jersey   3:21-cv-14740         LENZE LAWYERS, PLC
SANCHEZ, JULIE            NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SANCHEZ, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SANCHEZ, PURIFICACION     NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SANDUSKY, LORETTA         NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
SAVAGE, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-14837         LENZE LAWYERS, PLC
SAWYER, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-14860         LENZE LAWYERS, PLC
SCARLETT, LILLIE          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SCHACK, LYNN              NJ - USDC for the District of New Jersey   3:20-cv-17980         LENZE LAWYERS, PLC
SCHENK, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SCHNAPP, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SCHUETZ, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SCHWARTS, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SECREST-KENT, DEBORAH     NJ - USDC for the District of New Jersey   3:21-cv-14812         LENZE LAWYERS, PLC
SENOSK, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-14830         LENZE LAWYERS, PLC
SERNA, CLAUDIA            NJ - USDC for the District of New Jersey   3:21-cv-14786         LENZE LAWYERS, PLC
SEYLLER, SUZA             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
SHANKWEILER, KATHRYN      NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SHIFFER, CAROLANN         NJ - USDC for the District of New Jersey   3:21-cv-14765         LENZE LAWYERS, PLC
SHORT, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-14766         LENZE LAWYERS, PLC
SHULER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14729         LENZE LAWYERS, PLC
SIMPSON, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SIMS, DAWN                NJ - USDC for the District of New Jersey   3:21-cv-14803         LENZE LAWYERS, PLC
SIMS, ORALEAN             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SKIPPER, REBA             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SLACK, KAYSHA             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SLAYTON, SARAH            CA - Superior Court - Los Angeles County   19STCV39454           LENZE LAWYERS, PLC
SLYCORD, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-14944         LENZE LAWYERS, PLC
SLYCORD, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SMITH, ANNE               NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SMITH, KELLI              NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SMITH, SUSETTE            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SMITH-FUTRELL, VIVIAN     NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SMNITH, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-14895         LENZE LAWYERS, PLC
SOTO, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SPARKMAN, STACEY          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SPEIGHT, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-14911         LENZE LAWYERS, PLC
SPEIGHT, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SPRAGUE, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STAMPER, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STAMPS, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-14955         LENZE LAWYERS, PLC
STAMPS, KARMEN            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STANLEY, KELLIE           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STENNETT, KIM             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STEPHENSON, JENNIFER      NJ - USDC for the District of New Jersey   3:21-cv-14930         LENZE LAWYERS, PLC
STEPHENSON, JENNIFER      NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STEWART, KELLIE           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STOCKTON, KATHY           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STOEHR, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14821         LENZE LAWYERS, PLC
STRATTON, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STRAWHORN, PHYLLIS        NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
STROH, NORMA              NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SUAREZ, KELLY             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SUIRE, ROZANE             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SUMNER, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-14836         LENZE LAWYERS, PLC
SUMPTER, LOLITA           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
SUTTLE, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
SWEET, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-12068         LENZE LAWYERS, PLC
SYKES, SHELIA              NJ - USDC for the District of New Jersey   3:21-cv-12582         LENZE LAWYERS, PLC
TALAMANTES, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TASHJIAN, DIAN             NJ - USDC for the District of New Jersey   3:21-cv-14832         LENZE LAWYERS, PLC
TAUFETEE, LAMONA           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TAUTEROUFF, MARY           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TAYLOR, LETITIA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TAYLOR, LORENNA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TAYLOR, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TEDFORD, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14741         LENZE LAWYERS, PLC
TEEPLES, RHONDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TEMPLE, CLARA              NJ - USDC for the District of New Jersey   3:21-cv-14783         LENZE LAWYERS, PLC
TENNEY, EXIE               NJ - USDC for the District of New Jersey   3:21-cv-14871         LENZE LAWYERS, PLC
THOMAS, ALEXANDRA          NJ - USDC for the District of New Jersey   3:21-cv-14697         LENZE LAWYERS, PLC
THOMAS, TONI               NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
THOMAS-LEWIS, SHELIA       NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
THOMASTON, SHARON          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
THOMPSON, CHERYL           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
THOMPSON, JANICE           NJ - USDC for the District of New Jersey   3:21-cv-14918         LENZE LAWYERS, PLC
THOMPSON, JANICE           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
THOMPSON, SUZANNE          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TIPTON, GERMAINE           NJ - USDC for the District of New Jersey   3:21-cv-14877         LENZE LAWYERS, PLC
TORRES, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TRONCOSO, CONNIE           NJ - USDC for the District of New Jersey   3:21-cv-14788         LENZE LAWYERS, PLC
TROTTER, SHERRY            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
TRUJILLO, CONNIE           NJ - USDC for the District of New Jersey   3:21-cv-14789         LENZE LAWYERS, PLC
TURNAGE, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-14793         LENZE LAWYERS, PLC
UDANI, GEETA               NJ - USDC for the District of New Jersey   3:21-cv-00222         LENZE LAWYERS, PLC
UNDERWOOD, MARSHA          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
UTTERBACK, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
VANDERPOOL, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
VANDYKE, GLADYS            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
VARGAS, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-14813         LENZE LAWYERS, PLC
VARGAS, JODY               NJ - USDC for the District of New Jersey   3:21-cv-14942         LENZE LAWYERS, PLC
VARGAS, JODY               NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
VIEHMEYER, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
VILLAGOMEZ, MARTHA         NJ - USDC for the District of New Jersey   3:20-cv-09641         LENZE LAWYERS, PLC
VILLE, JODY                NJ - USDC for the District of New Jersey   3:21-cv-13443         LENZE LAWYERS, PLC
VUKELICK, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WADDELL, AUDREY            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WADE, MARILYN              NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WAGNER, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WALKER, BETTIE             NJ - USDC for the District of New Jersey   3:21-cv-14748         LENZE LAWYERS, PLC
WALKER, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-14790         LENZE LAWYERS, PLC
WALKER-MCGEE, STACY        NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WALTERS, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WANG, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WARFORD, SHELLA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WARNKE, LUCINDA            NJ - USDC for the District of New Jersey   3:21-cv-15015         LENZE LAWYERS, PLC
WARNKE, LUCINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WARREN, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WARREN, TREVA              NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WASHINGTON, ORA            NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WASHINGTON, VANESSA        NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WATKINS, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WEBSTER, ANN               NJ - USDC for the District of New Jersey   3:21-cv-13447         LENZE LAWYERS, PLC
WELLS, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-14756         LENZE LAWYERS, PLC
WERKHEISER, CHRISTINE      NJ - USDC for the District of New Jersey   3:21-cv-14779         LENZE LAWYERS, PLC
WESTBERG, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WHEELER, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WHITE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WHITE, VADA                NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WHITE-HENDERSON, TRENICA   NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WICKSTROM, SHERRY          NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WIDEL, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-14742         LENZE LAWYERS, PLC
WIKSE, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-14946         LENZE LAWYERS, PLC
WIKSE, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLETT, CHRISTY           NJ - USDC for the District of New Jersey   3:21-cv-14780         LENZE LAWYERS, PLC
WILLIAMS, GLICERIA         NJ - USDC for the District of New Jersey   3:21-cv-14880         LENZE LAWYERS, PLC
WILLIAMS, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-14948         LENZE LAWYERS, PLC
WILLIAMS, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLIAMS, KENDRA           NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLIAMS, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLIAMS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLIAMS, MELANESA         NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLIAMS, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILLIAMS, SONIA            NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILSON, KWEILIN            NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILSON, MARIAN             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WILSON, SARA               NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC




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          Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
WILSON, SONIA             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WINCHESTER, KRIS          NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WINTER, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WOELFEL, MARY             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WOHLERT, CAROLYN          NJ - USDC for the District of New Jersey   3;21-cv-14767         LENZE LAWYERS, PLC
WOODRUFF, GRACE           NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WRAY, ANITA               NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WRIGHT, JANET             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WRIGHT, KATIE             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WYATT, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WYLIE, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-14949         LENZE LAWYERS, PLC
WYLIE, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
WYSKIEL, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-14743         LENZE LAWYERS, PLC
YARBROUGH, KATHERINE      NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
YARBROUGH, RUBY           NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
YINGLING, MELODY          NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
YOCOM, LISA               NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
YORK, NICHOLE             NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
YOUNG, PORSCHIA           NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
YOUNG, SUZANNE            NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
ZAREMBA, JOYCE            NJ - USDC for the District of New Jersey   3:21-cv-14947         LENZE LAWYERS, PLC
ZAREMBA, JOYCE            NJ - USDC for the District of New Jersey   3:21-cv-13445         LENZE LAWYERS, PLC
ZILAFRO, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-14791         LENZE LAWYERS, PLC
ZUBEN, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-14850         LENZE LAWYERS, PLC
POSTON, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-09349         LEVENTHAL & PUGA P.C.
ARTZ, JANET               NJ - USDC for the District of New Jersey   3:20-cv-01818         LEVIN FISHBEIN SEDRAN & BERMAN
LAFERNEY, MARY            NJ - USDC for the District of New Jersey   3:21-cv-01174         LEVIN FISHBEIN SEDRAN & BERMAN
LAGLAIVE, MARIA           NJ - USDC for the District of New Jersey   3:19-cv-00306         LEVIN FISHBEIN SEDRAN & BERMAN
WESLEY, BRIGITTE          NJ - USDC for the District of New Jersey   3:19-cv-01200         LEVIN FISHBEIN SEDRAN & BERMAN
WILSON, LISA              NJ - USDC for the District of New Jersey   3:16-cv-07886         LEVIN FISHBEIN SEDRAN & BERMAN
CASARETTO, ALBERTO AND                                                                     LEVIN PAPANTONIO THOMAS MITCHELL
                          FL - Circuit Court - Broward County        CACE-18-028502
CASARETTO, IRENE                                                                           RAFFERT
CRONK, ANGELA             NJ - USDC for the District of New Jersey   3:19-cv-19979         LEVIN SEDRAN & BERMAN
FOLOKY, VERONICA          NJ - USDC for the District of New Jersey   3:20-cv-07579         LEVIN SEDRAN & BERMAN
KREGER, CHERYL            NJ - USDC for the District of New Jersey   3:19-cv-17015         LEVIN SEDRAN & BERMAN
STANGER, GEORGANN         NJ - USDC for the District of New Jersey   3:20-cv-12285         LEVIN SEDRAN & BERMAN
ABRAMS, GEORGEANNE        CA - Superior Court - Santa Clara County   16CV300339            LEVIN SIMES ABRAMS LLP
BINIUS, CHRISTINA         NJ - USDC for the District of New Jersey   3:17-cv-04832         LEVIN SIMES ABRAMS LLP
COHEN, CONSUELO           NJ - USDC for the District of New Jersey   3:18-cv-12063         LEVIN SIMES ABRAMS LLP
COLLINS, REBECCA          NJ - USDC for the District of New Jersey   3:19-cv-18678         LEVIN SIMES ABRAMS LLP
COOPER, MARY              NJ - USDC for the District of New Jersey   3:19-cv-15872         LEVIN SIMES ABRAMS LLP
CROSS, MELANIE            NJ - USDC for the District of New Jersey   3:19-cv-17313         LEVIN SIMES ABRAMS LLP
DUHON, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-10924         LEVIN SIMES ABRAMS LLP
GOEDECKE-JONES, DEBORAH   NJ - USDC for the District of New Jersey   3:19-cv-12324         LEVIN SIMES ABRAMS LLP
HIGGINS, JOSEPHINE        NJ - USDC for the District of New Jersey   3:20-cv-06512         LEVIN SIMES ABRAMS LLP
JACHYM, LORRAINE          NJ - USDC for the District of New Jersey   3:19-cv-12186         LEVIN SIMES ABRAMS LLP
LEVY, PAM                 NJ - USDC for the District of New Jersey   3:20-cv-18967         LEVIN SIMES ABRAMS LLP
MCGUINNESS, ERIN          NJ - USDC for the District of New Jersey   3:19-cv-09482         LEVIN SIMES ABRAMS LLP
NAVARRO, DAWN             NJ - USDC for the District of New Jersey   3:18-cv-02079         LEVIN SIMES ABRAMS LLP
POPLICK, HEIDII           NJ - USDC for the District of New Jersey   3:21-cv-11112         LEVIN SIMES ABRAMS LLP
PRISOCK, KELLY            NJ - USDC for the District of New Jersey   3:20-cv-17409         LEVIN SIMES ABRAMS LLP
ROBLES, MIRIAM            NJ - USDC for the District of New Jersey   3:19-cv-15755         LEVIN SIMES ABRAMS LLP
RODRIGUEZ-DIAZ, GRISEL    NJ - USDC for the District of New Jersey   3:17-cv-06232         LEVIN SIMES ABRAMS LLP
ROEBUCK, KAY              NJ - USDC for the District of New Jersey   3:20-cv-02109         LEVIN SIMES ABRAMS LLP
SEWELL, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-11110         LEVIN SIMES ABRAMS LLP
STUART, CONNIE            NJ - USDC for the District of New Jersey   3:17-cv-10603         LEVIN SIMES ABRAMS LLP
TENCER, DIANNE            NJ - USDC for the District of New Jersey   3:20-cv-05913         LEVIN SIMES ABRAMS LLP
WHITAKER, BOBBIE          NJ - USDC for the District of New Jersey   3:17-cv-04834         LEVIN SIMES ABRAMS LLP
WICKER, SHERRY            NJ - USDC for the District of New Jersey   3:19-cv-19179         LEVIN SIMES ABRAMS LLP
ZALOGA, CECYLIA           NJ - USDC for the District of New Jersey   3:20-cv-06195         LEVIN SIMES ABRAMS LLP
ARMSTRONG, JANICE         NJ - USDC for the District of New Jersey   3:18-cv-13246         LEVIN SIMES LLP
BADEN, MARY               CA - Superior Court - Santa Clara County   16-cv-300592          LEVIN SIMES LLP
BALL, PAMELA              NJ - USDC for the District of New Jersey   3:17-cv-11350         LEVIN SIMES LLP
BANKS-HARRIS, BEULAH      NJ - USDC for the District of New Jersey   3:17-cv-04838         LEVIN SIMES LLP
BAUER, JUDY               NJ - USDC for the District of New Jersey   3:18-cv-00768         LEVIN SIMES LLP
BELL, LIN                 NJ - USDC for the District of New Jersey   3:17-cv-02871         LEVIN SIMES LLP
BERUMEN, MARIA            NJ - USDC for the District of New Jersey   3:18-cv-02369         LEVIN SIMES LLP
BETTS, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-00763         LEVIN SIMES LLP
BEWLEY, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-15303         LEVIN SIMES LLP
BRITT, BRENDA             NJ - USDC for the District of New Jersey   3:19-cv-04743         LEVIN SIMES LLP
BROOKS-HILLIARD, KANDY    NJ - USDC for the District of New Jersey   3:17-cv-11737         LEVIN SIMES LLP
BROOKSHIRE, TANYA         NJ - USDC for the District of New Jersey   3:17-cv-06711         LEVIN SIMES LLP
BROUCEK, KELLY            NJ - USDC for the District of New Jersey   3:18-cv-00731         LEVIN SIMES LLP
BROWN, CLAUDIA            NJ - USDC for the District of New Jersey   3:18-cv-08775         LEVIN SIMES LLP
BRUMLEY, KATHERINE        NJ - USDC for the District of New Jersey   3:17-cv-04123         LEVIN SIMES LLP
CAMPBELL, LEANN           NJ - USDC for the District of New Jersey   3:17-cv-11334         LEVIN SIMES LLP
CHAPMAN, JUNE             NJ - USDC for the District of New Jersey   3:17-cv-03362         LEVIN SIMES LLP
CHILDRESS, GINNIE         NJ - USDC for the District of New Jersey   3:17-cv-11323         LEVIN SIMES LLP
CLARK, MARIE              NJ - USDC for the District of New Jersey   3:17-cv-11320         LEVIN SIMES LLP
COBB, CINDY               NJ - USDC for the District of New Jersey   3:17-cv-02349         LEVIN SIMES LLP




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           Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
CONLEY, MANDY              NJ - USDC for the District of New Jersey   3:17-cv-11736         LEVIN SIMES LLP
COOK, MARIA                NJ - USDC for the District of New Jersey   3:17-cv-06202         LEVIN SIMES LLP
COOPER-MCNULTY, CYNTHIA    NJ - USDC for the District of New Jersey   3:17-cv-03751         LEVIN SIMES LLP
CREED, LORI                NJ - USDC for the District of New Jersey   3:18-cv-02075         LEVIN SIMES LLP
DOSTER, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-11336         LEVIN SIMES LLP
DUDUIT, DEANNA             NJ - USDC for the District of New Jersey   3:17-cv-10637         LEVIN SIMES LLP
ELMSHAEUSER, NINA          NJ - USDC for the District of New Jersey   3:19-cv-05767         LEVIN SIMES LLP
ENOCHS, YVONNE             NJ - USDC for the District of New Jersey   3:17-cv-04118         LEVIN SIMES LLP
EVANS, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-04122         LEVIN SIMES LLP
FAGUNDO, SHARON            NJ - USDC for the District of New Jersey   3:17-cv-11332         LEVIN SIMES LLP
FEHER, DIANE               NJ - USDC for the District of New Jersey   3:17-cv-11338         LEVIN SIMES LLP
FISHER, DIANE              NJ - USDC for the District of New Jersey   3:17-cv-05098         LEVIN SIMES LLP
GATES, SUZANNE             NJ - USDC for the District of New Jersey   3:18-cv-04650         LEVIN SIMES LLP
GIBSON, ALEXIS             NJ - USDC for the District of New Jersey   3:18-cv-11024         LEVIN SIMES LLP
GILLIE, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-09959         LEVIN SIMES LLP
GOODWIN, SHEILA            NJ - USDC for the District of New Jersey   3:17-cv-04835         LEVIN SIMES LLP
GROSE, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-04379         LEVIN SIMES LLP
HARVEY, VONTRECIA          NJ - USDC for the District of New Jersey   3:17-cv-05631         LEVIN SIMES LLP
HARVEY, VONTRECIA          NJ - USDC for the District of New Jersey   3:17-cv-05631         LEVIN SIMES LLP
HAYNES, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-02367         LEVIN SIMES LLP
HELLER, ANGELA             NJ - USDC for the District of New Jersey   3:17-cv-12292         LEVIN SIMES LLP
HERNANDEZ, ALICIA          NJ - USDC for the District of New Jersey   3:18-cv-02560         LEVIN SIMES LLP
HERRYGERS, ANN             NJ - USDC for the District of New Jersey   3:17-cv-04634         LEVIN SIMES LLP
HINES, EILEEN              NJ - USDC for the District of New Jersey   3:18-cv-12068         LEVIN SIMES LLP
HOPLER, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-15523         LEVIN SIMES LLP
HUBANKS, HEATHER           NJ - USDC for the District of New Jersey   3:20-cv-06248         LEVIN SIMES LLP
HUDGINS, EVELYN            NJ - USDC for the District of New Jersey   3:17-cv-11345         LEVIN SIMES LLP
HUTCHINSON, SARA           CA - Superior Court - Santa Clara County   17CV308012            LEVIN SIMES LLP
JEFFERS, MARIE             NJ - USDC for the District of New Jersey   3:17-cv-08159         LEVIN SIMES LLP
JENSEN, AMANDA             NJ - USDC for the District of New Jersey   3:19-cv-05733         LEVIN SIMES LLP
JOHNSTON, AUTHOREE         NJ - USDC for the District of New Jersey   3:17-cv-06018         LEVIN SIMES LLP
JOHNSTON, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-02364         LEVIN SIMES LLP
JONES, MARIE               NJ - USDC for the District of New Jersey   3:17-cv-05632         LEVIN SIMES LLP
JONES, TINA                NJ - USDC for the District of New Jersey   3:17-cv-05438         LEVIN SIMES LLP
KELEHER, CHERYL DAINEE     NJ - USDC for the District of New Jersey   3:18-cv-02561         LEVIN SIMES LLP
KELLY, GERALDINE           NJ - USDC for the District of New Jersey   3:19-cv-08494         LEVIN SIMES LLP
KNIPE, MARY                NJ - USDC for the District of New Jersey   3:17-cv-04635         LEVIN SIMES LLP
KORPI, MARGARET            NJ - USDC for the District of New Jersey   3:18-cv-10618         LEVIN SIMES LLP
KRESTIAN, LORRAINE         CA - Superior Court - Santa Clara County   15-cv-289573          LEVIN SIMES LLP
KRONER, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-00766         LEVIN SIMES LLP
LALOGGIA, ROSE             NJ - USDC for the District of New Jersey   3:18-cv-02359         LEVIN SIMES LLP
LAMM, LINDA                NJ - USDC for the District of New Jersey   3:17-cv-05598         LEVIN SIMES LLP
LARUSSA, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-08843         LEVIN SIMES LLP
LEPKOWSKI, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-05596         LEVIN SIMES LLP
LORETH, JULIANNE           NJ - USDC for the District of New Jersey   3:18-cv-08126         LEVIN SIMES LLP
LUECKER, KATHERINE         CA - Superior Court - Santa Clara County   16cv303435            LEVIN SIMES LLP
MALTOS, MARY               NJ - USDC for the District of New Jersey   3:17-cv-04633         LEVIN SIMES LLP
MARTINEZ, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-05597         LEVIN SIMES LLP
MARTINEZ, MELINDA          NJ - USDC for the District of New Jersey   3:17-cv-04474         LEVIN SIMES LLP
MATIKONIS, JOANNE          NJ - USDC for the District of New Jersey   3:17-cv-05635         LEVIN SIMES LLP
MATRANGA, CYNTHIA          NJ - USDC for the District of New Jersey   3:18-cv-09394         LEVIN SIMES LLP
MAULDEN, KATHERYN          NJ - USDC for the District of New Jersey   3:17-cv-12291         LEVIN SIMES LLP
MERCER, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-11347         LEVIN SIMES LLP
MILLER, LISA               CA - Superior Court - Santa Clara County   16-cv-299993          LEVIN SIMES LLP
MINIX, VERONICA            NJ - USDC for the District of New Jersey   3:17-cv-11325         LEVIN SIMES LLP
MINOR, SYLVIA              NJ - USDC for the District of New Jersey   3:17-cv-10634         LEVIN SIMES LLP
MITCHELL, DENISE           NJ - USDC for the District of New Jersey   3:17-cv-04380         LEVIN SIMES LLP
MITCHELL, JENNIFER         NJ - USDC for the District of New Jersey   3:17-cv-11327         LEVIN SIMES LLP
MOCHEL, RHONDA             NJ - USDC for the District of New Jersey   3:19-cv-00656         LEVIN SIMES LLP
MUELLER-DOHERTY, DIANE     NJ - USDC for the District of New Jersey   3:17-cv-11032         LEVIN SIMES LLP
MUNZER, XAN                NJ - USDC for the District of New Jersey   3:18-cv-08834         LEVIN SIMES LLP
OAKES, JOSEPHINE           NJ - USDC for the District of New Jersey   3:17-cv-06968         LEVIN SIMES LLP
PEASE, SHAUNA              NJ - USDC for the District of New Jersey   3:17-cv-08158         LEVIN SIMES LLP
PERSINGER, SUSAN           NJ - USDC for the District of New Jersey   3:18-cv-00754         LEVIN SIMES LLP
PETTI, ROSEMARIE           NJ - USDC for the District of New Jersey   3:17-cv-11340         LEVIN SIMES LLP
PHIPPS, LIZA               NJ - USDC for the District of New Jersey   3:17-cv-05174         LEVIN SIMES LLP
QUIATCHON, VICTORIA        CA - Superior Court - Santa Clara County   17CV309681            LEVIN SIMES LLP
RABENA, MARJORIE           NJ - USDC for the District of New Jersey   3:18-cv-08125         LEVIN SIMES LLP
RALPH, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-11011         LEVIN SIMES LLP
REMMEREID, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-05014         LEVIN SIMES LLP
REYNOLDS, DELTA            NJ - USDC for the District of New Jersey   3:18-cv-00756         LEVIN SIMES LLP
REYNOLDS, DELTA            NJ - USDC for the District of New Jersey   3:18-cv-00756         LEVIN SIMES LLP
RHINEHART, MACKENZIE       NJ - USDC for the District of New Jersey   3:19-cv-06174         LEVIN SIMES LLP
RIST, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-04126         LEVIN SIMES LLP
ROATH, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-15537         LEVIN SIMES LLP
ROBERTS, DIANA             CA - Superior Court - Santa Clara County   17CV306647            LEVIN SIMES LLP
ROBINSON, JANET            CA - Superior Court - Santa Clara County   16CV299073            LEVIN SIMES LLP
RUIZ-LAW, MARIA            NJ - USDC for the District of New Jersey   3:18-cv-02077         LEVIN SIMES LLP
RYDEN, CATHY               NJ - USDC for the District of New Jersey   3:18-cv-02076         LEVIN SIMES LLP
SABER, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-10611         LEVIN SIMES LLP




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          Claimant Name                    State Filed                      Docket Number                 Plaintiff Counsel
SALLOUM, MAUREEN           NJ - USDC for the District of New Jersey   3:17-cv-06201         LEVIN SIMES LLP
SCOTT, FARINA              NJ - USDC for the District of New Jersey   3:17-cv-06709         LEVIN SIMES LLP
SIGALA, BARBARA            CA - Superior Court - Santa Clara County   17CV306264            LEVIN SIMES LLP
SKIPPER, BETTY             NJ - USDC for the District of New Jersey   3:17-cv-04743         LEVIN SIMES LLP
SMYTH, JANET               NJ - USDC for the District of New Jersey   3:17-cv-11343         LEVIN SIMES LLP
STANTON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-01050         LEVIN SIMES LLP
TENNYSON, SHERYL           NJ - USDC for the District of New Jersey   3:18-cv-02361         LEVIN SIMES LLP
THOMAS, TRACY              NJ - USDC for the District of New Jersey   3:18-cv-00764         LEVIN SIMES LLP
THOMASON, VIRGINIA         NJ - USDC for the District of New Jersey   3:17-cv-06020         LEVIN SIMES LLP
THWEATT, JOANNE            NJ - USDC for the District of New Jersey   3:18-cv-02078         LEVIN SIMES LLP
UTECHT, MARY               NJ - USDC for the District of New Jersey   3:18-cv-15819         LEVIN SIMES LLP
WALSH, DORA                NJ - USDC for the District of New Jersey   3:18-cv-02371         LEVIN SIMES LLP
WHITE, REGINA              NJ - USDC for the District of New Jersey   3:17-cv-13161         LEVIN SIMES LLP
WHITECOTTON, BRANDY        NJ - USDC for the District of New Jersey   3:17-cv-11028         LEVIN SIMES LLP
WILLIAMS, JANEEN           NJ - USDC for the District of New Jersey   3:18-cv-11830         LEVIN SIMES LLP
WILLMORE, VALERIE          NJ - USDC for the District of New Jersey   3:17-cv-03277         LEVIN SIMES LLP
WILLS, MARY                NJ - USDC for the District of New Jersey   3:19-cv-07530         LEVIN SIMES LLP
WOODEN, ESTHER             NJ - USDC for the District of New Jersey   3:18-cv-00761         LEVIN SIMES LLP
WRIGHT, LISA               NJ - USDC for the District of New Jersey   3:17-cv-12855         LEVIN SIMES LLP
YOUNG, ILENE               NJ - USDC for the District of New Jersey   3:17-cv-06708         LEVIN SIMES LLP
ZIMMERMAN, HONG            NJ - USDC for the District of New Jersey   3:18-cv-03076         LEVIN SIMES LLP
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ADAMS, WANDA               NJ - USDC for the District of New Jersey   3:21-cv-00121
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ALLEN, JESSICA             NJ - USDC for the District of New Jersey   3:19-cv-01207
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
AMAYA, PAULA               NJ - USDC for the District of New Jersey   3:20-cv-08859
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ANDERSEN, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-00528
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
APPLE, CHRISTINA           NJ - USDC for the District of New Jersey   3:21-cv-15912
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ARGERENON, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-02206
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ARMSTRONG, JUDY            NJ - USDC for the District of New Jersey   3:18-cv-17517
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BANACH, CATHERINE          NJ - USDC for the District of New Jersey   3:19-cv-17422
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BARR, VICKY                NJ - USDC for the District of New Jersey   3:19-cv-21054
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BARRAZA, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-12281
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BART, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-05523
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BECKER, MARY               NJ - USDC for the District of New Jersey   3:19-cv-18705
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BEHRENS, DIANNE            NJ - USDC for the District of New Jersey   3:21-cv-00795
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BELUSKO, LORETTA           NJ - USDC for the District of New Jersey   3:20-cv-15051
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BILLINGS, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-13987
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BISHOP, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-03802
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BLACKHAWK, CHEYENNE        NJ - USDC for the District of New Jersey   3:20-cv-00104
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BLAIR, TERESA              NJ - USDC for the District of New Jersey   3:20-cv-07111
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BOVE, SUNEUM               NJ - USDC for the District of New Jersey   3:21-cv-17428
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BOYD, PAULINE              NJ - USDC for the District of New Jersey   3:19-cv-03719
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BRADY, LISA                NJ - USDC for the District of New Jersey   3:20-cv-12572
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BRANDON-WATTERS, CANDICE   NJ - USDC for the District of New Jersey   3:20-cv-14556
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BRUNSON, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-18415
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BUCKLEY, PENELLA           NJ - USDC for the District of New Jersey   3:20-cv-10082
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
BUTLER, LUCILLE            NJ - USDC for the District of New Jersey   3:20-cv-00106
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CAMPBELL, ELIZABETH        NJ - USDC for the District of New Jersey   3:20-cv-03236
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CASERTA, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-04055
                                                                                            PROCTOR, P.A.
                                                                                            LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CAVINESS, STACY            NJ - USDC for the District of New Jersey   3:21-cv-15914
                                                                                            PROCTOR, P.A.
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CHALEKIAN, SUZANNE         NJ - USDC for the District of New Jersey   3:20-cv-18420
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         Claimant Name                   State Filed                     Docket Number                 Plaintiff Counsel
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CHAMBERS, JOANN          NJ - USDC for the District of New Jersey   3:19-cv-16793
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CHURCH, LILLY            NJ - USDC for the District of New Jersey   3:21-cv-03548
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CICCONE, KIM             NJ - USDC for the District of New Jersey   3:20-cv-15577
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
COKER, JANET             NJ - USDC for the District of New Jersey   3:19-cv-16794
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CONTRADES, NANCY         NJ - USDC for the District of New Jersey   3:19-cv-18353
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CORDOVES, ARLEY          NJ - USDC for the District of New Jersey   3:18-cv-17519
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
COURTNEY, JOAN           NJ - USDC for the District of New Jersey   3:18-cv-15729
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CROOMS, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-06738
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CROSS, JOSEPHINE         NJ - USDC for the District of New Jersey   3:18-cv-14877
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
CURTIS, PEGGY            NJ - USDC for the District of New Jersey   3:20-cv-18775
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DARBY, JANET             NJ - USDC for the District of New Jersey   3:21-cv-17424
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DEZEN, SHARI             NJ - USDC for the District of New Jersey   3:19-cv-17796
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DIAMOND, DIANE           NJ - USDC for the District of New Jersey   3:21-cv-00106
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DIIANNI, EILEEN          NJ - USDC for the District of New Jersey   3:21-cv-14387
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DINKA, DIANNA            NJ - USDC for the District of New Jersey   3:21-cv-15917
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DORSA, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-15910
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DUNLAP, CHRISTY          NJ - USDC for the District of New Jersey   3:19-cv-12103
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DURAN, PRISCILLA         NJ - USDC for the District of New Jersey   3:20-cv-05433
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
DYESS, ZELLA             NJ - USDC for the District of New Jersey   3:19-cv-17427
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
EISELE, MARY             NJ - USDC for the District of New Jersey   3:19-cv-08731
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ELHAG, AMAL              NJ - USDC for the District of New Jersey   3:21-cv-02798
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FANG, QIANYI             NJ - USDC for the District of New Jersey   3:21-cv-00221
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FARIVAR, GOLY            NJ - USDC for the District of New Jersey   3:20-cv-16713
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FICHERA, MARY-BETH       NJ - USDC for the District of New Jersey   3:21-cv-15918
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FIE, KATHLEEN            NJ - USDC for the District of New Jersey   3:21-cv-01175
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FISCHER, CATHY           NJ - USDC for the District of New Jersey   3:20-cv-12460
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FORSTER, GRACE           NJ - USDC for the District of New Jersey   3:20-cv-17624
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FRANKLIN, ELVA           NJ - USDC for the District of New Jersey   3:18-cv-17505
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
FULLER, KARLA            NJ - USDC for the District of New Jersey   3:21-cv-03830
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GARCIA, VERONICA         NJ - USDC for the District of New Jersey   3:19-cv-20584
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GARROW, MELISSA          NJ - USDC for the District of New Jersey   3:18-cv-15732
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GEORGE, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-08937
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GEORGE, WILMA            NJ - USDC for the District of New Jersey   3:19-cv-08335
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GILES, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-09476
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GOMEZ, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-18356
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GRAY, DARLENE            NJ - USDC for the District of New Jersey   3:21-cv-00100
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GRIFFIN, KELLY           NJ - USDC for the District of New Jersey   3:19-cv-18896
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
GRISSOM, JUDY            NJ - USDC for the District of New Jersey   3:18-cv-15117
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HAGEMEIER, DEBORAH       NJ - USDC for the District of New Jersey   3:19-cv-18347
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HAINER, JODI             NJ - USDC for the District of New Jersey   3:21-cv-15913
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         Claimant Name                   State Filed                     Docket Number                 Plaintiff Counsel
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HAWKINS, DOROTHY         NJ - USDC for the District of New Jersey   3:21-cv-17421
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HAWTHORNE, COLLEEN       NJ - USDC for the District of New Jersey   3:21-cv-17429
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HAYES, JOYCE             NJ - USDC for the District of New Jersey   3:19-cv-01192
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HENRY, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-05616
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HILLER, WENDY            NJ - USDC for the District of New Jersey   3:18-cv-16392
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
HOLTERMANN, PATRICIA     NJ - USDC for the District of New Jersey   3:19-cv-09383
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
JACKSON, GAIL            NJ - USDC for the District of New Jersey   3:21-cv-17439
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
JEANTY, MARIE            NJ - USDC for the District of New Jersey   3:19-cv-16795
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
JOHNS, GISELLE           NJ - USDC for the District of New Jersey   3:18-cv-16394
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
JONES, DONNA             NJ - USDC for the District of New Jersey   3:19-cv-18897
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KAILIHIWA, GWENDOLYN     NJ - USDC for the District of New Jersey   3:21-cv-17436
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KAISER, CHRISTINE        NJ - USDC for the District of New Jersey   3:18-cv-15741
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KAUFMAN, LEE             NJ - USDC for the District of New Jersey   3:20-cv-02960
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KEARNEY, MARIE           NJ - USDC for the District of New Jersey   3:19-cv-19959
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KELLEY, DELORA           NJ - USDC for the District of New Jersey   3:20-cv-16233
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KNIGHT, CATHERINE        NJ - USDC for the District of New Jersey   3:21-cv-08391
                                                                                         PROCTOR, P.A.
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KNOLL, RAMONA            NJ - USDC for the District of New Jersey   3:21-cv-05521
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
KOCHERA, ANNE            NJ - USDC for the District of New Jersey   3:19-cv-01174
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LANDRY, MARY             NJ - USDC for the District of New Jersey   3:19-cv-04956
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LANE-TERRY, DEBRA        NJ - USDC for the District of New Jersey   3:19-cv-18900
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LAWRENCE, BETSY          NJ - USDC for the District of New Jersey   3:21-cv-00095
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LAWRENCE, SHELLKILA      NJ - USDC for the District of New Jersey   3:20-cv-16053
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LEONARD, SHARONETTE      NJ - USDC for the District of New Jersey   3:21-cv-01796
                                                                                         PROCTOR, P.A.
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LEPIN, LINDSEY           NJ - USDC for the District of New Jersey   3:20-cv-03803
                                                                                         PROCTOR, P.A.
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LIANI, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-13338
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LIVINGSTON, JULIA        NJ - USDC for the District of New Jersey   3:20-cv-13573
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LIZAOLA, JOAN            NJ - USDC for the District of New Jersey   3:20-cv-10134
                                                                                         PROCTOR, P.A.
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LOPEZ, VANESSA           NJ - USDC for the District of New Jersey   3:21-cv-08383
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
LUCAS, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-02064
                                                                                         PROCTOR, P.A.
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MANERING, SAMANTHA       NJ - USDC for the District of New Jersey   3:20-cv-09758
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MANSFIELD, KATHRYN       NJ - USDC for the District of New Jersey   3:21-cv-02437
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MARTIN, LISA             NJ - USDC for the District of New Jersey   3:20-cv-05634
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MASKO, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-14383
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MATTHEWS, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-09470
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MAYFIELD, GAYLE          NJ - USDC for the District of New Jersey   3:21-cv-05582
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MCBRYANT, CAROLYN        NJ - USDC for the District of New Jersey   3:21-cv-15915
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MCCARTHY, MARY           NJ - USDC for the District of New Jersey   3:21-cv-15916
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MCCLOSKEY, CHARLENE      NJ - USDC for the District of New Jersey   3:20-cv-06176
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MCGEE, SHANNA            NJ - USDC for the District of New Jersey   3:18-cv-15739
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MCGUIRE, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-04798
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MCKERR, SARAH            NJ - USDC for the District of New Jersey   3:20-cv-18641
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MCNAMARA, NORMA          NJ - USDC for the District of New Jersey   3:20-cv-05641
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MILLER, KATHY            NJ - USDC for the District of New Jersey   3:18-cv-17520
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MILLER, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09436
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MILTON, BETTY            NJ - USDC for the District of New Jersey   3:18-cv-15740
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MIMS-MYERS, OLIVIA       NJ - USDC for the District of New Jersey   3:19-cv-17802
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MOJARADI, STEPHANIE      NJ - USDC for the District of New Jersey   3:19-cv-13012
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MONACO, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-15567
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MORAN, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-08728
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MORTZ, SUZETTE           NJ - USDC for the District of New Jersey   3:20-cv-05431
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MUNSELLE, TERRI          NJ - USDC for the District of New Jersey   3:20-cv-13041
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
MUSCHETTE, SANDRA        NJ - USDC for the District of New Jersey   3:19-cv-01198
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
NELSON, SHERRYE          NJ - USDC for the District of New Jersey   3:20-cv-14187
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
NOAKER, HALIMA           NJ - USDC for the District of New Jersey   3:19-cv-19460
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
NUNAN, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-00377
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
OREILLY, ANNE            NJ - USDC for the District of New Jersey   3:19-cv-20583
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OSCHMAN, CHRISTINE       NJ - USDC for the District of New Jersey   3:20-cv-15766
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
OVERSON, SYLVIA          NJ - USDC for the District of New Jersey   3:18-cv-14893
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
PAGANO, CARMELA          NJ - USDC for the District of New Jersey   3:21-cv-17471
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POOLE, KRISTY            NJ - USDC for the District of New Jersey   3:19-cv-14040
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
PRUITT, LEANNA           NJ - USDC for the District of New Jersey   3:18-cv-15202
                                                                                         PROCTOR, P.A.
                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
RAGAN, IRENE             NJ - USDC for the District of New Jersey   3:21-cv-01792
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RAMEY, ALICE             NJ - USDC for the District of New Jersey   3:19-cv-13459
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
RANSFORD, JULIA          NJ - USDC for the District of New Jersey   3:19-cv-21434
                                                                                         PROCTOR, P.A.
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RASMUSSEN, JOANNE        NJ - USDC for the District of New Jersey   3:21-cv-01333
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REED, CARRIE             NJ - USDC for the District of New Jersey   3:19-cv-18706
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ROBERTSON, SHANNON       NJ - USDC for the District of New Jersey   3:19-cv-14051
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ROLLAND, JANE            NJ - USDC for the District of New Jersey   3:19-cv-16796
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
ROSE, MARVELLA           NJ - USDC for the District of New Jersey   3:19-cv-00039
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ROWE, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-01259
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RUDAN, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-05184
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RUNDE, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-15909
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RUSS, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-18708
                                                                                         PROCTOR, P.A.
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SANTIAGO, IVONNE         NJ - USDC for the District of New Jersey   3:20-cv-10598
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SCHLOSSER, DEBRA         NJ - USDC for the District of New Jersey   3:19-cv-12743
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SEXTON, ELISHA           NJ - USDC for the District of New Jersey   3:18-cv-15267
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SHEPARD, MEG             NJ - USDC for the District of New Jersey   3:18-cv-17513
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SIGNORINI, KRENA         NJ - USDC for the District of New Jersey   3:20-cv-02066
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SIMMONS, GLORIA          NJ - USDC for the District of New Jersey   3:20-cv-04800
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                                                                                         LEVIN, PAPANTONIO, THOMAS, MITCHELL &
SMITH, CLEMENTINE        NJ - USDC for the District of New Jersey   3:20-cv-03240
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                                                                                           LEVIN, PAPANTONIO, THOMAS, MITCHELL &
SMITH, WENDY               NJ - USDC for the District of New Jersey   3:20-cv-09472
                                                                                           PROCTOR, P.A.
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STEPHENS, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-03238
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STEWART, RACHEAL           NJ - USDC for the District of New Jersey   3:19-cv-21056
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STUART, FRAN               NJ - USDC for the District of New Jersey   3:19-cv-19964
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TALERICO, ANN              NJ - USDC for the District of New Jersey   3:20-cv-01813
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TANKURSLEY, BONITA         NJ - USDC for the District of New Jersey   3:20-cv-11631
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TAONUS, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-19461
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TATE, PARA                 NJ - USDC for the District of New Jersey   3:20-cv-00530
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TATUM, CRYSTAL             NJ - USDC for the District of New Jersey   3:21-cv-15911
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TAYLOR, ANGELINE           NJ - USDC for the District of New Jersey   3:19-cv-13016
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TERRY, ALICE               NJ - USDC for the District of New Jersey   3:19-cv-12749
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THOMAS, STEPHANIE          NJ - USDC for the District of New Jersey   3:19-cv-21460
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TOSCANO, MARY              NJ - USDC for the District of New Jersey   3:18-cv-15120
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TURLEY, LORA               NJ - USDC for the District of New Jersey   3:21-cv-13162
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TURNER, MARJORIE           NJ - USDC for the District of New Jersey   3:19-cv-19966
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TYNES, ANNE                NJ - USDC for the District of New Jersey   3:19-cv-01210
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URBINA, TINA               NJ - USDC for the District of New Jersey   3:20-cv-02067
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VALDEZ, ERIKA              NJ - USDC for the District of New Jersey   3:18-cv-15126
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VANIKIOTIS, KIM            NJ - USDC for the District of New Jersey   3:19-cv-21058
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                                                                                           LEVIN, PAPANTONIO, THOMAS, MITCHELL &
VASQUEZ, JEANETTE SPEARS   NJ - USDC for the District of New Jersey   3:19-cv-01196
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                                                                                           LEVIN, PAPANTONIO, THOMAS, MITCHELL &
WAGNER, ANN                NJ - USDC for the District of New Jersey   3:20-cv-07720
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                                                                                           LEVIN, PAPANTONIO, THOMAS, MITCHELL &
WAGNER, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-16259
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WALLER, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-13036
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WARREN, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-17805
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WEBER, P                   NJ - USDC for the District of New Jersey   3:19-cv-17429
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WHITLOCK, RHONDA           NJ - USDC for the District of New Jersey   3:20-cv-01830
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WIESNER, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-17433
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WIGGINS, TINA              NJ - USDC for the District of New Jersey   3:20-cv-01061
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WILKINS, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-17508
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WILKSON, CHRISTI           NJ - USDC for the District of New Jersey   3:19-cv-21433
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WILLIAMS, MARGARET         NJ - USDC for the District of New Jersey   3:20-cv-02958
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WILLIAMS, TIFFANY          NJ - USDC for the District of New Jersey   3:18-cv-14957
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WILLOUGHBY, KAREN          NJ - USDC for the District of New Jersey   3:20-cv-00107
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                                                                                           LEVIN, PAPANTONIO, THOMAS, MITCHELL &
WILSON, LORI               NJ - USDC for the District of New Jersey   3:20-cv-00527
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                                                                                           LEVIN, PAPANTONIO, THOMAS, MITCHELL &
WOELFEL, MARY              NJ - USDC for the District of New Jersey   3:19-cv-14039
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WOLFORD, JENNETTE          NJ - USDC for the District of New Jersey   3:19-cv-00036
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WOOD, DEBORAH              NJ - USDC for the District of New Jersey   3:19-cv-20586
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WORKMAN, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-08398
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WORLEY, MARY               NJ - USDC for the District of New Jersey   3:19-cv-17432
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YARBROUGH, MIRIAM          NJ - USDC for the District of New Jersey   3:19-cv-19464
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ADLER, ENID                        NJ - USDC for the District of New Jersey   3:18-cv-01720         LEVY BALDANTE FINNEY & RUBENSTEIN
FORD, BARBARA                      NJ - USDC for the District of New Jersey   3:19-cv-12594         LEVY BALDANTE FINNEY & RUBENSTEIN
MORGAN, JOANNE                     NJ - Superior Court - Atlantic County      ATL-L-465-18          LEVY BALDANTE FINNEY & RUBENSTEIN
SALKIN, DEBORAH                    NJ - USDC for the District of New Jersey   3:18-cv-09426         LEVY BALDANTE FINNEY & RUBENSTEIN
WERTHER, CAROLINE                  NJ - USDC for the District of New Jersey   3:17-cv-08735         LEVY BALDANTE FINNEY & RUBENSTEIN
ALVAREZ, MIGUEL THE ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-005353-21       LEVY KONIGSBERG LLP
M ALVAREZ
AMRON, ROBERT K. AND AMRON,
                                   NJ - Superior Court - Middlesex County     MID-L-02045-19AS      LEVY KONIGSBERG LLP
ROSE A.
ARVELO, DONNA, M                   NJ - Superior Court - Middlesex County     MID-L-00588-17AS      LEVY KONIGSBERG LLP
AWAD, MANERVA AND AWAD,
                                   NJ - Superior Court - Middlesex County     MID-L-06305-19 AS     LEVY KONIGSBERG LLP
FAYEZ
BAYKAL, SHERRYLLYNNE               NJ - Superior Court - Middlesex County     MID-L-08342-18AS      LEVY KONIGSBERG LLP
BENMAR, PETER AND BENMAR,
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CLAUDINE
BISCEGLIO, JANICE SUSAN            NJ - Superior Court - Middlesex County     MID-L-00385321        LEVY KONIGSBERG LLP
BLACK, MARY                        NJ - Superior Court - Middlesex County     MID-L-05218-18AS      LEVY KONIGSBERG LLP
BUENROSTRO, GINA                   NJ - Superior Court - Atlantic County      ATL-L-001373-18       LEVY KONIGSBERG LLP
CAMPO, SUSANNA ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-002418-21AS     LEVY KONIGSBERG LLP
GIOVANNI CAMPO
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CARDENAS
CARTWRIGHT, BARBARA AND
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CARTWRIGHT, JASON
CASTAN, MAURICE AND CASTAN,
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RITA
CATES, LINDA EST MARIA CATES       NJ - Superior Court - Middlesex County     MID-L-08223-18AS      LEVY KONIGSBERG LLP
COHEN, CONNIE                      NJ - Superior Court - Middlesex County     MID-L-004448-21       LEVY KONIGSBERG LLP
COLE, JOHN ESTATE OF ROBERTA
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COLE
COOPER, MICHELLE                   NJ - Superior Court - Middlesex County     MID-L-001326-21       LEVY KONIGSBERG LLP
CORBETT, HILLARY ESTATE OF C
                                   NJ - Superior Court - Middlesex County     MID-L-01860-20AS      LEVY KONIGSBERG LLP
LICHENSTEIN
CORONADO, MARIO AND PORRAS,
                                   NJ - Superior Court - Middlesex County     MID-L-004460-21       LEVY KONIGSBERG LLP
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COSS, ROGER AND COSS, SUSAN        NJ - Superior Court - Middlesex County     MID-L-05031-19AS      LEVY KONIGSBERG LLP
CROUCH, CYNTHIA LORRAINE           NJ - Superior Court - Middlesex County     MID-L-00179-19AS      LEVY KONIGSBERG LLP
DANAHER, MARTIN                    NJ - Superior Court - Middlesex County     MID-L-04686-19AS      LEVY KONIGSBERG LLP
DAVIES, LYNN, EST OF MICHAEL
                                   NY - Supreme Court - NYCAL                 190348/2017           LEVY KONIGSBERG LLP
DAVIES
DECASTRO, JEANETTE                 NJ - Superior Court - Atlantic County      ATL-L-000404-19       LEVY KONIGSBERG LLP
DEROUEN, RANDY                     NJ - Superior Court - Middlesex County     MID-L-005122-20       LEVY KONIGSBERG LLP
DOCKERY, LOREN EST OF
                                   NJ - Superior Court - Middlesex County     MID-L-05372-17AS      LEVY KONIGSBERG LLP
DOCKERY, SANDRA
DOTSON, RONALD                     NJ - Superior Court - Middlesex County     MID-L-005986-21       LEVY KONIGSBERG LLP
DOUGLAS, BARDEN AND ROSLYN         NJ - Superior Court - Middlesex County     MID-L-01809-17AS      LEVY KONIGSBERG LLP
DRAYTON, DARLENE ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-004523-21       LEVY KONIGSBERG LLP
ORL&O MERCADO
ELFANT, B EST OF JOSEPHINE M.
                                   NJ - Superior Court - Middlesex County     MID-L-05791-18AS      LEVY KONIGSBERG LLP
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ELIF, DOGANALP,                    NJ - Superior Court - Middlesex County     MID-L-05279-17AS      LEVY KONIGSBERG LLP
FOSTEESTATE, EDWIN OF C
                                   NJ - Superior Court - Middlesex County     MID-L-000312-21       LEVY KONIGSBERG LLP
MCKNIGHT-FOSTER
FRANK, LISA L. EST OF JUDITH
                                   NJ - Superior Court - Middlesex County     MID-L-08377-18AS      LEVY KONIGSBERG LLP
BLANKSCHAEN
GAGLIARDI, ROSALIA AND
                                   NJ - Superior Court - Middlesex County     MID-L-03805-18AS      LEVY KONIGSBERG LLP
GAGLIARDI, ENRICO
GALAN, MELVIN AND GALAN,
                                   NY - Supreme Court - NYCAL                 190287/2020           LEVY KONIGSBERG LLP
LOUISE
GERMAIN, MICHELLE AND EDDIE        NY - Supreme Court - NYCAL                 190049/2017           LEVY KONIGSBERG LLP
GILBRIDE, ELLYN                    NJ - Superior Court - Middlesex County     MID-L-002848-21       LEVY KONIGSBERG LLP
GODFREY, PORTIA                    NJ - Superior Court - Atlantic County      ATL-L-1374-18         LEVY KONIGSBERG LLP
GRAY, KIM                          NJ - Superior Court - Middlesex County     MID-L-05932-19AS      LEVY KONIGSBERG LLP
GREENBERG, ANN                     NY - Supreme Court - NYCAL                 190148/2021           LEVY KONIGSBERG LLP
GROSSMAN, LYLA                     NJ - Superior Court - Atlantic County      ATL-L-1369-18         LEVY KONIGSBERG LLP
GUILD, GREGORY AND NANCY           NJ - Superior Court - Middlesex County     MID-L-03527-17AS      LEVY KONIGSBERG LLP
HAMMOCK, DAVID, ESTATE OF S
                                   NJ - Superior Court - Middlesex County     MID-L-05103-18AS      LEVY KONIGSBERG LLP
HAMMOCK
HARRINGTON, VIRGINIA               NJ - Superior Court - Middlesex County     MID-L-006733-20       LEVY KONIGSBERG LLP
HAYES-HATTER, HEATHER EST OF
                                   NJ - Superior Court - Middlesex County     MID-L-7152-17AS       LEVY KONIGSBERG LLP
TERRY HAYES
IACUZZO, MARY AND IACUZZO,
                                   NJ - Superior Court - Middlesex County     MID-L-08224-18AS      LEVY KONIGSBERG LLP
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JACINTO, C & JACINTO, G EST OF A
                                   NJ - Superior Court - Middlesex County     MID-L-00624-17AS      LEVY KONIGSBERG LLP
JACINTO
JACKSON, MARY                      NJ - Superior Court - Middlesex County     MID-L-006217-20AS     LEVY KONIGSBERG LLP
JATRAS, KATHY AND JATRAS,
                                   NJ - Superior Court - Middlesex County     MID-L-02260-18AS      LEVY KONIGSBERG LLP
JAMES
JUDITH, COVIL,                     NJ - Superior Court - Middlesex County     MID-L-06392-17AS      LEVY KONIGSBERG LLP
KOBEE, HOLLY                       NJ - Superior Court - Atlantic County      ATL-L-1371-18         LEVY KONIGSBERG LLP




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        Claimant Name                              State Filed                   Docket Number               Plaintiff Counsel
KOKOTAJLO, FRANK AND
                                   NJ - Superior Court - Middlesex County   MID-L-000193-21      LEVY KONIGSBERG LLP
KOKOTAJLO, MARIANN
KORBHOLZ, WILLIAM AND
                                   NJ - Superior Court - Middlesex County   MID-L-00937-20AS     LEVY KONIGSBERG LLP
KORBHOLZ, KATHERINE
KRYZANSKI, BRIAN                   NJ - Superior Court - Middlesex County   MID-L-001702-21      LEVY KONIGSBERG LLP
LABARR-MABRY, DOMENICA AND
                                   NJ - Superior Court - Middlesex County   MID-L-04652-17AS     LEVY KONIGSBERG LLP
AMANDA
LANE, MARK AND LANE, THONGMI NJ - Superior Court - Middlesex County         MID-L-005506-21      LEVY KONIGSBERG LLP
LANZO, STEPHEN                     NJ - Superior Court - Middlesex County   MID-L-07385-16AS     LEVY KONIGSBERG LLP
LEVINE, JOANNA AND SPAHR,
                                   NY - Supreme Court - NYCAL               190251/2020          LEVY KONIGSBERG LLP
TIMOTHY
LORD, CHRISTINE AND LORD,
                                   NJ - Superior Court - Middlesex County   MID-L-02148-19AS     LEVY KONIGSBERG LLP
EDWARD
LUM, DAVID                         NJ - Superior Court - Middlesex County   MID-L-02450-18AS     LEVY KONIGSBERG LLP
MADDOX, BERTHA                     NY - Supreme Court - NYCAL               190169/2020          LEVY KONIGSBERG LLP
MARKS, RUTH P. AND ALAN MARKS NJ - Superior Court - Middlesex County        MID-L-06622-17AS     LEVY KONIGSBERG LLP
MAZARIEGOS, H ESTATE OF DARLA
                                   NJ - Superior Court - Middlesex County   MID-L-007039-20      LEVY KONIGSBERG LLP
MAZARIEGOS
MCDONOUGH, COLLEEN                 NJ - Superior Court - Middlesex County   MID-L-001512-21      LEVY KONIGSBERG LLP
MCGUIRE, JASMINE H.A. EST OF
                                   NJ - Superior Court - Middlesex County   MID-L-06036-19AS     LEVY KONIGSBERG LLP
JAZETHRINE
MEIKLE, ELIZABETH C. AND
                                   NJ - Superior Court - Middlesex County   MID-L-0033771-20AS   LEVY KONIGSBERG LLP
MEIKLE, GARY P.
MEYERS, ELIZABETH EST OF
                                   NJ - Superior Court - Middlesex County   MID-L-003547-20AS    LEVY KONIGSBERG LLP
ROBERT MEYERS


MICHELSON-BOYLE, JAN DEBORAH NY - Supreme Court - NYCAL                     190333/2020          LEVY KONIGSBERG LLP


MILLER, JANET ESTATE OF
                                   NY - Supreme Court - NYCAL               190188/2017          LEVY KONIGSBERG LLP
STEPHANIE MILLER
MILLER, RONALD RAYMOND, EST
                                   NJ - Superior Court - Middlesex County   MID-L-05972-17AS     LEVY KONIGSBERG LLP
OF V MILLER
MULVEY, KAY F                      NJ - Superior Court - Middlesex County   MID-L-05973-17AS     LEVY KONIGSBERG LLP
NATHAN, FRAIDA                     NJ - Superior Court - Middlesex County   MID-L-006101-21      LEVY KONIGSBERG LLP
NOTTINGHAM, PATRICIA EST OF J
                                   NJ - Superior Court - Middlesex County   MID-L-002377-21AS    LEVY KONIGSBERG LLP
NOTTINGHAM
OLSON, DONNA A. AND ROBERT M. NY - Supreme Court - NYCAL                    190328/2017          LEVY KONIGSBERG LLP

OLSON, DONNA A. AND ROBERT M. NY - Supreme Court - NYCAL                    190328/2017          LEVY KONIGSBERG LLP
PICCOLO, NANCY                     NY - Supreme Court - NYCAL               190090/2020          LEVY KONIGSBERG LLP
PRECIADO, PEDRO                    NJ - Superior Court - Middlesex County   MID-L-03702-18AS     LEVY KONIGSBERG LLP
PRYOR, CAROLYN MICHELLE            NJ - Superior Court - Middlesex County   MID-L-002649-20      LEVY KONIGSBERG LLP
PULIDO, MARIA AND PULIDO,,
                                   NJ - Superior Court - Middlesex County   MID-L-04927-18AS     LEVY KONIGSBERG LLP
VICTOR
RAY, SABATELLI, III EST OF C.
                                   NJ - Superior Court - Middlesex County   MID-L-05902-16AS     LEVY KONIGSBERG LLP
SABATELLI
SHADER, PATRICIA AND SHADER,
                                   NJ - Superior Court - Middlesex County   MID-L-007836-20      LEVY KONIGSBERG LLP
ROBERT
SHIRLEY, NIEMEYER,                 NY - Supreme Court - NYCAL               190156/2017          LEVY KONIGSBERG LLP
SIMS, CONNIE                       NJ - Superior Court - Middlesex County   MID-L-003923-20AS    LEVY KONIGSBERG LLP
SMITH, LINDA                       NJ - Superior Court - Atlantic County    ATL-L-1325-18        LEVY KONIGSBERG LLP
STANFORD, CANDYSE AND
                                   NJ - Superior Court - Middlesex County   MID-L-08468-19AS     LEVY KONIGSBERG LLP
STANFORD,, JOHN
STEPHEN, KALISH, AND , SUZANNE NJ - Superior Court - Middlesex County       MID-L-04726-17AS     LEVY KONIGSBERG LLP
STRINGFELLOW, THOMAS AND
                               NJ - Superior Court - Middlesex County       MID-L-002906-21      LEVY KONIGSBERG LLP
KAREN
TAYLOR, DEBRA                  NJ - Superior Court - Atlantic County        ATL-L-1370-18        LEVY KONIGSBERG LLP
TERRANO-URCIOLI, GERILYN       NJ - Superior Court - Atlantic County        ATL-L-1372-18        LEVY KONIGSBERG LLP
TOLLEFSON, KATHERINE &
                               NJ - Superior Court - Middlesex County       MID-L-004370-21      LEVY KONIGSBERG LLP
TOLLEFSON, KEVIN
TONCHE, RAUL                   NJ - Superior Court - Middlesex County       MID-L-04417-21       LEVY KONIGSBERG LLP
TRIMBLE, LINDA K. EST OF MARY
                               NJ - Superior Court - Middlesex County       MID-L-02589-18AS     LEVY KONIGSBERG LLP
MASK
WEATHERS, SANDRA R AND
                               NJ - Superior Court - Middlesex County       MID-L-00549-20AS     LEVY KONIGSBERG LLP
WEATHERS, BRIAN L
WEISS, JANICE ESTATE OF JOEL
                               NJ - Superior Court - Middlesex County       MID-L-05216-18AS     LEVY KONIGSBERG LLP
WEISS
WHITE, CAROL                   NJ - Superior Court - Middlesex County       MID-L-005771-21      LEVY KONIGSBERG LLP
WHYTE, GASETA ESTATE OF
                               NY - Supreme Court - NYCAL                   190286/2019          LEVY KONIGSBERG LLP
DONALD WHYTE
WILLIAM, RONNING, AND WILLIAM,
                               NJ - Superior Court - Middlesex County       MID-L-06040-17AS     LEVY KONIGSBERG LLP
ELIZABETH
WILT, HANNA                    NJ - Superior Court - Middlesex County       MID-L-00621-20AS     LEVY KONIGSBERG LLP




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         Claimant Name                        State Filed                    Docket Number                Plaintiff Counsel
WING, JOHN ESTATE OF CAROL
                             NJ - Superior Court - Middlesex County     MID-L-004391-21      LEVY KONIGSBERG LLP
WING
ZACHARA, MARZENA AND
                             NJ - Superior Court - Middlesex County     MID-L-001028-21      LEVY KONIGSBERG LLP
ZACHARA, WESLEY
                                                                                             LEVY, BALDANTE, FINNEY & RUBENSTEIN,
BALDINO, LUCILLE             NJ - Superior Court - Atlantic County      ATL-L-001060-18
                                                                                             P.C.
                                                                                             LEVY, BALDANTE, FINNEY & RUBENSTEIN,
MATYOLA, CATHERINE           NJ - Superior Court - Atlantic County      ATL-L-001779-18
                                                                                             P.C.
PULLIAM, KAREN               NJ - Superior Court - Atlantic County      ATL-L-767-16         LEWIS SAUL & ASSOCIATES, P.C
ADAMS, ROSIA                 NJ - USDC for the District of New Jersey   3:21-cv-10512        LIAKOS LAW APC
AYALA-CRUZ, MIOSOTIS         NJ - USDC for the District of New Jersey   3:21-cv-11229        LIAKOS LAW APC
BLAIR-RICHMOND, MIA          NJ - USDC for the District of New Jersey   3:21-cv-11232        LIAKOS LAW APC
COLLINS, ERMA                NJ - USDC for the District of New Jersey   3:21-cv-10610        LIAKOS LAW APC
CORRON, ALLISON              NJ - USDC for the District of New Jersey   3:21-cv-10545        LIAKOS LAW APC
CRIPE, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-10549        LIAKOS LAW APC
FUQUAY, BUNRU                NJ - USDC for the District of New Jersey   3:21-cv-10551        LIAKOS LAW APC
LAWRENCE, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-12705        LIAKOS LAW APC
MICALE, EMMA                 NJ - USDC for the District of New Jersey   3:21-cv-10605        LIAKOS LAW APC
PITRE, ALENA                 NJ - USDC for the District of New Jersey   3:21-cv-05284        LIAKOS LAW APC
ROSS, CHATAQUA               NJ - USDC for the District of New Jersey   3:21-cv-12707        LIAKOS LAW APC
SKELTON, BESSIE              NJ - USDC for the District of New Jersey   3:21-cv-10543        LIAKOS LAW APC
SNEL, ELEANOR                NJ - USDC for the District of New Jersey   3:21-cv-12744        LIAKOS LAW APC
STANLEY, BONNIE              NJ - USDC for the District of New Jersey   3:21-cv-12709        LIAKOS LAW APC
WELLS, DINA                  NJ - USDC for the District of New Jersey   3:21-cv-10555        LIAKOS LAW APC
WILKINSON, AMANDA            NJ - USDC for the District of New Jersey   3:21-cv-12723        LIAKOS LAW APC
YELNER, AMANDA               NJ - USDC for the District of New Jersey   3:21-cv-10556        LIAKOS LAW APC
CABELLO, VANESSA             NJ - USDC for the District of New Jersey   3:19-cv-17165        LIEFF CABRASER HEIMANN & BERNSTEIN LLP

DAVIS, KAREN                 NJ - USDC for the District of New Jersey   3:19-cv-20394        LIEFF CABRASER HEIMANN & BERNSTEIN LLP

ENGLAND, TERESA              NJ - USDC for the District of New Jersey   3:20-cv-02135        LIEFF CABRASER HEIMANN & BERNSTEIN LLP

RUBIO, LILLIAN               NJ - USDC for the District of New Jersey   3:21-cv-17476        LIEFF CABRASER HEIMANN & BERNSTEIN LLP

CABELLO, VANESSA             NJ - USDC for the District of New Jersey   3:19-cv-17165        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

CROWLEY, DARBY               NJ - USDC for the District of New Jersey   3:18-cv-00985        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

GRUDER, ILENE                CA - Superior Court - Santa Clara County   18CV334708           LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

HAYOS, MERIDITH              CA - Superior Court - County of Marin      CV-1700387           LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

MARTINEZ, NOELIA             NJ - USDC for the District of New Jersey   3:17-cv-12439        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

MASSARO, NANCY               NJ - USDC for the District of New Jersey   3:17-cv-11026        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

RUBIO, LILLIAN               NJ - USDC for the District of New Jersey   3:21-cv-17476        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP

SCHNEIDER, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-04388        LIEFF CABRASER HEIMANN & BERNSTEIN, LLP
BELLANGER, CRYSTAL           NJ - USDC for the District of New Jersey   3:16-cv-09500        LILLIS LAW FIRM
BEZUE, MASHANDER             NJ - USDC for the District of New Jersey   3:16-cv-09564        LILLIS LAW FIRM
HARRIS, RUTH                 NJ - USDC for the District of New Jersey   3:16-cv-09522        LILLIS LAW FIRM
JONES-WILDER, RITA           NJ - USDC for the District of New Jersey   3:16-cv-09571        LILLIS LAW FIRM
MONTZ, CAROL                 NJ - USDC for the District of New Jersey   3:16-cv-09523        LILLIS LAW FIRM
WASHINGTON, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-09609        LILLIS LAW FIRM
AMMONS, CHRISTINA            NJ - USDC for the District of New Jersey   3:20-cv-01329        LINVILLE LAW GROUP
AVERETT, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-12922        LINVILLE LAW GROUP
BEASLEY, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-07469        LINVILLE LAW GROUP
BRIDGES, DEBBIE              NJ - USDC for the District of New Jersey   3:20-cv-03492        LINVILLE LAW GROUP
BROWN, DANA                  NJ - USDC for the District of New Jersey   3:21-cv-09994        LINVILLE LAW GROUP
BURGO, DEBORAH               NJ - USDC for the District of New Jersey   3:20-cv-17177        LINVILLE LAW GROUP
CRUMP, MELISSA               NJ - USDC for the District of New Jersey   3:21-cv-16714        LINVILLE LAW GROUP
HALL, JUDY                   NJ - USDC for the District of New Jersey   3:19-cv-20540        LINVILLE LAW GROUP
HENRY, FRINZETTA             NJ - USDC for the District of New Jersey   3:21-cv-12837        LINVILLE LAW GROUP
HERRERA, LORENA              NJ - USDC for the District of New Jersey   3:21-cv-12868        LINVILLE LAW GROUP
HEYDMAN, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-18756        LINVILLE LAW GROUP
HOFFMAN, RUBY                NJ - USDC for the District of New Jersey   3:21-cv-12869        LINVILLE LAW GROUP
HUFKINS, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-18409        LINVILLE LAW GROUP
IANNACONE, TRACI             NJ - Superior Court - Atlantic County      ATL-L-000627-20      LINVILLE LAW GROUP
LAPLACE, LYNDA               NJ - USDC for the District of New Jersey   3:20-cv-10161        LINVILLE LAW GROUP
MAKI, ANISE                  NJ - USDC for the District of New Jersey   3:20-cv-06352        LINVILLE LAW GROUP
MCGILL, CINDY                NJ - USDC for the District of New Jersey   3:21-cv-08674        LINVILLE LAW GROUP
MCKINNEY, RITA               NJ - USDC for the District of New Jersey   3:20-cv-15137        LINVILLE LAW GROUP
NELSON, RUTH                 NJ - USDC for the District of New Jersey   3:21-cv-13581        LINVILLE LAW GROUP
OLIVIER, KILEY               NJ - USDC for the District of New Jersey   3:21-cv-14465        LINVILLE LAW GROUP
ROGERS, CONNIE               NJ - USDC for the District of New Jersey   3:21-cv-12866        LINVILLE LAW GROUP
ROSEN, LAURA                 NJ - USDC for the District of New Jersey   3:21-cv-18045        LINVILLE LAW GROUP
SMITH, BRINDA                NJ - USDC for the District of New Jersey   3:21-cv-14043        LINVILLE LAW GROUP
TAWFALL, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-02474        LINVILLE LAW GROUP




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
TERRY, LORI                NJ - USDC for the District of New Jersey   3:20-cv-04149         LINVILLE LAW GROUP
VERMUELE, TERRY            NJ - USDC for the District of New Jersey   3:20-cv-19310         LINVILLE LAW GROUP
WALLS, BEATRICE            NJ - USDC for the District of New Jersey   3:21-cv-14471         LINVILLE LAW GROUP
WILLBURN, MARKIEN          NJ - USDC for the District of New Jersey   3:20-cv-19954         LINVILLE LAW GROUP
WOODS, EDNA                NJ - USDC for the District of New Jersey   3:20-cv-09085         LINVILLE LAW GROUP
WOOTEN, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-19742         LINVILLE LAW GROUP
DZIEDZIC, MICHELLE         NJ - Superior Court - Atlantic County      ATL-L-1304-18         LOCKS LAW FIRM
GAGLIARDI, ROSALIA         NJ - Superior Court - Middlesex County     MID-L-03805-18AS      LOCKS LAW FIRM
GARRIS, ZACHARY            NJ - Superior Court - Middlesex County     MID-L-01514-18AS      LOCKS LAW FIRM
MAZZELLA, LINDA            NJ - Superior Court - Atlantic County      ATL-L-000790-18       LOCKS LAW FIRM
SPIER, KATJE               NJ - Superior Court - Atlantic County      ATL-L-400-18          LOCKS LAW FIRM
WEISBROT, ELAINE           NJ - Superior Court - Atlantic County      ATL-L-1721-17         LOCKS LAW FIRM
GRECO, MARY                NJ - Superior Court - Atlantic County      ATL-L-001489-19       LOPEZ MCHUGH LLP
BABISH, ROSEMARIE          NJ - Superior Court - Atlantic County      ATL-L-000007-19       LOPEZ-MCHUGH, LLP
CASEY, EDDA                NJ - Superior Court - Atlantic County      ATL-L-002915-18       LOPEZ-MCHUGH, LLP
COVINGTON, SALLY           NJ - Superior Court - Atlantic County      ATL-L-000247-19       LOPEZ-MCHUGH, LLP
GONZALEZ, ANTONIA          NJ - Superior Court - Atlantic County      ATL-L-000440-19       LOPEZ-MCHUGH, LLP
GUNNELS, VERONICA          NJ - Superior Court - Atlantic County      ATL-L-000588-19       LOPEZ-MCHUGH, LLP
WEST, NANCY                NJ - Superior Court - Atlantic County      ATL-L-002913-18       LOPEZ-MCHUGH, LLP
CURLIE, GERALDINE          NJ - USDC for the District of New Jersey   3:21-cv-03253         LUDWIG LAW FIRM, PLC
GREEN, SHIRLEY             NJ - USDC for the District of New Jersey   3:21-cv-03348         LUDWIG LAW FIRM, PLC
MARTIN, ALTA               NJ - USDC for the District of New Jersey   3:21-cv-03344         LUDWIG LAW FIRM, PLC
ALLEN, KATHERINE           NJ - USDC for the District of New Jersey   3:17-cv-11109         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
ATKINSON, MONNIE           NJ - USDC for the District of New Jersey   3:17-cv-07816         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BANKS, MARY                NJ - USDC for the District of New Jersey   3:18-cv-02296         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BARNES, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11173         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BERRY, ANNIE               NJ - USDC for the District of New Jersey   3:17-cv-07833         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BOCHANSKI, VIRGINIA        NJ - Superior Court - Atlantic County      ATL-L-000228-19       LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BOLIN, ENEDINA             NJ - USDC for the District of New Jersey   3:19-cv-06821         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
BROWNLEE, JACQUELINE       NJ - USDC for the District of New Jersey   3:17-cv-10661         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
CANADA, SARAH TERESA       NJ - USDC for the District of New Jersey   3:18-cv-02562         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
CASWELL, KRISTEEN          NJ - USDC for the District of New Jersey   3:21-cv-00533         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
COLANDRA, BARBARA          NJ - Superior Court - Atlantic County      ATL-L-303-18          LUNDY, LUNDY, SOILEAU & SOUTH, LLP
CORRIGAN, JILLENE          NJ - USDC for the District of New Jersey   3:17-cv-10986         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
CRUCE, LISA                NJ - USDC for the District of New Jersey   3:17-cv-10994         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
CUNNINGHAM, CYNTHIA        NJ - USDC for the District of New Jersey   3:18-cv-02297         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
DALLAS, KIM                NJ - USDC for the District of New Jersey   3:17-cv-11027         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
DAUGEREAU, TARA            NJ - USDC for the District of New Jersey   3:20-cv-05291         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
DAVIS, GLYNNDA             NJ - USDC for the District of New Jersey   3:17-cv-07903         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
DIXON, MARSHA              NJ - USDC for the District of New Jersey   3:17-cv-11113         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
DOWLER, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-11037         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
DOWNS, SUE                 NJ - Superior Court - Atlantic County      ATL-L-1771-16         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
FRANK, ERIN                NJ - Superior Court - Atlantic County      ATL-L-304-18          LUNDY, LUNDY, SOILEAU & SOUTH, LLP
FULLER, THRESIA            NJ - USDC for the District of New Jersey   3:17-cv-11070         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
FURBY, REVA                NJ - USDC for the District of New Jersey   3:17-cv-11115         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
GADSON, ROSE               NJ - USDC for the District of New Jersey   3:18-cv-02298         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
GARRISON, GENEVA           NJ - USDC for the District of New Jersey   3:17-cv-11057         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
GONZALES, MARYJANE         NJ - USDC for the District of New Jersey   3:17-cv-11171         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
GREZIK, BETTY HAMPTON      NJ - USDC for the District of New Jersey   3:17-cv-11126         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
HAMILTON, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-19044         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
HARPER, HILDA              NJ - USDC for the District of New Jersey   3:17-cv-07939         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
HINSHAW, JUDY              NJ - USDC for the District of New Jersey   3:19-cv-07089         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
HUGGINS, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-01269         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
JACOBS, ROBERTA            NJ - USDC for the District of New Jersey   3:17-cv-11137         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
JEFFERSON, ANNA            NJ - USDC for the District of New Jersey   3:18-cv-02299         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
JUREK, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-16956         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
LOVITT, MAVIS              NJ - USDC for the District of New Jersey   3:20-cv-19092         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
LYONS, CHERYL              NJ - USDC for the District of New Jersey   3:17-cv-07837         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
MALGERI, JUDY              NJ - USDC for the District of New Jersey   3:17-cv-11064         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
MILLER, DIANE              NJ - USDC for the District of New Jersey   3:17-cv-07839         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
MILLER, ELENA              NJ - USDC for the District of New Jersey   3:19-cv-06993         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
ODUMS, JO                  NJ - USDC for the District of New Jersey   3:17-cv-07914         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
PEDERSEN, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-07936         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
PRESCOTT, ALYCE            NJ - USDC for the District of New Jersey   3:18-cv-02301         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
QUIRK, RAMONA              NJ - USDC for the District of New Jersey   3:17-cv-11172         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
SANDERS, MONTERESA         NJ - Superior Court - Atlantic County      ATL-L-675-16          LUNDY, LUNDY, SOILEAU & SOUTH, LLP
SHMAEFF, OSIE              NJ - USDC for the District of New Jersey   3:17-cv-07871         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
SMITH, ALEISA              NJ - USDC for the District of New Jersey   3:17-cv-11154         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
STILL, VALERIE WARDELL     NJ - USDC for the District of New Jersey   3:18-cv-02563         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
SULLIVAN, MARY             NJ - USDC for the District of New Jersey   3:17-cv-11140         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
SYED, YASMIN               NJ - USDC for the District of New Jersey   3:17-cv-07931         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
TERRY, CHARLENE MITCHELL   NJ - USDC for the District of New Jersey   3:18-cv-02564         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
THACKER, DOTTIE            NJ - Superior Court - Atlantic County      ATL-L-847-16          LUNDY, LUNDY, SOILEAU & SOUTH, LLP
TIPTON, CHERYL             NJ - USDC for the District of New Jersey   3:17-cv-07935         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
TRIMBLE, GWENDOLYN         NJ - USDC for the District of New Jersey   3:19-cv-10315         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
TRUMAN, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11142         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
VICE, BRENDA               NJ - USDC for the District of New Jersey   3:18-cv-17131         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
WALLS, VIRGIE              NJ - USDC for the District of New Jersey   3:18-cv-02300         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
WILKES, EVA                NJ - Superior Court - Atlantic County      ATL-L-312-16          LUNDY, LUNDY, SOILEAU & SOUTH, LLP
WILLIAMS, CONNIE           NJ - Superior Court - Atlantic County      ATL-L-1156-16         LUNDY, LUNDY, SOILEAU & SOUTH, LLP




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          Claimant Name                       State Filed                    Docket Number                Plaintiff Counsel
WILLIE, ELEANOR             NJ - USDC for the District of New Jersey   3:17-cv-11144         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
ZANCA, CAROL                NJ - USDC for the District of New Jersey   3:17-cv-11146         LUNDY, LUNDY, SOILEAU & SOUTH, LLP
SULLIVAN, CARRIE            IL - Circuit Court - Cook County           2021L004831           MALATESTA LAW OFFICES, LLC
CORBETT, BARBARA            CA - Superior Court - Los Angeles County   BC651027              MANIER & HEROD
ARNOLD, MARGARET            NJ - USDC for the District of New Jersey   3:18-cv-01219         MARLIN & SALTZMAN LLP
BANDERET, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-09188         MARLIN & SALTZMAN LLP
BETHEA, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-10802         MARLIN & SALTZMAN LLP
BURGER, CHRISTIE            NJ - USDC for the District of New Jersey   3:17-cv-08566         MARLIN & SALTZMAN LLP
CALLAHAN, MOLLY             NJ - USDC for the District of New Jersey   3:18-cv-13731         MARLIN & SALTZMAN LLP
CECIL, REBECCA              NJ - USDC for the District of New Jersey   3:17-cv-05997         MARLIN & SALTZMAN LLP
CONKLIN, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-12088         MARLIN & SALTZMAN LLP
DORFMAN, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-12040         MARLIN & SALTZMAN LLP
GALLAGHER, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-13018         MARLIN & SALTZMAN LLP
GOODSON, ANNE               NJ - USDC for the District of New Jersey   3:20-cv-02099         MARLIN & SALTZMAN LLP
HENJUM, MARY                NJ - USDC for the District of New Jersey   3:18-cv-04152         MARLIN & SALTZMAN LLP
HUDOCK, SANTA               NJ - USDC for the District of New Jersey   3:17-cv-12268         MARLIN & SALTZMAN LLP
JOHNSON, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-12820         MARLIN & SALTZMAN LLP
MERRY, TAMI                 NJ - USDC for the District of New Jersey   3:17-cv-05996         MARLIN & SALTZMAN LLP
PATE, ANN                   NJ - USDC for the District of New Jersey   3:19-cv-00538         MARLIN & SALTZMAN LLP
PETERS, BEVERLY             NJ - USDC for the District of New Jersey   3:20-cv-06558         MARLIN & SALTZMAN LLP
RICHARD, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-12309         MARLIN & SALTZMAN LLP
ROEBUCK, MARY               NJ - USDC for the District of New Jersey   3:17-cv-12218         MARLIN & SALTZMAN LLP
SZWEJKOWSKI, MARY           NJ - USDC for the District of New Jersey   3:17-cv-07378         MARLIN & SALTZMAN LLP
TANNENBAUM, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-13429         MARLIN & SALTZMAN LLP
RICHARDSON, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-14170         MARTIN & JONES
CHRISTOPHER, MARSHA         NJ - USDC for the District of New Jersey   3:21-cv-11043         MARTIN BAUGHMAN, PLLC
EICH, MAUREEN               NJ - USDC for the District of New Jersey   3:21-cv-11041         MARTIN BAUGHMAN, PLLC
BENSON, ARLENE              NJ - USDC for the District of New Jersey   3:17-cv-07188         MARTINIAN & ASSOCIATES, INC.
BROCK, LATISHA              NJ - USDC for the District of New Jersey   3:19-cv-17168         MARTINIAN & ASSOCIATES, INC.
BROWDER, ALMA               NJ - USDC for the District of New Jersey   3:18-cv-03102         MARTINIAN & ASSOCIATES, INC.
CARPENTER, KELLY            NJ - USDC for the District of New Jersey   3:18-cv-03106         MARTINIAN & ASSOCIATES, INC.
CORDER, JAMIE               NJ - USDC for the District of New Jersey   3:19-cv-16476         MARTINIAN & ASSOCIATES, INC.
DAZEN, JEANETTE             NJ - USDC for the District of New Jersey   3:19-cv-17587         MARTINIAN & ASSOCIATES, INC.
DETAR, EVELYN               NJ - USDC for the District of New Jersey   3:19-cv-18074         MARTINIAN & ASSOCIATES, INC.
FRASER, NICOLE              NJ - USDC for the District of New Jersey   3:20-cv-13545         MARTINIAN & ASSOCIATES, INC.
FULTON, HOLLI               NJ - USDC for the District of New Jersey   3:19-cv-13915         MARTINIAN & ASSOCIATES, INC.
GOULD, DALPHINA             NJ - USDC for the District of New Jersey   3:19-cv-06856         MARTINIAN & ASSOCIATES, INC.
GRAYSON, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-06854         MARTINIAN & ASSOCIATES, INC.
GUINN, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-17588         MARTINIAN & ASSOCIATES, INC.
HAYES, SHARON               NJ - USDC for the District of New Jersey   3:19-cv-13899         MARTINIAN & ASSOCIATES, INC.
HYLAND, CHERYL              NJ - USDC for the District of New Jersey   3:19-cv-18885         MARTINIAN & ASSOCIATES, INC.
JAMES, RHONDA               NJ - USDC for the District of New Jersey   3:19-cv-14421         MARTINIAN & ASSOCIATES, INC.
KIRKENDALL, JUDY            NJ - USDC for the District of New Jersey   3:18-cv-03101         MARTINIAN & ASSOCIATES, INC.
LADNER, TONIA               NJ - USDC for the District of New Jersey   3:19-cv-13439         MARTINIAN & ASSOCIATES, INC.
LAFRANCE, EULA              NJ - USDC for the District of New Jersey   3:19-cv-06853         MARTINIAN & ASSOCIATES, INC.
LONG, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-17530         MARTINIAN & ASSOCIATES, INC.
LOO-LEW, CAROLINE           NJ - USDC for the District of New Jersey   3:20-cv-00584         MARTINIAN & ASSOCIATES, INC.
MARTINEZ, ORALIA            NJ - USDC for the District of New Jersey   3:18-cv-03108         MARTINIAN & ASSOCIATES, INC.
MCCLINTOCK, VIRGINIA        NJ - USDC for the District of New Jersey   3:19-cv-15392         MARTINIAN & ASSOCIATES, INC.
MENDOZA, MARIA              NJ - USDC for the District of New Jersey   3:19-cv-17533         MARTINIAN & ASSOCIATES, INC.
MITCHELL, JANE              NJ - USDC for the District of New Jersey   3:19-cv-15425         MARTINIAN & ASSOCIATES, INC.
MONIA, JANER                NJ - USDC for the District of New Jersey   3:19-cv-17586         MARTINIAN & ASSOCIATES, INC.
OTIS, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-13913         MARTINIAN & ASSOCIATES, INC.
OVERSTREET, VIVIAN          NJ - USDC for the District of New Jersey   3:19-cv-15007         MARTINIAN & ASSOCIATES, INC.
PEREZ, SYLVIA               NJ - USDC for the District of New Jersey   3:19-cv-21337         MARTINIAN & ASSOCIATES, INC.
RADBILL, NATALIE            NJ - USDC for the District of New Jersey   3:19-cv-16389         MARTINIAN & ASSOCIATES, INC.
ROBERTS, AUDREY             NJ - USDC for the District of New Jersey   3:18-cv-03105         MARTINIAN & ASSOCIATES, INC.
SANCHEZ, YVONNE             NJ - USDC for the District of New Jersey   3:19-cv-14419         MARTINIAN & ASSOCIATES, INC.
SENA-HERNANDEZ, CHRISTINA   NJ - USDC for the District of New Jersey   3:19-cv-16241         MARTINIAN & ASSOCIATES, INC.
SIMMONS, TAMMY              NJ - USDC for the District of New Jersey   3:19-cv-17939         MARTINIAN & ASSOCIATES, INC.
SOGUILON, RUTHANN           NJ - USDC for the District of New Jersey   3:18-cv-03103         MARTINIAN & ASSOCIATES, INC.
VINES, TERESA               NJ - USDC for the District of New Jersey   3:19-cv-17534         MARTINIAN & ASSOCIATES, INC.
WALLACE, PANILLA            NJ - USDC for the District of New Jersey   3:19-cv-17589         MARTINIAN & ASSOCIATES, INC.
WHITEHEAD, AMELIA           NJ - USDC for the District of New Jersey   3:19-cv-21318         MARTINIAN & ASSOCIATES, INC.
WILBURN, MELA               NJ - USDC for the District of New Jersey   3:19-cv-06857         MARTINIAN & ASSOCIATES, INC.
WILKINSON, JOSEPHINE        NJ - USDC for the District of New Jersey   3:19-cv-19264         MARTINIAN & ASSOCIATES, INC.
WILLIAMS, SUZANNA           NJ - USDC for the District of New Jersey   3:19-cv-13438         MARTINIAN & ASSOCIATES, INC.
WORLEY, DOROTHY             NJ - USDC for the District of New Jersey   3:19-cv-17932         MARTINIAN & ASSOCIATES, INC.
BELLANGER, CRYSTAL          NJ - USDC for the District of New Jersey   3:16-cv-09500         MARTZELL, BICKFORD & CENTOLA
BEZUE, MASHANDER            NJ - USDC for the District of New Jersey   3:16-cv-09564         MARTZELL, BICKFORD & CENTOLA
HARRIS, RUTH                NJ - USDC for the District of New Jersey   3:16-cv-09522         MARTZELL, BICKFORD & CENTOLA
JONES-WILDER, RITA          NJ - USDC for the District of New Jersey   3:16-cv-09571         MARTZELL, BICKFORD & CENTOLA
MONTZ, CAROL                NJ - USDC for the District of New Jersey   3:16-cv-09523         MARTZELL, BICKFORD & CENTOLA
BOLES, SAMANTHA             NJ - USDC for the District of New Jersey   3:20-cv-17797         MARY ALEXANDER & ASSOCIATES, P.C
BOVA, KIRA                  NJ - USDC for the District of New Jersey   3:20-cv-03915         MARY ALEXANDER & ASSOCIATES, P.C
BUNKLEY, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-03893         MARY ALEXANDER & ASSOCIATES, P.C
CASERTA, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11352         MARY ALEXANDER & ASSOCIATES, P.C
DUPART, SHERRI              NJ - USDC for the District of New Jersey   3:17-cv-11355         MARY ALEXANDER & ASSOCIATES, P.C
GAY, BETTY                  NJ - USDC for the District of New Jersey   3:20-cv-07221         MARY ALEXANDER & ASSOCIATES, P.C
GERECKE, COLLEEN            NJ - USDC for the District of New Jersey   3:21-cv-11747         MARY ALEXANDER & ASSOCIATES, P.C




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
LYDIA, NAOMI                 NJ - USDC for the District of New Jersey   3:21-cv-01023         MARY ALEXANDER & ASSOCIATES, P.C
MOUNT, COLETTE               CA - Superior Court - Santa Clara County   17CV318737            MARY ALEXANDER & ASSOCIATES, P.C
ORTEGA, CHRISTINE            NJ - USDC for the District of New Jersey   3:21-cv-02715         MARY ALEXANDER & ASSOCIATES, P.C
PATEL, PREETY                NJ - USDC for the District of New Jersey   3:21-cv-02717         MARY ALEXANDER & ASSOCIATES, P.C
RABINOWITZ, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-06872         MARY ALEXANDER & ASSOCIATES, P.C
REYES, RAMONA                CA - Superior Court - Placer County        5CV0040300            MARY ALEXANDER & ASSOCIATES, P.C
RIZZO, SHIRLEY               NJ - USDC for the District of New Jersey   3:17-cv-11354         MARY ALEXANDER & ASSOCIATES, P.C
ROBERTSON, DAWN              NJ - USDC for the District of New Jersey   3:20-cv-17803         MARY ALEXANDER & ASSOCIATES, P.C
SALGADO, CARMELA             NJ - USDC for the District of New Jersey   3:20-cv-17795         MARY ALEXANDER & ASSOCIATES, P.C
SEYBOLDT, PATRICIA           CA - Superior Court - Los Angeles County   19CV341370            MARY ALEXANDER & ASSOCIATES, P.C
STEWARD, SIERRA              NJ - USDC for the District of New Jersey   3:20-cv-06738         MARY ALEXANDER & ASSOCIATES, P.C
UNGER, ANNE                  NJ - USDC for the District of New Jersey   3:21-cv-02718         MARY ALEXANDER & ASSOCIATES, P.C
WIMBERLY, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-12752         MARY ALEXANDER & ASSOCIATES, P.C
HUNT, SYLVIA                 NJ - USDC for the District of New Jersey   3:17-cv-08070         MASSIMO & PAWETTA, P.C.
RAMIREZ, ALISIA              NJ - USDC for the District of New Jersey   3:21-cv-05008         MATERN LAW GROUP, PC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
ALVAREZ, MARIA               NJ - Superior Court - Middlesex County     MID-L-005353-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
AMRON, ROBERT                NJ - Superior Court - Middlesex County     MID-L-02045-19AS
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
BISCEGLIO, JANICE            NJ - Superior Court - Middlesex County     MID-L-00385321
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
BLANKSCHAEN, JUDITH          NJ - Superior Court - Middlesex County     MID-L-08377-18AS
                                                                                              LLC
CAMPO, SUSANNA EST OF                                                                         MAUNE RAICHLE HARTLEY FRENCH & MUDD
                             NJ - Superior Court - Middlesex County     MID-L-002418-21AS
GIOVANNI CAMPO                                                                                LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
COHEN, CONNIE                NJ - Superior Court - Middlesex County     MID-L-004448-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
COOPER, MICHELLE             NJ - Superior Court - Middlesex County     MID-L-001326-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
CORONADO, MARIO              NJ - Superior Court - Middlesex County     MID-L-004460-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
DOTSON, RONALD               NJ - Superior Court - Middlesex County     MID-L-005986-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
GILBRIDE, ELLYN              NJ - Superior Court - Middlesex County     MID-L-002848-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
JACKSON, MARY                NJ - Superior Court - Middlesex County     MID-L-006217-20AS
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
KRYZANSKI, BRIAN             NJ - Superior Court - Middlesex County     MID-L-001702-21
                                                                                              LLC




                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
LANE, MARK                   NJ - Superior Court - Middlesex County     MID-L-005506-21
                                                                                              LLC




                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
LEVINE, JOANNA               NY - Supreme Court - NYCAL                 190251/2020
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
MCDONOUGH, COLLEEN           NJ - Superior Court - Middlesex County     MID-L-001512-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
MCKNIGHT-FOSTER, CAROL       NJ - Superior Court - Middlesex County     MID-L-000312-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
MEIKLE, ELIZABETH            NJ - Superior Court - Middlesex County     MID-L-0033771-20AS
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
NATHAN, FRAIDA               NJ - Superior Court - Middlesex County     MID-L-006101-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
PRECIADO, PEDRO              NJ - Superior Court - Middlesex County     MID-L-03702-18AS
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
PRYOR, CAROLYN               NJ - Superior Court - Middlesex County     MID-L-002649-20
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
SHADER, PATRICIA             NJ - Superior Court - Middlesex County     MID-L-007836-20
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
SIMS, CONNIE                 NJ - Superior Court - Middlesex County     MID-L-003923-20AS
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
STRINGFELLOW, THOMAS         NJ - Superior Court - Middlesex County     MID-L-002906-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
TOLLEFSON, KATHERINE         NJ - Superior Court - Middlesex County     MID-L-004370-21
                                                                                              LLC
TOMLIN, REBECCA ANN EST OF                                                                    MAUNE RAICHLE HARTLEY FRENCH & MUDD
                             NJ - Superior Court - Middlesex County     MID-L-005872/21
RICHARD TOMLIN                                                                                LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
WEATHERS, SANDRA             NJ - Superior Court - Middlesex County     MID-L-00549-20AS
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
WHITE, CAROL                 NJ - Superior Court - Middlesex County     MID-L-005771-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD
ZACHARA, MARZENA             NJ - Superior Court - Middlesex County     MID-L-001028-21
                                                                                              LLC
                                                                                              MAUNE RAICHLE HARTLEY FRENCH & MUDD,
ELMORE, DELORES M            IL - Circuit Court - Madison County        17-L-1591
                                                                                              LLC




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          Claimant Name                            State Filed                    Docket Number                Plaintiff Counsel
GOODWIN, ELIZABETH EST OF J                                                                       MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  NJ - Superior Court - Middlesex County     MID-L-003373-21AS
PRESCIANO                                                                                         LLC
JOSEPH, SCHIFINI EST OF JOYCE A                                                                   MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  IL - Circuit Court - Madison County        17-L-1650
SCHIFINI                                                                                          LLC
KING, DAVID G. ESTATE OF LINDA                                                                    MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  IL - Circuit Court - Madison County        17-L-523
KING                                                                                              LLC
PAUL, KAREN ESTATE OF PATRICIA                                                                    MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  IL - Circuit Court - Madison County        20-L-0320
SCHILLACI                                                                                         LLC
PRZEKOP, CHARLES AND PRZEKOP,                                                                     MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  NJ - Superior Court - Middlesex County     MID-L-003328-21
DELPHINE                                                                                          LLC
                                                                                                  MAUNE RAICHLE HARTLEY FRENCH & MUDD,
SHAW, CATHERINE                   NJ - Superior Court - Middlesex County     MID-L-01542-20AS
                                                                                                  LLC
SMITH, AUDREY AND SMITH,                                                                          MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  IL - Circuit Court - Madison County        20-L-1147
STEVEN                                                                                            LLC
                                                                                                  MAUNE RAICHLE HARTLEY FRENCH & MUDD,
SMITH, KIRK A.                    CA - Superior Court - Alameda County       RG21101490
                                                                                                  LLC
                                                                                                  MAUNE RAICHLE HARTLEY FRENCH & MUDD,
TRUJILLO,JACQUELINE ET , UX.      CA - Superior Court - Alameda County       RG19001767
                                                                                                  LLC
WAGNER, LOUIS & WAGNER,                                                                           MAUNE RAICHLE HARTLEY FRENCH & MUDD,
                                  CA - Superior Court - Los Angeles          BC645588
NANETTE                                                                                           LLC
                                                                                                  MAUNE RAICHLE HARTLEY FRENCH & MUDD,
WINDRAM, JENNIFER                 NJ - Superior Court - Middlesex County     MID-L-003103-21
                                                                                                  LLC
                                                                                                  MAURO, SAVO, CAMERINO, GRANT & SCHALK,
STEPHENSON, JEANNE                NJ - Superior Court - Atlantic County      ATL-L-1961-16
                                                                                                  P.A.
SULLIVAN, BERRY COLLEN AND        OH - Court of Common Please - Cuyahoga
                                                                             CV-18-895936         MCDERMOTT & HICKEY
BERRY, RICHARD                    County
DIMARIA, DIANE                    NJ - Superior Court - Atlantic County      ATL-L-185-18         MCELDREW YOUNG
IACULLO, ROSEMARIE                NJ - Superior Court - Atlantic County      ATL-L-187-18         MCELDREW YOUNG
STADTMUELLER, TONYA               NJ - Superior Court - Atlantic County      ATL-L-189-18         MCELDREW YOUNG
YOUNG, LOUANNE                    NJ - Superior Court - Atlantic County      ATL-L-2419-17        MCELDREW YOUNG
HILLYER, SUSAN                    NJ - USDC for the District of New Jersey   3:18-cv-11683        MCEWEN LAW FIRM, LTD.
TIJERINA, CLAUDIA                 NJ - USDC for the District of New Jersey   3:18-cv-10830        MCEWEN LAW FIRM, LTD.
BLAIS, DANIELLE                   NJ - USDC for the District of New Jersey   3:19-cv-11992        MCGLYNN, GLISSON & MOUTON
BOUNDS, JANA                      NJ - USDC for the District of New Jersey   3:18-cv-10571        MCGLYNN, GLISSON & MOUTON
CAMERON, LYNDA                    NJ - USDC for the District of New Jersey   3:18-cv-08733        MCGLYNN, GLISSON & MOUTON
COULLOUDON, LILEEN                NJ - USDC for the District of New Jersey   3:18-cv-10655        MCGLYNN, GLISSON & MOUTON
JONES, CYNTHIA                    NJ - USDC for the District of New Jersey   3:19-cv-14279        MCGLYNN, GLISSON & MOUTON
KOINOGLOU, NANCY                  NJ - USDC for the District of New Jersey   3:19-cv-14310        MCGLYNN, GLISSON & MOUTON
LENOCI, NANCI                     NJ - USDC for the District of New Jersey   3:18-cv-12300        MCGLYNN, GLISSON & MOUTON
LUC, CATHERINE                    NJ - USDC for the District of New Jersey   3:19-cv-00415        MCGLYNN, GLISSON & MOUTON
SCARBROUGH, CATHERINE             NJ - USDC for the District of New Jersey   3:19-cv-13425        MCGLYNN, GLISSON & MOUTON
WALKER, VICKI                     NJ - USDC for the District of New Jersey   3:17-cv-06609        MCGLYNN, GLISSON & MOUTON
ZIRBEL, LINDA                     NJ - USDC for the District of New Jersey   3:19-cv-21328        MCGLYNN, GLISSON & MOUTON
ALSTON, DIANNA                    NJ - USDC for the District of New Jersey   3:17-cv-06473        MCGOWAN, HOOD & FELDER, LLC
DAVIDSON, DORTHA                  NJ - USDC for the District of New Jersey   3:17-cv-11404        MCGOWAN, HOOD & FELDER, LLC
HARTER, PATSY                     NJ - USDC for the District of New Jersey   3:18-cv-01420        MCGOWAN, HOOD & FELDER, LLC
HARTLAUB, MARGUERITE              NJ - USDC for the District of New Jersey   3:18-cv-12360        MCGOWAN, HOOD & FELDER, LLC
KEATING, JOAN                     NJ - USDC for the District of New Jersey   3:17-cv-06476        MCGOWAN, HOOD & FELDER, LLC
KELLY, LINDA                      NJ - USDC for the District of New Jersey   3:20-cv-12552        MCGOWAN, HOOD & FELDER, LLC
MICHAEL, PAMELA                   NJ - USDC for the District of New Jersey   3:20-cv-00630        MCGOWAN, HOOD & FELDER, LLC
ROBERTS, KIMBERLY                 NJ - USDC for the District of New Jersey   3:17-cv-06503        MCGOWAN, HOOD & FELDER, LLC
ROBERTSON, GRACE                  NJ - USDC for the District of New Jersey   3:20-cv-12558        MCGOWAN, HOOD & FELDER, LLC
RYAN, ELINORE                     NJ - USDC for the District of New Jersey   3:17-cv-06505        MCGOWAN, HOOD & FELDER, LLC
WITHERINGTON, CARLA               NJ - USDC for the District of New Jersey   3:17-cv-09352        MCGOWAN, HOOD & FELDER, LLC
MCCOY, CARLA                      CA - Superior Court - Santa Clara County   17CV314869           MCNULTY LAW FIRM
BAGGOTT, DENISE                   NJ - USDC for the District of New Jersey   3:21-cv-01056        MCSWEENEY/LANGEVIN, LLC
BARNES, MARY                      NJ - USDC for the District of New Jersey   3:21-cv-15924        MCSWEENEY/LANGEVIN, LLC
BARTOW, RAMONA                    NJ - USDC for the District of New Jersey   3:19-cv-18552        MCSWEENEY/LANGEVIN, LLC
BECK, BETTY                       NJ - USDC for the District of New Jersey   3:20-cv-15204        MCSWEENEY/LANGEVIN, LLC
BERNARD, JOYCE                    NJ - USDC for the District of New Jersey   3:20-cv-19651        MCSWEENEY/LANGEVIN, LLC
BRASKA, ELINOR                    NJ - USDC for the District of New Jersey   3:19-cv-18735        MCSWEENEY/LANGEVIN, LLC
BROWN, LOIS                       NJ - USDC for the District of New Jersey   3:18-cv-11413        MCSWEENEY/LANGEVIN, LLC
BURRELL, MELVA                    NJ - USDC for the District of New Jersey   3:20-cv-14832        MCSWEENEY/LANGEVIN, LLC
DARLINGTON, FRANCES               NJ - USDC for the District of New Jersey   3:21-cv-01042        MCSWEENEY/LANGEVIN, LLC
DAVIS, AUDREY                     NJ - USDC for the District of New Jersey   3:18-cv-13512        MCSWEENEY/LANGEVIN, LLC
DEMELLO, ROSELANI                 NJ - USDC for the District of New Jersey   3:20-cv-15020        MCSWEENEY/LANGEVIN, LLC
ENCINAS, ARTEMISA                 NJ - USDC for the District of New Jersey   3:20-cv-16989        MCSWEENEY/LANGEVIN, LLC
FISHER, DOLORES                   NJ - USDC for the District of New Jersey   3:19-cv-19044        MCSWEENEY/LANGEVIN, LLC
GONZALEZ, RUTH                    NJ - USDC for the District of New Jersey   3:21-cv-17480        MCSWEENEY/LANGEVIN, LLC
HARRIS, SHAROL                    NJ - USDC for the District of New Jersey   3:21-cv-15920        MCSWEENEY/LANGEVIN, LLC
HAVERLY, BESSIE                   NJ - USDC for the District of New Jersey   3:18-cv-13266        MCSWEENEY/LANGEVIN, LLC
HUNTER, LYNDA                     NJ - USDC for the District of New Jersey   3:21-cv-04009        MCSWEENEY/LANGEVIN, LLC
JOHNSON, LYDIA                    NJ - USDC for the District of New Jersey   3:19-cv-18199        MCSWEENEY/LANGEVIN, LLC
KERR, NANETTE                     NJ - USDC for the District of New Jersey   3:18-cv-14338        MCSWEENEY/LANGEVIN, LLC
MCCLINTON-MATTHEWS, JULIE         NJ - USDC for the District of New Jersey   3:20-cv-03329        MCSWEENEY/LANGEVIN, LLC
MCDONALD, BEVERLY                 NJ - USDC for the District of New Jersey   3:18-cv-13587        MCSWEENEY/LANGEVIN, LLC
MILLS, AMY                        NJ - USDC for the District of New Jersey   3:21-cv-15858        MCSWEENEY/LANGEVIN, LLC
MORRISION, ROSETTA                NJ - USDC for the District of New Jersey   3:20-cv-01641        MCSWEENEY/LANGEVIN, LLC
OWENS, SHARON                     NJ - USDC for the District of New Jersey   3:19-cv-19392        MCSWEENEY/LANGEVIN, LLC
PASCUCCI, BEATRICE                NJ - USDC for the District of New Jersey   3:18-cv-10726        MCSWEENEY/LANGEVIN, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PEREZ, LUCILLE            NJ - USDC for the District of New Jersey   3:21-cv-16562         MCSWEENEY/LANGEVIN, LLC
PLAYFORD, MYTYL           NJ - USDC for the District of New Jersey   3:18-cv-10506         MCSWEENEY/LANGEVIN, LLC
QUINN, LISA               NJ - USDC for the District of New Jersey   3:19-cv-18202         MCSWEENEY/LANGEVIN, LLC
RUMSCHLAG, MARILYN        NJ - USDC for the District of New Jersey   3:21-cv-15923         MCSWEENEY/LANGEVIN, LLC
SADLER, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-01051         MCSWEENEY/LANGEVIN, LLC
SANDEEN, LAUREN           NJ - USDC for the District of New Jersey   3:18-cv-10416         MCSWEENEY/LANGEVIN, LLC
SCIFO, MARY               NJ - USDC for the District of New Jersey   3:18-cv-10607         MCSWEENEY/LANGEVIN, LLC
SHEVENOCK, GEORGIANNA     NJ - USDC for the District of New Jersey   3:18-cv-13689         MCSWEENEY/LANGEVIN, LLC
SMITH, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-03595         MCSWEENEY/LANGEVIN, LLC
SNEED, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-10303         MCSWEENEY/LANGEVIN, LLC
TARRIO, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-03057         MCSWEENEY/LANGEVIN, LLC
UDDIN, YASMIN             NJ - USDC for the District of New Jersey   3:21-cv-04001         MCSWEENEY/LANGEVIN, LLC
VAN NESS, MARCIA          NJ - USDC for the District of New Jersey   3:20-cv-19772         MCSWEENEY/LANGEVIN, LLC
VENTERS, LISA             NJ - USDC for the District of New Jersey   3:20-cv-18645         MCSWEENEY/LANGEVIN, LLC
WILLIAMSON, VERNELL       NJ - USDC for the District of New Jersey   3:20-cv-15913         MCSWEENEY/LANGEVIN, LLC
LINDSAY, SHELLEY          NJ - USDC for the District of New Jersey   3:21-cv-09969         MEDLEY LAW GROUP
KEHRES, KATHRYN           NJ - USDC for the District of New Jersey   3:16-cv-07657         MEGARGEL & ESKRIDGE CO., LPA
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
BAUCHNER, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-11160
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
BURGS-JACKSON, LINDA      NJ - USDC for the District of New Jersey   3:21-cv-13378
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
BURKS, PATTIE             NJ - USDC for the District of New Jersey   3:21-cv-11312
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
BURRIS, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-21540
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
CHEN, RUTH                NJ - USDC for the District of New Jersey   3:21-cv-11303
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
CHERRIE, ALYCE            NJ - USDC for the District of New Jersey   3:20-cv-01621
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
FINN, KATHRYN             NJ - USDC for the District of New Jersey   3:21-cv-11166
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
GARMAN, GEORGIA           NJ - USDC for the District of New Jersey   3:21-cv-11411
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
GRANT, TERESA             NJ - USDC for the District of New Jersey   3:19-cv-20566
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
HAIR, KELLEY              NJ - USDC for the District of New Jersey   3:21-cv-10846
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
HAMILTON, JO LETA         NJ - USDC for the District of New Jersey   3:21-cv-10863
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
HARLAND, SHONDA           NJ - USDC for the District of New Jersey   3:20-cv-01608
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
JAZBINSEK, VALERIE        NJ - USDC for the District of New Jersey   3:21-cv-11924
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
JEPSON, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-01283
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
JOHNSON, LORNA            NJ - USDC for the District of New Jersey   3:19-cv-20282
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
JORDAN, KIERRA            NJ - USDC for the District of New Jersey   3:19-cv-15326
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
LAY, TERESA               NJ - USDC for the District of New Jersey   3:21-cv-10747
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
LINDTNER, DENISE          NJ - USDC for the District of New Jersey   3:19-cv-21432
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
LIU, TANGELA              NJ - USDC for the District of New Jersey   3:19-cv-20563
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
MARRERO, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-11093
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
MARRIMON, BETTY           NJ - USDC for the District of New Jersey   3:21-cv-11168
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
MARS-PRINE, TAMMY         NJ - USDC for the District of New Jersey   3:21-cv-11327
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
MCGOWAN, CATHERINE        NJ - USDC for the District of New Jersey   3:21-cv-11202
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
METTS, CATHY              NJ - USDC for the District of New Jersey   3:21-cv-11504
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
MORGAN, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-11042
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
ONEY, BETH                NJ - USDC for the District of New Jersey   3:21-cv-11087
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
OREL, INA                 NJ - USDC for the District of New Jersey   3:20-cv-01614
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
PATERNOSTER, ANNA         NJ - USDC for the District of New Jersey   3:21-cv-11193
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
RABALAIS, ROBYN           NJ - USDC for the District of New Jersey   3:21-cv-11371
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
RAYMER, MARSHA            NJ - USDC for the District of New Jersey   321-cv-11084
                                                                                           LLP
                                                                                           MELANIE H MUHLSTOCK/PARKER WAICHMAN
ROMANSKI, CATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-11317
                                                                                           LLP




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         Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
SCHLITTER, ELEANORE       NJ - USDC for the District of New Jersey   3:21-cv-11105
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
SHEPHERD, KATHY           NJ - USDC for the District of New Jersey   3:21-cv-11308
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
SMEDLEY, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-10909
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
SMELLIE, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-11055
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
STARUCH, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-11389
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
TENNEFELD, DANA           NJ - USDC for the District of New Jersey   3:19-cv-18483
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
TOWNS, LUCILLE            NJ - USDC for the District of New Jersey   3:19-cv-15594
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
TRAYLOR, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-11200
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
WILLIAMS, TAMMY           NJ - USDC for the District of New Jersey   3:19-cv-15328
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
WINSLOW, KARI             NJ - USDC for the District of New Jersey   3:19-cv-15323
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
WRIGHT-BRANTLEY, ANGELA   NJ - USDC for the District of New Jersey   3:20-cv-03245
                                                                                          LLP
                                                                                          MELANIE H MUHLSTOCK/PARKER WAICHMAN
ZARKIN, PATTI             NJ - USDC for the District of New Jersey   3:21-cv-11056
                                                                                          LLP
PEROUTKA, DIANE           IL - Circuit Court - Madison County        17-L-1589            MENGES LAW
GUERRA, MARIA             CANADA - Ontario Superior Court of Justice 179011               MERCHANT LAW GROUP LLP

JENKS, LEANN              CANADA - Ontario Superior Court of Justice 179011               MERCHANT LAW GROUP LLP
                          CANADA - Superior Court, District of
KRAMAR, ROSEMARY                                                     500-06-000787-164    MERCHANT LAW GROUP LLP
                          Montreal
WILLIAMSON, LINDA         CANADA - Ontario Superior Court of Justice 179011               MERCHANT LAW GROUP LLP
FINLEY, MELANIE           NJ - USDC for the District of New Jersey   3:17-cv-02391        MERSON LAW PLLC
ALLEN, ARNELLIA           NJ - USDC for the District of New Jersey   3:19-cv-19022        MESHBESHER & SPENCE, LTD.
ANDREWS, BETH             NJ - USDC for the District of New Jersey   3:20-cv-15198        MESHBESHER & SPENCE, LTD.
HAUGENE, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-14633        MESHBESHER & SPENCE, LTD.
JANZEN, MELISSA           NJ - USDC for the District of New Jersey   3:20-cv-15191        MESHBESHER & SPENCE, LTD.
MACMULLEN, DIANE          NJ - USDC for the District of New Jersey   3:19-cv-13920        MESHBESHER & SPENCE, LTD.
MALESKI, RENE             NJ - USDC for the District of New Jersey   3:18-cv-01678        MESHBESHER & SPENCE, LTD.
MOSCHOGIANIS, NANCY       NJ - USDC for the District of New Jersey   3:19-cv-19240        MESHBESHER & SPENCE, LTD.
ROBERTS, DEBBRA           NJ - USDC for the District of New Jersey   3:19-cv-13925        MESHBESHER & SPENCE, LTD.
RUTTEN, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-13933        MESHBESHER & SPENCE, LTD.
VANNETT, JO               NJ - USDC for the District of New Jersey   3:20-cv-08347        MESHBESHER & SPENCE, LTD.
DRUEDING, KRISTEN         NJ - Superior Court - Atlantic County      ATL-L-000888-21      MESSA & ASSOCIATES, P.C.
KRAMER, ROBERTA           NJ - Superior Court - Atlantic County      ATL-L-216-18         MESSA & ASSOCIATES, P.C.
PELULLO, BARBARA          NJ - Superior Court - Atlantic County      ATL-L-000972-21      MESSA & ASSOCIATES, P.C.
SCHMITT, ALLISON          NJ - USDC for the District of New Jersey   3:17-cv-12869        MESSA & ASSOCIATES, P.C.
SOSTRE, RITA              NJ - USDC for the District of New Jersey   3:19-cv-19540        MESSA & ASSOCIATES, P.C.
ABBEDUTO, MAUREEN         IL - Circuit Court - Cook County           2017-L-003007        MEYERS & FLOWERS, LLC
BENNETT, CAROLYN          IL - Circuit Court - Cook County           2017-L-003006        MEYERS & FLOWERS, LLC
BIRCH, KIERSTEN           IL - Circuit Court - Cook County           2021L000547          MEYERS & FLOWERS, LLC
BROWN, EDNA               IL - Circuit Court - Cook County           2017-L-003010        MEYERS & FLOWERS, LLC
HALL, PAULA               IL - Circuit Court - Cook County           2020-L003319         MEYERS & FLOWERS, LLC
KING, LATONIA             IL - Circuit Court - Cook County           2021L000545          MEYERS & FLOWERS, LLC
KNIGHT, KIMBERLY          IL - Circuit Court - Cook County           2017-L-003009        MEYERS & FLOWERS, LLC
MARIN, GRACIELA           IL - Circuit Court - Cook County           2021L000544          MEYERS & FLOWERS, LLC
RISLEY, HOPE              IL - Circuit Court - Cook County           2020L006924          MEYERS & FLOWERS, LLC
SUMMERS, CAROL            IL - Circuit Court - Cook County           2020-L-1314          MEYERS & FLOWERS, LLC
MARTINEZ, LILLIAN         NJ - USDC for the District of New Jersey   3:19-cv-08750        MICHAEL DAVID LAW
BELLANGER, CRYSTAL        NJ - USDC for the District of New Jersey   3:16-cv-09500        MICHAEL HINGLE & ASSOCIATES, LLC
BEZUE, MASHANDER          NJ - USDC for the District of New Jersey   3:16-cv-09564        MICHAEL HINGLE & ASSOCIATES, LLC
BROWN, BRENDA             NJ - USDC for the District of New Jersey   3:16-cv-09508        MICHAEL HINGLE & ASSOCIATES, LLC
BYRD, DARLENE             NJ - USDC for the District of New Jersey   3:16-cv-09513        MICHAEL HINGLE & ASSOCIATES, LLC
ELLIOTT, GWENDOLYN        NJ - USDC for the District of New Jersey   3:16-cv-09514        MICHAEL HINGLE & ASSOCIATES, LLC
HARRIS, RUTH              NJ - USDC for the District of New Jersey   3:16-cv-09522        MICHAEL HINGLE & ASSOCIATES, LLC
JONES-WILDER, RITA        NJ - USDC for the District of New Jersey   3:16-cv-09571        MICHAEL HINGLE & ASSOCIATES, LLC
MONTZ, CAROL              NJ - USDC for the District of New Jersey   3:16-cv-09523        MICHAEL HINGLE & ASSOCIATES, LLC
SISSAC, VILMA             NJ - USDC for the District of New Jersey   3:16-cv-09524        MICHAEL HINGLE & ASSOCIATES, LLC
                                                                                          MICHAEL S. WERNER, PARKER WAICHMAN
DIVJAK, ELSIE             NJ - USDC for the District of New Jersey   3:18-cv-02706
                                                                                          LLP
                                                                                          MICHAEL S. WERNER, PARKER WAICHMAN
GOSS, NICOLE              NJ - USDC for the District of New Jersey   3:17-cv-05824
                                                                                          LLP
                                                                                          MICHAEL S. WERNER, PARKER WAICHMAN
JOSEPH, BRENDA            NJ - USDC for the District of New Jersey   3:17-cv-05848
                                                                                          LLP
                                                                                          MICHAEL S. WERNER, PARKER WAICHMAN
KOEHLER, LENORE           NJ - USDC for the District of New Jersey   3:17-cv-01666
                                                                                          LLP
                                                                                          MICHAEL S. WERNER, PARKER WAICHMAN
LUNA, EDITH               NJ - USDC for the District of New Jersey   3:17-cv-05777
                                                                                          LLP




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          Claimant Name                             State Filed                    Docket Number                Plaintiff Counsel
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
MATEYUNAS, LORETTA                 NJ - USDC for the District of New Jersey   3:17-cv-05689
                                                                                                   LLP
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
MONTOYA, AIDE                      NJ - USDC for the District of New Jersey   3:17-cv-05787
                                                                                                   LLP
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
NELSON, CHRISTY                    NJ - USDC for the District of New Jersey   3:19-cv-11266
                                                                                                   LLP
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
PETRIDES, ANDREA                   NJ - USDC for the District of New Jersey   3:17-cv-04870
                                                                                                   LLP
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
PUCILOSKI, JENNIFER                NJ - USDC for the District of New Jersey   3:17-cv-07728
                                                                                                   LLP
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
RENNIE-SMITH, CHERYL               NJ - USDC for the District of New Jersey   3:17-cv-06920
                                                                                                   LLP
                                                                                                   MICHAEL S. WERNER, PARKER WAICHMAN
VENTRO, LINDA                      NJ - USDC for the District of New Jersey   3:17-cv-05788
                                                                                                   LLP
BOLAND, CHERYL                     CA - Superior Court - Santa Clara County   16-cv-296601         MILBERG COLEMAN BRYSON PHILLIPS
COSTA, LINDELIA                    CA - Superior Court - Santa Clara County   16-cv-296601         MILBERG COLEMAN BRYSON PHILLIPS
EPSTEIN, BEATRIZ                   CA - Superior Court - Los Angeles County   BC624387             MILBERG COLEMAN BRYSON PHILLIPS
HILDE, MARTHA                      CA - Superior Court - Santa Clara County   16-cv-296601         MILBERG COLEMAN BRYSON PHILLIPS
HODGSON, MARIE                     CA - Superior Court - Los Angeles County   BC624387             MILBERG COLEMAN BRYSON PHILLIPS
KOOLS, KAREN                       CA - Superior Court - Los Angeles County   BC624387             MILBERG COLEMAN BRYSON PHILLIPS
LOVIN, JENNIFER                    CA - Superior Court - Los Angeles County   BC624387             MILBERG COLEMAN BRYSON PHILLIPS
WAKEN-HALL, CAROLYN                CA - Superior Court - Santa Clara County   16-cv-296601         MILBERG COLEMAN BRYSON PHILLIPS
WOODSON, JESSICA                   CA - Superior Court - Los Angeles County   BC624387             MILBERG COLEMAN BRYSON PHILLIPS
WRAY, KATHERINE                    CA - Superior Court - Santa Clara County   16-cv-296601         MILBERG COLEMAN BRYSON PHILLIPS
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS
ALICEA, ANA                        NJ - USDC for the District of New Jersey   3:21-cv-17674
                                                                                                   GROSSMAN
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
ABBOTT, PIPER                      NJ - USDC for the District of New Jersey   3:18-cv-13024
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
ALLEN, THERESA                     NJ - USDC for the District of New Jersey   3:17-cv-12473
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
AROCHO, LUZ                        NJ - USDC for the District of New Jersey   3:17-cv-12591
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
ATHERTON, DARLENE                  NJ - USDC for the District of New Jersey   3:17-cv-12389
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
ATKINSON, ALYSSA                   NJ - USDC for the District of New Jersey   3:17-cv-12474
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
ATMAJIAN, ANGELA; OWEN, ALICIA CA - Superior Court - Los Angeles County       BC655667
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BAKER, THERESA                     NJ - USDC for the District of New Jersey   3:17-cv-12477
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BAKUS, REBECCA                     CA - Superior Court - Los Angeles County   BC699682
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BANKS-HARDING, EVA                 NJ - Superior Court - Atlantic County      ATL-L-2542-17
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BARTLETT, DIANA                    NJ - USDC for the District of New Jersey   3:17-cv-12482
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BASTEDENBECK, MARILYN              NJ - USDC for the District of New Jersey   3:17-cv-12483
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BAYNE, HERMOINE                    NJ - USDC for the District of New Jersey   3:17-cv-12392
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BELTRAN, HILDA                     NJ - USDC for the District of New Jersey   3:17-cv-12484
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BELZ, LINDA                        NJ - USDC for the District of New Jersey   3:18-cv-16346
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BLACK, BEVERLY                     NJ - USDC for the District of New Jersey   3:17-cv-12486
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BLAKE, MARVA                       CA - Superior Court - Los Angeles County   BC644063
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BORN, MARY                         NJ - USDC for the District of New Jersey   3:18-cv-03011
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BOUYEA, JACKELINE                  NJ - USDC for the District of New Jersey   3:17-cv-12487
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BOWMAN, JANET                      CA - Superior Court - Sonoma County        SCV259795
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BRAGG, SUSIE                       NJ - USDC for the District of New Jersey   3:17-cv-12393
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BROCK, CANDACE                     NJ - USDC for the District of New Jersey   3:17-cv-12394
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BROWN, ADA                         NJ - USDC for the District of New Jersey   3:17-cv-12491
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BROWN, JACQUELYN                   CA - Superior Court - Los Angeles County   BC688134
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
BUTLER, DEBRA                      NJ - USDC for the District of New Jersey   3:17-cv-12395
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
CANTLEY, LINDA                     CA - Superior Court - Los Angeles County   JCCP4872
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
CANTRELL, KRISTAL                  NJ - USDC for the District of New Jersey   3:17-cv-12492
                                                                                                   GROSSMAN, LLC
                                                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
CAPPELLO, JANICE                   NJ - USDC for the District of New Jersey   3:17-cv-12397
                                                                                                   GROSSMAN, LLC




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          Claimant Name                   State Filed                     Docket Number               Plaintiff Counsel
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CARDWELL, MALIA           NJ - USDC for the District of New Jersey   3:17-cv-12398
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CARR, PAMELA              NJ - USDC for the District of New Jersey   3:17-cv-12400
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CARROLL, CRISTINA         NJ - USDC for the District of New Jersey   3:17-cv-12401
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CARROLL, JULIA            NJ - USDC for the District of New Jersey   3:17-cv-12494
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CAVOLT, KATHERINE         NJ - USDC for the District of New Jersey   3:16-cv-09400
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CHAMBERS, JANICE          NJ - USDC for the District of New Jersey   3:17-cv-12402
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CHAMPION, MARY            NJ - USDC for the District of New Jersey   3:17-cv-12405
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CHRETIEN, AVRIL           NJ - USDC for the District of New Jersey   3:17-cv-12498
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CLINGAN, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-12504
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
COLE, PATRICIA WILBANKS   NJ - USDC for the District of New Jersey   3:17-cv-12618
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
COLEMAN, LAVERNE          NJ - USDC for the District of New Jersey   3:17-cv-12407
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
COLEY, EDNA               NJ - USDC for the District of New Jersey   3:17-cv-12409
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CONNERY, MORGAN           NJ - USDC for the District of New Jersey   3:17-cv-12506
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
COTTO, MARIA              NJ - USDC for the District of New Jersey   3:17-cv-12594
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
COTTO, SUSANA             NJ - USDC for the District of New Jersey   3:17-cv-12541
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
COX, SHOCKEY              NJ - USDC for the District of New Jersey   3:17-cv-12507
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
CUTRONE, FRANCES          NJ - USDC for the District of New Jersey   3:17-cv-12511
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DAIGLE, KATHLEEN          CA - Superior Court - Los Angeles County   BC698281
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DALY, MEGAN               NJ - USDC for the District of New Jersey   3:18-cv-06744
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DARIAN, NAHID             CA - Superior Court - Los Angeles County   BC647812
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DAVENPORT, LOLA           NJ - USDC for the District of New Jersey   3:17-cv-12514
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DAVIS, VERNONA            NJ - USDC for the District of New Jersey   3:17-cv-12516
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DAVIS, VIRGINIA           NJ - USDC for the District of New Jersey   3:17-cv-12411
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DAWIEC, SYNTHIA           NJ - USDC for the District of New Jersey   3:17-cv-12530
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DE LEON, FRANCES          NJ - USDC for the District of New Jersey   3:17-cv-12481
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DEL HOYO, OMAYRA          NJ - USDC for the District of New Jersey   3:17-cv-12592
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DICKEY, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-12531
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DIEFENDERFER, MARY        NJ - USDC for the District of New Jersey   3:17-cv-12532
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DOHNERT, SANDRA           NJ - USDC for the District of New Jersey   3:17-cv-12534
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DUNN, MAGGIE              NJ - USDC for the District of New Jersey   3:17-cv-12413
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
DVORSCEK, MEGAN           NJ - USDC for the District of New Jersey   3:21-cv-11997
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
ENDICOTT, RHONDA          NJ - USDC for the District of New Jersey   3:17-cv-12535
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
ENOS, ELIZABETH           CA - Superior Court - Los Angeles County   BC661139
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FARRINGTON, LORENE        NJ - USDC for the District of New Jersey   3:17-cv-12414
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FASSE, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-12415
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FEFIE, RITA               NJ - USDC for the District of New Jersey   3:18-cv-04552
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FERNANDEZ, FATIMA         CA - Superior Court - Los Angeles County   BC703745
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FIMPLE, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-12537
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FLECHA, JOSEPHINE         NJ - USDC for the District of New Jersey   3:17-cv-12538
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
FOX, TERESA               NJ - USDC for the District of New Jersey   3:17-cv-12510
                                                                                          GROSSMAN, LLC




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          Claimant Name                        State Filed                    Docket Number               Plaintiff Counsel
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
FUGLER, BRENDA                NJ - USDC for the District of New Jersey   3:18-cv-08928
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
GEARTY, ANN                   NJ - USDC for the District of New Jersey   3:17-cv-12547
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
GODFREY, NATALIE              CA - Superior Court - Los Angeles County   19STCV00599
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
GRIFFIN, SHEILA               CA - Superior Court - Alameda County       RG16820115
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
GUNTER, BARBARA               NJ - USDC for the District of New Jersey   3:17-cv-12548
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HARRINGTON, DAWN              NJ - USDC for the District of New Jersey   3:17-cv-12550
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HARRIS, OZELLA                NJ - USDC for the District of New Jersey   3:17-cv-12416
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HARRIS, SHELIA                CA - Superior Court - Los Angeles County   BC697943
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HARRIS-THOMAS, BRENDA         NJ - USDC for the District of New Jersey   3:17-cv-12551
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HAWKINS, BEATRICE             NJ - USDC for the District of New Jersey   3:17-cv-12552
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HAWKINS, LINDA                NJ - USDC for the District of New Jersey   3:17-cv-12417
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HENSON, JEAN                  NJ - USDC for the District of New Jersey   3:17-cv-12418
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HOLLINGSWORTH, TERRAH         NJ - USDC for the District of New Jersey   3:17-cv-12554
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HOPPER, JENNY                 NJ - USDC for the District of New Jersey   3:17-cv-12419
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
HUGHES, MAJORIE               NJ - USDC for the District of New Jersey   3:17-cv-12556
                                                                                              GROSSMAN, LLC
IKNER, JULIE ; LOPEZ, ROSA;                                                                   MILBERG COLEMAN BRYSON PHILLIPS,
                              CA - Superior Court - Los Angeles County   BC649256
MARTINE, KATHERINE                                                                            GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
INGRAM, DEBORAH               NJ - USDC for the District of New Jersey   3:17-cv-12558
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
IRETON, KHRISTINA             NJ - USDC for the District of New Jersey   3:17-cv-12420
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
JACKSON, CHENIKA              NJ - USDC for the District of New Jersey   3:17-cv-12421
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
JERRICKS, DEBORAH             CA - Superior Court - Los Angeles County   BC639513
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
JONES, ANTOINETTE             CA - Superior Court - Los Angeles County   BC699912
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
JONES, THELMA                 NJ - USDC for the District of New Jersey   3:17-cv-12422
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
KARLIC, PATRICIA              NJ - USDC for the District of New Jersey   3:17-cv-12559
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
KELLY, GRACIELA               NJ - USDC for the District of New Jersey   3:18-cv-15298
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
KING, CAROL                   NJ - USDC for the District of New Jersey   3:18-cv-08901
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
KING, GERALDINE               CA - Superior Court - Los Angeles County   BC697721
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LAIRD, SUSAN                  CA - Superior Court - Los Angeles County   BC695059
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LANCASTER, JANET              NJ - USDC for the District of New Jersey   3:17-cv-12423
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LANHAM, BARBARA               CA - Superior Court - Los Angeles County   BC699913
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LEBRON, INGRID                NJ - USDC for the District of New Jersey   3:17-cv-12561
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LESTER, NANCY                 NJ - USDC for the District of New Jersey   3:17-cv-12563
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LOFQUIST, KELLY               CA - Superior Court - Los Angeles County   BC697959
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LOSOYA, EDNA                  NJ - USDC for the District of New Jersey   3:17-cv-12565
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LOUTHAN, BEVERLY              NJ - USDC for the District of New Jersey   3:17-cv-12566
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LOWERY, DONNA NUNLEY          NJ - USDC for the District of New Jersey   3:17-cv-12578
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LUCAS, CRESIA                 NJ - USDC for the District of New Jersey   3:17-cv-12424
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
LYNN, JUDY                    NJ - USDC for the District of New Jersey   3:18-cv-08405
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
MALAPERO, MARIANNE            NJ - Superior Court - Atlantic County      ATL-L-2540-17
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
MARRON, MARIA                 CA - Superior Court - Los Angeles County   BC705965
                                                                                              GROSSMAN, LLC
                                                                                              MILBERG COLEMAN BRYSON PHILLIPS,
MAURO, DEBORAH                CA - Superior Court - Los Angeles County   BC682106
                                                                                              GROSSMAN, LLC




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                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MCCORMACK, ARLENE         NJ - Superior Court - Atlantic County      ATL-L-394-18
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MCGEAR, DOROTHY           NJ - USDC for the District of New Jersey   3:17-cv-12569
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MCKINLEY, SHEREE          NJ - USDC for the District of New Jersey   3:18-cv-03728
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MCKINNEY, HARRIET         NJ - Superior Court - Atlantic County      ATL-L-373-18
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MCMULLAN, CLAIRE          NJ - USDC for the District of New Jersey   3:21-cv-13374
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MEYER, ANGELA             NJ - USDC for the District of New Jersey   3:17-cv-12571
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MILLIORN, MICHELE         CA - Superior Court - Alameda County       16843729
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MONROE, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-12425
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MONTOSA, SYLVIA           CA - Superior Court - Los Angeles County   BC703746
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MORAVINSKI, ELAINE        NJ - USDC for the District of New Jersey   3:18-cv-06753
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MORENO, MARTA             NJ - USDC for the District of New Jersey   3:17-cv-12572
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
MORGAN, SALLIE            NJ - USDC for the District of New Jersey   3:17-cv-12573
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
NAVA, AMEY                NJ - USDC for the District of New Jersey   3:17-cv-12427
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
NGUYEN, NGAN              CA - Superior Court - Los Angeles County   BC697829
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
NOWINSKI, BARBARA         CA - Superior Court - Los Angeles County   BC688228
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
OLIVERAS, NILDA           NJ - USDC for the District of New Jersey   3:17-cv-12602
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
OXENDINE, CHRISTINE       NJ - USDC for the District of New Jersey   3:17-cv-12579
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
PEASLEE, JUDITH           NJ - USDC for the District of New Jersey   3:17-cv-12430
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
PEREZ, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-03731
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
PERRY, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-12580
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
PHILLIPS, ROBYN           NJ - USDC for the District of New Jersey   3:18-cv-01570
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
PICONE, MARIA             CA - Superior Court - Los Angeles County   BC699887
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
PONGRACZ-BARTHA, ERICKA   CA - Superior Court - Los Angeles County   BC704115
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RA, C                     NJ - USDC for the District of New Jersey   3:17-cv-12627
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RAMIREZ, CHRISTINA        CA - Superior Court - Los Angeles County   BC655673
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RAMOS, CARMEN             NJ - USDC for the District of New Jersey   3:17-cv-12568
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RAMOS, LUISA              NJ - USDC for the District of New Jersey   3:17-cv-12582
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
REECE, CAROLE             CA - Superior Court - Los Angeles County   BC704056
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
REECE, ROXIE              NJ - USDC for the District of New Jersey   3:17-cv-12585
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RESURECCION, BELEN        NJ - USDC for the District of New Jersey   3:17-cv-12587
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
REYES, VENUS              NJ - Superior Court - Atlantic County      ATL-L-258-18
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RIDGE, DEBRA              NJ - USDC for the District of New Jersey   3:17-cv-12588
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RINWALSKE, IDA            NJ - USDC for the District of New Jersey   3:17-cv-12589
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RIVERA, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-04433
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RIVERA, PRISCILA          NJ - USDC for the District of New Jersey   3:17-cv-12581
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RIVERS, BRENDA            NJ - USDC for the District of New Jersey   3:17-cv-12593
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RODRIGUEZ, VERONICA       NJ - USDC for the District of New Jersey   3:17-cv-12431
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
ROSARIO, RITA CAUSSADE    NJ - USDC for the District of New Jersey   3:17-cv-12595
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
RUIZ, MARITZA             NJ - USDC for the District of New Jersey   3:17-cv-12536
                                                                                          GROSSMAN, LLC
                                                                                          MILBERG COLEMAN BRYSON PHILLIPS,
SANCHEZ, JUANITA          NJ - USDC for the District of New Jersey   3:18-cv-08299
                                                                                          GROSSMAN, LLC




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         Claimant Name                       State Filed                    Docket Number               Plaintiff Counsel
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SANDERS, TINA               NJ - USDC for the District of New Jersey   3:18-cv-10651
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SAUNDERS, SAUNDRA           NJ - USDC for the District of New Jersey   3:17-cv-12603
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SCHLOSSER, CHRISTINE        NJ - USDC for the District of New Jersey   3:18-cv-08479
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SHAW, CAROLYN               NJ - USDC for the District of New Jersey   3:21-cv-12141
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SHERKANOWSKI, HELEN         NJ - USDC for the District of New Jersey   3:18-cv-08466
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SHIELDS, WILLIE             NJ - USDC for the District of New Jersey   3:17-cv-12455
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SMITH, WILMA                NJ - USDC for the District of New Jersey   3:17-cv-12608
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SOMERS, GLENDA              CA - Superior Court - Los Angeles County   19STCV00090
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SONNIER, MELISSA            NJ - USDC for the District of New Jersey   3:17-cv-12609
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
SQUIRES, DAWN               NJ - USDC for the District of New Jersey   3:17-cv-12610
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
TABARINI, CHRISTINA         NJ - USDC for the District of New Jersey   3:17-cv-12611
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
TAGUE, LENORA               NJ - USDC for the District of New Jersey   3:17-cv-12622
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
TAUZIN, ANITA               NJ - USDC for the District of New Jersey   3:17-cv-12612
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
TAYLOR, HOLLY               NJ - USDC for the District of New Jersey   3:17-cv-12613
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
TRUPIA, LILLIAN             NJ - USDC for the District of New Jersey   3:17-cv-12456
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
TYLER, LAURA                CA - Superior Court - Los Angeles County   BC654574
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
URBANCZYK, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-12461
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
VARNADO, CAROLYN            NJ - USDC for the District of New Jersey   3:17-cv-12614
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
VASQUEZ, SORAIDA            NJ - USDC for the District of New Jersey   3:17-cv-12570
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
VAZQUEZ, SONIA              NJ - USDC for the District of New Jersey   3:18-cv-08968
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WAKEN-HALL, CAROLYN         NJ - USDC for the District of New Jersey   3:17-cv-12616
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WALKER, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-12464
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WELDON, KIMBERLY            NJ - Superior Court - Atlantic County      ATL-L-359-18
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WHITE, JUANITA              NJ - USDC for the District of New Jersey   3:17-cv-12466
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WHITT, TRACEY               NJ - USDC for the District of New Jersey   3:17-cv-12469
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WHITTEN, TAMMY              NJ - USDC for the District of New Jersey   3:17-cv-12617
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WOLFE, CAROLEE              NJ - USDC for the District of New Jersey   3:17-cv-12619
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WOOD-DONATELLI, DONNA       NJ - USDC for the District of New Jersey   3:17-cv-12620
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
WYBLE, CAROLYN              NJ - Superior Court - Atlantic County      ATL-L-398-18
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
YECCO, MARIA                NJ - Superior Court - Atlantic County      ATL-L-2537-17
                                                                                            GROSSMAN, LLC
                                                                                            MILBERG COLEMAN BRYSON PHILLIPS,
ZIMBARDI, SHERRY            CA - Superior Court - Los Angeles County   BC697579
                                                                                            GROSSMAN, LLC
AMRINE, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-15373        MILLER DELLAFERA PLC
AYERS, IRIS                 NJ - USDC for the District of New Jersey   3:17-cv-13709        MILLER DELLAFERA PLC
BARANCZYK, ROBERTA          NJ - USDC for the District of New Jersey   3:19-cv-07902        MILLER DELLAFERA PLC
BUNN, SUSAN                 NJ - USDC for the District of New Jersey   3:18-cv-15372        MILLER DELLAFERA PLC
EPPS, TAMMIE                NJ - USDC for the District of New Jersey   3:21-cv-11985        MILLER DELLAFERA PLC
FARNER, KIMBERLY            NJ - USDC for the District of New Jersey   3:19-cv-17257        MILLER DELLAFERA PLC
JARBOE, GRACE               NJ - USDC for the District of New Jersey   3:19-cv-09130        MILLER DELLAFERA PLC
JEFFERY, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-14932        MILLER DELLAFERA PLC
JIANNALONE-COMING, DELLA    NJ - USDC for the District of New Jersey   3:18-cv-13429        MILLER DELLAFERA PLC
JOHNSON, KRISTIN            NJ - USDC for the District of New Jersey   3:20-cv-02174        MILLER DELLAFERA PLC
MISARES-MOTRONEA, VALERIA   NJ - USDC for the District of New Jersey   3:17-cv-13703        MILLER DELLAFERA PLC
POLOMARENKO, ROBIN          NJ - USDC for the District of New Jersey   3:20-cv-00800        MILLER DELLAFERA PLC
PROUDFOOT, EVELYN           NJ - USDC for the District of New Jersey   3:20-cv-03417        MILLER DELLAFERA PLC
SMITH, TYRA                 NJ - USDC for the District of New Jersey   3:20-cv-01915        MILLER DELLAFERA PLC
TIMA, CHERYL                NJ - USDC for the District of New Jersey   3:19-cv-18581        MILLER DELLAFERA PLC
TUCKER, APRIL               NJ - USDC for the District of New Jersey   3:21-cv-03681        MILLER DELLAFERA PLC
TURNER, KATHRYN             NJ - USDC for the District of New Jersey   3:21-cv-11986        MILLER DELLAFERA PLC
WALKER, DANA                NJ - USDC for the District of New Jersey   3:18-cv-13299        MILLER DELLAFERA PLC




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         Claimant Name                   State Filed                      Docket Number                  Plaintiff Counsel
SALCIDO, MARY            AZ - Superior Court - Pima County          C20210431             MILLER, PITT, FELDMAN & MCANALLY, P.C.
CAVOLT, KATHERINE        NJ - USDC for the District of New Jersey   3:16-cv-09400         MILSTEIN ADELMAN, LLP
BOTZENHARDT, CRISTINE    NJ - USDC for the District of New Jersey   3:17-cv-13718         MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP

NICHOLS, TRISHA          NJ - USDC for the District of New Jersey   3:17-cv-13826         MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP

PRICKETT, SANDRA         NJ - USDC for the District of New Jersey   3:19-cv-20353         MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP

SENTER, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-13827         MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP

SMITH, ROBERTA           NJ - USDC for the District of New Jersey   3:19-cv-20329         MILSTEIN, JACKSON, FAIRCHILD & WADE, LLP
BAFALON, MARGARET        NJ - USDC for the District of New Jersey   3:17-cv-11346         MOLL LAW GROUP
KELLER, BENNIE           NJ - USDC for the District of New Jersey   3:16-cv-09260         MOLL LAW GROUP
NASATSKY, LOLA           NJ - USDC for the District of New Jersey   3:17-cv-11341         MOLL LAW GROUP
ROSS, BARBARA            NJ - USDC for the District of New Jersey   3:16-cv-07529         MOLL LAW GROUP
VERKUILEN, VIRGINIA      NJ - USDC for the District of New Jersey   3:18-cv-12148         MOLL LAW GROUP
VILLALOBOS, MARIA        NJ - USDC for the District of New Jersey   3:19-cv-01130         MOLL LAW GROUP
EMERSON, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-01795         MONTROSE LAW LLP
OESTERLE, DOWAINE        NJ - USDC for the District of New Jersey   3:17-cv-02455         MONTROSE LAW LLP
THOMPSON, DEBORAH        NJ - USDC for the District of New Jersey   3:17-cv-01564         MONTROSE LAW LLP
ABELL, LINDA             NJ - USDC for the District of New Jersey   3:16-cv-08901         MOORE LAW GROUP PLLC
ADAMS, CHRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-14994         MOORE LAW GROUP PLLC
ANDERSON, BETTY          NJ - USDC for the District of New Jersey   3:18-cv-16329         MOORE LAW GROUP PLLC
CASEY, CAROL             NJ - USDC for the District of New Jersey   3:16-cv-07477         MOORE LAW GROUP PLLC
FOWLER, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-16347         MOORE LAW GROUP PLLC
JACKSON, CAROLYN         NJ - USDC for the District of New Jersey   3:19-cv-10738         MOORE LAW GROUP PLLC
LEE, APRIL               NJ - USDC for the District of New Jersey   3:21-cv-02484         MOORE LAW GROUP PLLC
MILLER, JACQUELINE       NJ - USDC for the District of New Jersey   3:20-cv-03884         MOORE LAW GROUP PLLC
ROYSTER, MARSHA          NJ - USDC for the District of New Jersey   3:18-cv-01458         MOORE LAW GROUP PLLC
SYSLO, BEVERLY           NJ - Superior Court - Atlantic County      ATL-L-1418-19         MOORE LAW GROUP PLLC
ABALOS, PATSY            NJ - USDC for the District of New Jersey   3:18-cv-02640         MORELLI LAW FIRM, PLLC
ACEY, ANNIE              NJ - USDC for the District of New Jersey   3:18-cv-14837         MORELLI LAW FIRM, PLLC
ADAMS, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-14510         MORELLI LAW FIRM, PLLC
ADAMS, MELVERTA          NJ - USDC for the District of New Jersey   3:19-cv-21166         MORELLI LAW FIRM, PLLC
AHUMADA, JULIE           NJ - USDC for the District of New Jersey   3:18-cv-14505         MORELLI LAW FIRM, PLLC
ALLGOOD, MADONNA         NJ - USDC for the District of New Jersey   3:20-cv-13956         MORELLI LAW FIRM, PLLC
ALVARADO, LOURDES        NJ - USDC for the District of New Jersey   3:18-cv-02642         MORELLI LAW FIRM, PLLC
ANDERS, NAOMI            NJ - USDC for the District of New Jersey   3:17-cv-12804         MORELLI LAW FIRM, PLLC
ANTHONY, JOANN           NJ - USDC for the District of New Jersey   3:19-cv-18158         MORELLI LAW FIRM, PLLC
ANTOINE, CATHERINE       NJ - USDC for the District of New Jersey   3:18-cv-12508         MORELLI LAW FIRM, PLLC
ARCHER, CANDACE          NJ - USDC for the District of New Jersey   3:19-cv-06851         MORELLI LAW FIRM, PLLC
ARGUELLO, JOANN          NJ - USDC for the District of New Jersey   3:17-cv-12135         MORELLI LAW FIRM, PLLC
BARGE-CHAMBERS, MARY     NJ - USDC for the District of New Jersey   3:17-cv-12806         MORELLI LAW FIRM, PLLC
BARRON, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-13510         MORELLI LAW FIRM, PLLC
BASSFIELD, CATHERINE     NJ - USDC for the District of New Jersey   3:17-cv-12807         MORELLI LAW FIRM, PLLC
BECK, GRETCHEN           NJ - USDC for the District of New Jersey   3:18-cv-08998         MORELLI LAW FIRM, PLLC
BEDARD, MICHAELINE       NJ - USDC for the District of New Jersey   3:20-cv-01448         MORELLI LAW FIRM, PLLC
BEGAY, RITA              NJ - USDC for the District of New Jersey   3:20-cv-02505         MORELLI LAW FIRM, PLLC
BENBOW, ANGELIA          NJ - USDC for the District of New Jersey   3:20-cv-17616         MORELLI LAW FIRM, PLLC
BICHELL, CAROLYN         NJ - USDC for the District of New Jersey   3:17-cv-12145         MORELLI LAW FIRM, PLLC
BIDDINGS, LAKISHA        NJ - USDC for the District of New Jersey   3:17-cv-12131         MORELLI LAW FIRM, PLLC
BISSESSAR, SHELIA        NJ - USDC for the District of New Jersey   3:20-cv-01634         MORELLI LAW FIRM, PLLC
BOND-RAST, RISA          NJ - USDC for the District of New Jersey   3:17-cv-09670         MORELLI LAW FIRM, PLLC
BOOTH, JANET             NJ - USDC for the District of New Jersey   3:20-cv-02423         MORELLI LAW FIRM, PLLC
BOUCHARD, MICHELLE       NJ - USDC for the District of New Jersey   3:21-cv-02661         MORELLI LAW FIRM, PLLC
BOVE, JANE               NJ - USDC for the District of New Jersey   3:19-cv-00654         MORELLI LAW FIRM, PLLC
BOWDEN, KATHRYN          NJ - USDC for the District of New Jersey   3:17-cv-12140         MORELLI LAW FIRM, PLLC
BOWENS, JANET            NJ - USDC for the District of New Jersey   3:17-cv-12142         MORELLI LAW FIRM, PLLC
BOWIE, ROSIE             LA - District Court - Orleans Parish       2018-295              MORELLI LAW FIRM, PLLC
BREDEMEIER, DIXIE        NJ - USDC for the District of New Jersey   3:17-cv-12805         MORELLI LAW FIRM, PLLC
BREUNIG, JENNIFER        NJ - USDC for the District of New Jersey   3:18-cv-13519         MORELLI LAW FIRM, PLLC
BRINSON, DEBBIE          NJ - USDC for the District of New Jersey   3:17-cv-12803         MORELLI LAW FIRM, PLLC
BRITTAIN, BILLIE         NJ - USDC for the District of New Jersey   3:17-cv-11935         MORELLI LAW FIRM, PLLC
BROWN, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-13517         MORELLI LAW FIRM, PLLC
BROWN, ELLEN             NJ - USDC for the District of New Jersey   3:21-cv-10115         MORELLI LAW FIRM, PLLC
BUKSAR, MARILYN          NJ - Superior Court - Atlantic County      ATL-L-594-18          MORELLI LAW FIRM, PLLC
BURD, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-03342         MORELLI LAW FIRM, PLLC
BURNEY, THOMASIA         NJ - USDC for the District of New Jersey   3:18-cv-14890         MORELLI LAW FIRM, PLLC
BUSKIRK, TRACY           NJ - USDC for the District of New Jersey   3:18-cv-17644         MORELLI LAW FIRM, PLLC
BUTLER, RITA             NJ - USDC for the District of New Jersey   3:17-cv-11930         MORELLI LAW FIRM, PLLC
BUTLER, SADE             NJ - USDC for the District of New Jersey   3:17-cv-13469         MORELLI LAW FIRM, PLLC
CABADING, CATHERINE      NJ - USDC for the District of New Jersey   3:21-cv-02666         MORELLI LAW FIRM, PLLC
CALDWELL, SHARON         NJ - USDC for the District of New Jersey   3:20-cv-16809         MORELLI LAW FIRM, PLLC
CALHOUN, PAM             NJ - USDC for the District of New Jersey   3:19-cv-21084         MORELLI LAW FIRM, PLLC
CAMPBELL, JENNIFER       NJ - USDC for the District of New Jersey   3:19-cv-09751         MORELLI LAW FIRM, PLLC
CAMPBELL, VANESSA        NJ - Superior Court - Atlantic County      ATL-L-1286-18         MORELLI LAW FIRM, PLLC
CAMPBELL, WANDA          NJ - USDC for the District of New Jersey   3:17-cv-12100         MORELLI LAW FIRM, PLLC
CARROLL, TAMARA          NJ - USDC for the District of New Jersey   3:17-cv-12112         MORELLI LAW FIRM, PLLC
CARY, TERRI              NJ - USDC for the District of New Jersey   3:19-cv-22078         MORELLI LAW FIRM, PLLC




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CASCELLA, KELLY           NJ - USDC for the District of New Jersey   3:18-cv-12691         MORELLI LAW FIRM, PLLC
CASE, IVON                NJ - USDC for the District of New Jersey   3:19-cv-22063         MORELLI LAW FIRM, PLLC
CASSELMAN, BETTY          NJ - USDC for the District of New Jersey   3:19-cv-21139         MORELLI LAW FIRM, PLLC
CASTRO, MARSHA            NJ - USDC for the District of New Jersey   3:17-cv-11388         MORELLI LAW FIRM, PLLC
CHEELY-HALL, CINDY        NJ - USDC for the District of New Jersey   3:18-cv-08248         MORELLI LAW FIRM, PLLC
CHICK, CONNIE             NJ - USDC for the District of New Jersey   3:17-cv-12820         MORELLI LAW FIRM, PLLC
CHOLEWA, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-12105         MORELLI LAW FIRM, PLLC
CLARK, DIANA              NJ - USDC for the District of New Jersey   3:17-cv-12109         MORELLI LAW FIRM, PLLC
CLEVINGER, DEBORAH        NJ - USDC for the District of New Jersey   3:19-cv-19604         MORELLI LAW FIRM, PLLC
COHEN, PHYLLIS            NJ - USDC for the District of New Jersey   3:17-cv-12111         MORELLI LAW FIRM, PLLC
COLLEVECHIO, KELLY        NJ - USDC for the District of New Jersey   3:17-cv-09642         MORELLI LAW FIRM, PLLC
COLLINS, EDANA            NJ - USDC for the District of New Jersey   3:18-cv-12694         MORELLI LAW FIRM, PLLC
CONKLIN, CHARLENE         NJ - USDC for the District of New Jersey   3:18-cv-15398         MORELLI LAW FIRM, PLLC
CONNOLLY, JOAN            NJ - Superior Court - Atlantic County      ATL-L-001049-19       MORELLI LAW FIRM, PLLC
COOLEEN, ELIZABETH        NJ - USDC for the District of New Jersey   3:18-cv-01632         MORELLI LAW FIRM, PLLC
CORNS, REGINA             NJ - USDC for the District of New Jersey   3:18-cv-01637         MORELLI LAW FIRM, PLLC
COSBY, CASSANDRA          NJ - USDC for the District of New Jersey   3:19-cv-21268         MORELLI LAW FIRM, PLLC
COTIC, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-09699         MORELLI LAW FIRM, PLLC
COURT, DALE               NJ - USDC for the District of New Jersey   3:17-cv-11369         MORELLI LAW FIRM, PLLC
CRAIG, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-01634         MORELLI LAW FIRM, PLLC
CRANE, CYNTHIA            NJ - USDC for the District of New Jersey   3:17-cv-11374         MORELLI LAW FIRM, PLLC
CROFT, WALISHIA           NJ - USDC for the District of New Jersey   3:17-cv-03215         MORELLI LAW FIRM, PLLC
CULLEN, JENNIFER          NJ - USDC for the District of New Jersey   3:19-cv-13096         MORELLI LAW FIRM, PLLC
CURRIE, CHERYL            NJ - USDC for the District of New Jersey   3:18-cv-09695         MORELLI LAW FIRM, PLLC
DAGROSA, PATRICIA         NJ - Superior Court - Atlantic County      ATL-L-194-18          MORELLI LAW FIRM, PLLC
DE GUZMAN, SALVACION      NJ - USDC for the District of New Jersey   3:18-cv-15690         MORELLI LAW FIRM, PLLC
DEBLIECK, JANE            NJ - USDC for the District of New Jersey   3:21-cv-00627         MORELLI LAW FIRM, PLLC
DELASHMIT, MELISSA        NJ - USDC for the District of New Jersey   3:19-cv-09219         MORELLI LAW FIRM, PLLC
DELSO, ELISA              NJ - USDC for the District of New Jersey   3:18-cv-17476         MORELLI LAW FIRM, PLLC
DEMPSEY, CHERYL           NJ - USDC for the District of New Jersey   3:18-cv-03247         MORELLI LAW FIRM, PLLC
DIENER, ANNA              NJ - USDC for the District of New Jersey   3:17-cv-12116         MORELLI LAW FIRM, PLLC
DIETTERICH, MARY          NJ - USDC for the District of New Jersey   3:17-cv-11375         MORELLI LAW FIRM, PLLC
DIGGS, EVA                NJ - USDC for the District of New Jersey   3:17-cv-12814         MORELLI LAW FIRM, PLLC
DOHERTY, MARY             NJ - USDC for the District of New Jersey   3:19-cv-14692         MORELLI LAW FIRM, PLLC
DOMANIECKI, LINDA         NJ - Superior Court - Atlantic County      ATL-L-003495-20       MORELLI LAW FIRM, PLLC
DOSS, SALENA              NJ - USDC for the District of New Jersey   3:18-cv-12689         MORELLI LAW FIRM, PLLC
DRINKHOUSE, ALFREDA       NJ - USDC for the District of New Jersey   3:18-cv-00665         MORELLI LAW FIRM, PLLC
DUNN, MELVA               NJ - USDC for the District of New Jersey   3:17-cv-09654         MORELLI LAW FIRM, PLLC
EDWARDS, HAZEL            NJ - USDC for the District of New Jersey   3:17-cv-11386         MORELLI LAW FIRM, PLLC
ELLIOT, VERNEDA           NJ - USDC for the District of New Jersey   3:20-cv-01467         MORELLI LAW FIRM, PLLC
EMERY, MARGARET           NJ - USDC for the District of New Jersey   3:19-cv-17184         MORELLI LAW FIRM, PLLC
ESPY, JOANN               NJ - USDC for the District of New Jersey   3:18-cv-16374         MORELLI LAW FIRM, PLLC
EVANS, VAKESHA            NJ - USDC for the District of New Jersey   3:19-cv-16266         MORELLI LAW FIRM, PLLC
EVANS, VICKIE             NJ - USDC for the District of New Jersey   3:17-cv-03728         MORELLI LAW FIRM, PLLC
EVEREST, NICOLE           NJ - USDC for the District of New Jersey   3:17-cv-12118         MORELLI LAW FIRM, PLLC
FALLS, LENA               NJ - USDC for the District of New Jersey   3:17-cv-11384         MORELLI LAW FIRM, PLLC
FARRELL, MARGARET         NJ - Superior Court - Atlantic County      ATL-L-001836-18       MORELLI LAW FIRM, PLLC
FEBO, FANNY               NJ - USDC for the District of New Jersey   3:18-cv-09692         MORELLI LAW FIRM, PLLC
FEGETT, ROSA              NJ - USDC for the District of New Jersey   3:18-cv-09693         MORELLI LAW FIRM, PLLC
FELTS, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-03249         MORELLI LAW FIRM, PLLC
FERNANDEZ, LYDIA          NJ - USDC for the District of New Jersey   3:18-cv-08250         MORELLI LAW FIRM, PLLC
FIGUEROA, MARY            NJ - USDC for the District of New Jersey   3:18-cv-01629         MORELLI LAW FIRM, PLLC
FLOWERS, DENISE           NJ - USDC for the District of New Jersey   3:18-cv-01636         MORELLI LAW FIRM, PLLC
FOX, JEANETTE             NJ - USDC for the District of New Jersey   3:17-cv-12115         MORELLI LAW FIRM, PLLC
FRANK, JOANNE             NJ - Superior Court - Atlantic County      ATL-L-003340-20       MORELLI LAW FIRM, PLLC
FRANS, ANITA              NJ - USDC for the District of New Jersey   3:18-cv-09698         MORELLI LAW FIRM, PLLC
FRASER, LAURA             NJ - USDC for the District of New Jersey   3:18-cv-12692         MORELLI LAW FIRM, PLLC
FREEMAN, MARY             NJ - USDC for the District of New Jersey   3:20-cv-16735         MORELLI LAW FIRM, PLLC
GAINES, BESSIE            NJ - USDC for the District of New Jersey   3:20-cv-00364         MORELLI LAW FIRM, PLLC
GAMBLE, WILLA             NJ - USDC for the District of New Jersey   3:19-cv-17186         MORELLI LAW FIRM, PLLC
GARCIA, STEPHANIE         NJ - USDC for the District of New Jersey   3:19-cv-16267         MORELLI LAW FIRM, PLLC
GARCIA, TERESITA          NJ - USDC for the District of New Jersey   3:18-cv-16483         MORELLI LAW FIRM, PLLC
GARCIA, VERONICA          NJ - USDC for the District of New Jersey   3:18-cv-14042         MORELLI LAW FIRM, PLLC
GARRETT, MARY             NJ - USDC for the District of New Jersey   3:18-cv-13762         MORELLI LAW FIRM, PLLC
GENTILE, JOANNE           NJ - Superior Court - Atlantic County      ATL-L-2698-18         MORELLI LAW FIRM, PLLC
GERBINO, MICHELE          NJ - Superior Court - Atlantic County      ATL-L-003341-20       MORELLI LAW FIRM, PLLC
GEREZ, CARMEN             NJ - USDC for the District of New Jersey   3:19-cv-07992         MORELLI LAW FIRM, PLLC
GERMANO, TRAVEY           NJ - USDC for the District of New Jersey   3:17-cv-13465         MORELLI LAW FIRM, PLLC
GIRASUOLO, NANCY          NJ - USDC for the District of New Jersey   3:17-cv-11888         MORELLI LAW FIRM, PLLC
GIST-MCLAURIN, ROBIN      NJ - USDC for the District of New Jersey   3:19-cv-21149         MORELLI LAW FIRM, PLLC
GONZALES, ANGIE           NJ - USDC for the District of New Jersey   3:18-cv-12119         MORELLI LAW FIRM, PLLC
GONZALES, JAMIE           NJ - USDC for the District of New Jersey   3:18-cv-10708         MORELLI LAW FIRM, PLLC
GOODMAN, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-00825         MORELLI LAW FIRM, PLLC
GRACE, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-11902         MORELLI LAW FIRM, PLLC
GRAHAM, CHRISTINE         NJ - USDC for the District of New Jersey   3:18-cv-03908         MORELLI LAW FIRM, PLLC
GRAHAM, GINA              NJ - USDC for the District of New Jersey   3:18-cv-05544         MORELLI LAW FIRM, PLLC
GRANT, DOROTHY            NJ - USDC for the District of New Jersey   3:17-cv-11905         MORELLI LAW FIRM, PLLC
GREELEY, PAULA            NJ - USDC for the District of New Jersey   3:19-cv-16847         MORELLI LAW FIRM, PLLC
GREEN, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-10882         MORELLI LAW FIRM, PLLC
GREENE, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-18468         MORELLI LAW FIRM, PLLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
GREHAN, LYNDA               NJ - USDC for the District of New Jersey   3:20-cv-12436         MORELLI LAW FIRM, PLLC
GUERRERO, KATHELINA         NJ - USDC for the District of New Jersey   3:18-cv-15438         MORELLI LAW FIRM, PLLC
GUIDI, MARILYNN             NJ - USDC for the District of New Jersey   3:18-cv-14873         MORELLI LAW FIRM, PLLC
GULICH, BROOK               NJ - USDC for the District of New Jersey   3:17-cv-12801         MORELLI LAW FIRM, PLLC
HAINEY, VICKIE              NJ - USDC for the District of New Jersey   3:18-cv-01414         MORELLI LAW FIRM, PLLC
HALL, CYNTHIA               NJ - USDC for the District of New Jersey   3:17-cv-04535         MORELLI LAW FIRM, PLLC
HALL, SHARON                NJ - USDC for the District of New Jersey   3:18-cv-00820         MORELLI LAW FIRM, PLLC
HARTSHORNE, TERRI           NJ - USDC for the District of New Jersey   3:20-cv-01796         MORELLI LAW FIRM, PLLC
HASKELL, FLORENCE           NJ - USDC for the District of New Jersey   3:18-cv-10362         MORELLI LAW FIRM, PLLC
HAWK, CLAIRE                NJ - USDC for the District of New Jersey   3:20-cv-06315         MORELLI LAW FIRM, PLLC
HAYES-HOLLINGSWORTH,
                            NJ - USDC for the District of New Jersey   3:17-cv-11883         MORELLI LAW FIRM, PLLC
CHETIQUA
HEDRICK, LISA               NJ - USDC for the District of New Jersey   3:17-cv-11890         MORELLI LAW FIRM, PLLC
HENTHORNE, JARI             NJ - USDC for the District of New Jersey   3:18-cv-12101         MORELLI LAW FIRM, PLLC
HERBIN, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-11897         MORELLI LAW FIRM, PLLC
HIGGINS, LAURA              NJ - USDC for the District of New Jersey   3:18-cv-01640         MORELLI LAW FIRM, PLLC
HILL, KELLIE                NJ - USDC for the District of New Jersey   3:17-cv-13466         MORELLI LAW FIRM, PLLC
HILLIARD, JULIE             NJ - Superior Court - Atlantic County      ATL-L-000603-21       MORELLI LAW FIRM, PLLC
HODGE, RAMONA               NJ - USDC for the District of New Jersey   3:18-cv-15070         MORELLI LAW FIRM, PLLC
HOEME, DANIELLE             NJ - USDC for the District of New Jersey   3:18-cv-04100         MORELLI LAW FIRM, PLLC
HORACE-THOMPSON, PATRICIA   NJ - Superior Court - Atlantic County      ATL-L-111-18          MORELLI LAW FIRM, PLLC
HOUSE, JACQUELINE           NJ - USDC for the District of New Jersey   3:18-cv-13402         MORELLI LAW FIRM, PLLC
HOWERY, CATHERINE           NJ - USDC for the District of New Jersey   3:17-cv-11885         MORELLI LAW FIRM, PLLC
HUDGINS, JOYCE              NJ - USDC for the District of New Jersey   3:18-cv-03906         MORELLI LAW FIRM, PLLC
HUDSON, CASSANDRA           NJ - USDC for the District of New Jersey   3:18-cv-00144         MORELLI LAW FIRM, PLLC
HUDSON, CYNTHIA             NJ - USDC for the District of New Jersey   3:18-cv-11055         MORELLI LAW FIRM, PLLC
HUDSON, JOYCE               NJ - USDC for the District of New Jersey   3:18-cv-04102         MORELLI LAW FIRM, PLLC
HUETT, ODESSA               NJ - USDC for the District of New Jersey   3:17-cv-11892         MORELLI LAW FIRM, PLLC
HUNDLEY, SHERYL             NJ - USDC for the District of New Jersey   3:17-cv-11895         MORELLI LAW FIRM, PLLC
HUTSON, LAURA               NJ - USDC for the District of New Jersey   3:17-cv-12438         MORELLI LAW FIRM, PLLC
IRBY, VEADA                 NJ - USDC for the District of New Jersey   3:18-cv-01639         MORELLI LAW FIRM, PLLC
IRIZARRY, MARIANNE          NJ - USDC for the District of New Jersey   3:19-cv-08160         MORELLI LAW FIRM, PLLC
IULIANO, DANIELA            NJ - USDC for the District of New Jersey   3:17-cv-11893         MORELLI LAW FIRM, PLLC
IZZO, DEBRA                 NJ - USDC for the District of New Jersey   3:17-cv-11879         MORELLI LAW FIRM, PLLC
JACKSON, DELORES            NJ - USDC for the District of New Jersey   3:17-cv-11957         MORELLI LAW FIRM, PLLC
JACKSON, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-08316         MORELLI LAW FIRM, PLLC
JACKSON, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-02320         MORELLI LAW FIRM, PLLC
JANIGA, MAUREEN             NJ - USDC for the District of New Jersey   3:17-cv-11980         MORELLI LAW FIRM, PLLC
JAVIS, CHARLENE             NJ - USDC for the District of New Jersey   3:21-cv-02387         MORELLI LAW FIRM, PLLC
JEMISON, GWENDOLYN          NJ - USDC for the District of New Jersey   3:17-cv-11946         MORELLI LAW FIRM, PLLC
JENSEN, BONNIE              NJ - USDC for the District of New Jersey   3:21-cv-02380         MORELLI LAW FIRM, PLLC
JOHNSON, ALMA               NJ - USDC for the District of New Jersey   3:20-cv-17619         MORELLI LAW FIRM, PLLC
JOHNSON, DOROTHY            NJ - USDC for the District of New Jersey   3:19-cv-12450         MORELLI LAW FIRM, PLLC
JOINER, MICHELLE            NJ - USDC for the District of New Jersey   3:17-cv-11954         MORELLI LAW FIRM, PLLC
JONES, GROVERLYN            NJ - USDC for the District of New Jersey   3:21-cv-12930         MORELLI LAW FIRM, PLLC
JONES, RHONDA               NJ - USDC for the District of New Jersey   3:17-cv-11952         MORELLI LAW FIRM, PLLC
JOSEY, GLORIA               NJ - USDC for the District of New Jersey   3:18-cv-03815         MORELLI LAW FIRM, PLLC
JOWETT, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-07674         MORELLI LAW FIRM, PLLC
KAMINSKI, DEBORAH           NJ - Superior Court - Atlantic County      ATL-L-155-18          MORELLI LAW FIRM, PLLC
KEAWEAMAHI, ALICE           NJ - USDC for the District of New Jersey   3:19-cv-08475         MORELLI LAW FIRM, PLLC
KELLY, KATHLEEN             NJ - Superior Court - Atlantic County      ATL-L-000835-18       MORELLI LAW FIRM, PLLC
KENNEMER, PATSY             NJ - USDC for the District of New Jersey   3:19-cv-21269         MORELLI LAW FIRM, PLLC
KEY, CECILIA                NJ - USDC for the District of New Jersey   3:17-cv-11958         MORELLI LAW FIRM, PLLC
KIELBASA, KATHLEEN          NJ - USDC for the District of New Jersey   3:17-cv-11942         MORELLI LAW FIRM, PLLC
KING, MICHELLE              NJ - USDC for the District of New Jersey   3:17-cv-11959         MORELLI LAW FIRM, PLLC
KIRKLIN, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-09559         MORELLI LAW FIRM, PLLC
KOEHLER, MAUREEN            NJ - Superior Court - Atlantic County      ATL-L-003339-20       MORELLI LAW FIRM, PLLC
KOWALSKI, DOLORES           NJ - USDC for the District of New Jersey   3:17-cv-11950         MORELLI LAW FIRM, PLLC
KROEGER, TWILA              NJ - USDC for the District of New Jersey   3:21-cv-02191         MORELLI LAW FIRM, PLLC
KUPIS, DARLENE              NJ - USDC for the District of New Jersey   3:20-cv-01208         MORELLI LAW FIRM, PLLC
LANE, JENNIFER              NJ - USDC for the District of New Jersey   3:20-cv-16487         MORELLI LAW FIRM, PLLC
LAUTERBACH, CATHERINE       NJ - Superior Court - Atlantic County      ATL-L-000975-18       MORELLI LAW FIRM, PLLC
LECKY, BARBARA              NJ - Superior Court - Atlantic County      ATL-L-003417-20       MORELLI LAW FIRM, PLLC
LEE, GLORIA                 NJ - USDC for the District of New Jersey   3:17-cv-11976         MORELLI LAW FIRM, PLLC
LEVINS-COMER, AULANA        NJ - USDC for the District of New Jersey   3:19-cv-09167         MORELLI LAW FIRM, PLLC
LEWIS, BARBARA              NJ - USDC for the District of New Jersey   3:18-cv-09557         MORELLI LAW FIRM, PLLC
LEWIS, GINA                 NJ - USDC for the District of New Jersey   3:17-cv-11947         MORELLI LAW FIRM, PLLC
LIGNEY, JANET               NJ - USDC for the District of New Jersey   3:18-cv-09558         MORELLI LAW FIRM, PLLC
LOGAN, MARILYN              NJ - USDC for the District of New Jersey   3:19-cv-08360         MORELLI LAW FIRM, PLLC
LOSURE, RHONDA              NJ - USDC for the District of New Jersey   3:17-cv-12795         MORELLI LAW FIRM, PLLC
LOWERY, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-13650         MORELLI LAW FIRM, PLLC
LUCKETT, LORETTA            NJ - USDC for the District of New Jersey   3:19-cv-19852         MORELLI LAW FIRM, PLLC
LUERA, SANDRA               NJ - USDC for the District of New Jersey   3:18-cv-12396         MORELLI LAW FIRM, PLLC
LUFT, CAROL                 NJ - USDC for the District of New Jersey   3:19-cv-04884         MORELLI LAW FIRM, PLLC
LUGO, JULIENNE              NJ - USDC for the District of New Jersey   3:17-cv-12396         MORELLI LAW FIRM, PLLC
LUNA, VICTORIA              NJ - USDC for the District of New Jersey   3:18-cv-11394         MORELLI LAW FIRM, PLLC
LYLES, GERALDINE            NJ - USDC for the District of New Jersey   3:18-cv-09556         MORELLI LAW FIRM, PLLC
MACHIA, REGINA              NJ - USDC for the District of New Jersey   3:18-cv-00360         MORELLI LAW FIRM, PLLC
MANGES, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-11921         MORELLI LAW FIRM, PLLC
MANTOVI, LORRAINE           NJ - USDC for the District of New Jersey   3:21-cv-11392         MORELLI LAW FIRM, PLLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MARCHESE, SHARON          NJ - USDC for the District of New Jersey   3:17-cv-09678         MORELLI LAW FIRM, PLLC
MARKS, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-12328         MORELLI LAW FIRM, PLLC
MARTIN, CONSTANCE         NJ - Superior Court - Atlantic County      ATL-L-001141-20       MORELLI LAW FIRM, PLLC
MARTIN, JOANNE            NJ - USDC for the District of New Jersey   3:18-cv-17187         MORELLI LAW FIRM, PLLC
MATTIE HOLLOWAY           NJ - USDC for the District of New Jersey   3:21-cv-18116         MORELLI LAW FIRM, PLLC
MCCANN, HILDRED           NJ - USDC for the District of New Jersey   3:18-cv-17189         MORELLI LAW FIRM, PLLC
MCCARTHY, ANNA            NJ - USDC for the District of New Jersey   3:17-cv-11919         MORELLI LAW FIRM, PLLC
MCCLINTON, MAMIE          NJ - USDC for the District of New Jersey   3:17-cv-11911         MORELLI LAW FIRM, PLLC
MCCUE, THERESA            NJ - USDC for the District of New Jersey   3:18-cv-00361         MORELLI LAW FIRM, PLLC
MCFATE, MADELINE          NJ - Superior Court - Atlantic County      ATL-L-002344-21       MORELLI LAW FIRM, PLLC
MCGHEE, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-00369         MORELLI LAW FIRM, PLLC
MCGHEE, DELORES           NJ - USDC for the District of New Jersey   3:21-cv-17018         MORELLI LAW FIRM, PLLC
MCGOWAN, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-00821         MORELLI LAW FIRM, PLLC
MCINNIS, LESLIE           NJ - USDC for the District of New Jersey   3:18-cv-08994         MORELLI LAW FIRM, PLLC
MCMILLAN, CONSTANCE       NJ - USDC for the District of New Jersey   3:17-cv-11909         MORELLI LAW FIRM, PLLC
MCREYNOLDS, ELKE          NJ - USDC for the District of New Jersey   3:20-cv-00824         MORELLI LAW FIRM, PLLC
MENDOZA, ADELAIDA         NJ - USDC for the District of New Jersey   3:18-cv-08992         MORELLI LAW FIRM, PLLC
MEYER, MARIJO             NJ - USDC for the District of New Jersey   3:19-cv-08951         MORELLI LAW FIRM, PLLC
MEYER, PHYLLIS            NJ - USDC for the District of New Jersey   3:17-cv-11908         MORELLI LAW FIRM, PLLC
MILLISON, KATHLEEN        NJ - USDC for the District of New Jersey   3:18-cv-00363         MORELLI LAW FIRM, PLLC
MONFET, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-12266         MORELLI LAW FIRM, PLLC
MOORE, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-12053         MORELLI LAW FIRM, PLLC
MOREIRA, MARITZA          NJ - Superior Court - Atlantic County      ATL-L-002833-21       MORELLI LAW FIRM, PLLC
MORGAN, ROSELEE           NJ - USDC for the District of New Jersey   3:18-cv-13264         MORELLI LAW FIRM, PLLC
MORRIS, TANYA             NJ - USDC for the District of New Jersey   3:18-cv-08997         MORELLI LAW FIRM, PLLC
MOSSA, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-00952         MORELLI LAW FIRM, PLLC
MURRAY, EVA               NJ - USDC for the District of New Jersey   3:18-cv-09640         MORELLI LAW FIRM, PLLC
MUTTS, BRENDA             NJ - USDC for the District of New Jersey   3:18-cv-08996         MORELLI LAW FIRM, PLLC
NASSOUR, DANA             NJ - USDC for the District of New Jersey   3:18-cv-00951         MORELLI LAW FIRM, PLLC
NEAL, MARY                NJ - USDC for the District of New Jersey   3:18-cv-17185         MORELLI LAW FIRM, PLLC
NEICE, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-03398         MORELLI LAW FIRM, PLLC
NELSON-EDWARDS, DENISE    NJ - USDC for the District of New Jersey   3:17-cv-11906         MORELLI LAW FIRM, PLLC
NESBITT, CORALITA         NJ - USDC for the District of New Jersey   3:18-cv-12267         MORELLI LAW FIRM, PLLC
NEWLIN, JANET             NJ - USDC for the District of New Jersey   3:18-cv-00954         MORELLI LAW FIRM, PLLC
NEWMAN, IRINA             NJ - USDC for the District of New Jersey   3:20-cv-01210         MORELLI LAW FIRM, PLLC
NICHOLS, VERNA            NJ - USDC for the District of New Jersey   3:18-cv-00956         MORELLI LAW FIRM, PLLC
NOE, JOYCE                NJ - USDC for the District of New Jersey   3:18-cv-12265         MORELLI LAW FIRM, PLLC
NOONAN, CHRISTINE         NJ - USDC for the District of New Jersey   3:18-cv-07634         MORELLI LAW FIRM, PLLC
OBASI, NKEM               NJ - USDC for the District of New Jersey   3:18-cv-10930         MORELLI LAW FIRM, PLLC
ODONNELL, SALLY           NJ - USDC for the District of New Jersey   3:17-cv-12897         MORELLI LAW FIRM, PLLC
ONAN, VIRGINIA            NJ - USDC for the District of New Jersey   3:17-cv-11372         MORELLI LAW FIRM, PLLC
ORTA-VALDOVINOD, PAMELA   NJ - USDC for the District of New Jersey   3:18-cv-09637         MORELLI LAW FIRM, PLLC
OTIS, DET                 NJ - USDC for the District of New Jersey   3:18-cv-14171         MORELLI LAW FIRM, PLLC
OWENS, BERNIDA            NJ - Superior Court - Atlantic County      ATL-L-002453-18       MORELLI LAW FIRM, PLLC
OWENS, CHARSSIE           NJ - USDC for the District of New Jersey   3:19-cv-18809         MORELLI LAW FIRM, PLLC
OWENS, PERMEISHA          NJ - USDC for the District of New Jersey   3:17-cv-12070         MORELLI LAW FIRM, PLLC
PACI, COLLEEN             NJ - USDC for the District of New Jersey   3:21-cv-17047         MORELLI LAW FIRM, PLLC
PADIN, BETZALDA           NJ - USDC for the District of New Jersey   3:19-cv-17331         MORELLI LAW FIRM, PLLC
PALMER, NICOLE            NJ - USDC for the District of New Jersey   3:17-cv-12042         MORELLI LAW FIRM, PLLC
PALMER, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-16845         MORELLI LAW FIRM, PLLC
PALUMBO, ROSEANN          NJ - Superior Court - Atlantic County      ATL-L-000197-19       MORELLI LAW FIRM, PLLC
PARDO, KAMMIE             NJ - USDC for the District of New Jersey   3:18-cv-03458         MORELLI LAW FIRM, PLLC
PARKS, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-11774         MORELLI LAW FIRM, PLLC
PAULSEN, DEBRA            NJ - USDC for the District of New Jersey   3:17-cv-12054         MORELLI LAW FIRM, PLLC
PAVANO, KATHERINE         NJ - USDC for the District of New Jersey   3:19-cv-08999         MORELLI LAW FIRM, PLLC
PEARYER, SHEILA           NJ - Superior Court - Atlantic County      ATL-L-000091-19       MORELLI LAW FIRM, PLLC
PENCE, CHRISTINE          NJ - USDC for the District of New Jersey   3:18-cv-13273         MORELLI LAW FIRM, PLLC
PENDER, JOAN              NJ - Superior Court - Atlantic County      ATL-L-000963-21       MORELLI LAW FIRM, PLLC
PENNINGTON, NANCY         NJ - USDC for the District of New Jersey   3:17-cv-13009         MORELLI LAW FIRM, PLLC
PEREZ, MARGARITA          NJ - USDC for the District of New Jersey   3:18-cv-10710         MORELLI LAW FIRM, PLLC
PEREZ, RUBYANN            NJ - USDC for the District of New Jersey   3:17-cv-12049         MORELLI LAW FIRM, PLLC
PEREZ-VALDEZ, ELIZABETH   NJ - USDC for the District of New Jersey   3:18-cv-03457         MORELLI LAW FIRM, PLLC
PHILLIPS, MAE             NJ - USDC for the District of New Jersey   3:19-cv-17329         MORELLI LAW FIRM, PLLC
PIASCIK, TERESA           NJ - USDC for the District of New Jersey   3:17-cv-12056         MORELLI LAW FIRM, PLLC
PIKE, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-12066         MORELLI LAW FIRM, PLLC
PIRTLE, JANEEN            NJ - USDC for the District of New Jersey   3:17-cv-12899         MORELLI LAW FIRM, PLLC
PITTS, ROSIE              NJ - USDC for the District of New Jersey   3:21-cv-16865         MORELLI LAW FIRM, PLLC
POLAND, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-01565         MORELLI LAW FIRM, PLLC
PONTARELLI, NANCY         NJ - USDC for the District of New Jersey   3:18-cv-01554         MORELLI LAW FIRM, PLLC
PORTER, ROSE              NJ - USDC for the District of New Jersey   3:18-cv-01553         MORELLI LAW FIRM, PLLC
PORTER, VANESSA           NJ - USDC for the District of New Jersey   3:17-cv-12905         MORELLI LAW FIRM, PLLC
POTEET, REBECCA           NJ - USDC for the District of New Jersey   3:19-cv-14782         MORELLI LAW FIRM, PLLC
POWELL, CYNTHIA           NJ - USDC for the District of New Jersey   3:18-cv-01574         MORELLI LAW FIRM, PLLC
POWERS, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-12997         MORELLI LAW FIRM, PLLC
PROBERT, EILEEN           NJ - Superior Court - Atlantic County      ATL-L-002937-21       MORELLI LAW FIRM, PLLC
PRYOR, CYNTHIA            NJ - USDC for the District of New Jersey   3:17-cv-13021         MORELLI LAW FIRM, PLLC
PURVES, MARGE             NJ - USDC for the District of New Jersey   3:18-cv-14168         MORELLI LAW FIRM, PLLC
RADER, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-10409         MORELLI LAW FIRM, PLLC
RAVELLETTE, VIRGINIA      NJ - USDC for the District of New Jersey   3:18-cv-13274         MORELLI LAW FIRM, PLLC
REED, SHIRLEY             NJ - USDC for the District of New Jersey   3:18-cv-12262         MORELLI LAW FIRM, PLLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
RESENDIS, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-03289         MORELLI LAW FIRM, PLLC
RICHARDSON, DEBORAH       NJ - USDC for the District of New Jersey   3:17-cv-12896         MORELLI LAW FIRM, PLLC
RICHARDSON, ELEANOR       NJ - USDC for the District of New Jersey   3:19-cv-12903         MORELLI LAW FIRM, PLLC
RICHMOND, LATOSHA         NJ - USDC for the District of New Jersey   3:17-cv-12037         MORELLI LAW FIRM, PLLC
ROBBINS, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-05104         MORELLI LAW FIRM, PLLC
ROBINSON, GLAYDS          NJ - USDC for the District of New Jersey   3:17-cv-12702         MORELLI LAW FIRM, PLLC
ROBINSON, LISA            NJ - USDC for the District of New Jersey   3:18-cv-01569         MORELLI LAW FIRM, PLLC
RODRIGUEZ, MELISSA        NJ - USDC for the District of New Jersey   3:20-cv-01212         MORELLI LAW FIRM, PLLC
ROEPENACK, DEWELLYN       NJ - USDC for the District of New Jersey   3:18-cv-14169         MORELLI LAW FIRM, PLLC
ROGERS, ANNIE             NJ - USDC for the District of New Jersey   3:17-cv-13024         MORELLI LAW FIRM, PLLC
ROMANCHOK, MARY           NJ - USDC for the District of New Jersey   3:18-cv-09624         MORELLI LAW FIRM, PLLC
ROSE, ROSIE               NJ - USDC for the District of New Jersey   3:18-cv-09634         MORELLI LAW FIRM, PLLC
RUSH, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-14564         MORELLI LAW FIRM, PLLC
RUSSELL, MELLONIE         NJ - USDC for the District of New Jersey   3:17-cv-12047         MORELLI LAW FIRM, PLLC
SADOWSKI, CHRISTINE       NJ - USDC for the District of New Jersey   3:17-cv-13013         MORELLI LAW FIRM, PLLC
SALMON, JUDITH            NJ - USDC for the District of New Jersey   3:18-cv-15326         MORELLI LAW FIRM, PLLC
SANDLIN, LORINE           NJ - USDC for the District of New Jersey   3:18-cv-03823         MORELLI LAW FIRM, PLLC
SCHAFFER, LYNDA           NJ - USDC for the District of New Jersey   3:17-cv-12072         MORELLI LAW FIRM, PLLC
SCHREIBER, WANDA          NJ - USDC for the District of New Jersey   3:20-cv-05023         MORELLI LAW FIRM, PLLC
SHAFFERY, MELISSA         NJ - Superior Court - Atlantic County      ATL-L-002626-18       MORELLI LAW FIRM, PLLC
SHANNON, LOLA             NJ - USDC for the District of New Jersey   3:19-cv-09220         MORELLI LAW FIRM, PLLC
SHATTUCK, JUDY            NJ - USDC for the District of New Jersey   3:18-cv-05017         MORELLI LAW FIRM, PLLC
SHAW, JACQUELINE          NJ - USDC for the District of New Jersey   3:20-cv-05025         MORELLI LAW FIRM, PLLC
SHEPARD, RITA             NJ - USDC for the District of New Jersey   3:19-cv-21154         MORELLI LAW FIRM, PLLC
SHONING, JENNY            NJ - USDC for the District of New Jersey   3:17-cv-12698         MORELLI LAW FIRM, PLLC
SILLIN, HELEN             NJ - USDC for the District of New Jersey   3:17-cv-13017         MORELLI LAW FIRM, PLLC
SILVA, LORI               NJ - USDC for the District of New Jersey   3:18-cv-11602         MORELLI LAW FIRM, PLLC
SIMMONS, BOBBIE           NJ - USDC for the District of New Jersey   3:20-cv-00194         MORELLI LAW FIRM, PLLC
SIMMS, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-12076         MORELLI LAW FIRM, PLLC
SINKEWITZ, MISTY          NJ - Superior Court - Atlantic County      ATL-L-001037-18       MORELLI LAW FIRM, PLLC
SMITH, AMANDA             NJ - USDC for the District of New Jersey   3:17-cv-03729         MORELLI LAW FIRM, PLLC
SMITH, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-17160         MORELLI LAW FIRM, PLLC
SMITH, EVELYN             NJ - USDC for the District of New Jersey   3:17-cv-12074         MORELLI LAW FIRM, PLLC
SMITH, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-18847         MORELLI LAW FIRM, PLLC
SMITH, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-13652         MORELLI LAW FIRM, PLLC
SMITH, VALERIE            NJ - USDC for the District of New Jersey   3:19-cv-13932         MORELLI LAW FIRM, PLLC
SMOTHERS, BETTY           NJ - USDC for the District of New Jersey   3:18-cv-05023         MORELLI LAW FIRM, PLLC
SPITZ, SHEILA             NJ - USDC for the District of New Jersey   3:17-cv-12794         MORELLI LAW FIRM, PLLC
STAFFORD, LESLIE          NJ - USDC for the District of New Jersey   3:18-cv-15328         MORELLI LAW FIRM, PLLC
STALLARD, NANCEE          NJ - USDC for the District of New Jersey   3:18-cv-17272         MORELLI LAW FIRM, PLLC
STAMPS, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-00198         MORELLI LAW FIRM, PLLC
STEVENS, KRISTINE         NJ - USDC for the District of New Jersey   3:19-cv-18851         MORELLI LAW FIRM, PLLC
STRONG, RENA              NJ - USDC for the District of New Jersey   3:18-cv-13651         MORELLI LAW FIRM, PLLC
SWAFFORD, CAROL           NJ - USDC for the District of New Jersey   3:20-cv-01445         MORELLI LAW FIRM, PLLC
SWOPE, DEBRA              NJ - Superior Court - Atlantic County      ATL-L-000219-21       MORELLI LAW FIRM, PLLC
SYLVESTER, DOROTHY        NJ - USDC for the District of New Jersey   3:19-cv-06797         MORELLI LAW FIRM, PLLC
TEDDER, SARA              NJ - USDC for the District of New Jersey   3:18-cv-11605         MORELLI LAW FIRM, PLLC
TETREAULT, RUTH           NJ - USDC for the District of New Jersey   3:18-cv-12261         MORELLI LAW FIRM, PLLC
THOMAS, LUCINDA           NJ - USDC for the District of New Jersey   3:18-cv-05025         MORELLI LAW FIRM, PLLC
THOMPSON, BARBY           NJ - USDC for the District of New Jersey   3:21-cv-00036         MORELLI LAW FIRM, PLLC
THORNTON, DENISE          NJ - USDC for the District of New Jersey   3:18-cv-12256         MORELLI LAW FIRM, PLLC
TICHENOR, VICKI           NJ - USDC for the District of New Jersey   3:21-cv-03292         MORELLI LAW FIRM, PLLC
TIMMS, GINGER             NJ - USDC for the District of New Jersey   3:18-cv-05019         MORELLI LAW FIRM, PLLC
TOPPINS, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-04349         MORELLI LAW FIRM, PLLC
TRIBBLE, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-01310         MORELLI LAW FIRM, PLLC
TSHAMALA, JEAN            NJ - USDC for the District of New Jersey   3:18-cv-17572         MORELLI LAW FIRM, PLLC
TUCK, SARETTA             NJ - USDC for the District of New Jersey   3:20-cv-13821         MORELLI LAW FIRM, PLLC
TUCKER, JUANITA           NJ - USDC for the District of New Jersey   3:18-cv-05020         MORELLI LAW FIRM, PLLC
TURNER, MARGARET          NJ - Superior Court - Atlantic County      ATL-L-000604-21       MORELLI LAW FIRM, PLLC
TURNER, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-03397         MORELLI LAW FIRM, PLLC
VARNER, KATHY             NJ - USDC for the District of New Jersey   3:17-cv-12695         MORELLI LAW FIRM, PLLC
VAZQUEZ, EVA              NJ - USDC for the District of New Jersey   3:19-cv-18070         MORELLI LAW FIRM, PLLC
VELA, BENITA              NJ - USDC for the District of New Jersey   3:18-cv-16022         MORELLI LAW FIRM, PLLC
VERSLUIS, CHARLENE        NJ - USDC for the District of New Jersey   3:19-cv-14335         MORELLI LAW FIRM, PLLC
VESSELS, MARY             NJ - USDC for the District of New Jersey   3:17-cv-12412         MORELLI LAW FIRM, PLLC
VIDRA, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-12625         MORELLI LAW FIRM, PLLC
VITOLS, BRITT             NJ - USDC for the District of New Jersey   3:17-cv-12354         MORELLI LAW FIRM, PLLC
WAGGONER, PAMELA          NJ - USDC for the District of New Jersey   3:17-cv-02589         MORELLI LAW FIRM, PLLC
WALAZEK, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-14334         MORELLI LAW FIRM, PLLC
WALKER, TRACY             NJ - USDC for the District of New Jersey   3:18-cv-17715         MORELLI LAW FIRM, PLLC
WARDY, ANNETTE            NJ - USDC for the District of New Jersey   3:17-cv-13120         MORELLI LAW FIRM, PLLC
WARNOCK, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-02435         MORELLI LAW FIRM, PLLC
WARNOCK, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-02435         MORELLI LAW FIRM, PLLC
WATERS, JOANNA            NJ - USDC for the District of New Jersey   3:18-cv-11399         MORELLI LAW FIRM, PLLC
WATSON, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-20549         MORELLI LAW FIRM, PLLC
WEBB, CHRISTINA           NJ - USDC for the District of New Jersey   3:20-cv-01282         MORELLI LAW FIRM, PLLC
WELLS, JAMIE              NJ - USDC for the District of New Jersey   3:17-cv-13114         MORELLI LAW FIRM, PLLC
WESLEY, STEPHANIE         NJ - USDC for the District of New Jersey   3:17-cv-12488         MORELLI LAW FIRM, PLLC
WHISENHUNT, BRENDA        NJ - USDC for the District of New Jersey   3:19-cv-18071         MORELLI LAW FIRM, PLLC
WHITE, BECKY              NJ - USDC for the District of New Jersey   3:17-cv-13116         MORELLI LAW FIRM, PLLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
WHITE, JANIE                 NJ - USDC for the District of New Jersey   3:19-cv-14333         MORELLI LAW FIRM, PLLC
WHITLEY, WILMA               NJ - USDC for the District of New Jersey   3:17-cv-13117         MORELLI LAW FIRM, PLLC
WHITMAN, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-02524         MORELLI LAW FIRM, PLLC
WILLIAMS, ILONA              NJ - USDC for the District of New Jersey   3:17-cv-13115         MORELLI LAW FIRM, PLLC
WILLIAMS, JEANETTE           NJ - USDC for the District of New Jersey   3:20-cv-05825         MORELLI LAW FIRM, PLLC
WILLIAMS, LATONIA            NJ - USDC for the District of New Jersey   3:18-cv-05376         MORELLI LAW FIRM, PLLC
WILLIAMS-LOCKHART, DESIREE   NJ - USDC for the District of New Jersey   3:18-cv-02616         MORELLI LAW FIRM, PLLC
WILLIS, ANGELA               NJ - USDC for the District of New Jersey   3:19-cv-05716         MORELLI LAW FIRM, PLLC
WINES, DORA                  NJ - USDC for the District of New Jersey   3:19-cv-14332         MORELLI LAW FIRM, PLLC
WIREMAN, KATHY               NJ - USDC for the District of New Jersey   3:19-cv-21156         MORELLI LAW FIRM, PLLC
WITHERS, GAIL                NJ - USDC for the District of New Jersey   3:20-cv-01458         MORELLI LAW FIRM, PLLC
WOODS, ARIETA                NJ - USDC for the District of New Jersey   3:17-cv-13118         MORELLI LAW FIRM, PLLC
WRIGHT, CARRIE               NJ - USDC for the District of New Jersey   3:21-cv-04161         MORELLI LAW FIRM, PLLC
WRIGHT, NANCY                NJ - USDC for the District of New Jersey   3:17-cv-13119         MORELLI LAW FIRM, PLLC
WRIGHT, SHIRLEY              NJ - USDC for the District of New Jersey   3:19-cv-18845         MORELLI LAW FIRM, PLLC
YANKTON, SUSAN               NJ - USDC for the District of New Jersey   3:19-cv-18850         MORELLI LAW FIRM, PLLC
YARMO, CAROLE                NJ - USDC for the District of New Jersey   3:18-cv-09351         MORELLI LAW FIRM, PLLC
YESUPRIYA, JOYCE             NJ - USDC for the District of New Jersey   3:19-cv-20551         MORELLI LAW FIRM, PLLC
YOUNG-TUNE, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-12685         MORELLI LAW FIRM, PLLC
ZAKS, NANCY                  NJ - Superior Court - Atlantic County      ATL-L-001443-18       MORELLI LAW FIRM, PLLC
ACANFRIO, DIANA              NJ - USDC for the District of New Jersey   3:19-cv-16768         MORGAN & MORGAN
ANDERSON, ADA                NJ - USDC for the District of New Jersey   3:21-cv-10728         MORGAN & MORGAN
BISHOP, PENNY                NJ - USDC for the District of New Jersey   3:20-cv-08582         MORGAN & MORGAN
BLAND, DEBRA                 NJ - USDC for the District of New Jersey   3:19-cv-13109         MORGAN & MORGAN
BONNETTE, KELLY              NJ - USDC for the District of New Jersey   3:21-cv-07374         MORGAN & MORGAN
BRACERO, MILAGROS            NJ - USDC for the District of New Jersey   3:18-cv-03633         MORGAN & MORGAN
BRYANT, VIACOUNTESS          NJ - USDC for the District of New Jersey   3:18-cv-17017         MORGAN & MORGAN
BURKE, CRISTINE              NJ - USDC for the District of New Jersey   3:18-cv-12629         MORGAN & MORGAN
CAIRNS, MELINDA              NJ - USDC for the District of New Jersey   3:20-cv-01978         MORGAN & MORGAN
CAREW, TAMARA                NJ - USDC for the District of New Jersey   3:21-cv-12327         MORGAN & MORGAN
CARLETON, ANNE               NJ - USDC for the District of New Jersey   3:19-cv-20667         MORGAN & MORGAN
COCHRAN, MARY                NJ - USDC for the District of New Jersey   3:18-cv-12467         MORGAN & MORGAN
CORTRIGHT, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-10313         MORGAN & MORGAN
COSTANZO, SARAH              NJ - USDC for the District of New Jersey   3:18-cv-05244         MORGAN & MORGAN
DALTON, LEE                  NJ - USDC for the District of New Jersey   3:19-cv-07910         MORGAN & MORGAN
EDWARDS, BRENDA              NJ - USDC for the District of New Jersey   3:20-cv-14015         MORGAN & MORGAN
EVANS, KATHLEEN              NJ - USDC for the District of New Jersey   3:18-cv-03201         MORGAN & MORGAN
FIELDS, DEBBIE               NJ - USDC for the District of New Jersey   3:19-cv-16470         MORGAN & MORGAN
FRANGOS, PATRICIA            NJ - USDC for the District of New Jersey   3:19-cv-21305         MORGAN & MORGAN
GARGES, JENNIE               NJ - USDC for the District of New Jersey   3:18-cv-16850         MORGAN & MORGAN
GOLDBERG, ELLEN              NJ - USDC for the District of New Jersey   3:19-cv-20724         MORGAN & MORGAN
HANLEY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13540         MORGAN & MORGAN
HANNA, PATRICIA              NJ - USDC for the District of New Jersey   3:19-cv-13937         MORGAN & MORGAN
HANSON, CHARLOTTE            NJ - USDC for the District of New Jersey   3:21-cv-06085         MORGAN & MORGAN
HART-HARRIS, BEVERLY         NJ - USDC for the District of New Jersey   3:20-cv-15013         MORGAN & MORGAN
HARTY, DONNA                 NJ - USDC for the District of New Jersey   3:20-cv-06327         MORGAN & MORGAN
HEAD, LOIS                   NJ - USDC for the District of New Jersey   3:21-cv-00468         MORGAN & MORGAN
HESTER, GERMAINE             NJ - USDC for the District of New Jersey   3:18-cv-05365         MORGAN & MORGAN
JOHNSTON, ADRIENNE           NJ - USDC for the District of New Jersey   3:19-cv-15371         MORGAN & MORGAN
KANE, ANNE                   NJ - USDC for the District of New Jersey   3:19-cv-00446         MORGAN & MORGAN
KHOURY, DENISE               NJ - USDC for the District of New Jersey   3:17-cv-10701         MORGAN & MORGAN
LAUB, BARBARA                NJ - USDC for the District of New Jersey   3:18-cv-11086         MORGAN & MORGAN
LEVENBURG, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-12650         MORGAN & MORGAN
LIPPOLT, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-16791         MORGAN & MORGAN
MACKINNEY, HEIDI             NJ - USDC for the District of New Jersey   3:18-cv-13976         MORGAN & MORGAN
MADDUX, LORAIN               NJ - USDC for the District of New Jersey   3:21-cv-15342         MORGAN & MORGAN
MALAVES, CATHY               NJ - USDC for the District of New Jersey   3:20-cv-06381         MORGAN & MORGAN
MAXEY, TAMARA                NJ - USDC for the District of New Jersey   3:18-cv-10157         MORGAN & MORGAN
MCKENZIE, ABBY               NJ - USDC for the District of New Jersey   3:21-cv-13394         MORGAN & MORGAN
MERIWETHER, TONI             NJ - USDC for the District of New Jersey   3:21-cv-18229         MORGAN & MORGAN
MOLLER, ANTOINETTE           NJ - USDC for the District of New Jersey   3:19-cv-06109         MORGAN & MORGAN
MORAN, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-11675         MORGAN & MORGAN
MORAST, FRANCES              NJ - USDC for the District of New Jersey   3:18-cv-16854         MORGAN & MORGAN
MULLER, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-04061         MORGAN & MORGAN
RAULT, NICOLE                NJ - USDC for the District of New Jersey   3:18-cv-08047         MORGAN & MORGAN
REID, MILLICENT              NJ - USDC for the District of New Jersey   3:19-cv-16863         MORGAN & MORGAN
REINHART, ANN                NJ - USDC for the District of New Jersey   3:19-cv-16869         MORGAN & MORGAN
SAXON, CINDY                 NJ - USDC for the District of New Jersey   3:18-cv-02969         MORGAN & MORGAN
SEKMAN, KERRY                NJ - USDC for the District of New Jersey   3:18-cv-16262         MORGAN & MORGAN
SHOCKEY, FONDA               NJ - USDC for the District of New Jersey   3:21-cv-12855         MORGAN & MORGAN
SIMKOVIC, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-11573         MORGAN & MORGAN
SINGH, SAVITRI               NJ - USDC for the District of New Jersey   3:20-cv-05421         MORGAN & MORGAN
SMITH, CONNIE                NJ - USDC for the District of New Jersey   3:20-cv-11531         MORGAN & MORGAN
SMITH, SAMIERRAH             NJ - USDC for the District of New Jersey   3:20-cv-01970         MORGAN & MORGAN
STILLMAN, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-14004         MORGAN & MORGAN
TRSTENSKY, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-14579         MORGAN & MORGAN
TRULUCK, JAN                 NJ - USDC for the District of New Jersey   3:21-cv-11681         MORGAN & MORGAN
UBALDINI, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-14323         MORGAN & MORGAN
VITCH, CATHERINE             NJ - USDC for the District of New Jersey   3:19-cv-12643         MORGAN & MORGAN
WALLACE, ANA                 NJ - USDC for the District of New Jersey   3:19-cv-20676         MORGAN & MORGAN




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           Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
WARREN, BERNICE            NJ - USDC for the District of New Jersey   3:21-cv-18232         MORGAN & MORGAN
WATTS, SHELIA DOYLE        NJ - USDC for the District of New Jersey   3:18-cv-12627         MORGAN & MORGAN
BARTH-ANDREWS, SUSAN       NJ - USDC for the District of New Jersey   3:17-cv-12307         MORGAN & MORGAN, P.A.
GIDDENS, HARRIET           NJ - USDC for the District of New Jersey   3:17-cv-12313         MORGAN & MORGAN, P.A.
KLEIN, JILL                NJ - USDC for the District of New Jersey   3:18-cv-00436         MORGAN & MORGAN, P.A.
TRIMARCO, JENNIE           NJ - USDC for the District of New Jersey   3:18-cv-02113         MORGAN & MORGAN, P.A.
WELTER, CAROLYN            NJ - USDC for the District of New Jersey   3:17-cv-08164         MORGAN & MORGAN, P.A.
BRINKLEY, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-01004         MORRELL LAW FIRM, PLLC
JONES, FELICIA             NJ - USDC for the District of New Jersey   3:20-cv-16317         MORRELL LAW FIRM, PLLC
RAMLOCHAN, CHANMATTIE      NJ - USDC for the District of New Jersey   3:21-cv-00942         MORRELL LAW FIRM, PLLC
ST. PIERRE, MARIELLE       NJ - USDC for the District of New Jersey   3:20-cv-08662         MORRELL LAW FIRM, PLLC
JOHNSON, CLEATHER          NJ - USDC for the District of New Jersey   3:18-cv-11261         MORRIS & PLAYER PLLC
ADAMS, JESSIE              NJ - USDC for the District of New Jersey   3:18-cv-09818         MORRIS BART & ASSOCIATES
ALFRED, SHIRLEY            NJ - USDC for the District of New Jersey   3:17-cv-01485         MORRIS BART & ASSOCIATES
ALLEN, ELAINE              NJ - USDC for the District of New Jersey   3:18-cv-09947         MORRIS BART & ASSOCIATES
ALLGOOD, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-15696         MORRIS BART & ASSOCIATES
APREA, JEANNE              NJ - USDC for the District of New Jersey   3:18-cv-13779         MORRIS BART & ASSOCIATES
ARNOLD, GLORIA             NJ - USDC for the District of New Jersey   3:18-cv-14579         MORRIS BART & ASSOCIATES
AUBERT, VERONICA           NJ - USDC for the District of New Jersey   3:19-cv-06273         MORRIS BART & ASSOCIATES
AUGUST, INGRID             NJ - USDC for the District of New Jersey   3:18-cv-10010         MORRIS BART & ASSOCIATES
BALTHAZAR, NORA            NJ - USDC for the District of New Jersey   3:18-cv-11984         MORRIS BART & ASSOCIATES
BARNES, ALICE              NJ - USDC for the District of New Jersey   3:19-cv-11856         MORRIS BART & ASSOCIATES
BARNES, MICHELLE           NJ - USDC for the District of New Jersey   3:18-cv-08606         MORRIS BART & ASSOCIATES
BARRIOS, CLARA             NJ - USDC for the District of New Jersey   3:19-cv-18411         MORRIS BART & ASSOCIATES
BELGARD, BILLIE            NJ - USDC for the District of New Jersey   3:18-cv-11256         MORRIS BART & ASSOCIATES
BERFECT-CULLER, NEOMI      NJ - USDC for the District of New Jersey   3:18-cv-08640         MORRIS BART & ASSOCIATES
BIER, BETTY                NJ - USDC for the District of New Jersey   3:16-cv-08793         MORRIS BART & ASSOCIATES
BLACK, LOUISE              NJ - USDC for the District of New Jersey   3:18-cv-11434         MORRIS BART & ASSOCIATES
BLANKENSHIP, PATSY         NJ - USDC for the District of New Jersey   3:19-cv-13607         MORRIS BART & ASSOCIATES
BORREL, MARY               NJ - USDC for the District of New Jersey   3:18-cv-09811         MORRIS BART & ASSOCIATES
BOSWELL, VERLINDA          NJ - USDC for the District of New Jersey   3:19-cv-00946         MORRIS BART & ASSOCIATES
BRACKETT, CAROLYN          NJ - USDC for the District of New Jersey   3:19-cv-13605         MORRIS BART & ASSOCIATES
BROOKS, LATONYA            NJ - USDC for the District of New Jersey   3:19-cv-07135         MORRIS BART & ASSOCIATES
BROWN, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-13603         MORRIS BART & ASSOCIATES
BROWN, YVONNE              NJ - USDC for the District of New Jersey   3:18-cv-11991         MORRIS BART & ASSOCIATES
BRUTTON, MARGIE            NJ - USDC for the District of New Jersey   3:18-cv-14738         MORRIS BART & ASSOCIATES
BUNYARD, MARY              NJ - USDC for the District of New Jersey   3:19-cv-00886         MORRIS BART & ASSOCIATES
BURNETT, CORAL             NJ - USDC for the District of New Jersey   3:18-cv-11921         MORRIS BART & ASSOCIATES
BUSH, BETTY                NJ - USDC for the District of New Jersey   3:18-cv-08660         MORRIS BART & ASSOCIATES
BUSH, KIM                  NJ - USDC for the District of New Jersey   3:18-cv-08665         MORRIS BART & ASSOCIATES
CAZALOT, VONCEIL           NJ - USDC for the District of New Jersey   3:18-cv-09804         MORRIS BART & ASSOCIATES
CHAISSON, GRACE            NJ - USDC for the District of New Jersey   3:18-cv-09807         MORRIS BART & ASSOCIATES
CHEDAKA, NIKITA            NJ - USDC for the District of New Jersey   3:18-cv-08667         MORRIS BART & ASSOCIATES
CLAUDY, NAOMI              NJ - USDC for the District of New Jersey   3:19-cv-00924         MORRIS BART & ASSOCIATES
COBB, CATHERINE            NJ - USDC for the District of New Jersey   3:18-cv-08683         MORRIS BART & ASSOCIATES
CONNER, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-07151         MORRIS BART & ASSOCIATES
COOPER, KAREN              NJ - USDC for the District of New Jersey   3:18-cv-08688         MORRIS BART & ASSOCIATES
CUTRER, LORA               NJ - USDC for the District of New Jersey   3:18-cv-11948         MORRIS BART & ASSOCIATES
DANIELS, LISA              NJ - USDC for the District of New Jersey   3:16-cv-08806         MORRIS BART & ASSOCIATES
DAVID, GRACE               NJ - USDC for the District of New Jersey   3:18-cv-09979         MORRIS BART & ASSOCIATES
DELUCCA, RITA              NJ - USDC for the District of New Jersey   3:18-cv-10694         MORRIS BART & ASSOCIATES
DEPENZE, STEPHENY          NJ - USDC for the District of New Jersey   3:19-cv-00942         MORRIS BART & ASSOCIATES
DESALLE, ELISE             NJ - USDC for the District of New Jersey   3:18-cv-12975         MORRIS BART & ASSOCIATES
DIAMONDS, DENEE            NJ - USDC for the District of New Jersey   3:17-cv-01503         MORRIS BART & ASSOCIATES
DUFRENE, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-10996         MORRIS BART & ASSOCIATES
DUKE, NANCY                NJ - USDC for the District of New Jersey   3:18-cv-09828         MORRIS BART & ASSOCIATES
ENGLE, CAROLYN             NJ - USDC for the District of New Jersey   3:17-cv-01583         MORRIS BART & ASSOCIATES
ESTES, TOYA                NJ - USDC for the District of New Jersey   3:18-cv-14539         MORRIS BART & ASSOCIATES
FILLERS, VALERIE           NJ - USDC for the District of New Jersey   3:19-cv-13602         MORRIS BART & ASSOCIATES
FINCH, ANNA                NJ - USDC for the District of New Jersey   3:18-cv-10420         MORRIS BART & ASSOCIATES
FLETCHER, CAROLYN          NJ - USDC for the District of New Jersey   3:18-cv-09854         MORRIS BART & ASSOCIATES
FLOW, ELVA                 NJ - USDC for the District of New Jersey   3:18-cv-11000         MORRIS BART & ASSOCIATES
FONTENOT, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-08692         MORRIS BART & ASSOCIATES
FORD-KNIGHT, JULIETTA      NJ - USDC for the District of New Jersey   3:18-cv-09964         MORRIS BART & ASSOCIATES
FRANCES-JONES, BRENDA      NJ - USDC for the District of New Jersey   3:18-cv-09812         MORRIS BART & ASSOCIATES
FRUGE, ASHLEY              NJ - USDC for the District of New Jersey   3:18-cv-11003         MORRIS BART & ASSOCIATES
FULLER, DIANNA             NJ - USDC for the District of New Jersey   3:18-cv-09868         MORRIS BART & ASSOCIATES
GAFFORD, MARY              NJ - USDC for the District of New Jersey   3:17-cv-01504         MORRIS BART & ASSOCIATES
GALLOT, CASSANDRA          NJ - USDC for the District of New Jersey   3:19-cv-00087         MORRIS BART & ASSOCIATES
GARNETT, DORTHEY           NJ - USDC for the District of New Jersey   3:18-cv-05290         MORRIS BART & ASSOCIATES
GASTON, ORA                NJ - USDC for the District of New Jersey   3:18-cv-09883         MORRIS BART & ASSOCIATES
GLOVER, LESLIE             NJ - USDC for the District of New Jersey   3:19-cv-06282         MORRIS BART & ASSOCIATES
GOODSON, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-13606         MORRIS BART & ASSOCIATES
GRAY, GAIL                 NJ - USDC for the District of New Jersey   3:18-cv-08752         MORRIS BART & ASSOCIATES
GRAY, LEGGERD              NJ - USDC for the District of New Jersey   3:16-cv-08966         MORRIS BART & ASSOCIATES
GREEN, DARLENE             NJ - USDC for the District of New Jersey   3:18-cv-11209         MORRIS BART & ASSOCIATES
GRIDER, BETTY              NJ - USDC for the District of New Jersey   3:18-cv-11914         MORRIS BART & ASSOCIATES
GUILLOT, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-08755         MORRIS BART & ASSOCIATES
HAMMOND, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-14524         MORRIS BART & ASSOCIATES
HARDY, SHAPHONIA           NJ - USDC for the District of New Jersey   3:18-cv-08852         MORRIS BART & ASSOCIATES




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
HARRIS, DEANNA            NJ - USDC for the District of New Jersey   3:18-cv-08864         MORRIS BART & ASSOCIATES
HARTWELL, ELLA            NJ - USDC for the District of New Jersey   3:18-cv-11918         MORRIS BART & ASSOCIATES
HAYWARD, EUNICE           NJ - USDC for the District of New Jersey   3:17-cv-01487         MORRIS BART & ASSOCIATES
HEBERT, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-09888         MORRIS BART & ASSOCIATES
HERRINGTON, RAE           NJ - USDC for the District of New Jersey   3:18-cv-14469         MORRIS BART & ASSOCIATES
HEYWARD, EUNICE           NJ - USDC for the District of New Jersey   3:18-cv-14538         MORRIS BART & ASSOCIATES
HIDALGO, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-08921         MORRIS BART & ASSOCIATES
HIGHTOWER, BRENDA         NJ - USDC for the District of New Jersey   3:18-cv-08963         MORRIS BART & ASSOCIATES
HILL, JOYCE               NJ - USDC for the District of New Jersey   3:19-cv-00770         MORRIS BART & ASSOCIATES
HILLARD, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-08970         MORRIS BART & ASSOCIATES
HOLLMAN, ARZETTA          NJ - USDC for the District of New Jersey   3:18-cv-15653         MORRIS BART & ASSOCIATES
HOLLON, KIMBERLY          NJ - USDC for the District of New Jersey   3:18-cv-09889         MORRIS BART & ASSOCIATES
HUDSPETH, LORRAINE        NJ - USDC for the District of New Jersey   3:18-cv-10007         MORRIS BART & ASSOCIATES
HUGHES, CLAUDIA           NJ - USDC for the District of New Jersey   3:18-cv-09974         MORRIS BART & ASSOCIATES
HUNTER, ROSE              NJ - USDC for the District of New Jersey   3:18-cv-10415         MORRIS BART & ASSOCIATES
JACKSON, JOEVA            NJ - USDC for the District of New Jersey   3:18-cv-10991         MORRIS BART & ASSOCIATES
JAMES, ELSIE              NJ - USDC for the District of New Jersey   3:18-cv-14488         MORRIS BART & ASSOCIATES
JAMES, WILHEMINA          NJ - USDC for the District of New Jersey   3:18-cv-08990         MORRIS BART & ASSOCIATES
JEFFERS, JULIA            NJ - USDC for the District of New Jersey   3:18-cv-11906         MORRIS BART & ASSOCIATES
JEFFERSON, JOANN          NJ - USDC for the District of New Jersey   3:18-cv-09820         MORRIS BART & ASSOCIATES
JOHNSON, ANNIE            NJ - USDC for the District of New Jersey   3:18-cv-11421         MORRIS BART & ASSOCIATES
JOHNSON, BEATRICE         NJ - USDC for the District of New Jersey   3:18-cv-13784         MORRIS BART & ASSOCIATES
JOHNSON, LOUISE           NJ - USDC for the District of New Jersey   3:19-cv-18946         MORRIS BART & ASSOCIATES
JOHNSON, OTTIS            NJ - USDC for the District of New Jersey   3:18-cv-14530         MORRIS BART & ASSOCIATES
JOLLA, GWENDOLYN          NJ - USDC for the District of New Jersey   3:16-cv-08774         MORRIS BART & ASSOCIATES
JONES, GAY                NJ - USDC for the District of New Jersey   3:18-cv-11440         MORRIS BART & ASSOCIATES
JONES, MABLE              NJ - USDC for the District of New Jersey   3:18-cv-09188         MORRIS BART & ASSOCIATES
KITCHENS, MARY            NJ - USDC for the District of New Jersey   3:19-cv-01072         MORRIS BART & ASSOCIATES
LADNER, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-11988         MORRIS BART & ASSOCIATES
LADNIER, JILL             NJ - USDC for the District of New Jersey   3:18-cv-14467         MORRIS BART & ASSOCIATES
LAFLEUR, CAROLYN          NJ - USDC for the District of New Jersey   3:18-cv-11250         MORRIS BART & ASSOCIATES
LAFRANCE, JULIA           NJ - USDC for the District of New Jersey   3:18-cv-11433         MORRIS BART & ASSOCIATES
LANDRY, DELIA             NJ - USDC for the District of New Jersey   3:18-cv-14543         MORRIS BART & ASSOCIATES
LANGFORD, GERTRUDE        NJ - USDC for the District of New Jersey   3:18-cv-10015         MORRIS BART & ASSOCIATES
LATIN, LORETTA            NJ - USDC for the District of New Jersey   3:18-cv-11001         MORRIS BART & ASSOCIATES
LAURENT, RONNICA          NJ - USDC for the District of New Jersey   3:18-cv-09221         MORRIS BART & ASSOCIATES
LAWRENCE, JANICE          NJ - USDC for the District of New Jersey   3:21-cv-05571         MORRIS BART & ASSOCIATES
LEE, CALLISTA             NJ - USDC for the District of New Jersey   3:16-cv-08805         MORRIS BART & ASSOCIATES
LESHINE, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-13022         MORRIS BART & ASSOCIATES
LESLIE, ETHER             NJ - USDC for the District of New Jersey   3:19-cv-00954         MORRIS BART & ASSOCIATES
LEWIS, JOYCE              NJ - USDC for the District of New Jersey   3:18-cv-09225         MORRIS BART & ASSOCIATES
LEWIS, PEGGY              NJ - USDC for the District of New Jersey   3:18-cv-09260         MORRIS BART & ASSOCIATES
LOUPE, ELSIE              NJ - USDC for the District of New Jersey   3:18-cv-14546         MORRIS BART & ASSOCIATES
LOWREY, BONNIE            NJ - USDC for the District of New Jersey   3:18-cv-10999         MORRIS BART & ASSOCIATES
LUCAS, VIRGINIA           NJ - USDC for the District of New Jersey   3:18-cv-09960         MORRIS BART & ASSOCIATES
MABILE, KATHY             NJ - USDC for the District of New Jersey   3:18-cv-09270         MORRIS BART & ASSOCIATES
MACK, JACQUELINE          NJ - USDC for the District of New Jersey   3:18-cv-14577         MORRIS BART & ASSOCIATES
MACKEY-JONES, BERTHA      NJ - USDC for the District of New Jersey   3:18-cv-09830         MORRIS BART & ASSOCIATES
MADDOX, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-10728         MORRIS BART & ASSOCIATES
MADISON, SHELIA           NJ - USDC for the District of New Jersey   3:19-cv-00090         MORRIS BART & ASSOCIATES
MAESTRI, BONNIE           NJ - USDC for the District of New Jersey   3:18-cv-15095         MORRIS BART & ASSOCIATES
MAGEE, JOYCE              NJ - USDC for the District of New Jersey   3:19-cv-00943         MORRIS BART & ASSOCIATES
MARIE, MERYL              NJ - USDC for the District of New Jersey   3:18-cv-13771         MORRIS BART & ASSOCIATES
MARTIN, ETHEL             NJ - USDC for the District of New Jersey   3:18-cv-15096         MORRIS BART & ASSOCIATES
MATHERNE, PATRICIA        NJ - USDC for the District of New Jersey   3:18-cv-14495         MORRIS BART & ASSOCIATES
MCDOWELL, MARGUERITE      NJ - USDC for the District of New Jersey   3:18-cv-11907         MORRIS BART & ASSOCIATES
MCGINNIS, PATTY           NJ - USDC for the District of New Jersey   3:18-cv-15200         MORRIS BART & ASSOCIATES
MCGRATH, GWENDOLYN        NJ - USDC for the District of New Jersey   3:18-cv-17053         MORRIS BART & ASSOCIATES
MEANS, LANDRIA            NJ - USDC for the District of New Jersey   3:18-cv-15586         MORRIS BART & ASSOCIATES
MELANCON, KATHERINE       NJ - USDC for the District of New Jersey   3:18-cv-09272         MORRIS BART & ASSOCIATES
MEYER, ANDREA             NJ - USDC for the District of New Jersey   3:16-cv-08964         MORRIS BART & ASSOCIATES
MILEY, DIANA              NJ - USDC for the District of New Jersey   3:19-cv-06852         MORRIS BART & ASSOCIATES
MILLET, RUBY              NJ - USDC for the District of New Jersey   3:18-cv-11438         MORRIS BART & ASSOCIATES
MILSTEAD, DEBRA           NJ - USDC for the District of New Jersey   3:18-cv-09300         MORRIS BART & ASSOCIATES
MINNIEFIELD, RUBY         NJ - USDC for the District of New Jersey   3:18-cv-16160         MORRIS BART & ASSOCIATES
MITCHELL, JEANETTE        NJ - USDC for the District of New Jersey   3:19-cv-00947         MORRIS BART & ASSOCIATES
MOORE, EPHYANIA           NJ - USDC for the District of New Jersey   3:19-cv-00926         MORRIS BART & ASSOCIATES
MORRIS, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-09236         MORRIS BART & ASSOCIATES
MOSLEY, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-17098         MORRIS BART & ASSOCIATES
NEWMAN, YNETTE            NJ - USDC for the District of New Jersey   3:18-cv-12675         MORRIS BART & ASSOCIATES
NICHOLSON, HAZEL          NJ - USDC for the District of New Jersey   3:18-cv-09824         MORRIS BART & ASSOCIATES
NORTON, SARA              NJ - USDC for the District of New Jersey   3:18-cv-09304         MORRIS BART & ASSOCIATES
NUNN, MARY                NJ - USDC for the District of New Jersey   3:18-cv-09309         MORRIS BART & ASSOCIATES
ORCINO, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-15098         MORRIS BART & ASSOCIATES
PANICHELLA, MARY          NJ - USDC for the District of New Jersey   3:18-cv-12674         MORRIS BART & ASSOCIATES
PATTON, WILLIE            NJ - USDC for the District of New Jersey   3:18-cv-09421         MORRIS BART & ASSOCIATES
PHILLIPPELLO, ELISE       NJ - USDC for the District of New Jersey   3:18-cv-10548         MORRIS BART & ASSOCIATES
PIAZZA, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-09423         MORRIS BART & ASSOCIATES
PICOU, GLENDA             NJ - USDC for the District of New Jersey   3:19-cv-00925         MORRIS BART & ASSOCIATES
PITTS, MARGARET           NJ - USDC for the District of New Jersey   3:18-cv-11945         MORRIS BART & ASSOCIATES




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          Claimant Name                        State Filed                      Docket Number                Plaintiff Counsel
PORTERA, JUDY                  NJ - USDC for the District of New Jersey   3:18-cv-09452         MORRIS BART & ASSOCIATES
RADFORD, LELIA                 NJ - USDC for the District of New Jersey   3:18-cv-11247         MORRIS BART & ASSOCIATES
RAINEY, MARILYN                NJ - USDC for the District of New Jersey   3:18-cv-15588         MORRIS BART & ASSOCIATES
RANATZA, GLORIA                NJ - USDC for the District of New Jersey   3:18-cv-09566         MORRIS BART & ASSOCIATES
RICHARD, DALE                  NJ - USDC for the District of New Jersey   3:18-cv-10712         MORRIS BART & ASSOCIATES
RICHARD, UNA                   NJ - USDC for the District of New Jersey   3:18-cv-09968         MORRIS BART & ASSOCIATES
RICHARDSON, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-13794         MORRIS BART & ASSOCIATES
ROBINS, NEDRA                  NJ - USDC for the District of New Jersey   3:19-cv-00768         MORRIS BART & ASSOCIATES
ROMERO, CHASITY                NJ - USDC for the District of New Jersey   3:18-cv-09686         MORRIS BART & ASSOCIATES
ROY, FRANCES                   NJ - USDC for the District of New Jersey   3:18-cv-15650         MORRIS BART & ASSOCIATES
SAMUEL, HILDA                  NJ - USDC for the District of New Jersey   3:18-cv-09697         MORRIS BART & ASSOCIATES
SCHEFFER, TINA                 NJ - USDC for the District of New Jersey   3:18-cv-12676         MORRIS BART & ASSOCIATES
SCOTT, JUDITH                  NJ - USDC for the District of New Jersey   3:18-cv-09700         MORRIS BART & ASSOCIATES
SCOTT, YVONNE                  NJ - USDC for the District of New Jersey   3:18-cv-09728         MORRIS BART & ASSOCIATES
SCROGGINS, PATTY               NJ - USDC for the District of New Jersey   3:18-cv-10939         MORRIS BART & ASSOCIATES
SHEASBY, RUBY                  NJ - USDC for the District of New Jersey   3:18-cv-14470         MORRIS BART & ASSOCIATES
SMITH-ERVING, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-10533         MORRIS BART & ASSOCIATES
SONNIER, SHIRLEY               NJ - USDC for the District of New Jersey   3:18-cv-15972         MORRIS BART & ASSOCIATES
SPIKES-BICKHAM, KELA           NJ - USDC for the District of New Jersey   3:19-cv-00951         MORRIS BART & ASSOCIATES
STANLEY, SHIRLEY               NJ - USDC for the District of New Jersey   3:18-cv-14528         MORRIS BART & ASSOCIATES
STOCK, DORIS                   NJ - USDC for the District of New Jersey   3:18-cv-15097         MORRIS BART & ASSOCIATES
STONE, PAMELA                  NJ - USDC for the District of New Jersey   3:19-cv-12566         MORRIS BART & ASSOCIATES
SULLIVAN, MARGARET             NJ - USDC for the District of New Jersey   3:18-cv-16103         MORRIS BART & ASSOCIATES
SWETMAN, KATHLEEN              NJ - USDC for the District of New Jersey   3:18-cv-09013         MORRIS BART & ASSOCIATES
TAMOR, LENA                    NJ - USDC for the District of New Jersey   3:18-cv-12393         MORRIS BART & ASSOCIATES
TATUM, CAROLYN                 NJ - USDC for the District of New Jersey   3:18-cv-14578         MORRIS BART & ASSOCIATES
TAUZIER, LORETTA               NJ - USDC for the District of New Jersey   3:18-cv-10987         MORRIS BART & ASSOCIATES
TAYLOR, DALE                   NJ - USDC for the District of New Jersey   3:18-cv-10011         MORRIS BART & ASSOCIATES
TAYLOR, IRENE                  NJ - USDC for the District of New Jersey   3:18-cv-09976         MORRIS BART & ASSOCIATES
TETLOW, LAURIE                 NJ - USDC for the District of New Jersey   3:16-cv-07893         MORRIS BART & ASSOCIATES
THOMPSON, AUDREY               NJ - USDC for the District of New Jersey   3:18-cv-11019         MORRIS BART & ASSOCIATES
THOMPSON, IRETTA               NJ - USDC for the District of New Jersey   3:18-cv-11679         MORRIS BART & ASSOCIATES
THROWER, PATSY                 NJ - USDC for the District of New Jersey   3:18-cv-09738         MORRIS BART & ASSOCIATES
TOWNSEND, PATRICIA             NJ - USDC for the District of New Jersey   3:18-cv-17097         MORRIS BART & ASSOCIATES
TRUMPS, JOYCELYN               NJ - USDC for the District of New Jersey   3:18-cv-13792         MORRIS BART & ASSOCIATES
TURNER, CARMEL                 NJ - USDC for the District of New Jersey   3:18-cv-09741         MORRIS BART & ASSOCIATES
VERGES, DELORES                NJ - USDC for the District of New Jersey   3:18-cv-15978         MORRIS BART & ASSOCIATES
VICTORIAN, LILLIAN             NJ - USDC for the District of New Jersey   3:18-cv-09859         MORRIS BART & ASSOCIATES
VITALE, CARRIE                 NJ - USDC for the District of New Jersey   3:18-cv-11021         MORRIS BART & ASSOCIATES
WADE, DOROTHY                  NJ - USDC for the District of New Jersey   3:18-cv-09886         MORRIS BART & ASSOCIATES
WADLEY, WILLIE                 NJ - USDC for the District of New Jersey   3:18-cv-10922         MORRIS BART & ASSOCIATES
WALKER, DONNA                  NJ - USDC for the District of New Jersey   3:18-cv-15154         MORRIS BART & ASSOCIATES
WALLACE, SUSAN                 NJ - USDC for the District of New Jersey   3:18-cv-14536         MORRIS BART & ASSOCIATES
WARD, EMMA                     NJ - USDC for the District of New Jersey   3:18-cv-10703         MORRIS BART & ASSOCIATES
WASHINGTON, OLA                NJ - USDC for the District of New Jersey   3:18-cv-15155         MORRIS BART & ASSOCIATES
WEST, BARBARA                  NJ - USDC for the District of New Jersey   3:17-cv-01486         MORRIS BART & ASSOCIATES
WHITSON, SYLVIA                NJ - USDC for the District of New Jersey   3:18-cv-11977         MORRIS BART & ASSOCIATES
WILLIAMS, WANDA                NJ - USDC for the District of New Jersey   3:18-cv-09955         MORRIS BART & ASSOCIATES
WILLIAMS, WILLOR               NJ - USDC for the District of New Jersey   3:18-cv-09762         MORRIS BART & ASSOCIATES
WINTERS, YVONNE                NJ - USDC for the District of New Jersey   3:18-cv-09763         MORRIS BART & ASSOCIATES
ADAMS, CORDA                   NJ - USDC for the District of New Jersey   3:17-cv-10126         MORRIS LAW FIRM
CARTOLANO, VICTORIA            CA - Superior Court - Los Angeles County   BC690885              MORRIS LAW FIRM
COOK, SHARON                   CA - Superior Court - Los Angeles County   BC690498              MORRIS LAW FIRM
CROFT, GLENDA                  NJ - USDC for the District of New Jersey   3:17-cv-10642         MORRIS LAW FIRM
DANIELS, DEANA                 NJ - USDC for the District of New Jersey   3:17-cv-10753         MORRIS LAW FIRM
DAUGHERTY, DEANN               NJ - USDC for the District of New Jersey   3:17-cv-10646         MORRIS LAW FIRM
DICKENS, CYNTHIA               CA - Superior Court - Santa Clara County   16-cv-297634          MORRIS LAW FIRM
JENSEN, KAREN                  NJ - USDC for the District of New Jersey   3:17-cv-10316         MORRIS LAW FIRM
JUSTICE, PATRICIA              NJ - USDC for the District of New Jersey   3:18-cv-00333         MORRIS LAW FIRM
KLEIN, KAREN                   NJ - USDC for the District of New Jersey   3:17-cv-12376         MORRIS LAW FIRM
MCCLANAHAN, REBECCA            NJ - USDC for the District of New Jersey   3:17-cv-10124         MORRIS LAW FIRM
MCLANAHAN, REBECCA; SHEELEY,
                               CA - Superior Court - Los Angeles County   BC630912              MORRIS LAW FIRM
ALVINA
METZ, SUSAN                    CA - Superior Court - Los Angeles County   BC689870              MORRIS LAW FIRM
MILLER, MARGARET               NJ - USDC for the District of New Jersey   3:17-cv-10206         MORRIS LAW FIRM
NOORDA, GABRIELA               CA - Superior Court - Los Angeles County   BC690361              MORRIS LAW FIRM
RAM, JEANNE                    NJ - USDC for the District of New Jersey   3:17-cv-09829         MORRIS LAW FIRM
SCHMITZ, MICHAELINE            NJ - USDC for the District of New Jersey   3:17-cv-10633         MORRIS LAW FIRM
STEPHANSEN, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-10136         MORRIS LAW FIRM
STEVENS, MINERVA               NJ - USDC for the District of New Jersey   3:18-cv-00844         MORRIS LAW FIRM
WALLER, JANIE                  NJ - USDC for the District of New Jersey   3:18-cv-00465         MORRIS LAW FIRM
WILDSTEIN, CLAIRE              CA - Superior Court - Los Angeles County   BC639264              MORRIS LAW FIRM
WILLIAMS, KATHLEEN             NJ - USDC for the District of New Jersey   3:17-cv-10742         MORRIS LAW FIRM
WINTNER, SARAH                 NJ - USDC for the District of New Jersey   3:21-cv-02819         MORRIS LAW FIRM
WISE, CLAUDETTE                NJ - USDC for the District of New Jersey   3:17-cv-10192         MORRIS LAW FIRM
GRIMES, CAMILLE                NJ - USDC for the District of New Jersey   3:21-cv-01550         MORRIS, CARY, ANDREWS, TALMADGE &
BELENO, BRENDA                 NJ - Superior Court - Middlesex County     MID-L-004687-21       MOTLEY RICE C/O DANIEL LAPINSKI
DOZIER, DONNA                  NJ - Superior Court - Middlesex County     MID-L-005948-21       MOTLEY RICE C/O DANIEL LAPINSKI
MITCHELL, REBECCA              NJ - Superior Court - Middlesex County     MID-L-007360-20       MOTLEY RICE C/O DANIEL LAPINSKI
MOBERS, ELZA                   NJ - Superior Court - Middlesex County     MID-L-005066-21       MOTLEY RICE C/O DANIEL LAPINSKI




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
ANDERSON, MICHELLE        NJ - USDC for the District of New Jersey   3:21-cv-01037         MOTLEY RICE NEW JERSEY LLC
BUCKIE, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-12718         MOTLEY RICE NEW JERSEY LLC
BUENTING, ASHLEY          NJ - USDC for the District of New Jersey   3:21-cv-01024         MOTLEY RICE NEW JERSEY LLC
CARRINO, SUSAN            NJ - Superior Court - Atlantic County      ATL-L-001855-20       MOTLEY RICE NEW JERSEY LLC
CARTHEN, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-00123         MOTLEY RICE NEW JERSEY LLC
CHAPMAN, THERESA          NJ - USDC for the District of New Jersey   3:21-cv-00120         MOTLEY RICE NEW JERSEY LLC
CRAWFORD, SANDRA          NJ - Superior Court - Atlantic County      ATL-L-003103-20       MOTLEY RICE NEW JERSEY LLC
DELAUNE, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-13186         MOTLEY RICE NEW JERSEY LLC
DONAWAY, LUANN            NJ - Superior Court - Atlantic County      ATL-L-001616-21       MOTLEY RICE NEW JERSEY LLC
DUNN, JOANNE              NJ - Superior Court - Atlantic County      ATL-L-002857-21       MOTLEY RICE NEW JERSEY LLC
ELLISON, SHIRLEETA        NJ - Superior Court - Atlantic County      ATL-L-002107-20       MOTLEY RICE NEW JERSEY LLC
EMMANUEL, SVETLANA        NJ - Superior Court - Atlantic County      ATL-L-001971-20       MOTLEY RICE NEW JERSEY LLC
JAGGI, LAEL               NJ - USDC for the District of New Jersey   3:20-cv-14121         MOTLEY RICE NEW JERSEY LLC
KIRK, KIMBERLY            NJ - USDC for the District of New Jersey   3:20-cv-14696         MOTLEY RICE NEW JERSEY LLC
MARTORELLI, CHERYL        NJ - Superior Court - Atlantic County      ATL-L-000326-21       MOTLEY RICE NEW JERSEY LLC
MEHOCHKO, REBECCA         NJ - USDC for the District of New Jersey   3:20-cv-13057         MOTLEY RICE NEW JERSEY LLC
NUNEZ, MARY               NJ - USDC for the District of New Jersey   3:20-cv-13324         MOTLEY RICE NEW JERSEY LLC
OWENS, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-14136         MOTLEY RICE NEW JERSEY LLC
OYEBAMIJI, SHALONDA       NJ - USDC for the District of New Jersey   3:20-cv-13199         MOTLEY RICE NEW JERSEY LLC
RING, DEBBIE              NJ - Superior Court - Atlantic County      ATL-L-001974-20       MOTLEY RICE NEW JERSEY LLC
ROFFMAN, LORRAINE         NJ - Superior Court - Atlantic County      ATL-L-001538-21       MOTLEY RICE NEW JERSEY LLC
WELCH, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-15461         MOTLEY RICE NEW JERSEY LLC
WILES, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-11896         MOTLEY RICE NEW JERSEY LLC
ACKLEY, MICHELE           NJ - USDC for the District of New Jersey   3:20-cv-08115         MOTLEY RICE, LLC
ADAMS, MARIA              NJ - USDC for the District of New Jersey   3:18-cv-10753         MOTLEY RICE, LLC
ADKINS, ANGELA            NJ - USDC for the District of New Jersey   3:18-cv-02159         MOTLEY RICE, LLC
AGRESTA, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-11798         MOTLEY RICE, LLC
AGUDELO, MARISOL          NJ - USDC for the District of New Jersey   3:19-cv-18999         MOTLEY RICE, LLC
ALBERTINE, ANNE           NJ - USDC for the District of New Jersey   3:17-cv-02389         MOTLEY RICE, LLC
ALBRIGHT, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-18254         MOTLEY RICE, LLC
ALTMAN, FLORA             NJ - USDC for the District of New Jersey   3:19-cv-18988         MOTLEY RICE, LLC
ALVERSON, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-01299         MOTLEY RICE, LLC
ALVILLAR, HELEN           NJ - USDC for the District of New Jersey   3:20-cv-04339         MOTLEY RICE, LLC
ANDERSEN, MARSHA          NJ - USDC for the District of New Jersey   3:17-cv-08957         MOTLEY RICE, LLC
ANDERSON, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-06168         MOTLEY RICE, LLC
ANDRADE, VIVIAN           NJ - USDC for the District of New Jersey   3:20-cv-07401         MOTLEY RICE, LLC
ANDRUS, KATHERINE ANN     NJ - USDC for the District of New Jersey   3:17-cv-11831         MOTLEY RICE, LLC
ANGILLETTA, JOAN          NJ - USDC for the District of New Jersey   3:18-cv-08853         MOTLEY RICE, LLC
ANNALORO, LUCILLE         NJ - USDC for the District of New Jersey   3:17-cv-11860         MOTLEY RICE, LLC
APPLEN, VIRGINIA          NJ - USDC for the District of New Jersey   3:19-cv-14140         MOTLEY RICE, LLC
ARDEN, DARLENE            NJ - USDC for the District of New Jersey   3:17-cv-11351         MOTLEY RICE, LLC
ARENZ, DANA               NJ - USDC for the District of New Jersey   3:17-cv-06074         MOTLEY RICE, LLC
ARGUETA, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-14733         MOTLEY RICE, LLC
ARNESEN, ERNA             NJ - USDC for the District of New Jersey   3:19-cv-16358         MOTLEY RICE, LLC
ARNOLD, TERESA            NJ - USDC for the District of New Jersey   3:18-cv-01870         MOTLEY RICE, LLC
AUSTIN, JANICE            NJ - USDC for the District of New Jersey   3:20-cv-14584         MOTLEY RICE, LLC
AUSTIN, SHERONDA          NJ - USDC for the District of New Jersey   3:17-cv-10615         MOTLEY RICE, LLC
AVERY, MILDRED            NJ - USDC for the District of New Jersey   3:21-cv-09963         MOTLEY RICE, LLC
AXELOD, PENNY             NJ - USDC for the District of New Jersey   3:17-cv-08959         MOTLEY RICE, LLC
BARAFF, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-10619         MOTLEY RICE, LLC
BARBER, SONIA             NJ - USDC for the District of New Jersey   3:17-cv-08594         MOTLEY RICE, LLC
BASS, TAMBERLYN           NJ - USDC for the District of New Jersey   3:17-cv-12332         MOTLEY RICE, LLC
BEAUCHAMP, DIANNE         NJ - USDC for the District of New Jersey   3:18-cv-01180         MOTLEY RICE, LLC
BECKER, CARRIE            NJ - USDC for the District of New Jersey   3:20-cv-13395         MOTLEY RICE, LLC
BECKER, MOLLY             NJ - USDC for the District of New Jersey   3:17-cv-06494         MOTLEY RICE, LLC
BEGAY, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-00530         MOTLEY RICE, LLC
BENNETT, GRACE            NJ - USDC for the District of New Jersey   3:17-cv-10618         MOTLEY RICE, LLC
BENSON, ELIN              NJ - USDC for the District of New Jersey   3:17-cv-03153         MOTLEY RICE, LLC
BERKEY, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-17639         MOTLEY RICE, LLC
BERNAL-GARCIA, TAMMY      NJ - USDC for the District of New Jersey   3:19-cv-16438         MOTLEY RICE, LLC
BERNDT, ALICE             NJ - USDC for the District of New Jersey   3:17-cv-10623         MOTLEY RICE, LLC
BERUBE, CLAUDIA           NJ - USDC for the District of New Jersey   3:18-cv-00004         MOTLEY RICE, LLC
BEYS, THALIA              NJ - USDC for the District of New Jersey   3:20-cv-01382         MOTLEY RICE, LLC
BLACK, GENIE              NJ - USDC for the District of New Jersey   3:17-cv-08962         MOTLEY RICE, LLC
BLACK, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-08205         MOTLEY RICE, LLC
BLANCHARD, DAWN           NJ - USDC for the District of New Jersey   3:17-cv-10622         MOTLEY RICE, LLC
BOND, MARION              NJ - USDC for the District of New Jersey   3:18-cv-02160         MOTLEY RICE, LLC
BONTA, MAUREEN            NJ - USDC for the District of New Jersey   3:20-cv-00779         MOTLEY RICE, LLC
BORIS, JUDI               NJ - USDC for the District of New Jersey   3:20-cv-14606         MOTLEY RICE, LLC
BOURQUE, MARY             NJ - USDC for the District of New Jersey   3:20-cv-14654         MOTLEY RICE, LLC
BRASELL, LILA             NJ - USDC for the District of New Jersey   3:17-cv-08964         MOTLEY RICE, LLC
BRODSKY, MAXINE           NJ - USDC for the District of New Jersey   3:18-cv-15727         MOTLEY RICE, LLC
BROWN, DEBORAH            NJ - USDC for the District of New Jersey   3:19-cv-06529         MOTLEY RICE, LLC
BROWN, HELENA             NJ - USDC for the District of New Jersey   3:18-cv-02145         MOTLEY RICE, LLC
BROWN, JUDITH             NJ - USDC for the District of New Jersey   3:19-cv-16837         MOTLEY RICE, LLC
BRUESHABER, KATHLEEN      NJ - USDC for the District of New Jersey   3:17-cv-08966         MOTLEY RICE, LLC
BRYANT, MATTIA (MATTIE)   NJ - USDC for the District of New Jersey   3:20-cv-03237         MOTLEY RICE, LLC
BURGE, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-08967         MOTLEY RICE, LLC
BURGESS, FRANCES          NJ - USDC for the District of New Jersey   3:18-cv-01739         MOTLEY RICE, LLC
BUZA, SUSAN               NJ - USDC for the District of New Jersey   3:17-cv-08969         MOTLEY RICE, LLC




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
CAHOON, DEBRA             NJ - USDC for the District of New Jersey   3:19-cv-18990         MOTLEY RICE, LLC
CALASARA, ELMA            NJ - USDC for the District of New Jersey   3:19-cv-16232         MOTLEY RICE, LLC
CANNON, ELDORA            NJ - USDC for the District of New Jersey   3:20-cv-03720         MOTLEY RICE, LLC
CARTER, FLORA             NJ - USDC for the District of New Jersey   3:17-cv-01850         MOTLEY RICE, LLC
CARTER, GLORIA            NJ - USDC for the District of New Jersey   3:17-cv-09152         MOTLEY RICE, LLC
CASTELLO, MAUREEN         NJ - USDC for the District of New Jersey   3:20-cv-14168         MOTLEY RICE, LLC
CAVICCHIO, JACQUELINE     NJ - USDC for the District of New Jersey   3:18-cv-16165         MOTLEY RICE, LLC
CELAURO, LUIGIA           NJ - USDC for the District of New Jersey   3:20-cv-02299         MOTLEY RICE, LLC
CHAKALOS, JANICE          NJ - USDC for the District of New Jersey   3:14-cv-07079         MOTLEY RICE, LLC
CHANTHAPANYA, DAVAHN      NJ - USDC for the District of New Jersey   3:17-cv-05853         MOTLEY RICE, LLC
CHAPPELL, REBBECCA        NJ - USDC for the District of New Jersey   3:18-cv-03936         MOTLEY RICE, LLC
CHAVEZ, SONIA             NJ - USDC for the District of New Jersey   3:20-cv-05773         MOTLEY RICE, LLC
CHERRY, MARTHA            NJ - USDC for the District of New Jersey   3:20-cv-09862         MOTLEY RICE, LLC
CLARK, ROBBIE             NJ - USDC for the District of New Jersey   3:17-cv-08971         MOTLEY RICE, LLC
COBBS-GREEN, ANDREA       NJ - USDC for the District of New Jersey   3:19-cv-20216         MOTLEY RICE, LLC
COLE, MASHEILA            NJ - USDC for the District of New Jersey   3:19-cv-19393         MOTLEY RICE, LLC
COLLINS, KATHY            NJ - USDC for the District of New Jersey   3:17-cv-12298         MOTLEY RICE, LLC
COMBS, CINDY              NJ - USDC for the District of New Jersey   3:18-cv-01595         MOTLEY RICE, LLC
CORLEY, TERESAS           NJ - USDC for the District of New Jersey   3:18-cv-01972         MOTLEY RICE, LLC
COTE, TABATHA             NJ - USDC for the District of New Jersey   3:18-cv-01982         MOTLEY RICE, LLC
COX, ROBERTA              NJ - USDC for the District of New Jersey   3:18-cv-15293         MOTLEY RICE, LLC
CRAWFORD, BEVERLY         NJ - USDC for the District of New Jersey   3:19-cv-20263         MOTLEY RICE, LLC
CUKOVIC, ALEKSANDRA       NJ - USDC for the District of New Jersey   3:20-cv-03374         MOTLEY RICE, LLC
CUNNINGHAM, VIRGINIA      NJ - USDC for the District of New Jersey   3:20-cv-03410         MOTLEY RICE, LLC
CURRY, RANDI              NJ - USDC for the District of New Jersey   3:19-cv-19321         MOTLEY RICE, LLC
CZAPANSKY, BETTIE         NJ - USDC for the District of New Jersey   3:21-cv-00086         MOTLEY RICE, LLC
DAUGHTRY, TERESA          NJ - USDC for the District of New Jersey   3:18-cv-15270         MOTLEY RICE, LLC
DAVIDSON, ELAINE          NJ - USDC for the District of New Jersey   3:20-cv-02322         MOTLEY RICE, LLC
DAVIS, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-04424         MOTLEY RICE, LLC
DEFFLER, SARA             NJ - USDC for the District of New Jersey   3:18-cv-01156         MOTLEY RICE, LLC
DEROSE, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-07981         MOTLEY RICE, LLC
DICARLO, RITA             NJ - USDC for the District of New Jersey   3:17-cv-05855         MOTLEY RICE, LLC
DILLARD, MICHELLE         NJ - USDC for the District of New Jersey   3:18-cv-04400         MOTLEY RICE, LLC
DIXON, JANICE             NJ - USDC for the District of New Jersey   3:18-cv-02268         MOTLEY RICE, LLC
DIXON, ZELINDA            NJ - USDC for the District of New Jersey   3:18-cv-01105         MOTLEY RICE, LLC
DORAN, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-03380         MOTLEY RICE, LLC
DOUGHERTY, ROBERTA        NJ - USDC for the District of New Jersey   3:19-cv-18587         MOTLEY RICE, LLC
DOUGLAS, MARY             NJ - USDC for the District of New Jersey   3:19-cv-19416         MOTLEY RICE, LLC
DOUGLAS, MAUREEN          NJ - USDC for the District of New Jersey   3:17-cv-12296         MOTLEY RICE, LLC
DUCKSWORTH, SHERRON       NJ - USDC for the District of New Jersey   3:18-cv-10757         MOTLEY RICE, LLC
DUNBAR, PEGGY             NJ - USDC for the District of New Jersey   3:17-cv-05710         MOTLEY RICE, LLC
DURRANCE, BARBARA         NJ - USDC for the District of New Jersey   3:18-cv-16183         MOTLEY RICE, LLC
DYE, KATHLEEN             NJ - USDC for the District of New Jersey   3:17-cv-12226         MOTLEY RICE, LLC
EASON, ONNETA             NJ - USDC for the District of New Jersey   3:20-cv-03111         MOTLEY RICE, LLC
EASTMAN, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-13830         MOTLEY RICE, LLC
ELDRIDGE, CAROL           NJ - USDC for the District of New Jersey   3:19-cv-20127         MOTLEY RICE, LLC
ELLIS, PAULA              NJ - USDC for the District of New Jersey   3:20-cv-07400         MOTLEY RICE, LLC
ENGEL, JAMIE              NJ - USDC for the District of New Jersey   3:17-cv-02998         MOTLEY RICE, LLC
ERICKSON, GERALYN         NJ - USDC for the District of New Jersey   3:17-cv-09955         MOTLEY RICE, LLC
ERSKINE, JEAN             NJ - USDC for the District of New Jersey   3:19-cv-20145         MOTLEY RICE, LLC
FARLEY, ELIZABETH         NJ - USDC for the District of New Jersey   3:19-cv-20499         MOTLEY RICE, LLC
FARMER, TIA               NJ - USDC for the District of New Jersey   3:20-cv-06830         MOTLEY RICE, LLC
FARR, HEIDI               NJ - USDC for the District of New Jersey   3:19-cv-19255         MOTLEY RICE, LLC
FEMMINELLA, JOAN          NJ - USDC for the District of New Jersey   3:17-cv-05860         MOTLEY RICE, LLC
FERNANDEZ, JACKELINE      NJ - USDC for the District of New Jersey   3:18-cv-10755         MOTLEY RICE, LLC
FERRELL, HELEN            NJ - USDC for the District of New Jersey   3:18-cv-00992         MOTLEY RICE, LLC
FIELDS, TRACEY            NJ - USDC for the District of New Jersey   3:19-cv-18895         MOTLEY RICE, LLC
FINN, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-00082         MOTLEY RICE, LLC
FISHER, MITZIE            NJ - USDC for the District of New Jersey   3:17-cv-12382         MOTLEY RICE, LLC
FITZGERALD, RANAE         NJ - USDC for the District of New Jersey   3:17-cv-08973         MOTLEY RICE, LLC
FLASHMAN, LINDA           NJ - USDC for the District of New Jersey   3:18-cv-02607         MOTLEY RICE, LLC
FLOOD, ANITA              NJ - USDC for the District of New Jersey   3:17-cv-04855         MOTLEY RICE, LLC
FLORES, CARMEN            NJ - USDC for the District of New Jersey   3:20-cv-06295         MOTLEY RICE, LLC
FOLDS, BEVERLY            NJ - USDC for the District of New Jersey   3:18-cv-01993         MOTLEY RICE, LLC
FRANKLIN, SHERRY          NJ - USDC for the District of New Jersey   3:17-cv-05861         MOTLEY RICE, LLC
FREEMAN, DONNARAE         NJ - USDC for the District of New Jersey   3:19-cv-16405         MOTLEY RICE, LLC
FULLER, ROBIN             NJ - USDC for the District of New Jersey   3:18-cv-02606         MOTLEY RICE, LLC
GAGLIARDI, MARY           NJ - USDC for the District of New Jersey   3:21-cv-08551         MOTLEY RICE, LLC
GALLEGOS, TERESA          NJ - USDC for the District of New Jersey   3:19-cv-19532         MOTLEY RICE, LLC
GHAFARY, MARYAM           NJ - USDC for the District of New Jersey   3:19-cv-17651         MOTLEY RICE, LLC
GILES, VALERIE            NJ - USDC for the District of New Jersey   3:18-cv-10327         MOTLEY RICE, LLC
GLEISSNER, KATHLEEN       NJ - USDC for the District of New Jersey   3:18-cv-01627         MOTLEY RICE, LLC
GLOVER, MALINDA           NJ - USDC for the District of New Jersey   3:18-cv-16866         MOTLEY RICE, LLC
GOLOSEWSKI, MARY          NJ - USDC for the District of New Jersey   3:18-cv-02152         MOTLEY RICE, LLC
GONZALEZ, ANGELA          NJ - USDC for the District of New Jersey   3:20-cv-01413         MOTLEY RICE, LLC
GOODS, LOLITA             NJ - USDC for the District of New Jersey   3:20-cv-01376         MOTLEY RICE, LLC
GRADY, JACQUELYN          NJ - USDC for the District of New Jersey   3:17-cv-03425         MOTLEY RICE, LLC
GRAHAM, BILLIE            NJ - USDC for the District of New Jersey   3:20-cv-03465         MOTLEY RICE, LLC
GRANA, CATHERINE          NJ - USDC for the District of New Jersey   3:19-cv-11719         MOTLEY RICE, LLC
GRAVES, CHRISTINE         NJ - USDC for the District of New Jersey   3:17-cv-12227         MOTLEY RICE, LLC




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
GREEN, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-03868         MOTLEY RICE, LLC
GRIFFITH, DIANA           NJ - USDC for the District of New Jersey   3:20-cv-03416         MOTLEY RICE, LLC
GROFF, ELMAS              NJ - USDC for the District of New Jersey   3:18-cv-02271         MOTLEY RICE, LLC
GROOVER, PENNY            NJ - USDC for the District of New Jersey   3:19-cv-20411         MOTLEY RICE, LLC
GUIDRY, MARY              NJ - USDC for the District of New Jersey   3:17-cv-07260         MOTLEY RICE, LLC
GUNTER, TANYA             NJ - USDC for the District of New Jersey   3:19-cv-17649         MOTLEY RICE, LLC
GUPTILL, MARY             NJ - USDC for the District of New Jersey   3:17-cv-05869         MOTLEY RICE, LLC
HAINS, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-02127         MOTLEY RICE, LLC
HALEY, BETHANY            NJ - USDC for the District of New Jersey   3:21-cv-11196         MOTLEY RICE, LLC
HAMBY, SHAWNA             NJ - USDC for the District of New Jersey   3:20-cv-01375         MOTLEY RICE, LLC
HANDER, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-11522         MOTLEY RICE, LLC
HARDEE, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-11824         MOTLEY RICE, LLC
HARTMAN, MARCELLA         NJ - USDC for the District of New Jersey   3:18-cv-01351         MOTLEY RICE, LLC
HARVEY, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-00305         MOTLEY RICE, LLC
HAYDEN, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-07932         MOTLEY RICE, LLC
HENDON, ALICE             NJ - USDC for the District of New Jersey   3:17-cv-11928         MOTLEY RICE, LLC
HENSON, DENISE            NJ - USDC for the District of New Jersey   3:20-cv-09131         MOTLEY RICE, LLC
HERNANDEZ, MARIA          NJ - USDC for the District of New Jersey   3:18-cv-02277         MOTLEY RICE, LLC
HICKS, VICKIE             NJ - USDC for the District of New Jersey   3:19-cv-20580         MOTLEY RICE, LLC
HILL, CHARLOTTE           NJ - USDC for the District of New Jersey   3:20-cv-04857         MOTLEY RICE, LLC
HIRSCH, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-02298         MOTLEY RICE, LLC
HOLLOWAY, TERRI           NJ - USDC for the District of New Jersey   3:17-cv-07519         MOTLEY RICE, LLC
HONG, SEUNG               NJ - USDC for the District of New Jersey   3:17-cv-10627         MOTLEY RICE, LLC
HUBBARD, HELEN            NJ - USDC for the District of New Jersey   3:18-cv-08861         MOTLEY RICE, LLC
HUNSAKER, PAMELA          NJ - USDC for the District of New Jersey   3:17-cv-12059         MOTLEY RICE, LLC
ITALIANO, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-14490         MOTLEY RICE, LLC
IVERS, EILEEN             NJ - USDC for the District of New Jersey   3:21-cv-08555         MOTLEY RICE, LLC
JACKSON, BETTIE           NJ - USDC for the District of New Jersey   3:19-cv-20506         MOTLEY RICE, LLC
JACKSON, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-09265         MOTLEY RICE, LLC
JACKSON, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-11832         MOTLEY RICE, LLC
JACKSON, TAMEKA           NJ - USDC for the District of New Jersey   3:20-cv-06826         MOTLEY RICE, LLC
JACOBSON, ANGELA          NJ - USDC for the District of New Jersey   3:20-cv-00082         MOTLEY RICE, LLC
JEFFERS, ANTONIA          NJ - USDC for the District of New Jersey   3:20-cv-05226         MOTLEY RICE, LLC
JENNETTE, CARMEN          NJ - USDC for the District of New Jersey   3:17-cv-12051         MOTLEY RICE, LLC
JOHNSON, MELISSA          NJ - USDC for the District of New Jersey   3:18-cv-09900         MOTLEY RICE, LLC
JUNES, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-14064         MOTLEY RICE, LLC
KACHELHOFFER, AUDREY      NJ - USDC for the District of New Jersey   3:20-cv-06484         MOTLEY RICE, LLC
KAUFMAN, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-02864         MOTLEY RICE, LLC
KELLEY, MARY              NJ - USDC for the District of New Jersey   3:20-cv-02302         MOTLEY RICE, LLC
KELLY, MARY ROSE          NJ - USDC for the District of New Jersey   3:20-cv-06591         MOTLEY RICE, LLC
KINDLEY, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-05871         MOTLEY RICE, LLC
KIRBY, LAUREN             NJ - USDC for the District of New Jersey   3:19-cv-04775         MOTLEY RICE, LLC
KIRKWOOD, LESSIE          NJ - USDC for the District of New Jersey   3:20-cv-14734         MOTLEY RICE, LLC
KLEIN, BETTY              NJ - USDC for the District of New Jersey   3:17-cv-08977         MOTLEY RICE, LLC
KLUG, RITA                NJ - USDC for the District of New Jersey   3:21-cv-11201         MOTLEY RICE, LLC
KOONS, JACKLYN            NJ - USDC for the District of New Jersey   3:20-cv-06386         MOTLEY RICE, LLC
KUDEK, JOYCE              NJ - USDC for the District of New Jersey   3:17-cv-06788         MOTLEY RICE, LLC
KUROWSKI, BRENDA          NJ - USDC for the District of New Jersey   3:18-cv-09934         MOTLEY RICE, LLC
LAND, BARABA              NJ - USDC for the District of New Jersey   3:18-cv-02184         MOTLEY RICE, LLC
LANDRETH, BOBBIE          NJ - USDC for the District of New Jersey   3:17-cv-11788         MOTLEY RICE, LLC
LANEAR, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-11348         MOTLEY RICE, LLC
LARGE, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-00071         MOTLEY RICE, LLC
LARSEN, RANDI             NJ - USDC for the District of New Jersey   3:17-cv-06206         MOTLEY RICE, LLC
LASTER, CONNIE            NJ - USDC for the District of New Jersey   3:17-cv-12724         MOTLEY RICE, LLC
LEE, CYNTHIA              NJ - USDC for the District of New Jersey   3:21-cv-09996         MOTLEY RICE, LLC
LEPPIG, MARY              NJ - USDC for the District of New Jersey   3:20-cv-02516         MOTLEY RICE, LLC
LEWANDOWSKI, LOUISE       NJ - USDC for the District of New Jersey   3:19-cv-18342         MOTLEY RICE, LLC
LICON, DORA               NJ - USDC for the District of New Jersey   3:18-cv-02263         MOTLEY RICE, LLC
LINDGREN, KELLY           NJ - USDC for the District of New Jersey   3:18-cv-01170         MOTLEY RICE, LLC
LOGOZZO, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-01873         MOTLEY RICE, LLC
LONG, VIRGINIA            NJ - USDC for the District of New Jersey   3:19-cv-13783         MOTLEY RICE, LLC
LOPEZ, MARGEAUX           NJ - USDC for the District of New Jersey   3:18-cv-03386         MOTLEY RICE, LLC
LUNA, JESSICA             NJ - USDC for the District of New Jersey   3:17-cv-12324         MOTLEY RICE, LLC
LUND, JANE                NJ - USDC for the District of New Jersey   3:18-cv-00950         MOTLEY RICE, LLC
MAGID, JOYCE              NJ - USDC for the District of New Jersey   3:18-cv-14351         MOTLEY RICE, LLC
MARINACCIO, BONITA        NJ - USDC for the District of New Jersey   3:17-cv-05873         MOTLEY RICE, LLC
MARTIN, DIANNE            NJ - USDC for the District of New Jersey   3:20-cv-05561         MOTLEY RICE, LLC
MARTIN, MARJORY           NJ - USDC for the District of New Jersey   3:17-cv-08177         MOTLEY RICE, LLC
MARTINEZ, LINDALEE        NJ - USDC for the District of New Jersey   3:21-cv-09997         MOTLEY RICE, LLC
MARZKA, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-13985         MOTLEY RICE, LLC
MASTRIPPOLITO, KIMBERLY   NJ - USDC for the District of New Jersey   3:21-cv-02013         MOTLEY RICE, LLC
MATTHEY, PATRICIA         FL - Circuit Court - Sarasota County       2018CA004809          MOTLEY RICE, LLC
MATTHEY, PATRICIA         FL - Circuit Court - Sarasota County       2018CA004809          MOTLEY RICE, LLC
MAXSON, JILL              NJ - USDC for the District of New Jersey   3:19-cv-04777         MOTLEY RICE, LLC
MCCANN, BRITTANY          NJ - USDC for the District of New Jersey   3:20-cv-09398         MOTLEY RICE, LLC
MCCOY, TRACY              NJ - USDC for the District of New Jersey   3:19-cv-19614         MOTLEY RICE, LLC
MCENDREE, CONNIE          NJ - USDC for the District of New Jersey   3:19-cv-19616         MOTLEY RICE, LLC
MCKNIGHT, ANN             NJ - USDC for the District of New Jersey   3:17-cv-02399         MOTLEY RICE, LLC
MCLAUGHLIN, LISA          NJ - USDC for the District of New Jersey   3:17-cv-07706         MOTLEY RICE, LLC
MCLAURIN, CYNTHIA         NJ - USDC for the District of New Jersey   3:18-cv-02266         MOTLEY RICE, LLC




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          Claimant Name                     State Filed                     Docket Number                Plaintiff Counsel
MCNAMARA, BONNIE           NJ - USDC for the District of New Jersey   3:17-cv-10625         MOTLEY RICE, LLC
MCWATTY, LORNA             NJ - USDC for the District of New Jersey   3:17-cv-05906         MOTLEY RICE, LLC
MENDEZ, NILDA              NJ - USDC for the District of New Jersey   3:18-cv-02161         MOTLEY RICE, LLC
MENDICINO, LORI            NJ - USDC for the District of New Jersey   3:21-cv-06025         MOTLEY RICE, LLC
MEYERS, DESIREE            NJ - USDC for the District of New Jersey   3:21-cv-08520         MOTLEY RICE, LLC
MIGHELLS, CHARMAINE        NJ - USDC for the District of New Jersey   3:17-cv-11779         MOTLEY RICE, LLC
MIKULA, WENDY              NJ - USDC for the District of New Jersey   3:20-cv-02500         MOTLEY RICE, LLC
MILWOOD, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-04819         MOTLEY RICE, LLC
MISURA, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-07612         MOTLEY RICE, LLC
MOELLENDORF, MARALEE       NJ - USDC for the District of New Jersey   3:20-cv-14160         MOTLEY RICE, LLC
MOLLERE, BEATRIZ           NJ - USDC for the District of New Jersey   3:18-cv-02285         MOTLEY RICE, LLC
MOLLOY, VICKI              NJ - USDC for the District of New Jersey   3:17-cv-08514         MOTLEY RICE, LLC
MOODY, ANN                 NJ - USDC for the District of New Jersey   3:18-cv-02605         MOTLEY RICE, LLC
MOORE, PHYLLIS             NJ - USDC for the District of New Jersey   3:18-cv-01655         MOTLEY RICE, LLC
MOORE, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-09133         MOTLEY RICE, LLC
MORGAN, CATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-05680         MOTLEY RICE, LLC
MURPHY, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-11785         MOTLEY RICE, LLC
MYERS, PHYLLIS             NJ - USDC for the District of New Jersey   3:17-cv-06786         MOTLEY RICE, LLC
NIELSON, MARY              NJ - USDC for the District of New Jersey   3:17-cv-11783         MOTLEY RICE, LLC
NOLAN, VERONICA            NJ - USDC for the District of New Jersey   3:19-cv-15350         MOTLEY RICE, LLC
NOULLET, BETTY             NJ - USDC for the District of New Jersey   3:18-cv-02150         MOTLEY RICE, LLC
OGLETREE, RITA             NJ - USDC for the District of New Jersey   3:17-cv-05874         MOTLEY RICE, LLC
ONEAL, BONNIE              NJ - USDC for the District of New Jersey   3:20-cv-02258         MOTLEY RICE, LLC
ONEILL, KATHLEEN           NJ - USDC for the District of New Jersey   3:20-cv-05714         MOTLEY RICE, LLC
ORTIZ, GLADYS              NJ - USDC for the District of New Jersey   3:18-cv-17636         MOTLEY RICE, LLC
ORTIZ, SHERLEEN            NJ - USDC for the District of New Jersey   3:17-cv-13179         MOTLEY RICE, LLC
OVIEDO, MARIA              CA - Superior Court - Los Angeles County   CVPO1871861           MOTLEY RICE, LLC
PAGE, TINA                 NJ - USDC for the District of New Jersey   3:19-cv-20482         MOTLEY RICE, LLC
PARK, ROSA                 NJ - USDC for the District of New Jersey   3:18-cv-01808         MOTLEY RICE, LLC
PARSONS, DORIS             NJ - USDC for the District of New Jersey   3:18-cv-10190         MOTLEY RICE, LLC
PATRICK, ANGELA            NJ - USDC for the District of New Jersey   3:19-cv-19376         MOTLEY RICE, LLC
PATTON, PENNY              NJ - USDC for the District of New Jersey   3:18-cv-01163         MOTLEY RICE, LLC
PERKS, MARY                NJ - USDC for the District of New Jersey   3:17-cv-11755         MOTLEY RICE, LLC
PESICEK, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-09910         MOTLEY RICE, LLC
PETERSEN, JUDITH           NJ - USDC for the District of New Jersey   3:18-cv-00892         MOTLEY RICE, LLC
PETERSON, MARILEE          NJ - USDC for the District of New Jersey   3:18-cv-09028         MOTLEY RICE, LLC
PIZINGER, CARYL            NJ - USDC for the District of New Jersey   3:20-cv-09547         MOTLEY RICE, LLC
PROVITT, TIFFANY           NJ - USDC for the District of New Jersey   3:17-cv-08980         MOTLEY RICE, LLC
PULIDO, BERTHA             NJ - USDC for the District of New Jersey   3:20-cv-02560         MOTLEY RICE, LLC
QUILES, NINA               NJ - USDC for the District of New Jersey   3:18-cv-01108         MOTLEY RICE, LLC
RALEY, JOHNNYE             NJ - USDC for the District of New Jersey   3:18-cv-17488         MOTLEY RICE, LLC
RASHBA, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-04282         MOTLEY RICE, LLC
RENN, JERRY                NJ - USDC for the District of New Jersey   3:17-cv-02856         MOTLEY RICE, LLC
RICE, CAROL                NJ - USDC for the District of New Jersey   3:18-cv-01849         MOTLEY RICE, LLC
RICE, DEBRA                NJ - USDC for the District of New Jersey   3:19-cv-16446         MOTLEY RICE, LLC
ROBERTS, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-03950         MOTLEY RICE, LLC
RODRIGUEZ-GARCIA, LAYNYS   NJ - USDC for the District of New Jersey   3:20-cv-02300         MOTLEY RICE, LLC
ROGERS, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-06675         MOTLEY RICE, LLC
ROSPOND, GABRIELA          NJ - USDC for the District of New Jersey   3:18-cv-02600         MOTLEY RICE, LLC
ROSS, CAROL                NJ - USDC for the District of New Jersey   3:20-cv-08236         MOTLEY RICE, LLC
ROWLAND, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-05852         MOTLEY RICE, LLC
RUSSELL, KATHRYN           NJ - USDC for the District of New Jersey   3:18-cv-00979         MOTLEY RICE, LLC
RUSSO, SHAWNA              NJ - USDC for the District of New Jersey   3:20-cv-06797         MOTLEY RICE, LLC
SAMUELS, DEBORA            NJ - USDC for the District of New Jersey   3:20-cv-01378         MOTLEY RICE, LLC
SANTIAGO, MAYRA            NJ - USDC for the District of New Jersey   3:21-cv-10135         MOTLEY RICE, LLC
SAUCER, LORI               NJ - USDC for the District of New Jersey   3:18-cv-02002         MOTLEY RICE, LLC
SAVAGE, RACHEL             NJ - USDC for the District of New Jersey   3:21-cv-12595         MOTLEY RICE, LLC
SAWYERS, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-00378         MOTLEY RICE, LLC
SCAFURI, LORETTA           NJ - USDC for the District of New Jersey   3:18-cv-12240         MOTLEY RICE, LLC
SCHAPIRO, LIQUN            NJ - USDC for the District of New Jersey   3:17-cv-12726         MOTLEY RICE, LLC
SCHIEFER, PAULINE          NJ - USDC for the District of New Jersey   3:18-cv-10175         MOTLEY RICE, LLC
SCHNECK, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-02609         MOTLEY RICE, LLC
SEMITKA, NINA              NJ - USDC for the District of New Jersey   3:17-cv-08984         MOTLEY RICE, LLC
SEMMER, KATRINA            NJ - USDC for the District of New Jersey   3:19-cv-11762         MOTLEY RICE, LLC
SESKIN, MARILYN            FL - Circuit Court - Miami Dade County     19-17627CA01          MOTLEY RICE, LLC
SESKIN, MARILYN            FL - Circuit Court - Miami Dade County     19-17627CA01          MOTLEY RICE, LLC
SHIVELY, HOLLY             NJ - USDC for the District of New Jersey   3:20-cv-12326         MOTLEY RICE, LLC
SHUMAN, TRACEY             NJ - USDC for the District of New Jersey   3:20-cv-02270         MOTLEY RICE, LLC
SIEMEN, TINA               NJ - USDC for the District of New Jersey   3:20-cv-09603         MOTLEY RICE, LLC
SILVERMAN, WENDY           NJ - USDC for the District of New Jersey   3:18-cv-12251         MOTLEY RICE, LLC
SIMMONS, WYNETTE           NJ - USDC for the District of New Jersey   3:17-cv-08901         MOTLEY RICE, LLC
SIMON, BARBARA             NJ - USDC for the District of New Jersey   3:18-cv-02727         MOTLEY RICE, LLC
SIMON, HEIDI               NJ - USDC for the District of New Jersey   3:17-cv-12228         MOTLEY RICE, LLC
SIMPKINS, SUZANNE          NJ - USDC for the District of New Jersey   3:19-cv-20548         MOTLEY RICE, LLC
SIZEMORE, MARCELLA         NJ - USDC for the District of New Jersey   3:20-cv-06287         MOTLEY RICE, LLC
SLAVIN, ELYSE              NJ - USDC for the District of New Jersey   3:20-cv-14228         MOTLEY RICE, LLC
SMITH, CYNTHIA             NJ - USDC for the District of New Jersey   3:20-cv-14066         MOTLEY RICE, LLC
SMITH, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-01298         MOTLEY RICE, LLC
SMITH, JACQUALYN JOHNSON   NJ - USDC for the District of New Jersey   3:20-cv-05621         MOTLEY RICE, LLC
SMITH, SHIRLEY             NJ - USDC for the District of New Jersey   3:19-cv-00104         MOTLEY RICE, LLC




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
SNIDER, TONIA             NJ - USDC for the District of New Jersey   3:18-cv-02149         MOTLEY RICE, LLC
SOMMER-KRESSE, SUE        NJ - USDC for the District of New Jersey   3:18-cv-02603         MOTLEY RICE, LLC
SOSA, MARIA               NJ - USDC for the District of New Jersey   3:19-cv-00521         MOTLEY RICE, LLC
SOTELLO, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-04340         MOTLEY RICE, LLC
STACKMAN, GAIL            NJ - USDC for the District of New Jersey   3:20-cv-05709         MOTLEY RICE, LLC
STARR, VICKIE             NJ - USDC for the District of New Jersey   3:20-cv-06500         MOTLEY RICE, LLC
STEVENSON, LINDA          NJ - USDC for the District of New Jersey   3:19-cv-21679         MOTLEY RICE, LLC
STEWARD, MILDRED          NJ - USDC for the District of New Jersey   3:20-cv-02274         MOTLEY RICE, LLC
STIDHAM, BOBBI            NJ - USDC for the District of New Jersey   3:21-cv-11246         MOTLEY RICE, LLC
STRONG, WANDA             NJ - USDC for the District of New Jersey   3:17-cv-08991         MOTLEY RICE, LLC
SUMMERSET, PRISCILLA      NJ - USDC for the District of New Jersey   3:19-cv-18659         MOTLEY RICE, LLC
TERREBONNE, JOYCELYN      NJ - USDC for the District of New Jersey   3:19-cv-19262         MOTLEY RICE, LLC
THERIOT, NANCY            NJ - USDC for the District of New Jersey   3:18-cv-01862         MOTLEY RICE, LLC
THOMAS, TANYA             NJ - USDC for the District of New Jersey   3:20-cv-06766         MOTLEY RICE, LLC
THOMPSON, HELEN           NJ - USDC for the District of New Jersey   3:20-cv-13840         MOTLEY RICE, LLC
THORN, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-00318         MOTLEY RICE, LLC
THURMOND, MARGARET        NJ - USDC for the District of New Jersey   3:20-cv-01935         MOTLEY RICE, LLC
TODD, FRANCES             NJ - USDC for the District of New Jersey   3:19-cv-21461         MOTLEY RICE, LLC
TOLBERT, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-01401         MOTLEY RICE, LLC
TOMESCH, EDWINA           NJ - USDC for the District of New Jersey   3:19-cv-22235         MOTLEY RICE, LLC
TONEY, HELENE             NJ - USDC for the District of New Jersey   3:19-cv-16357         MOTLEY RICE, LLC
TRACY, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-07705         MOTLEY RICE, LLC
TULEO, GERALDINE          NJ - USDC for the District of New Jersey   3:18-cv-01304         MOTLEY RICE, LLC
ULMER, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-10756         MOTLEY RICE, LLC
UNDERWOOD, ANN            NJ - USDC for the District of New Jersey   3:17-cv-00096         MOTLEY RICE, LLC
UPSHUR, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-02119         MOTLEY RICE, LLC
VANNA, DAWN               NJ - USDC for the District of New Jersey   3:17-cv-08993         MOTLEY RICE, LLC
VANTELL, ALBERTA          NJ - USDC for the District of New Jersey   3:19-cv-21078         MOTLEY RICE, LLC
VIENT, JACKY              NJ - USDC for the District of New Jersey   3:17-cv-05847         MOTLEY RICE, LLC
VORELL, LOUISE            NJ - USDC for the District of New Jersey   3:20-cv-03060         MOTLEY RICE, LLC
WALLACE, WANDA            NJ - USDC for the District of New Jersey   3:18-cv-01391         MOTLEY RICE, LLC
WALTERS, SHELLI           NJ - USDC for the District of New Jersey   3:18-cv-17651         MOTLEY RICE, LLC
WALTON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-00707         MOTLEY RICE, LLC
WATERS, CORIENA           NJ - USDC for the District of New Jersey   3:17-cv-12297         MOTLEY RICE, LLC
WATTERS, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-14166         MOTLEY RICE, LLC
WHITE, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-08994         MOTLEY RICE, LLC
WHOBREY, SARAH            NJ - USDC for the District of New Jersey   3:17-cv-08996         MOTLEY RICE, LLC
WILLIAMS, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-08406         MOTLEY RICE, LLC
WILLIAMS, MARY            NJ - USDC for the District of New Jersey   3:20-cv-06603         MOTLEY RICE, LLC
WILLIAMS, NADINE          NJ - USDC for the District of New Jersey   3:18-cv-00995         MOTLEY RICE, LLC
WILLIAMS, PERRY           NJ - USDC for the District of New Jersey   3:18-cv-00984         MOTLEY RICE, LLC
WILLIAMS, SAMMI           NJ - USDC for the District of New Jersey   3:19-cv-18335         MOTLEY RICE, LLC
WILSON, BEVERLY           NJ - USDC for the District of New Jersey   3:18-cv-17652         MOTLEY RICE, LLC
WIMMER, TAMMY             NJ - USDC for the District of New Jersey   3:20-cv-03749         MOTLEY RICE, LLC
WINDHAM, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-10212         MOTLEY RICE, LLC
WOLFRAM, MARY             NJ - USDC for the District of New Jersey   3:20-cv-03751         MOTLEY RICE, LLC
YARDLEY, MARY             NJ - USDC for the District of New Jersey   3:19-cv-00475         MOTLEY RICE, LLC
YOUNGBLOOD, DORIS         NJ - USDC for the District of New Jersey   3:19-cv-18275         MOTLEY RICE, LLC
BAKSH, KAREEMA            NJ - USDC for the District of New Jersey   3:19-cv-06518         MUELLER LAW PLLC
BEEKS, CRYSTAL            NJ - USDC for the District of New Jersey   3:19-cv-05024         MUELLER LAW PLLC
BEHLER, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-03355         MUELLER LAW PLLC
BERRY, MARY               NJ - USDC for the District of New Jersey   3:20-cv-18405         MUELLER LAW PLLC
CAMARILLO, CHRISTINE      NJ - USDC for the District of New Jersey   3:20-cv-09415         MUELLER LAW PLLC
CANO, MELISSA             NJ - USDC for the District of New Jersey   3:18-cv-17747         MUELLER LAW PLLC
CARDELLA, SHELLY          NJ - USDC for the District of New Jersey   3:19-cv-20025         MUELLER LAW PLLC
CARTER, LYNETTE           NJ - USDC for the District of New Jersey   3:20-cv-18325         MUELLER LAW PLLC
CORDER-JONES, WANDA       NJ - USDC for the District of New Jersey   3:19-cv-20024         MUELLER LAW PLLC
DEMOTTE, MARY             NJ - USDC for the District of New Jersey   3:19-cv-21454         MUELLER LAW PLLC
DIXON, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-00141         MUELLER LAW PLLC
DRISCOLL, COLLEEN         NJ - USDC for the District of New Jersey   3:17-cv-09181         MUELLER LAW PLLC
FOSTER, ROBIN             NJ - USDC for the District of New Jersey   3:18-cv-09975         MUELLER LAW PLLC
FUTERMAN, DIANE           NJ - USDC for the District of New Jersey   3:18-cv-14825         MUELLER LAW PLLC
GRAY, YOLANDA             NJ - USDC for the District of New Jersey   3:19-cv-20029         MUELLER LAW PLLC
GREENWOOD, BUNNIA         NJ - USDC for the District of New Jersey   3:19-cv-06506         MUELLER LAW PLLC
GRUBB, JEAN               NJ - USDC for the District of New Jersey   3:19-cv-20006         MUELLER LAW PLLC
GRUSH, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-15862         MUELLER LAW PLLC
                          PA - Philadelphia County Court of Common
GUTHRIE, BETTY                                                       181100269             MUELLER LAW PLLC
                          Pleas
HANSON, MELISSA           NJ - USDC for the District of New Jersey   3:19-cv-12417         MUELLER LAW PLLC
HARTUNG, DIANE            NJ - USDC for the District of New Jersey   3:19-cv-20027         MUELLER LAW PLLC
HERRELL, JUDY             NJ - USDC for the District of New Jersey   3:19-cv-05739         MUELLER LAW PLLC
HICKS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-01868         MUELLER LAW PLLC
HIGGINS, MARGARET         NJ - USDC for the District of New Jersey   3:18-cv-12796         MUELLER LAW PLLC
HOGELAND, ANGELA          NJ - USDC for the District of New Jersey   3:19-cv-20028         MUELLER LAW PLLC
JOHNSTON, MARGUERITA      NJ - USDC for the District of New Jersey   3:19-cv-18021         MUELLER LAW PLLC
JONES, SONJA-RENEE        NJ - USDC for the District of New Jersey   3:20-cv-13527         MUELLER LAW PLLC
                          PA - Philadelphia County Court of Common
KITTRELL, BETTY                                                      200602117             MUELLER LAW PLLC
                          Pleas
KUYKENDALL, LINDA         NJ - USDC for the District of New Jersey   3:19-cv-06516         MUELLER LAW PLLC




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         Claimant Name                    State Filed                    Docket Number                Plaintiff Counsel
                         PA - Philadelphia County Court of Common
LAURENT, STEFANIE                                                   200500389            MUELLER LAW PLLC
                         Pleas
LEE, DIANA               NJ - USDC for the District of New Jersey   3:19-cv-00473        MUELLER LAW PLLC
LEE, LOU                 NJ - USDC for the District of New Jersey   3:19-cv-16179        MUELLER LAW PLLC
LYONS, ALTHEA            NJ - USDC for the District of New Jersey   3:19-cv-09500        MUELLER LAW PLLC
LYTLE, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-03405        MUELLER LAW PLLC
MARTIN, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-12247        MUELLER LAW PLLC
MARTINEZ, MARY           NJ - USDC for the District of New Jersey   3:19-cv-20030        MUELLER LAW PLLC
MARTINEZ, TAMMY          NJ - USDC for the District of New Jersey   3:20-cv-20291        MUELLER LAW PLLC
MCLANE, MICHELLE         NJ - USDC for the District of New Jersey   3:19-cv-19943        MUELLER LAW PLLC
MCNULTY, GAIL            NJ - USDC for the District of New Jersey   3:19-cv-05031        MUELLER LAW PLLC
MELTON, DOROTHY          NJ - USDC for the District of New Jersey   3:18-cv-17037        MUELLER LAW PLLC
NELSON, ALICE            NJ - USDC for the District of New Jersey   3:21-cv-09584        MUELLER LAW PLLC
NIXON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-13493        MUELLER LAW PLLC
NOLAN, MILDRED           NJ - USDC for the District of New Jersey   3:19-cv-05035        MUELLER LAW PLLC
PARRY, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-18402        MUELLER LAW PLLC
PEARSON, CONNIE          NJ - USDC for the District of New Jersey   3:19-cv-21018        MUELLER LAW PLLC
PIUROWSKI, AMY           NJ - USDC for the District of New Jersey   3:19-cv-05011        MUELLER LAW PLLC
POLAND, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-11208        MUELLER LAW PLLC
RAYNER, ANITA            NJ - USDC for the District of New Jersey   3:21-cv-03039        MUELLER LAW PLLC
REINUS, JINNI            NJ - USDC for the District of New Jersey   3:18-cv-10804        MUELLER LAW PLLC
RENCH, PEGGY             NJ - USDC for the District of New Jersey   3:20-cv-20292        MUELLER LAW PLLC
REYNOLDS, BESSIE         NJ - USDC for the District of New Jersey   3:19-cv-20031        MUELLER LAW PLLC
RICHARDSON, WILLIE       NJ - USDC for the District of New Jersey   3:20-cv-14293        MUELLER LAW PLLC
RITCHIE, CINDY           NJ - USDC for the District of New Jersey   3:20-cv-18407        MUELLER LAW PLLC
ROSS, SHARLINDA          NJ - USDC for the District of New Jersey   3:20-cv-02141        MUELLER LAW PLLC
SALAZAR, ALYSSA          NJ - USDC for the District of New Jersey   3:18-cv-14375        MUELLER LAW PLLC
                         PA - Philadelphia County Court of Common
SATCHELL, VIVIAN                                                    180700195            MUELLER LAW PLLC
                         Pleas
SHIOSEE, YVONNE          NJ - USDC for the District of New Jersey   3:20-cv-18360        MUELLER LAW PLLC
SPRINGER, LESLIE         NJ - USDC for the District of New Jersey   3:18-cv-17752        MUELLER LAW PLLC
THOMAS, LYNN             NJ - USDC for the District of New Jersey   3:17-cv-13830        MUELLER LAW PLLC
TOMLINSON, LINN          NJ - USDC for the District of New Jersey   3:21-cv-04459        MUELLER LAW PLLC
TROCCOLI, ANN            NJ - USDC for the District of New Jersey   3:19-cv-20925        MUELLER LAW PLLC
TUCKER, WANDA            NJ - USDC for the District of New Jersey   3:21-cv-03041        MUELLER LAW PLLC
WALSH, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-11887        MUELLER LAW PLLC
WARE, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-20032        MUELLER LAW PLLC
WASHINGTON, VERONICA     NJ - USDC for the District of New Jersey   3:19-cv-00763        MUELLER LAW PLLC
WEBB, KATRINA            NJ - USDC for the District of New Jersey   3:20-cv-09007        MUELLER LAW PLLC
WEBB, KELLY              NJ - USDC for the District of New Jersey   3:18-cv-11207        MUELLER LAW PLLC
WILCOX, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-00468        MUELLER LAW PLLC
WILLIAMS, VERA           NJ - USDC for the District of New Jersey   3:18-cv-09971        MUELLER LAW PLLC
WINTERS, ELLA            NJ - USDC for the District of New Jersey   3:19-cv-12058        MUELLER LAW PLLC
ZIMMERMAN, LISA          NJ - USDC for the District of New Jersey   3:21-cv-09693        MUELLER LAW PLLC
ACHENBACH, DORIS         NJ - USDC for the District of New Jersey   3:18-cv-11789        MURPHY, FALCON & MURPHY, P.A.
CONLEY, ALEXIS           NJ - USDC for the District of New Jersey   3:18-cv-11677        MURPHY, FALCON & MURPHY, P.A.
MARRUFO, CHARLOTTE       NJ - USDC for the District of New Jersey   3:18-cv-08747        MURPHY, FALCON & MURPHY, P.A.
BENNETT, DIANE           NJ - USDC for the District of New Jersey   3:19-cv-04794        MURRAY LAW FIRM
BERG, ROSALIND           NJ - USDC for the District of New Jersey   3:17-cv-01291        MURRAY LAW FIRM
BERGERON, KELLY          NJ - USDC for the District of New Jersey   3:19-cv-04410        MURRAY LAW FIRM
BROWN, JOANNA            NJ - USDC for the District of New Jersey   3:18-cv-09278        MURRAY LAW FIRM
BUNDOCK, CAROL           NJ - USDC for the District of New Jersey   3:18-cv-08973        MURRAY LAW FIRM
COLEMAN, CATHERINE       NJ - USDC for the District of New Jersey   3:19-cv-05952        MURRAY LAW FIRM
COLSTON, OCA             NJ - USDC for the District of New Jersey   3:20-cv-05918        MURRAY LAW FIRM
EDE, TRICIA              NJ - USDC for the District of New Jersey   3:19-cv-01570        MURRAY LAW FIRM
ELROD, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-10076        MURRAY LAW FIRM
FAY, DOROTHY             NJ - USDC for the District of New Jersey   3:18-cv-04455        MURRAY LAW FIRM
GHERE, JULIE             NJ - USDC for the District of New Jersey   3:18-cv-08791        MURRAY LAW FIRM
GOODEN, NAOMI            NJ - USDC for the District of New Jersey   3:18-cv-03001        MURRAY LAW FIRM
HARNEY, KIMBERLI         NJ - USDC for the District of New Jersey   3:18-cv-01461        MURRAY LAW FIRM
HAYES, KELLY             NJ - USDC for the District of New Jersey   3:17-cv-01660        MURRAY LAW FIRM
HERBERT, DOREEN          NJ - USDC for the District of New Jersey   3:19-cv-04888        MURRAY LAW FIRM
HIEYE, ELIZABETH         NJ - USDC for the District of New Jersey   3:19-cv-15539        MURRAY LAW FIRM
HOFFMAN, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-01137        MURRAY LAW FIRM
HUDSON, SALLY            NJ - USDC for the District of New Jersey   3:17-cv-03632        MURRAY LAW FIRM
HUNT, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-09158        MURRAY LAW FIRM
KEHRES, KATHRYN          NJ - USDC for the District of New Jersey   3:16-cv-07657        MURRAY LAW FIRM
KOLCZYNSKI, LEANNE       NJ - USDC for the District of New Jersey   3:18-cv-12926        MURRAY LAW FIRM
KOO, JENNIE              NJ - USDC for the District of New Jersey   3:18-cv-03933        MURRAY LAW FIRM
LEWIS, KAREN             NJ - USDC for the District of New Jersey   3:19-cv-04831        MURRAY LAW FIRM
LUMAN, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-04440        MURRAY LAW FIRM
MAIER, JOANNA            NJ - USDC for the District of New Jersey   3:18-cv-16296        MURRAY LAW FIRM
MALCHRIST, DONNA         NJ - USDC for the District of New Jersey   3:19-cv-03281        MURRAY LAW FIRM
MANKINS, JENNIFER        NJ - USDC for the District of New Jersey   3:18-cv-09461        MURRAY LAW FIRM
MCCLENDON, SHANDA        NJ - USDC for the District of New Jersey   3:17-cv-00943        MURRAY LAW FIRM
MCINNIS, MAJORIE         NJ - USDC for the District of New Jersey   3:19-cv-05961        MURRAY LAW FIRM
MILLER, LYNNE            NJ - USDC for the District of New Jersey   3:17-cv-09240        MURRAY LAW FIRM
MOORE, BERTHA            NJ - USDC for the District of New Jersey   3:17-cv-01506        MURRAY LAW FIRM
MORRIS, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-15084        MURRAY LAW FIRM
MUSSELMAN, JANICE        NJ - USDC for the District of New Jersey   3:19-cv-05944        MURRAY LAW FIRM




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
MYERS, RUTH                NJ - USDC for the District of New Jersey   3:21-cv-00014         MURRAY LAW FIRM
NICHOLS, RUTH              NJ - USDC for the District of New Jersey   3:18-cv-08601         MURRAY LAW FIRM
ODOM, PEARLENE             NJ - USDC for the District of New Jersey   3:19-cv-13320         MURRAY LAW FIRM
OLICHNEY, MARIE            NJ - USDC for the District of New Jersey   3:16-cv-07537         MURRAY LAW FIRM
PATE, ANNETTE              NJ - USDC for the District of New Jersey   3:18-cv-11217         MURRAY LAW FIRM
RHODES, TAMARA             NJ - USDC for the District of New Jersey   3:18-cv-11678         MURRAY LAW FIRM
RONEY, LISA                NJ - USDC for the District of New Jersey   3:17-cv-07925         MURRAY LAW FIRM
SANJORJO, PERPETUA         NJ - USDC for the District of New Jersey   3:18-cv-06741         MURRAY LAW FIRM
SHEARLOCK, CHERYL          NJ - USDC for the District of New Jersey   3:17-cv-05617         MURRAY LAW FIRM
SHIELA, PAYNE              NJ - USDC for the District of New Jersey   3:17-cv-01654         MURRAY LAW FIRM
SPENCER, SHERIE            NJ - USDC for the District of New Jersey   3:18-cv-03641         MURRAY LAW FIRM
STEWART, LUCY              NJ - USDC for the District of New Jersey   3:18-cv-02569         MURRAY LAW FIRM
THELEN, PHILOMENA          NJ - USDC for the District of New Jersey   3:17-cv-01650         MURRAY LAW FIRM
THOMAS, SUZANNE            NJ - USDC for the District of New Jersey   3:18-cv-03018         MURRAY LAW FIRM
TURNER, MARGIE             NJ - USDC for the District of New Jersey   3:17-cv-01035         MURRAY LAW FIRM
WEBB, DEBORAH              NJ - USDC for the District of New Jersey   3:19-cv-07513         MURRAY LAW FIRM
WILSON, MARJORIE           NJ - USDC for the District of New Jersey   3:18-cv-05599         MURRAY LAW FIRM
WILSON, TERESA             NJ - USDC for the District of New Jersey   3:18-cv-03348         MURRAY LAW FIRM
WOMACK, MARILYN            NJ - USDC for the District of New Jersey   3:18-cv-03346         MURRAY LAW FIRM
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
CHIARAVALLOTI, JOSEPHINE   NJ - Superior Court - Atlantic County      ATL-L-002539-17
                                                                                            ASSOCIATES
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
SALFI, KATHLEEN            NJ - Superior Court - Atlantic County      ATL-L-003148-21
                                                                                            ASSOCIATES
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
SIDECO, TERESITA           NJ - Superior Court - Atlantic County      ATL-L-003149-21
                                                                                            ASSOCIATES
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
STITH, TIA                 NJ - Superior Court - Atlantic County      ATL-L-003147-21
                                                                                            ASSOCIATES
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
ABBOTT, POLLY              NJ - USDC for the District of New Jersey   3:18-cv-14531
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
ABBOTT, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-11529
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
ADRIANO, ELSA              NJ - USDC for the District of New Jersey   3:20-cv-07136
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
AUSTIN, CAROLYN            NJ - USDC for the District of New Jersey   3:18-cv-14384
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BACHELDER, MONIQUE         NJ - USDC for the District of New Jersey   3:18-cv-14516
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BAEHMAN, CYNTHIA           NJ - USDC for the District of New Jersey   3:18-cv-15838
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BARETELA, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-06317
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BATTLE, CAROLYN            NJ - USDC for the District of New Jersey   3:18-cv-13003
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BEKAS, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-14475
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BLAYLOCK, GAYLEEN          NJ - USDC for the District of New Jersey   3:18-cv-13508
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BOCK, MARLENE              NJ - USDC for the District of New Jersey   3:18-cv-14555
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BOEHRNS, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-15160
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BRADLEY, RITA              NJ - USDC for the District of New Jersey   3:20-cv-14435
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
BURKE, LISA                NJ - USDC for the District of New Jersey   3:18-cv-12338
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
CALDWELL, IRENE MURRAY     NJ - USDC for the District of New Jersey   3:19-cv-04760
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
CHRISMAN, LEONA            NJ - USDC for the District of New Jersey   3:21-cv-13574
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
CLARK, QUEEN               NJ - USDC for the District of New Jersey   3:20-cv-10164
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
COOPER, ANGIE              NJ - USDC for the District of New Jersey   3:20-cv-10137
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
COOPER, MARY               NJ - USDC for the District of New Jersey   3:18-cv-14537
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
DIGIOSIO, MARY             NJ - USDC for the District of New Jersey   3:19-cv-19381
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
FITCH, MARIAN              NJ - Superior Court - Atlantic County      ATL-L-1944-16
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
FLESHIN, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-14011
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
GAZARD, DAISY              NJ - USDC for the District of New Jersey   3:20-cv-14600
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
GORMAN, JEAN               NJ - USDC for the District of New Jersey   3:18-cv-12099
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
GRAYS, ELLA                NJ - USDC for the District of New Jersey   3:18-cv-12094
                                                                                            ASSOCIATES, LLP
                                                                                            NAPOLI BERN RIPKA SHKOLNIK &
GREENBERG, MARISSA         NJ - USDC for the District of New Jersey   3:18-cv-11415
                                                                                            ASSOCIATES, LLP




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          Claimant Name                    State Filed                    Docket Number                Plaintiff Counsel
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
HOWE, INEESHA             NJ - USDC for the District of New Jersey   3:19-cv-08918
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
JACOBSON, LORI            NJ - USDC for the District of New Jersey   3:18-cv-11416
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
JESZENKA, NANCY           NJ - USDC for the District of New Jersey   3:18-cv-11620
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
JOHNSON, SHERRI           NJ - USDC for the District of New Jersey   3:21-cv-13752
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
JORDON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-10233
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
LAWRENCE, BARBARA         NJ - USDC for the District of New Jersey   3:18-cv-14071
                                                                                          ASSOCIATES, LLP
NATIONAL COUNCIL NEGRO                                                                    NAPOLI BERN RIPKA SHKOLNIK &
                          NJ - USDC for the District of New Jersey   3:21-cv-14270
WOMEN                                                                                     ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
NUNLEY, JULIA             NJ - USDC for the District of New Jersey   3:20-cv-08948
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
ORITI, ELISSA             NJ - USDC for the District of New Jersey   3:20-cv-12648
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
PETERS, ARLYS             NJ - USDC for the District of New Jersey   3:20-cv-13601
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
PETERSON, JENNIFER        NJ - USDC for the District of New Jersey   3:20-cv-05740
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
POPYNIA, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-03352
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
PRETE, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-00322
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
RAMIREZ, RITA             CA - Superior Court - Los Angeles County   BC664311
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
RAMSBURG, MARY            NJ - USDC for the District of New Jersey   3:18-cv-02547
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
RAWLINS, CAROL            NJ - Superior Court - Atlantic County      ATL-L-1441-16
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
REILLY, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-04072
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
RICHTER, MARY             NJ - USDC for the District of New Jersey   ATL-L-002019-21
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
SADLER, SUZAN             NJ - USDC for the District of New Jersey   3:20-cv-12729
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
SHOCKEY, NITA             NJ - USDC for the District of New Jersey   3:20-cv-13472
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
SIMPSON, NANCY            NJ - USDC for the District of New Jersey   3:20-cv-18520
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
TOMPKINS, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-14973
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
WAGNER, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-13507
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
WALTERSDORF, REGINA       NJ - USDC for the District of New Jersey   3:18-cv-12955
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
WATSON, MERILYN           NJ - USDC for the District of New Jersey   3:20-cv-10827
                                                                                          ASSOCIATES, LLP
                                                                                          NAPOLI BERN RIPKA SHKOLNIK &
ZURBOLA, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-04842
                                                                                          ASSOCIATES, LLP
BATES, CARLEY             NJ - Superior Court - Atlantic County      ATL-L-1938-16        NAPOLI SHKOLNIK & ASSOCIATES, LLP
HILLIS, ROSE              NJ - Superior Court - Atlantic County      ATL-L-1692-16        NAPOLI SHKOLNIK & ASSOCIATES, LLP
MORALES, LILLIAN          NJ - Superior Court - Atlantic County      ATL-L-1937-16        NAPOLI SHKOLNIK & ASSOCIATES, LLP
TENDER, IDA               NJ - Superior Court - Atlantic County      ATL-L-1836-16        NAPOLI SHKOLNIK & ASSOCIATES, LLP
WAGNER, SUSAN             NJ - Superior Court - Atlantic County      ATL-L1935-16         NAPOLI SHKOLNIK & ASSOCIATES, LLP
BROWN, PHYLLIS            NJ - USDC for the District of New Jersey   3:16-cv-07418        NAPOLI SHKOLNIK LLC
FREDERICK, JENNIFER       DE - Superior Court - New Castle County    N18C-06-056          NAPOLI SHKOLNIK LLC
MCGONIGLE, JOYCE          DE - Superior Court - New Castle County    N17C-11-033 TAL      NAPOLI SHKOLNIK LLC
MICHINI, MARGARET         DE - Superior Court - New Castle County    N18C-05-100 TAL      NAPOLI SHKOLNIK LLC
ROSS, FRANCES             NJ - USDC for the District of New Jersey   3:18-cv-14257        NAPOLI SHKOLNIK LLC
SAMUEL, BETTIE            NJ - USDC for the District of New Jersey   3:18-cv-06018        NAPOLI SHKOLNIK LLC
SIPPLE, ALICE             DE - Superior Court - New Castle County    N17C-07-136          NAPOLI SHKOLNIK LLC
WOOD, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-05569        NAPOLI SHKOLNIK LLC
YONKERS, RUTH             NJ - USDC for the District of New Jersey   3:18-cv-10024        NAPOLI SHKOLNIK LLC
ADAMS, GEORGIA            NJ - USDC for the District of New Jersey   3:21-cv-11119        NAPOLI SHKOLNIK, PLLC
ADDISON, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-05427        NAPOLI SHKOLNIK, PLLC
AHMED, BABLY              NJ - USDC for the District of New Jersey   3:17-cv-11302        NAPOLI SHKOLNIK, PLLC
ALLEN, ANNIE              NJ - USDC for the District of New Jersey   3:21-cv-14200        NAPOLI SHKOLNIK, PLLC
ALLEN, DARA               NJ - USDC for the District of New Jersey   3:21-cv-14230        NAPOLI SHKOLNIK, PLLC
AMIN, JALPABEN            NJ - USDC for the District of New Jersey   3:19-cv-06902        NAPOLI SHKOLNIK, PLLC
ANDERSON, VERNA           NJ - USDC for the District of New Jersey   3:19-cv-05512        NAPOLI SHKOLNIK, PLLC
ARANA, HAZEL              NJ - USDC for the District of New Jersey   3:18-cv-10601        NAPOLI SHKOLNIK, PLLC
ARMSTEAD, LUCRETIA        NJ - USDC for the District of New Jersey   3:18-cv-08514        NAPOLI SHKOLNIK, PLLC
ASHBY, MATTIE             NJ - USDC for the District of New Jersey   3:19-cv-05516        NAPOLI SHKOLNIK, PLLC
ASIF, AMBER               NJ - USDC for the District of New Jersey   3:19-cv-05514        NAPOLI SHKOLNIK, PLLC
AVERHEART, CAROLYN        NJ - Superior Court - Atlantic County      ATL-L-002263-21      NAPOLI SHKOLNIK, PLLC
BABAUTA, SHELLEY          NJ - USDC for the District of New Jersey   3:21-cv-09903        NAPOLI SHKOLNIK, PLLC
BAGBY, JANICE             NJ - USDC for the District of New Jersey   3:19-cv-05518        NAPOLI SHKOLNIK, PLLC




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           Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
BAILEY, WANDA                 NJ - USDC for the District of New Jersey   3:19-cv-06919         NAPOLI SHKOLNIK, PLLC
BAKSA, DOROTHY                NJ - USDC for the District of New Jersey   3:19-cv-07410         NAPOLI SHKOLNIK, PLLC
BARNARD, SHIRLEY              NJ - USDC for the District of New Jersey   3:19-cv-05522         NAPOLI SHKOLNIK, PLLC
BARRANGER, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-01166         NAPOLI SHKOLNIK, PLLC
BARTON, SHIRLEY               NJ - USDC for the District of New Jersey   3:21-cv-13991         NAPOLI SHKOLNIK, PLLC
BEALE, CATHERINE              NJ - USDC for the District of New Jersey   3:19-cv-17390         NAPOLI SHKOLNIK, PLLC
BEAUCHAMP, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-07964         NAPOLI SHKOLNIK, PLLC
BELOUSOVA, NINA               NJ - USDC for the District of New Jersey   3:19-cv-05526         NAPOLI SHKOLNIK, PLLC
BEMIS, TRIPINA                NJ - USDC for the District of New Jersey   3:19-cv-08375         NAPOLI SHKOLNIK, PLLC
BERGER, JENNIFER              NJ - USDC for the District of New Jersey   3:19-cv-20423         NAPOLI SHKOLNIK, PLLC
BERMAN, TAMARA                NJ - USDC for the District of New Jersey   3:21-cv-09888         NAPOLI SHKOLNIK, PLLC
BERNARD, LINDA                NJ - USDC for the District of New Jersey   3:19-cv-21103         NAPOLI SHKOLNIK, PLLC
BERNING-SZCZESNY, AMANDA      NJ - USDC for the District of New Jersey   3:17-cv-12676         NAPOLI SHKOLNIK, PLLC
BERRY, AMY                    NJ - USDC for the District of New Jersey   3:19-cv-15712         NAPOLI SHKOLNIK, PLLC
BESSLER, LAURIE               NJ - USDC for the District of New Jersey   3:19-cv-17791         NAPOLI SHKOLNIK, PLLC
BETANCES, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-04493         NAPOLI SHKOLNIK, PLLC
BISBEE, ELEANOR               NJ - USDC for the District of New Jersey   3:21-cv-13760         NAPOLI SHKOLNIK, PLLC
BLACK, WANDA                  NJ - USDC for the District of New Jersey   3:18-cv-10836         NAPOLI SHKOLNIK, PLLC
BOGENRIEF, HEATHER            NJ - USDC for the District of New Jersey   3:21-cv-09870         NAPOLI SHKOLNIK, PLLC
BOGER, ELLEN                  NJ - Superior Court - Atlantic County      ATL-L-000807-19       NAPOLI SHKOLNIK, PLLC
BOLT, CAROLYN                 NJ - USDC for the District of New Jersey   3:19-cv-05549         NAPOLI SHKOLNIK, PLLC
BOLTUCH, LEONA                NJ - USDC for the District of New Jersey   3:19-cv-05554         NAPOLI SHKOLNIK, PLLC
BOMAR, TRICIA                 NJ - USDC for the District of New Jersey   3:18-cv-14759         NAPOLI SHKOLNIK, PLLC
BOUTIN-GOULD, ORALINE         NJ - USDC for the District of New Jersey   3:18-cv-03738         NAPOLI SHKOLNIK, PLLC
BOWIE, MARDELL                NJ - USDC for the District of New Jersey   3:18-cv-10046         NAPOLI SHKOLNIK, PLLC
BRAZELL, JOAN                 NJ - USDC for the District of New Jersey   3:18-cv-00413         NAPOLI SHKOLNIK, PLLC
BRIXIE, ELIZABETH             NJ - USDC for the District of New Jersey   3:18-cv-14705         NAPOLI SHKOLNIK, PLLC
BROOKS, EVE                   NJ - USDC for the District of New Jersey   3:21-cv-14192         NAPOLI SHKOLNIK, PLLC
BROOKS, REGINA                NJ - USDC for the District of New Jersey   3:19-cv-05559         NAPOLI SHKOLNIK, PLLC
BROWN, CATHERINE              NJ - USDC for the District of New Jersey   3:19-cv-05562         NAPOLI SHKOLNIK, PLLC
BROWN, LAURIE                 NJ - USDC for the District of New Jersey   3:18-cv-17132         NAPOLI SHKOLNIK, PLLC
BROWN, PHYLLIS                NJ - USDC for the District of New Jersey   3:16-cv-07418         NAPOLI SHKOLNIK, PLLC
BROWN, SHARON                 NJ - USDC for the District of New Jersey   3:18-cv-14763         NAPOLI SHKOLNIK, PLLC
BROWNE, CAMILLE               NJ - USDC for the District of New Jersey   3:19-cv-05565         NAPOLI SHKOLNIK, PLLC
BRYANT-FRANCE, ROSE           NJ - USDC for the District of New Jersey   3:18-cv-00507         NAPOLI SHKOLNIK, PLLC
B-SZCZESNY, AMANDA; ORWOLL,
                              CA - Superior Court - Los Angeles County   BC634145              NAPOLI SHKOLNIK, PLLC
F.; PONCE, A.
BURKETT, ELLEN                NJ - USDC for the District of New Jersey   3:19-cv-05676         NAPOLI SHKOLNIK, PLLC
BURNHAM, EARLENE              NJ - USDC for the District of New Jersey   3:18-cv-14805         NAPOLI SHKOLNIK, PLLC
BURRIS, AMBER                 NJ - USDC for the District of New Jersey   3:18-cv-11204         NAPOLI SHKOLNIK, PLLC
BUSH, CHRISTA                 NJ - USDC for the District of New Jersey   3:18-cv-10971         NAPOLI SHKOLNIK, PLLC
BUTTERFIELD, BRENDA           NJ - USDC for the District of New Jersey   3:17-cv-12680         NAPOLI SHKOLNIK, PLLC
C., K                         NJ - USDC for the District of New Jersey   3:18-cv-01043         NAPOLI SHKOLNIK, PLLC
CALDWELL, JUDITH              NJ - USDC for the District of New Jersey   3:19-cv-13903         NAPOLI SHKOLNIK, PLLC
CALDWELL, LE-TORIA            NJ - USDC for the District of New Jersey   3:18-cv-12098         NAPOLI SHKOLNIK, PLLC
CALLAHAN, MICHELLE            NJ - USDC for the District of New Jersey   3:19-cv-05677         NAPOLI SHKOLNIK, PLLC
CAMPBELL, TERESA              NJ - USDC for the District of New Jersey   3:19-cv-05679         NAPOLI SHKOLNIK, PLLC
CAMPUS, ELEANOR               NJ - USDC for the District of New Jersey   3:19-cv-05680         NAPOLI SHKOLNIK, PLLC
CASEY, KAREN                  NJ - USDC for the District of New Jersey   3:17-cv-12699         NAPOLI SHKOLNIK, PLLC
CAVIN, EURYDICE               NJ - USDC for the District of New Jersey   3:18-cv-14695         NAPOLI SHKOLNIK, PLLC
CHAMPION, GENEVIEVE           NJ - USDC for the District of New Jersey   3:19-cv-09284         NAPOLI SHKOLNIK, PLLC
CHAPPELL, ROXANNE             NJ - USDC for the District of New Jersey   3:19-cv-05683         NAPOLI SHKOLNIK, PLLC
CHIPPS-HILVERDING, NANCY      NJ - USDC for the District of New Jersey   3:19-cv-05688         NAPOLI SHKOLNIK, PLLC
CHOI, FRANCINE                NJ - USDC for the District of New Jersey   3:18-cv-10895         NAPOLI SHKOLNIK, PLLC
CHRISTEN, LISA                NJ - USDC for the District of New Jersey   3:18-cv-15162         NAPOLI SHKOLNIK, PLLC
CHUBB, TERESA                 NJ - USDC for the District of New Jersey   3:19-cv-05692         NAPOLI SHKOLNIK, PLLC
CLARK, TARA                   NJ - USDC for the District of New Jersey   3:18-cv-15164         NAPOLI SHKOLNIK, PLLC
CLICK, MARGARET               NJ - USDC for the District of New Jersey   3:18-cv-01016         NAPOLI SHKOLNIK, PLLC
COHEN, MINNIE                 NJ - USDC for the District of New Jersey   3:18-cv-08183         NAPOLI SHKOLNIK, PLLC
COLE, EUGENA                  NJ - USDC for the District of New Jersey   3:18-cv-00423         NAPOLI SHKOLNIK, PLLC
COLTER, SYLVIA                NJ - USDC for the District of New Jersey   3:18-cv-16843         NAPOLI SHKOLNIK, PLLC
COOK, DORIS                   NJ - USDC for the District of New Jersey   3:17-cv-12703         NAPOLI SHKOLNIK, PLLC
COOK-WILDER, ANITA            NJ - USDC for the District of New Jersey   3:17-cv-12705         NAPOLI SHKOLNIK, PLLC
CORNELIEN-CADET, ANNE         NJ - USDC for the District of New Jersey   3:18-cv-16515         NAPOLI SHKOLNIK, PLLC
CORTEZ, SHELLY                NJ - USDC for the District of New Jersey   3:18-cv-14921         NAPOLI SHKOLNIK, PLLC
CRAIN, DEBRA                  NJ - USDC for the District of New Jersey   3:19-cv-09282         NAPOLI SHKOLNIK, PLLC
CUNNINGHAM, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-10630         NAPOLI SHKOLNIK, PLLC
CUTTER, JANIS                 NJ - USDC for the District of New Jersey   3:17-cv-12654         NAPOLI SHKOLNIK, PLLC
DAGOSTINO, GERALDINE          NJ - USDC for the District of New Jersey   3:18-cv-14087         NAPOLI SHKOLNIK, PLLC
DALLATOR, ELVIRA              NJ - USDC for the District of New Jersey   3:21-cv-07242         NAPOLI SHKOLNIK, PLLC
DAMICO, HEATHER               NJ - USDC for the District of New Jersey   3:19-cv-05855         NAPOLI SHKOLNIK, PLLC
DAQUIENO, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-10705         NAPOLI SHKOLNIK, PLLC
DARCEY, ELEANOR               NJ - USDC for the District of New Jersey   3:18-cv-15034         NAPOLI SHKOLNIK, PLLC
DAVIS, SHENIQUA               NJ - USDC for the District of New Jersey   3:18-cv-13466         NAPOLI SHKOLNIK, PLLC
DEEM, BETTY                   NJ - USDC for the District of New Jersey   3:19-cv-05863         NAPOLI SHKOLNIK, PLLC
DEIMLER, ELIZABETH            NJ - USDC for the District of New Jersey   3:19-cv-05875         NAPOLI SHKOLNIK, PLLC
DIAZ, LESLIE                  NJ - USDC for the District of New Jersey   3:17-cv-12712         NAPOLI SHKOLNIK, PLLC
DOWNS, VIVIAN                 NJ - USDC for the District of New Jersey   3:18-cv-13978         NAPOLI SHKOLNIK, PLLC
DOYLE, HELLEN                 NJ - USDC for the District of New Jersey   3:19-cv-05827         NAPOLI SHKOLNIK, PLLC
DOYLE, RENEE                  NJ - USDC for the District of New Jersey   3:17-cv-12715         NAPOLI SHKOLNIK, PLLC




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           Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
DUGAN, KATHY                NJ - USDC for the District of New Jersey   3:18-cv-09726         NAPOLI SHKOLNIK, PLLC
DURANTE, MARY               NJ - USDC for the District of New Jersey   3:19-cv-05839         NAPOLI SHKOLNIK, PLLC
DURIVAGE, JILL              NJ - Superior Court - Middlesex County     MID-L-006033-21       NAPOLI SHKOLNIK, PLLC
DYE, BETTY                  NJ - USDC for the District of New Jersey   3:17-cv-13778         NAPOLI SHKOLNIK, PLLC
DYKEMAN, AMBER              NJ - USDC for the District of New Jersey   3:18-cv-00411         NAPOLI SHKOLNIK, PLLC
EDMONDSON, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-11463         NAPOLI SHKOLNIK, PLLC
ENRIQUEZ, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-14028         NAPOLI SHKOLNIK, PLLC
ERVIN, TAMIKA               NJ - USDC for the District of New Jersey   3:18-cv-06101         NAPOLI SHKOLNIK, PLLC
EVERHART, KRISTY            NJ - USDC for the District of New Jersey   3:18-cv-12415         NAPOLI SHKOLNIK, PLLC
FARDIG, CORAL               NJ - USDC for the District of New Jersey   3:18-cv-13990         NAPOLI SHKOLNIK, PLLC
FARRINGTON, KIM             NJ - USDC for the District of New Jersey   3:18-cv-00426         NAPOLI SHKOLNIK, PLLC
FARRINGTON, PENELOPE        NJ - USDC for the District of New Jersey   3:18-cv-09117         NAPOLI SHKOLNIK, PLLC
FENSTEMAKER, TERESA         NJ - USDC for the District of New Jersey   3:17-cv-11247         NAPOLI SHKOLNIK, PLLC
FERGUSON, PRINCESS          NJ - USDC for the District of New Jersey   3:19-cv-05880         NAPOLI SHKOLNIK, PLLC
FIERRO, JANIE               NJ - USDC for the District of New Jersey   3:17-cv-12716         NAPOLI SHKOLNIK, PLLC
FINDLAY, SHEILA             NJ - USDC for the District of New Jersey   3:18-cv-13470         NAPOLI SHKOLNIK, PLLC
FISHMAN, ARLENE             NJ - USDC for the District of New Jersey   3:20-cv-01039         NAPOLI SHKOLNIK, PLLC
FLANAGAN, ROSE              NJ - USDC for the District of New Jersey   3:21-cv-14537         NAPOLI SHKOLNIK, PLLC
FLECK, REBECCA              NJ - USDC for the District of New Jersey   3:18-cv-16674         NAPOLI SHKOLNIK, PLLC
FLEWELLEN, REGINA           NJ - USDC for the District of New Jersey   3:19-cv-05888         NAPOLI SHKOLNIK, PLLC
FORSYTHE, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-16482         NAPOLI SHKOLNIK, PLLC
FRANKLIN, ANGELA            NJ - USDC for the District of New Jersey   3:18-cv-11260         NAPOLI SHKOLNIK, PLLC
FREDERICK, JENNIFER         DE - Superior Court - New Castle County    N18C-06-056           NAPOLI SHKOLNIK, PLLC
FREDRICK, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-11864         NAPOLI SHKOLNIK, PLLC
FREE, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-07346         NAPOLI SHKOLNIK, PLLC
FREEMAN, GLORIA             NJ - USDC for the District of New Jersey   3:19-cv-05898         NAPOLI SHKOLNIK, PLLC
FUNDERBURK, DORA            NJ - USDC for the District of New Jersey   3:17-cv-12719         NAPOLI SHKOLNIK, PLLC
GABBERT, ROBIN              NJ - USDC for the District of New Jersey   3:18-cv-01038         NAPOLI SHKOLNIK, PLLC
GABLE, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-05075         NAPOLI SHKOLNIK, PLLC
GADFIELD, MERRY             NJ - USDC for the District of New Jersey   3:17-cv-12704         NAPOLI SHKOLNIK, PLLC
GARCIA, LUPE                NJ - USDC for the District of New Jersey   3:19-cv-18341         NAPOLI SHKOLNIK, PLLC
GARCIA, VENISE              CA - Superior Court - Los Angeles County   BC677961              NAPOLI SHKOLNIK, PLLC
GAUTIER, MONA               NJ - USDC for the District of New Jersey   3:19-cv-09568         NAPOLI SHKOLNIK, PLLC
GENTRY, TINA                NJ - USDC for the District of New Jersey   3:21-cv-04499         NAPOLI SHKOLNIK, PLLC
GERE, ANA                   NJ - USDC for the District of New Jersey   3:19-cv-10014         NAPOLI SHKOLNIK, PLLC
GERE, ANNA                  NJ - Superior Court - Atlantic County      ATL-L-000806-19       NAPOLI SHKOLNIK, PLLC
GERMANN, HELANIE            NJ - USDC for the District of New Jersey   3:18-cv-11595         NAPOLI SHKOLNIK, PLLC
GIBBONS, ELEANOR            NJ - USDC for the District of New Jersey   3:18-cv-09118         NAPOLI SHKOLNIK, PLLC
GIULIANO, ROSETTA           NJ - USDC for the District of New Jersey   3:19-cv-05900         NAPOLI SHKOLNIK, PLLC
GIVENS, SHIRLEY             NJ - USDC for the District of New Jersey   3:19-cv-05903         NAPOLI SHKOLNIK, PLLC
GLENDA, ELY                 NJ - USDC for the District of New Jersey   3:18-cv-00414         NAPOLI SHKOLNIK, PLLC
GLYNN, SUSAN                NJ - USDC for the District of New Jersey   3:19-cv-06100         NAPOLI SHKOLNIK, PLLC
GNACINSKI, LEOLA            NJ - USDC for the District of New Jersey   3:19-cv-06113         NAPOLI SHKOLNIK, PLLC
GOLDFARB, STANLEY           NJ - USDC for the District of New Jersey   3:18-cv-02731         NAPOLI SHKOLNIK, PLLC
GORDON, BETSY               NJ - USDC for the District of New Jersey   3:19-cv-06203         NAPOLI SHKOLNIK, PLLC
GREER, LSTISIA              NJ - USDC for the District of New Jersey   3:18-cv-17148         NAPOLI SHKOLNIK, PLLC
GREGGS-LETT, CARRIE         NJ - USDC for the District of New Jersey   3:19-cv-06210         NAPOLI SHKOLNIK, PLLC
GRIFFIN, HELENE             NJ - USDC for the District of New Jersey   3:18-cv-17145         NAPOLI SHKOLNIK, PLLC
GRIFFIN, JANET              NJ - USDC for the District of New Jersey   3:17-cv-12697         NAPOLI SHKOLNIK, PLLC
GRIFFIN, JOYCE              NJ - USDC for the District of New Jersey   3:18-cv-16892         NAPOLI SHKOLNIK, PLLC
GROVES, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-06257         NAPOLI SHKOLNIK, PLLC
GUMM, DIANA                 NJ - USDC for the District of New Jersey   3:19-cv-20199         NAPOLI SHKOLNIK, PLLC
GURGANIOUS-STANLEY, WENDY   NJ - USDC for the District of New Jersey   3:19-cv-06263         NAPOLI SHKOLNIK, PLLC
GUYER, EVA                  NJ - USDC for the District of New Jersey   3:19-cv-06265         NAPOLI SHKOLNIK, PLLC
HADNOT, JANA                NJ - USDC for the District of New Jersey   3:18-cv-16880         NAPOLI SHKOLNIK, PLLC
HAINES, SHAWN               NJ - USDC for the District of New Jersey   3:18-cv-17151         NAPOLI SHKOLNIK, PLLC
HALL-PAYTON, SARAH          NJ - USDC for the District of New Jersey   3:19-cv-06270         NAPOLI SHKOLNIK, PLLC
HAMILTON, ELEANOR           NJ - USDC for the District of New Jersey   3:18-cv-16890         NAPOLI SHKOLNIK, PLLC
HAMPTON, JUDY               NJ - USDC for the District of New Jersey   3:19-cv-06272         NAPOLI SHKOLNIK, PLLC
HANDFORD, LATASHA           NJ - USDC for the District of New Jersey   3:19-cv-06276         NAPOLI SHKOLNIK, PLLC
HARPER, GLORIA              NJ - USDC for the District of New Jersey   3:19-cv-06383         NAPOLI SHKOLNIK, PLLC
HARRIS, DELORES             NJ - USDC for the District of New Jersey   3:18-cv-16523         NAPOLI SHKOLNIK, PLLC
HARRIS, ERIKA               NJ - USDC for the District of New Jersey   3:18-cv-08182         NAPOLI SHKOLNIK, PLLC
HARRIS, SHEVONE             NJ - USDC for the District of New Jersey   3:18-cv-10314         NAPOLI SHKOLNIK, PLLC
HAYDEN, JENNIFER            NJ - USDC for the District of New Jersey   3:19-cv-06390         NAPOLI SHKOLNIK, PLLC
HEARD, SANDRA               NJ - USDC for the District of New Jersey   3:18-cv-00430         NAPOLI SHKOLNIK, PLLC
HEARN, LYNETTE              NJ - USDC for the District of New Jersey   3:19-cv-06398         NAPOLI SHKOLNIK, PLLC
HERBERT, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-11480         NAPOLI SHKOLNIK, PLLC
HERNANDEZ, GABRIELLE        NJ - USDC for the District of New Jersey   3:18-cv-16735         NAPOLI SHKOLNIK, PLLC
HERRERA, DIANA              NJ - USDC for the District of New Jersey   3:18-cv-10315         NAPOLI SHKOLNIK, PLLC
HESTER, MARY                NJ - USDC for the District of New Jersey   3:19-cv-06368         NAPOLI SHKOLNIK, PLLC
HEWLETT, SYLVIA             NJ - USDC for the District of New Jersey   3:18-cv-14050         NAPOLI SHKOLNIK, PLLC
HICKS, SHARKEA              NJ - USDC for the District of New Jersey   3:18-cv-12062         NAPOLI SHKOLNIK, PLLC
HINES, MILDRED              NJ - USDC for the District of New Jersey   3:20-cv-02867         NAPOLI SHKOLNIK, PLLC
HITCHCOCK, EILEEN           NJ - USDC for the District of New Jersey   3:18-cv-16864         NAPOLI SHKOLNIK, PLLC
HOLLINS, CASSANDRA          NJ - USDC for the District of New Jersey   3:21-cv-10851         NAPOLI SHKOLNIK, PLLC
HOLMES, MAMIE               NJ - USDC for the District of New Jersey   3:17-cv-12700         NAPOLI SHKOLNIK, PLLC
HOLMES, RACHEL              NJ - USDC for the District of New Jersey   3:21-cv-10074         NAPOLI SHKOLNIK, PLLC
HORBUND, KATHRYNE           NJ - Superior Court - Atlantic County      ATL-L-000373-21       NAPOLI SHKOLNIK, PLLC
HORNBACHER, SHERRY          NJ - USDC for the District of New Jersey   3:19-cv-06371         NAPOLI SHKOLNIK, PLLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
HUMPHREY, QUEEN              NJ - USDC for the District of New Jersey   3:18-cv-16544         NAPOLI SHKOLNIK, PLLC
HUNTER-STEVENSON, MARGARET   NJ - USDC for the District of New Jersey   3:19-cv-06415         NAPOLI SHKOLNIK, PLLC
ISAAC-MERCER, MIA            NJ - USDC for the District of New Jersey   3:19-cv-06898         NAPOLI SHKOLNIK, PLLC
IVORY, MARIE                 NJ - USDC for the District of New Jersey   3:18-cv-14498         NAPOLI SHKOLNIK, PLLC
JACKSON, JULIA               NJ - USDC for the District of New Jersey   3:19-cv-06417         NAPOLI SHKOLNIK, PLLC
JACKSON, NIKISHA             NJ - USDC for the District of New Jersey   3:19-cv-08705         NAPOLI SHKOLNIK, PLLC
JACKSON, WANDA               NJ - USDC for the District of New Jersey   3:18-cv-08513         NAPOLI SHKOLNIK, PLLC
JOBE, JOANN                  NJ - USDC for the District of New Jersey   3:18-cv-08233         NAPOLI SHKOLNIK, PLLC
JOHNSON, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-14453         NAPOLI SHKOLNIK, PLLC
JOHNSON, NANCY               NJ - USDC for the District of New Jersey   3:18-cv-06607         NAPOLI SHKOLNIK, PLLC
JOHNSON, TATIA               NJ - USDC for the District of New Jersey   3:21-cv-14485         NAPOLI SHKOLNIK, PLLC
JONES, LULA                  NJ - USDC for the District of New Jersey   3:19-cv-08910         NAPOLI SHKOLNIK, PLLC
JONES, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-01082         NAPOLI SHKOLNIK, PLLC
JONES, PHYLLIS               NJ - USDC for the District of New Jersey   3:19-cv-12510         NAPOLI SHKOLNIK, PLLC
JORDAN, KELLY                NJ - USDC for the District of New Jersey   3:19-cv-06423         NAPOLI SHKOLNIK, PLLC
KASZTL, SHIRLEY              NJ - USDC for the District of New Jersey   3:18-cv-16748         NAPOLI SHKOLNIK, PLLC
KATALINAS, MARGARET          NJ - USDC for the District of New Jersey   3:19-cv-21028         NAPOLI SHKOLNIK, PLLC
KEENER, ROSEMARY             NJ - USDC for the District of New Jersey   3:21-cv-12345         NAPOLI SHKOLNIK, PLLC
KEETON, SANDRA               NJ - USDC for the District of New Jersey   3:19-cv-06427         NAPOLI SHKOLNIK, PLLC
KEIL, VICTORIA               NJ - USDC for the District of New Jersey   3:19-cv-06717         NAPOLI SHKOLNIK, PLLC
KELLUM, LANETOR              NJ - USDC for the District of New Jersey   3:19-cv-06722         NAPOLI SHKOLNIK, PLLC
KERBE, CHRISTINE             NJ - USDC for the District of New Jersey   3:19-cv-06729         NAPOLI SHKOLNIK, PLLC
KERIK, CAROL                 NJ - USDC for the District of New Jersey   3:18-cv-03231         NAPOLI SHKOLNIK, PLLC
KIRKSEY, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-05093         NAPOLI SHKOLNIK, PLLC
KLINGBERG, ELEANOR           NJ - USDC for the District of New Jersey   3:19-cv-06735         NAPOLI SHKOLNIK, PLLC
KNEZOVICH, MELISSA           NJ - USDC for the District of New Jersey   3:19-cv-06743         NAPOLI SHKOLNIK, PLLC
KOHUT, SARAH                 NJ - USDC for the District of New Jersey   3:18-cv-14557         NAPOLI SHKOLNIK, PLLC
KONDRLA, CHARLENE            NJ - USDC for the District of New Jersey   3:17-cv-12689         NAPOLI SHKOLNIK, PLLC
KOSTICK, NANCY               NJ - USDC for the District of New Jersey   3:18-cv-00428         NAPOLI SHKOLNIK, PLLC
KRACHE, TIFFANY              NJ - USDC for the District of New Jersey   3:19-cv-06788         NAPOLI SHKOLNIK, PLLC
KRENZ, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-01044         NAPOLI SHKOLNIK, PLLC
KRICHBAUM, KATHY             NJ - USDC for the District of New Jersey   3:17-cv-12688         NAPOLI SHKOLNIK, PLLC
KYLES, BREANA                NJ - USDC for the District of New Jersey   3:20-cv-04066         NAPOLI SHKOLNIK, PLLC
LAFRANCE, GAIL               NJ - USDC for the District of New Jersey   3:18-cv-16664         NAPOLI SHKOLNIK, PLLC
LAKE, SUSAN                  NJ - USDC for the District of New Jersey   3:18-cv-14476         NAPOLI SHKOLNIK, PLLC
LAMBERT, JOAN                NJ - USDC for the District of New Jersey   3:19-cv-06791         NAPOLI SHKOLNIK, PLLC
LAMBERT, SARAH               NJ - USDC for the District of New Jersey   3:18-cv-02967         NAPOLI SHKOLNIK, PLLC
LANSDOWNE, CAROLYN           NJ - USDC for the District of New Jersey   3:19-cv-06795         NAPOLI SHKOLNIK, PLLC
LARSEN, PAULI                NJ - USDC for the District of New Jersey   3:21-cv-11463         NAPOLI SHKOLNIK, PLLC
LASH, ANNE                   NJ - USDC for the District of New Jersey   3:19-cv-06798         NAPOLI SHKOLNIK, PLLC
LAVIOLETTE, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-00797         NAPOLI SHKOLNIK, PLLC
LAY, TAMMY                   NJ - USDC for the District of New Jersey   3:21-cv-12420         NAPOLI SHKOLNIK, PLLC
LEIGH, NELLY                 NJ - USDC for the District of New Jersey   3:19-cv-06799         NAPOLI SHKOLNIK, PLLC
LESAGE, LINDA                NJ - USDC for the District of New Jersey   3:18-cv-13093         NAPOLI SHKOLNIK, PLLC
LEVY, INA                    NJ - USDC for the District of New Jersey   3:19-cv-18244         NAPOLI SHKOLNIK, PLLC
LEWIS, BETTY                 NJ - USDC for the District of New Jersey   3:19-cv-06804         NAPOLI SHKOLNIK, PLLC
LEWIS-HORN, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-14642         NAPOLI SHKOLNIK, PLLC
LIEBERMAN, ASTRID            NJ - USDC for the District of New Jersey   3:19-cv-06809         NAPOLI SHKOLNIK, PLLC
LINHORST, CAROL              NJ - USDC for the District of New Jersey   3:21-14207            NAPOLI SHKOLNIK, PLLC
LINHORST, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-14207         NAPOLI SHKOLNIK, PLLC
LITTLETON, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-01073         NAPOLI SHKOLNIK, PLLC
LOCKHART, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-06430         NAPOLI SHKOLNIK, PLLC
LOGAN, BEVERLY               NJ - USDC for the District of New Jersey   3:17-cv-12684         NAPOLI SHKOLNIK, PLLC
LOHR, LAUREN                 NJ - USDC for the District of New Jersey   3:18-cv-06110         NAPOLI SHKOLNIK, PLLC
LONDON, DIANE                NJ - USDC for the District of New Jersey   3:19-cv-06442         NAPOLI SHKOLNIK, PLLC
LONG, NOBUKO                 NJ - USDC for the District of New Jersey   3:19-cv-06435         NAPOLI SHKOLNIK, PLLC
LONGO, BERNICE               NJ - USDC for the District of New Jersey   3:18-cv-02130         NAPOLI SHKOLNIK, PLLC
LUNN, DIANE                  NJ - USDC for the District of New Jersey   3:18-cv-00596         NAPOLI SHKOLNIK, PLLC
MABRY, MELISSA               NJ - USDC for the District of New Jersey   3:18-cv-10035         NAPOLI SHKOLNIK, PLLC
MACK-GIBSON, AIMEE           NJ - USDC for the District of New Jersey   3:19-cv-06763         NAPOLI SHKOLNIK, PLLC
MADDEN, LAURIE               NJ - USDC for the District of New Jersey   3:18-cv-13062         NAPOLI SHKOLNIK, PLLC
MAGGARD, CAROL               NJ - USDC for the District of New Jersey   3:17-cv-12656         NAPOLI SHKOLNIK, PLLC
MALLETT, DIANE               NJ - USDC for the District of New Jersey   3:18-cv-14646         NAPOLI SHKOLNIK, PLLC
MALONEY, RITA                NJ - Superior Court - Middlesex County     MID-L-006031-21       NAPOLI SHKOLNIK, PLLC
MANCINI, ELEANOR             NJ - USDC for the District of New Jersey   3:17-cv-12662         NAPOLI SHKOLNIK, PLLC
MARTINEZ, SYBIL              NJ - USDC for the District of New Jersey   3:18-cv-12453         NAPOLI SHKOLNIK, PLLC
MASSARO, ELISABETTA          NJ - USDC for the District of New Jersey   3:19-cv-08226         NAPOLI SHKOLNIK, PLLC
MAXA, MAXINE                 NJ - USDC for the District of New Jersey   3:19-cv-06759         NAPOLI SHKOLNIK, PLLC
MAYO, REBA                   NJ - USDC for the District of New Jersey   3:19-cv-06331         NAPOLI SHKOLNIK, PLLC
MCCARLEY, MARY               NJ - USDC for the District of New Jersey   3:19-cv-06329         NAPOLI SHKOLNIK, PLLC
MCCLAIN, RITA                NJ - USDC for the District of New Jersey   3:19-cv-06328         NAPOLI SHKOLNIK, PLLC
MCCLUER, SHERILL             NJ - USDC for the District of New Jersey   3:19-cv-06420         NAPOLI SHKOLNIK, PLLC
MCCLURE, MARGARET            NJ - USDC for the District of New Jersey   3:18-cv-03425         NAPOLI SHKOLNIK, PLLC
MCCORMICK, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-14755         NAPOLI SHKOLNIK, PLLC
MCCOY, VICTORIA              NJ - USDC for the District of New Jersey   3:18-cv-14456         NAPOLI SHKOLNIK, PLLC
MCDONALD, TAMMY              NJ - USDC for the District of New Jersey   3:18-cv-04959         NAPOLI SHKOLNIK, PLLC
MCGONIGLE, JOYCE             DE - Superior Court - New Castle County    N17C-11-033 TAL       NAPOLI SHKOLNIK, PLLC
MCKINLEY, RAMONA             NJ - USDC for the District of New Jersey   3:20-cv-03346         NAPOLI SHKOLNIK, PLLC
MCLENDON, MARGARET           NJ - USDC for the District of New Jersey   3:19-cv-06322         NAPOLI SHKOLNIK, PLLC
MCTIGUE, CAROLE              NJ - USDC for the District of New Jersey   3:18-cv-01033         NAPOLI SHKOLNIK, PLLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MEDLEY, JODY               NJ - USDC for the District of New Jersey   3:19-cv-06319         NAPOLI SHKOLNIK, PLLC
MEDRANO, DORA              CA - Superior Court - Los Angeles County   BC658888              NAPOLI SHKOLNIK, PLLC
MELE, ELEANOR              NJ - USDC for the District of New Jersey   3:18-cv-12946         NAPOLI SHKOLNIK, PLLC
METZ, TIFFANY              NJ - USDC for the District of New Jersey   3:19-cv-06316         NAPOLI SHKOLNIK, PLLC
MEYHOFER, MARY             NJ - USDC for the District of New Jersey   3:18-cv-01625         NAPOLI SHKOLNIK, PLLC
MICHINI, MARGARET          DE - Superior Court - New Castle County    N18C-05-100 TAL       NAPOLI SHKOLNIK, PLLC
MILES, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-06314         NAPOLI SHKOLNIK, PLLC
MILLER, JOSEPHINE          NJ - USDC for the District of New Jersey   3:18-cv-01015         NAPOLI SHKOLNIK, PLLC
MILLER, LINDSAY            NJ - USDC for the District of New Jersey   3:18-cv-13060         NAPOLI SHKOLNIK, PLLC
MILLER, SHIRLEY            NJ - USDC for the District of New Jersey   3:18-cv-14700         NAPOLI SHKOLNIK, PLLC
MILLS, HAZELENE            NJ - USDC for the District of New Jersey   3:19-cv-06311         NAPOLI SHKOLNIK, PLLC
MILLS, VALERIE             NJ - USDC for the District of New Jersey   3:18-cv-15572         NAPOLI SHKOLNIK, PLLC
MITCHELL, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-14503         NAPOLI SHKOLNIK, PLLC
MITCHELL, PAULA            NJ - USDC for the District of New Jersey   3:19-cv-19061         NAPOLI SHKOLNIK, PLLC
MOODY, JOY                 NJ - USDC for the District of New Jersey   3:18-cv-05818         NAPOLI SHKOLNIK, PLLC
MORENO, CHERYL             NJ - USDC for the District of New Jersey   3:18-cv-08252         NAPOLI SHKOLNIK, PLLC
MORRIS, LISA               NJ - USDC for the District of New Jersey   3:17-cv-12664         NAPOLI SHKOLNIK, PLLC
MORRIS, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-01030         NAPOLI SHKOLNIK, PLLC
MORTON-MAULTSBY, ROSIE     NJ - USDC for the District of New Jersey   3:19-cv-06309         NAPOLI SHKOLNIK, PLLC
MOYNIHAN, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-06325         NAPOLI SHKOLNIK, PLLC
MULLEN, MIMI               NJ - USDC for the District of New Jersey   3:21-cv-00788         NAPOLI SHKOLNIK, PLLC
MULLER, CECILA             NJ - USDC for the District of New Jersey   3:18-cv-01388         NAPOLI SHKOLNIK, PLLC
MURRAY, JAMIE              NJ - USDC for the District of New Jersey   3:18-cv-13059         NAPOLI SHKOLNIK, PLLC
MYCHAYLIW, MARY            NJ - USDC for the District of New Jersey   3:18-cv-14963         NAPOLI SHKOLNIK, PLLC
NICHOLS, HENRIETTE         NJ - USDC for the District of New Jersey   3:18-cv-09460         NAPOLI SHKOLNIK, PLLC
NINI, LETICIA              NJ - USDC for the District of New Jersey   3:18-cv-01014         NAPOLI SHKOLNIK, PLLC
NUSS, DAWN                 NJ - USDC for the District of New Jersey   3:18-cv-13058         NAPOLI SHKOLNIK, PLLC
OBANION, PEGGY             NJ - USDC for the District of New Jersey   3:18-cv-02738         NAPOLI SHKOLNIK, PLLC
OTAVAKA-DUREW, MONICA      NJ - USDC for the District of New Jersey   3:19-cv-06306         NAPOLI SHKOLNIK, PLLC
PAGE, ANTOINETTE           NJ - USDC for the District of New Jersey   3:18-cv-08475         NAPOLI SHKOLNIK, PLLC
PALUMBO, JOAN              NJ - USDC for the District of New Jersey   3:18-cv-02141         NAPOLI SHKOLNIK, PLLC
PARHAM, ESSILENE           NJ - USDC for the District of New Jersey   3:19-cv-06307         NAPOLI SHKOLNIK, PLLC
PARKER, MARY               NJ - USDC for the District of New Jersey   3:18-cv-16517         NAPOLI SHKOLNIK, PLLC
PARSLEY, MARY              NJ - USDC for the District of New Jersey   3:18-cv-16530         NAPOLI SHKOLNIK, PLLC
PATRICK, STARLIN           NJ - USDC for the District of New Jersey   3:18-cv-05586         NAPOLI SHKOLNIK, PLLC
PENLEY, BRITTANY           NJ - USDC for the District of New Jersey   3:19-cv-08914         NAPOLI SHKOLNIK, PLLC
PERRY, JULIA               NJ - USDC for the District of New Jersey   3:19-cv-00325         NAPOLI SHKOLNIK, PLLC
PERRY, MARCIA              NJ - USDC for the District of New Jersey   3:19-cv-06303         NAPOLI SHKOLNIK, PLLC
PESICKA, ALMA              NJ - USDC for the District of New Jersey   3:19-cv-05956         NAPOLI SHKOLNIK, PLLC
PETERSON, CONNIE           NJ - USDC for the District of New Jersey   3:18-cv-01395         NAPOLI SHKOLNIK, PLLC
POAG, VIRGINIA             NJ - USDC for the District of New Jersey   3:18-cv-12340         NAPOLI SHKOLNIK, PLLC
POE, ANNA                  NJ - USDC for the District of New Jersey   3:18-cv-16528         NAPOLI SHKOLNIK, PLLC
PORTER, DOLORES            NJ - USDC for the District of New Jersey   3:18-cv-13057         NAPOLI SHKOLNIK, PLLC
POTTER, BETH               NJ - USDC for the District of New Jersey   3:18-cv-08210         NAPOLI SHKOLNIK, PLLC



POWELL, MARSHA             NJ - USDC for the District of New Jersey   3:19-cv-16466         NAPOLI SHKOLNIK, PLLC



PRINCE, KATHLEEN           NJ - USDC for the District of New Jersey   3:19-cv-05940         NAPOLI SHKOLNIK, PLLC
PROSA, JULIE               NJ - USDC for the District of New Jersey   3:18-cv-10340         NAPOLI SHKOLNIK, PLLC
PSOLKA, JANET              NJ - USDC for the District of New Jersey   3:21-cv-14545         NAPOLI SHKOLNIK, PLLC
PUCO, CHRISTIE             NJ - USDC for the District of New Jersey   3:19-cv-08211         NAPOLI SHKOLNIK, PLLC
QUEVEDO, RITA              NJ - USDC for the District of New Jersey   3:20-cv-03364         NAPOLI SHKOLNIK, PLLC
RAFUSE, STEPHANIE          NJ - USDC for the District of New Jersey   3:18-cv-14587         NAPOLI SHKOLNIK, PLLC
REED, MARIA                NJ - USDC for the District of New Jersey   3:18-cv-16736         NAPOLI SHKOLNIK, PLLC
RENNICK, DAWN              NJ - USDC for the District of New Jersey   3:18-cv-12828         NAPOLI SHKOLNIK, PLLC
RILEY, AMISSA              NJ - Superior Court - Middlesex County     MID-L-006029-21       NAPOLI SHKOLNIK, PLLC
RITZEN, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-16481         NAPOLI SHKOLNIK, PLLC
RIVER, WILHELMINA          NJ - USDC for the District of New Jersey   3:19-cv-05938         NAPOLI SHKOLNIK, PLLC
ROBBINS, CHARLOTTE         NJ - USDC for the District of New Jersey   3:18-cv-12829         NAPOLI SHKOLNIK, PLLC
ROBERTSON, DREMA           NJ - USDC for the District of New Jersey   3:18-cv-11304         NAPOLI SHKOLNIK, PLLC
RONGERO, ESTER             NJ - USDC for the District of New Jersey   3:18-cv-12842         NAPOLI SHKOLNIK, PLLC
RUFUS, NITA                NJ - USDC for the District of New Jersey   3:18-cv-06309         NAPOLI SHKOLNIK, PLLC
RUSSOTTI, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-06933         NAPOLI SHKOLNIK, PLLC
RUTLEDGE, JANELL           NJ - USDC for the District of New Jersey   3:18-cv-12878         NAPOLI SHKOLNIK, PLLC
RYANN-MANN, KATHLEEN       NJ - USDC for the District of New Jersey   3:18-cv-16527         NAPOLI SHKOLNIK, PLLC
SABATINO, RANDY            NJ - USDC for the District of New Jersey   3:19-cv-05937         NAPOLI SHKOLNIK, PLLC
SANDERS, ANNA              NJ - USDC for the District of New Jersey   3:18-cv-10042         NAPOLI SHKOLNIK, PLLC
SANDOVAL, DENICE           NJ - USDC for the District of New Jersey   3:19-cv-05934         NAPOLI SHKOLNIK, PLLC
SANTOS, AMELIA             NJ - USDC for the District of New Jersey   3:19-cv-05748         NAPOLI SHKOLNIK, PLLC
SATHER, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-16571         NAPOLI SHKOLNIK, PLLC
SAWEZ, SORAYA              NJ - USDC for the District of New Jersey   3:19-cv-05932         NAPOLI SHKOLNIK, PLLC
SCHMUCKER, MALI            NJ - USDC for the District of New Jersey   3:17-cv-12667         NAPOLI SHKOLNIK, PLLC
SCHREIBER, JUDY            NJ - USDC for the District of New Jersey   3:18-cv-12846         NAPOLI SHKOLNIK, PLLC
SCHUBERT, LYDIA            NJ - USDC for the District of New Jersey   3:19-cv-11440         NAPOLI SHKOLNIK, PLLC
SCOTT, PAULINE             NJ - USDC for the District of New Jersey   3:18-cv-08922         NAPOLI SHKOLNIK, PLLC
SEGUIN-CLARK, KATHLEEN     NJ - USDC for the District of New Jersey   3:18-cv-13080         NAPOLI SHKOLNIK, PLLC
SEIFFERT, SIEGRID          NJ - USDC for the District of New Jersey   3:18-cv-12885         NAPOLI SHKOLNIK, PLLC




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
SENTZ, TRACY                      NJ - USDC for the District of New Jersey   3:18-cv-00484         NAPOLI SHKOLNIK, PLLC
SHAH, MALTI                       NJ - USDC for the District of New Jersey   3:20-cv-01130         NAPOLI SHKOLNIK, PLLC
SHAW, HAZEL                       NJ - USDC for the District of New Jersey   3:19-cv-05929         NAPOLI SHKOLNIK, PLLC
SHORT, DEBORAH                    NJ - USDC for the District of New Jersey   3:17-cv-12686         NAPOLI SHKOLNIK, PLLC
SHUMAKE, DEBORAH                  NJ - USDC for the District of New Jersey   3:18-cv-08151         NAPOLI SHKOLNIK, PLLC
SIMMONS, ANNIE                    NJ - USDC for the District of New Jersey   3:19-cv-05925         NAPOLI SHKOLNIK, PLLC
SIMMONS, SHARON                   NJ - USDC for the District of New Jersey   3:19-cv-05923         NAPOLI SHKOLNIK, PLLC
SIMMONS, SHELA                    NJ - USDC for the District of New Jersey   3:17-cv-12671         NAPOLI SHKOLNIK, PLLC
SKELLY, ROBERTA                   NJ - USDC for the District of New Jersey   3:19-cv-17708         NAPOLI SHKOLNIK, PLLC
SKOGMAN, KAREN                    NJ - USDC for the District of New Jersey   3:20-cv-03366         NAPOLI SHKOLNIK, PLLC
SKURSKY, SUSAN                    NJ - USDC for the District of New Jersey   3:18-cv-12451         NAPOLI SHKOLNIK, PLLC
SMART, ELSIE                      NJ - USDC for the District of New Jersey   3:19-cv-05760         NAPOLI SHKOLNIK, PLLC
SMITH, DIANE                      NJ - USDC for the District of New Jersey   3:18-cv-08161         NAPOLI SHKOLNIK, PLLC
SMITH, GERALDINE                  NJ - USDC for the District of New Jersey   3:19-cv-05757         NAPOLI SHKOLNIK, PLLC
SMITH, JAMIE                      NJ - USDC for the District of New Jersey   3:19-cv-05752         NAPOLI SHKOLNIK, PLLC
SMITH, KIM                        NJ - USDC for the District of New Jersey   3:18-cv-10534         NAPOLI SHKOLNIK, PLLC
SMITH, LEEANN                     NJ - USDC for the District of New Jersey   3:18-cv-12886         NAPOLI SHKOLNIK, PLLC
SMITH, PAMELA                     NJ - USDC for the District of New Jersey   3:18-cv-08496         NAPOLI SHKOLNIK, PLLC
SMITH, PATRICIA                   NJ - USDC for the District of New Jersey   3:18-cv-12888         NAPOLI SHKOLNIK, PLLC
SMITH, PATRICIA                   NJ - USDC for the District of New Jersey   3:18-cv-00975         NAPOLI SHKOLNIK, PLLC
SNARR-COALE, MICHELLE             NJ - USDC for the District of New Jersey   3:18-cv-10522         NAPOLI SHKOLNIK, PLLC
SOTO, BERNADETTE                  NJ - USDC for the District of New Jersey   3:18-cv-02138         NAPOLI SHKOLNIK, PLLC
SPEIR, PATRICIA                   NJ - USDC for the District of New Jersey   3:19-cv-05642         NAPOLI SHKOLNIK, PLLC
STALKER, CARON                    NJ - USDC for the District of New Jersey   3:19-cv-05637         NAPOLI SHKOLNIK, PLLC
STARKS, ERNETTE                   NJ - USDC for the District of New Jersey   3:18-cv-12889         NAPOLI SHKOLNIK, PLLC
STATHAM, JEANNE                   NJ - USDC for the District of New Jersey   3:19-cv-05631         NAPOLI SHKOLNIK, PLLC
STEHLY, JEANELLE                  NJ - USDC for the District of New Jersey   3:18-cv-00970         NAPOLI SHKOLNIK, PLLC
STROBL, PAULETTA                  NJ - USDC for the District of New Jersey   3:18-cv-15848         NAPOLI SHKOLNIK, PLLC
STROJEK, KATHLEE                  NJ - USDC for the District of New Jersey   3:19-cv-05627         NAPOLI SHKOLNIK, PLLC
STUCKER, MARILYN                  NJ - USDC for the District of New Jersey   3:18-cv-12844         NAPOLI SHKOLNIK, PLLC
SULLIVAN-MYERS, CHANTEL           NJ - USDC for the District of New Jersey   3:18-cv-12950         NAPOLI SHKOLNIK, PLLC
SYNDOR, STEPHANIE                 NJ - USDC for the District of New Jersey   3:19-cv-05624         NAPOLI SHKOLNIK, PLLC
SZE-DONGHIA, MICHELE              NJ - USDC for the District of New Jersey   3:21-cv-01870         NAPOLI SHKOLNIK, PLLC
TADDEI, KATHRYN                   NJ - USDC for the District of New Jersey   3:18-cv-01062         NAPOLI SHKOLNIK, PLLC
TARLOW, ERIKA                     NJ - USDC for the District of New Jersey   3:18-cv-00971         NAPOLI SHKOLNIK, PLLC
TEAGUE, TONJUA                    NJ - USDC for the District of New Jersey   3:18-cv-12326         NAPOLI SHKOLNIK, PLLC
TERHUNE, CHRISTINE                NJ - USDC for the District of New Jersey   3:18-cv-11302         NAPOLI SHKOLNIK, PLLC
TETREAULT, CHERYL                 NJ - USDC for the District of New Jersey   3:19-cv-05618         NAPOLI SHKOLNIK, PLLC
THRASH, SYRENTHIA                 NJ - USDC for the District of New Jersey   3:19-cv-05614         NAPOLI SHKOLNIK, PLLC
TIDLINE, WANDA                    NJ - USDC for the District of New Jersey   3:18-cv-12951         NAPOLI SHKOLNIK, PLLC
TINER, SANDRA                     NJ - USDC for the District of New Jersey   3:18-cv-08138         NAPOLI SHKOLNIK, PLLC
TOLLEY, ROSE                      NJ - USDC for the District of New Jersey   3:19-cv-05611         NAPOLI SHKOLNIK, PLLC
TSOSIE, MARY                      NJ - USDC for the District of New Jersey   3:18-cv-12954         NAPOLI SHKOLNIK, PLLC
TYREE, CAROL                      NJ - USDC for the District of New Jersey   3:19-cv-05584         NAPOLI SHKOLNIK, PLLC
UKEN, DARLENE                     NJ - USDC for the District of New Jersey   3:19-cv-05581         NAPOLI SHKOLNIK, PLLC
URBANO, REGINA                    NJ - USDC for the District of New Jersey   3:18-cv-09587         NAPOLI SHKOLNIK, PLLC
VERA, TONYA                       NJ - USDC for the District of New Jersey   3:18-cv-00976         NAPOLI SHKOLNIK, PLLC
VETRINI, VANESSA                  NJ - USDC for the District of New Jersey   3:19-cv-05580         NAPOLI SHKOLNIK, PLLC
VICTOR, ELIZA                     NJ - USDC for the District of New Jersey   3:19-cv-05579         NAPOLI SHKOLNIK, PLLC
WALKER, GERTRUDE                  NJ - USDC for the District of New Jersey   3:19-cv-05461         NAPOLI SHKOLNIK, PLLC
WALKER, SHARON                    NJ - USDC for the District of New Jersey   3:18-cv-06305         NAPOLI SHKOLNIK, PLLC
WALL, SHARLYN                     NJ - USDC for the District of New Jersey   3:19-cv-05455         NAPOLI SHKOLNIK, PLLC
WAMACK, DAWN                      NJ - USDC for the District of New Jersey   3:17-cv-12683         NAPOLI SHKOLNIK, PLLC
WASHINGTON-HUDSPETH, CHERYL CA - Superior Court - Los Angeles County         BC658578              NAPOLI SHKOLNIK, PLLC
WELDON, WENDY                     NJ - USDC for the District of New Jersey   3:19-cv-05576         NAPOLI SHKOLNIK, PLLC
WHITE, ROBIN                      NJ - USDC for the District of New Jersey   3:18-cv-12452         NAPOLI SHKOLNIK, PLLC
WHITE, SYLVIA                     NJ - USDC for the District of New Jersey   3:18-cv-12957         NAPOLI SHKOLNIK, PLLC
WHITE, ZIPPORAH                   NJ - USDC for the District of New Jersey   3:19-cv-09781         NAPOLI SHKOLNIK, PLLC
WILDE, DEBBIE                     NJ - USDC for the District of New Jersey   3:18-cv-14386         NAPOLI SHKOLNIK, PLLC
WILKES, OLA                       NJ - USDC for the District of New Jersey   3:19-cv-18982         NAPOLI SHKOLNIK, PLLC
WILLIAMS, DIANA                   NJ - USDC for the District of New Jersey   3:18-cv-12958         NAPOLI SHKOLNIK, PLLC
WILLIAMS, HELEN                   NJ - USDC for the District of New Jersey   3:17-cv-12696         NAPOLI SHKOLNIK, PLLC
WILLIAMS, SHEILA                  NJ - USDC for the District of New Jersey   3:21-cv-08633         NAPOLI SHKOLNIK, PLLC
WINTERS, SHAVON                   NJ - USDC for the District of New Jersey   3:18-cv-12447         NAPOLI SHKOLNIK, PLLC
WITTMER, KATHLEEN                 NJ - USDC for the District of New Jersey   3:19-cv-05575         NAPOLI SHKOLNIK, PLLC
WORTH, VIRGINIA                   NJ - USDC for the District of New Jersey   3:19-cv-05572         NAPOLI SHKOLNIK, PLLC
WREN, SUSAN                       NJ - USDC for the District of New Jersey   3:21-cv-15244         NAPOLI SHKOLNIK, PLLC
WRIGHT, CAROLYN                   NJ - USDC for the District of New Jersey   3:19-cv-05466         NAPOLI SHKOLNIK, PLLC
WRIGHT-LAURENT, KATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-16531         NAPOLI SHKOLNIK, PLLC
WYNKOOP, JEAN                     NJ - USDC for the District of New Jersey   3:18-cv-10909         NAPOLI SHKOLNIK, PLLC
YANNO, MARGARET                   NJ - USDC for the District of New Jersey   3:19-cv-14750         NAPOLI SHKOLNIK, PLLC
YOUNG, CARROL                     NJ - USDC for the District of New Jersey   3:20-cv-19472         NAPOLI SHKOLNIK, PLLC
ZILIO, LINDA                      NJ - USDC for the District of New Jersey   3:18-cv-12960         NAPOLI SHKOLNIK, PLLC
VOELKER, AUDREY                   NJ - USDC for the District of New Jersey   3:20-cv-13604         NASH & FRANCISKATO LAW FIRM
BASILO, KATHLEEN                  NJ - USDC for the District of New Jersey   3:17-cv-11793         NASS CANCELLIERE BRENNER
BROWN-HARRISON, RODELLA           NJ - USDC for the District of New Jersey   3:17-cv-00080         NASS CANCELLIERE BRENNER
FRANKENBERRY, SUSAN               NJ - USDC for the District of New Jersey   3:17-cv-08821         NASS CANCELLIERE BRENNER
HURLEY, SHERRY                    NJ - USDC for the District of New Jersey   3:17-cv-08585         NASS CANCELLIERE BRENNER
JOURNEY, CHERYL                   NJ - USDC for the District of New Jersey   3:17-cv-11784         NASS CANCELLIERE BRENNER




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          Claimant Name                      State Filed                     Docket Number                Plaintiff Counsel
PRINCE, MARY                NJ - USDC for the District of New Jersey   3:18-cv-00714         NASS CANCELLIERE BRENNER
TABOR, TAMMY                NJ - USDC for the District of New Jersey   3:18-cv-09161         NASS CANCELLIERE BRENNER
TOLLARI, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-01292         NASS CANCELLIERE BRENNER
ZANNI, CAMILLE              NJ - USDC for the District of New Jersey   3:18-cv-02233         NASS CANCELLIERE BRENNER
KUHN, PATRICIA              NJ - USDC for the District of New Jersey   3:16-cv-07312         NEAL & HARWELL, PLC
JACKSON, CATHY              LA - District Court - Orleans Parish       2018-2673             NEBLETT, BEARD & ARSENAULT
LANE, DIANE                 NJ - USDC for the District of New Jersey   3:21-cv-12094         NICOLE M VARISCO, ESQ
AMBROSE, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-11726         NIX PATTERSON & ROACH
ARNOLD, RAMONA              NJ - USDC for the District of New Jersey   3:17-cv-11649         NIX PATTERSON & ROACH
BLACKWOOD, DIANA            NJ - USDC for the District of New Jersey   3:18-cv-01142         NIX PATTERSON & ROACH
BLOW, PRISCILLA             NJ - USDC for the District of New Jersey   3:18-cv-00974         NIX PATTERSON & ROACH
BURNETT, LISA               NJ - USDC for the District of New Jersey   3:18-cv-01083         NIX PATTERSON & ROACH
CHAMBERS, SYLVIA            NJ - USDC for the District of New Jersey   3:18-cv-15805         NIX PATTERSON & ROACH
DANIEL, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-11730         NIX PATTERSON & ROACH
EPLIN, SHERRI               NJ - USDC for the District of New Jersey   3:17-cv-05541         NIX PATTERSON & ROACH
FOSTER, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-11757         NIX PATTERSON & ROACH
GOODEN, ANNIE               NJ - USDC for the District of New Jersey   3:18-cv-08589         NIX PATTERSON & ROACH
GOUCHER, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-11761         NIX PATTERSON & ROACH
GRUBER, MARJORIE            NJ - USDC for the District of New Jersey   3:18-cv-00884         NIX PATTERSON & ROACH
HENSON, ROBIN               NJ - USDC for the District of New Jersey   3:17-cv-05415         NIX PATTERSON & ROACH
MEYER, JOLENE               NJ - USDC for the District of New Jersey   3:18-cv-08578         NIX PATTERSON & ROACH
MITCHELL, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-02005         NIX PATTERSON & ROACH
MONTIHO, MARLENE            NJ - USDC for the District of New Jersey   3:17-cv-11770         NIX PATTERSON & ROACH
MOSS, PENNY                 NJ - USDC for the District of New Jersey   3:17-cv-00033         NIX PATTERSON & ROACH
PATTERSON, WANDA            NJ - USDC for the District of New Jersey   3:18-cv-00773         NIX PATTERSON & ROACH
RICCIUTI, CATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-08579         NIX PATTERSON & ROACH
ROBERTSON, JANICE           NJ - USDC for the District of New Jersey   3:18-cv-00795         NIX PATTERSON & ROACH
WILLS, SHAWN                NJ - USDC for the District of New Jersey   3:17-cv-03426         NIX PATTERSON & ROACH
ANDERSON, MARY              NJ - USDC for the District of New Jersey   3:21-cv-08151         OCONNOR, MCGUINNESS, CONTE, DOYLE,
DANIEL, JEAN                NJ - USDC for the District of New Jersey   3:21-cv-12351         OCONNOR, MCGUINNESS, CONTE, DOYLE,
KOERNER, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-08743         OCONNOR, MCGUINNESS, CONTE, DOYLE,
GARRIE, ANGELLA             NJ - USDC for the District of New Jersey   3:20-cv-10476         ODOM LAW FIRM, PA
KORTZ, LYNN                 NJ - USDC for the District of New Jersey   3:21-cv-17548         ODOM LAW FIRM, PA
CASEY, CAROL                NJ - USDC for the District of New Jersey   3:16-cv-07477         OLDFATHER LAW FIRM
MAHONE, HARRIET             NJ - USDC for the District of New Jersey   3:21-cv-12944         OLEARY, SHELTON, CORRIGAN, PETERSON
ABBATE, DIANE               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
ABBOTT, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-03777         ONDERLAW, LLC
ABBOTT, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-06675         ONDERLAW, LLC
ABEAR, NANCY                NJ - USDC for the District of New Jersey   3:21-cv-10008         ONDERLAW, LLC
ABELL, ASHLEY               NJ - USDC for the District of New Jersey   3:17-cv-09569         ONDERLAW, LLC
ABELL, TAMMY                NJ - USDC for the District of New Jersey   3:17-cv-08789         ONDERLAW, LLC
ABERCROMBIE, REGINA         MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
ABERNATHY, VIRGINIA         NJ - USDC for the District of New Jersey   3:21-cv-04358         ONDERLAW, LLC
ABINANTE, MELODY            NJ - USDC for the District of New Jersey   3:20-cv-19602         ONDERLAW, LLC
ABNEY, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-09572         ONDERLAW, LLC
ABNEY, NILA                 NJ - USDC for the District of New Jersey   3:21-cv-05847         ONDERLAW, LLC
ABNEY, OLA                  NJ - USDC for the District of New Jersey   3:21-cv-04224         ONDERLAW, LLC
ABRAHAM, CHERYL             NJ - USDC for the District of New Jersey   3:18-cv-04770         ONDERLAW, LLC
ABRAM, EDWINA               NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
ABRAMS, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-08783         ONDERLAW, LLC
ABREU, MELINDA              NJ - USDC for the District of New Jersey   3:20-cv-20349         ONDERLAW, LLC
ABRON, GRACIE               NJ - USDC for the District of New Jersey   3:21-cv-18393         ONDERLAW, LLC
ABSHIRE, MONICA             NJ - USDC for the District of New Jersey   3:21-cv-01151         ONDERLAW, LLC
ACERBI, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-04741         ONDERLAW, LLC
ACETI, LEIGH                NJ - USDC for the District of New Jersey   3:19-cv-21786         ONDERLAW, LLC
ACEVEDO, ESMERALDA          NJ - USDC for the District of New Jersey   3:21-cv-05888         ONDERLAW, LLC
ACHENBACH, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-11569         ONDERLAW, LLC
ACKERMAN-CASTELLANOS, BEA   NJ - USDC for the District of New Jersey   3:21-cv-09097         ONDERLAW, LLC
ACKERSON, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-03856         ONDERLAW, LLC
ACKMAN, MARY                NJ - USDC for the District of New Jersey   3:20-cv-17055         ONDERLAW, LLC
ACLA, BILLIE                NJ - USDC for the District of New Jersey   3:21-cv-03251         ONDERLAW, LLC
ACOSTA, LAURA               NJ - USDC for the District of New Jersey   3:21-cv-16795         ONDERLAW, LLC
ACOSTA, STEPHANIE           NJ - USDC for the District of New Jersey   3:21-cv-16806         ONDERLAW, LLC
ADAMS, CAROL                NJ - USDC for the District of New Jersey   3:21-cv-06686         ONDERLAW, LLC
ADAMS, CHERYL               NJ - USDC for the District of New Jersey   3:19-cv-00188         ONDERLAW, LLC
ADAMS, DEBORAH              MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
ADAMS, DELETTE              NJ - USDC for the District of New Jersey   3:20-cv-14650         ONDERLAW, LLC
ADAMS, JANICE               NJ - USDC for the District of New Jersey   3:18-cv-04576         ONDERLAW, LLC
ADAMS, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-06818         ONDERLAW, LLC
ADAMS, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-06536         ONDERLAW, LLC
ADAMS, MADJUIANNA           NJ - USDC for the District of New Jersey   3:21-cv-06107         ONDERLAW, LLC
ADAMS, MICKI                NJ - USDC for the District of New Jersey   3:21-cv-02598         ONDERLAW, LLC
ADAMS, NIKITA               MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
ADAMS, ROBERTA              NJ - USDC for the District of New Jersey   3:18-cv-12709         ONDERLAW, LLC
ADAMS, STACY                NJ - USDC for the District of New Jersey   3:18-cv-12811         ONDERLAW, LLC
ADAMS, TERESA               MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
ADAMS, TERRY                NJ - USDC for the District of New Jersey   3:21-cv-07644         ONDERLAW, LLC
ADAMS, TONI                 NJ - USDC for the District of New Jersey   3:17-cv-09726         ONDERLAW, LLC
ADAMS, TONI                 NJ - USDC for the District of New Jersey   3:17-cv-09726         ONDERLAW, LLC
ADAMS, TONI                 NJ - USDC for the District of New Jersey   3:17-cv-09726         ONDERLAW, LLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
ADCOCK, LOIS                NJ - USDC for the District of New Jersey   3:21-cv-05123         ONDERLAW, LLC
ADCOCK, MARKIE              NJ - USDC for the District of New Jersey   3:20-cv-20351         ONDERLAW, LLC
ADCOCK, TERRI               NJ - USDC for the District of New Jersey   3:21-cv-17942         ONDERLAW, LLC
ADDINGTON, PHYLLIS          NJ - USDC for the District of New Jersey   3:21-cv-09142         ONDERLAW, LLC
ADDIS, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-06546         ONDERLAW, LLC
ADDISON, DIANNE             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
ADDISON, TARA               NJ - USDC for the District of New Jersey   3:21-cv-02638         ONDERLAW, LLC
ADELMAN, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-04320         ONDERLAW, LLC
ADGER, MARSHA               NJ - USDC for the District of New Jersey   3:21-cv-17772         ONDERLAW, LLC
ADKINS, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-07939         ONDERLAW, LLC
ADKINS, MARTHA              NJ - USDC for the District of New Jersey   3:21-cv-02981         ONDERLAW, LLC
ADKINS, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-02912         ONDERLAW, LLC
ADKINS, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-07113         ONDERLAW, LLC
ADKISON, IDA                NJ - USDC for the District of New Jersey   3:19-cv-21787         ONDERLAW, LLC
ADLER, MYRNA                NJ - USDC for the District of New Jersey   3:21-cv-05868         ONDERLAW, LLC
ADRAGNA, SHAWNA             NJ - USDC for the District of New Jersey   3:21-cv-18048         ONDERLAW, LLC
ADSHER, SHIRLEY             NJ - USDC for the District of New Jersey   3:18-cv-10290         ONDERLAW, LLC
ADWAY, EARLEAN              NJ - USDC for the District of New Jersey   3:19-cv-21789         ONDERLAW, LLC
AFFOLTER, EVA               NJ - USDC for the District of New Jersey   3:17-cv-08785         ONDERLAW, LLC
AGBESI, KATHERINE           NJ - USDC for the District of New Jersey   3:21-cv-09012         ONDERLAW, LLC
AGE, KIMBERLY               NJ - USDC for the District of New Jersey   3:21-cv-10011         ONDERLAW, LLC
AGEE, DEBORAH               NJ - USDC for the District of New Jersey   3:20-cv-07288         ONDERLAW, LLC
AGER, VIRGINIA              NJ - USDC for the District of New Jersey   3:21-cv-06580         ONDERLAW, LLC
AGNEW, ANN                  MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
AGUIRRE, HILDA              NJ - USDC for the District of New Jersey   3:20-cv-20300         ONDERLAW, LLC
AGUIRRE, JUANITA            NJ - USDC for the District of New Jersey   3:21-cv-02402         ONDERLAW, LLC
AHEARN, CHRISTINA           MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
AHEARN, STASIA              NJ - USDC for the District of New Jersey   3:17-cv-11572         ONDERLAW, LLC
AHLBIN, DIANA               CA - Superior Court - Sacramento County    34-2017-00221540      ONDERLAW, LLC
AHLBIN, DIANA               NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
AHLVIN, TRACY               MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
AHMED, NUZHAT               NJ - USDC for the District of New Jersey   3:20-cv-01348         ONDERLAW, LLC
AIKENS, JANET               NJ - USDC for the District of New Jersey   3:21-cv-07711         ONDERLAW, LLC
AIMES, MARVA                NJ - USDC for the District of New Jersey   3:17-cv-08790         ONDERLAW, LLC
AJAMY, MICHELLE             NJ - USDC for the District of New Jersey   3:19-cv-21169         ONDERLAW, LLC
AKERS, BELINDA              NJ - USDC for the District of New Jersey   3:20-cv-06549         ONDERLAW, LLC
AKINS, DIANNE               NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
AKINS, OLGA                 NJ - USDC for the District of New Jersey   3:21-cv-06770         ONDERLAW, LLC
ALAMILLO, ERICA             NJ - USDC for the District of New Jersey   3:20-cv-00055         ONDERLAW, LLC
ALAMILLO, JOAQUINA          NJ - USDC for the District of New Jersey   3:18-cv-15411         ONDERLAW, LLC
ALANIS, GAUDALUPE           NJ - USDC for the District of New Jersey   3:20-cv-07463         ONDERLAW, LLC
ALANIZ, ODELIA              NJ - USDC for the District of New Jersey   3:18-cv-11956         ONDERLAW, LLC
ALBERDING, DONNA            NJ - USDC for the District of New Jersey   3:18-cv-12711         ONDERLAW, LLC
ALBERS, BILLIE              NJ - USDC for the District of New Jersey   3:17-cv-09195         ONDERLAW, LLC
ALBERT, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-09141         ONDERLAW, LLC
ALBERT, SHERRY              NJ - USDC for the District of New Jersey   3:21-cv-02844         ONDERLAW, LLC
ALBERTIN, LISA              NJ - USDC for the District of New Jersey   3:17-cv-09708         ONDERLAW, LLC
ALBIN, CARLENE              NJ - USDC for the District of New Jersey   3:21-cv-17469         ONDERLAW, LLC
ALBRECHT, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-06722         ONDERLAW, LLC
ALBRIGHT, ELAINE            NJ - USDC for the District of New Jersey   3:20-cv-07232         ONDERLAW, LLC
ALCOTT, LISA                NJ - USDC for the District of New Jersey   3:21-cv-04212         ONDERLAW, LLC
ALDAPA, PEARL               NJ - USDC for the District of New Jersey   3:21-cv-03377         ONDERLAW, LLC
ALDRICH-JACOBS, LISA        NJ - USDC for the District of New Jersey   3:19-cv-21489         ONDERLAW, LLC
ALDRIDGE, KATHERINE         NJ - USDC for the District of New Jersey   3:19-cv-14764         ONDERLAW, LLC
ALEGRIA, BERNICE            NJ - USDC for the District of New Jersey   3:21-cv-07492         ONDERLAW, LLC
ALEJANDRE, ERIKA            NJ - USDC for the District of New Jersey   3:17-cv-09551         ONDERLAW, LLC
ALEJANDRE, ERIKA            NJ - USDC for the District of New Jersey   3:17-cv-09551         ONDERLAW, LLC
ALEJANDRE, ERIKA            NJ - USDC for the District of New Jersey   3:17-cv-09551         ONDERLAW, LLC
ALEJANDRO, VALERIE          NJ - USDC for the District of New Jersey   3:20-cv-05158         ONDERLAW, LLC
ALEJO, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-09716         ONDERLAW, LLC
ALEJO, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-09716         ONDERLAW, LLC
ALEJO, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-09716         ONDERLAW, LLC
ALEXANDER, ANNA             NJ - USDC for the District of New Jersey   3:21-cv-02750         ONDERLAW, LLC
ALEXANDER, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-05956         ONDERLAW, LLC
ALEXANDER, CHARLENE         NJ - USDC for the District of New Jersey   3:21-cv-05210         ONDERLAW, LLC
ALEXANDER, HARRIET          NJ - USDC for the District of New Jersey   3:21-cv-06788         ONDERLAW, LLC
ALEXANDER, JOETTA           NJ - USDC for the District of New Jersey   3:17-cv-08787         ONDERLAW, LLC
ALEXANDER, NORMA            NJ - USDC for the District of New Jersey   3:21-cv-09908         ONDERLAW, LLC
ALEXANDER, PAT              NJ - USDC for the District of New Jersey   3:21-cv-05487         ONDERLAW, LLC
ALEXANDER, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-09189         ONDERLAW, LLC
ALEXANDER, PRENELLA         NJ - USDC for the District of New Jersey   3:21-cv-14983         ONDERLAW, LLC
ALEXANDER, SHANICE          NJ - USDC for the District of New Jersey   3:20-cv-09868         ONDERLAW, LLC
ALEXIS WINCHESTER           NJ - USDC for the District of New Jersey   3:21-cv-18202         ONDERLAW, LLC
ALFINITO-RENTA, QUINTETTE   NJ - USDC for the District of New Jersey   3:18-cv-09311         ONDERLAW, LLC
ALFORD, JENNY               NJ - USDC for the District of New Jersey   3:21-cv-04866         ONDERLAW, LLC
ALFRED, NATALIE             NJ - USDC for the District of New Jersey   3:20-cv-07763         ONDERLAW, LLC
ALFRED, SHIRLEY             NJ - USDC for the District of New Jersey   3:21-cv-03473         ONDERLAW, LLC
ALHART, THERESA             NJ - USDC for the District of New Jersey   3:17-cv-13495         ONDERLAW, LLC
ALI, NEELAM                 NJ - USDC for the District of New Jersey   3:21-cv-17472         ONDERLAW, LLC
ALKINS, MARLENE             NJ - USDC for the District of New Jersey   3:21-cv-09801         ONDERLAW, LLC




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          Claimant Name                     State Filed                    Docket Number               Plaintiff Counsel
ALKIRE, MARY              NJ - USDC for the District of New Jersey   3:20-cv-08114         ONDERLAW, LLC
ALLEN, BEULAH             NJ - USDC for the District of New Jersey   3:21-cv-05749         ONDERLAW, LLC
ALLEN, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-05794         ONDERLAW, LLC
ALLEN, CONNIE             NJ - USDC for the District of New Jersey   3:19-cv-14481         ONDERLAW, LLC
ALLEN, EBONY              NJ - USDC for the District of New Jersey   3:21-cv-01066         ONDERLAW, LLC
ALLEN, GLENA              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
ALLEN, HOPE               NJ - USDC for the District of New Jersey   3:18-cv-11964         ONDERLAW, LLC
ALLEN, HOUSTINE           NJ - USDC for the District of New Jersey   3:18-cv-03561         ONDERLAW, LLC
ALLEN, IISHA              NJ - USDC for the District of New Jersey   3:21-cv-05598         ONDERLAW, LLC
ALLEN, JUNE               MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
ALLEN, KELLY              MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
ALLEN, KERRIE             MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
ALLEN, KRISTI             NJ - USDC for the District of New Jersey   3:21-cv-04045         ONDERLAW, LLC
ALLEN, KRISTI             NJ - USDC for the District of New Jersey   3:20-cv-19581         ONDERLAW, LLC
ALLEN, MARIAN             NJ - USDC for the District of New Jersey   3:19-cv-21792         ONDERLAW, LLC
ALLEN, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-17698         ONDERLAW, LLC
ALLEN, ROSA               NJ - USDC for the District of New Jersey   3:17-cv-11147         ONDERLAW, LLC
ALLEN, ROSA               NJ - USDC for the District of New Jersey   3:17-cv-11147         ONDERLAW, LLC
ALLEN, ROSA               NJ - USDC for the District of New Jersey   3:17-cv-11147         ONDERLAW, LLC
ALLEN, SHERYL             MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
ALLEN, TRACY              NJ - USDC for the District of New Jersey   3:20-cv-13894         ONDERLAW, LLC
ALLGAIER, JUDITH          NJ - USDC for the District of New Jersey   3:20-cv-17612         ONDERLAW, LLC
ALLGEIER, HARRIET         NJ - USDC for the District of New Jersey   3:21-cv-06751         ONDERLAW, LLC
ALLISON, BETTY            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
ALLISON, SHARON           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
ALLMAN, KATIE             NJ - USDC for the District of New Jersey   3:21-cv-10013         ONDERLAW, LLC
ALLMYER, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-09457         ONDERLAW, LLC
ALLOUCHE, ROSEMARIE       NJ - USDC for the District of New Jersey   3:21-cv-17269         ONDERLAW, LLC
ALLRED, BOBBIE            NJ - USDC for the District of New Jersey   3:21-cv-05387         ONDERLAW, LLC
ALLSHOUSE, MARGARET       MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
ALMOND, KITTY             NJ - USDC for the District of New Jersey   3:21-cv-09353         ONDERLAW, LLC
ALMOND, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-07606         ONDERLAW, LLC
ALONSO, TAMMY             NJ - USDC for the District of New Jersey   3:18-cv-12016         ONDERLAW, LLC
ALSTON-SIMMONS, LAVONA    NJ - USDC for the District of New Jersey   3:21-cv-05195         ONDERLAW, LLC
ALT, TRACY                NJ - USDC for the District of New Jersey   3:21-cv-09653         ONDERLAW, LLC
ALTER, EILEEN             NJ - USDC for the District of New Jersey   3:17-cv-13087         ONDERLAW, LLC
ALTERA, KAY               NJ - USDC for the District of New Jersey   3:21-cv-05842         ONDERLAW, LLC
ALTHANS-BURNS, STACEY     NJ - USDC for the District of New Jersey   3:21-cv-16807         ONDERLAW, LLC
ALTRINGER, REBECCA        CA - Superior Court - Los Angeles County   BC681837              ONDERLAW, LLC
ALTRINGER, REBECCA        NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
ALVARADO, ELENA           NJ - USDC for the District of New Jersey   3:21-cv-01153         ONDERLAW, LLC
ALVARADO, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-06389         ONDERLAW, LLC
ALVAREZ, ANGELINA         NJ - USDC for the District of New Jersey   3:18-cv-15148         ONDERLAW, LLC
ALVAREZ, GRACIELA         NJ - USDC for the District of New Jersey   3:21-cv-00832         ONDERLAW, LLC
ALVAREZ, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-04290         ONDERLAW, LLC
ALVAREZ, VALERIE          NJ - USDC for the District of New Jersey   3:20-cv-02452         ONDERLAW, LLC
ALVAREZ, YANIRA           NJ - USDC for the District of New Jersey   3:18-cv-12197         ONDERLAW, LLC
ALVAREZ-PEREZ, YVETTE     NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
ALVES, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-04239         ONDERLAW, LLC
ALYINOVICH, ELIZABETH     NJ - USDC for the District of New Jersey   3:18-cv-03381         ONDERLAW, LLC
AMANA, LANA               NJ - USDC for the District of New Jersey   3:21-cv-04300         ONDERLAW, LLC
AMANULLAH, FARKHANDA      NJ - USDC for the District of New Jersey   3:21-cv-04330         ONDERLAW, LLC
AMARO, HILARY             NJ - USDC for the District of New Jersey   3:20-cv-20354         ONDERLAW, LLC
AMBADJES, BARBARA         NJ - USDC for the District of New Jersey   3:20-cv-07627         ONDERLAW, LLC
AMERSON, DEANDRA          NJ - USDC for the District of New Jersey   3:21-cv-08805         ONDERLAW, LLC
AMHOLT, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-09905         ONDERLAW, LLC
AMHOLT, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-09905         ONDERLAW, LLC
AMHOLT, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-09905         ONDERLAW, LLC
AMIRGHAHARI, NILOOFAR     NJ - USDC for the District of New Jersey   3:21-cv-17461         ONDERLAW, LLC
AMIRGHOLI, JENNIFER       NJ - USDC for the District of New Jersey   3:21-cv-09267         ONDERLAW, LLC
AMIRO, HEIDI              MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
AMMAR, JACQUELINE         IL - Circuit Court - Cook County           2020L013347           ONDERLAW, LLC
AMMESMAKI, DEBBIE         NJ - USDC for the District of New Jersey   3:20-cv-20356         ONDERLAW, LLC
AMMONS, PHYLLIS           NJ - USDC for the District of New Jersey   3:21-cv-09730         ONDERLAW, LLC
AMOGRETTI, GLORIA         NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
AMOS, SARAH               NJ - USDC for the District of New Jersey   3:21-cv-02347         ONDERLAW, LLC
AMSBRY, KARINA            NJ - USDC for the District of New Jersey   3:21-cv-07200         ONDERLAW, LLC
ANABLE, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-02489         ONDERLAW, LLC
ANDERSEN, TRACEY          NJ - USDC for the District of New Jersey   3:17-cv-08791         ONDERLAW, LLC
ANDERSON, BARBARA         MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
ANDERSON, BARBARA         NJ - USDC for the District of New Jersey   3:19-cv-16102         ONDERLAW, LLC
ANDERSON, BEATRICE        NJ - USDC for the District of New Jersey   3:21-cv-12266         ONDERLAW, LLC
ANDERSON, CAROL           NJ - USDC for the District of New Jersey   3:19-cv-10257         ONDERLAW, LLC
ANDERSON, CHARLENE        NJ - USDC for the District of New Jersey   3:21-cv-06880         ONDERLAW, LLC
ANDERSON, CYNTHIA         NJ - USDC for the District of New Jersey   3:21-cv-07007         ONDERLAW, LLC
ANDERSON, DEMERITA        NJ - USDC for the District of New Jersey   3:18-cv-04771         ONDERLAW, LLC
ANDERSON, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-12282         ONDERLAW, LLC
ANDERSON, DRONDA          NJ - USDC for the District of New Jersey   3:20-cv-03442         ONDERLAW, LLC
ANDERSON, GLORIA          NJ - USDC for the District of New Jersey   3:20-cv-09871         ONDERLAW, LLC
ANDERSON, GWENDOLYN       NJ - USDC for the District of New Jersey   3:21-cv-05184         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ANDERSON, JEANETTE        NJ - USDC for the District of New Jersey   3:21-cv-08402         ONDERLAW, LLC
ANDERSON, JEWELL          NJ - USDC for the District of New Jersey   3:20-cv-00537         ONDERLAW, LLC
ANDERSON, JOAN            NJ - USDC for the District of New Jersey   3:21-cv-09420         ONDERLAW, LLC
ANDERSON, LAURA           NJ - USDC for the District of New Jersey   3:21-cv-09685         ONDERLAW, LLC
ANDERSON, LISA            NJ - USDC for the District of New Jersey   3:21-cv-06984         ONDERLAW, LLC
ANDERSON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-04191         ONDERLAW, LLC
ANDERSON, MICHELLE        MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
ANDERSON, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-21794         ONDERLAW, LLC
ANDERSON, PLEASANT        NJ - USDC for the District of New Jersey   3:21-cv-05822         ONDERLAW, LLC
ANDERSON, RACHEL          NJ - USDC for the District of New Jersey   3:21-cv-02334         ONDERLAW, LLC
ANDERSON, ROBYN           NJ - USDC for the District of New Jersey   3:17-cv-08792         ONDERLAW, LLC
ANDERSON, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-03985         ONDERLAW, LLC
ANDERSON, SHANETTA        NJ - USDC for the District of New Jersey   3:21-cv-03469         ONDERLAW, LLC
ANDERSON, SHARLENE        MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
ANDERSON, STACEY          NJ - USDC for the District of New Jersey   3:21-cv-04910         ONDERLAW, LLC
ANDERSON, VIRGINIA        NJ - USDC for the District of New Jersey   3:20-cv-06663         ONDERLAW, LLC
ANDERSON, VIRGNIA         MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
ANDERSON, WILMA           NJ - USDC for the District of New Jersey   3:21-cv-02871         ONDERLAW, LLC
ANDONIADIS, MARTHA        NJ - USDC for the District of New Jersey   3:21-cv-04878         ONDERLAW, LLC
ANDREASON, LORAE          NJ - USDC for the District of New Jersey   3:20-cv-02115         ONDERLAW, LLC
ANDREOZZI, CATHERINE      NJ - USDC for the District of New Jersey   3:21-cv-08180         ONDERLAW, LLC
ANDREWS (MO), BRENDA      MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
ANDREWS, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-10070         ONDERLAW, LLC
ANDREWS, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-02041         ONDERLAW, LLC
ANDREWS, DIANE            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
ANDREWS, HEATHER          NJ - USDC for the District of New Jersey   3:21-cv-04211         ONDERLAW, LLC
ANDREWS, MARGARETTA       NJ - USDC for the District of New Jersey   3:18-cv-06762         ONDERLAW, LLC
ANDREWS, OLLIE            NJ - USDC for the District of New Jersey   3:21-cv-07661         ONDERLAW, LLC
ANDREWS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-05596         ONDERLAW, LLC
ANDREWS, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-18059         ONDERLAW, LLC
ANDROJNA, HEIDI           NJ - USDC for the District of New Jersey   3:21-cv-07475         ONDERLAW, LLC
ANGELICA GARCIA-ADAMU     NJ - USDC for the District of New Jersey   3;21-CV-18392         ONDERLAW, LLC
ANGELO, GAYLE-JEAN        MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
ANGLIN, JOANN             MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
ANNA YUHAS                NJ - USDC for the District of New Jersey   3:21-cv-18217         ONDERLAW, LLC
ANNAN, KIMYETTA           NJ - USDC for the District of New Jersey   3:21-cv-10018         ONDERLAW, LLC
ANNUNZIATA, AMORELLI      NJ - USDC for the District of New Jersey   3:20-cv-20360         ONDERLAW, LLC
ANTHONY, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-05272         ONDERLAW, LLC
ANTHONY-MORTON, SHAWN     NJ - USDC for the District of New Jersey   3:21-cv-08851         ONDERLAW, LLC
ANTOINE, BEVERLY          NJ - USDC for the District of New Jersey   3:17-cv-10503         ONDERLAW, LLC
ANTONINI, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-02189         ONDERLAW, LLC
ANTOS, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-06434         ONDERLAW, LLC
APPINO, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-04692         ONDERLAW, LLC
APT, DEBORAH              NJ - USDC for the District of New Jersey   3:21-cv-07440         ONDERLAW, LLC
AQUINO, LIZANNE           NJ - USDC for the District of New Jersey   3:20-cv-06664         ONDERLAW, LLC
ARAIZA, DOLORES           NJ - USDC for the District of New Jersey   3:21-cv-17052         ONDERLAW, LLC
ARANGO, ADRIANA           MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
ARAUJO, YOLANDA           NJ - USDC for the District of New Jersey   3:20-cv-12188         ONDERLAW, LLC
ARBOUR, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-02958         ONDERLAW, LLC
ARCENEAUX, TANYA          NJ - USDC for the District of New Jersey   3:20-cv-09873         ONDERLAW, LLC
ARCHIBALD, BRANDI         NJ - USDC for the District of New Jersey   3:21-cv-08271         ONDERLAW, LLC
ARCHIE, THERESA           MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
ARCHULETA, JORDAN         NJ - USDC for the District of New Jersey   3:21-cv-05975         ONDERLAW, LLC
ARD, ANITA                NJ - USDC for the District of New Jersey   3:20-cv-09875         ONDERLAW, LLC
AREVALO, RACHEL           NJ - USDC for the District of New Jersey   3:17-cv-10510         ONDERLAW, LLC
ARGETSINGER, DAWN         NJ - USDC for the District of New Jersey   3:21-cv-03861         ONDERLAW, LLC
ARGINSKY, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-09795         ONDERLAW, LLC
ARGIRO, MARY              NJ - USDC for the District of New Jersey   3:18-cv-12405         ONDERLAW, LLC
ARGUELLO, DALIA           NJ - USDC for the District of New Jersey   3:20-cv-17608         ONDERLAW, LLC
ARISPE, VICTORIA          NJ - USDC for the District of New Jersey   3:21-cv-04377         ONDERLAW, LLC
ARMENDARIZ, DELIA         MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
ARMSTEAD, ETHEL           NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
ARMSTEAD, ROCSHELL        NJ - USDC for the District of New Jersey   3:19-cv-13541         ONDERLAW, LLC
ARMSTRONG, BARBARA        NJ - USDC for the District of New Jersey   3:21-cv-03825         ONDERLAW, LLC
ARMSTRONG, BETTY          NJ - USDC for the District of New Jersey   3:17-cv-08777         ONDERLAW, LLC
ARMSTRONG, DONNA          NJ - USDC for the District of New Jersey   3:18-cv-13922         ONDERLAW, LLC
ARMSTRONG, FRANCES        NJ - USDC for the District of New Jersey   3:21-cv-10019         ONDERLAW, LLC
ARMSTRONG, LOIS           NJ - USDC for the District of New Jersey   3:20-cv-14200         ONDERLAW, LLC
ARMSTRONG, SUSAN          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
ARNETT, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
ARNOLD, JANA              NJ - USDC for the District of New Jersey   3:21-cv-10022         ONDERLAW, LLC
ARNOLD, JANELL            NJ - USDC for the District of New Jersey   3:21-cv-02902         ONDERLAW, LLC
ARNOLD, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
ARNOLD, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-04775         ONDERLAW, LLC
ARNSTEIN, LOIS            MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
ARP, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-16813         ONDERLAW, LLC
ARRAO, DIANNE             NJ - USDC for the District of New Jersey   3:18-cv-08170         ONDERLAW, LLC
ARREAGA, ELAINE           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
ARRINGTON, VERNA          NJ - USDC for the District of New Jersey   3:21-cv-05840         ONDERLAW, LLC
ARROYO, ANNA              MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ARROYO, PEGGY             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
ARROYO, THEA              NJ - USDC for the District of New Jersey   3:20-cv-13899         ONDERLAW, LLC
ARSENEAULT, CAREN         NJ - USDC for the District of New Jersey   3:18-cv-13421         ONDERLAW, LLC
ARTAC, CHRISTINE          MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
ARTHUR, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-13799         ONDERLAW, LLC
ARVIE, EMILY              NJ - USDC for the District of New Jersey   3:21-cv-04840         ONDERLAW, LLC
ARYEE, FELICIA            NJ - USDC for the District of New Jersey   3:21-cv-05119         ONDERLAW, LLC
ASBELL, TEANA             NJ - USDC for the District of New Jersey   3:21-cv-01520         ONDERLAW, LLC
ASBY, ANNA                NJ - USDC for the District of New Jersey   3:21-cv-02953         ONDERLAW, LLC
ASCHOFF, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-02379         ONDERLAW, LLC
ASH, JUNE                 NJ - USDC for the District of New Jersey   3:21-cv-09307         ONDERLAW, LLC
ASH, ROSEANNA             NJ - USDC for the District of New Jersey   3:21-cv-02018         ONDERLAW, LLC
ASHBORN, MELISSA          NJ - USDC for the District of New Jersey   3:21-cv-04906         ONDERLAW, LLC
ASHBURN, LINDA            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
ASHBY, AUDREY             NJ - USDC for the District of New Jersey   3:21-cv-16934         ONDERLAW, LLC
ASHBY, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-07428         ONDERLAW, LLC
ASHCRAFT, PEGGY           NJ - USDC for the District of New Jersey   3:18-cv-16629         ONDERLAW, LLC
ASHER, MAXINE             NJ - USDC for the District of New Jersey   3:21-cv-02208         ONDERLAW, LLC
ASHFORD, RUBY             NJ - USDC for the District of New Jersey   3:20-cv-20325         ONDERLAW, LLC
ASHLEY, CARLA             NJ - USDC for the District of New Jersey   3:20-cv-17492         ONDERLAW, LLC
ASHLOCK, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-14730         ONDERLAW, LLC
ASHRATI, GHYZAL           NJ - USDC for the District of New Jersey   3:21-cv-02426         ONDERLAW, LLC
ASHWORTH, CAROL           NJ - USDC for the District of New Jersey   3:17-cv-08482         ONDERLAW, LLC
ASKEW, NANCY              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
ASKINS, PAMELA            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
ASLESON, WANDA            NJ - USDC for the District of New Jersey   3:21-cv-09291         ONDERLAW, LLC
ASPIRAS, MARGARET         NJ - USDC for the District of New Jersey   3:18-cv-17700         ONDERLAW, LLC
ASSAF, JANICE             NJ - USDC for the District of New Jersey   3:18-cv-11748         ONDERLAW, LLC
ASSENTI, DENISE           NJ - USDC for the District of New Jersey   3:21-cv-03857         ONDERLAW, LLC
ASTON, CAROLYN            NJ - USDC for the District of New Jersey   3:18-cv-07964         ONDERLAW, LLC
ATCHISON, KATHLEEN        NJ - USDC for the District of New Jersey   3:21-cv-07194         ONDERLAW, LLC
ATHERTON, JANET           NJ - USDC for the District of New Jersey   3:18-cv-17362         ONDERLAW, LLC
ATHERTON, PHYLLIS         NJ - USDC for the District of New Jersey   3:19-cv-04412         ONDERLAW, LLC
ATHERTON, YVONNE          NJ - USDC for the District of New Jersey   3:17-cv-09285         ONDERLAW, LLC
ATHERTON, YVONNE          NJ - USDC for the District of New Jersey   3:17-cv-09285         ONDERLAW, LLC
ATHERTON, YVONNE          NJ - USDC for the District of New Jersey   3:17-cv-09285         ONDERLAW, LLC
ATKINS, CANDY             NJ - USDC for the District of New Jersey   3:18-cv-08590         ONDERLAW, LLC
ATKINS, DOROTHY           NJ - USDC for the District of New Jersey   3:21-cv-17478         ONDERLAW, LLC
ATKINS, EDWINA            NJ - USDC for the District of New Jersey   3:21-cv-05835         ONDERLAW, LLC
ATKINS, RENA              NJ - USDC for the District of New Jersey   3:21-cv-17172         ONDERLAW, LLC
ATKINS, STARLIC           NJ - USDC for the District of New Jersey   3:21-cv-03167         ONDERLAW, LLC
ATKINS, YVETTE            NJ - USDC for the District of New Jersey   3:21-cv-05663         ONDERLAW, LLC
ATKINSON, ANITA           NJ - USDC for the District of New Jersey   3:18-cv-08324         ONDERLAW, LLC
ATKINSON, MARGORIE        NJ - USDC for the District of New Jersey   3:21-cv-05309         ONDERLAW, LLC
AUDDINO, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-08894         ONDERLAW, LLC
AUDETTE, FAITH            NJ - USDC for the District of New Jersey   3:20-cv-02895         ONDERLAW, LLC
AUGEN, MARJORIE           NJ - USDC for the District of New Jersey   3:21-cv-05106         ONDERLAW, LLC
AUGUSTUS, DENICE          NJ - USDC for the District of New Jersey   3:21-cv-03333         ONDERLAW, LLC
AUMUA, VAOITA             NJ - USDC for the District of New Jersey   3:21-cv-07196         ONDERLAW, LLC
AUSTIN, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-02415         ONDERLAW, LLC
AUSTIN, EVELYN            NJ - USDC for the District of New Jersey   3:18-cv-10899         ONDERLAW, LLC
AUSTIN, JEWELL            NJ - USDC for the District of New Jersey   3:21-cv-05872         ONDERLAW, LLC
AUSTIN, TRACIE            NJ - USDC for the District of New Jersey   3:17-cv-08485         ONDERLAW, LLC
AUSTINSON, BARBARA        NJ - USDC for the District of New Jersey   3:18-cv-13172         ONDERLAW, LLC
AUSTIN-WYATT, MAUDE       NJ - USDC for the District of New Jersey   3:21-cv-08808         ONDERLAW, LLC
AUTEN, MARY               NJ - USDC for the District of New Jersey   3:21-cv-03834         ONDERLAW, LLC
AUTHEMENT, APRIL          NJ - USDC for the District of New Jersey   3:21-cv-02986         ONDERLAW, LLC
AVEAI, FILIFILI           NJ - USDC for the District of New Jersey   3:21-cv-07963         ONDERLAW, LLC
AVENETTI, EVANGELINA      NJ - USDC for the District of New Jersey   3:21-cv-03870         ONDERLAW, LLC
AVERSA, CHRISTINE         NJ - USDC for the District of New Jersey   3:18-cv-12198         ONDERLAW, LLC
AVERY, JODY               NJ - USDC for the District of New Jersey   3:21-cv-09082         ONDERLAW, LLC
AVETISYAN, MAGDA          MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
AVILA, VICTORIA           NJ - USDC for the District of New Jersey   3:20-cv-07267         ONDERLAW, LLC
AVITIA, MYRNA             NJ - USDC for the District of New Jersey   3:21-cv-10023         ONDERLAW, LLC
AYALA, JUANITA            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
AYALA, KAREN              NJ - USDC for the District of New Jersey   3:19-cv-20783         ONDERLAW, LLC
AYALA, LITHIA             NJ - USDC for the District of New Jersey   3:21-cv-09521         ONDERLAW, LLC
AYOUB, NADIA              NJ - USDC for the District of New Jersey   3:20-cv-06304         ONDERLAW, LLC
AYTES, STACY              NJ - USDC for the District of New Jersey   3:21-cv-04379         ONDERLAW, LLC
BAASCH, TANYA             NJ - USDC for the District of New Jersey   3:18-cv-15432         ONDERLAW, LLC
BABB, MARJORIE            NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
BABB, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-09397         ONDERLAW, LLC
BABIN, KARLA              NJ - USDC for the District of New Jersey   3:21-cv-05322         ONDERLAW, LLC
BACA, CRYSTAL             NJ - USDC for the District of New Jersey   3:20-cv-06875         ONDERLAW, LLC
BACHIE, DELORES           NJ - USDC for the District of New Jersey   3:20-cv-13261         ONDERLAW, LLC
BACHMAN, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-07985         ONDERLAW, LLC
BACKER, BETSY             NJ - USDC for the District of New Jersey   3:21-cv-08960         ONDERLAW, LLC
BACKER, KARA              NJ - USDC for the District of New Jersey   3:19-cv-10284         ONDERLAW, LLC
BACKUS, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-15814         ONDERLAW, LLC
BACLIG, EMILIANA          NJ - USDC for the District of New Jersey   3:21-cv-01542         ONDERLAW, LLC




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
BACON, TRINA                      NJ - USDC for the District of New Jersey   3:21-cv-08239         ONDERLAW, LLC
BADGER, ADA                       NJ - USDC for the District of New Jersey   3:21-cv-06715         ONDERLAW, LLC
BAGLEY, JOANNE                    NJ - USDC for the District of New Jersey   3:21-cv-09356         ONDERLAW, LLC
BAGSBY, JUAWANA                   NJ - USDC for the District of New Jersey   3:21-cv-05592         ONDERLAW, LLC
BAHMLER, JANICE                   NJ - USDC for the District of New Jersey   3:18-cv-10767         ONDERLAW, LLC
BAHREY, MARLENE                   NJ - USDC for the District of New Jersey   3:21-cv-04254         ONDERLAW, LLC
BAILER, ELIZABETH                 NJ - USDC for the District of New Jersey   3:21-cv-09287         ONDERLAW, LLC
BAILEY, ANGELA                    NJ - USDC for the District of New Jersey   3:21-cv-02256         ONDERLAW, LLC
BAILEY, BEATRICE                  NJ - USDC for the District of New Jersey   3:21-cv-02727         ONDERLAW, LLC
BAILEY, BRENDA                    NJ - USDC for the District of New Jersey   3:20-cv-20357         ONDERLAW, LLC
BAILEY, DENICE                    NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
BAILEY, GEVINCIA                  NJ - USDC for the District of New Jersey   3:21-cv-05083         ONDERLAW, LLC
BAILEY, JENNIFER                  NJ - USDC for the District of New Jersey   3:21-cv-01975         ONDERLAW, LLC
BAILEY, KAREN                     NJ - USDC for the District of New Jersey   3:17-cv-11800         ONDERLAW, LLC
BAILEY, LATOYA                    NJ - USDC for the District of New Jersey   3:20-cv-20359         ONDERLAW, LLC
BAILEY, LESLIE                    NJ - USDC for the District of New Jersey   3:21-cv-16748         ONDERLAW, LLC
BAILEY, LYNN                      NJ - USDC for the District of New Jersey   3:21-cv-09805         ONDERLAW, LLC
BAILEY, MARY                      NJ - USDC for the District of New Jersey   3:21-cv-06992         ONDERLAW, LLC
BAILEY, PATRICIA                  NJ - USDC for the District of New Jersey   3:21-cv-06293         ONDERLAW, LLC
BAILEY, SHIRLEY                   NJ - USDC for the District of New Jersey   3:21-cv-04940         ONDERLAW, LLC
BAILEY-PARKER, SARAH              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
BAILOR, JEANNE                    NJ - USDC for the District of New Jersey   3:21-cv-09255         ONDERLAW, LLC
BAIRD, NETTIE                     NJ - USDC for the District of New Jersey   3:19-cv-19779         ONDERLAW, LLC
BAKER, BETHANY                    NJ - USDC for the District of New Jersey   3:21-cv-06927         ONDERLAW, LLC
BAKER, CARMEN                     NJ - USDC for the District of New Jersey   3:20-cv-05159         ONDERLAW, LLC
BAKER, CAROL                      NJ - USDC for the District of New Jersey   3:17-cv-12353         ONDERLAW, LLC
BAKER, CATHERINE                  NJ - USDC for the District of New Jersey   3:19-cv-20639         ONDERLAW, LLC
BAKER, COREENA                    NJ - USDC for the District of New Jersey   3:18-cv-17703         ONDERLAW, LLC
BAKER, DEANA                      NJ - USDC for the District of New Jersey   3:21-cv-10025         ONDERLAW, LLC
BAKER, DEBORAH                    NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
BAKER, DONNA                      NJ - USDC for the District of New Jersey   3:20-cv-00961         ONDERLAW, LLC
BAKER, GRACE                      NJ - USDC for the District of New Jersey   3:21-cv-03828         ONDERLAW, LLC
BAKER, JEANNIE                    NJ - USDC for the District of New Jersey   3:20-cv-02317         ONDERLAW, LLC
BAKER, JOYCE                      NJ - USDC for the District of New Jersey   3:21-cv-02102         ONDERLAW, LLC
BAKER, LYNDA                      NJ - USDC for the District of New Jersey   3:21-cv-02257         ONDERLAW, LLC
BAKER, MABLE                      NJ - USDC for the District of New Jersey   3:21-cv-02016         ONDERLAW, LLC
BAKER, MARION                     NJ - USDC for the District of New Jersey   3:21-cv-04909         ONDERLAW, LLC
BAKER, NANETTE                    NJ - USDC for the District of New Jersey   3:20-cv-01038         ONDERLAW, LLC
BAKER, PEGGY                      NJ - USDC for the District of New Jersey   3:18-cv-17701         ONDERLAW, LLC
BAKER, STEPHANIE                  NJ - USDC for the District of New Jersey   3:21-cv-05202         ONDERLAW, LLC
BAKER, TAMMY                      NJ - USDC for the District of New Jersey   3:21-cv-02168         ONDERLAW, LLC
BAKER-DUHO, RAMONA                NJ - USDC for the District of New Jersey   3:21-cv-04870         ONDERLAW, LLC
BAKMAN, DEBBIE                    NJ - USDC for the District of New Jersey   3:17-cv-05720         ONDERLAW, LLC
BAKSH, NAZIMA                     NJ - USDC for the District of New Jersey   3:21-cv-02481         ONDERLAW, LLC
BALA, SUSAN                       NJ - USDC for the District of New Jersey   3:20-cv-08861         ONDERLAW, LLC
BALDON, ELMIRA                    NJ - USDC for the District of New Jersey   3:17-cv-09769         ONDERLAW, LLC
BALDRIDGE, ANDREA                 NJ - USDC for the District of New Jersey   3:20-cv-00767         ONDERLAW, LLC
BALDWIN, ALEXANDRIA               NJ - USDC for the District of New Jersey   3:21-cv-06660         ONDERLAW, LLC
BALDWIN, SHERRY                   NJ - USDC for the District of New Jersey   3:21-cv-07071         ONDERLAW, LLC
BALENTINE, VICKEY                 NJ - USDC for the District of New Jersey   3:18-cv-08379         ONDERLAW, LLC
BALKE, SHASHONNA                  NJ - USDC for the District of New Jersey   3:21-cv-05951         ONDERLAW, LLC
BALL, BELINDA                     NJ - USDC for the District of New Jersey   3:18-cv-08412         ONDERLAW, LLC
BALL, GEORGETTA                   NJ - USDC for the District of New Jersey   3:21-cv-02210         ONDERLAW, LLC
BALL, LOUISE                      NJ - USDC for the District of New Jersey   3:21-cv-06531         ONDERLAW, LLC
BALL, LUGUSTA                     NJ - USDC for the District of New Jersey   3:21-cv-03798         ONDERLAW, LLC
BALL, SANDRA                      NJ - USDC for the District of New Jersey   3:18-cv-10690         ONDERLAW, LLC
BALL, YUVONNE                     NJ - USDC for the District of New Jersey   3:21-cv-03743         ONDERLAW, LLC
BALLANTYNE, DIANE                 NJ - USDC for the District of New Jersey   3:21-cv-04628         ONDERLAW, LLC
BALLARD, DIANA                    NJ - USDC for the District of New Jersey   3:17-cv-09873         ONDERLAW, LLC
BALLARD, KIMBERLY                 NJ - USDC for the District of New Jersey   3:21-cv-17292         ONDERLAW, LLC
BALLOU, CHRISTINE                 NJ - USDC for the District of New Jersey   3:21-cv-07763         ONDERLAW, LLC
BALMER, BEATRICE                  NJ - USDC for the District of New Jersey   3:21-cv-01543         ONDERLAW, LLC
BALMER, TERESA                    NJ - USDC for the District of New Jersey   3:21-cv-03025         ONDERLAW, LLC
BALVIN, JANA                      NJ - USDC for the District of New Jersey   3:18-cv-14559         ONDERLAW, LLC
BANAHAN, JULIE                    NJ - USDC for the District of New Jersey   3:18-cv-11377         ONDERLAW, LLC
BANDIN, DANA                      NJ - USDC for the District of New Jersey   3:21-cv-08016         ONDERLAW, LLC
BANGHART-GIORDANO, MICHELLE NJ - USDC for the District of New Jersey         3:18-cv-11382         ONDERLAW, LLC
BANKS, JOYCE                      NJ - USDC for the District of New Jersey   3:21-cv-09123         ONDERLAW, LLC
BANKS, LISA                       NJ - USDC for the District of New Jersey   3:21-cv-06931         ONDERLAW, LLC
BANKS, LYNN                       NJ - USDC for the District of New Jersey   3:20-cv-09876         ONDERLAW, LLC
BANKS, VANESSA                    NJ - USDC for the District of New Jersey   3:17-cv-08488         ONDERLAW, LLC
BANNA, CYNTHIA                    NJ - USDC for the District of New Jersey   3:21-cv-09458         ONDERLAW, LLC
BANNERMAN, ANNIE                  NJ - USDC for the District of New Jersey   3:20-cv-17072         ONDERLAW, LLC
BANNISTER, ANDREA                 NJ - USDC for the District of New Jersey   3:21-cv-08919         ONDERLAW, LLC
BANOVIC, GLORIA                   NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
BANYAI, ILONA                     NJ - USDC for the District of New Jersey   3:20-cv-00768         ONDERLAW, LLC
BAPPLE, MARIE                     NJ - USDC for the District of New Jersey   3:18-cv-09313         ONDERLAW, LLC
BAPTISTE, TRACY                   NJ - USDC for the District of New Jersey   3:21-cv-17482         ONDERLAW, LLC
BAQUERO, MARTHA                   NJ - USDC for the District of New Jersey   3:21-cv-01531         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
BARAN, JUDITH             MO - Circuit Court - City of St. Louis     1722-CC10919              ONDERLAW, LLC
BARAN, NORA               NJ - USDC for the District of New Jersey   3:17-cv-07929             ONDERLAW, LLC
BARBER, ETHEL             NJ - USDC for the District of New Jersey   3:20-cv-11014             ONDERLAW, LLC
BARBER, GLADYS            NJ - USDC for the District of New Jersey   3:21-cv-03168             ONDERLAW, LLC
BARBIN, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-03087             ONDERLAW, LLC
BARBOUR, JESSIE           NJ - USDC for the District of New Jersey   3:21-cv-07479             ONDERLAW, LLC
BAREFOOT, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-15333             ONDERLAW, LLC
BARENTINE, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-09684             ONDERLAW, LLC
BARILE, JANE              NJ - USDC for the District of New Jersey   3:17-cv-09874             ONDERLAW, LLC
BARILE, JANE              NJ - USDC for the District of New Jersey   3:17-cv-09874             ONDERLAW, LLC
BARKER, JEANETTE          NJ - USDC for the District of New Jersey   3:21-cv-04849             ONDERLAW, LLC
BARKER, JESSICA           NJ - USDC for the District of New Jersey   3:19-cv-20644             ONDERLAW, LLC
BARKER, REGINA            NJ - USDC for the District of New Jersey   3:21-cv-05871             ONDERLAW, LLC
BARKSDALE, JACQUEOLYN     NJ - USDC for the District of New Jersey   3:21-cv-08912             ONDERLAW, LLC
BARLOW, PATRICIA          MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
BARLOW, ZOE               NJ - USDC for the District of New Jersey   3:21-cv-05702             ONDERLAW, LLC
BARNER, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-01467             ONDERLAW, LLC
BARNES, DENISE            NJ - USDC for the District of New Jersey   3:19-cv-20004             ONDERLAW, LLC
BARNES, ELIZABETH         NJ - USDC for the District of New Jersey   3:19-cv-07163             ONDERLAW, LLC
BARNES, JOANNA            NJ - USDC for the District of New Jersey   3:21-cv-06704             ONDERLAW, LLC
BARNES, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-05160             ONDERLAW, LLC
BARNES, LUCIA             NJ - USDC for the District of New Jersey   3:19-cv-13055             ONDERLAW, LLC
BARNES, MARY              MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
BARNES, MARY              NJ - USDC for the District of New Jersey   3:21-cv-04351             ONDERLAW, LLC
BARNES, OK                NJ - USDC for the District of New Jersey   3:21-cv-06063             ONDERLAW, LLC
BARNES, SHENNA            NJ - USDC for the District of New Jersey   3:21-cv-08056             ONDERLAW, LLC
BARNETT, ARIANA           NJ - USDC for the District of New Jersey   3:21-cv-03749             ONDERLAW, LLC
BARNETT, KATHRYN          NJ - USDC for the District of New Jersey   3:20-cv-17689             ONDERLAW, LLC
BARNETT, NANCY            MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
BARNETT, SHERI            NJ - USDC for the District of New Jersey   3:20-cv-20369             ONDERLAW, LLC
BARNETTE, VICTORIA        NJ - USDC for the District of New Jersey   3:21-cv-04723             ONDERLAW, LLC
BARNHART, JONI            NJ - USDC for the District of New Jersey   3:17-cv-05719             ONDERLAW, LLC
BARNHART, SHARAN          NJ - USDC for the District of New Jersey   3:17-cv-09550             ONDERLAW, LLC
BARNUM, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-16924             ONDERLAW, LLC
BARNUM, IRENE             NJ - USDC for the District of New Jersey   3:19-cv-17342             ONDERLAW, LLC
BARON, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-09021             ONDERLAW, LLC
BARR, CHRISTINE           NJ - USDC for the District of New Jersey   3:21-cv-07701             ONDERLAW, LLC
BARR, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-02040             ONDERLAW, LLC
BARR, VICKIE              NJ - USDC for the District of New Jersey   3:21-cv-04904             ONDERLAW, LLC
BARRAN-JAMES, SANDRA      NJ - USDC for the District of New Jersey   3:21-cv-17346             ONDERLAW, LLC
BARRELL, MARCY            NJ - USDC for the District of New Jersey   3:20-cv-12354             ONDERLAW, LLC
BARRETT, KARIN            NJ - USDC for the District of New Jersey   3:17-cv-13802             ONDERLAW, LLC
BARRETT, MICHELL          NJ - USDC for the District of New Jersey   3:21-cv-03245             ONDERLAW, LLC
BARRETT, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-09815             ONDERLAW, LLC
                                                                     30-2017-00950561-CU-PL-
BARRETTE, DIANE           CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                     CXC
BARRISH, KATHLEEN         NJ - USDC for the District of New Jersey   3:17-cv-10115             ONDERLAW, LLC
BARRON, IRMGARD           NJ - USDC for the District of New Jersey   3:21-cv-08792             ONDERLAW, LLC
BARROWS, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-09286             ONDERLAW, LLC
BARRS, RUBY               NJ - USDC for the District of New Jersey   3:18-cv-12460             ONDERLAW, LLC
BARRY, CAROL              MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
BARRY, DENISE             NJ - USDC for the District of New Jersey   3:19-cv-20039             ONDERLAW, LLC
BARTELL, JANE             NJ - USDC for the District of New Jersey   3:21-cv-06339             ONDERLAW, LLC
BARTH, ANNETTE            NJ - USDC for the District of New Jersey   3:19-cv-21796             ONDERLAW, LLC
BARYLAK, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-06520             ONDERLAW, LLC
BASH, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-09796             ONDERLAW, LLC
BASHAM, BOBBIE            NJ - USDC for the District of New Jersey   3:21-cv-17973             ONDERLAW, LLC
BASKERVILLE, VALERIE      NJ - USDC for the District of New Jersey   3:18-cv-12386             ONDERLAW, LLC
BASNAW, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-04147             ONDERLAW, LLC
BASPED, JESSIE            NJ - USDC for the District of New Jersey   3:21-cv-04964             ONDERLAW, LLC
BASS, ANGELA              NJ - USDC for the District of New Jersey   3:19-cv-20862             ONDERLAW, LLC
BASSAK, MABEL             NJ - USDC for the District of New Jersey   3:17-cv-11105             ONDERLAW, LLC
BASSEY, ANNETTE           NJ - USDC for the District of New Jersey   3:17-cv-00796             ONDERLAW, LLC
BASTEGUIAN, MARY          NJ - USDC for the District of New Jersey   3:21-cv-08759             ONDERLAW, LLC
BASTIS-CHIRAS, BERNICE    NJ - USDC for the District of New Jersey   3:19-cv-09079             ONDERLAW, LLC
BATEMAN, BEVERLY          NJ - USDC for the District of New Jersey   3:21-cv-04380             ONDERLAW, LLC
BATES, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-08179             ONDERLAW, LLC
BATES, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-02637             ONDERLAW, LLC
BATES, EDNA               NJ - USDC for the District of New Jersey   3:20-cv-19606             ONDERLAW, LLC
BATES, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-03073             ONDERLAW, LLC
BATES, TESHINA            NJ - USDC for the District of New Jersey   3:21-cv-03844             ONDERLAW, LLC
BATES-RAY, CHERYL         NJ - USDC for the District of New Jersey   3:21-cv-07178             ONDERLAW, LLC
BATEY, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-02849             ONDERLAW, LLC
BATISTA, DOREEN           NJ - USDC for the District of New Jersey   3:21-cv-09128             ONDERLAW, LLC
BATISTE, ELMIRA           NJ - USDC for the District of New Jersey   3:18-cv-11503             ONDERLAW, LLC
BATTAGLIA, LOIS           MO - Circuit Court - City of St. Louis     1422-CC09326-01           ONDERLAW, LLC
BATTLE, MARTA             NJ - USDC for the District of New Jersey   3:21-cv-01820             ONDERLAW, LLC
BAUBY, DELIA              NJ - USDC for the District of New Jersey   3:20-cv-09494             ONDERLAW, LLC
BAUGH, KENDALL            NJ - USDC for the District of New Jersey   3:17-cv-08489             ONDERLAW, LLC
BAUGHMAN, JOYCE           NJ - USDC for the District of New Jersey   3:21-cv-07896             ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BAUGHMAN, JULIA           NJ - USDC for the District of New Jersey   3:19-cv-07164         ONDERLAW, LLC
BAUGHMAN, SUE             NJ - USDC for the District of New Jersey   3:20-cv-12652         ONDERLAW, LLC
BAULT, MITZI              NJ - USDC for the District of New Jersey   3:18-cv-00186         ONDERLAW, LLC
BAXTER, ELIZABETH         MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
BAXTER, MELBA             NJ - USDC for the District of New Jersey   3:20-cv-17498         ONDERLAW, LLC
BAYLOR, HELMA             NJ - USDC for the District of New Jersey   3:21-cv-02291         ONDERLAW, LLC
BAZICK, CATHERINE         NJ - USDC for the District of New Jersey   3:20-cv-20566         ONDERLAW, LLC
BEACH, LESIA              NJ - USDC for the District of New Jersey   3:17-cv-09598         ONDERLAW, LLC
BEADLE, MARCIA            NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
BEAGLES, CALEETA          NJ - USDC for the District of New Jersey   3:20-cv-12687         ONDERLAW, LLC
BEAL, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-03832         ONDERLAW, LLC
BEAMON, LORETTA           NJ - USDC for the District of New Jersey   3:20-cv-05161         ONDERLAW, LLC
BEAN, ELLA                NJ - USDC for the District of New Jersey   3:21-cv-04760         ONDERLAW, LLC
BEAR, VICKI               NJ - USDC for the District of New Jersey   3:20-cv-01400         ONDERLAW, LLC
BEARCHILD, GAIL           NJ - USDC for the District of New Jersey   3:19-cv-09077         ONDERLAW, LLC
BEARD, DIANNE             NJ - USDC for the District of New Jersey   3:21-cv-05344         ONDERLAW, LLC
BEARD, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-02961         ONDERLAW, LLC
BEARDEN, CLASSIE          NJ - USDC for the District of New Jersey   3:21-cv-07006         ONDERLAW, LLC
BEARDEN, DONNA            NJ - USDC for the District of New Jersey   3:18-cv-12712         ONDERLAW, LLC
BEARFIELD, ROSEMARY       NJ - USDC for the District of New Jersey   3:18-cv-08892         ONDERLAW, LLC
BEASLEY, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-06665         ONDERLAW, LLC
BEATY, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-05587         ONDERLAW, LLC
BEAUDOIN, JOANNE          NJ - USDC for the District of New Jersey   3:20-cv-08227         ONDERLAW, LLC
BEAUDOIN, MARY            NJ - USDC for the District of New Jersey   3:21-cv-10026         ONDERLAW, LLC
BEAVER, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-06684         ONDERLAW, LLC
BEAVERS, DWANA            NJ - USDC for the District of New Jersey   3:21-cv-04382         ONDERLAW, LLC
BEBERMEIER, JILL          NJ - USDC for the District of New Jersey   3:21-cv-17258         ONDERLAW, LLC
BECERRA, MARGARITA        MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
BECK, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-11091         ONDERLAW, LLC
BECK, GRACE               NJ - USDC for the District of New Jersey   3:21-cv-08201         ONDERLAW, LLC
BECKER, BEVERLY           NJ - USDC for the District of New Jersey   3:19-cv-13124         ONDERLAW, LLC
BECKER, LYNDELL           NJ - USDC for the District of New Jersey   3:21-cv-06991         ONDERLAW, LLC
BECKER, MONIQUE           NJ - USDC for the District of New Jersey   3:21-cv-02248         ONDERLAW, LLC
BECKFORD, TRACEY          NJ - USDC for the District of New Jersey   3:19-cv-18813         ONDERLAW, LLC
BECKMANN, DENISE          NJ - USDC for the District of New Jersey   3:21-cv-09732         ONDERLAW, LLC
BECKUM, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-07322         ONDERLAW, LLC
BEDFORD, WANDA            NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
BEDICHEK, DAREN           NJ - USDC for the District of New Jersey   3:21-cv-04677         ONDERLAW, LLC
BEEBE, BETTY              NJ - USDC for the District of New Jersey   3:20-cv-20370         ONDERLAW, LLC
BEEBE, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-06465         ONDERLAW, LLC
BEEBIE, KATHRYN           NJ - USDC for the District of New Jersey   3:21-cv-09767         ONDERLAW, LLC
BEECHER, DOREEN           NJ - USDC for the District of New Jersey   3:21-cv-06064         ONDERLAW, LLC
BEELER, SHERYL            NJ - USDC for the District of New Jersey   3:21-cv-02324         ONDERLAW, LLC
BEERBOWER, DONNA          NJ - USDC for the District of New Jersey   3:20-cv-12957         ONDERLAW, LLC
BEGUM, SHAHIDA            NJ - USDC for the District of New Jersey   3:21-cv-05016         ONDERLAW, LLC
BEHLERT, MARIA            NJ - USDC for the District of New Jersey   3:19-cv-09337         ONDERLAW, LLC
BEHRENS, ADELE            NJ - USDC for the District of New Jersey   3:19-cv-09119         ONDERLAW, LLC
BEITNER, RUTH             NJ - USDC for the District of New Jersey   3:21-cv-03622         ONDERLAW, LLC
BEKET, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-12656         ONDERLAW, LLC
BELCHER, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-09923         ONDERLAW, LLC
BELIZEARD, VALLERIE       NJ - USDC for the District of New Jersey   3:17-cv-08490         ONDERLAW, LLC
BELL, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-07167         ONDERLAW, LLC
BELL, CATHY               NJ - USDC for the District of New Jersey   3:19-cv-21675         ONDERLAW, LLC
BELL, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-05563         ONDERLAW, LLC
BELL, DJ                  NJ - USDC for the District of New Jersey   3:21-cv-06640         ONDERLAW, LLC
BELL, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-03811         ONDERLAW, LLC
BELL, ELLEN               NJ - USDC for the District of New Jersey   3:21-cv-10034         ONDERLAW, LLC
BELL, LAWONDA             NJ - USDC for the District of New Jersey   3:21-cv-03249         ONDERLAW, LLC
BELL, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-20371         ONDERLAW, LLC
BELL, SHARON              NJ - USDC for the District of New Jersey   3:20-cv-07091         ONDERLAW, LLC
BELL, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-07816         ONDERLAW, LLC
BELLAK, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-04707         ONDERLAW, LLC
BELLI, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-06932         ONDERLAW, LLC
BELLIGIERE, MEGAN         NJ - USDC for the District of New Jersey   3:21-cv-01527         ONDERLAW, LLC
BELLOMA, SHELLY           NJ - USDC for the District of New Jersey   3:21-cv-10036         ONDERLAW, LLC
BELLON, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-14202         ONDERLAW, LLC
BELOTE, LORI              NJ - USDC for the District of New Jersey   3:21-cv-02659         ONDERLAW, LLC
BELTRAN, MAYRA            NJ - USDC for the District of New Jersey   3:21-cv-04383         ONDERLAW, LLC
BENCIVENGA, PATRICIA      NJ - USDC for the District of New Jersey   3:19-cv-14406         ONDERLAW, LLC
BENDER, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-02864         ONDERLAW, LLC
BENGE, MICHELLE           NJ - USDC for the District of New Jersey   3:17-cv-09717         ONDERLAW, LLC
BENIGNO, SHERRY           MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
BENIQUEZ, FRANCESCA       MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
BENNETT, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-05384         ONDERLAW, LLC
BENNETT, CATHERINE        NJ - USDC for the District of New Jersey   3:18-cv-12201         ONDERLAW, LLC
BENNETT, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-07162         ONDERLAW, LLC
BENNETT, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-09279         ONDERLAW, LLC
BENNETT, LISA             NJ - USDC for the District of New Jersey   3:21-cv-05707         ONDERLAW, LLC
BENNETT, MARIA            NJ - USDC for the District of New Jersey   3:17-cv-13804         ONDERLAW, LLC
BENNETT, PATSY            NJ - USDC for the District of New Jersey   3:21-cv-05706         ONDERLAW, LLC




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         Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
BENNETT, PEGGY                    NJ - USDC for the District of New Jersey   3:18-cv-10413         ONDERLAW, LLC
BENNETT, SANDRA                   MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
BENNETT, SUELLEN                  NJ - USDC for the District of New Jersey   3:19-cv-08468         ONDERLAW, LLC
BENNETT, TANYA                    NJ - USDC for the District of New Jersey   3:19-cv-13254         ONDERLAW, LLC
BENNETT, VICKIE                   MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
BENNINGTON, AMANDA                NJ - USDC for the District of New Jersey   3:21-cv-07301         ONDERLAW, LLC
BENSON, HSIOUMEI                  NJ - USDC for the District of New Jersey   3:21-cv-02602         ONDERLAW, LLC
BENSON, LOLA                      NJ - USDC for the District of New Jersey   3:17-cv-11015         ONDERLAW, LLC
BENTLE, DONNA                     NJ - USDC for the District of New Jersey   3:21-cv-09432         ONDERLAW, LLC
BENTLEY, DONNA                    NJ - USDC for the District of New Jersey   3:21-cv-09898         ONDERLAW, LLC
BENTLEY, GAIL                     NJ - USDC for the District of New Jersey   3:21-CV-04943         ONDERLAW, LLC
BENTLEY, LISA                     NJ - USDC for the District of New Jersey   3:20-cv-20373         ONDERLAW, LLC
BENTLEY, SUSAN                    NJ - USDC for the District of New Jersey   3:21-cv-09253         ONDERLAW, LLC
BENZ, KIMBERLY                    MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
BERDE, VIRGINIA                   NJ - USDC for the District of New Jersey   3:18-cv-12589         ONDERLAW, LLC
BERDECIA, GUADALUPE               NJ - USDC for the District of New Jersey   3:21-cv-01950         ONDERLAW, LLC
BERDUE, DARLENE                   CA - Superior Court - Solano County        FCS049856             ONDERLAW, LLC
BERDUE, DARLENE                   NJ - USDC for the District of New Jersey   3:17-cv-00800         ONDERLAW, LLC
BERG, CHERYL                      NJ - USDC for the District of New Jersey   3:21-cv-09925         ONDERLAW, LLC
BERGER, SUSAN                     MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
BERGER, VIRGINA                   NJ - USDC for the District of New Jersey   3:21-cv-07948         ONDERLAW, LLC
BERGERON, SHELBY                  NJ - USDC for the District of New Jersey   3:21-cv-02306         ONDERLAW, LLC
BERGEVIN-HAYES, MIRIAM            NJ - USDC for the District of New Jersey   3:19-cv-04816         ONDERLAW, LLC
BERGKAMP, KELLY                   NJ - USDC for the District of New Jersey   3:21-cv-03169         ONDERLAW, LLC
BERKES, MADELINE                  NJ - USDC for the District of New Jersey   3:21-cv-06349         ONDERLAW, LLC
BERNARD, AIDA                     NJ - USDC for the District of New Jersey   3:19-cv-14054         ONDERLAW, LLC
BERNARD, ELLEN                    NJ - USDC for the District of New Jersey   3:19-cv-19636         ONDERLAW, LLC
BERNARD, KELLY                    NJ - USDC for the District of New Jersey   3:21-cv-05549         ONDERLAW, LLC
BERNARD-MCCALLUSTER, WANDA NJ - USDC for the District of New Jersey          3:19-cv-04406         ONDERLAW, LLC
BERNHARDT, BETTY                  NJ - USDC for the District of New Jersey   3:20-cv-16889         ONDERLAW, LLC
BERNICHIO, HEATHER                NJ - USDC for the District of New Jersey   3:21-cv-05425         ONDERLAW, LLC
BERNTHOLD, JULIE                  NJ - USDC for the District of New Jersey   3:18-cv-08673         ONDERLAW, LLC
BERRIOS, DENISE                   NJ - USDC for the District of New Jersey   3:20-cv-14924         ONDERLAW, LLC
BERRY, DANA                       NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
BERRY, DIANNE                     NJ - USDC for the District of New Jersey   3:21-cv-03735         ONDERLAW, LLC
BERRY, JERI                       NJ - USDC for the District of New Jersey   3:17-cv-09096         ONDERLAW, LLC
BERRY, MARCELLA                   NJ - USDC for the District of New Jersey   3:21-cv-01643         ONDERLAW, LLC
BERRY, VINNIE                     NJ - USDC for the District of New Jersey   3:19-cv-12936         ONDERLAW, LLC
BERST, MARCY                      NJ - USDC for the District of New Jersey   3:17-cv-11190         ONDERLAW, LLC
BERTRAM, EILEEN                   NJ - USDC for the District of New Jersey   3:21-cv-06103         ONDERLAW, LLC
BERTRAND, MARY                    MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
BERTRAND, PATRICIA                NJ - USDC for the District of New Jersey   3:21-cv-06948         ONDERLAW, LLC
BERWIND, CHARLOTTE                NJ - USDC for the District of New Jersey   3:19-cv-08464         ONDERLAW, LLC
BERZLEY, JANELLE                  MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
BESECKER, GLADYS                  NJ - USDC for the District of New Jersey   3:20-cv-02417         ONDERLAW, LLC
BESHEARS, PEGGY                   MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
BEST, ELIZABETH                   NJ - USDC for the District of New Jersey   3:21-cv-06330         ONDERLAW, LLC
BETHELL, KIMBERLY                 NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
BETHUNE, ANTONIA                  NJ - USDC for the District of New Jersey   3:21-cv-08341         ONDERLAW, LLC
BETTENCOURT, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-04213         ONDERLAW, LLC
BETTERIDGE, PAULA                 NJ - USDC for the District of New Jersey   3:20-cv-16865         ONDERLAW, LLC
BETTIS, VANESSA                   NJ - USDC for the District of New Jersey   3:21-cv-04189         ONDERLAW, LLC
BETTS, JENNIFER                   NJ - USDC for the District of New Jersey   3:21-cv-07118         ONDERLAW, LLC
BEVELLE, MAXINE                   NJ - USDC for the District of New Jersey   3:18-cv-13422         ONDERLAW, LLC
BEVENS, LISA                      NJ - USDC for the District of New Jersey   3:21-cv-02351         ONDERLAW, LLC
BEVERLY WALTER                    NJ - USDC for the District of New Jersey   3:21-cv-18289         ONDERLAW, LLC
BHAGAUTI, MEERA                   NJ - USDC for the District of New Jersey   3:21-cv-04366         ONDERLAW, LLC
BHOATWRIGHT, KHEYNEHYAH           NJ - USDC for the District of New Jersey   3:21-cv-06036         ONDERLAW, LLC
BIALUSKI, ELIZABETH               NJ - USDC for the District of New Jersey   3:19-cv-08116         ONDERLAW, LLC
BIAN, MARY                        NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
BIANCO, DONNA                     MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
BIASI, LISA                       NJ - USDC for the District of New Jersey   3:21-cv-07197         ONDERLAW, LLC
BIBBY, LACHRISHA                  NJ - USDC for the District of New Jersey   3:20-cv-04029         ONDERLAW, LLC
BIBEAU, ANNETTE                   NJ - USDC for the District of New Jersey   3:17-cv-09288         ONDERLAW, LLC
BICKETT, ELIZABETH                NJ - USDC for the District of New Jersey   3:20-cv-06224         ONDERLAW, LLC
BICKHAM, LEIJUANA                 NJ - USDC for the District of New Jersey   3:21-cv-04373         ONDERLAW, LLC
BICKNELL, BONNIE                  NJ - USDC for the District of New Jersey   3:18-cv-10955         ONDERLAW, LLC
BIEHL, IVETTA                     NJ - USDC for the District of New Jersey   3:21-cv-04384         ONDERLAW, LLC
BIERMANN, ELSIE                   NJ - USDC for the District of New Jersey   3:21-cv-11873         ONDERLAW, LLC
BIERMANN, TAMARA                  NJ - USDC for the District of New Jersey   3:20-cv-20567         ONDERLAW, LLC
BIGBEE, BRIDGETTE                 MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
BIGDAY, MARLENA                   NJ - USDC for the District of New Jersey   3:19-cv-19097         ONDERLAW, LLC
BIGGS, BARBIE                     NJ - USDC for the District of New Jersey   3:19-cv-08455         ONDERLAW, LLC
BIGGS, DANA                       NJ - USDC for the District of New Jersey   3:19-cv-21798         ONDERLAW, LLC
BIGGS, GAIL                       NJ - USDC for the District of New Jersey   3:17-cv-10587         ONDERLAW, LLC
BIGSBY, VIVIKA                    NJ - USDC for the District of New Jersey   3:21-cv-17727         ONDERLAW, LLC
BIHUN, ELIZABETH                  NJ - USDC for the District of New Jersey   3:21-cv-03376         ONDERLAW, LLC
BILLUPS, CARRIE                   NJ - USDC for the District of New Jersey   3:21-cv-16817         ONDERLAW, LLC
BINION, KIMBERLY                  NJ - USDC for the District of New Jersey   3:21-cv-07796         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
BINION, MARY               NJ - USDC for the District of New Jersey   3:20-cv-19901         ONDERLAW, LLC
BINKLEY, MARGARET          NJ - USDC for the District of New Jersey   3:19-cv-08465         ONDERLAW, LLC
BIRCH, TERRI               NJ - USDC for the District of New Jersey   3:21-cv-04385         ONDERLAW, LLC
BIRCHARD, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-05191         ONDERLAW, LLC
BIRCHFIELD, CHERYLYN       NJ - USDC for the District of New Jersey   3:20-cv-15662         ONDERLAW, LLC
BIRDWELL, SHEILA           NJ - USDC for the District of New Jersey   3:21-cv-07608         ONDERLAW, LLC
BIRDYSHAW, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-07241         ONDERLAW, LLC
BIRGE, KELSI               NJ - USDC for the District of New Jersey   3:21-cv-08911         ONDERLAW, LLC
BISARO, LYNN               NJ - USDC for the District of New Jersey   3:19-cv-08122         ONDERLAW, LLC
BISHOP, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-02913         ONDERLAW, LLC
BISHOP, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-08491         ONDERLAW, LLC
BISHOP, SHAWNA             NJ - USDC for the District of New Jersey   3:21-cv-00845         ONDERLAW, LLC
BISHOP, TRACEY             NJ - USDC for the District of New Jersey   3:18-cv-12253         ONDERLAW, LLC
BISHOP, YOLANDA            NJ - USDC for the District of New Jersey   3:21-cv-04386         ONDERLAW, LLC
BISMARCK, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-09872         ONDERLAW, LLC
BIZETTE, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-01182         ONDERLAW, LLC
BLACK, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-05137         ONDERLAW, LLC
BLACK, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-10038         ONDERLAW, LLC
BLACK, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-01922         ONDERLAW, LLC
BLACK, DIANNA              NJ - USDC for the District of New Jersey   3:21-cv-08999         ONDERLAW, LLC
BLACK, HEIDI               NJ - USDC for the District of New Jersey   3:21-cv-03170         ONDERLAW, LLC
BLACK, JOANNE              NJ - USDC for the District of New Jersey   3:21-cv-10040         ONDERLAW, LLC
BLACK, LEWANDA             NJ - USDC for the District of New Jersey   3:21-cv-08255         ONDERLAW, LLC
BLACKBURN, KATHLEEN        NJ - USDC for the District of New Jersey   3:20-cv-20382         ONDERLAW, LLC
BLACKETT, VILMA            NJ - USDC for the District of New Jersey   3:21-cv-06781         ONDERLAW, LLC
BLACKFORD, CARRIE          MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
BLACKSTONE, CHADSIDY       NJ - USDC for the District of New Jersey   3:21-cv-07262         ONDERLAW, LLC
BLACKWELL, DENICE          NJ - USDC for the District of New Jersey   3:20-cv-20401         ONDERLAW, LLC
BLADE, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-09057         ONDERLAW, LLC
BLAES, SHAWN               MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
BLAKE, DIANNE              NJ - USDC for the District of New Jersey   3:18-cv-13423         ONDERLAW, LLC
BLAKE, IMOJEAN             NJ - USDC for the District of New Jersey   3:21-cv-08966         ONDERLAW, LLC
BLAKE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-07657         ONDERLAW, LLC
BLAKE, MERLIN              NJ - USDC for the District of New Jersey   3:19-cv-21663         ONDERLAW, LLC
BLAKE, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-09149         ONDERLAW, LLC
BLAKES, LATRICE            NJ - USDC for the District of New Jersey   3:21-cv-17899         ONDERLAW, LLC
BLALOCK, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-05422         ONDERLAW, LLC
BLANCHARD, SHARON          NJ - USDC for the District of New Jersey   3:20-cv-15539         ONDERLAW, LLC
BLANCHETT, SHERYL          NJ - USDC for the District of New Jersey   3:17-cv-09479         ONDERLAW, LLC
BLANCHETTE, NICOLE         NJ - USDC for the District of New Jersey   3:19-cv-21803         ONDERLAW, LLC
BLAND, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-11102         ONDERLAW, LLC
BLANKEN, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-09143         ONDERLAW, LLC
BLANKENCHIP, DAWN          MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
BLANSETT, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-04645         ONDERLAW, LLC
BLASE, STEPHANIE           NJ - USDC for the District of New Jersey   3:19-cv-16103         ONDERLAW, LLC
BLAYDE, SEBRENA            NJ - USDC for the District of New Jersey   3:21-cv-05552         ONDERLAW, LLC
BLEDSOE, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-20386         ONDERLAW, LLC
BLEMKER, SANDRA            MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
BLEVINS, FLORETTA          NJ - USDC for the District of New Jersey   3:21-cv-06917         ONDERLAW, LLC
BLINDERMAN, LISA           NJ - USDC for the District of New Jersey   3:18-cv-14066         ONDERLAW, LLC
BLISH, JANICE              NJ - USDC for the District of New Jersey   3:18-cv-03469         ONDERLAW, LLC
BLOIS, MELANIE             NJ - USDC for the District of New Jersey   3:18-cv-03384         ONDERLAW, LLC
BLOOMFIELD, KAY            NJ - USDC for the District of New Jersey   3:21-cv-07761         ONDERLAW, LLC
BLOSSOM, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-02505         ONDERLAW, LLC
BLOUNT, AUDREY             NJ - USDC for the District of New Jersey   3:17-cv-10065         ONDERLAW, LLC
BLUE, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-14638         ONDERLAW, LLC
BLUM, PHYLLIS              NJ - USDC for the District of New Jersey   3:19-cv-12201         ONDERLAW, LLC
BLUMENFELD, SHANNON        NJ - USDC for the District of New Jersey   3:19-cv-18650         ONDERLAW, LLC
BLUMENTHAL, CHERI          NJ - USDC for the District of New Jersey   3:21-cv-01530         ONDERLAW, LLC
BOADA, LUISA               NJ - USDC for the District of New Jersey   3:19-cv-10289         ONDERLAW, LLC
BOARD, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-01007         ONDERLAW, LLC
BOARDMAN, ANITA            NJ - USDC for the District of New Jersey   3:21-cv-02319         ONDERLAW, LLC
BOATWRIGHT, DINAH          NJ - USDC for the District of New Jersey   3:21-cv-09500         ONDERLAW, LLC
BOCK, DENISE               NJ - USDC for the District of New Jersey   3:17-cv-08493         ONDERLAW, LLC
BOCK, MARGIE               NJ - USDC for the District of New Jersey   3:18-cv-10045         ONDERLAW, LLC
BOEHM, VANESSA             NJ - USDC for the District of New Jersey   3:20-cv-20389         ONDERLAW, LLC
BOENING, PEGGY             NJ - USDC for the District of New Jersey   3:20-cv-20390         ONDERLAW, LLC
BOERGERS, DONNA            MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
BOGAN, VICKIE              NJ - USDC for the District of New Jersey   3:18-cv-14067         ONDERLAW, LLC
BOGART, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-15433         ONDERLAW, LLC
BOGGAN, FANNIE             NJ - USDC for the District of New Jersey   3:21-cv-06290         ONDERLAW, LLC
BOIS, PATRICIA             MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
BOJAKOWSKI, KATHLEEN       MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
BOLAND, MILDRED            NJ - USDC for the District of New Jersey   3:21-cv-05260         ONDERLAW, LLC
BOLEN-PARENTEAU, COLLEEN   NJ - USDC for the District of New Jersey   3:21-cv-04886         ONDERLAW, LLC
BOLINGER, JEANNE           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
BOLIN-SANTIAGO, JOAQUINA   NJ - USDC for the District of New Jersey   3:21-cv-17777         ONDERLAW, LLC
BOLIVER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-03387         ONDERLAW, LLC
BOLTON, LAURA              NJ - USDC for the District of New Jersey   3:21-cv-04350         ONDERLAW, LLC
BOMAR, GEORGETTE           NJ - USDC for the District of New Jersey   3:21-cv-03309         ONDERLAW, LLC




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          Claimant Name                          State Filed                      Docket Number               Plaintiff Counsel
BOMZER, KAREN                    NJ - USDC for the District of New Jersey   3:19-cv-13547         ONDERLAW, LLC
BONA, MARIA                      MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
BOND, CATHY                      NJ - USDC for the District of New Jersey   3:17-cv-11008         ONDERLAW, LLC
BOND, JAMI                       NJ - USDC for the District of New Jersey   3:21-cv-04630         ONDERLAW, LLC
BOND, JUDITH                     NJ - USDC for the District of New Jersey   3:21-cv-07426         ONDERLAW, LLC
BOND, MARY                       NJ - USDC for the District of New Jersey   3:21-cv-01900         ONDERLAW, LLC
BOND, RUTH                       NJ - USDC for the District of New Jersey   3:18-cv-08947         ONDERLAW, LLC
BONJO, LAURIE                    NJ - USDC for the District of New Jersey   3:18-cv-08664         ONDERLAW, LLC
BONNEVILLE, LAURIE               NJ - USDC for the District of New Jersey   3:19-cv-16105         ONDERLAW, LLC
BONTRAGER, SHEILA                NJ - USDC for the District of New Jersey   3:19-cv-19887         ONDERLAW, LLC
BOODRO, DEBORAH                  NJ - USDC for the District of New Jersey   3:21-cv-09381         ONDERLAW, LLC
BOOKER, DELORES                  NJ - USDC for the District of New Jersey   3:19-cv-09249         ONDERLAW, LLC
BOOKER, ELIZABETH                NJ - USDC for the District of New Jersey   3:19-cv-20917         ONDERLAW, LLC
BOOKER, ELIZABETH                NJ - USDC for the District of New Jersey   3:21-cv-05046         ONDERLAW, LLC
BOOKER, KANTIA                   NJ - USDC for the District of New Jersey   3:21-cv-07115         ONDERLAW, LLC
BOOKER, KIMBERLY                 NJ - USDC for the District of New Jersey   3:21-cv-08876         ONDERLAW, LLC
BOOKER, LIANE                    NJ - USDC for the District of New Jersey   3:21-cv-05129         ONDERLAW, LLC
BOOKER, SHEILA                   MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
BOOKER, TAMMY                    MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
BOOKHOP, JEAN                    NJ - USDC for the District of New Jersey   3:21-cv-09618         ONDERLAW, LLC
BOORMAN, MARIAN                  NJ - USDC for the District of New Jersey   3:21-cv-09367         ONDERLAW, LLC
BOOS, CHRISTINE                  NJ - USDC for the District of New Jersey   3:20-cv-16127         ONDERLAW, LLC
BOOTH, SHIRLEY                   NJ - USDC for the District of New Jersey   3:21-cv-03372         ONDERLAW, LLC
BOOTHE, CINDY                    NJ - USDC for the District of New Jersey   3:21-cv-04661         ONDERLAW, LLC
BORDAK, LORA                     MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
BORDEAUX, LISA                   NJ - USDC for the District of New Jersey   3:17-cv-12355         ONDERLAW, LLC
BORDELON, LYNDA                  NJ - USDC for the District of New Jersey   3:21-cv-05358         ONDERLAW, LLC
BORGS, HAMILTN, HORNR, JOHNSN,
                                 NJ - USDC for the District of New Jersey   3:17-cv-00794         ONDERLAW, LLC
SCHULMN, VARR
BORING, DIANE                    NJ - USDC for the District of New Jersey   3:21-cv-03325         ONDERLAW, LLC
BOROWICZ, SHANNON                NJ - USDC for the District of New Jersey   3:21-cv-04905         ONDERLAW, LLC
BORRERO, CARMEN                  NJ - USDC for the District of New Jersey   3:18-cv-15434         ONDERLAW, LLC
BORSETT, CAROLE                  NJ - USDC for the District of New Jersey   3:21-cv-09086         ONDERLAW, LLC
BORSKEY, GWENDA                  NJ - USDC for the District of New Jersey   3:21-cv-01398         ONDERLAW, LLC
BOSAK, CHARLOTTE                 NJ - USDC for the District of New Jersey   3:21-cv-04806         ONDERLAW, LLC
BOSE, STEPHANIE                  NJ - USDC for the District of New Jersey   3:21-cv-05163         ONDERLAW, LLC
BOSER, MARGARET                  NJ - USDC for the District of New Jersey   3:18-cv-10942         ONDERLAW, LLC
BOSKO, ALESIA                    NJ - USDC for the District of New Jersey   3:21-cv-10042         ONDERLAW, LLC
BOSS, KERRY                      NJ - USDC for the District of New Jersey   3:20-cv-03585         ONDERLAW, LLC
BOSTICK, PAULA                   NJ - USDC for the District of New Jersey   3:21-cv-07412         ONDERLAW, LLC
BOUCHER, GOYENA                  NJ - USDC for the District of New Jersey   3:20-cv-15374         ONDERLAW, LLC
BOUDREAUX, MANDY                 NJ - USDC for the District of New Jersey   3:20-cv-04934         ONDERLAW, LLC
BOUDREAUX, MARION                NJ - USDC for the District of New Jersey   3:21-cv-05447         ONDERLAW, LLC
BOUDREAUX, RENE                  NJ - USDC for the District of New Jersey   3:21-cv-05927         ONDERLAW, LLC
BOUGHTON, JODIE                  NJ - USDC for the District of New Jersey   3:21-cv-07246         ONDERLAW, LLC
BOULDIN, JEANETTE                NJ - USDC for the District of New Jersey   3:21-cv-07273         ONDERLAW, LLC
BOURQUE, CAROLYN                 NJ - USDC for the District of New Jersey   3:21-cv-02909         ONDERLAW, LLC
BOUTERIE, TRACI                  MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
BOUTWELL, JUANITA                NJ - USDC for the District of New Jersey   3:21-cv-05204         ONDERLAW, LLC
BOVIDGE, SUSAN                   NJ - USDC for the District of New Jersey   3:18-cv-09059         ONDERLAW, LLC
BOWDEN, DEBRA                    NJ - USDC for the District of New Jersey   3:21-cv-17802         ONDERLAW, LLC
BOWDEN, SHIRLEY                  NJ - USDC for the District of New Jersey   3:19-cv-20046         ONDERLAW, LLC
BOWDEN, TAMMIE                   NJ - USDC for the District of New Jersey   3:21-cv-05849         ONDERLAW, LLC
BOWDEN-MINNIX, BEVERLY           NJ - USDC for the District of New Jersey   3:21-cv-16683         ONDERLAW, LLC
BOWEN, DARLA                     NJ - USDC for the District of New Jersey   3:17-cv-10582         ONDERLAW, LLC
BOWEN, DEANNA                    NJ - USDC for the District of New Jersey   3:18-cv-04773         ONDERLAW, LLC
BOWEN, LISA                      MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
BOWENS, KHADIJA                  NJ - USDC for the District of New Jersey   3:21-cv-17484         ONDERLAW, LLC
BOWERMAN, BRITTANY               NJ - USDC for the District of New Jersey   3:21-cv-02094         ONDERLAW, LLC
BOWERS, BETTY                    NJ - USDC for the District of New Jersey   3:21-cv-07348         ONDERLAW, LLC
BOWERS, ELIZABETH                MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
BOWLING, LINDA                   NJ - USDC for the District of New Jersey   3:21-cv-05694         ONDERLAW, LLC
BOWMAN, BRENDA                   NJ - USDC for the District of New Jersey   3:21-cv-08705         ONDERLAW, LLC
BOWMAN, LISA                     NJ - USDC for the District of New Jersey   3:21-cv-07950         ONDERLAW, LLC
BOWMAN, MELANIE                  NJ - USDC for the District of New Jersey   3:21-cv-04669         ONDERLAW, LLC
BOWMAN, PATRICIA                 NJ - USDC for the District of New Jersey   3:21-cv-05037         ONDERLAW, LLC
BOWMAN, TERRI                    NJ - USDC for the District of New Jersey   3:17-cv-10482         ONDERLAW, LLC
BOWMAN, VIVIAN                   NJ - USDC for the District of New Jersey   3:21-cv-05122         ONDERLAW, LLC
BOWYER, HELENE                   NJ - USDC for the District of New Jersey   3:20-cv-05902         ONDERLAW, LLC
BOXER, MARY                      NJ - USDC for the District of New Jersey   3:17-cv-11098         ONDERLAW, LLC
BOYD, DONNA                      NJ - USDC for the District of New Jersey   3:21-cv-17488         ONDERLAW, LLC
BOYD, KAREN                      NJ - USDC for the District of New Jersey   3:21-cv-05426         ONDERLAW, LLC
BOYD, PATRICIA                   NJ - USDC for the District of New Jersey   3:21-cv-09461         ONDERLAW, LLC
BOYD, PAULA                      MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
BOYD, STEPHANIE                  NJ - USDC for the District of New Jersey   3:21-cv-06167         ONDERLAW, LLC
BOYD, TERESA                     NJ - USDC for the District of New Jersey   3:21- cv-08920        ONDERLAW, LLC
BOYD, TERESA                     NJ - USDC for the District of New Jersey   3:21-cv-08920         ONDERLAW, LLC
BOYER, DONNA                     NJ - USDC for the District of New Jersey   3:21-cv-02568         ONDERLAW, LLC
BOYER, ELIZABETH                 NJ - USDC for the District of New Jersey   3:21-cv-10067         ONDERLAW, LLC
BOYLES, LISA                     NJ - USDC for the District of New Jersey   3:21-cv-09724         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BRACEY, SHANA             NJ - USDC for the District of New Jersey   3:21-cv-07993         ONDERLAW, LLC
BRACKE, KATHRYN           NJ - USDC for the District of New Jersey   3:20-cv-09878         ONDERLAW, LLC
BRADEN, KATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-04387         ONDERLAW, LLC
BRADEN, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-05978         ONDERLAW, LLC
BRADEN-BERDEJA, GARI      NJ - USDC for the District of New Jersey   3:20-cv-17479         ONDERLAW, LLC
BRADFORD, ASHLEY          NJ - USDC for the District of New Jersey   3:21-cv-09930         ONDERLAW, LLC
BRADFORD, DEBORAH         NJ - USDC for the District of New Jersey   3:18-cv-08666         ONDERLAW, LLC
BRADFORD, DIONNE          NJ - USDC for the District of New Jersey   3:21-cv-06544         ONDERLAW, LLC
BRADFORD, JAMIE           NJ - USDC for the District of New Jersey   3:20-cv-09880         ONDERLAW, LLC
BRADFORD, JANA            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
BRADFORD, JYONE           NJ - USDC for the District of New Jersey   3:20-cv-18562         ONDERLAW, LLC
BRADLEY, ALOMA            NJ - USDC for the District of New Jersey   3:21-cv-16762         ONDERLAW, LLC
BRADLEY, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-08024         ONDERLAW, LLC
BRADLEY, BIRDIE           NJ - USDC for the District of New Jersey   3:21-cv-05878         ONDERLAW, LLC
BRADLEY, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-08889         ONDERLAW, LLC
BRADLEY, DANITRIA         NJ - USDC for the District of New Jersey   3:20-cv-06666         ONDERLAW, LLC
BRADLEY, GEORGIA          NJ - USDC for the District of New Jersey   3:21-cv-10077         ONDERLAW, LLC
BRADLEY, JANET            NJ - USDC for the District of New Jersey   3:21-cv-02711         ONDERLAW, LLC
BRADLEY, MARCIA           NJ - USDC for the District of New Jersey   3:20-cv-01936         ONDERLAW, LLC
BRADLEY, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-04042         ONDERLAW, LLC
BRADSHAW, SHAUNA          NJ - USDC for the District of New Jersey   3:19-cv-16175         ONDERLAW, LLC
BRADT, JEAANN             NJ - USDC for the District of New Jersey   3:20-cv-03218         ONDERLAW, LLC
BRADT, RACHEL             NJ - USDC for the District of New Jersey   3:21-cv-04309         ONDERLAW, LLC
BRADY, ANDREA             NJ - USDC for the District of New Jersey   3:21-cv-07409         ONDERLAW, LLC
BRAGG, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-03370         ONDERLAW, LLC
BRAGG, MELODY             NJ - USDC for the District of New Jersey   3:21-cv-07272         ONDERLAW, LLC
BRAINARD, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-12034         ONDERLAW, LLC
BRAITHWAITE, ELIZABETH    NJ - USDC for the District of New Jersey   3:17-cv-00799         ONDERLAW, LLC
BRAKE, DEBORAH            MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
BRAMAN, BILLIE            NJ - USDC for the District of New Jersey   3:17-cv-08356         ONDERLAW, LLC
BRANCH, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-01532         ONDERLAW, LLC
BRAND, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-06066         ONDERLAW, LLC
BRANDAU, ALEXIS           NJ - USDC for the District of New Jersey   3:21-cv-01556         ONDERLAW, LLC
BRANDENBURG, MARTHA       NJ - USDC for the District of New Jersey   3:21-cv-05213         ONDERLAW, LLC
BRANDEWIE, NANCY          NJ - USDC for the District of New Jersey   3:21-cv-06583         ONDERLAW, LLC
BRANNAN, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-07655         ONDERLAW, LLC
BRANNON, ALICE            MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
BRANNON, PATRICE          NJ - USDC for the District of New Jersey   3:21-cv-03950         ONDERLAW, LLC
BRANSDORFER, PEGGY        NJ - USDC for the District of New Jersey   3:18-cv-08169         ONDERLAW, LLC
BRANSON, MARIANNE         NJ - USDC for the District of New Jersey   3:20-cv-14635         ONDERLAW, LLC
BRANT, TAMMRA             NJ - USDC for the District of New Jersey   3:21-cv-08156         ONDERLAW, LLC
BRANTLEY, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-09776         ONDERLAW, LLC
BRANTLEY, JOHNEAN         NJ - USDC for the District of New Jersey   3:21-cv-08165         ONDERLAW, LLC
BRASHER, BELISH           NJ - USDC for the District of New Jersey   3:18-cv-10409         ONDERLAW, LLC
BRASSELL, KIMBERLY        NJ - USDC for the District of New Jersey   3:18-cv-13424         ONDERLAW, LLC
BRATINA, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-08468         ONDERLAW, LLC
BRAUDY, LILLIAN           NJ - USDC for the District of New Jersey   3:21-cv-07122         ONDERLAW, LLC
BRAUN, MARION             NJ - USDC for the District of New Jersey   3:21-cv-06616         ONDERLAW, LLC
BRAUN, NANCI              NJ - USDC for the District of New Jersey   3:21-cv-07312         ONDERLAW, LLC
BRAY, FLOSSIE             NJ - USDC for the District of New Jersey   3:21-cv-01853         ONDERLAW, LLC
BRAY, KAY                 NJ - USDC for the District of New Jersey   3:21-cv-03813         ONDERLAW, LLC
BRAYBOY, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-02520         ONDERLAW, LLC
BRAZEY, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09580         ONDERLAW, LLC
BREITNER, JANICE          NJ - USDC for the District of New Jersey   3:21-cv-02249         ONDERLAW, LLC
BRENDEL, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-09861         ONDERLAW, LLC
BRENDEN, MYRNA            NJ - USDC for the District of New Jersey   3:21-cv-08963         ONDERLAW, LLC
BREWER, DEBBIE            NJ - USDC for the District of New Jersey   3:21-cv-10043         ONDERLAW, LLC
BREWER, PHYLLIS           NJ - USDC for the District of New Jersey   3:21-cv-03172         ONDERLAW, LLC
BRICKER, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-03174         ONDERLAW, LLC
BRIDGEMAN, JUDY           NJ - USDC for the District of New Jersey   3:21-cv-06109         ONDERLAW, LLC
BRIDGES, BRENDA           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
BRIDGES, DIANNE           NJ - USDC for the District of New Jersey   3:21-cv-05977         ONDERLAW, LLC
BRIDGES, JEANETTE         NJ - USDC for the District of New Jersey   3:19-cv-14514         ONDERLAW, LLC
BRIENO, MERLINDA          NJ - USDC for the District of New Jersey   3:21-cv-05652         ONDERLAW, LLC
BRIGGS, MAURA             NJ - USDC for the District of New Jersey   3:19-cv-06937         ONDERLAW, LLC
BRIGHT, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-07616         ONDERLAW, LLC
BRIGHT, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
BRIMBERRY, KATHERINE      MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
BRIMMER, SYLVIA           NJ - USDC for the District of New Jersey   3:21-cv-05156         ONDERLAW, LLC
BRINKER, REOLIA           NJ - USDC for the District of New Jersey   3:18-cv-11959         ONDERLAW, LLC
BRINKLEY, PAULA           NJ - USDC for the District of New Jersey   3:19-cv-19137         ONDERLAW, LLC
BRINKMAN, BEVERLY         NJ - USDC for the District of New Jersey   3:21-cv-02338         ONDERLAW, LLC
BRISCO, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-03761         ONDERLAW, LLC
BRISTOW, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-10795         ONDERLAW, LLC
BRITT, BIRDIA             NJ - USDC for the District of New Jersey   3:21-cv-03085         ONDERLAW, LLC
BRITT, PEGGY              NJ - USDC for the District of New Jersey   3:21-cv-09513         ONDERLAW, LLC
BRITTON, BELINDA          NJ - USDC for the District of New Jersey   3:21-cv-06528         ONDERLAW, LLC
BROADHEAD, DELORIS        NJ - USDC for the District of New Jersey   3:20-cv-12191         ONDERLAW, LLC
BROCK, LYNN               NJ - USDC for the District of New Jersey   3:20-cv-20392         ONDERLAW, LLC
BROCK, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-08989         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BROCK, YEDOBATY          NJ - USDC for the District of New Jersey   3:18-cv-11826         ONDERLAW, LLC
BRODER, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-04156         ONDERLAW, LLC
BRODERICK, SUSAN         MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
BRODIE, CELINE           NJ - USDC for the District of New Jersey   3:21-cv-03202         ONDERLAW, LLC
BROGAN, RACHEL           NJ - USDC for the District of New Jersey   3:21-cv-17707         ONDERLAW, LLC
BROGAN, TERRI            NJ - USDC for the District of New Jersey   3:17-cv-08495         ONDERLAW, LLC
BROMILEY, LAN            NJ - USDC for the District of New Jersey   3:21-cv-00880         ONDERLAW, LLC
BRONSON, JOCELINE        MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
BRONZO, LAURA            NJ - USDC for the District of New Jersey   3:21-cv-09439         ONDERLAW, LLC
BROOKE, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-07880         ONDERLAW, LLC
BROOKINS, BESSIE         NJ - USDC for the District of New Jersey   3:21-cv-08012         ONDERLAW, LLC
BROOKMAN, JUDITH         NJ - USDC for the District of New Jersey   3:21-cv-02252         ONDERLAW, LLC
BROOKS, CHARLETA         NJ - USDC for the District of New Jersey   3:21-cv-00556         ONDERLAW, LLC
BROOKS, CHARLOTTE        NJ - USDC for the District of New Jersey   3:19-cv-07168         ONDERLAW, LLC
BROOKS, DIANNE           NJ - USDC for the District of New Jersey   3:21-cv-04341         ONDERLAW, LLC
BROOKS, EVELYN           NJ - USDC for the District of New Jersey   3:21-cv-04773         ONDERLAW, LLC
BROOKS, JEANETTE         NJ - USDC for the District of New Jersey   3:21-cv-01232         ONDERLAW, LLC
BROOKS, JOETTA           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
BROOKS, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-10911         ONDERLAW, LLC
BROOKS, LORENE           NJ - USDC for the District of New Jersey   3:20-cv-12349         ONDERLAW, LLC
BROOKS, MARTHA           NJ - USDC for the District of New Jersey   3:18-cv-04963         ONDERLAW, LLC
BROOKS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-04362         ONDERLAW, LLC
BROOKS, MELVA            NJ - USDC for the District of New Jersey   3:21-cv-07055         ONDERLAW, LLC
BROOKS, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-10306         ONDERLAW, LLC
BROOKS, NORMA            NJ - USDC for the District of New Jersey   3:21-cv-08737         ONDERLAW, LLC
BROOKS, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-02660         ONDERLAW, LLC
BROOKS, SHADEZ           NJ - USDC for the District of New Jersey   3:21-cv-04242         ONDERLAW, LLC
BROOKSHIRE, BETTY        NJ - USDC for the District of New Jersey   3:21-cv-07556         ONDERLAW, LLC
BROSNAN, JONELL          NJ - USDC for the District of New Jersey   3:20-cv-20277         ONDERLAW, LLC
BROTHERS, BARBARA        NJ - USDC for the District of New Jersey   3:21-cv-02689         ONDERLAW, LLC
BROTHERS, SHELLY         NJ - USDC for the District of New Jersey   3:21-cv-09359         ONDERLAW, LLC
BROUGHTON, ANITA         NJ - USDC for the District of New Jersey   3:20-cv-09490         ONDERLAW, LLC
BROUSE, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-19559         ONDERLAW, LLC
BROUSSARD, DEBORAH       NJ - USDC for the District of New Jersey   3:21-cv-01069         ONDERLAW, LLC
BROUSSARD, DEBRA         NJ - USDC for the District of New Jersey   3:21-CV-17161         ONDERLAW, LLC
BROUWER, STEPHANIE       MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
BROWER, CAROL            NJ - USDC for the District of New Jersey   3:18-cv-12713         ONDERLAW, LLC
BROWN, ADRIANNA          NJ - USDC for the District of New Jersey   3:21-cv-05207         ONDERLAW, LLC
BROWN, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-20319         ONDERLAW, LLC
BROWN, AMANDA            NJ - USDC for the District of New Jersey   3:21-cv-05376         ONDERLAW, LLC
BROWN, ANDREA            NJ - USDC for the District of New Jersey   3:20-cv-17049         ONDERLAW, LLC
BROWN, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-03254         ONDERLAW, LLC
BROWN, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-07013         ONDERLAW, LLC
BROWN, ANTONIO           NJ - USDC for the District of New Jersey   3:21-cv-07025         ONDERLAW, LLC
BROWN, AVIES             NJ - USDC for the District of New Jersey   3:21-cv-16938         ONDERLAW, LLC
BROWN, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-04954         ONDERLAW, LLC
BROWN, BEVERLY           NJ - USDC for the District of New Jersey   3:17-cv-09907         ONDERLAW, LLC
BROWN, BILLIE            NJ - USDC for the District of New Jersey   3:21-cv-03896         ONDERLAW, LLC
BROWN, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-04368         ONDERLAW, LLC
BROWN, CAROLE            NJ - USDC for the District of New Jersey   3:21-cv-09383         ONDERLAW, LLC
BROWN, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-05817         ONDERLAW, LLC
BROWN, CRYSTAL           NJ - USDC for the District of New Jersey   3:20-cv-14211         ONDERLAW, LLC
BROWN, CRYSTALYN         NJ - USDC for the District of New Jersey   3:21-cv-03993         ONDERLAW, LLC
BROWN, DAWN              NJ - USDC for the District of New Jersey   3:21-cv-07788         ONDERLAW, LLC
BROWN, DEBORAH           NJ - USDC for the District of New Jersey   3:19-cv-13247         ONDERLAW, LLC
BROWN, DENICE            NJ - USDC for the District of New Jersey   3:17-cv-09791         ONDERLAW, LLC
BROWN, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-15375         ONDERLAW, LLC
BROWN, FELICIA           NJ - USDC for the District of New Jersey   3:21-cv-06942         ONDERLAW, LLC
BROWN, GEORGIA           NJ - USDC for the District of New Jersey   3:17-cv-09191         ONDERLAW, LLC
BROWN, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-08414         ONDERLAW, LLC
BROWN, JANET             NJ - USDC for the District of New Jersey   3:21-cv-05957         ONDERLAW, LLC
BROWN, JAYNE             NJ - USDC for the District of New Jersey   3:19-cv-06293         ONDERLAW, LLC
BROWN, JENNIFER          NJ - USDC for the District of New Jersey   3:17-cv-09721         ONDERLAW, LLC
BROWN, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-11697         ONDERLAW, LLC
BROWN, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-06739         ONDERLAW, LLC
BROWN, KETSHA            NJ - USDC for the District of New Jersey   3:19-cv-10027         ONDERLAW, LLC
BROWN, KRISTY            NJ - USDC for the District of New Jersey   3:21-cv-07153         ONDERLAW, LLC
BROWN, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-02952         ONDERLAW, LLC
BROWN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-05015         ONDERLAW, LLC
BROWN, LISA              NJ - USDC for the District of New Jersey   3:21-cv-10046         ONDERLAW, LLC
BROWN, LORI              NJ - USDC for the District of New Jersey   3:21-cv-17289         ONDERLAW, LLC
BROWN, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-16129         ONDERLAW, LLC
BROWN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-03360         ONDERLAW, LLC
BROWN, MARYANN           NJ - USDC for the District of New Jersey   3:21-cv-07914         ONDERLAW, LLC
BROWN, MYRA              NJ - USDC for the District of New Jersey   3:21-cv-03890         ONDERLAW, LLC
BROWN, NATALIE           NJ - USDC for the District of New Jersey   3:21-cv-17262         ONDERLAW, LLC
BROWN, NELLIE            NJ - USDC for the District of New Jersey   3:21-cv-05160         ONDERLAW, LLC
BROWN, PATRICIA          MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
BROWN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-17315         ONDERLAW, LLC
BROWN, PATSY             NJ - USDC for the District of New Jersey   3:20-cv-03573         ONDERLAW, LLC




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          Claimant Name                    State Filed                     Docket Number                   Plaintiff Counsel
BROWN, RACHELLE           NJ - USDC for the District of New Jersey   3:18-cv-08675             ONDERLAW, LLC
BROWN, ROBERTA            NJ - USDC for the District of New Jersey   3:21-cv-07618             ONDERLAW, LLC
BROWN, ROSALIND           NJ - USDC for the District of New Jersey   3:20-cv-13255             ONDERLAW, LLC
BROWN, ROSIE              NJ - USDC for the District of New Jersey   3:21-cv-07596             ONDERLAW, LLC
BROWN, SALLY              MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
BROWN, SALLY              NJ - USDC for the District of New Jersey   3:21-cv-07980             ONDERLAW, LLC
BROWN, SARINA             NJ - USDC for the District of New Jersey   3:21-cv-18044             ONDERLAW, LLC
BROWN, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-09325             ONDERLAW, LLC
BROWN, SHELIA             NJ - USDC for the District of New Jersey   3:17-cv-06139             ONDERLAW, LLC
BROWN, SHERI              NJ - USDC for the District of New Jersey   3:21-cv-03491             ONDERLAW, LLC
BROWN, TERESA             MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
BROWN, TONYA              NJ - USDC for the District of New Jersey   3:21-cv-13408             ONDERLAW, LLC
BROWN, ULESSA             NJ - USDC for the District of New Jersey   3:21-cv-05269             ONDERLAW, LLC
BROWN, VALERIE            NJ - USDC for the District of New Jersey   3:21-cv-08590             ONDERLAW, LLC
BROWN, VALERIE            NJ - USDC for the District of New Jersey   3:17-cv-09601             ONDERLAW, LLC
BROWN, WYVONNE            NJ - USDC for the District of New Jersey   3:21-cv-07124             ONDERLAW, LLC
BROWN-ALLEN, IDA          NJ - USDC for the District of New Jersey   3:21-cv-16819             ONDERLAW, LLC
BROWNER, SHEILA           NJ - USDC for the District of New Jersey   3:21-cv-03477             ONDERLAW, LLC
BROWN-WARREN, JUANITA     NJ - USDC for the District of New Jersey   3:21-cv-06347             ONDERLAW, LLC
BROWN-WILSON, GLORIA      NJ - USDC for the District of New Jersey   3:21-cv-09656             ONDERLAW, LLC
BROYLES, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-06933             ONDERLAW, LLC
BRUCE, DEVOTA             NJ - USDC for the District of New Jersey   3:21-cv-04612             ONDERLAW, LLC
BRUEMMER, CATHERINE       MO - Circuit Court - City of St. Louis     1722-CC11872              ONDERLAW, LLC
BRUINSMA, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-04319             ONDERLAW, LLC
BRUMFIELD, YAVONDA        NJ - USDC for the District of New Jersey   3:21-cv-06673             ONDERLAW, LLC
BRUMLEY, JUNE             NJ - USDC for the District of New Jersey   3:21-cv-18405             ONDERLAW, LLC
BRUMMETT, KUEN            NJ - USDC for the District of New Jersey   3:21-cv-06444             ONDERLAW, LLC
BRUMMETT, VANESSA         NJ - USDC for the District of New Jersey   3:21-cv-04100             ONDERLAW, LLC
BRUMMOND, HOLLY           NJ - USDC for the District of New Jersey   3:18-cv-08421             ONDERLAW, LLC
BRUNELL, ROBERTA          NJ - USDC for the District of New Jersey   3:20-cv-03114             ONDERLAW, LLC
BRUNELLE, ELIZABETH       NJ - USDC for the District of New Jersey   3:18-cv-04993             ONDERLAW, LLC
BRUNER, JAMIE             NJ - USDC for the District of New Jersey   3:21-cv-05771             ONDERLAW, LLC
BRUNNER, KATHY            NJ - USDC for the District of New Jersey   3:21-cv-16579             ONDERLAW, LLC
BRUNO, LILIA              NJ - USDC for the District of New Jersey   3:20-cv-20393             ONDERLAW, LLC
BRUNSON, LAKIEMA          NJ - USDC for the District of New Jersey   3:21-cv-02735             ONDERLAW, LLC
BRYAN, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-17659             ONDERLAW, LLC
BRYANT, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-03841             ONDERLAW, LLC
BRYANT, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-03930             ONDERLAW, LLC
BRYANT, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-08750             ONDERLAW, LLC
BRYANT, DIANA             NJ - USDC for the District of New Jersey   3:17-cv-00796             ONDERLAW, LLC
BRYANT, IDA               NJ - USDC for the District of New Jersey   3:21-cv-07605             ONDERLAW, LLC
BRYANT, IRENE             NJ - USDC for the District of New Jersey   3:21-cv-02486             ONDERLAW, LLC
BRYANT, JUANITA           NJ - USDC for the District of New Jersey   3:21-cv-06034             ONDERLAW, LLC
BRYANT, MARGIE            NJ - USDC for the District of New Jersey   3:21-cv-00842             ONDERLAW, LLC
BRYANT, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-10064             ONDERLAW, LLC
BRYANT-KIDWELL, RHONDA    NJ - USDC for the District of New Jersey   3:21-cv-06361             ONDERLAW, LLC
BRYMER, DAWN (SPIRIT)     NJ - USDC for the District of New Jersey   3:21-cv-04391             ONDERLAW, LLC
BUCHANAN, BAMBI           NJ - USDC for the District of New Jersey   3:17-cv-09723             ONDERLAW, LLC
BUCHANAN, CORNELL         NJ - USDC for the District of New Jersey   3:21-cv-06348             ONDERLAW, LLC
BUCHANAN, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-09591             ONDERLAW, LLC
BUCHANAN, EVA             MO - Circuit Court - City of St. Louis     1722-CC10919              ONDERLAW, LLC
BUCHANAN, PANSY           NJ - USDC for the District of New Jersey   3:21-cv-02182             ONDERLAW, LLC
BUCHECK, CURTIS           MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
BUCHITE, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-08330             ONDERLAW, LLC
BUCIORELLI, MARY          NJ - USDC for the District of New Jersey   3:18-cv-10888             ONDERLAW, LLC
BUCKLES, MARY             NJ - USDC for the District of New Jersey   3:18-cv-14603             ONDERLAW, LLC
BUCKNER, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-02313             ONDERLAW, LLC
BUCKWALD, SONIA           NJ - USDC for the District of New Jersey   3:21-cv-08258             ONDERLAW, LLC
BUCZEK, ROYCE             NJ - USDC for the District of New Jersey   3:17-cv-03944             ONDERLAW, LLC
BUELNA, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-04323             ONDERLAW, LLC
BUENO, IDALYS             NJ - USDC for the District of New Jersey   3:21-cv-06622             ONDERLAW, LLC
BUJERIO, ELISABEL         FL - Circuit Court - Miami Dade County     13-2020CA026841-0000-01   ONDERLAW, LLC
BUJERIO, ELISABEL         NJ - USDC for the District of New Jersey   3:20-cv-16871             ONDERLAW, LLC
BULGER, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-12325             ONDERLAW, LLC
BULLARD, DEBORAH          NJ - USDC for the District of New Jersey   3:19-cv-19347             ONDERLAW, LLC
BULLARD, JACKIE           NJ - USDC for the District of New Jersey   3:17-cv-08411             ONDERLAW, LLC
BULLARD, NATASHA          NJ - USDC for the District of New Jersey   3:21-cv-04995             ONDERLAW, LLC
BULLOCK, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-09671             ONDERLAW, LLC
BULLOCK, SABRINA          NJ - USDC for the District of New Jersey   3:21-cv-17443             ONDERLAW, LLC
BUMGARDNER, CHARISE       NJ - USDC for the District of New Jersey   3:19-cv-08871             ONDERLAW, LLC
BUMGARNER, MARILYN        NJ - USDC for the District of New Jersey   3:20-cv-02455             ONDERLAW, LLC
BUNCH, JACLYN             NJ - USDC for the District of New Jersey   3:20-cv-12330             ONDERLAW, LLC
BUNCH, KATIE              NJ - USDC for the District of New Jersey   3:19-cv-21216             ONDERLAW, LLC
BUNDRIDGE, MICHELLE       NJ - USDC for the District of New Jersey   3:21-cv-02015             ONDERLAW, LLC
BUNEA, KARON              NJ - USDC for the District of New Jersey   3:21-cv-04651             ONDERLAW, LLC
BUNIAK, VERA              NJ - USDC for the District of New Jersey   3:21-cv-06222             ONDERLAW, LLC
BUNKER, KATI              NJ - USDC for the District of New Jersey   3:21-cv-03268             ONDERLAW, LLC
BUNKLEY, ERWINNA          NJ - USDC for the District of New Jersey   3:19-cv-04414             ONDERLAW, LLC
BUNNER, LAURA             NJ - USDC for the District of New Jersey   3:18-cv-10346             ONDERLAW, LLC
BUNT, RHONDA              NJ - USDC for the District of New Jersey   3:21-cv-02355             ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BUNTING, JENNIFER         NJ - USDC for the District of New Jersey   3:20-cv-02091         ONDERLAW, LLC
BUONO, CORNELIA           NJ - USDC for the District of New Jersey   3:21-cv-08363         ONDERLAW, LLC
BUPP, DOROTHY             NJ - USDC for the District of New Jersey   3:21-cv-06493         ONDERLAW, LLC
BURDEN, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-03327         ONDERLAW, LLC
BURDICK, LANI             NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
BURGAN, YOLANDA           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
BURGERT, MARY             NJ - USDC for the District of New Jersey   3:21-cv-03584         ONDERLAW, LLC
BURGESS, GAIL             NJ - USDC for the District of New Jersey   3:21-cv-08855         ONDERLAW, LLC
BURGESS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09394         ONDERLAW, LLC
BURGESS, SHERRY           NJ - USDC for the District of New Jersey   3:21-cv-03247         ONDERLAW, LLC
BURGIN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-12715         ONDERLAW, LLC
BURGO, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-10100         ONDERLAW, LLC
BURGSTALLER, KATHY        NJ - USDC for the District of New Jersey   3:20-cv-05162         ONDERLAW, LLC
BURK, PAMELA              NJ - USDC for the District of New Jersey   3:18-cv-09569         ONDERLAW, LLC
BURKE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-08874         ONDERLAW, LLC
BURKE, CONSTANCE          NJ - USDC for the District of New Jersey   3:20-cv-18591         ONDERLAW, LLC
BURKE, EDNA               NJ - USDC for the District of New Jersey   3:21-cv-06076         ONDERLAW, LLC
BURKE, KRISTIE            NJ - USDC for the District of New Jersey   3:21-cv-04182         ONDERLAW, LLC
BURKE, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-09219         ONDERLAW, LLC
BURKE, SHILOH             NJ - USDC for the District of New Jersey   3:19-cv-06295         ONDERLAW, LLC
BURKHART, CAROLYN         NJ - USDC for the District of New Jersey   3:21-cv-05971         ONDERLAW, LLC
BURKS, KIMBERLY           MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
BURKS, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-08972         ONDERLAW, LLC
BURKS-SMITH, CLARA        NJ - USDC for the District of New Jersey   3:21-cv-05145         ONDERLAW, LLC
BURLESON, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-06787         ONDERLAW, LLC
BURLEY, ROBIN             NJ - USDC for the District of New Jersey   3:19-cv-19634         ONDERLAW, LLC
BURLINGHAM, MARIAN        NJ - USDC for the District of New Jersey   3:21-cv-12338         ONDERLAW, LLC
BURMASTER, TIA            NJ - USDC for the District of New Jersey   3:21-cv-03310         ONDERLAW, LLC
BURMEISTER, JOLAINE       NJ - USDC for the District of New Jersey   3:20-cv-05780         ONDERLAW, LLC
BURNETT, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-03580         ONDERLAW, LLC
BURNETT, BEVERLY          NJ - USDC for the District of New Jersey   3:21-cv-07003         ONDERLAW, LLC
BURNETT, JERRYE           NJ - USDC for the District of New Jersey   3:20-cv-15376         ONDERLAW, LLC
BURNETT, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-12194         ONDERLAW, LLC
BURNETT, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
BURNETT, MARY             NJ - USDC for the District of New Jersey   3:21-cv-05897         ONDERLAW, LLC
BURNETTE, LORI            NJ - USDC for the District of New Jersey   3:21-cv-09427         ONDERLAW, LLC
BURNEY, ELVIRA            NJ - USDC for the District of New Jersey   3:21-cv-08556         ONDERLAW, LLC
BURNHAM, LISA             NJ - USDC for the District of New Jersey   3:20-cv-20395         ONDERLAW, LLC
BURNS, JOANEVA            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
BURNS, MELANIE            NJ - USDC for the District of New Jersey   3:21-cv-04393         ONDERLAW, LLC
BURNS, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-13131         ONDERLAW, LLC
BURNS, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-11002         ONDERLAW, LLC
BURNS-GARCIA, LILLIAN     NJ - USDC for the District of New Jersey   3:17-cv-09481         ONDERLAW, LLC
BURRELL, BEVERLY          MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
BURRELL, JANEL            NJ - USDC for the District of New Jersey   3:17-cv-09825         ONDERLAW, LLC
BURRELL, JUNE             NJ - USDC for the District of New Jersey   3:19-cv-09596         ONDERLAW, LLC
BURRESS, ANNETTE          MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
BURRESS, DENISE           NJ - USDC for the District of New Jersey   3:21-cv-09242         ONDERLAW, LLC
BURROUGHS, ELAINE         NJ - USDC for the District of New Jersey   3:20-cv-10129         ONDERLAW, LLC
BURROUGHS, JESSIE         NJ - USDC for the District of New Jersey   3:21-cv-09642         ONDERLAW, LLC
BURROUGHS, MELANIE        NJ - USDC for the District of New Jersey   3:18-cv-10047         ONDERLAW, LLC
BURROWBRIDGE, JOAN        NJ - USDC for the District of New Jersey   3:21-cv-10102         ONDERLAW, LLC
BURSE, LELIA              NJ - USDC for the District of New Jersey   3:21-cv-03374         ONDERLAW, LLC
BURT, KEONYA              NJ - USDC for the District of New Jersey   3:21-cv-16821         ONDERLAW, LLC
BURTON, GLADYS            NJ - USDC for the District of New Jersey   3:21-cv-02866         ONDERLAW, LLC
BURTON, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-04394         ONDERLAW, LLC
BURTON, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-07961         ONDERLAW, LLC
BURTS, SIRENA             NJ - USDC for the District of New Jersey   3:20-cv-01404         ONDERLAW, LLC
BUSBY, CAROLE             NJ - USDC for the District of New Jersey   3:20-cv-11015         ONDERLAW, LLC
BUSH, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-02293         ONDERLAW, LLC
BUSH, LAVONDA             NJ - USDC for the District of New Jersey   3:21-cv-01748         ONDERLAW, LLC
BUSH, THERESA             NJ - USDC for the District of New Jersey   3:21-cv-07547         ONDERLAW, LLC
BUTE, GENEVA              NJ - USDC for the District of New Jersey   3:19-cv-19770         ONDERLAW, LLC
BUTE, ROXANNE             NJ - USDC for the District of New Jersey   3:20-cv-20317         ONDERLAW, LLC
BUTLER, COURTNEY          NJ - USDC for the District of New Jersey   3:18-cv-08679         ONDERLAW, LLC
BUTLER, EMILY             NJ - USDC for the District of New Jersey   3:21-cv-05125         ONDERLAW, LLC
BUTLER, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-20396         ONDERLAW, LLC
BUTLER, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-07297         ONDERLAW, LLC
BUTLER, KEMUEL            NJ - USDC for the District of New Jersey   3:21-cv-07304         ONDERLAW, LLC
BUTLER, LISA              NJ - USDC for the District of New Jersey   3:18-cv-10048         ONDERLAW, LLC
BUTLER, SHERYL            NJ - USDC for the District of New Jersey   3:17-cv-11100         ONDERLAW, LLC
BUTLER, VIVIAN            NJ - USDC for the District of New Jersey   3:19-cv-09326         ONDERLAW, LLC
BUTLER-HAGY, ANN          NJ - USDC for the District of New Jersey   3:18-cv-13449         ONDERLAW, LLC
BUTTERWORTH, CINDY        MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
BUTTERWORTH, MARY         NJ - USDC for the District of New Jersey   3:21-cv-08188         ONDERLAW, LLC
BUZZANGA, JOYCE           NJ - USDC for the District of New Jersey   3:17-cv-12000         ONDERLAW, LLC
BYERLY, VALERIE           NJ - USDC for the District of New Jersey   3:18-cv-17588         ONDERLAW, LLC
BYERS, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-07646         ONDERLAW, LLC
BYERS, VALENCIA           NJ - USDC for the District of New Jersey   3:21-cv-06310         ONDERLAW, LLC
BYNUM, ROYLENE            NJ - USDC for the District of New Jersey   3:21-cv-04346         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
BYRD, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-08466         ONDERLAW, LLC
BYRD, ERVINE              NJ - USDC for the District of New Jersey   3:21-cv-05198         ONDERLAW, LLC
BYRD, ESTELIA             NJ - USDC for the District of New Jersey   3:21-cv-06267         ONDERLAW, LLC
BYRD, KARLA               NJ - USDC for the District of New Jersey   3:21-cv-06548         ONDERLAW, LLC
BYRNES, PAMELA            NJ - USDC for the District of New Jersey   3:18-cv-05380         ONDERLAW, LLC
CABALLERO, TAMI           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
CADIZ, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-10691         ONDERLAW, LLC
CADOR, MIGOLE             NJ - USDC for the District of New Jersey   3:19-cv-19561         ONDERLAW, LLC
CAHALL, MARLENE           NJ - USDC for the District of New Jersey   3:21-cv-03606         ONDERLAW, LLC
CAIL, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-12714         ONDERLAW, LLC
CAIMPON, CARMELITA        NJ - USDC for the District of New Jersey   3:21-cv-07244         ONDERLAW, LLC
CAIN, ADINA               NJ - USDC for the District of New Jersey   3:19-cv-21809         ONDERLAW, LLC
CAIN, ANITA               NJ - USDC for the District of New Jersey   3:21-cv-08178         ONDERLAW, LLC
CAIN, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-06382         ONDERLAW, LLC
CAIN, MELBA               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
CAINE, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-09778         ONDERLAW, LLC
CAIRNS, REBECCA           NJ - USDC for the District of New Jersey   3:19-cv-07335         ONDERLAW, LLC
CAJIGAS, VIRGENMINA       NJ - USDC for the District of New Jersey   3:21-cv-08926         ONDERLAW, LLC
CALANDRA, JOY             MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
CALDABAUGH, TAMA          NJ - USDC for the District of New Jersey   3:17-cv-09290         ONDERLAW, LLC
CALDWELL, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-12336         ONDERLAW, LLC
CALDWELL, DONNA           NJ - USDC for the District of New Jersey   3:18-cv-14023         ONDERLAW, LLC
CALDWELL, GERALDINE       NJ - USDC for the District of New Jersey   3:20-cv-08783         ONDERLAW, LLC
CALDWELL, SHARONDA        NJ - USDC for the District of New Jersey   3:21-cv-03931         ONDERLAW, LLC
CALHOON, SANDRA           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
CALHOUN, BECKY            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
CALIGUIRE, ANNE           NJ - USDC for the District of New Jersey   3:21-cv-09355         ONDERLAW, LLC
CALIPSO, GWENDOLYN        NJ - USDC for the District of New Jersey   3:19-cv-10263         ONDERLAW, LLC
CALKIN, GINA              NJ - USDC for the District of New Jersey   3:21-cv-01511         ONDERLAW, LLC
CALK-ROACH, ROSE          NJ - USDC for the District of New Jersey   3:21-cv-07526         ONDERLAW, LLC
CALLAHAN, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-17804         ONDERLAW, LLC
CALLIHAN, AUTUMN          NJ - USDC for the District of New Jersey   3:21-cv-08662         ONDERLAW, LLC
CALLISON, MARIA           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
CALLWOOD, ANNA            NJ - USDC for the District of New Jersey   3:21-cv-02537         ONDERLAW, LLC
CALONI, JEANNINE          NJ - USDC for the District of New Jersey   3:18-cv-12714         ONDERLAW, LLC
CALVERT, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-02738         ONDERLAW, LLC
CALVERT, VICKIE           NJ - USDC for the District of New Jersey   3:21-cv-01512         ONDERLAW, LLC
CAMACHO, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-05599         ONDERLAW, LLC
CAMBRIA, KELLY            NJ - USDC for the District of New Jersey   3:17-cv-11175         ONDERLAW, LLC
CAMEL, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-04395         ONDERLAW, LLC
CAMERILLO, DELPHINE       NJ - USDC for the District of New Jersey   3:21-cv-05398         ONDERLAW, LLC
CAMERON, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-03774         ONDERLAW, LLC
CAMP, CARLA               MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
CAMP, METOKA              NJ - USDC for the District of New Jersey   3:21-cv-04369         ONDERLAW, LLC
CAMP, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-08047         ONDERLAW, LLC
CAMP, VALERIE             NJ - USDC for the District of New Jersey   3:21-cv-06680         ONDERLAW, LLC
CAMPA, HELEN              NJ - USDC for the District of New Jersey   3:21-cv-08334         ONDERLAW, LLC
CAMPBELL, BELINDA         NJ - USDC for the District of New Jersey   3:17-cv-09859         ONDERLAW, LLC
CAMPBELL, CHERLYN         NJ - USDC for the District of New Jersey   3:20-cv-09094         ONDERLAW, LLC
CAMPBELL, CHERYL          NJ - USDC for the District of New Jersey   3:20-cv-17643         ONDERLAW, LLC
CAMPBELL, CONNIE          NJ - USDC for the District of New Jersey   3:21-cv-03003         ONDERLAW, LLC
CAMPBELL, CYNTHIA         NJ - USDC for the District of New Jersey   3:18-cv-10993         ONDERLAW, LLC
CAMPBELL, JANET           NJ - USDC for the District of New Jersey   3:21-cv-06712         ONDERLAW, LLC
CAMPBELL, KATHLEEN        NJ - USDC for the District of New Jersey   3:21-cv-06750         ONDERLAW, LLC
CAMPBELL, KATHRYN         NJ - USDC for the District of New Jersey   3:21-cv-02674         ONDERLAW, LLC
CAMPBELL, KIMBERLY        NJ - USDC for the District of New Jersey   3:18-cv-12459         ONDERLAW, LLC
CAMPBELL, KIMBERLY        NJ - USDC for the District of New Jersey   3:18-cv-13452         ONDERLAW, LLC
CAMPBELL, MARY            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
CAMPBELL, TAMMY           NJ - USDC for the District of New Jersey   3:21-cv-12340         ONDERLAW, LLC
CAMPBELL, VEDA            NJ - USDC for the District of New Jersey   3:20-cv-10306         ONDERLAW, LLC
CAMPBELL, YVONNE          NJ - USDC for the District of New Jersey   3:21-cv-02714         ONDERLAW, LLC
CAMPOS, NICOLE            NJ - USDC for the District of New Jersey   3:18-cv-10352         ONDERLAW, LLC
CAMPOS, TERESA            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
CANADY, CHRISTINE         MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
CANANT, REGINA            NJ - USDC for the District of New Jersey   3:21-cv-02260         ONDERLAW, LLC
CANDELLARIO, MARIA        NJ - USDC for the District of New Jersey   3:21-cv-07383         ONDERLAW, LLC
CANEJO, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-09717         ONDERLAW, LLC
CANGE, MARY               NJ - USDC for the District of New Jersey   3:17-cv-10949         ONDERLAW, LLC
CANNING, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-06349         ONDERLAW, LLC
CANNON, BERNICE           NJ - USDC for the District of New Jersey   3:21-cv-03279         ONDERLAW, LLC
CANNON, CANDY             NJ - USDC for the District of New Jersey   3:21-cv-02329         ONDERLAW, LLC
CANNON, JANET             NJ - USDC for the District of New Jersey   3:21-cv-05463         ONDERLAW, LLC
CANNON, JENNY             NJ - USDC for the District of New Jersey   3:21-cv-04936         ONDERLAW, LLC
CANNOVO, TRACY            NJ - USDC for the District of New Jersey   3:21-cv-01967         ONDERLAW, LLC
CANO, ISABEL              NJ - USDC for the District of New Jersey   3:21-cv-01141         ONDERLAW, LLC
CANOSA, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-13123         ONDERLAW, LLC
CANTRELL, KATRINA         NJ - USDC for the District of New Jersey   3:21-cv-08121         ONDERLAW, LLC
CANTU, KATHY              NJ - USDC for the District of New Jersey   3:19-cv-14482         ONDERLAW, LLC
CAPIZZI, DENISE           NJ - USDC for the District of New Jersey   3:21-cv-09595         ONDERLAW, LLC
CAPLES, TANYA             NJ - USDC for the District of New Jersey   3:21-cv-06299         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CAPLIN, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-09600         ONDERLAW, LLC
CAPP, FLORENCE            NJ - USDC for the District of New Jersey   3:21-cv-07073         ONDERLAW, LLC
CAPPS, JUDY               NJ - USDC for the District of New Jersey   3:21-cv-09217         ONDERLAW, LLC
CAPRIO, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09916         ONDERLAW, LLC
CARACAPPA, DIANA          NJ - USDC for the District of New Jersey   3:21-cv-03855         ONDERLAW, LLC
CARANNANTE, IRENE         NJ - USDC for the District of New Jersey   3:21-cv-09215         ONDERLAW, LLC
CARASSALE, DONNA          NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
CARAWAY, PAULETTE         MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
CARBAJAL, LIDIA           NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
CARBONE, ANN              NJ - USDC for the District of New Jersey   3:21-cv-06719         ONDERLAW, LLC
CARDEN, MINERVA           NJ - USDC for the District of New Jersey   3:21-cv-05753         ONDERLAW, LLC
CARDENAS, MARISELA        NJ - USDC for the District of New Jersey   3:21-cv-09720         ONDERLAW, LLC
CARDER, CRYSTAL           MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
CARDER, KATIE             NJ - USDC for the District of New Jersey   3:21-cv-01810         ONDERLAW, LLC
CARDER, KIM               NJ - USDC for the District of New Jersey   3:20-cv-20410         ONDERLAW, LLC
CARDINALE, JUDITH         NJ - USDC for the District of New Jersey   3:18-cv-03286         ONDERLAW, LLC
CARDINALLI, CAY           NJ - USDC for the District of New Jersey   3:21-cv-02251         ONDERLAW, LLC
CARDWELL, DONNA           NJ - USDC for the District of New Jersey   3:17-cv-09498         ONDERLAW, LLC
CAREY, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-17734         ONDERLAW, LLC
CAREY, JOANNE             NJ - USDC for the District of New Jersey   3:18-cv-08893         ONDERLAW, LLC
CARINCI, FRANCESCA        NJ - USDC for the District of New Jersey   3:21-cv-10103         ONDERLAW, LLC
CARLE, LOUISE             NJ - USDC for the District of New Jersey   3:17-cv-09890         ONDERLAW, LLC
CARLILE, JANE             NJ - USDC for the District of New Jersey   3:21-cv-03306         ONDERLAW, LLC
CARLIN, MELISSA           NJ - USDC for the District of New Jersey   3:20-cv-09091         ONDERLAW, LLC
CARLINE, KATHLEEN         NJ - USDC for the District of New Jersey   3:18-cv-04418         ONDERLAW, LLC
CARLISLE, MARY            NJ - USDC for the District of New Jersey   3:21-cv-07726         ONDERLAW, LLC
CARLISLE, VIRGINIA        NJ - USDC for the District of New Jersey   3:17-cv-08892         ONDERLAW, LLC
CARLO, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-01735         ONDERLAW, LLC
CARLOS, CANDELARIA        NJ - USDC for the District of New Jersey   3:21-cv-03899         ONDERLAW, LLC
CARLOTTA, DOROTHY         NJ - USDC for the District of New Jersey   3:18-cv-04232         ONDERLAW, LLC
CARLSON, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-05041         ONDERLAW, LLC
CARLTON, ROCKLIN          NJ - USDC for the District of New Jersey   3:20-cv-19902         ONDERLAW, LLC
CARMICHAEL, YVETTE        NJ - USDC for the District of New Jersey   3:20-cv-17362         ONDERLAW, LLC
CARMON, TRACY             NJ - USDC for the District of New Jersey   3:17-cv-10500         ONDERLAW, LLC
CARNEY, ALETHA            NJ - USDC for the District of New Jersey   3:21-cv-01421         ONDERLAW, LLC
CARNEY, KIMBERLY          NJ - USDC for the District of New Jersey   3:18-cv-10764         ONDERLAW, LLC
CARO, EDUVIGES            NJ - USDC for the District of New Jersey   3:17-cv-09292         ONDERLAW, LLC
CARON, ANNE               NJ - USDC for the District of New Jersey   3:21-cv-08223         ONDERLAW, LLC
CARPENTER, BARBARA        NJ - USDC for the District of New Jersey   3:18-cv-16102         ONDERLAW, LLC
CARPENTER, EUNICE         NJ - USDC for the District of New Jersey   3:20-cv-06182         ONDERLAW, LLC
CARPENTER, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-09099         ONDERLAW, LLC
CARR, CAROLE              NJ - USDC for the District of New Jersey   3:21-cv-07375         ONDERLAW, LLC
CARR, SHELLY              NJ - USDC for the District of New Jersey   3:21-cv-04784         ONDERLAW, LLC
CARRARO, JEANNE           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
CARRELL, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-03938         ONDERLAW, LLC
CARREON, SHERRY           NJ - USDC for the District of New Jersey   3:17-cv-09924         ONDERLAW, LLC
CARRETO, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-00559         ONDERLAW, LLC
CARRICO, RASHEL           NJ - USDC for the District of New Jersey   3:21-cv-04862         ONDERLAW, LLC
CARRIER, KAREN            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
CARRIERE, TONYA           NJ - USDC for the District of New Jersey   3:17-cv-09724         ONDERLAW, LLC
CARRILLO, HILDA           NJ - USDC for the District of New Jersey   3:21-cv-04956         ONDERLAW, LLC
CARRINGTON, LENAE         NJ - USDC for the District of New Jersey   3:21-cv-08817         ONDERLAW, LLC
CARRINGTON, TAMMY         NJ - USDC for the District of New Jersey   3:20-cv-12623         ONDERLAW, LLC
CARROLL, EMILY            NJ - USDC for the District of New Jersey   3:20-cv-05789         ONDERLAW, LLC
CARROLL, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-09500         ONDERLAW, LLC
CARROLL, ROXANE           NJ - USDC for the District of New Jersey   3:19-cv-14483         ONDERLAW, LLC
CARROLL, SHARON           MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
CARROLL, SHARON           MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
CARROLL, TINA             NJ - USDC for the District of New Jersey   3:21-cv-08107         ONDERLAW, LLC
CARSON, ALMA              NJ - USDC for the District of New Jersey   3:21-cv-16822         ONDERLAW, LLC
CARTER, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-17400         ONDERLAW, LLC
CARTER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-01813         ONDERLAW, LLC
CARTER, CARMIE            NJ - USDC for the District of New Jersey   3:21-cv-03637         ONDERLAW, LLC
CARTER, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-01513         ONDERLAW, LLC
CARTER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-02283         ONDERLAW, LLC
CARTER, DIANA             NJ - USDC for the District of New Jersey   3:20-cv-00353         ONDERLAW, LLC
CARTER, DONNA             NJ - USDC for the District of New Jersey   3:19-cv-21812         ONDERLAW, LLC
CARTER, FELICIA           NJ - USDC for the District of New Jersey   3:21-cv-01076         ONDERLAW, LLC
CARTER, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-05930         ONDERLAW, LLC
CARTER, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-05250         ONDERLAW, LLC
CARTER, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-05267         ONDERLAW, LLC
CARTER, LISA              NJ - USDC for the District of New Jersey   3:17-cv-09947         ONDERLAW, LLC
CARTER, LYNETTE           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
CARTER, LYNETTE           NJ - USDC for the District of New Jersey   3:21-cv-05342         ONDERLAW, LLC
CARTER, MARLENE           NJ - USDC for the District of New Jersey   3:21-cv-02843         ONDERLAW, LLC
CARTER, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-08923         ONDERLAW, LLC
CARTER, PAULINE           NJ - USDC for the District of New Jersey   3:21-cv-07125         ONDERLAW, LLC
CARTER, RHONDA            MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
CARTLEDGE, NORMA          NJ - USDC for the District of New Jersey   3:21-cv-07799         ONDERLAW, LLC
CARTWRIGHT, PATRICIA      MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
CARTY, JACQUELINE         NJ - USDC for the District of New Jersey   3:18-cv-12621             ONDERLAW, LLC
CARUTHERS, TERRY          NJ - USDC for the District of New Jersey   3:21-cv-05668             ONDERLAW, LLC
CARY, LYNN                MO - Circuit Court - City of St. Louis     1622-CC-00837             ONDERLAW, LLC
CARYL, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-09313             ONDERLAW, LLC
CASAS, SOLANGEL           MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
CASCI, KATHLEEN           MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
CASEMAN, SHIRLEY          NJ - USDC for the District of New Jersey   3:18-cv-05676             ONDERLAW, LLC
CASERO, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-09386             ONDERLAW, LLC
CASEY, DONNA              MO - Circuit Court - City of St. Louis     1622-CC-00837             ONDERLAW, LLC
CASEY, GRAZYNA            NJ - USDC for the District of New Jersey   3:20-cv-18849             ONDERLAW, LLC
CASEY, KATHERINE          NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
CASEY, KENNY              NJ - USDC for the District of New Jersey   3:21-cv-02677             ONDERLAW, LLC
CASEY, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-08174             ONDERLAW, LLC
CASEY, PATRICIA           MO - Circuit Court - City of St. Louis     1522-CC-09792             ONDERLAW, LLC
CASEY, SHERRI             NJ - USDC for the District of New Jersey   3:21-cv08350              ONDERLAW, LLC
CASIAS, ANGELITA          NJ - USDC for the District of New Jersey   3:21-cv-04772             ONDERLAW, LLC
CASPER, MARLENE           NJ - USDC for the District of New Jersey   3:20-cv-04348             ONDERLAW, LLC
CASSELLO-MALONE, LILA     NJ - USDC for the District of New Jersey   3:17-cv-12520             ONDERLAW, LLC
CASSIO, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-06430             ONDERLAW, LLC
CASTEEL, PRISCILLA        NJ - USDC for the District of New Jersey   3:21-cv-09796             ONDERLAW, LLC
CASTERLIN, BARBARA        NJ - USDC for the District of New Jersey   3:18-cv-08680             ONDERLAW, LLC
CASTIGLIONI, STACEY       NJ - USDC for the District of New Jersey   3:21-cv-08196             ONDERLAW, LLC
CASTILLO, MONICA          NJ - USDC for the District of New Jersey   3:20-cv-12625             ONDERLAW, LLC
CASTILLO, PAULA           MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
CASTRICONE, ELIZABETH     NJ - USDC for the District of New Jersey   3:19-cv-10295             ONDERLAW, LLC
CASTRO, ANNE              NJ - USDC for the District of New Jersey   3:19-cv-14486             ONDERLAW, LLC
CASTRO, CINDA             NJ - USDC for the District of New Jersey   3:21-cv-02776             ONDERLAW, LLC
                                                                     30-2017-00952945-CU-PL-
CASTRO, KERIJANE          CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                     CXC
CASTRO, KERIJANE          NJ - USDC for the District of New Jersey   3:17-cv-00791             ONDERLAW, LLC
CASTRO, LOURDES           NJ - USDC for the District of New Jersey   3:21-cv-06099             ONDERLAW, LLC
CASTRO, VANESSA           NJ - USDC for the District of New Jersey   3:18-cv-10404             ONDERLAW, LLC
CATALDO, JOANNA           NJ - USDC for the District of New Jersey   3:21-cv-10104             ONDERLAW, LLC
CATANIA, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-12581             ONDERLAW, LLC
CATAPANO, ROSEANNE        MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
CATCHINGS, KRYSTAL        NJ - USDC for the District of New Jersey   3:21-cv-17167             ONDERLAW, LLC
CATHERS, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-20434             ONDERLAW, LLC
CAUBBLE, DELORES          NJ - USDC for the District of New Jersey   3:19-cv-10159             ONDERLAW, LLC
CAUDILL, KIMBERY          NJ - USDC for the District of New Jersey   3:21-cv-04978             ONDERLAW, LLC
CAUDILLO, PHYLLIS         NJ - USDC for the District of New Jersey   3:21-cv-05936             ONDERLAW, LLC
CAUSEY, WENDY             NJ - USDC for the District of New Jersey   3:21-cv-08424             ONDERLAW, LLC
CAZARES, VERONICA         NJ - USDC for the District of New Jersey   3:21-cv-03699             ONDERLAW, LLC
CEBALLOS, RITA            NJ - USDC for the District of New Jersey   3:17-cv-09503             ONDERLAW, LLC
CEBALLOS, THERESSA        NJ - USDC for the District of New Jersey   3:19-cv-17146             ONDERLAW, LLC
CECERE, JENNIFER          MO - Circuit Court - City of St. Louis     1822-CC00002              ONDERLAW, LLC
CECHURA, MARY             NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
CECILIA HERNANDEZ         NJ - USDC for the District of New Jersey   3:21-cv-18270             ONDERLAW, LLC
CENTENO, ELIZABETH        NJ - USDC for the District of New Jersey   3:20-cv-14921             ONDERLAW, LLC
CENTENO, ELSA             NJ - USDC for the District of New Jersey   3:20-cv-17050             ONDERLAW, LLC
CENTENO, JADIRA           NJ - USDC for the District of New Jersey   3:18-cv-17726             ONDERLAW, LLC
CEPHAS, LYNETTE           NJ - USDC for the District of New Jersey   3:17-cv-09097             ONDERLAW, LLC
CERCEO, ALINE             NJ - USDC for the District of New Jersey   3:21-cv-07130             ONDERLAW, LLC
CERRITOS, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-02489             ONDERLAW, LLC
CERRONE, CLAIRE           NJ - USDC for the District of New Jersey   3:20-cv-10138             ONDERLAW, LLC
CERVANTES, LORRAINE       NJ - USDC for the District of New Jersey   3:21-cv-05695             ONDERLAW, LLC
CESMAT, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-02778             ONDERLAW, LLC
CESPEDES, RHONDA          NJ - USDC for the District of New Jersey   3:20-cv-07032             ONDERLAW, LLC
CHABINEC, ANGELA          NJ - USDC for the District of New Jersey   3:19-cv-20772             ONDERLAW, LLC
CHAFFEY, DEBBIE           NJ - USDC for the District of New Jersey   3:21-cv-07498             ONDERLAW, LLC
CHAIN, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-17961             ONDERLAW, LLC
CHALK, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-02117             ONDERLAW, LLC
CHAMBERLAIN, ANGELA       NJ - USDC for the District of New Jersey   3:21-cv-06555             ONDERLAW, LLC
CHAMBERLAIN, CAMILLE      NJ - USDC for the District of New Jersey   3:21-cv-16825             ONDERLAW, LLC
CHAMBERLAIN, LYDIA        NJ - USDC for the District of New Jersey   3:21-cv-02543             ONDERLAW, LLC
CHAMBERS, BONNIE          MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
CHAMBERS, MARJORIE        NJ - USDC for the District of New Jersey   3:21-cv-07253             ONDERLAW, LLC
CHAMBERS, NANCY           NJ - USDC for the District of New Jersey   3:18-cv-10049             ONDERLAW, LLC
CHAMBERS, RUTH            NJ - USDC for the District of New Jersey   3:20-cv-15377             ONDERLAW, LLC
CHAMPION, HOLLIE          NJ - USDC for the District of New Jersey   3:21-cv-03467             ONDERLAW, LLC
CHANDLER, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-02845             ONDERLAW, LLC
CHANDLER, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-18383             ONDERLAW, LLC
CHANDLER, DIANE           NJ - USDC for the District of New Jersey   3:21-cv-05515             ONDERLAW, LLC
CHANDLER, LYNANNE         NJ - USDC for the District of New Jersey   3:21-cv-03256             ONDERLAW, LLC
CHANDLER, TERRI           NJ - USDC for the District of New Jersey   3:21-cv-02671             ONDERLAW, LLC
CHANEY, JEANNINE          NJ - USDC for the District of New Jersey   3:18-cv-13777             ONDERLAW, LLC
CHANGUS, MYRA             NJ - USDC for the District of New Jersey   3:18-cv-12202             ONDERLAW, LLC
CHANTHAXOTH, SAMANTHA     NJ - USDC for the District of New Jersey   3:21-cv-06150             ONDERLAW, LLC
CHAPMAN, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-02515             ONDERLAW, LLC
CHAPMAN, CRYSTAL          NJ - USDC for the District of New Jersey   3:21-cv-01084             ONDERLAW, LLC
CHAPPELL, KELLY           MO - Circuit Court - City of St. Louis     1622-CC-00837             ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CHAPPELL, LILLIE          NJ - USDC for the District of New Jersey   3:19-cv-21813         ONDERLAW, LLC
CHAPUT, KIMBERLEY         NJ - USDC for the District of New Jersey   3:21-cv-03687         ONDERLAW, LLC
CHARLES, ELERIA           NJ - USDC for the District of New Jersey   3:21-cv-05134         ONDERLAW, LLC
CHARLES, TINA             NJ - USDC for the District of New Jersey   3:21-cv-02596         ONDERLAW, LLC
CHARLES-ADAMS, CELIA      MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
CHARTER, MELINDA          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
CHASE, CHERYL             NJ - USDC for the District of New Jersey   3:19-cv-09286         ONDERLAW, LLC
CHASE, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
CHASE, MELAGRETO          NJ - USDC for the District of New Jersey   3:21-cv-04401         ONDERLAW, LLC
CHASTAIN, KATHY           NJ - USDC for the District of New Jersey   3:21-cv-04785         ONDERLAW, LLC
CHASTAIN, MARIBEL         NJ - USDC for the District of New Jersey   3:21-cv-03205         ONDERLAW, LLC
CHAVEZ, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-05733         ONDERLAW, LLC
CHAVEZ, EVANGELINE        NJ - USDC for the District of New Jersey   3:21-cv-02910         ONDERLAW, LLC
CHAVEZ, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-07909         ONDERLAW, LLC
CHAVEZ, SANJUANITA        NJ - USDC for the District of New Jersey   3:21-cv-01774         ONDERLAW, LLC
CHAYTOR, LAURIE           NJ - USDC for the District of New Jersey   3:18-cv-17748         ONDERLAW, LLC
CHEATHAM, DANESSA         NJ - USDC for the District of New Jersey   3:21-cv-01960         ONDERLAW, LLC
CHEEK, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-08365         ONDERLAW, LLC
CHEGAR, RITA              NJ - USDC for the District of New Jersey   3:21-cv-04277         ONDERLAW, LLC
CHEN, MARIA               MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
CHENOFF, MARSHA           NJ - USDC for the District of New Jersey   3:20-cv-15378         ONDERLAW, LLC
CHERRA, NARINDER          MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
CHERRY, SHAVON            NJ - USDC for the District of New Jersey   3:21-cv-09823         ONDERLAW, LLC
CHESNUTT, MACKIE          NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
CHESSON, EMMA             NJ - USDC for the District of New Jersey   3:20-cv-12329         ONDERLAW, LLC
CHEW, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-00192         ONDERLAW, LLC
CHEWNING, TANYA           NJ - USDC for the District of New Jersey   3:20-cv-03576         ONDERLAW, LLC
CHILD, KATHLEEN           NJ - USDC for the District of New Jersey   3:18-cv-10912         ONDERLAW, LLC
CHILDERS, TAHNEE          NJ - USDC for the District of New Jersey   3:21-cv-12348         ONDERLAW, LLC
CHILDERS, TINA            NJ - USDC for the District of New Jersey   3:17-cv-09192         ONDERLAW, LLC
CHILDRESS, MARTHA         NJ - USDC for the District of New Jersey   3:20-cv-05874         ONDERLAW, LLC
CHILDS, CHERRIE           NJ - USDC for the District of New Jersey   3:21-cv-15553         ONDERLAW, LLC
CHILTON, MARY             NJ - USDC for the District of New Jersey   3:21-cv-05980         ONDERLAW, LLC
CHIMENTO, GAIL            NJ - USDC for the District of New Jersey   3:17-cv-02396         ONDERLAW, LLC
CHINAPANA, SUNITA         NJ - USDC for the District of New Jersey   3:17-cv-09485         ONDERLAW, LLC
CHIOCCA, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-03991         ONDERLAW, LLC
CHIPMAN, HEIDI            NJ - USDC for the District of New Jersey   3:21-cv-08824         ONDERLAW, LLC
CHOATE, MARY              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
CHOATE, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-20636         ONDERLAW, LLC
CHOI, MARY                NJ - USDC for the District of New Jersey   3:20-cv-00958         ONDERLAW, LLC
CHOLEWA, JANET            MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
CHOUINARD, PAMELA         NJ - USDC for the District of New Jersey   3:19-cv-14759         ONDERLAW, LLC
CHRISTENSEN, MARINDA      NJ - USDC for the District of New Jersey   3:21-cv-03635         ONDERLAW, LLC
CHRISTIAN, RUGINER        NJ - USDC for the District of New Jersey   3:21-cv-02712         ONDERLAW, LLC
CHRISTIANSEN, COLLEEN     NJ - USDC for the District of New Jersey   3:21-cv-05675         ONDERLAW, LLC
CHRISTIANSEN, KAREN       NJ - USDC for the District of New Jersey   3:21-cv-09769         ONDERLAW, LLC
CHRISTIE, TONYA           NJ - USDC for the District of New Jersey   3:21-cv-05839         ONDERLAW, LLC
CHRISTINA POLITES         NJ - USDC for the District of New Jersey   3:21-cv-18222         ONDERLAW, LLC
CHRISTOPHER, CATHY        NJ - USDC for the District of New Jersey   3:21-cv-02664         ONDERLAW, LLC
CHRISTOPHER, JUDITH       NJ - USDC for the District of New Jersey   3:21-cv-01976         ONDERLAW, LLC
CHROSTOFFERSEN, MERINA    NJ - USDC for the District of New Jersey   3:20-cv-20072         ONDERLAW, LLC
CICALESE, CHIARA          NJ - USDC for the District of New Jersey   3:21-cv-02684         ONDERLAW, LLC
CIDILA, MARY              NJ - USDC for the District of New Jersey   3:21-cv-05699         ONDERLAW, LLC
CIERS, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-16112         ONDERLAW, LLC
CILIBERTO, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-07345         ONDERLAW, LLC
CILLI, SANTINA            NJ - USDC for the District of New Jersey   3:21-cv-05690         ONDERLAW, LLC
CINTRON, REGINA           NJ - USDC for the District of New Jersey   3:18-cv-17763         ONDERLAW, LLC
CIPRIANI, GERALDINE       NJ - USDC for the District of New Jersey   3:21-cv-06504         ONDERLAW, LLC
CISCO, CAROLYN            MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
CISNEROS, MARI            NJ - USDC for the District of New Jersey   3:21-cv-02784         ONDERLAW, LLC
CIULLA, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-04698         ONDERLAW, LLC
CIZEWSKI, KATHLEEN        NJ - USDC for the District of New Jersey   3:18-cv-05812         ONDERLAW, LLC
CLARK, ANNETTE            NJ - USDC for the District of New Jersey   3:18-cv-09054         ONDERLAW, LLC
CLARK, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-00963         ONDERLAW, LLC
CLARK, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-11875         ONDERLAW, LLC
CLARK, CHRISTIE           NJ - USDC for the District of New Jersey   3:21-cv-03412         ONDERLAW, LLC
CLARK, CHRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-02548         ONDERLAW, LLC
CLARK, CONSTANCE          NJ - USDC for the District of New Jersey   3:21-cv-17294         ONDERLAW, LLC
CLARK, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-01126         ONDERLAW, LLC
CLARK, EVELYN             NJ - USDC for the District of New Jersey   3:21-cv-07189         ONDERLAW, LLC
CLARK, HELEN              NJ - USDC for the District of New Jersey   3:19-cv-09975         ONDERLAW, LLC
CLARK, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-02327         ONDERLAW, LLC
CLARK, JEANNE             NJ - USDC for the District of New Jersey   3:21-cv-07010         ONDERLAW, LLC
CLARK, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-07114         ONDERLAW, LLC
CLARK, JUDY               NJ - USDC for the District of New Jersey   3:20-cv-16113         ONDERLAW, LLC
CLARK, KATHIE             NJ - USDC for the District of New Jersey   3:21-cv-06345         ONDERLAW, LLC
CLARK, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-06560         ONDERLAW, LLC
CLARK, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-05660         ONDERLAW, LLC
CLARK, LISA               NJ - USDC for the District of New Jersey   3:20-cv-16925         ONDERLAW, LLC
CLARK, MYRA               NJ - USDC for the District of New Jersey   3:19-cv-21176         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CLARK, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-09560         ONDERLAW, LLC
CLARK, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-12621         ONDERLAW, LLC
CLARK, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
CLARK, RENEE              NJ - USDC for the District of New Jersey   3:21-cv-03273         ONDERLAW, LLC
CLARK, ROSALYN            NJ - USDC for the District of New Jersey   3:21-cv-17708         ONDERLAW, LLC
CLARK, ROSEMARIE          NJ - USDC for the District of New Jersey   3:21-cv-08108         ONDERLAW, LLC
CLARK, TABITHA            NJ - USDC for the District of New Jersey   3:21-cv-04646         ONDERLAW, LLC
CLARK, TEAUNNA            NJ - USDC for the District of New Jersey   3:21-cv-05711         ONDERLAW, LLC
CLARK, ZELMA              NJ - USDC for the District of New Jersey   3:21-cv-02436         ONDERLAW, LLC
CLARKE, KRISTEN           NJ - USDC for the District of New Jersey   3:21-cv-08204         ONDERLAW, LLC
CLARKE, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-07761         ONDERLAW, LLC
CLARK-HANSEN, LAURA       MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
CLARK-HESTER, TAMMY       MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
CLARKSON, DENITA          NJ - USDC for the District of New Jersey   3:20-cv-01480         ONDERLAW, LLC
CLARY, WANDA              NJ - USDC for the District of New Jersey   3:21-cv-08883         ONDERLAW, LLC
CLARY-JONES, SHARON       NJ - USDC for the District of New Jersey   3:20-cv-06551         ONDERLAW, LLC
CLAUSELL, CATOYA          NJ - USDC for the District of New Jersey   3:20-cv-17210         ONDERLAW, LLC
CLAVARIO, MARIA           MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
CLAVON, ROSA              NJ - USDC for the District of New Jersey   3:21-cv-08276         ONDERLAW, LLC
CLAXTON, CHRISTINA        NJ - USDC for the District of New Jersey   3:21-cv-02647         ONDERLAW, LLC
CLAY, JOCELYNE            NJ - USDC for the District of New Jersey   3:21-cv-01514         ONDERLAW, LLC
CLAY, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-11205         ONDERLAW, LLC
CLAY, MARY                NJ - USDC for the District of New Jersey   3:21-cv-00756         ONDERLAW, LLC
CLAY, SHAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-04831         ONDERLAW, LLC
CLAYBORN, VERA            NJ - USDC for the District of New Jersey   3:19-cv-07169         ONDERLAW, LLC
CLAYTON, CRISTI           NJ - USDC for the District of New Jersey   3:21-cv-01897         ONDERLAW, LLC
CLEM, SHIRLEY             NJ - USDC for the District of New Jersey   3:21-cv-04206         ONDERLAW, LLC
CLEMENS, PAULIE           NJ - USDC for the District of New Jersey   3:21-cv-06682         ONDERLAW, LLC
CLEMENTE, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-12195         ONDERLAW, LLC
CLEMENTS, AMY             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
CLEMENTS, KAREN           NJ - USDC for the District of New Jersey   3:21-cv-04160         ONDERLAW, LLC
CLEMON, FRANKIE           NJ - USDC for the District of New Jersey   3:20-cv-03923         ONDERLAW, LLC
CLEMONS, MANDY            NJ - USDC for the District of New Jersey   3:21-cv-08758         ONDERLAW, LLC
CLEMONS, TESA             NJ - USDC for the District of New Jersey   3:21-cv-04744         ONDERLAW, LLC
CLESTER, LOIS             NJ - USDC for the District of New Jersey   3:18-cv-02914         ONDERLAW, LLC
CLEVELAND, DELOIS         NJ - USDC for the District of New Jersey   3:21-cv-06341         ONDERLAW, LLC
CLIFF, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-07637         ONDERLAW, LLC
CLIFFORD, VERA            NJ - USDC for the District of New Jersey   3:21-cv-01526         ONDERLAW, LLC
CLINARD, GRACE            NJ - USDC for the District of New Jersey   3:21-cv-05138         ONDERLAW, LLC
CLINE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-02895         ONDERLAW, LLC
CLINE, DIANA              NJ - USDC for the District of New Jersey   3:20-cv-00158         ONDERLAW, LLC
CLINE, PEARL              NJ - USDC for the District of New Jersey   3:21-cv-06088         ONDERLAW, LLC
CLINE, TONI               NJ - USDC for the District of New Jersey   3:19-cv-16355         ONDERLAW, LLC
CLINKENBEARD, ABIGALE     MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
CLORISA MARTINEZ          NJ - USDC for the District of New Jersey   3:21-cv-18388         ONDERLAW, LLC
CLOSE, SHIRLEY            NJ - USDC for the District of New Jersey   3:19-cv-09586         ONDERLAW, LLC
CLOUD, ANJILLA            NJ - USDC for the District of New Jersey   3:17-cv-09906         ONDERLAW, LLC
CLOUGH, LYNNE             NJ - USDC for the District of New Jersey   3:20-cv-03071         ONDERLAW, LLC
CLOYD, ASHLEY             NJ - USDC for the District of New Jersey   3:21-cv-01935         ONDERLAW, LLC
CLUBB, MARZELL            NJ - USDC for the District of New Jersey   3:19-cv-19136         ONDERLAW, LLC
CLYMA, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-08370         ONDERLAW, LLC
COATES, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-18051         ONDERLAW, LLC
COATS, CAEOL              NJ - USDC for the District of New Jersey   3:21-cv-09199         ONDERLAW, LLC
COBB, VANDRA              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
COBBS, ALEXANDRA          NJ - USDC for the District of New Jersey   3:17-cv-10891         ONDERLAW, LLC
COBBS, NICHELLE           NJ - USDC for the District of New Jersey   3:21-cv-01760         ONDERLAW, LLC
COBERN, BILLIEMAE         NJ - USDC for the District of New Jersey   3:21-cv-05484         ONDERLAW, LLC
COBLE, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-05417         ONDERLAW, LLC
COBURN, YVONNE            NJ - USDC for the District of New Jersey   3:19-cv-21817         ONDERLAW, LLC
COCHELL, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-06205         ONDERLAW, LLC
COCKRELL, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-03423         ONDERLAW, LLC
COCKRELL, SELMA           NJ - USDC for the District of New Jersey   3:21-cv-03450         ONDERLAW, LLC
COCKROFT, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-06155         ONDERLAW, LLC
COCKRUM, LAURICE          NJ - USDC for the District of New Jersey   3:19-cv-20877         ONDERLAW, LLC
CODDINGTON, SHAREN        NJ - USDC for the District of New Jersey   3:21-cv-08735         ONDERLAW, LLC
CODI, JUDITH              NJ - USDC for the District of New Jersey   3:18-cv-10992         ONDERLAW, LLC
CODRINGTON, RUTH          NJ - USDC for the District of New Jersey   3:21-cv-07133         ONDERLAW, LLC
COE, JUDITH               NJ - USDC for the District of New Jersey   3:21-cv-05851         ONDERLAW, LLC
COE, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-09390         ONDERLAW, LLC
COE, SHERI                NJ - USDC for the District of New Jersey   3:21-cv-09673         ONDERLAW, LLC
COEN, JOANN               NJ - USDC for the District of New Jersey   3:21-cv-09919         ONDERLAW, LLC
COFFMAN, MICHELLE         NJ - USDC for the District of New Jersey   3:21-cv-17168         ONDERLAW, LLC
COGAN, CYNTHIA            NJ - USDC for the District of New Jersey   3:17-cv-08331         ONDERLAW, LLC
COGHILL, KIMBERLY         NJ - USDC for the District of New Jersey   3:21-cv-02140         ONDERLAW, LLC
COHAN, AGNES              NJ - USDC for the District of New Jersey   3:21-cv-07690         ONDERLAW, LLC
COHEN, ALEXANDRA          NJ - USDC for the District of New Jersey   3:18-cv-17764         ONDERLAW, LLC
COHEN, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-03379         ONDERLAW, LLC
COHN, JOAN                NJ - USDC for the District of New Jersey   3:21-cv-17490         ONDERLAW, LLC
COLATA, SERA              NJ - USDC for the District of New Jersey   3:21-cv-02342         ONDERLAW, LLC
COLCLOUGH, WILLIE         NJ - USDC for the District of New Jersey   3:20-cv-00769         ONDERLAW, LLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
COLE, CANDACE               NJ - USDC for the District of New Jersey   3:21-cv-05136         ONDERLAW, LLC
COLE, CHARLENE              NJ - USDC for the District of New Jersey   3:19-cv-17354         ONDERLAW, LLC
COLE, CHRISTINE             NJ - USDC for the District of New Jersey   3:20-cv-17211         ONDERLAW, LLC
COLE, COLETTE               NJ - USDC for the District of New Jersey   3:21-cv-06061         ONDERLAW, LLC
COLE, FREEDA                NJ - USDC for the District of New Jersey   3:21-cv-04836         ONDERLAW, LLC
COLE, JEANETTE              NJ - USDC for the District of New Jersey   3:21-cv-10117         ONDERLAW, LLC
COLE, KAREN                 NJ - USDC for the District of New Jersey   3:21-cv-15546         ONDERLAW, LLC
COLE, KATHERINE             NJ - USDC for the District of New Jersey   3:21-cv-06637         ONDERLAW, LLC
COLE, LAUREN                NJ - USDC for the District of New Jersey   3:21-cv-17491         ONDERLAW, LLC
COLE, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-02592         ONDERLAW, LLC
COLE, LISA                  NJ - USDC for the District of New Jersey   3:17-cv-09932         ONDERLAW, LLC
COLE, LUGENIA               NJ - USDC for the District of New Jersey   3:21-cv-02790         ONDERLAW, LLC
COLE, LWANDA                NJ - USDC for the District of New Jersey   3:21-cv-01709         ONDERLAW, LLC
COLE, SAVANNAH              NJ - USDC for the District of New Jersey   3:21-cv-02147         ONDERLAW, LLC
COLE, SHEMEKA               NJ - USDC for the District of New Jersey   3:21-cv-12349         ONDERLAW, LLC
COLE, VONSEAL               MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
COLEMAN, AISHA              NJ - USDC for the District of New Jersey   3:17-cv-11611         ONDERLAW, LLC
COLEMAN, AMY                NJ - USDC for the District of New Jersey   3:21-cv-04184         ONDERLAW, LLC
COLEMAN, ARLETTA            NJ - USDC for the District of New Jersey   3:21-cv-06477         ONDERLAW, LLC
COLEMAN, BEVERLEY           NJ - USDC for the District of New Jersey   3:20-cv-00938         ONDERLAW, LLC
COLEMAN, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-02846         ONDERLAW, LLC
COLEMAN, DENISE             NJ - USDC for the District of New Jersey   3:21-cv-02947         ONDERLAW, LLC
COLEMAN, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-01469         ONDERLAW, LLC
COLEMAN, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-05890         ONDERLAW, LLC
COLEMAN, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-15504         ONDERLAW, LLC
COLEMAN, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-06742         ONDERLAW, LLC
COLEMAN, TONA               MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
COLEMAN, TONYA              NJ - USDC for the District of New Jersey   3:21-cv-06669         ONDERLAW, LLC
COLEMAN-NEAL, ROSALIND      NJ - USDC for the District of New Jersey   3:20-cv-20569         ONDERLAW, LLC
COLEMERE, JOY               NJ - USDC for the District of New Jersey   3:18-cv-13426         ONDERLAW, LLC
COLGROVE, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-00770         ONDERLAW, LLC
COLLIGAN, SUE               NJ - USDC for the District of New Jersey   3:17-cv-11103         ONDERLAW, LLC
COLLINS, ALLEAN             NJ - USDC for the District of New Jersey   3:21-cv-06487         ONDERLAW, LLC
COLLINS, BERNICE            NJ - USDC for the District of New Jersey   3:21-cv-05497         ONDERLAW, LLC
COLLINS, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-04402         ONDERLAW, LLC
COLLINS, CLARA              NJ - USDC for the District of New Jersey   3:20-cv-12691         ONDERLAW, LLC
COLLINS, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-09288         ONDERLAW, LLC
COLLINS, DAPHNE             NJ - USDC for the District of New Jersey   3:21-cv-06021         ONDERLAW, LLC
COLLINS, DELOISE            NJ - USDC for the District of New Jersey   3:21-cv-09121         ONDERLAW, LLC
COLLINS, EVA                NJ - USDC for the District of New Jersey   3:21-cv-05728         ONDERLAW, LLC
COLLINS, HELEN              NJ - USDC for the District of New Jersey   3:21-cv-02810         ONDERLAW, LLC
COLLINS, IRENE              NJ - USDC for the District of New Jersey   3:21-cv-08028         ONDERLAW, LLC
COLLINS, JANNELL            NJ - USDC for the District of New Jersey   3:21-cv-05149         ONDERLAW, LLC
COLLINS, KATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-00550         ONDERLAW, LLC
COLLINS, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-00894         ONDERLAW, LLC
COLLINS, LESLIE             NJ - USDC for the District of New Jersey   3:21-cv-07640         ONDERLAW, LLC
COLLINS, MARILYN            NJ - USDC for the District of New Jersey   3:21-cv-05088         ONDERLAW, LLC
COLLINS, MARY               NJ - USDC for the District of New Jersey   3:21-cv-02985         ONDERLAW, LLC
COLLINS, NATASHA            NJ - USDC for the District of New Jersey   3:20-cv-15379         ONDERLAW, LLC
COLLINS, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
COLLINS, VERONICA           NJ - USDC for the District of New Jersey   3:19-cv-09250         ONDERLAW, LLC
COLLINS, WINNETTA           NJ - USDC for the District of New Jersey   3:21-cv-09554         ONDERLAW, LLC
COLON, JUANITA              NJ - USDC for the District of New Jersey   3:20-cv-09882         ONDERLAW, LLC
COLON, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-03889         ONDERLAW, LLC
COLON, MYRNA                NJ - USDC for the District of New Jersey   3:21-cv-08667         ONDERLAW, LLC
COLON, VIVIAN               NJ - USDC for the District of New Jersey   3:21-cv-02160         ONDERLAW, LLC
COLUCCI, ALMA               NJ - USDC for the District of New Jersey   3:20-cv-06776         ONDERLAW, LLC
COLUNGA, GRISELDA           NJ - USDC for the District of New Jersey   3:21-cv-02132         ONDERLAW, LLC
COLWELL, CHERYL             MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
COLWELL, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-07789         ONDERLAW, LLC
COLWELL, ROYA               MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
COMBEST, KAYLA              NJ - USDC for the District of New Jersey   3:21-cv-01515         ONDERLAW, LLC
COMBS, DELLAJEAN            NJ - USDC for the District of New Jersey   3:17-cv-00800         ONDERLAW, LLC
COMBS, FELICIA              NJ - USDC for the District of New Jersey   3:21-cv-04403         ONDERLAW, LLC
COMBS, LONDA                NJ - USDC for the District of New Jersey   3:17-cv-11194         ONDERLAW, LLC
COMBS, THELMA               NJ - USDC for the District of New Jersey   3:21-cv-06586         ONDERLAW, LLC
COMEAUX, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-10502         ONDERLAW, LLC
COMFORT, GAYLE              NJ - USDC for the District of New Jersey   3:21-cv-10121         ONDERLAW, LLC
COMPERCHIO, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-10125         ONDERLAW, LLC
COMPTON, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-18137         ONDERLAW, LLC
COMSTOCK, ANN               NJ - USDC for the District of New Jersey   3:21-cv-04317         ONDERLAW, LLC
CONDRA, CIERRA              NJ - USDC for the District of New Jersey   3:21-cv-05214         ONDERLAW, LLC
CONDREY, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-07171         ONDERLAW, LLC
CONKLIN, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-02916         ONDERLAW, LLC
CONLEY, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-06092         ONDERLAW, LLC
CONLEY, ROBERTA             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
CONN, WANDA                 NJ - USDC for the District of New Jersey   3:20-cv-09883         ONDERLAW, LLC
CONNER, JULIE               NJ - USDC for the District of New Jersey   3:17-cv-09954         ONDERLAW, LLC
CONNER, ZENOBIE             NJ - USDC for the District of New Jersey   3:21-cv-07151         ONDERLAW, LLC
CONNOLLY-AMBURGEY, BETHAN   NJ - USDC for the District of New Jersey   3:17-cv-09488         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CONNORS, JEAN             NJ - USDC for the District of New Jersey   3:21-cv-06481         ONDERLAW, LLC
CONNORS, MARY             NJ - USDC for the District of New Jersey   3:20-cv-02093         ONDERLAW, LLC
CONNORS, MICHELLE         NJ - USDC for the District of New Jersey   3:19-cv-21819         ONDERLAW, LLC
CONNORS, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-04047         ONDERLAW, LLC
CONOLLY, LUCIE-PEARL      NJ - USDC for the District of New Jersey   3:21-cv-17774         ONDERLAW, LLC
CONOVER, CONSUELO         NJ - USDC for the District of New Jersey   3:21-cv-01775         ONDERLAW, LLC
CONRAD, CHRISTIE          NJ - USDC for the District of New Jersey   3:18-cv-03465         ONDERLAW, LLC
CONSIGLIO, ANN            NJ - USDC for the District of New Jersey   3:18-cv-05736         ONDERLAW, LLC
CONSOLE, DERBY            NJ - USDC for the District of New Jersey   3:21-cv-08861         ONDERLAW, LLC
CONSTANT, BECKY           NJ - USDC for the District of New Jersey   3:21-cv-07305         ONDERLAW, LLC
CONTE, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-11101         ONDERLAW, LLC
CONTRERAS, REBECCA        NJ - USDC for the District of New Jersey   3:21-cv-04312         ONDERLAW, LLC
CONVERSE, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-20452         ONDERLAW, LLC
CONVERSE, HILARY          NJ - USDC for the District of New Jersey   3:18-cv-17586         ONDERLAW, LLC
CONWAY, LUPE              NJ - USDC for the District of New Jersey   3:18-cv-04439         ONDERLAW, LLC
CONWAY, VANNA             NJ - USDC for the District of New Jersey   3:21-cv-06482         ONDERLAW, LLC
CONWAY, WILMA             NJ - USDC for the District of New Jersey   3:19-cv-07170         ONDERLAW, LLC
COOK, BRIDGETTE           NJ - USDC for the District of New Jersey   3:21-cv-03311         ONDERLAW, LLC
COOK, DENA                NJ - USDC for the District of New Jersey   3:18-cv-09797         ONDERLAW, LLC
COOK, DOLORES             NJ - USDC for the District of New Jersey   3:21-cv-07361         ONDERLAW, LLC
COOK, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-02118         ONDERLAW, LLC
COOK, KYNDA               CA - Superior Court - Los Angeles County   BC681547              ONDERLAW, LLC
COOK, KYNDA               NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
COOK, LATASHA             NJ - USDC for the District of New Jersey   3:20-cv-12624         ONDERLAW, LLC
COOK, PRISCILLA           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
COOK, REGINAE             NJ - USDC for the District of New Jersey   3:21-cv-08494         ONDERLAW, LLC
COOK, RESHELIA            NJ - USDC for the District of New Jersey   3:21-cv-07004         ONDERLAW, LLC
COOK, STACEY              NJ - USDC for the District of New Jersey   3:21-cv-01470         ONDERLAW, LLC
COOK, TONI                NJ - USDC for the District of New Jersey   3:20-cv-20456         ONDERLAW, LLC
COOK, VELMA               NJ - USDC for the District of New Jersey   3:21-cv-05861         ONDERLAW, LLC
COOKE, TAMARA             NJ - USDC for the District of New Jersey   3:21-cv-02322         ONDERLAW, LLC
COOKE, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-17171         ONDERLAW, LLC
COOLEY, CASSIE            NJ - USDC for the District of New Jersey   3:21-cv-01070         ONDERLAW, LLC
COOMBS, CHERI             NJ - USDC for the District of New Jersey   3:17-cv-09193         ONDERLAW, LLC
COOMER, HARRIETT          NJ - USDC for the District of New Jersey   3:17-cv-09863         ONDERLAW, LLC
COOPER, ASHA              NJ - USDC for the District of New Jersey   3:21-cv-04192         ONDERLAW, LLC
COOPER, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-09660         ONDERLAW, LLC
COOPER, CHERYL            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
COOPER, CLARICE           MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
COOPER, JAMIE             NJ - USDC for the District of New Jersey   3:21-cv-02300         ONDERLAW, LLC
COOPER, LORETTA           NJ - USDC for the District of New Jersey   3:20-cv-09885         ONDERLAW, LLC
COOPER, MICHELE           NJ - USDC for the District of New Jersey   3:17-cv-09194         ONDERLAW, LLC
COOPER, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-17966         ONDERLAW, LLC
COOPER, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-08572         ONDERLAW, LLC
COPPEDGE, JANET           NJ - USDC for the District of New Jersey   3:21-cv-03969         ONDERLAW, LLC
COPPEE, NICOLE            NJ - USDC for the District of New Jersey   3:21-cv-03258         ONDERLAW, LLC
COPPOLECCHIA, ANGELA      NJ - USDC for the District of New Jersey   3:17-cv-08828         ONDERLAW, LLC
CORA, JEAN                NJ - USDC for the District of New Jersey   3:21-cv-04694         ONDERLAW, LLC
CORBALLY, BETH            NJ - USDC for the District of New Jersey   3:18-cv-03125         ONDERLAW, LLC
CORBETT, ANNIE            NJ - USDC for the District of New Jersey   3:21-cv-04923         ONDERLAW, LLC
CORBETT, NATASHA          NJ - USDC for the District of New Jersey   3:21-cv-17957         ONDERLAW, LLC
CORBIN, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-05356         ONDERLAW, LLC
CORBIN, ROBIN             NJ - USDC for the District of New Jersey   3:20-cv-08117         ONDERLAW, LLC
CORBITT, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-07344         ONDERLAW, LLC
CORDERO, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-04711         ONDERLAW, LLC
CORDERO, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-17968         ONDERLAW, LLC
CORDONA, BELINDA          NJ - USDC for the District of New Jersey   3:21-cv-06371         ONDERLAW, LLC
COREY, EARLENE            NJ - USDC for the District of New Jersey   3:19-cv-13132         ONDERLAW, LLC
CORLEY, DORA              NJ - USDC for the District of New Jersey   3:18-cv-11496         ONDERLAW, LLC
CORLEY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-05471         ONDERLAW, LLC
CORLEY, OPAL              NJ - USDC for the District of New Jersey   3:21-cv-04404         ONDERLAW, LLC
CORLEY, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-08618         ONDERLAW, LLC
CORLISS-KELLY, MARCIA     NJ - USDC for the District of New Jersey   3:21-cv-10128         ONDERLAW, LLC
CORMAN, PATTY             NJ - USDC for the District of New Jersey   3:20-cv-13490         ONDERLAW, LLC
CORMIER, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-17940         ONDERLAW, LLC
CORNEJO, BEE              NJ - USDC for the District of New Jersey   3:18-cv-09528         ONDERLAW, LLC
CORNER, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-02459         ONDERLAW, LLC
CORREA, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-16940         ONDERLAW, LLC
CORREIA, ELAINE           NJ - USDC for the District of New Jersey   3:19-cv-12561         ONDERLAW, LLC
CORTEZ, GILDA             NJ - USDC for the District of New Jersey   3:21-cv-07216         ONDERLAW, LLC
COSBY, KATHY              NJ - USDC for the District of New Jersey   3:17-cv-05360         ONDERLAW, LLC
COSBY, LAMEKA             NJ - USDC for the District of New Jersey   3:21-cv-04043         ONDERLAW, LLC
COSNER, LOIS              NJ - USDC for the District of New Jersey   3:20-cv-09896         ONDERLAW, LLC
COSPER, VALERIE           NJ - USDC for the District of New Jersey   3:21-cv-07944         ONDERLAW, LLC
COSTA, JULIE              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
COSTA, KATHLEEN           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
COSTANTINO, SHERRI        NJ - USDC for the District of New Jersey   3:20-cv-14649         ONDERLAW, LLC
COSTANZO, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-10551         ONDERLAW, LLC
COSTELLO, ELIZABETH       MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
COSTELLOW, SARAH          NJ - USDC for the District of New Jersey   3:21-cv-04278         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
COSTER, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-07281         ONDERLAW, LLC
COTCAMP, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
COTHRAN, AMANDA            NJ - USDC for the District of New Jersey   3:21-cv-04632         ONDERLAW, LLC
COTTON, BARI               NJ - USDC for the District of New Jersey   3:21-cv-05896         ONDERLAW, LLC
COTTON, KATHLEEN           NJ - USDC for the District of New Jersey   3:21-cv-02331         ONDERLAW, LLC
COTTON, VICTORIA           MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
COTTRILL, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-15437         ONDERLAW, LLC
COUCH, LAURA               NJ - USDC for the District of New Jersey   3:21-cv-04406         ONDERLAW, LLC
COUCH, SHANNON             NJ - USDC for the District of New Jersey   3:21-cv-02547         ONDERLAW, LLC
COULBOURN, VIRGIE          NJ - USDC for the District of New Jersey   3:21-cv-08272         ONDERLAW, LLC
COULING, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-09054         ONDERLAW, LLC
COULL, ERIKA               NJ - USDC for the District of New Jersey   3:18-cv-04228         ONDERLAW, LLC
COULTER, TIFFANY           NJ - USDC for the District of New Jersey   3:19-cv-07429         ONDERLAW, LLC
COURSEN, SYLVIA            NJ - USDC for the District of New Jersey   3:21-cv-02164         ONDERLAW, LLC
COURTIS, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-04107         ONDERLAW, LLC
COURTNEY, VIRGINIA         NJ - USDC for the District of New Jersey   3:17-cv-11195         ONDERLAW, LLC
COURTNEY-MORONG, MARILYN   NJ - USDC for the District of New Jersey   3:21-cv-07439         ONDERLAW, LLC
COURTS, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-05104         ONDERLAW, LLC
COUSINS, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-07220         ONDERLAW, LLC
COUZIN, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-09807         ONDERLAW, LLC
COVINGTON, DARLENE         NJ - USDC for the District of New Jersey   3:20-cv-12026         ONDERLAW, LLC
COVINGTON, LORI            NJ - USDC for the District of New Jersey   3:17-cv-11125         ONDERLAW, LLC
COVINGTON, TAMIKO          NJ - USDC for the District of New Jersey   3:20-cv-20457         ONDERLAW, LLC
COWDEN, BETHYL             NJ - USDC for the District of New Jersey   3:19-cv-20784         ONDERLAW, LLC
COWEN, FRANCES             NJ - USDC for the District of New Jersey   3:21-cv-02535         ONDERLAW, LLC
COWEN, JENNIFER            NJ - USDC for the District of New Jersey   3:19-cv-08380         ONDERLAW, LLC
COWLES, CHERLY             NJ - USDC for the District of New Jersey   3:18-cv-02918         ONDERLAW, LLC
COWLES, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-14946         ONDERLAW, LLC
COWLES, JOICE              NJ - USDC for the District of New Jersey   3:20-cv-02487         ONDERLAW, LLC
COWLEY, MELANIE            NJ - USDC for the District of New Jersey   3:21-cv-05240         ONDERLAW, LLC
COX, BRANDIE               NJ - USDC for the District of New Jersey   3:21-cv-08702         ONDERLAW, LLC
COX, JENNIFER              NJ - USDC for the District of New Jersey   3:18-cv-10291         ONDERLAW, LLC
COX, LISA                  NJ - USDC for the District of New Jersey   3:21-cv-02253         ONDERLAW, LLC
COX, LUCINDA               NJ - USDC for the District of New Jersey   3:21-cv-05534         ONDERLAW, LLC
COX, MARION                NJ - USDC for the District of New Jersey   3:21-cv-08231         ONDERLAW, LLC
COX, MARTHA                NJ - USDC for the District of New Jersey   3:21-cv-09588         ONDERLAW, LLC
COX, NORMA                 NJ - USDC for the District of New Jersey   3:20-cv-03591         ONDERLAW, LLC
COX, SUSAN                 NJ - USDC for the District of New Jersey   3:17-cv-09474         ONDERLAW, LLC
COZART, SHELIA             NJ - USDC for the District of New Jersey   3:19-cv-21822         ONDERLAW, LLC
CRABTREE, DIANNA           NJ - USDC for the District of New Jersey   3:21-cv-10129         ONDERLAW, LLC
CRABTREE, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-13660         ONDERLAW, LLC
CRAFT, RACHEL              NJ - USDC for the District of New Jersey   3:17-cv-09876         ONDERLAW, LLC
CRAFT, TAMMIE              NJ - USDC for the District of New Jersey   3:20-cv-11258         ONDERLAW, LLC
CRAIG, CANDACE             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
CRAIG, CHERYL              NJ - USDC for the District of New Jersey   3:21-cv-07964         ONDERLAW, LLC
CRAIG, PAMELA              NJ - USDC for the District of New Jersey   3:17-cv-09925         ONDERLAW, LLC
CRAIG, TEENA               NJ - USDC for the District of New Jersey   3:21-cv-03215         ONDERLAW, LLC
CRAIN, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-03791         ONDERLAW, LLC
CRAMER, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-09719         ONDERLAW, LLC
CRANE, LESLIE              NJ - USDC for the District of New Jersey   3:18-cv-01761         ONDERLAW, LLC
CRAVEN, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-10131         ONDERLAW, LLC
CRAVEN, MARTHA             NJ - USDC for the District of New Jersey   3:19-cv-21280         ONDERLAW, LLC
CRAWFORD, CELAI            NJ - USDC for the District of New Jersey   3:21-cv-09152         ONDERLAW, LLC
CRAWFORD, KARLA            NJ - USDC for the District of New Jersey   3:20-cv-13673         ONDERLAW, LLC
CRAWFORD, KIMBERLY         NJ - USDC for the District of New Jersey   3:21-cv-05216         ONDERLAW, LLC
CRAWFORD, LISA             NJ - USDC for the District of New Jersey   3:21-cv-07443         ONDERLAW, LLC
CRAWFORD, MARY             NJ - USDC for the District of New Jersey   3:18-cv-10050         ONDERLAW, LLC
CRAWFORD, MARY             NJ - USDC for the District of New Jersey   3:21-cv-05165         ONDERLAW, LLC
CRAWFORD, MARY             NJ - USDC for the District of New Jersey   3:21-cv-05827         ONDERLAW, LLC
CRAWFORD, MORGAN           NJ - USDC for the District of New Jersey   3:21-cv-09852         ONDERLAW, LLC
CRAWFORD, SHUNDA           NJ - USDC for the District of New Jersey   3:19-cv-10163         ONDERLAW, LLC
CRAWFORD, VERSIE           NJ - USDC for the District of New Jersey   3:21-cv-06998         ONDERLAW, LLC
CREAMER, HEIDIE            NJ - USDC for the District of New Jersey   3:20-cv-16705         ONDERLAW, LLC
CREED, CHRISTINE           NJ - USDC for the District of New Jersey   3:21-cv-09497         ONDERLAW, LLC
CREIGHTON, ALICE           NJ - USDC for the District of New Jersey   3:21-cv-06360         ONDERLAW, LLC
CREIGHTON, LESLIE          NJ - USDC for the District of New Jersey   3:19-cv-21823         ONDERLAW, LLC
CRENSHAW, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-05117         ONDERLAW, LLC
CRESCIONE, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-10568         ONDERLAW, LLC
CRETHERS, CORA             NJ - USDC for the District of New Jersey   3:21-cv-02726         ONDERLAW, LLC
CREW, LAKISHA              NJ - USDC for the District of New Jersey   3:21-cv-08609         ONDERLAW, LLC
CREZO, VELINDA             NJ - USDC for the District of New Jersey   3:21-cv-07046         ONDERLAW, LLC
CRIADO, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-09476         ONDERLAW, LLC
CRIGGER, SAMANTHA          NJ - USDC for the District of New Jersey   3:21-cv-09448         ONDERLAW, LLC
CRIM, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-20458         ONDERLAW, LLC
CRIPPEN, CANDACE           NJ - USDC for the District of New Jersey   3:17-cv-09933         ONDERLAW, LLC
CRISOSTOMO, YOLANDA        NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
CRISP, DEBBIE              NJ - USDC for the District of New Jersey   3:21-cv-04977         ONDERLAW, LLC
CRISP, IRENE               NJ - USDC for the District of New Jersey   3:21-cv-13440         ONDERLAW, LLC
CRITE-WILKINS, GWENDOLYN   NJ - USDC for the District of New Jersey   3:21-cv-06980         ONDERLAW, LLC
CROCE, AVIE                NJ - USDC for the District of New Jersey   3:21-cv-08241         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
CROCHET, JODY             MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
CROCKER, LOIS             NJ - USDC for the District of New Jersey   3:21-cv-07411         ONDERLAW, LLC
CROFTS, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-04172         ONDERLAW, LLC
CROMER, SOMBEN            NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
CROMPTON, LORRAINE        NJ - USDC for the District of New Jersey   3:21-cv-16774         ONDERLAW, LLC
CRONANDER, LAURA          NJ - USDC for the District of New Jersey   3:20-cv-20460         ONDERLAW, LLC
CRONEY, JANET             NJ - USDC for the District of New Jersey   3:21-cv-03684         ONDERLAW, LLC
CROOK, SHERRY             NJ - USDC for the District of New Jersey   3:18-cv-16982         ONDERLAW, LLC
CROPPER, DANASTACIA       NJ - USDC for the District of New Jersey   3:21-cv-07051         ONDERLAW, LLC
CROSBY, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-03303         ONDERLAW, LLC
CROSS, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-15380         ONDERLAW, LLC
CROSS, JOAN               NJ - USDC for the District of New Jersey   3:18-cv-14708         ONDERLAW, LLC
CROSS, MARY               NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
CROSS, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-01747         ONDERLAW, LLC
CROSSLAND, KRISTY         NJ - USDC for the District of New Jersey   3:21-cv-02663         ONDERLAW, LLC
CROSSLEY, ANNA            NJ - USDC for the District of New Jersey   3:20-cv-20461         ONDERLAW, LLC
CROSSLEY, LYNN            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
CROTZER, DIANNA           NJ - USDC for the District of New Jersey   3:21-cv-03112         ONDERLAW, LLC
CROUCH, HELEN             NJ - USDC for the District of New Jersey   3:20-cv-20462         ONDERLAW, LLC
CROUSE, KANDACE           NJ - USDC for the District of New Jersey   3:21-cv-06938         ONDERLAW, LLC
CROW, CAROLINE            NJ - USDC for the District of New Jersey   3:20-cv-12331         ONDERLAW, LLC
CROWDER, CHERYL           NJ - USDC for the District of New Jersey   3:21-cv-01445         ONDERLAW, LLC
CROWE, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-09368         ONDERLAW, LLC
CROWE, MARY               NJ - USDC for the District of New Jersey   3:18-cv-15478         ONDERLAW, LLC
CROWL, JANET              NJ - USDC for the District of New Jersey   3:21-cv-07141         ONDERLAW, LLC
CRUM, CARLA               NJ - USDC for the District of New Jersey   3:20-cv-05163         ONDERLAW, LLC
CRUMLISH, KATHLEEN        MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
CRUMP, MICHELE            NJ - USDC for the District of New Jersey   3:21-cv-08103         ONDERLAW, LLC
CRUSE, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-01474         ONDERLAW, LLC
CRUZ, CARMEN              NJ - USDC for the District of New Jersey   3:21-cv-08264         ONDERLAW, LLC
CRUZ, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-01544         ONDERLAW, LLC
CRUZ, SANDRA              NJ - USDC for the District of New Jersey   3:20-cv-20463         ONDERLAW, LLC
CRUZ, SHANTA              NJ - USDC for the District of New Jersey   3:17-cv-13806         ONDERLAW, LLC
CUBLEY, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-04675         ONDERLAW, LLC
CUEVAS, ANNA              NJ - USDC for the District of New Jersey   3:18-cv-08739         ONDERLAW, LLC
CUEVAS, JULIE             NJ - USDC for the District of New Jersey   3:19-cv-16114         ONDERLAW, LLC
CUEVAS, ZULEMA            NJ - USDC for the District of New Jersey   3:18-cv-08685         ONDERLAW, LLC
CULLEN-CHIGAS, DIANE      NJ - USDC for the District of New Jersey   3:18-cv-17766         ONDERLAW, LLC
CULLER, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-02060         ONDERLAW, LLC
CULPEPPER, JANICE         NJ - USDC for the District of New Jersey   3:20-cv-09898         ONDERLAW, LLC
CULPEPPER, TINA           NJ - USDC for the District of New Jersey   3:19-cv-20863         ONDERLAW, LLC
CUMMINGS, ANNA            NJ - USDC for the District of New Jersey   3:21-cv-09640         ONDERLAW, LLC
CUMMINGS, MAUREEN         NJ - USDC for the District of New Jersey   3:17-cv-09101         ONDERLAW, LLC
CUNNING, DIANE            NJ - USDC for the District of New Jersey   3:21-cv-07270         ONDERLAW, LLC
CUNNINGHAM, DEBORAH       NJ - USDC for the District of New Jersey   3:21-cv-10147         ONDERLAW, LLC
CUNNINGHAM, ELVA          NJ - USDC for the District of New Jersey   3:21-cv-17181         ONDERLAW, LLC
CUNNINGHAM, PATRICIA      MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
CUNNINGHAM-SCURTO, MARY   NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
CUPELES, MELISSA          NJ - USDC for the District of New Jersey   3:21-cv-08120         ONDERLAW, LLC
CUPINA, DONNA             NJ - USDC for the District of New Jersey   3:17-cv-11300         ONDERLAW, LLC
CUPO, MARION              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
CUPP, ELENA               NJ - USDC for the District of New Jersey   3:21-cv-07589         ONDERLAW, LLC
CURILLA, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-20464         ONDERLAW, LLC
CURRAN, SHAWNA            NJ - USDC for the District of New Jersey   3:21-cv-01772         ONDERLAW, LLC
CURRAN, VALENTIA          NJ - USDC for the District of New Jersey   3:20-cv-15666         ONDERLAW, LLC
CURRY, CHARLENE           NJ - USDC for the District of New Jersey   3:20-cv-14923         ONDERLAW, LLC
CURRY, DEBRA              NJ - USDC for the District of New Jersey   3:18-cv-02377         ONDERLAW, LLC
CURRY, JEANETTE           NJ - USDC for the District of New Jersey   3:21-cv-01521         ONDERLAW, LLC
CURRY, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-09810         ONDERLAW, LLC
CURRY, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-10148         ONDERLAW, LLC
CURTIN, MAGDALENA         NJ - USDC for the District of New Jersey   3:21-cv-06547         ONDERLAW, LLC
CURTIS, CHERYLENE         NJ - USDC for the District of New Jersey   3:21-cv-03216         ONDERLAW, LLC
CURTIS, JANICE            NJ - USDC for the District of New Jersey   3:21-cv-06536         ONDERLAW, LLC
CURTIS, JAVONDA           NJ - USDC for the District of New Jersey   3:21-cv-05143         ONDERLAW, LLC
CURTIS, JODY              NJ - USDC for the District of New Jersey   3:21-cv-05339         ONDERLAW, LLC
CURTIS, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-02265         ONDERLAW, LLC
CURTIS, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-12350         ONDERLAW, LLC
CURTIS, SHEILLA           NJ - USDC for the District of New Jersey   3:21-cv-07341         ONDERLAW, LLC
CURTIS, TAMMY             NJ - USDC for the District of New Jersey   3:19-cv-18849         ONDERLAW, LLC
CUSANELLI, SHERRY         NJ - USDC for the District of New Jersey   3:21-cv-03605         ONDERLAW, LLC
CUSICK, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-19399         ONDERLAW, LLC
CUSTER, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-06501         ONDERLAW, LLC
CUTHBERT, NORMA           NJ - USDC for the District of New Jersey   3:20-cv-12028         ONDERLAW, LLC
CVETKOVIC, GRESCHEN       NJ - USDC for the District of New Jersey   3:19-cv-21826         ONDERLAW, LLC
CYNTHIA SCRUGGS           NJ - USDC for the District of New Jersey   3:21-cv-18205         ONDERLAW, LLC
CYPHERS, GENEVA           NJ - USDC for the District of New Jersey   3:20-cv-06944         ONDERLAW, LLC
CZAJKOWSKI, MARYBETH      NJ - USDC for the District of New Jersey   3:19-cv-00360         ONDERLAW, LLC
DABBS, TAMMY              NJ - USDC for the District of New Jersey   3:17-cv-13489         ONDERLAW, LLC
DACE, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-09647         ONDERLAW, LLC
DAHDAL, FATENA            NJ - USDC for the District of New Jersey   3:18-cv-13209         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
DAHL, JULIA                NJ - USDC for the District of New Jersey   3:19-cv-12131         ONDERLAW, LLC
DAHL, MICHELE              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
DAHLGREN, LORI             NJ - USDC for the District of New Jersey   3:21-cv-05826         ONDERLAW, LLC
DAHMS, DEB                 NJ - USDC for the District of New Jersey   3:18-cv-04994         ONDERLAW, LLC
DAIGLE, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-02098         ONDERLAW, LLC
DAIGNEAU, STACEY           NJ - USDC for the District of New Jersey   3:21-cv-03252         ONDERLAW, LLC
DAILEY, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-03012         ONDERLAW, LLC
DAILEY, MARYANN            NJ - USDC for the District of New Jersey   3:19-cv-19639         ONDERLAW, LLC
DAILEY, TINA               NJ - USDC for the District of New Jersey   3:21-cv-04110         ONDERLAW, LLC
DAILY, RHONDA              NJ - USDC for the District of New Jersey   3:18-cv-12924         ONDERLAW, LLC
DAILY, VIRGINIA            NJ - USDC for the District of New Jersey   3:21-cv-06785         ONDERLAW, LLC
DAKA, BETTIE               NJ - USDC for the District of New Jersey   3:21-cv-09485         ONDERLAW, LLC
DALE, ARRETTA              NJ - USDC for the District of New Jersey   3:17-cv-09543         ONDERLAW, LLC
DALE, MARY                 NJ - USDC for the District of New Jersey   3:19-cv-19352         ONDERLAW, LLC
DALEY, REESE               NJ - USDC for the District of New Jersey   3:21-cv-05865         ONDERLAW, LLC
DALFERES, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-03312         ONDERLAW, LLC
DALLAS, DALE               NJ - USDC for the District of New Jersey   3:21-cv-00821         ONDERLAW, LLC
DALLAS, DESHANNON          NJ - USDC for the District of New Jersey   3:21-cv-07036         ONDERLAW, LLC
DALTO, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-09903         ONDERLAW, LLC
DALTON, GLORIEST           NJ - USDC for the District of New Jersey   3:21-cv-05096         ONDERLAW, LLC
DAMMASCHKE, TINA           NJ - USDC for the District of New Jersey   3:20-cv-00058         ONDERLAW, LLC
DANCY, SHIRLEY             NJ - USDC for the District of New Jersey   3:21-cv-04934         ONDERLAW, LLC
DANDO, LISA                NJ - USDC for the District of New Jersey   3:21-cv-01819         ONDERLAW, LLC
DANEK, SHIRLEY             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
DANIEL, JOANN              NJ - USDC for the District of New Jersey   3:21-cv-18400         ONDERLAW, LLC
DANIEL, LULA               NJ - USDC for the District of New Jersey   3:19-cv-09588         ONDERLAW, LLC
DANIEL, TAMALA             NJ - USDC for the District of New Jersey   3:21-cv-03217         ONDERLAW, LLC
DANIELS, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-02645         ONDERLAW, LLC
DANIELS, CLAUDIA           NJ - USDC for the District of New Jersey   3:20-cv-06402         ONDERLAW, LLC
DANIELS, JACQUELYN         NJ - USDC for the District of New Jersey   3:21-cv-07942         ONDERLAW, LLC
DANIELS, KATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-10079         ONDERLAW, LLC
DANIELS, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-08796         ONDERLAW, LLC
DANIELS, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-01767         ONDERLAW, LLC
DANIELS, MARY              NJ - USDC for the District of New Jersey   3:20-cv-06469         ONDERLAW, LLC
DANIELS, MORIE             NJ - USDC for the District of New Jersey   3:17-cv-10955         ONDERLAW, LLC
DANIELS, NORA              MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
DANIELS, SHERYL            NJ - USDC for the District of New Jersey   3:21-cv-18054         ONDERLAW, LLC
DANIELS, SONYA             NJ - USDC for the District of New Jersey   3:21-cv-07142         ONDERLAW, LLC
DANIELS-BRIDGES, RETHA     NJ - USDC for the District of New Jersey   3:21-cv-05876         ONDERLAW, LLC
DANKO, MAERUSHKA           MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
DARANDA, TAMARA            NJ - USDC for the District of New Jersey   3:21-cv-05705         ONDERLAW, LLC
DARCANGELO, COLLEEN        NJ - USDC for the District of New Jersey   3:21-cv-09106         ONDERLAW, LLC
DARDAR, APRIL              NJ - USDC for the District of New Jersey   3:21-cv-05786         ONDERLAW, LLC
DARDAR, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-20797         ONDERLAW, LLC
DARDEN, AMANDA             NJ - USDC for the District of New Jersey   3:20-cv-15381         ONDERLAW, LLC
DARDEN, JOVINE             NJ - USDC for the District of New Jersey   3:21-cv-05662         ONDERLAW, LLC
DARE, SUZANNE              NJ - USDC for the District of New Jersey   3:21-cv-06879         ONDERLAW, LLC
DARLING-MITCHELL, YVONNE   NJ - USDC for the District of New Jersey   3:21-cv-03705         ONDERLAW, LLC
DARRAH-NORDBERG, DIANE     NJ - USDC for the District of New Jersey   3:21-cv-09266         ONDERLAW, LLC
DARROW, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-07484         ONDERLAW, LLC
DAUBERT, LEILA             NJ - USDC for the District of New Jersey   3:19-cv-00190         ONDERLAW, LLC
DAUGEREAU, TARA            NJ - USDC for the District of New Jersey   3:20-cv-08118         ONDERLAW, LLC
DAUGHTRY, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-04652         ONDERLAW, LLC
DAVENPORT, CARRIE          NJ - USDC for the District of New Jersey   3:21-cv-16829         ONDERLAW, LLC
DAVENPORT, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-01524         ONDERLAW, LLC
DAVI, LINDA                NJ - USDC for the District of New Jersey   3:18-cv-13967         ONDERLAW, LLC
DAVID, WANDA               NJ - USDC for the District of New Jersey   3:20-cv-00352         ONDERLAW, LLC
DAVIDOVICS, ESTHER         NJ - USDC for the District of New Jersey   3:21-cv-03585         ONDERLAW, LLC
DAVIDSEN, ANITA            NJ - USDC for the District of New Jersey   3:18-cv-06764         ONDERLAW, LLC
DAVIDSON, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-04787         ONDERLAW, LLC
DAVIDSON, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-17768         ONDERLAW, LLC
DAVIDSON, NELLIE           NJ - USDC for the District of New Jersey   3:21-cv-05141         ONDERLAW, LLC
DAVIDSON, ROBERTA          NJ - USDC for the District of New Jersey   3:21-cv-05880         ONDERLAW, LLC
DAVIDSON, VICTORIA         NJ - USDC for the District of New Jersey   3:17-cv-09465         ONDERLAW, LLC
DAVIE, ANN                 NJ - USDC for the District of New Jersey   3:21-cv-04408         ONDERLAW, LLC
DAVILA, DIANA              MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
DAVIN, BEATRICE            NJ - USDC for the District of New Jersey   3:19-cv-21827         ONDERLAW, LLC
DAVIS, ALISHIA             MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
DAVIS, AMANDA              NJ - USDC for the District of New Jersey   3:21-cv-01995         ONDERLAW, LLC
DAVIS, AMANDA              NJ - USDC for the District of New Jersey   3:21-cv-17457         ONDERLAW, LLC
DAVIS, ANTOINETTE          NJ - USDC for the District of New Jersey   3:21-cv-09297         ONDERLAW, LLC
DAVIS, BENITA              NJ - USDC for the District of New Jersey   3:21-cv-16832         ONDERLAW, LLC
DAVIS, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-20493         ONDERLAW, LLC
DAVIS, CARRIE              NJ - USDC for the District of New Jersey   3:19-cv-16234         ONDERLAW, LLC
DAVIS, CHARDONNAY          NJ - USDC for the District of New Jersey   3:20-cv-14922         ONDERLAW, LLC
DAVIS, CHRISTIANE          NJ - USDC for the District of New Jersey   3:21-cv-03313         ONDERLAW, LLC
DAVIS, CINDY               NJ - USDC for the District of New Jersey   3:21-cv-07370         ONDERLAW, LLC
DAVIS, CLARA               NJ - USDC for the District of New Jersey   3:21-cv-06060         ONDERLAW, LLC
DAVIS, COLMIN              NJ - USDC for the District of New Jersey   3:20-cv-17213         ONDERLAW, LLC
DAVIS, CONNIE              NJ - USDC for the District of New Jersey   3:20-cv-13676         ONDERLAW, LLC




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           Claimant Name                           State Filed                     Docket Number              Plaintiff Counsel
DAVIS, D.; GIROLAMO, B.; SETZER,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07927        ONDERLAW, LLC
C.; TALUCCI, B.
DAVIS, DARLENE                     NJ - USDC for the District of New Jersey   3:20-cv-03219        ONDERLAW, LLC
DAVIS, DAYNA                       NJ - USDC for the District of New Jersey   3:18-cv-16630        ONDERLAW, LLC
DAVIS, DEBRA                       NJ - USDC for the District of New Jersey   3:21-cv-09763        ONDERLAW, LLC
DAVIS, DELLA                       NJ - USDC for the District of New Jersey   3:21-cv-06094        ONDERLAW, LLC
DAVIS, DELORES                     NJ - USDC for the District of New Jersey   3:21-cv-06494        ONDERLAW, LLC
DAVIS, DENISE                      NJ - USDC for the District of New Jersey   3:21-cv-02154        ONDERLAW, LLC
DAVIS, DENISE                      NJ - USDC for the District of New Jersey   3:20-cv-01498        ONDERLAW, LLC
DAVIS, DIANA                       NJ - USDC for the District of New Jersey   3:18-cv-13174        ONDERLAW, LLC
DAVIS, DIANE                       NJ - USDC for the District of New Jersey   3:21-cv-14978        ONDERLAW, LLC
DAVIS, DOLORES                     NJ - USDC for the District of New Jersey   3:21-cv-07343        ONDERLAW, LLC
DAVIS, DONNA                       NJ - USDC for the District of New Jersey   3:17-cv-08332        ONDERLAW, LLC
DAVIS, EARLENE                     NJ - USDC for the District of New Jersey   3:20-cv-12961        ONDERLAW, LLC
DAVIS, ELIZABETH                   NJ - USDC for the District of New Jersey   3:21-cv-04845        ONDERLAW, LLC
DAVIS, FRANCES                     NJ - USDC for the District of New Jersey   3:21-cv-05296        ONDERLAW, LLC
DAVIS, HELEN                       NJ - USDC for the District of New Jersey   3:21-cv-02802        ONDERLAW, LLC
DAVIS, JAMILA                      NJ - USDC for the District of New Jersey   3:20-cv-05164        ONDERLAW, LLC
DAVIS, JANIE                       NJ - USDC for the District of New Jersey   3:21-cv-17494        ONDERLAW, LLC
DAVIS, JENNIFER                    NJ - USDC for the District of New Jersey   3:18-cv-04579        ONDERLAW, LLC
DAVIS, JESSICA                     NJ - USDC for the District of New Jersey   3:21-cv-04042        ONDERLAW, LLC
DAVIS, JOAN                        NJ - USDC for the District of New Jersey   3:21-cv-05783        ONDERLAW, LLC
DAVIS, JOAN                        NJ - USDC for the District of New Jersey   3:17-cv-00799        ONDERLAW, LLC
DAVIS, JUDY                        NJ - USDC for the District of New Jersey   3:21-cv-01221        ONDERLAW, LLC
DAVIS, KELLIE                      NJ - USDC for the District of New Jersey   3:21-cv-05394        ONDERLAW, LLC
DAVIS, KELLY                       NJ - USDC for the District of New Jersey   3:18-cv-11062        ONDERLAW, LLC
DAVIS, KIMBERLY                    NJ - USDC for the District of New Jersey   3:21-cv-07957        ONDERLAW, LLC
DAVIS, LARETTA                     NJ - USDC for the District of New Jersey   3:21-cv-01559        ONDERLAW, LLC
DAVIS, LEANNA                      NJ - USDC for the District of New Jersey   3:21-cv-02861        ONDERLAW, LLC
DAVIS, LISA                        NJ - USDC for the District of New Jersey   3:21-cv-04003        ONDERLAW, LLC
DAVIS, LYNAE                       MO - Circuit Court - City of St. Louis     1422-CC09821         ONDERLAW, LLC
DAVIS, MARABETH                    MO - Circuit Court - City of St. Louis     1622-CC00443         ONDERLAW, LLC
DAVIS, MARIE                       NJ - USDC for the District of New Jersey   3:21-cv-02725        ONDERLAW, LLC
DAVIS, MELONY                      NJ - USDC for the District of New Jersey   3:21-cv-02812        ONDERLAW, LLC
DAVIS, REGINA                      NJ - USDC for the District of New Jersey   3:21-cv-04979        ONDERLAW, LLC
DAVIS, RENEE                       NJ - USDC for the District of New Jersey   3:21-cv-07249        ONDERLAW, LLC
DAVIS, ROBIN                       NJ - USDC for the District of New Jersey   3:21-cv-07732        ONDERLAW, LLC
DAVIS, ROSIA                       NJ - USDC for the District of New Jersey   3:21-cv-02962        ONDERLAW, LLC
DAVIS, SANDRA                      NJ - USDC for the District of New Jersey   3:21-cv-04843        ONDERLAW, LLC
DAVIS, SHALANDA                    NJ - USDC for the District of New Jersey   3:20-cv-20494        ONDERLAW, LLC
DAVIS, SHEILA                      NJ - USDC for the District of New Jersey   3:21-cv-06670        ONDERLAW, LLC
DAVIS, SUSAN                       NJ - USDC for the District of New Jersey   3:21-cv-07155        ONDERLAW, LLC
DAVIS, TAMMY                       NJ - USDC for the District of New Jersey   3:21-cv-17796        ONDERLAW, LLC
DAVIS, TERESA                      NJ - USDC for the District of New Jersey   3:21-cv-04176        ONDERLAW, LLC
DAVIS, TERIA                       NJ - USDC for the District of New Jersey   3:21-cv-03496        ONDERLAW, LLC
DAVIS, THERESA                     NJ - USDC for the District of New Jersey   3:21-cv-03783        ONDERLAW, LLC
DAVIS, TIMMIE                      NJ - USDC for the District of New Jersey   3:21-cv-08933        ONDERLAW, LLC
DAVIS, TIRA                        NJ - USDC for the District of New Jersey   3:21-cv-11877        ONDERLAW, LLC
DAVIS, ULRIKE                      NJ - USDC for the District of New Jersey   3:20-cv-03590        ONDERLAW, LLC
DAVIS, VALERIE                     NJ - USDC for the District of New Jersey   3:21-cv-07760        ONDERLAW, LLC
DAVIS, VIRGINIA                    NJ - USDC for the District of New Jersey   3:21-cv-05157        ONDERLAW, LLC
DAVIS, ZENINA                      NJ - USDC for the District of New Jersey   3:20-cv-06667        ONDERLAW, LLC
DAVISSON, LISA                     NJ - USDC for the District of New Jersey   3:21-cv-07491        ONDERLAW, LLC
DAVISSON, SANDRA                   NJ - USDC for the District of New Jersey   3:19-cv-14492        ONDERLAW, LLC
DAVITT, CYNTHIA                    NJ - USDC for the District of New Jersey   3:17-cv-13809        ONDERLAW, LLC
DAVY, JAMIE                        NJ - USDC for the District of New Jersey   3:21-cv-07260        ONDERLAW, LLC
DAWOOD, CYNTHIA                    NJ - USDC for the District of New Jersey   3:21-cv-10149        ONDERLAW, LLC
DAWSON, DEBORAH                    NJ - USDC for the District of New Jersey   3:17-cv-08968        ONDERLAW, LLC
DAWSON, DIANA                      NJ - USDC for the District of New Jersey   3:17-cv-09668        ONDERLAW, LLC
DAWSON, LAURA                      NJ - USDC for the District of New Jersey   3:20-cv-01661        ONDERLAW, LLC
DAWSON, STEFANIE                   NJ - USDC for the District of New Jersey   3:18-cv-08414        ONDERLAW, LLC
DAWSON, TAMMY                      NJ - USDC for the District of New Jersey   3:19-cv-20710        ONDERLAW, LLC
DAY, DEBRA                         NJ - USDC for the District of New Jersey   3:19-cv-15324        ONDERLAW, LLC
DAY, ETTA                          NJ - USDC for the District of New Jersey   3:19-cv-19631        ONDERLAW, LLC
DAY, KAYE                          NJ - USDC for the District of New Jersey   3:21-cv-06771        ONDERLAW, LLC
DAY, PATRICIA                      NJ - USDC for the District of New Jersey   3:21-cv-06208        ONDERLAW, LLC
DAYE, PATRICIA                     NJ - USDC for the District of New Jersey   3:21-cv-09793        ONDERLAW, LLC
DAY-SMITH, LENORA                  NJ - USDC for the District of New Jersey   3:21-cv-09384        ONDERLAW, LLC
DAYTON, ROSANNE                    NJ - USDC for the District of New Jersey   3:17-cv-09294        ONDERLAW, LLC
DE KING, YVONNE RUA                NJ - USDC for the District of New Jersey   3:21-cv-03638        ONDERLAW, LLC
DE LA CRUZ, NATALI                 NJ - USDC for the District of New Jersey   3:19-cv-05870        ONDERLAW, LLC
DE LEON, TASIANA                   NJ - USDC for the District of New Jersey   3:21-cv-04416        ONDERLAW, LLC
DE LOS SANTOS, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-17420        ONDERLAW, LLC
DEAGUIAR, MARTA                    NJ - USDC for the District of New Jersey   3:20-cv-09899        ONDERLAW, LLC
DEAN, DENISE                       NJ - USDC for the District of New Jersey   3:19-cv-21835        ONDERLAW, LLC
DEAN, JENNIFER                     NJ - USDC for the District of New Jersey   3:21-cv-02302        ONDERLAW, LLC
DEAN, KATHLEEN                     NJ - USDC for the District of New Jersey   3:20-cv-07146        ONDERLAW, LLC
DEAN, TAMELA                       NJ - USDC for the District of New Jersey   3:21-cv-02811        ONDERLAW, LLC
DEAN, TERESA                       NJ - USDC for the District of New Jersey   3:18-cv-13769        ONDERLAW, LLC
DEAN, WENDY                        NJ - USDC for the District of New Jersey   3:17-cv-13494        ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
DEANDA, DORA               NJ - USDC for the District of New Jersey   3:21-cv-05671         ONDERLAW, LLC
DEANECELLI, DAWN           NJ - USDC for the District of New Jersey   3:21-cv-02814         ONDERLAW, LLC
DEANGELIS, GAIL            NJ - USDC for the District of New Jersey   3:21-cv-05763         ONDERLAW, LLC
DEAR, JANICE               NJ - USDC for the District of New Jersey   3:21-cv-10150         ONDERLAW, LLC
DEARDOFF, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-21553         ONDERLAW, LLC
DEARDORF, DIANE            NJ - USDC for the District of New Jersey   3:21-cv-07641         ONDERLAW, LLC
DEARING, SALLY             NJ - USDC for the District of New Jersey   3:21-cv-02848         ONDERLAW, LLC
DEATON, APRIL              NJ - USDC for the District of New Jersey   3:21-cv-05170         ONDERLAW, LLC
DEATON, APRIL              NJ - USDC for the District of New Jersey   3:21-cv-10154         ONDERLAW, LLC
DEATON, LEA                MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
DEBANO, JUSTINE            NJ - USDC for the District of New Jersey   3:18-cv-08281         ONDERLAW, LLC
DEBLOCK, DARLINE           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
DEBOLT, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-06320         ONDERLAW, LLC
DEBORAH CARR               NJ - USDC for the District of New Jersey   3:21-cv-18255         ONDERLAW, LLC
DEBOSE, BLONDENIA          NJ - USDC for the District of New Jersey   3:21-cv-09889         ONDERLAW, LLC
DEBRA BENNETT              NJ - USDC for the District of New Jersey   3:21-cv-18385         ONDERLAW, LLC
DEBRUCE, JEANNE            MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
DECAYLOR, RITA             NJ - USDC for the District of New Jersey   3:20-cv-19209         ONDERLAW, LLC
DECKARD, MAVIS             NJ - USDC for the District of New Jersey   3:21-cv-16834         ONDERLAW, LLC
DECKER, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-20496         ONDERLAW, LLC
DECKER, KATHERINE          MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
DECKER, LORI               NJ - USDC for the District of New Jersey   3:18-cv-15281         ONDERLAW, LLC
DECKER, MARTHA             MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
DECKER-CLARK, CHEYANN      NJ - USDC for the District of New Jersey   3:21-cv-10155         ONDERLAW, LLC
DECKMAN, JANET             NJ - USDC for the District of New Jersey   3:19-cv-13207         ONDERLAW, LLC
DECOLA, JODI               NJ - USDC for the District of New Jersey   3:19-cv-04407         ONDERLAW, LLC
DECOUX, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-02903         ONDERLAW, LLC
DECUIRE, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-20041         ONDERLAW, LLC
DEDIOS, CONSUELO           NJ - USDC for the District of New Jersey   3:21-cv-03894         ONDERLAW, LLC
DEFEHR, VIOLET             NJ - USDC for the District of New Jersey   3:21-cv-16974         ONDERLAW, LLC
DEFIGH, AMELIA             NJ - USDC for the District of New Jersey   3:21-cv-07592         ONDERLAW, LLC
DEFONZO, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-10158         ONDERLAW, LLC
DEGIDIO, KATHLEEN          MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
DEGILIO, ROSE              NJ - USDC for the District of New Jersey   3:21-cv-05852         ONDERLAW, LLC
DEGRAFFENREID, KEAUNDREA   NJ - USDC for the District of New Jersey   3:17-cv-09794         ONDERLAW, LLC
DEGRAFFINREID, ATHIELIA    NJ - USDC for the District of New Jersey   3:21-cv-02239         ONDERLAW, LLC
DEHART, VIRGINIA           NJ - USDC for the District of New Jersey   3:20-cv-20497         ONDERLAW, LLC
DEHATE, SHERRI             NJ - USDC for the District of New Jersey   3:18-cv-10052         ONDERLAW, LLC
DEITERS, MARCELLA          NJ - USDC for the District of New Jersey   3:20-cv-20501         ONDERLAW, LLC
DEJESUS, EVELYN            NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
DEJON, MARTI               NJ - USDC for the District of New Jersey   3:18-cv-08001         ONDERLAW, LLC
DELANEY, CAITLYN           NJ - USDC for the District of New Jersey   3:18-cv-09531         ONDERLAW, LLC
DELEON, ARGELIS            NJ - USDC for the District of New Jersey   3:21-cv-06196         ONDERLAW, LLC
DELEON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-04915         ONDERLAW, LLC
DELEON, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-07111         ONDERLAW, LLC
DELEON, STEPHANIE          NJ - USDC for the District of New Jersey   3:21-cv-01190         ONDERLAW, LLC
DELEON-BRAITERMAN, NORMA   NJ - USDC for the District of New Jersey   3:20-cv-02118         ONDERLAW, LLC
DELGADO, HERLINDA          MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
DELGADO, REBECCA           CA - Superior Court - Los Angeles County   BC681839              ONDERLAW, LLC
DELGADO, REBECCA           NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
DELGADO, RHONDA            NJ - USDC for the District of New Jersey   3:19-cv-08124         ONDERLAW, LLC
DELICRUZ, LYNN             NJ - USDC for the District of New Jersey   3:20-cv-20504         ONDERLAW, LLC
DELISA, CAROL              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
DELLA-MONICA, NOLA         NJ - USDC for the District of New Jersey   3:21-cv-09523         ONDERLAW, LLC
DELOCH, VICKIE             NJ - USDC for the District of New Jersey   3:21-cv-03588         ONDERLAW, LLC
DELONG, TERRA              NJ - USDC for the District of New Jersey   3:21-cv-04193         ONDERLAW, LLC
DELONG, TONYA              NJ - USDC for the District of New Jersey   3:18-cv-13590         ONDERLAW, LLC
DEMAREE, SHIRLEY           MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
DEMELLO, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
DEMMONS, SELENA            NJ - USDC for the District of New Jersey   3:19-cv-02870         ONDERLAW, LLC
DENEUT, SYREETA            NJ - USDC for the District of New Jersey   3:20-cv-20506         ONDERLAW, LLC
DENGEL, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-05098         ONDERLAW, LLC
DENITHORNE, ALLANA         NJ - USDC for the District of New Jersey   3:19-cv-18651         ONDERLAW, LLC
DENNARD, PAULA             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
DENNIS, DONELLA            NJ - USDC for the District of New Jersey   3:20-cv-07093         ONDERLAW, LLC
DENNIS, FRANCINA           NJ - USDC for the District of New Jersey   3:21-cv-03218         ONDERLAW, LLC
DENNIS, HELENA             MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
DENNIS, MARIANNE           NJ - USDC for the District of New Jersey   3:18-cv-01762         ONDERLAW, LLC
DENNIS, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-04105         ONDERLAW, LLC
DENNIS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-19605         ONDERLAW, LLC
DENNISON, TANYA            NJ - USDC for the District of New Jersey   3:21-cv-04941         ONDERLAW, LLC
DENT, JOYCE                NJ - USDC for the District of New Jersey   3:21-cv-09262         ONDERLAW, LLC
DEPARTHY, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-09917         ONDERLAW, LLC
DEPAULO-HARGRAVES, LINDA   NJ - USDC for the District of New Jersey   3:17-cv-08333         ONDERLAW, LLC
DEPODESTA, GAIL            NJ - USDC for the District of New Jersey   3:18-cv-11379         ONDERLAW, LLC
DEPUTRON, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-09075         ONDERLAW, LLC
DERBAUM, TREVA             MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
DERIBAS, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-17809         ONDERLAW, LLC
DERITA, DOLORES            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
DEROSARIO, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-09412         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
DEROUEN, MARGIE           NJ - USDC for the District of New Jersey   3:21-cv-04758          ONDERLAW, LLC
DESANTIS, EVA             NJ - USDC for the District of New Jersey   3:17-cv-09877          ONDERLAW, LLC
DESELLE, KIMBERLY         NJ - USDC for the District of New Jersey   3:21-cv-04634          ONDERLAW, LLC
DESKINS, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-04983          ONDERLAW, LLC
DESPAIN, ROXANNA          NJ - USDC for the District of New Jersey   3:20-cv-12491          ONDERLAW, LLC
DESSLER, LUCILLE          NJ - USDC for the District of New Jersey   3:17-cv-09173          ONDERLAW, LLC
DESTEFANO, LAURA          MO - Circuit Court - City of St. Louis     1622-CC-00837          ONDERLAW, LLC
DEUTSCH, DANIELLE         NJ - USDC for the District of New Jersey   3:21-cv-07041          ONDERLAW, LLC
DEVALL, ANITA             NJ - USDC for the District of New Jersey   3:21-cv-05739          ONDERLAW, LLC
DEVILBISS, MOIRA          NJ - USDC for the District of New Jersey   3:21-cv10160           ONDERLAW, LLC
DEVILLE, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-13117          ONDERLAW, LLC
DEVINE, KELLY             NJ - USDC for the District of New Jersey   3:17-cv-12357          ONDERLAW, LLC
DEVLIN, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-10190          ONDERLAW, LLC
DEVLIN, RITA              NJ - USDC for the District of New Jersey   3:21-cv-06340          ONDERLAW, LLC
DEVONE, JOANN             NJ - USDC for the District of New Jersey   3:17-cv-00799          ONDERLAW, LLC
DEVORE, KUIKIEW           MO - Circuit Court - Jefferson County      18JE-CC00448           ONDERLAW, LLC
DEVOULD, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-03584          ONDERLAW, LLC
DEWEASE, ELSSYE           NJ - USDC for the District of New Jersey   3:18-cv-17795          ONDERLAW, LLC
DEWEESE, GAIL             NJ - USDC for the District of New Jersey   3:21-cv-10162          ONDERLAW, LLC
DEWITT, BRIDGET           NJ - USDC for the District of New Jersey   3:21-cv-01958          ONDERLAW, LLC
DEWITT, COLETTE           NJ - USDC for the District of New Jersey   3:21-cv-07636          ONDERLAW, LLC
DEWS, LEXIDEAN            NJ - USDC for the District of New Jersey   3:21-cv-08519          ONDERLAW, LLC
DEXTER, JANET             NJ - USDC for the District of New Jersey   3:19-cv-16059          ONDERLAW, LLC
DHONDT, KIM               MO - Circuit Court - City of St. Louis     1822-CC00002           ONDERLAW, LLC
DI NUNZIO, PATRICIA       NJ - USDC for the District of New Jersey   3:18-cv-05280          ONDERLAW, LLC
DIA, CYNTHIA              NJ - USDC for the District of New Jersey   3:20-cv-15382          ONDERLAW, LLC
DIAL, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-03771          ONDERLAW, LLC
DIAMBRI, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09250          ONDERLAW, LLC
DIAMOND-COX, HOPE         MO - Circuit Court - City of St. Louis     1422-CC09821           ONDERLAW, LLC
DIANGELO, OLIVIA          NJ - USDC for the District of New Jersey   3:21-cv-07849          ONDERLAW, LLC
                                                                     502020CA13955XXXXmBA
DIAS, MARIA               FL - Circuit Court - Palm Beach County                            ONDERLAW, LLC
                                                                     F
DIAZ, ROSA                NJ - USDC for the District of New Jersey   3:21-cv-09261          ONDERLAW, LLC
DIAZ-CRUZ, SHAKIA         NJ - USDC for the District of New Jersey   3:21-cv-07972          ONDERLAW, LLC
DIBATTISTA, DOROTHY       NJ - USDC for the District of New Jersey   3:20-cv-04592          ONDERLAW, LLC
DIBATTISTA, LESLIE        MO - Circuit Court - City of St. Louis     1822-CC06811           ONDERLAW, LLC
DICESARE, SHARON          NJ - USDC for the District of New Jersey   3:21-cv-09108          ONDERLAW, LLC
DICKE, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-16307          ONDERLAW, LLC
DICKENS, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-14044          ONDERLAW, LLC
DICKERSON, BELINDA        NJ - USDC for the District of New Jersey   3:21-cv-04420          ONDERLAW, LLC
DICKERSON, CHARLENE       NJ - USDC for the District of New Jersey   3:21-cv-03445          ONDERLAW, LLC
DICKERSON, GLORIA         NJ - USDC for the District of New Jersey   3:21-cv-02044          ONDERLAW, LLC
DICKEY, GLENDA            MO - Circuit Court - City of St. Louis     1522-CC-09792          ONDERLAW, LLC
DICKEY, MACY              NJ - USDC for the District of New Jersey   3:20-cv-20507          ONDERLAW, LLC
DICKISON, MICHELE         NJ - USDC for the District of New Jersey   3:21-cv-05172          ONDERLAW, LLC
DICKSON, JEANNE           NJ - USDC for the District of New Jersey   3:21-cv-07877          ONDERLAW, LLC
DICKS-RADFORD, BELINDA    NJ - USDC for the District of New Jersey   3:21-cv-07129          ONDERLAW, LLC
DIEGO, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-11385          ONDERLAW, LLC
DIETRICH, BELINDA         NJ - USDC for the District of New Jersey   3:21-cv-02999          ONDERLAW, LLC
DIETSCH, LORI             NJ - USDC for the District of New Jersey   3:18-cv-10054          ONDERLAW, LLC
DIETTERICH, BRIANNA       NJ - USDC for the District of New Jersey   3:21-cv-20508          ONDERLAW, LLC
DIEZ, LUZ                 NJ - USDC for the District of New Jersey   3:21-cv-09304          ONDERLAW, LLC
DIFRANCO, BETTY           NJ - USDC for the District of New Jersey   3:21-cv-08015          ONDERLAW, LLC
DIKIS, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-06598          ONDERLAW, LLC
DILDINE, CARROLL          NJ - USDC for the District of New Jersey   3:17-cv-05401          ONDERLAW, LLC
DILLARD, FAY              NJ - USDC for the District of New Jersey   3:17-cv-08334          ONDERLAW, LLC
DILLARD, MILDRED          NJ - USDC for the District of New Jersey   3:18-cv-17587          ONDERLAW, LLC
DILLEY, CATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-06008          ONDERLAW, LLC
DILLEY, DEIDRE            NJ - USDC for the District of New Jersey   3:21-cv-17279          ONDERLAW, LLC
DILLON, HATTIE            NJ - USDC for the District of New Jersey   3:18-cv-08165          ONDERLAW, LLC
DILLON, LAUREN            NJ - USDC for the District of New Jersey   3:20-cv-02664          ONDERLAW, LLC
DILLON, TINA              NJ - USDC for the District of New Jersey   3:21-cv-07469          ONDERLAW, LLC
DIMARZO, MARION           NJ - USDC for the District of New Jersey   3:20-cv-01276          ONDERLAW, LLC
DIMATULAC, CECILIA        MO - Circuit Court - Jefferson County      18JE-CC00448           ONDERLAW, LLC
DINET, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-16384          ONDERLAW, LLC
DINKINS, LOQUATOR         NJ - USDC for the District of New Jersey   3:21-cv-03567          ONDERLAW, LLC
DINKINS, MAY              NJ - USDC for the District of New Jersey   3:20-cv-08985          ONDERLAW, LLC
DIOSO, REBECCA            NJ - USDC for the District of New Jersey   3:17-cv-08970          ONDERLAW, LLC
DIPERSIO, LINDA           NJ - USDC for the District of New Jersey   3:19-cv-08453          ONDERLAW, LLC
DIRKS, SHARONDA           MO - Circuit Court - City of St. Louis     1622-CC00443           ONDERLAW, LLC
DIROCCO, MARY             MO - Circuit Court - City of St. Louis     1422-CC10042           ONDERLAW, LLC
DISANTIS, MARY            NJ - USDC for the District of New Jersey   3:21-cv-03824          ONDERLAW, LLC
DISNEY, ELLEN             NJ - USDC for the District of New Jersey   3:17-cv-11006          ONDERLAW, LLC
DISTASIO, DEBORAH         NJ - USDC for the District of New Jersey   3:18-cv-14703          ONDERLAW, LLC
DISTEFANO, MARY           NJ - USDC for the District of New Jersey   3:20-cv-02453          ONDERLAW, LLC
DITMORE, ERIN             NJ - USDC for the District of New Jersey   3:21-cv-08950          ONDERLAW, LLC
DITTER, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-05684          ONDERLAW, LLC
DIVERS, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-09292          ONDERLAW, LLC
DIVINE, DIANA             NJ - USDC for the District of New Jersey   3:17-cv-00800          ONDERLAW, LLC
DIXON, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-09315          ONDERLAW, LLC




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
DIXON, EARLIE                      NJ - USDC for the District of New Jersey   3:21-cv-06065         ONDERLAW, LLC
DIXON, JO                          NJ - USDC for the District of New Jersey   3:21-cv-07806         ONDERLAW, LLC
DIXON, LANITA                      NJ - USDC for the District of New Jersey   3:17-cv-09864         ONDERLAW, LLC
DIXON, ROSA                        NJ - USDC for the District of New Jersey   3:21-cv-08420         ONDERLAW, LLC
DIXON, SHIRLEY                     NJ - USDC for the District of New Jersey   3:21-cv-08752         ONDERLAW, LLC
DIXON, VERA                        NJ - USDC for the District of New Jersey   3:21-cv-07970         ONDERLAW, LLC
DIXSON, KOZETTA                    NJ - USDC for the District of New Jersey   3:21-cv-01857         ONDERLAW, LLC
DIXSON-HENDERSON, MARVA            NJ - USDC for the District of New Jersey   3:20-cv-19586         ONDERLAW, LLC
DIZON, DANA                        MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
DJUIKOM-NGUENOUTTO, BEATRICE NJ - USDC for the District of New Jersey         3:21-cv-07385         ONDERLAW, LLC
DOANE, ELEANOR                     NJ - USDC for the District of New Jersey   3:21-cv-07938         ONDERLAW, LLC
DOBBINS, CATHEY                    NJ - USDC for the District of New Jersey   3:21-cv-02794         ONDERLAW, LLC
DOBBINS, DONNA                     NJ - USDC for the District of New Jersey   3:19-cv-21836         ONDERLAW, LLC
DOBBS, JUDITH                      NJ - USDC for the District of New Jersey   3:21-cv-01071         ONDERLAW, LLC
DOBSON, THERESA                    NJ - USDC for the District of New Jersey   3:21-cv-16746         ONDERLAW, LLC
DOCTORELLO, LYNDA                  NJ - USDC for the District of New Jersey   3:21-cv-10164         ONDERLAW, LLC
DODD, BOBBIE                       NJ - USDC for the District of New Jersey   3:21-cv-08161         ONDERLAW, LLC
DODD, SHERRY                       NJ - USDC for the District of New Jersey   3:21-cv-05052         ONDERLAW, LLC
DODGE, ALEXANDRA                   NJ - USDC for the District of New Jersey   3:21-cv-09532         ONDERLAW, LLC
DODGE, BETTY                       NJ - USDC for the District of New Jersey   3:21-cv-04188         ONDERLAW, LLC
DODGE, MARY                        NJ - USDC for the District of New Jersey   3:21-cv-07112         ONDERLAW, LLC
DODGEN, CYNTHIA                    NJ - USDC for the District of New Jersey   3:20-cv-00893         ONDERLAW, LLC
DODSON, DIANNA                     NJ - USDC for the District of New Jersey   3:18-cv-10055         ONDERLAW, LLC
DODSON, DONNA                      NJ - USDC for the District of New Jersey   3:17-cv-09810         ONDERLAW, LLC
DODSON, HEIDI                      NJ - USDC for the District of New Jersey   3:20-cv-20515         ONDERLAW, LLC
DOKES, FRANKIE                     NJ - USDC for the District of New Jersey   3:21-cv-05510         ONDERLAW, LLC
DOKTER, LINDA                      MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
DOLL, LINDA                        MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
DOMIER, PAULETTE                   NJ - USDC for the District of New Jersey   3:20-cv-03574         ONDERLAW, LLC
DOMINA, DAWN                       NJ - USDC for the District of New Jersey   3:21-cv-07020         ONDERLAW, LLC
DOMINGUEZ, BARBARA                 NJ - USDC for the District of New Jersey   3:21-cv-10169         ONDERLAW, LLC
DOMINGUEZ, DAILINA                 NJ - USDC for the District of New Jersey   3:21-cv-05424         ONDERLAW, LLC
DOMINGUEZ, MARY                    NJ - USDC for the District of New Jersey   3:21-cv-06105         ONDERLAW, LLC
DOMINQUEZ, ALICIA                  NJ - USDC for the District of New Jersey   3:21-cv-07288         ONDERLAW, LLC
DONAHUE, ANN                       NJ - USDC for the District of New Jersey   3:19-cv-21226         ONDERLAW, LLC
DONAHUE, SAMI                      NJ - USDC for the District of New Jersey   3:21-cv-03481         ONDERLAW, LLC
DONALD, MABLE                      NJ - USDC for the District of New Jersey   3:20-cv-09900         ONDERLAW, LLC
DONALDSON, LORI (EUBANKS)          NJ - USDC for the District of New Jersey   3:21-cv-10174         ONDERLAW, LLC
DONALDSON, MELANIE                 NJ - USDC for the District of New Jersey   3:21-cv-07687         ONDERLAW, LLC
DONALDSON, ROBERTA                 NJ - USDC for the District of New Jersey   3:21-cv-12353         ONDERLAW, LLC
DONATH, CHERYL                     NJ - USDC for the District of New Jersey   3:21-cv-17706         ONDERLAW, LLC
DONATO, MARGARET                   NJ - USDC for the District of New Jersey   3:19-cv-07172         ONDERLAW, LLC
DONEGAN, MARY                      NJ - USDC for the District of New Jersey   3:18-cv-11495         ONDERLAW, LLC
DONLON, NORMA                      NJ - USDC for the District of New Jersey   3:21-cv-07689         ONDERLAW, LLC
DONNA, HOLDER                      NJ - USDC for the District of New Jersey   3:21-cv-02907         ONDERLAW, LLC
DONNELLY, CINDY                    NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
DONNER, LYDIA                      MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
DONOHOE, CATHIE                    NJ - USDC for the District of New Jersey   3:19-cv-21170         ONDERLAW, LLC
DONOHUE, ROBIN                     MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
DONOVAN, ANDREA                    NJ - USDC for the District of New Jersey   3:19-cv-21488         ONDERLAW, LLC
DONOVAN, ANNEMARIE                 NJ - USDC for the District of New Jersey   3:18-cv-04995         ONDERLAW, LLC
DOOLEY, DIANA                      NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
DORADO, TABBATHA                   NJ - USDC for the District of New Jersey   3:21-cv-01981         ONDERLAW, LLC
DORIN, MARION                      NJ - USDC for the District of New Jersey   3:19-cv-20758         ONDERLAW, LLC
DORR, KATHY                        NJ - USDC for the District of New Jersey   3:20-cv-16133         ONDERLAW, LLC
DORRIS, ARLENE                     NJ - USDC for the District of New Jersey   3:21-cv-06421         ONDERLAW, LLC
DORSEY, IRMA                       NJ - USDC for the District of New Jersey   3:21-cv-06753         ONDERLAW, LLC
DORSEY, VICKI                      NJ - USDC for the District of New Jersey   3:21-cv-12367         ONDERLAW, LLC
DORSEY, VIOLA                      NJ - USDC for the District of New Jersey   3:21-cv-06335         ONDERLAW, LLC
DOSIA, THERESA                     NJ - USDC for the District of New Jersey   3:21-cv-07811         ONDERLAW, LLC
DOSS, JULIE                        NJ - USDC for the District of New Jersey   3:20-cv-20517         ONDERLAW, LLC
DOTSON, CONNIE                     NJ - USDC for the District of New Jersey   3:21-cv-05857         ONDERLAW, LLC
DOTSON, SANDRA                     NJ - USDC for the District of New Jersey   3:19-cv-21561         ONDERLAW, LLC
DOTY, AMBER                        NJ - USDC for the District of New Jersey   3:21-cv-05419         ONDERLAW, LLC
DOUCETTE, ROSEMARIE                NJ - USDC for the District of New Jersey   3:21-cv-08969         ONDERLAW, LLC
DOUGAN, THERESA                    NJ - USDC for the District of New Jersey   3:21-cv-03484         ONDERLAW, LLC
DOUGHERTY, LISA                    NJ - USDC for the District of New Jersey   3:19-cv-21837         ONDERLAW, LLC
DOUGHTERTY, CRYSTAL                NJ - USDC for the District of New Jersey   3:21-cv-01522         ONDERLAW, LLC
DOUGLAS, BEATRICE                  NJ - USDC for the District of New Jersey   3:21-cv-07573         ONDERLAW, LLC
DOUGLAS, JOANN                     MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
DOUGLAS, LINDA                     NJ - USDC for the District of New Jersey   3:21-cv-03081         ONDERLAW, LLC
DOUTHIT, TRACY                     NJ - USDC for the District of New Jersey   3:17-cv-09245         ONDERLAW, LLC
DOUTHIT, TRACY                     NJ - USDC for the District of New Jersey   3:17-cv-09245         ONDERLAW, LLC
DOUTHIT, TRACY                     NJ - USDC for the District of New Jersey   3:17-cv-09245         ONDERLAW, LLC
DOVE, CHARLOTTE                    NJ - USDC for the District of New Jersey   3:21-cv-09421         ONDERLAW, LLC
DOVE, MONIQUE                      NJ - USDC for the District of New Jersey   3:21-cv-08645         ONDERLAW, LLC
DOVEL, KIM                         NJ - USDC for the District of New Jersey   3:21-cv-03438         ONDERLAW, LLC
DOWD, CATHERINE                    NJ - USDC for the District of New Jersey   3:19-cv-21671         ONDERLAW, LLC
DOWD, DEBORAH                      NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
DOWDY, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-20522         ONDERLAW, LLC
DOWELL, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-20782         ONDERLAW, LLC
DOWNARD, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-05048         ONDERLAW, LLC
DOWNEY, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-06958         ONDERLAW, LLC
DOWNEY, YVONNE            NJ - USDC for the District of New Jersey   3:18-cv-10794         ONDERLAW, LLC
DOWNS, ELRITA             NJ - USDC for the District of New Jersey   3:21-cv-09252         ONDERLAW, LLC
DOYLE, GLENDA             NJ - USDC for the District of New Jersey   3:18-cv-10056         ONDERLAW, LLC
DOYLE, JANE               NJ - USDC for the District of New Jersey   3:21-cv-05107         ONDERLAW, LLC
DOYLE, JESSICA            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
DRAA, AMY                 NJ - USDC for the District of New Jersey   3:19-cv-20637         ONDERLAW, LLC
DRAGONETTI, MARYANN       NJ - USDC for the District of New Jersey   3:21-cv-07340         ONDERLAW, LLC
DRAIN-MATHIS, CHANELL     NJ - USDC for the District of New Jersey   3:21-cv-17244         ONDERLAW, LLC
DRAKE, ANGELIA            NJ - USDC for the District of New Jersey   3:21-cv-05264         ONDERLAW, LLC
DRAKE, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-08005         ONDERLAW, LLC
DRAKE, RANN               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
DRAKE, TINA               NJ - USDC for the District of New Jersey   3:21-cv-02178         ONDERLAW, LLC
DRAYTON, REBECCA          MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
DRAYTON, REBECCA          NJ - USDC for the District of New Jersey   3:18-cv-17532         ONDERLAW, LLC
DREITLEIN, MELISSA        NJ - USDC for the District of New Jersey   3:21-cv-06322         ONDERLAW, LLC
DRESSER, ROBERTA          NJ - USDC for the District of New Jersey   3:20-cv-09902         ONDERLAW, LLC
DRESSLER, RENEE           NJ - USDC for the District of New Jersey   3:21-cv-18042         ONDERLAW, LLC
DREW, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-10178         ONDERLAW, LLC
DREWNOSKI, MARYANNN       NJ - USDC for the District of New Jersey   3:21-cv-08857         ONDERLAW, LLC
DRIVER, LEILA             NJ - USDC for the District of New Jersey   3:19-cv-09080         ONDERLAW, LLC
DRIVER, MAXINE            NJ - USDC for the District of New Jersey   3:17-cv-10957         ONDERLAW, LLC
DRIVER, MAXINE            NJ - USDC for the District of New Jersey   3:19-cv-21554         ONDERLAW, LLC
DRIVER, SANDY             NJ - USDC for the District of New Jersey   3:21-cv-04938         ONDERLAW, LLC
DROG, JEAN                NJ - USDC for the District of New Jersey   3:21-cv-09799         ONDERLAW, LLC
DRUCK, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-07102         ONDERLAW, LLC
DRUM, DENISE              NJ - USDC for the District of New Jersey   3:21-cv-16755         ONDERLAW, LLC
DRUMGOLE, ANITA           NJ - USDC for the District of New Jersey   3:21-cv-03315         ONDERLAW, LLC
DRYER-ANDREWS, JOYCE      MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
DU BOSE, GEORGIA          NJ - USDC for the District of New Jersey   3:20-cv-06552         ONDERLAW, LLC
DUBOIS, BILLIE-JO         NJ - USDC for the District of New Jersey   3:21-cv-07140         ONDERLAW, LLC
DUBOIS, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-04725         ONDERLAW, LLC
DUBOSE, DORA              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
DUCKWORTH, MADALINE       MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
DUDEK, MARY               NJ - USDC for the District of New Jersey   3:21-cv-10180         ONDERLAW, LLC
DUFAULT, MELLISA          NJ - USDC for the District of New Jersey   3:18-cv-01760         ONDERLAW, LLC
DUFF, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-02094         ONDERLAW, LLC
DUFF, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-09097         ONDERLAW, LLC
DUFFY, CLAUDIA            NJ - USDC for the District of New Jersey   3:17-cv-08972         ONDERLAW, LLC
DUFFY, DARLENE            NJ - USDC for the District of New Jersey   3:19-cv-08187         ONDERLAW, LLC
DUFFY, DENISE             MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
DUFFY, MARY               NJ - USDC for the District of New Jersey   3:20-cv-06822         ONDERLAW, LLC
DUGUID, MIRIAM            NJ - USDC for the District of New Jersey   3:20-cv-14213         ONDERLAW, LLC
DUKE, TULANE              NJ - USDC for the District of New Jersey   3:18-cv-08686         ONDERLAW, LLC
DUKES, KATHLEEN           MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
DUKES, SHEILA             NJ - USDC for the District of New Jersey   3:19-cv-13119         ONDERLAW, LLC
DUKEWITS, SUZANNE         NJ - USDC for the District of New Jersey   3:18-cv-12716         ONDERLAW, LLC
DUMESNIL, THERESA         NJ - USDC for the District of New Jersey   3:19-cv-08470         ONDERLAW, LLC
DUMITRU, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-16944         ONDERLAW, LLC
DUNBAR, GLENDA            NJ - USDC for the District of New Jersey   3:21-cv-03482         ONDERLAW, LLC
DUNBAR, KATE              NJ - USDC for the District of New Jersey   3:21-cv-08187         ONDERLAW, LLC
DUNBAR, TAKIYAH           NJ - USDC for the District of New Jersey   3:21-cv-17703         ONDERLAW, LLC
DUNCAN, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-07054         ONDERLAW, LLC
DUNCAN, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-04345         ONDERLAW, LLC
DUNCAN, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-10483         ONDERLAW, LLC
DUNCAN, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-17614         ONDERLAW, LLC
DUNCAN, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-09175         ONDERLAW, LLC
DUNCAN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-06471         ONDERLAW, LLC
DUNCAN, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-02401         ONDERLAW, LLC
DUNCAN, VICTORIA          NJ - USDC for the District of New Jersey   3:21-cv-01970         ONDERLAW, LLC
DUNFORD, CLOEATA          NJ - USDC for the District of New Jersey   3:20-cv-03070         ONDERLAW, LLC
DUNKER-CROSS, BECKY       NJ - USDC for the District of New Jersey   3:21-cv-04735         ONDERLAW, LLC
DUNLAP, NUANA             MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
DUNLOP, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-13063         ONDERLAW, LLC
DUNN, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-02855         ONDERLAW, LLC
DUNN, JEAN                NJ - USDC for the District of New Jersey   3:17-cv-10474         ONDERLAW, LLC
DUNN, KATHERINE           NJ - USDC for the District of New Jersey   3:17-cv-09926         ONDERLAW, LLC
DUNN, PEGGY               MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
DUNN, TAMMI               NJ - USDC for the District of New Jersey   3:21-cv-05218         ONDERLAW, LLC
DUNPHY, COLLEEN           NJ - USDC for the District of New Jersey   3:21-cv-08833         ONDERLAW, LLC
DUNSTON, IDA              NJ - USDC for the District of New Jersey   3:21-cv-02116         ONDERLAW, LLC
DUPREE, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-03859         ONDERLAW, LLC
DURAN, CATHERINE          MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
DURAND-BLOUNT, JESSICA    NJ - USDC for the District of New Jersey   3:21-cv-05114         ONDERLAW, LLC
DURHAM, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-04422         ONDERLAW, LLC
DURHAM, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-05367         ONDERLAW, LLC
DURIO, MARY               NJ - USDC for the District of New Jersey   3:19-cv-20003         ONDERLAW, LLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
DURRAH, ALICE                NJ - USDC for the District of New Jersey   3:21-cv-05332         ONDERLAW, LLC
DURRETT, HEATHER             NJ - USDC for the District of New Jersey   3:21-cv-08154         ONDERLAW, LLC
DUTCH, SHARON                NJ - USDC for the District of New Jersey   3:21-cv-01858         ONDERLAW, LLC
DUTTON, AMY                  MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
DUTTON, KAREN                NJ - USDC for the District of New Jersey   3:17-cv-08975         ONDERLAW, LLC
DUVALL, MICHELE              MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
DWYER, PATRICIA              NJ - USDC for the District of New Jersey   3:21-cv-17790         ONDERLAW, LLC
DYE, DARLEEN                 NJ - USDC for the District of New Jersey   3:18-cv-08154         ONDERLAW, LLC
DYE, JACQUELYN               NJ - USDC for the District of New Jersey   3:20-cv-01437         ONDERLAW, LLC
DYE, NORMA                   NJ - USDC for the District of New Jersey   3:20-cv-19024         ONDERLAW, LLC
DYE, SANDRA                  MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
DYER, AMY                    NJ - USDC for the District of New Jersey   3:21-cv-05072         ONDERLAW, LLC
DYER, BETTY                  NJ - USDC for the District of New Jersey   3:21-cv-04148         ONDERLAW, LLC
DYETT, JULIA                 NJ - USDC for the District of New Jersey   3:21-cv-06627         ONDERLAW, LLC
DYMOND, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-00723         ONDERLAW, LLC
DYREK, AMELIA                NJ - USDC for the District of New Jersey   3:21-cv-17495         ONDERLAW, LLC
EAGAN, KATHLEEN              NJ - USDC for the District of New Jersey   3:19-cv-06290         ONDERLAW, LLC
EARL, SUZETTE                MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
EARLE, GRAZELDA              NJ - USDC for the District of New Jersey   3:21-cv-03282         ONDERLAW, LLC
EARLEY, KIMBERLY             NJ - USDC for the District of New Jersey   3:21-cv-16836         ONDERLAW, LLC
EARLY, CHRISTINE             NJ - USDC for the District of New Jersey   3:21-cv-06882         ONDERLAW, LLC
EARNHARDT, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-20326         ONDERLAW, LLC
EARNHARDT, ROSA              NJ - USDC for the District of New Jersey   3:21-cv-05665         ONDERLAW, LLC
EASLEY, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-12196         ONDERLAW, LLC
EASLY, DOLORES               NJ - USDC for the District of New Jersey   3:21-cv-02978         ONDERLAW, LLC
EASTERLING, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-02595         ONDERLAW, LLC
EASTERLING-TORGIANI, JULIA   MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
EASTMAN, ALMA                NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
EASTON, MEAGAN               NJ - USDC for the District of New Jersey   3:21-cv-06905         ONDERLAW, LLC
EATON, PATRICIA              NJ - USDC for the District of New Jersey   3:21-cv-04808         ONDERLAW, LLC
EATON, RUBY                  NJ - USDC for the District of New Jersey   3:20-cv-13250         ONDERLAW, LLC
EBEL, MELA                   NJ - USDC for the District of New Jersey   3:21-cv-09115         ONDERLAW, LLC
EBERT, JUDY                  NJ - USDC for the District of New Jersey   3:21-cv-08215         ONDERLAW, LLC
ECHEVARRIA, WILMARIE         NJ - USDC for the District of New Jersey   3:21-cv-05090         ONDERLAW, LLC
ECK, BRENDA                  NJ - USDC for the District of New Jersey   3:18-cv-10876         ONDERLAW, LLC
ECKELS, JOZEL                NJ - USDC for the District of New Jersey   3:21-cv-08342         ONDERLAW, LLC
ECKES, CAROL                 NJ - USDC for the District of New Jersey   3:18-cv-14068         ONDERLAW, LLC
ECKSTEIN, DARLENE            NJ - USDC for the District of New Jersey   3:21-cv-06467         ONDERLAW, LLC
EDDE, BOBBIE                 NJ - USDC for the District of New Jersey   3:18-cv-14024         ONDERLAW, LLC
EDDINS, KARY                 NJ - USDC for the District of New Jersey   3:17-cv-09248         ONDERLAW, LLC
EDDINS, KARY                 NJ - USDC for the District of New Jersey   3:17-cv-09248         ONDERLAW, LLC
EDDINS, KARY                 NJ - USDC for the District of New Jersey   3:17-cv-09248         ONDERLAW, LLC
EDDLEMAN, TERI               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
EDDLEMON, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-07186         ONDERLAW, LLC
EDDY, DONNA                  NJ - USDC for the District of New Jersey   3:17-cv-11021         ONDERLAW, LLC
EDDY, MONA                   NJ - USDC for the District of New Jersey   3:21-cv-00841         ONDERLAW, LLC
EDDY, YVONNE                 NJ - USDC for the District of New Jersey   3:20-cv-20524         ONDERLAW, LLC
EDE, THERESA                 NJ - USDC for the District of New Jersey   3:18-cv-02927         ONDERLAW, LLC
EDENS, RITA                  NJ - USDC for the District of New Jersey   3:20-cv-12198         ONDERLAW, LLC
EDGAR, WILMA                 NJ - USDC for the District of New Jersey   3:21-cv-09695         ONDERLAW, LLC
EDMOND, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-05165         ONDERLAW, LLC
EDMONDS, JANIE               NJ - USDC for the District of New Jersey   3:21-cv-02320         ONDERLAW, LLC
EDMONDS, LAURIE              NJ - USDC for the District of New Jersey   3:21-cv-09222         ONDERLAW, LLC
EDMONDS, MONA                NJ - USDC for the District of New Jersey   3:17-cv-10895         ONDERLAW, LLC
EDSALL, PENNY                NJ - USDC for the District of New Jersey   3:21-cv-07008         ONDERLAW, LLC
EDWARDS, ANDREA              NJ - USDC for the District of New Jersey   3:21-cv-07817         ONDERLAW, LLC
EDWARDS, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-20525         ONDERLAW, LLC
EDWARDS, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-01632         ONDERLAW, LLC
EDWARDS, BEVERLY             NJ - USDC for the District of New Jersey   3:21-cv-09395         ONDERLAW, LLC
EDWARDS, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-10947         ONDERLAW, LLC
EDWARDS, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-13450         ONDERLAW, LLC
EDWARDS, DENISE              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
EDWARDS, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-00824         ONDERLAW, LLC
EDWARDS, PAMELA              NJ - USDC for the District of New Jersey   3:17-cv-07933         ONDERLAW, LLC
EDWARDS, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-04423         ONDERLAW, LLC
EDWARDS, PRECIOUS            NJ - USDC for the District of New Jersey   3:21-cv-05685         ONDERLAW, LLC
EDWARDS, RITA                NJ - USDC for the District of New Jersey   3:21-cv-02906         ONDERLAW, LLC
EDWARDS, SHERRICE            NJ - USDC for the District of New Jersey   3:21-cv-02211         ONDERLAW, LLC
EDWARDS, TERRINA             NJ - USDC for the District of New Jersey   3:21-cv-07702         ONDERLAW, LLC
EDWARDS, TINA                NJ - USDC for the District of New Jersey   3:21-cv-01079         ONDERLAW, LLC
EDWARDS, VOCTORIA            NJ - USDC for the District of New Jersey   3:21-cv-07068         ONDERLAW, LLC
EDWARDS-HARTE, AMY           NJ - USDC for the District of New Jersey   3:21-cv-06333         ONDERLAW, LLC
EISINGER, MICHELLE           NJ - USDC for the District of New Jersey   3:19-cv-22172         ONDERLAW, LLC
EITEL, DOROTHY               MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
EKUWSUMI, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-04574         ONDERLAW, LLC
ELDER, HARRIETT              NJ - USDC for the District of New Jersey   3:19-cv-06611         ONDERLAW, LLC
ELDER, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-08381         ONDERLAW, LLC
ELDERIDGE, GAYLA             NJ - USDC for the District of New Jersey   3:21-cv-08452         ONDERLAW, LLC
ELIJAH, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-07057         ONDERLAW, LLC
ELIZONDO, NEYDA              NJ - USDC for the District of New Jersey   3:18-cv-03584         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ELKINS, CHRISTINA         NJ - USDC for the District of New Jersey   3:18-cv-03378         ONDERLAW, LLC
ELKINS, RHONDA            NJ - USDC for the District of New Jersey   3:21-cv-05205         ONDERLAW, LLC
ELKINS, SHERRI            NJ - USDC for the District of New Jersey   3:21-cv-18057         ONDERLAW, LLC
ELLEDGE, VELMA            NJ - USDC for the District of New Jersey   3:21-cv-08235         ONDERLAW, LLC
ELLEN, MILLER             NJ - USDC for the District of New Jersey   3:21-cv-06244         ONDERLAW, LLC
ELLINGBURG, LAKEVIA       NJ - USDC for the District of New Jersey   3:21-cv-08044         ONDERLAW, LLC
ELLIOT, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-02629         ONDERLAW, LLC
ELLIOT, JUDY              NJ - USDC for the District of New Jersey   3:18-cv-12937         ONDERLAW, LLC
ELLIOT, SHERYL            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
ELLIOTT, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-16126         ONDERLAW, LLC
ELLIOTT, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-16110         ONDERLAW, LLC
ELLIOTT, JANE             NJ - USDC for the District of New Jersey   3:20-cv-13677         ONDERLAW, LLC
ELLIOTT, LISA             NJ - USDC for the District of New Jersey   3:21-cv-04425         ONDERLAW, LLC
ELLIOTT, MILEAH           NJ - USDC for the District of New Jersey   3:21-cv-03220         ONDERLAW, LLC
ELLIS, BRENDA             MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
ELLIS, JANE               NJ - USDC for the District of New Jersey   3:21-cv-10181         ONDERLAW, LLC
ELLIS, KAYLA              NJ - USDC for the District of New Jersey   3:21-cv-07040         ONDERLAW, LLC
ELLIS, MARYANN            NJ - USDC for the District of New Jersey   3:21-cv-01340         ONDERLAW, LLC
ELLIS, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-08336         ONDERLAW, LLC
ELLIS, VALARIE            NJ - USDC for the District of New Jersey   3:18-cv-03472         ONDERLAW, LLC
ELLISON, CAREN            NJ - USDC for the District of New Jersey   3:17-cv-08836         ONDERLAW, LLC
ELLISON, MEGHAN           NJ - USDC for the District of New Jersey   3:21-cv-09557         ONDERLAW, LLC
ELLISON, PATRICE          NJ - USDC for the District of New Jersey   3:21-cv-08135         ONDERLAW, LLC
ELROD, MARY               NJ - USDC for the District of New Jersey   3:21-cv-02264         ONDERLAW, LLC
ELSBERRY, LORI            NJ - USDC for the District of New Jersey   3:20-cv-20526         ONDERLAW, LLC
ELSMORE, JOANNA           NJ - USDC for the District of New Jersey   3:17-cv-09554         ONDERLAW, LLC
ELY, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-10407         ONDERLAW, LLC
EMBRY, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-00840         ONDERLAW, LLC
EMEL, ROMAYNE             NJ - USDC for the District of New Jersey   3:21-cv-04930         ONDERLAW, LLC
EMILYON, ANN              NJ - USDC for the District of New Jersey   3:20-cv-00008         ONDERLAW, LLC
EMINETH, LADONNA          NJ - USDC for the District of New Jersey   3:20-cv-20527         ONDERLAW, LLC
EMMERT, NINA              NJ - USDC for the District of New Jersey   3:21-cv-03999         ONDERLAW, LLC
ENDERS, DIANE             NJ - USDC for the District of New Jersey   3:19-cv-10158         ONDERLAW, LLC
ENDERS, GEORGINA          MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
ENDICOTT, COURTNEY        NJ - USDC for the District of New Jersey   3:18-cv-08385         ONDERLAW, LLC
ENDSLEY, DELLA            MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
ENGDAHL, FATMATA          NJ - USDC for the District of New Jersey   3:20-cv-06668         ONDERLAW, LLC
ENGELHARDT, CYNTHIA       NJ - USDC for the District of New Jersey   3:17-cv-10545         ONDERLAW, LLC
ENGLAND, CHRIS            MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
ENGLAND, ELLI             NJ - USDC for the District of New Jersey   3:18-cv-08844         ONDERLAW, LLC
ENGLAND, REGINA           NJ - USDC for the District of New Jersey   3:21-cv-05834         ONDERLAW, LLC
ENGLEHART, DARNELLA       NJ - USDC for the District of New Jersey   3:18-cv-07019         ONDERLAW, LLC
ENGLER, LISA              NJ - USDC for the District of New Jersey   3:21-cv-07337         ONDERLAW, LLC
ENGLISH, BONNIE           NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
ENGLISH, BRITTANY         NJ - USDC for the District of New Jersey   3:21-cv-05585         ONDERLAW, LLC
ENGLISH, JULIANA          NJ - USDC for the District of New Jersey   3:17-cv-09671         ONDERLAW, LLC
ENGVALDSEN, BRENDA        NJ - USDC for the District of New Jersey   3:17-cv-13812         ONDERLAW, LLC
ENNIN, CORINTHIANS        NJ - USDC for the District of New Jersey   3:21-cv-02642         ONDERLAW, LLC
ENNIS, CHANTIP            NJ - USDC for the District of New Jersey   3:20-cv-11102         ONDERLAW, LLC
ENNIS, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-09281         ONDERLAW, LLC
ENOCH, NORA               NJ - USDC for the District of New Jersey   3:21-cv-05858         ONDERLAW, LLC
ENRICO, BONNY             NJ - USDC for the District of New Jersey   3:17-cv-10260         ONDERLAW, LLC
ENSIGN, DIANE             NJ - USDC for the District of New Jersey   3:18-cv-09428         ONDERLAW, LLC
ENSLEY, CARMEN            NJ - USDC for the District of New Jersey   3:19-cv-14631         ONDERLAW, LLC
ENSOR, BARBARA            MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
ENTERLINE, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
EPLING, VERA              NJ - USDC for the District of New Jersey   3:21-cv-06569         ONDERLAW, LLC
EPPERLY, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-10580         ONDERLAW, LLC
EPPERSON, MIRIAM          NJ - USDC for the District of New Jersey   3:21-cv-10182         ONDERLAW, LLC
EPPS, CYNTHIA             NJ - USDC for the District of New Jersey   3:18-cv-10749         ONDERLAW, LLC
ERDAL, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-05108         ONDERLAW, LLC
ERDMAN, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-01892         ONDERLAW, LLC
ERICKSON, CYNTHIA         MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
ERICKSON, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-17799         ONDERLAW, LLC
ERICKSON, TAMI            NJ - USDC for the District of New Jersey   3:21-cv-04292         ONDERLAW, LLC
ERICKSON, TERESA          MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
ERIVES, ELSA              MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
ERNST, ROSE               NJ - USDC for the District of New Jersey   3:21-cv-07438         ONDERLAW, LLC
ERRANTE, ROSEANN          NJ - USDC for the District of New Jersey   3:19-cv-14495         ONDERLAW, LLC
ERVIN, ANTONIETTE         NJ - USDC for the District of New Jersey   3:20-cv-01435         ONDERLAW, LLC
ERVIN, CORIE              NJ - USDC for the District of New Jersey   3:21-cv-03316         ONDERLAW, LLC
ERYSIAN, ANN              NJ - USDC for the District of New Jersey   3:21-cv-17498         ONDERLAW, LLC
ESCALANTE, ARMANDINA      NJ - USDC for the District of New Jersey   3:21-cv-06069         ONDERLAW, LLC
ESCALANTE, LORENA         NJ - USDC for the District of New Jersey   3:21-cv-04194         ONDERLAW, LLC
ESCAMILLA, JUANITA        NJ - USDC for the District of New Jersey   3:21-cv-06082         ONDERLAW, LLC
ESCAMILLA, RACHEL         NJ - USDC for the District of New Jersey   3:21-cv-08085         ONDERLAW, LLC
ESCOBEDO, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-08364         ONDERLAW, LLC
ESKEW, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-06321         ONDERLAW, LLC
ESLINGER, LESSA           NJ - USDC for the District of New Jersey   3:17-cv-13813         ONDERLAW, LLC
ESMOND, CHETECA           NJ - USDC for the District of New Jersey   3:20-cv-12441         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
ESPENSHADE, ROSE          NJ - USDC for the District of New Jersey   3:18-cv-08687             ONDERLAW, LLC
ESPINOSA, CRYSTAL         NJ - USDC for the District of New Jersey   3:18-cv-12517             ONDERLAW, LLC
ESPINOSA, LESLEY          NJ - USDC for the District of New Jersey   3:18-cv-17796             ONDERLAW, LLC
ESPINOZA, AMANDA          NJ - USDC for the District of New Jersey   3:20-cv-20528             ONDERLAW, LLC
ESPINOZA, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-00833             ONDERLAW, LLC
ESQUIVEL, BERTHA          NJ - USDC for the District of New Jersey   3:17-cv-10505             ONDERLAW, LLC
ESQUIVEL, KATHY           NJ - USDC for the District of New Jersey   3:21-cv-10185             ONDERLAW, LLC
ESTELLE, PAMELA           NJ - USDC for the District of New Jersey   3:17-cv-02396             ONDERLAW, LLC
ESTEP, PAULA              NJ - USDC for the District of New Jersey   3:21-cv-17765             ONDERLAW, LLC
ESTEP, STEPHANIE          NJ - USDC for the District of New Jersey   3:21-cv-07086             ONDERLAW, LLC
ESTEVE, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-16874             ONDERLAW, LLC
ESTRADA, LYDIA            NJ - USDC for the District of New Jersey   3:21-cv-01077             ONDERLAW, LLC
ETEBARI, SALLY            NJ - USDC for the District of New Jersey   3:21-cv-06113             ONDERLAW, LLC
ETUKUDOH, GLORY           NJ - USDC for the District of New Jersey   3:21-cv-03538             ONDERLAW, LLC
EVANGELINE CAPLES         NJ - USDC for the District of New Jersey   3:21-cv-18375             ONDERLAW, LLC
EVANOSKI, LINDA           MO - Circuit Court - City of St. Louis     1822-CC00237              ONDERLAW, LLC
EVANS, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-07967             ONDERLAW, LLC
EVANS, CHARLOTTE          NJ - USDC for the District of New Jersey   3:21-cv-10186             ONDERLAW, LLC
EVANS, DIANE              NJ - USDC for the District of New Jersey   3:17-cv-10933             ONDERLAW, LLC
EVANS, DOREEN             NJ - USDC for the District of New Jersey   3:20-cv-20570             ONDERLAW, LLC
EVANS, DOROTHY            NJ - USDC for the District of New Jersey   3:17-cv-10774             ONDERLAW, LLC
EVANS, ERON               MO - Circuit Court - City of St. Louis     1422-CC09326-01           ONDERLAW, LLC
EVANS, GINGER             NJ - USDC for the District of New Jersey   3:21-cv-00566             ONDERLAW, LLC
EVANS, MARGIE             NJ - USDC for the District of New Jersey   3:20-cv-20571             ONDERLAW, LLC
EVANS, PENNY              NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
EVANS, SUELYN             NJ - USDC for the District of New Jersey   3:21-cv-03222             ONDERLAW, LLC
EVANS, WHITNEY            NJ - USDC for the District of New Jersey   3:18-cv-15039             ONDERLAW, LLC
EVANS-MORRISON, FELICIA   MO - Circuit Court - City of St. Louis     1622-CC-00837             ONDERLAW, LLC
EVDOSUK, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-10057             ONDERLAW, LLC
EVELAND, LISA             NJ - USDC for the District of New Jersey   3:18-cv-05283             ONDERLAW, LLC
EVERLITH, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-10893             ONDERLAW, LLC
EVERLY, FAITH             NJ - USDC for the District of New Jersey   3:20-cv-00060             ONDERLAW, LLC
EVERSOLE, VICKI           NJ - USDC for the District of New Jersey   3:18-cv-04996             ONDERLAW, LLC
EVERSON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-03318             ONDERLAW, LLC
EWANITSKO, LISA           NJ - USDC for the District of New Jersey   3:17-cv-09878             ONDERLAW, LLC
EWBANK, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-08132             ONDERLAW, LLC
EXLINE, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-06263             ONDERLAW, LLC
EYER, CHERI               NJ - USDC for the District of New Jersey   3:21-cv-05651             ONDERLAW, LLC
EZELL, JIMMIE             NJ - USDC for the District of New Jersey   3:19-cv-20509             ONDERLAW, LLC
EZZAT, AZZA               NJ - USDC for the District of New Jersey   3:21-cv-09435             ONDERLAW, LLC
FABIAN, DORIS             NJ - USDC for the District of New Jersey   3:21-cv-07810             ONDERLAW, LLC
FABRITIS, HAZEL           NJ - USDC for the District of New Jersey   3:19-cv-21664             ONDERLAW, LLC
FABRIZIO, CINDY           NJ - USDC for the District of New Jersey   3:21-cv-04293             ONDERLAW, LLC
FAHEY, GAYE               NJ - USDC for the District of New Jersey   3:21-cv-09213             ONDERLAW, LLC
                                                                     30-2017-00952889-CU-PL-
FAHIMI, SOLMAZ            CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                     CXC
FAHIMI, SOLMAZ            NJ - USDC for the District of New Jersey   3:17-cv-00791             ONDERLAW, LLC
FAHRBACH, JEANINE         NJ - USDC for the District of New Jersey   3:17-cv-09674             ONDERLAW, LLC
FAHS, BONITA              MO - Circuit Court - City of St. Louis     1522-CC-09792             ONDERLAW, LLC
FAILOR, JOANN             NJ - USDC for the District of New Jersey   3:21-cv-17500             ONDERLAW, LLC
FAIRBROTHER, CATHERINE    NJ - USDC for the District of New Jersey   3:17-cv-11110             ONDERLAW, LLC
FAIRCLOTH, CYNTHIA        NJ - USDC for the District of New Jersey   3:17-cv-06740             ONDERLAW, LLC
FAIRHEAD, GLORIA          NJ - USDC for the District of New Jersey   3:21-cv-01538             ONDERLAW, LLC
FALCONER, MARIE           NJ - USDC for the District of New Jersey   3:21-cv-04427             ONDERLAW, LLC
FALGOUT, DELANIA          NJ - USDC for the District of New Jersey   3:21-cv-05350             ONDERLAW, LLC
FALIS, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-03274             ONDERLAW, LLC
FANEUF, TAMATHA           MO - Circuit Court - City of St. Louis     1522-CC-09792             ONDERLAW, LLC
FANGROW, JOANN            NJ - USDC for the District of New Jersey   3:17-cv-10767             ONDERLAW, LLC
FANNON, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-12442             ONDERLAW, LLC
FANSLER, MARY             NJ - USDC for the District of New Jersey   3:17-cv-03946             ONDERLAW, LLC
FARINO, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-09904             ONDERLAW, LLC
FARLEY, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-08324             ONDERLAW, LLC
FARLEY, RONA              NJ - USDC for the District of New Jersey   3:21-cv-05614             ONDERLAW, LLC
FARMER, DANA              MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
FARMER, DOLLY             NJ - USDC for the District of New Jersey   3:21-cv-03320             ONDERLAW, LLC
FARMER, GRETTIA           NJ - USDC for the District of New Jersey   3:20-cv-09497             ONDERLAW, LLC
FARMER-OLSEN, SHIRLEY     NJ - USDC for the District of New Jersey   3:21-cv-09446             ONDERLAW, LLC
FARRELL, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-07527             ONDERLAW, LLC
FARRELL, KATHERINE        NJ - USDC for the District of New Jersey   3:21-cv-06505             ONDERLAW, LLC
FARRELL, KEISHA           NJ - USDC for the District of New Jersey   3:20-cv-01128             ONDERLAW, LLC
FARRELL, MARILYN          NJ - USDC for the District of New Jersey   3:17-cv-10509             ONDERLAW, LLC
FARRELL, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-01142             ONDERLAW, LLC
FARRINGTON, JACQUELINE    NJ - USDC for the District of New Jersey   3:17-cv-09679             ONDERLAW, LLC
FARRINGTON, PENOLOPE      NJ - USDC for the District of New Jersey   3:21-cv-07940             ONDERLAW, LLC
FARRIS, MARIAN            NJ - USDC for the District of New Jersey   3:17-cv-09558             ONDERLAW, LLC
FARRIS, RUTH              NJ - USDC for the District of New Jersey   3:21-cv-09372             ONDERLAW, LLC
FARRO, RISA               MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
FAULK, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-06545             ONDERLAW, LLC
FAULKNER, LENORE          NJ - USDC for the District of New Jersey   3:20-cv-20573             ONDERLAW, LLC
FAUST, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-08226             ONDERLAW, LLC




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           Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
FAUSTMANN, ANNE             NJ - USDC for the District of New Jersey   3:18-cv-09062         ONDERLAW, LLC
FAVER, SHERRIE              NJ - USDC for the District of New Jersey   3:21-cv-07431         ONDERLAW, LLC
FAVOR, BLOSSOM              NJ - USDC for the District of New Jersey   3:18-cv-14644         ONDERLAW, LLC
FAVREAU, LORRAINE           NJ - USDC for the District of New Jersey   3:21-cv-09812         ONDERLAW, LLC
FEAGINS, HELEN              NJ - USDC for the District of New Jersey   3:21-cv-08136         ONDERLAW, LLC
FEARS, MILDRED              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
FEATHERSTON, JANA           NJ - USDC for the District of New Jersey   3:21-cv-02646         ONDERLAW, LLC
FEATHERSTON, KAYLEIGH       NJ - USDC for the District of New Jersey   3:21-cv-03566         ONDERLAW, LLC
FEDEWA, MISTI               NJ - USDC for the District of New Jersey   3:21-cv-08690         ONDERLAW, LLC
FELGER, REBECCA             NJ - USDC for the District of New Jersey   3:20-cv-14825         ONDERLAW, LLC
FELICELLO, JANET            NJ - USDC for the District of New Jersey   3:19-cv-17339         ONDERLAW, LLC
FELTHOUSEN, BONNIE          MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
FELTNER, RUBY               NJ - USDC for the District of New Jersey   3:21-cv-05346         ONDERLAW, LLC
FELTY, ERNA                 NJ - USDC for the District of New Jersey   3:21-cv-07405         ONDERLAW, LLC
FELTY, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-03307         ONDERLAW, LLC
FENDERSON, ASHLEY           NJ - USDC for the District of New Jersey   3:21-cv-09248         ONDERLAW, LLC
FENNELL, LAVERNE            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
FENNELL, ZANDRA             NJ - USDC for the District of New Jersey   3:20-cv-16119         ONDERLAW, LLC
FENTIMAN, TINA              NJ - USDC for the District of New Jersey   3:21-cv-01714         ONDERLAW, LLC
FENTON, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-04431         ONDERLAW, LLC
FENWICK-SANCHEZ, JUDITH     NJ - USDC for the District of New Jersey   3:21-cv-07847         ONDERLAW, LLC
FERGUSON, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-05744         ONDERLAW, LLC
FERGUSON, ELLEN             NJ - USDC for the District of New Jersey   3:20-cv-15664         ONDERLAW, LLC
FERGUSON, EMILY             NJ - USDC for the District of New Jersey   3:21-cv-05073         ONDERLAW, LLC
FERGUSON, ERNESTINE         NJ - USDC for the District of New Jersey   3:17-cv-12223         ONDERLAW, LLC
FERGUSON, RASHIDA           NJ - USDC for the District of New Jersey   3:21-cv-07977         ONDERLAW, LLC
FERGUSON, RODNEYTA          NJ - USDC for the District of New Jersey   3:21-cv-05820         ONDERLAW, LLC
FERGUSON-WILLIAMS, MERTIS   NJ - USDC for the District of New Jersey   3:18-cv-10766         ONDERLAW, LLC
FERLITA, STEPHANIE          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
FERNANDEZ, BRISELDA         NJ - USDC for the District of New Jersey   3:21-cv-18061         ONDERLAW, LLC
FERNANDEZ, JUANA            NJ - USDC for the District of New Jersey   3:21-cv-01067         ONDERLAW, LLC
FERNANDEZ, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-17697         ONDERLAW, LLC
FERNLEY, SELINA             NJ - USDC for the District of New Jersey   3:21-cv-03223         ONDERLAW, LLC
FERRAN, MARIA               NJ - USDC for the District of New Jersey   3:17-cv-09466         ONDERLAW, LLC
FERRARA, JOAN               MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
FERRARI, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-07281         ONDERLAW, LLC
FERRELL, ANNIE              NJ - USDC for the District of New Jersey   3:19-cv-21838         ONDERLAW, LLC
FERRELL, RONNITA            NJ - USDC for the District of New Jersey   3:21-cv-08109         ONDERLAW, LLC
FERRELL, TAMIKA             NJ - USDC for the District of New Jersey   3:21-cv-03708         ONDERLAW, LLC
FERRI, NICOLETTE            NJ - USDC for the District of New Jersey   3:20-cv-05967         ONDERLAW, LLC
FERRO, KAREN                NJ - USDC for the District of New Jersey   3:17-cv-09106         ONDERLAW, LLC
FESKANICH, ROXANN           NJ - USDC for the District of New Jersey   3:19-cv-08876         ONDERLAW, LLC
FESTA, RAMONA               MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
FETZ, JEANIE                NJ - USDC for the District of New Jersey   3:21-cv-05636         ONDERLAW, LLC
FICCARDI, SUZANNE           NJ - USDC for the District of New Jersey   3:21-cv-06658         ONDERLAW, LLC
FICHTER, ERICA              NJ - USDC for the District of New Jersey   3:21-cv-01956         ONDERLAW, LLC
FICK, MARSHA                NJ - USDC for the District of New Jersey   3:21-cv-09868         ONDERLAW, LLC
FIELD, CONSTANCE            NJ - USDC for the District of New Jersey   3:21-cv-08002         ONDERLAW, LLC
FIELDS, ANGELA              NJ - USDC for the District of New Jersey   3:21-cv-09715         ONDERLAW, LLC
FIELDS, AUNITRA             NJ - USDC for the District of New Jersey   3:21-cv-04432         ONDERLAW, LLC
FIELDS, CATHY               NJ - USDC for the District of New Jersey   3:21-cv-05806         ONDERLAW, LLC
FIELDS, CYNTHIA             NJ - USDC for the District of New Jersey   3:21-cv-04662         ONDERLAW, LLC
FIELDS, SUSAN               MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
FIERRO, GLORIA              NJ - USDC for the District of New Jersey   3:21-cv-08346         ONDERLAW, LLC
FIGUEROA, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-12762         ONDERLAW, LLC
FIGURES, BOBBIE             NJ - USDC for the District of New Jersey   3:20-cv-13259         ONDERLAW, LLC
FILIFILI, RASELA            NJ - USDC for the District of New Jersey   3:21-cv-02993         ONDERLAW, LLC
FILIPSKI, ANNA              NJ - USDC for the District of New Jersey   3:17-cv-12360         ONDERLAW, LLC
FILLEUL, SUZANN             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
FILLMORE, JILL              NJ - USDC for the District of New Jersey   3:20-cv-09904         ONDERLAW, LLC
FILMORE, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-07617         ONDERLAW, LLC
FILOMENO, NURYS             NJ - USDC for the District of New Jersey   3:21-cv-01471         ONDERLAW, LLC
FINCH, DAWN                 NJ - USDC for the District of New Jersey   3:21-cv-09832         ONDERLAW, LLC
FINCHER, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-05933         ONDERLAW, LLC
FINCHER, CRYSTAL            NJ - USDC for the District of New Jersey   3:20-cv-15383         ONDERLAW, LLC
FINCK, LISA                 MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
FINE, MICHELLE              NJ - USDC for the District of New Jersey   3:20-cv-04928         ONDERLAW, LLC
FINIGAN, HEIDI              NJ - USDC for the District of New Jersey   3:18-cv-08152         ONDERLAW, LLC
FINK, CAROL                 NJ - USDC for the District of New Jersey   3:20-cv-02353         ONDERLAW, LLC
FINK, DORIS                 NJ - USDC for the District of New Jersey   3:21-cv-05860         ONDERLAW, LLC
FINK, JUDITH                NJ - USDC for the District of New Jersey   3:21-cv-09380         ONDERLAW, LLC
FINKBEIN, CATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-09289         ONDERLAW, LLC
FINLEY, DANA                MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
FINLEY, LUCILLE             NJ - USDC for the District of New Jersey   3:21-cv-02713         ONDERLAW, LLC
FIORE, ROSEMARIE            NJ - USDC for the District of New Jersey   3:21-cv-07184         ONDERLAW, LLC
FIORINI, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-09211         ONDERLAW, LLC
FIRESTONE, DOROTHY          NJ - USDC for the District of New Jersey   3:18-cv-17797         ONDERLAW, LLC
FIRLE, MARILYN              NJ - USDC for the District of New Jersey   3:21-cv-17965         ONDERLAW, LLC
FIRTH, DELORES              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
FISCHER, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-16773         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
FISCHER, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-09306         ONDERLAW, LLC
FISH, KATHY               NJ - USDC for the District of New Jersey   3:21-cv-03576         ONDERLAW, LLC
FISHER, ALTA              NJ - USDC for the District of New Jersey   3:21-cv-16481         ONDERLAW, LLC
FISHER, AULBREY           NJ - USDC for the District of New Jersey   3:21-cv-07509         ONDERLAW, LLC
FISHER, JANET             NJ - USDC for the District of New Jersey   3:21-cv-08033         ONDERLAW, LLC
FISHER, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-02277         ONDERLAW, LLC
FISHER-LACEY, VIVIAN      NJ - USDC for the District of New Jersey   3:21-cv-16740         ONDERLAW, LLC
FISHKIND, LYNN            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
FISK, MICHELE             NJ - USDC for the District of New Jersey   3:19-cv-16106         ONDERLAW, LLC
FISSEL, JAYE              NJ - USDC for the District of New Jersey   3:19-cv-19142         ONDERLAW, LLC
FITCH, HILDA              NJ - USDC for the District of New Jersey   3:21-cv-09363         ONDERLAW, LLC
FITROS, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-14496         ONDERLAW, LLC
FITZHUGH, ANTONIA         CA - Superior Court - Los Angeles County   BC681548              ONDERLAW, LLC
FITZHUGH, ANTONIA         NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
FITZPATRICK, DEBORAH      NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
FITZPATRICK, WILLIE       NJ - USDC for the District of New Jersey   3:21-cv-01154         ONDERLAW, LLC
FITZWATER, LOREEN         NJ - USDC for the District of New Jersey   3:21-cv-04352         ONDERLAW, LLC
FLAHARDY, FRANCIS         NJ - USDC for the District of New Jersey   3:18-cv-13453         ONDERLAW, LLC
FLANAGAN, ROXIE           NJ - USDC for the District of New Jersey   3:21-cv-00881         ONDERLAW, LLC
FLANNERY, SANDRA          NJ - USDC for the District of New Jersey   3:20-cv-07743         ONDERLAW, LLC
FLEENOR, JENNIFER         NJ - USDC for the District of New Jersey   3:17-cv-09177         ONDERLAW, LLC
FLEISCHMAN, CHERYL        NJ - USDC for the District of New Jersey   3:20-cv-13237         ONDERLAW, LLC
FLEMING, BETTIE           NJ - USDC for the District of New Jersey   3:21-cv-08051         ONDERLAW, LLC
FLEMING, HILDA            NJ - USDC for the District of New Jersey   3:20-cv-04343         ONDERLAW, LLC
FLEMING, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-00427         ONDERLAW, LLC
FLENER, TAMATHA           NJ - USDC for the District of New Jersey   3:21-cv-06940         ONDERLAW, LLC
FLESHMAN, NATALIE         NJ - USDC for the District of New Jersey   3:21-cv-03644         ONDERLAW, LLC
FLETCHER, CATHERINE       MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
FLETCHER, DEANNA          NJ - USDC for the District of New Jersey   3:21-cv-08247         ONDERLAW, LLC
FLETCHER, JOANNE          NJ - USDC for the District of New Jersey   3:19-cv-08872         ONDERLAW, LLC
FLETCHER, MIRANDA         NJ - USDC for the District of New Jersey   3:21-cv-01816         ONDERLAW, LLC
FLICKER, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-02900         ONDERLAW, LLC
FLIPPO, KAY               NJ - USDC for the District of New Jersey   3:17-cv-09680         ONDERLAW, LLC
FLISS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-08702         ONDERLAW, LLC
FLORENCE, MICHELLE        NJ - USDC for the District of New Jersey   3:21-cv-17445         ONDERLAW, LLC
FLORENT, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-07586         ONDERLAW, LLC
FLORES, ANA               NJ - USDC for the District of New Jersey   3:21-cv-17043         ONDERLAW, LLC
FLORES, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-04371         ONDERLAW, LLC
FLORES, CORAZON           MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
FLORES, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-09460         ONDERLAW, LLC
FLORES, KATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-10190         ONDERLAW, LLC
FLOREZ, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-08348         ONDERLAW, LLC
FLOWERS, DONNA            NJ - USDC for the District of New Jersey   3:20-cv-03578         ONDERLAW, LLC
FLOWERS, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-17317         ONDERLAW, LLC
FLOWERS, LILLIE           NJ - USDC for the District of New Jersey   3:21-cv-07066         ONDERLAW, LLC
FLOWERS, MARY             NJ - USDC for the District of New Jersey   3:20-cv-04038         ONDERLAW, LLC
FLOWERS, SAMANTHA         MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
FLOWERS, TAMELA           NJ - USDC for the District of New Jersey   3:18-cv-12203         ONDERLAW, LLC
FLOYD, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-12812         ONDERLAW, LLC
FLOYD, DIANA              NJ - USDC for the District of New Jersey   3:18-cv-03238         ONDERLAW, LLC
FLOYD, JENNIFER           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
FLOYD, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-08929         ONDERLAW, LLC
FLOYD, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-05646         ONDERLAW, LLC
FLOYD, SYLVIA             NJ - USDC for the District of New Jersey   3:19-cv-07227         ONDERLAW, LLC
FLOYD, YOLANDA            NJ - USDC for the District of New Jersey   3:21-cv-10191         ONDERLAW, LLC
FLURRY, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-03752         ONDERLAW, LLC
FLYNN, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-05357         ONDERLAW, LLC
FOCHT, ANNA               NJ - USDC for the District of New Jersey   3:17-cv-11019         ONDERLAW, LLC
FODA, RANDA               MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
FOGARTY, CARMINA          NJ - USDC for the District of New Jersey   3:21-cv-09366         ONDERLAW, LLC
FOGLE, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-09393         ONDERLAW, LLC
FOHN, ROSE                NJ - USDC for the District of New Jersey   3:21-cv-03225         ONDERLAW, LLC
FOLKESTAD, RUTH           NJ - USDC for the District of New Jersey   3:21-cv-15559         ONDERLAW, LLC
FOLKS, LORI               NJ - USDC for the District of New Jersey   3:19-cv-04409         ONDERLAW, LLC
FOLTZ, JENNY              NJ - USDC for the District of New Jersey   3:20-cv-08231         ONDERLAW, LLC
FONTANA, LORRIE           NJ - USDC for the District of New Jersey   3:18-cv-11064         ONDERLAW, LLC
FONTANILLE, HOPE          NJ - USDC for the District of New Jersey   3:21-cv-09350         ONDERLAW, LLC
FONTENOT, HEATHER         NJ - USDC for the District of New Jersey   3:21-cv-02142         ONDERLAW, LLC
FOOTE, RUTH               NJ - USDC for the District of New Jersey   3:20-cv-13062         ONDERLAW, LLC
FORBERG, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-02884         ONDERLAW, LLC
FORD, ANNA                NJ - USDC for the District of New Jersey   3:21-cv-05383         ONDERLAW, LLC
FORD, LAVANDA             NJ - USDC for the District of New Jersey   3:21-cv-04823         ONDERLAW, LLC
FORD, MARY                NJ - USDC for the District of New Jersey   3:17-cv-09179         ONDERLAW, LLC
FORD, PRISCILLA           NJ - USDC for the District of New Jersey   3:21-cv-16847         ONDERLAW, LLC
FORD, SARAH               NJ - USDC for the District of New Jersey   3:21-cv-04434         ONDERLAW, LLC
FORD, TAMYKA              NJ - USDC for the District of New Jersey   3:21-cv-01812         ONDERLAW, LLC
FORD, TINA                NJ - USDC for the District of New Jersey   3:21-cv-07285         ONDERLAW, LLC
FORDE, ELLEN              NJ - USDC for the District of New Jersey   3:21-cv-09570         ONDERLAW, LLC
FORMALEJO, TONI           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
FORNWALT, PEGGY           NJ - USDC for the District of New Jersey   3:18-cv-10414         ONDERLAW, LLC




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          Claimant Name                              State Filed                      Docket Number               Plaintiff Counsel
FORREST, KATHY                       NJ - USDC for the District of New Jersey   3:21-cv-08873         ONDERLAW, LLC
FORREST, V.; GIESE, V.;MARINO, D.;
                                     MO - Circuit Court - City of St. Louis     1522-CC00419          ONDERLAW, LLC
VOGELER, S.
FORRESTER, CAROLYN                   NJ - USDC for the District of New Jersey   3:21-cv-07945         ONDERLAW, LLC
FORRESTER, PATRICIA                  NJ - USDC for the District of New Jersey   3:17-cv-07960         ONDERLAW, LLC
FORRIDER, DONNA                      NJ - USDC for the District of New Jersey   3:21-cv-17729         ONDERLAW, LLC
FORSE, LINDA                         NJ - USDC for the District of New Jersey   3:18-cv-08420         ONDERLAW, LLC
FORSTING, LINDA                      NJ - USDC for the District of New Jersey   3:18-cv-03586         ONDERLAW, LLC
FORSTON, CARMEN                      NJ - USDC for the District of New Jersey   3:21-cv-09022         ONDERLAW, LLC
FORSYTHE, DOROTHY                    NJ - USDC for the District of New Jersey   3:21-cv-06352         ONDERLAW, LLC
FORTIER, DORIS                       NJ - USDC for the District of New Jersey   3:21-cv-06351         ONDERLAW, LLC
FORY, KAREN                          NJ - USDC for the District of New Jersey   3:21-cv-03322         ONDERLAW, LLC
FOSTER, BRANDY                       NJ - USDC for the District of New Jersey   3:19-cv-21839         ONDERLAW, LLC
FOSTER, CYNTHIA                      NJ - USDC for the District of New Jersey   3:21-cv-08583         ONDERLAW, LLC
FOSTER, DESIREE                      NJ - USDC for the District of New Jersey   3:21-cv-09305         ONDERLAW, LLC
FOSTER, GERALDINE                    NJ - USDC for the District of New Jersey   3:18-cv-11741         ONDERLAW, LLC
FOSTER, JOYCE                        NJ - USDC for the District of New Jersey   3:21-cv-07319         ONDERLAW, LLC
FOSTER, KAREN                        NJ - USDC for the District of New Jersey   3:20-cv-20314         ONDERLAW, LLC
FOSTER, LIZZIE                       NJ - USDC for the District of New Jersey   3:21-cv-05407         ONDERLAW, LLC
FOSTER, NANCY                        NJ - USDC for the District of New Jersey   3:21-cv-03460         ONDERLAW, LLC
FOSTER, ZIPPORAH                     MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
FOUCHIE, TAMMY                       NJ - USDC for the District of New Jersey   3:21-cv-03269         ONDERLAW, LLC
FOUNTAIN, JANICE                     NJ - USDC for the District of New Jersey   3:21-cv-09698         ONDERLAW, LLC
FOWLE, KAREN                         NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
FOWLER, AZAZIAH                      NJ - USDC for the District of New Jersey   3:21-cv-02161         ONDERLAW, LLC
FOWLER, BRENDA                       NJ - USDC for the District of New Jersey   3:19-cv-12452         ONDERLAW, LLC
FOWLER, CHERYL                       MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
FOWLER, DAWN                         NJ - USDC for the District of New Jersey   3:21-cv-05059         ONDERLAW, LLC
FOWLER, DIANE                        NJ - USDC for the District of New Jersey   3:21-cv-07121         ONDERLAW, LLC
FOWLER, FAITH                        NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
FOWLER, LISA                         NJ - USDC for the District of New Jersey   3:21-cv-08587         ONDERLAW, LLC
FOWLER, MARY                         MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
FOWLER, VICKIE                       NJ - USDC for the District of New Jersey   3:21-cv-05829         ONDERLAW, LLC
FOX, DEBRA                           NJ - USDC for the District of New Jersey   3:21-cv-06381         ONDERLAW, LLC
FOX, LORRIANE                        NJ - USDC for the District of New Jersey   3:18-cv-17590         ONDERLAW, LLC
FOX, VANESSA                         MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
FOXWORTH, RAYLETTE                   NJ - USDC for the District of New Jersey   3:21-cv-05469         ONDERLAW, LLC
FOXWORTH, THERESA                    NJ - USDC for the District of New Jersey   3:20-cv-08699         ONDERLAW, LLC
FRAGA, CARRIE                        NJ - USDC for the District of New Jersey   3:21-cv-03915         ONDERLAW, LLC
FRANCES COSTLEY                      NJ - USDC for the District of New Jersey   3:21-cv-18379         ONDERLAW, LLC
FRANCES GARMAN                       NJ - USDC for the District of New Jersey   3:21-cv-18266         ONDERLAW, LLC
FRANCESCHINI, CATHLEEN               NJ - USDC for the District of New Jersey   3:18-cv-13344         ONDERLAW, LLC
FRANCESE, PHYLLIS                    NJ - USDC for the District of New Jersey   3:21-cv-06924         ONDERLAW, LLC
FRANCHI, FRANCESCA                   NJ - USDC for the District of New Jersey   3:19-cv-12033         ONDERLAW, LLC
FRANCIS, FLORENCE                    NJ - USDC for the District of New Jersey   3:21-cv-08916         ONDERLAW, LLC
FRANCK, NENITA                       NJ - USDC for the District of New Jersey   3:18-cv-05790         ONDERLAW, LLC
FRANCO, ANITA                        NJ - USDC for the District of New Jersey   3:21-cv-03093         ONDERLAW, LLC
FRANK, ERIN                          NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
FRANK, RACHEL                        NJ - USDC for the District of New Jersey   3:20-cv-02114         ONDERLAW, LLC
FRANK, SHARON                        NJ - USDC for the District of New Jersey   3:21-cv-02772         ONDERLAW, LLC
FRANKLIN, DIANA                      NJ - USDC for the District of New Jersey   3:17-cv-11408         ONDERLAW, LLC
FRANKLIN, DONNA                      NJ - USDC for the District of New Jersey   3:21-cv-10197         ONDERLAW, LLC
FRANKLIN, JEAN                       NJ - USDC for the District of New Jersey   3:21-cv-01776         ONDERLAW, LLC
FRANKLIN, JESSIE                     NJ - USDC for the District of New Jersey   3:21-cv-01385         ONDERLAW, LLC
FRANKLIN, KRISTINE                   NJ - USDC for the District of New Jersey   3:21-cv-16945         ONDERLAW, LLC
FRANKLIN, LAYNA                      NJ - USDC for the District of New Jersey   3:21-cv-02317         ONDERLAW, LLC
FRANKLIN, MARY                       NJ - USDC for the District of New Jersey   3:21-cv-01896         ONDERLAW, LLC
FRANKLIN, PAMELA                     NJ - USDC for the District of New Jersey   3:18-cv-09314         ONDERLAW, LLC
FRANKLIN, RUTH                       NJ - USDC for the District of New Jersey   3:21-cv-07177         ONDERLAW, LLC
FRANKLIN, SALLY                      NJ - USDC for the District of New Jersey   3:18-cv-08690         ONDERLAW, LLC
FRANKLIN, TERESA                     NJ - USDC for the District of New Jersey   3:18-cv-15147         ONDERLAW, LLC
FRANKS, LEANANI                      NJ - USDC for the District of New Jersey   3:21-cv-03539         ONDERLAW, LLC
FRANKS, QUANDA                       NJ - USDC for the District of New Jersey   3:21-cv-17281         ONDERLAW, LLC
FRAUSTO, BEATRIZ                     CA - Superior Court - Los Angeles County   BC681549              ONDERLAW, LLC
FRAUSTO, BEATRIZ                     NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
FRAUSTO, BEATRIZ                     NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
FRAZIER, AGNES                       NJ - USDC for the District of New Jersey   3:21-cv-04847         ONDERLAW, LLC
FRAZIER, BETTY                       NJ - USDC for the District of New Jersey   3:20-cv-05969         ONDERLAW, LLC
FRAZIER, ELLA                        NJ - USDC for the District of New Jersey   3:17-cv-11090         ONDERLAW, LLC
FRAZIER, JUDITH                      NJ - USDC for the District of New Jersey   3:21-cv-05414         ONDERLAW, LLC
FRAZIER, KATRINA                     NJ - USDC for the District of New Jersey   3:21-cv-05465         ONDERLAW, LLC
FRAZIER, KELLY                       NJ - USDC for the District of New Jersey   3:18-cv-05558         ONDERLAW, LLC
FRAZIER, KHADIJA                     NJ - USDC for the District of New Jersey   3:20-cv-03588         ONDERLAW, LLC
FREDERIC, SONJA                      NJ - USDC for the District of New Jersey   3:18-cv-09067         ONDERLAW, LLC
FREDERICK, AMY                       MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
FREDERICK, JUANITA                   NJ - USDC for the District of New Jersey   3:21-cv-08748         ONDERLAW, LLC
FREDERICK, MARTHA                    NJ - USDC for the District of New Jersey   3:20-cv-11093         ONDERLAW, LLC
FREEBURG, SHAUN                      NJ - USDC for the District of New Jersey   3:19-cv-19640         ONDERLAW, LLC
FREEMAN, BELINDA                     NJ - USDC for the District of New Jersey   3:20-cv-20644         ONDERLAW, LLC
FREEMAN, BETTY                       NJ - USDC for the District of New Jersey   3:21-cv-05853         ONDERLAW, LLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
FREEMAN, BLANCHE             NJ - USDC for the District of New Jersey   3:18-cv-10058         ONDERLAW, LLC
FREEMAN, CARMEN              NJ - USDC for the District of New Jersey   3:21-cv-07391         ONDERLAW, LLC
FREEMAN, EMERALD             NJ - USDC for the District of New Jersey   3:21-cv-05608         ONDERLAW, LLC
FREEMAN, JEANETTE            NJ - USDC for the District of New Jersey   3:20-cv-20582         ONDERLAW, LLC
FREEMAN, KIM                 NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
FREEMAN, MELANIE             NJ - USDC for the District of New Jersey   3:21-cv-01560         ONDERLAW, LLC
FREEMAN, SANDRA              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
FREEMAN, TERREZ              NJ - USDC for the District of New Jersey   3:19-cv-10435         ONDERLAW, LLC
FREEMAN, VICTORIA            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
FREEMAN, VIRGINIA            NJ - USDC for the District of New Jersey   3:18-cv-11065         ONDERLAW, LLC
FREIDA, ANNAMARIE            MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
FREITAS, PHYLLIS             MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
FREMOUNT, ROSALYN            NJ - USDC for the District of New Jersey   3:21-cv-17377         ONDERLAW, LLC
FRENCH, CYNDEE               NJ - USDC for the District of New Jersey   3:21-cv-05924         ONDERLAW, LLC
FRENCH, SHARON               NJ - USDC for the District of New Jersey   3:21-cv-06270         ONDERLAW, LLC
FRENDO, MELISSA              NJ - USDC for the District of New Jersey   3:20-cv-09973         ONDERLAW, LLC
FRERES, REGINA               NJ - USDC for the District of New Jersey   3:21-cv-04196         ONDERLAW, LLC
FREY, JANICE                 NJ - USDC for the District of New Jersey   3:20-cv-15456         ONDERLAW, LLC
FRIEDRICH, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-17358         ONDERLAW, LLC
FRIEDRICH, LILLIAN           NJ - USDC for the District of New Jersey   3:21-cv-10200         ONDERLAW, LLC
FRIEND, DARLENE              CA - Superior Court - San Benito           CU-17-00162           ONDERLAW, LLC
FRIEND, DARLENE              NJ - USDC for the District of New Jersey   3:17-cv-00800         ONDERLAW, LLC
FRITSON, MARY                NJ - USDC for the District of New Jersey   3:17-cv-09823         ONDERLAW, LLC
FRITZ, SHEILA                NJ - USDC for the District of New Jersey   3:18-cv-10060         ONDERLAW, LLC
FRIZELL, CHEREE              NJ - USDC for the District of New Jersey   3:17-cv-09555         ONDERLAW, LLC
FRONCHECK, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-07473         ONDERLAW, LLC
FROST, CHRISTINE             NJ - USDC for the District of New Jersey   3:20-cv-05790         ONDERLAW, LLC
FROST-PEMBERTON, ELIZABETH   NJ - USDC for the District of New Jersey   3:18-cv-17589         ONDERLAW, LLC
FROWNFELTER, PATRICIA        NJ - USDC for the District of New Jersey   3:17-cv-10609         ONDERLAW, LLC
FRY, JOAN                    NJ - USDC for the District of New Jersey   3:21-cv-06129         ONDERLAW, LLC
FRY, SALLY                   NJ - USDC for the District of New Jersey   3:17-cv-09729         ONDERLAW, LLC
FRYE, KAREN                  NJ - USDC for the District of New Jersey   3:18-cv-08691         ONDERLAW, LLC
FRYE-POE, LANA               NJ - USDC for the District of New Jersey   3:19-cv-05148         ONDERLAW, LLC
FUCHS, SANDRA                NJ - USDC for the District of New Jersey   3:18-cv-13454         ONDERLAW, LLC
FUEL, LOYA                   NJ - USDC for the District of New Jersey   3:19-cv-13249         ONDERLAW, LLC
FUGATE, ANITA                NJ - USDC for the District of New Jersey   3:21-cv-08841         ONDERLAW, LLC
FULKERSON, PHOEBE            NJ - USDC for the District of New Jersey   3:19-cv-14500         ONDERLAW, LLC
FULLER, DEBORAH              NJ - USDC for the District of New Jersey   3:21-cv-05371         ONDERLAW, LLC
FULLER, PEARL                NJ - USDC for the District of New Jersey   3:21-cv-07119         ONDERLAW, LLC
FULMER, SHIRLEY              NJ - USDC for the District of New Jersey   3:21-cv-09637         ONDERLAW, LLC
FULP, CHRISTY                NJ - USDC for the District of New Jersey   3:21-cv-09894         ONDERLAW, LLC
FULTON, JUDITH               NJ - USDC for the District of New Jersey   3:21-cv-06566         ONDERLAW, LLC
FULTZ, DAWNA                 NJ - USDC for the District of New Jersey   3:21-cv-02303         ONDERLAW, LLC
FUNES, PATRICIA              NJ - USDC for the District of New Jersey   3:19-cv-14401         ONDERLAW, LLC
FUOCCO, CHARLENE             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
FUOCO, CHARLENE              MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
FURMAN, BETZY                NJ - USDC for the District of New Jersey   3:21-cv-03248         ONDERLAW, LLC
FURY, JANICE                 NJ - USDC for the District of New Jersey   3:21-cv-02787         ONDERLAW, LLC
FUSEK, BETSY                 NJ - USDC for the District of New Jersey   3:19-cv-00056         ONDERLAW, LLC
FUSON, JUDITH                NJ - USDC for the District of New Jersey   3:21-cv-05211         ONDERLAW, LLC
FUSSELL, JOSEPHINE           NJ - USDC for the District of New Jersey   3:18-cv-13213         ONDERLAW, LLC
GABLE, JADE                  NJ - USDC for the District of New Jersey   3:20-cv-13888         ONDERLAW, LLC
GABLE, MARY                  NJ - USDC for the District of New Jersey   3:21-cv-09756         ONDERLAW, LLC
GABLER, SUSAN                NJ - USDC for the District of New Jersey   3:21-cv-02835         ONDERLAW, LLC
GABRIELE, CARMELA            MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
GABRISZESKI, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-09294         ONDERLAW, LLC
GABUTIN, ROSALINA            NJ - USDC for the District of New Jersey   3:20-cv-13060         ONDERLAW, LLC
GADDIE, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-07635         ONDERLAW, LLC
GADSON, CAROLYN              NJ - USDC for the District of New Jersey   3:20-cv-06562         ONDERLAW, LLC
GADSON, OCTAVIA              NJ - USDC for the District of New Jersey   3:21-cv-06587         ONDERLAW, LLC
GAFFNEY, CHRISTINE           NJ - USDC for the District of New Jersey   3:18-cv-08740         ONDERLAW, LLC
GAGLIARDI-JEAN, MARIA        NJ - USDC for the District of New Jersey   3:21-cv-02536         ONDERLAW, LLC
GAGNON, GEORGEANNE           MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
GAIGL, CHRISTINE             NJ - USDC for the District of New Jersey   3:17-cv-12290         ONDERLAW, LLC
GAIL CHAVIS                  NJ - USDC for the District of New Jersey   3:21-cv-18257         ONDERLAW, LLC
GAINES, AGNES                NJ - USDC for the District of New Jersey   3:20-cv-10737         ONDERLAW, LLC
GAINES-DANIEL, JULIE         NJ - USDC for the District of New Jersey   3:21-cv-05091         ONDERLAW, LLC
GAIR-LEVIN, KATHLEEN         NJ - USDC for the District of New Jersey   3:21-cv-08728         ONDERLAW, LLC
GAJAFSKY, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-01510         ONDERLAW, LLC
GALANIS, TEDDI               NJ - USDC for the District of New Jersey   3:17-cv-13816         ONDERLAW, LLC
GALANTE, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-13456         ONDERLAW, LLC
GALANTO, SYLVIA              NJ - USDC for the District of New Jersey   3:18-cv-10935         ONDERLAW, LLC
GALBREATH, MARY              NJ - USDC for the District of New Jersey   3:18-cv-11067         ONDERLAW, LLC
GALEANO, IRMA                NJ - USDC for the District of New Jersey   3:21-cv-04952         ONDERLAW, LLC
GALES, ANGELA                NJ - USDC for the District of New Jersey   3:21-cv-04002         ONDERLAW, LLC
GALES, LATONYA               NJ - USDC for the District of New Jersey   3:21-cv-07296         ONDERLAW, LLC
GALIAZZI, MARIE              MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
GALIMORE, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-07610         ONDERLAW, LLC
GALINDO, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-07126         ONDERLAW, LLC
GALLAGOS, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-07625         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GALLARDO, ANNA            NJ - USDC for the District of New Jersey   3:18-cv-10840         ONDERLAW, LLC
GALLAUGHER, RENE          NJ - USDC for the District of New Jersey   3:20-cv-02101         ONDERLAW, LLC
GALLOW, MARY              NJ - USDC for the District of New Jersey   3:18-cv-05278         ONDERLAW, LLC
GALLOWAY, BEVERLY         NJ - USDC for the District of New Jersey   3:21-cv-07791         ONDERLAW, LLC
GALLOWAY, ROXIE           NJ - USDC for the District of New Jersey   3:21-cv-09085         ONDERLAW, LLC
GAMAUNT, JOANNE           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
GAMBINO-PELUSO, ANTONIA   NJ - USDC for the District of New Jersey   3:21-cv-03949         ONDERLAW, LLC
GAMBLE, FRANCINE          NJ - USDC for the District of New Jersey   3:21-cv-09550         ONDERLAW, LLC
GAMBLE, SARAH             NJ - USDC for the District of New Jersey   3:21-cv-10204         ONDERLAW, LLC
GAMBLES, TAMATHA          NJ - USDC for the District of New Jersey   3:21-cv-05368         ONDERLAW, LLC
GAMBREL, SUSIE            NJ - USDC for the District of New Jersey   3:17-cv-13818         ONDERLAW, LLC
GAMEZ, FRANCES            NJ - USDC for the District of New Jersey   3:21-cv-05169         ONDERLAW, LLC
GANGE, ANNMARIE           NJ - USDC for the District of New Jersey   3:21-cv-07499         ONDERLAW, LLC
GANIERE, THERESA          NJ - USDC for the District of New Jersey   3:19-cv-08188         ONDERLAW, LLC
GANLEY, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-09489         ONDERLAW, LLC
GANN, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-04679         ONDERLAW, LLC
GANN, SHERRY              MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
GANTT, SYLVIA             NJ - USDC for the District of New Jersey   3:21-cv-03466         ONDERLAW, LLC
GARCES, JESSICA           NJ - USDC for the District of New Jersey   3:19-cv-19093         ONDERLAW, LLC
GARCIA, BERTHA            NJ - USDC for the District of New Jersey   3:21-cv-04138         ONDERLAW, LLC
GARCIA, BLANCA            NJ - USDC for the District of New Jersey   3:21-cv-09526         ONDERLAW, LLC
GARCIA, CONNIE            NJ - USDC for the District of New Jersey   3:18-cv-11004         ONDERLAW, LLC
GARCIA, DEE               NJ - USDC for the District of New Jersey   3:21-cv-17422         ONDERLAW, LLC
GARCIA, DINAH             NJ - USDC for the District of New Jersey   3:21-cv-02301         ONDERLAW, LLC
GARCIA, DOLORES           NJ - USDC for the District of New Jersey   3:21-cv-03338         ONDERLAW, LLC
GARCIA, ELIDA             NJ - USDC for the District of New Jersey   3:20-cv-08675         ONDERLAW, LLC
GARCIA, GRACIE            NJ - USDC for the District of New Jersey   3:21-cv-16580         ONDERLAW, LLC
GARCIA, GUADALUPE         NJ - USDC for the District of New Jersey   3:21-cv-03540         ONDERLAW, LLC
GARCIA, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-01985         ONDERLAW, LLC
GARCIA, KIM               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
GARCIA, LILLIAN           NJ - USDC for the District of New Jersey   3:17-cv-00798         ONDERLAW, LLC
GARCIA, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-01545         ONDERLAW, LLC
GARCIA, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-06571         ONDERLAW, LLC
GARCIA, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-20574         ONDERLAW, LLC
GARCIA, MARLENE           NJ - USDC for the District of New Jersey   3:20-cv-20575         ONDERLAW, LLC
GARCIA, MERCEDES          NJ - USDC for the District of New Jersey   3:17-cv-10592         ONDERLAW, LLC
GARCIA, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-07195         ONDERLAW, LLC
GARCIA, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-08462         ONDERLAW, LLC
GARCIA, ROSARIO           NJ - USDC for the District of New Jersey   3:21-cv-01920         ONDERLAW, LLC
GARCIA, SHEILA            NJ - USDC for the District of New Jersey   3:19-cv-20788         ONDERLAW, LLC
GARCIA, SOL               NJ - USDC for the District of New Jersey   3:21-cv-09731         ONDERLAW, LLC
GARCIA, SYLVIA            NJ - USDC for the District of New Jersey   3:21-cv-10205         ONDERLAW, LLC
GARCIA, TAMMY             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
GARCIA, VERA              NJ - USDC for the District of New Jersey   3:21-cv-02963         ONDERLAW, LLC
GARCIA-LUNA, NOLI         NJ - USDC for the District of New Jersey   3:18-cv-13458         ONDERLAW, LLC
GARDINER, MILDRED         MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
GARDNER, DANIELLE         NJ - USDC for the District of New Jersey   3:18-cv-15454         ONDERLAW, LLC
GARDNER, MLISSA           MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
GARDUNO, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-05945         ONDERLAW, LLC
GARGALA, JANICE           NJ - USDC for the District of New Jersey   3:20-cv-00884         ONDERLAW, LLC
GARLINGTON, VERA          NJ - USDC for the District of New Jersey   3:17-cv-11454         ONDERLAW, LLC
GARMON, CRYSTAL           NJ - USDC for the District of New Jersey   3:21-cv-09887         ONDERLAW, LLC
GARNER, EMILY             NJ - USDC for the District of New Jersey   3:21-cv-03431         ONDERLAW, LLC
GARNER, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-07506         ONDERLAW, LLC
GARNER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-05761         ONDERLAW, LLC
GARNER, TINA              NJ - USDC for the District of New Jersey   3:21-cv-06419         ONDERLAW, LLC
GARNETT, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-04332         ONDERLAW, LLC
GARONZIK, DIANE           NJ - USDC for the District of New Jersey   3:20-cv-03216         ONDERLAW, LLC
GARRETT, CRYSTAL          NJ - USDC for the District of New Jersey   3:21-cv-01516         ONDERLAW, LLC
GARRETT, JOYCE            NJ - USDC for the District of New Jersey   3:21-cv-07359         ONDERLAW, LLC
GARRETT, JUANITA          NJ - USDC for the District of New Jersey   3:18-cv-09096         ONDERLAW, LLC
GARRISON, JILL            NJ - USDC for the District of New Jersey   3:17-cv-09853         ONDERLAW, LLC
GARSKO, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-02941         ONDERLAW, LLC
GARVIN, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-04765         ONDERLAW, LLC
GARY, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-12203         ONDERLAW, LLC
GARZA, DIANA              MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
GARZA, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-06557         ONDERLAW, LLC
GARZA, FRANCES            NJ - USDC for the District of New Jersey   3:21-cv-04648         ONDERLAW, LLC
GARZA, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-08189         ONDERLAW, LLC
GASKIN, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-09229         ONDERLAW, LLC
GASNER, CHERYL            NJ - USDC for the District of New Jersey   3:17-cv-10562         ONDERLAW, LLC
GAST, GEERTRUIDA          NJ - USDC for the District of New Jersey   3:21-cv-04285         ONDERLAW, LLC
GATES, JESEFINA           NJ - USDC for the District of New Jersey   3:21-cv-17503         ONDERLAW, LLC
GATES, MELISSA            NJ - USDC for the District of New Jersey   3:19-cv-21667         ONDERLAW, LLC
GATES-GREEN, REGINA       NJ - USDC for the District of New Jersey   3:18-cv-08167         ONDERLAW, LLC
GATLIN, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-02632         ONDERLAW, LLC
GATSON, RONMUNDA          NJ - USDC for the District of New Jersey   3:18-cv-10953         ONDERLAW, LLC
GATTI, MARY               NJ - USDC for the District of New Jersey   3:20-cv-11789         ONDERLAW, LLC
GATTUSO, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-07533         ONDERLAW, LLC
GAUER, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-07766         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GAUGH, PEGGY              NJ - USDC for the District of New Jersey   3:17-cv-08497         ONDERLAW, LLC
GAURUDER, JOHNA           NJ - USDC for the District of New Jersey   3:19-cv-12758         ONDERLAW, LLC
GAUVIN, VLADY             NJ - USDC for the District of New Jersey   3:20-cv-03394         ONDERLAW, LLC
GAVIN, ELLEN              NJ - USDC for the District of New Jersey   3:19-cv-12030         ONDERLAW, LLC
GAVIN, ROSALYN            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
GAWLOWSKI, KRISTA         NJ - USDC for the District of New Jersey   3:21-cv-06918         ONDERLAW, LLC
GAY, RACHEL               NJ - USDC for the District of New Jersey   3:18-cv-08694         ONDERLAW, LLC
GAYHEART, CHRISTY         NJ - USDC for the District of New Jersey   3:20-cv-20596         ONDERLAW, LLC
GAYTAN, CARIE             NJ - USDC for the District of New Jersey   3:17-cv-09511         ONDERLAW, LLC
GAYZ, NORINE              NJ - USDC for the District of New Jersey   3:18-cv-05118         ONDERLAW, LLC
GEFFKE, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-17726         ONDERLAW, LLC
GEHRING, JANET            NJ - USDC for the District of New Jersey   3:18-cv-17798         ONDERLAW, LLC
GEIBIG, RENEE             NJ - USDC for the District of New Jersey   3:18-cv-03383         ONDERLAW, LLC
GEIGER, VIKMA             NJ - USDC for the District of New Jersey   3:21-cv-02450         ONDERLAW, LLC
GEIMER, JULIANNE          NJ - USDC for the District of New Jersey   3:20-cv-00551         ONDERLAW, LLC
GEISER, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-11099         ONDERLAW, LLC
GELSER-WEBB, PEG          NJ - USDC for the District of New Jersey   3:18-cv-11499         ONDERLAW, LLC
GEMME, MARILYN            NJ - USDC for the District of New Jersey   3:21-cv-06999         ONDERLAW, LLC
GENDREAU, PAULA           NJ - USDC for the District of New Jersey   3:19-cv-20761         ONDERLAW, LLC
GENTILE, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
GENTRY, ANITA             NJ - USDC for the District of New Jersey   3:21-cv-08959         ONDERLAW, LLC
GENTRY, LA CINDY          NJ - USDC for the District of New Jersey   3:21-cv-09419         ONDERLAW, LLC
GENTRY, TINA              NJ - USDC for the District of New Jersey   3:21-cv-08238         ONDERLAW, LLC
GEORGATOS, JEAN           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
GEORGE, JANIS             NJ - USDC for the District of New Jersey   3:21-cv-01078         ONDERLAW, LLC
GEORGE, THEODORA          NJ - USDC for the District of New Jersey   3:21-cv-03562         ONDERLAW, LLC
GERBER, DARLA             NJ - USDC for the District of New Jersey   3:21-cv-17939         ONDERLAW, LLC
GERMANY, GAYLA            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
GERRISH, ANMBRA           MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
GERWIN, PAULA             NJ - USDC for the District of New Jersey   3:19-cv-08454         ONDERLAW, LLC
GESCHWIND, THELMA         NJ - USDC for the District of New Jersey   3:19-cv-12579         ONDERLAW, LLC
GETCHELL, JESSICA         NJ - USDC for the District of New Jersey   3:21-cv-07284         ONDERLAW, LLC
GETHERS, MICHELLE         NJ - USDC for the District of New Jersey   3:20-cv-15384         ONDERLAW, LLC
GETTY, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-09527         ONDERLAW, LLC
GEYER, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-18145         ONDERLAW, LLC
GEYER, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
GHALAMKAR, JUANITA        NJ - USDC for the District of New Jersey   3:20-cv-07464         ONDERLAW, LLC
GHOLSON, SONYA            NJ - USDC for the District of New Jersey   3:21-cv-06989         ONDERLAW, LLC
GHOLSTON, ALTHEA          NJ - USDC for the District of New Jersey   3:18-cv-10995         ONDERLAW, LLC
GHORMLEY, KERRY           NJ - USDC for the District of New Jersey   3:18-cv-10809         ONDERLAW, LLC
GIANNETTINO, ROBIN        NJ - USDC for the District of New Jersey   3:19-cv-13057         ONDERLAW, LLC
GIANNOTTI, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-10069         ONDERLAW, LLC
GIANNOTTI, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-10069         ONDERLAW, LLC
GIBAS, MARJORIE           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
GIBBONS, CHARLENE         NJ - USDC for the District of New Jersey   3:20-cv-02891         ONDERLAW, LLC
GIBBS, DORIS              NJ - USDC for the District of New Jersey   3:19-cv-14399         ONDERLAW, LLC
GIBBS, KENDRA             MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
GIBBS, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-07872         ONDERLAW, LLC
GIBSON, ANGELA            NJ - USDC for the District of New Jersey   3:19-cv-21364         ONDERLAW, LLC
GIBSON, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-09375         ONDERLAW, LLC
GIBSON, BERNETTE          NJ - USDC for the District of New Jersey   3:21-cv-09084         ONDERLAW, LLC
GIBSON, CARMEN            NJ - USDC for the District of New Jersey   3:21-cv-07323         ONDERLAW, LLC
GIBSON, DEVIN             MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
GIBSON, HELEENA           NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
GIBSON, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-08267         ONDERLAW, LLC
GIBSON, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-00598         ONDERLAW, LLC
GIBSON, RHYS              NJ - USDC for the District of New Jersey   3:20-cv-12604         ONDERLAW, LLC
GIBSON-HERRON, BRENDA     NJ - USDC for the District of New Jersey   3:17-cv-09927         ONDERLAW, LLC
GIBSON-PACK, ALECIA       MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
GIDLEY, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-05565         ONDERLAW, LLC
GIDLEY, SHANNON           NJ - USDC for the District of New Jersey   3:21-cv-17761         ONDERLAW, LLC
GIESSERT, LISA            NJ - USDC for the District of New Jersey   3:18-cv-11075         ONDERLAW, LLC
GIFFORD, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-09512         ONDERLAW, LLC
GIFT, NORMA               NJ - USDC for the District of New Jersey   3:21-cv-06071         ONDERLAW, LLC
GIL, ANA                  NJ - USDC for the District of New Jersey   3:21-cv-00843         ONDERLAW, LLC
GILBERT, DAWN             NJ - USDC for the District of New Jersey   3:17-cv-08778         ONDERLAW, LLC
GILBERT, PENNY            NJ - USDC for the District of New Jersey   3:17-cv-11804         ONDERLAW, LLC
GILBERTO, ELAINE          NJ - USDC for the District of New Jersey   3:21-cv-06062         ONDERLAW, LLC
GILES, GINA               NJ - USDC for the District of New Jersey   3:21-cv-09585         ONDERLAW, LLC
GILES-GAGNE, SUSAN        NJ - USDC for the District of New Jersey   3:19-cv-21860         ONDERLAW, LLC
GILHAUS, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-12466         ONDERLAW, LLC
GILKISON, JOANNA          NJ - USDC for the District of New Jersey   3:21-cv-01777         ONDERLAW, LLC
GILL, MARECIA             NJ - USDC for the District of New Jersey   3:21-cv-07875         ONDERLAW, LLC
GILL, SHEILA              NJ - USDC for the District of New Jersey   3:21-cv-05746         ONDERLAW, LLC
GILL, TINA                NJ - USDC for the District of New Jersey   3:18-cv-10951         ONDERLAW, LLC
GILLESPIE, DIANA          NJ - USDC for the District of New Jersey   3:21-cv-03951         ONDERLAW, LLC
GILLETTE, JANEAN          NJ - USDC for the District of New Jersey   3:19-cv-16177         ONDERLAW, LLC
GILLIAM, DOTTIE           NJ - USDC for the District of New Jersey   3:21-cv-03755         ONDERLAW, LLC
GILLILAND, CINDY          NJ - USDC for the District of New Jersey   3:20-cv-05312         ONDERLAW, LLC
GILLINGHAM, CINDY         NJ - USDC for the District of New Jersey   3:18-cv-10061         ONDERLAW, LLC




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          Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
GILLINGS-SUAZO, TIYANA    NJ - USDC for the District of New Jersey   3:21-cv-03418         ONDERLAW, LLC
GILLIS, ANN               NJ - USDC for the District of New Jersey   3:19-cv-13125         ONDERLAW, LLC
GILLIS, HELEN             NJ - USDC for the District of New Jersey   3:19-cv-10347         ONDERLAW, LLC
GILLIS, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-16853         ONDERLAW, LLC
GILLIS, NORA              NJ - USDC for the District of New Jersey   3:21-cv-01931         ONDERLAW, LLC
GILMORE, APRIL            NJ - USDC for the District of New Jersey   3:17-cv-10059         ONDERLAW, LLC
GILMORE, JAWANIKA         NJ - USDC for the District of New Jersey   3:21-cv-07287         ONDERLAW, LLC
GILTNER, BERDINE          NJ - USDC for the District of New Jersey   3:20-cv-20328         ONDERLAW, LLC
GILZEAN, MONICA           NJ - USDC for the District of New Jersey   3:21-cv-06723         ONDERLAW, LLC
GINSBURG, TINA            GA - State Court of Gwinnett County        18C039922             ONDERLAW, LLC
GIORDANO, ESTELLE         NJ - USDC for the District of New Jersey   3:21-cv-02492         ONDERLAW, LLC
GIOVANNI, ANGELICA        NJ - USDC for the District of New Jersey   3:18-cv-11747         ONDERLAW, LLC
GIPSON, REGINA            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
GIRARD, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-08885         ONDERLAW, LLC
GITTENS, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-05823         ONDERLAW, LLC
GIVEN, KATHERINE          NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
GLADSTONE, KATHLEEN       NJ - USDC for the District of New Jersey   3:21-cv-09740         ONDERLAW, LLC
GLANCY, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-04877         ONDERLAW, LLC
GLANZ, KAREN              MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
GLASER, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-02797         ONDERLAW, LLC
GLASSCOCK, DEBRA          NJ - USDC for the District of New Jersey   3:19-cv-07231         ONDERLAW, LLC
GLASSTANG, MARY           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
GLAVA, DARLENE            NJ - USDC for the District of New Jersey   3:21-cv-09188         ONDERLAW, LLC
GLAZER, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-01451         ONDERLAW, LLC
GLEASON, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-08890         ONDERLAW, LLC
GLEBA, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-01561         ONDERLAW, LLC
GLENN, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-04435         ONDERLAW, LLC
GLESS-GREEN, HOLLY        NJ - USDC for the District of New Jersey   3:21-cv-09648         ONDERLAW, LLC
GLICK, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-05893         ONDERLAW, LLC
GLOVER, VIOLA             NJ - USDC for the District of New Jersey   3:21-cv-03602         ONDERLAW, LLC
GOAD, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-17801         ONDERLAW, LLC
GOCHENAUR, PAMELA         NJ - USDC for the District of New Jersey   3:21-cv-08886         ONDERLAW, LLC
GODDARD, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-06133         ONDERLAW, LLC
GODFREY, NATALIE          NJ - USDC for the District of New Jersey   3:21-cv-10218         ONDERLAW, LLC
GODSON, FELICIA           NJ - USDC for the District of New Jersey   3:21-cv-03776         ONDERLAW, LLC
GODWIN, MARY              MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
GOEHRING, TAMMY           NJ - USDC for the District of New Jersey   3:21-cv-01563         ONDERLAW, LLC
GOELZ, JANET              NJ - USDC for the District of New Jersey   3:21-cv-09687         ONDERLAW, LLC
GOENS, AMY                MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
GOERTZ, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-19771         ONDERLAW, LLC
GOESSLER, MARY            NJ - USDC for the District of New Jersey   3:19-cv-21173         ONDERLAW, LLC
GOETZE, WENDY             NJ - USDC for the District of New Jersey   3:21-cv-08270         ONDERLAW, LLC
GOFF, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-08089         ONDERLAW, LLC
GOFFINET, TERRY           NJ - USDC for the District of New Jersey   3:21-cv-17980         ONDERLAW, LLC
GOFORTH, ANGELA           NJ - USDC for the District of New Jersey   3:17-cv-09895         ONDERLAW, LLC
GOINES, CASSIE            NJ - USDC for the District of New Jersey   3:21-cv-03091         ONDERLAW, LLC
GOINES, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
GOINS, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-13897         ONDERLAW, LLC
GOINS, KIM                NJ - USDC for the District of New Jersey   3:21-cv-01343         ONDERLAW, LLC
GOLD, CAROL               NJ - USDC for the District of New Jersey   3:19-cv-14400         ONDERLAW, LLC
GOLDSBOROUGH, DOLORES     NJ - USDC for the District of New Jersey   3:19-cv-09076         ONDERLAW, LLC
GOLDSMITH, ELAINE         NJ - USDC for the District of New Jersey   3:21-cv-18135         ONDERLAW, LLC
GOLDSTEIN, LINDA          NJ - USDC for the District of New Jersey   3:19-cv-20773         ONDERLAW, LLC
GOLDSTEIN, LORRAINE       NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
GOLDSTEIN, MICHELLE       NJ - USDC for the District of New Jersey   3:18-cv-08696         ONDERLAW, LLC
GOLDSTON, DOLLY           NJ - USDC for the District of New Jersey   3:21-cv-07505         ONDERLAW, LLC
GOLSTON, MARQUETTA        NJ - USDC for the District of New Jersey   3:21-cv-02163         ONDERLAW, LLC
GOMES, JENNIFER           NJ - USDC for the District of New Jersey   3:18-cv-08697         ONDERLAW, LLC
GOMEZ, ESTELA             NJ - USDC for the District of New Jersey   3:21-cv-09470         ONDERLAW, LLC
GOMEZ, JOANN              NJ - USDC for the District of New Jersey   3:21-cv-18134         ONDERLAW, LLC
GOMEZ, LIDA               NJ - USDC for the District of New Jersey   3:21-cv-08140         ONDERLAW, LLC
GONSALVES, GEORGIANN      NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
GONZALES, ANNETTE         NJ - USDC for the District of New Jersey   3:19-cv-07233         ONDERLAW, LLC
GONZALES, BARBARA         MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
GONZALES, CARMEN          MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
GONZALES, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-17448         ONDERLAW, LLC
GONZALES, FRANCES         NJ - USDC for the District of New Jersey   3:21-cv-06526         ONDERLAW, LLC
GONZALES, JAMIE           MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
GONZALES, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-07167         ONDERLAW, LLC
GONZALES, ROSE            NJ - USDC for the District of New Jersey   3:21-cv-08693         ONDERLAW, LLC
GONZALES, SIRIA           NJ - USDC for the District of New Jersey   3:21-cv-01529         ONDERLAW, LLC
GONZALEZ, ANA             NJ - USDC for the District of New Jersey   3:21-cv-04660         ONDERLAW, LLC
GONZALEZ, CARMEN          NJ - USDC for the District of New Jersey   3:19-cv-12563         ONDERLAW, LLC
GONZALEZ, DENISE          NJ - USDC for the District of New Jersey   3:21-cv-08957         ONDERLAW, LLC
GONZALEZ, JENNIE          NJ - USDC for the District of New Jersey   3:19-cv-20858         ONDERLAW, LLC
GONZALEZ, KIM             NJ - USDC for the District of New Jersey   3:21-cv-09360         ONDERLAW, LLC
GONZALEZ, MAYRA           NJ - USDC for the District of New Jersey   3:21-cv-02268         ONDERLAW, LLC
GONZALEZ, SANJUANA        NJ - USDC for the District of New Jersey   3:20-cv-00309         ONDERLAW, LLC
GOOCEY, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-16121         ONDERLAW, LLC
GOOD, CASSAUNDRA          NJ - USDC for the District of New Jersey   3:20-cv-18764         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GOOD, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-18058         ONDERLAW, LLC
GOODE, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-20576         ONDERLAW, LLC
GOODE, CINDY              NJ - USDC for the District of New Jersey   3:20-cv-06969         ONDERLAW, LLC
GOODE, HATTIE             NJ - USDC for the District of New Jersey   3:21-cv-05731         ONDERLAW, LLC
GOODE, OLIVIA             NJ - USDC for the District of New Jersey   3:21-cv-03107         ONDERLAW, LLC
GOODE, PAULA              NJ - USDC for the District of New Jersey   3:19-cv-07280         ONDERLAW, LLC
GOODE, WENDY              MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
GOODEN, CATHERINE         MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
GOODIN, DIANE             MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
GOODMAN, MERRYAN          NJ - USDC for the District of New Jersey   3:21-cv-17505         ONDERLAW, LLC
GOODRICH, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-15552         ONDERLAW, LLC
GOODRICH, RUTH            NJ - USDC for the District of New Jersey   3:21-cv-06496         ONDERLAW, LLC
GOODSON, KELLY            NJ - USDC for the District of New Jersey   3:21-cv-08732         ONDERLAW, LLC
GOODSON, RENEE            NJ - USDC for the District of New Jersey   3:21-cv-05317         ONDERLAW, LLC
GOODWIN, RITA             NJ - USDC for the District of New Jersey   3:20-cv-20578         ONDERLAW, LLC
GOODYKOONTZ, NATALIE      NJ - USDC for the District of New Jersey   3:21-cv-01533         ONDERLAW, LLC
GOOSBY, EMMA              NJ - USDC for the District of New Jersey   3:21-cv-05467         ONDERLAW, LLC
GORDEN, TRACY             NJ - USDC for the District of New Jersey   3:21-cv-08217         ONDERLAW, LLC
GORDON, ANTIONIA          NJ - USDC for the District of New Jersey   3:21-cv-04149         ONDERLAW, LLC
GORDON, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-05720         ONDERLAW, LLC
GORDON, CANDACE           NJ - USDC for the District of New Jersey   3:21-cv-04436         ONDERLAW, LLC
GORDON, CARRIE            NJ - USDC for the District of New Jersey   3:21-cv-08773         ONDERLAW, LLC
GORDON, FREYA             NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
GORDON, JEANNE            MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
GORDON, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-06669         ONDERLAW, LLC
GORDON, MARIA             NJ - USDC for the District of New Jersey   3:17-cv-11196         ONDERLAW, LLC
GORDON, NIKOLINA          MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
GORDON-MONSOUR, CHERIE    NJ - USDC for the District of New Jersey   3:21-cv-02065         ONDERLAW, LLC
GORGONA, JUANITA          NJ - USDC for the District of New Jersey   3:21-cv-05001         ONDERLAW, LLC
GORHAM, EMMA              NJ - USDC for the District of New Jersey   3:21-cv-06734         ONDERLAW, LLC
GORKA-DUDEK, KATHERINE    NJ - USDC for the District of New Jersey   3:21-cv-10221         ONDERLAW, LLC
GORLINSKI, KATHLEEN       NJ - USDC for the District of New Jersey   3:21-cv-08137         ONDERLAW, LLC
GORMAN, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-05159         ONDERLAW, LLC
GORNEAU, ANITA            NJ - USDC for the District of New Jersey   3:21-cv-06171         ONDERLAW, LLC
GORNY, KATHLEEN           NJ - USDC for the District of New Jersey   3:21-cv-08998         ONDERLAW, LLC
GORRELL, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-08604         ONDERLAW, LLC
GORSKI, MARY              NJ - USDC for the District of New Jersey   3:21-cv-10223         ONDERLAW, LLC
GORTAREZ, RACHEL          MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
GORZ, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-03342         ONDERLAW, LLC
GOSMAN, ERIN              NJ - USDC for the District of New Jersey   3:18-cv-03178         ONDERLAW, LLC
GOSS, LEAH                NJ - USDC for the District of New Jersey   3:20-cv-04294         ONDERLAW, LLC
GOSSETT, JESSIE           NJ - USDC for the District of New Jersey   3:21-cv-08622         ONDERLAW, LLC
GOUDEAU, RETA             NJ - USDC for the District of New Jersey   3:21-cv-08720         ONDERLAW, LLC
GOUGH, NICOLE             NJ - USDC for the District of New Jersey   3:21-cv-12371         ONDERLAW, LLC
GOUR, TIFFINY             NJ - USDC for the District of New Jersey   3:21-cv-09548         ONDERLAW, LLC
GOURDINE, RUTH            NJ - USDC for the District of New Jersey   3:21-cv-07501         ONDERLAW, LLC
GOUVEIA, LISA             NJ - USDC for the District of New Jersey   3:20-cv-14664         ONDERLAW, LLC
GOVEIA, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-09182         ONDERLAW, LLC
GOWTON, VICTORIA          NJ - USDC for the District of New Jersey   3:21-cv-05152         ONDERLAW, LLC
GRADY, VICTORIA           NJ - USDC for the District of New Jersey   3:19-cv-10154         ONDERLAW, LLC
GRAFMYER, NIMNON          NJ - USDC for the District of New Jersey   3:21-cv-06309         ONDERLAW, LLC
GRAHAM, CONSTANCE         NJ - USDC for the District of New Jersey   3:21-cv-08736         ONDERLAW, LLC
GRAHAM, GAYLE             NJ - USDC for the District of New Jersey   3:17-cv-07933         ONDERLAW, LLC
GRAHAM, JENNIFER          NJ - USDC for the District of New Jersey   3:19-cv-04416         ONDERLAW, LLC
GRAHAM, JULIE             NJ - USDC for the District of New Jersey   3:17-cv-09515         ONDERLAW, LLC
GRAHAM, KATHLEEN          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
GRAHAM, LIKEESHA          NJ - USDC for the District of New Jersey   3:21-cv-06093         ONDERLAW, LLC
GRAHAM, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-03505         ONDERLAW, LLC
GRAHAM, MARY              NJ - USDC for the District of New Jersey   3:20-cv-20313         ONDERLAW, LLC
GRAHAM, TERRI             NJ - USDC for the District of New Jersey   3:18-cv-09364         ONDERLAW, LLC
GRALEWSKI, CATHY          NJ - USDC for the District of New Jersey   3:21-cv-04819         ONDERLAW, LLC
GRAMENZ, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-07227         ONDERLAW, LLC
GRAMUGLIA, CARMELA        NJ - USDC for the District of New Jersey   3:17-cv-00798         ONDERLAW, LLC
GRANBERRY, BOBY           NJ - USDC for the District of New Jersey   3:21-cv-01453         ONDERLAW, LLC
GRANNAN, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-06979         ONDERLAW, LLC
GRANNON, LEE              NJ - USDC for the District of New Jersey   3:18-cv-10064         ONDERLAW, LLC
GRANT, DORTE              NJ - USDC for the District of New Jersey   3:19-cv-13551         ONDERLAW, LLC
GRANT, MELINDA            NJ - USDC for the District of New Jersey   3:17-cv-11121         ONDERLAW, LLC
GRANT, RENEE              MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
GRANT-HATHAWAY, DIANE     NJ - USDC for the District of New Jersey   3:21-cv-08547         ONDERLAW, LLC
GRASMAN, MARYANN          NJ - USDC for the District of New Jersey   3:21-cv-07502         ONDERLAW, LLC
GRATER, BENAY             NJ - USDC for the District of New Jersey   3:19-cv-09207         ONDERLAW, LLC
GRAVELINE, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-07943         ONDERLAW, LLC
GRAVES, KRISTIE           NJ - USDC for the District of New Jersey   3:21-cv-03860         ONDERLAW, LLC
GRAY, ADA                 NJ - USDC for the District of New Jersey   3:21-cv-07540         ONDERLAW, LLC
GRAY, BRENDA              NJ - USDC for the District of New Jersey   3:17-cv-09114         ONDERLAW, LLC
GRAY, DELLA               NJ - USDC for the District of New Jersey   3:21-cv-04994         ONDERLAW, LLC
GRAY, DONA                NJ - USDC for the District of New Jersey   3:21-cv-04635         ONDERLAW, LLC
GRAY, EARNESTINE          NJ - USDC for the District of New Jersey   3:21-cv-06833         ONDERLAW, LLC
GRAY, JACQUELINE          NJ - USDC for the District of New Jersey   3:17-cv-09879         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
GRAY, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-03778         ONDERLAW, LLC
GRAY, KATHY                NJ - USDC for the District of New Jersey   3:19-cv-09589         ONDERLAW, LLC
GRAY, LORENE               NJ - USDC for the District of New Jersey   3:17-cv-10003         ONDERLAW, LLC
GRAY, MABLE                NJ - USDC for the District of New Jersey   3:17-cv-08499         ONDERLAW, LLC
GRAY, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-08824         ONDERLAW, LLC
GRAY, ROSA                 NJ - USDC for the District of New Jersey   3:21-cv-05076         ONDERLAW, LLC
GRAY, SARAH                NJ - USDC for the District of New Jersey   3:21-cv-08845         ONDERLAW, LLC
GRAY, SUSAN                NJ - USDC for the District of New Jersey   3:18-cv-02928         ONDERLAW, LLC
GRAY, VELMA                NJ - USDC for the District of New Jersey   3:21-cv-05765         ONDERLAW, LLC
GRAY, YOLANDA              NJ - USDC for the District of New Jersey   3:21-cv-18043         ONDERLAW, LLC
GRAYSON, KATHRYN           NJ - USDC for the District of New Jersey   3:21-cv-03697         ONDERLAW, LLC
GREANY, CHRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-16854         ONDERLAW, LLC
GRECO, JUDITH              NJ - USDC for the District of New Jersey   3:19-cv-14050         ONDERLAW, LLC
GRECO, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-09928         ONDERLAW, LLC
GREEAR, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-08654         ONDERLAW, LLC
GREEN, ALETA               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
GREEN, ALICE               NJ - USDC for the District of New Jersey   3:17-cv-00799         ONDERLAW, LLC
GREEN, ANNETTE             NJ - USDC for the District of New Jersey   3:21-cv-05085         ONDERLAW, LLC
GREEN, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-06417         ONDERLAW, LLC
GREEN, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-16856         ONDERLAW, LLC
GREEN, DORI-ANNE           NJ - USDC for the District of New Jersey   3:18-cv-01358         ONDERLAW, LLC
GREEN, GERTRUDE            NJ - USDC for the District of New Jersey   3:21-cv-02975         ONDERLAW, LLC
GREEN, GLADYS              NJ - USDC for the District of New Jersey   3:21-cv-06894         ONDERLAW, LLC
GREEN, JANET               NJ - USDC for the District of New Jersey   3:18-cv-17359         ONDERLAW, LLC
GREEN, JAYME               NJ - USDC for the District of New Jersey   3:18-cv-03126         ONDERLAW, LLC
GREEN, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-07239         ONDERLAW, LLC
GREEN, RUTH                NJ - USDC for the District of New Jersey   3:21-cv-05818         ONDERLAW, LLC
GREEN, SUSAN               NJ - USDC for the District of New Jersey   3:17-cv-09683         ONDERLAW, LLC
GREEN, TERRI               NJ - USDC for the District of New Jersey   3:21-cv-18102         ONDERLAW, LLC
GREEN, TRACI               NJ - USDC for the District of New Jersey   3:21-cv-02610         ONDERLAW, LLC
GREEN, VIRGINIA            NJ - USDC for the District of New Jersey   3:20-cv-14945         ONDERLAW, LLC
GREENE, INA                NJ - USDC for the District of New Jersey   3:19-cv-01127         ONDERLAW, LLC
GREENE, JANICE             NJ - USDC for the District of New Jersey   3:18-cv-13482         ONDERLAW, LLC
GREENE, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-10224         ONDERLAW, LLC
GREENE, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-08335         ONDERLAW, LLC
GREENE, MARY               NJ - USDC for the District of New Jersey   3:21-cv-10225         ONDERLAW, LLC
GREENE, REGENIA            NJ - USDC for the District of New Jersey   3:20-cv-13783         ONDERLAW, LLC
GREENE, STACI              NJ - USDC for the District of New Jersey   3:21-cv-05190         ONDERLAW, LLC
GREENER, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-02464         ONDERLAW, LLC
GREENFIELD, PAMELA         NJ - USDC for the District of New Jersey   3:18-cv-15737         ONDERLAW, LLC
GREEN-HINES, YOLANDA       NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
GREEN-NEWMAN, CARMEN       MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
GREENWALD, DANA            NJ - USDC for the District of New Jersey   3:21-cv-04033         ONDERLAW, LLC
GREENWALD, MARY            NJ - USDC for the District of New Jersey   3:18-cv-16631         ONDERLAW, LLC
GREENWOOD, LOIS            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
GREER, TONYA               NJ - USDC for the District of New Jersey   3:21-cv-01541         ONDERLAW, LLC
GREGORY, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-18442         ONDERLAW, LLC
GREGORY, CACILIA           NJ - USDC for the District of New Jersey   3:21-cv-06484         ONDERLAW, LLC
GREGORY, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
GREGORY, KATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-15457         ONDERLAW, LLC
GREGORY, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-07997         ONDERLAW, LLC
GREGORY, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-07078         ONDERLAW, LLC
GREGORY, VICKI             NJ - USDC for the District of New Jersey   3:17-cv-11106         ONDERLAW, LLC
GRENIER, CECILE            NJ - USDC for the District of New Jersey   3:21-cv-05932         ONDERLAW, LLC
GRENIER, JANICE            NJ - USDC for the District of New Jersey   3:21-cv-08669         ONDERLAW, LLC
GRESHAM, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09233         ONDERLAW, LLC
GRESS, NICOLE              NJ - USDC for the District of New Jersey   3:19-cv-21243         ONDERLAW, LLC
GRETCHEN, DILLON           NJ - USDC for the District of New Jersey   3:21-cv-04178         ONDERLAW, LLC
GREWE, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-04372         ONDERLAW, LLC
GREY, JEANETTE             NJ - USDC for the District of New Jersey   3:19-cv-19635         ONDERLAW, LLC
GREY, ROBERTA              NJ - USDC for the District of New Jersey   3:20-cv-20296         ONDERLAW, LLC
GRIEBEL, LYNNE             NJ - USDC for the District of New Jersey   3:19-cv-13122         ONDERLAW, LLC
GRIER, ELLEN               NJ - USDC for the District of New Jersey   3:17-cv-10578         ONDERLAW, LLC
GRIFFEY, MONICA            NJ - USDC for the District of New Jersey   3:19-cv-21862         ONDERLAW, LLC
GRIFFIN, ANNETTE           NJ - USDC for the District of New Jersey   3:21-cv-06367         ONDERLAW, LLC
GRIFFIN, CARRESAL          NJ - USDC for the District of New Jersey   3:21-cv-02360         ONDERLAW, LLC
GRIFFIN, JEAN              NJ - USDC for the District of New Jersey   3:19-cv-13534         ONDERLAW, LLC
GRIFFIN, JULIA             NJ - USDC for the District of New Jersey   3:21-cv-03842         ONDERLAW, LLC
GRIFFIN, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-11745         ONDERLAW, LLC
GRIFFIN, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-20583         ONDERLAW, LLC
GRIFFIN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-07396         ONDERLAW, LLC
GRIFFIN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-04439         ONDERLAW, LLC
GRIFFIN, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-20601         ONDERLAW, LLC
GRIFFIN, PATTI             NJ - USDC for the District of New Jersey   3:20-cv-07827         ONDERLAW, LLC
GRIFFIN, RACHEL            NJ - USDC for the District of New Jersey   3:21-cv-03784         ONDERLAW, LLC
GRIFFITH, JULIA            MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
GRIFFITH, LAFRANCIS        NJ - USDC for the District of New Jersey   3:18-cv-12229         ONDERLAW, LLC
GRIFFITH, MARYANN          NJ - USDC for the District of New Jersey   3:20-cv-15434         ONDERLAW, LLC
GRIFFITHS, BRENDA          NJ - USDC for the District of New Jersey   3:20-cv-18326         ONDERLAW, LLC
GRIFFITHS, FAITH           NJ - USDC for the District of New Jersey   3:19-cv-19924         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
GRIGNON, PRISCILLA       NJ - USDC for the District of New Jersey   3:19-cv-16359             ONDERLAW, LLC
GRIGSBY, CHARLENE        NJ - USDC for the District of New Jersey   3:21-cv-07170             ONDERLAW, LLC
                                                                    30-2017-00952930-CU-PL-
GRIJALVA, LAUREN         CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                    CXC
GRIJALVA, LAUREN         NJ - USDC for the District of New Jersey   3:17-cv-02394             ONDERLAW, LLC
GRILLO, DEBRAH           NJ - USDC for the District of New Jersey   3:17-cv-08336             ONDERLAW, LLC
GRIMALDO, MARIA          NJ - USDC for the District of New Jersey   3:21-cv-02911             ONDERLAW, LLC
GRIMES, DEBRA            NJ - USDC for the District of New Jersey   3:18-cv-07023             ONDERLAW, LLC
GRIMES, NORMA            NJ - USDC for the District of New Jersey   3:21-cv-07389             ONDERLAW, LLC
GRIMES, SHARON BENNETT   NJ - USDC for the District of New Jersey   3:20-cv-03268             ONDERLAW, LLC
GRINDLE, KRISTEN         NJ - USDC for the District of New Jersey   3:17-cv-09880             ONDERLAW, LLC
GRINNELL, HOLLY          NJ - USDC for the District of New Jersey   3:19-cv-06936             ONDERLAW, LLC
GRONER, TERA             NJ - USDC for the District of New Jersey   3:21-cv-07152             ONDERLAW, LLC
GROOME, SHARON           MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
GROSS, ABBE              NJ - USDC for the District of New Jersey   3:19-cv-21928             ONDERLAW, LLC
GROSS, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-17906             ONDERLAW, LLC
GROSS, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-08606             ONDERLAW, LLC
GROSS, EDITH             NJ - USDC for the District of New Jersey   3:20-cv-12690             ONDERLAW, LLC
GROSS, KATIE             NJ - USDC for the District of New Jersey   3:17-cv-09934             ONDERLAW, LLC
GROSS, KIMBERLY          NJ - USDC for the District of New Jersey   3:18-cv-10066             ONDERLAW, LLC
GROSS, SONIA             NJ - USDC for the District of New Jersey   3:20-cv-01452             ONDERLAW, LLC
GROSSHAUSER, JOAN        NJ - USDC for the District of New Jersey   3:21-cv-06835             ONDERLAW, LLC
GROSVENOR, BRIDGET       NJ - USDC for the District of New Jersey   3:21-cv-09418             ONDERLAW, LLC
GROVE, LAKITA            NJ - USDC for the District of New Jersey   3:20-cv-20605             ONDERLAW, LLC
GROVES, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-09160             ONDERLAW, LLC
GROWE, VIOLETTE          NJ - USDC for the District of New Jersey   3:21-cv-01191             ONDERLAW, LLC
GRUALY-MALDONADO, LARA   MO - Circuit Court - City of St. Louis     1522-CC-09792             ONDERLAW, LLC
GRUBA, JULIE             NJ - USDC for the District of New Jersey   3:21-cv-09643             ONDERLAW, LLC
GRUBB, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-07148             ONDERLAW, LLC
GRUNDEN, MELINDA         NJ - USDC for the District of New Jersey   3:20-cv-15596             ONDERLAW, LLC
GRYCUK, WANDA            NJ - USDC for the District of New Jersey   3:21-cv-03367             ONDERLAW, LLC
GUAJARDO, DEANNA         NJ - USDC for the District of New Jersey   3:21-cv-01186             ONDERLAW, LLC
GUALTIERI, LISA          NJ - USDC for the District of New Jersey   3:19-cv-16111             ONDERLAW, LLC
GUARD, LOUISA            NJ - USDC for the District of New Jersey   3:20-cv-01276             ONDERLAW, LLC
GUARDADO, MONICA         NJ - USDC for the District of New Jersey   3:21-cv-08867             ONDERLAW, LLC
GUARDADO, SHELLEY        NJ - USDC for the District of New Jersey   3:19-cv-15611             ONDERLAW, LLC
GUCCIARDO, BEVERLY       NJ - USDC for the District of New Jersey   3:21-cv-03898             ONDERLAW, LLC
GUERRA, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-03227             ONDERLAW, LLC
GUERRA, CARMELA          NJ - USDC for the District of New Jersey   3:17-cv-09468             ONDERLAW, LLC
GUERRA, DOLORES          NJ - USDC for the District of New Jersey   3:19-cv-12037             ONDERLAW, LLC
GUERRA-SAMUEL, MAYDA     NJ - USDC for the District of New Jersey   3:20-cv-20628             ONDERLAW, LLC
GUERRERO, KIMBERLY       NJ - USDC for the District of New Jersey   3:21-cv-10226             ONDERLAW, LLC
GUERRERO, MELINDA        NJ - USDC for the District of New Jersey   3:21-cv-04340             ONDERLAW, LLC
GUESNIER, HILLARY        NJ - USDC for the District of New Jersey   3:21-cv-07803             ONDERLAW, LLC
GUEST, PHYLLIS           NJ - USDC for the District of New Jersey   3:17-cv-09297             ONDERLAW, LLC
GUEVARA, SARITA          NJ - USDC for the District of New Jersey   3:20-cv-10867             ONDERLAW, LLC
GUIDRY, KEISHAWN         NJ - USDC for the District of New Jersey   3:21-cv-16771             ONDERLAW, LLC
GUILLAUME, CHRISTINE     MO - Circuit Court - City of St. Louis     1622-CC00134              ONDERLAW, LLC
GUILLEN, ELIDA           NJ - USDC for the District of New Jersey   3:20-cv-07092             ONDERLAW, LLC
GUILLORY, SHANIQUA       NJ - USDC for the District of New Jersey   3:21-cv-08344             ONDERLAW, LLC
GUILLOT, PEARL           NJ - USDC for the District of New Jersey   3:21-cv-05637             ONDERLAW, LLC
GUITY, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-01276             ONDERLAW, LLC
GULLETTE, VERNA          NJ - USDC for the District of New Jersey   3:17-cv-10554             ONDERLAW, LLC
GULLEY, SHEILA           NJ - USDC for the District of New Jersey   3:21-cv-05974             ONDERLAW, LLC
GUMPERT, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-05049             ONDERLAW, LLC
GUNTER, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-09743             ONDERLAW, LLC
GURGANUS, MARILYN        MO - Circuit Court - City of St. Louis     1522-CC-09792             ONDERLAW, LLC
GURLEY, EARLINE          NJ - USDC for the District of New Jersey   3:21-cv-06708             ONDERLAW, LLC
GURLEY, MARY             NJ - USDC for the District of New Jersey   3:21-cv-17056             ONDERLAW, LLC
GUSE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-08936             ONDERLAW, LLC
GUST, MARSHA             NJ - USDC for the District of New Jersey   3:21-cv-08262             ONDERLAW, LLC
GUSTMAN, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-09854             ONDERLAW, LLC
GUTIERREZ, CHRISTINE     NJ - USDC for the District of New Jersey   3:19-cv-20044             ONDERLAW, LLC
GUTIERREZ, LUCY          NJ - USDC for the District of New Jersey   3:18-cv-14889             ONDERLAW, LLC
GUTSHALL, NANCY          NJ - USDC for the District of New Jersey   3:21-cv-06403             ONDERLAW, LLC
GUY, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-03228             ONDERLAW, LLC
GUY, TRESSA              NJ - USDC for the District of New Jersey   3:21-cv-09284             ONDERLAW, LLC
GUYETTE, TERESA          NJ - USDC for the District of New Jersey   3:18-cv-17805             ONDERLAW, LLC
GUZMAN, HILDA            NJ - USDC for the District of New Jersey   3:21-cv-09116             ONDERLAW, LLC
GUZMAN, JUDY             NJ - USDC for the District of New Jersey   3:21-cv-03479             ONDERLAW, LLC
GUZMAN, MARIA            NJ - USDC for the District of New Jersey   3:18-cv-17806             ONDERLAW, LLC
GYORY, ESTER             NJ - USDC for the District of New Jersey   3:21-cv-08290             ONDERLAW, LLC
HAACK, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-01184             ONDERLAW, LLC
HAAG, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-00945             ONDERLAW, LLC
HAAS, JOANNE             MO - Circuit Court - City of St. Louis     1822-CC11533              ONDERLAW, LLC
HAAS, JOANNE             NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
HACHEM, FATME            MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
HACKETT, VEOLA           NJ - USDC for the District of New Jersey   3:21-cv-07247             ONDERLAW, LLC
HACKLEY, CLARA           NJ - USDC for the District of New Jersey   3:21-cv-06374             ONDERLAW, LLC
HACKMAN, ANGELA          NJ - USDC for the District of New Jersey   3:21-cv-02190             ONDERLAW, LLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
HADA, JYOSTNA               NJ - USDC for the District of New Jersey   3:18-cv-05921         ONDERLAW, LLC
HADDEN, MAUREEN             NJ - USDC for the District of New Jersey   3:21-cv-05943         ONDERLAW, LLC
HADLEY, DANA                NJ - USDC for the District of New Jersey   3:18-cv-16093         ONDERLAW, LLC
HAEHL, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-06058         ONDERLAW, LLC
HAEMMERLE, SANTINA          NJ - USDC for the District of New Jersey   3:21-cv-08101         ONDERLAW, LLC
HAFFORD, ETTA               NJ - USDC for the District of New Jersey   3:18-cv-10067         ONDERLAW, LLC
HAGAN, HEATHER              NJ - USDC for the District of New Jersey   3:21-cv-10235         ONDERLAW, LLC
HAGAN, LEONA                MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
HAGAN, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-17506         ONDERLAW, LLC
HAGAN, VIRGINIA             NJ - USDC for the District of New Jersey   3:17-cv-09896         ONDERLAW, LLC
HAGEMANN, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-10237         ONDERLAW, LLC
HAGEN, STACIE               NJ - USDC for the District of New Jersey   3:20-cv-06169         ONDERLAW, LLC
HAGER, SUZANNE              NJ - USDC for the District of New Jersey   3:21-cv-09338         ONDERLAW, LLC
HAGERMAN, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-07643         ONDERLAW, LLC
HAGGARD, ISABEL             NJ - USDC for the District of New Jersey   3:21-cv-04374         ONDERLAW, LLC
HAGGERTY, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-05116         ONDERLAW, LLC
HAGLER, JEAN                NJ - USDC for the District of New Jersey   3:20-cv-13775         ONDERLAW, LLC
HAIGHT, MARJORIE            NJ - USDC for the District of New Jersey   3:21-cv-12372         ONDERLAW, LLC
HAILE, SHEILA               MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
HAILS, ANNE                 MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
HAINES, HAROLYN             NJ - USDC for the District of New Jersey   3:20-cv-13776         ONDERLAW, LLC
HAKE, ROSALIE               MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HALAY, RENEE                NJ - USDC for the District of New Jersey   3:21-cv-04883         ONDERLAW, LLC
HALBAUER, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-06497         ONDERLAW, LLC
HALBERT, RENEE              NJ - USDC for the District of New Jersey   3:21-cv-07091         ONDERLAW, LLC
HALBERT, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-09158         ONDERLAW, LLC
HALE, BETTY                 NJ - USDC for the District of New Jersey   3:19-cv-21929         ONDERLAW, LLC
HALE, IMOJEAN               NJ - USDC for the District of New Jersey   3:21-cv-06451         ONDERLAW, LLC
HALEEM, CAROL               NJ - USDC for the District of New Jersey   3:18-cv-13483         ONDERLAW, LLC
HALEY, JANICE               NJ - USDC for the District of New Jersey   3:21-cv-07251         ONDERLAW, LLC
HALEY, JUDY                 NJ - USDC for the District of New Jersey   3:18-cv-02132         ONDERLAW, LLC
HALFHILL, STELLA            NJ - USDC for the District of New Jersey   3:21-cv-02255         ONDERLAW, LLC
HAL-HENDERSON, TONYA        NJ - USDC for the District of New Jersey   3:20-cv-10554         ONDERLAW, LLC
HALL, ANITRA                NJ - USDC for the District of New Jersey   3:21-cv-02290         ONDERLAW, LLC
HALL, ATHENE                NJ - USDC for the District of New Jersey   3:21-cv-08924         ONDERLAW, LLC
HALL, AUDREY                NJ - USDC for the District of New Jersey   3:21-cv-06406         ONDERLAW, LLC
HALL, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-09102         ONDERLAW, LLC
HALL, CANDICE               NJ - USDC for the District of New Jersey   3:19-cv-19772         ONDERLAW, LLC
HALL, CATHY                 NJ - USDC for the District of New Jersey   3:21-cv-07279         ONDERLAW, LLC
HALL, DEBORAH               NJ - USDC for the District of New Jersey   3:18-cv-12717         ONDERLAW, LLC
HALL, DIANA                 MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
HALL, DONNA                 NJ - USDC for the District of New Jersey   3:21-cv-11879         ONDERLAW, LLC
HALL, EDDIE                 NJ - USDC for the District of New Jersey   3:21-cv-04713         ONDERLAW, LLC
HALL, ELIZABETH             NJ - USDC for the District of New Jersey   3:21-cv-08438         ONDERLAW, LLC
HALL, HEATHER               MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
HALL, HEATHER               NJ - USDC for the District of New Jersey   3:21-cv-01804         ONDERLAW, LLC
HALL, IRA                   MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
HALL, KAREN                 NJ - USDC for the District of New Jersey   3:21-cv-09534         ONDERLAW, LLC
HALL, KATHY                 NJ - USDC for the District of New Jersey   3:21-cv-01517         ONDERLAW, LLC
HALL, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-09078         ONDERLAW, LLC
HALL, LORANETTA             NJ - USDC for the District of New Jersey   3:21-cv-03740         ONDERLAW, LLC
HALL, MABLE                 MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
HALL, NADINE                NJ - USDC for the District of New Jersey   3:20-cv-15332         ONDERLAW, LLC
HALL, NANCY                 NJ - USDC for the District of New Jersey   3:21-cv-04103         ONDERLAW, LLC
HALL, NORMA                 MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
HALL, PATRICIA              NJ - USDC for the District of New Jersey   3:21-cv-06409         ONDERLAW, LLC
HALL, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-11633         ONDERLAW, LLC
HALL, SHANDEE               NJ - USDC for the District of New Jersey   3:20-cv-15665         ONDERLAW, LLC
HALL, SHERRY                NJ - USDC for the District of New Jersey   3:20-cv-14595         ONDERLAW, LLC
HALL, TERESA                NJ - USDC for the District of New Jersey   3:18-cv-11076         ONDERLAW, LLC
HALL-BURTON, WANDA          NJ - USDC for the District of New Jersey   3:21-cv-06384         ONDERLAW, LLC
HALLIDAY-CORNELL, FRANCES   NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
HALLMAN, VALENCIA           NJ - USDC for the District of New Jersey   3:21-cv-17514         ONDERLAW, LLC
HALSEY, PEGGY               MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
HALSTEAD, JUNE              NJ - USDC for the District of New Jersey   3:21-cv-09749         ONDERLAW, LLC
HALSTEAD, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-06357         ONDERLAW, LLC
HALTER, AMADA               NJ - USDC for the District of New Jersey   3:21-cv-03900         ONDERLAW, LLC
HAMBRIGHT, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-03065         ONDERLAW, LLC
HAMEL, LINDA                NJ - USDC for the District of New Jersey   3:17-cv-02396         ONDERLAW, LLC
HAMEL, TERESA               NJ - USDC for the District of New Jersey   3:17-cv-11111         ONDERLAW, LLC
HAMILL, LYNNE               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
HAMILTON, ALICE             MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
HAMILTON, ALLEYENE          NJ - USDC for the District of New Jersey   3:21-cv-08150         ONDERLAW, LLC
HAMILTON, ANNE              NJ - USDC for the District of New Jersey   3:19-cv-21931         ONDERLAW, LLC
HAMILTON, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-12373         ONDERLAW, LLC
HAMILTON, CAROLYNA          NJ - USDC for the District of New Jersey   3:21-cv-02226         ONDERLAW, LLC
HAMILTON, KARIN             NJ - USDC for the District of New Jersey   3:19-cv-21930         ONDERLAW, LLC
HAMILTON, OLA               NJ - USDC for the District of New Jersey   3:20-cv-20580         ONDERLAW, LLC
HAMILTON-RODGERS, HOPLE     NJ - USDC for the District of New Jersey   3:21-cv-03108         ONDERLAW, LLC
HAMLET, CAROL               MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC




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          Claimant Name                     State Filed                    Docket Number                   Plaintiff Counsel
HAMLET, URSULA            NJ - USDC for the District of New Jersey   3:21-cv-05262             ONDERLAW, LLC
HAMMERSLEY, BARBARA       NJ - USDC for the District of New Jersey   3:21-cv-17319             ONDERLAW, LLC
HAMMONDS, RENEE           NJ - USDC for the District of New Jersey   3:21-cv-10850             ONDERLAW, LLC
HAMMONS, LISA             NJ - USDC for the District of New Jersey   3:21-cv-04443             ONDERLAW, LLC
HAMPTON, CHRISTY          NJ - USDC for the District of New Jersey   3:21-cv-07303             ONDERLAW, LLC
HAMPTON, ETHELENE         NJ - USDC for the District of New Jersey   3:19-cv-19258             ONDERLAW, LLC
HAMPTON, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-08753             ONDERLAW, LLC
HANAVAN, MARSHA           NJ - USDC for the District of New Jersey   3:17-cv-08737             ONDERLAW, LLC
HANCHULAK, THERESA        NJ - USDC for the District of New Jersey   3:21-cv-10240             ONDERLAW, LLC
HANCOCK, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-09183             ONDERLAW, LLC
HANCOCK, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-08131             ONDERLAW, LLC
HANDELMAN, KIM            MO - Circuit Court - City of St. Louis     1522-CC00613              ONDERLAW, LLC
HANDLEY, WANDA            NJ - USDC for the District of New Jersey   3:19-cv-21487             ONDERLAW, LLC
HANDSHOE, ANNIS           NJ - USDC for the District of New Jersey   3:21-cv-05400             ONDERLAW, LLC
HANES, MARY               NJ - USDC for the District of New Jersey   3:21-cv-05682             ONDERLAW, LLC
HANKINS, JOYCE            NJ - USDC for the District of New Jersey   3:21-cv-07327             ONDERLAW, LLC
HANKINS, TRACY            MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
HANKINS, VANESSA          NJ - USDC for the District of New Jersey   3:20-cv-07271             ONDERLAW, LLC
HANKS, EDNA               NJ - USDC for the District of New Jersey   3:21-cv-09055             ONDERLAW, LLC
HANMER, EDNA              NJ - USDC for the District of New Jersey   3:21-cv-07518             ONDERLAW, LLC
HANNA, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-00844             ONDERLAW, LLC
HANNAH, DAWN              MO - Circuit Court - City of St. Louis     1722-CC10745              ONDERLAW, LLC
HANNIGAN, DEYANIRA        MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
HANSEN, CINDY             NJ - USDC for the District of New Jersey   3:21-cv-09126             ONDERLAW, LLC
HANSEN, ELSIE             NJ - USDC for the District of New Jersey   3:21-cv-09207             ONDERLAW, LLC
HANSEN, JO-ANN            NJ - USDC for the District of New Jersey   3:21-cv-04919             ONDERLAW, LLC
HANSEN, KATHIE            NJ - USDC for the District of New Jersey   3:19-cv-15549             ONDERLAW, LLC
HANSEN, NANCI             MO - Circuit Court - City of St. Louis     1822-CC00237              ONDERLAW, LLC
HANSON, CINDY             NJ - USDC for the District of New Jersey   3:21-cv-04446             ONDERLAW, LLC
HANSON, ELAINE            NJ - USDC for the District of New Jersey   3:21-cv-02295             ONDERLAW, LLC
HANSON, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-03901             ONDERLAW, LLC
HANSON, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17215             ONDERLAW, LLC
HANTON, MADELINE          NJ - USDC for the District of New Jersey   3:21-cv-07653             ONDERLAW, LLC
HAPGOOD, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-02287             ONDERLAW, LLC
HARABUC, VIRGINIA         MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
HARBY, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-07510             ONDERLAW, LLC
HARDAGE, MARY             NJ - USDC for the District of New Jersey   3:21-cv-01148             ONDERLAW, LLC
HARDELL, RUTH             NJ - USDC for the District of New Jersey   3:18-cv-10611             ONDERLAW, LLC
HARDERS, CHRISTINE        NJ - USDC for the District of New Jersey   3:17-cv-10939             ONDERLAW, LLC
HARDESTY, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-01276             ONDERLAW, LLC
HARDESTY, MARY            NJ - USDC for the District of New Jersey   3:21-cv-03553             ONDERLAW, LLC
HARDIN, CHARLOTTE         NJ - USDC for the District of New Jersey   3:17-cv-11183             ONDERLAW, LLC
HARDIN, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-03998             ONDERLAW, LLC
HARDIN, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-20329             ONDERLAW, LLC
HARDIN, STACEY            NJ - USDC for the District of New Jersey   3:21-cv-07933             ONDERLAW, LLC
HARDUNG, WANDA            NJ - USDC for the District of New Jersey   3:18-cv-05672             ONDERLAW, LLC
HARDY, CONCETTA           NJ - USDC for the District of New Jersey   3:21-cv-05570             ONDERLAW, LLC
HARDY, ERAINA             MO - Circuit Court - City of St. Louis     1522-CC00613              ONDERLAW, LLC
HARDY, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-05110             ONDERLAW, LLC
HARDY, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-05110             ONDERLAW, LLC
HARDY, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-05110             ONDERLAW, LLC
HARGETT, JOAN             NJ - USDC for the District of New Jersey   3:18-cv-11738             ONDERLAW, LLC
HARGIS, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-05873             ONDERLAW, LLC
HARGROVE, JENNIFER        NJ - USDC for the District of New Jersey   3:17-cv-00791             ONDERLAW, LLC
HARGROVE, TONI            CA - Superior Court - San Diego County     37-2017-41678-CU-PL-CTL   ONDERLAW, LLC
HARGROVE, TONI            NJ - USDC for the District of New Jersey   3:17-cv-07933             ONDERLAW, LLC
HARLAN, JUDYTH            IL - Circuit Court - Madison County        2015L000084               ONDERLAW, LLC
HARMER, WENDY             NJ - USDC for the District of New Jersey   3:18-cv-12816             ONDERLAW, LLC
HARNESS, CRYSTAL          NJ - USDC for the District of New Jersey   3:18-cv-14699             ONDERLAW, LLC
HARNEY, THERESA           NJ - USDC for the District of New Jersey   3:21-cv-09075             ONDERLAW, LLC
HARPER, ANNETTE           NJ - USDC for the District of New Jersey   3:21-cv-04179             ONDERLAW, LLC
HARPER, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-00483             ONDERLAW, LLC
HARPER, IRENE             NJ - USDC for the District of New Jersey   3:20-cv-16876             ONDERLAW, LLC
HARPER, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-09865             ONDERLAW, LLC
HARPER, SAMARIA           NJ - USDC for the District of New Jersey   3:20-cv-20648             ONDERLAW, LLC
HARPER, WHITNEY           NJ - USDC for the District of New Jersey   3:21-cv-10245             ONDERLAW, LLC
HARRELL, DELORES          NJ - USDC for the District of New Jersey   3:17-cv-13823             ONDERLAW, LLC
HARRELL, MICHELLE         NJ - USDC for the District of New Jersey   3:20-cv-05313             ONDERLAW, LLC
HARRELL, SHERRY           NJ - USDC for the District of New Jersey   3:20-cv-15385             ONDERLAW, LLC
HARRELL, VICKY            NJ - USDC for the District of New Jersey   3:21-cv-05246             ONDERLAW, LLC
HARRER, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-06363             ONDERLAW, LLC
HARRINGTON, JANET         NJ - USDC for the District of New Jersey   3:20-cv-15386             ONDERLAW, LLC
HARRINGTON, ROSE          NJ - USDC for the District of New Jersey   3:21-cv-09236             ONDERLAW, LLC
HARRIS, ANGELA            NJ - USDC for the District of New Jersey   3:19-cv-12035             ONDERLAW, LLC
HARRIS, ANNETTE           NJ - USDC for the District of New Jersey   3:17-cv-10006             ONDERLAW, LLC
HARRIS, AYESHA            NJ - USDC for the District of New Jersey   3:21-cv-04448             ONDERLAW, LLC
HARRIS, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-05891             ONDERLAW, LLC
HARRIS, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-04186             ONDERLAW, LLC
HARRIS, CREOLA            NJ - USDC for the District of New Jersey   3:21-cv-06077             ONDERLAW, LLC
HARRIS, DEBBIE            NJ - USDC for the District of New Jersey   3:21-cv-04766             ONDERLAW, LLC




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          Claimant Name                       State Filed                      Docket Number               Plaintiff Counsel
HARRIS, DEBORAH               MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
HARRIS, DIANE                 NJ - USDC for the District of New Jersey   3:21-cv-07266         ONDERLAW, LLC
HARRIS, DORIS                 NJ - USDC for the District of New Jersey   3:18-cv-12064         ONDERLAW, LLC
HARRIS, ELAINE                NJ - USDC for the District of New Jersey   3:21-cv-02139         ONDERLAW, LLC
HARRIS, GLORIA                NJ - USDC for the District of New Jersey   3:21-cv-08173         ONDERLAW, LLC
HARRIS, JANET                 NJ - USDC for the District of New Jersey   3:21-cv-03493         ONDERLAW, LLC
HARRIS, JARNELL               NJ - USDC for the District of New Jersey   3:21-cv-03839         ONDERLAW, LLC
HARRIS, JAYLYNN               NJ - USDC for the District of New Jersey   3:18-cv-09799         ONDERLAW, LLC
HARRIS, JENNIFER              NJ - USDC for the District of New Jersey   3:17-cv-09298         ONDERLAW, LLC
HARRIS, JOYCE                 MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
HARRIS, JOYCE                 NJ - USDC for the District of New Jersey   3:21-cv-09861         ONDERLAW, LLC
HARRIS, JUDITH                NJ - USDC for the District of New Jersey   3:18-cv-13484         ONDERLAW, LLC
HARRIS, KIMBERLY              MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
HARRIS, LAURA                 NJ - USDC for the District of New Jersey   3:20-cv-14392         ONDERLAW, LLC
HARRIS, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-16859         ONDERLAW, LLC
HARRIS, LISA                  NJ - USDC for the District of New Jersey   3:17-cv-10008         ONDERLAW, LLC
HARRIS, MARION                NJ - USDC for the District of New Jersey   3:21-cv-02593         ONDERLAW, LLC
HARRIS, MILDRED               NJ - USDC for the District of New Jersey   3:17-cv-10512         ONDERLAW, LLC
HARRIS, NATASHA               NJ - USDC for the District of New Jersey   3:21-cv-06159         ONDERLAW, LLC
HARRIS, PATRICIA              NJ - USDC for the District of New Jersey   3:21-cv-03472         ONDERLAW, LLC
HARRIS, RACHAEL               NJ - USDC for the District of New Jersey   3:21-cv-09417         ONDERLAW, LLC
HARRIS, RITA                  MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
HARRIS, ROBIN                 NJ - USDC for the District of New Jersey   3:21-cv-05792         ONDERLAW, LLC
HARRIS, ROSIE                 NJ - USDC for the District of New Jersey   3:20-cv-15559         ONDERLAW, LLC
HARRIS, SANDRA                NJ - USDC for the District of New Jersey   3:21-cv-02599         ONDERLAW, LLC
HARRIS, SHANNON               NJ - USDC for the District of New Jersey   3:21-cv-02158         ONDERLAW, LLC
HARRIS, SHARON                NJ - USDC for the District of New Jersey   3:21-cv-05503         ONDERLAW, LLC
HARRIS, STEPHANIE             NJ - USDC for the District of New Jersey   3:19-cv-10259         ONDERLAW, LLC
HARRIS, TOCCARA               NJ - USDC for the District of New Jersey   3:21-cv-01509         ONDERLAW, LLC
HARRISON, ANNETTE             NJ - USDC for the District of New Jersey   3:17-cv-08337         ONDERLAW, LLC
HARRISON, CARMEN              NJ - USDC for the District of New Jersey   3:20-cv-12660         ONDERLAW, LLC
HARRISON, JACQUELINE          NJ - USDC for the District of New Jersey   3:17-cv-09686         ONDERLAW, LLC
HARRISON, JANE                NJ - USDC for the District of New Jersey   3:21-cv-09502         ONDERLAW, LLC
HARRISON, KATIE               NJ - USDC for the District of New Jersey   3:21-cv-03987         ONDERLAW, LLC
HARRISON, MARILYN             MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
HARRISON, MARION              NJ - USDC for the District of New Jersey   3:21-cv-04833         ONDERLAW, LLC
HARRISON, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-08006         ONDERLAW, LLC
HARRISON, RACHEL              MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
HARRIS-PENNINGTON, JANET      NJ - USDC for the District of New Jersey   3:21-cv-01937         ONDERLAW, LLC
HART, ANGELA                  NJ - USDC for the District of New Jersey   3:21-cv-06941         ONDERLAW, LLC
HART, DEBORAH                 NJ - USDC for the District of New Jersey   3:19-cv-17085         ONDERLAW, LLC
HART, ELIZABETH               NJ - USDC for the District of New Jersey   3:18-cv-09074         ONDERLAW, LLC
HART, JOAN                    NJ - USDC for the District of New Jersey   3:21-cv-17516         ONDERLAW, LLC
HART, OLLIE                   NJ - USDC for the District of New Jersey   3:21-cv-07575         ONDERLAW, LLC
HART, QUEEN                   NJ - USDC for the District of New Jersey   3:21-cv-08048         ONDERLAW, LLC
HART, SHERRY                  NJ - USDC for the District of New Jersey   3:21-cv-08030         ONDERLAW, LLC
HART, STACEY                  NJ - USDC for the District of New Jersey   3:21-cv-17970         ONDERLAW, LLC
HART, TAMMY                   NJ - USDC for the District of New Jersey   3:21-cv-07432         ONDERLAW, LLC
HARTLESS, JANET               NJ - USDC for the District of New Jersey   3:18-cv-14110         ONDERLAW, LLC
HARTLEY, GEORGIA              NJ - USDC for the District of New Jersey   3:17-cv-09935         ONDERLAW, LLC
HARTLEY, JANE                 NJ - USDC for the District of New Jersey   3:21-cv-09007         ONDERLAW, LLC
HARTLEY, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-10711         ONDERLAW, LLC
HARTLEY, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-08731         ONDERLAW, LLC
HARTMANN, KIMBERLY            NJ - USDC for the District of New Jersey   3:18-cv-09744         ONDERLAW, LLC
HARVEY, DOROTHY               NJ - USDC for the District of New Jersey   3:21-cv-02088         ONDERLAW, LLC
HARVEY, ISABEL                NJ - USDC for the District of New Jersey   3:18-cv-13969         ONDERLAW, LLC
HARVILLE, JANIS               NJ - USDC for the District of New Jersey   3:21-cv-07678         ONDERLAW, LLC
HARWICK, MARGARET             NJ - USDC for the District of New Jersey   3:18-cv-04997         ONDERLAW, LLC
HASCALL, SHERRIE              NJ - USDC for the District of New Jersey   3:20-cv-02096         ONDERLAW, LLC
HASHAW, DIANA                 NJ - USDC for the District of New Jersey   3:21-cv-09874         ONDERLAW, LLC
HASLACKER, ONEITA             NJ - USDC for the District of New Jersey   3:20-cv-16606         ONDERLAW, LLC
HASSE, BARBARA                NJ - USDC for the District of New Jersey   3:21-cv-06748         ONDERLAW, LLC
HASSELL, RACHEL               NJ - USDC for the District of New Jersey   3:20-cv-00557         ONDERLAW, LLC
HASSLER, EDITH                NJ - USDC for the District of New Jersey   3:19-cv-19141         ONDERLAW, LLC
HASTINGS, COURTNI             NJ - USDC for the District of New Jersey   3:21-cv-17517         ONDERLAW, LLC
HASTINGS, DIANA               NJ - USDC for the District of New Jersey   3:19-cv-13259         ONDERLAW, LLC
HATCH, TANYA                  MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
HATCHER, MELISSA              NJ - USDC for the District of New Jersey   3:18-cv-13255         ONDERLAW, LLC
HATCHER, NANNETTE             NJ - USDC for the District of New Jersey   3:21-cv-04246         ONDERLAW, LLC
HATCH-WILLS, CHRISTY          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HATFIELD, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-09363         ONDERLAW, LLC
HATLEY-HENDRICKSON, JASMINE   NJ - USDC for the District of New Jersey   3:21-cv-07135         ONDERLAW, LLC
HATTEN, HELEN                 NJ - USDC for the District of New Jersey   3:17-cv-09689         ONDERLAW, LLC
HATTON, NORMA                 NJ - USDC for the District of New Jersey   3:20-cv-02461         ONDERLAW, LLC
HAUN, LULA                    NJ - USDC for the District of New Jersey   3:21-cv-05725         ONDERLAW, LLC
HAUN, RUTH                    MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
HAWK, ELEANOR                 NJ - USDC for the District of New Jersey   3:18-cv-11079         ONDERLAW, LLC
HAWKES, JO-ANNE               NJ - USDC for the District of New Jersey   3:20-cv-13777         ONDERLAW, LLC
HAWKINS, DENISE               NJ - USDC for the District of New Jersey   3:21-cv-04361         ONDERLAW, LLC
HAWKINS, DORIS                NJ - USDC for the District of New Jersey   3:20-cv-09429         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HAWKINS, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-06692         ONDERLAW, LLC
HAWKINS, ENDELER          NJ - USDC for the District of New Jersey   3:21-cv-04215         ONDERLAW, LLC
HAWKINS, ERICA            NJ - USDC for the District of New Jersey   3:21-cv-04920         ONDERLAW, LLC
HAWKINS, EVELYN           NJ - USDC for the District of New Jersey   3:17-cv-09798         ONDERLAW, LLC
HAWKINS, MABLE            NJ - USDC for the District of New Jersey   3:21-cv-13727         ONDERLAW, LLC
HAWKINS, MOLLY            NJ - USDC for the District of New Jersey   3:17-cv-11107         ONDERLAW, LLC
HAWKINS, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-04329         ONDERLAW, LLC
HAWKINS, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-11386         ONDERLAW, LLC
HAWKINS, WENDY            NJ - USDC for the District of New Jersey   3:17-cv-08978         ONDERLAW, LLC
HAWLEY, BETTY             NJ - USDC for the District of New Jersey   3:18-cv-00833         ONDERLAW, LLC
HAWSEY, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-01626         ONDERLAW, LLC
HAWTHORNE, JOYCE          NJ - USDC for the District of New Jersey   3:20-cv-05791         ONDERLAW, LLC
HAY, ANNA                 NJ - USDC for the District of New Jersey   3:19-cv-20418         ONDERLAW, LLC
HAYDEL, MELANIE           NJ - USDC for the District of New Jersey   3:21-cv-08819         ONDERLAW, LLC
HAYDEN, SERENA            NJ - USDC for the District of New Jersey   3:19-cv-21227         ONDERLAW, LLC
HAYES, BRANDY             NJ - USDC for the District of New Jersey   3:21-cv-09515         ONDERLAW, LLC
HAYES, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-09754         ONDERLAW, LLC
HAYES, EVELYN             NJ - USDC for the District of New Jersey   3:21-cv-10246         ONDERLAW, LLC
HAYES, JO                 NJ - USDC for the District of New Jersey   3:21-cv-04649         ONDERLAW, LLC
HAYES, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-04450         ONDERLAW, LLC
HAYES, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11094         ONDERLAW, LLC
HAYES, PEGGY              NJ - USDC for the District of New Jersey   3:20-cv-07233         ONDERLAW, LLC
HAYES, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-08248         ONDERLAW, LLC
HAYES, SYNT               NJ - USDC for the District of New Jersey   3:20-cv-15387         ONDERLAW, LLC
HAYES, TAMMY              MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
HAYNES, BEVERLY           NJ - USDC for the District of New Jersey   3:18-cv-13097         ONDERLAW, LLC
HAYNES, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-20330         ONDERLAW, LLC
HAYNES, EMMA              NJ - USDC for the District of New Jersey   3:21-cv-07754         ONDERLAW, LLC
HAYNES, MATTIE            NJ - USDC for the District of New Jersey   3:21-cv-06439         ONDERLAW, LLC
HAYS, CARRIE              NJ - USDC for the District of New Jersey   3:18-cv-00190         ONDERLAW, LLC
HAYS, NICHOLE             NJ - USDC for the District of New Jersey   3:21-cv-03386         ONDERLAW, LLC
HAYWOOD, ANNIE            NJ - USDC for the District of New Jersey   3:21-cv-05473         ONDERLAW, LLC
HAYWOOD, MARY             NJ - USDC for the District of New Jersey   3:20-cv-09906         ONDERLAW, LLC
HAZARD, AMBER             NJ - USDC for the District of New Jersey   3:21-cv-06120         ONDERLAW, LLC
HAZELWOOD, EDWINA         NJ - USDC for the District of New Jersey   3:20-cv-13999         ONDERLAW, LLC
HAZEN, ROSANNE            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
HAZLETT, CARLEEN          NJ - USDC for the District of New Jersey   3:21-cv-07180         ONDERLAW, LLC
HEAD, JOY                 NJ - USDC for the District of New Jersey   3:20-cv-09377         ONDERLAW, LLC
HEADLEY, LEONARA          NJ - USDC for the District of New Jersey   3:21-cv-00825         ONDERLAW, LLC
HEADLEY, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-10889         ONDERLAW, LLC
HEARD, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-09430         ONDERLAW, LLC
HEARD, JODI               NJ - USDC for the District of New Jersey   3:18-cv-12618         ONDERLAW, LLC
HEARD, JUDY               NJ - USDC for the District of New Jersey   3:21-cv-09425         ONDERLAW, LLC
HEARD, ROSE               NJ - USDC for the District of New Jersey   3:17-cv-05720         ONDERLAW, LLC
HEARN, DOVINDER           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
HEARNS, ROBIN             MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
HEATH, ARDYTH             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
HEATHER SIKES             NJ - USDC for the District of New Jersey   3:21-cv-18197         ONDERLAW, LLC
HEATHERLY, CHARLOTTE      MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HEATON, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-09757         ONDERLAW, LLC
HEBERT, DIANNA            NJ - USDC for the District of New Jersey   3:18-cv-12230         ONDERLAW, LLC
HEBERT, JOAN              NJ - USDC for the District of New Jersey   3:18-cv-12504         ONDERLAW, LLC
HECK, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-07639         ONDERLAW, LLC
HEFFERNAN, DIANE          NJ - USDC for the District of New Jersey   3:17-cv-09937         ONDERLAW, LLC
HEFFNER, CHERYL           MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC
HEFFNER, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
HEFLIN, GAIL              NJ - USDC for the District of New Jersey   3:21-cv-02988         ONDERLAW, LLC
HEFTY, MARLENE            NJ - USDC for the District of New Jersey   3:21-cv-09879         ONDERLAW, LLC
HEGLER, REGINA            NJ - USDC for the District of New Jersey   3:21-cv-02462         ONDERLAW, LLC
HEHAR, DAVINDERJIT        NJ - USDC for the District of New Jersey   3:20-cv-00686         ONDERLAW, LLC
HEIDEN, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-10247         ONDERLAW, LLC
HEIGLE, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-10406         ONDERLAW, LLC
HEIMBACH, AMY             NJ - USDC for the District of New Jersey   3:21-cv-04183         ONDERLAW, LLC
HEINKEL, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-02597         ONDERLAW, LLC
HEIN-MACALUSO, MARGARET   NJ - USDC for the District of New Jersey   3:18-cv-13088         ONDERLAW, LLC
HEINZ, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-09471         ONDERLAW, LLC
HEKKEMA, PATRICIA         MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
HELFER, KELLEY            NJ - USDC for the District of New Jersey   3:21-cv-09582         ONDERLAW, LLC
HELLER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-08317         ONDERLAW, LLC
HELLER, LUANN             NJ - USDC for the District of New Jersey   3:21-cv-09301         ONDERLAW, LLC
HELLIWELL, LINDA          MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
HELM, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-05437         ONDERLAW, LLC
HELMERS, LILLIAN          NJ - USDC for the District of New Jersey   3:21-cv-09059         ONDERLAW, LLC
HELMERS, LOLA             NJ - USDC for the District of New Jersey   3:21-cv-09646         ONDERLAW, LLC
HELMS, LESLEY             NJ - USDC for the District of New Jersey   3:21-cv-09679         ONDERLAW, LLC
HELMS, VICKY              NJ - USDC for the District of New Jersey   3:21-cv-01377         ONDERLAW, LLC
HELTON, JENNIFER          NJ - USDC for the District of New Jersey   3:19-cv-12719         ONDERLAW, LLC
HEMENWAY, ROSE            NJ - USDC for the District of New Jersey   3:20-cv-20649         ONDERLAW, LLC
HEMMER, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-05174         ONDERLAW, LLC
HEMMINGER, SALLY          MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
HEMPHILL, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-03232         ONDERLAW, LLC
HEMPHILL-PIPKIN, GEORGIA   NJ - USDC for the District of New Jersey   3:21-cv-06287         ONDERLAW, LLC
HENAGHAN, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-04099         ONDERLAW, LLC
HENDERSON, AMBER           NJ - USDC for the District of New Jersey   3:21-cv-08820         ONDERLAW, LLC
HENDERSON, BRENDA          NJ - USDC for the District of New Jersey   3:17-cv-09299         ONDERLAW, LLC
HENDERSON, DELIA           NJ - USDC for the District of New Jersey   3:21-cv-05233         ONDERLAW, LLC
HENDERSON, ETHELENE        MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HENDERSON, FRANKIE         NJ - USDC for the District of New Jersey   3:18-cv-13591         ONDERLAW, LLC
HENDERSON, GAYLE           NJ - USDC for the District of New Jersey   3:19-cv-15505         ONDERLAW, LLC
HENDERSON, JENNIE          NJ - USDC for the District of New Jersey   3:21-cv-18362         ONDERLAW, LLC
HENDERSON, JERI            NJ - USDC for the District of New Jersey   3:18-cv-10069         ONDERLAW, LLC
HENDERSON, KETKEO          NJ - USDC for the District of New Jersey   3:20-cv-20650         ONDERLAW, LLC
HENDERSON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-06799         ONDERLAW, LLC
HENDON, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-04452         ONDERLAW, LLC
HENDRICKS, ELLEN           NJ - USDC for the District of New Jersey   3:21-cv-04695         ONDERLAW, LLC
HENDRICKS, LAURIE          NJ - USDC for the District of New Jersey   3:21-cv-04672         ONDERLAW, LLC
HENDRICKSON, JANINE        NJ - USDC for the District of New Jersey   3:21-cv-10249         ONDERLAW, LLC
HENDRICKSON, VANESSA       NJ - USDC for the District of New Jersey   3:21-cv-07137         ONDERLAW, LLC
HENDRIX, CHARLOTTE         NJ - USDC for the District of New Jersey   3:21-cv-03578         ONDERLAW, LLC
HENDRIX, MARIE             NJ - USDC for the District of New Jersey   3:20-cv-02613         ONDERLAW, LLC
HENGEHOLD, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-01222         ONDERLAW, LLC
HENLEY, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-02135         ONDERLAW, LLC
HENNESSEY, DOREEN          NJ - USDC for the District of New Jersey   3:21-cv-09438         ONDERLAW, LLC
HENNIGAN, PAMELA           MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
HENNINGER, ANNETTE         NJ - USDC for the District of New Jersey   3:17-cv-09185         ONDERLAW, LLC
HENRY, BEVERLY             NJ - USDC for the District of New Jersey   3:18-cv-08891         ONDERLAW, LLC
HENRY, CHRISTY             NJ - USDC for the District of New Jersey   3:21-cv-05078         ONDERLAW, LLC
HENRY, DORIS               NJ - USDC for the District of New Jersey   3:21-cv-08036         ONDERLAW, LLC
HENRY, LAURIE              NJ - USDC for the District of New Jersey   3:21-cv-09765         ONDERLAW, LLC
HENRY, MARY                NJ - USDC for the District of New Jersey   3:21-cv-05130         ONDERLAW, LLC
HENRY, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-09239         ONDERLAW, LLC
HENRY, NANCY               NJ - USDC for the District of New Jersey   3:18-cv-09529         ONDERLAW, LLC
HENRY, ROBIN               NJ - USDC for the District of New Jersey   3:18-cv-08781         ONDERLAW, LLC
HENRY, TINA                NJ - USDC for the District of New Jersey   3:17-cv-11188         ONDERLAW, LLC
HENSLEY, AMBER             NJ - USDC for the District of New Jersey   3:21-cv-02905         ONDERLAW, LLC
HENSLEY, FLORINE           NJ - USDC for the District of New Jersey   3:21-cv-01763         ONDERLAW, LLC
HENSLEY, MARI-GRACE        NJ - USDC for the District of New Jersey   3:18-cv-10838         ONDERLAW, LLC
HENSON, DENISE             NJ - USDC for the District of New Jersey   3:21-cv-05720         ONDERLAW, LLC
HERBEK, MARILYN            NJ - USDC for the District of New Jersey   3:21-cv-09345         ONDERLAW, LLC
HERBERT, ANN               NJ - USDC for the District of New Jersey   3:21-cv-09426         ONDERLAW, LLC
HEREDIA, ANDREA            MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
HEREDIA, CONNIE            NJ - USDC for the District of New Jersey   3:19-cv-20240         ONDERLAW, LLC
HERMAN, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-08799         ONDERLAW, LLC
HERMANN, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-02836         ONDERLAW, LLC
HERMES, SUZETTE            NJ - USDC for the District of New Jersey   3:21-cv-03233         ONDERLAW, LLC
HERNANDEZ, ALICIA          NJ - USDC for the District of New Jersey   3:21-cv-03433         ONDERLAW, LLC
HERNANDEZ, APRIL           NJ - USDC for the District of New Jersey   3:21-cv-05984         ONDERLAW, LLC
HERNANDEZ, CARMEN          NJ - USDC for the District of New Jersey   3:18-cv-11082         ONDERLAW, LLC
HERNANDEZ, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-01987         ONDERLAW, LLC
HERNANDEZ, EVA             MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
HERNANDEZ, EVELYN          NJ - USDC for the District of New Jersey   3:21-cv-05127         ONDERLAW, LLC
HERNANDEZ, JOANN           NJ - USDC for the District of New Jersey   3:20-cv-13260         ONDERLAW, LLC
HERNANDEZ, MAGDALENA       MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HERNANDEZ, OTILIA          NJ - USDC for the District of New Jersey   3:18-cv-03555         ONDERLAW, LLC
HERNANDEZ, PANFILITA       NJ - USDC for the District of New Jersey   3:21-cv-06792         ONDERLAW, LLC
HERNANDEZ, YOLANDA         NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
HERNANDEZ-FUNTES, MIRTA    NJ - USDC for the District of New Jersey   3:21-cv-06730         ONDERLAW, LLC
HERNANDEZ-MELTON, JULIA    NJ - USDC for the District of New Jersey   3:21-cv-03461         ONDERLAW, LLC
HERNDON, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-09516         ONDERLAW, LLC
HERNDON, DORNITA           NJ - USDC for the District of New Jersey   3:21-cv-03234         ONDERLAW, LLC
HERRELL, KAY               MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
HERRERA, KATHYA            NJ - USDC for the District of New Jersey   3:20-cv-04591         ONDERLAW, LLC
HERRERA, LILLIAN           NJ - USDC for the District of New Jersey   3:21-cv-10256         ONDERLAW, LLC
HERRERA, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-01346         ONDERLAW, LLC
HERRERA, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
HERRERA, MYRA              NJ - USDC for the District of New Jersey   3:21-cv-07145         ONDERLAW, LLC
HERRERA, SARA              NJ - USDC for the District of New Jersey   3:21-cv-07201         ONDERLAW, LLC
HERRERA, SARAH             NJ - USDC for the District of New Jersey   3:17-cv-09802         ONDERLAW, LLC
HERRING, EVONNE            NJ - USDC for the District of New Jersey   3:17-cv-05719         ONDERLAW, LLC
HERRINGTON, BETTY          NJ - USDC for the District of New Jersey   3:21-cv-01068         ONDERLAW, LLC
HERRON, PHOEBE             NJ - USDC for the District of New Jersey   3:21-cv-17518         ONDERLAW, LLC
HERSHEY, HEIDI             NJ - USDC for the District of New Jersey   3:19-cv-10349         ONDERLAW, LLC
HERSHEY, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-04158         ONDERLAW, LLC
HERSHMAN, ANGELA           MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
HERTZ, PAMELA              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
HERVEY, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-05905         ONDERLAW, LLC
HERZFELD, ANN              NJ - USDC for the District of New Jersey   3:17-cv-09545         ONDERLAW, LLC
HESER, IRENE               NJ - USDC for the District of New Jersey   3:21-cv-06502         ONDERLAW, LLC
HESSON, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-01751         ONDERLAW, LLC
HESTER, CHARLAINE          NJ - USDC for the District of New Jersey   3:21-cv-02783         ONDERLAW, LLC




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           Claimant Name                     State Filed                    Docket Number               Plaintiff Counsel
HEUN, MIE                  NJ - USDC for the District of New Jersey   3:21-cv-16973         ONDERLAW, LLC
HEWES, DAWN                NJ - USDC for the District of New Jersey   3:20-cv-09021         ONDERLAW, LLC
HEWLING, LORI              NJ - USDC for the District of New Jersey   3:21-cv-01573         ONDERLAW, LLC
HEYWARD, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-17807         ONDERLAW, LLC
HIBLER, AZLINE             NJ - USDC for the District of New Jersey   3:20-cv-15667         ONDERLAW, LLC
HICE, CATHLEEN             NJ - USDC for the District of New Jersey   3:21-cv-05915         ONDERLAW, LLC
HICKERSON, SHELIA          NJ - USDC for the District of New Jersey   3:21-cv-01815         ONDERLAW, LLC
HICKMAN, HEIDI             NJ - USDC for the District of New Jersey   3:21-cv-05320         ONDERLAW, LLC
HICKMAN, SARA              NJ - USDC for the District of New Jersey   3:21-cv-09290         ONDERLAW, LLC
HICKS, BOBBIE              NJ - USDC for the District of New Jersey   3:21-cv-04925         ONDERLAW, LLC
HICKS, CARMELIA            NJ - USDC for the District of New Jersey   3:18-cv-12593         ONDERLAW, LLC
HICKS, MICHELLE            NJ - USDC for the District of New Jersey   3:18-cv-09063         ONDERLAW, LLC
HICKS, STELLA              NJ - USDC for the District of New Jersey   3:19-cv-16107         ONDERLAW, LLC
HICKS, STEPHANIE           NJ - USDC for the District of New Jersey   3:21-cv-04759         ONDERLAW, LLC
HICOK, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-08953         ONDERLAW, LLC
HIDER, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-05177         ONDERLAW, LLC
HIGDON, CORINNE            NJ - USDC for the District of New Jersey   3:17-cv-09929         ONDERLAW, LLC
HIGDON, MARTHA             NJ - USDC for the District of New Jersey   3:18-cv-12720         ONDERLAW, LLC
HIGGINBOTHAM, DONNA        NJ - USDC for the District of New Jersey   3:17-cv-10010         ONDERLAW, LLC
HIGGINS, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-07846         ONDERLAW, LLC
HIGHTOWER, ARMA            NJ - USDC for the District of New Jersey   3:21-cv-06993         ONDERLAW, LLC
HIGLEY, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-13254         ONDERLAW, LLC
HILBORN, PHYLLIS           NJ - USDC for the District of New Jersey   3:21-cv-10264         ONDERLAW, LLC
HILDEBRAND, ALICE          NJ - USDC for the District of New Jersey   3:21-cv-01528         ONDERLAW, LLC
HILDRETH, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-07758         ONDERLAW, LLC
HILDRETH, KATHLEEN         NJ - USDC for the District of New Jersey   3:21-cv-09613         ONDERLAW, LLC
HILEMAN, DAISY             NJ - USDC for the District of New Jersey   3:21-cv-05074         ONDERLAW, LLC
HILF, KELLY                MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
HILL, CAROL                MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
HILL, CHARLESETTA          NJ - USDC for the District of New Jersey   3:21-cv-05946         ONDERLAW, LLC
HILL, CHARLOTTE            NJ - USDC for the District of New Jersey   3:21-cv-05044         ONDERLAW, LLC
HILL, ELLEN                NJ - USDC for the District of New Jersey   3:21-cv-06081         ONDERLAW, LLC
HILL, IRENE                NJ - USDC for the District of New Jersey   3:21-cv-02746         ONDERLAW, LLC
HILL, JOY                  NJ - USDC for the District of New Jersey   3:21-cv-07482         ONDERLAW, LLC
HILL, JUANITA              MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
HILL, KASITY               NJ - USDC for the District of New Jersey   3:20-cv-08233         ONDERLAW, LLC
HILL, LILLIAN              NJ - USDC for the District of New Jersey   3:19-cv-07340         ONDERLAW, LLC
HILL, LOIRAN               NJ - USDC for the District of New Jersey   3:18-cv-14888         ONDERLAW, LLC
HILL, MATHILDA             NJ - USDC for the District of New Jersey   3:20-cv-20651         ONDERLAW, LLC
HILL, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-01959         ONDERLAW, LLC
HILL, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-03014         ONDERLAW, LLC
HILL, PAMELA               NJ - USDC for the District of New Jersey   3:19-cv-21935         ONDERLAW, LLC
HILL, ROBIN                MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
HILL, ROSA                 NJ - USDC for the District of New Jersey   3:21-cv-06474         ONDERLAW, LLC
HILL, SANDRA               NJ - USDC for the District of New Jersey   3:21-cv-07398         ONDERLAW, LLC
HILL, SUSAN                NJ - USDC for the District of New Jersey   3:18-cv-12407         ONDERLAW, LLC
HILL, THERESA              NJ - USDC for the District of New Jersey   3:21-cv-08288         ONDERLAW, LLC
HILLENDAHL, JOYCE          NJ - USDC for the District of New Jersey   3:21-cv-09654         ONDERLAW, LLC
HILLER, JANET              NJ - USDC for the District of New Jersey   3:21-cv-07132         ONDERLAW, LLC
HILLIARD, ETHEL            NJ - USDC for the District of New Jersey   3:21-cv-07182         ONDERLAW, LLC
HILLIE, BRENDA             IL - Circuit Court - Cook County           2020L013348           ONDERLAW, LLC
HILLIGOSS, JANET           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
HILLIKER, LISA             NJ - USDC for the District of New Jersey   3:21-cv-06783         ONDERLAW, LLC
HILLMER, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-15035         ONDERLAW, LLC
HILLS, GAIL                NJ - USDC for the District of New Jersey   3:21-cv-09221         ONDERLAW, LLC
HILTON, LORI               NJ - USDC for the District of New Jersey   3:21-cv-07746         ONDERLAW, LLC
HILTON, SARAH              MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC
HILTON, SARAH              NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
HINCH, JULIA               NJ - USDC for the District of New Jersey   3:21-cv-04169         ONDERLAW, LLC
HINDS, BESSIE              NJ - USDC for the District of New Jersey   3:17-cv-04877         ONDERLAW, LLC
HINDS, FRANCES             NJ - USDC for the District of New Jersey   3:20-cv-09492         ONDERLAW, LLC
HINDY, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-08038         ONDERLAW, LLC
HINES, KRISTY              NJ - USDC for the District of New Jersey   3:21-cv-07149         ONDERLAW, LLC
HINES, LISA                NJ - USDC for the District of New Jersey   3:20-cv-20652         ONDERLAW, LLC
HINES, PAULETTE            NJ - USDC for the District of New Jersey   3:20-cv-20655         ONDERLAW, LLC
HINES, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-09921         ONDERLAW, LLC
HINES, TINA                NJ - USDC for the District of New Jersey   3:19-cv-13548         ONDERLAW, LLC
HINKLE, GINA               NJ - USDC for the District of New Jersey   3:21-cv-17911         ONDERLAW, LLC
HINKLE, HONDA              NJ - USDC for the District of New Jersey   3:21-cv-05312         ONDERLAW, LLC
HINKLE, MEGAN              NJ - USDC for the District of New Jersey   3:19-cv-08733         ONDERLAW, LLC
HINKLEY, JEANETTE          NJ - USDC for the District of New Jersey   3:19-cv-09598         ONDERLAW, LLC
HINTON, BARBARA            NJ - USDC for the District of New Jersey   3:18-cv-08967         ONDERLAW, LLC
HINTON, LISA               NJ - USDC for the District of New Jersey   3:21-cv-01466         ONDERLAW, LLC
HINTON, SHAWNA             NJ - USDC for the District of New Jersey   3:20-cv-16608         ONDERLAW, LLC
HIPPLE, JACQUELYN          NJ - USDC for the District of New Jersey   3:21-cv-08956         ONDERLAW, LLC
HIRSCHMAN, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-09875         ONDERLAW, LLC
HISER, FANNIE              NJ - USDC for the District of New Jersey   3:21-cv-03114         ONDERLAW, LLC
HITCHCOCK, SHEILA          NJ - USDC for the District of New Jersey   3:20-cv-12204         ONDERLAW, LLC
HITCHMAN, JOANNE           NJ - USDC for the District of New Jersey   3:20-cv-13779         ONDERLAW, LLC
HITT, GEORGIA              NJ - USDC for the District of New Jersey   3:20-cv-14597         ONDERLAW, LLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
HIXON, VALERIE              NJ - USDC for the District of New Jersey   3:21-cv-08406         ONDERLAW, LLC
HLADEK, GENEVIEVE           NJ - USDC for the District of New Jersey   3:20-cv-03396         ONDERLAW, LLC
HO, JULIE                   NJ - USDC for the District of New Jersey   3:21-cv-02096         ONDERLAW, LLC
HOAG, CHRISTA               NJ - USDC for the District of New Jersey   3:20-cv-10186         ONDERLAW, LLC
HOBSON, STEPHANIE           NJ - USDC for the District of New Jersey   3:18-cv-12817         ONDERLAW, LLC
HOCHREIN, LYNN              NJ - USDC for the District of New Jersey   3:21-cv-06987         ONDERLAW, LLC
HOCKENBURY, CORINE          NJ - USDC for the District of New Jersey   3:21-cv-05929         ONDERLAW, LLC
HODGE, JOHNNETTA            NJ - USDC for the District of New Jersey   3:17-cv-09881         ONDERLAW, LLC
HODGE, PENNY                NJ - USDC for the District of New Jersey   3:21-cv-09030         ONDERLAW, LLC
HODGES, LINDA               NJ - USDC for the District of New Jersey   3:20-cv-10572         ONDERLAW, LLC
HODGINS, MABLE              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
HOES, GOLDIE                NJ - USDC for the District of New Jersey   3:20-cv-00054         ONDERLAW, LLC
HOFAKER, VEDA               NJ - USDC for the District of New Jersey   3:21-cv-09697         ONDERLAW, LLC
HOFF, LAURA                 NJ - USDC for the District of New Jersey   3:17-cv-09186         ONDERLAW, LLC
HOFFMAN, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-20656         ONDERLAW, LLC
HOFFMAN, DAWN               NJ - USDC for the District of New Jersey   3:21-cv-09706         ONDERLAW, LLC
HOFFMAN, MARION             NJ - USDC for the District of New Jersey   3:21-cv-09844         ONDERLAW, LLC
HOFFMAN, MARY               NJ - USDC for the District of New Jersey   3:18-cv-09060         ONDERLAW, LLC
HOFHEIMER, ELAINE           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HOFMANN, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-12205         ONDERLAW, LLC
HOGAN, HATTIE               NJ - USDC for the District of New Jersey   3:19-cv-19096         ONDERLAW, LLC
HOGAN, MARCHETTE            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
HOGAN, POLLY                NJ - USDC for the District of New Jersey   3:18-cv-13965         ONDERLAW, LLC
HOGANS, TIFFANY             NJ - USDC for the District of New Jersey   3:18-cv-05271         ONDERLAW, LLC
HOGATE, LISA                NJ - USDC for the District of New Jersey   3:21-cv-08958         ONDERLAW, LLC
HOLCOMB, TERRI              NJ - USDC for the District of New Jersey   3:21-cv-05621         ONDERLAW, LLC
HOLCOMBE, HELEN             NJ - USDC for the District of New Jersey   3:19-cv-13552         ONDERLAW, LLC
HOLCOMBE, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-17808         ONDERLAW, LLC
HOLDAWAY, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-09455         ONDERLAW, LLC
HOLDING, COURTNEY           NJ - USDC for the District of New Jersey   3:21-cv-18056         ONDERLAW, LLC
HOLECEK, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-03115         ONDERLAW, LLC
HOLLAND, ANGELA             NJ - USDC for the District of New Jersey   3:19-cv-04404         ONDERLAW, LLC
HOLLAND, JANICE             NJ - USDC for the District of New Jersey   3:18-cv-08846         ONDERLAW, LLC
HOLLAND, JENNIFER           MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
HOLLAND, LEXI               NJ - USDC for the District of New Jersey   3:17-cv-10589         ONDERLAW, LLC
HOLLER, JANE                NJ - USDC for the District of New Jersey   3:17-cv-12362         ONDERLAW, LLC
HOLLEY, SHAKIA              NJ - USDC for the District of New Jersey   3:21-cv-06920         ONDERLAW, LLC
HOLLIDAY, TIFFANY           NJ - USDC for the District of New Jersey   3:20-cv-12206         ONDERLAW, LLC
HOLLIFIELD, AVA             NJ - USDC for the District of New Jersey   3:21-cv-09734         ONDERLAW, LLC
HOLLIS, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-08133         ONDERLAW, LLC
HOLLIS, GWENDOLYN           NJ - USDC for the District of New Jersey   3:20-cv-15389         ONDERLAW, LLC
HOLLOMAN, JANICE            NJ - USDC for the District of New Jersey   3:18-cv-12512         ONDERLAW, LLC
HOLMES, ANITA               NJ - USDC for the District of New Jersey   3:20-cv-20646         ONDERLAW, LLC
HOLMES, GUSSIE              NJ - USDC for the District of New Jersey   3:18-cv-05002         ONDERLAW, LLC
HOLMES, JANET               NJ - USDC for the District of New Jersey   3:21-cv-10265         ONDERLAW, LLC
HOLMES, LILLIE              NJ - USDC for the District of New Jersey   3:21-cv-18083         ONDERLAW, LLC
HOLMES, LISA                NJ - USDC for the District of New Jersey   3:21-cv-01882         ONDERLAW, LLC
HOLMES, LYNNE               MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
HOLMES, MERIDITH            CA - Superior Court - Alameda County       HG-17-880973          ONDERLAW, LLC
HOLMES, MERIDITH            NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
HOLMES, NATALIE             NJ - USDC for the District of New Jersey   3:18-cv-12743         ONDERLAW, LLC
HOLSTAD, ROBIN              NJ - USDC for the District of New Jersey   3:21-cv-08898         ONDERLAW, LLC
HOLT, CATHERINE             NJ - USDC for the District of New Jersey   3:21-cv-05667         ONDERLAW, LLC
HOLT, DELORES               NJ - USDC for the District of New Jersey   3:20-cv-14763         ONDERLAW, LLC
HOLT, HELEN                 NJ - USDC for the District of New Jersey   3:20-cv-09907         ONDERLAW, LLC
HOLTSLANDER, KIMBERLY       NJ - USDC for the District of New Jersey   3:21-cv-18032         ONDERLAW, LLC
HOLUBIK, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
HOMER, GABRIELE             NJ - USDC for the District of New Jersey   3:20-cv-20641         ONDERLAW, LLC
HOMEYER, LAURA              NJ - USDC for the District of New Jersey   3:17-cv-08338         ONDERLAW, LLC
HOMQUIST, ELAINE            NJ - USDC for the District of New Jersey   3:21-cv-06915         ONDERLAW, LLC
HONEYCUTT, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-06523         ONDERLAW, LLC
HONG, SEUNGYEON             MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
HONKALA, DOROTHY            NJ - USDC for the District of New Jersey   3:21-cv-06059         ONDERLAW, LLC
HOOD, DOROTHY               NJ - USDC for the District of New Jersey   3:21-cv-08055         ONDERLAW, LLC
HOOKER, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-18640         ONDERLAW, LLC
HOOPER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
HOOPER, RENEE               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
HOOPER, VALARIE             NJ - USDC for the District of New Jersey   3:21-cv-08687         ONDERLAW, LLC
HOOPER-VANCE, BERTHA        NJ - USDC for the District of New Jersey   3:21-cv-07987         ONDERLAW, LLC
HOOVER, DELLIA              NJ - USDC for the District of New Jersey   3:21-cv-18139         ONDERLAW, LLC
HOPE, JEANNE                NJ - USDC for the District of New Jersey   3:21-cv-03097         ONDERLAW, LLC
HOPKINS, BETSY              NJ - USDC for the District of New Jersey   3:21-cv-05113         ONDERLAW, LLC
HOPKINS, JANIE              NJ - USDC for the District of New Jersey   3:21-cv-06404         ONDERLAW, LLC
HOPKINS, MARY               NJ - USDC for the District of New Jersey   3:21-cv-02187         ONDERLAW, LLC
HOPKINS, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-08641         ONDERLAW, LLC
HOPKINS, TOMMYE             NJ - USDC for the District of New Jersey   3:18-cv-10408         ONDERLAW, LLC
HOPKINS-KILLEBREW, SANDRA   NJ - USDC for the District of New Jersey   3:21-cv-03883         ONDERLAW, LLC
HOPKINSON, TERESA           NJ - USDC for the District of New Jersey   3:18-cv-03466         ONDERLAW, LLC
HOPPER-HOLLIDAY, AMANDA     NJ - USDC for the District of New Jersey   3:21-cv-07232         ONDERLAW, LLC
HORN, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-07756         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HORN, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
HORN, GLENDA              NJ - USDC for the District of New Jersey   3:21-cv-08072         ONDERLAW, LLC
HORN, MARCIE              NJ - USDC for the District of New Jersey   3:20-cv-05042         ONDERLAW, LLC
HORNBECK, BEATRICE        NJ - USDC for the District of New Jersey   3:18-cv-05673         ONDERLAW, LLC
HORNER, GERALDINE         NJ - USDC for the District of New Jersey   3:17-cv-09187         ONDERLAW, LLC
HORNSBY, RITA             NJ - USDC for the District of New Jersey   3:21-cv-04152         ONDERLAW, LLC
HOROWITZ, THELMA          NJ - USDC for the District of New Jersey   3:20-cv-19397         ONDERLAW, LLC
HORSLEY, SHEENA           NJ - USDC for the District of New Jersey   3:21-cv-01083         ONDERLAW, LLC
HORTON, ANNIE             NJ - USDC for the District of New Jersey   3:20-cv-09909         ONDERLAW, LLC
HORTON, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-09116         ONDERLAW, LLC
HORTON, TERYKA            NJ - USDC for the District of New Jersey   3:21-cv-17732         ONDERLAW, LLC
HOSALE, PAULA             NJ - USDC for the District of New Jersey   3:17-cv-10493         ONDERLAW, LLC
HOSBROUGH, YVONNE         NJ - USDC for the District of New Jersey   3:21-cv-05751         ONDERLAW, LLC
HOSEIN, FARIYAL           NJ - USDC for the District of New Jersey   3:21-cv-03324         ONDERLAW, LLC
HOSHKO-SMITH, ANDREA      NJ - USDC for the District of New Jersey   3:17-cv-09518         ONDERLAW, LLC
HOSKINS, RUTH             NJ - USDC for the District of New Jersey   3:20-cv-07149         ONDERLAW, LLC
HOTH, KATHRYN             NJ - USDC for the District of New Jersey   3:17-cv-09156         ONDERLAW, LLC
HOULE, DAWN               NJ - USDC for the District of New Jersey   3:21-cv-04642         ONDERLAW, LLC
HOUPT, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-05757         ONDERLAW, LLC
HOUSE, CHRISTINA          NJ - USDC for the District of New Jersey   3:18-cv-12929         ONDERLAW, LLC
HOUSE, DAWN               NJ - USDC for the District of New Jersey   3:18-cv-12747         ONDERLAW, LLC
HOUSEL, KATHLEEN          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
HOUSEMAN, WILMA           NJ - USDC for the District of New Jersey   3:21-cv-08862         ONDERLAW, LLC
HOUSER, MARY              NJ - USDC for the District of New Jersey   3:17-cv-08979         ONDERLAW, LLC
HOUSTON, ANSLEA           NJ - USDC for the District of New Jersey   3:21-cv-05922         ONDERLAW, LLC
HOUSTON, IDA              NJ - USDC for the District of New Jersey   3:21-cv-07504         ONDERLAW, LLC
HOUSTON, SARAH            NJ - USDC for the District of New Jersey   3:17-cv-08083         ONDERLAW, LLC
HOUSTON-HENDRIX, LINDA    NJ - USDC for the District of New Jersey   3:18-cv-11085         ONDERLAW, LLC
HOWARD, BERTHA            CA - Superior Court - Alameda County       HG-17-880966          ONDERLAW, LLC
HOWARD, BERTHA            NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
HOWARD, EVELYN            NJ - USDC for the District of New Jersey   3:21-cv-06790         ONDERLAW, LLC
HOWARD, GOLDIE            NJ - USDC for the District of New Jersey   3:18-cv-12754         ONDERLAW, LLC
HOWARD, HALLIE            NJ - USDC for the District of New Jersey   3:21-cv-06356         ONDERLAW, LLC
HOWARD, IRENE             NJ - USDC for the District of New Jersey   3:20-cv-14943         ONDERLAW, LLC
HOWARD, KARLA             NJ - USDC for the District of New Jersey   3:18-cv-10400         ONDERLAW, LLC
HOWARD, LAKISHIA          NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
HOWARD, REBECCA           NJ - USDC for the District of New Jersey   3:19-cv-13126         ONDERLAW, LLC
HOWARD, TINA              NJ - USDC for the District of New Jersey   3:19-cv-04411         ONDERLAW, LLC
HOWARD, YVONNE            NJ - USDC for the District of New Jersey   3:21-cv-05281         ONDERLAW, LLC
HOWELL, CHERYL-ANNE       NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
HOWELL, SONYA             NJ - USDC for the District of New Jersey   3:21-cv-03132         ONDERLAW, LLC
HOWES, GAIL               NJ - USDC for the District of New Jersey   3:21-cv-08257         ONDERLAW, LLC
HOWRY, VIRGINIA           NJ - USDC for the District of New Jersey   3:20-cv-00987         ONDERLAW, LLC
HOY, BEVERLY              MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
HRANITZKY, JEANNE         NJ - USDC for the District of New Jersey   3:19-cv-20757         ONDERLAW, LLC
HRYNYSHEN, REBECCA        NJ - USDC for the District of New Jersey   3:20-cv-13780         ONDERLAW, LLC
HUBBARD, CRISTAN          NJ - USDC for the District of New Jersey   3:21-cv-05280         ONDERLAW, LLC
HUBBARD, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-06174         ONDERLAW, LLC
HUBBARD, JOYCE            NJ - USDC for the District of New Jersey   3:20-cv-08865         ONDERLAW, LLC
HUBBARD, KATHLEEN         NJ - USDC for the District of New Jersey   3:17-cv-08981         ONDERLAW, LLC
HUBBARD, LAURA            NJ - USDC for the District of New Jersey   3:18-cv-02131         ONDERLAW, LLC
HUBBARD, TRASCHELL        NJ - USDC for the District of New Jersey   3:20-cv-00758         ONDERLAW, LLC
HUBER, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-05948         ONDERLAW, LLC
HUBER, LAVONNE            NJ - USDC for the District of New Jersey   3:19-cv-20779         ONDERLAW, LLC
HUBERTY, DAWN             NJ - USDC for the District of New Jersey   3:21-cv-03835         ONDERLAW, LLC
HUBERTY, MARY             NJ - USDC for the District of New Jersey   3:21-cv-10268         ONDERLAW, LLC
HUCKABY, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-17964         ONDERLAW, LLC
HUCKABY, SHANNON          NJ - USDC for the District of New Jersey   3:21-cv-07645         ONDERLAW, LLC
HUDDLESTON, LORI          NJ - USDC for the District of New Jersey   3:18-cv-11015         ONDERLAW, LLC
HUDDLESTON, SUSAN         NJ - USDC for the District of New Jersey   3:21-cv-08846         ONDERLAW, LLC
HUDSON, DEVONIA           NJ - USDC for the District of New Jersey   3:19-cv-16238         ONDERLAW, LLC
HUDSON, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-16861         ONDERLAW, LLC
HUDSON, MILDRED           NJ - USDC for the District of New Jersey   3:21-cv-00755         ONDERLAW, LLC
HUDSON, TAMMIE            NJ - USDC for the District of New Jersey   3:21-cv-02131         ONDERLAW, LLC
HUDSPETH, PAULA           NJ - USDC for the District of New Jersey   3:18-cv-10914         ONDERLAW, LLC
HUELSKAMP, CHERYL         NJ - USDC for the District of New Jersey   3:18-cv-12389         ONDERLAW, LLC
HUERTA, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-10271         ONDERLAW, LLC
HUF, KIRSTEN              NJ - USDC for the District of New Jersey   3:21-cv-10274         ONDERLAW, LLC
HUFF, ZEREANA             NJ - USDC for the District of New Jersey   3:20-cv-03215         ONDERLAW, LLC
HUFFMAN, MAUREEN          NJ - USDC for the District of New Jersey   3:20-cv-00759         ONDERLAW, LLC
HUFFMAN, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-12749         ONDERLAW, LLC
HUFSTEDLER, KAREN         NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
HUGGINS, GENNEIEVESE      NJ - USDC for the District of New Jersey   3:21-cv-09442         ONDERLAW, LLC
HUGGLER, DONNA            NJ - USDC for the District of New Jersey   3:19-cv-09081         ONDERLAW, LLC
HUGHART, CONNIE           NJ - USDC for the District of New Jersey   3:21-cv-01894         ONDERLAW, LLC
HUGHES, BILLIE            NJ - USDC for the District of New Jersey   3:21-cv-06386         ONDERLAW, LLC
HUGHES, CYNTHIA           NJ - USDC for the District of New Jersey   3:17-cv-05644         ONDERLAW, LLC
HUGHES, JACQUELINE        NJ - USDC for the District of New Jersey   3:18-cv-15461         ONDERLAW, LLC
HUGHES, JANET             NJ - USDC for the District of New Jersey   3:17-cv-08983         ONDERLAW, LLC
HUGHES, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-01349         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HUGHES, MELISSA           NJ - USDC for the District of New Jersey   3:17-cv-09547         ONDERLAW, LLC
HUGHES, PEGGY             NJ - USDC for the District of New Jersey   3:17-cv-10063         ONDERLAW, LLC
HUGHES, ROSEMARY          NJ - USDC for the District of New Jersey   3:20-cv-08782         ONDERLAW, LLC
HUGHES, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-07021         ONDERLAW, LLC
HUGULEY, ADRIENNE         NJ - USDC for the District of New Jersey   3:18-cv-13924         ONDERLAW, LLC
HULL, LORRAINE            NJ - USDC for the District of New Jersey   3:21-cv-07377         ONDERLAW, LLC
HULME, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-02273         ONDERLAW, LLC
HUMPHREY, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-01444         ONDERLAW, LLC
HUNBOLD, DENISE           NJ - USDC for the District of New Jersey   3:20-cv-20639         ONDERLAW, LLC
HUND, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-08699         ONDERLAW, LLC
HUNDLEY, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-06132         ONDERLAW, LLC
HUNT, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-03075         ONDERLAW, LLC
HUNT, CORA                NJ - USDC for the District of New Jersey   3:21-cv-10275         ONDERLAW, LLC
HUNT, JOY                 NJ - USDC for the District of New Jersey   3:21-cv-02184         ONDERLAW, LLC
HUNT, LATANYA             NJ - USDC for the District of New Jersey   3:21-cv-08142         ONDERLAW, LLC
HUNT, MARILYN             NJ - USDC for the District of New Jersey   3:21-cv-08069         ONDERLAW, LLC
HUNT, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-01082         ONDERLAW, LLC
HUNT, NEVA                NJ - USDC for the District of New Jersey   3:20-cv-02610         ONDERLAW, LLC
HUNTER, ANIQUA            NJ - USDC for the District of New Jersey   3:21-cv-03778         ONDERLAW, LLC
HUNTER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-04190         ONDERLAW, LLC
HUNTER, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-01574         ONDERLAW, LLC
HUNTER, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-03623         ONDERLAW, LLC
HUNTER, CINDY             NJ - USDC for the District of New Jersey   3:20-cv-02416         ONDERLAW, LLC
HUNTER, DEANGILA          NJ - USDC for the District of New Jersey   3:21-cv-06935         ONDERLAW, LLC
HUNTER, JACQUELINE        MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
HUNTER, JACQUELINE        NJ - USDC for the District of New Jersey   3:19-cv-08457         ONDERLAW, LLC
HUNTER, LOUELLA           NJ - USDC for the District of New Jersey   3:21-cv-05278         ONDERLAW, LLC
HUNTER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-07486         ONDERLAW, LLC
HUNTER, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-08985         ONDERLAW, LLC
HUNTER, VALERIA           NJ - USDC for the District of New Jersey   3:21-cv-18107         ONDERLAW, LLC
HUNTER, VALERIE           NJ - USDC for the District of New Jersey   3:21-cv-09009         ONDERLAW, LLC
HUNTINGTON, JEANINE       NJ - USDC for the District of New Jersey   3:18-cv-17809         ONDERLAW, LLC
HUNTLEY, LASHUNDA         MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
HURLEY, AMANDA            NJ - USDC for the District of New Jersey   3:21-cv-08066         ONDERLAW, LLC
HURLEY, NINA              NJ - USDC for the District of New Jersey   3:17-cv-10543         ONDERLAW, LLC
HURLEY, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-03440         ONDERLAW, LLC
HURST, DANIELLE           NJ - USDC for the District of New Jersey   3:18-cv-09061         ONDERLAW, LLC
HURST, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-07069         ONDERLAW, LLC
HURTADO, ELIZABETH        MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
HURTAK, LORA              NJ - USDC for the District of New Jersey   3:21-cv-05000         ONDERLAW, LLC
HUSH, SARAH               NJ - USDC for the District of New Jersey   3:20-cv-00959         ONDERLAW, LLC
HUSMAN, HEIDI             NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
HUSSAIN, RUBINA           NJ - USDC for the District of New Jersey   3:17-cv-10473         ONDERLAW, LLC
HUTCHENS, CHERYL          NJ - USDC for the District of New Jersey   3:19-cv-21771         ONDERLAW, LLC
HUTCHERSON, CHARLENE      NJ - USDC for the District of New Jersey   3:20-cv-07623         ONDERLAW, LLC
HUTCHESON, CHARMAINE      NJ - USDC for the District of New Jersey   3:21-cv-07425         ONDERLAW, LLC
HUTCHINS, CLEOMAE         NJ - USDC for the District of New Jersey   3:21-cv-06651         ONDERLAW, LLC
HUTCHINSON, FLORENCE      NJ - USDC for the District of New Jersey   3:21-cv-04863         ONDERLAW, LLC
HUTCHISON, JENNIFER       NJ - USDC for the District of New Jersey   3:21-cv-09275         ONDERLAW, LLC
HUTTER, CINDY             NJ - USDC for the District of New Jersey   3:20-cv-15123         ONDERLAW, LLC
HUTTON, HEIDI             NJ - USDC for the District of New Jersey   3:19-cv-10165         ONDERLAW, LLC
HYATT, CARLA              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
HYATT, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-09376         ONDERLAW, LLC
HYCHE, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-13138         ONDERLAW, LLC
HYDE, JAMI                NJ - USDC for the District of New Jersey   3:18-cv-16106         ONDERLAW, LLC
HYMAN, LAQUAWN            NJ - USDC for the District of New Jersey   3:21-cv-01746         ONDERLAW, LLC
HYMAN, LEONA              NJ - USDC for the District of New Jersey   3:20-cv-20634         ONDERLAW, LLC
HYMAN, SHANITY            NJ - USDC for the District of New Jersey   3:20-cv-13781         ONDERLAW, LLC
HYMON, ALTHEA             NJ - USDC for the District of New Jersey   3:21-cv-03780         ONDERLAW, LLC
IANNIELLO, JOANN          NJ - USDC for the District of New Jersey   3:17-cv-09493         ONDERLAW, LLC
IBARRA, MELANIE           NJ - USDC for the District of New Jersey   3:18-cv-02929         ONDERLAW, LLC
ICE, CASSANDRA            NJ - USDC for the District of New Jersey   3:21-cv-16913         ONDERLAW, LLC
ICKES, SHEILA             NJ - USDC for the District of New Jersey   3:21-cv-05917         ONDERLAW, LLC
IFKEWITSCH, CAROL         NJ - USDC for the District of New Jersey   3:21-cv-07973         ONDERLAW, LLC
IGLESIAS, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-09247         ONDERLAW, LLC
ILER, ATHALENE            NJ - USDC for the District of New Jersey   3:21-cv-02896         ONDERLAW, LLC
ILES, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-06314         ONDERLAW, LLC
ILLIAN, DEA               NJ - USDC for the District of New Jersey   3:20-cv-13885         ONDERLAW, LLC
IMPEY, GILLIAN            NJ - USDC for the District of New Jersey   3:21-cv-09454         ONDERLAW, LLC
INFANTE, OLIVIA           NJ - USDC for the District of New Jersey   3:21-cv-07293         ONDERLAW, LLC
INGLIS, GLORIA            NJ - USDC for the District of New Jersey   3:20-cv-20318         ONDERLAW, LLC
INGRAM, EBONY             NJ - USDC for the District of New Jersey   3:19-cv-21937         ONDERLAW, LLC
INGRAM, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-05276         ONDERLAW, LLC
INMAN, MATTIE             NJ - USDC for the District of New Jersey   3:21-cv-06726         ONDERLAW, LLC
INNIS, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-00159         ONDERLAW, LLC
INSCORE, CHERYL           NJ - USDC for the District of New Jersey   3:21-cv-06607         ONDERLAW, LLC
INZANA, ANN               NJ - USDC for the District of New Jersey   3:20-cv-08674         ONDERLAW, LLC
IQBAL, JIAN               NJ - USDC for the District of New Jersey   3:21-cv-05080         ONDERLAW, LLC
IRBY, DOROTHY             NJ - USDC for the District of New Jersey   3:21-CV-04933         ONDERLAW, LLC
IRVIN, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-06997         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
IRVING, CARLETTA           NJ - USDC for the District of New Jersey   3:21-cv-0712          ONDERLAW, LLC
ISAAC, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-10278         ONDERLAW, LLC
ISAACS, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-04917         ONDERLAW, LLC
ISABELL, LAKEISHA          NJ - USDC for the District of New Jersey   3:21-cv-03910         ONDERLAW, LLC
ISIANG, ROSEMARIE          NJ - USDC for the District of New Jersey   3:20-cv-17681         ONDERLAW, LLC
ISOM, FRANCINE             NJ - USDC for the District of New Jersey   3:21-cv-04281         ONDERLAW, LLC
ISSACS, CHARLEEN           NJ - USDC for the District of New Jersey   3:19-cv-10353         ONDERLAW, LLC
ISSHAC, REEM               NJ - USDC for the District of New Jersey   3:19-cv-12589         ONDERLAW, LLC
ITLIONG, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-13402         ONDERLAW, LLC
ITURRERIA, SUSAN           CA - Superior Court - Sacramento County    34-2017-00221535      ONDERLAW, LLC
ITURRERIA, SUSAN           NJ - USDC for the District of New Jersey   3:17-cv-05719         ONDERLAW, LLC
IVEY, MARGARET             NJ - USDC for the District of New Jersey   3:21-cv-04857         ONDERLAW, LLC
IVEY, MISHELLE             NJ - USDC for the District of New Jersey   3:21-cv-16862         ONDERLAW, LLC
IVEY, REBA                 NJ - USDC for the District of New Jersey   3:19-cv-00086         ONDERLAW, LLC
IVORY, YUMEKA              NJ - USDC for the District of New Jersey   3:18-cv-13923         ONDERLAW, LLC
JAAP, JERI                 NJ - USDC for the District of New Jersey   3:21-cv-09362         ONDERLAW, LLC
JABARA, LYNN               NJ - USDC for the District of New Jersey   3:20-cv-15237         ONDERLAW, LLC
JABLON, MIRIAM             NJ - USDC for the District of New Jersey   3:18-cv-08865         ONDERLAW, LLC
JACKSON, ALETHA            NJ - USDC for the District of New Jersey   3:18-cv-10070         ONDERLAW, LLC
JACKSON, ALICESTINE        MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
JACKSON, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-10279         ONDERLAW, LLC
JACKSON, BELINDA           NJ - USDC for the District of New Jersey   3:18-cv-17810         ONDERLAW, LLC
JACKSON, BIRDGETTE         NJ - USDC for the District of New Jersey   3:17-cv-09188         ONDERLAW, LLC
JACKSON, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-07235         ONDERLAW, LLC
JACKSON, CHERI             NJ - USDC for the District of New Jersey   3:21-cv-05953         ONDERLAW, LLC
JACKSON, CYNTHIA           NJ - USDC for the District of New Jersey   3:19-cv-14046         ONDERLAW, LLC
JACKSON, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-02594         ONDERLAW, LLC
JACKSON, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-02635         ONDERLAW, LLC
JACKSON, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-03359         ONDERLAW, LLC
JACKSON, ELLEN             NJ - USDC for the District of New Jersey   3:21-cv-09348         ONDERLAW, LLC
JACKSON, GUSTIEN           NJ - USDC for the District of New Jersey   3:20-cv-09911         ONDERLAW, LLC
JACKSON, GWENDOLYN         NJ - USDC for the District of New Jersey   3:21-cv-05777         ONDERLAW, LLC
JACKSON, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-03495         ONDERLAW, LLC
JACKSON, JANET             NJ - USDC for the District of New Jersey   3:21-cv-04302         ONDERLAW, LLC
JACKSON, JOAN              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
JACKSON, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-03944         ONDERLAW, LLC
JACKSON, KATIE             NJ - USDC for the District of New Jersey   3:21-cv-06981         ONDERLAW, LLC
JACKSON, LARAE             NJ - USDC for the District of New Jersey   3:19-cv-17012         ONDERLAW, LLC
JACKSON, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-14940         ONDERLAW, LLC
JACKSON, LITA              NJ - USDC for the District of New Jersey   3:19-cv-07416         ONDERLAW, LLC
JACKSON, MARGARET          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
JACKSON, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09293         ONDERLAW, LLC
JACKSON, MARY              NJ - USDC for the District of New Jersey   3:18-cv-08700         ONDERLAW, LLC
JACKSON, MELODY            NJ - USDC for the District of New Jersey   3:21-cv-06377         ONDERLAW, LLC
JACKSON, ROEANER           NJ - USDC for the District of New Jersey   3:17-cv-09882         ONDERLAW, LLC
JACKSON, SHELIA            NJ - USDC for the District of New Jersey   3:18-cv-11378         ONDERLAW, LLC
JACKSON, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-05947         ONDERLAW, LLC
JACKSON, VALERIE           NJ - USDC for the District of New Jersey   3:21-cv-05353         ONDERLAW, LLC
JACKSON, VERLETTA          NJ - USDC for the District of New Jersey   3:21-cv-05634         ONDERLAW, LLC
JACKSON, VERONICA          NJ - USDC for the District of New Jersey   3:21-cv-17282         ONDERLAW, LLC
JACKSON-CARPIA, DENISE     NJ - USDC for the District of New Jersey   3:21-cv-08117         ONDERLAW, LLC
JACOB, JILL                NJ - USDC for the District of New Jersey   3:21-cv-04367         ONDERLAW, LLC
JACOBS, GERI               NJ - USDC for the District of New Jersey   3:21-cv-05768         ONDERLAW, LLC
JACOBS, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-09919         ONDERLAW, LLC
JACOBS, KRISTIE            NJ - USDC for the District of New Jersey   3:20-cv-03261         ONDERLAW, LLC
JACQUELINE MCSWEENEY       NJ - USDC for the District of New Jersey   3:21-cv-18195         ONDERLAW, LLC
JACQUEZ, NANCY             CA - Superior Court - Los Angeles County   BC681550              ONDERLAW, LLC
JACQUEZ, NANCY             NJ - USDC for the District of New Jersey   3:17-cv-03946         ONDERLAW, LLC
JAGHAB, HANAN              NJ - USDC for the District of New Jersey   3:21-cv-06295         ONDERLAW, LLC
JAJI, LATORIA              NJ - USDC for the District of New Jersey   3:21-cv-05650         ONDERLAW, LLC
JALOVE, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-13782         ONDERLAW, LLC
JAMES, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-03235         ONDERLAW, LLC
JAMES, JACQUELINE          NJ - USDC for the District of New Jersey   3:21-cv-02072         ONDERLAW, LLC
JAMES, JANUARY             NJ - USDC for the District of New Jersey   3:21-cv-08642         ONDERLAW, LLC
JAMES, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-03064         ONDERLAW, LLC
JAMES, LEN                 NJ - USDC for the District of New Jersey   3:21-cv-04153         ONDERLAW, LLC
JAMES, NITZA               NJ - USDC for the District of New Jersey   3:21-cv-03278         ONDERLAW, LLC
JAMES, NONIA               NJ - USDC for the District of New Jersey   3:21-cv-08918         ONDERLAW, LLC
JAMES, SANDRA              CA - Superior Court - County of Marin      CIV2003418            ONDERLAW, LLC
JAMES, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-03812         ONDERLAW, LLC
JAMES, SHEILA              NJ - USDC for the District of New Jersey   3:21-cv-07175         ONDERLAW, LLC
JAMESON, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-04259         ONDERLAW, LLC
JAMHOUR, DORIS             NJ - USDC for the District of New Jersey   3:20-cv-20306         ONDERLAW, LLC
JAMISON, JIMMIE            NJ - USDC for the District of New Jersey   3:21-cv-08637         ONDERLAW, LLC
JAMISON, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-03551         ONDERLAW, LLC
JAMISON, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-01380         ONDERLAW, LLC
JAMISON, REGINA            NJ - USDC for the District of New Jersey   3:19-cv-14512         ONDERLAW, LLC
JANAGAP, ISABEL            NJ - USDC for the District of New Jersey   3:21-cv-17520         ONDERLAW, LLC
JANDA, JULIE               NJ - USDC for the District of New Jersey   3:21-cv-17758         ONDERLAW, LLC
JANICKI, CAROLE            NJ - USDC for the District of New Jersey   3:21-cv-03892         ONDERLAW, LLC




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           Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
JANNELLI, LAUREN           MO - Circuit Court - City of St. Louis      1822-CC00002          ONDERLAW, LLC
JANSEN, DENISE             NJ - USDC for the District of New Jersey    3:17-cv-08339         ONDERLAW, LLC
JANSKY, WYONIA             NJ - USDC for the District of New Jersey    3:20-cv-20637         ONDERLAW, LLC
JANUARY, DOLLIE            MO - Circuit Court - City of St. Louis      1522-CC-10203         ONDERLAW, LLC
JAQUINTA, MELODY           NJ - USDC for the District of New Jersey    3:19-cv-08451         ONDERLAW, LLC
JARMUZ, MARIANNE           NJ - USDC for the District of New Jersey    3:19-cv-16059         ONDERLAW, LLC
JARNIGAN, TREVA            NJ - USDC for the District of New Jersey    3:21-cv-05329         ONDERLAW, LLC
JARRELL, TERANITA          NJ - USDC for the District of New Jersey    3:21-cv-07840         ONDERLAW, LLC
JARRETT-WARDLOW, BESSIE    NJ - USDC for the District of New Jersey    3:21-cv-07308         ONDERLAW, LLC
JARVIS, ORLAGH             NJ - USDC for the District of New Jersey    3:18-cv-14892         ONDERLAW, LLC
JASON, HELEN               NJ - USDC for the District of New Jersey    3:17-cv-06575         ONDERLAW, LLC
JASPER, MARY               NJ - USDC for the District of New Jersey    3:20-cv-14391         ONDERLAW, LLC
JATHO, LAURIE              NJ - USDC for the District of New Jersey    3:21-cv-02643         ONDERLAW, LLC
JAURIGUE, JESSIE           MO - Circuit Court - City of St. Louis      1822-CC00002          ONDERLAW, LLC
JAYROE, JANICE             NJ - USDC for the District of New Jersey    3:21-cv-08831         ONDERLAW, LLC
JEAN, DIETZ                NJ - USDC for the District of New Jersey    3:18-cv-02919         ONDERLAW, LLC
JEANNIE TRAVIS             NJ - USDC for the District of New Jersey    3:21-cv-18423         ONDERLAW, LLC
JECMINEK, GOLDA            NJ - USDC for the District of New Jersey    3:21-cv-03726         ONDERLAW, LLC
JEFFERSON, DORIS           NJ - USDC for the District of New Jersey    3:21-cv-06696         ONDERLAW, LLC
JEFFERSON, RUBY            NJ - USDC for the District of New Jersey    3:21-cv-07171         ONDERLAW, LLC
JEFFERY, MARY              NJ - USDC for the District of New Jersey    3:20-cv-01276         ONDERLAW, LLC
JEFFRIES, DONNA            NJ - USDC for the District of New Jersey    3:21-cv-05898         ONDERLAW, LLC
JENGO, NORA                NJ - USDC for the District of New Jersey    3:21-cv-08663         ONDERLAW, LLC
JENKINS, ADA               NJ - USDC for the District of New Jersey    3:21-cv-01661         ONDERLAW, LLC
JENKINS, CONSTANCE         NJ - USDC for the District of New Jersey    3:20-cv-00560         ONDERLAW, LLC
JENKINS, CYNTHIA           NJ - USDC for the District of New Jersey    3:21-cv-08756         ONDERLAW, LLC
JENKINS, DEBRA             MO - Circuit Court - City of St. Louis      1622-CC-00837         ONDERLAW, LLC
JENKINS, DONNA             NJ - USDC for the District of New Jersey    3:21-cv-04463         ONDERLAW, LLC
JENKINS, JACQUELINE        NJ - USDC for the District of New Jersey    3:19-cv-09173         ONDERLAW, LLC
JENKINS, KATHLEEN          NJ - USDC for the District of New Jersey    3:17-cv-08340         ONDERLAW, LLC
JENKINS, KAY               NJ - USDC for the District of New Jersey    3:20-cv-04341         ONDERLAW, LLC
JENNERICH, KAREN           NJ - USDC for the District of New Jersey    3:21-cv-06207         ONDERLAW, LLC
JENNINGS, EMMA             NJ - USDC for the District of New Jersey    3:21-cv-07854         ONDERLAW, LLC
JENNINGS, JACQUELINE       NJ - USDC for the District of New Jersey    3:21-cv-04364         ONDERLAW, LLC
JENNINGS, JUDITH           NJ - USDC for the District of New Jersey    3:18-cv-11743         ONDERLAW, LLC
JENNINGS, VICTORIA         NJ - USDC for the District of New Jersey    3:21-cv-07018         ONDERLAW, LLC
JENSEN, DALENE             MO - Circuit Court - Jefferson County       18JE-CC00448          ONDERLAW, LLC
JENSEN, DEBORAH            NJ - USDC for the District of New Jersey    3:17-cv-09811         ONDERLAW, LLC
JENSEN, MAIREAD            MO - Circuit Court - City of St. Louis      1522-CC-10203         ONDERLAW, LLC
JESKE, ROBIN               NJ - USDC for the District of New Jersey    3:19-cv-08729         ONDERLAW, LLC
JETER, MARCIA              NJ - USDC for the District of New Jersey    3:18-cv-11107         ONDERLAW, LLC
JETER, VIRGINIA            NJ - USDC for the District of New Jersey    3:21-cv-07480         ONDERLAW, LLC
JETT, ANNIE                NJ - USDC for the District of New Jersey    3:21-cv-07156         ONDERLAW, LLC
JETTON, KIMBERLY           NJ - USDC for the District of New Jersey    3:17-cv-09570         ONDERLAW, LLC
JEWELL, KAREN              NJ - USDC for the District of New Jersey    3:17-cv-08738         ONDERLAW, LLC
JILEK, CONSTANCE           NJ - USDC for the District of New Jersey    3:20-cv-00910         ONDERLAW, LLC
JILLSON, ROSE-MARIE        NJ - USDC for the District of New Jersey    3:21-cv-09520         ONDERLAW, LLC
JIMMERSON, BEVERLY         NJ - USDC for the District of New Jersey    3:21-cv-08935         ONDERLAW, LLC
JIRAUD, TRICIA             NJ - USDC for the District of New Jersey    3:21-cv-09270         ONDERLAW, LLC
JOCK, JACQUELINE           NJ - USDC for the District of New Jersey    3:17-cv-11186         ONDERLAW, LLC
JOELL, BETTY               NJ - USDC for the District of New Jersey    3:21-cv-06057         ONDERLAW, LLC
JOHANNSEN, JANET           NJ - USDC for the District of New Jersey    3:18-cv-08701         ONDERLAW, LLC
JOHN, PATRICIA             NJ - USDC for the District of New Jersey    3:21-cv-10287         ONDERLAW, LLC
JOHNER, DIANE              NJ - USDC for the District of New Jersey    3:18-cv-12752         ONDERLAW, LLC
JOHNS, DANA                NJ - USDC for the District of New Jersey    3:21-cv-18406         ONDERLAW, LLC
JOHNS, DENISE              NJ - USDC for the District of New Jersey    3:21-cv-07722         ONDERLAW, LLC
JOHNS, MARIE               NJ - USDC for the District of New Jersey    3:21-cv-07379         ONDERLAW, LLC
JOHNS, NANCY               MO - Circuit Court - City of St. Louis      1522-CC-10203         ONDERLAW, LLC
JOHNS, TAMIKA              NJ - USDC for the District of New Jersey    3:19-cv-16059         ONDERLAW, LLC
JOHNSN, TASHAUNA           NJ - USDC for the District of New Jersey    3:21-cv-08613         ONDERLAW, LLC
JOHNSON, AMBER             NJ - USDC for the District of New Jersey    3:21-cv-09238         ONDERLAW, LLC
JOHNSON, AMY               MO - Circuit Court - City of St. Louis      1722-CC10919          ONDERLAW, LLC
JOHNSON, ANITA             NJ - USDC for the District of New Jersey    3:21-cv-05883         ONDERLAW, LLC
JOHNSON, ANN               NJ - USDC for the District of New Jersey    3:17-cv-10995         ONDERLAW, LLC
JOHNSON, APRIL             MO - Circuit Court - City of St. Louis      1822-CC00002          ONDERLAW, LLC
JOHNSON, ARLENE            MO - Circuit Court - City of St. Louis      1522-CC-10203         ONDERLAW, LLC
JOHNSON, ASHLEY            NJ - USDC for the District of New Jersey    3:21-cv-17521         ONDERLAW, LLC
JOHNSON, BETTY             NJ - USDC for the District of New Jersey    3:21-cv-04159         ONDERLAW, LLC
JOHNSON, BRANDI            NJ - USDC for the District of New Jersey    3:21-cv-02020         ONDERLAW, LLC
JOHNSON, BRENDA            NJ - USDC for the District of New Jersey    3;21-cv-06353         ONDERLAW, LLC
JOHNSON, CAROLYN           NJ - USDC for the District of New Jersey    3:20-cv-20332         ONDERLAW, LLC
JOHNSON, CATHERINE         NJ - USDC for the District of New Jersey    3:21-cv-02818         ONDERLAW, LLC
JOHNSON, CATHY             MO - Circuit Court - City of St. Louis      1422-CC09821          ONDERLAW, LLC
JOHNSON, CHARLENE          NJ - USDC for the District of New Jersey    3:21-cv-02099         ONDERLAW, LLC
JOHNSON, CHRISTY           NJ - USDC for the District of New Jersey    3:20-cv-06670         ONDERLAW, LLC
JOHNSON, CLANTHA           NJ - USDC for the District of New Jersey    3:21-cv-06677         ONDERLAW, LLC
JOHNSON, CONNIE            NJ - USDC for the District of New Jersey    3:19-cv-00920         ONDERLAW, LLC
JOHNSON, CONNIE            NJ - USDC for the District of New Jersey    3:21-cv-05326         ONDERLAW, LLC
JOHNSON, CONSTANCE         CA - Superior Court - Contra Costa County   C17-02413             ONDERLAW, LLC
JOHNSON, CONSTANCE         MO - Circuit Court - City of St. Louis      1722-CC11681          ONDERLAW, LLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
JOHNSON, CONSTANCE           NJ - USDC for the District of New Jersey   3:17-cv-07929         ONDERLAW, LLC
JOHNSON, CONSTANCE           NJ - USDC for the District of New Jersey   3:17-cv-00799         ONDERLAW, LLC
JOHNSON, CYNTHIA             NJ - USDC for the District of New Jersey   3:19-cv-19261         ONDERLAW, LLC
JOHNSON, DANITA              NJ - USDC for the District of New Jersey   3:21-cv-02181         ONDERLAW, LLC
JOHNSON, DARLENE             NJ - USDC for the District of New Jersey   3:18-cv-13526         ONDERLAW, LLC
JOHNSON, DEBBIE              NJ - USDC for the District of New Jersey   3:21-cv-15030         ONDERLAW, LLC
JOHNSON, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-02378         ONDERLAW, LLC
JOHNSON, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-10290         ONDERLAW, LLC
JOHNSON, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-06375         ONDERLAW, LLC
JOHNSON, DIANE               NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
JOHNSON, DOLLY               NJ - USDC for the District of New Jersey   3:19-cv-20454         ONDERLAW, LLC
JOHNSON, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-10351         ONDERLAW, LLC
JOHNSON, DOROTHY             NJ - USDC for the District of New Jersey   3:21-cv-05192         ONDERLAW, LLC
JOHNSON, EDNA                NJ - USDC for the District of New Jersey   3:21-cv-02487         ONDERLAW, LLC
JOHNSON, ELAINE              NJ - USDC for the District of New Jersey   3:21-cv-10291         ONDERLAW, LLC
JOHNSON, EVELYN              NJ - USDC for the District of New Jersey   3:21-cv-07759         ONDERLAW, LLC
JOHNSON, FRANCINE            NJ - USDC for the District of New Jersey   3:18-cv-17812         ONDERLAW, LLC
JOHNSON, GEORGIA             NJ - USDC for the District of New Jersey   3:21-cv-01924         ONDERLAW, LLC
JOHNSON, GLENICE             NJ - USDC for the District of New Jersey   3:21-cv-05199         ONDERLAW, LLC
JOHNSON, GLORIA              NJ - USDC for the District of New Jersey   3:21-cv-09691         ONDERLAW, LLC
JOHNSON, HELEN               MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
JOHNSON, IRENE               NJ - USDC for the District of New Jersey   3:21-cv-06657         ONDERLAW, LLC
JOHNSON, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-05743         ONDERLAW, LLC
JOHNSON, JAYNA               NJ - USDC for the District of New Jersey   3:21-cv-06013         ONDERLAW, LLC
JOHNSON, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-01923         ONDERLAW, LLC
JOHNSON, JOANETTA            NJ - USDC for the District of New Jersey   3:21-cv-05081         ONDERLAW, LLC
JOHNSON, JOANNE              NJ - USDC for the District of New Jersey   3:20-cv-05802         ONDERLAW, LLC
JOHNSON, JOSEPHINE           NJ - USDC for the District of New Jersey   3:17-cv-05645         ONDERLAW, LLC
JOHNSON, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-00996         ONDERLAW, LLC
JOHNSON, JUDITH              NJ - USDC for the District of New Jersey   3:21-cv-09589         ONDERLAW, LLC
JOHNSON, JUDY                NJ - USDC for the District of New Jersey   3:21-cv-06525         ONDERLAW, LLC
JOHNSON, KATHLEEN            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
JOHNSON, LAUREN              NJ - USDC for the District of New Jersey   3:21-cv-08244         ONDERLAW, LLC
JOHNSON, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-06106         ONDERLAW, LLC
JOHNSON, LISA                MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
JOHNSON, LISA                NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
JOHNSON, LOIS                NJ - USDC for the District of New Jersey   3:21-cv-09228         ONDERLAW, LLC
JOHNSON, LOIS                NJ - USDC for the District of New Jersey   3:21-cv-01006         ONDERLAW, LLC
JOHNSON, LORRIANE            NJ - USDC for the District of New Jersey   3:18-cv-10081         ONDERLAW, LLC
JOHNSON, LUCILLE             NJ - USDC for the District of New Jersey   3:19-cv-20924         ONDERLAW, LLC
JOHNSON, MANYA               NJ - USDC for the District of New Jersey   3:21-cv-18022         ONDERLAW, LLC
JOHNSON, MARY                NJ - USDC for the District of New Jersey   3:21-cv-08625         ONDERLAW, LLC
JOHNSON, MARY                NJ - USDC for the District of New Jersey   3:21-cv-09017         ONDERLAW, LLC
JOHNSON, MARY                NJ - USDC for the District of New Jersey   3:20-cv-03589         ONDERLAW, LLC
JOHNSON, MARY                NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
JOHNSON, MATTIE              NJ - USDC for the District of New Jersey   3:21-cv-06090         ONDERLAW, LLC
JOHNSON, MAXINE              NJ - USDC for the District of New Jersey   3:21-cv-05161         ONDERLAW, LLC
JOHNSON, MILDRED             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
JOHNSON, NADINE              NJ - USDC for the District of New Jersey   3:19-cv-13725         ONDERLAW, LLC
JOHNSON, OLLIE               NJ - USDC for the District of New Jersey   3:21-cv-17272         ONDERLAW, LLC
JOHNSON, PATEAR              NJ - USDC for the District of New Jersey   3:20-cv-20635         ONDERLAW, LLC
JOHNSON, PATRICE             NJ - USDC for the District of New Jersey   3:20-cv-20619         ONDERLAW, LLC
JOHNSON, SAMANTHA            MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
JOHNSON, SARA                NJ - USDC for the District of New Jersey   3:21-cv-17523         ONDERLAW, LLC
JOHNSON, SHEILA              NJ - USDC for the District of New Jersey   3:21-cv-08113         ONDERLAW, LLC
JOHNSON, SHEILA              NJ - USDC for the District of New Jersey   3:20-cv-07738         ONDERLAW, LLC
JOHNSON, SHERRY              MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
JOHNSON, STACIE              NJ - USDC for the District of New Jersey   3:18-cv-10750         ONDERLAW, LLC
JOHNSON, TERESA              MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
JOHNSON, TINA                NJ - USDC for the District of New Jersey   3:21-cv-05916         ONDERLAW, LLC
JOHNSON, VIRGIE              NJ - USDC for the District of New Jersey   3:21-cv-05440         ONDERLAW, LLC
JOHNSON, WANDA               NJ - USDC for the District of New Jersey   3:21-cv-08126         ONDERLAW, LLC
JOHNSON, WILLIE              NJ - USDC for the District of New Jersey   3:21-cv-06688         ONDERLAW, LLC
JOHNSON-COATES, TONDRA       NJ - USDC for the District of New Jersey   3:21-cv-04682         ONDERLAW, LLC
JOHNSON-LORUSSO, CHRISTINE   NJ - USDC for the District of New Jersey   3:21-cv-07622         ONDERLAW, LLC
JOHNSON-RADFORD, JUDY        NJ - USDC for the District of New Jersey   3:20-cv-09912         ONDERLAW, LLC
JOHNSON-RAY, TRACY           NJ - USDC for the District of New Jersey   3:21-cv-04783         ONDERLAW, LLC
JOHNSON-TYNER, NIKKI         NJ - USDC for the District of New Jersey   3:18-cv-09312         ONDERLAW, LLC
JOHNSTON, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-05299         ONDERLAW, LLC
JOHNSTON, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-08009         ONDERLAW, LLC
JOHNSTON, RONDA              NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
JOHNSTON-HURST, DEBBY        NJ - USDC for the District of New Jersey   3:21-cv-07190         ONDERLAW, LLC
JOINER, RUTH                 NJ - USDC for the District of New Jersey   3:18-cv-15282         ONDERLAW, LLC
JOLLIFFE, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-08140         ONDERLAW, LLC
JOLLOTTA, ANTOINETTE         NJ - USDC for the District of New Jersey   3:21-cv-07852         ONDERLAW, LLC
JONAS, BARBARA               NJ - USDC for the District of New Jersey   3:20-cv-15668         ONDERLAW, LLC
JONES, ALISHA                NJ - USDC for the District of New Jersey   3:21-cv-07187         ONDERLAW, LLC
JONES, AMANDA                NJ - USDC for the District of New Jersey   3:21-cv-04154         ONDERLAW, LLC
JONES, ANDREA                NJ - USDC for the District of New Jersey   3:21-cv-07310         ONDERLAW, LLC
JONES, ANNETTE               NJ - USDC for the District of New Jersey   3:21-cv-08141         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
JONES, ANNIE              NJ - USDC for the District of New Jersey   3:18-cv-10807         ONDERLAW, LLC
JONES, BARBARA            MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
JONES, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-07386         ONDERLAW, LLC
JONES, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-06331         ONDERLAW, LLC
JONES, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-09768         ONDERLAW, LLC
JONES, BRYNNA             NJ - USDC for the District of New Jersey   3:21-cv-01628         ONDERLAW, LLC
JONES, CARLENE            NJ - USDC for the District of New Jersey   3:21-cv-01539         ONDERLAW, LLC
JONES, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-09670         ONDERLAW, LLC
JONES, CATHERINE          NJ - USDC for the District of New Jersey   3:21-cv-03118         ONDERLAW, LLC
JONES, CHEREE             NJ - USDC for the District of New Jersey   3:18-cv-15037         ONDERLAW, LLC
JONES, CHRISTIELOU        NJ - USDC for the District of New Jersey   3:21-cv-07887         ONDERLAW, LLC
JONES, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-09531         ONDERLAW, LLC
JONES, CYNTHIA            MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
JONES, DEANNA             NJ - USDC for the District of New Jersey   3:18-cv-13485         ONDERLAW, LLC
JONES, DECARLA            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
JONES, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-09571         ONDERLAW, LLC
JONES, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-07632         ONDERLAW, LLC
JONES, DOLORES            NJ - USDC for the District of New Jersey   3:21-cv-05824         ONDERLAW, LLC
JONES, EMMA               NJ - USDC for the District of New Jersey   3:20-cv-12692         ONDERLAW, LLC
JONES, FANNIE             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
JONES, GERTIE             NJ - USDC for the District of New Jersey   3:21-cv-07234         ONDERLAW, LLC
JONES, GRETCHEN           NJ - USDC for the District of New Jersey   3:21-cv-17525         ONDERLAW, LLC
JONES, GWENDOLYN          NJ - USDC for the District of New Jersey   3:20-cv-03776         ONDERLAW, LLC
JONES, HARRIETTA          NJ - USDC for the District of New Jersey   3:21-cv-10293         ONDERLAW, LLC
JONES, HEATHER            NJ - USDC for the District of New Jersey   3:19-cv-14404         ONDERLAW, LLC
JONES, HOPE               NJ - USDC for the District of New Jersey   3:20-cv-13061         ONDERLAW, LLC
JONES, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-07984         ONDERLAW, LLC
JONES, JANET              NJ - USDC for the District of New Jersey   3:17-cv-09938         ONDERLAW, LLC
JONES, JEANETTE           NJ - USDC for the District of New Jersey   3:17-cv-08850         ONDERLAW, LLC
JONES, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-09772         ONDERLAW, LLC
JONES, JONEE              NJ - USDC for the District of New Jersey   3:20-cv-20009         ONDERLAW, LLC
JONES, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-03843         ONDERLAW, LLC
JONES, JULIE              NJ - USDC for the District of New Jersey   3:20-cv-20617         ONDERLAW, LLC
JONES, KATHLEEN           MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
JONES, KATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
JONES, KATHY              NJ - USDC for the District of New Jersey   3:19-cv-21666         ONDERLAW, LLC
JONES, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-05601         ONDERLAW, LLC
JONES, KWANA              NJ - USDC for the District of New Jersey   3:21-cv-03742         ONDERLAW, LLC
JONES, LAKYDA             NJ - USDC for the District of New Jersey   3:18-cv-05003         ONDERLAW, LLC
JONES, LILLIE             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
JONES, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-10349         ONDERLAW, LLC
JONES, LISA               NJ - USDC for the District of New Jersey   3:21-cv-10348         ONDERLAW, LLC
JONES, MABEL              NJ - USDC for the District of New Jersey   3:21-cv-03508         ONDERLAW, LLC
JONES, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-08775         ONDERLAW, LLC
JONES, MARIANNE           NJ - USDC for the District of New Jersey   3:20-cv-08505         ONDERLAW, LLC
JONES, MARY               NJ - USDC for the District of New Jersey   3:21-cv-17713         ONDERLAW, LLC
JONES, MARY               NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
JONES, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-02472         ONDERLAW, LLC
JONES, MONA               CA - Superior Court - Los Angeles County   BC681836              ONDERLAW, LLC
JONES, MONA               NJ - USDC for the District of New Jersey   3:17-cv-11315         ONDERLAW, LLC
JONES, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-06700         ONDERLAW, LLC
JONES, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
JONES, NELLIE             NJ - USDC for the District of New Jersey   3:21-cv-17398         ONDERLAW, LLC
JONES, NETRA              MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
JONES, NETTIE             NJ - USDC for the District of New Jersey   3:21-cv-18140         ONDERLAW, LLC
JONES, NICOLE             NJ - USDC for the District of New Jersey   3:18-cv-10715         ONDERLAW, LLC
JONES, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-03436         ONDERLAW, LLC
JONES, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-16715         ONDERLAW, LLC
JONES, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-08240         ONDERLAW, LLC
JONES, PENELOPE           NJ - USDC for the District of New Jersey   3:21-cv-06983         ONDERLAW, LLC
JONES, RAMONA             NJ - USDC for the District of New Jersey   3:17-cv-12721         ONDERLAW, LLC
JONES, ROSE               NJ - USDC for the District of New Jersey   3:20-cv-20307         ONDERLAW, LLC
JONES, RUTH               NJ - USDC for the District of New Jersey   3:18-cv-11005         ONDERLAW, LLC
JONES, SANDRA             MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
JONES, SHARION            MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
JONES, SHERRY             NJ - USDC for the District of New Jersey   3:21-cv-02234         ONDERLAW, LLC
JONES, SHERRY             NJ - USDC for the District of New Jersey   3:21-cv-05092         ONDERLAW, LLC
JONES, SHIRLEY            NJ - USDC for the District of New Jersey   3:19-cv-08120         ONDERLAW, LLC
JONES, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-04767         ONDERLAW, LLC
JONES, THELLA             NJ - USDC for the District of New Jersey   3:21-cv-09334         ONDERLAW, LLC
JONES, TRINA              NJ - USDC for the District of New Jersey   3:21-cv-18274         ONDERLAW, LLC
JONES, VALORIE            NJ - USDC for the District of New Jersey   3:19-cv-05005         ONDERLAW, LLC
JONES, VANESSA            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
JONES, VENIA              NJ - USDC for the District of New Jersey   3:20-cv-12209         ONDERLAW, LLC
JONES, VIRGINIA           NJ - USDC for the District of New Jersey   3:17-cv-11157         ONDERLAW, LLC
JONES, VIVIAN             NJ - USDC for the District of New Jersey   3:18-cv-11739         ONDERLAW, LLC
JONES, WILLIE             NJ - USDC for the District of New Jersey   3:21-cv-05776         ONDERLAW, LLC
JONES-PURYEAR, MARCEL     NJ - USDC for the District of New Jersey   3:17-cv-10016         ONDERLAW, LLC
JONES-SANDERS, KRISTAL    NJ - USDC for the District of New Jersey   3:19-cv-09251         ONDERLAW, LLC
JONES-WAUGH, PATRICIA     NJ - USDC for the District of New Jersey   3:21-cv-03714         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
JONSEOF, TERRI            NJ - USDC for the District of New Jersey   3:17-cv-08341         ONDERLAW, LLC
JORDAN, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-05841         ONDERLAW, LLC
JORDAN, BEVERLY           NJ - USDC for the District of New Jersey   3:17-cv-09692         ONDERLAW, LLC
JORDAN, DORPHINE          NJ - USDC for the District of New Jersey   3:18-cv-13369         ONDERLAW, LLC
JORDAN, EUNICE            NJ - USDC for the District of New Jersey   3:21-cv-05691         ONDERLAW, LLC
JORDAN, GINGER            NJ - USDC for the District of New Jersey   3:17-cv-09855         ONDERLAW, LLC
JORDAN, JAYLESSA          NJ - USDC for the District of New Jersey   3:21-cv-07012         ONDERLAW, LLC
JORDAN, JOELLEN           NJ - USDC for the District of New Jersey   3:21-cv-07259         ONDERLAW, LLC
JORDAN, JUANITA           NJ - USDC for the District of New Jersey   3:21-cv-03913         ONDERLAW, LLC
JORDAN, KATHRYN           NJ - USDC for the District of New Jersey   3:21-cv-09777         ONDERLAW, LLC
JORDAN, KRISTIN           NJ - USDC for the District of New Jersey   3:18-cv-08419         ONDERLAW, LLC
JORDAN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-07387         ONDERLAW, LLC
JORDAN, RHONDA            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
JORDAN, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-01149         ONDERLAW, LLC
JORDAN, VENESSA           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
JORDAN, VIRGINIA          NJ - USDC for the District of New Jersey   3:21-cv-18276         ONDERLAW, LLC
JOSE, LOURDES             MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
JOSEPH, AMY               NJ - USDC for the District of New Jersey   3:21-cv-04185         ONDERLAW, LLC
JOSEPH, MARGARET          NJ - USDC for the District of New Jersey   3:17-cv-11198         ONDERLAW, LLC
JOSEPH, SHAYNA            NJ - USDC for the District of New Jersey   3:21-cv-18041         ONDERLAW, LLC
JOSEPH, THERESA           NJ - USDC for the District of New Jersey   3:21-cv-05750         ONDERLAW, LLC
JOSEPHSON, SUSAN          NJ - USDC for the District of New Jersey   3:20-cv-20609         ONDERLAW, LLC
JOWANDA PEARSON           NJ - USDC for the District of New Jersey   3:21-cv-18203         ONDERLAW, LLC
JOYCE, MARY               NJ - USDC for the District of New Jersey   3:20-cv-05315         ONDERLAW, LLC
JOYNER, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-17052         ONDERLAW, LLC
JOYNER, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-02687         ONDERLAW, LLC
JOZEFIAK, MICHELINE       NJ - USDC for the District of New Jersey   3:21-cv-08409         ONDERLAW, LLC
JUANITEZ, TERESITA        MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
JUAREZ, DANIELLE          NJ - USDC for the District of New Jersey   3:21-cv-17979         ONDERLAW, LLC
JUAREZ, MARYELLEN         NJ - USDC for the District of New Jersey   3:21-cv-08088         ONDERLAW, LLC
JUGUILION, NANCY          NJ - USDC for the District of New Jersey   3:19-cv-19099         ONDERLAW, LLC
JULIAN, SHERYL            NJ - USDC for the District of New Jersey   3:20-cv-10353         ONDERLAW, LLC
JUMP, MISTY               NJ - USDC for the District of New Jersey   3:21-cv-04181         ONDERLAW, LLC
JUNGWIRTH, JEANNINE       NJ - USDC for the District of New Jersey   3:21-cv-03499         ONDERLAW, LLC
JURRUS, BETSY             NJ - USDC for the District of New Jersey   3:20-cv-19572         ONDERLAW, LLC
JUSTICE, ANNE             NJ - USDC for the District of New Jersey   3:21-cv-04729         ONDERLAW, LLC
JUSTICE, LESLIE           NJ - USDC for the District of New Jersey   3:21-CV-18034         ONDERLAW, LLC
JUSTICE, LINDA            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
KACIR, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-09677         ONDERLAW, LLC
KACKLEY, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-09157         ONDERLAW, LLC
KACZOR, COLENE            NJ - USDC for the District of New Jersey   3:20-cv-07630         ONDERLAW, LLC
KADERLI, JUANITA          NJ - USDC for the District of New Jersey   3:21-cv-06498         ONDERLAW, LLC
KADIS-STRAUSS, RUTH       NJ - USDC for the District of New Jersey   3:20-cv-01442         ONDERLAW, LLC
KADLEC, SALLY             NJ - USDC for the District of New Jersey   3:21-cv-05391         ONDERLAW, LLC
KAEMPFE, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-01233         ONDERLAW, LLC
KAEO, SHADA               NJ - USDC for the District of New Jersey   3:18-cv-08855         ONDERLAW, LLC
KAHN, MARIANA             NJ - USDC for the District of New Jersey   3:18-cv-16633         ONDERLAW, LLC
KAHN, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-14636         ONDERLAW, LLC
KAIRIS, BEVERLY           NJ - USDC for the District of New Jersey   3:21-cv-07710         ONDERLAW, LLC
KALIB, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-09948         ONDERLAW, LLC
KALLINGAL, MATILDA        NJ - USDC for the District of New Jersey   3:20-cv-12907         ONDERLAW, LLC
KAM, SUSAN                NJ - USDC for the District of New Jersey   3:21-cv-18280         ONDERLAW, LLC
KAMERIK, VICKIE           NJ - USDC for the District of New Jersey   3:21-cv-03782         ONDERLAW, LLC
KAMIN, LESLIE             NJ - USDC for the District of New Jersey   3:21-cv-04953         ONDERLAW, LLC
KAML, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-16752         ONDERLAW, LLC
KAMPS, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-09434         ONDERLAW, LLC
KANE, ANNA                NJ - USDC for the District of New Jersey   3:21-cv-04788         ONDERLAW, LLC
KANG, BARINDER            NJ - USDC for the District of New Jersey   3:21-cv-17711         ONDERLAW, LLC
KANN, JONELLE             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
KANTOR, IRIS              NJ - USDC for the District of New Jersey   3:19-cv-13127         ONDERLAW, LLC
KAPKE, RENEE              NJ - USDC for the District of New Jersey   3:21-cv-09162         ONDERLAW, LLC
KAPLAN, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-05276         ONDERLAW, LLC
KAPLAN, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-09929         ONDERLAW, LLC
KARAHALIOS, MARY          NJ - USDC for the District of New Jersey   3:21-cv-05723         ONDERLAW, LLC
KARASIK, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-08071         ONDERLAW, LLC
KARAZIM, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-10350         ONDERLAW, LLC
KARL, CINDY               NJ - USDC for the District of New Jersey   3:21-cv-17528         ONDERLAW, LLC
KARO, JOAN                MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
KARRER, CATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-17958         ONDERLAW, LLC
KASPRZAK, LINDA           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
KASTNER, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-06948         ONDERLAW, LLC
KASTNER, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-04959         ONDERLAW, LLC
KASZER, ANN               NJ - USDC for the District of New Jersey   3:21-cv-06364         ONDERLAW, LLC
KASZUBA, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-05887         ONDERLAW, LLC
KATES, KIMBERLEY          NJ - USDC for the District of New Jersey   3:21-cv-17177         ONDERLAW, LLC
KATH, ELLEN               NJ - USDC for the District of New Jersey   3:20-cv-04027         ONDERLAW, LLC
KATHAIN, NELLIE           NJ - USDC for the District of New Jersey   3:18-cv-02930         ONDERLAW, LLC
KATSOV, ALLA              NJ - USDC for the District of New Jersey   3:21-cv-10354         ONDERLAW, LLC
KATTMAN, LESLIE           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
KATZ, ISRAELA             NJ - USDC for the District of New Jersey   3:20-cv-16612         ONDERLAW, LLC




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          Claimant Name                     State Filed                    Docket Number               Plaintiff Counsel
KAUFER, LOIS              NJ - USDC for the District of New Jersey   3:20-cv-07637         ONDERLAW, LLC
KAUFMANN, JONALYN         NJ - USDC for the District of New Jersey   3:21-cv-07783         ONDERLAW, LLC
KAULFUS, SIDNEY           NJ - USDC for the District of New Jersey   3:21-cv-06709         ONDERLAW, LLC
KAUPA, PAULA              NJ - USDC for the District of New Jersey   3:18-cv-17361         ONDERLAW, LLC
KAWELASKE, SUZANNA        MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
KAY, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-06857         ONDERLAW, LLC
KEANEY, LYNN              NJ - USDC for the District of New Jersey   3:21-cv-04187         ONDERLAW, LLC
KEARNS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-06323         ONDERLAW, LLC
KEATHLEY, BESSIE          NJ - USDC for the District of New Jersey   3:21-cv-01185         ONDERLAW, LLC
KEATING, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-06424         ONDERLAW, LLC
KEATING, RENEE            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
KEENA, JANICE             NJ - USDC for the District of New Jersey   3:20-cv-01447         ONDERLAW, LLC
KEENAN, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-03575         ONDERLAW, LLC
KEENAN, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-07410         ONDERLAW, LLC
KEENAN-MELVIN, ROSEMARY   NJ - USDC for the District of New Jersey   3:21-cv-03357         ONDERLAW, LLC
KEENE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-05094         ONDERLAW, LLC
KEETON, MILDRED           NJ - USDC for the District of New Jersey   3:20-cv-06678         ONDERLAW, LLC
KEETON, PATRICIA          MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
KEILY, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-09897         ONDERLAW, LLC
KEISLER, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-09774         ONDERLAW, LLC
KEISLING, JUANITA         NJ - USDC for the District of New Jersey   3:21-cv-17408         ONDERLAW, LLC
KEISTLER, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-04294         ONDERLAW, LLC
KEITGES, DIEDRE           NJ - USDC for the District of New Jersey   3:21-cv-06929         ONDERLAW, LLC
KEITH, AMELIA             NJ - USDC for the District of New Jersey   3:21-cv-16883         ONDERLAW, LLC
KEITH, CHRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-17909         ONDERLAW, LLC
KELIIKULI, BERNADINE      NJ - USDC for the District of New Jersey   3:21-cv-02296         ONDERLAW, LLC
KELLEY, BRENDA            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
KELLEY, ESTHER            NJ - USDC for the District of New Jersey   3:21-cv-07532         ONDERLAW, LLC
KELLEY, GAIL              NJ - USDC for the District of New Jersey   3:21-cv-06533         ONDERLAW, LLC
KELLEY, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-18024         ONDERLAW, LLC
KELLEY, KAREN             IL - Circuit Court - Cook County           2019L065076           ONDERLAW, LLC
KELLEY, LISA              NJ - USDC for the District of New Jersey   3:17-cv-09504         ONDERLAW, LLC
KELLEY, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-05179         ONDERLAW, LLC
KELLEY, ROXANNE           NJ - USDC for the District of New Jersey   3:21-cv-07218         ONDERLAW, LLC
KELLEY, VALERIE           NJ - USDC for the District of New Jersey   3:20-cv-10352         ONDERLAW, LLC
KELLEY, VERONICA          NJ - USDC for the District of New Jersey   3:21-cv-03119         ONDERLAW, LLC
KELLEY-THIRY, JUDY        NJ - USDC for the District of New Jersey   3:21-cv-00058         ONDERLAW, LLC
KELLY WILLIAMS            NJ - USDC for the District of New Jersey   3:21-cv-18209         ONDERLAW, LLC
KELLY, ARLENA             NJ - USDC for the District of New Jersey   3:20-cv-20316         ONDERLAW, LLC
KELLY, BRIANA             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
KELLY, BUNNIE             NJ - USDC for the District of New Jersey   3:21-cv-08921         ONDERLAW, LLC
KELLY, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-01409         ONDERLAW, LLC
KELLY, CORRINE            NJ - USDC for the District of New Jersey   3:21-cv-06012         ONDERLAW, LLC
KELLY, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-12210         ONDERLAW, LLC
KELLY, KATHA              NJ - USDC for the District of New Jersey   3:21-cv-07562         ONDERLAW, LLC
KELLY, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-00800         ONDERLAW, LLC
KELLY, KATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-09302         ONDERLAW, LLC
KELLY, KIMBERLY           NJ - USDC for the District of New Jersey   3:18-cv-12231         ONDERLAW, LLC
KELLY, LAURIE             NJ - USDC for the District of New Jersey   3:20-cv-20584         ONDERLAW, LLC
KELLY, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-06104         ONDERLAW, LLC
KELLY, MARGARET           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
KELLY, MARIE              NJ - USDC for the District of New Jersey   3:21-cv-02606         ONDERLAW, LLC
KELLY, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-13543         ONDERLAW, LLC
KELLY, SHEILA             NJ - USDC for the District of New Jersey   3:21-cv-09766         ONDERLAW, LLC
KELLY, TAYLOR             NJ - USDC for the District of New Jersey   3:20-cv-15390         ONDERLAW, LLC
KELLY, THELMA             NJ - USDC for the District of New Jersey   3:21-cv-09456         ONDERLAW, LLC
KELLY, TRACY              NJ - USDC for the District of New Jersey   3:21-cv-06083         ONDERLAW, LLC
KELSEY, DANIELLE          NJ - USDC for the District of New Jersey   3:19-cv-20762         ONDERLAW, LLC
KELSEY, DELORES           NJ - USDC for the District of New Jersey   3:18-cv-12236         ONDERLAW, LLC
KEMP, JEAN                NJ - USDC for the District of New Jersey   3:21-cv-10356         ONDERLAW, LLC
KEMP, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-06521         ONDERLAW, LLC
KEMPER, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-05903         ONDERLAW, LLC
KEMPF, KATHY              NJ - USDC for the District of New Jersey   3:21-cv-04217         ONDERLAW, LLC
KEMPF, TRACIE             NJ - USDC for the District of New Jersey   3:21-cv-04140         ONDERLAW, LLC
KENERLY-DARBY, PATRICIA   NJ - USDC for the District of New Jersey   3:21-cv-05708         ONDERLAW, LLC
KENNAMER, LISA            NJ - USDC for the District of New Jersey   3:21-cv-03498         ONDERLAW, LLC
KENNEDY, EDITH            NJ - USDC for the District of New Jersey   3:19-cv-06294         ONDERLAW, LLC
KENNEDY, JOYCE            NJ - USDC for the District of New Jersey   3:17-cv-09561         ONDERLAW, LLC
KENNEDY, KIMBERLY         NJ - USDC for the District of New Jersey   3:21-cv-04202         ONDERLAW, LLC
KENNEDY, LISA             NJ - USDC for the District of New Jersey   3:21-cv-09406         ONDERLAW, LLC
KENNEDY, LOLA             NJ - USDC for the District of New Jersey   3:21-cv-07157         ONDERLAW, LLC
KENNEDY, LORINE           NJ - USDC for the District of New Jersey   3:18-cv-12947         ONDERLAW, LLC
KENNEDY, SHANNON          NJ - USDC for the District of New Jersey   3:18-cv-00320         ONDERLAW, LLC
KENNEDY, TANYA            NJ - USDC for the District of New Jersey   3:21-cv-05185         ONDERLAW, LLC
KENNEDY, TIFFANY          NJ - USDC for the District of New Jersey   3:21-cv-08125         ONDERLAW, LLC
KENNETT, AMY              NJ - USDC for the District of New Jersey   3:21-cv-08925         ONDERLAW, LLC
KENNEY, BERTHA            NJ - USDC for the District of New Jersey   3:21-cv-05112         ONDERLAW, LLC
KENNEY, MARY              NJ - USDC for the District of New Jersey   3:21-cv-17540         ONDERLAW, LLC
KENNY, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-18314         ONDERLAW, LLC
KENOSHA, TRINIDAD         NJ - USDC for the District of New Jersey   3:21-cv-05168         ONDERLAW, LLC




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         Claimant Name                     State Filed                      Docket Number                   Plaintiff Counsel
KENT, CATHERINE            NJ - USDC for the District of New Jersey   3:21-cv-01389             ONDERLAW, LLC
KENT, MINGYON              NJ - USDC for the District of New Jersey   3:21-cv-04222             ONDERLAW, LLC
KENT, MONICA               NJ - USDC for the District of New Jersey   3:17-cv-00800             ONDERLAW, LLC
KENT, SANDRA               NJ - USDC for the District of New Jersey   3:18-cv-09055             ONDERLAW, LLC
KEOGLER, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-17813             ONDERLAW, LLC
KEPHART, LORETTA           MO - Circuit Court - City of St. Louis     1422-CC09821              ONDERLAW, LLC
KERCHINER, CATHY           MO - Circuit Court - City of St. Louis     1522-CC-09792             ONDERLAW, LLC
KERN, BARBARA              NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
KERN, MARILYN              NJ - USDC for the District of New Jersey   3:20-cv-00962             ONDERLAW, LLC
KERNS, GRACE               NJ - USDC for the District of New Jersey   3:21-cv-08931             ONDERLAW, LLC
KERNS, MARY                NJ - USDC for the District of New Jersey   3:21-cv-17962             ONDERLAW, LLC
                                                                      30-2017-00953308-CU-PL-
KERP, SUSAN                CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                      CXC
KERP, SUSAN                NJ - USDC for the District of New Jersey   3:17-cv-05719             ONDERLAW, LLC
KERPASH, BILLIE            NJ - USDC for the District of New Jersey   3:18-cv-12956             ONDERLAW, LLC
KERR, CATHLENE             NJ - USDC for the District of New Jersey   3:21-cv-12374             ONDERLAW, LLC
KERR, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-07290             ONDERLAW, LLC
KERRIGAN, KAREN            MO - Circuit Court - City of St. Louis     1822-CC11165              ONDERLAW, LLC
KERTAI, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-16885             ONDERLAW, LLC
KERWIN, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-05736             ONDERLAW, LLC
KESLER, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-18446             ONDERLAW, LLC
KESSENICH, CAROL           NJ - USDC for the District of New Jersey   3:18-cv-02135             ONDERLAW, LLC
KESSLER, CANDICE           NJ - USDC for the District of New Jersey   3:18-cv-12620             ONDERLAW, LLC
KESSLER, JODY              NJ - USDC for the District of New Jersey   3:21-cv-05900             ONDERLAW, LLC
KETTERMAN, JESSICA         NJ - USDC for the District of New Jersey   3:18-cv-17814             ONDERLAW, LLC
KEY, SHAKEITA              NJ - USDC for the District of New Jersey   3:21-cv-05086             ONDERLAW, LLC
KEYLON, FREDA              NJ - USDC for the District of New Jersey   3:21-cv-07663             ONDERLAW, LLC
KEYSER, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-03397             ONDERLAW, LLC
KHAN, BLONDELL             NJ - USDC for the District of New Jersey   3:21-cv-04963             ONDERLAW, LLC
KHATCHIKIAN-ZOPKO, JANET   NJ - USDC for the District of New Jersey   3:21-cv-05289             ONDERLAW, LLC
KHAZZAKA, ALISE            NJ - USDC for the District of New Jersey   3:17-cv-00798             ONDERLAW, LLC
KHURI, LILLY               NJ - USDC for the District of New Jersey   3:18-cv-15149             ONDERLAW, LLC
KIBBEY, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-17543             ONDERLAW, LLC
KIDD, CHARLENE             NJ - USDC for the District of New Jersey   3:18-cv-12595             ONDERLAW, LLC
KIDD, SHEILA               NJ - USDC for the District of New Jersey   3:19-cv-12454             ONDERLAW, LLC
KIDD, VICKIE               NJ - USDC for the District of New Jersey   3:21-cv-04685             ONDERLAW, LLC
KIEKBUSCH, MARION          NJ - USDC for the District of New Jersey   3:20-cv-20608             ONDERLAW, LLC
KIELISZEK, CLARA           MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
KIENTZ, JONNIA             NJ - USDC for the District of New Jersey   3:21-cv-03568             ONDERLAW, LLC
KIESZ, SUZANNE             NJ - USDC for the District of New Jersey   3:19-cv-14405             ONDERLAW, LLC
KILBANE, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-09051             ONDERLAW, LLC
KILBURN, CHARLETT          NJ - USDC for the District of New Jersey   3:21-cv-05082             ONDERLAW, LLC
KILBURN, JENNIE            NJ - USDC for the District of New Jersey   3:21-cv-08511             ONDERLAW, LLC
KILGO, SELENA              NJ - USDC for the District of New Jersey   3:21-cv-08481             ONDERLAW, LLC
KILTY, KELLEY              NJ - USDC for the District of New Jersey   3:17-cv-09814             ONDERLAW, LLC
KIMBLE, JULIE              NJ - USDC for the District of New Jersey   3:21-cv-05375             ONDERLAW, LLC
KIMBROUGH, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-20585             ONDERLAW, LLC
KIM-DOMINGUEZ, ELEANOR     NJ - USDC for the District of New Jersey   3:21-cv-02453             ONDERLAW, LLC
KIMMERLING, SHEENA         NJ - USDC for the District of New Jersey   3:21-cv-05188             ONDERLAW, LLC
KINARD, JOHNNIE            NJ - USDC for the District of New Jersey   3:19-cv-20787             ONDERLAW, LLC
KINARD, THERESA            NJ - USDC for the District of New Jersey   3:21-cv-05095             ONDERLAW, LLC
KINDER, EVA                NJ - USDC for the District of New Jersey   3:21-cv-07823             ONDERLAW, LLC
KING, EQUILLA              NJ - USDC for the District of New Jersey   3:20-cv-16869             ONDERLAW, LLC
KING, GRACW                NJ - USDC for the District of New Jersey   3:21-cv-05645             ONDERLAW, LLC
KING, JUDY                 NJ - USDC for the District of New Jersey   3:21-cv-10358             ONDERLAW, LLC
KING, KATHRYN              NJ - USDC for the District of New Jersey   3:18-cv-11614             ONDERLAW, LLC
KING, KIMBERLY             NJ - USDC for the District of New Jersey   3:21-cv-01382             ONDERLAW, LLC
KING, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-09256             ONDERLAW, LLC
KING, SHARALYN             NJ - USDC for the District of New Jersey   3:21-cv-08974             ONDERLAW, LLC
KING, SHEILA               NJ - USDC for the District of New Jersey   3:19-cv-06935             ONDERLAW, LLC
KING, TERRY                NJ - USDC for the District of New Jersey   3:21-cv-18283             ONDERLAW, LLC
KING, VERA                 NJ - USDC for the District of New Jersey   3:19-cv-12521             ONDERLAW, LLC
KING, VIVIAN               NJ - USDC for the District of New Jersey   3:18-cv-15036             ONDERLAW, LLC
KING-CARTER, ALLEEN        NJ - USDC for the District of New Jersey   3:21-cv-05421             ONDERLAW, LLC
KING-GREEN, LATRICE        NJ - USDC for the District of New Jersey   3:21-cv-04203             ONDERLAW, LLC
KINGSTON, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-10191             ONDERLAW, LLC
KINNARD, KIMBRA            NJ - USDC for the District of New Jersey   3:21-cv-04342             ONDERLAW, LLC
KINSLOW, TANYA             NJ - USDC for the District of New Jersey   3:19-cv-20776             ONDERLAW, LLC
KINTCHEN, MATTIE           NJ - USDC for the District of New Jersey   3:21-cv-06306             ONDERLAW, LLC
KINTER, TONI               NJ - USDC for the District of New Jersey   3:21-cv-01704             ONDERLAW, LLC
KIRBY, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-01577             ONDERLAW, LLC
KIRCHHOFF, LYNN            MO - Circuit Court - City of St. Louis     1522-CC00613              ONDERLAW, LLC
KIRK, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-03304             ONDERLAW, LLC
KIRK, KAREN                MO - Circuit Court - City of St. Louis     1822-CC00237              ONDERLAW, LLC
KIRK, SUSAN                NJ - USDC for the District of New Jersey   3:19-cv-07442             ONDERLAW, LLC
KIRKATRICK, CATHERINE      NJ - USDC for the District of New Jersey   3:21-cv-09650             ONDERLAW, LLC
KIRKDOFFER, ETTA           NJ - USDC for the District of New Jersey   3:21-cv-09029             ONDERLAW, LLC
KIRKLEY, LOUISE            NJ - USDC for the District of New Jersey   3:20-cv-06976             ONDERLAW, LLC
KIRKPATRICK, ROSALIE       NJ - USDC for the District of New Jersey   3:21-cv-06378             ONDERLAW, LLC
KIRKS, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-06316             ONDERLAW, LLC




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
KIRLAK, KATHLEEN                  NJ - USDC for the District of New Jersey   3:18-cv-17815         ONDERLAW, LLC
KIRSCHNICK, JUANITA               NJ - USDC for the District of New Jersey   3:20-cv-02116         ONDERLAW, LLC
KISER, SHAWNA                     NJ - USDC for the District of New Jersey   3:21-cv-05626         ONDERLAW, LLC
KISSELL, MARIA                    MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
KISSINGER, REGINA                 NJ - USDC for the District of New Jersey   3:20-cv-09020         ONDERLAW, LLC
KISSLING, ALISON                  NJ - USDC for the District of New Jersey   3:21-cv-05677         ONDERLAW, LLC
KITHCART, MARY                    NJ - USDC for the District of New Jersey   3:17-cv-11091         ONDERLAW, LLC
KITKOSKY, KACY                    NJ - USDC for the District of New Jersey   3:20-cv-06823         ONDERLAW, LLC
KITT, MICHELLE                    MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
KITTLE, DEBORAH                   NJ - USDC for the District of New Jersey   3:18-cv-02126         ONDERLAW, LLC
KITTLE, LISA                      NJ - USDC for the District of New Jersey   3:20-cv-03398         ONDERLAW, LLC
KIVORA, JANET                     NJ - USDC for the District of New Jersey   3:21-cv-01721         ONDERLAW, LLC
KJERSGAARD, MONICA                NJ - USDC for the District of New Jersey   3:21-cv-10360         ONDERLAW, LLC
KLAUS, PAM                        NJ - USDC for the District of New Jersey   3:21-cv-06916         ONDERLAW, LLC
KLAWUHN, RANDA                    NJ - USDC for the District of New Jersey   3:20-cv-13256         ONDERLAW, LLC
KLEIMAN, RITA                     NJ - USDC for the District of New Jersey   3:21-cv-09775         ONDERLAW, LLC
KLEIN, CAROLE                     NJ - USDC for the District of New Jersey   3:21-cv-8354          ONDERLAW, LLC
KLEIN, FRANCINE                   NJ - USDC for the District of New Jersey   3:21-cv-08018         ONDERLAW, LLC
KLEIS, AMANDA                     NJ - USDC for the District of New Jersey   3:21-cv-09243         ONDERLAW, LLC
KLEM, DEBRA                       NJ - USDC for the District of New Jersey   3:19-cv-21941         ONDERLAW, LLC
KLEMPNER, RODORA                  NJ - USDC for the District of New Jersey   3:21-cv-02551         ONDERLAW, LLC
KLINDT, KAREN                     NJ - USDC for the District of New Jersey   3:21-cv-02323         ONDERLAW, LLC
KLINE, KATHERINE                  NJ - USDC for the District of New Jersey   3:18-cv-13871         ONDERLAW, LLC
KLINGER, BILLY                    NJ - USDC for the District of New Jersey   3:17-cv-08830         ONDERLAW, LLC
KLINKHAMMER, SHANNON              NJ - USDC for the District of New Jersey   3:17-cv-10560         ONDERLAW, LLC
KLINNERT, LEVETA                  NJ - USDC for the District of New Jersey   3:21-cv-18284         ONDERLAW, LLC
KLIPFEL, BEVERLY                  NJ - USDC for the District of New Jersey   3:20-cv-13251         ONDERLAW, LLC
KLISSAS, DENISE                   NJ - USDC for the District of New Jersey   3:21-cv-05038         ONDERLAW, LLC
KLOCK, ELAINE                     NJ - USDC for the District of New Jersey   3:20-cv-12211         ONDERLAW, LLC
KLOCK, KAREN                      NJ - USDC for the District of New Jersey   3:21-cv-07328         ONDERLAW, LLC
KLOSTER, BARBARA                  NJ - USDC for the District of New Jersey   3:20-cv-01450         ONDERLAW, LLC
KLOSTERMAN-ROCK, VERONICA         MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
KLYLE, PATTY                      NJ - USDC for the District of New Jersey   3:21-cv-07698         ONDERLAW, LLC
KNIGHT, DOROTHY                   NJ - USDC for the District of New Jersey   3:18-cv-09635         ONDERLAW, LLC
KNIGHT, KATHRYN                   NJ - USDC for the District of New Jersey   3:21-cv-06595         ONDERLAW, LLC
KNIGHT, MARTHA                    NJ - USDC for the District of New Jersey   3:20-cv-14637         ONDERLAW, LLC
KNOBLAUGH, AMELIA                 NJ - USDC for the District of New Jersey   3:21-cv-17204         ONDERLAW, LLC
KNOPPEL, JOHANNE                  NJ - USDC for the District of New Jersey   3:18-cv-09316         ONDERLAW, LLC
KNOTT, KRISTINA                   NJ - USDC for the District of New Jersey   3:19-cv-20859         ONDERLAW, LLC
KNOWLES, CATRICE                  NJ - USDC for the District of New Jersey   3:21-cv-09846         ONDERLAW, LLC
KNOWLES-FERGUSUN, CATHERINE NJ - USDC for the District of New Jersey         3:21-cv-09019         ONDERLAW, LLC
KNOX, LINDA                       NJ - USDC for the District of New Jersey   3:17-cv-09119         ONDERLAW, LLC
KNOX, MIRIAM                      NJ - USDC for the District of New Jersey   3:21-cv-09016         ONDERLAW, LLC
KNUDSEN, EDNA                     MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
KNUDSEN, MARLENE                  NJ - USDC for the District of New Jersey   3:19-cv-12323         ONDERLAW, LLC
KO, KAREN                         NJ - USDC for the District of New Jersey   3:21-cv-08724         ONDERLAW, LLC
KOCH, GLENDA                      NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
KOCIS, SANDRA                     NJ - USDC for the District of New Jersey   3:21-cv-17902         ONDERLAW, LLC
KOCKOS, DANIELLE                  NJ - USDC for the District of New Jersey   3:21-cv-17340         ONDERLAW, LLC
KOENIG, SANDRA                    NJ - USDC for the District of New Jersey   3:19-cv-13727         ONDERLAW, LLC
KOENIG, SARA                      NJ - USDC for the District of New Jersey   3:20-cv-03399         ONDERLAW, LLC
KOHL, KATHY                       NJ - USDC for the District of New Jersey   3:19-cv-19641         ONDERLAW, LLC
KOHL, LINDA                       NJ - USDC for the District of New Jersey   3:21-cv-01152         ONDERLAW, LLC
KOHLER, LINDA                     MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
KOHN, LILA                        NJ - USDC for the District of New Jersey   3:21-cv-10374         ONDERLAW, LLC
KOLB, DANIELLE                    NJ - USDC for the District of New Jersey   3:19-cv-10354         ONDERLAW, LLC
KOLIN, MARGARET                   NJ - USDC for the District of New Jersey   3:21-cv-02828         ONDERLAW, LLC
KOLLEN-RICE, MELISSA              NJ - USDC for the District of New Jersey   3:19-cv-07440         ONDERLAW, LLC
KOLODKIN, JUDITH                  NJ - USDC for the District of New Jersey   3:21-cv-08014         ONDERLAW, LLC
KONEN, ALYCE                      NJ - USDC for the District of New Jersey   3:20-cv-07828         ONDERLAW, LLC
KOPEL, ROSALIND                   NJ - USDC for the District of New Jersey   3:21-cv-05229         ONDERLAW, LLC
KOPP, SUMMER                      NJ - USDC for the District of New Jersey   3:21-cv-18047         ONDERLAW, LLC
KORNER-HENSLEY, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-13920         ONDERLAW, LLC
KORNMAN, TERRY                    NJ - USDC for the District of New Jersey   3:17-cv-08741         ONDERLAW, LLC
KOSTIK, JOYCE                     NJ - USDC for the District of New Jersey   3:20-cv-15236         ONDERLAW, LLC
KOTSIFAKIS, CARLA                 NJ - USDC for the District of New Jersey   3:18-cv-14038         ONDERLAW, LLC
KOURI, AURORA                     NJ - USDC for the District of New Jersey   3:21-cv-03893         ONDERLAW, LLC
KOVAC, ADA                        NJ - USDC for the District of New Jersey   3:21-cv-06346         ONDERLAW, LLC
KOVAC, CARYN                      NJ - USDC for the District of New Jersey   3:21-cv-17552         ONDERLAW, LLC
KOWALESKY, JUDITH                 NJ - USDC for the District of New Jersey   3:21-cv-02544         ONDERLAW, LLC
KOWALEWSKI, GERALDINE             MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
KOWALSKY, LINDA                   NJ - USDC for the District of New Jersey   3:20-cv-02327         ONDERLAW, LLC
KOZELISKI, JACKIE                 NJ - USDC for the District of New Jersey   3:18-cv-11084         ONDERLAW, LLC
KOZUCH, CASSIE                    NJ - USDC for the District of New Jersey   3:21-cv-07935         ONDERLAW, LLC
KRAFT, GALADRIALLE                NJ - USDC for the District of New Jersey   3:21-cv-08432         ONDERLAW, LLC
KRAMER, TRESHA                    NJ - USDC for the District of New Jersey   3:21-cv-04143         ONDERLAW, LLC
KRAMER, VALERIE                   NJ - USDC for the District of New Jersey   3:21-cv-02904         ONDERLAW, LLC
KRAMER-KELLER, MARSHA             NJ - USDC for the District of New Jersey   3:20-cv-09914         ONDERLAW, LLC
KRANCE, MARY                      NJ - USDC for the District of New Jersey   3:21-cv-01339         ONDERLAW, LLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
KRANMAS, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-08837         ONDERLAW, LLC
KREBS, JENNIFER             MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
KREGELIKA, ANTOINETTE       MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
KREGO, ELIZABETH            NJ - USDC for the District of New Jersey   3:21-cv-03685         ONDERLAW, LLC
KREIDER, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-00160         ONDERLAW, LLC
KRELO, JULIA                NJ - USDC for the District of New Jersey   3:21-cv-06116         ONDERLAW, LLC
KREMER, TINA                NJ - USDC for the District of New Jersey   3:17-cv-10018         ONDERLAW, LLC
KRENZER, CANDY              NJ - USDC for the District of New Jersey   3:21-cv-18027         ONDERLAW, LLC
KREPS, NANCY                NJ - USDC for the District of New Jersey   3:21-cv-07793         ONDERLAW, LLC
KROPP, DEBRA                NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
KRUEGER, JEAN               NJ - USDC for the District of New Jersey   3:18-cv-10821         ONDERLAW, LLC
KRUEGER, LORI               NJ - USDC for the District of New Jersey   3:21-cv-05189         ONDERLAW, LLC
KRUPP, SHIRLEY              NJ - USDC for the District of New Jersey   3:21-cv-05833         ONDERLAW, LLC
KRUSE, WANDA                NJ - USDC for the District of New Jersey   3:21-cv-06428         ONDERLAW, LLC
KRYWANIO-BUNO, JOANNE       NJ - USDC for the District of New Jersey   3:21-cv-18297         ONDERLAW, LLC
KUBANEK, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
KUCA, DOREEN                NJ - USDC for the District of New Jersey   3:21-cv-09430         ONDERLAW, LLC
KUHLEMAN-HEATH, GERALDINE   NJ - USDC for the District of New Jersey   3:18-cv-07025         ONDERLAW, LLC
KUHLMANN, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-17856         ONDERLAW, LLC
KUHN, DONNA                 NJ - USDC for the District of New Jersey   3:21-cv-04699         ONDERLAW, LLC
KUHN, VICTORIA              NJ - USDC for the District of New Jersey   3:18-cv-11623         ONDERLAW, LLC
KUHR-GROUT, KATHRYN         NJ - USDC for the District of New Jersey   3:21-cv-05747         ONDERLAW, LLC
KUMAR, RONITA               NJ - USDC for the District of New Jersey   3:21-cv-17263         ONDERLAW, LLC
KURANZ, LYNN                NJ - USDC for the District of New Jersey   3:21-cv-07988         ONDERLAW, LLC
KURDES, FRANCES             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
KURKA, KATHRYN              NJ - USDC for the District of New Jersey   3:21-cv-09203         ONDERLAW, LLC
KUROWSKI, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-04734         ONDERLAW, LLC
KURTAGIC, SANELA            NJ - USDC for the District of New Jersey   3:21-cv-08793         ONDERLAW, LLC
KUSHER, JANET               MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
KWIATKOWSKI, NORMA          NJ - USDC for the District of New Jersey   3:18-cv-13970         ONDERLAW, LLC
KYLE, CYNTHIA               NJ - USDC for the District of New Jersey   3:21-cv-05606         ONDERLAW, LLC
KYTE, DEBRA                 NJ - USDC for the District of New Jersey   3:17-cv-09496         ONDERLAW, LLC
LABAT, COLLEEN              NJ - USDC for the District of New Jersey   3:17-cv-10023         ONDERLAW, LLC
LABOVE, DESIREE             NJ - USDC for the District of New Jersey   3:21-cv-17716         ONDERLAW, LLC
LACHANCE, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-05774         ONDERLAW, LLC
LACK, ANITA                 NJ - USDC for the District of New Jersey   3:21-cv-04767         ONDERLAW, LLC
LACOE, SUE                  NJ - USDC for the District of New Jersey   3:21-cv-04687         ONDERLAW, LLC
LACY, ELSA                  NJ - USDC for the District of New Jersey   3:21-cv-03257         ONDERLAW, LLC
LADAY-NUNES, SONYA          NJ - USDC for the District of New Jersey   3:21-cv-08741         ONDERLAW, LLC
LADICK, DOROTHY             MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
LADNER, TONIA               NJ - USDC for the District of New Jersey   3:19-cv-17265         ONDERLAW, LLC
LADSON, NANELL              NJ - USDC for the District of New Jersey   3:19-cv-19354         ONDERLAW, LLC
LAFATA, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-11501         ONDERLAW, LLC
LAFAZAN, DEENA              NJ - USDC for the District of New Jersey   3:21-cv-07392         ONDERLAW, LLC
LAFERNEY, MARY              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
LAFFERRE, NELLIE            NJ - USDC for the District of New Jersey   3:21-cv-05166         ONDERLAW, LLC
LAFLEUR, JEAN               NJ - USDC for the District of New Jersey   3:19-cv-14630         ONDERLAW, LLC
LAFORTUNE, MAUREEN          NJ - USDC for the District of New Jersey   3:21-cv-09139         ONDERLAW, LLC
LAFOSSE, MARY               NJ - USDC for the District of New Jersey   3:18-cv-10793         ONDERLAW, LLC
LAFRANCE, FRANCINE          NJ - USDC for the District of New Jersey   3:21-cv-01579         ONDERLAW, LLC
LAGACE, ELAINE              NJ - USDC for the District of New Jersey   3:21-cv-05856         ONDERLAW, LLC
LAGRANGE, SUZANNE           NJ - USDC for the District of New Jersey   3:21-cv-09824         ONDERLAW, LLC
LAGUER, CELINES             NJ - USDC for the District of New Jersey   3:21-cv-04155         ONDERLAW, LLC
LAIN, EMMA                  NJ - USDC for the District of New Jersey   3:21-cv-02282         ONDERLAW, LLC
LAING, JANELA               NJ - USDC for the District of New Jersey   3:21-cv-08586         ONDERLAW, LLC
LAIRD, HELEN                NJ - USDC for the District of New Jersey   3:21-cv-01150         ONDERLAW, LLC
LAKE, SUZANNE               NJ - USDC for the District of New Jersey   3:21-cv-10391         ONDERLAW, LLC
LAKE, TERRI                 NJ - USDC for the District of New Jersey   3:17-cv-09123         ONDERLAW, LLC
LAMANNA, JAMIE              NJ - USDC for the District of New Jersey   3:21-cv-09638         ONDERLAW, LLC
LAMAY, FLOSSIE              NJ - USDC for the District of New Jersey   3:17-cv-09920         ONDERLAW, LLC
LAMB, BETTE                 NJ - USDC for the District of New Jersey   3:21-cv-08742         ONDERLAW, LLC
LAMB, CHASTITY              NJ - USDC for the District of New Jersey   3:21-cv-05397         ONDERLAW, LLC
LAMB, GENA                  MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
LAMB, MADGE                 MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
LAMBERT, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-10071         ONDERLAW, LLC
LAMBERT, LISA               NJ - USDC for the District of New Jersey   3:21-cv-08997         ONDERLAW, LLC
LAMBERT, LYNNE              NJ - USDC for the District of New Jersey   3:21-cv-06488         ONDERLAW, LLC
LAMFERS, DENISE             NJ - USDC for the District of New Jersey   3:19-cv-12322         ONDERLAW, LLC
LAMONICA, AUDREY            NJ - USDC for the District of New Jersey   3:21-cv-04789         ONDERLAW, LLC
LAMONT, ANNA                NJ - USDC for the District of New Jersey   3:18-cv-10072         ONDERLAW, LLC
LAMOTHE, CHERYL             NJ - USDC for the District of New Jersey   3:17-cv-12364         ONDERLAW, LLC
LAMPHIER, MICHELLE          NJ - USDC for the District of New Jersey   3:18-cv-10178         ONDERLAW, LLC
LAMY, DIANNE                NJ - USDC for the District of New Jersey   3:21-cv-16797         ONDERLAW, LLC
LAND, LINDA                 NJ - USDC for the District of New Jersey   3:19-cv-21674         ONDERLAW, LLC
LANDGRAF, DARLENE           NJ - USDC for the District of New Jersey   3:19-cv-08874         ONDERLAW, LLC
LANDRY, ANNA                NJ - USDC for the District of New Jersey   3:17-cv-10024         ONDERLAW, LLC
LANDRY, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-09128         ONDERLAW, LLC
LANE, CHERINA               NJ - USDC for the District of New Jersey   3:17-cv-10574         ONDERLAW, LLC
LANE, MARGARET              NJ - USDC for the District of New Jersey   3:21-cv-03501         ONDERLAW, LLC
LANEY, STACI                NJ - USDC for the District of New Jersey   3:21-cv-07313         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
LANG, DONNA                NJ - USDC for the District of New Jersey   3:20-cv-17428         ONDERLAW, LLC
LANG, JAMIE                NJ - USDC for the District of New Jersey   3:21-cv-00935         ONDERLAW, LLC
LANG, LANOME               NJ - USDC for the District of New Jersey   3:18-cv-04580         ONDERLAW, LLC
LANG, MICHELLE             NJ - USDC for the District of New Jersey   3:17-cv-03946         ONDERLAW, LLC
LANGE, FRANCES             MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
LANGE, LISA                NJ - USDC for the District of New Jersey   3:21-cv-03645         ONDERLAW, LLC
LANGEN, DIANA              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
LANGFORD, VELMA            NJ - USDC for the District of New Jersey   3:21-cv-09546         ONDERLAW, LLC
LANGLEY, KRYSTAL           NJ - USDC for the District of New Jersey   3:21-cv-07725         ONDERLAW, LLC
LANGLEY, LISA              CA - Superior Court - San Bernardino County CIVDS 1721621        ONDERLAW, LLC
LANGLEY, LISA              NJ - USDC for the District of New Jersey   3:17-cv-00799         ONDERLAW, LLC
LANKFORD, LORA             NJ - USDC for the District of New Jersey   3:21-cv-07168         ONDERLAW, LLC
LANNING, JILL              NJ - USDC for the District of New Jersey   3:21-cv-06080         ONDERLAW, LLC
LANOUE, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-07693         ONDERLAW, LLC
LANSDELL, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-02990         ONDERLAW, LLC
LANSKI, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-09257         ONDERLAW, LLC
LANTAYA, LORETTA           NJ - USDC for the District of New Jersey   3:20-cv-00760         ONDERLAW, LLC
LANTZ, LYNNDA              NJ - USDC for the District of New Jersey   3:21-cv-04875         ONDERLAW, LLC
LANZ, CYNTHIA              MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
LANZA, NANCI               NJ - USDC for the District of New Jersey   3:20-cv-05316         ONDERLAW, LLC
LAPHAM, JULIE              NJ - USDC for the District of New Jersey   3:21-cv-09342         ONDERLAW, LLC
LAPORTE, VENUS             NJ - USDC for the District of New Jersey   3:21-cv-08838         ONDERLAW, LLC
LAPPE, SONIA               NJ - USDC for the District of New Jersey   3:21-cv-02280         ONDERLAW, LLC
LARA, CLARA                NJ - USDC for the District of New Jersey   3:20-cv-08317         ONDERLAW, LLC
LARA, STEPHANIE            NJ - USDC for the District of New Jersey   3:21-cv-08123         ONDERLAW, LLC
LARCHEVEQUE, JACLYN        NJ - USDC for the District of New Jersey   3:21-cv-08049         ONDERLAW, LLC
LARIBEE, CYNTHIA           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
LARISSA LOMAX              NJ - USDC for the District of New Jersey   3:21-cv-18359         ONDERLAW, LLC
LARRAMENDY, RAMONA         MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
LARREA, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-05855         ONDERLAW, LLC
LARSON, EILEEN             NJ - USDC for the District of New Jersey   3:21-cv-07679         ONDERLAW, LLC
LARSON, KARIN              NJ - USDC for the District of New Jersey   3:20-cv-06221         ONDERLAW, LLC
LARSON, KRISTIN            NJ - USDC for the District of New Jersey   3:17-cv-11571         ONDERLAW, LLC
LARSON, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-08823         ONDERLAW, LLC
LARSON, SHELIA             NJ - USDC for the District of New Jersey   3:20-cv-05695         ONDERLAW, LLC
LASECKI, RUTH              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
LASH, CHARLOTTE            NJ - USDC for the District of New Jersey   3:21-cv-09295         ONDERLAW, LLC
LASHANDA BODY              NJ - USDC for the District of New Jersey   3:21-cv-18403         ONDERLAW, LLC
LASHBAUGH, CARMEN          NJ - USDC for the District of New Jersey   3:19-cv-14203         ONDERLAW, LLC
LASHBROOK, LAUREN          NJ - USDC for the District of New Jersey   3:17-cv-09303         ONDERLAW, LLC
LASSONDE, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-13726         ONDERLAW, LLC
LATORRE, DANIELLE          NJ - USDC for the District of New Jersey   3:21-cv-07049         ONDERLAW, LLC
LATTA, YVONNE              NJ - USDC for the District of New Jersey   3:18-cv-10073         ONDERLAW, LLC
LATTIMORE, TAWANA          NJ - USDC for the District of New Jersey   3:21-cv-02204         ONDERLAW, LLC
LATTING, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-01361         ONDERLAW, LLC
LATULIPPE-LARUS, JULIE     NJ - USDC for the District of New Jersey   3:21-cv-12384         ONDERLAW, LLC
LAUERMAN, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-10916         ONDERLAW, LLC
LAUFFENBURGER, ELIZABETH   NJ - USDC for the District of New Jersey   3:21-cv-10508         ONDERLAW, LLC
LAURENT, MARGARET          NJ - USDC for the District of New Jersey   3:20-cv-02639         ONDERLAW, LLC
LAVECK, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-08141         ONDERLAW, LLC
LAVENA, VERA               NJ - USDC for the District of New Jersey   3:19-cv-13556         ONDERLAW, LLC
LAVENDER, KAREN            CA - Superior Court - Sonoma County        SCV-261471            ONDERLAW, LLC
LAVENDER, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-07929         ONDERLAW, LLC
LAVERDI, LYNN              NJ - USDC for the District of New Jersey   3:21-cv-17935         ONDERLAW, LLC
LAVERGNE, RUTH             NJ - USDC for the District of New Jersey   3:18-cv-13528         ONDERLAW, LLC
LAVIGNA, MARY              NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
LAVOIE, KAREN              NJ - USDC for the District of New Jersey   3:18-cv-17816         ONDERLAW, LLC
LAW, DEBRA                 NJ - USDC for the District of New Jersey   3:21-cv-17249         ONDERLAW, LLC
LAWLER, AMY                NJ - USDC for the District of New Jersey   3:18-cv-12513         ONDERLAW, LLC
LAWLESS, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-07105         ONDERLAW, LLC
LAWLEY, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-01895         ONDERLAW, LLC
LAWRENCE, JUNE             NJ - USDC for the District of New Jersey   3:20-cv-13258         ONDERLAW, LLC
LAWRENCE, LISA             NJ - USDC for the District of New Jersey   3:20-cv-00161         ONDERLAW, LLC
LAWRENCE, PAULA            NJ - USDC for the District of New Jersey   3:21-cv-02388         ONDERLAW, LLC
LAWRENCE, SALLY            NJ - USDC for the District of New Jersey   3:21-cv-07108         ONDERLAW, LLC
LAWRENCE, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-01037         ONDERLAW, LLC
LAWS, CHERLYN              NJ - USDC for the District of New Jersey   3:21-cv-02198         ONDERLAW, LLC
LAWS, FLORENCE             NJ - USDC for the District of New Jersey   3:18-cv-17817         ONDERLAW, LLC
LAWS, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-03946         ONDERLAW, LLC
LAWSHE, VALERIA            NJ - USDC for the District of New Jersey   3:18-cv-10240         ONDERLAW, LLC
LAWSON, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-16890         ONDERLAW, LLC
LAWSON, JENNA              NJ - USDC for the District of New Jersey   3:20-cv-20586         ONDERLAW, LLC
LAWSON, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-07136         ONDERLAW, LLC
LAWSON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-09583         ONDERLAW, LLC
LAWSON, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-03260         ONDERLAW, LLC
LAX, NETTIE                NJ - USDC for the District of New Jersey   3:21-cv-07893         ONDERLAW, LLC
LAY, MELVINA               NJ - USDC for the District of New Jersey   3:17-cv-11995         ONDERLAW, LLC
LAYMAN, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-03301         ONDERLAW, LLC
LAYNE, STEPHANIE           NJ - USDC for the District of New Jersey   3:20-cv-20589         ONDERLAW, LLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
LAYPO, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-12406         ONDERLAW, LLC
LAYTON, GEORGIA              NJ - USDC for the District of New Jersey   3:21-cv-09370         ONDERLAW, LLC
LAZENBY, LILLIE              NJ - USDC for the District of New Jersey   3:21-cv-05279         ONDERLAW, LLC
LAZIK, GERALDINE             NJ - USDC for the District of New Jersey   3:21-cv-01243         ONDERLAW, LLC
LAZO, MARIA                  NJ - USDC for the District of New Jersey   3:18-cv-05273         ONDERLAW, LLC
LAZZARINO, GINA              NJ - USDC for the District of New Jersey   3:20-cv-09493         ONDERLAW, LLC
LE BLANC, TRINNITY           NJ - USDC for the District of New Jersey   3:21-cv-08708         ONDERLAW, LLC
LE DOYEN, CECILIA            MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
LEA, LETHA                   NJ - USDC for the District of New Jersey   3:20-cv-20590         ONDERLAW, LLC
LEACH, ANN                   NJ - USDC for the District of New Jersey   3:21-cv-07372         ONDERLAW, LLC
LEADLEY, MARY                MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC
LEADLEY, MARY                NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
LEAHY, BRIDGET               NJ - USDC for the District of New Jersey   3:19-cv-16104         ONDERLAW, LLC
LEATHERMAN, MARY             NJ - USDC for the District of New Jersey   3:21-cv-05491         ONDERLAW, LLC
LEBARON, ALEENE              NJ - USDC for the District of New Jersey   3:21-cv-09083         ONDERLAW, LLC
LEBOEUF, TAIRA               NJ - USDC for the District of New Jersey   3:21-cv-18372         ONDERLAW, LLC
LECK, JEAN                   NJ - USDC for the District of New Jersey   3:21-cv-05886         ONDERLAW, LLC
LECOMPTE-CHRISTHILF, DONNA   NJ - USDC for the District of New Jersey   3:19-cv-12379         ONDERLAW, LLC
LEDBETTER, MELINDA           MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
LEDELL, SUSAN                NJ - USDC for the District of New Jersey   3:20-cv-12212         ONDERLAW, LLC
LEDER, CHRISTINE             NJ - USDC for the District of New Jersey   3:21-cv-07975         ONDERLAW, LLC
LEDFORD, JOSEPHINE           NJ - USDC for the District of New Jersey   3:21-cv-08943         ONDERLAW, LLC
LEE, ADA                     NJ - USDC for the District of New Jersey   3:21-cv-05859         ONDERLAW, LLC
LEE, DARLENE                 NJ - USDC for the District of New Jersey   3:21-cv-09112         ONDERLAW, LLC
LEE, DEBORAH                 NJ - USDC for the District of New Jersey   3:21-cv-17375         ONDERLAW, LLC
LEE, GLORIA                  NJ - USDC for the District of New Jersey   3:19-cv-09602         ONDERLAW, LLC
LEE, HELLENA                 NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
LEE, JUDY                    MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
LEE, KIMBERLY                NJ - USDC for the District of New Jersey   3:19-cv-10266         ONDERLAW, LLC
LEE, LAURA                   NJ - USDC for the District of New Jersey   3:21-cv-02274         ONDERLAW, LLC
LEE, LESLIE                  NJ - USDC for the District of New Jersey   3:18-cv-14704         ONDERLAW, LLC
LEE, MELINDA                 NJ - USDC for the District of New Jersey   3:21-cv-01928         ONDERLAW, LLC
LEE, PATRICIA                NJ - USDC for the District of New Jersey   3:19-cv-19632         ONDERLAW, LLC
LEE, PATRICIA                NJ - USDC for the District of New Jersey   3:19-cv-16115         ONDERLAW, LLC
LEE, PEGGY                   NJ - USDC for the District of New Jersey   3:21-cv-03369         ONDERLAW, LLC
LEE, RHONDA                  NJ - USDC for the District of New Jersey   3:20-cv-20591         ONDERLAW, LLC
LEE, VERONICA                NJ - USDC for the District of New Jersey   3:21-cv-07265         ONDERLAW, LLC
LEEBERN, SHANNON             NJ - USDC for the District of New Jersey   3:21-cv-09509         ONDERLAW, LLC
LEEDY, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-01558         ONDERLAW, LLC
LEGER, GAIL                  NJ - USDC for the District of New Jersey   3:21-cv-06358         ONDERLAW, LLC
LEGGANS, POLLY               NJ - USDC for the District of New Jersey   3:21-cv-05884         ONDERLAW, LLC
LEGGET, LACHARRA             NJ - USDC for the District of New Jersey   3:20-cv-08143         ONDERLAW, LLC
LEGGIERE, LEILA              NJ - USDC for the District of New Jersey   3:20-cv-13766         ONDERLAW, LLC
LEGLER, PATRICIA             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
LEHMAN, KAY                  NJ - USDC for the District of New Jersey   3:21-cv-07995         ONDERLAW, LLC
LEHMAN, SHANNON              NJ - USDC for the District of New Jersey   3:21-cv-4733          ONDERLAW, LLC
LEHN, ELLISSA                MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
LEICHLITER, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-06907         ONDERLAW, LLC
LEIER, KATHLEEN              NJ - USDC for the District of New Jersey   3:19-cv-16306         ONDERLAW, LLC
LEIRER, GAYLE                NJ - USDC for the District of New Jersey   3:21-cv-05889         ONDERLAW, LLC
LEJARDE, ROSARITA            NJ - USDC for the District of New Jersey   3:21-cv-09622         ONDERLAW, LLC
LEMASTER, TERRI              NJ - USDC for the District of New Jersey   3:18-cv-01362         ONDERLAW, LLC
LEMELIN, CATHY               NJ - USDC for the District of New Jersey   3:17-cv-09256         ONDERLAW, LLC
LEMELIN, CATHY               NJ - USDC for the District of New Jersey   3:17-cv-09256         ONDERLAW, LLC
LEMELIN, CATHY               NJ - USDC for the District of New Jersey   3:17-cv-09256         ONDERLAW, LLC
LEMMONS, JANICE              NJ - USDC for the District of New Jersey   3:20-cv-14942         ONDERLAW, LLC
LEMON, GABRIELLE             NJ - USDC for the District of New Jersey   3:18-cv-13770         ONDERLAW, LLC
LEMOX, ANGELA                NJ - USDC for the District of New Jersey   3:21-cv-05877         ONDERLAW, LLC
LENK, SYLVIA                 NJ - USDC for the District of New Jersey   3:20-cv-09915         ONDERLAW, LLC
LENTINE, ROSEMARY            NJ - USDC for the District of New Jersey   3:21-cv-09026         ONDERLAW, LLC
LEONARD, LATANYA             NJ - USDC for the District of New Jersey   3:21-cv-05277         ONDERLAW, LLC
LEONARD, LAUREN              NJ - USDC for the District of New Jersey   3:20-cv-14824         ONDERLAW, LLC
LEPORIS, TERESA              NJ - USDC for the District of New Jersey   3:18-cv-08173         ONDERLAW, LLC
LEPPER, TAMMY                NJ - USDC for the District of New Jersey   3:19-cv-13540         ONDERLAW, LLC
LERNER, ELISE                NJ - USDC for the District of New Jersey   3:21-cv-03427         ONDERLAW, LLC
LESCAILLE, MERCEDES          NJ - USDC for the District of New Jersey   3:21-cv-01523         ONDERLAW, LLC
LESHER, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-08129         ONDERLAW, LLC
LESLIE, KATHERINE            NJ - USDC for the District of New Jersey   3:19-cv-14047         ONDERLAW, LLC
LESLIE, KATRINA              NJ - USDC for the District of New Jersey   3:20-cv-05317         ONDERLAW, LLC
LESTER, ANITA                MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
LESTER, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-01518         ONDERLAW, LLC
LESTER, JEWELL               NJ - USDC for the District of New Jersey   3:21-cv-05483         ONDERLAW, LLC
LESTER, TAMMY                NJ - USDC for the District of New Jersey   3:18-cv-16109         ONDERLAW, LLC
LETO, PATSY                  NJ - USDC for the District of New Jersey   3:21-cv-06458         ONDERLAW, LLC
LETT, AMBER                  NJ - USDC for the District of New Jersey   3:21-cv-17882         ONDERLAW, LLC
LEVENSON, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-09278         ONDERLAW, LLC
LEVEQUE, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-07483         ONDERLAW, LLC
LEVERCOM, VALERIE            NJ - USDC for the District of New Jersey   3:19-cv-15742         ONDERLAW, LLC
LEVERING, LAURA              NJ - USDC for the District of New Jersey   3:19-cv-19573         ONDERLAW, LLC
LEVI, JONIE                  NJ - USDC for the District of New Jersey   3:20-cv-00213         ONDERLAW, LLC




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           Claimant Name                     State Filed                    Docket Number               Plaintiff Counsel
LEVY, CAROL                NJ - USDC for the District of New Jersey   3:20-cv-12654         ONDERLAW, LLC
LEVY, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-06302         ONDERLAW, LLC
LEW, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-07345         ONDERLAW, LLC
LEWINSKI, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-12237         ONDERLAW, LLC
LEWIS, ANDREA              NJ - USDC for the District of New Jersey   3:20-cv-01556         ONDERLAW, LLC
LEWIS, ANN                 NJ - USDC for the District of New Jersey   3:20-cv-20333         ONDERLAW, LLC
LEWIS, BERLENE             NJ - USDC for the District of New Jersey   3:21-cv-03122         ONDERLAW, LLC
LEWIS, BONNIE              NJ - USDC for the District of New Jersey   3:20-cv-08144         ONDERLAW, LLC
LEWIS, CANDACE             IL - Circuit Court - Madison County        2015L000409           ONDERLAW, LLC
LEWIS, CARLESSA            NJ - USDC for the District of New Jersey   3:19-cv-00085         ONDERLAW, LLC
LEWIS, CAROLE              NJ - USDC for the District of New Jersey   3:18-cv-11007         ONDERLAW, LLC
LEWIS, DINA                NJ - USDC for the District of New Jersey   3:21-cv-08037         ONDERLAW, LLC
LEWIS, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-03558         ONDERLAW, LLC
LEWIS, EMILY               NJ - USDC for the District of New Jersey   3:21-cv-05227         ONDERLAW, LLC
LEWIS, ERNA                NJ - USDC for the District of New Jersey   3:21-cv-06702         ONDERLAW, LLC
LEWIS, GAIL                NJ - USDC for the District of New Jersey   3:21-cv-17556         ONDERLAW, LLC
LEWIS, JACKIE              MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
LEWIS, LAJOYA              NJ - USDC for the District of New Jersey   3:21-cv-16892         ONDERLAW, LLC
LEWIS, LAURA               MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
LEWIS, LENA                NJ - USDC for the District of New Jersey   3:21-cv-05955         ONDERLAW, LLC
LEWIS, LETICIA             NJ - USDC for the District of New Jersey   3:21-cv-03747         ONDERLAW, LLC
LEWIS, LISA                NJ - USDC for the District of New Jersey   3:18-cv-03127         ONDERLAW, LLC
LEWIS, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-05912         ONDERLAW, LLC
LEWIS, RAMONA              NJ - USDC for the District of New Jersey   3:20-cv-17677         ONDERLAW, LLC
LEWIS, SUSAN               NJ - USDC for the District of New Jersey   3:19-cv-19140         ONDERLAW, LLC
LEWIS, TAMMIE              NJ - USDC for the District of New Jersey   3:20-cv-12029         ONDERLAW, LLC
LEWIS, URACHEL             NJ - USDC for the District of New Jersey   3:21-cv-03468         ONDERLAW, LLC
LEWIS, VALERIE             NJ - USDC for the District of New Jersey   3:18-cv-17818         ONDERLAW, LLC
LEWIS, VIVIAN              NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
LEWIS-GOMEZ, NANNELL       NJ - USDC for the District of New Jersey   3:21-cv-04360         ONDERLAW, LLC
LEWIS-JONES, SONIA         NJ - USDC for the District of New Jersey   3:17-cv-13836         ONDERLAW, LLC
LEYRER, MEREDITH           NJ - USDC for the District of New Jersey   3:20-cv-15391         ONDERLAW, LLC
LIBERT, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-06795         ONDERLAW, LLC
LICHENSTEIN, JANET         NJ - USDC for the District of New Jersey   3:21-cv-05907         ONDERLAW, LLC
LICKTEIG, GWENDOLYN        NJ - USDC for the District of New Jersey   3:17-cv-11023         ONDERLAW, LLC
LICKTEIG, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-07419         ONDERLAW, LLC
LIDDIL, RITA               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
LIDYOFF, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-06350         ONDERLAW, LLC
LIEBEL, CATHRYN            NJ - USDC for the District of New Jersey   3:21-cv-09507         ONDERLAW, LLC
LIEBERMAN, ADRIENNE        NJ - USDC for the District of New Jersey   3:17-cv-13498         ONDERLAW, LLC
LIEBERMAN, MARCIA          NJ - USDC for the District of New Jersey   3:21-cv-08870         ONDERLAW, LLC
LIEVANOS, MARIA            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
LIGHT, CHRISTINE           NJ - USDC for the District of New Jersey   3:20-cv-01436         ONDERLAW, LLC
LIGHT, ELAINE              MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
LIGHTCAP-MILLER, EILEEN    NJ - USDC for the District of New Jersey   3:21-cv-08017         ONDERLAW, LLC
LIGHTSEY, DONA             NJ - USDC for the District of New Jersey   3:20-cv-12332         ONDERLAW, LLC
LILES, BRANDY              NJ - USDC for the District of New Jersey   3:20-cv-05788         ONDERLAW, LLC
LILLARD, TANYA             NJ - USDC for the District of New Jersey   3:20-cv-12213         ONDERLAW, LLC
LILLIAM DELGUIDICE         NJ - USDC for the District of New Jersey   3:21-cv-18262         ONDERLAW, LLC
LIND, CINDY                NJ - USDC for the District of New Jersey   3:17-cv-13491         ONDERLAW, LLC
LINDA WALKER               NJ - USDC for the District of New Jersey   3:21-cv-18305         ONDERLAW, LLC
LINDAHL, VICKI             MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
LINDBLOM, LAURA            NJ - USDC for the District of New Jersey   3:21-cv-16770         ONDERLAW, LLC
LINDGREN, HEATHER          NJ - USDC for the District of New Jersey   3:21-cv-04347         ONDERLAW, LLC
LINDQUIST, SUZANNE         MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
LINDSAY, BREEANN           NJ - USDC for the District of New Jersey   3:21-cv-05266         ONDERLAW, LLC
LINDSAY, LARAYNE           NJ - USDC for the District of New Jersey   3:21-cv-09672         ONDERLAW, LLC
LINDSEY, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-05863         ONDERLAW, LLC
LINDSEY, LYDIA             NJ - USDC for the District of New Jersey   3:18-cv-09366         ONDERLAW, LLC
LINDSEY, MARIBEL           NJ - USDC for the District of New Jersey   3:21-cv-00820         ONDERLAW, LLC
LINDSEY, OLIF              NJ - USDC for the District of New Jersey   3:18-cv-17591         ONDERLAW, LLC
LINDSTROM, MARIANNE        NJ - USDC for the District of New Jersey   3:18-cv-15462         ONDERLAW, LLC
LINGNER, ONA               NJ - USDC for the District of New Jersey   3:21-cv-16197         ONDERLAW, LLC
LINICOMN, VERTENIA         MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
LINNE, ALEXIS              NJ - USDC for the District of New Jersey   3:21-cv-04065         ONDERLAW, LLC
LIPCOMB, MADDONNA          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
LIPMAN, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
LISA RASH                  NJ - USDC for the District of New Jersey   3:21-cv-18357         ONDERLAW, LLC
LISSIMORE, YOLANDA         NJ - USDC for the District of New Jersey   3:21-cv-08381         ONDERLAW, LLC
LISTER, BERTHA             NJ - USDC for the District of New Jersey   3:21-cv-06561         ONDERLAW, LLC
LITSON, SARAH              MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
LITTLE, JOSEPHINE          NJ - USDC for the District of New Jersey   3:20-cv-19576         ONDERLAW, LLC
LITTLE, NELLIE             NJ - USDC for the District of New Jersey   3:19-cv-19349         ONDERLAW, LLC
LITTLEJOHN, STEPHANIE      NJ - USDC for the District of New Jersey   3:20-cv-11094         ONDERLAW, LLC
LIVAUDAIS, SHARON          MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
LIVESAY, DEBRA             NJ - USDC for the District of New Jersey   3:18-cv-10234         ONDERLAW, LLC
LIVINGSTON, SANDRA         MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
LLOYD, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-01203         ONDERLAW, LLC
LLOYD-LEE, BELINDA         NJ - USDC for the District of New Jersey   3:20-cv-01555         ONDERLAW, LLC
LOCKE, ASHLEY              NJ - USDC for the District of New Jersey   3:17-cv-07929         ONDERLAW, LLC




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          Claimant Name                       State Filed                     Docket Number               Plaintiff Counsel
LOCKE, LINDA KLAUS           NJ - USDC for the District of New Jersey   3:21-cv-02325         ONDERLAW, LLC
LOCKE, TAMMIE                NJ - USDC for the District of New Jersey   3:17-cv-09696         ONDERLAW, LLC
LOCKETT, GLADYS              NJ - USDC for the District of New Jersey   3:21-cv-05686         ONDERLAW, LLC
LOCKHART, BETSY              NJ - USDC for the District of New Jersey   3:21-cv-09263         ONDERLAW, LLC
LOCKHART, BRANDI             NJ - USDC for the District of New Jersey   3:21-cv-04644         ONDERLAW, LLC
LOCKLIN, TERRIE              NJ - USDC for the District of New Jersey   3:21-cv-05874         ONDERLAW, LLC
LODHI, BEBEM                 NJ - USDC for the District of New Jersey   3:21-cv-01417         ONDERLAW, LLC
LOE, TERRY                   MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
LOFGREN, JENNIFER            NJ - USDC for the District of New Jersey   3:18-cv-12274         ONDERLAW, LLC
LOFLIN, TINA                 NJ - USDC for the District of New Jersey   3:17-cv-10036         ONDERLAW, LLC
LOFTON, ROBERTA              NJ - USDC for the District of New Jersey   3:21-cv-05146         ONDERLAW, LLC
LOGAN, MARTA                 NJ - USDC for the District of New Jersey   3:17-cv-09169         ONDERLAW, LLC
LOGGAINS, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-10524         ONDERLAW, LLC
LOHR, PAMELA                 NJ - USDC for the District of New Jersey   3:21-cv-16923         ONDERLAW, LLC
LOHR, SUSAN                  NJ - USDC for the District of New Jersey   3:19-cv-07420         ONDERLAW, LLC
LOLLEY, JANET                NJ - USDC for the District of New Jersey   3:21-cv-04710         ONDERLAW, LLC
LOLLIS, GLORIA               NJ - USDC for the District of New Jersey   3:21-cv-03006         ONDERLAW, LLC
LOMBARDO, MARY               NJ - USDC for the District of New Jersey   3:19-cv-20711         ONDERLAW, LLC
LONG, CAROLYN                NJ - USDC for the District of New Jersey   3:21-cv-06073         ONDERLAW, LLC
LONG, DENISE                 NJ - USDC for the District of New Jersey   3:20-cv-00464         ONDERLAW, LLC
LONG, FRANCINA               NJ - USDC for the District of New Jersey   3:21-cv-01716         ONDERLAW, LLC
LONG, JAMIE                  GA - State Court of Gwinnett County        18C039942             ONDERLAW, LLC
LONG, RUTH                   NJ - USDC for the District of New Jersey   3:21-cv-14468         ONDERLAW, LLC
LONG, RUTH                   NJ - USDC for the District of New Jersey   3:19-cv-16257         ONDERLAW, LLC
LONGANECKER, MARYLOU         NJ - USDC for the District of New Jersey   3:21-cv-09206         ONDERLAW, LLC
LONGENECKER, JOELLA          MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
LONGMIRE, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
LONGORIA, ALIMA              NJ - USDC for the District of New Jersey   3:17-cv-10072         ONDERLAW, LLC
LOOKINGBILL, FRANCES         NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
LOOMIS, SONIA                NJ - USDC for the District of New Jersey   3:17-cv-09304         ONDERLAW, LLC
LOONEY, MAUREEN              NJ - USDC for the District of New Jersey   3:18-cv-01766         ONDERLAW, LLC
LOPA, ROSANNE                NJ - USDC for the District of New Jersey   3:18-cv-01210         ONDERLAW, LLC
LOPEZ, AMELIA                NJ - USDC for the District of New Jersey   3:21-cv-12387         ONDERLAW, LLC
LOPEZ, BARBARA               MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
LOPEZ, CAROLINA              NJ - USDC for the District of New Jersey   3:21-cv-06202         ONDERLAW, LLC
LOPEZ, FLORA                 NJ - USDC for the District of New Jersey   3:21-cv-02151         ONDERLAW, LLC
LOPEZ, GRETA                 NJ - USDC for the District of New Jersey   3:21-cv-08283         ONDERLAW, LLC
LOPEZ, KIMBERLY              NJ - USDC for the District of New Jersey   3:21-cv-07706         ONDERLAW, LLC
LOPEZ, LOURDES               NJ - USDC for the District of New Jersey   3:21-cv-09877         ONDERLAW, LLC
LOPEZ, MARGARET              NJ - USDC for the District of New Jersey   3:20-cv-00539         ONDERLAW, LLC
LOPEZ, MARIA                 MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
LOPEZ, MELISSA               NJ - USDC for the District of New Jersey   3:17-cv-09774         ONDERLAW, LLC
LOPEZ, NATASHA               NJ - USDC for the District of New Jersey   3:20-cv-05318         ONDERLAW, LLC
LOPEZ, SUSAN                 NJ - USDC for the District of New Jersey   3:19-cv-14679         ONDERLAW, LLC
LOPEZ, SYLVIA                NJ - USDC for the District of New Jersey   3:21-cv-07000         ONDERLAW, LLC
LOPEZ-RODRIGUEZ, ELIZABETH   MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
LOR, SONIA                   NJ - USDC for the District of New Jersey   3:21-cv-05171         ONDERLAW, LLC
LORD, SHIRLEY                NJ - USDC for the District of New Jersey   3:21-cv-02297         ONDERLAW, LLC
LORENZ, CATHY                NJ - USDC for the District of New Jersey   3:17-cv-10904         ONDERLAW, LLC
LOTHIAN, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-01365         ONDERLAW, LLC
LOUDERBOUGH, ROSAL           NJ - USDC for the District of New Jersey   3:17-cv-08342         ONDERLAW, LLC
LOUDERMILK, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-04225         ONDERLAW, LLC
LOUGH, MARILYN               NJ - USDC for the District of New Jersey   3:21-cv-08615         ONDERLAW, LLC
LOUGHRAN, REGINA             NJ - USDC for the District of New Jersey   3:21-cv-09449         ONDERLAW, LLC
LOUVIERE, TERRI              NJ - USDC for the District of New Jersey   3:17-cv-09257         ONDERLAW, LLC
LOUVIERE, TERRI              NJ - USDC for the District of New Jersey   3:17-cv-09257         ONDERLAW, LLC
LOUVIERE, TERRI              NJ - USDC for the District of New Jersey   3:17-cv-09257         ONDERLAW, LLC
LOVE, APRIL                  NJ - USDC for the District of New Jersey   3:21-cv-04968         ONDERLAW, LLC
LOVE, BRANDY                 NJ - USDC for the District of New Jersey   3:21-cv-05611         ONDERLAW, LLC
LOVE, CHERYL                 NJ - USDC for the District of New Jersey   3:21-cv-08155         ONDERLAW, LLC
LOVE, DIXIE                  NJ - USDC for the District of New Jersey   3:21-cv-03932         ONDERLAW, LLC
LOVE, LOLA                   MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
LOVE, NANCY                  NJ - USDC for the District of New Jersey   3:19-cv-05036         ONDERLAW, LLC
LOVE-CAMPBELL, SANDRA        NJ - USDC for the District of New Jersey   3:20-cv-10552         ONDERLAW, LLC
LOVE-HOWARD, GLINDA          NJ - USDC for the District of New Jersey   3:19-cv-03859         ONDERLAW, LLC
LOVEJOY, DIANE               NJ - USDC for the District of New Jersey   3:17-cv-09170         ONDERLAW, LLC
LOVELADY, CYNDY              MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
LOVELL, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-03421         ONDERLAW, LLC
LOVELL, LORI                 NJ - USDC for the District of New Jersey   3:19-cv-21942         ONDERLAW, LLC
LOVELL, SHIRLEY              NJ - USDC for the District of New Jersey   3:21-cv-04263         ONDERLAW, LLC
LOVERN, PAMELA               NJ - USDC for the District of New Jersey   3:19-cv-16109         ONDERLAW, LLC
LOVING, CAMISHA              NJ - USDC for the District of New Jersey   3:18-cv-11966         ONDERLAW, LLC
LOWE, ADRIENNE               MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
LOWE, CHERYL                 MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
LOWE, PAMELA                 NJ - USDC for the District of New Jersey   3:20-cv-09576         ONDERLAW, LLC
LOWE, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-05603         ONDERLAW, LLC
LOWELL, DIMITY               MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
LOWERY, ALLISON              NJ - USDC for the District of New Jersey   3:21-cv-02112         ONDERLAW, LLC
LOWERY, ANGELA               NJ - USDC for the District of New Jersey   3:19-cv-20453         ONDERLAW, LLC
LOWERY, KAREN                NJ - USDC for the District of New Jersey   3:17-cv-09949         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
LOWMAN, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-11092             ONDERLAW, LLC
LOYD, CAROLINE            MO - Circuit Court - City of St. Louis     1422-CC09821              ONDERLAW, LLC
LOZA, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-02156             ONDERLAW, LLC
LOZANO, ROSA              NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
LUBINSKI, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-03400             ONDERLAW, LLC
LUCAS, AMBER              NJ - USDC for the District of New Jersey   3:17-cv-08343             ONDERLAW, LLC
LUCAS, JULIE              NJ - USDC for the District of New Jersey   3:21-cv-18036             ONDERLAW, LLC
LUCAS, KARIE              NJ - USDC for the District of New Jersey   3:18-cv-09310             ONDERLAW, LLC
LUCAS, SANDI              NJ - USDC for the District of New Jersey   3:20-cv-12489             ONDERLAW, LLC
LUCERO, CRYSTAL           NJ - USDC for the District of New Jersey   3:21-cv-06495             ONDERLAW, LLC
LUCERO, FRANCHESCA        NJ - USDC for the District of New Jersey   3:21-cv-09710             ONDERLAW, LLC
LUCERO, NATALIE           NJ - USDC for the District of New Jersey   3:21-cv-06010             ONDERLAW, LLC
LUCIANI, CARRIE           MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
LUCIER, CLAUDIA           NJ - USDC for the District of New Jersey   3:20-cv-15392             ONDERLAW, LLC
LUCIUS, JUANITA           NJ - USDC for the District of New Jersey   3:18-cv-02554             ONDERLAW, LLC
LUDINGTON, CHERYL         NJ - USDC for the District of New Jersey   3:20-cv-20592             ONDERLAW, LLC
LUECKE, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-10531             ONDERLAW, LLC
LUERA, SONIA              NJ - USDC for the District of New Jersey   3:21-cv-02972             ONDERLAW, LLC
LUETTE, DAWN              NJ - USDC for the District of New Jersey   3:20-cv-17434             ONDERLAW, LLC
LUGO, MARISELA            NJ - USDC for the District of New Jersey   3:21-cv-10536             ONDERLAW, LLC
LUJAN, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-09061             ONDERLAW, LLC
LUKE, RUTH                NJ - USDC for the District of New Jersey   3:21-cv-08335             ONDERLAW, LLC
LUKIC, JULIE              NJ - USDC for the District of New Jersey   3:19-cv-08385             ONDERLAW, LLC
LUMBRERA, JENNY           NJ - USDC for the District of New Jersey   3:21-cv-01414             ONDERLAW, LLC
LUNA, DAISY               NJ - USDC for the District of New Jersey   3:21-cv-07158             ONDERLAW, LLC
LUNA, JOSIE               NJ - USDC for the District of New Jersey   3:20-cv-12214             ONDERLAW, LLC
LUND, JENNIE              NJ - USDC for the District of New Jersey   3:21-cv-01540             ONDERLAW, LLC
LUNDON, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-15394             ONDERLAW, LLC
LUNDQUIST, KRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-00822             ONDERLAW, LLC
LUTE, BROOKE              NJ - USDC for the District of New Jersey   3:21-cv-17342             ONDERLAW, LLC
LUTHER, FRANKIE           NJ - USDC for the District of New Jersey   3:21-cv-05386             ONDERLAW, LLC
LUTJENS, DENISE           NJ - USDC for the District of New Jersey   3:17-cv-08742             ONDERLAW, LLC
LUTON, SALLIE             NJ - USDC for the District of New Jersey   3:21-cv-03621             ONDERLAW, LLC
LUTTRELL, JESSICA         NJ - USDC for the District of New Jersey   3:21-cv-07011             ONDERLAW, LLC
LUTTRELL, TA              NJ - USDC for the District of New Jersey   3:21-cv-06405             ONDERLAW, LLC
LUTZ, CHRISTENE           MO - Circuit Court - City of St. Louis     1422-CC09821              ONDERLAW, LLC
LUTZ, SHANNON             NJ - USDC for the District of New Jersey   3:21-cv-02326             ONDERLAW, LLC
LYFORD, LESLIE            NJ - USDC for the District of New Jersey   3:21-cv-07351             ONDERLAW, LLC
LYLE, DORRAINE            NJ - USDC for the District of New Jersey   3:21-cv-17945             ONDERLAW, LLC
LYLE, KATHERINE           NJ - USDC for the District of New Jersey   3:18-cv-05004             ONDERLAW, LLC
LYNCH, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-03335             ONDERLAW, LLC
LYNCH, CHERNICIA          NJ - USDC for the District of New Jersey   3:21-cv-16760             ONDERLAW, LLC
LYNCH, CHRISTINA          NJ - USDC for the District of New Jersey   3:20-cv-13768             ONDERLAW, LLC
LYNCH, JENNIFER           NJ - USDC for the District of New Jersey   3:20-cv-06679             ONDERLAW, LLC
LYNCH, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-09701             ONDERLAW, LLC
LYONS, ALICE              NJ - USDC for the District of New Jersey   3:21-cv-07320             ONDERLAW, LLC
LYONS, ANNA               NJ - USDC for the District of New Jersey   3:21-cv-06387             ONDERLAW, LLC
LYONS, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-09713             ONDERLAW, LLC
LYONS, MARIE              NJ - USDC for the District of New Jersey   3:17-cv-09777             ONDERLAW, LLC
MABE, JANET               NJ - USDC for the District of New Jersey   3:21-cv-02950             ONDERLAW, LLC
MACAPULAY, SALLY          NJ - USDC for the District of New Jersey   3:21-cv-04117             ONDERLAW, LLC
MACDONALD, AMY            NJ - USDC for the District of New Jersey   3:17-cv-09883             ONDERLAW, LLC
MACDONALD, AUDREY         NJ - USDC for the District of New Jersey   3:17-cv-10058             ONDERLAW, LLC
MACDONALD, EILEEN         NJ - USDC for the District of New Jersey   3:20-cv-20698             ONDERLAW, LLC
MACDONALD, MARY           NJ - USDC for the District of New Jersey   3:21-cv-03128             ONDERLAW, LLC
MACE, AMANDA              NJ - USDC for the District of New Jersey   3:19-cv-21235             ONDERLAW, LLC
MACERA, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-03916             ONDERLAW, LLC
MACH, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-06826             ONDERLAW, LLC
MACHADO, ASHLEY           NJ - USDC for the District of New Jersey   3:21-cv-05952             ONDERLAW, LLC
MACHANGO, MADELEINE       NJ - USDC for the District of New Jersey   3:21-cv-07688             ONDERLAW, LLC
MACHI, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-06164             ONDERLAW, LLC
MACIAS, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-10537             ONDERLAW, LLC
MACIAS, ROSALINDA         NJ - USDC for the District of New Jersey   3:21-cv-06782             ONDERLAW, LLC
MACK, BONNIE              NJ - USDC for the District of New Jersey   3:21-cv-05131             ONDERLAW, LLC
MACK, LYNDA               NJ - USDC for the District of New Jersey   3:17-cv-09130             ONDERLAW, LLC
MACK, SHIRLEY             NJ - USDC for the District of New Jersey   3:20-cv-20308             ONDERLAW, LLC
MACKENZIE, CYNTHIA        MO - Circuit Court - City of St. Louis     1822-CC00237              ONDERLAW, LLC
MACKEY, MARY              NJ - USDC for the District of New Jersey   3:20-cv-15395             ONDERLAW, LLC
MACKEY, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-06003             ONDERLAW, LLC
MACKOUSE, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-08199             ONDERLAW, LLC
MACLENNAN, PRISCILLA      NJ - USDC for the District of New Jersey   3:20-cv-06680             ONDERLAW, LLC
MACNAUGHTON, JOAN         NJ - USDC for the District of New Jersey   3:21-cv-04234             ONDERLAW, LLC
MACOMBER, NANCY           NJ - USDC for the District of New Jersey   3:20-cv-07764             ONDERLAW, LLC
MACY, PAULA               NJ - USDC for the District of New Jersey   3:18-cv-12959             ONDERLAW, LLC
MADDEN, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-07613             ONDERLAW, LLC
MADDEN, DEBBIE            NJ - USDC for the District of New Jersey   3:21-cv-01727             ONDERLAW, LLC
MADDEN, KAREEN            CA - Superior Court - San Diego County     37-2017-41757-CU-PL-CTL   ONDERLAW, LLC
MADDEN, KAREEN            NJ - USDC for the District of New Jersey   3:17-cv-07912             ONDERLAW, LLC
MADDEN, LENA              NJ - USDC for the District of New Jersey   3:21-cv-04835             ONDERLAW, LLC
MADDOX, JENNIFER          NJ - USDC for the District of New Jersey   3:18-cv-12518             ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
MADDREY, SHELINA         NJ - USDC for the District of New Jersey   3:21-cv-04054             ONDERLAW, LLC
MADEWELL, MARGARET       NJ - USDC for the District of New Jersey   3:21-cv-08065             ONDERLAW, LLC
MADISON, CAROL           NJ - USDC for the District of New Jersey   3:18-cv-02937             ONDERLAW, LLC
MADRID, CLARA            MO - Circuit Court - City of St. Louis     1622-CC00134              ONDERLAW, LLC
MADSEN, DORI             NJ - USDC for the District of New Jersey   3:21-cv-10541             ONDERLAW, LLC
MADSEN, FRANCES          NJ - USDC for the District of New Jersey   3:18-cv-10242             ONDERLAW, LLC
MAFFEI, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-17820             ONDERLAW, LLC
MAGANA, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-09064             ONDERLAW, LLC
MAGEE, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-07481             ONDERLAW, LLC
MAGG, ROBERTA            NJ - USDC for the District of New Jersey   3:20-cv-01714             ONDERLAW, LLC
MAGGARD, JEANNETTE       NJ - USDC for the District of New Jersey   3:21-cv-02316             ONDERLAW, LLC
MAGHIAR, NIKKI           NJ - USDC for the District of New Jersey   3:21-cv-04802             ONDERLAW, LLC
MAGRUDER, CAROL          NJ - USDC for the District of New Jersey   3:21-cv-08617             ONDERLAW, LLC
MAGUREAN, KATHLEEN       NJ - USDC for the District of New Jersey   3:18-cv-17821             ONDERLAW, LLC
MAHARG, DENISE           MO - Circuit Court - City of St. Louis     1422-CC09326-01           ONDERLAW, LLC
MAHARRY, CAROLYN         NJ - USDC for the District of New Jersey   3:17-cv-11295             ONDERLAW, LLC
MAHER, LOUISE            NJ - USDC for the District of New Jersey   3:21-cv-01010             ONDERLAW, LLC
MAHONEY, CONSTANCE       NJ - USDC for the District of New Jersey   3:21-cv-06930             ONDERLAW, LLC
MAHRA,, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-18815             ONDERLAW, LLC
MAHTANI, SHOBA           NJ - USDC for the District of New Jersey   3:21-cv-08083             ONDERLAW, LLC
MAIBACH, DAWN            MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
MAIKHAIL, MARY           NJ - USDC for the District of New Jersey   3:20-cv-01476             ONDERLAW, LLC
MAISH, CARRIE            NJ - USDC for the District of New Jersey   3:18-cv-03128             ONDERLAW, LLC
                                                                    56-2017-00503557-CU-PL-
MAITLAND, ELOISE         CA - Superior Court - Ventura County                                 ONDERLAW, LLC
                                                                    VTA
MAITLAND, ELOISE         NJ - USDC for the District of New Jersey   3:17-cv-02394             ONDERLAW, LLC
MAJOR, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-02502             ONDERLAW, LLC
MALANDRA, ELFREDA        NJ - USDC for the District of New Jersey   3:21-cv-05288             ONDERLAW, LLC
MALASKI, ROBERTA         NJ - USDC for the District of New Jersey   3:20-cv-15396             ONDERLAW, LLC
MALDONADO, ELSA          NJ - USDC for the District of New Jersey   3:19-cv-21946             ONDERLAW, LLC
MALDONADO, EVELYN        NJ - USDC for the District of New Jersey   3:21-cv-10547             ONDERLAW, LLC
MALDONADO, MARIA         NJ - USDC for the District of New Jersey   3:18-cv-11037             ONDERLAW, LLC
MALDONADO, PATRICIA      NJ - USDC for the District of New Jersey   3:21-cv-18301             ONDERLAW, LLC
MALDONADO, REJENE        NJ - USDC for the District of New Jersey   3:21-cv-08754             ONDERLAW, LLC
MALDONADO, TAMMY         MO - Circuit Court - City of St. Louis     1522-CC00613              ONDERLAW, LLC
MALEY, JENNIFER          NJ - USDC for the District of New Jersey   3:19-cv-09600             ONDERLAW, LLC
MALHERBE, LOUANN         NJ - USDC for the District of New Jersey   3:21-cv-04231             ONDERLAW, LLC
MALIK, SHASHI            NJ - USDC for the District of New Jersey   3:21-cv-08116             ONDERLAW, LLC
MALINOWSKI, DIANA        NJ - USDC for the District of New Jersey   3:21-cv-03886             ONDERLAW, LLC
MALLARD, CAROLYN         NJ - USDC for the District of New Jersey   3:21-cv-07727             ONDERLAW, LLC
MALLARD, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-02889             ONDERLAW, LLC
MALLARD, JENNA           NJ - USDC for the District of New Jersey   3:20-cv-05693             ONDERLAW, LLC
MALLAS, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-06636             ONDERLAW, LLC
MALLICOAT, LINDA         NJ - USDC for the District of New Jersey   3:21-cv-02433             ONDERLAW, LLC
MALLON, JANA             NJ - USDC for the District of New Jersey   3:21-cv-09464             ONDERLAW, LLC
MALLOW, HAZEL            NJ - USDC for the District of New Jersey   3:21-cv-09658             ONDERLAW, LLC
MALLOY, SARAH            NJ - USDC for the District of New Jersey   3:21-cv-05576             ONDERLAW, LLC
MALLOY, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-02768             ONDERLAW, LLC
MALM, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-04855             ONDERLAW, LLC
MALM, KATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-08744             ONDERLAW, LLC
MALONE, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-09750             ONDERLAW, LLC
MALONE, GRACIE           NJ - USDC for the District of New Jersey   3:21-cv-07147             ONDERLAW, LLC
MALONE, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-01252             ONDERLAW, LLC
MALONEY, DIANE           NJ - USDC for the District of New Jersey   3:20-cv-07765             ONDERLAW, LLC
MALTESE, JENNA           NJ - USDC for the District of New Jersey   3:21-cv-17327             ONDERLAW, LLC
MALVIN, AUDREY           NJ - USDC for the District of New Jersey   3:18-cv-12801             ONDERLAW, LLC
MANAOIS, KIMBERLY        NJ - USDC for the District of New Jersey   3:18-cv-02938             ONDERLAW, LLC
MANCHA, JOANNE           NJ - USDC for the District of New Jersey   3:21-cv-18146             ONDERLAW, LLC
MANCINI, CATHLEEN        NJ - USDC for the District of New Jersey   3:17-cv-11202             ONDERLAW, LLC
MANDEL, MARCIA           NJ - USDC for the District of New Jersey   3:21-cv-09377             ONDERLAW, LLC
MANESS, RETTA            NJ - USDC for the District of New Jersey   3;21-CV-07607             ONDERLAW, LLC
MANGOINE, SHEILA         NJ - USDC for the District of New Jersey   3:21-cv-07574             ONDERLAW, LLC
MANGREN, YVETTE          NJ - USDC for the District of New Jersey   3:21-cv-06655             ONDERLAW, LLC
MANGUM, CASSANDRA        NJ - USDC for the District of New Jersey   3:20-cv-07234             ONDERLAW, LLC
MANIULIT, CYNTHIA        NJ - USDC for the District of New Jersey   3:21-cv-05385             ONDERLAW, LLC
MANLEY, JOANNA           NJ - USDC for the District of New Jersey   3:21-cv-02199             ONDERLAW, LLC
MANN, ERIN               MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
MANN, KATHE              NJ - USDC for the District of New Jersey   3:21-cv-08059             ONDERLAW, LLC
MANN, MAUREEN            NJ - USDC for the District of New Jersey   3:19-cv-15332             ONDERLAW, LLC
MANN, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-18303             ONDERLAW, LLC
MANN, NELLIE             NJ - USDC for the District of New Jersey   3:21-cv-02393             ONDERLAW, LLC
MANNERS, JUNE            NJ - USDC for the District of New Jersey   3:21-cv-04770             ONDERLAW, LLC
MANNING, DORIS           NJ - USDC for the District of New Jersey   3:21-cv-05638             ONDERLAW, LLC
MANNING, GLENDA          NJ - USDC for the District of New Jersey   3:21-cv-09050             ONDERLAW, LLC
MANNING, MELISSA         NJ - USDC for the District of New Jersey   3:20-cv-14999             ONDERLAW, LLC
MANNING, SHIRLEY         NJ - USDC for the District of New Jersey   3:20-cv-20004             ONDERLAW, LLC
MANSOURI, HEDIEH         NJ - USDC for the District of New Jersey   3:21-cv-08800             ONDERLAW, LLC
MANTON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-08979             ONDERLAW, LLC
MANUEL, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-07298             ONDERLAW, LLC
MANUZON, ROSANNA         NJ - USDC for the District of New Jersey   3:20-cv-01717             ONDERLAW, LLC




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         Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
MANWARREN, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-07810         ONDERLAW, LLC
MANZO, FERN                 NJ - USDC for the District of New Jersey   3:18-cv-14710         ONDERLAW, LLC
MARABLE-DONOVAN, MARGARET   NJ - USDC for the District of New Jersey   3:21-cv-01783         ONDERLAW, LLC
MARCELLO, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-09416         ONDERLAW, LLC
MARCHAND, ANNE              NJ - USDC for the District of New Jersey   3:21-cv-09358         ONDERLAW, LLC
MARCHANT, MARLENE           NJ - USDC for the District of New Jersey   3:20-cv-02159         ONDERLAW, LLC
MARCHELL, AQUILANTE         NJ - USDC for the District of New Jersey   3:20-cv-02090         ONDERLAW, LLC
MARCUM, CANDICE             NJ - USDC for the District of New Jersey   3:21-cv-03544         ONDERLAW, LLC
MARCUM, CHRIS               NJ - USDC for the District of New Jersey   3:20-cv-13769         ONDERLAW, LLC
MARCUS, DALE                NJ - USDC for the District of New Jersey   3:21-cv-06903         ONDERLAW, LLC
MARDEN, LOUISE              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
MAREIRA, KIMBERLY           NJ - USDC for the District of New Jersey   3:17-cv-09922         ONDERLAW, LLC
MAREK, JANIE                NJ - USDC for the District of New Jersey   3:18-cv-13176         ONDERLAW, LLC
MARENT, CHRISTINA           NJ - USDC for the District of New Jersey   3:18-cv-13487         ONDERLAW, LLC
MARES, URSULA               NJ - USDC for the District of New Jersey   3:21-cv-03129         ONDERLAW, LLC
MARGARET CAMPBELL           NJ - USDC for the District of New Jersey   3:21-cv-18253         ONDERLAW, LLC
MARGENE WIRTZ               NJ - USDC for the District of New Jersey   3:21-cv-18189         ONDERLAW, LLC
MARGRETTA, SARAH            NJ - USDC for the District of New Jersey   3:20-cv-06681         ONDERLAW, LLC
MARIANACCIO, DOLORES        NJ - USDC for the District of New Jersey   3:21-cv-10587         ONDERLAW, LLC
MARIN, DEBBIE               NJ - USDC for the District of New Jersey   3:20-cv-17074         ONDERLAW, LLC
MARINELLI, MARY             NJ - USDC for the District of New Jersey   3:21-cv-04720         ONDERLAW, LLC
MARINO, LISA                NJ - USDC for the District of New Jersey   3:18-cv-11038         ONDERLAW, LLC
MARINUS, HEATHER            NJ - USDC for the District of New Jersey   3:20-cv-09919         ONDERLAW, LLC
MARKER, GINA                NJ - USDC for the District of New Jersey   3:21-cv-12389         ONDERLAW, LLC
MARKHAM, DELLA              NJ - USDC for the District of New Jersey   3:20-cv-04932         ONDERLAW, LLC
MARKHAM, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-08821         ONDERLAW, LLC
MARKIN, TANYA               MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MARKLAND, DIANNE            NJ - USDC for the District of New Jersey   3:18-cv-13178         ONDERLAW, LLC
MARKLEY, LEIGH              NJ - USDC for the District of New Jersey   3:18-cv-07029         ONDERLAW, LLC
MARKOVIC, DANIJELA          NJ - USDC for the District of New Jersey   3:20-cv-20712         ONDERLAW, LLC
MARKS, NELLIE               NJ - USDC for the District of New Jersey   3:21-cv-02435         ONDERLAW, LLC
MARLOW, JANE                NJ - USDC for the District of New Jersey   3:20-cv-00997         ONDERLAW, LLC
MARO, JULIA                 NJ - USDC for the District of New Jersey   #:21-cv-02692         ONDERLAW, LLC
MARQUETT, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-03905         ONDERLAW, LLC
MARQUEZ, CHRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-04083         ONDERLAW, LLC
MARQUEZ, DOLORES            NJ - USDC for the District of New Jersey   3:21-cv-08084         ONDERLAW, LLC
MARQUEZ, EDUVIJES           NJ - USDC for the District of New Jersey   3:21-cv-06508         ONDERLAW, LLC
MARQUEZ, MARY               NJ - USDC for the District of New Jersey   3:21-cv-03130         ONDERLAW, LLC
MARQUEZ-LOPEZ, OMA          NJ - USDC for the District of New Jersey   3:21-cv-03262         ONDERLAW, LLC
MARRACCINO, JOSPEHINE       NJ - USDC for the District of New Jersey   3:21-cv-08657         ONDERLAW, LLC
MARSCHKE, IRENE             NJ - USDC for the District of New Jersey   3:21-cv-04944         ONDERLAW, LLC
MARSH, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-03345         ONDERLAW, LLC
MARSH, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-20721         ONDERLAW, LLC
MARSHALL, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-05124         ONDERLAW, LLC
MARSHALL, CHE               NJ - USDC for the District of New Jersey   3:19-cv-12464         ONDERLAW, LLC
MARSHALL, ELISA             NJ - USDC for the District of New Jersey   3:21-cv-08246         ONDERLAW, LLC
MARSHALL, ETHEL             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
MARSHALL, KATINA            NJ - USDC for the District of New Jersey   3:21-cv-02707         ONDERLAW, LLC
MARSHALL, LACEY             NJ - USDC for the District of New Jersey   3:17-cv-10476         ONDERLAW, LLC
MARSHALL, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-02882         ONDERLAW, LLC
MARSHALL, MARY              NJ - USDC for the District of New Jersey   3:21-cv-07420         ONDERLAW, LLC
MARSHALL, MATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-04803         ONDERLAW, LLC
MARSHALL, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-05518         ONDERLAW, LLC
MARSHALL-PARRIS, LATRECIA   NJ - USDC for the District of New Jersey   3:18-cv-03597         ONDERLAW, LLC
MARSZALEC, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-09829         ONDERLAW, LLC
MARTELLA, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-08439         ONDERLAW, LLC
MARTEN, JUDITH              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
MARTENS, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-10969         ONDERLAW, LLC
MARTER, JAQUELINE           NJ - USDC for the District of New Jersey   3:19-cv-09030         ONDERLAW, LLC
MARTIN, ANDREA              NJ - USDC for the District of New Jersey   3:17-cv-11191         ONDERLAW, LLC
MARTIN, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-10060         ONDERLAW, LLC
MARTIN, BETTY               NJ - USDC for the District of New Jersey   3:18-cv-02137         ONDERLAW, LLC
MARTIN, BRITTANY            NJ - USDC for the District of New Jersey   3:21-cv-17558         ONDERLAW, LLC
MARTIN, CHERYL              NJ - USDC for the District of New Jersey   3:21-cv-03015         ONDERLAW, LLC
MARTIN, CINDY               NJ - USDC for the District of New Jersey   3:20-cv-12216         ONDERLAW, LLC
MARTIN, CYNTHIA             NJ - USDC for the District of New Jersey   3:18-cv-04234         ONDERLAW, LLC
MARTIN, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-09898         ONDERLAW, LLC
MARTIN, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-20708         ONDERLAW, LLC
MARTIN, EVE                 NJ - USDC for the District of New Jersey   3:21-cv-09251         ONDERLAW, LLC
MARTIN, FRANCES             NJ - USDC for the District of New Jersey   3:21-cv-09562         ONDERLAW, LLC
MARTIN, JUDY                NJ - USDC for the District of New Jersey   3:20-cv-12215         ONDERLAW, LLC
MARTIN, KATHERINE           NJ - USDC for the District of New Jersey   3:19-cv-21947         ONDERLAW, LLC
MARTIN, MARILYN             NJ - USDC for the District of New Jersey   3:17-cv-09702         ONDERLAW, LLC
MARTIN, MARY                NJ - USDC for the District of New Jersey   3:19-cv-09027         ONDERLAW, LLC
MARTIN, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-11943         ONDERLAW, LLC
MARTIN, NORA                NJ - USDC for the District of New Jersey   3:21-cv-05101         ONDERLAW, LLC
MARTIN, RHONDA              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
MARTIN, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-03593         ONDERLAW, LLC
MARTIN, SHERRIE             NJ - USDC for the District of New Jersey   3:18-cv-11507         ONDERLAW, LLC
MARTIN, TAMIA               NJ - USDC for the District of New Jersey   3:21-cv-07512         ONDERLAW, LLC




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          Claimant Name                       State Filed                      Docket Number               Plaintiff Counsel
MARTIN, TAMMY                 NJ - USDC for the District of New Jersey   3:21-cv-04121         ONDERLAW, LLC
MARTIN, TAMMY                 NJ - USDC for the District of New Jersey   3:18-cv-15464         ONDERLAW, LLC
MARTIN, THERESA               NJ - USDC for the District of New Jersey   3:21-cv-08600         ONDERLAW, LLC
MARTIN, VERONICA              NJ - USDC for the District of New Jersey   3:18-cv-10751         ONDERLAW, LLC
MARTINEZ, CECILIA             NJ - USDC for the District of New Jersey   3:21-cv-06597         ONDERLAW, LLC
MARTINEZ, LYNDA               MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MARTINEZ, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-07699         ONDERLAW, LLC
MARTINEZ, MARIA               NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
MARTINEZ, MARTHA              NJ - USDC for the District of New Jersey   3:21-cv-02228         ONDERLAW, LLC
MARTINEZ, MARY                NJ - USDC for the District of New Jersey   3:21-cv-09657         ONDERLAW, LLC
MARTINEZ, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-03106         ONDERLAW, LLC
MARTINEZ, ROSABELLE           NJ - USDC for the District of New Jersey   3:21-cv-06945         ONDERLAW, LLC
MARTINEZ, SALLY               NJ - USDC for the District of New Jersey   3:20-cv-08145         ONDERLAW, LLC
MARTINEZ, SANTOS              NJ - USDC for the District of New Jersey   3:21-cv-08308         ONDERLAW, LLC
MARTINEZ, TANOA               NJ - USDC for the District of New Jersey   3:21-cv-12391         ONDERLAW, LLC
MARTINEZ, YOLANDA             NJ - USDC for the District of New Jersey   3:21-cv-06884         ONDERLAW, LLC
MARTINEZ, YVETTE              NJ - USDC for the District of New Jersey   3:21-cv-07294         ONDERLAW, LLC
MARTINEZ-AUGUSTINE, YOLANDA   NJ - USDC for the District of New Jersey   3:21-cv-16895         ONDERLAW, LLC
MARTINEZ-MELO, NORMA          NJ - USDC for the District of New Jersey   3:19-cv-17438         ONDERLAW, LLC
MARTIN-MCCLURKIN, OLETA       NJ - USDC for the District of New Jersey   3:21-cv-08927         ONDERLAW, LLC
MARTSOLF, TERESE              NJ - USDC for the District of New Jersey   3:19-cv-21661         ONDERLAW, LLC
MARTZ, PATRICIA               MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
MARUNA, DOREEN                NJ - USDC for the District of New Jersey   3:20-cv-00999         ONDERLAW, LLC
MARUNA, JANET                 NJ - USDC for the District of New Jersey   3:17-cv-11114         ONDERLAW, LLC
MARVIN, DARLA                 NJ - USDC for the District of New Jersey   3:19-cv-10149         ONDERLAW, LLC
MARX, LYNDA                   NJ - USDC for the District of New Jersey   3:21-cv-02809         ONDERLAW, LLC
MARXER, MARY                  NJ - USDC for the District of New Jersey   3:21-cv-06919         ONDERLAW, LLC
MARY BROWN                    NJ - USDC for the District of New Jersey   3:21-cv-18421         ONDERLAW, LLC
MASCHMAN, DANA                NJ - USDC for the District of New Jersey   3:21-cv-09336         ONDERLAW, LLC
MASCITELLI, LISA              NJ - USDC for the District of New Jersey   3:18-cv-02151         ONDERLAW, LLC
MASHIKE, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-18190         ONDERLAW, LLC
MASIELLO, CAROLE              NJ - USDC for the District of New Jersey   3:21-cv-09862         ONDERLAW, LLC
MASON, CHERYL                 MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MASON, HOPE                   MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MASON, JEANNINE               NJ - USDC for the District of New Jersey   3:21-cv-03008         ONDERLAW, LLC
MASON, JOAN                   NJ - USDC for the District of New Jersey   3:21-cv-09428         ONDERLAW, LLC
MASON, MARY                   NJ - USDC for the District of New Jersey   3:20-cv-14774         ONDERLAW, LLC
MASON, PEGGY                  NJ - USDC for the District of New Jersey   3:17-cv-09866         ONDERLAW, LLC
MASON, POLLY                  NJ - USDC for the District of New Jersey   3:21-cv-06517         ONDERLAW, LLC
MASON, VALERIE                NJ - USDC for the District of New Jersey   3:20-cv-00885         ONDERLAW, LLC
MASSER, GLORIA                NJ - USDC for the District of New Jersey   3:21-cv-06262         ONDERLAW, LLC
MASSEY, BONITA                NJ - USDC for the District of New Jersey   3:21-cv-06736         ONDERLAW, LLC
MASSEY, CYNTHIA               NJ - USDC for the District of New Jersey   3:21-cv-07435         ONDERLAW, LLC
MASSEY, EFFIE                 NJ - USDC for the District of New Jersey   3:21-cv-02881         ONDERLAW, LLC
MASSEY, JENNIFER              NJ - USDC for the District of New Jersey   3:19-cv-00053         ONDERLAW, LLC
MASSEY-GUINN, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-05291         ONDERLAW, LLC
MASSIE, DIANE                 NJ - USDC for the District of New Jersey   3:19-cv-21237         ONDERLAW, LLC
MASTERSON, KATELYNN           NJ - USDC for the District of New Jersey   3:19-cv-22134         ONDERLAW, LLC
MASTRANGELO, HELENE           NJ - USDC for the District of New Jersey   3:19-cv-12136         ONDERLAW, LLC
MATAMOROS, ARACELI            NJ - USDC for the District of New Jersey   3:18-cv-13966         ONDERLAW, LLC
MATEUS, MARIA                 NJ - USDC for the District of New Jersey   3:21-cv-08357         ONDERLAW, LLC
MATHAT, SHEILA                NJ - USDC for the District of New Jersey   3:20-cv-07286         ONDERLAW, LLC
MATHE, MARGARET               NJ - USDC for the District of New Jersey   3:21-cv-07256         ONDERLAW, LLC
MATHENY, JENNIFER             NJ - USDC for the District of New Jersey   3:18-cv-10968         ONDERLAW, LLC
MATHEWS, BOBBIE               NJ - USDC for the District of New Jersey   3:21-cv-09066         ONDERLAW, LLC
MATHEWS, CLAUDELL             NJ - USDC for the District of New Jersey   3:20-cv-07289         ONDERLAW, LLC
MATHEWS, MELINDA              NJ - USDC for the District of New Jersey   3:18-cv-08162         ONDERLAW, LLC
MATHEWS, NOLA                 NJ - USDC for the District of New Jersey   3:21-cv-02801         ONDERLAW, LLC
MATHIS, ADA                   MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
MATHIS, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-06359         ONDERLAW, LLC
MATHIS, PHYLLIS               NJ - USDC for the District of New Jersey   3:21-cv-03984         ONDERLAW, LLC
MATHSON, MARCIA               NJ - USDC for the District of New Jersey   3:20-cv-13252         ONDERLAW, LLC
MATHURIN, LILIAN              NJ - USDC for the District of New Jersey   3:21-cv-18300         ONDERLAW, LLC
MATHURINE, LYDIA              NJ - USDC for the District of New Jersey   3:17-cv-10571         ONDERLAW, LLC
MATOS, TAISHA                 NJ - USDC for the District of New Jersey   3:21-cv-02004         ONDERLAW, LLC
MATTERN, MISTY                NJ - USDC for the District of New Jersey   3:21-cv-03133         ONDERLAW, LLC
MATTHEWS, DEBORAH             MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
MATTHEWS, DELORES             NJ - USDC for the District of New Jersey   3:20-cv-00162         ONDERLAW, LLC
MATTHEWS, JESSICA             NJ - USDC for the District of New Jersey   3:21-cv-09280         ONDERLAW, LLC
MATTHEWS, JESSIE              NJ - USDC for the District of New Jersey   3:19-cv-19503         ONDERLAW, LLC
MATTHEWS, PAMELA              NJ - USDC for the District of New Jersey   3:18-cv-04146         ONDERLAW, LLC
MATTHEWS, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-13488         ONDERLAW, LLC
MATTHEWS, SANDRA              MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
MATTIA, SHELAH                MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
MATTINGLY, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-19356         ONDERLAW, LLC
MATTINGLY, GINA               NJ - USDC for the District of New Jersey   3:20-cv-00355         ONDERLAW, LLC
MATTOX, CANDANCE              NJ - USDC for the District of New Jersey   3:18-cv-17822         ONDERLAW, LLC
MATTSON, LAVONNE              NJ - USDC for the District of New Jersey   3:20-cv-20485         ONDERLAW, LLC
MATTSON, STEPHANIE            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
MAUCERI, COLLEEN              NJ - USDC for the District of New Jersey   3:21-cv-02014         ONDERLAW, LLC




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         Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
MAUCH, FLORINE            NJ - USDC for the District of New Jersey   3:21-cv-03908         ONDERLAW, LLC
MAUER, KATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-09522         ONDERLAW, LLC
MAULE-FIELDS, CONNIE      NJ - USDC for the District of New Jersey   3:21-cv-07953         ONDERLAW, LLC
MAURO, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-11961         ONDERLAW, LLC
MAXTED, DEIRDRE           NJ - USDC for the District of New Jersey   3:21-cv-09268         ONDERLAW, LLC
MAXWELL, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-09510         ONDERLAW, LLC
MAXWELL, SHARON           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
MAY, BETTY                NJ - USDC for the District of New Jersey   3:21-cv-03884         ONDERLAW, LLC
MAY, IDA                  MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MAY, LESLIE               NJ - USDC for the District of New Jersey   3:21-cv-08046         ONDERLAW, LLC
MAYBEE, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-09374         ONDERLAW, LLC
MAYBERRY, AILEEN          NJ - USDC for the District of New Jersey   3:21-cv-05144         ONDERLAW, LLC
MAYE, KATIE               NJ - USDC for the District of New Jersey   3:21-cv-07044         ONDERLAW, LLC
MAYE, TERESA              NJ - USDC for the District of New Jersey   3:21-cv-05286         ONDERLAW, LLC
MAYER, JODY               NJ - USDC for the District of New Jersey   3:20-cv-08863         ONDERLAW, LLC
MAYER, LYNN               NJ - USDC for the District of New Jersey   3:21-cv-09792         ONDERLAW, LLC
MAYFIELD, ALOMA           NJ - USDC for the District of New Jersey   3:21-cv-05962         ONDERLAW, LLC
MAYFIELD, TRENA           NJ - USDC for the District of New Jersey   3:19-cv-10161         ONDERLAW, LLC
MAYNARD, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-02476         ONDERLAW, LLC
MAYNARD, KIMBERLY         NJ - USDC for the District of New Jersey   3:21-cv-04137         ONDERLAW, LLC
MAYNOR, SHANETTE          NJ - USDC for the District of New Jersey   3:20-cv-13771         ONDERLAW, LLC
MAYO, JENNIFER            NJ - USDC for the District of New Jersey   3:20-cv-06947         ONDERLAW, LLC
MAYSONET, ILEANA          NJ - USDC for the District of New Jersey   3:21-cv-01162         ONDERLAW, LLC
MAZEAU-AHKEAH, REBECCA    NJ - USDC for the District of New Jersey   3:21-cv-02110         ONDERLAW, LLC
MAZZUCA, KATHLEEN         NJ - USDC for the District of New Jersey   3:17-cv-00798         ONDERLAW, LLC
MCABEE, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-09568         ONDERLAW, LLC
MCAFFEE, HEATHER          NJ - USDC for the District of New Jersey   3:21-cv-02176         ONDERLAW, LLC
MCALISTER, GENOVEVA       NJ - USDC for the District of New Jersey   3:20-cv-09087         ONDERLAW, LLC
MCANDREWS, SARAH          NJ - USDC for the District of New Jersey   3:19-cv-09287         ONDERLAW, LLC
MCAVOY, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-01503         ONDERLAW, LLC
MCBEE, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-14753         ONDERLAW, LLC
MCBRIDE, JUNE             NJ - USDC for the District of New Jersey   3:21-cv-02722         ONDERLAW, LLC
MCCABE-GERMAN, SHARON     NJ - USDC for the District of New Jersey   3:20-cv-08230         ONDERLAW, LLC
MCCAIN, WANDA             NJ - USDC for the District of New Jersey   3:20-cv-02140         ONDERLAW, LLC
MCCALEB, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-06238         ONDERLAW, LLC
MCCALISTER, BARBARA       NJ - USDC for the District of New Jersey   3:19-cv-20805         ONDERLAW, LLC
MCCALL, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-03592         ONDERLAW, LLC
MCCALL, MAUREEN           NJ - USDC for the District of New Jersey   3:18-cv-16325         ONDERLAW, LLC
MCCALL, SHARON            NJ - USDC for the District of New Jersey   3:19-cv-12080         ONDERLAW, LLC
MCCANN, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-10589         ONDERLAW, LLC
MCCANN-MUELLER, HEATHER   NJ - USDC for the District of New Jersey   3:17-cv-08344         ONDERLAW, LLC
MCCANTS, JOANN            NJ - USDC for the District of New Jersey   3:20-cv-13764         ONDERLAW, LLC
MCCARTER, SANDRA          NJ - USDC for the District of New Jersey   3:17-cv-11192         ONDERLAW, LLC
MCCARTHY, KRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-03616         ONDERLAW, LLC
MCCARTHY, LORI            NJ - USDC for the District of New Jersey   3:21-cv-07485         ONDERLAW, LLC
MCCARTHY, MAURA           NJ - USDC for the District of New Jersey   3:18-cv-17823         ONDERLAW, LLC
MCCARTHY, SUSAN           NJ - USDC for the District of New Jersey   3:20-cv-10187         ONDERLAW, LLC
MCCARTNEY, MEGAN          NJ - USDC for the District of New Jersey   3:21-cv-09008         ONDERLAW, LLC
MCCARY, TAMMIE            NJ - USDC for the District of New Jersey   3:18-cv-17099         ONDERLAW, LLC
MCCASLAND, SANDRA         NJ - USDC for the District of New Jersey   3:21-cv-08159         ONDERLAW, LLC
MCCASLIN, YVONNE          NJ - USDC for the District of New Jersey   3:21-cv-03283         ONDERLAW, LLC
MCCLAIN, BRENDOLYN        NJ - USDC for the District of New Jersey   3:21-cv-04119         ONDERLAW, LLC
MCCLAIN, JILL             NJ - USDC for the District of New Jersey   3:21-cv-05854         ONDERLAW, LLC
MCCLAIN, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-06556         ONDERLAW, LLC
MCCLAIN, MELISSA          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MCCLAIN-COSTON, THELMA    NJ - USDC for the District of New Jersey   3:21-cv-06431         ONDERLAW, LLC
MCCLANAHAN, KAREN         MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
MCCLEAD, MARTHA           NJ - USDC for the District of New Jersey   3:17-cv-05601         ONDERLAW, LLC
MCCLEARN, MEILING         MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
MCCLEARY, JACQUELINE      NJ - USDC for the District of New Jersey   3:17-cv-09884         ONDERLAW, LLC
MCCLELLAN, SHARON         NJ - USDC for the District of New Jersey   3:21-cv-05640         ONDERLAW, LLC
MCCLELLAND, GAYLE         NJ - USDC for the District of New Jersey   3:19-cv-15325         ONDERLAW, LLC
MCCLENNEN, NANCY          NJ - USDC for the District of New Jersey   3:20-cv-13773         ONDERLAW, LLC
MCCLENON, BELINDA         NJ - USDC for the District of New Jersey   3:21-cv-05295         ONDERLAW, LLC
MCCLEOD, CORA             NJ - USDC for the District of New Jersey   3:21-cv-08369         ONDERLAW, LLC
MCCLESKEY, FASHONDA       NJ - USDC for the District of New Jersey   3:20-cv-09720         ONDERLAW, LLC
MCCLINTOCK, SONYA         NJ - USDC for the District of New Jersey   3:21-cv-02938         ONDERLAW, LLC
MCCLOSKEY, LAUREL         NJ - USDC for the District of New Jersey   3:20-cv-02635         ONDERLAW, LLC
MCCLOUD, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-03020         ONDERLAW, LLC
MCCLUNG, CAROLYN          NJ - USDC for the District of New Jersey   3:18-cv-17824         ONDERLAW, LLC
MCCLURG, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-05879         ONDERLAW, LLC
MCCOMBS, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-08414         ONDERLAW, LLC
MCCONKEY-LONG, SHEILA     NJ - USDC for the District of New Jersey   3:21-cv-01893         ONDERLAW, LLC
MCCONNELL, WHITNEY        NJ - USDC for the District of New Jersey   3:21-cv-07571         ONDERLAW, LLC
MCCORD, MARY              NJ - USDC for the District of New Jersey   3:21-cv-04307         ONDERLAW, LLC
MCCORMICK, DEBORAH        NJ - USDC for the District of New Jersey   3:19-cv-02852         ONDERLAW, LLC
MCCORMICK, HEATHER        NJ - USDC for the District of New Jersey   3:21-cv-05486         ONDERLAW, LLC
MCCORMICK, JOAN           MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
MCCORMICK, KAREN          NJ - USDC for the District of New Jersey   3:21-cv-17579         ONDERLAW, LLC
MCCORMICK, KIMBERLY       NJ - USDC for the District of New Jersey   3:17-cv-09571         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MCCORMICK, MONIQUE       NJ - USDC for the District of New Jersey   3:17-cv-09132         ONDERLAW, LLC
MCCORMICK, REBECCA       NJ - USDC for the District of New Jersey   3:17-cv-09918         ONDERLAW, LLC
MCCOWN, CAROL            NJ - USDC for the District of New Jersey   3:18-cv-08551         ONDERLAW, LLC
MCCOWN, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-13510         ONDERLAW, LLC
MCCOY, AWILDA            NJ - USDC for the District of New Jersey   3:17-cv-11200         ONDERLAW, LLC
MCCOY, INA               NJ - USDC for the District of New Jersey   3:21-cv-02697         ONDERLAW, LLC
MCCOY, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-06168         ONDERLAW, LLC
MCCOY, LUBERTA           NJ - USDC for the District of New Jersey   3:18-cv-08556         ONDERLAW, LLC
MCCRAY, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-05087         ONDERLAW, LLC
MCCRAY, MARY             NJ - USDC for the District of New Jersey   3:21-cv-06720         ONDERLAW, LLC
MCCREADY, MARY           NJ - USDC for the District of New Jersey   3:19-cv-02863         ONDERLAW, LLC
MCCROSKEY, JESSICA       NJ - USDC for the District of New Jersey   3:21-cv-06146         ONDERLAW, LLC
MCCUIN, LATRICE          NJ - USDC for the District of New Jersey   3:21-cv-05516         ONDERLAW, LLC
MCCULLEN, CAROL          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MCCULLEY, CANDACE        NJ - USDC for the District of New Jersey   3:19-cv-19351         ONDERLAW, LLC
MCCULLEY, RITA           NJ - USDC for the District of New Jersey   3:19-cv-19575         ONDERLAW, LLC
MCCULLOUGH, ROSE         NJ - USDC for the District of New Jersey   3:21-cv-05987         ONDERLAW, LLC
MCCUNE, ANITA            NJ - USDC for the District of New Jersey   3:21-cv-04085         ONDERLAW, LLC
MCDADE, MELODY           NJ - USDC for the District of New Jersey   3:20-cv-05875         ONDERLAW, LLC
MCDANIEL, DEBORAH        NJ - USDC for the District of New Jersey   3:21-cv-00006         ONDERLAW, LLC
MCDANIEL, MELISSA        NJ - USDC for the District of New Jersey   3:21-cv-18193         ONDERLAW, LLC
MCDERMAID, JANET         NJ - USDC for the District of New Jersey   Mcdermaid, Janet      ONDERLAW, LLC
MCDERMAND, EDITH         NJ - USDC for the District of New Jersey   3:21-cv-06649         ONDERLAW, LLC
MCDONALD, BRENDA         NJ - USDC for the District of New Jersey   3:17-cv-04888         ONDERLAW, LLC
MCDONALD, CAROL          NJ - USDC for the District of New Jersey   3:18-cv-17827         ONDERLAW, LLC
MCDONALD, CHRISTINE      NJ - USDC for the District of New Jersey   3:21-cv-07548         ONDERLAW, LLC
MCDONALD, JAYD           NJ - USDC for the District of New Jersey   3:21-cv-09566         ONDERLAW, LLC
MCDONALD, MARY           NJ - USDC for the District of New Jersey   3:21-cv-00007         ONDERLAW, LLC
MCDONALD, MAYONA         MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
MCDONALD, SHARON         NJ - USDC for the District of New Jersey   3:20-cv-12444         ONDERLAW, LLC
MCDONALD, TONI           NJ - USDC for the District of New Jersey   3:19-cv-00055         ONDERLAW, LLC
MCDONOUGH, CHERYL        NJ - USDC for the District of New Jersey   3:18-cv-04235         ONDERLAW, LLC
MCDOWELL, JUDITH         NJ - USDC for the District of New Jersey   3:21-cv-17580         ONDERLAW, LLC
MCDOWELL, JUDITH         NJ - USDC for the District of New Jersey   3:21-cv-17580         ONDERLAW, LLC
MCDOWELL, NANCY          NJ - USDC for the District of New Jersey   3:20-cv-20309         ONDERLAW, LLC
MCDOWELL, SARA           NJ - USDC for the District of New Jersey   3:17-cv-09856         ONDERLAW, LLC
MCELWEE, INGRIA          NJ - USDC for the District of New Jersey   3:21-cv-08474         ONDERLAW, LLC
MCFALL, APRIL            NJ - USDC for the District of New Jersey   3:20-cv-14944         ONDERLAW, LLC
MCFALL, CONNIE           NJ - USDC for the District of New Jersey   3:18-cv-04585         ONDERLAW, LLC
MCFALL, JANEY            NJ - USDC for the District of New Jersey   3:21-cv-02883         ONDERLAW, LLC
MCFARLANE, JENNY         NJ - USDC for the District of New Jersey   3:21-cv-10592         ONDERLAW, LLC
MCGEE, BARBE             NJ - USDC for the District of New Jersey   3:18-cv-15738         ONDERLAW, LLC
MCGEE, BRENDA            NJ - USDC for the District of New Jersey   3:17-cv-08779         ONDERLAW, LLC
MCGEE, CHIQUITA          NJ - USDC for the District of New Jersey   3:21-cv-04273         ONDERLAW, LLC
MCGILL, GWENDOLYN        NJ - USDC for the District of New Jersey   3:20-cv-14220         ONDERLAW, LLC
MCGILL, THERESA          NJ - USDC for the District of New Jersey   3:21-cv-03967         ONDERLAW, LLC
MCGIRT, PAULETTE         NJ - USDC for the District of New Jersey   3:17-cv-10900         ONDERLAW, LLC
MCGLONE, KIMBERLY        NJ - USDC for the District of New Jersey   3:18-cv-08005         ONDERLAW, LLC
MCGLOTHIN, RIKAYAH       NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
MCGONIGLE, JOYCE         NJ - USDC for the District of New Jersey   3:17-cv-02396         ONDERLAW, LLC
MCGOUGH, AGNES           NJ - USDC for the District of New Jersey   3:20-cv-01040         ONDERLAW, LLC
MCGOVERN, BRENDA         NJ - USDC for the District of New Jersey   3:21-cv-05643         ONDERLAW, LLC
MCGOWAN, ANGELA          NJ - USDC for the District of New Jersey   3:21-cv-18219         ONDERLAW, LLC
MCGOWAN, DELETHIA        NJ - USDC for the District of New Jersey   3:21-cv-04982         ONDERLAW, LLC
MCGRAIL, RENEE           NJ - USDC for the District of New Jersey   3:18-cv-03509         ONDERLAW, LLC
MCGRATH, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-05454         ONDERLAW, LLC
MCGRAW, NICHOLE          NJ - USDC for the District of New Jersey   3:20-cv-14218         ONDERLAW, LLC
MCGUIRE, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-08806         ONDERLAW, LLC
MCGUIRE, DOROTHY         NJ - USDC for the District of New Jersey   3:21-cv-03973         ONDERLAW, LLC
MCGUIRE, SHIRLEY         NJ - USDC for the District of New Jersey   3:18-cv-10082         ONDERLAW, LLC
MCINTOSH, CAROLYN        NJ - USDC for the District of New Jersey   3:20-cv-18647         ONDERLAW, LLC
MCINTOSH, DOROTHY        NJ - USDC for the District of New Jersey   3:19-cv-04828         ONDERLAW, LLC
MCINTYRE, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-09562         ONDERLAW, LLC
MCKAIN, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-07998         ONDERLAW, LLC
MCKAY, YVONNE            NJ - USDC for the District of New Jersey   3:18-cv-12461         ONDERLAW, LLC
MCKEAL, PEGGY            NJ - USDC for the District of New Jersey   3:17-cv-12373         ONDERLAW, LLC
MCKEE, CONNIE            NJ - USDC for the District of New Jersey   3:21-cv-09574         ONDERLAW, LLC
MCKEE, CYNTHIA           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
MCKEE, HATTIE            NJ - USDC for the District of New Jersey   3:21-cv-09848         ONDERLAW, LLC
MCKEE, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-08060         ONDERLAW, LLC
MCKEEVER, JOANNE         NJ - USDC for the District of New Jersey   3:18-cv-10084         ONDERLAW, LLC
MCKENNA, ANN-MARIE       NJ - USDC for the District of New Jersey   3:18-cv-03995         ONDERLAW, LLC
MCKENNA, MARJORIE        NJ - USDC for the District of New Jersey   3:20-cv-13907         ONDERLAW, LLC
MCKENNEY, SHANEE         NJ - USDC for the District of New Jersey   3:21-cv-03730         ONDERLAW, LLC
MCKENZIE, EDRENA         NJ - USDC for the District of New Jersey   3:21-cv-12398         ONDERLAW, LLC
MCKENZIE, JUDITH         NJ - USDC for the District of New Jersey   3:19-cv-20937         ONDERLAW, LLC
MCKIERMAN, MARIA         NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
MCKIM, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-20763         ONDERLAW, LLC
MCKIM, OPAL              NJ - USDC for the District of New Jersey   3:21-cv-06877         ONDERLAW, LLC
MCKINIGHT, LISA          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC




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         Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
MCKINLEY, CAMELA         NJ - USDC for the District of New Jersey    3:17-cv-09261         ONDERLAW, LLC
MCKINLEY, CAMELA         NJ - USDC for the District of New Jersey    3:17-cv-09261         ONDERLAW, LLC
MCKINLEY, CAMELA         NJ - USDC for the District of New Jersey    3:17-cv-09261         ONDERLAW, LLC
MCKINLEY, CHRISTINE      MO - Circuit Court - City of St. Louis      2122-CC00080          ONDERLAW, LLC
MCKINLEY, MONICA         NJ - USDC for the District of New Jersey    3:21-cv-10594         ONDERLAW, LLC
MCKINNEY, DERLYN         NJ - USDC for the District of New Jersey    3:20-cv-02147         ONDERLAW, LLC
MCKINNEY, JANIE          NJ - USDC for the District of New Jersey    3:17-cv-10508         ONDERLAW, LLC
MCKINNEY, LINDA          MO - Circuit Court - City of St. Louis      1622-CC00134          ONDERLAW, LLC
MCKINNEY, SCHUWONDA      NJ - USDC for the District of New Jersey    3:19-cv-14098         ONDERLAW, LLC
MCKINNEY, TANA           NJ - USDC for the District of New Jersey    3:21-cv-03546         ONDERLAW, LLC
MCKINZIE, SHIRLEY        NJ - USDC for the District of New Jersey    3:17-cv-02396         ONDERLAW, LLC
MCKONE, CLARISSA         NJ - USDC for the District of New Jersey    3:21-cv-08328         ONDERLAW, LLC
MCLAIN, PAULA            NJ - USDC for the District of New Jersey    3:20-cv-03456         ONDERLAW, LLC
MCLANE, BRENDA           MO - Circuit Court - City of St. Louis      1622-CC-00837         ONDERLAW, LLC
MCLAUGHLIN, PAULA        NJ - USDC for the District of New Jersey    3:17-cv-08841         ONDERLAW, LLC
MCLAURY, JENNIFER        NJ - USDC for the District of New Jersey    3:21-cv-08952         ONDERLAW, LLC
MCLEAN, JACQUELINE       NJ - USDC for the District of New Jersey    3:19-cv-00054         ONDERLAW, LLC
MCLEAN, JILL             CA - Superior Court - Contra Costa County   MSC17-02144           ONDERLAW, LLC
MCLEAN, JILL             NJ - USDC for the District of New Jersey    3:17-cv-03946         ONDERLAW, LLC
MCLEAN, MAJESTA          NJ - USDC for the District of New Jersey    3:17-cv-09705         ONDERLAW, LLC
MCLEAN, VICKIE           NJ - USDC for the District of New Jersey    3:21-cv-09503         ONDERLAW, LLC
MCLEMORE, PATTY          NJ - USDC for the District of New Jersey    3:17-cv-10604         ONDERLAW, LLC
MCLIN, KATHLEEN          NJ - USDC for the District of New Jersey    3:21-cv-02298         ONDERLAW, LLC
MCMANIGLE, LEONA         NJ - USDC for the District of New Jersey    3:21-cv-08940         ONDERLAW, LLC
MCMANUS, JENNIFER        NJ - USDC for the District of New Jersey    3:20-cv-14558         ONDERLAW, LLC
MCMANUS, SUSAN           NJ - USDC for the District of New Jersey    3:18-cv-17828         ONDERLAW, LLC
MCMASTER, GLORIA         NJ - USDC for the District of New Jersey    3:18-cv-17829         ONDERLAW, LLC
MCMILLAN, DEBRA          NJ - USDC for the District of New Jersey    3:21-cv-05431         ONDERLAW, LLC
MCMILLAN, LORI           NJ - USDC for the District of New Jersey    3:21-cv-08504         ONDERLAW, LLC
MCMILLAN, TIFFANY        NJ - USDC for the District of New Jersey    3:21-cv-06912         ONDERLAW, LLC
MCMILLER, PATRICIA       NJ - USDC for the District of New Jersey    3:21-cv-02851         ONDERLAW, LLC
MCMILLIAN, MILDRED       MO - Circuit Court - City of St. Louis      1422-CC09821          ONDERLAW, LLC
MCMILLIAN-GRACE, ELLA    NJ - USDC for the District of New Jersey    3:21-cv-06777         ONDERLAW, LLC
MCMULLEN, KIMBERLY       NJ - USDC for the District of New Jersey    3:18-cv-16096         ONDERLAW, LLC
MCMURRAY, LAURA          NJ - USDC for the District of New Jersey    3:21-cv-13824         ONDERLAW, LLC
MCMURTREY, SANDRA        NJ - USDC for the District of New Jersey    3:21-cv-03799         ONDERLAW, LLC
MCNABB, HUE              MO - Circuit Court - City of St. Louis      1422-CC09326-01       ONDERLAW, LLC
MCNAIR, BRENDA           NJ - USDC for the District of New Jersey    3:17-cv-13492         ONDERLAW, LLC
MCNEAL, TONYA            NJ - USDC for the District of New Jersey    3:21-cv-09826         ONDERLAW, LLC
MCNEELY, MARY            NJ - USDC for the District of New Jersey    3:17-cv-08745         ONDERLAW, LLC
MCNEIL, ALICE            NJ - USDC for the District of New Jersey    3:21-cv-10596         ONDERLAW, LLC
MCNEIL, SARAH            NJ - USDC for the District of New Jersey    3:21-cv-03134         ONDERLAW, LLC
MCNICHOLS, DONNA         NJ - USDC for the District of New Jersey    3:18-cv-05722         ONDERLAW, LLC
MCPHERSON, ROBIN         NJ - USDC for the District of New Jersey    3:21-cv-01229         ONDERLAW, LLC
MCPHERSON, SHARON        NJ - USDC for the District of New Jersey    3:21-cv-03961         ONDERLAW, LLC
MCQUATE, KATRINA         NJ - USDC for the District of New Jersey    3:19-cv-13160         ONDERLAW, LLC
MCQUILLAN, MARY          NJ - USDC for the District of New Jersey    3:17-cv-00791         ONDERLAW, LLC
MCQUILLEN, KAREN         NJ - USDC for the District of New Jersey    3:17-cv-00790         ONDERLAW, LLC
MCRAE, CHRISTINE         NJ - USDC for the District of New Jersey    3:21-cv-01008         ONDERLAW, LLC
MCSURDY, ROSINA          NJ - USDC for the District of New Jersey    3:21-cv-06285         ONDERLAW, LLC
MCSWAIN, DEANNA          NJ - USDC for the District of New Jersey    3:19-cv-13559         ONDERLAW, LLC
MCTAMNEY, LAURALEE       NJ - USDC for the District of New Jersey    3:17-cv-00726         ONDERLAW, LLC
MCVAY, PAMELA            NJ - USDC for the District of New Jersey    3:20-cv-00052         ONDERLAW, LLC
MCVEAN, CYNTHIA          MO - Circuit Court - City of St. Louis      1622-CC00134          ONDERLAW, LLC
MCZEAL, ANISSA           NJ - USDC for the District of New Jersey    3:21-cv-01502         ONDERLAW, LLC
MEAD, STANLEY            NJ - USDC for the District of New Jersey    3:19-cv-03609         ONDERLAW, LLC
MEADOR, CAROL            NJ - USDC for the District of New Jersey    3:21-cv-05178         ONDERLAW, LLC
MEADOR, CHRISTINA        MO - Circuit Court - City of St. Louis      1622-CC-00837         ONDERLAW, LLC
MEADOR, SHARON           NJ - USDC for the District of New Jersey    3:17-cv-06303         ONDERLAW, LLC
MEADOWS, DONNA           NJ - USDC for the District of New Jersey    3:21-cv-10598         ONDERLAW, LLC
MEADOWS, PHYLLIS         NJ - USDC for the District of New Jersey    3:21-cv-01193         ONDERLAW, LLC
MEALS, VICKI             NJ - USDC for the District of New Jersey    3:21-cv-08080         ONDERLAW, LLC
MEARS, FRANCIS           NJ - USDC for the District of New Jersey    3:19-cv-20451         ONDERLAW, LLC
MEARS, MARCIA            MO - Circuit Court - City of St. Louis      1822-CC06811          ONDERLAW, LLC
MECADON, LISA            NJ - USDC for the District of New Jersey    3:21-cv-02398         ONDERLAW, LLC
MEDELLIN, GRACIELA       NJ - USDC for the District of New Jersey    3:19-cv-08466         ONDERLAW, LLC
MEDGES, JANA             NJ - USDC for the District of New Jersey    3:19-cv-12460         ONDERLAW, LLC
MEDINA, ALICE            NJ - USDC for the District of New Jersey    3:21-cv-05928         ONDERLAW, LLC
MEDINA, FRNACES          NJ - USDC for the District of New Jersey    3:19-cv-16059         ONDERLAW, LLC
MEDINA, MARGARET         NJ - USDC for the District of New Jersey    3:19-cv-05878         ONDERLAW, LLC
MEDINA, MARY             MO - Circuit Court - City of St. Louis      1722-CC11872          ONDERLAW, LLC
MEDINA, THELMA           NJ - USDC for the District of New Jersey    3:21-cv-03136         ONDERLAW, LLC
MEDRANO, EMELIE          NJ - USDC for the District of New Jersey    3:21-cv-06593         ONDERLAW, LLC
MEDRANO, MOLLY           NJ - USDC for the District of New Jersey    3:20-cv-15722         ONDERLAW, LLC
MEEHAN, JUDY             NJ - USDC for the District of New Jersey    3:21-cv-09771         ONDERLAW, LLC
MEEK, BARBARA            NJ - USDC for the District of New Jersey    3:21-cv-08623         ONDERLAW, LLC
MEEK, CAROL              NJ - USDC for the District of New Jersey    3:21-cv-02076         ONDERLAW, LLC
MEEKINS, TELISHA         NJ - USDC for the District of New Jersey    3:21-cv-04717         ONDERLAW, LLC
MEEKS, JESSLYN           NJ - USDC for the District of New Jersey    3:20-cv-01276         ONDERLAW, LLC
MEEKS, REBECCA           MO - Circuit Court - City of St. Louis      1422-CC09326-01       ONDERLAW, LLC




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
MEFFORD, MARY                      NJ - USDC for the District of New Jersey   3:21-cv-05989         ONDERLAW, LLC
MEGGETT, ANGELA                    NJ - USDC for the District of New Jersey   3:18-cv-15466         ONDERLAW, LLC
MEGHAED, SHARVAT                   NJ - USDC for the District of New Jersey   3:21-cv-04690         ONDERLAW, LLC
MEHAFFY, JOYCE                     NJ - USDC for the District of New Jersey   3:21-cv-03820         ONDERLAW, LLC
MEIER, ARLENE                      NJ - USDC for the District of New Jersey   3:20-cv-12893         ONDERLAW, LLC
MEIER, CYNTHIA                     CA - Superior Court - Sacramento County    34-2017-00221571      ONDERLAW, LLC
MEIER, CYNTHIA                     NJ - USDC for the District of New Jersey   3:17-cv-05720         ONDERLAW, LLC
MEINERS, BARBARA                   NJ - USDC for the District of New Jersey   3:21-cv-07584         ONDERLAW, LLC
MEISINGER, DEBRA                   NJ - USDC for the District of New Jersey   3:21-cv-12789         ONDERLAW, LLC
MEJIA, ANNETTE                     NJ - USDC for the District of New Jersey   3:21-cv-09069         ONDERLAW, LLC
MELANCON, DORIS                    NJ - USDC for the District of New Jersey   3:20-cv-01129         ONDERLAW, LLC
MELANIE TRUDEAU                    NJ - USDC for the District of New Jersey   3:21-cv-18436         ONDERLAW, LLC
MELANSON, ANDREA                   NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
MELBERGER, B., RHODE, J.; ROCKS,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07910         ONDERLAW, LLC
P.; WORLEY, K.
MELENDEZ, ALIDA                    NJ - USDC for the District of New Jersey   3:21-cv-04728         ONDERLAW, LLC
MELL, ROSE                         NJ - USDC for the District of New Jersey   3:21-cv-04659         ONDERLAW, LLC
MELTON, TERESA                     NJ - USDC for the District of New Jersey   3:21-cv-13593         ONDERLAW, LLC
MELVIN, MARY                       NJ - USDC for the District of New Jersey   3:21-cv-05530         ONDERLAW, LLC
MELVIN, YVETTE                     NJ - USDC for the District of New Jersey   3:21-cv-09856         ONDERLAW, LLC
MEMOLI, DEBORAH                    NJ - USDC for the District of New Jersey   3:21-cv-08703         ONDERLAW, LLC
MENARD, TERESA                     NJ - USDC for the District of New Jersey   3:20-cv-13710         ONDERLAW, LLC
MENDENHALL, JULIE                  NJ - USDC for the District of New Jersey   3:21-cv-06846         ONDERLAW, LLC
MENDES-HOLMES, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-05042         ONDERLAW, LLC
MENDEZ, DELIA                      MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MENDOZA, ROSE                      NJ - USDC for the District of New Jersey   3:17-cv-09525         ONDERLAW, LLC
MENEFEE, ELVIA                     NJ - USDC for the District of New Jersey   3:21-cv-06601         ONDERLAW, LLC
MENG, KATHRYN                      NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
MENG, SHARON                       NJ - USDC for the District of New Jersey   3:18-cv-10348         ONDERLAW, LLC
MENNE, LINDA                       NJ - USDC for the District of New Jersey   3:21-cv-04795         ONDERLAW, LLC
MENSTER, KRISTINE                  MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
MENTO, CATHERINE                   MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
MENZEL, PEGGY                      MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MERCADO, KATHRYN                   MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
MERCER, HELEN                      NJ - USDC for the District of New Jersey   3:17-cv-08746         ONDERLAW, LLC
MERCER, TARA                       NJ - USDC for the District of New Jersey   3:21-cv-05415         ONDERLAW, LLC
MERCER, TERESA                     NJ - USDC for the District of New Jersey   3:19-cv-12937         ONDERLAW, LLC
MERCIER, KAREN                     NJ - USDC for the District of New Jersey   3:21-cv-08194         ONDERLAW, LLC
MEREDITH, AISHA                    MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
MEREDITH, AISHA                    NJ - USDC for the District of New Jersey   3:21-cv-09676         ONDERLAW, LLC
MERICLE, ANNA                      NJ - USDC for the District of New Jersey   3:21-cv-04174         ONDERLAW, LLC
MERKNER, LORI                      NJ - USDC for the District of New Jersey   3:18-cv-13661         ONDERLAW, LLC
MERLO, TINA                        NJ - USDC for the District of New Jersey   3:21-cv-07715         ONDERLAW, LLC
MERRILL, VANESSA                   NJ - USDC for the District of New Jersey   3:20-cv-20486         ONDERLAW, LLC
MERRILL, YVONNE                    NJ - USDC for the District of New Jersey   3:21-cv-09302         ONDERLAW, LLC
MERRIMAN, EBONEY                   MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
MERRITT, FRAN                      NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
MERRITT, KAREN                     NJ - USDC for the District of New Jersey   3:21-cv-10111         ONDERLAW, LLC
MERRITT, SUE                       NJ - USDC for the District of New Jersey   3:18-cv-11056         ONDERLAW, LLC
MERRITT, TERESA                    NJ - USDC for the District of New Jersey   3:21-cv-07539         ONDERLAW, LLC
MERRYFIELD, DEANNA                 NJ - USDC for the District of New Jersey   3:20-cv-13486         ONDERLAW, LLC
MERSINO, JILL                      NJ - USDC for the District of New Jersey   3:21-cv-01396         ONDERLAW, LLC
MERZ, JEANNIE                      NJ - USDC for the District of New Jersey   3:21-cv-17425         ONDERLAW, LLC
MESA, MARIA                        CA - Superior Court - Los Angeles County   20STCV47898           ONDERLAW, LLC
MESKISESKIS, MARY                  NJ - USDC for the District of New Jersey   3:21-cv-08312         ONDERLAW, LLC
MESSENGER, DAWN                    NJ - USDC for the District of New Jersey   3:21-cv-03691         ONDERLAW, LLC
MESSER, DOROTHY                    NJ - USDC for the District of New Jersey   3:21-cv-06654         ONDERLAW, LLC
MESSER, KATHY                      NJ - USDC for the District of New Jersey   3:21-cv-05257         ONDERLAW, LLC
MESSER, MICHELLE                   NJ - USDC for the District of New Jersey   3:21-cv-09866         ONDERLAW, LLC
MESSINA, GLORIA                    NJ - USDC for the District of New Jersey   3:19-cv-19745         ONDERLAW, LLC
METCALF, DIANE                     NJ - USDC for the District of New Jersey   3:20-cv-08701         ONDERLAW, LLC
METSCHER, DEBRA                    NJ - USDC for the District of New Jersey   3:21-cv-08170         ONDERLAW, LLC
METZGER, CAROL                     MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
METZGER, MICHELLE                  NJ - USDC for the District of New Jersey   3:21-cv-01781         ONDERLAW, LLC
METZKE, JUNE                       NJ - USDC for the District of New Jersey   3:21-cv-05506         ONDERLAW, LLC
METZLER, DIANNA                    NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
MEYER, CARLENE                     NJ - USDC for the District of New Jersey   3:20-cv-04590         ONDERLAW, LLC
MEYER, CAROL                       NJ - USDC for the District of New Jersey   3:17-cv-11996         ONDERLAW, LLC
MEYER, DEIRDRE                     NJ - USDC for the District of New Jersey   3:18-cv-16709         ONDERLAW, LLC
MEYERS, MICHELE                    NJ - USDC for the District of New Jersey   3:21-cv-08779         ONDERLAW, LLC
MEYERS-BURNS, EILEEN               NJ - USDC for the District of New Jersey   3:21-cv-08757         ONDERLAW, LLC
MICALLEF, THERESA                  NJ - USDC for the District of New Jersey   3:21-cv-10600         ONDERLAW, LLC
MICHAEL, MICHELLE                  NJ - USDC for the District of New Jersey   3:19-cv-10162         ONDERLAW, LLC
MICHALIK, FELICE                   NJ - USDC for the District of New Jersey   3:20-cv-00310         ONDERLAW, LLC
MICHALSKI, LINDA                   NJ - USDC for the District of New Jersey   3:21-cv-09154         ONDERLAW, LLC
MICHAUD-SCHEVIS, MICHELINE         NJ - USDC for the District of New Jersey   3:17-cv-10601         ONDERLAW, LLC
MICHEL, JANNA                      NJ - USDC for the District of New Jersey   3:20-cv-07465         ONDERLAW, LLC
MICHELLI, MELISSA                  NJ - USDC for the District of New Jersey   3:20-cv-09022         ONDERLAW, LLC
MICHLES, BERNICE                   NJ - USDC for the District of New Jersey   3:21-cv-17582         ONDERLAW, LLC
MICHOT, VIRGINIA                   NJ - USDC for the District of New Jersey   3:21-cv-05644         ONDERLAW, LLC




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          Claimant Name                    State Filed                     Docket Number                   Plaintiff Counsel
MICK, LU                  MO - Circuit Court - City of St. Louis     1522-CC-10203             ONDERLAW, LLC
MICKELSON, LINDA          NJ - USDC for the District of New Jersey   3:18-cv-10085             ONDERLAW, LLC
MICKEY, DIANNE            NJ - USDC for the District of New Jersey   3:21-cv-06656             ONDERLAW, LLC
MIDEY, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-02804             ONDERLAW, LLC
MIERA, PAMELA             MO - Circuit Court - City of St. Louis     1522-CC00613              ONDERLAW, LLC
MIGHT, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-02106             ONDERLAW, LLC
MIGUEZ, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-05186             ONDERLAW, LLC
MIHALITSAS, ANTONIETTA    NJ - USDC for the District of New Jersey   3:21-cv-10609             ONDERLAW, LLC
MIJARES, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-08112             ONDERLAW, LLC
MIKI, TERESA              NJ - USDC for the District of New Jersey   3:18-cv-16110             ONDERLAW, LLC
MIKKELSEN, ANGELA         NJ - USDC for the District of New Jersey   3:21-cv-01197             ONDERLAW, LLC
MILBY, ALICE              NJ - USDC for the District of New Jersey   3:21-cv-02146             ONDERLAW, LLC
MILES, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-09136             ONDERLAW, LLC
MILES, BETTYGLEN          NJ - USDC for the District of New Jersey   3:21-cv-04235             ONDERLAW, LLC
MILES, COURTNEY           NJ - USDC for the District of New Jersey   3:21-cv-02589             ONDERLAW, LLC
MILES, SHANTA             NJ - USDC for the District of New Jersey   3:20-cv-13922             ONDERLAW, LLC
MILEY, DARLA              NJ - USDC for the District of New Jersey   3:21-cv-05261             ONDERLAW, LLC
MILHOUSE, MARTHA          NJ - USDC for the District of New Jersey   3:21-cv-06847             ONDERLAW, LLC
MILIANO, ROSEMARY         NJ - USDC for the District of New Jersey   3:21-cv-01630             ONDERLAW, LLC
MILINA, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-08964             ONDERLAW, LLC
MILITELLO, JANICE         NJ - USDC for the District of New Jersey   3:21-cv-08001             ONDERLAW, LLC
MILLAR, EVE               NJ - USDC for the District of New Jersey   3:19-cv-16059             ONDERLAW, LLC
MILLEN, PAULA             NJ - USDC for the District of New Jersey   3:19-cv-07504             ONDERLAW, LLC
MILLER, ARLENE            NJ - USDC for the District of New Jersey   3:21-cv-08525             ONDERLAW, LLC
MILLER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-03210             ONDERLAW, LLC
MILLER, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-00682             ONDERLAW, LLC
MILLER, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-07785             ONDERLAW, LLC
MILLER, BRONWYN           NJ - USDC for the District of New Jersey   3:19-cv-04422             ONDERLAW, LLC
MILLER, CAROLANN          NJ - USDC for the District of New Jersey   3:21-cv-08497             ONDERLAW, LLC
MILLER, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-05525             ONDERLAW, LLC
MILLER, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-05795             ONDERLAW, LLC
MILLER, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-09570             ONDERLAW, LLC
MILLER, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-09899             ONDERLAW, LLC
MILLER, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-07639             ONDERLAW, LLC
MILLER, GAYLA             NJ - USDC for the District of New Jersey   3:21-cv-17584             ONDERLAW, LLC
MILLER, HEATHER           NJ - USDC for the District of New Jersey   3:18-cv-10970             ONDERLAW, LLC
MILLER, INA               NJ - USDC for the District of New Jersey   3:21-cv-08844             ONDERLAW, LLC
MILLER, JANET             GA - State Court of Gwinnett County        18C039912                 ONDERLAW, LLC
MILLER, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-02456             ONDERLAW, LLC
MILLER, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-00828             ONDERLAW, LLC
MILLER, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-00766             ONDERLAW, LLC
MILLER, LILIAN            NJ - USDC for the District of New Jersey   3:21-cv-09214             ONDERLAW, LLC
MILLER, LORRAINE          NJ - USDC for the District of New Jersey   3:21-cv-03507             ONDERLAW, LLC
MILLER, LORRI             NJ - USDC for the District of New Jersey   3:21-cv-03838             ONDERLAW, LLC
MILLER, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-05013             ONDERLAW, LLC
MILLER, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-04177             ONDERLAW, LLC
MILLER, MARGE             NJ - USDC for the District of New Jersey   3:17-cv-11117             ONDERLAW, LLC
MILLER, MARGERY           NJ - USDC for the District of New Jersey   3:21-cv-03591             ONDERLAW, LLC
MILLER, MARILYN           NJ - USDC for the District of New Jersey   3:21-cv-09727             ONDERLAW, LLC
MILLER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09094             ONDERLAW, LLC
MILLER, MONICA            NJ - USDC for the District of New Jersey   3:21-cv-20728             ONDERLAW, LLC
MILLER, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-05883             ONDERLAW, LLC
MILLER, NANNIE            NJ - USDC for the District of New Jersey   3:18-cv-13177             ONDERLAW, LLC
MILLER, PAMELA            NJ - USDC for the District of New Jersey   3:20-cv-13713             ONDERLAW, LLC
MILLER, PRUDENCE          NJ - USDC for the District of New Jersey   3:18-cv-15469             ONDERLAW, LLC
MILLER, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-05402             ONDERLAW, LLC
MILLER, RENATE            NJ - USDC for the District of New Jersey   3:21-cv-08488             ONDERLAW, LLC
                                                                     30-2017-00952776-CU-PL-
MILLER, ROBIN             CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                     CXC
MILLER, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-08782             ONDERLAW, LLC
MILLER, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-07933             ONDERLAW, LLC
MILLER, SABRINA           NJ - USDC for the District of New Jersey   3:21-cv-05647             ONDERLAW, LLC
MILLER, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-06425             ONDERLAW, LLC
MILLER, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-09818             ONDERLAW, LLC
MILLER, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-08591             ONDERLAW, LLC
MILLER, TAMI              NJ - USDC for the District of New Jersey   3:21-cv-04118             ONDERLAW, LLC
MILLER, TAMRA             NJ - USDC for the District of New Jersey   3:21-cv-08616             ONDERLAW, LLC
MILLER, TIERNEY           NJ - USDC for the District of New Jersey   3:19-cv-07889             ONDERLAW, LLC
MILLER, TIFFANY           NJ - USDC for the District of New Jersey   3:21-cv-02428             ONDERLAW, LLC
MILLER, VIVIAN            NJ - USDC for the District of New Jersey   3:21-cv-02446             ONDERLAW, LLC
MILLER, WANDA             NJ - USDC for the District of New Jersey   3:21-cv-08685             ONDERLAW, LLC
MILLIGAN, VICKEY          NJ - USDC for the District of New Jersey   3:21-cv-02200             ONDERLAW, LLC
MILLING, SHANNON          NJ - USDC for the District of New Jersey   3:20-cv-12219             ONDERLAW, LLC
MILLS, CAROLE             NJ - USDC for the District of New Jersey   3:20-cv-20487             ONDERLAW, LLC
MILLS, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-07065             ONDERLAW, LLC
MILLS, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11155             ONDERLAW, LLC
MILLS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-20488             ONDERLAW, LLC
MILLSAPS, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-06865             ONDERLAW, LLC
MILNE-PEDERSEN, JOANN     NJ - USDC for the District of New Jersey   3:21-cv-09462             ONDERLAW, LLC
MIMS, BERTHA              NJ - USDC for the District of New Jersey   3:21-cv-08467             ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
MINARD, TOMMIE             NJ - USDC for the District of New Jersey   3:21-cv-09125         ONDERLAW, LLC
MINATREA, NERESA           NJ - USDC for the District of New Jersey   3:21-cv-07692         ONDERLAW, LLC
MINDOCK, GINA              NJ - USDC for the District of New Jersey   3:18-cv-17170         ONDERLAW, LLC
MINJAREZ-HOLMES, THERESA   NJ - USDC for the District of New Jersey   3:21-cv-02105         ONDERLAW, LLC
MINKLER, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-02934         ONDERLAW, LLC
MINNER, JOANN              NJ - USDC for the District of New Jersey   3:19-cv-09252         ONDERLAW, LLC
MINNICK, JUANITA           NJ - USDC for the District of New Jersey   3:18-cv-10717         ONDERLAW, LLC
MINNIX, CHANDA             NJ - USDC for the District of New Jersey   3:21-cv-02539         ONDERLAW, LLC
MINTON, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-05133         ONDERLAW, LLC
MINZGHOR, SARAH            NJ - USDC for the District of New Jersey   3:20-cv-01453         ONDERLAW, LLC
MIRACLE, MARY              NJ - USDC for the District of New Jersey   3:21-cv-05577         ONDERLAW, LLC
MISCHLER, NANCY            NJ - USDC for the District of New Jersey   3:20-cv-12039         ONDERLAW, LLC
MISKOFSKI, KERRY           NJ - USDC for the District of New Jersey   3:18-cv-08557         ONDERLAW, LLC
MITCHELL, ALICE            NJ - USDC for the District of New Jersey   3:21-cv-06032         ONDERLAW, LLC
MITCHELL, ARETHA           NJ - USDC for the District of New Jersey   3:21-cv-05527         ONDERLAW, LLC
MITCHELL, BERNADETTE       NJ - USDC for the District of New Jersey   3:21-cv-03887         ONDERLAW, LLC
MITCHELL, CALISTA          NJ - USDC for the District of New Jersey   3:21-cv-05964         ONDERLAW, LLC
MITCHELL, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-10042         ONDERLAW, LLC
MITCHELL, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-09153         ONDERLAW, LLC
MITCHELL, DARLENE          NJ - USDC for the District of New Jersey   3:21-cv-05475         ONDERLAW, LLC
MITCHELL, DIANNE           NJ - USDC for the District of New Jersey   3:21-cv-07931         ONDERLAW, LLC
MITCHELL, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-06911         ONDERLAW, LLC
MITCHELL, ESSIE            NJ - USDC for the District of New Jersey   3:21-cv-09410         ONDERLAW, LLC
MITCHELL, EVETTA           NJ - USDC for the District of New Jersey   3:18-cv-12925         ONDERLAW, LLC
MITCHELL, JEANNINE         NJ - USDC for the District of New Jersey   3:21-cv-08330         ONDERLAW, LLC
MITCHELL, JOYCE            NJ - USDC for the District of New Jersey   3:21-cv-06278         ONDERLAW, LLC
MITCHELL, JULIET           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
MITCHELL, KATHY            NJ - USDC for the District of New Jersey   3:21-cv-09327         ONDERLAW, LLC
MITCHELL, LAURIE           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
MITCHELL, LETITIA          NJ - USDC for the District of New Jersey   3:21-cv-01475         ONDERLAW, LLC
MITCHELL, LILLIAN          NJ - USDC for the District of New Jersey   3:18-cv-13489         ONDERLAW, LLC
MITCHELL, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
MITCHELL, MYRTLE           NJ - USDC for the District of New Jersey   3:21-cv-08619         ONDERLAW, LLC
MITCHELL, PATRICA          NJ - USDC for the District of New Jersey   3:20-cv-17623         ONDERLAW, LLC
MITCHELL, RITA             NJ - USDC for the District of New Jersey   3:17-cv-08853         ONDERLAW, LLC
MITCHELL, VANESSA          NJ - USDC for the District of New Jersey   3:21-cv-01486         ONDERLAW, LLC
MITCHELL, VANESSA          NJ - USDC for the District of New Jersey   3:21-cv-02829         ONDERLAW, LLC
MITCHELL-EVAK, LAURA       NJ - USDC for the District of New Jersey   3:20-cv-11104         ONDERLAW, LLC
MITCHEM, CARLETTA          MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
MITCHUM, SUSAN             MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
MOBLEY, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-08854         ONDERLAW, LLC
MOBLEY, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-04797         ONDERLAW, LLC
MOCK, DEBRA                NJ - USDC for the District of New Jersey   3:19-cv-07459         ONDERLAW, LLC
MOCKLER, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-07650         ONDERLAW, LLC
MODENESSI, DORA            NJ - USDC for the District of New Jersey   3:21-cv-06960         ONDERLAW, LLC
MODISETTE, MARTHA          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MOERS, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-07838         ONDERLAW, LLC
MOHAMED, EILEEN            NJ - USDC for the District of New Jersey   3:18-cv-05806         ONDERLAW, LLC
MOHAMMED, TAHIRA           NJ - USDC for the District of New Jersey   3:21-cv-04131         ONDERLAW, LLC
MOHLER, KELSEY             NJ - USDC for the District of New Jersey   3:19-cv-16258         ONDERLAW, LLC
MOHR, ALLANA               NJ - USDC for the District of New Jersey   3:21-cv-08745         ONDERLAW, LLC
MOHR, ANN                  NJ - USDC for the District of New Jersey   3:21-cv-08225         ONDERLAW, LLC
MOLINA, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-12353         ONDERLAW, LLC
MOLINARO, VALERIE          NJ - USDC for the District of New Jersey   3:19-cv-21999         ONDERLAW, LLC
MOLINSKI, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-12694         ONDERLAW, LLC
MOLL, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-08358         ONDERLAW, LLC
MOLLOY, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-08115         ONDERLAW, LLC
MOLOGNE, KALA              NJ - USDC for the District of New Jersey   3:21-cv-17254         ONDERLAW, LLC
MOLY, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-05457         ONDERLAW, LLC
MONCY, AMIE                NJ - USDC for the District of New Jersey   3:19-cv-09082         ONDERLAW, LLC
MONDUL, CHARLENE           NJ - USDC for the District of New Jersey   3:21-cv-06512         ONDERLAW, LLC
MONDY, ALICE               NJ - USDC for the District of New Jersey   3:21-cv-09737         ONDERLAW, LLC
MONDY, OLIVIA              NJ - USDC for the District of New Jersey   3:21-cv-07829         ONDERLAW, LLC
MONIZ, PAULINE             NJ - USDC for the District of New Jersey   3:21-cv-07442         ONDERLAW, LLC
MONKEMEIER, LILLIAN        NJ - USDC for the District of New Jersey   3:20-cv-17629         ONDERLAW, LLC
MONROE, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-15440         ONDERLAW, LLC
MONROE, ISABELLA           NJ - USDC for the District of New Jersey   3:21-cv-05610         ONDERLAW, LLC
MONROE, JERRILYN           NJ - USDC for the District of New Jersey   3:20-cv-02139         ONDERLAW, LLC
MONROE, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-20935         ONDERLAW, LLC
MONROE, TAMELA             NJ - USDC for the District of New Jersey   3:21-cv-05578         ONDERLAW, LLC
MONTAIE, NAOMI             NJ - USDC for the District of New Jersey   3:21-cv-08333         ONDERLAW, LLC
MONTALVO, CARLA            NJ - USDC for the District of New Jersey   3:21-cv-03965         ONDERLAW, LLC
MONTANO, PENNY             MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
MONTE, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-09822         ONDERLAW, LLC
MONTEJANO, NORMA           NJ - USDC for the District of New Jersey   3:21-cv-02650         ONDERLAW, LLC
MONTELEONE, ANNA           NJ - USDC for the District of New Jersey   3:21-cv-08322         ONDERLAW, LLC
MONTERROSO, JOANN          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MONTEZ, EVANGELINA         NJ - USDC for the District of New Jersey   3:21-cv-01501         ONDERLAW, LLC
MONTGOMERY, JANET          NJ - USDC for the District of New Jersey   3:18-cv-15150         ONDERLAW, LLC
MONTGOMERY, MARLO          NJ - USDC for the District of New Jersey   3:21-cv-05550         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MONTGOMERY, TRACEY       NJ - USDC for the District of New Jersey   3:21-cv-08356         ONDERLAW, LLC
MONTOYA, LISA            NJ - USDC for the District of New Jersey   3:18-cv-02644         ONDERLAW, LLC
MONTOYA, ROSE            MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
MONZON, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-03904         ONDERLAW, LLC
MONZON, MARIA            NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
MOON, CHRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-08427         ONDERLAW, LLC
MOONEY, CHRISTINA        NJ - USDC for the District of New Jersey   3:20-cv-20611         ONDERLAW, LLC
MOONEY, WANDA            NJ - USDC for the District of New Jersey   3:19-cv-21668         ONDERLAW, LLC
MOORE, ADRIENNE          NJ - USDC for the District of New Jersey   3:21-cv-07138         ONDERLAW, LLC
MOORE, AMBER             NJ - USDC for the District of New Jersey   3:21-cv-17226         ONDERLAW, LLC
MOORE, AUDRA             NJ - USDC for the District of New Jersey   3:20-cv-11792         ONDERLAW, LLC
MOORE, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-16897         ONDERLAW, LLC
MOORE, CATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-05453         ONDERLAW, LLC
MOORE, CHARLIE           NJ - USDC for the District of New Jersey   3:21-cv-08203         ONDERLAW, LLC
MOORE, CYNTHIA           NJ - USDC for the District of New Jersey   3:17-cv-08748         ONDERLAW, LLC
MOORE, DEANNA            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
MOORE, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-05529         ONDERLAW, LLC
MOORE, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-15777         ONDERLAW, LLC
MOORE, DEBRA             NJ - USDC for the District of New Jersey   3:18-cv-02939         ONDERLAW, LLC
MOORE, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-05910         ONDERLAW, LLC
MOORE, EMMA              NJ - USDC for the District of New Jersey   3:21-cv-10613         ONDERLAW, LLC
MOORE, ERIKA             NJ - USDC for the District of New Jersey   3:17-cv-08345         ONDERLAW, LLC
MOORE, ERIKA             NJ - USDC for the District of New Jersey   3:21-cv-09703         ONDERLAW, LLC
MOORE, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-07053         ONDERLAW, LLC
MOORE, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-06141         ONDERLAW, LLC
MOORE, JACQUELINE        NJ - USDC for the District of New Jersey   3:19-cv-07468         ONDERLAW, LLC
MOORE, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-18419         ONDERLAW, LLC
MOORE, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-10086         ONDERLAW, LLC
MOORE, LESA              NJ - USDC for the District of New Jersey   3:18-cv-14754         ONDERLAW, LLC
MOORE, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-01395         ONDERLAW, LLC
MOORE, LOUISE            NJ - USDC for the District of New Jersey   3:17-cv-00798         ONDERLAW, LLC
MOORE, MYRNA             NJ - USDC for the District of New Jersey   3:21-cv-01155         ONDERLAW, LLC
MOORE, SANDRA            NJ - USDC for the District of New Jersey   3:19-cv-12200         ONDERLAW, LLC
MOORE, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-07047         ONDERLAW, LLC
MOORE, STACY             NJ - USDC for the District of New Jersey   3:21-cv-02233         ONDERLAW, LLC
MOORE, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-17183         ONDERLAW, LLC
MOORE, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-05500         ONDERLAW, LLC
MOORE, TERRY             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MOORE, VERONICA          NJ - USDC for the District of New Jersey   3:17-cv-11203         ONDERLAW, LLC
MOORE-BLACK, LATASHA     NJ - USDC for the District of New Jersey   3:21-cv-07192         ONDERLAW, LLC
MOORE-HAZELWOOD, SONJA   NJ - USDC for the District of New Jersey   3:21-cv-04247         ONDERLAW, LLC
MOQUIN, ELIZABETH        NJ - USDC for the District of New Jersey   3;21-CV-06599         ONDERLAW, LLC
MORACE, DANIELLE         NJ - USDC for the District of New Jersey   3:20-cv-12668         ONDERLAW, LLC
MORADO, FEDERIKA         NJ - USDC for the District of New Jersey   3:21-cv-06592         ONDERLAW, LLC
MORALES, MARION          NJ - USDC for the District of New Jersey   3:21-cv-04946         ONDERLAW, LLC
MORALES, NAOMI           NJ - USDC for the District of New Jersey   3:17-cv-00800         ONDERLAW, LLC
MORALES, OLGA            NJ - USDC for the District of New Jersey   3:18-cv-17830         ONDERLAW, LLC
MORALES, OMAYRA          NJ - USDC for the District of New Jersey   3:21-cv-05427         ONDERLAW, LLC
MORALES, PAULA           NJ - USDC for the District of New Jersey   3:21-cv-06459         ONDERLAW, LLC
MORALES, ROSEMARIE       NJ - USDC for the District of New Jersey   3:21-cv-09627         ONDERLAW, LLC
MORALES, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-04809         ONDERLAW, LLC
MORALES, SHERI           NJ - USDC for the District of New Jersey   3:21-cv-03955         ONDERLAW, LLC
MORALES, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-04031         ONDERLAW, LLC
MORALES, SYLVIA          NJ - USDC for the District of New Jersey   3:21-cv-02032         ONDERLAW, LLC
MORAN, CLARE             NJ - USDC for the District of New Jersey   3:20-cv-04589         ONDERLAW, LLC
MORAN, EVELYN            NJ - USDC for the District of New Jersey   3:21-cv-06296         ONDERLAW, LLC
MORAN, MARY              NJ - USDC for the District of New Jersey   3:21-cv-04057         ONDERLAW, LLC
MORAN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-15560         ONDERLAW, LLC
MOREAU, STEPHANIE        NJ - USDC for the District of New Jersey   3:21-cv-09745         ONDERLAW, LLC
MORENO, DAWN             NJ - USDC for the District of New Jersey   3:21-cv-01846         ONDERLAW, LLC
MORENO, IRENE            NJ - USDC for the District of New Jersey   3:20-cv-12544         ONDERLAW, LLC
MORENO, ORELIA           NJ - USDC for the District of New Jersey   3:20-cv-02145         ONDERLAW, LLC
MORENO, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-05925         ONDERLAW, LLC
MORENO, VICTORIA         NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
MORETTI, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-07017         ONDERLAW, LLC
MOREY, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-17505         ONDERLAW, LLC
MORGAN, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-06839         ONDERLAW, LLC
MORGAN, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
MORGAN, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-06216         ONDERLAW, LLC
MORGAN, DELORIS          NJ - USDC for the District of New Jersey   3:19-cv-22198         ONDERLAW, LLC
MORGAN, KEITHER          NJ - USDC for the District of New Jersey   3:21-cv-04086         ONDERLAW, LLC
MORGAN, MARTHA           NJ - USDC for the District of New Jersey   3:18-cv-09044         ONDERLAW, LLC
MORGAN, MELINDA          NJ - USDC for the District of New Jersey   3:20-cv-15397         ONDERLAW, LLC
MORGAN, SARA-FAYE        NJ - USDC for the District of New Jersey   3:21-cv-07848         ONDERLAW, LLC
MORGAN, TERI             NJ - USDC for the District of New Jersey   3:20-cv-16131         ONDERLAW, LLC
MORGAN, VALERIE          MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
MORI, SUMIYO             NJ - USDC for the District of New Jersey   3:21-cv-08751         ONDERLAW, LLC
MORICETTES, MARIE        NJ - USDC for the District of New Jersey   3:17-cv-10770         ONDERLAW, LLC
MORPHEW, MARCIA          NJ - USDC for the District of New Jersey   3:18-cv-11016         ONDERLAW, LLC
MORRELL, GRACE           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MORRIS, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-09130         ONDERLAW, LLC
MORRIS, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-18249         ONDERLAW, LLC
MORRIS, DORIS             NJ - USDC for the District of New Jersey   3:21-cv-04088         ONDERLAW, LLC
MORRIS, GLADYS            NJ - USDC for the District of New Jersey   3:18-cv-11006         ONDERLAW, LLC
MORRIS, JESSICA           NJ - USDC for the District of New Jersey   3:20-cv-04924         ONDERLAW, LLC
MORRIS, RHONDA            NJ - USDC for the District of New Jersey   3:18-cv-10087         ONDERLAW, LLC
MORRIS, SHANNA            NJ - USDC for the District of New Jersey   3:21-cv-04142         ONDERLAW, LLC
MORRIS, STEPHANIE         NJ - USDC for the District of New Jersey   3:19-cv-10167         ONDERLAW, LLC
MORRIS, SYLVIA            NJ - USDC for the District of New Jersey   3:21-cv-07723         ONDERLAW, LLC
MORRIS, TRACY             NJ - USDC for the District of New Jersey   3:19-cv-21557         ONDERLAW, LLC
MORRIS-JACKSON, SUSAN     NJ - USDC for the District of New Jersey   3:21-cv-06559         ONDERLAW, LLC
MORRISON, CAROLYN         NJ - USDC for the District of New Jersey   3:18-cv-10088         ONDERLAW, LLC
MORRISON, DARLENE         NJ - USDC for the District of New Jersey   3:21-cv-01589         ONDERLAW, LLC
MORRISON, HELEN           NJ - USDC for the District of New Jersey   3:21-cv-01072         ONDERLAW, LLC
MORRISON, KENESHIE        NJ - USDC for the District of New Jersey   3:20-cv-09974         ONDERLAW, LLC
MORRISON, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-06442         ONDERLAW, LLC
MORRISON, RUBY            NJ - USDC for the District of New Jersey   3:21-cv-05641         ONDERLAW, LLC
MORRISON, TAMMY           NJ - USDC for the District of New Jersey   3:21-cv-02229         ONDERLAW, LLC
MORROW, DANA              NJ - USDC for the District of New Jersey   3:21-cv-02012         ONDERLAW, LLC
MORROW, IDA               NJ - USDC for the District of New Jersey   3:21-cv-04701         ONDERLAW, LLC
MORROW, KESHIA            NJ - USDC for the District of New Jersey   3:21-cv-05265         ONDERLAW, LLC
MORROW, LATISHA           NJ - USDC for the District of New Jersey   3:21-cv-06868         ONDERLAW, LLC
MORTEZAZADEH, MITRA       NJ - USDC for the District of New Jersey   3:21-cv-09340         ONDERLAW, LLC
MORTIMER, CATHERINE       NJ - USDC for the District of New Jersey   3:18-cv-12519         ONDERLAW, LLC
MORTIS, INGER             NJ - USDC for the District of New Jersey   3:21-cv-03941         ONDERLAW, LLC
MORTON, JUDITH            NJ - USDC for the District of New Jersey   3:17-cv-09572         ONDERLAW, LLC
MOSER, BRANDY             NJ - USDC for the District of New Jersey   3:19-cv-00001         ONDERLAW, LLC
MOSER, JOYCE              MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
MOSER, RHONDA             NJ - USDC for the District of New Jersey   3:21-cv-02565         ONDERLAW, LLC
MOSES, CASEY              NJ - USDC for the District of New Jersey   3:18-cv-04607         ONDERLAW, LLC
MOSHER, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-10615         ONDERLAW, LLC
MOSLEY, DALE              NJ - USDC for the District of New Jersey   3:21-cv-03940         ONDERLAW, LLC
MOSLEY, EMILY             NJ - USDC for the District of New Jersey   3:21-cv-05360         ONDERLAW, LLC
MOSLEY, HAZEL             NJ - USDC for the District of New Jersey   3:20-cv-09223         ONDERLAW, LLC
MOSLEY, JOSLYN            NJ - USDC for the District of New Jersey   3:21-cv-05992         ONDERLAW, LLC
MOSLEY, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-05581         ONDERLAW, LLC
MOSS, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-09683         ONDERLAW, LLC
MOSS, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-02306         ONDERLAW, LLC
MOSTELLER, PAMELA         NJ - USDC for the District of New Jersey   3:21-cv-18250         ONDERLAW, LLC
MOWERY, AMIE              NJ - USDC for the District of New Jersey   3:21-cv-02668         ONDERLAW, LLC
MOXLEY, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-02952         ONDERLAW, LLC
MOYA, ERIKA               NJ - USDC for the District of New Jersey   3:21-cv-01452         ONDERLAW, LLC
MOZINGO, PAMELA           NJ - USDC for the District of New Jersey   3:19-cv-16189         ONDERLAW, LLC
MROZEK, PHYLLIS           NJ - USDC for the District of New Jersey   3:20-cv-13485         ONDERLAW, LLC
MSZYCO, ANNETTE           NJ - USDC for the District of New Jersey   3:18-cv-09317         ONDERLAW, LLC
MUCKLER, MARSHA           NJ - USDC for the District of New Jersey   3:21-cv-09246         ONDERLAW, LLC
MUDD, CHARLOTTE           NJ - USDC for the District of New Jersey   3:21-cv-08019         ONDERLAW, LLC
MUDD, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-08970         ONDERLAW, LLC
MUHLBAIER, LORRAINE       NJ - USDC for the District of New Jersey   3:21-cv-07493         ONDERLAW, LLC
MUHLHAUSER, KATHRYN       NJ - USDC for the District of New Jersey   3:19-cv-08734         ONDERLAW, LLC
MULBERRY, CAROL           NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
MULDER, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-01794         ONDERLAW, LLC
MULDREW, DEBRA            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
MULDREW, ETTA             NJ - USDC for the District of New Jersey   3:17-cv-10043         ONDERLAW, LLC
MULIER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-08624         ONDERLAW, LLC
MULINS, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-02166         ONDERLAW, LLC
MULLICA, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-05969         ONDERLAW, LLC
MULLINS, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-02451         ONDERLAW, LLC
MULLINS, MELISSA          NJ - USDC for the District of New Jersey   3:21-cv-01564         ONDERLAW, LLC
MUMMAREDDI, SANDHYA       NJ - USDC for the District of New Jersey   3:21-cv-04081         ONDERLAW, LLC
MUNCH, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-05372         ONDERLAW, LLC
MUNDEN, KIM               NJ - USDC for the District of New Jersey   3:21-cv-09764         ONDERLAW, LLC
MUNGER, MARCELLA          NJ - USDC for the District of New Jersey   3:21-cv-04763         ONDERLAW, LLC
MUNGUIA, ROSE             NJ - USDC for the District of New Jersey   3:21-cv-08166         ONDERLAW, LLC
MUNIZ, MARIBEL            NJ - USDC for the District of New Jersey   3:19-cv-13729         ONDERLAW, LLC
MUNIZ, MAYRA              NJ - USDC for the District of New Jersey   3:21-cv-09854         ONDERLAW, LLC
MUNTER, SUSAN             MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
MUNZ, MARGARET            NJ - USDC for the District of New Jersey   3:21-cv-03452         ONDERLAW, LLC
MURARIK, CATHY            NJ - USDC for the District of New Jersey   3:19-cv-19353         ONDERLAW, LLC
MURPHY, APRIL             NJ - USDC for the District of New Jersey   3:21-cv-06420         ONDERLAW, LLC
MURPHY, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-06819         ONDERLAW, LLC
MURPHY, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-00002         ONDERLAW, LLC
MURPHY, DAWN              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
MURPHY, KANDACE           NJ - USDC for the District of New Jersey   3:21-cv-03139         ONDERLAW, LLC
MURPHY, LINNIE            NJ - USDC for the District of New Jersey   3:21-cv-08788         ONDERLAW, LLC
MURPHY, MARY              NJ - USDC for the District of New Jersey   3:21-cv-04868         ONDERLAW, LLC
MURPHY, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-08146         ONDERLAW, LLC
MURPHY, PAULETTE          NJ - USDC for the District of New Jersey   3:21-cv-05442         ONDERLAW, LLC
MURPHY, SHELLEY           NJ - USDC for the District of New Jersey   3:17-cv-10538         ONDERLAW, LLC
MURPHY, TARA              NJ - USDC for the District of New Jersey   3:21-cv-01558         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MURRAY, BERDIA            NJ - USDC for the District of New Jersey   3:21-cv-08774         ONDERLAW, LLC
MURRAY, DEBRA             NJ - USDC for the District of New Jersey   3:18-cv-15479         ONDERLAW, LLC
MURRAY, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-01484         ONDERLAW, LLC
MURRAY, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
MURRAY, ELAINE            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
MURRAY, EVELYN            NJ - USDC for the District of New Jersey   3:21-cv-08186         ONDERLAW, LLC
MURRAY, JUDITH            NJ - USDC for the District of New Jersey   3:17-cv-09139         ONDERLAW, LLC
MURRAY, LELA              NJ - USDC for the District of New Jersey   3:18-cv-01366         ONDERLAW, LLC
MURRAY, LOUISE            NJ - USDC for the District of New Jersey   3:21-cv-05306         ONDERLAW, LLC
MURRAY, SHARLA            NJ - USDC for the District of New Jersey   3:21-cv-01392         ONDERLAW, LLC
MURRAY-AKINS, DONNA       NJ - USDC for the District of New Jersey   3:21-cv-10620         ONDERLAW, LLC
MURRY, FAYE               NJ - USDC for the District of New Jersey   3:19-cv-13162         ONDERLAW, LLC
MUSETTI, MINDY            NJ - USDC for the District of New Jersey   3:21-cv-10641         ONDERLAW, LLC
MUSGRAVE, ADRA            NJ - USDC for the District of New Jersey   3:21-cv-09736         ONDERLAW, LLC
MUSGROVE, CYNTHIA         NJ - USDC for the District of New Jersey   3:17-cv-09264         ONDERLAW, LLC
MUSGROVE, CYNTHIA         NJ - USDC for the District of New Jersey   3:17-cv-09264         ONDERLAW, LLC
MUSGROVE, CYNTHIA         NJ - USDC for the District of New Jersey   3:17-cv-09264         ONDERLAW, LLC
MUSTON, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-00759         ONDERLAW, LLC
MUZYTSCHENKO, MARCIA      NJ - USDC for the District of New Jersey   3:20-cv-13716         ONDERLAW, LLC
MYERS, BILLY              NJ - USDC for the District of New Jersey   3:20-cv-20612         ONDERLAW, LLC
MYERS, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-09811         ONDERLAW, LLC
MYERS, ELAINE             NJ - USDC for the District of New Jersey   3:21-cv-06251         ONDERLAW, LLC
MYERS, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-05567         ONDERLAW, LLC
MYERS, JEANNE             NJ - USDC for the District of New Jersey   3:17-cv-09305         ONDERLAW, LLC
MYERS, LOUANN             NJ - USDC for the District of New Jersey   3:21-cv-01791         ONDERLAW, LLC
MYERS, THERESA            NJ - USDC for the District of New Jersey   3:21-cv-02619         ONDERLAW, LLC
MYLES, PAULA              NJ - USDC for the District of New Jersey   3:21-cv-03346         ONDERLAW, LLC
MYRICKS, JANET            NJ - USDC for the District of New Jersey   3:18-cv-02940         ONDERLAW, LLC
NABORS, ELEANOR           NJ - USDC for the District of New Jersey   3:21-cv-03992         ONDERLAW, LLC
NADYA, NIETO              NJ - USDC for the District of New Jersey   3:18-cv-16108         ONDERLAW, LLC
NAIR, KEMLESH             NJ - USDC for the District of New Jersey   3:20-cv-03257         ONDERLAW, LLC
NAIR, KIMBERLY            NJ - USDC for the District of New Jersey   3:17-cv-10649         ONDERLAW, LLC
NAMUGENYI, CHRISTINE      NJ - USDC for the District of New Jersey   3:21-cv-02424         ONDERLAW, LLC
NANCE, DORENE             NJ - USDC for the District of New Jersey   3:21-cv-05305         ONDERLAW, LLC
NANCE, JANET              NJ - USDC for the District of New Jersey   3:18-cv-10347         ONDERLAW, LLC
NANCE, MELONIE            NJ - USDC for the District of New Jersey   3:21-cv-02421         ONDERLAW, LLC
NANCE, SHARON             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
NANTISTA, FRANCES         NJ - USDC for the District of New Jersey   3:18-cv-10349         ONDERLAW, LLC
NAPIER, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-03800         ONDERLAW, LLC
NAPIER, JOANN             NJ - USDC for the District of New Jersey   3:17-cv-11999         ONDERLAW, LLC
NAPIER, TERRILEE          NJ - USDC for the District of New Jersey   3:21-cv-05051         ONDERLAW, LLC
NAPOLITANO, LORI          NJ - USDC for the District of New Jersey   3:17-cv-00726         ONDERLAW, LLC
NAPPIER, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-10646         ONDERLAW, LLC
NARCAVAGE, KAREN          NJ - USDC for the District of New Jersey   3:17-cv-10044         ONDERLAW, LLC
NARRAGON, CAROL           NJ - USDC for the District of New Jersey   3:18-cv-09572         ONDERLAW, LLC
NASCO, PEI                NJ - USDC for the District of New Jersey   3:21-cv-17271         ONDERLAW, LLC
NASH, JULIA               NJ - USDC for the District of New Jersey   3:19-cv-19576         ONDERLAW, LLC
NASH, SUZANNE             MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
NATHAN, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-01771         ONDERLAW, LLC
NATHAN, LYNN              NJ - USDC for the District of New Jersey   3:17-cv-08781         ONDERLAW, LLC
NATTRESS, INGE            CA - Superior Court - Sacramento County    34-2017-00221569      ONDERLAW, LLC
NATTRESS, INGE            NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
NAUD, LEONA               NJ - USDC for the District of New Jersey   3:21-cv-02728         ONDERLAW, LLC
NAUERT, CHIQUITA          NJ - USDC for the District of New Jersey   3:21-cv-16444         ONDERLAW, LLC
NAUSER, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-03596         ONDERLAW, LLC
NAVARRO, KIMBERLY         NJ - USDC for the District of New Jersey   3:19-cv-13163         ONDERLAW, LLC
NAVARRO, SENAIDA          NJ - USDC for the District of New Jersey   3:20-cv-10310         ONDERLAW, LLC
NAVATTA, RACHEL           NJ - USDC for the District of New Jersey   3:17-cv-11131         ONDERLAW, LLC
NAVY, ROMOLICE            NJ - USDC for the District of New Jersey   3:21-cv-06820         ONDERLAW, LLC
NAWROCKI, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-09605         ONDERLAW, LLC
NAY, LANIS                NJ - USDC for the District of New Jersey   3:21-cv-04670         ONDERLAW, LLC
NAY, PEGGY                NJ - USDC for the District of New Jersey   3:21-cv-01554         ONDERLAW, LLC
NEAL, BEVERLY             NJ - USDC for the District of New Jersey   3:21-cv-02149         ONDERLAW, LLC
NEAL, CHERYL              NJ - USDC for the District of New Jersey   3:20-cv-10071         ONDERLAW, LLC
NEAL, GENESIS             NJ - USDC for the District of New Jersey   3:21-cv-03416         ONDERLAW, LLC
NEAL, LOLA                NJ - USDC for the District of New Jersey   3:20-cv-02037         ONDERLAW, LLC
NEAL, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-05620         ONDERLAW, LLC
NEAL, TAMARA              NJ - USDC for the District of New Jersey   3:21-cv-07252         ONDERLAW, LLC
NEAL, YVETTE              NJ - USDC for the District of New Jersey   3:21-cv-18367         ONDERLAW, LLC
NEEDHAM, DONNA            NJ - USDC for the District of New Jersey   3:18-cv-13211         ONDERLAW, LLC
NEEDHAM, SHELIA           NJ - USDC for the District of New Jersey   3:21-cv-05338         ONDERLAW, LLC
NEELEY, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-04589         ONDERLAW, LLC
NEELEY, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-17618         ONDERLAW, LLC
NEESE, ANDREA             NJ - USDC for the District of New Jersey   3:21-cv-08124         ONDERLAW, LLC
NEFF, ELIZABETH           NJ - USDC for the District of New Jersey   3:18-cv-08371         ONDERLAW, LLC
NEGRON, JOHANY            NJ - USDC for the District of New Jersey   3:20-cv-13717         ONDERLAW, LLC
NEIDIG, CINDY             NJ - USDC for the District of New Jersey   3:21-cv-07399         ONDERLAW, LLC
NEIDLINGER, MARTHA        NJ - USDC for the District of New Jersey   3:18-cv-14034         ONDERLAW, LLC
NEILSON, STARLA           NJ - USDC for the District of New Jersey   3:18-cv-09069         ONDERLAW, LLC
NEISES, ANN               NJ - USDC for the District of New Jersey   3:18-cv-11008         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
NELSON, ADRIS             NJ - USDC for the District of New Jersey   3:21-cv-07882         ONDERLAW, LLC
NELSON, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-14728         ONDERLAW, LLC
NELSON, DEBORA            NJ - USDC for the District of New Jersey   3:20-cv-05965         ONDERLAW, LLC
NELSON, DELIA             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
NELSON, DONNA             MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
NELSON, LAUREN            NJ - USDC for the District of New Jersey   3:21-cv-03918         ONDERLAW, LLC
NELSON, LISA              NJ - USDC for the District of New Jersey   3:19-cv-08730         ONDERLAW, LLC
NELSON, MARSHA            NJ - USDC for the District of New Jersey   3:19-cv-13561         ONDERLAW, LLC
NELSON, MECO              NJ - USDC for the District of New Jersey   3:21-cv-05460         ONDERLAW, LLC
NELSON, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-02212         ONDERLAW, LLC
NELSON, ROSEMARIE         NJ - USDC for the District of New Jersey   3:19-cv-07473         ONDERLAW, LLC
NELSON-MAYO, SANDRA       NJ - USDC for the District of New Jersey   3:21-cv-04133         ONDERLAW, LLC
NEMATI, PAULINE           NJ - USDC for the District of New Jersey   3:21-cv-06415         ONDERLAW, LLC
NEMEROFSKY, MARYLOU       NJ - USDC for the District of New Jersey   3:21-cv-07143         ONDERLAW, LLC
NEMITZ, MARY              NJ - USDC for the District of New Jersey   3:21-cv-08818         ONDERLAW, LLC
NESBIT, SANDI             NJ - USDC for the District of New Jersey   3:21-cv-00761         ONDERLAW, LLC
NESBITT, ROXANNE          NJ - USDC for the District of New Jersey   3:18-cv-11508         ONDERLAW, LLC
NESBITT, VICTORIA         NJ - USDC for the District of New Jersey   3:18-cv-13772         ONDERLAW, LLC
NESS, JAMIE               NJ - USDC for the District of New Jersey   3:20-cv-05111         ONDERLAW, LLC
NESSET, JOANNE            NJ - USDC for the District of New Jersey   3:20-cv-04716         ONDERLAW, LLC
NETTLES, KATHRYN          NJ - USDC for the District of New Jersey   3:18-cv-04967         ONDERLAW, LLC
NETTLES, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-01442         ONDERLAW, LLC
NEUCKLAVOK, PAMELIA       NJ - USDC for the District of New Jersey   3:20-cv-16920         ONDERLAW, LLC
NEUFELD, CAROL            NJ - USDC for the District of New Jersey   3:19-cv-08193         ONDERLAW, LLC
NEUMANN, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-09869         ONDERLAW, LLC
NEUMANN, ROBIN            NJ - USDC for the District of New Jersey   3:21-cv-09379         ONDERLAW, LLC
NEUMAYER, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-02073         ONDERLAW, LLC
NEVAREZ, IRMA             NJ - USDC for the District of New Jersey   3:21-cv-17585         ONDERLAW, LLC
NEWBURN, LENA             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
NEWBURY, ANDREA           NJ - USDC for the District of New Jersey   3:21-cv-08804         ONDERLAW, LLC
NEWCOMB, KIRSTEN          NJ - USDC for the District of New Jersey   3:18-cv-12391         ONDERLAW, LLC
NEWELL, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-04884         ONDERLAW, LLC
NEWKIRK, GLENNA           MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
NEWMAN, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-03007         ONDERLAW, LLC
NEWMAN, MARY              NJ - USDC for the District of New Jersey   3:19-cv-20712         ONDERLAW, LLC
NEWMAN, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-17227         ONDERLAW, LLC
NEWMAN, PATSY             NJ - USDC for the District of New Jersey   3:21-cv-08913         ONDERLAW, LLC
NEWMAN, TRACY             NJ - USDC for the District of New Jersey   3:21-cv-02803         ONDERLAW, LLC
NEWSOME, AFTON            NJ - USDC for the District of New Jersey   3:19-cv-16188         ONDERLAW, LLC
NEWTON, TIARXA            NJ - USDC for the District of New Jersey   3:21-cv-04090         ONDERLAW, LLC
NEZ, CHARLENE             NJ - USDC for the District of New Jersey   3:20-cv-19995         ONDERLAW, LLC
NGUYEN, THU               NJ - USDC for the District of New Jersey   3:21-cv-05268         ONDERLAW, LLC
NICHOLAS, ROSIE           NJ - USDC for the District of New Jersey   3:21-cv-05158         ONDERLAW, LLC
NICHOLLS, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-06308         ONDERLAW, LLC
NICHOLS, BRIDGETT         NJ - USDC for the District of New Jersey   3:21-cv-03957         ONDERLAW, LLC
NICHOLS, FAITH            NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
NICHOLS, SANDRA           MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
NICHOLS, TONETTA          NJ - USDC for the District of New Jersey   3:21-cv-07014         ONDERLAW, LLC
NICHOLSON, CAREY          NJ - USDC for the District of New Jersey   3:21-cv-18387         ONDERLAW, LLC
NICHOLSON, DIANE          NJ - USDC for the District of New Jersey   3:19-cv-16365         ONDERLAW, LLC
NICHOLSON, MICHELLE       NJ - USDC for the District of New Jersey   3:20-cv-20691         ONDERLAW, LLC
NICHOLSON, RITA           NJ - USDC for the District of New Jersey   3:21-cv-18311         ONDERLAW, LLC
NICKELLS, EMILY           NJ - USDC for the District of New Jersey   3:21-cv-05461         ONDERLAW, LLC
NICKELS, KRISTAN          NJ - USDC for the District of New Jersey   3:20-cv-00939         ONDERLAW, LLC
NICKLES, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-03997         ONDERLAW, LLC
NICKSON, ALETHEA          NJ - USDC for the District of New Jersey   3:19-cv-22000         ONDERLAW, LLC
NICOTRA, CINDY            NJ - USDC for the District of New Jersey   3:17-cv-09412         ONDERLAW, LLC
NIDAY, LAUREL             NJ - USDC for the District of New Jersey   3:21-cv-17588         ONDERLAW, LLC
NIEBUHR, STACEY           NJ - USDC for the District of New Jersey   3:20-cv-06691         ONDERLAW, LLC
NIEHUAS, DANA             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
NIELSEN, AMY              NJ - USDC for the District of New Jersey   3:20-cv-05403         ONDERLAW, LLC
NIELSEN, CYNTHIA          MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
NIELSEN, DENISE           NJ - USDC for the District of New Jersey   3:18-cv-04590         ONDERLAW, LLC
NIELSEN, KARIN            NJ - USDC for the District of New Jersey   3:21-cv-05270         ONDERLAW, LLC
NIETO, VALERIE            NJ - USDC for the District of New Jersey   3:20-cv-03118         ONDERLAW, LLC
NIEVES, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-06650         ONDERLAW, LLC
NIFOROS, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-06272         ONDERLAW, LLC
NISHA, AMINA              NJ - USDC for the District of New Jersey   3:18-cv-12938         ONDERLAW, LLC
NISSEN, LYDIA             NJ - USDC for the District of New Jersey   3:21-cv-04104         ONDERLAW, LLC
NISWONGER, SHARON         NJ - USDC for the District of New Jersey   3:20-cv-13720         ONDERLAW, LLC
NIX, GLORIA               NJ - USDC for the District of New Jersey   3:21-cv-03385         ONDERLAW, LLC
NIX, JOYCE                NJ - USDC for the District of New Jersey   3:21-cv-04603         ONDERLAW, LLC
NIXON, AMBER              NJ - USDC for the District of New Jersey   3:19-cv-16190         ONDERLAW, LLC
NIXON, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-03073         ONDERLAW, LLC
NIXON, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-03363         ONDERLAW, LLC
NIXON, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-05681         ONDERLAW, LLC
NIXON, SARA               NJ - USDC for the District of New Jersey   3:19-cv-21658         ONDERLAW, LLC
NIXON, URSULA             NJ - USDC for the District of New Jersey   3:21-cv-09514         ONDERLAW, LLC
NOBLE, ALEASE             NJ - USDC for the District of New Jersey   3:21-cv-06282         ONDERLAW, LLC
NOBLE, CHARLOTTE          NJ - USDC for the District of New Jersey   3:21-cv-09444         ONDERLAW, LLC




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
NOBLITT, JEWEL              NJ - USDC for the District of New Jersey   3:21-cv-08631         ONDERLAW, LLC
NOE, VIOLET                 NJ - USDC for the District of New Jersey   3:21-cv-06925         ONDERLAW, LLC
NOEL, SALLY                 NJ - USDC for the District of New Jersey   3:21-cv-01596         ONDERLAW, LLC
NOLEN, STEPHANIE            NJ - USDC for the District of New Jersey   3:20-cv-15398         ONDERLAW, LLC
NOLES, WANDA                NJ - USDC for the District of New Jersey   3:21-cv-06198         ONDERLAW, LLC
NORD, MARY                  NJ - USDC for the District of New Jersey   3:19-cv-21220         ONDERLAW, LLC
NORDSTORM, GISELA           NJ - USDC for the District of New Jersey   3:21-cv-08040         ONDERLAW, LLC
NORHEIM, JULIE              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
NORMAN, AUBREY              NJ - USDC for the District of New Jersey   3:21-cv-07955         ONDERLAW, LLC
NORMAN, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-07899         ONDERLAW, LLC
NORMANDIN, CAROLE           NJ - USDC for the District of New Jersey   3:17-cv-08346         ONDERLAW, LLC
NORRIS, AMANDA              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
NORRIS, DORIS               NJ - USDC for the District of New Jersey   3:20-cv-08059         ONDERLAW, LLC
NORRIS, JACQUELINE          NJ - USDC for the District of New Jersey   3:20-cv-15457         ONDERLAW, LLC
NORRIS, KIM                 NJ - USDC for the District of New Jersey   3:21-cv-05209         ONDERLAW, LLC
NORRIS, MARY                NJ - USDC for the District of New Jersey   3:20-cv-13908         ONDERLAW, LLC
NORRIS, REDITH              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
NORRIS, TANSY               NJ - USDC for the District of New Jersey   3:20-cv-09920         ONDERLAW, LLC
NORRIS-MARTIN, RITA         NJ - USDC for the District of New Jersey   3:21-cv18149          ONDERLAW, LLC
NORTH, ROBIN                NJ - USDC for the District of New Jersey   3:21-cv-07295         ONDERLAW, LLC
NORTHROP, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-08153         ONDERLAW, LLC
NORWICH, STEFANIE           NJ - USDC for the District of New Jersey   3:21-cv-03614         ONDERLAW, LLC
NORWOOD, GLADYS             NJ - USDC for the District of New Jersey   3:21-cv-08183         ONDERLAW, LLC
NOTTINGHAM, MARGARET        NJ - USDC for the District of New Jersey   3:19-cv-04418         ONDERLAW, LLC
NOUTSARINH SAENSANE         NJ - USDC for the District of New Jersey   3:21-cv-18196         ONDERLAW, LLC
NOVAK, PEGGY                NJ - USDC for the District of New Jersey   3:21-cv-04792         ONDERLAW, LLC
NOVOSEL, ROSEMARIE          MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
NOWICKI, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-08833         ONDERLAW, LLC
NOWLIN, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-05060         ONDERLAW, LLC
NOWLIN, SHARON              NJ - USDC for the District of New Jersey   3:19-cv-00003         ONDERLAW, LLC
NUCKLES, AGNES              MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
NUCKOLS, PEGGY              NJ - USDC for the District of New Jersey   3:21-cv-06301         ONDERLAW, LLC
NUGENT, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-16886         ONDERLAW, LLC
NUGENT, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-16194         ONDERLAW, LLC
NUNEZ, CHRISTINA            NJ - USDC for the District of New Jersey   3:19-cv-12254         ONDERLAW, LLC
NUNEZ, MINNIE               NJ - USDC for the District of New Jersey   3:21-cv-04298         ONDERLAW, LLC
NUNLEY, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-10594         ONDERLAW, LLC
NURYS, NINO                 NJ - USDC for the District of New Jersey   3:21-cv-17591         ONDERLAW, LLC
NUZZO, DONNA                NJ - USDC for the District of New Jersey   3:17-cv-09142         ONDERLAW, LLC
NYSTROM, MEGAN              NJ - USDC for the District of New Jersey   3:21-cv-09495         ONDERLAW, LLC
OACHS, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-10647         ONDERLAW, LLC
OAKES, MARIANNE             NJ - USDC for the District of New Jersey   3:17-cv-09915         ONDERLAW, LLC
OAKLEY, LISA                NJ - USDC for the District of New Jersey   3:21-cv-08787         ONDERLAW, LLC
OAKLEY, MARTHA              NJ - USDC for the District of New Jersey   3:21-cv-08691         ONDERLAW, LLC
OAKS, LORI                  MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
OBER, ANGELA                NJ - USDC for the District of New Jersey   3:21-cv-01457         ONDERLAW, LLC
OBERHAUSEN, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-05180         ONDERLAW, LLC
OBERTACZ, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-17593         ONDERLAW, LLC
OBRIEN, GERALDINE           NJ - USDC for the District of New Jersey   3:18-cv-04598         ONDERLAW, LLC
OBRIEN, WILMA               NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
OBRYANT, BRENDA             NJ - USDC for the District of New Jersey   3:19-cv-16197         ONDERLAW, LLC
OCCHUIZZO, GINA             NJ - USDC for the District of New Jersey   3:21-cv-10648         ONDERLAW, LLC
OCHOTECO, IRMA              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
OCKMOND, KATHLEEN           NJ - USDC for the District of New Jersey   3:21-cv-07580         ONDERLAW, LLC
OCONNELL, AILEEN            NJ - USDC for the District of New Jersey   3:21-cv-09702         ONDERLAW, LLC
OCONNELL, LINDA             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
OCONNELL, TRACI             NJ - USDC for the District of New Jersey   3:17-cv-12722         ONDERLAW, LLC
OCONNOR, CHRISTINA          NJ - USDC for the District of New Jersey   3:18-cv-11034         ONDERLAW, LLC
OCONNOR, ECKO               NJ - USDC for the District of New Jersey   3:19-cv-08873         ONDERLAW, LLC
OCONNOR, ILENE              NJ - USDC for the District of New Jersey   3:21-cv-17275         ONDERLAW, LLC
OCONNOR, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-09816         ONDERLAW, LLC
OCONNOR-FITZGEREALD, JANE   NJ - USDC for the District of New Jersey   3:18-cv-03129         ONDERLAW, LLC
ODHIAMBO, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-09850         ONDERLAW, LLC
ODOM, MARIANNE              NJ - USDC for the District of New Jersey   3:18-cv-13773         ONDERLAW, LLC
ODONNELL, AUDREY            NJ - USDC for the District of New Jersey   3:20-cv-05747         ONDERLAW, LLC
ODONNELL, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-09140         ONDERLAW, LLC
ODONNELL, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-08955         ONDERLAW, LLC
ODONNELL, RUTHANN           NJ - USDC for the District of New Jersey   3:17-cv-09916         ONDERLAW, LLC
ODRISCOLL, YVONNE           NJ - USDC for the District of New Jersey   3:20-cv-20709         ONDERLAW, LLC
OECHSNER, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-20729         ONDERLAW, LLC
OELKE, MICHELLE             NJ - USDC for the District of New Jersey   3:21-cv-09453         ONDERLAW, LLC
OESTERLE, SYLVIA            NJ - USDC for the District of New Jersey   3:17-cv-09900         ONDERLAW, LLC
OETINGER, HOLLY             NJ - USDC for the District of New Jersey   3:19-cv-09254         ONDERLAW, LLC
OFARRELL, LOUISE            NJ - USDC for the District of New Jersey   3:17-cv-09901         ONDERLAW, LLC
OFFILL, ETHEL               NJ - USDC for the District of New Jersey   3:17-cv-08752         ONDERLAW, LLC
OGBOMAN, MONEERA            NJ - USDC for the District of New Jersey   3:20-cv-05692         ONDERLAW, LLC
OGLE, PAMELA                NJ - USDC for the District of New Jersey   3:21-cv-08163         ONDERLAW, LLC
OGLESBY, MICHELLE           NJ - USDC for the District of New Jersey   3:21-cv-08996         ONDERLAW, LLC
OGLETREE, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-05693         ONDERLAW, LLC
OHANLON, ANITA              NJ - USDC for the District of New Jersey   3:21-cv-09913         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
OHARA, LORI               NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
OHARA, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-09718         ONDERLAW, LLC
OHLMS, MARTHA             NJ - USDC for the District of New Jersey   3:17-cv-12157         ONDERLAW, LLC
OHRING, JEAN              NJ - USDC for the District of New Jersey   3:21-cv-08848         ONDERLAW, LLC
OKEEFE, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-20679         ONDERLAW, LLC
OKEEFFEE, ERIN            MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
OLDHAM, SANDRA            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
OLDS, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-01590         ONDERLAW, LLC
OLINDE, ELLEN             NJ - USDC for the District of New Jersey   3:21-cv-07567         ONDERLAW, LLC
OLINER, RENEE             MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
OLINGER, FREDA            NJ - USDC for the District of New Jersey   3:21-cv-06130         ONDERLAW, LLC
OLIPHANT, DEBORAH         NJ - USDC for the District of New Jersey   3:17-cv-08987         ONDERLAW, LLC
OLIVA, JACQUELINE         NJ - USDC for the District of New Jersey   3:19-cv-00004         ONDERLAW, LLC
OLIVER, ALICE             NJ - USDC for the District of New Jersey   3:20-cv-02659         ONDERLAW, LLC
OLIVER, ASHLI             NJ - USDC for the District of New Jersey   3:21-cv-01478         ONDERLAW, LLC
OLIVER, CASEY             NJ - USDC for the District of New Jersey   3:21-cv-03986         ONDERLAW, LLC
OLIVER, DOROTHY           NJ - USDC for the District of New Jersey   3:21-cv-06480         ONDERLAW, LLC
OLIVER, MARLA             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
OLIVER, RAMONA            NJ - USDC for the District of New Jersey   3:21-cv-06582         ONDERLAW, LLC
OLKIVES, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-09468         ONDERLAW, LLC
OLLER, VICTORIA           NJ - USDC for the District of New Jersey   3:17-cv-09867         ONDERLAW, LLC
OLLIFF, ANITA             NJ - USDC for the District of New Jersey   3:21-cv-05976         ONDERLAW, LLC
OLSEN, ALETA              NJ - USDC for the District of New Jersey   3:20-cv-13725         ONDERLAW, LLC
OLSEN, CHARLENE           NJ - USDC for the District of New Jersey   3:20-cv-07290         ONDERLAW, LLC
OLSEN, IRENE              NJ - USDC for the District of New Jersey   3:21-cv-08076         ONDERLAW, LLC
OLSON, ADELLA             NJ - USDC for the District of New Jersey   3:17-cv-09574         ONDERLAW, LLC
OLSON, DARLENE            NJ - USDC for the District of New Jersey   3:20-cv-00558         ONDERLAW, LLC
OLSON, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-02980         ONDERLAW, LLC
OLSON, KATHLEEN           MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
OLSON, KELLY              NJ - USDC for the District of New Jersey   3:19-cv-19774         ONDERLAW, LLC
OLSON, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-05121         ONDERLAW, LLC
OLSON, MARLENE            NJ - USDC for the District of New Jersey   3:21-cv-06275         ONDERLAW, LLC
OLSON, MARY               NJ - USDC for the District of New Jersey   3:20-cv-19231         ONDERLAW, LLC
OLSON, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-03347         ONDERLAW, LLC
OLVERSON, TAMEEKA         NJ - USDC for the District of New Jersey   3:21-cv-05547         ONDERLAW, LLC
OMALLEY, LAURA            NJ - USDC for the District of New Jersey   3:19-cv-10395         ONDERLAW, LLC
OMALLEY, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-13164         ONDERLAW, LLC
OMALLEY-KOSTNER, KAREN    NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
OMANOFF, JOYCE            NJ - USDC for the District of New Jersey   3:21-cv-05118         ONDERLAW, LLC
ONDELL, CATHERINE         NJ - USDC for the District of New Jersey   3:21-cv-06862         ONDERLAW, LLC
ONEILL, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-05123         ONDERLAW, LLC
ONTARIO, HOSEA            NJ - USDC for the District of New Jersey   3:21-cv-07238         ONDERLAW, LLC
OPENSHAW, JIMMIE          NJ - USDC for the District of New Jersey   3:20-cv-09491         ONDERLAW, LLC
OREILLY, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-09138         ONDERLAW, LLC
ORELLANA, LUZ             NJ - USDC for the District of New Jersey   3:21-cv-10657         ONDERLAW, LLC
OREY, MARSHA              NJ - USDC for the District of New Jersey   3:21-cv-18154         ONDERLAW, LLC
ORISCHAK, MARGARET        NJ - USDC for the District of New Jersey   3:17-cv-09308         ONDERLAW, LLC
ORLIK, ROSALBA            NJ - USDC for the District of New Jersey   3:20-cv-20682         ONDERLAW, LLC
ORLOWSKI, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-05913         ONDERLAW, LLC
ORNELAS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-17594         ONDERLAW, LLC
ORONA, EVANGELISTA        NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
OROZCO, SOPHIA            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
ORR, ASHLEY               NJ - USDC for the District of New Jersey   3:21-CV-17006         ONDERLAW, LLC
ORTEGA, ELIA              NJ - USDC for the District of New Jersey   3:20-cv-10464         ONDERLAW, LLC
ORTEGA, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-01464         ONDERLAW, LLC
ORTEGA, RACQUEL           NJ - USDC for the District of New Jersey   3:21-cv-02470         ONDERLAW, LLC
ORTEGA, RONDA             NJ - USDC for the District of New Jersey   3:21-cv-01429         ONDERLAW, LLC
ORTEN, SHELLY             NJ - USDC for the District of New Jersey   3:17-cv-08753         ONDERLAW, LLC
ORTIZ, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-03631         ONDERLAW, LLC
ORTIZ, FRANCISCA          NJ - USDC for the District of New Jersey   3:18-cv-01378         ONDERLAW, LLC
ORTIZ, INGRID             NJ - USDC for the District of New Jersey   3:21-cv-02503         ONDERLAW, LLC
ORTIZ, KAYLA              MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
ORTMAN, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-03285         ONDERLAW, LLC
ORTNER, LEANN             NJ - USDC for the District of New Jersey   3:20-cv-13727         ONDERLAW, LLC
OSBORNE, CLAUDETTE        NJ - USDC for the District of New Jersey   3:18-cv-02545         ONDERLAW, LLC
OSBORNE, DEANNA           NJ - USDC for the District of New Jersey   3:21-cv-03814         ONDERLAW, LLC
OSBURN, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-08147         ONDERLAW, LLC
OSTOLAZA, LUISA           NJ - USDC for the District of New Jersey   3:21-cv-02134         ONDERLAW, LLC
OSTRANDER, DEE            NJ - USDC for the District of New Jersey   3:20-cv-17216         ONDERLAW, LLC
OSTRAWSKI, KIMBERLY       NJ - USDC for the District of New Jersey   3:21-cv-05965         ONDERLAW, LLC
OSTRENGA, LUCILLE         NJ - USDC for the District of New Jersey   3:21-cv-09343         ONDERLAW, LLC
OSTROM, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-08285         ONDERLAW, LLC
OSUNLAJA, ANDREA          NJ - USDC for the District of New Jersey   3:20-cv-12877         ONDERLAW, LLC
OSWALD, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-03609         ONDERLAW, LLC
OTA, MARGARET             NJ - USDC for the District of New Jersey   3:21-cv-04929         ONDERLAW, LLC
OTIS, MAREE               NJ - USDC for the District of New Jersey   3:19-cv-22200         ONDERLAW, LLC
OTIS, PACIENCIA           NJ - USDC for the District of New Jersey   3:20-cv-12348         ONDERLAW, LLC
OTOOLE, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-01488         ONDERLAW, LLC
OTT, JANIE                NJ - USDC for the District of New Jersey   3:20-cv-13732         ONDERLAW, LLC
OTT, SUSAN                MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC




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          Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
OTTIANO, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-08949         ONDERLAW, LLC
OUGH, KEELA               NJ - USDC for the District of New Jersey   3:18-cv-09209         ONDERLAW, LLC
OUSLEY, REGINA            NJ - USDC for the District of New Jersey   3:20-cv-13735         ONDERLAW, LLC
OVERMAN, ANGELA           NJ - USDC for the District of New Jersey   3:18-cv-11009         ONDERLAW, LLC
OVERMAN, ANGIE            NJ - USDC for the District of New Jersey   3:21-cv-06472         ONDERLAW, LLC
OVERMAN, JANICE           NJ - USDC for the District of New Jersey   03:21-cv-09674        ONDERLAW, LLC
OVERMAN, JANICE           NJ - USDC for the District of New Jersey   3:21-cv-09674         ONDERLAW, LLC
OVERTON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09131         ONDERLAW, LLC
OVIEDO, HILDA             NJ - USDC for the District of New Jersey   3:21-cv-08482         ONDERLAW, LLC
OVITT, DARNELLE           NJ - USDC for the District of New Jersey   3:18-cv-11054         ONDERLAW, LLC
OWEN, DESIRAE             NJ - USDC for the District of New Jersey   3:18-cv-05654         ONDERLAW, LLC
OWEN, REBECCA             NJ - USDC for the District of New Jersey   3:21-cv-01601         ONDERLAW, LLC
OWENS, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-08347         ONDERLAW, LLC
OWENS, DISHANNON          NJ - USDC for the District of New Jersey   3:21-cv-04061         ONDERLAW, LLC
OWENS, DONNA              NJ - USDC for the District of New Jersey   3:18-cv-08561         ONDERLAW, LLC
OWENS, HOLLY              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
OWENS, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-07648         ONDERLAW, LLC
OWENS, LENA               NJ - USDC for the District of New Jersey   3:20-cv-04167         ONDERLAW, LLC
OWENS, LISA               NJ - USDC for the District of New Jersey   3:17-cv-09312         ONDERLAW, LLC
OWENS, TONI               NJ - USDC for the District of New Jersey   3:18-cv-11828         ONDERLAW, LLC
OWSLEY, CONSUELO          NJ - USDC for the District of New Jersey   3:21-cv-06437         ONDERLAW, LLC
OWSLEY, YOLANDA           NJ - USDC for the District of New Jersey   3:19-cv-19143         ONDERLAW, LLC
OXFORD, CLARA             NJ - USDC for the District of New Jersey   3:20-cv-04039         ONDERLAW, LLC
PAAHANA, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-03368         ONDERLAW, LLC
PABON, GLADYS             NJ - USDC for the District of New Jersey   3:17-cv-10897         ONDERLAW, LLC
PABON, ZEMINA             NJ - USDC for the District of New Jersey   3:21-cv-03693         ONDERLAW, LLC
PACE, MICHELLE            GA - State Court of Gwinnett County        18C05635-2            ONDERLAW, LLC
PACE, MICHELLE            NJ - USDC for the District of New Jersey   3:18-cv-12275         ONDERLAW, LLC
PACHECO, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-08503         ONDERLAW, LLC
PACHECO, RACHEAL          NJ - USDC for the District of New Jersey   3:21-cv-07329         ONDERLAW, LLC
PACHT, ROBERTA            NJ - USDC for the District of New Jersey   3:17-cv-09266         ONDERLAW, LLC
PACHT, ROBERTA            NJ - USDC for the District of New Jersey   3:17-cv-09266         ONDERLAW, LLC
PACHT, ROBERTA            NJ - USDC for the District of New Jersey   3:17-cv-09266         ONDERLAW, LLC
PACK, CARMALEE            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
PACK, DONETTE             NJ - USDC for the District of New Jersey   3:21-cv-01481         ONDERLAW, LLC
PACKETT, NORA             NJ - USDC for the District of New Jersey   3:20-cv-09221         ONDERLAW, LLC
PADGETT, VERONICA         MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
PADILLA, CHRISTINE        NJ - USDC for the District of New Jersey   3:17-cv-10045         ONDERLAW, LLC
PADILLA, MARY             NJ - USDC for the District of New Jersey   3:21-cv-08789         ONDERLAW, LLC
PADILLA, ROSE             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
PADILLA, YOLANDA          NJ - USDC for the District of New Jersey   3:21-cv-09738         ONDERLAW, LLC
PADILLA-REYES, ANDREA     NJ - USDC for the District of New Jersey   3:21-cv-06829         ONDERLAW, LLC
PAFUNEI, SILVIA           NJ - USDC for the District of New Jersey   3:21-cv-04671         ONDERLAW, LLC
PAGE, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-09565         ONDERLAW, LLC
PAGE, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-09316         ONDERLAW, LLC
PAGE, LISA                NJ - USDC for the District of New Jersey   3:21-cv-02862         ONDERLAW, LLC
PAGE, VIVIAN              NJ - USDC for the District of New Jersey   3:21-cv-02841         ONDERLAW, LLC
PAGLICCIA, SUSAN          NJ - USDC for the District of New Jersey   3:21-cv-06111         ONDERLAW, LLC
PAIGE, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-08400         ONDERLAW, LLC
PAIGE, CORINNE            NJ - USDC for the District of New Jersey   3:21-cv-09923         ONDERLAW, LLC
PAIGE, EARNESTINE         NJ - USDC for the District of New Jersey   3:21-cv-06219         ONDERLAW, LLC
PAIGE, JASMINE            NJ - USDC for the District of New Jersey   3:21-cv-06258         ONDERLAW, LLC
PAIGE, SYLVIA             NJ - USDC for the District of New Jersey   3:18-cv-14588         ONDERLAW, LLC
PAINTER, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-07544         ONDERLAW, LLC
PALACIOUS, VICTORIA       NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
PALAZZO, ZOLA             NJ - USDC for the District of New Jersey   3:21-CV-05559         ONDERLAW, LLC
PALERMO, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
PALERMO, MARLETTE         NJ - USDC for the District of New Jersey   3:21-cv-17045         ONDERLAW, LLC
PALISOC, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-09922         ONDERLAW, LLC
PALL, DEVRE               MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
PALLETTE, MARCIA          NJ - USDC for the District of New Jersey   3:21-cv-17596         ONDERLAW, LLC
PALM, TRUDY               NJ - USDC for the District of New Jersey   3:18-cv-13662         ONDERLAW, LLC
PALMA, DIK                NJ - USDC for the District of New Jersey   3:21-cv-16985         ONDERLAW, LLC
PALMER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
PALMER, ROSLYN            NJ - USDC for the District of New Jersey   3:21-cv-10661         ONDERLAW, LLC
PALUH, SALLY              NJ - USDC for the District of New Jersey   3:17-cv-12158         ONDERLAW, LLC
PALUMBO, PAMELA           NJ - USDC for the District of New Jersey   3:17-cv-08348         ONDERLAW, LLC
PAN, LILING               CA - Superior Court - Los Angeles County   BC681605              ONDERLAW, LLC
PAN, LILING               NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
PANIZA, ROSA              NJ - USDC for the District of New Jersey   3:21-cv-09118         ONDERLAW, LLC
PANKINS, ANNIE            NJ - USDC for the District of New Jersey   3:19-cv-16230         ONDERLAW, LLC
PANNELL, NANCY            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
PANNULLO, ANTONELLA       NJ - USDC for the District of New Jersey   3:21-cv-05437         ONDERLAW, LLC
PANULLO, LOIS             NJ - USDC for the District of New Jersey   3:21-cv-06546         ONDERLAW, LLC
PAPPAS, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-17597         ONDERLAW, LLC
PAPP-ROCHE, EVELYN        MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
PAQUETTE, ANDREA          MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
PARADISE, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-06124         ONDERLAW, LLC
PARAISON, MAMA            NJ - USDC for the District of New Jersey   3:21-cv-06379         ONDERLAW, LLC
PARDUE, CONNIE            NJ - USDC for the District of New Jersey   3:19-cv-22202         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PAREDES, NICHOLE          NJ - USDC for the District of New Jersey   3:18-cv-17635         ONDERLAW, LLC
PARENT, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-09923         ONDERLAW, LLC
PARENTEAU, ROBERTA        NJ - USDC for the District of New Jersey   3:19-cv-15715         ONDERLAW, LLC
PARIS, AMANDA             NJ - USDC for the District of New Jersey   3:21-cv-05517         ONDERLAW, LLC
PARISH, KITTY             NJ - USDC for the District of New Jersey   3:21-cv-02836         ONDERLAW, LLC
PARISIEN, CRYSTAL         MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
PARK, PHYLLIS             NJ - USDC for the District of New Jersey   3:21-cv-06731         ONDERLAW, LLC
PARKER, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-08636         ONDERLAW, LLC
PARKER, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-11957         ONDERLAW, LLC
PARKER, GAYLE             NJ - USDC for the District of New Jersey   3:21-cv-07056         ONDERLAW, LLC
PARKER, IVY               NJ - USDC for the District of New Jersey   3:21-cv-10662         ONDERLAW, LLC
PARKER, JUANITA           NJ - USDC for the District of New Jersey   3:21-cv-02173         ONDERLAW, LLC
PARKER, KATIE             NJ - USDC for the District of New Jersey   3:18-cv-10962         ONDERLAW, LLC
PARKER, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-06874         ONDERLAW, LLC
PARKER, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-05678         ONDERLAW, LLC
PARKER, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-07552         ONDERLAW, LLC
PARKHURST, VERLA          NJ - USDC for the District of New Jersey   3:18-cv-13787         ONDERLAW, LLC
PARKINSON, SUSAN          NJ - USDC for the District of New Jersey   3:20-cv-00215         ONDERLAW, LLC
PARKMAN, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-01883         ONDERLAW, LLC
PARKS, BRENDA             NJ - USDC for the District of New Jersey   3:17-cv-09528         ONDERLAW, LLC
PARKS, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-02979         ONDERLAW, LLC
PARKS, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-06626         ONDERLAW, LLC
PARKS, ELLA               NJ - USDC for the District of New Jersey   3:20-cv-20613         ONDERLAW, LLC
PARMELEE, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-05404         ONDERLAW, LLC
PARMENTIER, HEIDI         NJ - USDC for the District of New Jersey   3:17-cv-01935         ONDERLAW, LLC
PARNITZKE, JOYCE          NJ - USDC for the District of New Jersey   3:18-cv-10354         ONDERLAW, LLC
PARRIGIN, JUDY            NJ - USDC for the District of New Jersey   3:21-cv-08791         ONDERLAW, LLC
PARRILLA, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-11112         ONDERLAW, LLC
PARRIS, KENDRA            NJ - USDC for the District of New Jersey   3:21-cv-09004         ONDERLAW, LLC
PARRISH, BONNIE           NJ - USDC for the District of New Jersey   3:21-cv-05760         ONDERLAW, LLC
PARRISH, MARY             NJ - USDC for the District of New Jersey   3:17-cv-13090         ONDERLAW, LLC
PARSONS, CHASTITY         NJ - USDC for the District of New Jersey   3:21-cv-07019         ONDERLAW, LLC
PARSONS, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-09316         ONDERLAW, LLC
PARSONS, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-09885         ONDERLAW, LLC
PARSONS, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-06810         ONDERLAW, LLC
PARSONS, NICKI            NJ - USDC for the District of New Jersey   3:17-cv-09779         ONDERLAW, LLC
PARSONS, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-08577         ONDERLAW, LLC
PARTON, RUTHANNE          NJ - USDC for the District of New Jersey   3:18-cv-10089         ONDERLAW, LLC
PARTRIDGE, MARY           NJ - USDC for the District of New Jersey   3:21-cv-08976         ONDERLAW, LLC
PAS, CARLA                NJ - USDC for the District of New Jersey   3:21-cv-06613         ONDERLAW, LLC
PASCHALL, ELIZABETH       MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
PASHA, MARSHA             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
PASQUARELLI, JOYCE        NJ - USDC for the District of New Jersey   3:17-cv-11119         ONDERLAW, LLC
PASS, DOROTHY             NJ - USDC for the District of New Jersey   3:21-cv-01779         ONDERLAW, LLC
PASS, VIRGINIA            NJ - USDC for the District of New Jersey   3:18-cv-03094         ONDERLAW, LLC
PASSIO, REGINA            NJ - USDC for the District of New Jersey   3:21-cv-01829         ONDERLAW, LLC
PASTORI, VERONIQUE        NJ - USDC for the District of New Jersey   3:20-cv-14948         ONDERLAW, LLC
PATAKY, MAGDA             NJ - USDC for the District of New Jersey   3:21-cv-07487         ONDERLAW, LLC
PATALIK, CHERIE           NJ - USDC for the District of New Jersey   3:21-cv-09400         ONDERLAW, LLC
PATE, CHRISTINE           NJ - USDC for the District of New Jersey   3:21-cv-08061         ONDERLAW, LLC
PATE, RUBY                NJ - USDC for the District of New Jersey   3:18-cv-15345         ONDERLAW, LLC
PATE, TINA                NJ - USDC for the District of New Jersey   3:21-cv-08915         ONDERLAW, LLC
PATEL, CHANDRKLEKHA       NJ - USDC for the District of New Jersey   3:21-cv-05176         ONDERLAW, LLC
PATEL, JAINA              NJ - USDC for the District of New Jersey   3:21-cv-09890         ONDERLAW, LLC
PATEL, SUDHA              MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
PATISHNOCK, ROBERTA       NJ - USDC for the District of New Jersey   3:19-cv-08535         ONDERLAW, LLC
PATMORE, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-08339         ONDERLAW, LLC
PATRICK, CLARA            NJ - USDC for the District of New Jersey   3:20-cv-10188         ONDERLAW, LLC
PATRICK, JOLEEN           NJ - USDC for the District of New Jersey   3:17-cv-08861         ONDERLAW, LLC
PATTERSON, DONNA          NJ - USDC for the District of New Jersey   3:21-cv-02455         ONDERLAW, LLC
PATTERSON, JEWELLENE      NJ - USDC for the District of New Jersey   3:18-cv-13912         ONDERLAW, LLC
PATTERSON, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-06232         ONDERLAW, LLC
PATTERSON, PENELOPE       NJ - USDC for the District of New Jersey   3:20-cv-05405         ONDERLAW, LLC
PATTERSON, SHANNON        NJ - USDC for the District of New Jersey   3:21-cv-02673         ONDERLAW, LLC
PATTERSON, SHERRILL       NJ - USDC for the District of New Jersey   3:20-cv-20716         ONDERLAW, LLC
PATTERSON, SUSAN          NJ - USDC for the District of New Jersey   3:19-cv-12456         ONDERLAW, LLC
PATTERSON, SUZANNE        MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
PATTERSON, SUZANNE        NJ - USDC for the District of New Jersey   3:17-cv-09271         ONDERLAW, LLC
PATTERSON, SUZANNE        NJ - USDC for the District of New Jersey   3:17-cv-09271         ONDERLAW, LLC
PATTERSON, SUZANNE        NJ - USDC for the District of New Jersey   3:17-cv-09271         ONDERLAW, LLC
PATTERSON, SUZANNE        NJ - USDC for the District of New Jersey   3:21-cv-18227         ONDERLAW, LLC
PATTERSON, VICKI          NJ - USDC for the District of New Jersey   3:17-cv-09902         ONDERLAW, LLC
PATTI, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-09414         ONDERLAW, LLC
PATTON, CALVET            NJ - USDC for the District of New Jersey   3:21-cv-09535         ONDERLAW, LLC
PATTON, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-18162         ONDERLAW, LLC
PATTON, JESSIE            NJ - USDC for the District of New Jersey   3:21-cv-09299         ONDERLAW, LLC
PAUL, EVA                 NJ - USDC for the District of New Jersey   3:21-cv-03308         ONDERLAW, LLC
PAULETTE, DONNA           NJ - USDC for the District of New Jersey   3:18-cv-02180         ONDERLAW, LLC
PAULEY, ROSEMARY          NJ - USDC for the District of New Jersey   3:21-cv-05142         ONDERLAW, LLC
PAULSON, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-09913         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PAULSON, REINA            NJ - USDC for the District of New Jersey   3:19-cv-19564         ONDERLAW, LLC
PAULSON, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-06239         ONDERLAW, LLC
PAULSON, TERESA           NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
PAVEY, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-08070         ONDERLAW, LLC
PAVLIK, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-09926         ONDERLAW, LLC
PAWELCZYK, CYNTHIA        NJ - USDC for the District of New Jersey   3:18-cv-15341         ONDERLAW, LLC
PAWLICKI, KATHY           NJ - USDC for the District of New Jersey   3:20-cv-08318         ONDERLAW, LLC
PAXMAN, LYNDA             NJ - USDC for the District of New Jersey   3:18-cv-05124         ONDERLAW, LLC
PAXTON, BETTY             NJ - USDC for the District of New Jersey   3:21-cv-05584         ONDERLAW, LLC
PAXTON, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-03144         ONDERLAW, LLC
PAYER, GABRIELE           NJ - USDC for the District of New Jersey   3:18-cv-05548         ONDERLAW, LLC
PAYNE, AMANDA             NJ - USDC for the District of New Jersey   3:21-cv-09853         ONDERLAW, LLC
PAYNE, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-03145         ONDERLAW, LLC
PAYNE, DARLENE            NJ - USDC for the District of New Jersey   3:17-cv-09868         ONDERLAW, LLC
PAYNE, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-16379         ONDERLAW, LLC
PAYNE, GINA               NJ - USDC for the District of New Jersey   3:18-cv-12557         ONDERLAW, LLC
PAYNE, LOIS               NJ - USDC for the District of New Jersey   3:18-cv-09367         ONDERLAW, LLC
PAYNE, MARY               MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
PAYNE, MARY               NJ - USDC for the District of New Jersey   3:21-cv-07654         ONDERLAW, LLC
PAYNE, TUCHLIN            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
PAYTE, LORIE              NJ - USDC for the District of New Jersey   3:21-cv-01603         ONDERLAW, LLC
PAYTON, MALISSA           NJ - USDC for the District of New Jersey   3:21-cv-17454         ONDERLAW, LLC
PAZEN, THEA               NJ - USDC for the District of New Jersey   3:21-cv-06827         ONDERLAW, LLC
PEACE, MARY               NJ - USDC for the District of New Jersey   3:19-cv-04428         ONDERLAW, LLC
PEACE, SHEILA             NJ - USDC for the District of New Jersey   3:19-cv-20036         ONDERLAW, LLC
PEAK, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-17601         ONDERLAW, LLC
PEARCE, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-06567         ONDERLAW, LLC
PEARCE, KATHLEEN          NJ - USDC for the District of New Jersey   3:19-cv-00006         ONDERLAW, LLC
PEARSON, EUGENIA          MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
PEARSON, JENNIFER         NJ - USDC for the District of New Jersey   3:18-cv-10090         ONDERLAW, LLC
PEARSON, KELLY            NJ - USDC for the District of New Jersey   3:19-cv-21229         ONDERLAW, LLC
PEARSON, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-05756         ONDERLAW, LLC
PEARSON, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-09576         ONDERLAW, LLC
PEARTREE, EVA             NJ - USDC for the District of New Jersey   3:19-cv-10961         ONDERLAW, LLC
PECARSKY, ROSEMARIE       NJ - USDC for the District of New Jersey   3:21-cv-08268         ONDERLAW, LLC
PECKHAM, JOYAL            NJ - USDC for the District of New Jersey   3:20-cv-02731         ONDERLAW, LLC
PECOT, ROBERTA            NJ - USDC for the District of New Jersey   3:21-cv-04249         ONDERLAW, LLC
PEDERSEN, CARA            NJ - USDC for the District of New Jersey   3:21-cv-04829         ONDERLAW, LLC
PEDIGO, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-09746         ONDERLAW, LLC
PEDRONI, KATHLEEN         NJ - USDC for the District of New Jersey   3:18-cv-08392         ONDERLAW, LLC
PEELER, KIM               NJ - USDC for the District of New Jersey   3:18-cv-02702         ONDERLAW, LLC
PEHLE, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-12961         ONDERLAW, LLC
PEIRCE, VALERIE           NJ - USDC for the District of New Jersey   3:18-cv-13593         ONDERLAW, LLC
PEKAR, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-05232         ONDERLAW, LLC
PELTZER-MCGOIE, EVA       NJ - USDC for the District of New Jersey   3:20-cv-07829         ONDERLAW, LLC
PENDERGAST, BRENDA        NJ - USDC for the District of New Jersey   3:17-cv-10477         ONDERLAW, LLC
PENDLETON, BARBARA        MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
PENDLEY, GAIL             NJ - USDC for the District of New Jersey   3:21-cv-08278         ONDERLAW, LLC
PENN, DIANE               MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
PENNINGTON, CONNIE        NJ - USDC for the District of New Jersey   3:20-cv-20002         ONDERLAW, LLC
PENTECOST, ANGLIA         NJ - USDC for the District of New Jersey   3:17-cv-07959         ONDERLAW, LLC
PERA, CHRISTA             MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
PERARCE, MELINDA          NJ - USDC for the District of New Jersey   3:21-cv-01224         ONDERLAW, LLC
PERC, PAMELA              NJ - USDC for the District of New Jersey   3:19-cv-00007         ONDERLAW, LLC
PERDOMO, KINSEY           NJ - USDC for the District of New Jersey   3:21-cv-02699         ONDERLAW, LLC
PERDUE, PENNY             NJ - USDC for the District of New Jersey   3:21-cv-01997         ONDERLAW, LLC
PEREGRINA, FELICIA        NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
PEREZ, BELINDA            NJ - USDC for the District of New Jersey   3:18-cv-13971         ONDERLAW, LLC
PEREZ, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-04832         ONDERLAW, LLC
PEREZ, DAJON              NJ - USDC for the District of New Jersey   3:18-cv-04988         ONDERLAW, LLC
PEREZ, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-04867         ONDERLAW, LLC
PEREZ, MARY               NJ - USDC for the District of New Jersey   3:21-cv-06563         ONDERLAW, LLC
PEREZ, SOPHIA             NJ - USDC for the District of New Jersey   3:20-cv-00063         ONDERLAW, LLC
PEREZ-HUDSON, GABRIELA    NJ - USDC for the District of New Jersey   3:21-cv-05482         ONDERLAW, LLC
PERIGO, JANICE            NJ - USDC for the District of New Jersey   3:21-cv-01645         ONDERLAW, LLC
PERKINS, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-03808         ONDERLAW, LLC
PERKINS, EDNA             NJ - USDC for the District of New Jersey   3:21-cv-16963         ONDERLAW, LLC
PERKINS, MARIANNE         NJ - USDC for the District of New Jersey   3:21-cv-09741         ONDERLAW, LLC
PERKINS, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-09316         ONDERLAW, LLC
PERKINS, RUTH             NJ - USDC for the District of New Jersey   3:21-cv-01942         ONDERLAW, LLC
PERLMAN, GAIL             NJ - USDC for the District of New Jersey   3:19-cv-10153         ONDERLAW, LLC
PERREIRA, MEGHAN          NJ - USDC for the District of New Jersey   3:21-cv-05057         ONDERLAW, LLC
PERRI, MARY               NJ - USDC for the District of New Jersey   3:17-cv-09317         ONDERLAW, LLC
PERRY, ALMETRA            NJ - USDC for the District of New Jersey   3:17-cv-10988         ONDERLAW, LLC
PERRY, CATHY              NJ - USDC for the District of New Jersey   3:20-cv-06473         ONDERLAW, LLC
PERRY, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-12408         ONDERLAW, LLC
PERRY, DEBORAH            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
PERRY, DOROTHY            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
PERRY, EARNESTINE         NJ - USDC for the District of New Jersey   3:20-cv-15399         ONDERLAW, LLC
PERRY, JOQUAYLA           NJ - USDC for the District of New Jersey   3:21-cv-05631         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PERRY, JUDITH              NJ - USDC for the District of New Jersey   3:21-cv-00762         ONDERLAW, LLC
PERRY, JULIA               NJ - USDC for the District of New Jersey   3:21-cv-08770         ONDERLAW, LLC
PERRY, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-04056         ONDERLAW, LLC
PERRY, NANCY               NJ - USDC for the District of New Jersey   3:19-cv-09085         ONDERLAW, LLC
PERRY, SHANNON             NJ - USDC for the District of New Jersey   3:21-cv-08887         ONDERLAW, LLC
PERRY, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-17604         ONDERLAW, LLC
PERRY, TREVA               NJ - USDC for the District of New Jersey   3:17-cv-12371         ONDERLAW, LLC
PERSICK, EDNA              NJ - USDC for the District of New Jersey   3:21-cv-08678         ONDERLAW, LLC
PERU, DELORES              MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
PESTELL, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-06203         ONDERLAW, LLC
PETER, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-05287         ONDERLAW, LLC
PETERS, BELINDA            NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
PETERS, CAROL              NJ - USDC for the District of New Jersey   3:19-cv-00008         ONDERLAW, LLC
PETERSEN, JANA             NJ - USDC for the District of New Jersey   3:17-cv-01971         ONDERLAW, LLC
PETERSON, CATHERINE        NJ - USDC for the District of New Jersey   3:17-cv-09891         ONDERLAW, LLC
PETERSON, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-09639         ONDERLAW, LLC
PETERSON, KARIN            NJ - USDC for the District of New Jersey   3:19-cv-10155         ONDERLAW, LLC
PETERSON, LILIAN           NJ - USDC for the District of New Jersey   3:21-cv-06104         ONDERLAW, LLC
PETERSON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-02418         ONDERLAW, LLC
PETERSON, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-10664         ONDERLAW, LLC
PETRICCIOLLI, PATRICIA     NJ - USDC for the District of New Jersey   3:21-cv-03195         ONDERLAW, LLC
PETRIE, CHRISTINA          NJ - USDC for the District of New Jersey   3:17-cv-11150         ONDERLAW, LLC
PETRO, NORMA               NJ - USDC for the District of New Jersey   3:21-cv-04768         ONDERLAW, LLC
PETROVANI, NICOLA          NJ - USDC for the District of New Jersey   3:20-cv-20710         ONDERLAW, LLC
PETROVEY, LORRAINE         MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
PETRY, JAMIE               NJ - USDC for the District of New Jersey   3:20-cv-04395         ONDERLAW, LLC
PETTIES, DEZBA             NJ - USDC for the District of New Jersey   3:21-cv-03147         ONDERLAW, LLC
PETTIT, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
PETTY, RUBY                NJ - USDC for the District of New Jersey   3:18-cv-15645         ONDERLAW, LLC
PETTY, SANDRA              NJ - USDC for the District of New Jersey   3:18-cv-16098         ONDERLAW, LLC
PFEIFER, JOAN              MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
PFEIFFER, DANIELLE         NJ - USDC for the District of New Jersey   3:21-cv-03487         ONDERLAW, LLC
PFRENZINGER, HARRIET       NJ - USDC for the District of New Jersey   3:20-cv-05110         ONDERLAW, LLC
PHELPS, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-02935         ONDERLAW, LLC
PHILLIPS, ANN              NJ - USDC for the District of New Jersey   3:21-cv-06423         ONDERLAW, LLC
PHILLIPS, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-00358         ONDERLAW, LLC
PHILLIPS, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-14986         ONDERLAW, LLC
PHILLIPS, CHERIE           NJ - USDC for the District of New Jersey   3:21-cv-08114         ONDERLAW, LLC
PHILLIPS, CONNIE           NJ - USDC for the District of New Jersey   3:18-cv-03484         ONDERLAW, LLC
PHILLIPS, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-19894         ONDERLAW, LLC
PHILLIPS, EMY              NJ - USDC for the District of New Jersey   3:21-cv-01499         ONDERLAW, LLC
PHILLIPS, FAYE             NJ - USDC for the District of New Jersey   3:20-cv-08514         ONDERLAW, LLC
PHILLIPS, GERALDINE        NJ - USDC for the District of New Jersey   3:21-cv-06485         ONDERLAW, LLC
PHILLIPS, IRENE            NJ - USDC for the District of New Jersey   3:20-cv-07745         ONDERLAW, LLC
PHILLIPS, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-04271         ONDERLAW, LLC
PHILLIPS, JOANN            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
PHILLIPS, LOUISE           NJ - USDC for the District of New Jersey   3:19-cv-00009         ONDERLAW, LLC
PHILLIPS, MELDA            NJ - USDC for the District of New Jersey   3:21-cv-04637         ONDERLAW, LLC
PHILLIPS, MESHI            NJ - USDC for the District of New Jersey   3:20-cv-09927         ONDERLAW, LLC
PHILLIPS, ROBYN            NJ - USDC for the District of New Jersey   3:19-cv-15334         ONDERLAW, LLC
PHILLIPS, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-10651         ONDERLAW, LLC
PHILLIPS, TAMI             NJ - USDC for the District of New Jersey   3:17-cv-08349         ONDERLAW, LLC
PHILLIPS, TINA             NJ - USDC for the District of New Jersey   3:21-cv-02037         ONDERLAW, LLC
PHILLIPS, WILMA            NJ - USDC for the District of New Jersey   3:21-cv-07908         ONDERLAW, LLC
PHYLLIS KENNEY             NJ - USDC for the District of New Jersey   3:21-cv-18314         ONDERLAW, LLC
PIASCZYK, EROLETTA         NJ - USDC for the District of New Jersey   3:18-cv-03391         ONDERLAW, LLC
PIATT-RUTLEDGE, SHANNON    MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
PICCIANO, CAROL            NJ - USDC for the District of New Jersey   3:19-cv-04424         ONDERLAW, LLC
PICKARD, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-04882         ONDERLAW, LLC
PICKLE, MARY               MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
PIEL, DORCAS               NJ - USDC for the District of New Jersey   3:21-cv-08825         ONDERLAW, LLC
PIEPER, KELLY              NJ - USDC for the District of New Jersey   3:21-cv-04348         ONDERLAW, LLC
PIERCE, DEANNA             NJ - USDC for the District of New Jersey   3:17-cv-09578         ONDERLAW, LLC
PIERCE, KATHY              NJ - USDC for the District of New Jersey   3:21-cv-06594         ONDERLAW, LLC
PIERCE, MARY               NJ - USDC for the District of New Jersey   3:18-cv-10892         ONDERLAW, LLC
PIERCE, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-05849         ONDERLAW, LLC
PIERCE, SHARYN             NJ - USDC for the District of New Jersey   3:21-cv-04244         ONDERLAW, LLC
PIETSCH, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-16154         ONDERLAW, LLC
PIETZKE, CHERYL            NJ - USDC for the District of New Jersey   3:19-cv-19139         ONDERLAW, LLC
PILCHER, JANET             NJ - USDC for the District of New Jersey   3:21-cv-08022         ONDERLAW, LLC
PILKINGTON, DENISE         NJ - USDC for the District of New Jersey   3:21-cv-09385         ONDERLAW, LLC
PILLE, CYNTHIA             NJ - USDC for the District of New Jersey   3:19-cv-00010         ONDERLAW, LLC
PIMENTEL, NORMA            NJ - USDC for the District of New Jersey   3:21-cv-02968         ONDERLAW, LLC
PINCHELN, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-07555         ONDERLAW, LLC
PINE, NICOLE               NJ - USDC for the District of New Jersey   3:21-cv-10666         ONDERLAW, LLC
PINEDA, ANITA              NJ - USDC for the District of New Jersey   3:21-cv-06617         ONDERLAW, LLC
PINEDA, ISIDORA            NJ - USDC for the District of New Jersey   3:20-cv-20615         ONDERLAW, LLC
PINKSTON, ADRIENNE         NJ - USDC for the District of New Jersey   3:21-cv-02053         ONDERLAW, LLC
PINO, ANDREA               NJ - USDC for the District of New Jersey   3:20-cv-09928         ONDERLAW, LLC
PINTO, BONNIE              NJ - USDC for the District of New Jersey   3:21-cv-09472         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PIPER, ANN                 NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
PIPER, JUANADYNE           NJ - USDC for the District of New Jersey   3:21-cv-01479         ONDERLAW, LLC
PIPER, MARY                NJ - USDC for the District of New Jersey   3:19-cv-19999         ONDERLAW, LLC
PIPKIN, DELORES            NJ - USDC for the District of New Jersey   3:21-cv-01830         ONDERLAW, LLC
PIPKIN, EVELYN             NJ - USDC for the District of New Jersey   3:18-cv-13529         ONDERLAW, LLC
PIPKINS, FELICE            NJ - USDC for the District of New Jersey   3:21-cv-05519         ONDERLAW, LLC
PIQUE, CALLEY              NJ - USDC for the District of New Jersey   3:20-cv-00004         ONDERLAW, LLC
PISANO, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-18316         ONDERLAW, LLC
PISH, KRISTI               NJ - USDC for the District of New Jersey   3:21-cv-17607         ONDERLAW, LLC
PITCOCK, PENNY             NJ - USDC for the District of New Jersey   3:21-cv-04092         ONDERLAW, LLC
PITEO, JEAN                NJ - USDC for the District of New Jersey   3:17-cv-05217         ONDERLAW, LLC
PITTMAN, KALONI            NJ - USDC for the District of New Jersey   3:21-cv-02865         ONDERLAW, LLC
PITTMAN, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-05963         ONDERLAW, LLC
PITTMAN, LIZZIE            NJ - USDC for the District of New Jersey   3:20-cv-14919         ONDERLAW, LLC
PITTS, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-05882         ONDERLAW, LLC
PITTS, ERIN                NJ - USDC for the District of New Jersey   3:21-cv-07934         ONDERLAW, LLC
PITTS, SHEILA              NJ - USDC for the District of New Jersey   3:21-cv-06190         ONDERLAW, LLC
PITTSLEY, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-05406         ONDERLAW, LLC
PIZON, MARTA               NJ - USDC for the District of New Jersey   3:21-cv-01607         ONDERLAW, LLC
PLANK, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-06951         ONDERLAW, LLC
PLANK, SUSAN               MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
PLANTE, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-10692         ONDERLAW, LLC
PLANTE, CLAIRE             NJ - USDC for the District of New Jersey   3:20-cv-07235         ONDERLAW, LLC
PLASCENCIA, VERONICA       NJ - USDC for the District of New Jersey   3:20-cv-20730         ONDERLAW, LLC
PLATER, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-02162         ONDERLAW, LLC
PLATT, CAROL               NJ - USDC for the District of New Jersey   3:19-cv-09086         ONDERLAW, LLC
PLEDGER, JANA              NJ - USDC for the District of New Jersey   3:21-cv-01465         ONDERLAW, LLC
PLEFREY, MARY LOU          NJ - USDC for the District of New Jersey   3:21-cv-06478         ONDERLAW, LLC
PLENERT, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-01600         ONDERLAW, LLC
PLETSCH, DIANE             NJ - USDC for the District of New Jersey   3:17-cv-09641         ONDERLAW, LLC
PLEW, PAMELA               NJ - USDC for the District of New Jersey   3:20-cv-12220         ONDERLAW, LLC
PLEXICO, BARBARA           NJ - USDC for the District of New Jersey   3:19-cv-20942         ONDERLAW, LLC
PLITT, KATHLEEN            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
PLONT, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-18164         ONDERLAW, LLC
PLOTT, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-12590         ONDERLAW, LLC
PLOWMAN, BILLIE            NJ - USDC for the District of New Jersey   3:21-cv-06620         ONDERLAW, LLC
PLUBELL, DENISE            MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
PLUM, LYNDA                NJ - USDC for the District of New Jersey   3:19-cv-21670         ONDERLAW, LLC
PLUMMER, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-04345         ONDERLAW, LLC
PODGORSKI, KATHLEEN        NJ - USDC for the District of New Jersey   3:20-cv-09651         ONDERLAW, LLC
PODNOS, JOAN               MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
POE, CHERYL                NJ - USDC for the District of New Jersey   3:18-cv-02305         ONDERLAW, LLC
POINTER, DARCELLE          NJ - USDC for the District of New Jersey   3:20-cv-12965         ONDERLAW, LLC
POLAND, KAREN              NJ - USDC for the District of New Jersey   3:19-cv-01193         ONDERLAW, LLC
POLINICE, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-06643         ONDERLAW, LLC
POLINSKI, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-05507         ONDERLAW, LLC
POLIZZI, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-13962         ONDERLAW, LLC
POLK, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-09210         ONDERLAW, LLC
POLK, KIM                  NJ - USDC for the District of New Jersey   3:20-cv-13915         ONDERLAW, LLC
POLLARD, GENEVA            NJ - USDC for the District of New Jersey   3:20-cv-00561         ONDERLAW, LLC
POLLARD, MARY              NJ - USDC for the District of New Jersey   3:21-cv-06380         ONDERLAW, LLC
POLLICK, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-00065         ONDERLAW, LLC
POLLORENO, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-02840         ONDERLAW, LLC
POLLY SHUMAN               NJ - USDC for the District of New Jersey   3:21-cv-18389         ONDERLAW, LLC
POLLY, HELENE              NJ - USDC for the District of New Jersey   3:17-cv-08350         ONDERLAW, LLC
POMPA, ORALIA              NJ - USDC for the District of New Jersey   3:19-cv-06942         ONDERLAW, LLC
PONCE, AGNES               NJ - USDC for the District of New Jersey   3:21-cv-04888         ONDERLAW, LLC
PONDER, ALICIA             NJ - USDC for the District of New Jersey   3:21-cv-05869         ONDERLAW, LLC
PONDER, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-06581         ONDERLAW, LLC
PONDER, GINNY              NJ - USDC for the District of New Jersey   3:18-cv-15471         ONDERLAW, LLC
PONDER, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-04343         ONDERLAW, LLC
POOLE, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-03974         ONDERLAW, LLC
POOLE, DAISY               NJ - USDC for the District of New Jersey   3:20-cv-04880         ONDERLAW, LLC
POPOV, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-00799         ONDERLAW, LLC
POPP, EILEEN               NJ - USDC for the District of New Jersey   3:21-cv-09352         ONDERLAW, LLC
POREDA, IRENE              NJ - USDC for the District of New Jersey   3:21-cv-06813         ONDERLAW, LLC
PORTEOUS, HEIDI            NJ - USDC for the District of New Jersey   3:18-cv-01369         ONDERLAW, LLC
PORTER, GWENDOLYN          NJ - USDC for the District of New Jersey   3:21-cv-03329         ONDERLAW, LLC
PORTER, JANE               NJ - USDC for the District of New Jersey   3:21-cv-06210         ONDERLAW, LLC
PORTER, MISTY              NJ - USDC for the District of New Jersey   3:19-cv-22207         ONDERLAW, LLC
PORTER, RUBY               NJ - USDC for the District of New Jersey   3:17-cv-08215         ONDERLAW, LLC
PORTER, SARA               NJ - USDC for the District of New Jersey   3:21-cv-03970         ONDERLAW, LLC
PORTERFIELD, MARION        NJ - USDC for the District of New Jersey   3:21-cv-06843         ONDERLAW, LLC
PORTILLO, YOLANDA          NJ - USDC for the District of New Jersey   3:21-cv-09708         ONDERLAW, LLC
POSEY, JANNAE              NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
POSO, TANYA                NJ - USDC for the District of New Jersey   3:21-cv-05600         ONDERLAW, LLC
POSS, DIANE                NJ - USDC for the District of New Jersey   3:20-cv-00354         ONDERLAW, LLC
POSTON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-04111         ONDERLAW, LLC
POTEET, MARY               NJ - USDC for the District of New Jersey   3:21-cv-05470         ONDERLAW, LLC
POTTER, MINNIE             NJ - USDC for the District of New Jersey   3:21-cv-09282         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
POTTER, SUE              NJ - USDC for the District of New Jersey   3:21-cv-07809         ONDERLAW, LLC
POTTS, ANNETTE           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
POTTS, BRENDA            NJ - USDC for the District of New Jersey   3:19-cv-14041         ONDERLAW, LLC
POTTS, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-05407         ONDERLAW, LLC
POULIN, DEBRA            NJ - USDC for the District of New Jersey   3:17-cv-09320         ONDERLAW, LLC
POVERELLI, DOROTHY       NJ - USDC for the District of New Jersey   3:21-cv-02194         ONDERLAW, LLC
POWELL, ALICE            NJ - USDC for the District of New Jersey   3:21-cv-07751         ONDERLAW, LLC
POWELL, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-11096         ONDERLAW, LLC
POWELL, CHARLENE         NJ - USDC for the District of New Jersey   3:21-cv-01489         ONDERLAW, LLC
POWELL, GENEVA           NJ - USDC for the District of New Jersey   3:21-cv-08253         ONDERLAW, LLC
POWELL, GEORGINA         NJ - USDC for the District of New Jersey   3:21-cv-05303         ONDERLAW, LLC
POWELL, JOHNQUNELL       NJ - USDC for the District of New Jersey   3:20-cv-13739         ONDERLAW, LLC
POWELL, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-05408         ONDERLAW, LLC
POWELL, NANCY            CA - Superior Court - San Bernardino County CIVDS1721453         ONDERLAW, LLC
POWELL, NANCY            NJ - USDC for the District of New Jersey   3:17-cv-05720         ONDERLAW, LLC
POWELL, SANDRA           NJ - USDC for the District of New Jersey   3:17-cv-13215         ONDERLAW, LLC
POWELL, WANDA            NJ - USDC for the District of New Jersey   3:21-cv-06463         ONDERLAW, LLC
POWELL-PARK, ERIKA       NJ - USDC for the District of New Jersey   3:21-cv-01157         ONDERLAW, LLC
POWER, ESTELL            NJ - USDC for the District of New Jersey   3:21-cv-01472         ONDERLAW, LLC
POWERS, CHRISTINA        NJ - USDC for the District of New Jersey   3:19-cv-13058         ONDERLAW, LLC
POWERS, ELOISE           NJ - USDC for the District of New Jersey   3:17-cv-10471         ONDERLAW, LLC
POWERS, JEAN             NJ - USDC for the District of New Jersey   3:18-cv-03601         ONDERLAW, LLC
POWERS, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-04606         ONDERLAW, LLC
POWERS, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-08832         ONDERLAW, LLC
POWERS, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-09901         ONDERLAW, LLC
POWERS, SONDA            NJ - USDC for the District of New Jersey   3:21-cv-01580         ONDERLAW, LLC
POWERS, STACY            NJ - USDC for the District of New Jersey   3:17-cv-09274         ONDERLAW, LLC
POWERS, STACY            NJ - USDC for the District of New Jersey   3:17-cv-09274         ONDERLAW, LLC
POWERS, STACY            NJ - USDC for the District of New Jersey   3:17-cv-09274         ONDERLAW, LLC
POYNTER, MELINDA         NJ - USDC for the District of New Jersey   3:17-cv-08756         ONDERLAW, LLC
POZARSKI, CHERYL         NJ - USDC for the District of New Jersey   3:21-cv-07989         ONDERLAW, LLC
PRACK, VICTORIA          NJ - USDC for the District of New Jersey   3:20-cv-01486         ONDERLAW, LLC
PRADOS, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-06706         ONDERLAW, LLC
PRATER, LISA             NJ - USDC for the District of New Jersey   3:21-cv-05228         ONDERLAW, LLC
PRATT, REGINA            MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
PRATT, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-01890         ONDERLAW, LLC
PRAVATA, FRANCES         NJ - USDC for the District of New Jersey   3:21-cv-09494         ONDERLAW, LLC
PRAY, GALE               NJ - USDC for the District of New Jersey   3:19-cv-08115         ONDERLAW, LLC
PREDDY, LILLIAN          NJ - USDC for the District of New Jersey   3:19-cv-12132         ONDERLAW, LLC
PREGLER, MARY            NJ - USDC for the District of New Jersey   3:20-cv-15354         ONDERLAW, LLC
PRESBERRY, DIONNE        NJ - USDC for the District of New Jersey   3:21-cv-08222         ONDERLAW, LLC
PRESTON, CHLOE           NJ - USDC for the District of New Jersey   3:21-cv-05254         ONDERLAW, LLC
PRESTON, DIANA           NJ - USDC for the District of New Jersey   3:21-cv-17288         ONDERLAW, LLC
PRESWORSKY, PAULA        NJ - USDC for the District of New Jersey   3:17-cv-08770         ONDERLAW, LLC
PREZWODEK, JANICE        MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
PRICE, ESTELLA           NJ - USDC for the District of New Jersey   3:19-cv-10152         ONDERLAW, LLC
PRICE, GINGER            NJ - USDC for the District of New Jersey   3:21-cv-07524         ONDERLAW, LLC
PRICE, INEZ              NJ - USDC for the District of New Jersey   3:17-cv-11193         ONDERLAW, LLC
PRICE, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-04251         ONDERLAW, LLC
PRICE, KATHY             NJ - USDC for the District of New Jersey   3:21-cv-01536         ONDERLAW, LLC
PRICE, LA SHAWN          NJ - USDC for the District of New Jersey   3:19-cv-19098         ONDERLAW, LLC
PRICE, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-10668         ONDERLAW, LLC
PRICE, MARJORIE          NJ - USDC for the District of New Jersey   3:21-cv-02992         ONDERLAW, LLC
PRICE, MARY              NJ - USDC for the District of New Jersey   3:20-cv-14732         ONDERLAW, LLC
PRIEL, ANDY              NJ - USDC for the District of New Jersey   3:21-cv-06469         ONDERLAW, LLC
PRIEST, RUTH             NJ - USDC for the District of New Jersey   3:21-cv-06091         ONDERLAW, LLC
PRIMMER, JEANNETTE       NJ - USDC for the District of New Jersey   3:17-cv-09647         ONDERLAW, LLC
PRINCE, BRENDA           MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
PRINCE, JUNE             MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
PRINCE, PATTI            NJ - USDC for the District of New Jersey   3:21-cv-05536         ONDERLAW, LLC
PRINGLE, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-05558         ONDERLAW, LLC
PRITCHETT, JESSICA       NJ - USDC for the District of New Jersey   3:18-cv-15472         ONDERLAW, LLC
PROCTOR, JANICE          NJ - USDC for the District of New Jersey   3:21-cv-09759         ONDERLAW, LLC
PROUTT, NIKKISHIA        NJ - USDC for the District of New Jersey   3:21-cv-08632         ONDERLAW, LLC
PROVINCE, LORI           NJ - USDC for the District of New Jersey   3:21-cv-04851         ONDERLAW, LLC
PRYOR, BERTHA            NJ - USDC for the District of New Jersey   3:17-cv-11181         ONDERLAW, LLC
PRYOR, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-04827         ONDERLAW, LLC
PRYOR, HEIDI             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
PRYSLAK, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-05966         ONDERLAW, LLC
PRZYSTUP, BETH           NJ - USDC for the District of New Jersey   3:21-cv-06217         ONDERLAW, LLC
PUCKETT, ASHLEY          NJ - USDC for the District of New Jersey   3:21-cv-09840         ONDERLAW, LLC
PUCKETT, JOELLEN         NJ - USDC for the District of New Jersey   3:20-cv-08229         ONDERLAW, LLC
PUCKETT, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-02621         ONDERLAW, LLC
PUFFENBARGER, GLORIA     NJ - USDC for the District of New Jersey   3:21-cv-09361         ONDERLAW, LLC
PUGH, BARBARA            MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
PUGH, ROSETTA            NJ - USDC for the District of New Jersey   3:21-cv-06667         ONDERLAW, LLC
PUGLISSI, DONNA          NJ - USDC for the District of New Jersey   3:17-cv-09914         ONDERLAW, LLC
PULIDO, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-06558         ONDERLAW, LLC
PULLEN, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-09000         ONDERLAW, LLC




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          Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
PULLIAM, VELMA                    NJ - USDC for the District of New Jersey   3:18-cv-08738         ONDERLAW, LLC
PULVER, HEATHER                   NJ - USDC for the District of New Jersey   3:21-cv-09634         ONDERLAW, LLC
PUNIHAOLE, CECILIA                NJ - USDC for the District of New Jersey   3:21-cv-09820         ONDERLAW, LLC
PURDY, JANICE                     MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
PURDY-LEDFORD, JUDY               NJ - USDC for the District of New Jersey   3:20-cv-09929         ONDERLAW, LLC
PURVIS, VALENE                    NJ - USDC for the District of New Jersey   3:21-cv-06913         ONDERLAW, LLC
PURYEAR, ANNIE                    NJ - USDC for the District of New Jersey   3:21-cv-05045         ONDERLAW, LLC
PURYEAR, DORA                     NJ - USDC for the District of New Jersey   3:20-cv-20725         ONDERLAW, LLC
PUSATERI, ANGELA                  NJ - USDC for the District of New Jersey   3:21-cv-03099         ONDERLAW, LLC
PUSEY, BARBARA                    NJ - USDC for the District of New Jersey   3:21-cv-08653         ONDERLAW, LLC
PUSHARD, SHELLY                   NJ - USDC for the District of New Jersey   3:18-cv-11032         ONDERLAW, LLC
PUTMAN, GERALDINE                 NJ - USDC for the District of New Jersey   3:21-cv-06866         ONDERLAW, LLC
PUZAK, LORI                       NJ - USDC for the District of New Jersey   3:20-cv-03619         ONDERLAW, LLC
PYNE, KIMBERLY                    NJ - USDC for the District of New Jersey   3:21-cv-06292         ONDERLAW, LLC
QADEER, NADIA                     NJ - USDC for the District of New Jersey   3:17-cv-11096         ONDERLAW, LLC
QUARLES, DELORES                  NJ - USDC for the District of New Jersey   3:19-cv-20714         ONDERLAW, LLC
QUARLES, MARY                     MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
QUAVE, FRANCES                    NJ - USDC for the District of New Jersey   3:21-cv-02457         ONDERLAW, LLC
QUEEN, MCMILLIAN                  NJ - USDC for the District of New Jersey   3:21-cv-06385         ONDERLAW, LLC
QUIGG, MARIE                      NJ - USDC for the District of New Jersey   3:20-cv-01000         ONDERLAW, LLC
QUIJANO, PACITA                   NJ - USDC for the District of New Jersey   3:21-cv-08164         ONDERLAW, LLC
QUIJENCIO, ELIZABETH              NJ - USDC for the District of New Jersey   3:21-cv-17784         ONDERLAW, LLC
QUILLEN, JACQUELINE               NJ - USDC for the District of New Jersey   3:20-cv-13257         ONDERLAW, LLC
QUINION, LISA                     NJ - USDC for the District of New Jersey   3:18-cv-09211         ONDERLAW, LLC
QUINLEY, VICKIE                   NJ - USDC for the District of New Jersey   3:21-cv-03731         ONDERLAW, LLC
QUINLIVAN, DIANE                  NJ - USDC for the District of New Jersey   3:21-cv-01888         ONDERLAW, LLC
QUINONES-GARCIA, GEORGINA         NJ - USDC for the District of New Jersey   3:21-cv-07042         ONDERLAW, LLC
QUINONEZ, YOLANDA                 NJ - USDC for the District of New Jersey   3:21-cv-02969         ONDERLAW, LLC
QUINTANA, LISA                    NJ - USDC for the District of New Jersey   3:21-cv-04132         ONDERLAW, LLC
QUINTERO, SARA                    NJ - USDC for the District of New Jersey   3:21-cv-09518         ONDERLAW, LLC
QUINTON, JESSICA                  NJ - USDC for the District of New Jersey   3:17-cv-09581         ONDERLAW, LLC
QUIRK, RAMONA                     MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
QUIROZ, CORINA                    NJ - USDC for the District of New Jersey   3:21-cv-07960         ONDERLAW, LLC
QUIROZ, PAULA                     NJ - USDC for the District of New Jersey   3:21-cv-05990         ONDERLAW, LLC
QUISENBERRY, THERESA              NJ - USDC for the District of New Jersey   3:21-cv-04066         ONDERLAW, LLC
RABE, DOTTIE                      NJ - USDC for the District of New Jersey   3:20-cv-11106         ONDERLAW, LLC
RABY, LINDA                       NJ - USDC for the District of New Jersey   3:21-cv-02751         ONDERLAW, LLC
RACHICK, JANE                     NJ - USDC for the District of New Jersey   3:21-cv-09847         ONDERLAW, LLC
RACKOW, JANET                     MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
RADAR, CAROL                      NJ - USDC for the District of New Jersey   3:21-cv-07856         ONDERLAW, LLC
RADCLIFFE, GIANNINA               NJ - USDC for the District of New Jersey   3:19-cv-20045         ONDERLAW, LLC
RADEMACHER, ANNE                  NJ - USDC for the District of New Jersey   3:20-cv-09932         ONDERLAW, LLC
RADEMACHER-HAMILTON, TRACEY NJ - USDC for the District of New Jersey         3:17-cv-09649         ONDERLAW, LLC
RADER, MILDRED                    NJ - USDC for the District of New Jersey   3:21-cv-08252         ONDERLAW, LLC
RADFORD, BRIDGET                  NJ - USDC for the District of New Jersey   3:21-cv-06004         ONDERLAW, LLC
RADILOFF, KAREN                   NJ - USDC for the District of New Jersey   3:21-cv-05779         ONDERLAW, LLC
RAFIDI, LISA                      NJ - USDC for the District of New Jersey   3:20-cv-03615         ONDERLAW, LLC
RAGER, LANA                       NJ - USDC for the District of New Jersey   3:21-cv-08795         ONDERLAW, LLC
RAGO, KRISTINA                    NJ - USDC for the District of New Jersey   3:20-cv-01002         ONDERLAW, LLC
RAGONE, BARBARA                   NJ - USDC for the District of New Jersey   3:19-cv-00428         ONDERLAW, LLC
RAHMAAN, KLALIHAH                 NJ - USDC for the District of New Jersey   3:17-cv-09911         ONDERLAW, LLC
RAIHER, MANDE                     NJ - USDC for the District of New Jersey   3:21-cv-07299         ONDERLAW, LLC
RAINER, DAWN                      NJ - USDC for the District of New Jersey   3:21-cv-03888         ONDERLAW, LLC
RAINER, KIM                       MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
RAINES, MARTHA                    NJ - USDC for the District of New Jersey   3:21-cv-02400         ONDERLAW, LLC
RAINEY, BEATRICE                  NJ - USDC for the District of New Jersey   3:21-cv-05505         ONDERLAW, LLC
RAINEY, LATOYIA                   NJ - USDC for the District of New Jersey   3:21-cv-06518         ONDERLAW, LLC
RAINEY, VIRGINIA                  NJ - USDC for the District of New Jersey   3:21-cv-01248         ONDERLAW, LLC
RAJUNAS, LORI                     NJ - USDC for the District of New Jersey   3:20-cv-07736         ONDERLAW, LLC
RAK, JOANNA                       NJ - USDC for the District of New Jersey   3:17-cv-05719         ONDERLAW, LLC
RAKIP, SANDRA                     NJ - USDC for the District of New Jersey   3:18-cv-11042         ONDERLAW, LLC
RALEIGH, VICTORIA                 NJ - USDC for the District of New Jersey   3:21-cv-02391         ONDERLAW, LLC
RAMIREZ, IRENE                    NJ - USDC for the District of New Jersey   3:21-cv-08639         ONDERLAW, LLC
RAMIREZ, JESUSITA                 NJ - USDC for the District of New Jersey   3:21-cv-01476         ONDERLAW, LLC
RAMIREZ, LUZ                      NJ - USDC for the District of New Jersey   3:21-cv-03151         ONDERLAW, LLC
RAMIREZ, MARY                     NJ - USDC for the District of New Jersey   3:21-cv-08027         ONDERLAW, LLC
RAMIREZ, NORMA                    NJ - USDC for the District of New Jersey   3:21-cv-04243         ONDERLAW, LLC
RAMIREZ, SYLVIA                   NJ - USDC for the District of New Jersey   3:20-cv-00765         ONDERLAW, LLC
RAMIREZ, TATIANA                  NJ - USDC for the District of New Jersey   3:21-cv-03619         ONDERLAW, LLC
RAMLOCHAN, CHARMATTIE             NJ - USDC for the District of New Jersey   3:19-cv-12135         ONDERLAW, LLC
RAMOS, MANUELA                    NJ - USDC for the District of New Jersey   3:18-cv-08411         ONDERLAW, LLC
RAMOS, MARGARITA                  NJ - USDC for the District of New Jersey   3:20-cv-15402         ONDERLAW, LLC
RAMPY, SUSAN                      NJ - USDC for the District of New Jersey   3:21-cv-08842         ONDERLAW, LLC
RAMSEY, ALVA                      NJ - USDC for the District of New Jersey   3:21-cv-04004         ONDERLAW, LLC
RAMSEY, DEBRA                     NJ - USDC for the District of New Jersey   3:18-cv-10334         ONDERLAW, LLC
RAMSEY, GINA                      NJ - USDC for the District of New Jersey   3:21-cv-06014         ONDERLAW, LLC
RAMSEY, JOLENE                    NJ - USDC for the District of New Jersey   3:21-cv-06215         ONDERLAW, LLC
RAMSEY, LILLIE                    NJ - USDC for the District of New Jersey   3:21-cv-04299         ONDERLAW, LLC
RAMSEY, PATRICIA                  NJ - USDC for the District of New Jersey   3:20-cv-12357         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number                   Plaintiff Counsel
RAMSEY, SHANNON           NJ - USDC for the District of New Jersey   3:21-cv-09636             ONDERLAW, LLC
RANALLI, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-02225             ONDERLAW, LLC
RAND, MARY                NJ - USDC for the District of New Jersey   3:20-cv-20616             ONDERLAW, LLC
RAND, SANDRA              NJ - USDC for the District of New Jersey   3:18-cv-10402             ONDERLAW, LLC
RANDALL, ALVINA           NJ - USDC for the District of New Jersey   3:21-cv-03757             ONDERLAW, LLC
RANDALL, EDNA             NJ - USDC for the District of New Jersey   3:20-cv-00554             ONDERLAW, LLC
RANDALL, GINA             NJ - USDC for the District of New Jersey   3:21-cv-10675             ONDERLAW, LLC
RANDALL, PEGGY            NJ - USDC for the District of New Jersey   3:20-cv-04879             ONDERLAW, LLC
RANDLE, ESTHER            NJ - USDC for the District of New Jersey   3:20-cv-20471             ONDERLAW, LLC
RANDLE, RAISHA            NJ - USDC for the District of New Jersey   3:21-cv-10678             ONDERLAW, LLC
RANGEL, YOLANDA           MO - Circuit Court - City of St. Louis     1522-CC10545              ONDERLAW, LLC
RANKE, PAULA              NJ - USDC for the District of New Jersey   3:21-cv-09779             ONDERLAW, LLC
RANSDELL, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-02669             ONDERLAW, LLC
RANSOM, SHARI             NJ - USDC for the District of New Jersey   3:21-cv-08007             ONDERLAW, LLC
RANSOM, SHEILA            CA - Superior Court - San Diego County     37-2017-41733-CU-PL-CTL   ONDERLAW, LLC
RANSOPHER, MARILYN        NJ - USDC for the District of New Jersey   3:19-cv-15744             ONDERLAW, LLC
RANTZ, CECELIA            NJ - USDC for the District of New Jersey   3:18-cv-11384             ONDERLAW, LLC
RANZIE, DOLORES           NJ - USDC for the District of New Jersey   3:17-cv-08757             ONDERLAW, LLC
RAPP, KATHY               MO - Circuit Court - City of St. Louis     1822-CC00002              ONDERLAW, LLC
RARANGA, GRANDELYN        NJ - USDC for the District of New Jersey   3:21-cv-17610             ONDERLAW, LLC
RASH, APRIL               NJ - USDC for the District of New Jersey   3:21-cv-02148             ONDERLAW, LLC
RASH, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-07347             ONDERLAW, LLC
RASMUSSEN, TAMARA         NJ - USDC for the District of New Jersey   3:21-cv-01505             ONDERLAW, LLC
RASNER, LESLIE            NJ - USDC for the District of New Jersey   3:18-cv-12277             ONDERLAW, LLC
RATHSADA, AMBER           NJ - USDC for the District of New Jersey   3:21-cv-04124             ONDERLAW, LLC
RATLIFF, JAN              NJ - USDC for the District of New Jersey   3:18-cv-13592             ONDERLAW, LLC
RATLIFF, ROBYN            NJ - USDC for the District of New Jersey   3:21-cv-05215             ONDERLAW, LLC
RATTO, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-09165             ONDERLAW, LLC
RAULSTON, MARY            NJ - USDC for the District of New Jersey   3:17-cv-10046             ONDERLAW, LLC
RAVELLETTE, BRANDY        NJ - USDC for the District of New Jersey   3:21-cv-03956             ONDERLAW, LLC
RAVENELL, TIFFANY         NJ - USDC for the District of New Jersey   3:21-cv-02407             ONDERLAW, LLC
RAWLINGS, ANGELA          NJ - USDC for the District of New Jersey   3:21-cv-10681             ONDERLAW, LLC
RAWLINGS, VELVA           NJ - USDC for the District of New Jersey   3:19-cv-22002             ONDERLAW, LLC
RAWLS, CAITLYN            NJ - USDC for the District of New Jersey   3:21-cv-18261             ONDERLAW, LLC
RAWLS, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-09151             ONDERLAW, LLC
RAY, AMANDA               NJ - USDC for the District of New Jersey   3:21-cv-05378             ONDERLAW, LLC
RAY, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-00311             ONDERLAW, LLC
RAY, CARI                 NJ - USDC for the District of New Jersey   3:19-cv-19765             ONDERLAW, LLC
RAY, CRYSTAL              NJ - USDC for the District of New Jersey   3:21-cv-17243             ONDERLAW, LLC
RAY, LAURA                MO - Circuit Court - City of St. Louis     1622-CC00443              ONDERLAW, LLC
RAY, SHELIA               NJ - USDC for the District of New Jersey   3:21-cv-07647             ONDERLAW, LLC
RAY, SUSAN                NJ - USDC for the District of New Jersey   3:21-cv-05363             ONDERLAW, LLC
RAYBURN, LINDA            NJ - USDC for the District of New Jersey   3:18-cv-08424             ONDERLAW, LLC
RAY-LAWSON, JENNIFER      NJ - USDC for the District of New Jersey   3:21-cv-07832             ONDERLAW, LLC
RAYMOND, DEBRA            NJ - USDC for the District of New Jersey   3:20-cv-15349             ONDERLAW, LLC
RAYMOND, IRENE            NJ - USDC for the District of New Jersey   3:19-cv-13730             ONDERLAW, LLC
RAYNE STEENS, LA          NJ - USDC for the District of New Jersey   3:17-cv-05720             ONDERLAW, LLC
RAYNER, DEBBIE            NJ - USDC for the District of New Jersey   3:21-cv-17614             ONDERLAW, LLC
RAYNES, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-10684             ONDERLAW, LLC
RAZOUK, SHERRI            NJ - USDC for the District of New Jersey   3:18-cv-09808             ONDERLAW, LLC
REA, DONNA                NJ - USDC for the District of New Jersey   3:21-cv-05830             ONDERLAW, LLC
READ, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-10959             ONDERLAW, LLC
REASER, ANNIE             NJ - USDC for the District of New Jersey   3:21-cv-05219             ONDERLAW, LLC
REAVER, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-08090             ONDERLAW, LLC
REAVES, CAROLINE          MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
REBOLLEDO, GLORIA         MO - Circuit Court - City of St. Louis     1822-CC00237              ONDERLAW, LLC
RECTOR, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-06707             ONDERLAW, LLC
REDDEN, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-20659             ONDERLAW, LLC
REDDING, DEBORAH          MO - Circuit Court - City of St. Louis     1622-CC00134              ONDERLAW, LLC
REDDOCH, MARY             NJ - USDC for the District of New Jersey   3:21-cv-06271             ONDERLAW, LLC
REDFEARN, JULIA           NJ - USDC for the District of New Jersey   3:21-cv-06604             ONDERLAW, LLC
REDFERN, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-06454             ONDERLAW, LLC
REDINGER, GLORIA          NJ - USDC for the District of New Jersey   3:21-cv-09871             ONDERLAW, LLC
REDMON, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-04134             ONDERLAW, LLC
REDMON, VIRGIE            NJ - USDC for the District of New Jersey   3:17-cv-09950             ONDERLAW, LLC
REECE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-09452             ONDERLAW, LLC
REED, AMBER               NJ - USDC for the District of New Jersey   3:21-cv-09833             ONDERLAW, LLC
REED, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-06537             ONDERLAW, LLC
REED, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-06461             ONDERLAW, LLC
REED, MARY                NJ - USDC for the District of New Jersey   3:21-cv-07572             ONDERLAW, LLC
REED, SUSAN               NJ - USDC for the District of New Jersey   3:19-cv-04425             ONDERLAW, LLC
REED, SUSANNE             NJ - USDC for the District of New Jersey   3:20-cv-17625             ONDERLAW, LLC
REED, VICTORIA            NJ - USDC for the District of New Jersey   3:18-cv-15040             ONDERLAW, LLC
REEDER, JOANIE            NJ - USDC for the District of New Jersey   3:21-cv-08031             ONDERLAW, LLC
REED-HARRIS, CONSTANCE    NJ - USDC for the District of New Jersey   3:18-cv-12963             ONDERLAW, LLC
REESE, MILLICENT          NJ - USDC for the District of New Jersey   3:17-cv-11177             ONDERLAW, LLC
REEVE, PEARLIE            NJ - USDC for the District of New Jersey   3:21-cv-02943             ONDERLAW, LLC
REEVES, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-04654             ONDERLAW, LLC
REEVES, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-08332             ONDERLAW, LLC
REEVES, TONYA             NJ - USDC for the District of New Jersey   3:20-cv-20320             ONDERLAW, LLC




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
REGALIA, BETTY                     NJ - USDC for the District of New Jersey   3:20-cv-05782         ONDERLAW, LLC
REGELE, KATHLEEN                   NJ - USDC for the District of New Jersey   3:21-cv-09630         ONDERLAW, LLC
REGISTER, MELISSA                  NJ - USDC for the District of New Jersey   3:17-cv-09532         ONDERLAW, LLC
REGISTER, RENEE                    NJ - USDC for the District of New Jersey   3:19-cv-13558         ONDERLAW, LLC
REHBECK, ANN                       MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
REHLER, HELEN                      NJ - USDC for the District of New Jersey   3:21-cv-06177         ONDERLAW, LLC
REHM, ANNE                         NJ - USDC for the District of New Jersey   3:21-cv-09422         ONDERLAW, LLC
REIBMAN, BARBARA                   NJ - USDC for the District of New Jersey   3:20-cv-13491         ONDERLAW, LLC
REICH, NICOLE                      NJ - USDC for the District of New Jersey   3:21-cv-05657         ONDERLAW, LLC
REID, CHRISTINE                    NJ - USDC for the District of New Jersey   3:21-cv-07511         ONDERLAW, LLC
REIL, DEBBIE                       NJ - USDC for the District of New Jersey   3:21-cv-03959         ONDERLAW, LLC
REILLY, ILENE                      NJ - USDC for the District of New Jersey   3:21-cv-17158         ONDERLAW, LLC
REILLY, TERESA                     NJ - USDC for the District of New Jersey   3:21-cv-01225         ONDERLAW, LLC
REIMAN, MARY                       NJ - USDC for the District of New Jersey   3:20-cv-00882         ONDERLAW, LLC
REINBERGER, MARIETTA               NJ - USDC for the District of New Jersey   3:20-cv-15347         ONDERLAW, LLC
REINCKE, BARBARA                   NJ - USDC for the District of New Jersey   3:18-cv-04989         ONDERLAW, LLC
REINHARDT, CATHERINE               NJ - USDC for the District of New Jersey   3:20-cv-20677         ONDERLAW, LLC
REINHARDT, PATRICIA                NJ - USDC for the District of New Jersey   3:19-cv-10396         ONDERLAW, LLC
REISING, CHRISTINE                 MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
REMER, KITTY                       NJ - USDC for the District of New Jersey   3:21-cv-08597         ONDERLAW, LLC
REMINGTON, SUEANNE                 NJ - USDC for the District of New Jersey   3:21-cv-07736         ONDERLAW, LLC
RENATA TRAWICK                     NJ - USDC for the District of New Jersey   3:21-cv-18395         ONDERLAW, LLC
RENCK, KATHLEEN                    NJ - USDC for the District of New Jersey   3:19-cv-05038         ONDERLAW, LLC
RENFER, CHRISTINA                  NJ - USDC for the District of New Jersey   3:18-cv-03598         ONDERLAW, LLC
RENGEL, SABINA                     NJ - USDC for the District of New Jersey   3:21-cv-07598         ONDERLAW, LLC
RENNA, GENEVIEVE                   NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
RENNINGER, MARY                    NJ - USDC for the District of New Jersey   3:18-cv-02941         ONDERLAW, LLC
RENO, RENE                         NJ - USDC for the District of New Jersey   3:20-cv-07033         ONDERLAW, LLC
REPPELL, BRENDA                    MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
RESL-LOSCHNER, ADRIANA             NJ - USDC for the District of New Jersey   3:18-cv-10412         ONDERLAW, LLC
RESNICK, VICTORIA                  NJ - USDC for the District of New Jersey   3:18-cv-08826         ONDERLAW, LLC
RESPICIO-SANCHEZ, ARIN             NJ - USDC for the District of New Jersey   3:18-cv-17634         ONDERLAW, LLC
RETHAFORD, CHERYL                  NJ - USDC for the District of New Jersey   3:21-cv-07982         ONDERLAW, LLC
REUTER, BETTY                      NJ - USDC for the District of New Jersey   3:17-cv-09154         ONDERLAW, LLC
REUTER, DEBRA                      NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
REVELS, RACHEL                     NJ - USDC for the District of New Jersey   3:21-cv-05866         ONDERLAW, LLC
REYES, ELISA                       NJ - USDC for the District of New Jersey   3:21-cv-18212         ONDERLAW, LLC
REYES, JESSICA                     NJ - USDC for the District of New Jersey   3:18-cv-03604         ONDERLAW, LLC
REYNA, ELVIRA                      NJ - USDC for the District of New Jersey   3:21-cv-04624         ONDERLAW, LLC
REYNA, KOSHELLA                    NJ - USDC for the District of New Jersey   3:18-cv-16056         ONDERLAW, LLC
REYNOLDS, ANGALA                   NJ - USDC for the District of New Jersey   3:21-cv-02982         ONDERLAW, LLC
REYNOLDS, CAROL                    NJ - USDC for the District of New Jersey   3:18-cv-12281         ONDERLAW, LLC
REYNOLDS, JUDY                     NJ - USDC for the District of New Jersey   3:21-cv-04655         ONDERLAW, LLC
REYNOLDS, KIERSTEN                 NJ - USDC for the District of New Jersey   3:21-cv-06794         ONDERLAW, LLC
REYNOLDS, REBECCA                  NJ - USDC for the District of New Jersey   3:18-cv-15473         ONDERLAW, LLC
REYNOLDS, SALLY                    NJ - USDC for the District of New Jersey   3:21-cv-17393         ONDERLAW, LLC
REYNOLDS, STACY                    NJ - USDC for the District of New Jersey   3:19-cv-19766         ONDERLAW, LLC
REYNOLDS, TAMMY                    NJ - USDC for the District of New Jersey   3:21-cv-03694         ONDERLAW, LLC
REYNOLDS-PATTERSON, PATRICIA NJ - USDC for the District of New Jersey         3:20-cv-15346         ONDERLAW, LLC
REYOME, LYNDA                      NJ - USDC for the District of New Jersey   3:19-cv-17443         ONDERLAW, LLC
RHOADES, TAMARA                    MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
RHOADS, SUZY                       NJ - USDC for the District of New Jersey   3:20-cv-05786         ONDERLAW, LLC
RHODA, CARLA                       NJ - USDC for the District of New Jersey   3:19-cv-12580         ONDERLAW, LLC
RHODEN, ALICE                      NJ - USDC for the District of New Jersey   3:18-cv-12964         ONDERLAW, LLC
RHODES, DOROTHY                    NJ - USDC for the District of New Jersey   3:21-cv-06235         ONDERLAW, LLC
RHODES, HELEN                      NJ - USDC for the District of New Jersey   3:20-cv-20693         ONDERLAW, LLC
RHODES, JASMINE                    NJ - USDC for the District of New Jersey   3:20-cv-13743         ONDERLAW, LLC
RHODES, PEGGY                      NJ - USDC for the District of New Jersey   3:21-cv-04984         ONDERLAW, LLC
RHODES, STEPHANIE                  NJ - USDC for the District of New Jersey   3:21-cv-03152         ONDERLAW, LLC
RHODIS, ATHENA                     NJ - USDC for the District of New Jersey   3:21-cv-04769         ONDERLAW, LLC
RHONDA-JAMES, AIDA                 NJ - USDC for the District of New Jersey   3:21-cv-03153         ONDERLAW, LLC
RIALE, MARCIA                      NJ - USDC for the District of New Jersey   3:21-cv-08147         ONDERLAW, LLC
RIBBS, VICTORIA                    NJ - USDC for the District of New Jersey   3:20-cv-20302         ONDERLAW, LLC
RICCIARDONE, ELIZABETH             NJ - USDC for the District of New Jersey   3:19-cv-15617         ONDERLAW, LLC
RICE, GEORGIA                      NJ - USDC for the District of New Jersey   3:21-cv-07446         ONDERLAW, LLC
RICE, JOANN                        NJ - USDC for the District of New Jersey   3:21-cv-09408         ONDERLAW, LLC
RICE, MICHELLE                     NJ - USDC for the District of New Jersey   3:17-cv-10652         ONDERLAW, LLC
RICH, WENDY                        NJ - USDC for the District of New Jersey   3:18-cv-05813         ONDERLAW, LLC
RICHARD, SHARON                    NJ - USDC for the District of New Jersey   3:21-cv-08683         ONDERLAW, LLC
RICHARDS, CAROLYN                  NJ - USDC for the District of New Jersey   3:17-cv-13840         ONDERLAW, LLC
RICHARDS, CONNIE                   NJ - USDC for the District of New Jersey   3:19-cv-21167         ONDERLAW, LLC
RICHARDS, JUANITA                  NJ - USDC for the District of New Jersey   3:21-cv-03383         ONDERLAW, LLC
RICHARDS, LISA                     NJ - USDC for the District of New Jersey   3:21-cv-17620         ONDERLAW, LLC
RICHARDS, TASHA                    NJ - USDC for the District of New Jersey   3:21-cv-09598         ONDERLAW, LLC
RICHARDS, TERRIE                   NJ - USDC for the District of New Jersey   3:21-cv-10687         ONDERLAW, LLC
RICHARDSON, AUDREY                 NJ - USDC for the District of New Jersey   3:20-cv-16135         ONDERLAW, LLC
RICHARDSON, BARBARA                NJ - USDC for the District of New Jersey   3:21-cv-17259         ONDERLAW, LLC
RICHARDSON, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-19999         ONDERLAW, LLC
RICHARDSON, BONNIE                 NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
RICHARDSON, EVELYN         NJ - USDC for the District of New Jersey   3:21-cv-07397         ONDERLAW, LLC
RICHARDSON, NATASHA        NJ - USDC for the District of New Jersey   3:21-cv-03933         ONDERLAW, LLC
RICHARDSON, PAM            MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
RICHARDSON, ROSE           MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC
RICHARDSON, ROSE           NJ - USDC for the District of New Jersey   3:17-cv-02396         ONDERLAW, LLC
RICHARDSON, VERONICA       NJ - USDC for the District of New Jersey   3:17-cv-09652         ONDERLAW, LLC
RICHE, ALISE               NJ - USDC for the District of New Jersey   3:20-cv-04170         ONDERLAW, LLC
RICHEY, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-06577         ONDERLAW, LLC
RICK, BARBARA              MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
RICKER, DEBRA              NJ - USDC for the District of New Jersey   3:19-cv-12878         ONDERLAW, LLC
RICKETTS, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-08219         ONDERLAW, LLC
RICKETTS, KATHRYN          NJ - USDC for the District of New Jersey   3:21-cv-06841         ONDERLAW, LLC
RICKETTS, TALISSA          NJ - USDC for the District of New Jersey   3:21-cv-09760         ONDERLAW, LLC
RICKMAN, NANCY             NJ - USDC for the District of New Jersey   3:19-cv-13165         ONDERLAW, LLC
RICKS, COLLEEN             NJ - USDC for the District of New Jersey   3:17-cv-06302         ONDERLAW, LLC
RICO, DIANE                MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
RIDDLE, JANIS              NJ - USDC for the District of New Jersey   3:20-cv-09286         ONDERLAW, LLC
RIDENER, JANET             NJ - USDC for the District of New Jersey   3:17-cv-09332         ONDERLAW, LLC
RIDER, CAMI                NJ - USDC for the District of New Jersey   3:21-cv-06135         ONDERLAW, LLC
RIDLEY, JANE               NJ - USDC for the District of New Jersey   3:17-cv-09324         ONDERLAW, LLC
RIDLEY, YVONNE             NJ - USDC for the District of New Jersey   3:18-cv-10092         ONDERLAW, LLC
RIFFEL, CHRISTINA          NJ - USDC for the District of New Jersey   3:17-cv-10566         ONDERLAW, LLC
RIGGINS, JODI              NJ - USDC for the District of New Jersey   3:21-cv-08989         ONDERLAW, LLC
RIGGIO, JEANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-06201         ONDERLAW, LLC
RIGGS, ALICIA              NJ - USDC for the District of New Jersey   3:17-cv-09539         ONDERLAW, LLC
RIGGS, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-05738         ONDERLAW, LLC
RIGGS, THREASE             NJ - USDC for the District of New Jersey   3:20-cv-12221         ONDERLAW, LLC
RIGGS-STEPHENSON, EMILY    NJ - USDC for the District of New Jersey   3:17-cv-09912         ONDERLAW, LLC
RIGLER, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-04305         ONDERLAW, LLC
RIGSBY, DORIS              NJ - USDC for the District of New Jersey   3:17-cv-09583         ONDERLAW, LLC
RILEY, AVA                 NJ - USDC for the District of New Jersey   3:18-cv-03512         ONDERLAW, LLC
RILEY, CYNTHIA             NJ - USDC for the District of New Jersey   3:20-cv-19020         ONDERLAW, LLC
RILEY, DENISE              NJ - USDC for the District of New Jersey   3:21-cv-16900         ONDERLAW, LLC
RILEY, ILA                 NJ - USDC for the District of New Jersey   3:17-cv-11127         ONDERLAW, LLC
RILEY, SHELDON             NJ - USDC for the District of New Jersey   3:21-cv-03907         ONDERLAW, LLC
RIMP, PAULINE              NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
RINCON, DOLORES            NJ - USDC for the District of New Jersey   3:21-cv-03381         ONDERLAW, LLC
RINEY, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-04241         ONDERLAW, LLC
RINGBAUER, THEA            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
RINKS, LACEY               NJ - USDC for the District of New Jersey   3:21-cv-02045         ONDERLAW, LLC
RION, RUBY                 MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
RIOS, CHERYL               NJ - USDC for the District of New Jersey   3:21-cv-01477         ONDERLAW, LLC
RIPKA, MARY                NJ - USDC for the District of New Jersey   3:18-cv-08776         ONDERLAW, LLC
RIPPIE, TERESA             NJ - USDC for the District of New Jersey   3:20-cv-17438         ONDERLAW, LLC
RISCO, ROSARIO             NJ - USDC for the District of New Jersey   3:21-cv-09797         ONDERLAW, LLC
RISCOE, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-18318         ONDERLAW, LLC
RITCHIE, STEPHANIE         NJ - USDC for the District of New Jersey   3:20-cv-17218         ONDERLAW, LLC
RITCHIE, TINA              MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
RITTENHOUSE, LISA          NJ - USDC for the District of New Jersey   3:17-cv-11123         ONDERLAW, LLC
RIVAS, NELDA               NJ - USDC for the District of New Jersey   3:21-cv-07903         ONDERLAW, LLC
RIVAS, OLIVIA              NJ - USDC for the District of New Jersey   3:21-cv-08397         ONDERLAW, LLC
RIVERA, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-09319         ONDERLAW, LLC
RIVERA, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-07514         ONDERLAW, LLC
RIVERA, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-20732         ONDERLAW, LLC
RIVERA, EVELISSE           NJ - USDC for the District of New Jersey   3:21-cv-04376         ONDERLAW, LLC
RIVERA, LESLIE             NJ - USDC for the District of New Jersey   3:19-cv-19260         ONDERLAW, LLC
RIVERA, MARGARITA          NJ - USDC for the District of New Jersey   3:21-cv-04094         ONDERLAW, LLC
RIVERA, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-03618         ONDERLAW, LLC
RIVERA, MARIA              NJ - USDC for the District of New Jersey   3:20-cv-03580         ONDERLAW, LLC
RIVERA, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-03994         ONDERLAW, LLC
RIVERS, JOAN               NJ - USDC for the District of New Jersey   3:19-cv-22004         ONDERLAW, LLC
RIVERS, VETRESS            NJ - USDC for the District of New Jersey   3:20-cv-16137         ONDERLAW, LLC
RIVET, DEBORAH             MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
RIVIERA, DANIELLE          NJ - USDC for the District of New Jersey   3:21-cv-04777         ONDERLAW, LLC
RIZZO, DOROTHY             NJ - USDC for the District of New Jersey   3:21-cv-07833         ONDERLAW, LLC
ROARK, MARTHA              NJ - USDC for the District of New Jersey   3:21-cv-02202         ONDERLAW, LLC
ROBB, DENISE               NJ - USDC for the District of New Jersey   3:17-cv-09335         ONDERLAW, LLC
ROBBINS, KIMBERLEE         NJ - USDC for the District of New Jersey   3:18-cv-10797         ONDERLAW, LLC
ROBBINS, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-09337         ONDERLAW, LLC
ROBBINS, TIFFANIE          NJ - USDC for the District of New Jersey   3:21-cv-10695         ONDERLAW, LLC
ROBBINS-GAGICH, BELINDA    NJ - USDC for the District of New Jersey   3:18-cv-14036         ONDERLAW, LLC
ROBEN, DEBROAH             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
ROBERSON, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-09508         ONDERLAW, LLC
ROBERSON, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-05700         ONDERLAW, LLC
ROBERSON, CONNIE           NJ - USDC for the District of New Jersey   3:20-cv-12693         ONDERLAW, LLC
ROBERTS, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-14651         ONDERLAW, LLC
ROBERTS, CHERRIN           NJ - USDC for the District of New Jersey   3:21-cv-10696         ONDERLAW, LLC
ROBERTS, ELSIE             NJ - USDC for the District of New Jersey   3:21-cv-05780         ONDERLAW, LLC
ROBERTS, HELEN             NJ - USDC for the District of New Jersey   3:18-cv-12966         ONDERLAW, LLC
ROBERTS, IRENE             NJ - USDC for the District of New Jersey   3:18-cv-04970         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ROBERTS, IRMA             NJ - USDC for the District of New Jersey   3:21-cv-13339         ONDERLAW, LLC
ROBERTS, JANE             NJ - USDC for the District of New Jersey   3:17-cv-11410         ONDERLAW, LLC
ROBERTS, KIMBERLEE        NJ - USDC for the District of New Jersey   3:21-cv-06391         ONDERLAW, LLC
ROBERTS, LATISHA          NJ - USDC for the District of New Jersey   3:21-cv-06095         ONDERLAW, LLC
ROBERTS, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-00015         ONDERLAW, LLC
ROBERTS, LOULA            NJ - USDC for the District of New Jersey   3:21-cv-06157         ONDERLAW, LLC
ROBERTS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-09629         ONDERLAW, LLC
ROBERTS, MARY             NJ - USDC for the District of New Jersey   3:20-cv-01663         ONDERLAW, LLC
ROBERTS, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-08351         ONDERLAW, LLC
ROBERTS, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-07445         ONDERLAW, LLC
ROBERTS, PAULINE          NJ - USDC for the District of New Jersey   3:17-cv-11093         ONDERLAW, LLC
ROBERTS, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-03736         ONDERLAW, LLC
ROBERTS, PHYLLIS          NJ - USDC for the District of New Jersey   3:21-cv-04136         ONDERLAW, LLC
ROBERTS, RAMONIA          NJ - USDC for the District of New Jersey   3:21-cv-08524         ONDERLAW, LLC
ROBERTS, SHAMECA          NJ - USDC for the District of New Jersey   3:21-cv-18269         ONDERLAW, LLC
ROBERTS, TONI             NJ - USDC for the District of New Jersey   3:18-cv-12401         ONDERLAW, LLC
ROBERTSON, MARY           NJ - USDC for the District of New Jersey   3:17-cv-09656         ONDERLAW, LLC
ROBERTSON, NANCY          NJ - USDC for the District of New Jersey   3:19-cv-03907         ONDERLAW, LLC
ROBERTSON, PAMELA         NJ - USDC for the District of New Jersey   3:21-cv-01582         ONDERLAW, LLC
ROBERTSON, TINA           NJ - USDC for the District of New Jersey   3:21-cv-05673         ONDERLAW, LLC
ROBINSON, ANNIE           NJ - USDC for the District of New Jersey   3:21-cv-07434         ONDERLAW, LLC
ROBINSON, BEVERLY         NJ - USDC for the District of New Jersey   3:21-cv-06183         ONDERLAW, LLC
ROBINSON, BRANDY          NJ - USDC for the District of New Jersey   3:21-cv-08939         ONDERLAW, LLC
ROBINSON, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-05658         ONDERLAW, LLC
ROBINSON, CHERYLEE        NJ - USDC for the District of New Jersey   3:21-cv-05618         ONDERLAW, LLC
ROBINSON, EARLINE         NJ - USDC for the District of New Jersey   3:21-cv-02858         ONDERLAW, LLC
ROBINSON, FELICIA         NJ - USDC for the District of New Jersey   3:21-cv-06807         ONDERLAW, LLC
ROBINSON, FELISHA         NJ - USDC for the District of New Jersey   3:21-cv-05097         ONDERLAW, LLC
ROBINSON, GLORIA          NJ - USDC for the District of New Jersey   3:20-cv-12222         ONDERLAW, LLC
ROBINSON, GRACITA         NJ - USDC for the District of New Jersey   3:18-cv-09072         ONDERLAW, LLC
ROBINSON, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-07360         ONDERLAW, LLC
ROBINSON, JOYCE           NJ - USDC for the District of New Jersey   3:21-cv-00757         ONDERLAW, LLC
ROBINSON, KATHY           NJ - USDC for the District of New Jersey   3:21-cv-02701         ONDERLAW, LLC
ROBINSON, LEAH            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
ROBINSON, LORETTA         NJ - USDC for the District of New Jersey   3:21-cv-06814         ONDERLAW, LLC
ROBINSON, MARSHA          NJ - USDC for the District of New Jersey   3:21-cv-06365         ONDERLAW, LLC
ROBINSON, MARY            NJ - USDC for the District of New Jersey   3:17-cv-10989         ONDERLAW, LLC
ROBINSON, MITZI           NJ - USDC for the District of New Jersey   3:21-cv-04825         ONDERLAW, LLC
ROBINSON, PAMELA          NJ - USDC for the District of New Jersey   3:18-cv-08174         ONDERLAW, LLC
ROBINSON, SERENA          NJ - USDC for the District of New Jersey   3:21-cv-02534         ONDERLAW, LLC
ROBINSON, TASHA           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
ROBINSON, TELISHA         NJ - USDC for the District of New Jersey   3:21-cv-03103         ONDERLAW, LLC
ROBINSON, TERESA          NJ - USDC for the District of New Jersey   3:21-cv-02998         ONDERLAW, LLC
ROBINSON, THELMA          NJ - USDC for the District of New Jersey   3:21-cv-03803         ONDERLAW, LLC
ROBINSON, VANESSA         NJ - USDC for the District of New Jersey   3:21-cv-05435         ONDERLAW, LLC
ROBINSON-HOUGH, MARLENE   NJ - USDC for the District of New Jersey   3:20-cv-13239         ONDERLAW, LLC
ROBISON, JULIA            NJ - USDC for the District of New Jersey   3:21-cv-05672         ONDERLAW, LLC
ROBOZ, MANIRVA            NJ - USDC for the District of New Jersey   3:19-cv-08875         ONDERLAW, LLC
ROCCI, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-03750         ONDERLAW, LLC
ROCCO, MARGARET           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
ROCHA, DYMPHNA            NJ - USDC for the District of New Jersey   3:21-cv-08430         ONDERLAW, LLC
ROCHE, JEANMARIE          NJ - USDC for the District of New Jersey   3:19-cv-19138         ONDERLAW, LLC
ROCKHOLD, DIONNE          MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
ROCKS, PAMELA             CA - Superior Court - Yuba County          CVPO-XX-XXXXXXX       ONDERLAW, LLC
ROCKS, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
RODAS, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-19819         ONDERLAW, LLC
RODEMANN, LYNN            NJ - USDC for the District of New Jersey   3:20-cv-14776         ONDERLAW, LLC
RODEN, MARY               NJ - USDC for the District of New Jersey   3:20-cv-20683         ONDERLAW, LLC
RODGERS, ARLEAN           NJ - USDC for the District of New Jersey   3:20-cv-08981         ONDERLAW, LLC
RODGERS, LINDA            NJ - USDC for the District of New Jersey   3:20-cv-20661         ONDERLAW, LLC
RODGERS, PAULA            NJ - USDC for the District of New Jersey   3:18-cv-04001         ONDERLAW, LLC
RODGERS, THERESA          NJ - USDC for the District of New Jersey   3:21-cv-08408         ONDERLAW, LLC
RODGRIGUEZ, BRANDY        NJ - USDC for the District of New Jersey   3:21-cv-01724         ONDERLAW, LLC
RODRIGUES, IRENE          NJ - USDC for the District of New Jersey   3:21-cv-18214         ONDERLAW, LLC
RODRIGUEZ, BERTHA         NJ - USDC for the District of New Jersey   3:21-cv-03978         ONDERLAW, LLC
RODRIGUEZ, BLANCA         NJ - USDC for the District of New Jersey   3:21-cv-17286         ONDERLAW, LLC
RODRIGUEZ, CLAUDIA        NJ - USDC for the District of New Jersey   3:21-cv-03155         ONDERLAW, LLC
RODRIGUEZ, ELIZABETH      NJ - USDC for the District of New Jersey   3:21-cv-09276         ONDERLAW, LLC
RODRIGUEZ, ELIZABETH      NJ - USDC for the District of New Jersey   3:21-cv-02001         ONDERLAW, LLC
RODRIGUEZ, EMELLY         NJ - USDC for the District of New Jersey   3:20-cv-20310         ONDERLAW, LLC
RODRIGUEZ, EUNICE         NJ - USDC for the District of New Jersey   3:20-cv-09941         ONDERLAW, LLC
RODRIGUEZ, IDANIZ         NJ - USDC for the District of New Jersey   3:20-cv-03921         ONDERLAW, LLC
RODRIGUEZ, KATHLEEN       NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
RODRIGUEZ, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-10722         ONDERLAW, LLC
RODRIGUEZ, LUCY           NJ - USDC for the District of New Jersey   3:21-cv-03723         ONDERLAW, LLC
RODRIGUEZ, MARITZA        NJ - USDC for the District of New Jersey   3:18-cv-03400         ONDERLAW, LLC
RODRIGUEZ, SHANNON        NJ - USDC for the District of New Jersey   3:21-cv-03939         ONDERLAW, LLC
RODRIGUEZ, VIVIAN         NJ - USDC for the District of New Jersey   3:20-cv-05904         ONDERLAW, LLC
RODUTA, ANNA              NJ - USDC for the District of New Jersey   3:21-cv-05334         ONDERLAW, LLC
ROE, NANCY                NJ - USDC for the District of New Jersey   3:17-cv-08415         ONDERLAW, LLC




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          Claimant Name                      State Filed                    Docket Number               Plaintiff Counsel
ROESCH, BRITTANY           NJ - USDC for the District of New Jersey   3:21-cv-02623         ONDERLAW, LLC
ROESCH, JUDITH             NJ - USDC for the District of New Jersey   3:19-cv-03881         ONDERLAW, LLC
ROESCHEN, ANNA             NJ - USDC for the District of New Jersey   3:21-cv-06483         ONDERLAW, LLC
ROESLER, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-03304         ONDERLAW, LLC
ROGACH, ROSEANNE           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
ROGERS, ALLISON            NJ - USDC for the District of New Jersey   3:19-cv-09312         ONDERLAW, LLC
ROGERS, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-02167         ONDERLAW, LLC
ROGERS, CHARLOTTE          NJ - USDC for the District of New Jersey   3:19-cv-16116         ONDERLAW, LLC
ROGERS, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-07550         ONDERLAW, LLC
ROGERS, DELORES            NJ - USDC for the District of New Jersey   3:20-cv-15537         ONDERLAW, LLC
ROGERS, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-04256         ONDERLAW, LLC
ROGERS, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-09651         ONDERLAW, LLC
ROGERS, FRANKIE            NJ - USDC for the District of New Jersey   3:21-cv-07488         ONDERLAW, LLC
ROGERS, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-09601         ONDERLAW, LLC
ROGERS, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-07787         ONDERLAW, LLC
ROGERS, KEMBERLY           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
ROGERS, LATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-00724         ONDERLAW, LLC
ROGERS, LAURIE             NJ - USDC for the District of New Jersey   3;21-CV-05557         ONDERLAW, LLC
ROGERS, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-09864         ONDERLAW, LLC
ROGERS, MARY               NJ - USDC for the District of New Jersey   3:21-cv-03156         ONDERLAW, LLC
ROGERS, MYRTLE             NJ - USDC for the District of New Jersey   3:21-cv-17189         ONDERLAW, LLC
ROGERS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-17634         ONDERLAW, LLC
ROGERS, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-06589         ONDERLAW, LLC
ROGERS, ROSEMARIE          NJ - USDC for the District of New Jersey   3:21-cv-13820         ONDERLAW, LLC
ROGERS, SALLIE             NJ - USDC for the District of New Jersey   3:19-cv-18816         ONDERLAW, LLC
ROGERS, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-01370         ONDERLAW, LLC
ROGERS, SHENITA            NJ - USDC for the District of New Jersey   3:21-cv-02002         ONDERLAW, LLC
ROGERS, STACY              NJ - USDC for the District of New Jersey   3:18-cv-15349         ONDERLAW, LLC
ROGERS, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-20692         ONDERLAW, LLC
ROGERS, VALLERIE           NJ - USDC for the District of New Jersey   3:18-cv-08564         ONDERLAW, LLC
ROGERS, VICKI              NJ - USDC for the District of New Jersey   3:21-cv-06902         ONDERLAW, LLC
ROGERS, VICKIE             NJ - USDC for the District of New Jersey   3:21-cv-05468         ONDERLAW, LLC
ROLAND, BERNICE            NJ - USDC for the District of New Jersey   3:19-cv-21246         ONDERLAW, LLC
ROLAND, RAMONA             NJ - USDC for the District of New Jersey   3:19-cv-15816         ONDERLAW, LLC
ROLLER, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-06697         ONDERLAW, LLC
ROLLING, VIRGINIA          NJ - USDC for the District of New Jersey   3:17-cv-10879         ONDERLAW, LLC
ROLLINS, KELLIE            MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
ROLLINS, MARY              NJ - USDC for the District of New Jersey   3:17-cv-10047         ONDERLAW, LLC
ROLLINS, TAMINA            NJ - USDC for the District of New Jersey   3:21-cv-03934         ONDERLAW, LLC
ROLPH, MARYANN             NJ - USDC for the District of New Jersey   3:21-cv-04125         ONDERLAW, LLC
ROMAN, ANISSA              NJ - USDC for the District of New Jersey   3:21-cv-07503         ONDERLAW, LLC
ROMAN, DORIS               NJ - USDC for the District of New Jersey   3:19-cv-20867         ONDERLAW, LLC
ROMAN, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-17622         ONDERLAW, LLC
ROMAN, MARISOL             NJ - USDC for the District of New Jersey   3:21-cv-07930         ONDERLAW, LLC
ROMANO, DOREEN             NJ - USDC for the District of New Jersey   3:21-cv-17335         ONDERLAW, LLC
ROMANOFSKI, LORA           NJ - USDC for the District of New Jersey   3:21-cv-02936         ONDERLAW, LLC
ROMBOLA, IDA               NJ - USDC for the District of New Jersey   3:21-cv-08248         ONDERLAW, LLC
ROMEO, NOREEN              NJ - USDC for the District of New Jersey   3:21-cv-02899         ONDERLAW, LLC
ROMERO, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-06524         ONDERLAW, LLC
ROMERO, JULIA              NJ - USDC for the District of New Jersey   3:21-cv-04986         ONDERLAW, LLC
ROMERO, LISA               NJ - USDC for the District of New Jersey   3:21-cv-08765         ONDERLAW, LLC
ROMIOUS, CHARITA           IL - Circuit Court - St. Clair County      20-L-0404             ONDERLAW, LLC
ROONEY-COTTRELL, CAROLYN   NJ - USDC for the District of New Jersey   3:21-cv-06605         ONDERLAW, LLC
ROOT, KORRI                NJ - USDC for the District of New Jersey   3:18-cv-09212         ONDERLAW, LLC
ROPELE, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-06269         ONDERLAW, LLC
ROPER, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
ROPER, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-05247         ONDERLAW, LLC
ROSALES, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-18275         ONDERLAW, LLC
ROSARIO, MARILYN           NJ - USDC for the District of New Jersey   3:19-cv-12933         ONDERLAW, LLC
ROSARIO, MELINDA           NJ - USDC for the District of New Jersey   3:18-cv-11381         ONDERLAW, LLC
ROSATO, FRANCES            NJ - USDC for the District of New Jersey   3:17-cv-09663         ONDERLAW, LLC
ROSCOE, EALEEN             NJ - USDC for the District of New Jersey   3:21-cv-06577         ONDERLAW, LLC
ROSE, ARLENE               NJ - USDC for the District of New Jersey   3:20-cv-15360         ONDERLAW, LLC
ROSE, CHERAE               NJ - USDC for the District of New Jersey   3:19-cv-13167         ONDERLAW, LLC
ROSE, IRENE                NJ - USDC for the District of New Jersey   3:21-cv-09549         ONDERLAW, LLC
ROSE, JAMIE                NJ - USDC for the District of New Jersey   3:18-cv-03605         ONDERLAW, LLC
ROSE, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-02693         ONDERLAW, LLC
ROSE, LIZZIE               NJ - USDC for the District of New Jersey   3:21-cv-06186         ONDERLAW, LLC
ROSE, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-08529         ONDERLAW, LLC
ROSE, MEGAN                NJ - USDC for the District of New Jersey   3:21-cv-01255         ONDERLAW, LLC
ROSE, REBECCA              NJ - USDC for the District of New Jersey   3:20-cv-20733         ONDERLAW, LLC
ROSE, TINA                 NJ - USDC for the District of New Jersey   3:19-cv-05041         ONDERLAW, LLC
ROSELL, ELIZABETH          NJ - USDC for the District of New Jersey   3:17-cv-11108         ONDERLAW, LLC
ROSENBAUER, DEBRA          NJ - USDC for the District of New Jersey   3:18-cv-03600         ONDERLAW, LLC
ROSENBLUM, MALKA           NJ - USDC for the District of New Jersey   3:21-cv-07477         ONDERLAW, LLC
ROSENSWAIKE, BARBARA       NJ - USDC for the District of New Jersey   3:21-cv-10723         ONDERLAW, LLC
ROSENTHAL, CARMEN          NJ - USDC for the District of New Jersey   3:18-cv-15158         ONDERLAW, LLC
ROSENZWEIG, ROBIN          NJ - USDC for the District of New Jersey   3:20-cv-15409         ONDERLAW, LLC
ROSETTI, CATHY             NJ - USDC for the District of New Jersey   3:21-cv-03601         ONDERLAW, LLC
ROSKI, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-06236         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ROSS, BERTHA              NJ - USDC for the District of New Jersey   3:21-cv-08961         ONDERLAW, LLC
ROSS, DOROTHY             NJ - USDC for the District of New Jersey   3:18-cv-08565         ONDERLAW, LLC
ROSS, ESTHER              NJ - USDC for the District of New Jersey   3:21-cv-06147         ONDERLAW, LLC
ROSS, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-02777         ONDERLAW, LLC
ROSS, IDELLA              NJ - USDC for the District of New Jersey   3:21-cv-06854         ONDERLAW, LLC
ROSS, KEELE               NJ - USDC for the District of New Jersey   3:21-cv-09092         ONDERLAW, LLC
ROSS, LAMEASIA            NJ - USDC for the District of New Jersey   3:20-cv-03113         ONDERLAW, LLC
ROSS, SUSAN               NJ - USDC for the District of New Jersey   3:17-cv-11148         ONDERLAW, LLC
ROSSER-LEWIS, HELEN       NJ - USDC for the District of New Jersey   3:21-cv-03692         ONDERLAW, LLC
ROSS-JOHNSON, IDA         NJ - USDC for the District of New Jersey   3:21-cv-02850         ONDERLAW, LLC
ROST-BECK, ANGELA         NJ - USDC for the District of New Jersey   3:20-cv-09577         ONDERLAW, LLC
ROSTEK, DANIELLE          NJ - USDC for the District of New Jersey   3:20-cv-20663         ONDERLAW, LLC
ROTH, BARBI               NJ - USDC for the District of New Jersey   3:20-cv-01438         ONDERLAW, LLC
ROTH, JANEEN              NJ - USDC for the District of New Jersey   3:21-cv-06433         ONDERLAW, LLC
ROTTER, LENORA            NJ - USDC for the District of New Jersey   3:18-cv-10093         ONDERLAW, LLC
ROUGHTON, KAYLA           NJ - USDC for the District of New Jersey   3:20-cv-14510         ONDERLAW, LLC
ROUNSLEY, MARY            NJ - USDC for the District of New Jersey   3:21-cv-03264         ONDERLAW, LLC
ROUSE, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-21172         ONDERLAW, LLC
ROUSE, GRACE              NJ - USDC for the District of New Jersey   3:19-cv-00011         ONDERLAW, LLC
ROUSE, SHERRYANN          NJ - USDC for the District of New Jersey   3:21-cv-04869         ONDERLAW, LLC
ROUTH, MARY               NJ - USDC for the District of New Jersey   3:21-cv-07718         ONDERLAW, LLC
ROVITO, YOLANTA           NJ - USDC for the District of New Jersey   3:17-cv-13850         ONDERLAW, LLC
ROWE, BECKY               NJ - USDC for the District of New Jersey   3:21-cv-08269         ONDERLAW, LLC
ROWE, BRIANNA             NJ - USDC for the District of New Jersey   3:17-cv-09345         ONDERLAW, LLC
ROWE, CYNTHIA             NJ - USDC for the District of New Jersey   3:21-cv-09692         ONDERLAW, LLC
ROWE, LOUANNE             NJ - USDC for the District of New Jersey   3:20-cv-03922         ONDERLAW, LLC
ROWE, RAQUEL              NJ - USDC for the District of New Jersey   3:19-cv-22005         ONDERLAW, LLC
ROWE, ROSEMARY            NJ - USDC for the District of New Jersey   3:21-cv-04996         ONDERLAW, LLC
ROWELL, TAMALA            NJ - USDC for the District of New Jersey   3:21-cv-01806         ONDERLAW, LLC
ROWLAND, LYNNE            NJ - USDC for the District of New Jersey   3:18-cv-13339         ONDERLAW, LLC
ROWLAND, SHELLIE          NJ - USDC for the District of New Jersey   3:20-cv-14508         ONDERLAW, LLC
ROWLEY, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-09504         ONDERLAW, LLC
ROWSER, FREZENA           NJ - USDC for the District of New Jersey   3:20-cv-04705         ONDERLAW, LLC
ROWSEY, SYDNEY            NJ - USDC for the District of New Jersey   3:18-cv-13089         ONDERLAW, LLC
ROY, ANGELA               NJ - USDC for the District of New Jersey   3:19-cv-22011         ONDERLAW, LLC
ROY, CLAIRE               NJ - USDC for the District of New Jersey   3:19-cv-22009         ONDERLAW, LLC
ROY, SHEILA               NJ - USDC for the District of New Jersey   3:21-cv-09103         ONDERLAW, LLC
RUBIN, ANNE               NJ - USDC for the District of New Jersey   3:17-cv-09347         ONDERLAW, LLC
RUBIN, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-13490         ONDERLAW, LLC
RUBY, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-01483         ONDERLAW, LLC
RUCH, DELIA               NJ - USDC for the District of New Jersey   3:21-cv-02970         ONDERLAW, LLC
RUCK, VERONICA            NJ - USDC for the District of New Jersey   3:18-cv-11819         ONDERLAW, LLC
RUCKER, CARLA             NJ - USDC for the District of New Jersey   3:21-cv-03021         ONDERLAW, LLC
RUCKER, JEANETTE          NJ - USDC for the District of New Jersey   3:20-cv-14989         ONDERLAW, LLC
RUCKER, WILLANNA          NJ - USDC for the District of New Jersey   3:20-cv-11101         ONDERLAW, LLC
RUDD, ANGELA              NJ - USDC for the District of New Jersey   3:21-cv-04069         ONDERLAW, LLC
RUDMAN, ANKA              NJ - USDC for the District of New Jersey   3:21-cv-04948         ONDERLAW, LLC
RUDT, MOLLIE              NJ - USDC for the District of New Jersey   3:20-cv-19019         ONDERLAW, LLC
RUFFIN, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-02793         ONDERLAW, LLC
RUFFIN, RUTH              NJ - USDC for the District of New Jersey   3:21-cv-05632         ONDERLAW, LLC
RUFFIN, TERRI             NJ - USDC for the District of New Jersey   3:21-cv-05242         ONDERLAW, LLC
RUHL, TERESA              NJ - USDC for the District of New Jersey   3:21-cv-09216         ONDERLAW, LLC
RUKA, FAITH               NJ - USDC for the District of New Jersey   3:21-cv-06840         ONDERLAW, LLC
RULLI, CATHERINE          NJ - USDC for the District of New Jersey   3:21-cv-07712         ONDERLAW, LLC
RUMBAUGH, FERN            NJ - USDC for the District of New Jersey   3:19-cv-19778         ONDERLAW, LLC
RUMMELL, SHARON           NJ - USDC for the District of New Jersey   3:18-cv-13491         ONDERLAW, LLC
RUMORE, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-08700         ONDERLAW, LLC
RUMPH, EVETTE             NJ - USDC for the District of New Jersey   3:21-cv-08948         ONDERLAW, LLC
RUMRILL, KEVIN            NJ - USDC for the District of New Jersey   3:20-cv-14425         ONDERLAW, LLC
RUNDAG, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-08947         ONDERLAW, LLC
RUNYON, STEPHANIE         MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
RUSS, BIRGITTA            NJ - USDC for the District of New Jersey   3:21-cv-06672         ONDERLAW, LLC
RUSSAW, TWILA             NJ - USDC for the District of New Jersey   3:21-cv-01474         ONDERLAW, LLC
RUSSELL, AMY              NJ - USDC for the District of New Jersey   3:21-cv-09369         ONDERLAW, LLC
RUSSELL, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-05773         ONDERLAW, LLC
RUSSELL, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-08858         ONDERLAW, LLC
RUSSELL, KATHLEEN         NJ - USDC for the District of New Jersey   3:21-cv-05531         ONDERLAW, LLC
RUSSELL, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-05730         ONDERLAW, LLC
RUSSELL, PAMELA           MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
RUSSELL, SUSANN           MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
RUSSELL, YVONNE           NJ - USDC for the District of New Jersey   3:20-cv-14996         ONDERLAW, LLC
RUSSELL-MALOW, JANET      NJ - USDC for the District of New Jersey   3:20-cv-19600         ONDERLAW, LLC
RUTH, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-09858         ONDERLAW, LLC
RUTH, KAY                 NJ - USDC for the District of New Jersey   3:21-cv-08508         ONDERLAW, LLC
RUTHERFORD, MARY          MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
RUTH-LETT, NETTI          NJ - USDC for the District of New Jersey   3:21-cv-04237         ONDERLAW, LLC
RYALS, GEORGIA            NJ - USDC for the District of New Jersey   3:19-cv-21570         ONDERLAW, LLC
RYALS, JOY                NJ - USDC for the District of New Jersey   3:21-cv-03018         ONDERLAW, LLC
RYANS, EULA               NJ - USDC for the District of New Jersey   3:19-cv-07330         ONDERLAW, LLC
RYDER, JOY                NJ - USDC for the District of New Jersey   3:21-cv-03161         ONDERLAW, LLC




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          Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
SABLAN, JULIE             NJ - USDC for the District of New Jersey   3:21-cv-04927         ONDERLAW, LLC
SABOURIN, MARGARET        MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
SACCANY, AMANDA           NJ - USDC for the District of New Jersey   3:20-cv-17447         ONDERLAW, LLC
SACCURATO, STEPHANIE      NJ - USDC for the District of New Jersey   3:20-cv-14917         ONDERLAW, LLC
SACHS, MARLENE            NJ - USDC for the District of New Jersey   3:20-cv-20680         ONDERLAW, LLC
SACHTELBEN, NANCY         NJ - USDC for the District of New Jersey   3:21-cv-08827         ONDERLAW, LLC
SADLER, MELANIE           NJ - USDC for the District of New Jersey   3:21-cv-10729         ONDERLAW, LLC
SADLER, SANDRA            MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
SAEZ, TATIANA             NJ - USDC for the District of New Jersey   3:21-cv-09006         ONDERLAW, LLC
SAFKOS, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-16178         ONDERLAW, LLC
SAGO, THERESA             NJ - USDC for the District of New Jersey   3:17-cv-12717         ONDERLAW, LLC
SAIA, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-03602         ONDERLAW, LLC
SAKOWSKI, CAROLYN         NJ - USDC for the District of New Jersey   3:21-cv-09841         ONDERLAW, LLC
SALAS, DEENA              NJ - USDC for the District of New Jersey   3:21-cv-08558         ONDERLAW, LLC
SALAS, HOLLY              NJ - USDC for the District of New Jersey   3:19-cv-22015         ONDERLAW, LLC
SALAS, SAN                NJ - USDC for the District of New Jersey   3:21-cv-01485         ONDERLAW, LLC
SALAZAR, LORI             MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
SALAZAR, NORA             NJ - USDC for the District of New Jersey   3:17-cv-10497         ONDERLAW, LLC
SALAZAR-ROYBAL, GLORIA    NJ - USDC for the District of New Jersey   3:21-cv-09300         ONDERLAW, LLC
SALCE, RUTH               NJ - USDC for the District of New Jersey   3:17-cv-09886         ONDERLAW, LLC
SALDANA, KAY              NJ - USDC for the District of New Jersey   3:21-cv-09192         ONDERLAW, LLC
SALERNO, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-08758         ONDERLAW, LLC
SALES, CHARLOTTE          NJ - USDC for the District of New Jersey   3:21-cv-05979         ONDERLAW, LLC
SALES, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-02447         ONDERLAW, LLC
SALINAS, ENRIQUETA        NJ - USDC for the District of New Jersey   3:20-cv-20670         ONDERLAW, LLC
SALISBURY, BRENDA         NJ - USDC for the District of New Jersey   3:21-cv-10733         ONDERLAW, LLC
SALKIN, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-16254         ONDERLAW, LLC
SALLEE, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-07819         ONDERLAW, LLC
SALLING, GILLIAN          NJ - USDC for the District of New Jersey   3:21-cv-06824         ONDERLAW, LLC
SALTER, KAREN             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SALTER, RUBY              NJ - USDC for the District of New Jersey   3:20-cv-12721         ONDERLAW, LLC
SALTER, WILLIE            NJ - USDC for the District of New Jersey   3:19-cv-20756         ONDERLAW, LLC
SALTERS, LAKEYSHA         NJ - USDC for the District of New Jersey   3:21-cv-04064         ONDERLAW, LLC
SALTO, ADELINA            NJ - USDC for the District of New Jersey   3:20-cv-09944         ONDERLAW, LLC
SALTPAW, JACQUELINE       NJ - USDC for the District of New Jersey   3:18-cv-10339         ONDERLAW, LLC
SALVADOR, TERESITA        NJ - USDC for the District of New Jersey   3:20-cv-19896         ONDERLAW, LLC
SALVEMINI, LISA           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
SALVO, LAURA              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
SALYERS, SHELIA           NJ - USDC for the District of New Jersey   3:21-cv-17350         ONDERLAW, LLC
SAMET, HELEN              NJ - USDC for the District of New Jersey   3:21-cv-09077         ONDERLAW, LLC
SAMPLER, DOREEN           NJ - USDC for the District of New Jersey   3:20-cv-11016         ONDERLAW, LLC
SAMPLES, BETTY            MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
SAMPSON, PHILANA          NJ - USDC for the District of New Jersey   3:21-cv-09331         ONDERLAW, LLC
SAMS, ANETTE              NJ - USDC for the District of New Jersey   3:21-cv-08172         ONDERLAW, LLC
SAMSON, CARLA             NJ - USDC for the District of New Jersey   3:21-cv-09631         ONDERLAW, LLC
SAMUELS, LESIA            NJ - USDC for the District of New Jersey   3:20-cv-07034         ONDERLAW, LLC
SAMUELS, RACHAEL          NJ - USDC for the District of New Jersey   3:18-cv-12741         ONDERLAW, LLC
SAMUELS, VIRGIE           NJ - USDC for the District of New Jersey   3:19-cv-19762         ONDERLAW, LLC
SAMURA, KOYA              NJ - USDC for the District of New Jersey   3:21-cv-04084         ONDERLAW, LLC
SAN FILIPPO, SARAH        CA - Superior Court - Butte County         17CV03200             ONDERLAW, LLC
SAN FILIPPO, SARAH        NJ - USDC for the District of New Jersey   3:17-cv-05719         ONDERLAW, LLC
SANBORN, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-03738         ONDERLAW, LLC
SANCHEZ, CONCEPCION       NJ - USDC for the District of New Jersey   3:21-cv-06291         ONDERLAW, LLC
SANCHEZ, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-10479         ONDERLAW, LLC
SANCHEZ, LENA             NJ - USDC for the District of New Jersey   3:20-cv-03724         ONDERLAW, LLC
SANCHEZ, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-03459         ONDERLAW, LLC
SANCHEZ, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-05238         ONDERLAW, LLC
SANCHEZ, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-00465         ONDERLAW, LLC
SANCHEZ, PURIFICACION     NJ - USDC for the District of New Jersey   3:19-cv-16210         ONDERLAW, LLC
SANCHEZ, YANETH           NJ - USDC for the District of New Jersey   3:21-cv-09190         ONDERLAW, LLC
SANCHEZ, YUDMILA          MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
SANCHEZ-LOPEZ, SANDRA     NJ - USDC for the District of New Jersey   3:21-cv-17324         ONDERLAW, LLC
SANDAU, LEONA             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
SANDELIN, LUCY            NJ - USDC for the District of New Jersey   3:21-cv-09762         ONDERLAW, LLC
SANDERS, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-07254         ONDERLAW, LLC
SANDERS, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-00152         ONDERLAW, LLC
SANDERS, MELEIA           NJ - USDC for the District of New Jersey   3:21-cv-18321         ONDERLAW, LLC
SANDERS, MELICA           NJ - USDC for the District of New Jersey   3:20-cv-06351         ONDERLAW, LLC
SANDERS, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-17628         ONDERLAW, LLC
SANDERS, PATTY            NJ - USDC for the District of New Jersey   3:20-cv-20664         ONDERLAW, LLC
SANDERS, ROSE             NJ - USDC for the District of New Jersey   3:21-cv-00016         ONDERLAW, LLC
SANDERS, WILLIE           NJ - USDC for the District of New Jersey   3:21-cv-04951         ONDERLAW, LLC
SANDIFER, MARY            NJ - USDC for the District of New Jersey   3:19-cv-22016         ONDERLAW, LLC
SANDMAN, JANET            GA - State Court of Gwinnett County        18C039932             ONDERLAW, LLC
SANDOVAL, DOLORES         NJ - USDC for the District of New Jersey   3:20-cv-20303         ONDERLAW, LLC
SANDOVAL, JULIE           NJ - USDC for the District of New Jersey   3:21-cv-08337         ONDERLAW, LLC
SANDS, SWANNA             NJ - USDC for the District of New Jersey   3:21-cv-04502         ONDERLAW, LLC
SANGASTIANO, DONNA        NJ - USDC for the District of New Jersey   3:21-cv-06242         ONDERLAW, LLC
SANNING, CAROL            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
SANTANA, DELIA            NJ - USDC for the District of New Jersey   3:21-cv-09607         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
SANTIAGO, LESLY            NJ - USDC for the District of New Jersey   3:17-cv-07961         ONDERLAW, LLC
SANTIAGO, SANDRA           NJ - USDC for the District of New Jersey   3:17-cv-09350         ONDERLAW, LLC
SANTOS, ANALEXIS           NJ - USDC for the District of New Jersey   3:20-cv-20298         ONDERLAW, LLC
SANTOS, DOROTHY            NJ - USDC for the District of New Jersey   3:19-cv-21116         ONDERLAW, LLC
SANTOS, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-04114         ONDERLAW, LLC
SANTOYA, GINA              NJ - USDC for the District of New Jersey   3:21-cv-05993         ONDERLAW, LLC
SAPIDA, RAFFAELA           NJ - USDC for the District of New Jersey   3:20-cv-06580         ONDERLAW, LLC
SAPP, DEIDRAE              MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SAPP, JOYCE                NJ - USDC for the District of New Jersey   3:19-cv-15331         ONDERLAW, LLC
SARABIA, JASMINE           NJ - USDC for the District of New Jersey   3:21-cv-04070         ONDERLAW, LLC
SARAPPO, ELAINE            NJ - USDC for the District of New Jersey   3:17-cv-07555         ONDERLAW, LLC
SARCHETTE, SANDRA          MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
SARDONI, REBECCA           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
SARGENT, AMBER             NJ - USDC for the District of New Jersey   3:17-cv-09869         ONDERLAW, LLC
SARGENT, DEANNA            NJ - USDC for the District of New Jersey   3:19-cv-13239         ONDERLAW, LLC
SARMIENTO, ROSSINIA        NJ - USDC for the District of New Jersey   3:21-cv-17633         ONDERLAW, LLC
SARTAIN, ROBIN             NJ - USDC for the District of New Jersey   3:21-cv-18322         ONDERLAW, LLC
SARTIN, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-06946         ONDERLAW, LLC
SASS, REBECCA              NJ - USDC for the District of New Jersey   3:20-cv-08866         ONDERLAW, LLC
SASSER, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-08367         ONDERLAW, LLC
SATTERFIELD, PATRICIA      NJ - USDC for the District of New Jersey   3:21-cv-06265         ONDERLAW, LLC
SAUCEDO, CLARA             NJ - USDC for the District of New Jersey   3:21-cv-02440         ONDERLAW, LLC
SAUCEDO, DELFINA           NJ - USDC for the District of New Jersey   3:20-cv-05411         ONDERLAW, LLC
SAUCEDO, MONICA            MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
SAUCEDO, YOLANDA           NJ - USDC for the District of New Jersey   3:21-cv-09678         ONDERLAW, LLC
SAUL, SCOTTYE              NJ - USDC for the District of New Jersey   3:20-cv-08397         ONDERLAW, LLC
SAULNIER, MELISSA          NJ - USDC for the District of New Jersey   3:18-cv-13341         ONDERLAW, LLC
SAULTER, LEAH              NJ - USDC for the District of New Jersey   3:19-cv-08119         ONDERLAW, LLC
SAUNDERS, MILDRED          NJ - USDC for the District of New Jersey   3:21-cv-06149         ONDERLAW, LLC
SAUNDERS, TERESA           NJ - USDC for the District of New Jersey   3:18-cv-08815         ONDERLAW, LLC
SAUSMAN, SHANNON           NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
SAVA, DANIELA              NJ - USDC for the District of New Jersey   3:21-cv-18166         ONDERLAW, LLC
SAVAGE, ANGELA             NJ - USDC for the District of New Jersey   3:20-cv-16930         ONDERLAW, LLC
SAVAGE, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-01032         ONDERLAW, LLC
SAVAGE, FRANCES            NJ - USDC for the District of New Jersey   3:17-cv-08352         ONDERLAW, LLC
SAVAGE, JOJEAN             NJ - USDC for the District of New Jersey   3:20-cv-14560         ONDERLAW, LLC
SAVITSKY, BROOKE           NJ - USDC for the District of New Jersey   3:19-cv-16193         ONDERLAW, LLC
SAVOIE, MARY               NJ - USDC for the District of New Jersey   3:21-cv-02242         ONDERLAW, LLC
SAVUSA, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-02409         ONDERLAW, LLC
SAWTELLE, LORRIE           NJ - USDC for the District of New Jersey   3:21-cv-03101         ONDERLAW, LLC
SAWYER, BONNIE             MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SAWYER, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-01834         ONDERLAW, LLC
SAWYER, JOY                NJ - USDC for the District of New Jersey   3:17-cv-09939         ONDERLAW, LLC
SAWYER, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-04874         ONDERLAW, LLC
SAYLER, SARAH              NJ - USDC for the District of New Jersey   3:18-cv-13493         ONDERLAW, LLC
SAYLOR, APRIL              NJ - USDC for the District of New Jersey   3:21-cv-05791         ONDERLAW, LLC
SAYLOR, GEORGIA            NJ - USDC for the District of New Jersey   3:20-cv-09945         ONDERLAW, LLC
SAYLOR, KRISTINE           NJ - USDC for the District of New Jersey   3:21-cv-07778         ONDERLAW, LLC
SAYLOR, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-04113         ONDERLAW, LLC
SCAGLIONE, JOAN            NJ - USDC for the District of New Jersey   3:17-cv-01970         ONDERLAW, LLC
SCALA, MARILYN             NJ - USDC for the District of New Jersey   3:18-cv-03123         ONDERLAW, LLC
SCALES, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-07536         ONDERLAW, LLC
SCALZO, DONNA              NJ - USDC for the District of New Jersey   3:20-cv-09489         ONDERLAW, LLC
SCANLON, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-04071         ONDERLAW, LLC
SCARBERRY, BEATRICE        NJ - USDC for the District of New Jersey   3:21-cv-04044         ONDERLAW, LLC
SCARBOROUGH-OLAGUE, MARY   NJ - USDC for the District of New Jersey   3:17-cv-09908         ONDERLAW, LLC
SCARLETT-ROGERS, JANET     MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
SCATTAREGGAN, LAURA        NJ - USDC for the District of New Jersey   3:21-cv-09330         ONDERLAW, LLC
SCERBO, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-09271         ONDERLAW, LLC
SCHABER, GINGER            NJ - USDC for the District of New Jersey   3:18-cv-04991         ONDERLAW, LLC
SCHACKEL, JANEEN           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SCHAEFER, LORRAINE         NJ - USDC for the District of New Jersey   3:20-cv-03116         ONDERLAW, LLC
SCHAFER-FLATT, NATALIE     NJ - USDC for the District of New Jersey   3:21-cv-02898         ONDERLAW, LLC
SCHAFFER, JANE             NJ - USDC for the District of New Jersey   3:18-cv-15329         ONDERLAW, LLC
SCHAFFER, LESLIE           NJ - USDC for the District of New Jersey   3:21-cv-09114         ONDERLAW, LLC
SCHALIT, ERICA             NJ - USDC for the District of New Jersey   3:21-cv-04283         ONDERLAW, LLC
SCHAMP, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-11095         ONDERLAW, LLC
SCHARFSTEIN, HARRIET       NJ - USDC for the District of New Jersey   3:21-cv-09323         ONDERLAW, LLC
SCHAUB, NORA               MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SCHAUMKEL, ALISI           NJ - USDC for the District of New Jersey   3:21-cv-06007         ONDERLAW, LLC
SCHEFTNER, TRACIE          MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
SCHEIDT, CYNTHIA           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SCHELLING, MARY            NJ - USDC for the District of New Jersey   3:20-cv-16615         ONDERLAW, LLC
SCHERER, LORI              NJ - USDC for the District of New Jersey   3:17-cv-09951         ONDERLAW, LLC
SCHESSO, JUDITH            NJ - USDC for the District of New Jersey   3:19-cv-05885         ONDERLAW, LLC
SCHIAVONI, KELLIE          NJ - USDC for the District of New Jersey   3:20-cv-12223         ONDERLAW, LLC
SCHIFFMAN, EVALYN          NJ - USDC for the District of New Jersey   3:17-cv-10902         ONDERLAW, LLC
SCHILLING, JOANNE          NJ - USDC for the District of New Jersey   3:21-cv-04879         ONDERLAW, LLC
SCHIMKE, STACIE            NJ - USDC for the District of New Jersey   3:20-cv-00878         ONDERLAW, LLC
SCHLEIF, MARY              NJ - USDC for the District of New Jersey   3:21-cv-17634         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SCHLOSSER, LISA           NJ - USDC for the District of New Jersey   3:17-cv-12225         ONDERLAW, LLC
SCHMEAR, SHERYL           NJ - USDC for the District of New Jersey   3:17-cv-09817         ONDERLAW, LLC
SCHMERMUND, STEPHANIE     NJ - USDC for the District of New Jersey   3:20-cv-07762         ONDERLAW, LLC
SCHMIDT, JUDY             NJ - USDC for the District of New Jersey   3:18-cv-00890         ONDERLAW, LLC
SCHMIDT, VICKI            NJ - USDC for the District of New Jersey   3:18-cv-13532         ONDERLAW, LLC
SCHMIGIEL, CAROLYN        NJ - USDC for the District of New Jersey   3:20-cv-07686         ONDERLAW, LLC
SCHMITT, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-06581         ONDERLAW, LLC
SCHMITT, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-08962         ONDERLAW, LLC
SCHMITZ, ANN              MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SCHNEBELEN, CATHY         NJ - USDC for the District of New Jersey   3:17-cv-09354         ONDERLAW, LLC
SCHNECKLOTH, DAWN         NJ - USDC for the District of New Jersey   3:21-cv-03943         ONDERLAW, LLC
SCHNEIDER, CAROL          NJ - USDC for the District of New Jersey   3:21-cv-10735         ONDERLAW, LLC
SCHNEIDER, PATRICIA       NJ - USDC for the District of New Jersey   3:18-cv-11974         ONDERLAW, LLC
SCHNOEBELEN, PAMELA       NJ - USDC for the District of New Jersey   3:21-cv-08434         ONDERLAW, LLC
SCHOCH, KATHY             NJ - USDC for the District of New Jersey   3:18-cv-10994         ONDERLAW, LLC
SCHOCK, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-07332         ONDERLAW, LLC
SCHOCK, TRISHA            NJ - USDC for the District of New Jersey   3:17-cv-11187         ONDERLAW, LLC
SCHOEN, AUDRA             NJ - USDC for the District of New Jersey   3:18-cv-12301         ONDERLAW, LLC
SCHOFIELD, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-06241         ONDERLAW, LLC
SCHOLIN, JOANNE           NJ - USDC for the District of New Jersey   3:21-cv-01482         ONDERLAW, LLC
SCHOLL, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-06716         ONDERLAW, LLC
SCHOLL, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-13499         ONDERLAW, LLC
SCHOONOVER, GAIL          MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SCHRAM, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-01718         ONDERLAW, LLC
SCHRECK, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-18324         ONDERLAW, LLC
SCHREIBER, TIFFANY        NJ - USDC for the District of New Jersey   3:18-cv-11375         ONDERLAW, LLC
SCHROCK, AMANDA           NJ - USDC for the District of New Jersey   3:20-cv-02611         ONDERLAW, LLC
SCHROCK, JULIE            NJ - USDC for the District of New Jersey   3:20-cv-05963         ONDERLAW, LLC
SCHUDE, CHRISTEN          NJ - USDC for the District of New Jersey   3:18-cv-03393         ONDERLAW, LLC
SCHUELLER, DIAN           NJ - USDC for the District of New Jersey   3:20-cv-13923         ONDERLAW, LLC
SCHUKERT, SHEILA          MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SCHULER, MARZELLA         NJ - USDC for the District of New Jersey   3:21-cv-06418         ONDERLAW, LLC
SCHULTE, LOUISE           NJ - USDC for the District of New Jersey   3:18-cv-08816         ONDERLAW, LLC
SCHULTES-GILLASPY, LOIS   NJ - USDC for the District of New Jersey   3:21-cv-01498         ONDERLAW, LLC
SCHULTZ, CARLA            NJ - USDC for the District of New Jersey   3:20-cv-15726         ONDERLAW, LLC
SCHULTZ, GERALDINE        NJ - USDC for the District of New Jersey   3:21-cv-06086         ONDERLAW, LLC
SCHULTZ, JULIA            NJ - USDC for the District of New Jersey   3:20-cv-18331         ONDERLAW, LLC
SCHULTZ, PAULA            NJ - USDC for the District of New Jersey   3:21-cv-09283         ONDERLAW, LLC
SCHULTZ, ROBIN            NJ - USDC for the District of New Jersey   3:18-cv-05677         ONDERLAW, LLC
SCHULTZ, TINA-MARIE       NJ - USDC for the District of New Jersey   3:21-cv-02730         ONDERLAW, LLC
SCHURMAN, REBECCA         MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SCHWARTZ, DEBRA           NJ - USDC for the District of New Jersey   3:19-cv-08121         ONDERLAW, LLC
SCHWARTZ, ROSALIND        NJ - USDC for the District of New Jersey   3:17-cv-07912         ONDERLAW, LLC
SCHWARZ, MARIBEL          NJ - USDC for the District of New Jersey   3:20-cv-14947         ONDERLAW, LLC
SCHWARZE, SHIRLEY         NJ - USDC for the District of New Jersey   3:18-cv-08156         ONDERLAW, LLC
SCOGGINS, RHONDA          NJ - USDC for the District of New Jersey   3:21-cv-01160         ONDERLAW, LLC
SCOTT, BEVERLY            NJ - USDC for the District of New Jersey   3:17-cv-07929         ONDERLAW, LLC
SCOTT, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-09150         ONDERLAW, LLC
SCOTT, CAROLYN            NJ - USDC for the District of New Jersey   3:19-cv-12202         ONDERLAW, LLC
SCOTT, CRYSTAL            NJ - USDC for the District of New Jersey   3:18-cv-13370         ONDERLAW, LLC
SCOTT, DANA               NJ - USDC for the District of New Jersey   3:21-cv-03846         ONDERLAW, LLC
SCOTT, DEANNE             NJ - USDC for the District of New Jersey   3:20-cv-06945         ONDERLAW, LLC
SCOTT, DORA               NJ - USDC for the District of New Jersey   3:21-cv-05004         ONDERLAW, LLC
SCOTT, EMMA               NJ - USDC for the District of New Jersey   3:21-cv-03945         ONDERLAW, LLC
SCOTT, JAMESETTA          NJ - USDC for the District of New Jersey   3:21-cv-05459         ONDERLAW, LLC
SCOTT, KATHLEEN           NJ - USDC for the District of New Jersey   3:21-cv-06579         ONDERLAW, LLC
SCOTT, KIM                NJ - USDC for the District of New Jersey   3:21-cv-02665         ONDERLAW, LLC
SCOTT, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-08626         ONDERLAW, LLC
SCOTT, LAURA              NJ - USDC for the District of New Jersey   3:21-cv-07084         ONDERLAW, LLC
SCOTT, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
SCOTT, NAOMI              NJ - USDC for the District of New Jersey   3:21-cv-05472         ONDERLAW, LLC
SCOTT, ODESSA             NJ - USDC for the District of New Jersey   3:21-cv-06572         ONDERLAW, LLC
SCOTT, PATSY              NJ - USDC for the District of New Jersey   3:21-cv-08830         ONDERLAW, LLC
SCOTT, PEBBLE             NJ - USDC for the District of New Jersey   3:19-cv-22086         ONDERLAW, LLC
SCOTT, ROSEMAY            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
SCOTT, SHANNON            NJ - USDC for the District of New Jersey   3:21-cv-09088         ONDERLAW, LLC
SCOTT, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-05314         ONDERLAW, LLC
SCOTT-BRUE, ANNETTE       NJ - USDC for the District of New Jersey   3:21-cv-04557         ONDERLAW, LLC
SCROGGS, MARCELLA         NJ - USDC for the District of New Jersey   3:21-cv-06189         ONDERLAW, LLC
SCRUGGS, DANIELLE         NJ - USDC for the District of New Jersey   3:21-cv-18438         ONDERLAW, LLC
SEABLOOM, CATHERINE       MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
SEAGER, AMY               NJ - USDC for the District of New Jersey   3:19-cv-15745         ONDERLAW, LLC
SEAL, DARLENE             NJ - USDC for the District of New Jersey   3:21-cv-10736         ONDERLAW, LLC
SEALS, HAZEL              NJ - USDC for the District of New Jersey   3:21-cv-06390         ONDERLAW, LLC
SEAMONE, LISA             NJ - USDC for the District of New Jersey   3:17-cv-08759         ONDERLAW, LLC
SEARGEANT, BRANDI         NJ - USDC for the District of New Jersey   3:21-cv-07937         ONDERLAW, LLC
SEARLES, EVELYN           NJ - USDC for the District of New Jersey   3:21-cv-01161         ONDERLAW, LLC
SEARS, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-07371         ONDERLAW, LLC
SEARS, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-08310         ONDERLAW, LLC
SECRIST, KRISSA           NJ - USDC for the District of New Jersey   3:19-cv-09087         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SEDAR, REBECCA             MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
SEDICINO, JANICE           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
SEEBOLD, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-07341         ONDERLAW, LLC
SEEFELDT, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-09905         ONDERLAW, LLC
SEELEY, THERESA            NJ - USDC for the District of New Jersey   3:19-cv-06292         ONDERLAW, LLC
SEELY, WILMA               NJ - USDC for the District of New Jersey   3:19-cv-12761         ONDERLAW, LLC
SEESE, VIRGINIA            NJ - USDC for the District of New Jersey   3:21-cv-03330         ONDERLAW, LLC
SEGER, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-07994         ONDERLAW, LLC
SEGHIAN, ILANA             MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
SEGLER, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-07470         ONDERLAW, LLC
SEIJA, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-09095         ONDERLAW, LLC
SEILER, MARILYN            NJ - USDC for the District of New Jersey   3:19-cv-01141         ONDERLAW, LLC
SEILING, JEANETTE          NJ - USDC for the District of New Jersey   3:20-cv-08228         ONDERLAW, LLC
SELBERG-DECKER, PAMELA     NJ - USDC for the District of New Jersey   3:21-cv-04812         ONDERLAW, LLC
SELLERS, JEANETTE          NJ - USDC for the District of New Jersey   3:19-cv-19775         ONDERLAW, LLC
SELLERS, LORRAINE          NJ - USDC for the District of New Jersey   3:19-cv-10268         ONDERLAW, LLC
SELLERS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09617         ONDERLAW, LLC
SELLERS, NOVICE            NJ - USDC for the District of New Jersey   3:20-cv-05112         ONDERLAW, LLC
SELLERS, SHANNON           NJ - USDC for the District of New Jersey   3:21-cv-06928         ONDERLAW, LLC
SEMAGO, RACHEL             NJ - USDC for the District of New Jersey   3:21-cv-04120         ONDERLAW, LLC
SEMBLER, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-06803         ONDERLAW, LLC
SEMEL, JUDITH              NJ - USDC for the District of New Jersey   3:21-cv-09911         ONDERLAW, LLC
SEMENAS, ROSEMARY          NJ - USDC for the District of New Jersey   3:17-cv-02396         ONDERLAW, LLC
SEMIEN, MONICA             NJ - USDC for the District of New Jersey   3:21-cv-05769         ONDERLAW, LLC
SEMMEL, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-10738         ONDERLAW, LLC
SEMMENS, SUSAN             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
SEMPADIAN, VILMA           NJ - USDC for the District of New Jersey   3:21-cv-01497         ONDERLAW, LLC
SENNET, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-06778         ONDERLAW, LLC
SEPULVEDA, MARTHA          MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
SERMENO, JULIANA           NJ - USDC for the District of New Jersey   3:19-cv-19734         ONDERLAW, LLC
SERNA, MARICELA            NJ - USDC for the District of New Jersey   3:21-cv-08353         ONDERLAW, LLC
SERVA, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-07302         ONDERLAW, LLC
SERVIN, SYLVIA             NJ - USDC for the District of New Jersey   3:21-cv-02246         ONDERLAW, LLC
SESSION, FLORIE            NJ - USDC for the District of New Jersey   3:21-cv-06438         ONDERLAW, LLC
SEVINSKY, MARY             NJ - USDC for the District of New Jersey   3:21-cv-08528         ONDERLAW, LLC
SEXTON, CAROLE             NJ - USDC for the District of New Jersey   3:17-cv-09857         ONDERLAW, LLC
SEXTON, PATRICIA           MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SEXTRO, SKYLAR             NJ - USDC for the District of New Jersey   3:21-cv-08440         ONDERLAW, LLC
SHACK, MICHELE             NJ - USDC for the District of New Jersey   3:21-cv-01227         ONDERLAW, LLC
SHACKELFORD, BRENDA        NJ - USDC for the District of New Jersey   3:21-cv-01345         ONDERLAW, LLC
SHACKLEFORD, JANENE        NJ - USDC for the District of New Jersey   3:19-cv-12582         ONDERLAW, LLC
SHAFFER, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-13090         ONDERLAW, LLC
SHAMBURGER, VALERIE        NJ - USDC for the District of New Jersey   3:21-cv-04882         ONDERLAW, LLC
SHANDORF, MARILYN          NJ - USDC for the District of New Jersey   3:20-cv-02120         ONDERLAW, LLC
SHANNON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-00013         ONDERLAW, LLC
SHANNON, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-20685         ONDERLAW, LLC
SHAPIRO-TERNER, ELLEN      NJ - USDC for the District of New Jersey   3:17-cv-11130         ONDERLAW, LLC
SHARMA, SAVITA             NJ - USDC for the District of New Jersey   3:20-cv-20479         ONDERLAW, LLC
SHARON ADEE                NJ - USDC for the District of New Jersey   3:21-cv-18310         ONDERLAW, LLC
SHARON MURRAY              NJ - USDC for the District of New Jersey   3:21-cv-18309         ONDERLAW, LLC
SHARP, CAROLYN             NJ - USDC for the District of New Jersey   3:21-cv-05742         ONDERLAW, LLC
SHARP, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-03160         ONDERLAW, LLC
SHARPSTEEN, MARY           NJ - USDC for the District of New Jersey   3:21-cv-06729         ONDERLAW, LLC
SHARPSTEEN, MELISSA        NJ - USDC for the District of New Jersey   3:20-cv-12786         ONDERLAW, LLC
SHARPTON, DARLA            NJ - USDC for the District of New Jersey   3:21-cv-08594         ONDERLAW, LLC
SHASKY, LEE                MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
SHAW, AMBER                NJ - USDC for the District of New Jersey   3:21-cv-08013         ONDERLAW, LLC
SHAW, BERTHA               NJ - USDC for the District of New Jersey   3:21-cv-06863         ONDERLAW, LLC
SHAW, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-06153         ONDERLAW, LLC
SHAW, JACQUELINE           NJ - USDC for the District of New Jersey   3:17-cv-11739         ONDERLAW, LLC
SHAW, JEANIE               MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
SHAW, LISA                 NJ - USDC for the District of New Jersey   3:20-cv-09946         ONDERLAW, LLC
SHAW, ROSE                 MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
SHAWHAN, JOANIE            NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
SHEA, COLLEEN              MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
SHEA, DONNA                NJ - USDC for the District of New Jersey   3:19-cv-09590         ONDERLAW, LLC
SHEA, THERESE              NJ - USDC for the District of New Jersey   3:19-cv-00014         ONDERLAW, LLC
SHEEDER, JAMIE             NJ - USDC for the District of New Jersey   3:18-cv-15151         ONDERLAW, LLC
SHEEHAN, ANNE              NJ - USDC for the District of New Jersey   3:20-cv-01477         ONDERLAW, LLC
SHEEHAN, MARY              NJ - USDC for the District of New Jersey   3:19-cv-12879         ONDERLAW, LLC
SHEFFIELD, SALLY           NJ - USDC for the District of New Jersey   3:19-cv-14763         ONDERLAW, LLC
SHEFLIN, ROCHELLE          NJ - USDC for the District of New Jersey   3:19-cv-22087         ONDERLAW, LLC
SHELBY, AMANDA             NJ - USDC for the District of New Jersey   3:21-cv-09882         ONDERLAW, LLC
SHELL, AMY                 NJ - USDC for the District of New Jersey   3:21-cv-16965         ONDERLAW, LLC
SHELTON, CONNIE            NJ - USDC for the District of New Jersey   3:21-cv-09226         ONDERLAW, LLC
SHELTON, JOY               NJ - USDC for the District of New Jersey   3:17-cv-10985         ONDERLAW, LLC
SHELTON, KATHY             NJ - USDC for the District of New Jersey   3:17-cv-08761         ONDERLAW, LLC
SHELTON, MARY              NJ - USDC for the District of New Jersey   3:20-cv-12224         ONDERLAW, LLC
SHELTON, REGINA            NJ - USDC for the District of New Jersey   3:17-cv-07962         ONDERLAW, LLC
SHEPHERD, CAROL            MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SHEPHERD, GAIL            NJ - USDC for the District of New Jersey   3:21-cv-03241         ONDERLAW, LLC
SHEPHERD, LOUISE          NJ - USDC for the District of New Jersey   3:21-cv-08309         ONDERLAW, LLC
SHEPHERD, MARSHA          NJ - USDC for the District of New Jersey   3:21-cv-05832         ONDERLAW, LLC
SHEPHERD, NANCY           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SHEPHERD, SHERRI          NJ - USDC for the District of New Jersey   3:21-cv-03066         ONDERLAW, LLC
SHEPPARD, GWENDOLYN       NJ - USDC for the District of New Jersey   3:21-cv-17004         ONDERLAW, LLC
SHERBLOM, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-08075         ONDERLAW, LLC
SHERIDAN, ANNMARIE        NJ - USDC for the District of New Jersey   3:21-cv-08082         ONDERLAW, LLC
SHERMAN, DULCIE           NJ - USDC for the District of New Jersey   3:21-cv-02747         ONDERLAW, LLC
SHERMAN, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-07561         ONDERLAW, LLC
SHERMAN, TAMMY            NJ - USDC for the District of New Jersey   3:21-cv-09614         ONDERLAW, LLC
SHERROD, CATHERINE        NJ - USDC for the District of New Jersey   3:20-cv-09949         ONDERLAW, LLC
SHERRY, CHARINE           MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
SHIEKMAN, MINDY           NJ - USDC for the District of New Jersey   3:20-cv-18335         ONDERLAW, LLC
SHIELDS, ANN              NJ - USDC for the District of New Jersey   3:19-cv-08381         ONDERLAW, LLC
SHIELDS, KATHERINE        NJ - USDC for the District of New Jersey   3:19-cv-10399         ONDERLAW, LLC
SHIELDS, KATINA           NJ - USDC for the District of New Jersey   3:21-cv-17162         ONDERLAW, LLC
SHIELDS, MARCIA           NJ - USDC for the District of New Jersey   3:21-cv-01496         ONDERLAW, LLC
SHILES, GENEVA            NJ - USDC for the District of New Jersey   3:20-cv-09496         ONDERLAW, LLC
SHIMON, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-08379         ONDERLAW, LLC
SHINER, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-07776         ONDERLAW, LLC
SHIPLEY, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-05694         ONDERLAW, LLC
SHIRER, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-07554         ONDERLAW, LLC
SHISILA, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-09132         ONDERLAW, LLC
SHIVER, ELLEN             NJ - USDC for the District of New Jersey   3:20-cv-03587         ONDERLAW, LLC
SHIVERS, EURA             NJ - USDC for the District of New Jersey   3:21-cv-07855         ONDERLAW, LLC
SHIVERS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-06570         ONDERLAW, LLC
SHIVERS, PAULINE          NJ - USDC for the District of New Jersey   3:21-cv-08442         ONDERLAW, LLC
SHIVLEY, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-22136         ONDERLAW, LLC
SHLIGER, DAYNA            NJ - USDC for the District of New Jersey   3:17-cv-00800         ONDERLAW, LLC
SHOCKLEY, KARMISHA        NJ - USDC for the District of New Jersey   3:21-cv-16903         ONDERLAW, LLC
SHOCKLEY, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-08767         ONDERLAW, LLC
SHOEMAKER, STEPHANIE      NJ - USDC for the District of New Jersey   3:21-cv-01609         ONDERLAW, LLC
SHONKWILER, LISA          NJ - USDC for the District of New Jersey   3:21-cv-02653         ONDERLAW, LLC
SHOOSHTARI, AGDAS         NJ - USDC for the District of New Jersey   3:21-cv-10750         ONDERLAW, LLC
SHOPE, KATHRYN            NJ - USDC for the District of New Jersey   3:18-cv-16104         ONDERLAW, LLC
SHORT, CAROLE             NJ - USDC for the District of New Jersey   3:21-cv-04970         ONDERLAW, LLC
SHORT, GLADYS             NJ - USDC for the District of New Jersey   3:21-cv-02696         ONDERLAW, LLC
SHORT, JEWELL             NJ - USDC for the District of New Jersey   3:21-cv-07098         ONDERLAW, LLC
SHORT, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-13371         ONDERLAW, LLC
SHORT, MADONNA            NJ - USDC for the District of New Jersey   3:20-cv-20073         ONDERLAW, LLC
SHOWERS, SUNDAYE          NJ - USDC for the District of New Jersey   3:21-cv-05812         ONDERLAW, LLC
SHPUR, TINA               NJ - USDC for the District of New Jersey   3:20-cv-18447         ONDERLAW, LLC
SHRIFT, GWEN              NJ - USDC for the District of New Jersey   3:18-cv-15731         ONDERLAW, LLC
SHROYER, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09093         ONDERLAW, LLC
SHULER, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-04881         ONDERLAW, LLC
SHULUND, SUZAN            NJ - USDC for the District of New Jersey   3:19-cv-12459         ONDERLAW, LLC
SHUPE, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-04912         ONDERLAW, LLC
SIDDIQ, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-05230         ONDERLAW, LLC
SIDDIQUI, SHAMEEM         NJ - USDC for the District of New Jersey   3:21-cv-08198         ONDERLAW, LLC
SIDONIS, BYLLYE           NJ - USDC for the District of New Jersey   3:21-cv-01999         ONDERLAW, LLC
SIDRANSKY, LISA           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
SIEGELBAUM, MARSHA        NJ - USDC for the District of New Jersey   3:19-cv-19567         ONDERLAW, LLC
SIGNORINO, KATHERINE      NJ - USDC for the District of New Jersey   3:18-cv-03132         ONDERLAW, LLC
SILBY, TAMMY              NJ - USDC for the District of New Jersey   3:17-cv-09358         ONDERLAW, LLC
SILCOX, LINNEA            NJ - USDC for the District of New Jersey   3:21-cv-06117         ONDERLAW, LLC
SILLS, RACHEL             NJ - USDC for the District of New Jersey   3:21-cv-08607         ONDERLAW, LLC
SILMON, ANTIONETTE        NJ - USDC for the District of New Jersey   3:21-cv-06294         ONDERLAW, LLC
SILVA, MARIA              MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SILVA, RENEE              CA - Superior Court - San Joaquin County   STK-CV-UPL-2017-0011581 ONDERLAW, LLC
SILVA, RENEE              NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
SILVA, RUTH               NJ - USDC for the District of New Jersey   3:18-cv-08417         ONDERLAW, LLC
SILVER, LYDIA             NJ - USDC for the District of New Jersey   3:19-cv-22088         ONDERLAW, LLC
SILVERMAN, MARION         NJ - USDC for the District of New Jersey   3:21-cv-07966         ONDERLAW, LLC
SILVES, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-04089         ONDERLAW, LLC
SILVIA, MICHAELA          NJ - USDC for the District of New Jersey   3:21-cv-06937         ONDERLAW, LLC
SILVIO, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-20312         ONDERLAW, LLC
SIMAS, JULIETA            NJ - USDC for the District of New Jersey   3:21-cv-04822         ONDERLAW, LLC
SIMMONDS, JO              NJ - USDC for the District of New Jersey   3:21-cv-06805         ONDERLAW, LLC
SIMMONS, BRANDY           NJ - USDC for the District of New Jersey   3:21-cv-17403         ONDERLAW, LLC
SIMMONS, CARRIE           CA - Superior Court - Shasta County        188587                ONDERLAW, LLC
SIMMONS, CARRIE           NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
SIMMONS, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-02270         ONDERLAW, LLC
SIMMONS, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-02695         ONDERLAW, LLC
SIMMONS, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-16931         ONDERLAW, LLC
SIMMONS, LAKESHA          NJ - USDC for the District of New Jersey   3:21-cv-06818         ONDERLAW, LLC
SIMMONS, SINISE           NJ - USDC for the District of New Jersey   3:21-cv-02949         ONDERLAW, LLC
SIMMS, JANET              NJ - USDC for the District of New Jersey   3:21-cv-02830         ONDERLAW, LLC
SIMMS, WANDA              NJ - USDC for the District of New Jersey   3:20-cv-05966         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SIMON, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-07566         ONDERLAW, LLC
SIMON, SELESIA             NJ - USDC for the District of New Jersey   3:18-cv-16975         ONDERLAW, LLC
SIMONETTI, DOROTHY         NJ - USDC for the District of New Jersey   3:20-cv-06587         ONDERLAW, LLC
SIMONSON, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-09100         ONDERLAW, LLC
SIMPSON, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-19899         ONDERLAW, LLC
SIMPSON, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-05573         ONDERLAW, LLC
SIMPSON, DIANNE            NJ - USDC for the District of New Jersey   3:20-cv-17454         ONDERLAW, LLC
SIMPSON, DONNA             NJ - USDC for the District of New Jersey   3:19-cv-13054         ONDERLAW, LLC
SIMPSON, MARIE             MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
SIMPSON, MARILYN           NJ - USDC for the District of New Jersey   3:21-cv-05109         ONDERLAW, LLC
SIMPSON, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-05113         ONDERLAW, LLC
SIMPSON, SHEILA            NJ - USDC for the District of New Jersey   3:17-cv-08353         ONDERLAW, LLC
SIMPSON, SHELLENIA         NJ - USDC for the District of New Jersey   3:21-cv-17040         ONDERLAW, LLC
SIMS, CECILY               NJ - USDC for the District of New Jersey   3:19-cv-18646         ONDERLAW, LLC
SIMS, DAWN                 NJ - USDC for the District of New Jersey   3:21-cv-06895         ONDERLAW, LLC
SIMS, GUADALUPE            NJ - USDC for the District of New Jersey   3:21-cv-09413         ONDERLAW, LLC
SIMS, JOYCE                NJ - USDC for the District of New Jersey   3:21-cv-07770         ONDERLAW, LLC
SIMS, LOLA                 NJ - USDC for the District of New Jersey   3:21-cv-01223         ONDERLAW, LLC
SIMS, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-01583         ONDERLAW, LLC
SIMS, SHARON               NJ - USDC for the District of New Jersey   3:12-cv-17636         ONDERLAW, LLC
SIMS, SHARON               NJ - USDC for the District of New Jersey   3:21-cv-17636         ONDERLAW, LLC
SIMS, SHIRLEY              NJ - USDC for the District of New Jersey   3:17-cv-08782         ONDERLAW, LLC
SINE, NORMA                NJ - USDC for the District of New Jersey   3:18-cv-03389         ONDERLAW, LLC
SINGH, KUMARI              NJ - USDC for the District of New Jersey   3:19-cv-08834         ONDERLAW, LLC
SINGH, SARDAMA             NJ - USDC for the District of New Jersey   3:20-cv-10739         ONDERLAW, LLC
SINGLETARY, JEAN           NJ - USDC for the District of New Jersey   3:19-cv-14402         ONDERLAW, LLC
SINISI, DORA               NJ - USDC for the District of New Jersey   3:21-cv-06031         ONDERLAW, LLC
SINK, DEBORAH              NJ - USDC for the District of New Jersey   3:21-cv-08034         ONDERLAW, LLC
SIPE, STACY                NJ - USDC for the District of New Jersey   3:18-cv-12302         ONDERLAW, LLC
SIPES, DAEOSIONAE          NJ - USDC for the District of New Jersey   3:21-cv-17404         ONDERLAW, LLC
SISSINE, GRACIELA          NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
SITLER, ANDREA             NJ - USDC for the District of New Jersey   3:20-cv-07466         ONDERLAW, LLC
SIZEMORE, GLENDA           NJ - USDC for the District of New Jersey   3:21-cv-02792         ONDERLAW, LLC
SIZEMORE, JOAN             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SKAGGS, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-17186         ONDERLAW, LLC
SKALA, KATHY               MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
SKALA, MARY                NJ - USDC for the District of New Jersey   3:18-cv-04992         ONDERLAW, LLC
SKALLA, PATTI              NJ - USDC for the District of New Jersey   3:18-cv-11033         ONDERLAW, LLC
SKELF, SHAWN               NJ - USDC for the District of New Jersey   3:20-cv-00356         ONDERLAW, LLC
SKESTONE, JUDITH           NJ - USDC for the District of New Jersey   3:20-cv-02148         ONDERLAW, LLC
SKINNER, CRYSTAL           NJ - USDC for the District of New Jersey   3:19-cv-14762         ONDERLAW, LLC
SKINNER, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
SKINNER, DIANA             NJ - USDC for the District of New Jersey   3:21-cv-04093         ONDERLAW, LLC
SKIPWITH, CHYU             NJ - USDC for the District of New Jersey   3:19-cv-22089         ONDERLAW, LLC
SKOFF, VICTORIA            NJ - USDC for the District of New Jersey   3:20-cv-01583         ONDERLAW, LLC
SKOGERBOE, JACCI           NJ - USDC for the District of New Jersey   3:21-cv-02651         ONDERLAW, LLC
SKOWEN, MARIE              NJ - USDC for the District of New Jersey   3:20-cv-14729         ONDERLAW, LLC
SLADE, LELIA               NJ - USDC for the District of New Jersey   3:20-cv-18448         ONDERLAW, LLC
SLAGLE, SONIA              NJ - USDC for the District of New Jersey   3:21-cv-07191         ONDERLAW, LLC
SLAMA, LORAINE             NJ - USDC for the District of New Jersey   3:21-cv-08392         ONDERLAW, LLC
SLANKARD, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-05456         ONDERLAW, LLC
SLAUGHTER, NELSA           NJ - USDC for the District of New Jersey   3:21-cv-09466         ONDERLAW, LLC
SLAY, BONNIE               NJ - USDC for the District of New Jersey   3:21-cv-09927         ONDERLAW, LLC
SLAZYK, CATHY              MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
SLEDGE, EMILY              NJ - USDC for the District of New Jersey   3:21-cv-00883         ONDERLAW, LLC
SLOAN, CRYSTAL             NJ - USDC for the District of New Jersey   3:20-cv-20482         ONDERLAW, LLC
SLOAN, DARCIE              NJ - USDC for the District of New Jersey   3:21-cv-02888         ONDERLAW, LLC
SLOAN, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-10713         ONDERLAW, LLC
SLOGGIE, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-04814         ONDERLAW, LLC
SLOMICZ, BARBARA           MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
SLOMOVIC, LORRAINE         NJ - USDC for the District of New Jersey   3:17-cv-09870         ONDERLAW, LLC
SLONE, JENNIE              NJ - USDC for the District of New Jersey   3:21-cv-08810         ONDERLAW, LLC
SLONE, TESSA               NJ - USDC for the District of New Jersey   3:21-cv-05593         ONDERLAW, LLC
SLOPER, LISA               MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SLOTTE, SOPHIA             NJ - USDC for the District of New Jersey   3:21-cv-06466         ONDERLAW, LLC
SLUTSKY, BETTE             NJ - USDC for the District of New Jersey   3:21-cv-10751         ONDERLAW, LLC
SMALL, DARLINE             NJ - USDC for the District of New Jersey   3:21-cv-06256         ONDERLAW, LLC
SMALL, VIVIAN              NJ - USDC for the District of New Jersey   3:21-cv-06288         ONDERLAW, LLC
SMALLS, MELANIE            NJ - USDC for the District of New Jersey   3:17-cv-09871         ONDERLAW, LLC
SMEDLEY, MARIE             NJ - USDC for the District of New Jersey   3:18-cv-01372         ONDERLAW, LLC
SMEETON, GINA              NJ - USDC for the District of New Jersey   3:19-cv-21168         ONDERLAW, LLC
SMID, REGINA               NJ - USDC for the District of New Jersey   3:21-cv-05648         ONDERLAW, LLC
SMILEY, SALLY              NJ - USDC for the District of New Jersey   3:17-cv-08764         ONDERLAW, LLC
SMITH (MO), ANN            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
SMITH, ADELLE              NJ - USDC for the District of New Jersey   3:19-cv-14503         ONDERLAW, LLC
SMITH, ALEISA              MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
SMITH, ALNITA              NJ - USDC for the District of New Jersey   3:21-cv-06274         ONDERLAW, LLC
SMITH, ANNETTE             NJ - USDC for the District of New Jersey   3:21-cv-17637         ONDERLAW, LLC
SMITH, ARIEL               NJ - USDC for the District of New Jersey   3:19-cv-22092         ONDERLAW, LLC
SMITH, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-15403         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SMITH, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-02945         ONDERLAW, LLC
SMITH, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-01159         ONDERLAW, LLC
SMITH, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-02655         ONDERLAW, LLC
SMITH, BRENDA             MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SMITH, BRITTANY           NJ - USDC for the District of New Jersey   3:21-cv-02842         ONDERLAW, LLC
SMITH, BRITTNEY           NJ - USDC for the District of New Jersey   3:21-cv-05532         ONDERLAW, LLC
SMITH, BRITTNI            NJ - USDC for the District of New Jersey   3:21-cv-18231         ONDERLAW, LLC
SMITH, CAMMY              NJ - USDC for the District of New Jersey   3:18-cv-13667         ONDERLAW, LLC
SMITH, CANDICE            NJ - USDC for the District of New Jersey   3:17-cv-08354         ONDERLAW, LLC
SMITH, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-09802         ONDERLAW, LLC
SMITH, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-05520         ONDERLAW, LLC
SMITH, CARRIE             MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
SMITH, CHERI              NJ - USDC for the District of New Jersey   3:21-cv-03276         ONDERLAW, LLC
SMITH, CHERRY             NJ - USDC for the District of New Jersey   3:21-cv-04664         ONDERLAW, LLC
SMITH, CHRISTINA          NJ - USDC for the District of New Jersey   3:21-cv-02563         ONDERLAW, LLC
SMITH, CHRISTINE          MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SMITH, CHRISTINE          NJ - USDC for the District of New Jersey   3:21-cv-06683         ONDERLAW, LLC
SMITH, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-02795         ONDERLAW, LLC
SMITH, DEBORAH            NJ - USDC for the District of New Jersey   3:21-cv-01622         ONDERLAW, LLC
SMITH, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-08209         ONDERLAW, LLC
SMITH, DENICE             NJ - USDC for the District of New Jersey   3:21-cv-03988         ONDERLAW, LLC
SMITH, DESIREE            NJ - USDC for the District of New Jersey   3:20-cv-20705         ONDERLAW, LLC
SMITH, DIANA              NJ - USDC for the District of New Jersey   3:17-cv-07772         ONDERLAW, LLC
SMITH, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-04227         ONDERLAW, LLC
SMITH, DOROTHY            NJ - USDC for the District of New Jersey   3:21-cv-04638         ONDERLAW, LLC
SMITH, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-09639         ONDERLAW, LLC
SMITH, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-10754         ONDERLAW, LLC
SMITH, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-09072         ONDERLAW, LLC
SMITH, IDA                NJ - USDC for the District of New Jersey   3:21-cv-18326         ONDERLAW, LLC
SMITH, IRIS               NJ - USDC for the District of New Jersey   3:21-cv-05535         ONDERLAW, LLC
SMITH, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-08560         ONDERLAW, LLC
SMITH, JANET              MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
SMITH, JANET              NJ - USDC for the District of New Jersey   3:21-cv-01945         ONDERLAW, LLC
SMITH, JEANNETTE          NJ - USDC for the District of New Jersey   3:19-cv-10157         ONDERLAW, LLC
SMITH, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-04295         ONDERLAW, LLC
SMITH, JOCELYN            NJ - USDC for the District of New Jersey   3:17-cv-09360         ONDERLAW, LLC
SMITH, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-02161         ONDERLAW, LLC
SMITH, JUSTINE            NJ - USDC for the District of New Jersey   3:21-cv-02559         ONDERLAW, LLC
SMITH, KAREN              NJ - USDC for the District of New Jersey   3:20-cv-02658         ONDERLAW, LLC
SMITH, KARLA              NJ - USDC for the District of New Jersey   3:21-cv-01802         ONDERLAW, LLC
SMITH, KATHY              NJ - USDC for the District of New Jersey   3:17-cv-13841         ONDERLAW, LLC
SMITH, KELLI              NJ - USDC for the District of New Jersey   3:21-cv-09675         ONDERLAW, LLC
SMITH, LAKESIA            NJ - USDC for the District of New Jersey   3:21-cv-03541         ONDERLAW, LLC
SMITH, LARITA             MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SMITH, LILLIAN            NJ - USDC for the District of New Jersey   3:20-cv-06971         ONDERLAW, LLC
SMITH, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-11197         ONDERLAW, LLC
SMITH, LOIS               NJ - USDC for the District of New Jersey   3:21-cv-03979         ONDERLAW, LLC
SMITH, LONA               NJ - USDC for the District of New Jersey   3:21-cv-09347         ONDERLAW, LLC
SMITH, LORI               NJ - USDC for the District of New Jersey   3:21-cv-03953         ONDERLAW, LLC
SMITH, LYNN               NJ - USDC for the District of New Jersey   3:21-cv-06277         ONDERLAW, LLC
SMITH, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-05234         ONDERLAW, LLC
SMITH, MARIAN             NJ - USDC for the District of New Jersey   3:21-cv-03689         ONDERLAW, LLC
SMITH, MARIANNE           NJ - USDC for the District of New Jersey   3:17-cv-07924         ONDERLAW, LLC
SMITH, MARJORIE           NJ - USDC for the District of New Jersey   3:21-cv-06600         ONDERLAW, LLC
SMITH, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-15359         ONDERLAW, LLC
SMITH, MARY               NJ - USDC for the District of New Jersey   3:21-cv-06554         ONDERLAW, LLC
SMITH, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-01592         ONDERLAW, LLC
SMITH, PATRICIA           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SMITH, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-11881         ONDERLAW, LLC
SMITH, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-05719         ONDERLAW, LLC
SMITH, PATSY              NJ - USDC for the District of New Jersey   3:21-cv-13738         ONDERLAW, LLC
SMITH, PAULA              NJ - USDC for the District of New Jersey   3:17-cv-09872         ONDERLAW, LLC
SMITH, PERNECIA           NJ - USDC for the District of New Jersey   3:21-cv-05562         ONDERLAW, LLC
SMITH, PRISCILLA          NJ - USDC for the District of New Jersey   3:20-cv-00880         ONDERLAW, LLC
SMITH, QUANNAH            NJ - USDC for the District of New Jersey   3:21-cv-16981         ONDERLAW, LLC
SMITH, RAQUEL             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SMITH, RITA               NJ - USDC for the District of New Jersey   3:21-cv-05982         ONDERLAW, LLC
SMITH, ROBYN              NJ - USDC for the District of New Jersey   3:17-cv-09940         ONDERLAW, LLC
SMITH, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-04873         ONDERLAW, LLC
SMITH, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-17639         ONDERLAW, LLC
SMITH, SHARO              NJ - USDC for the District of New Jersey   3:21-cv-08054         ONDERLAW, LLC
SMITH, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-06772         ONDERLAW, LLC
SMITH, SHARON             NJ - USDC for the District of New Jersey   3:17-cv-09892         ONDERLAW, LLC
SMITH, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-08816         ONDERLAW, LLC
SMITH, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-20734         ONDERLAW, LLC
SMITH, STACEY             NJ - USDC for the District of New Jersey   3:21-cv-05679         ONDERLAW, LLC
SMITH, STACY              NJ - USDC for the District of New Jersey   3:21-cv-01696         ONDERLAW, LLC
SMITH, STARR              NJ - USDC for the District of New Jersey   3:21-cv-03849         ONDERLAW, LLC
SMITH, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-04597         ONDERLAW, LLC
SMITH, TARJI              NJ - USDC for the District of New Jersey   3:19-cv-07329         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
SMITH, TERESA              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
SMITH, TRACI               MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
SMITH, VANESSA             NJ - USDC for the District of New Jersey   3:19-cv-12081         ONDERLAW, LLC
SMITH, VERA                NJ - USDC for the District of New Jersey   3:19-cv-00015         ONDERLAW, LLC
SMITH, WANDA               NJ - USDC for the District of New Jersey   3:21-cv-06479         ONDERLAW, LLC
SMITH, WANDA               NJ - USDC for the District of New Jersey   3:21-cv-07714         ONDERLAW, LLC
SMITH-CRAWFORD, JENNIFER   NJ - USDC for the District of New Jersey   3:21-cv-05164         ONDERLAW, LLC
SMITH-GILBERT, ANGELA      NJ - USDC for the District of New Jersey   3:21-cv-05508         ONDERLAW, LLC
SMITH-PARKS, LISA          NJ - USDC for the District of New Jersey   3:20-cv-05905         ONDERLAW, LLC
SMITH-PRIMO, LINDA         NJ - USDC for the District of New Jersey   3:21-cv-06388         ONDERLAW, LLC
SMITHSON, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-16998         ONDERLAW, LLC
SMITHSON, DIANA            NJ - USDC for the District of New Jersey   3:19-cv-08471         ONDERLAW, LLC
SMOCK, DIANA               NJ - USDC for the District of New Jersey   3:19-cv-12133         ONDERLAW, LLC
SMOTHERMAN, LOUIDA         NJ - USDC for the District of New Jersey   3:17-cv-10489         ONDERLAW, LLC
SMUZINSKY, JOYCE           NJ - USDC for the District of New Jersey   3:18-cv-13873         ONDERLAW, LLC
SMYSER, LAURA              NJ - USDC for the District of New Jersey   3:21-cv17641          ONDERLAW, LLC
SMYTH, LAUREN              NJ - USDC for the District of New Jersey   3:21-cv-09865         ONDERLAW, LLC
SNELL, KATHLENE            NJ - USDC for the District of New Jersey   3:17-cv-11010         ONDERLAW, LLC
SNELLING, TANYA            NJ - USDC for the District of New Jersey   3:19-cv-01123         ONDERLAW, LLC
SNELLS, SHARHONDA          NJ - USDC for the District of New Jersey   3:21-cv-09542         ONDERLAW, LLC
SNOW, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-09310         ONDERLAW, LLC
SNOW, WENDY                NJ - USDC for the District of New Jersey   3:18-cv-12409         ONDERLAW, LLC
SNYDER, MADELINE           NJ - USDC for the District of New Jersey   3:21-cv-06243         ONDERLAW, LLC
SNYDER, ROSALIE            NJ - USDC for the District of New Jersey   3:21-cv-16803         ONDERLAW, LLC
SNYDER, SHIRLEY            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SOBHANI, SHIREEN           NJ - USDC for the District of New Jersey   3:21-cv-13392         ONDERLAW, LLC
SOBIESKI, LYNDA            NJ - USDC for the District of New Jersey   3:19-cv-12462         ONDERLAW, LLC
SOBOJINSKI, MONTA          NJ - USDC for the District of New Jersey   3:20-cv-20690         ONDERLAW, LLC
SOCHACKI, KRISTIE          NJ - USDC for the District of New Jersey   3:19-cv-00728         ONDERLAW, LLC
SODDERS, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-08545         ONDERLAW, LLC
SODERMAN, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-14914         ONDERLAW, LLC
SOFIELD, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-12160         ONDERLAW, LLC
SOFMAN, BESSIE             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
SOHN, ROBIN                NJ - USDC for the District of New Jersey   3:21-cv-08218         ONDERLAW, LLC
SOILEAU, AMANDA            NJ - USDC for the District of New Jersey   3:20-cv-13921         ONDERLAW, LLC
SOILEAU, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-00938         ONDERLAW, LLC
SOILEAU, PATRICIA          MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
SOLANKY, SHEELA            NJ - USDC for the District of New Jersey   3:19-cv-14506         ONDERLAW, LLC
SOLANO, IRMA               NJ - USDC for the District of New Jersey   3:21-cv-01495         ONDERLAW, LLC
SOLARI, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-09089         ONDERLAW, LLC
SOLIDUM, JUDITH            MO - Circuit Court - City of St. Louis     1822-CC06811          ONDERLAW, LLC
SOLIS, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-16967         ONDERLAW, LLC
SOLIS, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-13560         ONDERLAW, LLC
SOLIZ, SARAH               NJ - USDC for the District of New Jersey   3:21-cv-03822         ONDERLAW, LLC
SOLLARS, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-10400         ONDERLAW, LLC
SOLLECITO, BECKY           NJ - USDC for the District of New Jersey   3:17-cv-10116         ONDERLAW, LLC
SOLOMAN, ANNIE             NJ - USDC for the District of New Jersey   3:21-cv-01826         ONDERLAW, LLC
SOLOMAN, VERONICA          NJ - USDC for the District of New Jersey   3:21-cv-02678         ONDERLAW, LLC
SOLORZANO, LILIANA         NJ - USDC for the District of New Jersey   3:21-cv-06018         ONDERLAW, LLC
SONGER, BERNARDETTE        NJ - USDC for the District of New Jersey   3:18-cv-13963         ONDERLAW, LLC
SOON, LEAFA                MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
SOPER, LISA                NJ - USDC for the District of New Jersey   3:18-cv-13968         ONDERLAW, LLC
SORENSEN, VICKY            NJ - USDC for the District of New Jersey   3:21-cv-17000         ONDERLAW, LLC
SORRELLS, BESSIE           NJ - USDC for the District of New Jersey   3:20-cv-04173         ONDERLAW, LLC
SOSNOSKI, DAWN             NJ - USDC for the District of New Jersey   3:21-cv-10867         ONDERLAW, LLC
SOSTEK, GALE               NJ - USDC for the District of New Jersey   3:21-cv-04881         ONDERLAW, LLC
SOTO, BEVERLEE             NJ - USDC for the District of New Jersey   3:21-cv-04604         ONDERLAW, LLC
SOTO, MARTHA               NJ - USDC for the District of New Jersey   3:21-cv-05551         ONDERLAW, LLC
SOTO, PATRICIA             MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
SOTO-MARQUEZ, MARIANA      MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
SOTO-ROMAN, MARIA          NJ - USDC for the District of New Jersey   3:21-cv-07784         ONDERLAW, LLC
SOUKUP, IRIS               NJ - USDC for the District of New Jersey   3:21-cv-10758         ONDERLAW, LLC
SOUTHARD, THERESA          NJ - USDC for the District of New Jersey   3:17-cv-08765         ONDERLAW, LLC
SOUTHERN, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-01245         ONDERLAW, LLC
SOUZA, MARGUERITE          NJ - USDC for the District of New Jersey   3:21-cv-17645         ONDERLAW, LLC
SOWRAY, GWENDOLINE         NJ - USDC for the District of New Jersey   3:19-cv-09288         ONDERLAW, LLC
SOZA, DELORES              NJ - USDC for the District of New Jersey   3:18-cv-08373         ONDERLAW, LLC
SPADARO, SALOME            NJ - USDC for the District of New Jersey   3:19-cv-09338         ONDERLAW, LLC
SPADY, JOSEPHINE           NJ - USDC for the District of New Jersey   3:21-cv-05655         ONDERLAW, LLC
SPAIN, FAY                 NJ - USDC for the District of New Jersey   3:21-cv-06119         ONDERLAW, LLC
SPANGLER, MARIETTA         NJ - USDC for the District of New Jersey   3:17-cv-11292         ONDERLAW, LLC
SPANKO, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-09272         ONDERLAW, LLC
SPANN, LAURIE              NJ - USDC for the District of New Jersey   3:20-cv-10465         ONDERLAW, LLC
SPANO, TERRY               NJ - USDC for the District of New Jersey   3:21-cv-08197         ONDERLAW, LLC
SPARKMAN, MARGARET         MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SPARKS, CINNAMON           MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
SPARKS, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-04028         ONDERLAW, LLC
SPARKS, MELISA             NJ - USDC for the District of New Jersey   3:21-cv-17797         ONDERLAW, LLC
SPARKS, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-13240         ONDERLAW, LLC
SPATES, CECILIA            NJ - USDC for the District of New Jersey   3:21-cv-02847         ONDERLAW, LLC




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SPAUN, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-18234         ONDERLAW, LLC
SPEARS, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-05237         ONDERLAW, LLC
SPEARS, LORETTA            NJ - USDC for the District of New Jersey   3:21-cv-09133         ONDERLAW, LLC
SPEARS, TANISHA            NJ - USDC for the District of New Jersey   3:18-cv-03603         ONDERLAW, LLC
SPECHT, ANGELINE           NJ - USDC for the District of New Jersey   3:21-cv-06020         ONDERLAW, LLC
SPECK, BARBARA             NJ - USDC for the District of New Jersey   3:18-cv-12413         ONDERLAW, LLC
SPEECE, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-05908         ONDERLAW, LLC
SPEICHER, MARYANNE         NJ - USDC for the District of New Jersey   3:18-cv-10350         ONDERLAW, LLC
SPELTS, CHANTEL            NJ - USDC for the District of New Jersey   3:21-cv-05388         ONDERLAW, LLC
SPELTS, SPELTS             NJ - USDC for the District of New Jersey   3:18-cv-13668         ONDERLAW, LLC
SPENCE, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-01449         ONDERLAW, LLC
SPENCE, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-02729         ONDERLAW, LLC
SPENCE, ROSEMARY           NJ - USDC for the District of New Jersey   3:21-cv-08234         ONDERLAW, LLC
SPENCER, HESTER            NJ - USDC for the District of New Jersey   3:21-cv-06392         ONDERLAW, LLC
SPENCER, MARTHA            NJ - USDC for the District of New Jersey   3:19-cv-13186         ONDERLAW, LLC
SPENCER, MARYLOU           NJ - USDC for the District of New Jersey   3:20-cv-09951         ONDERLAW, LLC
SPENCER, TERRY             NJ - USDC for the District of New Jersey   3:18-cv-13343         ONDERLAW, LLC
SPERBECK, VIRGINIA         NJ - USDC for the District of New Jersey   3:21-cv-08148         ONDERLAW, LLC
SPICER, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-06184         ONDERLAW, LLC
SPIELAR, YAFFA             NJ - USDC for the District of New Jersey   3:20-cv-10571         ONDERLAW, LLC
SPIKER, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-17460         ONDERLAW, LLC
SPILLER, GAIL              NJ - USDC for the District of New Jersey   3:19-cv-09113         ONDERLAW, LLC
SPILLER, JESSICA           NJ - USDC for the District of New Jersey   3:18-cv-13494         ONDERLAW, LLC
SPINK, JUDY                NJ - USDC for the District of New Jersey   3:21-cv-03360         ONDERLAW, LLC
SPINNEY, JILL              NJ - USDC for the District of New Jersey   3:18-cv-13496         ONDERLAW, LLC
SPITZER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-02411         ONDERLAW, LLC
SPLAIN, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-11097         ONDERLAW, LLC
SPOONEMORE, DEBRA          NJ - USDC for the District of New Jersey   3:21-cv-17048         ONDERLAW, LLC
SPORKA, GRACE              NJ - USDC for the District of New Jersey   3:21-cv-03382         ONDERLAW, LLC
SPRADLIN, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-03831         ONDERLAW, LLC
SPRAKER, FAYE              NJ - USDC for the District of New Jersey   3:21-cv-09722         ONDERLAW, LLC
SPRINGER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-06591         ONDERLAW, LLC
ST JOHN, AUDREY BALANAY    NJ - USDC for the District of New Jersey   3:20-cv-20363         ONDERLAW, LLC
ST. JOHN, DEBBIE           MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
STACEY, GAIL               NJ - USDC for the District of New Jersey   3:20-cv-16257         ONDERLAW, LLC
STACY, ANN                 NJ - USDC for the District of New Jersey   3:20-cv-20484         ONDERLAW, LLC
STACY, JOYCE               MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
STAFF, KIMBERLY            NJ - USDC for the District of New Jersey   3:21-cv-04880         ONDERLAW, LLC
STAFFORD, DONNA            MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
STAFFORD, LESLIE           NJ - USDC for the District of New Jersey   3:21-cv-16799         ONDERLAW, LLC
STAFFORD, PATSY            NJ - USDC for the District of New Jersey   3:20-cv-14206         ONDERLAW, LLC
STAHL, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-09258         ONDERLAW, LLC
STAHL, DONNA               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
STAHL, RITA                NJ - USDC for the District of New Jersey   3:21-cv-08210         ONDERLAW, LLC
STAHL, SHELBY              NJ - USDC for the District of New Jersey   3:21-cv-03100         ONDERLAW, LLC
STALEY, BELINDA            NJ - USDC for the District of New Jersey   3:20-cv-20735         ONDERLAW, LLC
STALEY, STACY              NJ - USDC for the District of New Jersey   3:20-cv-20714         ONDERLAW, LLC
STALNAKER, VELMA           NJ - USDC for the District of New Jersey   3:20-CV-06780         ONDERLAW, LLC
STAMPER, PATTY             NJ - USDC for the District of New Jersey   3:21-cv-09447         ONDERLAW, LLC
STAMPS, MARY               NJ - USDC for the District of New Jersey   3:17-cv-08524         ONDERLAW, LLC
STAND, ELIZABETH           NJ - USDC for the District of New Jersey   3:19-cv-12034         ONDERLAW, LLC
STANDFORD, RUTHA           NJ - USDC for the District of New Jersey   3:20-cv-04347         ONDERLAW, LLC
STANGL, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
STANKO, JAN                NJ - USDC for the District of New Jersey   3:21-cv-18327         ONDERLAW, LLC
STANLEY, CONNIE            NJ - USDC for the District of New Jersey   3:21-cv-02203         ONDERLAW, LLC
STANLEY, GENA              NJ - USDC for the District of New Jersey   3:17-cv-10762         ONDERLAW, LLC
STANLEY, GENEVIEVE         NJ - USDC for the District of New Jersey   3:21-cv-05020         ONDERLAW, LLC
STANLEY, JANET             NJ - USDC for the District of New Jersey   3:21-cv-01570         ONDERLAW, LLC
STANSBURY, ASHLEY          NJ - USDC for the District of New Jersey   3:21-cv-02003         ONDERLAW, LLC
STANTON-IRICK, JEANNE      NJ - USDC for the District of New Jersey   3:19-cv-01129         ONDERLAW, LLC
STARCHER, VANESSA          NJ - USDC for the District of New Jersey   3:21-cv-03352         ONDERLAW, LLC
STARKES, BONNIE            NJ - USDC for the District of New Jersey   3:17-cv-08772         ONDERLAW, LLC
STARKEY, MARY              NJ - USDC for the District of New Jersey   3:21-cv-06565         ONDERLAW, LLC
STARKEY, TERRI             NJ - USDC for the District of New Jersey   3:21-cv-03641         ONDERLAW, LLC
STARKS, LAWANDA            NJ - USDC for the District of New Jersey   3:20-cv-12892         ONDERLAW, LLC
STARNES, MARY              NJ - USDC for the District of New Jersey   3:20-cv-05785         ONDERLAW, LLC
STARNES, TAMYRA            NJ - USDC for the District of New Jersey   3:21-cv-09052         ONDERLAW, LLC
STARR, DEON                NJ - USDC for the District of New Jersey   3:21-cv-03067         ONDERLAW, LLC
STASNY, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-01158         ONDERLAW, LLC
STATEN, MARQUITA           NJ - USDC for the District of New Jersey   3:21-cv-18279         ONDERLAW, LLC
STATFELD, ADRIENNE         NJ - USDC for the District of New Jersey   3:19-cv-04421         ONDERLAW, LLC
STEADHAM, DEBBIE           NJ - USDC for the District of New Jersey   3:18-cv-14885         ONDERLAW, LLC
STEARNS, VICTORIA          NJ - USDC for the District of New Jersey   3:20-cv-00053         ONDERLAW, LLC
STEBELTON, KYLEEN          NJ - USDC for the District of New Jersey   3:20-cv-13253         ONDERLAW, LLC
STEEDMAN, NORMA            NJ - USDC for the District of New Jersey   3:21-cv-09051         ONDERLAW, LLC
STEELE, CARMELA            NJ - USDC for the District of New Jersey   3:19-cv-16219         ONDERLAW, LLC
STEELE, FELICIA            NJ - USDC for the District of New Jersey   3:21-cv-02033         ONDERLAW, LLC
STEELE, GAIL               NJ - USDC for the District of New Jersey   3:17-cv-03946         ONDERLAW, LLC
STEELE, ROSEMARIE          NJ - USDC for the District of New Jersey   3:21-cv-07611         ONDERLAW, LLC
STEELE, TAMIKA             NJ - USDC for the District of New Jersey   3:21-cv-16906         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
STEENS, LA RAYNE          CA - Superior Court - Sacramento County    34-2017-00221575      ONDERLAW, LLC
STEFFEE, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-09078         ONDERLAW, LLC
STEGEMAN, TEDDIE          NJ - USDC for the District of New Jersey   3:21-cv-06784         ONDERLAW, LLC
STEIN, JANET              NJ - USDC for the District of New Jersey   3:21-cv-07697         ONDERLAW, LLC
STEIN, JULIANNE           NJ - USDC for the District of New Jersey   3:18-cv-12969         ONDERLAW, LLC
STEIN, JULIE              NJ - USDC for the District of New Jersey   3:17-cv-09952         ONDERLAW, LLC
STEIN, ROCHELLE           NJ - USDC for the District of New Jersey   3:21-cv-03929         ONDERLAW, LLC
STEINBERG, HARRIET        NJ - USDC for the District of New Jersey   3:21-cv-03244         ONDERLAW, LLC
STEINER, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-09164         ONDERLAW, LLC
STEINER, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-16969         ONDERLAW, LLC
STEINER, RUTH             NJ - USDC for the District of New Jersey   3:21-cv-06639         ONDERLAW, LLC
STEINKRAUS, LUCIA         NJ - USDC for the District of New Jersey   3:20-cv-20723         ONDERLAW, LLC
STEMPER, AMANDA           NJ - USDC for the District of New Jersey   3:21-cv-02382         ONDERLAW, LLC
STEMPF, KATHRYN           NJ - USDC for the District of New Jersey   3:17-cv-09080         ONDERLAW, LLC
STENSKE, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-20704         ONDERLAW, LLC
STENSON, SHADEE           NJ - USDC for the District of New Jersey   3:21-cv-08057         ONDERLAW, LLC
STENTIFORD, ELEANOR       NJ - USDC for the District of New Jersey   3:19-cv-00016         ONDERLAW, LLC
STEPHENS, KATHY           NJ - USDC for the District of New Jersey   3:21-cv-17781         ONDERLAW, LLC
STEPHENS, RHONDA          NJ - USDC for the District of New Jersey   3:21-cv-03489         ONDERLAW, LLC
STEPHENS, SHARON          NJ - USDC for the District of New Jersey   3:18-cv-12303         ONDERLAW, LLC
STEPHENS, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-05609         ONDERLAW, LLC
STEPHENSON, HELEN         NJ - USDC for the District of New Jersey   3:20-cv-20726         ONDERLAW, LLC
STEPHENSON, VERA          NJ - USDC for the District of New Jersey   3:18-cv-10096         ONDERLAW, LLC
STEPNITZ, CONNIE          NJ - USDC for the District of New Jersey   3:21-cv-09389         ONDERLAW, LLC
STERIS, PENNY             NJ - USDC for the District of New Jersey   3:18-cv-10718         ONDERLAW, LLC
STERN, GEORGIA            NJ - USDC for the District of New Jersey   3:20-cv-00538         ONDERLAW, LLC
STEVENS, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-06249         ONDERLAW, LLC
STEVENS, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-00735         ONDERLAW, LLC
STEVENS, FRANCES          NJ - USDC for the District of New Jersey   3:21-cv-05382         ONDERLAW, LLC
STEVENS, JOSEPHINE        NJ - USDC for the District of New Jersey   3:20-cv-20694         ONDERLAW, LLC
STEVENS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-09621         ONDERLAW, LLC
STEVENS, MICHELLE         NJ - USDC for the District of New Jersey   3:21-cv-06248         ONDERLAW, LLC
STEVENS, NANCIANNE        NJ - USDC for the District of New Jersey   3:17-cv-11118         ONDERLAW, LLC
STEVENS, PAMELA           NJ - USDC for the District of New Jersey   3:20-cv-14997         ONDERLAW, LLC
STEVENS, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-07436         ONDERLAW, LLC
STEVENS, TERRI            NJ - USDC for the District of New Jersey   3:20-cv-20675         ONDERLAW, LLC
STEVENS-MOLER, ALMA       NJ - USDC for the District of New Jersey   3:21-cv-03238         ONDERLAW, LLC
STEVENSON, JOYCE          NJ - USDC for the District of New Jersey   3:21-cv-03737         ONDERLAW, LLC
STEVENSON, JUDY           NJ - USDC for the District of New Jersey   3:21-cv-06136         ONDERLAW, LLC
STEVENSON, SABRINA        NJ - USDC for the District of New Jersey   3:21-cv-05504         ONDERLAW, LLC
STEVENSON, SANDY          NJ - USDC for the District of New Jersey   3:21-cv-03354         ONDERLAW, LLC
STEWARD, DADRIAN          NJ - USDC for the District of New Jersey   3:21-cv-06800         ONDERLAW, LLC
STEWARD, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-17647         ONDERLAW, LLC
STEWARD, JENNIFER         NJ - USDC for the District of New Jersey   3:18-cv-09643         ONDERLAW, LLC
STEWARD, RACHEL           NJ - USDC for the District of New Jersey   3:21-cv-06853         ONDERLAW, LLC
STEWART, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-03164         ONDERLAW, LLC
STEWART, DEENA            NJ - USDC for the District of New Jersey   3:21-cv-07495         ONDERLAW, LLC
STEWART, JUNE             NJ - USDC for the District of New Jersey   3:20-cv-14208         ONDERLAW, LLC
STEWART, KATHY            NJ - USDC for the District of New Jersey   3:21-cv-00760         ONDERLAW, LLC
STEWART, LOISTINE         NJ - USDC for the District of New Jersey   3:21-cv-04702         ONDERLAW, LLC
STEWART, SHERRI           NJ - USDC for the District of New Jersey   3:18-cv-08003         ONDERLAW, LLC
STEWART, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-03213         ONDERLAW, LLC
STEWART, VICKI            NJ - USDC for the District of New Jersey   3:21-cv-05315         ONDERLAW, LLC
STEWART, VIRGINIA         NJ - USDC for the District of New Jersey   3:17-cv-09584         ONDERLAW, LLC
STICKLES, JUDITH          NJ - USDC for the District of New Jersey   3:18-cv-14887         ONDERLAW, LLC
STICKROD, JODORA          NJ - USDC for the District of New Jersey   3:21-cv-05670         ONDERLAW, LLC
STIDHAM, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-05654         ONDERLAW, LLC
STIGERS, SHONDA           NJ - USDC for the District of New Jersey   3:21-cv-17649         ONDERLAW, LLC
STIGLER, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-17450         ONDERLAW, LLC
STIGLIANO, DIANE          NJ - USDC for the District of New Jersey   3:19-cv-09592         ONDERLAW, LLC
STILES, REBECCA           NJ - USDC for the District of New Jersey   3:20-cv-14918         ONDERLAW, LLC
STILTNER, PRISCILLA       MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
STINSON, DOROTHY          NJ - USDC for the District of New Jersey   3:21-cv-06633         ONDERLAW, LLC
STIRCKLAND, TAMMY         NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
STOCK, DOLORES            NJ - USDC for the District of New Jersey   3:18-cv-10353         ONDERLAW, LLC
STOCKS, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-17360         ONDERLAW, LLC
STOCKTON, TAMALYN         CA - Superior Court - Sonoma County        SCV261482             ONDERLAW, LLC
STOCKTON, TAMALYN         NJ - USDC for the District of New Jersey   3:17-cv-07929         ONDERLAW, LLC
STOCKTON, TONYA           NJ - USDC for the District of New Jersey   3:21-cv-07768         ONDERLAW, LLC
STODDARD, KATHLEEN        MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
STODDARD, SHARON          NJ - USDC for the District of New Jersey   3:18-cv-14746         ONDERLAW, LLC
STOIA, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-15742         ONDERLAW, LLC
STOKER, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv16801          ONDERLAW, LLC
STOKES, DESTINE           NJ - USDC for the District of New Jersey   3:21-cv-06137         ONDERLAW, LLC
STOKES, JENNIFER          NJ - USDC for the District of New Jersey   3:21-cv-06776         ONDERLAW, LLC
STOKES, RHONDA            NJ - USDC for the District of New Jersey   3:20-cv-09953         ONDERLAW, LLC
STOKES, RYONNA            NJ - USDC for the District of New Jersey   3:21-cv-07642         ONDERLAW, LLC
STOKES, VICKIE            NJ - USDC for the District of New Jersey   3:21-cv-02624         ONDERLAW, LLC
STOMMEL, MARY             NJ - USDC for the District of New Jersey   3:21-cv-09529         ONDERLAW, LLC
STONE, DANIELLE           NJ - USDC for the District of New Jersey   3:20-cv-02456         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
STONE, HELEN               NJ - USDC for the District of New Jersey   3:18-cv-03483         ONDERLAW, LLC
STONE, KATHLEEN            NJ - USDC for the District of New Jersey   3:21-cv-06955         ONDERLAW, LLC
STONE, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-04171         ONDERLAW, LLC
STONE, RITA                NJ - USDC for the District of New Jersey   3:18-cv-13972         ONDERLAW, LLC
STONE, TINA                NJ - USDC for the District of New Jersey   3:21-cv-05445         ONDERLAW, LLC
STONEHOCKER, BARBARA       NJ - USDC for the District of New Jersey   3:21-cv-03068         ONDERLAW, LLC
STONER, YVONNE             NJ - USDC for the District of New Jersey   3:21-cv-07947         ONDERLAW, LLC
STORANDT, KAREN            MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
STORM, LISA                NJ - USDC for the District of New Jersey   3:21-cv-08651         ONDERLAW, LLC
STORY, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
STORY, JANELLE             NJ - USDC for the District of New Jersey   3:21-cv-05586         ONDERLAW, LLC
STOUDERMIRE, MARY          NJ - USDC for the District of New Jersey   3:21-cv-03485         ONDERLAW, LLC
STOUT, MONICA              NJ - USDC for the District of New Jersey   3:21-cv-08318         ONDERLAW, LLC
STOVALL, GLADYS            NJ - USDC for the District of New Jersey   3:21-cv-02546         ONDERLAW, LLC
STOVALL, LENA              NJ - USDC for the District of New Jersey   3:20-cv-06709         ONDERLAW, LLC
STOVALL, LOU               NJ - USDC for the District of New Jersey   3:19-cv-09028         ONDERLAW, LLC
STOVER, ALMA               MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
STOVER, LANARMA            NJ - USDC for the District of New Jersey   3:18-cv-09743         ONDERLAW, LLC
STOVER, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-03387         ONDERLAW, LLC
STOWE, ROBIN               NJ - USDC for the District of New Jersey   3:19-cv-22093         ONDERLAW, LLC
STRABEL, JEANNE            NJ - USDC for the District of New Jersey   3:19-cv-15329         ONDERLAW, LLC
STRANDVOLD, FREDA          NJ - USDC for the District of New Jersey   3:21-cv-06266         ONDERLAW, LLC
STRATER, ERIN              NJ - USDC for the District of New Jersey   3:21-cv-02916         ONDERLAW, LLC
STRAUB, MARY               NJ - USDC for the District of New Jersey   3:21-cv-05688         ONDERLAW, LLC
STREET, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-07376         ONDERLAW, LLC
STREETER, STEVEN           NJ - USDC for the District of New Jersey   3:21-cv-08289         ONDERLAW, LLC
STRELAU, JADWIGA           NJ - USDC for the District of New Jersey   3:21-cv-10761         ONDERLAW, LLC
STRELECKY, LISA            NJ - USDC for the District of New Jersey   3:18-cv-10097         ONDERLAW, LLC
STRICKLAND, ELIZABETH      NJ - USDC for the District of New Jersey   3:21-cv-02767         ONDERLAW, LLC
STRICKLAND, VONDA          NJ - USDC for the District of New Jersey   3:21-cv-09816         ONDERLAW, LLC
STRICKLEN, MONICA          MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
STRIEGLE, ALICIA           NJ - USDC for the District of New Jersey   3:21-cv-03603         ONDERLAW, LLC
STRINGER, DOROTHY          NJ - USDC for the District of New Jersey   3:19-cv-08467         ONDERLAW, LLC
STRINGER, KATHERINE, SR.   NJ - USDC for the District of New Jersey   3:21-cv-05499         ONDERLAW, LLC
STRINGFELLOW, MARTHA       NJ - USDC for the District of New Jersey   3:21-cv-04106         ONDERLAW, LLC
STRINGFELLOW, MOESHA       NJ - USDC for the District of New Jersey   3:21-cv-08813         ONDERLAW, LLC
STROHL, JANE               NJ - USDC for the District of New Jersey   3:21-cv-08139         ONDERLAW, LLC
STRONG, REBECCA            NJ - USDC for the District of New Jersey   3:17-cv-13088         ONDERLAW, LLC
STROTHER, CRYSTAL          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
STROUD, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-02583         ONDERLAW, LLC
STROUPE, BEVERLY           NJ - USDC for the District of New Jersey   3:21-cv-09234         ONDERLAW, LLC
STUART, UNNI               NJ - USDC for the District of New Jersey   3:20-cv-20279         ONDERLAW, LLC
STUBBS, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-11152         ONDERLAW, LLC
STUBBS, SABRINA            NJ - USDC for the District of New Jersey   3:21-cv-04144         ONDERLAW, LLC
STUBBS, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-08259         ONDERLAW, LLC
STUKES, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-09423         ONDERLAW, LLC
STUMPF, LAVERNE            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
STUMPF, NICOLE             NJ - USDC for the District of New Jersey   3:21-cv-08614         ONDERLAW, LLC
STUPKA, LAUREL             NJ - USDC for the District of New Jersey   3:19-cv-10262         ONDERLAW, LLC
STURGIS, BETTY             NJ - USDC for the District of New Jersey   3:19-cv-09029         ONDERLAW, LLC
STURMAN, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
STUSAK, MARILYN            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
STUTES, SHEILA             NJ - USDC for the District of New Jersey   3:21-cv-08281         ONDERLAW, LLC
STUTZMAN, MALORA           NJ - USDC for the District of New Jersey   3:21-cv-05996         ONDERLAW, LLC
SUCHOMEL, MARY             NJ - USDC for the District of New Jersey   3:17-cv-07033         ONDERLAW, LLC
SUCI, PARNI                NJ - USDC for the District of New Jersey   3:20-cv-14390         ONDERLAW, LLC
SUCKER, CARRIE             NJ - USDC for the District of New Jersey   3:20-cv-03458         ONDERLAW, LLC
SUHREPTZ, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-03845         ONDERLAW, LLC
SULGIT, PRISCILLA          NJ - USDC for the District of New Jersey   3:21-cv-03078         ONDERLAW, LLC
SULLIVAN, BEULAH           NJ - USDC for the District of New Jersey   3:21-cv-01827         ONDERLAW, LLC
SULLIVAN, INGRID           NJ - USDC for the District of New Jersey   3:21-cv-17007         ONDERLAW, LLC
SULLIVAN, JEANETTE         NJ - USDC for the District of New Jersey   3:19-cv-17439         ONDERLAW, LLC
SULLIVAN, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-10584         ONDERLAW, LLC
SULLIVAN, MELANIE          NJ - USDC for the District of New Jersey   3:21-cv-09091         ONDERLAW, LLC
SULLIVAN, MIRIAM           NJ - USDC for the District of New Jersey   3:17-cv-09586         ONDERLAW, LLC
SULLIVAN, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-03177         ONDERLAW, LLC
SULLIVAN, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-12970         ONDERLAW, LLC
SULLIVAN-WATKINS, TAMMY    NJ - USDC for the District of New Jersey   3:21-cv-09098         ONDERLAW, LLC
SUMMER, TRACY              NJ - USDC for the District of New Jersey   3:19-cv-09339         ONDERLAW, LLC
SUMMERS, DEEANNA           NJ - USDC for the District of New Jersey   3:19-cv-19570         ONDERLAW, LLC
SUMMERS, FRANCES           NJ - USDC for the District of New Jersey   3:20-cv-06409         ONDERLAW, LLC
SUMPTER, THERESA           NJ - USDC for the District of New Jersey   3:19-cv-22135         ONDERLAW, LLC
SUMPTER, WALDA             NJ - USDC for the District of New Jersey   3:21-cv-09593         ONDERLAW, LLC
SUNDERMEYER, JUDY          NJ - USDC for the District of New Jersey   3:21-cv-04082         ONDERLAW, LLC
SUNDY, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-10768         ONDERLAW, LLC
SURLES, BERNIECE           NJ - USDC for the District of New Jersey   3:21-cv-06606         ONDERLAW, LLC
SURMAN, DEBRA              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
SUSAN RICHIE               NJ - USDC for the District of New Jersey   3:21-cv-18265         ONDERLAW, LLC
SUSCHANKE, ALICE           NJ - USDC for the District of New Jersey   3:21-cv-10770         ONDERLAW, LLC
SUSEWIND, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-09564         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SUTHERLAND, SHENINE       NJ - USDC for the District of New Jersey   3:21-cv-05784         ONDERLAW, LLC
SUTTLE, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-09122         ONDERLAW, LLC
SUTTON, DANIELLE          NJ - USDC for the District of New Jersey   3:20-cv-20304         ONDERLAW, LLC
SUTTON, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-08499         ONDERLAW, LLC
SUTTON, ROSITA            NJ - USDC for the District of New Jersey   3:21-cv-09680         ONDERLAW, LLC
SUTTON, SUZANNE           NJ - USDC for the District of New Jersey   3:21-cv-01785         ONDERLAW, LLC
SUTYAK, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-07005         ONDERLAW, LLC
SWALLOW, LISA             NJ - USDC for the District of New Jersey   3:21-cv-07352         ONDERLAW, LLC
SWALLOWS, JENNY           NJ - USDC for the District of New Jersey   3:21-cv-18207         ONDERLAW, LLC
SWANGO, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-16907         ONDERLAW, LLC
SWANN, GLORIA             NJ - USDC for the District of New Jersey   3:19-cv-16366         ONDERLAW, LLC
SWANN, VALERIE            MO - Circuit Court - City of St. Louis     1422-CC09326-01       ONDERLAW, LLC
SWANSON, BONNIE           NJ - USDC for the District of New Jersey   3:21-cv-08734         ONDERLAW, LLC
SWANSON, CHERRY           NJ - USDC for the District of New Jersey   3:21-cv-02314         ONDERLAW, LLC
SWANSON, DELIA            NJ - USDC for the District of New Jersey   3:20-cv-09285         ONDERLAW, LLC
SWANSON, FRANCES          NJ - USDC for the District of New Jersey   3:17-cv-08784         ONDERLAW, LLC
SWARTS, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-06246         ONDERLAW, LLC
SWEANEY, JODI             NJ - USDC for the District of New Jersey   3:21-cv-05960         ONDERLAW, LLC
SWEARINGTON, LESLIE       NJ - USDC for the District of New Jersey   3:21-cv-07708         ONDERLAW, LLC
SWEATT, MARILYN           NJ - USDC for the District of New Jersey   3:21-cv-01797         ONDERLAW, LLC
SWEEDEN, LOUISE           NJ - USDC for the District of New Jersey   3:21-cv-08993         ONDERLAW, LLC
SWEENEY, JOYCE            NJ - USDC for the District of New Jersey   3:19-cv-00017         ONDERLAW, LLC
SWEENEY, LINDA            NJ - USDC for the District of New Jersey   3:19-cv-22188         ONDERLAW, LLC
SWEERE, SHELLEY           NJ - USDC for the District of New Jersey   3:21-cv-02138         ONDERLAW, LLC
SWEIS, ELEN               NJ - USDC for the District of New Jersey   3:21-cv-06641         ONDERLAW, LLC
SWEOWAT, AGNES            NJ - USDC for the District of New Jersey   3:19-cv-09114         ONDERLAW, LLC
SWIHART, MARY             NJ - USDC for the District of New Jersey   3:21-cv-04115         ONDERLAW, LLC
SWINDLE, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-09953         ONDERLAW, LLC
SWINEY, ARETHA            NJ - USDC for the District of New Jersey   3:20-cv-20075         ONDERLAW, LLC
SWITZER, CHRISTINE        NJ - USDC for the District of New Jersey   3:18-cv-12807         ONDERLAW, LLC
SWORD, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-06001         ONDERLAW, LLC
SYAS, EMMA                NJ - USDC for the District of New Jersey   3:20-cv-08867         ONDERLAW, LLC
SYBERT, LORRIE            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
SYKES, CARLEN             MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
SYNDER, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-09049         ONDERLAW, LLC
SZABLEWSKI, LINDA         NJ - USDC for the District of New Jersey   3:21-cv-08008         ONDERLAW, LLC
SZCZERBA, MARY            NJ - USDC for the District of New Jersey   3:21-cv-09524         ONDERLAW, LLC
TABAG, LORETTA            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
TABOR, ENZIL              NJ - USDC for the District of New Jersey   3:19-cv-18648         ONDERLAW, LLC
TABOR, SARA               NJ - USDC for the District of New Jersey   3:21-cv-05167         ONDERLAW, LLC
TABOR, SHERRY             NJ - USDC for the District of New Jersey   3:21-cv-17412         ONDERLAW, LLC
TACKER, SHIRLEY           MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
TAFOYA, LISA              NJ - USDC for the District of New Jersey   3:21-cv-09109         ONDERLAW, LLC
TAHAJIAN, GERALDINE       NJ - USDC for the District of New Jersey   3:20-cv-01035         ONDERLAW, LLC
TAHIJA, BONITA            MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
TALBOTT, ROBYN            NJ - USDC for the District of New Jersey   3:20-cv-12626         ONDERLAW, LLC
TALIK, EILINE             NJ - USDC for the District of New Jersey   3:17-cv-04887         ONDERLAW, LLC
TALLARIDE, KIM            NJ - USDC for the District of New Jersey   3:19-cv-22094         ONDERLAW, LLC
TALLEY, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-04170         ONDERLAW, LLC
TALLEY, MARY              NJ - USDC for the District of New Jersey   3:21-cv-09269         ONDERLAW, LLC
TALLEY, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-09144         ONDERLAW, LLC
TALVACCHIO, SUSAN         MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
TAMEZ, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-20671         ONDERLAW, LLC
TANGUMA, RHONDA           NJ - USDC for the District of New Jersey   3:21-cv-01584         ONDERLAW, LLC
TANKERSLEY, APRIL         NJ - USDC for the District of New Jersey   3:18-cv-13964         ONDERLAW, LLC
TANNAHILL, PAMELA         MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
TANNER, BECKY             NJ - USDC for the District of New Jersey   3:20-cv-12225         ONDERLAW, LLC
TANNER, LOIS              NJ - USDC for the District of New Jersey   3:19-cv-15551         ONDERLAW, LLC
TAPLEY, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-04097         ONDERLAW, LLC
TAPLEY, KATHY             NJ - USDC for the District of New Jersey   3:17-cv-07211         ONDERLAW, LLC
TAPP, DEBRA               MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
TAPPAN, KADRINA           NJ - USDC for the District of New Jersey   3:21-cv-05793         ONDERLAW, LLC
TARABINI, LAURA           NJ - USDC for the District of New Jersey   3:18-cv-03606         ONDERLAW, LLC
TARALLO, MARYANN          NJ - USDC for the District of New Jersey   3:21-cv-09533         ONDERLAW, LLC
TARCHEA, TAMMY            NJ - USDC for the District of New Jersey   3:19-cv-15553         ONDERLAW, LLC
TATE, ALEXANDRIA          NJ - USDC for the District of New Jersey   3:21-cv-05488         ONDERLAW, LLC
TATE, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-03764         ONDERLAW, LLC
TATE, STEPHANIE           NJ - USDC for the District of New Jersey   3:21-cv-17159         ONDERLAW, LLC
TATUM, LILLIE             NJ - USDC for the District of New Jersey   3:21-cv-02299         ONDERLAW, LLC
TAUBER, CHRISTINA         MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
TAYLOR, AMANDA            NJ - USDC for the District of New Jersey   3:21-cv-09273         ONDERLAW, LLC
TAYLOR, ANASTASIA         NJ - USDC for the District of New Jersey   3:17-cv-09731         ONDERLAW, LLC
TAYLOR, ANNIE             NJ - USDC for the District of New Jersey   3:21-cv-02384         ONDERLAW, LLC
TAYLOR, ANNIE             NJ - USDC for the District of New Jersey   3:17-cv-10067         ONDERLAW, LLC
TAYLOR, ANNIE             NJ - USDC for the District of New Jersey   3:21-cv-05801         ONDERLAW, LLC
TAYLOR, CALLIE            MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
TAYLOR, CAROLYN           NJ - USDC for the District of New Jersey   3:20-cv-06305         ONDERLAW, LLC
TAYLOR, CATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-10772         ONDERLAW, LLC
TAYLOR, CHRISTINE         NJ - USDC for the District of New Jersey   3:17-cv-10885         ONDERLAW, LLC
TAYLOR, DIANE             NJ - USDC for the District of New Jersey   3:17-cv-10653         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
TAYLOR, GABRIELA          NJ - USDC for the District of New Jersey   3:21-cv-08881         ONDERLAW, LLC
TAYLOR, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-08058         ONDERLAW, LLC
TAYLOR, HATTIE            NJ - USDC for the District of New Jersey   3:21-cv-04050         ONDERLAW, LLC
TAYLOR, JAMIE             NJ - USDC for the District of New Jersey   3:21-cv-04949         ONDERLAW, LLC
TAYLOR, KIM               NJ - USDC for the District of New Jersey   3:20-cv-08319         ONDERLAW, LLC
TAYLOR, MARIE             NJ - USDC for the District of New Jersey   3:21-cv-10774         ONDERLAW, LLC
TAYLOR, MARY              NJ - USDC for the District of New Jersey   3:21-cv-07002         ONDERLAW, LLC
TAYLOR, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-09625         ONDERLAW, LLC
TAYLOR, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-09625         ONDERLAW, LLC
TAYLOR, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-09625         ONDERLAW, LLC
TAYLOR, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-09522         ONDERLAW, LLC
TAYLOR, PRINA             NJ - USDC for the District of New Jersey   3:21-cv-08649         ONDERLAW, LLC
TAYLOR, ROBBIN            MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
TAYLOR, ROSALIND          NJ - USDC for the District of New Jersey   3:21-cv-16971         ONDERLAW, LLC
TAYLOR, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-11040         ONDERLAW, LLC
TAYLOR, SAVIITRI          NJ - USDC for the District of New Jersey   3:21-cv-03981         ONDERLAW, LLC
TAYLOR, SHEILA            NJ - USDC for the District of New Jersey   3:21-cv-04146         ONDERLAW, LLC
TAYLOR, STEPHANY          NJ - USDC for the District of New Jersey   3:21-cv-05831         ONDERLAW, LLC
TAYLOR, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-04394         ONDERLAW, LLC
TAYLOR, TONI              NJ - USDC for the District of New Jersey   3:20-cv-12351         ONDERLAW, LLC
TAYLOR, TRACY             NJ - USDC for the District of New Jersey   3:21-cv-09628         ONDERLAW, LLC
TAYLOR, VERO              NJ - USDC for the District of New Jersey   3:21-cv-06584         ONDERLAW, LLC
TAYLOR, YAKESHIA          NJ - USDC for the District of New Jersey   3:21-cv-03975         ONDERLAW, LLC
TAYLOR-BIRCHUM, MARY      NJ - USDC for the District of New Jersey   3:21-cv-06856         ONDERLAW, LLC
TEACH, CARMEN             NJ - USDC for the District of New Jersey   3:20-cv-13513         ONDERLAW, LLC
TEACHEY, CHARLOTTE        NJ - USDC for the District of New Jersey   3:19-cv-14632         ONDERLAW, LLC
TEAGARDENER, NANCY        NJ - USDC for the District of New Jersey   3:17-cv-11204         ONDERLAW, LLC
TEASDALE, CASSIE          NJ - USDC for the District of New Jersey   3:21-cv-05514         ONDERLAW, LLC
TEBEEST, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-09726         ONDERLAW, LLC
TEBO, BETTY               NJ - USDC for the District of New Jersey   3:18-cv-13123         ONDERLAW, LLC
TEDDER, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-04046         ONDERLAW, LLC
TEES, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-17672         ONDERLAW, LLC
TELESCA, MARISA           NJ - USDC for the District of New Jersey   3:18-cv-05666         ONDERLAW, LLC
TELLIJOHN, DEBRA          NJ - USDC for the District of New Jersey   3:21-cv-03688         ONDERLAW, LLC
TEMBER, AUDREY            NJ - USDC for the District of New Jersey   3:21-cv-04126         ONDERLAW, LLC
TEMPLE, BONNIE            NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
TEMPLE, KEISHA            NJ - USDC for the District of New Jersey   3:21-cv-02441         ONDERLAW, LLC
TENENBAUM, PEARL          NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
TENIENTE, SARAH           NJ - USDC for the District of New Jersey   3:21-cv-07496         ONDERLAW, LLC
TENNANT, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-04288         ONDERLAW, LLC
TENNYSON, HAYLEY          NJ - USDC for the District of New Jersey   3:17-cv-10927         ONDERLAW, LLC
TENNYSON, KRISTEN         NJ - USDC for the District of New Jersey   3:21-cv-18199         ONDERLAW, LLC
TEREN, CORRINE            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
TERIFAJ, VICTORIA         NJ - USDC for the District of New Jersey   3:18-cv-01769         ONDERLAW, LLC
TERRAZINO, MARY           NJ - USDC for the District of New Jersey   3:20-cv-08150         ONDERLAW, LLC
TERRELL, CITHOLETTA       NJ - USDC for the District of New Jersey   3:19-cv-18685         ONDERLAW, LLC
TERRELL, DEBBIE           NJ - USDC for the District of New Jersey   3:18-cv-04229         ONDERLAW, LLC
TERRELL, MARY             NJ - USDC for the District of New Jersey   3:21-cv-01979         ONDERLAW, LLC
TERRELL, TRACI            NJ - USDC for the District of New Jersey   3:21-cv-07794         ONDERLAW, LLC
TERRILL, MELITA           NJ - USDC for the District of New Jersey   3:21-cv-08171         ONDERLAW, LLC
TERRY, CHARLOTTE          MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
TERRY, GLADYS             NJ - USDC for the District of New Jersey   3:21-cv-05043         ONDERLAW, LLC
TERRY, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-06621         ONDERLAW, LLC
TERRY, ROBIN              NJ - USDC for the District of New Jersey   3:17-cv-09563         ONDERLAW, LLC
TESSER, AUDREY            NJ - USDC for the District of New Jersey   3:20-cv-14727         ONDERLAW, LLC
TESTA, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-10099         ONDERLAW, LLC
TESTER, VICKIE            NJ - USDC for the District of New Jersey   3:21-cv-09682         ONDERLAW, LLC
TEVIS, BETTE              NJ - USDC for the District of New Jersey   3:21-cv-09010         ONDERLAW, LLC
THACKER, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-05496         ONDERLAW, LLC
THAIN, SANDY              NJ - USDC for the District of New Jersey   3:20-cv-20468         ONDERLAW, LLC
THARPE, MAGGIE            NJ - USDC for the District of New Jersey   3:21-cv-05061         ONDERLAW, LLC
THERMILUS, PATRICIA       NJ - USDC for the District of New Jersey   3:20-cv-19021         ONDERLAW, LLC
THIBODEAU, TERRI          MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
THIEL, ANUMPUM            NJ - USDC for the District of New Jersey   3:20-cv-09089         ONDERLAW, LLC
THIXTON, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-09346         ONDERLAW, LLC
THOMAS, BRENDIA           NJ - USDC for the District of New Jersey   3:21-cv-07588         ONDERLAW, LLC
THOMAS, CHARLIE           NJ - USDC for the District of New Jersey   3:21-cv-01587         ONDERLAW, LLC
THOMAS, CHERYL            NJ - USDC for the District of New Jersey   3:20-cv-02897         ONDERLAW, LLC
THOMAS, CRYSTAL           NJ - USDC for the District of New Jersey   3:21-cv-03069         ONDERLAW, LLC
THOMAS, DANIELLE          NJ - USDC for the District of New Jersey   3:21-cv-05071         ONDERLAW, LLC
THOMAS, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-03542         ONDERLAW, LLC
THOMAS, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-02648         ONDERLAW, LLC
THOMAS, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-05537         ONDERLAW, LLC
THOMAS, JEAN              NJ - USDC for the District of New Jersey   3:21-cv-07430         ONDERLAW, LLC
THOMAS, JETTIE            NJ - USDC for the District of New Jersey   3:21-cv-06279         ONDERLAW, LLC
THOMAS, JILLONDRIA        NJ - USDC for the District of New Jersey   3:20-cv-15597         ONDERLAW, LLC
THOMAS, JODI              MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
THOMAS, JOSEPHINE         NJ - USDC for the District of New Jersey   3:20-cv-20699         ONDERLAW, LLC
THOMAS, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-02944         ONDERLAW, LLC
THOMAS, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-09822         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
THOMAS, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-01581         ONDERLAW, LLC
THOMAS, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-02396         ONDERLAW, LLC
THOMAS, LUT               NJ - USDC for the District of New Jersey   3:21-cv-02680         ONDERLAW, LLC
THOMAS, LYDIA             NJ - USDC for the District of New Jersey   3:19-cv-22190         ONDERLAW, LLC
THOMAS, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-03209         ONDERLAW, LLC
THOMAS, MARLENE           NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
THOMAS, MARY              NJ - USDC for the District of New Jersey   3:19-cv-05033         ONDERLAW, LLC
THOMAS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-07489         ONDERLAW, LLC
THOMAS, NELVIN            NJ - USDC for the District of New Jersey   3:19-cv-20457         ONDERLAW, LLC
THOMAS, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-09620         ONDERLAW, LLC
THOMAS, PATRICE           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
THOMAS, RHONDA            NJ - USDC for the District of New Jersey   3:21-cv-05236         ONDERLAW, LLC
THOMAS, ROBERTA           NJ - USDC for the District of New Jersey   3:21-cv-02247         ONDERLAW, LLC
THOMAS, ROSEANN           NJ - USDC for the District of New Jersey   3:21-cv-03196         ONDERLAW, LLC
THOMAS, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-07535         ONDERLAW, LLC
THOMAS, SARA              NJ - USDC for the District of New Jersey   3:20-cv-20686         ONDERLAW, LLC
THOMAS, SHANTA            NJ - USDC for the District of New Jersey   3:21-cv-08003         ONDERLAW, LLC
THOMAS, WENDY             NJ - USDC for the District of New Jersey   3:20-cv-03217         ONDERLAW, LLC
THOMAS-JUDKINS, DELORES   NJ - USDC for the District of New Jersey   3:21-cv-07905         ONDERLAW, LLC
THOMASON, VICKY           MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
THOMAS-SALVATI, KAREN     NJ - USDC for the District of New Jersey   3:21-cv-01578         ONDERLAW, LLC
THOMPSON, ANNETTE         NJ - USDC for the District of New Jersey   3:21-cv-17770         ONDERLAW, LLC
THOMPSON, APRYL           NJ - USDC for the District of New Jersey   3:21-cv-17652         ONDERLAW, LLC
THOMPSON, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-03935         ONDERLAW, LLC
THOMPSON, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-10776         ONDERLAW, LLC
THOMPSON, CARLIN          NJ - USDC for the District of New Jersey   3:20-cv-06711         ONDERLAW, LLC
THOMPSON, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-07748         ONDERLAW, LLC
THOMPSON, CONNIE          NJ - USDC for the District of New Jersey   3:18-cv-16099         ONDERLAW, LLC
THOMPSON, CRYSTAL         NJ - USDC for the District of New Jersey   3:21-cv-04667         ONDERLAW, LLC
THOMPSON, DEBORAH         NJ - USDC for the District of New Jersey   3:21-cv-17892         ONDERLAW, LLC
THOMPSON, ELIZABETH       NJ - USDC for the District of New Jersey   3:21-cv-07941         ONDERLAW, LLC
THOMPSON, HENRIETTA       NJ - USDC for the District of New Jersey   3:21-cv-00017         ONDERLAW, LLC
THOMPSON, JUDITH          NJ - USDC for the District of New Jersey   3:21-cv-06808         ONDERLAW, LLC
THOMPSON, JUDITH          NJ - USDC for the District of New Jersey   3:21-cv-17407         ONDERLAW, LLC
THOMPSON, KATHY           MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC
THOMPSON, KATHY           NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
THOMPSON, KIM             NJ - USDC for the District of New Jersey   3:21-cv-02891         ONDERLAW, LLC
THOMPSON, KIMBERLY        NJ - USDC for the District of New Jersey   3:21-cv-05243         ONDERLAW, LLC
THOMPSON, LAURA           MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
THOMPSON, LAURA           NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
THOMPSON, LISA            NJ - USDC for the District of New Jersey   3:21-cv-04771         ONDERLAW, LLC
THOMPSON, MARY            MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
THOMPSON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-04129         ONDERLAW, LLC
THOMPSON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-06089         ONDERLAW, LLC
THOMPSON, NORMA           NJ - USDC for the District of New Jersey   3:21-cv-06634         ONDERLAW, LLC
THOMPSON, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-08629         ONDERLAW, LLC
THOMPSON, SAVANNAH        NJ - USDC for the District of New Jersey   3:20-cv-14559         ONDERLAW, LLC
THOMPSON, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-09886         ONDERLAW, LLC
THOMPSON, SYLVIA          NJ - USDC for the District of New Jersey   3:21-cv-06151         ONDERLAW, LLC
THOMPSON, TANNY           NJ - USDC for the District of New Jersey   3:18-cv-08374         ONDERLAW, LLC
THOMPSON, VALERIE         NJ - USDC for the District of New Jersey   3:18-cv-11962         ONDERLAW, LLC
THORNBURG, ALINA          MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
THORNBURG, MARY           NJ - USDC for the District of New Jersey   3:21-cv-08286         ONDERLAW, LLC
THORNE, RUBY              NJ - USDC for the District of New Jersey   3:20-cv-01455         ONDERLAW, LLC
THORNTON, BERYL           NJ - USDC for the District of New Jersey   3:21-cv-06305         ONDERLAW, LLC
THORNTON, CHRISTINE       NJ - USDC for the District of New Jersey   3:21-cv-02691         ONDERLAW, LLC
THORNTON, IMANI           NJ - USDC for the District of New Jersey   3:21-cv-01593         ONDERLAW, LLC
THORPE, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-04053         ONDERLAW, LLC
THORSON, CONNIE           NJ - USDC for the District of New Jersey   3:18-cv-14025         ONDERLAW, LLC
THRASHER, TRACEY          NJ - USDC for the District of New Jersey   3:20-cv-17639         ONDERLAW, LLC
THROOP, KIM               NJ - USDC for the District of New Jersey   3:18-cv-01377         ONDERLAW, LLC
THURMAN, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-01534         ONDERLAW, LLC
TIDMORE, GWENDOLYN        NJ - USDC for the District of New Jersey   3:21-cv-02499         ONDERLAW, LLC
TIDWELL, PATTY            NJ - USDC for the District of New Jersey   3:21-cv-06550         ONDERLAW, LLC
TIERNAN, DORIS            NJ - USDC for the District of New Jersey   3:20-cv-05792         ONDERLAW, LLC
TILLEY, AUDREY            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
TILLMAN, MINNIE           NJ - USDC for the District of New Jersey   3:21-cv-06612         ONDERLAW, LLC
TILLMAN, SHELIA           NJ - USDC for the District of New Jersey   3:20-cv-12490         ONDERLAW, LLC
TIMIAN, YVONNE            NJ - USDC for the District of New Jersey   3:17-cv-09275         ONDERLAW, LLC
TIMIAN, YVONNE            NJ - USDC for the District of New Jersey   3:17-cv-09275         ONDERLAW, LLC
TIMIAN, YVONNE            NJ - USDC for the District of New Jersey   3:17-cv-09275         ONDERLAW, LLC
TIMMER, DAWN              NJ - USDC for the District of New Jersey   3:21-cv-04112         ONDERLAW, LLC
TIMMONS, RHONDA           NJ - USDC for the District of New Jersey   3:21-cv-02109         ONDERLAW, LLC
TIMMS, JANENE             MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
TIMMS, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-08361         ONDERLAW, LLC
TIN, PRIM                 NJ - USDC for the District of New Jersey   3:18-cv-10355         ONDERLAW, LLC
TINA, MARLOW              NJ - USDC for the District of New Jersey   3:21-cv-04008         ONDERLAW, LLC
TINCHER, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-09564         ONDERLAW, LLC
TINSLEY, MICHELLE         NJ - USDC for the District of New Jersey   3:21-cv-08251         ONDERLAW, LLC
TIPP, MARIAN              NJ - USDC for the District of New Jersey   3:21-cv-07755         ONDERLAW, LLC




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            Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
TIPPETT, SHERRI             NJ - USDC for the District of New Jersey   3:19-cv-10401         ONDERLAW, LLC
TIPPS, MARY                 MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
TIPTON-BELL, JILL           NJ - USDC for the District of New Jersey   3:18-cv-08566         ONDERLAW, LLC
TISI, JESSICA               NJ - USDC for the District of New Jersey   3:20-cv-02144         ONDERLAW, LLC
TITTLE, POLLY               NJ - USDC for the District of New Jersey   3:21-cv-05796         ONDERLAW, LLC
TLAPA, GUADALUPE            NJ - USDC for the District of New Jersey   3:21-cv-02035         ONDERLAW, LLC
TOALE, MARY                 NJ - USDC for the District of New Jersey   3:19-cv-15154         ONDERLAW, LLC
TOBEY-BOWERS, BRITTANY      NJ - USDC for the District of New Jersey   3:21-cv-01604         ONDERLAW, LLC
TOBIAS, ROMONA              NJ - USDC for the District of New Jersey   3:21-cv-02414         ONDERLAW, LLC
TOBIAS, SARAH               NJ - USDC for the District of New Jersey   3:21-cv-05458         ONDERLAW, LLC
TOBOLA, WANDA               MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
TOCCHINI, DELPHINE          NJ - USDC for the District of New Jersey   3:19-cv-00018         ONDERLAW, LLC
TODD, BEVERLY               MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
TODD, CHYRISE               NJ - USDC for the District of New Jersey   3:21-cv-05084         ONDERLAW, LLC
TODD, DENISE                MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
TODD, FRANCES               NJ - USDC for the District of New Jersey   3:21-cv-07871         ONDERLAW, LLC
TODD, LILLIAN               NJ - USDC for the District of New Jersey   3:21-cv-06985         ONDERLAW, LLC
TOENISKOETTER, PATRICIA     NJ - USDC for the District of New Jersey   3:20-cv-18642         ONDERLAW, LLC
TOEPPER, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-09492         ONDERLAW, LLC
TOLAN, BONITA               NJ - USDC for the District of New Jersey   3:18-cv-10100         ONDERLAW, LLC
TOLBERT, SONJA              NJ - USDC for the District of New Jersey   3:21-cv-09339         ONDERLAW, LLC
TOLENTINO, CYNTHIA          MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
TOLER, STEPHANIE            NJ - USDC for the District of New Jersey   3:21-cv-03990         ONDERLAW, LLC
TOLES, FELICIA              NJ - USDC for the District of New Jersey   3:21-cv-16911         ONDERLAW, LLC
TOLHURST, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-03852         ONDERLAW, LLC
TOLLE, GAYLE                NJ - USDC for the District of New Jersey   3:18-cv-03095         ONDERLAW, LLC
TOLLIS, JANINE              NJ - USDC for the District of New Jersey   3:21-cv-11883         ONDERLAW, LLC
TOLLISON, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-09065         ONDERLAW, LLC
TOMASETTI, BRIDGETT         MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
TOMPKINS, CAMILLE           NJ - USDC for the District of New Jersey   3:18-cv-10293         ONDERLAW, LLC
TOMPKINS, VIRGINIA          NJ - USDC for the District of New Jersey   3:17-cv-09733         ONDERLAW, LLC
TONEY, CYNTHIA              NJ - USDC for the District of New Jersey   3:19-cv-13188         ONDERLAW, LLC
TONEY, JILL                 NJ - USDC for the District of New Jersey   3:17-cv-03946         ONDERLAW, LLC
TONGCO, DIANNE              MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
TONI, MARIANNA              NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
TOOMER, ANNETTE             NJ - USDC for the District of New Jersey   3:21-cv-06851         ONDERLAW, LLC
TOOTHMAN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-19226         ONDERLAW, LLC
TOPOL, REGI                 NJ - USDC for the District of New Jersey   3:21-cv-03875         ONDERLAW, LLC
TORBETT, TONY               NJ - USDC for the District of New Jersey   3:21-cv-07059         ONDERLAW, LLC
TORIBIO, LEILANI            CA - Superior Court - Santa Clara County   17CV318681            ONDERLAW, LLC
TORIBIO, LEILANI            NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
TORREGANO, TERRY            NJ - USDC for the District of New Jersey   3:21-cv-07568         ONDERLAW, LLC
TORRES, ANA                 NJ - USDC for the District of New Jersey   3:21-cv-06002         ONDERLAW, LLC
TORRES, DELIA               NJ - USDC for the District of New Jersey   3:21-cv-02478         ONDERLAW, LLC
TORRES, JOYCE               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
TORRES, LIGIA               NJ - USDC for the District of New Jersey   3:20-cv-03620         ONDERLAW, LLC
TORRES, MARCELA             NJ - USDC for the District of New Jersey   3:20-cv-20315         ONDERLAW, LLC
TORRES, MARGARET            NJ - USDC for the District of New Jersey   3:21-cv-06138         ONDERLAW, LLC
TORRES, MARIA               NJ - USDC for the District of New Jersey   3:19-cv-09313         ONDERLAW, LLC
TORRES, MIOSOTY             MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
TORRES, ROXANA              NJ - USDC for the District of New Jersey   3:18-cv-10101         ONDERLAW, LLC
TORREY, CATHERINE           NJ - USDC for the District of New Jersey   3:17-cv-09941         ONDERLAW, LLC
TORRY, ETTA                 NJ - USDC for the District of New Jersey   3:21-cv-05735         ONDERLAW, LLC
TORZILLI, MILDRED           NJ - USDC for the District of New Jersey   3:21-cv-02966         ONDERLAW, LLC
TOSEV, KATA                 NJ - USDC for the District of New Jersey   3:21-cv-06543         ONDERLAW, LLC
TOUCHTON, VICKY             NJ - USDC for the District of New Jersey   3:21-cv-10777         ONDERLAW, LLC
TOUSEY, DEBRA               NJ - USDC for the District of New Jersey   3:19-cv-22095         ONDERLAW, LLC
TOUZA, LINDA                MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
TOVAR, MONICA               MO - Circuit Court - City of St. Louis     1822-CC11165          ONDERLAW, LLC
TOWARD, TRACY               NJ - USDC for the District of New Jersey   3:21-cv-04275         ONDERLAW, LLC
TOWNER, ALICE               NJ - USDC for the District of New Jersey   3:21-cv-04688         ONDERLAW, LLC
TOWNSEND, JUSTINE           NJ - USDC for the District of New Jersey   3:19-cv-14344         ONDERLAW, LLC
TOWNSEND, STELLA            NJ - USDC for the District of New Jersey   3:21-cv-07490         ONDERLAW, LLC
TOY, MARY                   NJ - USDC for the District of New Jersey   3:20-cv-06977         ONDERLAW, LLC
TOYNBEE, SHERRI             NJ - USDC for the District of New Jersey   3:21-cv-18220         ONDERLAW, LLC
TRAHAN, KIMBERLY            NJ - USDC for the District of New Jersey   3:17-cv-09589         ONDERLAW, LLC
TRAHAN, MELODY              NJ - USDC for the District of New Jersey   3:21-cv-05430         ONDERLAW, LLC
TRAINHAM, VALARIE           NJ - USDC for the District of New Jersey   3:20-cv-08986         ONDERLAW, LLC
TRAMEL, LESLIE              NJ - USDC for the District of New Jersey   3:17-cv-09910         ONDERLAW, LLC
TRAMMELL, CARYLON           NJ - USDC for the District of New Jersey   3:21-cv-01011         ONDERLAW, LLC
TRAMONTANO, PAMELA          NJ - USDC for the District of New Jersey   3:18-cv-03288         ONDERLAW, LLC
TRAMONTOZZI, MARJORIE       NJ - USDC for the District of New Jersey   3:18-cv-14751         ONDERLAW, LLC
TRAPINI, SYLVIA             NJ - USDC for the District of New Jersey   3:17-cv-11409         ONDERLAW, LLC
TRAPP, DEBORAH              NJ - USDC for the District of New Jersey   3:20-cv-03593         ONDERLAW, LLC
TRAUTMAN, MARY              NJ - USDC for the District of New Jersey   3:20-cv-12226         ONDERLAW, LLC
TRAVIS, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-05526         ONDERLAW, LLC
TRAVIS, LYNN                NJ - USDC for the District of New Jersey   3:18-cv-14748         ONDERLAW, LLC
TRAXLER, ANGIE              NJ - USDC for the District of New Jersey   3:21-cv-08190         ONDERLAW, LLC
TRAYLOR, ANTONETTE          NJ - USDC for the District of New Jersey   3:20-cv-16884         ONDERLAW, LLC
TRAYLOR, KELLY              NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
TRAYNOR, MARLENE           NJ - USDC for the District of New Jersey   3:21-cv-09185         ONDERLAW, LLC
TREGO, JENNIFER            NJ - USDC for the District of New Jersey   3:21-cv-08840         ONDERLAW, LLC
TRENT, SHERRY              NJ - USDC for the District of New Jersey   3:17-cv-08773         ONDERLAW, LLC
TRESENRITER, BARBARA       NJ - USDC for the District of New Jersey   3:21-cv-05633         ONDERLAW, LLC
TRESSEL, MILDRED           NJ - USDC for the District of New Jersey   3:21-cv-08177         ONDERLAW, LLC
TREVINO, JENNIFER          NJ - USDC for the District of New Jersey   3:20-cv-08151         ONDERLAW, LLC
TREVINO, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-04872         ONDERLAW, LLC
TREVINO, OLIVIA            NJ - USDC for the District of New Jersey   3:19-cv-18645         ONDERLAW, LLC
TREVINO, PAULINE           NJ - USDC for the District of New Jersey   3:21-cv-06255         ONDERLAW, LLC
TRICE, CAROLYN             NJ - USDC for the District of New Jersey   3:21-cv-17653         ONDERLAW, LLC
TRICE, MARY                MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
TRIMBLE, NORMA             NJ - USDC for the District of New Jersey   3:18-cv-10752         ONDERLAW, LLC
TRINCA, VICTORIA           NJ - USDC for the District of New Jersey   3:20-cv-14215         ONDERLAW, LLC
TRIPLETT, GREGNICCA        NJ - USDC for the District of New Jersey   3:19-cv-16211         ONDERLAW, LLC
TRIPLETT, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-03197         ONDERLAW, LLC
TRIPP, KARLA               MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
TRIPP, KATHY               NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
TRIVETTE, PATSY            NJ - USDC for the District of New Jersey   3:21-cv-09610         ONDERLAW, LLC
TROJAN, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-02500         ONDERLAW, LLC
TRONCOSO, DANA             NJ - USDC for the District of New Jersey   3:21-cv-02625         ONDERLAW, LLC
TROUBLEFIELD, BARBARA      NJ - USDC for the District of New Jersey   3:21-cv-09391         ONDERLAW, LLC
TROUPE-SINCLAIR, BARBARA   NJ - USDC for the District of New Jersey   3:21-cv-02775         ONDERLAW, LLC
TROUTT, MARGARET           NJ - USDC for the District of New Jersey   3:18-cv-02942         ONDERLAW, LLC
TRUCKS, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-08877         ONDERLAW, LLC
TRUJILLO, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-17873         ONDERLAW, LLC
TRUJILLO, KATHERINE        NJ - USDC for the District of New Jersey   3:21-cv-01009         ONDERLAW, LLC
TRUJILLO, MARY             NJ - USDC for the District of New Jersey   3:18-cv-13497         ONDERLAW, LLC
TRUJILLO, TIFFANY          NJ - USDC for the District of New Jersey   3:21-cv-05938         ONDERLAW, LLC
TRULL, CAROL               NJ - USDC for the District of New Jersey   3:17-cv-09590         ONDERLAW, LLC
TRULL, LINDA               NJ - USDC for the District of New Jersey   3:21-CV-04932         ONDERLAW, LLC
TRUMAN, VEDA               NJ - USDC for the District of New Jersey   3:21-cv-05429         ONDERLAW, LLC
TRUMP, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-04815         ONDERLAW, LLC
TRUSEDELL, AMANDA          NJ - USDC for the District of New Jersey   3:19-cv-20803         ONDERLAW, LLC
TRUSLOW, DAWN              NJ - USDC for the District of New Jersey   3:19-cv-10402         ONDERLAW, LLC
TRUSSELL, LOUBIRDA         NJ - USDC for the District of New Jersey   3:21-cv-08143         ONDERLAW, LLC
TRYBA, AMY                 NJ - USDC for the District of New Jersey   3:19-cv-19757         ONDERLAW, LLC
TRYBALSKI, BARRIE          NJ - USDC for the District of New Jersey   3:21-cv-08106         ONDERLAW, LLC
TSAUDARIDIS, STEPHANIE     NJ - USDC for the District of New Jersey   3:21-cv-08564         ONDERLAW, LLC
TUCKER, CAROLINE           MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
TUCKER, DORTHY             NJ - USDC for the District of New Jersey   3:21-cv-00018         ONDERLAW, LLC
TUCKER, ELLEN              NJ - USDC for the District of New Jersey   3:21-cv-03963         ONDERLAW, LLC
TUCKER, JUANITA            NJ - USDC for the District of New Jersey   3:21-cv-06629         ONDERLAW, LLC
TUCKER, TONI               MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
TUCKER, VIVIAN             NJ - USDC for the District of New Jersey   3:21-cv-04229         ONDERLAW, LLC
TUCKER, WANDA              NJ - USDC for the District of New Jersey   3:21-cv-03876         ONDERLAW, LLC
TUCKER, YOLANDA            NJ - USDC for the District of New Jersey   3:21-cv-08893         ONDERLAW, LLC
TUINSTRA, JUDI             NJ - USDC for the District of New Jersey   3:21-cv-02867         ONDERLAW, LLC
TUINSTRA, JUDY             NJ - USDC for the District of New Jersey   3:20-cv-05412         ONDERLAW, LLC
TULIEBITZ, VALENTINA       MO - Circuit Court - City of St. Louis     1822-CC00002          ONDERLAW, LLC
TULLOSS, SUZANNE-MARIE     NJ - USDC for the District of New Jersey   3:21-cv-03237         ONDERLAW, LLC
TUNNELL, KASEE             NJ - USDC for the District of New Jersey   3:21-cv-04180         ONDERLAW, LLC
TURBIN, LILLIE             NJ - USDC for the District of New Jersey   3:18-cv-08822         ONDERLAW, LLC
TUREK, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-10403         ONDERLAW, LLC
TURE-OROURKE, LISA         NJ - USDC for the District of New Jersey   3:19-cv-22137         ONDERLAW, LLC
TURLEY, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-18330         ONDERLAW, LLC
TURNBOUGH, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-06685         ONDERLAW, LLC
TURNER, ADGENDA            NJ - USDC for the District of New Jersey   3:18-cv-00329         ONDERLAW, LLC
TURNER, ADIS               NJ - USDC for the District of New Jersey   3:20-cv-09975         ONDERLAW, LLC
TURNER, ALICE              NJ - USDC for the District of New Jersey   3:20-cv-13747         ONDERLAW, LLC
TURNER, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-03365         ONDERLAW, LLC
TURNER, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-03178         ONDERLAW, LLC
TURNER, CARAL              NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
TURNER, CAROLYN            NJ - USDC for the District of New Jersey   3:21-cv-05676         ONDERLAW, LLC
TURNER, CHRISTY            NJ - USDC for the District of New Jersey   3:19-cv-19735         ONDERLAW, LLC
TURNER, DEBRA              NJ - USDC for the District of New Jersey   3:21-cv-06179         ONDERLAW, LLC
TURNER, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-09899         ONDERLAW, LLC
TURNER, FRANCINE           NJ - USDC for the District of New Jersey   3:21-cv-07508         ONDERLAW, LLC
TURNER, JOAN               NJ - USDC for the District of New Jersey   3:20-cv-13750         ONDERLAW, LLC
TURNER, JUANITA            NJ - USDC for the District of New Jersey   3:21-cv-04852         ONDERLAW, LLC
TURNER, LULA               NJ - USDC for the District of New Jersey   3:21-cv-02399         ONDERLAW, LLC
TURNER, LYNN               MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
TURNER, MAGGIE             NJ - USDC for the District of New Jersey   3:21-cv-07471         ONDERLAW, LLC
TURNER, ONEIDA             NJ - USDC for the District of New Jersey   3:21-cv-06645         ONDERLAW, LLC
TURNER, SAMMIE             NJ - USDC for the District of New Jersey   3:20-cv-01443         ONDERLAW, LLC
TURNER, SHANNON            NJ - USDC for the District of New Jersey   3:21-cv-08118         ONDERLAW, LLC
TURNER, SONDRA             NJ - USDC for the District of New Jersey   3:17-cv-09541         ONDERLAW, LLC
TURNER, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-09909         ONDERLAW, LLC
TURNER, TINA               NJ - USDC for the District of New Jersey   3:21-cv-06982         ONDERLAW, LLC
TURNER, VICKI              NJ - USDC for the District of New Jersey   3:21-cv-08152         ONDERLAW, LLC
TURNER-CHAMERS, MELISSA    MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
TURNER-ROWE, EDNA          NJ - USDC for the District of New Jersey   3:21-cv-08513         ONDERLAW, LLC
TURPIN, PAMELA             NJ - USDC for the District of New Jersey   3:20-cv-06713         ONDERLAW, LLC
TURREL, PRISCILLA          NJ - USDC for the District of New Jersey   3:18-cv-11505         ONDERLAW, LLC
TUSKAN-SOWATSKEY, RUTH     NJ - USDC for the District of New Jersey   3:21-cv-06213         ONDERLAW, LLC
TUTTLE, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-10693         ONDERLAW, LLC
TYE, BERNICE               NJ - USDC for the District of New Jersey   3:21-cv-07594         ONDERLAW, LLC
TYE, LORETTA               NJ - USDC for the District of New Jersey   3:21-cv-01494         ONDERLAW, LLC
TYLER, LAURA               MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
TYLER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
TYLER, TERRY               NJ - USDC for the District of New Jersey   3:21-cv-10808         ONDERLAW, LLC
TYLER, THEA                NJ - USDC for the District of New Jersey   3:21-cv-07520         ONDERLAW, LLC
TYLER-GRAY, JOYCE          NJ - USDC for the District of New Jersey   3:20-cv-07766         ONDERLAW, LLC
TYNES, ALLISON             NJ - USDC for the District of New Jersey   3:19-cv-17674         ONDERLAW, LLC
TYRON, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-00263         ONDERLAW, LLC
UCHIDA, DIANA              NJ - USDC for the District of New Jersey   3:20-cv-01441         ONDERLAW, LLC
UHURA-WILDS, JOLEN         NJ - USDC for the District of New Jersey   3:20-cv-04719         ONDERLAW, LLC
ULMER, CAROL               NJ - USDC for the District of New Jersey   3:19-cv-10269         ONDERLAW, LLC
UMBLE, KIMBERLY            NJ - USDC for the District of New Jersey   3:21-cv-05653         ONDERLAW, LLC
UNDERWOOD, ARELLA          MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
UNDERWOOD, KRISTI          NJ - USDC for the District of New Jersey   3:18-cv-02659         ONDERLAW, LLC
UNDERWOOD, PEGGY           MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
UNKENHOLZ, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-08709         ONDERLAW, LLC
UNRUH, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-00796         ONDERLAW, LLC
UPCHURCH, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-01851         ONDERLAW, LLC
UPSHUR, CORITA             NJ - USDC for the District of New Jersey   3:21-cv-03022         ONDERLAW, LLC
URBANSKY, LILLIAN          NJ - USDC for the District of New Jersey   3:18-cv-05651         ONDERLAW, LLC
URBINA, TINA               NJ - USDC for the District of New Jersey   3:21-cv-04961         ONDERLAW, LLC
URF, BONNIE                NJ - USDC for the District of New Jersey   3:20-cv-00896         ONDERLAW, LLC
URICK, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-00791         ONDERLAW, LLC
URRUTIA, BLANCA            NJ - USDC for the District of New Jersey   3:20-cv-12437         ONDERLAW, LLC
USHA, RIHAL                NJ - USDC for the District of New Jersey   3:18-cv-08562         ONDERLAW, LLC
UTECHT, ELIZABETH          NJ - USDC for the District of New Jersey   3:19-cv-13053         ONDERLAW, LLC
UYEMURA, SONHUI            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
VACCA, CHERYL              NJ - USDC for the District of New Jersey   3:19-cv-09605         ONDERLAW, LLC
VADEBONCOEUR, CAROLYN      NJ - USDC for the District of New Jersey   3:21-cv-10811         ONDERLAW, LLC
VAI, STEPHANIE             CA - Superior Court - San Bernardino County CIVDS 1721471        ONDERLAW, LLC
VAI, STEPHANIE             NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
VALBRUN, LYNDA             NJ - USDC for the District of New Jersey   3:20-cv-20736         ONDERLAW, LLC
VALDEZ, MARY               NJ - USDC for the District of New Jersey   3:21-cv-09907         ONDERLAW, LLC
VALDEZ, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-07730         ONDERLAW, LLC
VALDEZ-PARKER, AMANDA      NJ - USDC for the District of New Jersey   3:21-cv-03266         ONDERLAW, LLC
VALENCIA, DANIELE          NJ - USDC for the District of New Jersey   3:21-cv-04303         ONDERLAW, LLC
VALENCIA, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-12755         ONDERLAW, LLC
VALENCIA, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
VALENDY, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-01598         ONDERLAW, LLC
VALENTE, LISA              NJ - USDC for the District of New Jersey   3:18-cv-04236         ONDERLAW, LLC
VALENTINE, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-07557         ONDERLAW, LLC
VALENTINE, JUANITA         NJ - USDC for the District of New Jersey   3:17-cv-07774         ONDERLAW, LLC
VALENTINE, PATRICIA        MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
VALENZUELA, MONICA         NJ - USDC for the District of New Jersey   3:21-cv-09501         ONDERLAW, LLC
VALLE, DEANNE              NJ - USDC for the District of New Jersey   3:19-cv-14322         ONDERLAW, LLC
VALLES, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-02915         ONDERLAW, LLC
VALLEY, LOIS               NJ - USDC for the District of New Jersey   3:21-cv-06429         ONDERLAW, LLC
VALLIER, ANTOINETTE        NJ - USDC for the District of New Jersey   3:21-cv-09773         ONDERLAW, LLC
VALVERDE, ANGELINA         NJ - USDC for the District of New Jersey   3:21-cv-08207         ONDERLAW, LLC
VAN BUREN, MONICA          MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
VAN DEUSON, MARY           NJ - USDC for the District of New Jersey   3:20-cv-12227         ONDERLAW, LLC
VAN DOREN, CONSTANCE       NJ - USDC for the District of New Jersey   3:17-cv-12367         ONDERLAW, LLC
VAN DUSEN, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-14981         ONDERLAW, LLC
VAN DYKE, DEBERA           NJ - USDC for the District of New Jersey   3:21-cv-02853         ONDERLAW, LLC
VAN FLEET, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-10812         ONDERLAW, LLC
VAN HASELEN, CARMEN        NJ - USDC for the District of New Jersey   3:18-cv-15512         ONDERLAW, LLC
VAN HORN, JEWELL           NJ - USDC for the District of New Jersey   3:18-cv-03403         ONDERLAW, LLC
VAN LEEUWEN, CAROL         NJ - USDC for the District of New Jersey   3:20-cv-20673         ONDERLAW, LLC
VAN REMORTEL, JOANNE       NJ - USDC for the District of New Jersey   3:19-cv-12564         ONDERLAW, LLC
VAN WALLINGA, JACQUELINE   NJ - USDC for the District of New Jersey   3:20-cv-10192         ONDERLAW, LLC
VAN WINKLE, TERRYLE        NJ - USDC for the District of New Jersey   3:21-cv-07373         ONDERLAW, LLC
VAN, VIVIAN                NJ - USDC for the District of New Jersey   3:21-cv-05666         ONDERLAW, LLC
VANAMBURGH, NANCY          NJ - USDC for the District of New Jersey   3:19-cv-22100         ONDERLAW, LLC
VANCE, ANN                 NJ - USDC for the District of New Jersey   3:20-cv-02160         ONDERLAW, LLC
VANCE, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-00827         ONDERLAW, LLC
VANCE, NENA                NJ - USDC for the District of New Jersey   3:21-cv-09488         ONDERLAW, LLC
VANDALL, DEANNA            NJ - USDC for the District of New Jersey   3:17-cv-09160         ONDERLAW, LLC
VANDERBUNTE, SHANNON       NJ - USDC for the District of New Jersey   3:21-cv-02125         ONDERLAW, LLC
VANDERSTOKKER, MICHELLE    NJ - USDC for the District of New Jersey   3:20-cv-17466         ONDERLAW, LLC
VANDEWARKER, SHARON        MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
VANDYNE, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-04779         ONDERLAW, LLC
VANELLA, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-13856         ONDERLAW, LLC
VANKIRK, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-15769         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
VANLIER, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-09860         ONDERLAW, LLC
VANN, EVA                  NJ - USDC for the District of New Jersey   3:21-cv-07537         ONDERLAW, LLC
VANNESS, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-02657         ONDERLAW, LLC
VANNOSTRAND, TAMARA        NJ - USDC for the District of New Jersey   3:21-cv-01786         ONDERLAW, LLC
VANORE, RITA               NJ - USDC for the District of New Jersey   3:21-cv-04289         ONDERLAW, LLC
VANPOOL, CORIN             NJ - USDC for the District of New Jersey   3:21-cv-09089         ONDERLAW, LLC
VANTEYLINGEN, MARGARETHA   NJ - USDC for the District of New Jersey   3:21-cv-02231         ONDERLAW, LLC
VANZILE, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-06214         ONDERLAW, LLC
VARDA, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-04427         ONDERLAW, LLC
VARGAS, ANDREA             MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
VARGAS, DIANA              NJ - USDC for the District of New Jersey   3:20-cv-20311         ONDERLAW, LLC
VARGAS, ERICA              NJ - USDC for the District of New Jersey   3:20-cv-20720         ONDERLAW, LLC
VARGAS, LYDIA              NJ - USDC for the District of New Jersey   3:21-cv-01493         ONDERLAW, LLC
VARISCO, KATRINA           NJ - USDC for the District of New Jersey   3:20-cv-20278         ONDERLAW, LLC
VARR, LESLIE               CA - Superior Court - Santa Clara County   17CV318443            ONDERLAW, LLC
VAUGHAN, PRISCILLA         NJ - USDC for the District of New Jersey   3:21-cv-06821         ONDERLAW, LLC
VAUGHN, CATHEY             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
VAUGHN, PAMELA             NJ - USDC for the District of New Jersey   3:19-cv-06940         ONDERLAW, LLC
VAUGHN, RAMONA             NJ - USDC for the District of New Jersey   3:18-cv-08279         ONDERLAW, LLC
VAUGHT, KATHLEEN           NJ - USDC for the District of New Jersey   3:21-cv-07771         ONDERLAW, LLC
VAVIA, MARY                NJ - USDC for the District of New Jersey   3:18-cv-06760         ONDERLAW, LLC
VEAL, ELLA                 NJ - USDC for the District of New Jersey   3:21-cv-01617         ONDERLAW, LLC
VEASEY, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-08982         ONDERLAW, LLC
VEGA, REBECCA              NJ - USDC for the District of New Jersey   3:21-cv-06892         ONDERLAW, LLC
VEGA-MORALES, AIDA         NJ - USDC for the District of New Jersey   3:21-cv-06276         ONDERLAW, LLC
VEGHER, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-06079         ONDERLAW, LLC
VELA, CYNTHIA              NJ - USDC for the District of New Jersey   3:18-cv-04230         ONDERLAW, LLC
VELA, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-03331         ONDERLAW, LLC
VELASQUEZ, MARISELA        NJ - USDC for the District of New Jersey   3:20-cv-12230         ONDERLAW, LLC
VELAZQUEZ, NITZA           NJ - USDC for the District of New Jersey   3:21-cv-06817         ONDERLAW, LLC
VELAZQUEZ-GRIFFIN, MARY    NJ - USDC for the District of New Jersey   3:21-cv-04173         ONDERLAW, LLC
VELEZ, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-04974         ONDERLAW, LLC
VENEGAS, CATHY             NJ - USDC for the District of New Jersey   3:21-cv-03194         ONDERLAW, LLC
VENEZIA, LUCINDA           NJ - USDC for the District of New Jersey   3:21-cv-02222         ONDERLAW, LLC
VENTRICE, SHERI            NJ - USDC for the District of New Jersey   3:21-cv-07045         ONDERLAW, LLC
VERA, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-09315         ONDERLAW, LLC
VERA, VICTORIA             NJ - USDC for the District of New Jersey   3:17-cv-00793         ONDERLAW, LLC
VERCHER, RHONDA            NJ - USDC for the District of New Jersey   3:21-cv-02946         ONDERLAW, LLC
VERNON, JENNIFER           NJ - USDC for the District of New Jersey   3:17-cv-09942         ONDERLAW, LLC
VERON, JOY                 NJ - USDC for the District of New Jersey   3:21-cv-02223         ONDERLAW, LLC
VESS, SUESON               NJ - USDC for the District of New Jersey   3:19-cv-22117         ONDERLAW, LLC
VESTERBY, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-06506         ONDERLAW, LLC
VICKERSTAFF, CAROLYN       NJ - USDC for the District of New Jersey   3:17-cv-08412         ONDERLAW, LLC
VICKS, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-08387         ONDERLAW, LLC
VICORY, CATHY              NJ - USDC for the District of New Jersey   3:21-cv-05399         ONDERLAW, LLC
VICTOR, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-00678         ONDERLAW, LLC
VICTORINO, NADINE          NJ - USDC for the District of New Jersey   3:17-cv-00799         ONDERLAW, LLC
VIDOCK, BARBARA            NJ - USDC for the District of New Jersey   3:17-cv-10943         ONDERLAW, LLC
VIKASHNI, JAZMINE          MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
VILHAUER, JUDY             NJ - USDC for the District of New Jersey   3:19-cv-13191         ONDERLAW, LLC
VILLA, LYNN                NJ - USDC for the District of New Jersey   3:17-cv-10908         ONDERLAW, LLC
VILLA, TERESA              NJ - USDC for the District of New Jersey   3:21-cv-03110         ONDERLAW, LLC
VILLALPANDO, ANGELA        NJ - USDC for the District of New Jersey   3:21-cv-03767         ONDERLAW, LLC
VILLALPANDO, DOLORES       NJ - USDC for the District of New Jersey   3:21-cv-06115         ONDERLAW, LLC
VILLALPANDO, JESSICA       NJ - USDC for the District of New Jersey   3:21-cv-17330         ONDERLAW, LLC
VILLARI, NANCY             MO - Circuit Court - City of St. Louis     1822-CC11533          ONDERLAW, LLC
VILLARREAL, NATASHA        NJ - USDC for the District of New Jersey   3:21-cv-01618         ONDERLAW, LLC
VINCENT, ERNESTINE         NJ - USDC for the District of New Jersey   3:21-cv-05683         ONDERLAW, LLC
VINCENT-MOORE, DANELL      NJ - USDC for the District of New Jersey   3:21-cv-02365         ONDERLAW, LLC
VINCI, GLENDA              NJ - USDC for the District of New Jersey   3:21-cv-02995         ONDERLAW, LLC
VINES, JOHNNIE             NJ - USDC for the District of New Jersey   3:21-cv-04704         ONDERLAW, LLC
VINING, DORTHA             NJ - USDC for the District of New Jersey   3:21-cv-01585         ONDERLAW, LLC
VINSON, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-06134         ONDERLAW, LLC
VINUEZA, STACEY            NJ - USDC for the District of New Jersey   3:19-cv-14760         ONDERLAW, LLC
VIRCKS, MARLENE            NJ - USDC for the District of New Jersey   3:20-cv-17693         ONDERLAW, LLC
VITALE, DENICE             NJ - USDC for the District of New Jersey   3:18-cv-14891         ONDERLAW, LLC
VITALE, JEAN               NJ - USDC for the District of New Jersey   3:20-cv-20700         ONDERLAW, LLC
VITIELLO, PHYLLIS          NJ - USDC for the District of New Jersey   3:20-cv-17509         ONDERLAW, LLC
VITRANO, ANNA              MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
VLAUN, SUSAN               NJ - USDC for the District of New Jersey   3:18-cv-11969         ONDERLAW, LLC
VOGL, JENNIFER             NJ - USDC for the District of New Jersey   3:20-cv-13919         ONDERLAW, LLC
VOLKER-LOGUIDICE, AMANDA   NJ - USDC for the District of New Jersey   3:17-cv-00798         ONDERLAW, LLC
VOLZ, MAUREEN              NJ - USDC for the District of New Jersey   3:19-cv-09117         ONDERLAW, LLC
VON ASHEN, KRISTINE        MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
VON ASTEN, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-10813         ONDERLAW, LLC
VON DRASEK, MIRIAM         NJ - USDC for the District of New Jersey   3:21-cv-06307         ONDERLAW, LLC
VONDERSCHMIDT, REBECCA     NJ - USDC for the District of New Jersey   3:20-cv-03451         ONDERLAW, LLC
VONWALDNER, SUZANNE        NJ - USDC for the District of New Jersey   3:21-cv-02074         ONDERLAW, LLC
VORGA, JOANN               NJ - USDC for the District of New Jersey   3:21-cv-05787         ONDERLAW, LLC
VUICH, LEONA               NJ - USDC for the District of New Jersey   3:21-cv-02984         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
VUKOTICH, DENISE          NJ - USDC for the District of New Jersey   3:21-cv-08025         ONDERLAW, LLC
WAARDENBURG, NANCY        NJ - USDC for the District of New Jersey   3:17-cv-08355         ONDERLAW, LLC
WADDELL, MARIANA          NJ - USDC for the District of New Jersey   3:21-cv-06707         ONDERLAW, LLC
WADDLE, GAYLE             NJ - USDC for the District of New Jersey   3:21-cv-14469         ONDERLAW, LLC
WADDLE, PEGGY             NJ - USDC for the District of New Jersey   3:18-cv-13127         ONDERLAW, LLC
WADE, CHEREE              NJ - USDC for the District of New Jersey   3:20-cv-06714         ONDERLAW, LLC
WADE, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-22131         ONDERLAW, LLC
WADE, KANESHA             NJ - USDC for the District of New Jersey   3:21-cv-04098         ONDERLAW, LLC
WADE, LOIS                NJ - USDC for the District of New Jersey   3:20-cv-11242         ONDERLAW, LLC
WADLEY, ANNALISA          NJ - USDC for the District of New Jersey   3:21-cv-02244         ONDERLAW, LLC
WADSWORTH, LOIS           CA - Superior Court - Alameda County       RG20083935            ONDERLAW, LLC
WAGER, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-09147         ONDERLAW, LLC
WAGNER, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-09335         ONDERLAW, LLC
WAGNER, KHANTRELL         NJ - USDC for the District of New Jersey   3:20-cv-06403         ONDERLAW, LLC
WAGNER, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-18408         ONDERLAW, LLC
WAGNER, SHIRLEY           NJ - USDC for the District of New Jersey   3:19-cv-00721         ONDERLAW, LLC
WAGNER, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-04419         ONDERLAW, LLC
WAGNILD, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-19047         ONDERLAW, LLC
WAGUESPACK, ANDREA        NJ - USDC for the District of New Jersey   3:21-cv-02996         ONDERLAW, LLC
WAITE, JEANINE            NJ - USDC for the District of New Jersey   3:21-cv-03446         ONDERLAW, LLC
WAITES, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-04816         ONDERLAW, LLC
WAKE, KEASHUANA           NJ - USDC for the District of New Jersey   3:21-cv-02235         ONDERLAW, LLC
WALBECK, JANET            NJ - USDC for the District of New Jersey   3:21-cv-07969         ONDERLAW, LLC
WALBORN, AUDRIENNE        NJ - USDC for the District of New Jersey   3:21-cv-04761         ONDERLAW, LLC
WALDEN, CHAKA             NJ - USDC for the District of New Jersey   3:21-cv-08628         ONDERLAW, LLC
WALDEN, TIFFANY           NJ - USDC for the District of New Jersey   3:20-cv-20667         ONDERLAW, LLC
WALKER, ALICIA            MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
WALKER, CHINITA           NJ - USDC for the District of New Jersey   3:21-cv-07558         ONDERLAW, LLC
WALKER, DWEDE             NJ - USDC for the District of New Jersey   3:21-cv-06889         ONDERLAW, LLC
WALKER, FREDA             NJ - USDC for the District of New Jersey   03:21-cv-03632        ONDERLAW, LLC
WALKER, FREDA             NJ - USDC for the District of New Jersey   3:21-cv-03632         ONDERLAW, LLC
WALKER, JANET             NJ - USDC for the District of New Jersey   3:17-cv-09084         ONDERLAW, LLC
WALKER, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-08575         ONDERLAW, LLC
WALKER, LINDA             MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
WALKER, LUCY              NJ - USDC for the District of New Jersey   3:21-cv-04640         ONDERLAW, LLC
WALKER, MARILYN           NJ - USDC for the District of New Jersey   3:17-cv-09893         ONDERLAW, LLC
WALKER, MARJORIE          NJ - USDC for the District of New Jersey   3:20-cv-08232         ONDERLAW, LLC
WALKER, MECHIA            NJ - USDC for the District of New Jersey   3:21-cv-02371         ONDERLAW, LLC
WALKER, MICHELLE          NJ - USDC for the District of New Jersey   3:21-cv-04780         ONDERLAW, LLC
WALKER, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-07933         ONDERLAW, LLC
WALKER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-07631         ONDERLAW, LLC
WALKER, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-02933         ONDERLAW, LLC
WALKER, SABRINA           NJ - USDC for the District of New Jersey   3:21-cv-03198         ONDERLAW, LLC
WALKER, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-07685         ONDERLAW, LLC
WALKER, SHERYL            NJ - USDC for the District of New Jersey   3:21-cv-03326         ONDERLAW, LLC
WALKER, TRESSA            NJ - USDC for the District of New Jersey   3:21-cv-01789         ONDERLAW, LLC
WALKER, VERONICA          NJ - USDC for the District of New Jersey   3:19-cv-15159         ONDERLAW, LLC
WALKER, VERONICA          NJ - USDC for the District of New Jersey   3:19-cv-14509         ONDERLAW, LLC
WALKER, VERONICA          NJ - USDC for the District of New Jersey   3:21-cv-01619         ONDERLAW, LLC
WALKER, VIOLET            NJ - USDC for the District of New Jersey   3:21-cv-02431         ONDERLAW, LLC
WALKER, VIVIAN            NJ - USDC for the District of New Jersey   3:21-cv-01441         ONDERLAW, LLC
WALKER-DETLOFF, BETTY     MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
WALKEY, LEONISE           MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
WALLACE, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-05542         ONDERLAW, LLC
WALLACE, CHARLENE         NJ - USDC for the District of New Jersey   3:18-cv-10893         ONDERLAW, LLC
WALLACE, DIANE            NJ - USDC for the District of New Jersey   3:18-cv-13913         ONDERLAW, LLC
WALLACE, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-12878         ONDERLAW, LLC
WALLACE, IDA              NJ - USDC for the District of New Jersey   3:21-cv-09332         ONDERLAW, LLC
WALLACE, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-16362         ONDERLAW, LLC
WALLACE, SHERRY           NJ - USDC for the District of New Jersey   3:21-cv-02115         ONDERLAW, LLC
WALLACE, TERESA           NJ - USDC for the District of New Jersey   3:21-cv-02789         ONDERLAW, LLC
WALLACE-MERRITT, PENNY    NJ - USDC for the District of New Jersey   3:21-cv-03116         ONDERLAW, LLC
WALLER, CARLA             NJ - USDC for the District of New Jersey   3:21-cv-06714         ONDERLAW, LLC
WALLER, CHARLENE          NJ - USDC for the District of New Jersey   3:20-cv-20737         ONDERLAW, LLC
WALLER, FRANCES           NJ - USDC for the District of New Jersey   3:21-cv-17675         ONDERLAW, LLC
WALLER, LOIS              NJ - USDC for the District of New Jersey   3:19-cv-00019         ONDERLAW, LLC
WALLINGSFORD, PENNY       MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
WALLNER, BRENDA           NJ - USDC for the District of New Jersey   3:20-cv-09222         ONDERLAW, LLC
WALLS, LEROJUA            NJ - USDC for the District of New Jersey   3:21-cv-02832         ONDERLAW, LLC
WALSH, LISA               NJ - USDC for the District of New Jersey   3:19-cv-00420         ONDERLAW, LLC
WALSTON, CARRIE           NJ - USDC for the District of New Jersey   3:21-cv-08073         ONDERLAW, LLC
WALSTON, FLORA            NJ - USDC for the District of New Jersey   3:21-cv-08704         ONDERLAW, LLC
WALTER, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-10103         ONDERLAW, LLC
WALTERS, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-08389         ONDERLAW, LLC
WALTERS, ROSALIE          NJ - USDC for the District of New Jersey   3:20-cv-07292         ONDERLAW, LLC
WALTERS, THOMASCENE       NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
WALTMAN, MARLENE          NJ - USDC for the District of New Jersey   3:21-cv-04051         ONDERLAW, LLC
WALTON, EDNA              MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
WALTON, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-14667         ONDERLAW, LLC
WALTON, ROSAYLN           NJ - USDC for the District of New Jersey   3:20-cv-20695         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WALTZ, TERRY             NJ - USDC for the District of New Jersey   3:21-cv-07729         ONDERLAW, LLC
WANNEMACHER, CAROL       NJ - USDC for the District of New Jersey   3:21-cv-17677         ONDERLAW, LLC
WARD, CARLA              NJ - USDC for the District of New Jersey   3:21-cv-03966         ONDERLAW, LLC
WARD, IRMA               NJ - USDC for the District of New Jersey   3:21-cv-08077         ONDERLAW, LLC
WARD, JANET              NJ - USDC for the District of New Jersey   3:20-cv-10189         ONDERLAW, LLC
WARD, MARVA              NJ - USDC for the District of New Jersey   3:18-cv-04586         ONDERLAW, LLC
WARD, REBECCA            NJ - USDC for the District of New Jersey   3:21-cv-03802         ONDERLAW, LLC
WARD, TINA               NJ - USDC for the District of New Jersey   3:21-cv-03983         ONDERLAW, LLC
WARDELL, LUCILLE         NJ - USDC for the District of New Jersey   3:21-cv-10815         ONDERLAW, LLC
WARDLAW, ODETTE          NJ - USDC for the District of New Jersey   3:21-cv-06786         ONDERLAW, LLC
WARE, KATHERN            NJ - USDC for the District of New Jersey   3:21-cv-04253         ONDERLAW, LLC
WARE, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-08152         ONDERLAW, LLC
WARE, LORETTA            NJ - USDC for the District of New Jersey   3:21-cv-17175         ONDERLAW, LLC
WARICHAK, DIANE          NJ - USDC for the District of New Jersey   3:21-cv-10817         ONDERLAW, LLC
WARNER, CECELIA          NJ - USDC for the District of New Jersey   3:21-cv-08175         ONDERLAW, LLC
WARREN, JAMIE            NJ - USDC for the District of New Jersey   3:19-cv-12759         ONDERLAW, LLC
WARREN, JOANN            NJ - USDC for the District of New Jersey   3:21-cv-07551         ONDERLAW, LLC
WARREN, JULIA            NJ - USDC for the District of New Jersey   3:17-cv-12370         ONDERLAW, LLC
WARREN, LINDA            MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
WARREN, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-07403         ONDERLAW, LLC
WARYAS, PAMELA           NJ - USDC for the District of New Jersey   3:17-cv-11738         ONDERLAW, LLC
WASBERG, MICHELE         MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
WASCOM, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-07531         ONDERLAW, LLC
WASHINGTON, BERNITA      NJ - USDC for the District of New Jersey   3:21-cv-07983         ONDERLAW, LLC
WASHINGTON, BRIDGET      NJ - USDC for the District of New Jersey   3:21-cv-06254         ONDERLAW, LLC
WASHINGTON, CASHANNA     NJ - USDC for the District of New Jersey   3:17-cv-09931         ONDERLAW, LLC
WASHINGTON, CHINON       NJ - USDC for the District of New Jersey   3:21-cv-02788         ONDERLAW, LLC
WASHINGTON, CHRISY       NJ - USDC for the District of New Jersey   3:21-cv-05583         ONDERLAW, LLC
WASHINGTON, JOSIE        NJ - USDC for the District of New Jersey   3:20-cv-01051         ONDERLAW, LLC
WASHINGTON, JOYCE        NJ - USDC for the District of New Jersey   3:20-cv-01457         ONDERLAW, LLC
WASHINGTON, MARIE        NJ - USDC for the District of New Jersey   3:19-cv-05881         ONDERLAW, LLC
WASHINGTON, MARY         NJ - USDC for the District of New Jersey   3:17-cv-09858         ONDERLAW, LLC
WASHINGTON, MAYRENE      NJ - USDC for the District of New Jersey   3:21-cv-02445         ONDERLAW, LLC
WASHINGTON, MILDRED      NJ - USDC for the District of New Jersey   3:18-cv-10292         ONDERLAW, LLC
WASHINGTON, VALERIE      NJ - USDC for the District of New Jersey   3:21-cv-06098         ONDERLAW, LLC
WASSON, YVONNE           NJ - USDC for the District of New Jersey   3:21-cv-00936         ONDERLAW, LLC
WATFORD, STACY           NJ - USDC for the District of New Jersey   3:19-cv-20933         ONDERLAW, LLC
WATKINS, ANDREA          NJ - USDC for the District of New Jersey   3:20-cv-12959         ONDERLAW, LLC
WATKINS, FETINA          NJ - USDC for the District of New Jersey   3:21-cv-05245         ONDERLAW, LLC
WATKINS, GLADYS          NJ - USDC for the District of New Jersey   3:20-cv-20297         ONDERLAW, LLC
WATKINS, JAMIE           NJ - USDC for the District of New Jersey   3:18-cv-10344         ONDERLAW, LLC
WATKINS, JUDY            NJ - USDC for the District of New Jersey   3:21-cv-09407         ONDERLAW, LLC
WATKINS, LATASHA         NJ - USDC for the District of New Jersey   3:20-cv-06306         ONDERLAW, LLC
WATKINS, MARY            NJ - USDC for the District of New Jersey   3:21-cv-02555         ONDERLAW, LLC
WATKINS-ELLIS, MODIA     NJ - USDC for the District of New Jersey   3:21-cv-08345         ONDERLAW, LLC
WATLINGTON, TAWANA       NJ - USDC for the District of New Jersey   3:21-cv-08700         ONDERLAW, LLC
WATSON, BRENDA           MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
WATSON, EMMA             NJ - USDC for the District of New Jersey   3:21-cv-08388         ONDERLAW, LLC
WATSON, JOYCE            NJ - USDC for the District of New Jersey   3:17-cv-09162         ONDERLAW, LLC
WATSON, KAREN            MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
WATSON, REBECCA          NJ - USDC for the District of New Jersey   3:20-cv-08153         ONDERLAW, LLC
WATSON, RONEISHA         NJ - USDC for the District of New Jersey   3:21-cv-03545         ONDERLAW, LLC
WATSON, SHANNON          NJ - USDC for the District of New Jersey   3:21-cv-06445         ONDERLAW, LLC
WATSON, TERRI            NJ - USDC for the District of New Jersey   3:21-cv-03724         ONDERLAW, LLC
WATSON, VANESSA          NJ - USDC for the District of New Jersey   3:20-cv-13758         ONDERLAW, LLC
WATTS, CARLENE           MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
WATTS, KELSEY            NJ - USDC for the District of New Jersey   3:21-cv-07534         ONDERLAW, LLC
WAXMAN, LORRAINE         MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
WAY, AUDREY              NJ - USDC for the District of New Jersey   3:21-cv-06300         ONDERLAW, LLC
WEATHERFORD, KATHERINE   NJ - USDC for the District of New Jersey   3:17-cv-09943         ONDERLAW, LLC
WEATHERS, SHARON         NJ - USDC for the District of New Jersey   3:21-cv-06101         ONDERLAW, LLC
WEAVER, LUCINDA          NJ - USDC for the District of New Jersey   3:21-cv-08134         ONDERLAW, LLC
WEAVER, YVONNE           NJ - USDC for the District of New Jersey   3:18-cv-08376         ONDERLAW, LLC
WEBB, ANNA               NJ - USDC for the District of New Jersey   3:21-cv-05290         ONDERLAW, LLC
WEBB, GAIL               NJ - USDC for the District of New Jersey   3:21-cv-05002         ONDERLAW, LLC
WEBB, JEANETTE           NJ - USDC for the District of New Jersey   3:21-cv-09563         ONDERLAW, LLC
WEBB, KELLY              NJ - USDC for the District of New Jersey   3:17-cv-09818         ONDERLAW, LLC
WEBB, LYNN               NJ - USDC for the District of New Jersey   3:17-cv-00798         ONDERLAW, LLC
WEBB, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-06261         ONDERLAW, LLC
WEBBER, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-07773         ONDERLAW, LLC
WEBSTER, DIANE           NJ - USDC for the District of New Jersey   3:17-cv-10548         ONDERLAW, LLC
WEBSTER, JAMIE           NJ - USDC for the District of New Jersey   3:20-cv-09954         ONDERLAW, LLC
WEBSTER, REGINA          NJ - USDC for the District of New Jersey   3:20-cv-07767         ONDERLAW, LLC
WEBSTER, SHAWNNESSY      NJ - USDC for the District of New Jersey   3:21-cv-01507         ONDERLAW, LLC
WEBSTER, SUEANN          MO - Circuit Court - City of St. Louis     1722-CC10919          ONDERLAW, LLC
WEDDELL, WENDY           NJ - USDC for the District of New Jersey   3:19-cv-10410         ONDERLAW, LLC
WEDDINGTON, LAURIE       NJ - USDC for the District of New Jersey   3:21-cv-02839         ONDERLAW, LLC
WEDDLE, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-07286         ONDERLAW, LLC
WEDEMEYER, MICHELLE      NJ - USDC for the District of New Jersey   3:19-cv-19773         ONDERLAW, LLC




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        Claimant Name                    State Filed                      Docket Number                  Plaintiff Counsel
                                                                    30-2017-00952911-CU-PL-
WEDLICK-ORTIZ, ELLEN     CA - Superior Court - Orange County                                  ONDERLAW, LLC
                                                                    CXC
WEDLICK-ORTIZ, ELLEN     NJ - USDC for the District of New Jersey   3:17-cv-05720             ONDERLAW, LLC
WEEDMAN, CAROL           NJ - USDC for the District of New Jersey   3:17-cv-11179             ONDERLAW, LLC
WEEKLEY, CYNTHIA         NJ - USDC for the District of New Jersey   3:21-cv-08041             ONDERLAW, LLC
WEEKS, TAWANNA           NJ - USDC for the District of New Jersey   3:21-cv-06806             ONDERLAW, LLC
WEEKS, VICKI             NJ - USDC for the District of New Jersey   3:18-cv-12462             ONDERLAW, LLC
WEEKS-BAILEY, KATHLEEN   NJ - USDC for the District of New Jersey   3:21-cv-17196             ONDERLAW, LLC
WEESE, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-05722             ONDERLAW, LLC
WEGER, CHRISTINA         NJ - USDC for the District of New Jersey   3:21-cv-08265             ONDERLAW, LLC
WEIMER, PATRICIA         NJ - USDC for the District of New Jersey   3:20-cv-13760             ONDERLAW, LLC
WEINBERG, CINDY          NJ - USDC for the District of New Jersey   3:21-cv-06630             ONDERLAW, LLC
WEINER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-09505             ONDERLAW, LLC
WEINHEIMER, MARGARET     NJ - USDC for the District of New Jersey   3:20-cv-09955             ONDERLAW, LLC
WEINRIEB, HARRIETT       NJ - USDC for the District of New Jersey   3:19-cv-16186             ONDERLAW, LLC
WEIR, DEBRA              NJ - USDC for the District of New Jersey   3:18-cv-16978             ONDERLAW, LLC
WEIRICH, GENEVIEVE       NJ - USDC for the District of New Jersey   3:17-cv-11201             ONDERLAW, LLC
WEIS, KATARINA           NJ - USDC for the District of New Jersey   3:18-cv-13091             ONDERLAW, LLC
WEISE, LORETTA           NJ - USDC for the District of New Jersey   3:21-cv-07255             ONDERLAW, LLC
WEISENFELD, DENISE       NJ - USDC for the District of New Jersey   3:21-cv-03199             ONDERLAW, LLC
WEISS, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-01492             ONDERLAW, LLC
WEISS, LAURA             MO - Circuit Court - City of St. Louis     1422-CC09821              ONDERLAW, LLC
WELCH, DEANNE            NJ - USDC for the District of New Jersey   3:21-cv-09403             ONDERLAW, LLC
WELCH, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-14665             ONDERLAW, LLC
WELCH, LISA              NJ - USDC for the District of New Jersey   3:17-cv-09887             ONDERLAW, LLC
WELCH, LYNN              NJ - USDC for the District of New Jersey   3:21-cv-09024             ONDERLAW, LLC
WELCOME, FLORENCE        NJ - USDC for the District of New Jersey   3:21-cv-04987             ONDERLAW, LLC
WELDON, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-05089             ONDERLAW, LLC
WELLS, APRIL             NJ - USDC for the District of New Jersey   3:21-cv-09755             ONDERLAW, LLC
WELLS, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-20715             ONDERLAW, LLC
WELLS, GAYLE             NJ - USDC for the District of New Jersey   3:21-cv-17060             ONDERLAW, LLC
WELLS, HOLLEY            NJ - USDC for the District of New Jersey   3:21-cv-01891             ONDERLAW, LLC
WELLS, JEANNIE           NJ - USDC for the District of New Jersey   3:21-cv-02082             ONDERLAW, LLC
WELLS, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-07744             ONDERLAW, LLC
WELLS, MELLONY           NJ - USDC for the District of New Jersey   3:21-cv-17009             ONDERLAW, LLC
WELLS, RACHEL            NJ - USDC for the District of New Jersey   3:21-cv-02443             ONDERLAW, LLC
WELLS, RUTH              NJ - USDC for the District of New Jersey   3:21-cv-02856             ONDERLAW, LLC
WELLS, SAMANTHA          MO - Circuit Court - City of St. Louis     1422-CC09326-01           ONDERLAW, LLC
WELLS, TEMPLE            NJ - USDC for the District of New Jersey   3:19-cv-21567             ONDERLAW, LLC
WELSCH, REGINA           NJ - USDC for the District of New Jersey   3:21-cv-00019             ONDERLAW, LLC
WELSH, BEVERLY           NJ - USDC for the District of New Jersey   3:20-cv-18850             ONDERLAW, LLC
WELSH, DANA              CA - Superior Court - Stanislaus County    CV-20-005643              ONDERLAW, LLC
WELSH, DANA              NJ - USDC for the District of New Jersey   3:21-cv-00829             ONDERLAW, LLC
WELSH, MILDRED           NJ - USDC for the District of New Jersey   3:21-cv-02467             ONDERLAW, LLC
WENZELL, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-09241             ONDERLAW, LLC
WERCKMAN, BONNIE         NJ - USDC for the District of New Jersey   3:21-cv-00835             ONDERLAW, LLC
WERNECKE, OLIVIA         NJ - USDC for the District of New Jersey   3:18-cv-12588             ONDERLAW, LLC
WERNER, MARILYN          NJ - USDC for the District of New Jersey   3:20-cv-12231             ONDERLAW, LLC
WERSEL, TRACY            NJ - USDC for the District of New Jersey   3:18-cv-10104             ONDERLAW, LLC
WERT, GENEVIEVE          NJ - USDC for the District of New Jersey   3:21-cv-06624             ONDERLAW, LLC
WESSLING, JULIE          NJ - USDC for the District of New Jersey   3:20-cv-01036             ONDERLAW, LLC
WEST, ANTIONETTE         NJ - USDC for the District of New Jersey   3:21-cv-06695             ONDERLAW, LLC
WEST, BESSIE             NJ - USDC for the District of New Jersey   3:20-cv-19900             ONDERLAW, LLC
WEST, BRITTANY           NJ - USDC for the District of New Jersey   3:21-cv-08599             ONDERLAW, LLC
WEST, CAROLE             NJ - USDC for the District of New Jersey   3:18-cv-11510             ONDERLAW, LLC
WEST, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-12719             ONDERLAW, LLC
WEST, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-03422             ONDERLAW, LLC
WEST, EVELYN             NJ - USDC for the District of New Jersey   3:21-cv-07781             ONDERLAW, LLC
WEST, HEIDI              NJ - USDC for the District of New Jersey   3:19-cv-12824             ONDERLAW, LLC
WEST, JANICE             NJ - USDC for the District of New Jersey   3:18-cv-10874             ONDERLAW, LLC
WEST, LUCIA              NJ - USDC for the District of New Jersey   3:21-cv-01620             ONDERLAW, LLC
WEST, MARCIA             NJ - USDC for the District of New Jersey   3:21-cv-03572             ONDERLAW, LLC
WEST, MARY               NJ - USDC for the District of New Jersey   3:21-cv-08850             ONDERLAW, LLC
WEST, MELANIE            NJ - USDC for the District of New Jersey   3:21-cv-00758             ONDERLAW, LLC
WEST, NANCY              MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
WEST, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-11018             ONDERLAW, LLC
WEST, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-04776             ONDERLAW, LLC
WEST, SANDRA             NJ - USDC for the District of New Jersey   3:17-cv-11184             ONDERLAW, LLC
WEST, TERESA             NJ - USDC for the District of New Jersey   3:21-cv-07999             ONDERLAW, LLC
WEST, VICCI              NJ - USDC for the District of New Jersey   3:21-cv-02989             ONDERLAW, LLC
WEST-BROWN, KATHLEEN     NJ - USDC for the District of New Jersey   3:19-cv-13193             ONDERLAW, LLC
WESTERMAN, MARIANNE      NJ - USDC for the District of New Jersey   3:18-cv-13128             ONDERLAW, LLC
WESTFALL, CHANDA         NJ - USDC for the District of New Jersey   3:21-cv-08396             ONDERLAW, LLC
WESTMARK, CYNTHIA        NJ - USDC for the District of New Jersey   3:20-cv-12688             ONDERLAW, LLC
WESTON, MARION           NJ - USDC for the District of New Jersey   3:21-cv-03850             ONDERLAW, LLC
WESTPHALE, NANCY         NJ - USDC for the District of New Jersey   3:21-cv-05790             ONDERLAW, LLC
WETHERALD, DEBBIE        NJ - USDC for the District of New Jersey   3:21-cv-06690             ONDERLAW, LLC
WETSEL, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-12232             ONDERLAW, LLC
WHALEY, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-06221             ONDERLAW, LLC
WHALEY, ELAINE           NJ - USDC for the District of New Jersey   3:21-cv-10818             ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
WHALEY, SANDRA             NJ - USDC for the District of New Jersey   3:19-cv-19753         ONDERLAW, LLC
WHALEY, STACY              NJ - USDC for the District of New Jersey   3:21-cv-02685         ONDERLAW, LLC
WHATLEY, PAULA             NJ - USDC for the District of New Jersey   3:21-cv-03425         ONDERLAW, LLC
WHEELER, BONNIE            NJ - USDC for the District of New Jersey   3:21-cv-03972         ONDERLAW, LLC
WHEELER, CANDI             NJ - USDC for the District of New Jersey   3:21-cv-12427         ONDERLAW, LLC
WHEELER, KENAH             MO - Circuit Court - City of St. Louis     1722-CC11681          ONDERLAW, LLC
WHEELER, KENAH             NJ - USDC for the District of New Jersey   3:17-cv-00790         ONDERLAW, LLC
WHEELER, LEAANN            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
WHEELER, TRACEY            MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
WHELAN, CHERYL             NJ - USDC for the District of New Jersey   3:18-cv-13498         ONDERLAW, LLC
WHELAND, CLAUDIA           MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
WHETSTONE, RAECHEL         NJ - USDC for the District of New Jersey   3:20-cv-07634         ONDERLAW, LLC
WHITCOMB, CHRISTINA        NJ - USDC for the District of New Jersey   3:21-cv-03010         ONDERLAW, LLC
WHITE, ANGELA              NJ - USDC for the District of New Jersey   3:21-cv-09530         ONDERLAW, LLC
WHITE, BETTY               NJ - USDC for the District of New Jersey   3:21-cv-05758         ONDERLAW, LLC
WHITE, CAROLE              NJ - USDC for the District of New Jersey   3:17-cv-09894         ONDERLAW, LLC
WHITE, CAROLINE            NJ - USDC for the District of New Jersey   3:21-cv-01491         ONDERLAW, LLC
WHITE, CHARLOTTE           NJ - USDC for the District of New Jersey   3:21-cv-08349         ONDERLAW, LLC
WHITE, CYNTHIA             NJ - USDC for the District of New Jersey   3:17-cv-11180         ONDERLAW, LLC
WHITE, DAISY               MO - Circuit Court - City of St. Louis     1522-CC10545          ONDERLAW, LLC
WHITE, EDITH               NJ - USDC for the District of New Jersey   3:21-cv-04641         ONDERLAW, LLC
WHITE, EMMA                NJ - USDC for the District of New Jersey   3:20-cv-20689         ONDERLAW, LLC
WHITE, EVA                 NJ - USDC for the District of New Jersey   3:18-cv-11972         ONDERLAW, LLC
WHITE, FRANKIE             NJ - USDC for the District of New Jersey   3:21-cv-06743         ONDERLAW, LLC
WHITE, JANET               NJ - USDC for the District of New Jersey   3:17-cv-08774         ONDERLAW, LLC
WHITE, JENNIFER            NJ - USDC for the District of New Jersey   3:18-cv-13130         ONDERLAW, LLC
WHITE, JILL                NJ - USDC for the District of New Jersey   3:21-cv-03769         ONDERLAW, LLC
WHITE, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-03267         ONDERLAW, LLC
WHITE, KIMBERLY            NJ - USDC for the District of New Jersey   3:21-cv-17681         ONDERLAW, LLC
WHITE, KRISTEN             NJ - USDC for the District of New Jersey   3:21-cv-04344         ONDERLAW, LLC
WHITE, LAKESHIA            NJ - USDC for the District of New Jersey   3:19-cv-14043         ONDERLAW, LLC
WHITE, LASHONDRA           NJ - USDC for the District of New Jersey   3:21-cv-04794         ONDERLAW, LLC
WHITE, MARQUITA            NJ - USDC for the District of New Jersey   3:21-cv-05968         ONDERLAW, LLC
WHITE, MARY                NJ - USDC for the District of New Jersey   3:20-cv-02629         ONDERLAW, LLC
WHITE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-09209         ONDERLAW, LLC
WHITE, MELANIE             NJ - USDC for the District of New Jersey   3:21-cv-05249         ONDERLAW, LLC
WHITE, OMA                 NJ - USDC for the District of New Jersey   3:21-cv-08021         ONDERLAW, LLC
WHITE, PHYLLIS             MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
WHITE, REBECCA             NJ - USDC for the District of New Jersey   3:21-cv-08326         ONDERLAW, LLC
WHITE, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-09085         ONDERLAW, LLC
WHITE, SCARLETT            NJ - USDC for the District of New Jersey   3:21-cv-16917         ONDERLAW, LLC
WHITE, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-05615         ONDERLAW, LLC
WHITE, TAMICA              NJ - USDC for the District of New Jersey   3:21-cv-06224         ONDERLAW, LLC
WHITE, TENEILLE            NJ - USDC for the District of New Jersey   3:21-cv-09309         ONDERLAW, LLC
WHITEHEAD, DIANA           NJ - USDC for the District of New Jersey   3:21-cv-06460         ONDERLAW, LLC
WHITEHEAD, JOYCE           NJ - USDC for the District of New Jersey   3:21-cv-01504         ONDERLAW, LLC
WHITEHEAD, MARILYN         NJ - USDC for the District of New Jersey   3:19-cv-09175         ONDERLAW, LLC
WHITE-JOHNSON, ANGELIQUE   NJ - USDC for the District of New Jersey   3:20-cv-08154         ONDERLAW, LLC
WHITERS, CARLA             NJ - USDC for the District of New Jersey   3:18-cv-10105         ONDERLAW, LLC
WHITESELL, AMY             NJ - USDC for the District of New Jersey   3:19-cv-10411         ONDERLAW, LLC
WHITLEY, SUZANNE           NJ - USDC for the District of New Jersey   3:21-cv-05509         ONDERLAW, LLC
WHITMER, LILLIAN           NJ - USDC for the District of New Jersey   3:20-cv-07746         ONDERLAW, LLC
WHITNEY, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-09090         ONDERLAW, LLC
WHITSON, KATHLEEN          NJ - USDC for the District of New Jersey   3:21-cv-07309         ONDERLAW, LLC
WHITT, MOCHEET             NJ - USDC for the District of New Jersey   3:21-cv-08000         ONDERLAW, LLC
WHITT, SANDRA              NJ - USDC for the District of New Jersey   3:21-cv-07406         ONDERLAW, LLC
WHITTAKER, DARLENE         NJ - USDC for the District of New Jersey   3:18-cv-08570         ONDERLAW, LLC
WHITTEN, JEANNETTE         NJ - USDC for the District of New Jersey   3:21-cv-09451         ONDERLAW, LLC
WHITTEN, JOVANNIE          NJ - USDC for the District of New Jersey   3:18-cv-10106         ONDERLAW, LLC
WHITTEN, JULIA             NJ - USDC for the District of New Jersey   3:21-cv-08506         ONDERLAW, LLC
WHITTEN, LORELLA           NJ - USDC for the District of New Jersey   3:19-cv-19748         ONDERLAW, LLC
WHITTIER, PRISCILLA        NJ - USDC for the District of New Jersey   3:18-cv-10342         ONDERLAW, LLC
WHITTINGTON, GLENDA        NJ - USDC for the District of New Jersey   3:17-cv-09565         ONDERLAW, LLC
WHITTINGTON, KATHYRINE     NJ - USDC for the District of New Jersey   3:17-cv-09888         ONDERLAW, LLC
WHITTLEY, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-02145         ONDERLAW, LLC
WHITTLEY, MISTY            NJ - USDC for the District of New Jersey   3:21-cv-02626         ONDERLAW, LLC
WHITTMORE, JOAN            MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
WHITTY, TAMMY              NJ - USDC for the District of New Jersey   3:18-cv-01373         ONDERLAW, LLC
WHITWORTH, DORINDA         NJ - USDC for the District of New Jersey   3:21-cv-04762         ONDERLAW, LLC
WHYTE, RUTHLIN             NJ - USDC for the District of New Jersey   3:18-cv-08160         ONDERLAW, LLC
WICKER, NICKOLE            NJ - USDC for the District of New Jersey   3:21-cv-07564         ONDERLAW, LLC
WICKERSHEIMER, JULIE       NJ - USDC for the District of New Jersey   3:21-cv-08807         ONDERLAW, LLC
WICKLER, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-13499         ONDERLAW, LLC
WICKLUND, JUANITA          NJ - USDC for the District of New Jersey   3:21-cv-04055         ONDERLAW, LLC
WICKWARE, TIFFANY          NJ - USDC for the District of New Jersey   3:18-cv-12520         ONDERLAW, LLC
WIDNER, RACHEL             NJ - USDC for the District of New Jersey   3:21-cv-09839         ONDERLAW, LLC
WIEBERG, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-04060         ONDERLAW, LLC
WIER, APRIL                NJ - USDC for the District of New Jersey   3:20-cv-02326         ONDERLAW, LLC
WIGGINS, ANNETTE           NJ - USDC for the District of New Jersey   3:21-cv-06126         ONDERLAW, LLC
WIGGINS, MATTIE            NJ - USDC for the District of New Jersey   3:21-cv-03200         ONDERLAW, LLC




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
WIGGINS, NINNIA            NJ - USDC for the District of New Jersey   3:21-cv-05696         ONDERLAW, LLC
WIGGINS, SHANNA            NJ - USDC for the District of New Jersey   3:20-cv-02637         ONDERLAW, LLC
WIGGLESWORTH, SUZANNE      NJ - USDC for the District of New Jersey   3:18-cv-15476         ONDERLAW, LLC
WIGGLESWORTH, SUZANNE      NJ - USDC for the District of New Jersey   3:18-cv-15476         ONDERLAW, LLC
WIGINTON, TERRI            NJ - USDC for the District of New Jersey   3:18-cv-09752         ONDERLAW, LLC
WIIKI, JANET               NJ - USDC for the District of New Jersey   3:21-cv-08200         ONDERLAW, LLC
WILBORN-NOBLE, LUEBERTHA   NJ - USDC for the District of New Jersey   3:19-cv-04429         ONDERLAW, LLC
WILBURN, BRIGITTE          NJ - USDC for the District of New Jersey   3:20-cv-15460         ONDERLAW, LLC
WILBURN, DORIS             NJ - USDC for the District of New Jersey   3:21-cv-03502         ONDERLAW, LLC
WILBURN, MELISSA           NJ - USDC for the District of New Jersey   3:18-cv-02308         ONDERLAW, LLC
WILCHER, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-17409         ONDERLAW, LLC
WILCOX, LACEY              NJ - USDC for the District of New Jersey   3:21-cv-08274         ONDERLAW, LLC
WILCOX, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-17683         ONDERLAW, LLC
WILDA, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-21306         ONDERLAW, LLC
WILDER, ELISE              MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
WILDER, JEANNE             NJ - USDC for the District of New Jersey   3:21-cv-02152         ONDERLAW, LLC
WILES, BERNICE             NJ - USDC for the District of New Jersey   3:21-cv-10825         ONDERLAW, LLC
WILEY, DORIS               NJ - USDC for the District of New Jersey   3:21-cv-06252         ONDERLAW, LLC
WILEY, EVI                 NJ - USDC for the District of New Jersey   3:21-cv-03942         ONDERLAW, LLC
WILFORD, ANA               NJ - USDC for the District of New Jersey   3:21-cv-07081         ONDERLAW, LLC
WILHELM, EILEEN            MO - Circuit Court - Jefferson County      18JE-CC00448          ONDERLAW, LLC
WILKERSON, GLORIA          NJ - USDC for the District of New Jersey   3:17-cv-05720         ONDERLAW, LLC
WILKES, KATIE              NJ - USDC for the District of New Jersey   3:17-cv-09944         ONDERLAW, LLC
WILKINSON, MONICA          NJ - USDC for the District of New Jersey   3:17-cv-09087         ONDERLAW, LLC
WILL, DEBRA                NJ - USDC for the District of New Jersey   3:19-cv-15550         ONDERLAW, LLC
WILLARD, VELMA             MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1422-CC10042          ONDERLAW, LLC
WILLEY, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-10826         ONDERLAW, LLC
WILLIAMS, ALFREDIA         NJ - USDC for the District of New Jersey   3:21-cv-08351         ONDERLAW, LLC
WILLIAMS, ALMA             NJ - USDC for the District of New Jersey   3:21-cv-05154         ONDERLAW, LLC
WILLIAMS, ANITA            NJ - USDC for the District of New Jersey   3:18-cv-14032         ONDERLAW, LLC
WILLIAMS, ARCHENCHALA      NJ - USDC for the District of New Jersey   3:21-cv-05365         ONDERLAW, LLC
WILLIAMS, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-04127         ONDERLAW, LLC
WILLIAMS, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-00736         ONDERLAW, LLC
WILLIAMS, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-06994         ONDERLAW, LLC
WILLIAMS, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-09545         ONDERLAW, LLC
WILLIAMS, BRENDA           NJ - USDC for the District of New Jersey   3:18-cv-14712         ONDERLAW, LLC
WILLIAMS, BRENDA           NJ - USDC for the District of New Jersey   3:21-cv-01535         ONDERLAW, LLC
WILLIAMS, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-02209         ONDERLAW, LLC
WILLIAMS, CARRIE           NJ - USDC for the District of New Jersey   3:21-cv-06849         ONDERLAW, LLC
WILLIAMS, CHARLENE         NJ - USDC for the District of New Jersey   3:21-cv-01506         ONDERLAW, LLC
WILLIAMS, CHARLOTTE        NJ - USDC for the District of New Jersey   3:21-cv-06628         ONDERLAW, LLC
WILLIAMS, CHRISTINE        NJ - USDC for the District of New Jersey   3:19-cv-19742         ONDERLAW, LLC
WILLIAMS, CHRISTINE        NJ - USDC for the District of New Jersey   3:19-cv-19754         ONDERLAW, LLC
WILLIAMS, CRYSTAL          NJ - USDC for the District of New Jersey   3:20-cv-17666         ONDERLAW, LLC
WILLIAMS, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-09594         ONDERLAW, LLC
WILLIAMS, CYNTHIA          NJ - USDC for the District of New Jersey   3:17-cv-07773         ONDERLAW, LLC
WILLIAMS, DARLENE          NJ - USDC for the District of New Jersey   3:21-cv-07314         ONDERLAW, LLC
WILLIAMS, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-10598         ONDERLAW, LLC
WILLIAMS, DEBRA            NJ - USDC for the District of New Jersey   3:18-cv-10356         ONDERLAW, LLC
WILLIAMS, DEBRA            NJ - USDC for the District of New Jersey   3:17-cv-09592         ONDERLAW, LLC
WILLIAMS, DEBRA            NJ - USDC for the District of New Jersey   3:17-cv-09165         ONDERLAW, LLC
WILLIAMS, DESTANY          NJ - USDC for the District of New Jersey   3:21-cv-17685         ONDERLAW, LLC
WILLIAMS, DIANE            NJ - USDC for the District of New Jersey   3:21-cv-05556         ONDERLAW, LLC
WILLIAMS, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-02512         ONDERLAW, LLC
WILLIAMS, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
WILLIAMS, EDDIE            NJ - USDC for the District of New Jersey   3:21-cv-05251         ONDERLAW, LLC
WILLIAMS, FLORENCE         MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
WILLIAMS, GAIL             NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
WILLIAMS, HAZEL            NJ - USDC for the District of New Jersey   3:21-cv-07565         ONDERLAW, LLC
WILLIAMS, JAN              NJ - USDC for the District of New Jersey   3:21-cv-10830         ONDERLAW, LLC
WILLIAMS, JANICE           NJ - USDC for the District of New Jersey   3:19-cv-16187         ONDERLAW, LLC
WILLIAMS, JEAN             NJ - USDC for the District of New Jersey   3:21-cv-01773         ONDERLAW, LLC
WILLIAMS, JESSICA          NJ - USDC for the District of New Jersey   3:21-cv-04989         ONDERLAW, LLC
WILLIAMS, JESSIE           NJ - USDC for the District of New Jersey   3:19-cv-12405         ONDERLAW, LLC
WILLIAMS, JOHNNIE          NJ - USDC for the District of New Jersey   3:17-cv-08988         ONDERLAW, LLC
WILLIAMS, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-05597         ONDERLAW, LLC
WILLIAMS, JOYCE            NJ - USDC for the District of New Jersey   3:18-cv-13140         ONDERLAW, LLC
WILLIAMS, JOYCELYN         NJ - USDC for the District of New Jersey   3:21-cv-09645         ONDERLAW, LLC
WILLIAMS, JOYCELYN         NJ - USDC for the District of New Jersey   3:21-cv-02046         ONDERLAW, LLC
WILLIAMS, KAREN            NJ - USDC for the District of New Jersey   3:21-cv-02117         ONDERLAW, LLC
WILLIAMS, KATHERINE        NJ - USDC for the District of New Jersey   3:21-cv-03549         ONDERLAW, LLC
WILLIAMS, KATHLEEN         NJ - USDC for the District of New Jersey   3:18-cv-01376         ONDERLAW, LLC
WILLIAMS, KENA             NJ - USDC for the District of New Jersey   3:17-cv-10991         ONDERLAW, LLC
WILLIAMS, KIM              NJ - USDC for the District of New Jersey   3:21-cv-03952         ONDERLAW, LLC
WILLIAMS, KIMBERLY         NJ - USDC for the District of New Jersey   3:17-cv-09166         ONDERLAW, LLC
WILLIAMS, LOUISE           NJ - USDC for the District of New Jersey   3:20-cv-03256         ONDERLAW, LLC
WILLIAMS, MARA             NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
WILLIAMS, MARGARET         NJ - USDC for the District of New Jersey   3:21-cv-02561         ONDERLAW, LLC




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          Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
WILLIAMS, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-02448         ONDERLAW, LLC
WILLIAMS, MARVA              NJ - USDC for the District of New Jersey   3:18-cv-13138         ONDERLAW, LLC
WILLIAMS, MARY               NJ - USDC for the District of New Jersey   3:21-cv-06492         ONDERLAW, LLC
WILLIAMS, MARY               NJ - USDC for the District of New Jersey   3:17-cv-09277         ONDERLAW, LLC
WILLIAMS, MARY               NJ - USDC for the District of New Jersey   3:21-cv-01623         ONDERLAW, LLC
WILLIAMS, MARY               NJ - USDC for the District of New Jersey   3:17-cv-03945         ONDERLAW, LLC
WILLIAMS, MAUDE              NJ - USDC for the District of New Jersey   3:21-cv-02627         ONDERLAW, LLC
WILLIAMS, MAUDIE             NJ - USDC for the District of New Jersey   3:21-cv-08169         ONDERLAW, LLC
WILLIAMS, MELISSA            NJ - USDC for the District of New Jersey   3:21-cv-09608         ONDERLAW, LLC
WILLIAMS, MELISSA            NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
WILLIAMS, MICHELE            NJ - USDC for the District of New Jersey   3:21-cv-06529         ONDERLAW, LLC
WILLIAMS, MICHELLE           NJ - USDC for the District of New Jersey   3:21-cv-06532         ONDERLAW, LLC
WILLIAMS, MONICA             NJ - USDC for the District of New Jersey   3:21-cv-03388         ONDERLAW, LLC
WILLIAMS, NATASHIA           NJ - USDC for the District of New Jersey   3:21-cv-05301         ONDERLAW, LLC
WILLIAMS, NEOMIA             NJ - USDC for the District of New Jersey   3:21-cv-03598         ONDERLAW, LLC
WILLIAMS, NIBEEBAH           NJ - USDC for the District of New Jersey   3:21-cv-04914         ONDERLAW, LLC
WILLIAMS, NOVLETTE           NJ - USDC for the District of New Jersey   3:21-cv-04854         ONDERLAW, LLC
WILLIAMS, OLLIE              NJ - USDC for the District of New Jersey   3:21-cv-07682         ONDERLAW, LLC
WILLIAMS, PATREETA           NJ - USDC for the District of New Jersey   3:20-cv-13761         ONDERLAW, LLC
WILLIAMS, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-05639         ONDERLAW, LLC
WILLIAMS, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-12934         ONDERLAW, LLC
WILLIAMS, RAECHELL           MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
WILLIAMS, RHONDA             MO - Circuit Court - City of St. Louis     1522-CC00811          ONDERLAW, LLC
WILLIAMS, RONDA              NJ - USDC for the District of New Jersey   3:21-cv-09575         ONDERLAW, LLC
WILLIAMS, ROSIE              NJ - USDC for the District of New Jersey   3:21-cv-02955         ONDERLAW, LLC
WILLIAMS, RUBY               NJ - USDC for the District of New Jersey   3:21-cv-02556         ONDERLAW, LLC
WILLIAMS, RUTH               NJ - USDC for the District of New Jersey   3:19-cv-09115         ONDERLAW, LLC
WILLIAMS, SAMMI              NJ - USDC for the District of New Jersey   3:21-cv-08026         ONDERLAW, LLC
WILLIAMS, SANDY              NJ - USDC for the District of New Jersey   3:18-cv-03344         ONDERLAW, LLC
WILLIAMS, SHADRIEL           NJ - USDC for the District of New Jersey   3:21-cv-04297         ONDERLAW, LLC
WILLIAMS, SHARON             NJ - USDC for the District of New Jersey   3:21-cv-06029         ONDERLAW, LLC
WILLIAMS, SHAWNTEL           NJ - USDC for the District of New Jersey   3:21-cv-08695         ONDERLAW, LLC
WILLIAMS, SHERRY             NJ - USDC for the District of New Jersey   3:21-cv-03611         ONDERLAW, LLC
WILLIAMS, STARLEETH          NJ - USDC for the District of New Jersey   3:19-cv-22119         ONDERLAW, LLC
WILLIAMS, TAMARA             NJ - USDC for the District of New Jersey   3:21-cv-07050         ONDERLAW, LLC
WILLIAMS, TEREON             NJ - USDC for the District of New Jersey   3:21-cv-05544         ONDERLAW, LLC
WILLIAMS, THELMA             NJ - USDC for the District of New Jersey   3:21-cv-02703         ONDERLAW, LLC
WILLIAMS, TONYA              NJ - USDC for the District of New Jersey   3:21-cv-05223         ONDERLAW, LLC
WILLIAMS, TONYA              NJ - USDC for the District of New Jersey   3:21-cv-07219         ONDERLAW, LLC
WILLIAMS, VANESSA            NJ - USDC for the District of New Jersey   3:21-cv-01837         ONDERLAW, LLC
WILLIAMS, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-02558         ONDERLAW, LLC
WILLIAMS, WILLETTE           MO - Circuit Court - City of St. Louis     1522-CC-09792         ONDERLAW, LLC
WILLIAMS-GAINES, DEBORAH     NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
WILLIAMS-MCCLENDON, REMONA   NJ - USDC for the District of New Jersey   3:18-cv-09602         ONDERLAW, LLC
WILLIAMSON, CRYSTAL          NJ - USDC for the District of New Jersey   3:21-cv-09609         ONDERLAW, LLC
WILLIAMSON, DENISE           MO - Circuit Court - City of St. Louis     1522-CC00613          ONDERLAW, LLC
WILLIAMSON, DOROTHY          MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
WILLIAMSON, JOANNE           NJ - USDC for the District of New Jersey   3:18-cv-13142         ONDERLAW, LLC
WILLIAMSON, MELANIE          NJ - USDC for the District of New Jersey   3:20-cv-03386         ONDERLAW, LLC
WILLIAMSON, SHARON           NJ - USDC for the District of New Jersey   3:21-cv-06665         ONDERLAW, LLC
WILLIAMSON, SYBLE            NJ - USDC for the District of New Jersey   3:21-cv-02971         ONDERLAW, LLC
WILLIAMSON, TONDA            NJ - USDC for the District of New Jersey   3:21-cv-16928         ONDERLAW, LLC
WILLIAMSON-HORSEMAN, JODI    NJ - USDC for the District of New Jersey   3:18-cv-13666         ONDERLAW, LLC
WILLIAMS-PERKINS, PAMELA     NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
WILLIAMS-SCHMIDT, SHEILA     NJ - USDC for the District of New Jersey   3:21-cv-09735         ONDERLAW, LLC
WILLIAMS-SHAKIR, ELOUISE     NJ - USDC for the District of New Jersey   3:21-cv-01744         ONDERLAW, LLC
WILLIAMS-SMITH, MATTIE       NJ - USDC for the District of New Jersey   3:20-cv-15412         ONDERLAW, LLC
WILLIAMSTON, EFFIE           NJ - USDC for the District of New Jersey   3:18-cv-09050         ONDERLAW, LLC
WILLICH, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-07683         ONDERLAW, LLC
WILLIFORD, BRANDY            NJ - USDC for the District of New Jersey   3:21-cv-02538         ONDERLAW, LLC
WILLIS, ALANA                NJ - USDC for the District of New Jersey   3:21-cv-05635         ONDERLAW, LLC
WILLIS, ALECIA               NJ - USDC for the District of New Jersey   3:17-cv-04880         ONDERLAW, LLC
WILLIS, BERNITA              NJ - USDC for the District of New Jersey   3:20-cv-20469         ONDERLAW, LLC
WILLIS, CINDY                NJ - USDC for the District of New Jersey   3:17-cv-10606         ONDERLAW, LLC
WILLIS, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-08612         ONDERLAW, LLC
WILLIS, ELISA                NJ - USDC for the District of New Jersey   3:21-cv-01576         ONDERLAW, LLC
WILLIS, JOAN                 NJ - USDC for the District of New Jersey   3:21-cv-07367         ONDERLAW, LLC
WILLIS, KRISTEN              NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
WILLIS, MARTHA               NJ - USDC for the District of New Jersey   3:21-cv-07861         ONDERLAW, LLC
WILLIS, PEARLIE              NJ - USDC for the District of New Jersey   3:21-cv-06175         ONDERLAW, LLC
WILLIS, STEPHANIE            NJ - USDC for the District of New Jersey   3:21-cv-04130         ONDERLAW, LLC
WILLS, KATHRYN               NJ - USDC for the District of New Jersey   3:17-cv-03944         ONDERLAW, LLC
WILLSEY, DONNA               MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
WILMORE, TASHETA             NJ - USDC for the District of New Jersey   3:21-cv-06573         ONDERLAW, LLC
WILMOTH, NANCY               NJ - USDC for the District of New Jersey   3:20-cv-03474         ONDERLAW, LLC
WILSON, ALICE                NJ - USDC for the District of New Jersey   3:21-cv-06914         ONDERLAW, LLC
WILSON, ALICIA               NJ - USDC for the District of New Jersey   3:21-cv-06908         ONDERLAW, LLC
WILSON, AMANDA               NJ - USDC for the District of New Jersey   3:19-cv-14680         ONDERLAW, LLC
WILSON, AMY                  NJ - USDC for the District of New Jersey   3:21-cv-18235         ONDERLAW, LLC
WILSON, ARLENE               NJ - USDC for the District of New Jersey   3:21-cv-04282         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WILSON, CANDICE           NJ - USDC for the District of New Jersey   3:19-cv-14407         ONDERLAW, LLC
WILSON, CHRISTINA         NJ - USDC for the District of New Jersey   3:21-cv-09151         ONDERLAW, LLC
WILSON, DARLENE           NJ - USDC for the District of New Jersey   3:21-cv-17313         ONDERLAW, LLC
WILSON, DAWN              NJ - USDC for the District of New Jersey   3:21-cv-05006         ONDERLAW, LLC
WILSON, EARSHLA           NJ - USDC for the District of New Jersey   3:21-cv-18188         ONDERLAW, LLC
WILSON, FLORA             MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
WILSON, JOHNNELL          NJ - USDC for the District of New Jersey   3:21-cv-03765         ONDERLAW, LLC
WILSON, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-06355         ONDERLAW, LLC
WILSON, KESISHA           NJ - USDC for the District of New Jersey   3:19-cv-12565         ONDERLAW, LLC
WILSON, LAURIE            MO - Circuit Court - City of St. Louis     1822-CC00237          ONDERLAW, LLC
WILSON, LAURIE            NJ - USDC for the District of New Jersey   3:19-cv-14343         ONDERLAW, LLC
WILSON, LEQUISA           NJ - USDC for the District of New Jersey   3:17-cv-09596         ONDERLAW, LLC
WILSON, MAGGIE            NJ - USDC for the District of New Jersey   3:21-cv-06303         ONDERLAW, LLC
WILSON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-13403         ONDERLAW, LLC
WILSON, MELANIE           NJ - USDC for the District of New Jersey   3:21-cv-17687         ONDERLAW, LLC
WILSON, NICOLE            NJ - USDC for the District of New Jersey   3:20-cv-16383         ONDERLAW, LLC
WILSON, PHYLLIS           NJ - USDC for the District of New Jersey   3:19-cv-16059         ONDERLAW, LLC
WILSON, REBECCA           NJ - USDC for the District of New Jersey   3:21-cv-05764         ONDERLAW, LLC
WILSON, RITA              NJ - USDC for the District of New Jersey   3:21-cv-00150         ONDERLAW, LLC
WILSON, ROSHON            NJ - USDC for the District of New Jersey   3:20-cv-20668         ONDERLAW, LLC
WILSON, SADE              NJ - USDC for the District of New Jersey   3:21-cv-11164         ONDERLAW, LLC
WILSON, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-06006         ONDERLAW, LLC
WILSON, SHEKEYIA          NJ - USDC for the District of New Jersey   3:21-cv-10838         ONDERLAW, LLC
WILSON, SHERRY            NJ - USDC for the District of New Jersey   3:19-cv-21565         ONDERLAW, LLC
WILSON, TRINI             NJ - USDC for the District of New Jersey   3:21-cv-00025         ONDERLAW, LLC
WIMBERLEY, TAMMIE         NJ - USDC for the District of New Jersey   3:21-cv-06509         ONDERLAW, LLC
WIMBERLY-TATUM, CAROLYN   NJ - USDC for the District of New Jersey   3:21-cv-08589         ONDERLAW, LLC
WINBUSH, ANGELA           NJ - USDC for the District of New Jersey   3:21-cv-03448         ONDERLAW, LLC
WINE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-10841         ONDERLAW, LLC
WINGO, LYNDA              MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
WINGO-RUST, ANGELA        MO - Circuit Court - City of St. Louis     1622-CC-00837         ONDERLAW, LLC
WINKELMAN, SARAH          MO - Circuit Court - City of St. Louis     1622-CC00134          ONDERLAW, LLC
WINKLER, JUDY             NJ - USDC for the District of New Jersey   3:21-cv-07543         ONDERLAW, LLC
WINKLER, RUTH             NJ - USDC for the District of New Jersey   3:21-cv-02083         ONDERLAW, LLC
WINSTEAD, CINDY           NJ - USDC for the District of New Jersey   3:21-cv-17689         ONDERLAW, LLC
WINSTEAD, JENNIFER        NJ - USDC for the District of New Jersey   3:20-cv-03373         ONDERLAW, LLC
WINSTEAD, MARY            NJ - USDC for the District of New Jersey   3:19-cv-14510         ONDERLAW, LLC
WINSTON, JUDY             NJ - USDC for the District of New Jersey   3:21-cv-06873         ONDERLAW, LLC
WINTERS, MARTHA           NJ - USDC for the District of New Jersey   3:20-cv-14598         ONDERLAW, LLC
WINTERS, PATSY            NJ - USDC for the District of New Jersey   3:21-cv-06009         ONDERLAW, LLC
WINTHER, STACEY           NJ - USDC for the District of New Jersey   3:18-cv-08572         ONDERLAW, LLC
WIRICK, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-09205         ONDERLAW, LLC
WIRTH, SONJA              NJ - USDC for the District of New Jersey   3:18-cv-11749         ONDERLAW, LLC
WISE, BEVERLY             NJ - USDC for the District of New Jersey   3:20-cv-07739         ONDERLAW, LLC
WISE, CLARA               NJ - USDC for the District of New Jersey   3:18-cv-03607         ONDERLAW, LLC
WISE, SHERRY              NJ - USDC for the District of New Jersey   3:20-cv-04936         ONDERLAW, LLC
WISECUP, ALICIA           NJ - USDC for the District of New Jersey   3:18-cv-13921         ONDERLAW, LLC
WISEMAN, APRIL            NJ - USDC for the District of New Jersey   3:21-cv-13636         ONDERLAW, LLC
WISNER, MARIANNE          NJ - USDC for the District of New Jersey   3:18-cv-14037         ONDERLAW, LLC
WISNESKI, JOY             NJ - USDC for the District of New Jersey   3:18-cv-17360         ONDERLAW, LLC
WITHERSPOON, CINDY        NJ - USDC for the District of New Jersey   3:21-cv-07335         ONDERLAW, LLC
WITHOLW, BILLIE           NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
WITHROW, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-00319         ONDERLAW, LLC
WITT, JESSICA             NJ - USDC for the District of New Jersey   3:20-cv-12233         ONDERLAW, LLC
WITT, LONETTA             NJ - USDC for the District of New Jersey   3:19-cv-14871         ONDERLAW, LLC
WITTER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-02005         ONDERLAW, LLC
WITTIG, HELGA             NJ - USDC for the District of New Jersey   3:21-cv-07704         ONDERLAW, LLC
WIXOM, KATRINA            NJ - USDC for the District of New Jersey   3:20-cv-03475         ONDERLAW, LLC
WNEK, LORETTA             NJ - USDC for the District of New Jersey   3:21-cv-02315         ONDERLAW, LLC
WOHLERT, CAROLYN          NJ - USDC for the District of New Jersey   3:21-cv-17240         ONDERLAW, LLC
WOJCIK, CAROLYN           NJ - USDC for the District of New Jersey   3:19-cv-09116         ONDERLAW, LLC
WOJCIK, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-10843         ONDERLAW, LLC
WOJTUSKI, CECELIA         NJ - USDC for the District of New Jersey   3:21-cv-06681         ONDERLAW, LLC
WOLCOTT, BRANDI           NJ - USDC for the District of New Jersey   3:21-cv-03727         ONDERLAW, LLC
WOLF, DIANE               NJ - USDC for the District of New Jersey   3:19-cv-01125         ONDERLAW, LLC
WOLF, DONATTA             NJ - USDC for the District of New Jersey   3:21-cv-03810         ONDERLAW, LLC
WOLF, IRENE               NJ - USDC for the District of New Jersey   3:21-cv-06871         ONDERLAW, LLC
WOLF, LAUREN              NJ - USDC for the District of New Jersey   3:21-cv-06828         ONDERLAW, LLC
WOLF, SUSIE               CA - Superior Court - Monterrey County     17CV004012            ONDERLAW, LLC
WOLF, SUSIE               NJ - USDC for the District of New Jersey   3:17-cv-05719         ONDERLAW, LLC
WOLFE, DIANNE             NJ - USDC for the District of New Jersey   3:17-cv-09090         ONDERLAW, LLC
WOLFE, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-06609         ONDERLAW, LLC
WOLFE, MARY               NJ - USDC for the District of New Jersey   3:17-cv-08731         ONDERLAW, LLC
WOLNY, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-08749         ONDERLAW, LLC
WOLTZ, GAIL               NJ - USDC for the District of New Jersey   3:21-cv-02877         ONDERLAW, LLC
WOMACK, AMANDA            NJ - USDC for the District of New Jersey   3:21-cv-08435         ONDERLAW, LLC
WOMACK, ANGELA            NJ - USDC for the District of New Jersey   3:20-cv-12236         ONDERLAW, LLC
WOMACK, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-00543         ONDERLAW, LLC
WOMACK, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-17406         ONDERLAW, LLC
WOMBLES, LILA             NJ - USDC for the District of New Jersey   3;21-CV-05574         ONDERLAW, LLC




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         Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WONG-SAM, SANDRA         NJ - USDC for the District of New Jersey   3:21-cv-07277         ONDERLAW, LLC
WOOD, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-07932         ONDERLAW, LLC
WOOD, DIANNA             NJ - USDC for the District of New Jersey   3:21-cv-05997         ONDERLAW, LLC
WOOD, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-12896         ONDERLAW, LLC
WOOD, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-05548         ONDERLAW, LLC
WOOD, MARY               NJ - USDC for the District of New Jersey   3:21-cv-06402         ONDERLAW, LLC
WOOD, PATSY              NJ - USDC for the District of New Jersey   3:21-cv-07792         ONDERLAW, LLC
WOOD, TERRI              NJ - USDC for the District of New Jersey   3:21-cv-08946         ONDERLAW, LLC
WOOD, THEODORA           NJ - USDC for the District of New Jersey   3:17-cv-09734         ONDERLAW, LLC
WOODALL, RUBY            NJ - USDC for the District of New Jersey   3:21-cv-06170         ONDERLAW, LLC
WOODARD, DARLA           NJ - USDC for the District of New Jersey   3:18-cv-09319         ONDERLAW, LLC
WOODARD, FRANCINE        NJ - USDC for the District of New Jersey   3:17-cv-08834         ONDERLAW, LLC
WOODEARS, MARCELLA       NJ - USDC for the District of New Jersey   3:17-cv-10490         ONDERLAW, LLC
WOODFORK, KIM            NJ - USDC for the District of New Jersey   3:20-cv-01440         ONDERLAW, LLC
WOOD-GARDNER, DONNA      NJ - USDC for the District of New Jersey   3:21-cv-06947         ONDERLAW, LLC
WOODROME, AMY            NJ - USDC for the District of New Jersey   3:21-cv-01231         ONDERLAW, LLC
WOODS, BELINDA           NJ - USDC for the District of New Jersey   3:19-cv-17697         ONDERLAW, LLC
WOODS, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-07099         ONDERLAW, LLC
WOODS, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-06816         ONDERLAW, LLC
WOODS, CHRISTINE         NJ - USDC for the District of New Jersey   3:21-cv-08062         ONDERLAW, LLC
WOODS, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-03201         ONDERLAW, LLC
WOODS, DEBRA             NJ - USDC for the District of New Jersey   3:18-cv-12403         ONDERLAW, LLC
WOODS, ELEANOR           NJ - USDC for the District of New Jersey   3:20-cv-08698         ONDERLAW, LLC
WOODS, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-05366         ONDERLAW, LLC
WOODS, KERSTA            NJ - USDC for the District of New Jersey   3:17-cv-13859         ONDERLAW, LLC
WOODS, LAUREN            NJ - USDC for the District of New Jersey   3:21-cv-08859         ONDERLAW, LLC
WOODS, LEEANA            NJ - USDC for the District of New Jersey   3:17-cv-10883         ONDERLAW, LLC
WOODS, LILLIE            NJ - USDC for the District of New Jersey   3:21-cv-06281         ONDERLAW, LLC
WOODS, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-08738         ONDERLAW, LLC
WOODS, MARTHA            NJ - USDC for the District of New Jersey   3:21-cv-09341         ONDERLAW, LLC
WOODS, MICHELLE          NJ - USDC for the District of New Jersey   3:17-cv-08776         ONDERLAW, LLC
WOODS, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-09821         ONDERLAW, LLC
WOODWARD, DARLA          MO - Circuit Court - City of St. Louis     1722-CC11872          ONDERLAW, LLC
WOODWORTH, DARLENE       NJ - USDC for the District of New Jersey   3:19-cv-00020         ONDERLAW, LLC
WOODWORTH, NANCY         NJ - USDC for the District of New Jersey   3:19-cv-22120         ONDERLAW, LLC
WOODY, JESSICA           NJ - USDC for the District of New Jersey   3:18-cv-04237         ONDERLAW, LLC
WOOLARD, MONICA          NJ - USDC for the District of New Jersey   3:18-cv-15157         ONDERLAW, LLC
WOOLEN, LANETTE          NJ - USDC for the District of New Jersey   3:20-cv-01276         ONDERLAW, LLC
WOOLEY, KATELYNN         NJ - USDC for the District of New Jersey   3:21-cv-03550         ONDERLAW, LLC
WOOLFOLK, KARLA          NJ - USDC for the District of New Jersey   3:20-cv-00313         ONDERLAW, LLC
WOOLFOLK, SHARON         NJ - USDC for the District of New Jersey   3:18-cv-08574         ONDERLAW, LLC
WOOLLEY, SUSAN           MO - Circuit Court - City of St. Louis     1622-CC00443          ONDERLAW, LLC
WOOSLEY-SMITH, SHIRLEY   NJ - USDC for the District of New Jersey   3:21-cv-04079         ONDERLAW, LLC
WOOSTER, DIANA           NJ - USDC for the District of New Jersey   3:21-cv-17692         ONDERLAW, LLC
WOOTEN, DEBBIE           NJ - USDC for the District of New Jersey   3:20-cv-12237         ONDERLAW, LLC
WORD, DANITA             NJ - USDC for the District of New Jersey   3:19-cv-18505         ONDERLAW, LLC
WORD, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-01347         ONDERLAW, LLC
WORDEN, VANESSA          NJ - USDC for the District of New Jersey   3:21-cv-07828         ONDERLAW, LLC
WORKMAN, MISTY           NJ - USDC for the District of New Jersey   3:20-cv-01479         ONDERLAW, LLC
WORLEY, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-08284         ONDERLAW, LLC
WORLEY, HEATHER          NJ - USDC for the District of New Jersey   3:21-cv-08313         ONDERLAW, LLC
WORLEY, KATIE            NJ - USDC for the District of New Jersey   3:17-cv-12718         ONDERLAW, LLC
WORLEY, LOREEN           NJ - USDC for the District of New Jersey   3:21-cv-09577         ONDERLAW, LLC
WORM, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-02914         ONDERLAW, LLC
WORTH, BONNIE            NJ - USDC for the District of New Jersey   3:21-cv-06900         ONDERLAW, LLC
WORTHAM, LAWANDA         NJ - USDC for the District of New Jersey   3:18-cv-09573         ONDERLAW, LLC
WORTHEN, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-05369         ONDERLAW, LLC
WORTHY, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-12304         ONDERLAW, LLC
WRAY, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-17129         ONDERLAW, LLC
WREATH, KELLY            NJ - USDC for the District of New Jersey   3:20-cv-09961         ONDERLAW, LLC
WREN, CATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-09963         ONDERLAW, LLC
WREN, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-03777         ONDERLAW, LLC
WRIGHT, ANGIENECKIA      NJ - USDC for the District of New Jersey   3:21-cv-06005         ONDERLAW, LLC
WRIGHT, AUDREY           NJ - USDC for the District of New Jersey   3:21-cv-08476         ONDERLAW, LLC
WRIGHT, DORIS            NJ - USDC for the District of New Jersey   3:21-cv-03070         ONDERLAW, LLC
WRIGHT, EDITH            NJ - USDC for the District of New Jersey   3:21-cv-05740         ONDERLAW, LLC
WRIGHT, GAIL             NJ - USDC for the District of New Jersey   3:21-cv-03071         ONDERLAW, LLC
WRIGHT, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-06337         ONDERLAW, LLC
WRIGHT, JANET            NJ - USDC for the District of New Jersey   3:21-cv-02375         ONDERLAW, LLC
WRIGHT, JANICE           NJ - USDC for the District of New Jersey   3:20-cv-20305         ONDERLAW, LLC
WRIGHT, JEAN             NJ - USDC for the District of New Jersey   3:21-cv-06906         ONDERLAW, LLC
WRIGHT, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-06407         ONDERLAW, LLC
WRIGHT, KATRINA          NJ - USDC for the District of New Jersey   3:21-cv-01473         ONDERLAW, LLC
WRIGHT, KELLY            NJ - USDC for the District of New Jersey   3:18-cv-11031         ONDERLAW, LLC
WRIGHT, NOREEN           NJ - USDC for the District of New Jersey   3:21-cv-03871         ONDERLAW, LLC
WRIGHT, PATRICIA         NJ - USDC for the District of New Jersey   3:21-cv-08746         ONDERLAW, LLC
WRIGHT, VERNDEEN         NJ - USDC for the District of New Jersey   3:21-cv-06588         ONDERLAW, LLC
WRIGHT, VERNITA          NJ - USDC for the District of New Jersey   3:19-cv-10413         ONDERLAW, LLC
WRIGHT, WANDA            NJ - USDC for the District of New Jersey   3:21-cv-01568         ONDERLAW, LLC
WRIGHT, YOLANDA          NJ - USDC for the District of New Jersey   3:20-cv-12350         ONDERLAW, LLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
WUBBEN, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-20669         ONDERLAW, LLC
WULF, SHERRY              NJ - USDC for the District of New Jersey   3:21-cv-03954         ONDERLAW, LLC
WYATT, FLORENCE           NJ - USDC for the District of New Jersey   3:21-cv-06610         ONDERLAW, LLC
WYATT, JANET              NJ - USDC for the District of New Jersey   3:21-cv-07742         ONDERLAW, LLC
WYATT, NANCY              NJ - USDC for the District of New Jersey   3:20-cv-15414         ONDERLAW, LLC
WYATT, ROBBIE             NJ - USDC for the District of New Jersey   3:21-cv-06194         ONDERLAW, LLC
WYCKOFF, SHAVONNE         NJ - USDC for the District of New Jersey   3:21-cv-01097         ONDERLAW, LLC
WYGAL, ANNE               NJ - USDC for the District of New Jersey   3:18-cv-01079         ONDERLAW, LLC
WYNN, BARBARA             NJ - USDC for the District of New Jersey   3:21-cv-04504         ONDERLAW, LLC
WYNSTRA, KAY              NJ - USDC for the District of New Jersey   3:18-cv-12927         ONDERLAW, LLC
WYSOCKI, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-04230         ONDERLAW, LLC
XIONG, IE                 NJ - USDC for the District of New Jersey   3:21-cv-08220         ONDERLAW, LLC
YADEN, DORIS              NJ - USDC for the District of New Jersey   3:21-cv-05501         ONDERLAW, LLC
YANKO, DELORES            NJ - USDC for the District of New Jersey   3:20-cv-03476         ONDERLAW, LLC
YARBROUGH, RENA           NJ - USDC for the District of New Jersey   3:21-cv-02676         ONDERLAW, LLC
YARO, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-09945         ONDERLAW, LLC
YASICK, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-09096         ONDERLAW, LLC
YATES, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-06298         ONDERLAW, LLC
YATES, JANE               NJ - USDC for the District of New Jersey   3:18-cv-09809         ONDERLAW, LLC
YATES, JOLYNN             NJ - USDC for the District of New Jersey   3:21-cv-05741         ONDERLAW, LLC
YBARRA, SOPHIA            NJ - USDC for the District of New Jersey   3:21-cv-18247         ONDERLAW, LLC
YEAKEL, STEPHANIE         NJ - USDC for the District of New Jersey   3:18-cv-08580         ONDERLAW, LLC
YEARWOOD, ALMENA          NJ - USDC for the District of New Jersey   3:21-cv-08004         ONDERLAW, LLC
YEATTS, JEANE             NJ - USDC for the District of New Jersey   3:21-cv-07353         ONDERLAW, LLC
YENSER, SUZANNE           NJ - USDC for the District of New Jersey   3:20-cv-01133         ONDERLAW, LLC
YERGEN, MARJORIE          NJ - USDC for the District of New Jersey   3:21-cv-10847         ONDERLAW, LLC
YOELL, MARLA              NJ - USDC for the District of New Jersey   3:20-cv-03586         ONDERLAW, LLC
YORK, JEANNINE            NJ - USDC for the District of New Jersey   3:21-cv-02011         ONDERLAW, LLC
YORK, SHARON              NJ - USDC for the District of New Jersey   3:21-cv-02806         ONDERLAW, LLC
YOSHIKAWA, YUKO           NJ - USDC for the District of New Jersey   3:19-cv-13194         ONDERLAW, LLC
YOUNG, ALICE              NJ - USDC for the District of New Jersey   3:21-cv-05539         ONDERLAW, LLC
YOUNG, BONNIE             NJ - USDC for the District of New Jersey   3:21-cv-06206         ONDERLAW, LLC
YOUNG, CANDACE            NJ - USDC for the District of New Jersey   3:21-cv-03504         ONDERLAW, LLC
YOUNG, CAROLYN            NJ - USDC for the District of New Jersey   3:20-cv-03477         ONDERLAW, LLC
YOUNG, CYNTHIA            NJ - USDC for the District of New Jersey   3:21-cv-20727         ONDERLAW, LLC
YOUNG, DELORES            NJ - USDC for the District of New Jersey   3:21-cv-05292         ONDERLAW, LLC
YOUNG, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-12372         ONDERLAW, LLC
YOUNG, DOROTHY            NJ - USDC for the District of New Jersey   3:21-cv-08386         ONDERLAW, LLC
YOUNG, ERICA              NJ - USDC for the District of New Jersey   3:21-cv-06943         ONDERLAW, LLC
YOUNG, JANET              NJ - USDC for the District of New Jersey   3:17-cv-10913         ONDERLAW, LLC
YOUNG, JUANITA            NJ - USDC for the District of New Jersey   3:21-cv-01247         ONDERLAW, LLC
YOUNG, KARLA              NJ - USDC for the District of New Jersey   3:21-cv-04689         ONDERLAW, LLC
YOUNG, LINDA              MO - Circuit Court - City of St. Louis     1522-CC-10203         ONDERLAW, LLC
YOUNG, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-19023         ONDERLAW, LLC
YOUNG, LORNA              NJ - USDC for the District of New Jersey   3:18-cv-02658         ONDERLAW, LLC
YOUNG, MARY               NJ - USDC for the District of New Jersey   3:21-cv-06160         ONDERLAW, LLC
YOUNG, MARY               NJ - USDC for the District of New Jersey   3:17-cv-09567         ONDERLAW, LLC
YOUNG, MATERIA            NJ - USDC for the District of New Jersey   3:21-cv-05785         ONDERLAW, LLC
YOUNG, MORGAN             NJ - USDC for the District of New Jersey   3:21-cv-03391         ONDERLAW, LLC
YOUNG, OTTIS              NJ - USDC for the District of New Jersey   3:19-cv-15748         ONDERLAW, LLC
YOUNG, PAMELA             NJ - USDC for the District of New Jersey   3:21-cv-08760         ONDERLAW, LLC
YOUNG, PENNY              NJ - USDC for the District of New Jersey   3:17-cv-09497         ONDERLAW, LLC
YOUNG, SANDRA             NJ - USDC for the District of New Jersey   3:17-cv-10930         ONDERLAW, LLC
YOUNG, SHERRY             NJ - USDC for the District of New Jersey   3:19-cv-08530         ONDERLAW, LLC
YOUNG, VICKI              NJ - USDC for the District of New Jersey   3:18-cv-08585         ONDERLAW, LLC
YOUNGERS, HEIDI           NJ - USDC for the District of New Jersey   3:21-cv-17199         ONDERLAW, LLC
YOUNT, KELLY              NJ - USDC for the District of New Jersey   3:20-cv-01489         ONDERLAW, LLC
YUDELL, TAMAR             NJ - USDC for the District of New Jersey   3:21-cv-08307         ONDERLAW, LLC
YUGAISHTRI, DAT           NJ - USDC for the District of New Jersey   3:21-cv-09445         ONDERLAW, LLC
ZABOORI, ZHILA            NJ - USDC for the District of New Jersey   3:21-cv-17693         ONDERLAW, LLC
ZACHARY, MARJORY          NJ - USDC for the District of New Jersey   3:20-cv-05958         ONDERLAW, LLC
ZACHER, CYNTHIA           NJ - USDC for the District of New Jersey   3:21-cv-01196         ONDERLAW, LLC
ZAHOREC, DARLENE          NJ - USDC for the District of New Jersey   3:20-cv-05960         ONDERLAW, LLC
ZAJAC, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-01344         ONDERLAW, LLC
ZAMARRIPA, DOLORES        NJ - USDC for the District of New Jersey   3:20-cv-08704         ONDERLAW, LLC
ZAMORA, AGNES             NJ - USDC for the District of New Jersey   3:18-cv-10107         ONDERLAW, LLC
ZAMORA, BETHANY           NJ - USDC for the District of New Jersey   3:21-cv-08184         ONDERLAW, LLC
ZAMORA, HOPE              NJ - USDC for the District of New Jersey   3:21-cv-02288         ONDERLAW, LLC
ZAMORA, ROSA              NJ - USDC for the District of New Jersey   3:21-cv-04304         ONDERLAW, LLC
ZAMORA, SHERRY            NJ - USDC for the District of New Jersey   3:21-cv-04976         ONDERLAW, LLC
ZAMPIRRI, MARGARET        NJ - USDC for the District of New Jersey   3:19-cv-20450         ONDERLAW, LLC
ZAMPOGNA, GINA            NJ - USDC for the District of New Jersey   3:18-cv-12458         ONDERLAW, LLC
ZANE, DELLA               NJ - USDC for the District of New Jersey   3:17-cv-02394         ONDERLAW, LLC
ZAPPITELLI, JOHANNA       NJ - USDC for the District of New Jersey   3:17-cv-09889         ONDERLAW, LLC
ZARIC-WOLDANSKI, ROZINA   NJ - USDC for the District of New Jersey   3:21-cv-08327         ONDERLAW, LLC
ZASPEL, MARY              NJ - USDC for the District of New Jersey   3:21-cv-06811         ONDERLAW, LLC
ZAYSZLY, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-01480         ONDERLAW, LLC
ZECCHINO, LORI            MO - Circuit Court - City of St. Louis     1422-CC09821          ONDERLAW, LLC
ZEREN, LESLIE             NJ - USDC for the District of New Jersey   3:21-cv-02857         ONDERLAW, LLC
ZESK, LAURA               NJ - USDC for the District of New Jersey   3:18-cv-12306         ONDERLAW, LLC




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          Claimant Name                      State Filed                     Docket Number                   Plaintiff Counsel
ZGRODNIK, MARION            NJ - USDC for the District of New Jersey   3:17-cv-09946             ONDERLAW, LLC
ZIEMANN, KATHLEEN           NJ - USDC for the District of New Jersey   3:20-cv-19269             ONDERLAW, LLC
ZIER, KAREN                 NJ - USDC for the District of New Jersey   3:18-cv-03599             ONDERLAW, LLC
ZIMMERMAN, JUDY             NJ - USDC for the District of New Jersey   3:18-cv-09747             ONDERLAW, LLC
ZIMMERMAN, SUZANNE          MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
ZINK, TERESA                NJ - USDC for the District of New Jersey   3:18-cv-13143             ONDERLAW, LLC
ZOLL, BONNIE                NJ - USDC for the District of New Jersey   3:20-cv-15351             ONDERLAW, LLC
ZORNES, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-09136             ONDERLAW, LLC
ZOUCHA, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-05511             ONDERLAW, LLC
ZUCHOWSKI, KAREN            MO - Circuit Court - City of St. Louis     1822-CC11533              ONDERLAW, LLC
ZUCK, CLARA                 NJ - USDC for the District of New Jersey   3:21-cv-08932             ONDERLAW, LLC
ZUCKER, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-03946             ONDERLAW, LLC
ZUMBRUN, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-03005             ONDERLAW, LLC
ZUNIGA, LISHA               NJ - USDC for the District of New Jersey   3:18-cv-04231             ONDERLAW, LLC
ZURLIGEN, GRETCHEN          NJ - USDC for the District of New Jersey   3:19-cv-19983             ONDERLAW, LLC
ZUZNIS, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-09240             ONDERLAW, LLC
ZWALLY, DOROTHY             MO - Circuit Court - City of St. Louis     1522-CC00811              ONDERLAW, LLC
BUJERIO, ELISABEL           FL - Circuit Court - Miami Dade County     13-2020CA026841-0000-01   OSBORNE & FRANCIS LAW FIRM PLLC
CALVO, SHARON               FL - Circuit Court - Palm Beach County     50-2020-CA-013952         OSBORNE & FRANCIS LAW FIRM PLLC
                                                                       502020CA13955XXXXmBA
DIAS, MARIA                 FL - Circuit Court - Palm Beach County                               OSBORNE & FRANCIS LAW FIRM PLLC
                                                                       F
DUPOUX, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-15348             OSBORNE & FRANCIS LAW FIRM PLLC
HADDAD, GEORGETTE           FL - Circuit Court - Broward County        CACE-20-021001-27         OSBORNE & FRANCIS LAW FIRM PLLC
HAZIM, ELENA                FL - Circuit Court - Broward County        CACE-20-016963            OSBORNE & FRANCIS LAW FIRM PLLC
LACROIX, ALINE              NJ - USDC for the District of New Jersey   3:20-cv-14726             OSBORNE & FRANCIS LAW FIRM PLLC
MANSFIELD, CINDY GONZALES   FL - Circuit Court - Broward County        CACE20002075              OSBORNE & FRANCIS LAW FIRM PLLC
OATMAN, JANICE              FL - Circuit Court - Palm Beach County     502020CA010260            OSBORNE & FRANCIS LAW FIRM PLLC
OATMAN, JANICE              FL - Circuit Court - Palm Beach County     502020CA010260            OSBORNE & FRANCIS LAW FIRM PLLC
PEARSON, LAURA              FL - Circuit Court - Palm Beach County     502020CA011203            OSBORNE & FRANCIS LAW FIRM PLLC
WILSON, KAREN               FL - Circuit Court - St. Lucie County      562021CA000604SXXXHC      OSBORNE & FRANCIS LAW FIRM PLLC
WEBB, MARY                  NJ - USDC for the District of New Jersey   3:21-cv-03772             PADILLA LAW GROUP
CABALLERO, LAURA            CA - Superior Court - Los Angeles County   BC651995                  PANISH, SHEA & BOYLE
CALVILLO, LAURA             CA - Superior Court - Los Angeles County   BC710730                  PANISH, SHEA & BOYLE
DOUGLAS, VALERIE            CA - Superior Court - Los Angeles County   BC671457                  PANISH, SHEA & BOYLE
GOMEZ, ELIDA                CA - Superior Court - Los Angeles County   BC671568                  PANISH, SHEA & BOYLE
GRIGSBY, KIMBERLY           CA - Superior Court - Los Angeles County   BC654016                  PANISH, SHEA & BOYLE
HANSON, KIM                 NJ - USDC for the District of New Jersey   3:18-cv-00472             PANISH, SHEA & BOYLE
HOANG, LINH                 CA - Superior Court - Los Angeles County   BC650367                  PANISH, SHEA & BOYLE
JOHNSON, CANDACE            CA - Superior Court - Los Angeles County   BC645974                  PANISH, SHEA & BOYLE
JOHNSON, CANDACE            NJ - USDC for the District of New Jersey   3:17-cv-12976             PANISH, SHEA & BOYLE
KANJI, KHATUN               CA - Superior Court - Los Angeles County   BC671569                  PANISH, SHEA & BOYLE
LEDESMA, CARMEN             CA - Superior Court - Los Angeles County   BC671565                  PANISH, SHEA & BOYLE
MCBRIDE, MARCY              NJ - USDC for the District of New Jersey   3:17-cv-12342             PANISH, SHEA & BOYLE
MULLER, MEREDITH            NJ - USDC for the District of New Jersey   3:17-cv-12344             PANISH, SHEA & BOYLE
NUNEZ, ANTONIA              CA - Superior Court - Los Angeles County   BC656226                  PANISH, SHEA & BOYLE
ORDETX, ZONIA               CA - Superior Court - Los Angeles County   BC671566                  PANISH, SHEA & BOYLE
RODRIGUEZ, CAROLINA         CA - Superior Court - Los Angeles County   BC671567                  PANISH, SHEA & BOYLE
WOLTERSDORF, ANNALISA       NJ - USDC for the District of New Jersey   3:17-cv-12346             PANISH, SHEA & BOYLE
REY, CECLIA                 NJ - USDC for the District of New Jersey   3:21-cv-17268             PARAFINCZUK WOLF, P.A.
ADAMS-GASTON, JAVAUNE       NJ - USDC for the District of New Jersey   3:20-cv-08450             PARKER WAICHMAN, LLP
ALBERT, RETHA               NJ - USDC for the District of New Jersey   3:19-cv-06061             PARKER WAICHMAN, LLP
ALRUBAIIE, REBECCA          NJ - USDC for the District of New Jersey   3:17-cv-11009             PARKER WAICHMAN, LLP
ANSTED, LESLIE              NJ - USDC for the District of New Jersey   3:21-cv-03759             PARKER WAICHMAN, LLP
BAUM, MARY                  NJ - USDC for the District of New Jersey   3:17-cv-11054             PARKER WAICHMAN, LLP
BLINDER, KATHLEEN           NJ - USDC for the District of New Jersey   3:18-cv-08635             PARKER WAICHMAN, LLP
BRICKLEY, NICOLA            NJ - USDC for the District of New Jersey   3:21-cv-02010             PARKER WAICHMAN, LLP
BROWN, LYNETTE              NJ - Superior Court - Atlantic County      ATL-L-3015-18             PARKER WAICHMAN, LLP
CARETTO, MINDY              NJ - USDC for the District of New Jersey   3:18-cv-08006             PARKER WAICHMAN, LLP
CHRISTOPHER, KELLY          NJ - Superior Court - Atlantic County      ATL-L-1721-18             PARKER WAICHMAN, LLP
CLOO, CHERI                 NJ - USDC for the District of New Jersey   3:18-cv-13610             PARKER WAICHMAN, LLP
CLOUGH, RITA                NJ - USDC for the District of New Jersey   3:21-cv-02876             PARKER WAICHMAN, LLP
COCHRAN, LILLIAN            NJ - USDC for the District of New Jersey   3:19-cv-12159             PARKER WAICHMAN, LLP
CONLEY, STEVY               NJ - USDC for the District of New Jersey   3:19-cv-20356             PARKER WAICHMAN, LLP
COOPER, SHARON              NJ - USDC for the District of New Jersey   3:18-cv-04604             PARKER WAICHMAN, LLP
DAVIES, HILDA               NJ - USDC for the District of New Jersey   3:21-cv-11224             PARKER WAICHMAN, LLP
DAVISSON, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-10123             PARKER WAICHMAN, LLP
DEAL-SCOTT, MALEEKA         NJ - USDC for the District of New Jersey   3:18-cv-13409             PARKER WAICHMAN, LLP
DEBISH, MICHELE             NJ - USDC for the District of New Jersey   3:20-cv-06038             PARKER WAICHMAN, LLP
DELACRUZ, CAROL             NJ - USDC for the District of New Jersey   3:18-cv-08796             PARKER WAICHMAN, LLP
DILLASHAW, EULA             NJ - USDC for the District of New Jersey   3:18-cv-08576             PARKER WAICHMAN, LLP
DODDROE, CAROLE             NJ - USDC for the District of New Jersey   3:18-cv-08568             PARKER WAICHMAN, LLP
DONOHOE, SHEILA             NJ - USDC for the District of New Jersey   3:18-cv-12995             PARKER WAICHMAN, LLP
ELLISON, CANDICE            NJ - USDC for the District of New Jersey   3:17-cv-11073             PARKER WAICHMAN, LLP
ELSEY, RHANDI               NJ - USDC for the District of New Jersey   3:19-cv-05942             PARKER WAICHMAN, LLP
EVANS, ASHLEY               NJ - USDC for the District of New Jersey   3:18-cv-12327             PARKER WAICHMAN, LLP
FARMER, BARBARA             NJ - USDC for the District of New Jersey   3:18-cv-12331             PARKER WAICHMAN, LLP
FREEMAN, COLEEN             NJ - USDC for the District of New Jersey   3:18-cv-09477             PARKER WAICHMAN, LLP
GALLEGOS, GINA              NJ - USDC for the District of New Jersey   3:21-cv-01770             PARKER WAICHMAN, LLP
GARRISON, VICKI             NJ - USDC for the District of New Jersey   3:20-cv-05438             PARKER WAICHMAN, LLP
GASPARD, CHERYL             NJ - USDC for the District of New Jersey   3:21-cv-10782             PARKER WAICHMAN, LLP




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           Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
GIANNINI, KATHY             NJ - USDC for the District of New Jersey   3:17-cv-11039         PARKER WAICHMAN, LLP
GLAUNER, KRISTA             NJ - USDC for the District of New Jersey   3:18-cv-14586         PARKER WAICHMAN, LLP
GREEN, KIM                  NJ - USDC for the District of New Jersey   3:18-cv-09470         PARKER WAICHMAN, LLP
GREENE, REBECCA             NJ - USDC for the District of New Jersey   3:18-cv-12324         PARKER WAICHMAN, LLP
GREENWOOD, JULIE            NJ - USDC for the District of New Jersey   3:18-cv-09487         PARKER WAICHMAN, LLP
HILL, LISA                  NJ - USDC for the District of New Jersey   3:17-cv-11020         PARKER WAICHMAN, LLP
HILL, SHIRLEY               NJ - USDC for the District of New Jersey   3:18-cv-14242         PARKER WAICHMAN, LLP
HOLLISTER, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-10956         PARKER WAICHMAN, LLP
HOUMIEL, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-09004         PARKER WAICHMAN, LLP
HOUSE, OCTAVIA              NJ - USDC for the District of New Jersey   3:21-cv-04032         PARKER WAICHMAN, LLP
ISTRE, AMY                  NJ - USDC for the District of New Jersey   3:21-cv-10213         PARKER WAICHMAN, LLP
JACKSON, VALERIE            NJ - USDC for the District of New Jersey   3:18-cv-04279         PARKER WAICHMAN, LLP
JOHNSON, KEISHA             NJ - USDC for the District of New Jersey   3:18-cv-12320         PARKER WAICHMAN, LLP
JONES, SUSAN                NJ - USDC for the District of New Jersey   3:17-cv-07766         PARKER WAICHMAN, LLP
KASSEM, MAY                 NJ - Superior Court - Atlantic County      ATL-L-0439-19         PARKER WAICHMAN, LLP
KERN, DEIDRE                NJ - USDC for the District of New Jersey   3:18-cv-02635         PARKER WAICHMAN, LLP
LARCHEVEQUE, DEE            NJ - USDC for the District of New Jersey   3:18-cv-14591         PARKER WAICHMAN, LLP
LONG, MARILYN               NJ - USDC for the District of New Jersey   3:21-cv-11073         PARKER WAICHMAN, LLP
LOWDER, GEROLDINE           NJ - USDC for the District of New Jersey   3:17-cv-11059         PARKER WAICHMAN, LLP
LUBIN, NOREEN               NJ - Superior Court - Atlantic County      ATL-L-000948-20       PARKER WAICHMAN, LLP
MACK, GALEN                 NJ - USDC for the District of New Jersey   3:18-cv-09608         PARKER WAICHMAN, LLP
MADDOX, KAREN               NJ - USDC for the District of New Jersey   3:19-cv-05936         PARKER WAICHMAN, LLP
MARDIS, LEANN               NJ - USDC for the District of New Jersey   3:18-cv-13032         PARKER WAICHMAN, LLP
MARTIN, KAREN               NJ - USDC for the District of New Jersey   3:17-cv-11043         PARKER WAICHMAN, LLP
MARTINEZ, CARMEN            NJ - USDC for the District of New Jersey   3:18-cv-11655         PARKER WAICHMAN, LLP
MAZYCK, VALERIE             NJ - USDC for the District of New Jersey   3:19-cv-06060         PARKER WAICHMAN, LLP
MCCLOUD, MARGARET           NJ - USDC for the District of New Jersey   3:18-cv-16971         PARKER WAICHMAN, LLP
MCELVENEY, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-11918         PARKER WAICHMAN, LLP
MONACO, DELIA               NJ - USDC for the District of New Jersey   3:19-cv-20885         PARKER WAICHMAN, LLP
MONROE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-10760         PARKER WAICHMAN, LLP
MURPHY, BRENDA              NJ - USDC for the District of New Jersey   3:19-cv-12150         PARKER WAICHMAN, LLP
MUSE, ROSA                  NJ - USDC for the District of New Jersey   3:17-cv-11016         PARKER WAICHMAN, LLP
NORRIS, KANDY               NJ - USDC for the District of New Jersey   3:21-cv-11932         PARKER WAICHMAN, LLP
NYMAN, WENDY                NJ - USDC for the District of New Jersey   3:17-cv-11031         PARKER WAICHMAN, LLP
PALMER, MARCIA              NJ - USDC for the District of New Jersey   3:20-cv-06328         PARKER WAICHMAN, LLP
PFEIFFER, DAWN              NJ - USDC for the District of New Jersey   3:18-cv-16849         PARKER WAICHMAN, LLP
PIECORO-HEATON, SUSAN       NJ - USDC for the District of New Jersey   3:21-cv-10098         PARKER WAICHMAN, LLP
PLACE, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-03898         PARKER WAICHMAN, LLP
POPE, THERESA               NJ - USDC for the District of New Jersey   3:20-cv-12752         PARKER WAICHMAN, LLP
POTTERS-TILKIN, CHRISTINE   NJ - Superior Court - Atlantic County      ATL-L-00070120        PARKER WAICHMAN, LLP
PUTNAM, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-01606         PARKER WAICHMAN, LLP
QUINN, MICHELE              NJ - USDC for the District of New Jersey   3:18-cv-09989         PARKER WAICHMAN, LLP
RABINOVITCH, IRINA          NJ - USDC for the District of New Jersey   3:20-cv-04826         PARKER WAICHMAN, LLP
RAY, LISA                   NJ - USDC for the District of New Jersey   3:18-cv-15213         PARKER WAICHMAN, LLP
REINKE, CAROL               NJ - USDC for the District of New Jersey   3:21-cv-13635         PARKER WAICHMAN, LLP
RENZI, CHERYL               NJ - USDC for the District of New Jersey   3:21-cv-02870         PARKER WAICHMAN, LLP
RICE, SABRINA               NJ - USDC for the District of New Jersey   3:21-cv-01873         PARKER WAICHMAN, LLP
ROTHSCHILD, KATIE           NJ - USDC for the District of New Jersey   3:21-cv-01839         PARKER WAICHMAN, LLP
RYAN, RITA                  NJ - USDC for the District of New Jersey   3:17-cv-11024         PARKER WAICHMAN, LLP
SEABURN-SEARS, LEISA        NJ - USDC for the District of New Jersey   3:21-cv-02007         PARKER WAICHMAN, LLP
SHANKS, KATHLEEN            NJ - USDC for the District of New Jersey   3:19-cv-06124         PARKER WAICHMAN, LLP
SHAW, BOBBIE                NJ - USDC for the District of New Jersey   3:17-cv-11068         PARKER WAICHMAN, LLP
SMITH, DIANA                NJ - USDC for the District of New Jersey   3:20-cv-06064         PARKER WAICHMAN, LLP
SOWERS, DINA                NJ - USDC for the District of New Jersey   3:18-cv-09472         PARKER WAICHMAN, LLP
TENEBRUSO, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-08671         PARKER WAICHMAN, LLP
TYLER, MELISSA              NJ - USDC for the District of New Jersey   3:18-cv-15224         PARKER WAICHMAN, LLP
VAQUEZ, DIANE               NJ - USDC for the District of New Jersey   3:18-cv-09123         PARKER WAICHMAN, LLP
VENTRO, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-05788         PARKER WAICHMAN, LLP
WALKER, MARILYN GORE        NJ - USDC for the District of New Jersey   3:21-cv-11249         PARKER WAICHMAN, LLP
WARD, TERI                  NJ - USDC for the District of New Jersey   3:19-cv-06038         PARKER WAICHMAN, LLP
WILBANKS, JOANNA            NJ - USDC for the District of New Jersey   3:20-cv-04817         PARKER WAICHMAN, LLP
WILLIAMS, JULIA             NJ - USDC for the District of New Jersey   3:18-cv-08002         PARKER WAICHMAN, LLP
WOLF, PAULA                 NJ - USDC for the District of New Jersey   3:18-cv-13630         PARKER WAICHMAN, LLP
WOODEN, LAGUAMYA            NJ - USDC for the District of New Jersey   3:20-cv-14700         PARKER WAICHMAN, LLP
VIERRA, MARY                NJ - USDC for the District of New Jersey   3:17-cv-05762         PATRICK MILLER, LLC
BABICH, MARILYN             NJ - USDC for the District of New Jersey   3:17-cv-12926         PAUL LLP
CERRONE-KENNEDY, DELORES    NJ - USDC for the District of New Jersey   3:16-cv-07895         PAUL LLP
DIAZ, MANUELA               NJ - USDC for the District of New Jersey   3:17-cv-12944         PAUL LLP
GATES, JOSIE                NJ - USDC for the District of New Jersey   3:17-cv-12930         PAUL LLP
HALL, REBECCA               NJ - USDC for the District of New Jersey   3:16-cv-09596         PAUL LLP
HICKS, RUBY                 NJ - USDC for the District of New Jersey   3:17-cv-12931         PAUL LLP
JONES, LEE                  NJ - USDC for the District of New Jersey   3:17-cv-12933         PAUL LLP
KOCHWELP, JUDIE             NJ - USDC for the District of New Jersey   3:20-cv-08247         PAUL LLP
LOPEZ, MARIA                NJ - USDC for the District of New Jersey   3:17-cv-12942         PAUL LLP
OCONNELL, LAURA             NJ - USDC for the District of New Jersey   3:17-cv-12935         PAUL LLP
PHILLIPS, LESLEYANN         NJ - USDC for the District of New Jersey   3:17-cv-12947         PAUL LLP
RICHARDSON, KAREN           NJ - USDC for the District of New Jersey   3:17-cv-12928         PAUL LLP
RICHARDSON, SONYA           NJ - USDC for the District of New Jersey   3:17-cv-12948         PAUL LLP
SHEARON, VICKIE             NJ - USDC for the District of New Jersey   3:17-cv-12953         PAUL LLP
SMITH, OVERIA               NJ - USDC for the District of New Jersey   3:17-cv-12951         PAUL LLP




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           Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
ZIERK, MARY                NJ - USDC for the District of New Jersey   3:17-cv-02663         PAUL LLP
ZORNES, DIANE              NJ - USDC for the District of New Jersey   3:17-cv-12956         PAUL LLP
FLEDDERMAN, NELLMARY       NJ - USDC for the District of New Jersey   3:18-cv-09757         PENDLEY, BAUDIN & COFFIN, LLP
GRIFFITH, PAULINE          NJ - USDC for the District of New Jersey   3:18-cv-03762         PENDLEY, BAUDIN & COFFIN, LLP
LAWSON, EDITH              NJ - USDC for the District of New Jersey   3:17-cv-12322         PENDLEY, BAUDIN & COFFIN, LLP
BENEDICT, INGRID           NJ - USDC for the District of New Jersey   3:19-cv-16609         PETERSON & ASSOCIATE, P.C.
CHRISTOPHERSON, SHIRLEY    NJ - USDC for the District of New Jersey   3:19-cv-05462         PETERSON & ASSOCIATE, P.C.
ECKERT, PANSY              NJ - USDC for the District of New Jersey   3:19-cv-05467         PETERSON & ASSOCIATE, P.C.
FISH, CAROL                NJ - USDC for the District of New Jersey   3:19-cv-03565         PETERSON & ASSOCIATE, P.C.
FRIE, ERIK                 NJ - USDC for the District of New Jersey   3:19-cv-04450         PETERSON & ASSOCIATE, P.C.
HICKS, SARA                NJ - USDC for the District of New Jersey   3:19-cv-16651         PETERSON & ASSOCIATE, P.C.
KNOBLE, BARBARA            NJ - USDC for the District of New Jersey   3:19-cv-20510         PETERSON & ASSOCIATE, P.C.
RAKES, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-16567         PETERSON & ASSOCIATE, P.C.
RAZZANO, JODI              NJ - USDC for the District of New Jersey   3:21-cv-02064         PETERSON & ASSOCIATE, P.C.
STEPPERT, SHARON           NJ - USDC for the District of New Jersey   3:19-cv-16641         PETERSON & ASSOCIATE, P.C.
WOOD, CAROLYN              NJ - USDC for the District of New Jersey   3:19-cv-04448         PETERSON & ASSOCIATE, P.C.
HOLLAND, AMANDA            NJ - Superior Court - Atlantic County      L002283198            PHILLIPS & PAOLICELLI, LLP
JIMENEZ, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-12526         PHILLIPS & PAOLICELLI, LLP
THOMPSON, MAVARIE          NJ - USDC for the District of New Jersey   3:21-cv-05135         PHILLIPS & PAOLICELLI, LLP
EATON, PEGGY               NJ - USDC for the District of New Jersey   3:18-cv-11628         PIERCE SKRABANEK BRUERA, PLLC
LANE, ELERA                NJ - USDC for the District of New Jersey   3:18-cv-11827         PIERCE SKRABANEK BRUERA, PLLC
SLUSHER, THERESA           NJ - USDC for the District of New Jersey   3:18-cv-11632         PIERCE SKRABANEK BRUERA, PLLC
VIERRA, MARY               NJ - USDC for the District of New Jersey   3:17-cv-05762         PLYMALE LAW FIRM
ABBOTT, PIPER              NJ - USDC for the District of New Jersey   3:18-cv-13024         POGUST BRASLOW & MILLROOD, LLC
ADERIBOLE, OMOBONIKE       NJ - USDC for the District of New Jersey   3:18-cv-10168         POGUST BRASLOW & MILLROOD, LLC
ANDERSON, ROBIN            NJ - USDC for the District of New Jersey   3:17-cv-08150         POGUST BRASLOW & MILLROOD, LLC
ARGUETA-FRAZIER, SANDRA    NJ - USDC for the District of New Jersey   3:17-cv-09296         POGUST BRASLOW & MILLROOD, LLC
BECRAFT, PHYLLIS           NJ - USDC for the District of New Jersey   3:18-cv-02105         POGUST BRASLOW & MILLROOD, LLC
BRADLEY, BETTY             NJ - USDC for the District of New Jersey   3:17-cv-09321         POGUST BRASLOW & MILLROOD, LLC
BUCK, PATRICIA             NJ - USDC for the District of New Jersey   3:17-cv-12903         POGUST BRASLOW & MILLROOD, LLC
BURNS, KAREN               NJ - USDC for the District of New Jersey   3:17-cv-06087         POGUST BRASLOW & MILLROOD, LLC
BUSHA, PATRICIA            NJ - Superior Court - Atlantic County      ATL-L-349-18          POGUST BRASLOW & MILLROOD, LLC
CENTRILLA, EILEEN          NJ - USDC for the District of New Jersey   3:17-cv-12834         POGUST BRASLOW & MILLROOD, LLC
CENTRILLA, EILEEN          NJ - USDC for the District of New Jersey   3:17-cv-12834         POGUST BRASLOW & MILLROOD, LLC
CROSS, STEPHANIE           NJ - USDC for the District of New Jersey   3:17-cv-06070         POGUST BRASLOW & MILLROOD, LLC
CUNNINGAN-WILSON, SHARON   NJ - USDC for the District of New Jersey   3:17-cv-05702         POGUST BRASLOW & MILLROOD, LLC
DAILEY, TERRY              NJ - USDC for the District of New Jersey   3:17-cv-06046         POGUST BRASLOW & MILLROOD, LLC
DALEY, ROBBIN              NJ - USDC for the District of New Jersey   3:17-cv-06089         POGUST BRASLOW & MILLROOD, LLC
DAWE, DONNA                NJ - USDC for the District of New Jersey   3:17-cv-09129         POGUST BRASLOW & MILLROOD, LLC
DIRKMAN, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-12972         POGUST BRASLOW & MILLROOD, LLC
FAZIO, LYNNE               NJ - USDC for the District of New Jersey   3:17-cv-07292         POGUST BRASLOW & MILLROOD, LLC
HACKERMAN, SHARON          NJ - USDC for the District of New Jersey   3:17-cv-09111         POGUST BRASLOW & MILLROOD, LLC
HARRIS, GWENDOLYN          NJ - USDC for the District of New Jersey   3:17-cv-12836         POGUST BRASLOW & MILLROOD, LLC
HENNLEIN, BONNIE           NJ - USDC for the District of New Jersey   3:17-cv-06049         POGUST BRASLOW & MILLROOD, LLC
HERNANDEZ, LENA            NJ - USDC for the District of New Jersey   3:17-cv-09228         POGUST BRASLOW & MILLROOD, LLC
KING, FRANNY               NJ - Superior Court - Atlantic County      ATL-L-350-18          POGUST BRASLOW & MILLROOD, LLC
KRAMP, JULIE               NJ - USDC for the District of New Jersey   3:17-cv-12845         POGUST BRASLOW & MILLROOD, LLC
LEAHY, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-12839         POGUST BRASLOW & MILLROOD, LLC
MACMURPHY, CHRISTINA       NJ - USDC for the District of New Jersey   3:17-cv-05700         POGUST BRASLOW & MILLROOD, LLC
MANDEL, MARCIA             NJ - USDC for the District of New Jersey   3:17-cv-13741         POGUST BRASLOW & MILLROOD, LLC
MATTHEWS, MEGAN            NJ - USDC for the District of New Jersey   3:17-cv-06063         POGUST BRASLOW & MILLROOD, LLC
MCPARTLIN, MARY            NJ - USDC for the District of New Jersey   3:17-cv-06050         POGUST BRASLOW & MILLROOD, LLC
MEDVED, PHYLLIS            NJ - USDC for the District of New Jersey   3:17-cv-06052         POGUST BRASLOW & MILLROOD, LLC
MORALE, JOANNE             NJ - USDC for the District of New Jersey   3:17-cv-06073         POGUST BRASLOW & MILLROOD, LLC
MOSKOWITZ, SHARON          NJ - USDC for the District of New Jersey   3:17-cv-09268         POGUST BRASLOW & MILLROOD, LLC
MYERS, RHONDA              NJ - USDC for the District of New Jersey   3:19-cv-12587         POGUST BRASLOW & MILLROOD, LLC
NOYES, CANDI               NJ - USDC for the District of New Jersey   3:17-cv-12846         POGUST BRASLOW & MILLROOD, LLC
PIEKANSKI, DIANE           NJ - USDC for the District of New Jersey   3:17-cv-12837         POGUST BRASLOW & MILLROOD, LLC
POWELL, SARA               NJ - Superior Court - Atlantic County      ATL-L-105-18          POGUST BRASLOW & MILLROOD, LLC
QUINN, NANCY               NJ - USDC for the District of New Jersey   3:17-cv-06142         POGUST BRASLOW & MILLROOD, LLC
SCHAPPERLE, MARGIE         NJ - USDC for the District of New Jersey   3:17-cv-06088         POGUST BRASLOW & MILLROOD, LLC
SCHEELE, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-06057         POGUST BRASLOW & MILLROOD, LLC
SCHMALHOFER, MARIA         NJ - USDC for the District of New Jersey   3:17-cv-12829         POGUST BRASLOW & MILLROOD, LLC
SHORT, TINA                NJ - USDC for the District of New Jersey   3:18-cv-15518         POGUST BRASLOW & MILLROOD, LLC
SNYDER, KIMBERLY           NJ - USDC for the District of New Jersey   3:17-cv-06086         POGUST BRASLOW & MILLROOD, LLC
TAYLOR, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-09327         POGUST BRASLOW & MILLROOD, LLC
TODECHEENE, CAROL          NJ - USDC for the District of New Jersey   3:17-cv-12832         POGUST BRASLOW & MILLROOD, LLC
ABBATE, DIANE              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
ABERCROMBIE, REGINA        MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ABRAM, EDWINA              NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
ADAMS, DEBORAH             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
ADAMS, NIKITA              MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
ADAMS, TERESA              MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
ADDISON, DIANNE            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
AGNEW, ANN                 MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
AHEARN, CHRISTINA          MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
AHLBIN, DIANA              NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
AHLBORN, DEBBIE            MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
AHLVIN, TRACY              MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
AKINS, DIANNE              NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
ALLEN, GLENA              NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
ALLEN, JUNE               MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
ALLEN, KELLY              MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
ALLEN, KERRIE             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
ALLEN, RONDALYN           NJ - Superior Court - Atlantic County      ATL-L-2901-15         PORTER & MALOUF, PA
ALLEN, SHERYL             MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
ALLISON, BETTY            MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
ALLISON, SHARON           MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
ALLSHOUSE, MARGARET       MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ALTRINGER, REBECCA        NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
ALVAREZ-PEREZ, YVETTE     NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
AMIRO, HEIDI              MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
AMOGRETTI, GLORIA         NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
ANDERSON, BARBARA         MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
ANDERSON, MICHELLE        MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ANDERSON, SHARLENE        MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
ANDERSON, VIRGNIA         MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ANDREWS (MO), BRENDA      MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ANDREWS, DIANE            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
ANGELO, GAYLE-JEAN        MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
ANGLIN, JOANN             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
APPLEWHITE, JENNY         NJ - Superior Court - Atlantic County      ATL-L-1995-14         PORTER & MALOUF, PA
ARANGO, ADRIANA           MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
ARCHIE, THERESA           MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
ARMENDARIZ, DELIA         MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
ARMSTEAD, ETHEL           NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
ARMSTRONG, SUSAN          MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ARNETT, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
ARNOLD, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
ARNSTEIN, LOIS            MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
ARROYO, ANNA              MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
ARROYO, PEGGY             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
ASCENCIO, ROSA            MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
ASHBURN, LINDA            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ASKEW, NANCY              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
ASKINS, PAMELA            MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
AUGUST, CAROL             MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
AYALA, JUANITA            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
BABB, MARJORIE            NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
BAILEY, DENICE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
BAILEY-PARKER, SARAH      MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
BAIRD, ELLEN              NJ - USDC for the District of New Jersey   3:17-cv-08865         PORTER & MALOUF, PA
BAKER, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
BAKER, VIKKI              NJ - USDC for the District of New Jersey   3:17-cv-08652         PORTER & MALOUF, PA
BAKMAN, DEBBIE            NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
BANOVIC, GLORIA           NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
BARAN, NORA               NJ - USDC for the District of New Jersey   3:17-cv-07929         PORTER & MALOUF, PA
BARGE, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-2891-15         PORTER & MALOUF, PA
BARLOW, PATRICIA          MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
BARNES, MARY              MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
BARNETT, NANCY            MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
BARNHART, JONI            NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
BARRY, CAROL              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
BASSEY, ANNETTE           NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
BATTAGLIA, LOIS           MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
BAXTER, ELIZABETH         MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
BECERRA, MARGARITA        MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
BENIQUEZ, FRANCESCA       MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
BENNETT, SANDRA           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
BENZ, KIMBERLY            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
BERDUE, DARLENE           NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
BERGER, SUSAN             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
BERRY, DANA               NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
BERTRAND, MARY            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
BERZLEY, JANELLE          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
BETHELL, KIMBERLY         NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA
BIAN, MARY                NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA
BIANCO, DONNA             MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
BIGBEE, BRIDGETTE         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
BLACKFORD, CARRIE         MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
BLAES, SHAWN              MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
BLAKE, HALCYON            NJ - USDC for the District of New Jersey   3:17-cv-10164         PORTER & MALOUF, PA
BLANKENCHIP, DAWN         MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
BLEMKER, SANDRA           MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
BOERGERS, DONNA           MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
BOIS, PATRICIA            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
BOLINGER, JEANNE          MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
BONA, MARIA               MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
BOOKER, SHEILA            MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
BOOKER, TAMMY             MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA




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          Claimant Name                          State Filed                     Docket Number               Plaintiff Counsel
BORGS, HAMILTN, HORNR, JOHNSN,
                                 NJ - USDC for the District of New Jersey   3:17-cv-00794        PORTER & MALOUF, PA
SCHULMN, VARR
BOULER, SHERRY                   NJ - USDC for the District of New Jersey   3:17-cv-13041        PORTER & MALOUF, PA
BOUTERIE, TRACI                  MO - Circuit Court - City of St. Louis     1422-CC10042         PORTER & MALOUF, PA
BOWEN, LISA                      MO - Circuit Court - City of St. Louis     1822-CC11165         PORTER & MALOUF, PA
BOWERS, ELIZABETH                MO - Circuit Court - City of St. Louis     1422-CC10042         PORTER & MALOUF, PA
BOYD, PAULA                      MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
BRADFORD, JANA                   MO - Circuit Court - City of St. Louis     1522-CC-10203        PORTER & MALOUF, PA
BRAKE, DEBORAH                   MO - Circuit Court - City of St. Louis     1822-CC11165         PORTER & MALOUF, PA
BRANNON, ALICE                   MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
BRIDGES, BRENDA                  NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
BRIGHT, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
BRIMBERRY, KATHERINE             MO - Circuit Court - City of St. Louis     1522-CC-09792        PORTER & MALOUF, PA
BRONSON, JOCELINE                MO - Circuit Court - City of St. Louis     1522-CC-09792        PORTER & MALOUF, PA
BROOKS, JOETTA                   MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
BROUWER, STEPHANIE               MO - Circuit Court - City of St. Louis     1522-CC-09792        PORTER & MALOUF, PA
BROWN, PATRICIA                  MO - Circuit Court - Jefferson County      18JE-CC00448         PORTER & MALOUF, PA
BROWN, SALLY                     MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
BROWN, TERESA                    MO - Circuit Court - City of St. Louis     1522-CC10545         PORTER & MALOUF, PA
BROXTON, BILLIE                  MO - Circuit Court - Jefferson County      18JE-CC00893         PORTER & MALOUF, PA
BRUEMMER, CATHERINE              MO - Circuit Court - City of St. Louis     1722-CC11872         PORTER & MALOUF, PA
BRYANT, DIANA                    NJ - USDC for the District of New Jersey   3:17-cv-00796        PORTER & MALOUF, PA
BUCHECK, CURTIS                  MO - Circuit Court - City of St. Louis     1522-CC-10203        PORTER & MALOUF, PA
BUCK, MARCIA                     NJ - Superior Court - Atlantic County      ATL-L-2900-15        PORTER & MALOUF, PA
BUCZEK, ROYCE                    NJ - USDC for the District of New Jersey   3:17-cv-03944        PORTER & MALOUF, PA
BURDICK, LANI                    NJ - USDC for the District of New Jersey   3:17-cv-02394        PORTER & MALOUF, PA
BURGAN, YOLANDA                  MO - Circuit Court - City of St. Louis     1522-CC10545         PORTER & MALOUF, PA
BURGER, DARCY                    MO - Circuit Court - Jefferson County      18JE-CC00893         PORTER & MALOUF, PA
BURKS, KIMBERLY                  MO - Circuit Court - City of St. Louis     1822-CC11165         PORTER & MALOUF, PA
BURNETT, KAREN                   NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
BURNS, JOANEVA                   MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
BURRELL, BEVERLY                 MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
BURRESS, ANNETTE                 MO - Circuit Court - City of St. Louis     1522-CC-09792        PORTER & MALOUF, PA
BUTLER, AMELIA                   MO - Circuit Court - Jefferson County      18JE-CC00893         PORTER & MALOUF, PA
BUTTERWORTH, CINDY               MO - Circuit Court - City of St. Louis     1522-CC00613         PORTER & MALOUF, PA
BUTTS, PAMELA                    NJ - Superior Court - Atlantic County      ATL-L-2889-15        PORTER & MALOUF, PA
CABALLERO, TAMI                  NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
CAIN, MELBA                      MO - Circuit Court - City of St. Louis     1622-CC00134         PORTER & MALOUF, PA
CALANDRA, JOY                    MO - Circuit Court - Jefferson County      18JE-CC00448         PORTER & MALOUF, PA
CALHOON, SANDRA                  MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
CALHOUN, BECKY                   NJ - USDC for the District of New Jersey   3:19-cv-16059        PORTER & MALOUF, PA
CALLAHAN, TINA                   NJ - Superior Court - Atlantic County      ATL-L-2899-15        PORTER & MALOUF, PA
CALLISON, MARIA                  MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
CAMP, CARLA                      MO - Circuit Court - City of St. Louis     1522-CC00613         PORTER & MALOUF, PA
CAMPOS, TERESA                   MO - Circuit Court - City of St. Louis     1522-CC10545         PORTER & MALOUF, PA
CARAWAY, PAULETTE                MO - Circuit Court - City of St. Louis     1622-CC00134         PORTER & MALOUF, PA
CARBAJAL, LIDIA                  NJ - USDC for the District of New Jersey   3:17-cv-03945        PORTER & MALOUF, PA
CARDER, CRYSTAL                  MO - Circuit Court - City of St. Louis     1622-CC00134         PORTER & MALOUF, PA
CARROLL, SHARON                  MO - Circuit Court - City of St. Louis     1722-CC11872         PORTER & MALOUF, PA
CARROLL, SHARON                  MO - Circuit Court - City of St. Louis     1422-CC10042         PORTER & MALOUF, PA
CARTER, LYNETTE                  MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
CARTER, RHONDA                   MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
CARY, LYNN                       MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
CASAS, SOLANGEL                  MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
CASCI, KATHLEEN                  MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
CASEY, DONNA                     MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
CASEY, KATHERINE                 NJ - USDC for the District of New Jersey   3:19-cv-16059        PORTER & MALOUF, PA
CASEY, PATRICIA                  MO - Circuit Court - City of St. Louis     1522-CC-09792        PORTER & MALOUF, PA
CASTILLO, PAULA                  MO - Circuit Court - City of St. Louis     1522-CC-10203        PORTER & MALOUF, PA
CATAPANO, ROSEANNE               MO - Circuit Court - City of St. Louis     1522-CC10545         PORTER & MALOUF, PA
CECHURA, MARY                    NJ - USDC for the District of New Jersey   3:19-cv-16059        PORTER & MALOUF, PA
CHAMBERS, BONNIE                 MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
CHAPPELL, KELLY                  MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
CHARLES-ADAMS, CELIA             MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
CHARTER, MELINDA                 MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
CHASE, ELIZABETH                 NJ - USDC for the District of New Jersey   3:19-cv-16059        PORTER & MALOUF, PA
CHERRA, NARINDER                 MO - Circuit Court - City of St. Louis     1722-CC11872         PORTER & MALOUF, PA
CHESNUTT, MACKIE                 NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
CHESTEEN, MOLLY                  NJ - Superior Court - Atlantic County      ATL-L-414-14         PORTER & MALOUF, PA
CHIMENTO, GAIL                   NJ - USDC for the District of New Jersey   3:17-cv-02396        PORTER & MALOUF, PA
CHOATE, MARY                     MO - Circuit Court - City of St. Louis     1522-CC-10203        PORTER & MALOUF, PA
CHOLEWA, JANET                   MO - Circuit Court - City of St. Louis     1622-CC-00837        PORTER & MALOUF, PA
CISCO, CAROLYN                   MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
CLARK, PATRICIA                  NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
CLARK-HANSEN, LAURA              MO - Circuit Court - City of St. Louis     1622-CC00443         PORTER & MALOUF, PA
CLARK-HESTER, TAMMY              MO - Circuit Court - City of St. Louis     1522-CC00811         PORTER & MALOUF, PA
CLAVARIO, MARIA                  MO - Circuit Court - Jefferson County      18JE-CC00448         PORTER & MALOUF, PA
CLEMENTS, AMY                    NJ - USDC for the District of New Jersey   3:20-cv-01276        PORTER & MALOUF, PA
CLINKENBEARD, ABIGALE            MO - Circuit Court - City of St. Louis     1822-CC06811         PORTER & MALOUF, PA
COBB, VANDRA                     MO - Circuit Court - City of St. Louis     1522-CC-10203        PORTER & MALOUF, PA




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           Claimant Name                           State Filed                      Docket Number               Plaintiff Counsel
COLE, VONSEAL                      MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
COLEMAN, TONA                      MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
COLWELL, CHERYL                    MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
COLWELL, ROYA                      MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
COMBS, DELLAJEAN                   NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
CONLEY, ROBERTA                    NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
COOK, KYNDA                        NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
COOK, PRISCILLA                    NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
COOPER, CLARICE                    MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
COSTA, JULIE                       NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
COSTA, KATHLEEN                    MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
COTCAMP, CAROLYN                   NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
COTTON, VICTORIA                   MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
CRAIG, CANDACE                     NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
CRAWLEY, LISA                      NJ - Superior Court - Atlantic County      ATL-L-000045-16       PORTER & MALOUF, PA
CRISOSTOMO, YOLANDA                NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
CROCHET, JODY                      MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
CROMER, SOMBEN                     NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
CROSS, MARY                        NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
CROWDER, DEBORAH                   NJ - Superior Court - Atlantic County      ATL-L-2898-15         PORTER & MALOUF, PA
CRUMLISH, KATHLEEN                 MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
CUNNINGHAM, PATRICIA               MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
CUNNINGHAM-SCURTO, MARY            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
CUPO, MARION                       MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
DAHL, MICHELE                      NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
DANEK, SHIRLEY                     NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
DANIELS, NORA                      MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
DANKO, MAERUSHKA                   MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
DAVILA, DIANA                      MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
DAVIS, ALISHIA                     MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
DAVIS, D.; GIROLAMO, B.; SETZER,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07927         PORTER & MALOUF, PA
C.; TALUCCI, B.
DAVIS, LYNAE                       MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DAVIS, MARABETH                    MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
DEATON, LEA                        MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
DEBLOCK, DARLINE                   MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
DECKER, KATHERINE                  MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
DECKER, MARTHA                     MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
DEGIDIO, KATHLEEN                  MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
DEJESUS, EVELYN                    NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
DELGADO, HERLINDA                  MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
DELISA, CAROL                      MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
DEMAREE, SHIRLEY                   MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DEMELLO, KAREN                     NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
DENNARD, PAULA                     MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
DENNIS, HELENA                     MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
DERBAUM, TREVA                     MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DERITA, DOLORES                    MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
DESTEFANO, LAURA                   MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
DEVORE, KUIKIEW                    MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
DEXTER, JANET                      NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
DIAMOND-COX, HOPE                  MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DIBATTISTA, LESLIE                 MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
DICKEY, GLENDA                     MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
DIMARZO, MARION                    NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
DIMATULAC, CECILIA                 MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
DIRKS, SHARONDA                    MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
DIROCCO, MARY                      MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
DIVINE, DIANA                      NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
DOKTER, LINDA                      MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
DOLL, LINDA                        MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
DONALS, DEBORAH                    NJ - Superior Court - Atlantic County      ATL-L-2394-14         PORTER & MALOUF, PA
DONNELLY, CINDY                    NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
DONNER, LYDIA                      MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
DONOHUE, ROBIN                     MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
DOOLEY, DIANA                      NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
DOUGLAS, JOANN                     MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DOUGLASS, JUDY                     NJ - USDC for the District of New Jersey   3:18-cv-03369         PORTER & MALOUF, PA
DOWD, DEBORAH                      NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
DOYLE, JESSICA                     MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
DRAKE, RANN                        MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
DRAYTON, REBECCA                   MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
DRYER-ANDREWS, JOYCE               MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
DUBOSE, DORA                       MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
DUCKWORTH, MADALINE                MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DUFFY, DENISE                      MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
DUKES, KATHLEEN                    MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
DUNLAP, NUANA                      MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
DUNN, PEGGY                        MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
DUNN, SHELIA                       NJ - Superior Court - Atlantic County      ATL-L-2972-15         PORTER & MALOUF, PA




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          Claimant Name                              State Filed                      Docket Number               Plaintiff Counsel
DURAN, CATHERINE                     MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
DUTTON, AMY                          MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
DYE, SANDRA                          MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
EARL, SUZETTE                        MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
EASTERLING-TORGIANI, JULIA           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
EASTMAN, ALMA                        NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
EDDLEMAN, TERI                       MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
EDWARDS, DENISE                      NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
EDWARDS, PAMELA                      NJ - USDC for the District of New Jersey   3:17-cv-07933         PORTER & MALOUF, PA
EITEL, DOROTHY                       MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ELLIOT, SHERYL                       MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
ELLIS, BRENDA                        MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ENDERS, GEORGINA                     MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
ENDSLEY, DELLA                       MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
ENGLAND, CHRIS                       MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
ENGLISH, BONNIE                      NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
ENSOR, BARBARA                       MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
ERICKSON, CYNTHIA                    MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
ERICKSON, TERESA                     MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
ERIVES, ELSA                         MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ESTELLE, PAMELA                      NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
EVANS, ERON                          MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
EVANS, PENNY                         NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
EVANS-MORRISON, FELICIA              MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
FAHS, BONITA                         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
FANEUF, TAMATHA                      MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
FANSLER, MARY                        NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
FARMER, DANA                         MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
FARRO, RISA                          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
FAY, PRISCILLA                       NJ - USDC for the District of New Jersey   3:18-cv-03696         PORTER & MALOUF, PA
FEARS, MILDRED                       MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
FELTHOUSEN, BONNIE                   MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
FENNELL, LAVERNE                     MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
FERLITA, STEPHANIE                   MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
FERRARA, JOAN                        MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
FESTA, RAMONA                        MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
FIELDS, SUSAN                        MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
FILLEUL, SUZANN                      NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
FINCK, LISA                          MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
FINLEY, DANA                         MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
FIRTH, DELORES                       NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
FISHKIND, LYNN                       MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
FITZPATRICK, DEBORAH                 NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
FLETCHER, CATHERINE                  MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
FLORES, CORAZON                      MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
FLORES, ESTHER                       NJ - Superior Court - Atlantic County      ATL-L-2845-15         PORTER & MALOUF, PA
FLOWERS, SAMANTHA                    MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
FLOYD, JENNIFER                      MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
FODA, RANDA                          MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
FORMALEJO, TONI                      MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
FORREST, V.; GIESE, V.;MARINO, D.;
                                     MO - Circuit Court - City of St. Louis     1522-CC00419          PORTER & MALOUF, PA
VOGELER, S.
FOSTER, ZIPPORAH                     MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
FOWLE, KAREN                         NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
FOWLER, CHERYL                       MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
FOWLER, FAITH                        NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
FOWLER, MARY                         MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
FOX, VANESSA                         MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
FRANK, ERIN                          NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
FRAUSTO, BEATRIZ                     NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
FRAUSTO, BEATRIZ                     NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
FREDERICK, AMY                       MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
FREEMAN, KIM                         NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
FREEMAN, SANDRA                      NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
FREIDA, ANNAMARIE                    MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
FRIEND, DARLENE                      NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
FUOCCO, CHARLENE                     MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
FUOCO, CHARLENE                      MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
GABRIELE, CARMELA                    MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
GALIAZZI, MARIE                      MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
GAMAUNT, JOANNE                      MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
GANN, SHERRY                         MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
GARCIA, KIM                          MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
GARCIA, LILLIAN                      NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
GARCIA, TAMMY                        MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
GARDINER, MILDRED                    MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
GARDNER, MLISSA                      MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
GARZA, DIANA                         MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
GAUTHIER, LYNN                       NJ - Superior Court - Atlantic County      ATL-L-3568-14         PORTER & MALOUF, PA
GENTILE, MARIA                       NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
GEORGATOS, JEAN             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
GERMANY, GAYLA              NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
GERRISH, ANMBRA             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
GEYER, PATRICIA             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
GIBAS, MARJORIE             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
GIBBS, KENDRA               MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
GIBSON, DEVIN               MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
GIBSON, HELEENA             NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
GIBSON-PACK, ALECIA         MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
GILES, RUTH                 NJ - Superior Court - Atlantic County      ATL-L-2888-15         PORTER & MALOUF, PA
GIPSON, REGINA              NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
GIVEN, KATHERINE            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
GLANZ, KAREN                MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
GLASSTANG, MARY             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
GODWIN, MARY                MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
GOENS, AMY                  MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
GOINES, PATRICIA            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
GOLDSTEIN, LORRAINE         NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
GONSALVES, GEORGIANN        NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
GONZALES, BARBARA           MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
GONZALES, CARMEN            MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
GONZALES, JAMIE             MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
GOODE, WENDY                MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
GOODEN, CATHERINE           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
GOODIN, DIANE               MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
GORDON, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
GORDON, FREYA               NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
GORDON, JEANNE              MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
GORDON, NIKOLINA            MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
GORTAREZ, RACHEL            MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
GRACE, ROBYN                MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
GRAHAM, GAYLE               NJ - USDC for the District of New Jersey   3:17-cv-07933         PORTER & MALOUF, PA
GRAHAM, KATHLEEN            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
GRAMUGLIA, CARMELA          NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
GRANT, RENEE                MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
GREEN, ALETA                MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
GREEN-HINES, YOLANDA        NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
GREEN-NEWMAN, CARMEN        MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
GREGORY, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
GRIFFITH, JULIA             MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
GRIJALVA, LAUREN            NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
GROOME, SHARON              MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
GRUALY-MALDONADO, LARA      MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
GUARD, LOUISA               NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
GUILLAUME, CHRISTINE        MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
GUITY, KATHY                NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
GURGANUS, MARILYN           MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
HAAS, JOANNE                MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
HAAS, JOANNE                NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
HACHEM, FATME               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
HAGAN, LEONA                MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
HAILE, SHEILA               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
HAILS, ANNE                 MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
HAKE, ROSALIE               MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HALL, DIANA                 MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
HALL, HEATHER               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
HALL, IRA                   MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
HALL, MABLE                 MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HALL, NORMA                 MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
HALLIDAY-CORNELL, FRANCES   NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
HALSEY, PEGGY               MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
HAMEL, LINDA                NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
HAMILL, LYNNE               MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
HAMILTON, ALICE             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
HANDELMAN, KIM              MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
HANKINS, TRACY              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HANNAH, DAWN                MO - Circuit Court - City of St. Louis     1722-CC10745          PORTER & MALOUF, PA
HANNIGAN, DEYANIRA          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
HARABUC, VIRGINIA           MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HARDESTY, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
HARDY, ERAINA               MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
HARGROVE, TONI              NJ - USDC for the District of New Jersey   3:17-cv-07933         PORTER & MALOUF, PA
HARRIS, DEBORAH             MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
HARRIS, JOYCE               MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
HARRIS, KIMBERLY            MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HARRIS, RITA                MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
HARRISON, MARILYN           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
HARRISON, RACHEL            MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
HATCH, TANYA                MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
HATCH-WILLS, CHRISTY        MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HAUN, RUTH                MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
HAYES, TAMMY              MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
HAZEN, ROSANNE            MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
HEARD, ROSE               NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
HEARNS, ROBIN             MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
HEATH, ARDYTH             MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
HEATHERLY, CHARLOTTE      MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HEFFNER, CHERYL           NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
HEKKEMA, PATRICIA         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
HELLIWELL, LINDA          MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
HEMMINGER, SALLY          MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HENDERSON, ETHELENE       MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HENNIGAN, PAMELA          MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
HEREDIA, ANDREA           MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
HERNANDEZ, EVA            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
HERNANDEZ, MAGDALENA      MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HERNANDEZ, YOLANDA        NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
HERRELL, KAY              MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
HERRERA, MICHELLE         NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
HERRING, EVONNE           NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
HERSHMAN, ANGELA          MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
HERTZ, PAMELA             MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
HIGGINS, CHRISTINE        NJ - Superior Court - Atlantic County      ATL-L-2905-15         PORTER & MALOUF, PA
HILF, KELLY               MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
HILL, CAROL               MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
HILL, JUANITA             MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
HILL, ROBIN               MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
HILLIGOSS, JANET          MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
HILTON, SARAH             NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
HINKLE, JOANNA            MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
HODGINS, MABLE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
HOFHEIMER, ELAINE         MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HOLLAND, JENNIFER         MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
HOLLOWAY, ADRIANNE        NJ - Superior Court - Atlantic County      ATL-L-2846-15         PORTER & MALOUF, PA
HOLMES, LYNNE             MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
HOLMES, MERIDITH          NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
HOLUBIK, BONNIE           NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
HONG, SEUNGYEON           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
HOOPER, LINDA             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HOOPER, RENEE             MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
HORN, DENISE              NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
HOUSEL, KATHLEEN          MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
HOWARD, LAKISHIA          NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
HOWELL, CHERYL-ANNE       NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
HOY, BEVERLY              MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
HUFSTEDLER, KAREN         NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
HUNTER, JACQUELINE        MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HUNTLEY, LASHUNDA         MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
HURTADO, ELIZABETH        MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
HUSMAN, HEIDI             NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
HYATT, CARLA              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
ITURRERIA, SUSAN          NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
JACKSON, ALICESTINE       MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
JACKSON, JOAN             MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
JACKSON, MARGARET         MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
JACQUEZ, NANCY            NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
JANUARY, DOLLIE           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
JARMUZ, MARIANNE          NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
JEFFERY, MARY             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
JEFFREY, INGRID           NJ - Superior Court - Atlantic County      ATL-L-2847-15         PORTER & MALOUF, PA
JENKINS, DEBRA            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
JENSEN, DALENE            MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
JENSEN, MAIREAD           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
JOHNS, NANCY              MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
JOHNS, TAMIKA             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
JOHNSON, ARLENE           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
JOHNSON, CATHY            MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
JOHNSON, CONSTANCE        NJ - USDC for the District of New Jersey   3:17-cv-07929         PORTER & MALOUF, PA
JOHNSON, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
JOHNSON, HELEN            MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
JOHNSON, KATHLEEN         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
JOHNSON, LISA             MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
JOHNSON, LISA             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
JOHNSON, MARY             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
JOHNSON, MILDRED          MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
JOHNSON, SAMANTHA         MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
JOHNSON, SHERRY           MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
JONES, BARBARA            MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
JONES, CYNTHIA            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
JONES, DECARLA            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA




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           Claimant Name                      State Filed                    Docket Number               Plaintiff Counsel
JONES, DORIS                NJ - Superior Court - Atlantic County      ATL-L-772-14          PORTER & MALOUF, PA
JONES, FANNIE               NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
JONES, FRANCINE             NJ - Superior Court - Atlantic County      ATL-L-2848-15         PORTER & MALOUF, PA
JONES, KATHRYN              NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
JONES, LILLIE               MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
JONES, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
JONES, NANCY                NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
JONES, NETRA                MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
JONES, SANDRA               MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
JONES, SHARION              MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
JONES, VANESSA              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
JORDAN, RHONDA              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
JORDAN, VENESSA             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
JUANITEZ, TERESITA          MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
JUMP, JOHNNA                MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
JUSTICE, LINDA              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
KANN, JONELLE               NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
KASPRZAK, LINDA             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
KATTMAN, LESLIE             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
KAWELASKE, SUZANNA          MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
KEATING, RENEE              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
KEETON, PATRICIA            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
KELLEY, BRENDA              MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
KELLEY, KAREN               IL - Circuit Court - Cook County           2019L065076           PORTER & MALOUF, PA
KELLY, BRIANA               MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
KELLY, KATHLEEN             NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
KELLY, LINDA                NJ - USDC for the District of New Jersey   3:17-cv-11436         PORTER & MALOUF, PA
KELLY, MARGARET             MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
KENT, MONICA                NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
KEPHART, LORETTA            MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
KERCHINER, CATHY            MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
KERN, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
KERP, SUSAN                 NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
KERRIGAN, KAREN             MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
KHAZZAKA, ALISE             NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
KIELISZEK, CLARA            MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
KIRCHHOFF, LYNN             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
KISSELL, MARIA              MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
KITT, MICHELLE              MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
KLOSTERMAN-ROCK, VERONICA   MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
KNUDSEN, EDNA               MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
KOHLER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
KOWALEWSKI, GERALDINE       MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
KREBS, JENNIFER             MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
KREGELIKA, ANTOINETTE       MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
KROPP, DEBRA                NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
KUBANEK, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
KURDES, FRANCES             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
LAFERNEY, MARY              NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
LAMB, GENA                  MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
LAMB, MADGE                 MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
LANG, MICHELLE              NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
LANGE, FRANCES              MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
LANGEN, DIANA               NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
LANZ, CYNTHIA               MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
LARRAMENDY, RAMONA          MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
LASECKI, RUTH               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
LAVENDER, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-07929         PORTER & MALOUF, PA
LAVIGNA, MARY               NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
LE DOYEN, CECILIA           MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
LEADLEY, MARY               NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
LEDBETTER, MELINDA          MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
LEE, HELLENA                NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
LEE, JUDY                   MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
LEGLER, PATRICIA            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
LEHN, ELLISSA               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
LESTER, ANITA               MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
LEWIS, JACKIE               MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
LEWIS, LAURA                MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
LEWIS, VIVIAN               NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
LIDDIL, RITA                MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
LIEVANOS, MARIA             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
LIGHT, ELAINE               MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
LINDAHL, VICKI              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
LINDQUIST, SUZANNE          MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
LINICOMN, VERTENIA          MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
LIPCOMB, MADDONNA           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
LIPMAN, CYNTHIA             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
LITSON, SARAH               MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
LIVAUDAIS, SHARON           MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA




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          Claimant Name                            State Filed                      Docket Number               Plaintiff Counsel
LIVINGSTON, SANDRA                 MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
LOCKE, ASHLEY                      NJ - USDC for the District of New Jersey   3:17-cv-07929         PORTER & MALOUF, PA
LOE, TERRY                         MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
LONGMIRE, LINDA                    NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
LOOKINGBILL, FRANCES               NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
LOPEZ, BARBARA                     MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
LOPEZ, MARIA                       MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
LOPEZ-RODRIGUEZ, ELIZABETH         MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
LOVE, LOLA                         MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
LOVELADY, CYNDY                    MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
LOWE, CHERYL                       MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
LOWELL, DIMITY                     MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
LOYD, CAROLINE                     MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
LOZANO, ROSA                       NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
LUCIANI, CARRIE                    MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
LUTZ, CHRISTENE                    MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
MADRID, CLARA                      MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
MAHARG, DENISE                     MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
MAIBACH, DAWN                      MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
MAITLAND, ELOISE                   NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
MALDONADO, TAMMY                   MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
MANN, ERIN                         MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MARDEN, LOUISE                     NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MARKIN, TANYA                      MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MARSHALL, ETHEL                    NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
MARTEN, JUDITH                     NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
MARTIN, RHONDA                     MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
MARTINEZ, LYNDA                    MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MARTINEZ, MARIA                    NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
MARTZ, PATRICIA                    MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
MASON, CHERYL                      MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MASON, HOPE                        MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MATHIS, ADA                        MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
MATTHEWS, DEBORAH                  MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
MATTHEWS, SANDRA                   MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
MATTIA, SHELAH                     MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
MATTSON, STEPHANIE                 NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MAXWELL, SHARON                    MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
MAY, IDA                           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MAZZUCA, KATHLEEN                  NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
MCCLAIN, MELISSA                   MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MCCLANAHAN, KAREN                  MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
MCCULLEN, CAROL                    MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MCDONALD, MAYONA                   MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
MCGLOTHIN, RIKAYAH                 NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA
MCGONIGLE, JOYCE                   NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
MCKEE, CYNTHIA                     MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
MCKIERMAN, MARIA                   NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MCKINIGHT, LISA                    MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MCKINNEY, LINDA                    MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
MCKINZIE, SHIRLEY                  NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
MCLANE, BRENDA                     MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
MCLEAN, JILL                       NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
MCMILLIAN, MILDRED                 MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
MCNABB, HUE                        MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
MCQUILLEN, KAREN                   NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
MCTAMNEY, LAURALEE                 NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
MCVEAN, CYNTHIA                    MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
MEADOR, CHRISTINA                  MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
MEARS, MARCIA                      MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
MEDINA, FRNACES                    NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MEDINA, MARY                       MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
MEEKS, JESSLYN                     NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
MEEKS, REBECCA                     MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
MEIER, CYNTHIA                     NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
MELANSON, ANDREA                   NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
MELBERGER, B., RHODE, J.; ROCKS,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07910         PORTER & MALOUF, PA
P.; WORLEY, K.
MENDEZ, DELIA                      MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MENG, KATHRYN                      NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
MENSTER, KRISTINE                  MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
MENTO, CATHERINE                   MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
MENZEL, PEGGY                      MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MERCADO, KATHRYN                   MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
MEREDITH, AISHA                    MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
MERRIMAN, EBONEY                   MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
MERRITT, FRAN                      NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
METZGER, CAROL                     MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
METZLER, DIANNA                    NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
MICK, LU                           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MIERA, PAMELA             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
MILLAR, EVE               NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MILLER, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-07933         PORTER & MALOUF, PA
MIRANDA, MARIA            NJ - Superior Court - Atlantic County      ATL-L-2970-15         PORTER & MALOUF, PA
MITCHELL, JULIET          NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
MITCHELL, LAURIE          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
MITCHEM, CARLETTA         MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
MITCHUM, SUSAN            MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
MODISETTE, MARTHA         MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MONTANO, PENNY            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
MONTERROSO, JOANN         MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MONTOYA, ROSE             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
MONZON, MARIA             NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
MOORE, DEANNA             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
MOORE, LOUISE             NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
MOORE, TERRY              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MORALES, CARMEN           MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
MORALES, NAOMI            NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
MORENO, VICTORIA          NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MORGAN, CYNTHIA           NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
MORGAN, VALERIE           MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
MORRELL, GRACE            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
MOSER, JOYCE              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
MULBERRY, CAROL           NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
MULDREW, DEBRA            MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
MUNTER, SUSAN             MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
MURPHY, DAWN              MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
MURRAY, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
NANCE, SHARON             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
NAPOLITANO, LORI          NJ - USDC for the District of New Jersey   3:17-cv-00726         PORTER & MALOUF, PA
NASH, SUZANNE             MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
NATTRESS, INGE            NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
NELSON, DELIA             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
NELSON, DONNA             MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
NEWBURN, LENA             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
NEWKIRK, GLENNA           MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
NEWTON, DEBORAH           NJ - Superior Court - Atlantic County      ATL-L-525-16          PORTER & MALOUF, PA
NICHOLS, FAITH            NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
NICHOLS, SANDRA           MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
NIEHUAS, DANA             MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
NIELSEN, CYNTHIA          MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
NORHEIM, JULIE            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
NORRIS, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
NORRIS, REDITH            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
NOVOSEL, ROSEMARIE        MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
NUCKLES, AGNES            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
OAKS, LORI                MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
OCHOTECO, IRMA            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
OCONNELL, LINDA           MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
OHARA, LORI               NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
OKEEFFEE, ERIN            MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
OLIVER, MARLA             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
OLSON, KATHLEEN           MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
OMALLEY-KOSTNER, KAREN    NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
ORONA, EVANGELISTA        NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
OROZCO, SOPHIA            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
ORTIZ, KAYLA              MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
OTT, SUSAN                MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
OWENS, HOLLY              MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
PACK, CARMALEE            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
PADGETT, VERONICA         MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
PADILLA, ROSE             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
PALACIOUS, VICTORIA       NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
PALERMO, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
PALL, DEVRE               MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
PALMER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
PAMS, LATOYIA             NJ - Superior Court - Atlantic County      ATL-L-2759-15         PORTER & MALOUF, PA
PANNELL, NANCY            MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
PAPP-ROCHE, EVELYN        MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
PAQUETTE, ANDREA          MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
PARISIEN, CRYSTAL         MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
PASCHALL, ELIZABETH       MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
PASHA, MARSHA             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
PATTERSON, SUZANNE        MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
PAYNE, MARY               MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
PAYNE, TUCHLIN            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
PEARSON, EUGENIA          MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
PENDLETON, BARBARA        MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
PENN, DIANE               MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
PEREGRINA, FELICIA        NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
PERKINS, DONNA            NJ - Superior Court - Atlantic County      ATL-L-2849-15         PORTER & MALOUF, PA
PERRY, DOROTHY            MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
PERU, DELORES             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
PETERS, BELINDA           NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA
PETERSEN, INHTA           MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
PETROVEY, LORRAINE        MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
PETTIT, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
PICKLE, MARY              MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
PLANK, SUSAN              MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
PLITT, KATHLEEN           MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
PLUBELL, DENISE           MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
PONDILLO, KATHY           NJ - Superior Court - Atlantic County      ATL-L-2766-15         PORTER & MALOUF, PA
POSEY, JANNAE             NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
POTTS, ANNETTE            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
POWELL, NANCY             NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
PRATT, REGINA             MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
PREZWODEK, JANICE         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
PRINCE, JUNE              MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
PRYOR, HEIDI              MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
PUGH, ANNETTE             NJ - Superior Court - Atlantic County      ATL-L-2897-15         PORTER & MALOUF, PA
PUGH, BARBARA             MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
PURDY, JANICE             MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
QUARLES, MARY             MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
QUIRK, RAMONA             MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
RACKOW, JANET             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
RAINER, KIM               MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
RAK, JOANNA               NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
RANGEL, YOLANDA           MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
RAY, LAURA                MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
RAYNE STEENS, LA          NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
REAVES, CAROLINE          MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
REDDING, DEBORAH          MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
REHBECK, ANN              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
REPPELL, BRENDA           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
REUTER, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
RHOADES, TAMARA           MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
RICHARDSON, BONNIE        NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
RICHARDSON, ROSE          NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
RICO, DIANE               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
RICO, LILLIE              NJ - Superior Court - Atlantic County      ATL-L-2903-15         PORTER & MALOUF, PA
RIMP, PAULINE             NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
RINGBAUER, THEA           NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
RION, RUBY                MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
RITCHIE, TINA             MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
RIVET, DEBORAH            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
ROBEN, DEBROAH            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
ROBINSON, ERNA            NJ - Superior Court - Atlantic County      ATL-L-2896-15         PORTER & MALOUF, PA
ROBINSON, TASHA           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ROCKHOLD, DIONNE          MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
ROCKS, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA
RODRIGUEZ, KATHLEEN       NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
ROGACH, ROSEANNE          NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
ROGERS, KEMBERLY          MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ROLAND, LETITCIA          NJ - Superior Court - Atlantic County      ATL-L-2902-15         PORTER & MALOUF, PA
ROLLINS, KELLIE           MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
RONDA, ZULMA              NJ - Superior Court - Atlantic County      ATL-L-002693-15       PORTER & MALOUF, PA
ROPER, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
RUNYON, STEPHANIE         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
RUSHWORTH, TINA           NJ - Superior Court - Atlantic County      ATL-L-2894-15         PORTER & MALOUF, PA
RUSSELL, PAMELA           MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
RUSSELL, SUSANN           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
RUTHERFORD, MARY          MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
SADLER, SANDRA            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
SALAZAR, LORI             MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
SALTER, KAREN             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SALVEMINI, LISA           MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
SALVO, LAURA              MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
SAN FILIPPO, SARAH        NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
SANCHEZ, YUDMILA          MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
SANDAU, LEONA             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
SANDERSON, LAURIE         NJ - Superior Court - Atlantic County      ATL-L-2960-15         PORTER & MALOUF, PA
SANDLAUFER, DEBORAH       NJ - Superior Court - Atlantic County      ATL-L-2396-14         PORTER & MALOUF, PA
SAPP, DEIDRAE             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SARCHETTE, SANDRA         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
SAUCEDO, MONICA           MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
SAUSMAN, SHANNON          NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
SAWYER, BONNIE            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SCARLETT-ROGERS, JANET    MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
SCHACKEL, JANEEN          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SCHAUB, NORA              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
SCHEFTNER, TRACIE          MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
SCHEIDT, CYNTHIA           MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SCHMITZ, ANN               MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SCHOONOVER, GAIL           MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SCHUKERT, SHEILA           MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SCHURMAN, REBECCA          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SCOTT, BEVERLY             NJ - USDC for the District of New Jersey   3:17-cv-07929         PORTER & MALOUF, PA
SCOTT, NANCY               NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
SCOTT, ROSEMAY             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
SEABLOOM, CATHERINE        MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
SEDAR, REBECCA             MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
SEDICINO, JANICE           MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
SEMENAS, ROSEMARY          NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
SEMMENS, SUSAN             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
SEXTON, PATRICIA           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SHASKY, LEE                MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
SHAW, JEANIE               MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
SHAW, ROSE                 MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
SHAWHAN, JOANIE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
SHEA, COLLEEN              MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
SHEPHERD, CAROL            MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
SHEPHERD, NANCY            MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SHERRY, CHARINE            MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
SHLIGER, DAYNA             NJ - USDC for the District of New Jersey   3:17-cv-00800         PORTER & MALOUF, PA
SIDRANSKY, LISA            MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
SILVA, MARIA               MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SILVA, RENEE               NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
SIMPSON, MARIE             MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
SISSINE, GRACIELA          NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
SIZEMORE, JOAN             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SKALA, KATHY               MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
SKINNER, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA
SLAZYK, CATHY              MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
SLOPER, LISA               MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SMITH (MO), ANN            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
SMITH, ALEISA              MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
SMITH, BRENDA              MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SMITH, CARRIE              MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
SMITH, CHRISTINE           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SMITH, JANET               MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
SMITH, LARITA              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SMITH, MARIANNE            NJ - USDC for the District of New Jersey   3:17-cv-07924         PORTER & MALOUF, PA
SMITH, PATRICIA            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SMITH, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
SMITH, RAQUEL              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SMITH, TERESA              MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
SMITH, TRACI               MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
SNYDER, SHIRLEY            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SOFMAN, BESSIE             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
SOILEAU, PATRICIA          MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
SOLIDUM, JUDITH            MO - Circuit Court - City of St. Louis     1822-CC06811          PORTER & MALOUF, PA
SOTO, PATRICIA             MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
SOTO-MARQUEZ, MARIANA      MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
SPARKMAN, MARGARET         MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SPARKS, CINNAMON           MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
ST. JOHN, DEBBIE           MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
STAFFORD, DONNA            MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
STAHL, DONNA               MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
STALNAKER, VELMA           NJ - USDC for the District of New Jersey   3:20-CV-06780         PORTER & MALOUF, PA
STANGL, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
STEELE, GAIL               NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
STILTNER, PRISCILLA        MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
STIRCKLAND, TAMMY          NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
STOCKTON, TAMALYN          NJ - USDC for the District of New Jersey   3:17-cv-07929         PORTER & MALOUF, PA
STODDARD, KATHLEEN         MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
STONE, DEBBIE              NJ - Superior Court - Atlantic County      ATL-L-2850-15         PORTER & MALOUF, PA
STORANDT, KAREN            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
STORY, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
STRICKLEN, MONICA          MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
STROTHER, CRYSTAL          MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
STUMPF, LAVERNE            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
STURMAN, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
STUSAK, MARILYN            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SURMAN, DEBRA              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
SWANN, VALERIE             MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
SYBERT, LORRIE             MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
SYKES, CARLEN              MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
TAHIJA, BONITA             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
TALVACCHIO, SUSAN          MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
TANNAHILL, PAMELA          MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA




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          Claimant Name                    State Filed                      Docket Number               Plaintiff Counsel
TAPP, DEBRA                MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
TAUBER, CHRISTINA          MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
TAYLOR, CALLIE             MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
TAYLOR, ROBBIN             MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
TEMPLE, BONNIE             NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
TENENBAUM, PEARL           NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
TERRY, CHARLOTTE           MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
THIBODEAU, TERRI           MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
THOMAS, JODI               MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
THOMAS, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-02396         PORTER & MALOUF, PA
THOMAS, MARLENE            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
THOMAS, PATRICE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
THOMASON, VICKY            MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
THOMPSON, KATHY            NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
THOMPSON, LAURA            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
THOMPSON, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
THORNBURG, ALINA           MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
TILLEY, AUDREY             MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
TIMMS, JANENE              MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
TIPPS, MARY                MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
TOBOLA, WANDA              MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
TODD, BEVERLY              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
TODD, DENISE               MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
TONEY, JILL                NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
TONGCO, DIANNE             MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
TONI, MARIANNA             NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
TORRES, JOYCE              MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
TORRES, MIOSOTY            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
TOVAR, MONICA              MO - Circuit Court - City of St. Louis     1822-CC11165          PORTER & MALOUF, PA
TRAYLOR, KELLY             NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
TRICE, MARY                MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
TRIPP, KARLA               MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
TRIPP, KATHY               NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
TUCKER, CAROLINE           MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
TUCKER, TONI               MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
TURNER, CARAL              NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
TURNER, LYNN               MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
TURNER-CHAMERS, MELISSA    MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
TYLER, LAURA               MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
TYLER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
UNDERWOOD, ARELLA          MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
UNDERWOOD, PEGGY           MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
UNRUH, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-00796         PORTER & MALOUF, PA
UYEMURA, SONHUI            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
VAI, STEPHANIE             NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
VALENCIA, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
VALENTINE, PATRICIA        MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
VAN BUREN, MONICA          MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
VANDEWARKER, SHARON        MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
VARGAS, ANDREA             MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
VAUGHN, CATHEY             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
VERA, VICTORIA             NJ - USDC for the District of New Jersey   3:17-cv-00793         PORTER & MALOUF, PA
VIKASHNI, JAZMINE          MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
VILLARI, NANCY             MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
VINUYA, ALICIA             MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
VITRANO, ANNA              MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
VOLKER-LOGUIDICE, AMANDA   NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
VON ASHEN, KRISTINE        MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WALKER, ALICIA             MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
WALKER, LINDA              MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WALKER, MICHELLE           NJ - USDC for the District of New Jersey   3:17-cv-07933         PORTER & MALOUF, PA
WALKER-DETLOFF, BETTY      MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
WALKEY, LEONISE            MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
WALLINGSFORD, PENNY        MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
WALTERS, THOMASCENE        NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
WALTON, EDNA               MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
WARREN, LINDA              MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
WASBERG, MICHELE           MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
WATSON, BRENDA             MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
WATSON, KAREN              MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
WATTS, CARLENE             MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
WAXMAN, LORRAINE           MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
WEBB, LYNN                 NJ - USDC for the District of New Jersey   3:17-cv-00798         PORTER & MALOUF, PA
WEDLICK-ORTIZ, ELLEN       NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
WEINER, MARILYN            NJ - USDC for the District of New Jersey   3:19-cv-13660         PORTER & MALOUF, PA
WEISS, LAURA               MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
WELLS, SAMANTHA            MO - Circuit Court - City of St. Louis     1422-CC09326-01       PORTER & MALOUF, PA
WERNER, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-1800-14         PORTER & MALOUF, PA
WEST, NANCY                MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
WHEELER, KENAH             NJ - USDC for the District of New Jersey   3:17-cv-00790         PORTER & MALOUF, PA




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
WHEELER, LEAANN            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WHEELER, TRACEY            MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WHELAND, CLAUDIA           MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
WHITE, DAISY               MO - Circuit Court - City of St. Louis     1522-CC10545          PORTER & MALOUF, PA
WHITE, PHYLLIS             MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WHITTINGTON, LAWANDA       NJ - Superior Court - Atlantic County      ATL-L-2851-15         PORTER & MALOUF, PA
WHITTMORE, JOAN            MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
WILHELM, EILEEN            MO - Circuit Court - Jefferson County      18JE-CC00448          PORTER & MALOUF, PA
WILKERSON, GLORIA          NJ - USDC for the District of New Jersey   3:17-cv-05720         PORTER & MALOUF, PA
WILLARD, VELMA             MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1422-CC10042          PORTER & MALOUF, PA
WILLIAMS, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
WILLIAMS, FLORENCE         MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
WILLIAMS, GAIL             NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
WILLIAMS, LINDA            NJ - Superior Court - Atlantic County      ATL-L-2967-15         PORTER & MALOUF, PA
WILLIAMS, MARA             NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
WILLIAMS, MARY             NJ - USDC for the District of New Jersey   3:17-cv-03945         PORTER & MALOUF, PA
WILLIAMS, MELISSA          NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
WILLIAMS, RAECHELL         MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
WILLIAMS, RHONDA           MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
WILLIAMS, WILLETTE         MO - Circuit Court - City of St. Louis     1522-CC-09792         PORTER & MALOUF, PA
WILLIAMS-GAINES, DEBORAH   NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
WILLIAMSON, DENISE         MO - Circuit Court - City of St. Louis     1522-CC00613          PORTER & MALOUF, PA
WILLIAMSON, DOROTHY        MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WILLIAMS-PERKINS, PAMELA   NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
WILLIS, KRISTEN            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
WILLS, KATHRYN             NJ - USDC for the District of New Jersey   3:17-cv-03944         PORTER & MALOUF, PA
WILLSEY, DONNA             MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
WILSON, FLORA              MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
WILSON, PHYLLIS            NJ - USDC for the District of New Jersey   3:19-cv-16059         PORTER & MALOUF, PA
WINGERT, KRISTINE          NJ - Superior Court - Atlantic County      ATL-L-2853-15         PORTER & MALOUF, PA
WINGO, LYNDA               MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
WINGO-RUST, ANGELA         MO - Circuit Court - City of St. Louis     1622-CC-00837         PORTER & MALOUF, PA
WINKELMAN, SARAH           MO - Circuit Court - City of St. Louis     1622-CC00134          PORTER & MALOUF, PA
WITHOLW, BILLIE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
WOLF, SUSIE                NJ - USDC for the District of New Jersey   3:17-cv-05719         PORTER & MALOUF, PA
WOODWARD, DARLA            MO - Circuit Court - City of St. Louis     1722-CC11872          PORTER & MALOUF, PA
WOOLDRIDGE, TERRI          NJ - Superior Court - Atlantic County      ATL-L-6661-14         PORTER & MALOUF, PA
WOOLEN, LANETTE            NJ - USDC for the District of New Jersey   3:20-cv-01276         PORTER & MALOUF, PA
WOOLLEY, SUSAN             MO - Circuit Court - City of St. Louis     1622-CC00443          PORTER & MALOUF, PA
WOOTEN, JUDITH             MO - Circuit Court - Jefferson County      18JE-CC00893          PORTER & MALOUF, PA
YOUNG, LINDA               MO - Circuit Court - City of St. Louis     1522-CC-10203         PORTER & MALOUF, PA
ZANE, DELLA                NJ - USDC for the District of New Jersey   3:17-cv-02394         PORTER & MALOUF, PA
ZECCHINO, LORI             MO - Circuit Court - City of St. Louis     1422-CC09821          PORTER & MALOUF, PA
ZIMMERMAN, SUZANNE         MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ZUCHOWSKI, KAREN           MO - Circuit Court - City of St. Louis     1822-CC11533          PORTER & MALOUF, PA
ZUCKER, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-03946         PORTER & MALOUF, PA
ZWALLY, DOROTHY            MO - Circuit Court - City of St. Louis     1522-CC00811          PORTER & MALOUF, PA
ABNER, SUZANNE             NJ - USDC for the District of New Jersey   3:17-cv-11616         POTTS LAW FIRM
AMENTA, CATHY              NJ - USDC for the District of New Jersey   3:18-cv-02662         POTTS LAW FIRM
ANDERSON, MARTHELL         NJ - USDC for the District of New Jersey   3:17-cv-11638         POTTS LAW FIRM
ANDREWS, MELISSA           NJ - USDC for the District of New Jersey   3:17-cv-10675         POTTS LAW FIRM
BAINES, A                  NJ - USDC for the District of New Jersey   3:17-cv-11398         POTTS LAW FIRM
BARDSLEY, CAMILLE          NJ - USDC for the District of New Jersey   3:19-cv-00137         POTTS LAW FIRM
BARNEBURG, KATHLEEN        NJ - USDC for the District of New Jersey   3:18-cv-02713         POTTS LAW FIRM
BARNES, LAUREN             NJ - USDC for the District of New Jersey   3:19-cv-00297         POTTS LAW FIRM
BARRY, GERALDINE           NJ - USDC for the District of New Jersey   3:19-cv-00326         POTTS LAW FIRM
BARTOSIAK, AUDREY          NJ - USDC for the District of New Jersey   3:19-cv-00339         POTTS LAW FIRM
BEARDEN, DONNA             NJ - USDC for the District of New Jersey   3:17-cv-12337         POTTS LAW FIRM
BEJEC, LILIA               NJ - USDC for the District of New Jersey   3:17-cv-11699         POTTS LAW FIRM
BENECKE, JEAN              NJ - USDC for the District of New Jersey   3:17-cv-06423         POTTS LAW FIRM
BERG, BRENDA               NJ - USDC for the District of New Jersey   3:17-cv-10807         POTTS LAW FIRM
BERNSTEIN, GLORIA          NJ - USDC for the District of New Jersey   3:18-cv-00157         POTTS LAW FIRM
BIENEMY, PHILLIS           NJ - USDC for the District of New Jersey   3:18-cv-15310         POTTS LAW FIRM
BINGMAN, ROBIN             NJ - USDC for the District of New Jersey   3:18-cv-10124         POTTS LAW FIRM
BISHOP, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-11713         POTTS LAW FIRM
BLACKMORE, JEAN            NJ - USDC for the District of New Jersey   3:19-cv-00347         POTTS LAW FIRM
BOCKO, DONNA               NJ - USDC for the District of New Jersey   3:20-cv-01322         POTTS LAW FIRM
BOLDIN, EMMA               NJ - USDC for the District of New Jersey   3:18-cv-07958         POTTS LAW FIRM
BOWNE, NANCY               NJ - USDC for the District of New Jersey   3:17-cv-10499         POTTS LAW FIRM
BROSSARD, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-11673         POTTS LAW FIRM
BROWN, CHERYL              NJ - USDC for the District of New Jersey   3:17-cv-11677         POTTS LAW FIRM
BROWN, VIRGINIA            NJ - USDC for the District of New Jersey   3:17-cv-12489         POTTS LAW FIRM
BUENCAMINO, NELLA          NJ - USDC for the District of New Jersey   3:20-cv-01134         POTTS LAW FIRM
BURT, DOREEN               NJ - USDC for the District of New Jersey   3:19-cv-16500         POTTS LAW FIRM
BUTLER, LISA               NJ - USDC for the District of New Jersey   3:19-cv-14504         POTTS LAW FIRM
BYRD, LAURA                NJ - USDC for the District of New Jersey   3:17-cv-11938         POTTS LAW FIRM
CAINE, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-11729         POTTS LAW FIRM
CAMPBELL, DAVELENE         NJ - USDC for the District of New Jersey   3:19-cv-00676         POTTS LAW FIRM




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
CANN, DIANA               NJ - USDC for the District of New Jersey   3:18-cv-03960         POTTS LAW FIRM
CANTU, MARIA              NJ - USDC for the District of New Jersey   3:17-cv-11901         POTTS LAW FIRM
CASSETTI, JUDY            NJ - USDC for the District of New Jersey   3:17-cv-11760         POTTS LAW FIRM
CHAMPAGNE, CATHEY         NJ - USDC for the District of New Jersey   3:17-cv-06882         POTTS LAW FIRM
CHANDLER, SHAUNTIA        NJ - USDC for the District of New Jersey   3:19-cv-18048         POTTS LAW FIRM
CHAPEL, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-05520         POTTS LAW FIRM
CHAPMAN, MEREDITH         NJ - USDC for the District of New Jersey   3:17-cv-05263         POTTS LAW FIRM
CHATMON, CHRISTINE        NJ - USDC for the District of New Jersey   3:20-cv-01135         POTTS LAW FIRM
CLAFFEY, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-11792         POTTS LAW FIRM
COLLINS, GLADYS           NJ - USDC for the District of New Jersey   3:19-cv-09951         POTTS LAW FIRM
COOPER, OTHA MERLE        NJ - USDC for the District of New Jersey   3:17-cv-11803         POTTS LAW FIRM
CRASE, LYNETTE            NJ - USDC for the District of New Jersey   3:17-cv-12557         POTTS LAW FIRM
DARNELL, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-05129         POTTS LAW FIRM
DAVIS, FERN               NJ - USDC for the District of New Jersey   3:19-cv-00699         POTTS LAW FIRM
DEMEDUK, JOANN            NJ - USDC for the District of New Jersey   3:17-cv-12597         POTTS LAW FIRM
DIEFENDERFER, TRACI       NJ - USDC for the District of New Jersey   3:17-cv-05424         POTTS LAW FIRM
DIRICO, MARY              NJ - USDC for the District of New Jersey   3:19-cv-01012         POTTS LAW FIRM
DONAHUE, BEVERLY          NJ - USDC for the District of New Jersey   3:17-cv-11956         POTTS LAW FIRM
DONIS, ARLENE             NJ - USDC for the District of New Jersey   3:17-cv-12629         POTTS LAW FIRM
DONNELLY, LAURA           NJ - USDC for the District of New Jersey   3:17-cv-12125         POTTS LAW FIRM
DOTY, THERESE             NJ - USDC for the District of New Jersey   3:19-cv-01039         POTTS LAW FIRM
DUFRESNE, NINA            NJ - USDC for the District of New Jersey   3:20-cv-01137         POTTS LAW FIRM
DUMOVICH, SUSAN           NJ - USDC for the District of New Jersey   3:19-cv-01092         POTTS LAW FIRM
DYKSTRA, JOAN             NJ - USDC for the District of New Jersey   3:18-cv-17446         POTTS LAW FIRM
ELLIS, TERESA             NJ - USDC for the District of New Jersey   3:17-cv-03588         POTTS LAW FIRM
FALK, JANET               NJ - USDC for the District of New Jersey   3:17-cv-05615         POTTS LAW FIRM
FEARS, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-00763         POTTS LAW FIRM
FITZHUGH, SHERRI          NJ - USDC for the District of New Jersey   3:21-cv-00870         POTTS LAW FIRM
FORNEY, LULA              NJ - USDC for the District of New Jersey   3:19-cv-14542         POTTS LAW FIRM
FOX, MARJORIE             NJ - USDC for the District of New Jersey   3:20-cv-05303         POTTS LAW FIRM
FRIEND, GLENNA            NJ - USDC for the District of New Jersey   3:17-cv-12315         POTTS LAW FIRM
GAIUS, PEGGY              NJ - USDC for the District of New Jersey   3:17-cv-11989         POTTS LAW FIRM
GARCIA, MARIA             NJ - USDC for the District of New Jersey   3:17-cv-12363         POTTS LAW FIRM
GASPER, SALLY             NJ - USDC for the District of New Jersey   3:17-cv-12691         POTTS LAW FIRM
GIARDELLO, MICHELE        NJ - USDC for the District of New Jersey   3:18-cv-17076         POTTS LAW FIRM
GOODE, SHANNA             NJ - USDC for the District of New Jersey   3:17-cv-11458         POTTS LAW FIRM
GOTTLIEB, DORA            NJ - USDC for the District of New Jersey   3:17-cv-12065         POTTS LAW FIRM
GRAHAM, CARRIE            NJ - USDC for the District of New Jersey   3:19-cv-13015         POTTS LAW FIRM
GRANT, FELICE             NJ - USDC for the District of New Jersey   3:17-cv-12657         POTTS LAW FIRM
GREENE, CYNTHIA           NJ - USDC for the District of New Jersey   3:20-cv-05302         POTTS LAW FIRM
GRONDAHL, LUCY            NJ - USDC for the District of New Jersey   3:17-cv-04467         POTTS LAW FIRM
HACKETT-MAINE, DEBORAH    NJ - USDC for the District of New Jersey   3:17-cv-12085         POTTS LAW FIRM
HARRIGAN, CATHERINE       NJ - USDC for the District of New Jersey   3:17-cv-12663         POTTS LAW FIRM
HARRIS, NATASHA           NJ - USDC for the District of New Jersey   3:17-cv-12802         POTTS LAW FIRM
HASAKA, ROXANNA           NJ - USDC for the District of New Jersey   3:17-cv-12778         POTTS LAW FIRM
HATFIELD, TERESA          NJ - USDC for the District of New Jersey   3:20-cv-18736         POTTS LAW FIRM
HAVILAND, DEBBIE          NJ - USDC for the District of New Jersey   3:17-cv-13432         POTTS LAW FIRM
HAYMAN, SHELIA            NJ - USDC for the District of New Jersey   3:19-cv-00038         POTTS LAW FIRM
HEARD, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-12850         POTTS LAW FIRM
HERSHEY, GINA             NJ - USDC for the District of New Jersey   3:17-cv-05658         POTTS LAW FIRM
HILL, HAZEL               NJ - USDC for the District of New Jersey   3:17-cv-12102         POTTS LAW FIRM
HILL, KAREN               NJ - USDC for the District of New Jersey   3:17-cv-05032         POTTS LAW FIRM
HILL, RACHEL              NJ - USDC for the District of New Jersey   3:19-cv-01236         POTTS LAW FIRM
HOLMES, MARGARET          NJ - USDC for the District of New Jersey   3:17-cv-11559         POTTS LAW FIRM
HOPPE, EILEEN             NJ - USDC for the District of New Jersey   3:17-cv-10934         POTTS LAW FIRM
HORNE, LOSSIE             NJ - USDC for the District of New Jersey   3:17-cv-12162         POTTS LAW FIRM
HUDSON, KARIE             NJ - USDC for the District of New Jersey   3:17-cv-10901         POTTS LAW FIRM
JENKS, FAYE               NJ - USDC for the District of New Jersey   3:17-cv-11405         POTTS LAW FIRM
JOHNSON, LUANNA           NJ - USDC for the District of New Jersey   3:17-cv-12185         POTTS LAW FIRM
JONES, BESSIE             NJ - USDC for the District of New Jersey   3:17-cv-03976         POTTS LAW FIRM
KAUP, VIRGINIA            NJ - USDC for the District of New Jersey   3:17-cv-13470         POTTS LAW FIRM
KEEN, PHYLLIS             NJ - USDC for the District of New Jersey   3:19-cv-04654         POTTS LAW FIRM
KEITH, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-12862         POTTS LAW FIRM
KENNEDY, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-04871         POTTS LAW FIRM
KNUDSEN, THERESA          NJ - USDC for the District of New Jersey   3:18-cv-00178         POTTS LAW FIRM
LANGLEY, ALICE            NJ - USDC for the District of New Jersey   3:17-cv-11575         POTTS LAW FIRM
LEMASTER, CHRISTY         NJ - USDC for the District of New Jersey   3:17-cv-13419         POTTS LAW FIRM
LENORT, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-12222         POTTS LAW FIRM
LINFIELD, BRENDA          NJ - USDC for the District of New Jersey   3:17-cv-05036         POTTS LAW FIRM
LONGBERRY, AUTUMN         NJ - USDC for the District of New Jersey   3:19-cv-21439         POTTS LAW FIRM
LOWE, GLORIA              NJ - USDC for the District of New Jersey   3:17-cv-13218         POTTS LAW FIRM
LOWRY, PAMELA             NJ - USDC for the District of New Jersey   3:19-cv-04814         POTTS LAW FIRM
LUSARDI, MADELINE         NJ - USDC for the District of New Jersey   3:18-cv-00010         POTTS LAW FIRM
LUYE, RITA                NJ - USDC for the District of New Jersey   3:17-cv-08194         POTTS LAW FIRM
LYONS, ROBIN              NJ - USDC for the District of New Jersey   3:17-cv-05326         POTTS LAW FIRM
MACIAS, FRANCIS           NJ - USDC for the District of New Jersey   3:18-cv-01309         POTTS LAW FIRM
MACKEY, NINA              NJ - USDC for the District of New Jersey   3:20-cv-01200         POTTS LAW FIRM
MAROFSKY, ADRIENNE        NJ - USDC for the District of New Jersey   3:17-cv-13500         POTTS LAW FIRM
MARTINEZ, CAROLINE        NJ - USDC for the District of New Jersey   3:17-cv-13695         POTTS LAW FIRM
MARTINEZ, DIANE           NJ - USDC for the District of New Jersey   3:19-cv-06941         POTTS LAW FIRM




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
MARTLING, KATY            NJ - USDC for the District of New Jersey   3:20-cv-01132         POTTS LAW FIRM
MARTOVITZ, LAURA          NJ - USDC for the District of New Jersey   3:17-cv-13553         POTTS LAW FIRM
MARTY, TAMMY              NJ - USDC for the District of New Jersey   3:19-cv-04940         POTTS LAW FIRM
MATTHEW, VERDMAY          NJ - USDC for the District of New Jersey   3:17-cv-13688         POTTS LAW FIRM
MAYO, DIANA               NJ - USDC for the District of New Jersey   3:17-cv-13643         POTTS LAW FIRM
MCCORMICK, YVONNE         NJ - USDC for the District of New Jersey   3:17-cv-13716         POTTS LAW FIRM
MCCURTY, CORINE           NJ - USDC for the District of New Jersey   3:18-cv-00783         POTTS LAW FIRM
MCDONALD, KRISTY          NJ - USDC for the District of New Jersey   3:18-cv-12472         POTTS LAW FIRM
MCKNIGHT, THERESA         NJ - USDC for the District of New Jersey   3:17-cv-13750         POTTS LAW FIRM
MCMANUS, SUSAN            NJ - USDC for the District of New Jersey   3:19-cv-12128         POTTS LAW FIRM
MCVAY, MARCIA             NJ - USDC for the District of New Jersey   3:18-cv-00031         POTTS LAW FIRM
MICHAELS, ALICE           NJ - USDC for the District of New Jersey   3:18-cv-00051         POTTS LAW FIRM
MILLER, CRISTINA          NJ - USDC for the District of New Jersey   3:18-cv-00129         POTTS LAW FIRM
MONROE, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-02344         POTTS LAW FIRM
MOORE, MARTHA             NJ - USDC for the District of New Jersey   3:17-cv-05063         POTTS LAW FIRM
MOTES, ALISHA             NJ - USDC for the District of New Jersey   3:18-cv-00189         POTTS LAW FIRM
MOYES, EDNA               NJ - USDC for the District of New Jersey   3:20-cv-05301         POTTS LAW FIRM
MURPHY, IDA               NJ - USDC for the District of New Jersey   3:17-cv-11415         POTTS LAW FIRM
NICOLETTE, LINDA          NJ - USDC for the District of New Jersey   3:18-cv-00085         POTTS LAW FIRM
ONEIL, ANNETTE            NJ - USDC for the District of New Jersey   3:19-cv-15760         POTTS LAW FIRM
PADILLA, DORA             NJ - USDC for the District of New Jersey   3:17-cv-11393         POTTS LAW FIRM
PARKER, ALISON            NJ - USDC for the District of New Jersey   3:18-cv-00130         POTTS LAW FIRM
PASTERNAK, MARILYN        NJ - USDC for the District of New Jersey   3:17-cv-11492         POTTS LAW FIRM
PATEL, NILABEN            NJ - USDC for the District of New Jersey   3:18-cv-00126         POTTS LAW FIRM
PATEL, URMILA             NJ - USDC for the District of New Jersey   3:18-cv-07938         POTTS LAW FIRM
PATTON, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-05129         POTTS LAW FIRM
PEARSON, STEPHANIE        NJ - USDC for the District of New Jersey   3:18-cv-00860         POTTS LAW FIRM
PRATT, JOYCE              NJ - USDC for the District of New Jersey   3:17-cv-11576         POTTS LAW FIRM
PRICE, GINGER             NJ - USDC for the District of New Jersey   3:18-cv-04721         POTTS LAW FIRM
QUINN, JACKIE             NJ - USDC for the District of New Jersey   3:17-cv-07820         POTTS LAW FIRM
RAMIREZ, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-00529         POTTS LAW FIRM
REAGAN, RAE               NJ - USDC for the District of New Jersey   3:17-cv-11477         POTTS LAW FIRM
REBROVICH, PATRICIA       NJ - USDC for the District of New Jersey   3:20-cv-01202         POTTS LAW FIRM
REED, NATASHA             NJ - USDC for the District of New Jersey   3:18-cv-10883         POTTS LAW FIRM
RENWAND, CYNTHIA          NJ - USDC for the District of New Jersey   3:19-cv-05329         POTTS LAW FIRM
RESAU, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-17018         POTTS LAW FIRM
REYNOLDS, CHARLENE        NJ - USDC for the District of New Jersey   3:17-cv-07594         POTTS LAW FIRM
RICHARD, GWENDOLYN        NJ - USDC for the District of New Jersey   3:18-cv-00318         POTTS LAW FIRM
RIEGEL, SANDRA            NJ - USDC for the District of New Jersey   3:18-cv-00236         POTTS LAW FIRM
RIFFE, LYNEITA            NJ - USDC for the District of New Jersey   3:19-cv-06960         POTTS LAW FIRM
ROBERTSON, JUNE           NJ - USDC for the District of New Jersey   3:17-cv-09362         POTTS LAW FIRM
RODRIGUEZ, IRIS           NJ - USDC for the District of New Jersey   3:18-cv-00245         POTTS LAW FIRM
ROSE, JOYCE               NJ - USDC for the District of New Jersey   3:18-cv-01300         POTTS LAW FIRM
ROSEMARY, BROOKS          NJ - USDC for the District of New Jersey   3:18-cv-16869         POTTS LAW FIRM
SARVER, DIANE             NJ - USDC for the District of New Jersey   3:18-cv-00395         POTTS LAW FIRM
SCHMUCKER, MELANIE        NJ - USDC for the District of New Jersey   3:18-cv-00260         POTTS LAW FIRM
SCHROER, SHARON           NJ - USDC for the District of New Jersey   3:18-cv-00294         POTTS LAW FIRM
SCHULTZ, SAMANTHA         NJ - USDC for the District of New Jersey   3:19-cv-14494         POTTS LAW FIRM
SCHUMACHER, JODY          NJ - USDC for the District of New Jersey   3:18-cv-00366         POTTS LAW FIRM
SHEPPARD, KATHERINE       NJ - USDC for the District of New Jersey   3:17-cv-11835         POTTS LAW FIRM
SLEETER, JANET            NJ - USDC for the District of New Jersey   3:17-cv-11380         POTTS LAW FIRM
SMARDO, KERRY             NJ - USDC for the District of New Jersey   3:18-cv-15384         POTTS LAW FIRM
SMITH, FRANCES            NJ - USDC for the District of New Jersey   3:17-cv-13456         POTTS LAW FIRM
SMITH, ROSEMARY           NJ - USDC for the District of New Jersey   3:20-cv-01324         POTTS LAW FIRM
SOWELL, DELORIS           NJ - USDC for the District of New Jersey   3:17-cv-09255         POTTS LAW FIRM
SPENCER, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-11370         POTTS LAW FIRM
STEWART, CANDACE          NJ - USDC for the District of New Jersey   3:18-cv-00771         POTTS LAW FIRM
STOCKTON, STPHANIE        NJ - USDC for the District of New Jersey   3:18-cv-00578         POTTS LAW FIRM
SWETS, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-05540         POTTS LAW FIRM
SWIFT, MARY               NJ - USDC for the District of New Jersey   3:20-cv-01203         POTTS LAW FIRM
TAGGART, DORA             NJ - USDC for the District of New Jersey   3:18-cv-00427         POTTS LAW FIRM
TARSKY, ILENE             NJ - USDC for the District of New Jersey   3:18-cv-00449         POTTS LAW FIRM
TERRY, SHAWNA             NJ - USDC for the District of New Jersey   3:18-cv-00587         POTTS LAW FIRM
THAI, SUSAN               NJ - USDC for the District of New Jersey   3:18-cv-00595         POTTS LAW FIRM
THOMAS, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-02100         POTTS LAW FIRM
THOMAS, NICANORA          NJ - USDC for the District of New Jersey   3:18-cv-14391         POTTS LAW FIRM
THOMPSON, TERRY           NJ - USDC for the District of New Jersey   3:19-cv-21504         POTTS LAW FIRM
UMBARGER, MARIE           NJ - USDC for the District of New Jersey   3:18-cv-11129         POTTS LAW FIRM
USHER, DEBRA              NJ - USDC for the District of New Jersey   3:18-cv-00937         POTTS LAW FIRM
VADEBONCOEUR, CARA        NJ - USDC for the District of New Jersey   3:20-cv-01207         POTTS LAW FIRM
VAISBEN, EDNA             NJ - USDC for the District of New Jersey   3:18-cv-00759         POTTS LAW FIRM
VALURE, TANYA             NJ - USDC for the District of New Jersey   3:17-cv-05344         POTTS LAW FIRM
VAUGHAN, SANDI            NJ - USDC for the District of New Jersey   3:19-cv-05681         POTTS LAW FIRM
VAZQUEZ, NORMA            NJ - USDC for the District of New Jersey   3:17-cv-12403         POTTS LAW FIRM
WALKER, SANDRA KELLAR     NJ - USDC for the District of New Jersey   3:18-cv-00799         POTTS LAW FIRM
WALTON, MICHELE           NJ - USDC for the District of New Jersey   3:18-cv-00807         POTTS LAW FIRM
WARE, THERESA             NJ - USDC for the District of New Jersey   3:18-cv-00868         POTTS LAW FIRM
WELLS, LUCIENNE           NJ - USDC for the District of New Jersey   3:17-cv-05315         POTTS LAW FIRM
WENGERT, KRISTINA         NJ - USDC for the District of New Jersey   3:17-cv-11868         POTTS LAW FIRM
WEST, ELIZABETH           NJ - USDC for the District of New Jersey   3:19-cv-13002         POTTS LAW FIRM




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
WHITFIELD, SONJA          NJ - USDC for the District of New Jersey    3:17-cv-11442         POTTS LAW FIRM
WHITNEY, LILLIAN          NJ - USDC for the District of New Jersey    3:19-cv-05877         POTTS LAW FIRM
WILDSTEIN, CLAIRE         CA - Superior Court - Los Angeles County    BC639264              POTTS LAW FIRM
WITHERS, JUDITH           NJ - USDC for the District of New Jersey    3:19-cv-16493         POTTS LAW FIRM
WOODALL, SHERRY           NJ - USDC for the District of New Jersey    3:17-cv-05538         POTTS LAW FIRM
WORKS, STACY              NJ - USDC for the District of New Jersey    3:19-cv-00071         POTTS LAW FIRM
WRIGHT, DEBORAH           NJ - USDC for the District of New Jersey    3:18-cv-12118         POTTS LAW FIRM
WRIGHT, LOIS              NJ - USDC for the District of New Jersey    3:18-cv-00881         POTTS LAW FIRM
YOUNG, DEBORAH            NJ - USDC for the District of New Jersey    3:21-cv-12849         POTTS LAW FIRM
ZIRBEL, DIANNE            NJ - USDC for the District of New Jersey    3:20-cv-01326         POTTS LAW FIRM
ZUFFOLETTO, JULES         NJ - USDC for the District of New Jersey    3:18-cv-16435         POTTS LAW FIRM
AIKENS, CHELSEA           LA - District Court - Ascension Parish      119332D               POURCIAU LAW FIRM, LLC
AUTIN, CHRISTINE          LA - District Court - East Baton Rouge Parish C-671445 24         POURCIAU LAW FIRM, LLC
BACCHUS, ERNESTINE        LA - District Court - Orleans Parish        17-10829              POURCIAU LAW FIRM, LLC
BROUSSARD, SHAVONTAIE     LA - District Court - East Baton Rouge Parish C666539 26          POURCIAU LAW FIRM, LLC
CHARLES, ROSE             NJ - USDC for the District of New Jersey    3:17-cv-01681         POURCIAU LAW FIRM, LLC
COMARDELLE, PAMELA        LA - District Court - LaFourche Parish      C-133279              POURCIAU LAW FIRM, LLC
COOK, ELIZABETH           LA - District Court - Jefferson Parish      810351 D              POURCIAU LAW FIRM, LLC
DEVILLE, PAMELA           NJ - USDC for the District of New Jersey    3:17-cv-05636         POURCIAU LAW FIRM, LLC
DUFRENE, JOAN             LA - District Court - Jefferson Parish      810092-O              POURCIAU LAW FIRM, LLC
EISENHARDT, MARGARET      LA - District Court - Orleans Parish        2017-10826            POURCIAU LAW FIRM, LLC
FALGOUT, MARY             LA - District Court - East Baton Rouge Parish C 670243 27         POURCIAU LAW FIRM, LLC
HUDSON, VALOREY           LA - District Court - Orleans Parish        17-10834              POURCIAU LAW FIRM, LLC
HUFFMAN, CHERYL           LA - District Court - East Baton Rouge Parish C665105D            POURCIAU LAW FIRM, LLC
HURLEY, KATHY             LA - District Court - Orleans Parish        2017-10832            POURCIAU LAW FIRM, LLC
INNIS, VONDA              NJ - USDC for the District of New Jersey    3:18-cv-03173         POURCIAU LAW FIRM, LLC
JONES, BRENDA             LA - District Court - East Baton Rouge Parish C-678343D           POURCIAU LAW FIRM, LLC
LIGHTFOOT, BRANDY         LA - District Court - Orleans Parish        2017-7443             POURCIAU LAW FIRM, LLC
MCBRIDE, BRIDGET          LA - District Court - Orleans Parish        2016-09413            POURCIAU LAW FIRM, LLC
MOUTON, GENEVA            LA - District Court - East Baton Rouge Parish C66012122           POURCIAU LAW FIRM, LLC
PECK, SANDRA              LA - District Court - Calcasieu Parish      2017-3179B            POURCIAU LAW FIRM, LLC
SANSONE, KRISTINA         LA - District Court - East Baton Rouge Parish C66012224           POURCIAU LAW FIRM, LLC
SONDGEROTH, LILLIAN       NJ - USDC for the District of New Jersey    3:17-cv-05638         POURCIAU LAW FIRM, LLC
STARK, KIMMY              LA - District Court - Orleans Parish        2017-10831            POURCIAU LAW FIRM, LLC
BAKER, NANCY              IL - Circuit Court - Cook County            2017-L-7989           POWERS ROGERS & SMITH LLP
RAFFERTY, BONNIE          NJ - USDC for the District of New Jersey    3:18-cv-14659         POWERS ROGERS & SMITH LLP
CONTE, SHIRLEY            CA - Superior Court - Monterrey County      18cv000583            PRATT & ASSOCIATES
DE MARRON, ALTAGRACIA     CA - Superior Court - San Bernardino County CIVDS1803670          PRATT & ASSOCIATES
GARLOCK, YVONNE           CA - Superior Court - Fresno County         18CECG00563           PRATT & ASSOCIATES
GOULD, DOLORES            NJ - USDC for the District of New Jersey    3:16-cv-06567         PRATT & ASSOCIATES
JOHNSON, CAROLINA         CA - Superior Court - Los Angeles County    BC694135              PRATT & ASSOCIATES
MONTEJO, MARIA            CA - Superior Court - Los Angeles County    BC694136              PRATT & ASSOCIATES
TAYLOR-ROBINSON, JOAN     CA - Superior Court - Riverside County      RIC1803271            PRATT & ASSOCIATES
SLAYDEN, RENE             NJ - USDC for the District of New Jersey    3:16-cv-07315         PRATT & TOBIN, P.C.
ARMITAGE, JANET           NJ - USDC for the District of New Jersey    3:20-cv-06283         PRIBANIC & PRIBANIC, LLC
BUSH, MARGARET            NJ - USDC for the District of New Jersey    3:20-cv-03407         PRIBANIC & PRIBANIC, LLC
GOULD, JOSEPHINE          NJ - USDC for the District of New Jersey    3:19-cv-08977         PRIBANIC & PRIBANIC, LLC
GRINAGE, SHEENAE          NJ - USDC for the District of New Jersey    3:19-cv-08973         PRIBANIC & PRIBANIC, LLC
IANUALE, JENNIFER         NJ - USDC for the District of New Jersey    3:17-cv-07776         PRIBANIC & PRIBANIC, LLC
LUNARDINI, CECILIA        NJ - USDC for the District of New Jersey    3:20-cv-05545         PRIBANIC & PRIBANIC, LLC
NARD, LINDA               NJ - USDC for the District of New Jersey    3:17-cv-07916         PRIBANIC & PRIBANIC, LLC
EDWARD, CHARLESETTA       NJ - USDC for the District of New Jersey    3:20-cv-12443         PRO SE
KELLEY, LAURA             NJ - USDC for the District of New Jersey    3:18-cv-15734         PRO SE
WORRALL, PHILLIS          NJ - USDC for the District of New Jersey    3:20-cv-01152         PRO SE
LASNESKI, TONI            NJ - USDC for the District of New Jersey    3:20-cv-12679         PROVOST UMPHREY LAW FIRM
ORH, DEBRA                NJ - USDC for the District of New Jersey    3:20-cv-01732         PROVOST UMPHREY LAW FIRM
WILDSTEIN, CLAIRE         CA - Superior Court - Los Angeles County    BC639264              PROVOST UMPHREY LAW FIRM
HARDIMAN, LYNN            CA - Superior Court - Santa Clara County    16CV294911            PULASKI LAW FIRM
KENDRICK, PAULINE         NJ - USDC for the District of New Jersey    3:21-cv-04973         RAHDERT & MORTIMER, PLLC
COLANGELO, ELIZABETH      NJ - USDC for the District of New Jersey    3:19-cv-19026         RAIPHER PC
EHRENBORG, JEANNETTE      NJ - USDC for the District of New Jersey    3:20-cv-05857         RAPPAPORT, GLASS, LEVINE & ZULLO
THOMPSON, HELEN           NJ - USDC for the District of New Jersey    3:20-cv-05863         RAPPAPORT, GLASS, LEVINE & ZULLO
RAWNSLEY, ANNE            NJ - USDC for the District of New Jersey    3:18-cv-10997         RAWNSLEY LAW
BARNHOUSE, LORETTA        NJ - USDC for the District of New Jersey    3:19-cv-21273         REEVES & GOFF, P.C.
ABERBOM, DEBRA            NJ - USDC for the District of New Jersey    3:19-cv-18013         REICH & BINSTOCK, LLP
ALORSAN, DEBORAH          NJ - USDC for the District of New Jersey    3:19-cv-13192         REICH & BINSTOCK, LLP
BAILEY, HILDA             NJ - USDC for the District of New Jersey    3:20-cv-05681         REICH & BINSTOCK, LLP
BATCHELOR, BRENDA         NJ - USDC for the District of New Jersey    3:20-cv-05672         REICH & BINSTOCK, LLP
BLAYLOCK, SHONNA          NJ - USDC for the District of New Jersey    3:19-cv-13195         REICH & BINSTOCK, LLP
BOLSTAD, DEBORAH          NJ - USDC for the District of New Jersey    3:20-cv-05667         REICH & BINSTOCK, LLP
BOWMAN, PAULA             NJ - USDC for the District of New Jersey    3:19-cv-13212         REICH & BINSTOCK, LLP
BOYLAN, DEE               NJ - USDC for the District of New Jersey    3:19-cv-19373         REICH & BINSTOCK, LLP




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          Claimant Name                   State Filed                       Docket Number                 Plaintiff Counsel
BROWNING, TERESA          NJ - USDC for the District of New Jersey    3:19-cv-13218         REICH & BINSTOCK, LLP
BRUCKNER, FERN            NJ - USDC for the District of New Jersey    3:19-cv-21713         REICH & BINSTOCK, LLP
CANADY, PAMELA            NJ - USDC for the District of New Jersey    3:19-cv-13197         REICH & BINSTOCK, LLP
CONTRERAS, SONIA          NJ - USDC for the District of New Jersey    3:19-cv-13253         REICH & BINSTOCK, LLP
DERBYSHIRE, AIMEE         NJ - USDC for the District of New Jersey    3:20-cv-03042         REICH & BINSTOCK, LLP
EBRAHIMI, PATRICIA        NJ - USDC for the District of New Jersey    3:20-cv-05685         REICH & BINSTOCK, LLP
EDLUND, JUDY              NJ - USDC for the District of New Jersey    3:20-cv-03034         REICH & BINSTOCK, LLP
ETSITTY, DARLENE          NJ - USDC for the District of New Jersey    3:19-cv-19382         REICH & BINSTOCK, LLP
FLORENCE-SKIPPER, ANN     NJ - USDC for the District of New Jersey    3:19-cv-13200         REICH & BINSTOCK, LLP
FRACASSE, ANNIE           NJ - USDC for the District of New Jersey    3:19-cv-13223         REICH & BINSTOCK, LLP
GRENIER, RACHEL           NJ - USDC for the District of New Jersey    3:18-cv-14809         REICH & BINSTOCK, LLP
HATTERMAN, PAT            NJ - USDC for the District of New Jersey    3:20-cv-05669         REICH & BINSTOCK, LLP
HEFFERN, JOYCE            NJ - USDC for the District of New Jersey    3:19-cv-13201         REICH & BINSTOCK, LLP
HENDRIX, JACQUELYN        NJ - USDC for the District of New Jersey    3:19-cv-13203         REICH & BINSTOCK, LLP
HOCHBERG, SYLVIA          NJ - USDC for the District of New Jersey    3:19-cv-13220         REICH & BINSTOCK, LLP
HOLDER, ROSETTA           NJ - USDC for the District of New Jersey    3:20-cv-05677         REICH & BINSTOCK, LLP
JOHNSON, LYDIA            NJ - USDC for the District of New Jersey    3:20-cv-05674         REICH & BINSTOCK, LLP
KLOOCK, JENNIFER          NJ - USDC for the District of New Jersey    3:19-cv-18016         REICH & BINSTOCK, LLP
LESTER, DEBORAH           NJ - USDC for the District of New Jersey    3:20-cv-03037         REICH & BINSTOCK, LLP
LOPATKA, VICTORIA         NJ - USDC for the District of New Jersey    3:18-cv-10729         REICH & BINSTOCK, LLP
MADAJ-BERGER, JUDITH      NJ - USDC for the District of New Jersey    3:20-cv-03040         REICH & BINSTOCK, LLP
MCCARRELL, SAMANTHA       NJ - USDC for the District of New Jersey    3:19-cv-18014         REICH & BINSTOCK, LLP
MOLNAR, BARBARA           NJ - USDC for the District of New Jersey    3:19-cv-17813         REICH & BINSTOCK, LLP
NESS, JOLEEN              NJ - USDC for the District of New Jersey    3:19-cv-13205         REICH & BINSTOCK, LLP
ORTOLANO, NANCY           NJ - USDC for the District of New Jersey    3:20-cv-03016         REICH & BINSTOCK, LLP
OUELLETTE, MARIA          NJ - USDC for the District of New Jersey    3:20-cv-03043         REICH & BINSTOCK, LLP
OVERTON, TONI             NJ - USDC for the District of New Jersey    3:20-cv-03038         REICH & BINSTOCK, LLP
PARKERS, ASMODEUS         NJ - USDC for the District of New Jersey    3:19-cv-17812         REICH & BINSTOCK, LLP
PARKS-FRISKEY, GEANNIE    NJ - USDC for the District of New Jersey    3:19-cv-19378         REICH & BINSTOCK, LLP
PENDLEY, GAIL             NJ - USDC for the District of New Jersey    3:20-cv-05682         REICH & BINSTOCK, LLP
PICKETT, JANICE           NJ - USDC for the District of New Jersey    3:20-cv-05688         REICH & BINSTOCK, LLP
SANTOS, PATRICIA          NJ - USDC for the District of New Jersey    3:20-cv-03039         REICH & BINSTOCK, LLP
SHABAZZ, EDITH            NJ - USDC for the District of New Jersey    3:19-cv-18012         REICH & BINSTOCK, LLP
SMITH, SANDRA             NJ - USDC for the District of New Jersey    3:20-cv-05671         REICH & BINSTOCK, LLP
SOWERS, FLORENCE          NJ - USDC for the District of New Jersey    3:20-cv-03045         REICH & BINSTOCK, LLP
VAZQUEZ, DALIA            NJ - USDC for the District of New Jersey    3:19-cv-13230         REICH & BINSTOCK, LLP
WHITE, MARSHA             NJ - USDC for the District of New Jersey    3:20-cv-03018         REICH & BINSTOCK, LLP
WILLIAMS, CATHERINE       NJ - USDC for the District of New Jersey    3:19-cv-18011         REICH & BINSTOCK, LLP
WILLIAMS, CONNIE          NJ - USDC for the District of New Jersey    3:20-cv-05690         REICH & BINSTOCK, LLP
WOOD, TAMMY               NJ - USDC for the District of New Jersey    3:19-cv-18010         REICH & BINSTOCK, LLP
FRANCIS, MAGGY            NJ - USDC for the District of New Jersey    3:16-cv-07530         REMER & GEORGES-PIERRE, PLLC
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
ARNOFF, PHYLLIS           NJ - USDC for the District of New Jersey    3:16-cv-09228
                                                                                            & GIUFFRA
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
BALASKONIS, ANTONIA       NJ - USDC for the District of New Jersey    3:18-cv-10456
                                                                                            & GIUFFRA
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
KIRK, MAUREEN             NJ - USDC for the District of New Jersey    3:18-cv-00981
                                                                                            & GIUFFRA
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
PASSANDER, MARILYN        NJ - USDC for the District of New Jersey    3:16-cv-09229
                                                                                            & GIUFFRA
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
RUSSO, VICTORIA           NJ - USDC for the District of New Jersey    3:17-cv-02206
                                                                                            & GIUFFRA
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
SILBERMAN, JANET          NJ - USDC for the District of New Jersey    3:21-cv-04013
                                                                                            & GIUFFRA
                                                                                            RHEINGOLD VALET RHEINGOLD MCCARTNEY
TAXTER, MARY              NJ - USDC for the District of New Jersey    3:17-cv-08364
                                                                                            & GIUFFRA
EAGERS, KATHRYN           NJ - USDC for the District of New Jersey    3:20-cv-07356         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
GIUNTA, ANGELINA          NJ - USDC for the District of New Jersey    3:20-cv-07012         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
LAHTI, MARGARET           NJ - USDC for the District of New Jersey    3:20-cv-08451         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
MADERA, CHRISTINE         NJ - Superior Court - Atlantic County       ATL-L-00948-18        RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
MALM, JENNIFER            NJ - USDC for the District of New Jersey    3:20-cv-10700         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
QUINN, CAROL              NJ - USDC for the District of New Jersey    3:20-cv-12832         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
RUSSO, ESTHER             NJ - USDC for the District of New Jersey    3:17-cv-05797         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
SCHNIER, MIRIAM           NJ - USDC for the District of New Jersey    3:17-cv-12279         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
WEINER, JUDITH            NJ - USDC for the District of New Jersey    3:20-cv-09393         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
WILBOURN, KARYN           NJ - USDC for the District of New Jersey    3:21-cv-12270         RHEINGOLD, GLUFFRA RUFLO & PLOTKIN
CARTER, DONNA             NJ - USDC for the District of New Jersey    3:18-cv-15291         RICHARDSON RICHARDSON BOUDREAUX
ROGERS, BOBBI             NJ - USDC for the District of New Jersey    3:18-cv-15065         RICHARDSON RICHARDSON BOUDREAUX
WORD, ERNESTINE           NJ - USDC for the District of New Jersey    3:18-cv-14683         RICHARDSON RICHARDSON BOUDREAUX
                                                                                            RICHARDSON, THOMAS, HALTIWANGER,
WILLIAMS, SHIRLEY         SC - USDC for the District of South Carolina 5:21-cv-03058
                                                                                            MOORE & LEWIS
DUNN, VIRGINIA            NJ - USDC for the District of New Jersey    3:18-cv-10440         RIESEN DURANT, LLC
DIECKMANN, CHERYL         NJ - USDC for the District of New Jersey    3:20-cv-01691         RILEYCATE, LLC
MIER, KIMBERLY            NJ - USDC for the District of New Jersey    3:17-cv-06067         RILEYCATE, LLC
TERRY, SHARON             NJ - USDC for the District of New Jersey    3:18-cv-11254         RILEYCATE, LLC
CLOBES-WYNN, KATRINA      NJ - USDC for the District of New Jersey    3:21-cv-09785         RIVERA LAW OFFICES, PLLC
BROWER, DIANE             GA - State Court of Fulton County           16EV005534            ROBBINS ROSS ALLOY BELINFANTE
CAMPBELL, SHANNA          NJ - USDC for the District of New Jersey    3:19-cv-05913         ROBERT J. DEBRY & ASSOCIATES
GORDON, NICOLE            NJ - USDC for the District of New Jersey    3:20-cv-06700         ROBINS KAPLAN, LLP
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ACOSTA, ELEANOR           NJ - USDC for the District of New Jersey    3:21-cv-15010
                                                                                            DAVI




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         Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
ALBACH, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-15021
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
ANGEL, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-14951
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
ARSENAULT, ELIZABETH      NJ - USDC for the District of New Jersey   3:21-cv-15013
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
AYALA, LANI               NJ - USDC for the District of New Jersey   3:21-cv-15011
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
BECKER, MAUREEN           NJ - USDC for the District of New Jersey   3:21-cv-15022
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
BRANCH, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-14934
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
BROWNING, JOAN            NJ - USDC for the District of New Jersey   3:21-cv-14938
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
BRUHN, JEAN               NJ - USDC for the District of New Jersey   3:21-cv-14922
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
BURGHER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-15024
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
CARDENAS, AIMEE           NJ - USDC for the District of New Jersey   3:21-cv-15052
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
CHURCH, VIKKI             NJ - USDC for the District of New Jersey   3:21-cv-15056
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
CUNNINGHAM, JOANNE        NJ - USDC for the District of New Jersey   3:21-cv-14939
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
CURRIER-RUSACK, JANALYN   NJ - USDC for the District of New Jersey   3:21-cv-14913
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
DAMEWORTH, JOYCE          NJ - USDC for the District of New Jersey   3:21-cv-14945
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
DOLLAR, ANN               NJ - USDC for the District of New Jersey   3:21-cv-15061
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
DOUTHITT, JACINDA         NJ - USDC for the District of New Jersey   3:21-cv-14907
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
ELKINS, JESSICA           NJ - USDC for the District of New Jersey   3:21-cv-14931
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
ELLIS, JENNIFER           NJ - USDC for the District of New Jersey   3:21-cv-14926
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
ESTEP, JANET              NJ - USDC for the District of New Jersey   3:21-cv-14915
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
FATTEL, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-14952
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
FUTCH, LESLIE             NJ - USDC for the District of New Jersey   3:21-cv-15113
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
GEARY, JEAN               NJ - USDC for the District of New Jersey   3:21-cv-14923
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
GRANT, JEANETTE           NJ - USDC for the District of New Jersey   3:21-cv-14924
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
GREENE, JANE              NJ - USDC for the District of New Jersey   3:21-cv-14914
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
HARGET, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-14908
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
HOOD, BRENDA              NJ - USDC for the District of New Jersey   3:21-cv-15100
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
HUTZLER, IVY              NJ - USDC for the District of New Jersey   3:21-cv-14906
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
JAMES, JANNIE             NJ - USDC for the District of New Jersey   3:21-cv-14921
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
JONES, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-14943
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
KLOCKE, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-15103
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
LEASE, JANET              NJ - USDC for the District of New Jersey   3:21-cv-14916
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
LEE, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-14927
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
LOWMAN, JOANNE            NJ - USDC for the District of New Jersey   3:21-cv-14940
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MAGER, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-14935
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MALCOLM, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-14928
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MARTINEZ, JAMIE           NJ - USDC for the District of New Jersey   3:21-cv-14912
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MCCOY, JANETTE            NJ - USDC for the District of New Jersey   3:21-cv-14917
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MCMILLAN, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-14909
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MILLER, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-14764
                                                                                          DAVI
                                                                                          ROBINSON CALCAGNIE ROBINSON SHAPIRO
MOLNAR, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-14738
                                                                                          DAVI




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                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
MOORE, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-15093
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
MOORE, JILL                 NJ - USDC for the District of New Jersey   3:21-cv-14933
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
NELSON, JUDY                NJ - USDC for the District of New Jersey   3:21-cv-14950
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
NIELSEN, JESSICA            NJ - USDC for the District of New Jersey   3:21-cv-14932
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ORLICH, ANNE                NJ - USDC for the District of New Jersey   3:21-cv-15068
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
OWEN, JOAN                  NJ - USDC for the District of New Jersey   3:21-cv-14936
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
PALAZZO, JEANNE             NJ - USDC for the District of New Jersey   3:21-cv-14925
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
PIERCEY, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-14937
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
POLCEN, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-14953
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
RAMIREZ, IRENE              NJ - USDC for the District of New Jersey   3:21-cv-14904
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
REYNOLDS, JACQUELYN         NJ - USDC for the District of New Jersey   3:21-cv-14910
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ROSE, KAREN                 NJ - USDC for the District of New Jersey   3:21-cv-14954
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ROUNSAVILLE, JODY           NJ - USDC for the District of New Jersey   3:21-cv-14941
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
SCHNAPP, IRENE              NJ - USDC for the District of New Jersey   3:21-cv-14905
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
SLYCORD, JOSEPHINE          NJ - USDC for the District of New Jersey   3:21-cv-14944
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
SPEIGHT, JACQUELINE         NJ - USDC for the District of New Jersey   3:21-cv-14911
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
STAMPS, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-14955
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                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
STEPHENSON, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-14930
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                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
THOMPSON, JANICE            NJ - USDC for the District of New Jersey   3:21-cv-14918
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                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
VARGAS, JODY                NJ - USDC for the District of New Jersey   3:21-cv-14942
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WADDELL, AUDREY             NJ - USDC for the District of New Jersey   3:21-cv-15088
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WALTERS, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-15105
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WARNKE, LUCINDA             NJ - USDC for the District of New Jersey   3:21-cv-15015
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WEBSTER, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-15095
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WIKSE, JOYCE                NJ - USDC for the District of New Jersey   3:21-cv-14946
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WILLIAMS, JUDITH            NJ - USDC for the District of New Jersey   3:21-cv-14948
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WRAY, ANITA                 NJ - USDC for the District of New Jersey   3:21-cv-15070
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
WYLIE, JUDITH               NJ - USDC for the District of New Jersey   3:21-cv-14949
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ZAREMBA, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-14947
                                                                                            DAVI
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
CHERYL THOMPSON             NJ - USDC for the District of New Jersey   3:21-cv-15169
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
DEBRA CRUSHA                NJ - USDC for the District of New Jersey   3:21-cv-15176
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ELAINE DENTON               NJ - USDC for the District of New Jersey   3:21-cv-15220
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ELIZABETH GOODEMOTE-MOGOR   NJ - USDC for the District of New Jersey   3:21-cv-15226
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
FAITH OLIVER                NJ - USDC for the District of New Jersey   3:21-cv-15231
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
GLADYS VAN DYKE             NJ - USDC for the District of New Jersey   3;21-CV-15250
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
GLORIA LOLLIS               NJ - USDC for the District of New Jersey   3:21-cv-15252
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
ISABEL RODRIGUEZ            NJ - USDC for the District of New Jersey   3:21-cv-15253
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
JACQUELINE GOMEZ            NJ - USDC for the District of New Jersey   3:21-cv-15367
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
JANET WRIGHT                NJ - USDC for the District of New Jersey   3:21-cv-15255
                                                                                            DAVS
                                                                                            ROBINSON CALCAGNIE ROBINSON SHAPIRO
JEANNE RUTKOWSKI            NJ - USDC for the District of New Jersey   3:21-cv-15386
                                                                                            DAVS




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         Claimant Name                       State Filed                     Docket Number                   Plaintiff Counsel
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ABOLOS, CHRISTINA            CA - Superior Court - Kern County          BCV-17-100318
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ACKER, CATHLEEN              CA - Superior Court - Santa Clara County   17CV318670
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ACKERMAN, MARYANNE           CA - Superior Court - Stanislaus County    2028543
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ADAMS, DENISE                NJ - USDC for the District of New Jersey   3:18-cv-15538
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ALLARD, JANA                 NJ - USDC for the District of New Jersey   3:20-cv-14715
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ALLEN, VICTORIA              CA - Superior Court - Santa Clara County   17CV318669
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ALMARAZ, NORMA               NJ - USDC for the District of New Jersey   3:20-cv-01142
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ANDREWS, CHRISTY             NJ - USDC for the District of New Jersey   3:18-cv-00712
                                                                                                DAVIS, INC
ANFINSN, ANGULO, CARFAGNO,                                                                      ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
                             CA - Superior Court - Los Angeles County   BC621999
PINTR, ROMN, TRAHN                                                                              DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ANTOS, MARY                  NJ - USDC for the District of New Jersey   3:17-cv-12077
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
APARICIO, DIANA              NJ - USDC for the District of New Jersey   3:21-cv-14833
                                                                                                DAVIS, INC
                                                                        30-2020-01157108-CU-PL- ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARELLANO, MARIA DE LA LUZ    CA - Superior Court - Orange County
                                                                        CJC                     DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARESHEH, NAHDIA              NJ - USDC for the District of New Jersey   3:21-cv-00724
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARMSTEAD, ETHEL              CA - Superior Court - Santa Clara County   17CV318666
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARTEAGA, MARIA               CA - Superior Court - Los Angeles County   BC722126
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
AVERY, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-15679
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
AVERY, PHAWNTA               CA - Superior Court - Los Angeles County   BC691035
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BABB, MARJORIE               CA - Superior Court - Santa Clara County   17CV318665
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BAKER, HELEN                 NJ - USDC for the District of New Jersey   3:21-cv-14896
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BAKMAN, DEBBIE               CA - Superior Court - Santa Clara County   17CV318664
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARBELLA, DAWN               NJ - USDC for the District of New Jersey   3:18-cv-09951
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARNES, BILLIE               NJ - USDC for the District of New Jersey   3:18-cv-15556
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARNHART, JONI               CA - Superior Court - Santa Clara County   17CV318662
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARRETT, VIOLET              CA - Superior Court - Los Angeles County   BC705973
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARTON, ALANA                NJ - USDC for the District of New Jersey   3:21-cv-14696
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BAUTISTA, ARLENE             CA - Superior Court - San Diego County     37-2018-17600-CU-PL-CTL
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BEAULIEU, CLAUDETTE          NJ - USDC for the District of New Jersey   3:21-cv-14784
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BENEDICT, ELAINE             NJ - USDC for the District of New Jersey   3:18-cv-15557
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BENNETT, ELIZABETH           NJ - USDC for the District of New Jersey   3:21-cv-14859
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BENTLE, DONNA                NJ - USDC for the District of New Jersey   3:21-cv-14844
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BEQUER, MYRIAM               NJ - USDC for the District of New Jersey   3:18-cv-15558
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BERNAL, ESTHER               CA - Superior Court - Santa Clara County   18CV332276
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BETANCOURT, BLANCA           NJ - USDC for the District of New Jersey   3:21-cv-14753
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BETHELL, KIMBERLY            CA - Superior Court - Santa Clara County   17CV318631
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BLACK, DIANNA                NJ - USDC for the District of New Jersey   3:21-cv-14838
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BLASE, STELLA                NJ - USDC for the District of New Jersey   3:18-cv-15566
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOGACZYK, NELLA              NJ - USDC for the District of New Jersey   3:21-cv-10788
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOHN, KATHLEEN               NJ - USDC for the District of New Jersey   3:20-cv-06517
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOMBA, ANGELA                NJ - USDC for the District of New Jersey   3:21-cv-14709
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BORGES, MARJORIE             CA - Superior Court - Santa Clara County   17CV318628
                                                                                                DAVIS, INC




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         Claimant Name                   State Filed                     Docket Number                    Plaintiff Counsel
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOWERS, DAPHNE           NJ - USDC for the District of New Jersey   3:21-cv-14797
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRACE, LYNDA             NJ - USDC for the District of New Jersey    3:21-cv-10704
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRANNON, DONNA           NJ - USDC for the District of New Jersey    3:21-cv-14845
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRAYTON, HEATHER         NJ - USDC for the District of New Jersey    3:21-cv-14887
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRAZELL, MICHIKO         NJ - USDC for the District of New Jersey    3:17-cv-05843
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BREDEMEIER, CATHERINE    NJ - USDC for the District of New Jersey    3:21-cv-14768
                                                                                             DAVIS, INC
BRENNAN-MAGDALENSKI,                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
                         NJ - USDC for the District of New Jersey    3:21-cv-00730
ELIZABETH                                                                                    DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRITTON, GLORIA          NJ - USDC for the District of New Jersey    3:21-cv-14881
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BROCK, DARLENE           CA - Superior Court - Santa Clara County    17CV318627
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BROOKS, CYNTHIA          NJ - USDC for the District of New Jersey    3:21-cv-14792
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BROWN, BECKY             NJ - USDC for the District of New Jersey    3:21-cv-14744
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BROWN, LINDA             CA - Superior Court - Kern County           BCV-18-100706
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BURGESS, YVONNE          NJ - USDC for the District of New Jersey    3:20-cv-01139
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BURNS, BRENDA            NJ - USDC for the District of New Jersey    3:21-cv-14754
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BURNS, DOROTHY           NJ - USDC for the District of New Jersey    3:21-cv-14855
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CAIN, DAWN               NJ - USDC for the District of New Jersey    3:21-cv-14801
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CALHOUN, BETTY           NJ - USDC for the District of New Jersey    3:21-cv-14749
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CAMARILLO, DELPHINE      NJ - USDC for the District of New Jersey    3:21-cv-14826
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CAMERON, VICTORIA        CA - Superior Court - Riverside County      RIC1801115
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CAMPA, ROSAMIA           CA - Superior Court - San Bernardino County CIV SB 2101419
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CANTER, BETTY            NJ - USDC for the District of New Jersey    3:18-cv-15560
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARBAJAL, LIDIA          CA - Superior Court - Santa Clara County    17CV318633
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARDWELL, STACY          NJ - USDC for the District of New Jersey    3:17-cv-09557
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARLTON, AMANDA          NJ - USDC for the District of New Jersey    3:21-cv-14703
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARRIUOLO, DEBRA         NJ - USDC for the District of New Jersey    3:21-cv-14815
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARROLL, KERRY           CA - Superior Court - San Bernardino County CIVDS1719428
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CASEY, BRENDA            NJ - USDC for the District of New Jersey    3:20-cv-11279
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CERNA, SONIA             CA - Superior Court - Los Angeles County    BC620355
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHENAULT, DELORES        NJ - USDC for the District of New Jersey    3:21-cv-14825
                                                                                             DAVIS, INC
                                                                     30-2018-00988028-CU-MT- ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHIMITS, JUDI            CA - Superior Court - Orange County
                                                                     CXC                     DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHIMOCK, BERNADINE       NJ - USDC for the District of New Jersey    3:18-cv-15583
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHOATE, SHAWNE           CA - Superior Court - Santa Clara County    17CV318635
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CISNEROS, ANABEL         NJ - USDC for the District of New Jersey    3:21-cv-14711
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CLATTERBUCK, DEBORAH     NJ - USDC for the District of New Jersey    3:21-cv-14807
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CLIFTON, JOYCE           CA - Superior Court - Alameda County        RG18897918
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COLEMAN, BILLIE          NJ - USDC for the District of New Jersey    3:21-cv-14752
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COLLING, HOPE            NJ - USDC for the District of New Jersey    3:21-cv-14898
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COLLINS, FREIDA          NJ - USDC for the District of New Jersey    3:21-cv-14874
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COLLISON, LINDA          CA - Superior Court - Fresno County         18CECG02789
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COMBS, DELLAJEAN         CA - Superior Court - Santa Clara County    17CV318645
                                                                                             DAVIS, INC




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                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COOK, REGINAE                NJ - USDC for the District of New Jersey    3:21-cv-10878
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COOK, WENDY                  NJ - USDC for the District of New Jersey    3:18-cv-15587
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COOMBES, CLARA               NJ - USDC for the District of New Jersey    3:21-cv-14782
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COOPER, AMY                  NJ - USDC for the District of New Jersey    3:18-cv-15565
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CORBETT, BARBARA             CA - Superior Court - Los Angeles County    BC651027
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CORKINS, DEENA               NJ - USDC for the District of New Jersey    3:21-cv-14824
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COUCHMAN, DREAMA             NJ - USDC for the District of New Jersey    3:21-cv-14856
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COWLES, MARION               NJ - USDC for the District of New Jersey    3:18-cv-15589
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRAMER, SHARON               NJ - USDC for the District of New Jersey    3:21-cv-10705
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRESWELL, ARTIE              CA - Superior Court - Contra Costa County   MSC18-02142
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRISMON, CYNTHIA             CA - Superior Court - Riverside County      RIC1819719
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CROBARGER, KALA              CA - Superior Court - San Diego County      37-2018-33875-CU-PL-NC
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRUDUP, DIANE                NJ - USDC for the District of New Jersey    3:18-cv-00737
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DANIELS, DANA                NJ - USDC for the District of New Jersey    3:21-cv-14794
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DARBY, BEVERLY               NJ - USDC for the District of New Jersey    3:21-cv-14750
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVENPORT, KELLY             CA - Superior Court - Santa Clara County    CIVDS1725511
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVIS, DINA                  NJ - USDC for the District of New Jersey    3:21-cv-14839
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVIS, EVERLYN               NJ - USDC for the District of New Jersey    3:21-cv-14870
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DE ALBA, OLIVIA              NJ - USDC for the District of New Jersey    3:20-cv-11078
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DE CRUZ, JESSE               CA - Superior Court - Los Angeles County    BC715170
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEAN, ANDREA                 NJ - USDC for the District of New Jersey    3:19-cv-00031
                                                                                                   DAVIS, INC
                                                                         30-2018-01035843-CU-PL-   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEGIDIO-MUELLER, CHRISTINA   CA - Superior Court - Orange County
                                                                         CXC                       DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEJESUS, EVELYN              CA - Superior Court - Santa Clara County    17CV318636
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DENTICE, ANGELA              NJ - USDC for the District of New Jersey    3:21-cv-14714
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DERRENBACHER, DOROTHY        NJ - USDC for the District of New Jersey    3:17-cv-09580
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DI GIROLAMO, BONNIE          CA - Superior Court - Santa Clara County    17CV318642
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DIAZ, ELSA                   CA - Superior Court - Los Angeles County    BC689568
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DICKINSON, DEBRA             NJ - USDC for the District of New Jersey    3:21-cv-14816
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DIVINE, DIANA                CA - Superior Court - Santa Clara County    17CV318643
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOERFLINGER, MARILEA         NJ - USDC for the District of New Jersey    3:17-cv-13060
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOMINGUEZ, DORA              NJ - USDC for the District of New Jersey    3:21-cv-14852
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DONALDSON, LINDA             NJ - USDC for the District of New Jersey    3:17-cv-09607
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DORCIL, FAITH                NJ - USDC for the District of New Jersey    3:21-cv-14872
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DORSEY, VIOLA                NJ - USDC for the District of New Jersey    3:20-cv-02675
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOSEY, BARBARA               NJ - USDC for the District of New Jersey    3:21-cv-14730
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOSS, VICTORIA (VICKEY)      CA - Superior Court - Placer County         SCV38336
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOWNER, CHERYL               NJ - USDC for the District of New Jersey    3:21-cv-14775
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOWNER, CHERYL               NJ - USDC for the District of New Jersey    3:21-cv-14776
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOYLE, ANTONETTE             NJ - USDC for the District of New Jersey    3:21-cv-14721
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DUNN, DEBORAH                NJ - USDC for the District of New Jersey    3:21-cv-14814
                                                                                                   DAVIS, INC




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                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EARLS, DEBRA                   NJ - USDC for the District of New Jersey   3:21-cv-14817
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EAST, ARLEEN                   NJ - USDC for the District of New Jersey    3:21-cv-14728
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ECHEVERRIA, EVA                CA - Superior Court - Los Angeles County    BC628228
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ECHOLS, KEMO                   CA - Superior Court - Los Angeles County    BC701474
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EDDY, KENNA                    NJ - USDC for the District of New Jersey    3:19-cv-21531
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EDWARDS, DARLA                 NJ - USDC for the District of New Jersey    3:21-cv-14798
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EDWARDS, NEFERTITI             NJ - USDC for the District of New Jersey    3:21-cv-14505
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ELIA, JAKLIN                   CA - Superior Court - Santa Clara County    17CV318648
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EMERY, SHONDA; RIPLEY, DAWNE   CA - Superior Court - Sacramento County     34-2017-00210628
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ENGLISH, TERRY                 NJ - USDC for the District of New Jersey    3:21-cv-10706
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ERPELDING, LYNNE PHILLIPS      CA - Superior Court - Sacramento County     34-2018-00231685
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ERSKINE, DAWN                  NJ - USDC for the District of New Jersey    3:21-cv-14802
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ESCANUELAS, REBECCA            NJ - USDC for the District of New Jersey    3:20-cv-14716
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EWING, MARISA                  NJ - USDC for the District of New Jersey    3:17-cv-09614
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FAIR, APRIL                    NJ - USDC for the District of New Jersey    3:21-cv-14722
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FANTZ, CHRISTINE               NJ - USDC for the District of New Jersey    3:19-cv-00997
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FARJO, DIALA                   NJ - USDC for the District of New Jersey    3:21-cv-14831
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FATSCHEL, DIANA                NJ - USDC for the District of New Jersey    3:21-cv-14834
                                                                                                   DAVIS, INC
                                                                           56-2018-00519620-CU-PL- ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FEARON, SUSAN                  CA - Superior Court - Ventura County
                                                                           VTA                     DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FERNANDEZ, TERESA              NJ - USDC for the District of New Jersey    3:18-cv-15605
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FERRIBY, HELEN                 NJ - USDC for the District of New Jersey    3:21-cv-14890
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FERRIE, KATHRYN                NJ - USDC for the District of New Jersey    3:18-cv-15568
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FITZ, KAREN                    NJ - USDC for the District of New Jersey    3:21-cv-10708
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FITZGERALD, JENNIFER           CA - Superior Court - Santa Clara County    18CV324262
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FLINN, DANA                    NJ - USDC for the District of New Jersey    3:18-cv-00732
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FLYNN, JANE                    NJ - USDC for the District of New Jersey    3:21-cv-14507
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FOLIO, LORENTINA               NJ - USDC for the District of New Jersey    3:18-cv-15593
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FORD, DENISE                   NJ - USDC for the District of New Jersey    3:21-cv-14827
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FOSSELL, LINDA                 CA - Superior Court - Orange County         2018-00967024-CU-PL-CXC
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GAMEZ, CRYSTAL                 NJ - USDC for the District of New Jersey    3:20-cv-11408
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GARCIA, ERLINDA                NJ - USDC for the District of New Jersey    3:21-cv-14864
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GARCIA, LILLIAN                CA - Superior Court - Santa Clara County    17CV318637
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GARCIA-FERRY, LINDA            CA - Superior Court - Los Angeles County    BC703709
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GARRETT, VERONICA              NJ - USDC for the District of New Jersey    3:18-cv-09645
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GENTRY, RHONDA                 NJ - USDC for the District of New Jersey    3:17-cv-10348
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GERRARD-KOENIG, SHERRY         CA - Superior Court - San Bernardino County CIVDS1800712
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GILL, NANCY                    NJ - USDC for the District of New Jersey    3:21-cv-01972
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GIST, MARY                     NJ - USDC for the District of New Jersey    3:21-cv-10879
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GLOVER, MELISSA                NJ - USDC for the District of New Jersey    3:20-cv-02673
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GOLDEN, DEBORAH                CA - Superior Court - Santa Clara County    17CV318625
                                                                                                   DAVIS, INC




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                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GONZALEZ, CARMEN              CA - Superior Court - Los Angeles County   BC699869
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GONZALEZ, JUANA               NJ - USDC for the District of New Jersey   3:18-cv-15758
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GONZALEZ, VIVIENNE            NJ - USDC for the District of New Jersey   3:21-cv-10739
                                                                                                   DAVIS, INC
                                                                         30-2018-01011202-CU-PL-   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GOODMAN, KRISTY               CA - Superior Court - Orange County
                                                                         CXC                       DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GORDON, FREYA                 CA - Superior Court - Santa Clara County   17CV318647
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GRAHAM, GAYLE                 CA - Superior Court - Santa Clara County   17CV318639
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GRAY, ELLEN                   NJ - USDC for the District of New Jersey   3:18-cv-15595
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREEN, ALICE                  CA - Superior Court - Santa Clara County   17CV318640
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREEN, DEBORAH                NJ - USDC for the District of New Jersey   3:21-cv-14808
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREEN, LEESA                  NJ - USDC for the District of New Jersey   3:18-cv-00891
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREEN, MARIANNE               NJ - USDC for the District of New Jersey   3:21-cv-14367
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREENBERG, GAIL               NJ - USDC for the District of New Jersey   3:18-cv-15596
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREENBERGER, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-14892
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREGG, EDITH                  NJ - USDC for the District of New Jersey   3:21-cv-14857
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREGORY, KAREN                CA - Superior Court - Santa Clara County   17CV318649
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GRIMM, MICHELLE               NJ - USDC for the District of New Jersey   3:18-cv-15816
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GROSECLOSE, DENAY             NJ - USDC for the District of New Jersey   3:19-cv-13950
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GROSS, BARBARA                NJ - USDC for the District of New Jersey   3:21-cv-14731
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GUDAS, JEAN                   NJ - USDC for the District of New Jersey   3:21-cv-10744
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GUYNES, LOIS                  CA - Superior Court - Amador County        18CV10687
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GWYNNE, ALICIA                CA - Superior Court - Sutter County        CVCS17-1456
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAAG, CAROL                   NJ - USDC for the District of New Jersey   3:21-cv-14758
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAFNER, MARGIE                CA - Superior Court - Santa Clara County   17CV318651
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAMILTON, BEVERLY             NJ - USDC for the District of New Jersey   3:21-cv-14751
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HANDORGAN, CECELIA            NJ - USDC for the District of New Jersey   3:21-cv-14769
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HANSEN, MARYANN               CA - Superior Court - Ventura County       56-2017-00491724
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARDESTY, HESPERANSA          CA - Superior Court - Solano County        FCS050568
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARDIN, KASSANDRA             NJ - USDC for the District of New Jersey   3:21-cv-14509
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARGETT, DEBORAH              NJ - USDC for the District of New Jersey   3;21-cv-14809
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARJO, APRIL                  NJ - USDC for the District of New Jersey   3:21-cv-14724
                                                                                                   DAVIS, INC
HARKNESS, VICTORIA; YAMAKI,                                                                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
                              CA - Superior Court - Los Angeles County   BC628127
MARY                                                                                               DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARPER, TAMMY                 CA - Superior Court - Los Angeles County   21STCV11423
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARRIS, JULIE                 CA - Superior Court - San Joaquin County   STK-CV-UPL-2020-4366
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARTMAN, HEIDI                NJ - USDC for the District of New Jersey   3:21-cv-14888
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HEARD, ROSE                   CA - Superior Court - Santa Clara County   17CV318652
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HEAVENER, GERALDINE           NJ - USDC for the District of New Jersey   3:21-cv-14876
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HEDELL, HELEN                 NJ - USDC for the District of New Jersey   3:21-cv-14893
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HEINISCH, SHIRLEY             CA - Superior Court - San Mateo County     18-CIV-4501
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HELMER, JILLIAN               CA - Superior Court - Napa County          20CV000811
                                                                                                   DAVIS, INC
                                                                                                   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HENSLEE, ANGELA               NJ - USDC for the District of New Jersey   3:21-cv-14712
                                                                                                   DAVIS, INC




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                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HENTON, DEANNA                      NJ - USDC for the District of New Jersey   3:21-cv-14806
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HERRERA, ESTELA                     NJ - USDC for the District of New Jersey   3:21-cv-14866
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HIDALGO, NIVA                       NJ - USDC for the District of New Jersey   3:18-cv-16350
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HILL, DOROTHY                       NJ - USDC for the District of New Jersey   3:18-cv-15598
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HINSON, JAN                         CA - Superior Court - Santa Cruz County    18CV00120
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HODGES, BARBARA                     NJ - USDC for the District of New Jersey   3:21-cv-14732
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HORN, SUSAN                         CA - Superior Court - Los Angeles County   BC685590
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOUGE, DORLENE                      NJ - USDC for the District of New Jersey   3:21-cv-14854
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUBBARD, ERNESTINE                  NJ - USDC for the District of New Jersey   3:21-cv-14865
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUNOLD, DENISE                      NJ - USDC for the District of New Jersey   3:21-cv-14828
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUNTLEY, JANA                       CA - Superior Court - Los Angeles County   BC722125
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HYVARINEN, ANNE                     CA - Superior Court - Los Angeles County   BC667084
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ISBELL, DENNISE; WINTERS, SYLVIA CA - Superior Court - Los Angeles County      BC628272
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ITURRALDE, RITA                     NJ - USDC for the District of New Jersey   3:18-cv-00736
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JAMES, DORIS                        NJ - USDC for the District of New Jersey   3:21-cv-14853
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JAMES, LYNETTE                      NJ - USDC for the District of New Jersey   3:21-cv-10913
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JAMES, SANDRA                       CA - Superior Court - County of Marin      CIV2003418
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JENKINS, CANDICE                    NJ - USDC for the District of New Jersey   3:18-cv-15825
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JENKINS, HELEN                      NJ - USDC for the District of New Jersey   3:21-cv-14894
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JENNINGS, DARLA                     NJ - USDC for the District of New Jersey   3:21-cv-14799
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOANN, HEMMERLING                   NJ - USDC for the District of New Jersey   3:21-cv-10792
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, ANTIONETTE                 NJ - USDC for the District of New Jersey   3:21-cv-14720
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, CLARICE                    NJ - USDC for the District of New Jersey   3:18-cv-15744
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, GLORIA                     NJ - USDC for the District of New Jersey   3:21-cv-14882
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSTON, RONDA                     CA - Superior Court - Santa Clara County   17CV318626
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JONES, BRENDA                       NJ - USDC for the District of New Jersey   3:21-cv-14755
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JONES, GWENDOLYN                    NJ - USDC for the District of New Jersey   3:21-cv-14885
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KAHN, DIANE                         NJ - USDC for the District of New Jersey   3:18-cv-01882
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KALTENBACH, NANCY                   NJ - USDC for the District of New Jersey   3:21-cv-14410
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KEENAN, CELESTE                     NJ - USDC for the District of New Jersey   3:21-cv-14771
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KELLY, CAROL                        NJ - USDC for the District of New Jersey   3:21-cv-14763
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KENNY, CHRISTY                      NJ - USDC for the District of New Jersey   3:18-cv-00888
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KERSHAW, DEDE                       NJ - USDC for the District of New Jersey   3:21-cv-14823
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KEY, ESTHER                         NJ - USDC for the District of New Jersey   3:21-cv-14867
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KEYS, DEBRA                         CA - Superior Court - Placer County        T18-146
                                                                                                         DAVIS, INC
                                                                               30-2018-00995844-CU-PL-   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KIJAK, LISA                         CA - Superior Court - Orange County
                                                                               CXC                       DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KIMBLE, GLORIA                      NJ - USDC for the District of New Jersey   3:21-cv-14884
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KING, MELBA                         NJ - USDC for the District of New Jersey   3:21-cv-14442
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KING, PHYLLIS                       NJ - USDC for the District of New Jersey   3:18-cv-15745
                                                                                                         DAVIS, INC
                                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KIRBY, BARBARA                      NJ - USDC for the District of New Jersey   3:21-cv-14733
                                                                                                         DAVIS, INC




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                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KOONTZ, ANN              CA - Superior Court - San Bernardino County CIVDS1724289
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KOVACH, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-14818
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KRAUS, FAYE              NJ - USDC for the District of New Jersey   3:21-cv-14873
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KRISE, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-14759
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KURIAN, LISSY            CA - Superior Court - Kern County          BCV-18-101543
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LABOVITCH, CAREN         CA - Superior Court - Los Angeles County   BC681608
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAIRAMORE, TANYA         NJ - USDC for the District of New Jersey   3:21-cv-10932
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAKE, MICHELE            NJ - USDC for the District of New Jersey   3:17-cv-09615
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAMAQUE, SHANTAL         CA - Superior Court - Los Angeles County   CIVDS1825399
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LANDIS, DANIELLE         NJ - USDC for the District of New Jersey   3:21-cv-14796
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LARA, CHRISTINE          CA - Superior Court - Los Angeles County   BC715169
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAWRENCE, ELLEN          NJ - USDC for the District of New Jersey   3:21-cv-14861
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAWSON, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-14846
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEE, DIANE               NJ - USDC for the District of New Jersey   3:18-cv-15849
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEIKNESS, AMY            NJ - USDC for the District of New Jersey   3:21-cv-14705
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEISURE, EVA             NJ - USDC for the District of New Jersey   3:21-cv-14868
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEWALLEN, MACHELLE       NJ - USDC for the District of New Jersey   3:19-cv-12854
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEWIS, DARNICE           NJ - USDC for the District of New Jersey   3:21-cv-14800
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LIDDELL, MYRA            NJ - USDC for the District of New Jersey   3:21-cv-10877
                                                                                            DAVIS, INC
                                                                    56-2018-00513949-CU-PL- ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LISLE, LORRAINE          CA - Superior Court - Ventura County
                                                                    VTA                     DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LLOYD, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-01692
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOISELLE, JAZMINE        NJ - USDC for the District of New Jersey   3:18-cv-02920
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOMACK, SUSANNAH         NJ - USDC for the District of New Jersey   3:20-cv-10461
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOPATO, ALEA             NJ - USDC for the District of New Jersey   3:18-cv-15862
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOPEZ-MONGUIA, SONIA     CA - Superior Court - Los Angeles County   BC720951
                                                                                            DAVIS, INC
                         CA - Superior Court - San Luis Obispo                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOSCHIAVO, DOROTHY                                                  18cvp15
                         County                                                             DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOVE, JOELANE            CA - Superior Court - Napa County          17CV001192
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOVELACE, BARBARA        NJ - USDC for the District of New Jersey   3:21-cv-14734
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LUEDTKE, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-14735
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LUNA, BELINDA            NJ - USDC for the District of New Jersey   3:21-cv-14746
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LUTHER, LISA             CA - Superior Court - Los Angeles County   BC700403
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LY, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-14508
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LYNCH, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-15165
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MACIAS, MARIA            CA - Superior Court - San Diego County     19CV342150
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MAGANA, GUADALUPE        NJ - USDC for the District of New Jersey   3:20-cv-06578
                                                                                            DAVIS, INC
                                                                    30-2018-00988014-CU-MT- ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MAHONEY, JUDY            CA - Superior Court - Orange County
                                                                    CXC                     DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MANGIONE, CAROL          NJ - USDC for the District of New Jersey   3:21-cv-14760
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARGERUM, AGNES          NJ - USDC for the District of New Jersey   3:21-cv-14499
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARPLES, CAROLE          NJ - USDC for the District of New Jersey   3:19-cv-12885
                                                                                            DAVIS, INC
                                                                                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARSH, HETTIE            NJ - USDC for the District of New Jersey   3:18-cv-02911
                                                                                            DAVIS, INC




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                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTEL, MINA                 CA - Superior Court - Sacramento County    T182069
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTIN, CLAUDIA              NJ - USDC for the District of New Jersey   3:21-cv-14785
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTINEZ, IRENE              NJ - USDC for the District of New Jersey   3:21-cv-14902
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTINEZ, SHELBY             NJ - USDC for the District of New Jersey   3:21-cv-10874
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MASON, DEBORAH               NJ - USDC for the District of New Jersey   3:21-cv-14810
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MATA, CARMEN                 CA - Superior Court - Los Angeles County   18STCV10445
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MATTHEWS, ROBIN              NJ - USDC for the District of New Jersey   3:20-cv-08741
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MATTOX, DONNA                NJ - USDC for the District of New Jersey   3:21-cv-14847
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCAFFEE, LINDA               NJ - USDC for the District of New Jersey   3:21-cv-14360
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCBRIDE, CARMEN              NJ - USDC for the District of New Jersey   3:21-cv-14757
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCCANDLESS, SANDRA           CA - Superior Court - Los Angeles County   BC688562
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCCLENDON-MITCHELL, SPRING   NJ - USDC for the District of New Jersey   3:21-cv-10746
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCCOY, MARY                  NJ - USDC for the District of New Jersey   3:18-cv-15903
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCDONALD, MARILYN            CA - Superior Court - Riverside County     RIC1809839
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCDONALD, MARJORIE           CA - Superior Court - Shasta County        190511
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCGLOTHIN, RIKAYAH           CA - Superior Court - Santa Clara County   17CV318644
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCKINSEY, JULIE              CA - Superior Court - Santa Barbara        17CV04382
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCMATH, LYNDA                CA - Superior Court - Shasta County        188579
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCMULLEN, DIXIE              NJ - USDC for the District of New Jersey   3:21-cv-14841
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCQUOWN, LINDA               CA - Superior Court - San Diego County     37-2018-38363-CU-PL-CTL
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCSHANE, DARLENE             CA - Superior Court - Los Angeles County   BC719091
                                                                                                DAVIS, INC
MEDINA,MIRNDA,POULOT,                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
                             CA - Superior Court - Los Angeles County   BC620876
BARSA,BARRN,HAWRTH,                                                                             DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MEIERS, BEVERLY              NJ - USDC for the District of New Jersey   3:18-cv-05717
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MEJIA, CYNTHIA               CA - Superior Court - Los Angeles County   BC688033
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MENA, IRENE                  NJ - USDC for the District of New Jersey   3:21-cv-14903
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MERRICK, ALTHEA              NJ - USDC for the District of New Jersey   3:21-cv-14701
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MESA, MARIA                  CA - Superior Court - Los Angeles County   20STCV47898
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MESCIA, CHRISTINE            NJ - USDC for the District of New Jersey   3:21-cv-14777
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILLER, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-14736
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILLER, CAROL                NJ - USDC for the District of New Jersey   3:21-cc-14764
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILLER, JENNIFER             NJ - USDC for the District of New Jersey   3:18-cv-16776
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILLER, TASHA                NJ - USDC for the District of New Jersey   3:18-cv-15790
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILLS, JULIET                NJ - USDC for the District of New Jersey   3:21-cv-14426
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MITCHELL, DENISE             CA - Superior Court - Santa Clara County   17CV318638
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOGAN, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-10749
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOHROR, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-14737
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOLTER, RHONDA               NJ - USDC for the District of New Jersey   3:21-cv-14439
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOONE, KATHERINE             NJ - USDC for the District of New Jersey   3:17-cv-10247
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, DONNA                 CA - Superior Court - Los Angeles County   BC698820
                                                                                                DAVIS, INC
                                                                                                ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, MARY                  NJ - USDC for the District of New Jersey   3:18-cv-02570
                                                                                                DAVIS, INC




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                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, ROSE              NJ - USDC for the District of New Jersey   3:17-cv-05148
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORALES, CHRISTINA       NJ - USDC for the District of New Jersey    3:21-cv-10752
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORALES, KATHLEEN        NJ - USDC for the District of New Jersey    3:21-cv-10759
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOREIRA, DEBRA           NJ - USDC for the District of New Jersey    3:21-cv-14819
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORGAN, ANNA             NJ - USDC for the District of New Jersey    3:21-cv-14719
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORGAN, CHARLOTTE        NJ - USDC for the District of New Jersey    3:21-cv-14773
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORRIS, CATHERINE        CA - Superior Court - Los Angeles County    19STCV38693
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORRIS, KIMBERLY         CA - Superior Court - Riverside County      RIC1800043
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MURILLO, REBECCA         CA - Superior Court - San Diego County      37-2018-38085-CU-PL-CTL
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MYERS, COLLINS           NJ - USDC for the District of New Jersey    3:21-cv-14761
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NEAL, APRIL              NJ - USDC for the District of New Jersey    3:21-cv-14726
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NEELD, ELLEN             NJ - USDC for the District of New Jersey    3:21-cv-14862
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NELSON, DEBRA            NJ - USDC for the District of New Jersey    3:21-cv-14822
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NELSON, HANNAH           NJ - USDC for the District of New Jersey    3:21-cv-14886
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NELSON, MARY             NJ - USDC for the District of New Jersey    3:21-cv-10790
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NETTLES, BARBARA         NJ - USDC for the District of New Jersey    3:21-cv-14739
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NEWLIN, ANN              NJ - USDC for the District of New Jersey    3:21-cv-14717
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NGUYEN, HIEN             NJ - USDC for the District of New Jersey    3:21-cv-14897
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NIX, ELLEN               NJ - USDC for the District of New Jersey    3:21-cv-14863
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NORTON, GLENDA           NJ - USDC for the District of New Jersey    3:21-cv-14879
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OAKLEY, REBECCA          NJ - USDC for the District of New Jersey    3:17-cv-10119
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OBER, ELIZABETH          NJ - USDC for the District of New Jersey    3:18-cv-15818
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OCAMPO, DIANA            NJ - USDC for the District of New Jersey    3:21-cv-14835
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OCONNOR, ILENE           NJ - USDC for the District of New Jersey    3:21-cv-14900
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OLIVER, TAMMY            NJ - USDC for the District of New Jersey    3:18-cv-00716
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ONEAL, JAMILA            CA - Superior Court - Los Angeles County    20STCV25809
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OSBORNE, DEBRA           NJ - USDC for the District of New Jersey    3:17-cv-06643
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OTTENS, CHANTELLE        NJ - USDC for the District of New Jersey    3:21-cv-14772
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OUSLEY, BERNADINE        NJ - USDC for the District of New Jersey    3:21-cv-14747
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OVIEDO, MARIA            CA - Superior Court - Los Angeles County    CVPO1871861
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OWENS, DEBORAH           NJ - USDC for the District of New Jersey    3:19-cv-14414
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OWENS, MARGARET          NJ - USDC for the District of New Jersey    3:18-cv-15747
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OWENS, MARY              CA - Superior Court - San Bernardino County CIVDS1618507
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OWENS, SHAMONDA          NJ - USDC for the District of New Jersey    3:21-cv-14511
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OWINGS, DAWNETTE         NJ - USDC for the District of New Jersey    3:21-cv-14804
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PAGE, THERESA            CA - Superior Court - Santa Clara County    17CV318657
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARHAM, BEVERLY          CA - Superior Court - Santa Barbara         18cv03200
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARIS, DANI              NJ - USDC for the District of New Jersey    3:21-cv-14795
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARK, RITA               NJ - USDC for the District of New Jersey    3:17-cv-10299
                                                                                             DAVIS, INC
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARKER, LOWELLA          CA - Superior Court - San Bernardino County CIVD618152019
                                                                                             DAVIS, INC




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                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARKER, VANESSA          CA - Superior Court - Los Angeles County   BC686436
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARNAGIAN, ADELTRAUD     NJ - USDC for the District of New Jersey   3:21-cv-14364
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PARRISH, MARY            CA - Superior Court - Fresno County        18CECG03022
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PATTERSON, LORI          CA - Superior Court - Santa Clara County   18CV327827
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PELLEGRINI, NANCY        NJ - USDC for the District of New Jersey   3:21-cv-10783
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PEMBERTON, TATINA        NJ - USDC for the District of New Jersey   3:18-cv-02493
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PENAFLOR, CECILIA        NJ - USDC for the District of New Jersey   3:21-cv-14770
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PENALOZA, BLANCA         NJ - USDC for the District of New Jersey   3:21-cv-14362
                                                                                              DAVIS, INC
                                                                    30-2018-00982485-CU-PL-   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PENTA, CECILE            CA - Superior Court - Orange County
                                                                    CXC                       DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PEREIRA, ROSY            CA - Superior Court - Alameda County       RG17-886872
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PEREZ, NORMA             NJ - USDC for the District of New Jersey   3:19-cv-13949
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PERKINS, JUNE            NJ - USDC for the District of New Jersey   3:20-cv-10985
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PERLMAN, ALYSE           NJ - USDC for the District of New Jersey   3:21-cv-14702
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PERO, ADELYN             NJ - USDC for the District of New Jersey   3:17-cv-10335
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PERRY, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-14820
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PETERS, ERIN             NJ - USDC for the District of New Jersey   3:21-cv-14203
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PETERSON, CHRISTINE      NJ - USDC for the District of New Jersey   3:21-cv-14778
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PHILLIPS, CHERIE         NJ - USDC for the District of New Jersey   3:21-cv-14774
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PIEKLIK, SUZANNE         NJ - USDC for the District of New Jersey   3:18-cv-16778
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PIERCE, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-05726
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PILE, ELEANOR            NJ - USDC for the District of New Jersey   3:18-cv-09618
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PLUTA, DORIS             NJ - USDC for the District of New Jersey   3:18-cv-11992
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POLES, PATSY             NJ - USDC for the District of New Jersey   3:21-cv-04164
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POWELL, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-14441
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POWERS, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-14781
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POWERS, EVELYN           NJ - USDC for the District of New Jersey   3:21-cv-14869
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PRICE, BEVERLY           NJ - USDC for the District of New Jersey   3:19-cv-00914
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PRICE, DONNA             NJ - USDC for the District of New Jersey   3:18-cv-15822
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RAMBOW, DANA             NJ - USDC for the District of New Jersey   3:21-cv-14502
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RAMON, ELIPIHNA          NJ - USDC for the District of New Jersey   3:21-cv-14858
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RANGEL, CORINE           CA - Superior Court - Los Angeles County   BC688032
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RATCLIFFE, GINGER        NJ - USDC for the District of New Jersey   3:19-cv-13914
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RAWLS, APRIL             NJ - USDC for the District of New Jersey   3:21-cv-14727
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REASON, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-14848
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REED-JOSEPH, ILIZA       NJ - USDC for the District of New Jersey   3:21-cv-14901
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REESE, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-14849
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REILY, KAREN             NJ - USDC for the District of New Jersey   3:18-cv-15752
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REIMERS, DEANA           NJ - USDC for the District of New Jersey   3:21-cv-14805
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REINHARDT, MONIKA        CA - Superior Court - Los Angeles County   BC713772
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RENES, IRENE             NJ - USDC for the District of New Jersey   3:18-cv-15824
                                                                                              DAVIS, INC




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                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REYES, ANN                 CA - Superior Court - Fresno County        17CECG04347
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REYNOLDS, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-14811
                                                                                           DAVIS, INC
                           CA - Superior Court - City and County of                        ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RICE-CALKINS, PATRICIA                                                RIC1815497
                           Riverside, Palm Springs                                         DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RIEGEL, AMY                NJ - USDC for the District of New Jersey   3:21-cv-14707
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RINGWALD, ZOE              NJ - USDC for the District of New Jersey   3:19-cv-08831
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RITTER, MARJORIE           CA - Superior Court - Los Angeles County   BC711985
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RIVA, BROOKE               NJ - USDC for the District of New Jersey   3:21-cv-14544
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBBINS, AILEAN            NJ - USDC for the District of New Jersey   3:18-cv-15826
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RODRIGUEZ, GISELA          NJ - USDC for the District of New Jersey   3:21-cv-14878
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RODRIGUEZ, HOPE            NJ - USDC for the District of New Jersey   3:21-cv-14899
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROESNER, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-04102
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROGER, DIONICIA            NJ - USDC for the District of New Jersey   3:21-cv-14840
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROGERS, ALICE              NJ - USDC for the District of New Jersey   3:21-cv-14700
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROGERS, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-14851
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROSE, ARLENE               NJ - USDC for the District of New Jersey   3:20-cv-02666
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROSE, SUSAN                CA - Superior Court - Santa Cruz County    18CV00909
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROSENBERG, CATHLEEN        NJ - USDC for the District of New Jersey   3:21-cv-09467
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROUSE, ADRIENNE            NJ - USDC for the District of New Jersey   3:20-cv-14084
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROWE, DENISE               NJ - USDC for the District of New Jersey   3:21-cv-14829
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RUFINO, EVELISA            NJ - USDC for the District of New Jersey   3:19-cv-00034
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RYAN, PATRICIA             NJ - USDC for the District of New Jersey   3:18-cv-01471
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SALAZAR, DOLORES           NJ - USDC for the District of New Jersey   3:21-cv-14843
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SALEEM, FRIEDA             NJ - USDC for the District of New Jersey   3:21-cv-14875
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SAMUELSEN, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-14740
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SANCHEZ, MARTHA            CA - Superior Court - San Bernardino County CIVDS-1719107
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SANTIAGO, NANCY            NJ - USDC for the District of New Jersey   3:19-cv-08830
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SARANTOPOULOS, CHARLOTTE   NJ - USDC for the District of New Jersey   3:17-cv-13513
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SAVAGE, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-14837
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SAWYER, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-14860
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHATZ, STEFANI            CA - Superior Court - Alameda County       RG18900031
                                                                                           DAVIS, INC
                           CA - Superior Court - San Luis Obispo                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHULTZ, DEBORAH                                                      20XC-0476
                           County                                                          DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHWAB, DEBORAH            CA - Superior Court - Sacramento County    34-2018-00229874
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCOTT, LAURA               NJ - USDC for the District of New Jersey   3:18-cv-15889
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCRUGGS, FRANCES           NJ - USDC for the District of New Jersey   3:17-cv-13045
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SECREST-KENT, DEBORAH      NJ - USDC for the District of New Jersey   3:21-cv-14812
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SENOSK, DENISE             NJ - USDC for the District of New Jersey   3:21-cv-14830
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SERNA, CLAUDIA             NJ - USDC for the District of New Jersey   3:21-cv-14786
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHARAF, VIDA               NJ - USDC for the District of New Jersey   3:20-cv-14053
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHEEHAN, CONSTANCE         CA - Superior Court - Napa County          18CV000849
                                                                                           DAVIS, INC
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHERWOOD, EDNA             NJ - USDC for the District of New Jersey   3:18-cv-15998
                                                                                           DAVIS, INC




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                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHIFFER, CAROLANN        NJ - USDC for the District of New Jersey   3:21-cv-14765
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHOEMAKER, COLETTE       NJ - USDC for the District of New Jersey   3:18-cv-00719
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHORT, CAROLE            NJ - USDC for the District of New Jersey   3:21-cv-14766
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHULER, BARBARA          NJ - USDC for the District of New Jersey   3:21-cv-14729
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SILLIVEN, LETICIA        NJ - USDC for the District of New Jersey   3:21-cv-10875
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SIMMS, MADELYN           CA - Superior Court - Madera County        MCV076620
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SIMS, CHANTEL            NJ - USDC for the District of New Jersey   3:18-cv-15413
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SIMS, DAWN               NJ - USDC for the District of New Jersey   3:21-cv-14803
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SINGER, AMY              CA - Superior Court - Los Angeles County   BC696724
                                                                                              DAVIS, INC
                                                                    30-2017-00963310-CU-PL-   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, BRANDY            CA - Superior Court - Los Angeles County
                                                                    CXC                       DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, CONNIE            NJ - USDC for the District of New Jersey   3:21-cv-14787
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, GLORIA            CA - Superior Court - Santa Clara County   17CV318661
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, JOAN              NJ - USDC for the District of New Jersey   3:19-cv-09212
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, JUDITH            NJ - USDC for the District of New Jersey   3:18-cv-15999
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMNITH, HELEN            NJ - USDC for the District of New Jersey   3:21-cv-14895
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SOLORIO-FIMBREZ, LEAH    NJ - USDC for the District of New Jersey   3:21-cv-10876
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SOUZA, MARIA             CA - Superior Court - Alameda County       RG17879234
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STAUBER, KAROL           NJ - USDC for the District of New Jersey   3:17-cv-13512
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STEVENS, MARIA           NJ - USDC for the District of New Jersey   3:18-cv-15756
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STOEHR, DEBRA            NJ - USDC for the District of New Jersey   3:21-cv-14821
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SUMNER, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-14836
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SWEARINGEN, LESLIE       CA - Superior Court - Los Angeles County   VCU276091
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SYNCHUK, LYUDMYLA        NJ - USDC for the District of New Jersey   3:18-cv-11993
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TACKABURY, LYN           NJ - USDC for the District of New Jersey   3:18-cv-00871
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TASHJIAN, DIAN           NJ - USDC for the District of New Jersey   3:21-cv-14832
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TAYLOR, HELEN            NJ - USDC for the District of New Jersey   3:18-cv-00879
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TEDFORD, BARBARA         NJ - USDC for the District of New Jersey   3:21-cv-14741
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TEMPLE, CLARA            NJ - USDC for the District of New Jersey   3:21-cv-14783
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TENNEY, EXIE             NJ - USDC for the District of New Jersey   3:21-cv-14871
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THAYER-GRAHAM, MARIE     NJ - USDC for the District of New Jersey   3:20-cv-01141
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMAS, ALEXANDRA        NJ - USDC for the District of New Jersey   3:21-cv-14697
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMAS, ALEXANDRA        NJ - USDC for the District of New Jersey   3:21-cv-14697
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMAS, BENNIE           CA - Superior Court - Los Angeles County   RG18918589
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMPSON, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-09473
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THREADGILL, EVA          CA - Superior Court - Los Angeles County   BC-617311
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TIBBETTS, ROSALIE        CA - Superior Court - Mendocino County     CVPO1870905
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TIMONE, REGINA           NJ - USDC for the District of New Jersey   3:21-cv-09463
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TIPTON, GERMAINE         NJ - USDC for the District of New Jersey   3:21-cv-14877
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TORRES, DENISE           NJ - USDC for the District of New Jersey   3:17-cv-10138
                                                                                              DAVIS, INC
                                                                    30-2018-00988160-CU-PL-   ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TRESHANKY, SUSAN         CA - Superior Court - Orange County
                                                                    CXC                       DAVIS, INC




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                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TRONCOSO, CONNIE          NJ - USDC for the District of New Jersey   3:21-cv-14788
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TROUT, AMANDA             NJ - USDC for the District of New Jersey    3:17-cv-13311
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TRUJILLO, CONNIE          NJ - USDC for the District of New Jersey    3:21-cv-14789
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TURNAGE, CYNTHIA          NJ - USDC for the District of New Jersey    3:21-cv-14793
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VALDEZ, CARMEN            NJ - USDC for the District of New Jersey    3:20-cv-02670
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VAN ZILE, LISA            CA - Superior Court - Los Angeles County    21STCV09929
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VARGAS, DEBORAH           NJ - USDC for the District of New Jersey    3:21-cv-14813
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VELMONT, ESTHER           NJ - USDC for the District of New Jersey    3:18-cv-02538
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VICTOR, WILLIE            CA - Superior Court - Los Angeles County    BC641978
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VRANEK, LANA              NJ - USDC for the District of New Jersey    3:18-cv-11994
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WADNIZAK, VIRGINIA        NJ - USDC for the District of New Jersey    3:18-cv-17027
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WADSWORTH, LOIS           CA - Superior Court - Alameda County        RG20083935
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WALKER, BETTIE            NJ - USDC for the District of New Jersey    3:21-cv-14748
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WALKER, CYNTHIA           NJ - USDC for the District of New Jersey    3:21-cv-14790
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WARREN, SUSAN             NJ - USDC for the District of New Jersey    3:17-cv-13310
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WATTS, KAREN              NJ - USDC for the District of New Jersey    3:21-cv-09469
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WATTS, RUBY               NJ - USDC for the District of New Jersey    3:19-cv-21474
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WEAVER, BETTY             CA - Superior Court - Los Angeles County    BC671456
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WEISS, LAURA              CA - Superior Court - Los Angeles County    BC697985
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WELLS, BRENDA             NJ - USDC for the District of New Jersey    3:21-cv-14756
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WELSH, DANA               CA - Superior Court - Stanislaus County     CV-20-005643
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WERKHEISER, CHRISTINE     NJ - USDC for the District of New Jersey    3:21-cv-14779
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WIDEL, BARBARA            NJ - USDC for the District of New Jersey    3:21-cv-14742
                                                                                              DAVIS, INC
                          CA - Superior Court - City and County of                            ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WIEDRICH, PEGGY                                                       RIC1720692
                          Riverside, Palm Springs                                             DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLETT, CHRISTY          NJ - USDC for the District of New Jersey    3:21-cv-14780
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, GENEVA          CA - Superior Court - San Bernardino County CIVDS1807370
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, GLICERIA        NJ - USDC for the District of New Jersey    3:21-cv-14880
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, KATHERINE       NJ - USDC for the District of New Jersey    3:18-cv-15776
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, RITA            NJ - USDC for the District of New Jersey    3:21-cv-14552
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIS, FELICIA           NJ - USDC for the District of New Jersey    3:19-cv-00333
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WOHLERT, CAROLYN          NJ - USDC for the District of New Jersey    3;21-cv-14767
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WOHLWEND, BARBARA         NJ - USDC for the District of New Jersey    3:18-cv-11800
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WOOD, DEBRA               NJ - USDC for the District of New Jersey    3:18-cv-16008
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WYSKIEL, BARBARA          NJ - USDC for the District of New Jersey    3:21-cv-14743
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YASSEIN, LALLAFATIHA      CA - Superior Court - San Diego County      37-2017-49737-CU-PL-CTL
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YORK, DELORES             CA - Superior Court - Tulare County         VCU274863
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YOSHIDA, ANDRIYANI        CA - Superior Court - Los Angeles County    BC705664
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ZILAFRO, CYNTHIA          NJ - USDC for the District of New Jersey    3:21-cv-14791
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ZUBEN, DONNA              NJ - USDC for the District of New Jersey    3:21-cv-14850
                                                                                              DAVIS, INC
                                                                                              ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ACOSTA, ELEANOR           NJ - USDC for the District of New Jersey    3:21-cv-13451
                                                                                              DAVIS, INC.




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                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ACOSTA, TRINIDAD         NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ALBACH, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
AL-BADEE, TASKIN         NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ALEXANDER, DORINE        NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ALEXANDER, VALERIE       NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ANDERSON, KATHRYN        NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ANDERSON, SHIRLEY        NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ANDREWS, VANNA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ANGEL, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARP, JULIANNE            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARSENAULT, ELIZABETH     NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ARWICK, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
AYALA, LANI              NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BAROCAS, JANICE          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARRETT, SHARON          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BARTEL, MEDA             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BAUMANN, DARLENE         NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BENITEZ, MARIA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BENNETT, CHRISTINA       NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BERGER, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BERRETH, GAYLE           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BERRY, LUCILE            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BLACKBURN, TRACY         NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BLACKWELL, SUSAN         CA - Superior Court - Los Angeles County   BC628366
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOGACZYK, NELLA          NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOLAND, NICHOLET         NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BONHEYO, LORI            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOONE, MARSHA            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOOTH, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BOWLING, LISA            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRACEY, SANDRA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRANCH, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRAZEALE, JACKIE         NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRITTEN, YVONNE          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BROWNING, JOAN           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRUHN, BROWNING          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRYANT, ARETHA           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BRYANT, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BUELOW, SHIRELY          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BUIE, KATIE              NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.




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         Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BURGHER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BURNS, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BURNS, SHELLY             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
BYRD, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CALLAHAN, SHELIA          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CAMPBELL, MARGARET        NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARDENAS, AIMEE           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CARMEN, SHERRY            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CASTILLO, SINDA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHAMBERLIN, LEIGH         NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHRISTENSON, MICHELLE     NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHRISTOPHERSEN, MARY      NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CHURCH, VIKKI             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COLE, LONI                NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COLLINS, DOLORES          NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COOK, REGINAE             NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
COWARD, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRAMER, SHARON            NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRAWHORN, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CROPPER, LIBERTY          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CROWE, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRUSHA, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRUZ, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CRUZE, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CULPEPPER, TINA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CUNNINGHAM, JOANNE        NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
CURRIER-RUSACK, JANALYN   NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAMEWORTH, JOYCE          NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVIS, KELLY              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVIS, OLA                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVIS, SHIRLENE           NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAVISSON, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DAY, SARA                 NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEBAILEY, SHAWANNA        NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEGNAN, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEKEN, JANINE             NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DEL VALLE, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DENNIS, PAMELA            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DENTON, ELAINE            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DESERSA, DOVALIEN         NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                          DAVIS, INC.




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         Claimant Name                       State Filed                     Docket Number                Plaintiff Counsel
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DIAS, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DODD, MARY                   NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DODSON, LORETTA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOLLAR, JOSEPHINE            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOMAN (OVERACRE), DANIELLE   NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DOUTHITT, JACINDA            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
DUGGER, KATHERINE            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EDMONDS, DELORES             NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ELKINS, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ELLIS, JENNIFER              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ENGLISH, TERRY               NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ESTEP, JANET                 NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EVERTT, SHERRI               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
EVERY, RUBY                  NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FAAPOULI, NAOMI              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FAGAN, KATHRYN               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FALCON, REGINA               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FALCON, ROSALVA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FANCHER, DORIS               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FATTAL, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FEHER, BARBARA               NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FELKINS, TANYA               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FIGURES, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FIKE, REBECCA                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FITZ, KAREN                  NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FLORES, MAXINE               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FLORES, THERESA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FOSTER, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FOSTER, VICKI                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FRANKLIN, VERONICA           NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FRAZIER, TONIA               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FREGER, VICTORIA             NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FRICK, KAREN                 NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FRIE, ROSALIE                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FUGATE, VONDA                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FULLMORE, MIA                CA - Superior Court - Los Angeles County   BC628366
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
FUTCH, LESLIE                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GALAT, PAMELA                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GARCIA, REBECCA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GARRETT, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.




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         Claimant Name                       State Filed                     Docket Number                Plaintiff Counsel
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GATTER, ANDREA               CA - Superior Court - Los Angeles County   BC627457
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GEARY, JEAN                  NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GEER, NOLA                   NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GEORGE, WENDY                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GERENA, VERONICA             NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GIBBONS, IRMA                NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GILBERT, TOMIEKA             NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GILROY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GIRTON, MELISSA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GIST, MARY                   NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GOMEZ, JACQUELINE            NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GONZALEA, KRISTI             NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GONZALEZ, VIVIENEE           NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GOODEMOTE-MOGOR, ELIZABETH   NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GORDON, ROSA                 NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GORDON-OZGUL, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GOSSARD, TERESA              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GRANT, JEANETTE              NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GRANT, ROBIN                 NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREENE, JANE                 NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREENE, PAMELA               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREENE, TAMARA               NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GREENWALD, MARGARET          NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
GUDAS, JEAN                  NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HALL, LINDA                  NJ - USDC for the District of New Jersey   3:21-cv-13441
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HALL-NASH, MAMIE             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HALL-RAMSEY, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAMMER, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAMMITT, MARION              NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAMMOND, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARGET, JACQUELINE           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARPER, JEWELL               NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARRIS, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARRIS, PAULETTE             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HARTLEIN, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAYES, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAYES, MARTHA                NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAYS, KATHLEEN               NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HAYS, PATRICIA               NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.
                                                                                             ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HELTON, KIMBERLY             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                             DAVIS, INC.




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                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HEMMERLING, JOANN        NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HERRING, TONYA           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HESTER, KATHERYN         NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HEYWARD, THELMA          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HICKS, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HIGGS, JUNE              NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HILLIN, KATHY            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOBBS, LESA              NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOLMES, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOLT, FRANKIE            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOOD, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HORD, PENNY              NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HORTON, PEGGY            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HORTON, PENNY            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOWE, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HOWELL, SHELIA           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUGHES, SHEFFEY          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUNT, LACOLE             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUNTER, LAKESHA          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
HUTZLER, IVY             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
IMTIAZ, SYEDA            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
INGRAM, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ISLES, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JACKSON, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JACKSON, VONDA           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JAMES, JANNIE            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JAMES, LYNETTE           NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JAMISON, DONNA           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JENKINS, LATANYA         NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JITE-OGBUEHI, LUCY       NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHN, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, SANDRA          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, SHIRLEY         NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, STACI           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOHNSON, VICKI           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JONES, JOSEPHINE         NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JONES, LESLIE            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JONES, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JONES, TRACY             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                         DAVIS, INC.




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                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JOSHUA, PAULETTE          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
JUSTICE, LESLIE           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KASH, NAJWA               NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KELLY, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KIELCZWESKI, KIM          NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KING, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KIRKLAND, ERNESTINE       NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KLEIN-DAVIS, STEPHANIE    NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KLOCKE, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KORNMAN, TERRY            NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KRAJEWSKA, KRYSTYNA       NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
KUBIAK, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAMAN, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-13454
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LANSDALE, MARY            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LANSDELL, AMANDA          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LARRISON, SANDIE          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAURENT, MAUREEN          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LAWHON, TERESA            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEARY, SHANNA             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEASE, JANET              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEBOUEF, NANCY            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEDRIDGE, ROBIN           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEE, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEHNHOFF-MCCRAY, ROBIN    NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LESTER, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LEWIS, WENDY              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LIGNEY, JANET             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LLORIN, LENA              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOLLIS, GLORIA            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOPEZ-REY, SELENA         NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOVE, RITA                NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOVE, TORY                NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
LOWMAN, JOANNE            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MACK, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MADISON, WILLIET          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MAGER, JOAN               NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MALCOLM, JENNIFER         NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MALLORY, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MANZI, MARY               NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARBLE, ROCHELLE          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.




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                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARCUM, SARA             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTIN, SHERRY           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTIN, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTINEZ, JAMIE          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MARTIN-HATFIELD, LINDA   NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MASTERS, PATRICIA        NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MASTERSON, NINA          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MATA, LUPE               NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MAY, MICHELLE            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCALILEY, SUANNE         NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCCOY, JANETTE           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCCOY, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCCULTY, MARGARET        NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCDADE, MAUREEN          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCMANUS, LORRAINE        NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCMILLAN, JACQUELINE     NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCNEECE, MARGERETTE      NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MCPHILLIPS, LAURIE       NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
METZ, TIFFANY            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
METZLER, JUDITH          NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILAM, TONI              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MILLS, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MITCHELL, ROSE           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MONTALVO, JENNIFER       NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, JILL              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, PAMULA            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MOORE, RUTH              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORGAN, ANN              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORGAN, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORRIS, VICKIE           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MORRIS, WENDY            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MUNOZ, DELFINA           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MURPHY, REBECCA          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MURPHY, SONORA           NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
MYERS, MARIA             NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NANCE, MINNIE            NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NASH, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NAVARRO, MARINA          NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                         DAVIS, INC.




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          Claimant Name                   State Filed                     Docket Number                Plaintiff Counsel
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NELSON, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-13450
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NELSON, MARY              NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NETHERLAND, LINDA         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NEUMAN, SHARRI            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NIELSEN, JESSICA          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NORDICK, TRUDY            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
NUFFER, DEBRA             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OCONNELL, GERALDINE       NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OLIVER, FAITH             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OLIVER, LISA              NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ORLICH, ANNE              NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OROPEZA, MARTHA           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OWEN, JOAN                NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
OXENDINE, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PALAZZO, JEANNE           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PASCUAL, SACHA            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PATTERSON, SHELLEY        NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PEACE, LEANN              NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PEDERSEN, SUSAN           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PELLEGRINI, NANCY         NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PENNINGTON, MARGUERITE    NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PEPIN, TAMMY              NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PERKINSON, TAMAR          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PFEIFER, PATRINA          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PIEPER, VICKI             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PIERCEY, JOAN             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PILAKINGTON, TAMA         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PILEGARD, VIRGINIA        NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
PIPKINS, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POLCEN, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POLLARD-OJO, LINDA        NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POOL, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POPVICH, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POWELL, WILMA             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
POWERS, VICTORIA          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
QUICK, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RADTKE, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RAMIREZ, IRENE            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RAY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                          DAVIS, INC.
                                                                                          ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RAYNE STEENS, LA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                          DAVIS, INC.




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         Claimant Name                   State Filed                     Docket Number                Plaintiff Counsel
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REDNER, ROLENA           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REGENSBURG, MADY         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REINER, SHERRI           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REUTER, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
REYNOLDS, JACQUELINE     NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RICHARDSON, LISA         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RIVERA, OLGA             NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBERTS, CARRIE          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBERTS, CHERYLL         CA - Superior Court - Los Angeles County   BC627457
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBERTS, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBERTS, REBECCA         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBESON, BECKY           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBINSON, NAN            NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBINSON, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROBINSON, SHERRI         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RODRIGUEZ, ISABEL        NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROGERS, LORETTA          NJ - USDC for the District of New Jersey   3:21-cv-13451
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ROSE, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RUFFIN, RUTHANN          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RUIZ, LUCIA              NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RUSSELL, THERESA         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
RUTKOWSKI, JEANNE        NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SALAZAR, CELIA           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SALAZAR, MONICA          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SALOMAO, POLYANA         NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SANCHEZ, JULIE           NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SANCHEZ, MONICA          NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SANCHEZ, PURIFICACION    NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SANDUSKY, LORETTA        NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCARLETT, LILLIE         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHENK, JACQUELINE       NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHLEY, KATHLEEN         CA - Superior Court - Los Angeles County   BC628366
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHNAPP, IRENE           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHUETZ, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SCHWARTS, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SEYLLER, SUZA            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SHANKWEILER, KATHRYN     NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SILLIVEN, LETICIA        NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SIMPSON, LINDA           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SIMS, ORALEAN            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.




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         Claimant Name                   State Filed                     Docket Number                Plaintiff Counsel
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SKIPPER, REBA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SLACK, KAYSHA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SLYCORD, JOSEPHINE       NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, ANNE              NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, KELLI             NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH, SUSETTE           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SMITH-FUTRELL, VIVIAN    NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SOLORIO-FIMBREZ, LEAH    NJ - USDC for the District of New Jersey   3:19-cv-18592
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SOTO, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SPARKMAN, STACEY         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SPEIGHT, JACQUELINE      NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SPRAGUE, TERESA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STAMPER, REBECCA         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STAMPS, KARMEN           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STANLEY, KELLIE          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STENNETT, KIM            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STEPHENSON, JENNIFER     NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STEWART, KELLIE          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STOCKTON, KATHY          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STOTT, DELORIS           CA - Superior Court - Los Angeles County   BC627457
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STRATTON, NANCY          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STRAWHORN, PHYLLIS       NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
STROH, NORMA             NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SUAREZ, KELLY            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SUIRE, ROZANE            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SUMPTER, LOLITA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
SUTTLE, LAURA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TALAMANTES, PATRICIA     NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TAUFETEE, LAMONA         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TAUTEROUFF, MARY         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TAYLOR, LETITIA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TAYLOR, LORENNA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TAYLOR, VIRGINIA         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TEEPLES, RHONDA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMAS, TONI             NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMAS-LEWIS, SHELIA     NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMASTON, SHARON        NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMPSON, CHERYL         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMPSON, JANICE         NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.
                                                                                         ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
THOMPSON, SUZANNE        NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                         DAVIS, INC.




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         Claimant Name                     State Filed                     Docket Number                Plaintiff Counsel
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TORRES, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
TROTTER, SHERRY            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
UNDERWOOD, MARSHA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
UTTERBACK, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VANDERPOOL, PATRICIA       NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VANDYKE, GLADYS            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VARGAS, JODY               NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VIEHMEYER, CHERYL          NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VILLE, JODY                NJ - USDC for the District of New Jersey   3:21-cv-13443
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
VUKELICK, MARIA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WADDELL, AUDREY            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WADE, MARILYN              NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WAGNER, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WALKER-MCGEE, STACY        NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WALTERS, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WANG, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WARFORD, SHELLA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WARNKE, LUCINDA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WARREN, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WARREN, TREVA              NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WASHINGTON, ORA            NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WASHINGTON, VANESSA        NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WATKINS, NANCY             NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WEBSTER, ANN               NJ - USDC for the District of New Jersey   3:21-cv-13447
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WESTBERG, LINDA            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WHEELER, JUDY              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WHITE, MARY                NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WHITE, VADA                NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WHITE-HENDERSON, TRENICA   NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WICKSTROM, SHERRY          NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WIKSE, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, KENDRA           NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, MARILYN          NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, MELANESA         NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILLIAMS, SONIA            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILSON, KWEILIN            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILSON, MARIAN             NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.




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         Claimant Name                     State Filed                     Docket Number                Plaintiff Counsel
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILSON, SARA               NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WILSON, SONIA              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WINCHESTER, KRIS           NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WINTER, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WOELFEL, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WOODRUFF, GRACE            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WRAY, ANITA                NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WRIGHT, JANET              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WRIGHT, KATIE              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WYATT, ROBIN               NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
WYLIE, JUDITH              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YARBROUGH, KATHERINE       NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YARBROUGH, RUBY            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YINGLING, MELODY           NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YOCOM, LISA                NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YORK, NICHOLE              NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YOUNG, PORSCHIA            NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
YOUNG, SUZANNE             NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
                                                                                           ROBINSON, CALCAGNIE, ROBINSON, SHAPIRO,
ZAREMBA, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-13445
                                                                                           DAVIS, INC.
BERNIER, THERESE           CANADA - Ontario Superior Court of Justice CV-16-553046         ROCHON GENOVA LLP

FAROOQI-WILLISON, SHAEDA   CANADA - Ontario Superior Court of Justice CV-16-553046         ROCHON GENOVA LLP

HEATON, JANET              CANADA - Ontario Superior Court of Justice CV-16-553046         ROCHON GENOVA LLP

STRATHDEE, CINDY           CANADA - Ontario Superior Court of Justice CV-16-553046         ROCHON GENOVA LLP
CHIRA, MILLICENT           NJ - USDC for the District of New Jersey   3:18-cv-14684        RODAL LAW, P.A.
MANNINO, KATHLEEN          NJ - USDC for the District of New Jersey   3:20-cv-01991        RODAL LAW, P.A.
ABAGNALE, LINDA            NJ - Superior Court - Atlantic County      ATL-L-002151-19      ROSS FELLER CASEY, LLP
ANDERSEN, CHARLOTTE        NJ - USDC for the District of New Jersey   3:17-cv-09434        ROSS FELLER CASEY, LLP
ANDERSON, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-04364        ROSS FELLER CASEY, LLP
ANDERSON, LATOSHA          NJ - USDC for the District of New Jersey   3:17-cv-04308        ROSS FELLER CASEY, LLP
ARMSTRONG, SHIRLEY         NJ - USDC for the District of New Jersey   3:18-cv-04365        ROSS FELLER CASEY, LLP
AVEY, KATHLEEN             NJ - USDC for the District of New Jersey   3:18-cv-16355        ROSS FELLER CASEY, LLP
AVEYARD, GEORGIANNA        NJ - USDC for the District of New Jersey   3:19-cv-14369        ROSS FELLER CASEY, LLP
BAKUS, REBECCA             CA - Superior Court - Los Angeles County   BC699682             ROSS FELLER CASEY, LLP
BASS, PAULA                NJ - USDC for the District of New Jersey   3:19-cv-00915        ROSS FELLER CASEY, LLP
BECKREST, KAREN            NJ - USDC for the District of New Jersey   3:18-cv-02086        ROSS FELLER CASEY, LLP
                           PA - Lackawanna County Court of Common
BERNARDI, MAUREEN                                                     2020 cv 4922         ROSS FELLER CASEY, LLP
                           Pleas
BISCOTTO, MIA              NJ - USDC for the District of New Jersey   3:18-cv-14790        ROSS FELLER CASEY, LLP
BOYLE, ELIZABETH           NJ - Superior Court - Atlantic County      ATL-L-002917-20      ROSS FELLER CASEY, LLP
BRAMAN, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-07661        ROSS FELLER CASEY, LLP
BROWN, JACQUELYN           CA - Superior Court - Los Angeles County   BC688134             ROSS FELLER CASEY, LLP
BURCIAR, ROSELYN           NJ - Superior Court - Atlantic County      ATL-L-146-18         ROSS FELLER CASEY, LLP
CALIGIURI, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-15521        ROSS FELLER CASEY, LLP
                           PA - Lackawanna County Court of Common
CALLAHAN, JANICE                                                      2017-05897           ROSS FELLER CASEY, LLP
                           Pleas
CANTLEY, LINDA             CA - Superior Court - Los Angeles County   JCCP4872             ROSS FELLER CASEY, LLP
CHATFIELD, CANDIDA         NJ - USDC for the District of New Jersey   3:19-cv-08630        ROSS FELLER CASEY, LLP
CHAVEZ, MARIAN             NJ - USDC for the District of New Jersey   3:17-cv-13352        ROSS FELLER CASEY, LLP
CLARK, LAURA               NJ - USDC for the District of New Jersey   3:19-cv-08055        ROSS FELLER CASEY, LLP
COCCO, PATRICIA            NJ - USDC for the District of New Jersey   3:20-cv-09533        ROSS FELLER CASEY, LLP
COY, DENISE                NJ - USDC for the District of New Jersey   3:18-cv-08645        ROSS FELLER CASEY, LLP
CRISP-SILVA, CHANDRA       NJ - USDC for the District of New Jersey   3:17-cv-12229        ROSS FELLER CASEY, LLP
CURRY, SAUNDRA             NJ - USDC for the District of New Jersey   3:17-cv-04307        ROSS FELLER CASEY, LLP
CYMBALUK, LOUISE           NJ - Superior Court - Atlantic County      ATL-L-002483-18      ROSS FELLER CASEY, LLP
DALTON, CONNIE             NJ - USDC for the District of New Jersey   3:17-cv-09074        ROSS FELLER CASEY, LLP
DAVELLA, THERESA           NJ - USDC for the District of New Jersey   3:20-cv-13904        ROSS FELLER CASEY, LLP
DAZEY, KELLY               NJ - USDC for the District of New Jersey   3:17-cv-07723        ROSS FELLER CASEY, LLP




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
DECASTRIS, JOANNE         NJ - USDC for the District of New Jersey   3:18-cv-10493         ROSS FELLER CASEY, LLP
DEE, HELEN                NJ - USDC for the District of New Jersey   3:17-cv-05049         ROSS FELLER CASEY, LLP
DEPREZ, CLAUDIA           NJ - USDC for the District of New Jersey   3:18-cv-01091         ROSS FELLER CASEY, LLP
DICESARE, LAURA           NJ - Superior Court - Atlantic County      ATL-L-1368-16         ROSS FELLER CASEY, LLP
DONNELLY, CAMILLE         NJ - USDC for the District of New Jersey   3:19-cv-08949         ROSS FELLER CASEY, LLP
DOUGLAS, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-05346         ROSS FELLER CASEY, LLP
DOYLE, CHRISTINE          NJ - USDC for the District of New Jersey   3:20-cv-07770         ROSS FELLER CASEY, LLP
DUARTE, HEATHER           NJ - USDC for the District of New Jersey   3:17-cv-07724         ROSS FELLER CASEY, LLP
DULANEY, JUDY             NJ - USDC for the District of New Jersey   3:17-cv-09053         ROSS FELLER CASEY, LLP
EDWARDS, DARLENE          NJ - USDC for the District of New Jersey   3:17-cv-07048         ROSS FELLER CASEY, LLP
ELLIOTT, MARY             NJ - USDC for the District of New Jersey   3:18-cv-08290         ROSS FELLER CASEY, LLP
EVANS, BRENDA             NJ - USDC for the District of New Jersey   3:18-cv-11870         ROSS FELLER CASEY, LLP
FARRA, DONNA              NJ - USDC for the District of New Jersey   3:21-cv-00856         ROSS FELLER CASEY, LLP
FERNANDEZ, FATIMA         CA - Superior Court - Los Angeles County   BC703745              ROSS FELLER CASEY, LLP
FINGERHUT, SUSAN          NJ - USDC for the District of New Jersey   3:17-cv-09076         ROSS FELLER CASEY, LLP
FOGLE, CAROL              NJ - USDC for the District of New Jersey   3:19-cv-00685         ROSS FELLER CASEY, LLP
FORTUNATO, EILEEN         NJ - Superior Court - Atlantic County      ATL-L424-18           ROSS FELLER CASEY, LLP
FOX, YVETTE               NJ - USDC for the District of New Jersey   3:19-cv-00918         ROSS FELLER CASEY, LLP
FRANK, JULIE              NJ - USDC for the District of New Jersey   3:19-cv-21190         ROSS FELLER CASEY, LLP
FRAZIER, PAMELA           NJ - Superior Court - Atlantic County      ATL-L-1524-17         ROSS FELLER CASEY, LLP
GARRETT, JUANITA          NJ - USDC for the District of New Jersey   3:18-cv-09096         ROSS FELLER CASEY, LLP
GERALDINO, FLOR           NJ - USDC for the District of New Jersey   3:18-cv-14668         ROSS FELLER CASEY, LLP
GIBBS, KIMBERLY           NJ - USDC for the District of New Jersey   3:17-cv-04706         ROSS FELLER CASEY, LLP
GIFFORD, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-00416         ROSS FELLER CASEY, LLP
GIORDANO, LESLIE          NJ - Superior Court - Atlantic County      ATL-L-001763-18       ROSS FELLER CASEY, LLP
GOODE, DIANA              NJ - USDC for the District of New Jersey   3:17-cv-13198         ROSS FELLER CASEY, LLP
GOODRICH, RUBY            NJ - USDC for the District of New Jersey   3:20-cv-18925         ROSS FELLER CASEY, LLP
GRADDY, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-11491         ROSS FELLER CASEY, LLP
GRAH, KAREN               NJ - USDC for the District of New Jersey   3:18-cv-03380         ROSS FELLER CASEY, LLP
GRALEY, KATHY             NJ - USDC for the District of New Jersey   3:18-cv-11492         ROSS FELLER CASEY, LLP
GREAVES, SHERRYLEE        NJ - USDC for the District of New Jersey   3:17-cv-04461         ROSS FELLER CASEY, LLP
GUINN, SELENA             NJ - USDC for the District of New Jersey   3:17-cv-04679         ROSS FELLER CASEY, LLP
GUY, KAREN                NJ - USDC for the District of New Jersey   3:18-cv-16343         ROSS FELLER CASEY, LLP
HEGDE, DIPTI              NJ - Superior Court - Atlantic County      ATL-L-629-17          ROSS FELLER CASEY, LLP
HELLER, SANDRA            NJ - USDC for the District of New Jersey   3:17-cv-09436         ROSS FELLER CASEY, LLP
HOMER, JANIECE            NJ - USDC for the District of New Jersey   3:19-cv-08057         ROSS FELLER CASEY, LLP
HUBBERT, DEBORAH          NJ - USDC for the District of New Jersey   3:19-cv-17764         ROSS FELLER CASEY, LLP
HUDSON, DEBORA            NJ - USDC for the District of New Jersey   3:19-cv-03602         ROSS FELLER CASEY, LLP
HUNTER, KIMBERLY          NJ - USDC for the District of New Jersey   3:18-cv-00418         ROSS FELLER CASEY, LLP
IBOLD, REGINE             NJ - USDC for the District of New Jersey   3:19-cv-07316         ROSS FELLER CASEY, LLP
IVASIECKO, VENISSA        NJ - USDC for the District of New Jersey   3:17-cv-13071         ROSS FELLER CASEY, LLP
                          PA - Philadelphia County Court of Common
JARDINE, MARY                                                        200202872             ROSS FELLER CASEY, LLP
                          Pleas
JASON, KERWIN             NJ - USDC for the District of New Jersey   3:18-cv-02739         ROSS FELLER CASEY, LLP
JENKINS, KELLIE           NJ - USDC for the District of New Jersey   3:18-cv-11454         ROSS FELLER CASEY, LLP
JOHNSEN, SOPHIE           NJ - USDC for the District of New Jersey   3:17-cv-04492         ROSS FELLER CASEY, LLP
JOHNSON, MARY             NJ - USDC for the District of New Jersey   3:18-cv-09020         ROSS FELLER CASEY, LLP
JOHNSON, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-17749         ROSS FELLER CASEY, LLP
JOHNSTON, JESSIE          NJ - USDC for the District of New Jersey   3:17-cv-10200         ROSS FELLER CASEY, LLP
JONES, CLARA              NJ - USDC for the District of New Jersey   3:17-cv-04490         ROSS FELLER CASEY, LLP
JONES, ERIN               NJ - USDC for the District of New Jersey   3:19-cv-17750         ROSS FELLER CASEY, LLP
KERR, KELLY               NJ - USDC for the District of New Jersey   3:18-cv-08749         ROSS FELLER CASEY, LLP
KIRK, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-12053         ROSS FELLER CASEY, LLP
KOKOSZKA, MICHELLE        NJ - USDC for the District of New Jersey   3:19-cv-08058         ROSS FELLER CASEY, LLP
KUCHINSKI, ROBIN          NJ - USDC for the District of New Jersey   3:19-cv-18890         ROSS FELLER CASEY, LLP
LAIRD, SUSAN              CA - Superior Court - Los Angeles County   BC695059              ROSS FELLER CASEY, LLP
LANDRY, TIFFANY           NJ - Superior Court - Atlantic County      ATL-L-969-16          ROSS FELLER CASEY, LLP
LANHAM, BARBARA           CA - Superior Court - Los Angeles County   BC699913              ROSS FELLER CASEY, LLP
LASSETER, BETTY           NJ - USDC for the District of New Jersey   3:18-cv-08007         ROSS FELLER CASEY, LLP
LAWING, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-14667         ROSS FELLER CASEY, LLP
LEO, JENNIFER             NJ - USDC for the District of New Jersey   3:17-cv-07798         ROSS FELLER CASEY, LLP
LEWIS, ANGELA             NJ - Superior Court - Atlantic County      ATL-L-426-18          ROSS FELLER CASEY, LLP
LEWIS, JEANETTE           NJ - USDC for the District of New Jersey   3:19-cv-18891         ROSS FELLER CASEY, LLP
LUBOFF, SUSAN             NJ - USDC for the District of New Jersey   3:18-cv-00135         ROSS FELLER CASEY, LLP
LUCCI, DOREEN             NJ - USDC for the District of New Jersey   3:20-cv-13065         ROSS FELLER CASEY, LLP
MADRETZKE, MICHELLE       NJ - Superior Court - Atlantic County      ATL-001759-18         ROSS FELLER CASEY, LLP
MANN, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-12028         ROSS FELLER CASEY, LLP
MANSFIELD, STEPHANIE      NJ - USDC for the District of New Jersey   3:17-cv-05114         ROSS FELLER CASEY, LLP
MARINACE, JESSICA         NJ - USDC for the District of New Jersey   3:18-cv-11882         ROSS FELLER CASEY, LLP
MARRON, MARIA             CA - Superior Court - Los Angeles County   BC705965              ROSS FELLER CASEY, LLP
MARTIN, DAWN              NJ - Superior Court - Atlantic County      ATL-L-1818-16         ROSS FELLER CASEY, LLP
MARTIN, JOEANN            NJ - USDC for the District of New Jersey   3:17-cv-13320         ROSS FELLER CASEY, LLP
MARTIN, WANDA             NJ - USDC for the District of New Jersey   3:18-cv-00146         ROSS FELLER CASEY, LLP
MAYSON, GLADYS            NJ - USDC for the District of New Jersey   3:18-cv-03476         ROSS FELLER CASEY, LLP
MCALEXANDER, ALICE        NJ - USDC for the District of New Jersey   3:17-cv-05342         ROSS FELLER CASEY, LLP
MCGIBBONEY, BRENDA        NJ - USDC for the District of New Jersey   3:19-cv-15370         ROSS FELLER CASEY, LLP
MCINTYRE, DARETHA         NJ - USDC for the District of New Jersey   3:19-cv-18009         ROSS FELLER CASEY, LLP
                          PA - Philadelphia County Court of Common
MCKELLEY, DOMINQUE                                                   200500385             ROSS FELLER CASEY, LLP
                          Pleas
MCLAUGHLIN, MANDY         NJ - Superior Court - Atlantic County      ATL-L-1208-16         ROSS FELLER CASEY, LLP




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
MCNESBY, JEANNINE         NJ - Superior Court - Atlantic County      ATL-L-001464-20       ROSS FELLER CASEY, LLP
MILLER, DENISE            NJ - USDC for the District of New Jersey   3:17-cv-04902         ROSS FELLER CASEY, LLP
MILLIKEN, MAUREEN         NJ - USDC for the District of New Jersey   3:16-cv-06693         ROSS FELLER CASEY, LLP
MIRCHANDANI, RAJINI       NJ - USDC for the District of New Jersey   3:18-cv-04366         ROSS FELLER CASEY, LLP
MONTOSA, SYLVIA           CA - Superior Court - Los Angeles County   BC703746              ROSS FELLER CASEY, LLP
MOORE, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-06564         ROSS FELLER CASEY, LLP
MORAR, STEPHANIE          NJ - USDC for the District of New Jersey   3:19-cv-00686         ROSS FELLER CASEY, LLP
MUCCI, KIM                NJ - USDC for the District of New Jersey   3:18-cv-10494         ROSS FELLER CASEY, LLP
NEWTON, BARBARA           NJ - USDC for the District of New Jersey   3:18-cv-12748         ROSS FELLER CASEY, LLP
NEY, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-04572         ROSS FELLER CASEY, LLP
NICASTRO, TAMMY           NJ - USDC for the District of New Jersey   3:19-cv-17915         ROSS FELLER CASEY, LLP
NIEDZWIECKI, CHERYL       NJ - Superior Court - Atlantic County      ATL-L-664-17          ROSS FELLER CASEY, LLP
NORTON, REBECCA           NJ - USDC for the District of New Jersey   3:17-cv-04300         ROSS FELLER CASEY, LLP
NOWINSKI, BARBARA         CA - Superior Court - Los Angeles County   BC688228              ROSS FELLER CASEY, LLP
OCONNOR, ADA              NJ - Superior Court - Atlantic County      ATL-L-000691-20       ROSS FELLER CASEY, LLP
OGLE, LISA                NJ - USDC for the District of New Jersey   3:18-cv-09094         ROSS FELLER CASEY, LLP
OMALLEY, BONNIE           NJ - USDC for the District of New Jersey   3:19-cv-10017         ROSS FELLER CASEY, LLP
ONEILL, DIANA             NJ - Superior Court - Atlantic County      ATL-L-002813-18       ROSS FELLER CASEY, LLP
ONEILL, KATHRYN           NJ - Superior Court - Atlantic County      ATL-L-001462-20       ROSS FELLER CASEY, LLP
OROVET, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-06559         ROSS FELLER CASEY, LLP
PACKER, VICTORIA          NJ - USDC for the District of New Jersey   3:18-cv-00802         ROSS FELLER CASEY, LLP
PALNICK, IRENE            NJ - USDC for the District of New Jersey   3:19-cv-17918         ROSS FELLER CASEY, LLP
PALUMBO, ROSEANN          NJ - Superior Court - Atlantic County      ATL-L-000212-19       ROSS FELLER CASEY, LLP
PARTON, GLORIA            NJ - USDC for the District of New Jersey   3:17-cv-02174         ROSS FELLER CASEY, LLP
PEARSON, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-08289         ROSS FELLER CASEY, LLP
PERKINS, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-02371         ROSS FELLER CASEY, LLP
PERRY, LORI               NJ - USDC for the District of New Jersey   3:21-cv-13728         ROSS FELLER CASEY, LLP
PETRONE, MARY             NJ - Superior Court - Atlantic County      ATL-L-2635-L          ROSS FELLER CASEY, LLP
PETTY, NANCY              NJ - USDC for the District of New Jersey   3:19-cv-09376         ROSS FELLER CASEY, LLP
PIPER, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-08490         ROSS FELLER CASEY, LLP
PLEMONS, DOROTHY          NJ - USDC for the District of New Jersey   3:17-cv-13235         ROSS FELLER CASEY, LLP
PONGRACZ-BARTHA, ERICKA   CA - Superior Court - Los Angeles County   BC704115              ROSS FELLER CASEY, LLP
PREBLE, STACY             NJ - USDC for the District of New Jersey   3:19-cv-14200         ROSS FELLER CASEY, LLP
PUTZ, CHRISTINE           NJ - USDC for the District of New Jersey   3:17-cv-11697         ROSS FELLER CASEY, LLP
RAMDEEN, TESSA            NJ - Superior Court - Atlantic County      ATL-L-002952-18       ROSS FELLER CASEY, LLP
RECIGNO, GLORIA           NJ - Superior Court - Atlantic County      ATL-L-2634-L          ROSS FELLER CASEY, LLP
RIDENOUR, DOROTHA         NJ - USDC for the District of New Jersey   3:18-cv-04367         ROSS FELLER CASEY, LLP
RINEHART, VICKIE          NJ - USDC for the District of New Jersey   3:18-cv-11455         ROSS FELLER CASEY, LLP
RIVERA, MARTHA            NJ - USDC for the District of New Jersey   3:18-cv-10491         ROSS FELLER CASEY, LLP
ROBINSON, JOAN            NJ - Superior Court - Atlantic County      ATL-L-000353-18       ROSS FELLER CASEY, LLP
ROBINSON, OZELLA          NJ - USDC for the District of New Jersey   3:17-cv-02370         ROSS FELLER CASEY, LLP
ROCCO, ARLYN              NJ - USDC for the District of New Jersey   3:18-cv-02735         ROSS FELLER CASEY, LLP
ROMERO, JACKIE            NJ - USDC for the District of New Jersey   3:19-cv-07392         ROSS FELLER CASEY, LLP
ROSSER, BRENDA            NJ - USDC for the District of New Jersey   3:17-cv-13072         ROSS FELLER CASEY, LLP
ROSSOW, CHERYL            NJ - USDC for the District of New Jersey   3:18-cv-11998         ROSS FELLER CASEY, LLP
RUPP, JUDY                NJ - USDC for the District of New Jersey   3:17-cv-07421         ROSS FELLER CASEY, LLP
RUSSO, GEORGIANNA         NJ - USDC for the District of New Jersey   3:17-cv-09055         ROSS FELLER CASEY, LLP
SAARI, PAMELA             NJ - USDC for the District of New Jersey   3:18-cv-01500         ROSS FELLER CASEY, LLP
SANDOVAL, MARIA           NJ - USDC for the District of New Jersey   3:16-cv-08961         ROSS FELLER CASEY, LLP
SAUNDERS, WILMA           NJ - USDC for the District of New Jersey   3:17-cv-04164         ROSS FELLER CASEY, LLP
SCHIRMER, ESTHER          NJ - USDC for the District of New Jersey   3:16-cv-08967         ROSS FELLER CASEY, LLP
SCROOGINS, NANCY          NJ - Superior Court - Atlantic County      ATL-L-1668-16         ROSS FELLER CASEY, LLP
SEXTON-RUSSELL, PAMELA    NJ - USDC for the District of New Jersey   3:17-cv-13317         ROSS FELLER CASEY, LLP
SHENSKY, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-12748         ROSS FELLER CASEY, LLP
SHOTTER, DIANE            NJ - USDC for the District of New Jersey   3:18-cv-00915         ROSS FELLER CASEY, LLP
SHROCK, CHEREE            NJ - USDC for the District of New Jersey   3:18-cv-12756         ROSS FELLER CASEY, LLP
SIEGAL, ELAINE            NJ - USDC for the District of New Jersey   3:19-cv-06579         ROSS FELLER CASEY, LLP
SIMEONE, DONNA            NJ - USDC for the District of New Jersey   3:17-cv-05872         ROSS FELLER CASEY, LLP
SIMONETI, STYLIANA        NJ - USDC for the District of New Jersey   3:18-cv-00805         ROSS FELLER CASEY, LLP
SISKO, TINA               NJ - USDC for the District of New Jersey   3:17-cv-01643         ROSS FELLER CASEY, LLP
SITAL, EMILY              NJ - USDC for the District of New Jersey   3:18-cv-09703         ROSS FELLER CASEY, LLP
SLINGERLAND, MAKIKO       NJ - USDC for the District of New Jersey   3:17-cv-05137         ROSS FELLER CASEY, LLP
SLOAN, VERONICA           NJ - USDC for the District of New Jersey   3:18-cv-11873         ROSS FELLER CASEY, LLP
SMITH, GLORIA             NJ - USDC for the District of New Jersey   3:18-cv-11999         ROSS FELLER CASEY, LLP
SMITH, PHYLLIS            NJ - USDC for the District of New Jersey   3:18-cv-05556         ROSS FELLER CASEY, LLP
SOUTHCOTT, BONNIE         NJ - USDC for the District of New Jersey   3:19-cv-06792         ROSS FELLER CASEY, LLP
STAFFORD, NANCY           NJ - USDC for the District of New Jersey   3:17-cv-05620         ROSS FELLER CASEY, LLP
STANDING, BARBARA         NJ - USDC for the District of New Jersey   3:18-cv-10497         ROSS FELLER CASEY, LLP
STEVENS, MARGARET         NJ - USDC for the District of New Jersey   3:19-cv-15730         ROSS FELLER CASEY, LLP
STEVENS, ULLA             NJ - USDC for the District of New Jersey   3:18-cv-00801         ROSS FELLER CASEY, LLP
STILLWAGGON, CHRISTINA    NJ - USDC for the District of New Jersey   3:17-cv-05307         ROSS FELLER CASEY, LLP
STINNETT, CLARA           NJ - USDC for the District of New Jersey   3:17-cv-12937         ROSS FELLER CASEY, LLP
STRONG, JULIANNE          NJ - USDC for the District of New Jersey   3:19-cv-17746         ROSS FELLER CASEY, LLP
TAYLOR, GWENDOLYN         NJ - USDC for the District of New Jersey   3:17-cv-13197         ROSS FELLER CASEY, LLP
TAYLOR, LAURA             NJ - USDC for the District of New Jersey   3:19-cv-07413         ROSS FELLER CASEY, LLP
THOMAS, DIANNE            NJ - USDC for the District of New Jersey   3:17-cv-06608         ROSS FELLER CASEY, LLP
TRIGNANI, CAROLE          NJ - USDC for the District of New Jersey   3:19-cv-15671         ROSS FELLER CASEY, LLP
TUCKER-WALTERS, ANDRA     NJ - USDC for the District of New Jersey   3:17-cv-07863         ROSS FELLER CASEY, LLP
TYLER, CHRISTY            NJ - USDC for the District of New Jersey   3:18-cv-03365         ROSS FELLER CASEY, LLP
TYLER, MINNIE             NJ - USDC for the District of New Jersey   3:17-cv-03182         ROSS FELLER CASEY, LLP




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          Claimant Name                   State Filed                       Docket Number                    Plaintiff Counsel
WATERS, ELIZABETH         NJ - USDC for the District of New Jersey    3:18-cv-12821             ROSS FELLER CASEY, LLP
WATTS, LAURA              NJ - USDC for the District of New Jersey    3:18-cv-01502             ROSS FELLER CASEY, LLP
WELCH, TONYA              NJ - USDC for the District of New Jersey    3:17-cv-03139             ROSS FELLER CASEY, LLP
WHITCOME, JESSICA         NJ - USDC for the District of New Jersey    3:20-cv-13616             ROSS FELLER CASEY, LLP
WHITE, NINA               NJ - USDC for the District of New Jersey    3:17-cv-10197             ROSS FELLER CASEY, LLP
WILLIAMS, ANGELA          NJ - Superior Court - Atlantic County       ATL-L-1080-16             ROSS FELLER CASEY, LLP
WILLIAMS, IDA             NJ - USDC for the District of New Jersey    3:16-cv-09101             ROSS FELLER CASEY, LLP
WITTIG, EVELYN            NJ - USDC for the District of New Jersey    3:18-cv-05693             ROSS FELLER CASEY, LLP
WOHLERS, JEANNE           NJ - USDC for the District of New Jersey    3:17-cv-05453             ROSS FELLER CASEY, LLP
ZABELLE, SANDRA           NJ - USDC for the District of New Jersey    3:20-cv-14047             ROSS FELLER CASEY, LLP
ZIMBARDI, SHERRY          CA - Superior Court - Los Angeles County    BC697579                  ROSS FELLER CASEY, LLP
BOYCE, JOANN              NJ - USDC for the District of New Jersey    3:17-cv-08259             ROSS LAW OFFICES, P.C
EATON, NANCY              NJ - USDC for the District of New Jersey    3:20-cv-00499             ROSS LAW OFFICES, P.C
KARAHALIS, PENELOPE       NJ - USDC for the District of New Jersey    3:20-cv-04994             ROSS LAW OFFICES, P.C
KELLEY, ELLA              NJ - USDC for the District of New Jersey    3:20-cv-05737             ROSS LAW OFFICES, P.C
SUONPERA, CYNTHIA         NJ - USDC for the District of New Jersey    3:19-cv-18393             ROSS LAW OFFICES, P.C
COAKLEY, DARLENE          NJ - USDC for the District of New Jersey    3:19-cv-00022             ROURKE AND BLUMENTHAL, LLP
AHLBIN, DIANA             CA - Superior Court - Sacramento County     34-2017-00221540          SALKOW LAW, APC
ALTRINGER, REBECCA        CA - Superior Court - Los Angeles County    BC681837                  SALKOW LAW, APC
                                                                      30-2017-00950561-CU-PL-
BARRETTE, DIANE           CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
BERDUE, DARLENE           CA - Superior Court - Solano County         FCS049856                 SALKOW LAW, APC
                                                                      30-2017-00952945-CU-PL-
CASTRO, KERIJANE          CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
COOK, KYNDA               CA - Superior Court - Los Angeles County    BC681547                  SALKOW LAW, APC
DELGADO, REBECCA          CA - Superior Court - Los Angeles County    BC681839                  SALKOW LAW, APC
                                                                      30-2017-00952889-CU-PL-
FAHIMI, SOLMAZ            CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
FITZHUGH, ANTONIA         CA - Superior Court - Los Angeles County    BC681548                  SALKOW LAW, APC
FRAUSTO, BEATRIZ          CA - Superior Court - Los Angeles County    BC681549                  SALKOW LAW, APC
FRIEND, DARLENE           CA - Superior Court - San Benito            CU-17-00162               SALKOW LAW, APC
                                                                      30-2017-00952930-CU-PL-
GRIJALVA, LAUREN          CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
HARGROVE, TONI            CA - Superior Court - San Diego County      37-2017-41678-CU-PL-CTL   SALKOW LAW, APC
HOLMES, MERIDITH          CA - Superior Court - Alameda County        HG-17-880973              SALKOW LAW, APC
HOWARD, BERTHA            CA - Superior Court - Alameda County        HG-17-880966              SALKOW LAW, APC
ITURRERIA, SUSAN          CA - Superior Court - Sacramento County     34-2017-00221535          SALKOW LAW, APC
JACQUEZ, NANCY            CA - Superior Court - Los Angeles County    BC681550                  SALKOW LAW, APC
JOHNSON, CONSTANCE        CA - Superior Court - Contra Costa County   C17-02413                 SALKOW LAW, APC
JONES, MONA               CA - Superior Court - Los Angeles County    BC681836                  SALKOW LAW, APC
                                                                      30-2017-00953308-CU-PL-
KERP, SUSAN               CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
LANGLEY, LISA             CA - Superior Court - San Bernardino County CIVDS 1721621             SALKOW LAW, APC
LAVENDER, KAREN           CA - Superior Court - Sonoma County         SCV-261471                SALKOW LAW, APC
MADDEN, KAREEN            CA - Superior Court - San Diego County      37-2017-41757-CU-PL-CTL   SALKOW LAW, APC
                                                                      56-2017-00503557-CU-PL-
MAITLAND, ELOISE          CA - Superior Court - Ventura County                                  SALKOW LAW, APC
                                                                      VTA
MCLEAN, JILL              CA - Superior Court - Contra Costa County   MSC17-02144               SALKOW LAW, APC
MEIER, CYNTHIA            CA - Superior Court - Sacramento County     34-2017-00221571          SALKOW LAW, APC
                                                                      30-2017-00952776-CU-PL-
MILLER, ROBIN             CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
NATTRESS, INGE            CA - Superior Court - Sacramento County     34-2017-00221569          SALKOW LAW, APC
PAN, LILING               CA - Superior Court - Los Angeles County    BC681605                  SALKOW LAW, APC
POWELL, NANCY             CA - Superior Court - San Bernardino County CIVDS1721453              SALKOW LAW, APC
RANSOM, SHEILA            CA - Superior Court - San Diego County      37-2017-41733-CU-PL-CTL SALKOW LAW, APC
ROCKS, PAMELA             CA - Superior Court - Yuba County           CVPO-XX-XXXXXXX         SALKOW LAW, APC
SAN FILIPPO, SARAH        CA - Superior Court - Butte County          17CV03200               SALKOW LAW, APC
SILVA, RENEE              CA - Superior Court - San Joaquin County    STK-CV-UPL-2017-0011581 SALKOW LAW, APC
SIMMONS, CARRIE           CA - Superior Court - Shasta County         188587                    SALKOW LAW, APC
STEENS, LA RAYNE          CA - Superior Court - Sacramento County     34-2017-00221575          SALKOW LAW, APC
STOCKTON, TAMALYN         CA - Superior Court - Sonoma County         SCV261482                 SALKOW LAW, APC
TORIBIO, LEILANI          CA - Superior Court - Santa Clara County    17CV318681                SALKOW LAW, APC
VAI, STEPHANIE            CA - Superior Court - San Bernardino County CIVDS 1721471             SALKOW LAW, APC
VARR, LESLIE              CA - Superior Court - Santa Clara County    17CV318443                SALKOW LAW, APC
                                                                      30-2017-00952911-CU-PL-
WEDLICK-ORTIZ, ELLEN      CA - Superior Court - Orange County                                   SALKOW LAW, APC
                                                                      CXC
WOLF, SUSIE               CA - Superior Court - Monterrey County      17CV004012                SALKOW LAW, APC
ALLEN, JAMIE              NJ - USDC for the District of New Jersey    3:21-cv-03555             SALTZ MONGELUZZI & BENDESKY PC
ALVARADO, MARIA           NJ - USDC for the District of New Jersey    3:21-cv-15286             SALTZ MONGELUZZI & BENDESKY PC
BLAND, VICTORIA           NJ - USDC for the District of New Jersey    3:21-cv-13494             SALTZ MONGELUZZI & BENDESKY PC
BOWENS, SHARRITTA         NJ - USDC for the District of New Jersey    3:21-cv-06538             SALTZ MONGELUZZI & BENDESKY PC
BRUCE, CATHERINE          NJ - USDC for the District of New Jersey    3:21-cv-09558             SALTZ MONGELUZZI & BENDESKY PC
DEAR, JANICE              NJ - USDC for the District of New Jersey    3:21-cv-12069             SALTZ MONGELUZZI & BENDESKY PC
DIXON, TIMIKA             NJ - USDC for the District of New Jersey    3:21-cv-11593             SALTZ MONGELUZZI & BENDESKY PC
FABER, ARLENE             NJ - USDC for the District of New Jersey    3:21-cv-17297             SALTZ MONGELUZZI & BENDESKY PC
FIELDS, DONNA             NJ - USDC for the District of New Jersey    3:21-cv-14074             SALTZ MONGELUZZI & BENDESKY PC




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           Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
FRAZIER, SANDRA            NJ - USDC for the District of New Jersey   3:21-cv-01448         SALTZ MONGELUZZI & BENDESKY PC
GARNER, SHERLAND           NJ - USDC for the District of New Jersey   3:21-cv-15202         SALTZ MONGELUZZI & BENDESKY PC
GATLIN, TYRENA             NJ - USDC for the District of New Jersey   3:21-cv-09573         SALTZ MONGELUZZI & BENDESKY PC
GLADSON, SHARON            NJ - USDC for the District of New Jersey   3:21-cv-12787         SALTZ MONGELUZZI & BENDESKY PC
GRAZES, ALADREA            NJ - USDC for the District of New Jersey   3:21-cv-11637         SALTZ MONGELUZZI & BENDESKY PC
GRAZES, ALADREA            NJ - USDC for the District of New Jersey   3:21-cv-11637         SALTZ MONGELUZZI & BENDESKY PC
HAMM, CYNTHIA              NJ - USDC for the District of New Jersey   3:21-cv-09958         SALTZ MONGELUZZI & BENDESKY PC
HORNE, TAMMY               NJ - USDC for the District of New Jersey   3:21-cv-15337         SALTZ MONGELUZZI & BENDESKY PC
JACKSON, ALYSSIA           NJ - USDC for the District of New Jersey   3:21-cv-06664         SALTZ MONGELUZZI & BENDESKY PC
KAHL, JESSICA              NJ - USDC for the District of New Jersey   3:21-cv-12381         SALTZ MONGELUZZI & BENDESKY PC
KITCHEN, JOANNE            NJ - USDC for the District of New Jersey   3:21-cv-01425         SALTZ MONGELUZZI & BENDESKY PC
LUNA, NAYDA                NJ - USDC for the District of New Jersey   3:21-cv-11785         SALTZ MONGELUZZI & BENDESKY PC
MANESS, JORDAN             NJ - USDC for the District of New Jersey   3:21-cv-15197         SALTZ MONGELUZZI & BENDESKY PC
MCDANIEL, CORLA            NJ - USDC for the District of New Jersey   3:21-cv-17296         SALTZ MONGELUZZI & BENDESKY PC
METCALF-STEM, TINA         NJ - USDC for the District of New Jersey   3:21-cv-11776         SALTZ MONGELUZZI & BENDESKY PC
MOHEAD, CHRISTIANA         NJ - USDC for the District of New Jersey   3:21-cv-09599         SALTZ MONGELUZZI & BENDESKY PC
MULLINS, MONICA            NJ - USDC for the District of New Jersey   3:21-cv-04477         SALTZ MONGELUZZI & BENDESKY PC
NICHOLS, SHNISE            NJ - USDC for the District of New Jersey   3:21-cv-11591         SALTZ MONGELUZZI & BENDESKY PC
NOBLE, JOANNA              NJ - USDC for the District of New Jersey   3:21-cv-15545         SALTZ MONGELUZZI & BENDESKY PC
OLMOS, MARIA               NJ - USDC for the District of New Jersey   3:21-cv-15364         SALTZ MONGELUZZI & BENDESKY PC
ROCKWELL, TRACY            NJ - USDC for the District of New Jersey   3:21-cv-06549         SALTZ MONGELUZZI & BENDESKY PC
ROLLINGS, LEIGH-ANN        NJ - USDC for the District of New Jersey   3:21-cv-06575         SALTZ MONGELUZZI & BENDESKY PC
SHARPE, FLORENCE           NJ - USDC for the District of New Jersey   3:21-cv-17650         SALTZ MONGELUZZI & BENDESKY PC
SWANEY, ANNA               NJ - USDC for the District of New Jersey   3:21-cv-06635         SALTZ MONGELUZZI & BENDESKY PC
THOMAS, TANGLER            NJ - USDC for the District of New Jersey   3:21-cv-09611         SALTZ MONGELUZZI & BENDESKY PC
VILLEDA, ANA               NJ - USDC for the District of New Jersey   3:21-cv-12383         SALTZ MONGELUZZI & BENDESKY PC
YOUNG, SHERRY              NJ - USDC for the District of New Jersey   3:21-cv-10857         SALTZ MONGELUZZI & BENDESKY PC
BERRY, JANCY               NJ - USDC for the District of New Jersey   3:21-cv-03240         SALVI, SCHOSTOK & PRITCHARD P.C.
CONNOLLY, CAROL            IL - Circuit Court - Cook County           2019-L-11201          SALVI, SCHOSTOK & PRITCHARD P.C.
GLADKIN, GAYLE             NJ - USDC for the District of New Jersey   3:21-cv-10518         SALVI, SCHOSTOK & PRITCHARD P.C.
GRAY, DIANA                NJ - USDC for the District of New Jersey   3:21-cv-00441         SALVI, SCHOSTOK & PRITCHARD P.C.
JAGIER, MAUREEN            IL - Circuit Court - Cook County           2019 L 014033         SALVI, SCHOSTOK & PRITCHARD P.C.
KULLENS, JOCELYN           NJ - USDC for the District of New Jersey   3:20-cv-14201         SALVI, SCHOSTOK & PRITCHARD P.C.
LOFTUS, THERESE            IL - Circuit Court - Cook County           2020-L-4094           SALVI, SCHOSTOK & PRITCHARD P.C.
PHILLIPS, VALERIE          NJ - USDC for the District of New Jersey   3:20-cv-14520         SALVI, SCHOSTOK & PRITCHARD P.C.
WINNIG, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-08301         SALVI, SCHOSTOK & PRITCHARD P.C.
ABELLA, GEORGIANA          NJ - USDC for the District of New Jersey   3:18-cv-15477         SANDERS PHILLIPS GROSSMAN, LLC
BACCA, DEE                 NJ - USDC for the District of New Jersey   3:19-cv-14850         SANDERS PHILLIPS GROSSMAN, LLC
BANSEY, JASMINE            NJ - USDC for the District of New Jersey   3:19-cv-12466         SANDERS PHILLIPS GROSSMAN, LLC
BEAULIEU, JOYCE            NJ - USDC for the District of New Jersey   3:19-cv-00462         SANDERS PHILLIPS GROSSMAN, LLC
BELL, WINNETTE             NJ - USDC for the District of New Jersey   3:18-cv-15520         SANDERS PHILLIPS GROSSMAN, LLC
BERGER, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-09739         SANDERS PHILLIPS GROSSMAN, LLC
BUCOLO, MICHELE            NJ - USDC for the District of New Jersey   3:19-cv-06598         SANDERS PHILLIPS GROSSMAN, LLC
CAMPBELL, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-20832         SANDERS PHILLIPS GROSSMAN, LLC
COLE, DEMETRICE            NJ - USDC for the District of New Jersey   3:19-cv-19462         SANDERS PHILLIPS GROSSMAN, LLC
CONNOLLY, CAROL            IL - Circuit Court - Cook County           2019-L-11201          SANDERS PHILLIPS GROSSMAN, LLC
COOK, DONNA                NJ - USDC for the District of New Jersey   3:19-cv-13246         SANDERS PHILLIPS GROSSMAN, LLC
CRAWFORD, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-11352         SANDERS PHILLIPS GROSSMAN, LLC
CROW, ANGELA               NJ - USDC for the District of New Jersey   3:19-cv-12467         SANDERS PHILLIPS GROSSMAN, LLC
CRUMP, INEZ                NJ - USDC for the District of New Jersey   3:18-cv-16949         SANDERS PHILLIPS GROSSMAN, LLC
DAVIS, DEBRA               NJ - USDC for the District of New Jersey   3:21-cv-03713         SANDERS PHILLIPS GROSSMAN, LLC
DEXTER, ELIZABETH          NJ - USDC for the District of New Jersey   3:21-cv-05625         SANDERS PHILLIPS GROSSMAN, LLC
ECHEVARRIA, ALBA           NJ - USDC for the District of New Jersey   3:19-cv-14682         SANDERS PHILLIPS GROSSMAN, LLC
ECKER, VALERIE             NJ - Superior Court - Atlantic County      ATL-L-003436-20       SANDERS PHILLIPS GROSSMAN, LLC
EVERETT, DONNA             NJ - USDC for the District of New Jersey   3:21-cv-09600         SANDERS PHILLIPS GROSSMAN, LLC
FENLEY, MARY               NJ - USDC for the District of New Jersey   3:20-cv-13265         SANDERS PHILLIPS GROSSMAN, LLC
GENN, SHERI                NJ - USDC for the District of New Jersey   3:21-cv-04068         SANDERS PHILLIPS GROSSMAN, LLC
GOULD, TAYLOR              NJ - USDC for the District of New Jersey   3:19-cv-18688         SANDERS PHILLIPS GROSSMAN, LLC
GRAYSON, FREDDIE           NJ - USDC for the District of New Jersey   3:19-cv-18812         SANDERS PHILLIPS GROSSMAN, LLC
GRIZONT, POLINA            NJ - Superior Court - Atlantic County      ATL-L-003510-20       SANDERS PHILLIPS GROSSMAN, LLC
HEADD, SHELIA              NJ - USDC for the District of New Jersey   3:19-cv-19499         SANDERS PHILLIPS GROSSMAN, LLC
HENSLEY, JENNIFER          NJ - USDC for the District of New Jersey   3:19-cv-17698         SANDERS PHILLIPS GROSSMAN, LLC
HERNANDEZ, ALIDA           NJ - USDC for the District of New Jersey   3:19-cv-14846         SANDERS PHILLIPS GROSSMAN, LLC
HOMEYER, KELLI             NJ - USDC for the District of New Jersey   3:19-cv-19555         SANDERS PHILLIPS GROSSMAN, LLC
JAGIER, MAUREEN            IL - Circuit Court - Cook County           2019 L 014033         SANDERS PHILLIPS GROSSMAN, LLC
JAMES, LINDA               NJ - USDC for the District of New Jersey   3:19-cv-10434         SANDERS PHILLIPS GROSSMAN, LLC
JANKOWSKI, DIANE           NJ - Superior Court - Atlantic County      ATL-L-003117-20       SANDERS PHILLIPS GROSSMAN, LLC
JENKINS, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-03297         SANDERS PHILLIPS GROSSMAN, LLC
KAY-SANDERS, DARLENE       NJ - USDC for the District of New Jersey   3:18-cv-17133         SANDERS PHILLIPS GROSSMAN, LLC
KAZMAC, MELISSA            NJ - Superior Court - Atlantic County      L00239419             SANDERS PHILLIPS GROSSMAN, LLC
KELIIPIO, DONNA            NJ - USDC for the District of New Jersey   3:21-cv-11210         SANDERS PHILLIPS GROSSMAN, LLC
KHAN, JOLYNN               NJ - USDC for the District of New Jersey   3:19-cv-13621         SANDERS PHILLIPS GROSSMAN, LLC
KORNINEKO, VICTORIA        NJ - USDC for the District of New Jersey   3:19-cv-14672         SANDERS PHILLIPS GROSSMAN, LLC
LANHAM, LADONNA            NJ - USDC for the District of New Jersey   3:19-cv-14849         SANDERS PHILLIPS GROSSMAN, LLC
LINDBERG, CARMELA          NJ - USDC for the District of New Jersey   3:19-cv-13626         SANDERS PHILLIPS GROSSMAN, LLC
LOFTUS, THERESE            IL - Circuit Court - Cook County           2020-L-4094           SANDERS PHILLIPS GROSSMAN, LLC
LOPEZ, CAROL               NJ - USDC for the District of New Jersey   3:19-cv-19690         SANDERS PHILLIPS GROSSMAN, LLC
MATOS, WANDA               NJ - USDC for the District of New Jersey   3:19-cv-14697         SANDERS PHILLIPS GROSSMAN, LLC
MAYID, MARISSA             NJ - USDC for the District of New Jersey   3:19-cv-14678         SANDERS PHILLIPS GROSSMAN, LLC
MCCARTHY, GERALDINE        NJ - Superior Court - Atlantic County      ATL-L-002003-20       SANDERS PHILLIPS GROSSMAN, LLC




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           Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
MCKINNON, BELINDA           NJ - USDC for the District of New Jersey   3:19-cv-19199         SANDERS PHILLIPS GROSSMAN, LLC
MYERS, RHONDA               NJ - USDC for the District of New Jersey   3:19-cv-12587         SANDERS PHILLIPS GROSSMAN, LLC
NELSON, YVONNE              NJ - USDC for the District of New Jersey   3:19-cv-09274         SANDERS PHILLIPS GROSSMAN, LLC
NINI, BARBARA               NJ - Superior Court - Atlantic County      ATL-L-002261-19       SANDERS PHILLIPS GROSSMAN, LLC
OVERBY, CHARLOTTE           NJ - USDC for the District of New Jersey   3:19-cv-20929         SANDERS PHILLIPS GROSSMAN, LLC
OVITT, SANDRA               NJ - USDC for the District of New Jersey   3:19-cv-19249         SANDERS PHILLIPS GROSSMAN, LLC
PARKER, JAMI                NJ - USDC for the District of New Jersey   3:20-cv-03684         SANDERS PHILLIPS GROSSMAN, LLC
PECK, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-14852         SANDERS PHILLIPS GROSSMAN, LLC
PEREZ, LUCILLE              NJ - USDC for the District of New Jersey   3:19-cv-12485         SANDERS PHILLIPS GROSSMAN, LLC
PULVER, BETTY               NJ - USDC for the District of New Jersey   3:19-cv-15178         SANDERS PHILLIPS GROSSMAN, LLC
QUINONES, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-15185         SANDERS PHILLIPS GROSSMAN, LLC
RATHBURN-HUTCHENS, LORI     NJ - USDC for the District of New Jersey   3:19-cv-19257         SANDERS PHILLIPS GROSSMAN, LLC
RAVILIOUS, IRENE            NJ - USDC for the District of New Jersey   3:19-cv-12913         SANDERS PHILLIPS GROSSMAN, LLC
REESE, TERESA               NJ - USDC for the District of New Jersey   3:19-cv-14855         SANDERS PHILLIPS GROSSMAN, LLC
ROBERTS, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-13644         SANDERS PHILLIPS GROSSMAN, LLC
RUDEN, XIANGYI              NJ - USDC for the District of New Jersey   3:21-cv-02875         SANDERS PHILLIPS GROSSMAN, LLC
SADDLER-PHILLIBERT, SONIA   NJ - USDC for the District of New Jersey   3:20-cv-02577         SANDERS PHILLIPS GROSSMAN, LLC
SCHENCK, MARILYN            NJ - Superior Court - Atlantic County      ATL-L-001934-20       SANDERS PHILLIPS GROSSMAN, LLC
SCHROEDER, MEREDITH         NJ - USDC for the District of New Jersey   3:19-cv-14856         SANDERS PHILLIPS GROSSMAN, LLC
SHORT, TINA                 NJ - USDC for the District of New Jersey   3:18-cv-15518         SANDERS PHILLIPS GROSSMAN, LLC
SILPATH, KIMBERLY           NJ - Superior Court - Atlantic County      L00239519             SANDERS PHILLIPS GROSSMAN, LLC
SMITH, SUSAN                NJ - USDC for the District of New Jersey   3:19-cv-12902         SANDERS PHILLIPS GROSSMAN, LLC
SOUSS, ROSE                 NJ - USDC for the District of New Jersey   3:19-cv-12895         SANDERS PHILLIPS GROSSMAN, LLC
SUMMERS, MICHELLE           NJ - USDC for the District of New Jersey   3:19-cv-20001         SANDERS PHILLIPS GROSSMAN, LLC
SUNDERMAN, SHERRI           NJ - USDC for the District of New Jersey   3:19-cv-14848         SANDERS PHILLIPS GROSSMAN, LLC
TAYLOR, DOREEN              NJ - USDC for the District of New Jersey   3:19-cv-00458         SANDERS PHILLIPS GROSSMAN, LLC
TEDOFF, CAROL               NJ - USDC for the District of New Jersey   3:20-cv-02776         SANDERS PHILLIPS GROSSMAN, LLC
TLUSTY, GRACE               NJ - Superior Court - Atlantic County      ATL-L-002238-19       SANDERS PHILLIPS GROSSMAN, LLC
TOVAR-BUSTOS, ISABEL        NJ - USDC for the District of New Jersey   3:19-cv-19332         SANDERS PHILLIPS GROSSMAN, LLC
VINCENT, BEVERLY            NJ - USDC for the District of New Jersey   3:19-cv-12463         SANDERS PHILLIPS GROSSMAN, LLC
WEED, CLORINDA              NJ - USDC for the District of New Jersey   3:18-cv-17121         SANDERS PHILLIPS GROSSMAN, LLC
YOUNG, SHARON               NJ - USDC for the District of New Jersey   3:19-cv-19202         SANDERS PHILLIPS GROSSMAN, LLC
YUSUF, APRIL                NJ - USDC for the District of New Jersey   3:20-cv-12646         SANDERS PHILLIPS GROSSMAN, LLC
ADAMS, BEVERLY              NJ - USDC for the District of New Jersey   3:18-cv-10366         SANDERS VIENER GROSSMAN, LLP
ADERIBOLE, OMOBONIKE        NJ - USDC for the District of New Jersey   3:18-cv-10168         SANDERS VIENER GROSSMAN, LLP
ALEXANDER, DEEDRA           NJ - USDC for the District of New Jersey   3:17-cv-12472         SANDERS VIENER GROSSMAN, LLP
ALLEN, VIRGINIA             NJ - USDC for the District of New Jersey   3:18-cv-08458         SANDERS VIENER GROSSMAN, LLP
BOGGS, KRISTINA             NJ - USDC for the District of New Jersey   3:18-cv-11376         SANDERS VIENER GROSSMAN, LLP
BOWMAN, JAN                 NJ - USDC for the District of New Jersey   3:18-cv-09329         SANDERS VIENER GROSSMAN, LLP
BROGNA, CARMEN              NJ - USDC for the District of New Jersey   3:18-cv-09897         SANDERS VIENER GROSSMAN, LLP
BURGETT, ELKE               NJ - USDC for the District of New Jersey   3:18-cv-08473         SANDERS VIENER GROSSMAN, LLP
BUSHMAN, CHARLENE           NJ - USDC for the District of New Jersey   3:18-cv-09341         SANDERS VIENER GROSSMAN, LLP
CAGLE, THERESA              NJ - USDC for the District of New Jersey   3:18-cv-08464         SANDERS VIENER GROSSMAN, LLP
CAMP, BARBARA               NJ - USDC for the District of New Jersey   3:18-cv-10663         SANDERS VIENER GROSSMAN, LLP
CIPOLLA, LUCIA              NJ - USDC for the District of New Jersey   3:18-cv-12425         SANDERS VIENER GROSSMAN, LLP
CLARK, JANICE               NJ - USDC for the District of New Jersey   3:18-cv-11361         SANDERS VIENER GROSSMAN, LLP
CLARK, ROSEMARIE            NJ - USDC for the District of New Jersey   3:18-cv-10924         SANDERS VIENER GROSSMAN, LLP
COMPSON, DARCY              NJ - USDC for the District of New Jersey   3:18-cv-09514         SANDERS VIENER GROSSMAN, LLP
CORCORAN, JOSEPHINE         NJ - USDC for the District of New Jersey   3:18-cv-10649         SANDERS VIENER GROSSMAN, LLP
CRANFORD, LISA              NJ - USDC for the District of New Jersey   3:18-cv-12600         SANDERS VIENER GROSSMAN, LLP
CULLEN, VALERIE             NJ - USDC for the District of New Jersey   3:18-cv-09456         SANDERS VIENER GROSSMAN, LLP
DAVIS, CHANNING             NJ - USDC for the District of New Jersey   3:18-cv-09165         SANDERS VIENER GROSSMAN, LLP
DELEON, MARISA              NJ - USDC for the District of New Jersey   3:18-cv-09884         SANDERS VIENER GROSSMAN, LLP
DEVRIES, JEANETTA           NJ - USDC for the District of New Jersey   3:18-cv-11393         SANDERS VIENER GROSSMAN, LLP
DUDEK, THERESA              NJ - USDC for the District of New Jersey   3:18-cv-11781         SANDERS VIENER GROSSMAN, LLP
EPIFANE, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-10546         SANDERS VIENER GROSSMAN, LLP
EVANS, KATHY                NJ - USDC for the District of New Jersey   3:18-cv-10250         SANDERS VIENER GROSSMAN, LLP
EVERS, ANNETTE              NJ - USDC for the District of New Jersey   3:18-cv-11396         SANDERS VIENER GROSSMAN, LLP
FERGUSON, DIANE             NJ - USDC for the District of New Jersey   3:18-cv-09523         SANDERS VIENER GROSSMAN, LLP
FILIPASIC, LYDIA            NJ - USDC for the District of New Jersey   3:18-cv-10564         SANDERS VIENER GROSSMAN, LLP
FISHER, MICHELE             NJ - USDC for the District of New Jersey   3:18-cv-10743         SANDERS VIENER GROSSMAN, LLP
FODERA, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-09271         SANDERS VIENER GROSSMAN, LLP
GARCIA, MINERVA             NJ - USDC for the District of New Jersey   3:18-cv-10542         SANDERS VIENER GROSSMAN, LLP
GOLDEN, HELEN               NJ - USDC for the District of New Jersey   3:18-cv-08895         SANDERS VIENER GROSSMAN, LLP
GONZALEZ, LUCILLE           NJ - USDC for the District of New Jersey   3:18-cv-11824         SANDERS VIENER GROSSMAN, LLP
HADDOX, JEAN                NJ - USDC for the District of New Jersey   3:18-cv-15072         SANDERS VIENER GROSSMAN, LLP
HALL, YVONNE                NJ - USDC for the District of New Jersey   3:18-cv-09453         SANDERS VIENER GROSSMAN, LLP
HARRELL, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-10051         SANDERS VIENER GROSSMAN, LLP
HARRIS, TIFFANI             NJ - USDC for the District of New Jersey   3:18-cv-10698         SANDERS VIENER GROSSMAN, LLP
HELM, GLORIA                NJ - USDC for the District of New Jersey   3:18-cv-08902         SANDERS VIENER GROSSMAN, LLP
HERBERT, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-11338         SANDERS VIENER GROSSMAN, LLP
HIBBLER, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-09280         SANDERS VIENER GROSSMAN, LLP
HOUSTON, EUNICE             NJ - USDC for the District of New Jersey   3:18-cv-10254         SANDERS VIENER GROSSMAN, LLP
JERNIGAN, GAIL              NJ - USDC for the District of New Jersey   3:18-cv-10265         SANDERS VIENER GROSSMAN, LLP
JOHANSON, MARY              NJ - USDC for the District of New Jersey   3:18-cv-12317         SANDERS VIENER GROSSMAN, LLP
JOHNSON, AMANDA             NJ - USDC for the District of New Jersey   3:18-cv-08409         SANDERS VIENER GROSSMAN, LLP
JOHNSON, KELLY              NJ - USDC for the District of New Jersey   3:18-cv-08682         SANDERS VIENER GROSSMAN, LLP
JOHNSON, TERRI              NJ - USDC for the District of New Jersey   3:18-cv-08418         SANDERS VIENER GROSSMAN, LLP
JONES, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-11811         SANDERS VIENER GROSSMAN, LLP
KAISER, DEBRA               NJ - USDC for the District of New Jersey   3:18-cv-10373         SANDERS VIENER GROSSMAN, LLP




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
KIRBY, CHERYL             NJ - USDC for the District of New Jersey   3:18-cv-15083         SANDERS VIENER GROSSMAN, LLP
KLINE, BRENDA             NJ - USDC for the District of New Jersey   3:18-cv-15009         SANDERS VIENER GROSSMAN, LLP
KUCIJA, PEGGY             NJ - USDC for the District of New Jersey   3:18-cv-15339         SANDERS VIENER GROSSMAN, LLP
KURETZKAMP, KAREN         NJ - USDC for the District of New Jersey   3:18-cv-03167         SANDERS VIENER GROSSMAN, LLP
LARSON, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-08400         SANDERS VIENER GROSSMAN, LLP
LEDERMANN, TRACY          NJ - USDC for the District of New Jersey   3:18-cv-09174         SANDERS VIENER GROSSMAN, LLP
LEWIS, MARY               NJ - USDC for the District of New Jersey   3:18-cv-09532         SANDERS VIENER GROSSMAN, LLP
LOEHR, MICHELLE           NJ - USDC for the District of New Jersey   3:18-cv-08900         SANDERS VIENER GROSSMAN, LLP
MAHINSKE, JANICE          NJ - USDC for the District of New Jersey   3:18-cv-08658         SANDERS VIENER GROSSMAN, LLP
MANNING, PHYLLIS          NJ - USDC for the District of New Jersey   3:18-cv-09384         SANDERS VIENER GROSSMAN, LLP
MARTINEZ, ESTHER          NJ - USDC for the District of New Jersey   3:18-cv-09841         SANDERS VIENER GROSSMAN, LLP
MCKEOWN, ELAINE           NJ - USDC for the District of New Jersey   3:18-cv-12622         SANDERS VIENER GROSSMAN, LLP
MCWHORTER, MADGE          NJ - USDC for the District of New Jersey   3:18-cv-10769         SANDERS VIENER GROSSMAN, LLP
MILLS, CATHY              NJ - USDC for the District of New Jersey   3:18-cv-11128         SANDERS VIENER GROSSMAN, LLP
MONTIE, PATRICIA          NJ - USDC for the District of New Jersey   3:18-cv-10405         SANDERS VIENER GROSSMAN, LLP
NEALON, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-09878         SANDERS VIENER GROSSMAN, LLP
NEWSOME, VELMA            NJ - Superior Court - Atlantic County      ATL-L-000982-18       SANDERS VIENER GROSSMAN, LLP
ONEAL, HAZEL              NJ - USDC for the District of New Jersey   3:18-cv-09817         SANDERS VIENER GROSSMAN, LLP
OSTROFF, MICHELE          NJ - USDC for the District of New Jersey   3:18-cv-09448         SANDERS VIENER GROSSMAN, LLP
OTTENS, CHANTELLE         NJ - USDC for the District of New Jersey   3:18-cv-09168         SANDERS VIENER GROSSMAN, LLP
PAGE, TAMARA              NJ - USDC for the District of New Jersey   3:18-cv-09385         SANDERS VIENER GROSSMAN, LLP
PARKER, JULIE             NJ - USDC for the District of New Jersey   3:18-cv-15359         SANDERS VIENER GROSSMAN, LLP
PERRY, JULIETTE           NJ - USDC for the District of New Jersey   3:18-cv-08277         SANDERS VIENER GROSSMAN, LLP
PERRY, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-15027         SANDERS VIENER GROSSMAN, LLP
PIFER, DIANE              NJ - USDC for the District of New Jersey   3:18-cv-09819         SANDERS VIENER GROSSMAN, LLP
POLTO, TARA               NJ - USDC for the District of New Jersey   3:18-cv-09019         SANDERS VIENER GROSSMAN, LLP
RADENHAUSEN, LINDA        NJ - USDC for the District of New Jersey   3:18-cv-09902         SANDERS VIENER GROSSMAN, LLP
RAGIS, LOUISE             NJ - USDC for the District of New Jersey   3:18-cv-09282         SANDERS VIENER GROSSMAN, LLP
RAKIN, CORINNE            NJ - USDC for the District of New Jersey   3:18-cv-09162         SANDERS VIENER GROSSMAN, LLP
RISNER, SHANDA            NJ - USDC for the District of New Jersey   3:18-cv-11409         SANDERS VIENER GROSSMAN, LLP
ROCCO, CATHERINE          NJ - USDC for the District of New Jersey   3:18-cv-09574         SANDERS VIENER GROSSMAN, LLP
RODWELL, ALISA            NJ - USDC for the District of New Jersey   3:18-cv-08897         SANDERS VIENER GROSSMAN, LLP
ROGIENSKI, ARLENE         NJ - USDC for the District of New Jersey   3:18-cv-10261         SANDERS VIENER GROSSMAN, LLP
SABEL, MARGARET           NJ - USDC for the District of New Jersey   3:18-cv-09576         SANDERS VIENER GROSSMAN, LLP
SALAZAR, JANICE           NJ - USDC for the District of New Jersey   3:18-cv-10368         SANDERS VIENER GROSSMAN, LLP
SANCHEZ, MARINA           NJ - USDC for the District of New Jersey   3:18-cv-10198         SANDERS VIENER GROSSMAN, LLP
SCHOENTRUP, SABRINA       NJ - USDC for the District of New Jersey   3:18-cv-09823         SANDERS VIENER GROSSMAN, LLP
SKRAASTAD, MARY           NJ - USDC for the District of New Jersey   3:18-cv-10044         SANDERS VIENER GROSSMAN, LLP
STONE, RENEE              NJ - USDC for the District of New Jersey   3:18-cv-09834         SANDERS VIENER GROSSMAN, LLP
SUTTLE, LAURA             NJ - USDC for the District of New Jersey   3:18-cv-08663         SANDERS VIENER GROSSMAN, LLP
SWEENEY, CATHY            NJ - USDC for the District of New Jersey   3:18-cv-10208         SANDERS VIENER GROSSMAN, LLP
THEOLOGOU, BARBARA        NJ - USDC for the District of New Jersey   3:18-cv-10270         SANDERS VIENER GROSSMAN, LLP
THOMAS-TILLMAN, SYNTHIA   NJ - USDC for the District of New Jersey   3:18-cv-08403         SANDERS VIENER GROSSMAN, LLP
THOMPSON, CAROL           NJ - USDC for the District of New Jersey   3:18-cv-08304         SANDERS VIENER GROSSMAN, LLP
TORRES, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-08965         SANDERS VIENER GROSSMAN, LLP
VAUGHN, STEPHANIE         NJ - USDC for the District of New Jersey   3:18-cv-14749         SANDERS VIENER GROSSMAN, LLP
VICKERY, KIMMIE           NJ - USDC for the District of New Jersey   3:18-cv-09577         SANDERS VIENER GROSSMAN, LLP
WALTERS, AKIKO            NJ - USDC for the District of New Jersey   3:18-cv-10458         SANDERS VIENER GROSSMAN, LLP
WARREN, LEE               NJ - USDC for the District of New Jersey   3:18-cv-04981         SANDERS VIENER GROSSMAN, LLP
WHELESS, DARLEEN          NJ - USDC for the District of New Jersey   3:18-cv-11369         SANDERS VIENER GROSSMAN, LLP
WHITE, RITA               NJ - USDC for the District of New Jersey   3:18-cv-09527         SANDERS VIENER GROSSMAN, LLP
WILDER, LUBERTHA          NJ - USDC for the District of New Jersey   3:18-cv-10360         SANDERS VIENER GROSSMAN, LLP
WILLIAMS, CRYSTAL         NJ - USDC for the District of New Jersey   3:18-cv-09407         SANDERS VIENER GROSSMAN, LLP
WILLIAMS, JULIE           NJ - USDC for the District of New Jersey   3:18-cv-10379         SANDERS VIENER GROSSMAN, LLP
WILLIAMS, RENEE           NJ - USDC for the District of New Jersey   3:18-cv-10398         SANDERS VIENER GROSSMAN, LLP
WILLIAMSON, SUE           NJ - USDC for the District of New Jersey   3:18-cv-09339         SANDERS VIENER GROSSMAN, LLP
WILLS, ADDIE              NJ - USDC for the District of New Jersey   3:18-cv-08275         SANDERS VIENER GROSSMAN, LLP
WILSON, BONNIE            NJ - USDC for the District of New Jersey   3:18-cv-08303         SANDERS VIENER GROSSMAN, LLP
YATES, MICHELLE           NJ - USDC for the District of New Jersey   3:18-cv-15410         SANDERS VIENER GROSSMAN, LLP
EIDSON, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-02753         SANGISETTY LAW FIRM, LLC
ELLIS, VERNA              NJ - USDC for the District of New Jersey   3:17-cv-02866         SANGISETTY LAW FIRM, LLC
HENNEBERRY, VIRGINIA      NJ - USDC for the District of New Jersey   3:19-cv-17007         SANGISETTY LAW FIRM, LLC
KEARNEY, SHIRLEY          NJ - USDC for the District of New Jersey   3:17-cv-02865         SANGISETTY LAW FIRM, LLC
SHABAN, L EUNA            NJ - USDC for the District of New Jersey   3:18-cv-13268         SANGISETTY LAW FIRM, LLC
SHERLOCK, TINA            NJ - USDC for the District of New Jersey   3:17-cv-02751         SANGISETTY LAW FIRM, LLC
HAYES, DONNA              KY - Circuit Court - Jefferson County      16-CI-03503           SATTERLEY & KELLEY
ALSTON, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-17534         SAUNDERS & WALKER, P.A
APPLEFIELD, SANDRA        NJ - USDC for the District of New Jersey   3:17-cv-03080         SAUNDERS & WALKER, P.A
CARROLL, ROSELYN          NJ - USDC for the District of New Jersey   3:18-cv-12750         SAUNDERS & WALKER, P.A
HESTRESS, PILAR           NJ - USDC for the District of New Jersey   3:17-cv-02384         SAUNDERS & WALKER, P.A
JEMKINS, BRIGETTE         NJ - USDC for the District of New Jersey   3:18-cv-12798         SAUNDERS & WALKER, P.A
MANGANO, ANNE             NJ - USDC for the District of New Jersey   3:20-cv-01776         SAUNDERS & WALKER, P.A
MAUPIN, CAROLYNN          NJ - USDC for the District of New Jersey   3:17-cv-10137         SAUNDERS & WALKER, P.A
SHINSKE, DIANA            NJ - USDC for the District of New Jersey   3:16-cv-07894         SAUNDERS & WALKER, P.A
SKORUPA, SHERRY           NJ - USDC for the District of New Jersey   3:20-cv-12339         SAUNDERS & WALKER, P.A
BEST, BARBARA             FL - Circuit Court - Orange County         2018CA009596          SCHLESINGER LAW OFFICES, P.A
BLUTH, DEBORAH            FL - Circuit Court - Broward County        CACE17012421          SCHLESINGER LAW OFFICES, P.A
FARRINGTON, STEPHANIE     FL - Circuit Court - Miami Dade County     2016-16715-CA-01      SCHLESINGER LAW OFFICES, P.A
PORRES, NIVIA             FL - Circuit Court - Miami Dade County     2021-001592-CA-01     SCHLESINGER LAW OFFICES, P.A
ZIMMERMAN, MICHELLE       FL - Circuit Court - Broward County        CACE20010404          SCHLESINGER LAW OFFICES, P.A




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         Claimant Name                      State Filed                      Docket Number                Plaintiff Counsel
GARZA, OLIVIA               AZ - Superior Court - Pima County          C20184525             SCHMIDT & SETHI, PC
HANSON, KIM                 NJ - USDC for the District of New Jersey   3:18-cv-00472         SCHMIDT & SETHI, PC
                                                                                             SCHNEIDER, WALLACE, COTTRELL KONECKY
DE FORERO, KAREN            CA - Superior Court - Alameda County       RG21085730
                                                                                             LLP
                                                                                             SCHNEIDER, WALLACE, COTTRELL KONECKY
LAMONT, PATRICIA            CA - Superior Court - Alameda County       RG21085741
                                                                                             LLP
                                                                                             SCHROEDER MAUNDRELL BARBIERE &
MOORE, MELISSA              NJ - USDC for the District of New Jersey   3:17-cv-01821
                                                                                             POWERS
ROSS-GIESE, MARY            NJ - USDC for the District of New Jersey   3:20-cv-06405         SCOVERN LAW
ALLEN, RONDALYN             NJ - Superior Court - Atlantic County      ATL-L-2901-15         SEEGER WEISS LLP
APPLEWHITE, JENNY           NJ - Superior Court - Atlantic County      ATL-L-1995-14         SEEGER WEISS LLP
BADGLEY, LINDA              NJ - Superior Court - Atlantic County      ATL-L-924-16          SEEGER WEISS LLP
BALDERRAMA, DIANA           NJ - Superior Court - Atlantic County      ATL-L-006540-14       SEEGER WEISS LLP
BARGE, DEBORAH              NJ - Superior Court - Atlantic County      ATL-L-2891-15         SEEGER WEISS LLP
BEDDINGFIELD, RUTH          NJ - Superior Court - Atlantic County      ATL-L-002961-15       SEEGER WEISS LLP
BONANNO, LINDA              NJ - Superior Court - Atlantic County      ATL-L-0250-15         SEEGER WEISS LLP
BUCK, MARCIA                NJ - Superior Court - Atlantic County      ATL-L-2900-15         SEEGER WEISS LLP
BURGOS, ELIZABETH           NJ - Superior Court - Atlantic County      ATL-L-002952-15       SEEGER WEISS LLP
BUTTS, PAMELA               NJ - Superior Court - Atlantic County      ATL-L-2889-15         SEEGER WEISS LLP
CABAEL, LETICIA             NJ - Superior Court - Atlantic County      ATL-L-555-16          SEEGER WEISS LLP
CALLAHAN, TINA              NJ - Superior Court - Atlantic County      ATL-L-2899-15         SEEGER WEISS LLP
CHESTEEN, MOLLY             NJ - Superior Court - Atlantic County      ATL-L-414-14          SEEGER WEISS LLP
CONLEY, ANNETTE             NJ - Superior Court - Atlantic County      ATL-L-6755-14         SEEGER WEISS LLP
CRAIG, MARRILY              NJ - Superior Court - Atlantic County      ATL-L-6504-14         SEEGER WEISS LLP
CRAWLEY, LISA               NJ - Superior Court - Atlantic County      ATL-L-000045-16       SEEGER WEISS LLP
CROWDER, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-2898-15         SEEGER WEISS LLP
DONALS, DEBORAH             NJ - Superior Court - Atlantic County      ATL-L-2394-14         SEEGER WEISS LLP
DUNKER, MARGARET            NJ - Superior Court - Atlantic County      ATL-L-002964-15       SEEGER WEISS LLP
DUNN, SHELIA                NJ - Superior Court - Atlantic County      ATL-L-2972-15         SEEGER WEISS LLP
EASH, KATHY                 NJ - Superior Court - Atlantic County      ATL-L-1010-16         SEEGER WEISS LLP
FLORES, ESTHER              NJ - Superior Court - Atlantic County      ATL-L-2845-15         SEEGER WEISS LLP
FUENTES, PATSY              NJ - Superior Court - Atlantic County      ATL-L-660-16          SEEGER WEISS LLP
GAUTHIER, LYNN              NJ - Superior Court - Atlantic County      ATL-L-3568-14         SEEGER WEISS LLP
GILES, RUTH                 NJ - Superior Court - Atlantic County      ATL-L-2888-15         SEEGER WEISS LLP
GLANTON, VERBENA            NJ - Superior Court - Atlantic County      ATL-L-85-15           SEEGER WEISS LLP
GOBLE, SUSAN                NJ - Superior Court - Atlantic County      ATL-L-635-16          SEEGER WEISS LLP
GRAHAM, JOY                 NJ - Superior Court - Atlantic County      ATL-L-002959-15       SEEGER WEISS LLP
HANSON, REBECCA             NJ - Superior Court - Atlantic County      ATL-L-6752-14         SEEGER WEISS LLP
HARDIMAN, LYNN              CA - Superior Court - Santa Clara County   16CV294911            SEEGER WEISS LLP
HIGGINS, CHRISTINE          NJ - Superior Court - Atlantic County      ATL-L-2905-15         SEEGER WEISS LLP
HOLLOWAY, ADRIANNE          NJ - Superior Court - Atlantic County      ATL-L-2846-15         SEEGER WEISS LLP
HOLMAN, PATRICIA            NJ - Superior Court - Atlantic County      ATL-L-002958-15       SEEGER WEISS LLP
HOLUB, TAMARA               NJ - Superior Court - Atlantic County      ATL-L-6385-14         SEEGER WEISS LLP
JEFFREY, INGRID             NJ - Superior Court - Atlantic County      ATL-L-2847-15         SEEGER WEISS LLP
JONES, DORIS                NJ - Superior Court - Atlantic County      ATL-L-772-14          SEEGER WEISS LLP
JONES, FRANCINE             NJ - Superior Court - Atlantic County      ATL-L-2848-15         SEEGER WEISS LLP
KINCADE, LORA               NJ - Superior Court - Atlantic County      ATL-L-6808-14         SEEGER WEISS LLP
KYRK, CHRISTINA             NJ - Superior Court - Atlantic County      ATL-L-002947-15       SEEGER WEISS LLP
LEWIS, CARLA                NJ - Superior Court - Atlantic County      ATL-L-002957-15       SEEGER WEISS LLP
LEWIS, FRANKIE              NJ - Superior Court - Atlantic County      ATL-L-377-15          SEEGER WEISS LLP
LORD, DEBORAH               NJ - Superior Court - Atlantic County      ATL-L-002945-15       SEEGER WEISS LLP
LUCAS, DIANNA               NJ - Superior Court - Atlantic County      ATL-L-6750-14         SEEGER WEISS LLP
MIRANDA, MARIA              NJ - Superior Court - Atlantic County      ATL-L-2970-15         SEEGER WEISS LLP
MOORE, LOU                  NJ - Superior Court - Atlantic County      ATL-L-929-16          SEEGER WEISS LLP
NEWTON, DEBORAH             NJ - Superior Court - Atlantic County      ATL-L-525-16          SEEGER WEISS LLP
NORMAN, OLLIE               NJ - Superior Court - Atlantic County      ATL-L-296-16          SEEGER WEISS LLP
OLIVER, ROSEMARIE           NJ - Superior Court - Atlantic County      ATL-L-002948-15       SEEGER WEISS LLP
PAMS, LATOYIA               NJ - Superior Court - Atlantic County      ATL-L-2759-15         SEEGER WEISS LLP
PERKINS, DONNA              NJ - Superior Court - Atlantic County      ATL-L-2849-15         SEEGER WEISS LLP
POLLARD, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-243-15          SEEGER WEISS LLP
PONDILLO, KATHY             NJ - Superior Court - Atlantic County      ATL-L-2766-15         SEEGER WEISS LLP
PUGH, ANNETTE               NJ - Superior Court - Atlantic County      ATL-L-2897-15         SEEGER WEISS LLP
RATTA, RENEE                NJ - Superior Court - Atlantic County      ATL-L-002944-15       SEEGER WEISS LLP
REDDELL, RENEE              NJ - Superior Court - Atlantic County      ATL-L-6798-14         SEEGER WEISS LLP
RICO, LILLIE                NJ - Superior Court - Atlantic County      ATL-L-2903-15         SEEGER WEISS LLP
ROBBINS, KAY                NJ - Superior Court - Atlantic County      ATL-L-6794-14         SEEGER WEISS LLP
ROBINSON, ERNA              NJ - Superior Court - Atlantic County      ATL-L-2896-15         SEEGER WEISS LLP
ROLAND, LETITCIA            NJ - Superior Court - Atlantic County      ATL-L-2902-15         SEEGER WEISS LLP
RONDA, ZULMA                NJ - Superior Court - Atlantic County      ATL-L-002693-15       SEEGER WEISS LLP
RUSHWORTH, TINA             NJ - Superior Court - Atlantic County      ATL-L-2894-15         SEEGER WEISS LLP
SALMANS, JULIE              NJ - Superior Court - Atlantic County      ATL-L-6386-14         SEEGER WEISS LLP
SAMS, SCARLETT              NJ - Superior Court - Atlantic County      ATL-L-2950-15         SEEGER WEISS LLP
SANDERSON, LAURIE           NJ - Superior Court - Atlantic County      ATL-L-2960-15         SEEGER WEISS LLP
SANDLAUFER, DEBORAH         NJ - Superior Court - Atlantic County      ATL-L-2396-14         SEEGER WEISS LLP
SCHEFFER, TINA              NJ - Superior Court - Atlantic County      ATL-L-6749-14         SEEGER WEISS LLP
SIMMONS-GILLESPIE, ALICIA   NJ - Superior Court - Atlantic County      ATL-L-472-15          SEEGER WEISS LLP
SIMON-SCHWARTZ, PAMELA      NJ - USDC for the District of New Jersey   3:21-cv-16440         SEEGER WEISS LLP
SIMPSON, TONYA              NJ - Superior Court - Atlantic County      ATL-L-002949-15       SEEGER WEISS LLP
SIMS, NANCY                 NJ - Superior Court - Atlantic County      ATL-L-475-15          SEEGER WEISS LLP
SMITH, TAMMIE GARZA         NJ - Superior Court - Atlantic County      ATL-L-6724-14         SEEGER WEISS LLP




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          Claimant Name                        State Filed                     Docket Number                Plaintiff Counsel
SMITH-BROWN, SHEENA           NJ - Superior Court - Atlantic County      ATL-L-2892-15         SEEGER WEISS LLP
SOPHRONIA, VICTORIA           NJ - Superior Court - Atlantic County      ATL-L-241-15          SEEGER WEISS LLP
STEINBERG, ASHLEY             NJ - Superior Court - Atlantic County      ATL-L-2179-16         SEEGER WEISS LLP
STONE, DEBBIE                 NJ - Superior Court - Atlantic County      ATL-L-2850-15         SEEGER WEISS LLP
SULKOWSKI, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-6239-14         SEEGER WEISS LLP
TRUESDALE, QUEANNA            NJ - Superior Court - Atlantic County      ATL-L-002943-15       SEEGER WEISS LLP
VERIKOKKOS, BARBARA           NJ - Superior Court - Atlantic County      ATL-L-2971-15         SEEGER WEISS LLP
WERNER, BARBARA               NJ - Superior Court - Atlantic County      ATL-L-1800-14         SEEGER WEISS LLP
WHISENANT, JOYCE              NJ - Superior Court - Atlantic County      ATL-L-002956-15       SEEGER WEISS LLP
WHITTINGTON, LAWANDA          NJ - Superior Court - Atlantic County      ATL-L-2851-15         SEEGER WEISS LLP
WILBORN, RAQUEL               NJ - Superior Court - Atlantic County      ATL-L-1082-16         SEEGER WEISS LLP
WILLIAMS, LINDA               NJ - Superior Court - Atlantic County      ATL-L-2967-15         SEEGER WEISS LLP
WINGERT, KRISTINE             NJ - Superior Court - Atlantic County      ATL-L-2853-15         SEEGER WEISS LLP
WIX, TRAVIA                   NJ - USDC for the District of New Jersey   3:19-cv-18525         SEEGER WEISS LLP
WOOLDRIDGE, TERRI             NJ - Superior Court - Atlantic County      ATL-L-6661-14         SEEGER WEISS LLP
YOUNG, SHARON                 NJ - Superior Court - Atlantic County      ATL-L-306-15          SEEGER WEISS LLP
MOSS, DAVONNA                 NJ - USDC for the District of New Jersey   3:17-cv-06543         SEIDMAN MARGULIS & FAIRMAN, LLP
SCHWARTZ, WENDY               NJ - USDC for the District of New Jersey   3:17-cv-00099         SEIDMAN MARGULIS & FAIRMAN, LLP
SZRAMEK, ELIZABETH            NJ - USDC for the District of New Jersey   3:19-cv-18822         SEIDMAN MARGULIS & FAIRMAN, LLP
BOSTWICK, DOLORES             NJ - USDC for the District of New Jersey   3:21-cv-02759         SEITHEL LAW LLC
HALL, PAMELA                  NJ - USDC for the District of New Jersey   3:21-cv-02755         SEITHEL LAW LLC
SHLIGER, DAYNA                NJ - USDC for the District of New Jersey   3:20-cv-19473         SEITHEL LAW LLC
SMITH, BARBARA                NJ - USDC for the District of New Jersey   3:19-cv-21010         SEITHEL LAW LLC
TERRY, ROBIN                  NJ - USDC for the District of New Jersey   3:21-cv-02758         SEITHEL LAW LLC
WODENKA, ADRIENNE             NJ - USDC for the District of New Jersey   3:21-cv-02753         SEITHEL LAW LLC
BRYANT, SHERRI                MI - Circuit Court - Wayne County          21-001960-NP          SERLING & ABRAMSON, P.C.
FOUCH, KATIE                  MI - Circuit Court - Wayne County          21-007997-NP          SERLING & ABRAMSON, P.C.
KUETHER, KATHLEEN             NJ - USDC for the District of New Jersey   3:18-cv-13826         SEYFARTH SHAW LLP
ATKINS, PAMELA                NJ - USDC for the District of New Jersey   3:17-cv-11700         SHAW COWART, LLP
CALLIES, RAENELL              NJ - USDC for the District of New Jersey   3:17-cv-13012         SHAW COWART, LLP
DURAN, ROSA                   NJ - USDC for the District of New Jersey   3:20-cv-01471         SHAW COWART, LLP
LONGORIA, ELVIA               NJ - USDC for the District of New Jersey   3:17-cv-13791         SHAW COWART, LLP
NEWMAN, JILL                  NJ - USDC for the District of New Jersey   3:17-cv-13004         SHAW COWART, LLP
SPEARS, MARTHA                NJ - USDC for the District of New Jersey   3:17-cv-11772         SHAW COWART, LLP
TUTTLE, DEBRA                 NJ - USDC for the District of New Jersey   3:17-cv-13018         SHAW COWART, LLP
WING, ROXANN                  NJ - USDC for the District of New Jersey   3:17-cv-13023         SHAW COWART, LLP
WILLIS, CARLYNE               NJ - USDC for the District of New Jersey   3:16-cv-07887         SHELBY LUCADO, LLC
                                                                                               SHINDLER, ANDERSON, GOPLERUD & WEESE,
BERKLAND, SHELLEY             NJ - USDC for the District of New Jersey   3:19-cv-21203
                                                                                               P.C.
AGUILAR, MELISSA; ROBB,MARY   NJ - USDC for the District of New Jersey   3:16-cv-06608         SILL LAW GROUP, PLLC
ALLEE, ILA                    NJ - USDC for the District of New Jersey   3:17-cv-11084         SILL LAW GROUP, PLLC
ASHFORD, SHIRLEY              NJ - USDC for the District of New Jersey   3:17-cv-11083         SILL LAW GROUP, PLLC
BERRY, NANCY                  NJ - USDC for the District of New Jersey   3:19-cv-14605         SILL LAW GROUP, PLLC
BOWLING, OLEITA               NJ - USDC for the District of New Jersey   3:17-cv-11082         SILL LAW GROUP, PLLC
BRADLEY, MARCIE               NJ - USDC for the District of New Jersey   3:17-cv-11081         SILL LAW GROUP, PLLC
BRISON, DEANNA                NJ - USDC for the District of New Jersey   3:17-cv-11080         SILL LAW GROUP, PLLC
DAVIS, DONNA                  NJ - USDC for the District of New Jersey   3:17-cv-11079         SILL LAW GROUP, PLLC
GILL, LINDA                   NJ - USDC for the District of New Jersey   3:17-cv-11086         SILL LAW GROUP, PLLC
HAYES, DONONA                 NJ - USDC for the District of New Jersey   3:17-cv-12727         SILL LAW GROUP, PLLC
MCCORKLE, NATHALIE            NJ - USDC for the District of New Jersey   3:17-cv-11087         SILL LAW GROUP, PLLC
PERKINS, BETTY                NJ - USDC for the District of New Jersey   3:18-cv-11744         SILL LAW GROUP, PLLC
SHACKELFORD, THRESA           NJ - USDC for the District of New Jersey   3:17-cv-00040         SILL LAW GROUP, PLLC
WEST, VIRGINIA                NJ - USDC for the District of New Jersey   3:17-cv-12729         SILL LAW GROUP, PLLC
AGRAWAL, SUDHA                NJ - USDC for the District of New Jersey   3:18-cv-13776         SIMMONS HANLY CONROY
ALLISON, JANICE               NJ - USDC for the District of New Jersey   3:17-cv-07679         SIMMONS HANLY CONROY
ANTHONY, CATHY                NJ - USDC for the District of New Jersey   3:18-cv-10789         SIMMONS HANLY CONROY
BARAJAS, SARA                 NJ - USDC for the District of New Jersey   3:17-cv-05001         SIMMONS HANLY CONROY
BARCENA, DEBRA                NJ - USDC for the District of New Jersey   3:18-cv-04370         SIMMONS HANLY CONROY
BLANCHARD, TAMMIE             NJ - USDC for the District of New Jersey   3:18-cv-01301         SIMMONS HANLY CONROY
BRAZZLE, STEPHANIE            NJ - USDC for the District of New Jersey   3:17-cv-11215         SIMMONS HANLY CONROY
BRIGMAN, TAMMY                NJ - USDC for the District of New Jersey   3:17-cv-11228         SIMMONS HANLY CONROY
BROCCOLI, LINDA               NJ - USDC for the District of New Jersey   3:17-cv-07674         SIMMONS HANLY CONROY
BROWN, LEANNE                 NJ - USDC for the District of New Jersey   3:18-cv-01307         SIMMONS HANLY CONROY
BROWN, SHARON                 NJ - USDC for the District of New Jersey   3:17-cv-11231         SIMMONS HANLY CONROY
BRUCE, SUSIE                  NJ - USDC for the District of New Jersey   3:18-cv-04373         SIMMONS HANLY CONROY
BUBOLTZ, BARBARA              NJ - USDC for the District of New Jersey   3:17-cv-11234         SIMMONS HANLY CONROY
BULLOCK, ANNIE                NJ - USDC for the District of New Jersey   3:17-cv-05779         SIMMONS HANLY CONROY
BURGART, PAMELA               NJ - USDC for the District of New Jersey   3:18-cv-09097         SIMMONS HANLY CONROY
CAMPBELL, ARDITH              NJ - USDC for the District of New Jersey   3:18-cv-02697         SIMMONS HANLY CONROY
CECCATO, RHONDA               CA - Superior Court - Riverside County     RIC1804316            SIMMONS HANLY CONROY
CHERIM, LUCIA                 NJ - USDC for the District of New Jersey   3:20-cv-15107         SIMMONS HANLY CONROY
COOK, ANNA                    NJ - USDC for the District of New Jersey   3:19-cv-21437         SIMMONS HANLY CONROY
CORDOVA, GREGORIA             NJ - USDC for the District of New Jersey   3:18-cv-04747         SIMMONS HANLY CONROY
COX-LAFRAMBOISE, CONNIE       NJ - USDC for the District of New Jersey   3:18-cv-12083         SIMMONS HANLY CONROY
DAVIS, CHERIE                 NJ - USDC for the District of New Jersey   3:17-cv-11237         SIMMONS HANLY CONROY
DAVLIN, DORIS                 NJ - USDC for the District of New Jersey   3:18-cv-08459         SIMMONS HANLY CONROY
DELAVEGA, MARY                NJ - USDC for the District of New Jersey   3:18-cv-09098         SIMMONS HANLY CONROY
DENT, TINA                    NJ - USDC for the District of New Jersey   3:18-cv-01308         SIMMONS HANLY CONROY
DODWORTH, LAURIE              NJ - USDC for the District of New Jersey   3:18-cv-12058         SIMMONS HANLY CONROY
DOMBROWSKI, LOTTIE            NJ - USDC for the District of New Jersey   3:19-cv-18141         SIMMONS HANLY CONROY




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
DOTSON, MARIA               NJ - USDC for the District of New Jersey   3:20-cv-10755         SIMMONS HANLY CONROY
DRAYTON, LANNETTE           NJ - USDC for the District of New Jersey   3:18-cv-01311         SIMMONS HANLY CONROY
DUDDY, DEIRDRE              NJ - USDC for the District of New Jersey   3:18-cv-01281         SIMMONS HANLY CONROY
DUNIGAN, KECIE              NJ - USDC for the District of New Jersey   3:20-cv-15773         SIMMONS HANLY CONROY
ERNST, DANA                 NJ - USDC for the District of New Jersey   3:18-cv-02698         SIMMONS HANLY CONROY
FENNIGKOH, JOAN             NJ - USDC for the District of New Jersey   3:17-cv-11239         SIMMONS HANLY CONROY
FORD, KATHLEEN              CA - Superior Court - Sonoma County        SCV262201             SIMMONS HANLY CONROY
FULK, NANCY                 NJ - USDC for the District of New Jersey   3:18-cv-02716         SIMMONS HANLY CONROY
GAFFNEY, KAYLA              NJ - USDC for the District of New Jersey   3:18-cv-17400         SIMMONS HANLY CONROY
GALLEY, MARIE               NJ - USDC for the District of New Jersey   3:17-cv-11293         SIMMONS HANLY CONROY
GARLAND, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-02699         SIMMONS HANLY CONROY
GHETIA, ARUNA               NJ - USDC for the District of New Jersey   3:18-cv-12060         SIMMONS HANLY CONROY
GINN, CINDY                 NJ - USDC for the District of New Jersey   3:17-cv-11243         SIMMONS HANLY CONROY
GORRELL, SAMANTHA           NJ - USDC for the District of New Jersey   3:18-cv-01313         SIMMONS HANLY CONROY
GUERRERO, LESLAY            NJ - USDC for the District of New Jersey   3:18-cv-12061         SIMMONS HANLY CONROY
HAATVEDT, KELLIE            CA - Superior Court - Los Angeles County   BC699517              SIMMONS HANLY CONROY
HABERSHAM, JANET            NJ - USDC for the District of New Jersey   3:18-cv-02611         SIMMONS HANLY CONROY
HALL, BARBARA               NJ - USDC for the District of New Jersey   3:17-cv-07099         SIMMONS HANLY CONROY
HAMM, CONNIE                NJ - USDC for the District of New Jersey   3:17-cv-11248         SIMMONS HANLY CONROY
HAMPTON, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-09393         SIMMONS HANLY CONROY
HARRINGTON, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-18142         SIMMONS HANLY CONROY
HARVEY, VICTORIA            NJ - USDC for the District of New Jersey   3:19-cv-10539         SIMMONS HANLY CONROY
HERMILLER, ANNE             NJ - USDC for the District of New Jersey   3:17-cv-11249         SIMMONS HANLY CONROY
HERRMANN, LINDA             NJ - USDC for the District of New Jersey   3:18-cv-08463         SIMMONS HANLY CONROY
HOLLIS, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-02613         SIMMONS HANLY CONROY
HUERTA, GLORIA              NJ - USDC for the District of New Jersey   3:18-cv-17404         SIMMONS HANLY CONROY
HULLINGER, MARGARET         NJ - USDC for the District of New Jersey   3:18-cv-04378         SIMMONS HANLY CONROY
HUNTER, ANGELA              NJ - USDC for the District of New Jersey   3:18-cv-02700         SIMMONS HANLY CONROY
HYDE, RHONDA                NJ - USDC for the District of New Jersey   3:18-cv-04379         SIMMONS HANLY CONROY
JENDERSECK, GERALDINE       NJ - USDC for the District of New Jersey   3:18-cv-13780         SIMMONS HANLY CONROY
JOHNSON, CINDY              NJ - USDC for the District of New Jersey   3:18-cv-01315         SIMMONS HANLY CONROY
JOHNSTON, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-09122         SIMMONS HANLY CONROY
JONES, EARNESTINE           NJ - USDC for the District of New Jersey   3:21-cv-13956         SIMMONS HANLY CONROY
KASZER, ANN                 NJ - USDC for the District of New Jersey   3:18-cv-13782         SIMMONS HANLY CONROY
KATH, SHARON                NJ - USDC for the District of New Jersey   3:18-cv-01320         SIMMONS HANLY CONROY
KELLER, KETTA               NJ - USDC for the District of New Jersey   3:18-cv-08467         SIMMONS HANLY CONROY
KELLER, SHARON              NJ - USDC for the District of New Jersey   3:18-cv-01322         SIMMONS HANLY CONROY
KIETUR, JESSICA             NJ - USDC for the District of New Jersey   3:18-cv-01283         SIMMONS HANLY CONROY
KOYM, PATTI                 NJ - USDC for the District of New Jersey   3:17-cv-11252         SIMMONS HANLY CONROY
KRASOW, DYANNE              CA - Superior Court - San Mateo County     18-CIV-1067           SIMMONS HANLY CONROY
KRAUSE, LOREEN              NJ - USDC for the District of New Jersey   3:20-cv-15570         SIMMONS HANLY CONROY
LABRIOLA, MARISA            NJ - USDC for the District of New Jersey   3:18-cv-13783         SIMMONS HANLY CONROY
LEE, MELISSA                NJ - USDC for the District of New Jersey   3:17-cv-11296         SIMMONS HANLY CONROY
LEHR, PAMELA                NJ - USDC for the District of New Jersey   3:18-cv-09100         SIMMONS HANLY CONROY
LEMASTER, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-08477         SIMMONS HANLY CONROY
LOKER, NANCY                NJ - USDC for the District of New Jersey   3:19-cv-18143         SIMMONS HANLY CONROY
LYNCH, JENNIFER             NJ - USDC for the District of New Jersey   3:17-cv-11256         SIMMONS HANLY CONROY
MACIAS, ELEONOR             NJ - USDC for the District of New Jersey   3:18-cv-01321         SIMMONS HANLY CONROY
MANCINO, MARY               CA - Superior Court - San Diego County     2018-10026-CU-PL-NC   SIMMONS HANLY CONROY
MASON, DELPHINE             NJ - USDC for the District of New Jersey   3:17-cv-12479         SIMMONS HANLY CONROY
MCCAIN, ANN                 NJ - USDC for the District of New Jersey   3:17-cv-05096         SIMMONS HANLY CONROY
MCCOMB, REBECCA             NJ - USDC for the District of New Jersey   3:18-cv-13785         SIMMONS HANLY CONROY
MCCONAHIE-GEORGE, KRISTIE   NJ - USDC for the District of New Jersey   3:17-cv-07205         SIMMONS HANLY CONROY
MCCORKLE, AVA               NJ - USDC for the District of New Jersey   3:21-cv-13958         SIMMONS HANLY CONROY
MCMILLER, BERTHA            NJ - USDC for the District of New Jersey   3:18-cv-08469         SIMMONS HANLY CONROY
MEADOWS, VICKIE             NJ - USDC for the District of New Jersey   3:18-cv-04380         SIMMONS HANLY CONROY
MONROE, EXIA                NJ - USDC for the District of New Jersey   3:17-cv-02397         SIMMONS HANLY CONROY
MULLINS, CONNIE             NJ - USDC for the District of New Jersey   3:21-cv-13969         SIMMONS HANLY CONROY
NDZEIDZE, RAQUEL            NJ - USDC for the District of New Jersey   3:18-cv-02703         SIMMONS HANLY CONROY
ODELL, JOAN                 CA - Superior Court - Sonoma County        SCV261914             SIMMONS HANLY CONROY
OLIVE, DORINE               NJ - USDC for the District of New Jersey   3:21-cv-13971         SIMMONS HANLY CONROY
OLVERA, LENCY               NJ - USDC for the District of New Jersey   3:19-cv-10540         SIMMONS HANLY CONROY
OTOOLE, TIFFANY             NJ - USDC for the District of New Jersey   3:20-cv-10756         SIMMONS HANLY CONROY
PARAS, GINA                 NJ - USDC for the District of New Jersey   3:18-cv-01240         SIMMONS HANLY CONROY
PEDI, ANNA                  CA - Superior Court - Ventura County       56-2018-00508539      SIMMONS HANLY CONROY
PRECIADO, EMELENA           NJ - USDC for the District of New Jersey   3:18-cv-08472         SIMMONS HANLY CONROY
PRIEVO, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-01235         SIMMONS HANLY CONROY
REA, MARY                   NJ - USDC for the District of New Jersey   3:17-cv-11291         SIMMONS HANLY CONROY
REINA, MARLISSE             NJ - USDC for the District of New Jersey   3:21-cv-09003         SIMMONS HANLY CONROY
ROBERTS, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-15769         SIMMONS HANLY CONROY
ROBERTS, WENDI              CA - Superior Court - Riverside County     RIC1802100            SIMMONS HANLY CONROY
ROBINSON, HELEN             NJ - USDC for the District of New Jersey   3:18-cv-02581         SIMMONS HANLY CONROY
ROSENSTEEL, CRYSTAL         NJ - USDC for the District of New Jersey   3:17-cv-05781         SIMMONS HANLY CONROY
RUSSELL, HOLLY              NJ - USDC for the District of New Jersey   3:18-cv-00104         SIMMONS HANLY CONROY
SANDRETH, VIRGINIA          NJ - USDC for the District of New Jersey   3:19-cv-10543         SIMMONS HANLY CONROY
SCHMIDT, JAYME              NJ - USDC for the District of New Jersey   3:18-cv-17403         SIMMONS HANLY CONROY
SCHULZE, JACQUELYN          NJ - USDC for the District of New Jersey   3:18-cv-13786         SIMMONS HANLY CONROY
SHOEMAKER, DELONA           NJ - USDC for the District of New Jersey   3:18-cv-04712         SIMMONS HANLY CONROY
SHORTT, VICKI               NJ - USDC for the District of New Jersey   3:17-cv-11297         SIMMONS HANLY CONROY
SIDDIQUI, YASMIN            CA - Superior Court - San Benito           BC687844              SIMMONS HANLY CONROY




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         Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
SISEMORE, VADA              NJ - USDC for the District of New Jersey   3:19-cv-21435         SIMMONS HANLY CONROY
SMIGEL, NAOMI               NJ - USDC for the District of New Jersey   3:18-cv-04745         SIMMONS HANLY CONROY
SOGOL, ROSALINDA            NJ - USDC for the District of New Jersey   3:20-cv-11419         SIMMONS HANLY CONROY
SPARROW, BEVERLY            CA - Superior Court - San Bernardino County CIVDS1807034         SIMMONS HANLY CONROY
STOLLER, SYLVIA             NJ - USDC for the District of New Jersey   3:19-cv-18144         SIMMONS HANLY CONROY
STOVER, CASEY               NJ - USDC for the District of New Jersey   3:17-cv-12471         SIMMONS HANLY CONROY
STURDIVANT, DOTSIE          NJ - USDC for the District of New Jersey   3:18-cv-01246         SIMMONS HANLY CONROY
TALLEY, BRENDA              NJ - USDC for the District of New Jersey   3:18-cv-01253         SIMMONS HANLY CONROY
TEAGUE, KATHY               NJ - USDC for the District of New Jersey   3:17-cv-11286         SIMMONS HANLY CONROY
THOMAS, MARIE               CA - Superior Court - Los Angeles County   BC678822              SIMMONS HANLY CONROY
THOMPSON, SUSAN             NJ - USDC for the District of New Jersey   3:17-cv-05035         SIMMONS HANLY CONROY
TORO, SANDY                 NJ - USDC for the District of New Jersey   3:18-cv-01261         SIMMONS HANLY CONROY
TORSKE, JULIE               NJ - USDC for the District of New Jersey   3:19-cv-10544         SIMMONS HANLY CONROY
TUCKER, MICHELLE            NJ - USDC for the District of New Jersey   3:18-cv-04713         SIMMONS HANLY CONROY
TURRENTINE, BRENDA          NJ - USDC for the District of New Jersey   3:18-cv-12082         SIMMONS HANLY CONROY
VANARIA, CATHERINE          NJ - USDC for the District of New Jersey   3:18-cv-02604         SIMMONS HANLY CONROY
VANSIPE, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-08476         SIMMONS HANLY CONROY
VASQUEZ, ENILDA             NJ - USDC for the District of New Jersey   3:18-cv-01265         SIMMONS HANLY CONROY
VIRGINIA, TERRI             NJ - USDC for the District of New Jersey   3:18-cv-13788         SIMMONS HANLY CONROY
WAGNER, CATRINA             NJ - USDC for the District of New Jersey   3:18-cv-01277         SIMMONS HANLY CONROY
WELLS, NAOMI                NJ - USDC for the District of New Jersey   3:17-cv-11290         SIMMONS HANLY CONROY
WIENCH, JULIE               NJ - USDC for the District of New Jersey   3:20-cv-15772         SIMMONS HANLY CONROY
WILLIAMS, VIRGINIA          NJ - USDC for the District of New Jersey   3:18-cv-12076         SIMMONS HANLY CONROY
WILLSON, CINDY              NJ - USDC for the District of New Jersey   3:18-cv-00102         SIMMONS HANLY CONROY
WILSON, AMY                 NJ - USDC for the District of New Jersey   3:18-cv-17402         SIMMONS HANLY CONROY
WORSHAM, NEDRA              NJ - USDC for the District of New Jersey   3:18-cv-04714         SIMMONS HANLY CONROY
YANDELL, CAROL              NJ - USDC for the District of New Jersey   3:17-cv-04414         SIMMONS HANLY CONROY
ZINK, KIMBERLY              NJ - USDC for the District of New Jersey   3:21-cv-13968         SIMMONS HANLY CONROY
MCCANN, PATRICK ESTATE OF
                            IL - Circuit Court - Madison County        19-L-1661             SIMMONS HANLY CONROY LLC
JAMES MCCANN
CHARLES, ETHERIDGE D &
                            NJ - Superior Court - Middlesex County     MID-L-00932-17AS      SIMON GREENSTONE PANATIER, P.C.
PASTORE, DARLENE
GARZA, OLIVIA               AZ - Superior Court - Pima County          C20184525             SIMON GREENSTONE PNATIER, PC
VALDEZ, IRMA                NJ - USDC for the District of New Jersey   3:21-cv-15590         SINGLETON SCHREIBER MCKENZIE & SCOTT,
BERRY, CHERYL               NJ - USDC for the District of New Jersey   3:17-cv-12789         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
BRAHM, LISA                 NJ - USDC for the District of New Jersey   3:17-cv-11053         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
BRODOWSKI, CHRISTINE        NJ - USDC for the District of New Jersey   3:17-cv-12215         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
CARR, ROSE                  NJ - USDC for the District of New Jersey   3:17-cv-11782         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
CHARLES, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-02492         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
CHARLES, ELIZABETH          NJ - USDC for the District of New Jersey   3:18-cv-01027         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
CLOUSER, BLANCHE            NJ - USDC for the District of New Jersey   3:17-cv-06258         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
DIAZ-GALARZA, EVELIA        NJ - USDC for the District of New Jersey   3:17-cv-10839         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
DICANIO, LINDA              NJ - Superior Court - Atlantic County      ATL-L-300-18          SKIKOS, CRAWFORD, SKIKOS & JOSEPH
EDWARDS, SHIRLEY            NJ - USDC for the District of New Jersey   3:17-cv-12830         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
FAJARDO, ROSEMARY           NJ - USDC for the District of New Jersey   3:18-cv-03024         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
FIELDS, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-13506         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
FOREMAN, GEORGANNA          NJ - USDC for the District of New Jersey   3:17-cv-05669         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
FORLIVESI-AMARAL, LISA      NJ - USDC for the District of New Jersey   3:17-cv-03752         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
FORLIVESI-AMARAL, LISA      NJ - USDC for the District of New Jersey   3:17-cv-03752         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
FRISBY, PATRICIA            NJ - USDC for the District of New Jersey   3:18-cv-00099         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
GUILDS, CANDICE             NJ - USDC for the District of New Jersey   3:17-cv-10331         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
HAMPSHIRE, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-10844         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
HAZELWOOD, CLARA            NJ - USDC for the District of New Jersey   3:18-cv-01293         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
HILL, CHRISTINE             NJ - USDC for the District of New Jersey   3:18-cv-01464         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
HODGE, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-10848         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
HOUK, LAURA                 NJ - USDC for the District of New Jersey   3:17-cv-12216         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
JOHNSON, KATHLEEN           NJ - USDC for the District of New Jersey   3:18-cv-01032         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
JONES, BOBBIE               NJ - USDC for the District of New Jersey   3:18-cv-01294         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
KANELLOPOULOS, ANNA         NJ - USDC for the District of New Jersey   3:18-cv-02264         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
KIRCHNER, MARY              NJ - Superior Court - Atlantic County      ATL-L-2528-17         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
LAWSON, ETHEL               NJ - USDC for the District of New Jersey   3:17-cv-06043         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
LOBDELL, KATHERINE          NJ - USDC for the District of New Jersey   3:18-cv-08938         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
LUERSSEN, EDWINA            NJ - Superior Court - Atlantic County      ATL-L-299-18          SKIKOS, CRAWFORD, SKIKOS & JOSEPH
MADDEN, ELLA                NJ - USDC for the District of New Jersey   3:18-cv-01028         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
MAHER, ELIZABETH            NJ - USDC for the District of New Jersey   3:18-cv-01291         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
MARBLE, CHRISTINA           NJ - USDC for the District of New Jersey   3:17-cv-04939         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
NAPIERALA, LYNNE            NJ - USDC for the District of New Jersey   3:18-cv-03021         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
PILAPIL, JOCELYN            NJ - USDC for the District of New Jersey   3:17-cv-10841         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
RALPH, LAURA                CA - Superior Court - County of Marin      CV1704352             SKIKOS, CRAWFORD, SKIKOS & JOSEPH
RAWLINS, JANICE             NJ - USDC for the District of New Jersey   3:17-cv-10851         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
ROMAN, EVELYN               NJ - USDC for the District of New Jersey   3:17-cv-10327         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
SANABRIA, GLADYS            NJ - USDC for the District of New Jersey   3:17-cv-10940         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
SNYDER, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-06510         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
STANULA, CATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-07699         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
STAUFFER, CINDY             NJ - USDC for the District of New Jersey   3:18-cv-03873         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
TEMPLETON, KRISTIN          NJ - USDC for the District of New Jersey   3:18-cv-09153         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
THOMPSON, JOAN              NJ - USDC for the District of New Jersey   3:18-cv-01295         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
TOWLER, BEVERLY             NJ - USDC for the District of New Jersey   3:18-cv-03877         SKIKOS, CRAWFORD, SKIKOS & JOSEPH




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          Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
WEBER, WENDY              NJ - USDC for the District of New Jersey   3:18-cv-07956         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
WESTBROOK, SHAUNTEL       NJ - USDC for the District of New Jersey   3:18-cv-01299         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
ZINGONE, JOANN            NJ - USDC for the District of New Jersey   3:17-cv-05668         SKIKOS, CRAWFORD, SKIKOS & JOSEPH
ALEXANDER, BERTHA         NJ - USDC for the District of New Jersey   3:17-cv-07544         SLACK & DAVIS LLP
BEDROSIAN, DIANA          NJ - USDC for the District of New Jersey   3:17-cv-07653         SLACK & DAVIS LLP
EDWARDS, BRENDA           NJ - USDC for the District of New Jersey   3:17-cv-09745         SLACK & DAVIS LLP
ESCOBEDO, GUADALUPE       NJ - USDC for the District of New Jersey   3:17-cv-09743         SLACK & DAVIS LLP
JOHNSON, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-09747         SLACK & DAVIS LLP
KACZMAREK, DEBRA          NJ - USDC for the District of New Jersey   3:17-cv-07522         SLACK & DAVIS LLP
KIRKPATRICK, CARMEN       NJ - USDC for the District of New Jersey   3:17-cv-07650         SLACK & DAVIS LLP
LAYFIELD, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-07884         SLACK & DAVIS LLP
ROSE, BRENDA              NJ - USDC for the District of New Jersey   3:17-cv-07882         SLACK & DAVIS LLP
RULAND, RHETA             NJ - USDC for the District of New Jersey   3:17-cv-07547         SLACK & DAVIS LLP
SCAMAN, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-08176         SLACK & DAVIS LLP
SMITH, CYNTHIA            NJ - USDC for the District of New Jersey   3:17-cv-07654         SLACK & DAVIS LLP
STRASSBERG, DOROTHY       NJ - USDC for the District of New Jersey   3:17-cv-07880         SLACK & DAVIS LLP
WILLIAMS, BARBY           NJ - USDC for the District of New Jersey   3:17-cv-07822         SLACK & DAVIS LLP
ASBELL, TEANA             NJ - USDC for the District of New Jersey   3:20-cv-17596         SLATER, SLATER, SCHULMAN, LLP
BAKER, LINDA              NJ - USDC for the District of New Jersey   3:21-cv-07048         SLATER, SLATER, SCHULMAN, LLP
COFFMAN, ASHLEY           NJ - USDC for the District of New Jersey   3:21-cv-11743         SLATER, SLATER, SCHULMAN, LLP
DOSS, JULIE               NJ - USDC for the District of New Jersey   3:21-cv-01187         SLATER, SLATER, SCHULMAN, LLP
FLORES, ANAMARIA          NJ - USDC for the District of New Jersey   3:20-cv-15529         SLATER, SLATER, SCHULMAN, LLP
GOETZ, MARY               NJ - USDC for the District of New Jersey   3:21-cv-07037         SLATER, SLATER, SCHULMAN, LLP
GOODWIN, UNIQUE           NJ - USDC for the District of New Jersey   3:21-cv-01263         SLATER, SLATER, SCHULMAN, LLP
HUNTER, TANISHA           NJ - USDC for the District of New Jersey   3:21-cv-11711         SLATER, SLATER, SCHULMAN, LLP
IMMEDIATO, GERALDINE      NJ - USDC for the District of New Jersey   3:21-cv-03524         SLATER, SLATER, SCHULMAN, LLP
KEEFOVER, BETTY           NJ - USDC for the District of New Jersey   3:20-cv-09333         SLATER, SLATER, SCHULMAN, LLP
KELLER, MELANIE           NJ - USDC for the District of New Jersey   3:20-cv-16158         SLATER, SLATER, SCHULMAN, LLP
LUBINSKI, DONNA           NJ - USDC for the District of New Jersey   3:20-cv-09116         SLATER, SLATER, SCHULMAN, LLP
MCBRIDE, TONYA            NJ - USDC for the District of New Jersey   3:21-cv-02886         SLATER, SLATER, SCHULMAN, LLP
MCELMURRAY, KRYSTAL       NJ - USDC for the District of New Jersey   3:20-cv-13724         SLATER, SLATER, SCHULMAN, LLP
MCNEILL, MARY             NJ - USDC for the District of New Jersey   3:21-cv-13000         SLATER, SLATER, SCHULMAN, LLP
PEREZ, JESENIA            NJ - Superior Court - Atlantic County      ATL-L-003442-20       SLATER, SLATER, SCHULMAN, LLP
PUCH, NORMA               NJ - USDC for the District of New Jersey   3:21-cv-12848         SLATER, SLATER, SCHULMAN, LLP
RANDAZZO, DEBRA           NJ - Superior Court - Atlantic County      ATL-L-004046-20       SLATER, SLATER, SCHULMAN, LLP
RATLIFF, ALYSS            NJ - USDC for the District of New Jersey   3:21-cv-11724         SLATER, SLATER, SCHULMAN, LLP
RICHARDSON, SHEILA        NJ - USDC for the District of New Jersey   3:21-cv-07033         SLATER, SLATER, SCHULMAN, LLP
SCHEFFLER, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-12046         SLATER, SLATER, SCHULMAN, LLP
TYLER, CHARLENE           NJ - USDC for the District of New Jersey   3:21-cv-10049         SLATER, SLATER, SCHULMAN, LLP
PARKER, SARAH             NJ - USDC for the District of New Jersey   3:19-cv-16376         SMITH, GILDEA & SCHMIDT LLC
WAGONER, CONSTANCE        NJ - USDC for the District of New Jersey   3:19-cv-00929         SOMMERS SCHWARTZ, PC
CORBETT, BARBARA          CA - Superior Court - Los Angeles County   BC651027              SOUTHERLAND LAW FIRM, PLLC
HAIR, LARAINE             CA - Superior Court - Alameda County       AG16820181            STANDLY HAMILTON, LLP
NELSON, JOANNE            NJ - USDC for the District of New Jersey   3:17-cv-06471         STANLEY LAW GROUP
ANDERSON, ROSALYN         NJ - USDC for the District of New Jersey   3:17-cv-08140         STECKLER GRESHAM COCHRAN
BRIGMAN, BARBARA          NJ - USDC for the District of New Jersey   3:17-cv-08135         STECKLER GRESHAM COCHRAN
BURROUGHS, REMONA         NJ - USDC for the District of New Jersey   3:17-cv-08476         STECKLER GRESHAM COCHRAN
IKEMOTO, JOAN             NJ - USDC for the District of New Jersey   3:17-cv-08141         STECKLER GRESHAM COCHRAN
JAY, DELORES              NJ - USDC for the District of New Jersey   3:17-cv-08144         STECKLER GRESHAM COCHRAN
PALACIOS, DINA            NJ - USDC for the District of New Jersey   3:17-cv-08145         STECKLER GRESHAM COCHRAN
SUMNER, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-08142         STECKLER GRESHAM COCHRAN
TOLLIVER, RUTHIE          NJ - USDC for the District of New Jersey   3:17-cv-02976         STEVE MERRITT LAW
MOORE, ROSIE              NJ - USDC for the District of New Jersey   3:19-cv-15016         STEVENSON LEGAL GROUP, PLLC
DILLARD, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-03473         STEWART & STEWART
FAUST, JOY                NJ - USDC for the District of New Jersey   3:17-cv-04369         STEWART & STEWART
HYCHE, BETTY              NJ - USDC for the District of New Jersey   3:17-cv-01118         STEWART & STEWART
LEHMAN, TRUDY             NJ - USDC for the District of New Jersey   3:17-cv-07195         STEWART & STEWART
RANDALL, THERESA          NJ - USDC for the District of New Jersey   3:17-cv-02890         STEWART & STEWART
WESEMAN, LINDA            NJ - USDC for the District of New Jersey   3:17-cv-01119         STEWART & STEWART
JACKSON, URSULA           NJ - USDC for the District of New Jersey   3:17-cv-02708         STONE GRANADE & CROSBY PC
JONES, DONNA              NJ - USDC for the District of New Jersey   3:19-cv-20134         STRAUSS TROY CO., LPA
PARKER, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-06156         STRAUSS TROY CO., LPA
CAIN, NIKKI               NJ - USDC for the District of New Jersey   3:17-cv-03670         SUGARMAN LAW, LLC
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
WHITEHURST, ADRIANE       NJ - USDC for the District of New Jersey   3:21-cv-17914
                                                                                           CANNAVO
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
ASTLE, CAROL              NJ - USDC for the District of New Jersey   3:21-cv-13050
                                                                                           CANNAVO P.C.
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
BAER, PERIANNE            NJ - USDC for the District of New Jersey   3:21-cv-13172
                                                                                           CANNAVO P.C.
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
BOYLE, YOLANDA            NJ - USDC for the District of New Jersey   3:21-cv-11065
                                                                                           CANNAVO P.C.
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
CANDELARIO, MARTA         NJ - USDC for the District of New Jersey   3:20-cv-01968
                                                                                           CANNAVO P.C.
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
COLON, NELLY              NJ - USDC for the District of New Jersey   3:21-cv-06534
                                                                                           CANNAVO P.C.
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
DAUNIS, ELAINE            NJ - USDC for the District of New Jersey   3:21-cv-13398
                                                                                           CANNAVO P.C.
                                                                                           SULLIVAN PAPAIN BLOCK MCGRATH &
DILIBERTO, CAROL          NJ - USDC for the District of New Jersey   3:20-cv-12829
                                                                                           CANNAVO P.C.




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         Claimant Name                   State Filed                     Docket Number                Plaintiff Counsel
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
FISHER, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-04440
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
GAMELIN, ROSEMARY        NJ - USDC for the District of New Jersey   3:20-cv-15437
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
HOBBS, SARAH             NJ - USDC for the District of New Jersey   3:20-cv-15439
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                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
HYLTON, NOVELETTE        NJ - USDC for the District of New Jersey   3:21-cv-13231
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LEWIS, MONIQUE           NJ - USDC for the District of New Jersey   3:20-cv-00588
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LEYBIKHINA, IRINA        NJ - USDC for the District of New Jersey   3:21-cv-11077
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LOPRESTI, JOANNA         NJ - USDC for the District of New Jersey   3:20-cv-13984
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
MARTIN, BETTY            NJ - USDC for the District of New Jersey   3:21-cv-11140
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
MAXWELL, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-13169
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
OBRIEN, ERIN             NJ - USDC for the District of New Jersey   3:21-cv-03294
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
ODWYER, KIM              NJ - USDC for the District of New Jersey   3:21-cv-02213
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PARSHALL, SHIRLEY        NJ - USDC for the District of New Jersey   3:20-cv-12808
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PEACH, CHRISTIE          NJ - USDC for the District of New Jersey   3:21-cv-13025
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PRINTY, CAROL            NJ - USDC for the District of New Jersey   3:21-cv-07703
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
ROCHA, MARINA            NJ - USDC for the District of New Jersey   3:21-cv-13577
                                                                                         CANNAVO P.C.
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ROSEMOND, ALICIA         NJ - USDC for the District of New Jersey   3:21-cv-13555
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
ROSENTHAL, CANDACE       NJ - USDC for the District of New Jersey   3:20-cv-05591
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                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
TAYLOR, LEIGH            NJ - USDC for the District of New Jersey   3:20-cv-12801
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
TOUCHSTONE, SHIRLEY      NJ - USDC for the District of New Jersey   3:21-cv-11122
                                                                                         CANNAVO P.C.
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TRAYAN, TERESA           NJ - USDC for the District of New Jersey   3:20-cv-16223
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
VANDYKE, RANOTA          NJ - USDC for the District of New Jersey   3:21-cv-13029
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
VILORD, LAURIE           NJ - USDC for the District of New Jersey   3:20-cv-12899
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
WILSON, GLORIA           NJ - USDC for the District of New Jersey   3:21-cv-07001
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
WOON, LEE                NJ - USDC for the District of New Jersey   3:21-cv-02201
                                                                                         CANNAVO P.C.
                                                                                         SULLIVAN PAPAIN BLOCK MCGRATH &
YOUNG, LAURA             NJ - USDC for the District of New Jersey   3:21-cv-13041
                                                                                         CANNAVO P.C.
BEASLEY, JUDY            NJ - USDC for the District of New Jersey   3:20-cv-18588        SULLO & SULLO, LLP
BEGGS, MARJORIE          NJ - USDC for the District of New Jersey   3:21-cv-05561        SULLO & SULLO, LLP
BOAZ, KAMERON            NJ - USDC for the District of New Jersey   3:21-cv-04676        SULLO & SULLO, LLP
BUI, XUAN-MAI            NJ - USDC for the District of New Jersey   3:21-cv-12303        SULLO & SULLO, LLP
BYLER, JENINE            NJ - USDC for the District of New Jersey   3:21-cv-15684        SULLO & SULLO, LLP
CALHOUN, TRISH           NJ - USDC for the District of New Jersey   3:21-cv-01386        SULLO & SULLO, LLP
CLEAR, CHRISTINE         NJ - USDC for the District of New Jersey   3:17-cv-06839        SULLO & SULLO, LLP
COHEN, SARI              NJ - USDC for the District of New Jersey   3:20-cv-14780        SULLO & SULLO, LLP
COOK, JESSICA            NJ - USDC for the District of New Jersey   3:20-cv-19657        SULLO & SULLO, LLP
DAVIS, MARIE             NJ - USDC for the District of New Jersey   3:21-cv-05212        SULLO & SULLO, LLP
DEARBORNE, VIVIAN        NJ - USDC for the District of New Jersey   3:21-cv-04221        SULLO & SULLO, LLP
DOUGLAS, HARLYNN         NJ - USDC for the District of New Jersey   3:21-cv-16823        SULLO & SULLO, LLP
EGENDOERFER, DIANE       NJ - USDC for the District of New Jersey   3:21-cv-11811        SULLO & SULLO, LLP
FOSTER, KRISTINA         NJ - USDC for the District of New Jersey   3:20-cv-13813        SULLO & SULLO, LLP
FRENCH, CLARA            NJ - USDC for the District of New Jersey   3:21-cv-03115        SULLO & SULLO, LLP
GONZALEZ, KARLA          NJ - USDC for the District of New Jersey   3:17-cv-07170        SULLO & SULLO, LLP
HAMMOCK, JOANNE          NJ - USDC for the District of New Jersey   3:21-cv-03853        SULLO & SULLO, LLP
HANCOCK, JENNIFER        NJ - USDC for the District of New Jersey   3:21-cv-15059        SULLO & SULLO, LLP
HARPER, JO ANN           NJ - USDC for the District of New Jersey   3:21-cv-13634        SULLO & SULLO, LLP
HINES, TINA              NJ - USDC for the District of New Jersey   3:20-cv-00836        SULLO & SULLO, LLP
HUDSON, JANEEL           NJ - USDC for the District of New Jersey   3:20-cv-08479        SULLO & SULLO, LLP
JACKSON, DEBRA           NJ - USDC for the District of New Jersey   3:17-cv-07493        SULLO & SULLO, LLP
KALIS-FRISK, BONNIE      NJ - USDC for the District of New Jersey   3:21-cv-16231        SULLO & SULLO, LLP
LAFAYE, JULIE            NJ - USDC for the District of New Jersey   3:21-cv-18020        SULLO & SULLO, LLP
LAMM, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-18716        SULLO & SULLO, LLP
LUCENTE, KIMBERLYN       NJ - USDC for the District of New Jersey   3:21-cv-03500        SULLO & SULLO, LLP
MARTIN, PHYLLIS          NJ - USDC for the District of New Jersey   3:20-cv-15446        SULLO & SULLO, LLP
MCDOWELL, LAURIE         NJ - USDC for the District of New Jersey   3:21-cv-17680        SULLO & SULLO, LLP
MENDOZA, LETITIA         NJ - USDC for the District of New Jersey   3:21-cv-08245        SULLO & SULLO, LLP
MONTOYA, ANNABELLE       NJ - USDC for the District of New Jersey   3:20-cv-15019        SULLO & SULLO, LLP




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          Claimant Name                         State Filed                        Docket Number                Plaintiff Counsel
NEVINS, LYNN                  NJ - USDC for the District of New Jersey       3:21-cv-06289         SULLO & SULLO, LLP
NOBLES, SHARON                NJ - USDC for the District of New Jersey       3:21-cv-09860         SULLO & SULLO, LLP
OXENRIDER, DEBBIE             NJ - USDC for the District of New Jersey       3:20-cv-14303         SULLO & SULLO, LLP
ROSE, NAKETA                  NJ - USDC for the District of New Jersey       3:21-cv-11732         SULLO & SULLO, LLP
SACK, SANDRA                  NJ - USDC for the District of New Jersey       3:20-cv-10267         SULLO & SULLO, LLP
SALVADOR, ANA                 NJ - USDC for the District of New Jersey       3:20-cv-12778         SULLO & SULLO, LLP
SCHMIDT, DINAH                NJ - USDC for the District of New Jersey       3:21-cv-07416         SULLO & SULLO, LLP
SIMS, MAXINE                  NJ - USDC for the District of New Jersey       3:20-cv-10592         SULLO & SULLO, LLP
SINGLETON, ELIZABETH          NJ - USDC for the District of New Jersey       3:20-cv-15298         SULLO & SULLO, LLP
SLAUGHTER, FANNIE             NJ - USDC for the District of New Jersey       3:20-cv-13823         SULLO & SULLO, LLP
SPALDING, CYNTHIA             NJ - USDC for the District of New Jersey       3:21-cv-04399         SULLO & SULLO, LLP
SPURR, JOSEPHINE              NJ - USDC for the District of New Jersey       3:20-cv-00491         SULLO & SULLO, LLP
SULLIVAN, SHANNA              NJ - USDC for the District of New Jersey       3:21-cv-01020         SULLO & SULLO, LLP
TAIT, JENNIFER                NJ - USDC for the District of New Jersey       3:20-cv-12299         SULLO & SULLO, LLP
VALERE, KANDY                 NJ - USDC for the District of New Jersey       3:20-cv-13277         SULLO & SULLO, LLP
VANCE, THELMA                 NJ - USDC for the District of New Jersey       3:21-cv-01318         SULLO & SULLO, LLP
VANDENBERG, JO-ANNE           NJ - USDC for the District of New Jersey       3:21-cv-00864         SULLO & SULLO, LLP
WALLS, MELODY                 NJ - USDC for the District of New Jersey       3:20-cv-00470         SULLO & SULLO, LLP
WARD, LUVENIA                 NJ - USDC for the District of New Jersey       3:21-cv-02245         SULLO & SULLO, LLP
WASHBURN, JO ANN              NJ - USDC for the District of New Jersey       3:18-cv-09377         SULLO & SULLO, LLP
WINTERS, SHANA                NJ - USDC for the District of New Jersey       3:20-cv-00450         SULLO & SULLO, LLP
WRIGHT, MARGARET              NJ - USDC for the District of New Jersey       3:20-cv-13272         SULLO & SULLO, LLP
CANNANE, BENITA               NJ - USDC for the District of New Jersey       3:17-cv-07990         SUMMERS & JOHNSON, P.C.
DEMUS, WILLIE                 NJ - USDC for the District of New Jersey       3:17-cv-11672         SUMMERS & JOHNSON, P.C.
HAGY, VIVIAN                  NJ - USDC for the District of New Jersey       3:21-cv-06733         SUMMERS & JOHNSON, P.C.
ISAACS, ZELMA                 NJ - USDC for the District of New Jersey       3:17-cv-11676         SUMMERS & JOHNSON, P.C.
LEWIS, EIRLYS                 NJ - USDC for the District of New Jersey       3:21-cv-16594         SUMMERS & JOHNSON, P.C.
MALDONADO, YOLANDA            NJ - USDC for the District of New Jersey       3:20-cv-15464         SUMMERS & JOHNSON, P.C.
MOORE-WILBURN, JEROLENE       NJ - USDC for the District of New Jersey       3:21-cv-16590         SUMMERS & JOHNSON, P.C.
MORGAN, LEAH                  NJ - USDC for the District of New Jersey       3:21-cv-08405         SUMMERS & JOHNSON, P.C.
MOSQUEDA, CONNIE              NJ - USDC for the District of New Jersey       3:20-cv-15471         SUMMERS & JOHNSON, P.C.
NELSON, SUZANNE               NJ - USDC for the District of New Jersey       3:20-cv-16081         SUMMERS & JOHNSON, P.C.
RASLER, ANN                   NJ - USDC for the District of New Jersey       3:20-cv-06385         SUMMERS & JOHNSON, P.C.
REYES, PAMELA                 NJ - USDC for the District of New Jersey       3:20-cv-16088         SUMMERS & JOHNSON, P.C.
REYNOLDS, ELISABETH           NJ - USDC for the District of New Jersey       3:21-cv-08411         SUMMERS & JOHNSON, P.C.
ROBBINS, MICHELLE             NJ - USDC for the District of New Jersey       3:21-cv-16596         SUMMERS & JOHNSON, P.C.
SHANNON, CAROL                NJ - USDC for the District of New Jersey       3:20-cv-16100         SUMMERS & JOHNSON, P.C.
SHAW, SHIRLEY                 NJ - USDC for the District of New Jersey       3:21-cv-17077         SUMMERS & JOHNSON, P.C.
SMITH, CATHERINE              NJ - USDC for the District of New Jersey       3:21-cv-08418         SUMMERS & JOHNSON, P.C.
STOCKWELL, LINDA              NJ - USDC for the District of New Jersey       3:18-cv-17084         SUMMERS & JOHNSON, P.C.
WALLACE, JULIE                NJ - USDC for the District of New Jersey       3:18-cv-17090         SUMMERS & JOHNSON, P.C.
WALLACE, VEERAKAMOL           NJ - USDC for the District of New Jersey       3:20-cv-06388         SUMMERS & JOHNSON, P.C.
WILLIS, DOROTHY               NJ - USDC for the District of New Jersey       3:18-cv-17078         SUMMERS & JOHNSON, P.C.
KARRICK, KIMBERLY             NJ - USDC for the District of New Jersey       3:17-cv-02653         SUTTON, ALKER & RATHER, LLC
BEST, PEGGY                   IL - Circuit Court - Madison County            21-L-0142             SWMW LAW, LLC
BROWN, CAMMIE EST OF CASSIE
                              IL - Circuit Court - Madison County            21-L-0427             SWMW LAW, LLC
COLWELL
BURGER, BRITTANY              IL - Circuit Court - Madison County            19-L-1059             SWMW LAW, LLC
CANZATE, KIMBERLY EST OF MARY
                              IL - Circuit Court - Madison County            18-L-1298             SWMW LAW, LLC
MINER
ESTILL, WAYNE                 IL - Circuit Court - Madison County            20-L-0239             SWMW LAW, LLC
FROST, BELINDA AND FROST,
                              IL - Circuit Court - Madison County            21-L-1030             SWMW LAW, LLC
THOMAS
GRAGG, JUDY                   MO - Circuit Court - City of St. Louis         2022-CC00665          SWMW LAW, LLC
HESSION, KEVIN AND HESSION,
                              IL - Circuit Court - Madison County            21-L-1145             SWMW LAW, LLC
JUDY
HUCK, VINCENT ESTATE OF
                              MO - Circuit Court - City of St. Louis         2122-CC09069          SWMW LAW, LLC
HOSANA HUCK
INFANTE, MINNIE               IL - Circuit Court - Madison County            20-L-1459             SWMW LAW, LLC
KNUTSON, CHRISTINA AND
                              IL - Circuit Court - Madison County            21-L-1137             SWMW LAW, LLC
KNUTSON, EUGENE
LODGE, JOAN EST LODGE, EDWARD IL - Circuit Court - Madison County            20-L-0031             SWMW LAW, LLC
PAT, KATHERINE AND PATE,
                                   MO - Circuit Court - City of St. Louis    2022-CC01119          SWMW LAW, LLC
ROBERT
ROBBINS, WILLIAM ESTATE OF M
                                   IL - Circuit Court - Madison County       18-L-0829             SWMW LAW, LLC
ROBBINS
SCHORLING, KAE EST OF
                                   IL - Circuit Court - Madison County       21-L-1046             SWMW LAW, LLC
GERALDINE ROWDEN
SHANN, RAYMOND                     IL - Circuit Court - Madison County       21-L-0869             SWMW LAW, LLC
                                                                                                   SZAFERMAN LAKIND BLUMSTEIN & BLADER,
CABAN, ZAIDA                       NJ - Superior Court - Atlantic County     ATL-001615-20
                                                                                                   PC
                                                                                                   SZAFERMAN, LAKIND, BLUMSTEIN & BLADER
BARDEN, DOUGLAS                    NJ - Superior Court - Middlesex County    MID-L-01809-17AS
                                                                                                   PC
                                                                                                   SZAFERMAN, LAKIND, BLUMSTEIN & BLADER
ETHERIDGE, DAVID                   NJ - Superior Court - Middlesex County    MID-L-00932-17AS
                                                                                                   PC
                                                                                                   SZAFERMAN, LAKIND, BLUMSTEIN & BLADER
JOHNSON, BARBARA                   NJ - Superior Court - Middlesex County    MID-L-00672-18AS
                                                                                                   PC
                                                                                                   SZAFERMAN, LAKIND, BLUMSTEIN & BLADER
LANZO, STEPHEN                     NJ - Superior Court - Middlesex County    MID-L-07385-16AS
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          Claimant Name                     State Filed                    Docket Number                Plaintiff Counsel
ALLEN, WANDA              IL - Circuit Court - Cook County           2018-L-1786           TAFT STETTINIUS & HOLLISTER LLP
BROWN, EDNA               IL - Circuit Court - Cook County           2018-L-10476          TAFT STETTINIUS & HOLLISTER LLP
BUSCH, BARBARA            IL - Circuit Court - Cook County           2018-L-1306           TAFT STETTINIUS & HOLLISTER LLP
CARTER, TARSHWA           IL - Circuit Court - Cook County           2018-L-1310           TAFT STETTINIUS & HOLLISTER LLP
COATES, BRIDGET           IL - Circuit Court - Cook County           2018-L-1625           TAFT STETTINIUS & HOLLISTER LLP
COOK, ELAINE              IL - Circuit Court - Cook County           2018-L-1811           TAFT STETTINIUS & HOLLISTER LLP
DUNBAR, PATRICIA          IL - Circuit Court - Cook County           2018-L-1789           TAFT STETTINIUS & HOLLISTER LLP
FRYE-MORAGNE, ANN         IL - Circuit Court - Cook County           2017-L-13316          TAFT STETTINIUS & HOLLISTER LLP
FUGIEL, DEBRA             IL - Circuit Court - Cook County           2018-L-1806           TAFT STETTINIUS & HOLLISTER LLP
HARRIS, ANDREA            IL - Circuit Court - Cook County           2017-L-2169           TAFT STETTINIUS & HOLLISTER LLP
HODGE, CHRISTINE          IL - Circuit Court - Cook County           2018-L-1807           TAFT STETTINIUS & HOLLISTER LLP
JONES, VONCILE            IL - Circuit Court - Cook County           2018-L-1790           TAFT STETTINIUS & HOLLISTER LLP
KIRK-BROWN, MILDRED       IL - Circuit Court - Cook County           2018-L-1866           TAFT STETTINIUS & HOLLISTER LLP
LEACH, SUSAN              IL - Circuit Court - Cook County           2018-L-1301           TAFT STETTINIUS & HOLLISTER LLP
MCGINNIS, BERNADETTE      IL - Circuit Court - Cook County           2018-L-1628           TAFT STETTINIUS & HOLLISTER LLP
SCHMIDT, MARALDINE        IL - Circuit Court - Cook County           2018-L-1809           TAFT STETTINIUS & HOLLISTER LLP
WILDMAN, SHARON           IL - Circuit Court - Cook County           2018-L-1309           TAFT STETTINIUS & HOLLISTER LLP
WILLIAMS, OSHUNNA         IL - Circuit Court - Cook County           2018-L-1308           TAFT STETTINIUS & HOLLISTER LLP
LINDSAY, SHELLEY          NJ - USDC for the District of New Jersey   3:21-cv-09969         TALMADGE BRADDOCK
BOND-BOOTH, BEVERLY       NJ - USDC for the District of New Jersey   3:20-cv-06748         TAUTFEST BOND
COLTER, BONNIE            NJ - USDC for the District of New Jersey   3:20-cv-15516         TAUTFEST BOND
DAVIS, CLARA              NJ - USDC for the District of New Jersey   3:20-cv-14866         TAUTFEST BOND
FITZPATRICK, DENISE       NJ - USDC for the District of New Jersey   3:20-cv-09323         TAUTFEST BOND
GARZA, PATRICIA           NJ - USDC for the District of New Jersey   3:20-cv-15505         TAUTFEST BOND
HARRIS, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-05680         TAUTFEST BOND
HEBERT, MARY              NJ - USDC for the District of New Jersey   3:21-cv-13039         TAUTFEST BOND
HUGHES, FAITH             NJ - USDC for the District of New Jersey   3:20-cv-14656         TAUTFEST BOND
JENNINGS, GERMAINE        NJ - USDC for the District of New Jersey   3:21-cv-06661         TAUTFEST BOND
LUTZ, CATHLEEN            NJ - USDC for the District of New Jersey   3:21-cv-04703         TAUTFEST BOND
MCKENZIE, JOYCE           NJ - USDC for the District of New Jersey   3:20-cv-15615         TAUTFEST BOND
RATCLIFFE, PATTI          NJ - USDC for the District of New Jersey   3:20-cv-12242         TAUTFEST BOND
SHUGART, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-14292         TAUTFEST BOND
SUMTER, IVANELL           NJ - USDC for the District of New Jersey   3:20-cv-14591         TAUTFEST BOND
TINDER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-00794         TAUTFEST BOND
WILLMAN, WENDY            NJ - USDC for the District of New Jersey   3:20-cv-14051         TAUTFEST BOND
GARCIA, LOUISE            NJ - USDC for the District of New Jersey   3:17-cv-08290         THE ALARID LAW FIRM, P.C.
SESKIN, MARILYN           FL - Circuit Court - Miami Dade County     19-17627CA01          THE ALVAREZ LAW FIRM
ANDERSON, JULIE           NJ - USDC for the District of New Jersey   3:19-cv-19161         THE BARNES FIRM, LC
ARREDONDO, CLAUDIA        NJ - USDC for the District of New Jersey   3:19-cv-19598         THE BARNES FIRM, LC
BENTAIEB, KATHY M         NJ - USDC for the District of New Jersey   3:19-cv-18913         THE BARNES FIRM, LC
BOUGHER, BARBARA          NJ - USDC for the District of New Jersey   3:20-cv-05028         THE BARNES FIRM, LC
HENNINGS, DEBBIE          NJ - USDC for the District of New Jersey   3:21-cv-13653         THE BARNES FIRM, LC
HOFFMANN, CYNTHIA         NJ - USDC for the District of New Jersey   3:19-cv-19903         THE BARNES FIRM, LC
BAYHYLLE, MARY            NJ - USDC for the District of New Jersey   3:20-cv-16562         THE BARNES FIRM, P.C.
GAY, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-11615         THE BARNES FIRM, P.C.
GULLY, CYNTHIA            NJ - USDC for the District of New Jersey   3:19-cv-19896         THE BARNES FIRM, P.C.
MARTINEZ, SANDRA          NJ - USDC for the District of New Jersey   3:19-cv-19723         THE BARNES FIRM, P.C.
MORRIS, THELMA            NJ - USDC for the District of New Jersey   3:21-cv-13692         THE BARNES FIRM, P.C.
NEFF, MARY                NJ - USDC for the District of New Jersey   3:21-cv-01799         THE BARNES FIRM, P.C.
WILKINS, ALBERTA          NJ - USDC for the District of New Jersey   3:21-cv-13682         THE BARNES FIRM, P.C.
AALTO, EILEEN             NJ - USDC for the District of New Jersey   3:21-cv-04972         THE BENTON LAW FIRM, PLLC
ADAMS, LILLIAN            NJ - USDC for the District of New Jersey   3:20-cv-14394         THE BENTON LAW FIRM, PLLC
ADAMS, WAYNETTE           NJ - USDC for the District of New Jersey   3:21-cv-14211         THE BENTON LAW FIRM, PLLC
ARMSTRONG, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-00493         THE BENTON LAW FIRM, PLLC
BAHAM, GWENDOLYN          NJ - USDC for the District of New Jersey   3:21-cv-02924         THE BENTON LAW FIRM, PLLC
BAKER, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-04501         THE BENTON LAW FIRM, PLLC
BARNETT, GLENDA           NJ - USDC for the District of New Jersey   3:20-cv-12845         THE BENTON LAW FIRM, PLLC
BAUER-LOSTAUNAU, NORMA    NJ - USDC for the District of New Jersey   3:20-cv-14385         THE BENTON LAW FIRM, PLLC
BHOJ, MOHANIE             NJ - USDC for the District of New Jersey   3:20-cv-15102         THE BENTON LAW FIRM, PLLC
BIGGS, VIRGINIA           NJ - USDC for the District of New Jersey   3:21-cv-07174         THE BENTON LAW FIRM, PLLC
BOLTON, DIANE             NJ - USDC for the District of New Jersey   3:21-cv-14212         THE BENTON LAW FIRM, PLLC
BROWN, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-02608         THE BENTON LAW FIRM, PLLC
BRUMLEVE, CAROL           NJ - USDC for the District of New Jersey   3:21-cv-04506         THE BENTON LAW FIRM, PLLC
BURNS, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-00305         THE BENTON LAW FIRM, PLLC
CALDWELL, GERALDINE       NJ - USDC for the District of New Jersey   3:21-cv-13148         THE BENTON LAW FIRM, PLLC
CARLETON, CATHY           NJ - USDC for the District of New Jersey   3:21-cv-01062         THE BENTON LAW FIRM, PLLC
CARPENTER, DAWNMARIE      NJ - USDC for the District of New Jersey   3:20-cv-17051         THE BENTON LAW FIRM, PLLC
CHENNAULT, WILLIE         NJ - USDC for the District of New Jersey   3:21-cv-02611         THE BENTON LAW FIRM, PLLC
CLARK, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-15902         THE BENTON LAW FIRM, PLLC
COATES, LISA              NJ - USDC for the District of New Jersey   3:21-cv-04737         THE BENTON LAW FIRM, PLLC
COLEMAN, LEATHE           NJ - USDC for the District of New Jersey   3:20-cv-13042         THE BENTON LAW FIRM, PLLC
COOK, BRITTANI            NJ - USDC for the District of New Jersey   3:20-cv-12143         THE BENTON LAW FIRM, PLLC
COOK, MARY                NJ - USDC for the District of New Jersey   3:21-cv-07214         THE BENTON LAW FIRM, PLLC
COOPER, DEBORAH           NJ - USDC for the District of New Jersey   3:21-cv-13523         THE BENTON LAW FIRM, PLLC
COSENZA, ROSE             NJ - USDC for the District of New Jersey   3:21-cv-15259         THE BENTON LAW FIRM, PLLC
DAU, JEAN                 NJ - USDC for the District of New Jersey   3:20-cv-15640         THE BENTON LAW FIRM, PLLC
DAWSON, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-07183         THE BENTON LAW FIRM, PLLC
DE RAMUS, PHYLLIS         NJ - USDC for the District of New Jersey   3:21-cv-04558         THE BENTON LAW FIRM, PLLC
DEMSKI, EILEEN            NJ - USDC for the District of New Jersey   3:21-cv-02612         THE BENTON LAW FIRM, PLLC
DOWNEY, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-00339         THE BENTON LAW FIRM, PLLC




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
DOWNIE, MARY              NJ - USDC for the District of New Jersey   3:21-cv-00517         THE BENTON LAW FIRM, PLLC
DUKES, MARTHA             NJ - USDC for the District of New Jersey   3:21-cv-12238         THE BENTON LAW FIRM, PLLC
ERBY, MINNIE              NJ - USDC for the District of New Jersey   3:21-cv-09177         THE BENTON LAW FIRM, PLLC
FACSINA, CONNIE           NJ - USDC for the District of New Jersey   3:20-cv-15916         THE BENTON LAW FIRM, PLLC
FELTUS, TAMMY             NJ - USDC for the District of New Jersey   3:21-cv-07686         THE BENTON LAW FIRM, PLLC
FINGERS, MAMIE            NJ - USDC for the District of New Jersey   3:21-cv-03353         THE BENTON LAW FIRM, PLLC
FLOREZ, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-01824         THE BENTON LAW FIRM, PLLC
GALLAGHER, REGINA         NJ - USDC for the District of New Jersey   3:21-cv-04516         THE BENTON LAW FIRM, PLLC
GATES, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-01063         THE BENTON LAW FIRM, PLLC
GLASS, RACHEL             NJ - USDC for the District of New Jersey   3:20-cv-15024         THE BENTON LAW FIRM, PLLC
GODFREY, KATHY            NJ - USDC for the District of New Jersey   3:21-cv-07188         THE BENTON LAW FIRM, PLLC
GRANT, JO                 NJ - USDC for the District of New Jersey   3:21-cv-00340         THE BENTON LAW FIRM, PLLC
GRAY, JUANITA             NJ - USDC for the District of New Jersey   3:20-cv-12846         THE BENTON LAW FIRM, PLLC
GREEN, MARTHA             NJ - USDC for the District of New Jersey   3:20-cv-15074         THE BENTON LAW FIRM, PLLC
GREENE, SAUNDRA           NJ - USDC for the District of New Jersey   3:21-cv-03053         THE BENTON LAW FIRM, PLLC
GRZYB, HEATHER            NJ - USDC for the District of New Jersey   3:21-cv-04529         THE BENTON LAW FIRM, PLLC
HAAG, JEAN                NJ - USDC for the District of New Jersey   3:20-cv-15026         THE BENTON LAW FIRM, PLLC
HAGER, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-02824         THE BENTON LAW FIRM, PLLC
HANSEN, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-15077         THE BENTON LAW FIRM, PLLC
HARPER, SHERYLL           NJ - USDC for the District of New Jersey   3:21-cv-08093         THE BENTON LAW FIRM, PLLC
HARRELL, PAMELA           NJ - USDC for the District of New Jersey   3:21-cv-16606         THE BENTON LAW FIRM, PLLC
HARRELSON, KATHRYN        NJ - USDC for the District of New Jersey   3:21-cv-07198         THE BENTON LAW FIRM, PLLC
HARRIS, JOYCE             NJ - USDC for the District of New Jersey   3:21-cv-09179         THE BENTON LAW FIRM, PLLC
HARSTAD, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-00711         THE BENTON LAW FIRM, PLLC
HAUSER, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-15028         THE BENTON LAW FIRM, PLLC
HEMPHILL, DARLENE         NJ - USDC for the District of New Jersey   3:20-cv-15646         THE BENTON LAW FIRM, PLLC
HICKS, TIFFANY            NJ - USDC for the District of New Jersey   3:20-cv-12139         THE BENTON LAW FIRM, PLLC
HILL, TIFFANY             NJ - USDC for the District of New Jersey   3:21-cv-14213         THE BENTON LAW FIRM, PLLC
HINES, LEE                NJ - USDC for the District of New Jersey   3:21-cv-01064         THE BENTON LAW FIRM, PLLC
HOLLENBACH, SUSAN         NJ - USDC for the District of New Jersey   3:20-cv-15030         THE BENTON LAW FIRM, PLLC
HORN, JO                  NJ - USDC for the District of New Jersey   3:21-cv-12863         THE BENTON LAW FIRM, PLLC
IOSSI, THERESA            NJ - USDC for the District of New Jersey   3:20-cv-15033         THE BENTON LAW FIRM, PLLC
JANES, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-15099         THE BENTON LAW FIRM, PLLC
JENKINS, SURENTHIA        NJ - USDC for the District of New Jersey   3:21-cv-07198         THE BENTON LAW FIRM, PLLC
JOAN, MARRERO-MOORE       NJ - USDC for the District of New Jersey   3:21-cv-12240         THE BENTON LAW FIRM, PLLC
JOHNSON, ANTOINETTE       NJ - USDC for the District of New Jersey   3:21-cv-07709         THE BENTON LAW FIRM, PLLC
JONES, GLORIA             NJ - USDC for the District of New Jersey   3:21-cv-04540         THE BENTON LAW FIRM, PLLC
KAELIN, ANN               NJ - USDC for the District of New Jersey   3:21-cv-00495         THE BENTON LAW FIRM, PLLC
KIRBY, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-10719         THE BENTON LAW FIRM, PLLC
KNIGHT, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-12386         THE BENTON LAW FIRM, PLLC
LAMB, EUN                 NJ - USDC for the District of New Jersey   3:20-cv-18384         THE BENTON LAW FIRM, PLLC
LAMBERT, ELAINE           NJ - USDC for the District of New Jersey   3:21-cv-04514         THE BENTON LAW FIRM, PLLC
LEFTWICH, AUTUMN          NJ - USDC for the District of New Jersey   3:21-cv-00309         THE BENTON LAW FIRM, PLLC
LEWIS, SHIRLEY            NJ - USDC for the District of New Jersey   3:20-cv-10731         THE BENTON LAW FIRM, PLLC
LOPEZ, AMANDA             NJ - USDC for the District of New Jersey   3:21-cv-07203         THE BENTON LAW FIRM, PLLC
LUTZ, EMMA                NJ - USDC for the District of New Jersey   3:20-cv-14386         THE BENTON LAW FIRM, PLLC
MADOLE, KAREN             NJ - USDC for the District of New Jersey   3:20-cv-12872         THE BENTON LAW FIRM, PLLC
MAPLES, REINESHA          NJ - USDC for the District of New Jersey   3:20-cv-14388         THE BENTON LAW FIRM, PLLC
MARTIN, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-16583         THE BENTON LAW FIRM, PLLC
MATA, ELVIA               NJ - USDC for the District of New Jersey   3:20-cv-18584         THE BENTON LAW FIRM, PLLC
MCCRAE, PEGGI             NJ - USDC for the District of New Jersey   3:20-cv-18387         THE BENTON LAW FIRM, PLLC
MCDONALD, RUBY            NJ - USDC for the District of New Jersey   3:20-cv-15036         THE BENTON LAW FIRM, PLLC
MCGHEE, MICALYNE          NJ - USDC for the District of New Jersey   3:20-cv-15039         THE BENTON LAW FIRM, PLLC
MCGILLIS, YVONNE          NJ - USDC for the District of New Jersey   3:20-cv-15075         THE BENTON LAW FIRM, PLLC
MEACHEM, JERI             NJ - USDC for the District of New Jersey   3:21-cv-04988         THE BENTON LAW FIRM, PLLC
MENDEZ, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-15647         THE BENTON LAW FIRM, PLLC
MIJANGOS, EUSEBIA         NJ - USDC for the District of New Jersey   3:20-cv-16369         THE BENTON LAW FIRM, PLLC
MILLICAN, AUNDREAX        NJ - USDC for the District of New Jersey   3:21-cv-12241         THE BENTON LAW FIRM, PLLC
MIRANDA, MARGO            NJ - USDC for the District of New Jersey   3:21-cv-00342         THE BENTON LAW FIRM, PLLC
MOORE, GERTIE             NJ - USDC for the District of New Jersey   3:21-cv-07204         THE BENTON LAW FIRM, PLLC
MOORE, HELEN              NJ - USDC for the District of New Jersey   3:20-cv-13470         THE BENTON LAW FIRM, PLLC
MULLICA, ALICIA           NJ - USDC for the District of New Jersey   3:20-cv-15045         THE BENTON LAW FIRM, PLLC
MUNGUIA, DIANE            NJ - USDC for the District of New Jersey   3:21-cv-02021         THE BENTON LAW FIRM, PLLC
MURPHY, JAYMIE            NJ - USDC for the District of New Jersey   3:21-cv-07206         THE BENTON LAW FIRM, PLLC
MURRAY, DENISE            NJ - USDC for the District of New Jersey   3:21-cv-00522         THE BENTON LAW FIRM, PLLC
NELSON, EMMA              NJ - USDC for the District of New Jersey   3:21-cv-00526         THE BENTON LAW FIRM, PLLC
NICHOLSON, LINDA          NJ - USDC for the District of New Jersey   3:21-cv-03356         THE BENTON LAW FIRM, PLLC
NIMORI, JILL              NJ - USDC for the District of New Jersey   3:21-cv-12806         THE BENTON LAW FIRM, PLLC
NORRIS, DORIS             NJ - USDC for the District of New Jersey   3:21-cv-07210         THE BENTON LAW FIRM, PLLC
OECHSNER, KATHLEEN        NJ - USDC for the District of New Jersey   3:20-cv-16288         THE BENTON LAW FIRM, PLLC
OREM, MARTHA              NJ - USDC for the District of New Jersey   3:21-cv-04778         THE BENTON LAW FIRM, PLLC
PASCUAL, MERCEDES         NJ - USDC for the District of New Jersey   3:20-cv-15076         THE BENTON LAW FIRM, PLLC
PATTERSON, CHRISTINE      NJ - USDC for the District of New Jersey   3:20-cv-15491         THE BENTON LAW FIRM, PLLC
PEREZ, NILDA              NJ - USDC for the District of New Jersey   3:20-cv-16290         THE BENTON LAW FIRM, PLLC
PETRUCELLI, JENNIFER      NJ - USDC for the District of New Jersey   3:21-cv-04781         THE BENTON LAW FIRM, PLLC
PUGH, BETTYE              NJ - USDC for the District of New Jersey   3:20-cv-13469         THE BENTON LAW FIRM, PLLC
RADA, CECILIA             NJ - USDC for the District of New Jersey   3:21-cv-04550         THE BENTON LAW FIRM, PLLC
RAK-PIETRYLA, CAROL       NJ - USDC for the District of New Jersey   3:21-cv-12859         THE BENTON LAW FIRM, PLLC
RATLIFF, ROBYN            NJ - USDC for the District of New Jersey   3:20-cv-18391         THE BENTON LAW FIRM, PLLC
REED, EMMA                NJ - USDC for the District of New Jersey   3:21-cv-00502         THE BENTON LAW FIRM, PLLC




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          Claimant Name                    State Filed                          Docket Number                Plaintiff Counsel
REYNOLDS, ROLANDA          NJ - USDC for the District of New Jersey       3:21-cv-02928         THE BENTON LAW FIRM, PLLC
RICHARDSON, LAKIESHA       NJ - USDC for the District of New Jersey       3:20-cv-15054         THE BENTON LAW FIRM, PLLC
RINGER, KATHRYN            NJ - USDC for the District of New Jersey       3:20-cv-13049         THE BENTON LAW FIRM, PLLC
ROBINSON, MARY             NJ - USDC for the District of New Jersey       3:21-cv-01664         THE BENTON LAW FIRM, PLLC
RODRIGUEZ, TAMMY           NJ - USDC for the District of New Jersey       3:20-cv-12387         THE BENTON LAW FIRM, PLLC
ROUSSEAU, DEBORAH          NJ - USDC for the District of New Jersey       3:20-cv-15059         THE BENTON LAW FIRM, PLLC
ROWE, AMANDA               NJ - USDC for the District of New Jersey       3:20-cv-15651         THE BENTON LAW FIRM, PLLC
RUSH, SHIRLEY              NJ - USDC for the District of New Jersey       3:21-cv-14214         THE BENTON LAW FIRM, PLLC
SAN NICOLAS, DIANA         NJ - USDC for the District of New Jersey       3:20-cv-16446         THE BENTON LAW FIRM, PLLC
SANTIAGO, SHANNON          NJ - USDC for the District of New Jersey       3:21-cv-12817         THE BENTON LAW FIRM, PLLC
SAVAGE, DEBORAH            NJ - USDC for the District of New Jersey       3:21-cv-12818         THE BENTON LAW FIRM, PLLC
SELLARS, BETTY             NJ - USDC for the District of New Jersey       3:21-cv-01660         THE BENTON LAW FIRM, PLLC
SHERMAN, ARLENE            NJ - USDC for the District of New Jersey       3:20-cv-10254         THE BENTON LAW FIRM, PLLC
SHORT, DEEDEE              NJ - USDC for the District of New Jersey       3:21-cv-07724         THE BENTON LAW FIRM, PLLC
SHREFFLER, ZOE             NJ - USDC for the District of New Jersey       3:21-cv-01074         THE BENTON LAW FIRM, PLLC
SINGLETON-GABOIAN, LINDA   NJ - USDC for the District of New Jersey       3:20-cv-15911         THE BENTON LAW FIRM, PLLC
SMITH, RUBY                NJ - USDC for the District of New Jersey       3:21-cv-13334         THE BENTON LAW FIRM, PLLC
SMITH, SANDRA              NJ - USDC for the District of New Jersey       3:20-cv-10407         THE BENTON LAW FIRM, PLLC
SPELLER, BETTY             NJ - USDC for the District of New Jersey       3:20-cv-15652         THE BENTON LAW FIRM, PLLC
SPILLERS, DANA             NJ - USDC for the District of New Jersey       3:21-cv-14215         THE BENTON LAW FIRM, PLLC
SPINNER, PATRICIA          NJ - USDC for the District of New Jersey       3:21-cv-00632         THE BENTON LAW FIRM, PLLC
STEUBER, PATRICIA          NJ - USDC for the District of New Jersey       3:21-cv-00836         THE BENTON LAW FIRM, PLLC
STRATTON, PAT              NJ - USDC for the District of New Jersey       3:21-cv-09180         THE BENTON LAW FIRM, PLLC
TAHCHAWWICKAH, KIMBERLY    NJ - USDC for the District of New Jersey       3:21-cv-12821         THE BENTON LAW FIRM, PLLC
TERRY, NADINE              NJ - USDC for the District of New Jersey       3:21-cv-16614         THE BENTON LAW FIRM, PLLC
THOMAS, BETTY              NJ - USDC for the District of New Jersey       3:20-cv-15062         THE BENTON LAW FIRM, PLLC
THOMPSON, PATRINA          NJ - USDC for the District of New Jersey       3:20-cv-15653         THE BENTON LAW FIRM, PLLC
THOMPSON, VIRGINIA         NJ - USDC for the District of New Jersey       3:21-cv-04786         THE BENTON LAW FIRM, PLLC
THORNBERRY, PATRICIA       NJ - USDC for the District of New Jersey       3:21-cv-02927         THE BENTON LAW FIRM, PLLC
TIGHE, JACQUELINE          NJ - USDC for the District of New Jersey       3:20-cv-12252         THE BENTON LAW FIRM, PLLC
TISDALE, CAROLYN           NJ - USDC for the District of New Jersey       3:21-cv-13152         THE BENTON LAW FIRM, PLLC
TULLY, JOAN                NJ - USDC for the District of New Jersey       3:21-cv-00814         THE BENTON LAW FIRM, PLLC
VIGIL, TANIA               NJ - USDC for the District of New Jersey       3:20-cv-16337         THE BENTON LAW FIRM, PLLC
WAGNER, MARY               NJ - USDC for the District of New Jersey       3:20-cv-10403         THE BENTON LAW FIRM, PLLC
WALTERS, MARGARAET         NJ - USDC for the District of New Jersey       3:21-cv-07211         THE BENTON LAW FIRM, PLLC
WANDA, MERRY               NJ - USDC for the District of New Jersey       3:20-cv-13052         THE BENTON LAW FIRM, PLLC
WATSON, TERESA             NJ - USDC for the District of New Jersey       3:20-cv-12327         THE BENTON LAW FIRM, PLLC
WATTS, JESSICA             NJ - USDC for the District of New Jersey       3:21-cv-04992         THE BENTON LAW FIRM, PLLC
WATTS, JUDITH              NJ - USDC for the District of New Jersey       3:20-cv-15066         THE BENTON LAW FIRM, PLLC
WILBURN, PAULA             NJ - USDC for the District of New Jersey       3:21-cv-02929         THE BENTON LAW FIRM, PLLC
WILKS, PATRICIA            NJ - USDC for the District of New Jersey       3:21-cv-02827         THE BENTON LAW FIRM, PLLC
WILLIAMS, DAWNISE          NJ - USDC for the District of New Jersey       3:20-cv-10706         THE BENTON LAW FIRM, PLLC
WILLIAMS, EVA              NJ - USDC for the District of New Jersey       3:21-cv-14216         THE BENTON LAW FIRM, PLLC
WILLIS, FARRAH             NJ - USDC for the District of New Jersey       3:21-cv-01065         THE BENTON LAW FIRM, PLLC
WINSTON, PAULA             NJ - USDC for the District of New Jersey       3:21-cv-04745         THE BENTON LAW FIRM, PLLC
WITHROW, PAMELA            NJ - USDC for the District of New Jersey       3:21-cv-00310         THE BENTON LAW FIRM, PLLC
ANGIONE, LYNNE             CA - Superior Court - Los Angeles County       BC680008              THE BRANDI LAW FIRM
CRONE, DENIS               CA - Superior Court - Los Angeles County       BC673674              THE BRANDI LAW FIRM
DUNBAR, CHARLOTTE          CA - Superior Court - Alameda County           RG17873018            THE BRANDI LAW FIRM
EL-ATRACHE, DEDE           CA - Superior Court - San Diego County         37-2017-00031394      THE BRANDI LAW FIRM
GARICA, GEORGINIA          CA - Superior Court - Riverside County         RIC-1719825           THE BRANDI LAW FIRM
                           CA - Superior Court - City and County of San
WELLINGTON, MISTEL                                                        CGC-16-555620         THE BRANDI LAW FIRM
                           Francisco
BLAKE, CHRISTINE           NJ - USDC for the District of New Jersey       3:21-cv-09661         THE CARLSON LAW FIRM
BONNER, ANGELINNE          NJ - USDC for the District of New Jersey       3:21-cv-11383         THE CARLSON LAW FIRM
BROWN, ESTEFANA            NJ - USDC for the District of New Jersey       3:21-cv-11555         THE CARLSON LAW FIRM
CAIN, LINDA                NJ - USDC for the District of New Jersey       3:21-cv-11086         THE CARLSON LAW FIRM
CAMPBELL, MARY             NJ - USDC for the District of New Jersey       3:21-cv-05766         THE CARLSON LAW FIRM
CARAS, SHIRLEY             NJ - USDC for the District of New Jersey       3:20-cv-05440         THE CARLSON LAW FIRM
CHESTER, DIANE             NJ - USDC for the District of New Jersey       3:21-cv-10655         THE CARLSON LAW FIRM
DAVEY, MARY                NJ - USDC for the District of New Jersey       3:21-cv-11676         THE CARLSON LAW FIRM
DEL ANGEL, DENISE          NJ - USDC for the District of New Jersey       3:21-cv-11682         THE CARLSON LAW FIRM
FUHR, JOAN                 NJ - USDC for the District of New Jersey       3:21-cv-01242         THE CARLSON LAW FIRM
GARCIA, YVONNE             NJ - USDC for the District of New Jersey       3:21-cv-09632         THE CARLSON LAW FIRM
GRIFFIN, LYNETTE           NJ - USDC for the District of New Jersey       3:20-cv-08874         THE CARLSON LAW FIRM
HARTMAN, JUDY              NJ - USDC for the District of New Jersey       3:21-cv-08510         THE CARLSON LAW FIRM
HOLLEY, EMILY              NJ - USDC for the District of New Jersey       3:21-cv-10618         THE CARLSON LAW FIRM
JOHNSON, GLORIA            NJ - USDC for the District of New Jersey       3:21-cv-11511         THE CARLSON LAW FIRM
JOHNSON, SHELIA            NJ - USDC for the District of New Jersey       3:21-cv-05449         THE CARLSON LAW FIRM
LATHAM, VERNA              NJ - USDC for the District of New Jersey       3:21-cv-10667         THE CARLSON LAW FIRM
LOAFMAN, JANN              NJ - USDC for the District of New Jersey       3:21-cv-11013         THE CARLSON LAW FIRM
MCDOWELL, NASHIRA          NJ - USDC for the District of New Jersey       3:21-cv-11020         THE CARLSON LAW FIRM
MULLINS, JULIA             NJ - USDC for the District of New Jersey       3:21-cv-11039         THE CARLSON LAW FIRM
NEESE, LINDA               NJ - USDC for the District of New Jersey       3:21-cv-05031         THE CARLSON LAW FIRM
NEWCOMB, NANCY             NJ - USDC for the District of New Jersey       3:21-cv-11220         THE CARLSON LAW FIRM
RAMOS, RUBY                NJ - USDC for the District of New Jersey       3:21-cv-05669         THE CARLSON LAW FIRM
SMITH, KATHY               NJ - USDC for the District of New Jersey       3:21-cv-11252         THE CARLSON LAW FIRM
SPONABLE, BONNIE           NJ - USDC for the District of New Jersey       3:21-cv-01060         THE CARLSON LAW FIRM
SULLIVAN, LAURIE           NJ - USDC for the District of New Jersey       3:20-cv-02798         THE CARLSON LAW FIRM
SUNARJO, SHERLEY           NJ - USDC for the District of New Jersey       3:21-cv-11479         THE CARLSON LAW FIRM




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         Claimant Name                        State Filed                      Docket Number                Plaintiff Counsel
THOMASON, SARAH              NJ - USDC for the District of New Jersey    3:21-cv-11487         THE CARLSON LAW FIRM
WEINHEIMER-REYES, LISA       NJ - USDC for the District of New Jersey    3:21-cv-11671         THE CARLSON LAW FIRM
WILSON, LUCILLE              NJ - USDC for the District of New Jersey    3:21-cv-04035         THE CARLSON LAW FIRM
YOUNG, ALICE                 NJ - USDC for the District of New Jersey    3:21-cv-11457         THE CARLSON LAW FIRM
AIKENS, CHELSEA              LA - District Court - Ascension Parish      119332D               THE CHEEK LAW FIRM
ANDERSON, GLORIA             LA - District Court - Orleans Parish        2019-7716             THE CHEEK LAW FIRM
AUTIN, CHRISTINE             LA - District Court - East Baton Rouge Parish C-671445 24         THE CHEEK LAW FIRM
BACCHUS, ERNESTINE           LA - District Court - Orleans Parish        17-10829              THE CHEEK LAW FIRM
BATTISTE, DEBBIE             NJ - USDC for the District of New Jersey    3:19-cv-11721         THE CHEEK LAW FIRM
BELL, ANNIE                  LA - District Court - Orleans Parish        2019-7665             THE CHEEK LAW FIRM
BROUSSARD, SHAVONTAIE        LA - District Court - East Baton Rouge Parish C666539 26          THE CHEEK LAW FIRM
CHARLES, ROSE                NJ - USDC for the District of New Jersey    3:17-cv-01681         THE CHEEK LAW FIRM
CORTEZ, SANDRA               LA - District Court - East Baton Rouge Parish C-676334 25         THE CHEEK LAW FIRM
DAVIS, TRACEY                LA - District Court - Orleans Parish        2019-9175             THE CHEEK LAW FIRM
DEVILLE, PAMELA              NJ - USDC for the District of New Jersey    3:17-cv-05636         THE CHEEK LAW FIRM
EISENHARDT, MARGARET         LA - District Court - Orleans Parish        2017-10826            THE CHEEK LAW FIRM
FALGOUT, MARY                LA - District Court - East Baton Rouge Parish C 670243 27         THE CHEEK LAW FIRM
GONSOULIN, MIRIAM            LA - District Court - Orleans Parish        2019-11295            THE CHEEK LAW FIRM
GONZALEZ-RODRIGUEZ, AMPARO   NJ - USDC for the District of New Jersey    3:20-cv-06737         THE CHEEK LAW FIRM
GREMILLION, ERNESTINE        LA - District Court - Orleans Parish        2019-7664             THE CHEEK LAW FIRM
HAYES, ANITA                 LA - District Court - East Baton Rouge Parish C-689468-23         THE CHEEK LAW FIRM
HUDSON, VALOREY              LA - District Court - Orleans Parish        17-10834              THE CHEEK LAW FIRM
HUFFMAN, CHERYL              LA - District Court - East Baton Rouge Parish C665105D            THE CHEEK LAW FIRM
HURLEY, KATHY                LA - District Court - Orleans Parish        2017-10832            THE CHEEK LAW FIRM
INNIS, VONDA                 NJ - USDC for the District of New Jersey    3:18-cv-03173         THE CHEEK LAW FIRM
JACKSON, CATHY               LA - District Court - Orleans Parish        2018-2673             THE CHEEK LAW FIRM
JONES, BRENDA                LA - District Court - East Baton Rouge Parish C-678343D           THE CHEEK LAW FIRM
JUNIOR, REGINA               LA - District Court - Orleans Parish        2019-7717             THE CHEEK LAW FIRM
LACOUR, SONIA                LA - District Court - East Baton Rouge Parish C-687381            THE CHEEK LAW FIRM
LANDRY, KATHLEEN             LA - District Court - Orleans Parish        17-10827              THE CHEEK LAW FIRM
LEA, PHYLLIS                 LA - District Court - Orleans Parish        2018-2613             THE CHEEK LAW FIRM
MCBRIDE, BRIDGET             LA - District Court - Orleans Parish        2016-09413            THE CHEEK LAW FIRM
SHAMBLIN, WANDA              NJ - USDC for the District of New Jersey    3:19-cv-13444         THE CHEEK LAW FIRM
SHEPPERSON, JULIE            LA - District Court - Orleans Parish        2019-7718             THE CHEEK LAW FIRM
SONDGEROTH, LILLIAN          NJ - USDC for the District of New Jersey    3:17-cv-05638         THE CHEEK LAW FIRM
STARK, KIMMY                 LA - District Court - Orleans Parish        2017-10831            THE CHEEK LAW FIRM
BLEECKER, ANNE               NJ - USDC for the District of New Jersey    3:18-cv-09509         THE CLORE LAW GROUP LLC
LIVINGSTON, PATRICIA         NJ - USDC for the District of New Jersey    3:18-cv-12065         THE CRONE LAW FIRM, PLC
BROCK, LOIS                  NJ - USDC for the District of New Jersey    3:18-cv-16915         THE CUFFIE LAW FIRM
BROWN, OZZIE                 NJ - USDC for the District of New Jersey    3:18-cv-17183         THE CUFFIE LAW FIRM
BURKS, LUCILLE               NJ - USDC for the District of New Jersey    3:18-cv-17188         THE CUFFIE LAW FIRM
CRENSHAW, DEBORAH            NJ - USDC for the District of New Jersey    3:17-cv-01820         THE CUFFIE LAW FIRM
DUKES, ANDRIEA               NJ - USDC for the District of New Jersey    3:18-cv-17286         THE CUFFIE LAW FIRM
EDWARDS, CHRISHA             NJ - USDC for the District of New Jersey    3:17-cv-00513         THE CUFFIE LAW FIRM
EDWARDS, SHIRLEY             NJ - USDC for the District of New Jersey    3:18-cv-16916         THE CUFFIE LAW FIRM
FITCH, CHERYL                NJ - USDC for the District of New Jersey    3:18-cv-16112         THE CUFFIE LAW FIRM
GUTHRIE, JEANNIVEE           NJ - USDC for the District of New Jersey    3:18-cv-16918         THE CUFFIE LAW FIRM
HARRIS, BRUNETTE             NJ - USDC for the District of New Jersey    3:18-cv-14687         THE CUFFIE LAW FIRM
HARRIS, SHELIA               NJ - USDC for the District of New Jersey    3:18-cv-01405         THE CUFFIE LAW FIRM
HAYNES, JULIE                NJ - USDC for the District of New Jersey    3:18-cv-17299         THE CUFFIE LAW FIRM
HYMES, JUDITH                NJ - USDC for the District of New Jersey    3:18-cv-17080         THE CUFFIE LAW FIRM
KENT, ANNIE                  NJ - USDC for the District of New Jersey    3:18-cv-08104         THE CUFFIE LAW FIRM
LLOYD, MARCIA                NJ - USDC for the District of New Jersey    3:18-cv-17086         THE CUFFIE LAW FIRM
SANDERSON, LYNETH            NJ - USDC for the District of New Jersey    3:21-cv-17143         THE CUFFIE LAW FIRM
SETZER, ANNIE                NJ - USDC for the District of New Jersey    3:16-cv-07890         THE CUFFIE LAW FIRM
SMITH, DOROTHY               NJ - USDC for the District of New Jersey    3:18-cv-15647         THE CUFFIE LAW FIRM
SPORT, NAOMI                 NJ - USDC for the District of New Jersey    3:20-cv-20718         THE CUFFIE LAW FIRM
VINSON, TOIYA                NJ - USDC for the District of New Jersey    3:18-cv-17380         THE CUFFIE LAW FIRM
WASHINGTON, KATHER           NJ - USDC for the District of New Jersey    3:18-cv-17091         THE CUFFIE LAW FIRM
WILKS, MERRION               NJ - USDC for the District of New Jersey    3:18-cv-17308         THE CUFFIE LAW FIRM
WILLIAMS, ANNIE              NJ - USDC for the District of New Jersey    3:18-cv-17068         THE CUFFIE LAW FIRM
WERNER, FRED                 MO - Circuit Court - City of St. Louis      2122-CC09037          THE DAILEY LAW FIRM
WERNER, FRED                 MO - Circuit Court - City of St. Louis      2122-CC09037          THE DAILEY LAW FIRM
AL CATANTII, SASHAH          NJ - USDC for the District of New Jersey    3:19-cv-12780         THE DEATON LAW FIRM
BAXTER, JENNIFER             NJ - USDC for the District of New Jersey    3:19-cv-12776         THE DEATON LAW FIRM
BECKER, VIRGINIA             NJ - USDC for the District of New Jersey    3:19-cv-12802         THE DEATON LAW FIRM
BERRETH, GAYLE               NJ - USDC for the District of New Jersey    3:19-cv-12803         THE DEATON LAW FIRM
BROWN, LILLIE                NJ - USDC for the District of New Jersey    3:19-cv-12773         THE DEATON LAW FIRM
CARVER, RUTH                 NJ - USDC for the District of New Jersey    3:17-cv-03549         THE DEATON LAW FIRM
CICCARIELLO, KATHRYN         NJ - USDC for the District of New Jersey    3:19-cv-12737         THE DEATON LAW FIRM
CLARK, KATHLEEN              NJ - USDC for the District of New Jersey    3:17-cv-03539         THE DEATON LAW FIRM
ERICKSON, TAMI               NJ - USDC for the District of New Jersey    3:19-cv-12801         THE DEATON LAW FIRM




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
EVANS, SUSAN              NJ - USDC for the District of New Jersey   3:17-cv-03570         THE DEATON LAW FIRM
FARMER, LENEL             NJ - USDC for the District of New Jersey   3:19-cv-12800         THE DEATON LAW FIRM
GOODWIN, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-03551         THE DEATON LAW FIRM
HAAS, MICHELE             NJ - USDC for the District of New Jersey   3:17-cv-03571         THE DEATON LAW FIRM
KEHOE, TRACEY             RI - Superior Court - Providence County    PC2018-2528           THE DEATON LAW FIRM
KOESTER, ELAINE           NJ - USDC for the District of New Jersey   3:19-cv-12778         THE DEATON LAW FIRM
LEE, SANDRA               NJ - USDC for the District of New Jersey   3:17-cv-03548         THE DEATON LAW FIRM
MARQUEZ, CECILY           NJ - USDC for the District of New Jersey   3:19-cv-12972         THE DEATON LAW FIRM
MINTZER, BOBBI            NJ - USDC for the District of New Jersey   3:17-cv-03555         THE DEATON LAW FIRM
MISER, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-12774         THE DEATON LAW FIRM
MONDRAGON, BETTY          NJ - USDC for the District of New Jersey   3:19-cv-12973         THE DEATON LAW FIRM
PAIGE, CHERYL             NJ - USDC for the District of New Jersey   3:19-cv-12777         THE DEATON LAW FIRM
PANKONIEN, JANET          NJ - USDC for the District of New Jersey   3:17-cv-03568         THE DEATON LAW FIRM
RICKETTS, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-12797         THE DEATON LAW FIRM
SCHMIDT, MICHELLE         NJ - USDC for the District of New Jersey   3:19-cv-13297         THE DEATON LAW FIRM
STEBNER, BETH             NJ - USDC for the District of New Jersey   3:19-cv-12779         THE DEATON LAW FIRM
THOUN, SALLY              NJ - USDC for the District of New Jersey   3:19-cv-12733         THE DEATON LAW FIRM
TILLMAN, AMY              NJ - USDC for the District of New Jersey   3:19-cv-12782         THE DEATON LAW FIRM
TRIPP, SUZANNE            NJ - USDC for the District of New Jersey   3:19-cv-12732         THE DEATON LAW FIRM
VOLLMER, KAREN            NJ - USDC for the District of New Jersey   3:19-cv-12781         THE DEATON LAW FIRM
WILLITS, TRACEY           NJ - USDC for the District of New Jersey   3:19-cv-12738         THE DEATON LAW FIRM
ALFORD, VICKI             NJ - USDC for the District of New Jersey   3:16-cv-09506         THE DIAZ LAW FIRM, PLLC
ANDERSON, IDA             NJ - USDC for the District of New Jersey   3:18-cv-12282         THE DIAZ LAW FIRM, PLLC
BLACKMON, KATHLEEN        NJ - USDC for the District of New Jersey   3:18-cv-12307         THE DIAZ LAW FIRM, PLLC
BRUGGEMAN, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-03517         THE DIAZ LAW FIRM, PLLC
BUIE, DEBORAH             NJ - USDC for the District of New Jersey   3:18-cv-12280         THE DIAZ LAW FIRM, PLLC
BURNETTE, KRISTY          NJ - USDC for the District of New Jersey   3:20-cv-07783         THE DIAZ LAW FIRM, PLLC
CANARD, BEVERLY           NJ - USDC for the District of New Jersey   3:18-cv-12278         THE DIAZ LAW FIRM, PLLC
DEBOTH, RAMONA            CA - Superior Court - Lake County          CV416760              THE DIAZ LAW FIRM, PLLC
DILLON, EVA               NJ - USDC for the District of New Jersey   3:21-cv-06030         THE DIAZ LAW FIRM, PLLC
EPPS, MYRA                NJ - USDC for the District of New Jersey   3:19-cv-20015         THE DIAZ LAW FIRM, PLLC
GEORGE, GINA              NJ - USDC for the District of New Jersey   3:20-cv-03510         THE DIAZ LAW FIRM, PLLC
GRESSETT, BOBBIE          NJ - USDC for the District of New Jersey   3:18-cv-11637         THE DIAZ LAW FIRM, PLLC
HILL, SYLVIA              NJ - USDC for the District of New Jersey   3:20-cv-03509         THE DIAZ LAW FIRM, PLLC
HOWLETT, SARAH            NJ - USDC for the District of New Jersey   3:20-cv-03514         THE DIAZ LAW FIRM, PLLC
HULL, JOHNNIE             NJ - USDC for the District of New Jersey   3:18-cv-13374         THE DIAZ LAW FIRM, PLLC
JORDAN, DANAE (A MINOR)   NJ - USDC for the District of New Jersey   3:20-cv-03507         THE DIAZ LAW FIRM, PLLC
LEACH, SANDRA             NJ - USDC for the District of New Jersey   3:18-cv-12487         THE DIAZ LAW FIRM, PLLC
MARSHALL, PATRICIA        NJ - USDC for the District of New Jersey   3:18-cv-11640         THE DIAZ LAW FIRM, PLLC
MCWILLIAMS, CATHERINE     NJ - USDC for the District of New Jersey   3:18-cv-12276         THE DIAZ LAW FIRM, PLLC
NEWSOME, MARY             NJ - USDC for the District of New Jersey   3:18-cv-12273         THE DIAZ LAW FIRM, PLLC
NICHOLS, PEARLINE         NJ - USDC for the District of New Jersey   3:18-cv-13434         THE DIAZ LAW FIRM, PLLC
PADGETT, KARSANDRA        NJ - USDC for the District of New Jersey   3:20-cv-12611         THE DIAZ LAW FIRM, PLLC
PEEBLES, CHEYRLE          NJ - USDC for the District of New Jersey   3:18-cv-12272         THE DIAZ LAW FIRM, PLLC
PHILLIPS, MARCIA          NJ - USDC for the District of New Jersey   3:20-cv-07786         THE DIAZ LAW FIRM, PLLC
PRITCHETT, EDITH          NJ - USDC for the District of New Jersey   3:20-cv-03511         THE DIAZ LAW FIRM, PLLC
PURDY, DARLENE            NJ - USDC for the District of New Jersey   3:21-cv-00440         THE DIAZ LAW FIRM, PLLC
RAMIREZ, JOANNA           NJ - USDC for the District of New Jersey   3:20-cv-06179         THE DIAZ LAW FIRM, PLLC
REES, GLADYS              NJ - USDC for the District of New Jersey   3:18-cv-12345         THE DIAZ LAW FIRM, PLLC
RIOS, MELISSA             NJ - USDC for the District of New Jersey   3:20-cv-06183         THE DIAZ LAW FIRM, PLLC
SANDUSKY, LAQUITA         NJ - USDC for the District of New Jersey   3:20-cv-03505         THE DIAZ LAW FIRM, PLLC
SHOENFELT, CATHERINE      NJ - USDC for the District of New Jersey   3:20-cv-07456         THE DIAZ LAW FIRM, PLLC
SIMMONS, EMMA             NJ - USDC for the District of New Jersey   3:18-cv-12397         THE DIAZ LAW FIRM, PLLC
SIMONDS, LUCILLE          NJ - USDC for the District of New Jersey   3:18-cv-12411         THE DIAZ LAW FIRM, PLLC
SKOGERBOE, JACQUELINE     NJ - USDC for the District of New Jersey   3:20-cv-03513         THE DIAZ LAW FIRM, PLLC
SMITH, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-03515         THE DIAZ LAW FIRM, PLLC
THOMPSON, CLEOLA          NJ - USDC for the District of New Jersey   3:18-cv-13373         THE DIAZ LAW FIRM, PLLC
TOCCI, CHARLESSA
                          NJ - USDC for the District of New Jersey   3:18-cv-13383         THE DIAZ LAW FIRM, PLLC
SCHOENBERGER
TRAVERS, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-20017         THE DIAZ LAW FIRM, PLLC
WADE, EMILY               NJ - USDC for the District of New Jersey   3:20-cv-17111         THE DIAZ LAW FIRM, PLLC
WEBER-SCALLIONS, MARY     NJ - USDC for the District of New Jersey   3:18-cv-13389         THE DIAZ LAW FIRM, PLLC
WHITE, ROSALYN            NJ - USDC for the District of New Jersey   3:18-cv-12270         THE DIAZ LAW FIRM, PLLC
WILLIAMS, DOROTHY         NJ - USDC for the District of New Jersey   3:18-cv-12567         THE DIAZ LAW FIRM, PLLC
WILLIAMS, MARY            NJ - USDC for the District of New Jersey   3:19-cv-20565         THE DIAZ LAW FIRM, PLLC
ARCHIBALD, BERNADINE      NJ - USDC for the District of New Jersey   3:20-cv-02760         THE DIETRICH LAW FIRM
BARRETT, STACY            NJ - USDC for the District of New Jersey   3:21-cv-14514         THE DIETRICH LAW FIRM
FOGEL, HARRIET            NJ - USDC for the District of New Jersey   3:21-cv-16958         THE DIETRICH LAW FIRM
WASHINGTON, CARMEN        NJ - USDC for the District of New Jersey   3:20-cv-03151         THE DIETRICH LAW FIRM
COLUCCI, ELISABETH        NJ - USDC for the District of New Jersey   3:20-cv-12696         THE DIETRICH LAW FIRM, PC
CROUSE, JACQUELINE        NJ - USDC for the District of New Jersey   3:21-cv-12440         THE DIETRICH LAW FIRM, PC
DEAN, VICKIE              NJ - USDC for the District of New Jersey   3:21-cv-14667         THE DIETRICH LAW FIRM, PC
KHLEB, IRINA              NJ - USDC for the District of New Jersey   3:21-cv-12932         THE DIETRICH LAW FIRM, PC
WATKINS, MARY             NJ - USDC for the District of New Jersey   3:21-cv-12245         THE DIETRICH LAW FIRM, PC
ZUKOWSKI, MARIANNE        NJ - USDC for the District of New Jersey   3:21-cv-12048         THE DIETRICH LAW FIRM, PC
HOWARD, EULA              NJ - USDC for the District of New Jersey   3:21-cv-11414         THE DILORENZO LAW FIRM, LLC
NICHOLSON, JOYCIE         NJ - USDC for the District of New Jersey   3:21-cv-11489         THE DILORENZO LAW FIRM, LLC
WESLEY, HATTIE            NJ - USDC for the District of New Jersey   3:21-cv-11474         THE DILORENZO LAW FIRM, LLC
WYMES, REVE               NJ - USDC for the District of New Jersey   3:19-cv-01139         THE DILORENZO LAW FIRM, LLC
BARNHOUSE, LORETTA        NJ - USDC for the District of New Jersey   3:19-cv-21273         THE DREESEN LAW FIRM, LLC




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          Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
ALEXANDER, BESSIE         NJ - USDC for the District of New Jersey   3:19-cv-14121         THE DUGAN LAW FIRM
ANDERSON, MONA            NJ - USDC for the District of New Jersey   3:18-cv-16333         THE DUGAN LAW FIRM
BABCOCK, SANDI            NJ - USDC for the District of New Jersey   3:17-cv-07778         THE DUGAN LAW FIRM
BURRELL, MANUELA          NJ - USDC for the District of New Jersey   3:17-cv-13642         THE DUGAN LAW FIRM
CAMPBELL, PAMELA          NJ - USDC for the District of New Jersey   3:17-cv-13661         THE DUGAN LAW FIRM
COPENHAVER, CHERYL        NJ - USDC for the District of New Jersey   3:17-cv-13648         THE DUGAN LAW FIRM
DAVIS, ESTELITA           NJ - USDC for the District of New Jersey   3:18-cv-01893         THE DUGAN LAW FIRM
DELGADO, DORA             NJ - USDC for the District of New Jersey   3:17-cv-07843         THE DUGAN LAW FIRM
EYES, CECELIA             NJ - USDC for the District of New Jersey   3:18-cv-02309         THE DUGAN LAW FIRM
FORSTALL, JANELL          NJ - USDC for the District of New Jersey   3:17-cv-07850         THE DUGAN LAW FIRM
FREETHY-HOCKRIDGE, JOAN   NJ - USDC for the District of New Jersey   3:17-cv-13644         THE DUGAN LAW FIRM
GLORIA, SHERRIE           NJ - USDC for the District of New Jersey   3:18-cv-02496         THE DUGAN LAW FIRM
GRIFFITH, JENNIFER        NJ - USDC for the District of New Jersey   3:17-cv-07856         THE DUGAN LAW FIRM
HERNANDEZ, ALICE          NJ - USDC for the District of New Jersey   3:17-cv-13652         THE DUGAN LAW FIRM
KIRKENDALL, LESLEE        NJ - USDC for the District of New Jersey   3:17-cv-11359         THE DUGAN LAW FIRM
MCKENZIE, TERI            CA - Superior Court - Los Angeles County   17CV02472             THE DUGAN LAW FIRM
NORRIS, THERESA           NJ - USDC for the District of New Jersey   3:19-cv-14324         THE DUGAN LAW FIRM
RICE, DIANE               NJ - USDC for the District of New Jersey   3:17-cv-07455         THE DUGAN LAW FIRM
SCOTT, LYNDA              NJ - USDC for the District of New Jersey   3:17-cv-08641         THE DUGAN LAW FIRM
SHAW, IONE                LA - District Court - Orleans Parish       2018-1334             THE DUGAN LAW FIRM
SIMMONS, LORRAINE         CA - Superior Court - Merced County        17CV-02623            THE DUGAN LAW FIRM
STEGALL, ELIZABETH        NJ - USDC for the District of New Jersey   3:17-cv-13657         THE DUGAN LAW FIRM
TAMURA, TINA              NJ - USDC for the District of New Jersey   3:17-cv-13651         THE DUGAN LAW FIRM
THORPE, DEBORAH           CA - Superior Court - San Benito           CU-17-00075           THE DUGAN LAW FIRM
TIERNEY, KATHERINE        NJ - USDC for the District of New Jersey   3:17-cv-13650         THE DUGAN LAW FIRM
WEBSTER, SUEANN           CA - Superior Court - Los Angeles County   RIC1716030            THE DUGAN LAW FIRM
WYLLIE, DEBORAH           NJ - USDC for the District of New Jersey   3:17-cv-07468         THE DUGAN LAW FIRM
ALLDAY, BETTY             NJ - USDC for the District of New Jersey   3:17-cv-08436         THE DUGAN LAW FIRM, APLC
ANNIS, KERRY              NJ - USDC for the District of New Jersey   3:17-cv-06836         THE DUGAN LAW FIRM, APLC
ASHLOCK, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-07362         THE DUGAN LAW FIRM, APLC
ATKINSON, PAULA           NJ - USDC for the District of New Jersey   3:17-cv-08445         THE DUGAN LAW FIRM, APLC
BARNES, LISA              NJ - USDC for the District of New Jersey   3:17-cv-13639         THE DUGAN LAW FIRM, APLC
BASSETT, CINDY            NJ - USDC for the District of New Jersey   3:17-cv-07357         THE DUGAN LAW FIRM, APLC
BATALITZKY, KIM           NJ - USDC for the District of New Jersey   3:17-cv-01160         THE DUGAN LAW FIRM, APLC
BENBOW, CHRISTY           NJ - USDC for the District of New Jersey   3:17-cv-07781         THE DUGAN LAW FIRM, APLC
BERNHARD, MARY            NJ - USDC for the District of New Jersey   3:17-cv-04611         THE DUGAN LAW FIRM, APLC
BERRY, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-08444         THE DUGAN LAW FIRM, APLC
BOSARGE, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-09217         THE DUGAN LAW FIRM, APLC
BOWIE, ROSIE              LA - District Court - Orleans Parish       2018-295              THE DUGAN LAW FIRM, APLC
BRACCO, ANNETTE           NJ - USDC for the District of New Jersey   3:17-cv-07782         THE DUGAN LAW FIRM, APLC
BROWN, NELL               NJ - USDC for the District of New Jersey   3:17-cv-09214         THE DUGAN LAW FIRM, APLC
BRUNELL, KEITHA           NJ - USDC for the District of New Jersey   3:17-cv-08443         THE DUGAN LAW FIRM, APLC
BURGERT, JANINE           NJ - USDC for the District of New Jersey   3:17-cv-08442         THE DUGAN LAW FIRM, APLC
BURTTRAM, GINA            NJ - USDC for the District of New Jersey   3:17-cv-08441         THE DUGAN LAW FIRM, APLC
CAHN, LORNA               NJ - USDC for the District of New Jersey   3:17-cv-07568         THE DUGAN LAW FIRM, APLC
CARLSON, MARY             NJ - USDC for the District of New Jersey   3:17-cv-07365         THE DUGAN LAW FIRM, APLC
CARTER, GEORGEANN         NJ - USDC for the District of New Jersey   3:17-cv-08440         THE DUGAN LAW FIRM, APLC
CHANEY, KRISTI            NJ - USDC for the District of New Jersey   3:17-cv-07783         THE DUGAN LAW FIRM, APLC
CHIN, LISA                NJ - USDC for the District of New Jersey   3:17-cv-09210         THE DUGAN LAW FIRM, APLC
COLELLA, JENNIFER         NJ - USDC for the District of New Jersey   3:17-cv-08439         THE DUGAN LAW FIRM, APLC
CORDOVA, LUCY             NJ - USDC for the District of New Jersey   3:17-cv-13641         THE DUGAN LAW FIRM, APLC
CRANDALL, CLAUDIA         NJ - USDC for the District of New Jersey   3:17-cv-07789         THE DUGAN LAW FIRM, APLC
CRANSTON, JEANETTE        NJ - USDC for the District of New Jersey   3:17-cv-07791         THE DUGAN LAW FIRM, APLC
DALTON, JULIE             NJ - USDC for the District of New Jersey   3:17-cv-13662         THE DUGAN LAW FIRM, APLC
DARDEN, LISA              NJ - USDC for the District of New Jersey   3:18-cv-00281         THE DUGAN LAW FIRM, APLC
DAWKINS, TIFFANY          NJ - USDC for the District of New Jersey   3:17-cv-04372         THE DUGAN LAW FIRM, APLC
DIONESOTES, DEBORAH       NJ - USDC for the District of New Jersey   3:17-cv-07560         THE DUGAN LAW FIRM, APLC
DOS REIS, CLEIDE          NJ - USDC for the District of New Jersey   3:17-cv-07367         THE DUGAN LAW FIRM, APLC
DUBE, SUSAN               NJ - USDC for the District of New Jersey   3:17-cv-07369         THE DUGAN LAW FIRM, APLC
ENRIQUEZ, ANGELA          NJ - USDC for the District of New Jersey   3:17-cv-09213         THE DUGAN LAW FIRM, APLC
EURIBE, GRACIELA          NJ - USDC for the District of New Jersey   3:17-cv-07372         THE DUGAN LAW FIRM, APLC
FAIR, SYLVIA              NJ - USDC for the District of New Jersey   3:17-cv-11362         THE DUGAN LAW FIRM, APLC
FAYNE, JUDITH             NJ - USDC for the District of New Jersey   3:17-cv-08438         THE DUGAN LAW FIRM, APLC
FLYNN, CATHY              NJ - USDC for the District of New Jersey   3:17-cv-07846         THE DUGAN LAW FIRM, APLC
FOSTER, JEANIE            NJ - USDC for the District of New Jersey   3:17-cv-07671         THE DUGAN LAW FIRM, APLC
GAITANOS, PATRICIA        NJ - USDC for the District of New Jersey   3:17-cv-07373         THE DUGAN LAW FIRM, APLC
GARRETT, RITA             NJ - USDC for the District of New Jersey   3:17-cv-08437         THE DUGAN LAW FIRM, APLC
GIBBS, ANNA               NJ - USDC for the District of New Jersey   3:17-cv-07852         THE DUGAN LAW FIRM, APLC
GILL, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-08636         THE DUGAN LAW FIRM, APLC
GORDON, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-07375         THE DUGAN LAW FIRM, APLC
GORMAN, DONNA             NJ - USDC for the District of New Jersey   3:17-cv-07857         THE DUGAN LAW FIRM, APLC
GREEN, LORRAINE           NJ - USDC for the District of New Jersey   3:17-cv-07854         THE DUGAN LAW FIRM, APLC
GRIFFIN, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-07403         THE DUGAN LAW FIRM, APLC
HALVORSON, NANETTE        NJ - USDC for the District of New Jersey   3:17-cv-04632         THE DUGAN LAW FIRM, APLC
HEINZ, LYNN               NJ - USDC for the District of New Jersey   3:17-cv-08649         THE DUGAN LAW FIRM, APLC
HENAULT, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-08006         THE DUGAN LAW FIRM, APLC
HILDABRAND, CONNIE        NJ - USDC for the District of New Jersey   3:17-cv-01159         THE DUGAN LAW FIRM, APLC
HILL, CHERYL              NJ - USDC for the District of New Jersey   3:17-cv-08007         THE DUGAN LAW FIRM, APLC
HILL, VALERIE             NJ - USDC for the District of New Jersey   3:17-cv-01136         THE DUGAN LAW FIRM, APLC
HOINES-MEAD, SHEILA       NJ - USDC for the District of New Jersey   3:17-cv-07404         THE DUGAN LAW FIRM, APLC




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         Claimant Name                     State Filed                          Docket Number               Plaintiff Counsel
HOYT, REBEKAH              NJ - USDC for the District of New Jersey       3:17-cv-07405         THE DUGAN LAW FIRM, APLC
HUGHES, PEGGY              NJ - USDC for the District of New Jersey       3:17-cv-03267         THE DUGAN LAW FIRM, APLC
HUTCHINSON-COURSE, LIANA   NJ - USDC for the District of New Jersey       3:17-cv-08009         THE DUGAN LAW FIRM, APLC
HYLAND, KATHY              NJ - USDC for the District of New Jersey       3:17-cv-09208         THE DUGAN LAW FIRM, APLC
IVORY, BRIDGET             NJ - USDC for the District of New Jersey       3:17-cv-13647         THE DUGAN LAW FIRM, APLC
JOBE, MEMARIE              NJ - USDC for the District of New Jersey       3:17-cv-03474         THE DUGAN LAW FIRM, APLC
                           CA - Superior Court - City and County of San
JOHNSON, DIANE                                                            CGC-17-557035         THE DUGAN LAW FIRM, APLC
                           Francisco
JONES, GINGER              NJ - USDC for the District of New Jersey       3:17-cv-09204         THE DUGAN LAW FIRM, APLC
JOUET, ROSEMARY            NJ - USDC for the District of New Jersey       3:19-cv-16638         THE DUGAN LAW FIRM, APLC
KERNAN, DARLENE            NJ - USDC for the District of New Jersey       3:17-cv-03465         THE DUGAN LAW FIRM, APLC
KRAUSE, DENA               NJ - USDC for the District of New Jersey       3:17-cv-08646         THE DUGAN LAW FIRM, APLC
KWAS, SUZANNE              NJ - USDC for the District of New Jersey       3:17-cv-01137         THE DUGAN LAW FIRM, APLC
LAPAN, MICHELLE            NJ - USDC for the District of New Jersey       3:17-cv-08010         THE DUGAN LAW FIRM, APLC
LAPORTE, MICHELLE          NJ - USDC for the District of New Jersey       3:17-cv-09207         THE DUGAN LAW FIRM, APLC
LEBOUEF, ELOISE            NJ - USDC for the District of New Jersey       3:17-cv-08000         THE DUGAN LAW FIRM, APLC
LEWIS, SAUNDRA             NJ - USDC for the District of New Jersey       3:17-cv-08001         THE DUGAN LAW FIRM, APLC
MAGALLANES, DANA           NJ - USDC for the District of New Jersey       3:18-cv-00143         THE DUGAN LAW FIRM, APLC
MANGANO, HEATHER           NJ - USDC for the District of New Jersey       3:17-cv-08002         THE DUGAN LAW FIRM, APLC
MAYOL, SUSAN               NJ - USDC for the District of New Jersey       3:17-cv-08004         THE DUGAN LAW FIRM, APLC
MCCAFFERY, DONNA           NJ - USDC for the District of New Jersey       3:17-cv-13659         THE DUGAN LAW FIRM, APLC
MCCARVER, TRACY            NJ - USDC for the District of New Jersey       3:17-cv-07407         THE DUGAN LAW FIRM, APLC
MCCLELAND, MARIE           NJ - USDC for the District of New Jersey       3:19-cv-16956         THE DUGAN LAW FIRM, APLC
MCDERMITT-WEBER, EILEEN    NJ - USDC for the District of New Jersey       3:17-cv-01138         THE DUGAN LAW FIRM, APLC
MOOMEY, JANE               NJ - USDC for the District of New Jersey       3:17-cv-08644         THE DUGAN LAW FIRM, APLC
MORGAN, MARY               NJ - USDC for the District of New Jersey       3:17-cv-08005         THE DUGAN LAW FIRM, APLC
MORRIS, BRENDA             NJ - USDC for the District of New Jersey       3:17-cv-01140         THE DUGAN LAW FIRM, APLC
MOYER, KELLY               NJ - USDC for the District of New Jersey       3:17-cv-07408         THE DUGAN LAW FIRM, APLC
MULE, MARGARET             NJ - USDC for the District of New Jersey       3:17-cv-01141         THE DUGAN LAW FIRM, APLC
NEWMAN-OVERTON, SHERYL     NJ - USDC for the District of New Jersey       3:17-cv-08218         THE DUGAN LAW FIRM, APLC
NILAN, KAREN               NJ - USDC for the District of New Jersey       3:17-cv-07563         THE DUGAN LAW FIRM, APLC
NUNLEY, SANDRA             NJ - USDC for the District of New Jersey       3:17-cv-03476         THE DUGAN LAW FIRM, APLC
OBERDIER, MARY             NJ - USDC for the District of New Jersey       3:17-cv-05479         THE DUGAN LAW FIRM, APLC
OKELLEY, SHERRI            NJ - USDC for the District of New Jersey       3:17-cv-07413         THE DUGAN LAW FIRM, APLC
OKERSON, ROBERTA           NJ - USDC for the District of New Jersey       3:17-cv-08219         THE DUGAN LAW FIRM, APLC
OKON, TARA                 NJ - USDC for the District of New Jersey       3:17-cv-08643         THE DUGAN LAW FIRM, APLC
PATTERSON, JANA            NJ - USDC for the District of New Jersey       3:18-cv-03913         THE DUGAN LAW FIRM, APLC
PAULEY, SHERRY             NJ - USDC for the District of New Jersey       3:17-cv-03487         THE DUGAN LAW FIRM, APLC
PHEIFER, PATRICIA          NJ - USDC for the District of New Jersey       3:17-cv-08220         THE DUGAN LAW FIRM, APLC
PHILLIPS, LORILYN          NJ - USDC for the District of New Jersey       3:17-cv-08221         THE DUGAN LAW FIRM, APLC
PINA, MARGIE               NJ - USDC for the District of New Jersey       3:17-cv-07414         THE DUGAN LAW FIRM, APLC
POTTS, SANDRA              NJ - USDC for the District of New Jersey       3:17-cv-01142         THE DUGAN LAW FIRM, APLC
PRICE, DARNELLA            NJ - USDC for the District of New Jersey       3:19-cv-14684         THE DUGAN LAW FIRM, APLC
PULCINI, LYNN              NJ - USDC for the District of New Jersey       3:17-cv-08224         THE DUGAN LAW FIRM, APLC
PULLEN, INGRID             NJ - USDC for the District of New Jersey       3:17-cv-13665         THE DUGAN LAW FIRM, APLC
RAMENSKY, CORALEE          NJ - USDC for the District of New Jersey       3:17-cv-13655         THE DUGAN LAW FIRM, APLC
RAMON, DAYMARA             NJ - USDC for the District of New Jersey       3:17-cv-08229         THE DUGAN LAW FIRM, APLC
RAND, LORI                 NJ - USDC for the District of New Jersey       3:17-cv-08642         THE DUGAN LAW FIRM, APLC
REDD, ALISHA               NJ - USDC for the District of New Jersey       3:18-cv-02494         THE DUGAN LAW FIRM, APLC
ROE, MERRY                 NJ - USDC for the District of New Jersey       3:17-cv-07456         THE DUGAN LAW FIRM, APLC
RUSSELL, MARY              NJ - USDC for the District of New Jersey       3:17-cv-07564         THE DUGAN LAW FIRM, APLC
SALTERS, REBECCA           NJ - USDC for the District of New Jersey       3:17-cv-07457         THE DUGAN LAW FIRM, APLC
SALYER, YONA               NJ - USDC for the District of New Jersey       3:17-cv-01143         THE DUGAN LAW FIRM, APLC
SCHENCK, VICKIE            NJ - USDC for the District of New Jersey       3:17-cv-09211         THE DUGAN LAW FIRM, APLC
SCOTT, ELSIE               NJ - USDC for the District of New Jersey       3:19-cv-15414         THE DUGAN LAW FIRM, APLC
SEALE, ALCIE               NJ - USDC for the District of New Jersey       3:17-cv-07565         THE DUGAN LAW FIRM, APLC
SEEKINS, KERRI             NJ - USDC for the District of New Jersey       3:17-cv-07458         THE DUGAN LAW FIRM, APLC
SHATASHVILI, LIYA          NJ - USDC for the District of New Jersey       3:17-cv-08226         THE DUGAN LAW FIRM, APLC
SIMMONS, LISA              NJ - USDC for the District of New Jersey       3:17-cv-08227         THE DUGAN LAW FIRM, APLC
SMAAGAARD, KIM             NJ - USDC for the District of New Jersey       3:17-cv-01144         THE DUGAN LAW FIRM, APLC
SMITH, DENISE              NJ - USDC for the District of New Jersey       3:17-cv-08640         THE DUGAN LAW FIRM, APLC
SMITH, MARTHA              NJ - USDC for the District of New Jersey       3:17-cv-01152         THE DUGAN LAW FIRM, APLC
STICKLER, RINA             NJ - USDC for the District of New Jersey       3:17-cv-08228         THE DUGAN LAW FIRM, APLC
STILWELL, LAURA            NJ - USDC for the District of New Jersey       3:17-cv-08639         THE DUGAN LAW FIRM, APLC
STRONG, AMANDA             NJ - USDC for the District of New Jersey       3:17-cv-11361         THE DUGAN LAW FIRM, APLC
SULLIVAN, LINDA            NJ - USDC for the District of New Jersey       3:17-cv-07566         THE DUGAN LAW FIRM, APLC
THOMAS, THERESA            NJ - USDC for the District of New Jersey       3:17-cv-08638         THE DUGAN LAW FIRM, APLC
TURNER, SHANNON            NJ - USDC for the District of New Jersey       3:17-cv-08217         THE DUGAN LAW FIRM, APLC
UPTON, KRISTA              NJ - USDC for the District of New Jersey       3:17-cv-07464         THE DUGAN LAW FIRM, APLC
VINTON, STEPHANIE          NJ - USDC for the District of New Jersey       3:17-cv-07777         THE DUGAN LAW FIRM, APLC
WASHINGTON, LAKISHA        NJ - USDC for the District of New Jersey       3:17-cv-09209         THE DUGAN LAW FIRM, APLC
WATERS, VIRGINIA           NJ - USDC for the District of New Jersey       3:17-cv-13637         THE DUGAN LAW FIRM, APLC
WILLIAMS, ELIZABETH        NJ - USDC for the District of New Jersey       3:17-cv-01150         THE DUGAN LAW FIRM, APLC
WILLIAMS, EMMA             NJ - USDC for the District of New Jersey       3:17-cv-07465         THE DUGAN LAW FIRM, APLC
WILLIAMS, JANICE           NJ - USDC for the District of New Jersey       3:17-cv-07567         THE DUGAN LAW FIRM, APLC
WILLIAMSON, MARTHA         NJ - USDC for the District of New Jersey       3:17-cv-07467         THE DUGAN LAW FIRM, APLC
WRENN, PATRICIA            NJ - USDC for the District of New Jersey       3:17-cv-09206         THE DUGAN LAW FIRM, APLC
YOUNG, REBECCA             NJ - USDC for the District of New Jersey       3:17-cv-07353         THE DUGAN LAW FIRM, APLC
DOROTHY ALLEN              NJ - USDC for the District of New Jersey       3:21-cv-18062         THE DUNKEN LAW FIRM
HUDSON-GIVENS, LYDIA       NJ - USDC for the District of New Jersey       3:20-cv-09017         THE DUNKEN LAW FIRM




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JENKINS, ELIZABETH        NJ - USDC for the District of New Jersey   3:21-cv-06959         THE DUNKEN LAW FIRM
LEE, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-14699         THE DUNKEN LAW FIRM
LYONS, MAGDALENE          NJ - USDC for the District of New Jersey   3:21-cv-14161         THE DUNKEN LAW FIRM
SMITH, SYLVIA             NJ - USDC for the District of New Jersey   3:21-cv-11044         THE DUNKEN LAW FIRM
WOODRUFF, DEBRA           NJ - USDC for the District of New Jersey   3:21-cv-14355         THE DUNKEN LAW FIRM
ZEMO, FRANCES             NJ - USDC for the District of New Jersey   3:21-cv-17379         THE DUNKEN LAW FIRM
ANDERSON, LISA            NJ - Superior Court - Middlesex County     MID-L-00769-20AS      THE EARLY FIRM, LLC
CLARK, KAYME              NJ - Superior Court - Middlesex County     MID-L-03809-18AS      THE EARLY FIRM, LLC
PETERSON, STANLEY         NJ - Superior Court - Middlesex County     MID-L-03435-18AS      THE EARLY FIRM, LLC
TIPPIN, COREY             NY - Supreme Court - NYCAL                 190062/2021           THE EARLY FIRM, LLC
ARMSTEAD, BRIDGETT        NJ - USDC for the District of New Jersey   3:20-cv-10110         THE ENTREKIN LAW FIRM
ARNOLD, ROBIN             NJ - USDC for the District of New Jersey   3:20-cv-06452         THE ENTREKIN LAW FIRM
ATTIG, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-06453         THE ENTREKIN LAW FIRM
BANANA, EDDIE             NJ - USDC for the District of New Jersey   3:20-cv-10784         THE ENTREKIN LAW FIRM
BARRINGER, CARMEN         NJ - USDC for the District of New Jersey   3:20-cv-06862         THE ENTREKIN LAW FIRM
BARRON, DEIRDRE           NJ - USDC for the District of New Jersey   3:20-cv-06062         THE ENTREKIN LAW FIRM
BIGGERSTAFF, DAVA         NJ - USDC for the District of New Jersey   3:20-cv-07065         THE ENTREKIN LAW FIRM
BLACKBEAR, CAROLYN        NJ - USDC for the District of New Jersey   3:20-cv-06078         THE ENTREKIN LAW FIRM
BOOKHAGEN, ELAINE         NJ - USDC for the District of New Jersey   3:20-cv-06458         THE ENTREKIN LAW FIRM
BROWNING, CATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-09012         THE ENTREKIN LAW FIRM
BRZYCKI, CAROLYN          NJ - USDC for the District of New Jersey   3:20-cv-06090         THE ENTREKIN LAW FIRM
BUSCH, CHERYL             NJ - USDC for the District of New Jersey   3:20-cv-06082         THE ENTREKIN LAW FIRM
BUTLER, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-06800         THE ENTREKIN LAW FIRM
CALDERON, CRESENCIA       NJ - USDC for the District of New Jersey   3:20-cv-07021         THE ENTREKIN LAW FIRM
CALVI, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-06084         THE ENTREKIN LAW FIRM
CAMPBELL, YAKEISHA        NJ - USDC for the District of New Jersey   3:20-cv-08872         THE ENTREKIN LAW FIRM
CHANDLER, DENA            NJ - USDC for the District of New Jersey   3:20-cv-06864         THE ENTREKIN LAW FIRM
CLIFFORD, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-06086         THE ENTREKIN LAW FIRM
COX, DEBRA                NJ - USDC for the District of New Jersey   3:20-cv-06870         THE ENTREKIN LAW FIRM
CROSLAND, THELMA          NJ - USDC for the District of New Jersey   3:20-cv-06461         THE ENTREKIN LAW FIRM
CUNNINGHAM, KAY           NJ - USDC for the District of New Jersey   3:20-cv-06129         THE ENTREKIN LAW FIRM
DAVIS-CAMPBELL, DERHETA   NJ - USDC for the District of New Jersey   3:20-cv-06793         THE ENTREKIN LAW FIRM
DE ESTEVES, MARIA         NJ - USDC for the District of New Jersey   3:20-cv-07641         THE ENTREKIN LAW FIRM
DINGMAN, PAULINE          NJ - USDC for the District of New Jersey   3:20-cv-06091         THE ENTREKIN LAW FIRM
DORLEY, JANET             NJ - USDC for the District of New Jersey   3:20-cv-06092         THE ENTREKIN LAW FIRM
DOTSON, JANE              NJ - USDC for the District of New Jersey   3:20-cv-06096         THE ENTREKIN LAW FIRM
DURHAM, RUTH              NJ - USDC for the District of New Jersey   3:20-cv-06465         THE ENTREKIN LAW FIRM
ESMOND, CHETECA           NJ - USDC for the District of New Jersey   3:20-cv-06097         THE ENTREKIN LAW FIRM
FLADER, JANE              NJ - USDC for the District of New Jersey   3:20-cv-06100         THE ENTREKIN LAW FIRM
FRANCIS, CHRISTINA        NJ - USDC for the District of New Jersey   3:20-cv-07733         THE ENTREKIN LAW FIRM
GARCIA, ANNETTE           NJ - USDC for the District of New Jersey   3:20-cv-06101         THE ENTREKIN LAW FIRM
GLABERMAN, DEBORAH        NJ - USDC for the District of New Jersey   3:20-cv-06796         THE ENTREKIN LAW FIRM
GRANT, KATHERINE          NJ - USDC for the District of New Jersey   3:20-cv-06102         THE ENTREKIN LAW FIRM
GRAY, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-06470         THE ENTREKIN LAW FIRM
HAAS, MARGUERITE          NJ - USDC for the District of New Jersey   3:20-cv-06108         THE ENTREKIN LAW FIRM
HANSON, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-06114         THE ENTREKIN LAW FIRM
HENSON-SAUNDERS, MARY     NJ - USDC for the District of New Jersey   3:20-cv-06118         THE ENTREKIN LAW FIRM
HOWARD, JACQUELINE        NJ - USDC for the District of New Jersey   3:20-cv-06130         THE ENTREKIN LAW FIRM
JOHNSON, KELLY            NJ - USDC for the District of New Jersey   3:20-cv-06126         THE ENTREKIN LAW FIRM
KENNEDY, SONYA            NJ - USDC for the District of New Jersey   3:20-cv-06560         THE ENTREKIN LAW FIRM
LISH, DENISE              NJ - USDC for the District of New Jersey   3:20-cv-06132         THE ENTREKIN LAW FIRM
MAGGARD, HELEN            NJ - USDC for the District of New Jersey   3:20-cv-08381         THE ENTREKIN LAW FIRM
MARKOVITZ, CATHY          NJ - USDC for the District of New Jersey   3:20-cv-07505         THE ENTREKIN LAW FIRM
MARKS, MARY               NJ - USDC for the District of New Jersey   3:20-cv-08250         THE ENTREKIN LAW FIRM
MITCHELL, TRENISE         NJ - USDC for the District of New Jersey   3:20-cv-06134         THE ENTREKIN LAW FIRM
NUNN, CATHY               NJ - USDC for the District of New Jersey   3:20-cv-06136         THE ENTREKIN LAW FIRM
PEREZ, TRINI              NJ - USDC for the District of New Jersey   3:20-cv-08063         THE ENTREKIN LAW FIRM
PERKIN, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-06795         THE ENTREKIN LAW FIRM
PICKAR, DIANE             NJ - USDC for the District of New Jersey   3:20-cv-06137         THE ENTREKIN LAW FIRM
POKOS, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-06954         THE ENTREKIN LAW FIRM
PORTER, MARNA             NJ - USDC for the District of New Jersey   3:20-cv-09132         THE ENTREKIN LAW FIRM
PROVANCE, MICHELLE        NJ - USDC for the District of New Jersey   3:20-cv-07115         THE ENTREKIN LAW FIRM
ROMAN, JACQUELINE         NJ - USDC for the District of New Jersey   3:20-cv-06794         THE ENTREKIN LAW FIRM
ROUSSEAU, MERI-LYN        NJ - USDC for the District of New Jersey   3:20-cv-07657         THE ENTREKIN LAW FIRM
SALAMIPOUR, MARYAM        NJ - USDC for the District of New Jersey   3:20-cv-06138         THE ENTREKIN LAW FIRM
SAMMONS, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-06564         THE ENTREKIN LAW FIRM
SANTOS, CRISTINA          NJ - USDC for the District of New Jersey   3:20-cv-07022         THE ENTREKIN LAW FIRM
SAULTERS, LINDA           NJ - USDC for the District of New Jersey   3:20-cv-06597         THE ENTREKIN LAW FIRM
SCHUELER, CATHERINE       NJ - USDC for the District of New Jersey   3:20-cv-07742         THE ENTREKIN LAW FIRM
SMITH, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-06079         THE ENTREKIN LAW FIRM
SORIA, MATILDA            NJ - USDC for the District of New Jersey   3:20-cv-07138         THE ENTREKIN LAW FIRM
TATE, SHEILA              NJ - USDC for the District of New Jersey   3:20-cv-06472         THE ENTREKIN LAW FIRM
TAYLOR, DEWANNA           NJ - USDC for the District of New Jersey   3:20-cv-06125         THE ENTREKIN LAW FIRM
TAYLOR, SHARON            NJ - USDC for the District of New Jersey   3:20-cv-09557         THE ENTREKIN LAW FIRM
UHL, ROBERTA              NJ - USDC for the District of New Jersey   3:20-cv-06475         THE ENTREKIN LAW FIRM
UNTIED, GINGER            NJ - USDC for the District of New Jersey   3:20-cv-06567         THE ENTREKIN LAW FIRM
WALKUW, ARNES             NJ - USDC for the District of New Jersey   3:20-cv-07293         THE ENTREKIN LAW FIRM
WARE, GEORGIA             NJ - USDC for the District of New Jersey   3:20-cv-08873         THE ENTREKIN LAW FIRM
WILLIAMS, ALBERTA         NJ - USDC for the District of New Jersey   3:20-cv-07338         THE ENTREKIN LAW FIRM
WILLIAMS, SALLIE          NJ - USDC for the District of New Jersey   3:20-cv-06127         THE ENTREKIN LAW FIRM




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          Claimant Name                              State Filed                     Docket Number                Plaintiff Counsel
BARRETT, CINDY                      NJ - USDC for the District of New Jersey   3:21-cv-05432         THE FERRARO LAW FIRM, P.A.
BELDEN, CHRISTINA                   NJ - USDC for the District of New Jersey   3:19-cv-17411         THE FERRARO LAW FIRM, P.A.
BENNETTI, DEBRA                     NJ - USDC for the District of New Jersey   3:21-cv-05850         THE FERRARO LAW FIRM, P.A.
BENTRUD, KATHERINE                  FL - Circuit Court - Hillsborough County   2018CA009060          THE FERRARO LAW FIRM, P.A.
BERTLANEY, JEANNE                   NJ - USDC for the District of New Jersey   3:19-cv-00960         THE FERRARO LAW FIRM, P.A.
BRITT, CAROLYN                      NJ - USDC for the District of New Jersey   3:21-cv-02312         THE FERRARO LAW FIRM, P.A.
BUHEIT, CHRISTINE D                 NJ - USDC for the District of New Jersey   3:19-cv-17419         THE FERRARO LAW FIRM, P.A.
CARRAS, PAULA                       NJ - USDC for the District of New Jersey   3:21-cv-02078         THE FERRARO LAW FIRM, P.A.
CHRISLEY, PATRICIA                  NJ - USDC for the District of New Jersey   3:19-cv-13413         THE FERRARO LAW FIRM, P.A.
CLARK, DELPHIA                      NJ - USDC for the District of New Jersey   3:21-cv-02081         THE FERRARO LAW FIRM, P.A.
COMAS, ESTHER                       FL - Circuit Court - Miami Dade County     17-29574CA01          THE FERRARO LAW FIRM, P.A.
CRINCOLI, LOUISE                    NJ - USDC for the District of New Jersey   3:19-cv-13475         THE FERRARO LAW FIRM, P.A.
DEARMAS, INELDA                     FL - Circuit Court - Miami Dade County     19-1806CA01           THE FERRARO LAW FIRM, P.A.
DOLBY, DEBRA                        FL - Circuit Court - Pasco County          2019CA000220ws        THE FERRARO LAW FIRM, P.A.
ENGERS, DONNA                       NJ - USDC for the District of New Jersey   3:21-cv-02336         THE FERRARO LAW FIRM, P.A.
FISHBEIN, DEBRA                     FL - Circuit Court - Palm Beach County     2018ca001928          THE FERRARO LAW FIRM, P.A.
GULKIS, ARLENE                      NJ - USDC for the District of New Jersey   3:20-cv-00061         THE FERRARO LAW FIRM, P.A.
HERNDON, RUBY                       NJ - USDC for the District of New Jersey   3:21-cv-02108         THE FERRARO LAW FIRM, P.A.
HOFWEGEN, SHELLE VAN                NJ - USDC for the District of New Jersey   3:21-cv-02092         THE FERRARO LAW FIRM, P.A.
HUTTON, NANCY                       FL - Circuit Court - Broward County        CACE19000576          THE FERRARO LAW FIRM, P.A.
ISA, TAMI                           FL - Circuit Court - Hillsborough County   17-CA-010979          THE FERRARO LAW FIRM, P.A.
JONES, LINDA                        FL - Circuit Court - Miami Dade County     18-3363CA01           THE FERRARO LAW FIRM, P.A.
KITCHENS, KATHERINE                 NJ - USDC for the District of New Jersey   3:21-cv-10452         THE FERRARO LAW FIRM, P.A.
KUBIAK, SUSAN                       NJ - USDC for the District of New Jersey   3:20-cv-14741         THE FERRARO LAW FIRM, P.A.
LAGUNAS, MARYJANE                   NJ - USDC for the District of New Jersey   3:21-cv-05438         THE FERRARO LAW FIRM, P.A.
LEWIS, JULIA                        FL - Circuit Court - Marion County         2018CA002282          THE FERRARO LAW FIRM, P.A.
MCNETT, JANE                        NJ - USDC for the District of New Jersey   3:20-cv-00066         THE FERRARO LAW FIRM, P.A.
MENENDEZ, JESSICA                   FL - Circuit Court - Miami Dade County     2020-014749-CA-01     THE FERRARO LAW FIRM, P.A.
MINTER, ANN                         NJ - USDC for the District of New Jersey   3:19-cv-17415         THE FERRARO LAW FIRM, P.A.
PALMER, MARIE                       NJ - USDC for the District of New Jersey   3:21-cv-05455         THE FERRARO LAW FIRM, P.A.
PORTAL, GLORIA                      NJ - USDC for the District of New Jersey   3:21-cv-13182         THE FERRARO LAW FIRM, P.A.
RICHARDS, SHANNON                   NJ - USDC for the District of New Jersey   3:19-cv-17803         THE FERRARO LAW FIRM, P.A.
RICHARDSON, LUCY                    NJ - USDC for the District of New Jersey   3:20-cv-00047         THE FERRARO LAW FIRM, P.A.
RODRIGUEZ, DELMY                    NJ - USDC for the District of New Jersey   3:19-cv-17405         THE FERRARO LAW FIRM, P.A.
RYALS, PAMALA                       FL - Circuit Court - Miami Dade County     18-030244             THE FERRARO LAW FIRM, P.A.
RYAN, MARIE                         NJ - USDC for the District of New Jersey   3:20-cv-10272         THE FERRARO LAW FIRM, P.A.
SHENEFIELD, JACQUELYN               FL - Circuit Court - Hillsborough County   17-cv-010980          THE FERRARO LAW FIRM, P.A.
SPOLLEN, JUDY                       FL - Circuit Court - Broward County        CACE19001223          THE FERRARO LAW FIRM, P.A.
STEIN, NINA                         NJ - USDC for the District of New Jersey   3:20-cv-00056         THE FERRARO LAW FIRM, P.A.
TIDWELL, MADELINE                   NJ - USDC for the District of New Jersey   3:21-cv-11806         THE FERRARO LAW FIRM, P.A.
VAZQUEZ, MARIA LUQUE                FL - Circuit Court - Broward County        20-012840             THE FERRARO LAW FIRM, P.A.
WARREN, RENEE                       NJ - USDC for the District of New Jersey   3:21-cv-02179         THE FERRARO LAW FIRM, P.A.
WILLIAMS, HEATHER                   NJ - USDC for the District of New Jersey   3:20-cv-13150         THE FERRARO LAW FIRM, P.A.
WILSON, DOROTHY                     NJ - USDC for the District of New Jersey   3:20-cv-03500         THE FERRARO LAW FIRM, P.A.
KHAN, NAOMI ; SANTILLAN; LYNDA NJ - USDC for the District of New Jersey        3:21-cv-18537         THE GATTI LAW FIRM

KHAN, NAOMI ; SANTILLAN; LYNDA OR - USDC for the District of Oregon            2:21-cv-01054         THE GATTI LAW FIRM
HARRAH, STEVEN                      MO - Circuit Court - City of St. Louis     2022-CC00696          THE GORI LAW FIRM, P.C.
VANHOOSE, JACQUELINE
                                    IL - Circuit Court - Madison County        21-L-0714             THE GORI LAW FIRM, P.C.
MARGARET
ALLBRIGHT, DIANE                    NJ - USDC for the District of New Jersey   3:18-cv-08732         THE GORNY LAW FIRM, LC
MARRUFO, CHARLOTTE                  NJ - USDC for the District of New Jersey   3:18-cv-08747         THE GORNY LAW FIRM, LC
KOMOROSKI, MARY                     NJ - USDC for the District of New Jersey   3:18-cv-12522         THE GOSS LAW FIRM, P.C.
COX, GWENDOLYN                      NJ - USDC for the District of New Jersey   3:18-cv-10062         THE HANNON LAW FIRM, LLC
KNODEL, ELAINE                      NJ - USDC for the District of New Jersey   3:17-cv-06356         THE HANNON LAW FIRM, LLC
LAMANTIA, ROSEMARY                  NJ - USDC for the District of New Jersey   3:17-cv-11809         THE HANNON LAW FIRM, LLC
CASTRONOVA, REGINA                  NJ - USDC for the District of New Jersey   3:20-cv-10671         THE JACOB D. FUCHSBERG LAW FIRM
DILEO, VELVET                       NJ - USDC for the District of New Jersey   3:20-cv-14779         THE JACOB D. FUCHSBERG LAW FIRM
CAYE, MONIQUE                       NJ - USDC for the District of New Jersey   3:17-cv-03441         THE KING FIRM
CLEMENT, ANITA                      NJ - USDC for the District of New Jersey   3:17-cv-03846         THE KING FIRM
COOPER, GLORIA                      NJ - USDC for the District of New Jersey   3:17-cv-03839         THE KING FIRM
DECKER, KARON                       NJ - USDC for the District of New Jersey   3:17-cv-03440         THE KING FIRM
GAINES, FAY                         NJ - USDC for the District of New Jersey   3:17-cv-03804         THE KING FIRM
HAIR, LARAINE                       CA - Superior Court - Alameda County       AG16820181            THE KRUGER LAW FIRM
BRAL, MOJGAN                        CA - Superior Court - Los Angeles County   BC678850              THE LAW FIRM OF JOSEPH H. LOW IV
VAUL, DONNA                         NJ - USDC for the District of New Jersey   3:19-cv-07525         THE LAW FIRM OF JOSEPH H. LOW IV
REID, MARILYN                       NJ - USDC for the District of New Jersey   3:19-cv-17944         THE LAW FIRM OF LARRY HELVEY
TOUSANT, ELIZA                      NJ - USDC for the District of New Jersey   3:16-cv-08738         THE LAW OFFICES OF ERIC H. WEINBERG
BENSON, ARLENE                      NJ - USDC for the District of New Jersey   3:17-cv-07188         THE LAW OFFICES OF HAYTHAM FARAJ
BROWDER, ALMA                       NJ - USDC for the District of New Jersey   3:18-cv-03102         THE LAW OFFICES OF HAYTHAM FARAJ
CARPENTER, KELLY                    NJ - USDC for the District of New Jersey   3:18-cv-03106         THE LAW OFFICES OF HAYTHAM FARAJ
DETAR, EVELYN                       NJ - USDC for the District of New Jersey   3:19-cv-18074         THE LAW OFFICES OF HAYTHAM FARAJ
GOULD, DALPHINA                     NJ - USDC for the District of New Jersey   3:19-cv-06856         THE LAW OFFICES OF HAYTHAM FARAJ
GRAYSON, REBECCA                    NJ - USDC for the District of New Jersey   3:19-cv-06854         THE LAW OFFICES OF HAYTHAM FARAJ
KIRKENDALL, JUDY                    NJ - USDC for the District of New Jersey   3:18-cv-03101         THE LAW OFFICES OF HAYTHAM FARAJ
LAFRANCE, EULA                      NJ - USDC for the District of New Jersey   3:19-cv-06853         THE LAW OFFICES OF HAYTHAM FARAJ
LONG, LINDA                         NJ - USDC for the District of New Jersey   3:19-cv-17530         THE LAW OFFICES OF HAYTHAM FARAJ
MARTINEZ, ORALIA                    NJ - USDC for the District of New Jersey   3:18-cv-03108         THE LAW OFFICES OF HAYTHAM FARAJ
MENDOZA, MARIA                      NJ - USDC for the District of New Jersey   3:19-cv-17533         THE LAW OFFICES OF HAYTHAM FARAJ




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          Claimant Name                            State Filed                     Docket Number                 Plaintiff Counsel
ROBERTS, AUDREY                   NJ - USDC for the District of New Jersey   3:18-cv-03105         THE LAW OFFICES OF HAYTHAM FARAJ
SOGUILON, RUTHANN                 NJ - USDC for the District of New Jersey   3:18-cv-03103         THE LAW OFFICES OF HAYTHAM FARAJ
VINES, TERESA                     NJ - USDC for the District of New Jersey   3:19-cv-17534         THE LAW OFFICES OF HAYTHAM FARAJ
WILBURN, MELA                     NJ - USDC for the District of New Jersey   3:19-cv-06857         THE LAW OFFICES OF HAYTHAM FARAJ
KING-LEE, ELVIRA A                NJ - USDC for the District of New Jersey   3:18-cv-04402         THE LAW OFFICES OF MELVIN W. BRUNSON
EWING, RUTH                       NJ - USDC for the District of New Jersey   3:17-cv-07673         THE LAW OFFICES OF PETER G. ANGELOS
HAGSTROM, LOIS                    NJ - USDC for the District of New Jersey   3:17-cv-07669         THE LAW OFFICES OF PETER G. ANGELOS
SLAMPA, NORMA                     NJ - USDC for the District of New Jersey   3:17-cv-07676         THE LAW OFFICES OF PETER G. ANGELOS
ANDERSON, JUDITH                  NJ - USDC for the District of New Jersey   3:17-cv-10452         THE LAW OFFICES OF SEAN M. CLEARY, P.A
ARMITAGE, TONYA                   NJ - USDC for the District of New Jersey   3:17-cv-10659         THE LAW OFFICES OF SEAN M. CLEARY, P.A
BRUST, KATEY                      NJ - USDC for the District of New Jersey   3:17-cv-10738         THE LAW OFFICES OF SEAN M. CLEARY, P.A
CURCIO, JOANN                     NJ - USDC for the District of New Jersey   3:17-cv-08263         THE LAW OFFICES OF SEAN M. CLEARY, P.A
DEMAILLE-SMITH, LORI              NJ - USDC for the District of New Jersey   3:17-cv-08302         THE LAW OFFICES OF SEAN M. CLEARY, P.A
EDMONDS, RENEE                    NJ - USDC for the District of New Jersey   3:17-cv-10096         THE LAW OFFICES OF SEAN M. CLEARY, P.A
ELLIS, PAULA                      NJ - USDC for the District of New Jersey   3:17-cv-09127         THE LAW OFFICES OF SEAN M. CLEARY, P.A
GIRARD, GEORGETTE                 NJ - USDC for the District of New Jersey   3:17-cv-10227         THE LAW OFFICES OF SEAN M. CLEARY, P.A
HUNT, STEPHANIE                   NJ - USDC for the District of New Jersey   3:17-cv-09489         THE LAW OFFICES OF SEAN M. CLEARY, P.A
JARRETT, MELISSA                  NJ - USDC for the District of New Jersey   3:17-cv-10672         THE LAW OFFICES OF SEAN M. CLEARY, P.A
JENKINS, VALERIE                  NJ - USDC for the District of New Jersey   3:17-cv-09793         THE LAW OFFICES OF SEAN M. CLEARY, P.A
JOYNER, KIMBERLY                  NJ - USDC for the District of New Jersey   3:17-cv-10771         THE LAW OFFICES OF SEAN M. CLEARY, P.A
MARTIN, RACHEL                    NJ - USDC for the District of New Jersey   3:17-cv-10166         THE LAW OFFICES OF SEAN M. CLEARY, P.A
MCCLURG, KATHRYN                  NJ - USDC for the District of New Jersey   3:17-cv-08147         THE LAW OFFICES OF SEAN M. CLEARY, P.A
MITCHELL, TAMI                    NJ - USDC for the District of New Jersey   3:17-cv-09082         THE LAW OFFICES OF SEAN M. CLEARY, P.A
MONDEAUX, TANYAGALE               NJ - USDC for the District of New Jersey   3:17-cv-10712         THE LAW OFFICES OF SEAN M. CLEARY, P.A
MORRISON, ROSEANN                 NJ - USDC for the District of New Jersey   3:17-cv-10188         THE LAW OFFICES OF SEAN M. CLEARY, P.A
ROBERTS, DONNA                    NJ - USDC for the District of New Jersey   3:17-cv-09715         THE LAW OFFICES OF SEAN M. CLEARY, P.A
ROSENBERG, THELMA                 NJ - USDC for the District of New Jersey   3:17-cv-08272         THE LAW OFFICES OF SEAN M. CLEARY, P.A
SALISBURY, CYNTHIA                NJ - USDC for the District of New Jersey   3:17-cv-10732         THE LAW OFFICES OF SEAN M. CLEARY, P.A
SHERMAN, CAROL                    NJ - USDC for the District of New Jersey   3:17-cv-08068         THE LAW OFFICES OF SEAN M. CLEARY, P.A
SONDELSKI, CONSTANCE              NJ - USDC for the District of New Jersey   3:17-cv-10245         THE LAW OFFICES OF SEAN M. CLEARY, P.A
SOTO, DIANE                       NJ - USDC for the District of New Jersey   3:17-cv-10721         THE LAW OFFICES OF SEAN M. CLEARY, P.A
SULLIVAN, BARBARA                 NJ - USDC for the District of New Jersey   3:17-cv-10026         THE LAW OFFICES OF SEAN M. CLEARY, P.A
TORRES, JESSICA                   NJ - USDC for the District of New Jersey   3:17-cv-10776         THE LAW OFFICES OF SEAN M. CLEARY, P.A
TORRES, MELISSA                   NJ - USDC for the District of New Jersey   3:17-cv-10685         THE LAW OFFICES OF SEAN M. CLEARY, P.A
WEXLER, SUSAN                     NJ - USDC for the District of New Jersey   3:17-cv-08039         THE LAW OFFICES OF SEAN M. CLEARY, P.A
WOLFREY, WENDY                    NJ - USDC for the District of New Jersey   3:17-cv-08051         THE LAW OFFICES OF SEAN M. CLEARY, P.A
EAGLIN, SHARON                    NJ - USDC for the District of New Jersey   3:17-cv-04974         THE LEVENSTEN LAW FIRM, P.C.
GRAY, TABETHA                     NJ - USDC for the District of New Jersey   3:17-cv-06942         THE LEVENSTEN LAW FIRM, P.C.
HAINES, JOANN                     NJ - USDC for the District of New Jersey   3:17-cv-09682         THE LEVENSTEN LAW FIRM, P.C.
ORTIZ, SONIA                      FL - Circuit Court - Broward County        CACE17015669          THE MADALON LAW FIRM
BOTZENHARDT, CRISTINE             NJ - USDC for the District of New Jersey   3:17-cv-13718         THE MICHAEL BRADY LYNCH FIRM
NICHOLS, TRISHA                   NJ - USDC for the District of New Jersey   3:17-cv-13826         THE MICHAEL BRADY LYNCH FIRM
NUCKOLS, ETHEL                    NJ - USDC for the District of New Jersey   3:18-cv-01404         THE MICHAEL BRADY LYNCH FIRM
PRICKETT, SANDRA                  NJ - USDC for the District of New Jersey   3:19-cv-20353         THE MICHAEL BRADY LYNCH FIRM
SENTER, DEBORAH                   NJ - USDC for the District of New Jersey   3:17-cv-13827         THE MICHAEL BRADY LYNCH FIRM
SIECKMAN, KARL                    NJ - USDC for the District of New Jersey   3:18-cv-03003         THE MICHAEL BRADY LYNCH FIRM
SMITH, ROBERTA                    NJ - USDC for the District of New Jersey   3:19-cv-20329         THE MICHAEL BRADY LYNCH FIRM
ABDELBARY, STEPHANIE              NJ - Superior Court - Atlantic County      ATL-L-2593-17         THE MILLER FIRM, LLC
ABE, PATRICIA                     NJ - USDC for the District of New Jersey   3:18-cv-09495         THE MILLER FIRM, LLC
ACKER, DENISE                     NJ - USDC for the District of New Jersey   3:17-cv-13473         THE MILLER FIRM, LLC
ADAMS, KATHY                      NJ - USDC for the District of New Jersey   3:19-cv-00983         THE MILLER FIRM, LLC
ADAMS, LILLIAN                    NJ - USDC for the District of New Jersey   3:21-cv-11664         THE MILLER FIRM, LLC
ADAMS, MARY                       NJ - USDC for the District of New Jersey   3:20-cv-15187         THE MILLER FIRM, LLC
ADOCK, ELIZABETH                  NJ - USDC for the District of New Jersey   3:17-cv-10784         THE MILLER FIRM, LLC
AINILIAN, MARY                    CA - Superior Court - Santa Clara County   18CV330377            THE MILLER FIRM, LLC
ALDRICH, K.; DECHRISTOFARO, J.;
                                  CA - Superior Court - Los Angeles County   BC62173               THE MILLER FIRM, LLC
KNUTSON, M.
ALEY, ANNA                        NJ - USDC for the District of New Jersey   3:18-cv-17666         THE MILLER FIRM, LLC
ALLEN, CHARLOTTE                  NJ - USDC for the District of New Jersey   3:17-cv-13514         THE MILLER FIRM, LLC
ALLEN, MELISSA                    NJ - USDC for the District of New Jersey   3:21-cv-00567         THE MILLER FIRM, LLC
ALVAREZ, JUANITA                  NJ - USDC for the District of New Jersey   3:17-cv-12771         THE MILLER FIRM, LLC
AMAUGWU, JOY                      NJ - USDC for the District of New Jersey   3:21-cv-16289         THE MILLER FIRM, LLC
AMBERT, NORMA                     NJ - USDC for the District of New Jersey   3:21-cv-09581         THE MILLER FIRM, LLC
AMO, DONNA                        NJ - Superior Court - Atlantic County      ATL-L-000590-19       THE MILLER FIRM, LLC
ANDERSON, ORA                     NJ - USDC for the District of New Jersey   3:18-cv-17230         THE MILLER FIRM, LLC
ANDERSON, ROSEMARY                NJ - USDC for the District of New Jersey   3:19-cv-09033         THE MILLER FIRM, LLC
ANDERSON, SHIRLEY                 NJ - USDC for the District of New Jersey   3:19-cv-19417         THE MILLER FIRM, LLC
APELIAN, BARBARA                  NJ - USDC for the District of New Jersey   3:17-cv-07016         THE MILLER FIRM, LLC
ARISPE, BROOKE                    NJ - USDC for the District of New Jersey   3:17-cv-12526         THE MILLER FIRM, LLC
ARNOLD, SHARON                    NJ - USDC for the District of New Jersey   3:19-cv-00979         THE MILLER FIRM, LLC
ARROYO, RHONDA                    NJ - USDC for the District of New Jersey   3:19-cv-00977         THE MILLER FIRM, LLC
ARTHUR, TRACY                     NJ - USDC for the District of New Jersey   3:18-cv-08343         THE MILLER FIRM, LLC
ASHBY, LEE                        NJ - USDC for the District of New Jersey   3:18-cv-02960         THE MILLER FIRM, LLC
ASHLEY, HARRIS                    NJ - USDC for the District of New Jersey   3:21-cv-12765         THE MILLER FIRM, LLC
ASHWORTH, LINDA                   NJ - USDC for the District of New Jersey   3:21-cv-07747         THE MILLER FIRM, LLC
AVERY, SUSAN                      NJ - USDC for the District of New Jersey   3:19-cv-20954         THE MILLER FIRM, LLC
BAGGETT, SHERRILL                 NJ - USDC for the District of New Jersey   3:20-cv-02829         THE MILLER FIRM, LLC
BAILEY, ADDIE                     NJ - USDC for the District of New Jersey   3:17-cv-11749         THE MILLER FIRM, LLC
BAILEY, DEBRA                     NJ - USDC for the District of New Jersey   3:17-cv-13547         THE MILLER FIRM, LLC
BAKER, ELSIE                      NJ - USDC for the District of New Jersey   3:19-cv-20555         THE MILLER FIRM, LLC




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          Claimant Name                             State Filed                      Docket Number                 Plaintiff Counsel
BAKER, MABLE                        NJ - USDC for the District of New Jersey   3:21-cv-04856         THE MILLER FIRM, LLC
BALASOW, EMMA                       CA - Superior Court - Santa Clara County   18CV327342            THE MILLER FIRM, LLC
BALCH, PATRICIA                     NJ - USDC for the District of New Jersey   3:21-cv-12730         THE MILLER FIRM, LLC
BALL, JESSICA                       NJ - USDC for the District of New Jersey   3:18-cv-04715         THE MILLER FIRM, LLC
BALLEZ, CONNIE                      NJ - USDC for the District of New Jersey   3:17-cv-10714         THE MILLER FIRM, LLC
BANKS-WRIGHT, MARGIE                NJ - USDC for the District of New Jersey   3:18-cv-17315         THE MILLER FIRM, LLC
BARANOWSKI, DEBORAH                 NJ - USDC for the District of New Jersey   3:17-cv-10862         THE MILLER FIRM, LLC
BARBER, CONNIE                      NJ - USDC for the District of New Jersey   3:18-cv-12128         THE MILLER FIRM, LLC
BARGO, BARBARA                      NJ - USDC for the District of New Jersey   3:21-cv-04357         THE MILLER FIRM, LLC
BARTUCCI, DOROTHY                   NJ - USDC for the District of New Jersey   3:20-cv-07664         THE MILLER FIRM, LLC
BASBAGILL, KATIE                    NJ - USDC for the District of New Jersey   3:18-cv-16076         THE MILLER FIRM, LLC
BATCHELOR, ROSEMARIE                NJ - USDC for the District of New Jersey   3:20-cv-16518         THE MILLER FIRM, LLC
BAUER, KATHY                        CA - Superior Court - Santa Clara County   19CV342193            THE MILLER FIRM, LLC
BAUTISTA, KRISTINA                  NJ - USDC for the District of New Jersey   3:21-cv-04488         THE MILLER FIRM, LLC
BAXENDALE, EVANLINDA                NJ - USDC for the District of New Jersey   3:18-cv-01546         THE MILLER FIRM, LLC
BAYER, WILMA                        NJ - USDC for the District of New Jersey   3:18-cv-09729         THE MILLER FIRM, LLC
BENNETT, JANELLE                    NJ - USDC for the District of New Jersey   3:19-cv-00884         THE MILLER FIRM, LLC
BERRY-WILSON, FLORELL               NJ - USDC for the District of New Jersey   3:18-cv-01132         THE MILLER FIRM, LLC
BESSPIATA, NANCY                    NJ - USDC for the District of New Jersey   3:19-cv-00974         THE MILLER FIRM, LLC
BIGGER, GAIL                        NJ - USDC for the District of New Jersey   3:21-cv-16603         THE MILLER FIRM, LLC
BIRCH, MARCY                        NJ - USDC for the District of New Jersey   3:17-cv-12945         THE MILLER FIRM, LLC
BISE, MATTIE                        NJ - USDC for the District of New Jersey   3:17-cv-12822         THE MILLER FIRM, LLC
BISHOP, LORRAINE                    NJ - USDC for the District of New Jersey   3:17-cv-11689         THE MILLER FIRM, LLC
BLACKBURN, CYNTHIA                  NJ - USDC for the District of New Jersey   3:18-cv-02424         THE MILLER FIRM, LLC
BLACKMAN, ALBERTHA                  NJ - USDC for the District of New Jersey   3:17-cv-12433         THE MILLER FIRM, LLC
BLACKWELL, PAULETTE                 NJ - USDC for the District of New Jersey   3:20-cv-15087         THE MILLER FIRM, LLC
BLAIR, DEBRA; TYSON, ELIZABETH CA - Superior Court - Santa Clara County        17-cv-304790          THE MILLER FIRM, LLC
BLAIR, JESSICA                      NJ - USDC for the District of New Jersey   3:21-cv-12623         THE MILLER FIRM, LLC
BLAKE, JULEE                        NJ - USDC for the District of New Jersey   3:18-cv-01162         THE MILLER FIRM, LLC
BLAKELY, MARY ANN                   NJ - USDC for the District of New Jersey   3:19-cv-20902         THE MILLER FIRM, LLC
BLANCHARD, MARIBETH                 NJ - USDC for the District of New Jersey   3:17-cv-13758         THE MILLER FIRM, LLC
BODE, PETRINA                       NJ - USDC for the District of New Jersey   3:17-cv-10699         THE MILLER FIRM, LLC
BOHNET, AMBER                       NJ - USDC for the District of New Jersey   3:17-cv-10914         THE MILLER FIRM, LLC
BOLDING, KELLY                      NJ - USDC for the District of New Jersey   3:21-cv-04205         THE MILLER FIRM, LLC
BOOTH, CAROL                        NJ - USDC for the District of New Jersey   3:18-cv-02422         THE MILLER FIRM, LLC
BORGES, DOLORES                     NJ - USDC for the District of New Jersey   3:17-cv-10779         THE MILLER FIRM, LLC
BOTCHIE, DEBRA                      NJ - USDC for the District of New Jersey   3:17-cv-06421         THE MILLER FIRM, LLC
BOUCHER, JANE; HOLLIS, VERA         CA - Superior Court - Los Angeles County   BC634856              THE MILLER FIRM, LLC
BOUDREAU, DIANE                     NJ - USDC for the District of New Jersey   3:18-cv-14486         THE MILLER FIRM, LLC
BOWDEN, DEBORAH                     NJ - USDC for the District of New Jersey   3:17-cv-11546         THE MILLER FIRM, LLC
BOWERS, REBECCA                     VA - Circuit Court - Chesapeake County     CL17003612-00         THE MILLER FIRM, LLC
BOWMAN, ETHEL                       NJ - USDC for the District of New Jersey   3:17-cv-13613         THE MILLER FIRM, LLC
BOWMAN, KHADIJAH                    NJ - USDC for the District of New Jersey   3:21-cv-06260         THE MILLER FIRM, LLC
BOYD, MARILYN                       NJ - USDC for the District of New Jersey   3:18-cv-12117         THE MILLER FIRM, LLC
BOYD, TINA                          NJ - USDC for the District of New Jersey   3:20-cv-15836         THE MILLER FIRM, LLC
BOYKIN, JUNE                        NJ - USDC for the District of New Jersey   3:19-cv-14049         THE MILLER FIRM, LLC
BOZICEVIC, IRENE                    CA - Superior Court - Santa Clara County   18CV331853            THE MILLER FIRM, LLC
BRADFORD, VERLEAN                   NJ - USDC for the District of New Jersey   3:18-cv-17440         THE MILLER FIRM, LLC
BRADY, SHEILA                       NJ - USDC for the District of New Jersey   3:20-cv-17711         THE MILLER FIRM, LLC
BRANCH, BRENDA                      NJ - USDC for the District of New Jersey   3:20-cv-07660         THE MILLER FIRM, LLC
BRANTLEY, EUGENIA                   NJ - USDC for the District of New Jersey   3:18-cv-11943         THE MILLER FIRM, LLC
BRANTLEY, LASHAUN                   NJ - USDC for the District of New Jersey   3:19-cv-00971         THE MILLER FIRM, LLC
BRECKENRIDGE, IDA                   NJ - USDC for the District of New Jersey   3:17-cv-12825         THE MILLER FIRM, LLC
BREEDLOVE, KATHY                    NJ - USDC for the District of New Jersey   3:17-cv-12811         THE MILLER FIRM, LLC
BRIDGES, MARYA                      NJ - USDC for the District of New Jersey   3:18-cv-17668         THE MILLER FIRM, LLC
BRIEN, CLAIRE                       NJ - USDC for the District of New Jersey   3:17-cv-12755         THE MILLER FIRM, LLC
BROOKINGS, CHERYL                   NJ - Superior Court - Atlantic County      ATL-L-000432-19       THE MILLER FIRM, LLC
BROOKS, CYNTHIA                     NJ - USDC for the District of New Jersey   3:18-cv-16825         THE MILLER FIRM, LLC
BROOKS, DENISE                      NJ - USDC for the District of New Jersey   3:18-cv-02420         THE MILLER FIRM, LLC
BROOKS, FLORA                       NJ - USDC for the District of New Jersey   3:18-cv-08375         THE MILLER FIRM, LLC
BROOKS, KRISTY                      NJ - USDC for the District of New Jersey   3:17-cv-11694         THE MILLER FIRM, LLC
BROWN, CYNTHIA                      NJ - USDC for the District of New Jersey   3:19-cv-07823         THE MILLER FIRM, LLC
BROWN, EDNA                         IL - Circuit Court - Cook County           2017-L-003010         THE MILLER FIRM, LLC
BROWN, JANIE                        NJ - USDC for the District of New Jersey   3:17-cv-11623         THE MILLER FIRM, LLC
BROWN, MARIA                        NJ - USDC for the District of New Jersey   3:18-cv-09471         THE MILLER FIRM, LLC
BROWN, SHIELA                       NJ - USDC for the District of New Jersey   3:21-cv-12630         THE MILLER FIRM, LLC
BROWN, TYRRA                        NJ - USDC for the District of New Jersey   3:18-cv-16659         THE MILLER FIRM, LLC
BRUBAKER, KARON                     NJ - USDC for the District of New Jersey   3:17-cv-07578         THE MILLER FIRM, LLC
BRUBAKER, LISA                      NJ - USDC for the District of New Jersey   3:17-cv-12876         THE MILLER FIRM, LLC
BRUECKER, ELLEN                     NJ - USDC for the District of New Jersey   3:17-cv-12756         THE MILLER FIRM, LLC
BRUNEAU, SIMONNE                    NJ - USDC for the District of New Jersey   3:18-cv-17144         THE MILLER FIRM, LLC
BRUNK, KAREN                        NJ - USDC for the District of New Jersey   3:19-cv-00594         THE MILLER FIRM, LLC
BUCKLEY, JANICE                     NJ - USDC for the District of New Jersey   3:17-cv-13626         THE MILLER FIRM, LLC
BUCKLIN, KAYLEEN                    NJ - USDC for the District of New Jersey   3:17-cv-06414         THE MILLER FIRM, LLC
BURDINE, GLORIA                     NJ - USDC for the District of New Jersey   3:21-cv-04666         THE MILLER FIRM, LLC
BURKES, ANNE                        NJ - USDC for the District of New Jersey   3:20-cv-00698         THE MILLER FIRM, LLC
BURTON, ANDREA                      NJ - USDC for the District of New Jersey   3:19-cv-00596         THE MILLER FIRM, LLC
BUSH, DONNA                         NJ - USDC for the District of New Jersey   3:17-cv-07068         THE MILLER FIRM, LLC
BUTLER, GLORIA                      NJ - USDC for the District of New Jersey   3:17-cv-11746         THE MILLER FIRM, LLC




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          Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
BUTLER, GRETA NICHOLS     NJ - USDC for the District of New Jersey   3:20-cv-06094         THE MILLER FIRM, LLC
BUTTERFIELD, ANGELA       NJ - USDC for the District of New Jersey   3:17-cv-11981         THE MILLER FIRM, LLC
CAGGIANO, MARYANN         NJ - USDC for the District of New Jersey   3:21-cv-16496         THE MILLER FIRM, LLC
CALL, STEPHANIE           CA - Superior Court - Los Angeles County   BC640571              THE MILLER FIRM, LLC
CAMIONSCHU, MARIANA       NJ - USDC for the District of New Jersey   3:18-cv-17063         THE MILLER FIRM, LLC
CAMPANY, MAMIE            NJ - USDC for the District of New Jersey   3:17-cv-10866         THE MILLER FIRM, LLC
CAMPBELL, JENNIFER        NJ - USDC for the District of New Jersey   3:18-cv-17671         THE MILLER FIRM, LLC
CAMPOLINI, LINDA          NJ - USDC for the District of New Jersey   3:20-cv-16613         THE MILLER FIRM, LLC
CANALES, CLAUDIA          NJ - USDC for the District of New Jersey   3:17-cv-13232         THE MILLER FIRM, LLC
CANINE, SHIRLEY           NJ - USDC for the District of New Jersey   3:17-cv-12428         THE MILLER FIRM, LLC
CANO, CLAIRE              CA - Superior Court - Santa Clara County   17CV321204            THE MILLER FIRM, LLC
CAPUTO, JESSICA           NJ - USDC for the District of New Jersey   3:17-cv-12117         THE MILLER FIRM, LLC
CAREY, CHRYSTAL           CA - Superior Court - Santa Clara County   17CV321179            THE MILLER FIRM, LLC
CARLTON, ANNIE            NJ - USDC for the District of New Jersey   3:17-cv-11625         THE MILLER FIRM, LLC
CARLYLE, MELODIE          NJ - USDC for the District of New Jersey   3:18-cv-13237         THE MILLER FIRM, LLC
CARR, DESIREE             NJ - USDC for the District of New Jersey   3:17-cv-13223         THE MILLER FIRM, LLC
CARR, FANNIE              NJ - USDC for the District of New Jersey   3:17-cv-11896         THE MILLER FIRM, LLC
CARREIRO, SHANNON         NJ - USDC for the District of New Jersey   3:18-cv-16158         THE MILLER FIRM, LLC
CARTER, LINDA             NJ - USDC for the District of New Jersey   3:21-cv-16270         THE MILLER FIRM, LLC
CARTER, STELLA            CA - Superior Court - Santa Clara County   18cv335259            THE MILLER FIRM, LLC
CARUSO, GREGORY           NJ - Superior Court - Atlantic County      ATL-L-2595-17         THE MILLER FIRM, LLC
CASBOHM, HEATHER          NJ - USDC for the District of New Jersey   3:21-cv-16495         THE MILLER FIRM, LLC
CAZARES, NICOLE           NJ - USDC for the District of New Jersey   3:21-cv-02285         THE MILLER FIRM, LLC
CEDERLE, LUCILLE          NJ - USDC for the District of New Jersey   3:19-cv-19418         THE MILLER FIRM, LLC
CHAPMAN, KATHRYN          NJ - USDC for the District of New Jersey   3:18-cv-04763         THE MILLER FIRM, LLC
CHAPMAN, TERESA           NJ - USDC for the District of New Jersey   3:19-cv-00597         THE MILLER FIRM, LLC
CHAVEZ, EVELYN            NJ - USDC for the District of New Jersey   3:18-cv-17441         THE MILLER FIRM, LLC
CHEEK, KARI               CA - Superior Court - Santa Clara County   17CV309242            THE MILLER FIRM, LLC
CHERAMIE, LYNN            NJ - USDC for the District of New Jersey   3:17-cv-12434         THE MILLER FIRM, LLC
CHESTNUT, KIMBERLY        NJ - USDC for the District of New Jersey   3:17-cv-07581         THE MILLER FIRM, LLC
CHESTON, ELOISE           NJ - USDC for the District of New Jersey   3:19-cv-00598         THE MILLER FIRM, LLC
CHEVALIER, ROSA           NJ - USDC for the District of New Jersey   3:21-cv-04647         THE MILLER FIRM, LLC
CHRISTIANSEN, COLLEEN     NJ - USDC for the District of New Jersey   3:19-cv-10308         THE MILLER FIRM, LLC
CHRISTINA CONKLIN         NJ - USDC for the District of New Jersey   3:21-cv-17592         THE MILLER FIRM, LLC
CHRISTOPHER, PERLIE       NJ - USDC for the District of New Jersey   3:17-cv-12256         THE MILLER FIRM, LLC
CHURCH, ANGELA            NJ - USDC for the District of New Jersey   3:18-cv-01243         THE MILLER FIRM, LLC
CLEMMONS, ELIZABETH       NJ - USDC for the District of New Jersey   3:19-cv-00599         THE MILLER FIRM, LLC
CLEVERLEY, VERNA          NJ - USDC for the District of New Jersey   3:19-cv-12530         THE MILLER FIRM, LLC
CLIFFORD, SHARYN          NJ - Superior Court - Atlantic County      ATL-L-2578-17         THE MILLER FIRM, LLC
CLINE, KAREN              NJ - USDC for the District of New Jersey   3:18-cv-09499         THE MILLER FIRM, LLC
CLOUD, CANDACE            NJ - USDC for the District of New Jersey   3:19-cv-10527         THE MILLER FIRM, LLC
COBLE, DOROTHY            NJ - USDC for the District of New Jersey   3:17-cv-10869         THE MILLER FIRM, LLC
COCCA, BETH               NJ - USDC for the District of New Jersey   3:21-cv-16570         THE MILLER FIRM, LLC
COHEN, LORI               NJ - USDC for the District of New Jersey   3:18-cv-16877         THE MILLER FIRM, LLC
COLE-GRAHAM, YVETTE       NJ - USDC for the District of New Jersey   3:18-cv-08286         THE MILLER FIRM, LLC
COLEMAN, PATRICIA         NJ - USDC for the District of New Jersey   3:19-cv-09036         THE MILLER FIRM, LLC
COLEMAN, WILLIE           NJ - USDC for the District of New Jersey   3:19-cv-09008         THE MILLER FIRM, LLC
COLLEN, CAROLYN           NJ - USDC for the District of New Jersey   3:18-cv-09479         THE MILLER FIRM, LLC
COLLINS, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-08288         THE MILLER FIRM, LLC
COLLINS, KIMBERLY         NJ - USDC for the District of New Jersey   3:17-cv-13238         THE MILLER FIRM, LLC
CONNIE WILLIAMS           NJ - USDC for the District of New Jersey   3:21-cv-17586         THE MILLER FIRM, LLC
CONNORS, ANN              NJ - USDC for the District of New Jersey   3:19-cv-15788         THE MILLER FIRM, LLC
COOK, MARY                NJ - USDC for the District of New Jersey   3:17-cv-10702         THE MILLER FIRM, LLC
COOPER, KATY              NJ - USDC for the District of New Jersey   3:19-cv-00668         THE MILLER FIRM, LLC
COOPER, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-13549         THE MILLER FIRM, LLC
COPE, MARJORIE            NJ - USDC for the District of New Jersey   3:17-cv-12524         THE MILLER FIRM, LLC
COPELAND, TAKESHA         NJ - USDC for the District of New Jersey   3:17-cv-13224         THE MILLER FIRM, LLC
CORBIN, STACI             NJ - USDC for the District of New Jersey   3:17-cv-04896         THE MILLER FIRM, LLC
CORNELL, NEDRA            NJ - USDC for the District of New Jersey   3:19-cv-00669         THE MILLER FIRM, LLC
COSTLOW, MARY             NJ - USDC for the District of New Jersey   3:17-cv-13134         THE MILLER FIRM, LLC
COTTON, DEBORAH           NJ - USDC for the District of New Jersey   3:18-cv-08537         THE MILLER FIRM, LLC
COTTRILL, BECKY           NJ - USDC for the District of New Jersey   3:18-cv-13240         THE MILLER FIRM, LLC
COUCH, ELAIME             NJ - USDC for the District of New Jersey   3:19-cv-00672         THE MILLER FIRM, LLC
COVINGTON, MARTHA         NJ - USDC for the District of New Jersey   3:18-cv-01531         THE MILLER FIRM, LLC
COX, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-10298         THE MILLER FIRM, LLC
CRAIG, MARY               NJ - USDC for the District of New Jersey   3:20-cv-16510         THE MILLER FIRM, LLC
CREECH, PATRICIA          NJ - USDC for the District of New Jersey   3:17-cv-11624         THE MILLER FIRM, LLC
CRENSHAW, LAKEISHA        NJ - USDC for the District of New Jersey   3:21-cv-04058         THE MILLER FIRM, LLC
CRISP, VIRGINIA           NJ - USDC for the District of New Jersey   3:17-cv-10872         THE MILLER FIRM, LLC
CROMWELL, PAULA           NJ - USDC for the District of New Jersey   3:18-cv-09497         THE MILLER FIRM, LLC
CRONKHITE, KRISTIN        NJ - USDC for the District of New Jersey   3:18-cv-17227         THE MILLER FIRM, LLC
CROSS, CORA               NJ - USDC for the District of New Jersey   3:17-cv-11555         THE MILLER FIRM, LLC
CROSSWHITE, CHARLOTTE     NJ - USDC for the District of New Jersey   3:21-cv-01842         THE MILLER FIRM, LLC
CULBREATH, PHENOLA        NJ - USDC for the District of New Jersey   3:19-cv-00673         THE MILLER FIRM, LLC
CULLISON, SHIRLEY         NJ - USDC for the District of New Jersey   3:17-cv-13471         THE MILLER FIRM, LLC
CUMMINGS, NANCY           NJ - USDC for the District of New Jersey   3:17-cv-07350         THE MILLER FIRM, LLC
CURE, ADRIANE             NJ - USDC for the District of New Jersey   3:21-cv-02614         THE MILLER FIRM, LLC
CURRY, VALERIE            NJ - USDC for the District of New Jersey   3:19-cv-00674         THE MILLER FIRM, LLC
DADLES, VICKI             NJ - USDC for the District of New Jersey   3:21-cv-16491         THE MILLER FIRM, LLC
DAFOE, JOY                NJ - USDC for the District of New Jersey   3:17-cv-06763         THE MILLER FIRM, LLC




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          Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
DANG, THUNGA              CA - Superior Court - Los Angeles County   18cv335260            THE MILLER FIRM, LLC
DANIELS, TERESA           CA - Superior Court - Santa Clara County   18CV330512            THE MILLER FIRM, LLC
DARLING, MARY             NJ - USDC for the District of New Jersey   3:21-cv-02720         THE MILLER FIRM, LLC
DAUGHTON, MALEA           NJ - USDC for the District of New Jersey   3:17-cv-12169         THE MILLER FIRM, LLC
DAUKSZA, MICHELLE         NJ - USDC for the District of New Jersey   3:18-cv-16904         THE MILLER FIRM, LLC
DAVIS, ARLENE             NJ - USDC for the District of New Jersey   3:18-cv-16789         THE MILLER FIRM, LLC
DAVIS, DARLENE            NJ - USDC for the District of New Jersey   3:17-cv-12384         THE MILLER FIRM, LLC
DAVIS, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-05555         THE MILLER FIRM, LLC
DAVIS, DESSIE             NJ - USDC for the District of New Jersey   3:21-cv-05021         THE MILLER FIRM, LLC
DAVIS, EDNA               NJ - USDC for the District of New Jersey   3:21-cv-10889         THE MILLER FIRM, LLC
DAVIS, MELINDA            NJ - USDC for the District of New Jersey   3:17-cv-13010         THE MILLER FIRM, LLC
DAVIS, NORMA              CA - Superior Court - Santa Clara County   17CV307559            THE MILLER FIRM, LLC
DAVIS, SHIRLEY            NJ - USDC for the District of New Jersey   3:17-cv-08397         THE MILLER FIRM, LLC
DAVIS, WILLENE            NJ - USDC for the District of New Jersey   3:17-cv-11692         THE MILLER FIRM, LLC
DAVIS, YVETTE             NJ - USDC for the District of New Jersey   3:21-cv-02218         THE MILLER FIRM, LLC
DAVIS-CARTER, VICTORIA    NJ - USDC for the District of New Jersey   3:19-cv-20801         THE MILLER FIRM, LLC
DAWSON, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-13516         THE MILLER FIRM, LLC
DECKER, SHIRLEY           NJ - USDC for the District of New Jersey   3:18-cv-16865         THE MILLER FIRM, LLC
DENATO, LYNN              NJ - USDC for the District of New Jersey   3:17-cv-13668         THE MILLER FIRM, LLC
DENSON, TERKEETA          NJ - USDC for the District of New Jersey   3:17-cv-10886         THE MILLER FIRM, LLC
DEPALMA, NOREEN           NJ - USDC for the District of New Jersey   3:18-cv-02419         THE MILLER FIRM, LLC
DERRY, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-16604         THE MILLER FIRM, LLC
DERTON, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-10706         THE MILLER FIRM, LLC
DIAZ, ESPERANZA           NJ - USDC for the District of New Jersey   3:18-cv-16316         THE MILLER FIRM, LLC
DIAZ, RAMONA              NJ - USDC for the District of New Jersey   3:17-cv-11598         THE MILLER FIRM, LLC
DICKSON, MARY             NJ - USDC for the District of New Jersey   3:20-cv-14275         THE MILLER FIRM, LLC
DIEW, AUDREY              NJ - USDC for the District of New Jersey   3:20-cv-00688         THE MILLER FIRM, LLC
DIMARINO, DAWN            NJ - USDC for the District of New Jersey   3:17-cv-07587         THE MILLER FIRM, LLC
DITMORE, ANN              NJ - USDC for the District of New Jersey   3:17-cv-11687         THE MILLER FIRM, LLC
DOMINGUE, TAMMY           NJ - USDC for the District of New Jersey   3:21-cv-02542         THE MILLER FIRM, LLC
DOMINGUEZ, SUSAN          CA - Superior Court - Santa Clara County   18CV328930            THE MILLER FIRM, LLC
DONALDSON, JUDITH         NJ - USDC for the District of New Jersey   3:17-cv-11552         THE MILLER FIRM, LLC
DONOVAN, LORETTA          NJ - USDC for the District of New Jersey   3:18-cv-17390         THE MILLER FIRM, LLC
DORNA FRANCIS             NJ - USDC for the District of New Jersey   3:21-cv-17589         THE MILLER FIRM, LLC
DUBA, ANNA                NJ - USDC for the District of New Jersey   3:21-cv-15540         THE MILLER FIRM, LLC
DUCONGE, CATRINNE         NJ - USDC for the District of New Jersey   3:21-cv-16288         THE MILLER FIRM, LLC
DUGOSH, MARY              NJ - USDC for the District of New Jersey   3:17-cv-10928         THE MILLER FIRM, LLC
DULL, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-11626         THE MILLER FIRM, LLC
DUNCAN, DARLA             NJ - USDC for the District of New Jersey   3:19-cv-00732         THE MILLER FIRM, LLC
DUNCAN, JOAN              NJ - USDC for the District of New Jersey   3:19-cv-00743         THE MILLER FIRM, LLC
DURAN, HELEN              CA - Superior Court - Santa Cruz County    17CV321180            THE MILLER FIRM, LLC
DURBIN, DAWN              NJ - USDC for the District of New Jersey   3:18-cv-16073         THE MILLER FIRM, LLC
DUVALL, AMY               NJ - USDC for the District of New Jersey   3:20-cv-03528         THE MILLER FIRM, LLC
EAGLETON, TANYA           NJ - USDC for the District of New Jersey   3:17-cv-07928         THE MILLER FIRM, LLC
EATON, GERALDINE          NJ - USDC for the District of New Jersey   3:18-cv-16966         THE MILLER FIRM, LLC
EBERSOLDT, PRISCILLA      NJ - USDC for the District of New Jersey   3:17-cv-10713         THE MILLER FIRM, LLC
EDSILL, KATHERINE         NJ - USDC for the District of New Jersey   3:17-cv-12878         THE MILLER FIRM, LLC
EGAN, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-02761         THE MILLER FIRM, LLC
ELLIANO, DOLORES          NJ - USDC for the District of New Jersey   3:17-cv-12525         THE MILLER FIRM, LLC
ELLIS, JANICE             NJ - USDC for the District of New Jersey   3:21-cv-04918         THE MILLER FIRM, LLC
ELVEBAK, SHIRLEY          NJ - USDC for the District of New Jersey   3:21-cv-02617         THE MILLER FIRM, LLC
ENGEMANN, MICHELLE        NJ - USDC for the District of New Jersey   3:19-cv-12527         THE MILLER FIRM, LLC
ENGLISH, TERRY            NJ - USDC for the District of New Jersey   3:18-cv-02416         THE MILLER FIRM, LLC
ENNES, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-07926         THE MILLER FIRM, LLC
EPPES-WARD, PATRICIA      NJ - USDC for the District of New Jersey   3:21-cv-15678         THE MILLER FIRM, LLC
ERBE, JOAN                NJ - USDC for the District of New Jersey   3:18-cv-10913         THE MILLER FIRM, LLC
ERVES, DOROTHY            NJ - USDC for the District of New Jersey   3:17-cv-13227         THE MILLER FIRM, LLC
ESLER, MARY               NJ - USDC for the District of New Jersey   3:18-cv-16969         THE MILLER FIRM, LLC
ESPARZA, IVONNE           NJ - USDC for the District of New Jersey   3:21-cv-09499         THE MILLER FIRM, LLC
ESQUIBEL, SANDRA          CA - Superior Court - Santa Clara County   17CV321181            THE MILLER FIRM, LLC
ETHERIDGE, REGINA         NJ - USDC for the District of New Jersey   3:18-cv-08531         THE MILLER FIRM, LLC
EVANS, BETTY              NJ - USDC for the District of New Jersey   3:19-cv-00775         THE MILLER FIRM, LLC
EVANS, DORRETHA           NJ - USDC for the District of New Jersey   3:19-cv-00773         THE MILLER FIRM, LLC
FABRE, MARGIE             NJ - USDC for the District of New Jersey   3:17-cv-11967         THE MILLER FIRM, LLC
FAJKUS, VIKKI             NJ - USDC for the District of New Jersey   3:17-cv-12959         THE MILLER FIRM, LLC
FAULK, RUBY               NJ - USDC for the District of New Jersey   3:20-cv-17719         THE MILLER FIRM, LLC
FAULTERSACK, CHRISTINA    NJ - USDC for the District of New Jersey   3:18-cv-01153         THE MILLER FIRM, LLC
FAVICHIA, MARCELINA       NJ - USDC for the District of New Jersey   3:18-cv-12108         THE MILLER FIRM, LLC
FEDE, ANGELA              NJ - USDC for the District of New Jersey   3:18-cv-16072         THE MILLER FIRM, LLC
FERGUSON, DIANA           NJ - USDC for the District of New Jersey   3:19-cv-00774         THE MILLER FIRM, LLC
FERREIRA, CARMEN          NJ - USDC for the District of New Jersey   3:20-cv-17630         THE MILLER FIRM, LLC
FICACCI, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-16070         THE MILLER FIRM, LLC
FINEGAN, ANNE             NJ - USDC for the District of New Jersey   3:18-cv-16855         THE MILLER FIRM, LLC
FISHER, MARYLEA           NJ - USDC for the District of New Jersey   3:17-cv-13636         THE MILLER FIRM, LLC
FITZGERALD, DOROTHY       NJ - USDC for the District of New Jersey   3:17-cv-10735         THE MILLER FIRM, LLC
FITZGIBBON, CANDICE       NJ - USDC for the District of New Jersey   3:17-cv-11970         THE MILLER FIRM, LLC
FLANARY, SONYA            NJ - USDC for the District of New Jersey   3:18-cv-17171         THE MILLER FIRM, LLC
FLECKENSTEIN, PATSY       NJ - USDC for the District of New Jersey   3:17-cv-10863         THE MILLER FIRM, LLC
FLICKINGER, JACQUELINE    NJ - USDC for the District of New Jersey   3:17-cv-12879         THE MILLER FIRM, LLC
FLORES, ANN               NJ - USDC for the District of New Jersey   3:17-cv-04796         THE MILLER FIRM, LLC




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          Claimant Name                              State Filed                     Docket Number                Plaintiff Counsel
FLORES, JESSICA; GREEN; VIRGINIA CA - Superior Court - Santa Clara County       16-cv-293936         THE MILLER FIRM, LLC
FLORES, LEAH                         NJ - USDC for the District of New Jersey   3:18-cv-01542        THE MILLER FIRM, LLC
FOERSTER, CAROL                      NJ - USDC for the District of New Jersey   3:17-cv-11469        THE MILLER FIRM, LLC
FOLEY, SUSAN                         NJ - USDC for the District of New Jersey   3:17-cv-10931        THE MILLER FIRM, LLC
FOOTE, DAWN                          NJ - USDC for the District of New Jersey   3:18-cv-17674        THE MILLER FIRM, LLC
FORBES, ANGELA                       NJ - USDC for the District of New Jersey   3:17-cv-05018        THE MILLER FIRM, LLC
FORBES, JANES                        NJ - USDC for the District of New Jersey   3:19-cv-17205        THE MILLER FIRM, LLC
FORSHEE, DORIS                       NJ - USDC for the District of New Jersey   3:19-cv-00968        THE MILLER FIRM, LLC
FORTI, MARILYN                       NJ - USDC for the District of New Jersey   3:18-cv-08532        THE MILLER FIRM, LLC
FORTIER, SANDRA                      NJ - USDC for the District of New Jersey   3:17-cv-13263        THE MILLER FIRM, LLC
FOSELLA, CYNTHIA                     NJ - USDC for the District of New Jersey   3:18-cv-16679        THE MILLER FIRM, LLC
FOSTER, MYRNA                        NJ - USDC for the District of New Jersey   3:17-cv-04767        THE MILLER FIRM, LLC
FOUST, GLADYS                        NJ - USDC for the District of New Jersey   3:21-cv-02311        THE MILLER FIRM, LLC
FOUT, JEANNIE                        NJ - USDC for the District of New Jersey   3:18-cv-15504        THE MILLER FIRM, LLC
FRALEY, DOLLY                        NJ - USDC for the District of New Jersey   3:17-cv-11688        THE MILLER FIRM, LLC
FRAZIER, LAVERNE                     NJ - USDC for the District of New Jersey   3:18-cv-16840        THE MILLER FIRM, LLC
FRAZIER, YOLAND                      NJ - USDC for the District of New Jersey   3:18-cv-08710        THE MILLER FIRM, LLC
FRENCH, GENEVA                       NJ - USDC for the District of New Jersey   3:17-cv-12881        THE MILLER FIRM, LLC
FRENCH, JEANNE                       NJ - USDC for the District of New Jersey   3:17-cv-12050        THE MILLER FIRM, LLC
FRITZ, DARLENE                       NJ - USDC for the District of New Jersey   3:20-cv-14319        THE MILLER FIRM, LLC
FULLER, SHIRLEY                      NJ - USDC for the District of New Jersey   3:19-cv-05062        THE MILLER FIRM, LLC
FUSON, DONNA                         NJ - USDC for the District of New Jersey   3:19-cv-14055        THE MILLER FIRM, LLC
FUTCH, TAMMY                         NJ - USDC for the District of New Jersey   3:21-cv-09517        THE MILLER FIRM, LLC
GALANTI, JANET                       NJ - Superior Court - Atlantic County      ATL-L-004123-20      THE MILLER FIRM, LLC
GALINDO, CLARA                       NJ - USDC for the District of New Jersey   3:18-cv-11228        THE MILLER FIRM, LLC
GALL, MARY                           NJ - USDC for the District of New Jersey   3:18-cv-10296        THE MILLER FIRM, LLC
GALLO, SUSAN                         NJ - USDC for the District of New Jersey   3:18-cv-17165        THE MILLER FIRM, LLC
GARCIA, DEBRA                        CA - Superior Court - Santa Clara County   18CV327347           THE MILLER FIRM, LLC
GARCIA, DEIDRE                       NJ - USDC for the District of New Jersey   3:21-cv-15538        THE MILLER FIRM, LLC
GASKINS, WILMA                       NJ - USDC for the District of New Jersey   3:18-cv-17231        THE MILLER FIRM, LLC
GATES, DENISE                        NJ - USDC for the District of New Jersey   3:18-cv-17676        THE MILLER FIRM, LLC
GATHERS, STACEY                      NJ - USDC for the District of New Jersey   3:17-cv-10935        THE MILLER FIRM, LLC
GAUTHIER, WENDY                      NJ - USDC for the District of New Jersey   3:17-cv-10717        THE MILLER FIRM, LLC
GEER, TERESA                         NJ - USDC for the District of New Jersey   3:18-cv-16906        THE MILLER FIRM, LLC
GERYCH, KRISTA                       NJ - USDC for the District of New Jersey   3:17-cv-13133        THE MILLER FIRM, LLC
GIDICH, DENISE                       NJ - USDC for the District of New Jersey   3:18-cv-16800        THE MILLER FIRM, LLC
GIL, BECKY                           CA - Superior Court - Santa Clara County   16-cv-298038         THE MILLER FIRM, LLC
GILMORE, BETTY                       NJ - USDC for the District of New Jersey   3:17-cv-13073        THE MILLER FIRM, LLC
GIPSON, MADALYNE                     NJ - USDC for the District of New Jersey   3:19-cv-05061        THE MILLER FIRM, LLC
GIRTON, PAULA                        NJ - USDC for the District of New Jersey   3:19-cv-04468        THE MILLER FIRM, LLC
GLASER, GLORIA                       CA - Superior Court - Santa Clara County   17CV321194           THE MILLER FIRM, LLC
GOFORTH, IRENE                       CA - Superior Court - Santa Clara County   17CV321194           THE MILLER FIRM, LLC
GOLD, ELENA                          CA - Superior Court - Santa Clara County   18CV328933           THE MILLER FIRM, LLC
GOMEZ, DENA                          NJ - USDC for the District of New Jersey   3:18-cv-04726        THE MILLER FIRM, LLC
GOMEZ, TINA                          NJ - USDC for the District of New Jersey   3:17-cv-13520        THE MILLER FIRM, LLC
GOODMAN, CATHERINE                   NJ - USDC for the District of New Jersey   3:20-cv-14320        THE MILLER FIRM, LLC
GORDON, DONESHIA                     NJ - USDC for the District of New Jersey   3:17-cv-10922        THE MILLER FIRM, LLC
GORDON-HERNANDEZ, JODY               NJ - USDC for the District of New Jersey   3:18-cv-14478        THE MILLER FIRM, LLC
GORZEGNO, CAROLYN                    CA - Superior Court - Santa Clara County   17CV321182           THE MILLER FIRM, LLC
GOSHE, RONDA                         NJ - USDC for the District of New Jersey   3:21-cv-12833        THE MILLER FIRM, LLC
GRAHAM, BERNICE                      NJ - USDC for the District of New Jersey   3:18-cv-17139        THE MILLER FIRM, LLC
GRAHAM, RUTH                         CA - Superior Court - Santa Clara County   17CV321183           THE MILLER FIRM, LLC
GRANDERSON, WILLIE                   NJ - USDC for the District of New Jersey   3:19-cv-04472        THE MILLER FIRM, LLC
GRANGER, CHERYL                      NJ - USDC for the District of New Jersey   3:17-cv-13132        THE MILLER FIRM, LLC
GRANT, ELLA                          NJ - USDC for the District of New Jersey   3:18-cv-08361        THE MILLER FIRM, LLC
GRAVELY, VIVIAN                      NJ - USDC for the District of New Jersey   3:17-cv-11426        THE MILLER FIRM, LLC
GRAVES, ANITA                        NJ - USDC for the District of New Jersey   3:19-cv-15779        THE MILLER FIRM, LLC
GRAVES, ROBYN                        NJ - USDC for the District of New Jersey   3:21-cv-05063        THE MILLER FIRM, LLC
GRAVES, SHIRLEY                      NJ - USDC for the District of New Jersey   3:18-cv-16932        THE MILLER FIRM, LLC
GRAY, JACQULIN                       NJ - USDC for the District of New Jersey   3:17-cv-12761        THE MILLER FIRM, LLC
GRAY, LYNSHINA                       NJ - USDC for the District of New Jersey   3:17-cv-05531        THE MILLER FIRM, LLC
GREEN, CAROL                         NJ - USDC for the District of New Jersey   3:18-cv-07953        THE MILLER FIRM, LLC
GREEN, LINDA                         NJ - USDC for the District of New Jersey   3:17-cv-08590        THE MILLER FIRM, LLC
GREER, FAITH                         NJ - USDC for the District of New Jersey   3:17-cv-11985        THE MILLER FIRM, LLC
GREER, JUDITH                        NJ - USDC for the District of New Jersey   3:18-cv-04769        THE MILLER FIRM, LLC
GREGORY, SHAUNIEA                    NJ - USDC for the District of New Jersey   3:20-cv-18247        THE MILLER FIRM, LLC
GREITZER, SHIRLEY                    NJ - USDC for the District of New Jersey   3:19-cv-15783        THE MILLER FIRM, LLC
GRIER, VYVEKA                        NJ - USDC for the District of New Jersey   3:17-cv-11864        THE MILLER FIRM, LLC
GRIFFIN, JOYCE                       NJ - USDC for the District of New Jersey   3:19-cv-18198        THE MILLER FIRM, LLC
GRIGSBY, CHARLOTTE                   NJ - USDC for the District of New Jersey   3:17-cv-12044        THE MILLER FIRM, LLC
GRIMSLEY, SHERRY                     NJ - USDC for the District of New Jersey   3:17-cv-08588        THE MILLER FIRM, LLC
GROSS, TONI                          NJ - USDC for the District of New Jersey   3:18-cv-16069        THE MILLER FIRM, LLC
GUERRERO, ALICIA                     NJ - USDC for the District of New Jersey   3:17-cv-12435        THE MILLER FIRM, LLC
GUSTAFSON, SHARON                    CA - Superior Court - Santa Clara County   18CV328629           THE MILLER FIRM, LLC
GUSTAFSON, SHARON; WHITNEY;
                                     CA - Superior Court - Santa Clara County   16-cv-292902         THE MILLER FIRM, LLC
JENNIFER
GUSTAVSON, NANCY                     NJ - USDC for the District of New Jersey   3:17-cv-12048        THE MILLER FIRM, LLC
HADDOCK, MARIE                       NJ - USDC for the District of New Jersey   3:18-cv-13236        THE MILLER FIRM, LLC
HAGAN, ANGELA                        NJ - USDC for the District of New Jersey   3:20-cv-15484        THE MILLER FIRM, LLC




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         Claimant Name                   State Filed                     Docket Number                Plaintiff Counsel
HAGEMANN, NICOLE;
                         CA - Superior Court - Santa Clara County   16cv303989           THE MILLER FIRM, LLC
SCHWABENLAND, LINDA
HAILEY, KRYSTAL          NJ - USDC for the District of New Jersey   3:18-cv-17438        THE MILLER FIRM, LLC
HALL, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-12763        THE MILLER FIRM, LLC
                         PA - Philadelphia County Court of Common
HALL, SABRINA                                                       210500706            THE MILLER FIRM, LLC
                         Pleas
HAMBRIC, ROBERTA         NJ - USDC for the District of New Jersey   3:18-cv-11226        THE MILLER FIRM, LLC
HAMILTON, ESSIE          NJ - USDC for the District of New Jersey   3:18-cv-04723        THE MILLER FIRM, LLC
HAMILTON, RUBY           NJ - USDC for the District of New Jersey   3:17-cv-13669        THE MILLER FIRM, LLC
HAMILTON, SAMANTHA       NJ - USDC for the District of New Jersey   3:18-cv-09489        THE MILLER FIRM, LLC
HAMMETER, DIANE          NJ - USDC for the District of New Jersey   3:18-cv-13238        THE MILLER FIRM, LLC
HAMMOND, GRACE           NJ - USDC for the District of New Jersey   3:19-cv-21131        THE MILLER FIRM, LLC
HAMMONDS, AMY            NJ - USDC for the District of New Jersey   3:20-cv-17549        THE MILLER FIRM, LLC
HANEY, DEBRA             CA - Superior Court - Santa Clara County   18CV323905           THE MILLER FIRM, LLC
HANSON, CHARLOTTE        NJ - USDC for the District of New Jersey   3:18-cv-08293        THE MILLER FIRM, LLC
HANSON, ERIN             NJ - USDC for the District of New Jersey   3:18-cv-08339        THE MILLER FIRM, LLC
HARDY, KATHLEEN          NJ - USDC for the District of New Jersey   3:17-cv-13125        THE MILLER FIRM, LLC
HARPER, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-17709        THE MILLER FIRM, LLC
HARRIGER, MARY           NJ - USDC for the District of New Jersey   3:17-cv-13079        THE MILLER FIRM, LLC
HARRIS, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-17859        THE MILLER FIRM, LLC
HARRIS, JUDY             NJ - USDC for the District of New Jersey   3:17-cv-04761        THE MILLER FIRM, LLC
HARRIS, MAXINE           NJ - USDC for the District of New Jersey   3:19-cv-04475        THE MILLER FIRM, LLC
HARRIS, TRACIE           NJ - USDC for the District of New Jersey   3:19-cv-10317        THE MILLER FIRM, LLC
HARTSOCK, KAREN          NJ - USDC for the District of New Jersey   3:20-cv-17347        THE MILLER FIRM, LLC
HARTWELL, JAMIE          NJ - USDC for the District of New Jersey   3:17-cv-12817        THE MILLER FIRM, LLC
HARVEY, SHASTA           NJ - USDC for the District of New Jersey   3:21-cv-04492        THE MILLER FIRM, LLC
HATEM, GERDA             NJ - USDC for the District of New Jersey   3:18-cv-17314        THE MILLER FIRM, LLC
HAUCK, DOLORES           CA - Superior Court - Santa Clara County   18CV328941           THE MILLER FIRM, LLC
HECKMAN, EDNA            NJ - USDC for the District of New Jersey   3:18-cv-17232        THE MILLER FIRM, LLC
HECKMAN, EVONADELLE      NJ - USDC for the District of New Jersey   3:18-cv-17235        THE MILLER FIRM, LLC
HEDGECOCK, LENA          CA - Superior Court - Santa Clara County   18CV334054           THE MILLER FIRM, LLC
HEIMAN, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-13619        THE MILLER FIRM, LLC
HELLAND, JULIE           NJ - USDC for the District of New Jersey   3:19-cv-07824        THE MILLER FIRM, LLC
HELMS, EVARY             NJ - USDC for the District of New Jersey   3:18-cv-08294        THE MILLER FIRM, LLC
HENDERSON, LISA          NJ - USDC for the District of New Jersey   3:21-cv-04491        THE MILLER FIRM, LLC
HENDRICKS, TERESA        NJ - USDC for the District of New Jersey   3:21-cv-16591        THE MILLER FIRM, LLC
HENES, MARTHA            NJ - USDC for the District of New Jersey   3:18-cv-02781        THE MILLER FIRM, LLC
HENSEL, GLORIA           NJ - USDC for the District of New Jersey   3:18-cv-08543        THE MILLER FIRM, LLC
HENSLEY, GLADYS          NJ - USDC for the District of New Jersey   3:17-cv-10751        THE MILLER FIRM, LLC
HENZLER, BETTY           NJ - USDC for the District of New Jersey   3:19-cv-20514        THE MILLER FIRM, LLC
HEPP, CINDY              NJ - USDC for the District of New Jersey   3:21-cv-10886        THE MILLER FIRM, LLC
HEPWORTH, LORENE         NJ - USDC for the District of New Jersey   3:17-cv-11690        THE MILLER FIRM, LLC
HERMANN, REBECCA         NJ - USDC for the District of New Jersey   3:17-cv-12426        THE MILLER FIRM, LLC
HERNANDEZ, MILCA         NJ - USDC for the District of New Jersey   3:20-cv-16300        THE MILLER FIRM, LLC
HERRING, TRUDY           NJ - USDC for the District of New Jersey   3:17-cv-11585        THE MILLER FIRM, LLC
HERSHAN, PATRICIA        NJ - USDC for the District of New Jersey   3:17-cv-13627        THE MILLER FIRM, LLC
HETHERINGTON, DONNA      NJ - USDC for the District of New Jersey   3:17-cv-08076        THE MILLER FIRM, LLC
HIBBARD, CAROL           CA - Superior Court - Santa Clara County   18CV323910           THE MILLER FIRM, LLC
HICKS, GLADYS            NJ - USDC for the District of New Jersey   3:17-cv-11977        THE MILLER FIRM, LLC
HIGGINS, ANNIE           NJ - USDC for the District of New Jersey   3:21-cv-04913        THE MILLER FIRM, LLC
HILL, BILLIE             NJ - USDC for the District of New Jersey   3:18-cv-11231        THE MILLER FIRM, LLC
HILL, LINDA              NJ - USDC for the District of New Jersey   3:18-cv-08344        THE MILLER FIRM, LLC
HILL, YOLANDA            NJ - USDC for the District of New Jersey   3:19-cv-20198        THE MILLER FIRM, LLC
HINES, DOLORES           NJ - USDC for the District of New Jersey   3:18-cv-09491        THE MILLER FIRM, LLC
HOANG, ANNIE             NJ - USDC for the District of New Jersey   3:17-cv-13477        THE MILLER FIRM, LLC
HODESH, ILENE            NJ - USDC for the District of New Jersey   3:21-cv-16356        THE MILLER FIRM, LLC
HOGUE, GENEVA            NJ - USDC for the District of New Jersey   3:18-cv-12107        THE MILLER FIRM, LLC
HOLCOMB, QUEEN           NJ - USDC for the District of New Jersey   3:17-cv-12385        THE MILLER FIRM, LLC
HOLCOMB, VICKI           NJ - USDC for the District of New Jersey   3:17-cv-07575        THE MILLER FIRM, LLC
HOLLENBECK, ERICKA       NJ - USDC for the District of New Jersey   3:19-cv-18194        THE MILLER FIRM, LLC
HOLLOWAY, BLANCHE        NJ - USDC for the District of New Jersey   3:17-cv-11889        THE MILLER FIRM, LLC
HOLMQUIST, KATHLEEN      NJ - USDC for the District of New Jersey   3:18-cv-09473        THE MILLER FIRM, LLC
HOLT, CONNIE             NJ - USDC for the District of New Jersey   3:20-cv-11979        THE MILLER FIRM, LLC
HOPE, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-16183        THE MILLER FIRM, LLC
HOPSON, JUDITH           NJ - USDC for the District of New Jersey   3:21-cv-12687        THE MILLER FIRM, LLC
HORCH, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-12115        THE MILLER FIRM, LLC
HORNSBY, DONNA           NJ - Superior Court - Atlantic County      ATL-L-002422         THE MILLER FIRM, LLC
HOSKINS, JULIA           NJ - USDC for the District of New Jersey   3:18-cv-16682        THE MILLER FIRM, LLC
HOWARD, MARY             NJ - USDC for the District of New Jersey   3:19-cv-20515        THE MILLER FIRM, LLC
HOWARD, PAMELA           NJ - USDC for the District of New Jersey   3:18-cv-17138        THE MILLER FIRM, LLC
HUCKO, EWA               NJ - Superior Court - Atlantic County      ATL-L-004123-20      THE MILLER FIRM, LLC
HUERTA, MARIA            NJ - USDC for the District of New Jersey   3:19-cv-08933        THE MILLER FIRM, LLC
HULL, JULIE              NJ - USDC for the District of New Jersey   3:21-cv-00568        THE MILLER FIRM, LLC
HUMPHREY, LINDA          NJ - USDC for the District of New Jersey   3:17-cv-11898        THE MILLER FIRM, LLC
HUMPHRIES, JUDITH        NJ - USDC for the District of New Jersey   3:18-cv-02415        THE MILLER FIRM, LLC
HUNT, EVELYN             NJ - USDC for the District of New Jersey   3:17-cv-11596        THE MILLER FIRM, LLC
HUNT, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-13131        THE MILLER FIRM, LLC
HURLEY, LORETTA          NJ - USDC for the District of New Jersey   3:21-cv-10887        THE MILLER FIRM, LLC
HURTADO, LINDA           NJ - USDC for the District of New Jersey   3:17-cv-12114        THE MILLER FIRM, LLC
HUTCHENS, LORA           NJ - USDC for the District of New Jersey   3:18-cv-02959        THE MILLER FIRM, LLC




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          Claimant Name                     State Filed                    Docket Number                 Plaintiff Counsel
HUYCK, DIANE              NJ - USDC for the District of New Jersey   3:21-cv-02615         THE MILLER FIRM, LLC
INGERSOLL, KIMMARIE       NJ - USDC for the District of New Jersey   3:21-cv-10853         THE MILLER FIRM, LLC
ISAACSON, ELSIE           NJ - Superior Court - Atlantic County      ATL-L-2697-17         THE MILLER FIRM, LLC
ISENBERG, BONNIE          NJ - USDC for the District of New Jersey   3:19-cv-09002         THE MILLER FIRM, LLC
JACOB, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-12102         THE MILLER FIRM, LLC
JACOBI, STACEY            CA - Superior Court - Santa Clara County   18CV333802            THE MILLER FIRM, LLC
JACOBSEN, VICTORIA        NJ - USDC for the District of New Jersey   3:17-cv-13515         THE MILLER FIRM, LLC
JAMES, JOYCE              NJ - USDC for the District of New Jersey   3:21-cv-16227         THE MILLER FIRM, LLC
JAMES, RUTH               NJ - USDC for the District of New Jersey   3:21-cv-16497         THE MILLER FIRM, LLC
JARAMILLO, CHRISTINA      NJ - USDC for the District of New Jersey   3:18-cv-02412         THE MILLER FIRM, LLC
JAUBERT, MARY             NJ - USDC for the District of New Jersey   3:18-cv-16068         THE MILLER FIRM, LLC
JAVNER, TERRI             NJ - USDC for the District of New Jersey   3:20-cv-16529         THE MILLER FIRM, LLC
JENKINS, CHERYL           NJ - USDC for the District of New Jersey   3:18-cv-16898         THE MILLER FIRM, LLC
JENNINGS, CAROL           NJ - USDC for the District of New Jersey   3:18-cv-17678         THE MILLER FIRM, LLC
JENNINGS, PATREACE        NJ - USDC for the District of New Jersey   3:20-cv-14318         THE MILLER FIRM, LLC
JENSON, DONNA             NJ - USDC for the District of New Jersey   3:19-cv-12535         THE MILLER FIRM, LLC
JESSUP, ALICE             NJ - USDC for the District of New Jersey   3:21-cv-04756         THE MILLER FIRM, LLC
JEWELL, NANCY             NJ - USDC for the District of New Jersey   3:20-cv-07656         THE MILLER FIRM, LLC
JOHNSON, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-17679         THE MILLER FIRM, LLC
JOHNSON, CAROLYN          NJ - USDC for the District of New Jersey   3:17-cv-11556         THE MILLER FIRM, LLC
JOHNSON, CRISTINA         NJ - USDC for the District of New Jersey   3:21-cv-15679         THE MILLER FIRM, LLC
JOHNSON, FRANCESIA        NJ - USDC for the District of New Jersey   3:17-cv-12958         THE MILLER FIRM, LLC
JOHNSON, JACQUELINE       NJ - USDC for the District of New Jersey   3:18-cv-04728         THE MILLER FIRM, LLC
JOHNSON, LADONNA          NJ - USDC for the District of New Jersey   3:17-cv-05557         THE MILLER FIRM, LLC
JOHNSON, MARCENE          NJ - USDC for the District of New Jersey   3:17-cv-13005         THE MILLER FIRM, LLC
JOHNSON, MELODY           NJ - USDC for the District of New Jersey   3:19-cv-00314         THE MILLER FIRM, LLC
JOHNSON, NAJARA           NJ - USDC for the District of New Jersey   3:17-cv-12257         THE MILLER FIRM, LLC
JOHNSON, PEGGY            NJ - USDC for the District of New Jersey   3:20-cv-16299         THE MILLER FIRM, LLC
JOHNSON, ROSALINDA        NJ - USDC for the District of New Jersey   3:18-cv-09475         THE MILLER FIRM, LLC
JOHNSON, SHARON           NJ - USDC for the District of New Jersey   3:17-cv-11875         THE MILLER FIRM, LLC
JOHNSTONE, SHIRLEY        NJ - USDC for the District of New Jersey   3:20-cv-05987         THE MILLER FIRM, LLC
JONES, ASHLEY             NJ - USDC for the District of New Jersey   3:20-cv-15841         THE MILLER FIRM, LLC
JONES, CHERYL             NJ - USDC for the District of New Jersey   3:17-cv-12818         THE MILLER FIRM, LLC
JONES, JUDITH             NJ - USDC for the District of New Jersey   3:18-cv-02972         THE MILLER FIRM, LLC
JONES, JUDY               NJ - USDC for the District of New Jersey   3:17-cv-13258         THE MILLER FIRM, LLC
JONES, KIRRA              NJ - USDC for the District of New Jersey   3:17-cv-10739         THE MILLER FIRM, LLC
JONES, MARCELLA           NJ - USDC for the District of New Jersey   3:17-cv-04972         THE MILLER FIRM, LLC
JONES, MICHAELA           NJ - USDC for the District of New Jersey   3:17-cv-10861         THE MILLER FIRM, LLC
JONES, SHARLINE           CA - Superior Court - Santa Clara County   18CV328925            THE MILLER FIRM, LLC
JONES, TAMARA             NJ - USDC for the District of New Jersey   3:17-cv-10798         THE MILLER FIRM, LLC
JONES-BUTLER, BRITTANY    NJ - USDC for the District of New Jersey   3:20-cv-17725         THE MILLER FIRM, LLC
JOUKL, JUDIT              CA - Superior Court - Santa Clara County   17CV304902            THE MILLER FIRM, LLC
KALEDA, RAMINTA           NJ - USDC for the District of New Jersey   3:17-cv-12440         THE MILLER FIRM, LLC
KALLEN, GLENDA            NJ - USDC for the District of New Jersey   3:17-cv-10782         THE MILLER FIRM, LLC
KAMHOLZ, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-04479         THE MILLER FIRM, LLC
KAONA, JANICE             NJ - USDC for the District of New Jersey   3:17-cv-10788         THE MILLER FIRM, LLC
KAPLAN, MERYL             CA - Superior Court - Santa Clara County   18CV328926            THE MILLER FIRM, LLC
KARL, MARY                NJ - USDC for the District of New Jersey   3:19-cv-04484         THE MILLER FIRM, LLC
KATZ, BEVERLY             NJ - USDC for the District of New Jersey   3:17-cv-05259         THE MILLER FIRM, LLC
KAYAFAS, MADELINE         NJ - USDC for the District of New Jersey   3:19-cv-20471         THE MILLER FIRM, LLC
KAZEE, MYRTHA             NJ - USDC for the District of New Jersey   3:17-cv-11983         THE MILLER FIRM, LLC
KEANE-BECKMAN, PATRICIA   NJ - USDC for the District of New Jersey   3:18-cv-08285         THE MILLER FIRM, LLC
KEEGAN, MARTHA            NJ - USDC for the District of New Jersey   3:20-cv-15084         THE MILLER FIRM, LLC
KELLY, MITZI              NJ - USDC for the District of New Jersey   3:18-cv-12103         THE MILLER FIRM, LLC
KEMP, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-11470         THE MILLER FIRM, LLC
KERNER, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-04718         THE MILLER FIRM, LLC
KEYS, LISA                NJ - USDC for the District of New Jersey   3:18-cv-08366         THE MILLER FIRM, LLC
KIKUGAWA, WENDY           NJ - USDC for the District of New Jersey   3:17-cv-11587         THE MILLER FIRM, LLC
KILGORE, LETITIA          NJ - USDC for the District of New Jersey   3:18-cv-02410         THE MILLER FIRM, LLC
KINKLE, SYLVIA            NJ - USDC for the District of New Jersey   3:21-cv-02217         THE MILLER FIRM, LLC
KIRKLAND, RUBY            NJ - USDC for the District of New Jersey   3:19-cv-20719         THE MILLER FIRM, LLC
KNECHT, GEORGETTE         NJ - USDC for the District of New Jersey   3:18-cv-08715         THE MILLER FIRM, LLC
KNIGHT, KIMBERLY          IL - Circuit Court - Cook County           2017-L-003009         THE MILLER FIRM, LLC
KNIGHTEN, SHIRLEY         NJ - USDC for the District of New Jersey   3:17-cv-12764         THE MILLER FIRM, LLC
KNOLL, JODI               NJ - USDC for the District of New Jersey   3:18-cv-15501         THE MILLER FIRM, LLC
KNUST, JUDY               NJ - USDC for the District of New Jersey   3:19-cv-03120         THE MILLER FIRM, LLC
KOCK, KIMBERLY            NJ - USDC for the District of New Jersey   3:19-cv-17208         THE MILLER FIRM, LLC
KOEHLER, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-03806         THE MILLER FIRM, LLC
KOERPERICH, SUSAN         NJ - USDC for the District of New Jersey   3:17-cv-11413         THE MILLER FIRM, LLC
KOHL, KAREN               NJ - USDC for the District of New Jersey   3:17-cv-04729         THE MILLER FIRM, LLC
KOSICEK, TINA             NJ - USDC for the District of New Jersey   3:17-cv-10695         THE MILLER FIRM, LLC
KOSTENBAUDER, PATRICIA    NJ - USDC for the District of New Jersey   3:20-cv-01652         THE MILLER FIRM, LLC
KRUSE, JOAN               NJ - USDC for the District of New Jersey   3:17-cv-11965         THE MILLER FIRM, LLC
KULICK, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-10756         THE MILLER FIRM, LLC
KURTEN, TRUDY             DE - Superior Court - New Castle County    N17C-05-314           THE MILLER FIRM, LLC
KUTCHBACK, MELANIE        NJ - USDC for the District of New Jersey   3:20-cv-16274         THE MILLER FIRM, LLC
LABOY, GLENDA             NJ - USDC for the District of New Jersey   3:19-cv-03135         THE MILLER FIRM, LLC
LAIRD, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-03159         THE MILLER FIRM, LLC
LANDRY, DORISE            NJ - USDC for the District of New Jersey   3:21-cv-16361         THE MILLER FIRM, LLC
LANG, PEGGY               NJ - USDC for the District of New Jersey   3:18-cv-16811         THE MILLER FIRM, LLC




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          Claimant Name                    State Filed                      Docket Number                 Plaintiff Counsel
LANKSHEAR, BRENDA          NJ - USDC for the District of New Jersey   3:21-cv-07737         THE MILLER FIRM, LLC
LAPORTE, CYNTHIA           NJ - USDC for the District of New Jersey   3:18-cv-16661         THE MILLER FIRM, LLC
LARKIN, REBECCA            NJ - USDC for the District of New Jersey   3:19-cv-12528         THE MILLER FIRM, LLC
LAROCCA, NICOLE            NJ - USDC for the District of New Jersey   3:21-cv-15542         THE MILLER FIRM, LLC
LAUF, SANDRA               NJ - USDC for the District of New Jersey   3:18-cv-11235         THE MILLER FIRM, LLC
LAUMAN, FRIEYA             NJ - USDC for the District of New Jersey   3:18-cv-17201         THE MILLER FIRM, LLC
LAUVAS, TRUDY              NJ - USDC for the District of New Jersey   3:17-cv-11467         THE MILLER FIRM, LLC
LAWRENCE, SYLVIA           NJ - USDC for the District of New Jersey   3:17-cv-13135         THE MILLER FIRM, LLC
LAYMAN, CYNTHIA            NJ - USDC for the District of New Jersey   3:18-cv-02409         THE MILLER FIRM, LLC
LEDESMA, SONIA             CA - Superior Court - Santa Clara County   17CV321185            THE MILLER FIRM, LLC
LEMIRE, ANGELA             NJ - USDC for the District of New Jersey   3:17-cv-11472         THE MILLER FIRM, LLC
LESKO, MARGARET            NJ - USDC for the District of New Jersey   3:21-cv-01844         THE MILLER FIRM, LLC
LESLIE, CAROLYN            NJ - USDC for the District of New Jersey   3:19-cv-03195         THE MILLER FIRM, LLC
LEWIS, ANNETTE             NJ - USDC for the District of New Jersey   3:20-cv-00697         THE MILLER FIRM, LLC
LEWIS, JENNIFER            NJ - USDC for the District of New Jersey   3:18-cv-16983         THE MILLER FIRM, LLC
LEWIS, LISA                NJ - USDC for the District of New Jersey   3:20-cv-17858         THE MILLER FIRM, LLC
LEWIS, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-16621         THE MILLER FIRM, LLC
LINARES, MAGDALENA         CA - Superior Court - Santa Clara County   17CV321196            THE MILLER FIRM, LLC
LINDA CARNEY               NJ - USDC for the District of New Jersey   3:21-cv-18016         THE MILLER FIRM, LLC
LINSEY, BRENDA             NJ - USDC for the District of New Jersey   3:21-cv-04907         THE MILLER FIRM, LLC
LINTZENICH, BARBARA        NJ - USDC for the District of New Jersey   3:17-cv-13616         THE MILLER FIRM, LLC
LIPSEY, CAROL              NJ - USDC for the District of New Jersey   3:18-cv-16846         THE MILLER FIRM, LLC
LITTLEBIRD, CHLORIS        NJ - USDC for the District of New Jersey   3:18-cv-17443         THE MILLER FIRM, LLC
LIVENGOOD, BETSY BELL      NJ - USDC for the District of New Jersey   3:18-cv-17202         THE MILLER FIRM, LLC
LOGAN, ROBERTA             NJ - USDC for the District of New Jersey   3:17-cv-10864         THE MILLER FIRM, LLC
LOGAN, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-10802         THE MILLER FIRM, LLC
LOMBARDI, VALERIE          NJ - USDC for the District of New Jersey   3:17-cv-11627         THE MILLER FIRM, LLC
LONG, GLORIA               NJ - USDC for the District of New Jersey   3:18-cv-16881         THE MILLER FIRM, LLC
LOPEZ, AMY                 NJ - USDC for the District of New Jersey   3:17-cv-12446         THE MILLER FIRM, LLC
LOWE, DONNA                NJ - USDC for the District of New Jersey   3:17-cv-12757         THE MILLER FIRM, LLC
LOWE, LORENA               CA - Superior Court - Santa Clara County   16-cv-299025          THE MILLER FIRM, LLC
LOWERY, CHRISTY            NJ - USDC for the District of New Jersey   3:20-cv-17857         THE MILLER FIRM, LLC
LOWERY, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-13521         THE MILLER FIRM, LLC
LUSK, PAMELA               NJ - USDC for the District of New Jersey   3:18-cv-16686         THE MILLER FIRM, LLC
MAGLONE, VERONICA          NJ - USDC for the District of New Jersey   3:19-cv-20595         THE MILLER FIRM, LLC
MAHN, SARA                 NJ - USDC for the District of New Jersey   3:18-cv-02782         THE MILLER FIRM, LLC
MAHONE, HARRIET            NJ - USDC for the District of New Jersey   3:21-cv-12944         THE MILLER FIRM, LLC
MAJESKI, GEORGETTA         NJ - USDC for the District of New Jersey   3:17-cv-06764         THE MILLER FIRM, LLC
MAJORS, PAULA              NJ - USDC for the District of New Jersey   3:18-cv-17059         THE MILLER FIRM, LLC
MALDONADO, GENA            NJ - USDC for the District of New Jersey   3:17-cv-10725         THE MILLER FIRM, LLC
MANLEY, SABRINA            NJ - USDC for the District of New Jersey   3:17-cv-10910         THE MILLER FIRM, LLC
MANNING, HAZEL             NJ - USDC for the District of New Jersey   3:18-cv-01249         THE MILLER FIRM, LLC
MARANO, BERNICE            NJ - USDC for the District of New Jersey   3:18-cv-08541         THE MILLER FIRM, LLC
MARIANELA SANCHEZ          NJ - USDC for the District of New Jersey   3:21-cv-18015         THE MILLER FIRM, LLC
MARION, LISA               NJ - USDC for the District of New Jersey   3:19-cv-14042         THE MILLER FIRM, LLC
MARKS, NELLIE              NJ - USDC for the District of New Jersey   3:21-cv-07731         THE MILLER FIRM, LLC
MARLAND, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-02918         THE MILLER FIRM, LLC
MARTINEZ, CLORISA          NJ - USDC for the District of New Jersey   3:18-cv-14484         THE MILLER FIRM, LLC
MARTINEZ, DONILA           NJ - USDC for the District of New Jersey   3:18-cv-16066         THE MILLER FIRM, LLC
MARTINEZ, MARY             NJ - USDC for the District of New Jersey   3:18-cv-16063         THE MILLER FIRM, LLC
MARY UNDERDALE             NJ - USDC for the District of New Jersey   3:21-cv-18013         THE MILLER FIRM, LLC
MASON, DONNA               NJ - USDC for the District of New Jersey   3:17-cv-00802         THE MILLER FIRM, LLC
MASON-REIBSON, MYNA        NJ - USDC for the District of New Jersey   3:17-cv-11582         THE MILLER FIRM, LLC
MASSI, JENNIFER            CA - Superior Court - Santa Clara County   18CV330513            THE MILLER FIRM, LLC
MASTERS, KIM               NJ - USDC for the District of New Jersey   3:21-cv-01843         THE MILLER FIRM, LLC
MASTRIANNI, JEAN           NJ - USDC for the District of New Jersey   3:17-cv-10868         THE MILLER FIRM, LLC
MATHIS, TERI               NJ - USDC for the District of New Jersey   3:18-cv-12116         THE MILLER FIRM, LLC
MATTOX, ALICE              NJ - USDC for the District of New Jersey   3:18-cv-08287         THE MILLER FIRM, LLC
MAYS, WILLIE               NJ - USDC for the District of New Jersey   3:19-cv-03242         THE MILLER FIRM, LLC
MAYTIDU, ROBERT            NJ - Superior Court - Atlantic County      L00227619             THE MILLER FIRM, LLC
MCBRIDE, ANNA              NJ - USDC for the District of New Jersey   3:18-cv-16807         THE MILLER FIRM, LLC
MCCASLIN, DANA             NJ - USDC for the District of New Jersey   3:21-cv-13722         THE MILLER FIRM, LLC
MCCLAIN, DONNA             NJ - USDC for the District of New Jersey   3:20-cv-16298         THE MILLER FIRM, LLC
MCCLAIN, MERRA             NJ - USDC for the District of New Jersey   3:21-cv-00462         THE MILLER FIRM, LLC
MCCONNER, FRANCES          CA - Superior Court - Santa Clara County   18CV327339            THE MILLER FIRM, LLC
MCCOOL, LAURA              NJ - USDC for the District of New Jersey   3:18-cv-17114         THE MILLER FIRM, LLC
MCCORMICK, CYNTHIA         NJ - USDC for the District of New Jersey   3:19-cv-21185         THE MILLER FIRM, LLC
MCCULLEY, STACY            NJ - USDC for the District of New Jersey   3:20-cv-16691         THE MILLER FIRM, LLC
MCDANIEL, JACKIE           NJ - USDC for the District of New Jersey   3:17-cv-13241         THE MILLER FIRM, LLC
MCDONALD, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-01536         THE MILLER FIRM, LLC
MCELHANEY, CYNTHIA         NJ - USDC for the District of New Jersey   3:17-cv-05564         THE MILLER FIRM, LLC
MCHENRY, TERI              NJ - USDC for the District of New Jersey   3:21-cv-03805         THE MILLER FIRM, LLC
MCINERNEY, JOAN            NJ - USDC for the District of New Jersey   3:18-cv-17449         THE MILLER FIRM, LLC
MCKAY, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-11629         THE MILLER FIRM, LLC
MCKENNA, STACI             NJ - USDC for the District of New Jersey   3:18-cv-12110         THE MILLER FIRM, LLC
MCKENZIE, JANNES; TONEY,
                           CA - Superior Court - Santa Clara County   17CV308034            THE MILLER FIRM, LLC
GLENDA
MCKNIGHT, ROSE             NJ - USDC for the District of New Jersey   3:19-cv-00317         THE MILLER FIRM, LLC
MCKOY, MARIE               NJ - USDC for the District of New Jersey   3:20-cv-17877         THE MILLER FIRM, LLC
MCNAMEE, WINIFRED          NJ - USDC for the District of New Jersey   3:21-cv-16588         THE MILLER FIRM, LLC




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          Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
MCQUADE, ROBIN            NJ - USDC for the District of New Jersey   3:19-cv-06513         THE MILLER FIRM, LLC
MELL, JOYCE               NJ - USDC for the District of New Jersey   3:18-cv-13239         THE MILLER FIRM, LLC
MENDO, JULIETTE           NJ - USDC for the District of New Jersey   3:21-cv-02216         THE MILLER FIRM, LLC
MERCADO, ELIZABETH        NJ - USDC for the District of New Jersey   3:19-cv-01801         THE MILLER FIRM, LLC
MERINO, MARIA             NJ - USDC for the District of New Jersey   3:19-cv-01816         THE MILLER FIRM, LLC
MEYERS, DORIS             NJ - USDC for the District of New Jersey   3:17-cv-13126         THE MILLER FIRM, LLC
MIGUEL, ILIANA            NJ - USDC for the District of New Jersey   3:20-cv-15083         THE MILLER FIRM, LLC
MILES, BELINDA            NJ - USDC for the District of New Jersey   3:21-cv-12729         THE MILLER FIRM, LLC
MILES, JUANITA            NJ - USDC for the District of New Jersey   3:18-cv-02973         THE MILLER FIRM, LLC
MILLER, JOAN              NJ - USDC for the District of New Jersey   3:20-cv-16302         THE MILLER FIRM, LLC
MILLER, LABRONDA          NJ - USDC for the District of New Jersey   3:17-cv-13129         THE MILLER FIRM, LLC
MILLER, PAM               NJ - USDC for the District of New Jersey   3:18-cv-04730         THE MILLER FIRM, LLC
MILLER, SABRA             NJ - USDC for the District of New Jersey   3:17-cv-11544         THE MILLER FIRM, LLC
MILLS, MERILYN            NJ - USDC for the District of New Jersey   3:21-cv-02618         THE MILLER FIRM, LLC
MILLS, SHERI              NJ - USDC for the District of New Jersey   3:21-cv-16595         THE MILLER FIRM, LLC
MILLS-MCCOY, ANNETTE      NJ - USDC for the District of New Jersey   3:18-cv-09481         THE MILLER FIRM, LLC
MINGGIA, VANESSA          NJ - USDC for the District of New Jersey   3:17-cv-06869         THE MILLER FIRM, LLC
MIRACLE, MARY             NJ - USDC for the District of New Jersey   3:21-cv-04355         THE MILLER FIRM, LLC
MITCHELL, ARLENE          NJ - USDC for the District of New Jersey   3:17-cv-13524         THE MILLER FIRM, LLC
MITCHELL, CHRISTINE       NJ - USDC for the District of New Jersey   3:18-cv-12113         THE MILLER FIRM, LLC
MITCHELL, LAURA           NJ - USDC for the District of New Jersey   3:17-cv-05677         THE MILLER FIRM, LLC
MONDRAY, ALFREDA          NJ - USDC for the District of New Jersey   3:17-cv-11418         THE MILLER FIRM, LLC
MONSOUR, MARIE            NJ - USDC for the District of New Jersey   3:19-cv-07790         THE MILLER FIRM, LLC
MONTGOMERY, LILLY         CA - Superior Court - Santa Clara County   18CV327340            THE MILLER FIRM, LLC
MOODY, KAITLYN            NJ - USDC for the District of New Jersey   3:17-cv-11691         THE MILLER FIRM, LLC
                          PA - Allegheny County Court of Common
MOORE, BERNADINE                                                     170104504             THE MILLER FIRM, LLC
                          Pleas
MOORE, KATRINA            NJ - USDC for the District of New Jersey   3:19-cv-12533         THE MILLER FIRM, LLC
MOORE, NANCY              CA - Superior Court - Santa Clara County   17CV321201            THE MILLER FIRM, LLC
MOORE, WILLA              NJ - USDC for the District of New Jersey   3:17-cv-13531         THE MILLER FIRM, LLC
MOORE-ALLEN, LILLIE       NJ - USDC for the District of New Jersey   3:18-cv-09468         THE MILLER FIRM, LLC
MORANDA, PATRICIA         CA - Superior Court - Santa Clara County   17CV321199            THE MILLER FIRM, LLC
MOREHEAD, TERESA          NJ - USDC for the District of New Jersey   3:19-cv-08932         THE MILLER FIRM, LLC
MORELLI, ROSALIE          NJ - USDC for the District of New Jersey   3:17-cv-12167         THE MILLER FIRM, LLC
MORGAN, TRACY             NJ - USDC for the District of New Jersey   3:17-cv-12720         THE MILLER FIRM, LLC
MORGEN, ELIZABETH         NJ - USDC for the District of New Jersey   3:18-cv-17388         THE MILLER FIRM, LLC
MORSE, CONNIE             NJ - USDC for the District of New Jersey   3:17-cv-11693         THE MILLER FIRM, LLC
MOTE, RENEE               NJ - USDC for the District of New Jersey   3:19-cv-10310         THE MILLER FIRM, LLC
MURPHY, ANN               NJ - USDC for the District of New Jersey   3:17-cv-13246         THE MILLER FIRM, LLC
MURRAY, LORI              NJ - USDC for the District of New Jersey   3:17-cv-08012         THE MILLER FIRM, LLC
MYERS, CANDACE            CA - Superior Court - Los Angeles County   BC632333              THE MILLER FIRM, LLC
MYERS, TERETHA            NJ - USDC for the District of New Jersey   3:19-cv-18200         THE MILLER FIRM, LLC
NADEAU, GRAYCE            NJ - USDC for the District of New Jersey   3:17-cv-11595         THE MILLER FIRM, LLC
NAGY, LISA                NJ - USDC for the District of New Jersey   3:18-cv-08529         THE MILLER FIRM, LLC
NATARAJAN, NALINI         NJ - USDC for the District of New Jersey   3:19-cv-15782         THE MILLER FIRM, LLC
NEALEY, RACHEL            NJ - USDC for the District of New Jersey   3:17-cv-13525         THE MILLER FIRM, LLC
NEEME, JERILYN            NJ - USDC for the District of New Jersey   3:17-cv-12168         THE MILLER FIRM, LLC
NELSON, SADIE             NJ - USDC for the District of New Jersey   3:17-cv-10761         THE MILLER FIRM, LLC
NEVAREZ, STACY            NJ - USDC for the District of New Jersey   3:17-cv-06431         THE MILLER FIRM, LLC
NEWSOME, ETHELYN          NJ - USDC for the District of New Jersey   3:19-cv-17206         THE MILLER FIRM, LLC
NICHOLSON, CYNTHIA        CA - Superior Court - Santa Clara County   18CV331856            THE MILLER FIRM, LLC
NICOLL, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-04720         THE MILLER FIRM, LLC
NIETO, JEANNE             NJ - USDC for the District of New Jersey   3:17-cv-13016         THE MILLER FIRM, LLC
NIEVES, BRENDA            NJ - USDC for the District of New Jersey   3:18-cv-02408         THE MILLER FIRM, LLC
NIXON, MARY               NJ - USDC for the District of New Jersey   3:17-cv-11745         THE MILLER FIRM, LLC
NOBLE, BETTY              NJ - USDC for the District of New Jersey   3:17-cv-12528         THE MILLER FIRM, LLC
NONNWEILER, PATRICIA      NJ - USDC for the District of New Jersey   3:17-cv-13077         THE MILLER FIRM, LLC
NORTON, MARY              NJ - USDC for the District of New Jersey   3:21-cv-02721         THE MILLER FIRM, LLC
NORTON, TRACIE            NJ - USDC for the District of New Jersey   3:20-cv-02759         THE MILLER FIRM, LLC
NOVAK, ANNETTE            NJ - USDC for the District of New Jersey   3:18-cv-02406         THE MILLER FIRM, LLC
NOWAK, MANUELA            NJ - USDC for the District of New Jersey   3:17-cv-13233         THE MILLER FIRM, LLC
NOWAKOWSKI, MARY          NJ - USDC for the District of New Jersey   3:18-cv-17211         THE MILLER FIRM, LLC
OATIS, BARBARA            CA - Superior Court - Los Angeles County   BC631959              THE MILLER FIRM, LLC
OBRIEN, SHARON            NJ - USDC for the District of New Jersey   3:18-cv-16238         THE MILLER FIRM, LLC
OCONNOR, MAUREAN          NJ - USDC for the District of New Jersey   3:17-cv-11633         THE MILLER FIRM, LLC
OFIELD, MARY              NJ - USDC for the District of New Jersey   3:17-cv-12767         THE MILLER FIRM, LLC
OHANLON-YOUNG, PATRICIA   CA - Superior Court - Los Angeles County   18CV328945            THE MILLER FIRM, LLC
OINONEN, CATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-01822         THE MILLER FIRM, LLC
OSBORNE-CURRY, JANNIE     NJ - USDC for the District of New Jersey   3:18-cv-17205         THE MILLER FIRM, LLC
OSTROSKI, SHARON          NJ - USDC for the District of New Jersey   3:19-cv-17207         THE MILLER FIRM, LLC
OUIMETTE, CAROLYN         NJ - USDC for the District of New Jersey   3:18-cv-15502         THE MILLER FIRM, LLC
OWEN, EVA                 CA - Superior Court - Santa Clara County   18CV334053            THE MILLER FIRM, LLC
OWENS, RUNNETTE           NJ - USDC for the District of New Jersey   3:17-cv-10795         THE MILLER FIRM, LLC
PACE, MARIA               NJ - USDC for the District of New Jersey   3:17-cv-11881         THE MILLER FIRM, LLC
PACHOV, ASHLEY            NJ - USDC for the District of New Jersey   3:17-cv-10772         THE MILLER FIRM, LLC
PAGE, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-16448         THE MILLER FIRM, LLC
PAGNANI, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-12165         THE MILLER FIRM, LLC
PALMAI, CAROL             NJ - Superior Court - Atlantic County      ATL-L-202-18          THE MILLER FIRM, LLC
PANTALONE, NANCY          NJ - USDC for the District of New Jersey   3:17-cv-10791         THE MILLER FIRM, LLC
PARKE, SHARON             NJ - USDC for the District of New Jersey   3:19-cv-15780         THE MILLER FIRM, LLC




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           Claimant Name                   State Filed                      Docket Number                 Plaintiff Counsel
PARKER, DAWN               NJ - USDC for the District of New Jersey   3:20-cv-09650         THE MILLER FIRM, LLC
PARKISON, SHEILIA          CA - Superior Court - Santa Clara County   17CV321111            THE MILLER FIRM, LLC
PATLA, BETTY               NJ - USDC for the District of New Jersey   3:19-cv-09012         THE MILLER FIRM, LLC
PAUGH, MELISSA             NJ - USDC for the District of New Jersey   3:21-cv-13736         THE MILLER FIRM, LLC
PAWLICK, MARY              NJ - USDC for the District of New Jersey   3:17-cv-13532         THE MILLER FIRM, LLC
PAYNE, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-11583         THE MILLER FIRM, LLC
PAYTON, GEZELL             NJ - USDC for the District of New Jersey   3:18-cv-16931         THE MILLER FIRM, LLC
PEARSON, AGNES             NJ - USDC for the District of New Jersey   3:18-cv-17392         THE MILLER FIRM, LLC
PEARSON, JOANN             NJ - USDC for the District of New Jersey   3:17-cv-10892         THE MILLER FIRM, LLC
PEERY, BETTY               NJ - USDC for the District of New Jersey   3:20-cv-07651         THE MILLER FIRM, LLC
PELLETIER, ROBIN           NJ - USDC for the District of New Jersey   3:17-cv-11420         THE MILLER FIRM, LLC
PELT, PEGGY                NJ - USDC for the District of New Jersey   3:17-cv-11887         THE MILLER FIRM, LLC
PEREZ, NANCY               NJ - USDC for the District of New Jersey   3:21-cv-04712         THE MILLER FIRM, LLC
PEREZ, NIDIA               NJ - Superior Court - Atlantic County      ATL-L-000433-19       THE MILLER FIRM, LLC
PERRY, KAREN               NJ - USDC for the District of New Jersey   3:20-cv-18063         THE MILLER FIRM, LLC
PERRY, SANDRA              NJ - USDC for the District of New Jersey   3:18-cv-02785         THE MILLER FIRM, LLC
PETERS, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-07359         THE MILLER FIRM, LLC
PFEIFFER, CAROL            NJ - USDC for the District of New Jersey   3:17-cv-11684         THE MILLER FIRM, LLC
PHILLIPS, GERALDINE        NJ - USDC for the District of New Jersey   3:17-cv-13249         THE MILLER FIRM, LLC
PHIPPS, ALICE              NJ - USDC for the District of New Jersey   3:18-cv-02405         THE MILLER FIRM, LLC
PICOU, ROSE                NJ - USDC for the District of New Jersey   3:17-cv-11884         THE MILLER FIRM, LLC
PIERCE, LETITIA            CA - Superior Court - Santa Clara County   17CV321202            THE MILLER FIRM, LLC
PINKERTON, SHARON          NJ - USDC for the District of New Jersey   3:18-cv-01545         THE MILLER FIRM, LLC
PINSKE, LOIS               NJ - USDC for the District of New Jersey   3:21-cv-00514         THE MILLER FIRM, LLC
PIPES, MARY                CA - Superior Court - Santa Clara County   16CV296848            THE MILLER FIRM, LLC
PLATH, SHARON              NJ - USDC for the District of New Jersey   3:17-cv-12885         THE MILLER FIRM, LLC
PLAUTZ, SALLY              NJ - USDC for the District of New Jersey   3:17-cv-10906         THE MILLER FIRM, LLC
POBICKI, MICHELE           NJ - USDC for the District of New Jersey   3:21-cv-04166         THE MILLER FIRM, LLC
POLK, JOANN                NJ - USDC for the District of New Jersey   3:21-cv-11654         THE MILLER FIRM, LLC
POLLARD, SUSAN             NJ - USDC for the District of New Jersey   3:19-cv-01828         THE MILLER FIRM, LLC
POLTER, KATHIE             NJ - USDC for the District of New Jersey   3:17-cv-11634         THE MILLER FIRM, LLC
POOLE, PATRICIA            DE - Superior Court - New Castle County    N17C-05-357           THE MILLER FIRM, LLC
POOLE, VICTORIA            NJ - USDC for the District of New Jersey   3:18-cv-16944         THE MILLER FIRM, LLC
PORTA, JO                  NJ - USDC for the District of New Jersey   3:18-cv-16827         THE MILLER FIRM, LLC
PORTILLES, DEANNA          NJ - USDC for the District of New Jersey   3:17-cv-12723         THE MILLER FIRM, LLC
POWELL, DORIS              DE - Superior Court - New Castle County    N17C-05-390           THE MILLER FIRM, LLC
POWERS, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-01835         THE MILLER FIRM, LLC
PRICE, BOBBIE              NJ - USDC for the District of New Jersey   3:17-cv-11422         THE MILLER FIRM, LLC
PRIVITERA, TARA            NJ - USDC for the District of New Jersey   3:18-cv-16878         THE MILLER FIRM, LLC
PROVINCE, LORI             NJ - USDC for the District of New Jersey   3:17-cv-12821         THE MILLER FIRM, LLC
PRUITT, INGRID             NJ - USDC for the District of New Jersey   3:18-cv-01254         THE MILLER FIRM, LLC
PULLEY, LYNN               NJ - USDC for the District of New Jersey   3:18-cv-09833         THE MILLER FIRM, LLC
QUASCHNICK, SANDRA         NJ - USDC for the District of New Jersey   3:21-cv-09543         THE MILLER FIRM, LLC
QUINN, ANGIE               NJ - USDC for the District of New Jersey   3:18-cv-09503         THE MILLER FIRM, LLC
RACHAL, HATTIE             NJ - USDC for the District of New Jersey   3:17-cv-11630         THE MILLER FIRM, LLC
RADFORD, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-15539         THE MILLER FIRM, LLC
RAFIDI, JANE               NJ - USDC for the District of New Jersey   3:21-cv-10124         THE MILLER FIRM, LLC
RAGSDALE, LANA             NJ - USDC for the District of New Jersey   3:17-cv-10860         THE MILLER FIRM, LLC
RAINS, KATHY               NJ - USDC for the District of New Jersey   3:17-cv-10704         THE MILLER FIRM, LLC
RAMIREZ, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-21184         THE MILLER FIRM, LLC
RAMPLEY, PEGGY             NJ - USDC for the District of New Jersey   3:18-cv-11223         THE MILLER FIRM, LLC
RANDLE, NICOLE             NJ - USDC for the District of New Jersey   3:18-cv-02403         THE MILLER FIRM, LLC
RASLER, WENDI              NJ - USDC for the District of New Jersey   3:20-cv-17354         THE MILLER FIRM, LLC
RASMUSSEN, COLLEEN         NJ - USDC for the District of New Jersey   3:18-cv-10920         THE MILLER FIRM, LLC
RAUTTER, LORETTA           CA - Superior Court - Santa Clara County   17CV321209            THE MILLER FIRM, LLC
RAWLS, RUTH                CA - Superior Court - Santa Clara County   18CV322737            THE MILLER FIRM, LLC
REAPE, YVONNE              CA - Superior Court - Santa Clara County   18CV323966            THE MILLER FIRM, LLC
REDDING, ELIZABETH         NJ - USDC for the District of New Jersey   3:17-cv-12887         THE MILLER FIRM, LLC
REDDING, IDELMA            NJ - USDC for the District of New Jersey   3:18-cv-08718         THE MILLER FIRM, LLC
REDMAN, KATHLEEN           NJ - USDC for the District of New Jersey   3:17-cv-13082         THE MILLER FIRM, LLC
REED, THERESA              NJ - USDC for the District of New Jersey   3:19-cv-10318         THE MILLER FIRM, LLC
REID, IDA                  NJ - USDC for the District of New Jersey   3:18-cv-17387         THE MILLER FIRM, LLC
RENIE, STACEY              NJ - USDC for the District of New Jersey   3:17-cv-12888         THE MILLER FIRM, LLC
RETTIG-BRODY, LISA         NJ - USDC for the District of New Jersey   3:17-cv-10859         THE MILLER FIRM, LLC
REYNOLDS, ANN              NJ - USDC for the District of New Jersey   3:18-cv-01168         THE MILLER FIRM, LLC
REYNOLDS, CYNTHIA          NJ - USDC for the District of New Jersey   3:21-cv-13717         THE MILLER FIRM, LLC
RHONDA BROWN               NJ - USDC for the District of New Jersey   3:21-cv-17581         THE MILLER FIRM, LLC
RICHARD, MARILYN           NJ - USDC for the District of New Jersey   3:17-cv-13535         THE MILLER FIRM, LLC
RICHARD, PAULA             NJ - USDC for the District of New Jersey   3:18-cv-04729         THE MILLER FIRM, LLC
RICHARDI, SHIRLEY          NJ - USDC for the District of New Jersey   3:19-cv-00315         THE MILLER FIRM, LLC
RICHTER, LANETTE           NJ - USDC for the District of New Jersey   3:21-cv-09592         THE MILLER FIRM, LLC
RICKER, CHERYL             NJ - USDC for the District of New Jersey   3:19-cv-01848         THE MILLER FIRM, LLC
RIDDEL, LISA               NJ - USDC for the District of New Jersey   3:17-cv-10917         THE MILLER FIRM, LLC
RIOS, RACHEL               NJ - USDC for the District of New Jersey   3:21-cv-04356         THE MILLER FIRM, LLC
RIOS, ROSEMARY             NJ - USDC for the District of New Jersey   3:17-cv-11580         THE MILLER FIRM, LLC
RISSLER, SONYA             NJ - USDC for the District of New Jersey   3:17-cv-04795         THE MILLER FIRM, LLC
RISTAU, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-11322         THE MILLER FIRM, LLC
ROACH, MOLLI               NJ - USDC for the District of New Jersey   3:20-cv-16524         THE MILLER FIRM, LLC
ROANE, VONNE               NJ - USDC for the District of New Jersey   3:21-cv-16352         THE MILLER FIRM, LLC
ROBERTS, SUE               NJ - USDC for the District of New Jersey   3:18-cv-17169         THE MILLER FIRM, LLC




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          Claimant Name                            State Filed                      Docket Number                 Plaintiff Counsel
ROBERTS, TAMARA                    NJ - USDC for the District of New Jersey   3:21-cv-04706         THE MILLER FIRM, LLC
ROBERTSON, ANITA                   NJ - USDC for the District of New Jersey   3:21-cv-04719         THE MILLER FIRM, LLC
ROBINSON, LAKISHA                  NJ - USDC for the District of New Jersey   3:21-cv-09619         THE MILLER FIRM, LLC
ROBINSON, MELISSA                  NJ - USDC for the District of New Jersey   3:21-cv-06197         THE MILLER FIRM, LLC
RODEN, ARDELL                      NJ - USDC for the District of New Jersey   3:18-cv-16976         THE MILLER FIRM, LLC
RODI, THERESA                      NJ - Superior Court - Atlantic County      ATL-L-213-18          THE MILLER FIRM, LLC
RODRIGUEZ, ANYSSA                  NJ - USDC for the District of New Jersey   3:21-cv-16623         THE MILLER FIRM, LLC
RODRIGUEZ, KATHLEEN                NJ - USDC for the District of New Jersey   3:17-cv-10789         THE MILLER FIRM, LLC
RODRIGUEZ, ORTENSIA                NJ - USDC for the District of New Jersey   3:21-cv-01841         THE MILLER FIRM, LLC
ROE, MINNIE                        NJ - USDC for the District of New Jersey   3:17-cv-10720         THE MILLER FIRM, LLC
ROGERS, JOHNNIE                    NJ - USDC for the District of New Jersey   3:17-cv-12386         THE MILLER FIRM, LLC
ROGERS, SHIRLEY                    NJ - USDC for the District of New Jersey   3:21-cv-07923         THE MILLER FIRM, LLC
ROLLER, DAWN                       NJ - USDC for the District of New Jersey   3:17-cv-07582         THE MILLER FIRM, LLC
ROSE, VALERIE                      NJ - USDC for the District of New Jersey   3:18-cv-14496         THE MILLER FIRM, LLC
ROSEMAN, LYN                       CA - Superior Court - Santa Clara County   16-cv-295-80v         THE MILLER FIRM, LLC
ROSS, MARILYN                      NJ - USDC for the District of New Jersey   3:17-cv-12769         THE MILLER FIRM, LLC
ROSS, NICOLE                       NJ - USDC for the District of New Jersey   3:21-cv-16264         THE MILLER FIRM, LLC
ROY, SHARON                        NJ - USDC for the District of New Jersey   3:17-cv-08398         THE MILLER FIRM, LLC
RUIZ, CYNTHIA                      NJ - USDC for the District of New Jersey   3:17-cv-07584         THE MILLER FIRM, LLC
RUMBLES, CAROL                     NJ - USDC for the District of New Jersey   3:18-cv-17681         THE MILLER FIRM, LLC
RUSSELL, BARBARA                   NJ - USDC for the District of New Jersey   3:20-cv-17856         THE MILLER FIRM, LLC
RYAN, BRENDA                       NJ - USDC for the District of New Jersey   3:19-cv-01344         THE MILLER FIRM, LLC
SAHIN, NAZLI                       NJ - USDC for the District of New Jersey   3:18-cv-17267         THE MILLER FIRM, LLC
SAIA, PETER                        NJ - USDC for the District of New Jersey   3:18-cv-06354         THE MILLER FIRM, LLC
SALFEN, JONDA                      NJ - USDC for the District of New Jersey   3:19-cv-20118         THE MILLER FIRM, LLC
SALVATORE, MARY                    NJ - USDC for the District of New Jersey   3:17-cv-13714         THE MILLER FIRM, LLC
SANCHEZ, CARMEN                    NJ - USDC for the District of New Jersey   3:21-cv-03543         THE MILLER FIRM, LLC
SANDIFER, KATHERINE                NJ - USDC for the District of New Jersey   3:17-cv-10708         THE MILLER FIRM, LLC
SANTOS, MONINA                     NJ - USDC for the District of New Jersey   3:17-cv-13481         THE MILLER FIRM, LLC
SAWYER, JANIE                      NJ - USDC for the District of New Jersey   3:18-cv-09493         THE MILLER FIRM, LLC
SCHAEFER, LAURA                    NJ - USDC for the District of New Jersey   3:19-cv-08998         THE MILLER FIRM, LLC
SCHEUREN, MARGERY                  NJ - USDC for the District of New Jersey   3:19-cv-20596         THE MILLER FIRM, LLC
SCHMIDT, DELORIS                   NJ - USDC for the District of New Jersey   3:17-cv-05558         THE MILLER FIRM, LLC
SCHUNCKE, DIANA                    NJ - USDC for the District of New Jersey   3:21-cv-12829         THE MILLER FIRM, LLC
SCHWARZ, LISA                      CA - Superior Court - Santa Clara County   18CV331857            THE MILLER FIRM, LLC
SCHWEIGER, EVELYN                  NJ - USDC for the District of New Jersey   3:19-cv-20831         THE MILLER FIRM, LLC
SCOTT, DOROTHY                     NJ - USDC for the District of New Jersey   3:19-cv-20660         THE MILLER FIRM, LLC
SCOTT, JULIA                       NJ - USDC for the District of New Jersey   3:20-cv-17710         THE MILLER FIRM, LLC
SCOTT, NORA                        NJ - USDC for the District of New Jersey   3:21-cv-09935         THE MILLER FIRM, LLC
SEARS, SHARON                      NJ - USDC for the District of New Jersey   3:19-cv-01339         THE MILLER FIRM, LLC
SEARS-VANDERWERKEN, JENNIFER NJ - USDC for the District of New Jersey         3:19-cv-01332         THE MILLER FIRM, LLC
SEIFERT, COLLEEN                   NJ - USDC for the District of New Jersey   3:19-cv-09041         THE MILLER FIRM, LLC
SEIPLE, KRISTA                     NJ - USDC for the District of New Jersey   3:18-cv-01263         THE MILLER FIRM, LLC
SELBY, NORA                        NJ - USDC for the District of New Jersey   3:17-cv-13638         THE MILLER FIRM, LLC
SELBY, WANDA                       NJ - USDC for the District of New Jersey   3:17-cv-11744         THE MILLER FIRM, LLC
SEWARD, ALMA                       NJ - USDC for the District of New Jersey   3:17-cv-11686         THE MILLER FIRM, LLC
SHAMBURGER, RHONDA                 NJ - USDC for the District of New Jersey   3:17-cv-13124         THE MILLER FIRM, LLC
SHEFFEY, MEIKO                     NJ - USDC for the District of New Jersey   3:21-cv-16287         THE MILLER FIRM, LLC
SHELL, LAUREN                      NJ - USDC for the District of New Jersey   3:20-cv-15837         THE MILLER FIRM, LLC
SHELLY, SUZANNE                    NJ - USDC for the District of New Jersey   3:19-cv-15784         THE MILLER FIRM, LLC
SHELTON, GYPSIE                    NJ - USDC for the District of New Jersey   3:18-cv-14480         THE MILLER FIRM, LLC
SHIPLEY, DORENDA                   NJ - USDC for the District of New Jersey   3:18-cv-08709         THE MILLER FIRM, LLC
SHOOK, SHARON                      NJ - USDC for the District of New Jersey   3:18-cv-14501         THE MILLER FIRM, LLC
SHORTRIDGE, LISA                   NJ - USDC for the District of New Jersey   3:18-cv-04737         THE MILLER FIRM, LLC
SHOVAN, DIANE                      NJ - USDC for the District of New Jersey   3:17-cv-10724         THE MILLER FIRM, LLC
SHULER, VICKI                      NJ - USDC for the District of New Jersey   3:17-cv-12819         THE MILLER FIRM, LLC
SHUPE, CAROLE                      NJ - USDC for the District of New Jersey   3:19-cv-10526         THE MILLER FIRM, LLC
SIEMON, KATHY                      NJ - USDC for the District of New Jersey   3:19-cv-09004         THE MILLER FIRM, LLC
SIERRA, GLORIA                     NJ - USDC for the District of New Jersey   3:17-cv-12898         THE MILLER FIRM, LLC
SIGET, DEBORAH                     NJ - USDC for the District of New Jersey   3:17-cv-11903         THE MILLER FIRM, LLC
SILER, SYLVIA                      NJ - USDC for the District of New Jersey   3:18-cv-08051         THE MILLER FIRM, LLC
                                   PA - Philadelphia County Court of Common
SILER, TAMMY                                                                  210901303             THE MILLER FIRM, LLC
                                   Pleas
SILK, CATHERINE                    NJ - Superior Court - Atlantic County      ATL-L-2594-17         THE MILLER FIRM, LLC
SIMMONS, MARTHA                    NJ - USDC for the District of New Jersey   3:20-cv-03601         THE MILLER FIRM, LLC
SIMMONS-KENDALE, LYNORA            NJ - USDC for the District of New Jersey   3:19-cv-00313         THE MILLER FIRM, LLC
SIMMS, PAMULA                      NJ - USDC for the District of New Jersey   3:18-cv-16963         THE MILLER FIRM, LLC
SIMPSON, JANET                     CA - Superior Court - Santa Clara County   18CV328942            THE MILLER FIRM, LLC
SIMPSON, NARDA                     NJ - USDC for the District of New Jersey   3:17-cv-11876         THE MILLER FIRM, LLC
SINCOFF, BARBARA                   NJ - USDC for the District of New Jersey   3:18-cv-14497         THE MILLER FIRM, LLC
SINGLE, MICHELE                    NJ - USDC for the District of New Jersey   3:19-cv-15781         THE MILLER FIRM, LLC
SIRES, VIRGINIA                    NJ - USDC for the District of New Jersey   3:18-cv-17460         THE MILLER FIRM, LLC
SKENANDORE, CHRISTINE              NJ - USDC for the District of New Jersey   3:17-cv-10775         THE MILLER FIRM, LLC
SLATER, SUE                        NJ - USDC for the District of New Jersey   3:17-cv-11500         THE MILLER FIRM, LLC
SLAYTON, ROSEMARY                  NJ - USDC for the District of New Jersey   3:17-cv-13070         THE MILLER FIRM, LLC
SMALL, MICHELLE                    NJ - USDC for the District of New Jersey   3:18-cv-02775         THE MILLER FIRM, LLC
SMART, MELODY                      NJ - USDC for the District of New Jersey   3:17-cv-13128         THE MILLER FIRM, LLC
SMITH, AMANDA                      NJ - USDC for the District of New Jersey   3:21-cv-07925         THE MILLER FIRM, LLC
SMITH, ASHLEY                      NJ - USDC for the District of New Jersey   3:17-cv-13485         THE MILLER FIRM, LLC




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          Claimant Name                    State Filed                     Docket Number                 Plaintiff Counsel
SMITH, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-13541         THE MILLER FIRM, LLC
SMITH, DOROTHY            NJ - USDC for the District of New Jersey   3:17-cv-10938         THE MILLER FIRM, LLC
SMITH, DOROTHY            NJ - USDC for the District of New Jersey   3:20-cv-05541         THE MILLER FIRM, LLC
SMITH, JANET              NJ - USDC for the District of New Jersey   3:18-cv-16986         THE MILLER FIRM, LLC
SMITH, JESSIE             NJ - USDC for the District of New Jersey   3:21-cv-04926         THE MILLER FIRM, LLC
SMITH, KATHY              NJ - USDC for the District of New Jersey   3:21-cv-04512         THE MILLER FIRM, LLC
SMITH, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-16477         THE MILLER FIRM, LLC
SMITH, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-16621         THE MILLER FIRM, LLC
SMITH, RUTH               NJ - USDC for the District of New Jersey   3:17-cv-13007         THE MILLER FIRM, LLC
SMITH, TARA               NJ - USDC for the District of New Jersey   3:18-cv-17442         THE MILLER FIRM, LLC
SMITH, TONDELIA           NJ - USDC for the District of New Jersey   3:18-cv-02773         THE MILLER FIRM, LLC
SMITH-MCCLURE, DOROTHY    NJ - USDC for the District of New Jersey   3:17-cv-10894         THE MILLER FIRM, LLC
SNELL, JANETTA            NJ - USDC for the District of New Jersey   3:18-cv-01130         THE MILLER FIRM, LLC
SNIDER, DOROTHY           NJ - USDC for the District of New Jersey   3:17-cv-12918         THE MILLER FIRM, LLC
SNOW, TONI                NJ - USDC for the District of New Jersey   3:17-cv-13251         THE MILLER FIRM, LLC
                          PA - Philadelphia County Court of Common
SNYDER, PHYLLIS                                                      210901327             THE MILLER FIRM, LLC
                          Pleas
SOLBRIG, JUSTINE          NJ - USDC for the District of New Jersey   3:18-cv-08358         THE MILLER FIRM, LLC
SORANO, CATHERINE         NJ - USDC for the District of New Jersey   3:18-cv-17167         THE MILLER FIRM, LLC
SORRELL, KATHLEEN         NJ - USDC for the District of New Jersey   3:19-cv-09034         THE MILLER FIRM, LLC
SOTO, REINA               NJ - USDC for the District of New Jersey   3:17-cv-13534         THE MILLER FIRM, LLC
SOUSA, ELAINE             CA - Superior Court - Santa Clara County   2016-011049           THE MILLER FIRM, LLC
SOUTHERLAND, JULIE        NJ - USDC for the District of New Jersey   3:20-cv-17346         THE MILLER FIRM, LLC
SPADONI, JOAN             NJ - USDC for the District of New Jersey   3:17-cv-13633         THE MILLER FIRM, LLC
SPINKS, VELDA             NJ - USDC for the District of New Jersey   3:19-cv-01326         THE MILLER FIRM, LLC
SPRINGER, SARAH           NJ - USDC for the District of New Jersey   3:20-cv-16195         THE MILLER FIRM, LLC
ST. CHARLES, ANNA         NJ - USDC for the District of New Jersey   3:18-cv-17101         THE MILLER FIRM, LLC
STACY, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-11326         THE MILLER FIRM, LLC
STACY, SHERRIE            NJ - USDC for the District of New Jersey   3:18-cv-02402         THE MILLER FIRM, LLC
STANLEY, ROBYN            NJ - USDC for the District of New Jersey   3:17-cv-12758         THE MILLER FIRM, LLC
STARK, LILLIAN            NJ - USDC for the District of New Jersey   3:17-cv-11685         THE MILLER FIRM, LLC
STARR, IZETTA             DE - Superior Court - New Castle County    N17C-05-295           THE MILLER FIRM, LLC
STELLNER, MARLENE         NJ - USDC for the District of New Jersey   3:19-cv-20556         THE MILLER FIRM, LLC
STENHOUSE, CAROL          NJ - USDC for the District of New Jersey   3:18-cv-17464         THE MILLER FIRM, LLC
STEPHENSON, LOIS          NJ - USDC for the District of New Jersey   3:17-cv-11549         THE MILLER FIRM, LLC
STERBA, WANDA             NJ - USDC for the District of New Jersey   3:17-cv-12441         THE MILLER FIRM, LLC
STEVENS, TABATHA          NJ - USDC for the District of New Jersey   3:18-cv-04733         THE MILLER FIRM, LLC
STEVENSON, MARY JEAN      NJ - USDC for the District of New Jersey   3:18-cv-16823         THE MILLER FIRM, LLC
STEWART, DARLENE          NJ - USDC for the District of New Jersey   3:17-cv-04708         THE MILLER FIRM, LLC
STINSON, NIKKI            NJ - USDC for the District of New Jersey   3:17-cv-12921         THE MILLER FIRM, LLC
STOERMER, DORIS           NJ - USDC for the District of New Jersey   3:18-cv-04759         THE MILLER FIRM, LLC
STONER, EUGENIA           NJ - USDC for the District of New Jersey   3:18-cv-04719         THE MILLER FIRM, LLC
STOPINSKI, DIANA          NJ - USDC for the District of New Jersey   3:18-cv-01160         THE MILLER FIRM, LLC
                          PA - Philadelphia County Court of Common
STORM, CATHY                                                         171203367             THE MILLER FIRM, LLC
                          Pleas
STRADFORD, LASHAE         NJ - USDC for the District of New Jersey   3:17-cv-13610         THE MILLER FIRM, LLC
STREET, ELIZABETH         NJ - USDC for the District of New Jersey   3:21-cv-10229         THE MILLER FIRM, LLC
STUCKER, DEBORAH          NJ - USDC for the District of New Jersey   3:18-cv-09483         THE MILLER FIRM, LLC
STUDEBAKER, MARGARET      NJ - USDC for the District of New Jersey   3:17-cv-13255         THE MILLER FIRM, LLC
STURGILL, NANCY           NJ - USDC for the District of New Jersey   3:19-cv-01349         THE MILLER FIRM, LLC
SULLIVAN, BARBARA         NJ - USDC for the District of New Jersey   3:17-cv-11743         THE MILLER FIRM, LLC
SULLIVAN, LAURA           NJ - USDC for the District of New Jersey   3:17-cv-13603         THE MILLER FIRM, LLC
SULLIVAN, LENORE          CA - Superior Court - Los Angeles County   18CV340055            THE MILLER FIRM, LLC
SULLIVAN, LENORE          NJ - USDC for the District of New Jersey   3:18-cv-17697         THE MILLER FIRM, LLC
SUMMERVILLE, BARBARA      NJ - USDC for the District of New Jersey   3:17-cv-11878         THE MILLER FIRM, LLC
SWAIN, ADA                NJ - USDC for the District of New Jersey   3:21-cv-16226         THE MILLER FIRM, LLC
SWOPE, MELINDA            CA - Superior Court - Santa Clara County   18CV328936            THE MILLER FIRM, LLC
SZITAS, VIRGINIA          NJ - USDC for the District of New Jersey   3:17-cv-13561         THE MILLER FIRM, LLC
SZUMERA, KELLY            NJ - USDC for the District of New Jersey   3:18-cv-01135         THE MILLER FIRM, LLC
TACKITT, JULIA            CA - Superior Court - Los Angeles County   18CV337011            THE MILLER FIRM, LLC
TAFT-HICKS, TERRI         NJ - USDC for the District of New Jersey   3:18-cv-09474         THE MILLER FIRM, LLC
TAPIA, MILDRED            NJ - USDC for the District of New Jersey   3:21-cv-16280         THE MILLER FIRM, LLC
TAYLOR, CARLA             NJ - USDC for the District of New Jersey   3:19-cv-20197         THE MILLER FIRM, LLC
TAYLOR, JANET             NJ - USDC for the District of New Jersey   3:21-cv-16290         THE MILLER FIRM, LLC
TAYLOR, JODY              NJ - USDC for the District of New Jersey   3:17-cv-11968         THE MILLER FIRM, LLC
TAYLOR, MARIE             CA - Superior Court - Santa Clara County   17CV321212            THE MILLER FIRM, LLC
TAYLOR, VIRGINIA          NJ - USDC for the District of New Jersey   3:17-cv-12922         THE MILLER FIRM, LLC
TAYLOR-THOMAS, REBECCA    CA - Superior Court - Santa Clara County   18CV325812            THE MILLER FIRM, LLC
TENINTY, KATHLEEN         CA - Superior Court - Santa Clara County   16CV298395            THE MILLER FIRM, LLC
TERFLINGER, SHERRY        NJ - USDC for the District of New Jersey   3:19-cv-20718         THE MILLER FIRM, LLC
TERRY, SABRENA            NJ - USDC for the District of New Jersey   3:21-cv-04210         THE MILLER FIRM, LLC
TEUTON, CAROLINE          NJ - USDC for the District of New Jersey   3:19-cv-20472         THE MILLER FIRM, LLC
THIELEN, TERESA           NJ - USDC for the District of New Jersey   3:18-cv-16683         THE MILLER FIRM, LLC
THIGPEN, REGENA           NJ - USDC for the District of New Jersey   3:18-cv-08530         THE MILLER FIRM, LLC
THOMAS, KIMBERLY          NJ - USDC for the District of New Jersey   3:21-cv-10119         THE MILLER FIRM, LLC
THOMAS, ROZENA            NJ - USDC for the District of New Jersey   3:19-cv-01027         THE MILLER FIRM, LLC
THOMAS, TANYA             NJ - USDC for the District of New Jersey   3:17-cv-12923         THE MILLER FIRM, LLC
THOMPSON, CARLA           NJ - USDC for the District of New Jersey   3:17-cv-11473         THE MILLER FIRM, LLC
THOMPSON, PAMELA          NJ - USDC for the District of New Jersey   3:21-cv-06191         THE MILLER FIRM, LLC
THOMPSON, PARTHENA        NJ - USDC for the District of New Jersey   3:20-cv-03673         THE MILLER FIRM, LLC




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          Claimant Name                      State Filed                      Docket Number                 Plaintiff Counsel
THOMPSON, RUTH               NJ - USDC for the District of New Jersey   3:18-cv-16979         THE MILLER FIRM, LLC
THOMPSON, SHIRLEY            NJ - USDC for the District of New Jersey   3:18-cv-02400         THE MILLER FIRM, LLC
THORNOCK, SHIRLEY            NJ - USDC for the District of New Jersey   3:17-cv-13014         THE MILLER FIRM, LLC
TICEAHKIE, JANICE            NJ - USDC for the District of New Jersey   3:17-cv-11581         THE MILLER FIRM, LLC
TIMMINS, HELEN               NJ - USDC for the District of New Jersey   3:18-cv-16868         THE MILLER FIRM, LLC
TIMMONS, DAWN                NJ - USDC for the District of New Jersey   3:17-cv-13540         THE MILLER FIRM, LLC
TIMMONS, SARAH               NJ - USDC for the District of New Jersey   3:20-cv-16301         THE MILLER FIRM, LLC
TINGEL, MARCIA               NJ - USDC for the District of New Jersey   3:17-cv-13538         THE MILLER FIRM, LLC
TINKHAM, KAREN               NJ - USDC for the District of New Jersey   3:18-cv-09485         THE MILLER FIRM, LLC
TINSLEY, DONNA               NJ - USDC for the District of New Jersey   3:19-cv-00316         THE MILLER FIRM, LLC
TOMS, MADELINE               NJ - USDC for the District of New Jersey   3:17-cv-11391         THE MILLER FIRM, LLC
TOWNSEND, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-16598         THE MILLER FIRM, LLC
TRACY, JASMINE               NJ - USDC for the District of New Jersey   3:17-cv-11966         THE MILLER FIRM, LLC
TRAMMEL, RUTH                NJ - USDC for the District of New Jersey   3:17-cv-04961         THE MILLER FIRM, LLC
TRAVIS, CHERYLE              NJ - USDC for the District of New Jersey   3:18-cv-17683         THE MILLER FIRM, LLC
TREMBATH, CAROLINE           NJ - USDC for the District of New Jersey   3:21-cv-07924         THE MILLER FIRM, LLC
TROTTIER, NANCY              NJ - USDC for the District of New Jersey   3:18-cv-12109         THE MILLER FIRM, LLC
TRULL, NANCY                 NJ - USDC for the District of New Jersey   3:18-cv-08707         THE MILLER FIRM, LLC
TUCKER, PENNY                NJ - USDC for the District of New Jersey   3:17-cv-13247         THE MILLER FIRM, LLC
TURNER, DOMINIQUE            NJ - USDC for the District of New Jersey   3:19-cv-18195         THE MILLER FIRM, LLC
TURNQUIST, DIXIE             NJ - USDC for the District of New Jersey   3:17-cv-11390         THE MILLER FIRM, LLC
TYRE, GAIL                   NJ - USDC for the District of New Jersey   3:17-cv-13030         THE MILLER FIRM, LLC
TYSON, LAUREN                NJ - USDC for the District of New Jersey   3:17-cv-10731         THE MILLER FIRM, LLC
ULMAN, BRIDGET               NJ - USDC for the District of New Jersey   3:17-cv-11631         THE MILLER FIRM, LLC
ULMER, MARY                  NJ - USDC for the District of New Jersey   3:18-cv-12123         THE MILLER FIRM, LLC
UMBALIN, ALICE               NJ - USDC for the District of New Jersey   3:19-cv-07805         THE MILLER FIRM, LLC
URRUTIA, LETICIA             CA - Superior Court - Santa Clara County   18CV328944            THE MILLER FIRM, LLC
UTT, WANDA                   NJ - USDC for the District of New Jersey   3:20-cv-16598         THE MILLER FIRM, LLC
VALE, MARIA                  NJ - USDC for the District of New Jersey   3:20-cv-14279         THE MILLER FIRM, LLC
VALENTIN, LEAZETTE           NJ - USDC for the District of New Jersey   3:17-cv-10801         THE MILLER FIRM, LLC
VAN ALLEN, LYNN              NJ - Superior Court - Atlantic County      ATL-L-2696-17         THE MILLER FIRM, LLC
VANMETER, LORIE              NJ - USDC for the District of New Jersey   3:18-cv-01476         THE MILLER FIRM, LLC
VANN, VERNICE                NJ - USDC for the District of New Jersey   3:21-cv-03804         THE MILLER FIRM, LLC
VANPOOL, CORIN               NJ - USDC for the District of New Jersey   3:21-cv-12812         THE MILLER FIRM, LLC
VARGAS, LILIA                CA - Superior Court - Santa Clara County   17CV321214            THE MILLER FIRM, LLC
VARISCO, KATRINA             NJ - USDC for the District of New Jersey   3:19-cv-01029         THE MILLER FIRM, LLC
VARNER, CAROLE               NJ - USDC for the District of New Jersey   3:18-cv-11328         THE MILLER FIRM, LLC
VASQUEZ, ELIZABETH           NJ - USDC for the District of New Jersey   3:19-cv-01031         THE MILLER FIRM, LLC
VAUGHN, VICKIE               NJ - USDC for the District of New Jersey   3:18-cv-16815         THE MILLER FIRM, LLC
VERDUCCI, DARLENE            CA - Superior Court - Santa Clara County   17CV321217            THE MILLER FIRM, LLC
VERMES, AGNES                NJ - USDC for the District of New Jersey   3:17-cv-13646         THE MILLER FIRM, LLC
VESA, ROSEMARY               NJ - USDC for the District of New Jersey   3:17-cv-12760         THE MILLER FIRM, LLC
VILLARREAL, AMALIA           NJ - USDC for the District of New Jersey   3:18-cv-16312         THE MILLER FIRM, LLC
VIOLA, JANET                 NJ - USDC for the District of New Jersey   3:18-cv-01539         THE MILLER FIRM, LLC
VON HAWKER, BRENDA SCHULTZ   NJ - USDC for the District of New Jersey   3:20-cv-11981         THE MILLER FIRM, LLC
WAITE, AGNES                 NJ - USDC for the District of New Jersey   3:17-cv-11747         THE MILLER FIRM, LLC
WALKER, BARBARA              NJ - USDC for the District of New Jersey   3:17-cv-10858         THE MILLER FIRM, LLC
WALKER, VIKTORIA             NJ - USDC for the District of New Jersey   3:21-cv-16608         THE MILLER FIRM, LLC
WAMSLEY, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-07334         THE MILLER FIRM, LLC
WARD, DAISY                  NJ - USDC for the District of New Jersey   3:17-cv-12978         THE MILLER FIRM, LLC
WARD, ESTHER                 NJ - USDC for the District of New Jersey   3:18-cv-16937         THE MILLER FIRM, LLC
WARREN, FRANCES              CA - Superior Court - Santa Clara County   26CV296624            THE MILLER FIRM, LLC
WARREN, PAMELA               NJ - USDC for the District of New Jersey   3:18-cv-11242         THE MILLER FIRM, LLC
WARREN, SUSAN                NJ - USDC for the District of New Jersey   3:20-cv-16197         THE MILLER FIRM, LLC
WASHINGTON, MILDRED          NJ - USDC for the District of New Jersey   3:18-cv-16838         THE MILLER FIRM, LLC
WATKINS, KATHLEEN            NJ - USDC for the District of New Jersey   3:17-cv-13631         THE MILLER FIRM, LLC
WATSON, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-13743         THE MILLER FIRM, LLC
WATSON, JACQUELINE           NJ - USDC for the District of New Jersey   3:18-cv-17141         THE MILLER FIRM, LLC
WATSON, JULIE                NJ - USDC for the District of New Jersey   3:19-cv-01035         THE MILLER FIRM, LLC
WATTS, PAULA                 NJ - USDC for the District of New Jersey   3:21-cv-04757         THE MILLER FIRM, LLC
WEAKLAND, DEBORAH            NJ - USDC for the District of New Jersey   3:17-cv-13022         THE MILLER FIRM, LLC
WEBER, DOROTHY               NJ - USDC for the District of New Jersey   3:17-cv-11886         THE MILLER FIRM, LLC
WEBER, MARY                  NJ - USDC for the District of New Jersey   3:17-cv-12444         THE MILLER FIRM, LLC
WEDEL, KELLY                 NJ - USDC for the District of New Jersey   3:17-cv-13006         THE MILLER FIRM, LLC
WELCH, COREYONNA             NJ - USDC for the District of New Jersey   3:17-cv-13528         THE MILLER FIRM, LLC
WERY, MARY                   NJ - USDC for the District of New Jersey   3:19-cv-15786         THE MILLER FIRM, LLC
WESTBROOKS, DELORES          NJ - USDC for the District of New Jersey   3:21-cv-03063         THE MILLER FIRM, LLC
WESTLING, JANET              NJ - USDC for the District of New Jersey   3:17-cv-13478         THE MILLER FIRM, LLC
WHATMOUGH, LURA              NJ - USDC for the District of New Jersey   3:19-cv-09007         THE MILLER FIRM, LLC
WHITE, DEBORAH               NJ - USDC for the District of New Jersey   3:17-cv-12925         THE MILLER FIRM, LLC
WHITE, MANDI                 NJ - USDC for the District of New Jersey   3:21-cv-04774         THE MILLER FIRM, LLC
WHITE, MELISSA               NJ - USDC for the District of New Jersey   3:21-cv-15541         THE MILLER FIRM, LLC
WHITE, NADIA                 NJ - USDC for the District of New Jersey   3:18-cv-16842         THE MILLER FIRM, LLC
WHITFIELD, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-04755         THE MILLER FIRM, LLC
WIGGINS, JENNIFER            NJ - USDC for the District of New Jersey   3:18-cv-08370         THE MILLER FIRM, LLC
WIGGINS, NECIA               NJ - USDC for the District of New Jersey   3:17-cv-13623         THE MILLER FIRM, LLC
WILCOX, BETTY                NJ - USDC for the District of New Jersey   3:18-cv-08533         THE MILLER FIRM, LLC
WILKINSON, ARLENE            NJ - USDC for the District of New Jersey   3:18-cv-16930         THE MILLER FIRM, LLC
WILLBANKS, TINA              NJ - USDC for the District of New Jersey   3:18-cv-12111         THE MILLER FIRM, LLC
WILLIAMS, DANNIELL           NJ - USDC for the District of New Jersey   3:21-cv-16358         THE MILLER FIRM, LLC




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          Claimant Name                        State Filed                      Docket Number                 Plaintiff Counsel
WILLIAMS, MARTA                NJ - USDC for the District of New Jersey   3:20-cv-16681         THE MILLER FIRM, LLC
WILLIAMSON, CRISTAL            NJ - USDC for the District of New Jersey   3:18-cv-09494         THE MILLER FIRM, LLC
WILLINGHAM, CEOLA              NJ - USDC for the District of New Jersey   3:17-cv-11973         THE MILLER FIRM, LLC
WILSON, BRENDA                 NJ - USDC for the District of New Jersey   3:17-cv-08011         THE MILLER FIRM, LLC
WILSON, SHELIA                 NJ - USDC for the District of New Jersey   3:18-cv-17271         THE MILLER FIRM, LLC
WINES, MARY                    NJ - USDC for the District of New Jersey   3:17-cv-13629         THE MILLER FIRM, LLC
WINFREE, SCARLETT              NJ - USDC for the District of New Jersey   3:21-cv-02220         THE MILLER FIRM, LLC
WITHERSPOON, MARY              NJ - USDC for the District of New Jersey   3:17-cv-11891         THE MILLER FIRM, LLC
WOLFE, EVA                     NJ - USDC for the District of New Jersey   3:17-cv-13265         THE MILLER FIRM, LLC
WONG-FARENBAUGH, LINDA         NJ - USDC for the District of New Jersey   3:17-cv-11748         THE MILLER FIRM, LLC
WOOD, SHARLENE                 NJ - USDC for the District of New Jersey   3:21-cv-00463         THE MILLER FIRM, LLC
WOOD, TRACY                    NJ - USDC for the District of New Jersey   3:18-cv-17445         THE MILLER FIRM, LLC
WOODS, PATTY                   NJ - USDC for the District of New Jersey   3:18-cv-08717         THE MILLER FIRM, LLC
WOODWORTH, SHULA               NJ - USDC for the District of New Jersey   3:17-cv-13527         THE MILLER FIRM, LLC
WORSFOLD, SHIRLEY              NJ - USDC for the District of New Jersey   3:17-cv-13625         THE MILLER FIRM, LLC
WRIGHT, MARY                   CA - Superior Court - Santa Clara County   18CV325815            THE MILLER FIRM, LLC
WRIGHT, SHERRI                 DE - Superior Court - New Castle County    N17C-05-337           THE MILLER FIRM, LLC
WYMAN, JENNIFER                NJ - USDC for the District of New Jersey   3:18-cv-08338         THE MILLER FIRM, LLC
YARBER, ANNE                   NJ - USDC for the District of New Jersey   3:18-cv-02398         THE MILLER FIRM, LLC
YATES, AGNES                   NJ - USDC for the District of New Jersey   3:17-cv-05536         THE MILLER FIRM, LLC
YONGEN, LEONA                  NJ - USDC for the District of New Jersey   3:19-cv-20659         THE MILLER FIRM, LLC
YORK, DONNA                    NJ - USDC for the District of New Jersey   3:21-cv-13715         THE MILLER FIRM, LLC
YOUNG, BEVERLY                 NJ - USDC for the District of New Jersey   3:18-cv-17385         THE MILLER FIRM, LLC
YOUNG, MARION                  NJ - USDC for the District of New Jersey   3:18-cv-17467         THE MILLER FIRM, LLC
YOUNG, SONYA                   NJ - USDC for the District of New Jersey   3:17-cv-10743         THE MILLER FIRM, LLC
YOUNG, WANDA                   NJ - USDC for the District of New Jersey   3:17-cv-13230         THE MILLER FIRM, LLC
YOUNGBLOOD, TERESA             CA - Superior Court - Santa Clara County   17CV321226            THE MILLER FIRM, LLC
YOWS, MARY                     NJ - USDC for the District of New Jersey   3:17-cv-12130         THE MILLER FIRM, LLC
ZACCARIA, MARY                 NJ - USDC for the District of New Jersey   3:18-cv-02397         THE MILLER FIRM, LLC
ZETTERSTROM, ROBIN             NJ - USDC for the District of New Jersey   3:17-cv-10877         THE MILLER FIRM, LLC
ZIEMER, MELISSA                NJ - USDC for the District of New Jersey   3:19-cv-01037         THE MILLER FIRM, LLC
ZILLMER, JEANNINE              NJ - USDC for the District of New Jersey   3:17-cv-12772         THE MILLER FIRM, LLC
ZWAYER, JENNIFER               NJ - USDC for the District of New Jersey   3:19-cv-01025         THE MILLER FIRM, LLC
MCLAURIN, EXIE                 NJ - USDC for the District of New Jersey   3:18-cv-05532         THE MITCHELL FIRM, PLLC
FALTUS, TIMOTHY EST OF SHARI
                               IL - Circuit Court - St. Clair County      17-L-0751             THE ONDER LAW FIRM
FALTUS
ANDERSON, HOLLY                NJ - USDC for the District of New Jersey   3:16-cv-08749         THE PATE LAW FIRM
NIXON, SHELBY                  NJ - USDC for the District of New Jersey   3:18-cv-07992         THE PENTON LAW FIRM
PIERCE, MARION                 NJ - USDC for the District of New Jersey   3:17-cv-03750         THE PENTON LAW FIRM
GILLETTE, PAULA                NJ - USDC for the District of New Jersey   3:19-cv-01165         THE POINTE
MAXWELL, BRENDA                NJ - USDC for the District of New Jersey   3:17-cv-10912         THE POINTE
QUAGLIESE, VIRGIE              NJ - USDC for the District of New Jersey   3:20-cv-05170         THE POINTE
BEDFORD, WANDA                 NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
BENHAM-SINGH, DENISE           NJ - USDC for the District of New Jersey   3:19-cv-00439         THE POTTS LAW FIRM, LLP
BETZ, MICHELLE                 NJ - USDC for the District of New Jersey   3:19-cv-00454         THE POTTS LAW FIRM, LLP
BOBO, GEORGIA                  NJ - USDC for the District of New Jersey   3:19-cv-00509         THE POTTS LAW FIRM, LLP
BOURNE, REGINA                 NJ - USDC for the District of New Jersey   3:19-cv-00562         THE POTTS LAW FIRM, LLP
CABRERA, VIRGINIA              NJ - USDC for the District of New Jersey   3:19-cv-00609         THE POTTS LAW FIRM, LLP
CASTRO, KERIJANE               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
COLLINS, PATRICIA              NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
DAVIS, LORILEE                 NJ - USDC for the District of New Jersey   3:19-cv-00916         THE POTTS LAW FIRM, LLP
DELGADO, REBECCA               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
ENERA, PAULETTE                NJ - USDC for the District of New Jersey   3:19-cv-01121         THE POTTS LAW FIRM, LLP
FAHIMI, SOLMAZ                 NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
HARGROVE, JENNIFER             NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
HYDE, JOLENE                   NJ - USDC for the District of New Jersey   3:19-cv-01411         THE POTTS LAW FIRM, LLP
KOCH, GLENDA                   NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
MANN, WANDA                    NJ - USDC for the District of New Jersey   3:19-cv-06948         THE POTTS LAW FIRM, LLP
MCQUILLAN, MARY                NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
MICHAELS, CHRYSTASYA           NJ - USDC for the District of New Jersey   3:18-cv-16981         THE POTTS LAW FIRM, LLP
OBRIEN, WILMA                  NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
PAN, LILING                    NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
PAULSON, TERESA                NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
PIPER, ANN                     NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
RENNA, GENEVIEVE               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
SIMMONS, CARRIE                NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
STEWART, GENNETTE              NJ - USDC for the District of New Jersey   3:19-cv-05432         THE POTTS LAW FIRM, LLP
TORIBIO, LEILANI               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
URICK, DONNA                   NJ - USDC for the District of New Jersey   3:17-cv-00791         THE POTTS LAW FIRM, LLP
VAN VOORHIS, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-06893         THE POTTS LAW FIRM, LLP
AUSTIN, SUSAN                  NJ - USDC for the District of New Jersey   3:17-cv-02400         THE REARDON LAW FIRM, P.C.
KING, ELIZABETH                NJ - USDC for the District of New Jersey   3:18-cv-05545         THE REARDON LAW FIRM, P.C.
THOMPSON, KATHLEEN             NJ - USDC for the District of New Jersey   3:17-cv-03667         THE REARDON LAW FIRM, P.C.
KANE, ROBIN                    NJ - USDC for the District of New Jersey   3:17-cv-02494         THE RUTH LAW TEAM
MOREL, ELIZABETH               NJ - USDC for the District of New Jersey   3:17-cv-02532         THE RUTH LAW TEAM
ADAMS, PAULA                   NJ - USDC for the District of New Jersey   3:20-cv-18821         THE SEGAL LAW FIRM
AKERS, WANDA                   NJ - USDC for the District of New Jersey   3:21-cv-08415         THE SEGAL LAW FIRM
ALBERT, MARY                   NJ - USDC for the District of New Jersey   3:21-cv-00096         THE SEGAL LAW FIRM
ALDRIDGE, DEBORAH              NJ - USDC for the District of New Jersey   3:21-cv-17782         THE SEGAL LAW FIRM
ALEQUIN, CONNIE                NJ - USDC for the District of New Jersey   3:20-cv-13149         THE SEGAL LAW FIRM




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
ALLEMAN, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-08347         THE SEGAL LAW FIRM
ALLEN, SALLIE               NJ - USDC for the District of New Jersey   3:20-cv-12303         THE SEGAL LAW FIRM
ANDERSON, ADA               NJ - USDC for the District of New Jersey   3:21-cv-00002         THE SEGAL LAW FIRM
ANDERSON, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-14297         THE SEGAL LAW FIRM
ANDERSON, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-01688         THE SEGAL LAW FIRM
ANDES, PATRICIA             NJ - USDC for the District of New Jersey   3:21-cv-03704         THE SEGAL LAW FIRM
ANDREWS, ALEASE             NJ - USDC for the District of New Jersey   3:21-cv-03902         THE SEGAL LAW FIRM
ARTIS, BETTY                NJ - USDC for the District of New Jersey   3:20-cv-13900         THE SEGAL LAW FIRM
ASHFORD, OCIEOLA            NJ - USDC for the District of New Jersey   3:21-cv-00971         THE SEGAL LAW FIRM
AVARY, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-16798         THE SEGAL LAW FIRM
B, E                        NJ - USDC for the District of New Jersey   3:20-cv-15416         THE SEGAL LAW FIRM
BAKER, MELISSA              NJ - USDC for the District of New Jersey   3:21-cv-02471         THE SEGAL LAW FIRM
BALLARD, ANNA               NJ - USDC for the District of New Jersey   3:20-cv-09004         THE SEGAL LAW FIRM
BARTOLI, RONNA DE           NJ - USDC for the District of New Jersey   3:20-cv-14443         THE SEGAL LAW FIRM
BAUGHARD, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-00877         THE SEGAL LAW FIRM
BECTON, MADELINE            NJ - USDC for the District of New Jersey   3:20-cv-16862         THE SEGAL LAW FIRM
BELLIN, MARY                NJ - USDC for the District of New Jersey   3:20-cv-18702         THE SEGAL LAW FIRM
BLACK, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-12120         THE SEGAL LAW FIRM
BLEDSOE, KIMBERLY           NJ - USDC for the District of New Jersey   3:21-cv-02737         THE SEGAL LAW FIRM
BODDEN, IVON                NJ - USDC for the District of New Jersey   3:20-cv-15246         THE SEGAL LAW FIRM
BOGARD, TERESA              NJ - USDC for the District of New Jersey   3:20-cv-18620         THE SEGAL LAW FIRM
BOULTON, ANNIE              NJ - USDC for the District of New Jersey   3:21-cv-16820         THE SEGAL LAW FIRM
BOZEMAN, SHELIA             NJ - USDC for the District of New Jersey   3:20-cv-15767         THE SEGAL LAW FIRM
BRACKIN, ANGELA             NJ - USDC for the District of New Jersey   3:21-cv-03885         THE SEGAL LAW FIRM
BRANDON, DOROTHY            NJ - USDC for the District of New Jersey   3:21-cv-11078         THE SEGAL LAW FIRM
BREAUX, BETTIE              NJ - USDC for the District of New Jersey   3:21-cv-13461         THE SEGAL LAW FIRM
BROCK, WANDA                NJ - USDC for the District of New Jersey   3:21-cv-07863         THE SEGAL LAW FIRM
BROWN, KIMBERLY             NJ - USDC for the District of New Jersey   3:20-cv-18362         THE SEGAL LAW FIRM
BROWN, SHIRLENE             NJ - USDC for the District of New Jersey   3:20-cv-17022         THE SEGAL LAW FIRM
BRYAN, MARY                 NJ - USDC for the District of New Jersey   3:21-cv-00998         THE SEGAL LAW FIRM
BURGESS, STEPHANIE          NJ - USDC for the District of New Jersey   3:20-cv-18592         THE SEGAL LAW FIRM
BURGOON, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-12112         THE SEGAL LAW FIRM
BYRD, EARNESTINE            NJ - USDC for the District of New Jersey   3:20-cv-18650         THE SEGAL LAW FIRM
CAMPBELL, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-15630         THE SEGAL LAW FIRM
CAMPBELL-TURNER, VIRGINIA   NJ - USDC for the District of New Jersey   3:21-cv-01034         THE SEGAL LAW FIRM
CANNINI, PAULINE            NJ - USDC for the District of New Jersey   3:21-cv-13619         THE SEGAL LAW FIRM
CARKHUFF, HELEN             NJ - USDC for the District of New Jersey   3:21-cv-17803         THE SEGAL LAW FIRM
CARSON, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-00929         THE SEGAL LAW FIRM
CARVER, GWEN                NJ - USDC for the District of New Jersey   3:21-cv-03869         THE SEGAL LAW FIRM
CHESTER, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-13198         THE SEGAL LAW FIRM
CHITTUM, MARY               NJ - USDC for the District of New Jersey   3:21-cv-17839         THE SEGAL LAW FIRM
CHRISTAKIS, VICKY           NJ - USDC for the District of New Jersey   3:21-cv-06019         THE SEGAL LAW FIRM
CHURCHILL, JANICE           NJ - USDC for the District of New Jersey   3:21-cv-01685         THE SEGAL LAW FIRM
CLARDY, BRYCANDIS           NJ - USDC for the District of New Jersey   3:21-cv-02766         THE SEGAL LAW FIRM
CLARK, JANICE               NJ - USDC for the District of New Jersey   3:21-cv-04019         THE SEGAL LAW FIRM
CLAY, KAROLINA              NJ - USDC for the District of New Jersey   3:21-cv-03971         THE SEGAL LAW FIRM
COBLENTZ, VERNA             NJ - USDC for the District of New Jersey   3:20-cv-16867         THE SEGAL LAW FIRM
COCHRAN, SARAH              NJ - USDC for the District of New Jersey   3:21-cv-03878         THE SEGAL LAW FIRM
COLLINS, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-02566         THE SEGAL LAW FIRM
COOK, JUDY                  NJ - USDC for the District of New Jersey   3:21-cv-00510         THE SEGAL LAW FIRM
CORBELLI, MARIE             NJ - USDC for the District of New Jersey   3:21-cv-17851         THE SEGAL LAW FIRM
CORDOVA, RITA               NJ - USDC for the District of New Jersey   3:21-cv-02742         THE SEGAL LAW FIRM
COULSTON, KIMBERLIE         NJ - USDC for the District of New Jersey   3:20-cv-16050         THE SEGAL LAW FIRM
COVINGTON, DEBORAH          NJ - USDC for the District of New Jersey   3:21-cv-08526         THE SEGAL LAW FIRM
CRAVILLION, ETHEL           NJ - USDC for the District of New Jersey   3:21-cv-01022         THE SEGAL LAW FIRM
CRENSHAW, JEAN              NJ - USDC for the District of New Jersey   3:20-cv-15787         THE SEGAL LAW FIRM
CROCKETT-TURNER, SHARON     NJ - USDC for the District of New Jersey   3:20-cv-15576         THE SEGAL LAW FIRM
CROUSE, LAURINDA            NJ - USDC for the District of New Jersey   3:21-cv-02745         THE SEGAL LAW FIRM
CROY, JENNIFER              NJ - USDC for the District of New Jersey   3:21-cv-01030         THE SEGAL LAW FIRM
CUPPER, JUNE                NJ - USDC for the District of New Jersey   3:20-cv-20251         THE SEGAL LAW FIRM
DALEY, MAIRON               NJ - USDC for the District of New Jersey   3:20-cv-09602         THE SEGAL LAW FIRM
DANIELS, FREDERICA          NJ - USDC for the District of New Jersey   3:20-cv-17060         THE SEGAL LAW FIRM
DANIELS, RACHAEL            NJ - USDC for the District of New Jersey   3:21-cv-00642         THE SEGAL LAW FIRM
DAVILA, EVANGELINA          NJ - USDC for the District of New Jersey   3:21-cv-16728         THE SEGAL LAW FIRM
DAVIS, CONSTANCE            NJ - USDC for the District of New Jersey   3:21-cv-03698         THE SEGAL LAW FIRM
DAVIS, LORETTA              NJ - USDC for the District of New Jersey   3:20-cv-17056         THE SEGAL LAW FIRM
DELUCIA, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-15442         THE SEGAL LAW FIRM
DENNEY, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-14873         THE SEGAL LAW FIRM
DENUNE-ROY, NIKKI           NJ - USDC for the District of New Jersey   3:21-cv-13365         THE SEGAL LAW FIRM
DICK, BRENDA                NJ - USDC for the District of New Jersey   3:21-cv-06158         THE SEGAL LAW FIRM
DILWORTH, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-17032         THE SEGAL LAW FIRM
DODSON, PEGGY               NJ - USDC for the District of New Jersey   3:21-cv-11031         THE SEGAL LAW FIRM
DOMANIECKI, LINDA           NJ - Superior Court - Atlantic County      ATL-L-003495-20       THE SEGAL LAW FIRM
DOMROE, JANIS               NJ - USDC for the District of New Jersey   3:21-cv-09594         THE SEGAL LAW FIRM
DORTCH, BLANCHIE            NJ - USDC for the District of New Jersey   3:20-cv-19615         THE SEGAL LAW FIRM
DUNCAN, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-04024         THE SEGAL LAW FIRM
DURFEE, PEGGY               NJ - USDC for the District of New Jersey   3:21-cv-09616         THE SEGAL LAW FIRM
ELDRIDGE, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-01048         THE SEGAL LAW FIRM
ELLIOTT, BEVERLY            NJ - USDC for the District of New Jersey   3:20-cv-18696         THE SEGAL LAW FIRM
EPPS, RUBY                  NJ - USDC for the District of New Jersey   3:20-cv-16937         THE SEGAL LAW FIRM




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           Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
FAIRLEY, MYRA                NJ - USDC for the District of New Jersey   3:20-cv-17712         THE SEGAL LAW FIRM
FALCON, ELIZABETH            NJ - USDC for the District of New Jersey   3:21-cv-17245         THE SEGAL LAW FIRM
FARRAR, PATRICIA             NJ - USDC for the District of New Jersey   3:20-cv-17067         THE SEGAL LAW FIRM
FERRIER, DOROTHY             NJ - USDC for the District of New Jersey   3:20-cv-16247         THE SEGAL LAW FIRM
FLOWERS, TAMMY               NJ - USDC for the District of New Jersey   3:21-cv-00917         THE SEGAL LAW FIRM
FOMBY, WILMAJEAN             NJ - USDC for the District of New Jersey   3:21-cv-03686         THE SEGAL LAW FIRM
FORTE, JOAN                  NJ - USDC for the District of New Jersey   3:21-cv-12017         THE SEGAL LAW FIRM
FORTS, GLORIA                NJ - USDC for the District of New Jersey   3:21-cv-00498         THE SEGAL LAW FIRM
FOUT, DIANNA                 NJ - USDC for the District of New Jersey   3:21-cv-13437         THE SEGAL LAW FIRM
FRANK, JOANNE                NJ - Superior Court - Atlantic County      ATL-L-003340-20       THE SEGAL LAW FIRM
FRANKLIN, WAVERLYNN          NJ - USDC for the District of New Jersey   3:21-cv-00519         THE SEGAL LAW FIRM
FRASCA, JANINE               NJ - USDC for the District of New Jersey   3:21-cv-02686         THE SEGAL LAW FIRM
FRAZIER, BERTHA              NJ - USDC for the District of New Jersey   3:20-cv-18826         THE SEGAL LAW FIRM
FREEZE, IRENE                NJ - USDC for the District of New Jersey   3:21-cv-10273         THE SEGAL LAW FIRM
FRIED, SANDRA                NJ - USDC for the District of New Jersey   3:21-cv-06456         THE SEGAL LAW FIRM
FRYE, CECELIA                NJ - USDC for the District of New Jersey   3:21-cv-03960         THE SEGAL LAW FIRM
GAINEY, JEANETTE             NJ - USDC for the District of New Jersey   3:20-cv-19544         THE SEGAL LAW FIRM
GASTON, SONNEY               NJ - USDC for the District of New Jersey   3:20-cv-14289         THE SEGAL LAW FIRM
GERBINO, MICHELE             NJ - Superior Court - Atlantic County      ATL-L-003341-20       THE SEGAL LAW FIRM
GETTY, DEENA                 NJ - USDC for the District of New Jersey   3:20-cv-12727         THE SEGAL LAW FIRM
GIARD, DENISE                NJ - USDC for the District of New Jersey   3:20-cv-17448         THE SEGAL LAW FIRM
GILBERT, CAROLINE            NJ - USDC for the District of New Jersey   3:21-cv-01170         THE SEGAL LAW FIRM
GLORIA TRASK                 NJ - USDC for the District of New Jersey   3:21-cv-18381         THE SEGAL LAW FIRM
GOINS-TISDALE, LATOUSYA      NJ - USDC for the District of New Jersey   3:20-cv-18394         THE SEGAL LAW FIRM
GONDOLY, REGINA              NJ - USDC for the District of New Jersey   3:21-cv-00569         THE SEGAL LAW FIRM
GRAVES, NORMA                NJ - USDC for the District of New Jersey   3:21-cv-03809         THE SEGAL LAW FIRM
GRAY, ANGELA                 NJ - USDC for the District of New Jersey   3:21-cv-03434         THE SEGAL LAW FIRM
GREGORY, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-15252         THE SEGAL LAW FIRM
GRESHAM, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-18638         THE SEGAL LAW FIRM
GRIM, VIVAN                  NJ - USDC for the District of New Jersey   3:20-cv-18349         THE SEGAL LAW FIRM
GRISHAM, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-00982         THE SEGAL LAW FIRM
GUSTA, PRISCILLA             NJ - USDC for the District of New Jersey   3:20-cv-14305         THE SEGAL LAW FIRM
GUY, SHIRLEY                 NJ - USDC for the District of New Jersey   3:21-cv-03748         THE SEGAL LAW FIRM
HALE, DEBRA                  NJ - USDC for the District of New Jersey   3:20-cv-13425         THE SEGAL LAW FIRM
HALE, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-14364         THE SEGAL LAW FIRM
HARRIS, DEANNA               NJ - USDC for the District of New Jersey   3:20-cv-14367         THE SEGAL LAW FIRM
HARRIS, ROBBIN               NJ - USDC for the District of New Jersey   3:21-cv-17868         THE SEGAL LAW FIRM
HARROD, JENNIFER (GILBERT)   NJ - USDC for the District of New Jersey   3:21-cv-03716         THE SEGAL LAW FIRM
HARSH, TAMMY                 NJ - USDC for the District of New Jersey   3:21-cv-17891         THE SEGAL LAW FIRM
HARVEY-STEVENS, LINDA        NJ - USDC for the District of New Jersey   3:20-cv-14698         THE SEGAL LAW FIRM
HATTON, VICTORIA             NJ - USDC for the District of New Jersey   3:21-cv-17901         THE SEGAL LAW FIRM
HAYES-GREER, JOANNA          NJ - USDC for the District of New Jersey   3:20-cv-14291         THE SEGAL LAW FIRM
HEAD, LUANN                  NJ - USDC for the District of New Jersey   3:20-cv-12598         THE SEGAL LAW FIRM
HENRIQUEZ, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-18618         THE SEGAL LAW FIRM
HEROLD, SUSAN                NJ - USDC for the District of New Jersey   3:21-cv-06475         THE SEGAL LAW FIRM
HILLIARD, JULIE              NJ - Superior Court - Atlantic County      ATL-L-000603-21       THE SEGAL LAW FIRM
HODGE, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-06145         THE SEGAL LAW FIRM
HOGAN, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-18564         THE SEGAL LAW FIRM
HOLLANDSWORTH, EVELYN        NJ - USDC for the District of New Jersey   3:21-cv-16702         THE SEGAL LAW FIRM
HORWITZ, SHEILA              NJ - USDC for the District of New Jersey   3:21-cv-13233         THE SEGAL LAW FIRM
HOUGHTON, KATHERINE          NJ - USDC for the District of New Jersey   3:21-cv-11074         THE SEGAL LAW FIRM
HOUSTON, CAROLYN             NJ - USDC for the District of New Jersey   3:21-cv-12108         THE SEGAL LAW FIRM
HOYLE, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-14175         THE SEGAL LAW FIRM
HUBBARD, JOANN               NJ - USDC for the District of New Jersey   3:20-cv-18825         THE SEGAL LAW FIRM
HUGHES-BRANT, CHRISTINE      NJ - USDC for the District of New Jersey   3:21-cv-12988         THE SEGAL LAW FIRM
IERACI, DIANE                NJ - USDC for the District of New Jersey   3:21-cv-11067         THE SEGAL LAW FIRM
ISHMAEL, ADRIAN              NJ - USDC for the District of New Jersey   3:21-cv-05010         THE SEGAL LAW FIRM
JACKSON, REBECCA             NJ - USDC for the District of New Jersey   3:21-cv-04790         THE SEGAL LAW FIRM
JACKSON, RUBY                NJ - USDC for the District of New Jersey   3:20-cv-18691         THE SEGAL LAW FIRM
JACKSON, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-02452         THE SEGAL LAW FIRM
JASKOWSKI, MELISSA           NJ - USDC for the District of New Jersey   3:21-cv-00925         THE SEGAL LAW FIRM
JEFFRIES, TONYA              NJ - USDC for the District of New Jersey   3:20-cv-19169         THE SEGAL LAW FIRM
JENKS, YVONNE                NJ - USDC for the District of New Jersey   3:21-cv-00920         THE SEGAL LAW FIRM
JONES, BRENDA                NJ - USDC for the District of New Jersey   3:20-cv-18583         THE SEGAL LAW FIRM
JONES, KAY                   NJ - USDC for the District of New Jersey   3:20-cv-15421         THE SEGAL LAW FIRM
JONES, MARCIA                NJ - USDC for the District of New Jersey   3:20-cv-18727         THE SEGAL LAW FIRM
JONES, MIA                   NJ - USDC for the District of New Jersey   3:21-cv-15859         THE SEGAL LAW FIRM
JONES, TERRASE               NJ - USDC for the District of New Jersey   3:21-cv-16001         THE SEGAL LAW FIRM
JORDAN, DELORIS              NJ - USDC for the District of New Jersey   3:21-cv-00922         THE SEGAL LAW FIRM
JUSTICE, KATHY               NJ - USDC for the District of New Jersey   3:21-cv-11049         THE SEGAL LAW FIRM
KAVARANA, IMROZE             NJ - USDC for the District of New Jersey   3:21-cv-14064         THE SEGAL LAW FIRM
KELLY, RUTH                  NJ - USDC for the District of New Jersey   3:20-cv-14880         THE SEGAL LAW FIRM
KENNY, DEBORAH               NJ - Superior Court - Atlantic County      ATL-L-002701-21       THE SEGAL LAW FIRM
KIMBLE, TAMMY                NJ - USDC for the District of New Jersey   3:21-cv-03760         THE SEGAL LAW FIRM
KIRBY-FONDULIS, DEBRA        NJ - USDC for the District of New Jersey   3:21-cv-13566         THE SEGAL LAW FIRM
KIRSHY, THERESA              NJ - USDC for the District of New Jersey   3:21-cv-15298         THE SEGAL LAW FIRM
KISER, SHIRLEY               NJ - USDC for the District of New Jersey   3:21-cv-16814         THE SEGAL LAW FIRM
KOEHLER, MAUREEN             NJ - Superior Court - Atlantic County      ATL-L-003339-20       THE SEGAL LAW FIRM
KUPAU, DAVIDENE              NJ - USDC for the District of New Jersey   3:21-cv-04007         THE SEGAL LAW FIRM
LAASKO, DEBRA                NJ - USDC for the District of New Jersey   3:21-cv-16738         THE SEGAL LAW FIRM




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
LANTZ, KATHRYN             NJ - USDC for the District of New Jersey   3:20-cv-18634         THE SEGAL LAW FIRM
LARGRIMAS, VIVIAN          NJ - USDC for the District of New Jersey   3:21-cv-08543         THE SEGAL LAW FIRM
LECKY, BARBARA             NJ - Superior Court - Atlantic County      ATL-L-003417-20       THE SEGAL LAW FIRM
LENTZ, BEVERLY             NJ - USDC for the District of New Jersey   3:21-cv-00027         THE SEGAL LAW FIRM
LEWIS, JANNIE              NJ - USDC for the District of New Jersey   3:21-cv-15845         THE SEGAL LAW FIRM
LEWIS, MISSIE              NJ - USDC for the District of New Jersey   3:21-cv-02762         THE SEGAL LAW FIRM
LIN, CHIN                  NJ - USDC for the District of New Jersey   3:21-cv-18248         THE SEGAL LAW FIRM
LOCKWOOD, VICKIE           NJ - USDC for the District of New Jersey   3:20-cv-17435         THE SEGAL LAW FIRM
LONG, BARBARA              NJ - USDC for the District of New Jersey   3:20-cv-16586         THE SEGAL LAW FIRM
LONG, DIANE                NJ - USDC for the District of New Jersey   3:20-cv-18604         THE SEGAL LAW FIRM
LOVINCY, STEPHANIE         NJ - USDC for the District of New Jersey   3:21-cv-03927         THE SEGAL LAW FIRM
LOZA, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-16741         THE SEGAL LAW FIRM
LUCIOUS, OZELL             NJ - USDC for the District of New Jersey   3:20-cv-15263         THE SEGAL LAW FIRM
MAPP, VIRGINIA             NJ - USDC for the District of New Jersey   3:20-cv-20224         THE SEGAL LAW FIRM
MARCEL, KIMBERLY           NJ - USDC for the District of New Jersey   3:20-cv-16342         THE SEGAL LAW FIRM
MARTINEZ, ELISA            NJ - USDC for the District of New Jersey   3:21-cv-00507         THE SEGAL LAW FIRM
MATIAS, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-11052         THE SEGAL LAW FIRM
MATTERN, GEORGIA           NJ - USDC for the District of New Jersey   3:20-cv-18370         THE SEGAL LAW FIRM
MCCORMICK, LORI            NJ - USDC for the District of New Jersey   3:21-cv-03982         THE SEGAL LAW FIRM
MCCORMICK-OTIS, PATRICIA   NJ - USDC for the District of New Jersey   3:21-cv-03895         THE SEGAL LAW FIRM
MCCOY, TAMARA              NJ - USDC for the District of New Jersey   3:20-cv-18396         THE SEGAL LAW FIRM
MCCREE, KAREN              NJ - USDC for the District of New Jersey   3:21-cv-16734         THE SEGAL LAW FIRM
MCCULLOUGH, HEIDI          NJ - USDC for the District of New Jersey   3:21-cv-12165         THE SEGAL LAW FIRM
MCDONALD, DIANA            NJ - USDC for the District of New Jersey   3:21-cv-13590         THE SEGAL LAW FIRM
MCFATE, MADELINE           NJ - Superior Court - Atlantic County      ATL-L-002344-21       THE SEGAL LAW FIRM
MCHUGH, TREVA              NJ - USDC for the District of New Jersey   3:20-cv-18389         THE SEGAL LAW FIRM
MCKNIGHT, DELPHIA          NJ - USDC for the District of New Jersey   3:21-cv-00471         THE SEGAL LAW FIRM
MCNAIR, LEDELL             NJ - USDC for the District of New Jersey   3:20-cv-15431         THE SEGAL LAW FIRM
MCVEY, LANA                NJ - USDC for the District of New Jersey   3:21-cv-02569         THE SEGAL LAW FIRM
MEJIA, TRISHA              NJ - USDC for the District of New Jersey   3:21-cv-02552         THE SEGAL LAW FIRM
MELTON, KELLA              NJ - USDC for the District of New Jersey   3:21-cv-00874         THE SEGAL LAW FIRM
MELTZER, ELISE             NJ - USDC for the District of New Jersey   3:20-cv-13903         THE SEGAL LAW FIRM
MILLER, RUTHANN            NJ - USDC for the District of New Jersey   3:21-cv-05014         THE SEGAL LAW FIRM
MILLER, SUSIE              NJ - USDC for the District of New Jersey   3:21-cv-13351         THE SEGAL LAW FIRM
MITCHELL, CHRISTINE        NJ - USDC for the District of New Jersey   3:21-cv-00975         THE SEGAL LAW FIRM
MOHLER, LISSA              NJ - USDC for the District of New Jersey   3:21-cv-12487         THE SEGAL LAW FIRM
MOORE, HWA                 NJ - USDC for the District of New Jersey   3:21-cv-00001         THE SEGAL LAW FIRM
MOREIRA, MARITZA           NJ - Superior Court - Atlantic County      ATL-L-002833-21       THE SEGAL LAW FIRM
MORSE, THERESA             NJ - USDC for the District of New Jersey   3:21-cv-08373         THE SEGAL LAW FIRM
MOSER, SUZANNE             NJ - USDC for the District of New Jersey   3:20-cv-14030         THE SEGAL LAW FIRM
MOUNTAIN, JEAN             NJ - USDC for the District of New Jersey   3:20-cv-18519         THE SEGAL LAW FIRM
MOUTON, MARY               NJ - USDC for the District of New Jersey   3:21-cv-02482         THE SEGAL LAW FIRM
MURPHY, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-01294         THE SEGAL LAW FIRM
NANCE, DELORES             NJ - USDC for the District of New Jersey   3:21-cv-03683         THE SEGAL LAW FIRM
NANCE, RHODA               NJ - USDC for the District of New Jersey   3:21-cv-00887         THE SEGAL LAW FIRM
NELSON, AMELIA             NJ - USDC for the District of New Jersey   3:21-cv-00476         THE SEGAL LAW FIRM
NEWAYNO, DIANNE            NJ - USDC for the District of New Jersey   3:21-cv-00474         THE SEGAL LAW FIRM
NGUYEN, TUYET              NJ - USDC for the District of New Jersey   3:21-cv-03948         THE SEGAL LAW FIRM
NICHOLSON, MARY            NJ - USDC for the District of New Jersey   3:21-cv-00602         THE SEGAL LAW FIRM
NORWOOD, JOAN              NJ - USDC for the District of New Jersey   3:21-cv-08385         THE SEGAL LAW FIRM
OBERG, DEBORAH             NJ - USDC for the District of New Jersey   3:20-cv-15915         THE SEGAL LAW FIRM
ODELL, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-02459         THE SEGAL LAW FIRM
OLSON, DIANA               NJ - USDC for the District of New Jersey   3:21-cv-03891         THE SEGAL LAW FIRM
OWENS, LATRISHA            NJ - USDC for the District of New Jersey   3:20-cv-17008         THE SEGAL LAW FIRM
PADFIELD, LAURA            NJ - USDC for the District of New Jersey   3:20-cv-18487         THE SEGAL LAW FIRM
PARDASANI, VIDYA           NJ - USDC for the District of New Jersey   3:20-cv-13912         THE SEGAL LAW FIRM
PARRA, RACHAEL             NJ - USDC for the District of New Jersey   3:20-cv-18590         THE SEGAL LAW FIRM
PAYTON, SANDRA             NJ - USDC for the District of New Jersey   3:20-cv-16355         THE SEGAL LAW FIRM
PEARSON, ETHEL             NJ - USDC for the District of New Jersey   3:21-cv-00931         THE SEGAL LAW FIRM
PELUZZO, ANTOINETTE        NJ - USDC for the District of New Jersey   3:21-cv-15469         THE SEGAL LAW FIRM
PENDER, JOAN               NJ - Superior Court - Atlantic County      ATL-L-000963-21       THE SEGAL LAW FIRM
PENNER, JANET              NJ - USDC for the District of New Jersey   3:21-cv-10263         THE SEGAL LAW FIRM
PEOPLES, MARJORIE          NJ - USDC for the District of New Jersey   3:21-cv-13227         THE SEGAL LAW FIRM
PERSON, TRANETTA           NJ - USDC for the District of New Jersey   3:20-cv-20218         THE SEGAL LAW FIRM
PHILLIPS, ARNELLA          NJ - USDC for the District of New Jersey   3:20-cv-14360         THE SEGAL LAW FIRM
PHILLIPS, ROSA             NJ - USDC for the District of New Jersey   3:21-cv-00481         THE SEGAL LAW FIRM
PICKETT, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-02741         THE SEGAL LAW FIRM
PINO, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-16101         THE SEGAL LAW FIRM
PRINCE, NOEL               NJ - USDC for the District of New Jersey   3:20-cv-16190         THE SEGAL LAW FIRM
PSCHENICA, CARISSA         NJ - USDC for the District of New Jersey   3:20-cv-14882         THE SEGAL LAW FIRM
PULLIN, BARBARA            NJ - USDC for the District of New Jersey   3:20-cv-08626         THE SEGAL LAW FIRM
PUTEK, JACQUELYN           NJ - USDC for the District of New Jersey   3:21-cv-03816         THE SEGAL LAW FIRM
QUILES, MARIA              NJ - USDC for the District of New Jersey   3:21-cv-01872         THE SEGAL LAW FIRM
RAINEY, LATOYA             NJ - USDC for the District of New Jersey   3:21-cv-05351         THE SEGAL LAW FIRM
RANDALL, MICHELLE          NJ - USDC for the District of New Jersey   3:20-cv-14054         THE SEGAL LAW FIRM
RAWLINGS, LINA             NJ - USDC for the District of New Jersey   3:21-cv-16756         THE SEGAL LAW FIRM
REGENOLD, JOSEPHINE        NJ - USDC for the District of New Jersey   3:21-cv-02549         THE SEGAL LAW FIRM
RENN, STELLA               NJ - USDC for the District of New Jersey   3:21-cv-00466         THE SEGAL LAW FIRM
REPLOGLE, VIRGINIA         NJ - USDC for the District of New Jersey   3:21-cv-01096         THE SEGAL LAW FIRM
RICHARDS, KIMBERLY         NJ - USDC for the District of New Jersey   3:21-cv-08340         THE SEGAL LAW FIRM




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          Claimant Name                        State Filed                      Docket Number               Plaintiff Counsel
RICHARDSON, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-13444         THE SEGAL LAW FIRM
RICHARDSON, SHIRLEY            NJ - USDC for the District of New Jersey   3:21-cv-02560         THE SEGAL LAW FIRM
RITTER, PATRICIA               NJ - USDC for the District of New Jersey   3:20-cv-18380         THE SEGAL LAW FIRM
ROMERO, CASSANDRA              NJ - USDC for the District of New Jersey   3:21-cv-05362         THE SEGAL LAW FIRM
ROSCOE, KIMBERLY               NJ - USDC for the District of New Jersey   3:21-cv-10239         THE SEGAL LAW FIRM
ROSS, TONI                     NJ - USDC for the District of New Jersey   3:20-cv-13092         THE SEGAL LAW FIRM
SADDLER, MARGARET              NJ - USDC for the District of New Jersey   3:21-cv-02564         THE SEGAL LAW FIRM
SALDANA, ANNIE                 NJ - USDC for the District of New Jersey   3:20-cv-18609         THE SEGAL LAW FIRM
SANDBERG, GEORGIA              NJ - USDC for the District of New Jersey   3:21-cv-16805         THE SEGAL LAW FIRM
SANDERS, TEMETRUS              NJ - USDC for the District of New Jersey   3:20-cv-15860         THE SEGAL LAW FIRM
SASALA, SHANNON                NJ - USDC for the District of New Jersey   3:20-cv-20244         THE SEGAL LAW FIRM
SCOTT, ASHLEY                  NJ - USDC for the District of New Jersey   3:20-cv-10816         THE SEGAL LAW FIRM
SERGEANT, ISABELL              NJ - USDC for the District of New Jersey   3:20-cv-14076         THE SEGAL LAW FIRM
SHELL, JUSTINE                 NJ - USDC for the District of New Jersey   3:20-cv-18614         THE SEGAL LAW FIRM
SHERRILL, BEVERLY              NJ - USDC for the District of New Jersey   3:21-cv-01099         THE SEGAL LAW FIRM
SHULL, KIMERI                  NJ - USDC for the District of New Jersey   3:20-cv-14963         THE SEGAL LAW FIRM
SIGMAN, CAROLINE               NJ - USDC for the District of New Jersey   3:21-cv-08522         THE SEGAL LAW FIRM
SIMMONS, ANDREA                NJ - USDC for the District of New Jersey   3:21-cv-04010         THE SEGAL LAW FIRM
SIMS, GLORIA                   NJ - USDC for the District of New Jersey   3:20-cv-18814         THE SEGAL LAW FIRM
SLAGLE, RACHEL                 NJ - USDC for the District of New Jersey   3:21-cv-02581         THE SEGAL LAW FIRM
SMITH, CAROLYN                 NJ - USDC for the District of New Jersey   3:21-cv-00914         THE SEGAL LAW FIRM
SMITH, DEBORAH                 NJ - USDC for the District of New Jersey   3:21-cv-17405         THE SEGAL LAW FIRM
SMITH, JODIE                   NJ - USDC for the District of New Jersey   3:21-cv-11008         THE SEGAL LAW FIRM
SMITH, SHARON                  NJ - USDC for the District of New Jersey   3:21-cv-08557         THE SEGAL LAW FIRM
SMITH, TARNASHA                NJ - USDC for the District of New Jersey   3:20-cv-16263         THE SEGAL LAW FIRM
SNOWTON, RAQKISHA              NJ - USDC for the District of New Jersey   3:21-cv-05019         THE SEGAL LAW FIRM
SPATAFORE, BEVERLY             NJ - USDC for the District of New Jersey   3:20-cv-02076         THE SEGAL LAW FIRM
STACHURA, DIANE                NJ - USDC for the District of New Jersey   3:21-cv-15955         THE SEGAL LAW FIRM
STARKEY, FRANCES               NJ - USDC for the District of New Jersey   3:20-cv-18816         THE SEGAL LAW FIRM
STARKS, SAUNDRA                NJ - USDC for the District of New Jersey   3:20-cv-16701         THE SEGAL LAW FIRM
STARKWEATHER, DOLORES          NJ - USDC for the District of New Jersey   3:21-cv-15550         THE SEGAL LAW FIRM
STATEN, VESTOR                 NJ - USDC for the District of New Jersey   3:20-cv-16006         THE SEGAL LAW FIRM
STEVENSON, SHALEILAH           NJ - USDC for the District of New Jersey   3:21-cv-11012         THE SEGAL LAW FIRM
STEWART, TRACY                 NJ - USDC for the District of New Jersey   3:20-cv-09611         THE SEGAL LAW FIRM
STOWERS, MARY                  NJ - USDC for the District of New Jersey   3:21-cv-16747         THE SEGAL LAW FIRM
STURGILL, JENNY                NJ - USDC for the District of New Jersey   3:21-cv-05022         THE SEGAL LAW FIRM
SUTTON, ESSIE                  NJ - USDC for the District of New Jersey   3:20-cv-14294         THE SEGAL LAW FIRM
SUZUKI, AGNES                  NJ - USDC for the District of New Jersey   3:20-cv-10513         THE SEGAL LAW FIRM
SWENSON, JESSIE                NJ - USDC for the District of New Jersey   3:20-cv-18507         THE SEGAL LAW FIRM
SWOPE, DEBRA                   NJ - Superior Court - Atlantic County      ATL-L-000219-21       THE SEGAL LAW FIRM
SWOPE, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-16408         THE SEGAL LAW FIRM
SZOLUSHA, LENORA               NJ - USDC for the District of New Jersey   3:21-cv-03690         THE SEGAL LAW FIRM
TAYLOR, JUDITH                 NJ - USDC for the District of New Jersey   3:21-cv-17908         THE SEGAL LAW FIRM
THOMAS, CHARITY                NJ - USDC for the District of New Jersey   3:20-cv-13891         THE SEGAL LAW FIRM
THOMASSIAN, REINA              NJ - USDC for the District of New Jersey   3:20-cv-13105         THE SEGAL LAW FIRM
THORNTON, EARNESTINE           NJ - USDC for the District of New Jersey   3:20-cv-11800         THE SEGAL LAW FIRM
TIEDEMANN, TINA                NJ - USDC for the District of New Jersey   3:21-cv-13275         THE SEGAL LAW FIRM
TOMBLIN, LINDA                 NJ - USDC for the District of New Jersey   3:21-cv-01701         THE SEGAL LAW FIRM
TRAPAGA, MARTHA                NJ - USDC for the District of New Jersey   3:20-cv-13159         THE SEGAL LAW FIRM
TURNER, MARGARET               NJ - Superior Court - Atlantic County      ATL-L-000604-21       THE SEGAL LAW FIRM
VAN BIBBER-MARTIN, STEPHANIE   NJ - USDC for the District of New Jersey   3:21-cv-12115         THE SEGAL LAW FIRM
VICTOR, NORA                   NJ - USDC for the District of New Jersey   3:20-cv-17425         THE SEGAL LAW FIRM
VILLANUEVA, MISCHELLIA         NJ - USDC for the District of New Jersey   3:21-cv-00892         THE SEGAL LAW FIRM
WAGONER, OIREAL                NJ - USDC for the District of New Jersey   3:21-cv-00635         THE SEGAL LAW FIRM
WALKER, BRENDA                 NJ - USDC for the District of New Jersey   3:20-cv-13825         THE SEGAL LAW FIRM
WALKER, PATRICE                NJ - USDC for the District of New Jersey   3:21-cv-10680         THE SEGAL LAW FIRM
WALKER, SELENA                 NJ - USDC for the District of New Jersey   3:21-cv-15488         THE SEGAL LAW FIRM
WALLS, EVELYN                  NJ - USDC for the District of New Jersey   3:20-cv-20249         THE SEGAL LAW FIRM
WALSH, CAROLYN                 NJ - USDC for the District of New Jersey   3:21-cv-14079         THE SEGAL LAW FIRM
WEIGHT, VALERIE                NJ - USDC for the District of New Jersey   3:21-cv-18105         THE SEGAL LAW FIRM
WESTFALL, DARLENA              NJ - USDC for the District of New Jersey   3:20-cv-15909         THE SEGAL LAW FIRM
WHITE, ERICA                   NJ - USDC for the District of New Jersey   3:20-cv-18673         THE SEGAL LAW FIRM
WHITTED, FRANCIS               NJ - USDC for the District of New Jersey   3:21-cv-16359         THE SEGAL LAW FIRM
WILLIAMS, JACQUELINE           NJ - USDC for the District of New Jersey   3:20-cv-18493         THE SEGAL LAW FIRM
WILLIAMS, SHAVONNE             NJ - USDC for the District of New Jersey   3:20-cv-17041         THE SEGAL LAW FIRM
WOODS, SANDRA                  NJ - USDC for the District of New Jersey   3:20-cv-16882         THE SEGAL LAW FIRM
WRIGHT, DARLENE                NJ - USDC for the District of New Jersey   3:21-cv-02588         THE SEGAL LAW FIRM
WRIGHT, DEBORAH                NJ - USDC for the District of New Jersey   3:20-cv-16588         THE SEGAL LAW FIRM
WRIGHT, MARIA                  NJ - USDC for the District of New Jersey   3:20-cv-10262         THE SEGAL LAW FIRM
WRIGHT, MILDRED                NJ - USDC for the District of New Jersey   3:20-cv-16769         THE SEGAL LAW FIRM
YANNO, ELEANOR                 NJ - USDC for the District of New Jersey   3:20-cv-09745         THE SEGAL LAW FIRM
ZARAGOZA, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-00617         THE SEGAL LAW FIRM
ZELLMANN, DEANNA               NJ - USDC for the District of New Jersey   3:21-cv-16827         THE SEGAL LAW FIRM
AKRIDGE, NICOLE                NJ - USDC for the District of New Jersey   3:17-cv-06718         THE SIMON LAW FIRM, PC
AMOS, MARY                     NJ - USDC for the District of New Jersey   3:17-cv-12368         THE SIMON LAW FIRM, PC
ANDERSON, DORIS                NJ - USDC for the District of New Jersey   3:17-cv-06721         THE SIMON LAW FIRM, PC
ANSPACH, REBECCA               NJ - USDC for the District of New Jersey   3:17-cv-06651         THE SIMON LAW FIRM, PC
ARMSTRONG, DAWN                NJ - USDC for the District of New Jersey   3:17-cv-06804         THE SIMON LAW FIRM, PC
AUGSBURGER, DONA               NJ - USDC for the District of New Jersey   3:17-cv-06725         THE SIMON LAW FIRM, PC
AUSTIN, DENISE                 NJ - USDC for the District of New Jersey   3:17-cv-06965         THE SIMON LAW FIRM, PC




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           Claimant Name                      State Filed                      Docket Number               Plaintiff Counsel
BABA, LUCILLE                 NJ - USDC for the District of New Jersey   3:17-cv-12475         THE SIMON LAW FIRM, PC
BALL, TERESA                  NJ - USDC for the District of New Jersey   3:17-cv-10954         THE SIMON LAW FIRM, PC
BALLEW, FRANCES               NJ - USDC for the District of New Jersey   3:17-cv-06737         THE SIMON LAW FIRM, PC
BARLOW, JULIA                 NJ - USDC for the District of New Jersey   3:17-cv-06972         THE SIMON LAW FIRM, PC
BEARDSLEY, SHELLEY            NJ - USDC for the District of New Jersey   3:17-cv-06618         THE SIMON LAW FIRM, PC
BERNAL, MARGARET              NJ - USDC for the District of New Jersey   3:17-cv-06771         THE SIMON LAW FIRM, PC
BOLTON, CAROL                 NJ - USDC for the District of New Jersey   3:17-cv-06733         THE SIMON LAW FIRM, PC
BOZEMAN, EDDIE                NJ - USDC for the District of New Jersey   3:17-cv-06996         THE SIMON LAW FIRM, PC
BREWER-ELAM, BESSIE           NJ - USDC for the District of New Jersey   3:17-cv-06797         THE SIMON LAW FIRM, PC
BULL, TERRI                   NJ - USDC for the District of New Jersey   3:17-cv-10964         THE SIMON LAW FIRM, PC
BUNTING, MARGARET             NJ - USDC for the District of New Jersey   3:17-cv-07001         THE SIMON LAW FIRM, PC
BURNETT, LISA                 NJ - USDC for the District of New Jersey   3:17-cv-06744         THE SIMON LAW FIRM, PC
CAMP, CAROL                   NJ - USDC for the District of New Jersey   3:17-cv-06745         THE SIMON LAW FIRM, PC
CAMPBELL, BETTY               NJ - USDC for the District of New Jersey   3:17-cv-06983         THE SIMON LAW FIRM, PC
CARNEY, MARGARET              NJ - USDC for the District of New Jersey   3:17-cv-06985         THE SIMON LAW FIRM, PC
CHAMPION, MINNIE              NJ - USDC for the District of New Jersey   3:17-cv-12567         THE SIMON LAW FIRM, PC
CIANCIO, ADRIANA              NJ - USDC for the District of New Jersey   3:17-cv-06692         THE SIMON LAW FIRM, PC
CLAYTON, ZENOVIA              NJ - USDC for the District of New Jersey   3:17-cv-06699         THE SIMON LAW FIRM, PC
CORLEY, MARIE                 NJ - USDC for the District of New Jersey   3:17-cv-07042         THE SIMON LAW FIRM, PC
COSIO, KARINA                 NJ - USDC for the District of New Jersey   3:17-cv-06690         THE SIMON LAW FIRM, PC
COUCH, DEBRA                  NJ - USDC for the District of New Jersey   3:17-cv-06746         THE SIMON LAW FIRM, PC
CRAWFORD, NIKKI               NJ - USDC for the District of New Jersey   3:17-cv-12615         THE SIMON LAW FIRM, PC
DEBAUN, JUDY                  NJ - USDC for the District of New Jersey   3:17-cv-06682         THE SIMON LAW FIRM, PC
DEMELIA, MARYLOU              NJ - USDC for the District of New Jersey   3:17-cv-10971         THE SIMON LAW FIRM, PC
DENOCHICK, NICOLE             NJ - USDC for the District of New Jersey   3:17-cv-12874         THE SIMON LAW FIRM, PC
DENWIDDIE, MONICA; LIEFELD,
                              MO - Circuit Court - City of St. Louis     1922-CC11352          THE SIMON LAW FIRM, PC
EILEEN
DESORCY, KATHLEEN             NJ - USDC for the District of New Jersey   3:17-cv-11224         THE SIMON LAW FIRM, PC
DESOTELL, JULIE               NJ - USDC for the District of New Jersey   3:17-cv-06742         THE SIMON LAW FIRM, PC
DIAZ-REGUS, CELIDA            NJ - USDC for the District of New Jersey   3:17-cv-10981         THE SIMON LAW FIRM, PC
DICARLO-WAKELEY, SANDRA       NJ - USDC for the District of New Jersey   3:17-cv-07120         THE SIMON LAW FIRM, PC
DUBOSE, DELORES               NJ - USDC for the District of New Jersey   3:18-cv-10008         THE SIMON LAW FIRM, PC
DUFFY, LILA                   NJ - USDC for the District of New Jersey   3:17-cv-06723         THE SIMON LAW FIRM, PC
EDGE, BARBARA                 NJ - USDC for the District of New Jersey   3:17-cv-06794         THE SIMON LAW FIRM, PC
ELDRIDGE, MARY                NJ - USDC for the District of New Jersey   3:17-cv-06747         THE SIMON LAW FIRM, PC
ELROD, JANET                  NJ - USDC for the District of New Jersey   3:17-cv-06678         THE SIMON LAW FIRM, PC
ENGLE, MARY                   NJ - USDC for the District of New Jersey   3:17-cv-06978         THE SIMON LAW FIRM, PC
ENRIQUEZ, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-10996         THE SIMON LAW FIRM, PC
EPPERSON, JUDITH              NJ - USDC for the District of New Jersey   3:17-cv-06966         THE SIMON LAW FIRM, PC
ERICKSON, MARY                NJ - USDC for the District of New Jersey   3:17-cv-12599         THE SIMON LAW FIRM, PC
FINERD, SUSAN                 NJ - USDC for the District of New Jersey   3:17-cv-06731         THE SIMON LAW FIRM, PC
FOGLE, CYNTHIA                NJ - USDC for the District of New Jersey   3:17-cv-11071         THE SIMON LAW FIRM, PC
FOOTE, LINDA                  NJ - USDC for the District of New Jersey   3:17-cv-12560         THE SIMON LAW FIRM, PC
FRANK, JOHNNA                 NJ - USDC for the District of New Jersey   3:17-cv-06765         THE SIMON LAW FIRM, PC
FUDGE-HITE, FLORENCE          NJ - USDC for the District of New Jersey   3:17-cv-11007         THE SIMON LAW FIRM, PC
GILMORE, CYNTHIA              NJ - USDC for the District of New Jersey   3:17-cv-11246         THE SIMON LAW FIRM, PC
GONZALES, DONNA               NJ - USDC for the District of New Jersey   3:18-cv-12104         THE SIMON LAW FIRM, PC
GREEN-KNOX, VIVIAN            NJ - USDC for the District of New Jersey   3:17-cv-06724         THE SIMON LAW FIRM, PC
GRIFFIN, INGRID               NJ - USDC for the District of New Jersey   3:17-cv-06749         THE SIMON LAW FIRM, PC
GRISSOM, ALICIA               NJ - USDC for the District of New Jersey   3:17-cv-06736         THE SIMON LAW FIRM, PC
HAMILTON, KAREN               NJ - USDC for the District of New Jersey   3:17-cv-06715         THE SIMON LAW FIRM, PC
HARRINGTON, YVONNE            NJ - USDC for the District of New Jersey   3:17-cv-11003         THE SIMON LAW FIRM, PC
HAUG, LAURA                   NJ - USDC for the District of New Jersey   3:17-cv-06656         THE SIMON LAW FIRM, PC
HERNANDEZ, SANTA              NJ - USDC for the District of New Jersey   3:18-cv-07717         THE SIMON LAW FIRM, PC
HILL, JANICE                  NJ - USDC for the District of New Jersey   3:17-cv-06735         THE SIMON LAW FIRM, PC
HILL, LYDIA                   NJ - USDC for the District of New Jersey   3:17-cv-06689         THE SIMON LAW FIRM, PC
HIRL-BELL, CYNTHIA            NJ - USDC for the District of New Jersey   3:17-cv-06748         THE SIMON LAW FIRM, PC
HOMM, LADEE                   NJ - USDC for the District of New Jersey   3:17-cv-06754         THE SIMON LAW FIRM, PC
HOUDE, RACHEL                 NJ - USDC for the District of New Jersey   3:17-cv-12690         THE SIMON LAW FIRM, PC
HOWELL, PATRICIA              NJ - USDC for the District of New Jersey   3:17-cv-06750         THE SIMON LAW FIRM, PC
HUGHES, CYNTHIA               NJ - USDC for the District of New Jersey   3:17-cv-06990         THE SIMON LAW FIRM, PC
JACKSON, LOIS                 NJ - USDC for the District of New Jersey   3:17-cv-12539         THE SIMON LAW FIRM, PC
JACKSON, MARI                 NJ - USDC for the District of New Jersey   3:17-cv-06720         THE SIMON LAW FIRM, PC
JOHANSEN, MARIA               NJ - USDC for the District of New Jersey   3:17-cv-06722         THE SIMON LAW FIRM, PC
JOHNSON, REBECCA              NJ - USDC for the District of New Jersey   3:17-cv-12493         THE SIMON LAW FIRM, PC
JONES, BRENDA                 NJ - USDC for the District of New Jersey   3:17-cv-11475         THE SIMON LAW FIRM, PC
JUMP, JOHNNA                  NJ - USDC for the District of New Jersey   3:17-cv-12835         THE SIMON LAW FIRM, PC
KENNEDY, SUSAN                NJ - USDC for the District of New Jersey   3:17-cv-12642         THE SIMON LAW FIRM, PC
KING, ATHALA                  NJ - USDC for the District of New Jersey   3:17-cv-06738         THE SIMON LAW FIRM, PC
KLOCK, KAREN                  NJ - USDC for the District of New Jersey   3:17-cv-11229         THE SIMON LAW FIRM, PC
KOCHER, CAROL                 NJ - USDC for the District of New Jersey   3:17-cv-06710         THE SIMON LAW FIRM, PC
KOSZALKOWSKI, ZINA            NJ - USDC for the District of New Jersey   3:17-cv-06688         THE SIMON LAW FIRM, PC
KRIEG, MARGIE                 NJ - USDC for the District of New Jersey   3:17-cv-06730         THE SIMON LAW FIRM, PC
LARSON, CARRIE                NJ - USDC for the District of New Jersey   3:17-cv-11013         THE SIMON LAW FIRM, PC
LAWRENCE, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-06751         THE SIMON LAW FIRM, PC
LEDBETTER, CAROLYN            NJ - USDC for the District of New Jersey   3:18-cv-10393         THE SIMON LAW FIRM, PC
LEITNER, JENNIFER             NJ - USDC for the District of New Jersey   3:17-cv-06976         THE SIMON LAW FIRM, PC
LEON, KARA                    NJ - USDC for the District of New Jersey   3:17-cv-06991         THE SIMON LAW FIRM, PC
LEWIS, LILLIE                 NJ - USDC for the District of New Jersey   3:17-cv-06354         THE SIMON LAW FIRM, PC
LEWIS, PATRICIA               NJ - USDC for the District of New Jersey   3:17-cv-06729         THE SIMON LAW FIRM, PC




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LINSEY, MARILYN           NJ - USDC for the District of New Jersey   3:17-cv-06795         THE SIMON LAW FIRM, PC
LOBIANCO, DAWN            NJ - USDC for the District of New Jersey   3:17-cv-06974         THE SIMON LAW FIRM, PC
LOPEZ, ROSIE              NJ - USDC for the District of New Jersey   3:17-cv-06739         THE SIMON LAW FIRM, PC
MASON, LATRICE            NJ - USDC for the District of New Jersey   3:17-cv-11047         THE SIMON LAW FIRM, PC
MASSENGILL, SHIRLEY       NJ - USDC for the District of New Jersey   3:17-cv-11241         THE SIMON LAW FIRM, PC
MATTHEWS, KAREN           NJ - USDC for the District of New Jersey   3:21-cv-15584         THE SIMON LAW FIRM, PC
MAUER, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-08820         THE SIMON LAW FIRM, PC
MAXON, JEANETTE           NJ - USDC for the District of New Jersey   3:17-cv-12544         THE SIMON LAW FIRM, PC
MCCALLA, EMMA             NJ - USDC for the District of New Jersey   3:17-cv-06743         THE SIMON LAW FIRM, PC
MCMASTER, POLLY           NJ - USDC for the District of New Jersey   3:17-cv-06793         THE SIMON LAW FIRM, PC
MCMURRAY, BEVERLY         NJ - USDC for the District of New Jersey   3:17-cv-06802         THE SIMON LAW FIRM, PC
MERCER, MELONEE           NJ - USDC for the District of New Jersey   3:17-cv-06796         THE SIMON LAW FIRM, PC
MOAK, JEANNETTE           NJ - USDC for the District of New Jersey   3:18-cv-07703         THE SIMON LAW FIRM, PC
MOFFITT, ELEANOR          NJ - USDC for the District of New Jersey   3:17-cv-06685         THE SIMON LAW FIRM, PC
MORGAN, DOROTHEA          NJ - USDC for the District of New Jersey   3:17-cv-11029         THE SIMON LAW FIRM, PC
NASON, YVONNE             NJ - USDC for the District of New Jersey   3:17-cv-06732         THE SIMON LAW FIRM, PC
NIBA, FLORENCE            NJ - USDC for the District of New Jersey   3:17-cv-11035         THE SIMON LAW FIRM, PC
NORMAN, LINDA             NJ - USDC for the District of New Jersey   3:17-cv-11062         THE SIMON LAW FIRM, PC
OWEN, DEBORAH             NJ - USDC for the District of New Jersey   3:17-cv-06696         THE SIMON LAW FIRM, PC
OWENS, CRYSTAL            NJ - USDC for the District of New Jersey   3:17-cv-07117         THE SIMON LAW FIRM, PC
PARRY, JOANN              NJ - USDC for the District of New Jersey   3:18-cv-03283         THE SIMON LAW FIRM, PC
PASTERNACK, BEVERLY       NJ - USDC for the District of New Jersey   3:17-cv-07010         THE SIMON LAW FIRM, PC
PEOPLES, SHEREE           NJ - USDC for the District of New Jersey   3:17-cv-11211         THE SIMON LAW FIRM, PC
PETERSON, LORETTA         NJ - USDC for the District of New Jersey   3:17-cv-06997         THE SIMON LAW FIRM, PC
PORTER, CATHY             NJ - USDC for the District of New Jersey   3:17-cv-06728         THE SIMON LAW FIRM, PC
PRINGLE, MARYLADENE       NJ - USDC for the District of New Jersey   3:17-cv-06766         THE SIMON LAW FIRM, PC
PRUNTY, ANTIONETTE        NJ - USDC for the District of New Jersey   3:17-cv-06658         THE SIMON LAW FIRM, PC
RABURN, DENISE            NJ - USDC for the District of New Jersey   3:17-cv-06987         THE SIMON LAW FIRM, PC
RAMIREZ, CAMI             NJ - USDC for the District of New Jersey   3:17-cv-06687         THE SIMON LAW FIRM, PC
REYNOLDS, REGINA          NJ - USDC for the District of New Jersey   3:17-cv-06993         THE SIMON LAW FIRM, PC
RHOADS, PAMELA            NJ - USDC for the District of New Jersey   3:17-cv-11235         THE SIMON LAW FIRM, PC
RICE, CHARMEL             NJ - USDC for the District of New Jersey   3:17-cv-05718         THE SIMON LAW FIRM, PC
RICHBURG, KIMBERLY        NJ - USDC for the District of New Jersey   3:17-cv-06694         THE SIMON LAW FIRM, PC
RILEY, LISA               NJ - USDC for the District of New Jersey   3:17-cv-07118         THE SIMON LAW FIRM, PC
RIVERA, ANA               NJ - USDC for the District of New Jersey   3:17-cv-06621         THE SIMON LAW FIRM, PC
ROBINSON, CHARLENE        NJ - USDC for the District of New Jersey   3:17-cv-06752         THE SIMON LAW FIRM, PC
ROGERS, CAMILLE           NJ - USDC for the District of New Jersey   3:17-cv-11041         THE SIMON LAW FIRM, PC
SAUSMAN, LESLIE           NJ - USDC for the District of New Jersey   3:17-cv-06741         THE SIMON LAW FIRM, PC
SELLERS, CAITLIN          NJ - USDC for the District of New Jersey   3:17-cv-06717         THE SIMON LAW FIRM, PC
SHIELDS-MARLEY, MARIA     NJ - USDC for the District of New Jersey   3:17-cv-06684         THE SIMON LAW FIRM, PC
SMITH, BEVERLEIGH         NJ - USDC for the District of New Jersey   3:17-cv-06800         THE SIMON LAW FIRM, PC
SMITH, CASSIE             NJ - USDC for the District of New Jersey   3:17-cv-11212         THE SIMON LAW FIRM, PC
SMITH, DINA               NJ - USDC for the District of New Jersey   3:17-cv-06726         THE SIMON LAW FIRM, PC
SMITH, KATHRYN            NJ - USDC for the District of New Jersey   3:17-cv-06666         THE SIMON LAW FIRM, PC
SMITH, PATRICIA           NJ - USDC for the District of New Jersey   3:17-cv-12575         THE SIMON LAW FIRM, PC
SMITH-COWAN, TAMMY        NJ - USDC for the District of New Jersey   3:17-cv-06610         THE SIMON LAW FIRM, PC
SMITH-MYERS, DEANNE       NJ - USDC for the District of New Jersey   3:17-cv-06799         THE SIMON LAW FIRM, PC
SOLTYS, MITZI             NJ - USDC for the District of New Jersey   3:17-cv-06673         THE SIMON LAW FIRM, PC
STROM, LYNN               NJ - USDC for the District of New Jersey   3:17-cv-11055         THE SIMON LAW FIRM, PC
SYMES, KRISTINE           NJ - USDC for the District of New Jersey   3:17-cv-06862         THE SIMON LAW FIRM, PC
TAYLOR, CAROL             NJ - USDC for the District of New Jersey   3:17-cv-06999         THE SIMON LAW FIRM, PC
THOMPSON, DIANNE          NJ - USDC for the District of New Jersey   3:17-cv-12831         THE SIMON LAW FIRM, PC
THOMPSON-LOTT, JANICE     NJ - USDC for the District of New Jersey   3:17-cv-12361         THE SIMON LAW FIRM, PC
TOLIVER, MICHELLE         NJ - USDC for the District of New Jersey   3:17-cv-06734         THE SIMON LAW FIRM, PC
TORRES, NIVIA             NJ - USDC for the District of New Jersey   3:17-cv-06713         THE SIMON LAW FIRM, PC
VALIAN, ANA               NJ - USDC for the District of New Jersey   3:17-cv-07089         THE SIMON LAW FIRM, PC
VANOVER, TERRESA          NJ - USDC for the District of New Jersey   3:17-cv-06791         THE SIMON LAW FIRM, PC
VARIAN-WILLIAMS, BETH     NJ - USDC for the District of New Jersey   3:17-cv-06712         THE SIMON LAW FIRM, PC
VASQUEZ, DEBORAH          NJ - USDC for the District of New Jersey   3:17-cv-06975         THE SIMON LAW FIRM, PC
VASQUEZ, PATRICIA         NJ - USDC for the District of New Jersey   3:17-cv-12606         THE SIMON LAW FIRM, PC
WALKER, LISA              NJ - USDC for the District of New Jersey   3:17-cv-12549         THE SIMON LAW FIRM, PC
WARSHAWSKY, BEVERLY       NJ - USDC for the District of New Jersey   3:17-cv-06986         THE SIMON LAW FIRM, PC
WAUGH, PEGGY              NJ - USDC for the District of New Jersey   3:17-cv-11069         THE SIMON LAW FIRM, PC
WEISBERG, ABBIE           NJ - USDC for the District of New Jersey   3:17-cv-06613         THE SIMON LAW FIRM, PC
WHALEN, KIMBERLY          NJ - USDC for the District of New Jersey   3:17-cv-06716         THE SIMON LAW FIRM, PC
WILLIAMS, JANIS           NJ - USDC for the District of New Jersey   3:17-cv-06679         THE SIMON LAW FIRM, PC
WILLIAMSON, JEANNIE       NJ - USDC for the District of New Jersey   3:17-cv-06681         THE SIMON LAW FIRM, PC
WILSON, BERKITA           NJ - USDC for the District of New Jersey   3:17-cv-06753         THE SIMON LAW FIRM, PC
WINDNAGLE, LAURA          NJ - USDC for the District of New Jersey   3:17-cv-06772         THE SIMON LAW FIRM, PC
WINGET, EILEEN            NJ - USDC for the District of New Jersey   3:17-cv-06607         THE SIMON LAW FIRM, PC
WISNIOWICZ, LISA          NJ - USDC for the District of New Jersey   3:17-cv-06691         THE SIMON LAW FIRM, PC
WRIGHT, JACQUELYN         NJ - USDC for the District of New Jersey   3:17-cv-06695         THE SIMON LAW FIRM, PC
ZITELLA, DIANA            NJ - USDC for the District of New Jersey   3:17-cv-06683         THE SIMON LAW FIRM, PC
ABBATE, DIANE             MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
ABERCROMBIE, REGINA       MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
ABOLOS, CHRISTINA         CA - Superior Court - Kern County          BCV-17-100318         THE SMITH LAW FIRM, PLLC
ABRAM, EDWINA             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
ADAMS, DEBORAH            MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
ADAMS, NIKITA             MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
ADAMS, TERESA             MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
ADDISON, DIANNE           MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
AGNEW, ANN                MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
AHEARN, CHRISTINA         MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
AHLBIN, DIANA             NJ - USDC for the District of New Jersey   3:17-cv-00790         THE SMITH LAW FIRM, PLLC
AHLBORN, DEBBIE           MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
AHLVIN, TRACY             MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
AKINS, DIANNE             NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
ALLEN, GLENA              NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
ALLEN, JUNE               MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
ALLEN, KELLY              MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
ALLEN, KERRIE             MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
ALLEN, RONDALYN           NJ - Superior Court - Atlantic County      ATL-L-2901-15         THE SMITH LAW FIRM, PLLC
ALLEN, SHERYL             MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
ALLISON, BETTY            MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
ALLISON, SHARON           MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
ALLSHOUSE, MARGARET       MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
ALTRINGER, REBECCA        NJ - USDC for the District of New Jersey   3:17-cv-02394         THE SMITH LAW FIRM, PLLC
ALVAREZ-PEREZ, YVETTE     NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
AMIRO, HEIDI              MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
AMOGRETTI, GLORIA         NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
ANDERSON, BARBARA         MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
ANDERSON, MICHELLE        MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
ANDERSON, SHARLENE        MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
ANDERSON, VIRGNIA         MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
ANDREWS (MO), BRENDA      MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
ANDREWS, DIANE            MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
ANGELO, GAYLE-JEAN        MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
ANGLIN, JOANN             MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
APPLEWHITE, JENNY         NJ - Superior Court - Atlantic County      ATL-L-1995-14         THE SMITH LAW FIRM, PLLC
ARANGO, ADRIANA           MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
ARCHIE, THERESA           MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
ARMENDARIZ, DELIA         MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
ARMSTEAD, ETHEL           NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
ARMSTRONG, SUSAN          MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
ARNETT, TERESA            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
ARNOLD, KAREN             NJ - USDC for the District of New Jersey   3:17-cv-02394         THE SMITH LAW FIRM, PLLC
ARNSTEIN, LOIS            MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
ARROYO, ANNA              MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
ARROYO, PEGGY             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
ASCENCIO, ROSA            MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
ASHBURN, LINDA            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
ASKEW, NANCY              MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
ASKINS, PAMELA            MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
AUGUST, CAROL             MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
AYALA, JUANITA            MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
BABB, MARJORIE            NJ - USDC for the District of New Jersey   3:17-cv-00726         THE SMITH LAW FIRM, PLLC
BAILEY, DENICE            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
BAILEY-PARKER, SARAH      MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
BAKER, DEBORAH            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
BAKMAN, DEBBIE            NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
BANOVIC, GLORIA           NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
BARAN, NORA               NJ - USDC for the District of New Jersey   3:17-cv-07929         THE SMITH LAW FIRM, PLLC
BARGE, DEBORAH            NJ - Superior Court - Atlantic County      ATL-L-2891-15         THE SMITH LAW FIRM, PLLC
BARLOW, PATRICIA          MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
BARNES, MARY              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
BARNETT, NANCY            MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
BARNHART, JONI            NJ - USDC for the District of New Jersey   3:17-cv-05719         THE SMITH LAW FIRM, PLLC
BARRETT, VIOLET           CA - Superior Court - Los Angeles County   BC705973              THE SMITH LAW FIRM, PLLC
BARRY, CAROL              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
BASSEY, ANNETTE           NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
BATTAGLIA, LOIS           MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
BAXTER, ELIZABETH         MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
BECERRA, MARGARITA        MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
BENIGNO, SHERRY           MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
BENIQUEZ, FRANCESCA       MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
BENNETT, SANDRA           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
BENZ, KIMBERLY            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
BERDUE, DARLENE           NJ - USDC for the District of New Jersey   3:17-cv-00800         THE SMITH LAW FIRM, PLLC
BERGER, SUSAN             MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
BERRY, DANA               NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
BERTRAND, MARY            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
BERZLEY, JANELLE          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
BESHEARS, PEGGY           MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
BETHELL, KIMBERLY         NJ - USDC for the District of New Jersey   3:17-cv-07924         THE SMITH LAW FIRM, PLLC
BIAN, MARY                NJ - USDC for the District of New Jersey   3:17-cv-07924         THE SMITH LAW FIRM, PLLC
BIANCO, DONNA             MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
BIGBEE, BRIDGETTE         MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
BLACKFORD, CARRIE         MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
BLAES, SHAWN              MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
BLANKENCHIP, DAWN         MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC




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          Claimant Name                          State Filed                     Docket Number                Plaintiff Counsel
BLEMKER, SANDRA                  MO - Circuit Court - City of St. Louis     1722-CC11872         THE SMITH LAW FIRM, PLLC
BOERGERS, DONNA                  MO - Circuit Court - City of St. Louis     1822-CC11165         THE SMITH LAW FIRM, PLLC
BOIS, PATRICIA                   MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
BOLINGER, JEANNE                 MO - Circuit Court - City of St. Louis     1522-CC-10203        THE SMITH LAW FIRM, PLLC
BONA, MARIA                      MO - Circuit Court - City of St. Louis     1822-CC11165         THE SMITH LAW FIRM, PLLC
BOOKER, SHEILA                   MO - Circuit Court - City of St. Louis     1422-CC09326-01      THE SMITH LAW FIRM, PLLC
BOOKER, TAMMY                    MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
BORDAK, LORA                     MO - Circuit Court - City of St. Louis     1822-CC00237         THE SMITH LAW FIRM, PLLC
BORGS, HAMILTN, HORNR, JOHNSN,
                                 NJ - USDC for the District of New Jersey   3:17-cv-00794        THE SMITH LAW FIRM, PLLC
SCHULMN, VARR
BOUTERIE, TRACI                  MO - Circuit Court - City of St. Louis     1422-CC10042         THE SMITH LAW FIRM, PLLC
BOWEN, LISA                      MO - Circuit Court - City of St. Louis     1822-CC11165         THE SMITH LAW FIRM, PLLC
BOWERS, ELIZABETH                MO - Circuit Court - City of St. Louis     1422-CC10042         THE SMITH LAW FIRM, PLLC
BOYD, PAULA                      MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
BRADFORD, JANA                   MO - Circuit Court - City of St. Louis     1522-CC-10203        THE SMITH LAW FIRM, PLLC
BRAKE, DEBORAH                   MO - Circuit Court - City of St. Louis     1822-CC11165         THE SMITH LAW FIRM, PLLC
BRANNON, ALICE                   MO - Circuit Court - City of St. Louis     1622-CC00443         THE SMITH LAW FIRM, PLLC
BRIDGES, BRENDA                  NJ - USDC for the District of New Jersey   3:20-cv-01276        THE SMITH LAW FIRM, PLLC
BRIGHT, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-01276        THE SMITH LAW FIRM, PLLC
BRIMBERRY, KATHERINE             MO - Circuit Court - City of St. Louis     1522-CC-09792        THE SMITH LAW FIRM, PLLC
BRODERICK, SUSAN                 MO - Circuit Court - City of St. Louis     1822-CC00237         THE SMITH LAW FIRM, PLLC
BRONSON, JOCELINE                MO - Circuit Court - City of St. Louis     1522-CC-09792        THE SMITH LAW FIRM, PLLC
BROOKS, JOETTA                   MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
BROUWER, STEPHANIE               MO - Circuit Court - City of St. Louis     1522-CC-09792        THE SMITH LAW FIRM, PLLC
BROWN, LINDA                     CA - Superior Court - Kern County          BCV-18-100706        THE SMITH LAW FIRM, PLLC
BROWN, PATRICIA                  MO - Circuit Court - Jefferson County      18JE-CC00448         THE SMITH LAW FIRM, PLLC
BROWN, SALLY                     MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
BROWN, SHELIA                    NJ - USDC for the District of New Jersey   3:17-cv-06139        THE SMITH LAW FIRM, PLLC
BROWN, TERESA                    MO - Circuit Court - City of St. Louis     1522-CC10545         THE SMITH LAW FIRM, PLLC
BROXTON, BILLIE                  MO - Circuit Court - Jefferson County      18JE-CC00893         THE SMITH LAW FIRM, PLLC
BRUEMMER, CATHERINE              MO - Circuit Court - City of St. Louis     1722-CC11872         THE SMITH LAW FIRM, PLLC
BRYANT, DIANA                    NJ - USDC for the District of New Jersey   3:17-cv-00796        THE SMITH LAW FIRM, PLLC
BUCHECK, CURTIS                  MO - Circuit Court - City of St. Louis     1522-CC-10203        THE SMITH LAW FIRM, PLLC
BUCK, MARCIA                     NJ - Superior Court - Atlantic County      ATL-L-2900-15        THE SMITH LAW FIRM, PLLC
BUCZEK, ROYCE                    NJ - USDC for the District of New Jersey   3:17-cv-03944        THE SMITH LAW FIRM, PLLC
BURDICK, LANI                    NJ - USDC for the District of New Jersey   3:17-cv-02394        THE SMITH LAW FIRM, PLLC
BURGAN, YOLANDA                  MO - Circuit Court - City of St. Louis     1522-CC10545         THE SMITH LAW FIRM, PLLC
BURGER, DARCY                    MO - Circuit Court - Jefferson County      18JE-CC00893         THE SMITH LAW FIRM, PLLC
BURKS, KIMBERLY                  MO - Circuit Court - City of St. Louis     1822-CC11165         THE SMITH LAW FIRM, PLLC
BURNETT, KAREN                   NJ - USDC for the District of New Jersey   3:20-cv-01276        THE SMITH LAW FIRM, PLLC
BURNS, JOANEVA                   MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
BURRELL, BEVERLY                 MO - Circuit Court - City of St. Louis     1622-CC00443         THE SMITH LAW FIRM, PLLC
BURRESS, ANNETTE                 MO - Circuit Court - City of St. Louis     1522-CC-09792        THE SMITH LAW FIRM, PLLC
BUTLER, AMELIA                   MO - Circuit Court - Jefferson County      18JE-CC00893         THE SMITH LAW FIRM, PLLC
BUTTERWORTH, CINDY               MO - Circuit Court - City of St. Louis     1522-CC00613         THE SMITH LAW FIRM, PLLC
BUTTS, PAMELA                    NJ - Superior Court - Atlantic County      ATL-L-2889-15        THE SMITH LAW FIRM, PLLC
CABALLERO, TAMI                  NJ - USDC for the District of New Jersey   3:20-cv-01276        THE SMITH LAW FIRM, PLLC
CAIN, MELBA                      MO - Circuit Court - City of St. Louis     1622-CC00134         THE SMITH LAW FIRM, PLLC
CALANDRA, JOY                    MO - Circuit Court - Jefferson County      18JE-CC00448         THE SMITH LAW FIRM, PLLC
CALHOON, SANDRA                  MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
CALHOUN, BECKY                   NJ - USDC for the District of New Jersey   3:19-cv-16059        THE SMITH LAW FIRM, PLLC
CALLAHAN, TINA                   NJ - Superior Court - Atlantic County      ATL-L-2899-15        THE SMITH LAW FIRM, PLLC
CALLISON, MARIA                  MO - Circuit Court - City of St. Louis     1622-CC00443         THE SMITH LAW FIRM, PLLC
CAMP, CARLA                      MO - Circuit Court - City of St. Louis     1522-CC00613         THE SMITH LAW FIRM, PLLC
CAMPOS, TERESA                   MO - Circuit Court - City of St. Louis     1522-CC10545         THE SMITH LAW FIRM, PLLC
CANADY, CHRISTINE                MO - Circuit Court - City of St. Louis     1822-CC00237         THE SMITH LAW FIRM, PLLC
CARAWAY, PAULETTE                MO - Circuit Court - City of St. Louis     1622-CC00134         THE SMITH LAW FIRM, PLLC
CARBAJAL, LIDIA                  NJ - USDC for the District of New Jersey   3:17-cv-03945        THE SMITH LAW FIRM, PLLC
CARDER, CRYSTAL                  MO - Circuit Court - City of St. Louis     1622-CC00134         THE SMITH LAW FIRM, PLLC
CARRIER, KAREN                   MO - Circuit Court - City of St. Louis     1822-CC00237         THE SMITH LAW FIRM, PLLC
CARROLL, SHARON                  MO - Circuit Court - City of St. Louis     1722-CC11872         THE SMITH LAW FIRM, PLLC
CARROLL, SHARON                  MO - Circuit Court - City of St. Louis     1422-CC10042         THE SMITH LAW FIRM, PLLC
CARTER, LYNETTE                  MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
CARTER, RHONDA                   MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
CARY, LYNN                       MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
CASAS, SOLANGEL                  MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
CASCI, KATHLEEN                  MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
CASEY, DONNA                     MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
CASEY, KATHERINE                 NJ - USDC for the District of New Jersey   3:19-cv-16059        THE SMITH LAW FIRM, PLLC
CASEY, PATRICIA                  MO - Circuit Court - City of St. Louis     1522-CC-09792        THE SMITH LAW FIRM, PLLC
CASTILLO, PAULA                  MO - Circuit Court - City of St. Louis     1522-CC-10203        THE SMITH LAW FIRM, PLLC
CATAPANO, ROSEANNE               MO - Circuit Court - City of St. Louis     1522-CC10545         THE SMITH LAW FIRM, PLLC
CECHURA, MARY                    NJ - USDC for the District of New Jersey   3:19-cv-16059        THE SMITH LAW FIRM, PLLC
CHAMBERS, BONNIE                 MO - Circuit Court - City of St. Louis     1622-CC00443         THE SMITH LAW FIRM, PLLC
CHAPPELL, KELLY                  MO - Circuit Court - City of St. Louis     1622-CC-00837        THE SMITH LAW FIRM, PLLC
CHARLES-ADAMS, CELIA             MO - Circuit Court - City of St. Louis     1622-CC00443         THE SMITH LAW FIRM, PLLC
CHARTER, MELINDA                 MO - Circuit Court - City of St. Louis     1522-CC00811         THE SMITH LAW FIRM, PLLC
CHASE, ELIZABETH                 NJ - USDC for the District of New Jersey   3:19-cv-16059        THE SMITH LAW FIRM, PLLC
CHERRA, NARINDER                 MO - Circuit Court - City of St. Louis     1722-CC11872         THE SMITH LAW FIRM, PLLC
CHESNUTT, MACKIE                 NJ - USDC for the District of New Jersey   3:20-cv-01276        THE SMITH LAW FIRM, PLLC




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        Claimant Name                              State Filed                      Docket Number                    Plaintiff Counsel
CHESTEEN, MOLLY                    NJ - Superior Court - Atlantic County      ATL-L-414-14              THE SMITH LAW FIRM, PLLC
CHIMENTO, GAIL                     NJ - USDC for the District of New Jersey   3:17-cv-02396             THE SMITH LAW FIRM, PLLC
                                                                              30-2018-00988028-CU-MT-
CHIMITS, JUDI                      CA - Superior Court - Orange County                                  THE SMITH LAW FIRM, PLLC
                                                                              CXC
CHOATE, MARY                       MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
CHOLEWA, JANET                     MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
CISCO, CAROLYN                     MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
CLARK, PATRICIA                    NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
CLARK-HANSEN, LAURA                MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
CLARK-HESTER, TAMMY                MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
CLAVARIO, MARIA                    MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
CLEMENTS, AMY                      NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
CLINKENBEARD, ABIGALE              MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
COBB, VANDRA                       MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
COLE, VONSEAL                      MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
COLEMAN, TONA                      MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
COLLISON, LINDA                    CA - Superior Court - Fresno County        18CECG02789               THE SMITH LAW FIRM, PLLC
COLWELL, CHERYL                    MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
COLWELL, ROYA                      MO - Circuit Court - City of St. Louis     1822-CC11165              THE SMITH LAW FIRM, PLLC
COMBS, DELLAJEAN                   NJ - USDC for the District of New Jersey   3:17-cv-00800             THE SMITH LAW FIRM, PLLC
CONLEY, ROBERTA                    NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
COOK, KYNDA                        NJ - USDC for the District of New Jersey   3:17-cv-03945             THE SMITH LAW FIRM, PLLC
COOK, PRISCILLA                    NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
COOPER, CHERYL                     MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
COOPER, CLARICE                    MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
COSTA, JULIE                       NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
COSTA, KATHLEEN                    MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
COTCAMP, CAROLYN                   NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
COTTON, VICTORIA                   MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
CRAIG, CANDACE                     NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
CRAWLEY, LISA                      NJ - Superior Court - Atlantic County      ATL-L-000045-16           THE SMITH LAW FIRM, PLLC
CRISMON, CYNTHIA                   CA - Superior Court - Riverside County     RIC1819719                THE SMITH LAW FIRM, PLLC
CRISOSTOMO, YOLANDA                NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
CROBARGER, KALA                    CA - Superior Court - San Diego County     37-2018-33875-CU-PL-NC    THE SMITH LAW FIRM, PLLC
CROCHET, JODY                      MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
CROMER, SOMBEN                     NJ - USDC for the District of New Jersey   3:17-cv-00790             THE SMITH LAW FIRM, PLLC
CROSS, MARY                        NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
CROWDER, DEBORAH                   NJ - Superior Court - Atlantic County      ATL-L-2898-15             THE SMITH LAW FIRM, PLLC
CRUMLISH, KATHLEEN                 MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
CUNNINGHAM, PATRICIA               MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
CUNNINGHAM-SCURTO, MARY            NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
CUPO, MARION                       MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
DAHL, MICHELE                      NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
DANEK, SHIRLEY                     NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
DANIELS, NORA                      MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
DANKO, MAERUSHKA                   MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
DAVILA, DIANA                      MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
DAVIS, ALISHIA                     MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
DAVIS, D.; GIROLAMO, B.; SETZER,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07927             THE SMITH LAW FIRM, PLLC
C.; TALUCCI, B.
DAVIS, LYNAE                       MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DAVIS, MARABETH                    MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
DAY, MELISSA                       CA - Superior Court - Santa Clara County   18CV323999                THE SMITH LAW FIRM, PLLC
DEATON, LEA                        MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
DEBLOCK, DARLINE                   MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
DECKER, KATHERINE                  MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
DECKER, MARTHA                     MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
DEGIDIO, KATHLEEN                  MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
                                                                              30-2018-01035843-CU-PL-
DEGIDIO-MUELLER, CHRISTINA         CA - Superior Court - Orange County                                  THE SMITH LAW FIRM, PLLC
                                                                              CXC
DEJESUS, EVELYN                    NJ - USDC for the District of New Jersey   3:17-cv-02394             THE SMITH LAW FIRM, PLLC
DELGADO, HERLINDA                  MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
DELISA, CAROL                      MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
DEMAREE, SHIRLEY                   MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DEMELLO, KAREN                     NJ - USDC for the District of New Jersey   3:17-cv-00726             THE SMITH LAW FIRM, PLLC
DENNARD, PAULA                     MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
DENNIS, HELENA                     MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
DERBAUM, TREVA                     MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DERITA, DOLORES                    MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
DESTEFANO, LAURA                   MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
DEVORE, KUIKIEW                    MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
DEXTER, JANET                      NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
DIAMOND-COX, HOPE                  MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DIBATTISTA, LESLIE                 MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
DICKEY, GLENDA                     MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
DIMARZO, MARION                    NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
DIMATULAC, CECILIA                 MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
DIRKS, SHARONDA                    MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
DIROCCO, MARY                      MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
DIVINE, DIANA                      NJ - USDC for the District of New Jersey   3:17-cv-00800             THE SMITH LAW FIRM, PLLC




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          Claimant Name                              State Filed                      Docket Number                    Plaintiff Counsel
DOKTER, LINDA                        MO - Circuit Court - City of St. Louis     1822-CC11533              THE SMITH LAW FIRM, PLLC
DOLL, LINDA                          MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
DONALS, DEBORAH                      NJ - Superior Court - Atlantic County      ATL-L-2394-14             THE SMITH LAW FIRM, PLLC
DONNELLY, CINDY                      NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
DONNER, LYDIA                        MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
DONOHUE, ROBIN                       MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
DOOLEY, DIANA                        NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
DOUGLAS, JOANN                       MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DOWD, DEBORAH                        NJ - USDC for the District of New Jersey   3:17-cv-03944             THE SMITH LAW FIRM, PLLC
DOYLE, JESSICA                       MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
DRAKE, RANN                          MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
DRAYTON, REBECCA                     MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
DRYER-ANDREWS, JOYCE                 MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
DUBOSE, DORA                         MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
DUCKWORTH, MADALINE                  MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DUFFY, DENISE                        MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
DUKES, KATHLEEN                      MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
DUNLAP, NUANA                        MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
DUNN, PEGGY                          MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
DUNN, SHELIA                         NJ - Superior Court - Atlantic County      ATL-L-2972-15             THE SMITH LAW FIRM, PLLC
DURAN, CATHERINE                     MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
DUTTON, AMY                          MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
DUVALL, MICHELE                      MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
DYE, SANDRA                          MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
EARL, SUZETTE                        MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
EASTERLING-TORGIANI, JULIA           MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
EASTMAN, ALMA                        NJ - USDC for the District of New Jersey   3:17-cv-00790             THE SMITH LAW FIRM, PLLC
EDDLEMAN, TERI                       MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
EDWARDS, DENISE                      NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
EDWARDS, PAMELA                      NJ - USDC for the District of New Jersey   3:17-cv-07933             THE SMITH LAW FIRM, PLLC
EITEL, DOROTHY                       MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
ELLIOT, SHERYL                       MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
ELLIS, BRENDA                        MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
ENDERS, GEORGINA                     MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
ENDSLEY, DELLA                       MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
ENGLAND, CHRIS                       MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
ENGLISH, BONNIE                      NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
ENSOR, BARBARA                       MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
ERICKSON, CYNTHIA                    MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
ERICKSON, TERESA                     MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
ERIVES, ELSA                         MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
ERPELDING, LYNNE PHILLIPS            CA - Superior Court - Sacramento County    34-2018-00231685          THE SMITH LAW FIRM, PLLC
ESTELLE, PAMELA                      NJ - USDC for the District of New Jersey   3:17-cv-02396             THE SMITH LAW FIRM, PLLC
EVANOSKI, LINDA                      MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
EVANS, ERON                          MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
EVANS, PENNY                         NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
EVANS-MORRISON, FELICIA              MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
FAHS, BONITA                         MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
FANEUF, TAMATHA                      MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
FANSLER, MARY                        NJ - USDC for the District of New Jersey   3:17-cv-03946             THE SMITH LAW FIRM, PLLC
FARMER, DANA                         MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
FARRO, RISA                          MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
                                                                                56-2018-00519620-CU-PL-
FEARON, SUSAN                        CA - Superior Court - Ventura County                                 THE SMITH LAW FIRM, PLLC
                                                                                VTA
FEARS, MILDRED                       MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
FELTHOUSEN, BONNIE                   MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
FENNELL, LAVERNE                     MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
FERLITA, STEPHANIE                   MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
FERRARA, JOAN                        MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
FESTA, RAMONA                        MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
FIELDS, SUSAN                        MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
FILLEUL, SUZANN                      NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
FINCK, LISA                          MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
FINLEY, DANA                         MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
FIRTH, DELORES                       NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
FISHKIND, LYNN                       MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
FITZPATRICK, DEBORAH                 NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
FLETCHER, CATHERINE                  MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
FLORES, CORAZON                      MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
FLORES, ESTHER                       NJ - Superior Court - Atlantic County      ATL-L-2845-15             THE SMITH LAW FIRM, PLLC
FLOWERS, SAMANTHA                    MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
FLOYD, JENNIFER                      MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
FODA, RANDA                          MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
FORMALEJO, TONI                      MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
FORREST, V.; GIESE, V.;MARINO, D.;
                                     MO - Circuit Court - City of St. Louis     1522-CC00419              THE SMITH LAW FIRM, PLLC
VOGELER, S.
FOSTER, ZIPPORAH                     MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
FOWLE, KAREN                         NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
FOWLER, CHERYL                       MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
FOWLER, FAITH                        NJ - USDC for the District of New Jersey   3:17-cv-00790             THE SMITH LAW FIRM, PLLC




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
FOWLER, MARY              MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
FOX, VANESSA              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
FRANK, ERIN               NJ - USDC for the District of New Jersey   3:17-cv-00726         THE SMITH LAW FIRM, PLLC
FRAUSTO, BEATRIZ          NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
FRAUSTO, BEATRIZ          NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
FREDERICK, AMY            MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
FREEMAN, KIM              NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
FREEMAN, SANDRA           NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
FREIDA, ANNAMARIE         MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
FREITAS, PHYLLIS          MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
FRIEND, DARLENE           NJ - USDC for the District of New Jersey   3:17-cv-00800         THE SMITH LAW FIRM, PLLC
FUOCCO, CHARLENE          MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
FUOCO, CHARLENE           MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
GABRIELE, CARMELA         MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
GAGNON, GEORGEANNE        MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
GALIAZZI, MARIE           MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
GALLOWAY, YVONNE          CA - Superior Court - Santa Clara County   18CV323998            THE SMITH LAW FIRM, PLLC
GAMAUNT, JOANNE           MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
GANN, SHERRY              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
GARCIA, KIM               MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
GARCIA, LILLIAN           NJ - USDC for the District of New Jersey   3:17-cv-00798         THE SMITH LAW FIRM, PLLC
GARCIA, TAMMY             MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
GARCIA-FERRY, LINDA       CA - Superior Court - Los Angeles County   BC703709              THE SMITH LAW FIRM, PLLC
GARDINER, MILDRED         MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
GARDNER, MLISSA           MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
GARZA, DIANA              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
GAUTHIER, LYNN            NJ - Superior Court - Atlantic County      ATL-L-3568-14         THE SMITH LAW FIRM, PLLC
GENTILE, MARIA            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
GEORGATOS, JEAN           MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
GERMANY, GAYLA            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
GERRISH, ANMBRA           MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
GEYER, PATRICIA           NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
GIBAS, MARJORIE           MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
GIBBS, KENDRA             MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
GIBSON, DEVIN             MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
GIBSON, HELEENA           NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
GIBSON-PACK, ALECIA       MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
GILES, RUTH               NJ - Superior Court - Atlantic County      ATL-L-2888-15         THE SMITH LAW FIRM, PLLC
GIPSON, REGINA            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
GIVEN, KATHERINE          NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
GLANZ, KAREN              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
GLASSTANG, MARY           NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
GODWIN, MARY              MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
GOENS, AMY                MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
GOINES, PATRICIA          NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
GOINGS, MARILOU           CA - Superior Court - Santa Clara County   18CV323995            THE SMITH LAW FIRM, PLLC
GOLDSTEIN, LORRAINE       NJ - USDC for the District of New Jersey   3:17-cv-03945         THE SMITH LAW FIRM, PLLC
GONSALVES, GEORGIANN      NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
GONZALES, BARBARA         MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
GONZALES, CARMEN          MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
GONZALES, JAMIE           MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
GOODE, WENDY              MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
GOODEN, CATHERINE         MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
GOODIN, DIANE             MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
GORDON, BARBARA           NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
GORDON, FREYA             NJ - USDC for the District of New Jersey   3:17-cv-00790         THE SMITH LAW FIRM, PLLC
GORDON, JEANNE            MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
GORDON, NIKOLINA          MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
GORTAREZ, RACHEL          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
GRACE, ROBYN              MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
GRAHAM, GAYLE             NJ - USDC for the District of New Jersey   3:17-cv-07933         THE SMITH LAW FIRM, PLLC
GRAHAM, KATHLEEN          MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
GRAMUGLIA, CARMELA        NJ - USDC for the District of New Jersey   3:17-cv-00798         THE SMITH LAW FIRM, PLLC
GRANT, RENEE              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
GREEN, ALETA              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
GREEN-HINES, YOLANDA      NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
GREEN-NEWMAN, CARMEN      MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
GREGORY, KAREN            NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
GRIFFITH, JULIA           MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
GRIJALVA, LAUREN          NJ - USDC for the District of New Jersey   3:17-cv-02394         THE SMITH LAW FIRM, PLLC
GROOME, SHARON            MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
GRUALY-MALDONADO, LARA    MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
GUARD, LOUISA             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
GUILLAUME, CHRISTINE      MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
GUITY, KATHY              NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
GURGANUS, MARILYN         MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
GUYNES, LOIS              CA - Superior Court - Amador County        18CV10687             THE SMITH LAW FIRM, PLLC
GWYNNE, ALICIA            CA - Superior Court - Sutter County        CVCS17-1456           THE SMITH LAW FIRM, PLLC
HAAS, JOANNE              MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
HAAS, JOANNE              NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC




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          Claimant Name                     State Filed                      Docket Number                Plaintiff Counsel
HACHEM, FATME               MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
HAGAN, LEONA                MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
HAILE, SHEILA               MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
HAILS, ANNE                 MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
HAKE, ROSALIE               MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HALL, DIANA                 MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
HALL, HEATHER               MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
HALL, IRA                   MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
HALL, MABLE                 MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
HALL, NORMA                 MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
HALLIDAY-CORNELL, FRANCES   NJ - USDC for the District of New Jersey   3:17-cv-00726         THE SMITH LAW FIRM, PLLC
HALSEY, PEGGY               MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
HAMEL, LINDA                NJ - USDC for the District of New Jersey   3:17-cv-02396         THE SMITH LAW FIRM, PLLC
HAMILL, LYNNE               MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
HAMILTON, ALICE             MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
HANDELMAN, KIM              MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
HANKINS, TRACY              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HANNAH, DAWN                MO - Circuit Court - City of St. Louis     1722-CC10745          THE SMITH LAW FIRM, PLLC
HANNIGAN, DEYANIRA          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
HANSEN, NANCI               MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
HARABUC, VIRGINIA           MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
HARDESTY, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
HARDY, ERAINA               MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
HARGROVE, TONI              NJ - USDC for the District of New Jersey   3:17-cv-07933         THE SMITH LAW FIRM, PLLC
HARRIS, DEBORAH             MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
HARRIS, JOYCE               MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
HARRIS, KIMBERLY            MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
HARRIS, RITA                MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
HARRISON, MARILYN           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
HARRISON, RACHEL            MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
HATCH, TANYA                MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
HATCH-WILLS, CHRISTY        MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HAUN, RUTH                  MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
HAYES, TAMMY                MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
HAZEN, ROSANNE              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
HEARD, ROSE                 NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
HEARNS, ROBIN               MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
HEATH, ARDYTH               MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
HEATHERLY, CHARLOTTE        MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HEFFNER, CHERYL             NJ - USDC for the District of New Jersey   3:17-cv-00726         THE SMITH LAW FIRM, PLLC
HEINISCH, SHIRLEY           CA - Superior Court - San Mateo County     18-CIV-4501           THE SMITH LAW FIRM, PLLC
HEKKEMA, PATRICIA           MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
HELLIWELL, LINDA            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
HEMMINGER, SALLY            MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
HENDERSON, ETHELENE         MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HENNIGAN, PAMELA            MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
HEREDIA, ANDREA             MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
HERNANDEZ, EVA              MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
HERNANDEZ, MAGDALENA        MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HERNANDEZ, YOLANDA          NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
HERRELL, KAY                MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
HERRERA, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
HERRING, EVONNE             NJ - USDC for the District of New Jersey   3:17-cv-05719         THE SMITH LAW FIRM, PLLC
HERSHMAN, ANGELA            MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
HERTZ, PAMELA               MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
HIGGINS, CHRISTINE          NJ - Superior Court - Atlantic County      ATL-L-2905-15         THE SMITH LAW FIRM, PLLC
HILF, KELLY                 MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
HILL, CAROL                 MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
HILL, JUANITA               MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
HILL, ROBIN                 MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
HILLIGOSS, JANET            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
HILTON, SARAH               NJ - USDC for the District of New Jersey   3:17-cv-00790         THE SMITH LAW FIRM, PLLC
HINKLE, JOANNA              MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
HODGINS, MABLE              NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
HOFHEIMER, ELAINE           MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HOGAN, MARCHETTE            MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
HOLLAND, JENNIFER           MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
HOLLIS, LINDA               CA - Superior Court - Santa Clara County   18CV324329            THE SMITH LAW FIRM, PLLC
HOLLOWAY, ADRIANNE          NJ - Superior Court - Atlantic County      ATL-L-2846-15         THE SMITH LAW FIRM, PLLC
HOLMES, LYNNE               MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
HOLMES, MERIDITH            NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
HOLUBIK, BONNIE             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
HONG, SEUNGYEON             MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
HOOPER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
HOOPER, RENEE               MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
HORN, DENISE                NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
HOUSEL, KATHLEEN            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
HOWARD, LAKISHIA            NJ - USDC for the District of New Jersey   3:17-cv-00790         THE SMITH LAW FIRM, PLLC
HOWELL, CHERYL-ANNE         NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
HOY, BEVERLY                MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC




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          Claimant Name                       State Filed                    Docket Number                    Plaintiff Counsel
HUFSTEDLER, KAREN           NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
HUNTER, JACQUELINE          MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
HUNTLEY, LASHUNDA           MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
HURTADO, ELIZABETH          MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
HUSMAN, HEIDI               NJ - USDC for the District of New Jersey   3:17-cv-00726             THE SMITH LAW FIRM, PLLC
HYATT, CARLA                MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
HYVARINEN, ANNE             CA - Superior Court - Los Angeles County   BC667084                  THE SMITH LAW FIRM, PLLC
ITURRERIA, SUSAN            NJ - USDC for the District of New Jersey   3:17-cv-05719             THE SMITH LAW FIRM, PLLC
JACKSON, ALICESTINE         MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
JACKSON, JOAN               MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
JACKSON, MARGARET           MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
JACQUEZ, NANCY              NJ - USDC for the District of New Jersey   3:17-cv-03946             THE SMITH LAW FIRM, PLLC
JANUARY, DOLLIE             MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
JARMUZ, MARIANNE            NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
JEFFERY, MARY               NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JEFFREY, INGRID             NJ - Superior Court - Atlantic County      ATL-L-2847-15             THE SMITH LAW FIRM, PLLC
JENKINS, DEBRA              MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
JENSEN, DALENE              MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
JENSEN, MAIREAD             MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
JOHNS, NANCY                MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
JOHNS, TAMIKA               NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
JOHNSON, ARLENE             MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
JOHNSON, CATHY              MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
JOHNSON, CONSTANCE          NJ - USDC for the District of New Jersey   3:17-cv-07929             THE SMITH LAW FIRM, PLLC
JOHNSON, DIANE              NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JOHNSON, HELEN              MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
JOHNSON, KATHLEEN           MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
JOHNSON, LISA               MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
JOHNSON, LISA               NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JOHNSON, MARY               NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JOHNSON, MILDRED            MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
JOHNSON, SAMANTHA           MO - Circuit Court - City of St. Louis     1822-CC11165              THE SMITH LAW FIRM, PLLC
JOHNSON, SHERRY             MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
JONES, BARBARA              MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
JONES, CYNTHIA              MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
JONES, DECARLA              NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JONES, DORIS                NJ - Superior Court - Atlantic County      ATL-L-772-14              THE SMITH LAW FIRM, PLLC
JONES, FANNIE               NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
JONES, FRANCINE             NJ - Superior Court - Atlantic County      ATL-L-2848-15             THE SMITH LAW FIRM, PLLC
JONES, KATHRYN              NJ - USDC for the District of New Jersey   3:17-cv-02394             THE SMITH LAW FIRM, PLLC
JONES, LILLIE               MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
JONES, MARY                 NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JONES, NANCY                NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
JONES, NETRA                MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
JONES, SANDRA               MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
JONES, SHARION              MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
JONES, VANESSA              MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
JORDAN, RHONDA              MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
JORDAN, VENESSA             NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
JUANITEZ, TERESITA          MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
JUMP, JOHNNA                MO - Circuit Court - Jefferson County      18JE-CC00893              THE SMITH LAW FIRM, PLLC
JUSTICE, LINDA              MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
KANN, JONELLE               NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
KARO, JOAN                  MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
KASPRZAK, LINDA             MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
KATTMAN, LESLIE             MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
KAWELASKE, SUZANNA          MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
KEATING, RENEE              MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
KEETON, PATRICIA            MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
KELLEY, BRENDA              MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
KELLEY, KAREN               IL - Circuit Court - Cook County           2019L065076               THE SMITH LAW FIRM, PLLC
KELLY, BRIANA               MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
KELLY, KATHLEEN             NJ - USDC for the District of New Jersey   3:17-cv-00800             THE SMITH LAW FIRM, PLLC
KELLY, MARGARET             MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
KENT, MONICA                NJ - USDC for the District of New Jersey   3:17-cv-00800             THE SMITH LAW FIRM, PLLC
KEPHART, LORETTA            MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
KERCHINER, CATHY            MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
KERN, BARBARA               NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
KERP, SUSAN                 NJ - USDC for the District of New Jersey   3:17-cv-05719             THE SMITH LAW FIRM, PLLC
KERRIGAN, KAREN             MO - Circuit Court - City of St. Louis     1822-CC11165              THE SMITH LAW FIRM, PLLC
KEYS, DEBRA                 CA - Superior Court - Placer County        T18-146                   THE SMITH LAW FIRM, PLLC
KHAZZAKA, ALISE             NJ - USDC for the District of New Jersey   3:17-cv-00798             THE SMITH LAW FIRM, PLLC
KIELISZEK, CLARA            MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
                                                                       30-2018-00995844-CU-PL-
KIJAK, LISA                 CA - Superior Court - Orange County                                  THE SMITH LAW FIRM, PLLC
                                                                       CXC
KIRCHHOFF, LYNN             MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
KIRK, KAREN                 MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
KISSELL, MARIA              MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
KITT, MICHELLE              MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
KLOSTERMAN-ROCK, VERONICA   MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC




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           Claimant Name                     State Filed                      Docket Number                    Plaintiff Counsel
KNUDSEN, EDNA                MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
KOHLER, LINDA                MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
KOWALEWSKI, GERALDINE        MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
KREBS, JENNIFER              MO - Circuit Court - City of St. Louis     1822-CC11533              THE SMITH LAW FIRM, PLLC
KREGELIKA, ANTOINETTE        MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
KROPP, DEBRA                 NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
KUBANEK, DEBRA               NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
KURDES, FRANCES              NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
KURIAN, LISSY                CA - Superior Court - Kern County          BCV-18-101543             THE SMITH LAW FIRM, PLLC
LAFERNEY, MARY               NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
LAMB, GENA                   MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
LAMB, MADGE                  MO - Circuit Court - City of St. Louis     1822-CC11533              THE SMITH LAW FIRM, PLLC
LANG, MICHELLE               NJ - USDC for the District of New Jersey   3:17-cv-03946             THE SMITH LAW FIRM, PLLC
LANGE, FRANCES               MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
LANGEN, DIANA                NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
LANZ, CYNTHIA                MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
LARA, CHRISTINE              CA - Superior Court - Los Angeles County   BC715169                  THE SMITH LAW FIRM, PLLC
LARRAMENDY, RAMONA           MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
LASECKI, RUTH                MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
LAVENDER, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-07929             THE SMITH LAW FIRM, PLLC
LAVIGNA, MARY                NJ - USDC for the District of New Jersey   3:17-cv-03944             THE SMITH LAW FIRM, PLLC
LE DOYEN, CECILIA            MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
LEADLEY, MARY                NJ - USDC for the District of New Jersey   3:17-cv-03944             THE SMITH LAW FIRM, PLLC
LEDBETTER, MELINDA           MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
LEE, HELLENA                 NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
LEE, JUDY                    MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
LEGLER, PATRICIA             MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
LEHN, ELLISSA                MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
LESTER, ANITA                MO - Circuit Court - City of St. Louis     1422-CC10042              THE SMITH LAW FIRM, PLLC
LEWIS, JACKIE                MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
LEWIS, LAURA                 MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
LEWIS, VIVIAN                NJ - USDC for the District of New Jersey   3:17-cv-00796             THE SMITH LAW FIRM, PLLC
LIDDIL, RITA                 MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
LIEVANOS, MARIA              MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
LIGHT, ELAINE                MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
LINDAHL, VICKI               MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
LINDQUIST, SUZANNE           MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
LINICOMN, VERTENIA           MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
LIPCOMB, MADDONNA            MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
LIPMAN, CYNTHIA              NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
LITSON, SARAH                MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
LIVAUDAIS, SHARON            MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
LIVINGSTON, SANDRA           MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
LOCKE, ASHLEY                NJ - USDC for the District of New Jersey   3:17-cv-07929             THE SMITH LAW FIRM, PLLC
LOE, TERRY                   MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
LONGMIRE, LINDA              NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
LOOKINGBILL, FRANCES         NJ - USDC for the District of New Jersey   3:17-cv-00726             THE SMITH LAW FIRM, PLLC
LOPEZ, BARBARA               MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
LOPEZ, MARIA                 MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
LOPEZ-RODRIGUEZ, ELIZABETH   MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
LOVE, LOLA                   MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
LOVELADY, CYNDY              MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
LOWE, CHERYL                 MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
LOWELL, DIMITY               MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
LOYD, CAROLINE               MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
LOZANO, ROSA                 NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
LUCIANI, CARRIE              MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
LUTZ, CHRISTENE              MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
MACKENZIE, CYNTHIA           MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
MADRID, CLARA                MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
MAHARG, DENISE               MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
                                                                        30-2018-00988014-CU-MT-
MAHONEY, JUDY                CA - Superior Court - Orange County                                  THE SMITH LAW FIRM, PLLC
                                                                        CXC
MAIBACH, DAWN                MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
MAITLAND, ELOISE             NJ - USDC for the District of New Jersey   3:17-cv-02394             THE SMITH LAW FIRM, PLLC
MALDONADO, TAMMY             MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
MANN, ERIN                   MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MARDEN, LOUISE               NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MARKIN, TANYA                MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MARSHALL, ETHEL              NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
MARTEN, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
MARTIN, RHONDA               MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
MARTINEZ, LYNDA              MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MARTINEZ, MARIA              NJ - USDC for the District of New Jersey   3:17-cv-00790             THE SMITH LAW FIRM, PLLC
MARTZ, PATRICIA              MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
MASON, CHERYL                MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MASON, HOPE                  MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MATHIS, ADA                  MO - Circuit Court - Jefferson County      18JE-CC00448              THE SMITH LAW FIRM, PLLC
MATTHEWS, DEBORAH            MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
MATTHEWS, SANDRA             MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC




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         Claimant Name                             State Filed                      Docket Number                    Plaintiff Counsel
MATTIA, SHELAH                     MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
MATTSON, STEPHANIE                 NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MAXWELL, SHARON                    MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
MAY, IDA                           MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MAZZUCA, KATHLEEN                  NJ - USDC for the District of New Jersey   3:17-cv-00798             THE SMITH LAW FIRM, PLLC
MCCLAIN, MELISSA                   MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MCCLANAHAN, KAREN                  MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
MCCLEARN, MEILING                  MO - Circuit Court - City of St. Louis     1822-CC00237              THE SMITH LAW FIRM, PLLC
MCCULLEN, CAROL                    MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MCDONALD, MARJORIE                 CA - Superior Court - Shasta County        190511                    THE SMITH LAW FIRM, PLLC
MCDONALD, MAYONA                   MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
MCGLOTHIN, RIKAYAH                 NJ - USDC for the District of New Jersey   3:17-cv-07924             THE SMITH LAW FIRM, PLLC
MCGONIGLE, JOYCE                   NJ - USDC for the District of New Jersey   3:17-cv-02396             THE SMITH LAW FIRM, PLLC
MCKEE, CYNTHIA                     MO - Circuit Court - City of St. Louis     1622-CC00443              THE SMITH LAW FIRM, PLLC
MCKIERMAN, MARIA                   NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MCKINIGHT, LISA                    MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MCKINNEY, LINDA                    MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
MCKINZIE, SHIRLEY                  NJ - USDC for the District of New Jersey   3:17-cv-02396             THE SMITH LAW FIRM, PLLC
MCLANE, BRENDA                     MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
MCLEAN, JILL                       NJ - USDC for the District of New Jersey   3:17-cv-03946             THE SMITH LAW FIRM, PLLC
MCMILLIAN, MILDRED                 MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
MCNABB, HUE                        MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
MCQUILLEN, KAREN                   NJ - USDC for the District of New Jersey   3:17-cv-00790             THE SMITH LAW FIRM, PLLC
MCQUOWN, LINDA                     CA - Superior Court - San Diego County     37-2018-38363-CU-PL-CTL   THE SMITH LAW FIRM, PLLC
MCSHANE, DARLENE                   CA - Superior Court - Los Angeles County   BC719091                  THE SMITH LAW FIRM, PLLC
MCTAMNEY, LAURALEE                 NJ - USDC for the District of New Jersey   3:17-cv-00726             THE SMITH LAW FIRM, PLLC
MCVEAN, CYNTHIA                    MO - Circuit Court - City of St. Louis     1622-CC00134              THE SMITH LAW FIRM, PLLC
MEADOR, CHRISTINA                  MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
MEARS, MARCIA                      MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
MEDINA, FRNACES                    NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MEDINA, MARY                       MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
MEEKS, JESSLYN                     NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
MEEKS, REBECCA                     MO - Circuit Court - City of St. Louis     1422-CC09326-01           THE SMITH LAW FIRM, PLLC
MEIER, CYNTHIA                     NJ - USDC for the District of New Jersey   3:17-cv-05720             THE SMITH LAW FIRM, PLLC
MELANSON, ANDREA                   NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
MELBERGER, B., RHODE, J.; ROCKS,
                                   NJ - USDC for the District of New Jersey   3:17-cv-07910             THE SMITH LAW FIRM, PLLC
P.; WORLEY, K.
MENDEZ, DELIA                      MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MENG, KATHRYN                      NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
MENSTER, KRISTINE                  MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
MENTO, CATHERINE                   MO - Circuit Court - City of St. Louis     1822-CC06811              THE SMITH LAW FIRM, PLLC
MENZEL, PEGGY                      MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MERCADO, KATHRYN                   MO - Circuit Court - City of St. Louis     1422-CC09821              THE SMITH LAW FIRM, PLLC
MEREDITH, AISHA                    MO - Circuit Court - City of St. Louis     1822-CC11533              THE SMITH LAW FIRM, PLLC
MERRIMAN, EBONEY                   MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
MERRITT, FRAN                      NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
METZGER, CAROL                     MO - Circuit Court - City of St. Louis     1822-CC11165              THE SMITH LAW FIRM, PLLC
METZLER, DIANNA                    NJ - USDC for the District of New Jersey   3:17-cv-03945             THE SMITH LAW FIRM, PLLC
MICK, LU                           MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MIERA, PAMELA                      MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
MILLAR, EVE                        NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MILLER, ROBIN                      NJ - USDC for the District of New Jersey   3:17-cv-07933             THE SMITH LAW FIRM, PLLC
MIRANDA, MARIA                     NJ - Superior Court - Atlantic County      ATL-L-2970-15             THE SMITH LAW FIRM, PLLC
MITCHELL, JULIET                   NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
MITCHELL, LAURIE                   MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
MITCHEM, CARLETTA                  MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
MITCHUM, SUSAN                     MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
MODISETTE, MARTHA                  MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MONTANO, PENNY                     MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
MONTERROSO, JOANN                  MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MONTOYA, ROSE                      MO - Circuit Court - City of St. Louis     1522-CC00613              THE SMITH LAW FIRM, PLLC
MONZON, MARIA                      NJ - USDC for the District of New Jersey   3:17-cv-00726             THE SMITH LAW FIRM, PLLC
MOORE, DEANNA                      MO - Circuit Court - City of St. Louis     1522-CC-09792             THE SMITH LAW FIRM, PLLC
MOORE, LOUISE                      NJ - USDC for the District of New Jersey   3:17-cv-00798             THE SMITH LAW FIRM, PLLC
MOORE, TERRY                       MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MORALES, CARMEN                    MO - Circuit Court - Jefferson County      18JE-CC00893              THE SMITH LAW FIRM, PLLC
MORALES, NAOMI                     NJ - USDC for the District of New Jersey   3:17-cv-00800             THE SMITH LAW FIRM, PLLC
MORENO, VICTORIA                   NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MORGAN, CYNTHIA                    NJ - USDC for the District of New Jersey   3:17-cv-03945             THE SMITH LAW FIRM, PLLC
MORGAN, VALERIE                    MO - Circuit Court - City of St. Louis     1822-CC11165              THE SMITH LAW FIRM, PLLC
MORRELL, GRACE                     MO - Circuit Court - City of St. Louis     1622-CC-00837             THE SMITH LAW FIRM, PLLC
MOSER, JOYCE                       MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
MULBERRY, CAROL                    NJ - USDC for the District of New Jersey   3:19-cv-16059             THE SMITH LAW FIRM, PLLC
MULDREW, DEBRA                     MO - Circuit Court - City of St. Louis     1522-CC10545              THE SMITH LAW FIRM, PLLC
MUNTER, SUSAN                      MO - Circuit Court - City of St. Louis     1722-CC11872              THE SMITH LAW FIRM, PLLC
MURILLO, REBECCA                   CA - Superior Court - San Diego County     37-2018-38085-CU-PL-CTL   THE SMITH LAW FIRM, PLLC
MURPHY, DAWN                       MO - Circuit Court - City of St. Louis     1522-CC-10203             THE SMITH LAW FIRM, PLLC
MURRAY, DONNA                      NJ - USDC for the District of New Jersey   3:20-cv-01276             THE SMITH LAW FIRM, PLLC
NANCE, SHARON                      MO - Circuit Court - City of St. Louis     1522-CC00811              THE SMITH LAW FIRM, PLLC
NAPOLITANO, LORI                   NJ - USDC for the District of New Jersey   3:17-cv-00726             THE SMITH LAW FIRM, PLLC




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          Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
NASH, SUZANNE             MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
NATTRESS, INGE            NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
NELSON, DELIA             MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
NELSON, DONNA             MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
NEWBURN, LENA             NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
NEWKIRK, GLENNA           MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
NEWTON, DEBORAH           NJ - Superior Court - Atlantic County      ATL-L-525-16          THE SMITH LAW FIRM, PLLC
NICHOLS, FAITH            NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
NICHOLS, SANDRA           MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
NIEHUAS, DANA             MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
NIELSEN, CYNTHIA          MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
NORHEIM, JULIE            MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
NORRIS, AMANDA            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
NORRIS, REDITH            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
NOVOSEL, ROSEMARIE        MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
NUCKLES, AGNES            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
OAKS, LORI                MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
OCHOTECO, IRMA            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
OCONNELL, LINDA           MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
OHARA, LORI               NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
OKEEFFEE, ERIN            MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
OLINER, RENEE             MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
OLIVER, MARLA             MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
OLSON, KATHLEEN           MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
OMALLEY-KOSTNER, KAREN    NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
ORONA, EVANGELISTA        NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
OROZCO, SOPHIA            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
ORTIZ, KAYLA              MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
OTT, SUSAN                MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
OWENS, HOLLY              MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
PACK, CARMALEE            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
PADGETT, VERONICA         MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
PADILLA, ROSE             MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
PALACIOUS, VICTORIA       NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
PALERMO, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
PALL, DEVRE               MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
PALMER, MARY              NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
PAMS, LATOYIA             NJ - Superior Court - Atlantic County      ATL-L-2759-15         THE SMITH LAW FIRM, PLLC
PANNELL, NANCY            MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
PAPP-ROCHE, EVELYN        MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
PAQUETTE, ANDREA          MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
PARHAM, BEVERLY           CA - Superior Court - Santa Barbara        18cv03200             THE SMITH LAW FIRM, PLLC
PARISIEN, CRYSTAL         MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
PARKER, LOWELLA           CA - Superior Court - San Bernardino County CIVD618152019        THE SMITH LAW FIRM, PLLC
PARRISH, MARY             CA - Superior Court - Fresno County        18CECG03022           THE SMITH LAW FIRM, PLLC
PASCHALL, ELIZABETH       MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
PASHA, MARSHA             MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
PATTERSON, SUZANNE        MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
PAYNE, MARY               MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
PAYNE, TUCHLIN            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
PEARSON, EUGENIA          MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
PENDLETON, BARBARA        MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
PENN, DIANE               MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
PERA, CHRISTA             MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
PEREGRINA, FELICIA        NJ - USDC for the District of New Jersey   3:17-cv-07924         THE SMITH LAW FIRM, PLLC
PERKINS, DONNA            NJ - Superior Court - Atlantic County      ATL-L-2849-15         THE SMITH LAW FIRM, PLLC
PERRY, DEBORAH            MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
PERRY, DOROTHY            MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
PERU, DELORES             MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
PETERS, BELINDA           NJ - USDC for the District of New Jersey   3:17-cv-00790         THE SMITH LAW FIRM, PLLC
PETERSEN, INHTA           MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
PETROVEY, LORRAINE        MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
PETTIT, JUDITH            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
PHILLIPS, JOANN           MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
PICKLE, MARY              MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
PLANK, SUSAN              MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
PLITT, KATHLEEN           MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
PLUBELL, DENISE           MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
PODNOS, JOAN              MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
PONDILLO, KATHY           NJ - Superior Court - Atlantic County      ATL-L-2766-15         THE SMITH LAW FIRM, PLLC
POSEY, JANNAE             NJ - USDC for the District of New Jersey   3:17-cv-03945         THE SMITH LAW FIRM, PLLC
POTTS, ANNETTE            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
POWELL, NANCY             NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
PRATT, REGINA             MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
PREZWODEK, JANICE         MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
PRINCE, BRENDA            MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
PRINCE, JUNE              MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
PRYOR, HEIDI              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
PUGH, ANNETTE             NJ - Superior Court - Atlantic County      ATL-L-2897-15         THE SMITH LAW FIRM, PLLC




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          Claimant Name                    State Filed                     Docket Number                Plaintiff Counsel
PUGH, BARBARA             MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
PURDY, JANICE             MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
QUARLES, MARY             MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
QUIRK, RAMONA             MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
RACKOW, JANET             MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
RAINER, KIM               MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
RAK, JOANNA               NJ - USDC for the District of New Jersey   3:17-cv-05719         THE SMITH LAW FIRM, PLLC
RANGEL, YOLANDA           MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
RAY, LAURA                MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
RAYNE STEENS, LA          NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
REAVES, CAROLINE          MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
REBOLLEDO, GLORIA         MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
REDDING, DEBORAH          MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
REHBECK, ANN              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
REISING, CHRISTINE        MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
REPPELL, BRENDA           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
REUTER, DEBRA             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
RHOADES, TAMARA           MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
                          CA - Superior Court - City and County of
RICE-CALKINS, PATRICIA                                               RIC1815497            THE SMITH LAW FIRM, PLLC
                          Riverside, Palm Springs
RICHARDSON, BONNIE        NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
RICHARDSON, ROSE          NJ - USDC for the District of New Jersey   3:17-cv-02396         THE SMITH LAW FIRM, PLLC
RICK, BARBARA             MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
RICKS, COLLEEN            NJ - USDC for the District of New Jersey   3:17-cv-06302         THE SMITH LAW FIRM, PLLC
RICO, DIANE               MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
RICO, LILLIE              NJ - Superior Court - Atlantic County      ATL-L-2903-15         THE SMITH LAW FIRM, PLLC
RIMP, PAULINE             NJ - USDC for the District of New Jersey   3:17-cv-02394         THE SMITH LAW FIRM, PLLC
RINGBAUER, THEA           NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
RION, RUBY                MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
RITCHIE, TINA             MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
RITTER, MARJORIE          CA - Superior Court - Los Angeles County   BC711985              THE SMITH LAW FIRM, PLLC
RIVET, DEBORAH            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
ROBEN, DEBROAH            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
ROBINSON, ERNA            NJ - Superior Court - Atlantic County      ATL-L-2896-15         THE SMITH LAW FIRM, PLLC
ROBINSON, LEAH            MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
ROBINSON, TASHA           MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
ROCKHOLD, DIONNE          MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
ROCKS, PAMELA             NJ - USDC for the District of New Jersey   3:17-cv-07924         THE SMITH LAW FIRM, PLLC
RODRIGUEZ, KATHLEEN       NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
ROGACH, ROSEANNE          NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
ROGERS, KEMBERLY          MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
ROLAND, LETITCIA          NJ - Superior Court - Atlantic County      ATL-L-2902-15         THE SMITH LAW FIRM, PLLC
ROLLINS, KELLIE           MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
RONDA, ZULMA              NJ - Superior Court - Atlantic County      ATL-L-002693-15       THE SMITH LAW FIRM, PLLC
ROPER, ELIZABETH          NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
ROSE, SUSAN               CA - Superior Court - Santa Cruz County    18CV00909             THE SMITH LAW FIRM, PLLC
RUNYON, STEPHANIE         MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
RUSHWORTH, TINA           NJ - Superior Court - Atlantic County      ATL-L-2894-15         THE SMITH LAW FIRM, PLLC
RUSSELL, PAMELA           MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
RUSSELL, SUSANN           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
RUTHERFORD, MARY          MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
SABOURIN, MARGARET        MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
SADLER, SANDRA            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
SALAZAR, LORI             MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
SALTER, KAREN             MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SALVEMINI, LISA           MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
SALVO, LAURA              MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
SAN FILIPPO, SARAH        NJ - USDC for the District of New Jersey   3:17-cv-05719         THE SMITH LAW FIRM, PLLC
SANCHEZ, MARTHA           CA - Superior Court - San Bernardino County CIVDS-1719107        THE SMITH LAW FIRM, PLLC
SANCHEZ, YUDMILA          MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
SANDAU, LEONA             NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
SANDERSON, LAURIE         NJ - Superior Court - Atlantic County      ATL-L-2960-15         THE SMITH LAW FIRM, PLLC
SANDLAUFER, DEBORAH       NJ - Superior Court - Atlantic County      ATL-L-2396-14         THE SMITH LAW FIRM, PLLC
SANNING, CAROL            MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
SAPP, DEIDRAE             MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SARCHETTE, SANDRA         MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
SAUCEDO, MONICA           MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
SAUSMAN, SHANNON          NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
SAWYER, BONNIE            MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SCARLETT-ROGERS, JANET    MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
SCHACKEL, JANEEN          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SCHAUB, NORA              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SCHEFTNER, TRACIE         MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
SCHEIDT, CYNTHIA          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SCHMITZ, ANN              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SCHOONOVER, GAIL          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SCHROERS, SANDRA          CA - Superior Court - Santa Clara County   18CV323997            THE SMITH LAW FIRM, PLLC
SCHUKERT, SHEILA          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SCHURMAN, REBECCA         MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC




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           Claimant Name                   State Filed                      Docket Number                Plaintiff Counsel
SCHWAB, DEBORAH            CA - Superior Court - Sacramento County    34-2018-00229874      THE SMITH LAW FIRM, PLLC
SCOTT, BEVERLY             NJ - USDC for the District of New Jersey   3:17-cv-07929         THE SMITH LAW FIRM, PLLC
SCOTT, NANCY               NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
SCOTT, ROSEMAY             NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
SEABLOOM, CATHERINE        MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
SEDAR, REBECCA             MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
SEDICINO, JANICE           MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
SEMENAS, ROSEMARY          NJ - USDC for the District of New Jersey   3:17-cv-02396         THE SMITH LAW FIRM, PLLC
SEMMENS, SUSAN             MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
SEPULVEDA, MARTHA          MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
SEXTON, PATRICIA           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SHASKY, LEE                MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
SHAW, JEANIE               MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
SHAW, ROSE                 MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
SHAWHAN, JOANIE            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
SHEA, COLLEEN              MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
SHEEHAN, CONSTANCE         CA - Superior Court - Napa County          18CV000849            THE SMITH LAW FIRM, PLLC
SHEPHERD, CAROL            MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
SHEPHERD, NANCY            MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SHERRY, CHARINE            MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
SHLIGER, DAYNA             NJ - USDC for the District of New Jersey   3:17-cv-00800         THE SMITH LAW FIRM, PLLC
SIDRANSKY, LISA            MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
SILVA, MARIA               MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SILVA, RENEE               NJ - USDC for the District of New Jersey   3:17-cv-03945         THE SMITH LAW FIRM, PLLC
SIMPSON, MARIE             MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
SINGER, AMY                CA - Superior Court - Los Angeles County   BC696724              THE SMITH LAW FIRM, PLLC
SISSINE, GRACIELA          NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
SIZEMORE, JOAN             MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SKALA, KATHY               MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
SKINNER, DEBRA             NJ - USDC for the District of New Jersey   3:17-cv-07924         THE SMITH LAW FIRM, PLLC
SLAZYK, CATHY              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
SLOPER, LISA               MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SMITH (MO), ANN            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
SMITH, ALEISA              MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
SMITH, BRENDA              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SMITH, CARRIE              MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
SMITH, CHRISTINE           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SMITH, JANET               MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
SMITH, LARITA              MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SMITH, MARIANNE            NJ - USDC for the District of New Jersey   3:17-cv-07924         THE SMITH LAW FIRM, PLLC
SMITH, PATRICIA            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SMITH, PATRICIA            NJ - USDC for the District of New Jersey   3:17-cv-05719         THE SMITH LAW FIRM, PLLC
SMITH, RAQUEL              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SMITH, TERESA              MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
SMITH, TRACI               MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
SNYDER, SHIRLEY            MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SOFMAN, BESSIE             NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
SOILEAU, PATRICIA          MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
SOLIDUM, JUDITH            MO - Circuit Court - City of St. Louis     1822-CC06811          THE SMITH LAW FIRM, PLLC
SOTO, PATRICIA             MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
SOTO-MARQUEZ, MARIANA      MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
SPARKMAN, MARGARET         MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SPARKS, CINNAMON           MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
ST. JOHN, DEBBIE           MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
STACY, JOYCE               MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
STAFFORD, DONNA            MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
STAHL, DONNA               MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
STALNAKER, VELMA           NJ - USDC for the District of New Jersey   3:20-CV-06780         THE SMITH LAW FIRM, PLLC
STANGL, DORIS              NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
STEELE, GAIL               NJ - USDC for the District of New Jersey   3:17-cv-03946         THE SMITH LAW FIRM, PLLC
STILTNER, PRISCILLA        MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
STIRCKLAND, TAMMY          NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
STOCKTON, TAMALYN          NJ - USDC for the District of New Jersey   3:17-cv-07929         THE SMITH LAW FIRM, PLLC
STODDARD, KATHLEEN         MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
STONE, DEBBIE              NJ - Superior Court - Atlantic County      ATL-L-2850-15         THE SMITH LAW FIRM, PLLC
STORANDT, KAREN            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
STORY, BARBARA             NJ - USDC for the District of New Jersey   3:17-cv-03945         THE SMITH LAW FIRM, PLLC
STOVER, ALMA               MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
STRICKLEN, MONICA          MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
STROTHER, CRYSTAL          MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
STUMPF, LAVERNE            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
STURMAN, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
STUSAK, MARILYN            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SURMAN, DEBRA              MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
SWANN, VALERIE             MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
SWEARINGEN, LESLIE         CA - Superior Court - Los Angeles County   VCU276091             THE SMITH LAW FIRM, PLLC
SYBERT, LORRIE             MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
SYKES, CARLEN              MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
TABAG, LORETTA             MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
TACKER, SHIRLEY            MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC




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          Claimant Name                    State Filed                      Docket Number                Plaintiff Counsel
TAHIJA, BONITA             MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
TALVACCHIO, SUSAN          MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
TANNAHILL, PAMELA          MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
TAPP, DEBRA                MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
TAUBER, CHRISTINA          MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
TAYLOR, CALLIE             MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
TAYLOR, ROBBIN             MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
TEMPLE, BONNIE             NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
TENENBAUM, PEARL           NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
TEREN, CORRINE             MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
TERRY, CHARLOTTE           MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
THIBODEAU, TERRI           MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
THOMAS, BENNIE             CA - Superior Court - Los Angeles County   RG18918589            THE SMITH LAW FIRM, PLLC
THOMAS, JODI               MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
THOMAS, LINDA              NJ - USDC for the District of New Jersey   3:17-cv-02396         THE SMITH LAW FIRM, PLLC
THOMAS, MARLENE            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
THOMAS, PATRICE            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
THOMASON, VICKY            MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
THOMPSON, KATHY            NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
THOMPSON, LAURA            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
THOMPSON, LAURA            NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
THORNBURG, ALINA           MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
TIBBETTS, ROSALIE          CA - Superior Court - Mendocino County     CVPO1870905           THE SMITH LAW FIRM, PLLC
TILLEY, AUDREY             MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
TIMMS, JANENE              MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
TIPPS, MARY                MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
TOBOLA, WANDA              MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
TODD, BEVERLY              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
TODD, DENISE               MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
TOMASETTI, BRIDGETT        MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
TONEY, JILL                NJ - USDC for the District of New Jersey   3:17-cv-03946         THE SMITH LAW FIRM, PLLC
TONGCO, DIANNE             MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
TONI, MARIANNA             NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
TORRES, JOYCE              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
TORRES, MIOSOTY            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
TOUZA, LINDA               MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
TOVAR, MONICA              MO - Circuit Court - City of St. Louis     1822-CC11165          THE SMITH LAW FIRM, PLLC
TRAYLOR, KELLY             NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
TRICE, MARY                MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
TRIPP, KARLA               MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
TRIPP, KATHY               NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
TUCKER, CAROLINE           MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
TUCKER, TONI               MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
TURNER, CARAL              NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
TURNER, LYNN               MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
TURNER-CHAMERS, MELISSA    MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
TYLER, LAURA               MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
TYLER, LINDA               MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
UNDERWOOD, ARELLA          MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
UNDERWOOD, PEGGY           MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
UNRUH, SANDRA              NJ - USDC for the District of New Jersey   3:17-cv-00796         THE SMITH LAW FIRM, PLLC
UYEMURA, SONHUI            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
VAI, STEPHANIE             NJ - USDC for the District of New Jersey   3:17-cv-03945         THE SMITH LAW FIRM, PLLC
VALENCIA, VIRGINIA         NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
VALENTINE, PATRICIA        MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
VAN BUREN, MONICA          MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
VANDEWARKER, SHARON        MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
VARGAS, ANDREA             MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
VAUGHN, CATHEY             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
VERA, VICTORIA             NJ - USDC for the District of New Jersey   3:17-cv-00793         THE SMITH LAW FIRM, PLLC
VIKASHNI, JAZMINE          MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
VILLARI, NANCY             MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
VINUYA, ALICIA             MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
VITRANO, ANNA              MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
VOLKER-LOGUIDICE, AMANDA   NJ - USDC for the District of New Jersey   3:17-cv-00798         THE SMITH LAW FIRM, PLLC
VON ASHEN, KRISTINE        MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WALKER, ALICIA             MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
WALKER, LINDA              MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WALKER, MICHELLE           NJ - USDC for the District of New Jersey   3:17-cv-07933         THE SMITH LAW FIRM, PLLC
WALKER-DETLOFF, BETTY      MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
WALKEY, LEONISE            MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
WALLINGSFORD, PENNY        MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
WALTERS, THOMASCENE        NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
WALTON, EDNA               MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
WARREN, LINDA              MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
WASBERG, MICHELE           MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
WATSON, BRENDA             MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
WATSON, KAREN              MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
WATTS, CARLENE             MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
WAXMAN, LORRAINE           MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC




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         Claimant Name                     State Filed                      Docket Number                Plaintiff Counsel
WEAVER, BETTY              CA - Superior Court - Los Angeles County   BC671456              THE SMITH LAW FIRM, PLLC
WEBB, LYNN                 NJ - USDC for the District of New Jersey   3:17-cv-00798         THE SMITH LAW FIRM, PLLC
WEDLICK-ORTIZ, ELLEN       NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
WEISS, LAURA               MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
WELLS, SAMANTHA            MO - Circuit Court - City of St. Louis     1422-CC09326-01       THE SMITH LAW FIRM, PLLC
WERNER, BARBARA            NJ - Superior Court - Atlantic County      ATL-L-1800-14         THE SMITH LAW FIRM, PLLC
WEST, NANCY                MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
WHEELER, KENAH             NJ - USDC for the District of New Jersey   3:17-cv-00790         THE SMITH LAW FIRM, PLLC
WHEELER, LEAANN            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WHEELER, TRACEY            MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WHELAND, CLAUDIA           MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
WHITE, DAISY               MO - Circuit Court - City of St. Louis     1522-CC10545          THE SMITH LAW FIRM, PLLC
WHITE, PHYLLIS             MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WHITTINGTON, LAWANDA       NJ - Superior Court - Atlantic County      ATL-L-2851-15         THE SMITH LAW FIRM, PLLC
WHITTMORE, JOAN            MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
WILDER, ELISE              MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
WILHELM, EILEEN            MO - Circuit Court - Jefferson County      18JE-CC00448          THE SMITH LAW FIRM, PLLC
WILKERSON, GLORIA          NJ - USDC for the District of New Jersey   3:17-cv-05720         THE SMITH LAW FIRM, PLLC
WILLARD, VELMA             MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
WILLETT, AUDREY            MO - Circuit Court - City of St. Louis     1422-CC10042          THE SMITH LAW FIRM, PLLC
WILLIAMS, DOROTHY          NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
WILLIAMS, FLORENCE         MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
WILLIAMS, GAIL             NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
WILLIAMS, GENEVA           CA - Superior Court - San Bernardino County CIVDS1807370         THE SMITH LAW FIRM, PLLC
WILLIAMS, LINDA            NJ - Superior Court - Atlantic County      ATL-L-2967-15         THE SMITH LAW FIRM, PLLC
WILLIAMS, MARA             NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
WILLIAMS, MARY             NJ - USDC for the District of New Jersey   3:17-cv-03945         THE SMITH LAW FIRM, PLLC
WILLIAMS, MELISSA          NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
WILLIAMS, RAECHELL         MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
WILLIAMS, RHONDA           MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
WILLIAMS, WILLETTE         MO - Circuit Court - City of St. Louis     1522-CC-09792         THE SMITH LAW FIRM, PLLC
WILLIAMS-GAINES, DEBORAH   NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
WILLIAMSON, DENISE         MO - Circuit Court - City of St. Louis     1522-CC00613          THE SMITH LAW FIRM, PLLC
WILLIAMSON, DOROTHY        MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WILLIAMS-PERKINS, PAMELA   NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
WILLIS, KRISTEN            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
WILLS, KATHRYN             NJ - USDC for the District of New Jersey   3:17-cv-03944         THE SMITH LAW FIRM, PLLC
WILLSEY, DONNA             MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
WILSON, FLORA              MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
WILSON, LAURIE             MO - Circuit Court - City of St. Louis     1822-CC00237          THE SMITH LAW FIRM, PLLC
WILSON, PHYLLIS            NJ - USDC for the District of New Jersey   3:19-cv-16059         THE SMITH LAW FIRM, PLLC
WINGERT, KRISTINE          NJ - Superior Court - Atlantic County      ATL-L-2853-15         THE SMITH LAW FIRM, PLLC
WINGO, LYNDA               MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
WINGO-RUST, ANGELA         MO - Circuit Court - City of St. Louis     1622-CC-00837         THE SMITH LAW FIRM, PLLC
WINKELMAN, SARAH           MO - Circuit Court - City of St. Louis     1622-CC00134          THE SMITH LAW FIRM, PLLC
WITHOLW, BILLIE            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
WOLF, SUSIE                NJ - USDC for the District of New Jersey   3:17-cv-05719         THE SMITH LAW FIRM, PLLC
WOODWARD, DARLA            MO - Circuit Court - City of St. Louis     1722-CC11872          THE SMITH LAW FIRM, PLLC
WOOLDRIDGE, TERRI          NJ - Superior Court - Atlantic County      ATL-L-6661-14         THE SMITH LAW FIRM, PLLC
WOOLEN, LANETTE            NJ - USDC for the District of New Jersey   3:20-cv-01276         THE SMITH LAW FIRM, PLLC
WOOLLEY, SUSAN             MO - Circuit Court - City of St. Louis     1622-CC00443          THE SMITH LAW FIRM, PLLC
WOOTEN, JUDITH             MO - Circuit Court - Jefferson County      18JE-CC00893          THE SMITH LAW FIRM, PLLC
YORK, DELORES              CA - Superior Court - Tulare County        VCU274863             THE SMITH LAW FIRM, PLLC
YOSHIDA, ANDRIYANI         CA - Superior Court - Los Angeles County   BC705664              THE SMITH LAW FIRM, PLLC
YOUNG, LINDA               MO - Circuit Court - City of St. Louis     1522-CC-10203         THE SMITH LAW FIRM, PLLC
ZANE, DELLA                NJ - USDC for the District of New Jersey   3:17-cv-02394         THE SMITH LAW FIRM, PLLC
ZECCHINO, LORI             MO - Circuit Court - City of St. Louis     1422-CC09821          THE SMITH LAW FIRM, PLLC
ZIMMERMAN, SUZANNE         MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
ZUCHOWSKI, KAREN           MO - Circuit Court - City of St. Louis     1822-CC11533          THE SMITH LAW FIRM, PLLC
ZUCKER, DONNA              NJ - USDC for the District of New Jersey   3:17-cv-03946         THE SMITH LAW FIRM, PLLC
ZWALLY, DOROTHY            MO - Circuit Court - City of St. Louis     1522-CC00811          THE SMITH LAW FIRM, PLLC
BROWN, AMY                 NJ - USDC for the District of New Jersey   3:21-cv-17577         THE WASHINGTON FIRM, PC
SMITH, BRENDA              NJ - USDC for the District of New Jersey   3:18-cv-14273         THE WEBSTER LAW FIRM
BAGGETT, ILONA             NJ - USDC for the District of New Jersey   3:18-cv-15609         THE WEINBERG LAW FIRM
BAY, WANDA                 NJ - USDC for the District of New Jersey   3:18-cv-15629         THE WEINBERG LAW FIRM
BENTON, BETTY              NJ - USDC for the District of New Jersey   3:18-cv-15634         THE WEINBERG LAW FIRM
CASANO, MARY               NJ - USDC for the District of New Jersey   3:18-cv-16524         THE WEINBERG LAW FIRM
COTTRELL, CORINNE          NJ - USDC for the District of New Jersey   3:19-cv-18350         THE WEINBERG LAW FIRM
HORN, ANNA                 NJ - USDC for the District of New Jersey   3:18-cv-16013         THE WEINBERG LAW FIRM
OLLMAN, LOIS               NJ - USDC for the District of New Jersey   3:18-cv-16094         THE WEINBERG LAW FIRM
OLSON, BARBARA             NJ - USDC for the District of New Jersey   3:18-cv-16872         THE WEINBERG LAW FIRM
SCHOFIELD, MARY            NJ - USDC for the District of New Jersey   3:18-cv-16151         THE WEINBERG LAW FIRM
SIMMONS, ALICE             NJ - USDC for the District of New Jersey   3:18-cv-16210         THE WEINBERG LAW FIRM
TOUSSANT, ELIZA            NJ - USDC for the District of New Jersey   3:18-cv-16211         THE WEINBERG LAW FIRM
WILLIAMS, SUSAN            NJ - USDC for the District of New Jersey   3:18-cv-16245         THE WEINBERG LAW FIRM
ZEISLOFT, JUDY             NJ - USDC for the District of New Jersey   3:19-cv-09105         THE WEINBERG LAW FIRM
ANDERSON, JANET            CA - Superior Court - Santa Clara County   18CV327583            THE WHITEHEAD LAW FIRM, LLC
BARKER, ANDREA             CA - Superior Court - Santa Clara County   18CV331103            THE WHITEHEAD LAW FIRM, LLC




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          Claimant Name                         State Filed                     Docket Number               Plaintiff Counsel
BROWN, MELANIE                 NJ - USDC for the District of New Jersey   3:19-cv-04872         THE WHITEHEAD LAW FIRM, LLC
CALDERON, ELEANOR              CA - Superior Court - Santa Clara County   18CV327516            THE WHITEHEAD LAW FIRM, LLC
CLIFF, SHIRLEY                 NJ - USDC for the District of New Jersey   3:19-cv-06001         THE WHITEHEAD LAW FIRM, LLC
CUNNINGHAM, NORMA              CA - Superior Court - Santa Clara County   18CV327526            THE WHITEHEAD LAW FIRM, LLC
DANTINNE, TERESITA             CA - Superior Court - Santa Clara County   18CV327533            THE WHITEHEAD LAW FIRM, LLC
DAVIS, JENNY                   NJ - USDC for the District of New Jersey   3:21-cv-16238         THE WHITEHEAD LAW FIRM, LLC
DONAHUE, MARION                NJ - USDC for the District of New Jersey   3:18-cv-11702         THE WHITEHEAD LAW FIRM, LLC
EHART, VICTORIA                NJ - USDC for the District of New Jersey   3:18-cv-03938         THE WHITEHEAD LAW FIRM, LLC
ESCOBEDO, ROSA                 NJ - USDC for the District of New Jersey   3:18-cv-03694         THE WHITEHEAD LAW FIRM, LLC
FELDMANN, TERRI                CA - Superior Court - Santa Clara County   18CV331116            THE WHITEHEAD LAW FIRM, LLC
HIGH, MARLENE                  CA - Superior Court - Santa Clara County   18CV327536            THE WHITEHEAD LAW FIRM, LLC
HILL-ESCOBEDO, NITA            CA - Superior Court - Santa Clara County   18CV333671            THE WHITEHEAD LAW FIRM, LLC
JOHNSON, PATRICIA              NJ - USDC for the District of New Jersey   3:18-cv-11291         THE WHITEHEAD LAW FIRM, LLC
MALKIEWICZ, GINA               CA - Superior Court - Santa Clara County   18CV331107            THE WHITEHEAD LAW FIRM, LLC
MORGAN, MARY                   CA - Superior Court - Santa Clara County   18CV330990            THE WHITEHEAD LAW FIRM, LLC
OCONNOR, REBECCA               NJ - USDC for the District of New Jersey   3:18-cv-13856         THE WHITEHEAD LAW FIRM, LLC
POWELL, DOROTHY                CA - Superior Court - Santa Clara County   18CV327496            THE WHITEHEAD LAW FIRM, LLC
QUIGLEY, ROBIN                 CA - Superior Court - Santa Clara County   18CV333574            THE WHITEHEAD LAW FIRM, LLC
SALAMANCA, SILVIA              CA - Superior Court - Santa Clara County   18CV327582            THE WHITEHEAD LAW FIRM, LLC
SERRANO, LINDA                 CA - Superior Court - Santa Clara County   18CV333343            THE WHITEHEAD LAW FIRM, LLC
SIMS, DARLAH                   NJ - USDC for the District of New Jersey   3:21-cv-13541         THE WHITEHEAD LAW FIRM, LLC
SMITH, MARTHA                  NJ - USDC for the District of New Jersey   3:21-cv-16452         THE WHITEHEAD LAW FIRM, LLC
WILLIAMS, ROBIN                CA - Superior Court - Santa Clara County   18CV333605            THE WHITEHEAD LAW FIRM, LLC
WOLFF, MARLENE                 NJ - USDC for the District of New Jersey   3:17-cv-02496         THE WHITEHEAD LAW FIRM, LLC
MATTHEY, PATRICIA              FL - Circuit Court - Sarasota County       2018CA004809          THE WHITTEMORE LAW GROUP, PA
BEDFORD, WANDA                 NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
CASTRO, KERIJANE               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
COLLINS, PATRICIA              NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
DELGADO, REBECCA               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
FAHIMI, SOLMAZ                 NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
HARGROVE, JENNIFER             NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
KOCH, GLENDA                   NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
MCQUILLAN, MARY                NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
OBRIEN, WILMA                  NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
PAN, LILING                    NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
PAULSON, TERESA                NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
PIPER, ANN                     NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
RENNA, GENEVIEVE               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
SIMMONS, CARRIE                NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
TORIBIO, LEILANI               NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
URICK, DONNA                   NJ - USDC for the District of New Jersey   3:17-cv-00791         THE ZEVAN AND DAVIDSON LAW FIRM
BLOSS, CONCETTA                NJ - USDC for the District of New Jersey   3:18-cv-11696         THORNTON & NAUMES
DANIELS, YVONNE                NJ - USDC for the District of New Jersey   3:17-cv-12259         THORNTON & NAUMES
FELDMANN, ELIZABETH            NJ - USDC for the District of New Jersey   3:18-cv-12704         THORNTON & NAUMES
KLEIN, ELIZABETH               NJ - USDC for the District of New Jersey   3:18-cv-09052         THORNTON & NAUMES
LAMUSTA, DIANE                 NJ - USDC for the District of New Jersey   3:18-cv-13027         THORNTON & NAUMES
LEBLANC, LINDA                 NJ - USDC for the District of New Jersey   3:18-cv-11699         THORNTON & NAUMES
MORTIMER, DIANNE               NJ - USDC for the District of New Jersey   3:18-cv-12239         THORNTON & NAUMES
PELLETIER, NANCY               NJ - USDC for the District of New Jersey   3:18-cv-05105         THORNTON & NAUMES
WARF, NANCY                    NJ - USDC for the District of New Jersey   3:18-cv-03166         THORNTON & NAUMES
ALLEN, MARY                    NJ - USDC for the District of New Jersey   3:18-cv-14030         THORNTON LAW FIRM LLP
ASCENZO, MAUREEN               NJ - USDC for the District of New Jersey   3:18-cv-14029         THORNTON LAW FIRM LLP
BOECKER, ADELINE               NJ - USDC for the District of New Jersey   3:19-cv-09067         THORNTON LAW FIRM LLP
BOURBON, MARY                  NJ - USDC for the District of New Jersey   3:18-cv-16522         THORNTON LAW FIRM LLP
BROWN, JUANITA                 NJ - USDC for the District of New Jersey   3:18-cv-15297         THORNTON LAW FIRM LLP
CANTOR, BETH                   NJ - USDC for the District of New Jersey   3:18-cv-14033         THORNTON LAW FIRM LLP
CAREY, JEAN                    NJ - USDC for the District of New Jersey   3:19-cv-06815         THORNTON LAW FIRM LLP
DENEEN, CAROL                  NJ - USDC for the District of New Jersey   3:18-cv-14270         THORNTON LAW FIRM LLP
DITOMMASO, JILL                NJ - USDC for the District of New Jersey   3:18-cv-16141         THORNTON LAW FIRM LLP
FORD, STACEY                   NJ - USDC for the District of New Jersey   3:19-cv-09193         THORNTON LAW FIRM LLP
GRIFFITH, EDNA                 NJ - USDC for the District of New Jersey   3:19-cv-18037         THORNTON LAW FIRM LLP
HADDAD, WINIFRED AND HADDAD,
                               MA - Superior Court - Middlesex County     20-2285               THORNTON LAW FIRM LLP
HANI
HAUSER, LESLEY                 NJ - USDC for the District of New Jersey   3:21-cv-13431         THORNTON LAW FIRM LLP
HAYNES, REBECCA                NJ - USDC for the District of New Jersey   3:19-cv-05207         THORNTON LAW FIRM LLP
HEALEY, SUSAN                  NJ - USDC for the District of New Jersey   3:21-cv-11780         THORNTON LAW FIRM LLP
HEINZ, KELLY                   NJ - USDC for the District of New Jersey   3:19-cv-03414         THORNTON LAW FIRM LLP
JUHNKE, LEAH                   NJ - USDC for the District of New Jersey   3:19-cv-03400         THORNTON LAW FIRM LLP
KUETHER, KATHLEEN              NJ - USDC for the District of New Jersey   3:18-cv-13826         THORNTON LAW FIRM LLP
LAWSON, BETTY                  NJ - USDC for the District of New Jersey   3:19-cv-08701         THORNTON LAW FIRM LLP
LAWSON, CHRISTINE              NJ - USDC for the District of New Jersey   3:21-cv-11565         THORNTON LAW FIRM LLP
LOVELL, PAUL AND LOVELL,
                               MA - Superior Court - Middlesex County     21-2086               THORNTON LAW FIRM LLP
KATHRYN
LYMAN, TERRI                   NJ - USDC for the District of New Jersey   3:19-cv-07142         THORNTON LAW FIRM LLP
MACCUTCHEON, ROBERTA           NJ - USDC for the District of New Jersey   3:21-cv-02774         THORNTON LAW FIRM LLP
MILLS, CONCETTA                NJ - USDC for the District of New Jersey   3:20-cv-00432         THORNTON LAW FIRM LLP
MOON, TAMATHY                  NJ - USDC for the District of New Jersey   3:19-cv-17013         THORNTON LAW FIRM LLP
PELTZ, JUDITH                  MA - Superior Court - Middlesex County     21-1612               THORNTON LAW FIRM LLP
PROSE, EILEEN                  NJ - USDC for the District of New Jersey   3:19-cv-08407         THORNTON LAW FIRM LLP
REESE, CAROLYN                 NJ - USDC for the District of New Jersey   3:19-cv-18281         THORNTON LAW FIRM LLP




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
STARR, LEONA              NJ - USDC for the District of New Jersey   3:19-cv-08406         THORNTON LAW FIRM LLP
SZEKELY, DOROTHY          NJ - USDC for the District of New Jersey   3:18-cv-15762         THORNTON LAW FIRM LLP
ULRICH, ANNE              NJ - USDC for the District of New Jersey   3:19-cv-09191         THORNTON LAW FIRM LLP
WASHINGTON, EDITH         NJ - USDC for the District of New Jersey   3:18-cv-15856         THORNTON LAW FIRM LLP
WATSON, MARI              NJ - USDC for the District of New Jersey   3:21-cv-00473         THORNTON LAW FIRM LLP
WHITEHEAD, HATTIE         NJ - USDC for the District of New Jersey   3:20-cv-02633         THORNTON LAW FIRM LLP
WILSON, CHERIE            NJ - USDC for the District of New Jersey   3:19-cv-00978         THORNTON LAW FIRM LLP
WORKS, KELLI              NJ - USDC for the District of New Jersey   3:19-cv-00565         THORNTON LAW FIRM LLP
ADAMS, EILEEN             NJ - USDC for the District of New Jersey   3:17-cv-12009         TORHOERMAN LAW LLC
AMY CALL                  NJ - USDC for the District of New Jersey   3:21-cv-17886         TORHOERMAN LAW LLC
BACKES, KELLEY            NJ - USDC for the District of New Jersey   3:18-cv-13440         TORHOERMAN LAW LLC
BALTHAZAR, ANNIE          NJ - USDC for the District of New Jersey   3:20-cv-16494         TORHOERMAN LAW LLC
BARRY, ELLEN              NJ - USDC for the District of New Jersey   3:18-cv-02994         TORHOERMAN LAW LLC
BODKIN, SHARON            NJ - USDC for the District of New Jersey   3:19-cv-17399         TORHOERMAN LAW LLC
BURRELL, TERRYLYN         NJ - USDC for the District of New Jersey   3:21-cv-07394         TORHOERMAN LAW LLC
CAROLLO, SUSAN            NJ - USDC for the District of New Jersey   3:21-cv-04543         TORHOERMAN LAW LLC
CARTER, LISA              NJ - USDC for the District of New Jersey   3:18-cv-02990         TORHOERMAN LAW LLC
CHANDLER, JESSICA         NJ - USDC for the District of New Jersey   3:20-cv-16484         TORHOERMAN LAW LLC
CHUDY, PATRICIA           NJ - USDC for the District of New Jersey   3:18-cv-04381         TORHOERMAN LAW LLC
COHEN, JANET              NJ - USDC for the District of New Jersey   3:21-cv-06026         TORHOERMAN LAW LLC
COLON, JULIE              NJ - USDC for the District of New Jersey   3:19-cv-21022         TORHOERMAN LAW LLC
CRAWFORD, STEPHANIE       NJ - USDC for the District of New Jersey   3:21-cv-11655         TORHOERMAN LAW LLC
CROSS, LETTA              NJ - USDC for the District of New Jersey   3:18-cv-17264         TORHOERMAN LAW LLC
DAGGETT, REVIS            NJ - USDC for the District of New Jersey   3:20-cv-07901         TORHOERMAN LAW LLC
DAVIS, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-04377         TORHOERMAN LAW LLC
DELP, RHONDA              NJ - USDC for the District of New Jersey   3:21-cv-11659         TORHOERMAN LAW LLC
EDDY, CHRISTINA           NJ - USDC for the District of New Jersey   3:18-cv-14316         TORHOERMAN LAW LLC
ENGLE, ROSALIE            NJ - USDC for the District of New Jersey   3:21-cv-08451         TORHOERMAN LAW LLC
EVANS, TAMMY              NJ - USDC for the District of New Jersey   3:19-cv-20851         TORHOERMAN LAW LLC
FOX, BONNIE               NJ - USDC for the District of New Jersey   3:18-cv-16372         TORHOERMAN LAW LLC
FRASURE, SHAUNA           NJ - USDC for the District of New Jersey   3:18-cv-16375         TORHOERMAN LAW LLC
GWENDOLYN HAMLIN          NJ - USDC for the District of New Jersey   3:21-cv-17900         TORHOERMAN LAW LLC
HACKNEY, PATRICIA         NJ - USDC for the District of New Jersey   3:18-cv-15390         TORHOERMAN LAW LLC
HALE, LINDA               NJ - USDC for the District of New Jersey   3:18-cv-04371         TORHOERMAN LAW LLC
HALL, BARBARA             NJ - USDC for the District of New Jersey   3:19-cv-21025         TORHOERMAN LAW LLC
INGRAM, DOROTHY           NJ - USDC for the District of New Jersey   3:20-cv-20245         TORHOERMAN LAW LLC
JEWELL, TRICIA            NJ - USDC for the District of New Jersey   3:21-cv-09145         TORHOERMAN LAW LLC
JONES, THERESIA           NJ - USDC for the District of New Jersey   3:17-cv-13842         TORHOERMAN LAW LLC
KENNEDY, JAN              NJ - USDC for the District of New Jersey   3:21-cv-09602         TORHOERMAN LAW LLC
KEY, AGNES                NJ - USDC for the District of New Jersey   3:18-cv-17268         TORHOERMAN LAW LLC
KRAFT, LAURELYNN          NJ - USDC for the District of New Jersey   3:21-cv-08507         TORHOERMAN LAW LLC
LODAHL, LISA              NJ - USDC for the District of New Jersey   3:18-cv-08539         TORHOERMAN LAW LLC
LOQUIST, JANE             NJ - USDC for the District of New Jersey   3:18-cv-05246         TORHOERMAN LAW LLC
LOUGHRAN, MAUREEN         NJ - USDC for the District of New Jersey   3:19-cv-21032         TORHOERMAN LAW LLC
MCMINN, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-17019         TORHOERMAN LAW LLC
MERENA, JOSEPHINE         NJ - USDC for the District of New Jersey   3:18-cv-05242         TORHOERMAN LAW LLC
MILLER, SAUNDRA           NJ - USDC for the District of New Jersey   3:21-cv-15961         TORHOERMAN LAW LLC
MORGAN, SARA              NJ - USDC for the District of New Jersey   3:21-cv-06033         TORHOERMAN LAW LLC
MULDROW, ALLESIA          NJ - USDC for the District of New Jersey   3:20-cv-01468         TORHOERMAN LAW LLC
MULVEY, DIANE             NJ - USDC for the District of New Jersey   3:18-cv-12114         TORHOERMAN LAW LLC
NADEAU, NANCY             NJ - USDC for the District of New Jersey   3:18-cv-17261         TORHOERMAN LAW LLC
NIXON, VICKIE             NJ - USDC for the District of New Jersey   3:19-cv-21035         TORHOERMAN LAW LLC
PATTERSON, MARY           NJ - USDC for the District of New Jersey   3:19-cv-09182         TORHOERMAN LAW LLC
ROSE, REBECCA             NJ - USDC for the District of New Jersey   3:18-cv-02993         TORHOERMAN LAW LLC
RYAN, OLIVIA              NJ - USDC for the District of New Jersey   3:18-cv-17263         TORHOERMAN LAW LLC
SCOTT, EMMA               NJ - USDC for the District of New Jersey   3:18-cv-05249         TORHOERMAN LAW LLC
SCRUGGS, STEPHANIE        NJ - USDC for the District of New Jersey   3:20-cv-13530         TORHOERMAN LAW LLC
SINGLETON, ANN            NJ - USDC for the District of New Jersey   3:21-cv-02601         TORHOERMAN LAW LLC
TAYLOR, PEGGY             NJ - USDC for the District of New Jersey   3:21-cv-06562         TORHOERMAN LAW LLC
THOMAS, LINDA             NJ - USDC for the District of New Jersey   3:19-cv-09183         TORHOERMAN LAW LLC
TRAINER, JOANN            NJ - USDC for the District of New Jersey   3:18-cv-04142         TORHOERMAN LAW LLC
VACHIRA, SUVANNA          NJ - USDC for the District of New Jersey   3:20-cv-07904         TORHOERMAN LAW LLC
VAN SKIVER, JANET         NJ - USDC for the District of New Jersey   3:20-cv-20255         TORHOERMAN LAW LLC
WATSON, SHIRLEY           NJ - USDC for the District of New Jersey   3:21-cv-08455         TORHOERMAN LAW LLC
WREGLESWORTH, JANICE      NJ - USDC for the District of New Jersey   3:19-cv-21040         TORHOERMAN LAW LLC
YOUNGS, MARY              NJ - USDC for the District of New Jersey   3:21-cv-10999         TORHOERMAN LAW LLC
AGIN, HEIDI               NJ - USDC for the District of New Jersey   3:21-cv-01677         TRAMMELL PC
ALEXANDER, KIMBERLY       NJ - USDC for the District of New Jersey   3:21-cv-01762         TRAMMELL PC
BARKER, KANDICE           NJ - USDC for the District of New Jersey   3:19-cv-12930         TRAMMELL PC
BASGALL, CINDY            NJ - USDC for the District of New Jersey   3:21-cv-00995         TRAMMELL PC
BEE, JUANITA              NJ - USDC for the District of New Jersey   3:21-cv-13088         TRAMMELL PC
BLOHM, THERESA            NJ - USDC for the District of New Jersey   3:21-cv-01599         TRAMMELL PC
BONNER, CHERYL            NJ - USDC for the District of New Jersey   3:21-cv-05393         TRAMMELL PC
BOSCHERT, MARY            NJ - USDC for the District of New Jersey   3:21-cv-05775         TRAMMELL PC
BYERLEY, TRINA            NJ - USDC for the District of New Jersey   3:21-cv-15140         TRAMMELL PC
CANNON, JESSIE            NJ - USDC for the District of New Jersey   3:21-cv-10060         TRAMMELL PC
CAREY, FRANCES            NJ - USDC for the District of New Jersey   3:21-cv-12522         TRAMMELL PC
CARTER, MATTIE            NJ - USDC for the District of New Jersey   3:21-cv-16404         TRAMMELL PC
CEJA, MARTHA              NJ - USDC for the District of New Jersey   3:21-cv-01752         TRAMMELL PC
CLINE, NATALIE            NJ - USDC for the District of New Jersey   3:21-cv-13092         TRAMMELL PC




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          Claimant Name                     State Filed                      Docket Number                 Plaintiff Counsel
CLINKSCALES, NAOMI          NJ - USDC for the District of New Jersey   3:21-cv-17304         TRAMMELL PC
CONOVER, PEGGY              NJ - USDC for the District of New Jersey   3:21-cv-05802         TRAMMELL PC
COOMES, JOAN                NJ - USDC for the District of New Jersey   3:20-cv-20042         TRAMMELL PC
DANIEL, ASHLEY              NJ - USDC for the District of New Jersey   3:21-cv-17567         TRAMMELL PC
DAUGHTRY, BONNIE            NJ - USDC for the District of New Jersey   3:21-cv-01611         TRAMMELL PC
DAVIS, JONI                 NJ - USDC for the District of New Jersey   3:21-cv-17135         TRAMMELL PC
DEEN, NORMA                 NJ - USDC for the District of New Jersey   3:19-cv-09336         TRAMMELL PC
DILLON, LUCILLE             NJ - USDC for the District of New Jersey   3:21-cv-12549         TRAMMELL PC
DINAN, KERI                 NJ - USDC for the District of New Jersey   3:21-cv-11988         TRAMMELL PC
DOLEY, LOUISE               NJ - USDC for the District of New Jersey   3:21-cv-12947         TRAMMELL PC
DOUGHTY, JUDITH             NJ - USDC for the District of New Jersey   3:21-cv-08475         TRAMMELL PC
EARLE, SHIRLEY              NJ - USDC for the District of New Jersey   3:21-cv-13048         TRAMMELL PC
ECHOLS, JANICE              NJ - USDC for the District of New Jersey   3:21-cv-05789         TRAMMELL PC
EDWARDS-FOUNTAIN, BERNICE   NJ - USDC for the District of New Jersey   3:19-cv-12938         TRAMMELL PC
EMBREY, GEORGIA             NJ - USDC for the District of New Jersey   3:21-cv-12663         TRAMMELL PC
EVERETTE, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-13022         TRAMMELL PC
FIERRO, KRISTINE            NJ - USDC for the District of New Jersey   3:21-cv-06052         TRAMMELL PC
GALAYDA, EDITH              NJ - USDC for the District of New Jersey   3:21-cv-02048         TRAMMELL PC
GATLIN, ADAIRE              NJ - USDC for the District of New Jersey   3:19-cv-09386         TRAMMELL PC
GRAHAM, DENISE              NJ - USDC for the District of New Jersey   3:21-cv-12531         TRAMMELL PC
GRANT, MERCEDES             NJ - USDC for the District of New Jersey   3:21-cv-08287         TRAMMELL PC
GREDZICKI, BARBARA          NJ - USDC for the District of New Jersey   3:19-cv-12445         TRAMMELL PC
GREEN, KELLY                NJ - USDC for the District of New Jersey   3:21-cv-00992         TRAMMELL PC
GRIGG, GLORIA               NJ - USDC for the District of New Jersey   3:21-cv-05799         TRAMMELL PC
GUERRA, CLAUDIA             NJ - USDC for the District of New Jersey   3:21-cv-01089         TRAMMELL PC
HAMPEL, TRISHA              NJ - USDC for the District of New Jersey   3:21-cv-12553         TRAMMELL PC
HARRIS, ANNIE               NJ - USDC for the District of New Jersey   3:21-cv-14000         TRAMMELL PC
HASKINS, PATTY              NJ - USDC for the District of New Jersey   3:20-cv-19997         TRAMMELL PC
HOLLOMAN, YOLANDA           NJ - USDC for the District of New Jersey   3:21-cv-16789         TRAMMELL PC
HOLY, JACKLYN               NJ - USDC for the District of New Jersey   3:21-cv-17001         TRAMMELL PC
HUNTER, JAZMIN              NJ - USDC for the District of New Jersey   3:21-cv-16583         TRAMMELL PC
JACKSON, ALVINA             NJ - USDC for the District of New Jersey   3:21-cv-12485         TRAMMELL PC
JOHNSEN, BARBARA            NJ - USDC for the District of New Jersey   3:21-cv-01337         TRAMMELL PC
JOHNSON, AMY                NJ - USDC for the District of New Jersey   3:21-cv-09337         TRAMMELL PC
JOHNSON, SHARON             CA - Superior Court - Alameda County       RG21087966            TRAMMELL PC
JONES, WANDA                NJ - USDC for the District of New Jersey   3:19-cv-09340         TRAMMELL PC
JOSLYN, ROBIN               NJ - USDC for the District of New Jersey   3:20-cv-20045         TRAMMELL PC
KAISER, DONNA               NJ - USDC for the District of New Jersey   3:21-cv-01137         TRAMMELL PC
KEENE, CYNTHIA              NJ - USDC for the District of New Jersey   3:21-cv-17671         TRAMMELL PC
KILGORE, BETTY              NJ - USDC for the District of New Jersey   3:21-cv-03417         TRAMMELL PC
KIRBY, LINDA                NJ - USDC for the District of New Jersey   3:21-cv-08739         TRAMMELL PC
LABRECQUE, PAULA            NJ - USDC for the District of New Jersey   3:21-cv-14031         TRAMMELL PC
LAMPE, LISA                 NJ - USDC for the District of New Jersey   3:21-cv-06044         TRAMMELL PC
MANUELE, MARY               NJ - USDC for the District of New Jersey   3:21-cv-13964         TRAMMELL PC
MARTINO-STRID, GRACE        NJ - USDC for the District of New Jersey   3:19-cv-20370         TRAMMELL PC
MASON, BRENDA               NJ - USDC for the District of New Jersey   3:21-cv-16515         TRAMMELL PC
MAYFIELD, TORRIE            NJ - USDC for the District of New Jersey   3:21-cv-10029         TRAMMELL PC
MCDANIEL, JILL              NJ - USDC for the District of New Jersey   3:21-cv-07134         TRAMMELL PC
MCGRUDER, KAREN             NJ - USDC for the District of New Jersey   3:21-cv-12716         TRAMMELL PC
MCMANUS, SANDRA             NJ - USDC for the District of New Jersey   3:21-cv-12543         TRAMMELL PC
MCNUTT, SARANDA             NJ - USDC for the District of New Jersey   3:21-cv-10062         TRAMMELL PC
MEDLEY, HELEN               NJ - USDC for the District of New Jersey   3:21-cv-10031         TRAMMELL PC
MERRIMAN, BRENDA            NJ - USDC for the District of New Jersey   3:21-cv-12425         TRAMMELL PC
MILLER, PAMELA              NJ - USDC for the District of New Jersey   3:21-cv-16792         TRAMMELL PC
MOXEY, LISA                 NJ - USDC for the District of New Jersey   3:20-cv-20056         TRAMMELL PC
NANAANSAH, STEPHANIE        NJ - USDC for the District of New Jersey   3:21-cv-06054         TRAMMELL PC
OROS, BRENDA                NJ - USDC for the District of New Jersey   3:21-cv-03429         TRAMMELL PC
ORTIZ, MARIA                NJ - USDC for the District of New Jersey   3:21-cv-16584         TRAMMELL PC
PALOMINO, APRIL             NJ - USDC for the District of New Jersey   3:21-cv-04012         TRAMMELL PC
PANDOLA, KIMBERLY           NJ - USDC for the District of New Jersey   3:19-cv-09641         TRAMMELL PC
PARRISH, SUSAN              NJ - USDC for the District of New Jersey   3:21-cv-10061         TRAMMELL PC
PINEDA, JOANNE              NJ - USDC for the District of New Jersey   3:21-cv-12752         TRAMMELL PC
POTTER, DORIS               NJ - USDC for the District of New Jersey   3:21-cv-16586         TRAMMELL PC
RICHARDSON, PAULETTE        NJ - USDC for the District of New Jersey   3:20-cv-05750         TRAMMELL PC
ROBERTS, TRACY              NJ - USDC for the District of New Jersey   3:21-cv-00979         TRAMMELL PC
ROBINSON, CAROL             NJ - USDC for the District of New Jersey   3:21-cv-12654         TRAMMELL PC
SCHWIEN, JOANNE             NJ - USDC for the District of New Jersey   3:21-cv-08498         TRAMMELL PC
SHAW, PAULA                 NJ - USDC for the District of New Jersey   3:21-cv-16791         TRAMMELL PC
SIMONE, PATRICIA            NJ - USDC for the District of New Jersey   3:21-cv-10033         TRAMMELL PC
SMITH, CHARLOTTE            NJ - USDC for the District of New Jersey   3:21-cv-12912         TRAMMELL PC
SMITH, LAQUANYA             NJ - USDC for the District of New Jersey   3:21-cv-01615         TRAMMELL PC
SNYDER, SUSAN               NJ - USDC for the District of New Jersey   3:21-cv-10063         TRAMMELL PC
SOLOMON, PENNY              NJ - USDC for the District of New Jersey   3:21-cv-08480         TRAMMELL PC
SPAIN, BARBARA              NJ - USDC for the District of New Jersey   3:21-cv-16828         TRAMMELL PC
STEVENS, MARGARET           NJ - USDC for the District of New Jersey   3:21-cv-13215         TRAMMELL PC
STOLLER, SHEENA             NJ - USDC for the District of New Jersey   3:21-cv-17566         TRAMMELL PC
STOUFFER, JUNE              NJ - USDC for the District of New Jersey   3:21-cv-01595         TRAMMELL PC
STRINGER, BECKY             NJ - USDC for the District of New Jersey   3:19-cv-09648         TRAMMELL PC
STUMPNER, MARY              NJ - USDC for the District of New Jersey   3:21-cv-00980         TRAMMELL PC
THOMAS, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-16024         TRAMMELL PC




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          Claimant Name                       State Filed                      Docket Number                Plaintiff Counsel
THORPE, KAREN                NJ - USDC for the District of New Jersey    3:21-cv-01769         TRAMMELL PC
TODD, SUSAN                  NJ - USDC for the District of New Jersey    3:21-cv-11610         TRAMMELL PC
TREADWAY, YOULANDA           NJ - USDC for the District of New Jersey    3:21-cv-01743         TRAMMELL PC
UNCLEBACH, MARGARET          NJ - USDC for the District of New Jersey    3:21-cv-12951         TRAMMELL PC
VAUGHT, GEORGIE              NJ - USDC for the District of New Jersey    3:21-cv-00571         TRAMMELL PC
WAITS, TERRI                 NJ - USDC for the District of New Jersey    3:21-cv-12936         TRAMMELL PC
WALTON, CARLA                NJ - USDC for the District of New Jersey    3:19-cv-09390         TRAMMELL PC
WATSON, GRACE                NJ - USDC for the District of New Jersey    3:21-cv-05781         TRAMMELL PC
WEGER, CAROLYN               NJ - USDC for the District of New Jersey    3:21-cv-09506         TRAMMELL PC
WELBORN, CONNIE              NJ - USDC for the District of New Jersey    3:21-cv-01183         TRAMMELL PC
WILLIAMS, JELANI             NJ - USDC for the District of New Jersey    3:21-cv-06373         TRAMMELL PC
WILLIS, KANDI                NJ - USDC for the District of New Jersey    3:21-cv-14026         TRAMMELL PC
WOOD, BETTY                  NJ - USDC for the District of New Jersey    3:21-cv-12609         TRAMMELL PC
YATES, LINDA                 NJ - USDC for the District of New Jersey    3:19-cv-09389         TRAMMELL PC
YEAGER, JANA                 NJ - USDC for the District of New Jersey    3:21-cv-13030         TRAMMELL PC
YOUNGMAN, LOIS               NJ - USDC for the District of New Jersey    3:21-cv-16788         TRAMMELL PC
ZELINSKI, DONNA              NJ - USDC for the District of New Jersey    3:21-cv-09354         TRAMMELL PC
BONGIORNO, ANN               NJ - USDC for the District of New Jersey    3:19-cv-09876         UNDY, LUNDY, SOILEAU & SOUTH, LLP
ANDERSON, GLORIA             LA - District Court - Orleans Parish        2019-7716             UNGLESBY LAW FIRM
BELL, ANNIE                  LA - District Court - Orleans Parish        2019-7665             UNGLESBY LAW FIRM
DAVIS, TRACEY                LA - District Court - Orleans Parish        2019-9175             UNGLESBY LAW FIRM
GONSOULIN, MIRIAM            LA - District Court - Orleans Parish        2019-11295            UNGLESBY LAW FIRM
GREMILLION, ERNESTINE        LA - District Court - Orleans Parish        2019-7664             UNGLESBY LAW FIRM
HAYES, ANITA                 LA - District Court - East Baton Rouge Parish C-689468-23         UNGLESBY LAW FIRM
JAMES, CHRISTIE              NJ - USDC for the District of New Jersey    3:17-cv-04194         UNGLESBY LAW FIRM
JUNIOR, REGINA               LA - District Court - Orleans Parish        2019-7717             UNGLESBY LAW FIRM
LACOUR, SONIA                LA - District Court - East Baton Rouge Parish C-687381            UNGLESBY LAW FIRM
SHEPPERSON, JULIE            LA - District Court - Orleans Parish        2019-7718             UNGLESBY LAW FIRM
POCHE, MAUREEN               NJ - USDC for the District of New Jersey    3:16-cv-07501         USRY, WEEKS & MATTHEWS, APLC
ARCHER, MELISSA              NJ - USDC for the District of New Jersey    3:18-cv-11989         VAUGHAN LAW FIRM, P.C.
DEBOTH, RAMONA               NJ - USDC for the District of New Jersey    3:18-cv-12007         VAUGHAN LAW FIRM, P.C.
HARTLEY, SHERRY              NJ - USDC for the District of New Jersey    3:18-cv-15228         VAUGHAN LAW FIRM, P.C.
JAY, CHRISTINE               NJ - USDC for the District of New Jersey    3:19-cv-08165         VAUGHAN LAW FIRM, P.C.
MCKEE, ROBBIE                NJ - USDC for the District of New Jersey    3:18-cv-11475         VAUGHAN LAW FIRM, P.C.
SHRIVER, BARBARA             NJ - USDC for the District of New Jersey    3:19-cv-08169         VAUGHAN LAW FIRM, P.C.
VORNHOLT, PAMELA             NJ - USDC for the District of New Jersey    3:18-cv-12008         VAUGHAN LAW FIRM, P.C.
ALFONSO, LISA                NJ - USDC for the District of New Jersey    3:17-cv-07641         VENTURA LAW
CHIARAMONTE, PHYLLIS         NJ - USDC for the District of New Jersey    3:17-cv-05960         VENTURA LAW
FANFA, TONI                  NJ - USDC for the District of New Jersey    3:17-cv-07646         VENTURA LAW
FIELDS, MADELENA             NJ - USDC for the District of New Jersey    3:17-cv-05949         VENTURA LAW
FLORES, MARIA                NJ - USDC for the District of New Jersey    3:17-cv-08660         VENTURA LAW
HESTRESS, PILAR              NJ - USDC for the District of New Jersey    3:17-cv-02384         VENTURA LAW
MOTOLA, JOANN                NJ - USDC for the District of New Jersey    3:17-cv-13144         VENTURA LAW
PETTIGREW, DANNETTE          NJ - USDC for the District of New Jersey    3:17-cv-03869         VENTURA LAW
PLETZER, ANNA                NJ - USDC for the District of New Jersey    3:17-cv-12886         VENTURA LAW
RENCHER, DOROTHY             NJ - USDC for the District of New Jersey    3:17-cv-10174         VENTURA LAW
ROBERTSON, RUTHLA            NJ - USDC for the District of New Jersey    3:17-cv-12916         VENTURA LAW
ROSS, DONNA                  NJ - USDC for the District of New Jersey    3:17-cv-08361         VENTURA LAW
TENGBERG, KIM                NJ - USDC for the District of New Jersey    3:17-cv-08360         VENTURA LAW
WILSON, ERIN                 NJ - USDC for the District of New Jersey    3:18-cv-00920         VENTURA LAW
BECK, KAREN                  NJ - USDC for the District of New Jersey    3:18-cv-09907         VICKERY & SHEPHERD, LLP
OHERN, SUSAN                 NJ - USDC for the District of New Jersey    3:18-cv-09914         VICKERY & SHEPHERD, LLP
STEVENS, GWENDOLYN           NJ - USDC for the District of New Jersey    3:18-cv-02080         VICKERY & SHEPHERD, LLP
VAUL, DONNA                  NJ - USDC for the District of New Jersey    3:19-cv-07525         VICKERY & SHEPHERD, LLP
ACKERAMAN, TRACY             NJ - USDC for the District of New Jersey    3:20-cv-14705         VISRAM-GIRALDO LAW GROUP, LLP
COMBS, JODIE                 NJ - USDC for the District of New Jersey    3:20-cv-14690         VISRAM-GIRALDO LAW GROUP, LLP
GARCIA, THERESA              IL - Circuit Court - Cook County            20-L-4505             VOGELZANG LAW
RADOUS, PAUL                 IL - Circuit Court - Cook County            20-L-8013             VOGELZANG LAW
SOLIS-MORALES, VERONICA      IL - Circuit Court - Cook County            21-L-8657             VOGELZANG LAW
FOLEY, CAMILLE               NJ - USDC for the District of New Jersey    3:21-cv-00777         WAGNER REESE, LLP
HOPKINS, LINDA               NJ - USDC for the District of New Jersey    3:21-cv-00778         WAGNER REESE, LLP
WALLS, ELIZABETH             NJ - USDC for the District of New Jersey    3:21-cv-00774         WAGNER REESE, LLP
ALEXANDER, BARBARA           NJ - USDC for the District of New Jersey    3:18-cv-04609         WAGSTAFF & CARTMELL, LLP
ALLEN, DOROTHY               NJ - USDC for the District of New Jersey    3:19-cv-07307         WAGSTAFF & CARTMELL, LLP
APPLEGATE, MESHELL           NJ - USDC for the District of New Jersey    3:18-cv-04426         WAGSTAFF & CARTMELL, LLP
ARIENO, MARLENE              NJ - USDC for the District of New Jersey    3:17-cv-13288         WAGSTAFF & CARTMELL, LLP
BALOGH, MILDRED              NJ - USDC for the District of New Jersey    3:18-cv-03785         WAGSTAFF & CARTMELL, LLP
BAXTER, LAURA                NJ - USDC for the District of New Jersey    3:19-cv-18098         WAGSTAFF & CARTMELL, LLP
BECK, ELIZABETH              NJ - USDC for the District of New Jersey    3:19-cv-01865         WAGSTAFF & CARTMELL, LLP
BETHDA, MARY                 NJ - USDC for the District of New Jersey    3:17-cv-07327         WAGSTAFF & CARTMELL, LLP
BOHANNAN, GLORIA             NJ - USDC for the District of New Jersey    3:18-cv-09857         WAGSTAFF & CARTMELL, LLP
BRADFORD, KATHY              NJ - USDC for the District of New Jersey    3:18-cv-00267         WAGSTAFF & CARTMELL, LLP
BRANDSEMA, ALICE             NJ - USDC for the District of New Jersey    3:18-cv-00393         WAGSTAFF & CARTMELL, LLP
BROWN, ROXANNA               NJ - USDC for the District of New Jersey    3:19-cv-14138         WAGSTAFF & CARTMELL, LLP
BURLESON, JUANITA            NJ - USDC for the District of New Jersey    3:18-cv-13372         WAGSTAFF & CARTMELL, LLP
BUZZARD, CHARLENE            NJ - USDC for the District of New Jersey    3:18-cv-03056         WAGSTAFF & CARTMELL, LLP
CASEY, EDDA                  NJ - USDC for the District of New Jersey    3:18-cv-13554         WAGSTAFF & CARTMELL, LLP
CASIMIRE, CELESTINE GLOVER   NJ - USDC for the District of New Jersey    3:19-cv-01119         WAGSTAFF & CARTMELL, LLP




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          Claimant Name                     State Filed                    Docket Number               Plaintiff Counsel
CLARK, ADRIANA            NJ - USDC for the District of New Jersey   3:18-cv-11106         WAGSTAFF & CARTMELL, LLP
COON, RENEE               NJ - USDC for the District of New Jersey   3:19-cv-07322         WAGSTAFF & CARTMELL, LLP
CORLETTO, LISA            NJ - USDC for the District of New Jersey   3:18-cv-17486         WAGSTAFF & CARTMELL, LLP
DEMAILO, LUCRETIA         NJ - USDC for the District of New Jersey   3:18-cv-09840         WAGSTAFF & CARTMELL, LLP
DONART, TONI              NJ - USDC for the District of New Jersey   3:18-cv-01389         WAGSTAFF & CARTMELL, LLP
DONNELLY, KATE            NJ - USDC for the District of New Jersey   3:18-cv-15533         WAGSTAFF & CARTMELL, LLP
DUBOIS, CATHY             NJ - USDC for the District of New Jersey   3:18-cv-03081         WAGSTAFF & CARTMELL, LLP
GAGNE, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-00327         WAGSTAFF & CARTMELL, LLP
GARCIA, ESTER             NJ - USDC for the District of New Jersey   3:18-cv-15527         WAGSTAFF & CARTMELL, LLP
GARLAND, SOPHIA           NJ - USDC for the District of New Jersey   3:18-cv-09876         WAGSTAFF & CARTMELL, LLP
GILLIAM, JANICE           NJ - USDC for the District of New Jersey   3:18-cv-09869         WAGSTAFF & CARTMELL, LLP
GLENN, KAREN              NJ - USDC for the District of New Jersey   3:17-cv-10903         WAGSTAFF & CARTMELL, LLP
GLYNN, PATRICIA           NJ - USDC for the District of New Jersey   3:21-cv-12748         WAGSTAFF & CARTMELL, LLP
GOMEZ, GLORIA             IL - Circuit Court - Cook County           2021L005938           WAGSTAFF & CARTMELL, LLP
GOYRIENA, OLGA            NJ - USDC for the District of New Jersey   3:18-cv-11757         WAGSTAFF & CARTMELL, LLP
GRECO, MARY               NJ - Superior Court - Atlantic County      ATL-L-001489-19       WAGSTAFF & CARTMELL, LLP
GUTIERREZ, ROSLINDA       NJ - USDC for the District of New Jersey   3:20-cv-00459         WAGSTAFF & CARTMELL, LLP
HAUGEN, WANDA             NJ - USDC for the District of New Jersey   3:18-cv-16318         WAGSTAFF & CARTMELL, LLP
HAYES, JOE                NJ - USDC for the District of New Jersey   3:17-cv-03525         WAGSTAFF & CARTMELL, LLP
HESS, MARY                NJ - USDC for the District of New Jersey   3:18-cv-11110         WAGSTAFF & CARTMELL, LLP
HONEYCUTT, PATRICIA       NJ - USDC for the District of New Jersey   3:18-cv-17712         WAGSTAFF & CARTMELL, LLP
HORTON, LAURA             NJ - USDC for the District of New Jersey   3:19-cv-10964         WAGSTAFF & CARTMELL, LLP
HOSKINS, PEGGY            NJ - USDC for the District of New Jersey   3:18-cv-08909         WAGSTAFF & CARTMELL, LLP
HURTIG, DEBORAH           NJ - USDC for the District of New Jersey   3:19-cv-03549         WAGSTAFF & CARTMELL, LLP
JACKSON, BEVERLY          NJ - USDC for the District of New Jersey   3:19-cv-17818         WAGSTAFF & CARTMELL, LLP
JAZRAWI, ANGEEL           NJ - USDC for the District of New Jersey   3:19-cv-07341         WAGSTAFF & CARTMELL, LLP
JOHNSON, BEATRICE         NJ - USDC for the District of New Jersey   3:20-cv-05054         WAGSTAFF & CARTMELL, LLP
JOHNSON, NANCY            NJ - USDC for the District of New Jersey   3:18-cv-17507         WAGSTAFF & CARTMELL, LLP
JONES, PAULA              NJ - USDC for the District of New Jersey   3:19-cv-14133         WAGSTAFF & CARTMELL, LLP
KEITH, SUSAN              NJ - USDC for the District of New Jersey   3:18-cv-08910         WAGSTAFF & CARTMELL, LLP
LAMBERT, ROSIE            NJ - USDC for the District of New Jersey   3:19-cv-16834         WAGSTAFF & CARTMELL, LLP
LAMI, KATHRYN             NJ - USDC for the District of New Jersey   3:18-cv-03072         WAGSTAFF & CARTMELL, LLP
LEE, GEORGE               NJ - USDC for the District of New Jersey   3:18-cv-16136         WAGSTAFF & CARTMELL, LLP
LEE, INEZ                 NJ - USDC for the District of New Jersey   3:19-cv-17795         WAGSTAFF & CARTMELL, LLP
LEMANOWICH, THERESA       NJ - USDC for the District of New Jersey   3:18-cv-16692         WAGSTAFF & CARTMELL, LLP
LOCKARD, ELIZABETH        NJ - USDC for the District of New Jersey   3:18-cv-09881         WAGSTAFF & CARTMELL, LLP
MACFARLAND, VICTORIA      NJ - USDC for the District of New Jersey   3:18-cv-08905         WAGSTAFF & CARTMELL, LLP
MALLOY, NORMA             NJ - USDC for the District of New Jersey   3:18-cv-13982         WAGSTAFF & CARTMELL, LLP
MARCHMAN-FAKE, PEGGY      NJ - USDC for the District of New Jersey   3:18-cv-11146         WAGSTAFF & CARTMELL, LLP
MARTIN, MELINDA           NJ - USDC for the District of New Jersey   3:19-cv-07262         WAGSTAFF & CARTMELL, LLP
MARX, YVONNE              NJ - USDC for the District of New Jersey   3:18-cv-11041         WAGSTAFF & CARTMELL, LLP
MASON, ANNIE              NJ - USDC for the District of New Jersey   3:19-cv-08895         WAGSTAFF & CARTMELL, LLP
MASON, VICTORIA           NJ - USDC for the District of New Jersey   3:18-cv-04573         WAGSTAFF & CARTMELL, LLP
MASSEY, VALERIE           NJ - USDC for the District of New Jersey   3:17-cv-04590         WAGSTAFF & CARTMELL, LLP
MATHIS, TRACY             NJ - USDC for the District of New Jersey   3:17-cv-10875         WAGSTAFF & CARTMELL, LLP
MCCARTHY, CAROLYN         NJ - USDC for the District of New Jersey   3:19-cv-14137         WAGSTAFF & CARTMELL, LLP
MCCLELLAN, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-15834         WAGSTAFF & CARTMELL, LLP
MCDUFFIE, FRANCINE        NJ - USDC for the District of New Jersey   3:19-cv-07314         WAGSTAFF & CARTMELL, LLP
MCKAY, NORA               NJ - USDC for the District of New Jersey   3:18-cv-08558         WAGSTAFF & CARTMELL, LLP
MEDLIN, DOROTHY           NJ - USDC for the District of New Jersey   3:18-cv-04415         WAGSTAFF & CARTMELL, LLP
MOORE, DOROTHY            NJ - USDC for the District of New Jersey   3:19-cv-07691         WAGSTAFF & CARTMELL, LLP
MOORE, SUSAN              NJ - USDC for the District of New Jersey   3:19-cv-03510         WAGSTAFF & CARTMELL, LLP
MOORE, TALIA              NJ - USDC for the District of New Jersey   3:19-cv-13089         WAGSTAFF & CARTMELL, LLP
MORROW, PAMELA            NJ - USDC for the District of New Jersey   3:19-cv-08892         WAGSTAFF & CARTMELL, LLP
MOSCHETTO, JOAN           NJ - USDC for the District of New Jersey   3:18-cv-11017         WAGSTAFF & CARTMELL, LLP
MURDOCK, SANDRA           NJ - USDC for the District of New Jersey   3:18-cv-15277         WAGSTAFF & CARTMELL, LLP
OVER, ALICE               NJ - USDC for the District of New Jersey   3:17-cv-13277         WAGSTAFF & CARTMELL, LLP
PAGE, CONNIE              NJ - USDC for the District of New Jersey   3:18-cv-11104         WAGSTAFF & CARTMELL, LLP
PAINTER, JOYCE            NJ - USDC for the District of New Jersey   3:18-cv-08534         WAGSTAFF & CARTMELL, LLP
PATTERSON, MATTIE         NJ - USDC for the District of New Jersey   3:18-cv-04601         WAGSTAFF & CARTMELL, LLP
PECKMAN, MARY             NJ - USDC for the District of New Jersey   3:18-cv-17494         WAGSTAFF & CARTMELL, LLP
PILCH, MARY               NJ - USDC for the District of New Jersey   3:19-cv-07274         WAGSTAFF & CARTMELL, LLP
POPE, JANICE              NJ - USDC for the District of New Jersey   3:19-cv-07338         WAGSTAFF & CARTMELL, LLP
POTKOSKI, CHARLOTTE       NJ - USDC for the District of New Jersey   3:19-cv-07672         WAGSTAFF & CARTMELL, LLP
PRISCO, MARY              NJ - USDC for the District of New Jersey   3:19-cv-09134         WAGSTAFF & CARTMELL, LLP
RAY, CRYSTAL              NJ - USDC for the District of New Jersey   3:18-cv-09879         WAGSTAFF & CARTMELL, LLP
RHODES, PATSY             NJ - USDC for the District of New Jersey   3:18-cv-16427         WAGSTAFF & CARTMELL, LLP
RILEY, SHERRY             NJ - USDC for the District of New Jersey   3:18-cv-11035         WAGSTAFF & CARTMELL, LLP
ROGERS, SHARRON           NJ - USDC for the District of New Jersey   3:19-cv-03943         WAGSTAFF & CARTMELL, LLP
SALAZAR, ANTONIETTA       NJ - USDC for the District of New Jersey   3:19-cv-13969         WAGSTAFF & CARTMELL, LLP
SALTER, MARY              NJ - USDC for the District of New Jersey   3:18-cv-13398         WAGSTAFF & CARTMELL, LLP
SARVEY, VICTORIA          NJ - USDC for the District of New Jersey   3:20-cv-01054         WAGSTAFF & CARTMELL, LLP
SCOTT, GWENDOLYN          NJ - USDC for the District of New Jersey   3:18-cv-16689         WAGSTAFF & CARTMELL, LLP
SHANNAHAN, BARBARA        NJ - USDC for the District of New Jersey   3:19-cv-14924         WAGSTAFF & CARTMELL, LLP
SIMMONS, LANA             NJ - USDC for the District of New Jersey   3:19-cv-15337         WAGSTAFF & CARTMELL, LLP
SNODEN, REBECCA           NJ - USDC for the District of New Jersey   3:18-cv-04436         WAGSTAFF & CARTMELL, LLP
SPANGLER, LOUISE          NJ - USDC for the District of New Jersey   3:18-cv-08546         WAGSTAFF & CARTMELL, LLP
SPODOFORA, CARMELA        NJ - USDC for the District of New Jersey   3:18-cv-11046         WAGSTAFF & CARTMELL, LLP
SQUILLACE, NIKI           NJ - USDC for the District of New Jersey   3:18-cv-08544         WAGSTAFF & CARTMELL, LLP
STEWART, CHARLINE         NJ - USDC for the District of New Jersey   3:20-cv-12759         WAGSTAFF & CARTMELL, LLP




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          Claimant Name                     State Filed                      Docket Number               Plaintiff Counsel
STOUT, ETHEL                NJ - USDC for the District of New Jersey   3:18-cv-17719         WAGSTAFF & CARTMELL, LLP
STREEVAL, BETTY             NJ - USDC for the District of New Jersey   3:18-cv-08915         WAGSTAFF & CARTMELL, LLP
TAYLOR, JEANNE              NJ - USDC for the District of New Jersey   3:19-cv-11243         WAGSTAFF & CARTMELL, LLP
THOMPSON, SHIRLEY BREWER    NJ - USDC for the District of New Jersey   3:19-cv-08900         WAGSTAFF & CARTMELL, LLP
THORNELL, STEPHANIE         NJ - USDC for the District of New Jersey   3:17-cv-13283         WAGSTAFF & CARTMELL, LLP
TILLERY, DORIS              NJ - USDC for the District of New Jersey   3:19-cv-03705         WAGSTAFF & CARTMELL, LLP
TUCKER, NORMA               NJ - USDC for the District of New Jersey   3:18-cv-09872         WAGSTAFF & CARTMELL, LLP
VARNER, VIVIAN              NJ - USDC for the District of New Jersey   3:18-cv-13703         WAGSTAFF & CARTMELL, LLP
VICE, REGINA                NJ - USDC for the District of New Jersey   3:18-cv-04391         WAGSTAFF & CARTMELL, LLP
WADE, HELEN                 NJ - USDC for the District of New Jersey   3:18-cv-13397         WAGSTAFF & CARTMELL, LLP
WALLER, HEIDRUN             NJ - USDC for the District of New Jersey   3:18-cv-09838         WAGSTAFF & CARTMELL, LLP
WARD, FELICIA               NJ - USDC for the District of New Jersey   3:19-cv-20072         WAGSTAFF & CARTMELL, LLP
WELLS, ROSA                 NJ - USDC for the District of New Jersey   3:19-cv-11883         WAGSTAFF & CARTMELL, LLP
WEST, NANCY                 NJ - USDC for the District of New Jersey   3:17-cv-10873         WAGSTAFF & CARTMELL, LLP
WEST, PAMELA                NJ - USDC for the District of New Jersey   3:20-cv-01793         WAGSTAFF & CARTMELL, LLP
WESTGATE, CAROL             NJ - USDC for the District of New Jersey   3:19-cv-07266         WAGSTAFF & CARTMELL, LLP
WHALING, DEBORAH            NJ - USDC for the District of New Jersey   3:18-cv-14359         WAGSTAFF & CARTMELL, LLP
WILHELM, MARALENE           NJ - USDC for the District of New Jersey   3:18-cv-04404         WAGSTAFF & CARTMELL, LLP
WILLIAMS, KATHLEEN          NJ - USDC for the District of New Jersey   3:18-cv-04566         WAGSTAFF & CARTMELL, LLP
WILSHUSEN, BARBARA          NJ - USDC for the District of New Jersey   3:18-cv-09836         WAGSTAFF & CARTMELL, LLP
WISEMAN, DANA               NJ - USDC for the District of New Jersey   3:21-cv-12187         WAGSTAFF & CARTMELL, LLP
ZIEMBRA, SHARON             NJ - USDC for the District of New Jersey   3:18-cv-12059         WAGSTAFF & CARTMELL, LLP
BARTSCHI, SHIRLEY           NJ - USDC for the District of New Jersey   3:20-cv-11712         WALKER, HAMILTON & KOENIG, LLP
LIPTON, DIANA               NJ - USDC for the District of New Jersey   3:20-cv-03797         WALKER, HAMILTON & KOENIG, LLP
JARRETT, ELIZABETH          NJ - USDC for the District of New Jersey   3:16-cv-08900         WALLACE & GRAHAM
BARKER, JANICE              NJ - USDC for the District of New Jersey   3:17-cv-10694         WALTON TELKEN FOSTER, LLC
DANIELS, RHONDA             NJ - USDC for the District of New Jersey   3:17-cv-10698         WALTON TELKEN FOSTER, LLC
KOUPA, SHERILYN             NJ - USDC for the District of New Jersey   3:19-cv-08853         WALTON TELKEN FOSTER, LLC
MOEN, DEBORAH               NJ - USDC for the District of New Jersey   3:17-cv-10703         WALTON TELKEN FOSTER, LLC
SLACK, MARY                 NJ - USDC for the District of New Jersey   3:17-cv-10707         WALTON TELKEN FOSTER, LLC
VEGA, LORRAINE              NJ - USDC for the District of New Jersey   3:17-cv-10711         WALTON TELKEN FOSTER, LLC
MCELROY, PATRICIA AND       NJ - USDC - Eastern District of North
                                                                       5:21-cv-00179         WARD BLACK LAW
MCELROY, STEPHEN            Carolina
VAUGHAN,, EDDIE SR. AND     NJ - USDC - Middle District of North
                                                                       1:21-cv-340           WARD BLACK LAW
VAUGHAN, CANDACE            Carolina
ADAMS, REBEKAH              NJ - USDC for the District of New Jersey   3:21-cv-12268         WATERS & KRAUS, LLP
ANDREWS, BEVERLY            NJ - USDC for the District of New Jersey   3:21-cv-14001         WATERS & KRAUS, LLP
BAKER, ALMA                 NJ - USDC for the District of New Jersey   3:21-cv-10644         WATERS & KRAUS, LLP
BARTER, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-15762         WATERS & KRAUS, LLP
BERNAL, REBECA              NJ - USDC for the District of New Jersey   3:21-cv-01994         WATERS & KRAUS, LLP
BOLYARD, NANCY              NJ - USDC for the District of New Jersey   3:21-cv-04029         WATERS & KRAUS, LLP
BRIDGEFORD, NANCY           NJ - USDC for the District of New Jersey   3:21-cv-15274         WATERS & KRAUS, LLP
BROWN, CAROLYN              NJ - USDC for the District of New Jersey   3:21-cv-13464         WATERS & KRAUS, LLP
BROWN, DOROTHY              NJ - USDC for the District of New Jersey   3:21-cv-08699         WATERS & KRAUS, LLP
BROWN, VARONICA             NJ - USDC for the District of New Jersey   3:21-cv-14232         WATERS & KRAUS, LLP
BUCKLEY, BELINDA            NJ - USDC for the District of New Jersey   3:21-cv-15754         WATERS & KRAUS, LLP
CARLSON, SARA               NJ - USDC for the District of New Jersey   3:21-cv-14642         WATERS & KRAUS, LLP
CARTER-LEDSOME, PAMELA      NJ - USDC for the District of New Jersey   3:21-cv-15246         WATERS & KRAUS, LLP
CHALLENGER, VEDA            NJ - USDC for the District of New Jersey   3:21-cv-14481         WATERS & KRAUS, LLP
COUNCE, AMY                 NJ - USDC for the District of New Jersey   3:21-cv-11482         WATERS & KRAUS, LLP
COX, ANGELA                 NJ - USDC for the District of New Jersey   3:21-cv-12898         WATERS & KRAUS, LLP
COX, SONYA                  NJ - USDC for the District of New Jersey   3:21-cv-14039         WATERS & KRAUS, LLP
CRESSMAN, ANGELA            NJ - USDC for the District of New Jersey   3:21-cv-13395         WATERS & KRAUS, LLP
DALBY, JO                   NJ - USDC for the District of New Jersey   3:21-cv-15727         WATERS & KRAUS, LLP
DEAN, DORENE                NJ - USDC for the District of New Jersey   3:21-cv-11848         WATERS & KRAUS, LLP
DILORETO, SUSAN             NJ - USDC for the District of New Jersey   3:21-cv-11218         WATERS & KRAUS, LLP
DOWNS, LORETTA              NJ - USDC for the District of New Jersey   3:21-cv-10697         WATERS & KRAUS, LLP
EDEN, SVETLANA              NJ - USDC for the District of New Jersey   3:21-cv-14159         WATERS & KRAUS, LLP
EICHELBERGER, MILDRED       NJ - USDC for the District of New Jersey   3:21-cv-11300         WATERS & KRAUS, LLP
ELWOOD, TERRY               NJ - USDC for the District of New Jersey   3:21-cv-14162         WATERS & KRAUS, LLP
FAIRCHILD, TRACY            NJ - USDC for the District of New Jersey   3:21-cv-11216         WATERS & KRAUS, LLP
FLOWERS, MARY               NJ - USDC for the District of New Jersey   3:21-cv-05607         WATERS & KRAUS, LLP
FOLEY, HEIDI                NJ - USDC for the District of New Jersey   3:21-cv-14571         WATERS & KRAUS, LLP
FORDHAM, PHYLLIS            NJ - USDC for the District of New Jersey   3:21-cv-14231         WATERS & KRAUS, LLP
GAITER, KAREN               NJ - USDC for the District of New Jersey   3:21-cv-15086         WATERS & KRAUS, LLP
GALADE, DEBORAH             NJ - USDC for the District of New Jersey   3:21-cv-12446         WATERS & KRAUS, LLP
GALVEZ, NORMA               NJ - USDC for the District of New Jersey   3:21-cv-15090         WATERS & KRAUS, LLP
GARREN, GLORIA              NJ - USDC for the District of New Jersey   3:21-cv-09033         WATERS & KRAUS, LLP
GOTTHARD, PATRICIA          NJ - USDC for the District of New Jersey   3:21-cv-17044         WATERS & KRAUS, LLP
GRAHAM, HATTIE              NJ - USDC for the District of New Jersey   3:21-cv-16710         WATERS & KRAUS, LLP
HAGENDORF, MARIAN           NJ - USDC for the District of New Jersey   3:21-cv-14310         WATERS & KRAUS, LLP
HAMMERSTAD-SMITH, ASHHLEY   NJ - USDC for the District of New Jersey   3:21-cv-16633         WATERS & KRAUS, LLP
HARRIS, JOYCE               NJ - USDC for the District of New Jersey   3:21-cv-12258         WATERS & KRAUS, LLP
HAWTHORNE, MARY             NJ - USDC for the District of New Jersey   3:21-cv-11847         WATERS & KRAUS, LLP
HEADLAND, TAMI              NJ - USDC for the District of New Jersey   3:21-cv-16627         WATERS & KRAUS, LLP
HERSHEY, LYNETTE            NJ - USDC for the District of New Jersey   3:21-cv-14041         WATERS & KRAUS, LLP
HOWE, JEAN                  NJ - USDC for the District of New Jersey   3:21-cv-14678         WATERS & KRAUS, LLP
HUDSPETH, MARILYN           NJ - USDC for the District of New Jersey   3:21-cv-12256         WATERS & KRAUS, LLP
JAMIE SKEHAN                NJ - USDC for the District of New Jersey   3:21-cv-18169         WATERS & KRAUS, LLP
JONES, KAREN                NJ - USDC for the District of New Jersey   3:21-cv-01768         WATERS & KRAUS, LLP




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          Claimant Name                   State Filed                       Docket Number               Plaintiff Counsel
JONES, RACHAEL            NJ - USDC for the District of New Jersey    3:21-cv-10069         WATERS & KRAUS, LLP
JONES, SHARON             NJ - USDC for the District of New Jersey    3:21-cv-14354         WATERS & KRAUS, LLP
JURSKI, ELIZABETH         NJ - USDC for the District of New Jersey    3;21-cv-15520         WATERS & KRAUS, LLP
KELLY, BOBBI              NJ - USDC for the District of New Jersey    3:21-cv-10487         WATERS & KRAUS, LLP
KIRBY, DEBRA              NJ - USDC for the District of New Jersey    3:21-cv-13171         WATERS & KRAUS, LLP
LEE, RAMELLE              NJ - USDC for the District of New Jersey    3:21-cv-06039         WATERS & KRAUS, LLP
LITTLE, ERMA              NJ - USDC for the District of New Jersey    3:21-cv-02155         WATERS & KRAUS, LLP
LYONS, JEANNE             NJ - USDC for the District of New Jersey    3:21-cv-14680         WATERS & KRAUS, LLP
MARIANNE GENNARIO         NJ - USDC for the District of New Jersey    3:21-cv-18174         WATERS & KRAUS, LLP
MCCAWLEY, SARITA          NJ - USDC for the District of New Jersey    3:21-cv-15035         WATERS & KRAUS, LLP
MCKEE, ANGELA             NJ - USDC for the District of New Jersey    3:21-cv-16182         WATERS & KRAUS, LLP
MCLAREN, ASHLEY           NJ - USDC for the District of New Jersey    3:21-cv-11264         WATERS & KRAUS, LLP
MEJIA, NELLY              NJ - USDC for the District of New Jersey    3:21-cv-10086         WATERS & KRAUS, LLP
MENDOZA, JULIETA          NJ - USDC for the District of New Jersey    3:21-cv-11838         WATERS & KRAUS, LLP
MORSE, DEANNA             NJ - USDC for the District of New Jersey    3:21-cv-09971         WATERS & KRAUS, LLP
MUELLER, ALICE            NJ - USDC for the District of New Jersey    3:21-cv-12264         WATERS & KRAUS, LLP
NEEDS, MARLENE            NJ - USDC for the District of New Jersey    3:21-cv-15982         WATERS & KRAUS, LLP
NOLAN, CAROL              NJ - USDC for the District of New Jersey    3:21-cv-06037         WATERS & KRAUS, LLP
NORRIS, KRISTIN           NJ - USDC for the District of New Jersey    3:21-cv-15708         WATERS & KRAUS, LLP
OKEN, WILDA               NJ - USDC for the District of New Jersey    3:21-cv-08676         WATERS & KRAUS, LLP
ORCUTT, PATRICIA          NJ - USDC for the District of New Jersey    3:21-cv-16445         WATERS & KRAUS, LLP
PANTOJA, CHRYSTAL         NJ - USDC for the District of New Jersey    3:21-cv-12888         WATERS & KRAUS, LLP
PEREZ, SANDRA             NJ - USDC for the District of New Jersey    3:21-cv-06211         WATERS & KRAUS, LLP
PERRY, PATSY              NJ - USDC for the District of New Jersey    3:21-cv-10636         WATERS & KRAUS, LLP
PIERCE, SANDRA            NJ - USDC for the District of New Jersey    3:21-cv-16600         WATERS & KRAUS, LLP
PITTS, LINDA              NJ - USDC for the District of New Jersey    3:21-cv-11684         WATERS & KRAUS, LLP
POWELL, CAROLYN           NJ - USDC for the District of New Jersey    3:21-cv-16599         WATERS & KRAUS, LLP
PURDY, TERESA             NJ - USDC for the District of New Jersey    3:20-cv-19849         WATERS & KRAUS, LLP
RANKIN, PAMELA            NJ - USDC for the District of New Jersey    3:21-cv-16295         WATERS & KRAUS, LLP
RATLIFF, CARLEENE         NJ - USDC for the District of New Jersey    3:21-cv-06041         WATERS & KRAUS, LLP
REED, ROXANNE             NJ - USDC for the District of New Jersey    3:21-cv-13900         WATERS & KRAUS, LLP
REVES, SONJA              NJ - USDC for the District of New Jersey    3:21-cv-05612         WATERS & KRAUS, LLP
RIOS, CLAUDIA             NJ - USDC for the District of New Jersey    3:21-cv-16372         WATERS & KRAUS, LLP
ROBERTS, JO               NJ - USDC for the District of New Jersey    3:21-cv-14663         WATERS & KRAUS, LLP
ROBERTS, MARY             NJ - USDC for the District of New Jersey    3:21-cv-10642         WATERS & KRAUS, LLP
RYBICKI, BONNIE           NJ - USDC for the District of New Jersey    3:21-cv-15038         WATERS & KRAUS, LLP
SAMBURSKY, JEAN           NJ - USDC for the District of New Jersey    3:21-cv-15041         WATERS & KRAUS, LLP
SANCHEZ, DORELIA          NJ - USDC for the District of New Jersey    3:21-cv-11091         WATERS & KRAUS, LLP
SCHOEN, KATHLEEN          NJ - USDC for the District of New Jersey    3:21-cv-13939         WATERS & KRAUS, LLP
SCHRENKEL, DARLENE        NJ - USDC for the District of New Jersey    3:21-cv-15592         WATERS & KRAUS, LLP
SEELY, MICA               NJ - USDC for the District of New Jersey    3:21-cv-15459         WATERS & KRAUS, LLP
SERRANO, EDILSA           NJ - USDC for the District of New Jersey    3:21-cv-15975         WATERS & KRAUS, LLP
SHIKOWSKI, SUSAN          NJ - USDC for the District of New Jersey    3:21-cv-14573         WATERS & KRAUS, LLP
SIKORA, BETTY             NJ - USDC for the District of New Jersey    3:21-cv-13438         WATERS & KRAUS, LLP
SMITH, INEZ               NJ - USDC for the District of New Jersey    3:21-cv-13989         WATERS & KRAUS, LLP
SMULLEN, AUDRA            NJ - USDC for the District of New Jersey    3:21-cv-14506         WATERS & KRAUS, LLP
SPARKS, BILLIE            NJ - USDC for the District of New Jersey    3:21-cv-16448         WATERS & KRAUS, LLP
SPEER, LORI               NJ - USDC for the District of New Jersey    3:21-cv-10093         WATERS & KRAUS, LLP
STETHEM, JANET            NJ - USDC for the District of New Jersey    3:21-cv-13154         WATERS & KRAUS, LLP
STONE, JOHANNA            NJ - USDC for the District of New Jersey    3:21-cv-15978         WATERS & KRAUS, LLP
SULLIVAN, HELEN           NJ - USDC for the District of New Jersey    3:21-cv-11683         WATERS & KRAUS, LLP
SWAIM, SELINA             NJ - USDC for the District of New Jersey    3:21-cv-03745         WATERS & KRAUS, LLP
TASVIBI, SUZAN            NJ - USDC for the District of New Jersey    3:21-cv-09028         WATERS & KRAUS, LLP
TESTA, CAMILLA            NJ - USDC for the District of New Jersey    3:21-cv-15523         WATERS & KRAUS, LLP
TRAHAN, JEWELL            NJ - USDC for the District of New Jersey    3:21-cv-09926         WATERS & KRAUS, LLP
UMPHRIES, LISA            NJ - USDC for the District of New Jersey    3:21-cv-14638         WATERS & KRAUS, LLP
VANDERLIP, JENNIFER       NJ - USDC for the District of New Jersey    3:21-cv-15711         WATERS & KRAUS, LLP
VANGIESEN, MARGARET       NJ - USDC for the District of New Jersey    3:21-cv-14042         WATERS & KRAUS, LLP
VINEZEANO, BWVERLY        NJ - USDC for the District of New Jersey    3:21-cv-14572         WATERS & KRAUS, LLP
WHITAKER, MARTHA          NJ - USDC for the District of New Jersey    3:21-cv-09977         WATERS & KRAUS, LLP
WHITE, LILLIAN            NJ - USDC for the District of New Jersey    3:21-cv-09032         WATERS & KRAUS, LLP
WHITENER, BETTIE          NJ - USDC for the District of New Jersey    3:21-cv-14157         WATERS & KRAUS, LLP
WIANT, LINDA              NJ - USDC for the District of New Jersey    3:21-cv-08980         WATERS & KRAUS, LLP
WIEBOLD, CAROL            NJ - USDC for the District of New Jersey    3:21-cv-14311         WATERS & KRAUS, LLP
WILCOX, MARGARET          NJ - USDC for the District of New Jersey    3:21-cv-15082         WATERS & KRAUS, LLP
WILSON, MARY              NJ - USDC for the District of New Jersey    3:21-cv-14685         WATERS & KRAUS, LLP
WOODARD, BRENDA           NJ - USDC for the District of New Jersey    3:21-cv-10461         WATERS & KRAUS, LLP
WOOFTER, VIOLA            NJ - USDC for the District of New Jersey    3:21-cv-02069         WATERS & KRAUS, LLP
WORCESTER, MELISSA        NJ - USDC for the District of New Jersey    3:21-cv-13150         WATERS & KRAUS, LLP
YEAGER, CORRINE           NJ - USDC for the District of New Jersey    3:21-cv-11841         WATERS & KRAUS, LLP
OTILLIO, CORRIN           LA - District Court - East Baton Rouge Parish C-702021-22         WATERS KRAUS PAUL
WHITNEY, LORI             NJ - USDC for the District of New Jersey    3:17-cv-06355         WEINSTEIN COURTURE PLLC
ABBOT, PATRICIA           NJ - Superior Court - Middlesex County      MID-L-003625-21       WEITZ & LUXENBERG
ADAMS, AMANDA             NJ - USDC for the District of New Jersey    3:21-cv-17640         WEITZ & LUXENBERG
ADAMS, ELLA               NJ - USDC for the District of New Jersey    ATL-L-002794-21       WEITZ & LUXENBERG
AGUILAR, CRYSTAL          NJ - Superior Court - Atlantic County       ATL-L-03259-21        WEITZ & LUXENBERG
AGUILAR, MELISSA          NJ - Superior Court - Atlantic County       ATL-L-002954-21       WEITZ & LUXENBERG
AKINS, TANYA              NJ - Superior Court - Atlantic County       ATL-L-003207-21       WEITZ & LUXENBERG
ALBER, ZACHARY M.         NJ - Superior Court - Middlesex County      MID-L-000955-21       WEITZ & LUXENBERG




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          Claimant Name                            State Filed                      Docket Number                Plaintiff Counsel
ALRASHDAN, REBECCA                 NJ - Superior Court - Atlantic County       ATL-L-003231-21      WEITZ & LUXENBERG
AMES-FRITZ, DENYSE EST OF
                                   NJ - Superior Court - Middlesex County      MID-L-007796-20      WEITZ & LUXENBERG
STEVEN FRITZ
AMMONS, SHELLEY                    NJ - Superior Court - Atlantic County       ATL-L-003260-21      WEITZ & LUXENBERG
ANDERSON, CAROLYN                  NJ - Superior Court - Middlesex County      MID-L-02533-18AS     WEITZ & LUXENBERG
ANDERSON, CHRISTINE AND
                                   NJ - Superior Court - Middlesex County      MID-L-005296-20      WEITZ & LUXENBERG
ANDERSON, WILLIAM
ANDERSON, LAWRENCE                 NJ - Superior Court - Middlesex County      MID-L-08180-18AS     WEITZ & LUXENBERG
ANDERSON, TERESA                   NJ - Superior Court - Atlantic County       ATL-L-003206-21      WEITZ & LUXENBERG
ARCHER, MARQUIETA                  NJ - USDC for the District of New Jersey    3:21-cv-15217        WEITZ & LUXENBERG
ARGUELLO, SARENNA                  NJ - Superior Court - Atlantic County       ATL-L-002745-21      WEITZ & LUXENBERG
ASHLEY JONES                       NJ - USDC for the District of New Jersey    3:21-cv-17969        WEITZ & LUXENBERG
AULISI, JOSEPH J.                  NJ - Superior Court - Middlesex County      MID-L-002973-20      WEITZ & LUXENBERG
BABB, GEORGANNA                    NJ - USDC for the District of New Jersey    3:21-cv-17345        WEITZ & LUXENBERG
BACON, HERLASCHIA                  NJ - USDC for the District of New Jersey    3:21-cv-17417        WEITZ & LUXENBERG
BAILEY, LINDA                      NJ - Superior Court - Atlantic County       ATL-L-002748-21      WEITZ & LUXENBERG
BALLIU, KLEVA                      NJ - Superior Court - Atlantic County       ATL-L-002725-21      WEITZ & LUXENBERG
BAPTISTE, TRACY                    NJ - USDC for the District of New Jersey    3:21-cv-14253        WEITZ & LUXENBERG
BARRETT, JONI L AND BARRETT,
                                   NJ - Superior Court - Middlesex County      MID-L-03205-18AS     WEITZ & LUXENBERG
BUFORD
BARTON, DIANA LEE EST OF JAMES
                                   NJ - Superior Court - Middlesex County      MID-L-02258-18AS     WEITZ & LUXENBERG
LEE BARTON
BARTON, MARY LOUISE                NJ - Superior Court - Middlesex County      MID-L-04071-19AS     WEITZ & LUXENBERG
BASNIGHT, GEORGE & BASNIGHT,
                                   NJ - Superior Court - Middlesex County      MID-L-00010-20AS     WEITZ & LUXENBERG
CAMILLA
BASSETT, ANTOINETTE                NJ - Superior Court - Atlantic County       ATL-L-003261-21      WEITZ & LUXENBERG
BEAMON, MARY                       NJ - Superior Court - Atlantic County       ATL-L-002519-21      WEITZ & LUXENBERG
BELL, CHANDA                       NJ - USDC for the District of New Jersey    3:21-cv-17341        WEITZ & LUXENBERG
                                   PA - Court of Common Pleas - Philadelphia
BERNHARD, PATRICIA                                                             2105008933           WEITZ & LUXENBERG
                                   County
BLUE, VERTIS                       NJ - Superior Court - Middlesex County      MID-L-002677-21AS    WEITZ & LUXENBERG
BOBINEY, EVETTE M. AND
                                   NJ - Superior Court - Middlesex County      MID-L-03393-18AS     WEITZ & LUXENBERG
BOBINEY, LARRY
BORGAL, LOIS AND BORGAL, JAMES NJ - Superior Court - Middlesex County          MID-L-002021-21      WEITZ & LUXENBERG
BOSTON, COLEEN                     NJ - Superior Court - Middlesex County      MID-L-004091-21      WEITZ & LUXENBERG
BOURG, BARBARA                     NJ - Superior Court - Atlantic County       ATL-L-002705-21      WEITZ & LUXENBERG
                                   PA - Court of Common Pleas - Philadelphia
BOWERS, BERNARD                                                                210902481            WEITZ & LUXENBERG
                                   County
BRADY, EMILIA C. EST OF R & F      PA - Court of Common Pleas - Philadelphia
                                                                               1611-3253            WEITZ & LUXENBERG
MARSICO                            County
BRAGG, VALERIE                     NJ - USDC for the District of New Jersey    3:21-cv-17557        WEITZ & LUXENBERG
BRAZZLE, BRIDAY                    NJ - Superior Court - Atlantic County       ATL-L-002505-21      WEITZ & LUXENBERG
BREAZEALE, NICOLETTE               NJ - USDC for the District of New Jersey    3:21-cv-17463        WEITZ & LUXENBERG
BRINNEMAN, TYLER &
                                   NJ - Superior Court - Middlesex County      MID-L-03541-19AS     WEITZ & LUXENBERG
BRINNEMAN, AUBREY
BROADHEAD, RICILYN                 NJ - Superior Court - Atlantic County       ATL-L-002706-21      WEITZ & LUXENBERG
BROOKS, LATOYA                     NJ - USDC for the District of New Jersey    3:21-cv-17561        WEITZ & LUXENBERG
BROWN, ALEXIS                      NJ - USDC for the District of New Jersey    3:21-cv-17320        WEITZ & LUXENBERG
BROWN, JOHN D. AND BROWN,
                                   NJ - Superior Court - Middlesex County      MID-L-03392-18AS     WEITZ & LUXENBERG
ELIZABETH
BROWN, KATIE                       NJ - USDC for the District of New Jersey    3:21-cv-16619        WEITZ & LUXENBERG
BRYAN, KAYLYN                      NJ - Superior Court - Atlantic County       ATL-L-002795-21      WEITZ & LUXENBERG
BUCARO, BARBARA                    NJ - Superior Court - Middlesex County      MID-L-01661-20AS     WEITZ & LUXENBERG
BUEHLER, EVA L. ESTATE OF
                                   NJ - Superior Court - Middlesex County      MID-L-002905-20      WEITZ & LUXENBERG
ROGER D BUEHLER
BUHLIG, MARCELLA AND BUHLIG,
                                   NJ - Superior Court - Middlesex County      MID-L-07265-19AS     WEITZ & LUXENBERG
WILLIAM
BURCH, DOROTHY                     NJ - Superior Court - Atlantic County       ATL-L-00321521       WEITZ & LUXENBERG
BYNUM, PAULETTE B ESTATE OF
                                   NJ - Superior Court - Middlesex County      MID-L-000442-21      WEITZ & LUXENBERG
PAUL MURRAY
BYRD, GLORIA                       NJ - USDC for the District of New Jersey    3:21-cv-17413        WEITZ & LUXENBERG
CAGLE, PATRICIA S.                 NJ - Superior Court - Middlesex County      MID-L-07561-19AS     WEITZ & LUXENBERG
CAMMALLERI, EMILIO &
                                   NJ - Superior Court - Middlesex County      MID-L-07266-19AS     WEITZ & LUXENBERG
CAMMALLERI, CLAUDETTE
CAMP, KIMBERLY AND CAMP,
                                   NJ - Superior Court - Middlesex County      MID-L-02202-20AS     WEITZ & LUXENBERG
MICHAEL
CAMPBELL, LATOYA                   NJ - Superior Court - Atlantic County       ATL-L-002842-21      WEITZ & LUXENBERG
CANTU, JUAN AND CANTU, LAURA       NJ - Superior Court - Middlesex County      MID-L-000572-21      WEITZ & LUXENBERG
CARLINE, HELGA AND CARLINE,
                                   NJ - Superior Court - Middlesex County      MID-L-002842-20      WEITZ & LUXENBERG
GERALD
CASARAVILLA, WALTER &
                                   NY - Supreme Court - NYCAL                  190296/2020          WEITZ & LUXENBERG
CASARAVILLA, TAMMAR
CASAS, BELINDA                     NJ - USDC for the District of New Jersey    3:21-cv-17337        WEITZ & LUXENBERG
CASTLE, ANNINA                     NJ - Superior Court - Middlesex County      MID-L-05729-18AS     WEITZ & LUXENBERG
CATHY CARRERA                      NJ - USDC for the District of New Jersey    3:21-cv-18060        WEITZ & LUXENBERG
CETINA, TANYA                      NJ - USDC for the District of New Jersey    3:21-cv-17535        WEITZ & LUXENBERG
CHAMBERLAIN, BUCKY                 NJ - Superior Court - Middlesex County      MID-L-008455-20      WEITZ & LUXENBERG
CHAPMAN, CHRISTOPHER &
                                   NJ - Superior Court - Middlesex County      MID-L-002923-20      WEITZ & LUXENBERG
CHAPMAN, ANGELA




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          Claimant Name                          State Filed                      Docket Number                Plaintiff Counsel
CHAVEZ, RACHEL                   NJ - Superior Court - Atlantic County      ATL-L-002619-21       WEITZ & LUXENBERG
CHEEK, DIMETRIA                  NJ - Superior Court - Atlantic County      ATL-L-002482-21       WEITZ & LUXENBERG
CHRISTIAN, COLLEEN               NJ - Superior Court - Atlantic County      ATL-L-002746-21       WEITZ & LUXENBERG
CHRISTINA COLLINS                NJ - USDC for the District of New Jersey   3:21-cv-18070         WEITZ & LUXENBERG
CLEMMONS, JEANETTE               NJ - Superior Court - Atlantic County      ATL-L-002753-21       WEITZ & LUXENBERG
CLIFTON, REJEANA ESTATE OF
                                 NJ - Superior Court - Middlesex County     MID-L-003946-21       WEITZ & LUXENBERG
JAMES CLIFTON
COLLINS, DEETTA                  NJ - Superior Court - Atlantic County      ATL-L-002953-21       WEITZ & LUXENBERG
COLVIN, VIRGINIA                 NJ - Superior Court - Atlantic County      ATL-L-002927-21       WEITZ & LUXENBERG
COOK, PATRICIA AND
                                 NJ - Superior Court - Middlesex County     MID-L-000294-21       WEITZ & LUXENBERG
DUCKWORTH, RODNEY
COOPER, JENNIFER                 NJ - Superior Court - Atlantic County      ATL-L-003214-21       WEITZ & LUXENBERG
COOPER, JESSICA                  NJ - Superior Court - Atlantic County      ATL-L-002843-21       WEITZ & LUXENBERG
CORNELL, WILLIAM EST OF DIANE
                                 NJ - Superior Court - Middlesex County     MID-L-003129-20       WEITZ & LUXENBERG
CORNELL
CORREIA, JOAN                    NJ - USDC for the District of New Jersey   3:21-cv-17426         WEITZ & LUXENBERG
COUCH, ALEXANDER AND COUCH,
                                 NJ - Superior Court - Middlesex County     MID-004514-21         WEITZ & LUXENBERG
NORMA
COULBOURN, SHIRLEY AND
                                 NJ - Superior Court - Middlesex County     MID-L-008396-20       WEITZ & LUXENBERG
COULBOURN, DANIEL
COX, KAREN AND COX, TIMOTHY      NJ - Superior Court - Middlesex County     MID-L-006283-20AS     WEITZ & LUXENBERG
CRYSTAL DUKES                    NJ - USDC for the District of New Jersey   3:21-cv-17974         WEITZ & LUXENBERG
CUBBY, CLARISSA                  NJ - Superior Court - Atlantic County      ATL-L-002726-21       WEITZ & LUXENBERG
CUMMINGS, JAMES AND
                                 NJ - Superior Court - Middlesex County     MID-L-00617-20AS      WEITZ & LUXENBERG
CUMMINGS, ROSEMARY
CUPPS, CATHERINE AND CUPPS,
                                 NJ - Superior Court - Middlesex County     MID-L-002853-20       WEITZ & LUXENBERG
CLIFTON
CURRAN, JACQUELINE               NJ - Superior Court - Atlantic County      ATL-L-002760-21       WEITZ & LUXENBERG
CURRY, AUDREY                    NJ - Superior Court - Atlantic County      ATL-L-003213-21       WEITZ & LUXENBERG
CURTIS, APRIL                    NJ - Superior Court - Atlantic County      ATL-L-002844-21       WEITZ & LUXENBERG
CUSTODIO, MARANGELY              NJ - USDC for the District of New Jersey   3:21-cv-17529         WEITZ & LUXENBERG
DAILEY, SHARON                   NJ - USDC for the District of New Jersey   3:21-cv-16949         WEITZ & LUXENBERG
DAUGHERTY, JENNIFER              NJ - Superior Court - Atlantic County      ATL-L-002480-21       WEITZ & LUXENBERG
DAVI, BARBARA A. EST OF JAMES H.
                                 NJ - Superior Court - Middlesex County     MID-L-00470-20AS      WEITZ & LUXENBERG
DAVIS
DAVIS, BRIAN K EST OF K DAVIS &
                                 NJ - Superior Court - Middlesex County     MID-L-00407-19AS      WEITZ & LUXENBERG
L DAVIS
DAVIS, MARY                      NJ - Superior Court - Atlantic County      ATL-L-002932-21       WEITZ & LUXENBERG
DAVIS, VONDA ESTATE OF SANDRA
                                 NJ - Superior Court - Middlesex County     MID-L-000232-21       WEITZ & LUXENBERG
BRYANT
DAY, CLAIRE ESTATE OF ARLENE J
                                 NJ - Superior Court - Middlesex County     MID-L-05285-18AS      WEITZ & LUXENBERG
MAYVILLE
DEPPE, KIMBERLY                  NJ - Superior Court - Middlesex County     MID-L-04447-18AS      WEITZ & LUXENBERG
DESCHAMPS, VICKY                 NJ - Superior Court - Atlantic County      ATL-L-002640-21       WEITZ & LUXENBERG
DIEDRE HARRIS                    NJ - Superior Court - Atlantic County      ATL-L-003285-21       WEITZ & LUXENBERG
DIODATO, DOREEN                  NJ - Superior Court - Atlantic County      ATL-L-003212-21       WEITZ & LUXENBERG
DOLAN, LISA                      NJ - Superior Court - Atlantic County      ATL-L-002845-21       WEITZ & LUXENBERG
DONNA, JOHNSON,                  CA - Superior Court - Los Angeles          BC679466              WEITZ & LUXENBERG
DORSEY, DEBORAH                  NJ - Superior Court - Atlantic County      ATL-L-003266-21       WEITZ & LUXENBERG
DOWNARD, ROBERTA                 NJ - Superior Court - Atlantic County      ATL-L-002846-21       WEITZ & LUXENBERG
DOWNING, TINA                    NJ - USDC for the District of New Jersey   3:21-cv-17554         WEITZ & LUXENBERG
DOYLE, SHERRIA                   NJ - USDC for the District of New Jersey   3:21-cv-17532         WEITZ & LUXENBERG
DOZIER, VERNA                    NJ - Superior Court - Middlesex County     MID-L-08467-19AS      WEITZ & LUXENBERG
DUBON, MARTHA                    NJ - Superior Court - Middlesex County     MID-L-06012-18AS      WEITZ & LUXENBERG
DUFFY, JOYCE                     NJ - Superior Court - Middlesex County     MID-L-01439-20AS      WEITZ & LUXENBERG
DUGGAN, JESSICA                  NJ - Superior Court - Atlantic County      ATL-L-003211-21       WEITZ & LUXENBERG
DUHE, SILVIA                     NJ - Superior Court - Atlantic County      ATL-L-003210-21       WEITZ & LUXENBERG
DURHEIM, JENNIFER                NJ - USDC for the District of New Jersey   3:21-cv-17347         WEITZ & LUXENBERG
ECKER, VALERIE                   NJ - Superior Court - Atlantic County      ATL-L-002923-21       WEITZ & LUXENBERG
ELLIOTT, ADA                     NJ - USDC for the District of New Jersey   3:21-cv-17332         WEITZ & LUXENBERG
ELLIS, DENIA                     NJ - Superior Court - Atlantic County      ATL-L-002901-21       WEITZ & LUXENBERG
ELSON, PHYLLIS ESTATE OF
                                 NJ - Superior Court - Middlesex County     MID-L-005478-21       WEITZ & LUXENBERG
EUGENE ELSON
ELWELL, GARY                     NJ - Superior Court - Middlesex County     MID-L-02301-20AS      WEITZ & LUXENBERG
ESCOBAR, ROSARIO                 NJ - Superior Court - Middlesex County     MID-L-02313-18AS      WEITZ & LUXENBERG
EULAU, ALAN AND EULAU,
                                 NY - Supreme Court - NYCAL                 190211/2020           WEITZ & LUXENBERG
BARBARA
EVANS, JUANITA                   NJ - USDC for the District of New Jersey   3:21-cv-16617         WEITZ & LUXENBERG
EVERSPAUGH, WANDA                NJ - Superior Court - Atlantic County      ATL-L-002727-21       WEITZ & LUXENBERG
FALK, AUDIE D. AND FALK, ALVIN NJ - Superior Court - Middlesex County       MID-L-05029-19AS      WEITZ & LUXENBERG
FERGUSON, LISA                   NJ - Superior Court - Atlantic County      ATL-L-002504-21       WEITZ & LUXENBERG
FERNANDEZ, NICOLE                NY - Supreme Court - New York County       190139/2021           WEITZ & LUXENBERG
FERRARA, ANGELA                  NY - Supreme Court - NYCAL                 190219/2020           WEITZ & LUXENBERG
FIELDS,, MARVIN                  NJ - Superior Court - Middlesex County     MID-L-00011-20AS      WEITZ & LUXENBERG
FIERRO, ALBA                     NJ - Superior Court - Atlantic County      ATL-L-002743-21       WEITZ & LUXENBERG
FIGUEROA, KATIA AND FIGUEROA,
                                 NJ - Superior Court - Middlesex County     MID-L-00854-18AS      WEITZ & LUXENBERG
DAVID
FIGUEROA, RICHARD EST OF
                                 NJ - Superior Court - Middlesex County     MID-L-001004-21       WEITZ & LUXENBERG
SHARON ALVAREZ
FLETCHER, BOBBIE                 NJ - Superior Court - Atlantic County      ATL-L-002902-21       WEITZ & LUXENBERG




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FLORES-ANANY, ESMERALDA         NJ - Superior Court - Atlantic County       ATL-L-002521-21       WEITZ & LUXENBERG
FLUKER, MILDRED                 NJ - Superior Court - Atlantic County       ATL-L-002903-21       WEITZ & LUXENBERG
FONNER, CYNTHIA                 NJ - Superior Court - Atlantic County       ATL-L-003223-21       WEITZ & LUXENBERG
FONTAINE, THERESA               NJ - Superior Court - Atlantic County       ATL-L-003233-21       WEITZ & LUXENBERG
FORBES, BRENDA                  NJ - Superior Court - Atlantic County       ATL-L-002761-21       WEITZ & LUXENBERG
FORGAR, TERRY                   NJ - Superior Court - Atlantic County       ATL-L-002163-21       WEITZ & LUXENBERG
FOX, ANGELA                     NJ - Superior Court - Atlantic County       ATL-L-002762-21       WEITZ & LUXENBERG
FOX, MELISSA AND FOX, MICHAEL   NJ - Superior Court - Middlesex County      MID-L-04418-18AS      WEITZ & LUXENBERG
FRANCISSIMPIER, MORGAN          NJ - USDC for the District of New Jersey    3:21-cv-17531         WEITZ & LUXENBERG
FRANCO, MISTI                   NJ - Superior Court - Atlantic County       ATL-L-002765-21       WEITZ & LUXENBERG
FRANCOIS, CARLA                 NJ - Superior Court - Atlantic County       ATL-L-003224-21       WEITZ & LUXENBERG
FRISSORA, ANNETTE               NJ - Superior Court - Middlesex County      MID-L-004867-21       WEITZ & LUXENBERG
FULLER, JESSICA                 NJ - Superior Court - Atlantic County       ATL-L-002759-21       WEITZ & LUXENBERG
GANSKY-STEVENS, MARY            NJ - Superior Court - Middlesex County      MID-L-05169-18AS      WEITZ & LUXENBERG
GARCIA, ANNMARIA                NJ - Superior Court - Atlantic County       ATL-L-003064-21       WEITZ & LUXENBERG
GARCIA, EDWARD AND LISA         NJ - Superior Court - Middlesex County      MID-L-01515-17AS      WEITZ & LUXENBERG
GARZA, JORGE                    NJ - Superior Court - Middlesex County      MID-L-003299-21       WEITZ & LUXENBERG
GATTONE, PEGGY B. AND
                                NJ - Superior Court - Middlesex County      MID-L-03039-18AS      WEITZ & LUXENBERG
GATTONE, PETER
GEREMIA, FRANCO AND GEREMIA,
                                NJ - Superior Court - Middlesex County      MID-L-000845-21       WEITZ & LUXENBERG
PATRICIA
GETER, REBECCA                  NJ - Superior Court - Middlesex County      MID-L-003870-21       WEITZ & LUXENBERG
GIBSON, LATONJA                 NJ - Superior Court - Atlantic County       ATL-L-002485-21       WEITZ & LUXENBERG
GOLSON, MARYANN                 NJ - Superior Court - Atlantic County       ATL-L-002506-21       WEITZ & LUXENBERG
GOMEZ, DOLORES                  NY - Supreme Court - NYCAL                  190188/20             WEITZ & LUXENBERG
GOMEZ, VALERIE                  NJ - Superior Court - Atlantic County       ATL-L-002763-21       WEITZ & LUXENBERG
GRAHAM, ANGELIQUE               NJ - Superior Court - Atlantic County       ATL-L-003230-21       WEITZ & LUXENBERG
GRAHAM, SALLY                   NJ - Superior Court - Atlantic County       ATL-L-002755-21       WEITZ & LUXENBERG
GRAY, PATRICE                   NJ - Superior Court - Atlantic County       ATL-L-003063-21       WEITZ & LUXENBERG
GRAY, VIRGIE                    NJ - Superior Court - Atlantic County       ATL-L-002487-21       WEITZ & LUXENBERG
GREANEY, EILEEN                 NJ - USDC for the District of New Jersey    3:21-cv-15216         WEITZ & LUXENBERG
GUTIERREZ, MARICELA             CA - Superior Court - Los Angeles           19STCV02585           WEITZ & LUXENBERG
HAGERTY, ELLEN                  NJ - USDC for the District of New Jersey    3:21-cv-16615         WEITZ & LUXENBERG
HALL, AMBER                     NJ - Superior Court - Atlantic County       ATL-L-002952-21       WEITZ & LUXENBERG
HARRELL, BRENDA                 NJ - Superior Court - Atlantic County       ATL-L-002641-21       WEITZ & LUXENBERG
HARRIS, JOHN EST OF JULIANNE
                                NJ - Superior Court - Middlesex County      MID-L-03578-18AS      WEITZ & LUXENBERG
HARRIS
HARRIS, KIMBERLY AND HARRIS,
                                NJ - Superior Court - Middlesex County      MID-L-004711-21       WEITZ & LUXENBERG
MICHAEL
HARRIS, RHONDA                  NJ - Superior Court - Atlantic County       ATL-L-002644-21       WEITZ & LUXENBERG
HARRIS, SONYA                   NJ - Superior Court - Atlantic County       ATL-L-002782-21       WEITZ & LUXENBERG
HARRIS, VICTORIA                NJ - Superior Court - Atlantic County       ATL-L-002707-21       WEITZ & LUXENBERG
HAWK, MARY                      NJ - USDC for the District of New Jersey    3:21-cv-17468         WEITZ & LUXENBERG
HAYNES, PAUL D. AND HAYNES,
                                NJ - Superior Court - Middlesex County      MID-L-003113-20       WEITZ & LUXENBERG
AMY
HEATHER HALL                    NJ - Superior Court - Atlantic County       ATL-L-003268-21       WEITZ & LUXENBERG
HEISE, ANGELIQUE                NJ - Superior Court - Atlantic County       ATL-L-002764-21       WEITZ & LUXENBERG
HESTON, RAYMOND AND HESTON,
                                NJ - Superior Court - Middlesex County      MID-L-007187-20       WEITZ & LUXENBERG
SANDRA
HIBBS, JUDY                     NJ - Superior Court - Atlantic County       ATL-L-002905-21       WEITZ & LUXENBERG
HICKEY, JULIA EST OF JERRY
                                NJ - Superior Court - Middlesex County      MID-L-01269-18AS      WEITZ & LUXENBERG
HICKEY
HOFFMAN, PATRICIA               NJ - Superior Court - Middlesex County      MID-L-03540-19AS      WEITZ & LUXENBERG
HOFFMAN, VANESSA                NJ - Superior Court - Middlesex County      MID-L-003244-21       WEITZ & LUXENBERG
HOLLEY, GLADYS E. EST OF
                                NJ - Superior Court - Middlesex County      MID-L-06674-18AS      WEITZ & LUXENBERG
LUTHER HOLLEY
HOLMES, AGNES A.                NJ - Superior Court - Middlesex County      MID-L-05412-18AS      WEITZ & LUXENBERG
HOLT, CANDACE                   NJ - Superior Court - Atlantic County       ATL-L-003232-21       WEITZ & LUXENBERG
HOLTERMAN, ALISON EST OF P
                                NY - Supreme Court - NYCAL                  190058/2021           WEITZ & LUXENBERG
HOLTERMAN
HORSCH-NUSBAUM, RUTH            NJ - Superior Court - Middlesex County      MID-L-006015-20AS     WEITZ & LUXENBERG
HOWELL, MARY                    NJ - Superior Court - Middlesex County      MID-L-05452-17AS      WEITZ & LUXENBERG
HUBBARD, JESSICA                NJ - Superior Court - Atlantic County       ATL-L-002522-21       WEITZ & LUXENBERG
HUFF, GERRI                     NJ - Superior Court - Atlantic County       ATL-L-003262-21       WEITZ & LUXENBERG
HULSEY, JAMES AND HULSEY,
                                NJ - Superior Court - Middlesex County      MID-L-02138-18AS      WEITZ & LUXENBERG
BONNIE
HUNTER, VALERIE                 NJ - Superior Court - Middlesex County      MID-L-08387-19AS      WEITZ & LUXENBERG
HUNTLEY, LINDA                  NJ - Superior Court - Middlesex County      MID-L-06691-19AS      WEITZ & LUXENBERG
HYCHE, RELDA                    NJ - Superior Court - Atlantic County       ATL-L-002867-21       WEITZ & LUXENBERG
IOSSA, DANIEL SR AND IOSSA,     PA - Court of Common Pleas - Philadelphia
                                                                            2101051929            WEITZ & LUXENBERG
HOLLY                           County
IRENE, NILDA                    NJ - Superior Court - Atlantic County       ATL-L-003140-21       WEITZ & LUXENBERG
JACKSON, JOHN AND JACKSON,
                                NJ - Superior Court - Middlesex County      MID-L-00237-19AS      WEITZ & LUXENBERG
PHYLLIS
JACKSON, KELBY AND JACKSON,
                                NJ - Superior Court - Middlesex County      MID-L-003160-21       WEITZ & LUXENBERG
AMANDA
JACKSON, MANNISE                NJ - Superior Court - Atlantic County       ATL-L-003263-21       WEITZ & LUXENBERG
JACKSON, STEPHEN AND JACKSON,
                                NJ - Superior Court - Middlesex County      MID-L-001671-21       WEITZ & LUXENBERG
SUSAN
JACOBY, LISA                    NY - Supreme Court - NYCAL                  190174/2021           WEITZ & LUXENBERG




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          Claimant Name                             State Filed                      Docket Number                  Plaintiff Counsel
JANE HUMPHREY                       NJ - USDC for the District of New Jersey   3:21-cv-17977           WEITZ & LUXENBERG
JEAN DRAEGER                        NJ - Superior Court - Atlantic County      ATL-L-003278-21         WEITZ & LUXENBERG
JENNIFER MINNICK                    NJ - Superior Court - Atlantic County      ATL-L-003283-21         WEITZ & LUXENBERG
JENNIFER REELEY                     NJ - Superior Court - Atlantic County      ATL-L-003287-21         WEITZ & LUXENBERG
JIMENEZ, DEBBIE                     NJ - Superior Court - Atlantic County      ATL-L-002747-21         WEITZ & LUXENBERG
JOHNSON, BILLIE JEAN & JOHNSON,
                                    NJ - Superior Court - Middlesex County     MID-L-03490-19AS        WEITZ & LUXENBERG
JERAMY
JOHNSON, CATHERINE                  NJ - Superior Court - Atlantic County      ATL-L-002639-21         WEITZ & LUXENBERG
JOHNSON, DEBORAH                    NJ - Superior Court - Atlantic County      ATL-L-002783-21         WEITZ & LUXENBERG
JOHNSON, ISABELL                    NJ - Superior Court - Atlantic County      ATL-L-002906-21         WEITZ & LUXENBERG
JOHNSON, SHAWN & JOHNSON,
                                    CA - Superior Court - Los Angeles          20STCV17335             WEITZ & LUXENBERG
HOLLY
JONES, JACQUELINE AND JONES,
                                    NJ - Superior Court - Middlesex County     MID-L-008349-20         WEITZ & LUXENBERG
JOHN
JONES, NORA                         NJ - Superior Court - Atlantic County      ATL-L-003264-21         WEITZ & LUXENBERG
JOYCE WANUALA                       NJ - Superior Court - Atlantic County      ATL-L-003279-21         WEITZ & LUXENBERG
KAISER, DEBBRA                      NJ - Superior Court - Atlantic County      ATL-L-002907-21         WEITZ & LUXENBERG
KATSOURIS, IRENE                    NJ - Superior Court - Middlesex County     MID-L-006700-20         WEITZ & LUXENBERG
KELLEY, ANGELA                      NJ - Superior Court - Atlantic County      ATL-L-002979-21         WEITZ & LUXENBERG
KELLY, ANTOINETTE                   NJ - Superior Court - Atlantic County      ATL-L-002645-21         WEITZ & LUXENBERG
KENNEDY, NANCY & KENNEDY,
                                    NJ - Superior Court - Middlesex County     MID-L-01660-20AS        WEITZ & LUXENBERG
ROBERT W
KESHIA KERN                         NJ - Superior Court - Atlantic County      ATL-L-003286-21         WEITZ & LUXENBERG
KIM, KWAN                           NJ - Superior Court - Middlesex County     MID-L-000030-21         WEITZ & LUXENBERG
KING, DAVID                         NJ - Superior Court - Middlesex County     MID-L-01416-19AS        WEITZ & LUXENBERG
KINNEY, RHONDA                      NJ - Superior Court - Atlantic County      ATL-L-003265-21         WEITZ & LUXENBERG
KIRBY, ASIA                         NJ - Superior Court - Atlantic County      ATL-L-002647-21         WEITZ & LUXENBERG
KLAIBER, KIM                        NJ - Superior Court - Atlantic County      ATL-L-001719-21         WEITZ & LUXENBERG
KLAYMAN, HOPE AND KLAYMAN,
                                    NJ - Superior Court - Middlesex County     MID-L-04994-18AS        WEITZ & LUXENBERG
MARK STEVEN
KLICK, PAUL III AND KLICK, JULIE    NJ - USDC - District of New Jersey         3:20-cv-16654           WEITZ & LUXENBERG
KLIK, WALTER J. AND KLIK, DANA      NJ - Superior Court - Middlesex County     MID-L-02532-18AS        WEITZ & LUXENBERG
KNOX, ANTHONY AND KNOX, LEIA
                                    NJ - Superior Court - Middlesex County     MID-L-004081-20         WEITZ & LUXENBERG
ELIZABETH
KOPP, JOHN AND KOPP, CHRISTINE NY - Supreme Court - Suffolk County             609596/2020             WEITZ & LUXENBERG
KOTOWSKI, GRAZYNA AND
                               NY - Supreme Court - NYCAL                      190295/2020             WEITZ & LUXENBERG
KOTOWSKI, ZDZISLAW
KRICH, ROCHELLE AND KRICH,
                               CA - Superior Court - Los Angeles               21STCV22952             WEITZ & LUXENBERG
HERSHIE
KUYKENDALL, MARIA AND
                               NJ - Superior Court - Middlesex County          MID-L-00739-20AS        WEITZ & LUXENBERG
KUYKENDALL, JAMES
LARSON, LILLIAN                NJ - Superior Court - Middlesex County          MID-L-002729-20         WEITZ & LUXENBERG
LASSITER, VERONICA             NJ - Superior Court - Atlantic County           ATL-L-002507-21         WEITZ & LUXENBERG
LAZETTE, DIANNE AND LAZETTE,
                               NJ - Superior Court - Middlesex County          MID-L-007561-20         WEITZ & LUXENBERG
CHRISTOPHER
LAZZARA, ELIZABETH             NJ - Superior Court - Atlantic County           ATL-L-003267-21         WEITZ & LUXENBERG
LEE, ASHLEY                    NJ - Superior Court - Atlantic County           ATL-L-003227-21         WEITZ & LUXENBERG
LEE, CHRISTINA AND LEE, TED    NJ - Superior Court - Middlesex County          MID-L-002759-20         WEITZ & LUXENBERG
LENTINE, PATRICIA              NJ - Superior Court - Atlantic County           ATL-L-002908-21         WEITZ & LUXENBERG
LEVY, GERALD                   NJ - Superior Court - Middlesex County          MID-L-007671-20         WEITZ & LUXENBERG
LOCK, JUDITH                   NY - Supreme Court - NYCAL                      190223/2019             WEITZ & LUXENBERG
LOCONTE, BARBARANN             NY - Supreme Court - NYCAL                      190289/2020             WEITZ & LUXENBERG
LOKEY, JAMES AND LOKEY,
                               NJ - Superior Court - Middlesex County          MID-L-006594            WEITZ & LUXENBERG
MARIAN
LONGORIA, JACKIE AND LONGORIA,
                               NJ - Superior Court - Middlesex County          MID-L-07866-19AS        WEITZ & LUXENBERG
DANIEL
LOPEZ, GAYLE                   NJ - USDC for the District of New Jersey        3:21-cv-16610           WEITZ & LUXENBERG
LOWE, JAMES AND LOWE, LAURA NJ - Superior Court - Middlesex County             MID-L-000382-21         WEITZ & LUXENBERG
LYONS, LAMESHIA                NJ - Superior Court - Atlantic County           ATL-L-002951-21         WEITZ & LUXENBERG
LYONS-FAIRBANKS, JANET         NJ - Superior Court - Atlantic County           ATL-L-002929-21         WEITZ & LUXENBERG
M FABIAN, M BOTVINICK AND D
                               NJ - Superior Court - Middlesex County          MID-L-07184-19AS        WEITZ & LUXENBERG
BOTVINICK
MACMINN, GERALDINE N. ET AL,   NJ - Superior Court - Middlesex County          MID-L-00002-20AS        WEITZ & LUXENBERG
MADLIK, DONALD C EST OF
                               NY - Supreme Court - NYCAL                      190139                  WEITZ & LUXENBERG
MARILYN MADLIK
MALDONADO, MOISES EST OF
                               NJ - Superior Court - Middlesex County          MID-L-05030-19AS        WEITZ & LUXENBERG
SARA MALDONADO
MANNING, PATRICIA              NY - Supreme Court - NYCAL                      190052/2020             WEITZ & LUXENBERG
MANZ, ROBERT                   Nj - USDC - District of New Jersey              3:18-cv-14083-PGS-TJB   WEITZ & LUXENBERG
MARETT, KEVIN AND MARETT,
                               NJ - Superior Court - Middlesex County          MID-L-07486-17AS        WEITZ & LUXENBERG
LORI
MARLIN, JULIA                  NJ - Superior Court - Atlantic County           ATL-L-002950-21         WEITZ & LUXENBERG
MARRERO, GLENDA                NJ - Superior Court - Atlantic County           ATL-L-002789-21         WEITZ & LUXENBERG
MARTIN, KATIE                  NJ - Superior Court - Atlantic County           ATL-L-003101-21         WEITZ & LUXENBERG
MARTINEZ, MARGARET             NJ - Superior Court - Middlesex County          MID-L-00008-20AS        WEITZ & LUXENBERG
MARTINEZ, MISTY                NJ - Superior Court - Atlantic County           ATL-L-002933-21         WEITZ & LUXENBERG
MARY CURTIS                    NJ - USDC for the District of New Jersey        3:21-cv-18067           WEITZ & LUXENBERG
MASON, DONA AND MASON, KEN     NJ - Superior Court - Middlesex County          MID-L-07484-17AS        WEITZ & LUXENBERG
MATTHEWS, MICHELLE             NJ - USDC for the District of New Jersey        3:21-cv-15933           WEITZ & LUXENBERG




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MATTOCKS, ROBIN &
                               NJ - Superior Court - Middlesex County      MID-L-00319-20AS     WEITZ & LUXENBERG
WINTERROWD, LORNA
MAY, PEGGY A. ESTATE OF BERTHA
                               NJ - Superior Court - Middlesex County      MID-L-002568-21AS    WEITZ & LUXENBERG
HOSECLAW
MCCAULEY, THOMAS AND
                               NJ - Superior Court - Middlesex County      MID-L-01191-20AS     WEITZ & LUXENBERG
MCCAULEY, GAIL
MCDONALD, MATTHEW              NJ - Superior Court - Middlesex County      MID-L-00122-18AS     WEITZ & LUXENBERG
MCGEE-LEMONS, DIANE            NJ - Superior Court - Atlantic County       ATL-L-003100-21      WEITZ & LUXENBERG
MCKERNAN, DIANE AND
                               NY - Supreme Court -Erie County             804275/2021          WEITZ & LUXENBERG
MCKERNAN, JAMES
MCLACHLAN, DORRET              NJ - Superior Court - Atlantic County       ATL-L-002461-21      WEITZ & LUXENBERG
MEADOWS, MELISSA               NJ - Superior Court - Atlantic County       ATL-L-003058-21      WEITZ & LUXENBERG
MECHELLE DOBBS                 NJ - USDC for the District of New Jersey    3:21-cv-18113        WEITZ & LUXENBERG
MEDINA, DORIS AND MEDINA,
                               NJ - Superior Court - Middlesex County      MID-L-002681-20      WEITZ & LUXENBERG
TEMISTOCOLE
MEDINA, RAQUEL                 NJ - Superior Court - Atlantic County       ATL-L-002364-21      WEITZ & LUXENBERG
MEERDO, ELEANOR ESTATE OF      PA - Court of Common Pleas - Philadelphia
                                                                           2103023652           WEITZ & LUXENBERG
GEORGE MEERDO                  County
MEGARIOTIS, JOANNA             NJ - Superior Court - Middlesex County      MID-L-001970-21      WEITZ & LUXENBERG
MELBA RODRIGUEZ                NJ - Superior Court - Atlantic County       ATL-L-003280-21      WEITZ & LUXENBERG
MERCER, ROBERT C AND MERCER,
                               NJ - Superior Court - Middlesex County      MID-L-03007-19AS     WEITZ & LUXENBERG
KATHLEEN
MESSERLI, CAROL A AND
                               NJ - Superior Court - Middlesex County      MID-L-06690-19AS     WEITZ & LUXENBERG
MESSERLI, TERRY A
MILAN, ELIZABETH               NY - Supreme Court - NYCAL                  190354/2018          WEITZ & LUXENBERG
MILES, ANTOINETTE              NJ - Superior Court - Atlantic County       ATL-L-002909-21      WEITZ & LUXENBERG
MILLER, ANN AND MILLER,
                               NJ - Superior Court - Middlesex County      MID-L-002710-AS      WEITZ & LUXENBERG
JEFFREY
MILLER, ELIZABETH              NJ - Superior Court - Atlantic County       ATL-L-002709-21      WEITZ & LUXENBERG
MISFELDT, GLORIA               NJ - Superior Court - Atlantic County       ATL-L-002481-21      WEITZ & LUXENBERG
MITCHELL, CHINA                NJ - Superior Court - Atlantic County       ATL-L-002931-21      WEITZ & LUXENBERG
MOHYDE, PATRICE AND SCALIZI,
                               NJ - Superior Court - Middlesex County      MID-L-08181-18AS     WEITZ & LUXENBERG
MICHAEL
MONTGOMERY, JOHN P EST OF K
                               NJ - Superior Court - Middlesex County      MID-L-003582-20AS    WEITZ & LUXENBERG
MONTGOMERY
MOORE, DAWN                    NJ - Superior Court - Atlantic County       ATL-L-002646-21      WEITZ & LUXENBERG
MORTON, BEVERLY                NJ - Superior Court - Atlantic County       ATL-L-003226-21      WEITZ & LUXENBERG
MOTA, MARITZA                  NJ - Superior Court - Middlesex County      MID-L-00573-21       WEITZ & LUXENBERG
MRAVINTZ, KRYSTAL              NJ - USDC for the District of New Jersey    3:21-cv-17452        WEITZ & LUXENBERG
MULLAN, MARILOU RE: ARDYS C.
                               NJ - Superior Court - Middlesex County      MID-L-05788-19AS     WEITZ & LUXENBERG
LANE
MULVIHILL, SHANNON             NJ - Superior Court - Atlantic County       ATL-L-002648-21      WEITZ & LUXENBERG
MURGA, KIMBERLY                NJ - Superior Court - Atlantic County       ATL-L-002744-21      WEITZ & LUXENBERG
MUSSER, VIRGINIA               NJ - Superior Court - Middlesex County      MID-L-003368-20AS    WEITZ & LUXENBERG
MYERS, BONNIE J.               NJ - Superior Court - Middlesex County      MID-L-02585-18AS     WEITZ & LUXENBERG
NEICE, SAMANTHA                NJ - Superior Court - Atlantic County       ATL-L-002910-21      WEITZ & LUXENBERG
NICHOLSON, NATHAN ESTATE OF H
                               NJ - Superior Court - Middlesex County      MID-L-004402-21      WEITZ & LUXENBERG
NICHOLSON
NIKIESHA GIBSON-MEADOWS        NJ - Superior Court - Atlantic County       ATL-L-003284-21      WEITZ & LUXENBERG
NORICK, LYDIA JANE             NJ - Superior Court - Middlesex County      MID-L-01815-19AS     WEITZ & LUXENBERG
NORMAN, BOBBIE                 NJ - Superior Court - Atlantic County       ATL-L-003099-21      WEITZ & LUXENBERG
NORRIS, SARAH                  NJ - Superior Court - Atlantic County       ATL-L-002654-21      WEITZ & LUXENBERG
NUSSBAUM, BETTE                NJ - Superior Court - Middlesex County      MID-L-01641-19AS     WEITZ & LUXENBERG
ODOM, CHARLES                  NJ - Superior Court - Middlesex County      MID-L-004851-21      WEITZ & LUXENBERG
OHLUND, STEVEN AND OHLUND,
                               NJ - Superior Court - Middlesex County      MID-L-006781-20      WEITZ & LUXENBERG
PATRICIA
OLIVERO, NIDIA, E              NJ - Superior Court - Middlesex County      MID-L-00529-18AS     WEITZ & LUXENBERG
OLSON, THELMA                  NJ - Superior Court - Atlantic County       ATL-L-003098-21      WEITZ & LUXENBERG
ONEAL, DENISE FULMORE EST OF C
                               NY - Supreme Court - NYCAL                  190157/2020          WEITZ & LUXENBERG
FULMORE
ORTIZ, ERICA                   NJ - Superior Court - Atlantic County       ATL-L-002656-21      WEITZ & LUXENBERG
ORTIZ, NAARA                   NJ - Superior Court - Atlantic County       ATL-L-003097-21      WEITZ & LUXENBERG
OSTROWSKI, KRISTIE             NJ - Superior Court - Atlantic County       ATL-L-000823-21      WEITZ & LUXENBERG
PADILLA, ERIC                  NJ - Superior Court - Middlesex County      MID-L-004609-20      WEITZ & LUXENBERG
PAGE, JOSEPH O.                NJ - Superior Court - Middlesex County      MID-L-02379-19AS     WEITZ & LUXENBERG
PARKERSON, REBECCA             NJ - Superior Court - Atlantic County       ATL-L-002657-21      WEITZ & LUXENBERG
PATRICK, LORI                  NJ - Superior Court - Atlantic County       ATL-L-002465-21      WEITZ & LUXENBERG
PAUL, SHORINE                  NJ - Superior Court - Atlantic County       ATL-L-002675-21      WEITZ & LUXENBERG
PAWLAK, JOEY                   NJ - Superior Court - Atlantic County       ATL-L-002676-21      WEITZ & LUXENBERG
PEGLOW, AMANDA                 NJ - Superior Court - Middlesex County      MID-L-05859-18AS     WEITZ & LUXENBERG
PENNEY, DIANE                  NJ - Superior Court - Atlantic County       ATL-L-003096-21      WEITZ & LUXENBERG
PENNYWELL, MARLENE             NJ - Superior Court - Atlantic County       ATL-L-003095-21      WEITZ & LUXENBERG
PERAMAS, CARMEN                NJ - USDC for the District of New Jersey    3:21-cv-12032        WEITZ & LUXENBERG
PEREZ, SUSAN AND PEREZ,
                               NJ - Superior Court - Middlesex County      MID-L-00838-20AS     WEITZ & LUXENBERG
ERNESTO
PERL, ROSEMARIE                NY - Supreme Court - NYCAL                  190087/2021          WEITZ & LUXENBERG
PETERSON, DREW EST OF D & L
                               NJ - Superior Court - Middlesex County      MID-L-01957-18AS     WEITZ & LUXENBERG
PETERSON
PETETANT, COURTNEY             NJ - Superior Court - Atlantic County       ATL-L-002677-21      WEITZ & LUXENBERG
PHILLIPPE, JESSICA             NJ - Superior Court - Atlantic County       ATL-L-002959-21      WEITZ & LUXENBERG




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          Claimant Name                            State Filed                     Docket Number                Plaintiff Counsel
POIRIER, LORRAINE                  NJ - Superior Court - Middlesex County     MID-L-02640-18AS     WEITZ & LUXENBERG
POLLINGER, HELEN R AND
                                   NJ - Superior Court - Middlesex County     MID-L-00446-19AS     WEITZ & LUXENBERG
POLLINGER, WILLIAM
PORTER, SHAYLA                     NJ - Superior Court - Atlantic County      ATL-L-002911-21      WEITZ & LUXENBERG
PORTNOI, MARJORIE EST OF
                                   NJ - Superior Court - Middlesex County     MID-L-004551-21      WEITZ & LUXENBERG
HERBERT PORTNOI
POWELL, GWENEVER                   NJ - Superior Court - Atlantic County      ATL-L-001718-21      WEITZ & LUXENBERG
PRICE, ANGIE                       NJ - Superior Court - Atlantic County      ATL-L-003225-21      WEITZ & LUXENBERG
PURVIS, NICHELLE EST OF
                                   NJ - Superior Court - Middlesex County     MID-L-001749-21      WEITZ & LUXENBERG
EVANGELINE PURVIS
PUST, DONALD J., EST OF DARLENE
                                   NJ - Superior Court - Middlesex County     MID-L-05798-17AS     WEITZ & LUXENBERG
G PUST
RAEL, JENNIFER                     NJ - USDC for the District of New Jersey   3:21-cv-17353        WEITZ & LUXENBERG
RAGLAND, LORETTA                   NJ - Superior Court - Atlantic County      ATL-L-003060-21      WEITZ & LUXENBERG
REGALDO, RICHARD G.                NJ - Superior Court - Middlesex County     MID-L-004054-20AS    WEITZ & LUXENBERG
REGINA, IVANNSKA LA                NJ - Superior Court - Atlantic County      ATL-L-002643-21      WEITZ & LUXENBERG
REHAK, KATHLEEN                    NJ - Superior Court - Atlantic County      ATL-L-002618-21      WEITZ & LUXENBERG
REIFSTNIDER, CRAIG EST OF J
                                   NJ - Superior Court - Middlesex County     MID-L-001904-21      WEITZ & LUXENBERG
REIFSNIDER
REMOLLINO, DENISE                  NJ - USDC for the District of New Jersey   3:21-cv-17916        WEITZ & LUXENBERG
RENTKO, MARILYN ANN AND
                                   NY - Supreme Court - NYCAL                 190267/2020          WEITZ & LUXENBERG
RENTKO, JOHN
REYNOLDS, MIA                      NJ - Superior Court - Atlantic County      ATL-L-002958-21      WEITZ & LUXENBERG
RIGGINS, LORI M EST OF
                                   NJ - Superior Court - Middlesex County     MID-L-07856-18AS     WEITZ & LUXENBERG
MAGDALENE BRACE
ROBERTS, PATRICE                   NJ - Superior Court - Atlantic County      ATL-L-002678-21      WEITZ & LUXENBERG
ROBERTS, PENELOPE                  NJ - Superior Court - Atlantic County      ATL-L-003061-21      WEITZ & LUXENBERG
ROBINSON, MILLARD AND
                                   NJ - Superior Court - Middlesex County     MID-L-01069-19AS     WEITZ & LUXENBERG
ROBINSON, MIREILLE
RODOLFO, DOROTHY AND               CA - Superior Court - Alameda County       RG21105291           WEITZ & LUXENBERG
RODRIGUEZ, ANDREA                  NJ - USDC for the District of New Jersey   3:21-cv-17334        WEITZ & LUXENBERG
RODRIGUEZ, NANCY                   NJ - Superior Court - Atlantic County      ATL-L-002617021      WEITZ & LUXENBERG
ROGERS, SHANNON ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-004044-21      WEITZ & LUXENBERG
JACK GARRISON
ROHE, PATRICIA A. AND ROHE,
                                   NY - Supreme Court - NYCAL                 190202/19            WEITZ & LUXENBERG
WILLIAM
ROSS, ANISSA                       NJ - Superior Court - Atlantic County      ATL-L-003228-21      WEITZ & LUXENBERG
ROSS, NEIL W. ESTATE OF NANCY
                                   NJ - Superior Court - Middlesex County     MID-L-008278-20      WEITZ & LUXENBERG
ELLEN ROSS
ROWE, TRACIE                       NJ - Superior Court - Atlantic County      ATL-L-003209-21      WEITZ & LUXENBERG
ROYALL, WOLLO                      NY - Supreme Court - NYCAL                 190224/2019          WEITZ & LUXENBERG
RUCKER, DIANDRE ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-01414-19AS     WEITZ & LUXENBERG
WILLIAM MCGEE
RUIZ, LOLA                         NJ - Superior Court - Atlantic County      ATL-L-002742-21      WEITZ & LUXENBERG
RUSSELL, BRENDA                    NJ - USDC for the District of New Jersey   3:21-cv-17339        WEITZ & LUXENBERG
RUSSELL, CAROLYN                   NJ - Superior Court - Middlesex County     MID-L-004065-21      WEITZ & LUXENBERG
RUSSO, LUCIA EST OF JUDE RUSSO NJ - Superior Court - Middlesex County         MID-L-04075-19AS     WEITZ & LUXENBERG
SACKS, SHEILA                      NJ - Superior Court - Atlantic County      ATL-L-002679-21      WEITZ & LUXENBERG
SADWIN, SUE                        NJ - Superior Court - Middlesex County     MID-L-04050-18AS     WEITZ & LUXENBERG
SANDOVAL, KELLY ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-000020-21      WEITZ & LUXENBERG
PATSY HOCKING
SANDOVAL, SAN JUANA                CA - Superior Court - Los Angeles          BC592765             WEITZ & LUXENBERG
SANTANA, CARMEN N.                 NJ - Superior Court - Middlesex County     MID-L-07183-19AS     WEITZ & LUXENBERG
SANTANA, ROBERT AND SANTANA,
                                   NJ - Superior Court - Middlesex County     MID-L-000881-21      WEITZ & LUXENBERG
DIANNA
SANTIAGO, TRINA                    NJ - Superior Court - Atlantic County      ATL-L-003094-21      WEITZ & LUXENBERG
SAVAGE, BETSY AND SAVAGE,
                                   NJ - Superior Court - Middlesex County     MID-L-00349-18AS     WEITZ & LUXENBERG
JOSEPH
SAWKA, LINDA AND SAWKA,
                                   NJ - Superior Court - Middlesex County     MID-L-06692-19AS     WEITZ & LUXENBERG
CHARLES A
SAYLES, MONIQUE                    NJ - Superior Court - Atlantic County      ATL-L-002616-21      WEITZ & LUXENBERG
SCARBERRY, TERESA                  NJ - USDC for the District of New Jersey   3:21-cv-14679        WEITZ & LUXENBERG
SCHAFER, ELLEN                     NJ - USDC for the District of New Jersey   3:21-cv-17411        WEITZ & LUXENBERG
SCHWARZ, LISA                      NJ - USDC for the District of New Jersey   3:21-cv-16622        WEITZ & LUXENBERG
SCOGGAN, THOMAS AND
                                   NJ - Superior Court - Middlesex County     MID-L-04064-18AS     WEITZ & LUXENBERG
TREGANOWAN, EMILY
SEASTREAM, DORIS EST OF
                                   NJ - Superior Court - Middlesex County     MID-L-003847-20AS    WEITZ & LUXENBERG
DOROTHY FILMORE
SHANK, PATRICIA AND SHANK,
                                   NJ - Superior Court - Middlesex County     MID-L-05662-18AS     WEITZ & LUXENBERG
KENNETH
SHIFFMAN, CAROL ESTATE OF
                                   NJ - Superior Court - Middlesex County     MID-L-002278-21AS    WEITZ & LUXENBERG
ROGER SHIFFMAN
SHUMAN, FRANCINE L.                NY - Supreme Court - NYCAL                 190115/20            WEITZ & LUXENBERG
SILVERMAN, HARRIET AND
                                   NY - Supreme Court - NYCAL                 190347/2018          WEITZ & LUXENBERG
SILVERMAN, KENNETH
SIMMONS, SHERNIKKA                 NJ - Superior Court - Atlantic County      ATL-L-002520-21      WEITZ & LUXENBERG
SIMPSOM, THERESA                   NJ - USDC for the District of New Jersey   3"21-cv-17546        WEITZ & LUXENBERG
SIMPSON, THERESA                   NJ - USDC for the District of New Jersey   3:21-cv-17546        WEITZ & LUXENBERG
SMITH, JAMIE                       NJ - Superior Court - Atlantic County      ATL-L-002680-21      WEITZ & LUXENBERG




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          Claimant Name                        State Filed                     Docket Number               Plaintiff Counsel
SMITH, PATRICIA A. ESTATE OF
                               NJ - Superior Court - Middlesex County     MID-L-000240-21      WEITZ & LUXENBERG
GARY SMITH
SMITH, TANYA                   NJ - USDC for the District of New Jersey   3:21-cv-17560        WEITZ & LUXENBERG
SPAIN, STEVEN EST OF KAREN SUE
                               NJ - Superior Court - Middlesex County     MID-L-04865-18AS     WEITZ & LUXENBERG
ANN SPAIN
SPARKS, PAUL AND SPARKS,
                               NJ - Superior Court - Middlesex County     MID-L-07734-18AS     WEITZ & LUXENBERG
SAMANTHA
SPARKS, TONYA                  NJ - Superior Court - Atlantic County      ATL-L-002681-21      WEITZ & LUXENBERG
SPENCER, CATHIE EST OF DOUGLAS
                               NJ - Superior Court - Middlesex County     MID-L-04147-19AS     WEITZ & LUXENBERG
SPENCER
SPRING, CAROLYN                NJ - Superior Court - Atlantic County      ATL-L-002930-21      WEITZ & LUXENBERG
STANFORD, JENNIFER             NJ - USDC for the District of New Jersey   3:21-cv-17419        WEITZ & LUXENBERG
STENGEL, ROBERT                NJ - Superior Court - Middlesex County     MID-L-006789-20      WEITZ & LUXENBERG
STIGOL, DR. LUISA              NJ - Superior Court - Middlesex County     MID-L-00407-20AS     WEITZ & LUXENBERG
STOUT, LORETTA                 NJ - Superior Court - Atlantic County      ATL-L-002757-21      WEITZ & LUXENBERG
SUAREZ, ISABEL EST OF FRAY A.
                               NJ - Superior Court - Middlesex County     MID-L-04073-19AS     WEITZ & LUXENBERG
SUAREZ
SUEDEKUM, JERI EST OF ALMON
                               NJ - Superior Court - Middlesex County     MID-L-001859-21      WEITZ & LUXENBERG
SUEDEKUM
SULLIVAN, PHYLLIS              NJ - Superior Court - Atlantic County      ATL-L-002710-21      WEITZ & LUXENBERG
SULLIVAN, SPENYADA             NJ - Superior Court - Atlantic County      ATL-L-002698-21      WEITZ & LUXENBERG
SUTTON, KATHY                  NJ - Superior Court - Atlantic County      ATL-L-003068-21      WEITZ & LUXENBERG
SUZANNE FRICK                  NJ - Superior Court - Atlantic County      ATL-L-003281-21      WEITZ & LUXENBERG
SWANSON, NICOLE                NJ - Superior Court - Atlantic County      ATL-L-002699-21      WEITZ & LUXENBERG
SZYMBROSKI, ROBERTA AND
                               CA - Superior Court - Los Angeles          21STCV18327          WEITZ & LUXENBERG
EDWARD, SZYMBROSKI
TABB, KIMBERLY J. AND TABB,
                               NJ - Superior Court - Middlesex County     MID-L-01641-19AS     WEITZ & LUXENBERG
ROBERT L.
TANYA LESTER                   NJ - Superior Court - Atlantic County      ATL-L-003282-21      WEITZ & LUXENBERG
TATE, TYLANNA                  NJ - Superior Court - Atlantic County      ATL-L-003067-21      WEITZ & LUXENBERG
TAYLOR, ELNORA                 NJ - Superior Court - Atlantic County      ATL-L-002957-21      WEITZ & LUXENBERG
TEIGLAND, KRISTA               NY - Supreme Court - Suffolk County        603641/2021          WEITZ & LUXENBERG
THOMAS, DERRICKA               NJ - USDC for the District of New Jersey   3:21-cv-17343        WEITZ & LUXENBERG
THOMPSON, WANDA                NJ - USDC for the District of New Jersey   3:21-cv-13066        WEITZ & LUXENBERG
TILFORD, LORETTA               NJ - Superior Court - Atlantic County      ATL-L-002786-21      WEITZ & LUXENBERG
TINDALL, SARAH                 NJ - Superior Court - Middlesex County     MID-L-007453-20      WEITZ & LUXENBERG
TISHMAN, CAROL                 NJ - Superior Court - Middlesex County     MID-L-005500-21      WEITZ & LUXENBERG
TOMBLINSON, THEODORE &
                               NJ - Superior Court - Middlesex County     MID-L-05713-19AS     WEITZ & LUXENBERG
TOMBLINON, SUE A
TORRES, LEANN                  NJ - USDC for the District of New Jersey   3:21-cv-13608        WEITZ & LUXENBERG
TREECE, LEEANNA                NJ - Superior Court - Atlantic County      ATL-L-002978-21      WEITZ & LUXENBERG
TSUCHIDA, MEGUMI               CA - Superior Court - Los Angeles          BC697439             WEITZ & LUXENBERG
TUCKER, JENNIFER               NJ - Superior Court - Atlantic County      ATL-L-002976-21      WEITZ & LUXENBERG
TURNER, JENNIFER               NJ - Superior Court - Atlantic County      ATL-L-002700-21      WEITZ & LUXENBERG
TUSKE, SUSAN                   NJ - Superior Court - Atlantic County      ATL-L-003208-21      WEITZ & LUXENBERG
TYLER, JOSHUA                  NJ - Superior Court - Middlesex County     MID-L-008581-20      WEITZ & LUXENBERG
VALLEY, CORRINA                NJ - USDC for the District of New Jersey   3:21-cv-17972        WEITZ & LUXENBERG
VANCOL, LYNDA                  NJ - USDC for the District of New Jersey   3:21-cv-13070        WEITZ & LUXENBERG
VANKINSCOTT, PILAR             NJ - Superior Court - Atlantic County      ATL-L-002787-21      WEITZ & LUXENBERG
VANWYCK, DEENA                 NJ - USDC for the District of New Jersey   3:21-cv-17976        WEITZ & LUXENBERG
VASQUEZ, JESSE                 NJ - Superior Court - Middlesex County     MID-L-000595-21      WEITZ & LUXENBERG
VASQUEZ, OLGA                  NJ - Superior Court - Atlantic County      ATL-L-002956-21      WEITZ & LUXENBERG
VASQUEZ, PATRICIA AND VASQUEZ,
                               NJ - Superior Court - Middlesex County     MID-L-000296-21      WEITZ & LUXENBERG
SANTIAGO
VAUGHN, GORDON ESTATE OF
                               NJ - Superior Court - Middlesex County     MID-L-007699-20      WEITZ & LUXENBERG
BOBBIE J VAUGHN
VENTURA, THERESA               NY - Supreme Court - NYCAL                 190055/2021          WEITZ & LUXENBERG
VIGIL, PATTY                   NJ - Superior Court - Atlantic County      ATL-L-002790-21      WEITZ & LUXENBERG
VILLALOBOS, LETICIA            NJ - USDC for the District of New Jersey   3:21-cv-17460        WEITZ & LUXENBERG
WALKER, VANESSA                NJ - Superior Court - Atlantic County      ATL-L-002955-21      WEITZ & LUXENBERG
WALL, PRISALLA                 NJ - Superior Court - Atlantic County      ATL-L-002703-21      WEITZ & LUXENBERG
WATERS, BETSY                  NJ - Superior Court - Atlantic County      ATL-L-003066-21      WEITZ & LUXENBERG
WEBER, JULIE                   NJ - USDC for the District of New Jersey   3:21-cv-17642        WEITZ & LUXENBERG
WEITMAN, DAVID                 NJ - Superior Court - Middlesex County     MID-L-08442-18AS     WEITZ & LUXENBERG
WELCH, LINDA                   NJ - Superior Court - Middlesex County     MID-L-000304-21      WEITZ & LUXENBERG
WESTRATE, PAULA A & WESTRATE,
                               NJ - Superior Court - Middlesex County     MID-L-02604-19AS     WEITZ & LUXENBERG
DANIEL
WHITE, JERRY                   NJ - Superior Court - Middlesex County     MID-L-006339-20AS    WEITZ & LUXENBERG
WHITE, ROSCOE                  NJ - Superior Court - Middlesex County     MID-L-01956-18AS     WEITZ & LUXENBERG
WHITE, SHERRY AND WHITE,
                               NJ - Superior Court - Middlesex County     MID-L-00704-20AS     WEITZ & LUXENBERG
DANIEL D
WHITNEY, SANDRA M AND
                               NJ - Superior Court - Middlesex County     MID-L-004409-20AS    WEITZ & LUXENBERG
WHITNEY, WILLIAM
WILKERSON, NISHEA              NJ - USDC for the District of New Jersey   3:21-cv-17466        WEITZ & LUXENBERG
WILLIAM, SPOONER, IV           NJ - Superior Court - Middlesex County     MID-L-02561-20AS     WEITZ & LUXENBERG
WILLIAMS, BETTY                NJ - USDC for the District of New Jersey   3:21-cv-17915        WEITZ & LUXENBERG
WILLIAMS, CATRINA              NJ - Superior Court - Atlantic County      ATL-L-002791-21      WEITZ & LUXENBERG
WILLIAMS, DEBORAH              NJ - Superior Court - Atlantic County      ATL-L-002788-21      WEITZ & LUXENBERG
WILLIAMS, DONNA                NJ - USDC for the District of New Jersey   3:21-cv-16036        WEITZ & LUXENBERG
WILLIAMS, GEORGIANA            NJ - Superior Court - Atlantic County      ATL-L-003065-21      WEITZ & LUXENBERG




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          Claimant Name                           State Filed                     Docket Number                Plaintiff Counsel
WILLIAMS, JEAN                    NJ - Superior Court - Atlantic County      ATL-L-003062-21      WEITZ & LUXENBERG
WILLIAMS, LAURA                   NJ - Superior Court - Atlantic County      ATL-L-003092-21      WEITZ & LUXENBERG
WILLIAMS, SHIRLEY AND
                                  NJ - Superior Court - Middlesex County     MID-L-003872-21      WEITZ & LUXENBERG
WILLIAMS, GEORGE
WILLIS, RELINDA                   NJ - Superior Court - Atlantic County      ATL-L-002926-21      WEITZ & LUXENBERG
WILSON, STEPHEN EST OF VIRGINIA
                                  NJ - Superior Court - Middlesex County     MID-L-06292-18AS     WEITZ & LUXENBERG
M WILSON
WINDISCH, ROSEMARIE               NJ - Superior Court - Middlesex County     MID-L-004480-20      WEITZ & LUXENBERG
WISNIEWSKI, SONIA                 NJ - Superior Court - Middlesex County     MID-L-002224-21      WEITZ & LUXENBERG
WITTER, JOANNE S AND WITTER,
                                  NJ - Superior Court - Middlesex County     MID-L-003895-20AS    WEITZ & LUXENBERG
TERRY
WOODY, ANGEL                      NJ - Superior Court - Atlantic County      ATL-L-002925-21      WEITZ & LUXENBERG
YOUNG, DENISE                     NJ - Superior Court - Middlesex County     MID-L-02313-18AS     WEITZ & LUXENBERG
YOUNG, SABRINA                    NJ - Superior Court - Atlantic County      ATL-L-002924-21      WEITZ & LUXENBERG
FISHER, SYLVIA                    NJ - USDC for the District of New Jersey   3:17-cv-01050        WEITZ & LUXENBERG, P.C.
GAINER, BARBARA                   NJ - USDC for the District of New Jersey   3:21-cv-15039        WEITZ & LUXENBERG, P.C.
HARRIS, CHRISTY                   NJ - USDC for the District of New Jersey   3:21-cv-15215        WEITZ & LUXENBERG, P.C.
LAFONTANT, MARIE                  NJ - USDC for the District of New Jersey   3:17-cv-01051        WEITZ & LUXENBERG, P.C.
RESNIK, AMY                       NY - Supreme Court - New York County       190071/2021          WEITZ & LUXENBERG, P.C.
SMITH, WINDY                      NJ - USDC for the District of New Jersey   3:21-cv-15219        WEITZ & LUXENBERG, P.C.
ALLGIER, KATHRYN                  NJ - USDC for the District of New Jersey   3:20-cv-13453        WEXLER WALLACE LLP
BAILEY, SELENA                    NJ - USDC for the District of New Jersey   3:19-cv-13373        WEXLER WALLACE LLP
BLODGETT, JUDITH                  NJ - USDC for the District of New Jersey   3:18-cv-15577        WEXLER WALLACE LLP
CARNLEY, ROSARIO                  NJ - USDC for the District of New Jersey   3:20-cv-09665        WEXLER WALLACE LLP
CASTELLI, DEBORAH                 NJ - USDC for the District of New Jersey   3:20-cv-07580        WEXLER WALLACE LLP
CONDON, SHARI                     NJ - USDC for the District of New Jersey   3:19-cv-19073        WEXLER WALLACE LLP
CREWS, SAMANTHA                   NJ - USDC for the District of New Jersey   3:18-cv-03031        WEXLER WALLACE LLP
DOHERTY, JESSICA                  NJ - USDC for the District of New Jersey   3:21-cv-03246        WEXLER WALLACE LLP
DOMAGALLA, ROBIN                  NJ - USDC for the District of New Jersey   3:19-cv-14580        WEXLER WALLACE LLP
ETTANNANI, ROSALIE                NJ - USDC for the District of New Jersey   3:19-cv-13180        WEXLER WALLACE LLP
FAGAN, JOYCE                      NJ - USDC for the District of New Jersey   3:19-cv-04417        WEXLER WALLACE LLP
FOX, MELINDA                      NJ - USDC for the District of New Jersey   3:19-cv-16198        WEXLER WALLACE LLP
FULEP, KAREN                      NJ - USDC for the District of New Jersey   3:21-cv-11186        WEXLER WALLACE LLP
FUNT, CAROLINE                    NJ - USDC for the District of New Jersey   3:20-cv-02180        WEXLER WALLACE LLP
GALPIN, JANE                      NJ - USDC for the District of New Jersey   3:18-cv-16705        WEXLER WALLACE LLP
GAUTHIER, CAROLYN                 NJ - USDC for the District of New Jersey   3:17-cv-10786        WEXLER WALLACE LLP
GUDZ, PATRICIA                    NJ - USDC for the District of New Jersey   3:21-cv-11181        WEXLER WALLACE LLP
GUSTIN, ANGELA                    NJ - USDC for the District of New Jersey   3:19-cv-18534        WEXLER WALLACE LLP
HURLEY, PATRICIA                  NJ - USDC for the District of New Jersey   3:20-cv-09678        WEXLER WALLACE LLP
JONES, EILEEN                     NJ - USDC for the District of New Jersey   3:21-cv-11179        WEXLER WALLACE LLP
JOUNAKOS, EVELYN                  NJ - USDC for the District of New Jersey   3:18-cv-14493        WEXLER WALLACE LLP
KATZ, GEORGIA                     NJ - USDC for the District of New Jersey   3:19-cv-18324        WEXLER WALLACE LLP
KENNEY-CHAPMAN, RENE              NJ - USDC for the District of New Jersey   3:18-cv-03029        WEXLER WALLACE LLP
KINTZEL, DAWN                     NJ - USDC for the District of New Jersey   3:20-cv-02942        WEXLER WALLACE LLP
KURTH, SUSAN                      NJ - USDC for the District of New Jersey   3:19-cv-21270        WEXLER WALLACE LLP
LEONARD, MARIE                    NJ - USDC for the District of New Jersey   3:19-cv-20941        WEXLER WALLACE LLP
LONG, DONNA                       NJ - USDC for the District of New Jersey   3:19-cv-20939        WEXLER WALLACE LLP
LUCIA, MELISSA                    NJ - USDC for the District of New Jersey   3:20-cv-03506        WEXLER WALLACE LLP
MERSON, DAWN                      NJ - USDC for the District of New Jersey   3:20-cv-02181        WEXLER WALLACE LLP
MILLER, DOROTHY                   NJ - USDC for the District of New Jersey   3:20-cv-14910        WEXLER WALLACE LLP
OVERDAHL, NANCY                   NJ - USDC for the District of New Jersey   3:18-cv-03034        WEXLER WALLACE LLP
SANCHEZ, GENA                     NJ - USDC for the District of New Jersey   3:21-cv-03242        WEXLER WALLACE LLP
SHANNON, SUSAN                    NJ - USDC for the District of New Jersey   3:19-cv-13026        WEXLER WALLACE LLP
SKINNER, CATHY                    NJ - USDC for the District of New Jersey   3:20-cv-14904        WEXLER WALLACE LLP
SOKOLOW, PEARL                    NJ - USDC for the District of New Jersey   3:19-cv-13177        WEXLER WALLACE LLP
SURBER, BARBARA                   NJ - USDC for the District of New Jersey   3:18-cv-04818        WEXLER WALLACE LLP
THOMAS, JOANN                     NJ - USDC for the District of New Jersey   3:18-cv-00248        WEXLER WALLACE LLP
THOMPSON, DEBRA                   NJ - USDC for the District of New Jersey   3:19-cv-20936        WEXLER WALLACE LLP
VARNER, SUE                       NJ - USDC for the District of New Jersey   3:20-cv-13456        WEXLER WALLACE LLP
AGUILAR, MELISSA; ROBB,MARY       NJ - USDC for the District of New Jersey   3:16-cv-06608        WHITE & WEDDLE, P.C.
BUHL, GARRETT                     NJ - Superior Court - Middlesex County     MID-L-01792-16AS     WILENTZ, GOLDMAN & SPITZER, P.A.
BLACK, LAVINIA                    NJ - Superior Court - Atlantic County      ATL-L-2056-17        WILENTZ, GOLDMAN, & SPITZER, P.A.
DICHIARA, KIMBERLY                NJ - Superior Court - Atlantic County      ATL-L-000516-21      WILENTZ, GOLDMAN, & SPITZER, P.A.
LINN, JOANN                       NJ - Superior Court - Atlantic County      ATL-L-003051-18      WILENTZ, GOLDMAN, & SPITZER, P.A.
PINIZZOTTO, DIANE                 NJ - Superior Court - Atlantic County      ATL-L-1873-17        WILENTZ, GOLDMAN, & SPITZER, P.A.
POKRYSKA, ALEXANDRA               NJ - Superior Court - Atlantic County      ATL-L-205-17         WILENTZ, GOLDMAN, & SPITZER, P.A.
RICHARDS, ROCHELLE                NJ - USDC for the District of New Jersey   3:16-cv-06661        WILENTZ, GOLDMAN, & SPITZER, P.A.
SHEA, DOLORES                     NJ - Superior Court - Atlantic County      ATL-L-1872-17        WILENTZ, GOLDMAN, & SPITZER, P.A.
SMITH, BARBARA                    NJ - USDC for the District of New Jersey   3:18-cv-02181        WILENTZ, GOLDMAN, & SPITZER, P.A.
VANBRUNT, CYNTHIA                 NJ - Superior Court - Atlantic County      ATL-L-1874-17        WILENTZ, GOLDMAN, & SPITZER, P.A.
VIX, RAECHELLE                    NJ - USDC for the District of New Jersey   3:17-cv-01621        WILENTZ, GOLDMAN, & SPITZER, P.A.
BERNIER, THERESE                  CANADA - Ontario Superior Court of Justice CV-16-553046         WILL DAVIDSON LLP

FAROOQI-WILLISON, SHAEDA          CANADA - Ontario Superior Court of Justice CV-16-553046         WILL DAVIDSON LLP

HEATON, JANET                     CANADA - Ontario Superior Court of Justice CV-16-553046         WILL DAVIDSON LLP

STRATHDEE, CINDY                  CANADA - Ontario Superior Court of Justice CV-16-553046         WILL DAVIDSON LLP
MCGILL, PHYLLIS                   NJ - USDC for the District of New Jersey   3:21-cv-14476        WILLIAM D. BRANDT, P.C.




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         Claimant Name                   State Filed                       Docket Number                Plaintiff Counsel
LANE, KATHLEEN           NJ - USDC for the District of New Jersey    3:21-cv-16575         WILLIAM G. COLVIN, PLLC
RADER, KIMBERLY          NJ - USDC for the District of New Jersey    3:21-cv-16577         WILLIAM G. COLVIN, PLLC
WALKER, TERESA           NJ - USDC for the District of New Jersey    3:17-cv-02859         WILLIAM G. COLVIN, PLLC
WILLIAMS, SHIRLEY        SC - USDC for the District of South Carolina 5:21-cv-03058        WILLIAMS & WILLIAMS
BAHNSEN, JANET           NJ - USDC for the District of New Jersey    3:17-cv-01254         WILLIAMS DECLARK TUSCHMAN CO., L.P.A
BARKER, CARLA            NJ - USDC for the District of New Jersey    3:16-cv-07656         WILLIAMS DECLARK TUSCHMAN CO., L.P.A
BUEHLER, TAMMY           NJ - USDC for the District of New Jersey    3:20-cv-12062         WILLIAMS DECLARK TUSCHMAN CO., L.P.A
KOSMYNA, LORI            NJ - USDC for the District of New Jersey    3:19-cv-14024         WILLIAMS DECLARK TUSCHMAN CO., L.P.A
MYERS, KATHERINE         NJ - USDC for the District of New Jersey    3:21-cv-04421         WILLIAMS DECLARK TUSCHMAN CO., L.P.A
ABEL, HARRIET            NJ - USDC for the District of New Jersey    3:20-cv-03181         WILLIAMS HART LAW FIRM
ABERNATHY, SARA          NJ - USDC for the District of New Jersey    3:20-cv-04713         WILLIAMS HART LAW FIRM
ABRUZZESE, ELISA         NJ - USDC for the District of New Jersey    3:20-cv-01527         WILLIAMS HART LAW FIRM
ALBAN, HARRIET           NJ - USDC for the District of New Jersey    3:20-cv-03105         WILLIAMS HART LAW FIRM
ALESSIO, NANCY           NJ - USDC for the District of New Jersey    3:20-cv-02638         WILLIAMS HART LAW FIRM
ALLEN, BONNIE            NJ - USDC for the District of New Jersey    3:20-cv-11821         WILLIAMS HART LAW FIRM
ANDERSON, DEBORAH        NJ - USDC for the District of New Jersey    3:21-cv-07123         WILLIAMS HART LAW FIRM
ANDERSON, JULIE          NJ - USDC for the District of New Jersey    3:20-cv-09855         WILLIAMS HART LAW FIRM
ANDERSON, JULIE          NJ - USDC for the District of New Jersey    3:20-cv-12848         WILLIAMS HART LAW FIRM
ANDERSON, LAURI          NJ - USDC for the District of New Jersey    3:20-cv-07542         WILLIAMS HART LAW FIRM
ANDERSON, NANCY          NJ - USDC for the District of New Jersey    3:20-cv-02642         WILLIAMS HART LAW FIRM
ANGE-ROLAND, SUZANNE     NJ - USDC for the District of New Jersey    3:20-cv-07543         WILLIAMS HART LAW FIRM
ARCHER, EDNA             NJ - USDC for the District of New Jersey    3:20-cv-03186         WILLIAMS HART LAW FIRM
ARMER, WILMA             NJ - USDC for the District of New Jersey    3:20-cv-01529         WILLIAMS HART LAW FIRM
ARMS, SHERRY             NJ - USDC for the District of New Jersey    3:20-cv-14290         WILLIAMS HART LAW FIRM
ARTIS, MINNIE            NJ - USDC for the District of New Jersey    3:20-cv-02645         WILLIAMS HART LAW FIRM
ASHBY, SHERYL            NJ - USDC for the District of New Jersey    3:20-cv-08488         WILLIAMS HART LAW FIRM
AUMSBAUGH, BRENDA        NJ - USDC for the District of New Jersey    3:20-cv-04853         WILLIAMS HART LAW FIRM
AYERS, GAYLE             NJ - USDC for the District of New Jersey    3:20-cv-09117         WILLIAMS HART LAW FIRM
BAGINSKI, DEE            NJ - USDC for the District of New Jersey    3:20-cv-02399         WILLIAMS HART LAW FIRM
BAJACK, DEBRA            NJ - USDC for the District of New Jersey    3:20-cv-02652         WILLIAMS HART LAW FIRM
BARRETT, SUSAN           NJ - USDC for the District of New Jersey    3:20-cv-08522         WILLIAMS HART LAW FIRM
BARROWS, LATOSHA         NJ - USDC for the District of New Jersey    3:20-cv-03807         WILLIAMS HART LAW FIRM
BARRY, LISA              NJ - USDC for the District of New Jersey    3:20-cv-06495         WILLIAMS HART LAW FIRM
BARTHELOTTI, LIGIA       NJ - USDC for the District of New Jersey    3:20-cv-09283         WILLIAMS HART LAW FIRM
BARTON, IRENE            NJ - USDC for the District of New Jersey    3:20-cv-09104         WILLIAMS HART LAW FIRM
BATES, DELORES           NJ - USDC for the District of New Jersey    3:20-cv-01531         WILLIAMS HART LAW FIRM
BATRES, HIMARA           NJ - USDC for the District of New Jersey    3:20-cv-03191         WILLIAMS HART LAW FIRM
BAUMGARDNER, ALBERTA     NJ - USDC for the District of New Jersey    3:20-cv-03192         WILLIAMS HART LAW FIRM
BEACHLER, TERRI          NJ - USDC for the District of New Jersey    3:20-cv-14340         WILLIAMS HART LAW FIRM
BELOTTI, DIANE           NJ - USDC for the District of New Jersey    3:20-cv-03194         WILLIAMS HART LAW FIRM
BENNETT, WANDA           NJ - USDC for the District of New Jersey    3:21-cv-17176         WILLIAMS HART LAW FIRM
BERMAN, MARYLIN          NJ - USDC for the District of New Jersey    3:20-cv-03201         WILLIAMS HART LAW FIRM
BERRY, MARQUERITE        NJ - USDC for the District of New Jersey    3:20-cv-04064         WILLIAMS HART LAW FIRM
BICE, JESSICA            NJ - USDC for the District of New Jersey    3:20-cv-08498         WILLIAMS HART LAW FIRM
BIGHORSE, WANDA          NJ - USDC for the District of New Jersey    3:20-cv-03250         WILLIAMS HART LAW FIRM
BISHOP, NORA             NJ - USDC for the District of New Jersey    3:20-cv-03251         WILLIAMS HART LAW FIRM
BOCANEGRA, CATHY         NJ - USDC for the District of New Jersey    3:20-cv-14343         WILLIAMS HART LAW FIRM
BOLL, KATHLEEN           NJ - USDC for the District of New Jersey    3:20-cv-03129         WILLIAMS HART LAW FIRM
BOLLMANN, LORRAINE       NJ - USDC for the District of New Jersey    3:20-cv-03252         WILLIAMS HART LAW FIRM
BOST, HEIDI              NJ - USDC for the District of New Jersey    3:20-cv-12767         WILLIAMS HART LAW FIRM
BOURKE, BEATRICE         NJ - USDC for the District of New Jersey    3:20-cv-02655         WILLIAMS HART LAW FIRM
BOUTIETTE, KIMBERLY      NJ - USDC for the District of New Jersey    3:20-cv-10435         WILLIAMS HART LAW FIRM
BOWLES, KATHERINE        NJ - USDC for the District of New Jersey    3:20-cv-03310         WILLIAMS HART LAW FIRM
BRADLEY, VERNA           NJ - USDC for the District of New Jersey    3:20-cv-02682         WILLIAMS HART LAW FIRM
BRASHER, COROLYN         NJ - USDC for the District of New Jersey    3:20-cv-11021         WILLIAMS HART LAW FIRM
BRENNA, PHYLLIS          NJ - USDC for the District of New Jersey    3:20-cv-03317         WILLIAMS HART LAW FIRM
BRITZKE, ANN             NJ - USDC for the District of New Jersey    3:20-cv-11028         WILLIAMS HART LAW FIRM
BRODERICK, LANA          NJ - USDC for the District of New Jersey    3:20-cv-08529         WILLIAMS HART LAW FIRM
BROWN, CONNIE            NJ - USDC for the District of New Jersey    3:21-cv-11170         WILLIAMS HART LAW FIRM
BUNTER, ERICA            NJ - USDC for the District of New Jersey    3:20-cv-03318         WILLIAMS HART LAW FIRM
BURCH, JANA              NJ - USDC for the District of New Jersey    3:20-cv-13316         WILLIAMS HART LAW FIRM
BURCH, JUDEITH           NJ - USDC for the District of New Jersey    3:20-cv-03320         WILLIAMS HART LAW FIRM
BUSHEY, ROCHELLE         NJ - USDC for the District of New Jersey    3:20-cv-09359         WILLIAMS HART LAW FIRM
CAHALL, MARLENE          NJ - USDC for the District of New Jersey    3:20-cv-02687         WILLIAMS HART LAW FIRM
CALLAHAN, JANET          NJ - USDC for the District of New Jersey    3:20-cv-12269         WILLIAMS HART LAW FIRM
CAMPBELL, SHANNON        NJ - USDC for the District of New Jersey    3:20-cv-04904         WILLIAMS HART LAW FIRM
CANTAGI, MARIE           NJ - USDC for the District of New Jersey    3:20-cv-04922         WILLIAMS HART LAW FIRM
CARR, FRANCINE           NJ - USDC for the District of New Jersey    3:20-cv-05008         WILLIAMS HART LAW FIRM
CARRINO, SUSAN           NJ - Superior Court - Atlantic County       ATL-L-001855-20       WILLIAMS HART LAW FIRM
CARTER, DOTTIE           NJ - USDC for the District of New Jersey    3:19-cv-18334         WILLIAMS HART LAW FIRM
CATALANO, BARBARA        NJ - USDC for the District of New Jersey    3:20-cv-07375         WILLIAMS HART LAW FIRM
CINC, POMPILIA           NJ - USDC for the District of New Jersey    3:21-cv-11172         WILLIAMS HART LAW FIRM
CLANCY, RANDI            NJ - USDC for the District of New Jersey    3:20-cv-01537         WILLIAMS HART LAW FIRM
CLARK, KATRINA           NJ - USDC for the District of New Jersey    3:20-cv-03147         WILLIAMS HART LAW FIRM
CLIFF, JERI              NJ - USDC for the District of New Jersey    3:20-cv-05102         WILLIAMS HART LAW FIRM
CLYBURN, JACQUELINE      NJ - USDC for the District of New Jersey    3:20-cv-15500         WILLIAMS HART LAW FIRM
COLBETH, SUZANNE         NJ - USDC for the District of New Jersey    3:20-cv-13320         WILLIAMS HART LAW FIRM
COLELLO, MELISSA         NJ - USDC for the District of New Jersey    3:20-cv-13961         WILLIAMS HART LAW FIRM
COLLINS, LORETTA         NJ - USDC for the District of New Jersey    3:21-cv-00509         WILLIAMS HART LAW FIRM




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          Claimant Name                        State Filed                      Docket Number               Plaintiff Counsel
CONLEY, KRYSTAL                NJ - USDC for the District of New Jersey   3:20-cv-07856         WILLIAMS HART LAW FIRM
CONNORS, MICHELLE              NJ - USDC for the District of New Jersey   3:19-cv-16499         WILLIAMS HART LAW FIRM
COTTRELL, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-09360         WILLIAMS HART LAW FIRM
COX, BEVERLY                   NJ - USDC for the District of New Jersey   3:20-cv-03728         WILLIAMS HART LAW FIRM
COX, MANDY                     NJ - USDC for the District of New Jersey   3:20-cv-02695         WILLIAMS HART LAW FIRM
CRUTCHFIELD, MARSHA            NJ - USDC for the District of New Jersey   3:20-cv-10450         WILLIAMS HART LAW FIRM
CUMBIE, GRACIE                 NJ - USDC for the District of New Jersey   3:20-cv-05374         WILLIAMS HART LAW FIRM
CUNNINGHAM, RHONDA             NJ - USDC for the District of New Jersey   3:19-cv-20823         WILLIAMS HART LAW FIRM
DAHLMAN, RACHEL                NJ - USDC for the District of New Jersey   3:20-cv-17160         WILLIAMS HART LAW FIRM
DEES, GLENDA                   NJ - USDC for the District of New Jersey   3:20-cv-08694         WILLIAMS HART LAW FIRM
DENWIDDIE, MONICA ; LIEFELD,
                               MO - Circuit Court - City of St. Louis     1922-CC11352          WILLIAMS HART LAW FIRM
EILEEN
DEROCCO, KATHLEEN              NJ - USDC for the District of New Jersey   3:20-cv-07544         WILLIAMS HART LAW FIRM
DHEIN, BRENDA                  NJ - USDC for the District of New Jersey   3:20-cv-11038         WILLIAMS HART LAW FIRM
DINKINS, LOQUATOR              NJ - USDC for the District of New Jersey   3:21-cv-09747         WILLIAMS HART LAW FIRM
DONAWAY, LUANN                 NJ - Superior Court - Atlantic County      ATL-L-001616-21       WILLIAMS HART LAW FIRM
DORNAN, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-01712         WILLIAMS HART LAW FIRM
DORSEY, LINDA                  NJ - USDC for the District of New Jersey   3:20-cv-04075         WILLIAMS HART LAW FIRM
DRAGAN, SHARON                 NJ - USDC for the District of New Jersey   3:20-cv-09859         WILLIAMS HART LAW FIRM
DRUDI, JOAN                    NJ - USDC for the District of New Jersey   3:20-cv-15501         WILLIAMS HART LAW FIRM
DUNMIRE, MARY                  NJ - USDC for the District of New Jersey   3:20-cv-05377         WILLIAMS HART LAW FIRM
DUNN, JOANNE                   NJ - Superior Court - Atlantic County      ATL-L-002857-21       WILLIAMS HART LAW FIRM
DURAN, LOUISE                  NJ - USDC for the District of New Jersey   3:20-cv-02705         WILLIAMS HART LAW FIRM
EDWARDS-ALFORD, BARBARA        NJ - USDC for the District of New Jersey   3:20-cv-04843         WILLIAMS HART LAW FIRM
ELLIOTT, DANIELLE              NJ - USDC for the District of New Jersey   3:20-cv-01749         WILLIAMS HART LAW FIRM
ELMORE, MONA                   NJ - USDC for the District of New Jersey   3:20-cv-05381         WILLIAMS HART LAW FIRM
EMMANUEL, SVETLANA             NJ - Superior Court - Atlantic County      ATL-L-001971-20       WILLIAMS HART LAW FIRM
EOFF, KIMBERLY                 NJ - USDC for the District of New Jersey   3:20-cv-14702         WILLIAMS HART LAW FIRM
ESHELMAN, EDNA                 NJ - USDC for the District of New Jersey   3:20-cv-02718         WILLIAMS HART LAW FIRM
EVERSON, SALLY                 NJ - USDC for the District of New Jersey   3:20-cv-01750         WILLIAMS HART LAW FIRM
FAVORS, DOROTHY                NJ - USDC for the District of New Jersey   3:20-cv-10466         WILLIAMS HART LAW FIRM
                               PA - Philadelphia County Court of Common
FEIN, DEBORAH                                                             191101112             WILLIAMS HART LAW FIRM
                               Pleas
FIELDS, IRENE                  FL - Circuit Court - Broward County        CACE20000933          WILLIAMS HART LAW FIRM
FLORES, MARIANNE               NJ - USDC for the District of New Jersey   3:20-cv-02722         WILLIAMS HART LAW FIRM
FOREMAN, JOANN                 NJ - USDC for the District of New Jersey   3:20-cv-10454         WILLIAMS HART LAW FIRM
FOSTER, ANISSA                 NJ - USDC for the District of New Jersey   3:20-cv-18502         WILLIAMS HART LAW FIRM
FOSTER, SHERI                  NJ - USDC for the District of New Jersey   3:20-cv-08594         WILLIAMS HART LAW FIRM
FRANZ, CATHERINE               NJ - USDC for the District of New Jersey   3:20-cv-09854         WILLIAMS HART LAW FIRM
FRIZELL, MARLENE               NJ - USDC for the District of New Jersey   3:20-cv-14345         WILLIAMS HART LAW FIRM
FUTADO, MICHELLE               NJ - USDC for the District of New Jersey   3:20-cv-13980         WILLIAMS HART LAW FIRM
GAINEY, AMANDA                 NJ - USDC for the District of New Jersey   3:20-cv-04197         WILLIAMS HART LAW FIRM
GALLEGOS, JOSEFINA             NJ - USDC for the District of New Jersey   3:20-cv-08695         WILLIAMS HART LAW FIRM
GARCIA, ELISA                  NJ - USDC for the District of New Jersey   3:19-cv-19122         WILLIAMS HART LAW FIRM
GARCIA, JENNY                  NJ - USDC for the District of New Jersey   3:20-cv-11058         WILLIAMS HART LAW FIRM
GARDNER, LINDA                 NJ - USDC for the District of New Jersey   3:20-cv-10086         WILLIAMS HART LAW FIRM
GARDNER, PATRICIA              NJ - USDC for the District of New Jersey   3:20-cv-05389         WILLIAMS HART LAW FIRM
GARRATT, GAIL                  NJ - USDC for the District of New Jersey   3:20-cv-00365         WILLIAMS HART LAW FIRM
GAUNT, LISA                    NJ - USDC for the District of New Jersey   3:20-cv-05397         WILLIAMS HART LAW FIRM
GEARHART, BEVERLY              NJ - USDC for the District of New Jersey   3:20-cv-05401         WILLIAMS HART LAW FIRM
GIFFIN, JANICE                 NJ - USDC for the District of New Jersey   3:20-cv-02725         WILLIAMS HART LAW FIRM
GILBERT, SUKANTHI              NJ - USDC for the District of New Jersey   3:20-cv-10468         WILLIAMS HART LAW FIRM
GLOVER, SHEILA                 NJ - USDC for the District of New Jersey   3:20-cv-03051         WILLIAMS HART LAW FIRM
GOLLENBUSCH, DELLA             NJ - USDC for the District of New Jersey   3:20-cv-15580         WILLIAMS HART LAW FIRM
GOODEN, CHANTELLE              NJ - USDC for the District of New Jersey   3:20-cv-05422         WILLIAMS HART LAW FIRM
GOUDY, JANET                   NJ - USDC for the District of New Jersey   3:20-cv-10470         WILLIAMS HART LAW FIRM
GRANCHI, MARSHA                NJ - USDC for the District of New Jersey   3:20-cv-10475         WILLIAMS HART LAW FIRM
GRANT, NANCY                   NJ - USDC for the District of New Jersey   3:20-cv-02727         WILLIAMS HART LAW FIRM
GRIFFIN, MARI                  NJ - USDC for the District of New Jersey   3:20-cv-10478         WILLIAMS HART LAW FIRM
GRIMES, BEVERLY                NJ - USDC for the District of New Jersey   3:20-cv-12628         WILLIAMS HART LAW FIRM
GUZMAN, BARBARA                NJ - USDC for the District of New Jersey   3:20-cv-05425         WILLIAMS HART LAW FIRM
HADDAD, DORIS                  NJ - USDC for the District of New Jersey   3:20-cv-09363         WILLIAMS HART LAW FIRM
HAMRICK, BRENDA                NJ - USDC for the District of New Jersey   3:20-cv-07473         WILLIAMS HART LAW FIRM
HANCOCK, TAMMY                 NJ - USDC for the District of New Jersey   3:19-cv-15114         WILLIAMS HART LAW FIRM
HANEY, MARY                    NJ - USDC for the District of New Jersey   3:20-cv-12270         WILLIAMS HART LAW FIRM
HARALDSON, ROBIN               NJ - USDC for the District of New Jersey   3:20-cv-17163         WILLIAMS HART LAW FIRM
HARDWICK, SONJA                NJ - USDC for the District of New Jersey   3:20-cv-18735         WILLIAMS HART LAW FIRM
HARGROVE, JUDITH               NJ - USDC for the District of New Jersey   3:20-cv-05428         WILLIAMS HART LAW FIRM
HARRINGTON, CAROL              NJ - USDC for the District of New Jersey   3:20-cv-15583         WILLIAMS HART LAW FIRM
HARRIS, DONNA                  NJ - USDC for the District of New Jersey   3:20-cv-08967         WILLIAMS HART LAW FIRM
HART, PATRICIA                 NJ - USDC for the District of New Jersey   3:20-cv-05484         WILLIAMS HART LAW FIRM
HARTMAN, LINDA                 NJ - USDC for the District of New Jersey   3:20-cv-10098         WILLIAMS HART LAW FIRM
HASKINS, CAROL                 NJ - USDC for the District of New Jersey   3:20-cv-08696         WILLIAMS HART LAW FIRM
HAYES, JOYCE                   NJ - USDC for the District of New Jersey   3:20-cv-03819         WILLIAMS HART LAW FIRM
HENDRIX, MELISSA               NJ - USDC for the District of New Jersey   3:20-cv-07857         WILLIAMS HART LAW FIRM
HERD, SANDRA                   NJ - USDC for the District of New Jersey   3:20-cv-02530         WILLIAMS HART LAW FIRM
HERNANDEZ, ELIZABETH           NJ - USDC for the District of New Jersey   3:20-cv-04079         WILLIAMS HART LAW FIRM
HETTINGER, KIMBERLY            NJ - USDC for the District of New Jersey   3:20-cv-04733         WILLIAMS HART LAW FIRM
HILTON, CYNTHIA                NJ - USDC for the District of New Jersey   3:20-cv-09858         WILLIAMS HART LAW FIRM
HOCKER, MARY                   NJ - USDC for the District of New Jersey   3:20-cv-12271         WILLIAMS HART LAW FIRM




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          Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
HOLMES, DEEANNA           NJ - USDC for the District of New Jersey   3:20-cv-07545         WILLIAMS HART LAW FIRM
HOLZ, BECKY               NJ - USDC for the District of New Jersey   3:20-cv-08773         WILLIAMS HART LAW FIRM
HOWELL, CHERI             NJ - USDC for the District of New Jersey   3:20-cv-02412         WILLIAMS HART LAW FIRM
HUBBARD, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-09071         WILLIAMS HART LAW FIRM
HUDSON, LONA              NJ - USDC for the District of New Jersey   3:20-cv-06590         WILLIAMS HART LAW FIRM
HUTTER, JOYCE             NJ - USDC for the District of New Jersey   3:20-cv-03062         WILLIAMS HART LAW FIRM
IBARRONDO, SANDRA         NJ - USDC for the District of New Jersey   3:19-cv-20410         WILLIAMS HART LAW FIRM
JACKSON, HERMENIA         NJ - USDC for the District of New Jersey   3:20-cv-05487         WILLIAMS HART LAW FIRM
JACKSON, KELLI            NJ - USDC for the District of New Jersey   3:20-cv-07546         WILLIAMS HART LAW FIRM
JACKSON, PAMELA           NJ - USDC for the District of New Jersey   3:20-cv-07858         WILLIAMS HART LAW FIRM
JACOBS, BETTY             NJ - USDC for the District of New Jersey   3:20-cv-01752         WILLIAMS HART LAW FIRM
JARRELLS, SHIRLEY         NJ - USDC for the District of New Jersey   3:20-cv-09852         WILLIAMS HART LAW FIRM
JIMINEZ, LETICIA          NJ - USDC for the District of New Jersey   3:20-cv-11746         WILLIAMS HART LAW FIRM
JOHNSON, BEVERLY          NJ - USDC for the District of New Jersey   3:20-cv-05493         WILLIAMS HART LAW FIRM
JOHNSON, BRANDY           NJ - USDC for the District of New Jersey   3:20-cv-08697         WILLIAMS HART LAW FIRM
JONES, DEBRA              NJ - USDC for the District of New Jersey   3:20-cv-08715         WILLIAMS HART LAW FIRM
JONES, LENA               NJ - USDC for the District of New Jersey   3:20-cv-11755         WILLIAMS HART LAW FIRM
JONES, MARGARITE          NJ - USDC for the District of New Jersey   3:20-cv-04793         WILLIAMS HART LAW FIRM
JONES, ROBERTA            NJ - USDC for the District of New Jersey   3:20-cv-09805         WILLIAMS HART LAW FIRM
JUNG, SUSAN               NJ - USDC for the District of New Jersey   3:20-cv-12274         WILLIAMS HART LAW FIRM
KAGEL, INA                NJ - USDC for the District of New Jersey   3:20-cv-18732         WILLIAMS HART LAW FIRM
KARPER, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-13447         WILLIAMS HART LAW FIRM
KAULLEN, DIANE            NJ - USDC for the District of New Jersey   3:20-cv-05506         WILLIAMS HART LAW FIRM
KEELE, DANNA              NJ - USDC for the District of New Jersey   3:20-cv-08717         WILLIAMS HART LAW FIRM
KELLY, CATHY              NJ - USDC for the District of New Jersey   3:20-cv-07407         WILLIAMS HART LAW FIRM
KETCHUM, SHARI            NJ - USDC for the District of New Jersey   3:20-cv-07859         WILLIAMS HART LAW FIRM
KILBOURNE, APRIL          NJ - USDC for the District of New Jersey   3:21-cv-09878         WILLIAMS HART LAW FIRM
KIMBLE, LISA              NJ - USDC for the District of New Jersey   3:20-cv-10482         WILLIAMS HART LAW FIRM
KINGSTON, KATHY           NJ - USDC for the District of New Jersey   3:20-cv-01759         WILLIAMS HART LAW FIRM
KIRKWOOD, ALICE           NJ - USDC for the District of New Jersey   3:20-cv-05660         WILLIAMS HART LAW FIRM
KLAUER, JENELLE           NJ - USDC for the District of New Jersey   3:20-cv-01762         WILLIAMS HART LAW FIRM
KLEMM, JOY                NJ - USDC for the District of New Jersey   3:20-cv-05661         WILLIAMS HART LAW FIRM
KLOBERDANZ, PATRICIA      NJ - USDC for the District of New Jersey   3:21-cv-09881         WILLIAMS HART LAW FIRM
KOLB, MARYANN             NJ - USDC for the District of New Jersey   3:20-cv-09934         WILLIAMS HART LAW FIRM
KOPER, MARLENE            NJ - USDC for the District of New Jersey   3:20-cv-03830         WILLIAMS HART LAW FIRM
KRATZER, DELORES          NJ - USDC for the District of New Jersey   3:20-cv-05676         WILLIAMS HART LAW FIRM
KUPERMAN, MAUREEN         NJ - USDC for the District of New Jersey   3:20-cv-03838         WILLIAMS HART LAW FIRM
KURIA, JANE               NJ - USDC for the District of New Jersey   3:20-cv-14348         WILLIAMS HART LAW FIRM
KUYKENDALL, DONNA         NJ - USDC for the District of New Jersey   3:20-cv-05684         WILLIAMS HART LAW FIRM
LADNER, TONIA             NJ - USDC for the District of New Jersey   3:20-cv-04210         WILLIAMS HART LAW FIRM
LAKE, GALE                NJ - USDC for the District of New Jersey   3:20-cv-09364         WILLIAMS HART LAW FIRM
LAMBERT, PATSY            NJ - USDC for the District of New Jersey   3:20-cv-04217         WILLIAMS HART LAW FIRM
LAMPARZYK, CLAUDIA        NJ - USDC for the District of New Jersey   3:20-cv-09418         WILLIAMS HART LAW FIRM
LANDIVAR, MICHELE         NJ - USDC for the District of New Jersey   3:20-cv-05726         WILLIAMS HART LAW FIRM
LARA, JOANNE              NJ - USDC for the District of New Jersey   3:20-cv-01763         WILLIAMS HART LAW FIRM
LAURY, CAROLINE           NJ - USDC for the District of New Jersey   3:21-cv-00525         WILLIAMS HART LAW FIRM
LAUX-VANDEHEY, WENDY      NJ - USDC for the District of New Jersey   3:20-cv-08531         WILLIAMS HART LAW FIRM
LAWTON, CONNIE            NJ - USDC for the District of New Jersey   3:20-cv-08721         WILLIAMS HART LAW FIRM
LEAMER, BETH              NJ - USDC for the District of New Jersey   3:20-cv-08535         WILLIAMS HART LAW FIRM
LEBEAU, ROSEMARY          NJ - USDC for the District of New Jersey   3:20-cv-04246         WILLIAMS HART LAW FIRM
LECHUGA, MYRNA            NJ - USDC for the District of New Jersey   3:20-cv-04249         WILLIAMS HART LAW FIRM
LECLAIR, KIMBERLY         NJ - USDC for the District of New Jersey   3:20-cv-14868         WILLIAMS HART LAW FIRM
LEE, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-07554         WILLIAMS HART LAW FIRM
LEE, MAY                  NJ - USDC for the District of New Jersey   3:20-cv-13501         WILLIAMS HART LAW FIRM
LEITZMAN, VERNA           NJ - USDC for the District of New Jersey   3:20-cv-05730         WILLIAMS HART LAW FIRM
LEMON, SUSAN              NJ - USDC for the District of New Jersey   3:20-cv-07861         WILLIAMS HART LAW FIRM
LEMONS, BOBBIE            NJ - USDC for the District of New Jersey   3:20-cv-05738         WILLIAMS HART LAW FIRM
LEMOTTE, KATHLEEN         NJ - USDC for the District of New Jersey   3:20-cv-03737         WILLIAMS HART LAW FIRM
LEVANDO, VERA             NJ - USDC for the District of New Jersey   3:20-cv-14703         WILLIAMS HART LAW FIRM
LEVOYER, LISA             NJ - USDC for the District of New Jersey   3:20-cv-10103         WILLIAMS HART LAW FIRM
LEWIS, CHRISTIE           NJ - USDC for the District of New Jersey   3:20-cv-05746         WILLIAMS HART LAW FIRM
LOHRENZE, PATTY           NJ - USDC for the District of New Jersey   3:20-cv-06422         WILLIAMS HART LAW FIRM
LOREDO, RHONDA            NJ - USDC for the District of New Jersey   3:20-cv-04808         WILLIAMS HART LAW FIRM
LOSTROH, CONNIE           NJ - USDC for the District of New Jersey   3:20-cv-15447         WILLIAMS HART LAW FIRM
LYNCH, LINDA              NJ - USDC for the District of New Jersey   3:20-cv-14417         WILLIAMS HART LAW FIRM
LYNN, KAY                 NJ - USDC for the District of New Jersey   3:20-cv-14707         WILLIAMS HART LAW FIRM
MAGILL, ANNE              NJ - USDC for the District of New Jersey   3:19-cv-18951         WILLIAMS HART LAW FIRM
MAIN, RICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-07320         WILLIAMS HART LAW FIRM
MALLORY, REBA             NJ - USDC for the District of New Jersey   3:20-cv-15240         WILLIAMS HART LAW FIRM
MARTIN, EARNESTINE        NJ - USDC for the District of New Jersey   3:20-cv-06425         WILLIAMS HART LAW FIRM
MARTIN, MARILYN           NJ - USDC for the District of New Jersey   3:20-cv-03441         WILLIAMS HART LAW FIRM
MASHBURN, JANIE           NJ - USDC for the District of New Jersey   3:21-cv-14351         WILLIAMS HART LAW FIRM
MATZEN, YVONNE            NJ - USDC for the District of New Jersey   3:20-cv-05749         WILLIAMS HART LAW FIRM
MAZZUCA, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-04316         WILLIAMS HART LAW FIRM
MCCUNE, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-13506         WILLIAMS HART LAW FIRM
MCKENNA, CAROL            NJ - USDC for the District of New Jersey   3:20-cv-05806         WILLIAMS HART LAW FIRM
MCKINNEY, KAREN           NJ - USDC for the District of New Jersey   3:20-cv-07391         WILLIAMS HART LAW FIRM
MCLEAN, CAROL             NJ - USDC for the District of New Jersey   3:20-cv-03697         WILLIAMS HART LAW FIRM
MCQUAY, WENDY             NJ - USDC for the District of New Jersey   3:21-cv-13601         WILLIAMS HART LAW FIRM
MEDLOCK, EMILY            NJ - USDC for the District of New Jersey   3:20-cv-14892         WILLIAMS HART LAW FIRM




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           Claimant Name                   State Filed                      Docket Number               Plaintiff Counsel
MELCHIOR, JOAN             NJ - USDC for the District of New Jersey   3:20-cv-09433         WILLIAMS HART LAW FIRM
MELILLO, MONICA            NJ - USDC for the District of New Jersey   3:20-cv-10484         WILLIAMS HART LAW FIRM
MELTON, TAMI               NJ - USDC for the District of New Jersey   3:20-cv-05814         WILLIAMS HART LAW FIRM
MERENDA, TAMARA            NJ - USDC for the District of New Jersey   3:20-cv-04334         WILLIAMS HART LAW FIRM
MICHLONEY, MARTHA          NJ - USDC for the District of New Jersey   3:20-cv-04354         WILLIAMS HART LAW FIRM
MIKKELSEN, DEBORAH         NJ - USDC for the District of New Jersey   3:20-cv-12851         WILLIAMS HART LAW FIRM
MILLER, ALLEN              NJ - USDC for the District of New Jersey   3:19-cv-15138         WILLIAMS HART LAW FIRM
MILLER, DARLENE            NJ - USDC for the District of New Jersey   3:20-cv-01765         WILLIAMS HART LAW FIRM
MILLER, LEANNE             NJ - USDC for the District of New Jersey   3:20-cv-05815         WILLIAMS HART LAW FIRM
MILLER, LORETTA            NJ - USDC for the District of New Jersey   3:20-cv-14711         WILLIAMS HART LAW FIRM
MILNE, VIRGINIA            NJ - USDC for the District of New Jersey   3:20-cv-11787         WILLIAMS HART LAW FIRM
MITCHELL, CYNTHIA          NJ - USDC for the District of New Jersey   3:20-cv-11793         WILLIAMS HART LAW FIRM
MONROE, JAYME              NJ - USDC for the District of New Jersey   3:20-cv-05835         WILLIAMS HART LAW FIRM
MONTAGUE, LEATHA           NJ - USDC for the District of New Jersey   3:20-cv-05838         WILLIAMS HART LAW FIRM
MONTANEZ, SUSAN            NJ - USDC for the District of New Jersey   3:20-cv-05839         WILLIAMS HART LAW FIRM
MOORE, ANNA                NJ - USDC for the District of New Jersey   3:20-cv-01754         WILLIAMS HART LAW FIRM
MOPPIN, MARILYN            NJ - USDC for the District of New Jersey   3:20-cv-05841         WILLIAMS HART LAW FIRM
MOREJON, ROSA              NJ - USDC for the District of New Jersey   3:20-cv-05865         WILLIAMS HART LAW FIRM
MORETZ, JENNY              NJ - USDC for the District of New Jersey   3:20-cv-06432         WILLIAMS HART LAW FIRM
MORGAN, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-18720         WILLIAMS HART LAW FIRM
MORGAN, TERRI              NJ - USDC for the District of New Jersey   3:20-cv-05869         WILLIAMS HART LAW FIRM
MORRIS, DEBBIE             NJ - USDC for the District of New Jersey   3:20-cv-08484         WILLIAMS HART LAW FIRM
MURRY, JUDITH              NJ - USDC for the District of New Jersey   3:20-cv-04357         WILLIAMS HART LAW FIRM
MYERS, MARTHA              NJ - USDC for the District of New Jersey   3:20-cv-12859         WILLIAMS HART LAW FIRM
MYGRANT, LOU               NJ - USDC for the District of New Jersey   3:20-cv-14911         WILLIAMS HART LAW FIRM
NATION, LAURA              NJ - USDC for the District of New Jersey   3:20-cv-14421         WILLIAMS HART LAW FIRM
NICHOLAS, LAURI            NJ - USDC for the District of New Jersey   3:20-cv-06433         WILLIAMS HART LAW FIRM
NIRO, RITA                 NJ - USDC for the District of New Jersey   3:20-cv-09101         WILLIAMS HART LAW FIRM
NOLAN, MARGARET            NJ - USDC for the District of New Jersey   3:20-cv-02513         WILLIAMS HART LAW FIRM
OASIN, LEA                 NJ - USDC for the District of New Jersey   3:20-cv-09434         WILLIAMS HART LAW FIRM
ONEAL, JAMILA              CA - Superior Court - Los Angeles County   20STCV25809           WILLIAMS HART LAW FIRM
PACE, GWENDOLYN            NJ - USDC for the District of New Jersey   3:20-cv-06286         WILLIAMS HART LAW FIRM
PACKWOOD, SANDRA           NJ - USDC for the District of New Jersey   3:20-cv-05871         WILLIAMS HART LAW FIRM
PADALINO, KRISTINE         NJ - USDC for the District of New Jersey   3:20-cv-02514         WILLIAMS HART LAW FIRM
PASTORE, LINDA             NJ - USDC for the District of New Jersey   3:20-cv-10488         WILLIAMS HART LAW FIRM
PAULS, ANTOINETTE          NJ - USDC for the District of New Jersey   3:20-cv-15049         WILLIAMS HART LAW FIRM
PECK, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-08693         WILLIAMS HART LAW FIRM
PEHOWIC, AUDREY            NJ - USDC for the District of New Jersey   3:20-cv-06434         WILLIAMS HART LAW FIRM
PENNINGTON, MARVETTA       NJ - USDC for the District of New Jersey   3:20-cv-08791         WILLIAMS HART LAW FIRM
PERRY, GLORIA              NJ - USDC for the District of New Jersey   3:20-cv-15058         WILLIAMS HART LAW FIRM
PETERSEN, GARNETT          NJ - USDC for the District of New Jersey   3:20-cv-09435         WILLIAMS HART LAW FIRM
PFEFFER, MARSHA            NJ - USDC for the District of New Jersey   3:20-cv-12276         WILLIAMS HART LAW FIRM
PHILLIPS, ERIN             NJ - USDC for the District of New Jersey   3:21-cv-00687         WILLIAMS HART LAW FIRM
PICKETT, PATRICIA          NJ - USDC for the District of New Jersey   3:20-cv-09856         WILLIAMS HART LAW FIRM
PIETRON, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-06242         WILLIAMS HART LAW FIRM
PISANO, MICHELE            NJ - USDC for the District of New Jersey   3:21-cv-09938         WILLIAMS HART LAW FIRM
POIO, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-09436         WILLIAMS HART LAW FIRM
POLITTE, BRENDA            NJ - USDC for the District of New Jersey   3:20-cv-04358         WILLIAMS HART LAW FIRM
PORTMAN, EVELYN            NJ - USDC for the District of New Jersey   3:20-cv-10493         WILLIAMS HART LAW FIRM
POTVIN, MICHELE            NJ - USDC for the District of New Jersey   3:20-cv-05867         WILLIAMS HART LAW FIRM
POWE, APRIL                NJ - USDC for the District of New Jersey   3:20-cv-05741         WILLIAMS HART LAW FIRM
POWELL, ANNIE              NJ - USDC for the District of New Jersey   3:20-cv-15591         WILLIAMS HART LAW FIRM
POWELL, REBECCA            NJ - USDC for the District of New Jersey   3:20-cv-13508         WILLIAMS HART LAW FIRM
PREECE, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-09437         WILLIAMS HART LAW FIRM
PRICE, BEATRICE            NJ - USDC for the District of New Jersey   3:20-cv-05742         WILLIAMS HART LAW FIRM
PROPERNICK, LORI           NJ - USDC for the District of New Jersey   3:20-cv-04367         WILLIAMS HART LAW FIRM
PROST, BARBARA             NJ - USDC for the District of New Jersey   3:20-cv-09206         WILLIAMS HART LAW FIRM
RAMBO, LATRESE             NJ - USDC for the District of New Jersey   3:20-cv-09073         WILLIAMS HART LAW FIRM
RAMSAY, JULIE              NJ - USDC for the District of New Jersey   3:20-cv-08970         WILLIAMS HART LAW FIRM
REAMS, ANGELA              NJ - USDC for the District of New Jersey   3:20-cv-05721         WILLIAMS HART LAW FIRM
RECKNER, GERALDINE         NJ - USDC for the District of New Jersey   3:20-cv-02961         WILLIAMS HART LAW FIRM
REDDING, OLLIE             NJ - USDC for the District of New Jersey   3:20-cv-05700         WILLIAMS HART LAW FIRM
REEVES, NORMA              NJ - USDC for the District of New Jersey   3:20-cv-18685         WILLIAMS HART LAW FIRM
REYNAGA, BRIDGET           NJ - USDC for the District of New Jersey   3:20-cv-15061         WILLIAMS HART LAW FIRM
REYNHOUT, THERESA          NJ - USDC for the District of New Jersey   3:20-cv-15592         WILLIAMS HART LAW FIRM
REYNOLDS, STACEY           NJ - USDC for the District of New Jersey   3:20-cv-04371         WILLIAMS HART LAW FIRM
RICHARD, JAMIE             NJ - USDC for the District of New Jersey   3:20-cv-07378         WILLIAMS HART LAW FIRM
RICHARDS, BERTIE           NJ - USDC for the District of New Jersey   3:20-cv-02973         WILLIAMS HART LAW FIRM
RICHARDSON, CHRISTI        NJ - USDC for the District of New Jersey   3:20-cv-05698         WILLIAMS HART LAW FIRM
RIHANI, LOIS               NJ - USDC for the District of New Jersey   3:21-cv-00749         WILLIAMS HART LAW FIRM
RING, DEBBIE               NJ - Superior Court - Atlantic County      ATL-L-001974-20       WILLIAMS HART LAW FIRM
RIOS, JOSIE                NJ - USDC for the District of New Jersey   3:20-cv-15068         WILLIAMS HART LAW FIRM
RIOS-SAMUELS, MELISSA      NJ - USDC for the District of New Jersey   3:20-cv-05691         WILLIAMS HART LAW FIRM
RIPLEY, MARGARET           NJ - USDC for the District of New Jersey   3:20-cv-04375         WILLIAMS HART LAW FIRM
RIPPERTON, PATRICIA        NJ - USDC for the District of New Jersey   3:20-cv-10518         WILLIAMS HART LAW FIRM
RITTER, BRENDA             NJ - USDC for the District of New Jersey   3:20-cv-05689         WILLIAMS HART LAW FIRM
ROBERTS, JACKIE            NJ - USDC for the District of New Jersey   3:20-cv-02974         WILLIAMS HART LAW FIRM
ROBINSON, ROBIN            NJ - USDC for the District of New Jersey   3:20-cv-15124         WILLIAMS HART LAW FIRM
ROBINSON, WILLYE           NJ - USDC for the District of New Jersey   3:20-cv-04516         WILLIAMS HART LAW FIRM
RODRIGUEZ, JODY            NJ - USDC for the District of New Jersey   3:20-cv-06284         WILLIAMS HART LAW FIRM




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          Claimant Name                    State Filed                     Docket Number               Plaintiff Counsel
ROGOWSKI, SUSAN           NJ - USDC for the District of New Jersey   3:20-cv-05658         WILLIAMS HART LAW FIRM
ROHR, CATHERINE           NJ - USDC for the District of New Jersey   3:20-cv-09438         WILLIAMS HART LAW FIRM
ROLDAN, DEBORAH           NJ - USDC for the District of New Jersey   3:20-cv-02991         WILLIAMS HART LAW FIRM
ROMMELL, SUSIE            NJ - USDC for the District of New Jersey   3:20-cv-03032         WILLIAMS HART LAW FIRM
ROSS, GRACE               NJ - USDC for the District of New Jersey   3:19-cv-19175         WILLIAMS HART LAW FIRM
ROSSI, DENISE             NJ - USDC for the District of New Jersey   3:20-cv-07862         WILLIAMS HART LAW FIRM
RUNKLE, ELIZABETH         NJ - USDC for the District of New Jersey   3:20-cv-06917         WILLIAMS HART LAW FIRM
RUZGIS, SUSAN             NJ - USDC for the District of New Jersey   3:20-cv-08538         WILLIAMS HART LAW FIRM
SACHS, JUDITH             NJ - USDC for the District of New Jersey   3:20-cv-15141         WILLIAMS HART LAW FIRM
SALI, JOYCE               NJ - USDC for the District of New Jersey   3:20-cv-15149         WILLIAMS HART LAW FIRM
SALLEY, JUDY              NJ - USDC for the District of New Jersey   3:20-cv-09936         WILLIAMS HART LAW FIRM
SAMPLE, BARBARA           NJ - USDC for the District of New Jersey   3:20-cv-09439         WILLIAMS HART LAW FIRM
SAMPLE, MARY              FL - Circuit Court - Broward County        CACE20000928          WILLIAMS HART LAW FIRM
SANFORD, BRANDI           NJ - USDC for the District of New Jersey   3:20-cv-17633         WILLIAMS HART LAW FIRM
SCARROW, CONNIE           NJ - USDC for the District of New Jersey   3:20-cv-05657         WILLIAMS HART LAW FIRM
SCHREIFELS, JENIFER       NJ - USDC for the District of New Jersey   3:19-cv-20826         WILLIAMS HART LAW FIRM
SCHROADER, BEATA          NJ - USDC for the District of New Jersey   3:20-cv-12277         WILLIAMS HART LAW FIRM
SCHULTE, KAREN            NJ - USDC for the District of New Jersey   3:20-cv-09105         WILLIAMS HART LAW FIRM
SCHULTZ, WENDY            NJ - USDC for the District of New Jersey   3:20-cv-15451         WILLIAMS HART LAW FIRM
SCROGGINS, TERRI          NJ - USDC for the District of New Jersey   3:20-cv-15164         WILLIAMS HART LAW FIRM
SEWARD, BOBBI             NJ - USDC for the District of New Jersey   3:20-cv-07556         WILLIAMS HART LAW FIRM
SLATER, SANDY             NJ - USDC for the District of New Jersey   3:21-cv-16130         WILLIAMS HART LAW FIRM
SMART, ROSE               NJ - USDC for the District of New Jersey   3:20-cv-07863         WILLIAMS HART LAW FIRM
SMITH, BETTYE             NJ - USDC for the District of New Jersey   3:20-cv-07474         WILLIAMS HART LAW FIRM
SMITH, KATHY              NJ - USDC for the District of New Jersey   3:20-cv-11798         WILLIAMS HART LAW FIRM
SMITH, LAURETTA           NJ - USDC for the District of New Jersey   3:20-cv-05450         WILLIAMS HART LAW FIRM
SMITH, MELINDA            NJ - USDC for the District of New Jersey   3:20-cv-05614         WILLIAMS HART LAW FIRM
SMITH, RITA               NJ - USDC for the District of New Jersey   3:20-cv-10158         WILLIAMS HART LAW FIRM
SMITH, SUZANNE            NJ - USDC for the District of New Jersey   3:20-cv-08548         WILLIAMS HART LAW FIRM
SNOW, MYRTLE              NJ - USDC for the District of New Jersey   3:20-cv-06923         WILLIAMS HART LAW FIRM
SOBOTKER, GLADYS          NJ - USDC for the District of New Jersey   3:20-cv-04522         WILLIAMS HART LAW FIRM
SPAETH, LAURA             NJ - USDC for the District of New Jersey   3:20-cv-08742         WILLIAMS HART LAW FIRM
STARR, SALLYE             NJ - USDC for the District of New Jersey   3:20-cv-07471         WILLIAMS HART LAW FIRM
STEMPLE, SYLVIA           NJ - USDC for the District of New Jersey   3:20-cv-05612         WILLIAMS HART LAW FIRM
STOKES, HAZEL             NJ - USDC for the District of New Jersey   3:20-cv-06282         WILLIAMS HART LAW FIRM
STRAUBE, SHARI            NJ - USDC for the District of New Jersey   3:20-cv-13435         WILLIAMS HART LAW FIRM
SUBER, LYNNE              NJ - USDC for the District of New Jersey   3:20-cv-00306         WILLIAMS HART LAW FIRM
SYLVESTER, JEANNE         NJ - USDC for the District of New Jersey   3:20-cv-06930         WILLIAMS HART LAW FIRM
TAGGART, DIANA            NJ - USDC for the District of New Jersey   3:20-cv-08748         WILLIAMS HART LAW FIRM
TALTON, AMBER             NJ - USDC for the District of New Jersey   3:20-cv-06935         WILLIAMS HART LAW FIRM
TAUBER, AMBER             NJ - USDC for the District of New Jersey   3:20-cv-15639         WILLIAMS HART LAW FIRM
THOMPSON, ELIZABETH       NJ - USDC for the District of New Jersey   3:20-cv-06937         WILLIAMS HART LAW FIRM
TOLEN, DORSELL            NJ - USDC for the District of New Jersey   3:20-cv-18671         WILLIAMS HART LAW FIRM
TRAN, THUY                NJ - USDC for the District of New Jersey   3:20-cv-03014         WILLIAMS HART LAW FIRM
TRAVE, SHARON             NJ - USDC for the District of New Jersey   3:20-cv-03750         WILLIAMS HART LAW FIRM
TREJO, ANTELINA           NJ - USDC for the District of New Jersey   3:19-cv-14683         WILLIAMS HART LAW FIRM
TUCKER, AMY               NJ - USDC for the District of New Jersey   3:20-cv-04525         WILLIAMS HART LAW FIRM
TUCKER, LOU               NJ - USDC for the District of New Jersey   3:20-cv-15643         WILLIAMS HART LAW FIRM
TURNER, KIMBERLY          NJ - USDC for the District of New Jersey   3:20-cv-07864         WILLIAMS HART LAW FIRM
UHRIG, NORA               NJ - USDC for the District of New Jersey   3:20-cv-17592         WILLIAMS HART LAW FIRM
USHER, REBECCA            NJ - USDC for the District of New Jersey   3:20-CV-05576         WILLIAMS HART LAW FIRM
VALCARCEL, GRISELLE       NJ - USDC for the District of New Jersey   3:19-cv-18157         WILLIAMS HART LAW FIRM
VALENTE, EMMA             NJ - USDC for the District of New Jersey   3:20-cv-05509         WILLIAMS HART LAW FIRM
                          PA - Philadelphia County Court of Common
VANCAMP, PENNY                                                       191101113             WILLIAMS HART LAW FIRM
                          Pleas
VARONA, MARAY             NJ - USDC for the District of New Jersey   3:20-cv-04561         WILLIAMS HART LAW FIRM
VEENENDAAL, ANN VAN       NJ - USDC for the District of New Jersey   3:20-cv-04552         WILLIAMS HART LAW FIRM
VERDUIN, HELEN            NJ - USDC for the District of New Jersey   3:20-cv-05477         WILLIAMS HART LAW FIRM
VICK, MICHELLE            NJ - USDC for the District of New Jersey   3:20-cv-05476         WILLIAMS HART LAW FIRM
VIELMA, MARIA             NJ - USDC for the District of New Jersey   3:20-cv-03648         WILLIAMS HART LAW FIRM
VISCOUNTY, JANE           NJ - USDC for the District of New Jersey   3:20-cv-15788         WILLIAMS HART LAW FIRM
VOLESKY, LISA             NJ - USDC for the District of New Jersey   3:20-cv-07866         WILLIAMS HART LAW FIRM
VOSSLER, BETTY            NJ - USDC for the District of New Jersey   3:20-cv-05475         WILLIAMS HART LAW FIRM
WAGNER, JULIE             NJ - USDC for the District of New Jersey   3:20-cv-07868         WILLIAMS HART LAW FIRM
WALKER, CARRIE            NJ - USDC for the District of New Jersey   3:21-cv-07161         WILLIAMS HART LAW FIRM
WALLACE, LISA             NJ - USDC for the District of New Jersey   3:20-cv-05474         WILLIAMS HART LAW FIRM
WALTON-SMITH, CHELCE      NJ - USDC for the District of New Jersey   3:20-cv-04577         WILLIAMS HART LAW FIRM
WARNER, KATHY             NJ - USDC for the District of New Jersey   3:20-cv-15495         WILLIAMS HART LAW FIRM
WATKINS, ANDREA           NJ - USDC for the District of New Jersey   3:20-cv-05455         WILLIAMS HART LAW FIRM
WATSON, BARBARA           NJ - USDC for the District of New Jersey   3:21-cv-07185         WILLIAMS HART LAW FIRM
WEALAND, MABEL            NJ - USDC for the District of New Jersey   3:20-cv-06938         WILLIAMS HART LAW FIRM
WEATHERHOLT, PATRICIA     NJ - USDC for the District of New Jersey   3:20-cv-07871         WILLIAMS HART LAW FIRM
WEAVER, KASSANDRA         NJ - USDC for the District of New Jersey   3:20-cv-03047         WILLIAMS HART LAW FIRM
WEBER, LEAH               NJ - USDC for the District of New Jersey   3:20-cv-11812         WILLIAMS HART LAW FIRM
WELLS, MARSHA             NJ - USDC for the District of New Jersey   3:20-cv-05446         WILLIAMS HART LAW FIRM
WESCOTT, ANNETTE          NJ - USDC for the District of New Jersey   3:21-cv-09597         WILLIAMS HART LAW FIRM
WHELEN, CAROLYN           NJ - USDC for the District of New Jersey   3:21-cv-00500         WILLIAMS HART LAW FIRM
WIDEMAN, JOSEPHINE        NJ - USDC for the District of New Jersey   3:20-cv-12595         WILLIAMS HART LAW FIRM
WILEY, MICHELLE           NJ - USDC for the District of New Jersey   3:20-cv-04668         WILLIAMS HART LAW FIRM
WILHELM, DEBORAH          NJ - USDC for the District of New Jersey   3:20-cv-07869         WILLIAMS HART LAW FIRM




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          Claimant Name                         State Filed                    Docket Number                Plaintiff Counsel
WINKLER, NANCY                NJ - USDC for the District of New Jersey   3:20-cv-09853         WILLIAMS HART LAW FIRM
WISTNER, JO                   NJ - USDC for the District of New Jersey   3:20-cv-08964         WILLIAMS HART LAW FIRM
WITHROW, LINDA                NJ - USDC for the District of New Jersey   3:20-cv-05443         WILLIAMS HART LAW FIRM
WOLKINS, JACQUELINE           NJ - USDC for the District of New Jersey   3:20-cv-06940         WILLIAMS HART LAW FIRM
WOODS, REBECCA                NJ - USDC for the District of New Jersey   3:19-cv-18978         WILLIAMS HART LAW FIRM
WOODY, MILDRED                NJ - USDC for the District of New Jersey   3:20-cv-15785         WILLIAMS HART LAW FIRM
WRIGHT, KAREN                 NJ - USDC for the District of New Jersey   3:20-cv-13801         WILLIAMS HART LAW FIRM
WYATT, LESLIE                 NJ - USDC for the District of New Jersey   3:20-cv-05434         WILLIAMS HART LAW FIRM
YANDELL, SHELLEY              NJ - USDC for the District of New Jersey   3:20-cv-17588         WILLIAMS HART LAW FIRM
YEISLEY, KATHY                NJ - USDC for the District of New Jersey   3:21-cv-12664         WILLIAMS HART LAW FIRM
YOCUM, SUE                    NJ - USDC for the District of New Jersey   3:20-cv-14846         WILLIAMS HART LAW FIRM
YOUNG, DENISE                 NJ - USDC for the District of New Jersey   3:20-cv-02254         WILLIAMS HART LAW FIRM
ZEIG, PATRICIA                NJ - USDC for the District of New Jersey   3:20-cv-17456         WILLIAMS HART LAW FIRM
ZIBELL, NANCI                 NJ - USDC for the District of New Jersey   3:20-cv-14841         WILLIAMS HART LAW FIRM
ZIEL, VALLARY                 NJ - USDC for the District of New Jersey   3:20-cv-08470         WILLIAMS HART LAW FIRM
ZIRIADA, ALICE                NJ - USDC for the District of New Jersey   3:20-cv-09103         WILLIAMS HART LAW FIRM
CHOWDHURY, SHAHEDA            GA - State Court of Gwinnett County        20-C-00166-S2         WILLIAMS KHERKHER HART BOUNDAS, LLP
MANSFIELD, CINDY GONZALES     FL - Circuit Court - Broward County        CACE20002075          WILLIAMS KHERKHER HART BOUNDAS, LLP
SHARP, MICHELLE               NJ - USDC for the District of New Jersey   3:20-cv-05656         WILLIAMS KHERKHER HART BOUNDAS, LLP
BLUME, LESLEY                 NJ - USDC for the District of New Jersey   3:17-cv-07968         WILSON LAW PA
BOUCHARD, LAURA               NJ - USDC for the District of New Jersey   3:17-cv-07967         WILSON LAW PA
CASTILLO, RACHAEL             NJ - USDC for the District of New Jersey   3:17-cv-08812         WILSON LAW PA
DUNNAVANT, TEREASA            NJ - USDC for the District of New Jersey   3:19-cv-05446         WILSON LAW PA
GASH, KRISTINE                NJ - USDC for the District of New Jersey   3:17-cv-07964         WILSON LAW PA
GONZALES, NORMA               NJ - USDC for the District of New Jersey   3:17-cv-08270         WILSON LAW PA
HAMMER, MARY                  NJ - USDC for the District of New Jersey   3:17-cv-07969         WILSON LAW PA
KING, MAVIS                   NJ - USDC for the District of New Jersey   3:20-cv-02552         WILSON LAW PA
PECK, TAMMY                   NJ - USDC for the District of New Jersey   3:17-cv-08254         WILSON LAW PA
REED, CHASTITY                NJ - USDC for the District of New Jersey   3:17-cv-07530         WILSON LAW PA
VANNOY, SANDRA                NJ - USDC for the District of New Jersey   3:17-cv-07974         WILSON LAW PA
WALLS, KATHLEEN               NJ - USDC for the District of New Jersey   3:17-cv-08810         WILSON LAW PA
YOUNG, TATIANA                NJ - USDC for the District of New Jersey   3:17-cv-08266         WILSON LAW PA
BRAYALL, ELISA                NJ - USDC for the District of New Jersey   3:18-cv-10871         WOCL LEYDON LLC
GISO, LINDA                   NJ - USDC for the District of New Jersey   3:18-cv-08515         WOCL LEYDON LLC
HURST, SUE                    NJ - USDC for the District of New Jersey   3:18-cv-02802         WRIGHT & SCHULTE, LLC
DOTY, DIANE                   IL - Circuit Court - McLean County         2017L000050           WYLDER CORWIN KELLY LLP
CEA, ELIZABETH                NJ - USDC for the District of New Jersey   3:21-cv-10521         YAEGER LAW, PLLC
DOYLE, LINDA                  NJ - USDC for the District of New Jersey   3:21-cv-10529         YAEGER LAW, PLLC
HOUGHTALING, ANITA            NJ - USDC for the District of New Jersey   3:21-cv-14401         YAEGER LAW, PLLC
LEACH, MARCIEL                NJ - USDC for the District of New Jersey   3:21-cv-17888         YAEGER LAW, PLLC
GEORGE, RENEE                 NJ - USDC for the District of New Jersey   3:17-cv-08293         YEAROUT & TRAYLOR, P.C.
AGUILAR, MELISSA; ROBB,MARY   NJ - USDC for the District of New Jersey   3:16-cv-06608         ZELBST HOLMES & BUTLER
EGGERS, BARBARA               OK - District Court - Oklahoma County      CJ-2018-4739          ZELBST, HOLMES & BUTLER
CORDIER-HYMAN, LISA           NJ - USDC for the District of New Jersey   3:21-cv-04782         ZINNS LAW, LLC
PETRUS, PAMELA                NJ - Superior Court - Atlantic County      ATL-L-001400-21       ZINNS LAW, LLC




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                                   APPENDIX B

                               List of Protected Parties




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Non-Debtor Affiliates

3Dintegrated ApS
Acclarent, Inc.
Actelion Ltd
Actelion Manufacturing GmbH
Actelion Pharmaceuticals Australia
   Pty. Limited
Actelion Pharmaceuticals Korea Ltd.
Actelion Pharmaceuticals Ltd
Actelion Pharmaceuticals Mexico
   S.A. De C.V.
Actelion Pharmaceuticals Trading
   (Shanghai) Co., Ltd.
Actelion Pharmaceuticals UK Limited
Actelion Pharmaceuticals US, Inc.
Actelion Registration Limited
Actelion Treasury Unlimited Company
Akros Medical, Inc.
Albany Street LLC
ALZA Corporation
Alza Land Management, Inc.
AMO (Hangzhou) Co., Ltd.
AMO (Shanghai) Medical Devices
   Trading Co., Ltd.
AMO ASIA LIMITED
AMO Australia Pty Limited
AMO Canada Company
AMO Denmark ApS
AMO Development, LLC
AMO France
AMO Germany GmbH
AMO Groningen B.V.
AMO International Holdings
AMO Ireland
AMO Ireland Finance Unlimited Company
AMO Italy SRL
AMO Japan K.K.
AMO Manufacturing Spain S.L.
AMO Manufacturing USA, LLC
AMO Netherlands BV
AMO Nominee Holdings, LLC
AMO Norway AS
AMO Puerto Rico Manufacturing, Inc.
AMO Sales and Service, Inc.
AMO Singapore Pte. Ltd.



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AMO Spain Holdings, LLC
AMO Switzerland GmbH
AMO U.K. Holdings, LLC
AMO United Kingdom, Ltd.
AMO Uppsala AB
AMO US Holdings, Inc.
AMO USA Sales Holdings, Inc.
AMO USA, LLC
Animas Diabetes Care, LLC
Animas LLC
Animas Technologies LLC
AorTx, Inc.
Apsis
Aragon Pharmaceuticals, Inc.
Asia Pacific Holdings, LLC
Atrionix, Inc.
AUB Holdings LLC
Auris Health, Inc.
Backsvalan 2 Aktiebolag
Backsvalan 6 Handelsbolag
Beijing Dabao Cosmetics Co., Ltd.
BeneVir BioPharm, Inc.
Berna Rhein B.V.
BioMedical Enterprises, Inc.
Biosense Webster (Israel) Ltd.
Biosense Webster, Inc.
C Consumer Products Denmark ApS
Calibra Medical LLC
Campus-Foyer Apotheke GmbH
Carlo Erba OTC S.r.l.
Centocor Biologics, LLC
Centocor Research & Development, Inc.
ChromaGenics B.V.
Ci:Labo Customer Marketing Co., Ltd.
Ci:z. Labo Co., Ltd.
Cilag AG
Cilag GmbH International
Cilag Holding AG
Cilag Holding Treasury Unlimited Company
Cilag-Biotech, S.L.
CNA Development GmbH
Codman & Shurtleff, Inc.
Coherex Medical, Inc.
ColBar LifeScience Ltd.
Company Store.com, Inc.
Cordis de Mexico, S.A. de C.V.



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Cordis International Corporation
Corimmun GmbH
CoTherix Inc.
CSATS, Inc.
Darlain Trading S.A.
Debs-Vogue Corporation
  (Proprietary) Limited
DePuy France
DePuy Hellas SA
DePuy International Limited
DePuy Ireland Unlimited Company
DePuy Mexico, S.A. de C.V.
DePuy Mitek, LLC
DePuy Orthopaedics, Inc.
DePuy Products, Inc.
DePuy Spine, LLC
DePuy Synthes Gorgan Limited
DePuy Synthes Institute, LLC
DePuy Synthes Leto SARL
DePuy Synthes Products, Inc.
DePuy Synthes Sales, Inc.
DePuy Synthes, Inc.
Dr. Ci:Labo Co., Ltd.
DR. CI:LABO COMPANY LIMITED
Dutch Holding LLC
ECL7, LLC
EES Holdings de Mexico,
   S. de R.L. de C.V.
EES, S.A. de C.V.
EIT Emerging Implant Technologies GmbH
Ethicon Biosurgery Ireland
Ethicon Endo-Surgery (Europe) GmbH
Ethicon Endo-Surgery, Inc.
Ethicon Endo-Surgery, LLC
Ethicon Holding Sarl
Ethicon Ireland Unlimited Company
Ethicon LLC
Ethicon PR Holdings Unlimited Company
Ethicon Sarl
Ethicon US, LLC
Ethicon Women's Health & Urology Sarl
Ethicon, Inc.
Ethnor (Proprietary) Limited
Ethnor del Istmo S.A.
Ethnor Farmaceutica, S.A.
Ethnor Guatemala, Sociedad Anomina



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Finsbury (Development) Limited
Finsbury (Instruments) Limited
Finsbury Medical Limited
Finsbury Orthopaedics International Limited
Finsbury Orthopaedics Limited
FMS Future Medical System SA
GH Biotech Holdings Limited
Global Investment Participation B.V.
GMED Healthcare BV
Guangzhou Bioseal Biotech Co., Ltd.
Hansen Medical Deutschland GmbH
Hansen Medical International, Inc.
Hansen Medical UK Limited
Hansen Medical, Inc.
Healthcare Services (Shanghai) Ltd.
I.D. Acquisition Corp.
Innomedic Gesellschaft für innovative
   Medizintechnik und Informatik mbH
Innovalens B.V.
Innovative Surgical Solutions, LLC
J & J Company West Africa Limited
J&J Pension Trustees Limited
J.C. General Services BV
Janssen Alzheimer Immunotherapy
   (Holding) Limited
Janssen Biologics (Ireland) Limited
Janssen Biologics B.V.
Janssen BioPharma, Inc.
Janssen Biotech, Inc.
Janssen Cilag Farmaceutica S.A.
Janssen Cilag S.p.A.
Janssen Cilag SPA
Janssen Cilag, C.A.
Janssen de Mexico, S. de R.L. de C.V.
Janssen Development Finance
   Unlimited Company
Janssen Diagnostics, LLC
Janssen Egypt LLC
Janssen Farmaceutica Portugal Lda
Janssen Global Services, LLC
Janssen Group Holdings Limited
Janssen Holding GmbH
Janssen Inc.
Janssen Irish Finance Company UC
Janssen Korea Ltd.
Janssen Oncology, Inc.



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Janssen Ortho LLC
Janssen Pharmaceutica
   (Proprietary) Limited
Janssen Pharmaceutica NV
Janssen Pharmaceutica S.A.
Janssen Pharmaceutical
Janssen Pharmaceutical K.K.
Janssen Pharmaceutical Sciences
   Unlimited Company
Janssen Pharmaceuticals, Inc.
Janssen Products, LP
Janssen R&D Ireland
Janssen Research & Development, LLC
Janssen Sciences Ireland
   Unlimited Company
Janssen Scientific Affairs, LLC
Janssen Supply Group, LLC
Janssen Vaccines & Prevention B.V.
Janssen Vaccines Corp.
Janssen-Cilag
Janssen-Cilag (New Zealand) Limited
Janssen-Cilag A/S
Janssen-Cilag AG
Janssen-Cilag Aktiebolag
Janssen-Cilag AS
Janssen-Cilag B.V.
Janssen-Cilag de Mexico S. de R.L. de C.V.
Janssen-Cilag Farmaceutica Lda.
Janssen-Cilag Farmaceutica Ltda.
Janssen-Cilag GmbH
Janssen-Cilag International NV
Janssen-Cilag Kft.
Janssen-Cilag Limited
Janssen-Cilag Limited
Janssen-Cilag Manufacturing, LLC
Janssen-Cilag NV
Janssen-Cilag OY
Janssen-Cilag Pharma GmbH
Janssen-Cilag Pharmaceutical S.A.C.I.
Janssen-Cilag Polska, Sp. z o.o.
Janssen-Cilag Pty Ltd
Janssen-Cilag S.A.
Janssen-Cilag s.r.o.
Janssen-Cilag, S.A.
Janssen-Cilag, S.A. de C.V.
Janssen-Pharma, S.L.



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J-C Health Care Ltd.
Jevco Holding, Inc.
JJ Surgical Vision Spain, S.L.
JJC Acquisition Company B.V.
JJHC, LLC
JJSV Belgium BV
JJSV Manufacturing Malaysia SDN. BHD.
JJSV Norden AB
JJSV Produtos Oticos Ltda.
JNJ Global Business Services s.r.o.
JNJ Holding EMEA B.V.
JNJ International Investment LLC
JNJ Irish Investments ULC
Johnson & Johnson
Johnson & Johnson - Societa' Per Azioni
Johnson & Johnson (Angola), Limitada
Johnson & Johnson (China) Investment Ltd.
Johnson & Johnson (Egypt) S.A.E.
Johnson & Johnson (Hong Kong) Limited
Johnson & Johnson (Ireland) Limited
Johnson & Johnson (Jamaica) Limited
Johnson & Johnson (Kenya) Limited
Johnson & Johnson (Middle East) Inc.
Johnson & Johnson (Mozambique),
    Limitada
Johnson & Johnson (Namibia)
   (Proprietary) Limited
Johnson & Johnson (New Zealand) Limited
Johnson & Johnson (Philippines), Inc.
Johnson & Johnson (Private) Limited
Johnson & Johnson (Thailand) Ltd.
Johnson & Johnson (Trinidad) Limited
Johnson & Johnson (Vietnam) Co., Ltd
Johnson & Johnson AB
Johnson & Johnson AG
Johnson & Johnson Belgium
    Finance Company BV
Johnson & Johnson Bulgaria EOOD
Johnson & Johnson China Ltd.
Johnson & Johnson Consumer
    (Hong Kong) Limited
Johnson & Johnson Consumer
    (Thailand) Limited
Johnson & Johnson Consumer B.V.
Johnson & Johnson Consumer
    Holdings France



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Johnson & Johnson Consumer Inc.
Johnson & Johnson Consumer NV
Johnson & Johnson Consumer
   Saudi Arabia Limited
Johnson & Johnson Consumer Services
   EAME Ltd.
Johnson & Johnson d.o.o.
Johnson & Johnson de Argentina
   S.A.C. e. I.
Johnson & Johnson de Chile Limitada
Johnson & Johnson de Chile S.A.
Johnson & Johnson de Colombia S.A.
Johnson & Johnson de Costa Rica, S.A.
Johnson & Johnson de Mexico, S.A. de C.V.
Johnson & Johnson de Uruguay S.A.
Johnson & Johnson de Venezuela, S.A.
Johnson & Johnson del Ecuador, S.A.
Johnson & Johnson Del Paraguay, S.A.
Johnson & Johnson del Peru S.A.
Johnson & Johnson do Brasil Industria E
   Comercio de Produtos Para Saude Ltda.
Johnson & Johnson Dominicana, S.A.S.
Johnson & Johnson Enterprise
   Innovation Inc.
Johnson & Johnson European
   Treasury Company
Johnson & Johnson Finance Corporation
Johnson & Johnson Finance Limited
Johnson & Johnson Financial
   Services GmbH
Johnson & Johnson for Export and
   Import LLC
Johnson & Johnson Foundation Scotland
   (NON-PROFIT)
Johnson & Johnson Gateway, LLC
Johnson & Johnson Gesellschaft m.b.H.
Johnson & Johnson GmbH
Johnson & Johnson Guatemala, S.A.
Johnson & Johnson Health and
   Wellness Solutions, Inc.
Johnson & Johnson Health Care
   Systems Inc.
Johnson & Johnson Hellas Commercial and
   Industrial S.A.
Johnson & Johnson Hellas Consumer
   Products Commercial Societe Anonyme



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Johnson & Johnson Hemisferica S.A.
Johnson & Johnson Holding GmbH
Johnson & Johnson Holdings K.K.
Johnson & Johnson Inc.
Johnson & Johnson Industrial Ltda.
Johnson & Johnson Innovation - JJDC, Inc.
Johnson & Johnson Innovation Limited
Johnson & Johnson Innovation LLC
Johnson & Johnson International
Johnson & Johnson International
   (Singapore) Pte. Ltd.
Johnson & Johnson International Financial
   Services Company
Johnson & Johnson Japan Inc.
Johnson & Johnson K.K.
Johnson & Johnson Kft.
Johnson & Johnson Korea Ltd.
Johnson & Johnson Korea Selling &
   Distribution LLC
Johnson & Johnson Limitada
Johnson & Johnson Limited
Johnson & Johnson LLC
Johnson & Johnson Luxembourg Finance
   Company Sarl
Johnson & Johnson Management Limited
Johnson & Johnson Medical (China) Ltd.
Johnson & Johnson Medical
   (Proprietary) Ltd
Johnson & Johnson Medical (Shanghai) Ltd.
Johnson & Johnson Medical (Suzhou) Ltd.
Johnson & Johnson Medical B.V.
Johnson & Johnson Medical Devices &
   Diagnostics Group - Latin America,
   L.L.C.
Johnson & Johnson Medical GmbH
Johnson & Johnson Medical Korea Ltd.
Johnson & Johnson Medical Limited
Johnson & Johnson Medical Mexico, S.A.
   de C.V.
Johnson & Johnson Medical NV
Johnson & Johnson Medical
   Products GmbH
Johnson & Johnson Medical Pty Ltd
Johnson & Johnson Medical S.A.
Johnson & Johnson Medical S.p.A.
Johnson & Johnson Medical SAS



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Johnson & Johnson Medical
   Saudi Arabia Limited
Johnson & Johnson Medical Servicios
   Profesionales S. de R.L. de C.V.
Johnson & Johnson Medical Taiwan Ltd.
Johnson & Johnson Medical, S.C.S.
Johnson & Johnson Medikal Sanayi ve
   Ticaret Limited Sirketi
Johnson & Johnson Middle East FZ-LLC
Johnson & Johnson Morocco
   Societe Anonyme
Johnson & Johnson Nordic AB
Johnson & Johnson Pacific Pty Limited
Johnson & Johnson Pakistan
   (Private) Limited
Johnson & Johnson Panama, S.A.
Johnson & Johnson Personal Care
   (Chile) S.A.
Johnson & Johnson Poland Sp. z o.o.
Johnson & Johnson Private Limited
Johnson & Johnson Pte. Ltd.
Johnson & Johnson Pty. Limited
Johnson & Johnson Research Pty Ltd
Johnson & Johnson Romania S.R.L.
Johnson & Johnson S.E. d.o.o.
Johnson & Johnson S.E., Inc.
Johnson & Johnson Sante Beaute France
Johnson & Johnson SDN. BHD.
Johnson & Johnson Services, Inc.
Johnson & Johnson Servicios Corporativos,
   S. de R.L. de C.V.
Johnson & Johnson Surgical Vision India
   Private Limited
Johnson & Johnson Surgical Vision, Inc.
Johnson & Johnson Taiwan Ltd.
Johnson & Johnson UK Treasury
   Company Limited
Johnson & Johnson Ukraine LLC
Johnson & Johnson Urban Renewal
   Associates
Johnson & Johnson Vision Care
   (Shanghai) Ltd.
Johnson & Johnson Vision Care Ireland
   Unlimited Company
Johnson & Johnson Vision Care, Inc.
Johnson & Johnson, S.A.



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Johnson & Johnson, S.A. de C.V.
Johnson & Johnson, s.r.o.
Johnson & Johnson, s.r.o.
Johnson and Johnson (Proprietary) Limited
Johnson and Johnson Sihhi Malzeme Sanayi
   Ve Ticaret Limited Sirketi
JOM Pharmaceutical Services, Inc.
La Concha Land Investment Corporation
Latam International Investment Company
   Unlimited Company
Lifescan
McNeil AB
McNeil Consumer Pharmaceuticals Co.
McNeil Denmark ApS
McNeil Healthcare (Ireland) Limited
McNeil Healthcare (UK) Limited
McNeil Healthcare LLC
McNeil Iberica S.L.U.
McNeil LA LLC
McNEIL MMP, LLC
McNeil Nutritionals, LLC
McNeil Panama, LLC
McNeil Products Limited
McNeil Sweden AB
MDS Co. Ltd.
Medical Device Business Services, Inc.
Medical Devices & Diagnostics Global
   Services, LLC
Medical Devices International LLC
Medical Industrial do Brasil Ltda.
Medos International Sarl
Medos Sarl
MegaDyne Medical Products, Inc.
Menlo Care De Mexico, S.A. de C.V.
Mentor B.V.
Mentor Deutschland GmbH
Mentor Medical Systems B.V.
Mentor Partnership Holding
   Company I, LLC
Mentor Texas GP LLC
Mentor Texas L.P.
Mentor Worldwide LLC
Micrus Endovascular LLC
Middlesex Assurance Company Limited
Momenta Ireland Limited
Momenta Pharmaceuticals, Inc.



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NeoStrata Company, Inc.
NeoStrata UG (haftungsbeschränkt)
Netherlands Holding Company
Neuravi Inc.
Neuravi Limited
NeuWave Medical, Inc.
Novira Therapeutics, LLC
NuVera Medical, Inc.
Obtech Medical Mexico, S.A. de C.V.
OBTECH Medical Sarl
OGX Beauty AU Pty Ltd
OGX Beauty Limited
OMJ Holding GmbH
OMJ Ireland Unlimited Company
OMJ Pharmaceuticals, Inc.
Omrix Biopharmaceuticals Ltd.
Omrix Biopharmaceuticals NV
Omrix Biopharmaceuticals, Inc.
Ortho Biologics LLC
Ortho Biotech Holding LLC
Ortho-McNeil Pharmaceutical, LLC
Orthotaxy
Patriot Pharmaceuticals, LLC
Peninsula Pharmaceuticals, LLC
Penta Pty. Limited
Percivia LLC
Perouse Plastie
Pharmadirect Ltd.
Pharmedica Laboratories (Proprietary)
   Limited
PMC Holdings G.K.
Princeton Laboratories, Inc.
Productos de Cuidado Personal y de La
   Salud de Bolivia S.R.L.
Proleader S.A.
PT Integrated Healthcare Indonesia
PT. Johnson & Johnson Indonesia
Pulsar Vascular, Inc.
Regency Urban Renewal Associates
RespiVert Ltd.
RoC International
Royalty A&M LLC
Rutan Realty LLC
Scios LLC
Sedona Enterprise Co., Ltd.
Sedona Singapore International Pte. Ltd.



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Sedona Thai International Co., Ltd.
Serhum S.A. de C.V.
Shanghai Elsker For Mother & Baby
   Co., Ltd
Shanghai Johnson & Johnson Ltd.
Shanghai Johnson & Johnson Pharmaceuticals Ltd.
Sightbox, LLC
Sodiac ESV
Spectrum Vision Limited Liability Company
Spectrum Vision Limited Liability Company
Spectrum Vision Limited Liability
  Partnership
Spine Solutions GmbH
SterilMed, Inc.
Sterilmed, Inc.
Surgical Process Institute Deutschland
   GmbH
Synthes Costa Rica S.C.R., Limitada
SYNTHES GmbH
Synthes GmbH
Synthes Holding AG
Synthes Holding Limited
SYNTHES Medical Immobilien GmbH
Synthes Medical Surgical Equipment &
   Instruments Trading LLC
Synthes Produktions GmbH
Synthes Proprietary Limited
Synthes S.M.P., S. de R.L. de C.V.
Synthes Tuttlingen GmbH
Synthes USA Products, LLC
Synthes USA, LLC
Synthes, Inc.
TARIS Biomedical LLC
TearScience, Inc.
The Anspach Effort, LLC
The Vision Care Institute, LLC
Tibotec, LLC
Torax Medical, Inc.
TriStrata, Incorporated
UAB "Johnson & Johnson"
Vania Expansion
Verb Surgical Inc.
Vision Care Finance Unlimited Company
Vogue International LLC
Vogue International Trading, Inc.
WH4110 Development Company, L.L.C.



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Xian Janssen Pharmaceutical Ltd.
XO1 Limited
Zarbee's, Inc.

Retailers and Indemnified Parties

7-Eleven
7-Eleven, Inc.
Acme Markets, Inc.
Ahold Delhaize USA, Inc.
Albertsons Companies, Inc.
Alpha Beta Company
Associated Wholesaler Grocers, Inc.
Bartell Drug Company
Bashas’, Inc.
Bausch Health US, LLC
Bausch Health Americas, Inc.
Bausch Health Companies Inc.
BCW LLC
Best Market of Astoria, Inc.
BI-LO, LLC
Bi-Mart Corporation
C&S Wholesale Grocers
C&S Wholesale Grocers, Inc.
Classic Pharmacy, Inc.
Cosentino Enterprises, Inc.
Cosentino Group, Inc.
Cosentino Price Chopper
Cosentino’s Food Stores
Costco Wholesale Corporation
CVS Health Corporation
CVS Pharmacy, Inc.
Demoulas Super Markets, Inc.
Dierbergs Markets, Inc.
Discount Drug Mart, Inc.
Dollar Tree Stores, Inc.
DRI I, Inc.
Duane Reade, Inc.
Eckerd Corporation of Florida, Inc.
Family Dollar Stores
Fleming Companies, Inc.
Food 4 Less of California
Food 4 Less of Southern California, Inc.
Foodland
Foodland Super Market, LTD
Foot Locker Specialties, Inc., individually and as successor-in-interest to F.W. Woolworth Co.



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Foot Locker Specialty, Inc.
Foot Locker, Inc./Woolworth Corporation
Four B Corporation d/b/a Balls Food Stores
Fred Meyer Stores, Inc.
Fruth Pharmacy, Inc.
Gerlands Food Fair, LLC
Gerlands, LLC
Gerlands, LLC/Lewis Food Town, Inc.
Giant Eagle, Inc.
Giant Food of Maryland, LLC
Giant Food Stores, LLC
Grocery Outlet Holding Corporation
Grocery Outlet Inc.
Grocery Outlet, Inc.
HAC, Inc.
H-E-B, LP
Hughes Markets, Inc.
Hy-Vee, Inc.
Jewel Food Stores
Jewel Osco
Jewel Osco Southwest
K&B Corporation
K&B Louisiana Corporation
Kings Park Slope, Inc.
Kings Pharmacy
Kings Pharmacy Holdings, LLC
Kings Third Ave. Pharmacy, Inc.
Knorr Street ShopRite, Inc.
La Luz Market, LTD. Co.
Lewis Food Town, Inc.
Longs Drug Stores California, L.L.C
Longs Drug Stores of Southern California, L.L.C.
Longs Drug Stores, L.L.C.
Lucky Stores, Inc.
Marc Glassman Inc.
Marc Glassman, Inc. d/b/a Marc's Store & Pharmacy
MBF Healthcare Holdings, Inc.
MBF Healthcare Management, LLC
Meijer, Inc.
MMG Equity Partners
Navarro Discount Pharmacies No. 5, LLC
Navarro Discount Pharmacies, LLC
Owens & Minor Distribution, Inc.
Owens & Minor, Inc.
Piggly Wiggly Carolina Co.
Piggly Wiggly Carolina Co., Inc.



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Piggly Wiggly Companies, Inc.
Piggly Wiggly, LLC
Piggly Wiggly, LLC (subsidiary of C&S Wholesale Grocers)
PTI
PTI Royston LLC, a Georgia Limited Liability Co., d/b/a Pharma Tech Industries
PTI Union, LLC d/b/a Pharma Tech Industries
Publix Super Markets, Inc.
Raley’s
Ralphs Grocery Company
Randall's Food & Drug LP
Randall's Food Markets, Inc.
Rite Aid
Rite Aid Corporation
Rite Aid Hdqtrs. Corp.
Rite Aid of New York City, Inc.
Rite Aid of New York, Inc.
Rite Aid of Pennsylvania, Inc.
Rite Aid of South Carolina, Inc.
Rouse’s Enterprises, L.L.C.
Rouse's Enterprises, L.L.C. d/b/a Rouses Market
Safeway Inc.
Save Mart Supermarkets, Inc.
Save Mart Supermarkets, Inc./Lucky Stores
Schnuck Markets
Schnuck Markets, Inc.
Sedano’s Market, Inc.
Shanti Pharmacy Corp.
Shaw’s Supermarkets, Inc.
Shop-Rite Supermarkets, Inc. a/k/a Shop Rite of Knorr Street
Smith Food and Drug Center, Inc.
Southeastern Grocers, Inc.
Star Markets Company, Inc.
Stater Bros. Markets
Super Center Concepts, Inc. d/b/a Superior Grocers
Superior Grocers
SuperValu, Inc.
T. Levy Associates, d/b/a Beauty Land Enterprises
T. Levy Associates, Inc. d/b/a Beauty Land Enterprises/Beautyland
Target Corporation
The Bartell Drug Company
The Kroger Company
The Stop & Shop Supermarket Company LLC
The Vons Companies, Inc.
Thrifty Payless, Inc.
Thrifty White Drug
Tops Holding, LLC



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Valeant Pharmaceuticals International
Valeant Pharmaceuticals International, Inc.
Valeant Pharmaceuticals North America LLC
Wakefern Food Corp.
Walgreen Co.
Walgreen Eastern Co., Inc.
Walgreen Pharmacy Strategies, LLC
Walgreens Boots Alliance, Inc.
Walmart Inc.
Wegmans Food Markets, Inc.
Winn-Dixie Stores, Inc.
Woolworth Corporation

Insurers
A.G. Securitas
ACE Property & Casualty Insurance
   Company
Aetna Casualty and Surety Company
Affiliated FM Ins. Company
AIG Europe S.A.
AIG Property and Casualty Company
AIU Ins. Company
Allianz Ins. Company
Allianz Global Risks US Insurance
   Company
Allstate Insurance Company
American Centennial Ins. Company
American Motorists Ins. Company
American Re-Insurance Company
Arrowood Indemnity Company
ASR Schadeverzekering N.V.
Assurances Generales De France
Assurantiekantoor VanWijk & Co.
Atlanta International Insurance Company
Birmingham Fire Ins. Company of
   Pennsylvania
Central National Ins. Company of Omaha
Century Indemnity Company
Champion Dyeing Allocation Year
Chubb
City Ins. Company
Colonia Versicherungs AG, Koln
Continental Insurance Company
Darag Deutsche Versicherungs-Und
   Rückversicherungs-AG
Drake Ins. Company of New York



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Employers Ins. Company of Wausau
Employers Ins. of Wausau
Employers Mutual Casualty Company
Eurinco Allgemeine
   Versicherungs AG, Dusseldorf
Everest Reinsurance Company
Fireman's Fund Ins. Company
First State Ins. Company
GAP
Gibraltar Casualty Company
Granite State Ins. Company
Great American
Great Northern Ins. Company
Great Southwest Fire Ins. Company
Groupe Drouot
Harbor Ins. Company
Hartford Accident and Indemnity Company
Home Ins. Company
Ideal Mutual Ins. Company
Industrial Indemnity Company
Ins. Company of North America
Ins. Company of the State of Pennsylvania
Ins. Corporation of Singapore Limited
Integrity Ins. Company
International Ins. Company
International Surplus Lines Ins. Company
Lexington Ins. Company
London Guarantee and Accident
   Company of N.Y.
L'Union Atlantique S.A. d'Assurances
Mead Reinsurance Corporation
Middlesex Assurance Company
Midland Ins. Company
Midstates Reinsurance Corp.
Mission Ins. Company
Mission National Ins. Company
Munich Reinsurance America, Inc.
Mutual Fire, Marine, & Inland Ins.
   Company
N.V. De Ark
N.V. Rotterdamse Assurantiekas
N.V. Schadeverzekeringsmaatschappij
   Maas Lloyd
National Casualty Company
National Union Fire Ins. Company of
   Pittsburgh, PA



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Nationwide
New Hampshire Ins. Company
North River Ins. Company
Northbrook Excess and Surplus
  Ins. Company
Northeastern Fire Ins. Company
   of Pennsylvania
Pacific Employers Ins. Company
ProSight
Prudential Reinsurance Company
Puritan Insurance Company
Republic Indemnity Company of America
Republic Ins. Company
Republic Western Ins. Company
Repwest Insurance Company
Resolute Management Inc.
Rheinland Versicherungen
Rheinland Verzekeringen
Riverstone Insurers
Royal Belge I.R., S.A. d'Assurances
Royal Indemnity Company
Royal Ins. Company
Safety Mutual Casualty Corporation
Safety National Casualty Corporation
Seguros La Republica SA
Sentry Insurance A Mutual Company
Southern American Ins. Company
Starr Indemnity & Liability Company
TIG Insurance Company
Transamerica Premier Insurance Company
Transit Casualty Company
Travelers Casualty and Surety Company
UAP
Union Atlantique d'Assurances S.A.
Union Indemnity Ins. Company
   of New York
Westchester Fire Insurance Company
Westport Insurance Corporation
XL Ins. Company




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